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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF NEBRASKA

                                                                              )
    In re:                                                                    ) Chapter 11
                                                                              )
    SPECIALTY RETAIL SHOPS HOLDING CORP., et al., 1                           ) Case No. 19-80064 (TLS)
                                                                              )
                                       Debtors.                               ) (Jointly Administered)
                                                                              )



                      STATEMENT OF FINANCIAL AFFAIRS FOR
                SHOPKO STORES OPERATING CO., LLC (CASE NO. 19-80075)




1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Specialty Retail Shops Holding Corp. (0029); Pamida Stores Operating Co., LLC (6157); Pamida
      Transportation, LLC (4219); Penn-Daniels, LLC (0040); Place’s Associates’ Expansion, LLC (7526); Retained
      R/E SPE, LLC (6679); Shopko Finance, LLC (1152); Shopko Gift Card Co., LLC (2161); ShopKo Holding
      Company, LLC (0171); ShopKo Institutional Care Services Co., LLC (7112); ShopKo Optical Manufacturing,
      LLC (6346); ShopKo Properties, LLC (0865); ShopKo Stores Operating Co., LLC (6109); SVS Trucking, LLC
      (0592). The location of the Debtors’ service address is: 700 Pilgrim Way, Green Bay, Wisconsin 54304.
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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF NEBRASKA

                                                                )
In re:                                                          ) Chapter 11
                                                                )
SPECIALTY RETAIL SHOPS HOLDING CORP., et al.,                   ) Case No. 19-80064-TLS
                                                                )
                      Debtors.                                  ) (Jointly Administered)
                                                                )

                           GLOBAL NOTES AND
               STATEMENT OF LIMITATIONS, METHODOLOGY,
          AND DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES
     OF ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

        Specialty Retail Shops Holding Corp. and certain of its affiliates, as debtors and debtors in
possession in the above-captioned chapter 11 cases, (the “Debtors”) have filed their respective
Schedules of Assets and Liabilities (the “Schedules”) and Statements of Financial Affairs
(the “Statements”) in the United States Bankruptcy Court for the District of Nebraska
(the “Bankruptcy Court”). The Debtors, with the assistance of their legal and financial advisors,
prepared the Schedules and Statements in accordance with section 521 of chapter 11 of title 11 of
the United States Code (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy
Procedure.

       Russell L. Steinhorst has signed each set of the Schedules and Statements. Mr. Steinhorst
serves as the Chief Executive Officer at Debtor Specialty Retail Shops Holding Corp., and he is
an authorized signatory for each of the Debtors. In reviewing and signing the Schedules and
Statements, Mr. Steinhorst has necessarily relied upon the efforts, statements, advice, and
representations of personnel of the Debtors and the Debtors’ legal and financial advisors. Given
the scale of the Debtors’ business and the hundreds of stores covered by the Schedules and
Statements, Mr. Steinhorst has not (and could not have) personally verified the accuracy of each
such statement and representation, including statements and representations concerning amounts
owed to creditors.

       In preparing the Schedules and Statements, the Debtors relied on financial data derived
from their books and records that was available at the time of such preparation. Although the
Debtors have made every reasonable effort to ensure the accuracy and completeness of the
Schedules and Statements, subsequent information or discovery may result in material changes to
the Schedules and Statements. As a result, inadvertent errors or omissions may exist. For the
avoidance of doubt, the Debtors hereby reserve their rights to amend and supplement the Schedules
and Statements as may be necessary or appropriate.

        The Debtors and their agents, attorneys, and financial advisors do not guarantee or warrant
the accuracy or completeness of the data that is provided herein, and shall not be liable for any loss
or injury arising out of or caused in whole or in part by the acts, errors, or omissions, whether
negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
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communicating, or delivering the information contained herein. While commercially reasonable
efforts have been made to provide accurate and complete information herein, inadvertent errors or
omissions may exist. The Debtors and their agents, attorneys, and financial advisors expressly do
not undertake any obligation to update, modify, revise, or re-categorize the information provided
herein, or to notify any third party should the information be updated, modified, revised, or re-
categorized, except as required by applicable law. In no event shall the Debtors or their agents,
attorneys, and financial advisors be liable to any third party for any direct, indirect, incidental,
consequential, or special damages (including, but not limited to, damages arising from the
disallowance of a potential claim against the Debtors or damages to business reputation, lost
business, or lost profits), whether foreseeable or not and however caused, even if the Debtors or
their agents, attorneys, and financial advisors are advised of the possibility of such damages.

                          Global Notes and Overview of Methodology

1.     Description of Cases. On January 16, 2019, (the “Petition Date”), each of the Debtors
       filed voluntary petitions for relief under chapter 11 of the Bankruptcy Code. The Debtors
       are operating their businesses and managing their property as debtors in possession
       pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On January 16, 2019, an
       order was entered directing procedural consolidation and joint administration of these
       chapter 11 cases [Docket No. 25]. Notwithstanding the joint administration of the Debtors’
       cases for procedural purposes, each Debtor has filed its own Schedules and Statements.
       The information provided herein, except as otherwise noted, is reported as of the close of
       business on the Petition Date.

2.     Global Notes Control. These Global Notes pertain to and comprise an integral part of
       each of the Debtors’ Schedules and Statements and should be referenced in connection
       with any review thereof. In the event that the Schedules and Statements conflict these
       Global Notes, these Global Notes shall control.

3.     Reservations and Limitations. Reasonable efforts have been made to prepare and file
       complete and accurate Schedules and Statements; however, as noted above, inadvertent
       errors or omissions may exist. The Debtors reserve all rights to amend and supplement the
       Schedules and Statements as may be necessary or appropriate. Nothing contained in the
       Schedules and Statements constitutes a waiver of any of the Debtors’ rights or an admission
       of any kind with respect to these chapter 11 cases, including, but not limited to, any rights
       or claims of the Debtors against any third party or issues involving substantive
       consolidation, equitable subordination, or defenses or causes of action arising under the
       provisions of chapter 5 of the Bankruptcy Code or any other relevant applicable bankruptcy
       or non-bankruptcy laws to recover assets or avoid transfers. Any specific reservation of
       rights contained elsewhere in the Global Notes does not limit in any respect the general
       reservation of rights contained in this paragraph.

       (a)     No Admission. Nothing contained in the Schedules and Statements is intended or
               should be construed as an admission or stipulation of the validity of any claim
               against the Debtors, any assertion made therein or herein, or a waiver of the
               Debtors’ rights to dispute any claim or assert any cause of action or defense against
               any party.


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      (b)   Recharacterization. Notwithstanding that the Debtors have made reasonable
            efforts to correctly characterize, classify, categorize, or designate certain claims,
            assets, executory contracts, unexpired leases, and other items reported in the
            Schedules and Statements, the Debtors nonetheless may have improperly
            characterized, classified, categorized, or designated certain items. The Debtors thus
            reserve all rights to recharacterize, reclassify, recategorize, or redesignate items
            reported in the Schedules and Statements at a later time as is necessary and
            appropriate.

      (c)   Classifications. Listing (i) a claim on Schedule D as “secured,” (ii) a claim on
            Schedule E/F as “priority” or “unsecured,” or (iii) a contract on Schedule G as
            “executory” or “unexpired” does not constitute an admission by the Debtors of the
            legal rights of the claimant or contract counterparty, or a waiver of the Debtors’
            rights to recharacterize or reclassify such claim or contract.

      (d)   Claims Description. Any failure to designate a claim on a given Debtor’s
            Schedules and Statements as “disputed,” “contingent,” or “unliquidated” does not
            constitute an admission by the Debtor that such amount is not “disputed,”
            “contingent,” or “unliquidated.” The Debtors reserve all rights to dispute, or assert
            offsets or defenses to, any claim reflected on their respective Schedules and
            Statements on any grounds, including, without limitation, liability or classification,
            or to otherwise subsequently designate such claims as “disputed,” “contingent,” or
            “unliquidated” or object to the extent, validity, enforceability, priority, or
            avoidability of any claim. Moreover, listing a claim does not constitute an
            admission of liability by the Debtor against which the claim is listed or by any of
            the Debtors. The Debtors reserve all rights to amend their Schedules and
            Statements as necessary and appropriate, including, but not limited to, with respect
            to claim description and designation.

      (e)   Estimates and Assumptions. The preparation of the Schedules and Statements
            required the Debtors to make reasonable estimates and assumptions with respect to
            the reported amounts of assets and liabilities, the amount of contingent assets and
            contingent liabilities on the date of the Schedules and Statements, and the reported
            amounts of revenues and expenses during the applicable reporting periods. Actual
            results could differ from such estimates.

      (f)   Causes of Action. Despite reasonable efforts, the Debtors may not have identified
            and/or set forth all of their causes of action (filed or potential) against third parties
            as assets in their Schedules and Statements, including, without limitation,
            avoidance actions arising under chapter 5 of the Bankruptcy Code and actions under
            other relevant bankruptcy and non-bankruptcy laws to recover assets. The Debtors
            reserve all rights with respect to any causes of action, and nothing in these Global
            Notes or the Schedules and Statements should be construed as a waiver of any such
            causes of action.

      (g)   Intellectual Property Rights. Exclusion of certain intellectual property should not
            be construed to be an admission that such intellectual property rights have been


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            abandoned, have been terminated or otherwise expired by their terms, or have been
            assigned or otherwise transferred pursuant to a sale, acquisition, or other
            transaction. Conversely, inclusion of certain intellectual property should not be
            construed to be an admission that such intellectual property rights have not been
            abandoned, have not been terminated or otherwise expired by their terms, or have
            not been assigned or otherwise transferred pursuant to a sale, acquisition, or other
            transaction.

      (h)   Insiders. In the circumstance where the Schedules and Statements require
            information regarding “insiders” the Debtors have included information with
            respect to the individuals who the Debtors believe are included in the definition of
            “insider” set forth in section 101(31) of the Bankruptcy Code during the relevant
            time periods. Such individuals may no longer serve in such capacities. In the
            interest of additional disclosure, the Debtors have also included certain individuals
            who may have officer titles in their responses to Statements, Part 13, Question 28.

            The listing of a party as an insider for purposes of the Schedules and Statements is
            not intended to be, nor should it be, construed an admission of any fact, right, claim,
            or defense, and all such rights, claims, and defenses are hereby expressly reserved.
            Information regarding the individuals listed as insiders in the Schedules and
            Statements has been included for informational purposes only and such information
            may not be used for the purposes of determining control of the Debtors, the extent
            to which any individual exercised management responsibilities or functions,
            corporate decision-making authority over the Debtors, or whether such individual
            could successfully argue that he or she is not an insider under applicable law,
            including the Bankruptcy Code and federal securities laws, or with respect to any
            theories of liability or any other purpose.

4.    Methodology.

      (a)   Basis of Presentation. The Schedules and Statements do not purport to represent
            financial statements prepared in accordance with Generally Accepted Accounting
            Principles in the United States (“GAAP”), nor are they intended to be fully
            reconciled to the financial statements of each Debtor. The Schedules and
            Statements contain unaudited information that is subject to further review and
            potential adjustment. The Schedules and Statements reflect the Debtors’
            reasonable efforts to report the assets and liabilities of each Debtor on an
            unconsolidated basis.

      (b)   Confidential Information. There may be instances in the Schedules and
            Statements where the Debtors deemed it necessary and appropriate to redact from
            the public record information such as names, addresses, or amounts. Typically, the
            Debtors have used this approach because of an agreement between the Debtors and
            a third party, concerns of confidentiality and protection of sensitive commercial
            information (e.g., names of customers), or concerns for the privacy of an individual.




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      (c)   Duplication. Certain of the Debtors’ assets, liabilities, and prepetition payments
            may properly be disclosed in response to multiple parts of the Statements and
            Schedules. To the extent these disclosures would be duplicative, the Debtors have
            determined to only list such assets, liabilities and prepetition payments once.

      (d)   Net Book Value. In certain instances, current market valuations for individual
            items of property and other assets are neither maintained by, nor readily available
            to, the Debtors. Accordingly, unless otherwise indicated, the Debtors’ Schedules
            and Statements reflect net book values as of January 15, 2019. Market values may
            vary, at certain times materially, from net book values. The Debtors believe that it
            would be an inefficient use of estate assets for the Debtors to obtain the current
            market values of their property. Accordingly, the Debtors have indicated in the
            Schedules and Statements that the values of certain assets and liabilities are
            undetermined. Also, assets that have been fully depreciated or that were expensed
            for accounting purposes either do not appear in these Schedules and Statements or
            are listed with a zero-dollar value, as such assets have no net book value. The
            omission of an asset from the Schedules and Statements does not constitute a
            representation regarding the ownership of such asset, and any such omission does
            not constitute a waiver of any rights of the Debtors with respect to such asset.

      (e)   Property and Equipment. Unless otherwise indicated, owned property and
            equipment are valued at net book value. The Debtors may lease furniture, fixtures,
            and equipment from certain third-party lessors. To the extent possible, any such
            leases are listed in the Schedules and Statements. Nothing in the Schedules and
            Statements is, or should be construed as, an admission as to the determination of
            the legal status of any lease (including whether any lease is a true lease or a
            financing arrangement), and the Debtors reserve all rights with respect thereto.

      (f)   Allocation of Liabilities. The Debtors allocated liabilities between the prepetition
            and postpetition periods based on the information and research conducted in
            connection with the preparation of the Schedules and Statements. As additional
            information becomes available and further research is conducted, the allocation of
            liabilities between the prepetition and postpetition periods may change.

      (g)   Undetermined Amounts. The description of an amount as “undetermined” is not
            intended to reflect upon the materiality of such amount.

      (h)   Unliquidated Amounts. Amounts that could not be fairly quantified by the
            Debtors are scheduled as “unliquidated.”

      (i)   Totals. All totals that are included in the Schedules and Statements represent totals
            of all known amounts. To the extent there are unknown or undetermined amounts,
            the actual total may be different than the listed total.

      (j)   Paid Claims. The Debtors have authority to pay certain outstanding prepetition
            payables pursuant to bankruptcy or other court order; as such, outstanding liabilities
            may have been reduced by any court-approved postpetition payments made on



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            prepetition payables. Where and to the extent these liabilities have been satisfied,
            they are not listed in the Schedules and Statements with the exception that liabilities
            with respect to the Debtors’ prepetition vendors may be listed at the amount
            outstanding as of the Petition Date, regardless of whether such claims have been
            settled and paid postpetition in accordance with the Order (I) Authorizing the
            Debtors to Pay Prepetition Claims of Lien Claimants, Import Claimants, and
            503(B)(9) Claimants, (II) Confirming Administrative Expense Priority of
            Outstanding Orders, and (III) Granting Related Relief [Docket No. 74] (the “Lien
            Claimants Order”). To the extent the Debtors later pay any amount of the claims
            listed in the Schedules and Statements pursuant to any orders entered by the
            Bankruptcy Court, the Debtors reserve all rights to amend or supplement the
            Schedules and Statements or to take other action, such as filing claims objections,
            as is necessary and appropriate to avoid overpayment or duplicate payments for
            liabilities. Nothing contained herein should be deemed to alter the rights of any
            party in interest to contest a payment made pursuant to an order of the Bankruptcy
            Court where such order preserves the right to contest.

      (k)   Intercompany Claims. Receivables and payables among the Debtors and among
            the Debtors and their non-Debtor affiliates are used for accounting purposes only
            and are never settled in cash. Furthermore, as these claims net to zero on a
            consolidated basis, they are not included in the Statements and Schedules.

      (l)   Guarantees and Other Secondary Liability Claims. The Debtors have exercised
            reasonable efforts to locate and identify guarantees in their executory contracts,
            unexpired leases, secured financings, and other such agreements. Where
            guarantees have been identified, they have been included in the relevant Schedules
            G and H for the affected Debtor or Debtors. The Debtors may have inadvertently
            omitted guarantees embedded in their contractual agreements and may identify
            additional guarantees as they continue their review of their books and records and
            contractual agreements. The Debtors reserve their rights, but are not required, to
            amend the Schedules and Statements if additional guarantees are identified.

      (m)   Excluded Assets and Liabilities. The Debtors have excluded the following
            categories of assets and liabilities from the Schedules and Statements: certain
            deferred charges, accounts, or reserves recorded only for purposes of complying
            with the requirements of GAAP; deferred tax assets and liabilities; goodwill and
            other intangibles; deferred revenue accounts; and certain accrued liabilities
            including, but not limited to, accrued salaries and employee benefits. Other
            immaterial assets and liabilities may also have been excluded.

      (n)   Liens. The inventories, property and equipment listed in the Schedules and
            Statements are presented without consideration of any liens.

      (o)   Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

      (p)   Setoffs. The Debtors routinely incur setoffs and net payments in the ordinary
            course of business. Such setoffs and nettings may occur due to a variety of



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             transactions or disputes including, but not limited to, intercompany transactions,
             counterparty settlements, pricing discrepancies, rebates, returns, warranties,
             refunds, and negotiations and/or disputes between Debtors and their customers
             and/or suppliers. These normal, ordinary course setoffs and nettings are common
             to the retail industry. Due to the voluminous nature of setoffs and nettings, it would
             be unduly burdensome and costly for the Debtors to list each such transaction.
             Therefore, although such setoffs and other similar rights may have been accounted
             for when scheduling certain amounts, these ordinary course setoffs are not
             independently accounted for, and as such, are or may be excluded from the Debtors’
             Schedules and Statements. In addition, some amounts listed in the Schedules and
             Statements may have been affected by setoffs or nettings by third parties of which
             the Debtors are not yet aware. The Debtors reserve all rights to challenge any setoff
             and/or recoupment rights that may be asserted.

5.    Specific Schedules Disclosures.

      (a)    Schedule A/B, Part 1, Question 4. The Debtors consider credit card A/R as a “cash
             equivalent” and such amounts are listed in Schedule A/B, Part 1, Question 4 rather
             than A/B Part 3, Question 11.

      (b)    Schedule A/B, Parts 1 and 2 – Cash and Cash Equivalents; Deposits and
             Prepayments. Details with respect to the Debtors’ cash management system and
             bank accounts are provided in the Debtors’ Motion for Entry of a Final Order (I)
             Authorizing the Debtors to (A) Continue to Operate their Cash Management
             System, (B) Honor Certain Prepetition Obligations Related Thereto, (C) Maintain
             Existing Business Forms, and (D) Perform Intercompany Transactions, and (II)
             Granting Related Relief [Docket No. 18] (the “Cash Management Motion”) and
             any orders of the Bankruptcy Court granting the Cash Management Motion.

             As described in the Cash Management Motion, the Debtors have 285 non-
             consolidated store-level deposit accounts, all of which are swept daily to a zero
             balance. For purposes of the Schedules and Statements, therefore, the Debtors have
             listed such balances at the amount as of January 15, 2019.

             Additionally, the Bankruptcy Court, pursuant to the Order (I) Approving the
             Debtors’ Proposed Adequate Assurance of Payment for Future Utility Services, (II)
             Prohibiting Utility Companies from Altering, Refusing, or Discontinuing
             Services,(III) Approving the Debtors’ Proposed Procedures for Resolving
             Additional Assurance Requests, and (IV) Granting Related Relief [Docket No. 71],
             has authorized the debtors to provide adequate assurance of payment for future
             utility services, including an initial deposit in the aggregate amount of $1.29
             million. Such deposits are not listed on Schedule A/B, Part 2, which has been
             prepared as of the Petition Date.

      (c)    Schedule A/B, Part 3, Question 11. No doubtful or uncollectible amounts are
             listed in either Question 11a or 11b. The Debtors’ accounting practice is to list the




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            full value of the receivable and write that amount off to the extent it becomes
            uncollectable.

      (d)   Schedule A/B, Part 4 – Investments; Non-Publicly Traded Stock and Interests
            in Incorporated and Unincorporated Businesses, including any Interest in an
            LLC, Partnership, or Joint Venture. Ownership interests in subsidiaries,
            partnerships, and joint ventures have been listed in Schedule A/B, Part 4, as
            undetermined amounts on account of the fact that the fair market value of such
            ownership is dependent on numerous variables and factors, and may differ
            significantly from their net book value.

      (e)   Schedule A/B, Part 7 – Office Furniture, Fixtures, and Equipment; and
            Collectibles. Dollar amounts are presented net of accumulated depreciation and
            other adjustments.

      (f)   Schedule A/B, Part 11 – All Other Assets. Dollar amounts are presented net of
            impairments and other adjustments.

            Additionally, the Debtors may receive refunds for sales and use tax at various times
            throughout their fiscal year. As of the Petition Date, however, certain of these
            amounts are unknown to the Debtors, and accordingly, may not be listed in
            Schedule A/B.

            Other Contingent and Unliquidated Claims or Causes of Action of Every Nature,
            including Counterclaims of the Debtor and Rights to Setoff Claims. In the
            ordinary course of their businesses, the Debtors may have accrued, or may
            subsequently accrue, certain rights to counter-claims, cross-claims, setoffs, refunds
            with their customers and suppliers, or potential warranty claims against their
            suppliers. Additionally, certain of the Debtors may be party to pending litigation
            in which the Debtors have asserted, or may assert, claims as a plaintiff or counter-
            claims and/or cross-claims as a defendant. Because certain of these claims are
            unknown to the Debtors and not quantifiable as of the Petition Date, they may not
            be listed on Schedule A/B, Part 11.

            Interests in Insurance Policies or Annuities. A list of the Debtors’ insurance
            policies and related information is available in the Debtors’ Motion for Entry of an
            Order (I) Authorizing the Debtors to (A) Continue and Renew their Liability,
            Property, Casualty, and Other Insurance Policies and Honor all Obligations in
            Respect Thereof, (B) Continue and Renew their Prepetition Insurance Premium
            Financing Agreements, and (C) Continue the Surety Bond Programs, and (II)
            Granting Related Relief [Docket No. 13]. The Debtors believe that there is little or
            no cash value to the vast majority of such insurance policies. To the extent an
            insurance policy is determined to have value, it will be included in Schedule A/B.

            Executory Contracts and Unexpired Leases. Because of the large number of the
            Debtors’ executory contracts and unexpired leases, as well as the size and scope of




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            such documents, the Debtors have not attached such agreements to Schedule A/B.
            Instead, the Debtors have only listed such agreements in Schedule G.

      (g)   Schedule A/B, Part 11, Question 72. The amounts listed reflect a tax effective rate
            that is an estimate for the go-forward used NOLs and tax refunds assuming a change
            in control.

      (h)   Schedule D – Creditors Who Have Claims Secured by Property. Except as
            otherwise agreed pursuant to a stipulation or order entered by the Bankruptcy Court,
            the Debtors reserve their rights to dispute or challenge the validity, perfection, or
            immunity from avoidance of any lien purported to be granted or perfected in any
            specific asset to a secured creditor listed on Schedule D. Moreover, although the
            Debtors have scheduled claims of various creditors as secured claims, the Debtors
            reserve all rights to dispute or challenge the secured nature of any such creditor’s
            claim or the characterization of the structure of any such transaction or any
            document or instrument related to such creditor’s claim.

            The descriptions provided in Schedule D are intended only to be a summary.
            Reference to the applicable agreements and other related relevant documents is
            necessary for a complete description of the collateral and the nature, extent, and
            priority of any liens. In certain instances, a Debtor may be a co-obligor, co-
            mortgagor, or guarantor with respect to scheduled claims of other Debtors, and no
            claim set forth on Schedule D of any Debtor is intended to acknowledge claims of
            creditors that are otherwise satisfied or discharged by other entities.

            The Debtors have not included on Schedule D parties that may believe their claims
            are secured through setoff rights or inchoate statutory lien rights. Although there
            are multiple parties that hold a portion of the debt included in the secured facilities,
            only the administrative agents have been listed for purposes of Schedule D.

            Additionally, the treatment of certain secured creditors’ claims listed in Schedule
            D are subject to the payment priority set forth in that certain Third Amended and
            Restated Loan and Security Agreement, dated as of February 7, 2012 (as amended
            by that certain Ratification and Amendment Agreement, dated as of January 16,
            2019, and as further amended, restated, supplemented, or otherwise modified from
            time to time).

      (i)   Schedule E/F – Creditors Who Have Unsecured Claims.

            Part 1 - Creditors with Priority Unsecured Claims. Pursuant to the Order (I)
            Authorizing the Payment of Certain Prepetition and Postpetition Taxes and Fees
            and (II) Granting Related Relief [Docket No. 68] (the “Taxes Order”), the Debtors
            have been granted the authority to pay, in their discretion, certain tax liabilities that
            accrued prepetition. Accordingly, any unsecured priority claims based upon
            prepetition tax accruals that have been paid pursuant to the Taxes Order are not
            listed in Schedule E.




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            Moreover, in lieu of listing all of the Debtors’ possible taxing authorities for notice
            purposes in Schedule E/F—a list that numbers in the thousands—the Debtors have
            only listed those taxing authorities with which the Debtors have pending audits.

      (j)   Furthermore, pursuant to the Order (I) Authorizing the Debtors to (A) Pay
            Prepetition Wages, Salaries, Other Compensation, and Reimbursable Expenses,
            and (B) Continue Employee Benefits Programs and (II) Granting Related Relief
            [Docket No. 98] (the “Wages Order”) the Debtors received final authority to pay
            certain prepetition obligations, including to pay employee wages and other
            employee benefits, in the ordinary course of business. The Debtors have not listed
            on Schedule E/F any wage or wage-related obligations for which the Debtors have
            been granted authority to pay pursuant to the Employee Wage Order or other order
            that may be entered by the Bankruptcy Court. The Debtors believe that any
            non-insider employee claims for prepetition amounts related to ongoing payroll and
            benefits, whether allowable as a priority or nonpriority claim, have been or will be
            satisfied, and such satisfied amounts are not listed.

            The listing of a claim on Schedule E/F, Part 1, does not constitute an admission by
            the Debtors that such claim or any portion thereof is entitled to priority status.

            Part 2 - Creditors with Nonpriority Unsecured Claims. The liabilities identified
            in Schedule E/F, Part 2, are derived from the Debtors’ books and records. The
            Debtors made a reasonable attempt to set forth their unsecured obligations,
            although the actual amount of claims against the Debtors may vary from those
            liabilities represented on Schedule E/F, Part 2. The listed liabilities may not reflect
            the correct amount of any unsecured creditor’s allowed claims or the correct
            amount of all unsecured claims.

            The Debtors generally allocate individual liabilities to particular Debtors.
            However, in certain cases, it would be a time-consuming and inefficient use of
            estate resources, or impracticable, to assign a given liability to a particular Debtor
            based on a contractual obligation. Instead, the Schedules reflect the liability based
            on the Debtors books and records.

            Schedule E/F, Part 2, contains information regarding certain compensation-related
            claims of insiders of the Debtors, with such claims being listed as both “contingent”
            and “unliquidated.” In scheduling such claims, the Debtors make no representation
            or assertion as to the validity of such claims, and the Debtors reserve all rights,
            claims, and defenses in connection therewith.

            Schedule E/F, Part 2, contains information regarding threatened or pending
            litigation involving the Debtors. The amounts for these potential claims are listed
            as “undetermined” and are marked as contingent, unliquidated, and disputed in the
            Schedules and Statements. For the avoidance of doubt, demand letters received
            from potential litigants as a result of alleged injuries sustained at one of the Debtors’
            stores that do not list a specific Debtor are listed on Debtor Specialty Retail Shops




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            Holding Corp.’s (“Specialty Retail”) Schedules as Specialty Retail is the signatory
            to all store leases.

            Schedule E/F, Part 2, reflects certain prepetition amounts owing to counterparties
            to executory contracts and unexpired leases. Such prepetition amounts, however,
            may be paid in connection with the assumption or assumption and assignment of
            an executory contract or unexpired lease. In addition, Schedule E/F, Part 2, does
            not include claims that may arise in connection with the rejection of any executory
            contracts and unexpired leases, if any, that may be or have been rejected.

            In many cases, the claims listed on Schedule E/F, Part 2, arose, accrued, or were
            incurred on various dates or on a date or dates that are unknown to the Debtors or
            are subject to dispute. Where the determination of the date on which a claim arose,
            accrued, or was incurred would be unduly burdensome and costly to the Debtors’
            estates, the Debtors have not listed a specific date or dates for such claim.

            As of the time of filing of the Schedules and Statements, the Debtors had not
            received all invoices for payables, expenses, and other liabilities that may have
            accrued prior to the Petition Date. Accordingly, the information contained in
            Schedules D and E/F may be incomplete. The Debtors reserve their rights, but
            undertake no obligations, to amend Schedules D and E/F if and as they receive such
            invoices.

      (k)   Schedule G – Executory Contracts and Unexpired Leases. While reasonable
            efforts have been made to ensure the accuracy of Schedule G, inadvertent errors or
            omissions may have occurred. Additionally, relationships between the Debtors and
            its customers are often governed by a master services agreement, under which
            customers also place work and purchase orders, which may be considered
            executory contracts. Disclosure of all of these purchase and work orders, however,
            is impracticable and unduly burdensome. Accordingly, to the extent the Debtors
            have determined to disclose master services agreements in Schedule G, purchase
            and work orders placed thereunder may have been omitted.

            Listing a contract or agreement on Schedule G does not constitute an admission
            that such contract or agreement is an executory contract or unexpired lease or that
            such contract or agreement was in effect on the Petition Date or is valid or
            enforceable. The Debtors hereby reserve all of their rights to dispute the validity,
            status, or enforceability of any contracts, agreements, or leases set forth in Schedule
            G and to amend or supplement such Schedule as necessary. Certain of the leases
            and contracts listed on Schedule G may contain renewal options, guarantees of
            payment, indemnifications, options to purchase, rights of first refusal and other
            miscellaneous rights. Such rights, powers, duties and obligations are not set forth
            separately on Schedule G. In addition, the Debtors may have entered into various
            other types of agreements in the ordinary course of their business, such as
            supplemental agreements and letter agreement, which documents may not be set
            forth in Schedule G.




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             The Debtors reserve all rights to dispute or challenge the characterization of any
             transaction or any document or instrument related to a creditor’s claim.

             In some cases, the same supplier or provider may appear multiple times in Schedule
             G. Multiple listings, if any, reflect distinct agreements between the applicable
             Debtor and such supplier or provider.

             The listing of any contract on Schedule G does not constitute an admission by the
             Debtors as to the validity of any such contract. The Debtors reserve the right to
             dispute the effectiveness of any such contract listed on Schedule G or to amend
             Schedule G at any time to remove any contract.

             Omission of a contract or agreement from Schedule G does not constitute an
             admission that such omitted contract or agreement is not an executory contract or
             unexpired lease. The Debtors’ rights under the Bankruptcy Code with respect to
             any such omitted contracts or agreements are not impaired by the omission. Certain
             Debtors are guarantors and parties to guaranty agreements regarding the Debtors’
             prepetition credit facility. The guaranty obligations arising under these agreements
             are reflected on Schedules D and F only.

      (l)    Schedule H – Co-Debtors. For purposes of Schedule H, only the agent under the
             prepetition credit facility or counterparties that are subject to a guaranty are listed
             as Co-Debtors on Schedule H. The Debtors have not listed any litigation-related
             Co-Debtors on Schedule H. Instead, all such listings can be found on the Debtors’
             Schedule E/F.

6.    Specific Statements Disclosures.

      (a)    To the extent: (i) a person qualified as an “insider” in the year prior to the Petition
             Date, but later resigned their insider status or (ii) did not begin the year as an insider,
             but later became an insider, the Debtors have only listed those payments made
             while such person was defined as an insider in Statements, Part 2, Question 4.

      (b)    Statements, Part 2, Question 6 – Setoffs. For a discussion of setoffs and nettings
             incurred by the Debtors, refer to paragraph 4(p) of these Global Notes.

      (c)    Statements, Part 5, Question 10 – Certain Losses. Given the scale of the
             Debtors’ store footprint, certain losses, including those losses attributable to theft,
             are unable to be tracked by the Debtors with complete accuracy, and accordingly,
             such losses have not been listed on the Debtors’ Statements. Additionally, the
             Debtors only account for general recoveries of such losses, with this general amount
             being the recovery listed in the Statements for the 1 year immediately before the
             Petition Date.

      (d)    Statements, Part 6, Question 11 – Payments Related to Bankruptcy. The
             attachment to Question 11 on all Statements reflect payments to professionals on
             behalf of the Debtors on a consolidated basis. The Debtors believe that it would be



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            an inefficient use of the assets of the Debtors’ estates for the Debtors to allocate
            these payments on a Debtor-by-Debtor basis.

      (e)   Statements, Part 6, Question 13 – Transfers not Already Listed on Statements.
            In the ordinary course of their business, the Debtors often close or remodel store
            locations, and in the process of doing so, may give away certain fixtures possessing
            little to no economic value. Given the frequency of such gifts and the difficulty in
            accounting for them, the Debtors have not listed such transfers in their Statements.

      (f)   Statements, Part 11, Question 21 – Property Held for Another. The Debtors
            are obligated under various agreements and programs to remit certain funds held
            for third parties to those parties, and have received authorization to do so under
            both the Lien Claimants Order and Wages Order. To the extent that any of the
            funds described above are held or paid for the benefit of third parties, such funds
            may not constitute property of the Debtors’ estates, and the Debtors therefore have
            not included such amounts in their responses to Statement Question 21. The
            Debtors further reserve all rights they have as to whether any such funds constitute
            property of the estate.

      (g)   Statements, Part 7, Question 14 – Prior Locations. The Debtors operate a
            national enterprise with locations throughout the U.S. The Debtors have not
            disclosed the addresses of all of these locations. Rather, the address of each
            Debtor’s main center of operations or headquarters was included in the Debtors’
            Voluntary Petitions. For most of these locations, the dates of occupancy are not
            readily available.

      (h)   Statements, Part 12, Questions 22-24 – Details About Environmental
            Information. The Debtors have endeavored to disclose all applicable information
            in response to Statements, Part 12, Questions 22–24.

      (i)   Statements, Part 13, Question 26 – Books, Records, and Financial Statements.
            The Debtors provide certain parties, such as banks, auditors, potential investors,
            vendors, and financial advisors, with financial statements that may not be part of a
            public filing. The Debtors do not maintain complete lists or other records tracking
            such disclosures. Therefore, the Debtors have not provided full lists of these parties
            in their Responses to Statement Question 26.

      (j)   Statements, Part 13, Question 28 – Current Partners, Officers, Directors, and
            Shareholders. The Debtors incorporate by reference the List of Equity Security
            Holders filed as part of their Voluntary Petitions.

      (k)   Statements, Part 13, Question 30 – Payments, Distributions, or Withdrawals
            Credited or Given to Insiders. Distributions by the Debtors to their directors and
            officers are listed on the attachment to Question 4. Certain directors and executive
            officers of Shopko are also directors and executive officers of certain of Shopko’s
            Debtor and non-Debtor affiliates. To the extent payments to such individuals are
            not listed in the response to Question 4 on the Statements for such Debtor affiliates,



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           they did not receive payment for their services as directors or executive officers of
           these entities. Certain of the Debtors’ directors and executive officers received
           distributions net of tax withholdings in the year preceding the Petition Date. The
           amounts listed under Question 4 reflect the gross amounts paid to such directors
           and executive officers, rather than the net amounts after deducting for tax
           withholdings.



                             *       *       *      *       *




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 Fill in this information to identify the case:

 Debtor name         ShopKo Stores Operating Co., LLC

 United States Bankruptcy Court for the:            DISTRICT OF NEBRASKA

 Case number (if known)         19-80075
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                 04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                  Gross revenue
       which may be a calendar year                                                            Check all that apply                (before deductions and
                                                                                                                                   exclusions)

       For prior year:                                                                             Operating a business                $2,040,947,487.93
       From 2/4/2018 to 1/15/2019
                                                                                                   Other


       For year before that:                                                                       Operating a business                $2,285,632,876.45
       From 1/29/2017 to 2/3/2018
                                                                                                   Other


       For the fiscal year:                                                                        Operating a business                $2,343,117,696.34
       From 1/31/2016 to 1/28/2017
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue   Gross revenue from
                                                                                                                                   each source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

       From the beginning of the fiscal year to filing date:                                   See Attached SOFA Part 1
       From 1/29/2017 to 1/15/2019                                                             Question 2                                $195,007,628.34


 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)




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           None.

       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               See Attached SOFA Part 2 Question 3                                                    $890,451,014.45                 Secured debt
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    See Attached SOFA Part 2 Question 4                                                       $8,367,394.15


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                    Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                   Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                 Status of case
               Case number                                                                  address
       7.1.    See Attached SOFA Part 3                                                                                                    Pending
               Question 7                                                                                                                  On appeal
                                                                                                                                           Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.



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           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                Dates given                         Value

       9.1.    Adapted Skier's of Madison
               GoFundMe                                          Cash Contribution                                        1/27/2017                     $1,000.00

               Recipients relationship to debtor



       9.2.    Encompass Early Education
               & Care Inc
               Ruth Helf Children's Learning
               Center
               2787 W. Mason St
               Green Bay, WI 54313                               Cash Contribution                                        12/11/2017                    $5,000.00

               Recipients relationship to debtor



       9.3.    Pauls Pantry
               1520 Leo Frigo Drive
               Green Bay, WI 54302                               Cash Contribution                                        12/11/2017                    $1,500.00

               Recipients relationship to debtor



       9.4.    St John The Evangelist
               Homeless Shelter
               411 St. John St
               Green Bay, WI 54301                               Cash Contribution                                        12/11/2017                    $5,000.00

               Recipients relationship to debtor




 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss          Value of property
       how the loss occurred                                                                                                                                  lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).
       See Attached SOFA Question 5,                             $438,453.03                                              Various                    $693,489.65
       Part 10


 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
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    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates              Total amount or
                the transfer?                                                                                                                              value
                Address
       11.1.    See Attached SOFA Part 6
                Question 11
                                                                                                                                                  $19,247,903.38

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To
       14.1.    See Attached SOFA Part 7, Question 14

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care
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 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

                  Personal information of our Main Store and Retail Health (Pharmacy
                  and Optical) customers
                  Does the debtor have a privacy policy about that information?
                    No
                      Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    Shopko Stores, Inc. Supplemental Executive Retirement Plan                                 EIN: XX-XXXXXXX

                    Has the plan been terminated?
                       No
                       Yes

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    Shopko Shared Savings Plan 001                                                             EIN: XX-XXXXXXX

                    Has the plan been terminated?
                       No
                       Yes


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was            Last balance
               Address                                           account number           instrument                  closed, sold,           before closing or
                                                                                                                      moved, or                        transfer
                                                                                                                      transferred
       18.1.     See Attached SOFA Part 10                       XXXX-                       Checking                                                       $0.00
                 Question 18                                                                 Savings
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


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          None

       Depository institution name and address                        Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                      Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?
       ADF                                                            Doug DeWitt, 101                    Acrylic Sign Holders                    No
       101 Doughty Road                                               Doughty Road,                                                               Yes
       Ladysmith, WI 54848                                            Ladysmith WI 54848

       Fujitsu America, Inc                                           Steven M. Schantz, 2530             Old Computer Monitors -                 No
       2530 Meridian Parkway                                          Meridian Parkway, Suite             Registers                               Yes
       Suite 300                                                      300, Durham NC 27707
       Durham, NC 27707

       Innomark                                                       Christine Christensen,              Signing (Paid Inventory)                No
       420 Distribution Circle                                        420 Distribution Circle,                                                    Yes
       Fairfield, OH 45014                                            Fairfield OH 45014

       Joshen Paper & Packaging                                       Joshen Paper &                      Office Supplies (Toner, labels,         No
       8133 N. Granville Woods Road                                   Packaging, 8133 N.                  card stock, Receipt tape,               Yes
       Milwaukee, WI 53223                                            Granville Woods Road,               Cleaning Supplies), Store
                                                                      Milwaukee WI 53223                  Fixtures, Store Equipment
                                                                                                          (pallet jacks, Cart Corrals)

       VCI - Visual Creations Inc.                                    Stephen Vitello, 500                Sunglass & Jewelry Spinners             No
       500 Narragansett Park Drive                                    Narragansett Park Drive,                                                    Yes
       Pawtucket, RI 02861                                            Pawtucket RI 02861



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None

       Owner's name and address                                       Location of the property            Describe the property                            Value
       See Attached SOFA Part 11, Question                                                                                                           Unknown
       21


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.
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Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                            Status of case
       Case number                                                    address
       NDEQ ID: 85263, Program ID: LST                                Nebraska Dept of                    Tier 1 Site Investigation                        Pending
       121514-QK-1415                                                 Environmental Quality                                                                On appeal
       Public comment period ends 2/18/19;                            1200 N Street, Suite 400
                                                                                                                                                           Concluded
       then proceed to closure                                        Lincoln, NE 68509


23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address
       10610 Gertrude Street                                          Nebraska Dept of                        Neb. Rev. Stat. , Section                 3/14/2018
       La Vista, NE 68128                                             Environmental Quality                   81-15,124
                                                                      1200 N Street, Suite 400
                                                                      Lincoln, NE 68509


24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    See Attached SOFA Part 13                                                                         EIN:
             Question 25
                                                                                                               From-To


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None




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Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
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 Debtor      ShopKo Stores Operating Co., LLC                                                           Case number (if known) 19-80075



       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26a.1.       Gary Gibson                                                                                                           9/3/2002-Current
                    700 Pilgrim Way
                    PO Box 19060
                    Green Bay, WI 54307-9060
       26a.2.       John Per Brodin                                                                                                       3/19/2018-Current
                    700 Pilgrim Way
                    PO Box 19060
                    Green Bay, WI 54307-9060
       26a.3.       Kelly Weerts                                                                                                          10/11/2010-Current
                    700 Pilgrim Way
                    PO Box 19060
                    Green Bay, WI 54307-9060
       26a.4.       Russell Steinhorst                                                                                                    1/25/2009-Current
                    700 Pilgrim Way
                    PO Box 19060
                    Green Bay, WI 54307-9060

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.1.       Flextecs LLC                                                                                                          8/17/2012-Current
                    1395 South Marietta Parkway
                    Building 500, Suite 202
                    Marietta, GA 30067
       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.2.       Minnesota Department of Revenue                                                                                       10/19/2016-6/9/2018
                    600 N Robert St
                    Saint Paul, MN 55101
       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.3.       Oregon Department of Revenue                                                                                          8/2/2017-9/7/2017
                    955 Center St NE
                    Salem, OR 97301-2555
       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.4.       PricewaterhouseCoopers LLP                                                                                            7/31/2015-Current
                    One North Wacker Drive
                    Chicago, IL 60606
       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.5.       Ryan, LLC                                                                                                             7/1/2016-Current
                    13155 Noel Road
                    Three Galleria Tower
                    Suite 100
                    Dallas, TX 75240
       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.6.       South Dakota Department of Revenue                                                                                    6/26/2017-5/18/2018
                    417 N Main St
                    Mitchell, SD 57301-2600

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 Debtor      ShopKo Stores Operating Co., LLC                                                           Case number (if known) 19-80075



       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.7.       Spain Price Reader & Thompson, P.C.                                                                                   Multiple Occasions
                    5300 Memorial Drive                                                                                                   Jan 2017-Jan 2019
                    Suite 940
                    Houston, TX 77007
       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.8.       Texas Comptroller of Public Accounts                                                                                  5/3/2017-10/3/2018
                    111 E 17th Street
                    Austin, TX 78774
       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.9.       Utah State Tax Commission                                                                                             4/1/2016-9/26/2016
                    2540 Washington Blvd
                    6th Floor
                    Ogden, UT 84401
       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.10.      Washington Department of Revenue                                                                                      5/1/2012-3/1/2017
                    P O Box 47464
                    Olympia, WA 98504-7464
       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.11.      Wisconsin Department of Revenue                                                                                       2/1/2012-1/1/2016
                    P O Box 726
                    Stoughton, WI 53589
       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.12.      Wyoming Department of Revenue                                                                                         5/23/2018-Current
                    2300 Capital Avenue
                    Cheyenne, WY 82002

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Berkeley Research Group, LLC
                    2200 Powell Street
                    Suite 1200
                    Emeryville, CA 94608

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       See Attached SOFA Part 13, Question 26d



27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.


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               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory
       27.1 See Attached SOFA Part 13 Question 27
       .                                                                                                             See Attached

               Name and address of the person who has possession of
               inventory records
               See Attached



28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       See Attached SOFA Part 13
       Question 28



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       See Attached SOFA Part 13
       Question 29


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value
       30.1 Refer to Part 2 Question 4
       .

               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.


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    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation
    Shopko Stores, Inc. Supplemental Executive Retirement Plan                                                 EIN:        XX-XXXXXXX

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         February 22, 2019

 /s/ Russell Steinhorst                                                  Russell Steinhorst
 Signature of individual signing on behalf of the debtor                 Printed name

 Position or relationship to debtor         Chief Executive Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




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                          SOFA Part 1, Question 2 - Non-Business Revenue
                   Sources of Revenue                   Time Period      Gross Revenue
       A/P External Audit Income                   1/29/2017-2/3/2018       $174,645.47
       A/P Internal Audit Income                   1/29/2017-2/3/2018     $1,044,870.90
       Amusement Vending                           1/29/2017-2/3/2018       $105,201.23
       ASN Audit Discrepancy                       1/29/2017-2/3/2018       $549,590.73
       Automatic Teller Rental                     1/29/2017-2/3/2018          $2,194.75
       Bad Check Recovery                          1/29/2017-2/3/2018       $529,676.20
       Bad Check Service Fee                       1/29/2017-2/3/2018        $72,594.55
       Bounty Income (GA)                          1/29/2017-2/3/2018        $82,891.75
       Bulk Vending Income                         1/29/2017-2/3/2018        $57,897.03
       Civil Recourse/Restitution                  1/29/2017-2/3/2018       $322,499.45
       Civil Recourse/Restitution (GA)             1/29/2017-2/3/2018        $99,039.62
       Commission Coin Counting Machines           1/29/2017-2/3/2018        $15,886.01
       Commissions From Fireworks Stands           1/29/2017-2/3/2018       $136,898.33
       Commissions From Free Publ Stands           1/29/2017-2/3/2018          $8,767.30
       Coupon Income                               1/29/2017-2/3/2018        $52,982.93
       Data Mining Income (GA)                     1/29/2017-2/3/2018       $148,801.00
       Early/Late Penalties                        1/29/2017-2/3/2018     $3,632,553.97
       Fill Rate Penalty                           1/29/2017-2/3/2018     $1,371,322.92
       Fish/Hunt License Fees                      1/29/2017-2/3/2018        $55,976.86
       Gift Card Fee Income                        1/29/2017-2/3/2018       $655,660.66
       Income - 340B                               1/29/2017-2/3/2018     $5,301,232.51
       Income Concessions                          1/29/2017-2/3/2018        $46,633.13
       Income Concessions (GA)                     1/29/2017-2/3/2018             $33.74
       Income Trash Rebate                         1/29/2017-2/3/2018       $511,192.68
       Intern/External Income (GA)                 1/29/2017-2/3/2018        $20,997.68
       Lottery Income                              1/29/2017-2/3/2018       $148,293.87
       Marketing Fund (GA)                         1/29/2017-2/3/2018        $55,621.12
       Medication Therapy Management               1/29/2017-2/3/2018       $133,473.96
       Miscellaneous Income 266120 (GA)            1/29/2017-2/3/2018       $635,349.52
       One Call Alert Pamphlets                    1/29/2017-2/3/2018          $3,315.42
       Optical Equip & Mtn Fees                    1/29/2017-2/3/2018     $3,936,839.67
       Other Miscellaneous Income                  1/29/2017-2/3/2018       $710,098.77
       Pharm. Data Serv Income                     1/29/2017-2/3/2018        $80,910.57


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                          SOFA Part 1, Question 2 - Non-Business Revenue
                  Sources of Revenue                    Time Period      Gross Revenue
       Prepaid Card Income                         1/29/2017-2/3/2018     $1,899,127.95
       Prescription Tax Revenue                    1/29/2017-2/3/2018     $1,171,571.05
       Rent Income Subleases                       1/29/2017-2/3/2018       $454,735.44
       Rent Income Subleases (GA)                  1/29/2017-2/3/2018              $3.26
       Rental Income Optometrist                   1/29/2017-2/3/2018       $307,721.33
       Rental Income Health Care                   1/29/2017-2/3/2018       $106,718.58
       Rental Income Payless                       1/29/2017-2/3/2018     $4,077,720.77
       Royalty/Revenue Income (GA)                 1/29/2017-2/3/2018        $38,144.16
       Rug Doctor Rentals                          1/29/2017-2/3/2018       $261,667.21
       Sales Tax Discount                          1/29/2017-2/3/2018       $264,460.31
       Sales Tax Discount (GA)                     1/29/2017-2/3/2018              $3.38
       Sample Expense Buyers (GA)                  1/29/2017-2/3/2018        $77,994.16
       Sample Income (GA)                          1/29/2017-2/3/2018       $135,081.25
       Service Desk Income                         1/29/2017-2/3/2018        $12,969.69
       Singer Sewing Sale Income                   1/29/2017-2/3/2018          $2,357.09
       Technology Fund Income (GA)                 1/29/2017-2/3/2018        $69,440.04
       Vendor Penalties Chargebacks                1/29/2017-2/3/2018       $992,268.89
       Warranty Income                             1/29/2017-2/3/2018       $582,756.39
       A/P External Audit Income                   1/31/2016-1/28/2017       $83,020.72
       A/P Internal Audit Income                   1/31/2016-1/28/2017    $1,379,399.92
       Amusement Vending                           1/31/2016-1/28/2017      $118,607.83
       ASN Audit Discrepancy                       1/31/2016-1/28/2017      $515,049.64
       Automatic Teller Rental                     1/31/2016-1/28/2017         $2,245.75
       Bad Check Recovery                          1/31/2016-1/28/2017      $593,595.57
       Bad Check Service Fee                       1/31/2016-1/28/2017       $76,304.64
       Bounty Income (GA)                          1/31/2016-1/28/2017         $3,289.00
       Bulk Vending Income                         1/31/2016-1/28/2017       $58,430.17
       Civil Recourse/Restitution                  1/31/2016-1/28/2017      $484,304.41
       Commission Coin Counting Machines           1/31/2016-1/28/2017         $7,636.32
       Commissions From Fireworks Stands           1/31/2016-1/28/2017      $135,812.37
       Commissions From Free Publ Stands           1/31/2016-1/28/2017       $28,409.64
       Coupon Income                               1/31/2016-1/28/2017       $52,981.85
       Data Mining Income (GA)                     1/31/2016-1/28/2017      $153,556.46


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                   Sources of Revenue                   Time Period      Gross Revenue
       Early/Late Penalties                        1/31/2016-1/28/2017    $3,561,004.70
       Fill Rate Penalty                           1/31/2016-1/28/2017      $528,991.66
       Fish/Hunt License Fees                      1/31/2016-1/28/2017       $51,011.70
       Gift Card Fee Income                        1/31/2016-1/28/2017      $433,134.28
       Income - 340B                               1/31/2016-1/28/2017    $4,217,185.11
       Income Concessions                          1/31/2016-1/28/2017       $49,441.43
       Income Trash Rebate                         1/31/2016-1/28/2017      $275,120.90
       Intern/External Income (GA)                 1/31/2016-1/28/2017       $24,376.35
       Lottery Income                              1/31/2016-1/28/2017      $148,309.61
       Marketing Fund (GA)                         1/31/2016-1/28/2017      $106,718.00
       Medication Therapy Management               1/31/2016-1/28/2017      $138,372.09
       Miscellaneous Income 266120 (GA)            1/31/2016-1/28/2017      $954,708.37
       One Call Alert Pamphlets                    1/31/2016-1/28/2017         $4,612.81
       Optical Equip & Mtn Fees                    1/31/2016-1/28/2017    $3,948,049.98
       Other Miscellaneous Income                  1/31/2016-1/28/2017      $753,497.28
       Pharm. Data Serv Income                     1/31/2016-1/28/2017       $81,577.17
       Prepaid Card Income                         1/31/2016-1/28/2017    $1,704,261.66
       Prescription Tax Revenue                    1/31/2016-1/28/2017    $1,143,604.44
       Rent Income Subleases                       1/31/2016-1/28/2017      $419,201.60
       Rent Income Subleases (GA)                  1/31/2016-1/28/2017           $503.32
       Rental Income Optometrist                   1/31/2016-1/28/2017      $307,823.75
       Rental Income Health Care                   1/31/2016-1/28/2017      $111,813.62
       Rental Income Payless                       1/31/2016-1/28/2017    $4,910,325.46
       Royalty/Revenue Income (GA)                 1/31/2016-1/28/2017         $3,822.72
       Rug Doctor Rentals                          1/31/2016-1/28/2017      $246,582.75
       Sales Tax Discount                          1/31/2016-1/28/2017      $272,517.28
       Sales Tax Discount (GA)                     1/31/2016-1/28/2017             $2.64
       Sample Expense Buyers (GA)                  1/31/2016-1/28/2017       $85,233.06
       Sample Income (GA)                          1/31/2016-1/28/2017      $114,182.59
       Service Desk Income                         1/31/2016-1/28/2017       $15,919.29
       Singer Sewing Sale Income                   1/31/2016-1/28/2017         $2,038.28
       Technology Fund Income (GA)                 1/31/2016-1/28/2017       $28,933.35
       Vendor Penalties Chargebacks                1/31/2016-1/28/2017    $1,123,160.57


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                   Sources of Revenue                   Time Period      Gross Revenue
       Warranty Income                             1/31/2016-1/28/2017      $553,382.81
       A/P External Audit Income                   2/4/2018-1/5/2019         $63,326.94
       A/P Internal Audit Income                   2/4/2018-1/5/2019        $544,177.87
       Amusement Vending                           2/4/2018-1/5/2019         $84,499.55
       ASN Audit Discrepancy                       2/4/2018-1/5/2019        $490,858.76
       Automatic Teller Rental                     2/4/2018-1/5/2019           $1,937.00
       Bad Check Recovery                          2/4/2018-1/5/2019        $387,185.77
       Bad Check Service Fee                       2/4/2018-1/5/2019         $49,804.97
       Bounty Income (GA)                          2/4/2018-1/5/2019         $81,615.06
       Bulk Vending Income                         2/4/2018-1/5/2019         $43,477.90
       Civil Recourse/Restitution                  2/4/2018-1/5/2019        $241,210.92
       Civil Recourse/Restitution (GA)             2/4/2018-1/5/2019         $76,241.46
       Commission Coin Counting Machines           2/4/2018-1/5/2019         $46,763.78
       Commissions From Fireworks Stands           2/4/2018-1/5/2019        $114,572.54
       Commissions From Free Publ Stands           2/4/2018-1/5/2019           $4,113.81
       Coupon Income                               2/4/2018-1/5/2019         $36,717.19
       Data Mining Income (GA)                     2/4/2018-1/5/2019        $151,500.00
       Early/Late Penalties                        2/4/2018-1/5/2019      $3,631,038.74
       Fill Rate Penalty                           2/4/2018-1/5/2019      $1,538,303.07
       Fish/Hunt License Fees                      2/4/2018-1/5/2019        $219,042.53
       Gift Card Fee Income                        2/4/2018-1/5/2019        $485,205.83
       Income - 340B                               2/4/2018-1/5/2019      $1,102,749.11
       Income Concessions                          2/4/2018-1/5/2019         $35,312.92
       Income Trash Rebate                         2/4/2018-1/5/2019         $80,816.39
       Intern/External Income (GA)                 2/4/2018-1/5/2019         $18,176.48
       Lottery Income                              2/4/2018-1/5/2019        $130,128.64
       Marketing Fund (GA)                         2/4/2018-1/5/2019         $12,791.79
       Medication Therapy Management               2/4/2018-1/5/2019           $2,995.88
       Misc Income - Vendor Allowances             2/4/2018-1/5/2019             $500.00
       Miscellaneous Income 266120 (GA)            2/4/2018-1/5/2019        $220,339.69
       One Call Alert Pamphlets                    2/4/2018-1/5/2019         $71,232.00
       Optical Equip & Mtn Fees                    2/4/2018-1/5/2019      $3,644,611.47
       Other Miscellaneous Income                  2/4/2018-1/5/2019        $562,623.76


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                   Sources of Revenue                   Time Period      Gross Revenue
       Pharm. Data Serv Income                     2/4/2018-1/5/2019         $71,154.79
       Prepaid Card Income                         2/4/2018-1/5/2019      $1,932,646.23
       Prescription Tax Revenue                    2/4/2018-1/5/2019      $1,022,179.45
       Rent Income Subleases                       2/4/2018-1/5/2019        $339,839.50
       Rent Income Subleases (GA)                  2/4/2018-1/5/2019         $30,000.00
       Rental Income - Intercompany Rent           2/4/2018-1/5/2019        $118,128.96
       Rental Income Optometrist                   2/4/2018-1/5/2019        $288,354.99
       Rental Income Payless                       2/4/2018-1/5/2019      $3,530,947.23
       Royalty/Revenue Income (GA)                 2/4/2018-1/5/2019         $74,398.83
       Rug Doctor Rentals                          2/4/2018-1/5/2019        $138,824.33
       Sales Tax Discount                          2/4/2018-1/5/2019        $223,852.13
       Sales Tax Discount (GA)                     2/4/2018-1/5/2019               $2.73
       Sample Expense Buyers (GA)                  2/4/2018-1/5/2019         $61,671.40
       Sample Income (GA)                          2/4/2018-1/5/2019        $104,302.81
       Service Desk Income                         2/4/2018-1/5/2019           $8,514.82
       Singer Sewing Sale Income                   2/4/2018-1/5/2019           $2,835.00
       Technology Fund Income (GA)                 2/4/2018-1/5/2019         $63,653.37
       Vendor Penalties Chargebacks                2/4/2018-1/5/2019        $897,873.08
       Warranty Income                             2/4/2018-1/5/2019        $734,021.36
       Sale of Automobiles                         2/4/2018-1/15/2019            $189.57
       Sale of Customer Lists                      2/4/2018-1/15/2019    $97,425,306.91
       Sale of Land                                2/4/2018-1/15/2019     $1,776,654.00
       Sale of Store Fixtures & Equipment          2/4/2018-1/15/2019       $443,059.69
       Sale of Warehouse Equipment                 2/4/2018-1/15/2019        $11,911.50
       Sales of Motorized Equipment                2/4/2018-1/15/2019          $1,161.00
       Sale of Automobiles                         1/29/2017-2/3/2018        $29,485.46
       Sale of Computers                           1/29/2017-2/3/2018        $35,855.44
       Sale of Customer Lists                      1/29/2017-2/3/2018     $2,877,964.20
       Sale of Fixtures & Equipment                1/29/2017-2/3/2018       $210,301.95
       Sale of Land                                1/29/2017-2/3/2018     $1,327,820.62
       Sale of Automobiles                         1/31/2016-1/28/2017      $101,801.74
       Sale of Buildings                           1/31/2016-1/28/2017    $4,492,542.58
       Sale of Customer Lists                      1/31/2016-1/28/2017    $1,160,000.00


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                                                   Operating
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                                                               937LLC
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                          SOFA Part 1, Question 2 - Non-Business Revenue
                   Sources of Revenue                   Time Period        Gross Revenue
       Sale of Fixtures & Equipment                1/31/2016-1/28/2017           $5,736.32
       Sale of Land                                1/31/2016-1/28/2017        $120,014.36
                                                                   TOTAL: $195,007,628.34




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                                                                                                                                                                                    Reasons for payment or    Dates of     Total Amount or
      Creditor Name                   Address1                 Address2                  Address3                   City            State       Zip              Country                   transfer          Payments            Value

16 DEER RUN LLC           145 HUDSON ST, SUITE 56                                                          NEW YORK            NY           10013                                  LANDLORD RENT PAYMENT        1/8/2019         $51,728.08
1ST AVENUE SELF STORAGE   9191 TOWNE CENTRE DRIVE
LLC                       SUITE 180                                                                        SAN DIEGO           CA           92122                                  SUPPLIERS OR VENDORS       11/1/2018          $35,778.58
1ST AVENUE SELF STORAGE   9191 TOWNE CENTRE DRIVE
LLC                       SUITE 180                                                                        SAN DIEGO           CA           92122                                  SUPPLIERS OR VENDORS       12/1/2018          $35,778.58
1ST CHOICE LANDSCAPING
LLC                       MICHAEL NOOYEN                 PO BOX 10654                                      GREEN BAY           WI           54307-0654                             SUPPLIERS OR VENDORS       11/8/2018             $701.58
360TRAINING.COM
INCORPORATED              DEPT 3836                      PO BOX 123836                                     DALLAS              TX           75312-3836                             SUPPLIERS OR VENDORS      10/25/2018              $10.00
3CS CLEVELANDS CAFE AND
CATERING                  100 S 4TH ST                                                                     ALBION              NE           68620                                  SUPPLIERS OR VENDORS      12/14/2018             $211.86
4 CZECHS LLC              117 FAIRWAY COURT                                                                BISMARK             ND           58501                                  SUPPLIERS OR VENDORS       11/1/2018          $14,108.00
4 CZECHS LLC              117 FAIRWAY COURT                                                                BISMARK             ND           58501                                  SUPPLIERS OR VENDORS       12/1/2018          $14,108.00
5 GS CORPORATION          10561 WEST HIGHWAY 140                                                           ATWATER             CA           95301                                  SUPPLIERS OR VENDORS      11/10/2018          $24,750.00
5 GS CORPORATION          10561 WEST HIGHWAY 140                                                           ATWATER             CA           95301                                  SUPPLIERS OR VENDORS       12/8/2018          $24,750.00
7401 MINERAL POINT RD
OWNER LLC                 11 S PASCACK ROAD                                                                SPRING VALLEY       NY           10977                                  SUPPLIERS OR VENDORS       11/1/2018          $67,284.07
7401 MINERAL POINT RD
OWNER LLC                 11 S PASCACK ROAD                                                                SPRING VALLEY       NY           10977                                  SUPPLIERS OR VENDORS       12/4/2018          $67,284.07
7401 MINERAL POINT RD     6080 JERICHO TURNPIKE, SUITE
OWNER LLC                 101                                                                              COMMACK             NY           11725                                  LANDLORD RENT PAYMENT      1/10/2019          $67,284.07
905 SOUTH 24TH STREET     A SUBSIDIARY OF THREE EAST     6 WEST 18TH STREET
WEST OWNER LLC            THIRD CORP                     UNIT 2D                                           NEW YORK            NY           10011                                  SUPPLIERS OR VENDORS       11/1/2018          $64,961.27
905 SOUTH 24TH STREET     A SUBSIDIARY OF THREE EAST     6 WEST 18TH STREET
WEST OWNER LLC            THIRD CORP                     UNIT 2D                                           NEW YORK            NY           10011                                  SUPPLIERS OR VENDORS       12/4/2018          $64,961.27
A & A COORS
INCORPORATED              PO BOX 224                                                                       HAYS                KS           67601                                  SUPPLIERS OR VENDORS      11/29/2018               $93.80
A D HUESING CORP          PO BOX 6880                                                                      ROCK ISLAND         IL           61204-6880                             SUPPLIERS OR VENDORS      10/19/2018              $162.68
A D HUESING CORP          PO BOX 6880                                                                      ROCK ISLAND         IL           61204-6880                             SUPPLIERS OR VENDORS      10/23/2018            $2,552.16
A D HUESING CORP          PO BOX 6880                                                                      ROCK ISLAND         IL           61204-6880                             SUPPLIERS OR VENDORS      10/26/2018              $391.30
A D HUESING CORP          PO BOX 6880                                                                      ROCK ISLAND         IL           61204-6880                             SUPPLIERS OR VENDORS      10/30/2018              $904.12
A D HUESING CORP          PO BOX 6880                                                                      ROCK ISLAND         IL           61204-6880                             SUPPLIERS OR VENDORS       11/2/2018               $16.76
A D HUESING CORP          PO BOX 6880                                                                      ROCK ISLAND         IL           61204-6880                             SUPPLIERS OR VENDORS       11/6/2018              $734.04
A D HUESING CORP          PO BOX 6880                                                                      ROCK ISLAND         IL           61204-6880                             SUPPLIERS OR VENDORS       11/9/2018              $162.76
A D HUESING CORP          PO BOX 6880                                                                      ROCK ISLAND         IL           61204-6880                             SUPPLIERS OR VENDORS      11/13/2018              $604.94
A D HUESING CORP          PO BOX 6880                                                                      ROCK ISLAND         IL           61204-6880                             SUPPLIERS OR VENDORS      11/16/2018              $256.12
A D HUESING CORP          PO BOX 6880                                                                      ROCK ISLAND         IL           61204-6880                             SUPPLIERS OR VENDORS      11/23/2018            $2,378.31
A D HUESING CORP          PO BOX 6880                                                                      ROCK ISLAND         IL           61204-6880                             SUPPLIERS OR VENDORS      11/27/2018            $2,378.48
A D HUESING CORP          PO BOX 6880                                                                      ROCK ISLAND         IL           61204-6880                             SUPPLIERS OR VENDORS      11/30/2018              $613.44
A D HUESING CORP          PO BOX 6880                                                                      ROCK ISLAND         IL           61204-6880                             SUPPLIERS OR VENDORS       12/4/2018              $515.52
A D HUESING CORP          PO BOX 6880                                                                      ROCK ISLAND         IL           61204-6880                             SUPPLIERS OR VENDORS      12/20/2018            $3,680.50
A D L M COUNTIES
ENVIRONMENTAL PUBLIC      12307 HWY 5                    PO BOX 399                                        MORAVIA             IA           52571-0399                             SUPPLIERS OR VENDORS      10/24/2018             $256.50
A D SUTTON & SONS         CIT GROUP COMMERCIAL
INCORPORATED              SERVICES INC                   PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      10/19/2018             $328.93
A D SUTTON & SONS         CIT GROUP COMMERCIAL
INCORPORATED              SERVICES INC                   PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      10/23/2018             $135.81
A D SUTTON & SONS         CIT GROUP COMMERCIAL
INCORPORATED              SERVICES INC                   PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      10/24/2018            $3,519.00
A D SUTTON & SONS         CIT GROUP COMMERCIAL
INCORPORATED              SERVICES INC                   PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      10/27/2018          $14,414.00
A D SUTTON & SONS         CIT GROUP COMMERCIAL
INCORPORATED              SERVICES INC                   PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/9/2018            $3,242.95



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                                                                                                                                                                                 Reasons for payment or    Dates of    Total Amount or
       Creditor Name                Address1                Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
A D SUTTON & SONS        CIT GROUP COMMERCIAL
INCORPORATED             SERVICES INC                 PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      11/16/2018         $12,789.30
A D SUTTON & SONS        CIT GROUP COMMERCIAL
INCORPORATED             SERVICES INC                 PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       12/1/2018           $5,328.36
A D SUTTON & SONS        CIT GROUP COMMERCIAL
INCORPORATED             SERVICES INC                 PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       12/4/2018           $8,596.30
A D SUTTON & SONS        CIT GROUP COMMERCIAL
INCORPORATED             SERVICES INC                 PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       12/6/2018           $3,225.53
A HOUNG FU               1713 TIMBERDOODLE DR.                                                          SAINT CLOUD         MN           56303                                  SUPPLIERS OR VENDORS      12/17/2018              $25.00
A ONE STORAGE & CRANE
SERVICE INC              2482 197TH AVENUE                                                              MANCHESTER          IA           52057                                  SUPPLIERS OR VENDORS      10/18/2018            $139.10
A ONE STORAGE & CRANE
SERVICE INC              2482 197TH AVENUE                                                              MANCHESTER          IA           52057                                  SUPPLIERS OR VENDORS      11/16/2018            $139.10
A ONE STORAGE & CRANE
SERVICE INC              2482 197TH AVENUE                                                              MANCHESTER          IA           52057                                  SUPPLIERS OR VENDORS      12/13/2018            $139.10
A P EQUIPMENT
INCORPORATED             2147 W MAIN                                                                    VALLEY CITY         ND           58072                                  SUPPLIERS OR VENDORS      10/25/2018            $450.00
A P EQUIPMENT
INCORPORATED             2147 W MAIN                                                                    VALLEY CITY         ND           58072                                  SUPPLIERS OR VENDORS       11/1/2018             $75.00
A P EQUIPMENT
INCORPORATED             2147 W MAIN                                                                    VALLEY CITY         ND           58072                                  SUPPLIERS OR VENDORS       11/8/2018            $150.00
A P EQUIPMENT
INCORPORATED             2147 W MAIN                                                                    VALLEY CITY         ND           58072                                  SUPPLIERS OR VENDORS      11/15/2018            $225.00
A P EQUIPMENT
INCORPORATED             2147 W MAIN                                                                    VALLEY CITY         ND           58072                                  SUPPLIERS OR VENDORS      11/29/2018            $325.00
                         AUTOMATED RECORDS
A R M S INCORPORATED     MANAGEMENT SYSTEMS           1850 ENTERPRISE DRIVE                             DE PERE             WI           54115-0000                             SUPPLIERS OR VENDORS       11/1/2018           $3,510.98
                         AUTOMATED RECORDS
A R M S INCORPORATED     MANAGEMENT SYSTEMS           1850 ENTERPRISE DRIVE                             DE PERE             WI           54115-0000                             SUPPLIERS OR VENDORS      11/30/2018               $1.00
                         AUTOMATED RECORDS
A R M S INCORPORATED     MANAGEMENT SYSTEMS           1850 ENTERPRISE DRIVE                             DE PERE             WI           54115-0000                             SUPPLIERS OR VENDORS      12/19/2018           $2,842.09
                         AUTOMATED RECORDS
A R M S INCORPORATED     MANAGEMENT SYSTEMS           1850 ENTERPRISE DRIVE                             DE PERE             WI           54115-0000                             SUPPLIERS OR VENDORS        1/5/2019          $2,810.17
A T KEARNEY INC          227 W MONROE                                                                   CHICAGO             IL           60606                                  SUPPLIERS OR VENDORS      10/18/2018         $45,000.00

A TO Z WORLD LANGUAGES
INCORPORATED             PO BOX 971                                                                     SIOUX FALLS         SD           57101                                  SUPPLIERS OR VENDORS      10/18/2018            $239.63

A TO Z WORLD LANGUAGES
INCORPORATED             PO BOX 971                                                                     SIOUX FALLS         SD           57101                                  SUPPLIERS OR VENDORS       11/8/2018            $159.75
                         103 W COLLEGE AVENUE SUITE
A2Z DESIGN LLC           905                                                                            APPLETON            WI           54911                                  SUPPLIERS OR VENDORS      10/25/2018         $23,769.38
                                                                                                                                                                                PURCHASE OF
AA FASHIONS INC          1817 46TH STREET                                                               VERNON              CA           90058                                  MERCHANDISE               11/14/2018         $67,874.60
AAA PHARMACEUTICAL
INCORPORATED             681 MAIN STREET                                                                LUMBERTON           NJ           08048-0000                             SUPPLIERS OR VENDORS      10/18/2018         $21,777.64
AAA PHARMACEUTICAL
INCORPORATED             681 MAIN STREET                                                                LUMBERTON           NJ           08048-0000                             SUPPLIERS OR VENDORS      10/25/2018         $17,274.97
AAA PHARMACEUTICAL
INCORPORATED             681 MAIN STREET                                                                LUMBERTON           NJ           08048-0000                             SUPPLIERS OR VENDORS       11/1/2018           $7,474.58
AAA PHARMACEUTICAL
INCORPORATED             681 MAIN STREET                                                                LUMBERTON           NJ           08048-0000                             SUPPLIERS OR VENDORS       11/8/2018           $9,342.08
AAA PHARMACEUTICAL
INCORPORATED             681 MAIN STREET                                                                LUMBERTON           NJ           08048-0000                             SUPPLIERS OR VENDORS      11/15/2018         $11,437.30



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                                                                                                                                                                              Reasons for payment or    Dates of    Total Amount or
      Creditor Name             Address1                 Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
AAA PHARMACEUTICAL
INCORPORATED          681 MAIN STREET                                                                LUMBERTON           NJ           08048-0000                             SUPPLIERS OR VENDORS      11/22/2018         $10,169.13
AARON BECKER          91 WESTVIEW DRIVE                                                              YAKIMA              WA           98908                                  SUPPLIERS OR VENDORS      10/24/2018             $49.00
AARON BRUENETTE       1194 29TH ST                                                                   CHETEK              WI           54728                                  SUPPLIERS OR VENDORS      10/22/2018             $70.00

AARON CRAGUN          STORE OPERATIONS/STORE 171 SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/26/2018             $87.04

AARON CRAGUN          STORE OPERATIONS/STORE 171 SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/14/2018            $135.11

AARON CRAGUN          STORE OPERATIONS/STORE 171   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/29/2018             $219.10
AARON CUTLER OD PS    8624 W 12TH AVENUE                                                             KENNEWICK           WA           99338                                  SUPPLIERS OR VENDORS      10/19/2018           $6,238.61
AARON CUTLER OD PS    8624 W 12TH AVENUE                                                             KENNEWICK           WA           99338                                  SUPPLIERS OR VENDORS      10/26/2018             $117.72
AARON CUTLER OD PS    8624 W 12TH AVENUE                                                             KENNEWICK           WA           99338                                  SUPPLIERS OR VENDORS       11/2/2018           $6,482.16
AARON CUTLER OD PS    8624 W 12TH AVENUE                                                             KENNEWICK           WA           99338                                  SUPPLIERS OR VENDORS       11/3/2018              $58.86
AARON CUTLER OD PS    8624 W 12TH AVENUE                                                             KENNEWICK           WA           99338                                  SUPPLIERS OR VENDORS      11/13/2018              $58.86
AARON CUTLER OD PS    8624 W 12TH AVENUE                                                             KENNEWICK           WA           99338                                  SUPPLIERS OR VENDORS      11/16/2018           $7,345.92
AARON CUTLER OD PS    8624 W 12TH AVENUE                                                             KENNEWICK           WA           99338                                  SUPPLIERS OR VENDORS      11/17/2018             $117.72
AARON CUTLER OD PS    8624 W 12TH AVENUE                                                             KENNEWICK           WA           99338                                  SUPPLIERS OR VENDORS      11/30/2018           $7,406.36
AARON CUTLER OD PS    8624 W 12TH AVENUE                                                             KENNEWICK           WA           99338                                  SUPPLIERS OR VENDORS       12/4/2018             $176.58
AARON CUTLER OD PS    8624 W 12TH AVENUE                                                             KENNEWICK           WA           99338                                  SUPPLIERS OR VENDORS      12/11/2018             $117.72
AARON CUTLER OD PS    8624 W 12TH AVENUE                                                             KENNEWICK           WA           99338                                  SUPPLIERS OR VENDORS      12/14/2018           $7,263.02
AARON CUTLER OD PS    8624 W 12TH AVENUE                                                             KENNEWICK           WA           99338                                  SUPPLIERS OR VENDORS      12/29/2018           $6,026.52
AARON CUTLER OD PS    8624 W 12TH AVENUE                                                             KENNEWICK           WA           99338                                  SUPPLIERS OR VENDORS       1/11/2019           $4,561.13
AARON CUTLER OD PS    8624 W 12TH AVENUE                                                             KENNEWICK           WA           99338                                  SUPPLIERS OR VENDORS       1/12/2019              $64.96
AARON GUTOSKI         2007 VIRGINIA AVE                                                              BELLEVUE            NE           68147                                  SUPPLIERS OR VENDORS      11/26/2018               $9.97
AARON HENDERSON       STORE 2-075                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/1/2018             $174.17
AARON HITCHCOCK       708 MAPLE ST                                                                   PALMYRA             WI           53156                                  SUPPLIERS OR VENDORS       11/2/2018              $10.00
AARON KARCZ           858 JAWORSKI RD                                                                PULASKI             WI           54162                                  SUPPLIERS OR VENDORS      11/16/2018              $10.00
AARON KUHLS           W7190 FOREST AVE.                                                              FOND DU LAC         WI           54935                                  SUPPLIERS OR VENDORS      10/31/2018              $39.98
AARON KUHLS           W7190 FOREST AVE.                                                              FOND DU LAC         WI           54935                                  SUPPLIERS OR VENDORS      10/31/2018              $39.98
AARON MAST            STORE 2-139                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/1/2018              $85.40
AARON MAST            STORE 2-139                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/20/2018              $80.89
AARON MIKLASZEWICZ    STORE 602                    SHOPKO EMPLOYEE        126 CHARLES STREET         OCONTO              WI           54153-9446                             SUPPLIERS OR VENDORS      11/16/2018             $307.38
AARON MILLER          125 N ALLEN AVE                                                                NORTH PLATTE        NE           69101                                  SUPPLIERS OR VENDORS      12/14/2018              $23.00
AARON PEARD           STORE 047                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/15/2018             $244.16
AARON PERKINS         2022 W 1250 N                                                                  LAYTON              UT           84041                                  SUPPLIERS OR VENDORS      10/26/2018              $23.00
AARON SHRYOCK         1750 LOST LANE                                                                 GREEN BAY           WI           54302                                  SUPPLIERS OR VENDORS       11/9/2018              $25.00
AARON UNDERWOOD       1238 ERICK STREET                                                              FORT ATKINSON       WI           53538                                  SUPPLIERS OR VENDORS      10/22/2018              $40.00
AARON WESTMAN         507 PINE RIDGE TERRACE                                                         RIVER FALLS         WI           54022                                  SUPPLIERS OR VENDORS      10/19/2018              $25.00
AARONS LAND CARE      PO BOX 396                                                                     CLINTON             WI           53525                                  SUPPLIERS OR VENDORS      10/18/2018             $274.30
AARONS LAND CARE      PO BOX 396                                                                     CLINTON             WI           53525                                  SUPPLIERS OR VENDORS      11/15/2018             $274.30
AB INITIO SOFTWARE
CORPORATION           201 SPRING STREET                                                              LEXINGTON           MA           02421                                  SUPPLIERS OR VENDORS      12/14/2018           $7,342.50
AB PROPANE            1700 W 50TH STREET                                                             SIOUX FALLS         SD           57105                                  SUPPLIERS OR VENDORS      10/25/2018              $99.31

ABAGAYL CHAPMAN       1794 WESTERN AVENUE APT #8                                                     GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS       12/7/2018             $23.00
ABARTA COCA COLA
BEVERAGE              VICE PRESIDENT OF SALES      200 ALPHA DRIVE                                   PITTSBURGH          PA           15238-2906                             SUPPLIERS OR VENDORS      10/18/2018            $114.92
ABARTA COCA COLA
BEVERAGE              VICE PRESIDENT OF SALES      200 ALPHA DRIVE                                   PITTSBURGH          PA           15238-2906                             SUPPLIERS OR VENDORS      10/25/2018            $342.00
ABARTA COCA COLA
BEVERAGE              VICE PRESIDENT OF SALES      200 ALPHA DRIVE                                   PITTSBURGH          PA           15238-2906                             SUPPLIERS OR VENDORS      11/15/2018            $223.90
ABARTA COCA COLA
BEVERAGE              VICE PRESIDENT OF SALES      200 ALPHA DRIVE                                   PITTSBURGH          PA           15238-2906                             SUPPLIERS OR VENDORS      11/29/2018            $313.00



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ABARTA COCA COLA
BEVERAGE                 VICE PRESIDENT OF SALES   200 ALPHA DRIVE                                   PITTSBURGH          PA           15238-2906                             SUPPLIERS OR VENDORS      12/19/2018             $174.31
ABARTA COCA COLA
BEVERAGE                 VICE PRESIDENT OF SALES   200 ALPHA DRIVE                                   PITTSBURGH          PA           15238-2906                             SUPPLIERS OR VENDORS      12/27/2018              $371.19
ABBI POPOUR              309 NORTH 2ND STREET                                                        MANISTIQUE          MI           49854                                  SUPPLIERS OR VENDORS      11/15/2018               $13.09
ABBIE LOEHR              34440 DONNER AVENUE                                                         SILVER CITY         IA           51571                                  SUPPLIERS OR VENDORS       12/3/2018               $20.00
ABBOTT LABORATORIES      SHOPKO STORES             PO BOX 19060           DISC 12/12/07              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/18/2018            $2,378.26
ABBOTT LABORATORIES      SHOPKO STORES             PO BOX 19060           DISC 12/12/07              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/25/2018            $3,268.03
ABBOTT LABORATORIES      SHOPKO STORES             PO BOX 19060           DISC 12/12/07              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/8/2018            $3,728.51
ABBOTT LABORATORIES      SHOPKO STORES             PO BOX 19060           DISC 12/12/07              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/15/2018            $2,010.26
ABBOTT LABORATORIES      SHOPKO STORES             PO BOX 19060           DISC 12/12/07              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/22/2018            $2,440.42
ABBOTT LABORATORIES      SHOPKO STORES             PO BOX 19060           DISC 12/12/07              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/29/2018            $2,067.48
ABBY GERSTENBERGER       W7830 PARK STREET                                                           ONALASKA            WI           54650                                  SUPPLIERS OR VENDORS      11/28/2018               $15.00
ABC MOBILE STORAGE LLC   1806 E OMAHA AVENUE       PO BOX 461                                        NORFOLK             NE           68702                                  SUPPLIERS OR VENDORS       11/9/2018              $187.26
ABC MOBILE STORAGE LLC   1806 E OMAHA AVENUE       PO BOX 461                                        NORFOLK             NE           68702                                  SUPPLIERS OR VENDORS      12/18/2018              $187.26
ABDIRAHMAN HASSAN        200 ROGERS ST.                                                              MANKATO             MN           56001                                  SUPPLIERS OR VENDORS      10/22/2018                $3.00
ABES ELECTRIC            RORY WALKER               111 SHADY GLADE RD                                BONNERS FERRY       ID           83805                                  SUPPLIERS OR VENDORS      11/29/2018              $150.00
ABF FREIGHT SYSTEMS
INCORPORAT               PO BOX 10048                                                                FORT SMITH          AR           72917-0048                             SUPPLIERS OR VENDORS      12/13/2018                $1.00
ABF FREIGHT SYSTEMS
INCORPORATED             PO BOX 10048                                                                FORT SMITH          AR           72917-0048                             SUPPLIERS OR VENDORS      10/18/2018          $22,232.32
ABF FREIGHT SYSTEMS
INCORPORATED             PO BOX 10048                                                                FORT SMITH          AR           72917-0048                             SUPPLIERS OR VENDORS      10/25/2018          $17,334.55
ABF FREIGHT SYSTEMS
INCORPORATED             PO BOX 10048                                                                FORT SMITH          AR           72917-0048                             SUPPLIERS OR VENDORS       11/1/2018          $22,450.82
ABF FREIGHT SYSTEMS
INCORPORATED             PO BOX 10048                                                                FORT SMITH          AR           72917-0048                             SUPPLIERS OR VENDORS       11/8/2018          $22,816.45
ABF FREIGHT SYSTEMS
INCORPORATED             PO BOX 10048                                                                FORT SMITH          AR           72917-0048                             SUPPLIERS OR VENDORS      11/15/2018          $28,198.82
ABF FREIGHT SYSTEMS
INCORPORATED             PO BOX 10048                                                                FORT SMITH          AR           72917-0048                             SUPPLIERS OR VENDORS      11/29/2018          $54,599.91
ABF FREIGHT SYSTEMS
INCORPORATED             PO BOX 10048                                                                FORT SMITH          AR           72917-0048                             SUPPLIERS OR VENDORS       12/7/2018          $36,187.36
ABF FREIGHT SYSTEMS
INCORPORATED             PO BOX 10048                                                                FORT SMITH          AR           72917-0048                             SUPPLIERS OR VENDORS      12/10/2018          $15,783.57
ABF FREIGHT SYSTEMS
INCORPORATED             PO BOX 10048                                                                FORT SMITH          AR           72917-0048                             SUPPLIERS OR VENDORS      12/11/2018            $1,631.21
ABF FREIGHT SYSTEMS
INCORPORATED             PO BOX 10048                                                                FORT SMITH          AR           72917-0048                             SUPPLIERS OR VENDORS      12/13/2018            $2,123.26
ABF FREIGHT SYSTEMS
INCORPORATED             PO BOX 10048                                                                FORT SMITH          AR           72917-0048                             SUPPLIERS OR VENDORS      12/14/2018            $4,900.09
ABF FREIGHT SYSTEMS
INCORPORATED             PO BOX 10048                                                                FORT SMITH          AR           72917-0048                             SUPPLIERS OR VENDORS      12/17/2018          $17,426.57
ABF FREIGHT SYSTEMS
INCORPORATED             PO BOX 10048                                                                FORT SMITH          AR           72917-0048                             SUPPLIERS OR VENDORS      12/20/2018            $3,881.95
ABF FREIGHT SYSTEMS
INCORPORATED             PO BOX 10048                                                                FORT SMITH          AR           72917-0048                             SUPPLIERS OR VENDORS      12/21/2018          $14,723.33
ABF FREIGHT SYSTEMS
INCORPORATED             PO BOX 10048                                                                FORT SMITH          AR           72917-0048                             SUPPLIERS OR VENDORS      12/22/2018          $21,864.21
ABF FREIGHT SYSTEMS
INCORPORATED             PO BOX 10048                                                                FORT SMITH          AR           72917-0048                             SUPPLIERS OR VENDORS      12/28/2018          $15,303.07
ABF FREIGHT SYSTEMS
INCORPORATED             PO BOX 10048                                                                FORT SMITH          AR           72917-0048                             SUPPLIERS OR VENDORS         1/5/2019         $38,892.59




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                                                                                                                                                                                Reasons for payment or    Dates of     Total Amount or
      Creditor Name                Address1                Address2                  Address3                 City              State       Zip              Country                   transfer          Payments            Value
ABF FREIGHT SYSTEMS
INCORPORATED              PO BOX 10048                                                                 FORT SMITH          AR           72917-0048                             SUPPLIERS OR VENDORS         1/9/2019           $9,188.14
ABF FREIGHT SYSTEMS
INCORPORATED              PO BOX 10048                                                                 FORT SMITH          AR           72917-0048                             SUPPLIERS OR VENDORS       1/10/2019             $599.65
ABG ACCESSORIES INC DIV
ELEGANT HEADWEAR          1000 JEFFERSON AVE                                                           ELIZABETH           NJ           07201-1307                             SUPPLIERS OR VENDORS      10/18/2018              $76.08
ABG ACCESSORIES INC DIV
ELEGANT HEADWEAR          1000 JEFFERSON AVE                                                           ELIZABETH           NJ           07201-1307                             SUPPLIERS OR VENDORS      10/25/2018          $98,804.45
ABIGAIL COOLEY            STORE 024                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/18/2018             $261.60
ABIGAIL COOLEY            STORE 024                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/25/2018             $218.00
ABIGAIL COOLEY            STORE 024                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/1/2018             $348.80
ABIGAIL COOLEY            STORE 024                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/8/2018             $305.20
ABIGAIL LACOURSIER        501 N RIDGE DR                                                               WAUNAKEE            WI           53597                                  SUPPLIERS OR VENDORS       11/9/2018              $27.00
ABIGAIL PECORA            202 JENNIFER LANE                                                            FALL RIVER          WI           53932                                  SUPPLIERS OR VENDORS      11/26/2018              $15.00
ABIGAIL SHOOK             1025 REAMES RD.                                                              MOSCOW              ID           83843                                  SUPPLIERS OR VENDORS      12/20/2018              $20.00
ABIGAIL WEBER             1377 SPRING STREET                                                           SOBIESKI            WI           54171                                  SUPPLIERS OR VENDORS      12/10/2018              $24.73
ABIGAIL WILLIAMS          1703 VENTURA DR                                                              NAMPA               ID           83686                                  SUPPLIERS OR VENDORS      11/28/2018              $19.75
ABIMAR FOODS INC          5425 NORTH FIRST STREET                                                      ABILENE             TX           79603                                  SUPPLIERS OR VENDORS      10/18/2018             $792.78
ABIMAR FOODS INC          5425 NORTH FIRST STREET                                                      ABILENE             TX           79603                                  SUPPLIERS OR VENDORS       11/1/2018           $2,173.44
ABIMAR FOODS INC          5425 NORTH FIRST STREET                                                      ABILENE             TX           79603                                  SUPPLIERS OR VENDORS       11/8/2018           $1,303.78
ABIMAR FOODS INC          5425 NORTH FIRST STREET                                                      ABILENE             TX           79603                                  SUPPLIERS OR VENDORS      11/15/2018           $8,829.20
ABIMAR FOODS INC          5425 NORTH FIRST STREET                                                      ABILENE             TX           79603                                  SUPPLIERS OR VENDORS      11/22/2018           $4,006.57
ABIMAR FOODS INC          5425 NORTH FIRST STREET                                                      ABILENE             TX           79603                                  SUPPLIERS OR VENDORS      11/29/2018           $1,779.25
                          DIV OF ATLANTIC BUSINESS
ABO PHARMACEUTICALS       ORGANIZATIONS              7930 ARJONS DR STE A                              SAN DIEGO           CA           92126                                  SUPPLIERS OR VENDORS      10/18/2018         $232,019.00
                          DIV OF ATLANTIC BUSINESS
ABO PHARMACEUTICALS       ORGANIZATIONS              7930 ARJONS DR STE A                              SAN DIEGO           CA           92126                                  SUPPLIERS OR VENDORS      10/25/2018            $8,235.00
                          DIV OF ATLANTIC BUSINESS
ABO PHARMACEUTICALS       ORGANIZATIONS              7930 ARJONS DR STE A                              SAN DIEGO           CA           92126                                  SUPPLIERS OR VENDORS       11/1/2018          $44,080.00
                          DIV OF ATLANTIC BUSINESS
ABO PHARMACEUTICALS       ORGANIZATIONS              7930 ARJONS DR STE A                              SAN DIEGO           CA           92126                                  SUPPLIERS OR VENDORS       11/8/2018          $24,985.00
                          DIV OF ATLANTIC BUSINESS
ABO PHARMACEUTICALS       ORGANIZATIONS              7930 ARJONS DR STE A                              SAN DIEGO           CA           92126                                  SUPPLIERS OR VENDORS      11/15/2018          $62,205.00
                          DIV OF ATLANTIC BUSINESS
ABO PHARMACEUTICALS       ORGANIZATIONS              7930 ARJONS DR STE A                              SAN DIEGO           CA           92126                                  SUPPLIERS OR VENDORS      11/22/2018          $33,300.00
                          DIV OF ATLANTIC BUSINESS
ABO PHARMACEUTICALS       ORGANIZATIONS              7930 ARJONS DR STE A                              SAN DIEGO           CA           92126                                  SUPPLIERS OR VENDORS      11/29/2018            $9,017.00
                          DIV OF ATLANTIC BUSINESS
ABO PHARMACEUTICALS       ORGANIZATIONS              7930 ARJONS DR STE A                              SAN DIEGO           CA           92126                                  SUPPLIERS OR VENDORS      12/13/2018            $9,820.00
                          DIV OF ATLANTIC BUSINESS
ABO PHARMACEUTICALS       ORGANIZATIONS              7930 ARJONS DR STE A                              SAN DIEGO           CA           92126                                  SUPPLIERS OR VENDORS      12/18/2018            $1,120.00
                          DIV OF ATLANTIC BUSINESS
ABO PHARMACEUTICALS       ORGANIZATIONS              7930 ARJONS DR STE A                              SAN DIEGO           CA           92126                                  SUPPLIERS OR VENDORS      12/19/2018             $870.00
                          DIV OF ATLANTIC BUSINESS
ABO PHARMACEUTICALS       ORGANIZATIONS              7930 ARJONS DR STE A                              SAN DIEGO           CA           92126                                  SUPPLIERS OR VENDORS      12/20/2018             $725.00
ABRAHM SMITH              STORE 075                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/20/2018              $27.80
ABUNDIA BASKETT           PO BOX 144                                                                   NEZPERCE            ID           83543                                  SUPPLIERS OR VENDORS      11/15/2018              $12.32
ACCENT                    REGENCE RECOVERY REFUND    PO BOX 952366                                     ST LOUIS            MO           63195                                  SUPPLIERS OR VENDORS      10/22/2018             $150.00
ACCENTURE LLP             PO BOX 70629                                                                 CHICAGO             IL           60673-0629                             SUPPLIERS OR VENDORS      10/23/2018          $67,663.00
ACCENTURE LLP             PO BOX 70629                                                                 CHICAGO             IL           60673-0629                             SUPPLIERS OR VENDORS      11/13/2018          $57,144.96
ACCENTURE LLP             PO BOX 70629                                                                 CHICAGO             IL           60673-0629                             SUPPLIERS OR VENDORS      11/30/2018          $67,663.00
ACCENTURE LLP             PO BOX 70629                                                                 CHICAGO             IL           60673-0629                             SUPPLIERS OR VENDORS      12/14/2018           $5,000.00
ACCESSORIES DIRECT INTL
USA INC                   1450 BROADWAY 22ND FLOOR                                                     NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      10/25/2018          $25,184.62



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                                                                                                                                                                                Reasons for payment or    Dates of    Total Amount or
      Creditor Name                 Address1               Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
ACCESSORIES DIRECT INTL
USA INC                   1450 BROADWAY 22ND FLOOR                                                     NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      10/30/2018            $111.00
ACCESSORIES DIRECT INTL
USA INC                   1450 BROADWAY 22ND FLOOR                                                     NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      11/16/2018         $21,710.77
ACCESSORIES DIRECT INTL
USA INC                   1450 BROADWAY 22ND FLOOR                                                     NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      11/22/2018           $2,924.55
ACCESSORY NETWORK
GROUP                     SHOPKO STORES              PO BOX 19060           DISC 02/10/12              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/19/2018         $70,965.48
ACCESSORY NETWORK
GROUP                     SHOPKO STORES              PO BOX 19060           DISC 02/10/12              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/30/2018         $16,604.05
ACCESSORY NETWORK
GROUP                     SHOPKO STORES              PO BOX 19060           DISC 02/10/12              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/2/2018            $324.00
ACCESSORY NETWORK
GROUP                     SHOPKO STORES              PO BOX 19060           DISC 02/10/12              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/5/2018         $19,811.52
ACCESSORY NETWORK
GROUP                     SHOPKO STORES              PO BOX 19060           DISC 02/10/12              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/8/2018         $29,853.48
ACCESSORY NETWORK
GROUP                     SHOPKO STORES              PO BOX 19060           DISC 02/10/12              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/14/2018            $604.80
ACCESSORY NETWORK
GROUP                     SHOPKO STORES              PO BOX 19060           DISC 02/10/12              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/15/2018            $398.22
ACCESSORY NETWORK
GROUP                     SHOPKO STORES              PO BOX 19060           DISC 02/10/12              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/30/2018             $26.24
ACCO USA                  PO BOX 70065                                                                 CHICAGO             IL           60673                                  SUPPLIERS OR VENDORS      10/22/2018         $12,490.35
ACCO USA                  PO BOX 70065                                                                 CHICAGO             IL           60673                                  SUPPLIERS OR VENDORS      10/29/2018         $12,014.00
ACCO USA                  PO BOX 70065                                                                 CHICAGO             IL           60673                                  SUPPLIERS OR VENDORS       11/5/2018         $12,861.19
ACCO USA                  PO BOX 70065                                                                 CHICAGO             IL           60673                                  SUPPLIERS OR VENDORS      11/12/2018         $14,944.47
ACCO USA                  PO BOX 70065                                                                 CHICAGO             IL           60673                                  SUPPLIERS OR VENDORS      11/13/2018            $380.64
ACCO USA                  PO BOX 70065                                                                 CHICAGO             IL           60673                                  SUPPLIERS OR VENDORS      11/22/2018         $14,618.76
ACCO USA                  PO BOX 70065                                                                 CHICAGO             IL           60673                                  SUPPLIERS OR VENDORS      11/26/2018          $5,555.61
ACCO USA                  PO BOX 70065                                                                 CHICAGO             IL           60673                                  SUPPLIERS OR VENDORS      11/30/2018          $1,328.30
ACCO USA                  PO BOX 70065                                                                 CHICAGO             IL           60673                                  SUPPLIERS OR VENDORS       12/3/2018         $18,099.43
ACCUTIME WATCH                                       1001 AVENUE OF THE
CORPORATION               VICE PRESIDENT OF SALES    AMERICAS                                          NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      10/18/2018           $7,186.65
ACCUTIME WATCH                                       1001 AVENUE OF THE
CORPORATION               VICE PRESIDENT OF SALES    AMERICAS                                          NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      10/25/2018           $2,942.90
ACCUTIME WATCH                                       1001 AVENUE OF THE
CORPORATION               VICE PRESIDENT OF SALES    AMERICAS                                          NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS       11/1/2018           $2,234.79
ACCUTIME WATCH                                       1001 AVENUE OF THE
CORPORATION               VICE PRESIDENT OF SALES    AMERICAS                                          NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS       11/8/2018           $1,225.57
ACCUTIME WATCH                                       1001 AVENUE OF THE
CORPORATION               VICE PRESIDENT OF SALES    AMERICAS                                          NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      11/15/2018         $42,050.38
ACCUTIME WATCH                                       1001 AVENUE OF THE
CORPORATION               VICE PRESIDENT OF SALES    AMERICAS                                          NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      11/22/2018           $7,160.70
ACCUTIME WATCH                                       1001 AVENUE OF THE
CORPORATION               VICE PRESIDENT OF SALES    AMERICAS                                          NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      11/29/2018           $1,118.35

ACE EQUIPMENT COMPANY
INCORPORATED          W9112 CHERRY ROAD                                                                ANTIGO              WI           54409                                  SUPPLIERS OR VENDORS      11/29/2018         $47,360.27

ACE EQUIPMENT COMPANY
INCORPORATED          W9112 CHERRY ROAD                                                                ANTIGO              WI           54409                                  SUPPLIERS OR VENDORS      12/17/2018         $15,340.58
ACI WORLDWIDE         13594 COLLECTIONS CENTER
CORPORATION           DRIVE                                                                            CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      10/23/2018         $38,052.00




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                                                                                                                                                                               Reasons for payment or    Dates of    Total Amount or
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ACI WORLDWIDE            13594 COLLECTIONS CENTER
CORPORATION              DRIVE                                                                        CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      10/30/2018         $50,729.61
ACME UNITED
CORPORATION              PO BOX 932607                                                                ATLANTA             GA           31193-2607                             SUPPLIERS OR VENDORS       11/1/2018            $509.96
ACME UNITED
CORPORATION              PO BOX 932607                                                                ATLANTA             GA           31193-2607                             SUPPLIERS OR VENDORS      11/22/2018            $523.56
ACME UNITED
CORPORATION              PO BOX 932607                                                                ATLANTA             GA           31193-2607                             SUPPLIERS OR VENDORS      11/29/2018           $3,495.48
A-COMPLETE JANITORIAL
SUPPLY INC               730 W A STREET                                                               PASCO               WA           99301                                  SUPPLIERS OR VENDORS       11/8/2018             $33.23
ACRYLIC DESIGNERS &
FABRICATORS INC          101 DOUGHTY ROAD W                                                           LADYSMITH           WI           54848                                  SUPPLIERS OR VENDORS      10/18/2018            $449.59
ACRYLIC DESIGNERS &
FABRICATORS INC          101 DOUGHTY ROAD W                                                           LADYSMITH           WI           54848                                  SUPPLIERS OR VENDORS      10/25/2018           $1,817.09
ACRYLIC DESIGNERS &
FABRICATORS INC          101 DOUGHTY ROAD W                                                           LADYSMITH           WI           54848                                  SUPPLIERS OR VENDORS       11/1/2018             $85.00
ACRYLIC DESIGNERS &
FABRICATORS INC          101 DOUGHTY ROAD W                                                           LADYSMITH           WI           54848                                  SUPPLIERS OR VENDORS       11/8/2018            $979.91
ACRYLIC DESIGNERS &
FABRICATORS INC          101 DOUGHTY ROAD W                                                           LADYSMITH           WI           54848                                  SUPPLIERS OR VENDORS      11/15/2018            $205.14
ACRYLIC DESIGNERS &
FABRICATORS INC          101 DOUGHTY ROAD W                                                           LADYSMITH           WI           54848                                  SUPPLIERS OR VENDORS      11/29/2018             $53.81
ACRYLIC DESIGNERS &
FABRICATORS INC          101 DOUGHTY ROAD W                                                           LADYSMITH           WI           54848                                  SUPPLIERS OR VENDORS      12/13/2018           $2,468.92
ACRYLIC DESIGNERS &
FABRICATORS INC          101 DOUGHTY ROAD W                                                           LADYSMITH           WI           54848                                  SUPPLIERS OR VENDORS      12/20/2018            $144.75
ADA COUNTY TREASURERS
OFFICE                   650 MAIN ST                PO BOX 2868                                       BOISE               ID           83701                                  SUPPLIERS OR VENDORS      12/13/2018        $219,177.65
ADA COUNTY TREASURERS
OFFICE                   650 MAIN ST                PO BOX 2868                                       BOISE               ID           83701                                  SUPPLIERS OR VENDORS      12/14/2018         $58,426.63
                         4890 N CLOVERDALE RD APT
ADA FRY                  208                                                                          BOISE               ID           83713                                  SUPPLIERS OR VENDORS       11/2/2018             $21.60
ADAH MAIER               612 2ND ST S APT 14                                                          LUCK                WI           54853                                  SUPPLIERS OR VENDORS      11/26/2018             $44.80
ADAM BARNETT             900 NE WARNER PL #209                                                        BEND                OR           97701                                  SUPPLIERS OR VENDORS      10/31/2018             $15.01
ADAM BRAGG               7009 SOUTH 176 AVENUE                                                        OMAHA               NE           68136                                  SUPPLIERS OR VENDORS       12/7/2018             $23.00
ADAM BUSHCOTT            1116 JANETTE ST                                                              FORT ATKINSON       WI           53538                                  SUPPLIERS OR VENDORS       11/2/2018             $22.50
ADAM CHARLIER            354 HUTH ST                                                                  GREEN BAY           WI           54302                                  SUPPLIERS OR VENDORS      11/15/2018             $20.00
ADAM LYONS               2212 SOUTH 425 WEST                                                          BRIGHAM CITY        UT           84302                                  SUPPLIERS OR VENDORS      10/30/2018             $63.00
ADAM MALMANGER           STORE 628                  SHOPKO EMPLOYEE        1009 7TH AVENUE            TWO HARBORS         MN           55616                                  SUPPLIERS OR VENDORS       11/2/2018            $230.65
ADAM MALMANGER           STORE 628                  SHOPKO EMPLOYEE        1009 7TH AVENUE            TWO HARBORS         MN           55616                                  SUPPLIERS OR VENDORS      12/11/2018            $243.47
ADAM MALMANGER           STORE 628                  SHOPKO EMPLOYEE        1009 7TH AVENUE            TWO HARBORS         MN           55616                                  SUPPLIERS OR VENDORS      12/20/2018             $65.40
ADAM SANGERMANO          STORE 4-178                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/26/2018            $210.37
ADAM SANGERMANO          STORE 4-178                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/2/2018            $141.70
ADAM SANGERMANO          STORE 4-178                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/16/2018            $138.43
ADAM SANGERMANO          STORE 4-178                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/27/2018            $236.53
ADAM SANGERMANO          STORE 4-178                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/30/2018            $138.43
ADAM SANGERMANO          STORE 4-178                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/11/2018            $141.70
ADAM SANGERMANO          STORE 4-178                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/20/2018            $141.70
ADAM STREHLOW            1701 JACKSON ST                                                              NEW HOLSTEIN        WI           53061                                  SUPPLIERS OR VENDORS      12/20/2018             $16.00
ADAMARI MARES            1211 S 9TH ST                                                                WATERTOWN           WI           53094                                  SUPPLIERS OR VENDORS      10/25/2018             $23.00

ADAMSON DISTRIBUTING CO 300 S 10TH STREET                                                             O'NEILL             NE           68763                                  PAYMENT FOR SERVICES       10/1/2018            $628.90

ADAMSON DISTRIBUTING CO 300 S 10TH STREET                                                             O'NEILL             NE           68763                                  PAYMENT FOR SERVICES       10/9/2018            $336.80



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ADAMSON DISTRIBUTING CO 300 S 10TH STREET                                                   O'NEILL             NE           68763                                  PAYMENT FOR SERVICES      10/10/2018             $720.10

ADAMSON DISTRIBUTING CO 300 S 10TH STREET                                                   O'NEILL             NE           68763                                  PAYMENT FOR SERVICES      10/12/2018             $573.30

ADAMSON DISTRIBUTING CO 300 S 10TH STREET                                                   O'NEILL             NE           68763                                  PAYMENT FOR SERVICES      10/15/2018             $208.70

ADAMSON DISTRIBUTING CO 300 S 10TH STREET                                                   O'NEILL             NE           68763                                  PAYMENT FOR SERVICES      10/22/2018             $247.50

ADAMSON DISTRIBUTING CO 300 S 10TH STREET                                                   O'NEILL             NE           68763                                  PAYMENT FOR SERVICES      10/26/2018             $190.80

ADAMSON DISTRIBUTING CO 300 S 10TH STREET                                                   O'NEILL             NE           68763                                  PAYMENT FOR SERVICES      10/29/2018             $264.40

ADAMSON DISTRIBUTING CO 300 S 10TH STREET                                                   O'NEILL             NE           68763                                  PAYMENT FOR SERVICES      10/30/2018            $1,000.50

ADAMSON DISTRIBUTING CO 300 S 10TH STREET                                                   O'NEILL             NE           68763                                  PAYMENT FOR SERVICES       11/5/2018             $417.20

ADAMSON DISTRIBUTING CO 300 S 10TH STREET                                                   O'NEILL             NE           68763                                  PAYMENT FOR SERVICES       11/9/2018             $814.20

ADAMSON DISTRIBUTING CO 300 S 10TH STREET                                                   O'NEILL             NE           68763                                  PAYMENT FOR SERVICES      11/13/2018             $293.75

ADAMSON DISTRIBUTING CO 300 S 10TH STREET                                                   O'NEILL             NE           68763                                  PAYMENT FOR SERVICES      11/14/2018             $628.00

ADAMSON DISTRIBUTING CO 300 S 10TH STREET                                                   O'NEILL             NE           68763                                  PAYMENT FOR SERVICES      11/19/2018            $1,843.90

ADAMSON DISTRIBUTING CO 300 S 10TH STREET                                                   O'NEILL             NE           68763                                  PAYMENT FOR SERVICES      11/23/2018             $216.30

ADAMSON DISTRIBUTING CO 300 S 10TH STREET                                                   O'NEILL             NE           68763                                  PAYMENT FOR SERVICES      11/27/2018            $1,175.80

ADAMSON DISTRIBUTING CO 300 S 10TH STREET                                                   O'NEILL             NE           68763                                  PAYMENT FOR SERVICES       12/3/2018             $117.60

ADAMSON DISTRIBUTING CO 300 S 10TH STREET                                                   O'NEILL             NE           68763                                  PAYMENT FOR SERVICES       12/4/2018             $401.80

ADAMSON DISTRIBUTING CO 300 S 10TH STREET                                                   O'NEILL             NE           68763                                  PAYMENT FOR SERVICES       12/7/2018             $911.00

ADAMSON DISTRIBUTING CO 300 S 10TH STREET                                                   O'NEILL             NE           68763                                  PAYMENT FOR SERVICES      12/10/2018             $241.30

ADAMSON DISTRIBUTING CO 300 S 10TH STREET                                                   O'NEILL             NE           68763                                  PAYMENT FOR SERVICES      12/11/2018             $216.25

ADAMSON DISTRIBUTING CO 300 S 10TH STREET                                                   O'NEILL             NE           68763                                  PAYMENT FOR SERVICES      12/17/2018             $256.90

ADAMSON DISTRIBUTING CO 300 S 10TH STREET                                                   O'NEILL             NE           68763                                  PAYMENT FOR SERVICES      12/18/2018             $429.70

ADAMSON DISTRIBUTING CO 300 S 10TH STREET                                                   O'NEILL             NE           68763                                  PAYMENT FOR SERVICES      12/21/2018             $595.60

ADAMSON DISTRIBUTING CO 300 S 10TH STREET                                                   O'NEILL             NE           68763                                  PAYMENT FOR SERVICES      12/24/2018            $1,262.60

ADAMSON DISTRIBUTING CO 300 S 10TH STREET                                                   O'NEILL             NE           68763                                  PAYMENT FOR SERVICES      12/31/2018            $1,443.95

ADAMSON DISTRIBUTING CO 300 S 10TH STREET                                                   O'NEILL             NE           68763                                  PAYMENT FOR SERVICES         1/2/2019            $741.45

ADAMSON DISTRIBUTING CO 300 S 10TH STREET                                                   O'NEILL             NE           68763                                  PAYMENT FOR SERVICES         1/4/2019            $912.85

ADAMSON DISTRIBUTING CO 300 S 10TH STREET                                                   O'NEILL             NE           68763                                  PAYMENT FOR SERVICES         1/8/2019            $139.50



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                                                                                                                                                                             Reasons for payment or    Dates of    Total Amount or
     Creditor Name                  Address1            Address2                  Address3                    City           State       Zip              Country                   transfer          Payments           Value

ADAMSON DISTRIBUTING CO   300 S 10TH STREET                                                         O'NEILL             NE           68763                                  PAYMENT FOR SERVICES       1/14/2019             $99.60
ADAMSON DISTRIBUTING
COMPANY INC               402 SOUTH 10TH          PO BOX 226             PAM TO ORACLE              O NEILL             NE           68763                                  SUPPLIERS OR VENDORS      10/23/2018            $725.20
ADAMSON DISTRIBUTING
COMPANY INC               402 SOUTH 10TH          PO BOX 226             PAM TO ORACLE              O NEILL             NE           68763                                  SUPPLIERS OR VENDORS      10/26/2018            $407.60
ADAMSON DISTRIBUTING
COMPANY INC               402 SOUTH 10TH          PO BOX 226             PAM TO ORACLE              O NEILL             NE           68763                                  SUPPLIERS OR VENDORS      10/30/2018            $235.06
ADAMSON DISTRIBUTING
COMPANY INC               402 SOUTH 10TH          PO BOX 226             PAM TO ORACLE              O NEILL             NE           68763                                  SUPPLIERS OR VENDORS       11/2/2018            $152.10
ADAMSON DISTRIBUTING
COMPANY INC               402 SOUTH 10TH          PO BOX 226             PAM TO ORACLE              O NEILL             NE           68763                                  SUPPLIERS OR VENDORS       11/6/2018           $1,249.16
ADAMSON DISTRIBUTING
COMPANY INC               402 SOUTH 10TH          PO BOX 226             PAM TO ORACLE              O NEILL             NE           68763                                  SUPPLIERS OR VENDORS       11/9/2018            $377.60
ADAMSON DISTRIBUTING
COMPANY INC               402 SOUTH 10TH          PO BOX 226             PAM TO ORACLE              O NEILL             NE           68763                                  SUPPLIERS OR VENDORS      11/13/2018           $1,230.66
ADAMSON DISTRIBUTING
COMPANY INC               402 SOUTH 10TH          PO BOX 226             PAM TO ORACLE              O NEILL             NE           68763                                  SUPPLIERS OR VENDORS      11/16/2018             $50.60
ADAMSON DISTRIBUTING
COMPANY INC               402 SOUTH 10TH          PO BOX 226             PAM TO ORACLE              O NEILL             NE           68763                                  SUPPLIERS OR VENDORS      11/23/2018            $399.00
ADAMSON DISTRIBUTING
COMPANY INC               402 SOUTH 10TH          PO BOX 226             PAM TO ORACLE              O NEILL             NE           68763                                  SUPPLIERS OR VENDORS      11/27/2018            $561.06
ADAMSON DISTRIBUTING
COMPANY INC               402 SOUTH 10TH          PO BOX 226             PAM TO ORACLE              O NEILL             NE           68763                                  SUPPLIERS OR VENDORS       12/4/2018            $154.90
ADAMSON DISTRIBUTING
COMPANY INC               402 SOUTH 10TH          PO BOX 226             PAM TO ORACLE              O NEILL             NE           68763                                  SUPPLIERS OR VENDORS      12/11/2018            $334.40
ADAMSON DISTRIBUTING
COMPANY INC               402 SOUTH 10TH          PO BOX 226             PAM TO ORACLE              O NEILL             NE           68763                                  SUPPLIERS OR VENDORS      12/20/2018            $566.90
ADAMSON DISTRIBUTING
COMPANY INC               402 SOUTH 10TH          PO BOX 226             PAM TO ORACLE              O NEILL             NE           68763                                  SUPPLIERS OR VENDORS      12/27/2018            $857.66
ADDISON SWEDBERG          W2208 REACH ST                                                            KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS       11/2/2018             $34.00
ADECCO EMPLOYMENT
SERVICES                  DEPARTMENT CH 14091                                                       PALATINE            IL           60055-4091                             SUPPLIERS OR VENDORS      11/15/2018            $212.15
ADECCO EMPLOYMENT
SERVICES                  DEPARTMENT CH 14091                                                       PALATINE            IL           60055-4091                             SUPPLIERS OR VENDORS      11/27/2018           $1,339.76
ADECCO EMPLOYMENT
SERVICES                  DEPARTMENT CH 14091                                                       PALATINE            IL           60055-4091                             SUPPLIERS OR VENDORS      11/29/2018           $1,746.29
ADECCO EMPLOYMENT
SERVICES                  DEPARTMENT CH 14091                                                       PALATINE            IL           60055-4091                             SUPPLIERS OR VENDORS       12/6/2018           $2,814.28
ADEN & ANAIS
INCORPORATED              20 JAY STREET STE 600                                                     BROOKLYN            NY           11201                                  SUPPLIERS OR VENDORS      10/18/2018           $2,693.41
ADEN & ANAIS
INCORPORATED              20 JAY STREET STE 600                                                     BROOKLYN            NY           11201                                  SUPPLIERS OR VENDORS      11/15/2018         $12,501.06
ADEN & ANAIS
INCORPORATED              20 JAY STREET STE 600                                                     BROOKLYN            NY           11201                                  SUPPLIERS OR VENDORS      11/22/2018            $900.00
ADEN & ANAIS
INCORPORATED              20 JAY STREET STE 600                                                     BROOKLYN            NY           11201                                  SUPPLIERS OR VENDORS      11/29/2018           $1,494.00
ADIDAS AMERICA
INCORPORATED              PO BOX 100384                                                             ATLANTA             GA           30384                                  SUPPLIERS OR VENDORS      10/19/2018           $7,400.50
ADIDAS AMERICA
INCORPORATED              PO BOX 100384                                                             ATLANTA             GA           30384                                  SUPPLIERS OR VENDORS      10/23/2018           $3,596.00
ADIDAS AMERICA
INCORPORATED              PO BOX 100384                                                             ATLANTA             GA           30384                                  SUPPLIERS OR VENDORS      10/26/2018         $22,749.70




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      Creditor Name            Address1         Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
ADIDAS AMERICA
INCORPORATED          PO BOX 100384                                                         ATLANTA             GA           30384                                  SUPPLIERS OR VENDORS      10/27/2018         $33,606.98
ADIDAS AMERICA
INCORPORATED          PO BOX 100384                                                         ATLANTA             GA           30384                                  SUPPLIERS OR VENDORS      10/30/2018         $64,175.68
ADIDAS AMERICA
INCORPORATED          PO BOX 100384                                                         ATLANTA             GA           30384                                  SUPPLIERS OR VENDORS      10/31/2018           $2,437.45
ADIDAS AMERICA
INCORPORATED          PO BOX 100384                                                         ATLANTA             GA           30384                                  SUPPLIERS OR VENDORS       11/1/2018         $20,258.10
ADIDAS AMERICA
INCORPORATED          PO BOX 100384                                                         ATLANTA             GA           30384                                  SUPPLIERS OR VENDORS       11/3/2018         $46,045.21
ADIDAS AMERICA
INCORPORATED          PO BOX 100384                                                         ATLANTA             GA           30384                                  SUPPLIERS OR VENDORS       11/6/2018         $10,891.00
ADIDAS AMERICA
INCORPORATED          PO BOX 100384                                                         ATLANTA             GA           30384                                  SUPPLIERS OR VENDORS       11/8/2018        $432,184.63
ADIDAS AMERICA
INCORPORATED          PO BOX 100384                                                         ATLANTA             GA           30384                                  SUPPLIERS OR VENDORS      11/10/2018           $3,544.20
ADIDAS AMERICA
INCORPORATED          PO BOX 100384                                                         ATLANTA             GA           30384                                  SUPPLIERS OR VENDORS      11/24/2018         $60,356.95
ADIDAS AMERICA
INCORPORATED          PO BOX 100384                                                         ATLANTA             GA           30384                                  SUPPLIERS OR VENDORS      11/27/2018           $8,114.10
ADIDAS AMERICA
INCORPORATED          PO BOX 100384                                                         ATLANTA             GA           30384                                  SUPPLIERS OR VENDORS      11/29/2018           $9,951.18
ADIDAS AMERICA
INCORPORATED          PO BOX 100384                                                         ATLANTA             GA           30384                                  SUPPLIERS OR VENDORS      11/30/2018         $11,472.02
ADIDAS AMERICA
INCORPORATED          PO BOX 100384                                                         ATLANTA             GA           30384                                  SUPPLIERS OR VENDORS       12/1/2018         $32,483.51
ADIDAS AMERICA
INCORPORATED          PO BOX 100384                                                         ATLANTA             GA           30384                                  SUPPLIERS OR VENDORS       12/4/2018         $29,001.89
ADIDAS AMERICA
INCORPORATED          PO BOX 100384                                                         ATLANTA             GA           30384                                  SUPPLIERS OR VENDORS      12/13/2018         $94,538.19
ADIDAS AMERICA
INCORPORATED          PO BOX 100384                                                         ATLANTA             GA           30384                                  SUPPLIERS OR VENDORS      12/19/2018         $26,472.57
ADIDAS AMERICA
INCORPORATED          PO BOX 100384                                                         ATLANTA             GA           30384                                  SUPPLIERS OR VENDORS      12/20/2018            $440.76
ADIDAS AMERICA
INCORPORATED          PO BOX 100384                                                         ATLANTA             GA           30384                                  SUPPLIERS OR VENDORS      12/22/2018        $135,675.07
ADIDAS AMERICA
INCORPORATED          PO BOX 100384                                                         ATLANTA             GA           30384                                  SUPPLIERS OR VENDORS      12/28/2018         $42,364.89
ADMIRAL BEVERAGE
CORPORATION           PO BOX 726          PAM TO ORACLE                                     WORLAND             WY           82401                                  SUPPLIERS OR VENDORS      10/18/2018            $985.10
ADMIRAL BEVERAGE
CORPORATION           PO BOX 726          PAM TO ORACLE                                     WORLAND             WY           82401                                  SUPPLIERS OR VENDORS      10/19/2018           $2,608.18
ADMIRAL BEVERAGE
CORPORATION           PO BOX 726          PAM TO ORACLE                                     WORLAND             WY           82401                                  SUPPLIERS OR VENDORS      10/22/2018            $735.18
ADMIRAL BEVERAGE
CORPORATION           PO BOX 726          PAM TO ORACLE                                     WORLAND             WY           82401                                  SUPPLIERS OR VENDORS      10/23/2018            $196.75
ADMIRAL BEVERAGE
CORPORATION           PO BOX 726          PAM TO ORACLE                                     WORLAND             WY           82401                                  SUPPLIERS OR VENDORS      10/23/2018           $5,056.35
ADMIRAL BEVERAGE
CORPORATION           PO BOX 726          PAM TO ORACLE                                     WORLAND             WY           82401                                  SUPPLIERS OR VENDORS      10/25/2018            $268.51
ADMIRAL BEVERAGE
CORPORATION           PO BOX 726          PAM TO ORACLE                                     WORLAND             WY           82401                                  SUPPLIERS OR VENDORS      10/26/2018            $150.04
ADMIRAL BEVERAGE
CORPORATION           PO BOX 726          PAM TO ORACLE                                     WORLAND             WY           82401                                  SUPPLIERS OR VENDORS      10/26/2018           $7,239.75



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                                                                                                                                                                    Reasons for payment or    Dates of    Total Amount or
     Creditor Name            Address1         Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
ADMIRAL BEVERAGE
CORPORATION          PO BOX 726          PAM TO ORACLE                                     WORLAND             WY           82401                                  SUPPLIERS OR VENDORS      10/29/2018            $384.05
ADMIRAL BEVERAGE
CORPORATION          PO BOX 726          PAM TO ORACLE                                     WORLAND             WY           82401                                  SUPPLIERS OR VENDORS      10/30/2018           $6,365.25
ADMIRAL BEVERAGE
CORPORATION          PO BOX 726          PAM TO ORACLE                                     WORLAND             WY           82401                                  SUPPLIERS OR VENDORS       11/1/2018            $481.22
ADMIRAL BEVERAGE
CORPORATION          PO BOX 726          PAM TO ORACLE                                     WORLAND             WY           82401                                  SUPPLIERS OR VENDORS       11/2/2018           $4,501.33
ADMIRAL BEVERAGE
CORPORATION          PO BOX 726          PAM TO ORACLE                                     WORLAND             WY           82401                                  SUPPLIERS OR VENDORS       11/5/2018            $984.94
ADMIRAL BEVERAGE
CORPORATION          PO BOX 726          PAM TO ORACLE                                     WORLAND             WY           82401                                  SUPPLIERS OR VENDORS       11/6/2018           $4,437.31
ADMIRAL BEVERAGE
CORPORATION          PO BOX 726          PAM TO ORACLE                                     WORLAND             WY           82401                                  SUPPLIERS OR VENDORS       11/8/2018            $288.10
ADMIRAL BEVERAGE
CORPORATION          PO BOX 726          PAM TO ORACLE                                     WORLAND             WY           82401                                  SUPPLIERS OR VENDORS       11/9/2018           $3,696.99
ADMIRAL BEVERAGE
CORPORATION          PO BOX 726          PAM TO ORACLE                                     WORLAND             WY           82401                                  SUPPLIERS OR VENDORS      11/12/2018            $514.33
ADMIRAL BEVERAGE
CORPORATION          PO BOX 726          PAM TO ORACLE                                     WORLAND             WY           82401                                  SUPPLIERS OR VENDORS      11/13/2018           $3,405.81
ADMIRAL BEVERAGE
CORPORATION          PO BOX 726          PAM TO ORACLE                                     WORLAND             WY           82401                                  SUPPLIERS OR VENDORS      11/15/2018            $599.50
ADMIRAL BEVERAGE
CORPORATION          PO BOX 726          PAM TO ORACLE                                     WORLAND             WY           82401                                  SUPPLIERS OR VENDORS      11/16/2018           $2,489.62
ADMIRAL BEVERAGE
CORPORATION          PO BOX 726          PAM TO ORACLE                                     WORLAND             WY           82401                                  SUPPLIERS OR VENDORS      11/22/2018           $1,712.28
ADMIRAL BEVERAGE
CORPORATION          PO BOX 726          PAM TO ORACLE                                     WORLAND             WY           82401                                  SUPPLIERS OR VENDORS      11/23/2018         $12,778.44
ADMIRAL BEVERAGE
CORPORATION          PO BOX 726          PAM TO ORACLE                                     WORLAND             WY           82401                                  SUPPLIERS OR VENDORS      11/27/2018           $6,600.66
ADMIRAL BEVERAGE
CORPORATION          PO BOX 726          PAM TO ORACLE                                     WORLAND             WY           82401                                  SUPPLIERS OR VENDORS      11/28/2018            $848.66
ADMIRAL BEVERAGE
CORPORATION          PO BOX 726          PAM TO ORACLE                                     WORLAND             WY           82401                                  SUPPLIERS OR VENDORS      11/29/2018            $822.39
ADMIRAL BEVERAGE
CORPORATION          PO BOX 726          PAM TO ORACLE                                     WORLAND             WY           82401                                  SUPPLIERS OR VENDORS      11/30/2018            $442.95
ADMIRAL BEVERAGE
CORPORATION          PO BOX 726          PAM TO ORACLE                                     WORLAND             WY           82401                                  SUPPLIERS OR VENDORS      11/30/2018         $12,183.75
ADMIRAL BEVERAGE
CORPORATION          PO BOX 726          PAM TO ORACLE                                     WORLAND             WY           82401                                  SUPPLIERS OR VENDORS       12/3/2018            $916.22
ADMIRAL BEVERAGE
CORPORATION          PO BOX 726          PAM TO ORACLE                                     WORLAND             WY           82401                                  SUPPLIERS OR VENDORS       12/4/2018            $324.80
ADMIRAL BEVERAGE
CORPORATION          PO BOX 726          PAM TO ORACLE                                     WORLAND             WY           82401                                  SUPPLIERS OR VENDORS       12/4/2018           $4,171.25
ADMIRAL BEVERAGE
CORPORATION          PO BOX 726          PAM TO ORACLE                                     WORLAND             WY           82401                                  SUPPLIERS OR VENDORS      12/14/2018            $472.31
ADMIRAL BEVERAGE
CORPORATION          PO BOX 726          PAM TO ORACLE                                     WORLAND             WY           82401                                  SUPPLIERS OR VENDORS      12/19/2018           $1,110.82
ADMIRAL BEVERAGE
CORPORATION          PO BOX 726          PAM TO ORACLE                                     WORLAND             WY           82401                                  SUPPLIERS OR VENDORS      12/19/2018           $1,332.19
ADMIRAL BEVERAGE
CORPORATION          PO BOX 726          PAM TO ORACLE                                     WORLAND             WY           82401                                  SUPPLIERS OR VENDORS      12/19/2018         $28,589.08
ADMIRAL BEVERAGE
CORPORATION          PO BOX 726          PAM TO ORACLE                                     WORLAND             WY           82401                                  SUPPLIERS OR VENDORS      12/20/2018            $224.49



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     Creditor Name             Address1                  Address2                  Address3                 City              State       Zip              Country                   transfer          Payments            Value
ADMIRAL BEVERAGE
CORPORATION          PO BOX 726                    PAM TO ORACLE                                     WORLAND             WY           82401                                  SUPPLIERS OR VENDORS      12/20/2018            $3,300.89
ADMIRAL BEVERAGE
CORPORATION          PO BOX 726                    PAM TO ORACLE                                     WORLAND             WY           82401                                  SUPPLIERS OR VENDORS      12/21/2018              $69.80
ADMIRAL BEVERAGE
CORPORATION          PO BOX 726                    PAM TO ORACLE                                     WORLAND             WY           82401                                  SUPPLIERS OR VENDORS      12/21/2018             $224.28
ADMIRAL BEVERAGE
CORPORATION          PO BOX 726                    PAM TO ORACLE                                     WORLAND             WY           82401                                  SUPPLIERS OR VENDORS      12/21/2018            $1,176.50
ADMIRAL BEVERAGE
CORPORATION          PO BOX 726                    PAM TO ORACLE                                     WORLAND             WY           82401                                  SUPPLIERS OR VENDORS      12/27/2018            $6,662.09
                                                                                                                         TX           79912
ADP CLIENT TRUST     1851 N. RESLER DRIVE MS-100                                                     EL PASO                                                                 PAYROLL FUNDING           10/10/2018        $8,988,908.54
                                                                                                                         TX           79912
ADP CLIENT TRUST     1851 N. RESLER DRIVE MS-100                                                     EL PASO                                                                 PAYROLL FUNDING           10/11/2018          $20,645.54
                                                                                                                         TX           79912
ADP CLIENT TRUST     1851 N. RESLER DRIVE MS-100                                                     EL PASO                                                                 PAYROLL FUNDING           10/11/2018          $64,991.87
                                                                                                                         TX           79912
ADP CLIENT TRUST     1851 N. RESLER DRIVE MS-100                                                     EL PASO                                                                 PAYROLL FUNDING           10/11/2018        $3,332,025.85
                                                                                                                         TX           79912
ADP CLIENT TRUST     1851 N. RESLER DRIVE MS-100                                                     EL PASO                                                                 PAYROLL FUNDING           10/24/2018        $8,982,698.43
                                                                                                                         TX           79912
ADP CLIENT TRUST     1851 N. RESLER DRIVE MS-100                                                     EL PASO                                                                 PAYROLL FUNDING           10/25/2018          $64,735.80
                                                                                                                         TX           79912
ADP CLIENT TRUST     1851 N. RESLER DRIVE MS-100                                                     EL PASO                                                                 PAYROLL FUNDING           10/26/2018          $26,681.81
                                                                                                                         TX           79912
ADP CLIENT TRUST     1851 N. RESLER DRIVE MS-100                                                     EL PASO                                                                 PAYROLL FUNDING           10/26/2018         $177,984.70
                                                                                                                         TX           79912
ADP CLIENT TRUST     1851 N. RESLER DRIVE MS-100                                                     EL PASO                                                                 PAYROLL FUNDING           10/26/2018        $3,141,805.85
                                                                                                                         TX           79912
ADP CLIENT TRUST     1851 N. RESLER DRIVE MS-100                                                     EL PASO                                                                 PAYROLL FUNDING            11/7/2018        $9,524,503.43
                                                                                                                         TX           79912
ADP CLIENT TRUST     1851 N. RESLER DRIVE MS-100                                                     EL PASO                                                                 PAYROLL FUNDING            11/8/2018          $65,163.12
                                                                                                                         TX           79912
ADP CLIENT TRUST     1851 N. RESLER DRIVE MS-100                                                     EL PASO                                                                 PAYROLL FUNDING            11/8/2018        $3,906,289.44
                                                                                                                         TX           79912
ADP CLIENT TRUST     1851 N. RESLER DRIVE MS-100                                                     EL PASO                                                                 PAYROLL FUNDING           11/21/2018          $64,194.98
                                                                                                                         TX           79912
ADP CLIENT TRUST     1851 N. RESLER DRIVE MS-100                                                     EL PASO                                                                 PAYROLL FUNDING           11/21/2018        $3,614,093.27
                                                                                                                         TX           79912
ADP CLIENT TRUST     1851 N. RESLER DRIVE MS-100                                                     EL PASO                                                                 PAYROLL FUNDING           11/21/2018        $9,580,000.00
                                                                                                                         TX           79912
ADP CLIENT TRUST     1851 N. RESLER DRIVE MS-100                                                     EL PASO                                                                 PAYROLL FUNDING            12/5/2018        $9,964,634.71
                                                                                                                         TX           79912
ADP CLIENT TRUST     1851 N. RESLER DRIVE MS-100                                                     EL PASO                                                                 PAYROLL FUNDING            12/6/2018          $70,599.31
                                                                                                                         TX           79912
ADP CLIENT TRUST     1851 N. RESLER DRIVE MS-100                                                     EL PASO                                                                 PAYROLL FUNDING            12/6/2018        $4,351,417.55
                                                                                                                         TX           79912
ADP CLIENT TRUST     1851 N. RESLER DRIVE MS-100                                                     EL PASO                                                                 PAYROLL FUNDING           12/19/2018      $12,183,704.46
                                                                                                                         TX           79912
ADP CLIENT TRUST     1851 N. RESLER DRIVE MS-100                                                     EL PASO                                                                 PAYROLL FUNDING           12/20/2018          $69,476.67
                                                                                                                         TX           79912
ADP CLIENT TRUST     1851 N. RESLER DRIVE MS-100                                                     EL PASO                                                                 PAYROLL FUNDING           12/20/2018        $4,759,539.88

ADP CLIENT TRUST     800 DELAWARE AVE, SUITE 602                                                     WILMINGTON          DE           19801                                  PAYROLL                      1/2/2019       $9,259,180.16



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                                                                                                                                                                            Reasons for payment or    Dates of     Total Amount or
      Creditor Name             Address1               Address2                  Address3                 City              State       Zip              Country                   transfer          Payments            Value
                                                                                                                       TX           79912
ADP CLIENT TRUST      1851 N. RESLER DRIVE MS-100                                                  EL PASO                                                                 PAYROLL FUNDING              1/2/2019       $9,259,180.16

ADP CLIENT TRUST      800 DELAWARE AVE, SUITE 602                                                  WILMINGTON          DE           19801                                  PAYROLL                      1/3/2019         $67,156.60
                                                                                                                       TX           79912
ADP CLIENT TRUST      1851 N. RESLER DRIVE MS-100                                                  EL PASO                                                                 PAYROLL FUNDING              1/3/2019         $67,156.60

ADP CLIENT TRUST      800 DELAWARE AVE, SUITE 602                                                  WILMINGTON          DE           19801                                  PAYROLL                      1/3/2019       $3,634,381.85
                                                                                                                       TX           79912
ADP CLIENT TRUST      1851 N. RESLER DRIVE MS-100                                                  EL PASO                                                                 PAYROLL FUNDING              1/3/2019       $3,634,381.85

ADP CLIENT TRUST      800 DELAWARE AVE, SUITE 602                                                  WILMINGTON          DE           19801                                  PAYROLL                      1/4/2019         $21,705.87
                                                                                                                       TX           79912
ADP CLIENT TRUST      1851 N. RESLER DRIVE MS-100                                                  EL PASO                                                                 PAYROLL FUNDING              1/4/2019         $21,705.87

ADP CLIENT TRUST      800 DELAWARE AVE, SUITE 602                                                  WILMINGTON          DE           19801                                  PAYROLL                      1/9/2019        $788,090.48
                                                                                                                       TX           79912
ADP CLIENT TRUST      1851 N. RESLER DRIVE MS-100                                                  EL PASO                                                                 PAYROLL FUNDING              1/9/2019        $788,090.48

ADP CLIENT TRUST      800 DELAWARE AVE, SUITE 602                                                  WILMINGTON          DE           19801                                  PAYROLL                    1/10/2019             $905.77
                                                                                                                       TX           79912
ADP CLIENT TRUST      1851 N. RESLER DRIVE MS-100                                                  EL PASO                                                                 PAYROLL FUNDING            1/10/2019             $905.77

ADP CLIENT TRUST      800 DELAWARE AVE, SUITE 602                                                  WILMINGTON          DE           19801                                  PAYROLL                    1/10/2019         $585,287.60
                                                                                                                       TX           79912
ADP CLIENT TRUST      1851 N. RESLER DRIVE MS-100                                                  EL PASO                                                                 PAYROLL FUNDING            1/10/2019         $585,287.60
                                                                                                                       TX           79912
ADP CLIENT TRUST      1851 N. RESLER DRIVE MS-100                                                  EL PASO                                                                 PAYROLL FUNDING            1/14/2019      $12,635,443.58
                                                                                                                       TX           79912
ADP CLIENT TRUST      1851 N. RESLER DRIVE MS-100                                                  EL PASO                                                                 PAYROLL FUNDING            1/30/2019        $8,136,685.35
                                                                                                                       TX           79912
ADP CLIENT TRUST      1851 N. RESLER DRIVE MS-100                                                  EL PASO                                                                 PAYROLL FUNDING            1/31/2019          $63,507.68
                                                                                                                       TX           79912
ADP CLIENT TRUST      1851 N. RESLER DRIVE MS-100                                                  EL PASO                                                                 PAYROLL FUNDING            1/31/2019        $3,214,165.19
ADP INCORPORATED      PO BOX 842875                                                                BOSTON              MA           02284-2875                             SUPPLIERS OR VENDORS      10/18/2018                $3.24
ADP INCORPORATED      PO BOX 842875                                                                BOSTON              MA           02284-2875                             SUPPLIERS OR VENDORS      10/25/2018           $31,542.15
ADP INCORPORATED      PO BOX 842875                                                                BOSTON              MA           02284-2875                             SUPPLIERS OR VENDORS       11/1/2018            $4,104.62
ADP INCORPORATED      PO BOX 842875                                                                BOSTON              MA           02284-2875                             SUPPLIERS OR VENDORS       11/8/2018              $900.00
ADP INCORPORATED      PO BOX 842875                                                                BOSTON              MA           02284-2875                             SUPPLIERS OR VENDORS      11/29/2018           $52,920.80
ADP INCORPORATED      PO BOX 842875                                                                BOSTON              MA           02284-2875                             SUPPLIERS OR VENDORS      12/17/2018           $64,532.99
ADP PAYROLL DEPOSIT
CUSTODIAL ACCT        ADP LLC 400 COVINA BLVD                                                      SAN DIEGO           CA           91773                                  PAYROLL                   11/20/2018        $9,542,502.88
ADP PAYROLL DEPOSIT
CUSTODIAL ACCT        ADP LLC 400 COVINA BLVD                                                      SAN DIEGO           CA           91773                                  PAYROLL                    1/14/2019      $12,635,443.58
ADRENALATION INC      PO BOX 48099                                                                 PHILADELPHIA        PA           19144                                  SUPPLIERS OR VENDORS      10/18/2018             $333.74
ADRENALATION INC      PO BOX 48099                                                                 PHILADELPHIA        PA           19144                                  SUPPLIERS OR VENDORS      10/25/2018             $121.36
ADRENALATION INC      PO BOX 48099                                                                 PHILADELPHIA        PA           19144                                  SUPPLIERS OR VENDORS      11/22/2018             $364.08
ADRENALATION INC      PO BOX 48099                                                                 PHILADELPHIA        PA           19144                                  SUPPLIERS OR VENDORS      11/29/2018             $242.72
ADRENALATION INC      PO BOX 48099                                                                 PHILADELPHIA        PA           19144                                  SUPPLIERS OR VENDORS      12/17/2018             $121.36
ADRIAN WEILER         19 ESTATE DRIVE                                                              BOWMAN              ND           58623                                  SUPPLIERS OR VENDORS       12/3/2018             $120.00
ADRIANNA JAROSZ       877 JENNIFER LANE                                                            SOBIESKI            WI           54171                                  SUPPLIERS OR VENDORS      12/10/2018              $12.80
ADRIANNA VANG         1768 BOLAND ROAD                                                             GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS       11/7/2018              $30.00
ADRIENNE BADER        530 W 1ST ST                                                                 SIOUX FALLS         SD           57104                                  SUPPLIERS OR VENDORS       11/9/2018              $80.00




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                                                                                                                                                                                   Reasons for payment or    Dates of    Total Amount or
     Creditor Name                 Address1                   Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value

ADTN INTERNATIONAL LTD   95 GINCE STREET                                                                  ST LAURANT          QC           H4N 1J7      CANADA                    SUPPLIERS OR VENDORS      11/12/2018           $3,300.56
ADVANCED PROJECT
SOLUTIONS LLP            RICHARD PYPER                  4501 FEMRITE DRIVE                                MADISON             WI           53716-0000                             SUPPLIERS OR VENDORS      10/19/2018            $305.73
ADVANCED PROJECT
SOLUTIONS LLP            RICHARD PYPER                  4501 FEMRITE DRIVE                                MADISON             WI           53716-0000                             SUPPLIERS OR VENDORS      10/23/2018            $146.14
ADVANCED PROJECT
SOLUTIONS LLP            RICHARD PYPER                  4501 FEMRITE DRIVE                                MADISON             WI           53716-0000                             SUPPLIERS OR VENDORS      10/26/2018            $735.54
ADVANCED PROJECT
SOLUTIONS LLP            RICHARD PYPER                  4501 FEMRITE DRIVE                                MADISON             WI           53716-0000                             SUPPLIERS OR VENDORS      10/30/2018            $835.94
ADVANCED PROJECT
SOLUTIONS LLP            RICHARD PYPER                  4501 FEMRITE DRIVE                                MADISON             WI           53716-0000                             SUPPLIERS OR VENDORS       11/2/2018            $381.23
ADVANCED PROJECT
SOLUTIONS LLP            RICHARD PYPER                  4501 FEMRITE DRIVE                                MADISON             WI           53716-0000                             SUPPLIERS OR VENDORS       11/9/2018            $254.75
ADVANCED PROJECT
SOLUTIONS LLP            RICHARD PYPER                  4501 FEMRITE DRIVE                                MADISON             WI           53716-0000                             SUPPLIERS OR VENDORS      11/13/2018            $230.04
ADVANCED PROJECT
SOLUTIONS LLP            RICHARD PYPER                  4501 FEMRITE DRIVE                                MADISON             WI           53716-0000                             SUPPLIERS OR VENDORS      11/16/2018            $642.48
ADVANCED PROJECT
SOLUTIONS LLP            RICHARD PYPER                  4501 FEMRITE DRIVE                                MADISON             WI           53716-0000                             SUPPLIERS OR VENDORS      11/27/2018            $827.97
ADVANCED PROJECT
SOLUTIONS LLP            RICHARD PYPER                  4501 FEMRITE DRIVE                                MADISON             WI           53716-0000                             SUPPLIERS OR VENDORS      11/30/2018            $140.00
ADVANCED PROJECT
SOLUTIONS LLP            RICHARD PYPER                  4501 FEMRITE DRIVE                                MADISON             WI           53716-0000                             SUPPLIERS OR VENDORS       12/7/2018           $1,206.12
ADVANCED SERVICE
TECHNOLOGIES LLC         885 MOUND ROAD                                                                   MIAMISBURG          OH           45342                                  SUPPLIERS OR VENDORS      11/13/2018         $49,124.97
ADVANCED SERVICE
TECHNOLOGIES LLC         885 MOUND ROAD                                                                   MIAMISBURG          OH           45342                                  SUPPLIERS OR VENDORS       12/5/2018           $5,324.07
ADVANCED VISION
RESEARCH                 3950 PAYSPHERE CIRCLE                                                            CHICAGO             IL           60674                                  SUPPLIERS OR VENDORS      10/18/2018           $4,603.10
ADVANCED VISION
RESEARCH                 3950 PAYSPHERE CIRCLE                                                            CHICAGO             IL           60674                                  SUPPLIERS OR VENDORS      10/25/2018            $996.30
ADVANCED VISION
RESEARCH                 3950 PAYSPHERE CIRCLE                                                            CHICAGO             IL           60674                                  SUPPLIERS OR VENDORS       11/1/2018            $951.82
ADVANCED VISION
RESEARCH                 3950 PAYSPHERE CIRCLE                                                            CHICAGO             IL           60674                                  SUPPLIERS OR VENDORS       11/8/2018            $632.11
ADVANCED VISION
RESEARCH                 3950 PAYSPHERE CIRCLE                                                            CHICAGO             IL           60674                                  SUPPLIERS OR VENDORS      11/15/2018           $1,764.83
ADVANCED VISION
RESEARCH                 3950 PAYSPHERE CIRCLE                                                            CHICAGO             IL           60674                                  SUPPLIERS OR VENDORS      11/22/2018            $848.25
ADVANCED VISION
RESEARCH                 3950 PAYSPHERE CIRCLE                                                            CHICAGO             IL           60674                                  SUPPLIERS OR VENDORS      11/29/2018               $8.25

ADVANTUS CORPORATION     75 REMITTANCE DRIVE STE 3142                                                     CHICAGO             IL           60675-3142                             SUPPLIERS OR VENDORS      10/25/2018           $1,171.44

ADVANTUS CORPORATION     75 REMITTANCE DRIVE STE 3142                                                     CHICAGO             IL           60675-3142                             SUPPLIERS OR VENDORS       11/8/2018           $1,705.56

ADVANTUS CORPORATION     75 REMITTANCE DRIVE STE 3142                                                     CHICAGO             IL           60675-3142                             SUPPLIERS OR VENDORS      11/15/2018            $337.36
ADVERTISER COMMUNITY
NEWS LLC                 PO BOX 100                                                                       SEYMOUR             WI           54165                                  SUPPLIERS OR VENDORS      10/18/2018             $25.00
                                                                               10996 N PORT
AERIANA WHITE-MONOHAN STORE 4-216                       SHOPKO EMPLOYEE        WASHINGTON RD              MEQUON              WI           53092-5031                             SUPPLIERS OR VENDORS      11/15/2018             $45.78
AES MECHANICAL SERVICE
GROUP I                PO BOX 780115                                                                      TALLASSEE           AL           36078                                  SUPPLIERS OR VENDORS       12/6/2018               $1.00



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AES MECHANICAL SERVICE
GROUP INCORPORATE        PO BOX 780115                                                                   TALLASSEE           AL           36078                                  SUPPLIERS OR VENDORS      10/26/2018          $13,182.75

AETNA FELT CORPORATION   2401 W EMAUS AVENUE                                                             ALLENTOWN           PA           18103                                  SUPPLIERS OR VENDORS      10/24/2018            $1,999.98

AETNA FELT CORPORATION   2401 W EMAUS AVENUE                                                             ALLENTOWN           PA           18103                                  SUPPLIERS OR VENDORS      10/25/2018             $503.78

AETNA FELT CORPORATION   2401 W EMAUS AVENUE                                                             ALLENTOWN           PA           18103                                  SUPPLIERS OR VENDORS       11/2/2018            $1,467.22

AETNA FELT CORPORATION   2401 W EMAUS AVENUE                                                             ALLENTOWN           PA           18103                                  SUPPLIERS OR VENDORS       11/5/2018             $659.06

AETNA FELT CORPORATION   2401 W EMAUS AVENUE                                                             ALLENTOWN           PA           18103                                  SUPPLIERS OR VENDORS       11/7/2018             $661.59

AETNA FELT CORPORATION   2401 W EMAUS AVENUE                                                             ALLENTOWN           PA           18103                                  SUPPLIERS OR VENDORS       11/8/2018             $616.34

AETNA FELT CORPORATION   2401 W EMAUS AVENUE                                                             ALLENTOWN           PA           18103                                  SUPPLIERS OR VENDORS      11/12/2018            $1,313.11

AETNA FELT CORPORATION   2401 W EMAUS AVENUE                                                             ALLENTOWN           PA           18103                                  SUPPLIERS OR VENDORS      11/22/2018             $159.51

AETNA FELT CORPORATION   2401 W EMAUS AVENUE                                                             ALLENTOWN           PA           18103                                  SUPPLIERS OR VENDORS      11/26/2018            $1,264.80

AETNA FELT CORPORATION   2401 W EMAUS AVENUE                                                             ALLENTOWN           PA           18103                                  SUPPLIERS OR VENDORS      11/28/2018            $1,136.30

AETNA FELT CORPORATION   2401 W EMAUS AVENUE                                                             ALLENTOWN           PA           18103                                  SUPPLIERS OR VENDORS       12/3/2018             $938.77

AETNA FELT CORPORATION   2401 W EMAUS AVENUE                                                             ALLENTOWN           PA           18103                                  SUPPLIERS OR VENDORS       12/5/2018             $515.27

AFCO CREDIT CORP         310 GRANT STREET SUITE 1600                                                     PITTSBURGH          PA           15219                                  INSURANCE FINANCING       10/31/2018         $146,139.37

AFS LLC                  ATTN ACCOUNTS RECEIVABLE      PO BOX 18410                                      SHREVEPORT          LA           71138-1410                             SUPPLIERS OR VENDORS       11/1/2018             $695.35

AFS LLC                  ATTN ACCOUNTS RECEIVABLE      PO BOX 18410                                      SHREVEPORT          LA           71138-1410                             SUPPLIERS OR VENDORS      11/29/2018             $420.48

AFS LLC                  ATTN ACCOUNTS RECEIVABLE      PO BOX 18410                                      SHREVEPORT          LA           71138-1410                             SUPPLIERS OR VENDORS         1/3/2019           $1,414.96

AFTERSORT INCORPORATED 4700 DARR HILL ROAD                                                               JONESBORO           AR           72404                                  SUPPLIERS OR VENDORS       11/6/2018            $5,352.00

AFTERSORT INCORPORATED   4700 DARR HILL ROAD                                                             JONESBORO           AR           72404                                  SUPPLIERS OR VENDORS       12/4/2018           $5,352.00
AFW MONTANA LLC          4015 ROSS ROAD                                                                  AMES                IA           50014                                  SUPPLIERS OR VENDORS       12/4/2018           $1,493.28
AGE GROUP LIMITED        2 PARK AVE 18TH FLOOR                                                           NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS      10/18/2018          $12,089.83
AGE GROUP LIMITED        2 PARK AVE 18TH FLOOR                                                           NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS      10/19/2018          $36,966.00
AGE GROUP LIMITED        2 PARK AVE 18TH FLOOR                                                           NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS      10/22/2018          $24,816.00
AGE GROUP LIMITED        2 PARK AVE 18TH FLOOR                                                           NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS       11/5/2018           $6,590.00
AGE GROUP LIMITED        2 PARK AVE 18TH FLOOR                                                           NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS       11/7/2018           $1,128.24
AGE GROUP LIMITED        2 PARK AVE 18TH FLOOR                                                           NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS       11/8/2018           $4,032.00
AGE GROUP LIMITED        2 PARK AVE 18TH FLOOR                                                           NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS      11/12/2018           $2,481.12
AGE GROUP LIMITED        2 PARK AVE 18TH FLOOR                                                           NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS      11/30/2018           $1,584.99
AGNES CROSS              212 12TH STREET                                                                 WORTHINGTON         MN           56187                                  SUPPLIERS OR VENDORS      10/24/2018              $28.31
AGNES CROSS              212 12TH STREET                                                                 WORTHINGTON         MN           56187                                  SUPPLIERS OR VENDORS      10/29/2018               $7.08
AGNES DRANE              108 DE VORE ST                                                                  PEARL CITY          IL           61062                                  SUPPLIERS OR VENDORS      11/26/2018              $64.00
AGRI INDUSTRIES                                        1775 SOUTH CENTRAL
INCORPORATED             SAX ELECTRIC                  AVENUE                                            SIDNEY              MT           59270                                  SUPPLIERS OR VENDORS       11/1/2018             $998.30
AGRON INCORPORATED       PO BOX 51708                                                                    LOS ANGELES         CA           90051-6008                             SUPPLIERS OR VENDORS      10/29/2018         $432,382.24



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      Creditor Name                 Address1                   Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
AHNA KAMMER               626 AIRWAY LANE                                                                  JEFFERSON           WI           53549                                  SUPPLIERS OR VENDORS         11/5/2018               $68.86
AHS STAFFING LLC          PO BOX 671714                                                                    DALLAS              TX           75267-1714                             SUPPLIERS OR VENDORS        10/18/2018            $4,506.70
AHS STAFFING LLC          PO BOX 671714                                                                    DALLAS              TX           75267-1714                             SUPPLIERS OR VENDORS        10/25/2018            $4,344.70
AHS STAFFING LLC          PO BOX 671714                                                                    DALLAS              TX           75267-1714                             SUPPLIERS OR VENDORS         11/1/2018            $4,772.20
AIDAN EVENS               52 MANOR HILL DR                                                                 EDEN                WI           53019                                  SUPPLIERS OR VENDORS        10/31/2018               $30.00

AINSWORTH PET NUTRITION PO BOX 536204                                                                      PITTSBURGH          PA           15253-5904                             SUPPLIERS OR VENDORS       10/25/2018           $38,852.11

AINSWORTH PET NUTRITION PO BOX 536204                                                                      PITTSBURGH          PA           15253-5904                             SUPPLIERS OR VENDORS        11/1/2018           $32,685.52

AINSWORTH PET NUTRITION PO BOX 536204                                                                      PITTSBURGH          PA           15253-5904                             SUPPLIERS OR VENDORS       11/15/2018          $102,841.46

AINSWORTH PET NUTRITION PO BOX 536204                                                                      PITTSBURGH          PA           15253-5904                             SUPPLIERS OR VENDORS       11/22/2018           $33,127.57

AINSWORTH PET NUTRITION PO BOX 536204                                                                      PITTSBURGH          PA           15253-5904                             SUPPLIERS OR VENDORS       11/29/2018           $56,441.37

AIR FILTERS NOW           9800 I 65 SERVICE ROAD NORTH                                                     CREOLA              AL           36525                                  SUPPLIERS OR VENDORS       10/18/2018              $462.96

AIR FILTERS NOW           9800 I 65 SERVICE ROAD NORTH                                                     CREOLA              AL           36525                                  SUPPLIERS OR VENDORS       11/15/2018              $919.56
AISLIN COYLE              1019 11TH ST                                                                     MONROE              WI           53566                                  SUPPLIERS OR VENDORS       12/20/2018               $23.00

AKAMAI TECHNOLOGIES INC   GENERAL POST OFFICE            PO BOX 26590                                      NEW YORK            NY           10087-6590                             SUPPLIERS OR VENDORS       11/29/2018           $14,947.70
AL DEPT OF REVENUE        50 NORTH RIPLEY STREET                                                           MONTGOMERY          AL           36104                                  SALES/USE TAX              11/21/2018              $355.67
AL DEPT OF REVENUE        50 NORTH RIPLEY STREET                                                           MONTGOMERY          AL           36104                                  SALES & USE TAX            12/21/2018              $820.19
AL HALLA                  STORE OPERATIONS               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       10/19/2018              $178.32
AL HALLA                  STORE OPERATIONS               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       10/26/2018               $94.02
AL HALLA                  STORE OPERATIONS               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       12/29/2018              $428.65
ALADDIN DIV OF P M I      SHOPKO STORES                  PO BOX 19060           DISC 02/06/07              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/18/2018            $1,773.42
ALADDIN DIV OF P M I      SHOPKO STORES                  PO BOX 19060           DISC 02/06/07              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/25/2018            $3,095.46
ALAN BALLMER              524 27TH STREET                                                                  GOTHENBURG          NE           69138                                  SUPPLIERS OR VENDORS        11/2/2018              $520.00
ALAN BECKMAN              PO BOX 8093                                                                      KALISPELL           MT           59904                                  SUPPLIERS OR VENDORS       10/19/2018            $4,268.63
ALAN BECKMAN              PO BOX 8093                                                                      KALISPELL           MT           59904                                  SUPPLIERS OR VENDORS        11/2/2018            $5,828.40
ALAN BECKMAN              PO BOX 8093                                                                      KALISPELL           MT           59904                                  SUPPLIERS OR VENDORS       11/16/2018            $5,941.78
ALAN BECKMAN              PO BOX 8093                                                                      KALISPELL           MT           59904                                  SUPPLIERS OR VENDORS       11/30/2018            $4,567.18
ALAN BECKMAN              PO BOX 8093                                                                      KALISPELL           MT           59904                                  SUPPLIERS OR VENDORS       12/14/2018            $5,698.63
ALAN BECKMAN              PO BOX 8093                                                                      KALISPELL           MT           59904                                  SUPPLIERS OR VENDORS       12/29/2018            $5,063.25
ALAN BECKMAN              PO BOX 8093                                                                      KALISPELL           MT           59904                                  SUPPLIERS OR VENDORS        1/11/2019            $3,063.13
ALAN BERG                 2120 DEER PRAIRIE DR                                                             NEENAH              WI           54956                                  SUPPLIERS OR VENDORS        11/5/2018               $25.00
ALAN D PETERSON           8839 VERDON CIRCLE                                                               PLATTSMOUTH         NE           68048                                  SUPPLIERS OR VENDORS       11/15/2018           $18,181.33
ALAN D PETERSON           8839 VERDON CIRCLE                                                               PLATTSMOUTH         NE           68048                                  SUPPLIERS OR VENDORS       12/19/2018           $18,181.33
                                                                                200 RED BULL DIVISION
ALAN HOCKER               STORE 564                      SHOPKO EMPLOYEE        DRIVE                      WEBSTER CITY        IA           50595                                  SUPPLIERS OR VENDORS        11/2/2018              $156.96
ALAN KAPOLNEK             STORE 2-502                    SHOPKO EMPLOYEE        2585 LINEVILLE ROAD        GREEN BAY           WI           54313-9999                             SUPPLIERS OR VENDORS       12/13/2018               $68.67
ALAN L MUELLER            INVENTORY CONTROL              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/19/2018               $65.95
ALAN L MUELLER            INVENTORY CONTROL              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/2/2018              $696.91
ALAN L MUELLER            INVENTORY CONTROL              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/14/2018              $993.56
ALAN MIKE MCKIE           STORE 2-687                    SHOPKO EMPLOYEE        202 SW KENT                GREENFIELD          IA           50849                                  SUPPLIERS OR VENDORS       10/19/2018              $298.66
ALAN MIKE MCKIE           STORE 2-687                    SHOPKO EMPLOYEE        202 SW KENT                GREENFIELD          IA           50849                                  SUPPLIERS OR VENDORS        11/2/2018              $233.26
ALAN MIKE MCKIE           STORE 2-687                    SHOPKO EMPLOYEE        202 SW KENT                GREENFIELD          IA           50849                                  SUPPLIERS OR VENDORS        11/9/2018              $390.22
ALAN MIKE MCKIE           STORE 2-687                    SHOPKO EMPLOYEE        202 SW KENT                GREENFIELD          IA           50849                                  SUPPLIERS OR VENDORS       11/16/2018               $75.21
ALAN MIKE MCKIE           STORE 2-687                    SHOPKO EMPLOYEE        202 SW KENT                GREENFIELD          IA           50849                                  SUPPLIERS OR VENDORS        12/8/2018              $659.99
ALAN MIKE MCKIE           STORE 2-687                    SHOPKO EMPLOYEE        202 SW KENT                GREENFIELD          IA           50849                                  SUPPLIERS OR VENDORS       12/14/2018              $249.66
ALAN MIKE MCKIE           STORE 2-687                    SHOPKO EMPLOYEE        202 SW KENT                GREENFIELD          IA           50849                                  SUPPLIERS OR VENDORS       12/20/2018              $370.69
ALAN MIKE MCKIE           STORE 2-687                    SHOPKO EMPLOYEE        202 SW KENT                GREENFIELD          IA           50849                                  SUPPLIERS OR VENDORS       12/22/2018              $370.04



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                                                                                                                                                                                   Reasons for payment or    Dates of     Total Amount or
      Creditor Name                 Address1                 Address2                Address3                  City               State       Zip              Country                    transfer          Payments            Value
ALAN MIKE MCKIE           STORE 2-687                  SHOPKO EMPLOYEE        202 SW KENT                GREENFIELD          IA           50849                                  SUPPLIERS OR VENDORS         1/15/2019              $505.44
ALAN WALL                 725 BROOKFIELD STREET                                                          KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS        11/26/2018               $21.42
ALAN WEINER               OPTICAL LAB                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/1/2018              $530.75
ALAN WEINER               OPTICAL LAB                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/22/2018              $366.92
ALAN WEINER               OPTICAL LAB                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/13/2018               $59.95
ALANNA CAUFIELD           STORE 2-659                  SHOPKO EMPLOYEE        2410 DAHLKE AVENUE         AUBURN              NE           68305                                  SUPPLIERS OR VENDORS        11/22/2018               $15.15
ALASKA UNCLAIMED          UNCLAIMED PROPERTY                                  11TH FLOOR STATE OFFICE
PROPERTY PROGRAM          PROGRAM                      333 WILLOUGHBY AVE     BUILDING                JUNEAU                 AK           98017                                  SUPPLIERS OR VENDORS       10/24/2018               $65.00
ALBA MORALES              4914 43RD AVE.                                                              KENOSHA                WI           53144                                  SUPPLIERS OR VENDORS       11/13/2018               $26.98
                                                       129 SOUTH
ALBAAD USA INCORPORATED AFG WIPES                      TECHNOLOGY DRIVE                                  REIDSVILLE          NC           27320-1563                             SUPPLIERS OR VENDORS       10/18/2018            $4,291.79
                                                       129 SOUTH
ALBAAD USA INCORPORATED AFG WIPES                      TECHNOLOGY DRIVE                                  REIDSVILLE          NC           27320-1563                             SUPPLIERS OR VENDORS        11/1/2018              $541.31
                                                       129 SOUTH
ALBAAD USA INCORPORATED AFG WIPES                      TECHNOLOGY DRIVE                                  REIDSVILLE          NC           27320-1563                             SUPPLIERS OR VENDORS       11/22/2018            $2,031.75
                                                       129 SOUTH
ALBAAD USA INCORPORATED   AFG WIPES                    TECHNOLOGY DRIVE                                  REIDSVILLE          NC           27320-1563                             SUPPLIERS OR VENDORS       11/29/2018            $4,972.96
ALBANY LEDGER             213 W CLAY STREET            PO BOX 247                                        ALBANY              MO           64402                                  SUPPLIERS OR VENDORS       10/25/2018               $70.00
ALBERT BACIAK             500 LANE                                                                       KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS       12/13/2018               $39.04
ALBERT CZLAPINSKI         501 CASE AVE                                                                   JUNCTION CITY       WI           54443                                  SUPPLIERS OR VENDORS       12/20/2018               $23.00
ALBERT ERDMANN            1233 CHURCH ST.                                                                LEOLA               SD           57456                                  SUPPLIERS OR VENDORS       11/14/2018               $48.64
ALBERT WUORI              34663 SLEEPY HOLLOW RD                                                         PELKIE              MI           49958                                  SUPPLIERS OR VENDORS       10/24/2018               $38.40
ALBERT WUORI              34663 SLEEPY HOLLOW RD                                                         PELKIE              MI           49958                                  SUPPLIERS OR VENDORS       10/31/2018                $9.60
ALBERTSONS LIVINGSTON     2120 PARK STREET                                                               LIVINGSTON          MT           59047                                  SUPPLIERS OR VENDORS        11/2/2018              $250.00
ALDEEN EBEL               10595315TH AVE                                                                 HERREID             SD           57632                                  SUPPLIERS OR VENDORS       11/29/2018               $60.80

ALEJANDRA DAVIS           1439 SE INDEPENDENCE DRIVE                                                     COLLEGE PLACE       WA           99324                                  SUPPLIERS OR VENDORS       10/25/2018               $42.00
ALEJANDRA PITAYO          7370 W KANSAS DR                                                               MAGNA               UT           84044                                  SUPPLIERS OR VENDORS       11/26/2018               $20.00
ALEX KLAUS                STORE 002                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/25/2018               $56.14
ALEX NELSON               650 ROBERTS ST SW                                                              HUTCHINSON          MN           55350                                  SUPPLIERS OR VENDORS       12/20/2018               $23.00
ALEX SHEFCHIK             FINANCE                      SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/18/2018               $64.16
ALEX TOYS                 PANLINE USA INC              PO BOX 3908                                       BOSTON              MA           02241-3908                             SUPPLIERS OR VENDORS        11/8/2018          $210,848.62
ALEX TOYS                 PANLINE USA INC              PO BOX 3908                                       BOSTON              MA           02241-3908                             SUPPLIERS OR VENDORS       11/15/2018            $9,318.33
ALEX TOYS                 PANLINE USA INC              PO BOX 3908                                       BOSTON              MA           02241-3908                             SUPPLIERS OR VENDORS       11/22/2018            $9,344.99
ALEX TOYS                 PANLINE USA INC              PO BOX 3908                                       BOSTON              MA           02241-3908                             SUPPLIERS OR VENDORS       11/29/2018            $5,601.84
ALEXA ANDRAE              N40 W6256 JACKSON ST.                                                          CEDARBURG           WI           53012                                  SUPPLIERS OR VENDORS       12/14/2018               $41.00
ALEXA KITZIGER            W9846 W 12TH RD                                                                COLEMAN             WI           54112                                  SUPPLIERS OR VENDORS       10/25/2018                $4.79

ALEXABAE KHAMSAENSOUK 295 14TH AVE SE                  APT 302                                           ST. CLOUD           MN           56304                                  SUPPLIERS OR VENDORS       12/20/2018               $18.00

ALEXANDER & BISHOP 1 LLC 300 N MAIN STREET             PO BOX 800                                        OSHKOSH             WI           54903-0800                             SUPPLIERS OR VENDORS        11/1/2018            $3,046.33

ALEXANDER & BISHOP 1 LLC 300 N MAIN STREET             PO BOX 800                                        OSHKOSH             WI           54903-0800                             SUPPLIERS OR VENDORS        12/3/2018            $3,046.33
ALEXANDER BALL           1019 ELM STREET                                                                 CLARKSTON           WA           99403                                  SUPPLIERS OR VENDORS       12/20/2018               $98.00
ALEXANDER GARDNER        1133 PRIMROSE COURT                                                             NEENAH              WI           54956                                  SUPPLIERS OR VENDORS        12/7/2018               $10.59

ALEXANDER GRUHLKE         STORE 752                    SHOPKO EMPLOYEE        1100 EAST VALLEY ROAD      TORRINGTON          WY           82240-3614                             SUPPLIERS OR VENDORS       10/19/2018               $64.80
ALEXANDER HOLLANDER       18 CARPENTER ST                                                                FOND DU LAC         WI           54935                                  SUPPLIERS OR VENDORS       10/22/2018               $25.02
ALEXANDRA BROICH          304 BEACON CIRCLE UNIT D                                                       SAINT PETER         MN           56082                                  SUPPLIERS OR VENDORS       12/20/2018               $52.00
ALEXANDRA POND            5094 PINE CREEK ROAD                                                           RHINELANDER         WI           54501                                  SUPPLIERS OR VENDORS        11/9/2018               $23.00
ALEXANDRA VOIGTS          311 SPRINGVIEW DRIVE                                                           MARSHALL            WI           53559                                  SUPPLIERS OR VENDORS        11/8/2018               $15.00
ALEXANDRA VOLKMUTH        2175 PROSPECT DR NE                                                            SAINT CLOUD         MN           56304                                  SUPPLIERS OR VENDORS       12/17/2018               $71.40
ALEXANDRIA FORD           380 SOUTH 300 EAST                                                             PAYSON              UT           84651                                  SUPPLIERS OR VENDORS       12/10/2018                $7.99
ALEXIS GUYTON             3304 E ANEMONE CT.                                                             BOISE               ID           83716                                  SUPPLIERS OR VENDORS       10/24/2018              $213.98



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                                                                                                                                                                                   Reasons for payment or    Dates of     Total Amount or
       Creditor Name             Address1                    Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
ALEXIS MILLER          164 E 700 S                                                                       SPRINGVILLE         UT           84663                                  SUPPLIERS OR VENDORS        10/26/2018               $23.00
ALFRED JOHNSON         P.O. BOX 64                                                                       GREENLAND           MI           49929                                  SUPPLIERS OR VENDORS        11/26/2018               $38.40
ALFREDO CHANDIA        554 E LAKE VIEW DR                                                                PAYSON              UT           84651                                  SUPPLIERS OR VENDORS        11/14/2018               $23.00
ALFRETTA CUMMINGS      9802 OAKRIDGE DRIVE                                                               BELLEVUE            NE           68123                                  SUPPLIERS OR VENDORS        10/22/2018               $28.50
ALFRETTA CUMMINGS      9802 OAKRIDGE DRIVE                                                               BELLEVUE            NE           68123                                  SUPPLIERS OR VENDORS         11/1/2018              $105.52
ALGOMA NET COMPANY     GLEASON CORP                   PO BOX 776213                                      CHICAGO             IL           60677-6213                             SUPPLIERS OR VENDORS        10/18/2018              $383.72
ALGOMA NET COMPANY     GLEASON CORP                   PO BOX 776213                                      CHICAGO             IL           60677-6213                             SUPPLIERS OR VENDORS        10/25/2018              $238.00
ALGOMA NET COMPANY     GLEASON CORP                   PO BOX 776213                                      CHICAGO             IL           60677-6213                             SUPPLIERS OR VENDORS        11/15/2018              $296.40
ALI WHISENANT          2622 FLORENCE AVE                                                                 BURLINGTON          IA           52601                                  SUPPLIERS OR VENDORS        10/26/2018               $23.00
ALICE EGGERT           6711 23RD ST N                                                                    SAINT CLOUD         MN           56303                                  SUPPLIERS OR VENDORS         12/3/2018               $92.24
ALICE FLUIT            4700 E.10TH ST                                                                    SIOUX FALLS         SD           57110                                  SUPPLIERS OR VENDORS         11/9/2018              $133.98
ALICE RADER            PO BOX 233                                                                        EAGLE               NE           68347                                  SUPPLIERS OR VENDORS        12/13/2018               $60.85
ALICE SJOSTROM         BOX 155                                                                           CUSTER              MT           59024                                  SUPPLIERS OR VENDORS        11/26/2018              $118.53
ALICIA FREE            1424 HAMANN ROAD                                                                  MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS        11/28/2018               $10.00
ALICIA HOHL            STORE 040                      SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/19/2018               $92.65
ALICIA HOHL            STORE 040                      SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/27/2018              $159.37
ALICIA MARSH           212 E 13TH STREET                                                                 WORTHINGTON         MN           56187                                  SUPPLIERS OR VENDORS        10/29/2018               $28.87
ALINA CAMINITI         809 CENTER ST                                                                     BLACK EARTH         WI           53515                                  SUPPLIERS OR VENDORS        10/29/2018                $1.00
ALISA MICHAEL          405 SHADY LANE                                                                    WENATCHEE           WA           98801                                  SUPPLIERS OR VENDORS         11/8/2018               $50.00
ALISHA HENDERSON       STORE 2-065                    SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/20/2018               $90.00
ALISHA JARVIS          STORE 2-041                    SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/18/2018                $3.98
ALISHA JARVIS          STORE 2-041                    SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/25/2018               $17.06
ALISHA JARVIS          STORE 2-041                    SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/1/2018               $17.49
ALISHA JARVIS          STORE 2-041                    SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/8/2018               $12.15
ALISHA JARVIS          STORE 2-041                    SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/15/2018                $7.85
ALISHA JARVIS          STORE 2-041                    SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/29/2018                $5.94
ALISHA JARVIS          STORE 2-041                    SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/13/2018               $31.45
ALISON HANSEN          677 S 150 W                                                                       HYDE PARK           UT           84318                                  SUPPLIERS OR VENDORS        12/19/2018               $25.00
ALISON JAEGER          308 W. PLYMOUTH STREET                                                            JEFFERSON           WI           53549                                  SUPPLIERS OR VENDORS         11/8/2018                $1.00
ALKALINE 88 LLC        PO BOX 206792                                                                     DALLAS              TX           75320-6792                             SUPPLIERS OR VENDORS        10/18/2018              $881.39
ALKALINE 88 LLC        PO BOX 206792                                                                     DALLAS              TX           75320-6792                             SUPPLIERS OR VENDORS         11/1/2018            $1,130.11

ALL AROUND SPORTS      5440 W FRANKLIN RD SUITE 207                                                      BOISE               ID           83705                                  SUPPLIERS OR VENDORS       10/18/2018              $300.00
ALL COURTESY                                          3/F Lee Loong Bldg 4                                                                                                       PURCHASE OF
INTERNATIONAL          Unit 2                         Queen Victoria Street                              Central Hong Kong                             HONG KONG                 MERCHANDISE                10/16/2018           $10,247.04
ALL THE RAGES          355 EISENHOWER PARKWAY
INCORPORATED           STE 101                                                                           LIVINGSTON          NJ           07039                                  SUPPLIERS OR VENDORS       10/18/2018               $68.69
ALL THE RAGES          355 EISENHOWER PARKWAY
INCORPORATED           STE 101                                                                           LIVINGSTON          NJ           07039                                  SUPPLIERS OR VENDORS        11/1/2018              $173.47
ALL THE RAGES          355 EISENHOWER PARKWAY
INCORPORATED           STE 101                                                                           LIVINGSTON          NJ           07039                                  SUPPLIERS OR VENDORS        11/8/2018              $159.33
ALL THE RAGES          355 EISENHOWER PARKWAY
INCORPORATED           STE 101                                                                           LIVINGSTON          NJ           07039                                  SUPPLIERS OR VENDORS       11/22/2018               $22.23
ALL THE RAGES          355 EISENHOWER PARKWAY
INCORPORATED           STE 101                                                                           LIVINGSTON          NJ           07039                                  SUPPLIERS OR VENDORS       11/29/2018               $65.50
ALLAN BRANDAU          1239 RIVERVIEW DR                                                                 ALMA                WI           54610                                  SUPPLIERS OR VENDORS       11/29/2018               $91.80
ALLAN GEHRTS           1117 OAK POND DR                                                                  SARTELL             MN           56377                                  SUPPLIERS OR VENDORS       10/24/2018               $53.74
ALLAN MACIEJ           32352 SUNRISE RD                                                                  AVON                MN           56310                                  SUPPLIERS OR VENDORS       10/29/2018                $1.67
ALLAN S NODDLE         A S NODDLE REALTY              PO BOX 24169                                       OMAHA               NE           68124-0169                             SUPPLIERS OR VENDORS        11/1/2018            $6,400.00
ALLAN S NODDLE         A S NODDLE REALTY              PO BOX 24169                                       OMAHA               NE           68124-0169                             SUPPLIERS OR VENDORS        11/9/2018                $1.00
ALLAN S NODDLE         A S NODDLE REALTY              PO BOX 24169                                       OMAHA               NE           68124-0169                             SUPPLIERS OR VENDORS        12/1/2018            $6,400.00
ALLAN YOUNG            990 WALNUT STREET              APT 104                                            SYRACUSE            NE           68446                                  SUPPLIERS OR VENDORS       10/24/2018               $60.85
ALLAN YOUNG            990 WALNUT STREET              APT 104                                            SYRACUSE            NE           68446                                  SUPPLIERS OR VENDORS       10/30/2018               $13.15
ALLAN ZELINSKY         55236 HEMLOCK ROAD                                                                MANKATO             MN           56001                                  SUPPLIERS OR VENDORS        11/5/2018              $125.00



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      Creditor Name                 Address1                  Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
ALLEGAN AREA CHAMBER OF
COMMERCE                  ATTN TIM PERRIGO             134 BRADY ST                                       ALLEGAN             MI           49010                                  SUPPLIERS OR VENDORS       12/4/2018            $330.00
ALLEN ADAMS               1484 CHICAGO ST                                                                 GREEN BAY           WI           54301                                  SUPPLIERS OR VENDORS       11/2/2018             $25.00
ALLEN BROUCHOUS           2525 N 13TH ST                                                                  WAUSAU              WI           54403                                  SUPPLIERS OR VENDORS       12/7/2018            $129.99
ALLEN RUID                5013 WINNEQUAH ROAD                                                             MADISON             WI           53716                                  SUPPLIERS OR VENDORS      12/21/2018             $25.00
ALLEN SZYMANDERA          APPAREL                      SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/22/2018          $1,449.61
ALLEN VAILE               N11473 WEST BAY CT                                                              PEARSON             WI           54462                                  SUPPLIERS OR VENDORS      10/26/2018            $200.00
ALLEN ZUEHLKE             W12870 5TH ROAD              P.O. BOX 53                                        COLOMA              WI           54930                                  SUPPLIERS OR VENDORS      11/29/2018             $40.00
ALLERGAN USA              PO BOX 740901                                                                   LOS ANGELES         CA           90074-0901                             SUPPLIERS OR VENDORS      10/18/2018          $7,971.87
ALLERGAN USA              PO BOX 740901                                                                   LOS ANGELES         CA           90074-0901                             SUPPLIERS OR VENDORS      10/25/2018          $9,478.79
ALLERGAN USA              PO BOX 740901                                                                   LOS ANGELES         CA           90074-0901                             SUPPLIERS OR VENDORS       11/1/2018          $2,871.54
ALLERGAN USA              PO BOX 740901                                                                   LOS ANGELES         CA           90074-0901                             SUPPLIERS OR VENDORS       11/8/2018          $6,133.78
ALLERGAN USA              PO BOX 740901                                                                   LOS ANGELES         CA           90074-0901                             SUPPLIERS OR VENDORS      11/15/2018         $13,319.84
ALLERGAN USA              PO BOX 740901                                                                   LOS ANGELES         CA           90074-0901                             SUPPLIERS OR VENDORS      11/22/2018          $8,584.34
ALLERGAN USA              PO BOX 740901                                                                   LOS ANGELES         CA           90074-0901                             SUPPLIERS OR VENDORS      11/29/2018          $4,186.35

ALLIANCE ENTERTAINMENT    1401 NW 136TH AVE STE 100                                                       SUNRISE             FL           33323                                  SUPPLIERS OR VENDORS      10/26/2018        $133,109.00

ALLIANCE ENTERTAINMENT    1401 NW 136TH AVE STE 100                                                       SUNRISE             FL           33323                                  SUPPLIERS OR VENDORS       11/2/2018         $14,909.68

ALLIANCE ENTERTAINMENT    1401 NW 136TH AVE STE 100                                                       SUNRISE             FL           33323                                  SUPPLIERS OR VENDORS       11/9/2018           $5,718.48

ALLIANCE ENTERTAINMENT    1401 NW 136TH AVE STE 100                                                       SUNRISE             FL           33323                                  SUPPLIERS OR VENDORS      11/16/2018         $89,005.13

ALLIANCE ENTERTAINMENT    1401 NW 136TH AVE STE 100                                                       SUNRISE             FL           33323                                  SUPPLIERS OR VENDORS      11/30/2018        $106,117.34
ALLISON DEKAM             208 W. MAIN ST.              PO BOX 15                                          CASTLEWOOD          SD           57223                                  SUPPLIERS OR VENDORS      10/24/2018             $30.00
ALLISON DHUY              STORE 758                    SHOPKO EMPLOYEE         1950 E RICHARDS            DOUGLAS             WY           82633-0000                             SUPPLIERS OR VENDORS      10/25/2018            $106.82
ALLISON DHUY              STORE 758                    SHOPKO EMPLOYEE         1950 E RICHARDS            DOUGLAS             WY           82633-0000                             SUPPLIERS OR VENDORS      11/29/2018            $466.52
ALLISON HEILMAN           75 NORTH HIGH DRIVE                                                             HUTCHINSON          MN           55350                                  SUPPLIERS OR VENDORS       12/7/2018             $23.00
ALLISON KRABBENHOFT       5716 STENBRAE CT SW                                                             ROCHESTER           MN           55902                                  SUPPLIERS OR VENDORS       12/3/2018             $30.00
ALLISON MADDOX            1119 S SODA                                                                     SPOKANE             WA           99224                                  SUPPLIERS OR VENDORS      11/14/2018             $40.00

ALLISON ZIMMER            ALLISONION ENTERPRISE PLLC   802 MANZANAL ST NE                                 EAST WENATCHEE WA                98802                                  SUPPLIERS OR VENDORS      10/26/2018           $5,895.49

ALLISON ZIMMER            ALLISONION ENTERPRISE PLLC   802 MANZANAL ST NE                                 EAST WENATCHEE WA                98802                                  SUPPLIERS OR VENDORS      10/31/2018            $126.26

ALLISON ZIMMER            ALLISONION ENTERPRISE PLLC   802 MANZANAL ST NE                                 EAST WENATCHEE WA                98802                                  SUPPLIERS OR VENDORS       11/8/2018            $126.26

ALLISON ZIMMER            ALLISONION ENTERPRISE PLLC   802 MANZANAL ST NE                                 EAST WENATCHEE WA                98802                                  SUPPLIERS OR VENDORS       11/9/2018           $5,769.23

ALLISON ZIMMER            ALLISONION ENTERPRISE PLLC   802 MANZANAL ST NE                                 EAST WENATCHEE WA                98802                                  SUPPLIERS OR VENDORS      11/14/2018            $126.26

ALLISON ZIMMER            ALLISONION ENTERPRISE PLLC   802 MANZANAL ST NE                                 EAST WENATCHEE WA                98802                                  SUPPLIERS OR VENDORS      11/27/2018           $5,895.49

ALLISON ZIMMER            ALLISONION ENTERPRISE PLLC   802 MANZANAL ST NE                                 EAST WENATCHEE WA                98802                                  SUPPLIERS OR VENDORS      11/30/2018           $3,786.24

ALLISON ZIMMER            ALLISONION ENTERPRISE PLLC   802 MANZANAL ST NE                                 EAST WENATCHEE WA                98802                                  SUPPLIERS OR VENDORS       12/6/2018            $126.26

ALLISON ZIMMER            ALLISONION ENTERPRISE PLLC   802 MANZANAL ST NE                                 EAST WENATCHEE WA                98802                                  SUPPLIERS OR VENDORS       12/8/2018           $5,769.23

ALLISON ZIMMER            ALLISONION ENTERPRISE PLLC   802 MANZANAL ST NE                                 EAST WENATCHEE WA                98802                                  SUPPLIERS OR VENDORS      12/19/2018            $252.52

ALLISON ZIMMER            ALLISONION ENTERPRISE PLLC   802 MANZANAL ST NE                                 EAST WENATCHEE WA                98802                                  SUPPLIERS OR VENDORS      12/21/2018           $5,192.31




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                                                                                                                                                                                  Reasons for payment or    Dates of     Total Amount or
      Creditor Name                 Address1                 Address2                  Address3                 City              State       Zip              Country                   transfer          Payments            Value

ALLISON ZIMMER            ALLISONION ENTERPRISE PLLC   802 MANZANAL ST NE                                EAST WENATCHEE WA                98802                                  SUPPLIERS OR VENDORS      12/28/2018             $249.47

ALLISON ZIMMER            ALLISONION ENTERPRISE PLLC   802 MANZANAL ST NE                                EAST WENATCHEE WA                98802                                  SUPPLIERS OR VENDORS         1/5/2019           $5,192.31
ALLSTAR MARKETING GROUP
LLC                       2 SKYLINE DRIVE                                                                HAWTHORNE           NY           10532                                  SUPPLIERS OR VENDORS      10/18/2018            $5,625.81
ALLSTAR MARKETING GROUP
LLC                       2 SKYLINE DRIVE                                                                HAWTHORNE           NY           10532                                  SUPPLIERS OR VENDORS      10/25/2018             $696.00
ALLSTAR MARKETING GROUP
LLC                       2 SKYLINE DRIVE                                                                HAWTHORNE           NY           10532                                  SUPPLIERS OR VENDORS       11/1/2018            $1,052.00
ALLSTAR MARKETING GROUP
LLC                       2 SKYLINE DRIVE                                                                HAWTHORNE           NY           10532                                  SUPPLIERS OR VENDORS       11/8/2018          $15,984.12
ALLSTAR MARKETING GROUP
LLC                       2 SKYLINE DRIVE                                                                HAWTHORNE           NY           10532                                  SUPPLIERS OR VENDORS      11/15/2018          $36,714.00
ALLSTAR MARKETING GROUP
LLC                       2 SKYLINE DRIVE                                                                HAWTHORNE           NY           10532                                  SUPPLIERS OR VENDORS      11/22/2018             $204.00
ALLSTAR MARKETING GROUP
LLC                       2 SKYLINE DRIVE                                                                HAWTHORNE           NY           10532                                  SUPPLIERS OR VENDORS      11/29/2018           $3,422.18
ALLURE EYEWEAR            28243 NETWORK PLACE                                                            CHICAGO             IL           60673-1282                             SUPPLIERS OR VENDORS      10/25/2018           $3,000.66
ALLURE EYEWEAR            28243 NETWORK PLACE                                                            CHICAGO             IL           60673-1282                             SUPPLIERS OR VENDORS       11/1/2018              $14.00
ALLURE EYEWEAR            28243 NETWORK PLACE                                                            CHICAGO             IL           60673-1282                             SUPPLIERS OR VENDORS      11/15/2018           $1,483.57
ALLURE EYEWEAR            28243 NETWORK PLACE                                                            CHICAGO             IL           60673-1282                             SUPPLIERS OR VENDORS      11/22/2018           $1,700.00
ALLURE EYEWEAR            28243 NETWORK PLACE                                                            CHICAGO             IL           60673-1282                             SUPPLIERS OR VENDORS      12/18/2018           $3,329.00
ALMA TAYLOR               STORE 2-205                  SHOPKO EMPLOYEE        94 N 400 E                 DELTA               UT           84624                                  SUPPLIERS OR VENDORS       11/9/2018             $195.61
ALMA TAYLOR               STORE 2-205                  SHOPKO EMPLOYEE        94 N 400 E                 DELTA               UT           84624                                  SUPPLIERS OR VENDORS      12/11/2018              $16.98
ALMOND BLOSSOM LLC        JACK BEUKELMAN               18948 N RAMSEY RD                                 RATHDRUM            ID           83858                                  SUPPLIERS OR VENDORS      11/10/2018          $27,250.00
ALMOND BLOSSOM LLC        JACK BEUKELMAN               18948 N RAMSEY RD                                 RATHDRUM            ID           83858                                  SUPPLIERS OR VENDORS      12/12/2018          $27,250.00
                                                                                                                                                                                 PURCHASE OF
ALPHA GARMENT INC         1385 BROADWAY SUITE 5                                                          NEW YORK            NY           10018-6001                             MERCHANDISE               12/12/2018          $97,938.00
ALS UPHOLSTERING
COMPANY                   JEFFREY LAMBERT              1141 MAIN STREET                                  GREEN BAY           WI           54301                                  SUPPLIERS OR VENDORS      10/19/2018              $60.00
ALS UPHOLSTERING
COMPANY                   JEFFREY LAMBERT              1141 MAIN STREET                                  GREEN BAY           WI           54301                                  SUPPLIERS OR VENDORS      11/30/2018              $245.00
ALSCO BILLINGS            AMERICAN LINEN DIVISION      PO BOX 30496                                      BILLINGS            MT           59107-0496                             SUPPLIERS OR VENDORS      11/16/2018              $499.66
ALSCO BLACKFOOT           AMERICAN LINEN DIVISION      PO BOX 639                                        BLACKFOOT           ID           83221                                  SUPPLIERS OR VENDORS      10/18/2018              $308.91
ALSCO BLACKFOOT           AMERICAN LINEN DIVISION      PO BOX 639                                        BLACKFOOT           ID           83221                                  SUPPLIERS OR VENDORS       11/8/2018              $195.46
ALSCO BLACKFOOT           AMERICAN LINEN DIVISION      PO BOX 639                                        BLACKFOOT           ID           83221                                  SUPPLIERS OR VENDORS      11/15/2018               $89.82
ALSCO BLACKFOOT           AMERICAN LINEN DIVISION      PO BOX 639                                        BLACKFOOT           ID           83221                                  SUPPLIERS OR VENDORS        1/4/2019              $313.04
ALSCO OGDEN               AMERICAN LINEN DIVISION      PO BOX 9398                                       OGDEN               UT           84409                                  SUPPLIERS OR VENDORS      10/18/2018            $1,867.83
ALSCO OGDEN               AMERICAN LINEN DIVISION      PO BOX 9398                                       OGDEN               UT           84409                                  SUPPLIERS OR VENDORS      11/28/2018                $1.00
ALSCO OGDEN               AMERICAN LINEN DIVISION      PO BOX 9398                                       OGDEN               UT           84409                                  SUPPLIERS OR VENDORS      11/29/2018            $2,441.05
ALSCO OGDEN               AMERICAN LINEN DIVISION      PO BOX 9398                                       OGDEN               UT           84409                                  SUPPLIERS OR VENDORS        1/5/2019            $1,763.81

ALSCO SALT LAKE CITY      AMERICAN LINEN DIVISION      3370 WEST 1820 SOUTH                              SALT LAKE CITY      UT           84104-0000                             SUPPLIERS OR VENDORS       11/8/2018           $4,011.57
ALTAIR EYEWEAR            PO BOX 45036                                                                   SAN FRANCISCO       CA           94145-0036                             SUPPLIERS OR VENDORS      10/25/2018           $6,883.21
ALTAIR EYEWEAR            PO BOX 45036                                                                   SAN FRANCISCO       CA           94145-0036                             SUPPLIERS OR VENDORS       11/1/2018              $45.94
ALTAIR EYEWEAR            PO BOX 45036                                                                   SAN FRANCISCO       CA           94145-0036                             SUPPLIERS OR VENDORS       11/8/2018              $34.48
ALTAIR EYEWEAR            PO BOX 45036                                                                   SAN FRANCISCO       CA           94145-0036                             SUPPLIERS OR VENDORS      11/15/2018           $6,360.00
ALTAIR EYEWEAR            PO BOX 45036                                                                   SAN FRANCISCO       CA           94145-0036                             SUPPLIERS OR VENDORS      11/22/2018           $3,123.14
ALTAIR EYEWEAR            PO BOX 45036                                                                   SAN FRANCISCO       CA           94145-0036                             SUPPLIERS OR VENDORS      11/29/2018           $1,505.28
ALTAIR EYEWEAR            PO BOX 45036                                                                   SAN FRANCISCO       CA           94145-0036                             SUPPLIERS OR VENDORS      12/12/2018          $13,457.40
ALTAIR EYEWEAR            PO BOX 45036                                                                   SAN FRANCISCO       CA           94145-0036                             SUPPLIERS OR VENDORS      12/18/2018           $8,434.22
ALTAIR EYEWEAR            PO BOX 45036                                                                   SAN FRANCISCO       CA           94145-0036                             SUPPLIERS OR VENDORS      12/21/2018             $999.60
ALTAIR EYEWEAR            PO BOX 45036                                                                   SAN FRANCISCO       CA           94145-0036                             SUPPLIERS OR VENDORS      12/27/2018              $24.50



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                                                                                                                                                                                Reasons for payment or    Dates of     Total Amount or
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ALTON BLOCK            770 52ND AVE                                                                   WINONA              MN           55987                                  SUPPLIERS OR VENDORS        10/31/2018                $8.37
ALTON BLOCK            770 52ND AVE                                                                   WINONA              MN           55987                                  SUPPLIERS OR VENDORS         11/1/2018                $8.37
ALVIN PLEMEL           N19001 SECOND STREET                                                           DUNBAR              WI           54119                                  SUPPLIERS OR VENDORS         11/1/2018               $12.20
ALVIN PLEMEL           N19001 SECOND STREET                                                           DUNBAR              WI           54119                                  SUPPLIERS OR VENDORS        12/13/2018               $39.04
ALVINA JOHNSON         40851 140TH ST.                                                                GROTON              SD           57445                                  SUPPLIERS OR VENDORS         12/5/2018               $48.64
ALVINA WAGNER          1614 S. 30TH ST APT. # 903                                                     MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS         12/5/2018               $44.00
ALYSA HAACK            3022 S 27TH ST                                                                 LINCOLN             NE           68502                                  SUPPLIERS OR VENDORS        10/22/2018               $75.00
ALYSSA GARCIA          5216 63RD ST                                                                   KENOSHA             WI           53142                                  SUPPLIERS OR VENDORS        10/31/2018               $43.00
ALYSSA HOLT            STORE 2-698                  SHOPKO EMPLOYEE        718 4TH STREET             GOTHENBURG          NE           69138                                  SUPPLIERS OR VENDORS         12/6/2018               $49.60
ALYSSA KOSSACK         7349 TIMBER LANE                                                               MINOCQUA            WI           54548                                  SUPPLIERS OR VENDORS        10/19/2018               $25.00
ALYSSA LANDENBERGER    3400 N MARYLAND AVE          MAILBOX S205                                      MILWAUKEE           WI           53211                                  SUPPLIERS OR VENDORS        10/31/2018               $24.00
ALYSSA WOODLEY         1410 FAULKNER DR                                                               DEERFIELD           WI           53531                                  SUPPLIERS OR VENDORS        10/29/2018               $57.85
AMANDA BAUMANN         3720 W ST GERMAIN STREET     APT 209                                           SAINT CLOUD         MN           56301                                  SUPPLIERS OR VENDORS        11/12/2018               $23.00
AMANDA BOHNE           4337 WESTPORT RD                                                               MADISON             WI           53704                                  SUPPLIERS OR VENDORS        12/13/2018               $12.60
AMANDA BUMAN           902 W ELSIE                                                                    APPLETON            WI           54914                                  SUPPLIERS OR VENDORS        12/19/2018               $25.00
AMANDA CHRISTIAN       W1179 CTY. RD. A H                                                             LOMIRA              WI           53048                                  SUPPLIERS OR VENDORS        11/14/2018               $25.00
AMANDA CHRISTIANSEN    STORE 756                    SHOPKO EMPLOYEE        1255 MAIN STREET           LANDER              WY           82520                                  SUPPLIERS OR VENDORS          1/5/2019              $416.87
AMANDA CORNING         W6463 STATE ROAD 152                                                           WAUTOMA             WI           54982                                  SUPPLIERS OR VENDORS        10/22/2018               $25.00
AMANDA DAVIS           N489 FOX DR                                                                    MONTELLO            WI           53949                                  SUPPLIERS OR VENDORS        11/28/2018               $69.00
AMANDA DELACRUZ        STORE 4-033                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/20/2018               $31.61
AMANDA DESS            2424 5TH AVE SW                                                                GREAT FALLS         MT           59404                                  SUPPLIERS OR VENDORS        11/16/2018               $16.00
AMANDA HANSEN          STORE 2-061                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/25/2018              $150.23
AMANDA HESSLER         1041 11 STREET                                                                 CLARKSTON           WA           99403                                  SUPPLIERS OR VENDORS        10/26/2018               $30.00
AMANDA HOOPER          STORE 768                    SHOPKO EMPLOYEE        804 US HWY 2 WEST          GLASGOW             MT           59230                                  SUPPLIERS OR VENDORS        10/19/2018               $54.50
AMANDA HOOPER          STORE 768                    SHOPKO EMPLOYEE        804 US HWY 2 WEST          GLASGOW             MT           59230                                  SUPPLIERS OR VENDORS        12/14/2018               $30.28
AMANDA HOOPER          STORE 768                    SHOPKO EMPLOYEE        804 US HWY 2 WEST          GLASGOW             MT           59230                                  SUPPLIERS OR VENDORS        12/20/2018              $237.44
AMANDA HOOPER          STORE 768                    SHOPKO EMPLOYEE        804 US HWY 2 WEST          GLASGOW             MT           59230                                  SUPPLIERS OR VENDORS        12/22/2018              $187.81
AMANDA HOOPER          STORE 768                    SHOPKO EMPLOYEE        804 US HWY 2 WEST          GLASGOW             MT           59230                                  SUPPLIERS OR VENDORS         1/15/2019              $354.88
AMANDA JOHNSON         N7689 FERRIS RD                                                                MAYVILLE            WI           53050                                  SUPPLIERS OR VENDORS        11/30/2018                $2.00
AMANDA KENNEDY-
SCHWIER                29279 KEEPER RD                                                                FOUNTAIN            MN           55935                                  SUPPLIERS OR VENDORS       11/12/2018               $23.00
AMANDA LASOWSKI        STORE 170                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/11/2018               $67.58
AMANDA LASOWSKI        STORE 170                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/14/2018               $67.58
AMANDA M CLARK         STORE 063                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/6/2018               $54.50
AMANDA NIX             4646 CARIBOU LAKE RD                                                           DULUTH              MN           55811                                  SUPPLIERS OR VENDORS       11/16/2018               $25.50
AMANDA PHILLIPS        STORE 772                    SHOPKO EMPLOYEE        PO BOX 945                 POWELL              WY           82435                                  SUPPLIERS OR VENDORS        11/9/2018               $35.43
AMANDA PHILLIPS        STORE 772                    SHOPKO EMPLOYEE        PO BOX 945                 POWELL              WY           82435                                  SUPPLIERS OR VENDORS       12/11/2018               $16.35
AMANDA PHILLIPS        STORE 772                    SHOPKO EMPLOYEE        PO BOX 945                 POWELL              WY           82435                                  SUPPLIERS OR VENDORS        1/15/2019               $20.30
AMANDA PRIEWE          STORE 4-218                  SHOPKO EMPLOYEE        1850 E MADISON AVE         MANKATO             MN           56001                                  SUPPLIERS OR VENDORS       11/22/2018               $80.66
                       PRIVATE BRAND & TREND
AMANDA REICKS          DIVISION                     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/6/2018              $148.79
AMANDA RICHARDSON      STORE 568                    SHOPKO EMPLOYEE        200 10TH AVE SE            NEW PRAGUE          MN           56071-1975                             SUPPLIERS OR VENDORS       11/30/2018              $265.42
AMANDA ROSENBERG       717 IMPERIAL CRT #4          #3                                                WEST BEND           WI           53095                                  SUPPLIERS OR VENDORS       11/26/2018               $23.00

AMANDA RUDNICK         715 HOMESTEAD JOINT ROAD                                                       FENCE               WI           54120                                  SUPPLIERS OR VENDORS       12/10/2018               $34.00
AMANDA SHARP           7364 NO 85 ST                                                                  OMAHA               NE           68122                                  SUPPLIERS OR VENDORS       10/29/2018               $25.00
AMANDA SMRSTICK        HOME                         SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/25/2018            $4,346.48
AMANDA THOMPSON        STORE 544                    SHOPKO EMPLOYEE        500 N CENTRAL AVE          SIDNEY              MT           59270-4220                             SUPPLIERS OR VENDORS       11/27/2018              $476.05
AMANDA THOMPSON        STORE 544                    SHOPKO EMPLOYEE        500 N CENTRAL AVE          SIDNEY              MT           59270-4220                             SUPPLIERS OR VENDORS       12/11/2018              $164.51
AMANDA THOMPSON        STORE 544                    SHOPKO EMPLOYEE        500 N CENTRAL AVE          SIDNEY              MT           59270-4220                             SUPPLIERS OR VENDORS       12/14/2018              $184.48
AMANDA THOMPSON        STORE 544                    SHOPKO EMPLOYEE        500 N CENTRAL AVE          SIDNEY              MT           59270-4220                             SUPPLIERS OR VENDORS       12/20/2018              $131.09
AMANDA TODALEN         803 NORTH 5TH STREET                                                           BELLEVUE            NE           68005                                  SUPPLIERS OR VENDORS       10/24/2018               $93.36
AMANDA VON ENDE        STORE 744                    SHOPKO EMPLOYEE        PO BOX 340                 ROSEAU              MN           56751                                  SUPPLIERS OR VENDORS       12/14/2018              $381.65
AMANDA VON ENDE        STORE 744                    SHOPKO EMPLOYEE        PO BOX 340                 ROSEAU              MN           56751                                  SUPPLIERS OR VENDORS       12/29/2018              $333.59



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AMAZON CAPITAL SERVICES PO BOX 035184                                                                    SEATTLE             WA           98124-5184                             SUPPLIERS OR VENDORS      10/18/2018            $232.38

AMAZON CAPITAL SERVICES PO BOX 035184                                                                    SEATTLE             WA           98124-5184                             SUPPLIERS OR VENDORS      10/25/2018            $584.57

AMAZON CAPITAL SERVICES PO BOX 035184                                                                    SEATTLE             WA           98124-5184                             SUPPLIERS OR VENDORS       11/1/2018             $53.14

AMAZON CAPITAL SERVICES PO BOX 035184                                                                    SEATTLE             WA           98124-5184                             SUPPLIERS OR VENDORS      11/15/2018            $690.54

AMAZON CAPITAL SERVICES PO BOX 035184                                                                    SEATTLE             WA           98124-5184                             SUPPLIERS OR VENDORS      11/29/2018            $235.10

AMAZON CAPITAL SERVICES PO BOX 035184                                                                    SEATTLE             WA           98124-5184                             SUPPLIERS OR VENDORS      12/17/2018           $1,011.64

AMAZON WEB SERVICES INC PO BOX 84023                                                                     SEATTLE             WA           98124-8423                             SUPPLIERS OR VENDORS       11/8/2018         $13,946.81

AMAZON WEB SERVICES INC   PO BOX 84023                                                                   SEATTLE             WA           98124-8423                             SUPPLIERS OR VENDORS       12/7/2018         $16,891.15
AMBER BRILL               STORE 018                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/22/2018            $186.61
AMBER BRILL               STORE 018                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/13/2018            $186.61
AMBER DUNN                PO BOX 516                                                                     LYONS               OR           97358                                  SUPPLIERS OR VENDORS      11/26/2018             $29.00
AMBER PHILLIPS            STORE 643                    SHOPKO EMPLOYEE        91 W PINE LAKE DRIVE       NEWAYGO             MI           49337                                  SUPPLIERS OR VENDORS      10/19/2018            $446.81
AMBER PHILLIPS            STORE 643                    SHOPKO EMPLOYEE        91 W PINE LAKE DRIVE       NEWAYGO             MI           49337                                  SUPPLIERS OR VENDORS       11/2/2018            $643.04
AMBER PHILLIPS            STORE 643                    SHOPKO EMPLOYEE        91 W PINE LAKE DRIVE       NEWAYGO             MI           49337                                  SUPPLIERS OR VENDORS      11/16/2018            $269.34
AMBER PHILLIPS            STORE 643                    SHOPKO EMPLOYEE        91 W PINE LAKE DRIVE       NEWAYGO             MI           49337                                  SUPPLIERS OR VENDORS      11/27/2018            $652.86
AMBER REDLIN              4401 HORNER DRIVE                                                              WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS      12/21/2018             $23.00
AMBER SERPE               128 N CRANBERRY ST                                                             ELKHORN             WI           53121                                  SUPPLIERS OR VENDORS      11/30/2018             $68.98
AMBER STEINBORN           STORE 732                    SHOPKO EMPLOYEE        3225 10TH STREET EAST      GLENCOE             MN           55336                                  SUPPLIERS OR VENDORS      11/22/2018             $43.60
AMBER STEINBORN           STORE 732                    SHOPKO EMPLOYEE        3225 10TH STREET EAST      GLENCOE             MN           55336                                  SUPPLIERS OR VENDORS      11/29/2018             $43.60
AMBER WILLIAMS            STORE 102                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/18/2018             $84.23
AMCON LABORATORIES        9735 GREEN PARK INDUSTRIAL
INCORPORATE               DRIVE                                                                          ST LOUIS            MO           63123                                  SUPPLIERS OR VENDORS      10/24/2018               $1.00
AMCON LABORATORIES        9735 GREEN PARK INDUSTRIAL
INCORPORATED              DRIVE                                                                          ST LOUIS            MO           63123                                  SUPPLIERS OR VENDORS      10/18/2018            $305.10
AMCON LABORATORIES        9735 GREEN PARK INDUSTRIAL
INCORPORATED              DRIVE                                                                          ST LOUIS            MO           63123                                  SUPPLIERS OR VENDORS      10/26/2018           $1,678.18
AMCON LABORATORIES        9735 GREEN PARK INDUSTRIAL
INCORPORATED              DRIVE                                                                          ST LOUIS            MO           63123                                  SUPPLIERS OR VENDORS       11/2/2018            $784.16
AMCON LABORATORIES        9735 GREEN PARK INDUSTRIAL
INCORPORATED              DRIVE                                                                          ST LOUIS            MO           63123                                  SUPPLIERS OR VENDORS      11/16/2018           $1,551.20
AMCON LABORATORIES        9735 GREEN PARK INDUSTRIAL
INCORPORATED              DRIVE                                                                          ST LOUIS            MO           63123                                  SUPPLIERS OR VENDORS      11/30/2018           $1,439.20
AMELIA DRIGGS             1322 W 1950 N                                                                  CLEARFIELD          UT           84015                                  SUPPLIERS OR VENDORS      11/30/2018              $36.00
                                                                                                                                                                                 PURCHASE OF
AMEREX GROUP LLC          512 7TH AVENUE 9TH FLOOR                                                       NEW YORK            NY           10018                                  MERCHANDISE               10/24/2018        $608,941.08
AMEREX OF CALIFORNIA
CORPORATION               512 7TH AVE 9TH FLOOR                                                          NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      10/19/2018         $47,132.13
AMEREX OF CALIFORNIA
CORPORATION               512 7TH AVE 9TH FLOOR                                                          NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      10/22/2018         $29,160.00
AMEREX OF CALIFORNIA
CORPORATION               512 7TH AVE 9TH FLOOR                                                          NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      10/23/2018        $139,092.00
AMEREX OF CALIFORNIA
CORPORATION               512 7TH AVE 9TH FLOOR                                                          NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      10/24/2018         $55,279.50
AMEREX OF CALIFORNIA
CORPORATION               512 7TH AVE 9TH FLOOR                                                          NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      10/25/2018         $33,568.00




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AMEREX OF CALIFORNIA
CORPORATION               512 7TH AVE 9TH FLOOR                                                      NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      10/26/2018           $8,504.00
AMEREX OF CALIFORNIA
CORPORATION               512 7TH AVE 9TH FLOOR                                                      NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      10/29/2018         $45,216.25
AMEREX OF CALIFORNIA
CORPORATION               512 7TH AVE 9TH FLOOR                                                      NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS       11/2/2018         $18,923.00

AMERICAN BIOTECH SUPPLY   HORIZON SCIENTIFIC INC   125 VARNFIELD DRIVE    PO BOX 1797                SUMMERVILLE         SC           29484-1797                             SUPPLIERS OR VENDORS      12/17/2018           $1,450.21
AMERICAN BOTTLING
COMPANY                   23214 NETWORK PLACE                                                        CHICAGO             IL           60673-1232                             SUPPLIERS OR VENDORS      10/18/2018            $165.95
AMERICAN BOTTLING
COMPANY                   23214 NETWORK PLACE                                                        CHICAGO             IL           60673-1232                             SUPPLIERS OR VENDORS      10/18/2018           $5,382.44
AMERICAN BOTTLING
COMPANY                   23214 NETWORK PLACE                                                        CHICAGO             IL           60673-1232                             SUPPLIERS OR VENDORS      10/18/2018           $8,267.38
AMERICAN BOTTLING
COMPANY                   23214 NETWORK PLACE                                                        CHICAGO             IL           60673-1232                             SUPPLIERS OR VENDORS      10/25/2018            $197.06
AMERICAN BOTTLING
COMPANY                   23214 NETWORK PLACE                                                        CHICAGO             IL           60673-1232                             SUPPLIERS OR VENDORS      10/25/2018         $35,832.25
AMERICAN BOTTLING
COMPANY                   23214 NETWORK PLACE                                                        CHICAGO             IL           60673-1232                             SUPPLIERS OR VENDORS       11/1/2018            $932.44
AMERICAN BOTTLING
COMPANY                   23214 NETWORK PLACE                                                        CHICAGO             IL           60673-1232                             SUPPLIERS OR VENDORS       11/1/2018           $8,477.38
AMERICAN BOTTLING
COMPANY                   23214 NETWORK PLACE                                                        CHICAGO             IL           60673-1232                             SUPPLIERS OR VENDORS       11/1/2018         $12,693.68
AMERICAN BOTTLING
COMPANY                   23214 NETWORK PLACE                                                        CHICAGO             IL           60673-1232                             SUPPLIERS OR VENDORS       11/8/2018            $119.20
AMERICAN BOTTLING
COMPANY                   23214 NETWORK PLACE                                                        CHICAGO             IL           60673-1232                             SUPPLIERS OR VENDORS       11/8/2018         $19,004.38
AMERICAN BOTTLING
COMPANY                   23214 NETWORK PLACE                                                        CHICAGO             IL           60673-1232                             SUPPLIERS OR VENDORS       11/8/2018         $28,795.47
AMERICAN BOTTLING
COMPANY                   23214 NETWORK PLACE                                                        CHICAGO             IL           60673-1232                             SUPPLIERS OR VENDORS      11/15/2018             $45.44
AMERICAN BOTTLING
COMPANY                   23214 NETWORK PLACE                                                        CHICAGO             IL           60673-1232                             SUPPLIERS OR VENDORS      11/15/2018         $11,078.93
AMERICAN BOTTLING
COMPANY                   23214 NETWORK PLACE                                                        CHICAGO             IL           60673-1232                             SUPPLIERS OR VENDORS      11/15/2018         $19,770.80
AMERICAN BOTTLING
COMPANY                   23214 NETWORK PLACE                                                        CHICAGO             IL           60673-1232                             SUPPLIERS OR VENDORS      11/22/2018           $5,798.91
AMERICAN BOTTLING
COMPANY                   23214 NETWORK PLACE                                                        CHICAGO             IL           60673-1232                             SUPPLIERS OR VENDORS      11/22/2018         $13,861.34
AMERICAN BOTTLING
COMPANY                   23214 NETWORK PLACE                                                        CHICAGO             IL           60673-1232                             SUPPLIERS OR VENDORS      11/29/2018            $616.16
AMERICAN BOTTLING
COMPANY                   23214 NETWORK PLACE                                                        CHICAGO             IL           60673-1232                             SUPPLIERS OR VENDORS      11/29/2018         $14,298.59
AMERICAN BOTTLING
COMPANY                   23214 NETWORK PLACE                                                        CHICAGO             IL           60673-1232                             SUPPLIERS OR VENDORS      12/19/2018           $1,121.53
AMERICAN BOTTLING
COMPANY                   23214 NETWORK PLACE                                                        CHICAGO             IL           60673-1232                             SUPPLIERS OR VENDORS      12/19/2018         $24,520.96
AMERICAN BOTTLING
COMPANY                   23214 NETWORK PLACE                                                        CHICAGO             IL           60673-1232                             SUPPLIERS OR VENDORS      12/19/2018         $32,417.68
AMERICAN BOTTLING
COMPANY                   23214 NETWORK PLACE                                                        CHICAGO             IL           60673-1232                             SUPPLIERS OR VENDORS      12/20/2018            $174.01
AMERICAN BOTTLING
COMPANY                   23214 NETWORK PLACE                                                        CHICAGO             IL           60673-1232                             SUPPLIERS OR VENDORS      12/20/2018           $1,454.98



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                                                                                                                                                                            Reasons for payment or    Dates of    Total Amount or
      Creditor Name               Address1             Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
AMERICAN BOTTLING
COMPANY                  23214 NETWORK PLACE                                                       CHICAGO             IL           60673-1232                             SUPPLIERS OR VENDORS      12/20/2018           $2,068.33
AMERICAN BOTTLING
COMPANY                  23214 NETWORK PLACE                                                       CHICAGO             IL           60673-1232                             SUPPLIERS OR VENDORS      12/21/2018           $1,158.95
AMERICAN BOTTLING
COMPANY                  23214 NETWORK PLACE                                                       CHICAGO             IL           60673-1232                             SUPPLIERS OR VENDORS      12/21/2018           $1,532.24
AMERICAN BOTTLING
COMPANY                  23214 NETWORK PLACE                                                       CHICAGO             IL           60673-1232                             SUPPLIERS OR VENDORS      12/27/2018            $107.69
AMERICAN BOTTLING
COMPANY                  23214 NETWORK PLACE                                                       CHICAGO             IL           60673-1232                             SUPPLIERS OR VENDORS      12/27/2018           $7,959.38
AMERICAN EXCHANGE TIME   CIT GROUP COMMERCIAL
LLC                      SERVICES INC           PO BOX 1036                                        CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/8/2018         $33,417.43
AMERICAN GREETINGS       PO BOX 676701                                                             DALLAS              TX           75267-6701                             SUPPLIERS OR VENDORS      10/24/2018         $15,677.00
AMERICAN GREETINGS       PO BOX 676701                                                             DALLAS              TX           75267-6701                             SUPPLIERS OR VENDORS      10/24/2018        $103,881.47
AMERICAN GREETINGS       PO BOX 676701                                                             DALLAS              TX           75267-6701                             SUPPLIERS OR VENDORS      10/31/2018         $15,787.09
AMERICAN GREETINGS       PO BOX 676701                                                             DALLAS              TX           75267-6701                             SUPPLIERS OR VENDORS      10/31/2018        $113,148.30
AMERICAN GREETINGS       PO BOX 676701                                                             DALLAS              TX           75267-6701                             SUPPLIERS OR VENDORS       11/7/2018         $14,591.87
AMERICAN GREETINGS       PO BOX 676701                                                             DALLAS              TX           75267-6701                             SUPPLIERS OR VENDORS       11/7/2018         $65,634.23
AMERICAN GREETINGS       PO BOX 676701                                                             DALLAS              TX           75267-6701                             SUPPLIERS OR VENDORS      11/14/2018          $4,039.22
AMERICAN GREETINGS       PO BOX 676701                                                             DALLAS              TX           75267-6701                             SUPPLIERS OR VENDORS      11/14/2018         $36,768.25
AMERICAN GREETINGS       PO BOX 676701                                                             DALLAS              TX           75267-6701                             SUPPLIERS OR VENDORS      11/24/2018         $15,379.72
AMERICAN GREETINGS       PO BOX 676701                                                             DALLAS              TX           75267-6701                             SUPPLIERS OR VENDORS      11/24/2018        $111,696.44
AMERICAN GREETINGS       PO BOX 676701                                                             DALLAS              TX           75267-6701                             SUPPLIERS OR VENDORS      11/28/2018         $13,443.33
AMERICAN GREETINGS       PO BOX 676701                                                             DALLAS              TX           75267-6701                             SUPPLIERS OR VENDORS      11/28/2018        $104,469.62
AMERICAN GREETINGS       PO BOX 676701                                                             DALLAS              TX           75267-6701                             SUPPLIERS OR VENDORS       12/5/2018         $16,761.19
AMERICAN GREETINGS       PO BOX 676701                                                             DALLAS              TX           75267-6701                             SUPPLIERS OR VENDORS       12/5/2018        $122,573.54
AMERICAN GREETINGS       PO BOX 676701                                                             DALLAS              TX           75267-6701                             SUPPLIERS OR VENDORS      12/14/2018        $182,261.90
AMERICAN GREETINGS       PO BOX 676701                                                             DALLAS              TX           75267-6701                             SUPPLIERS OR VENDORS      12/19/2018        $248,050.66
AMERICAN GREETINGS       PO BOX 676701                                                             DALLAS              TX           75267-6701                             SUPPLIERS OR VENDORS      12/28/2018        $354,296.26
AMERICAN HEROES          ATTN JIM               1103 GALVIN RD S                                   BELLEVUE            NE           68005                                  SUPPLIERS OR VENDORS      11/15/2018            $207.95
AMERICAN LEATHER
SPECIALTIES              RHODE ISLAND TEXTILE   35 MARTIN STREET                                   CUMBERLAND          RI           02864-0000                             SUPPLIERS OR VENDORS      10/18/2018         $18,076.29
AMERICAN LEATHER
SPECIALTIES              RHODE ISLAND TEXTILE   35 MARTIN STREET                                   CUMBERLAND          RI           02864-0000                             SUPPLIERS OR VENDORS      10/25/2018         $13,729.81
AMERICAN LEATHER
SPECIALTIES              RHODE ISLAND TEXTILE   35 MARTIN STREET                                   CUMBERLAND          RI           02864-0000                             SUPPLIERS OR VENDORS       11/1/2018         $18,993.60
AMERICAN LEATHER
SPECIALTIES              RHODE ISLAND TEXTILE   35 MARTIN STREET                                   CUMBERLAND          RI           02864-0000                             SUPPLIERS OR VENDORS       11/8/2018           $9,869.98
AMERICAN LEATHER
SPECIALTIES              RHODE ISLAND TEXTILE   35 MARTIN STREET                                   CUMBERLAND          RI           02864-0000                             SUPPLIERS OR VENDORS      11/15/2018           $9,104.70
AMERICAN LEATHER
SPECIALTIES              RHODE ISLAND TEXTILE   35 MARTIN STREET                                   CUMBERLAND          RI           02864-0000                             SUPPLIERS OR VENDORS      11/22/2018         $16,880.62
AMERICAN LEATHER
SPECIALTIES              RHODE ISLAND TEXTILE   35 MARTIN STREET                                   CUMBERLAND          RI           02864-0000                             SUPPLIERS OR VENDORS      11/29/2018         $17,289.54
AMERICAN LICORICE
COMPANY                  PO BOX 843242                                                             KANSAS CITY         MO           64184-3242                             SUPPLIERS OR VENDORS      10/18/2018           $3,105.58
AMERICAN LICORICE
COMPANY                  PO BOX 843242                                                             KANSAS CITY         MO           64184-3242                             SUPPLIERS OR VENDORS       11/1/2018         $13,235.75
AMERICAN LICORICE
COMPANY                  PO BOX 843242                                                             KANSAS CITY         MO           64184-3242                             SUPPLIERS OR VENDORS      11/15/2018            $977.83
AMERICAN LICORICE
COMPANY                  PO BOX 843242                                                             KANSAS CITY         MO           64184-3242                             SUPPLIERS OR VENDORS      11/22/2018           $1,519.92
AMERICAN LICORICE
COMPANY                  PO BOX 843242                                                             KANSAS CITY         MO           64184-3242                             SUPPLIERS OR VENDORS      11/29/2018           $7,122.90



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                                                                                                                                                                              Reasons for payment or    Dates of    Total Amount or
      Creditor Name                 Address1             Address2                  Address3                  City             State       Zip              Country                   transfer          Payments           Value
AMERICAN MARKETING       CIT GROUP COMMERCIAL
ENTERPRISES INC          SERVICES INC              PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      10/20/2018         $29,455.36
AMERICAN MARKETING       CIT GROUP COMMERCIAL
ENTERPRISES INC          SERVICES INC              PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      10/26/2018           $5,070.30
AMERICAN MARKETING       CIT GROUP COMMERCIAL
ENTERPRISES INC          SERVICES INC              PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/9/2018           $6,793.61
AMERICAN MARKETING       CIT GROUP COMMERCIAL
ENTERPRISES INC          SERVICES INC              PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       12/1/2018           $1,250.00

AMERICAN NUTRITION INC   PO BOX 1405                                                                 OGDEN               UT           84402-1405                             SUPPLIERS OR VENDORS      10/18/2018         $37,970.49

AMERICAN NUTRITION INC   PO BOX 1405                                                                 OGDEN               UT           84402-1405                             SUPPLIERS OR VENDORS      10/25/2018         $20,184.01

AMERICAN NUTRITION INC   PO BOX 1405                                                                 OGDEN               UT           84402-1405                             SUPPLIERS OR VENDORS       11/1/2018         $16,483.97

AMERICAN NUTRITION INC   PO BOX 1405                                                                 OGDEN               UT           84402-1405                             SUPPLIERS OR VENDORS      11/15/2018         $63,947.64

AMERICAN NUTRITION INC   PO BOX 1405                                                                 OGDEN               UT           84402-1405                             SUPPLIERS OR VENDORS      11/29/2018         $14,914.97
AMERICAN OVERHEAD DOOR
INCORPORATED             1911 W WISCONSIN AVENUE                                                     APPLETON            WI           54914-3120                             SUPPLIERS OR VENDORS      12/17/2018             $90.00
AMERICAN PROMOTIONAL
EVENTS                   VICE PRESIDENT OF SALES   4511 HELTON DRIVE                                 FLORENCE            AL           35630                                  SUPPLIERS OR VENDORS      10/18/2018           $2,678.81
AMERICAN PROMOTIONAL
EVENTS                   VICE PRESIDENT OF SALES   4511 HELTON DRIVE                                 FLORENCE            AL           35630                                  SUPPLIERS OR VENDORS       11/8/2018           $4,380.78
AMERICAN TEXTILE
COMPANY                  10 NORTH LINDEN STREET    RIDC RIVERPLACE                                   DUQUESNE            PA           15110                                  SUPPLIERS OR VENDORS      10/18/2018           $3,881.22
AMERICAN TEXTILE
COMPANY                  10 NORTH LINDEN STREET    RIDC RIVERPLACE                                   DUQUESNE            PA           15110                                  SUPPLIERS OR VENDORS      10/20/2018           $2,431.51
AMERICAN TEXTILE
COMPANY                  10 NORTH LINDEN STREET    RIDC RIVERPLACE                                   DUQUESNE            PA           15110                                  SUPPLIERS OR VENDORS      10/23/2018         $29,553.86
AMERICAN TEXTILE
COMPANY                  10 NORTH LINDEN STREET    RIDC RIVERPLACE                                   DUQUESNE            PA           15110                                  SUPPLIERS OR VENDORS      10/24/2018         $45,410.53
AMERICAN TEXTILE
COMPANY                  10 NORTH LINDEN STREET    RIDC RIVERPLACE                                   DUQUESNE            PA           15110                                  SUPPLIERS OR VENDORS      10/27/2018            $709.06
AMERICAN TEXTILE
COMPANY                  10 NORTH LINDEN STREET    RIDC RIVERPLACE                                   DUQUESNE            PA           15110                                  SUPPLIERS OR VENDORS      10/30/2018         $15,965.11
AMERICAN TEXTILE
COMPANY                  10 NORTH LINDEN STREET    RIDC RIVERPLACE                                   DUQUESNE            PA           15110                                  SUPPLIERS OR VENDORS      10/31/2018         $14,909.86
AMERICAN TEXTILE
COMPANY                  10 NORTH LINDEN STREET    RIDC RIVERPLACE                                   DUQUESNE            PA           15110                                  SUPPLIERS OR VENDORS       11/1/2018           $2,523.62
AMERICAN TEXTILE
COMPANY                  10 NORTH LINDEN STREET    RIDC RIVERPLACE                                   DUQUESNE            PA           15110                                  SUPPLIERS OR VENDORS       11/3/2018         $12,018.33
AMERICAN TEXTILE
COMPANY                  10 NORTH LINDEN STREET    RIDC RIVERPLACE                                   DUQUESNE            PA           15110                                  SUPPLIERS OR VENDORS       11/6/2018           $7,355.51
AMERICAN TEXTILE
COMPANY                  10 NORTH LINDEN STREET    RIDC RIVERPLACE                                   DUQUESNE            PA           15110                                  SUPPLIERS OR VENDORS       11/7/2018           $1,342.01
AMERICAN TEXTILE
COMPANY                  10 NORTH LINDEN STREET    RIDC RIVERPLACE                                   DUQUESNE            PA           15110                                  SUPPLIERS OR VENDORS       11/9/2018           $1,723.90
AMERICAN TEXTILE
COMPANY                  10 NORTH LINDEN STREET    RIDC RIVERPLACE                                   DUQUESNE            PA           15110                                  SUPPLIERS OR VENDORS      11/10/2018         $29,481.68
AMERICAN TEXTILE
COMPANY                  10 NORTH LINDEN STREET    RIDC RIVERPLACE                                   DUQUESNE            PA           15110                                  SUPPLIERS OR VENDORS      11/13/2018         $26,768.25
AMERICAN TEXTILE
COMPANY                  10 NORTH LINDEN STREET    RIDC RIVERPLACE                                   DUQUESNE            PA           15110                                  SUPPLIERS OR VENDORS      11/14/2018         $17,745.92



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                                                                                                                                                                                  Reasons for payment or    Dates of    Total Amount or
      Creditor Name                 Address1                 Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
AMERICAN TEXTILE
COMPANY                   10 NORTH LINDEN STREET       RIDC RIVERPLACE                                   DUQUESNE            PA           15110                                  SUPPLIERS OR VENDORS      11/17/2018           $1,882.56
AMERICAN TEXTILE
COMPANY                   10 NORTH LINDEN STREET       RIDC RIVERPLACE                                   DUQUESNE            PA           15110                                  SUPPLIERS OR VENDORS      11/24/2018         $76,809.70
AMERICAN TEXTILE
COMPANY                   10 NORTH LINDEN STREET       RIDC RIVERPLACE                                   DUQUESNE            PA           15110                                  SUPPLIERS OR VENDORS      11/27/2018           $2,982.56
AMERICAN TEXTILE
COMPANY                   10 NORTH LINDEN STREET       RIDC RIVERPLACE                                   DUQUESNE            PA           15110                                  SUPPLIERS OR VENDORS       12/1/2018         $56,021.72
AMERICAN TEXTILE
COMPANY                   10 NORTH LINDEN STREET       RIDC RIVERPLACE                                   DUQUESNE            PA           15110                                  SUPPLIERS OR VENDORS       12/4/2018         $54,694.88
                                                                                                         RANCHO
AMERICAN TRAVELER INC     9509 FERON BLVD                                                                CUCAMONGA           CA           91730                                  SUPPLIERS OR VENDORS      10/18/2018           $5,152.30
                                                                                                         RANCHO
AMERICAN TRAVELER INC     9509 FERON BLVD                                                                CUCAMONGA           CA           91730                                  SUPPLIERS OR VENDORS      10/25/2018           $8,865.25
                                                                                                         RANCHO
AMERICAN TRAVELER INC     9509 FERON BLVD                                                                CUCAMONGA           CA           91730                                  SUPPLIERS OR VENDORS       11/1/2018         $23,646.00
                                                                                                         RANCHO
AMERICAN TRAVELER INC     9509 FERON BLVD                                                                CUCAMONGA           CA           91730                                  SUPPLIERS OR VENDORS       11/8/2018           $7,374.34
                                                                                                         RANCHO
AMERICAN TRAVELER INC     9509 FERON BLVD                                                                CUCAMONGA           CA           91730                                  SUPPLIERS OR VENDORS      11/15/2018         $19,489.50
                                                                                                         RANCHO
AMERICAN TRAVELER INC     9509 FERON BLVD                                                                CUCAMONGA           CA           91730                                  SUPPLIERS OR VENDORS      11/22/2018           $5,653.50
                                                                                                         RANCHO
AMERICAN TRAVELER INC     9509 FERON BLVD                                                                CUCAMONGA           CA           91730                                  SUPPLIERS OR VENDORS      11/29/2018         $13,427.90
AMERIGAS NATIONAL
ACCOUNTS                  DEPT CH 10525                                                                  PALATINE            IL           60055-0525                             SUPPLIERS OR VENDORS      11/16/2018            $689.46

AMERIPLUS INCORPORATED 535 S HERCULES AVE STE 201                                                        CLEARWATER          FL           33764                                  SUPPLIERS OR VENDORS      10/18/2018           $4,425.53

AMERIPLUS INCORPORATED 535 S HERCULES AVE STE 201                                                        CLEARWATER          FL           33764                                  SUPPLIERS OR VENDORS       11/8/2018           $4,526.96

AMERIPLUS INCORPORATED 535 S HERCULES AVE STE 201                                                        CLEARWATER          FL           33764                                  SUPPLIERS OR VENDORS      11/15/2018           $4,353.95

AMERIPLUS INCORPORATED    535 S HERCULES AVE STE 201                                                     CLEARWATER          FL           33764                                  SUPPLIERS OR VENDORS      11/22/2018           $4,178.38
AMERIPRIDE SERVICES       PO BOX 950                                                                     BEMIDJI             MN           56619-0950                             SUPPLIERS OR VENDORS      11/13/2018             $317.01
AMERIPRIDE SERVICES
INCORPORATED              PO BOX 190                                                                     BEMIDJI             MN           56619-0190                             SUPPLIERS OR VENDORS       11/9/2018            $143.14
AMERIPRIDE SERVICES
INCORPORATED              PO BOX 3160                                                                    BEMIDJI             MN           56619-3160                             SUPPLIERS OR VENDORS      11/16/2018            $397.44
AMERIPRIDE SERVICES
INCORPORATED              PO BOX 190                                                                     BEMIDJI             MN           56619-0190                             SUPPLIERS OR VENDORS      11/30/2018            $146.26
AMI BERG                  1148 ROLLING OAKS DRIVE                                                        ONALASKA            WI           54636                                  SUPPLIERS OR VENDORS      12/18/2018             $10.00
                          STERLING FACTORS
AMIEE LYNN INCORPORATED   CORPORATION                  PO BOX 742             MIDTOWN STATION            NEW YORK            NY           10018-0000                             SUPPLIERS OR VENDORS      10/19/2018           $7,302.73
                          STERLING FACTORS
AMIEE LYNN INCORPORATED   CORPORATION                  PO BOX 742             MIDTOWN STATION            NEW YORK            NY           10018-0000                             SUPPLIERS OR VENDORS       11/9/2018           $2,057.14
                          STERLING FACTORS
AMIEE LYNN INCORPORATED   CORPORATION                  PO BOX 742             MIDTOWN STATION            NEW YORK            NY           10018-0000                             SUPPLIERS OR VENDORS      11/15/2018           $6,454.97
                          STERLING FACTORS
AMIEE LYNN INCORPORATED   CORPORATION                  PO BOX 742             MIDTOWN STATION            NEW YORK            NY           10018-0000                             SUPPLIERS OR VENDORS      11/16/2018         $28,972.80
                          STERLING FACTORS
AMIEE LYNN INCORPORATED   CORPORATION                  PO BOX 742             MIDTOWN STATION            NEW YORK            NY           10018-0000                             SUPPLIERS OR VENDORS      11/17/2018           $4,644.00
                          STERLING FACTORS
AMIEE LYNN INCORPORATED   CORPORATION                  PO BOX 742             MIDTOWN STATION            NEW YORK            NY           10018-0000                             SUPPLIERS OR VENDORS      11/30/2018           $7,842.36



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AMIGO MOBILITY
INTERNATIONAL INC      6693 DIXIE HIGHWAY                                                                BRIDGEPORT          MI           48722                                  SUPPLIERS OR VENDORS      10/22/2018            $299.00
AMIGO MOBILITY
INTERNATIONAL INC      6693 DIXIE HIGHWAY                                                                BRIDGEPORT          MI           48722                                  SUPPLIERS OR VENDORS      11/12/2018           $1,125.00
AMIGO MOBILITY
INTERNATIONAL INC      6693 DIXIE HIGHWAY                                                                BRIDGEPORT          MI           48722                                  SUPPLIERS OR VENDORS      11/26/2018           $1,125.00
AMIGO MOBILITY
INTERNATIONAL INC      6693 DIXIE HIGHWAY                                                                BRIDGEPORT          MI           48722                                  SUPPLIERS OR VENDORS       12/3/2018           $1,192.50
AMIGO MOBILITY
INTERNATIONAL INC      6693 DIXIE HIGHWAY                                                                BRIDGEPORT          MI           48722                                  SUPPLIERS OR VENDORS      12/10/2018            $315.45
AMINA ABDILLE          2424 15TH ST N                                                                    ST CLOUD            MN           56303                                  SUPPLIERS OR VENDORS       11/6/2018             $20.00
AMINCO INTERNATIONAL
(USA) INCORPORATED     20571 CRESCENT BAY DRIVE                                                          LAKE FOREST         CA           92630                                  SUPPLIERS OR VENDORS       11/1/2018           $1,041.50
AMINCO INTERNATIONAL
(USA) INCORPORATED     20571 CRESCENT BAY DRIVE                                                          LAKE FOREST         CA           92630                                  SUPPLIERS OR VENDORS       11/8/2018         $10,490.25
AMINCO INTERNATIONAL
(USA) INCORPORATED     20571 CRESCENT BAY DRIVE                                                          LAKE FOREST         CA           92630                                  SUPPLIERS OR VENDORS      11/15/2018            $106.50
AMINCO INTERNATIONAL
(USA) INCORPORATED     20571 CRESCENT BAY DRIVE                                                          LAKE FOREST         CA           92630                                  SUPPLIERS OR VENDORS      11/22/2018             $85.50
AMISH RAVAL            4242 SAVANNAH COURT                                                               MIDDLETON           WI           53562                                  SUPPLIERS OR VENDORS      12/13/2018             $23.00
AMLOID CORPORATION     7 RIDGEDALE AVE STE 1 A                                                           CEDAR KNOLLS        NJ           07927-0000                             SUPPLIERS OR VENDORS      10/18/2018         $43,471.45
AMLOID CORPORATION     7 RIDGEDALE AVE STE 1 A                                                           CEDAR KNOLLS        NJ           07927-0000                             SUPPLIERS OR VENDORS      10/25/2018         $22,885.31
AMLOID CORPORATION     7 RIDGEDALE AVE STE 1 A                                                           CEDAR KNOLLS        NJ           07927-0000                             SUPPLIERS OR VENDORS       11/1/2018         $47,950.12
AMRAPUR OVERSEAS DBA
COLONIAL HOME TEX      1560 E 6TH STREET SUITE 101                                                       CORONA              CA           92879                                  SUPPLIERS OR VENDORS      10/18/2018            $376.46
AMRAPUR OVERSEAS DBA
COLONIAL HOME TEX      1560 E 6TH STREET SUITE 101                                                       CORONA              CA           92879                                  SUPPLIERS OR VENDORS      10/25/2018            $251.14
AMRAPUR OVERSEAS DBA
COLONIAL HOME TEX      1560 E 6TH STREET SUITE 101                                                       CORONA              CA           92879                                  SUPPLIERS OR VENDORS       11/1/2018            $152.63
AMRAPUR OVERSEAS DBA
COLONIAL HOME TEX      1560 E 6TH STREET SUITE 101                                                       CORONA              CA           92879                                  SUPPLIERS OR VENDORS       11/8/2018            $106.77
AMRAPUR OVERSEAS DBA
COLONIAL HOME TEX      1560 E 6TH STREET SUITE 101                                                       CORONA              CA           92879                                  SUPPLIERS OR VENDORS      11/15/2018            $145.27
AMRAPUR OVERSEAS DBA
COLONIAL HOME TEX      1560 E 6TH STREET SUITE 101                                                       CORONA              CA           92879                                  SUPPLIERS OR VENDORS      11/22/2018            $193.76
AMRAPUR OVERSEAS DBA
COLONIAL HOME TEX      1560 E 6TH STREET SUITE 101                                                       CORONA              CA           92879                                  SUPPLIERS OR VENDORS      11/29/2018            $733.47
AMY BARRETT            STORE 4-002                   SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/25/2018             $56.97
AMY BEGLEY             5405 J M PLACE                                                                    WESTON              WI           54476                                  SUPPLIERS OR VENDORS      11/29/2018             $62.00
AMY CLAREN             380 PRAIRIE BLVD                                                                  DAKOTA DUNES        SD           57049                                  SUPPLIERS OR VENDORS      11/28/2018             $25.00
AMY COTTRELL           STORE 088                     SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/22/2018             $23.11
AMY COTTRELL           STORE 088                     SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/28/2018             $47.21
AMY CRAWFORD           STORE 673                     SHOPKO EMPLOYEE          1511 E 4TH STREET          AINSWORTH           NE           69210                                  SUPPLIERS OR VENDORS      10/26/2018             $70.85
AMY CRAWFORD           STORE 673                     SHOPKO EMPLOYEE          1511 E 4TH STREET          AINSWORTH           NE           69210                                  SUPPLIERS OR VENDORS      11/16/2018            $198.42
AMY DORNER             1382 CASTLE ROCK CT                                                               DE PERE             WI           54115                                  SUPPLIERS OR VENDORS       12/7/2018             $88.00
AMY DORNER             1382 CASTLE ROCK CT                                                               DE PERE             WI           54115                                  SUPPLIERS OR VENDORS       12/7/2018            $123.98
AMY DORNER             1382 CASTLE ROCK CT                                                               DE PERE             WI           54115                                  SUPPLIERS OR VENDORS      12/20/2018             $54.00
AMY DORNER             1382 CASTLE ROCK CT                                                               DE PERE             WI           54115                                  SUPPLIERS OR VENDORS      12/20/2018            $119.97
AMY EGGEBRAATEN        1504 34TH ST NW                                                                   ROCHESTER           MN           55901                                  SUPPLIERS OR VENDORS      10/22/2018             $41.11
AMY FLEMING            4324 N WOODRIDGE DR                                                               APPLETON            WI           54913                                  SUPPLIERS OR VENDORS      10/26/2018             $34.00
AMY GISH               520 S 35TH ST                 #7                                                  OMAHA               NE           68105                                  SUPPLIERS OR VENDORS      11/26/2018             $55.98
AMY HANSON             604 SOUTH ASH AVENUE                                                              MARSHFIELD          WI           54449                                  SUPPLIERS OR VENDORS      11/26/2018             $39.98
AMY HEDTKE             1007 LAWRENCE ST                                                                  NEW LONDON          WI           54961                                  SUPPLIERS OR VENDORS      10/31/2018             $25.00
AMY HOLLOWAY           425 HOLLYHOCK                                                                     POCATELLO           ID           83202                                  SUPPLIERS OR VENDORS      10/25/2018             $50.02



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                                                                                                                                                                           Reasons for payment or    Dates of     Total Amount or
      Creditor Name              Address1            Address2                  Address3                City               State       Zip              Country                    transfer          Payments            Value
AMY HUTCHINS           STORE 2-733             SHOPKO EMPLOYEE        226 E LINCOLN              FERGUS FALLS        MN           56537                                  SUPPLIERS OR VENDORS         11/1/2018              $123.17
AMY HUTCHINS           STORE 2-733             SHOPKO EMPLOYEE        226 E LINCOLN              FERGUS FALLS        MN           56537                                  SUPPLIERS OR VENDORS         12/6/2018               $79.57
AMY JELKMANN           5316 45TH ST                                                              KENOSHA             WI           53144                                  SUPPLIERS OR VENDORS        10/25/2018               $30.00
AMY KAY                STORE 4-005             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/8/2018               $40.94
AMY MAERTZ             STORE 4-028             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/22/2018               $39.24
AMY MAERTZ             STORE 4-028             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         12/6/2018               $39.24
AMY MAERTZ             STORE 4-028             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/20/2018               $39.24
AMY MOON               2015 WALNUT ST.                                                           OSHKOSH             WI           54901                                  SUPPLIERS OR VENDORS        12/20/2018               $25.00
AMY MUMMA              6918 CHARLES STREET                                                       OMAHA               NE           68132                                  SUPPLIERS OR VENDORS        10/26/2018               $53.00

AMY PAVELEC            1531 RANGER RD                                                            WISCONSIN RAPIDS    WI           54494                                  SUPPLIERS OR VENDORS       11/26/2018               $36.00
AMY PETERSEN           STORE 4-609             SHOPKO EMPLOYEE        1120 HIGHWAY 67            KIEL                WI           53042                                  SUPPLIERS OR VENDORS       12/14/2018              $185.30
AMY PETERSEN           STORE 4-609             SHOPKO EMPLOYEE        1120 HIGHWAY 67            KIEL                WI           53042                                  SUPPLIERS OR VENDORS       12/20/2018              $171.68
AMY PETERSEN           STORE 4-609             SHOPKO EMPLOYEE        1120 HIGHWAY 67            KIEL                WI           53042                                  SUPPLIERS OR VENDORS        1/15/2019               $67.28
AMY PIEPER             740 W CREST LANE                                                          ELLSWORTH           WI           54011                                  SUPPLIERS OR VENDORS       12/17/2018               $25.00
AMY POGUE              STORE 620               SHOPKO EMPLOYEE        PO BOX 56                  EAGLE RIVER         WI           54521                                  SUPPLIERS OR VENDORS       11/16/2018              $161.32
AMY REITHMEYER         STORE 2-051             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/6/2018               $35.97
AMY SCHIELD            N2530 TIMBERLAND WAY                                                      PESHTIGO            WI           54157                                  SUPPLIERS OR VENDORS       11/14/2018              $109.97
AMY SIRACUSA           846 W 11TH AVE                                                            OSHKOSH             WI           54902                                  SUPPLIERS OR VENDORS       11/15/2018               $59.00
AMY SMITH              5007 HWY 42                                                               MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS       12/10/2018                $4.00
AMY TADYCH             1614 CHERRY ROAD                                                          MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS       11/12/2018               $23.00
AMY WAHLEN             STORE 2-012             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/18/2018                $4.53
AMY WAHLEN             STORE 2-012             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/29/2018               $11.17
AMY WAHLEN             STORE 2-012             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/13/2018                $1.09
ANA RODRIGUEZ          STORE 554               SHOPKO EMPLOYEE        1203 N MAIN STREET         ANDREWS             TX           79714-3630                             SUPPLIERS OR VENDORS       10/26/2018               $91.06
ANA RODRIGUEZ          STORE 554               SHOPKO EMPLOYEE        1203 N MAIN STREET         ANDREWS             TX           79714-3630                             SUPPLIERS OR VENDORS        11/9/2018              $295.47
ANA RODRIGUEZ          STORE 554               SHOPKO EMPLOYEE        1203 N MAIN STREET         ANDREWS             TX           79714-3630                             SUPPLIERS OR VENDORS       12/22/2018              $120.82
ANA TORRES             114 MCDOWELL STREET                                                       DELAVAN             WI           53115                                  SUPPLIERS OR VENDORS        11/1/2018               $61.98
ANALISA WOITASZEWSKI   304 PINE ST                                                               LUCAN               MN           56255                                  SUPPLIERS OR VENDORS        11/8/2018               $27.00
ANASTASIA MIX          STORE 4-092             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/1/2018               $59.95
ANASTASIA MIX          STORE 4-092             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/8/2018               $59.95
ANASTASIA MIX          STORE 4-092             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/15/2018               $59.95
ANASTASIA MIX          STORE 4-092             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/22/2018               $59.95
ANASTASIA MIX          STORE 4-092             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/13/2018               $81.75
ANASTASIA MIX          STORE 4-092             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/20/2018               $59.95
                                                                                                                                                                         PURCHASE OF
ANDA, INC              2915 WESTON ROAD                                                          WESTON              FL           33331                                  MERCHANDISE                 1/10/2019        $1,766,801.28
                                                                                                                                                                         PURCHASE OF
ANDA, INC              2915 WESTON ROAD                                                          WESTON              FL           33331                                  MERCHANDISE                 1/11/2019          $609,782.20
                                                                                                                                                                         PURCHASE OF
ANDA, INC              2915 WESTON ROAD                                                          WESTON              FL           33331                                  MERCHANDISE                 1/15/2019        $1,784,875.51
ANDERSEN SCHMIDT       802 BROOKSIDE DRIVE                                                       AUDUBON             IA           50025                                  SUPPLIERS OR VENDORS       11/26/2018              $616.90
ANDERSON SCHMIDT                               C/O AUDUBON STATE
ACCOUNT                DARRELL ANDERSON        BANK                                              AUDUBON             IA           50025                                  SUPPLIERS OR VENDORS        11/1/2018            $3,500.00
ANDERSON SCHMIDT                               C/O AUDUBON STATE
ACCOUNT                DARRELL ANDERSON        BANK                                              AUDUBON             IA           50025                                  SUPPLIERS OR VENDORS        12/1/2018            $3,500.00
ANDIS COMPANY          25860 NETWORK PLACE                                                       CHICAGO             IL           60673-1258                             SUPPLIERS OR VENDORS       10/18/2018            $1,006.48
ANDIS COMPANY          25860 NETWORK PLACE                                                       CHICAGO             IL           60673-1258                             SUPPLIERS OR VENDORS       11/15/2018            $1,581.12
ANDREA BENNETT         5906 PARTIN DR #7                                                         MC FARLAND          WI           53558                                  SUPPLIERS OR VENDORS       11/26/2018               $30.00
ANDREA HEIM-ROWE       6568 LEE RD                                                               DANE                WI           53529                                  SUPPLIERS OR VENDORS       11/26/2018               $30.00
ANDREA HUERTA          2938 SUN MEADOW COURT                                                     DELAVAN             WI           53115                                  SUPPLIERS OR VENDORS       10/29/2018               $30.00
ANDREA LUEY            1129 FARNHAM                                                              COLUMBUS            WI           53925                                  SUPPLIERS OR VENDORS       12/21/2018               $20.00
ANDREA OLSON           STORE 4-045             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/25/2018               $39.99
ANDREW CORLE           STORE 4-067             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/16/2018              $177.43



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                                                                                                                                                                                 Reasons for payment or    Dates of     Total Amount or
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ANDREW HAGNER           STORE 050                   SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/2/2018               $68.13
ANDREW HANYZEWSKI       303 MERCHANTS AVENUE                                                           FORT ATKINSON       WI           53538                                  SUPPLIERS OR VENDORS        10/31/2018               $16.00
ANDREW HERNANDEZ        806 STATESMAN ST                                                               WALLA WALLA         WA           99362                                  SUPPLIERS OR VENDORS         11/9/2018               $23.00

ANDREW HOFFMAN          1612 HOOVER DR.             APT. 19                                            NORTH MANKATO       MN           56003                                  SUPPLIERS OR VENDORS       12/13/2018               $71.40
ANDREW HOOYMAN          1706 W REEVE ST                                                                APPLETON            WI           54914                                  SUPPLIERS OR VENDORS        11/1/2018               $44.00
ANDREW HOWE             STORE 671                   SHOPKO EMPLOYEE         PO BOX 469                 WAUKON              IA           52172                                  SUPPLIERS OR VENDORS       12/13/2018              $122.08
ANDREW KALLENBACH       811 WEST 10TH AVE NORTH                                                        CLEAR LAKE          IA           50428                                  SUPPLIERS OR VENDORS       10/31/2018               $29.98
ANDREW KRIEGEL          1864 PLANTATION LN                                                             MOSINEE             WI           54455                                  SUPPLIERS OR VENDORS       11/28/2018               $16.95
ANDREW MCKENZIE         445 BRIDGER RD                                                                 LINCOLN             NE           68521                                  SUPPLIERS OR VENDORS       10/26/2018              $120.00
ANDREW MILLER           5964 WESTMINSTER CT                                                            STEVENS POINT       WI           54482                                  SUPPLIERS OR VENDORS       10/31/2018               $57.96
ANDREW R JACKSON        STORE 554                   SHOPKO EMPLOYEE         1203 N MAIN STREET         ANDREWS             TX           79714-3630                             SUPPLIERS OR VENDORS       10/26/2018              $171.64
ANDREW R JACKSON        STORE 554                   SHOPKO EMPLOYEE         1203 N MAIN STREET         ANDREWS             TX           79714-3630                             SUPPLIERS OR VENDORS        11/2/2018              $163.96
ANDREW R JACKSON        STORE 554                   SHOPKO EMPLOYEE         1203 N MAIN STREET         ANDREWS             TX           79714-3630                             SUPPLIERS OR VENDORS       11/16/2018               $65.40
ANDREW R JACKSON        STORE 554                   SHOPKO EMPLOYEE         1203 N MAIN STREET         ANDREWS             TX           79714-3630                             SUPPLIERS OR VENDORS       11/30/2018              $237.09
ANDREW R JACKSON        STORE 554                   SHOPKO EMPLOYEE         1203 N MAIN STREET         ANDREWS             TX           79714-3630                             SUPPLIERS OR VENDORS       12/14/2018              $104.10
ANDREW R JACKSON        STORE 554                   SHOPKO EMPLOYEE         1203 N MAIN STREET         ANDREWS             TX           79714-3630                             SUPPLIERS OR VENDORS       12/20/2018              $531.57
ANDREW SEIDEN           2823 SOUTH STREET           53120                                              EAST TROY           WI           53120                                  SUPPLIERS OR VENDORS       11/26/2018               $15.40
ANDREW SIKKEMA          151 LITTLE LAKE ROAD                                                           MARQUETTE           MI           49855                                  SUPPLIERS OR VENDORS       10/25/2018               $42.00
ANDREW TESSMER          113 W LINDEN ST                                                                ABBOTSFORD          WI           54405                                  SUPPLIERS OR VENDORS       10/25/2018               $62.00
ANDREW VAN DYCK         1528 E COOLIDGE AVE                                                            APPLETON            WI           54915                                  SUPPLIERS OR VENDORS       12/17/2018               $12.94
ANDREW VON RUEDEN       P.O. BOX 28                                                                    LEBANON             WI           53047                                  SUPPLIERS OR VENDORS       11/26/2018               $25.00
ANDREW WATERS           108 S 20TH ST                                                                  ASHLAND             NE           68003                                  SUPPLIERS OR VENDORS        12/7/2018               $16.00
ANDREW ZINGEN           215 N. CENTER AVENUE                                                           JEFFERSON           WI           53549                                  SUPPLIERS OR VENDORS       11/16/2018               $40.32
ANDREWS COUNTY HEALTH
DEPARTMENT              208 NW 2ND STREET                                                              ANDREWS             TX           79714                                  SUPPLIERS OR VENDORS       12/18/2018              $150.00
ANDRIA NICKEL           STORE 2-018                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/9/2018              $452.57
ANDRIA NICKEL           STORE 2-018                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/27/2018            $1,005.87
ANDRIA NICKEL           STORE 2-018                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         1/5/2019            $1,785.28
ANDROMANA PRICE         P.O. BOX 308                                                                   FLORENCE            WI           54121                                  SUPPLIERS OR VENDORS       11/16/2018               $24.28

ANDY VAN ASTEN          576 HIGHLAND MEADOW TRAIL                                                      PULASKI             WI           54162                                  SUPPLIERS OR VENDORS        11/2/2018               $25.00

ANDYS LAWN & SNOW LLC   PO BOX 695                                                                     LESTER PRAIRIE      MN           55354                                  SUPPLIERS OR VENDORS       10/18/2018              $163.52

ANDYS LAWN & SNOW LLC   PO BOX 695                                                                     LESTER PRAIRIE      MN           55354                                  SUPPLIERS OR VENDORS        11/8/2018               $81.22
ANGEL GRIFFITH          5919 82 PL                                                                     KENOSHA             WI           53142                                  SUPPLIERS OR VENDORS       11/29/2018               $41.78
ANGEL LIND DAIRY INC    4092 US HWY 87 S                                                               ROUNDUP             MT           59072                                  SUPPLIERS OR VENDORS       10/18/2018              $151.65
ANGEL LIND DAIRY INC    4092 US HWY 87 S                                                               ROUNDUP             MT           59072                                  SUPPLIERS OR VENDORS       10/25/2018              $166.66
ANGEL LIND DAIRY INC    4092 US HWY 87 S                                                               ROUNDUP             MT           59072                                  SUPPLIERS OR VENDORS        11/1/2018              $175.46
ANGEL LIND DAIRY INC    4092 US HWY 87 S                                                               ROUNDUP             MT           59072                                  SUPPLIERS OR VENDORS        11/8/2018              $188.85
ANGEL LIND DAIRY INC    4092 US HWY 87 S                                                               ROUNDUP             MT           59072                                  SUPPLIERS OR VENDORS       11/15/2018              $140.13
ANGEL LIND DAIRY INC    4092 US HWY 87 S                                                               ROUNDUP             MT           59072                                  SUPPLIERS OR VENDORS       11/22/2018              $169.39
ANGEL LIND DAIRY INC    4092 US HWY 87 S                                                               ROUNDUP             MT           59072                                  SUPPLIERS OR VENDORS       11/29/2018              $130.84
ANGELA ANDRIACCHI       1065 RIVERVIEW                                                                 ISHPEMING           MI           49849                                  SUPPLIERS OR VENDORS        11/2/2018               $33.00
ANGELA BORAAS           373 MAIN STREET S. APT. 1                                                      ZUMBROTA            MN           55992                                  SUPPLIERS OR VENDORS       11/29/2018                $3.06
ANGELA CASIQUE          2026 NELSON AVE                                                                BELOIT              WI           53511                                  SUPPLIERS OR VENDORS        11/2/2018               $40.94
ANGELA FRIEDERICK       2408 PINEHURST CT                                                              DUBUQUE             IA           52002                                  SUPPLIERS OR VENDORS       10/25/2018               $23.00
ANGELA GANTENBEIN       STORE 164                   SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/9/2018              $286.75
ANGELA GEVING           90950 SUNDERMAN ROAD                                                           SPRINGFIELD         OR           97478                                  SUPPLIERS OR VENDORS       11/16/2018               $50.00
ANGELA HUDSON           727 WILLOW RUN STREET                                                          COTTAGE GROVE       WI           53527                                  SUPPLIERS OR VENDORS       11/12/2018                $1.00
ANGELA JOHNSON          76577 490TH AVE                                                                JACKSON             MN           56143                                  SUPPLIERS OR VENDORS        12/7/2018                $3.00
ANGELA LARSON           44720 CEDARCREST TRAIL                                                         HARRIS              MN           55032                                  SUPPLIERS OR VENDORS       11/30/2018               $18.30
ANGELA LARSON           44720 CEDARCREST TRAIL                                                         HARRIS              MN           55032                                  SUPPLIERS OR VENDORS       11/30/2018               $18.30



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ANGELA MARTIN          1007 W. LINDBERG ST                                                          APPLETON            WI           54914                                  SUPPLIERS OR VENDORS        11/28/2018               $23.98
ANGELA MESS            502 S MAIN STREET                                                            DEERFIELD           WI           53531                                  SUPPLIERS OR VENDORS         11/5/2018                $2.00
ANGELA NIELSON         493 FIRESTONE DR                                                             SANTAQUIN           UT           84655                                  SUPPLIERS OR VENDORS         12/7/2018               $54.68
ANGELA PEDERSON        308 COTTAGE GROVE AVE                                                        PRESTON             MN           55965                                  SUPPLIERS OR VENDORS         12/7/2018              $188.00
ANGELA ROUTT           9409 SPRING CREEK DR                                                         BELLEVUE            NE           68147                                  SUPPLIERS OR VENDORS        10/22/2018               $42.00
ANGELA TAVES           804 S CEDAR                                                                  MARSHFIELD          WI           54449                                  SUPPLIERS OR VENDORS        11/26/2018               $26.00
ANGELA THIEMANN        12014 QUAIL DRIVE                                                            BELLEVUE            NE           68123                                  SUPPLIERS OR VENDORS        12/13/2018               $23.00
ANGELA VACINEK         12625 GOVERNMENT ROAD                                                        PINE CITY           MN           55063                                  SUPPLIERS OR VENDORS        10/25/2018               $25.58
ANGELA WATSON          728 ELDON DRIVE                                                              LINCOLN             NE           68510                                  SUPPLIERS OR VENDORS        11/29/2018                $2.00
ANGELA WATSON          728 ELDON DRIVE                                                              LINCOLN             NE           68510                                  SUPPLIERS OR VENDORS        11/29/2018                $2.00
ANGELA WORDEN          STORE 646                  SHOPKO EMPLOYEE        3825 S HURON ROAD          STANDISH            MI           48658                                  SUPPLIERS OR VENDORS        12/11/2018               $29.44
ANGELA WORDEN          STORE 646                  SHOPKO EMPLOYEE        3825 S HURON ROAD          STANDISH            MI           48658                                  SUPPLIERS OR VENDORS        12/20/2018               $36.52
ANGELA WORDEN          STORE 646                  SHOPKO EMPLOYEE        3825 S HURON ROAD          STANDISH            MI           48658                                  SUPPLIERS OR VENDORS         1/15/2019               $14.72
ANGELI MANAGEMENT
CORPORATION            833 RIVERSIDE PLAZA                                                          IRON RIVER          MI           49935                                  SUPPLIERS OR VENDORS        11/1/2018            $8,198.56
ANGELI MANAGEMENT
CORPORATION            833 RIVERSIDE PLAZA                                                          IRON RIVER          MI           49935                                  SUPPLIERS OR VENDORS        12/3/2018            $9,873.56
ANGELIQUE ELLENSON     2579 6TH AVE.                                                                MONROE              WI           53566                                  SUPPLIERS OR VENDORS       10/25/2018               $58.00
ANGELLA MILLER         917 NORTH LINCOLN                                                            ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       10/26/2018               $23.00
ANITA BIESE            1619 WOOD LANE                                                               GREEN BAY           WI           54304                                  SUPPLIERS OR VENDORS       11/14/2018               $25.00
ANITA FOX              89251 DEMMING RD                                                             ELMIRA              OR           97437                                  SUPPLIERS OR VENDORS       12/20/2018               $23.37
ANITA JENSEN           2226 E SIENNA WAY                                                            APPLETON            WI           54913                                  SUPPLIERS OR VENDORS       11/14/2018                $8.09
ANITA KELLERMAN        603 CHURCH AVENUE                                                            NEKOOSA             WI           54457                                  SUPPLIERS OR VENDORS       11/26/2018               $36.80
ANITA LEAR             26460 COURT LANE #26                                                         LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS       11/29/2018               $12.80
ANITA LEAR             26460 COURT LANE #26                                                         LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS        12/5/2018               $51.20
ANITA MCDANIEL         1611 OREGON AVE                                                              CALDWELL            ID           83605                                  SUPPLIERS OR VENDORS       10/25/2018               $42.00
ANITA THISIUS          P.O. BOX 185                                                                 CLARKS GROVE        MN           56016                                  SUPPLIERS OR VENDORS       12/19/2018              $153.00
                                                                         705 W MARSHALL
ANITA TUCKER           STORE 213                  SHOPKO EMPLOYEE        HOWARD BLVD                LITTLEFIELD         TX           79339                                  SUPPLIERS OR VENDORS       12/14/2018              $263.78
ANN BROWNE             M601 CTY HWY C                                                               STRATFORD           WI           54484                                  SUPPLIERS OR VENDORS       11/29/2018              $270.01
ANN COLLINS            207 QUINCY STREET                                                            FRIENDSHIP          WI           53934                                  SUPPLIERS OR VENDORS       11/26/2018               $11.40
ANN FINK               322 HALCYON PLACE                                                            FORT ATKINSON       WI           53538                                  SUPPLIERS OR VENDORS       10/29/2018               $42.00
ANN FOSTER             6511 FRANCIS                                                                 LINCOLN             NE           68505                                  SUPPLIERS OR VENDORS       10/22/2018               $13.15
ANN FOSTER             6511 FRANCIS                                                                 LINCOLN             NE           68505                                  SUPPLIERS OR VENDORS       10/29/2018               $60.85
ANN HAMMANN            N6540 CTY E                                                                  HORICON             WI           53032                                  SUPPLIERS OR VENDORS       11/26/2018                $3.95
ANN MILLIGAN           STORE 2-792                SHOPKO EMPLOYEE        79 HOMETOWN DRIVE          TOMAHAWK            WI           54487-0000                             SUPPLIERS OR VENDORS        11/8/2018              $549.36
ANN MILLIGAN           STORE 2-792                SHOPKO EMPLOYEE        79 HOMETOWN DRIVE          TOMAHAWK            WI           54487-0000                             SUPPLIERS OR VENDORS        12/6/2018              $287.76
ANN PRUKA              1053 W 7TH ST                                                                WINONA              MN           55987                                  SUPPLIERS OR VENDORS       11/29/2018               $16.00
ANN SCHRADER           1903 SCHOOL LN                                                               GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS       11/26/2018               $25.00
ANN STETTER            N7162 OAK STREET                                                             HOLMEN              WI           54636                                  SUPPLIERS OR VENDORS       12/19/2018               $49.96
ANN ZUMACH             STORE 2-014                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/29/2018              $154.19
ANN ZUMACH             STORE 2-014                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/13/2018              $499.07
ANN ZUMACH             607 EAST ST                                                                  STOUGHTON           WI           53589                                  SUPPLIERS OR VENDORS       10/25/2018               $10.00
ANNA KRUEGER           N6144 CNTY. TRUNK W                                                          NEW LONDON          WI           54961                                  SUPPLIERS OR VENDORS        11/8/2018               $72.00
ANNA KRUEGER           305 EAST BERLIN STREET                                                       NESHKORO            WI           54960                                  SUPPLIERS OR VENDORS       11/26/2018               $35.00
ANNA RADOMSKI-SMITH    STORE 070                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/26/2018            $1,047.47
ANNA RADOMSKI-SMITH    STORE 070                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/9/2018            $1,291.29
ANNA RADOMSKI-SMITH    STORE 070                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/27/2018              $595.98
ANNA RAE MARSHALL      P O BOX 95                                                                   HOVEN               SD           57450                                  SUPPLIERS OR VENDORS       11/26/2018               $48.64
ANNA ROCQUE            1455 LOFFLER CT                                                              CHIPPEWA FALLS      WI           54729                                  SUPPLIERS OR VENDORS       10/22/2018               $25.00
ANNA RUFF              7241 LAUREL AIRPORT ROAD                                                     BILLINGS            MT           59106                                  SUPPLIERS OR VENDORS       11/12/2018               $52.50
ANNA SAMPSON           417 ROLLINS                                                                  MISSOULA            MT           59801                                  SUPPLIERS OR VENDORS       11/26/2018               $31.00
ANNA SCHWARTZ          917 E. 1ST ST.                                                               REDFIELD            SD           57469                                  SUPPLIERS OR VENDORS        12/7/2018               $10.00
ANNA TOSH              332 DAVID COURT                                                              MISSOULA            MT           59802                                  SUPPLIERS OR VENDORS       11/28/2018              $198.00



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                                                                                                                                                                               Reasons for payment or    Dates of     Total Amount or
      Creditor Name              Address1                Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
ANNA WHEELER          1233 S 20TH ST                                                                 SHEBOYGAN           WI           53081                                  SUPPLIERS OR VENDORS        10/31/2018               $34.78
ANNA ZAHRINGER        404 BENTWOOD DR.                                                               BRILLION            WI           54110                                  SUPPLIERS OR VENDORS         12/7/2018                $5.58
ANNA ZAHRINGER        404 BENTWOOD DR.                                                               BRILLION            WI           54110                                  SUPPLIERS OR VENDORS         12/7/2018               $20.51
ANNE BAUMANN          111 E. LAWTON ST                                                               EDGERTON            WI           53534                                  SUPPLIERS OR VENDORS        10/29/2018               $35.00
ANNE BERG             S8351 TODD RD                                                                  EAU CLAIRE          WI           54701                                  SUPPLIERS OR VENDORS        11/29/2018               $25.00
ANNE BURKE            32508 DILLARD RD                                                               EUGENE              OR           97405                                  SUPPLIERS OR VENDORS        11/16/2018               $32.02
ANNE CARLSON          3200 29TH STREET SOUTH                                                         LA CROSSE           WI           54601                                  SUPPLIERS OR VENDORS         11/5/2018               $24.94
ANNE CLOUGH           RR2 BOX 255                                                                    CARROLLTON          IL           62016                                  SUPPLIERS OR VENDORS         11/9/2018               $45.00

ANNE DRURY            STORE OPERATIONS/STORE 070 SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/19/2018              $233.98

ANNE DRURY            STORE OPERATIONS/STORE 070 SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/26/2018              $433.85

ANNE DRURY            STORE OPERATIONS/STORE 070 SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/9/2018              $368.60

ANNE DRURY            STORE OPERATIONS/STORE 070 SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/16/2018              $275.38

ANNE DRURY            STORE OPERATIONS/STORE 070 SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/27/2018              $203.44

ANNE DRURY            STORE OPERATIONS/STORE 070 SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/30/2018              $122.09

ANNE DRURY            STORE OPERATIONS/STORE 070 SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/11/2018              $201.63

ANNE DRURY            STORE OPERATIONS/STORE 070 SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/14/2018              $272.40

ANNE DRURY            STORE OPERATIONS/STORE 070   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/29/2018              $301.99
ANNE FINSTAD          303 TOWNS VALLEY RD                                                            RIVER FALLS         WI           54022                                  SUPPLIERS OR VENDORS        12/7/2018               $39.00
ANNE GERO             110 STUART ST                                                                  COLUMBUS            WI           53925                                  SUPPLIERS OR VENDORS       11/27/2018              $138.76
ANNE NIEMINEN         175 GOLDEN LAKE TRAIL                                                          IRON RIVER          MI           49935                                  SUPPLIERS OR VENDORS       11/26/2018               $16.00
ANNE STRAUBE          3708 80TH ST                                                                   FRANKSVILLE         WI           53126                                  SUPPLIERS OR VENDORS       10/30/2018              $407.37
ANNETE MCLAIN         PO BOX 453                                                                     LAUREL              MT           59044                                  SUPPLIERS OR VENDORS        12/7/2018               $40.00
ANNETTE FROST         PO BOX 303                                                                     HOVEN               SD           57450                                  SUPPLIERS OR VENDORS       10/24/2018               $48.64
ANNETTE FROST         PO BOX 303                                                                     HOVEN               SD           57450                                  SUPPLIERS OR VENDORS        11/1/2018               $12.16
ANNETTE MCKEOUGH      AUDIT SERVICES               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       10/19/2018            $1,019.71
ANNETTE MCKEOUGH      AUDIT SERVICES               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS        11/2/2018              $343.86
ANNETTE MCKEOUGH      AUDIT SERVICES               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       11/27/2018              $509.13
ANNETTE MCKEOUGH      AUDIT SERVICES               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       11/30/2018              $277.52
ANNETTE MONAHAN       STORE 4-018                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/25/2018              $181.49
ANNETTE MURRAY        111 SHENANDOAH DR                                                              GALENA              IL           61036                                  SUPPLIERS OR VENDORS        11/1/2018               $34.00
ANNETTE MURRAY        111 SHENANDOAH DR                                                              GALENA              IL           61036                                  SUPPLIERS OR VENDORS       11/30/2018                $4.00
ANNETTE REED          541 EDGEWOOD DR                                                                GREEN BAY           WI           54302                                  SUPPLIERS OR VENDORS        12/7/2018                $1.00
ANNIE PERETZ          STORE 112                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/9/2018              $220.42
ANNMARIE ALTHOFF      P.O. BOX 1315                                                                  WAUTOMA             WI           54982                                  SUPPLIERS OR VENDORS        12/7/2018               $73.00
ANNYA KNAUTZ          1318 97TH AVENUE                                                               KENOSHA             WI           53144                                  SUPPLIERS OR VENDORS       12/20/2018               $10.00
ANSLI PETERSEN        6600 SW 25TH                                                                   LINCOLN             NE           68523                                  SUPPLIERS OR VENDORS       11/29/2018               $23.00
ANTHONY A MININO      STORE PLANNING               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        1/15/2019              $162.85
ANTHONY ADAMS         310 3RD AVE NW                                                                 RICE                MN           56367                                  SUPPLIERS OR VENDORS        11/5/2018              $198.33
ANTHONY BARNETT       3637 OLENE CIRCLE                                                              SALT LAKE CITY      UT           84120                                  SUPPLIERS OR VENDORS        11/2/2018               $14.98
ANTHONY BENTZ         STORE 023                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/1/2018               $57.77
ANTHONY CHAMPINE      N9008 HICKORY POINT ROAD                                                       BEAVER DAM          WI           53916                                  SUPPLIERS OR VENDORS       11/29/2018               $19.00
ANTHONY DIPRIZIO      413 MCCOMB STREET                                                              FORT ATKINSON       WI           53538                                  SUPPLIERS OR VENDORS       12/20/2018               $20.00
ANTHONY GALLARDO      4215 SHIRLEY ST                                                                OMAHA               NE           68105                                  SUPPLIERS OR VENDORS        12/7/2018              $130.00
ANTHONY KUHNKE        7212 DEPOT STREET                                                              SPRINGFIELD         WI           53176                                  SUPPLIERS OR VENDORS       11/26/2018               $78.00
ANTHONY MICHALSKI     STORE 2-015                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/15/2018               $11.99



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                                                                                                                                                                                   Reasons for payment or    Dates of     Total Amount or
      Creditor Name                   Address1               Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
ANTHONY NOVELLO            STORE 2-140                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/29/2018               $37.56
ANTHONY SCHILLER           391 DIXIE ST                                                                  FOND DU LAC         WI           54935                                  SUPPLIERS OR VENDORS        12/21/2018               $45.00
ANTHONY SMITH              6828 N 41ST ST                                                                MILWAUKEE           WI           53209                                  SUPPLIERS OR VENDORS         11/9/2018               $19.00
ANTLER USA LIMITED         1111 N PLAZA DR SUITE 670                                                     SCHAUMBURG          IL           60173                                  SUPPLIERS OR VENDORS        10/25/2018           $32,401.55
ANTLER USA LIMITED         1111 N PLAZA DR SUITE 670                                                     SCHAUMBURG          IL           60173                                  SUPPLIERS OR VENDORS         11/1/2018           $50,339.50
ANTOINE DAVIS              STORE 4-504                 SHOPKO EMPLOYEE        W 3208 VAN ROY ROAD        APPLETON            WI           54915-0000                             SUPPLIERS OR VENDORS        11/29/2018               $26.60
ANTOINETTE DECKERT         7427 N MAIN                                                                   EAST DUBUQUE        IL           61025                                  SUPPLIERS OR VENDORS        10/24/2018               $40.00
ANTOINETTE WINTHER         1608 NICKLAUS DRIVE                                                           ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS         11/1/2018               $12.16
ANTOINETTE WINTHER         1608 NICKLAUS DRIVE                                                           ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS         11/5/2018               $48.64
ANTON GRIEBENOW            606 3RD ST                                                                    KASSON              MN           55944                                  SUPPLIERS OR VENDORS        10/25/2018               $42.00
ANTONIO CRUZ               1106 CROOKS ST                                                                GREEN BAY           WI           54301                                  SUPPLIERS OR VENDORS         11/9/2018               $23.00
ANTWONAE HANEY             3305 60TH ST.                                                                 KENOSHA             WI           53144                                  SUPPLIERS OR VENDORS        12/17/2018               $20.00
APEX PRINT TECHNOLOGIES
LLC                        MI 35                       PO BOX 9201                                       MINNEAPOLIS         MN           55480-9201                             SUPPLIERS OR VENDORS        11/2/2018            $2,454.90
APEX PRINT TECHNOLOGIES
LLC                        MI 35                       PO BOX 9201                                       MINNEAPOLIS         MN           55480-9201                             SUPPLIERS OR VENDORS       11/30/2018            $2,119.00
APEX PRINT TECHNOLOGIES
LLC                        MI 35                       PO BOX 9201                                       MINNEAPOLIS         MN           55480-9201                             SUPPLIERS OR VENDORS       12/19/2018            $2,634.55

APG MEDIA OF WI            REGIONAL ACCOUNTING OFFICE PO BOX 410                                         ASHLAND             WI           54806                                  SUPPLIERS OR VENDORS       10/25/2018               $65.50
APL - AMERICAN PRESIDENT
LINES LTD                  16220 N SCOTTSDALE ROAD                                                       SCOTTSDALE          AZ           85254                                  SUPPLIERS OR VENDORS       10/26/2018           $15,755.00
APL - AMERICAN PRESIDENT
LINES LTD                  16220 N SCOTTSDALE ROAD                                                       SCOTTSDALE          AZ           85254                                  SUPPLIERS OR VENDORS        11/9/2018           $36,038.00
APL - AMERICAN PRESIDENT
LINES LTD                  16220 N SCOTTSDALE ROAD                                                       SCOTTSDALE          AZ           85254                                  SUPPLIERS OR VENDORS       11/30/2018            $9,700.00
APL - AMERICAN PRESIDENT
LINES LTD                  16220 N SCOTTSDALE ROAD                                                       SCOTTSDALE          AZ           85254                                  SUPPLIERS OR VENDORS       12/22/2018           $24,065.00
APOLLO HEALTH & BEAUTY
CARE                       1 APOLLO PLACE                                                                TORONTO             ON           M3J 0H2      CANADA                    SUPPLIERS OR VENDORS       10/23/2018              $485.96
APOLLO HEALTH & BEAUTY
CARE                       1 APOLLO PLACE                                                                TORONTO             ON           M3J 0H2      CANADA                    SUPPLIERS OR VENDORS       10/26/2018              $682.59
APOLLO HEALTH & BEAUTY
CARE                       1 APOLLO PLACE                                                                TORONTO             ON           M3J 0H2      CANADA                    SUPPLIERS OR VENDORS       10/30/2018            $5,440.92
APOLLO HEALTH & BEAUTY
CARE                       1 APOLLO PLACE                                                                TORONTO             ON           M3J 0H2      CANADA                    SUPPLIERS OR VENDORS       11/13/2018           $12,723.84
APOLLO HEALTH & BEAUTY
CARE                       1 APOLLO PLACE                                                                TORONTO             ON           M3J 0H2      CANADA                    SUPPLIERS OR VENDORS        12/4/2018           $17,201.47
APOTHECARY PRODUCTS
INCORPORATED               PO BOX 856810                                                                 MINNEAPOLIS         MN           55485-6810                             SUPPLIERS OR VENDORS       10/18/2018            $3,974.64
APOTHECARY PRODUCTS
INCORPORATED               PO BOX 856810                                                                 MINNEAPOLIS         MN           55485-6810                             SUPPLIERS OR VENDORS       10/23/2018              $261.94
APOTHECARY PRODUCTS
INCORPORATED               PO BOX 856810                                                                 MINNEAPOLIS         MN           55485-6810                             SUPPLIERS OR VENDORS       10/23/2018            $1,022.76
APOTHECARY PRODUCTS
INCORPORATED               PO BOX 856810                                                                 MINNEAPOLIS         MN           55485-6810                             SUPPLIERS OR VENDORS       10/25/2018            $2,241.84
APOTHECARY PRODUCTS
INCORPORATED               PO BOX 856810                                                                 MINNEAPOLIS         MN           55485-6810                             SUPPLIERS OR VENDORS       10/30/2018              $164.62
APOTHECARY PRODUCTS
INCORPORATED               PO BOX 856810                                                                 MINNEAPOLIS         MN           55485-6810                             SUPPLIERS OR VENDORS       10/30/2018            $1,837.75
APOTHECARY PRODUCTS
INCORPORATED               PO BOX 856810                                                                 MINNEAPOLIS         MN           55485-6810                             SUPPLIERS OR VENDORS        11/1/2018            $3,557.16
APOTHECARY PRODUCTS
INCORPORATED               PO BOX 856810                                                                 MINNEAPOLIS         MN           55485-6810                             SUPPLIERS OR VENDORS        11/6/2018            $2,934.28



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                                                                                                                                                                             Reasons for payment or    Dates of     Total Amount or
       Creditor Name            Address1                Address2                  Address3                 City              State       Zip              Country                   transfer          Payments            Value
APOTHECARY PRODUCTS
INCORPORATED           PO BOX 856810                                                                MINNEAPOLIS         MN           55485-6810                             SUPPLIERS OR VENDORS       11/8/2018            $1,299.96
APOTHECARY PRODUCTS
INCORPORATED           PO BOX 856810                                                                MINNEAPOLIS         MN           55485-6810                             SUPPLIERS OR VENDORS      11/13/2018              $51.74
APOTHECARY PRODUCTS
INCORPORATED           PO BOX 856810                                                                MINNEAPOLIS         MN           55485-6810                             SUPPLIERS OR VENDORS      11/13/2018             $527.40
APOTHECARY PRODUCTS
INCORPORATED           PO BOX 856810                                                                MINNEAPOLIS         MN           55485-6810                             SUPPLIERS OR VENDORS      11/15/2018            $3,300.84
APOTHECARY PRODUCTS
INCORPORATED           PO BOX 856810                                                                MINNEAPOLIS         MN           55485-6810                             SUPPLIERS OR VENDORS      11/27/2018             $468.93
APOTHECARY PRODUCTS
INCORPORATED           PO BOX 856810                                                                MINNEAPOLIS         MN           55485-6810                             SUPPLIERS OR VENDORS      11/27/2018            $2,345.76
APOTHECARY PRODUCTS
INCORPORATED           PO BOX 856810                                                                MINNEAPOLIS         MN           55485-6810                             SUPPLIERS OR VENDORS      11/29/2018            $3,401.28
APOTHECARY PRODUCTS
INCORPORATED           PO BOX 856810                                                                MINNEAPOLIS         MN           55485-6810                             SUPPLIERS OR VENDORS       12/4/2018             $144.22
APOTHECARY PRODUCTS
INCORPORATED           PO BOX 856810                                                                MINNEAPOLIS         MN           55485-6810                             SUPPLIERS OR VENDORS       12/6/2018             $205.71
APOTHECARY PRODUCTS
INCORPORATED           PO BOX 856810                                                                MINNEAPOLIS         MN           55485-6810                             SUPPLIERS OR VENDORS       12/6/2018            $3,787.64
APOTHECARY PRODUCTS
INCORPORATED           PO BOX 856810                                                                MINNEAPOLIS         MN           55485-6810                             SUPPLIERS OR VENDORS      12/13/2018             $341.44
APOTHECARY PRODUCTS
INCORPORATED           PO BOX 856810                                                                MINNEAPOLIS         MN           55485-6810                             SUPPLIERS OR VENDORS      12/13/2018            $5,026.01
APOTHECARY PRODUCTS
INCORPORATED           PO BOX 856810                                                                MINNEAPOLIS         MN           55485-6810                             SUPPLIERS OR VENDORS      12/15/2018             $151.98
APOTHECARY PRODUCTS
INCORPORATED           PO BOX 856810                                                                MINNEAPOLIS         MN           55485-6810                             SUPPLIERS OR VENDORS      12/19/2018             $426.58
APOTHECARY PRODUCTS
INCORPORATED           PO BOX 856810                                                                MINNEAPOLIS         MN           55485-6810                             SUPPLIERS OR VENDORS      12/19/2018            $1,855.56
APOTHECARY PRODUCTS
INCORPORATED           PO BOX 856810                                                                MINNEAPOLIS         MN           55485-6810                             SUPPLIERS OR VENDORS      12/20/2018              $43.33
APOTHECARY PRODUCTS
INCORPORATED           PO BOX 856810                                                                MINNEAPOLIS         MN           55485-6810                             SUPPLIERS OR VENDORS      12/20/2018            $1,705.92
APOTHECARY PRODUCTS
INCORPORATED           PO BOX 856810                                                                MINNEAPOLIS         MN           55485-6810                             SUPPLIERS OR VENDORS      12/21/2018            $1,251.88
APOTHECARY PRODUCTS
INCORPORATED           PO BOX 856810                                                                MINNEAPOLIS         MN           55485-6810                             SUPPLIERS OR VENDORS      12/22/2018              $87.33
APOTHECARY PRODUCTS
INCORPORATED           PO BOX 856810                                                                MINNEAPOLIS         MN           55485-6810                             SUPPLIERS OR VENDORS      12/28/2018             $173.32
APOTHECARY PRODUCTS
INCORPORATED           PO BOX 856810                                                                MINNEAPOLIS         MN           55485-6810                             SUPPLIERS OR VENDORS      12/28/2018            $1,955.32
APOTHECARY PRODUCTS
INCORPORATED           PO BOX 856810                                                                MINNEAPOLIS         MN           55485-6810                             SUPPLIERS OR VENDORS         1/5/2019            $165.29
APOTHECARY PRODUCTS
INCORPORATED           PO BOX 856810                                                                MINNEAPOLIS         MN           55485-6810                             SUPPLIERS OR VENDORS         1/8/2019           $3,410.20
APPLE CITY ELECTRIC
INCORPORATED           490 OHME GARDEN RD                                                           WENATCHEE           WA           98801-0000                             SUPPLIERS OR VENDORS      11/15/2018            $1,710.00

APPRISS INCORPORATED   ATTN ACCOUNTS RECEIVABLE   PO BOX 639034                                     CINCINNATI          OH           45263-9034                             SUPPLIERS OR VENDORS       11/1/2018            $4,375.00

APPRISS INCORPORATED   ATTN ACCOUNTS RECEIVABLE   PO BOX 639034                                     CINCINNATI          OH           45263-9034                             SUPPLIERS OR VENDORS      11/15/2018           $4,375.00
APRIL HILL             1215 S 44TH ST                                                               SPRINGFIELD         OR           97478                                  SUPPLIERS OR VENDORS      10/23/2018              $69.60
AQUARIUS LIMITED       3200 SOUTH KINGSHIGHWAY                                                      ST LOUIS            MO           63139-0000                             SUPPLIERS OR VENDORS      10/18/2018          $88,671.20



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                                                                                                                                                                                    Reasons for payment or    Dates of     Total Amount or
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AQUARIUS LIMITED           3200 SOUTH KINGSHIGHWAY                                                        ST LOUIS            MO           63139-0000                             SUPPLIERS OR VENDORS        10/25/2018           $50,802.00
AQUARIUS LIMITED           3200 SOUTH KINGSHIGHWAY                                                        ST LOUIS            MO           63139-0000                             SUPPLIERS OR VENDORS         11/1/2018           $14,214.00
AQUARIUS LIMITED           3200 SOUTH KINGSHIGHWAY                                                        ST LOUIS            MO           63139-0000                             SUPPLIERS OR VENDORS        11/22/2018           $28,478.59
AQUARIUS LIMITED           3200 SOUTH KINGSHIGHWAY                                                        ST LOUIS            MO           63139-0000                             SUPPLIERS OR VENDORS        11/29/2018            $7,308.00
ARAMARK UNIFORM &
CAREER APPAREL INC         22808 NETWORK PLACE                                                            CHICAGO             IL           60673-1228                             SUPPLIERS OR VENDORS        11/1/2018           $39,895.98
ARBYS                      91 16TH STREET                                                                 WHEATLAND           WY           82201                                  SUPPLIERS OR VENDORS       11/15/2018               $91.00

ARCADIA BEVERAGE
COMPANY INCORPORATED       415 SOBOTTA STREET           PAM TO ORACLE                                     ARCADIA             WI           54612                                  SUPPLIERS OR VENDORS       10/23/2018               $91.05

ARCADIA BEVERAGE
COMPANY INCORPORATED       415 SOBOTTA STREET           PAM TO ORACLE                                     ARCADIA             WI           54612                                  SUPPLIERS OR VENDORS       10/25/2018              $220.15

ARCADIA BEVERAGE
COMPANY INCORPORATED       415 SOBOTTA STREET           PAM TO ORACLE                                     ARCADIA             WI           54612                                  SUPPLIERS OR VENDORS        11/6/2018               $52.40

ARCADIA BEVERAGE
COMPANY INCORPORATED       415 SOBOTTA STREET           PAM TO ORACLE                                     ARCADIA             WI           54612                                  SUPPLIERS OR VENDORS       11/13/2018              $167.40

ARCADIA BEVERAGE
COMPANY INCORPORATED       415 SOBOTTA STREET           PAM TO ORACLE                                     ARCADIA             WI           54612                                  SUPPLIERS OR VENDORS       11/22/2018              $111.70

ARCADIA BEVERAGE
COMPANY INCORPORATED       415 SOBOTTA STREET           PAM TO ORACLE                                     ARCADIA             WI           54612                                  SUPPLIERS OR VENDORS       11/27/2018              $163.60

ARCADIA BEVERAGE
COMPANY INCORPORATED       415 SOBOTTA STREET           PAM TO ORACLE                                     ARCADIA             WI           54612                                  SUPPLIERS OR VENDORS        12/4/2018               $64.75

ARCADIA BEVERAGE
COMPANY INCORPORATED       415 SOBOTTA STREET           PAM TO ORACLE                                     ARCADIA             WI           54612                                  SUPPLIERS OR VENDORS       12/11/2018              $105.15

ARCADIA BEVERAGE
COMPANY INCORPORATED       415 SOBOTTA STREET           PAM TO ORACLE                                     ARCADIA             WI           54612                                  SUPPLIERS OR VENDORS       12/20/2018               $84.25

ARCADIA BEVERAGE
COMPANY INCORPORATED       415 SOBOTTA STREET           PAM TO ORACLE                                     ARCADIA             WI           54612                                  SUPPLIERS OR VENDORS       12/27/2018               $98.10
ARCP SH BROKEN BOW NE      COLE OPERATING PARTNERSHIP   C/O PROPERTY           2325 E CAMELBACK ROAD
LLC                        IV LP                        ACCOUNTANT             STE 1100                   PHOENIX             AZ           85016                                  SUPPLIERS OR VENDORS        11/1/2018           $17,806.95
ARCP SH BROKEN BOW NE      COLE OPERATING PARTNERSHIP   C/O PROPERTY           2325 E CAMELBACK ROAD
LLC                        IV LP                        ACCOUNTANT             STE 1100                   PHOENIX             AZ           85016                                  SUPPLIERS OR VENDORS        12/1/2018           $17,806.95
                           COLE REAL ESTATE INCOME      ATTN PROPERTY          2325 E CAMELBACK ROAD
ARCP SH LARNED KS LLC      STRATEGY                     ACCOUNTANT             SUITE 1100                 PHOENIX             AZ           85016                                  SUPPLIERS OR VENDORS        11/1/2018           $19,042.38
                           COLE REAL ESTATE INCOME      ATTN PROPERTY          2325 E CAMELBACK ROAD
ARCP SH LARNED KS LLC      STRATEGY                     ACCOUNTANT             SUITE 1100                 PHOENIX             AZ           85016                                  SUPPLIERS OR VENDORS        12/1/2018           $19,042.38
                                                        2325 E CAMELBACK
ARCP SH VALENTINE NE LLC   SUITE 1100                   ROAD                                              PHOENIX             AZ           85016                                  SUPPLIERS OR VENDORS        11/1/2018           $31,905.17
                                                        2325 E CAMELBACK
ARCP SH VALENTINE NE LLC   SUITE 1100                   ROAD                                              PHOENIX             AZ           85016                                  SUPPLIERS OR VENDORS        12/1/2018           $31,905.17
ARCTIC GLACIER PREMIUM
ICE                        NEBRASKA REGION              1654 MARTHALER LANE                               WEST ST PAUL        MN           55118                                  SUPPLIERS OR VENDORS       10/18/2018              $771.60
ARCTIC GLACIER PREMIUM
ICE                        NEBRASKA REGION              1654 MARTHALER LANE                               WEST ST PAUL        MN           55118                                  SUPPLIERS OR VENDORS       10/25/2018              $906.22




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ARCTIC GLACIER PREMIUM
ICE                      NEBRASKA REGION            1654 MARTHALER LANE                                WEST ST PAUL        MN           55118                                  SUPPLIERS OR VENDORS       11/1/2018            $847.83
ARCTIC GLACIER PREMIUM
ICE                      NEBRASKA REGION            1654 MARTHALER LANE                                WEST ST PAUL        MN           55118                                  SUPPLIERS OR VENDORS       11/8/2018            $120.90
ARCTIC GLACIER PREMIUM
ICE                      NEBRASKA REGION            1654 MARTHALER LANE                                WEST ST PAUL        MN           55118                                  SUPPLIERS OR VENDORS      11/15/2018            $179.50
ARCTIC GLACIER PREMIUM
ICE                      NEBRASKA REGION            1654 MARTHALER LANE                                WEST ST PAUL        MN           55118                                  SUPPLIERS OR VENDORS      11/22/2018            $231.04
ARCTIC GLACIER PREMIUM
ICE                      NEBRASKA REGION            1654 MARTHALER LANE                                WEST ST PAUL        MN           55118                                  SUPPLIERS OR VENDORS      11/29/2018            $201.96
ARCTIC GLACIER PREMIUM
ICE                      NEBRASKA REGION            1654 MARTHALER LANE                                WEST ST PAUL        MN           55118                                  SUPPLIERS OR VENDORS      12/20/2018            $824.40
ARCTIC GLACIER PREMIUM
ICE                      NEBRASKA REGION            1654 MARTHALER LANE                                WEST ST PAUL        MN           55118                                  SUPPLIERS OR VENDORS      12/21/2018             $20.46
ARCTIC GLACIER PREMIUM
ICE                      NEBRASKA REGION             1654 MARTHALER LANE                               WEST ST PAUL        MN           55118                                  SUPPLIERS OR VENDORS      12/27/2018             $75.80
ARCTIC ICE               605 RIVERFRONT DRIVE                                                          SALMON              ID           83467                                  SUPPLIERS OR VENDORS      11/15/2018            $277.50
ARCTIC ICE               605 RIVERFRONT DRIVE                                                          SALMON              ID           83467                                  SUPPLIERS OR VENDORS      12/20/2018             $90.00
ARDELL FLATEN            750 WEST LYONS APT #10      P.O. BOX 10                                       GARNER              IA           50438                                  SUPPLIERS OR VENDORS      10/29/2018             $48.00
ARDELL FLATEN            750 WEST LYONS APT #10      P.O. BOX 10                                       GARNER              IA           50438                                  SUPPLIERS OR VENDORS      11/26/2018             $12.00
ARDYCE HADRICK           BOX 296                                                                       FAULKTON            SD           57438                                  SUPPLIERS OR VENDORS      10/24/2018             $48.64
ARDYCE HADRICK           BOX 296                                                                       FAULKTON            SD           57438                                  SUPPLIERS OR VENDORS      11/26/2018             $12.16
ARDYS RAMEY              108 E. MILWAUKEE ST APT. 2                                                    WATERTOWN           WI           53094                                  SUPPLIERS OR VENDORS       12/5/2018             $25.00
ARG LUMAR LLC            7762 SUGAR BEND DRIVE                                                         ORLANDO             FL           32819                                  SUPPLIERS OR VENDORS      12/19/2018         $28,008.41
                         101 LARKSPUR LANDING CIRCLE
ARGO WHITEFISH LLC       SUITE 120                                                                     LARKSPUR            CA           94939                                  SUPPLIERS OR VENDORS       11/1/2018           $8,905.00
                         101 LARKSPUR LANDING CIRCLE
ARGO WHITEFISH LLC       SUITE 120                                                                     LARKSPUR            CA           94939                                  SUPPLIERS OR VENDORS       11/3/2018         $15,362.92
                         101 LARKSPUR LANDING CIRCLE
ARGO WHITEFISH LLC       SUITE 120                                                                     LARKSPUR            CA           94939                                  SUPPLIERS OR VENDORS      11/30/2018           $7,914.00
                         101 LARKSPUR LANDING CIRCLE
ARGO WHITEFISH LLC       SUITE 120                                                                     LARKSPUR            CA           94939                                  SUPPLIERS OR VENDORS       12/1/2018           $8,905.00
                         101 LARKSPUR LANDING CIRCLE
ARGO WHITEFISH LLC       SUITE 120                                                                     LARKSPUR            CA           94939                                  SUPPLIERS OR VENDORS       12/5/2018         $15,409.82
                         101 LARKSPUR LANDING CIRCLE
ARGO WHITEFISH LLC       SUITE 120                                                                     LARKSPUR            CA           94939                                  SUPPLIERS OR VENDORS      12/21/2018           $2,700.00
ARIEL LECHUGA            264 1ST NE                                                                    BRITT               IA           50423                                  SUPPLIERS OR VENDORS      10/29/2018              $56.22
ARIEL WARD               1001 DURAND DR                                                                BELLEVUE            NE           68005                                  SUPPLIERS OR VENDORS      10/26/2018              $23.00
ARIZONA DEPARTMENT OF
REVENUE                  P.O. BOX 29009                                                                PHONENIX            AZ           85038                                  SALES & USE TAX           10/22/2018         $23,549.30
ARIZONA UNCLAIMED
PROPERTY UNIT            UNCLAIMED PROPERTY UNIT    1600 WEST MONROE        DIVISION CODE 10           PHOENIX             AZ           85007                                  SUPPLIERS OR VENDORS      10/24/2018               $2.00
ARLEE HOME FASHIONS
INCORPORATED             261 5TH AVE 6TH FLOOR                                                         NEW YORK            NY           10016-0000                             SUPPLIERS OR VENDORS      10/18/2018            $978.36
ARLEE HOME FASHIONS
INCORPORATED             261 5TH AVE 6TH FLOOR                                                         NEW YORK            NY           10016-0000                             SUPPLIERS OR VENDORS      10/18/2018           $2,004.48
ARLEE HOME FASHIONS
INCORPORATED             261 5TH AVE 6TH FLOOR                                                         NEW YORK            NY           10016-0000                             SUPPLIERS OR VENDORS      10/25/2018         $20,161.51
ARLEE HOME FASHIONS
INCORPORATED             261 5TH AVE 6TH FLOOR                                                         NEW YORK            NY           10016-0000                             SUPPLIERS OR VENDORS       11/1/2018            $568.57
ARLEE HOME FASHIONS
INCORPORATED             261 5TH AVE 6TH FLOOR                                                         NEW YORK            NY           10016-0000                             SUPPLIERS OR VENDORS       11/1/2018         $63,010.80
ARLEE HOME FASHIONS
INCORPORATED             261 5TH AVE 6TH FLOOR                                                         NEW YORK            NY           10016-0000                             SUPPLIERS OR VENDORS      11/15/2018           $3,272.16



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                                                                                                                                                                               Reasons for payment or    Dates of    Total Amount or
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ARLEE HOME FASHIONS
INCORPORATED           261 5TH AVE 6TH FLOOR                                                          NEW YORK            NY           10016-0000                             SUPPLIERS OR VENDORS      11/22/2018         $19,851.05
ARLEE HOME FASHIONS
INCORPORATED           261 5TH AVE 6TH FLOOR                                                          NEW YORK            NY           10016-0000                             SUPPLIERS OR VENDORS      11/29/2018         $14,277.54
ARLEEN HEIDENREICH     38362 151ST ST.                                                                NORTHVILLE          SD           57465                                  SUPPLIERS OR VENDORS      10/29/2018             $12.16
ARLEEN HEIDENREICH     38362 151ST ST.                                                                NORTHVILLE          SD           57465                                  SUPPLIERS OR VENDORS      12/17/2018             $48.64
ARLEEN NEW             PO BOX 53                                                                      WOONSOCKET          SD           57385                                  SUPPLIERS OR VENDORS       12/7/2018             $44.80
ARLENA PEREZ           336 GRANT ST                                                                   FORT ATKINSON       WI           53538                                  SUPPLIERS OR VENDORS       11/7/2018             $30.00
ARLENE BUTTERFIELD     903 WEST A STREET                                                              IRON MOUNTAIN       MI           49801                                  SUPPLIERS OR VENDORS      11/26/2018             $62.46
ARLENE DOEDEN          212 12TH ST                 APT 605                                            WORTHINGTON         MN           56187                                  SUPPLIERS OR VENDORS      12/10/2018             $15.30
ARLENE FECHTER         107 CEDAR RIDGE DR. #N205                                                      WEST BEND           WI           53095                                  SUPPLIERS OR VENDORS       11/5/2018             $41.60
ARLENE HANSEL          1713 ROSS ST.                                                                  SIOUX CITY          IA           51103                                  SUPPLIERS OR VENDORS      10/24/2018             $41.60
ARLENE HANSEL          1713 ROSS ST.                                                                  SIOUX CITY          IA           51103                                  SUPPLIERS OR VENDORS      10/26/2018             $10.40
ARLENE NAGY            P. O. BOX 313                                                                  APPLETON            WI           54912                                  SUPPLIERS OR VENDORS       11/1/2018             $24.84
ARLENE NISSEN          PO BOX 1                                                                       PETERSBURG          NE           68652                                  SUPPLIERS OR VENDORS      12/11/2018             $13.38
ARLENE SMEDSRUD        1605 RIVERDALE RD                                                              SIOUX FALLS         SD           57105                                  SUPPLIERS OR VENDORS      10/18/2018             $20.00
ARLETTE SOLOM          STORE 2-744                 SHOPKO EMPLOYEE         PO BOX 340                 ROSEAU              MN           56751                                  SUPPLIERS OR VENDORS       11/8/2018             $49.16
ARLETTE SOLOM          STORE 2-744                 SHOPKO EMPLOYEE         PO BOX 340                 ROSEAU              MN           56751                                  SUPPLIERS OR VENDORS      12/27/2018             $56.50
ARLEY TRAUTMAN         BOX 283                                                                        EUREKA              SD           57437                                  SUPPLIERS OR VENDORS      11/26/2018             $12.16
ARLEY TRAUTMAN         BOX 283                                                                        EUREKA              SD           57437                                  SUPPLIERS OR VENDORS      11/26/2018             $48.64
ARLEY TRAUTMAN         BOX 283                                                                        EUREKA              SD           57437                                  SUPPLIERS OR VENDORS      11/28/2018             $35.91
ARLIS DOEDEN           503 N 6TH ST                                                                   GROTON              SD           57445                                  SUPPLIERS OR VENDORS      10/29/2018              $4.13
ARLISS SHARKEY         N7981 HWY 141                                                                  CRIVITZ             WI           54114                                  SUPPLIERS OR VENDORS      12/17/2018             $25.00
ARLYN SCHWANTES        119 W. MCMILLAN CT          APT. F                                             MARSHFIELD          WI           54449                                  SUPPLIERS OR VENDORS      12/17/2018            $207.96
                                                   6015 LITTLE NECK
ARMITRON CORPORATION   E GLUCK CORPORATION         PARKWAY                                            LITTLE NECK         NY           11362                                  SUPPLIERS OR VENDORS      10/18/2018           $9,446.67
                                                   6015 LITTLE NECK
ARMITRON CORPORATION   E GLUCK CORPORATION         PARKWAY                                            LITTLE NECK         NY           11362                                  SUPPLIERS OR VENDORS      10/23/2018            $833.00
                                                   6015 LITTLE NECK
ARMITRON CORPORATION   E GLUCK CORPORATION         PARKWAY                                            LITTLE NECK         NY           11362                                  SUPPLIERS OR VENDORS      10/25/2018            $718.80
                                                   6015 LITTLE NECK
ARMITRON CORPORATION   E GLUCK CORPORATION         PARKWAY                                            LITTLE NECK         NY           11362                                  SUPPLIERS OR VENDORS      10/30/2018            $611.02
                                                   6015 LITTLE NECK
ARMITRON CORPORATION   E GLUCK CORPORATION         PARKWAY                                            LITTLE NECK         NY           11362                                  SUPPLIERS OR VENDORS       11/1/2018           $4,220.70
                                                   6015 LITTLE NECK
ARMITRON CORPORATION   E GLUCK CORPORATION         PARKWAY                                            LITTLE NECK         NY           11362                                  SUPPLIERS OR VENDORS       11/6/2018            $583.75
                                                   6015 LITTLE NECK
ARMITRON CORPORATION   E GLUCK CORPORATION         PARKWAY                                            LITTLE NECK         NY           11362                                  SUPPLIERS OR VENDORS       11/8/2018           $1,529.80
                                                   6015 LITTLE NECK
ARMITRON CORPORATION   E GLUCK CORPORATION         PARKWAY                                            LITTLE NECK         NY           11362                                  SUPPLIERS OR VENDORS      11/13/2018            $718.69
                                                   6015 LITTLE NECK
ARMITRON CORPORATION   E GLUCK CORPORATION         PARKWAY                                            LITTLE NECK         NY           11362                                  SUPPLIERS OR VENDORS      11/15/2018           $4,129.78
                                                   6015 LITTLE NECK
ARMITRON CORPORATION   E GLUCK CORPORATION         PARKWAY                                            LITTLE NECK         NY           11362                                  SUPPLIERS OR VENDORS      11/27/2018           $5,643.67
                                                   6015 LITTLE NECK
ARMITRON CORPORATION   E GLUCK CORPORATION         PARKWAY                                            LITTLE NECK         NY           11362                                  SUPPLIERS OR VENDORS      11/29/2018           $3,081.70
                                                   6015 LITTLE NECK
ARMITRON CORPORATION   E GLUCK CORPORATION         PARKWAY                                            LITTLE NECK         NY           11362                                  SUPPLIERS OR VENDORS       12/4/2018            $558.82
ARMOR PORK             35737 COUNTY HIGHWAY 1                                                         BATTLE LAKE         MN           56515                                  SUPPLIERS OR VENDORS       11/8/2018            $282.00
ARMOR PORK             35737 COUNTY HIGHWAY 1                                                         BATTLE LAKE         MN           56515                                  SUPPLIERS OR VENDORS      11/15/2018            $423.00
ARMOR PORK             35737 COUNTY HIGHWAY 1                                                         BATTLE LAKE         MN           56515                                  SUPPLIERS OR VENDORS      11/29/2018            $237.60
ARMOR PORK             35737 COUNTY HIGHWAY 1                                                         BATTLE LAKE         MN           56515                                  SUPPLIERS OR VENDORS      12/20/2018            $423.45
ARMOR PORK             35737 COUNTY HIGHWAY 1                                                         BATTLE LAKE         MN           56515                                  SUPPLIERS OR VENDORS      12/27/2018            $373.50
ARNE WEEGMAN           W4790 30TH AVENUE                                                              RICE LAKE           WI           54868                                  SUPPLIERS OR VENDORS       12/7/2018             $25.00



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ARNETT EDWARDS           744 MILITARY DR                                                                COEUR D' ALENE      ID           83814                                  SUPPLIERS OR VENDORS        10/25/2018               $29.66
ARROWHEAD DISTRIBUTING
COMPANY                  640 North Willow Street                                                        North Platte        NE           69101                                  SUPPLIERS OR VENDORS       10/18/2018              $200.60
ARROWHEAD DISTRIBUTING
COMPANY                  640 North Willow Street                                                        North Platte        NE           69101                                  SUPPLIERS OR VENDORS       11/15/2018              $142.40
ARROWHEAD DISTRIBUTING
COMPANY                  640 North Willow Street                                                        North Platte        NE           69101                                  SUPPLIERS OR VENDORS       12/20/2018              $201.30
ARROWHEAD DISTRIBUTING
COMPANY                  640 North Willow Street                                                        North Platte        NE           69101                                  SUPPLIERS OR VENDORS       12/27/2018              $113.20

ART OPTICAL              CONTACT LENS DIVISION INC   PO BOX 1848                                        GRAND RAPIDS        MI           49509                                  SUPPLIERS OR VENDORS        11/1/2018            $7,556.25

ART OPTICAL              CONTACT LENS DIVISION INC   PO BOX 1848                                        GRAND RAPIDS        MI           49509                                  SUPPLIERS OR VENDORS       12/18/2018            $6,557.85

ARTHUR BURBY             115 WEST ELEVENTH AVENUE                                                       NORWAY              MI           49870                                  SUPPLIERS OR VENDORS       11/29/2018               $39.04
ARTHUR HERMANSON         515 FEATHER TRAIL                                                              NEKOOSA             WI           54457                                  SUPPLIERS OR VENDORS        11/9/2018                $9.50
ARTHUR JR. MOELAART      35880 MOELAART RD.                                                             LAKE LINDEN         MI           49945                                  SUPPLIERS OR VENDORS       11/29/2018                $9.60
ARTHUR SOMMER            5505 EIGHMY RD                                                                 MC FARLAND          WI           53558                                  SUPPLIERS OR VENDORS       11/26/2018               $63.00
ARTHUR WALTERS           1738 MEMORIAL DRIVE                                                            GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS        11/5/2018               $44.16
ARTHUR WALTERS           1738 MEMORIAL DRIVE                                                            GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS       11/12/2018               $11.04
ARTURO HERNANDEZ
CABRAL                   409 N. SENEY AVE                                                               RUSHMORE            MN           56168                                  SUPPLIERS OR VENDORS        11/9/2018               $23.00

ARTURO OLMEDO VARILLA    110 ENTERPRISE DR APT 201                                                      VERONA              WI           53593                                  SUPPLIERS OR VENDORS        11/5/2018                $5.00
ARVELLA RUDD             529 STERLING STREET                                                            KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS       10/22/2018                $9.76
ARVELLA RUDD             529 STERLING STREET                                                            KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS       10/24/2018               $39.04

ASAFA
RAKOTOJOELINANDRASAN     W 6974 CENTURTY                                                                GREENWOOD           WI           54437                                  SUPPLIERS OR VENDORS        11/8/2018                $6.00
ASCENCION RAMIREZ        626 6TH PL SE                                                                  MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS        12/3/2018               $75.00
ASCENT CONSUMER
PRODUCTS INC             105 BAYLIS ROAD                                                                MELVILLE            NY           11747                                  SUPPLIERS OR VENDORS       10/18/2018               $41.95
ASCENT CONSUMER
PRODUCTS INC             105 BAYLIS ROAD                                                                MELVILLE            NY           11747                                  SUPPLIERS OR VENDORS        11/1/2018            $1,252.61
ASCENT CONSUMER
PRODUCTS INC             105 BAYLIS ROAD                                                                MELVILLE            NY           11747                                  SUPPLIERS OR VENDORS        11/8/2018            $1,155.17
ASCENT CONSUMER
PRODUCTS INC             105 BAYLIS ROAD                                                                MELVILLE            NY           11747                                  SUPPLIERS OR VENDORS       11/22/2018            $1,185.41
ASHERS CHOCOLATE CO      PO BOX 95000 1875                                                              PHILADELPHIA        PA           19195-1875                             SUPPLIERS OR VENDORS       11/16/2018           $39,814.24
ASHLEE SORENSON          7136 PARKSIDE UNIT121                                                          RACINE              WI           53406                                  SUPPLIERS OR VENDORS        12/5/2018               $37.00
ASHLEY BRADFISH          121 1/2 WEST MAIN ST        APT 3                                              WATERTOWN           WI           53094                                  SUPPLIERS OR VENDORS        11/9/2018               $83.00
ASHLEY BURGETT           219 CHARLOS ST                                                                 STEVENSVILLE        MT           59870                                  SUPPLIERS OR VENDORS       11/28/2018               $75.00
ASHLEY COWELL            501 AUTUMN CREST DR                                                            WATERTOWN           WI           53094                                  SUPPLIERS OR VENDORS       10/24/2018               $40.00
ASHLEY CRAIG             STORE 053                   SHOPKO EMPOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/13/2018              $126.00
ASHLEY CRAIG             STORE 053                   SHOPKO EMPOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/20/2018              $158.05
ASHLEY ESKELSON          STORE 2-091                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/20/2018               $22.18
ASHLEY GARCIA            STORE 4-091                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/6/2018               $92.65
                                                                             1907 S STOCKTON
ASHLEY HIX               STORE 539                   SHOPKO EMPLOYEE         AVENUE                     MONAHANS            TX           79756-6507                             SUPPLIERS OR VENDORS       11/15/2018              $109.00
                         43638 NORTH JUNIPER
ASHLEY ILES              CANNON RD.                                                                     HELIX               OR           97835                                  SUPPLIERS OR VENDORS       11/26/2018               $25.00
ASHLEY LOPEZ             188 CANNERY PL #208                                                            SUN PRAIRIE         WI           53590                                  SUPPLIERS OR VENDORS       11/26/2018               $45.00
ASHLEY MIDDLETON         909 S. DIVISION ST                                                             WAUNAKEE            WI           53597                                  SUPPLIERS OR VENDORS        11/2/2018               $25.00
ASHLEY MOUREAU           APPAREL                     SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/6/2018            $1,090.93



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                                                                                                                                                                                     Reasons for payment or    Dates of     Total Amount or
       Creditor Name                Address1                   Address2                  Address3                 City               State       Zip             Country                    transfer          Payments            Value
ASHLEY SACHSE             416 18TH PLACE SOUTH                                                             LA CROSSE            WI           54601                                 SUPPLIERS OR VENDORS         11/5/2018              $265.97
ASHLEY VALEK              58100 180TH STREET                                                               ROSE CREEK           MN           55970                                 SUPPLIERS OR VENDORS         11/1/2018                $3.06
ASHLI KURTENBACH          1847 5TH STREET NE                                                               WATERTOWN            SD           57201                                 SUPPLIERS OR VENDORS         12/5/2018               $20.00
                          3690 SOUTH HOLLAND CHURCH
ASHLY BLISS               RD                                                                               RIDOTT               IL           61067                                 SUPPLIERS OR VENDORS       10/24/2018               $10.00
                          3690 SOUTH HOLLAND CHURCH
ASHLY BLISS               RD                                                                               RIDOTT               IL           61067                                 SUPPLIERS OR VENDORS       10/24/2018               $90.00

ASICS TIGER CORPORATION   C/O ASICS America Corporation 80 Technology                                      Irvine               CA           92618                                 SUPPLIERS OR VENDORS        11/8/2018          $205,112.98

ASICS TIGER CORPORATION   C/O ASICS America Corporation 80 Technology                                      Irvine               CA           92618                                 SUPPLIERS OR VENDORS       12/19/2018           $21,580.68

ASICS TIGER CORPORATION   C/O ASICS America Corporation 80 Technology                                      Irvine               CA           92618                                 SUPPLIERS OR VENDORS       12/21/2018           $25,119.36
ASO L L C                 PO BOX 404906                                                                    ATLANTA              GA           30384-4906                            SUPPLIERS OR VENDORS       10/18/2018              $756.36
ASO L L C                 PO BOX 404906                                                                    ATLANTA              GA           30384-4906                            SUPPLIERS OR VENDORS       10/25/2018           $30,138.21
ASO L L C                 PO BOX 404906                                                                    ATLANTA              GA           30384-4906                            SUPPLIERS OR VENDORS        11/8/2018           $24,257.96
ASO L L C                 PO BOX 404906                                                                    ATLANTA              GA           30384-4906                            SUPPLIERS OR VENDORS       11/22/2018            $9,672.69
ASO L L C                 PO BOX 404906                                                                    ATLANTA              GA           30384-4906                            SUPPLIERS OR VENDORS       11/29/2018            $7,365.12
ASPEN PRODUCTS
INCORPORATED              PO BOX 2298                                                                      SHAWNEE MISSION KS                66201-0000                            SUPPLIERS OR VENDORS       10/18/2018           $19,795.90
ASPEN PRODUCTS
INCORPORATED              PO BOX 2298                                                                      SHAWNEE MISSION KS                66201-0000                            SUPPLIERS OR VENDORS        11/1/2018           $43,499.18
ASPEN PRODUCTS
INCORPORATED              PO BOX 2298                                                                      SHAWNEE MISSION KS                66201-0000                            SUPPLIERS OR VENDORS       11/15/2018           $43,456.32
ASPEN PRODUCTS
INCORPORATED              PO BOX 2298                                                                      SHAWNEE MISSION KS                66201-0000                            SUPPLIERS OR VENDORS       11/29/2018           $31,006.30

ASPIRE BRANDS LLC         ATTN ACCOUNTS RECEIVABLE     1006 CROCKER ROAD                                   WESTLAKE             OH           44145                                 SUPPLIERS OR VENDORS       10/25/2018            $3,948.43

ASPIRE BRANDS LLC         ATTN ACCOUNTS RECEIVABLE     1006 CROCKER ROAD                                   WESTLAKE             OH           44145                                 SUPPLIERS OR VENDORS        11/1/2018           $22,034.84

ASPIRE BRANDS LLC         ATTN ACCOUNTS RECEIVABLE     1006 CROCKER ROAD                                   WESTLAKE             OH           44145                                 SUPPLIERS OR VENDORS        11/8/2018              $620.22

ASPIRE BRANDS LLC         ATTN ACCOUNTS RECEIVABLE     1006 CROCKER ROAD                                   WESTLAKE             OH           44145                                 SUPPLIERS OR VENDORS       11/15/2018              $298.60

ASPIRE BRANDS LLC         ATTN ACCOUNTS RECEIVABLE     1006 CROCKER ROAD                                   WESTLAKE             OH           44145                                 SUPPLIERS OR VENDORS       11/22/2018              $299.68

ASPIRE BRANDS LLC         ATTN ACCOUNTS RECEIVABLE     1006 CROCKER ROAD                                   WESTLAKE             OH           44145                                 SUPPLIERS OR VENDORS       11/29/2018              $845.22
                          ALL SEASONS PROPERTY
ASPM                      MAINTENANCE LLC              2900 OLD HIGHWAY 8                                  NORFOLK              NE           68701                                 SUPPLIERS OR VENDORS        11/1/2018              $381.00
ASTRO HYDRAULICS
INCORPORATED              1130 ASHWAUBENON STREET                                                          GREEN BAY            WI           54304                                 SUPPLIERS OR VENDORS       10/25/2018              $682.96
                                                       648 GRASSMERE PARK
ASURION SERVICES LLC      ATTN AR                      STE 300                                             NASHVILLE            TN           37211-3667                            SUPPLIERS OR VENDORS       10/22/2018           $16,610.56
                                                       648 GRASSMERE PARK
ASURION SERVICES LLC      ATTN AR                      STE 300                                             NASHVILLE            TN           37211-3667                            SUPPLIERS OR VENDORS       10/29/2018           $10,649.85
                                                       648 GRASSMERE PARK
ASURION SERVICES LLC      ATTN AR                      STE 300                                             NASHVILLE            TN           37211-3667                            SUPPLIERS OR VENDORS        11/5/2018           $26,822.50
                                                       648 GRASSMERE PARK
ASURION SERVICES LLC      ATTN AR                      STE 300                                             NASHVILLE            TN           37211-3667                            SUPPLIERS OR VENDORS       11/12/2018           $16,956.71
                                                       648 GRASSMERE PARK
ASURION SERVICES LLC      ATTN AR                      STE 300                                             NASHVILLE            TN           37211-3667                            SUPPLIERS OR VENDORS       11/22/2018           $12,015.02
                                                       648 GRASSMERE PARK
ASURION SERVICES LLC      ATTN AR                      STE 300                                             NASHVILLE            TN           37211-3667                            SUPPLIERS OR VENDORS       11/26/2018           $11,605.52



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                                                                                                                                                                              Reasons for payment or    Dates of    Total Amount or
      Creditor Name                 Address1               Address2                Address3                     City          State       Zip              Country                   transfer          Payments           Value
                                                   648 GRASSMERE PARK
ASURION SERVICES LLC     ATTN AR                   STE 300                                           NASHVILLE           TN           37211-3667                             SUPPLIERS OR VENDORS       12/3/2018         $17,456.24
AT & S INCORPORATED      6900 EAST 39TH STREET                                                       KANSAS CITY         MO           64129                                  SUPPLIERS OR VENDORS      10/18/2018            $172.56
AT & S INCORPORATED      6900 EAST 39TH STREET                                                       KANSAS CITY         MO           64129                                  SUPPLIERS OR VENDORS      11/30/2018            $172.56
AT & T GLOBAL SERVICES   SBC GLOBAL SERVICES
INCORPORATED             INCORPORATED              PO BOX 9009                                       CAROL STREAM        IL           60197-9009                             SUPPLIERS OR VENDORS       11/9/2018            $582.89
AT & T GLOBAL SERVICES   SBC GLOBAL SERVICES
INCORPORATED             INCORPORATED              PO BOX 9009                                       CAROL STREAM        IL           60197-9009                             SUPPLIERS OR VENDORS      11/16/2018            $443.10
AT & T GLOBAL SERVICES   SBC GLOBAL SERVICES
INCORPORATED             INCORPORATED              PO BOX 9009                                       CAROL STREAM        IL           60197-9009                             SUPPLIERS OR VENDORS       12/7/2018            $274.30
AT YOUR SERVICE
LAWNCARE                 38272 300TH STREET                                                          ROSEAU              MN           56751                                  SUPPLIERS OR VENDORS      11/15/2018            $235.13
ATEB INCORPORATED        PO BOX 890231                                                               CHARLOTTE           NC           28289-0231                             SUPPLIERS OR VENDORS       11/1/2018         $34,475.58
ATKINS NUTRITIONALS
INCORPORATED             PO BOX 9402                                                                 UNIONDALE           NY           11555-9402                             SUPPLIERS OR VENDORS      10/25/2018           $8,516.86
ATKINS NUTRITIONALS
INCORPORATED             PO BOX 9402                                                                 UNIONDALE           NY           11555-9402                             SUPPLIERS OR VENDORS       11/8/2018         $10,972.52
ATKINS NUTRITIONALS
INCORPORATED             PO BOX 9402                                                                 UNIONDALE           NY           11555-9402                             SUPPLIERS OR VENDORS      11/22/2018           $6,261.26

ATKINSON CANDY COMPANY VICE PRESIDENT OF SALES     PO BOX 150220                                     LUFKIN              TX           75904-3109                             SUPPLIERS OR VENDORS       11/8/2018           $3,422.00

ATKINSON CANDY COMPANY   VICE PRESIDENT OF SALES   PO BOX 150220                                     LUFKIN              TX           75904-3109                             SUPPLIERS OR VENDORS      11/15/2018           $1,345.34
ATLANTIC BOTTLING
COMPANY                  4 East Second Street                                                        Atlantic            IA           50022                                  SUPPLIERS OR VENDORS      10/18/2018           $8,582.88
ATLANTIC BOTTLING
COMPANY                  4 East Second Street                                                        Atlantic            IA           50022                                  SUPPLIERS OR VENDORS      10/25/2018         $13,082.10
ATLANTIC BOTTLING
COMPANY                  4 East Second Street                                                        Atlantic            IA           50022                                  SUPPLIERS OR VENDORS       11/1/2018         $11,151.36
ATLANTIC BOTTLING
COMPANY                  4 East Second Street                                                        Atlantic            IA           50022                                  SUPPLIERS OR VENDORS       11/8/2018         $11,601.22
ATLANTIC BOTTLING
COMPANY                  4 East Second Street                                                        Atlantic            IA           50022                                  SUPPLIERS OR VENDORS      11/15/2018           $7,257.69
ATLANTIC BOTTLING
COMPANY                  4 East Second Street                                                        Atlantic            IA           50022                                  SUPPLIERS OR VENDORS      11/22/2018           $3,984.77
ATLANTIC BOTTLING
COMPANY                  4 East Second Street                                                        Atlantic            IA           50022                                  SUPPLIERS OR VENDORS      11/29/2018           $6,248.96
ATLANTIC BOTTLING
COMPANY                  4 East Second Street                                                        Atlantic            IA           50022                                  SUPPLIERS OR VENDORS      12/20/2018         $16,782.74
ATLANTIC BOTTLING
COMPANY                  4 East Second Street                                                        Atlantic            IA           50022                                  SUPPLIERS OR VENDORS      12/21/2018           $2,205.40
ATLANTIC BOTTLING
COMPANY                  4 East Second Street                                                        Atlantic            IA           50022                                  SUPPLIERS OR VENDORS      12/27/2018           $6,659.90

ATLANTIC INCORPORATED    PO BOX 2399                                                                 SANTE FE SPRINGS CA              90670-0000                             SUPPLIERS OR VENDORS      10/18/2018           $7,516.95

ATLANTIC INCORPORATED    PO BOX 2399                                                                 SANTE FE SPRINGS CA              90670-0000                             SUPPLIERS OR VENDORS      10/25/2018           $5,578.75

ATLANTIC INCORPORATED    PO BOX 2399                                                                 SANTE FE SPRINGS CA              90670-0000                             SUPPLIERS OR VENDORS       11/1/2018            $734.90

ATLANTIC INCORPORATED    PO BOX 2399                                                                 SANTE FE SPRINGS CA              90670-0000                             SUPPLIERS OR VENDORS       11/8/2018           $2,633.81

ATLANTIC INCORPORATED    PO BOX 2399                                                                 SANTE FE SPRINGS CA              90670-0000                             SUPPLIERS OR VENDORS      11/15/2018           $1,949.25




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                                                                                                                                                                                 Reasons for payment or    Dates of    Total Amount or
      Creditor Name               Address1                  Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value

ATLANTIC INCORPORATED   PO BOX 2399                                                                     SANTE FE SPRINGS CA              90670-0000                             SUPPLIERS OR VENDORS      11/22/2018            $240.90

ATLANTIC INCORPORATED   PO BOX 2399                                                                     SANTE FE SPRINGS CA              90670-0000                             SUPPLIERS OR VENDORS      11/29/2018            $591.40
                        540 W MADISON STREET 16TH
ATLAS SHOPKO BEND LLC   FLOOR                                                                           CHICAGO             IL           60661                                  SUPPLIERS OR VENDORS       11/1/2018        $247,964.42
                        540 W MADISON STREET 16TH
ATLAS SHOPKO BEND LLC   FLOOR                                                                           CHICAGO             IL           60661                                  SUPPLIERS OR VENDORS       12/4/2018        $247,964.42
                        N 6563 ENGLISH SETTLEMENT
AUBREY HEISE            RD                                                                              ALBANY              WI           53502                                  SUPPLIERS OR VENDORS      11/26/2018             $62.00
AUDREY ARNESON          1010 6TH AVE NW                                                                 AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS       12/3/2018            $125.00
AUDREY DUBOVIK          STORE 576                     SHOPKO EMPLOYEE        2500 E HIGHWAY 90          ALPINE              TX           79830-4107                             SUPPLIERS OR VENDORS      12/27/2018            $697.61
AUDREY EVANS            1728 RIPON AVE                                                                  LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS       12/5/2018             $51.20
AUDREY HOFER            2000 S HILLVIEW RD                                                              SIOUX FALLS         SD           57110                                  SUPPLIERS OR VENDORS       11/5/2018            $133.98
AUDREY POWERS           1310 ADAMS AVE                APT 309                                           FAIRMONT            MN           56031                                  SUPPLIERS OR VENDORS      10/29/2018             $34.30
AUDREY SCHACKEL         3491 LAKE VANASSA CIR NW                                                        SALEM               OR           97304                                  SUPPLIERS OR VENDORS       11/1/2018             $40.00
AUDREY SEAGER           163 N 200 W                   PO BOX 21                                         GARLAND             UT           84312                                  SUPPLIERS OR VENDORS      10/31/2018             $63.00
AUGUST WENDELIN         9701 WEST WENDELIN ROAD                                                         HALLAM              NE           68368                                  SUPPLIERS OR VENDORS      10/31/2018              $8.00
AULDEY TOYS OF NORTH
AMERICA                 2100 E GRAND AVE SUITE 500                                                      EL SEGUNDO          CA           90245                                  SUPPLIERS OR VENDORS       11/6/2018           $1,387.53
AULDEY TOYS OF NORTH
AMERICA                 2100 E GRAND AVE SUITE 500                                                      EL SEGUNDO          CA           90245                                  SUPPLIERS OR VENDORS       11/9/2018           $2,370.03
AULDEY TOYS OF NORTH
AMERICA                 2100 E GRAND AVE SUITE 500                                                      EL SEGUNDO          CA           90245                                  SUPPLIERS OR VENDORS      11/13/2018           $2,116.03
AULDEY TOYS OF NORTH
AMERICA                 2100 E GRAND AVE SUITE 500                                                      EL SEGUNDO          CA           90245                                  SUPPLIERS OR VENDORS      11/16/2018           $1,007.94
AULDEY TOYS OF NORTH
AMERICA                 2100 E GRAND AVE SUITE 500                                                      EL SEGUNDO          CA           90245                                  SUPPLIERS OR VENDORS      11/23/2018            $760.15

AURA DIVAS              429 EAST 29TH ST                                                                SOUTH SIOUX CITY    NE           68776                                  SUPPLIERS OR VENDORS      11/29/2018             $41.60
AUSTIN BENNETT          4160 QUEST DR APT 320                                                           EUGENE              OR           97402                                  SUPPLIERS OR VENDORS      11/28/2018             $23.00
AUSTIN GAUTIER          STORE 2-701                   SHOPKO EMPLOYEE        1212 W MAIN STREET         LYONS               KS           67554                                  SUPPLIERS OR VENDORS       11/8/2018              $7.63
AUSTIN JOHNSON          502 1/2 6TH ST. SE                                                              MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS      12/13/2018             $83.00
AUSTIN MOYLE            3884 14.5 RD                                                                    ESCANABA            MI           49829                                  SUPPLIERS OR VENDORS      11/28/2018             $75.00
AUSTIN WELSCH           4218 KENNEDY RD                                                                 MADISON             WI           53704                                  SUPPLIERS OR VENDORS      11/29/2018             $49.96
AUSTIN WILSON           155 KNOLLWOOD                                                                   FREEPORT            IL           61032                                  SUPPLIERS OR VENDORS      12/21/2018             $23.00
AUSTINS LAWN MOWING     AUSTIN NONDORF                638 N KANSAS STREET                               SUPERIOR            NE           68978                                  SUPPLIERS OR VENDORS      11/27/2018            $400.00
AUTHENTIC SPORTS GEAR
LLC (CHUB)              2101 EAST COAST HIGHWAY 200                                                     CORONA DEL MAR CA                92625                                  SUPPLIERS OR VENDORS      10/19/2018             $30.00
AUTHENTIC SPORTS GEAR
LLC (CHUB)              2101 EAST COAST HIGHWAY 200                                                     CORONA DEL MAR CA                92625                                  SUPPLIERS OR VENDORS      11/16/2018             $30.00
AUTOPHONE WHOLESALE
INCORPORATED            PO BOX 400                                                                      PLEASANT GROVE      UT           84062                                  SUPPLIERS OR VENDORS      11/13/2018           $3,886.18
AUTUMN HARDESTY         455 S DICKASON BLVD                                                             COLUMBUS            WI           53925                                  SUPPLIERS OR VENDORS      10/29/2018              $25.00
                                                                             301 SOUTH MANTORVILLE
AUTUMN NOBLE            STORE 796                     SHOPKO EMPLOYEE        AVENUE                KASSON                   MN           55944                                  SUPPLIERS OR VENDORS      11/22/2018             $82.84
AUTUMN WEIDMAN          11900 W. BLUE GRASS TRAIL                                                  BLAND                    VA           24315                                  SUPPLIERS OR VENDORS      10/22/2018             $25.00
AVA LONG                379 WALLULA AVE                                                            WALLA WALLA              WA           99362                                  SUPPLIERS OR VENDORS       12/7/2018             $45.00

AVALARA INCORPORATED    DEPT CH 16781                                                                   PALATINE            IL           60055-6781                             SUPPLIERS OR VENDORS      10/18/2018           $1,060.64

AVALARA INCORPORATED    DEPT CH 16781                                                                   PALATINE            IL           60055-6781                             SUPPLIERS OR VENDORS       11/1/2018             $86.51
AVALON APPAREL GROUP    WELLS FARGO BANK NA           PO BOX 912150                                     DENVER              CO           80291-2150                             SUPPLIERS OR VENDORS      10/22/2018         $22,983.55
AVALON APPAREL GROUP    WELLS FARGO BANK NA           PO BOX 912150                                     DENVER              CO           80291-2150                             SUPPLIERS OR VENDORS      11/22/2018        $142,794.96



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                                                                                                                                                                                  Reasons for payment or    Dates of     Total Amount or
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AVALON APPAREL GROUP     WELLS FARGO BANK NA         PO BOX 912150                                      DENVER              CO           80291-2150                             SUPPLIERS OR VENDORS        11/26/2018           $84,760.50
AVANTI LINENS            234 MOONACHIE ROAD                                                             MOONACHIE           NJ           07074-0000                             SUPPLIERS OR VENDORS        10/18/2018              $814.80
AVANTI LINENS            234 MOONACHIE ROAD                                                             MOONACHIE           NJ           07074-0000                             SUPPLIERS OR VENDORS        10/25/2018              $228.00
AVANTI LINENS            234 MOONACHIE ROAD                                                             MOONACHIE           NJ           07074-0000                             SUPPLIERS OR VENDORS         11/1/2018              $342.00
AVANTI LINENS            234 MOONACHIE ROAD                                                             MOONACHIE           NJ           07074-0000                             SUPPLIERS OR VENDORS         11/8/2018              $131.32
AVANTI LINENS            234 MOONACHIE ROAD                                                             MOONACHIE           NJ           07074-0000                             SUPPLIERS OR VENDORS        11/15/2018              $342.00
AVANTI LINENS            234 MOONACHIE ROAD                                                             MOONACHIE           NJ           07074-0000                             SUPPLIERS OR VENDORS        11/22/2018              $345.36
AVANTI LINENS            234 MOONACHIE ROAD                                                             MOONACHIE           NJ           07074-0000                             SUPPLIERS OR VENDORS        11/29/2018              $576.72
                                                     239 OAK GROVE
AXIUM FOODS              PO BOX 187                  AVENUE                                             SOUTH BELOIT        IL           61080-0187                             SUPPLIERS OR VENDORS       10/18/2018            $1,080.71
                                                     239 OAK GROVE
AXIUM FOODS              PO BOX 187                  AVENUE                                             SOUTH BELOIT        IL           61080-0187                             SUPPLIERS OR VENDORS       10/25/2018            $4,629.21
                                                     239 OAK GROVE
AXIUM FOODS              PO BOX 187                  AVENUE                                             SOUTH BELOIT        IL           61080-0187                             SUPPLIERS OR VENDORS        11/1/2018            $1,693.61
                                                     239 OAK GROVE
AXIUM FOODS              PO BOX 187                  AVENUE                                             SOUTH BELOIT        IL           61080-0187                             SUPPLIERS OR VENDORS        11/8/2018            $6,097.00
                                                     239 OAK GROVE
AXIUM FOODS              PO BOX 187                  AVENUE                                             SOUTH BELOIT        IL           61080-0187                             SUPPLIERS OR VENDORS       11/15/2018              $677.45
                                                     239 OAK GROVE
AXIUM FOODS              PO BOX 187                  AVENUE                                             SOUTH BELOIT        IL           61080-0187                             SUPPLIERS OR VENDORS       11/22/2018            $3,725.96
                                                     239 OAK GROVE
AXIUM FOODS              PO BOX 187                  AVENUE                                             SOUTH BELOIT        IL           61080-0187                             SUPPLIERS OR VENDORS       11/29/2018            $5,811.20

AXTMAN LAWN SERVICE      MICHAEL AXTMAN              804 EASTGATE DRIVE SE                              RUGBY               ND           58368                                  SUPPLIERS OR VENDORS        11/8/2018              $130.00
AXWAY INCORPORATED       PO BOX 120469                                                                  DALLAS              TX           75312-0469                             SUPPLIERS OR VENDORS       10/29/2018              $641.18
AZ DEPT OF REVENUE       P.O. BOX 29009                                                                 PHONENIX            AZ           85038                                  SALES/USE TAX              11/20/2018           $20,630.82
B & G FOODS              SHOPKO STORES INC           PO BOX 19060            DISC AO 070102             GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/18/2018          $198,063.60
B & G INTERNATIONAL FE   FLAT A 3RD FLOOR CHUN FAT
LTD                      BUILDING                    3 TSAT PO STREET        SAN PO KONG                KOWLOON                                       HONG KONG                 SUPPLIERS OR VENDORS       10/23/2018           $25,020.00
B&D MOTORS INC           300 S PARK STREET                                                              MERRILL             WI           54452                                  SUPPLIERS OR VENDORS       10/18/2018               $50.00
B&D MOTORS INC           300 S PARK STREET                                                              MERRILL             WI           54452                                  SUPPLIERS OR VENDORS        11/1/2018              $100.00
B&D MOTORS INC           300 S PARK STREET                                                              MERRILL             WI           54452                                  SUPPLIERS OR VENDORS        11/8/2018               $50.00
B&D MOTORS INC           300 S PARK STREET                                                              MERRILL             WI           54452                                  SUPPLIERS OR VENDORS       11/15/2018              $100.00
B&D MOTORS INC           300 S PARK STREET                                                              MERRILL             WI           54452                                  SUPPLIERS OR VENDORS       11/29/2018              $100.00
B&D MOTORS INC           300 S PARK STREET                                                              MERRILL             WI           54452                                  SUPPLIERS OR VENDORS       12/17/2018              $100.00

BABY TREND INCORPORATED 1607 S CAMPUS AVENUE                                                            ONTARIO             CA           91761                                  SUPPLIERS OR VENDORS       10/18/2018            $2,366.40

BABY TREND INCORPORATED 1607 S CAMPUS AVENUE                                                            ONTARIO             CA           91761                                  SUPPLIERS OR VENDORS       10/25/2018            $7,673.55

BABY TREND INCORPORATED 1607 S CAMPUS AVENUE                                                            ONTARIO             CA           91761                                  SUPPLIERS OR VENDORS        11/1/2018            $2,005.95

BABY TREND INCORPORATED 1607 S CAMPUS AVENUE                                                            ONTARIO             CA           91761                                  SUPPLIERS OR VENDORS        11/8/2018              $525.97

BABY TREND INCORPORATED 1607 S CAMPUS AVENUE                                                            ONTARIO             CA           91761                                  SUPPLIERS OR VENDORS       11/15/2018            $3,648.90

BABY TREND INCORPORATED 1607 S CAMPUS AVENUE                                                            ONTARIO             CA           91761                                  SUPPLIERS OR VENDORS       11/29/2018            $1,927.88

BABYTIME INTERNATIONAL
INC (C-HUB)              2247 EAST 66TH STREET                                                          BROOKLYN            NY           11234                                  SUPPLIERS OR VENDORS       11/13/2018              $897.40

BABYTIME INTERNATIONAL
INC (C-HUB)              2247 EAST 66TH STREET                                                          BROOKLYN            NY           11234                                  SUPPLIERS OR VENDORS       11/16/2018              $205.80




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                                                                                                                                                                         Reasons for payment or    Dates of    Total Amount or
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BABYTIME INTERNATIONAL
INC (C-HUB)              2247 EAST 66TH STREET                                                  BROOKLYN            NY           11234                                  SUPPLIERS OR VENDORS      11/23/2018            $361.20

BABYTIME INTERNATIONAL
INC (C-HUB)              2247 EAST 66TH STREET                                                  BROOKLYN            NY           11234                                  SUPPLIERS OR VENDORS      11/27/2018             $69.30

BABYTIME INTERNATIONAL
INC (C-HUB)              2247 EAST 66TH STREET                                                  BROOKLYN            NY           11234                                  SUPPLIERS OR VENDORS      11/30/2018            $222.90

BABYTIME INTERNATIONAL
INC (C-HUB)              2247 EAST 66TH STREET                                                  BROOKLYN            NY           11234                                  SUPPLIERS OR VENDORS      12/11/2018            $200.70
BACHER LAWN &
LANDSCAPE CONTRACTING
LLC                      4170 STATE RD 83                                                       HARTFORD            WI           53027                                  SUPPLIERS OR VENDORS      10/18/2018           $1,378.08
BACKYARD PROPERTIES OF
ROCK COUNTY LLC          1171 N PARKER DRIVE                                                    JANESVILLE          WI           53545                                  SUPPLIERS OR VENDORS       11/1/2018         $21,654.14
BACKYARD PROPERTIES OF
ROCK COUNTY LLC          1171 N PARKER DRIVE                                                    JANESVILLE          WI           53545                                  SUPPLIERS OR VENDORS       12/1/2018         $21,654.14
                         1000 COMMERCE CENTER
BACOVA GUILD LIMITED     DRIVE                                                                  COVINGTON           VA           24426-0000                             SUPPLIERS OR VENDORS      10/18/2018         $11,657.80
                         1000 COMMERCE CENTER
BACOVA GUILD LIMITED     DRIVE                                                                  COVINGTON           VA           24426-0000                             SUPPLIERS OR VENDORS      10/25/2018         $21,138.01
                         1000 COMMERCE CENTER
BACOVA GUILD LIMITED     DRIVE                                                                  COVINGTON           VA           24426-0000                             SUPPLIERS OR VENDORS       11/1/2018         $29,427.32
                         1000 COMMERCE CENTER
BACOVA GUILD LIMITED     DRIVE                                                                  COVINGTON           VA           24426-0000                             SUPPLIERS OR VENDORS       11/8/2018         $17,913.65
                         1000 COMMERCE CENTER
BACOVA GUILD LIMITED     DRIVE                                                                  COVINGTON           VA           24426-0000                             SUPPLIERS OR VENDORS      11/15/2018         $18,067.51
                         1000 COMMERCE CENTER
BACOVA GUILD LIMITED     DRIVE                                                                  COVINGTON           VA           24426-0000                             SUPPLIERS OR VENDORS      11/22/2018         $17,748.66
                         1000 COMMERCE CENTER
BACOVA GUILD LIMITED     DRIVE                                                                  COVINGTON           VA           24426-0000                             SUPPLIERS OR VENDORS      11/29/2018           $4,805.16
BADGER GRAPHIC SALES
INCORPORATED             PO BOX 46                                                              KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS      11/30/2018            $935.15
BADGER GRAPHIC SALES
INCORPORATED             PO BOX 46                                                              KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS      12/19/2018            $743.09
BADGER LANDSCAPING &
LAWN CARE LLC            5120 21ST AVE                                                          KENOSHA             WI           53140                                  SUPPLIERS OR VENDORS      10/19/2018            $525.00

BADGER LIQUOR COMPANY
INCORPORATED          PO BOX 1137                                                               FOND DU LAC         WI           54936-1137                             SUPPLIERS OR VENDORS      10/18/2018            $197.40

BADGER LIQUOR COMPANY
INCORPORATED          PO BOX 1137                                                               FOND DU LAC         WI           54936-1137                             SUPPLIERS OR VENDORS      10/31/2018            $262.90

BADGER LIQUOR COMPANY
INCORPORATED          PO BOX 1137                                                               FOND DU LAC         WI           54936-1137                             SUPPLIERS OR VENDORS       11/1/2018            $434.15

BADGER LIQUOR COMPANY
INCORPORATED          PO BOX 1137                                                               FOND DU LAC         WI           54936-1137                             SUPPLIERS OR VENDORS      11/12/2018            $500.10

BADGER LIQUOR COMPANY
INCORPORATED          PO BOX 1137                                                               FOND DU LAC         WI           54936-1137                             SUPPLIERS OR VENDORS      11/14/2018            $340.25



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BADGER LIQUOR COMPANY
INCORPORATED          PO BOX 1137                                                                     FOND DU LAC         WI           54936-1137                             SUPPLIERS OR VENDORS      11/15/2018            $384.50

BADGER LIQUOR COMPANY
INCORPORATED          PO BOX 1137                                                                     FOND DU LAC         WI           54936-1137                             SUPPLIERS OR VENDORS      11/28/2018            $336.50

BADGER LIQUOR COMPANY
INCORPORATED          PO BOX 1137                                                                     FOND DU LAC         WI           54936-1137                             SUPPLIERS OR VENDORS      11/29/2018            $632.45

BADGER LIQUOR COMPANY
INCORPORATED          PO BOX 1137                                                                     FOND DU LAC         WI           54936-1137                             SUPPLIERS OR VENDORS      12/11/2018            $183.15

BADGER LIQUOR COMPANY
INCORPORATED          PO BOX 1137                                                                     FOND DU LAC         WI           54936-1137                             SUPPLIERS OR VENDORS      12/14/2018            $498.30

BADGER LIQUOR COMPANY
INCORPORATED          PO BOX 1137                                                                     FOND DU LAC         WI           54936-1137                             SUPPLIERS OR VENDORS      12/20/2018            $225.75

BADGER LIQUOR COMPANY
INCORPORATED              PO BOX 1137                                                                 FOND DU LAC         WI           54936-1137                             SUPPLIERS OR VENDORS      12/27/2018           $1,133.60
BAILEY LAWN & YARD CARE
LLC                       PO BOX 3                                                                    RIVERSIDE           UT           84334                                  SUPPLIERS OR VENDORS      10/25/2018            $830.63
BAILEY LAWN & YARD CARE
LLC                       PO BOX 3                                                                    RIVERSIDE           UT           84334                                  SUPPLIERS OR VENDORS      11/15/2018            $830.63
BAILEY OKOROJI            3434 GATEWAY DR #4                                                          EAU CLAIRE          WI           54701                                  SUPPLIERS OR VENDORS      12/17/2018             $21.85
BALD MOUNTAIN
SANITATION                7 TURKEY LANE                                                               BUFFALO             WY           82834                                  SUPPLIERS OR VENDORS       11/1/2018            $225.00
BALL BOUNCE & SPORT
INCORPORATED              PO BOX 951924                                                               CLEVELAND           OH           44193-0000                             SUPPLIERS OR VENDORS       11/1/2018           $8,606.00
BAM DOCUMENT
DESTRUCTION & RECYCLING
LLC                       PATRICK JAY LACEY         5 BRONCO LANE                                     NEWCASTLE           WY           82701                                  SUPPLIERS OR VENDORS      11/15/2018            $399.00

BANNOCK COUNTY SHERIFF    ATTN JEREMY TAYSOM        4322 N OLD HWY 91                                 POCATELLO           ID           83204                                  SUPPLIERS OR VENDORS      12/14/2018           $2,592.49
BANNOCK COUNTY
TREASURER                 PO BOX 4626                                                                 POCATELLO           ID           83205                                  SUPPLIERS OR VENDORS      12/13/2018           $2,853.58
BANNOCK COUNTY
TREASURER                 PO BOX 4626                                                                 POCATELLO           ID           83205                                  SUPPLIERS OR VENDORS      12/14/2018         $72,586.24
BARB BARBIAUX             STORE 2-615               SHOPKO EMPLOYEE        PO BOX 117                 CLINTONVILLE        WI           54929                                  SUPPLIERS OR VENDORS       11/8/2018             $74.67
BARB BARKER               W12036 STATE RD 73                                                          PLAINFIELD          WI           54966                                  SUPPLIERS OR VENDORS       11/8/2018             $44.00
BARB DEMMERLY             OPERATIONS/ STORE 070     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS      10/26/2018            $304.68
BARB DEMMERLY             OPERATIONS/ STORE 070     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       11/9/2018            $144.32
BARB DEMMERLY             OPERATIONS/ STORE 070     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS      11/27/2018            $334.60
BARB DEMMERLY             OPERATIONS/ STORE 070     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS      11/30/2018            $842.50
BARB DEMMERLY             OPERATIONS/ STORE 070     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS      12/22/2018            $990.87
BARB DEMMERLY             OPERATIONS/ STORE 070     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS      12/28/2018            $443.51
BARB FIELD                4710 PALMER LANE                                                            EAU CLAIRE          WI           54701                                  SUPPLIERS OR VENDORS      10/19/2018             $42.24
BARB GENTZ                101 ACKERMAN AVE.                                                           WAUPUN              WI           53963                                  SUPPLIERS OR VENDORS      12/20/2018             $57.00
BARB LEWERKE              1609 NORTH RHODE ISLAND                                                     MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS      10/24/2018             $48.00
BARB LEWERKE              1609 NORTH RHODE ISLAND                                                     MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS       11/5/2018             $12.00
BARB SAUER                913 JAMES AVE                                                               ALBERT LEA          MN           56007                                  SUPPLIERS OR VENDORS       12/7/2018             $71.40
BARB TANNER               111 GROVER RD                                                               EAU CLAIRE          WI           54701                                  SUPPLIERS OR VENDORS       11/1/2018             $52.80
BARBARA A KRUEGER         N9581 CEMETERY ROAD                                                         BRILLION            WI           54110                                  SUPPLIERS OR VENDORS       11/1/2018         $11,000.00



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                                                                                                                                                                              Reasons for payment or    Dates of     Total Amount or
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BARBARA A KRUEGER      N9581 CEMETERY ROAD                                                          BRILLION            WI           54110                                  SUPPLIERS OR VENDORS         12/1/2018           $11,000.00
BARBARA BATES          STORE 2-066               SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/22/2018              $995.87
BARBARA BROCK          1508 ALDER DR                                                                LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS         12/7/2018               $51.20
BARBARA BROCK          1508 ALDER DR                                                                LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS        12/10/2018               $28.80
BARBARA CECH           1053 S 1ST ST.                                                               LINCOLN             NE           68508                                  SUPPLIERS OR VENDORS        12/13/2018               $47.94
BARBARA COOK           978 LOCHAVEN AVE                                                             SPRINGFIELD         OR           97477                                  SUPPLIERS OR VENDORS        10/24/2018               $17.98
BARBARA EGBERT         1412 WASHINGTON ST                                                           MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS        11/29/2018               $27.99
BARBARA EINSEL         522 EAST 7TH AVE                                                             MITCHELL            SD           57301                                  SUPPLIERS OR VENDORS         11/5/2018               $44.80
BARBARA ERSLAND        622 BURRELL AVE #1                                                           LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS         12/7/2018                $5.00
BARBARA FREIBERG       135 CENTRAL AVE                                                              FOND DU LAC         WI           54935                                  SUPPLIERS OR VENDORS        10/22/2018               $40.30
BARBARA GILE           946 E. PARK RIDGE AVE                                                        APPLETON            WI           54911                                  SUPPLIERS OR VENDORS        10/26/2018               $15.00
BARBARA GROVER         135 FRONT ST. APT 8       PARK MANOR                                         PESHTIGO            WI           54157                                  SUPPLIERS OR VENDORS         12/5/2018               $20.00
BARBARA HARTWELL       PO BOX 281                                                                   CHESHIRE            OR           97419                                  SUPPLIERS OR VENDORS        11/12/2018               $21.39

BARBARA HERR           1236 GRAND AVE                                                               HOWARDS GROVE       WI           53083                                  SUPPLIERS OR VENDORS       12/17/2018               $25.00
BARBARA HYER           1320 WASHINGTON ST.                                                          OMAHA               NE           68107                                  SUPPLIERS OR VENDORS        11/1/2018                $8.10
BARBARA KRUEGER        115 CARRIAGE WAY APT 1                                                       PALMYRA             WI           53156                                  SUPPLIERS OR VENDORS        11/5/2018               $31.50
BARBARA LUEPKE         224 E WISCONSIN ST                                                           SEYMOUR             WI           54165                                  SUPPLIERS OR VENDORS        11/2/2018               $25.00
BARBARA MARVIN         1681 HURON ST                                                                THREE LAKES         WI           54562                                  SUPPLIERS OR VENDORS       11/28/2018               $49.60
BARBARA MATTZELA       STORE 2-643               SHOPKO EMPLOYEE         91 W PINE LAKE DRIVE       NEWAYGO             MI           49337                                  SUPPLIERS OR VENDORS       10/18/2018              $524.25
BARBARA MATTZELA       STORE 2-643               SHOPKO EMPLOYEE         91 W PINE LAKE DRIVE       NEWAYGO             MI           49337                                  SUPPLIERS OR VENDORS        11/8/2018              $115.54
BARBARA MATTZELA       STORE 2-643               SHOPKO EMPLOYEE         91 W PINE LAKE DRIVE       NEWAYGO             MI           49337                                  SUPPLIERS OR VENDORS        12/6/2018              $479.44
BARBARA MORRIS         1806 ST GEORGE LANE                                                          JANESVILLE          WI           53545                                  SUPPLIERS OR VENDORS        12/5/2018               $25.00
BARBARA OLSON          STORE 011                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       12/20/2018              $294.31
BARBARA OLSON          STORE 011                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       12/27/2018              $220.73
BARBARA OLSON          4233 MILL RIDGE CIRCLE                                                       EAU CLAIRE          WI           54703                                  SUPPLIERS OR VENDORS       10/25/2018               $10.56
BARBARA PEARMAN        1920 N LACEY                                                                 SPOKANE             WA           99207                                  SUPPLIERS OR VENDORS       12/10/2018               $10.00
BARBARA PEGELOW        N6683 NOBEL RD                                                               HORICON             WI           53032                                  SUPPLIERS OR VENDORS       12/13/2018               $23.51
BARBARA PRESLEY        STORE 619                 SHOPKO EMPLOYEE         220 W LINCOLN STREET       ADAMS               WI           53910-0000                             SUPPLIERS OR VENDORS        11/1/2018               $99.19
BARBARA PRESLEY        STORE 619                 SHOPKO EMPLOYEE         220 W LINCOLN STREET       ADAMS               WI           53910-0000                             SUPPLIERS OR VENDORS        12/6/2018              $405.50
BARBARA PRESLEY        STORE 619                 SHOPKO EMPLOYEE         220 W LINCOLN STREET       ADAMS               WI           53910-0000                             SUPPLIERS OR VENDORS       12/20/2018               $50.00
BARBARA REDENIUS       N846 COLD SPRING ROAD                                                        FORT ATKINSON       WI           53538                                  SUPPLIERS OR VENDORS       12/17/2018               $25.00
BARBARA REIDEL         1932 FIRST STREET                                                            EAU CLAIRE          WI           54703                                  SUPPLIERS OR VENDORS       12/19/2018              $135.38
BARBARA REIF           23044 CHAMOIES CIRCLE                                                        GLENWOOD            IA           51534                                  SUPPLIERS OR VENDORS        11/1/2018               $11.78
BARBARA SAILORS        STORE 704                 SHOPKO EMPLOYEE         13TH & STONE STREET        FALLS CITY          NE           68355                                  SUPPLIERS OR VENDORS        11/9/2018               $70.29
BARBARA SCHELFHOUT     2141 WESTLINE RD                                                             GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS       11/27/2018               $25.00
BARBARA SCHROEDER      909 LUTHER PLACE          APT. 105                                           ALBERT LEA          MN           56007                                  SUPPLIERS OR VENDORS       10/24/2018               $48.96
BARBARA SCHROEDER      909 LUTHER PLACE          APT. 105                                           ALBERT LEA          MN           56007                                  SUPPLIERS OR VENDORS       10/24/2018               $71.40
                                                                                                    MANITOWISH
BARBARA SEIDLER        169 EIGHT BLD                                                                WATERS              WI           54545                                  SUPPLIERS OR VENDORS       10/22/2018               $25.00
BARBARA SHIRES         117 PINE ROAD                                                                KAMIAH              ID           83536                                  SUPPLIERS OR VENDORS        11/9/2018               $15.00
BARBARA SIMONS         W7403 CHICAGO RD                                                             WAUTOMA             WI           54982                                  SUPPLIERS OR VENDORS        11/2/2018               $36.99
BARBARA STADTMUELLER   W 2598 BLACK RD                                                              APPLETON            WI           54915                                  SUPPLIERS OR VENDORS        11/9/2018               $25.00
BARBARA SVATOS         805 9TH STR                                                                  WISNER              NE           68791                                  SUPPLIERS OR VENDORS       11/12/2018               $13.38
BARBIE GREENWATER      270 JUMBO VISTA WAY 202                                                      MISSOULA            MT           59802                                  SUPPLIERS OR VENDORS       10/25/2018               $90.00
BARREL O FUN SNACK
FOODS COMPANY          VICE PRESIDENT OF SALES   PO BOX 230                                         PERHAM              MN           56573                                  SUPPLIERS OR VENDORS       10/18/2018            $9,888.47
BARREL O FUN SNACK
FOODS COMPANY          VICE PRESIDENT OF SALES   PO BOX 230                                         PERHAM              MN           56573                                  SUPPLIERS OR VENDORS        11/8/2018            $9,075.09
BARREL O FUN SNACK
FOODS COMPANY          VICE PRESIDENT OF SALES   PO BOX 230                                         PERHAM              MN           56573                                  SUPPLIERS OR VENDORS       11/15/2018            $7,014.04
BARRY BJORKMAN         APPAREL                   SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       11/16/2018            $1,223.79
BARRY BJORKMAN         APPAREL                   SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS        12/8/2018            $1,180.71
BARRY COX              1009 ALDER ST                                                                SANDPOINT           ID           83864                                  SUPPLIERS OR VENDORS       12/19/2018               $12.50



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BARRY GULLICKSRUD        STORE 099                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS         11/2/2018              $594.30
BARRY GULLICKSRUD        STORE 099                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS        12/22/2018              $430.98
                         PHARMACY OPERATIONS/STORE
BARRY JOHNSON            012                         SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/19/2018              $455.49
                         PHARMACY OPERATIONS/STORE
BARRY JOHNSON            012                         SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/2/2018              $482.97
                         PHARMACY OPERATIONS/STORE
BARRY JOHNSON            012                         SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/27/2018              $412.57
                         PHARMACY OPERATIONS/STORE
BARRY JOHNSON            012                         SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/22/2018              $995.74
                         PHARMACY OPERATIONS/STORE
BARRY JOHNSON            012                         SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/28/2018              $436.15
                         PHARMACY OPERATIONS/STORE
BARRY JOHNSON            012                         SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        1/15/2019              $247.73
BARRY RASKIN             3421 CAMINO ALEGRE                                                            CARLSBAD            CA           92009                                  SUPPLIERS OR VENDORS        11/1/2018            $6,286.30
BARRY RASKIN             3421 CAMINO ALEGRE                                                            CARLSBAD            CA           92009                                  SUPPLIERS OR VENDORS        12/1/2018            $6,286.30
BARRY WILSON             424 23RD STREET SW                                                            MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS        11/5/2018               $48.00
BARRY WILSON             424 23RD STREET SW                                                            MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS       11/12/2018               $12.00
BART HILLIER             6521 W. 4170 S                                                                SALT LAKE CITY      UT           84128                                  SUPPLIERS OR VENDORS       11/28/2018               $23.00
BART MATTINGLY           6019 W PARKHAM WAY                                                            SALT LAKE CITY      UT           84118                                  SUPPLIERS OR VENDORS        11/2/2018               $98.40

BASHA ACCESSORIES LLC    VICE PRESIDENT OF SALES     15 W 37TH 5TH FLOOR                               NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS       10/25/2018           $24,293.11

BASHA ACCESSORIES LLC    VICE PRESIDENT OF SALES     15 W 37TH 5TH FLOOR                               NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS        11/1/2018            $4,200.00

BASHA ACCESSORIES LLC    VICE PRESIDENT OF SALES     15 W 37TH 5TH FLOOR                               NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS        11/8/2018            $3,490.62

BASHA ACCESSORIES LLC    VICE PRESIDENT OF SALES     15 W 37TH 5TH FLOOR                               NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS       11/22/2018           $24,096.51

BASHA ACCESSORIES LLC    VICE PRESIDENT OF SALES     15 W 37TH 5TH FLOOR                               NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS       11/29/2018           $27,166.31
BASIC FUN INC            301 YAMATO ROAD STE 2112                                                      BOCA RATON          FL           33431                                  SUPPLIERS OR VENDORS       10/18/2018            $8,529.70
BASIC FUN INC            301 YAMATO ROAD STE 2112                                                      BOCA RATON          FL           33431                                  SUPPLIERS OR VENDORS       11/15/2018          $153,459.08
                         5742 WEST HAROLD GATTY
BASIC RESEARCH           DRIVE                                                                         SALT LAKE CITY      UT           84116                                  SUPPLIERS OR VENDORS       10/18/2018            $1,151.65
                         5742 WEST HAROLD GATTY
BASIC RESEARCH           DRIVE                                                                         SALT LAKE CITY      UT           84116                                  SUPPLIERS OR VENDORS       10/25/2018              $443.56
                         5742 WEST HAROLD GATTY
BASIC RESEARCH           DRIVE                                                                         SALT LAKE CITY      UT           84116                                  SUPPLIERS OR VENDORS        11/1/2018              $376.04
                         5742 WEST HAROLD GATTY
BASIC RESEARCH           DRIVE                                                                         SALT LAKE CITY      UT           84116                                  SUPPLIERS OR VENDORS        11/8/2018            $1,316.18
                         5742 WEST HAROLD GATTY
BASIC RESEARCH           DRIVE                                                                         SALT LAKE CITY      UT           84116                                  SUPPLIERS OR VENDORS       11/15/2018              $493.56
                         5742 WEST HAROLD GATTY
BASIC RESEARCH           DRIVE                                                                         SALT LAKE CITY      UT           84116                                  SUPPLIERS OR VENDORS       11/22/2018              $822.60
                         5742 WEST HAROLD GATTY
BASIC RESEARCH           DRIVE                                                                         SALT LAKE CITY      UT           84116                                  SUPPLIERS OR VENDORS       11/29/2018              $852.81

BASS SECURITY SERVICES INC 26701 RICHMOND ROAD                                                         BEDFORD HEIGHTS OH               44146                                  SUPPLIERS OR VENDORS       10/18/2018            $1,762.79

BASS SECURITY SERVICES INC 26701 RICHMOND ROAD                                                         BEDFORD HEIGHTS OH               44146                                  SUPPLIERS OR VENDORS       10/25/2018              $408.67

BASS SECURITY SERVICES INC 26701 RICHMOND ROAD                                                         BEDFORD HEIGHTS OH               44146                                  SUPPLIERS OR VENDORS       10/25/2018            $1,004.47

BASS SECURITY SERVICES INC 26701 RICHMOND ROAD                                                         BEDFORD HEIGHTS OH               44146                                  SUPPLIERS OR VENDORS        11/1/2018              $659.94



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                                                                                                                                                                            Reasons for payment or    Dates of    Total Amount or
      Creditor Name                Address1            Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value

BASS SECURITY SERVICES INC 26701 RICHMOND ROAD                                                     BEDFORD HEIGHTS OH               44146                                  SUPPLIERS OR VENDORS       11/8/2018            $550.97

BASS SECURITY SERVICES INC 26701 RICHMOND ROAD                                                     BEDFORD HEIGHTS OH               44146                                  SUPPLIERS OR VENDORS      11/15/2018            $596.85

BASS SECURITY SERVICES INC 26701 RICHMOND ROAD                                                     BEDFORD HEIGHTS OH               44146                                  SUPPLIERS OR VENDORS      11/29/2018           $8,696.98
                           LITTLE WOLF BATTERY
BATTERIES PLUS             COMPANY               5501 HIGHWAY 10 E                                 STEVENS POINT       WI           54482-0000                             SUPPLIERS OR VENDORS      11/30/2018            $153.92

BATTERIES PLUS LLC       BPB COMPANY STORES      29314 NETWORK PLACE                               CHICAGO             IL           60673-1293                             SUPPLIERS OR VENDORS      12/17/2018               $6.15
BAUM BROTHERS IMPORTS
INC                      PO BOX 930823                                                             ATLANTA             GA           31193-0823                             SUPPLIERS OR VENDORS      10/18/2018           $1,411.97
BAUM BROTHERS IMPORTS
INC                      PO BOX 930823                                                             ATLANTA             GA           31193-0823                             SUPPLIERS OR VENDORS      10/25/2018         $13,111.20
BAUM BROTHERS IMPORTS
INC                      PO BOX 930823                                                             ATLANTA             GA           31193-0823                             SUPPLIERS OR VENDORS       11/1/2018           $8,338.00
BAUM BROTHERS IMPORTS
INC                      PO BOX 930823                                                             ATLANTA             GA           31193-0823                             SUPPLIERS OR VENDORS       11/8/2018         $15,609.10
BAUM BROTHERS IMPORTS
INC                      PO BOX 930823                                                             ATLANTA             GA           31193-0823                             SUPPLIERS OR VENDORS      11/15/2018           $2,676.00
BAUM BROTHERS IMPORTS
INC                      PO BOX 930823                                                             ATLANTA             GA           31193-0823                             SUPPLIERS OR VENDORS      11/22/2018            $924.60
BAUM BROTHERS IMPORTS
INC                      PO BOX 930823                                                             ATLANTA             GA           31193-0823                             SUPPLIERS OR VENDORS      11/29/2018           $3,478.88
BAUSCH & LOMB
SUBSIDIARY OF VALEANT    PHARMACY OTC ACCT CO    PO BOX 75128                                      CHICAGO             IL           60675-5128                             SUPPLIERS OR VENDORS      10/18/2018         $19,564.97
BAUSCH & LOMB
SUBSIDIARY OF VALEANT    PHARMACY OTC ACCT CO    PO BOX 75128                                      CHICAGO             IL           60675-5128                             SUPPLIERS OR VENDORS      10/25/2018         $60,143.09
BAUSCH & LOMB
SUBSIDIARY OF VALEANT    PHARMACY OTC ACCT CO    PO BOX 75128                                      CHICAGO             IL           60675-5128                             SUPPLIERS OR VENDORS       11/1/2018         $19,752.93
BAUSCH & LOMB
SUBSIDIARY OF VALEANT    PHARMACY OTC ACCT CO    PO BOX 75128                                      CHICAGO             IL           60675-5128                             SUPPLIERS OR VENDORS       11/8/2018         $26,485.35
BAUSCH & LOMB
SUBSIDIARY OF VALEANT    PHARMACY OTC ACCT CO    PO BOX 75128                                      CHICAGO             IL           60675-5128                             SUPPLIERS OR VENDORS      11/15/2018         $40,768.35
BAUSCH & LOMB
SUBSIDIARY OF VALEANT    PHARMACY OTC ACCT CO    PO BOX 75128                                      CHICAGO             IL           60675-5128                             SUPPLIERS OR VENDORS      11/22/2018         $31,650.78
BAUSCH & LOMB
SUBSIDIARY OF VALEANT    PHARMACY OTC ACCT CO    PO BOX 75128                                      CHICAGO             IL           60675-5128                             SUPPLIERS OR VENDORS      11/29/2018         $14,035.29
BAYER                    PO BOX 650512                                                             DALLAS              TX           75265-0512                             SUPPLIERS OR VENDORS      10/18/2018         $17,271.34
BAYER                    PO BOX 650512                                                             DALLAS              TX           75265-0512                             SUPPLIERS OR VENDORS      10/23/2018            $561.13
BAYER                    PO BOX 650512                                                             DALLAS              TX           75265-0512                             SUPPLIERS OR VENDORS      10/24/2018            $106.80
BAYER                    PO BOX 650512                                                             DALLAS              TX           75265-0512                             SUPPLIERS OR VENDORS       11/7/2018         $77,180.35
BAYER                    PO BOX 650512                                                             DALLAS              TX           75265-0512                             SUPPLIERS OR VENDORS       11/9/2018         $14,783.44
BAYER                    PO BOX 650512                                                             DALLAS              TX           75265-0512                             SUPPLIERS OR VENDORS      11/15/2018         $47,994.77
BAYER                    PO BOX 650512                                                             DALLAS              TX           75265-0512                             SUPPLIERS OR VENDORS      11/16/2018         $13,292.22
BAYER                    PO BOX 650512                                                             DALLAS              TX           75265-0512                             SUPPLIERS OR VENDORS      11/24/2018         $57,827.51
BAYER                    PO BOX 650512                                                             DALLAS              TX           75265-0512                             SUPPLIERS OR VENDORS      11/28/2018         $67,813.96
BAYER                    PO BOX 650512                                                             DALLAS              TX           75265-0512                             SUPPLIERS OR VENDORS      11/30/2018         $10,462.05
BAYER                    PO BOX 650512                                                             DALLAS              TX           75265-0512                             SUPPLIERS OR VENDORS       12/5/2018         $29,750.09
BAYER                    PO BOX 650512                                                             DALLAS              TX           75265-0512                             SUPPLIERS OR VENDORS       12/6/2018         $25,119.69
BB17 LLC                 C/O GLENN ABRAHAMSON    10165 EXCELSIOR AVE                               HANFORD             CA           93230                                  SUPPLIERS OR VENDORS      10/25/2018          $7,920.23
BB17 LLC                 C/O GLENN ABRAHAMSON    10165 EXCELSIOR AVE                               HANFORD             CA           93230                                  SUPPLIERS OR VENDORS       11/1/2018        $114,582.37
BB17 LLC                 C/O GLENN ABRAHAMSON    10165 EXCELSIOR AVE                               HANFORD             CA           93230                                  SUPPLIERS OR VENDORS      11/22/2018         $15,788.28
BB17 LLC                 C/O GLENN ABRAHAMSON    10165 EXCELSIOR AVE                               HANFORD             CA           93230                                  SUPPLIERS OR VENDORS      11/29/2018          $8,236.80



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                                                                                                                                                                                  Reasons for payment or    Dates of     Total Amount or
      Creditor Name               Address1                  Address2                  Address3                 City              State       Zip            Country                      transfer          Payments            Value
BBLUV GROUP COM          2820 DUCHESNE                                                                  ST LAURANT          QC           H4N 1J7      CANADA                    SUPPLIERS OR VENDORS        10/26/2018               $8.40
BBLUV GROUP COM          2820 DUCHESNE                                                                  ST LAURANT          QC           H4N 1J7      CANADA                    SUPPLIERS OR VENDORS         11/9/2018               $6.00
BC COMMERCIAL LAUNDRY
SERVICE                  MARK WHITE                  611 E JOHN STREET                                  MARKESAN            WI           53946                                  SUPPLIERS OR VENDORS       10/25/2018             $565.09
BC COMMERCIAL LAUNDRY
SERVICE                  MARK WHITE                  611 E JOHN STREET                                  MARKESAN            WI           53946                                  SUPPLIERS OR VENDORS       11/29/2018             $690.31

BCI COCA-COLA BOTTLING
COMPANY OF LA LLC        C/O COCA COLA REFRESHMENTS REDDING SALES CENTER PO BOX 740214                  LOS ANGELES         CA           90074-0214                             SUPPLIERS OR VENDORS       10/19/2018             $309.47

BCI COCA-COLA BOTTLING
COMPANY OF LA LLC        C/O COCA COLA REFRESHMENTS REDDING SALES CENTER PO BOX 740214                  LOS ANGELES         CA           90074-0214                             SUPPLIERS OR VENDORS       10/26/2018             $478.20

BCI COCA-COLA BOTTLING
COMPANY OF LA LLC        C/O COCA COLA REFRESHMENTS REDDING SALES CENTER PO BOX 740214                  LOS ANGELES         CA           90074-0214                             SUPPLIERS OR VENDORS        11/2/2018           $4,711.63

BCI COCA-COLA BOTTLING
COMPANY OF LA LLC        C/O COCA COLA REFRESHMENTS REDDING SALES CENTER PO BOX 740214                  LOS ANGELES         CA           90074-0214                             SUPPLIERS OR VENDORS       11/16/2018           $3,050.13

BCI COCA-COLA BOTTLING
COMPANY OF LA LLC        C/O COCA COLA REFRESHMENTS REDDING SALES CENTER PO BOX 740214                  LOS ANGELES         CA           90074-0214                             SUPPLIERS OR VENDORS       11/30/2018           $1,679.16

BCI COCA-COLA BOTTLING
COMPANY OF LA LLC        C/O COCA COLA REFRESHMENTS REDDING SALES CENTER PO BOX 740214                  LOS ANGELES         CA           90074-0214                             SUPPLIERS OR VENDORS       12/19/2018           $1,852.13
                         3601 S CONGRESS AVE STE B-
BEANITOS INC             500                                                                            AUSTIN              TX           78704                                  SUPPLIERS OR VENDORS       10/18/2018             $343.40
BEAR COUNTRY BUILDERS
INC                      PO BOX 1292                                                                    AFTON               WY           83110                                  SUPPLIERS OR VENDORS       10/18/2018           $5,500.00
BEATRICE LASKO           7867 IBAND AVENUE                                                              SPARTA              WI           54656                                  SUPPLIERS OR VENDORS        12/7/2018              $23.40
                         14 VANDERVENTER AVE SUITE                                                      PORT
BEAUTY IDEAS GROUP LLC   129                                                                            WASHINGTON          NY           11050                                  SUPPLIERS OR VENDORS       10/18/2018           $1,214.35
                         14 VANDERVENTER AVE SUITE                                                      PORT
BEAUTY IDEAS GROUP LLC   129                                                                            WASHINGTON          NY           11050                                  SUPPLIERS OR VENDORS       11/15/2018           $1,230.28
BEAUTY TWENTY ONE
COSMETICS INC            2021 S ARCHBOLD AVENUE                                                         ONTARIO             CA           91761                                  SUPPLIERS OR VENDORS       10/25/2018          $11,175.72
BEAUTY TWENTY ONE
COSMETICS INC            2021 S ARCHBOLD AVENUE                                                         ONTARIO             CA           91761                                  SUPPLIERS OR VENDORS        11/8/2018          $12,078.76
BEAUTY TWENTY ONE
COSMETICS INC            2021 S ARCHBOLD AVENUE                                                         ONTARIO             CA           91761                                  SUPPLIERS OR VENDORS       11/22/2018          $11,197.95
BEAUTY TWENTY ONE
COSMETICS INC            2021 S ARCHBOLD AVENUE                                                         ONTARIO             CA           91761                                  SUPPLIERS OR VENDORS       11/29/2018             $114.72

BEAVER COUNTY TREASURER PO BOX 432                                                                      BEAVER              UT           84713                                  SUPPLIERS OR VENDORS       11/26/2018          $18,166.44

BEAVER DEVELOPMENT LLC   PO BOX 791                                                                     DILLON              MT           59725                                  SUPPLIERS OR VENDORS       11/15/2018           $2,916.67

BEAVER DEVELOPMENT LLC   PO BOX 791                                                                     DILLON              MT           59725                                  SUPPLIERS OR VENDORS       12/19/2018           $2,916.67
BEAVERHEAD COUNTY
TREASURER                102 N WASHINGTON                                                               DILON               MT           59725-2631                             SUPPLIERS OR VENDORS       11/26/2018          $14,729.63
BEAZER LOCK & KEY
INCORPORATED             395 N 100 W                                                                    LOGAN               UT           84321                                  SUPPLIERS OR VENDORS       11/15/2018             $135.42
BECKER & SORENSEN P C    GREG A SORENSEN             5421 BETHPAGE DRIVE                                RAPID CITY          SD           57702                                  SUPPLIERS OR VENDORS       10/19/2018           $4,184.73
BECKER & SORENSEN P C    GREG A SORENSEN             5421 BETHPAGE DRIVE                                RAPID CITY          SD           57702                                  SUPPLIERS OR VENDORS        11/2/2018           $5,751.54
BECKER & SORENSEN P C    GREG A SORENSEN             5421 BETHPAGE DRIVE                                RAPID CITY          SD           57702                                  SUPPLIERS OR VENDORS       11/16/2018           $4,717.60



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       Creditor Name                Address1          Address2                 Address3                 City              State       Zip              Country                    transfer          Payments            Value
BECKER & SORENSEN P C     GREG A SORENSEN      5421 BETHPAGE DRIVE                               RAPID CITY          SD           57702                                  SUPPLIERS OR VENDORS        11/30/2018            $4,605.68
BECKER & SORENSEN P C     GREG A SORENSEN      5421 BETHPAGE DRIVE                               RAPID CITY          SD           57702                                  SUPPLIERS OR VENDORS        12/14/2018            $4,373.65
BECKER & SORENSEN P C     GREG A SORENSEN      5421 BETHPAGE DRIVE                               RAPID CITY          SD           57702                                  SUPPLIERS OR VENDORS        12/29/2018            $3,799.41
BECKER & SORENSEN P C     GREG A SORENSEN      5421 BETHPAGE DRIVE                               RAPID CITY          SD           57702                                  SUPPLIERS OR VENDORS         1/11/2019            $2,363.45
BECKER LAWN CARE
SERVICES INCORPORATED     PO BOX 11                                                              JUNEAU              WI           53039                                  SUPPLIERS OR VENDORS        11/1/2018              $284.85
BECKER LAWN CARE
SERVICES INCORPORATED     PO BOX 11                                                              JUNEAU              WI           53039                                  SUPPLIERS OR VENDORS       11/15/2018              $189.90
BECKY SMITH               PO BOX 605                                                             AUMSVILLE           OR           97325                                  SUPPLIERS OR VENDORS       10/25/2018               $20.01
BEDTIME ORIGINALS LAMBS                                               COLLECTED $1500
& IVY INC                 SHOPKO STORES        PO BOX 19060           02/02/11                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/19/2018            $4,171.12
BEDTIME ORIGINALS LAMBS                                               COLLECTED $1500
& IVY INC                 SHOPKO STORES        PO BOX 19060           02/02/11                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/8/2018            $2,017.69
BEE YANG                  13298 39TH AVE                                                         CHIPPEWA FALLS      WI           54729                                  SUPPLIERS OR VENDORS       11/14/2018               $64.00
BEECHWOOD SALES &
SERVICE                   PO BOX 510946                                                          NEW BERLIN          WI           53151-0946                             SUPPLIERS OR VENDORS       10/19/2018            $1,141.80
BEECHWOOD SALES &
SERVICE                   PO BOX 510946                                                          NEW BERLIN          WI           53151-0946                             SUPPLIERS OR VENDORS       10/22/2018              $197.60
BEECHWOOD SALES &
SERVICE                   PO BOX 510946                                                          NEW BERLIN          WI           53151-0946                             SUPPLIERS OR VENDORS       10/23/2018              $129.60
BEECHWOOD SALES &
SERVICE                   PO BOX 510946                                                          NEW BERLIN          WI           53151-0946                             SUPPLIERS OR VENDORS       10/26/2018               $22.15
BEECHWOOD SALES &
SERVICE                   PO BOX 510946                                                          NEW BERLIN          WI           53151-0946                             SUPPLIERS OR VENDORS       10/26/2018              $728.40
BEECHWOOD SALES &
SERVICE                   PO BOX 510946                                                          NEW BERLIN          WI           53151-0946                             SUPPLIERS OR VENDORS       10/29/2018              $162.35
BEECHWOOD SALES &
SERVICE                   PO BOX 510946                                                          NEW BERLIN          WI           53151-0946                             SUPPLIERS OR VENDORS       10/30/2018               $99.50
BEECHWOOD SALES &
SERVICE                   PO BOX 510946                                                          NEW BERLIN          WI           53151-0946                             SUPPLIERS OR VENDORS        11/2/2018               $66.45
BEECHWOOD SALES &
SERVICE                   PO BOX 510946                                                          NEW BERLIN          WI           53151-0946                             SUPPLIERS OR VENDORS        11/2/2018            $1,456.65
BEECHWOOD SALES &
SERVICE                   PO BOX 510946                                                          NEW BERLIN          WI           53151-0946                             SUPPLIERS OR VENDORS        11/5/2018              $140.00
BEECHWOOD SALES &
SERVICE                   PO BOX 510946                                                          NEW BERLIN          WI           53151-0946                             SUPPLIERS OR VENDORS        11/9/2018               $83.70
BEECHWOOD SALES &
SERVICE                   PO BOX 510946                                                          NEW BERLIN          WI           53151-0946                             SUPPLIERS OR VENDORS       11/16/2018               $66.45
BEECHWOOD SALES &
SERVICE                   PO BOX 510946                                                          NEW BERLIN          WI           53151-0946                             SUPPLIERS OR VENDORS       11/16/2018              $934.95
BEECHWOOD SALES &
SERVICE                   PO BOX 510946                                                          NEW BERLIN          WI           53151-0946                             SUPPLIERS OR VENDORS       11/22/2018              $437.20
BEECHWOOD SALES &
SERVICE                   PO BOX 510946                                                          NEW BERLIN          WI           53151-0946                             SUPPLIERS OR VENDORS       11/23/2018               $22.15
BEECHWOOD SALES &
SERVICE                   PO BOX 510946                                                          NEW BERLIN          WI           53151-0946                             SUPPLIERS OR VENDORS       11/23/2018              $664.10
BEECHWOOD SALES &
SERVICE                   PO BOX 510946                                                          NEW BERLIN          WI           53151-0946                             SUPPLIERS OR VENDORS       11/26/2018              $132.95
BEECHWOOD SALES &
SERVICE                   PO BOX 510946                                                          NEW BERLIN          WI           53151-0946                             SUPPLIERS OR VENDORS       11/30/2018               $44.30
BEECHWOOD SALES &
SERVICE                   PO BOX 510946                                                          NEW BERLIN          WI           53151-0946                             SUPPLIERS OR VENDORS       11/30/2018            $1,575.25
BEECHWOOD SALES &
SERVICE                   PO BOX 510946                                                          NEW BERLIN          WI           53151-0946                             SUPPLIERS OR VENDORS       12/20/2018            $2,108.65



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BEECHWOOD SALES &
SERVICE                    PO BOX 510946                                                               NEW BERLIN          WI           53151-0946                             SUPPLIERS OR VENDORS      12/27/2018            $844.00
BEIERSDORF INCORPORATED
597184                     PO BOX 751807                                                               CHARLOTTE           NC           28275-1807                             SUPPLIERS OR VENDORS      10/18/2018           $6,055.81
BEIERSDORF INCORPORATED
597184                     PO BOX 751807                                                               CHARLOTTE           NC           28275-1807                             SUPPLIERS OR VENDORS      10/25/2018           $8,997.81
BEIERSDORF INCORPORATED
597184                     PO BOX 751807                                                               CHARLOTTE           NC           28275-1807                             SUPPLIERS OR VENDORS       11/1/2018           $9,772.27
BEIERSDORF INCORPORATED
597184                     PO BOX 751807                                                               CHARLOTTE           NC           28275-1807                             SUPPLIERS OR VENDORS       11/8/2018         $11,092.01
BEIERSDORF INCORPORATED
597184                     PO BOX 751807                                                               CHARLOTTE           NC           28275-1807                             SUPPLIERS OR VENDORS      11/15/2018           $4,500.77
BEIERSDORF INCORPORATED
597184                     PO BOX 751807                                                               CHARLOTTE           NC           28275-1807                             SUPPLIERS OR VENDORS      11/22/2018         $14,145.87
BEIERSDORF INCORPORATED
597184                     PO BOX 751807                                                               CHARLOTTE           NC           28275-1807                             SUPPLIERS OR VENDORS      11/29/2018         $17,705.98
BELINDA KROSKA             32608 IRONWOOD DR.                                                          SAINT JOSEPH        MN           56374                                  SUPPLIERS OR VENDORS      12/21/2018            $121.00
BELL PHARMACEUTICALS
INCORPORATED               PO BOX 128                                                                  BELLE PLAINE        MN           56011                                  SUPPLIERS OR VENDORS      10/18/2018           $1,591.56
BELL PHARMACEUTICALS
INCORPORATED               PO BOX 128                                                                  BELLE PLAINE        MN           56011                                  SUPPLIERS OR VENDORS      10/25/2018           $1,556.64
BELL PHARMACEUTICALS
INCORPORATED               PO BOX 128                                                                  BELLE PLAINE        MN           56011                                  SUPPLIERS OR VENDORS       11/1/2018            $931.32
BELL PHARMACEUTICALS
INCORPORATED               PO BOX 128                                                                  BELLE PLAINE        MN           56011                                  SUPPLIERS OR VENDORS       11/8/2018            $955.76
BELL PHARMACEUTICALS
INCORPORATED               PO BOX 128                                                                  BELLE PLAINE        MN           56011                                  SUPPLIERS OR VENDORS      11/15/2018           $1,681.92
BELL PHARMACEUTICALS
INCORPORATED               PO BOX 128                                                                  BELLE PLAINE        MN           56011                                  SUPPLIERS OR VENDORS      11/22/2018           $1,887.12
BELL PHARMACEUTICALS
INCORPORATED               PO BOX 128                                                                  BELLE PLAINE        MN           56011                                  SUPPLIERS OR VENDORS      11/29/2018            $676.08
BELL PHARMACEUTICALS
INCORPORATED               PO BOX 128                                                                  BELLE PLAINE        MN           56011                                  SUPPLIERS OR VENDORS      12/12/2018           $1,898.12
BELL PHARMACEUTICALS
INCORPORATED               PO BOX 128                                                                  BELLE PLAINE        MN           56011                                  SUPPLIERS OR VENDORS      12/18/2018            $421.20
BELL PHARMACEUTICALS
INCORPORATED               PO BOX 128                                                                  BELLE PLAINE        MN           56011                                  SUPPLIERS OR VENDORS      12/27/2018            $695.88

BELLIN MEMORIAL HOSPITAL PO BOX 23400                                                                  GREEN BAY           WI           54305-3400                             SUPPLIERS OR VENDORS       11/1/2018           $1,372.50

BELLIN MEMORIAL HOSPITAL   PO BOX 23400                                                                GREEN BAY           WI           54305-3400                             SUPPLIERS OR VENDORS       12/1/2018           $1,372.50
BEMIS MANUFACTURING        ACCOUNTS RECEIVABLE       BIN 88383                                         MILWAUKEE           WI           53288-0383                             SUPPLIERS OR VENDORS      10/19/2018           $2,359.64
BEMIS MANUFACTURING        ACCOUNTS RECEIVABLE       BIN 88383                                         MILWAUKEE           WI           53288-0383                             SUPPLIERS OR VENDORS      10/26/2018           $1,685.92
BEMIS MANUFACTURING        ACCOUNTS RECEIVABLE       BIN 88383                                         MILWAUKEE           WI           53288-0383                             SUPPLIERS OR VENDORS      10/30/2018             $763.20
BEMIS MANUFACTURING        ACCOUNTS RECEIVABLE       BIN 88383                                         MILWAUKEE           WI           53288-0383                             SUPPLIERS OR VENDORS       11/2/2018             $552.92
BEMIS MANUFACTURING        ACCOUNTS RECEIVABLE       BIN 88383                                         MILWAUKEE           WI           53288-0383                             SUPPLIERS OR VENDORS       11/9/2018           $2,138.38
BEMIS MANUFACTURING        ACCOUNTS RECEIVABLE       BIN 88383                                         MILWAUKEE           WI           53288-0383                             SUPPLIERS OR VENDORS      11/16/2018             $576.64
BEMIS MANUFACTURING        ACCOUNTS RECEIVABLE       BIN 88383                                         MILWAUKEE           WI           53288-0383                             SUPPLIERS OR VENDORS      11/23/2018           $1,824.32
BEMIS MANUFACTURING        ACCOUNTS RECEIVABLE       BIN 88383                                         MILWAUKEE           WI           53288-0383                             SUPPLIERS OR VENDORS      11/27/2018             $218.28
BEMIS MANUFACTURING        ACCOUNTS RECEIVABLE       BIN 88383                                         MILWAUKEE           WI           53288-0383                             SUPPLIERS OR VENDORS      11/30/2018             $886.56
BEN LAFOREST               REAL ESTATE               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/1/2018             $608.14
BEN MARTINEZ               1104 7TH AVE WEST                                                           KALISPELL           MT           59901                                  SUPPLIERS OR VENDORS      11/29/2018              $38.00
                                                     6623 E WASHINGTON
BENIKO INCORPORATED        VICE PRESIDENT OF SALES   BLVD                                              LOS ANGELES         CA           90040                                  SUPPLIERS OR VENDORS      10/18/2018           $5,402.15



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                                                                                                                                                                                 Reasons for payment or    Dates of    Total Amount or
     Creditor Name                  Address1                 Address2                 Address3                 City              State       Zip              Country                   transfer          Payments           Value
                                                      6623 E WASHINGTON
BENIKO INCORPORATED       VICE PRESIDENT OF SALES     BLVD                                              LOS ANGELES         CA           90040                                  SUPPLIERS OR VENDORS      10/25/2018         $14,806.00
BENITA WIOTA              1020 CINNAMON AVENUE                                                          EUGENE              OR           97404                                  SUPPLIERS OR VENDORS      10/18/2018             $59.99
BENJAMIN DICKMAN          902 BURLINGTON AVE                                                            WORTHINGTON         MN           56187                                  SUPPLIERS OR VENDORS       12/7/2018             $23.00
BENJAMIN KRUMHOLZ         431 ROBERT LN                                                                 GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS       11/2/2018             $12.50
BENJAMIN MILLETT          2298 N AMETHYST AVE                                                           MERIDIAN            ID           83646                                  SUPPLIERS OR VENDORS      11/29/2018             $19.99
BENJAMIN MILLETT          2298 N AMETHYST AVE                                                           MERIDIAN            ID           83646                                  SUPPLIERS OR VENDORS      11/29/2018             $19.99
BENJAMIN MINCH            STORE 2-019                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/26/2018             $79.57
BENJAMIN MITCHELL         N 630 15TH LANE                                                               WAUTOMA             WI           54982                                  SUPPLIERS OR VENDORS      11/14/2018             $23.00
BENJAMIN PEARCE           1029 STATE ST. APT. 28                                                        RIVER FALLS         WI           54022                                  SUPPLIERS OR VENDORS      11/26/2018             $29.00
BENJAMIN SORENSON         3716 E. 31ST                                                                  SPOKANE             WA           99223                                  SUPPLIERS OR VENDORS       11/5/2018             $26.02
BENJAMIN WISE             25742 TRACY ST                                                                MIDDLETON           ID           83644                                  SUPPLIERS OR VENDORS      11/28/2018             $29.75
BENJAMIN WISE             25742 TRACY ST                                                                MIDDLETON           ID           83644                                  SUPPLIERS OR VENDORS      11/28/2018             $29.75
BENNY WALKER              1982 22ND ST.                                                                 RICE LAKE           WI           54868                                  SUPPLIERS OR VENDORS      11/29/2018             $25.00
BENO PLUMBING & HEATING
INCORPORATED              PO BOX 8025                                                                   GREEN BAY           WI           54308                                  SUPPLIERS OR VENDORS      10/25/2018            $148.23
BENO PLUMBING & HEATING
INCORPORATED              PO BOX 8025                                                                   GREEN BAY           WI           54308                                  SUPPLIERS OR VENDORS       11/1/2018            $148.23
BENO PLUMBING & HEATING
INCORPORATED              PO BOX 8025                                                                   GREEN BAY           WI           54308                                  SUPPLIERS OR VENDORS      12/17/2018            $244.65
                          34 WEST 33RD STREET ROOM
BENTEX GROUP INC          200                                                                           NEW YORK            NY           10001-0000                             SUPPLIERS OR VENDORS      10/19/2018           $1,972.09
                          34 WEST 33RD STREET ROOM
BENTEX GROUP INC          200                                                                           NEW YORK            NY           10001-0000                             SUPPLIERS OR VENDORS      10/22/2018         $56,968.52
                          34 WEST 33RD STREET ROOM
BENTEX GROUP INC          200                                                                           NEW YORK            NY           10001-0000                             SUPPLIERS OR VENDORS      10/23/2018         $16,376.20
                          34 WEST 33RD STREET ROOM
BENTEX GROUP INC          200                                                                           NEW YORK            NY           10001-0000                             SUPPLIERS OR VENDORS      10/25/2018           $1,632.00
                          34 WEST 33RD STREET ROOM
BENTEX GROUP INC          200                                                                           NEW YORK            NY           10001-0000                             SUPPLIERS OR VENDORS      11/29/2018         $20,352.28
                          34 WEST 33RD STREET ROOM
BENTEX GROUP INC          200                                                                           NEW YORK            NY           10001-0000                             SUPPLIERS OR VENDORS      11/30/2018           $1,648.69
                          34 WEST 33RD STREET ROOM
BENTEX GROUP INC          200                                                                           NEW YORK            NY           10001-0000                             SUPPLIERS OR VENDORS       12/3/2018           $2,374.29
                          34 WEST 33RD STREET ROOM
BENTEX GROUP INC          200                                                                           NEW YORK            NY           10001-0000                             SUPPLIERS OR VENDORS      12/11/2018         $28,705.94
BENTON FRANKLIN HEALTH
DISTRICT                  7102 W OKANOGAN PLACE                                                         KENNEWICK           WA           99336                                  SUPPLIERS OR VENDORS      12/17/2018            $300.00
BERGENSONS PROPERTY
SERVICES INC              1575 HENTHORNE DRIVE                                                          MAUMEE              OH           43537                                  SUPPLIERS OR VENDORS      10/23/2018        $168,821.09
BERGENSONS PROPERTY
SERVICES INC              1575 HENTHORNE DRIVE                                                          MAUMEE              OH           43537                                  SUPPLIERS OR VENDORS       11/6/2018        $168,079.99
BERGENSONS PROPERTY
SERVICES INC              1575 HENTHORNE DRIVE                                                          MAUMEE              OH           43537                                  SUPPLIERS OR VENDORS      11/27/2018        $197,517.83
BERGENSONS PROPERTY
SERVICES INC              1575 HENTHORNE DRIVE                                                          MAUMEE              OH           43537                                  SUPPLIERS OR VENDORS      12/13/2018        $175,932.27
BERGENSONS PROPERTY
SERVICES INC              1575 HENTHORNE DRIVE                                                          MAUMEE              OH           43537                                  SUPPLIERS OR VENDORS      12/19/2018        $181,936.58
BERKELEY RESEARCH GROUP   2200 POWELL STREET SUITE
LLC                       1200                                                                          EMERYVILLE          CA           94608                                  SUPPLIERS OR VENDORS       11/8/2018        $231,060.92
BERKELEY RESEARCH GROUP   2200 POWELL STREET, SUITE
LLC                       1200                                                                          EMERYVILLE          CA           94608                                  BANKRUPTCY SERVICES       12/17/2018        $500,000.00
BERKELEY RESEARCH GROUP   2200 POWELL STREET, SUITE
LLC                       1200                                                                          EMERYVILLE          CA           94608                                  BANKRUPTCY SERVICES       12/20/2018        $500,000.00



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                                                                                                                                                                                 Reasons for payment or    Dates of     Total Amount or
      Creditor Name                 Address1                Address2                  Address3                 City              State       Zip              Country                   transfer          Payments            Value
BERKELEY RESEARCH GROUP   2200 POWELL STREET SUITE
LLC                       1200                                                                          EMERYVILLE          CA           94608                                  SUPPLIERS OR VENDORS         1/4/2019        $205,831.95
BERKELEY RESEARCH GROUP   2200 POWELL STREET, SUITE
LLC                       1200                                                                          EMERYVILLE          CA           94608                                  BANKRUPTCY SERVICES          1/8/2019        $500,000.00
BERKELEY RESEARCH GROUP   2200 POWELL STREET, SUITE
LLC                       1200                                                                          EMERYVILLE          CA           94608                                  BANKRUPTCY SERVICES          1/9/2019        $218,331.95
BERKELEY RESEARCH GROUP   2200 POWELL STREET, SUITE
LLC                       1200                                                                          EMERYVILLE          CA           94608                                  BANKRUPTCY SERVICES        1/11/2019         $500,000.00
BERNADINE REXILIUS        4620 RANDOLPH ST                                                              LINCOLN             NE           68510                                  SUPPLIERS OR VENDORS      11/26/2018              $13.45
BERNARD DAVIS             P.O. BOX384                                                                   PELL LAKE           WI           53157                                  SUPPLIERS OR VENDORS      12/20/2018               $1.00
BERNARD DAVIS             P.O. BOX384                                                                   PELL LAKE           WI           53157                                  SUPPLIERS OR VENDORS      12/20/2018               $2.00

BERNARD FOWLER            3821 75TH ST S                                                                WISCONSIN RAPIDS    WI           54494                                  SUPPLIERS OR VENDORS       12/7/2018             $175.00
BERNARD KRONEBUSCH        622 EAST 2ND STREET                                                           WINONA              MN           55987                                  SUPPLIERS OR VENDORS      11/12/2018              $66.30
BERNARD MASEK             540 WASHINGTON STREET                                                         DOUGLAS             NE           68344                                  SUPPLIERS OR VENDORS       12/3/2018              $13.15
BERNARD STERN             3404 CALEB CT                                                                 WEST BEND           WI           53090                                  SUPPLIERS OR VENDORS      12/17/2018              $16.64
BERNI BRADISON            2109 PROVIDENCE CT.                                                           EAU CLAIRE          WI           54703                                  SUPPLIERS OR VENDORS      11/12/2018              $23.76
BERNICE EDDY              PO BOX 63                                                                     WOONSOCKET          SD           57385                                  SUPPLIERS OR VENDORS      11/16/2018               $8.32
BERNICE SEITZ             222 NORTH 2ND                                                                 ARTESIAN            SD           57314                                  SUPPLIERS OR VENDORS      10/24/2018              $38.68
BERNICE SEITZ             222 NORTH 2ND                                                                 ARTESIAN            SD           57314                                  SUPPLIERS OR VENDORS       11/1/2018               $8.32
BERNICE VONDERLOH         W4778 S. PEARL LAKE RD                                                        REDGRANITE          WI           54970                                  SUPPLIERS OR VENDORS      10/26/2018               $2.73
BERNICK COMPANIES OF ST
CLOUD                     PO BOX 7457                                                                   ST CLOUD            MN           56302-7457                             SUPPLIERS OR VENDORS      10/18/2018            $1,959.58
BERNICK COMPANIES OF ST
CLOUD                     PO BOX 7457                                                                   ST CLOUD            MN           56302-7457                             SUPPLIERS OR VENDORS      10/25/2018            $7,873.09
BERNICK COMPANIES OF ST
CLOUD                     PO BOX 7457                                                                   ST CLOUD            MN           56302-7457                             SUPPLIERS OR VENDORS       11/1/2018            $7,825.47
BERNICK COMPANIES OF ST
CLOUD                     PO BOX 7457                                                                   ST CLOUD            MN           56302-7457                             SUPPLIERS OR VENDORS       11/8/2018          $13,401.04
BERNICK COMPANIES OF ST
CLOUD                     PO BOX 7457                                                                   ST CLOUD            MN           56302-7457                             SUPPLIERS OR VENDORS      11/15/2018            $6,264.07
BERNICK COMPANIES OF ST
CLOUD                     PO BOX 7457                                                                   ST CLOUD            MN           56302-7457                             SUPPLIERS OR VENDORS      11/22/2018            $6,513.89
BERNICK COMPANIES OF ST
CLOUD                     PO BOX 7457                                                                   ST CLOUD            MN           56302-7457                             SUPPLIERS OR VENDORS      11/29/2018            $7,344.57
BERNICK COMPANIES OF ST
CLOUD                     PO BOX 7457                                                                   ST CLOUD            MN           56302-7457                             SUPPLIERS OR VENDORS      12/20/2018          $32,202.06
BERNICK COMPANIES OF ST
CLOUD                     PO BOX 7457                                                                   ST CLOUD            MN           56302-7457                             SUPPLIERS OR VENDORS      12/21/2018            $2,785.65
BERNICK COMPANIES OF ST
CLOUD                     PO BOX 7457                                                                   ST CLOUD            MN           56302-7457                             SUPPLIERS OR VENDORS      12/27/2018            $2,895.68
BERNITA MCFARLAND         1523 W. ELM                                                                   MITCHELL            SD           57301                                  SUPPLIERS OR VENDORS       11/8/2018               $20.00
BERTA PRESTHOLT           218 S MADISON                                                                 MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS      10/25/2018               $13.39
BERTS LAWN CARE AND
SNOW REMOVAL              412 HILLWOOD LANE                                                             FRIENDSHIP          WI           53934                                  SUPPLIERS OR VENDORS      11/15/2018              $205.73
BERYL PODOLL              619 DEARBORN AVE                                                              MISSOULA            MT           59801                                  SUPPLIERS OR VENDORS       12/7/2018               $53.76
BERYL PODOLL              619 DEARBORN AVE                                                              MISSOULA            MT           59801                                  SUPPLIERS OR VENDORS      12/10/2018               $13.44
BES COFFEE & VENDING      3330 S RIDGE ROAD                                                             GREEN BAY           WI           54304-0000                             SUPPLIERS OR VENDORS      12/17/2018              $216.00
BESTCO INCORPORATED       2980 MOMENTUM PLACE                                                           CHICAGO             IL           60689-5329                             SUPPLIERS OR VENDORS      11/15/2018              $726.37
BESTCO INCORPORATED       2980 MOMENTUM PLACE                                                           CHICAGO             IL           60689-5329                             SUPPLIERS OR VENDORS      11/22/2018            $1,129.08
BESTCO INCORPORATED       2980 MOMENTUM PLACE                                                           CHICAGO             IL           60689-5329                             SUPPLIERS OR VENDORS      11/29/2018              $752.72
BETH BILLODEAU            STORE 733                   SHOPKO EMPLOYEE        226 E LINCOLN              FERGUS FALLS        MN           56538                                  SUPPLIERS OR VENDORS      11/15/2018                $3.43
BETH FISHER               STORE 2-684                 SHOPKO EMPLOYEE        106 SMITH STREET           BLOOMFIELD          IA           52537-2140                             SUPPLIERS OR VENDORS      10/19/2018               $70.09
BETH FORRISTALL           215 E BLUFF                                                                   AMBOY               IL           61310                                  SUPPLIERS OR VENDORS       11/2/2018               $61.98



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      Creditor Name                 Address1                 Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
BETH HUMPHREY            692 16 1/2 ST.                                                                  DALLAS              WI           54733                                  SUPPLIERS OR VENDORS        10/25/2018               $42.00
BETH KEMPEN              STORE 037                     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/27/2018               $54.50
BETH KEMPEN              STORE 037                     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/11/2018              $323.65
BETH KEMPEN              STORE 037                     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/20/2018              $192.19
BETH KEMPEN              STORE 037                     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/29/2018              $221.88
BETH MALONE              STORE 658                     SHOPKO EMPLOYEE        123 N 24TH STREET          BEATRICE            NE           68310-0000                             SUPPLIERS OR VENDORS         11/8/2018              $305.20
BETH MALONE              STORE 658                     SHOPKO EMPLOYEE        123 N 24TH STREET          BEATRICE            NE           68310-0000                             SUPPLIERS OR VENDORS        12/20/2018              $156.96
BETH MATTSON             1210 W. PROGRESS DR                                                             HAYDEN              ID           83835                                  SUPPLIERS OR VENDORS        12/13/2018               $60.41
BETH MILLER              130 CARDIFF AVE                                                                 KALISPELL           MT           59901                                  SUPPLIERS OR VENDORS         11/5/2018               $89.99
BETH O'DEA               4855 WEST 9TH STREET                                                            WINONA              MN           55987                                  SUPPLIERS OR VENDORS        10/29/2018              $125.00
BETH OPSAL               826 BUTTENHOFF DR                                                               CHIPPEWA FALLS      WI           54729                                  SUPPLIERS OR VENDORS         11/2/2018                $4.00
BETH RICE                465 OAKLAWN AVE                                                                 GREEN BAY           WI           54304                                  SUPPLIERS OR VENDORS        10/25/2018               $40.00
BETH ROEMHILDT           23909 482ND STREET                                                              ELYSIAN             MN           56028                                  SUPPLIERS OR VENDORS        11/26/2018               $20.00
BETH SANDRINI            6104 WESTON AVE                                                                 WESTON              WI           54476                                  SUPPLIERS OR VENDORS        11/12/2018               $25.00

BETHANY LUTHERAN HOMES 2575 SOUTH 7TH STREET                                                             LA CROSSE           WI           54601                                  SUPPLIERS OR VENDORS       11/26/2018              $140.20

BETHANY SKELLENGER       5845 FOREST LOOP ROAD APT C                                                     RHINELANDER         WI           54501                                  SUPPLIERS OR VENDORS        11/5/2018               $62.00
BETHANY VIGNONE          463 NORTH STATE ROUTE 267                                                       GREENFIELD          IL           62044                                  SUPPLIERS OR VENDORS       10/25/2018               $26.40
BETHANY WARNER           349 CONNELL ST                                                                  FOND DU LAC         WI           54935                                  SUPPLIERS OR VENDORS        11/9/2018                $3.27

BETHS DESIGNS            1101 S HUNTINGTON ST SUITE 1                                                    SYRACUSE            IN           46567                                  SUPPLIERS OR VENDORS       11/14/2018               $53.50
BETSY BEATTY             223 WOODLAND DR                                                                 WAUPUN              WI           53963                                  SUPPLIERS OR VENDORS       10/31/2018               $21.96
BETTE HAYWOOD            BOX 208                                                                         BRITTON             SD           57430                                  SUPPLIERS OR VENDORS       11/14/2018               $12.16
BETTE MOREY              STORE 2-739                  SHOPKO EMPLOYEE         710 COUNTY ROAD 21 S       GLENWOOD            MN           56334                                  SUPPLIERS OR VENDORS        11/8/2018               $12.54
BETTE MOREY              STORE 2-739                  SHOPKO EMPLOYEE         710 COUNTY ROAD 21 S       GLENWOOD            MN           56334                                  SUPPLIERS OR VENDORS        12/6/2018               $12.54
BETTE RICHARDS           235 S 22ND ST                                                                   ESCANABA            MI           49829                                  SUPPLIERS OR VENDORS       12/19/2018                $2.02
                                                      19808 NORDHOFF
BETTER OFFICE PRODUCTS   DEM HOLDINGS INC             PLACE                                              CHATSWORTH          CA           91311-0000                             SUPPLIERS OR VENDORS       10/18/2018            $4,438.94
                                                      19808 NORDHOFF
BETTER OFFICE PRODUCTS   DEM HOLDINGS INC             PLACE                                              CHATSWORTH          CA           91311-0000                             SUPPLIERS OR VENDORS       10/25/2018            $3,285.32
                                                      19808 NORDHOFF
BETTER OFFICE PRODUCTS   DEM HOLDINGS INC             PLACE                                              CHATSWORTH          CA           91311-0000                             SUPPLIERS OR VENDORS        11/1/2018            $4,912.44
                                                      19808 NORDHOFF
BETTER OFFICE PRODUCTS   DEM HOLDINGS INC             PLACE                                              CHATSWORTH          CA           91311-0000                             SUPPLIERS OR VENDORS        11/8/2018            $1,143.72
                                                      19808 NORDHOFF
BETTER OFFICE PRODUCTS   DEM HOLDINGS INC             PLACE                                              CHATSWORTH          CA           91311-0000                             SUPPLIERS OR VENDORS       11/15/2018              $860.16
                                                      19808 NORDHOFF
BETTER OFFICE PRODUCTS   DEM HOLDINGS INC             PLACE                                              CHATSWORTH          CA           91311-0000                             SUPPLIERS OR VENDORS       11/22/2018            $3,372.68
                         325 JEFFERSON STREET SOUTH
BETTY BRYANT             EAST                         APT 1                                              HUTCHINSON          MN           55350                                  SUPPLIERS OR VENDORS       12/20/2018               $16.30
BETTY CHADWELL           712 3RD ST NE                                                                   WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS        11/9/2018               $44.16
BETTY DEROSIN            1922 ROSE TERRECE                                                               ROCKFORD            IL           61102                                  SUPPLIERS OR VENDORS       10/22/2018                $8.14
BETTY ELLS               2115 6TH AVE. #7                                                                CLARKSTON           WA           99403                                  SUPPLIERS OR VENDORS       11/12/2018               $12.80
BETTY GUSTAFSON          507 S CEDAR                                                                     MARSHFIELD          WI           54449                                  SUPPLIERS OR VENDORS       11/30/2018               $23.76
BETTY HAHN               864 S 45TH                                                                      LINCOLN             NE           68510                                  SUPPLIERS OR VENDORS       10/29/2018               $76.00
BETTY KOONS              2938 9TH COURT                                                                  GRAND MARSH         WI           53936                                  SUPPLIERS OR VENDORS       11/29/2018               $23.76
BETTY L BEARY            1327 FIRST AVENUE EAST                                                          NEWTON              IA           50208-4095                             SUPPLIERS OR VENDORS        11/1/2018           $15,769.17
BETTY L BEARY            1327 FIRST AVENUE EAST                                                          NEWTON              IA           50208-4095                             SUPPLIERS OR VENDORS        12/3/2018           $15,769.17
BETTY LANGE              1765 PALM AVE                                                                   GARNER              IA           50438                                  SUPPLIERS OR VENDORS       11/29/2018               $12.00
BETTY LANGE              1765 PALM AVE                                                                   GARNER              IA           50438                                  SUPPLIERS OR VENDORS       11/29/2018               $48.00
BETTY LANGE              1765 PALM AVE                                                                   GARNER              IA           50438                                  SUPPLIERS OR VENDORS       12/10/2018               $11.55
                         905 WOODWARD AVENUE APT.
BETTY MUENZBERG          2                                                                               KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS       11/26/2018               $39.04



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                                                                                                                                                                              Reasons for payment or    Dates of    Total Amount or
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BETTY RAMAGE          10375 WEST GRANGER AVENUE                                                      BOISE               ID           83704                                  SUPPLIERS OR VENDORS      11/26/2018             $14.80
BETTY SPICE           625 SOUTH KELLER DR                                                            APPLETON            WI           54914                                  SUPPLIERS OR VENDORS       12/3/2018             $13.73
BETTY TORKELSON       1364 2ND AVE                                                                   WINDOM              MN           56101                                  SUPPLIERS OR VENDORS       11/5/2018             $15.30
BETTY WAITE           1419 S.E. CHICADEE LANE                                                        COLLEGE PLACE       WA           99324                                  SUPPLIERS OR VENDORS       11/9/2018             $54.40
BEULAH CHAMBER OF
COMMERCE              PO BOX 730                                                                     BEULAH              ND           58523-0730                             SUPPLIERS OR VENDORS      11/13/2018            $195.00
BEVERLY CAVERLY       688 MC CAFFREY RD                                                              BIGFORK             MT           59911                                  SUPPLIERS OR VENDORS      11/14/2018             $96.47
BEVERLY FISCHER       BOX 232                                                                        FAULKTON            SD           57438                                  SUPPLIERS OR VENDORS      11/28/2018             $12.16
BEVERLY FISCHER       BOX 232                                                                        FAULKTON            SD           57438                                  SUPPLIERS OR VENDORS       12/7/2018             $48.64
BEVERLY FRIEMOTH      N5050 CURLEY CREEK AVE                                                         NEILLSVILLE         WI           54456                                  SUPPLIERS OR VENDORS      11/30/2018             $25.00
BEVERLY MUNSCHE       300 N LAKE STREET                                                              IRON MOUNTAIN       MI           49801                                  SUPPLIERS OR VENDORS       11/1/2018             $19.83
BEVERLY MUNSCHE       300 N LAKE STREET                                                              IRON MOUNTAIN       MI           49801                                  SUPPLIERS OR VENDORS      11/12/2018              $3.03

BEVERLY PERRY         C/O PEGGY SELZ              746 JOE'S LAKE ROAD SE                             CAMBRIDGE           MN           55008                                  SUPPLIERS OR VENDORS       11/1/2018             $34.56
BEVERLY REZACHEK      941 NORTH 23RD STREET                                                          MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS       11/5/2018             $62.52
BEVERLY REZACHEK      941 NORTH 23RD STREET                                                          MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS      11/26/2018             $13.48

BEVERLY SMITH         13 LEISURE LANE                                                                NORTH SIOUX CITY SD              57049                                  SUPPLIERS OR VENDORS      12/13/2018             $41.60
BEVERLY STICHTER      2090 EAST FULLER ST                                                            FREEPORT         IL              61032                                  SUPPLIERS OR VENDORS       12/7/2018             $13.82
BEVERLY WALECHKA      E3466                       COUNTY RDG                                         WI               WI              54216                                  SUPPLIERS OR VENDORS       11/2/2018             $25.00
BG DISTRIBUTION &
MARKETING             42 LAIRD DRIVE                                                                 TORONTO             ON           M4G 3T2      CANADA                    SUPPLIERS OR VENDORS      10/18/2018            $696.00
BG DISTRIBUTION &
MARKETING             42 LAIRD DRIVE                                                                 TORONTO             ON           M4G 3T2      CANADA                    SUPPLIERS OR VENDORS       11/1/2018            $630.00
BG DISTRIBUTION &
MARKETING             42 LAIRD DRIVE                                                                 TORONTO             ON           M4G 3T2      CANADA                    SUPPLIERS OR VENDORS       11/8/2018            $612.72
BG DISTRIBUTION &
MARKETING             42 LAIRD DRIVE                                                                 TORONTO             ON           M4G 3T2      CANADA                    SUPPLIERS OR VENDORS      11/15/2018            $312.00
BG DISTRIBUTION &
MARKETING             42 LAIRD DRIVE                                                                 TORONTO             ON           M4G 3T2      CANADA                    SUPPLIERS OR VENDORS      11/22/2018            $336.00
BG DISTRIBUTION &
MARKETING             42 LAIRD DRIVE                                                                 TORONTO             ON           M4G 3T2    CANADA                      SUPPLIERS OR VENDORS      11/29/2018            $432.00
BIA CORDON BLEU INC   PO BOX 395                                                                     GALT                CA           95632-0395                             SUPPLIERS OR VENDORS      10/18/2018          $1,690.09
BIA CORDON BLEU INC   PO BOX 395                                                                     GALT                CA           95632-0395                             SUPPLIERS OR VENDORS      10/25/2018          $1,619.20
BIA CORDON BLEU INC   PO BOX 395                                                                     GALT                CA           95632-0395                             SUPPLIERS OR VENDORS       11/1/2018            $646.20
BIA CORDON BLEU INC   PO BOX 395                                                                     GALT                CA           95632-0395                             SUPPLIERS OR VENDORS       11/8/2018            $284.84
BIA CORDON BLEU INC   PO BOX 395                                                                     GALT                CA           95632-0395                             SUPPLIERS OR VENDORS      11/15/2018            $731.80
BIA CORDON BLEU INC   PO BOX 395                                                                     GALT                CA           95632-0395                             SUPPLIERS OR VENDORS      11/29/2018          $1,028.20
BIC CORPORATION       PO BOX 40000 DEPT 399                                                          HARTFORD            CT           06151-0399                             SUPPLIERS OR VENDORS      10/18/2018         $14,081.43
BIC CORPORATION       PO BOX 40000 DEPT 399                                                          HARTFORD            CT           06151-0399                             SUPPLIERS OR VENDORS      10/23/2018         $29,194.69
BIC CORPORATION       PO BOX 40000 DEPT 399                                                          HARTFORD            CT           06151-0399                             SUPPLIERS OR VENDORS      10/25/2018          $6,295.61
BIC CORPORATION       PO BOX 40000 DEPT 399                                                          HARTFORD            CT           06151-0399                             SUPPLIERS OR VENDORS      10/30/2018          $3,708.28
BIC CORPORATION       PO BOX 40000 DEPT 399                                                          HARTFORD            CT           06151-0399                             SUPPLIERS OR VENDORS       11/1/2018          $9,301.54
BIC CORPORATION       PO BOX 40000 DEPT 399                                                          HARTFORD            CT           06151-0399                             SUPPLIERS OR VENDORS       11/6/2018         $11,895.01
BIC CORPORATION       PO BOX 40000 DEPT 399                                                          HARTFORD            CT           06151-0399                             SUPPLIERS OR VENDORS      11/15/2018          $4,994.83
BIC CORPORATION       PO BOX 40000 DEPT 399                                                          HARTFORD            CT           06151-0399                             SUPPLIERS OR VENDORS      11/27/2018         $12,823.72
BIC CORPORATION       PO BOX 40000 DEPT 399                                                          HARTFORD            CT           06151-0399                             SUPPLIERS OR VENDORS      11/29/2018          $3,138.15
BIC CORPORATION       PO BOX 40000 DEPT 399                                                          HARTFORD            CT           06151-0399                             SUPPLIERS OR VENDORS       12/4/2018          $2,903.45
BIC CORPORATION       PO BOX 40000 DEPT 399                                                          HARTFORD            CT           06151-0399                             SUPPLIERS OR VENDORS       12/6/2018          $8,261.73
BIG HORN COUNTY
TREASURER             PO BOX 430                                                                     BASIN               WY           82410                                  SUPPLIERS OR VENDORS       11/6/2018            $587.56
BIG HORN COUNTY
TREASURER             121 W 3RD STREET ROOM 203                                                      HARDIN              MT           59034                                  SUPPLIERS OR VENDORS      11/26/2018         $12,157.79



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BIG HORN WATER LLC        406 LAWSON AVE              PO BOX 52                                         WORLAND             WY           82401                                  SUPPLIERS OR VENDORS        11/16/2018               $14.60
                          115 WEST 30TH STREET 8TH
BIG JEWELRY COMPANY LLC   FLOOR                                                                         NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS       10/18/2018              $102.85
                          115 WEST 30TH STREET 8TH
BIG JEWELRY COMPANY LLC   FLOOR                                                                         NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS       10/25/2018                $8.00
                          115 WEST 30TH STREET 8TH
BIG JEWELRY COMPANY LLC   FLOOR                                                                         NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS        11/1/2018              $105.70
                          115 WEST 30TH STREET 8TH
BIG JEWELRY COMPANY LLC   FLOOR                                                                         NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS        11/8/2018              $115.35
                          115 WEST 30TH STREET 8TH
BIG JEWELRY COMPANY LLC   FLOOR                                                                         NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS       11/15/2018               $72.00
                          115 WEST 30TH STREET 8TH
BIG JEWELRY COMPANY LLC   FLOOR                                                                         NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS       11/22/2018              $198.00
                          115 WEST 30TH STREET 8TH
BIG JEWELRY COMPANY LLC   FLOOR                                                                         NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS       11/29/2018              $165.00

BIG POND PROPERTIES LLC   THOMAS J & DENISE B MOYLE   PO BOX 414                                        HOUGHTON            MI           49931                                  SUPPLIERS OR VENDORS        11/1/2018              $649.83

BIG POND PROPERTIES LLC   THOMAS J & DENISE B MOYLE   PO BOX 414                                        HOUGHTON            MI           49931                                  SUPPLIERS OR VENDORS       11/10/2018           $10,208.33

BIG POND PROPERTIES LLC   THOMAS J & DENISE B MOYLE   PO BOX 414                                        HOUGHTON            MI           49931                                  SUPPLIERS OR VENDORS        12/1/2018              $649.83

BIG POND PROPERTIES LLC   THOMAS J & DENISE B MOYLE   PO BOX 414                                        HOUGHTON            MI           49931                                  SUPPLIERS OR VENDORS        12/8/2018           $10,208.33
BIG R PAINTING SERVICES
LLC                       RANDALL VAN ENKEVORT        E10972 HANSON ROAD                                CLINTONVILLE        WI           54929                                  SUPPLIERS OR VENDORS       10/18/2018            $8,815.00
BIG R PAINTING SERVICES
LLC                       RANDALL VAN ENKEVORT        E10972 HANSON ROAD                                CLINTONVILLE        WI           54929                                  SUPPLIERS OR VENDORS       10/25/2018           $12,556.50
BIG R PAINTING SERVICES
LLC                       RANDALL VAN ENKEVORT        E10972 HANSON ROAD                                CLINTONVILLE        WI           54929                                  SUPPLIERS OR VENDORS        11/1/2018            $9,072.00
BIG R PAINTING SERVICES
LLC                       RANDALL VAN ENKEVORT        E10972 HANSON ROAD                                CLINTONVILLE        WI           54929                                  SUPPLIERS OR VENDORS        11/8/2018            $8,685.00
BIG R PAINTING SERVICES
LLC                       RANDALL VAN ENKEVORT        E10972 HANSON ROAD                                CLINTONVILLE        WI           54929                                  SUPPLIERS OR VENDORS       11/13/2018            $5,530.00
BIG R PAINTING SERVICES
LLC                       RANDALL VAN ENKEVORT        E10972 HANSON ROAD                                CLINTONVILLE        WI           54929                                  SUPPLIERS OR VENDORS       11/15/2018            $5,927.00
BIG R PAINTING SERVICES
LLC                       RANDALL VAN ENKEVORT        E10972 HANSON ROAD                                CLINTONVILLE        WI           54929                                  SUPPLIERS OR VENDORS        12/4/2018           $31,794.00
                                                      N59 W14053 BOBOLINK                               MENOMONEE
BIG SYSTEMS LLC           JOSEPH Y JONES              AVENUE                                            FALLS               WI           53051-5901                             SUPPLIERS OR VENDORS       10/25/2018              $214.62
                                                      N59 W14053 BOBOLINK                               MENOMONEE
BIG SYSTEMS LLC           JOSEPH Y JONES              AVENUE                                            FALLS               WI           53051-5901                             SUPPLIERS OR VENDORS       11/29/2018              $746.26

BIGELOW LANDSCAPING LLC RON BIGELOW                   4275 SCHNEIDER DRIVE                              OREGON              WI           53575                                  SUPPLIERS OR VENDORS       10/18/2018              $970.60

BIGELOW LANDSCAPING LLC RON BIGELOW                   4275 SCHNEIDER DRIVE                              OREGON              WI           53575                                  SUPPLIERS OR VENDORS       10/25/2018            $2,832.68

BIGELOW LANDSCAPING LLC   RON BIGELOW                 4275 SCHNEIDER DRIVE                              OREGON              WI           53575                                  SUPPLIERS OR VENDORS       11/15/2018              $490.58
BIGFOOT BEVERAGES         PO BOX 10728                                                                  EUGENE              OR           97440-0000                             SUPPLIERS OR VENDORS       10/18/2018            $1,341.28
BIGFOOT BEVERAGES         PO BOX 10728                                                                  EUGENE              OR           97440-0000                             SUPPLIERS OR VENDORS       10/25/2018            $4,595.22
BIGFOOT BEVERAGES         PO BOX 10728                                                                  EUGENE              OR           97440-0000                             SUPPLIERS OR VENDORS        11/1/2018              $439.35
BIGFOOT BEVERAGES         PO BOX 10728                                                                  EUGENE              OR           97440-0000                             SUPPLIERS OR VENDORS        11/8/2018              $691.73
BIGFOOT BEVERAGES         PO BOX 10728                                                                  EUGENE              OR           97440-0000                             SUPPLIERS OR VENDORS       11/15/2018              $772.74
BIGFOOT BEVERAGES         PO BOX 10728                                                                  EUGENE              OR           97440-0000                             SUPPLIERS OR VENDORS       11/22/2018            $2,819.52
BIGFOOT BEVERAGES         PO BOX 10728                                                                  EUGENE              OR           97440-0000                             SUPPLIERS OR VENDORS       11/29/2018            $3,542.47



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BIGFOOT BEVERAGES            PO BOX 10728                                                             EUGENE              OR           97440-0000                             SUPPLIERS OR VENDORS        12/20/2018            $5,816.02
BILL DURA                    N1576 DESJARLAIS LN                                                      PESHTIGO            WI           54157                                  SUPPLIERS OR VENDORS        10/22/2018               $10.00
BILL HOF                     1917 SEVEN MILE RD                                                       WALLA WALLA         WA           99362                                  SUPPLIERS OR VENDORS         12/5/2018               $54.40
BILL RACKHAM                 3985 NORTH 2300 EAST                                                     FILER               ID           83328                                  SUPPLIERS OR VENDORS         11/5/2018               $45.98

BILLIE JO KESTER             1510 TOWNLINE ROAD                                                       WISCONSIN RAPIDS WI              54494                                  SUPPLIERS OR VENDORS       10/29/2018               $88.99
BILLIE JO PETERSON           460 SKIPARK LANE                                                         DUBUQUE          IA              52003                                  SUPPLIERS OR VENDORS       10/19/2018              $324.01
BILLIE SUE ZABEL             657 RIVERVIEW DRIVE                                                      OMRO             WI              54963                                  SUPPLIERS OR VENDORS       11/30/2018               $25.00

BILLS DISTRIBUTING LIMITED 5900 PACKER DRIVE                                                          MENOMONIE           WI           54751-0000                             SUPPLIERS OR VENDORS       10/22/2018              $410.80

BILLS DISTRIBUTING LIMITED 5900 PACKER DRIVE                                                          MENOMONIE           WI           54751-0000                             SUPPLIERS OR VENDORS       10/29/2018            $1,545.90

BILLS DISTRIBUTING LIMITED 5900 PACKER DRIVE                                                          MENOMONIE           WI           54751-0000                             SUPPLIERS OR VENDORS       11/12/2018              $656.60

BILLS DISTRIBUTING LIMITED 5900 PACKER DRIVE                                                          MENOMONIE           WI           54751-0000                             SUPPLIERS OR VENDORS       11/22/2018              $652.90

BILLS DISTRIBUTING LIMITED 5900 PACKER DRIVE                                                          MENOMONIE           WI           54751-0000                             SUPPLIERS OR VENDORS        12/3/2018            $2,640.60

BILLS DISTRIBUTING LIMITED 5900 PACKER DRIVE                                                          MENOMONIE           WI           54751-0000                             SUPPLIERS OR VENDORS       12/20/2018            $1,554.35

BILLS DISTRIBUTING LIMITED   5900 PACKER DRIVE                                                        MENOMONIE           WI           54751-0000                             SUPPLIERS OR VENDORS       12/27/2018            $1,095.80
BILLY BERGNER                2721 W. 21ST ST.                                                         NORTH PLATTE        NE           69101                                  SUPPLIERS OR VENDORS       11/15/2018               $45.00
BILLY ECKMANN                441 WILLOW ST                                                            FAIRMONT            MN           56031                                  SUPPLIERS OR VENDORS       10/24/2018                $6.94
BILLY ROOK                   STORE 112              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/1/2018              $152.86
BINKS COCA COLA BOTTLING
COMPANY                      3001 DANFORTH ROAD                                                       ESCANABA            MI           49829                                  SUPPLIERS OR VENDORS       10/19/2018            $8,948.10
BINKS COCA COLA BOTTLING
COMPANY                      3001 DANFORTH ROAD                                                       ESCANABA            MI           49829                                  SUPPLIERS OR VENDORS       10/23/2018            $9,545.25
BINKS COCA COLA BOTTLING
COMPANY                      3001 DANFORTH ROAD                                                       ESCANABA            MI           49829                                  SUPPLIERS OR VENDORS       10/30/2018              $208.51
BINKS COCA COLA BOTTLING
COMPANY                      3001 DANFORTH ROAD                                                       ESCANABA            MI           49829                                  SUPPLIERS OR VENDORS        11/2/2018            $4,511.57
BINKS COCA COLA BOTTLING
COMPANY                      3001 DANFORTH ROAD                                                       ESCANABA            MI           49829                                  SUPPLIERS OR VENDORS        11/9/2018              $290.41
BINKS COCA COLA BOTTLING
COMPANY                      3001 DANFORTH ROAD                                                       ESCANABA            MI           49829                                  SUPPLIERS OR VENDORS       11/13/2018              $824.76
BINKS COCA COLA BOTTLING
COMPANY                      3001 DANFORTH ROAD                                                       ESCANABA            MI           49829                                  SUPPLIERS OR VENDORS       11/16/2018              $201.45
BINKS COCA COLA BOTTLING
COMPANY                      3001 DANFORTH ROAD                                                       ESCANABA            MI           49829                                  SUPPLIERS OR VENDORS       11/23/2018            $1,279.32
BINKS COCA COLA BOTTLING
COMPANY                      3001 DANFORTH ROAD                                                       ESCANABA            MI           49829                                  SUPPLIERS OR VENDORS       11/27/2018              $440.70
BINKS COCA COLA BOTTLING
COMPANY                      3001 DANFORTH ROAD                                                       ESCANABA            MI           49829                                  SUPPLIERS OR VENDORS       11/30/2018            $2,063.56
BINKS COCA COLA BOTTLING
COMPANY                      3001 DANFORTH ROAD                                                       ESCANABA            MI           49829                                  SUPPLIERS OR VENDORS        12/4/2018            $1,870.25
BINKS COCA COLA BOTTLING
COMPANY                      3001 DANFORTH ROAD                                                       ESCANABA            MI           49829                                  SUPPLIERS OR VENDORS       12/19/2018            $1,976.17
BINKS COCA COLA BOTTLING
COMPANY                      3001 DANFORTH ROAD                                                       ESCANABA            MI           49829                                  SUPPLIERS OR VENDORS       12/21/2018            $5,591.07
BINKS COCA COLA BOTTLING
COMPANY                      3001 DANFORTH ROAD                                                       ESCANABA            MI           49829                                  SUPPLIERS OR VENDORS       12/27/2018            $3,288.16




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                                                  1647 FORT HOWARD
BINNYS LAWN CARE LLC       ATTN ROGER BINSFELD    AVE                                               DE PERE             WI           54115                                  SUPPLIERS OR VENDORS      11/15/2018            $325.00
                                                  1647 FORT HOWARD
BINNYS LAWN CARE LLC       ATTN ROGER BINSFELD    AVE                                               DE PERE             WI           54115                                  SUPPLIERS OR VENDORS      11/29/2018             $65.00
BIO CREATIVE ENTERPRISES
INC                        350 KALMUS DRIVE                                                         COSTA MESA          CA           92626                                  SUPPLIERS OR VENDORS      11/29/2018             $481.31
BIOFILM INCORPORATED       3225 EXECUTIVE RIDGE                                                     VISTA               CA           92081                                  SUPPLIERS OR VENDORS      10/18/2018             $644.20
BIOFILM INCORPORATED       3225 EXECUTIVE RIDGE                                                     VISTA               CA           92081                                  SUPPLIERS OR VENDORS      10/25/2018             $350.92
BIOFILM INCORPORATED       3225 EXECUTIVE RIDGE                                                     VISTA               CA           92081                                  SUPPLIERS OR VENDORS       11/1/2018           $1,404.06
BIOFILM INCORPORATED       3225 EXECUTIVE RIDGE                                                     VISTA               CA           92081                                  SUPPLIERS OR VENDORS       11/8/2018             $231.44
BIOFILM INCORPORATED       3225 EXECUTIVE RIDGE                                                     VISTA               CA           92081                                  SUPPLIERS OR VENDORS      11/15/2018             $964.79
BIOFILM INCORPORATED       3225 EXECUTIVE RIDGE                                                     VISTA               CA           92081                                  SUPPLIERS OR VENDORS      11/22/2018           $1,072.52
BIOFILM INCORPORATED       3225 EXECUTIVE RIDGE                                                     VISTA               CA           92081                                  SUPPLIERS OR VENDORS      11/29/2018           $1,120.36
BIRDSEYE DAIRY INC         2325 MEMORIAL DRIVE                                                      GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS      10/18/2018             $460.03
BIRDSEYE DAIRY INC         2325 MEMORIAL DRIVE                                                      GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS      10/25/2018             $365.94
BIRDSEYE DAIRY INC         2325 MEMORIAL DRIVE                                                      GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS       11/1/2018             $220.05
BIRDSEYE DAIRY INC         2325 MEMORIAL DRIVE                                                      GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS       11/8/2018             $195.40
BIRDSEYE DAIRY INC         2325 MEMORIAL DRIVE                                                      GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS      11/15/2018             $108.38
BIRDSEYE DAIRY INC         2325 MEMORIAL DRIVE                                                      GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS      11/22/2018             $517.66
BIRDSEYE DAIRY INC         2325 MEMORIAL DRIVE                                                      GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS      11/29/2018             $179.00
BIRDSEYE DAIRY INC         2325 MEMORIAL DRIVE                                                      GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS      12/20/2018             $831.87
BIRDSEYE DAIRY INC         2325 MEMORIAL DRIVE                                                      GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS      12/27/2018             $463.07
BISSELL HOMECARE
INTERNATIONAL              DEPT AR                PO BOX 1888                                       GRAND RAPIDS        MI           49501-1888                             SUPPLIERS OR VENDORS      10/26/2018         $15,907.77
BISSELL HOMECARE
INTERNATIONAL              DEPT AR                PO BOX 1888                                       GRAND RAPIDS        MI           49501-1888                             SUPPLIERS OR VENDORS      10/29/2018           $7,173.13
BISSELL HOMECARE
INTERNATIONAL              DEPT AR                PO BOX 1888                                       GRAND RAPIDS        MI           49501-1888                             SUPPLIERS OR VENDORS      10/31/2018         $36,291.29
BISSELL HOMECARE
INTERNATIONAL              DEPT AR                PO BOX 1888                                       GRAND RAPIDS        MI           49501-1888                             SUPPLIERS OR VENDORS       11/2/2018           $2,060.78
BISSELL HOMECARE
INTERNATIONAL              DEPT AR                PO BOX 1888                                       GRAND RAPIDS        MI           49501-1888                             SUPPLIERS OR VENDORS       11/5/2018        $104,972.15
BISSELL HOMECARE
INTERNATIONAL              DEPT AR                PO BOX 1888                                       GRAND RAPIDS        MI           49501-1888                             SUPPLIERS OR VENDORS      11/15/2018         $42,721.21
BISSELL HOMECARE
INTERNATIONAL              DEPT AR                PO BOX 1888                                       GRAND RAPIDS        MI           49501-1888                             SUPPLIERS OR VENDORS      11/22/2018         $48,289.05
BISSELL HOMECARE
INTERNATIONAL              DEPT AR                PO BOX 1888                                       GRAND RAPIDS        MI           49501-1888                             SUPPLIERS OR VENDORS      11/23/2018         $32,614.40
BLACH DISTRIBUTING
COMPANY                    131 MAIN STREET                                                          ELKO                NV           89801                                  SUPPLIERS OR VENDORS      10/18/2018            $150.35
BLACH DISTRIBUTING
COMPANY                    131 MAIN STREET                                                          ELKO                NV           89801                                  SUPPLIERS OR VENDORS      10/25/2018            $106.50
BLACH DISTRIBUTING
COMPANY                    131 MAIN STREET                                                          ELKO                NV           89801                                  SUPPLIERS OR VENDORS       11/1/2018            $169.95
BLACH DISTRIBUTING
COMPANY                    131 MAIN STREET                                                          ELKO                NV           89801                                  SUPPLIERS OR VENDORS      11/15/2018            $408.45
BLACH DISTRIBUTING
COMPANY                    131 MAIN STREET                                                          ELKO                NV           89801                                  SUPPLIERS OR VENDORS      11/22/2018            $236.50
BLACH DISTRIBUTING
COMPANY                    131 MAIN STREET                                                          ELKO                NV           89801                                  SUPPLIERS OR VENDORS      11/29/2018            $546.70
BLACH DISTRIBUTING
COMPANY                    131 MAIN STREET                                                          ELKO                NV           89801                                  SUPPLIERS OR VENDORS      12/20/2018            $130.25
BLACH DISTRIBUTING
COMPANY                    131 MAIN STREET                                                          ELKO                NV           89801                                  SUPPLIERS OR VENDORS      12/27/2018            $102.30



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                                                                                                                                                                     Reasons for payment or    Dates of    Total Amount or
      Creditor Name            Address1         Address2                  Address3                   City            State       Zip              Country                   transfer          Payments           Value
BLACKBIRD PRODUCTS
GROUP LLC             PO BOX 906                                                            DEXTER              MO           63841                                  SUPPLIERS OR VENDORS      10/25/2018           $4,108.50
BLACKBIRD PRODUCTS
GROUP LLC             PO BOX 906                                                            DEXTER              MO           63841                                  SUPPLIERS OR VENDORS       11/1/2018           $4,185.50
BLACKBIRD PRODUCTS
GROUP LLC             PO BOX 906                                                            DEXTER              MO           63841                                  SUPPLIERS OR VENDORS      11/29/2018         $37,838.02

BLACKHAWK NETWORK INC WACHOVIA BANK       PO BOX 932859                                     ATLANTA             GA           31193                                  SUPPLIERS OR VENDORS      10/19/2018           $6,015.25

BLACKHAWK NETWORK INC WACHOVIA BANK       PO BOX 932859                                     ATLANTA             GA           31193                                  SUPPLIERS OR VENDORS      10/19/2018        $196,043.08

BLACKHAWK NETWORK INC WACHOVIA BANK       PO BOX 932859                                     ATLANTA             GA           31193                                  SUPPLIERS OR VENDORS      10/23/2018        $134,112.71

BLACKHAWK NETWORK INC WACHOVIA BANK       PO BOX 932859                                     ATLANTA             GA           31193                                  SUPPLIERS OR VENDORS      10/24/2018        $165,793.49

BLACKHAWK NETWORK INC WACHOVIA BANK       PO BOX 932859                                     ATLANTA             GA           31193                                  SUPPLIERS OR VENDORS      10/26/2018           $8,936.05

BLACKHAWK NETWORK INC WACHOVIA BANK       PO BOX 932859                                     ATLANTA             GA           31193                                  SUPPLIERS OR VENDORS      10/26/2018        $169,186.45

BLACKHAWK NETWORK INC WACHOVIA BANK       PO BOX 932859                                     ATLANTA             GA           31193                                  SUPPLIERS OR VENDORS      10/30/2018        $137,830.35

BLACKHAWK NETWORK INC WACHOVIA BANK       PO BOX 932859                                     ATLANTA             GA           31193                                  SUPPLIERS OR VENDORS      10/31/2018        $167,467.50

BLACKHAWK NETWORK INC WACHOVIA BANK       PO BOX 932859                                     ATLANTA             GA           31193                                  SUPPLIERS OR VENDORS       11/2/2018        $177,099.35

BLACKHAWK NETWORK INC WACHOVIA BANK       PO BOX 932859                                     ATLANTA             GA           31193                                  SUPPLIERS OR VENDORS       11/6/2018        $143,951.59

BLACKHAWK NETWORK INC WACHOVIA BANK       PO BOX 932859                                     ATLANTA             GA           31193                                  SUPPLIERS OR VENDORS       11/7/2018        $185,110.65

BLACKHAWK NETWORK INC WACHOVIA BANK       PO BOX 932859                                     ATLANTA             GA           31193                                  SUPPLIERS OR VENDORS       11/9/2018         $35,197.30

BLACKHAWK NETWORK INC WACHOVIA BANK       PO BOX 932859                                     ATLANTA             GA           31193                                  SUPPLIERS OR VENDORS       11/9/2018        $193,924.37

BLACKHAWK NETWORK INC WACHOVIA BANK       PO BOX 932859                                     ATLANTA             GA           31193                                  SUPPLIERS OR VENDORS      11/13/2018        $154,649.79

BLACKHAWK NETWORK INC WACHOVIA BANK       PO BOX 932859                                     ATLANTA             GA           31193                                  SUPPLIERS OR VENDORS      11/14/2018        $177,649.67

BLACKHAWK NETWORK INC WACHOVIA BANK       PO BOX 932859                                     ATLANTA             GA           31193                                  SUPPLIERS OR VENDORS      11/16/2018           $4,543.70

BLACKHAWK NETWORK INC WACHOVIA BANK       PO BOX 932859                                     ATLANTA             GA           31193                                  SUPPLIERS OR VENDORS      11/16/2018         $10,535.65

BLACKHAWK NETWORK INC WACHOVIA BANK       PO BOX 932859                                     ATLANTA             GA           31193                                  SUPPLIERS OR VENDORS      11/16/2018        $202,333.37

BLACKHAWK NETWORK INC WACHOVIA BANK       PO BOX 932859                                     ATLANTA             GA           31193                                  SUPPLIERS OR VENDORS      11/24/2018        $627,302.06

BLACKHAWK NETWORK INC WACHOVIA BANK       PO BOX 932859                                     ATLANTA             GA           31193                                  SUPPLIERS OR VENDORS      11/27/2018        $187,326.42

BLACKHAWK NETWORK INC WACHOVIA BANK       PO BOX 932859                                     ATLANTA             GA           31193                                  SUPPLIERS OR VENDORS      11/28/2018        $307,758.46

BLACKHAWK NETWORK INC WACHOVIA BANK       PO BOX 932859                                     ATLANTA             GA           31193                                  SUPPLIERS OR VENDORS      11/30/2018           $3,065.45

BLACKHAWK NETWORK INC WACHOVIA BANK       PO BOX 932859                                     ATLANTA             GA           31193                                  SUPPLIERS OR VENDORS      11/30/2018        $308,210.76

BLACKHAWK NETWORK INC WACHOVIA BANK       PO BOX 932859                                     ATLANTA             GA           31193                                  SUPPLIERS OR VENDORS       12/4/2018        $248,957.93



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      Creditor Name              Address1               Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value

BLACKHAWK NETWORK INC WACHOVIA BANK               PO BOX 932859                                     ATLANTA             GA           31193                                  SUPPLIERS OR VENDORS       12/5/2018        $344,336.26

BLACKHAWK NETWORK INC WACHOVIA BANK               PO BOX 932859                                     ATLANTA             GA           31193                                  SUPPLIERS OR VENDORS       12/7/2018           $2,381.05

BLACKHAWK NETWORK INC 6220 STONERIDGE MALL ROAD                                                     PLEASANTON          CA           94558                                  GIFT CARD SERVICES        12/11/2018       $1,364,465.85

BLACKHAWK NETWORK INC WACHOVIA BANK               PO BOX 932859                                     ATLANTA             GA           31193                                  SUPPLIERS OR VENDORS      12/14/2018           $4,947.80

BLACKHAWK NETWORK INC WACHOVIA BANK               PO BOX 932859                                     ATLANTA             GA           31193                                  SUPPLIERS OR VENDORS      12/19/2018         $27,090.10

BLACKHAWK NETWORK INC WACHOVIA BANK               PO BOX 932859                                     ATLANTA             GA           31193                                  SUPPLIERS OR VENDORS      12/19/2018       $1,198,284.65

BLACKHAWK NETWORK INC WACHOVIA BANK               PO BOX 932859                                     ATLANTA             GA           31193                                  SUPPLIERS OR VENDORS      12/20/2018        $800,994.49

BLACKHAWK NETWORK INC WACHOVIA BANK               PO BOX 932859                                     ATLANTA             GA           31193                                  SUPPLIERS OR VENDORS      12/21/2018       $1,150,909.26

BLACKHAWK NETWORK INC   WACHOVIA BANK             PO BOX 932859                                     ATLANTA             GA           31193                                  SUPPLIERS OR VENDORS      12/28/2018       $2,314,466.58
BLACKHAWK PROPANE
COMPANY INC             PO BOX 141                                                                  SOUTH BELOIT        IL           61080                                  SUPPLIERS OR VENDORS      10/18/2018             $52.75
BLACKHAWK PROPANE
COMPANY INC             PO BOX 141                                                                  SOUTH BELOIT        IL           61080                                  SUPPLIERS OR VENDORS       11/1/2018             $40.42
BLACKHAWK PROPANE
COMPANY INC             PO BOX 141                                                                  SOUTH BELOIT        IL           61080                                  SUPPLIERS OR VENDORS      11/15/2018             $52.75
BLACKHAWK PROPANE
COMPANY INC             PO BOX 141                                                                  SOUTH BELOIT        IL           61080                                  SUPPLIERS OR VENDORS        1/4/2019             $52.75
BLAINE WUENSCH          203 MARIA LN                                                                COTTAGE GROVE       WI           53527                                  SUPPLIERS OR VENDORS      12/13/2018             $25.00
BLAIR REYNOLDS          N821 TWIN KNOLLS DRIVE                                                      FORT ATKINSON       WI           53538                                  SUPPLIERS OR VENDORS      11/26/2018             $63.00
BLAIR SEIER             STORE 2-661               SHOPKO EMPLOYEE        500 PLAZA DRIVE            WEST POINT          NE           68788                                  SUPPLIERS OR VENDORS      11/22/2018             $25.07
BLAKE MADISON           PO BOX 414                                                                  ADRIAN              MN           56110                                  SUPPLIERS OR VENDORS      11/30/2018              $1.30
BLANCE HEILGEIST        624 MARCLARE ST APT 3                                                       DIXON               IL           61021                                  SUPPLIERS OR VENDORS      12/17/2018             $58.24
BLIMPIE SUBS & SALADS   13831 R PLAZA                                                               OMAHA               NE           68137                                  SUPPLIERS OR VENDORS       12/4/2018            $660.00
                                                  4576 SOLUTIONS
BLISTEX INCORPORATED    LOCK BOX 774576           CENTER                                            CHICAGO             IL           60677-4005                             SUPPLIERS OR VENDORS      10/18/2018           $6,695.21
                                                  4576 SOLUTIONS
BLISTEX INCORPORATED    LOCK BOX 774576           CENTER                                            CHICAGO             IL           60677-4005                             SUPPLIERS OR VENDORS      10/25/2018           $6,629.82
                                                  4576 SOLUTIONS
BLISTEX INCORPORATED    LOCK BOX 774576           CENTER                                            CHICAGO             IL           60677-4005                             SUPPLIERS OR VENDORS       11/1/2018           $4,134.26
                                                  4576 SOLUTIONS
BLISTEX INCORPORATED    LOCK BOX 774576           CENTER                                            CHICAGO             IL           60677-4005                             SUPPLIERS OR VENDORS       11/8/2018           $5,842.90
                                                  4576 SOLUTIONS
BLISTEX INCORPORATED    LOCK BOX 774576           CENTER                                            CHICAGO             IL           60677-4005                             SUPPLIERS OR VENDORS      11/15/2018           $5,179.13
                                                  4576 SOLUTIONS
BLISTEX INCORPORATED    LOCK BOX 774576           CENTER                                            CHICAGO             IL           60677-4005                             SUPPLIERS OR VENDORS      11/22/2018           $3,732.75
                                                  4576 SOLUTIONS
BLISTEX INCORPORATED    LOCK BOX 774576           CENTER                                            CHICAGO             IL           60677-4005                             SUPPLIERS OR VENDORS      11/29/2018           $4,864.40
BLOCH FAMILY 2005
PARTNERSHIP LP          CO ANDY GOLDBERG          640 W 57TH STREET                                 KANSAS CITY         MO           64113                                  SUPPLIERS OR VENDORS       11/1/2018         $14,053.41
BLOCH FAMILY 2005
PARTNERSHIP LP          CO ANDY GOLDBERG          640 W 57TH STREET                                 KANSAS CITY         MO           64113                                  SUPPLIERS OR VENDORS       12/1/2018         $14,053.41
BLR                     PO BOX 5094                                                                 BRENTWOOD           TN           37024-5094                             SUPPLIERS OR VENDORS      10/23/2018          $1,695.00
BLUE BUFFALO COMPANY
LTD                     PO BOX 21607                                                                NEW YORK            NY           10087-1607                             SUPPLIERS OR VENDORS      10/18/2018        $212,996.04




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                                                                                                                                                                                 Reasons for payment or    Dates of    Total Amount or
      Creditor Name                Address1                 Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
BLUE BUFFALO COMPANY
LTD                       PO BOX 21607                                                                  NEW YORK            NY           10087-1607                             SUPPLIERS OR VENDORS      10/25/2018         $32,700.38
BLUE BUFFALO COMPANY
LTD                       PO BOX 21607                                                                  NEW YORK            NY           10087-1607                             SUPPLIERS OR VENDORS       11/1/2018         $77,406.24
BLUE BUFFALO COMPANY
LTD                       PO BOX 21607                                                                  NEW YORK            NY           10087-1607                             SUPPLIERS OR VENDORS       11/8/2018         $96,631.92
BLUE BUFFALO COMPANY
LTD                       PO BOX 21607                                                                  NEW YORK            NY           10087-1607                             SUPPLIERS OR VENDORS      11/22/2018         $34,662.81

BLUE CROSS BLUE SHIELD    225 NORTH MICHIGAN AVENUE                                                     CHICAGO             IL           60601                                  EMPLOYEE BENEFITS         12/24/2018        $206,337.65

BLUE DIAMOND GROWERS      BANK OF AMERICA             CH LOCKBOX             PO BOX 96269               CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS       11/8/2018         $14,487.35

BLUE DIAMOND GROWERS      BANK OF AMERICA             CH LOCKBOX             PO BOX 96269               CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      11/15/2018         $38,087.48

BLUE DIAMOND GROWERS      BANK OF AMERICA             CH LOCKBOX             PO BOX 96269               CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      11/29/2018         $58,319.56

BLUE DOG BAKERY           3302 FUHRMAN AVE EAST 202                                                     SEATTLE             WA           98102                                  SUPPLIERS OR VENDORS      11/15/2018         $23,469.35
BLUE STAR CLOTHING
COMPANY                   2268 OCEAN PARKWAY                                                            BROOKLYN            NY           11223                                  SUPPLIERS OR VENDORS      10/18/2018         $13,770.00
BLUE STAR CLOTHING
COMPANY                   2268 OCEAN PARKWAY                                                            BROOKLYN            NY           11223                                  SUPPLIERS OR VENDORS      10/19/2018         $77,124.00
BLUE STAR CLOTHING
COMPANY                   2268 OCEAN PARKWAY                                                            BROOKLYN            NY           11223                                  SUPPLIERS OR VENDORS      10/22/2018        $113,832.00
BLUE STAR CLOTHING
COMPANY                   2268 OCEAN PARKWAY                                                            BROOKLYN            NY           11223                                  SUPPLIERS OR VENDORS      10/23/2018         $51,480.00
BLUE STAR CLOTHING
COMPANY                   2268 OCEAN PARKWAY                                                            BROOKLYN            NY           11223                                  SUPPLIERS OR VENDORS      10/25/2018         $15,936.00
BLUE STAR CLOTHING
COMPANY                   2268 OCEAN PARKWAY                                                            BROOKLYN            NY           11223                                  SUPPLIERS OR VENDORS      10/30/2018         $20,796.00
BLUE STAR CLOTHING
COMPANY                   2268 OCEAN PARKWAY                                                            BROOKLYN            NY           11223                                  SUPPLIERS OR VENDORS       11/1/2018         $12,618.00
BLUE STAR CLOTHING
COMPANY                   2268 OCEAN PARKWAY                                                            BROOKLYN            NY           11223                                  SUPPLIERS OR VENDORS       11/2/2018         $20,472.00
BLUE STAR CLOTHING
COMPANY                   2268 OCEAN PARKWAY                                                            BROOKLYN            NY           11223                                  SUPPLIERS OR VENDORS       11/7/2018            $587.40
BLUE STAR CLOTHING
COMPANY                   2268 OCEAN PARKWAY                                                            BROOKLYN            NY           11223                                  SUPPLIERS OR VENDORS      11/15/2018         $14,910.00
BLUE STAR CLOTHING
COMPANY                   2268 OCEAN PARKWAY                                                            BROOKLYN            NY           11223                                  SUPPLIERS OR VENDORS      11/22/2018           $4,910.40
BLUE STAR CLOTHING
COMPANY                   2268 OCEAN PARKWAY                                                            BROOKLYN            NY           11223                                  SUPPLIERS OR VENDORS       12/4/2018         $12,252.68
BLUE ZEBRA BRANDS INC
DBA FRESH MONSTER         51 PLYMOUTH AVENUE                                                            MAPLEWOOD           NJ           07040                                  SUPPLIERS OR VENDORS      10/26/2018            $349.86
BLUE ZEBRA BRANDS INC
DBA FRESH MONSTER       51 PLYMOUTH AVENUE                                                              MAPLEWOOD           NJ           07040                                  SUPPLIERS OR VENDORS       11/2/2018            $799.68
                        7050 NEW HORIZONS
BLUEBERRY BOULEVARD LLC BOULEVARD                                                                       NORTH AMITYVILLE NY              11701-0000                             SUPPLIERS OR VENDORS      10/18/2018         $25,842.07

BLUES LAWN CARE SERVICE   JEREMY BLUE                 29391 435TH STREET                                RUSSELL             IA           50238                                  SUPPLIERS OR VENDORS      10/23/2018            $256.80

BLUES LAWN CARE SERVICE   JEREMY BLUE                 29391 435TH STREET                                RUSSELL             IA           50238                                  SUPPLIERS OR VENDORS      11/27/2018            $171.20

BLUESCOPE BUILDINGS NA    ACCOUNTS PAYABLE            PO BOX 219056                                     KANSAS CITY         MO           64141                                  SUPPLIERS OR VENDORS       11/8/2018            $162.52



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BLUJAY SOLUTIONS             915 E 32ND STREET SUITE B                                                      HOLLAND             MI           49423                                  SUPPLIERS OR VENDORS         11/1/2018           $19,217.12
BLUJAY SOLUTIONS             915 E 32ND STREET SUITE B                                                      HOLLAND             MI           49423                                  SUPPLIERS OR VENDORS          1/4/2019           $22,817.12
BOB & DAVES LAWN &
LANDSCAPE INC                PO BOX 828                                                                     KAUKAUNA            WI           54130-0000                             SUPPLIERS OR VENDORS       10/18/2018            $2,267.90
BOB & DAVES LAWN &
LANDSCAPE INC                PO BOX 828                                                                     KAUKAUNA            WI           54130-0000                             SUPPLIERS OR VENDORS       10/25/2018               $87.04
BOB & DAVES LAWN &
LANDSCAPE INC                PO BOX 828                                                                     KAUKAUNA            WI           54130-0000                             SUPPLIERS OR VENDORS        11/1/2018            $3,421.10
BOB & DAVES LAWN &
LANDSCAPE INC                PO BOX 828                                                                     KAUKAUNA            WI           54130-0000                             SUPPLIERS OR VENDORS        11/8/2018              $329.07
BOB & DAVES LAWN &
LANDSCAPE INC                PO BOX 828                                                                     KAUKAUNA            WI           54130-0000                             SUPPLIERS OR VENDORS       11/15/2018              $341.20
BOB HELLER                   401 E RUPPERT                                                                  BATTLE CREEK        NE           68715                                  SUPPLIERS OR VENDORS       10/25/2018               $10.00
BOBBI SABATKA                5017 SOUTHWOOD CIRCLE                                                          LINCOLN             NE           68512                                  SUPPLIERS OR VENDORS       10/22/2018               $35.00
BOBBI SOLT                   STORE 584                    SHOPKO EMPLOYEE        6355 MAIN STREET           BONNERS FERRY       ID           83805                                  SUPPLIERS OR VENDORS       10/26/2018              $160.28
BOBBI SOLT                   STORE 584                    SHOPKO EMPLOYEE        6355 MAIN STREET           BONNERS FERRY       ID           83805                                  SUPPLIERS OR VENDORS        11/2/2018              $118.79
BOBBI SOLT                   STORE 584                    SHOPKO EMPLOYEE        6355 MAIN STREET           BONNERS FERRY       ID           83805                                  SUPPLIERS OR VENDORS       11/16/2018              $308.08
BOBS LAWN & SNOW                                          2737 WABASH 6
PLOWING SERVICE              ROBERT W IVY                 AVENUE                                            MT CARMEL           IL           62863                                  SUPPLIERS OR VENDORS        11/9/2018              $200.00
BOBS LAWN & SNOW                                          2737 WABASH 6
PLOWING SERVICE              ROBERT W IVY                 AVENUE                                            MT CARMEL           IL           62863                                  SUPPLIERS OR VENDORS       12/18/2018              $200.00
BODENSTEINER IMPLEMENT
COMPANY                      1900 S FREDERICK AVENUE                                                        OELWEIN             IA           50662                                  SUPPLIERS OR VENDORS       12/17/2018              $414.67
BOELTER COMPANIES            DEPARTMENT 420                                                                 MILWAUKEE           WI           53259-0420                             SUPPLIERS OR VENDORS       10/18/2018               $50.85
BOELTER COMPANIES            DEPARTMENT 420                                                                 MILWAUKEE           WI           53259-0420                             SUPPLIERS OR VENDORS       11/29/2018           $74,489.27
BOISE CITY FIRE
DEPARTMENT                   ATTN ALARMS OFFICER          333 N MARK STALL PL                               BOISE               ID           83704                                  SUPPLIERS OR VENDORS        11/5/2018              $125.00

BOISE CITY UTLILTY BILLING   PO BOX 2600                                                                    BOISE               ID           83701-2600                             SUPPLIERS OR VENDORS        12/3/2018            $1,274.00

BOISE SHOPKO LLC             5141 NORTH 40TH STREET 500                                                     PHOENIX             AZ           85018                                  SUPPLIERS OR VENDORS        11/1/2018           $72,904.35

BOISE SHOPKO LLC             5141 NORTH 40TH STREET 500                                                     PHOENIX             AZ           85018                                  SUPPLIERS OR VENDORS        12/4/2018           $72,904.35

BOISE SHOPKO LLC             5141 NORTH 40TH STREET 500                                                     PHOENIX             AZ           85018                                  SUPPLIERS OR VENDORS         1/5/2019           $72,904.35
BONFIT AMERICA
INCORPORATED                 5741 BUCKINGHAM PKWY STE A                                                     CULVER CITY         CA           90230                                  SUPPLIERS OR VENDORS        11/1/2018              $213.12
BONFIT AMERICA
INCORPORATED                 5741 BUCKINGHAM PKWY STE A                                                     CULVER CITY         CA           90230                                  SUPPLIERS OR VENDORS        11/8/2018              $829.44
BONFIT AMERICA
INCORPORATED                 5741 BUCKINGHAM PKWY STE A                                                     CULVER CITY         CA           90230                                  SUPPLIERS OR VENDORS       11/22/2018              $564.48
BONITA BOGGESS               607 16TH AVE.                                                                  CHARLES CITY        IA           50616                                  SUPPLIERS OR VENDORS        11/5/2018               $48.00
BONITA BOGGESS               607 16TH AVE.                                                                  CHARLES CITY        IA           50616                                  SUPPLIERS OR VENDORS       11/26/2018               $12.00
BONITA HEINEN                BOX 252                                                                        ST. MARTIN          MN           56376                                  SUPPLIERS OR VENDORS        12/7/2018               $15.00
BONITA LIMBERT               24525 FARMWAY RD                                                               CALDWELL            ID           83605                                  SUPPLIERS OR VENDORS       10/29/2018                $1.46
BONNA ROSE                   1026 S CHALLIS ST                                                              SALMON              ID           83467                                  SUPPLIERS OR VENDORS       12/17/2018               $10.78
BONNER COUNTY TAX
COLLECTOR                    1500 HWY 2 SUITE 304                                                           SANDPOINT           ID           83864                                  SUPPLIERS OR VENDORS       12/13/2018            $1,019.91
BONNER COUNTY TAX
COLLECTOR                    1500 HWY 2 SUITE 304                                                           SANDPOINT           ID           83864                                  SUPPLIERS OR VENDORS       12/14/2018           $10,694.60

BONNEVILLE COUNTY TAX        COLLECTOR                    605 N CAPITAL AVENUE                              IDAHO FALLS         ID           83402                                  SUPPLIERS OR VENDORS       12/13/2018           $56,740.07
BONNIE BECK                  1202 GIBBS CITY ROAD                                                           IRON RIVER          MI           49935                                  SUPPLIERS OR VENDORS       12/13/2018               $39.04
BONNIE BEMAN                 1165 MILES DRIVE                                                               WORTHINGTON         MN           56187                                  SUPPLIERS OR VENDORS        12/7/2018               $75.00



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                                                                                                                                                                                Reasons for payment or    Dates of     Total Amount or
      Creditor Name                 Address1              Address2                  Address3                  City             State       Zip              Country                    transfer          Payments            Value
BONNIE BIGBACK            BOX 600                                                                     LAME DEER           MT           59043                                  SUPPLIERS OR VENDORS         12/7/2018               $60.80
BONNIE BOOTHROYD          750 1ST ST SW                                                               BRITT               IA           50423                                  SUPPLIERS OR VENDORS        12/13/2018               $23.00
BONNIE CHRISTIANS         507 CRESTVIEW CT                                                            LANARK              IL           61046                                  SUPPLIERS OR VENDORS        10/24/2018               $51.20
BONNIE FEUDNER            19 WINNEBAGO PLACE                                                          SHEBOYGAN           WI           53081                                  SUPPLIERS OR VENDORS        10/26/2018              $112.71
BONNIE HEIZLER            N7924 WILSON LAKE RD                                                        PHILLIPS            WI           54555                                  SUPPLIERS OR VENDORS        10/22/2018               $11.99
BONNIE HEIZLER            N7924 WILSON LAKE RD                                                        PHILLIPS            WI           54555                                  SUPPLIERS OR VENDORS        11/30/2018                $9.92
BONNIE JOHNSON            4997 GLENDALE AVENUE                                                        GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS         12/3/2018               $25.00
BONNIE LANG               2633 HARRISBURG AVE                                                         HENDERSON           NV           89052                                  SUPPLIERS OR VENDORS        10/26/2018               $75.00
BONNIE LANG               2633 HARRISBURG AVE                                                         HENDERSON           NV           89052                                  SUPPLIERS OR VENDORS        10/29/2018               $81.58
BONNIE MATHIS             P. O. BOX 1672                                                              BELLEVUE            NE           68005                                  SUPPLIERS OR VENDORS         11/1/2018              $107.07
BONNIE PACKER             56878 402ND AVE                                                             MAZEPPA             MN           55956                                  SUPPLIERS OR VENDORS        10/24/2018               $72.42
BONNIE RASMUSSEN          3508 8TH ST. C                                                              LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS        11/29/2018               $51.20
BONNIE RUDLAFF            6676 FREDRICK AVE                                                           OCHEYEDAN           IA           51354                                  SUPPLIERS OR VENDORS         11/5/2018               $28.31
BONNIE SCHILLING          STORE 019                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/1/2018               $23.98
BONNYLU RAMIREZ           6110 80TH PL APT101                                                         KENOSHA             WI           53142                                  SUPPLIERS OR VENDORS        11/26/2018               $25.00
BOONE COUNTY HISTORICAL
SOCIETY                   PO BOX 414                                                                  ALBION              NE           68620                                  SUPPLIERS OR VENDORS       11/26/2018               $20.00
BOONE COUNTY PUBLIC
HEALTH DEPT               1204 LOGAN AVENUE                                                           BELVIDERE           IL           61008                                  SUPPLIERS OR VENDORS       11/15/2018              $295.00
BOPPY COMPANY LLC         DEPARTMENT 705                                                              DENVER              CO           80291-0705                             SUPPLIERS OR VENDORS       10/18/2018            $3,517.32
BOPPY COMPANY LLC         DEPARTMENT 705                                                              DENVER              CO           80291-0705                             SUPPLIERS OR VENDORS       11/15/2018            $1,601.26
BORDAN SHOE CO            4335 E VALLEY BLVD                                                          LOS ANGELES         CA           90032                                  SUPPLIERS OR VENDORS       11/23/2018           $67,998.31
BORDAN SHOE CO            4335 E VALLEY BLVD                                                          LOS ANGELES         CA           90032                                  SUPPLIERS OR VENDORS       11/30/2018           $53,163.20
BOSTON AMERICA CORP       55 SIXTH ROAD UNIT 8                                                        WOBURN              MA           01801                                  SUPPLIERS OR VENDORS       11/15/2018            $5,807.52
BOSTON WAREHOUSE
TRADING COMPANY           VICE PRESIDENT OF SALES   59 DAVIS AVENUE                                   NORWOOD             MA           02062-3031                             SUPPLIERS OR VENDORS       10/18/2018            $1,140.00
BOSTON WAREHOUSE
TRADING COMPANY           VICE PRESIDENT OF SALES   59 DAVIS AVENUE                                   NORWOOD             MA           02062-3031                             SUPPLIERS OR VENDORS       10/25/2018              $850.00
BOSTON WAREHOUSE
TRADING COMPANY           VICE PRESIDENT OF SALES   59 DAVIS AVENUE                                   NORWOOD             MA           02062-3031                             SUPPLIERS OR VENDORS        11/1/2018              $780.00
BOSTON WAREHOUSE
TRADING COMPANY           VICE PRESIDENT OF SALES   59 DAVIS AVENUE                                   NORWOOD             MA           02062-3031                             SUPPLIERS OR VENDORS        11/8/2018              $347.38
BOSTON WAREHOUSE
TRADING COMPANY           VICE PRESIDENT OF SALES   59 DAVIS AVENUE                                   NORWOOD             MA           02062-3031                             SUPPLIERS OR VENDORS       11/15/2018            $3,775.00
BOSTON WAREHOUSE
TRADING COMPANY           VICE PRESIDENT OF SALES   59 DAVIS AVENUE                                   NORWOOD             MA           02062-3031                             SUPPLIERS OR VENDORS       11/22/2018              $813.70
BOSTON WAREHOUSE
TRADING COMPANY           VICE PRESIDENT OF SALES   59 DAVIS AVENUE                                   NORWOOD             MA           02062-3031                             SUPPLIERS OR VENDORS       11/29/2018              $710.00
BOULDER ADMIN UCS         23048 N 15TH AVE                                                            PHOENIX             AZ           85027                                  SUPPLIERS OR VENDORS       10/31/2018                $9.00
                          BOUNDARY COUNTY
BOUNDARY COUNTY           COMMISSIONERS             PO BOX 419                                        BONNERS FERRY       ID           83805                                  SUPPLIERS OR VENDORS        11/8/2018              $125.00
BOUNDARY COUNTY
TREASURER                 PO BOX 218                                                                  BONNERS FERRY       ID           83805                                  SUPPLIERS OR VENDORS       12/13/2018           $15,614.95

BOUNDARY WATERS ICE INC   442 N 15TH AVENUE E                                                         ELY                 MN           55731                                  SUPPLIERS OR VENDORS       11/12/2018              $214.65
BOX ELDER CHAMBER OF
COMMERCE                  06 NORTH MAIN                                                               BRIGHAM CITY        UT           84302                                  SUPPLIERS OR VENDORS       10/18/2018              $100.00
BOX ELDER COUNTY
TREASURER                 01 S MAIN                                                                   BRIGHAM CITY        UT           84302                                  SUPPLIERS OR VENDORS       11/26/2018           $78,309.06
BRAD BOMAR                1805 JOSLYN #79                                                             HELENA              MT           59601                                  SUPPLIERS OR VENDORS       11/30/2018              $156.98
BRAD JACOBSON             73468 RED TAIL LANE                                                         ARLEE               MT           59821                                  SUPPLIERS OR VENDORS       11/28/2018               $23.00
BRAD KOHLS                105 SPRUCE STREET                                                           SPENCER             WI           54479                                  SUPPLIERS OR VENDORS       10/22/2018               $66.00
BRAD VALENTINE            N2472 MAPLE TREE RD.                                                        CASCADE             WI           53011                                  SUPPLIERS OR VENDORS       11/29/2018                $5.00
BRADLEY FOGERTY           6468 THUNDER LAKE RD                                                        RHINELANDER         WI           54501                                  SUPPLIERS OR VENDORS        11/5/2018                $5.00



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      Creditor Name                Address1         Address2                  Address3                City               State       Zip              Country                    transfer          Payments            Value
BRADLEY MEULEMANS       E9171 TRISTATE RD                                                       WESTBY              WI           54667                                  SUPPLIERS OR VENDORS        11/26/2018               $25.00
BRADLEY NETT            N10190 NETT RD                                                          NEW HOLSTEIN        WI           53061                                  SUPPLIERS OR VENDORS        12/10/2018               $59.00
BRADLEY PANKOKE         6929 S.W. 34TH CT.                                                      LINCOLN             NE           68523                                  SUPPLIERS OR VENDORS        11/16/2018               $36.55
BRADLEY RYAN            1031 W CECIL ST                                                         NEENAH              WI           54956                                  SUPPLIERS OR VENDORS         11/2/2018               $33.98
BRADLEY SCHMECHEL       STORE 2-005           SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/19/2018              $244.59
BRADLEY SCHMECHEL       STORE 2-005           SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/26/2018               $40.11
BRADLEY SCHMECHEL       STORE 2-005           SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/2/2018              $210.56
BRADLEY SCHMECHEL       STORE 2-005           SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/9/2018              $255.93
BRADLEY SCHMECHEL       STORE 2-005           SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/27/2018              $269.45
BRADLEY SCHMECHEL       STORE 2-005           SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/22/2018               $49.70
BRADLEY SCHMECHEL       STORE 2-005           SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         1/15/2019              $151.03

BRADSHAW INTERNATIONAL
INCORPORATED           FILE 70028                                                               LOS ANGELES         CA           90074-0028                             SUPPLIERS OR VENDORS       10/18/2018            $1,475.17

BRADSHAW INTERNATIONAL
INCORPORATED           FILE 70028                                                               LOS ANGELES         CA           90074-0028                             SUPPLIERS OR VENDORS       10/19/2018           $24,838.80

BRADSHAW INTERNATIONAL
INCORPORATED           FILE 70028                                                               LOS ANGELES         CA           90074-0028                             SUPPLIERS OR VENDORS       10/25/2018            $2,673.75

BRADSHAW INTERNATIONAL
INCORPORATED           FILE 70028                                                               LOS ANGELES         CA           90074-0028                             SUPPLIERS OR VENDORS       10/26/2018          $134,936.58

BRADSHAW INTERNATIONAL
INCORPORATED           FILE 70028                                                               LOS ANGELES         CA           90074-0028                             SUPPLIERS OR VENDORS        11/1/2018            $1,974.40

BRADSHAW INTERNATIONAL
INCORPORATED           FILE 70028                                                               LOS ANGELES         CA           90074-0028                             SUPPLIERS OR VENDORS        11/2/2018          $143,537.36

BRADSHAW INTERNATIONAL
INCORPORATED           FILE 70028                                                               LOS ANGELES         CA           90074-0028                             SUPPLIERS OR VENDORS        11/6/2018           $14,431.72

BRADSHAW INTERNATIONAL
INCORPORATED           FILE 70028                                                               LOS ANGELES         CA           90074-0028                             SUPPLIERS OR VENDORS        11/8/2018            $1,383.45

BRADSHAW INTERNATIONAL
INCORPORATED           FILE 70028                                                               LOS ANGELES         CA           90074-0028                             SUPPLIERS OR VENDORS        11/9/2018           $14,922.08

BRADSHAW INTERNATIONAL
INCORPORATED           FILE 70028                                                               LOS ANGELES         CA           90074-0028                             SUPPLIERS OR VENDORS       11/15/2018            $1,383.45

BRADSHAW INTERNATIONAL
INCORPORATED           FILE 70028                                                               LOS ANGELES         CA           90074-0028                             SUPPLIERS OR VENDORS       11/16/2018           $43,289.25

BRADSHAW INTERNATIONAL
INCORPORATED           FILE 70028                                                               LOS ANGELES         CA           90074-0028                             SUPPLIERS OR VENDORS       11/22/2018            $2,554.27

BRADSHAW INTERNATIONAL
INCORPORATED           FILE 70028                                                               LOS ANGELES         CA           90074-0028                             SUPPLIERS OR VENDORS       11/29/2018              $895.64

BRADSHAW INTERNATIONAL
INCORPORATED           FILE 70028                                                               LOS ANGELES         CA           90074-0028                             SUPPLIERS OR VENDORS       11/30/2018           $62,012.71
BRADY BAGNIEFSKI       3675 COLLEGIATE WAY                                                      NEW FRANKEN         WI           54229                                  SUPPLIERS OR VENDORS        11/7/2018               $25.00



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                                                                                                                                                                               Reasons for payment or    Dates of     Total Amount or
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BRADY SIEGMUND          STORE 120                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/2/2018              $400.03
BRADY SIEGMUND          STORE 120                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/30/2018              $216.91
BRADY SIEGMUND          STORE 120                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/11/2018               $86.11
                        CIT GROUP COMMERCIAL
BRAHA INDUSTRIES INC    SERVICES INC               PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       10/19/2018           $12,566.40
                        CIT GROUP COMMERCIAL
BRAHA INDUSTRIES INC    SERVICES INC               PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       10/24/2018              $928.50
                        CIT GROUP COMMERCIAL
BRAHA INDUSTRIES INC    SERVICES INC               PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/26/2018           $20,476.56
BRAIN POWER
INCORPORATED            4470 S W 74TH AVENUE                                                         MIAMI               FL           33155                                  SUPPLIERS OR VENDORS        11/6/2018              $211.21
BRAIN POWER
INCORPORATED            4470 S W 74TH AVENUE                                                         MIAMI               FL           33155                                  SUPPLIERS OR VENDORS        12/6/2018              $422.42
BRAIN POWER
INCORPORATED            4470 S W 74TH AVENUE                                                         MIAMI               FL           33155                                  SUPPLIERS OR VENDORS       12/10/2018              $325.15
BRAIN POWER
INCORPORATED            4470 S W 74TH AVENUE                                                         MIAMI               FL           33155                                  SUPPLIERS OR VENDORS       12/18/2018                $3.25
BRANDALEE GLOWAC        STORE 088                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/18/2018               $36.52
BRANDALEE GLOWAC        STORE 088                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/15/2018               $36.52
BRANDEMIX               7TH FLOOR                  31 W 34TH STREET                                  NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS       10/24/2018            $3,500.00
BRANDI DEHLER           111 NORMAN LN                                                                WRIGHTSTOWN         WI           54180                                  SUPPLIERS OR VENDORS       11/28/2018               $34.00
BRANDI DENNEY           STORE 067                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/1/2018               $49.10
BRANDI HAWK             829 N E STREET                                                               MONMOUTH            IL           61462                                  SUPPLIERS OR VENDORS       11/26/2018               $10.00
BRANDI HAWK             829 N E STREET                                                               MONMOUTH            IL           61462                                  SUPPLIERS OR VENDORS       11/26/2018               $25.00
BRANDI JARRETT          STORE 523                  SHOPKO EMPLOYEE        525 E HIGHWAY 20           VALENTINE           NE           69201-0000                             SUPPLIERS OR VENDORS       10/26/2018              $347.17
BRANDON ANDERSON        785 CANTERBURY CASTLE LN                                                     GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS       11/16/2018               $28.27
BRANDON GIBBS           26337 FINLEY AVE                                                             WYOMING             MN           55092                                  SUPPLIERS OR VENDORS       11/26/2018               $69.80
BRANDON SMITH           13518 S. WARNER WAY                                                          RIVERTON            UT           84065                                  SUPPLIERS OR VENDORS        11/1/2018               $30.00
BRANDON WITZ            1407 S THOMPSON DR                                                           MADISON             WI           53716                                  SUPPLIERS OR VENDORS        11/7/2018               $13.00
BRANDY FRAMPTON         STORE 799                  SHOPKO EMPLOYEE        440 W MAIN STREET          TREMONTON           UT           84337                                  SUPPLIERS OR VENDORS       12/14/2018              $351.31
BRANDY FRAMPTON         STORE 799                  SHOPKO EMPLOYEE        440 W MAIN STREET          TREMONTON           UT           84337                                  SUPPLIERS OR VENDORS       12/20/2018              $197.74
BRANDY FRAMPTON         STORE 799                  SHOPKO EMPLOYEE        440 W MAIN STREET          TREMONTON           UT           84337                                  SUPPLIERS OR VENDORS        1/15/2019              $136.22
BRANDY GARBER           2998 CANAL CIRCLE                                                            EAST HELENA         MT           59635                                  SUPPLIERS OR VENDORS       11/16/2018               $20.00
BRANDY GOULD            STORE 068                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/11/2018               $89.30
BRANDY MASLOSKI-
SNODGRASS               STORE 2-738                SHOPKO EMPLOYEE        PO BOX 10                  PERHAM              MN           56573                                  SUPPLIERS OR VENDORS        11/8/2018               $30.52
BRANDY MASLOSKI-
SNODGRASS               STORE 2-738                SHOPKO EMPLOYEE        PO BOX 10                  PERHAM              MN           56573                                  SUPPLIERS OR VENDORS        12/6/2018               $24.53
BRANT MORGAN            520 E MORGAN ST                                                              DIXON               IL           61021                                  SUPPLIERS OR VENDORS        12/7/2018               $23.00
BRANT SPRINGER          4202 CASCADE DR                                                              JANESVILLE          WI           53546                                  SUPPLIERS OR VENDORS       12/19/2018               $25.00

BRASS DOOR RESTAURANT
CATERING INC            527 S MAIN                                                                   CARROLLTON          IL           62016                                  SUPPLIERS OR VENDORS       12/14/2018              $529.00
BRAVO SPORTS            PO BOX 847224                                                                LOS ANGELES         CA           90084-7224                             SUPPLIERS OR VENDORS        11/1/2018           $34,061.16
BRAVO SPORTS            PO BOX 847224                                                                LOS ANGELES         CA           90084-7224                             SUPPLIERS OR VENDORS       11/29/2018              $455.33
BREADSMITH              670 N WESTHILL BOULEVARD                                                     APPLETON            WI           54914                                  SUPPLIERS OR VENDORS       10/19/2018              $123.62
BREADSMITH              670 N WESTHILL BOULEVARD                                                     APPLETON            WI           54914                                  SUPPLIERS OR VENDORS       10/23/2018               $36.17
BREADSMITH              670 N WESTHILL BOULEVARD                                                     APPLETON            WI           54914                                  SUPPLIERS OR VENDORS       10/26/2018              $171.83
BREADSMITH              670 N WESTHILL BOULEVARD                                                     APPLETON            WI           54914                                  SUPPLIERS OR VENDORS       10/30/2018               $64.97
BREADSMITH              670 N WESTHILL BOULEVARD                                                     APPLETON            WI           54914                                  SUPPLIERS OR VENDORS        11/2/2018              $127.14
BREADSMITH              670 N WESTHILL BOULEVARD                                                     APPLETON            WI           54914                                  SUPPLIERS OR VENDORS        11/6/2018               $41.50
BREADSMITH              670 N WESTHILL BOULEVARD                                                     APPLETON            WI           54914                                  SUPPLIERS OR VENDORS        11/9/2018               $72.61
BREADSMITH              670 N WESTHILL BOULEVARD                                                     APPLETON            WI           54914                                  SUPPLIERS OR VENDORS       11/13/2018               $25.86
BREADSMITH              670 N WESTHILL BOULEVARD                                                     APPLETON            WI           54914                                  SUPPLIERS OR VENDORS       11/16/2018               $94.78



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BREADSMITH              670 N WESTHILL BOULEVARD                                                     APPLETON            WI           54914                                  SUPPLIERS OR VENDORS        11/23/2018              $285.61
BREADSMITH              670 N WESTHILL BOULEVARD                                                     APPLETON            WI           54914                                  SUPPLIERS OR VENDORS        11/30/2018               $46.68
BREADSMITH              670 N WESTHILL BOULEVARD                                                     APPLETON            WI           54914                                  SUPPLIERS OR VENDORS         12/4/2018               $39.71
BREADSMITH              670 N WESTHILL BOULEVARD                                                     APPLETON            WI           54914                                  SUPPLIERS OR VENDORS        12/11/2018              $186.84
BREADSMITH              670 N WESTHILL BOULEVARD                                                     APPLETON            WI           54914                                  SUPPLIERS OR VENDORS        12/20/2018               $88.79
BREADSMITH              670 N WESTHILL BOULEVARD                                                     APPLETON            WI           54914                                  SUPPLIERS OR VENDORS        12/21/2018               $15.44
BREADSMITH              670 N WESTHILL BOULEVARD                                                     APPLETON            WI           54914                                  SUPPLIERS OR VENDORS        12/27/2018               $15.34
BREAKTHROUGH FUEL LLC   400 S WASHINGTON STREET                                                      GREEN BAY           WI           54301                                  SUPPLIERS OR VENDORS        10/23/2018            $7,196.90
BREAKTHROUGH FUEL LLC   400 S WASHINGTON STREET                                                      GREEN BAY           WI           54301                                  SUPPLIERS OR VENDORS        11/27/2018           $10,546.09
BREAKTHROUGH FUEL LLC   400 S WASHINGTON STREET                                                      GREEN BAY           WI           54301                                  SUPPLIERS OR VENDORS          1/5/2019            $5,371.10
BREANNA DEWITT          STORE 2-100                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/30/2018              $600.60
BREANNA DEWITT          STORE 2-100                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/14/2018            $1,214.25
BREANNA DEWITT          STORE 2-100                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/20/2018            $1,141.96
BREANNA DEWITT          STORE 2-100                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         1/15/2019              $457.62
BREANNA LINDBO          263 SILVER LANE                                                              EUGENE              OR           97404                                  SUPPLIERS OR VENDORS         12/3/2018               $50.00
BREANNA LLOYD           1153 BOUGHTON ST           APT 903                                           WATERTOWN           WI           53094                                  SUPPLIERS OR VENDORS        12/13/2018               $15.00
BREANNA ZIESMER         STORE 790                  SHOPKO EMPLOYEE        409 JUNCTION AVENUE        STANLEY             WI           54768                                  SUPPLIERS OR VENDORS        12/13/2018               $47.42
BREANNAH VAN DUYSEN     STORE 570                  SHOPKO EMPLOYEE        905 W SD HIGHWAY 46        WAGNER              SD           57380-9376                             SUPPLIERS OR VENDORS         11/9/2018              $227.47
BREE BAZILE             N4128 GONNERING COURT                                                        KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS        12/14/2018               $10.00
BREE GALLOWAY           STORE 2-010                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/29/2018               $33.86
BRENDA BANGERT          2919 BASS AVE                                                                CODY                WY           82414                                  SUPPLIERS OR VENDORS        11/26/2018              $278.48
BRENDA BURNLEY          STORE 760                  SHOPKO EMPLOYEE        1105 BRIDGER DRIVE         GREEN RIVER         WY           82935                                  SUPPLIERS OR VENDORS         11/8/2018              $270.00

BRENDA BUSS             5640 HELKE RD                                                                WISCONSIN RAPIDS    WI           54494                                  SUPPLIERS OR VENDORS       12/13/2018               $33.50
BRENDA HAGEN            STORE 2-201                SHOPKO EMPLOYEE        3402 MAIN STREET           EMMETSBURG          IA           50536                                  SUPPLIERS OR VENDORS       10/25/2018               $53.97
BRENDA HUGHES           665 S CENTER ST                                                              BEAVER DAM          WI           53916                                  SUPPLIERS OR VENDORS       10/25/2018               $27.88
BRENDA KARL             STORE 4-004                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/19/2018               $16.35
BRENDA KAVA             16106 O'HERN ST                                                              OMAHA               NE           68135                                  SUPPLIERS OR VENDORS       11/29/2018                $3.00

BRENDA KEPNER           STORE 740                  SHOPKO EMPLOYEE        116 E STATE HIGHWAY 28 MORRIS                  MN           56267                                  SUPPLIERS OR VENDORS        11/1/2018              $139.52
BRENDA KNUTSON          N5336 850TH ST                                                           ELK MOUND               WI           54739                                  SUPPLIERS OR VENDORS        11/7/2018               $12.23
BRENDA KNUTSON          N5336 850TH ST                                                           ELK MOUND               WI           54739                                  SUPPLIERS OR VENDORS       11/29/2018               $40.57
BRENDA KREKLING         800 CRAB TREE LANE                                                       RACINE                  WI           53406                                  SUPPLIERS OR VENDORS       11/14/2018               $40.00
BRENDA KRUEGER          2365 CEDER RIDGE           CONDO B                                       GREEN BAY               WI           54313                                  SUPPLIERS OR VENDORS        12/3/2018               $25.00
BRENDA LARCH            P.O. BOX 486                                                             FLORENCE                WI           54121                                  SUPPLIERS OR VENDORS       10/24/2018               $15.00
BRENDA LEWIS            STORE 4-788                SHOPKO EMPLOYEE        200 COMMERCE DRIVE     COLUMBUS                WI           53925                                  SUPPLIERS OR VENDORS        11/8/2018               $52.32
BRENDA MUZNEY           STORE 2-683                SHOPKO EMPLOYEE        109 N MARKET STREET    AUDUBON                 IA           50025                                  SUPPLIERS OR VENDORS       10/18/2018              $141.70
BRENDA MUZNEY           STORE 2-683                SHOPKO EMPLOYEE        109 N MARKET STREET    AUDUBON                 IA           50025                                  SUPPLIERS OR VENDORS       10/25/2018              $152.60
BRENDA MUZNEY           STORE 2-683                SHOPKO EMPLOYEE        109 N MARKET STREET    AUDUBON                 IA           50025                                  SUPPLIERS OR VENDORS        11/8/2018              $321.01
BRENDA MUZNEY           STORE 2-683                SHOPKO EMPLOYEE        109 N MARKET STREET    AUDUBON                 IA           50025                                  SUPPLIERS OR VENDORS       11/15/2018               $81.75
BRENDA MUZNEY           STORE 2-683                SHOPKO EMPLOYEE        109 N MARKET STREET    AUDUBON                 IA           50025                                  SUPPLIERS OR VENDORS       11/22/2018              $141.70
BRENDA MUZNEY           STORE 2-683                SHOPKO EMPLOYEE        109 N MARKET STREET    AUDUBON                 IA           50025                                  SUPPLIERS OR VENDORS       11/29/2018              $212.55
BRENDA MUZNEY           STORE 2-683                SHOPKO EMPLOYEE        109 N MARKET STREET    AUDUBON                 IA           50025                                  SUPPLIERS OR VENDORS        12/6/2018              $107.91
BRENDA MUZNEY           STORE 2-683                SHOPKO EMPLOYEE        109 N MARKET STREET    AUDUBON                 IA           50025                                  SUPPLIERS OR VENDORS       12/13/2018              $223.45
BRENDA MUZNEY           STORE 2-683                SHOPKO EMPLOYEE        109 N MARKET STREET    AUDUBON                 IA           50025                                  SUPPLIERS OR VENDORS       12/20/2018              $223.45
BRENDA MUZNEY           STORE 2-683                SHOPKO EMPLOYEE        109 N MARKET STREET    AUDUBON                 IA           50025                                  SUPPLIERS OR VENDORS       12/27/2018              $141.70
BRENDA MUZNEY           STORE 2-683                SHOPKO EMPLOYEE        109 N MARKET STREET    AUDUBON                 IA           50025                                  SUPPLIERS OR VENDORS         1/3/2019               $28.34
BRENDA OEHLERKING       32314 GREEN AVE.                                                         SIOUX CITY              IA           51108                                  SUPPLIERS OR VENDORS       11/26/2018               $10.40
BRENDA ONSAGER          5821 BUTTERNUT RD                                                        ARPIN                   WI           54410                                  SUPPLIERS OR VENDORS       12/20/2018               $18.38
BRENDA POST             N 6297 TOWNLINE ROAD                                                     FOND DU LAC             WI           54937                                  SUPPLIERS OR VENDORS        11/5/2018               $25.00
BRENDA ROZINE           1604 DAVIDSON STREET                                                     IRON RIVER              MI           49935                                  SUPPLIERS OR VENDORS       10/25/2018               $42.00
BRENDA SCHOENFELD       1202 ST JOHNS ST                                                         COTTAGE GROVE           WI           53527                                  SUPPLIERS OR VENDORS        11/5/2018               $38.00
BRENDA SHELBOURN        1310 N 97 STREET                                                         LINCOLN                 NE           68505                                  SUPPLIERS OR VENDORS       12/14/2018                $3.00
BRENDA SLACK            2903 AVE H                                                               FT.MADSION              IA           52627                                  SUPPLIERS OR VENDORS       12/21/2018               $45.00



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                                                                                                                                                                         Reasons for payment or    Dates of     Total Amount or
     Creditor Name              Address1           Address2                Address3                  City               State       Zip              Country                    transfer          Payments            Value
BRENDA TONKIN-RIDER   STORE 2-509            SHOPKO EMPLOYEE        2820 ROOSEVELT ROAD        MARINETTE           WI           54143                                  SUPPLIERS OR VENDORS        10/26/2018              $268.14
BRENDA TONKIN-RIDER   STORE 2-509            SHOPKO EMPLOYEE        2820 ROOSEVELT ROAD        MARINETTE           WI           54143                                  SUPPLIERS OR VENDORS         11/9/2018              $357.52
BRENDA TONKIN-RIDER   STORE 2-509            SHOPKO EMPLOYEE        2820 ROOSEVELT ROAD        MARINETTE           WI           54143                                  SUPPLIERS OR VENDORS        11/30/2018              $268.14
BRENDA TONKIN-RIDER   STORE 2-509            SHOPKO EMPLOYEE        2820 ROOSEVELT ROAD        MARINETTE           WI           54143                                  SUPPLIERS OR VENDORS        12/14/2018              $379.32
BRENDA TONKIN-RIDER   STORE 2-509            SHOPKO EMPLOYEE        2820 ROOSEVELT ROAD        MARINETTE           WI           54143                                  SUPPLIERS OR VENDORS         1/15/2019              $998.53
BRENDA VOGELAAR       27280 STATE HWY 264                                                      WORTHINGTON         MN           56187                                  SUPPLIERS OR VENDORS        12/17/2018                $9.69
BRENDA WHEELER        STORE 011              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/29/2018               $81.21
BRENDA YOUNG          203 1ST AVE NW                                                           ROCKFORD            IA           50468                                  SUPPLIERS OR VENDORS        11/26/2018              $356.37
BRENNA ABPLANALP      STORE 776              SHOPKO EMPLOYEE        925 N 6TH STREET           GREYBULL            WY           82426                                  SUPPLIERS OR VENDORS        10/26/2018              $461.29
BRENNA COMBS          1786 23RD AVE                                                            AVON                IL           61415                                  SUPPLIERS OR VENDORS         12/3/2018               $45.00
BRENNA HYRKAS         STORE 2-606            SHOPKO EMPLOYEE        56835 STATION DRIVE        CALUMET             MI           49913-2903                             SUPPLIERS OR VENDORS        11/22/2018              $830.58

BRENT ADAMSON         C/O SHOPKO OPTICAL     2655 S BROADWAY AVE                               BOISE               ID           83706                                  SUPPLIERS OR VENDORS       11/30/2018            $3,188.20

BRENT ADAMSON         C/O SHOPKO OPTICAL     2655 S BROADWAY AVE                               BOISE               ID           83706                                  SUPPLIERS OR VENDORS       12/14/2018            $4,176.05

BRENT ADAMSON         C/O SHOPKO OPTICAL     2655 S BROADWAY AVE                               BOISE               ID           83706                                  SUPPLIERS OR VENDORS       12/29/2018            $3,539.45
BRENT BARTOSZEK       W509 HWY M69                                                             PERRONVILLE         MI           49873                                  SUPPLIERS OR VENDORS       10/31/2018               $20.00
BRENT BERGSTROM       1614 STEINER LANE                                                        GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS        11/2/2018               $34.00
BRENT BERGSTROM       1614 STEINER LANE                                                        GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS        11/2/2018               $49.96
BRENT HEATON          209 E GREEENWOOD STR                                                     JACKSONVILLE        IL           62650                                  SUPPLIERS OR VENDORS       12/18/2018               $25.00
BRENT HIEB            317 E 15 AVE                                                             MITCHELL            SD           57301                                  SUPPLIERS OR VENDORS       11/28/2018               $23.00
BRENT HIGGINS         5220 CROCUS CT                                                           STEVENS POINT       WI           54481                                  SUPPLIERS OR VENDORS        12/7/2018               $16.00
                                             20639 SOUTH FORDYCE
BRENTWOOD ORIGINALS   BOMAINE CORPORATION    AVENUE                                            CARSON              CA           90810-1019                             SUPPLIERS OR VENDORS       10/18/2018            $9,297.04
                                             20639 SOUTH FORDYCE
BRENTWOOD ORIGINALS   BOMAINE CORPORATION    AVENUE                                            CARSON              CA           90810-1019                             SUPPLIERS OR VENDORS       10/25/2018           $17,582.45
                                             20639 SOUTH FORDYCE
BRENTWOOD ORIGINALS   BOMAINE CORPORATION    AVENUE                                            CARSON              CA           90810-1019                             SUPPLIERS OR VENDORS        11/1/2018           $29,380.56
                                             20639 SOUTH FORDYCE
BRENTWOOD ORIGINALS   BOMAINE CORPORATION    AVENUE                                            CARSON              CA           90810-1019                             SUPPLIERS OR VENDORS        11/8/2018           $10,625.61
                                             20639 SOUTH FORDYCE
BRENTWOOD ORIGINALS   BOMAINE CORPORATION    AVENUE                                            CARSON              CA           90810-1019                             SUPPLIERS OR VENDORS       11/15/2018           $27,827.56
                                             20639 SOUTH FORDYCE
BRENTWOOD ORIGINALS   BOMAINE CORPORATION    AVENUE                                            CARSON              CA           90810-1019                             SUPPLIERS OR VENDORS       11/22/2018           $13,072.16
                                             20639 SOUTH FORDYCE
BRENTWOOD ORIGINALS   BOMAINE CORPORATION    AVENUE                                            CARSON              CA           90810-1019                             SUPPLIERS OR VENDORS       11/29/2018           $47,170.85
BREONNA HAWKINS       1387 STATE RD 78                                                         MOUNT HOREB         WI           53572                                  SUPPLIERS OR VENDORS       12/10/2018                $2.00
BRET ROBERTS          120 N RICE ST                                                            KASOTA              MN           56050                                  SUPPLIERS OR VENDORS        12/7/2018               $23.00
BRET STROMER          54445 PONTIAC RD                                                         HANCOCK             MI           49930                                  SUPPLIERS OR VENDORS       10/26/2018               $40.00
BRETT MARTIN          510 CONCONULLY ST                                                        OKANOGAN            WA           98840                                  SUPPLIERS OR VENDORS        11/5/2018               $44.31
BRETT RANK            N 7134 POPLAR LN                                                         ELKHORN             WI           53121                                  SUPPLIERS OR VENDORS       11/26/2018                $4.00
BRETT RANK            N 7134 POPLAR LN                                                         ELKHORN             WI           53121                                  SUPPLIERS OR VENDORS       11/26/2018               $20.00
BRETT VOSEN           6251 COUNTY RD P                                                         DANE                WI           53529                                  SUPPLIERS OR VENDORS        12/5/2018               $20.00
BRETT WOOD            163 PHILLIP STREET                                                       LAYTON              UT           84041                                  SUPPLIERS OR VENDORS       10/24/2018               $40.00
BREWER IRELAND
CONTRACTING           KEVIN IRELAND          237 SW 30TH AVENUE                                TRENTON             MO           64683                                  SUPPLIERS OR VENDORS       11/30/2018              $400.00
BRIAN BARCLAY         4188 TOWNHALL RD                                                         VESPER              WI           54489                                  SUPPLIERS OR VENDORS       10/31/2018               $24.00
BRIAN BARTON          623 NORTH ARCH                                                           ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       11/12/2018               $45.00
BRIAN BIOLO           121 15TH ST.                                                             FOND DU LAC         WI           54935                                  SUPPLIERS OR VENDORS       10/26/2018              $113.00
BRIAN BIWER           314 E PUERNER ST                                                         JEFFERSON           WI           53549                                  SUPPLIERS OR VENDORS        11/5/2018               $10.00
BRIAN BOHAN           STORE 053              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/20/2018               $56.68
BRIAN BOHAN           STORE 053              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/27/2018              $172.22
BRIAN BOIT            536 HARVEY ST                                                            TRACY               MN           56175                                  SUPPLIERS OR VENDORS        12/5/2018                $8.07



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                                                                                                                                                                                Reasons for payment or    Dates of     Total Amount or
       Creditor Name               Address1               Address2                  Address3                City               State       Zip              Country                    transfer          Payments            Value
BRIAN BYERS              3245 HOLLY CIRCLE                                                            SLAYTON             MN           56172                                  SUPPLIERS OR VENDORS        10/29/2018               $32.30
BRIAN CLARK              3501 STATE RD 35 LOT 510                                                     ONALASKA            WI           54650                                  SUPPLIERS OR VENDORS        12/13/2018               $23.00
BRIAN COOK               STORE 4-003                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/8/2018              $206.25
BRIAN DUBEY              5536 N MC NICHOLS DR                                                         MILTON              WI           53563                                  SUPPLIERS OR VENDORS        10/29/2018               $30.00
BRIAN DUBEY              5536 N MC NICHOLS DR                                                         MILTON              WI           53563                                  SUPPLIERS OR VENDORS         12/7/2018               $25.00
BRIAN DUSS               STORE 164                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/16/2018              $268.14
BRIAN DUSS               STORE 164                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         1/15/2019              $268.67
BRIAN G ANDERSON         STORE 127                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/1/2018              $424.00
BRIAN GUZMAN             5288 CROCUS COURT                                                            STEVENS POINT       WI           54481                                  SUPPLIERS OR VENDORS        11/28/2018                $6.00
BRIAN HEFNER             831 172 AVE                                                                  UNION GROVE         WI           53182                                  SUPPLIERS OR VENDORS        12/13/2018               $23.00
BRIAN JENSEN OPTOMETRY
LLC                      1065 CENTENNIAL DRIVE                                                        TWIN FALLS          ID           83301                                  SUPPLIERS OR VENDORS       10/19/2018            $5,458.75
BRIAN JENSEN OPTOMETRY
LLC                      1065 CENTENNIAL DRIVE                                                        TWIN FALLS          ID           83301                                  SUPPLIERS OR VENDORS        11/2/2018            $7,849.58
BRIAN JENSEN OPTOMETRY
LLC                      1065 CENTENNIAL DRIVE                                                        TWIN FALLS          ID           83301                                  SUPPLIERS OR VENDORS       11/16/2018            $7,242.19
BRIAN JENSEN OPTOMETRY
LLC                      1065 CENTENNIAL DRIVE                                                        TWIN FALLS          ID           83301                                  SUPPLIERS OR VENDORS       11/30/2018            $6,738.06
BRIAN JENSEN OPTOMETRY
LLC                      1065 CENTENNIAL DRIVE                                                        TWIN FALLS          ID           83301                                  SUPPLIERS OR VENDORS       12/14/2018            $8,500.42
BRIAN JENSEN OPTOMETRY
LLC                      1065 CENTENNIAL DRIVE                                                        TWIN FALLS          ID           83301                                  SUPPLIERS OR VENDORS       12/18/2018              $250.50
BRIAN JENSEN OPTOMETRY
LLC                      1065 CENTENNIAL DRIVE                                                        TWIN FALLS          ID           83301                                  SUPPLIERS OR VENDORS       12/29/2018            $6,942.55
BRIAN JENSEN OPTOMETRY
LLC                      1065 CENTENNIAL DRIVE                                                        TWIN FALLS          ID           83301                                  SUPPLIERS OR VENDORS        1/11/2019            $5,942.02
BRIAN JOHN               4320 GREENFIELD LANE                                                         MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS       10/25/2018               $61.03
BRIAN JOHNSON            14164 428TH AVE                                                              WEBSTER             SD           57274                                  SUPPLIERS OR VENDORS       12/13/2018               $45.00
BRIAN LAPLANTE           473 WYNNSONG DR NW                                                           BYRON               MN           55920                                  SUPPLIERS OR VENDORS        11/5/2018               $72.42
BRIAN LOWIS              201 WESTLAWN AVE.                                                            VERONA              WI           53593                                  SUPPLIERS OR VENDORS       11/12/2018               $25.00
BRIAN MEYER              2055 SUNDIAL AVE                                                             MOSINEE             WI           54455                                  SUPPLIERS OR VENDORS       10/19/2018               $59.94
BRIAN MORK               5384 LITTLE BLUESTEM DR                                                      MC FARLAND          WI           53558                                  SUPPLIERS OR VENDORS       10/22/2018               $21.00
BRIAN MORK               5384 LITTLE BLUESTEM DR                                                      MC FARLAND          WI           53558                                  SUPPLIERS OR VENDORS       11/26/2018                $2.11
BRIAN MUHLENBECK         2915 168TH AVENUE                                                            KENOSHA             WI           53144                                  SUPPLIERS OR VENDORS       11/30/2018               $17.91
BRIAN OEHLER             1457 SAWGRASS DR.                                                            NEKOOSA             WI           54457                                  SUPPLIERS OR VENDORS       10/31/2018               $25.43
BRIAN RETZLAFF           1934 FAIRVIEW DR.                                                            WEST BEND           WI           53090                                  SUPPLIERS OR VENDORS       10/26/2018               $23.00
BRIAN RILEY              5606 SOUTH 148TH COURT                                                       OMAHA               NE           68137                                  SUPPLIERS OR VENDORS       11/29/2018               $11.25
BRIAN TESKE              W21055 DEER RUN LANE                                                         GALESVILLE          WI           54630                                  SUPPLIERS OR VENDORS        12/5/2018               $42.98
BRIAN THELLEFSEN         138 S. GREENBAY RD.                                                          RACINE              WI           53406                                  SUPPLIERS OR VENDORS       12/20/2018                $1.60
BRIAN WEST               STORE SERVICES             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/19/2018              $504.17
BRIAN WEST               STORE SERVICES             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/26/2018              $640.08
BRIAN WEST               STORE SERVICES             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/2/2018            $1,522.45
BRIAN WEST               STORE SERVICES             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/16/2018              $237.31
BRIAN WEST               STORE SERVICES             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/27/2018              $570.16
BRIAN WEST               STORE SERVICES             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/30/2018              $137.88
BRIAN WEST               STORE SERVICES             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/11/2018              $107.60
BRIAN WEST               STORE SERVICES             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/20/2018              $143.88
BRIAN WEST               STORE SERVICES             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/29/2018              $132.62
BRIAN WIGFIELD           STORE 062                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/2/2018              $185.30
BRIAN WILGUS             1904 LION PLACE                                                              WENATCHEE           WA           98801                                  SUPPLIERS OR VENDORS       10/22/2018               $60.29
BRIANA LINZMEIER         711 COUNTY ROAD S                                                            JUNCTIONCITY        WI           54443                                  SUPPLIERS OR VENDORS        12/7/2018               $30.00
                                                                           174 JAMES ROBERTSON
BRIANNA ESCKELSON        STORE 653                  SHOPKO EMPLOYEE        DRIVE                      GLADWIN             MI           48624                                  SUPPLIERS OR VENDORS       11/27/2018              $800.00
BRIANNA FINCH            341 THREE WOLF ROAD                                                          HUNTLEY             MT           59037                                  SUPPLIERS OR VENDORS       11/26/2018               $25.00



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BRIANNA JEPSEN           STORE 2-005                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/27/2018               $47.96
BRIANNA STONER           1634 C ST., APT # 6                                                          LINCOLN             NE           68502                                  SUPPLIERS OR VENDORS         11/9/2018                $2.00
BRIANNA STONER           1634 C ST., APT # 6                                                          LINCOLN             NE           68502                                  SUPPLIERS OR VENDORS        11/29/2018                $2.00
BRIAR HASS               1105 MEADOW LN.                                                              NEENAH              WI           54956                                  SUPPLIERS OR VENDORS         11/2/2018               $44.00
                                                                                                                                                                              PURCHASE OF
BRIDGEPORT RETAIL LLC    PO BOX 428                                                                   LAKE OSWEGO         OR           97034                                  MERCHANDISE                  1/7/2019           $44,173.66
BRIDGEPORT RETAIL UTAH
LLC                      PO BOX 428                                                                   LAKE OSWEGO         OR           97034                                  SUPPLIERS OR VENDORS        11/1/2018           $44,173.66
BRIDGEPORT RETAIL UTAH
LLC                      PO BOX 428                                                                   LAKE OSWEGO         OR           97034                                  SUPPLIERS OR VENDORS        12/1/2018           $44,173.66
BRIDGER VALLEY LAWN &
LANDSCAPING INC          PO BOX 565                                                                   LYMAN               WY           82937-0565                             SUPPLIERS OR VENDORS        11/9/2018              $180.00
BRIDGET SCHAUB           3907 BOARDWALK ST #3                                                         EAU CLAIRE          WI           54701                                  SUPPLIERS OR VENDORS        12/7/2018               $25.00
BRIDGFORD MARKETING
COMPANY                  VICE PRESIDENT OF SALES    PO BOX 3773                                       ANAHEIM             CA           92803                                  SUPPLIERS OR VENDORS       10/18/2018            $2,025.63
BRIDGFORD MARKETING
COMPANY                  VICE PRESIDENT OF SALES    PO BOX 3773                                       ANAHEIM             CA           92803                                  SUPPLIERS OR VENDORS       10/25/2018            $2,131.60
BRIDGFORD MARKETING
COMPANY                  VICE PRESIDENT OF SALES    PO BOX 3773                                       ANAHEIM             CA           92803                                  SUPPLIERS OR VENDORS        11/1/2018            $6,296.10
BRIDGFORD MARKETING
COMPANY                  VICE PRESIDENT OF SALES    PO BOX 3773                                       ANAHEIM             CA           92803                                  SUPPLIERS OR VENDORS        11/8/2018            $8,048.99
BRIDGFORD MARKETING
COMPANY                  VICE PRESIDENT OF SALES    PO BOX 3773                                       ANAHEIM             CA           92803                                  SUPPLIERS OR VENDORS       11/15/2018            $5,471.37
BRIDGFORD MARKETING
COMPANY                  VICE PRESIDENT OF SALES    PO BOX 3773                                       ANAHEIM             CA           92803                                  SUPPLIERS OR VENDORS       11/22/2018            $3,592.06
BRIDGFORD MARKETING
COMPANY                  VICE PRESIDENT OF SALES    PO BOX 3773                                       ANAHEIM             CA           92803                                  SUPPLIERS OR VENDORS       11/29/2018            $3,258.99
BRIDGFORD MARKETING
COMPANY                  VICE PRESIDENT OF SALES    PO BOX 3773                                       ANAHEIM             CA           92803                                  SUPPLIERS OR VENDORS       12/20/2018            $9,351.47
BRIDGFORD MARKETING
COMPANY                  VICE PRESIDENT OF SALES    PO BOX 3773                                       ANAHEIM             CA           92803                                  SUPPLIERS OR VENDORS       12/21/2018              $460.70
BRIDGFORD MARKETING
COMPANY                  VICE PRESIDENT OF SALES    PO BOX 3773                                       ANAHEIM             CA           92803                                  SUPPLIERS OR VENDORS       12/27/2018            $1,394.96
BRIELLE BEMMELS          3324 HAWK RIDGE TRAIL                                                        GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS       11/16/2018                $3.27
BRIELLE LEHMANN          5598 PRARIE ROAD                                                             JUNCTION CITY       WI           54443                                  SUPPLIERS OR VENDORS       11/29/2018                $1.00
BRIELLE LEHMANN          5598 PRARIE ROAD                                                             JUNCTION CITY       WI           54443                                  SUPPLIERS OR VENDORS       11/29/2018                $2.00

BRIGHAM CITY TREASURER   20 N MAIN                  PO BOX 1005                                       BRIGHAM CITY        UT           84302-1005                             SUPPLIERS OR VENDORS       11/26/2018              $100.00
BRIGHTZ LTD              8000 YANKEE RD SUITE 225                                                     OTTAWA LAKE         MI           49267                                  SUPPLIERS OR VENDORS       10/23/2018           $31,006.40
BRIGHTZ LTD              8000 YANKEE RD SUITE 225                                                     OTTAWA LAKE         MI           49267                                  SUPPLIERS OR VENDORS        11/6/2018              $496.00
BRIGHTZ LTD              8000 YANKEE RD SUITE 225                                                     OTTAWA LAKE         MI           49267                                  SUPPLIERS OR VENDORS        11/9/2018            $1,090.40

BRISTOL MYERS COMPANY    SHOPKO STORES              PO BOX 19060           DISC 12/24/07              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/24/2018           $36,276.25

BRISTOL MYERS COMPANY    SHOPKO STORES              PO BOX 19060           DISC 12/24/07              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/10/2018           $37,026.78

BRISTOL MYERS COMPANY    SHOPKO STORES              PO BOX 19060           DISC 12/24/07              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/24/2018           $34,250.69
BRITANY NELSON           708 LARIMORE CIRCLE                                                          ALBERT LEA          MN           56007                                  SUPPLIERS OR VENDORS       12/17/2018                $6.15
BRITTANY ALFORD          304 W MAPLE AVE                                                              BEAVER DAM          WI           53916                                  SUPPLIERS OR VENDORS       12/21/2018                $2.42
BRITTANY ALFORD          304 W MAPLE AVE                                                              BEAVER DAM          WI           53916                                  SUPPLIERS OR VENDORS       12/21/2018               $39.00
                                                                           515 EAST OKLAHOMA
BRITTANY DAVIDSON        STORE 536                  SHOPKO EMPLOYEE        AVENUE                     ULYSSES             KS           67880-2817                             SUPPLIERS OR VENDORS        1/15/2019              $183.28
BRITTANY KRAUSE          3025 HAMILTON BOULEVARD                                                      SIOUX CITY          IA           51104                                  SUPPLIERS OR VENDORS       10/19/2018            $5,487.22
BRITTANY KRAUSE          3025 HAMILTON BOULEVARD                                                      SIOUX CITY          IA           51104                                  SUPPLIERS OR VENDORS        11/2/2018           $10,812.67



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                                                        SOFA Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                                                 Reasons for payment or    Dates of     Total Amount or
      Creditor Name                Address1                Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
BRITTANY KRAUSE          3025 HAMILTON BOULEVARD                                                       SIOUX CITY          IA           51104                                  SUPPLIERS OR VENDORS        11/16/2018            $8,356.20
BRITTANY KRAUSE          3025 HAMILTON BOULEVARD                                                       SIOUX CITY          IA           51104                                  SUPPLIERS OR VENDORS        11/30/2018            $8,486.85
BRITTANY KRAUSE          3025 HAMILTON BOULEVARD                                                       SIOUX CITY          IA           51104                                  SUPPLIERS OR VENDORS        12/14/2018            $9,621.92
BRITTANY KRAUSE          3025 HAMILTON BOULEVARD                                                       SIOUX CITY          IA           51104                                  SUPPLIERS OR VENDORS        12/29/2018           $11,821.83
BRITTANY KRAUSE          3025 HAMILTON BOULEVARD                                                       SIOUX CITY          IA           51104                                  SUPPLIERS OR VENDORS         1/11/2019            $5,926.55
BRITTANY LEMKE           1707 WILSON AVE.                                                              OSHKOSH             WI           54901                                  SUPPLIERS OR VENDORS        11/26/2018               $30.00
BRITTANY PETERS          STORE 2-070                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/29/2018               $97.72
BRITTANY WILLIAMS        1795 ELDORADO DR. APT 15                                                      GREEN BAY           WI           54302                                  SUPPLIERS OR VENDORS         11/9/2018               $37.40
BRITTNEY FREUND          1161 SOUTH WELLS STREET     APT 11                                            LAKE GENEVA         WI           53147                                  SUPPLIERS OR VENDORS        10/31/2018               $30.00
BRITTNEY GERBER          STORE 2-037                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/15/2018               $75.21

BRITTNEY HODGE           531 8TH AVE N                                                                 WISCONSIN RAPIDS WI              54495                                  SUPPLIERS OR VENDORS        11/5/2018                $2.00
BRIXMOR OPERATING
PARTNERSHIP LP           BRIXMOR SPE 1 LLC           PO BOX 645346                                     CINCINNATI          OH           45264-5346                             SUPPLIERS OR VENDORS        11/1/2018            $3,750.80
BRIXMOR OPERATING
PARTNERSHIP LP           BRIXMOR SPE 1 LLC           PO BOX 645346                                     CINCINNATI          OH           45264-5346                             SUPPLIERS OR VENDORS        12/3/2018            $3,780.81

BROADWAY AUTOMOTIVE      PO BOX 28437                                                                  GREEN BAY           WI           54324-0437                             SUPPLIERS OR VENDORS        11/2/2018              $780.08
BROCK PACK               201 WEST ELLIOT ST                                                            MARK                IL           61340                                  SUPPLIERS OR VENDORS       11/28/2018               $23.00
BROOKE GARDINER          2820 W 4225 S                                                                 ROY                 UT           84067                                  SUPPLIERS OR VENDORS        11/9/2018               $26.00
BROOKE GRUHN             7485 MAPLE GROVE                                                              MILLEDGEVILLE       IL           61051                                  SUPPLIERS OR VENDORS        12/7/2018               $34.00
BROOKE HARTJES           412 APPLETREE LANE                                                            LITTLE CHUTE        WI           54140                                  SUPPLIERS OR VENDORS       10/25/2018                $9.08
BROOKE HUDSON            W201 ANGELICA ST.                                                             KRAKOW              WI           54137                                  SUPPLIERS OR VENDORS       10/25/2018               $23.00
BROOKE PEDERSON          1504 ALTOONA AVE                                                              EAU CLAIRE          WI           54701                                  SUPPLIERS OR VENDORS       10/24/2018               $93.97
BROOKE ROWE              514 21ST ST                                                                   MONROE              WI           53566                                  SUPPLIERS OR VENDORS       11/28/2018               $23.00
BROOKE RYDSTROM          1342 NW KINGSTON AVE                                                          BEND                OR           97703                                  SUPPLIERS OR VENDORS       11/28/2018               $30.00
BROOKE WIENER            STORE 4-179                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/18/2018              $101.37
BROOKE WIENER            STORE 4-179                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/1/2018              $101.37
BROOKLYN FERGUSON        STORE 2-065                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/20/2018               $90.00

BROOKLYN HANSON          15 MINNESOTA LAKE AVE. W.                                                     MINNESOTALAKE       MN           56068                                  SUPPLIERS OR VENDORS       11/26/2018               $29.50
BROOKLYN JOHNSON         30340 W LAKE DR                                                               GIRARD              IL           62640                                  SUPPLIERS OR VENDORS        11/5/2018               $29.00
BROOKLYN STONER          15983 STANTON RD                                                              SHANNON             IL           61078                                  SUPPLIERS OR VENDORS       11/28/2018               $28.90
BROOKS CONSTRUCTION CO
INCORPORATED             PO BOX 9560                                                                   FORT WAYNE          IN           46899                                  SUPPLIERS OR VENDORS        11/3/2018           $62,372.49
BROWN & HALEY            PO BOX 1596                                                                   TACOMA              WA           98401-1596                             SUPPLIERS OR VENDORS        11/1/2018           $71,098.70

BROWN COUNTY GRAPHICS
INCORPORATED          PO BOX 12497                                                                     GREEN BAY           WI           54307-2497                             SUPPLIERS OR VENDORS       11/30/2018               $95.00
BROWN COUNTY PORT &
RESOURCE              RECOVERY DEPARTMENT            2561 S BROADWAY                                   GREEN BAY           WI           54304                                  SUPPLIERS OR VENDORS       10/25/2018            $4,788.00

BROWN COUNTY TREASURER   305 E WALNUT STREET         PO BOX 23600                                      GREEN BAY           WI           54305-3600                             SUPPLIERS OR VENDORS        11/8/2018               $80.00
BRUCE ANDREWS            9728 RIVER J.5 LANE                                                           CORNELL             MI           49818                                  SUPPLIERS OR VENDORS       10/25/2018               $42.00
BRUCE BRAUN              W1016 ILLINOIS RD                                                             HARTFORD            WI           53027                                  SUPPLIERS OR VENDORS       11/29/2018               $41.60
BRUCE GAEDE              PO BOX 5                                                                      WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS        12/5/2018               $44.16
BRUCE GAEDE              PO BOX 5                                                                      WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS       12/17/2018               $11.04
BRUCE HELBACH            N2924 SMITH LANE                                                              WAUPACA             WI           54981                                  SUPPLIERS OR VENDORS       10/26/2018              $142.71
BRUCE HOSTRAWSER         407 WILSON ST                                                                 MOSINEE             WI           54455                                  SUPPLIERS OR VENDORS        12/7/2018               $45.00
BRUCE KNUTSON            630 SUSIE STREET                                                              DELAVAN             WI           53115                                  SUPPLIERS OR VENDORS       10/24/2018              $136.98
BRUCE KNUTSON            N5336 850TH ST                                                                ELK MOUND           WI           54739                                  SUPPLIERS OR VENDORS        11/7/2018               $12.23
BRUCE KNUTSON            N5336 850TH ST                                                                ELK MOUND           WI           54739                                  SUPPLIERS OR VENDORS       11/29/2018               $40.57
BRUCE LOVELAND           705 9TH ST SW                                                                 AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS        12/7/2018               $16.00
BRUCE MARSON             2522 W SUNNYVIEW CIRCLE                                                       APPLETON            WI           54914                                  SUPPLIERS OR VENDORS       10/31/2018               $11.04



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                                                                                                                                                                               Reasons for payment or    Dates of     Total Amount or
      Creditor Name                  Address1            Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
BRUCE MCFADDEN            P.O. BOX 273                                                               WILBUR              WA           99185                                  SUPPLIERS OR VENDORS        11/28/2018               $23.80
BRUCE MELBY               1170 100TH ST N                                                            CANBY               MN           56220                                  SUPPLIERS OR VENDORS        10/22/2018               $69.00
BRUCE MEYER               8035 GRAND OAKS DR                                                         LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS        10/24/2018               $47.94
BRUCE NICKESON            2295 YANKEE HILL ROAD                                                      MILFORD             NE           68405                                  SUPPLIERS OR VENDORS        11/28/2018               $71.97
BRUCE NIELSEN             STORE 2-108              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/19/2018              $279.48
BRUCE NIELSEN             STORE 2-108              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/30/2018              $306.51
BRUCE NIELSEN             STORE 2-108              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/29/2018              $663.81
BRUCE OLSON               112 3RD AVE SE                                                             WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS        11/26/2018               $44.16
BRUCE PODOSKI             345 ROSEMONT ST                                                            COLEMAN             WI           54112                                  SUPPLIERS OR VENDORS        10/22/2018               $25.00
BRUCE PREGONT             R6531 ARROWHEAD TRAIL                                                      RINGLE              WI           54471                                  SUPPLIERS OR VENDORS         12/7/2018               $55.80
BRUCE ROGERS              STORE 2-100              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/18/2018               $31.61
BRUCE ROGERS              STORE 2-100              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/25/2018               $31.61
BRUCE RUNNING             5250 SINDELAR DR.                                                          EAU CLAIRE          WI           54701                                  SUPPLIERS OR VENDORS        11/30/2018               $96.00
BRUCE SCHERMANN           705 PARK ISLAND DR. SW                                                     HUTCHINSON          MN           55350                                  SUPPLIERS OR VENDORS         12/7/2018               $45.00
BRUCE SCHUMAKER           W6240 570TH AVE                                                            ELLSWORTH           WI           54011                                  SUPPLIERS OR VENDORS         12/7/2018              $113.00
BRUCE SCOTT               W8349 HWY. 11                                                              BROWNTOWN           WI           53522                                  SUPPLIERS OR VENDORS        12/14/2018               $25.00
BRUCE SNEDEKER            38437 174TH ST #121                                                        REDFIELD            SD           57469                                  SUPPLIERS OR VENDORS        10/26/2018               $58.00
BRUCE THOUNE              1444 CENTER ST                                                             MUNISING            MI           49862                                  SUPPLIERS OR VENDORS        11/30/2018               $55.00
BRUCE WESTERHOLD          PO BOX 23                                                                  CLARKSON            NE           68629                                  SUPPLIERS OR VENDORS        11/26/2018               $30.00
BRUMLOW MILLS
INCORPORATED              734 South River Street                                                     Calhoun             GA           30701-3284                             SUPPLIERS OR VENDORS       10/19/2018            $1,898.64
BRUMLOW MILLS
INCORPORATED              734 South River Street                                                     Calhoun             GA           30701-3284                             SUPPLIERS OR VENDORS        11/8/2018            $1,477.57
BRUMLOW MILLS
INCORPORATED              734 South River Street                                                     Calhoun             GA           30701-3284                             SUPPLIERS OR VENDORS       11/15/2018            $3,153.60
BRUMLOW MILLS
INCORPORATED              734 South River Street                                                     Calhoun             GA           30701-3284                             SUPPLIERS OR VENDORS       11/29/2018            $2,046.10
BRUNO DIAZ                862 COMUS DR                                                               DELAVAN             WI           53115                                  SUPPLIERS OR VENDORS        11/8/2018               $23.00
                                                   SHOPKO STORES
BRUNSWICK DISTRIBUTING    CASH ON DELIVERY         INCORPORATED           PAM TO ORACLE              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/20/2018               $15.95
BRYAN ARENDS              115 1ST ST SE                                                              HAMPTON             IA           50441                                  SUPPLIERS OR VENDORS        11/5/2018               $17.60
BRYAN BLACKARD            STORE 618                SHOPKO EMPLOYEE        1515 E MAIN STREET         REEDSBURG           WI           53959                                  SUPPLIERS OR VENDORS       10/19/2018              $142.08
BRYAN BLACKARD            STORE 618                SHOPKO EMPLOYEE        1515 E MAIN STREET         REEDSBURG           WI           53959                                  SUPPLIERS OR VENDORS       10/26/2018              $167.40
BRYAN BLACKARD            STORE 618                SHOPKO EMPLOYEE        1515 E MAIN STREET         REEDSBURG           WI           53959                                  SUPPLIERS OR VENDORS        11/2/2018              $198.38
BRYAN DAVID               5632 OAK DRIVE                                                             AMHERST             WI           54406                                  SUPPLIERS OR VENDORS       11/26/2018               $25.00
BRYAN DAVID               5632 OAK DRIVE                                                             AMHERST             WI           54406                                  SUPPLIERS OR VENDORS       11/26/2018               $35.00
BRYAN EADES               619 E SMOKEY LN                                                            MURRAYVILLE         IL           62668                                  SUPPLIERS OR VENDORS        11/9/2018               $42.98
BRYAN EDWARDS             804 S 16TH UNIT B                                                          NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS       11/26/2018               $15.00
BRYAN HARDEGEN            206 MEADOWPARK DR                                                          HORICON             WI           53032                                  SUPPLIERS OR VENDORS       10/25/2018               $42.00
BRYAN KOSCHAK             STORE 2-096              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/25/2018               $68.25
BRYAN MAY                 61595 150TH ST                                                             ROSE CREEK          MN           55970                                  SUPPLIERS OR VENDORS       10/24/2018              $125.00
BRYAN SATTER              STORE 2-101              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       10/26/2018              $174.40
BRYAN SATTER              STORE 2-101              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       11/16/2018              $438.78
BRYAN SATTER              STORE 2-101              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       12/11/2018               $87.20
BRYAN SATTER              STORE 2-101              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       12/14/2018              $436.00
BRYAN SATTER              STORE 2-101              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       12/22/2018               $64.31
                                                                          2655 WEST CHICAGO
BRYAN VOELTNER            STORE 648                SHOPKO EMPLOYEE        BLVD                       TECUMSEH            MI           49286                                  SUPPLIERS OR VENDORS       11/16/2018               $33.89
BRYNA NELSON              6305 JACOBS WAY                                                            MADISON             WI           53711                                  SUPPLIERS OR VENDORS       10/29/2018               $25.00
BTI TOOLS TAYLOR BRANDS
LLC                       PO BOX 95000 5975                                                          PHILADELPHIA        PA           19195-5975                             SUPPLIERS OR VENDORS       10/18/2018              $625.96
BTI TOOLS TAYLOR BRANDS
LLC                       PO BOX 95000 5975                                                          PHILADELPHIA        PA           19195-5975                             SUPPLIERS OR VENDORS       10/25/2018            $6,160.56




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                                                                                                                                                                               Reasons for payment or    Dates of    Total Amount or
       Creditor Name                Address1              Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
BTI TOOLS TAYLOR BRANDS
LLC                       PO BOX 95000 5975                                                           PHILADELPHIA        PA           19195-5975                             SUPPLIERS OR VENDORS       11/1/2018           $6,784.67
BTI TOOLS TAYLOR BRANDS
LLC                       PO BOX 95000 5975                                                           PHILADELPHIA        PA           19195-5975                             SUPPLIERS OR VENDORS       11/8/2018           $1,070.28
BTI TOOLS TAYLOR BRANDS
LLC                       PO BOX 95000 5975                                                           PHILADELPHIA        PA           19195-5975                             SUPPLIERS OR VENDORS      11/15/2018           $3,748.32
BTI TOOLS TAYLOR BRANDS
LLC                       PO BOX 95000 5975                                                           PHILADELPHIA        PA           19195-5975                             SUPPLIERS OR VENDORS      11/22/2018           $1,684.20
BTI TOOLS TAYLOR BRANDS
LLC                       PO BOX 95000 5975                                                           PHILADELPHIA        PA           19195-5975                             SUPPLIERS OR VENDORS      11/29/2018           $1,029.72
                                                    C/O AMERICAN
                                                    MANAGEMENT GROUP
BTS PROPERTIES LLC AND    TRIP INVESTMENTS LLC      INC              3305C N BALLARD ROAD             APPLETON            WI           54911                                  SUPPLIERS OR VENDORS       11/1/2018         $19,013.27
                                                    C/O AMERICAN
                                                    MANAGEMENT GROUP
BTS PROPERTIES LLC AND    TRIP INVESTMENTS LLC      INC              3305C N BALLARD ROAD             APPLETON            WI           54911                                  SUPPLIERS OR VENDORS       12/3/2018         $19,013.27

BUDACH MOWING SERVICE     MARK BUDACH               307 SOUTH TAYLOR                                  MOUNT AYR           IA           50854                                  SUPPLIERS OR VENDORS       11/1/2018            $107.00

BUDACH MOWING SERVICE     MARK BUDACH               307 SOUTH TAYLOR                                  MOUNT AYR           IA           50854                                  SUPPLIERS OR VENDORS       11/8/2018             $80.25

BUENO OF CALIFORNIA       VICE PRESIDENT OF SALES   13607 OGDEN DRIVE                                 SANTE FE SPRINGS CA              90670-0000                             SUPPLIERS OR VENDORS      10/22/2018         $40,596.00

BUENO OF CALIFORNIA       13607 OGDEN DRIVE                                                           SANTA FE SPRINGS CA              90670                                  SUPPLIERS OR VENDORS      10/23/2018               $1.00

BUENO OF CALIFORNIA       VICE PRESIDENT OF SALES   13607 OGDEN DRIVE                                 SANTE FE SPRINGS CA              90670-0000                             SUPPLIERS OR VENDORS      10/29/2018         $45,936.00

BUENO OF CALIFORNIA       VICE PRESIDENT OF SALES   13607 OGDEN DRIVE                                 SANTE FE SPRINGS CA              90670-0000                             SUPPLIERS OR VENDORS      11/22/2018         $33,046.37

BUENO OF CALIFORNIA       VICE PRESIDENT OF SALES   13607 OGDEN DRIVE                                 SANTE FE SPRINGS CA              90670-0000                             SUPPLIERS OR VENDORS      11/23/2018         $84,306.00

BUENO OF CALIFORNIA       VICE PRESIDENT OF SALES   13607 OGDEN DRIVE                                 SANTE FE SPRINGS    CA           90670-0000                             SUPPLIERS OR VENDORS      11/28/2018         $17,040.00
BUFFALO GAMES LLC         220 JAMES E CASEY DRIVE                                                     BUFFALO             NY           14208                                  SUPPLIERS OR VENDORS      10/19/2018          $8,828.21
BUFFALO GAMES LLC         220 JAMES E CASEY DRIVE                                                     BUFFALO             NY           14208                                  SUPPLIERS OR VENDORS      10/26/2018          $4,567.50
BUFFALO GAMES LLC         220 JAMES E CASEY DRIVE                                                     BUFFALO             NY           14208                                  SUPPLIERS OR VENDORS       11/2/2018         $33,569.88
BUFFALO GAMES LLC         220 JAMES E CASEY DRIVE                                                     BUFFALO             NY           14208                                  SUPPLIERS OR VENDORS      11/30/2018         $17,982.79
BUFFALO JOHNSON COUNTY
TREASURER                 76 NORTH MAIN                                                               BUFFALO             WY           82834                                  SUPPLIERS OR VENDORS       11/6/2018          $8,044.69
BUHLER INCORPORATED       28064 NETWORK PLACE                                                         CHICAGO             IL           60673-1280                             SUPPLIERS OR VENDORS      10/18/2018         $97,525.69
BUHLER INCORPORATED       28064 NETWORK PLACE                                                         CHICAGO             IL           60673-1280                             SUPPLIERS OR VENDORS      10/19/2018            $312.40
BUHLER INCORPORATED       28064 NETWORK PLACE                                                         CHICAGO             IL           60673-1280                             SUPPLIERS OR VENDORS      10/23/2018            $577.71
BUHLER INCORPORATED       28064 NETWORK PLACE                                                         CHICAGO             IL           60673-1280                             SUPPLIERS OR VENDORS      10/25/2018         $20,400.00
BUHLER INCORPORATED       28064 NETWORK PLACE                                                         CHICAGO             IL           60673-1280                             SUPPLIERS OR VENDORS      10/25/2018        $452,271.26
BUHLER INCORPORATED       28064 NETWORK PLACE                                                         CHICAGO             IL           60673-1280                             SUPPLIERS OR VENDORS      10/26/2018          $2,361.60
BUHLER INCORPORATED       28064 NETWORK PLACE                                                         CHICAGO             IL           60673-1280                             SUPPLIERS OR VENDORS      10/30/2018          $8,018.09
BUHLER INCORPORATED       28064 NETWORK PLACE                                                         CHICAGO             IL           60673-1280                             SUPPLIERS OR VENDORS      10/30/2018         $36,396.76
BUHLER INCORPORATED       28064 NETWORK PLACE                                                         CHICAGO             IL           60673-1280                             SUPPLIERS OR VENDORS       11/1/2018         $56,151.49
BUHLER INCORPORATED       28064 NETWORK PLACE                                                         CHICAGO             IL           60673-1280                             SUPPLIERS OR VENDORS       11/2/2018          $8,131.86
BUHLER INCORPORATED       28064 NETWORK PLACE                                                         CHICAGO             IL           60673-1280                             SUPPLIERS OR VENDORS       11/6/2018          $8,441.04
BUHLER INCORPORATED       28064 NETWORK PLACE                                                         CHICAGO             IL           60673-1280                             SUPPLIERS OR VENDORS       11/6/2018        $274,530.67
BUHLER INCORPORATED       28064 NETWORK PLACE                                                         CHICAGO             IL           60673-1280                             SUPPLIERS OR VENDORS       11/8/2018         $26,269.77
BUHLER INCORPORATED       28064 NETWORK PLACE                                                         CHICAGO             IL           60673-1280                             SUPPLIERS OR VENDORS       11/9/2018          $3,372.73
BUHLER INCORPORATED       28064 NETWORK PLACE                                                         CHICAGO             IL           60673-1280                             SUPPLIERS OR VENDORS      11/13/2018          $1,855.66
BUHLER INCORPORATED       28064 NETWORK PLACE                                                         CHICAGO             IL           60673-1280                             SUPPLIERS OR VENDORS      11/13/2018         $17,501.05



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                                                                                                                                                                                Reasons for payment or    Dates of     Total Amount or
      Creditor Name               Address1                Address2                  Address3                City               State       Zip              Country                    transfer          Payments            Value
BUHLER INCORPORATED      28064 NETWORK PLACE                                                          CHICAGO             IL           60673-1280                             SUPPLIERS OR VENDORS        11/15/2018           $14,085.61
BUHLER INCORPORATED      28064 NETWORK PLACE                                                          CHICAGO             IL           60673-1280                             SUPPLIERS OR VENDORS        11/27/2018            $1,779.62
BUHLER INCORPORATED      28064 NETWORK PLACE                                                          CHICAGO             IL           60673-1280                             SUPPLIERS OR VENDORS        11/27/2018           $43,274.86
BUHLER INCORPORATED      28064 NETWORK PLACE                                                          CHICAGO             IL           60673-1280                             SUPPLIERS OR VENDORS        11/30/2018            $2,462.29
BUHLER INCORPORATED      28064 NETWORK PLACE                                                          CHICAGO             IL           60673-1280                             SUPPLIERS OR VENDORS         12/4/2018              $432.99
BULLEN FAMILY                                       1201 E WILMINGTON
ENTERPRISES LLC          0                          AVENUE SUITE 115                                  SALT LAKE CITY      UT           84106                                  SUPPLIERS OR VENDORS        11/1/2018                $1.00
BULLEN FAMILY            1201 E WILMINGTON AVENUE
ENTERPRISES LLC          SUITE 115                                                                    SALT LAKE CITY      UT           84106                                  SUPPLIERS OR VENDORS        11/1/2018           $17,617.21
BULLEN FAMILY            1201 E WILMINGTON AVENUE
ENTERPRISES LLC          SUITE 115                                                                    SALT LAKE CITY      UT           84106                                  SUPPLIERS OR VENDORS        12/1/2018           $17,617.21
BULLFROG ENTERPRISES     1581 S A STREET                                                              SPRINGFIELD         OR           97477                                  SUPPLIERS OR VENDORS       11/27/2018              $123.40
BUMKINS FINER BABY                                  PO BOX 5935 DRAWER
PRODUCTS INC             CRESTMARK FINANCIAL CORP   1021                                              TROY                MI           48007-5935                             SUPPLIERS OR VENDORS       10/25/2018            $1,734.22
BUMKINS FINER BABY                                  PO BOX 5935 DRAWER
PRODUCTS INC             CRESTMARK FINANCIAL CORP   1021                                              TROY                MI           48007-5935                             SUPPLIERS OR VENDORS       11/22/2018            $1,575.74
BUNN O MATIC CORP        ROBIN KALB                 PO BOX 3227                                       SPRINGFIELD         IL           62708                                  SUPPLIERS OR VENDORS       12/19/2018              $134.30
BURLEN CORPORATION DIV
DELTA GALIL USA          LOCK BOX 798133                                                              ST LOUIS            MO           63179-8000                             SUPPLIERS OR VENDORS       10/18/2018           $29,971.65
BURLEN CORPORATION DIV
DELTA GALIL USA          LOCK BOX 798133                                                              ST LOUIS            MO           63179-8000                             SUPPLIERS OR VENDORS       10/25/2018            $9,022.20
BURLEN CORPORATION DIV
DELTA GALIL USA          LOCK BOX 798133                                                              ST LOUIS            MO           63179-8000                             SUPPLIERS OR VENDORS        11/8/2018           $10,384.81
BURLEN CORPORATION DIV
DELTA GALIL USA          LOCK BOX 798133                                                              ST LOUIS            MO           63179-8000                             SUPPLIERS OR VENDORS       11/15/2018           $49,162.49
BURLEN CORPORATION DIV
DELTA GALIL USA          LOCK BOX 798133                                                              ST LOUIS            MO           63179-8000                             SUPPLIERS OR VENDORS       11/22/2018           $95,419.28
BURLEN CORPORATION DIV
DELTA GALIL USA          LOCK BOX 798133                                                              ST LOUIS            MO           63179-8000                             SUPPLIERS OR VENDORS       11/29/2018           $61,064.30
BUXTON COMPANY           WELLS FARGO BANK NA        PO BOX 223636                                     PITTSBURGH          PA           15251-2636                             SUPPLIERS OR VENDORS       10/25/2018               $10.50
BUYSEASONS ENTERPRISES                              5915 S MOORLAND
LLC                      ATTN ACCOUNTS RECEIVABLE   ROAD                                              NEW BERLIN          WI           53151                                  SUPPLIERS OR VENDORS       10/18/2018              $583.32
BUYSEASONS ENTERPRISES                              5915 S MOORLAND
LLC                      ATTN ACCOUNTS RECEIVABLE   ROAD                                              NEW BERLIN          WI           53151                                  SUPPLIERS OR VENDORS       10/25/2018              $839.68
BUYSEASONS ENTERPRISES                              5915 S MOORLAND
LLC                      ATTN ACCOUNTS RECEIVABLE   ROAD                                              NEW BERLIN          WI           53151                                  SUPPLIERS OR VENDORS        11/1/2018            $1,268.84
BUYSEASONS ENTERPRISES                              5915 S MOORLAND
LLC                      ATTN ACCOUNTS RECEIVABLE   ROAD                                              NEW BERLIN          WI           53151                                  SUPPLIERS OR VENDORS        11/8/2018            $3,499.01
BUYSEASONS ENTERPRISES                              5915 S MOORLAND
LLC                      ATTN ACCOUNTS RECEIVABLE   ROAD                                              NEW BERLIN          WI           53151                                  SUPPLIERS OR VENDORS       11/15/2018            $3,783.10
BUYSEASONS ENTERPRISES                              5915 S MOORLAND
LLC                      ATTN ACCOUNTS RECEIVABLE   ROAD                                              NEW BERLIN          WI           53151                                  SUPPLIERS OR VENDORS       11/22/2018            $3,089.89
BUYSEASONS ENTERPRISES                              5915 S MOORLAND
LLC                      ATTN ACCOUNTS RECEIVABLE   ROAD                                              NEW BERLIN          WI           53151                                  SUPPLIERS OR VENDORS       11/29/2018              $886.83
                         62685 COLLECTION CENTER
BYER CALIFORNIA          DRIVE                                                                        CHICAGO             IL           60693-0626                             SUPPLIERS OR VENDORS       10/18/2018           $27,991.57
                         62685 COLLECTION CENTER
BYER CALIFORNIA          DRIVE                                                                        CHICAGO             IL           60693-0626                             SUPPLIERS OR VENDORS       11/15/2018           $48,319.88
                         62685 COLLECTION CENTER
BYER CALIFORNIA          DRIVE                                                                        CHICAGO             IL           60693-0626                             SUPPLIERS OR VENDORS       11/29/2018           $73,592.33
BYRDELLA JENSEN          3326 NORWOOD AVE                                                             SLAYTON             MN           56172                                  SUPPLIERS OR VENDORS       10/24/2018               $28.31
BYRDELLA JENSEN          3326 NORWOOD AVE                                                             SLAYTON             MN           56172                                  SUPPLIERS OR VENDORS       10/31/2018                $7.08
BYRON ANDRES             3317 JOHNSON AVE.                                                            PLOVER              WI           54467                                  SUPPLIERS OR VENDORS       10/24/2018               $16.00
BYRON KOSKI              766 POPLAR                                                                   ISHPEMING           MI           49849                                  SUPPLIERS OR VENDORS       11/26/2018               $23.00



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                                                                                                                                                                                   Reasons for payment or    Dates of     Total Amount or
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C & K SPRINKLERS         CHAD SHEARMIRE               605 ANTELOPE                                       SCOTT CITY          KS           67871                                  SUPPLIERS OR VENDORS        12/17/2018               $60.00
C BLAINE MCVICKER        PO BOX 7152                                                                     PUEBLO WEST         CO           81007                                  SUPPLIERS OR VENDORS        11/15/2018            $3,063.07
C BLAINE MCVICKER        PO BOX 7152                                                                     PUEBLO WEST         CO           81007                                  SUPPLIERS OR VENDORS        12/19/2018            $3,063.07
C FOUR PROPERTY
MAINTENANCE              425 15TH ST                                                                     LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS       10/18/2018              $150.00

C J FUTURES INCORPORATED 109 S 6TH STREET                                                                MISSOURI VALLEY     IA           51555                                  SUPPLIERS OR VENDORS        11/1/2018              $149.80

C J FUTURES INCORPORATED 109 S 6TH STREET                                                                MISSOURI VALLEY     IA           51555                                  SUPPLIERS OR VENDORS       11/15/2018              $187.25
                                                      404 BNA DRIVE
C R GIBSON L L C         VICE PRESIDENT OF SALES      BUILDING 100 6TH FL                                NASHVILLE           TN           37217-0000                             SUPPLIERS OR VENDORS       10/26/2018           $12,363.37
                                                      404 BNA DRIVE
C R GIBSON L L C         VICE PRESIDENT OF SALES      BUILDING 100 6TH FL                                NASHVILLE           TN           37217-0000                             SUPPLIERS OR VENDORS        11/2/2018            $5,420.17
                                                      404 BNA DRIVE
C R GIBSON L L C         VICE PRESIDENT OF SALES      BUILDING 100 6TH FL                                NASHVILLE           TN           37217-0000                             SUPPLIERS OR VENDORS        11/9/2018            $2,394.35
                                                      404 BNA DRIVE
C R GIBSON L L C         VICE PRESIDENT OF SALES      BUILDING 100 6TH FL                                NASHVILLE           TN           37217-0000                             SUPPLIERS OR VENDORS       11/30/2018           $11,776.69
C&C CUSTOM CYCLE         130 EAST LINCOLN                                                                CHARITON            IA           50049                                  SUPPLIERS OR VENDORS       11/16/2018              $481.50
CA DEPT OF REVENUE       450 N. ST                                                                       SACRAMENTO          CA           95814                                  SALES/USE TAX              11/26/2018           $45,817.00
                         STATE BOARD OF
CA DEPT OF REVENUE       EQUALIZATION                 PO BOX 942879                                      SACRAMENTO          CA           94279                                  SALES & USE TAX            12/24/2018           $72,749.00

CACHE COUNTY TREASURER   179 N MAIN STREET ROOM 201                                                      LOGAN               UT           84321                                  SUPPLIERS OR VENDORS       11/26/2018           $92,063.16
CAITLIN GAULKE           613 SOUTH 56TH AVENE         APT. 7                                             WAUSAU              WI           54401                                  SUPPLIERS OR VENDORS        12/3/2018               $14.00
CAITLIN GAULKE           613 S 56TH AVE.              APT. 7                                             WAUSAU              WI           54401                                  SUPPLIERS OR VENDORS       12/13/2018              $125.98
CAITLIN LENZ             2322 CHALET GARDENS RD.      APT 4                                              FITCHBURG           WI           53711                                  SUPPLIERS OR VENDORS       10/25/2018               $16.00
CAITLIN WESTMAN          38459 TAMWORTH AVE                                                              NORTH BRANCH        MN           55056                                  SUPPLIERS OR VENDORS        12/7/2018                $3.00
CAL HARDER               58610-878 ROAD                                                                  PONCA               NE           68770                                  SUPPLIERS OR VENDORS       11/12/2018               $10.40
CALEY PLOSILA            2946 CIMARRON TRAIL          APT 1                                              MADISON             WI           53719                                  SUPPLIERS OR VENDORS       10/29/2018               $15.00

CALIFORNIA DEPARTMENT    STATE BOARD OF
OF REVENUE               EQUALIZATION                 P.O. BOX 942879                                    SACRAMENTO          CA           94279-0001                             SALES & USE TAX             11/1/2018                $6.00

CALIFORNIA DEPARTMENT    STATE BOARD OF
OF REVENUE               EQUALIZATION                 P.O. BOX 942879                                    SACRAMENTO          CA           94279-0001                             SALES & USE TAX             11/1/2018              $547.00

CALIFORNIA DEPARTMENT    STATE BOARD OF
OF REVENUE               EQUALIZATION                 P.O. BOX 942879                                    SACRAMENTO          CA           94279-0001                             SALES & USE TAX             11/1/2018           $60,064.00

CALIFORNIA INNOVATIONS
INCORPORATED             VICE PRESIDENT OF SALES      36 DUFFLAW ROAD                                    TORONTO             ON           M6A 2W1      CANADA                    SUPPLIERS OR VENDORS       10/18/2018            $2,149.25

CALIFORNIA INNOVATIONS
INCORPORATED             VICE PRESIDENT OF SALES      36 DUFFLAW ROAD                                    TORONTO             ON           M6A 2W1      CANADA                    SUPPLIERS OR VENDORS       10/25/2018            $4,812.69

CALIFORNIA INNOVATIONS
INCORPORATED             VICE PRESIDENT OF SALES      36 DUFFLAW ROAD                                    TORONTO             ON           M6A 2W1      CANADA                    SUPPLIERS OR VENDORS        11/1/2018            $5,041.77

CALIFORNIA INNOVATIONS
INCORPORATED             VICE PRESIDENT OF SALES      36 DUFFLAW ROAD                                    TORONTO             ON           M6A 2W1      CANADA                    SUPPLIERS OR VENDORS        11/8/2018              $376.46

CALIFORNIA INNOVATIONS
INCORPORATED             VICE PRESIDENT OF SALES      36 DUFFLAW ROAD                                    TORONTO             ON           M6A 2W1      CANADA                    SUPPLIERS OR VENDORS       11/15/2018            $3,606.86




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                                                                                                                                                                                Reasons for payment or    Dates of    Total Amount or
      Creditor Name                 Address1               Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value

CALIFORNIA INNOVATIONS
INCORPORATED              VICE PRESIDENT OF SALES   36 DUFFLAW ROAD                                    TORONTO             ON           M6A 2W1      CANADA                    SUPPLIERS OR VENDORS      11/22/2018           $4,050.19

CALIFORNIA INNOVATIONS
INCORPORATED              VICE PRESIDENT OF SALES   36 DUFFLAW ROAD                                    TORONTO             ON           M6A 2W1      CANADA                    SUPPLIERS OR VENDORS      11/29/2018           $2,372.85
CALIXTO MARES             1211 S. 9TH STREET                                                           WATERTOWN           WI           53094                                  SUPPLIERS OR VENDORS      10/25/2018              $23.00
CALLI LINDSAY             2115 9TH ST                                                                  MONROE              WI           53566                                  SUPPLIERS OR VENDORS       11/2/2018               $7.28
CALS ICE                  NEW                       RR 2 BOX 99             PAM TO ORACLE              MAYVILLE            ND           58257                                  SUPPLIERS OR VENDORS      10/18/2018             $112.00
CALS ICE                  NEW                       RR 2 BOX 99             PAM TO ORACLE              MAYVILLE            ND           58257                                  SUPPLIERS OR VENDORS      11/15/2018             $237.00
CALUMET FLORAL & GIFTS
INC                       221 FIFTH STREET          PAM TO ORACLE                                      CALUMET             MI           49913                                  SUPPLIERS OR VENDORS       11/1/2018             $63.30
                                                                            145 BROADWAY AVENUE
CALVIN ERICKSON           STORE 2-561               SHOPKO EMPLOYEE         N                   COKATO                     MN           55321                                  SUPPLIERS OR VENDORS      11/22/2018            $137.34
                                                                            145 BROADWAY AVENUE
CALVIN ERICKSON           STORE 2-561               SHOPKO EMPLOYEE         N                   COKATO                     MN           55321                                  SUPPLIERS OR VENDORS      12/13/2018            $104.86
CAMBRIDGE SILVERSMITHS
LIMITED                   PO BOX 828668                                                                PHILADELPHIA        PA           19182-8668                             SUPPLIERS OR VENDORS      10/18/2018           $1,231.25
CAMBRIDGE SILVERSMITHS
LIMITED                   PO BOX 828668                                                                PHILADELPHIA        PA           19182-8668                             SUPPLIERS OR VENDORS      10/18/2018         $10,635.23
CAMBRIDGE SILVERSMITHS
LIMITED                   PO BOX 828668                                                                PHILADELPHIA        PA           19182-8668                             SUPPLIERS OR VENDORS      10/25/2018           $1,769.00
CAMBRIDGE SILVERSMITHS
LIMITED                   PO BOX 828668                                                                PHILADELPHIA        PA           19182-8668                             SUPPLIERS OR VENDORS      10/25/2018         $54,212.84
CAMBRIDGE SILVERSMITHS
LIMITED                   PO BOX 828668                                                                PHILADELPHIA        PA           19182-8668                             SUPPLIERS OR VENDORS       11/1/2018           $2,639.10
CAMBRIDGE SILVERSMITHS
LIMITED                   PO BOX 828668                                                                PHILADELPHIA        PA           19182-8668                             SUPPLIERS OR VENDORS       11/1/2018         $68,551.50
CAMBRIDGE SILVERSMITHS
LIMITED                   PO BOX 828668                                                                PHILADELPHIA        PA           19182-8668                             SUPPLIERS OR VENDORS       11/8/2018            $148.90
CAMBRIDGE SILVERSMITHS
LIMITED                   PO BOX 828668                                                                PHILADELPHIA        PA           19182-8668                             SUPPLIERS OR VENDORS       11/8/2018         $52,149.89
CAMBRIDGE SILVERSMITHS
LIMITED                   PO BOX 828668                                                                PHILADELPHIA        PA           19182-8668                             SUPPLIERS OR VENDORS      11/15/2018         $21,294.70
CAMBRIDGE SILVERSMITHS
LIMITED                   PO BOX 828668                                                                PHILADELPHIA        PA           19182-8668                             SUPPLIERS OR VENDORS      11/22/2018           $2,678.40
CAMBRIDGE SILVERSMITHS
LIMITED                   PO BOX 828668                                                                PHILADELPHIA        PA           19182-8668                             SUPPLIERS OR VENDORS      11/22/2018         $11,552.20
CAMBRIDGE SILVERSMITHS
LIMITED                   PO BOX 828668                                                                PHILADELPHIA        PA           19182-8668                             SUPPLIERS OR VENDORS      11/29/2018          $2,462.20
CAMELBAK PRODUCTS         PO BOX 860485                                                                MINNEAPOLIS         MN           55486-0485                             SUPPLIERS OR VENDORS      10/18/2018          $7,668.00
CAMELBAK PRODUCTS         PO BOX 860485                                                                MINNEAPOLIS         MN           55486-0485                             SUPPLIERS OR VENDORS       11/8/2018         $21,314.70
CAMELBAK PRODUCTS         PO BOX 860485                                                                MINNEAPOLIS         MN           55486-0485                             SUPPLIERS OR VENDORS      11/22/2018          $6,142.56
CAMELBAK PRODUCTS         PO BOX 860485                                                                MINNEAPOLIS         MN           55486-0485                             SUPPLIERS OR VENDORS      11/29/2018          $4,554.00
CAMEO CURTAINS DIVISION   NOW PAID TO CHF IND
OF CHF IND                #9203210-014                                                                 ATLANTA             GA           30384-7336                             SUPPLIERS OR VENDORS      10/19/2018           $7,793.71
CAMEO CURTAINS DIVISION   NOW PAID TO CHF IND
OF CHF IND                #9203210-014                                                                 ATLANTA             GA           30384-7336                             SUPPLIERS OR VENDORS      10/29/2018           $1,270.00
CAMEO CURTAINS DIVISION   NOW PAID TO CHF IND
OF CHF IND                #9203210-014                                                                 ATLANTA             GA           30384-7336                             SUPPLIERS OR VENDORS       11/8/2018           $6,589.27
CAMEO CURTAINS DIVISION   NOW PAID TO CHF IND
OF CHF IND                #9203210-014                                                                 ATLANTA             GA           30384-7336                             SUPPLIERS OR VENDORS      11/30/2018           $1,362.38
CAMEO CURTAINS DIVISION   NOW PAID TO CHF IND
OF CHF IND                #9203210-014                                                                 ATLANTA             GA           30384-7336                             SUPPLIERS OR VENDORS       12/5/2018           $1,055.60



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                                                                                                                                                                        Reasons for payment or    Dates of     Total Amount or
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CAMERA CORNER          529 N Monroe Ave                                                       Green Bay           WI           54301                                  SUPPLIERS OR VENDORS        10/22/2018              $265.00
CAMERA CORNER          529 N Monroe Ave                                                       Green Bay           WI           54301                                  SUPPLIERS OR VENDORS        11/16/2018              $265.00
CAMERA CORNER          529 N Monroe Ave                                                       Green Bay           WI           54301                                  SUPPLIERS OR VENDORS        11/29/2018            $1,266.00
CAMERON JACKSON        1885 APPLE AVE                                                         KLEMME              IA           50449                                  SUPPLIERS OR VENDORS        10/22/2018               $25.00
CAMERON KAHN           N3685 CUSHMAN ROAD                                                     JEFFERSON           WI           53549                                  SUPPLIERS OR VENDORS         11/5/2018               $63.00
CAMERONS COFFEE        5700 12TH AVENUE EAST                                                  SHAKOPEE            MN           55379                                  SUPPLIERS OR VENDORS        10/18/2018            $3,989.50
CAMERONS COFFEE        5700 12TH AVENUE EAST                                                  SHAKOPEE            MN           55379                                  SUPPLIERS OR VENDORS         11/1/2018              $742.88
CAMERONS COFFEE        5700 12TH AVENUE EAST                                                  SHAKOPEE            MN           55379                                  SUPPLIERS OR VENDORS         11/8/2018            $6,769.38
CAMERONS COFFEE        5700 12TH AVENUE EAST                                                  SHAKOPEE            MN           55379                                  SUPPLIERS OR VENDORS        11/15/2018              $500.46
CAMERONS COFFEE        5700 12TH AVENUE EAST                                                  SHAKOPEE            MN           55379                                  SUPPLIERS OR VENDORS        11/22/2018            $1,685.76
CAMERONS COFFEE        5700 12TH AVENUE EAST                                                  SHAKOPEE            MN           55379                                  SUPPLIERS OR VENDORS        11/29/2018            $2,423.28
CAMILLA STANGE         2691 HAZELWOOD LN                                                      GREEN BAY           WI           54304                                  SUPPLIERS OR VENDORS        10/31/2018               $30.00

CAMPBELL SALES COMPANY PO BOX 641505                                                          PITTSBURGH          PA           15264-1505                             SUPPLIERS OR VENDORS       10/18/2018            $3,419.22

CAMPBELL SALES COMPANY PO BOX 641505                                                          PITTSBURGH          PA           15264-1505                             SUPPLIERS OR VENDORS       10/23/2018            $1,557.07

CAMPBELL SALES COMPANY PO BOX 641505                                                          PITTSBURGH          PA           15264-1505                             SUPPLIERS OR VENDORS       10/24/2018           $38,316.31

CAMPBELL SALES COMPANY PO BOX 641505                                                          PITTSBURGH          PA           15264-1505                             SUPPLIERS OR VENDORS       10/27/2018           $18,774.27

CAMPBELL SALES COMPANY PO BOX 641505                                                          PITTSBURGH          PA           15264-1505                             SUPPLIERS OR VENDORS        11/1/2018            $6,104.46

CAMPBELL SALES COMPANY PO BOX 641505                                                          PITTSBURGH          PA           15264-1505                             SUPPLIERS OR VENDORS        11/6/2018            $3,852.79

CAMPBELL SALES COMPANY PO BOX 641505                                                          PITTSBURGH          PA           15264-1505                             SUPPLIERS OR VENDORS        11/6/2018           $19,092.50

CAMPBELL SALES COMPANY PO BOX 641505                                                          PITTSBURGH          PA           15264-1505                             SUPPLIERS OR VENDORS        11/8/2018            $4,064.98

CAMPBELL SALES COMPANY PO BOX 641505                                                          PITTSBURGH          PA           15264-1505                             SUPPLIERS OR VENDORS       11/14/2018           $26,391.23

CAMPBELL SALES COMPANY PO BOX 641505                                                          PITTSBURGH          PA           15264-1505                             SUPPLIERS OR VENDORS       11/15/2018            $4,066.02

CAMPBELL SALES COMPANY PO BOX 641505                                                          PITTSBURGH          PA           15264-1505                             SUPPLIERS OR VENDORS       11/24/2018           $48,519.08

CAMPBELL SALES COMPANY PO BOX 641505                                                          PITTSBURGH          PA           15264-1505                             SUPPLIERS OR VENDORS       11/27/2018            $1,325.81

CAMPBELL SALES COMPANY PO BOX 641505                                                          PITTSBURGH          PA           15264-1505                             SUPPLIERS OR VENDORS       11/27/2018            $3,637.25

CAMPBELL SALES COMPANY PO BOX 641505                                                          PITTSBURGH          PA           15264-1505                             SUPPLIERS OR VENDORS       11/28/2018           $28,153.90

CAMPBELL SALES COMPANY PO BOX 641505                                                          PITTSBURGH          PA           15264-1505                             SUPPLIERS OR VENDORS       11/29/2018            $3,042.42

CAMPBELL SALES COMPANY PO BOX 641505                                                          PITTSBURGH          PA           15264-1505                             SUPPLIERS OR VENDORS        12/5/2018           $30,838.69

CAMPBELL SALES COMPANY PO BOX 641505                                                          PITTSBURGH          PA           15264-1505                             SUPPLIERS OR VENDORS        12/6/2018            $3,348.51

CAMPBELL SALES COMPANY PO BOX 641505                                                          PITTSBURGH          PA           15264-1505                             SUPPLIERS OR VENDORS       12/19/2018           $31,720.30

CAMPBELL SALES COMPANY PO BOX 641505                                                          PITTSBURGH          PA           15264-1505                             SUPPLIERS OR VENDORS       12/22/2018            $1,010.72

CAMPBELL SALES COMPANY PO BOX 641505                                                          PITTSBURGH          PA           15264-1505                             SUPPLIERS OR VENDORS       12/28/2018              $218.62

CAMPBELL SALES COMPANY PO BOX 641505                                                          PITTSBURGH          PA           15264-1505                             SUPPLIERS OR VENDORS       12/28/2018           $29,278.81



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                                                                                                                                                                                 Reasons for payment or    Dates of     Total Amount or
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CAMPBELLS PLUMBING &
MECHANICAL                 7894 66TH AVENUE                                                             PENTWATER           MI           49449                                  SUPPLIERS OR VENDORS      10/18/2018              $75.00

CAMS LAWN & LANDSCAPE      CAMERON KENAGY             18911 HWY 63                                      BLOOMFIELD          IA           52537                                  SUPPLIERS OR VENDORS      11/30/2018             $144.45

CAMS LAWN & LANDSCAPE      CAMERON KENAGY             18911 HWY 63                                      BLOOMFIELD          IA           52537                                  SUPPLIERS OR VENDORS         1/5/2019            $160.50
CANADIAN ISD TAX
ASSESSOR                   800 HILLSIDE                                                                 CANADIAN            TX           79014                                  SUPPLIERS OR VENDORS      10/24/2018            $7,905.04
CANDACE QUAITES            3009 NORTH 76TH STREET                                                       OMAHA               NE           68134                                  SUPPLIERS OR VENDORS       12/3/2018               $43.00
CANDACE RABAS              172 SHELLEY LN                                                               DE PERE             WI           54115                                  SUPPLIERS OR VENDORS       11/9/2018               $25.00
CANDACE VIEGUT             W3939 PIONEER DR                                                             EDGAR               WI           54426                                  SUPPLIERS OR VENDORS      12/17/2018               $25.00
CANDICE LAWSON             404 TROENDLE ST. SW                                                          MAPLETON            MN           56065                                  SUPPLIERS OR VENDORS      11/13/2018               $20.40
CANDICE MITTENZWEI         240 PARK LANE #D                                                             LOMIRA              WI           53048                                  SUPPLIERS OR VENDORS       12/3/2018                $7.14
CANDICE NOWITZKE           423 EAST FRANKLIN STREET                                                     MARSHFIELD          WI           54449                                  SUPPLIERS OR VENDORS       12/7/2018               $23.00
CANDICE ROTH               STORE 672                  SHOPKO EMPLOYEE        404 E HIGHWAY 20           ONEILL              NE           68763                                  SUPPLIERS OR VENDORS       11/2/2018               $38.15
CANDIS PETERSON            STORE 2-762                SHOPKO EMPLOYEE        PO BOX 1352                THERMOPOLIS         WY           82443                                  SUPPLIERS OR VENDORS      10/25/2018              $174.40

CANDLE WARMERS ETC INC     B & B ACQUISITION INC      PO BOX 1024                                       LAYTON              UT           84041                                  SUPPLIERS OR VENDORS      10/18/2018          $49,173.90

CANDLE WARMERS ETC INC     B & B ACQUISITION INC      PO BOX 1024                                       LAYTON              UT           84041                                  SUPPLIERS OR VENDORS      10/25/2018             $230.40

CANDLE WARMERS ETC INC     B & B ACQUISITION INC      PO BOX 1024                                       LAYTON              UT           84041                                  SUPPLIERS OR VENDORS       11/1/2018             $665.70

CANDLE WARMERS ETC INC     B & B ACQUISITION INC      PO BOX 1024                                       LAYTON              UT           84041                                  SUPPLIERS OR VENDORS       11/8/2018             $780.90

CANDLE WARMERS ETC INC     B & B ACQUISITION INC      PO BOX 1024                                       LAYTON              UT           84041                                  SUPPLIERS OR VENDORS      11/15/2018             $683.40

CANDLE WARMERS ETC INC     B & B ACQUISITION INC      PO BOX 1024                                       LAYTON              UT           84041                                  SUPPLIERS OR VENDORS      11/22/2018             $942.00

CANDLE WARMERS ETC INC     B & B ACQUISITION INC      PO BOX 1024                                       LAYTON              UT           84041                                  SUPPLIERS OR VENDORS      11/29/2018             $931.80
                                                      1842 S RHODE ISLAND
CANNON OPTOMETRY PC        BEN CANNON                 COURT                                             MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS      10/19/2018            $9,071.58
                                                      1842 S RHODE ISLAND
CANNON OPTOMETRY PC        BEN CANNON                 COURT                                             MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS       11/2/2018            $7,869.64
                                                      1842 S RHODE ISLAND
CANNON OPTOMETRY PC        BEN CANNON                 COURT                                             MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS      11/16/2018            $8,567.55
                                                      1842 S RHODE ISLAND
CANNON OPTOMETRY PC        BEN CANNON                 COURT                                             MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS      11/30/2018            $8,277.94
                                                      1842 S RHODE ISLAND
CANNON OPTOMETRY PC        BEN CANNON                 COURT                                             MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS      12/14/2018            $8,333.98
                                                      1842 S RHODE ISLAND
CANNON OPTOMETRY PC        BEN CANNON                 COURT                                             MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS      12/29/2018            $6,717.82
                                                      1842 S RHODE ISLAND
CANNON OPTOMETRY PC        BEN CANNON                 COURT                                             MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS       1/11/2019            $5,782.08

CANTERBURY POTTERIES LTD   SKY BUSINESS CREDIT        DEPARTMENT 4996                                   CAROL STREAM        IL           60122-4996                             SUPPLIERS OR VENDORS      10/30/2018          $45,000.00
CANYON COUNTY TAX
COLLECTOR                  PO BOX 730                                                                   CALDWELL            ID           83606                                  SUPPLIERS OR VENDORS      12/13/2018          $51,846.82
CAPELLI OF NEW YORK
INCORPORATED               1 EAST 33RD ST                                                               NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS      10/23/2018            $4,765.14
CAPELLI OF NEW YORK
INCORPORATED               1 EAST 33RD ST                                                               NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS      10/31/2018         $184,752.00
CAPELLI OF NEW YORK
INCORPORATED               1 EAST 33RD ST                                                               NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS       11/5/2018          $24,975.70



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                                                                                                                                                                                Reasons for payment or    Dates of    Total Amount or
      Creditor Name                Address1                Address2                  Address3                   City            State       Zip              Country                   transfer          Payments           Value
CAPITAL EQUIPMENT &
SUPPLY CLARE             302 NORTH MCEWAN                                                              CLARE               MI           48617                                  SUPPLIERS OR VENDORS      12/17/2018            $144.20
                                                     ACCT
CAPITAL ONE COMMERCIAL MENARDS                       6004300780058449       PO BOX 5219                CAROL STREAM        IL           60197-5219                             SUPPLIERS OR VENDORS       11/2/2018             $35.26
                                                     ACCT
CAPITAL ONE COMMERCIAL   MENARDS                     6004300780058449       PO BOX 5219                CAROL STREAM        IL           60197-5219                             SUPPLIERS OR VENDORS      12/14/2018             $37.06
CAPRI OPTICS
INCORPORATED             1421 38TH STREET                                                              BROOKLYN            NY           11218                                  SUPPLIERS OR VENDORS      10/25/2018             $11.50
CAPRI OPTICS
INCORPORATED             1421 38TH STREET                                                              BROOKLYN            NY           11218                                  SUPPLIERS OR VENDORS      12/13/2018             $11.50
CAPRI OPTICS
INCORPORATED             1421 38TH STREET                                                              BROOKLYN            NY           11218                                  SUPPLIERS OR VENDORS      12/27/2018             $42.25
CAPSA SOLUTIONS LLC      4253 NE 189th Avenue                                                          Portland            OR           97230                                  SUPPLIERS OR VENDORS      10/18/2018            $287.14
CAPSA SOLUTIONS LLC      4253 NE 189th Avenue                                                          Portland            OR           97230                                  SUPPLIERS OR VENDORS      11/15/2018            $121.22
CAPVIEW INCOME & VALUE   5910 N CENTRAL EXPRESSWAY
FUND IV LP               SUITE 1625                                                                    DALLAS              TX           75206                                  SUPPLIERS OR VENDORS       11/1/2018        $159,689.00
CAPVIEW INCOME & VALUE   5910 N CENTRAL EXPRESSWAY
FUND IV LP               SUITE 1625                                                                    DALLAS              TX           75206                                  SUPPLIERS OR VENDORS       12/1/2018         $16,889.93
CAPVIEW INCOME & VALUE   5910 N CENTRAL EXPRESSWAY
FUND IV LP               SUITE 1625                                                                    DALLAS              TX           75206                                  SUPPLIERS OR VENDORS       12/4/2018        $142,799.07
CARALEE KRINKE-SAUER     STORE 2-788                 SHOPKO EMPLOYEE        200 COMMERCE DRIVE         COLUMBUS            WI           53925                                  SUPPLIERS OR VENDORS      11/22/2018            $225.63
CARALEE KRINKE-SAUER     STORE 2-788                 SHOPKO EMPLOYEE        200 COMMERCE DRIVE         COLUMBUS            WI           53925                                  SUPPLIERS OR VENDORS      12/20/2018            $145.52
CARBON COUNTY
TREASURER                PO BOX 7                                                                      RAWLINS             WY           82301                                  SUPPLIERS OR VENDORS       11/6/2018            $211.48
CARDINAL INDUSTRIES      BOX 392677                                                                    PITTSBURGH          PA           15251-9677                             SUPPLIERS OR VENDORS      10/23/2018          $3,857.64
CARDINAL INDUSTRIES      BOX 392677                                                                    PITTSBURGH          PA           15251-9677                             SUPPLIERS OR VENDORS      10/25/2018         $17,260.01
CARDINAL INDUSTRIES      BOX 392677                                                                    PITTSBURGH          PA           15251-9677                             SUPPLIERS OR VENDORS      10/29/2018         $10,732.39
CARDINAL INDUSTRIES      BOX 392677                                                                    PITTSBURGH          PA           15251-9677                             SUPPLIERS OR VENDORS       11/8/2018            $668.08
CARDINAL INDUSTRIES      BOX 392677                                                                    PITTSBURGH          PA           15251-9677                             SUPPLIERS OR VENDORS      11/12/2018          $2,204.00
CARDINAL INDUSTRIES      BOX 392677                                                                    PITTSBURGH          PA           15251-9677                             SUPPLIERS OR VENDORS      11/28/2018            $589.98
CARDINAL INDUSTRIES      BOX 392677                                                                    PITTSBURGH          PA           15251-9677                             SUPPLIERS OR VENDORS      11/29/2018          $4,300.03
CARDINAL INDUSTRIES      BOX 392677                                                                    PITTSBURGH          PA           15251-9677                             SUPPLIERS OR VENDORS      11/30/2018          $4,238.24
CARDINAL INDUSTRIES      BOX 392677                                                                    PITTSBURGH          PA           15251-9677                             SUPPLIERS OR VENDORS      12/18/2018         $16,746.05
CARDINAL INDUSTRIES      BOX 392677                                                                    PITTSBURGH          PA           15251-9677                             SUPPLIERS OR VENDORS      12/27/2018         $10,085.34

CAREWORKS CONSULTANTS
INCORPORATED          PO BOX 8101                                                                      DUBLIN              OH           43016                                  SUPPLIERS OR VENDORS      10/19/2018             $800.00
CARGILL SALT          PO BOX 843973                                                                    DALLAS              TX           75284-3973                             SUPPLIERS OR VENDORS      10/23/2018           $7,687.64
CARGILL SALT          PO BOX 843973                                                                    DALLAS              TX           75284-3973                             SUPPLIERS OR VENDORS      11/23/2018           $3,843.82

CARI STROMER DUPLICATE   54445 PONTIAC RD                                                              HANCOCK             MI           49930                                  SUPPLIERS OR VENDORS      10/26/2018             $63.00
CARISSA BLUM             801 W. 2ND AVE.                                                               BRODHEAD            WI           53520                                  SUPPLIERS OR VENDORS      12/21/2018             $30.00

CARL BUDDIG & COMPANY    PO BOX 72238                PAM TO ORACLE                                     CHICAGO             IL           60678-2238                             SUPPLIERS OR VENDORS      10/18/2018         $22,603.19
CARL FRANZ               490 BISCHOFF STREET                                                           FOND DU LAC         WI           54935                                  SUPPLIERS OR VENDORS      11/28/2018             $25.00
CARL GROTH               530 LAUREL DR                                                                 THIENSVILLE         WI           53092                                  SUPPLIERS OR VENDORS       11/7/2018            $142.71
CARL HAAS                516 PENNSYLVANIA AVE.                                                         ONTONAGON           MI           49953                                  SUPPLIERS OR VENDORS      10/29/2018             $38.40
CARL KING                114 SOUTH THOMPSON AVE                                                        RUSHMORE            MN           56168                                  SUPPLIERS OR VENDORS      10/24/2018            $122.84
CARL KRAMER              8340 SANDLEWOOD DR                                                            LINCOLN             NE           68510                                  SUPPLIERS OR VENDORS      10/29/2018             $60.85
CARL LARSCHEID           2047 ZEISE AVE                                                                GREEN BAY           WI           54302                                  SUPPLIERS OR VENDORS      10/24/2018             $30.00
CARL LOOP                3503 CANYON CREEK RD                                                          OROFINO             ID           83544                                  SUPPLIERS OR VENDORS      12/17/2018             $24.91

CARL NORDQUIST           1995 GREAT BEN BOULEVARD                                                      WINDOM              MN           56101                                  SUPPLIERS OR VENDORS      11/29/2018             $28.31




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                                                                                                                                                                             Reasons for payment or    Dates of     Total Amount or
      Creditor Name              Address1               Address2                  Address3                 City              State       Zip              Country                   transfer          Payments            Value
CARL ZEISS MEDITEC
INCORPORATED            PO BOX 100372                                                               PASADENA            CA           91189-0372                             SUPPLIERS OR VENDORS      10/31/2018          $31,551.45
CARL ZEISS MEDITEC
INCORPORATED            PO BOX 100372                                                               PASADENA            CA           91189-0372                             SUPPLIERS OR VENDORS      11/27/2018          $10,497.25
                        12123 SCRIPPS SUMMIT DRIVE                                                                                                                          PURCHASE OF
CARL ZEISS VISION INC   400                                                                         SAN DIEGO           CA           92131                                  MERCHANDISE                  1/9/2019        $236,452.62
                        12122 SCRIPPS SUMMIT DRIVE                                                                                                                          PURCHASE OF
CARL ZEISS VISION INC   400                                                                         SAN DIEGO           CA           92131                                  MERCHANDISE                1/10/2019          $38,055.88
                        12121 SCRIPPS SUMMIT DRIVE                                                                                                                          PURCHASE OF
CARL ZEISS VISION INC   400                                                                         SAN DIEGO           CA           92131                                  MERCHANDISE                1/15/2019         $147,925.00
CARL ZEISS VISION
INCORPORATED            PO BOX 848719                                                               LOS ANGELES         CA           90084-8719                             SUPPLIERS OR VENDORS      10/18/2018             $888.14
CARL ZEISS VISION
INCORPORATED            PO BOX 848719                                                               LOS ANGELES         CA           90084-8719                             SUPPLIERS OR VENDORS      10/19/2018            $6,164.53
CARL ZEISS VISION
INCORPORATED            PO BOX 848719                                                               LOS ANGELES         CA           90084-8719                             SUPPLIERS OR VENDORS      10/19/2018          $11,677.85
CARL ZEISS VISION
INCORPORATED            PO BOX 848719                                                               LOS ANGELES         CA           90084-8719                             SUPPLIERS OR VENDORS      10/22/2018          $21,479.48
CARL ZEISS VISION
INCORPORATED            PO BOX 848719                                                               LOS ANGELES         CA           90084-8719                             SUPPLIERS OR VENDORS      10/22/2018          $23,324.11
CARL ZEISS VISION
INCORPORATED            PO BOX 848719                                                               LOS ANGELES         CA           90084-8719                             SUPPLIERS OR VENDORS      10/24/2018            $8,352.34
CARL ZEISS VISION
INCORPORATED            PO BOX 848719                                                               LOS ANGELES         CA           90084-8719                             SUPPLIERS OR VENDORS      10/25/2018         $118,802.17
CARL ZEISS VISION
INCORPORATED            PO BOX 848719                                                               LOS ANGELES         CA           90084-8719                             SUPPLIERS OR VENDORS      10/26/2018            $8,684.96
CARL ZEISS VISION
INCORPORATED            PO BOX 848719                                                               LOS ANGELES         CA           90084-8719                             SUPPLIERS OR VENDORS      10/29/2018          $19,616.13
CARL ZEISS VISION
INCORPORATED            PO BOX 848719                                                               LOS ANGELES         CA           90084-8719                             SUPPLIERS OR VENDORS      10/30/2018          $30,544.08
CARL ZEISS VISION
INCORPORATED            PO BOX 848719                                                               LOS ANGELES         CA           90084-8719                             SUPPLIERS OR VENDORS      10/30/2018         $211,223.36
CARL ZEISS VISION
INCORPORATED            PO BOX 848719                                                               LOS ANGELES         CA           90084-8719                             SUPPLIERS OR VENDORS      10/31/2018             $957.78
CARL ZEISS VISION
INCORPORATED            PO BOX 848719                                                               LOS ANGELES         CA           90084-8719                             SUPPLIERS OR VENDORS       11/7/2018         $160,379.48
CARL ZEISS VISION
INCORPORATED            PO BOX 848719                                                               LOS ANGELES         CA           90084-8719                             SUPPLIERS OR VENDORS      11/14/2018         $112,578.89
CARL ZEISS VISION
INCORPORATED            PO BOX 848719                                                               LOS ANGELES         CA           90084-8719                             SUPPLIERS OR VENDORS      11/15/2018          $16,148.50
CARL ZEISS VISION
INCORPORATED            PO BOX 848719                                                               LOS ANGELES         CA           90084-8719                             SUPPLIERS OR VENDORS      11/26/2018          $16,479.60
CARL ZEISS VISION
INCORPORATED            PO BOX 848719                                                               LOS ANGELES         CA           90084-8719                             SUPPLIERS OR VENDORS      11/28/2018             $306.00
CARL ZEISS VISION
INCORPORATED            PO BOX 848719                                                               LOS ANGELES         CA           90084-8719                             SUPPLIERS OR VENDORS      11/30/2018          $39,793.11
CARL ZEISS VISION
INCORPORATED            PO BOX 848719                                                               LOS ANGELES         CA           90084-8719                             SUPPLIERS OR VENDORS      11/30/2018         $356,387.73
CARL ZEISS VISION
INCORPORATED            PO BOX 848719                                                               LOS ANGELES         CA           90084-8719                             SUPPLIERS OR VENDORS      12/12/2018         $151,661.05
CARL ZEISS VISION
INCORPORATED            PO BOX 848719                                                               LOS ANGELES         CA           90084-8719                             SUPPLIERS OR VENDORS      12/21/2018            $6,164.53
CARL ZEISS VISION
INCORPORATED            PO BOX 848719                                                               LOS ANGELES         CA           90084-8719                             SUPPLIERS OR VENDORS         1/4/2019        $161,552.53



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CARL ZEISS VISION
INCORPORATED             PO BOX 848719                                                                  LOS ANGELES         CA           90084-8719                             SUPPLIERS OR VENDORS         1/4/2019        $251,970.70
CARL ZEISS VISION
INCORPORATED             28684 NETWORK PLACE         0                                                  CHICAGO             IL           60673-1286                             SUPPLIERS OR VENDORS        1/9/2019               $1.00
CARLA BIERNE             301 N. 2ND ST.                                                                 ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS      11/28/2018              $45.00
CARLA FOUST              2888 CLAIRVILLE ROAD                                                           OSHKOSH             WI           54904                                  SUPPLIERS OR VENDORS      10/29/2018              $25.00
CARLA FREEMAN            425 E MCMILLAN                                                                 NEWBERRY            MI           49868                                  SUPPLIERS OR VENDORS      10/25/2018              $42.00
CARLA GREEN              659 ALAMO DR                                                                   FREEPORT            IL           61032                                  SUPPLIERS OR VENDORS      12/13/2018              $50.00
CARLA HUNTER             735 IRVINE ST                                                                  CHIPPEWA FALLS      WI           54729                                  SUPPLIERS OR VENDORS      11/16/2018              $42.24

CARLA ONKEN              STORE 682                   SHOPKO EMPLOYEE         2099 CHATBURN AVENUE HARLAN                    IA           51537                                  SUPPLIERS OR VENDORS      10/19/2018              $83.17
CARLA PHILLIPS           3638 S HIGHWAY 125                                                       WALLA WALLA               WA           99362                                  SUPPLIERS OR VENDORS       12/7/2018              $54.40
CARLA SWANSON            205 MC KINLEY ST                                                         NIAGARA                   WI           54151                                  SUPPLIERS OR VENDORS      11/26/2018              $62.46
CARLENE KUHN             1025 E SUNRISE                                                           NEW HAMPTON               IA           50659                                  SUPPLIERS OR VENDORS      11/12/2018              $81.52
CARLENE SHIER            316 BALLARD ST                                                           DE PERE                   WI           54115                                  SUPPLIERS OR VENDORS      11/16/2018              $20.00
CARLOS MENDOZA           70 PRAIRY ROAD APART. 102                                                FOND DU LAC               WI           54935                                  SUPPLIERS OR VENDORS      10/31/2018              $10.00
CARLOS MENDOZA           70 PRAIRY ROAD APART. 102                                                FOND DU LAC               WI           54935                                  SUPPLIERS OR VENDORS      10/31/2018              $16.00
CARLSON STORAGE          C CARLSON COMPANIES         912 1ST STREET N                             HUMBOLDT                  IA           50548                                  SUPPLIERS OR VENDORS       11/6/2018             $278.22
CARLSON STORAGE          C CARLSON COMPANIES         912 1ST STREET N                             HUMBOLDT                  IA           50548                                  SUPPLIERS OR VENDORS      12/10/2018             $250.00
CARLSON STORE FIXTURES   STEIN INDUSTRIES
COMPANY                  INCORPORATED                NW 7334                 PO BOX 1450                MINNEAPOLIS         MN           55485-7334                             SUPPLIERS OR VENDORS      10/23/2018         $108,830.89
CARLSON STORE FIXTURES   STEIN INDUSTRIES
COMPANY                  INCORPORATED                NW 7334                 PO BOX 1450                MINNEAPOLIS         MN           55485-7334                             SUPPLIERS OR VENDORS      10/30/2018            $7,692.68
CARLTON ANDREWS          3390 BRIDGE RD                                                                 GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS       11/5/2018               $44.16
CARLTON ANDREWS          3390 BRIDGE RD                                                                 GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS      11/12/2018               $11.04
CARLTON COUNTY
TREASURER                PO BOX 160                                                                     CARLTON             MN           55718                                  SUPPLIERS OR VENDORS      10/25/2018          $20,083.00
CARLY SHAFER             STORE 4-014                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/20/2018              $39.13
CARLY SHAFER             STORE 4-014                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/27/2018              $35.64
CARLY STEIER             STORE 2-059                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/16/2018             $459.98
CARLY STEIER             STORE 2-059                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/22/2018             $415.29
CARLY STEVENSON          W6135 AEROTECH DR                                                              APPLETON            WI           54914                                  SUPPLIERS OR VENDORS       12/3/2018              $10.96
CARLYLE SWAIN            STORE 4-083                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/27/2018              $85.66
CARMA HODGES             1129 CEDAR AVE APT 18                                                          LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS       12/7/2018              $51.20
CARMA LABORATORIES
INCORPORATED             9750 S FRANKLIN DRIVE                                                          FRANKLIN            WI           55132                                  SUPPLIERS OR VENDORS      10/18/2018            $4,291.40
CARMA LABORATORIES
INCORPORATED             9750 S FRANKLIN DRIVE                                                          FRANKLIN            WI           55132                                  SUPPLIERS OR VENDORS      10/25/2018            $4,132.20
CARMA LABORATORIES
INCORPORATED             9750 S FRANKLIN DRIVE                                                          FRANKLIN            WI           55132                                  SUPPLIERS OR VENDORS       11/1/2018            $3,646.10
CARMA LABORATORIES
INCORPORATED             9750 S FRANKLIN DRIVE                                                          FRANKLIN            WI           55132                                  SUPPLIERS OR VENDORS       11/8/2018            $2,158.20
CARMA LABORATORIES
INCORPORATED             9750 S FRANKLIN DRIVE                                                          FRANKLIN            WI           55132                                  SUPPLIERS OR VENDORS      11/15/2018            $2,447.04
CARMA LABORATORIES
INCORPORATED             9750 S FRANKLIN DRIVE                                                          FRANKLIN            WI           55132                                  SUPPLIERS OR VENDORS      11/22/2018            $3,665.40
CARMA LABORATORIES
INCORPORATED             9750 S FRANKLIN DRIVE                                                          FRANKLIN            WI           55132                                  SUPPLIERS OR VENDORS      11/29/2018            $2,531.20
CARMAE HAYES             311 CRAYSON DR                                                                 MADISON LAKE        MN           56063                                  SUPPLIERS OR VENDORS      11/12/2018              $125.00
CARMELLA VASQUEZ         1220 IDAHO AVE                                                                 IDAHO FALLS         ID           83402                                  SUPPLIERS OR VENDORS      10/26/2018               $78.01
CARMEN ANDERSON          785 CANTERBURY CASTLE LN                                                       GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS       12/7/2018                $3.27
CARMEN BREY              127 E. MAPLE STREET                                                            IRON RIVER          MI           49935                                  SUPPLIERS OR VENDORS      10/22/2018               $39.04
CARMEN BREY              127 E. MAPLE STREET                                                            IRON RIVER          MI           49935                                  SUPPLIERS OR VENDORS       11/1/2018                $9.76
CARMEN STUMPF            219 CENTER STREET                                                              OCONTO              WI           54153                                  SUPPLIERS OR VENDORS      12/14/2018               $25.00



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                                                                                                                                                                           Reasons for payment or    Dates of    Total Amount or
      Creditor Name              Address1             Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
CARMICHAEL
INTERNATIONAL SERVICE   PO BOX 51025                                                              LOS ANGELES         CA           90051-5325                             SUPPLIERS OR VENDORS      10/19/2018           $2,951.00
CARMICHAEL
INTERNATIONAL SERVICE   PO BOX 51025                                                              LOS ANGELES         CA           90051-5325                             SUPPLIERS OR VENDORS      10/26/2018           $4,292.00
CARMICHAEL
INTERNATIONAL SERVICE   PO BOX 51025                                                              LOS ANGELES         CA           90051-5325                             SUPPLIERS OR VENDORS       11/2/2018           $5,608.00
CARMICHAEL
INTERNATIONAL SERVICE   PO BOX 51025                                                              LOS ANGELES         CA           90051-5325                             SUPPLIERS OR VENDORS       11/9/2018           $7,070.29
CARMICHAEL
INTERNATIONAL SERVICE   PO BOX 51025                                                              LOS ANGELES         CA           90051-5325                             SUPPLIERS OR VENDORS      11/16/2018           $3,859.00
CARMICHAEL
INTERNATIONAL SERVICE   PO BOX 51025                                                              LOS ANGELES         CA           90051-5325                             SUPPLIERS OR VENDORS      11/30/2018           $5,837.00
CARMICHAEL
INTERNATIONAL SERVICE   PO BOX 51025                                                              LOS ANGELES         CA           90051-5325                             SUPPLIERS OR VENDORS      12/13/2018           $4,676.55
CARMICHAEL
INTERNATIONAL SERVICE   PO BOX 51025                                                              LOS ANGELES         CA           90051-5325                             SUPPLIERS OR VENDORS       1/11/2019         $13,786.83
CAROL ANN MULLEN        N9650 WILDFLOWER LANE                                                     BERLIN              WI           54923                                  SUPPLIERS OR VENDORS       12/7/2018             $10.00
CAROL ANN MULLEN        N9650 WILDFLOWER LANE                                                     BERLIN              WI           54923                                  SUPPLIERS OR VENDORS       12/7/2018             $59.99
CAROL BELCH             413 RAILROAD AVE                                                          BOYCEVILLE          WI           54725                                  SUPPLIERS OR VENDORS      12/17/2018             $30.00
CAROL BERNAL            1120 EAST 1050 SOUTH                                                      CLEARFIELD          UT           84015                                  SUPPLIERS OR VENDORS      10/31/2018            $159.98
CAROL BORK              1415 GOLDENROD CIRCLE                                                     WEST BEND           WI           53095                                  SUPPLIERS OR VENDORS       11/5/2018             $41.60
CAROL BORK              1415 GOLDENROD CIRCLE                                                     WEST BEND           WI           53095                                  SUPPLIERS OR VENDORS      11/12/2018             $10.40
CAROL BREMSETH          BOX 235                                                                   GLENVILLE           MN           56036                                  SUPPLIERS OR VENDORS      11/26/2018             $28.31
CAROL BREMSETH          BOX 235                                                                   GLENVILLE           MN           56036                                  SUPPLIERS OR VENDORS      12/13/2018              $7.08
CAROL BROSSARD          N9069 BASSWOOD ROAD                                                       BEAVER DAM          WI           53916                                  SUPPLIERS OR VENDORS      11/29/2018             $39.04
CAROL BUDKE             13 S KENTUCKY                                                             MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS      11/26/2018             $13.44
CAROL BUDKE             13 S KENTUCKY                                                             MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS      11/26/2018             $60.56
CAROL BURNETT           506 WEST MAIN                                                             ROCKFORD            IA           50468                                  SUPPLIERS OR VENDORS       11/5/2018             $12.00
CAROL BURNETT           506 WEST MAIN                                                             ROCKFORD            IA           50468                                  SUPPLIERS OR VENDORS       11/5/2018             $48.00
CAROL ELBRACHT          2307 ROAD 14                                                              HOWELLS             NE           68641                                  SUPPLIERS OR VENDORS       11/5/2018             $13.38
CAROL ELBRACHT          2307 ROAD 14                                                              HOWELLS             NE           68641                                  SUPPLIERS OR VENDORS      11/29/2018             $53.54
CAROL ERLANDSON         512 9TH AVE SW                                                            AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS      10/29/2018            $125.00
CAROL FEEST             5631 CARAGE HILLS DR                                                      MT PLEASANT         WI           53406                                  SUPPLIERS OR VENDORS      12/20/2018             $24.40
CAROL FINK              17131 372ND AVE.                                                          ZELL                SD           57469                                  SUPPLIERS OR VENDORS      10/24/2018             $38.68
CAROL FINK              17131 372ND AVE.                                                          ZELL                SD           57469                                  SUPPLIERS OR VENDORS      10/29/2018              $8.32

CAROL GEHLING           70893 STATE HWY 16                                                        GRAND MEADOW        MN           55936                                  SUPPLIERS OR VENDORS      10/29/2018             $150.04
CAROL GEIGER            920 N LAKE DR                                                             WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS       12/5/2018              $13.20
CAROL GENT              17503 MARINA CT                                                           BOWLES              MN           56314                                  SUPPLIERS OR VENDORS       11/5/2018             $110.59
CAROL GREIG             142 REIMAN ROAD                                                           IRON RIVER          MI           49935                                  SUPPLIERS OR VENDORS      10/24/2018              $39.04
CAROL HAMILTON          PO BOX 372                                                                JULIAETTA           ID           83535                                  SUPPLIERS OR VENDORS       12/7/2018              $51.20
CAROL HEITLAND          STORE 2-791             SHOPKO EMPLOYEE        616 E US HIGHWAY 9         FOREST CITY         IA           50436                                  SUPPLIERS OR VENDORS      10/18/2018              $41.97
CAROL HERBIN            3001 S. 51              UNIT #473                                         LINCOLN             NE           68506                                  SUPPLIERS OR VENDORS       11/5/2018              $13.15
CAROL HERBIN            3001 S. 51              UNIT #473                                         LINCOLN             NE           68506                                  SUPPLIERS OR VENDORS       11/5/2018              $60.85
CAROL HILDEBRAND        3110 FORSYTHIA BLVD                                                       BILLINGS            MT           59102                                  SUPPLIERS OR VENDORS      11/26/2018              $60.80
CAROL HILDEBRAND        3110 FORSYTHIA BLVD                                                       BILLINGS            MT           59102                                  SUPPLIERS OR VENDORS      12/13/2018               $7.60
CAROL JARVENSIVU        N5474 RIVER RD                                                            BRANTWOOD           WI           54513                                  SUPPLIERS OR VENDORS      11/29/2018              $17.04
CAROL JEAN ZIRNGIBL     4880 OTTESON LANE       APT 211                                           EAU CLAIRE          WI           54701                                  SUPPLIERS OR VENDORS      11/29/2018              $10.56
CAROL JOHNSON           608 S WASHINGTON ST                                                       WATERTOWN           WI           53094                                  SUPPLIERS OR VENDORS      11/29/2018               $5.00
CAROL KASPAR            905 E 11TH STR                                                            SCHUYLER            NE           68661                                  SUPPLIERS OR VENDORS       11/5/2018              $13.38
CAROL KASPAR            905 E 11TH STR                                                            SCHUYLER            NE           68661                                  SUPPLIERS OR VENDORS      11/26/2018              $53.54
CAROL KOMNING           3650 MANOR DR NE                                                          SALEM               OR           97301                                  SUPPLIERS OR VENDORS      11/26/2018              $19.01
CAROL MANTEUFEL         529 SCHOOL AVE                                                            OSHKOSH             WI           54901                                  SUPPLIERS OR VENDORS       12/3/2018              $25.00
CAROL MAXWELL           2021 RIGGS RD                                                             LAKEPORT            CA           95453                                  SUPPLIERS OR VENDORS      11/15/2018           $8,250.00



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      Creditor Name             Address1             Address2                  Address3                City               State       Zip              Country                    transfer          Payments            Value
CAROL MAXWELL         2021 RIGGS RD                                                              LAKEPORT            CA           95453                                  SUPPLIERS OR VENDORS        12/19/2018            $8,250.00
CAROL MCDUFFEE        1206 MILTON ST                                                             MISSOULA            MT           59802                                  SUPPLIERS OR VENDORS        11/26/2018               $13.44
CAROL MCDUFFEE        1206 MILTON ST                                                             MISSOULA            MT           59802                                  SUPPLIERS OR VENDORS        11/26/2018               $53.76
CAROL MONDRY          121 ROOSEVELT ST. N      PO BOX 134                                        LAKE WILSON         MN           56151                                  SUPPLIERS OR VENDORS         11/2/2018               $15.00
CAROL NAU             1728 RUST RD                                                               WORTHINGTON         MN           56187                                  SUPPLIERS OR VENDORS        12/10/2018               $50.86
CAROL PAPLHAM         11432 SAXONBURG RD                                                         TWO RIVERS          WI           54241                                  SUPPLIERS OR VENDORS        10/19/2018               $25.00
CAROL PEDERSON        PO BOX 665                                                                 NEWMAN LAKE         WA           99025                                  SUPPLIERS OR VENDORS        12/14/2018               $28.65
CAROL PETRI           W2296 CTY RD Y                                                             LOMIRA              WI           53048                                  SUPPLIERS OR VENDORS         11/2/2018               $40.00

CAROL PIDGEON         361 16TH AVENUE NORTH                                                      WISCONSIN RAPIDS    WI           54495                                  SUPPLIERS OR VENDORS       11/12/2018               $13.20
CAROL PIPER           817 C STREET, APT. # 4                                                     LINCOLN             NE           68502                                  SUPPLIERS OR VENDORS        11/5/2018               $47.94
CAROL RAMSEY          PO BOX 193                                                                 BRITTON             SD           57430                                  SUPPLIERS OR VENDORS       12/13/2018               $45.00
CAROL SCHLIEWE        1207 E SYCAMORE                                                            NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS       12/10/2018               $13.38
CAROL SCHLIEWE        1207 E SYCAMORE                                                            NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS       12/13/2018               $53.54
CAROL SCHNEIDER       35 HWY 4 S                                                                 MELROSE             MN           56352                                  SUPPLIERS OR VENDORS       12/13/2018                $2.29
CAROL SMITH           304 7TH ST N E                                                             BELMOND             IA           50421                                  SUPPLIERS OR VENDORS       11/28/2018               $12.00
CAROL TRAUN           745 8TH AVE EAST                                                           DURAND              WI           54736                                  SUPPLIERS OR VENDORS       10/18/2018               $10.56
CAROL TRAUN           745 8TH AVE EAST                                                           DURAND              WI           54736                                  SUPPLIERS OR VENDORS        12/3/2018               $42.24
CAROL VAN ELLS        815 FOREST CIRCLE                                                          MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS        11/5/2018               $66.09
CAROL VAN ELLS        815 FOREST CIRCLE                                                          MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS       11/28/2018               $18.53
CAROL VENTURA         5008 BOXWOOD LN.                                                           APPLETON            WI           54913                                  SUPPLIERS OR VENDORS       10/19/2018               $10.00
CAROL WAGNER          4015 5 MILE RD                                                             RACINE              WI           53402                                  SUPPLIERS OR VENDORS       11/14/2018               $20.02
CAROL WEYENBERG       W4762 COUNTY ROAD Z                                                        PEMBINE             WI           54156                                  SUPPLIERS OR VENDORS       11/14/2018                $5.00
CAROL WILLIAMS        905 TARA COURT                                                             HELENA              MT           59601                                  SUPPLIERS OR VENDORS       12/11/2018              $121.00
CAROL WREGHITT        406 BLANK STREET         BOX 282                                           MARBLE ROCK         IA           50653                                  SUPPLIERS OR VENDORS       11/26/2018               $48.00
CAROLE ACCESSORIES
INCORPORATED          1607 S GRAND AVE                                                           LOS ANGELES         CA           90015                                  SUPPLIERS OR VENDORS       10/18/2018              $125.00
CAROLE ACCESSORIES
INCORPORATED          1607 S GRAND AVE                                                           LOS ANGELES         CA           90015                                  SUPPLIERS OR VENDORS       10/19/2018               $61.50
CAROLE ACCESSORIES
INCORPORATED          1607 S GRAND AVE                                                           LOS ANGELES         CA           90015                                  SUPPLIERS OR VENDORS       10/23/2018               $34.50
CAROLE ACCESSORIES
INCORPORATED          1607 S GRAND AVE                                                           LOS ANGELES         CA           90015                                  SUPPLIERS OR VENDORS       10/24/2018               $20.50
CAROLE ACCESSORIES
INCORPORATED          1607 S GRAND AVE                                                           LOS ANGELES         CA           90015                                  SUPPLIERS OR VENDORS       10/25/2018               $69.00
CAROLE ACCESSORIES
INCORPORATED          1607 S GRAND AVE                                                           LOS ANGELES         CA           90015                                  SUPPLIERS OR VENDORS        11/2/2018               $58.25
CAROLE ACCESSORIES
INCORPORATED          1607 S GRAND AVE                                                           LOS ANGELES         CA           90015                                  SUPPLIERS OR VENDORS        11/8/2018           $72,256.42
CAROLE ACCESSORIES
INCORPORATED          1607 S GRAND AVE                                                           LOS ANGELES         CA           90015                                  SUPPLIERS OR VENDORS        11/9/2018              $628.90
CAROLE ACCESSORIES
INCORPORATED          1607 S GRAND AVE                                                           LOS ANGELES         CA           90015                                  SUPPLIERS OR VENDORS       11/15/2018               $58.25
CAROLE ACCESSORIES
INCORPORATED          1607 S GRAND AVE                                                           LOS ANGELES         CA           90015                                  SUPPLIERS OR VENDORS       11/16/2018               $78.75
CAROLE ACCESSORIES
INCORPORATED          1607 S GRAND AVE                                                           LOS ANGELES         CA           90015                                  SUPPLIERS OR VENDORS       11/24/2018               $60.90
CAROLE ACCESSORIES
INCORPORATED          1607 S GRAND AVE                                                           LOS ANGELES         CA           90015                                  SUPPLIERS OR VENDORS       11/30/2018           $41,364.70
CAROLE ACCESSORIES
INCORPORATED          1607 S GRAND AVE                                                           LOS ANGELES         CA           90015                                  SUPPLIERS OR VENDORS        12/1/2018              $241.45
CAROLE ACCESSORIES
INCORPORATED          1607 S GRAND AVE                                                           LOS ANGELES         CA           90015                                  SUPPLIERS OR VENDORS        12/4/2018              $466.10
CAROLE BADE           15057 376TH AVE.                                                           NORTHVILLE          SD           57465                                  SUPPLIERS OR VENDORS        12/5/2018               $38.68



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       Creditor Name              Address1                Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
CAROLE WILSON          593 W FRANKLIN                                                                 WELLS               MN           56097                                  SUPPLIERS OR VENDORS        11/30/2018                $3.00
CAROLINA PAD           C P P INTERNATIONAL LLC      PO BOX 60806                                      CHARLOTTE           NC           28260-0860                             SUPPLIERS OR VENDORS        10/18/2018              $701.40
CAROLINA PAD           C P P INTERNATIONAL LLC      PO BOX 60806                                      CHARLOTTE           NC           28260-0860                             SUPPLIERS OR VENDORS         11/1/2018            $3,762.36
CAROLINA PAD           C P P INTERNATIONAL LLC      PO BOX 60806                                      CHARLOTTE           NC           28260-0860                             SUPPLIERS OR VENDORS         11/8/2018              $810.14
CAROLINA PAD           C P P INTERNATIONAL LLC      PO BOX 60806                                      CHARLOTTE           NC           28260-0860                             SUPPLIERS OR VENDORS        11/15/2018              $359.88
CAROLINA PAD           C P P INTERNATIONAL LLC      PO BOX 60806                                      CHARLOTTE           NC           28260-0860                             SUPPLIERS OR VENDORS        11/22/2018              $799.44
CAROLINA PAD           C P P INTERNATIONAL LLC      PO BOX 60806                                      CHARLOTTE           NC           28260-0860                             SUPPLIERS OR VENDORS        11/29/2018            $1,129.68
CAROLINA PET COMPANY
LLC (C-HUB)            90 OLD SCHOOL RD                                                               PROSPERITY          SC           29127                                  SUPPLIERS OR VENDORS       10/18/2018               $81.04
CAROLINA PET COMPANY
LLC (C-HUB)            90 OLD SCHOOL RD                                                               PROSPERITY          SC           29127                                  SUPPLIERS OR VENDORS       11/22/2018                $5.46
CAROLINE FEDDER        1371 ALPINE DR.                                                                NEKOOSA             WI           54457                                  SUPPLIERS OR VENDORS        11/1/2018                $8.09
CAROLINE FEDDER        1371 ALPINE DR.                                                                NEKOOSA             WI           54457                                  SUPPLIERS OR VENDORS       11/16/2018               $38.91
CAROLINE GLEASON
MANAGEMENT LLC DBA
CGM                    690 LINCOLN ROAD SUITE 301                                                     MIAMI BEACH         FL           33139                                  SUPPLIERS OR VENDORS        11/9/2018              $240.00
CAROLINE JANKE         1074 CARRIAGE CIRCLE                                                           FOND DU LAC         WI           54935                                  SUPPLIERS OR VENDORS        11/5/2018               $25.00
CAROLINE TRAUTZ        315 WAITE AVE. S.            APT 103                                           WAITE PARK          MN           56387                                  SUPPLIERS OR VENDORS        11/5/2018               $15.30
CAROLYN ANDERSON       8195 GETAWAY LANE                                                              HARSHAW             WI           54529                                  SUPPLIERS OR VENDORS       11/29/2018               $39.68
CAROLYN ASHMORE        3436 N 48TH ST                                                                 LINCOLN             NE           68504                                  SUPPLIERS OR VENDORS       11/15/2018               $93.95
CAROLYN FORMAN         404 EAST 3RD STREET                                                            MILLER              SD           57362                                  SUPPLIERS OR VENDORS       10/25/2018               $17.81
CAROLYN FORMAN         17857 462ND AVE                                                                WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS       11/14/2018               $11.04
CAROLYN FORMAN         404 EAST 3RD STREET                                                            MILLER              SD           57362                                  SUPPLIERS OR VENDORS       11/26/2018               $38.19
CAROLYN FORMAN         17857 462ND AVE                                                                WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS        12/7/2018               $44.16
CAROLYN HARTMAN        1313 S REEVES RD                                                               SPOKANE             WA           99206                                  SUPPLIERS OR VENDORS       10/31/2018               $24.76
CAROLYN HARTMAN        1313 S REEVES RD                                                               SPOKANE             WA           99206                                  SUPPLIERS OR VENDORS        11/5/2018              $107.24
CAROLYN JOHNSON        BOX 434                                                                        LAKE PARK           IA           51347                                  SUPPLIERS OR VENDORS       11/12/2018               $11.45
CAROLYN KNIGGE         27169 OLIVER AVE                                                               WORTHINGTON         MN           56187                                  SUPPLIERS OR VENDORS       10/29/2018               $28.87
CAROLYN MCCARTER       422 MULBERRY ST APT 1                                                          LAKE MILLS          WI           53551                                  SUPPLIERS OR VENDORS        11/2/2018               $30.00
CAROLYN REIMER         1300 COOLIDGE AVENUE                                                           NIAGARA             WI           54151                                  SUPPLIERS OR VENDORS       11/29/2018                $3.94
CAROLYN REIS           26737 318TH AVE                                                                HAMILL              SD           57534                                  SUPPLIERS OR VENDORS       10/24/2018               $44.80
CAROLYN REIS           26737 318TH AVE                                                                HAMILL              SD           57534                                  SUPPLIERS OR VENDORS        11/1/2018               $11.20
CAROLYN ROUNTREE       506 15TH STREET                                                                LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS       12/13/2018               $51.20
CAROLYN STEINHOFF      N7609 MAPLE ST.                                                                AUTRAIN             MI           49806                                  SUPPLIERS OR VENDORS       10/25/2018               $42.00
CAROLYN TREBATOSKI     216 PRENTICE ST N APT 304                                                      STEVENS POINT       WI           54481                                  SUPPLIERS OR VENDORS       11/30/2018              $172.71
CAROLYN TUBBS          168 CASH LANE                                                                  GRANGEVILLE         ID           83530                                  SUPPLIERS OR VENDORS       11/26/2018               $51.20
CARPENTER COMPANY      PO BOX 75252                                                                   CHARLOTTE           NC           28275-0252                             SUPPLIERS OR VENDORS       10/18/2018           $20,300.74
CARPENTER COMPANY      PO BOX 75252                                                                   CHARLOTTE           NC           28275-0252                             SUPPLIERS OR VENDORS       10/25/2018           $10,441.22
CARPENTER COMPANY      PO BOX 75252                                                                   CHARLOTTE           NC           28275-0252                             SUPPLIERS OR VENDORS        11/1/2018            $4,143.44
CARPENTER COMPANY      PO BOX 75252                                                                   CHARLOTTE           NC           28275-0252                             SUPPLIERS OR VENDORS        11/8/2018               $22.88
CARPENTER COMPANY      PO BOX 75252                                                                   CHARLOTTE           NC           28275-0252                             SUPPLIERS OR VENDORS       11/15/2018            $8,224.80
CARPENTER COMPANY      PO BOX 75252                                                                   CHARLOTTE           NC           28275-0252                             SUPPLIERS OR VENDORS       11/22/2018            $3,789.26
CARPENTER COMPANY      PO BOX 75252                                                                   CHARLOTTE           NC           28275-0252                             SUPPLIERS OR VENDORS       11/29/2018            $5,375.84
CARR CONSTRUCTION      38523 174TH ST                                                                 REDFIELD            SD           57469                                  SUPPLIERS OR VENDORS        11/1/2018              $126.47
CARRAH JENSON          N2503 VAN MATRE LANE                                                           MONROE              WI           53566                                  SUPPLIERS OR VENDORS        11/2/2018               $14.40
CARRIE HUITT           526 7TH ST E                                                                   GLENCOE             MN           55336                                  SUPPLIERS OR VENDORS       10/31/2018               $35.98
CARRIE HUITT           526 7TH ST. E                                                                  GLENCOE             MN           55336                                  SUPPLIERS OR VENDORS       12/18/2018               $54.00
CARRIE JAEDIKE         916 BENTON AVE                                                                 JANESVILLE          WI           53545                                  SUPPLIERS OR VENDORS        11/2/2018               $25.00
CARRIE KNEIFL          2539 1ST AVE W                                                                 LA CROSSE           WI           54603                                  SUPPLIERS OR VENDORS       12/11/2018              $139.18
CARRIE WHITE           821 HILLCREST HEIGHTS                                                          GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS        11/8/2018               $10.00
CARRIE WILSON          10600 N BENOIT ST                                                              HAYDEN              ID           83835                                  SUPPLIERS OR VENDORS        11/5/2018               $10.00
CARRIE WILSON          10600 N BENOIT ST                                                              HAYDEN              ID           83835                                  SUPPLIERS OR VENDORS        11/5/2018               $65.60
CARROLL COUNTY
COLLECTOR              8 S MAIN STREET SUITE 2                                                        CARROLLTON          MO           64633-1680                             SUPPLIERS OR VENDORS        11/8/2018               $25.00



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                                                                                                                                                                              Reasons for payment or    Dates of    Total Amount or
       Creditor Name               Address1              Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
CARROLL COUNTY
COLLECTOR                8 S MAIN STREET SUITE 2                                                     CARROLLTON          MO           64633-1680                             SUPPLIERS OR VENDORS      12/19/2018         $13,848.05
CARROLL COUNTY HEALTH
DEPARTMENT               822 SOUTH MILL STREET                                                       MOUNT CARROLL       IL           61053                                  SUPPLIERS OR VENDORS      12/13/2018             $75.00
CARTER SNYDER            5403 LANI LANE                                                              MC FARLAND          WI           53558                                  SUPPLIERS OR VENDORS      10/22/2018             $25.00
CASA INNOVATIONS GROUP
LLC                      ATTN ACCOUNTING           155 BAY RIDGE AVENUE                              BROOKLYN            NY           11220                                  SUPPLIERS OR VENDORS      10/18/2018           $5,897.37
CASA INNOVATIONS GROUP
LLC                      ATTN ACCOUNTING           155 BAY RIDGE AVENUE                              BROOKLYN            NY           11220                                  SUPPLIERS OR VENDORS      10/25/2018           $1,212.08
CASA INNOVATIONS GROUP
LLC                      ATTN ACCOUNTING           155 BAY RIDGE AVENUE                              BROOKLYN            NY           11220                                  SUPPLIERS OR VENDORS       11/1/2018           $1,309.04
CASA INNOVATIONS GROUP
LLC                      ATTN ACCOUNTING           155 BAY RIDGE AVENUE                              BROOKLYN            NY           11220                                  SUPPLIERS OR VENDORS       11/8/2018            $242.40
CASA INNOVATIONS GROUP
LLC                      ATTN ACCOUNTING           155 BAY RIDGE AVENUE                              BROOKLYN            NY           11220                                  SUPPLIERS OR VENDORS      11/15/2018           $1,066.64
CASA INNOVATIONS GROUP
LLC                      ATTN ACCOUNTING           155 BAY RIDGE AVENUE                              BROOKLYN            NY           11220                                  SUPPLIERS OR VENDORS      11/22/2018            $824.32
CASA INNOVATIONS GROUP
LLC                      ATTN ACCOUNTING           155 BAY RIDGE AVENUE                              BROOKLYN            NY           11220                                  SUPPLIERS OR VENDORS      11/29/2018         $23,706.80
CASCADE COUNTY
TREASURER                P O BOX 2549                                                                GREAT FALLS         MT           59403                                  SUPPLIERS OR VENDORS      11/26/2018         $67,068.77
CASCADE TISSUE GROUP     VICE PRESIDENT OF SALES   4001 PACKARD ROAD                                 NIAGARA FALLS       NY           14303                                  SUPPLIERS OR VENDORS      10/25/2018          $8,089.94
CASCADE TISSUE GROUP     VICE PRESIDENT OF SALES   4001 PACKARD ROAD                                 NIAGARA FALLS       NY           14303                                  SUPPLIERS OR VENDORS      11/15/2018         $14,158.33
CASCADE TISSUE GROUP     VICE PRESIDENT OF SALES   4001 PACKARD ROAD                                 NIAGARA FALLS       NY           14303                                  SUPPLIERS OR VENDORS      11/22/2018          $6,209.63
CASCADE TISSUE GROUP     VICE PRESIDENT OF SALES   4001 PACKARD ROAD                                 NIAGARA FALLS       NY           14303                                  SUPPLIERS OR VENDORS      11/29/2018         $36,404.33
CASEY JOHNSON            13111 E GUTHRIE DR                                                          SPOKANE             WA           99216                                  SUPPLIERS OR VENDORS      11/26/2018             $24.40
CASEY RANKIN             190 LAKE OKAGA RD.                                                          TROY                MT           59935                                  SUPPLIERS OR VENDORS       12/7/2018             $16.00
CASEY TUFTE              5235 HANS DR.                                                               PLOVER              WI           54467                                  SUPPLIERS OR VENDORS      11/28/2018             $39.00
CASEYS                   1421 COURT AVE                                                              CHARITON            IA           50049                                  SUPPLIERS OR VENDORS       11/7/2018            $178.00
CASEYS PIZZA             222 CENTRAL AVENUE W                                                        CLARION             IA           50525                                  SUPPLIERS OR VENDORS      11/14/2018             $42.75
CASEYS PIZZA             222 CENTRAL AVENUE W                                                        CLARION             IA           50525                                  SUPPLIERS OR VENDORS      11/14/2018             $51.31
CASH WISE                ATTN DARLENE CHAMPEAU     495 W NORTH STREET                                OWATONNA            MN           55060                                  SUPPLIERS OR VENDORS       11/7/2018            $197.45
                         6430 NE COLUMBIA
CASHCO DISTRIBUTOR       BOULEVARD                                                                   PORTLAND            OR           97218                                  SUPPLIERS OR VENDORS      10/18/2018         $65,461.37
                         6430 NE COLUMBIA
CASHCO DISTRIBUTOR       BOULEVARD                                                                   PORTLAND            OR           97218                                  SUPPLIERS OR VENDORS       11/1/2018         $48,332.86
                         6430 NE COLUMBIA
CASHCO DISTRIBUTOR       BOULEVARD                                                                   PORTLAND            OR           97218                                  SUPPLIERS OR VENDORS      11/15/2018         $37,876.04
                         6430 NE COLUMBIA
CASHCO DISTRIBUTOR       BOULEVARD                                                                   PORTLAND            OR           97218                                  SUPPLIERS OR VENDORS      11/29/2018         $43,062.64
CASHE CROSSLAND          STORE 562                 SHOPKO EMPLOYEE        702 WESTVIEW LANE          STANLEY             ND           58784                                  SUPPLIERS OR VENDORS      12/28/2018            $153.54
CASIO AMERICA
INCORPORATED             PO BOX 643601                                                               PITTSBURGH          PA           15264-3601                             SUPPLIERS OR VENDORS      10/25/2018           $2,011.75
CASIO AMERICA
INCORPORATED             PO BOX 643601                                                               PITTSBURGH          PA           15264-3601                             SUPPLIERS OR VENDORS       11/8/2018           $1,964.02
CASIO AMERICA
INCORPORATED             PO BOX 643601                                                               PITTSBURGH          PA           15264-3601                             SUPPLIERS OR VENDORS      11/15/2018           $1,236.75
CASIO AMERICA
INCORPORATED             PO BOX 643601                                                               PITTSBURGH          PA           15264-3601                             SUPPLIERS OR VENDORS      11/22/2018           $1,995.25
CASS INFORMATION
SYSTEMS                  13001 HOLLENBERG DR                                                         BRIDGETON           MO           63044                                  SUPPLIERS OR VENDORS      10/19/2018         $62,593.44
CASS INFORMATION
SYSTEMS                  13001 HOLLENBERG DR                                                         BRIDGETON           MO           63044                                  SUPPLIERS OR VENDORS      10/26/2018        $103,489.28




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                                                                                                                                                                             Reasons for payment or    Dates of    Total Amount or
       Creditor Name             Address1               Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
CASS INFORMATION
SYSTEMS                13001 HOLLENBERG DR                                                          BRIDGETON           MO           63044                                  SUPPLIERS OR VENDORS       11/2/2018         $44,046.61
CASS INFORMATION
SYSTEMS                13001 HOLLENBERG DR                                                          BRIDGETON           MO           63044                                  SUPPLIERS OR VENDORS       11/9/2018         $50,155.22
CASS INFORMATION
SYSTEMS                13001 HOLLENBERG DR                                                          BRIDGETON           MO           63044                                  SUPPLIERS OR VENDORS      11/16/2018         $31,289.65
CASS INFORMATION
SYSTEMS                13001 HOLLENBERG DR                                                          BRIDGETON           MO           63044                                  SUPPLIERS OR VENDORS      11/27/2018        $126,233.87
CASS INFORMATION
SYSTEMS                13001 HOLLENBERG DR                                                          BRIDGETON           MO           63044                                  SUPPLIERS OR VENDORS      11/30/2018         $32,499.59
CASS INFORMATION
SYSTEMS                13001 HOLLENBERG DR                                                          BRIDGETON           MO           63044                                  SUPPLIERS OR VENDORS      12/11/2018         $33,954.40
CASS INFORMATION
SYSTEMS                13001 HOLLENBERG DR                                                          BRIDGETON           MO           63044                                  SUPPLIERS OR VENDORS      12/14/2018        $131,891.77
CASS INFORMATION
SYSTEMS                13001 HOLLENBERG DR                                                          BRIDGETON           MO           63044                                  SUPPLIERS OR VENDORS      12/21/2018         $41,605.97
CASS INFORMATION
SYSTEMS                13001 HOLLENBERG DR                                                          BRIDGETON           MO           63044                                  SUPPLIERS OR VENDORS       1/10/2019         $55,456.24
CASS INFORMATION
SYSTEMS                13001 HOLLENBERG DR                                                          BRIDGETON           MO           63044                                  SUPPLIERS OR VENDORS       1/12/2019         $84,814.48
CASSANDRA BORCKY       706 RUBLE STREET                                                             GREENFIELD          IL           62044                                  SUPPLIERS OR VENDORS      11/30/2018             $29.00
CASSANDRA MITCHELL     STORE 4-609                SHOPKO EMPLOYEE        1120 HIGHWAY 67            KIEL                WI           53042                                  SUPPLIERS OR VENDORS      12/20/2018             $51.23
CASSANDRA WHITEHEAD    PO BOX 98                                                                    ADAMS               WI           53910                                  SUPPLIERS OR VENDORS      10/29/2018             $40.00
CASSANDRIA SCHLEIF     STORE 584                  SHOPKO EMPLOYEE        6355 MAIN STREET           BONNERS FERRY       ID           83805                                  SUPPLIERS OR VENDORS      10/19/2018            $287.81
CASSIDY HARTSHORN      1819 BIRCH AVE                                                               LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS      12/19/2018             $30.00
CASSIDY MYERS          10 ELLIOTT DR.                                                               JACKSONVILLE        IL           62650                                  SUPPLIERS OR VENDORS      12/20/2018             $14.65
CASTLEWOOD APPAREL                                42 W 39TH STREET
CORPORATION            VICE PRESIDENT OF SALES    FLOOR 8                                           NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      10/19/2018         $21,716.39
CASTLEWOOD APPAREL                                42 W 39TH STREET
CORPORATION            VICE PRESIDENT OF SALES    FLOOR 8                                           NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      10/20/2018         $73,398.00
CASTLEWOOD APPAREL                                42 W 39TH STREET
CORPORATION            VICE PRESIDENT OF SALES    FLOOR 8                                           NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      10/30/2018         $29,110.00
CASTLEWOOD APPAREL                                42 W 39TH STREET
CORPORATION            VICE PRESIDENT OF SALES    FLOOR 8                                           NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS       11/2/2018         $56,583.36
CASTLEWOOD APPAREL                                42 W 39TH STREET
CORPORATION            VICE PRESIDENT OF SALES    FLOOR 8                                           NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS       11/3/2018         $26,280.00
CASTLEWOOD APPAREL                                42 W 39TH STREET
CORPORATION            VICE PRESIDENT OF SALES    FLOOR 8                                           NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS       11/6/2018         $29,740.60
CASTLEWOOD APPAREL                                42 W 39TH STREET
CORPORATION            VICE PRESIDENT OF SALES    FLOOR 8                                           NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS       11/7/2018        $107,574.72
CASTLEWOOD APPAREL                                42 W 39TH STREET
CORPORATION            VICE PRESIDENT OF SALES    FLOOR 8                                           NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS       11/9/2018           $3,900.00
CASTLEWOOD APPAREL                                42 W 39TH STREET
CORPORATION            VICE PRESIDENT OF SALES    FLOOR 8                                           NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      11/14/2018         $24,851.56
CASTLEWOOD APPAREL                                42 W 39TH STREET
CORPORATION            VICE PRESIDENT OF SALES    FLOOR 8                                           NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      11/24/2018         $53,848.00
CASTLEWOOD APPAREL                                42 W 39TH STREET
CORPORATION            VICE PRESIDENT OF SALES    FLOOR 8                                           NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      11/29/2018         $18,381.00
CATALINA DIONICIO      310 N ALDER ST                                                               TOPPENISH           WA           98948                                  SUPPLIERS OR VENDORS      10/25/2018            $176.00
CATHERINE AYALA        806 WEST 23RD AVE APT 10                                                     BELLEVUE            NE           68005                                  SUPPLIERS OR VENDORS      12/13/2018             $31.97
CATHERINE BERG         1208 WESTWOOD DR.                                                            MARSHALL            MN           56258                                  SUPPLIERS OR VENDORS      10/24/2018             $28.31
CATHERINE BERG         1208 WESTWOOD DR.                                                            MARSHALL            MN           56258                                  SUPPLIERS OR VENDORS       11/1/2018              $7.08
CATHERINE BOWN         717 CLEVELAND ST                                                             BELOIT              WI           53511                                  SUPPLIERS OR VENDORS      11/28/2018             $45.00
CATHERINE COVEY        1231 AMERICAN FRUIT RD                                                       WENATCHEE           WA           98801                                  SUPPLIERS OR VENDORS      11/26/2018             $56.24



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                                                                                                                                                                             Reasons for payment or    Dates of     Total Amount or
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CATHERINE CWIRLA        1114 ANN STREET        #8                                                  MADISON             WI           53713                                  SUPPLIERS OR VENDORS        11/30/2018               $16.00
CATHERINE DREW          584 RUGGLES ST                                                             FOND DU LAC         WI           54935                                  SUPPLIERS OR VENDORS        10/24/2018                $5.00
CATHERINE GALVAN        STORE 038              SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/19/2018              $172.02
CATHERINE LEE           2809 STEVEN LANE                                                           EAU CLAIRE          WI           54701                                  SUPPLIERS OR VENDORS        11/26/2018               $52.80
CATHERINE LOUWAGIE      1101 EASTWOOD AVE                                                          MARSHALL            MN           56258                                  SUPPLIERS OR VENDORS        12/18/2018              $147.82
CATHERINE POUNDS        PO BOX 294                                                                 CLEAR LAKE          MN           55319                                  SUPPLIERS OR VENDORS        11/30/2018                $4.61
CATHERINE ROKKE         2542 WOODS BLVD                                                            LINCOLN             NE           68502                                  SUPPLIERS OR VENDORS        10/29/2018               $10.00
CATHI WATSON            4557 ADOBE ST                                                              SALEM               OR           97317                                  SUPPLIERS OR VENDORS        10/25/2018               $29.00
CATHLEEN HOFFMAN        900 SHERMAN AVE                                                            STEVENS POINT       WI           54481                                  SUPPLIERS OR VENDORS        12/13/2018               $15.00
CATHY ALLEN             1603 HWY J                                                                 FRIENDSHIP          WI           53934                                  SUPPLIERS OR VENDORS         11/2/2018              $163.80
CATHY AUGUSTINE         112 HURON AVE                                                              OCONTO              WI           54153                                  SUPPLIERS OR VENDORS         11/7/2018               $25.00
CATHY BRADSHAW          320 ARBUTUS AVE.                                                           MANISTIQUE          MI           49854                                  SUPPLIERS OR VENDORS        10/24/2018               $42.00
CATHY FELMER            430 NANCY LANE         APT. 82                                             PULASKI             WI           54162                                  SUPPLIERS OR VENDORS         12/7/2018               $45.00
CATHY HALRON            221 ROSE LAWN BLVD                                                         GREEN BAY           WI           54301                                  SUPPLIERS OR VENDORS         12/7/2018               $69.00
CATHY HUFFMAN           STORE 665              SHOPKO EMPLOYEE          PO BOX 210                 HAMPTON             IA           50441                                  SUPPLIERS OR VENDORS         11/2/2018               $59.95
CATHY HUFFMAN           STORE 665              SHOPKO EMPLOYEE          PO BOX 210                 HAMPTON             IA           50441                                  SUPPLIERS OR VENDORS         1/15/2019               $80.04
CATHY MALLION           1516 DIVISION ST                                                           MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS        12/13/2018               $42.00
CATHY MYERS             1401 OLD HWY 95                                                            GENESEE             ID           83832                                  SUPPLIERS OR VENDORS        11/15/2018               $51.20
CATHY PELTONEN          STORE 4-003            SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/25/2018               $40.33
CATTS REALTY COMPANY    SUITE C                                                                    GAYLORD             MI           49735                                  SUPPLIERS OR VENDORS        10/27/2018                $1.00

CATTS REALTY COMPANY    SUITE C                829 WEST MAIN STREET                                GAYLORD             MI           49735                                  SUPPLIERS OR VENDORS        11/1/2018           $16,352.50

CATTS REALTY COMPANY    SUITE C                829 WEST MAIN STREET                                GAYLORD             MI           49735                                  SUPPLIERS OR VENDORS        11/8/2018              $122.64

CATTS REALTY COMPANY    SUITE C                829 WEST MAIN STREET                                GAYLORD             MI           49735                                  SUPPLIERS OR VENDORS        12/1/2018           $16,352.50

CATTS REALTY COMPANY    SUITE C                829 WEST MAIN STREET                                GAYLORD             MI           49735                                  SUPPLIERS OR VENDORS        12/6/2018            $4,006.70

CATTS REALTY COMPANY    SUITE C                829 WEST MAIN STREET                                GAYLORD             MI           49735                                  SUPPLIERS OR VENDORS       12/22/2018            $3,357.38

CAVALIER IMPROVEMENTS
INCORPORATED            PO BOX 131                                                                 CAVALIER            ND           58220                                  SUPPLIERS OR VENDORS        11/1/2018            $4,133.65

CAVALIER IMPROVEMENTS
INCORPORATED            PO BOX 131                                                                 CAVALIER            ND           58220                                  SUPPLIERS OR VENDORS        12/1/2018            $4,133.65
CCH INCORPORATED        PO BOX 4307                                                                CAROL STREAM        IL           60197-4307                             SUPPLIERS OR VENDORS       11/30/2018            $8,995.64
CDK RENTALS LLC         D/B/A C-CAN RENTALS    PO BOX 1090                                         MILLS               WY           82644                                  SUPPLIERS OR VENDORS       10/26/2018              $467.78
CDK RENTALS LLC         D/B/A C-CAN RENTALS    PO BOX 1090                                         MILLS               WY           82644                                  SUPPLIERS OR VENDORS       11/30/2018              $467.78
CDK RENTALS LLC         D/B/A C-CAN RENTALS    PO BOX 1090                                         MILLS               WY           82644                                  SUPPLIERS OR VENDORS         1/5/2019              $467.78
CDK RENTALS LLC         D/B/A C-CAN RENTALS    PO BOX 1090                                         MILLS               WY           82644                                  SUPPLIERS OR VENDORS         1/8/2019              $467.78
                        CHAIN DRUG MARKETING   43157 W NINE MILE
CDMA                    ASSOCIATION INC        ROAD                     PO BOX 995                 NOVI                MI           48376-0995                             SUPPLIERS OR VENDORS       10/18/2018           $16,312.13
                        CHAIN DRUG MARKETING   43157 W NINE MILE
CDMA                    ASSOCIATION INC        ROAD                     PO BOX 995                 NOVI                MI           48376-0995                             SUPPLIERS OR VENDORS       10/25/2018            $6,083.32
                        CHAIN DRUG MARKETING   43157 W NINE MILE
CDMA                    ASSOCIATION INC        ROAD                     PO BOX 995                 NOVI                MI           48376-0995                             SUPPLIERS OR VENDORS        11/1/2018            $1,517.53
                        CHAIN DRUG MARKETING   43157 W NINE MILE
CDMA                    ASSOCIATION INC        ROAD                     PO BOX 995                 NOVI                MI           48376-0995                             SUPPLIERS OR VENDORS       11/22/2018            $4,652.06
CDW DIRECT LLC          CDW LLC                PO BOX 75723                                        CHICAGO             IL           60675-5723                             SUPPLIERS OR VENDORS       10/18/2018            $2,189.40
CDW DIRECT LLC          CDW LLC                PO BOX 75723                                        CHICAGO             IL           60675-5723                             SUPPLIERS OR VENDORS       10/23/2018            $3,037.58
CDW DIRECT LLC          CDW LLC                PO BOX 75723                                        CHICAGO             IL           60675-5723                             SUPPLIERS OR VENDORS       10/30/2018              $320.02
CDW DIRECT LLC          CDW LLC                PO BOX 75723                                        CHICAGO             IL           60675-5723                             SUPPLIERS OR VENDORS        11/6/2018              $429.90
CDW DIRECT LLC          CDW LLC                PO BOX 75723                                        CHICAGO             IL           60675-5723                             SUPPLIERS OR VENDORS       11/13/2018            $7,532.70



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CDW DIRECT LLC              CDW LLC                    PO BOX 75723                                      CHICAGO             IL           60675-5723                             SUPPLIERS OR VENDORS        11/15/2018            $1,980.37
CDW DIRECT LLC              CDW LLC                    PO BOX 75723                                      CHICAGO             IL           60675-5723                             SUPPLIERS OR VENDORS        11/27/2018              $409.33
CDW DIRECT LLC              CDW LLC                    PO BOX 75723                                      CHICAGO             IL           60675-5723                             SUPPLIERS OR VENDORS        11/29/2018            $2,082.88
CDW DIRECT LLC              CDW LLC                    PO BOX 75723                                      CHICAGO             IL           60675-5723                             SUPPLIERS OR VENDORS         12/4/2018            $2,305.97
CDW DIRECT LLC              CDW LLC                    PO BOX 75723                                      CHICAGO             IL           60675-5723                             SUPPLIERS OR VENDORS         12/6/2018              $316.50
                                                                                                                                                                                 PURCHASE OF
CDW DIRECT LLC              PO BOX 75723                                                                 CHICAGO             IL           60675                                  MERCHANDISE                12/31/2018          $132,915.92
CECELIA REDD                641 W MAIN ST              APT 214                                           MADISON             WI           53703                                  SUPPLIERS OR VENDORS        11/7/2018               $36.00
CECELIA
VANDENLANGENBERG            W10072 EAST SPRINSIDE RD                                                     COLEMAN             WI           54112                                  SUPPLIERS OR VENDORS        11/5/2018               $44.16
CECILE FROST                11643 42 RD                                                                  WETMORE             MI           49895                                  SUPPLIERS OR VENDORS        12/7/2018               $28.05
CECILIA KEIDETH             1419 E PERSHING ST                                                           APPLETON            WI           54911                                  SUPPLIERS OR VENDORS       11/26/2018               $40.30
CECILY RAKES                4808 JOHANNE CT                                                              SPRINGFIELD         IL           62711                                  SUPPLIERS OR VENDORS        11/6/2018               $19.00

CEDAR COUNTY COLLECTOR PO BOX 280                                                                        STOCKTON            MO           65785                                  SUPPLIERS OR VENDORS       11/15/2018               $25.00

CEDAR COUNTY COLLECTOR PO BOX 280                                                                        STOCKTON            MO           65785                                  SUPPLIERS OR VENDORS       12/19/2018              $871.88
CEDAR COUNTY HEALTH                                                                                      EL DORADO
DEPT                   1317 SOUTH HWY 32                                                                 SPRINGS             MO           64744                                  SUPPLIERS OR VENDORS       12/14/2018              $100.00
CEDAR CREEK LAWN CARE
SERVICES LLC           N1952 COUNTY ROAD BB                                                              MARINETTE           WI           54143                                  SUPPLIERS OR VENDORS        11/5/2018              $633.00

CEDAR CREST SPECIALITIES    PO BOX 260                                                                   CEDARBURG           WI           53012-0000                             SUPPLIERS OR VENDORS        11/8/2018              $214.08

CEDAR CREST SPECIALITIES    PO BOX 260                                                                   CEDARBURG           WI           53012-0000                             SUPPLIERS OR VENDORS       11/29/2018              $219.27

CEDAR CREST SPECIALITIES    PO BOX 260                                                                   CEDARBURG           WI           53012-0000                             SUPPLIERS OR VENDORS       12/20/2018              $280.99
CEDAR VALLEY LUMBER CO
ALBION LLC                  200 WEST MAIN STREET                                                         ALBION              NE           68620                                  SUPPLIERS OR VENDORS       11/15/2018               $26.75
CELIA HEIKKILA              STORE 738                  SHOPKO EMPLOYEE        PO BOX 10                  PERHAM              MN           56573                                  SUPPLIERS OR VENDORS       12/11/2018               $18.53
CELIA THAO                  1407 KECK AVE                                                                WESTON              WI           54476                                  SUPPLIERS OR VENDORS        11/8/2018               $25.00
CENTENNIAL PROPERTIES
FUND II                     C/O CTL PROPERTY LTD       3709 N HARRISON ST                                DAVENPORT           IA           52806                                  SUPPLIERS OR VENDORS        11/1/2018            $3,500.00
CENTENNIAL PROPERTIES
FUND II                     C/O CTL PROPERTY LTD       3709 N HARRISON ST                                DAVENPORT           IA           52806                                  SUPPLIERS OR VENDORS        12/1/2018            $3,500.00
CENTRAL CITY DISTRIBUTION
CO                          3029 N 112TH STREET                                                          WAUWATOSA           WI           53222                                  SUPPLIERS OR VENDORS       10/24/2018              $452.50
CENTRAL CITY DISTRIBUTION
CO                          3029 N 112TH STREET                                                          WAUWATOSA           WI           53222                                  SUPPLIERS OR VENDORS       10/30/2018              $585.43
CENTRAL CITY DISTRIBUTION
CO                          3029 N 112TH STREET                                                          WAUWATOSA           WI           53222                                  SUPPLIERS OR VENDORS       10/31/2018              $752.70
CENTRAL CITY DISTRIBUTION
CO                          3029 N 112TH STREET                                                          WAUWATOSA           WI           53222                                  SUPPLIERS OR VENDORS        11/2/2018            $3,342.87
CENTRAL CITY DISTRIBUTION
CO                          3029 N 112TH STREET                                                          WAUWATOSA           WI           53222                                  SUPPLIERS OR VENDORS        11/6/2018              $274.30
CENTRAL CITY DISTRIBUTION
CO                          3029 N 112TH STREET                                                          WAUWATOSA           WI           53222                                  SUPPLIERS OR VENDORS        11/7/2018              $320.81
CENTRAL CITY DISTRIBUTION
CO                          3029 N 112TH STREET                                                          WAUWATOSA           WI           53222                                  SUPPLIERS OR VENDORS       11/15/2018              $205.52
CENTRAL CITY DISTRIBUTION
CO                          3029 N 112TH STREET                                                          WAUWATOSA           WI           53222                                  SUPPLIERS OR VENDORS       11/22/2018              $951.32
CENTRAL CITY DISTRIBUTION
CO                          3029 N 112TH STREET                                                          WAUWATOSA           WI           53222                                  SUPPLIERS OR VENDORS       11/26/2018            $2,503.14




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                                                                                                                                                                                   Reasons for payment or    Dates of    Total Amount or
      Creditor Name                   Address1                Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
CENTRAL CITY DISTRIBUTION
CO                          3029 N 112TH STREET                                                           WAUWATOSA           WI           53222                                  SUPPLIERS OR VENDORS      11/27/2018           $2,623.20
CENTRAL CITY DISTRIBUTION
CO                          3029 N 112TH STREET                                                           WAUWATOSA           WI           53222                                  SUPPLIERS OR VENDORS      12/14/2018            $484.48
CENTRAL CITY DISTRIBUTION
CO                          3029 N 112TH STREET                                                           WAUWATOSA           WI           53222                                  SUPPLIERS OR VENDORS      12/20/2018           $4,674.88
CENTRAL CITY DISTRIBUTION
CO                          3029 N 112TH STREET                                                           WAUWATOSA           WI           53222                                  SUPPLIERS OR VENDORS      12/21/2018            $134.65
CENTRAL CITY DISTRIBUTION
CO                          3029 N 112TH STREET                                                           WAUWATOSA           WI           53222                                  SUPPLIERS OR VENDORS      12/27/2018           $2,329.71
CENTRAL CITY H20+           1360 4TH STREET SOUTH                                                         CARRINGTON          ND           58421                                  SUPPLIERS OR VENDORS       11/9/2018              $14.45
CENTRAL CITY H20+           1360 4TH STREET SOUTH                                                         CARRINGTON          ND           58421                                  SUPPLIERS OR VENDORS      12/18/2018              $14.45
CENTRAL DAKOTA
INVESTMENT                  655 N 2ND STREET                                                              CARRINGTON          ND           58421-1614                             SUPPLIERS OR VENDORS      11/10/2018           $4,833.33
CENTRAL DAKOTA
INVESTMENT                  655 N 2ND STREET                                                              CARRINGTON          ND           58421-1614                             SUPPLIERS OR VENDORS       12/8/2018           $4,833.33

CENTRAL LOCK & SECURITY     121 3RD AVE SOUTH                                                             LEWISTOWN           MT           59457                                  SUPPLIERS OR VENDORS       11/1/2018             $55.00
CERTCO INCORPORATED         PO BOX 7368                                                                   MADISON             WI           53707-7368                             SUPPLIERS OR VENDORS      10/19/2018            $135.66
CERTCO INCORPORATED         PO BOX 7368                                                                   MADISON             WI           53707-7368                             SUPPLIERS OR VENDORS      10/20/2018            $135.66
CERTCO INCORPORATED         PO BOX 7368                                                                   MADISON             WI           53707-7368                             SUPPLIERS OR VENDORS      10/24/2018        $140,087.85
CERTCO INCORPORATED         PO BOX 7368                                                                   MADISON             WI           53707-7368                             SUPPLIERS OR VENDORS      10/25/2018          $1,501.20
CERTCO INCORPORATED         PO BOX 7368                                                                   MADISON             WI           53707-7368                             SUPPLIERS OR VENDORS      10/26/2018             $90.44
CERTCO INCORPORATED         PO BOX 7368                                                                   MADISON             WI           53707-7368                             SUPPLIERS OR VENDORS      10/27/2018            $135.66
CERTCO INCORPORATED         PO BOX 7368                                                                   MADISON             WI           53707-7368                             SUPPLIERS OR VENDORS      10/30/2018            $135.66
CERTCO INCORPORATED         PO BOX 7368                                                                   MADISON             WI           53707-7368                             SUPPLIERS OR VENDORS      10/31/2018        $125,212.17
CERTCO INCORPORATED         PO BOX 7368                                                                   MADISON             WI           53707-7368                             SUPPLIERS OR VENDORS       11/6/2018            $710.38
CERTCO INCORPORATED         PO BOX 7368                                                                   MADISON             WI           53707-7368                             SUPPLIERS OR VENDORS       11/7/2018        $140,192.30
CERTCO INCORPORATED         PO BOX 7368                                                                   MADISON             WI           53707-7368                             SUPPLIERS OR VENDORS       11/9/2018            $271.32
CERTCO INCORPORATED         PO BOX 7368                                                                   MADISON             WI           53707-7368                             SUPPLIERS OR VENDORS      11/14/2018        $116,523.44
CERTCO INCORPORATED         PO BOX 7368                                                                   MADISON             WI           53707-7368                             SUPPLIERS OR VENDORS      11/15/2018             $45.22
CERTCO INCORPORATED         PO BOX 7368                                                                   MADISON             WI           53707-7368                             SUPPLIERS OR VENDORS      11/24/2018         $88,807.39
CERTCO INCORPORATED         PO BOX 7368                                                                   MADISON             WI           53707-7368                             SUPPLIERS OR VENDORS      11/27/2018            $180.88
CERTCO INCORPORATED         PO BOX 7368                                                                   MADISON             WI           53707-7368                             SUPPLIERS OR VENDORS      11/28/2018            $960.45
CERTCO INCORPORATED         PO BOX 7368                                                                   MADISON             WI           53707-7368                             SUPPLIERS OR VENDORS       12/4/2018         $91,354.88
CERTCO INCORPORATED         PO BOX 7368                                                                   MADISON             WI           53707-7368                             SUPPLIERS OR VENDORS       12/5/2018         $43,437.40
CERTCO INCORPORATED         PO BOX 7368                                                                   MADISON             WI           53707-7368                             SUPPLIERS OR VENDORS      12/14/2018        $158,826.74
CERTCO INCORPORATED         PO BOX 7368                                                                   MADISON             WI           53707-7368                             SUPPLIERS OR VENDORS      12/18/2018            $226.10
CERTCO INCORPORATED         PO BOX 7368                                                                   MADISON             WI           53707-7368                             SUPPLIERS OR VENDORS      12/19/2018        $140,311.64
CERTCO INCORPORATED         PO BOX 7368                                                                   MADISON             WI           53707-7368                             SUPPLIERS OR VENDORS      12/20/2018         $34,910.06
CERTEGY CHECK SERVICES
INCORPORATED                BANK OF AMERICA             PO BOX 4535                                       CAROL STREAM        IL           60197-4535                             SUPPLIERS OR VENDORS       11/2/2018         $31,155.00
CERTEGY CHECK SERVICES
INCORPORATED                BANK OF AMERICA             PO BOX 4535                                       CAROL STREAM        IL           60197-4535                             SUPPLIERS OR VENDORS       12/8/2018         $31,155.00
CERTEGY CHECK SERVICES
INCORPORATED                BANK OF AMERICA             PO BOX 4535                                       CAROL STREAM        IL           60197-4535                             SUPPLIERS OR VENDORS        1/5/2019         $31,155.00
CG SERVICES LLC             PO BOX 700386                                                                 OOSTBURG            WI           53070-0386                             SUPPLIERS OR VENDORS       11/1/2018          $1,094.04
CGP CANADIAN LTD            361 SUMMIT BLVD SUITE 110                                                     BIRMINGHAM          AL           35243                                  SUPPLIERS OR VENDORS       11/3/2018          $4,425.00
CGP CANADIAN LTD            361 SUMMIT BLVD SUITE 110                                                     BIRMINGHAM          AL           35243                                  SUPPLIERS OR VENDORS      11/15/2018         $25,607.99
CGP CANADIAN LTD            361 SUMMIT BLVD SUITE 110                                                     BIRMINGHAM          AL           35243                                  SUPPLIERS OR VENDORS      11/15/2018         $26,269.30
CGP CANADIAN LTD            361 SUMMIT BLVD SUITE 110                                                     BIRMINGHAM          AL           35243                                  SUPPLIERS OR VENDORS      11/15/2018         $27,083.33
CGP CANADIAN LTD            361 SUMMIT BLVD SUITE 110                                                     BIRMINGHAM          AL           35243                                  SUPPLIERS OR VENDORS      11/15/2018         $28,008.41
CGP CANADIAN LTD            361 SUMMIT BLVD SUITE 110                                                     BIRMINGHAM          AL           35243                                  SUPPLIERS OR VENDORS       12/5/2018          $4,425.00
CGP CANADIAN LTD            361 SUMMIT BLVD SUITE 110                                                     BIRMINGHAM          AL           35243                                  SUPPLIERS OR VENDORS      12/19/2018         $27,083.33



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CGSF FUNDING                                                                                                                                                                   PRESCRIPTION DRUG
CORPORATION             1 POST STREET                                                                  SAN FRANCISCO       CA           94104                                  PURCHASE                   11/21/2018       $6,911,375.94
CGSF FUNDING                                                                                                                                                                   PRESCRIPTION DRUG
CORPORATION             1 POST STREET                                                                  SAN FRANCISCO       CA           94104                                  PURCHASE                    12/7/2018       $3,867,163.42
CGSF FUNDING                                                                                                                                                                   PRESCRIPTION DRUG
CORPORATION             1 POST STREET                                                                  SAN FRANCISCO       CA           94104                                  PURCHASE                   12/10/2018       $4,339,356.87
CGSF FUNDING                                                                                                                                                                   PRESCRIPTION DRUG
CORPORATION             1 POST STREET                                                                  SAN FRANCISCO       CA           94104                                  PURCHASE                   12/13/2018       $2,620,824.94
CGSF FUNDING                                                                                                                                                                   PRESCRIPTION DRUG
CORPORATION             1 POST STREET                                                                  SAN FRANCISCO       CA           94104                                  PURCHASE                   12/14/2018       $4,010,846.43
CGSF FUNDING                                                                                                                                                                   PRESCRIPTION DRUG
CORPORATION             1 POST STREET                                                                  SAN FRANCISCO       CA           94104                                  PURCHASE                   12/17/2018       $4,521,299.87
CGSF FUNDING                                                                                                                                                                   PRESCRIPTION DRUG
CORPORATION             1 POST STREET                                                                  SAN FRANCISCO       CA           94104                                  PURCHASE                   12/20/2018       $2,008,884.15
CGSF FUNDING                                                                                                                                                                   PRESCRIPTION DRUG
CORPORATION             1 POST STREET                                                                  SAN FRANCISCO       CA           94104                                  PURCHASE                   12/21/2018       $3,670,686.64
CGSF FUNDING                                                                                                                                                                   PRESCRIPTION DRUG
CORPORATION             1 POST STREET                                                                  SAN FRANCISCO       CA           94104                                  PURCHASE                   12/24/2018       $4,624,786.26
CH AG LLC               3690 SUMMIT DRIVE                                                              POCATELLO           ID           83201                                  SUPPLIERS OR VENDORS       11/10/2018          $24,844.00
CH AG LLC               3690 SUMMIT DRIVE                                                              POCATELLO           ID           83201                                  SUPPLIERS OR VENDORS        12/8/2018          $24,844.00
CHA VANG                1237 JACKSON STREET                                                            WAUSAU              WI           54403                                  SUPPLIERS OR VENDORS       11/29/2018              $62.00
CHAD BIALKOWSKI         2141 WHEATWAY                                                                  GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS       10/31/2018              $25.00
CHAD BREAKER            507 PEASE ST                                                                   AUGUSTA             WI           54722                                  SUPPLIERS OR VENDORS       12/20/2018               $5.00
CHAD HASKINS            1718 N 76TH                                                                    LINCOLN             NE           68504                                  SUPPLIERS OR VENDORS        12/3/2018               $6.00
CHAD HIGHSTROM          PO BOX 1601                                                                    SIOUX FALLS         SD           57101                                  SUPPLIERS OR VENDORS       12/13/2018              $48.00
CHAD HOYORD             E 2655 BENRUD LANE                                                             EAUCLAIRE           WI           54701                                  SUPPLIERS OR VENDORS       11/26/2018             $102.00
CHAD KONRADI            1910 10TH AVE NE                                                               WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS       11/12/2018              $16.00
CHAD KUSSATZ            STORE 585                    SHOPKO EMPLOYEE        935 3RD STREET SE          MAYVILLE            ND           58257-1630                             SUPPLIERS OR VENDORS        11/2/2018              $98.10
CHAD MICHAELIS          STORE 578                    SHOPKO EMPLOYEE        PO BOX 5275                BUENA VISTA         CO           81211-0000                             SUPPLIERS OR VENDORS       10/19/2018             $327.00
CHAD MOHR               PO BOX 163                                                                     ARLINGTON           SD           57212                                  SUPPLIERS OR VENDORS       12/21/2018              $30.00

CHAD NICKOLAI           1222 FOXGLOVE LN                                                               SHEBOYGAN FALLS WI               53085                                  SUPPLIERS OR VENDORS       11/14/2018             $10.00
CHAD PETERSEN           STORE 104                    SHOPKO EMPLOYEE                                   GREEN BAY       WI               54307-9060                             SUPPLIERS OR VENDORS       10/25/2018            $789.60
CHAD PETERSEN           STORE 104                    SHOPKO EMPLOYEE                                   GREEN BAY       WI               54307-9060                             SUPPLIERS OR VENDORS       11/15/2018            $374.18

CHAD SCHEIBE            W6460 ROCKY MOUNTAIN DR                                                        GREENVILLE          WI           54942                                  SUPPLIERS OR VENDORS       11/26/2018             $69.00
CHAD SLAGLE             STORE 4-026                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/8/2018            $758.75
CHAD TAAKE              2913 PINNACLE DR                                                               NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS       11/26/2018             $25.00
CHAD W TOLMAN           STORE 063                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/29/2018            $416.39
CHAD ZIMMERMAN          4405 WATERFORD                                                                 BELLEVUE            NE           68123                                  SUPPLIERS OR VENDORS       12/10/2018             $33.00

CHADRON LAWN CARE LLC   PO BOX 1018                                                                    CHADRON             NE           69337                                  SUPPLIERS OR VENDORS        12/3/2018            $390.11
CHAFEE COUNTY PUBLIC
HEALTH                  448 E 1ST STREET SUITE 137                                                     SALIDA              CO           81201                                  SUPPLIERS OR VENDORS       11/30/2018            $353.00
CHALMERS CROMER         5600 PIONEERS BLVD           APT 314                                           LINCOLN             NE           68506                                  SUPPLIERS OR VENDORS       11/29/2018             $13.15
CHAMBER OF COMMERCE
AINSWORTH               310 N MAIN ST                                                                  AINSWORTH           NE           69210                                  SUPPLIERS OR VENDORS       11/16/2018            $200.00
CHAMBER OF COMMERCE
AUBURN                  1101 J STREET                                                                  AUBURN              NE           68305                                  SUPPLIERS OR VENDORS       12/21/2018            $315.00
CHAMBER OF COMMERCE
AUDUBON                 800 MARKET STREET                                                              AUDUBON             IA           50025-0000                             SUPPLIERS OR VENDORS       11/13/2018            $525.00
CHAMBER OF COMMERCE
AUSTIN AREA             SUITE 102                    329 N MAIN STREET                                 AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS        11/8/2018             $32.33




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CHAMBER OF COMMERCE
BEATRICE              218 N 5TH                                                                     BEATRICE            NE           68310                                  SUPPLIERS OR VENDORS      12/17/2018            $300.00
CHAMBER OF COMMERCE
CAVALIER              301 DIVISION AVENUE N      PO BOX 271                                         CAVALIER            ND           58220                                  SUPPLIERS OR VENDORS       11/8/2018            $420.00
CHAMBER OF COMMERCE
CHARITON              104 NORTH GRAND STREET                                                        CHARITON            IA           50049                                  SUPPLIERS OR VENDORS       11/6/2018            $150.00
CHAMBER OF COMMERCE
DYERSVILLE            1100 16TH AVENUE SE                                                           DYERSVILLE          IA           52040                                  SUPPLIERS OR VENDORS      10/30/2018            $110.00
CHAMBER OF COMMERCE
ELLSWORTH             PO BOX 927                                                                    ELLSWORTH           WI           54011                                  SUPPLIERS OR VENDORS      12/21/2018            $265.00
CHAMBER OF COMMERCE
FOREST CITY           145 EAST K STREET          PO BOX 306                                         FOREST CITY         IA           50436                                  SUPPLIERS OR VENDORS      10/19/2018            $250.00
CHAMBER OF COMMERCE
GLENWOOD              202 N FRANKLIN STREET      PAM TO ORACLE                                      GLENWOOD            MN           56334                                  SUPPLIERS OR VENDORS      11/10/2018            $800.00
CHAMBER OF COMMERCE
GREYBULL              521 GREYBULL AVENUE                                                           GREYBULL            WY           82426                                  SUPPLIERS OR VENDORS       12/3/2018            $180.00
CHAMBER OF COMMERCE
HOLDREGE              504 4TH AVENUE                                                                HOLDREGE            NE           68949                                  SUPPLIERS OR VENDORS      10/30/2018            $225.00
CHAMBER OF COMMERCE
NORTON                205 SOUTH STATE STREET                                                        NORTON              KS           67654                                  SUPPLIERS OR VENDORS      11/26/2018             $66.00
CHAMBER OF COMMERCE
PARK FALLS            400 4TH AVENUE S                                                              PARK FALLS          WI           54552                                  SUPPLIERS OR VENDORS      10/18/2018            $337.25
CHAMBER OF COMMERCE
REEDSBURG             PO BOX 142                                                                    REEDSBURG           WI           53959                                  SUPPLIERS OR VENDORS      10/18/2018            $283.00
CHAMBER OF COMMERCE
SENECA                PO BOX 135                                                                    SENECA              KS           66538                                  SUPPLIERS OR VENDORS       11/8/2018             $25.00
CHAMBER OF COMMERCE
STANDISH              PO BOX 458                                                                    STANDISH            MI           48658                                  SUPPLIERS OR VENDORS      12/14/2018            $125.00
CHAMBER OF COMMERCE
TOMAHAWK REGIONAL     208 NORTH FOURTH STREET    PO BOX 412                                         TOMAHAWK            WI           54487                                  SUPPLIERS OR VENDORS      10/22/2018            $600.00
CHAMBER OF COMMERCE
TWO HARBORS           1330 HWY 61                                                                   TWO HARBORS         MN           55616                                  SUPPLIERS OR VENDORS      11/27/2018             $83.84
CHAMBER OF COMMERCE
WEST POINT            200 ANNA STALP AVENUE                                                         WEST POINT          NE           68788                                  SUPPLIERS OR VENDORS       12/7/2018            $170.00
CHAMBER OF COMMERCE
WINDOM                303 9TH STREET                                                                WINDOM              MN           56101                                  SUPPLIERS OR VENDORS      10/19/2018            $284.00
CHAMPION POWER
EQUIPMENT             10006 SANTA FE SPRINGS ROAD PAM TO ORACLE                                     SANTA FE SPRINGS CA              90670                                  SUPPLIERS OR VENDORS      10/25/2018         $17,022.07
CHAMPION POWER
EQUIPMENT             10006 SANTA FE SPRINGS ROAD PAM TO ORACLE                                     SANTA FE SPRINGS CA              90670                                  SUPPLIERS OR VENDORS      11/22/2018         $14,674.20
CHAMPION POWER
EQUIPMENT             10006 SANTA FE SPRINGS ROAD PAM TO ORACLE                                     SANTA FE SPRINGS CA              90670                                  SUPPLIERS OR VENDORS      11/29/2018           $4,891.40
CHANEY INSTRUMENT
COMPANY               PO BOX 775494                                                                 CHICAGO             IL           60677-5494                             SUPPLIERS OR VENDORS      10/18/2018           $2,248.52
CHANEY INSTRUMENT
COMPANY               PO BOX 775494                                                                 CHICAGO             IL           60677-5494                             SUPPLIERS OR VENDORS      10/25/2018           $1,368.90
CHANEY INSTRUMENT
COMPANY               PO BOX 775494                                                                 CHICAGO             IL           60677-5494                             SUPPLIERS OR VENDORS       11/1/2018           $2,466.28
CHANEY INSTRUMENT
COMPANY               PO BOX 775494                                                                 CHICAGO             IL           60677-5494                             SUPPLIERS OR VENDORS       11/8/2018            $782.49
CHANEY INSTRUMENT
COMPANY               PO BOX 775494                                                                 CHICAGO             IL           60677-5494                             SUPPLIERS OR VENDORS      11/15/2018           $1,273.35
CHANEY INSTRUMENT
COMPANY               PO BOX 775494                                                                 CHICAGO             IL           60677-5494                             SUPPLIERS OR VENDORS      11/22/2018           $1,610.33



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CHANEY INSTRUMENT
COMPANY                 PO BOX 775494                                                                CHICAGO             IL           60677-5494                             SUPPLIERS OR VENDORS      11/29/2018            $975.25
CHANGE HEALTHCARE LLC   PO BOX 98347                                                                 CHICAGO             IL           60693-8347                             SUPPLIERS OR VENDORS       11/1/2018         $12,815.01
CHANGE HEALTHCARE LLC   PO BOX 98347                                                                 CHICAGO             IL           60693-8347                             SUPPLIERS OR VENDORS      11/29/2018         $12,914.01
CHANGE HEALTHCARE LLC   PO BOX 98347                                                                 CHICAGO             IL           60693-8347                             SUPPLIERS OR VENDORS        1/4/2019         $12,025.42
CHANTEL ROCHIN          2218 ELM ST                                                                  BILLINGS            MT           59101                                  SUPPLIERS OR VENDORS      11/29/2018             $35.00
CHANTILLY BUTTREY       STORE 4-073                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/1/2018            $147.52
CHANTZ THOMPSON         202 18TH ST NE                                                               BENSON              MN           56215                                  SUPPLIERS OR VENDORS      11/12/2018              $7.97
CHAR BROIL              PO BOX 1240                                                                  COLUMBUS            GA           31902-1240                             SUPPLIERS OR VENDORS      10/29/2018         $67,362.68
CHAR BROIL              PO BOX 1240                                                                  COLUMBUS            GA           31902-1240                             SUPPLIERS OR VENDORS       11/1/2018         $49,052.00
CHAR BROIL              PO BOX 1240                                                                  COLUMBUS            GA           31902-1240                             SUPPLIERS OR VENDORS       11/5/2018         $19,779.27
CHAR BROIL              PO BOX 1240                                                                  COLUMBUS            GA           31902-1240                             SUPPLIERS OR VENDORS      11/12/2018          $7,842.41
CHAR BROIL              PO BOX 1240                                                                  COLUMBUS            GA           31902-1240                             SUPPLIERS OR VENDORS      11/16/2018            $401.64
CHAR BROIL              PO BOX 1240                                                                  COLUMBUS            GA           31902-1240                             SUPPLIERS OR VENDORS      11/22/2018          $3,048.48
CHAR BROIL              PO BOX 1240                                                                  COLUMBUS            GA           31902-1240                             SUPPLIERS OR VENDORS      11/23/2018            $110.99
CHAR BROIL              PO BOX 1240                                                                  COLUMBUS            GA           31902-1240                             SUPPLIERS OR VENDORS      11/27/2018         $11,479.32
CHAR BROIL              PO BOX 1240                                                                  COLUMBUS            GA           31902-1240                             SUPPLIERS OR VENDORS       12/3/2018         $15,183.46
CHARISSE PEABODY        6329 E HIGH ST                                                               MILTON              WI           53563                                  SUPPLIERS OR VENDORS      11/26/2018             $39.00
CHARITY KAPLA           306 BIALOZYNSKI RD                                                           PULASKI             WI           54162                                  SUPPLIERS OR VENDORS      11/26/2018             $22.29
CHARLEEN ENGELHART      408 S CONGRESS ST                                                            ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       12/5/2018             $48.64
CHARLENE ANGELETTI      1920 27 AVE                APT 214                                           KENOSHA             WI           53140                                  SUPPLIERS OR VENDORS      12/17/2018             $25.00
CHARLENE GOETZ          4507 125TH AVE                                                               LEDYARD,            IA           50556                                  SUPPLIERS OR VENDORS      10/31/2018              $7.08
CHARLENE GOETZ          4507 125TH AVE                                                               LEDYARD,            IA           50556                                  SUPPLIERS OR VENDORS       11/5/2018             $28.31
CHARLENE JANSSEN        1410 AVE K                                                                   HAWARDEN            IA           51023                                  SUPPLIERS OR VENDORS      11/28/2018              $3.75
CHARLENE JASCHOB        417 E. OGDEN STREET                                                          JEFFERSON           WI           53549                                  SUPPLIERS OR VENDORS       11/5/2018              $2.00
CHARLENE NEUGEBAUER     PO BOX 94                                                                    PARKSTON            SD           57366                                  SUPPLIERS OR VENDORS      11/29/2018             $45.00
CHARLES AMELANG         1015 E. HERMOSA DR.                                                          SIOUX FALLS         SD           57104                                  SUPPLIERS OR VENDORS      10/25/2018             $12.00
CHARLES BROWN           1750 NORTH RACINE STREET                                                     APPLETON            WI           54911                                  SUPPLIERS OR VENDORS      12/13/2018              $3.00
CHARLES BURMASTER       811 LAKE STREET                                                              HILLSBORO           WI           54634                                  SUPPLIERS OR VENDORS       12/3/2018              $4.00
CHARLES CRABB           STORE 010                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        1/5/2019            $407.07
CHARLES CRIST           2881 225TH AVE                                                               NEW AUBURN          WI           54757                                  SUPPLIERS OR VENDORS      11/29/2018              $1.00
CHARLES FORREST         616 E. NORTH ST                                                              DODGEVILLE          WI           53533                                  SUPPLIERS OR VENDORS       12/5/2018             $30.00
CHARLES GAZVODA         41327 STURGEON RIVER RD.                                                     CHASSELL            MI           49916                                  SUPPLIERS OR VENDORS      12/21/2018             $64.37
CHARLES HATHAWAY        P O BOX 422                                                                  ROCKWELL            IA           50469                                  SUPPLIERS OR VENDORS      10/22/2018             $13.90
CHARLES HENDERSON       110 S GRANT ST                                                               LAKE MILLS          IA           50450                                  SUPPLIERS OR VENDORS      10/29/2018             $48.00
CHARLES HENDERSON       110 S GRANT ST                                                               LAKE MILLS          IA           50450                                  SUPPLIERS OR VENDORS       11/5/2018             $12.00
CHARLES KEAGLE          964 NEW HAVEN AVE                                                            FOND DU LAC         WI           54935                                  SUPPLIERS OR VENDORS      10/31/2018             $22.71
CHARLES KOMAR & SONS
INC                     SHOPKO STORES              PO BOX 19060           DISC 05/16/08              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/18/2018            $204.40
CHARLES KOMAR & SONS
INC                     SHOPKO STORES              PO BOX 19060           DISC 05/16/08              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/22/2018         $91,782.80
CHARLES KOMAR & SONS
INC                     SHOPKO STORES              PO BOX 19060           DISC 05/16/08              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/25/2018           $6,748.80
CHARLES KOMAR & SONS
INC                     SHOPKO STORES              PO BOX 19060           DISC 05/16/08              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/7/2018         $10,003.98
CHARLES KOMAR & SONS
INC                     SHOPKO STORES              PO BOX 19060           DISC 05/16/08              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/12/2018         $32,321.30
CHARLES KOMAR & SONS
INC                     SHOPKO STORES              PO BOX 19060           DISC 05/16/08              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/13/2018         $16,082.70
CHARLES KOMAR & SONS
INC                     SHOPKO STORES              PO BOX 19060           DISC 05/16/08              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/14/2018         $23,497.40
CHARLES KOMAR & SONS
INC                     SHOPKO STORES              PO BOX 19060           DISC 05/16/08              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/22/2018         $60,404.60




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                                                                                                                                                                           Reasons for payment or    Dates of    Total Amount or
      Creditor Name                 Address1          Address2                  Address3                   City            State       Zip              Country                   transfer          Payments           Value
CHARLES KOMAR & SONS
INC                     SHOPKO STORES           PO BOX 19060           DISC 05/16/08              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/26/2018           $7,222.80
CHARLES KOMAR & SONS
INC                     SHOPKO STORES           PO BOX 19060           DISC 05/16/08              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/4/2018           $2,746.69
CHARLES KORGER          W1658 STATE RD #156                                                       PULAKSI             WI           54162                                  SUPPLIERS OR VENDORS       12/5/2018               $5.00
                                                                       1026 N INDEPENDENCE
CHARLES LAWRENCE        STORE 537               SHOPKO EMPLOYEE        AVENUE                     BELOIT              KS           67420                                  SUPPLIERS OR VENDORS      10/26/2018            $422.92
                                                                       1026 N INDEPENDENCE
CHARLES LAWRENCE        STORE 537               SHOPKO EMPLOYEE        AVENUE                     BELOIT              KS           67420                                  SUPPLIERS OR VENDORS       11/9/2018            $277.26
                                                                       1026 N INDEPENDENCE
CHARLES LAWRENCE        STORE 537               SHOPKO EMPLOYEE        AVENUE                     BELOIT              KS           67420                                  SUPPLIERS OR VENDORS      12/14/2018            $239.80
CHARLES LEWIS           1011 S 6TH ST                                                             DAYTON              WA           99328                                  SUPPLIERS OR VENDORS      11/28/2018             $13.60
CHARLES LEWIS           1011 S 6TH ST                                                             DAYTON              WA           99328                                  SUPPLIERS OR VENDORS       12/7/2018             $54.40
CHARLES MAROTZ          200 2ND AVE SW                                                            WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS      10/22/2018             $49.00
CHARLES MEINHARDT       225 NORTH HENDREN AVE                                                     GREENWOOD           WI           54437                                  SUPPLIERS OR VENDORS      10/31/2018             $25.00
CHARLES MEYER           233 MAPLEWYNDE RD                                                         WEST BEND           WI           53095                                  SUPPLIERS OR VENDORS       11/2/2018             $30.00
CHARLES NELSON          123 NELSON RD                                                             CRYSTAL FALLS       MI           49920                                  SUPPLIERS OR VENDORS        1/7/2019              $9.76
CHARLES NELSON          123 NELSON RD                                                             CRYSTAL FALLS       MI           49920                                  SUPPLIERS OR VENDORS        1/7/2019             $39.04
CHARLES NIEMUTH         218 W PARADISE                                                            WEST BEND           WI           53095                                  SUPPLIERS OR VENDORS      12/17/2018             $25.00
CHARLES OLESON          48758 268TH ST.                                                           VALLEY SPRINGS      SD           57068                                  SUPPLIERS OR VENDORS      10/26/2018             $76.00
CHARLES RASMUSSEN       230 DIEDRICH ST                                                           KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS      11/16/2018              $6.41
CHARLES RIESTERER       P O BOX 466                                                               SAINT NAZIANZ       WI           54232                                  SUPPLIERS OR VENDORS      11/26/2018             $95.48
CHARLES ROSKOS          3319 ALF COURT                                                            EAU CLAIRE          WI           54701                                  SUPPLIERS OR VENDORS       11/1/2018             $23.76
CHARLES SAWYER          N1920 CTY RD F                                                            PLOVER              WI           54467                                  SUPPLIERS OR VENDORS      10/18/2018             $46.80
CHARLES SESSIONS        PO BOX 546                                                                FORSYTH             MT           59327                                  SUPPLIERS OR VENDORS      11/12/2018             $40.00
CHARLES SUNDIN          1944 RAVENSWOOD LANE                                                      MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS       11/5/2018             $69.00
CHARLES WARD            1924 SYLVAN WAY                                                           WEST BEND           WI           53095                                  SUPPLIERS OR VENDORS       11/1/2018             $30.00
CHARLIE MITCHELL        1425 15TH AVE SE                                                          ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS      11/29/2018             $48.64
CHARLIE STEVEN SHELTS   107 W CHERRY                                                              WINCHESTER          IL           62694                                  SUPPLIERS OR VENDORS       11/9/2018             $45.00
CHARLOTTE ANTHES        116 E PROSPECT AVENUE                                                     TOMAHAWK            WI           54487                                  SUPPLIERS OR VENDORS      11/26/2018             $30.00
CHARLOTTE DAVIDSON      19559 435TH AVE                                                           BRYANT              SD           57221                                  SUPPLIERS OR VENDORS      10/29/2018             $44.16
CHARLOTTE DAVIDSON      19559 435TH AVE                                                           BRYANT              SD           57221                                  SUPPLIERS OR VENDORS      11/30/2018             $24.84
CHARLOTTE FOTH          1033 BRIGHTON DR                                                          MENASHA             WI           54952                                  SUPPLIERS OR VENDORS      10/31/2018              $1.99
CHARLOTTE LANGE         N7239 CTY I                                                               JUNEAU              WI           53039                                  SUPPLIERS OR VENDORS      11/26/2018             $21.96
CHARLOTTE LANGE         N7239 CTY I                                                               JUNEAU              WI           53039                                  SUPPLIERS OR VENDORS      11/26/2018             $39.04
CHARLOTTE PLANTIKOW     1502 18TH AVE S.W                                                         AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS      10/24/2018            $125.00
CHARLOTTE WEYENBERG     N1821 EMERY LANE                                                          KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS      10/22/2018              $9.95
CHARRON LAWN CARE &
SPRINKLER REPAIR        KYLE CHARRON            43646 CALLAWAY RD                                 BROKEN BOW          NE           68822                                  SUPPLIERS OR VENDORS      10/19/2018           $1,130.00
CHARRON LAWN CARE &
SPRINKLER REPAIR        KYLE CHARRON            43646 CALLAWAY RD                                 BROKEN BOW          NE           68822                                  SUPPLIERS OR VENDORS      11/30/2018            $320.00
CHAS LEVY CIRCULATING
COMPANY                 SEE 9039808                                                               CHICAGO             IL           60675-6427                             SUPPLIERS OR VENDORS      10/26/2018        $138,362.02
CHAS LEVY CIRCULATING
COMPANY                 SEE 9039808                                                               CHICAGO             IL           60675-6427                             SUPPLIERS OR VENDORS       11/2/2018        $124,671.89
CHAS LEVY CIRCULATING
COMPANY                 SEE 9039808                                                               CHICAGO             IL           60675-6427                             SUPPLIERS OR VENDORS       11/9/2018         $22,381.39
CHAS LEVY CIRCULATING
COMPANY                 SEE 9039808                                                               CHICAGO             IL           60675-6427                             SUPPLIERS OR VENDORS      11/16/2018        $204,487.91
CHAS LEVY CIRCULATING
COMPANY                 SEE 9039808                                                               CHICAGO             IL           60675-6427                             SUPPLIERS OR VENDORS      11/30/2018        $973,906.94
CHAS LEVY CIRCULATING
COMPANY                 SEE 9039808                                                               CHICAGO             IL           60675-6427                             SUPPLIERS OR VENDORS       12/1/2018        $279,866.03




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                                                                                                                                                                          Reasons for payment or    Dates of    Total Amount or
      Creditor Name                 Address1         Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
CHAS LEVY CIRCULATING
COMPANY                 SEE 9039808                                                              CHICAGO             IL           60675-6427                             SUPPLIERS OR VENDORS      12/13/2018        $250,226.60
CHAS MCDERMOTT          2085 LOUISBURG RD                                                        CUBA CITY           WI           53807                                  SUPPLIERS OR VENDORS       12/7/2018             $23.00

CHASE SORENSEN          STORE 682              SHOPKO EMPLOYEE        2099 CHATBURN AVENUE HARLAN                    IA           51537-0000                             SUPPLIERS OR VENDORS       11/2/2018            $119.79

CHASE SORENSEN          STORE 682              SHOPKO EMPLOYEE        2099 CHATBURN AVENUE HARLAN                    IA           51537-0000                             SUPPLIERS OR VENDORS       11/9/2018            $139.08

CHASE SORENSEN          STORE 682              SHOPKO EMPLOYEE        2099 CHATBURN AVENUE HARLAN                    IA           51537-0000                             SUPPLIERS OR VENDORS      12/11/2018             $75.76
CHASITY WOYAK           603 16TH ST                                                        MOSINEE                   WI           54455                                  SUPPLIERS OR VENDORS       12/7/2018             $42.00
CHATEAU BODYWEAR USA
INC                     215 ST ZOTIQUE WEST                                                      MONTREAL            QC           H2V 1A2      CANADA                    SUPPLIERS OR VENDORS      10/18/2018           $1,383.55
CHATEAU BODYWEAR USA
INC                     215 ST ZOTIQUE WEST                                                      MONTREAL            QC           H2V 1A2      CANADA                    SUPPLIERS OR VENDORS      10/25/2018         $23,578.20
CHATEAU BODYWEAR USA
INC                     215 ST ZOTIQUE WEST                                                      MONTREAL            QC           H2V 1A2      CANADA                    SUPPLIERS OR VENDORS       11/8/2018         $18,520.86
CHATEAU BODYWEAR USA
INC                     215 ST ZOTIQUE WEST                                                      MONTREAL            QC           H2V 1A2      CANADA                    SUPPLIERS OR VENDORS      11/15/2018         $34,106.10
CHATEAU BODYWEAR USA
INC                     215 ST ZOTIQUE WEST                                                      MONTREAL            QC           H2V 1A2      CANADA                    SUPPLIERS OR VENDORS      11/22/2018           $7,077.00
CHATEAU BODYWEAR USA
INC                     215 ST ZOTIQUE WEST                                                      MONTREAL            QC           H2V 1A2      CANADA                    SUPPLIERS OR VENDORS      11/29/2018           $9,873.46

CHATEAU INTERNATIONAL   CIT GROUP COMMERCIAL
INCORPORATED            SERVICES INC           PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      10/20/2018         $33,102.27

CHATEAU INTERNATIONAL   CIT GROUP COMMERCIAL
INCORPORATED            SERVICES INC           PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      10/26/2018           $1,776.00

CHATEAU INTERNATIONAL   CIT GROUP COMMERCIAL
INCORPORATED            SERVICES INC           PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      10/30/2018           $6,222.00

CHATEAU INTERNATIONAL   CIT GROUP COMMERCIAL
INCORPORATED            SERVICES INC           PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      10/31/2018         $17,652.00

CHATEAU INTERNATIONAL   CIT GROUP COMMERCIAL
INCORPORATED            SERVICES INC           PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       12/1/2018         $13,970.60

CHATEAU INTERNATIONAL   CIT GROUP COMMERCIAL
INCORPORATED            SERVICES INC           PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       12/5/2018           $9,594.84

CHATTEM INCORPORATED    PO BOX 100770                                                            ATLANTA             GA           30384-0770                             SUPPLIERS OR VENDORS      10/19/2018         $69,937.35

CHATTEM INCORPORATED    PO BOX 100770                                                            ATLANTA             GA           30384-0770                             SUPPLIERS OR VENDORS      10/22/2018           $9,631.89

CHATTEM INCORPORATED    PO BOX 100770                                                            ATLANTA             GA           30384-0770                             SUPPLIERS OR VENDORS      10/26/2018         $49,518.40

CHATTEM INCORPORATED    PO BOX 100770                                                            ATLANTA             GA           30384-0770                             SUPPLIERS OR VENDORS      10/29/2018         $13,718.69

CHATTEM INCORPORATED    PO BOX 100770                                                            ATLANTA             GA           30384-0770                             SUPPLIERS OR VENDORS       11/1/2018         $12,254.25

CHATTEM INCORPORATED    PO BOX 100770                                                            ATLANTA             GA           30384-0770                             SUPPLIERS OR VENDORS       11/2/2018         $33,221.65

CHATTEM INCORPORATED    PO BOX 100770                                                            ATLANTA             GA           30384-0770                             SUPPLIERS OR VENDORS       11/9/2018         $43,345.17



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                                                                                                                                                                             Reasons for payment or    Dates of    Total Amount or
     Creditor Name                Address1              Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value

CHATTEM INCORPORATED    PO BOX 100770                                                               ATLANTA             GA           30384-0770                             SUPPLIERS OR VENDORS      11/12/2018         $26,618.68

CHATTEM INCORPORATED    PO BOX 100770                                                               ATLANTA             GA           30384-0770                             SUPPLIERS OR VENDORS      11/16/2018         $10,014.46

CHATTEM INCORPORATED    PO BOX 100770                                                               ATLANTA             GA           30384-0770                             SUPPLIERS OR VENDORS      11/22/2018         $35,785.27

CHATTEM INCORPORATED    PO BOX 100770                                                               ATLANTA             GA           30384-0770                             SUPPLIERS OR VENDORS      11/23/2018         $42,640.47

CHATTEM INCORPORATED    PO BOX 100770                                                               ATLANTA             GA           30384-0770                             SUPPLIERS OR VENDORS      11/26/2018         $16,368.52

CHATTEM INCORPORATED    PO BOX 100770                                                               ATLANTA             GA           30384-0770                             SUPPLIERS OR VENDORS      11/28/2018         $10,399.02

CHATTEM INCORPORATED    PO BOX 100770                                                               ATLANTA             GA           30384-0770                             SUPPLIERS OR VENDORS      11/30/2018         $27,726.88

CHATTEM INCORPORATED    PO BOX 100770                                                               ATLANTA             GA           30384-0770                             SUPPLIERS OR VENDORS      12/18/2018         $93,747.85

CHATTEM INCORPORATED    PO BOX 100770                                                               ATLANTA             GA           30384-0770                             SUPPLIERS OR VENDORS      12/21/2018         $63,754.82

CHE CORREA PHOTOGRAPHY MICHELLE CORREA            745 CHESTNUT STREET                               NEENAH              WI           54956                                  SUPPLIERS OR VENDORS      10/18/2018            $400.00

CHE CORREA PHOTOGRAPHY MICHELLE CORREA            745 CHESTNUT STREET                               NEENAH              WI           54956                                  SUPPLIERS OR VENDORS       11/1/2018           $2,625.00

CHE CORREA PHOTOGRAPHY MICHELLE CORREA            745 CHESTNUT STREET                               NEENAH              WI           54956                                  SUPPLIERS OR VENDORS       11/8/2018           $1,425.00
CHECKPOINT SYSTEMS
INCORPORATED           PO BOX 742884                                                                ATLANTA             GA           30374-2884                             SUPPLIERS OR VENDORS        1/4/2019            $190.10
CHEETAH DIGITAL INC    22807 NETWORK PLACE                                                          CHICAGO             IL           60673-1228                             SUPPLIERS OR VENDORS       11/1/2018         $38,511.57

CHEETAH DIGITAL INC     0                         22807 NETWORK PLACE                               CHICAGO             IL           60673-1228                             SUPPLIERS OR VENDORS      11/16/2018              $1.00
CHEETAH DIGITAL INC     22807 NETWORK PLACE                                                         CHICAGO             IL           60673-1228                             SUPPLIERS OR VENDORS       12/8/2018         $20,957.36
CHELAN-DOUGLAS HEALTH
DISTRICT                200 VALLEY MALL PARKWAY                                                     EAST WENATCHEE WA                98802                                  SUPPLIERS OR VENDORS       12/7/2018             $91.00
CHELSEA JACOBSON        STORE 061                 SHOPKO EMPLOYEE                                   GREEN BAY      WI                54307-9060                             SUPPLIERS OR VENDORS      10/26/2018             $96.16
                                                                         650 W BEAVERBROOK
CHELSEA PETERSON        STORE 632                 SHOPKO EMPLOYEE        AVENUE                     SPOONER             WI           54801-0000                             SUPPLIERS OR VENDORS       11/8/2018             $34.34
CHELSEI REYNAGA         58 E WOODRIDGE DR.                                                          RIVER FALLS         WI           54022                                  SUPPLIERS OR VENDORS      10/29/2018             $25.00
CHELSEY BORAH           STORE 596                 SHOPKO EMPLOYEE        1208 N HIGHWAY 77          DELL RAPIDS         SD           57022                                  SUPPLIERS OR VENDORS      12/22/2018             $76.30
CHELSEY HUFFMAN         STORE 596                 SHOPKO EMPLOYEE        1208 N HIGHWAY 77          DELL RAPIDS         SD           57022                                  SUPPLIERS OR VENDORS       11/8/2018            $292.21

CHELSIE VANDENBLOOMER   N7043 BALLARD RD                                                            SEYMOUR             WI           54165                                  SUPPLIERS OR VENDORS      10/26/2018              $28.90
CHELT DEVELOPMENT LLC   PO BOX 992                                                                  WAUSAU              WI           54403                                  SUPPLIERS OR VENDORS      11/15/2018           $8,864.00
CHELT DEVELOPMENT LLC   PO BOX 992                                                                  WAUSAU              WI           54403                                  SUPPLIERS OR VENDORS      12/19/2018           $8,864.00
CHERI CORPUS            2535 GEMINI RD                                                              GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS      11/14/2018              $69.00
CHERI JOHNSON           306 N. BOLIVAR RD                                                           SPOKANE             WA           99216                                  SUPPLIERS OR VENDORS       12/7/2018               $5.00
CHERI MCCORMICK         N1856 CTY RD A                                                              COLUMBUS            WI           53925                                  SUPPLIERS OR VENDORS      12/10/2018              $28.98
CHERIE DEXTER           3724 N. FARR                                                                SPOKANE             WA           99206                                  SUPPLIERS OR VENDORS       11/5/2018              $24.40
CHERILYNN OELKE         5404 RUSH POINT DRIVE                                                       RUSH CITY           MN           55069                                  SUPPLIERS OR VENDORS      11/26/2018              $30.00
CHERRY CENTRAL          SHOPKO STORES
COOPERATIVE INC         INCORPORATED              PO BOX 19060           DISC 012699                GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/1/2018           $8,946.85
CHERRY CENTRAL          SHOPKO STORES
COOPERATIVE INC         INCORPORATED              PO BOX 19060           DISC 012699                GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/29/2018           $4,342.54
CHERRY GILLESPIE        4705 MALLARD WAY                                                            MISSOULA            MT           59808                                  SUPPLIERS OR VENDORS      11/16/2018              $53.76
CHERRY OPTICAL
INCORPORATED            1640B FIRE LANE DRIVE                                                       GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS      11/16/2018         $24,139.44



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                                                                                                                                                                             Reasons for payment or    Dates of    Total Amount or
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CHERRY OPTICAL
INCORPORATED           1640B FIRE LANE DRIVE                                                        GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS      12/12/2018         $21,017.33
CHERYL BOOGAARD        PO BOX 539                                                                   LESTER PRAIRIE      MN           55354                                  SUPPLIERS OR VENDORS      12/20/2018              $3.06
CHERYL CLARKE          1001 9TH AVE SW                                                              AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS      11/14/2018             $15.00
CHERYL CUMMINGS        315 HILL ST                                                                  RHINELANDER         WI           54501                                  SUPPLIERS OR VENDORS       11/5/2018             $10.00

CHERYL GELHAR          N168 W21700 MAIN ST LOT 125                                                  JACKSON             WI           53037                                  SUPPLIERS OR VENDORS      11/26/2018            $100.00
CHERYL HARTWIG         P.O. BOX 405                                                                 ARGYLE              WI           53504                                  SUPPLIERS OR VENDORS      11/30/2018             $22.50
CHERYL HUDDLESTON      STORE 2-753                 SHOPKO EMPLOYEE       2701 HIGHWAY 18 W          HOT SPRINGS         SD           57747                                  SUPPLIERS OR VENDORS       11/8/2018             $70.85
CHERYL HUDDLESTON      STORE 2-753                 SHOPKO EMPLOYEE       2701 HIGHWAY 18 W          HOT SPRINGS         SD           57747                                  SUPPLIERS OR VENDORS      12/13/2018              $8.35
CHERYL INGALLS         1301 LAKE BREEZE ROAD                                                        OSHKOSH             WI           54904                                  SUPPLIERS OR VENDORS      12/21/2018             $15.00
CHERYL IVERSON         31 ST. CHARLES PLACE                                                         LITTLE CHUTE        WI           54140                                  SUPPLIERS OR VENDORS      10/26/2018             $25.00
CHERYL KUBSH PELTIER   STORE 4-070                 SHOPKO EMPLOYEE                                  GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/1/2018            $110.00

CHERYL LEERHOFF        560 COUNTY RD 1250 EAST                                                      MOUNT STERLING      IL           62353                                  SUPPLIERS OR VENDORS       11/8/2018             $33.61
CHERYL NESPOR          460 COTTONWOOD RT 1                                                          MILFORD             NE           68405                                  SUPPLIERS OR VENDORS      12/17/2018             $74.00
CHERYL PALLAS          1921 SILVER 4W                                                               ASHLAND             NE           68003                                  SUPPLIERS OR VENDORS      12/17/2018             $35.70
CHERYL RISINGER        HR COMPENSATION            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/18/2018             $26.10

CHERYL SCHULTZ         5420 WASHINGTON ST.                                                          WISCONSIN RAPIDS    WI           54494                                  SUPPLIERS OR VENDORS      11/30/2018              $4.10
CHERYL STADLEY         225 9TH ST SE                                                                WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS      11/12/2018              $8.32
CHERYL WASLAND         1210 1ST AVE NE                                                              WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS      11/29/2018              $5.00
CHERYLL BROOKS         STORE 609                  SHOPKO EMPLOYEE        1120 HIGHWAY 67            KIEL                WI           53042-0000                             SUPPLIERS OR VENDORS      12/13/2018            $387.62
CHERYLL BROOKS         STORE 609                  SHOPKO EMPLOYEE        1120 HIGHWAY 67            KIEL                WI           53042-0000                             SUPPLIERS OR VENDORS      12/20/2018             $85.13
                       COCA COLA BOTTLING         4700 SOUTH LEWIS
CHESTERMAN COMPANY     COMPANY                    BLVD                                              SIOUX CITY          IA           51106                                  SUPPLIERS OR VENDORS      10/19/2018         $54,921.29
                       COCA COLA BOTTLING         4700 SOUTH LEWIS
CHESTERMAN COMPANY     COMPANY                    BLVD                                              SIOUX CITY          IA           51106                                  SUPPLIERS OR VENDORS      10/23/2018         $25,476.84
                       COCA COLA BOTTLING         4700 SOUTH LEWIS
CHESTERMAN COMPANY     COMPANY                    BLVD                                              SIOUX CITY          IA           51106                                  SUPPLIERS OR VENDORS      10/26/2018         $21,992.07
                       COCA COLA BOTTLING         4700 SOUTH LEWIS
CHESTERMAN COMPANY     COMPANY                    BLVD                                              SIOUX CITY          IA           51106                                  SUPPLIERS OR VENDORS      10/30/2018           $3,512.94
                       COCA COLA BOTTLING         4700 SOUTH LEWIS
CHESTERMAN COMPANY     COMPANY                    BLVD                                              SIOUX CITY          IA           51106                                  SUPPLIERS OR VENDORS       11/2/2018         $13,357.28
                       COCA COLA BOTTLING         4700 SOUTH LEWIS
CHESTERMAN COMPANY     COMPANY                    BLVD                                              SIOUX CITY          IA           51106                                  SUPPLIERS OR VENDORS       11/6/2018           $1,483.42
                       COCA COLA BOTTLING         4700 SOUTH LEWIS
CHESTERMAN COMPANY     COMPANY                    BLVD                                              SIOUX CITY          IA           51106                                  SUPPLIERS OR VENDORS       11/9/2018           $9,659.59
                       COCA COLA BOTTLING         4700 SOUTH LEWIS
CHESTERMAN COMPANY     COMPANY                    BLVD                                              SIOUX CITY          IA           51106                                  SUPPLIERS OR VENDORS      11/13/2018           $2,110.24
                       COCA COLA BOTTLING         4700 SOUTH LEWIS
CHESTERMAN COMPANY     COMPANY                    BLVD                                              SIOUX CITY          IA           51106                                  SUPPLIERS OR VENDORS      11/16/2018         $10,741.56
                       COCA COLA BOTTLING         4700 SOUTH LEWIS
CHESTERMAN COMPANY     COMPANY                    BLVD                                              SIOUX CITY          IA           51106                                  SUPPLIERS OR VENDORS      11/23/2018         $13,781.20
                       COCA COLA BOTTLING         4700 SOUTH LEWIS
CHESTERMAN COMPANY     COMPANY                    BLVD                                              SIOUX CITY          IA           51106                                  SUPPLIERS OR VENDORS      11/27/2018           $1,899.62
                       COCA COLA BOTTLING         4700 SOUTH LEWIS
CHESTERMAN COMPANY     COMPANY                    BLVD                                              SIOUX CITY          IA           51106                                  SUPPLIERS OR VENDORS      11/30/2018           $8,555.39
                       COCA COLA BOTTLING         4700 SOUTH LEWIS
CHESTERMAN COMPANY     COMPANY                    BLVD                                              SIOUX CITY          IA           51106                                  SUPPLIERS OR VENDORS       12/4/2018           $7,655.78
                       COCA COLA BOTTLING         4700 SOUTH LEWIS
CHESTERMAN COMPANY     COMPANY                    BLVD                                              SIOUX CITY          IA           51106                                  SUPPLIERS OR VENDORS      12/19/2018         $39,009.38
                       COCA COLA BOTTLING         4700 SOUTH LEWIS
CHESTERMAN COMPANY     COMPANY                    BLVD                                              SIOUX CITY          IA           51106                                  SUPPLIERS OR VENDORS      12/20/2018         $11,645.27



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                          COCA COLA BOTTLING        4700 SOUTH LEWIS
CHESTERMAN COMPANY        COMPANY                   BLVD                                              SIOUX CITY          IA           51106                                  SUPPLIERS OR VENDORS      12/21/2018           $4,877.50
                          COCA COLA BOTTLING        4700 SOUTH LEWIS
CHESTERMAN COMPANY        COMPANY                   BLVD                                              SIOUX CITY          IA           51106                                  SUPPLIERS OR VENDORS      12/27/2018         $29,728.49
CHET BICKLEY              55150 830 RD                                                                MADISON             NE           68748                                  SUPPLIERS OR VENDORS       11/5/2018             $25.00
                                                    NORTHFIELD
CHEYENNE TOOLATE          1115 DIANA DRIVE          APARTMENTS #4                                     QUINCY              IL           62305                                  SUPPLIERS OR VENDORS      12/20/2018             $23.00
CHI HOME                  FAROUK SYSTEMS            PO BOX 207204                                     DALLAS              TX           75320                                  SUPPLIERS OR VENDORS      10/25/2018         $14,077.76
CHI HOME                  FAROUK SYSTEMS            PO BOX 207204                                     DALLAS              TX           75320                                  SUPPLIERS OR VENDORS      11/15/2018          $1,444.56
CHIKA NWAKAMA             112 MEADOW VIEW ST                                                          MARSHALL            MN           56258                                  SUPPLIERS OR VENDORS       11/8/2018             $23.00
CHILDRENS APPAREL
NETWORK                   77 SOUTH FIRST STREET                                                       ELIZABETH           NJ           07206-0000                             SUPPLIERS OR VENDORS      10/18/2018         $16,091.43
CHILDRENS APPAREL
NETWORK                   77 SOUTH FIRST STREET                                                       ELIZABETH           NJ           07206-0000                             SUPPLIERS OR VENDORS      10/22/2018         $18,327.00
CHILDRENS APPAREL
NETWORK                   77 SOUTH FIRST STREET                                                       ELIZABETH           NJ           07206-0000                             SUPPLIERS OR VENDORS      10/23/2018           $2,385.00
CHILDRENS APPAREL
NETWORK                   77 SOUTH FIRST STREET                                                       ELIZABETH           NJ           07206-0000                             SUPPLIERS OR VENDORS      10/24/2018         $16,827.00
CHILDRENS APPAREL
NETWORK                   77 SOUTH FIRST STREET                                                       ELIZABETH           NJ           07206-0000                             SUPPLIERS OR VENDORS      10/25/2018         $13,076.10
CHILDRENS APPAREL
NETWORK                   77 SOUTH FIRST STREET                                                       ELIZABETH           NJ           07206-0000                             SUPPLIERS OR VENDORS      10/26/2018         $12,804.00
CHILDRENS APPAREL
NETWORK                   77 SOUTH FIRST STREET                                                       ELIZABETH           NJ           07206-0000                             SUPPLIERS OR VENDORS      10/29/2018           $1,114.20
CHILDRENS APPAREL
NETWORK                   77 SOUTH FIRST STREET                                                       ELIZABETH           NJ           07206-0000                             SUPPLIERS OR VENDORS      10/30/2018         $15,000.00
CHILDRENS APPAREL
NETWORK                   77 SOUTH FIRST STREET                                                       ELIZABETH           NJ           07206-0000                             SUPPLIERS OR VENDORS      10/31/2018            $148.50
CHILDRENS APPAREL
NETWORK                   77 SOUTH FIRST STREET                                                       ELIZABETH           NJ           07206-0000                             SUPPLIERS OR VENDORS       11/1/2018         $11,952.00
CHILDRENS APPAREL
NETWORK                   77 SOUTH FIRST STREET                                                       ELIZABETH           NJ           07206-0000                             SUPPLIERS OR VENDORS       11/2/2018           $6,537.60
CHILDRENS APPAREL
NETWORK                   77 SOUTH FIRST STREET                                                       ELIZABETH           NJ           07206-0000                             SUPPLIERS OR VENDORS       11/5/2018           $6,141.00
CHILDRENS APPAREL
NETWORK                   77 SOUTH FIRST STREET                                                       ELIZABETH           NJ           07206-0000                             SUPPLIERS OR VENDORS      12/11/2018         $11,845.76
CHILDRENS RESOURCE CLUB                             112 WEST 34TH STREET
INCORPORATED              VICE PRESIDENT OF SALES   SUITE 830              PAM TO ORACLE              NEW YORK            NY           10120                                  SUPPLIERS OR VENDORS      10/25/2018           $2,430.00
CHILDRENS RESOURCE CLUB                             112 WEST 34TH STREET
INCORPORATED              VICE PRESIDENT OF SALES   SUITE 830              PAM TO ORACLE              NEW YORK            NY           10120                                  SUPPLIERS OR VENDORS       11/5/2018         $82,712.66
CHILDRENS RESOURCE CLUB                             112 WEST 34TH STREET
INCORPORATED              VICE PRESIDENT OF SALES   SUITE 830              PAM TO ORACLE              NEW YORK            NY           10120                                  SUPPLIERS OR VENDORS       11/9/2018            $288.79
CHILDRENS RESOURCE CLUB                             112 WEST 34TH STREET
INCORPORATED              VICE PRESIDENT OF SALES   SUITE 830              PAM TO ORACLE              NEW YORK            NY           10120                                  SUPPLIERS OR VENDORS      11/12/2018         $17,129.64
CHILDRENS RESOURCE CLUB                             112 WEST 34TH STREET
INCORPORATED              VICE PRESIDENT OF SALES   SUITE 830              PAM TO ORACLE              NEW YORK            NY           10120                                  SUPPLIERS OR VENDORS      11/13/2018           $4,118.00
CHILDRENS RESOURCE CLUB                             112 WEST 34TH STREET
INCORPORATED              VICE PRESIDENT OF SALES   SUITE 830              PAM TO ORACLE              NEW YORK            NY           10120                                  SUPPLIERS OR VENDORS      11/22/2018           $3,707.80
CHILDRENS RESOURCE CLUB                             112 WEST 34TH STREET
INCORPORATED              VICE PRESIDENT OF SALES   SUITE 830              PAM TO ORACLE              NEW YORK            NY           10120                                  SUPPLIERS OR VENDORS      11/26/2018           $5,618.40
CHILDRENS RESOURCE CLUB                             112 WEST 34TH STREET
INCORPORATED              VICE PRESIDENT OF SALES   SUITE 830              PAM TO ORACLE              NEW YORK            NY           10120                                  SUPPLIERS OR VENDORS      11/27/2018           $1,953.00
CHILDRENS RESOURCE CLUB                             112 WEST 34TH STREET
INCORPORATED              VICE PRESIDENT OF SALES   SUITE 830              PAM TO ORACLE              NEW YORK            NY           10120                                  SUPPLIERS OR VENDORS      11/29/2018         $15,329.50



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                                                                                                                                                                                 Reasons for payment or    Dates of    Total Amount or
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CHIPPEWA SEPTIC SERVICE   STEVEN A SIMET              5811 US HIGHWAY 53                                EAU CLAIRE          WI           54701                                  SUPPLIERS OR VENDORS      12/17/2018            $277.73
                          3910 TELEGRAPH ROAD SUITE
CHL NEENAH LLC            200                                                                           BLOOMFIELD HILLS MI              48302                                  SUPPLIERS OR VENDORS       11/1/2018         $52,402.09
                          3910 TELEGRAPH ROAD SUITE
CHL NEENAH LLC            200                                                                           BLOOMFIELD HILLS MI              48302                                  SUPPLIERS OR VENDORS       11/1/2018         $63,662.05
                          3910 TELEGRAPH ROAD SUITE
CHL NEENAH LLC            200                                                                           BLOOMFIELD HILLS MI              48302                                  SUPPLIERS OR VENDORS       12/4/2018         $52,402.09
                          3910 TELEGRAPH ROAD SUITE
CHL NEENAH LLC            200                                                                           BLOOMFIELD HILLS    MI           48302                                  SUPPLIERS OR VENDORS       12/4/2018         $63,662.05
CHLOE KLUNDER             1427 E CHERRY ST                                                              VERMILLION          SD           57069                                  SUPPLIERS OR VENDORS      10/25/2018             $10.00
CHOSEN MANAGEMENT         58 W HURON                                                                    CHICAGO             IL           60610                                  SUPPLIERS OR VENDORS      10/19/2018          $1,740.00
CHOSEN MANAGEMENT         58 W HURON                                                                    CHICAGO             IL           60610                                  SUPPLIERS OR VENDORS      10/23/2018            $870.00
CHOSEN MANAGEMENT         58 W HURON                                                                    CHICAGO             IL           60610                                  SUPPLIERS OR VENDORS      11/29/2018          $2,610.00
CHRIS COMTE               2917 VENUS AVE.                                                               EAU CLAIRE          WI           54703                                  SUPPLIERS OR VENDORS      12/19/2018            $335.27
CHRIS CONNELLY            STORE 105                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/22/2018            $123.33
CHRIS GLENNA              17120 705TH AVE                                                               DASSEL              MN           55325                                  SUPPLIERS OR VENDORS      10/24/2018             $15.30
CHRIS HELSETH             360 MARTIN RD                                                                 HELENA              MT           59602                                  SUPPLIERS OR VENDORS      10/25/2018             $20.00
CHRIS KRIEGER             801 W SAN JOSE LANE                                                           MEQUON              WI           53092                                  SUPPLIERS OR VENDORS      10/25/2018             $15.00
CHRIS LATSHA              6504 W RICH COURT                                                             YAKIMA              WA           98908                                  SUPPLIERS OR VENDORS      11/12/2018             $39.00
CHRIS LINDQUIST           13515 BRADLEY BLVD          APT 203                                           BECKER              MN           55308                                  SUPPLIERS OR VENDORS      10/25/2018             $35.00
CHRIS MORTIER             3630 PAGE DR APT 2                                                            PLOVER              WI           54467                                  SUPPLIERS OR VENDORS       12/7/2018             $25.00
CHRIS ROELKE              546 MANNING ST                                                                COLUMBUS            WI           53925                                  SUPPLIERS OR VENDORS      11/28/2018             $16.00
CHRISANDRA BIERNE         917 27TH AVE NE #312                                                          ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS      11/28/2018             $23.00
CHRISTA SCHOLZ            508 NORTH B STREET                                                            MONMOUTH            IL           61462                                  SUPPLIERS OR VENDORS      11/12/2018             $80.78
                          257 EAST 200 SOUTH SUITE
CHRISTENSEN & JENSEN PC   1100                                                                          SALT LAKE CITY      UT           84111                                  SUPPLIERS OR VENDORS      10/25/2018           $1,385.00

CHRISTENSEN CORPORATION 2501 S FAIRFAX PLACE                                                            DENVER              CO           80222                                  SUPPLIERS OR VENDORS      11/15/2018         $32,800.00

CHRISTENSEN CORPORATION   2501 S FAIRFAX PLACE                                                          DENVER              CO           80222                                  SUPPLIERS OR VENDORS      12/19/2018         $32,800.00
CHRISTIAN WOOD            3734 N 2700 E                                                                 TWIN FALLS          ID           83301                                  SUPPLIERS OR VENDORS      11/16/2018            $120.00
CHRISTINA CURTIS          STORE 4-011                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/8/2018            $292.50
CHRISTINA KALKOFEN        N19064 ORCHARD DRIVE                                                          GOODMAN             WI           54125                                  SUPPLIERS OR VENDORS       11/8/2018             $50.00
CHRISTINA LONIEN          1315 PARKSIDE DRIVE                                                           MARSHALL            MN           56258                                  SUPPLIERS OR VENDORS       12/4/2018             $50.08
CHRISTINA LYNCH           STORE 102                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/29/2018             $62.13
CHRISTINA O'NEILL         150 SHADY LANE 175                                                            KALISPELL           MT           59901                                  SUPPLIERS OR VENDORS       12/3/2018             $20.00
CHRISTINA THOMPSON        1632 OWYHEE ST.                                                               BOISE               ID           83705                                  SUPPLIERS OR VENDORS      12/20/2018             $42.00
CHRISTINA WALTER          3129 STAGECOACH AVE                                                           GREATFALLS          MT           59404                                  SUPPLIERS OR VENDORS      11/26/2018             $43.00
CHRISTINA WOODWORTH       STORE 102                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/18/2018            $128.62
CHRISTINE BOETTCHER       1117 ROCKDALE ST                                                              GREEN BAY           WI           54304                                  SUPPLIERS OR VENDORS      12/13/2018             $25.00
CHRISTINE BROWN           1611 FERN DR                                                                  MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS      12/13/2018             $48.60
CHRISTINE BUSS            5471 PATRIOT DR                                                               MADISON             WI           53718                                  SUPPLIERS OR VENDORS       11/9/2018             $75.00
CHRISTINE COVERT          292 SOUTH 96TH RD                                                             FIRTH               NE           68358                                  SUPPLIERS OR VENDORS      12/19/2018             $32.00
CHRISTINE DOYLE           PO BOX 248                                                                    WABENO              WI           54566                                  SUPPLIERS OR VENDORS       12/3/2018             $10.00
CHRISTINE ENRIGHT         720 W RACINE ST - UNIT A                                                      JEFFERSON           WI           53549                                  SUPPLIERS OR VENDORS      12/20/2018              $2.00

CHRISTINE GROVE-CARLSON 8360 ROUSSEAU RD.                                                               MASS CITY           MI           49948                                  SUPPLIERS OR VENDORS      11/12/2018             $21.60

CHRISTINE GROVE-CARLSON   8360 ROUSSEAU RD.                                                             MASS CITY           MI           49948                                  SUPPLIERS OR VENDORS      11/29/2018             $38.40
CHRISTINE HANKE           APPAREL                     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/27/2018            $172.47
CHRISTINE HERMAN          STORE 4-177                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/15/2018             $19.63
CHRISTINE HOADLEY         14991 MALT ROAD                                                               CALDWELL            ID           83607                                  SUPPLIERS OR VENDORS      10/22/2018             $39.20
CHRISTINE HUEBNER         W6886 SOUTH HWY A                                                             ADELL               WI           53001                                  SUPPLIERS OR VENDORS       11/2/2018             $10.00



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CHRISTINE KRAUSE        16073 SHAY LAKE RD                                                            TOWNSEND            WI           54175                                  SUPPLIERS OR VENDORS         12/7/2018               $45.00
CHRISTINE LORMIS        310 N. FINCH                                                                  HORICON             WI           53032                                  SUPPLIERS OR VENDORS        11/26/2018               $25.00
CHRISTINE MCCARTHY      613 SOUTH 67TH STREET1                                                        OMAHA               NE           68106                                  SUPPLIERS OR VENDORS        10/22/2018               $23.00
CHRISTINE NEUGEBAUER    1901 LOMA LINDA DR LOT 45                                                     MITCHELL            SD           57301                                  SUPPLIERS OR VENDORS        10/29/2018               $30.00
                                                                           1625 E BLASCHKO
CHRISTINE SLABY         STORE 630                   SHOPKO EMPLOYEE        AVENUE                     ARCADIA             WI           54612                                  SUPPLIERS OR VENDORS        11/1/2018               $51.23
                                                                           1625 E BLASCHKO
CHRISTINE SLABY         STORE 630                   SHOPKO EMPLOYEE        AVENUE                     ARCADIA             WI           54612                                  SUPPLIERS OR VENDORS       12/20/2018              $235.21
CHRISTINE SPURR         508 S OHIO                  UNIT C203                                         MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS        11/5/2018               $12.00
CHRISTINE SPURR         508 S OHIO                  UNIT C203                                         MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS        11/5/2018               $48.00
CHRISTINE STEED         2417 ALLISON WAY                                                              SYRACUSE            UT           84075                                  SUPPLIERS OR VENDORS        12/7/2018               $10.00
CHRISTINE THURMOND      1490 QUEENS WAY                                                               EUGENE              OR           97401                                  SUPPLIERS OR VENDORS        11/9/2018               $32.50
CHRISTINE THURMOND      1490 QUEENS WAY                                                               EUGENE              OR           97401                                  SUPPLIERS OR VENDORS        11/9/2018               $92.50
CHRISTINE VROSS         1000 EAST H STREET                                                            IRON MOUNTAIN       MI           49801                                  SUPPLIERS OR VENDORS       11/12/2018                $9.76
CHRISTINE WOODS         PO BOX 1108                                                                   COTTAGE GROVE       OR           97424                                  SUPPLIERS OR VENDORS       10/23/2018              $294.00
CHRISTINEA HERNANDEZ    STORE 116                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/25/2018              $187.48
CHRISTINEA HERNANDEZ    STORE 116                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/8/2018              $294.30
CHRISTMAS BY KREBS
CORPORATION             8324 STERLING STREET                                                          IRVING              TX           75063-0000                             SUPPLIERS OR VENDORS        11/1/2018           $88,734.29
CHRISTMAS BY KREBS
CORPORATION             8324 STERLING STREET                                                          IRVING              TX           75063-0000                             SUPPLIERS OR VENDORS        11/8/2018           $31,909.40
CHRISTOFER COLE         1441 GARFIELD AVE                                                             MARINETTE           WI           54143                                  SUPPLIERS OR VENDORS        12/7/2018               $30.00
CHRISTOPHER BAUER       6782 W THORNAPPLE DR                                                          JANESVILLE          WI           53548                                  SUPPLIERS OR VENDORS        11/9/2018               $60.00
CHRISTOPHER DAILEY      STORE 624                   SHOPKO EMPLOYEE        PO BOX 308                 L ANSE              MI           49946                                  SUPPLIERS OR VENDORS       11/15/2018              $213.82
CHRISTOPHER DAILEY      STORE 624                   SHOPKO EMPLOYEE        PO BOX 308                 L ANSE              MI           49946                                  SUPPLIERS OR VENDORS       11/22/2018              $473.35
CHRISTOPHER DAILEY      STORE 624                   SHOPKO EMPLOYEE        PO BOX 308                 L ANSE              MI           49946                                  SUPPLIERS OR VENDORS       11/29/2018              $117.79
CHRISTOPHER DAILEY      STORE 624                   SHOPKO EMPLOYEE        PO BOX 308                 L ANSE              MI           49946                                  SUPPLIERS OR VENDORS       12/13/2018              $160.19
CHRISTOPHER DAILEY      STORE 624                   SHOPKO EMPLOYEE        PO BOX 308                 L ANSE              MI           49946                                  SUPPLIERS OR VENDORS       12/20/2018              $239.12
CHRISTOPHER FORD        2414 LIBERTY PLACE                                                            MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS       11/26/2018               $21.00
CHRISTOPHER HYND        STORE 548                   SHOPKO EMPLOYEE        416 US HIGHWAY 59          MAHNOMEN            MN           56442-4630                             SUPPLIERS OR VENDORS       12/22/2018               $33.13
CHRISTOPHER KONOP       4060 SAND BAY POINT ROAD    SHOPKO EMPLOYEE                                   STURGEON BAY        WI           54235                                  SUPPLIERS OR VENDORS       10/18/2018              $201.65
CHRISTOPHER KONOP       4060 SAND BAY POINT ROAD    SHOPKO EMPLOYEE                                   STURGEON BAY        WI           54235                                  SUPPLIERS OR VENDORS        11/1/2018               $46.33
CHRISTOPHER KONOP       4060 SAND BAY POINT ROAD    SHOPKO EMPLOYEE                                   STURGEON BAY        WI           54235                                  SUPPLIERS OR VENDORS       11/15/2018              $349.35
CHRISTOPHER KONOP       4060 SAND BAY POINT ROAD    SHOPKO EMPLOYEE                                   STURGEON BAY        WI           54235                                  SUPPLIERS OR VENDORS       11/29/2018              $491.05
CHRISTOPHER KONOP       4060 SAND BAY POINT ROAD    SHOPKO EMPLOYEE                                   STURGEON BAY        WI           54235                                  SUPPLIERS OR VENDORS        12/6/2018               $54.50
CHRISTOPHER KONOP       4060 SAND BAY POINT ROAD    SHOPKO EMPLOYEE                                   STURGEON BAY        WI           54235                                  SUPPLIERS OR VENDORS       12/20/2018              $300.84

CHRISTOPHER KREJCAREK   1045 28TH ST N                                                                WISCONSIN RAPIDS WI              54494                                  SUPPLIERS OR VENDORS       10/29/2018               $94.49
CHRISTOPHER LANG        6720 OAK ROAD                                                                 VESPER           WI              54489                                  SUPPLIERS OR VENDORS       10/25/2018               $23.00
                                                                           2655 W CHICAGO
CHRISTOPHER LEBUTZKI    STORE 648                   SHOPKO EMPLOYEE        BOULEVARD                  TECUMSEH            MI           49286                                  SUPPLIERS OR VENDORS       10/26/2018              $214.49
                                                                           2655 W CHICAGO
CHRISTOPHER LEBUTZKI    STORE 648                   SHOPKO EMPLOYEE        BOULEVARD                  TECUMSEH            MI           49286                                  SUPPLIERS OR VENDORS       11/27/2018              $294.68
CHRISTOPHER MURAWSKI    5921 SOUTH HARBOR DRIVE                                                       WINNECONNE          WI           54986                                  SUPPLIERS OR VENDORS        11/9/2018               $50.00
CHRISTOPHER NOACK       903 GRIGNON ST                                                                KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS        11/2/2018               $34.00
CHRISTOPHER SEUFZER     PO BOX 5                                                                      LOWELL              WI           53557                                  SUPPLIERS OR VENDORS       10/22/2018               $12.25
CHRISTOPHER STEELE      STORE 2-686                 SHOPKO EMPLOYEE        902 S LOCUST               GLENWOOD            IA           51534-0000                             SUPPLIERS OR VENDORS       10/26/2018              $277.41
CHRISTOPHER STEELE      STORE 2-686                 SHOPKO EMPLOYEE        902 S LOCUST               GLENWOOD            IA           51534-0000                             SUPPLIERS OR VENDORS        11/9/2018              $227.81
CHRISTOPHER STEELE      STORE 2-686                 SHOPKO EMPLOYEE        902 S LOCUST               GLENWOOD            IA           51534-0000                             SUPPLIERS OR VENDORS       11/27/2018              $227.81
CHRISTOPHER STEELE      STORE 2-686                 SHOPKO EMPLOYEE        902 S LOCUST               GLENWOOD            IA           51534-0000                             SUPPLIERS OR VENDORS       11/30/2018              $128.62
CHRISTOPHER STEELE      STORE 2-686                 SHOPKO EMPLOYEE        902 S LOCUST               GLENWOOD            IA           51534-0000                             SUPPLIERS OR VENDORS        12/8/2018              $410.93
CHRISTOPHER STEELE      STORE 2-686                 SHOPKO EMPLOYEE        902 S LOCUST               GLENWOOD            IA           51534-0000                             SUPPLIERS OR VENDORS       12/14/2018              $410.93
CHRISTOPHER STEELE      STORE 2-686                 SHOPKO EMPLOYEE        902 S LOCUST               GLENWOOD            IA           51534-0000                             SUPPLIERS OR VENDORS        1/15/2019              $347.30
CHRISTOPHER WOLF        712 LYNN DRIVE                                                                WEST SALEM          WI           54669                                  SUPPLIERS OR VENDORS       11/29/2018               $29.98



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                                                                                                                                                                                 Reasons for payment or    Dates of     Total Amount or
      Creditor Name                  Address1              Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
CHRISTY REIMER            870 ELMORE ST                                                                GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS        12/14/2018               $25.00
CHRISTY ROACH             426 E 6TH AVE                                                                REDFIELD            SD           57469                                  SUPPLIERS OR VENDORS        11/29/2018               $10.00

CHS AGRI SERVICE CENTER   1016 4TH AVENUE                                                              HOLDREGE            NE           68949                                  SUPPLIERS OR VENDORS       12/17/2018               $63.99
CHUCK HENRY SALES         525 N POPLAR                                                                 SOLOMON             KS           67480                                  SUPPLIERS OR VENDORS        11/9/2018              $784.80
CHUCK HENRY SALES         525 N POPLAR                                                                 SOLOMON             KS           67480                                  SUPPLIERS OR VENDORS       11/30/2018              $392.40
                          EMPLOYEE RELATIONS/STORE
CHUCK JANSSEN             046                        SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/19/2018              $548.04
                          EMPLOYEE RELATIONS/STORE
CHUCK JANSSEN             046                        SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/2/2018            $1,102.28
                          EMPLOYEE RELATIONS/STORE
CHUCK JANSSEN             046                        SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/9/2018              $363.76
                          EMPLOYEE RELATIONS/STORE
CHUCK JANSSEN             046                        SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/16/2018              $359.22
                          EMPLOYEE RELATIONS/STORE
CHUCK JANSSEN             046                        SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/27/2018            $1,011.15
                          EMPLOYEE RELATIONS/STORE
CHUCK JANSSEN             046                        SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/8/2018              $568.79
                          EMPLOYEE RELATIONS/STORE
CHUCK JANSSEN             046                        SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/20/2018            $1,017.20
                          EMPLOYEE RELATIONS/STORE
CHUCK JANSSEN             046                        SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/29/2018              $580.25
                          EMPLOYEE RELATIONS/STORE
CHUCK JANSSEN             046                        SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        1/10/2019              $392.80
CHUMS CHISCO              2424 SOUTH 2570 WEST                                                         SALT LAKE CITY      UT           84119-0000                             SUPPLIERS OR VENDORS       10/18/2018              $146.52
CHUMS CHISCO              2424 SOUTH 2570 WEST                                                         SALT LAKE CITY      UT           84119-0000                             SUPPLIERS OR VENDORS       10/25/2018               $86.58
CHUMS CHISCO              2424 SOUTH 2570 WEST                                                         SALT LAKE CITY      UT           84119-0000                             SUPPLIERS OR VENDORS        11/1/2018               $75.48
CHUMS CHISCO              2424 SOUTH 2570 WEST                                                         SALT LAKE CITY      UT           84119-0000                             SUPPLIERS OR VENDORS        11/8/2018               $97.68
CHUMS CHISCO              2424 SOUTH 2570 WEST                                                         SALT LAKE CITY      UT           84119-0000                             SUPPLIERS OR VENDORS       11/15/2018              $195.36
CHURCH & DWIGHT
COMPANY                   PO BOX 95055                                                                 CHICAGO             IL           60694                                  SUPPLIERS OR VENDORS       10/19/2018           $31,080.55
CHURCH & DWIGHT
COMPANY                   PO BOX 95055                                                                 CHICAGO             IL           60694                                  SUPPLIERS OR VENDORS       10/20/2018           $55,005.86
CHURCH & DWIGHT
COMPANY                   PO BOX 95055                                                                 CHICAGO             IL           60694                                  SUPPLIERS OR VENDORS       10/24/2018            $8,078.81
CHURCH & DWIGHT
COMPANY                   PO BOX 95055                                                                 CHICAGO             IL           60694                                  SUPPLIERS OR VENDORS       10/25/2018           $62,054.55
CHURCH & DWIGHT
COMPANY                   PO BOX 95055                                                                 CHICAGO             IL           60694                                  SUPPLIERS OR VENDORS       10/26/2018            $4,040.97
CHURCH & DWIGHT
COMPANY                   PO BOX 95055                                                                 CHICAGO             IL           60694                                  SUPPLIERS OR VENDORS       10/27/2018           $72,180.06
CHURCH & DWIGHT
COMPANY                   PO BOX 95055                                                                 CHICAGO             IL           60694                                  SUPPLIERS OR VENDORS       10/31/2018            $7,341.11
CHURCH & DWIGHT
COMPANY                   PO BOX 95055                                                                 CHICAGO             IL           60694                                  SUPPLIERS OR VENDORS        11/1/2018           $10,915.01
CHURCH & DWIGHT
COMPANY                   PO BOX 95055                                                                 CHICAGO             IL           60694                                  SUPPLIERS OR VENDORS        11/2/2018           $26,939.64
CHURCH & DWIGHT
COMPANY                   PO BOX 95055                                                                 CHICAGO             IL           60694                                  SUPPLIERS OR VENDORS        11/3/2018           $33,905.47
CHURCH & DWIGHT
COMPANY                   PO BOX 95055                                                                 CHICAGO             IL           60694                                  SUPPLIERS OR VENDORS        11/6/2018           $10,116.22
CHURCH & DWIGHT
COMPANY                   PO BOX 95055                                                                 CHICAGO             IL           60694                                  SUPPLIERS OR VENDORS        11/7/2018           $24,938.49




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CHURCH & DWIGHT
COMPANY                  PO BOX 95055                                                                   CHICAGO             IL           60694                                  SUPPLIERS OR VENDORS       11/9/2018         $55,567.58
CHURCH & DWIGHT
COMPANY                  PO BOX 95055                                                                   CHICAGO             IL           60694                                  SUPPLIERS OR VENDORS      11/10/2018           $4,910.15
CHURCH & DWIGHT
COMPANY                  PO BOX 95055                                                                   CHICAGO             IL           60694                                  SUPPLIERS OR VENDORS      11/16/2018         $34,212.07
CHURCH & DWIGHT
COMPANY                  PO BOX 95055                                                                   CHICAGO             IL           60694                                  SUPPLIERS OR VENDORS      11/17/2018         $14,067.84
CHURCH & DWIGHT
COMPANY                  PO BOX 95055                                                                   CHICAGO             IL           60694                                  SUPPLIERS OR VENDORS      11/24/2018         $72,787.89
CHURCH & DWIGHT
COMPANY                  PO BOX 95055                                                                   CHICAGO             IL           60694                                  SUPPLIERS OR VENDORS      11/28/2018           $7,722.65
CHURCH & DWIGHT
COMPANY                  PO BOX 95055                                                                   CHICAGO             IL           60694                                  SUPPLIERS OR VENDORS      11/29/2018         $17,038.20
CHURCH & DWIGHT
COMPANY                  PO BOX 95055                                                                   CHICAGO             IL           60694                                  SUPPLIERS OR VENDORS      11/30/2018         $35,363.13
CHURCH & DWIGHT
COMPANY                  PO BOX 95055                                                                   CHICAGO             IL           60694                                  SUPPLIERS OR VENDORS       12/1/2018           $7,170.31
CHURCH & DWIGHT
COMPANY                  PO BOX 95055                                                                   CHICAGO             IL           60694                                  SUPPLIERS OR VENDORS       12/5/2018         $18,881.76
CHURCH & DWIGHT
COMPANY                  PO BOX 95055                                                                   CHICAGO             IL           60694                                  SUPPLIERS OR VENDORS       12/6/2018           $1,330.23
CHYMAS MACHINE &
WELDING SHOP INC         206 2ND AVENUE S                                                               TOLEDO              IA           52342                                  SUPPLIERS OR VENDORS      11/10/2018            $711.55
CHYMAS MACHINE &
WELDING SHOP INC         206 2ND AVENUE S                                                               TOLEDO              IA           52342                                  SUPPLIERS OR VENDORS      12/14/2018            $722.25
CHYRE MATHER             730 DANVILLE CR                                                                LINCOLN             NE           68510                                  SUPPLIERS OR VENDORS      10/24/2018             $60.85
CHYRE MATHER             730 DANVILLE CR                                                                LINCOLN             NE           68510                                  SUPPLIERS OR VENDORS      10/31/2018             $13.15
CIERRA SHAW              439 W. WASHINGTON                                                              RUSHVILLE           IL           62681                                  SUPPLIERS OR VENDORS      11/15/2018             $60.00
CINDI L SHUPE            STORE 702                    SHOPKO EMPLOYEE        908 E 14TH                 LARNED              KS           67550                                  SUPPLIERS OR VENDORS       11/9/2018            $470.64
CINDI L SHUPE            STORE 702                    SHOPKO EMPLOYEE        908 E 14TH                 LARNED              KS           67550                                  SUPPLIERS OR VENDORS      12/11/2018            $101.69
CINDI ROGERS             STORE 088                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/26/2018             $51.23
CINDI ROGERS             STORE 088                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/2/2018            $350.59
CINDY ANDERSON           STORE 056                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/2/2018            $507.16
CINDY ANDERSON           1549 14TH ST SE                                                                SAINT CLOUD         MN           56304                                  SUPPLIERS OR VENDORS      10/24/2018             $42.00
CINDY BOSS               1540 JACKSON                                                                   BELOIT              WI           53511                                  SUPPLIERS OR VENDORS      11/28/2018            $199.00
CINDY DAVIS              1299 IL RT 73 NORTH                                                            PEARL CITY          IL           61062                                  SUPPLIERS OR VENDORS      10/24/2018             $25.00
CINDY DUNKLEY            613 E. 675 S.                                                                  PROVIDENCE          UT           84332                                  SUPPLIERS OR VENDORS       12/7/2018             $16.00
                         3803 WINDING RIDGE WAY APT
CINDY FRANKLIN           28                                                                             SCHOEFIELD          WI           54476                                  SUPPLIERS OR VENDORS       12/7/2018             $45.00
CINDY HALTER             3013 CLIFFSIDE DR.                                                             LA CROSSE           WI           54601                                  SUPPLIERS OR VENDORS      11/26/2018             $25.00
CINDY MCCLEVE            229 S PINGREE AVE                                                              OGDEN               UT           84404                                  SUPPLIERS OR VENDORS      12/20/2018             $20.02
CINDY MOEN               EMPLOYEE RELATIONS           SHOPKO EMPLOTEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/18/2018            $347.04
CINDY NESGODA            TECHNICAL DESIGNER           SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/26/2018            $186.66
CINDY NESGODA            TECHNICAL DESIGNER           SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/16/2018            $195.42
CINDY NESGODA            TECHNICAL DESIGNER           SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/30/2018             $73.49
CINDY WOOLBRIGHT         2827 S WATERFORD CT                                                            BELOIT              WI           53511                                  SUPPLIERS OR VENDORS       11/9/2018             $39.00
CINTAS FIRE PROTECTION   FAS LOCKBOX 636525           PO BOX 636525                                     CINCINNATI          OH           45263-6525                             SUPPLIERS OR VENDORS       11/1/2018          $7,922.05
CINTAS FIRE PROTECTION   FAS LOCKBOX 636525           PO BOX 636525                                     CINCINNATI          OH           45263-6525                             SUPPLIERS OR VENDORS       11/8/2018             $96.00
CINTAS FIRE PROTECTION   FAS LOCKBOX 636525           PO BOX 636525                                     CINCINNATI          OH           45263-6525                             SUPPLIERS OR VENDORS      11/15/2018            $130.00
CINTAS FIRE PROTECTION   FAS LOCKBOX 636525           PO BOX 636525                                     CINCINNATI          OH           45263-6525                             SUPPLIERS OR VENDORS      11/29/2018         $11,801.63
CISCO SYSTEMS CAPITAL
CORPORATION              PO BOX 742927                                                                  LOS ANGELES         CA           90074-2927                             SUPPLIERS OR VENDORS      10/29/2018         $20,963.69




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CISCO SYSTEMS CAPITAL
CORPORATION              PO BOX 742927                                                                    LOS ANGELES         CA           90074-2927                             SUPPLIERS OR VENDORS      11/28/2018         $19,394.54
CISCO SYSTEMS CAPITAL
CORPORATION              PO BOX 742927                                                                    LOS ANGELES         CA           90074-2927                             SUPPLIERS OR VENDORS      12/21/2018         $16,585.69

CITIBANK                 701 EAST 60TH STREET NORTH                                                       SIOUX FALLS         SD           57104                                  EMPLOYEE BENEFITS         12/10/2018        $235,647.62
                                                        19 GROSVENOR AVE STE
CITY BY CITY             AMERICAN RING COMPANY          555                                               E PROVIDENCE        RI           02914                                  SUPPLIERS OR VENDORS      10/18/2018           $7,461.05
                                                        19 GROSVENOR AVE STE
CITY BY CITY             AMERICAN RING COMPANY          555                                               E PROVIDENCE        RI           02914                                  SUPPLIERS OR VENDORS      10/25/2018         $17,445.50
                                                        19 GROSVENOR AVE STE
CITY BY CITY             AMERICAN RING COMPANY          555                                               E PROVIDENCE        RI           02914                                  SUPPLIERS OR VENDORS       11/1/2018         $21,628.95
                                                        19 GROSVENOR AVE STE
CITY BY CITY             AMERICAN RING COMPANY          555                                               E PROVIDENCE        RI           02914                                  SUPPLIERS OR VENDORS       11/8/2018         $53,332.40
                                                        19 GROSVENOR AVE STE
CITY BY CITY             AMERICAN RING COMPANY          555                                               E PROVIDENCE        RI           02914                                  SUPPLIERS OR VENDORS      11/15/2018           $9,994.25
                                                        19 GROSVENOR AVE STE
CITY BY CITY             AMERICAN RING COMPANY          555                                               E PROVIDENCE        RI           02914                                  SUPPLIERS OR VENDORS      11/22/2018           $7,234.75
                                                        19 GROSVENOR AVE STE
CITY BY CITY             AMERICAN RING COMPANY          555                                               E PROVIDENCE        RI           02914                                  SUPPLIERS OR VENDORS      11/29/2018           $7,535.65
CITY OF ABILENE          419 N BROADWAY                 PO BOX 519                                        ABILENE             KS           67410                                  SUPPLIERS OR VENDORS      10/31/2018              $75.00
                         ATTN CITY OF ADAMS POLICE
CITY OF ADAMS            DEPARTMENT                     PO BOX 1125                                       ADAMS               WI           53910-1125                             SUPPLIERS OR VENDORS      11/26/2018               $5.00
CITY OF ALBANY           106 E CLAY STREET                                                                ALBANY              MO           64402                                  SUPPLIERS OR VENDORS       11/6/2018              $10.00
CITY OF ALBANY           106 E CLAY STREET                                                                ALBANY              MO           64402                                  SUPPLIERS OR VENDORS      12/19/2018           $2,224.22
CITY OF APPLETON         PO BOX 2519                                                                      APPLETON            WI           54912                                  SUPPLIERS OR VENDORS      11/26/2018             $508.50

CITY OF AUSTIN           CITY BUILDING 500 4TH AVE NE                                                     AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS      11/13/2018             $50.00
CITY OF BELLE FOURCHE    511 6TH AVENUE                                                                   BELLE FOURCHE       SD           57717                                  SUPPLIERS OR VENDORS      10/26/2018            $500.00
CITY OF BELLE FOURCHE    511 6TH AVENUE                                                                   BELLE FOURCHE       SD           57717                                  SUPPLIERS OR VENDORS      11/14/2018            $172.00
CITY OF BELLE FOURCHE    511 6TH AVENUE                                                                   BELLE FOURCHE       SD           57717                                  SUPPLIERS OR VENDORS      12/13/2018             $93.30
CITY OF BELLE FOURCHE    ATTN MARLYN POMRENKE
POLICE DEPT              CHIEF OF POLICE                1010 8TH AVE                                      BELLE FOURCHE       SD           57717                                  SUPPLIERS OR VENDORS      11/26/2018            $250.00
CITY OF BELOIT           TREASURERS OFFICE              100 STATE STREET                                  BELOIT              WI           53511                                  SUPPLIERS OR VENDORS       11/1/2018            $335.43
CITY OF BELOIT           119 N HERSHEY AVENUE                                                             BELOIT              KS           67420                                  SUPPLIERS OR VENDORS      11/16/2018             $75.00
CITY OF BLANDING         50 WEST 100 SOUTH                                                                BLANDING            UT           84511                                  SUPPLIERS OR VENDORS      11/26/2018             $15.00
CITY OF BONNERS FERRY    PO BOX 149                                                                       BONNERS FERRY       ID           83805                                  SUPPLIERS OR VENDORS      11/26/2018             $10.00
CITY OF BONNERS FERRY    PO BOX 149                                                                       BONNERS FERRY       ID           83805                                  SUPPLIERS OR VENDORS      11/26/2018            $125.00
CITY OF BROKEN BOW       314 SOUTH 10TH                 PO BOX 504                                        BROKEN BOW          NE           68822                                  SUPPLIERS OR VENDORS      11/26/2018              $4.99
CITY OF BURLINGTON       PO BOX 207                                                                       BURLINGTON          KS           66839                                  SUPPLIERS OR VENDORS      11/16/2018             $75.00
CITY OF CHAMBERLAIN      715 N MAIN STREET                                                                CHAMBERLAIN         SD           57325                                  SUPPLIERS OR VENDORS      10/18/2018            $500.00
CITY OF CHUBBUCK         5160 YELLOWSTONE AVENUE                                                          CHUBBUCK            ID           83202                                  SUPPLIERS OR VENDORS      11/13/2018            $227.88
CITY OF CHUBBUCK         5160 YELLOWSTONE AVENUE                                                          CHUBBUCK            ID           83202                                  SUPPLIERS OR VENDORS      11/30/2018             $25.00
                         255 BROADWAY AVENUE
CITY OF COKATO           SOUTH                          PO BOX 1030                                       COKATO              MN           55321                                  SUPPLIERS OR VENDORS      10/30/2018            $150.00
CITY OF CUSTER           622 CROOK STREET                                                                 CUSTER              SD           57730                                  SUPPLIERS OR VENDORS      10/18/2018            $451.60
CITY OF CUSTER           622 CROOK STREET                                                                 CUSTER              SD           57730                                  SUPPLIERS OR VENDORS      10/26/2018            $500.00
CITY OF CUSTER           622 CROOK STREET                                                                 CUSTER              SD           57730                                  SUPPLIERS OR VENDORS      11/15/2018            $227.09
CITY OF DELAVAN          123 S 2ND STREET                                                                 DELAVAN             WI           53115                                  SUPPLIERS OR VENDORS       11/2/2018            $170.00
CITY OF DELL RAPIDS      PO BOX 10                                                                        DELL RAPIDS         SD           57022                                  SUPPLIERS OR VENDORS      10/26/2018            $500.00
CITY OF DELTA            76 N 200 W                                                                       DELTA               UT           84624-9440                             SUPPLIERS OR VENDORS      10/31/2018            $100.00
CITY OF DILLON           ATTN SANDRA REIS               125 N IDAHO STREET                                DILLON              MT           59725                                  SUPPLIERS OR VENDORS      12/17/2018            $100.00
                                                                                                          EL DORADO
CITY OF EL DORADO SPRINGS 135 W SPRING                                                                    SPRINGS             MO           64774                                  SUPPLIERS OR VENDORS      12/19/2018            $186.09



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                                                                                                                                                                                Reasons for payment or    Dates of     Total Amount or
       Creditor Name               Address1               Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
CITY OF ELY             PO BOX 299                                                                    ELY                 NV           89301                                  SUPPLIERS OR VENDORS         11/7/2018              $722.90
CITY OF GLENWOOD        137 E MINNESOTA AVENUE                                                        GLENWOOD            MN           56334                                  SUPPLIERS OR VENDORS        10/26/2018              $100.00
CITY OF GRAND ISLAND    PO BOX 1968                                                                   GRAND ISLAND        NE           68802-1968                             SUPPLIERS OR VENDORS        10/19/2018               $62.67
CITY OF GRAND ISLAND    PO BOX 1968                                                                   GRAND ISLAND        NE           68802-1968                             SUPPLIERS OR VENDORS        11/19/2018               $50.91
CITY OF GRAND ISLAND    PO BOX 1968                                                                   GRAND ISLAND        NE           68802-1968                             SUPPLIERS OR VENDORS        12/19/2018               $51.31
CITY OF GREAT FALLS     GREAT FALLS FIRE RESCUE     PO BOX 5021                                       GREAT FALLS         MT           59403                                  SUPPLIERS OR VENDORS        12/10/2018              $207.00
                        DIVISION OF BUILDING
CITY OF GREEN BAY       INSPECTION                  100 N JEFFERSON                                   GREEN BAY           WI           54301-5026                             SUPPLIERS OR VENDORS       10/29/2018              $120.00
                        DIVISION OF BUILDING
CITY OF GREEN BAY       INSPECTION                  100 N JEFFERSON                                   GREEN BAY           WI           54301-5026                             SUPPLIERS OR VENDORS       12/19/2018               $30.00
CITY OF HARDIN          406 N CHEYENNE                                                                HARDIN              MT           59034                                  SUPPLIERS OR VENDORS       12/13/2018               $50.00
CITY OF HELENA          316 NORTH PARK                                                                HELENA              MT           59623                                  SUPPLIERS OR VENDORS        12/7/2018              $400.00
CITY OF HOT SPRINGS     303 N RIVER                                                                   HOT SPRINGS         SD           57747                                  SUPPLIERS OR VENDORS        11/6/2018              $142.63
CITY OF HOT SPRINGS     303 N RIVER                                                                   HOT SPRINGS         SD           57747                                  SUPPLIERS OR VENDORS        12/7/2018              $160.17
CITY OF HOT SPRINGS     303 N RIVER                                                                   HOT SPRINGS         SD           57747                                  SUPPLIERS OR VENDORS       12/14/2018               $24.00
CITY OF IDAHO FALLS     308 CONSTITUTION WAY        PO BOX 50220                                      IDAHO FALLS         ID           83405                                  SUPPLIERS OR VENDORS       11/26/2018              $250.00
CITY OF JANESVILLE      PO BOX 5005                                                                   JANESVILLE          WI           53547-5005                             SUPPLIERS OR VENDORS       10/26/2018              $229.39
CITY OF JANESVILLE      PO BOX 5005                                                                   JANESVILLE          WI           53547-5005                             SUPPLIERS OR VENDORS        11/8/2018               $60.00
CITY OF LACEY           420 COLLEGE ST SE                                                             LACEY               WA           98503-0000                             SUPPLIERS OR VENDORS       10/25/2018            $3,782.40
CITY OF LARNED          417 BROADWAY STREET                                                           LARNED              KS           67550                                  SUPPLIERS OR VENDORS        11/7/2018               $75.00
CITY OF LEWISTON        PO BOX 617                                                                    LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS        11/8/2018              $330.00
CITY OF LEWISTOWN       305 WEST WATSON STREET                                                        LEWISTOWN           MT           59457                                  SUPPLIERS OR VENDORS       12/10/2018              $340.00
CITY OF LIBERTY         PO BOX 127                                                                    LIBERTY             KY           42539                                  SUPPLIERS OR VENDORS       10/23/2018              $109.50
CITY OF LIVINGSTON      110 SOUTH B STREET                                                            LIVINGSTON          MT           59047                                  SUPPLIERS OR VENDORS       11/30/2018              $560.00
CITY OF LOGAN           BUSINESS LICENSE DIVISION   290 N 100 W                                       LOGAN               UT           84321                                  SUPPLIERS OR VENDORS       12/17/2018              $200.00
CITY OF LUVERNE         203 E MAIN                  PAM TO ORACLE                                     LUVERNE             MN           56156-0659                             SUPPLIERS OR VENDORS        11/2/2018               $70.00
CITY OF LYONS           207 WEST MAIN                                                                 LYONS               KS           67554                                  SUPPLIERS OR VENDORS        12/4/2018               $75.00
CITY OF MAHNOMEN        104 WEST MADISON AVENUE                                                       MAHNOMEN            MN           56557                                  SUPPLIERS OR VENDORS       10/29/2018              $100.00
CITY OF MARINETTE       CITY CLERKS OFFICE          1905 HALL AVENUE                                  MARINETTE           WI           54143                                  SUPPLIERS OR VENDORS       12/13/2018               $15.00
CITY OF MEMPHIS         125 W JEFFERSON                                                               MEMPHIS             MO           63555                                  SUPPLIERS OR VENDORS       12/14/2018               $25.00
CITY OF MOBRIDGE        114 1ST AVENUE EAST                                                           MOBRIDGE            SD           57601                                  SUPPLIERS OR VENDORS        11/2/2018              $502.50
CITY OF MONROE          1110 18TH AVENUE                                                              MONROE              WI           53566                                  SUPPLIERS OR VENDORS       11/15/2018               $77.88
CITY OF MONTICELLO      210 N HAMILTON                                                                MONTICELLO          IL           61856-0437                             SUPPLIERS OR VENDORS        12/7/2018              $750.00
CITY OF MOOSE LAKE      412 4TH STREET              PO BOX 870                                        MOOSE LAKE          MN           55767                                  SUPPLIERS OR VENDORS       10/26/2018              $150.00
CITY OF MORRIS          PO BOX 438                                                                    MORRIS              MN           56267                                  SUPPLIERS OR VENDORS       11/26/2018               $50.00
CITY OF NORTON          PO BOX 160                  PAM TO ORACLE                                     NORTON              KS           67654-0160                             SUPPLIERS OR VENDORS        11/7/2018               $75.00

CITY OF OLDTOWN         215 N WASHINGTON AVENUE                                                       OLDTOWN             ID           83822                                  SUPPLIERS OR VENDORS       10/22/2018              $120.00
CITY OF OROFINO         BOX 312                                                                       OROFINO             ID           83544                                  SUPPLIERS OR VENDORS       12/13/2018               $35.00
CITY OF PHILLIPSBURG    PO BOX 447                                                                    PHILLIPSBURG        KS           67661                                  SUPPLIERS OR VENDORS        11/7/2018              $180.00
CITY OF PIPESTONE       119 2ND AVENUE SOUTH        PAM TO ORACLE                                     PIPESTONE           MN           56164                                  SUPPLIERS OR VENDORS       10/29/2018              $100.00
                                                                                                      PORT
CITY OF PORT WASHINGTON 100 W GRAND AVENUE                                                            WASHINGTON          WI           53074                                  SUPPLIERS OR VENDORS       10/18/2018               $48.00
CITY OF REDFIELD        626 MAIN STREET                                                               REDFIELD            SD           57469                                  SUPPLIERS OR VENDORS       10/26/2018              $500.00
CITY OF RUSSELL         133 WEST 8TH STREET         PO BOX 112                                        RUSSELL             KS           67665-0112                             SUPPLIERS OR VENDORS        11/7/2018               $75.00

CITY OF SAINT JAMES     124 ARMSTRONG BOULEVARD     PAM TO ORACLE                                     SAINT JAMES         MN           56081                                  SUPPLIERS OR VENDORS        11/6/2018               $50.00
CITY OF SALMON          200 MAIN STREET                                                               SALMON              ID           83467                                  SUPPLIERS OR VENDORS       11/30/2018               $35.00
CITY OF SCOTT CITY      221 W 5TH STREET                                                              SCOTT CITY          KS           67871                                  SUPPLIERS OR VENDORS       10/18/2018               $75.00
CITY OF SENECA          PO BOX 40                                                                     SENECA              KS           66538                                  SUPPLIERS OR VENDORS       11/26/2018               $65.00
CITY OF SHEBOYGAN       CITY CLERKS OFFICE          828 CENTER AVENUE                                 SHEBOYGAN           WI           53081-4496                             SUPPLIERS OR VENDORS        11/1/2018              $260.00
CITY OF SHEBOYGAN       CITY CLERKS OFFICE          828 CENTER AVENUE                                 SHEBOYGAN           WI           53081-4496                             SUPPLIERS OR VENDORS       12/17/2018               $25.00
CITY OF SHELBY          112 1ST STREET S                                                              SHELBY              MT           59474-1954                             SUPPLIERS OR VENDORS       12/17/2018              $200.00
CITY OF SIOUX CITY      FINANCE DEPARTMENT          PO BOX 447                                        SIOUX CITY          IA           51102                                  SUPPLIERS OR VENDORS       12/13/2018               $25.00



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                                                                                                                                                                               Reasons for payment or    Dates of    Total Amount or
      Creditor Name               Address1                Address2                  Address3                   City            State       Zip              Country                   transfer          Payments           Value
                        DIVISION OF ENVIRONMENTAL   521 NORTH MAIN
CITY OF SIOUX FALLS     HEALTH                      AVENUE STE 101                                    SIOUX FALLS         SD           57104-0000                             SUPPLIERS OR VENDORS      11/30/2018            $184.00
CITY OF SISSETON        406 2ND AVENUE WEST                                                           SISSETON            SD           57262                                  SUPPLIERS OR VENDORS       11/5/2018            $173.66
CITY OF SISSETON        406 2ND AVENUE WEST                                                           SISSETON            SD           57262                                  SUPPLIERS OR VENDORS       12/7/2018            $169.04
                                                    101 10TH AVENUE
CITY OF ST CLOUD        FIRE / EMERGENCY SERVICES   NORTH                                             ST CLOUD            MN           56303-0000                             SUPPLIERS OR VENDORS      10/26/2018             $45.00
CITY OF ST CLOUD        ATTN CASHIER                400 2ND STREET S                                  ST CLOUD            MN           56301-3699                             SUPPLIERS OR VENDORS       11/6/2018            $276.00
                                                    101 10TH AVENUE
CITY OF ST CLOUD        FIRE / EMERGENCY SERVICES   NORTH                                             ST CLOUD            MN           56303-0000                             SUPPLIERS OR VENDORS       11/7/2018              $45.00
CITY OF STEVENS POINT   1515 STRONGS AVENUE                                                           STEVENS POINT       WI           54481                                  SUPPLIERS OR VENDORS       12/5/2018           $6,671.49
                        1040 HARLEY DAVIDSON WAY
CITY OF STURGIS         STE 103                                                                       STURGIS             SD           57785                                  SUPPLIERS OR VENDORS      10/18/2018            $500.00
                        1040 HARLEY DAVIDSON WAY
CITY OF STURGIS         STE 103                                                                       STURGIS             SD           57785                                  SUPPLIERS OR VENDORS      11/15/2018             $38.06
                        1040 HARLEY DAVIDSON WAY
CITY OF STURGIS         STE 103                                                                       STURGIS             SD           57785                                  SUPPLIERS OR VENDORS      12/13/2018              $37.30
CITY OF TREMONTON       102 SOUTH TREMONT STREET                                                      TREMONTON           UT           84337                                  SUPPLIERS OR VENDORS      12/18/2018              $75.00
CITY OF TUSCOLA         214 N MAIN STREET                                                             TUSCOLA             IL           61953                                  SUPPLIERS OR VENDORS       12/7/2018             $750.00
CITY OF ULYSSES         115 W GRANT AVENUE                                                            ULYSSES             KS           67880                                  SUPPLIERS OR VENDORS       11/8/2018              $75.00
CITY OF UNION GAP       PO BOX 3008                                                                   UNION GAP           WA           98903                                  SUPPLIERS OR VENDORS      10/31/2018              $25.00
CITY OF WAGNER          60 SOUTH MAIN AVENUE                                                          WAGNER              SD           57380                                  SUPPLIERS OR VENDORS      10/18/2018              $33.62
CITY OF WAGNER          60 SOUTH MAIN AVENUE                                                          WAGNER              SD           57380                                  SUPPLIERS OR VENDORS      11/15/2018              $54.80
CITY OF WHITEFISH       PO BOX 158                                                                    WHITEFISH           MT           59937                                  SUPPLIERS OR VENDORS      10/19/2018           $3,201.38
CITY OF WHITEFISH       PO BOX 158                                                                    WHITEFISH           MT           59937                                  SUPPLIERS OR VENDORS      11/19/2018           $2,445.37
CITY OF WHITEFISH       PO BOX 158                                                                    WHITEFISH           MT           59937                                  SUPPLIERS OR VENDORS      11/30/2018             $190.00
CITY OF WHITEFISH       PO BOX 158                                                                    WHITEFISH           MT           59937                                  SUPPLIERS OR VENDORS      12/19/2018           $2,559.41
CITY OF WINNER          217 E 3RD STREET                                                              WINNER              SD           57580-0691                             SUPPLIERS OR VENDORS      10/22/2018             $400.00
CITY OF WOODSTOCK       400 3RD AVE N               PO BOX 98                                         WOODSTOCK           MN           56186                                  SUPPLIERS OR VENDORS      11/26/2018             $101.96
CITY SALES              CT SALES OF IM LLC          PO BOX 158                                        IRON MOUNTAIN       MI           49801                                  SUPPLIERS OR VENDORS       11/2/2018              $40.55
CLAIRE DOUGHERTY        4330 HAVEN COURT                                                              OSHKOSH             WI           54904                                  SUPPLIERS OR VENDORS       11/9/2018              $15.00
CLAIRE SIEBENS          3451 LINDENWOOD STREET                                                        SIOUX CITY          IA           51104                                  SUPPLIERS OR VENDORS      11/26/2018              $52.00
CLARA SCHANCK           2810 CEDAR DR                                                                 PLOVER              WI           54467                                  SUPPLIERS OR VENDORS       12/3/2018               $7.99
CLARENCE CUDA           220 W PINE ST                                                                 DWIGHT              NE           68635                                  SUPPLIERS OR VENDORS      10/25/2018             $519.32
CLARENCE HOPTOWIT       STORE 073                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/25/2018             $640.88
CLARION SUPER FOODS     325 CENTRAL AVENUE W                                                          CLARION             IA           50525                                  SUPPLIERS OR VENDORS      11/12/2018              $40.99
CLARISA RAMIREZ         2070 VINE ST                                                                  GREEN BAY           WI           54302                                  SUPPLIERS OR VENDORS      11/26/2018              $38.35
CLARITY INCORPORATED    224 NORTH PARK AVENUE                                                         FREMONT             NE           68025                                  SUPPLIERS OR VENDORS       11/1/2018           $1,119.25
CLARITY INCORPORATED    224 NORTH PARK AVENUE                                                         FREMONT             NE           68025                                  SUPPLIERS OR VENDORS      11/29/2018           $1,240.25
CLARK GRACYALNY         13808 W STATE HWY 81                                                          BRODHEAD            WI           53520                                  SUPPLIERS OR VENDORS      11/14/2018              $25.00
CLASSIC ACCESSORIES     PO BOX 772959                                                                 CHICAGO             IL           60677-0259                             SUPPLIERS OR VENDORS      10/18/2018             $124.70
CLASSIC ACCESSORIES     PO BOX 772959                                                                 CHICAGO             IL           60677-0259                             SUPPLIERS OR VENDORS      10/25/2018              $40.20
CLASSIC ACCESSORIES     PO BOX 772959                                                                 CHICAGO             IL           60677-0259                             SUPPLIERS OR VENDORS       11/1/2018              $19.40
CLASSIC ACCESSORIES     PO BOX 772959                                                                 CHICAGO             IL           60677-0259                             SUPPLIERS OR VENDORS      11/15/2018              $19.20
CLASSIC ACCESSORIES     PO BOX 772959                                                                 CHICAGO             IL           60677-0259                             SUPPLIERS OR VENDORS      11/22/2018              $93.80
CLASSIC ACCESSORIES     PO BOX 772959                                                                 CHICAGO             IL           60677-0259                             SUPPLIERS OR VENDORS      11/29/2018              $14.20
                        21655 TROLLEY INDUSTRIAL
CLASSIC JERKY COMPANY   DRIVE                                                                         TAYLOR              MI           48180                                  SUPPLIERS OR VENDORS      10/25/2018           $3,344.16
                        21655 TROLLEY INDUSTRIAL
CLASSIC JERKY COMPANY   DRIVE                                                                         TAYLOR              MI           48180                                  SUPPLIERS OR VENDORS       11/1/2018           $3,300.00
                        21655 TROLLEY INDUSTRIAL
CLASSIC JERKY COMPANY   DRIVE                                                                         TAYLOR              MI           48180                                  SUPPLIERS OR VENDORS      11/15/2018           $3,571.20
CLASSIC OPTICAL
LABORATORIES INC        PO BOX 1341                                                                   YOUNGSTOWN          OH           44501                                  SUPPLIERS OR VENDORS      10/18/2018            $979.51




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                                                                                                                                                                                  Reasons for payment or    Dates of    Total Amount or
       Creditor Name                 Address1                Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
CLASSIC OPTICAL
LABORATORIES INC           PO BOX 1341                                                                   YOUNGSTOWN          OH           44501                                  SUPPLIERS OR VENDORS       11/8/2018           $1,146.99
CLAUDE MECHAM              PO BOX 70                                                                     FIRTH               ID           83236                                  SUPPLIERS OR VENDORS       12/5/2018             $108.60
CLAUDE TAYLOR              307 E MELGARD RD APT #201                                                     ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS      11/28/2018              $45.00
CLAUDIA MCPHERSON          1021 BLUEBERRY ST                                                             EDGAR               WI           54426                                  SUPPLIERS OR VENDORS      10/29/2018              $10.56
CLAUDIA NOORDYK            418 W. PARK AVENUE                                                            KIEL                WI           53042                                  SUPPLIERS OR VENDORS       12/3/2018              $25.00
CLAUDIA TORRES             238 N GARFIELD AVE                                                            WENATCHEE           WA           98801                                  SUPPLIERS OR VENDORS       11/5/2018               $1.50

CLAY COUNTY KS TREASURER   712 5TH STREET SUITE 105                                                      CLAY CENTER         KS           67432                                  SUPPLIERS OR VENDORS      12/13/2018         $26,760.45
CLAY PRICKETTE             REPLENISHMENT               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS      12/11/2018             $73.58
CLAYTON MACKAY             4930 SO 1250 W                                                                SALT LAKE CITY      UT           84123                                  SUPPLIERS OR VENDORS      12/14/2018             $26.00
CLAYTON STEEGE             E901 STATE RD 161                                                             IOLA                WI           54945                                  SUPPLIERS OR VENDORS       11/6/2018             $51.75
CLAYTON SWAPP              9008 N 156TH AVE                                                              BENNINGTON          NE           68007                                  SUPPLIERS OR VENDORS      10/26/2018             $25.00
CLIFF CAMERON              BOX 426                                                                       SHEFFIELD           IA           50475                                  SUPPLIERS OR VENDORS      11/30/2018             $48.00
CLIFF CAMERON              BOX 426                                                                       SHEFFIELD           IA           50475                                  SUPPLIERS OR VENDORS      12/17/2018             $12.00
                                                                              44 E MIFFLIN STREET
CLIFFORD & RAIHALA S C     ATTORNEYS AT LAW                                   SUITE 800                  MADISON             WI           53703-2800                             SUPPLIERS OR VENDORS      11/27/2018            $317.92
CLINTONVILLE LUMBER
INCORPORATED               10 5TH STREET                                                                 CLINTONVILLE        WI           54929                                  SUPPLIERS OR VENDORS      11/29/2018             $51.25
CLINTONVILLE TRIBUNE
GAZETTE                    VICE PRESIDENT OF SALES     600 INDUSTRIAL DRIVE                              WAUPACA             WI           54981                                  SUPPLIERS OR VENDORS      10/18/2018            $166.25
CLOROX SALES COMPANY       PO BOX 951015                                                                 DALLAS              TX           75395-1015                             SUPPLIERS OR VENDORS      10/23/2018         $14,576.67
CLOROX SALES COMPANY       PO BOX 951015                                                                 DALLAS              TX           75395-1015                             SUPPLIERS OR VENDORS      10/24/2018          $5,027.28
CLOROX SALES COMPANY       PO BOX 951015                                                                 DALLAS              TX           75395-1015                             SUPPLIERS OR VENDORS      10/25/2018          $3,070.60
CLOROX SALES COMPANY       PO BOX 951015                                                                 DALLAS              TX           75395-1015                             SUPPLIERS OR VENDORS      10/26/2018         $96,135.37
CLOROX SALES COMPANY       PO BOX 951015                                                                 DALLAS              TX           75395-1015                             SUPPLIERS OR VENDORS      10/31/2018          $2,392.04
CLOROX SALES COMPANY       PO BOX 951015                                                                 DALLAS              TX           75395-1015                             SUPPLIERS OR VENDORS       11/1/2018          $6,103.04
CLOROX SALES COMPANY       PO BOX 951015                                                                 DALLAS              TX           75395-1015                             SUPPLIERS OR VENDORS       11/2/2018          $2,145.00
CLOROX SALES COMPANY       PO BOX 951015                                                                 DALLAS              TX           75395-1015                             SUPPLIERS OR VENDORS       11/3/2018          $3,630.00
CLOROX SALES COMPANY       PO BOX 951015                                                                 DALLAS              TX           75395-1015                             SUPPLIERS OR VENDORS       11/7/2018          $2,590.92
CLOROX SALES COMPANY       PO BOX 951015                                                                 DALLAS              TX           75395-1015                             SUPPLIERS OR VENDORS      11/10/2018          $4,247.58
CLOROX SALES COMPANY       PO BOX 951015                                                                 DALLAS              TX           75395-1015                             SUPPLIERS OR VENDORS      11/16/2018         $13,317.87
CLOROX SALES COMPANY       PO BOX 951015                                                                 DALLAS              TX           75395-1015                             SUPPLIERS OR VENDORS      11/17/2018        $177,806.86
CLOROX SALES COMPANY       PO BOX 951015                                                                 DALLAS              TX           75395-1015                             SUPPLIERS OR VENDORS      11/24/2018         $94,207.84
CLOROX SALES COMPANY       PO BOX 951015                                                                 DALLAS              TX           75395-1015                             SUPPLIERS OR VENDORS      11/29/2018          $2,723.61
CLOROX SALES COMPANY       PO BOX 951015                                                                 DALLAS              TX           75395-1015                             SUPPLIERS OR VENDORS      11/30/2018         $17,290.19
CLOROX SALES COMPANY       PO BOX 951015                                                                 DALLAS              TX           75395-1015                             SUPPLIERS OR VENDORS       12/1/2018         $35,987.32
CLOROX SALES COMPANY       PO BOX 951015                                                                 DALLAS              TX           75395-1015                             SUPPLIERS OR VENDORS       12/5/2018            $562.62
CLOROX SALES COMPANY       PO BOX 951015                                                                 DALLAS              TX           75395-1015                             SUPPLIERS OR VENDORS       12/6/2018          $3,632.60
CLOVER TECHNOLOGIES
GROUP LLC                  PO BOX 775576                                                                 CHICAGO             IL           60677-5576                             SUPPLIERS OR VENDORS      10/25/2018         $15,649.68
CLOVER TECHNOLOGIES
GROUP LLC                  PO BOX 775576                                                                 CHICAGO             IL           60677-5576                             SUPPLIERS OR VENDORS       11/1/2018           $2,918.40
CLOVER TECHNOLOGIES
GROUP LLC                  PO BOX 775576                                                                 CHICAGO             IL           60677-5576                             SUPPLIERS OR VENDORS       11/8/2018         $12,460.29
CLOVER TECHNOLOGIES
GROUP LLC                  PO BOX 775576                                                                 CHICAGO             IL           60677-5576                             SUPPLIERS OR VENDORS      11/22/2018          $8,893.81
CLOY ANASTASIO             1417 16TH ST SO                                                               SAINT CLOUD         MN           56301                                  SUPPLIERS OR VENDORS      12/13/2018             $23.00
CLYDE MAKI                 172 TOTASKY LANE                                                              CRYSTAL FALLS       MI           49920                                  SUPPLIERS OR VENDORS      10/22/2018             $62.46
CNL INTERNATIONAL          6600 ARTESIA BLVD                                                             BUENA PARK          CA           90620                                  SUPPLIERS OR VENDORS      12/17/2018          $8,648.00
CO DEPT OF REVENUE         1375 SHERMAN STREET                                                           DENVER              CO           80203                                  SALES/USE TAX             11/20/2018             $20.00
CO DEPT OF REVENUE         1375 SHERMAN STREET                                                           DENVER              CO           80203                                  SALES/USE TAX             11/20/2018             $35.00
CO DEPT OF REVENUE         1375 SHERMAN STREET                                                           DENVER              CO           80203                                  SALES/USE TAX             11/20/2018            $885.00
CO DEPT OF REVENUE         1375 SHERMAN STREET                                                           DENVER              CO           80203                                  SALES/USE TAX             11/20/2018         $38,968.61



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                                                                                                                                                                               Reasons for payment or    Dates of    Total Amount or
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                          RICHARD & RACHELLE
COACHS LAWN SERVICE LLC   STEPHENS                  PO BOX 40                                         BURKE               SD           57523                                  SUPPLIERS OR VENDORS       11/8/2018            $596.40
                          RICHARD & RACHELLE
COACHS LAWN SERVICE LLC   STEPHENS                  PO BOX 40                                         BURKE               SD           57523                                  SUPPLIERS OR VENDORS      11/15/2018            $298.20
                          RICHARD & RACHELLE
COACHS LAWN SERVICE LLC   STEPHENS                  PO BOX 40                                         BURKE               SD           57523                                  SUPPLIERS OR VENDORS      11/29/2018            $596.40
                          DBA MODERN GOURMET        18011 MITCHELL SOUTH
COASTAL COCKTAILS INC     FOODS                     SUITE B                                           IRVINE              CA           92614                                  SUPPLIERS OR VENDORS      11/15/2018        $135,483.77
                                                    3430 TORINGDON WAY
COATS & CLARK             VICE PRESIDENT OF SALES   STE 301                                           CHARLOTTE           NC           28277                                  SUPPLIERS OR VENDORS      10/18/2018           $5,242.80
                                                    3430 TORINGDON WAY
COATS & CLARK             VICE PRESIDENT OF SALES   STE 301                                           CHARLOTTE           NC           28277                                  SUPPLIERS OR VENDORS      10/25/2018           $7,231.92
                                                    3430 TORINGDON WAY
COATS & CLARK             VICE PRESIDENT OF SALES   STE 301                                           CHARLOTTE           NC           28277                                  SUPPLIERS OR VENDORS       11/1/2018           $2,905.22
                                                    3430 TORINGDON WAY
COATS & CLARK             VICE PRESIDENT OF SALES   STE 301                                           CHARLOTTE           NC           28277                                  SUPPLIERS OR VENDORS       11/8/2018         $41,901.02
                                                    3430 TORINGDON WAY
COATS & CLARK             VICE PRESIDENT OF SALES   STE 301                                           CHARLOTTE           NC           28277                                  SUPPLIERS OR VENDORS      11/15/2018         $14,715.52
                                                    3430 TORINGDON WAY
COATS & CLARK             VICE PRESIDENT OF SALES   STE 301                                           CHARLOTTE           NC           28277                                  SUPPLIERS OR VENDORS      11/22/2018           $5,999.04
                                                    3430 TORINGDON WAY
COATS & CLARK             VICE PRESIDENT OF SALES   STE 301                                           CHARLOTTE           NC           28277                                  SUPPLIERS OR VENDORS      11/29/2018         $13,873.74

COBORNS INCORPORATED      PO BOX 1502                                                                 ST CLOUD            MN           56302                                  SUPPLIERS OR VENDORS       11/8/2018            $105.06

COBORNS INCORPORATED      PO BOX 1502                                                                 ST CLOUD            MN           56302                                  SUPPLIERS OR VENDORS      12/17/2018             $42.42
COBURN TECHNOLOGIES
INCORPORATED              PO BOX 842839                                                               BOSTON              MA           02284-2839                             SUPPLIERS OR VENDORS      11/29/2018            $256.84
COCA COLA BOTTLING CO
HIGH COUNTRY              PO BOX 912903                                                               DENVER              CO           80291-2903                             SUPPLIERS OR VENDORS      10/19/2018         $20,560.41
COCA COLA BOTTLING CO
HIGH COUNTRY              PO BOX 912903                                                               DENVER              CO           80291-2903                             SUPPLIERS OR VENDORS      10/26/2018         $44,025.76
COCA COLA BOTTLING CO
HIGH COUNTRY              PO BOX 912903                                                               DENVER              CO           80291-2903                             SUPPLIERS OR VENDORS       11/2/2018         $36,286.43
COCA COLA BOTTLING CO
HIGH COUNTRY              PO BOX 912903                                                               DENVER              CO           80291-2903                             SUPPLIERS OR VENDORS       11/9/2018         $74,803.66
COCA COLA BOTTLING CO
HIGH COUNTRY              PO BOX 912903                                                               DENVER              CO           80291-2903                             SUPPLIERS OR VENDORS      11/15/2018               $9.00
COCA COLA BOTTLING CO
HIGH COUNTRY              PO BOX 912903                                                               DENVER              CO           80291-2903                             SUPPLIERS OR VENDORS      11/16/2018         $81,673.76
COCA COLA BOTTLING CO
HIGH COUNTRY              PO BOX 912903                                                               DENVER              CO           80291-2903                             SUPPLIERS OR VENDORS      11/30/2018         $46,997.67
COCA COLA BOTTLING CO
HIGH COUNTRY              PO BOX 912903                                                               DENVER              CO           80291-2903                             SUPPLIERS OR VENDORS      12/20/2018         $57,823.75
COCA COLA BOTTLING CO
HIGH COUNTRY              PO BOX 912903                                                               DENVER              CO           80291-2903                             SUPPLIERS OR VENDORS      12/21/2018           $3,916.79
COCA COLA BOTTLING CO
HIGH COUNTRY              PO BOX 912903                                                               DENVER              CO           80291-2903                             SUPPLIERS OR VENDORS      12/22/2018            $276.01
COCA COLA BOTTLING CO
HIGH COUNTRY              PO BOX 912903                                                               DENVER              CO           80291-2903                             SUPPLIERS OR VENDORS      12/28/2018         $13,921.11
COCA COLA BOTTLING                                  1502 EAST CARROLL
COMPANY                   VICE PRESIDENT OF SALES   STREET                                            TULLAHOMA           TN           37388                                  SUPPLIERS OR VENDORS      10/18/2018            $232.95
COCA COLA BOTTLING
COMPANY                   FILE 53158                                                                  LOS ANGELES         CA           90074-3158                             SUPPLIERS OR VENDORS      10/18/2018         $23,296.56



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COCA COLA BOTTLING                                1502 EAST CARROLL
COMPANY                 VICE PRESIDENT OF SALES   STREET                                            TULLAHOMA           TN           37388                                  SUPPLIERS OR VENDORS      11/15/2018            $529.28
COCA COLA BOTTLING
COMPANY                 FILE 53158                                                                  LOS ANGELES         CA           90074-3158                             SUPPLIERS OR VENDORS      11/15/2018         $18,125.06
COCA COLA BOTTLING                                1502 EAST CARROLL
COMPANY                 VICE PRESIDENT OF SALES   STREET                                            TULLAHOMA           TN           37388                                  SUPPLIERS OR VENDORS      12/19/2018           $1,586.68
COCA COLA BOTTLING
COMPANY                 FILE 53158                                                                  LOS ANGELES         CA           90074-3158                             SUPPLIERS OR VENDORS      12/19/2018         $22,009.95
COCA COLA BOTTLING                                1502 EAST CARROLL
COMPANY                 VICE PRESIDENT OF SALES   STREET                                            TULLAHOMA           TN           37388                                  SUPPLIERS OR VENDORS      12/20/2018               $2.64
COCA COLA BOTTLING
COMPANY                 FILE 53158                                                                  LOS ANGELES         CA           90074-3158                             SUPPLIERS OR VENDORS      12/21/2018           $1,687.14
COCA COLA BOTTLING
COMPANY                 FILE 53158                                                                  LOS ANGELES         CA           90074-3158                             SUPPLIERS OR VENDORS      12/27/2018            $948.06

COCA COLA BOTTLING
COMPANY CONSOLIDATED    LEBANON SALES CENTER      PO BOX 751257          PAM TO ORACLE              CHARLOTTE           NC           28275-1257                             SUPPLIERS OR VENDORS      10/19/2018            $573.03

COCA COLA BOTTLING
COMPANY CONSOLIDATED    LEBANON SALES CENTER      PO BOX 751257          PAM TO ORACLE              CHARLOTTE           NC           28275-1257                             SUPPLIERS OR VENDORS      10/26/2018           $1,340.47

COCA COLA BOTTLING
COMPANY CONSOLIDATED    LEBANON SALES CENTER      PO BOX 751257          PAM TO ORACLE              CHARLOTTE           NC           28275-1257                             SUPPLIERS OR VENDORS      10/30/2018            $283.86

COCA COLA BOTTLING
COMPANY CONSOLIDATED    LEBANON SALES CENTER      PO BOX 751257          PAM TO ORACLE              CHARLOTTE           NC           28275-1257                             SUPPLIERS OR VENDORS       11/6/2018             $26.54

COCA COLA BOTTLING
COMPANY CONSOLIDATED    LEBANON SALES CENTER      PO BOX 751257          PAM TO ORACLE              CHARLOTTE           NC           28275-1257                             SUPPLIERS OR VENDORS      11/13/2018           $1,141.88
COCA COLA BOTTLING OF
DICKINSON               4150 3RD AVENUE WEST                                                        DICKINSON           ND           58601                                  SUPPLIERS OR VENDORS      10/18/2018           $2,698.53
COCA COLA BOTTLING OF
DICKINSON               4150 3RD AVENUE WEST                                                        DICKINSON           ND           58601                                  SUPPLIERS OR VENDORS      11/15/2018           $2,837.42
COCA COLA BOTTLING OF
DICKINSON               4150 3RD AVENUE WEST                                                        DICKINSON           ND           58601                                  SUPPLIERS OR VENDORS      12/19/2018           $1,666.89
COCA COLA BOTTLING OF
DICKINSON               4150 3RD AVENUE WEST                                                        DICKINSON           ND           58601                                  SUPPLIERS OR VENDORS      12/21/2018           $1,192.03
COCA COLA BOTTLING OF
EMPORIA INC             2931 W 15TH AVENUE        PAM TO ORACLE                                     EMPORIA             KS           66801                                  SUPPLIERS OR VENDORS      10/18/2018            $524.31
COCA COLA BOTTLING OF
EMPORIA INC             2931 W 15TH AVENUE        PAM TO ORACLE                                     EMPORIA             KS           66801                                  SUPPLIERS OR VENDORS      11/15/2018            $793.58
COCA COLA BOTTLING OF
EMPORIA INC             2931 W 15TH AVENUE        PAM TO ORACLE                                     EMPORIA             KS           66801                                  SUPPLIERS OR VENDORS      12/19/2018            $605.06
COCA COLA BOTTLING OF
GLASGOW                 109 2ND STREET S                                                            GLASGOW             MT           59230                                  SUPPLIERS OR VENDORS      10/23/2018           $1,003.99
COCA COLA BOTTLING OF
GLASGOW                 109 2ND STREET S                                                            GLASGOW             MT           59230                                  SUPPLIERS OR VENDORS      10/30/2018           $2,718.18
COCA COLA BOTTLING OF
GLASGOW                 109 2ND STREET S                                                            GLASGOW             MT           59230                                  SUPPLIERS OR VENDORS       11/9/2018            $298.00
COCA COLA BOTTLING OF
GLASGOW                 109 2ND STREET S                                                            GLASGOW             MT           59230                                  SUPPLIERS OR VENDORS      11/16/2018            $676.98
COCA COLA BOTTLING OF
GLASGOW                 109 2ND STREET S                                                            GLASGOW             MT           59230                                  SUPPLIERS OR VENDORS      11/23/2018            $218.80




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COCA COLA BOTTLING OF
GLASGOW                  109 2ND STREET S                                                    GLASGOW             MT           59230                                  SUPPLIERS OR VENDORS      11/27/2018            $684.86
COCA COLA BOTTLING OF
GLASGOW                  109 2ND STREET S                                                    GLASGOW             MT           59230                                  SUPPLIERS OR VENDORS       12/4/2018            $473.20
COCA COLA BOTTLING OF
GLASGOW                  109 2ND STREET S                                                    GLASGOW             MT           59230                                  SUPPLIERS OR VENDORS      12/11/2018            $446.56
COCA COLA BOTTLING OF
GLASGOW                  109 2ND STREET S                                                    GLASGOW             MT           59230                                  SUPPLIERS OR VENDORS      12/19/2018            $619.42
COCA COLA BOTTLING OF
GLASGOW                  109 2ND STREET S                                                    GLASGOW             MT           59230                                  SUPPLIERS OR VENDORS      12/20/2018            $143.77
COCA COLA BOTTLING OF
GLASGOW                  109 2ND STREET S                                                    GLASGOW             MT           59230                                  SUPPLIERS OR VENDORS      12/27/2018            $937.28
COCA COLA BOTTLING TRI
CITIES                   PO BOX 2405                                                         PASCO               WA           98301-2405                             SUPPLIERS OR VENDORS      10/18/2018             $84.57
COCA COLA BOTTLING TRI
CITIES                   PO BOX 2405                                                         PASCO               WA           98301-2405                             SUPPLIERS OR VENDORS      10/25/2018            $384.80
COCA COLA BOTTLING TRI
CITIES                   PO BOX 2405                                                         PASCO               WA           98301-2405                             SUPPLIERS OR VENDORS       11/1/2018           $8,434.45
COCA COLA BOTTLING TRI
CITIES                   PO BOX 2405                                                         PASCO               WA           98301-2405                             SUPPLIERS OR VENDORS       11/8/2018            $495.32
COCA COLA BOTTLING TRI
CITIES                   PO BOX 2405                                                         PASCO               WA           98301-2405                             SUPPLIERS OR VENDORS      11/15/2018            $302.91
COCA COLA BOTTLING TRI
CITIES                   PO BOX 2405                                                         PASCO               WA           98301-2405                             SUPPLIERS OR VENDORS      12/19/2018            $486.09
COCA COLA BOTTLING TRI
CITIES                   PO BOX 2405                                                         PASCO               WA           98301-2405                             SUPPLIERS OR VENDORS      12/27/2018           $2,942.23
COCA COLA BOTTLING
WILLISTON                4930 141st Ave NW                                                   Williston           ND           58801                                  SUPPLIERS OR VENDORS      10/18/2018           $1,069.08
COCA COLA BOTTLING
WILLISTON                4930 141st Ave NW                                                   Williston           ND           58801                                  SUPPLIERS OR VENDORS      10/19/2018           $1,243.05
COCA COLA BOTTLING
WILLISTON                4930 141st Ave NW                                                   Williston           ND           58801                                  SUPPLIERS OR VENDORS      10/25/2018            $613.52
COCA COLA BOTTLING
WILLISTON                4930 141st Ave NW                                                   Williston           ND           58801                                  SUPPLIERS OR VENDORS      10/26/2018           $1,105.75
COCA COLA BOTTLING
WILLISTON                4930 141st Ave NW                                                   Williston           ND           58801                                  SUPPLIERS OR VENDORS      10/29/2018             $45.72
COCA COLA BOTTLING
WILLISTON                4930 141st Ave NW                                                   Williston           ND           58801                                  SUPPLIERS OR VENDORS       11/1/2018            $171.94
COCA COLA BOTTLING
WILLISTON                4930 141st Ave NW                                                   Williston           ND           58801                                  SUPPLIERS OR VENDORS       11/2/2018            $677.20
COCA COLA BOTTLING
WILLISTON                4930 141st Ave NW                                                   Williston           ND           58801                                  SUPPLIERS OR VENDORS       11/5/2018            $126.87
COCA COLA BOTTLING
WILLISTON                4930 141st Ave NW                                                   Williston           ND           58801                                  SUPPLIERS OR VENDORS       11/8/2018            $568.84
COCA COLA BOTTLING
WILLISTON                4930 141st Ave NW                                                   Williston           ND           58801                                  SUPPLIERS OR VENDORS       11/9/2018           $1,012.71
COCA COLA BOTTLING
WILLISTON                4930 141st Ave NW                                                   Williston           ND           58801                                  SUPPLIERS OR VENDORS      11/12/2018            $202.96
COCA COLA BOTTLING
WILLISTON                4930 141st Ave NW                                                   Williston           ND           58801                                  SUPPLIERS OR VENDORS      11/15/2018            $248.25
COCA COLA BOTTLING
WILLISTON                4930 141st Ave NW                                                   Williston           ND           58801                                  SUPPLIERS OR VENDORS      11/16/2018            $909.56
COCA COLA BOTTLING
WILLISTON                4930 141st Ave NW                                                   Williston           ND           58801                                  SUPPLIERS OR VENDORS      11/22/2018            $772.09



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COCA COLA BOTTLING
WILLISTON               4930 141st Ave NW                                                    Williston           ND           58801                                  SUPPLIERS OR VENDORS      11/23/2018           $1,156.01
COCA COLA BOTTLING
WILLISTON               4930 141st Ave NW                                                    Williston           ND           58801                                  SUPPLIERS OR VENDORS      11/29/2018             $94.99
COCA COLA BOTTLING
WILLISTON               4930 141st Ave NW                                                    Williston           ND           58801                                  SUPPLIERS OR VENDORS      11/30/2018            $486.91
COCA COLA BOTTLING
WILLISTON               4930 141st Ave NW                                                    Williston           ND           58801                                  SUPPLIERS OR VENDORS       12/3/2018            $129.12
COCA COLA BOTTLING
WILLISTON               4930 141st Ave NW                                                    Williston           ND           58801                                  SUPPLIERS OR VENDORS      12/11/2018           $1,374.03
COCA COLA BOTTLING
WILLISTON               4930 141st Ave NW                                                    Williston           ND           58801                                  SUPPLIERS OR VENDORS      12/19/2018           $1,599.73
COCA COLA BOTTLING
WILLISTON               4930 141st Ave NW                                                    Williston           ND           58801                                  SUPPLIERS OR VENDORS      12/20/2018            $956.31
COCA COLA BOTTLING
WILLISTON               4930 141st Ave NW                                                    Williston           ND           58801                                  SUPPLIERS OR VENDORS      12/21/2018             $69.60
COCA COLA BOTTLING
WILLISTON               4930 141st Ave NW                                                    Williston           ND           58801                                  SUPPLIERS OR VENDORS      12/27/2018            $274.87
COCA COLA BOTTLING
WINONA                  102 FRANKLIN STREET                                                  WINONA              MN           55987                                  SUPPLIERS OR VENDORS      10/18/2018           $1,379.91
COCA COLA BOTTLING
WINONA                  102 FRANKLIN STREET                                                  WINONA              MN           55987                                  SUPPLIERS OR VENDORS      10/25/2018           $9,024.58
COCA COLA BOTTLING
WINONA                  102 FRANKLIN STREET                                                  WINONA              MN           55987                                  SUPPLIERS OR VENDORS       11/1/2018            $922.60
COCA COLA BOTTLING
WINONA                  102 FRANKLIN STREET                                                  WINONA              MN           55987                                  SUPPLIERS OR VENDORS       11/8/2018           $1,749.95
COCA COLA BOTTLING
WINONA                  102 FRANKLIN STREET                                                  WINONA              MN           55987                                  SUPPLIERS OR VENDORS      11/15/2018            $952.85
COCA COLA BOTTLING
WINONA                  102 FRANKLIN STREET                                                  WINONA              MN           55987                                  SUPPLIERS OR VENDORS      11/29/2018            $569.54
COCA COLA BOTTLING
WINONA                  102 FRANKLIN STREET                                                  WINONA              MN           55987                                  SUPPLIERS OR VENDORS      12/20/2018            $149.45
COCA COLA BOTTLING
WINONA                  102 FRANKLIN STREET                                                  WINONA              MN           55987                                  SUPPLIERS OR VENDORS      12/27/2018           $7,381.43
COCA COLA BOTTLING
YAKIMA                  PO BOX 2905                                                          YAKIMA              WA           98907-2905                             SUPPLIERS OR VENDORS      10/18/2018           $2,675.70
COCA COLA BOTTLING
YAKIMA                  PO BOX 2905                                                          YAKIMA              WA           98907-2905                             SUPPLIERS OR VENDORS      10/25/2018           $1,695.63
COCA COLA BOTTLING
YAKIMA                  PO BOX 2905                                                          YAKIMA              WA           98907-2905                             SUPPLIERS OR VENDORS       11/8/2018         $13,902.68
COCA COLA BOTTLING
YAKIMA                  PO BOX 2905                                                          YAKIMA              WA           98907-2905                             SUPPLIERS OR VENDORS      11/15/2018           $2,852.92
COCA COLA BOTTLING
YAKIMA                  PO BOX 2905                                                          YAKIMA              WA           98907-2905                             SUPPLIERS OR VENDORS      11/29/2018            $720.34
COCA COLA BOTTLING
YAKIMA                  PO BOX 2905                                                          YAKIMA              WA           98907-2905                             SUPPLIERS OR VENDORS      12/19/2018           $6,813.24
COCA COLA BOTTLING
YAKIMA                  PO BOX 2905                                                          YAKIMA              WA           98907-2905                             SUPPLIERS OR VENDORS      12/20/2018            $311.51
COCA COLA OF SOUTHERN
UTAH                    PO BOX 2350                                                          CEDAR CITY          UT           84721-2350                             SUPPLIERS OR VENDORS      10/18/2018            $252.76
COCA COLA OF SOUTHERN
UTAH                    PO BOX 2350                                                          CEDAR CITY          UT           84721-2350                             SUPPLIERS OR VENDORS      10/25/2018           $1,257.81
COCA COLA OF SOUTHERN
UTAH                    PO BOX 2350                                                          CEDAR CITY          UT           84721-2350                             SUPPLIERS OR VENDORS       11/1/2018            $327.63



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COCA COLA OF SOUTHERN
UTAH                      PO BOX 2350                                                                     CEDAR CITY          UT           84721-2350                             SUPPLIERS OR VENDORS       11/8/2018             $821.87
COCA COLA OF SOUTHERN
UTAH                      PO BOX 2350                                                                     CEDAR CITY          UT           84721-2350                             SUPPLIERS OR VENDORS      11/15/2018            $1,644.04
COCA COLA OF SOUTHERN
UTAH                      PO BOX 2350                                                                     CEDAR CITY          UT           84721-2350                             SUPPLIERS OR VENDORS      11/22/2018             $463.76
COCA COLA OF SOUTHERN
UTAH                      PO BOX 2350                                                                     CEDAR CITY          UT           84721-2350                             SUPPLIERS OR VENDORS      11/29/2018             $337.87
COCA COLA OF SOUTHERN
UTAH                      PO BOX 2350                                                                     CEDAR CITY          UT           84721-2350                             SUPPLIERS OR VENDORS      12/19/2018             $677.28
COCA COLA OF SOUTHERN
UTAH                      PO BOX 2350                                                                     CEDAR CITY          UT           84721-2350                             SUPPLIERS OR VENDORS      12/27/2018            $1,273.01
COCA COLA REFRESHMENTS
USA INC                   ATTN ACCOUNTS RECEIVABLE      PO BOX 840232                                     DALLAS              TX           75284                                  SUPPLIERS OR VENDORS      11/15/2018             $497.98
COCA COLA REFRESHMENTS
USA INC                   ATTN ACCOUNTS RECEIVABLE      PO BOX 840232                                     DALLAS              TX           75284                                  SUPPLIERS OR VENDORS      11/22/2018             $541.70
COCA COLA REFRESHMENTS
USA INC                   ATTN ACCOUNTS RECEIVABLE      PO BOX 840232                                     DALLAS              TX           75284                                  SUPPLIERS OR VENDORS       12/5/2018             $907.54
COCA COLA REFRESHMENTS
USA INC                   ATTN ACCOUNTS RECEIVABLE      PO BOX 840232                                     DALLAS              TX           75284                                  SUPPLIERS OR VENDORS      12/27/2018             $565.32
                                                        100 DE BARTOLO PLACE
COCCA HOLDINGS LLC        FIDC XXXVI LLC                SUITE 400                                         BOARDMAN            OH           44512                                  SUPPLIERS OR VENDORS       11/1/2018          $12,500.00
                                                        100 DE BARTOLO PLACE
COCCA HOLDINGS LLC        FIDC XXXVI LLC                SUITE 400                                         BOARDMAN            OH           44512                                  SUPPLIERS OR VENDORS       11/1/2018          $30,667.50
                                                        100 DE BARTOLO PLACE
COCCA HOLDINGS LLC        FIDC XXXVI LLC                SUITE 400                                         BOARDMAN            OH           44512                                  SUPPLIERS OR VENDORS       12/1/2018          $12,500.00
                                                        100 DE BARTOLO PLACE
COCCA HOLDINGS LLC        FIDC XXXVI LLC                SUITE 400                                         BOARDMAN            OH           44512                                  SUPPLIERS OR VENDORS       12/1/2018          $30,667.50
CODY HOFFART              STORE 112                     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/25/2018              $96.30
CODY STODDARD             STORE 091                     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/26/2018             $406.51
CODY STODDARD             STORE 091                     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/9/2018             $595.43
CODY STREBLE              547 GREEN ST                                                                    SEYMOUR             WI           54165                                  SUPPLIERS OR VENDORS      11/14/2018              $10.02
                          525 EAST MICHIGAN AVE SUITE
COEUS BLUE LLC            320                                                                             SALINE              MI           48176                                  SUPPLIERS OR VENDORS       11/1/2018            $8,800.00
                          525 EAST MICHIGAN AVE SUITE
COEUS BLUE LLC            320                                                                             SALINE              MI           48176                                  SUPPLIERS OR VENDORS      11/28/2018                $1.00
                          525 EAST MICHIGAN AVE SUITE
COEUS BLUE LLC            320                                                                             SALINE              MI           48176                                  SUPPLIERS OR VENDORS         1/9/2019         $17,600.00

COFFEY COUNTY TREASURER   110 S 6TH STREET ROOM 203                                                       BURLINGTON          KS           66839                                  SUPPLIERS OR VENDORS      12/13/2018            $9,876.63
COKEM INTERNATIONAL
LIMITED                   7617 SOLUTION CENTER                                                            CHICAGO             IL           60677-7006                             SUPPLIERS OR VENDORS      10/18/2018         $922,472.74
COKEM INTERNATIONAL
LIMITED                   7617 SOLUTION CENTER                                                            CHICAGO             IL           60677-7006                             SUPPLIERS OR VENDORS      10/20/2018         $289,100.00
COLD FRONT DISTRIBUTION
LLC                       7301 FEDERAL BLVD SUITE 200                                                     WESTMINSTER         CO           80030                                  SUPPLIERS OR VENDORS      10/18/2018          $38,810.40
COLD FRONT DISTRIBUTION
LLC                       7301 FEDERAL BLVD SUITE 200                                                     WESTMINSTER         CO           80030                                  SUPPLIERS OR VENDORS      10/25/2018          $40,808.52
COLD FRONT DISTRIBUTION
LLC                       7301 FEDERAL BLVD SUITE 200                                                     WESTMINSTER         CO           80030                                  SUPPLIERS OR VENDORS       11/1/2018            $7,921.20
COLD FRONT DISTRIBUTION
LLC                       7301 FEDERAL BLVD SUITE 200                                                     WESTMINSTER         CO           80030                                  SUPPLIERS OR VENDORS       11/8/2018            $1,718.16
COLD FRONT DISTRIBUTION
LLC                       7301 FEDERAL BLVD SUITE 200                                                     WESTMINSTER         CO           80030                                  SUPPLIERS OR VENDORS      11/15/2018            $2,783.76



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                                                                                                                                                                                    Reasons for payment or    Dates of    Total Amount or
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COLD FRONT DISTRIBUTION
LLC                       7301 FEDERAL BLVD SUITE 200                                                      WESTMINSTER         CO           80030                                  SUPPLIERS OR VENDORS      11/22/2018           $2,205.66
COLD FRONT DISTRIBUTION
LLC                       7301 FEDERAL BLVD SUITE 200                                                      WESTMINSTER         CO           80030                                  SUPPLIERS OR VENDORS      11/29/2018           $2,581.80
COLD FRONT DISTRIBUTION
LLC                       7301 FEDERAL BLVD SUITE 200                                                      WESTMINSTER         CO           80030                                  SUPPLIERS OR VENDORS      12/20/2018         $33,484.82
COLD FRONT DISTRIBUTION
LLC                       7301 FEDERAL BLVD SUITE 200                                                      WESTMINSTER         CO           80030                                  SUPPLIERS OR VENDORS      12/21/2018         $14,817.60
COLD FRONT DISTRIBUTION
LLC                       7301 FEDERAL BLVD SUITE 200                                                      WESTMINSTER         CO           80030                                  SUPPLIERS OR VENDORS      12/27/2018         $11,496.36

COLE CREDIT PROPERTY                                     2325 EAST CAMELBACK
TRUST IV INC              COLE SH WEBSTER CITY IA LLC    ROAD SUITE 1100                                   PHOENIX             AZ           85016                                  SUPPLIERS OR VENDORS       11/1/2018         $26,933.33

COLE CREDIT PROPERTY                                     2325 EAST CAMELBACK
TRUST IV INC              COLE SH WEBSTER CITY IA LLC    ROAD SUITE 1100                                   PHOENIX             AZ           85016                                  SUPPLIERS OR VENDORS       11/1/2018         $26,995.83

COLE CREDIT PROPERTY                                     2325 EAST CAMELBACK
TRUST IV INC              COLE SH WEBSTER CITY IA LLC    ROAD SUITE 1100                                   PHOENIX             AZ           85016                                  SUPPLIERS OR VENDORS       11/1/2018         $28,658.33

COLE CREDIT PROPERTY                                     2325 EAST CAMELBACK
TRUST IV INC              COLE SH WEBSTER CITY IA LLC    ROAD SUITE 1100                                   PHOENIX             AZ           85016                                  SUPPLIERS OR VENDORS      11/10/2018         $22,916.67

COLE CREDIT PROPERTY                                     2325 EAST CAMELBACK
TRUST IV INC              COLE SH WEBSTER CITY IA LLC    ROAD SUITE 1100                                   PHOENIX             AZ           85016                                  SUPPLIERS OR VENDORS      11/10/2018         $24,010.67

COLE CREDIT PROPERTY                                     2325 EAST CAMELBACK
TRUST IV INC              COLE SH WEBSTER CITY IA LLC    ROAD SUITE 1100                                   PHOENIX             AZ           85016                                  SUPPLIERS OR VENDORS       12/1/2018         $26,933.33

COLE CREDIT PROPERTY                                     2325 EAST CAMELBACK
TRUST IV INC              COLE SH WEBSTER CITY IA LLC    ROAD SUITE 1100                                   PHOENIX             AZ           85016                                  SUPPLIERS OR VENDORS       12/1/2018         $26,995.83

COLE CREDIT PROPERTY                                     2325 EAST CAMELBACK
TRUST IV INC              COLE SH WEBSTER CITY IA LLC    ROAD SUITE 1100                                   PHOENIX             AZ           85016                                  SUPPLIERS OR VENDORS       12/1/2018         $28,658.33

COLE CREDIT PROPERTY                                     2325 EAST CAMELBACK
TRUST IV INC              COLE SH WEBSTER CITY IA LLC    ROAD SUITE 1100                                   PHOENIX             AZ           85016                                  SUPPLIERS OR VENDORS       12/8/2018         $22,916.67

COLE CREDIT PROPERTY                                     2325 EAST CAMELBACK
TRUST IV INC              COLE SH WEBSTER CITY IA LLC    ROAD SUITE 1100                                   PHOENIX             AZ           85016                                  SUPPLIERS OR VENDORS       12/8/2018         $24,010.67
COLE MINDT                226 2ND STREET NW                                                                VALLEY CITY         ND           58072                                  SUPPLIERS OR VENDORS      10/25/2018            $255.00
COLE SH LANSE MI LLC      ID AC0178                      PO BOX 847390                                     DALLAS              TX           75284-7390                             SUPPLIERS OR VENDORS       11/1/2018         $17,955.90
COLE SH LANSE MI LLC      ID AC0178                      PO BOX 847390                                     DALLAS              TX           75284-7390                             SUPPLIERS OR VENDORS       12/3/2018         $17,955.90
COLEMAN CABLE
INCORPORATED              75 REMITTANCE DRIVE STE 1451                                                     CHICAGO             IL           60675-1451                             SUPPLIERS OR VENDORS      11/16/2018         $28,389.85
COLGATE PALMOLIVE         2092 COLLECTIONS CENTER
COMPANY                   DRIVE                                                                            CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      10/23/2018         $36,501.26
COLGATE PALMOLIVE         2092 COLLECTIONS CENTER
COMPANY                   DRIVE                                                                            CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      10/27/2018         $36,473.94
COLGATE PALMOLIVE         2092 COLLECTIONS CENTER
COMPANY                   DRIVE                                                                            CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       11/7/2018         $26,026.56
COLGATE PALMOLIVE         2092 COLLECTIONS CENTER
COMPANY                   DRIVE                                                                            CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      11/14/2018         $54,194.26




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COLGATE PALMOLIVE        2092 COLLECTIONS CENTER
COMPANY                  DRIVE                                                                         CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      11/16/2018         $13,250.83
COLGATE PALMOLIVE        2092 COLLECTIONS CENTER
COMPANY                  DRIVE                                                                         CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      11/24/2018         $17,594.52
COLGATE PALMOLIVE        2092 COLLECTIONS CENTER
COMPANY                  DRIVE                                                                         CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      11/30/2018         $20,479.70
COLIN BALTZ              828 ZEMLOCK AVENUE                                                            NEENAH              WI           54956                                  SUPPLIERS OR VENDORS      11/26/2018             $15.00
COLIN WANEK              1241 LA CROSSE ST. #6                                                         LA CROSSE           WI           54601                                  SUPPLIERS OR VENDORS      11/26/2018             $40.00
COLIN WARD               STORE 164                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/29/2018            $104.10
COLLEEN DORNINK          208 N PARK BLVD                                                               FREEPORT            IL           61032                                  SUPPLIERS OR VENDORS      11/14/2018             $51.20
COLLEEN GOSVENER         17956 ENTIAT RIVER RD                                                         ENTIAT              WA           98822                                  SUPPLIERS OR VENDORS       11/5/2018             $31.10
COLLEEN JUIDICI          349 GOLD                                                                      NEGAUNEE            MI           49866                                  SUPPLIERS OR VENDORS       11/2/2018             $61.98
COLLEEN KONKEL           STORE 4-099                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/20/2018            $247.50
COLLEEN YERHOT           515 TRUMAN AVENUE                                                             OWATONNA            MN           55060                                  SUPPLIERS OR VENDORS      10/26/2018             $10.00
COLLEEN YERHOT           515 TRUMAN AVENUE                                                             OWATONNA            MN           55060                                  SUPPLIERS OR VENDORS      10/26/2018             $10.00
                         ROBINSON MANUFACTURING
COLLEGE CONCEPTS LLC     CO INC                      PO BOX 338                                        DAYTON              TN           37321-0000                             SUPPLIERS OR VENDORS       11/8/2018         $29,179.48
                         ROBINSON MANUFACTURING
COLLEGE CONCEPTS LLC     CO INC                      PO BOX 338                                        DAYTON              TN           37321-0000                             SUPPLIERS OR VENDORS      11/29/2018        $166,814.00
COLLEGE TOWN PIZZA INC   PO BOX 795                                                                    WILLMAR             MN           56201                                  SUPPLIERS OR VENDORS      10/25/2018            $116.71
COLLEGE TOWN PIZZA INC   PO BOX 795                                                                    WILLMAR             MN           56201                                  SUPPLIERS OR VENDORS       11/1/2018            $109.67
COLLIERS LANDSCAPING &
LAWN CARE                81522 HWY 70                                                                  ORD                 NE           68862                                  SUPPLIERS OR VENDORS      10/18/2018           $1,430.00
COLLIERS LANDSCAPING &
LAWN CARE                81522 HWY 70                                                                  ORD                 NE           68862                                  SUPPLIERS OR VENDORS      11/26/2018           $1,000.00
COLONIAL CANDLE MVP
GROUP INTL INC           1031 LEGRAND BOULEVARD                                                        CHARLESTON          SC           29492-0000                             SUPPLIERS OR VENDORS      10/18/2018           $5,543.45
COLONIAL CANDLE MVP
GROUP INTL INC           1031 LEGRAND BOULEVARD                                                        CHARLESTON          SC           29492-0000                             SUPPLIERS OR VENDORS      10/25/2018        $335,748.59
COLONIAL CANDLE MVP
GROUP INTL INC           1031 LEGRAND BOULEVARD                                                        CHARLESTON          SC           29492-0000                             SUPPLIERS OR VENDORS       11/1/2018        $227,898.17
COLONIAL CANDLE MVP
GROUP INTL INC           1031 LEGRAND BOULEVARD                                                        CHARLESTON          SC           29492-0000                             SUPPLIERS OR VENDORS       11/8/2018         $75,368.14
COLONIAL CANDLE MVP
GROUP INTL INC           1031 LEGRAND BOULEVARD                                                        CHARLESTON          SC           29492-0000                             SUPPLIERS OR VENDORS      11/15/2018           $6,085.36
COLONIAL CANDLE MVP
GROUP INTL INC           1031 LEGRAND BOULEVARD                                                        CHARLESTON          SC           29492-0000                             SUPPLIERS OR VENDORS      11/22/2018         $23,947.38
COLONIAL CANDLE MVP
GROUP INTL INC           1031 LEGRAND BOULEVARD                                                        CHARLESTON          SC           29492-0000                             SUPPLIERS OR VENDORS      11/29/2018         $94,869.10
COLORADO DEPARTMENT OF                               305 INTERLOCKEN
AGRICULTURE              DIVSION OF PLANT INDUSTRY   PARKWAY                                           BROOMFIELD          CO           80021                                  SUPPLIERS OR VENDORS      12/17/2018            $255.00
COLORADO DEPARTMENT OF
REVENUE                  1375 SHERMAN STREET                                                           DENVER              CO           80203                                  SALES & USE TAX           10/22/2018             $35.00
COLORADO DEPARTMENT OF
REVENUE                  1375 SHERMAN STREET                                                           DENVER              CO           80203                                  SALES & USE TAX           10/22/2018            $160.00
COLORADO DEPARTMENT OF
REVENUE                  1375 SHERMAN STREET                                                           DENVER              CO           80203                                  SALES & USE TAX           10/22/2018           $1,075.00
COLORADO DEPARTMENT OF
REVENUE                  1375 SHERMAN STREET                                                           DENVER              CO           80203                                  SALES & USE TAX           10/22/2018         $50,487.40
COLORADO DEPARTMENT OF
REVENUE                  1375 SHERMAN STREET                                                           DENVER              CO           80203                                  SALES & USE TAX           12/20/2018             $42.00
COLORADO DEPARTMENT OF
REVENUE                  1375 SHERMAN STREET                                                           DENVER              CO           80203                                  SALES & USE TAX           12/20/2018             $83.00




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COLORADO DEPARTMENT OF
REVENUE                  1375 SHERMAN STREET                                                        DENVER              CO           80203                                  SALES & USE TAX           12/20/2018            $2,473.00
COLORADO DEPARTMENT OF
REVENUE                  1375 SHERMAN STREET                                                        DENVER              CO           80203                                  SALES & USE TAX           12/20/2018          $46,770.40
COLORADO DEPARTMENT OF
TREASURY                 UNCLAIMED PROPERTY DIV   1580 LOGAN ST STE 500                             DENVER              CO           80203                                  SUPPLIERS OR VENDORS      10/25/2018             $114.97
COLORADO PARKS &
WILDLIFE                 1313 SHERMAN STREET      6TH FLOOR                                         DENVER              CO           80203                                  PAYMENT FOR SERVICES       10/2/2018            $5,837.13
COLORADO PARKS &
WILDLIFE                 1313 SHERMAN STREET      6TH FLOOR                                         DENVER              CO           80203                                  PAYMENT FOR SERVICES       10/5/2018             $144.31
COLORADO PARKS &
WILDLIFE                 1313 SHERMAN STREET      6TH FLOOR                                         DENVER              CO           80203                                  PAYMENT FOR SERVICES      10/12/2018              $59.18
COLORADO PARKS &
WILDLIFE                 1313 SHERMAN STREET      6TH FLOOR                                         DENVER              CO           80203                                  PAYMENT FOR SERVICES      10/19/2018             $313.98
COLORADO PARKS &
WILDLIFE                 1313 SHERMAN STREET      6TH FLOOR                                         DENVER              CO           80203                                  PAYMENT FOR SERVICES      10/26/2018            $2,699.88
COLORADO PARKS &
WILDLIFE                 1313 SHERMAN STREET      6TH FLOOR                                         DENVER              CO           80203                                  PAYMENT FOR SERVICES       11/2/2018            $1,910.41
COLORADO PARKS &
WILDLIFE                 1313 SHERMAN STREET      6TH FLOOR                                         DENVER              CO           80203                                  PAYMENT FOR SERVICES       11/9/2018            $2,756.95
COLORADO PARKS &
WILDLIFE                 1313 SHERMAN STREET      6TH FLOOR                                         DENVER              CO           80203                                  PAYMENT FOR SERVICES      11/16/2018            $1,583.67
COLORADO PARKS &
WILDLIFE                 1313 SHERMAN STREET      6TH FLOOR                                         DENVER              CO           80203                                  PAYMENT FOR SERVICES      11/23/2018            $1,577.96
COLORADO PARKS &
WILDLIFE                 1313 SHERMAN STREET      6TH FLOOR                                         DENVER              CO           80203                                  PAYMENT FOR SERVICES      11/30/2018             $986.83
COLORADO PARKS &
WILDLIFE                 1313 SHERMAN STREET      6TH FLOOR                                         DENVER              CO           80203                                  PAYMENT FOR SERVICES       12/7/2018            $3,014.02
COLORADO PARKS &
WILDLIFE                 1313 SHERMAN STREET      6TH FLOOR                                         DENVER              CO           80203                                  PAYMENT FOR SERVICES      12/14/2018             $931.86
COLORADO PARKS &
WILDLIFE                 1313 SHERMAN STREET      6TH FLOOR                                         DENVER              CO           80203                                  PAYMENT FOR SERVICES      12/21/2018             $173.08
COLORADO PARKS &
WILDLIFE                 1313 SHERMAN STREET      6TH FLOOR                                         DENVER              CO           80203                                  PAYMENT FOR SERVICES      12/28/2018             $235.81
COLORADO PARKS &
WILDLIFE                 1313 SHERMAN STREET      6TH FLOOR                                         DENVER              CO           80203                                  PAYMENT FOR SERVICES         1/4/2019             $44.56
COLORADO PARKS &
WILDLIFE                 1313 SHERMAN STREET      6TH FLOOR                                         DENVER              CO           80203                                  PAYMENT FOR SERVICES       1/11/2019             $183.91

COLT NICKLAUS            1721 - 32ND STREET N.                                                      WISCONSINRAPIDS WI               54494                                  SUPPLIERS OR VENDORS      11/12/2018              $23.99
COLUMBIA DISTRIBUTING
COMPANY                  PO BOX 742009                                                              LOS ANGELES         CA           90074-2009                             SUPPLIERS OR VENDORS      10/19/2018             $341.80
COLUMBIA DISTRIBUTING
COMPANY                  PO BOX 742009                                                              LOS ANGELES         CA           90074-2009                             SUPPLIERS OR VENDORS      10/30/2018              $46.80
COLUMBIA DISTRIBUTING
COMPANY                  PO BOX 742009                                                              LOS ANGELES         CA           90074-2009                             SUPPLIERS OR VENDORS      10/30/2018             $412.40
COLUMBIA DISTRIBUTING
COMPANY                  PO BOX 742009                                                              LOS ANGELES         CA           90074-2009                             SUPPLIERS OR VENDORS      10/30/2018            $1,534.15
COLUMBIA DISTRIBUTING
COMPANY                  PO BOX 742009                                                              LOS ANGELES         CA           90074-2009                             SUPPLIERS OR VENDORS       11/2/2018             $156.00
COLUMBIA DISTRIBUTING
COMPANY                  PO BOX 742009                                                              LOS ANGELES         CA           90074-2009                             SUPPLIERS OR VENDORS       11/2/2018             $321.80
COLUMBIA DISTRIBUTING
COMPANY                  PO BOX 742009                                                              LOS ANGELES         CA           90074-2009                             SUPPLIERS OR VENDORS       11/9/2018             $229.10



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COLUMBIA DISTRIBUTING
COMPANY                 PO BOX 742009                                                        LOS ANGELES         CA           90074-2009                             SUPPLIERS OR VENDORS      11/13/2018             $34.90
COLUMBIA DISTRIBUTING
COMPANY                 PO BOX 742009                                                        LOS ANGELES         CA           90074-2009                             SUPPLIERS OR VENDORS      11/13/2018           $2,073.85
COLUMBIA DISTRIBUTING
COMPANY                 PO BOX 742009                                                        LOS ANGELES         CA           90074-2009                             SUPPLIERS OR VENDORS      11/27/2018            $128.60
COLUMBIA DISTRIBUTING
COMPANY                 PO BOX 742009                                                        LOS ANGELES         CA           90074-2009                             SUPPLIERS OR VENDORS      11/27/2018            $413.60
COLUMBIA DISTRIBUTING
COMPANY                 PO BOX 742009                                                        LOS ANGELES         CA           90074-2009                             SUPPLIERS OR VENDORS      11/27/2018            $450.40
COLUMBIA DISTRIBUTING
COMPANY                 PO BOX 742009                                                        LOS ANGELES         CA           90074-2009                             SUPPLIERS OR VENDORS      11/30/2018            $136.30
COLUMBIA DISTRIBUTING
COMPANY                 PO BOX 742009                                                        LOS ANGELES         CA           90074-2009                             SUPPLIERS OR VENDORS      12/11/2018            $195.00
COLUMBIA DISTRIBUTING
COMPANY                 PO BOX 742009                                                        LOS ANGELES         CA           90074-2009                             SUPPLIERS OR VENDORS      12/11/2018            $378.40
COLUMBIA DISTRIBUTING
COMPANY                 PO BOX 742009                                                        LOS ANGELES         CA           90074-2009                             SUPPLIERS OR VENDORS      12/20/2018           $2,454.95
COLUMBIA DISTRIBUTING
COMPANY                 PO BOX 742009                                                        LOS ANGELES         CA           90074-2009                             SUPPLIERS OR VENDORS      12/27/2018            $860.40
COLUMBIA DISTRIBUTING
COMPANY INC             255 APPLEYARD DRIVE                                                  WENATCHEE           WA           98801-0000                             SUPPLIERS OR VENDORS       11/8/2018             $46.90
COLUMBIA DISTRIBUTING
COMPANY INC             255 APPLEYARD DRIVE                                                  WENATCHEE           WA           98801-0000                             SUPPLIERS OR VENDORS      11/22/2018            $210.50
COLUMBIA DISTRIBUTING
COMPANY INC             255 APPLEYARD DRIVE                                                  WENATCHEE           WA           98801-0000                             SUPPLIERS OR VENDORS      12/20/2018            $358.40
COLUMBIAN HOME
PRODUCTS                550 N RAND ROAD                                                      LAKE ZURICH         IL           60047-0000                             SUPPLIERS OR VENDORS      10/19/2018           $9,569.18
COLUMBIAN HOME
PRODUCTS                550 N RAND ROAD                                                      LAKE ZURICH         IL           60047-0000                             SUPPLIERS OR VENDORS      10/26/2018           $2,093.66
COLUMBIAN HOME
PRODUCTS                550 N RAND ROAD                                                      LAKE ZURICH         IL           60047-0000                             SUPPLIERS OR VENDORS       11/2/2018           $2,514.04
COLUMBIAN HOME
PRODUCTS                550 N RAND ROAD                                                      LAKE ZURICH         IL           60047-0000                             SUPPLIERS OR VENDORS       11/9/2018           $2,526.59
COLUMBIAN HOME
PRODUCTS                550 N RAND ROAD                                                      LAKE ZURICH         IL           60047-0000                             SUPPLIERS OR VENDORS      11/16/2018           $2,389.94
COLUMBIAN HOME
PRODUCTS                550 N RAND ROAD                                                      LAKE ZURICH         IL           60047-0000                             SUPPLIERS OR VENDORS      11/30/2018           $4,660.99
COMBE INCORPORATED      PO BOX 500641                                                        ST LOUIS            MO           63150                                  SUPPLIERS OR VENDORS      10/18/2018           $2,224.18
COMBE INCORPORATED      PO BOX 500641                                                        ST LOUIS            MO           63150                                  SUPPLIERS OR VENDORS      10/23/2018           $2,943.53
COMBE INCORPORATED      PO BOX 500641                                                        ST LOUIS            MO           63150                                  SUPPLIERS OR VENDORS      10/25/2018           $9,697.80
COMBE INCORPORATED      PO BOX 500641                                                        ST LOUIS            MO           63150                                  SUPPLIERS OR VENDORS      10/30/2018           $1,625.35
COMBE INCORPORATED      PO BOX 500641                                                        ST LOUIS            MO           63150                                  SUPPLIERS OR VENDORS       11/1/2018           $2,440.32
COMBE INCORPORATED      PO BOX 500641                                                        ST LOUIS            MO           63150                                  SUPPLIERS OR VENDORS       11/6/2018           $3,572.99
COMBE INCORPORATED      PO BOX 500641                                                        ST LOUIS            MO           63150                                  SUPPLIERS OR VENDORS       11/8/2018           $3,787.78
COMBE INCORPORATED      PO BOX 500641                                                        ST LOUIS            MO           63150                                  SUPPLIERS OR VENDORS      11/13/2018           $1,537.54
COMBE INCORPORATED      PO BOX 500641                                                        ST LOUIS            MO           63150                                  SUPPLIERS OR VENDORS      11/15/2018           $6,303.84
COMBE INCORPORATED      PO BOX 500641                                                        ST LOUIS            MO           63150                                  SUPPLIERS OR VENDORS      11/27/2018           $6,085.92
COMBE INCORPORATED      PO BOX 500641                                                        ST LOUIS            MO           63150                                  SUPPLIERS OR VENDORS      11/29/2018           $5,019.87
COMBE INCORPORATED      PO BOX 500641                                                        ST LOUIS            MO           63150                                  SUPPLIERS OR VENDORS       12/4/2018           $3,522.20
COMBE INCORPORATED      PO BOX 500641                                                        ST LOUIS            MO           63150                                  SUPPLIERS OR VENDORS       12/6/2018           $1,541.27
COMDATA NETWORK
INCORPORATED            PO BOX 100647                                                        ATLANTA             GA           30384-0647                             SUPPLIERS OR VENDORS      10/18/2018           $4,596.79




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                                                                                                                                                                      Reasons for payment or    Dates of     Total Amount or
      Creditor Name             Address1         Address2                  Address3                 City              State       Zip              Country                   transfer          Payments            Value
COMDATA NETWORK
INCORPORATED          PO BOX 100647                                                          ATLANTA             GA           30384-0647                             SUPPLIERS OR VENDORS      10/23/2018            $4,625.92
COMDATA NETWORK
INCORPORATED          PO BOX 100647                                                          ATLANTA             GA           30384-0647                             SUPPLIERS OR VENDORS      10/25/2018            $4,081.58
COMDATA NETWORK
INCORPORATED          PO BOX 100647                                                          ATLANTA             GA           30384-0647                             SUPPLIERS OR VENDORS      10/27/2018            $3,847.39
COMDATA NETWORK
INCORPORATED          PO BOX 100647                                                          ATLANTA             GA           30384-0647                             SUPPLIERS OR VENDORS       11/1/2018            $4,958.54
COMDATA NETWORK
INCORPORATED          PO BOX 100647                                                          ATLANTA             GA           30384-0647                             SUPPLIERS OR VENDORS       11/6/2018            $3,601.53
COMDATA NETWORK
INCORPORATED          PO BOX 100647                                                          ATLANTA             GA           30384-0647                             SUPPLIERS OR VENDORS       11/9/2018            $5,561.16
COMDATA NETWORK
INCORPORATED          PO BOX 100647                                                          ATLANTA             GA           30384-0647                             SUPPLIERS OR VENDORS      11/14/2018            $4,097.88
COMDATA NETWORK
INCORPORATED          PO BOX 100647                                                          ATLANTA             GA           30384-0647                             SUPPLIERS OR VENDORS      11/17/2018            $4,590.20
COMDATA NETWORK
INCORPORATED          PO BOX 100647                                                          ATLANTA             GA           30384-0647                             SUPPLIERS OR VENDORS      11/27/2018            $7,838.76
COMDATA NETWORK
INCORPORATED          PO BOX 100647                                                          ATLANTA             GA           30384-0647                             SUPPLIERS OR VENDORS      11/28/2018            $1,087.46
COMDATA NETWORK
INCORPORATED          PO BOX 100647                                                          ATLANTA             GA           30384-0647                             SUPPLIERS OR VENDORS       12/1/2018            $4,375.79
COMDATA NETWORK
INCORPORATED          PO BOX 100647                                                          ATLANTA             GA           30384-0647                             SUPPLIERS OR VENDORS       12/6/2018            $4,286.74
COMDATA NETWORK
INCORPORATED          PO BOX 100647                                                          ATLANTA             GA           30384-0647                             SUPPLIERS OR VENDORS       12/8/2018            $3,495.63
COMDATA NETWORK
INCORPORATED          PO BOX 100647                                                          ATLANTA             GA           30384-0647                             SUPPLIERS OR VENDORS      12/14/2018            $4,269.72
COMDATA NETWORK
INCORPORATED          PO BOX 100647                                                          ATLANTA             GA           30384-0647                             SUPPLIERS OR VENDORS      12/19/2018            $3,944.17
COMDATA NETWORK
INCORPORATED          PO BOX 100647                                                          ATLANTA             GA           30384-0647                             SUPPLIERS OR VENDORS      12/20/2018            $2,313.09
COMDATA NETWORK
INCORPORATED          PO BOX 100647                                                          ATLANTA             GA           30384-0647                             SUPPLIERS OR VENDORS      12/22/2018            $2,825.80
COMDATA NETWORK
INCORPORATED          PO BOX 100647                                                          ATLANTA             GA           30384-0647                             SUPPLIERS OR VENDORS         1/5/2019           $5,546.18
COMDATA NETWORK
INCORPORATED          PO BOX 100647                                                          ATLANTA             GA           30384-0647                             SUPPLIERS OR VENDORS        1/9/2019            $4,448.70
COMFORT RESEARCH      1719 ELIZABETH NW                                                      GRAND RAPIDS        MI           49504-0000                             SUPPLIERS OR VENDORS      10/18/2018            $1,889.03
COMFORT RESEARCH      1719 ELIZABETH NW                                                      GRAND RAPIDS        MI           49504-0000                             SUPPLIERS OR VENDORS      10/25/2018                $4.90
COMFORT RESEARCH      1719 ELIZABETH NW                                                      GRAND RAPIDS        MI           49504-0000                             SUPPLIERS OR VENDORS       11/1/2018              $288.00
COMFORT RESEARCH      1719 ELIZABETH NW                                                      GRAND RAPIDS        MI           49504-0000                             SUPPLIERS OR VENDORS       11/8/2018            $2,148.99
COMFORT RESEARCH      1719 ELIZABETH NW                                                      GRAND RAPIDS        MI           49504-0000                             SUPPLIERS OR VENDORS      11/15/2018              $508.40
COMFORT RESEARCH      1719 ELIZABETH NW                                                      GRAND RAPIDS        MI           49504-0000                             SUPPLIERS OR VENDORS      11/22/2018            $3,138.37
COMFORT RESEARCH      1719 ELIZABETH NW                                                      GRAND RAPIDS        MI           49504-0000                             SUPPLIERS OR VENDORS      11/29/2018            $2,920.38
                                           2655 FORTUNE CIRCLE
COMFORT SYSTEMS USA   ACCU TEMP L L C      W SUITES E & F         PAM TO ORACLE              INDIANAPOLIS        IN           46241                                  SUPPLIERS OR VENDORS      10/24/2018         $105,847.06
                                           2655 FORTUNE CIRCLE
COMFORT SYSTEMS USA   ACCU TEMP L L C      W SUITES E & F         PAM TO ORACLE              INDIANAPOLIS        IN           46241                                  SUPPLIERS OR VENDORS      10/26/2018          $25,394.40
                                           2655 FORTUNE CIRCLE
COMFORT SYSTEMS USA   ACCU TEMP L L C      W SUITES E & F         PAM TO ORACLE              INDIANAPOLIS        IN           46241                                  SUPPLIERS OR VENDORS      10/27/2018          $66,957.45
                                           2655 FORTUNE CIRCLE
COMFORT SYSTEMS USA   ACCU TEMP L L C      W SUITES E & F         PAM TO ORACLE              INDIANAPOLIS        IN           46241                                  SUPPLIERS OR VENDORS       11/3/2018          $89,480.00




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     Creditor Name                Address1               Address2                  Address3                  City             State       Zip              Country                   transfer          Payments           Value
                                                  2655 FORTUNE CIRCLE
COMFORT SYSTEMS USA     ACCU TEMP L L C           W SUITES E & F          PAM TO ORACLE              INDIANAPOLIS        IN           46241                                  SUPPLIERS OR VENDORS       11/9/2018        $234,148.00
                                                  2655 FORTUNE CIRCLE
COMFORT SYSTEMS USA     ACCU TEMP L L C           W SUITES E & F          PAM TO ORACLE              INDIANAPOLIS        IN           46241                                  SUPPLIERS OR VENDORS      11/14/2018         $51,083.24
                                                  2655 FORTUNE CIRCLE
COMFORT SYSTEMS USA     ACCU TEMP L L C           W SUITES E & F          PAM TO ORACLE              INDIANAPOLIS        IN           46241                                  SUPPLIERS OR VENDORS      11/27/2018         $84,217.50
                                                  2655 FORTUNE CIRCLE
COMFORT SYSTEMS USA     ACCU TEMP L L C           W SUITES E & F          PAM TO ORACLE              INDIANAPOLIS        IN           46241                                  SUPPLIERS OR VENDORS      11/28/2018         $66,069.58
                                                  2655 FORTUNE CIRCLE
COMFORT SYSTEMS USA     ACCU TEMP L L C           W SUITES E & F          PAM TO ORACLE              INDIANAPOLIS        IN           46241                                  SUPPLIERS OR VENDORS       12/4/2018         $89,094.00
                                                  2655 FORTUNE CIRCLE
COMFORT SYSTEMS USA     ACCU TEMP L L C           W SUITES E & F          PAM TO ORACLE              INDIANAPOLIS        IN           46241                                  SUPPLIERS OR VENDORS      12/13/2018        $206,192.48
                                                  2655 FORTUNE CIRCLE
COMFORT SYSTEMS USA     ACCU TEMP L L C           W SUITES E & F          PAM TO ORACLE              INDIANAPOLIS        IN           46241                                  SUPPLIERS OR VENDORS      12/20/2018        $348,836.69
                                                  2655 FORTUNE CIRCLE
COMFORT SYSTEMS USA     ACCU TEMP L L C           W SUITES E & F          PAM TO ORACLE              INDIANAPOLIS        IN           46241                                  SUPPLIERS OR VENDORS      12/28/2018         $59,209.26

COMMERCE TECHNOLOGIES
INCORPORATED          25736 NETWORK PLACE                                                            CHICAGO             IL           60673-1257                             SUPPLIERS OR VENDORS       11/8/2018         $26,710.50

COMMERCE TECHNOLOGIES
INCORPORATED            25736 NETWORK PLACE                                                          CHICAGO             IL           60673-1257                             SUPPLIERS OR VENDORS        1/4/2019         $55,143.50
COMMERCIAL GLASS INC    113 E 33RD STREET                                                            BOISE               ID           83714                                  SUPPLIERS OR VENDORS      10/25/2018            $556.04
COMMERCIAL GLASS INC    113 E 33RD STREET                                                            BOISE               ID           83714                                  SUPPLIERS OR VENDORS      11/15/2018          $2,478.46
COMMERCIAL GROUNDS
KEEPING                 23929 READ AVE                                                               WORTHINGTON         MN           56187                                  SUPPLIERS OR VENDORS      11/29/2018           $1,235.04
COMMERCIAL LIGHTING
COMPANY                 PO BOX 270651                                                                TAMPA               FL           33688                                  SUPPLIERS OR VENDORS      10/18/2018            $189.57
COMMONWEALTH OF                                   UNCLAIMED PROPERTY ONE ASHBURTON PLACE
MASSACHUSETTS           MARK WILLIAM BRACKEN      DIVISION           12TH FLOOR                      BOSTON              MA           02108                                  SUPPLIERS OR VENDORS      10/25/2018             $29.00

COMMUNITY DEVELOPMENT
CORP OF GREENFIELD    C/O FIRST NATIONAL BANK     ATTN: JULIE HARTER      101 NE HAYES               GREENFIELD          IA           50849                                  SUPPLIERS OR VENDORS       11/1/2018           $5,847.75

COMMUNITY DEVELOPMENT
CORP OF GREENFIELD    C/O FIRST NATIONAL BANK     ATTN: JULIE HARTER      101 NE HAYES               GREENFIELD          IA           50849                                  SUPPLIERS OR VENDORS       12/3/2018           $5,847.75
COMMUNITY TRANSIT
INCORPORATED          420 SECOND AVENUE EAST      PO BOX 27                                          SISSETON            SD           57262                                  SUPPLIERS OR VENDORS      11/15/2018             $63.00
                      REVENUE ADMINISTRATION
COMP OF MARYLAND      DIVISION                    110 CARROLL ST.                                    ANNAPOLIS           MD           021411-001                             SALES/USE TAX             11/23/2018            $376.95
COMPLETE OFFICE OF
WISCONSIN             N115 W 18500 EDISON DRIVE                                                      GERMANTOWN          WI           53022                                  SUPPLIERS OR VENDORS      10/25/2018           $1,015.12
COMPLETE OFFICE OF
WISCONSIN             N115 W 18500 EDISON DRIVE                                                      GERMANTOWN          WI           53022                                  SUPPLIERS OR VENDORS       11/1/2018            $258.62
COMPLETE OFFICE OF
WISCONSIN             N115 W 18500 EDISON DRIVE                                                      GERMANTOWN          WI           53022                                  SUPPLIERS OR VENDORS      11/15/2018            $357.50
COMPLETE OFFICE OF
WISCONSIN             N115 W 18500 EDISON DRIVE                                                      GERMANTOWN          WI           53022                                  SUPPLIERS OR VENDORS      11/29/2018           $2,546.03
CONAGRA GROCERY                                   11 CONAGRA DRIVE 11-
PRODUCTS COMPANY      VICE PRESIDENT OF SALES     210                                                OMAHA               NE           68102                                  SUPPLIERS OR VENDORS      10/31/2018         $63,520.10
CONAGRA GROCERY                                   11 CONAGRA DRIVE 11-
PRODUCTS COMPANY      VICE PRESIDENT OF SALES     210                                                OMAHA               NE           68102                                  SUPPLIERS OR VENDORS       11/2/2018           $9,394.36
CONAGRA GROCERY                                   11 CONAGRA DRIVE 11-
PRODUCTS COMPANY      VICE PRESIDENT OF SALES     210                                                OMAHA               NE           68102                                  SUPPLIERS OR VENDORS       11/3/2018         $36,075.85



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CONAGRA GROCERY                                      11 CONAGRA DRIVE 11-
PRODUCTS COMPANY          VICE PRESIDENT OF SALES    210                                                OMAHA               NE           68102                                  SUPPLIERS OR VENDORS      11/14/2018         $19,102.46
CONAGRA GROCERY                                      11 CONAGRA DRIVE 11-
PRODUCTS COMPANY          VICE PRESIDENT OF SALES    210                                                OMAHA               NE           68102                                  SUPPLIERS OR VENDORS      11/24/2018         $16,458.07
CONAGRA GROCERY                                      11 CONAGRA DRIVE 11-
PRODUCTS COMPANY          VICE PRESIDENT OF SALES    210                                                OMAHA               NE           68102                                  SUPPLIERS OR VENDORS      11/28/2018         $18,073.59
CONAGRA GROCERY                                      11 CONAGRA DRIVE 11-
PRODUCTS COMPANY          VICE PRESIDENT OF SALES    210                                                OMAHA               NE           68102                                  SUPPLIERS OR VENDORS      11/29/2018           $8,882.13
CONAGRA GROCERY                                      11 CONAGRA DRIVE 11-
PRODUCTS COMPANY          VICE PRESIDENT OF SALES    210                                                OMAHA               NE           68102                                  SUPPLIERS OR VENDORS      11/30/2018           $5,529.16
CONAGRA GROCERY                                      11 CONAGRA DRIVE 11-
PRODUCTS COMPANY          VICE PRESIDENT OF SALES    210                                                OMAHA               NE           68102                                  SUPPLIERS OR VENDORS       12/1/2018           $4,536.00
CONAGRA GROCERY                                      11 CONAGRA DRIVE 11-
PRODUCTS COMPANY          VICE PRESIDENT OF SALES    210                                                OMAHA               NE           68102                                  SUPPLIERS OR VENDORS       12/6/2018         $28,643.67
CONAIR CORPORATION        PO BOX 932059                                                                 ATLANTA             GA           31193-2059                             SUPPLIERS OR VENDORS      10/20/2018         $31,694.61
CONAIR CORPORATION        PO BOX 932059                                                                 ATLANTA             GA           31193-2059                             SUPPLIERS OR VENDORS       11/2/2018         $32,934.39
CONAIR CORPORATION        PO BOX 932059                                                                 ATLANTA             GA           31193-2059                             SUPPLIERS OR VENDORS      11/10/2018        $213,684.59
CONAIR CORPORATION        PO BOX 932059                                                                 ATLANTA             GA           31193-2059                             SUPPLIERS OR VENDORS      11/16/2018        $167,109.51
CONAIR CORPORATION        PO BOX 932059                                                                 ATLANTA             GA           31193-2059                             SUPPLIERS OR VENDORS      11/17/2018         $42,504.54
CONAIR CORPORATION        PO BOX 932059                                                                 ATLANTA             GA           31193-2059                             SUPPLIERS OR VENDORS      11/29/2018          $1,550.13
CONAIR CORPORATION        PO BOX 932059                                                                 ATLANTA             GA           31193-2059                             SUPPLIERS OR VENDORS      11/30/2018          $9,443.02
CONCENTRIC ROCK           CARRIE                     2222 15TH ST                                       ROCKFORD            IL           61104                                  SUPPLIERS OR VENDORS      12/13/2018            $584.25
CONCEPT 52 LLC            378 GITTENS COURT                                                             DEPERE              WI           54115                                  SUPPLIERS OR VENDORS       11/2/2018          $9,330.00
CONCEPT 52 LLC            378 GITTENS COURT                                                             DEPERE              WI           54115                                  SUPPLIERS OR VENDORS      11/13/2018          $4,800.00
CONCEPT ONE DBA USPA      119 WEST 40TH STREET 3RD
ACCESSORIES               FLOOR                                                                         NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      10/29/2018           $9,168.50
                          10580 N PORT WASHINGTON
CONCORD SIX LLC           ROAD                                                                          MEQUON              WI           53092                                  SUPPLIERS OR VENDORS       11/1/2018         $69,726.34
                          10580 N PORT WASHINGTON
CONCORD SIX LLC           ROAD                                                                          MEQUON              WI           53092                                  SUPPLIERS OR VENDORS       12/4/2018         $69,726.34
                          10580 N PORT WASHINGTON
CONCORD SIX LLC           ROAD                                                                          MEQUON              WI           53092                                  SUPPLIERS OR VENDORS      12/11/2018         $48,366.72
CONCORDIA UNIVERSITY                                 12800 N LAKE SHORE
WISCONSIN                 SCHOOL OF PHARMACY         DRIVE                                              MEQUON              WI           53097-0000                             SUPPLIERS OR VENDORS      10/26/2018           $1,000.00
CONCRETE SHOP             312 E WISCONSIN ST                                                            WEYAUWEGA           WI           54983                                  SUPPLIERS OR VENDORS       11/1/2018             $760.00
                                                     4183 SOLUTIONS
CONIFER SPECIALTIES INC   LOCKBOX 774183             CENTER                                             CHICAGO             IL           60677-4001                             SUPPLIERS OR VENDORS      10/18/2018         $54,730.44
CONNAR PURTLE             STORE 2-139                SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/15/2018              $5.45
CONNAR PURTLE             STORE 2-139                SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/29/2018              $3.82
CONNIE BORYS              5015 RIVER HEIGHTS DRIVE                                                      MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS      12/17/2018             $10.96
CONNIE BRUGGER            85562 HWY 35                                                                  WINSIDE             NE           68790                                  SUPPLIERS OR VENDORS       11/1/2018             $11.87
CONNIE CACIOPPO           5207 CLEVELAND LN                                                             PASCO               WA           99301                                  SUPPLIERS OR VENDORS      12/21/2018             $15.00
CONNIE COMES              3222 NICKLAUS DR                                                              RAPID CITY          SD           57702                                  SUPPLIERS OR VENDORS      11/26/2018             $27.00
CONNIE DITTBERNER         P O BOX 317                                                                   MADISON             NE           68748                                  SUPPLIERS OR VENDORS       11/5/2018             $53.54
CONNIE ERICKSON           514 AMERICAS WAY           #2709                                              BOX ELDER           SD           57719                                  SUPPLIERS OR VENDORS      11/29/2018             $42.24
CONNIE FOX                603 SOUTH BROADWAY                                                            WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS      10/18/2018             $27.00
CONNIE GUILLIAUME         841 SOUTH 9TH                                                                 LINCOLN             NE           68508                                  SUPPLIERS OR VENDORS      10/29/2018             $13.15
CONNIE GUILLIAUME         841 SOUTH 9TH                                                                 LINCOLN             NE           68508                                  SUPPLIERS OR VENDORS       11/5/2018             $60.85
CONNIE JEANNOT            1610 CLARK DR                                                                 WENATCHEE           WA           98801                                  SUPPLIERS OR VENDORS      10/26/2018             $19.00
CONNIE KANGAS             112 W CLARK ST                                                                NEGAUNEE            MI           49866                                  SUPPLIERS OR VENDORS      10/25/2018             $42.00
CONNIE LARSON             28608 89TH AVE                                                                BOYD                WI           54726                                  SUPPLIERS OR VENDORS      11/14/2018             $64.00
CONNIE SCHMIDT            9907 E 13TH AVE                                                               SPOKANE VALLEY      WA           99206                                  SUPPLIERS OR VENDORS      11/16/2018             $30.00
CONNIE WALKER             1023 N. 4TH ST., APT. 9                                                       ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS      10/25/2018             $12.16
CONNIE WHITE              345 NE KAMIAKEN                                                               PULLMAN             WA           99163                                  SUPPLIERS OR VENDORS      10/29/2018             $18.00



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CONNOISSEURS PRODUCTS
CORPORATION             VICE PRESIDENT OF SALES   17 PEESIDENTIAL WAY                               WOBURN              MA           01801-1040                             SUPPLIERS OR VENDORS      10/18/2018            $535.20

CONNOISSEURS PRODUCTS
CORPORATION             VICE PRESIDENT OF SALES   17 PEESIDENTIAL WAY                               WOBURN              MA           01801-1040                             SUPPLIERS OR VENDORS      10/25/2018            $610.00

CONNOISSEURS PRODUCTS
CORPORATION             VICE PRESIDENT OF SALES   17 PEESIDENTIAL WAY                               WOBURN              MA           01801-1040                             SUPPLIERS OR VENDORS       11/1/2018            $151.60

CONNOISSEURS PRODUCTS
CORPORATION             VICE PRESIDENT OF SALES   17 PEESIDENTIAL WAY                               WOBURN              MA           01801-1040                             SUPPLIERS OR VENDORS       11/8/2018            $569.65

CONNOISSEURS PRODUCTS
CORPORATION             VICE PRESIDENT OF SALES   17 PEESIDENTIAL WAY                               WOBURN              MA           01801-1040                             SUPPLIERS OR VENDORS      11/15/2018            $286.40

CONNOISSEURS PRODUCTS
CORPORATION             VICE PRESIDENT OF SALES   17 PEESIDENTIAL WAY                               WOBURN              MA           01801-1040                             SUPPLIERS OR VENDORS      11/22/2018            $588.60

CONNOISSEURS PRODUCTS
CORPORATION             VICE PRESIDENT OF SALES   17 PEESIDENTIAL WAY                               WOBURN              MA           01801-1040                             SUPPLIERS OR VENDORS      11/29/2018            $505.90
CONNOR LABAR            859 ARCH ST                                                                 GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS      12/13/2018             $24.00
CONRAD KOPITZKE         3401 LAU LN                                                                 BRILLION            WI           54110                                  SUPPLIERS OR VENDORS       11/9/2018             $25.00
CONSTANCE BAYER         2623 OAKCREST DR                                                            NEENAH              WI           54956                                  SUPPLIERS OR VENDORS       11/9/2018             $50.00
CONSTANCE GASIOR        N7862 SPUR RD                                                               SHELDON             WI           54766                                  SUPPLIERS OR VENDORS      11/26/2018             $40.00
CONSTANCE HUNTER        15540 GILKEY LAKE ROAD                                                      CRIVITZ             WI           54114                                  SUPPLIERS OR VENDORS       11/9/2018             $30.00
CONSTANCE PODOLSKI      2692 FAIRVIEW RD                                                            NEENAH              WI           54956                                  SUPPLIERS OR VENDORS       11/2/2018             $25.00
CONSTANCE PORT          333 W DANE                                                                  LANARK              IL           61046                                  SUPPLIERS OR VENDORS      10/26/2018              $2.00
                                                  3651 WEST IRVING PARK
CONTINENTAL OPTICAL     BEN-GLO OPTICAL LIMITED   ROAD                                              CHICAGO             IL           60618                                  SUPPLIERS OR VENDORS      10/18/2018            $101.72
                                                  3651 WEST IRVING PARK
CONTINENTAL OPTICAL     BEN-GLO OPTICAL LIMITED   ROAD                                              CHICAGO             IL           60618                                  SUPPLIERS OR VENDORS      10/18/2018         $22,199.20
                                                  3651 WEST IRVING PARK
CONTINENTAL OPTICAL     BEN-GLO OPTICAL LIMITED   ROAD                                              CHICAGO             IL           60618                                  SUPPLIERS OR VENDORS      10/25/2018         $15,585.12
                                                  3651 WEST IRVING PARK
CONTINENTAL OPTICAL     BEN-GLO OPTICAL LIMITED   ROAD                                              CHICAGO             IL           60618                                  SUPPLIERS OR VENDORS      10/25/2018         $30,205.35
                                                  3651 WEST IRVING PARK
CONTINENTAL OPTICAL     BEN-GLO OPTICAL LIMITED   ROAD                                              CHICAGO             IL           60618                                  SUPPLIERS OR VENDORS       11/1/2018           $5,868.03
                                                  3651 WEST IRVING PARK
CONTINENTAL OPTICAL     BEN-GLO OPTICAL LIMITED   ROAD                                              CHICAGO             IL           60618                                  SUPPLIERS OR VENDORS       11/1/2018           $8,841.21
                                                  3651 WEST IRVING PARK
CONTINENTAL OPTICAL     BEN-GLO OPTICAL LIMITED   ROAD                                              CHICAGO             IL           60618                                  SUPPLIERS OR VENDORS       11/8/2018           $4,462.36
                                                  3651 WEST IRVING PARK
CONTINENTAL OPTICAL     BEN-GLO OPTICAL LIMITED   ROAD                                              CHICAGO             IL           60618                                  SUPPLIERS OR VENDORS       11/8/2018         $50,080.39
                                                  3651 WEST IRVING PARK
CONTINENTAL OPTICAL     BEN-GLO OPTICAL LIMITED   ROAD                                              CHICAGO             IL           60618                                  SUPPLIERS OR VENDORS      11/22/2018         $18,814.08
                                                  3651 WEST IRVING PARK
CONTINENTAL OPTICAL     BEN-GLO OPTICAL LIMITED   ROAD                                              CHICAGO             IL           60618                                  SUPPLIERS OR VENDORS      11/22/2018         $30,280.72
                                                  3651 WEST IRVING PARK
CONTINENTAL OPTICAL     BEN-GLO OPTICAL LIMITED   ROAD                                              CHICAGO             IL           60618                                  SUPPLIERS OR VENDORS      11/29/2018           $1,222.34
                                                  3651 WEST IRVING PARK
CONTINENTAL OPTICAL     BEN-GLO OPTICAL LIMITED   ROAD                                              CHICAGO             IL           60618                                  SUPPLIERS OR VENDORS      11/29/2018           $4,312.56
                                                  3651 WEST IRVING PARK
CONTINENTAL OPTICAL     BEN-GLO OPTICAL LIMITED   ROAD                                              CHICAGO             IL           60618                                  SUPPLIERS OR VENDORS      12/12/2018           $8,618.96



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                                                                                                                                                                               Reasons for payment or    Dates of    Total Amount or
      Creditor Name             Address1                  Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
                                                    3651 WEST IRVING PARK
CONTINENTAL OPTICAL    BEN-GLO OPTICAL LIMITED      ROAD                                              CHICAGO             IL           60618                                  SUPPLIERS OR VENDORS      12/12/2018         $21,089.78
                                                    3651 WEST IRVING PARK
CONTINENTAL OPTICAL    BEN-GLO OPTICAL LIMITED      ROAD                                              CHICAGO             IL           60618                                  SUPPLIERS OR VENDORS      12/14/2018             $52.18
                                                    3651 WEST IRVING PARK
CONTINENTAL OPTICAL    BEN-GLO OPTICAL LIMITED      ROAD                                              CHICAGO             IL           60618                                  SUPPLIERS OR VENDORS      12/18/2018           $4,073.32
                                                    3651 WEST IRVING PARK
CONTINENTAL OPTICAL    BEN-GLO OPTICAL LIMITED      ROAD                                              CHICAGO             IL           60618                                  SUPPLIERS OR VENDORS      12/18/2018         $41,233.08
                                                    3651 WEST IRVING PARK
CONTINENTAL OPTICAL    BEN-GLO OPTICAL LIMITED      ROAD                                              CHICAGO             IL           60618                                  SUPPLIERS OR VENDORS      12/21/2018             $42.56
                                                    3651 WEST IRVING PARK
CONTINENTAL OPTICAL    BEN-GLO OPTICAL LIMITED      ROAD                                              CHICAGO             IL           60618                                  SUPPLIERS OR VENDORS      12/27/2018            $340.89
CONTOUR FINE TOOLING
INCORPORATED           143 JAFFREY ROAD                                                               MARLBOROUGH         NH           03455                                  SUPPLIERS OR VENDORS      10/18/2018            $420.00
CONTOUR FINE TOOLING
INCORPORATED           143 JAFFREY ROAD                                                               MARLBOROUGH         NH           03455                                  SUPPLIERS OR VENDORS      10/25/2018            $420.00
CONTOUR FINE TOOLING
INCORPORATED           143 JAFFREY ROAD                                                               MARLBOROUGH         NH           03455                                  SUPPLIERS OR VENDORS       11/1/2018            $350.00
CONTOUR FINE TOOLING
INCORPORATED           143 JAFFREY ROAD                                                               MARLBOROUGH         NH           03455                                  SUPPLIERS OR VENDORS       11/8/2018            $420.00
CONTOUR FINE TOOLING
INCORPORATED           143 JAFFREY ROAD                                                               MARLBOROUGH         NH           03455                                  SUPPLIERS OR VENDORS      11/29/2018            $840.00
CONVERSE COUNTY
TREASURER              107 N 5TH SUITE 129                                                            DOUGLAS             WY           82633                                  SUPPLIERS OR VENDORS       11/6/2018          $4,960.30
COOKIES UNITED LLC     141 FREEMAN AVENUE                                                             ISLIP               NY           11751                                  SUPPLIERS OR VENDORS       11/8/2018         $76,274.69
COOKWARE COMPANY       PO BOX 21125                                                                   NEW YORK            NY           10087-1125                             SUPPLIERS OR VENDORS       11/2/2018         $60,276.24
COOKWARE COMPANY       PO BOX 21125                                                                   NEW YORK            NY           10087-1125                             SUPPLIERS OR VENDORS      11/16/2018        $112,994.99
COOKWARE COMPANY       PO BOX 21125                                                                   NEW YORK            NY           10087-1125                             SUPPLIERS OR VENDORS      11/23/2018         $14,595.60
COOKWARE COMPANY       PO BOX 21125                                                                   NEW YORK            NY           10087-1125                             SUPPLIERS OR VENDORS      11/27/2018         $23,784.00
COOKWARE COMPANY       PO BOX 21125                                                                   NEW YORK            NY           10087-1125                             SUPPLIERS OR VENDORS      11/30/2018         $44,222.00
COOPER HUXOLL          472 MODELEIRE DR                                                               LA GRANDE           OR           97850                                  SUPPLIERS OR VENDORS      12/13/2018              $5.00
COPESAN SERVICES
INCORPORATED           PO BOX 8442                                                                    CAROL STREAM        IL           60197-8442                             SUPPLIERS OR VENDORS       11/9/2018         $21,061.04
COPESAN SERVICES
INCORPORATED           PO BOX 8442                                                                    CAROL STREAM        IL           60197-8442                             SUPPLIERS OR VENDORS      12/19/2018         $21,032.43

COPIA PARTNERS LLC     3276 DEMOCRAT ROAD STE 7-9                                                     MEMPHIS             TN           38118                                  SUPPLIERS OR VENDORS      10/25/2018            $672.00

COPIA PARTNERS LLC     3276 DEMOCRAT ROAD STE 7-9                                                     MEMPHIS             TN           38118                                  SUPPLIERS OR VENDORS      11/15/2018            $386.39

COPIA PARTNERS LLC     3276 DEMOCRAT ROAD STE 7-9                                                     MEMPHIS             TN           38118                                  SUPPLIERS OR VENDORS      11/22/2018            $198.94
COPPER COTTAGE OF
MIDWESTERN MECH INC    4105 N LEWIS AVENUE                                                            SIOUX FALLS         SD           57104                                  SUPPLIERS OR VENDORS      11/29/2018            $410.03
COPPER COUNTRY CUBES
FALLONS SUBS           532 QUINCY STREET            PAM TO ORACLE                                     HANCOCK             MI           49930                                  SUPPLIERS OR VENDORS      10/18/2018             $76.40
CORAZON ARMBRUST       407 W WAUSAU STREET                                                            COLBY               WI           54421                                  SUPPLIERS OR VENDORS      11/14/2018              $4.20
CORD ANDREW            1408 N. HUME AVE                                                               MARSHFIELD          WI           54449                                  SUPPLIERS OR VENDORS      12/20/2018             $23.00
CORD MEYER             P O BOX 1186                                                                   WOODRUFF            WI           54568                                  SUPPLIERS OR VENDORS       12/7/2018             $35.98
                                                    1035 NATHAN LANE
CORE MARK INTERNATIONAL MINTER WEISMAN COMPANY      NORTH                                             PLYMOUTH            MN           55441                                  SUPPLIERS OR VENDORS      10/18/2018         $62,723.87
                                                    1035 NATHAN LANE
CORE MARK INTERNATIONAL MINTER WEISMAN COMPANY      NORTH                                             PLYMOUTH            MN           55441                                  SUPPLIERS OR VENDORS      10/23/2018         $29,157.35
                                                    1035 NATHAN LANE
CORE MARK INTERNATIONAL MINTER WEISMAN COMPANY      NORTH                                             PLYMOUTH            MN           55441                                  SUPPLIERS OR VENDORS      10/25/2018         $57,801.05



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                                                                                                                                                                              Reasons for payment or    Dates of    Total Amount or
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                                                   1035 NATHAN LANE
CORE MARK INTERNATIONAL MINTER WEISMAN COMPANY     NORTH                                             PLYMOUTH            MN           55441                                  SUPPLIERS OR VENDORS      10/30/2018         $27,487.45
                                                   1035 NATHAN LANE
CORE MARK INTERNATIONAL MINTER WEISMAN COMPANY     NORTH                                             PLYMOUTH            MN           55441                                  SUPPLIERS OR VENDORS       11/1/2018         $58,833.48
                                                   1035 NATHAN LANE
CORE MARK INTERNATIONAL MINTER WEISMAN COMPANY     NORTH                                             PLYMOUTH            MN           55441                                  SUPPLIERS OR VENDORS       11/6/2018         $30,321.17
                                                   1035 NATHAN LANE
CORE MARK INTERNATIONAL MINTER WEISMAN COMPANY     NORTH                                             PLYMOUTH            MN           55441                                  SUPPLIERS OR VENDORS       11/8/2018         $60,048.35
                                                   1035 NATHAN LANE
CORE MARK INTERNATIONAL MINTER WEISMAN COMPANY     NORTH                                             PLYMOUTH            MN           55441                                  SUPPLIERS OR VENDORS      11/13/2018         $46,969.41
                                                   1035 NATHAN LANE
CORE MARK INTERNATIONAL MINTER WEISMAN COMPANY     NORTH                                             PLYMOUTH            MN           55441                                  SUPPLIERS OR VENDORS      11/15/2018         $54,552.75
                                                   1035 NATHAN LANE
CORE MARK INTERNATIONAL MINTER WEISMAN COMPANY     NORTH                                             PLYMOUTH            MN           55441                                  SUPPLIERS OR VENDORS      11/27/2018        $137,367.13
                                                   1035 NATHAN LANE
CORE MARK INTERNATIONAL MINTER WEISMAN COMPANY     NORTH                                             PLYMOUTH            MN           55441                                  SUPPLIERS OR VENDORS      11/29/2018         $27,654.02
                                                   1035 NATHAN LANE
CORE MARK INTERNATIONAL MINTER WEISMAN COMPANY     NORTH                                             PLYMOUTH            MN           55441                                  SUPPLIERS OR VENDORS       12/4/2018         $38,016.63
                                                   1035 NATHAN LANE
CORE MARK INTERNATIONAL   MINTER WEISMAN COMPANY   NORTH                                             PLYMOUTH            MN           55441                                  SUPPLIERS OR VENDORS       12/6/2018         $94,837.58
COREY BRESEE              1358 12TH ST SE                                                            SALEM               OR           97302                                  SUPPLIERS OR VENDORS       11/9/2018            $184.97
COREY KREUSER             3221 97TH ST                                                               STURTEVANT          WI           53177                                  SUPPLIERS OR VENDORS      10/26/2018             $32.96
COREY MCGEE               315 EAST NORTH                                                             ROODHOUSE           IL           62082                                  SUPPLIERS OR VENDORS       11/9/2018             $45.00
COREY THOMPSON            N9275 COUNTY RD. X                                                         SEYMOUR             WI           54165                                  SUPPLIERS OR VENDORS      12/13/2018             $65.00
COREY UMBLE               STORE 4-134              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/1/2018            $259.42
COREY UMBLE               STORE 4-134              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/13/2018            $518.84
CORI LARSON               401 JOHN STREET                                                            RIPON               WI           54971                                  SUPPLIERS OR VENDORS      11/26/2018            $120.00
CORINNE REILLY            488 3RD ST SW                                                              BRITT               IA           50423                                  SUPPLIERS OR VENDORS      11/26/2018             $12.00
CORINNE REILLY            488 3RD ST SW                                                              BRITT               IA           50423                                  SUPPLIERS OR VENDORS      11/26/2018             $48.00
CORNELSEN LEASING
COMPANY                   PO BOX 495                                                                 FAIRVIEW            OK           73737                                  SUPPLIERS OR VENDORS      11/15/2018           $7,950.00
CORNELSEN LEASING
COMPANY                   PO BOX 495                                                                 FAIRVIEW            OK           73737                                  SUPPLIERS OR VENDORS      12/19/2018           $7,950.00
CORNER II LIMITED         3665A ROUTE 112                                                            CORAM               NY           11727                                  SUPPLIERS OR VENDORS      11/29/2018             $563.52
CORRALS IRRIGATION &
LAWN CARE                 511 ST HILAIRE RD                                                          YAKIMA              WA           98901                                  SUPPLIERS OR VENDORS      10/18/2018           $1,114.46
CORRALS IRRIGATION &
LAWN CARE                 511 ST HILAIRE RD                                                          YAKIMA              WA           98901                                  SUPPLIERS OR VENDORS      11/29/2018            $779.04
CORRALS IRRIGATION &
LAWN CARE                 511 ST HILAIRE RD                                                          YAKIMA              WA           98901                                  SUPPLIERS OR VENDORS      12/17/2018            $811.50
CORRECTIONAL INDUSTRIES
ACCOUNTING                PO BOX 41116 MS41116                                                       OLYMPIA             WA           98504-1116                             SUPPLIERS OR VENDORS      12/17/2018            $110.00
CORRECTIONAL INDUSTRIES
ACCOUNTING                PO BOX 41116 MS41116                                                       OLYMPIA             WA           98504-1116                             SUPPLIERS OR VENDORS      12/21/2018             $22.00
CORREEN ISAKSON           PO BOX 303                                                                 FOUNTAIN CITY       WI           54629                                  SUPPLIERS OR VENDORS      12/20/2018             $10.00
CORRIN MAIER              6105 RIVER ROAD                                                            WAUNAKEE            WI           53597                                  SUPPLIERS OR VENDORS       12/7/2018             $23.00
CORRINE KING              1005 MIILWAKEE                                                             LAKEFIELD           MN           56150                                  SUPPLIERS OR VENDORS       12/3/2018             $28.30
CORVALIS WA LLC           MARK MALDONADO           245 ALMENDRA AVE                                  LOS GATOS           CA           95030                                  SUPPLIERS OR VENDORS       11/1/2018         $57,346.88
CORVALIS WA LLC           MARK MALDONADO           245 ALMENDRA AVE                                  LOS GATOS           CA           95030                                  SUPPLIERS OR VENDORS       12/4/2018         $57,346.88

CORVALIS WA LLC           18303 80TH AVE                                                             KENMORE             WA           98028                                  LANDLORD RENT PAYMENT       1/9/2019         $59,605.21
CORY ARJES                409 1ST SE                                                                 AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS       12/7/2018            $198.00
CORY GEE                  134 W 50 S                                                                 RUPERT              ID           83350                                  SUPPLIERS OR VENDORS       11/2/2018             $31.98
CORY MILES                STORE OPERATIONS         SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/9/2018          $1,128.99



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CORY MILES            STORE OPERATIONS            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/14/2018            $1,614.75
CORY THOMPSON         STORE 142                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/30/2018              $176.58
CORY THOMPSON         STORE 142                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/14/2018               $54.50
CORY TOWNSEND         STORE 040                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/16/2018              $510.46
CORY VELTUS           1009 FOREST EDGE DR                                                           KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS        11/29/2018                $6.60
COSMOS CORPORATION    103 ENTERPRISE DR                                                             WENTZVILLE          MO           63385                                  SUPPLIERS OR VENDORS        10/18/2018            $2,816.21
                      75 REMITTANCE DRIVE SUITE
COTY US LLC           6435                                                                          CHICAGO             IL           60675-6435                             SUPPLIERS OR VENDORS       10/18/2018              $150.00
                      75 REMITTANCE DRIVE SUITE
COTY US LLC           6435                                                                          CHICAGO             IL           60675-6435                             SUPPLIERS OR VENDORS       10/18/2018           $89,086.63
                      75 REMITTANCE DRIVE SUITE
COTY US LLC           6435                                                                          CHICAGO             IL           60675-6435                             SUPPLIERS OR VENDORS       10/20/2018           $16,955.85
                      75 REMITTANCE DRIVE SUITE
COTY US LLC           6435                                                                          CHICAGO             IL           60675-6435                             SUPPLIERS OR VENDORS       10/24/2018           $10,871.15
                      75 REMITTANCE DRIVE SUITE
COTY US LLC           6435                                                                          CHICAGO             IL           60675-6435                             SUPPLIERS OR VENDORS       10/30/2018            $3,848.95
                      75 REMITTANCE DRIVE SUITE
COTY US LLC           6435                                                                          CHICAGO             IL           60675-6435                             SUPPLIERS OR VENDORS       10/31/2018            $6,592.77
                      75 REMITTANCE DRIVE SUITE
COTY US LLC           6435                                                                          CHICAGO             IL           60675-6435                             SUPPLIERS OR VENDORS       10/31/2018           $10,621.52
                      75 REMITTANCE DRIVE SUITE
COTY US LLC           6435                                                                          CHICAGO             IL           60675-6435                             SUPPLIERS OR VENDORS        11/3/2018           $57,949.49
                      75 REMITTANCE DRIVE SUITE
COTY US LLC           6435                                                                          CHICAGO             IL           60675-6435                             SUPPLIERS OR VENDORS        11/6/2018           $39,357.01
                      75 REMITTANCE DRIVE SUITE
COTY US LLC           6435                                                                          CHICAGO             IL           60675-6435                             SUPPLIERS OR VENDORS        11/7/2018            $4,098.33
                      75 REMITTANCE DRIVE SUITE
COTY US LLC           6435                                                                          CHICAGO             IL           60675-6435                             SUPPLIERS OR VENDORS        11/9/2018           $10,854.33
                      75 REMITTANCE DRIVE SUITE
COTY US LLC           6435                                                                          CHICAGO             IL           60675-6435                             SUPPLIERS OR VENDORS       11/10/2018            $1,609.86
                      75 REMITTANCE DRIVE SUITE
COTY US LLC           6435                                                                          CHICAGO             IL           60675-6435                             SUPPLIERS OR VENDORS       11/13/2018           $24,304.33
                      75 REMITTANCE DRIVE SUITE
COTY US LLC           6435                                                                          CHICAGO             IL           60675-6435                             SUPPLIERS OR VENDORS       11/14/2018            $4,943.51
                      75 REMITTANCE DRIVE SUITE
COTY US LLC           6435                                                                          CHICAGO             IL           60675-6435                             SUPPLIERS OR VENDORS       11/17/2018           $10,010.89
                      75 REMITTANCE DRIVE SUITE
COTY US LLC           6435                                                                          CHICAGO             IL           60675-6435                             SUPPLIERS OR VENDORS       11/24/2018            $2,948.85
                      75 REMITTANCE DRIVE SUITE
COTY US LLC           6435                                                                          CHICAGO             IL           60675-6435                             SUPPLIERS OR VENDORS       11/24/2018           $49,821.67
                      75 REMITTANCE DRIVE SUITE
COTY US LLC           6435                                                                          CHICAGO             IL           60675-6435                             SUPPLIERS OR VENDORS       11/27/2018           $24,369.66
                      75 REMITTANCE DRIVE SUITE
COTY US LLC           6435                                                                          CHICAGO             IL           60675-6435                             SUPPLIERS OR VENDORS       11/28/2018            $8,420.86
                      75 REMITTANCE DRIVE SUITE
COTY US LLC           6435                                                                          CHICAGO             IL           60675-6435                             SUPPLIERS OR VENDORS       11/28/2018           $16,941.97
                      75 REMITTANCE DRIVE SUITE
COTY US LLC           6435                                                                          CHICAGO             IL           60675-6435                             SUPPLIERS OR VENDORS        12/1/2018            $4,809.93
                      75 REMITTANCE DRIVE SUITE
COTY US LLC           6435                                                                          CHICAGO             IL           60675-6435                             SUPPLIERS OR VENDORS        12/4/2018           $43,554.28
                      75 REMITTANCE DRIVE SUITE
COTY US LLC           6435                                                                          CHICAGO             IL           60675-6435                             SUPPLIERS OR VENDORS        12/5/2018           $20,246.61
COUNTRY MEDIA
INCORPORATED          PO BOX 9278                                                                   PORTLAND            OR           97207                                  SUPPLIERS OR VENDORS       11/27/2018              $140.00



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COUNTRY VISIONS          709 MILL STREET          PO BOX 460                                        REEDSVILLE          WI           54230                                  SUPPLIERS OR VENDORS        12/18/2018               $68.63
COURISTAN INCORPORATED
(C-HUB)                  PO BOX 9464                                                                UNIONDALE           NY           11555-9464                             SUPPLIERS OR VENDORS       11/15/2018              $218.40
COURTNEY BUCH            N4792 MALUEG RD                                                            TIGERTON            WI           54486                                  SUPPLIERS OR VENDORS        11/8/2018               $23.00
COURTNEY DORZOK          N 858 MAPLE DR                                                             CAMPBELLSPORT       WI           53010                                  SUPPLIERS OR VENDORS       11/26/2018               $30.00
COURTNEY HUNTER          1105 DAMMAR LANE                                                           YAKIMA              WA           98908                                  SUPPLIERS OR VENDORS       10/25/2018                $2.12

COURTNEY LAWN & SNOW     605 8TH STREET E                                                           CRESCO              IA           52136                                  SUPPLIERS OR VENDORS       10/18/2018              $363.80

COURTNEY LAWN & SNOW     605 8TH STREET E                                                           CRESCO              IA           52136                                  SUPPLIERS OR VENDORS       11/15/2018              $272.85
COURTNEY LUCCHESE        1043 ELM                                                                   BELOIT              WI           53511                                  SUPPLIERS OR VENDORS        11/2/2018                $1.00
COURTNEY LUCCHESE        1043 ELM                                                                   BELOIT              WI           53511                                  SUPPLIERS OR VENDORS        11/2/2018                $2.00

COURTNEY SCHUMACHER      102 GREENWAY DR                                                            COMBINED LOCKS      WI           54113                                  SUPPLIERS OR VENDORS       10/22/2018               $25.00
COURTNEY SHAVER          2013 SW 36TH PL                                                            REDMOND             OR           97756                                  SUPPLIERS OR VENDORS        11/7/2018               $13.14
COURTNEY SHAVER          2013 SW 36TH PL                                                            REDMOND             OR           97756                                  SUPPLIERS OR VENDORS        11/7/2018               $35.02
COY BROWN III            BOX 937                                                                    FORSYTH             MT           59327                                  SUPPLIERS OR VENDORS       11/26/2018               $52.02

CPT NETWORK SOLUTIONS    1062 THORNDALE AVENUE                                                      BENSENVILLE         IL           60106                                  SUPPLIERS OR VENDORS       10/19/2018           $16,796.44

CPT NETWORK SOLUTIONS    1062 THORNDALE AVENUE                                                      BENSENVILLE         IL           60106                                  SUPPLIERS OR VENDORS       10/26/2018            $3,329.51

CPT NETWORK SOLUTIONS    1062 THORNDALE AVENUE                                                      BENSENVILLE         IL           60106                                  SUPPLIERS OR VENDORS        11/2/2018           $11,611.91

CPT NETWORK SOLUTIONS    1062 THORNDALE AVENUE                                                      BENSENVILLE         IL           60106                                  SUPPLIERS OR VENDORS        11/9/2018           $15,916.22

CPT NETWORK SOLUTIONS    1062 THORNDALE AVENUE                                                      BENSENVILLE         IL           60106                                  SUPPLIERS OR VENDORS       11/16/2018           $31,112.91

CPT NETWORK SOLUTIONS    1062 THORNDALE AVENUE                                                      BENSENVILLE         IL           60106                                  SUPPLIERS OR VENDORS       11/30/2018            $3,595.54

CPT NETWORK SOLUTIONS    1062 THORNDALE AVENUE                                                      BENSENVILLE         IL           60106                                  SUPPLIERS OR VENDORS       12/19/2018            $1,579.30

CPT NETWORK SOLUTIONS    1062 THORNDALE AVENUE                                                      BENSENVILLE         IL           60106                                  SUPPLIERS OR VENDORS       12/21/2018              $966.21

CPT NETWORK SOLUTIONS    1062 THORNDALE AVENUE                                                      BENSENVILLE         IL           60106                                  SUPPLIERS OR VENDORS       12/22/2018              $429.10

CPT NETWORK SOLUTIONS    1062 THORNDALE AVENUE                                                      BENSENVILLE         IL           60106                                  SUPPLIERS OR VENDORS        1/10/2019            $4,651.13
CR HOLLAND CRANE
SERVICES INCORPORATED    35545 HWY 69                                                               FOREST CITY         IA           50436                                  SUPPLIERS OR VENDORS       10/25/2018              $200.00
CR HOLLAND CRANE
SERVICES INCORPORATED    35545 HWY 69                                                               FOREST CITY         IA           50436                                  SUPPLIERS OR VENDORS       11/15/2018              $200.00

CR LOCK & SAFE           CRAIG REDLAND            1035 AMORETTI STREET                              THERMOPOLIS         WY           82443                                  SUPPLIERS OR VENDORS       10/25/2018               $65.00
CRAIG AMES               1501 W. HARRISON ST                                                        FREEPORT            IL           61032                                  SUPPLIERS OR VENDORS       11/26/2018               $13.82
CRAIG BIERMAN            816 PEARL ST                                                               FAULKTON            SD           57438                                  SUPPLIERS OR VENDORS        11/5/2018               $48.64
CRAIG CRAM               STORE 2-669              SHOPKO EMPLOYEE        PO BOX 271                 OELWEIN             IA           50662-0000                             SUPPLIERS OR VENDORS        11/8/2018              $312.49
CRAIG CRAM               STORE 2-669              SHOPKO EMPLOYEE        PO BOX 271                 OELWEIN             IA           50662-0000                             SUPPLIERS OR VENDORS       11/15/2018              $223.64
CRAIG CRAM               STORE 2-669              SHOPKO EMPLOYEE        PO BOX 271                 OELWEIN             IA           50662-0000                             SUPPLIERS OR VENDORS        12/6/2018              $183.12
CRAIG DAHME              171 SOUTH SUNSET DRIVE                                                     MINA                SD           57451                                  SUPPLIERS OR VENDORS       12/13/2018               $48.64
CRAIG DEWITT             STORE 179                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/19/2018               $68.64
CRAIG DEWITT             STORE 179                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/26/2018               $44.69
CRAIG DEWITT             STORE 179                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/9/2018               $83.58
CRAIG DEWITT             STORE 179                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/30/2018              $381.42
CRAIG DEWITT             STORE 179                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/11/2018              $136.95



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                                                                                                                                                                                  Reasons for payment or    Dates of     Total Amount or
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CRAIG DEWITT              STORE 179                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/20/2018               $69.24
CRAIG DEWITT              STORE 179                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/29/2018              $318.79
CRAIG GARDNER             806 MCINTOSH ST                                                               WAUSAU              WI           54403                                  SUPPLIERS OR VENDORS         11/1/2018               $22.32
CRAIG JANSSEN             N3743 MEADE STREET                                                            APPLETON            WI           54913                                  SUPPLIERS OR VENDORS        11/29/2018               $42.77
CRAIG JONES               1112 RED OAK CIRCLE                                                           WATERTOWN           WI           53094                                  SUPPLIERS OR VENDORS         11/5/2018                $9.00
CRAIG LOHMEIER            434 S DOUGLAS COURT                                                           WHITEWATER          WI           53190                                  SUPPLIERS OR VENDORS        10/22/2018               $25.00
CRAIG OLSON               N2292 GLEN ROSE LN                                                            GREENVILLE          WI           54942                                  SUPPLIERS OR VENDORS        11/14/2018               $25.00
CRAIG SCHLEUSNER          E8501 760TH AVE                                                               COLFAX              WI           54730                                  SUPPLIERS OR VENDORS        10/24/2018               $28.99
CRAIG SULLIVAN            STORE 003                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/18/2018              $122.56
CRAIG SULLIVAN            STORE 003                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         12/6/2018              $654.33
                          4366 NORTH VALLEY VIEW
CRAIG THELEN              CIRCLE                                                                        NEWTON              WI           53063                                  SUPPLIERS OR VENDORS       10/25/2018               $23.00
CRAIG VAN DER LEEST       820 N. 4TH AVE.                                                               EDGAR               WI           54426                                  SUPPLIERS OR VENDORS       12/13/2018               $25.00
CRAIG VENDING &
DISTRIBUTING              PO BOX 2736                                                                   GILLETTE            WY           82717                                  SUPPLIERS OR VENDORS       12/20/2018               $42.00
CRAIG WILLIAMS            3 N BASIN DR                                                                  NEGAUNEE            MI           49866                                  SUPPLIERS OR VENDORS       11/30/2018               $30.00
CRAIG ZANGL               W4307 NIAGARA LANE                                                            FOND DU LAC         WI           54937                                  SUPPLIERS OR VENDORS       10/19/2018               $34.00
CRAYOLA L L S             BOX 93210                   525 WEST MONROE                                   CHICAGO             IL           60673-3210                             SUPPLIERS OR VENDORS       10/20/2018            $1,894.56
CRAYOLA L L S             BOX 93210                   525 WEST MONROE                                   CHICAGO             IL           60673-3210                             SUPPLIERS OR VENDORS       10/23/2018            $4,260.73
CRAYOLA L L S             BOX 93210                   525 WEST MONROE                                   CHICAGO             IL           60673-3210                             SUPPLIERS OR VENDORS       10/27/2018            $3,368.34
CRAYOLA L L S             BOX 93210                   525 WEST MONROE                                   CHICAGO             IL           60673-3210                             SUPPLIERS OR VENDORS       10/30/2018            $7,576.75
CRAYOLA L L S             BOX 93210                   525 WEST MONROE                                   CHICAGO             IL           60673-3210                             SUPPLIERS OR VENDORS        11/2/2018               $61.73
CRAYOLA L L S             BOX 93210                   525 WEST MONROE                                   CHICAGO             IL           60673-3210                             SUPPLIERS OR VENDORS        11/6/2018            $6,741.02
CRAYOLA L L S             BOX 93210                   525 WEST MONROE                                   CHICAGO             IL           60673-3210                             SUPPLIERS OR VENDORS        11/7/2018            $1,265.44
CRAYOLA L L S             BOX 93210                   525 WEST MONROE                                   CHICAGO             IL           60673-3210                             SUPPLIERS OR VENDORS        11/9/2018           $88,832.00
CRAYOLA L L S             BOX 93210                   525 WEST MONROE                                   CHICAGO             IL           60673-3210                             SUPPLIERS OR VENDORS       11/10/2018            $8,985.38
CRAYOLA L L S             BOX 93210                   525 WEST MONROE                                   CHICAGO             IL           60673-3210                             SUPPLIERS OR VENDORS       11/13/2018            $3,457.60
CRAYOLA L L S             BOX 93210                   525 WEST MONROE                                   CHICAGO             IL           60673-3210                             SUPPLIERS OR VENDORS       11/24/2018           $11,951.32
CRAYOLA L L S             BOX 93210                   525 WEST MONROE                                   CHICAGO             IL           60673-3210                             SUPPLIERS OR VENDORS       11/28/2018           $17,439.35
CRAYOLA L L S             BOX 93210                   525 WEST MONROE                                   CHICAGO             IL           60673-3210                             SUPPLIERS OR VENDORS        12/4/2018            $3,548.05
CREATIVE CO OP
INCORPORATED              HSBC                        DEPT CH 91841                                     PALATINE            IL           60055-0000                             SUPPLIERS OR VENDORS        11/1/2018            $2,932.16
CREATIVE CONVERTING DIV
OF HOFFMASTER             VICE PRESIDENT OF SALES     255 SPRING STREET                                 CLINTONVILLE        WI           54929                                  SUPPLIERS OR VENDORS       10/26/2018           $72,775.80
CREATIVE CONVERTING DIV
OF HOFFMASTER             VICE PRESIDENT OF SALES     255 SPRING STREET                                 CLINTONVILLE        WI           54929                                  SUPPLIERS OR VENDORS        11/2/2018           $24,685.52
CREATIVE CONVERTING DIV
OF HOFFMASTER             VICE PRESIDENT OF SALES     255 SPRING STREET                                 CLINTONVILLE        WI           54929                                  SUPPLIERS OR VENDORS        11/9/2018           $20,899.00
CREATIVE CONVERTING DIV
OF HOFFMASTER             VICE PRESIDENT OF SALES     255 SPRING STREET                                 CLINTONVILLE        WI           54929                                  SUPPLIERS OR VENDORS       11/30/2018           $19,195.00
                          SCHOOL OF PHARMACY &
CREIGHTON UNIVERSITY      ALLIED HEALTH               2500 CALIFORNIA PLAZA                             OMAHA               NE           68178                                  SUPPLIERS OR VENDORS       10/26/2018            $1,000.00
CRESCO SHOPPER
INCORPORATED              PO BOX 117                                                                    CRESCO              IA           52136                                  SUPPLIERS OR VENDORS       12/17/2018               $80.00

CRESTWOOD AFTER PROM      1000 SCHRODER DRIVE                                                           CRESCO              IA           52136                                  SUPPLIERS OR VENDORS        11/2/2018              $125.00

CRICKET LAWN SERVICE INC PO BOX 9601                                                                    RAPID CITY          SD           57709                                  SUPPLIERS OR VENDORS        11/9/2018              $646.99

CRICKET LAWN SERVICE INC PO BOX 9601                                                                    RAPID CITY          SD           57709                                  SUPPLIERS OR VENDORS       12/18/2018              $431.33
                         575 MOROSGO DRIVE NE SUITE
CRICKET WIRELESS LLC     10G57                                                                          ATLANTA             GA           30324                                  SUPPLIERS OR VENDORS       10/18/2018            $5,749.16
                         575 MOROSGO DRIVE NE SUITE
CRICKET WIRELESS LLC     10G57                                                                          ATLANTA             GA           30324                                  SUPPLIERS OR VENDORS       10/30/2018           $24,275.45



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                         575 MOROSGO DRIVE NE SUITE
CRICKET WIRELESS LLC     10G57                                                                           ATLANTA             GA           30324                                  SUPPLIERS OR VENDORS       11/1/2018            $4,928.92
                         575 MOROSGO DRIVE NE SUITE
CRICKET WIRELESS LLC     10G57                                                                           ATLANTA             GA           30324                                  SUPPLIERS OR VENDORS       11/8/2018          $22,190.94
                         575 MOROSGO DRIVE NE SUITE
CRICKET WIRELESS LLC     10G57                                                                           ATLANTA             GA           30324                                  SUPPLIERS OR VENDORS      11/13/2018            $1,110.29
                         575 MOROSGO DRIVE NE SUITE
CRICKET WIRELESS LLC     10G57                                                                           ATLANTA             GA           30324                                  SUPPLIERS OR VENDORS      11/15/2018            $2,260.14
                         575 MOROSGO DRIVE NE SUITE
CRICKET WIRELESS LLC     10G57                                                                           ATLANTA             GA           30324                                  SUPPLIERS OR VENDORS      11/27/2018          $33,364.28
CRISTINA ARANDA          1201 8TH ST NW                                                                  AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS       11/5/2018              $15.00

CRISTINA CASIS           1290 PLEASANT VALLEY DRIVE                                                      ONIEDA              WI           54155                                  SUPPLIERS OR VENDORS      11/26/2018              $10.00
CRISTINA CASTILLO        212 W. 2ND AVE.                                                                 TOPPENISH           WA           98948                                  SUPPLIERS OR VENDORS      11/30/2018              $10.00
CRISTINA GOMEZ           513 DANIELSON DRIVE                                                             DARIEN              WI           53114                                  SUPPLIERS OR VENDORS      11/29/2018              $50.00
CRISTY MEUNIER           320 UNION AVE                                                                   OCONTOFALLS         WI           54154                                  SUPPLIERS OR VENDORS      11/26/2018             $199.97
CRITEO CORP              PO BOX 123520                                                                   DALLAS              TX           75312-3520                             SUPPLIERS OR VENDORS       11/1/2018          $18,877.59
CRITEO CORP              PO BOX 123520                                                                   DALLAS              TX           75312-3520                             SUPPLIERS OR VENDORS      12/17/2018          $21,357.33
CROELL PROPERTIES INC    2010 KENWOOD AVENUE          PO BOX 430                                         NEW HAMPTON         IA           50659-0430                             SUPPLIERS OR VENDORS      11/15/2018          $14,152.00
CROELL PROPERTIES INC    2010 KENWOOD AVENUE          PO BOX 430                                         NEW HAMPTON         IA           50659-0430                             SUPPLIERS OR VENDORS      12/19/2018          $14,152.00

CROSMAN CORPORATION      VICE PRESIDENT OF SALES      RTS 5 & 20                                         EAST BLOOMFIELD NY               14443                                  SUPPLIERS OR VENDORS      10/22/2018            $3,711.47

CROSMAN CORPORATION      VICE PRESIDENT OF SALES      RTS 5 & 20                                         EAST BLOOMFIELD NY               14443                                  SUPPLIERS OR VENDORS      10/29/2018            $7,767.68

CROSMAN CORPORATION      VICE PRESIDENT OF SALES      RTS 5 & 20                                         EAST BLOOMFIELD NY               14443                                  SUPPLIERS OR VENDORS       11/5/2018             $980.09

CROSMAN CORPORATION      VICE PRESIDENT OF SALES      RTS 5 & 20                                         EAST BLOOMFIELD NY               14443                                  SUPPLIERS OR VENDORS      11/12/2018            $2,405.12

CROSMAN CORPORATION      VICE PRESIDENT OF SALES      RTS 5 & 20                                         EAST BLOOMFIELD NY               14443                                  SUPPLIERS OR VENDORS      11/16/2018            $2,553.84

CROSMAN CORPORATION      VICE PRESIDENT OF SALES      RTS 5 & 20                                         EAST BLOOMFIELD NY               14443                                  SUPPLIERS OR VENDORS      11/22/2018            $1,952.45

CROSMAN CORPORATION      VICE PRESIDENT OF SALES      RTS 5 & 20                                         EAST BLOOMFIELD NY               14443                                  SUPPLIERS OR VENDORS      11/23/2018          $13,418.54

CROSMAN CORPORATION      VICE PRESIDENT OF SALES      RTS 5 & 20                                         EAST BLOOMFIELD NY               14443                                  SUPPLIERS OR VENDORS      11/26/2018          $21,471.14

CROSMAN CORPORATION      VICE PRESIDENT OF SALES      RTS 5 & 20                                         EAST BLOOMFIELD NY               14443                                  SUPPLIERS OR VENDORS       12/3/2018            $2,305.18

CROSSMARK GRAPHICS       16100 WEST OVERLAND DRIVE                                                       NEW BERLIN          WI           53151                                  SUPPLIERS OR VENDORS      10/25/2018             $754.05

CROSSMARK GRAPHICS       16100 WEST OVERLAND DRIVE                                                       NEW BERLIN          WI           53151                                  SUPPLIERS OR VENDORS      10/25/2018            $1,638.13

CROSSMARK GRAPHICS       16100 WEST OVERLAND DRIVE                                                       NEW BERLIN          WI           53151                                  SUPPLIERS OR VENDORS       11/1/2018         $284,167.67

CROSSMARK GRAPHICS       16100 WEST OVERLAND DRIVE                                                       NEW BERLIN          WI           53151                                  SUPPLIERS OR VENDORS      11/15/2018            $3,765.74

CROSSMARK GRAPHICS       16100 WEST OVERLAND DRIVE                                                       NEW BERLIN          WI           53151                                  SUPPLIERS OR VENDORS      12/20/2018          $82,411.60

CROSSMARK GRAPHICS       16100 WEST OVERLAND DRIVE                                                       NEW BERLIN          WI           53151                                  SUPPLIERS OR VENDORS         1/4/2019        $174,216.33
CROWN CRAFTS             CIT GROUP COMMERCIAL
INCORPORATED             SERVICES INC                 PO BOX 1036                                        CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      10/20/2018            $2,024.56
                                                      SHOPKO STORES
CROWN DISTRIBUTING L L C CASH ON DELIVERY             INCORPORATED            PAM TO ORACLE              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/19/2018              $46.90



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                                                                                                                                                                                   Reasons for payment or    Dates of    Total Amount or
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                                                        SHOPKO STORES
CROWN DISTRIBUTING L L C CASH ON DELIVERY               INCORPORATED           PAM TO ORACLE              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/24/2018            $241.90
                                                        SHOPKO STORES
CROWN DISTRIBUTING L L C CASH ON DELIVERY               INCORPORATED           PAM TO ORACLE              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/29/2018             $46.90
                                                        SHOPKO STORES
CROWN DISTRIBUTING L L C CASH ON DELIVERY               INCORPORATED           PAM TO ORACLE              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/31/2018            $128.70
                                                        SHOPKO STORES
CROWN DISTRIBUTING L L C CASH ON DELIVERY               INCORPORATED           PAM TO ORACLE              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/30/2018             $27.84
                                                        SHOPKO STORES
CROWN DISTRIBUTING L L C CASH ON DELIVERY               INCORPORATED           PAM TO ORACLE              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/11/2018             $39.40
                                                        SHOPKO STORES
CROWN DISTRIBUTING L L C CASH ON DELIVERY               INCORPORATED           PAM TO ORACLE              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/14/2018             $34.90
                                                        SHOPKO STORES
CROWN DISTRIBUTING L L C CASH ON DELIVERY               INCORPORATED           PAM TO ORACLE              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/20/2018            $206.00
                                                        SHOPKO STORES
CROWN DISTRIBUTING L L C   CASH ON DELIVERY             INCORPORATED           PAM TO ORACLE              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/27/2018             $69.80
CRYSTAL ART GALLERY        RGGD INCORPORATED            DEPT CH 16738                                     PALATINE            IL           60055-6738                             SUPPLIERS OR VENDORS      10/25/2018          $7,129.52
CRYSTAL ART GALLERY        RGGD INCORPORATED            DEPT CH 16738                                     PALATINE            IL           60055-6738                             SUPPLIERS OR VENDORS       11/1/2018          $2,733.75
CRYSTAL ART GALLERY        RGGD INCORPORATED            DEPT CH 16738                                     PALATINE            IL           60055-6738                             SUPPLIERS OR VENDORS       11/8/2018         $29,865.42
CRYSTAL ART GALLERY        RGGD INCORPORATED            DEPT CH 16738                                     PALATINE            IL           60055-6738                             SUPPLIERS OR VENDORS      11/15/2018         $53,479.12
CRYSTAL ART GALLERY        RGGD INCORPORATED            DEPT CH 16738                                     PALATINE            IL           60055-6738                             SUPPLIERS OR VENDORS      11/29/2018          $8,171.66
CRYSTAL BARTSCH            529 LINDA DR                                                                   EAGLE LAKE          MN           56024                                  SUPPLIERS OR VENDORS      11/26/2018             $30.00
CRYSTAL DIEDRICH           3832 WIRT ST                                                                   OMAHA               NE           68111                                  SUPPLIERS OR VENDORS      10/25/2018              $2.00
CRYSTAL HOLT               1203 1/2 RIVER RD #1                                                           MISSOULA            MT           59801                                  SUPPLIERS OR VENDORS      11/16/2018             $69.98
CRYSTAL ICE COMPANY        VICE PRESIDENT OF SALES      PO BOX 875                                        WHEATLAND           WY           82201                                  SUPPLIERS OR VENDORS      10/18/2018             $90.00
CRYSTAL ICE COMPANY        VICE PRESIDENT OF SALES      PO BOX 875                                        WHEATLAND           WY           82201                                  SUPPLIERS OR VENDORS      11/15/2018             $90.00
CRYSTAL ICE COMPANY        VICE PRESIDENT OF SALES      PO BOX 875                                        WHEATLAND           WY           82201                                  SUPPLIERS OR VENDORS      12/20/2018             $90.00
CRYSTAL KETTER             N1528 SHOENBORN RD                                                             CHILTON             WI           53014                                  SUPPLIERS OR VENDORS       11/2/2018             $32.00
                                                        1410 BROADWAY 24TH
CRYSTAL KOBE LIMITED       VICE PRESIDENT OF SALES      FLOOR                                             NEW YORK            NY           10018-5007                             SUPPLIERS OR VENDORS      10/31/2018         $64,514.24
                                                        1410 BROADWAY 24TH
CRYSTAL KOBE LIMITED       VICE PRESIDENT OF SALES      FLOOR                                             NEW YORK            NY           10018-5007                             SUPPLIERS OR VENDORS       11/1/2018            $335.60
                                                        1410 BROADWAY 24TH
CRYSTAL KOBE LIMITED       VICE PRESIDENT OF SALES      FLOOR                                             NEW YORK            NY           10018-5007                             SUPPLIERS OR VENDORS       11/5/2018         $46,742.20
                                                        1410 BROADWAY 24TH
CRYSTAL KOBE LIMITED       VICE PRESIDENT OF SALES      FLOOR                                             NEW YORK            NY           10018-5007                             SUPPLIERS OR VENDORS       11/7/2018           $4,664.80
CRYSTAL LAUMEYER           217 LAUMEYER RD                                                                NASHUA              MT           59248                                  SUPPLIERS OR VENDORS       11/9/2018              $16.00
CRYSTAL MAIER              N5378 FELSON RIDGE COURT                                                       JOHNSON CREEK       WI           53038                                  SUPPLIERS OR VENDORS      11/26/2018              $30.00
CRYSTAL SANDERS            411 EAST 7 TH ST                                                               BLUE EARTH          MN           56013                                  SUPPLIERS OR VENDORS      11/12/2018              $10.00
CRYSTAL SANDERS            411 EAST 7 TH ST                                                               BLUE EARTH          MN           56013                                  SUPPLIERS OR VENDORS      11/12/2018              $15.00
CRYSTAL STEGALL            STORE 694                    SHOPKO EMPLOYEE        PO BOX 720                 ALLIANCE            NE           69301-0720                             SUPPLIERS OR VENDORS       11/9/2018             $403.30
CRYSTAL STEGALL            STORE 694                    SHOPKO EMPLOYEE        PO BOX 720                 ALLIANCE            NE           69301-0720                             SUPPLIERS OR VENDORS       12/8/2018             $734.49
CRYSTAL THYRION            319 SECOND ST                                                                  OCONTO              WI           54153                                  SUPPLIERS OR VENDORS       11/2/2018              $59.00
CRYSTAL VOSBERG            504 EDGEWOOD AVW                                                               ALBERT LEA          MN           56007                                  SUPPLIERS OR VENDORS      11/30/2018              $15.00
CSB DIV C STEIN            4719 MARKET STREET STE 100                                                     BOISE               ID           83705                                  SUPPLIERS OR VENDORS      10/18/2018             $116.39
CSB DIV C STEIN            4719 MARKET STREET STE 100                                                     BOISE               ID           83705                                  SUPPLIERS OR VENDORS      10/25/2018             $179.25
CSB DIV C STEIN            4719 MARKET STREET STE 100                                                     BOISE               ID           83705                                  SUPPLIERS OR VENDORS       11/1/2018              $28.90
CSB DIV C STEIN            4719 MARKET STREET STE 100                                                     BOISE               ID           83705                                  SUPPLIERS OR VENDORS       11/8/2018             $111.39
CSB DIV C STEIN            4719 MARKET STREET STE 100                                                     BOISE               ID           83705                                  SUPPLIERS OR VENDORS      11/15/2018             $203.05
CSB DIV C STEIN            4719 MARKET STREET STE 100                                                     BOISE               ID           83705                                  SUPPLIERS OR VENDORS      11/22/2018              $77.20
CSB DIV C STEIN            4719 MARKET STREET STE 100                                                     BOISE               ID           83705                                  SUPPLIERS OR VENDORS      11/29/2018             $131.34
CSB DIV C STEIN            4719 MARKET STREET STE 100                                                     BOISE               ID           83705                                  SUPPLIERS OR VENDORS      12/20/2018             $356.22
CSB DIV C STEIN            4719 MARKET STREET STE 100                                                     BOISE               ID           83705                                  SUPPLIERS OR VENDORS      12/27/2018              $94.88




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                                                                                                                                                                                Reasons for payment or    Dates of    Total Amount or
       Creditor Name              Address1                 Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
                                                    200 E WASHINGTON
CSC, LLC                C/O PFEFFERLE MANAGEMENT    STREET SUITE 2A                                    APPLETON            WI           54911                                  SUPPLIERS OR VENDORS      10/31/2018            $481.76
                                                    200 E WASHINGTON
CSC, LLC                C/O PFEFFERLE MANAGEMENT    STREET SUITE 2A                                    APPLETON            WI           54911                                  SUPPLIERS OR VENDORS       11/1/2018         $20,207.32
                                                    200 E WASHINGTON
CSC, LLC                C/O PFEFFERLE MANAGEMENT    STREET SUITE 2A                                    APPLETON            WI           54911                                  SUPPLIERS OR VENDORS       12/3/2018         $20,207.32
                                                                                                                                                                               PURCHASE OF
CSG APPAREL             18304 80TH AVE                                                                 KENMORE             WA           98029                                  MERCHANDISE               10/16/2018        $280,922.68
CSG APPAREL             PO BOX 79                   PAM TO ORACLE                                      MEMPHIS             TN           38101-0079                             SUPPLIERS OR VENDORS      11/22/2018        $199,369.39
CUB FOODS MANKATO       1800 MADISON AVENUE                                                            MANKATO             MN           56001                                  SUPPLIERS OR VENDORS       11/1/2018             $16.24

                        RICHIE WATER CONDITIONING
CULLIGAN FAIRMONT       INCORPORATED                1030 N STATE STREET                                FAIRMONT            MN           56031-0906                             SUPPLIERS OR VENDORS      10/25/2018             $27.92

                        RICHIE WATER CONDITIONING
CULLIGAN FAIRMONT       INCORPORATED                1030 N STATE STREET                                FAIRMONT            MN           56031-0906                             SUPPLIERS OR VENDORS      11/29/2018             $29.32

                        RICHIE WATER CONDITIONING
CULLIGAN FAIRMONT       INCORPORATED                1030 N STATE STREET                                FAIRMONT            MN           56031-0906                             SUPPLIERS OR VENDORS        1/4/2019             $29.33
CULLIGAN LAKE MILLS     203 S CP AVE                                                                   LAKE MILLS          WI           53551                                  SUPPLIERS OR VENDORS      11/26/2018            $236.32
CULLIGAN OF PINE CITY   DEPARTMENT 8940             PO BOX 77043                                       MINNEAPOLIS         MN           55480-7743                             SUPPLIERS OR VENDORS       11/1/2018             $44.53
CULLIGAN OF PINE CITY   DEPARTMENT 8940             PO BOX 77043                                       MINNEAPOLIS         MN           55480-7743                             SUPPLIERS OR VENDORS      12/17/2018             $44.53
CULLIGAN OF PINE CITY   DEPARTMENT 8940             PO BOX 77043                                       MINNEAPOLIS         MN           55480-7743                             SUPPLIERS OR VENDORS        1/4/2019             $44.53
CULLIGAN OF ST CLOUD    DEPARTMENT 8952             PO BOX 77043                                       MINNEAPOLIS         MN           55480-7743                             SUPPLIERS OR VENDORS      10/18/2018             $41.98
CULLIGAN OF ST CLOUD    DEPARTMENT 8952             PO BOX 77043                                       MINNEAPOLIS         MN           55480-7743                             SUPPLIERS OR VENDORS      11/15/2018             $41.98
CULLIGAN OF ST CLOUD    DEPARTMENT 8952             PO BOX 77043                                       MINNEAPOLIS         MN           55480-7743                             SUPPLIERS OR VENDORS        1/4/2019             $41.98
CULLIGAN WATER COND     PO BOX 206                                                                     WORTHINGTON         MN           56187                                  SUPPLIERS OR VENDORS       11/1/2018            $171.60
CULLIGAN WATER
CONDITIONING            PO BOX 705                                                                     ALLIANCE            NE           69301-0486                             SUPPLIERS OR VENDORS       11/1/2018            $287.41
CULLIGAN WATER
CONDITIONING            PO BOX 705                                                                     ALLIANCE            NE           69301-0486                             SUPPLIERS OR VENDORS       11/8/2018             $35.21
CURE APPAREL LLC        3338 S MALT AVE                                                                COMMERCE            CA           90040-3126                             SUPPLIERS OR VENDORS      11/23/2018         $33,060.94
CURT BROZIK             STORE 012                   SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS      12/13/2018            $200.99
CURT EISENBEISZ         1423 S. 7TH ST.                                                                ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS      10/24/2018             $48.64
CURT EISENBEISZ         1423 S. 7TH ST.                                                                ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS      11/29/2018             $12.16
CURT LEGGETT            1750 WESTCHESTER CT NW.                                                        SALEM               OR           97304                                  SUPPLIERS OR VENDORS      12/19/2018             $10.50
CURT STAFFORD           STORE 009                   SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        1/3/2019             $84.36
CURTIS CLARK            14711 FOLKSTONE                                                                WAVERLY             NE           68462                                  SUPPLIERS OR VENDORS      10/29/2018             $13.15
CURTIS CLARK            14711 FOLKSTONE                                                                WAVERLY             NE           68462                                  SUPPLIERS OR VENDORS      10/29/2018             $60.85
CURTIS INTERNATIONAL                                7045 BECKETT DRIVE
LIMITED                 VICE PRESIDENT OF SALES     UNIT 15                                            MISSISSAUGA         ON           L5S 2A3      CANADA                    SUPPLIERS OR VENDORS      11/14/2018        $162,537.78
CURTIS KRAMER           26487 590TH ST                                                                 MANTORVILLE         MN           55955                                  SUPPLIERS OR VENDORS      11/29/2018             $72.42
CURTIS REESE            1305 HEIDI HAVEN COURT                                                         OSHKOSH             WI           54904                                  SUPPLIERS OR VENDORS       12/7/2018             $60.60
CURTISS FARM & AUTO     203 E 1ST AVENUE                                                               PLENTYWOOD          MT           59254                                  SUPPLIERS OR VENDORS      10/19/2018             $30.00
CURTISS FARM & AUTO     203 E 1ST AVENUE                                                               PLENTYWOOD          MT           59254                                  SUPPLIERS OR VENDORS      10/23/2018             $60.00
CURTISS FARM & AUTO     203 E 1ST AVENUE                                                               PLENTYWOOD          MT           59254                                  SUPPLIERS OR VENDORS      10/26/2018             $30.00
CURTISS FARM & AUTO     203 E 1ST AVENUE                                                               PLENTYWOOD          MT           59254                                  SUPPLIERS OR VENDORS      10/30/2018             $75.00
CURTISS FARM & AUTO     203 E 1ST AVENUE                                                               PLENTYWOOD          MT           59254                                  SUPPLIERS OR VENDORS       11/2/2018             $60.00
CURTISS FARM & AUTO     203 E 1ST AVENUE                                                               PLENTYWOOD          MT           59254                                  SUPPLIERS OR VENDORS       11/6/2018             $60.00
CURTISS FARM & AUTO     203 E 1ST AVENUE                                                               PLENTYWOOD          MT           59254                                  SUPPLIERS OR VENDORS       11/9/2018             $60.00
CURTISS FARM & AUTO     0                           203 E 1ST AVENUE                                   PLENTYWOOD          MT           59254                                  SUPPLIERS OR VENDORS      11/24/2018              $1.00
CURTISS FARM & AUTO     203 E 1ST AVENUE                                                               PLENTYWOOD          MT           59254                                  SUPPLIERS OR VENDORS      11/27/2018            $180.00
CURTISS FARM & AUTO     0                           203 E 1ST AVENUE                                   PLENTYWOOD          MT           59254                                  SUPPLIERS OR VENDORS      11/30/2018              $1.00
CURTISS FARM & AUTO     203 E 1ST AVENUE                                                               PLENTYWOOD          MT           59254                                  SUPPLIERS OR VENDORS      11/30/2018             $60.00



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CURTISS FARM & AUTO      203 E 1ST AVENUE                                                            PLENTYWOOD          MT           59254                                  SUPPLIERS OR VENDORS         12/6/2018               $60.00
CURTISS FARM & AUTO      203 E 1ST AVENUE                                                            PLENTYWOOD          MT           59254                                  SUPPLIERS OR VENDORS        12/18/2018              $390.00
CURTS LAWN SERVICE       CURT WOLTJER              PO BOX 101                                        PERHAM              MN           56573-0101                             SUPPLIERS OR VENDORS         11/8/2018              $182.50
CUSTER COUNTY
BROADCASTING CO          79895 HWY 2               PO BOX 409                                        BROKEN BOW          NE           68822                                  SUPPLIERS OR VENDORS       11/26/2018               $12.83

CUSTER COUNTY CHRONICLE 522 MT RUSHMORE RD                                                           CUSTER              SD           57730                                  SUPPLIERS OR VENDORS       10/30/2018               $15.00

CUSTER COUNTY CHRONICLE 522 MT RUSHMORE RD                                                           CUSTER              SD           57730                                  SUPPLIERS OR VENDORS       12/21/2018               $15.00
CUSTER DISTRICT HEALTH
UNIT                    403 BURLINGTON STREET SE                                                     MANDAN              ND           58554                                  SUPPLIERS OR VENDORS        12/7/2018              $165.00

CUSTER HIGH SCHOOL CHOIR 1645 WILD CAT LANE                                                          CUSTER              SD           57730                                  SUPPLIERS OR VENDORS       11/15/2018              $300.00

CUSTOM ACCESSORIES INC   5900 AMI DRIVE                                                              RICHMOND            IL           60071                                  SUPPLIERS OR VENDORS       10/30/2018            $2,274.49

CUSTOM ACCESSORIES INC   5900 AMI DRIVE                                                              RICHMOND            IL           60071                                  SUPPLIERS OR VENDORS        11/6/2018            $2,587.68

CUSTOM ACCESSORIES INC   5900 AMI DRIVE                                                              RICHMOND            IL           60071                                  SUPPLIERS OR VENDORS       11/13/2018            $1,085.23

CUSTOM ACCESSORIES INC   5900 AMI DRIVE                                                              RICHMOND            IL           60071                                  SUPPLIERS OR VENDORS       11/27/2018            $2,214.42

CUSTOM CABINET COMPANY
INCORPORATED           2344 OCONNOR ROAD                                                             GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS       11/16/2018              $590.80

CUSTOM LANDSCAPING INC PO BOX 65                                                                     EAGLE RIVER         WI           54521                                  SUPPLIERS OR VENDORS       10/29/2018              $232.10

CUSTOM LANDSCAPING INC   PO BOX 65                                                                   EAGLE RIVER         WI           54521                                  SUPPLIERS OR VENDORS       11/12/2018               $58.03
CUSTOM LAWN CARE &                                 650 NORTH 10TH
MAINTENANCE SERVICES     ROBERT M BURT             STREET                                            LANDER              WY           82520-2000                             SUPPLIERS OR VENDORS        11/1/2018              $862.50
CUSTOM QUEST INC         PO BOX 193                                                                  SPRINGBORO          OH           45066                                  SUPPLIERS OR VENDORS       10/18/2018           $20,764.68
CUSTOM QUEST INC         PO BOX 193                                                                  SPRINGBORO          OH           45066                                  SUPPLIERS OR VENDORS       10/25/2018           $29,187.00
CUSTOM QUEST INC         PO BOX 193                                                                  SPRINGBORO          OH           45066                                  SUPPLIERS OR VENDORS        11/1/2018           $12,696.00
CUSTOM QUEST INC         PO BOX 193                                                                  SPRINGBORO          OH           45066                                  SUPPLIERS OR VENDORS        11/8/2018           $14,273.52
CUSTOM QUEST INC         PO BOX 193                                                                  SPRINGBORO          OH           45066                                  SUPPLIERS OR VENDORS       11/15/2018           $39,835.50
CUSTOM QUEST INC         PO BOX 193                                                                  SPRINGBORO          OH           45066                                  SUPPLIERS OR VENDORS       11/29/2018           $17,338.00
CUSTOM TURF INC          2819 SPRING LAKE RD                                                         QUINCY              IL           62305                                  SUPPLIERS OR VENDORS       10/26/2018              $170.00
CUSTOM TURF INC          2819 SPRING LAKE RD                                                         QUINCY              IL           62305                                  SUPPLIERS OR VENDORS        11/2/2018               $85.00
CUSTOM TURF INC          2819 SPRING LAKE RD                                                         QUINCY              IL           62305                                  SUPPLIERS OR VENDORS         1/5/2019              $255.00
CUSTOMER MINDED
ASSOCIATES               PO BOX 66509                                                                ST PETERSBURG       FL           33736                                  SUPPLIERS OR VENDORS       12/13/2018          $105,153.04
CUSTOMER MINDED
ASSOCIATES               PO BOX 66509                                                                ST PETERSBURG       FL           33736                                  SUPPLIERS OR VENDORS       12/15/2018                $1.00
                         TREVOR R WALTHO DBA TLC   W152 N 6901                                       MENOMONEE
CUT RIGHT LAWN SERVICE   ENTERPRISES LLC           WESTWOOD DR                                       FALLS               WI           53051                                  SUPPLIERS OR VENDORS       10/19/2018              $315.30
                         TREVOR R WALTHO DBA TLC   W152 N 6901                                       MENOMONEE
CUT RIGHT LAWN SERVICE   ENTERPRISES LLC           WESTWOOD DR                                       FALLS               WI           53051                                  SUPPLIERS OR VENDORS         1/5/2019               $78.83
CUTIE PIE BABY           34 WEST 33RD STREET 9TH
INCORPORATED             FLOOR SOUTH               PAM TO ORACLE                                     NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS        11/9/2018           $20,822.82
CUTIE PIE BABY           34 WEST 33RD STREET 9TH
INCORPORATED             FLOOR SOUTH               PAM TO ORACLE                                     NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS       11/13/2018            $3,547.00

CUTTIN EDGE LANDSCAPING BLAKE R BECKER             PO BOX 615                                        MORRIS              IL           60450                                  SUPPLIERS OR VENDORS       10/30/2018              $280.00




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CUTTIN EDGE LANDSCAPING   BLAKE R BECKER              PO BOX 615                                        MORRIS              IL           60450                                  SUPPLIERS OR VENDORS      11/27/2018             $350.00
CUTTING EDGE LANDSCAPE
COMPANY                   5407 ALWORTH ST                                                               BOISE               ID           83714-0000                             SUPPLIERS OR VENDORS      11/15/2018            $1,479.00
CX NORTHWEST
INCORPORATED              PO BOX 522                                                                    NAMPA               ID           83653-0522                             SUPPLIERS OR VENDORS      10/19/2018            $7,118.20
CX NORTHWEST
INCORPORATED              PO BOX 522                                                                    NAMPA               ID           83653-0522                             SUPPLIERS OR VENDORS      10/23/2018            $3,017.40
CX NORTHWEST
INCORPORATED              PO BOX 522                                                                    NAMPA               ID           83653-0522                             SUPPLIERS OR VENDORS      10/26/2018            $6,371.48
CX NORTHWEST
INCORPORATED              PO BOX 522                                                                    NAMPA               ID           83653-0522                             SUPPLIERS OR VENDORS      10/30/2018                $1.00
CX NORTHWEST
INCORPORATED              PO BOX 522                                                                    NAMPA               ID           83653-0522                             SUPPLIERS OR VENDORS       11/1/2018            $8,523.65
CX NORTHWEST
INCORPORATED              PO BOX 522                                                                    NAMPA               ID           83653-0522                             SUPPLIERS OR VENDORS       11/6/2018            $3,210.61
CX NORTHWEST
INCORPORATED              PO BOX 522                                                                    NAMPA               ID           83653-0522                             SUPPLIERS OR VENDORS       11/8/2018            $5,705.09
CX NORTHWEST
INCORPORATED              PO BOX 522                                                                    NAMPA               ID           83653-0522                             SUPPLIERS OR VENDORS      11/13/2018            $3,424.71
CX NORTHWEST
INCORPORATED              PO BOX 522                                                                    NAMPA               ID           83653-0522                             SUPPLIERS OR VENDORS      11/15/2018            $3,014.14
CX NORTHWEST
INCORPORATED              PO BOX 522                                                                    NAMPA               ID           83653-0522                             SUPPLIERS OR VENDORS      11/27/2018          $11,478.55
CX NORTHWEST
INCORPORATED              PO BOX 522                                                                    NAMPA               ID           83653-0522                             SUPPLIERS OR VENDORS      11/29/2018            $3,764.93
CX NORTHWEST
INCORPORATED              PO BOX 522                                                                    NAMPA               ID           83653-0522                             SUPPLIERS OR VENDORS       12/4/2018            $9,017.23
CX NORTHWEST
INCORPORATED              PO BOX 522                                                                    NAMPA               ID           83653-0522                             SUPPLIERS OR VENDORS       12/6/2018            $4,109.54
CX NORTHWEST
INCORPORATED              PO BOX 522                                                                    NAMPA               ID           83653-0522                             SUPPLIERS OR VENDORS      12/10/2018            $8,098.93
CX NORTHWEST
INCORPORATED              PO BOX 522                                                                    NAMPA               ID           83653-0522                             SUPPLIERS OR VENDORS      12/28/2018          $20,284.90
CX NORTHWEST
INCORPORATED              PO BOX 522                                                                    NAMPA               ID           83653-0522                             SUPPLIERS OR VENDORS         1/5/2019         $13,030.43
CX NORTHWEST
INCORPORATED              PO BOX 522                                                                    NAMPA               ID           83653-0522                             SUPPLIERS OR VENDORS       1/10/2019            $1,450.03
CYBERSOURCE
CORPORATION               PO BOX 742842                                                                 LOS ANGELES         CA           90074-2842                             SUPPLIERS OR VENDORS       11/2/2018          $23,096.82
CYBERSOURCE
CORPORATION               PO BOX 742842                                                                 LOS ANGELES         CA           90074-2842                             SUPPLIERS OR VENDORS      11/30/2018          $27,315.65
CYLA FROMM-MINETT         5684 MILL RD                                                                  WAUNAKEE            WI           53597                                  SUPPLIERS OR VENDORS      10/25/2018              $25.00
CYNTHIA ASMUS             399 S PALOUSE ST #6                                                           WALLA WALLA         WA           99362                                  SUPPLIERS OR VENDORS       12/5/2018              $54.40
CYNTHIA BROLIN            PO BOX 273                                                                    FLORENCE            WI           54121                                  SUPPLIERS OR VENDORS       11/1/2018              $61.00
CYNTHIA CORBLY            1010 8TH ST NW                                                                AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS      10/24/2018             $125.00
CYNTHIA COX               2310 MIRRO DRIVE APT 7                                                        MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS       11/8/2018              $10.00
CYNTHIA FRANK             5018 STONEHAVEN DRIVE                                                         MADISON             WI           53716                                  SUPPLIERS OR VENDORS      12/10/2018              $30.00
                          N3525 TRIELOFF ROAD - LOT
CYNTHIA KREBS             319                                                                           FORT ATKINSON       WI           53538                                  SUPPLIERS OR VENDORS      10/24/2018              $18.90
CYNTHIA KURTZ             608 W HATTING                                                                 LUVERNE             MN           56156                                  SUPPLIERS OR VENDORS       11/1/2018               $7.50
CYNTHIA LIEBAU            STORE 2-029                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/1/2018              $46.30
CYNTHIA LIEBAU            STORE 2-029                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/13/2018              $88.29




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CYNTHIA MALVITZ OVERLY   STORE 4-602               SHOPKO EMPLOYEE        126 CHARLES STREET         OCONTO              WI           54153-9446                             SUPPLIERS OR VENDORS      11/29/2018              $228.90
CYNTHIA MCKINSEY         43 E WILLIE AVE APT 421                                                     SPOKANE             WA           99208                                  SUPPLIERS OR VENDORS       11/2/2018               $19.00
CYNTHIA MCMULLEN         302 KINGS DR                                                                BELLEVUE            NE           68005                                  SUPPLIERS OR VENDORS      10/22/2018               $42.00
CYNTHIA SAGE             930 FARMLINE RD           APT 301                                           WACONIA             MN           55387                                  SUPPLIERS OR VENDORS      10/29/2018               $10.80
CYNTHIA SCHWARZHUBER     25 BEAGLE ST                                                                CHETEK              WI           54728                                  SUPPLIERS OR VENDORS      11/26/2018               $70.00
CYNTHIA YOUNG            12984 IDLEWOOD DR                                                           ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       12/5/2018               $10.00
D & D MAINTENANCE LLC    505 VALLEY RD                                                               MENASHA             WI           54952                                  SUPPLIERS OR VENDORS      10/26/2018            $1,165.50
D & D MAINTENANCE LLC    505 VALLEY RD                                                               MENASHA             WI           54952                                  SUPPLIERS OR VENDORS      11/30/2018            $1,254.75
D & D TRANSPORTATION
SERVICES INC             PO BOX 116                                                                  GOODING             ID           83330                                  SUPPLIERS OR VENDORS         1/5/2019         $17,684.08
D & D TRANSPORTATION
SERVICES INC             PO BOX 116                                                                  GOODING             ID           83330                                  SUPPLIERS OR VENDORS         1/8/2019           $3,087.31
D & D TRANSPORTATION
SERVICES INC             PO BOX 116                                                                  GOODING             ID           83330                                  SUPPLIERS OR VENDORS       1/10/2019           $3,083.77
D & E LAWN SERVICE LLC   13288 384TH AVE                                                             ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS      10/18/2018             $422.81
D & H DISTRIBUTING       PO BOX 847862                                                               DALLAS              TX           75284-7862                             SUPPLIERS OR VENDORS      10/30/2018          $88,968.97
D & H DISTRIBUTING       PO BOX 847862                                                               DALLAS              TX           75284-7862                             SUPPLIERS OR VENDORS      10/31/2018          $10,834.95
D & H DISTRIBUTING       PO BOX 847862                                                               DALLAS              TX           75284-7862                             SUPPLIERS OR VENDORS      11/16/2018         $101,537.35
D & L DEVELOPMENT
COMPANY LLC              ATTN DAVE BAUMERT         PO BOX 127                                        WEST POINT          NE           68788                                  SUPPLIERS OR VENDORS      10/29/2018             $270.00
D & L DEVELOPMENT
COMPANY LLC              ATTN DAVE BAUMERT         PO BOX 127                                        WEST POINT          NE           68788                                  SUPPLIERS OR VENDORS      11/15/2018          $14,501.84
D & L DEVELOPMENT
COMPANY LLC              ATTN DAVE BAUMERT         PO BOX 127                                        WEST POINT          NE           68788                                  SUPPLIERS OR VENDORS      12/17/2018          $14,501.84
D A C VISION             PO BOX 961013                                                               FORT WORTH          TX           76161-0013                             SUPPLIERS OR VENDORS      12/20/2018          $16,481.77
D A C VISION             PO BOX 961013                                                               FORT WORTH          TX           76161-0013                             SUPPLIERS OR VENDORS      12/21/2018          $34,294.68
D M L MARKETING GROUP
LTD                      7711 HAYVENHURST AVE                                                        VAN NUYS            CA           91406                                  SUPPLIERS OR VENDORS      10/18/2018          $19,980.94
D M L MARKETING GROUP
LTD                      7711 HAYVENHURST AVE                                                        VAN NUYS            CA           91406                                  SUPPLIERS OR VENDORS      10/22/2018            $1,051.20
D M L MARKETING GROUP
LTD                      7711 HAYVENHURST AVE                                                        VAN NUYS            CA           91406                                  SUPPLIERS OR VENDORS      10/25/2018          $66,282.96
D M L MARKETING GROUP
LTD                      7711 HAYVENHURST AVE                                                        VAN NUYS            CA           91406                                  SUPPLIERS OR VENDORS      10/26/2018            $1,291.20
D M L MARKETING GROUP
LTD                      7711 HAYVENHURST AVE                                                        VAN NUYS            CA           91406                                  SUPPLIERS OR VENDORS      10/29/2018            $2,414.40
D M L MARKETING GROUP
LTD                      7711 HAYVENHURST AVE                                                        VAN NUYS            CA           91406                                  SUPPLIERS OR VENDORS      10/30/2018            $1,198.80
D M L MARKETING GROUP
LTD                      7711 HAYVENHURST AVE                                                        VAN NUYS            CA           91406                                  SUPPLIERS OR VENDORS      10/31/2018         $135,786.68
D M L MARKETING GROUP
LTD                      7711 HAYVENHURST AVE                                                        VAN NUYS            CA           91406                                  SUPPLIERS OR VENDORS      11/15/2018          $19,546.17
D M L MARKETING GROUP
LTD                      7711 HAYVENHURST AVE                                                        VAN NUYS            CA           91406                                  SUPPLIERS OR VENDORS      11/22/2018          $12,504.40
D M L MARKETING GROUP
LTD                      7711 HAYVENHURST AVE                                                        VAN NUYS            CA           91406                                  SUPPLIERS OR VENDORS      11/26/2018          $59,648.40
D M L MARKETING GROUP
LTD                      7711 HAYVENHURST AVE                                                        VAN NUYS            CA           91406                                  SUPPLIERS OR VENDORS      11/27/2018          $32,199.60
D M L MARKETING GROUP
LTD                      7711 HAYVENHURST AVE                                                        VAN NUYS            CA           91406                                  SUPPLIERS OR VENDORS      11/28/2018            $5,144.40
D M L MARKETING GROUP
LTD                      7711 HAYVENHURST AVE                                                        VAN NUYS            CA           91406                                  SUPPLIERS OR VENDORS      11/29/2018          $59,282.18




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                                                                                                                                                                                  Reasons for payment or    Dates of    Total Amount or
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D M L MARKETING GROUP
LTD                     7711 HAYVENHURST AVE                                                             VAN NUYS            CA           91406                                  SUPPLIERS OR VENDORS       12/5/2018           $6,618.96
D M L MARKETING GROUP
LTD                     7711 HAYVENHURST AVE                                                             VAN NUYS            CA           91406                                  SUPPLIERS OR VENDORS      12/11/2018         $10,397.40
D&D MIDWEST
WAREHOUSING LLC         8383 W RIDGEWAY AVENUE                                                           CEDAR FALLS         IA           50613                                  SUPPLIERS OR VENDORS       11/1/2018           $4,500.00
D&D MIDWEST
WAREHOUSING LLC         8383 W RIDGEWAY AVENUE                                                           CEDAR FALLS         IA           50613                                  SUPPLIERS OR VENDORS       12/1/2018           $4,500.00
DACOTA GUMZ             510 WEST CLARK ST                                                                SPENCER             WI           54484                                  SUPPLIERS OR VENDORS      12/17/2018              $66.00
DAKOTA CONTAINERS LLC   PO BOX 56                                                                        WEBSTER             SD           57274                                  SUPPLIERS OR VENDORS      11/16/2018             $158.69
DAKOTA CONTAINERS LLC   PO BOX 56                                                                        WEBSTER             SD           57274                                  SUPPLIERS OR VENDORS      11/30/2018             $348.27
DAKOTA CONTAINERS LLC   PO BOX 56                                                                        WEBSTER             SD           57274                                  SUPPLIERS OR VENDORS        1/5/2019             $253.48
DAKOTA UPREIT LIMITED
PARTNERSHIP             3003 32ND AVENUE S SUITE 250                                                     FARGO               ND           58103                                  SUPPLIERS OR VENDORS      11/15/2018         $21,331.47
DAKOTA UPREIT LIMITED
PARTNERSHIP             3003 32ND AVENUE S SUITE 250                                                     FARGO               ND           58103                                  SUPPLIERS OR VENDORS      12/19/2018         $21,331.47
DAKOTACARE              2600 W 49TH ST                                                                   SIOUX FALLS         SD           57117                                  SUPPLIERS OR VENDORS       12/7/2018             $50.00
DAKTRONICS INC          SDS 12 2222                  PO BOX 86                                           MINNEAPOLIS         MN           55486                                  SUPPLIERS OR VENDORS      10/29/2018          $3,966.80
DALE BURGESS            1218 LONG ST.                                                                    DIXON               IL           61021                                  SUPPLIERS OR VENDORS      11/26/2018            $143.00
                        78976 S FK WALLA WALLA RV                                                        MILTON-
DALE COSPER             RD                                                                               FREEWATER           OR           97862                                  SUPPLIERS OR VENDORS       11/9/2018             $54.40
DALE HERZBERG           STORE 788                    SHOPKO EMPLOYEE          200 COMMERCE DRIVE         COLUMBUS            WI           53925                                  SUPPLIERS OR VENDORS       11/1/2018            $119.36
DALE HERZBERG           STORE 788                    SHOPKO EMPLOYEE          200 COMMERCE DRIVE         COLUMBUS            WI           53925                                  SUPPLIERS OR VENDORS      12/27/2018            $107.37
DALE IMHOFF             P. O. BOX 112                                                                    ROTHSCHILD          WI           54474                                  SUPPLIERS OR VENDORS      11/26/2018             $22.32
DALE IMHOFF             P. O. BOX 112                                                                    ROTHSCHILD          WI           54474                                  SUPPLIERS OR VENDORS      11/29/2018             $39.68

DALE KOVARIK            STORE 647                      SHOPKO EMPLOYEE        1101 N INDIANA AVENUE SYRACUSE                 IN           46567                                  SUPPLIERS OR VENDORS      10/19/2018             $62.64

DALE KOVARIK            STORE 647                      SHOPKO EMPLOYEE        1101 N INDIANA AVENUE SYRACUSE                 IN           46567                                  SUPPLIERS OR VENDORS       11/2/2018             $66.49
DALE MEYER              1220 DOUGLAS AVE                                                            WATERTOWN                WI           53098                                  SUPPLIERS OR VENDORS      11/12/2018             $12.60
DALE PETERSON           P.O. BOX 642                                                                FORT ATKINSON            WI           53538                                  SUPPLIERS OR VENDORS      12/17/2018             $25.00
DALE PIPPENGER          9630 N KILWA CT                                                             SPOKANE                  WA           99208                                  SUPPLIERS OR VENDORS      10/26/2018             $27.00
DALE RECKNER            205 W LOUISA ST                                                             MARSHFIELD               WI           54479                                  SUPPLIERS OR VENDORS      10/23/2018             $25.00
DALE RUESCH             32174 170TH ST                                                              WORTHINGTON              MN           56187                                  SUPPLIERS OR VENDORS      11/26/2018             $27.76
DALE SEATH              1423 LE SUEUR AVE.                                                          MANKATO                  MN           56001                                  SUPPLIERS OR VENDORS      10/18/2018             $79.46
DALE SONNENBURG         POBOX 71                                                                    ESTELLINE                SD           57234                                  SUPPLIERS OR VENDORS      10/29/2018             $14.01
DALE SONNENBURG         POBOX 71                                                                    ESTELLINE                SD           57234                                  SUPPLIERS OR VENDORS      10/29/2018             $32.99
DALE TILLEMA            110 CAROLINE CT                                                             BEAVER DAM               WI           53916                                  SUPPLIERS OR VENDORS       11/2/2018             $60.00
DALE TILLEMA            110 CAROLINE CT                                                             BEAVER DAM               WI           53916                                  SUPPLIERS OR VENDORS      12/19/2018             $30.00
DALE WINCHESTER         1689 W. MAIN CIRCLE, #4                                                     DEPERE                   WI           54115                                  SUPPLIERS OR VENDORS      10/29/2018             $25.00
DALLAS COWBOYS
MERCHANDISING           PO BOX 841598                                                                    DALLAS              TX           75284                                  SUPPLIERS OR VENDORS      10/18/2018         $10,388.00
DALLAS PREHEIM          11 WALLEYE RD.                                                                   LAKE ANDES          SD           57356                                  SUPPLIERS OR VENDORS      12/13/2018             $44.80
DALTON BREZINKA         26677 93RD ST                                                                    PIERZ               MN           56364                                  SUPPLIERS OR VENDORS      11/12/2018            $142.60
DALTON DRAGT            19567 SIOUX HILLS ROAD                                                           HUTCHINSON          MN           55350                                  SUPPLIERS OR VENDORS      10/29/2018             $36.01
DALTON HIGGINS          925 23RD ST                                                                      CHETEK              WI           54728                                  SUPPLIERS OR VENDORS      10/25/2018             $25.00
DALTON KELLNER          175546 TOPPS RD                                                                  HATLEY              WI           54440                                  SUPPLIERS OR VENDORS      10/26/2018            $129.98
DALTON PRESTWOOD        STORE 671                      SHOPKO EMPLOYEE        PO BOX 469                 WAUKON              IA           52172                                  SUPPLIERS OR VENDORS      12/13/2018             $61.59
DALTON VOIGT            1215 WISCONSIN AVE                                                               LITTLE CHUTE        WI           54140                                  SUPPLIERS OR VENDORS      11/29/2018             $23.00
DAMEON CROSSFIELD       P O BOX 576                                                                      BYRON               MN           55920                                  SUPPLIERS OR VENDORS      10/22/2018              $3.00
DAMIAN ZIEGLER          6039 HWY K                                                                       WAUNAKEE            WI           53597                                  SUPPLIERS OR VENDORS       11/5/2018             $63.00
DAMIEN BACKUS           1129 COLLEEN LANE                                                                DE PERE             WI           54115                                  SUPPLIERS OR VENDORS      10/18/2018              $3.27
DAN BRENDEN             PO BOX 227                                                                       WILLOW LAKE         SD           57278                                  SUPPLIERS OR VENDORS      11/28/2018             $11.04
DAN BRENDEN             PO BOX 227                                                                       WILLOW LAKE         SD           57278                                  SUPPLIERS OR VENDORS       12/7/2018             $44.16



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DAN DEE INTERNATIONAL                                                                                                                                                       PURCHASE OF
LIMITED                 18305 80TH AVE                                                              KENMORE             WA           98030                                  MERCHANDISE                11/13/2018         $15,943.50
DAN DEE INTERNATIONAL                                                                                                                                                       PURCHASE OF
LIMITED                 18305 80TH AVE                                                              KENMORE             WA           98030                                  MERCHANDISE                11/26/2018         $85,803.30
DAN DELONAY             STORE 027                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/22/2018            $192.93
DAN DELONAY             STORE 027                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/6/2018            $128.62
DAN HEMANN              STORE 2/762               SHOPKO EMPLOYEE        PO BOX 1352                THERMOPOLIS         WY           82443                                  SUPPLIERS OR VENDORS       10/18/2018            $265.36
DAN MAGNO               ECOMMERCE                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/20/2018            $155.33
DAN MAGSTADT            1112 10TH AVE NE                                                            WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS        11/9/2018             $44.16
DAN POST                7624 MCLEAN DRIVE                                                           HEWITT              WI           54441                                  SUPPLIERS OR VENDORS        12/7/2018             $16.00
DAN TONNON              961 RIVERVIEW DR                                                            GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS       11/30/2018             $25.00
DANA ANDREE             60235 211TH AVE                                                             DODGE CENTER        MN           55927                                  SUPPLIERS OR VENDORS        11/1/2018            $274.98
DANA LESLIE             20745 PATRIOT LANE                                                          BEND                OR           97701                                  SUPPLIERS OR VENDORS        12/7/2018              $3.19
DANA LESLIE             20745 PATRIOT LANE                                                          BEND                OR           97701                                  SUPPLIERS OR VENDORS        12/7/2018              $6.78
                        PRIVATE BRAND & TREND
DANA LEWIS              DIVISION                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/2/2018            $568.36
                        PRIVATE BRAND & TREND
DANA LEWIS              DIVISION                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/9/2018           $3,483.74
                        PRIVATE BRAND & TREND
DANA LEWIS              DIVISION                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/27/2018            $157.17
                        PRIVATE BRAND & TREND
DANA LEWIS              DIVISION                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/30/2018             $42.19
                        PRIVATE BRAND & TREND
DANA LEWIS              DIVISION                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/8/2018           $1,000.00
                        PRIVATE BRAND & TREND
DANA LEWIS              DIVISION                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/20/2018            $812.48
DANA REESE              W. 6057 BLAZING STAR DR                                                     APPLETON            WI           54915                                  SUPPLIERS OR VENDORS        11/8/2018             $25.00
DANA SMITH              939 EMERY ST                                                                STANLEY             WI           54768                                  SUPPLIERS OR VENDORS       10/19/2018             $10.94
DANA TOMSIK             P.O. BOX 651061                                                             SALT LAKE CITY      UT           84165                                  SUPPLIERS OR VENDORS        11/2/2018             $65.00

DANECRAFT INCORPORATED VICE PRESIDENT OF SALES    1 BAKER STREET                                    PROVIDENCE          RI           02905-4417                             SUPPLIERS OR VENDORS       10/22/2018           $2,573.06

DANECRAFT INCORPORATED VICE PRESIDENT OF SALES    1 BAKER STREET                                    PROVIDENCE          RI           02905-4417                             SUPPLIERS OR VENDORS       10/24/2018           $2,782.10

DANECRAFT INCORPORATED VICE PRESIDENT OF SALES    1 BAKER STREET                                    PROVIDENCE          RI           02905-4417                             SUPPLIERS OR VENDORS       10/25/2018            $525.35

DANECRAFT INCORPORATED VICE PRESIDENT OF SALES    1 BAKER STREET                                    PROVIDENCE          RI           02905-4417                             SUPPLIERS OR VENDORS       10/26/2018            $334.40

DANECRAFT INCORPORATED VICE PRESIDENT OF SALES    1 BAKER STREET                                    PROVIDENCE          RI           02905-4417                             SUPPLIERS OR VENDORS       10/29/2018         $97,604.75

DANECRAFT INCORPORATED VICE PRESIDENT OF SALES    1 BAKER STREET                                    PROVIDENCE          RI           02905-4417                             SUPPLIERS OR VENDORS       10/30/2018            $420.80

DANECRAFT INCORPORATED VICE PRESIDENT OF SALES    1 BAKER STREET                                    PROVIDENCE          RI           02905-4417                             SUPPLIERS OR VENDORS       10/31/2018         $47,537.50

DANECRAFT INCORPORATED VICE PRESIDENT OF SALES    1 BAKER STREET                                    PROVIDENCE          RI           02905-4417                             SUPPLIERS OR VENDORS        11/1/2018         $47,128.10

DANECRAFT INCORPORATED VICE PRESIDENT OF SALES    1 BAKER STREET                                    PROVIDENCE          RI           02905-4417                             SUPPLIERS OR VENDORS        11/2/2018           $8,101.90

DANECRAFT INCORPORATED VICE PRESIDENT OF SALES    1 BAKER STREET                                    PROVIDENCE          RI           02905-4417                             SUPPLIERS OR VENDORS        11/5/2018         $22,290.20

DANECRAFT INCORPORATED VICE PRESIDENT OF SALES    1 BAKER STREET                                    PROVIDENCE          RI           02905-4417                             SUPPLIERS OR VENDORS        11/8/2018           $4,818.49

DANECRAFT INCORPORATED VICE PRESIDENT OF SALES    1 BAKER STREET                                    PROVIDENCE          RI           02905-4417                             SUPPLIERS OR VENDORS        11/9/2018           $1,293.05




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DANECRAFT INCORPORATED VICE PRESIDENT OF SALES         1 BAKER STREET                                    PROVIDENCE          RI           02905-4417                             SUPPLIERS OR VENDORS      11/12/2018           $3,916.15

DANECRAFT INCORPORATED VICE PRESIDENT OF SALES         1 BAKER STREET                                    PROVIDENCE          RI           02905-4417                             SUPPLIERS OR VENDORS      11/22/2018         $15,627.40

DANECRAFT INCORPORATED VICE PRESIDENT OF SALES         1 BAKER STREET                                    PROVIDENCE          RI           02905-4417                             SUPPLIERS OR VENDORS      11/23/2018           $4,172.30

DANECRAFT INCORPORATED VICE PRESIDENT OF SALES         1 BAKER STREET                                    PROVIDENCE          RI           02905-4417                             SUPPLIERS OR VENDORS      11/26/2018         $34,839.70

DANECRAFT INCORPORATED VICE PRESIDENT OF SALES         1 BAKER STREET                                    PROVIDENCE          RI           02905-4417                             SUPPLIERS OR VENDORS      11/27/2018            $679.95

DANECRAFT INCORPORATED VICE PRESIDENT OF SALES         1 BAKER STREET                                    PROVIDENCE          RI           02905-4417                             SUPPLIERS OR VENDORS      11/28/2018         $12,487.20

DANECRAFT INCORPORATED VICE PRESIDENT OF SALES         1 BAKER STREET                                    PROVIDENCE          RI           02905-4417                             SUPPLIERS OR VENDORS      11/29/2018           $8,518.10

DANECRAFT INCORPORATED VICE PRESIDENT OF SALES         1 BAKER STREET                                    PROVIDENCE          RI           02905-4417                             SUPPLIERS OR VENDORS      11/30/2018           $2,188.50

DANECRAFT INCORPORATED    VICE PRESIDENT OF SALES      1 BAKER STREET                                    PROVIDENCE          RI           02905-4417                             SUPPLIERS OR VENDORS       12/3/2018           $9,550.65
DANELLE LELAND            207 CEDAR STREET                                                               COLFAX              WI           54730                                  SUPPLIERS OR VENDORS       12/5/2018              $15.00
DANETTE MCMURRAN          222 E COMMERCIAL ST                                                            APPLETON            WI           54911                                  SUPPLIERS OR VENDORS       12/3/2018              $20.00
DANIEL ACKER              254 EWALD AVE SE                                                               SALEM               OR           97302                                  SUPPLIERS OR VENDORS      10/18/2018             $108.78
DANIEL ALLEN              3118 BLAKELEY AVE., APT. 8                                                     EAU CLAIRE          WI           54701                                  SUPPLIERS OR VENDORS      12/13/2018             $190.98
DANIEL BERGSTROM          27563 540TH AVE                                                                AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS      12/21/2018              $16.09
DANIEL BUETTNER           STORE 139                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/25/2018             $122.08
DANIEL CRISP              STORE 550                    SHOPKO EMPLOYEE        100 E HELENA STREET        DILLON              MT           59725-2611                             SUPPLIERS OR VENDORS      11/16/2018             $187.48
DANIEL DANEN              349 KENNEY                                                                     GREEN BAY           WI           54301                                  SUPPLIERS OR VENDORS      10/26/2018              $19.99
DANIEL DEEG               E7769 CUT OFF RD                                                               NEW LONDON          WI           54961                                  SUPPLIERS OR VENDORS      12/21/2018               $4.42
DANIEL DEJARDIN           317 14TH AVE.                                                                  GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS      12/10/2018              $59.91
DANIEL DOBRANSZKY         5413 ATHENS AVENUE                                                             RACINE              WI           53406                                  SUPPLIERS OR VENDORS      11/28/2018              $15.00
DANIEL FIERSTEIN          13506 JOSEPHINE ST                                                             OMAHA               NE           68138                                  SUPPLIERS OR VENDORS      12/14/2018              $16.00
DANIEL FLETCHER           308 LAVESTA CT                                                                 BRILLION            WI           54110                                  SUPPLIERS OR VENDORS      11/15/2018             $166.00
DANIEL FOSS               1811 JOHNSON ST                                                                BELOIT              WI           53511                                  SUPPLIERS OR VENDORS       12/3/2018              $24.13
DANIEL FREY               431 20TH STREET                                                                PRAIRIE DU SAC      WI           53578                                  SUPPLIERS OR VENDORS      10/29/2018              $30.00
DANIEL FULTON             1517 E BEVERLY ST                                                              SIOUX FALLS         SD           57104                                  SUPPLIERS OR VENDORS      11/26/2018              $10.00
DANIEL G KAMIN
MINNESOTA ENTERPRISES     PO BOX 10234                                                                   PITTSBURGH          PA           15232                                  SUPPLIERS OR VENDORS      11/15/2018         $12,672.00
DANIEL G KAMIN
MINNESOTA ENTERPRISES     PO BOX 10234                                                                   PITTSBURGH          PA           15232                                  SUPPLIERS OR VENDORS      11/15/2018         $14,754.07
DANIEL G KAMIN
MINNESOTA ENTERPRISES     PO BOX 10234                                                                   PITTSBURGH          PA           15232                                  SUPPLIERS OR VENDORS      12/19/2018         $12,672.00
DANIEL G KAMIN
MINNESOTA ENTERPRISES     PO BOX 10234                                                                   PITTSBURGH          PA           15232                                  SUPPLIERS OR VENDORS      12/19/2018         $14,754.07
DANIEL G KAMIN STANDISH
LLC                       PO BOX 10234                                                                   PITTSBURGH          PA           15232                                  SUPPLIERS OR VENDORS      11/15/2018         $12,419.75
DANIEL G KAMIN STANDISH
LLC                       PO BOX 10234                                                                   PITTSBURGH          PA           15232                                  SUPPLIERS OR VENDORS      12/19/2018         $12,419.75
DANIEL GUSTIN             STORE 2-102                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/29/2018            $270.32
DANIEL HAAS               1465 MCCARTHY RD                                                               APPLETON            WI           54913                                  SUPPLIERS OR VENDORS       12/7/2018             $27.18
DANIEL HABERMAN           501 SHAWNEE COURT                                                              DE FOREST           WI           53532                                  SUPPLIERS OR VENDORS       11/2/2018             $49.96
DANIEL HALAMA             N40332 WITT HILL RD                                                            WHITEHALL           WI           54773                                  SUPPLIERS OR VENDORS      10/26/2018             $10.56
DANIEL HART               1821 RIVERVIEW DR                                                              KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS      12/13/2018             $39.04
DANIEL HENNINGS           2535 JACKSON                                                                   DUBUQUE             IA           52001                                  SUPPLIERS OR VENDORS       11/9/2018             $13.00
DANIEL HOLLAND            STORE 2-081                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/25/2018            $270.65
DANIEL JACKSON            3431 BRANDY WINE RD                                                            MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS      10/31/2018             $30.00



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DANIEL JACOBSON          1220 S GLENDALE AVE                                                        SIOUX FALLS         SD           57105                                  SUPPLIERS OR VENDORS         12/7/2018               $48.00
DANIEL JACOBSON          1220 S GLENDALE AVE                                                        SIOUX FALLS         SD           57105                                  SUPPLIERS OR VENDORS        12/13/2018               $12.00
DANIEL JENISTA           5902 WINTHROP AVE                                                          RACINE              WI           53406                                  SUPPLIERS OR VENDORS        12/13/2018              $120.00
DANIEL JURGENS           924 NORTH PRARIE                                                           FAIRMONT            MN           56031                                  SUPPLIERS OR VENDORS        12/20/2018               $48.96
DANIEL KRAUTKRAMER       604 4TH ST                                                                 MARATHON            WI           54448                                  SUPPLIERS OR VENDORS         11/2/2018                $4.00
DANIEL LINDEMAN          E12665 COUNTY ROAD H H                                                     OSSEO               WI           54758                                  SUPPLIERS OR VENDORS        11/29/2018                $8.00
DANIEL MENDEZ            2500 N. FORT LANE #233                                                     LAYTON              UT           84041                                  SUPPLIERS OR VENDORS        11/27/2018               $10.00
DANIEL MIDSTOKKE         3143 HALLGREN DR                                                           CLARKSTON           WA           99403                                  SUPPLIERS OR VENDORS         12/7/2018              $238.00
DANIEL OVERMOE           822 1ST STREET NW                                                          MAYVILLE            ND           58257                                  SUPPLIERS OR VENDORS        10/19/2018              $700.00
DANIEL RAUGHT            W10791 HWY 8                                                               DUNBAR              WI           54119                                  SUPPLIERS OR VENDORS        11/27/2018               $42.70
DANIEL RAY               3118 TOMAHAWK DR                                                           RAPID CITY          SD           57702                                  SUPPLIERS OR VENDORS        11/28/2018              $338.00
DANIEL RITTER            617 GEORGE ST                                                              GREEN BAY           WI           54302                                  SUPPLIERS OR VENDORS         11/2/2018               $10.00
DANIEL SCHAUWECKER       STORE 2-069              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/19/2018              $273.10
DANIEL SCHAUWECKER       STORE 2-069              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/11/2018              $260.39
DANIEL SCHAUWECKER       STORE 2-069              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/14/2018              $218.38
DANIEL SMITH             1016 E. D STREET                                                           DEER PARK           WA           99006                                  SUPPLIERS OR VENDORS         11/5/2018               $26.24
DANIEL THURS             541 E WASHINGTON AVE                                                       CLEVELAND           WI           53015                                  SUPPLIERS OR VENDORS        11/29/2018               $15.00
DANIEL VANDENBERG        10744 CTY HWY H                                                            MARSHFIELD          WI           54449                                  SUPPLIERS OR VENDORS        11/26/2018               $66.00
DANIEL WIBBEN            STORE 670                SHOPKO EMPLOYEE        615 DEARBORN STREET        WAYNE               NE           68787                                  SUPPLIERS OR VENDORS        10/26/2018              $131.89
DANIELLE BOUCHER         STORE 2-501              SHOPKO EMPLOYEE        3705 MONROE ROAD           DE PERE             WI           54115-9999                             SUPPLIERS OR VENDORS         11/1/2018               $19.08
DANIELLE BRUDER          APPAREL                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/15/2018              $900.13
DANIELLE BRUDER          APPAREL                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         12/6/2018              $812.31
DANIELLE DAHLSTEN        571 4TH AVE SE                                                             WELLS               MN           56097                                  SUPPLIERS OR VENDORS        11/12/2018               $15.00
DANIELLE DAVIS           825 CUSTER AVENUE                                                          BILLINGS            MT           59101                                  SUPPLIERS OR VENDORS        12/13/2018               $35.00
DANIELLE DETERVILLE      OPTICAL OPERATIONS       SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/27/2018              $160.23
DANIELLE FLORES          1170 HEATHMAN DR                                                           EUGENE              OR           97402                                  SUPPLIERS OR VENDORS        12/20/2018               $55.00
DANIELLE HEIBERGER       STORE 2-022              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/8/2018               $55.21
DANIELLE HLAVKA          511 IMPALA COURT                                                           MARSHALL            MN           56258                                  SUPPLIERS OR VENDORS         11/2/2018               $89.99
DANIELLE MONTGOMERY      1514 COLORADO AVE                                                          BLACK EAGLE         MT           59414                                  SUPPLIERS OR VENDORS         11/2/2018               $10.02
DANIELLE STACHEWICZ      STORE 170                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/1/2018              $202.72
DANIELLE STACHEWICZ      STORE 170                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/9/2018              $154.16
DANIELLE STACHEWICZ      STORE 170                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/16/2018              $183.39
DANIELLE STACHEWICZ      STORE 170                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/11/2018              $204.88
DANIELLE STADLER         2109 NORTH ERB STREET                                                      APPLETON            WI           54911                                  SUPPLIERS OR VENDORS        11/16/2018               $30.00
DANIELLE STIEBER         3136 WEYBRIDGE DR                                                          SUN PRAIRIE         WI           53590                                  SUPPLIERS OR VENDORS        11/26/2018               $15.00
DANIELS SEPTIC SERVICE
INCORPORATED             4350 KNIGHT ROAD                                                           STERLING            MI           48659                                  SUPPLIERS OR VENDORS       12/14/2018              $210.00
                         PRIVATE BRAND & TREND
DANISH RAHI              DIVISION                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/22/2018              $363.56
DANNER LAWNSCAPES
INCORPORATED             31113 GRANITE AVENUE                                                       MANNING             IA           51455                                  SUPPLIERS OR VENDORS       11/15/2018              $802.50
DANNER LAWNSCAPES
INCORPORATED             31113 GRANITE AVENUE                                                       MANNING             IA           51455                                  SUPPLIERS OR VENDORS       11/29/2018              $240.75
DANNETTE ROETHLER        1001 18TH AVENUE                                                           CHARLES CITY        IA           50616                                  SUPPLIERS OR VENDORS       11/29/2018               $25.00
DANNY ELENZ              4019 HARRISON                                                              SIOUX CITY          IA           51108                                  SUPPLIERS OR VENDORS       11/26/2018               $25.00
DANNY KNOELL             338 COUNTY RD #2250                                                        CRETE               NE           68333                                  SUPPLIERS OR VENDORS       12/10/2018               $11.98
DANNY KNOELL             338 COUNTY RD #2250                                                        CRETE               NE           68333                                  SUPPLIERS OR VENDORS       12/13/2018               $47.94
DANNY SIES               70 COUNTRYSIDE DR                                                          EVANSVILLE          WI           53536                                  SUPPLIERS OR VENDORS        12/5/2018               $50.00
DAP PRODUCTS INC         PNC BANK                 PO BOX 931021                                     CLEVELAND           OH           44193                                  SUPPLIERS OR VENDORS       10/18/2018            $1,224.27
DAP PRODUCTS INC         PNC BANK                 PO BOX 931021                                     CLEVELAND           OH           44193                                  SUPPLIERS OR VENDORS       10/25/2018            $2,429.58
DAP PRODUCTS INC         PNC BANK                 PO BOX 931021                                     CLEVELAND           OH           44193                                  SUPPLIERS OR VENDORS        11/8/2018            $2,642.67
DAP PRODUCTS INC         PNC BANK                 PO BOX 931021                                     CLEVELAND           OH           44193                                  SUPPLIERS OR VENDORS       11/15/2018            $2,332.38
DAP PRODUCTS INC         PNC BANK                 PO BOX 931021                                     CLEVELAND           OH           44193                                  SUPPLIERS OR VENDORS       11/22/2018            $3,299.96
DAP PRODUCTS INC         PNC BANK                 PO BOX 931021                                     CLEVELAND           OH           44193                                  SUPPLIERS OR VENDORS       11/29/2018            $1,957.86



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                                                                                                                                                                             Reasons for payment or    Dates of     Total Amount or
      Creditor Name              Address1              Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
DAPHNE OSBORNE        N2303 FEN LOCKNEY DR.                                                        LA CROSSE           WI           54601                                  SUPPLIERS OR VENDORS        11/26/2018               $15.00
DARA TROUTMAN         7532 S 37TH ST                                                               LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS         11/8/2018               $11.00
DARCIE MESECHER       221 22ND ST.                                                                 FORT MADISON        IA           52627                                  SUPPLIERS OR VENDORS        12/17/2018               $53.00
DARCY HAUSLIK         215 W MAIN ST. APT 6                                                         PULLMAN             WA           99163                                  SUPPLIERS OR VENDORS        11/12/2018              $126.99
DARCY PRINCE          815 RIVER ST.                                                                HUDSON              WI           54016                                  SUPPLIERS OR VENDORS        11/26/2018               $25.00
DARELL KAHLA          220 3RD ST. S W                                                              CONDE               SD           57434                                  SUPPLIERS OR VENDORS        10/31/2018               $35.46
DAREN KRONEBUSCH      58371 200TH AVENUE                                                           KELLOGG             MN           55945                                  SUPPLIERS OR VENDORS        12/13/2018               $25.50
DARIA LESTER          698 HAWTHORNE DR                                                             SUN PRAIRIE         WI           53590                                  SUPPLIERS OR VENDORS        11/14/2018               $14.98
DARIA WINTERER        545 NE OAK ST UNIT 14                                                        PULLMAN             WA           99163                                  SUPPLIERS OR VENDORS         11/8/2018               $23.00
DARICE                SHOPKO STORES INC          PO BOX 19060           UFS 9.00 11/02/98          GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/19/2018            $6,278.23
DARICE                SHOPKO STORES INC          PO BOX 19060           UFS 9.00 11/02/98          GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/26/2018            $7,827.79
DARICE                SHOPKO STORES INC          PO BOX 19060           UFS 9.00 11/02/98          GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/2/2018            $4,843.33
DARICE                SHOPKO STORES INC          PO BOX 19060           UFS 9.00 11/02/98          GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/9/2018               $83.23
DARICE                SHOPKO STORES INC          PO BOX 19060           UFS 9.00 11/02/98          GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/30/2018           $13,107.97
DARIEN UETZ           200 9TH AVE                                                                  CHARLES CITY        IA           50401                                  SUPPLIERS OR VENDORS        10/30/2018               $50.00

DARILYN HOUGAARD      1215 NORTH LOCUST STREET #3                                                  GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS        12/5/2018               $25.00
DARIN LUSE            19645 CLEAR NIGHT DR.                                                        BEND                OR           97702                                  SUPPLIERS OR VENDORS       10/25/2018               $25.00
DARLA BAKER           3377 BEAR CREEK RD.                                                          BONNER              MT           59823                                  SUPPLIERS OR VENDORS       11/29/2018               $53.76
DARLA MCMAHON         STORE 033                   SHOPKO EMPLOYEE                                  GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/2/2018               $61.04
DARLENE BIERSCHENK    311 E LOCUST                                                                 PLAINVIEW           NE           68769                                  SUPPLIERS OR VENDORS       11/26/2018               $53.54
DARLENE BREZINSKI     1834 MORONI DRIVE                                                            KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS       11/26/2018                $7.42
DARLENE HROUDA        82950 567TH AVE                                                              STANTON             NE           68779                                  SUPPLIERS OR VENDORS       10/18/2018               $22.39
DARLENE LEACHMAN      2704 17TH ST APT.101                                                         LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS       11/12/2018               $10.23
DARLENE LEACHMAN      2704 17TH ST APT.101                                                         LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS       11/12/2018               $16.00
DARLENE LUNDQUIST     316 ERIE ST. SE                                                              HUTCHINSON          MN           55350                                  SUPPLIERS OR VENDORS       12/18/2018               $38.00
DARLENE PEERENBOOM    400 W. HUGHITT STREET       APT 3                                            IRON MT             MI           49801                                  SUPPLIERS OR VENDORS       10/24/2018               $39.04
DARLENE REMINGTON     40 LINDEN DRIVE                                                              HECTOR              MN           55342                                  SUPPLIERS OR VENDORS       10/29/2018               $36.01
DARLENE RYDING        21795 HWY M 203                                                              CALUMET             MI           49913                                  SUPPLIERS OR VENDORS       11/28/2018                $9.60
DARLENE SCHROEDER     611 21ST STREET                                                              FORTMADISON         IA           52627                                  SUPPLIERS OR VENDORS        12/5/2018              $120.68
DARLENE STURTEVANT    635 SOUTH 6TH STREET                                                         DELAVAN             WI           53115                                  SUPPLIERS OR VENDORS       10/24/2018               $46.02
DARLENE TENPAS        W10036 PIT LANE                                                              CRIVITZ             WI           54114                                  SUPPLIERS OR VENDORS       10/22/2018               $25.00
DARLENE TINKHAM       7110 E. 3RD                                                                  SPOKANE             WA           99212                                  SUPPLIERS OR VENDORS        11/1/2018               $24.76
DARLENE WATSON        2176 FRANK AVE SE #2                                                         HURON               SD           57350                                  SUPPLIERS OR VENDORS       10/18/2018               $20.00
DARLENE WELLNER       5605 OLD HWY Q                                                               MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS        12/3/2018               $20.00
DARLENE WELLNER       5605 OLD HWY Q                                                               MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS        12/3/2018               $20.00
DARLENE WUOLLE        703 HORICON ST APT. 4                                                        HORICON             WI           53032                                  SUPPLIERS OR VENDORS        12/7/2018               $86.30
DARLINE JANES         STORE 179                   SHOPKO EMPLOYEE                                  GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/22/2018              $153.09
DARLIS WEISZHAAR      1214 WINCHESTER LANE                                                         ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS        12/5/2018               $48.64
DARLIS WEISZHAAR      1214 WINCHESTER LANE                                                         ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       12/13/2018               $12.16
                                                                        800 S WASHINGTON
DARO CRANDALL         STORE 746                  SHOPKO EMPLOYEE        AVENUE                     MADISON             SD           57042                                  SUPPLIERS OR VENDORS       10/19/2018              $274.44
DAROLD MATTHEIS       PO BOX 538                                                                   PARKSTON            SD           57366                                  SUPPLIERS OR VENDORS       11/29/2018               $38.68
DARRELL HART          551 EAST OAK ST                                                              CADOTT              WI           54727                                  SUPPLIERS OR VENDORS        11/1/2018               $10.56
DARRELL HART          551 EAST OAK ST                                                              CADOTT              WI           54727                                  SUPPLIERS OR VENDORS       11/16/2018               $42.24
                                                                                                   MILTON-
DARRELL KEY           20 NE 11TH                                                                   FREEWATER           OR           97862                                  SUPPLIERS OR VENDORS       10/29/2018               $13.60
DARRELL ROTHE         4265 MARQUARDT LN                                                            OMRO                WI           54963                                  SUPPLIERS OR VENDORS       11/26/2018                $9.04
DARRELL SCHUETT       510 W BAZILE ST                                                              BLOOMFIELD          NE           68718                                  SUPPLIERS OR VENDORS       11/26/2018               $13.38
DARREN FLEMING        53298 164TH ST                                                               GARDEN CITY         MN           56034                                  SUPPLIERS OR VENDORS       11/28/2018               $71.40
DARRIN CHAPMAN        20 BRECKER ST APT 9                                                          ROTHSCHILD          WI           54474                                  SUPPLIERS OR VENDORS       12/20/2018                $3.00
DARRIN HOFFMANN       APPAREL                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS        12/8/2018            $1,252.71
DARRYL RICKERT        W16856 LAKE RD                                                               BIRNAMWOOD          WI           54414                                  SUPPLIERS OR VENDORS       11/26/2018               $14.98
DARRYL THURMAN        P.O. 783                                                                     WINSTED             MN           55395                                  SUPPLIERS OR VENDORS       11/28/2018                $3.06



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                                                                                                                                                                                Reasons for payment or    Dates of     Total Amount or
     Creditor Name                  Address1              Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
DARTANYA HUEBSCH         604 E 6TH ST                                                                 SAINT ANSGAR        IA           50472                                  SUPPLIERS OR VENDORS        10/22/2018               $25.00
DARWIN MANDEL            20505 SD HWY 37                                                              HURON               SD           57350                                  SUPPLIERS OR VENDORS         11/8/2018               $20.00

DARWIN NELSON            W8127 EDGEWOOD AVE EAST                                                      LADYSMITH           WI           54848                                  SUPPLIERS OR VENDORS        11/2/2018              $131.98
DARYL JOHNSON            20071 445TH AVE                                                              LAKE PRESTON        SD           57249                                  SUPPLIERS OR VENDORS       11/13/2018                $8.32
DARYL JOHNSON            20071 445TH AVE                                                              LAKE PRESTON        SD           57249                                  SUPPLIERS OR VENDORS       11/16/2018               $38.68
DARYL KINGREY            STORE 122                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/9/2018               $39.47
DARYL YOUNGSTRUM         5637 WEST VIEW RD                                                            RHINELANDER         WI           54501                                  SUPPLIERS OR VENDORS        11/1/2018               $49.60
DASH ENTERPRISES
INCORPORATED             PO BOX 43                                                                    POWELL              WY           82435                                  SUPPLIERS OR VENDORS       10/25/2018              $598.50
DASH ENTERPRISES
INCORPORATED             PO BOX 43                                                                    POWELL              WY           82435                                  SUPPLIERS OR VENDORS       11/29/2018              $598.50
DATA SALES COMPANY       PO BOX 1450 NW 7305                                                          MINNEAPOLIS         MN           55485-7305                             SUPPLIERS OR VENDORS        11/1/2018              $805.80
DATA SALES COMPANY       PO BOX 1450 NW 7305                                                          MINNEAPOLIS         MN           55485-7305                             SUPPLIERS OR VENDORS        11/8/2018            $2,212.72
DAVE ANDRUS              PO BOX 186                                                                   NAMPA               ID           83653                                  SUPPLIERS OR VENDORS       10/23/2018               $77.00
DAVE BERCKES             2064 HWY 75                                                                  CANBY               MN           56220                                  SUPPLIERS OR VENDORS       11/26/2018               $44.16
DAVE EDSON               3011 GILMORE AVE                                                             IONIA               IA           50645                                  SUPPLIERS OR VENDORS       10/25/2018               $17.50
DAVE KELTZ               7287 EAST VALLEY VIEW RD                                                     SCOTTSDALE          AZ           85250                                  SUPPLIERS OR VENDORS        11/7/2018               $15.57
DAVE KELTZ               7287 EAST VALLEY VIEW RD                                                     SCOTTSDALE          AZ           85250                                  SUPPLIERS OR VENDORS       11/26/2018               $51.63
DAVE R SANDERS           STORE 4-047                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/8/2018              $521.25
DAVE SORENSEN            STORE 2-610                SHOPKO EMPLOYEE        650 US HWY 41 WEST         ISHPEMING           MI           49849-0000                             SUPPLIERS OR VENDORS       12/20/2018               $82.84
DAVES MARINE
INCORPORATED             420 EAST HWY 12            PO BOX 555                                        WEBSTER             SD           57274                                  SUPPLIERS OR VENDORS       11/29/2018               $47.93
DAVID AND YOUNG GROUP
CORP                     903 CASTLE RD                                                                SECAUCUS            NJ           07094                                  SUPPLIERS OR VENDORS       10/18/2018           $35,214.10
DAVID AND YOUNG GROUP
CORP                     903 CASTLE RD                                                                SECAUCUS            NJ           07094                                  SUPPLIERS OR VENDORS       10/19/2018           $10,393.90
DAVID AND YOUNG GROUP
CORP                     903 CASTLE RD                                                                SECAUCUS            NJ           07094                                  SUPPLIERS OR VENDORS       10/25/2018           $33,829.05
DAVID AND YOUNG GROUP
CORP                     903 CASTLE RD                                                                SECAUCUS            NJ           07094                                  SUPPLIERS OR VENDORS       10/26/2018            $9,729.75
DAVID AND YOUNG GROUP
CORP                     903 CASTLE RD                                                                SECAUCUS            NJ           07094                                  SUPPLIERS OR VENDORS        11/1/2018           $17,191.20
DAVID AND YOUNG GROUP
CORP                     903 CASTLE RD                                                                SECAUCUS            NJ           07094                                  SUPPLIERS OR VENDORS        11/6/2018            $2,562.00
DAVID AND YOUNG GROUP
CORP                     903 CASTLE RD                                                                SECAUCUS            NJ           07094                                  SUPPLIERS OR VENDORS        11/8/2018            $1,669.72
DAVID AND YOUNG GROUP
CORP                     903 CASTLE RD                                                                SECAUCUS            NJ           07094                                  SUPPLIERS OR VENDORS        11/9/2018            $2,672.00
DAVID AND YOUNG GROUP
CORP                     903 CASTLE RD                                                                SECAUCUS            NJ           07094                                  SUPPLIERS OR VENDORS       11/13/2018           $32,950.75
DAVID AND YOUNG GROUP
CORP                     903 CASTLE RD                                                                SECAUCUS            NJ           07094                                  SUPPLIERS OR VENDORS       11/24/2018              $362.80
DAVID BEEN               6437 MILL CREEK RD.                                                          WALLA WALLA         WA           99362                                  SUPPLIERS OR VENDORS        11/5/2018               $54.40
DAVID BEINE              2329 E. 46TH AVE                                                             SPOKANE             WA           99223                                  SUPPLIERS OR VENDORS       11/13/2018               $35.00
DAVID BIGGS              424 THIRD AVE                                                                DIXON               IL           61021                                  SUPPLIERS OR VENDORS        12/7/2018              $131.98
DAVID BLOOMFIELD         56242 851ST RD                                                               HOSKINS             NE           68740                                  SUPPLIERS OR VENDORS        12/3/2018               $13.55
DAVID BLUM               801 W. 2ND AVE.                                                              BRODHEAD            WI           53520                                  SUPPLIERS OR VENDORS       12/21/2018               $30.00
DAVID BOLGER REVOCABLE
TRUST                    DAVID F BOLGER             79 CHESTNUT STREET                                RIDGEWOOD           NJ           07450                                  SUPPLIERS OR VENDORS       11/15/2018           $37,710.69
DAVID BOLGER REVOCABLE
TRUST                    DAVID F BOLGER             79 CHESTNUT STREET                                RIDGEWOOD           NJ           07450                                  SUPPLIERS OR VENDORS       11/16/2018                $1.00
DAVID BRAUHN             1006 WAVERLY ST.                                                             WALLA WALLA         WA           99362                                  SUPPLIERS OR VENDORS       10/24/2018               $75.00
DAVID BULOW              N7069 EVERGREEN LANE                                                         ELKHORN             WI           53121                                  SUPPLIERS OR VENDORS        11/2/2018              $203.96



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      Creditor Name                  Address1             Address2                  Address3                  City             State       Zip              Country                    transfer          Payments            Value
DAVID BULOW               N7069 EVERGREEN LANE                                                        ELKHORN             WI           53121                                  SUPPLIERS OR VENDORS         11/2/2018              $223.96
DAVID CARROLL             P.O. BOX 24                                                                 ALEXANDER           IA           50420                                  SUPPLIERS OR VENDORS        11/12/2018               $25.00
DAVID CAVIGGIOLA          PO BOX 672                                                                  CHASSELL            MI           49916                                  SUPPLIERS OR VENDORS         12/7/2018               $15.00
DAVID CHARD               36780 US 41                                                                 CHASSELL            MI           49916                                  SUPPLIERS OR VENDORS        12/17/2018               $22.00
DAVID CHARD               36780 US 41                                                                 CHASSELL            MI           49916                                  SUPPLIERS OR VENDORS        12/17/2018               $22.00
DAVID CHARD               36780 US 41                                                                 CHASSELL            MI           49916                                  SUPPLIERS OR VENDORS        12/17/2018               $22.00
DAVID CHAVALAS            114 19TH ST SOUTH                                                           LA CROSSE           WI           54601                                  SUPPLIERS OR VENDORS        11/26/2018               $34.99
DAVID CHRISTOFFERSEN      584 NORTH LAKE AVE.                                                         PHILLIPS            WI           54555                                  SUPPLIERS OR VENDORS        10/24/2018                $8.65
DAVID COENEN              1665 BERNHEIM                                                               OSHKOSH             WI           54904                                  SUPPLIERS OR VENDORS        11/16/2018               $10.00
DAVID CROSS               46820 778TH ROAD          SHOPKO EMPLOYEE                                   LITCHFIELD          NE           68852-0000                             SUPPLIERS OR VENDORS        12/13/2018              $159.39
DAVID CUMMINGS            4407 PIERCE DRIVE                                                           NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS        11/28/2018               $13.38
DAVID DESMET              402 N MONROE                                                                MINNEOTA            MN           56264                                  SUPPLIERS OR VENDORS        10/25/2018              $135.99
DAVID DETAMPEL            5555 FINGER RD                                                              GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS         12/7/2018               $44.00
DAVID DETERT              N10661 COUNTY H                                                             GLEASON             WI           54435                                  SUPPLIERS OR VENDORS         12/3/2018               $10.00
DAVID DORENKAMP           113 N 3RD ST                                                                THORNTON            IA           50479                                  SUPPLIERS OR VENDORS         11/5/2018               $82.50
DAVID DOWNING             6719 27TH. AVE.                                                             KENOSHA             WI           53143                                  SUPPLIERS OR VENDORS        11/12/2018               $45.00
                                                                           800 S WASHINGTON
DAVID ENERSEN             STORE 746                 SHOPKO EMPLOYEE        AVENUE                     MADISON             SD           57042-0000                             SUPPLIERS OR VENDORS       11/30/2018              $149.38
DAVID FOSLAND             85939 COUNTY ROAD 24                                                        BUFFALO LAKE        MN           55314                                  SUPPLIERS OR VENDORS        11/5/2018               $15.30
DAVID GABEL               2151 HWY 14                                                                 ROCKFORD            IA           50468                                  SUPPLIERS OR VENDORS        11/1/2018              $145.38
DAVID GARVEY              STORE 626                 SHOPKO EMPLOYEE        1625 HIGHWAY 61            LANCASTER           WI           53813-0000                             SUPPLIERS OR VENDORS       10/26/2018              $312.32
DAVID GEILMAN             407 E 12600 S                                                               DRAPER              UT           84020                                  SUPPLIERS OR VENDORS        11/9/2018               $23.00

DAVID GRAWVUNDER          STORE 633                 SHOPKO EMPLOYEE        1333 4TH AVENUE SOUTH PARK FALLS               WI           54552                                  SUPPLIERS OR VENDORS       10/25/2018               $93.32
DAVID HERZOG              102 E LAUREL ST                                                        ARCO                     MN           56113                                  SUPPLIERS OR VENDORS       10/29/2018               $32.30
DAVID IRVING              106 STARRY AVE                                                         MONONA                   WI           53716                                  SUPPLIERS OR VENDORS       12/21/2018               $63.00

DAVID J FRANK LANDSCAPE
CONTRACTING INC           PO BOX 70                                                                   GERMANTOWN          WI           53022-0070                             SUPPLIERS OR VENDORS       11/29/2018              $800.96
DAVID JACOBSON            310 MAINSFIELD ST                                                           CHIPPEWAFALLS       WI           54729                                  SUPPLIERS OR VENDORS       11/26/2018                $2.00
DAVID JONES               3320 HYACINTH CT.                                                           GREEN BAY           WI           54301                                  SUPPLIERS OR VENDORS        11/9/2018               $87.00
DAVID JONES               3320 HYACINTH CT.                                                           GREEN BAY           WI           54301                                  SUPPLIERS OR VENDORS        11/9/2018               $87.00
DAVID KAMPA               3144 LINDEN DRIVE                                                           LA CROSSE           WI           54601                                  SUPPLIERS OR VENDORS        11/5/2018               $37.76
DAVID KENDALL             1222 N 160TH AVE CIRCLE                                                     OMAHA               NE           68118                                  SUPPLIERS OR VENDORS       10/26/2018               $25.00
DAVID KESSEN              STORE 2-090               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/18/2018               $56.68
DAVID KESSEN              STORE 2-090               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/25/2018               $56.68
DAVID KESSEN              STORE 2-090               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/15/2018              $113.36
DAVID KESSEN              STORE 2-090               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/22/2018               $56.68
DAVID KESSEN              STORE 2-090               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/20/2018              $113.36
DAVID KNUTSON             1004 FINCASTEL STREET                                                       OREGON              WI           53575                                  SUPPLIERS OR VENDORS        11/1/2018               $12.60
DAVID KOENIG              11003 SPRING LAKE RD                                                        VALDERS             WI           54245                                  SUPPLIERS OR VENDORS        11/1/2018                $4.46
DAVID KOENIG              11003 SPRING LAKE RD                                                        VALDERS             WI           54245                                  SUPPLIERS OR VENDORS        11/1/2018               $16.79
DAVID KOHLER              607 MAIN STREET                                                             ADRIAN              MN           56110                                  SUPPLIERS OR VENDORS       11/12/2018               $15.30
DAVID KORVER              4117 LINCOLN WAY                                                            SIOUX CITY          IA           51106-4007                             SUPPLIERS OR VENDORS       10/18/2018            $2,734.26
DAVID L HENDERSON         STORE 681                 SHOPKO EMPLOYEE        202 OAK GROVE DRIVE        IDA GROVE           IA           51445                                  SUPPLIERS OR VENDORS       12/14/2018              $158.05
DAVID LAKODUK             2203 S 12TH ST APT 3                                                        MISSOULA            MT           59801                                  SUPPLIERS OR VENDORS       12/20/2018               $31.00
DAVID LANDWEHR            W278 ELDERBERRY STREET                                                      EDGAR               WI           54426                                  SUPPLIERS OR VENDORS       12/14/2018               $25.00
                                                                           202 SUSAN LAWRENCE
DAVID LARSON              STORE 2-681               SHOPKO EMPLOYEE        DRIVE                      IDA GROVE           IA           51445                                  SUPPLIERS OR VENDORS        12/6/2018               $32.70
DAVID LEPAK               W8822 CTY HWY T                                                             ROSENDALE           WI           54974                                  SUPPLIERS OR VENDORS       10/31/2018               $50.00
DAVID LINDSTROM           6734 E OAK PARK DR                                                          WELLS               MI           49894                                  SUPPLIERS OR VENDORS       12/10/2018               $10.00
DAVID LOOSE               STORE 547                 SHOPKO EMPLOYEE        PO BOX 929                 MOOSE LAKE          MN           55767                                  SUPPLIERS OR VENDORS        11/2/2018              $116.00
DAVID LOOSE               STORE 547                 SHOPKO EMPLOYEE        PO BOX 929                 MOOSE LAKE          MN           55767                                  SUPPLIERS OR VENDORS        11/9/2018               $53.67
DAVID LOOSE               STORE 547                 SHOPKO EMPLOYEE        PO BOX 929                 MOOSE LAKE          MN           55767                                  SUPPLIERS OR VENDORS       12/14/2018              $118.00



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                                                                                                                                                                            Reasons for payment or    Dates of     Total Amount or
      Creditor Name              Address1               Address2                Address3                 City              State       Zip              Country                    transfer          Payments            Value
DAVID LUDWIG          2418 9 AVE SW                                                               AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS        12/13/2018              $125.00
DAVID LYON            STORE 741                SHOPKO EMPLOYEE         PO BOX 386                 RUGBY               ND           58368                                  SUPPLIERS OR VENDORS        12/27/2018              $161.32
DAVID MCCABE          2140 S. 17TH ST                                                             MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS        11/28/2018               $45.00
DAVID MCILHERAN       OPTICAL LAB              SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/26/2018            $2,244.29
DAVID MCILHERAN       OPTICAL LAB              SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/22/2018               $71.40
DAVID MCILHERAN       OPTICAL LAB              SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/28/2018               $43.60
DAVID MOHR            PO BOX 282                                                                  CHAMBERLAIN         SD           57325                                  SUPPLIERS OR VENDORS        10/19/2018              $143.00
DAVID MOULTON         4204 E 23RD ST                                                              SIOUX FALLS         SD           57103                                  SUPPLIERS OR VENDORS         12/7/2018               $20.00
DAVID PASCHEN         5957 BIRCH CREEK CT                                                         DE PERE             WI           54115                                  SUPPLIERS OR VENDORS         11/2/2018               $25.00
DAVID PINNT           55927 OLD HIGHWAY 8                                                         NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS        11/26/2018               $13.38
DAVID PLUIM III       W6991 COUNTY RD W                                                           JUNEAU              WI           53039                                  SUPPLIERS OR VENDORS        10/24/2018               $50.00
DAVID POPPERT         12956 MORRISON DR                                                           OMAHA               NE           68154                                  SUPPLIERS OR VENDORS        10/22/2018               $23.00
DAVID RICHTER         249 GREEN VALLEY PL                                                         WEST BEND           WI           53095                                  SUPPLIERS OR VENDORS        10/31/2018               $90.02
DAVID SCHLEICHER      5412 MAHER AVE                                                              MADISON             WI           53716                                  SUPPLIERS OR VENDORS        10/24/2018               $25.00
DAVID SCHLIEWE        308 NORTH WARREN ST                                                         WATERTOWN           WI           53098                                  SUPPLIERS OR VENDORS         12/5/2018               $73.00
DAVID SCHMITZ         645 MAIN AVE WEST        APT. 4                                             TWIN FALLS          ID           83301                                  SUPPLIERS OR VENDORS        11/14/2018                $3.65
DAVID SCHNEIDER       1502 SUBURBAN DR.                                                           DE PERE             WI           54115                                  SUPPLIERS OR VENDORS        12/11/2018               $44.00
DAVID SLAGOWSKI       STORE 4-050              SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/8/2018              $296.25
DAVID SMITH           777 SOUTH EISENHOWER     #7                                                 MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS        11/29/2018               $48.00
DAVID SPECK           BX 315                                                                      FAULKTON            SD           57438                                  SUPPLIERS OR VENDORS         11/1/2018               $12.16
DAVID SPOMER          43 CHERRYPARK CT APT 1                                                      OSHKOSH             WI           54902                                  SUPPLIERS OR VENDORS         11/9/2018               $15.00
DAVID TEDDY           OPTICAL LAB              SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS        11/29/2018               $78.30
DAVID THOMPSON        CONSUMABLES              SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/29/2018              $474.92
DAVID TICE            STORE 703                SHOPKO EMPLOYEE         300 CROSS STREET           BURLINGTON          KS           66839                                  SUPPLIERS OR VENDORS        11/16/2018              $635.47
DAVID TIENOR          379 SOUTH JACKSON ST     BOX 515                                            VALDERS             WI           54245                                  SUPPLIERS OR VENDORS        10/22/2018               $11.04
DAVID TUCCI           3919 CARL STREET                                                            WAUSAU              WI           54403                                  SUPPLIERS OR VENDORS        11/26/2018               $62.00
DAVID TURBES          622 PLEASANT VIEW LANE                                                      LITCHFIELD          MN           55355                                  SUPPLIERS OR VENDORS        12/17/2018                $1.40
DAVID TYBURSKI        STORE 2-610              SHOPKO EMPLOYEE         650 US 41 W                ISHPEMING           MI           49849-0000                             SUPPLIERS OR VENDORS         11/8/2018               $81.75
DAVID TYBURSKI        STORE 2-610              SHOPKO EMPLOYEE         650 US 41 W                ISHPEMING           MI           49849-0000                             SUPPLIERS OR VENDORS        11/22/2018              $109.00
DAVID TYBURSKI        STORE 2-610              SHOPKO EMPLOYEE         650 US 41 W                ISHPEMING           MI           49849-0000                             SUPPLIERS OR VENDORS        12/20/2018              $305.20
                                                                       700 RPOGRESS
DAVID WHITE           STORE 640                SHOPKO EMPLOYEE         BOULEVARD                  TUSCOLA             IL           61953                                  SUPPLIERS OR VENDORS       10/19/2018              $738.94
                                                                       700 RPOGRESS
DAVID WHITE           STORE 640                SHOPKO EMPLOYEE         BOULEVARD                  TUSCOLA             IL           61953                                  SUPPLIERS OR VENDORS        11/2/2018              $579.80
                                                                       700 RPOGRESS
DAVID WHITE           STORE 640                SHOPKO EMPLOYEE         BOULEVARD                  TUSCOLA             IL           61953                                  SUPPLIERS OR VENDORS       12/22/2018              $582.66
                                                                       700 RPOGRESS
DAVID WHITE           STORE 640                SHOPKO EMPLOYEE         BOULEVARD                  TUSCOLA             IL           61953                                  SUPPLIERS OR VENDORS       12/29/2018              $512.21
DAVID WILLIAMS        STORE 562                SHOPKO EMPLOYEE         702 WESTVIEW LANE          STANLEY             ND           58784                                  SUPPLIERS OR VENDORS       12/11/2018              $384.95
DAVID WILLIAMS        STORE 562                SHOPKO EMPLOYEE         702 WESTVIEW LANE          STANLEY             ND           58784                                  SUPPLIERS OR VENDORS       12/20/2018               $94.53
DAVID WUNROW          STORE 2-009              SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/15/2018              $340.08
DAVID WUNROW          STORE 2-009              SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/13/2018              $271.41
DAVIDA CAMPSHURE      401 W MAIN ST                                                               HORTONVILLE         WI           54944                                  SUPPLIERS OR VENDORS       10/24/2018               $30.00
DAVIDSON CHILDRENS                             3754 FORT DONELSON
TRUST I               C/O NATHAN DAVIDSON      DR                                                 STOCKTON            CA           95219                                  SUPPLIERS OR VENDORS        12/3/2018            $3,879.45
DAVIDSON CHILDRENS                             3754 FORT DONELSON
TRUST I               C/O NATHAN DAVIDSON      DR                                                 STOCKTON            CA           95219                                  SUPPLIERS OR VENDORS        12/3/2018           $11,120.55
DAVIESS COUNTY
COLLECTOR             102 N MAIN                                                                  GALLATIN            MO           64640                                  SUPPLIERS OR VENDORS        11/8/2018               $25.00
DAVIESS COUNTY
COLLECTOR             102 N MAIN                                                                  GALLATIN            MO           64640                                  SUPPLIERS OR VENDORS       12/19/2018            $6,831.06
DAVIN HOLMAN          STORE 2-175              SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/16/2018              $245.80
DAVIS COUNTY HIGH
YEARBOOK              503 E LOCUST STREET                                                         BLOOMFIELD          IA           52537                                  SUPPLIERS OR VENDORS       10/23/2018               $70.00



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                                                                                                                                                                                    Reasons for payment or    Dates of    Total Amount or
      Creditor Name                    Address1                Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value

DAVIS COUNTY TREASURER     PO BOX 618                                                                      FARMINGTON          UT           84025-0000                             SUPPLIERS OR VENDORS      11/26/2018         $52,722.88
DAWN CONNOR                14290 KANTOLA RD                                                                COVINGTON           MI           49919                                  SUPPLIERS OR VENDORS      10/24/2018             $42.00
DAWN HAMANN                STORE 054                     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/26/2018            $319.79
DAWN HAMANN                STORE 054                     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/2/2018            $310.80
DAWN HAMANN                STORE 054                     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/16/2018            $294.30
DAWN HAMANN                STORE 054                     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/27/2018            $309.58
DAWN HAMANN                STORE 054                     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/22/2018            $191.84
DAWN HAMANN                STORE 054                     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/28/2018            $287.76
DAWN HAMMERMEISTER         2101 DEARBORN AVE APT 42                                                        MISSOULA            MT           59801                                  SUPPLIERS OR VENDORS       11/9/2018             $45.00
                                                                                1533 BURLINGTON
DAWN HANEY                 STORE 690                     SHOPKO EMPLOYEE        STREET                     HOLDREGE            NE           68949                                  SUPPLIERS OR VENDORS      11/30/2018            $196.20
                                                                                1533 BURLINGTON
DAWN HANEY                 STORE 690                     SHOPKO EMPLOYEE        STREET                     HOLDREGE            NE           68949                                  SUPPLIERS OR VENDORS       12/8/2018            $588.60
                                                                                1533 BURLINGTON
DAWN HANEY                 STORE 690                     SHOPKO EMPLOYEE        STREET                     HOLDREGE            NE           68949                                  SUPPLIERS OR VENDORS      12/29/2018            $392.40
DAWN KONOP                 STORE SERVICES                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/8/2018             $17.70
DAWN KRAUS                 STORE 4-067                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/2/2018            $185.14
DAWN KRAUS                 STORE 4-067                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/9/2018            $139.52
DAWN KRAUS                 STORE 4-067                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/27/2018            $139.52
DAWN LUSK                  3905 COUNTY ROAD II           LOT 44                                            LARSEN              WI           54947                                  SUPPLIERS OR VENDORS       12/5/2018             $25.00
DAWN RIOPELLE              STORE 2-646                   SHOPKO EMPLOYEE        3825 S HURON ROAD          STANDISH            MI           48658                                  SUPPLIERS OR VENDORS      11/22/2018             $23.98
DAWN SCHMIDT               1274 PARK AVE NE                                                                SALEM               OR           97301                                  SUPPLIERS OR VENDORS      10/25/2018             $42.00
DAWN SECORD                811 SCENIC DRIVE                                                                COLUMBIA FALLS      MT           59912                                  SUPPLIERS OR VENDORS       11/8/2018              $6.00
DAWN TOTHBARRETTE          STORE 762                     SHOPKO EMPLOYEE        PO BOX 1352                THERMOPOLIS         WY           82443                                  SUPPLIERS OR VENDORS      12/29/2018             $82.84
DAWN TSCHUDY               344 BLUE WATERS TRAIL                                                           NEKOOSA             WI           54457                                  SUPPLIERS OR VENDORS       12/7/2018             $30.00

DAWN TURNER                1407 AURORA AVE N.                                                              EAST WENATCHEE WA                98802                                  SUPPLIERS OR VENDORS      12/17/2018             $35.98

DC SPRINKLER SERVICE LLC   3605 N FOREST CIRCLE                                                            COEUR D ALENE       ID           83815                                  SUPPLIERS OR VENDORS      11/15/2018            $112.00

DCT TECHNOLOGIES           1400 LOMBARDI AVE, SUITE 30                                                     GREEN BAY           WI           54304                                  PROFESSOINAL SERVICES      1/10/2019           $2,250.00
DCT TECHNOLOGIES
INCORPORATED               DBA DMI STUDIOS               PO BOX 10094                                      GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS      10/30/2018            $855.00
DCT TECHNOLOGIES
INCORPORATED               DBA DMI STUDIOS               PO BOX 10094                                      GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       12/3/2018          $1,047.50
DE DEPT OF REVENUE         P.O. BOX 2044                                                                   WILMINGTON          DE           19801-2044                             SALES/USE TAX             11/13/2018         $17,285.00

DE RIGO REM                10941 LA TUNA CANYON ROAD                                                       SUN VALLEY          CA           91352-2012                             SUPPLIERS OR VENDORS      10/18/2018           $5,974.90

DE RIGO REM                10941 LA TUNA CANYON ROAD                                                       SUN VALLEY          CA           91352-2012                             SUPPLIERS OR VENDORS      10/25/2018         $21,480.52

DE RIGO REM                10941 LA TUNA CANYON ROAD                                                       SUN VALLEY          CA           91352-2012                             SUPPLIERS OR VENDORS       11/1/2018           $6,431.22

DE RIGO REM                10941 LA TUNA CANYON ROAD                                                       SUN VALLEY          CA           91352-2012                             SUPPLIERS OR VENDORS       11/8/2018            $649.44
DEAN DURHMAN               3015 MARION RD SE                                                               ROCHESTER           MN           55904                                  SUPPLIERS OR VENDORS       11/5/2018              $3.00
DEAN FOODS NORTH                                         2042 WOODDALE DRIVE
CENTRAL INCORPORATED       VICE PRESIDENT OF SALES       SUITE 190                                         WOODBURY            MN           55125-0000                             SUPPLIERS OR VENDORS      10/18/2018            $234.29
DEAN FOODS NORTH                                         2042 WOODDALE DRIVE
CENTRAL INCORPORATED       VICE PRESIDENT OF SALES       SUITE 190                                         WOODBURY            MN           55125-0000                             SUPPLIERS OR VENDORS      10/18/2018           $1,846.29
DEAN FOODS NORTH                                         2042 WOODDALE DRIVE
CENTRAL INCORPORATED       VICE PRESIDENT OF SALES       SUITE 190                                         WOODBURY            MN           55125-0000                             SUPPLIERS OR VENDORS      10/23/2018            $228.88
DEAN FOODS NORTH                                         2042 WOODDALE DRIVE
CENTRAL INCORPORATED       VICE PRESIDENT OF SALES       SUITE 190                                         WOODBURY            MN           55125-0000                             SUPPLIERS OR VENDORS      10/24/2018            $394.88



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      Creditor Name              Address1               Address2                 Address3                 City              State       Zip              Country                   transfer          Payments           Value
DEAN FOODS NORTH                                 2042 WOODDALE DRIVE
CENTRAL INCORPORATED   VICE PRESIDENT OF SALES   SUITE 190                                         WOODBURY            MN           55125-0000                             SUPPLIERS OR VENDORS      10/25/2018            $391.27
DEAN FOODS NORTH                                 2042 WOODDALE DRIVE
CENTRAL INCORPORATED   VICE PRESIDENT OF SALES   SUITE 190                                         WOODBURY            MN           55125-0000                             SUPPLIERS OR VENDORS      10/25/2018           $1,777.17
DEAN FOODS NORTH                                 2042 WOODDALE DRIVE
CENTRAL INCORPORATED   VICE PRESIDENT OF SALES   SUITE 190                                         WOODBURY            MN           55125-0000                             SUPPLIERS OR VENDORS      10/30/2018            $807.53
DEAN FOODS NORTH                                 2042 WOODDALE DRIVE
CENTRAL INCORPORATED   VICE PRESIDENT OF SALES   SUITE 190                                         WOODBURY            MN           55125-0000                             SUPPLIERS OR VENDORS      10/31/2018            $696.44
DEAN FOODS NORTH                                 2042 WOODDALE DRIVE
CENTRAL INCORPORATED   VICE PRESIDENT OF SALES   SUITE 190                                         WOODBURY            MN           55125-0000                             SUPPLIERS OR VENDORS       11/1/2018            $176.91
DEAN FOODS NORTH                                 2042 WOODDALE DRIVE
CENTRAL INCORPORATED   VICE PRESIDENT OF SALES   SUITE 190                                         WOODBURY            MN           55125-0000                             SUPPLIERS OR VENDORS       11/1/2018           $1,527.00
DEAN FOODS NORTH                                 2042 WOODDALE DRIVE
CENTRAL INCORPORATED   VICE PRESIDENT OF SALES   SUITE 190                                         WOODBURY            MN           55125-0000                             SUPPLIERS OR VENDORS       11/6/2018           $1,168.57
DEAN FOODS NORTH                                 2042 WOODDALE DRIVE
CENTRAL INCORPORATED   VICE PRESIDENT OF SALES   SUITE 190                                         WOODBURY            MN           55125-0000                             SUPPLIERS OR VENDORS       11/7/2018            $736.54
DEAN FOODS NORTH                                 2042 WOODDALE DRIVE
CENTRAL INCORPORATED   VICE PRESIDENT OF SALES   SUITE 190                                         WOODBURY            MN           55125-0000                             SUPPLIERS OR VENDORS       11/8/2018           $1,333.53
DEAN FOODS NORTH                                 2042 WOODDALE DRIVE
CENTRAL INCORPORATED   VICE PRESIDENT OF SALES   SUITE 190                                         WOODBURY            MN           55125-0000                             SUPPLIERS OR VENDORS       11/8/2018           $1,614.86
DEAN FOODS NORTH                                 2042 WOODDALE DRIVE
CENTRAL INCORPORATED   VICE PRESIDENT OF SALES   SUITE 190                                         WOODBURY            MN           55125-0000                             SUPPLIERS OR VENDORS      11/12/2018            $681.09
DEAN FOODS NORTH                                 2042 WOODDALE DRIVE
CENTRAL INCORPORATED   VICE PRESIDENT OF SALES   SUITE 190                                         WOODBURY            MN           55125-0000                             SUPPLIERS OR VENDORS      11/13/2018            $474.31
DEAN FOODS NORTH                                 2042 WOODDALE DRIVE
CENTRAL INCORPORATED   VICE PRESIDENT OF SALES   SUITE 190                                         WOODBURY            MN           55125-0000                             SUPPLIERS OR VENDORS      11/14/2018            $637.07
DEAN FOODS NORTH                                 2042 WOODDALE DRIVE
CENTRAL INCORPORATED   VICE PRESIDENT OF SALES   SUITE 190                                         WOODBURY            MN           55125-0000                             SUPPLIERS OR VENDORS      11/15/2018            $482.98
DEAN FOODS NORTH                                 2042 WOODDALE DRIVE
CENTRAL INCORPORATED   VICE PRESIDENT OF SALES   SUITE 190                                         WOODBURY            MN           55125-0000                             SUPPLIERS OR VENDORS      11/15/2018           $1,663.06
DEAN FOODS NORTH                                 2042 WOODDALE DRIVE
CENTRAL INCORPORATED   VICE PRESIDENT OF SALES   SUITE 190                                         WOODBURY            MN           55125-0000                             SUPPLIERS OR VENDORS      11/16/2018             $81.58
DEAN FOODS NORTH                                 2042 WOODDALE DRIVE
CENTRAL INCORPORATED   VICE PRESIDENT OF SALES   SUITE 190                                         WOODBURY            MN           55125-0000                             SUPPLIERS OR VENDORS      11/22/2018           $2,164.70
DEAN FOODS NORTH                                 2042 WOODDALE DRIVE
CENTRAL INCORPORATED   VICE PRESIDENT OF SALES   SUITE 190                                         WOODBURY            MN           55125-0000                             SUPPLIERS OR VENDORS      11/22/2018           $2,344.58
DEAN FOODS NORTH                                 2042 WOODDALE DRIVE
CENTRAL INCORPORATED   VICE PRESIDENT OF SALES   SUITE 190                                         WOODBURY            MN           55125-0000                             SUPPLIERS OR VENDORS      11/26/2018            $485.65
DEAN FOODS NORTH                                 2042 WOODDALE DRIVE
CENTRAL INCORPORATED   VICE PRESIDENT OF SALES   SUITE 190                                         WOODBURY            MN           55125-0000                             SUPPLIERS OR VENDORS      11/27/2018            $923.53
DEAN FOODS NORTH                                 2042 WOODDALE DRIVE
CENTRAL INCORPORATED   VICE PRESIDENT OF SALES   SUITE 190                                         WOODBURY            MN           55125-0000                             SUPPLIERS OR VENDORS      11/28/2018             $34.07
DEAN FOODS NORTH                                 2042 WOODDALE DRIVE
CENTRAL INCORPORATED   VICE PRESIDENT OF SALES   SUITE 190                                         WOODBURY            MN           55125-0000                             SUPPLIERS OR VENDORS      11/29/2018            $573.53
DEAN FOODS NORTH                                 2042 WOODDALE DRIVE
CENTRAL INCORPORATED   VICE PRESIDENT OF SALES   SUITE 190                                         WOODBURY            MN           55125-0000                             SUPPLIERS OR VENDORS      11/29/2018           $1,584.91
DEAN FOODS NORTH                                 2042 WOODDALE DRIVE
CENTRAL INCORPORATED   VICE PRESIDENT OF SALES   SUITE 190                                         WOODBURY            MN           55125-0000                             SUPPLIERS OR VENDORS       12/3/2018            $994.50
DEAN FOODS NORTH                                 2042 WOODDALE DRIVE
CENTRAL INCORPORATED   VICE PRESIDENT OF SALES   SUITE 190                                         WOODBURY            MN           55125-0000                             SUPPLIERS OR VENDORS       12/4/2018           $1,076.89
DEAN FOODS NORTH                                 2042 WOODDALE DRIVE
CENTRAL INCORPORATED   VICE PRESIDENT OF SALES   SUITE 190                                         WOODBURY            MN           55125-0000                             SUPPLIERS OR VENDORS      12/20/2018           $5,021.05
DEAN FOODS NORTH                                 2042 WOODDALE DRIVE
CENTRAL INCORPORATED   VICE PRESIDENT OF SALES   SUITE 190                                         WOODBURY            MN           55125-0000                             SUPPLIERS OR VENDORS      12/20/2018           $5,427.18



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                                                                                                                                                                            Reasons for payment or    Dates of    Total Amount or
      Creditor Name              Address1               Address2                 Address3                 City              State       Zip              Country                   transfer          Payments           Value
DEAN FOODS NORTH                                 2042 WOODDALE DRIVE
CENTRAL INCORPORATED   VICE PRESIDENT OF SALES   SUITE 190                                         WOODBURY            MN           55125-0000                             SUPPLIERS OR VENDORS      12/21/2018            $486.09
DEAN FOODS NORTH                                 2042 WOODDALE DRIVE
CENTRAL INCORPORATED   VICE PRESIDENT OF SALES   SUITE 190                                         WOODBURY            MN           55125-0000                             SUPPLIERS OR VENDORS      12/27/2018           $1,382.89
DEAN FOODS NORTH                                 2042 WOODDALE DRIVE
CENTRAL INCORPORATED   VICE PRESIDENT OF SALES   SUITE 190                                         WOODBURY            MN           55125-0000                             SUPPLIERS OR VENDORS      12/27/2018           $2,200.67
DEAN HEALTH PLAN INC   RECOVERY DEPARTMENT       PO BOX 56099                                      MADISON             WI           53705                                  SUPPLIERS OR VENDORS      11/13/2018              $29.14
DEAN RIDER             4435 RIDGEWOOD LN. S                                                        BILLINGS            MT           59106                                  SUPPLIERS OR VENDORS      12/20/2018               $3.00
DEAN TILLIS            3028 SOUTH GOLF ROAD                                                        STOCKTON            IL           61085                                  SUPPLIERS OR VENDORS      11/15/2018              $32.00
DEAN VAN HORN          STORE 053                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/22/2018             $517.16
DEAN WIEGERT           4612 COLFAX CIRCLE                                                          LINCOLN             NE           68504                                  SUPPLIERS OR VENDORS      10/29/2018              $47.94
DEAN WIEGERT           4612 COLFAX CIRCLE                                                          LINCOLN             NE           68504                                  SUPPLIERS OR VENDORS      11/26/2018              $11.98
DEANN CARDON           STORE 588                 SHOPKO EMPLOYEE        660 N MAIN ST              BEAVER              UT           84713-7725                             SUPPLIERS OR VENDORS      10/19/2018             $114.45
DEANN CARDON           STORE 588                 SHOPKO EMPLOYEE        660 N MAIN ST              BEAVER              UT           84713-7725                             SUPPLIERS OR VENDORS       1/15/2019             $243.60
DEANN HULL             STORE 091                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/13/2018              $56.68
DEANNA CHOUTKA         85395 554 AVE                                                               MADISON             NE           68748                                  SUPPLIERS OR VENDORS      12/13/2018              $53.54
DEANNA GEBBIE          STORE 2-687               SHOPKO EMPLOYEE        202 SW KENT                GREENFIELD          IA           50849                                  SUPPLIERS OR VENDORS      10/18/2018             $130.80
DEANNA GEHRKE          831 COUNTY RD E                                                             RIPON               WI           54971                                  SUPPLIERS OR VENDORS      10/19/2018              $15.00
DEANNA GJERALD         508 ISABELLA ST                                                             NEENAH              WI           54956                                  SUPPLIERS OR VENDORS       11/8/2018              $50.00
DEANNA LUZENSKI        5381 LUPINE LN UNIT 122                                                     MADISON             WI           53718                                  SUPPLIERS OR VENDORS      10/31/2018              $21.00
DEANNA NICHELSON       STORE 053                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/18/2018             $167.86
DEANNA NICHELSON       STORE 053                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/8/2018             $167.86
DEANNA NICHELSON       STORE 053                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/6/2018             $182.44
DEANNA NICHELSON       STORE 053                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/20/2018              $78.30
DEANNA NICHELSON       STORE 053                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/27/2018             $139.35
DEANNA VOLLMAN         459 N 30RD RD                                                               SYRACUSE            NE           68446                                  SUPPLIERS OR VENDORS       11/5/2018              $60.85
DEANNA VOLLMAN         459 N 30RD RD                                                               SYRACUSE            NE           68446                                  SUPPLIERS OR VENDORS      11/26/2018              $13.15
DEB BERNDT             N989 COUNTY ROAD G                                                          CAMPBELLSPORT       WI           53010                                  SUPPLIERS OR VENDORS       12/7/2018              $30.00
DEB FALBO              4704 WARWICK LN NW                                                          ROCHESTER           MN           55901                                  SUPPLIERS OR VENDORS      11/28/2018              $40.80
DEB HINTZ              STORE 048                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/26/2018             $249.03
DEB HINTZ              STORE 048                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/11/2018             $236.13
DEB JANSSEN            PO BOX 102                                                                  CASTLEWOOD          SD           57223                                  SUPPLIERS OR VENDORS      10/31/2018               $8.32
DEB MCPEEK             204 6TH AVE NW                                                              CLARK               SD           57225                                  SUPPLIERS OR VENDORS      12/13/2018              $45.00
DEB OLEARY-WUTTKE      2907 HARVARD DR                                                             JANESVILLE          WI           53548                                  SUPPLIERS OR VENDORS       12/3/2018              $25.00
DEB STEELE             477 N.W. EVANS AVE.                                                         WALLA WALLA         WA           99362                                  SUPPLIERS OR VENDORS       11/1/2018              $13.60
DEBARA SMITH           105 SE JOHNSON ST                                                           BROWNSDALE          MN           55918                                  SUPPLIERS OR VENDORS      11/26/2018               $3.00
DEBBIE BENTLAGE        APPAREL                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/22/2018           $1,342.32
DEBBIE BENTLAGE        APPAREL                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/8/2018             $953.89

DEBBIE BOLTJES         STORE 2-747               SHOPKO EMPLOYEE        405 W INTERSTATE DRIVE LUVERNE                 MN           56156                                  SUPPLIERS OR VENDORS       12/6/2018             $27.25
DEBBIE EBKE            14470 HASCALL ST                                                        OMAHA                   NE           68144                                  SUPPLIERS OR VENDORS       11/5/2018              $2.00
DEBBIE EBKE            14470 HASCALL ST                                                        OMAHA                   NE           68144                                  SUPPLIERS OR VENDORS       11/9/2018              $2.00
DEBBIE GRAFF           1002 MILITARY RD                                                        ROTHSCHILD              WI           54474                                  SUPPLIERS OR VENDORS       11/1/2018             $25.00
DEBBIE HARP            PO BOX 933                                                              TEKOA                   WA           99033                                  SUPPLIERS OR VENDORS       11/8/2018             $45.00
DEBBIE MCGUIRE         151 T.P. RD                                                             YAKIMA                  WA           98901                                  SUPPLIERS OR VENDORS      11/29/2018             $45.00
DEBBIE TIETZ           310 W. 2ND AVE.                                                         GROTON                  SD           57445                                  SUPPLIERS OR VENDORS       11/9/2018             $15.00
DEBBIE WALKER          1982 22ND STREET                                                        RICE LAKE               WI           54868                                  SUPPLIERS OR VENDORS      11/16/2018             $25.00
DEBBIE WODENKA         N19748 TIMM'S LAKE ROAD                                                 NIAGARA                 WI           54151                                  SUPPLIERS OR VENDORS       12/7/2018             $25.00
DEBBY BEUCK            1716 LOCUST ST                                                          WENATCHEE               WA           98801                                  SUPPLIERS OR VENDORS      12/10/2018            $159.98
DEBEST PLUMBING
INCORPORATED           11477 W PRESIDENT DRIVE                                                     BOISE               ID           83713                                  SUPPLIERS OR VENDORS      11/29/2018            $130.00
DEBI CIACCIO           9613 MONROE RD.                                                             PLATTSMOUTH         NE           68048                                  SUPPLIERS OR VENDORS       11/5/2018            $122.00




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                                                                                                                                                                               Reasons for payment or    Dates of     Total Amount or
     Creditor Name                Address1                Address2                  Address3                 City              State       Zip              Country                   transfer          Payments            Value

DEBOER TRANSPORTATION   DEBOER CAPITAL ASSOCIATES
INCORPORATED            INC                         PO BOX 145                                        BLENKER             WI           54415-0000                             SUPPLIERS OR VENDORS      10/19/2018            $3,282.71

DEBOER TRANSPORTATION   DEBOER CAPITAL ASSOCIATES
INCORPORATED            INC                         PO BOX 145                                        BLENKER             WI           54415-0000                             SUPPLIERS OR VENDORS      10/26/2018            $4,917.11

DEBOER TRANSPORTATION   DEBOER CAPITAL ASSOCIATES
INCORPORATED            INC                         PO BOX 145                                        BLENKER             WI           54415-0000                             SUPPLIERS OR VENDORS      11/16/2018            $3,504.89

DEBOER TRANSPORTATION   DEBOER CAPITAL ASSOCIATES
INCORPORATED            INC                         PO BOX 145                                        BLENKER             WI           54415-0000                             SUPPLIERS OR VENDORS      11/30/2018            $5,256.30

DEBOER TRANSPORTATION   DEBOER CAPITAL ASSOCIATES
INCORPORATED            INC                         PO BOX 145                                        BLENKER             WI           54415-0000                             SUPPLIERS OR VENDORS      12/19/2018            $5,833.40

DEBOER TRANSPORTATION   DEBOER CAPITAL ASSOCIATES
INCORPORATED            INC                         PO BOX 145                                        BLENKER             WI           54415-0000                             SUPPLIERS OR VENDORS         1/5/2019           $4,390.62

DEBOER TRANSPORTATION   DEBOER CAPITAL ASSOCIATES
INCORPORATED            INC                         PO BOX 145                                        BLENKER             WI           54415-0000                             SUPPLIERS OR VENDORS       1/10/2019            $3,067.97
DEBORA KOZICKI          3585 MEADOW WAY                                                               GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS      10/24/2018               $66.40
DEBORA MARTIN           STORE 171                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/18/2018               $53.44
DEBORAH BACH            5813 N IDAHO RD                                                               NEWMAN LAKE         WA           99025                                  SUPPLIERS OR VENDORS       11/5/2018               $41.05
DEBORAH COCHRAN         12929 E. MIDWAY RD                                                            MEAD                WA           99021                                  SUPPLIERS OR VENDORS      11/26/2018               $63.74
DEBORAH ELLIOTT         STORE 090                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/9/2018               $95.59
DEBORAH ELLIOTT         STORE 090                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/30/2018              $366.15
DEBORAH ELLIOTT         STORE 090                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        1/5/2019              $273.38
DEBORAH ELLIOTT         STORE 090                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       1/15/2019              $100.00
DEBORAH FECTEAU         1103 HARLYN AVENUE          UNIT 16                                           ROTHSCHILD          WI           54474                                  SUPPLIERS OR VENDORS       11/7/2018              $189.99
DEBORAH HENDERSON       STORE 2-065                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/1/2018              $432.73
DEBORAH HENDERSON       STORE 2-065                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/6/2018              $426.74
DEBORAH HUFF            4714 W. 3825 S.                                                               SALT LAKE CITY      UT           84120                                  SUPPLIERS OR VENDORS      10/25/2018               $42.00
DEBORAH JOHNSON         W7021 CEMETARY ROAD                                                           PEMBINE             WI           54156                                  SUPPLIERS OR VENDORS      10/31/2018               $35.94
DEBORAH KIENBAUM        1827 RANDOLPH AVE                                                             NEWHOLSTEIN         WI           53061                                  SUPPLIERS OR VENDORS      11/26/2018              $100.00

DEBORAH LIECHTY         STORE 2-769                 SHOPKO EMPLOYEE        1159 S CENTRAL AVENUE SIDNEY                   MT           59270                                  SUPPLIERS OR VENDORS      10/25/2018             $450.18

DEBORAH MATHIAS         2007 WHISTLING SWAN CIRCLE                                                    DE PERE             WI           54115                                  SUPPLIERS OR VENDORS      11/26/2018              $30.00
DEBORAH PROXMIRE        7915 CANVASBACK CRT.                                                          LARSEN              WI           54947                                  SUPPLIERS OR VENDORS      10/24/2018              $44.16
DEBORAH S ANDERSON      STORE 689                  SHOPKO EMPLOYEE         201 N FILLMORE             MOUNT AYR           IA           50854                                  SUPPLIERS OR VENDORS       12/6/2018             $179.52
DEBORAH SADDLER         1604 13TH AVE SE                                                              ST. CLOUD           MN           56304                                  SUPPLIERS OR VENDORS      11/12/2018              $23.00
DEBORAH SCHULTZ         2557 WOODLAND PL                                                              CHARLESCITY         IA           50616                                  SUPPLIERS OR VENDORS       12/3/2018             $105.98
DEBORAH VANPAY          6128 COUNTY RD JJ                                                             LUXEMBURG           WI           54217                                  SUPPLIERS OR VENDORS      12/17/2018              $25.00
DEBORAH VERGITH         655 W STAGECOACH RD                                                           MARTELL             NE           68404                                  SUPPLIERS OR VENDORS       11/5/2018               $7.86
DEBORAH VERGITH         655 W STAGECOACH RD                                                           MARTELL             NE           68404                                  SUPPLIERS OR VENDORS       11/5/2018              $13.15
DEBORAH VERGITH         655 W STAGECOACH RD                                                           MARTELL             NE           68404                                  SUPPLIERS OR VENDORS      11/26/2018              $60.85
DEBORAH VERGITH         655 W STAGECOACH RD                                                           MARTELL             NE           68404                                  SUPPLIERS OR VENDORS      11/29/2018              $36.14
DEBORAH WALTERS         54351 846 RD                                                                  MEADOW GROVE        NE           68752                                  SUPPLIERS OR VENDORS       11/1/2018              $11.92
DEBORAH WYCOFF          704 S TAYLOR ST                                                               GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS      11/14/2018              $25.00
DEBRA ALLEN             W9194 RIPPLEY RD #54                                                          CAMBRIDGE           WI           53523                                  SUPPLIERS OR VENDORS      10/22/2018              $63.00
DEBRA BRENDEL           STORE 623                  SHOPKO EMPLOYEE         890 RIVERSIDE PLAZA        IRON RIVER          MI           49935                                  SUPPLIERS OR VENDORS      11/15/2018              $49.05
DEBRA BRUNELLE          2365 BOWLIN LANE                                                              TWIN FALLS          ID           83301                                  SUPPLIERS OR VENDORS      10/18/2018               $5.00
DEBRA DASS              BOX 187                    401 6TH AVE                                        WILMONT             MN           56185                                  SUPPLIERS OR VENDORS      10/22/2018               $3.00



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                                                                                                                                                                               Reasons for payment or    Dates of     Total Amount or
      Creditor Name                 Address1             Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
DEBRA DELVAUX            STORE SERVICES            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/29/2018              $254.26
DEBRA DELVAUX            STORE SERVICES            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         12/6/2018              $153.69
DEBRA DUKE               3603 N 44TH AVE                                                             OMAHA               NE           68111                                  SUPPLIERS OR VENDORS         12/7/2018               $30.00
DEBRA DUNCAN             34477 590TH ST                                                              ZUMBRO FALLS        MN           55991                                  SUPPLIERS OR VENDORS        11/29/2018               $15.30
DEBRA FOSTER             2090 CEDAR BREAKS DR                                                        SALT LAKE CITY      UT           84129                                  SUPPLIERS OR VENDORS        10/25/2018               $42.00
DEBRA GRUMMERT           402 CHICAGO ST                                                              JANSEN              NE           68377                                  SUPPLIERS OR VENDORS        12/11/2018               $45.54
DEBRA HANSON             425 GEORGE STREET                                                           GREEN BAY           WI           54302                                  SUPPLIERS OR VENDORS        12/17/2018               $33.08
DEBRA HAYES              2524 RANDOLPH ROAD                                                          JANESVILLE          WI           53545                                  SUPPLIERS OR VENDORS        12/19/2018                $5.95
DEBRA HOFERITZA          2115 37TH ST                                                                KENOSHA             WI           53140                                  SUPPLIERS OR VENDORS        11/26/2018              $170.00
DEBRA ISAACSON           S14441 CTY B                                                                ELEVA               WI           54738                                  SUPPLIERS OR VENDORS        11/15/2018               $14.19
DEBRA ISAACSON           S14441 CTY B                                                                ELEVA               WI           54738                                  SUPPLIERS OR VENDORS        11/29/2018               $61.81
DEBRA JACOBS             940 EAST PERSHING ST                                                        APPLETON            WI           54911                                  SUPPLIERS OR VENDORS         12/7/2018                $3.00
DEBRA JACOBSON           STORE 4-058               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/20/2018               $92.77
DEBRA KABAT              N4594 MEADOW WOOD RD                                                        ONALASKA            WI           54650                                  SUPPLIERS OR VENDORS         12/3/2018               $15.39
DEBRA L SMITH            STORE 563                 SHOPKO EMPLOYEE        406 GATEWAY AVENUE         MAUSTON             WI           53948                                  SUPPLIERS OR VENDORS         12/6/2018              $294.30
DEBRA LAST               3827 RED OAK COURT                                                          OSHKOSH             WI           54902                                  SUPPLIERS OR VENDORS        10/29/2018               $25.00
DEBRA LEIVO              STORE 2-010               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/18/2018               $49.95
DEBRA LEIVO              STORE 2-010               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/8/2018               $49.95
DEBRA RAY                400 LANTERN LN                                                              DEPERE              WI           54115                                  SUPPLIERS OR VENDORS        11/28/2018               $47.00
DEBRA RICHARDS           39 WEST MADISON                                                             MILTON              WI           53563                                  SUPPLIERS OR VENDORS        11/26/2018               $24.00
DEBRA RICHARDSON         STORE 172                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS        10/26/2018              $158.25
DEBRA RIGGIN             9717 N. SNYDER ST.                                                          SPOKANE             WA           99208                                  SUPPLIERS OR VENDORS         12/7/2018               $56.24
DEBRA ROGOWSKI           W15498 CLARK RD                                                             TIGERTON            WI           54486                                  SUPPLIERS OR VENDORS        11/26/2018               $25.00
DEBRA SNYDER             STORE 041                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/13/2018               $69.22
DEBRA STRATMANN          116 S VIRGINIA AVE                                                          MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS        10/29/2018               $10.00
DEBRA UNDERHILL          STORE 2-762               SHOPKO EMPLOYEE        PO BOX 1352                THERMOPOLIS         WY           82443                                  SUPPLIERS OR VENDORS        11/22/2018              $122.08
DEBRA ZIEBERT            W2372 TIMBER RIDGE CRT                                                      CAMPBELLSPORT       WI           53010                                  SUPPLIERS OR VENDORS        11/14/2018               $25.00
DEBRAN ANDERSON          4519 US HWY 212                                                             JOLIET              MT           59041                                  SUPPLIERS OR VENDORS        10/22/2018               $85.00
DEENA GRABOWSKY          937 DERESCH ST                                                              ANTIGO              WI           54409                                  SUPPLIERS OR VENDORS        10/22/2018               $25.00
DEENA GROSS              9307 ASH ST                                                                 BERNARD             IA           52032                                  SUPPLIERS OR VENDORS         12/3/2018               $24.00
DEJAH ZERWAS             27900 UNIVERSITY AVE NW                                                     ISANTI              MN           55040                                  SUPPLIERS OR VENDORS        12/17/2018               $49.00
DELANE PASCHAL           MANAGED CARE              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/30/2018              $153.20
DELBERT KRUM             2170 CHICKADEE                                                              MISSOULA            MT           59808                                  SUPPLIERS OR VENDORS         12/7/2018               $53.76
DELBERT MOODY            638 W. PERSIMMON LN                                                         SPOKANE             WA           99224                                  SUPPLIERS OR VENDORS        10/29/2018               $20.00
DELBERT WARD             2778 NORTHBROOK LANE                                                        CHARLES CVITY       IA           50616                                  SUPPLIERS OR VENDORS        10/22/2018                $8.03
DELCO APPAREL DBA E LO   CIT GROUP COMMERCIAL
SPORTWEAR                SERVICES INC              PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       10/19/2018          $105,494.56
DELCO APPAREL DBA E LO   CIT GROUP COMMERCIAL
SPORTWEAR                SERVICES INC              PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       10/30/2018              $138.00
DELCO APPAREL DBA E LO   CIT GROUP COMMERCIAL
SPORTWEAR                SERVICES INC              PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS        11/8/2018           $32,199.42
DELCO APPAREL DBA E LO   CIT GROUP COMMERCIAL
SPORTWEAR                SERVICES INC              PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       12/11/2018              $153.93

DELCO ENERGY SOLUTIONS
INCORPORATED             3303 18TH STREET                                                            KENOSHA             WI           53144                                  SUPPLIERS OR VENDORS        11/9/2018            $9,090.56

DELCO ENERGY SOLUTIONS
INCORPORATED             3303 18TH STREET                                                            KENOSHA             WI           53144                                  SUPPLIERS OR VENDORS       11/12/2018            $9,177.49

DELCO ENERGY SOLUTIONS
INCORPORATED             3303 18TH STREET                                                            KENOSHA             WI           53144                                  SUPPLIERS OR VENDORS       11/29/2018           $10,711.25




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                                                                                                                                                                                 Reasons for payment or    Dates of    Total Amount or
     Creditor Name                 Address1                 Address2                  Address3                  City             State       Zip              Country                   transfer          Payments           Value

DELCO ENERGY SOLUTIONS
INCORPORATED             3303 18TH STREET                                                               KENOSHA             WI           53144                                  SUPPLIERS OR VENDORS       12/3/2018          $8,742.08
DELIA TORRES             238 N GARFIELD AVE                                                             WENATCHEE           WA           98801                                  SUPPLIERS OR VENDORS      10/22/2018             $13.44
DELLA BANKS              42101 237TH ST                                                                 FEDORA              SD           57337                                  SUPPLIERS OR VENDORS       12/7/2018             $44.80
DELLA FOX                18934 CYCLONE RIDGE                                                            MOUNT CARROLL       IL           61053                                  SUPPLIERS OR VENDORS      10/29/2018             $51.20
DELOITTE & TOUCHE LLP    PO BOX 844708                                                                  DALLAS              TX           75284-4708                             SUPPLIERS OR VENDORS      12/17/2018        $118,412.00
DELOITTE & TOUCHE LLP    PO BOX 844708                                                                  DALLAS              TX           75284-4708                             SUPPLIERS OR VENDORS      12/21/2018         $44,043.00
DELOITTE TAX LLP         PO BOX 844736                                                                  DALLAS              TX           75284-4736                             SUPPLIERS OR VENDORS        1/8/2019         $88,729.00
DELOITTE TAX LLP         4022 SELLS DR                                                                  HERMITAGE, TN       TN           37076                                  TAX SERVICES               1/10/2019         $75,000.00
DELORA HILLS             1892 26TH AVE                                                                  RICELAKE            WI           54868                                  SUPPLIERS OR VENDORS      11/28/2018            $163.18
DELORA HILLS             1892 26TH AV                                                                   RICE LAKE           WI           54868                                  SUPPLIERS OR VENDORS      12/17/2018             $43.99
                         2901 MONAD RD- FOX
DELORES BIRGENHEIER      MEADOWS                                                                        BILLINGS            MT           59102                                  SUPPLIERS OR VENDORS      10/29/2018             $15.20
DELORES BLOCK            6004 BIRCH ST APT 1                                                            WESTON              WI           54476                                  SUPPLIERS OR VENDORS      10/22/2018              $5.00
DELORES HEIL             P O BOX 12                                                                     ASHLEY              ND           58413                                  SUPPLIERS OR VENDORS      11/12/2018            $112.80
DELORIS SCHWARTZ         414 3RD ST W                                                                   CANBY               MN           56220                                  SUPPLIERS OR VENDORS      11/30/2018             $27.00
DELTA ENTERPRISE
CORPORATION              VICE PRESIDENT OF SALES      114 WEST 26TH STREET                              NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      10/19/2018         $19,318.55
DELTA ENTERPRISE
CORPORATION              VICE PRESIDENT OF SALES      114 WEST 26TH STREET                              NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      10/25/2018           $1,689.00
DELTA ENTERPRISE
CORPORATION              VICE PRESIDENT OF SALES      114 WEST 26TH STREET                              NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      10/29/2018           $4,473.00
DELTA ENTERPRISE
CORPORATION              VICE PRESIDENT OF SALES      114 WEST 26TH STREET                              NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      10/31/2018           $5,294.32
DELTA ENTERPRISE
CORPORATION              VICE PRESIDENT OF SALES      114 WEST 26TH STREET                              NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS       11/8/2018            $297.41
DEMATIC CORPORATION      684125 NETWORK PLACE                                                           CHICAGO             IL           60673-1684                             SUPPLIERS OR VENDORS      10/30/2018        $420,347.58
DEMERT BRANDS
INCORPORATED             PO BOX 82163                                                                   TAMPA               FL           33682                                  SUPPLIERS OR VENDORS      10/18/2018           $1,678.65
DEMERT BRANDS
INCORPORATED             PO BOX 82163                                                                   TAMPA               FL           33682                                  SUPPLIERS OR VENDORS      10/25/2018           $3,079.30
DEMERT BRANDS
INCORPORATED             PO BOX 82163                                                                   TAMPA               FL           33682                                  SUPPLIERS OR VENDORS       11/8/2018           $1,885.07
DEMERT BRANDS
INCORPORATED             PO BOX 82163                                                                   TAMPA               FL           33682                                  SUPPLIERS OR VENDORS      11/15/2018            $997.92
DEMERT BRANDS
INCORPORATED             PO BOX 82163                                                                   TAMPA               FL           33682                                  SUPPLIERS OR VENDORS      11/22/2018           $1,860.41
DEMERT BRANDS
INCORPORATED             PO BOX 82163                                                                   TAMPA               FL           33682                                  SUPPLIERS OR VENDORS      11/29/2018           $1,596.67
DEMETRIA WESTBROOK       STORE 2-140                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/20/2018             $105.73
DENIS KELLING            2306 WELLINGTON DR                                                             WEST BEND           WI           53090                                  SUPPLIERS OR VENDORS      10/31/2018              $10.00

DENISE ANDRUS            W7421 EAST LAMARTINE DRIVE                                                     FOND DU LAC         WI           54937                                  SUPPLIERS OR VENDORS      12/17/2018             $20.00
DENISE ARMENDARIZ        STORE 582                    SHOPKO EMPLOYEE        1000 US BUSINESS 67        PRESIDIO            TX           79845                                  SUPPLIERS OR VENDORS       11/2/2018            $494.86
DENISE ARMENDARIZ        STORE 582                    SHOPKO EMPLOYEE        1000 US BUSINESS 67        PRESIDIO            TX           79845                                  SUPPLIERS OR VENDORS      12/14/2018            $187.48
DENISE BASTIAN           STORE 002                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/25/2018            $490.50
DENISE BORGMANN          2442 NANCY DRIVE                                                               LINCOLN             NE           68507                                  SUPPLIERS OR VENDORS      12/14/2018             $45.00
DENISE ELLIS             8050 S 16TH ST                                                                 LINCOLN             NE           68512                                  SUPPLIERS OR VENDORS      12/14/2018            $163.00
DENISE GLODOWSKI         6947 6TH STREET                                                                STEVENS POINT       WI           54482                                  SUPPLIERS OR VENDORS      10/31/2018            $293.57
DENISE KOENIG            1309 NAVARINO ST                                                               ALGOMA              WI           54201                                  SUPPLIERS OR VENDORS      11/14/2018             $25.00
DENISE LUNDEIN           234 15 TH AVE SE                                                               ROCHESTER           MN           55904                                  SUPPLIERS OR VENDORS      10/26/2018             $71.00
DENISE PASSEHL           559 160 STREET                                                                 LATIMER             IA           50452                                  SUPPLIERS OR VENDORS       11/5/2018             $25.00
DENISE WEBBER            APPAREL                      SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/22/2018            $974.25



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                                                                                                                                                                                Reasons for payment or    Dates of     Total Amount or
      Creditor Name                  Address1             Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
DENISE WESOLOWSKI         4414 E CRYSTAL DRIVE                                                        CECIL               WI           54111                                  SUPPLIERS OR VENDORS        10/23/2018            $1,724.46
DENISE WESOLOWSKI         4414 E CRYSTAL DRIVE                                                        CECIL               WI           54111                                  SUPPLIERS OR VENDORS         11/2/2018            $3,160.50
DENISE WESOLOWSKI         4414 E CRYSTAL DRIVE                                                        CECIL               WI           54111                                  SUPPLIERS OR VENDORS         11/6/2018            $1,711.50
DENISE WESOLOWSKI         4414 E CRYSTAL DRIVE                                                        CECIL               WI           54111                                  SUPPLIERS OR VENDORS         11/9/2018            $3,076.50
DENISE WESOLOWSKI         4414 E CRYSTAL DRIVE                                                        CECIL               WI           54111                                  SUPPLIERS OR VENDORS        11/13/2018            $1,711.50
DENISE WESOLOWSKI         4414 E CRYSTAL DRIVE                                                        CECIL               WI           54111                                  SUPPLIERS OR VENDORS        11/14/2018                $1.00
DENISE WESOLOWSKI         4414 E CRYSTAL DRIVE                                                        CECIL               WI           54111                                  SUPPLIERS OR VENDORS        11/27/2018            $1,680.00
DENISE WESOLOWSKI         4414 E CRYSTAL DRIVE                                                        CECIL               WI           54111                                  SUPPLIERS OR VENDORS         12/4/2018              $678.48
DENNIS BALDINELLI         205 GARFIELD STREET                                                         KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS         11/1/2018               $19.83
DENNIS BARTEK             23113 N.W. 70TH                                                             VALPRAISO           NE           68065                                  SUPPLIERS OR VENDORS        11/26/2018               $47.94
DENNIS BORGMAN            11351 WEST VAN DORN                                                         DENTON              NE           68339                                  SUPPLIERS OR VENDORS        11/28/2018               $13.15
DENNIS CHAMBERS           4018 BUCKEYE WAY                                                            GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS         12/3/2018               $10.00
DENNIS DERMANN            6901 ANTLER DRIVE                                                           LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS         11/5/2018               $13.45
DENNIS DERMANN            6901 ANTLER DRIVE                                                           LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS         11/5/2018               $62.55
DENNIS DILLENBURG         M209 HWY C                                                                  MARSHFIELD          WI           54449                                  SUPPLIERS OR VENDORS        12/13/2018               $25.00
DENNIS DINUBILO           420 LINDEN AVE                                                              LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS        10/26/2018              $204.96
DENNIS ERICKSON           STORE 014                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS         11/8/2018              $132.98
DENNIS GRIM               155 YELLE RD                                                                GWINN               MI           49841                                  SUPPLIERS OR VENDORS        10/25/2018               $42.00
DENNIS GROSSKREUTZ        STORE 563                 SHOPKO EMPLOYEE        406 GATEWAY AVENUE         MAUSTON             WI           53948-1401                             SUPPLIERS OR VENDORS        12/20/2018               $74.12
DENNIS GUSICK             1531 LOST DAUPHIN RD                                                        DE PERE             WI           54115                                  SUPPLIERS OR VENDORS         12/7/2018               $19.00
DENNIS HIGHT              924 DOWS ST.                                                                GARRETSON           SD           57030                                  SUPPLIERS OR VENDORS        11/26/2018               $12.00
DENNIS HIGHT              924 DOWS ST.                                                                GARRETSON           SD           57030                                  SUPPLIERS OR VENDORS        11/29/2018               $48.00
                          2564 STONE MEADOW TRAIL
DENNIS HULTMAN            APT 12                                                                      GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS       10/22/2018               $25.00
DENNIS JAEDIKE            916 BENTON AVE                                                              JANESVILLE          WI           53545                                  SUPPLIERS OR VENDORS        11/2/2018               $25.00
DENNIS KALLAS             N2740 17TH DR.                                                              WAUTOMA             WI           54982                                  SUPPLIERS OR VENDORS       11/26/2018               $25.00
DENNIS KAMINSKI           619 LINCOLN AVE.                                                            WAUSAU              WI           54403                                  SUPPLIERS OR VENDORS       10/19/2018               $45.61
DENNIS KOK                620 N LOCKIN                                                                BRANDON             WI           53919                                  SUPPLIERS OR VENDORS       11/12/2018               $45.00
DENNIS LUBELEY            8618 S. 101ST ST.                                                           LA VISTA            NE           68128                                  SUPPLIERS OR VENDORS       11/15/2018               $59.00
DENNIS LUDLOW             1727 ARNOLD DR.                                                             GREEN BAY           WI           54304                                  SUPPLIERS OR VENDORS        12/5/2018                $5.00
DENNIS MARLETTE           10606 147TH ST                                                              CHIPPEWA FALLS      WI           54729                                  SUPPLIERS OR VENDORS       12/20/2018              $174.00
DENNIS MINTER             402 CEDAR AVE EAST                                                          MENOMONIE           WI           54751                                  SUPPLIERS OR VENDORS       11/12/2018               $10.60
DENNIS PIETZ              402 E. 2ND                                                                  TRIPP               SD           57376                                  SUPPLIERS OR VENDORS       11/29/2018               $11.20
DENNIS PIETZ              402 E. 2ND                                                                  TRIPP               SD           57376                                  SUPPLIERS OR VENDORS        12/7/2018               $44.80
DENNIS PRESTON            804 E 7TH AVE                                                               MITCHELL            SD           57301                                  SUPPLIERS OR VENDORS       11/26/2018               $44.80
DENNIS PUNZEL             N4783 RIVER VEIW LANE                                                       JEFFERSON           WI           53549                                  SUPPLIERS OR VENDORS       10/26/2018               $23.00
DENNIS RHYNER             1891 FORYSTHE RD                                                            PITTSVILLE          WI           54455                                  SUPPLIERS OR VENDORS       12/17/2018               $37.98
DENNIS RIEMAN             637 TAYLOR ST.                                                              RUDD                IA           50471                                  SUPPLIERS OR VENDORS       10/22/2018               $13.90
DENNIS SEVERA             604 KINGWOOD                                                                STANTON             NE           68779                                  SUPPLIERS OR VENDORS       10/26/2018               $28.46
DENNIS SORGE              STORE 2-038               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/25/2018              $152.60
DENNIS STEINMAN           4412 HILLSIDE RD                                                            SLINGER             WI           53086                                  SUPPLIERS OR VENDORS        11/1/2018               $23.00
DENNIS SWANSON            2062 400TH ST                                                               BUFFALO CENTER      IA           50424                                  SUPPLIERS OR VENDORS       10/22/2018               $13.90
DENNIS TAPP               STORE 062                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/16/2018              $338.56
DENNIS WIEDMEIER          5291 WEST POSSE DRIVE                                                       ELOY                AZ           85131                                  SUPPLIERS OR VENDORS        11/1/2018               $12.16
DEPARTMENT OF LABOR &
INDUSTRY                  L & I ELEVATOR SECTION    PO BOX 44480                                      OLYMPIA             WA           98504-4480                             SUPPLIERS OR VENDORS        12/7/2018              $129.00
DEPARTMENT OF LABOR &
INDUSTRY                  L & I ELEVATOR SECTION    PO BOX 44480                                      OLYMPIA             WA           98504-4480                             SUPPLIERS OR VENDORS       12/17/2018              $114.10
DEPT OF INSPECTIONS AND   FOOD & CONSUMER SAFETY    LUCAS BUILDING-321 E
APPEALS                   BUREAU                    12TH ST                                           DES MOINES          IA           50319                                  SUPPLIERS OR VENDORS       10/25/2018              $405.00
DEREK HEGTVEDT            408 S 9TH ST                                                                CLEAR LAKE          IA           50428                                  SUPPLIERS OR VENDORS       11/29/2018               $30.00
DEREK LAROCCO             STORE 097                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/30/2018              $720.67
DEREK LAROCCO             STORE 097                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/29/2018              $171.28
DEREK MAJESKE             422 EAST 1ST ST                                                             FAIRMONT            MN           56031                                  SUPPLIERS OR VENDORS       11/26/2018               $15.00



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DERRICK HERMANSON        4820 ELK RIDGE RD                                                            LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS        11/12/2018               $23.00
DERRICK SHAULL           STORE 687                  SHOPKO EMPLOYEE        202 SW KENT                GREENFIELD          IA           50849                                  SUPPLIERS OR VENDORS         12/6/2018               $80.66
DESCHUTES COUNTY TAX
COLLECTOR                1300 NW WALL ST STE 200    PO BOX 7559                                       BEND                OR           97708-0000                             SUPPLIERS OR VENDORS       11/12/2018          $116,123.44
DESIGN PAC INC           PO BOX 26508                                                                 NEW YORK            NY           10087-6508                             SUPPLIERS OR VENDORS       11/23/2018           $24,001.45
DESIGN PAC INC           PO BOX 26508                                                                 NEW YORK            NY           10087-6508                             SUPPLIERS OR VENDORS       11/30/2018            $6,584.24
DESIGN PAC INC           PO BOX 26508                                                                 NEW YORK            NY           10087-6508                             SUPPLIERS OR VENDORS        12/4/2018           $13,674.91
                                                    488 MADISON AVENUE
DESIGNER PROTEIN LLC     ACCOUNTS RECEIVABLE DEPT   STE 800                                           NEW YORK            NY           10022                                  SUPPLIERS OR VENDORS       10/18/2018            $1,586.36
                                                    488 MADISON AVENUE
DESIGNER PROTEIN LLC     ACCOUNTS RECEIVABLE DEPT   STE 800                                           NEW YORK            NY           10022                                  SUPPLIERS OR VENDORS       11/29/2018              $137.58
DESTINY KNIGHT           STORE 2-005                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/18/2018              $104.64
DESTINY KNIGHT           STORE 2-005                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/1/2018               $20.71
DEVELOPLUS
INCORPORATED             1575 MAGNOLIA AVENUE                                                         CORONA              CA           92879                                  SUPPLIERS OR VENDORS       10/18/2018            $3,836.65
DEVELOPLUS
INCORPORATED             1575 MAGNOLIA AVENUE                                                         CORONA              CA           92879                                  SUPPLIERS OR VENDORS       10/25/2018            $3,455.89
DEVELOPLUS
INCORPORATED             1575 MAGNOLIA AVENUE                                                         CORONA              CA           92879                                  SUPPLIERS OR VENDORS        11/1/2018            $2,340.95
DEVELOPLUS
INCORPORATED             1575 MAGNOLIA AVENUE                                                         CORONA              CA           92879                                  SUPPLIERS OR VENDORS        11/8/2018            $3,299.11
DEVELOPLUS
INCORPORATED             1575 MAGNOLIA AVENUE                                                         CORONA              CA           92879                                  SUPPLIERS OR VENDORS       11/27/2018               $72.60
DEVELOPLUS
INCORPORATED             1575 MAGNOLIA AVENUE                                                         CORONA              CA           92879                                  SUPPLIERS OR VENDORS       11/29/2018            $3,113.75
DEVELOPLUS
INCORPORATED             1575 MAGNOLIA AVENUE                                                         CORONA              CA           92879                                  SUPPLIERS OR VENDORS        12/6/2018            $2,841.30
DEVERAUX DERN            6183 WEST 13000 SOUTH                                                        RIVERTON            UT           84065                                  SUPPLIERS OR VENDORS       10/25/2018               $42.00
DEVIN ERMIS              5525 GALUSKA RD                                                              ABRAMS              WI           54101                                  SUPPLIERS OR VENDORS       12/20/2018               $98.00
DEVIN HARDING            1676 KNIGHTS DR.                                                             MANKATO             MN           56003                                  SUPPLIERS OR VENDORS        12/5/2018                $7.14
                         2034 COTNER AVENUE SUITE
DEVMAR PARTNERS LLC      200                                                                          LOS ANGELES         CA           90025                                  SUPPLIERS OR VENDORS        11/1/2018           $30,160.21
                         2034 COTNER AVENUE SUITE
DEVMAR PARTNERS LLC      200                                                                          LOS ANGELES         CA           90025                                  SUPPLIERS OR VENDORS        12/1/2018           $30,160.21
DEWITT PIATT BI COUNTY
HEALTH                   1020 S MARKET STREET                                                         MONTICELLO          IL           61856                                  SUPPLIERS OR VENDORS       11/13/2018              $150.00
DEZINE NEWS
INCORPORATED             3901 LA REUNION PARKWAY                                                      DALLAS              TX           75212-0000                             SUPPLIERS OR VENDORS       10/19/2018           $12,951.60
DEZINE NEWS
INCORPORATED             3901 LA REUNION PARKWAY                                                      DALLAS              TX           75212-0000                             SUPPLIERS OR VENDORS       10/26/2018            $6,315.80
DEZINE NEWS
INCORPORATED             3901 LA REUNION PARKWAY                                                      DALLAS              TX           75212-0000                             SUPPLIERS OR VENDORS        11/2/2018            $2,887.80
DEZINE NEWS
INCORPORATED             3901 LA REUNION PARKWAY                                                      DALLAS              TX           75212-0000                             SUPPLIERS OR VENDORS        11/9/2018            $4,341.70
DEZINE NEWS
INCORPORATED             3901 LA REUNION PARKWAY                                                      DALLAS              TX           75212-0000                             SUPPLIERS OR VENDORS       11/16/2018           $10,867.80
DEZINE NEWS
INCORPORATED             3901 LA REUNION PARKWAY                                                      DALLAS              TX           75212-0000                             SUPPLIERS OR VENDORS       11/30/2018            $6,386.20
DFI                      PO BOX 2707                                                                  DAVENPORT           IA           52809                                  SUPPLIERS OR VENDORS        11/1/2018              $449.12
DFI                      PO BOX 2707                                                                  DAVENPORT           IA           52809                                  SUPPLIERS OR VENDORS       11/15/2018              $673.68
DFI                      PO BOX 2707                                                                  DAVENPORT           IA           52809                                  SUPPLIERS OR VENDORS       11/29/2018              $947.64
DFI                      PO BOX 2707                                                                  DAVENPORT           IA           52809                                  SUPPLIERS OR VENDORS         1/4/2019            $2,199.91
DH PACE COMPANY
INCORPORATED             1901 E 119TH STREET                                                          OLATHE              KS           66061                                  SUPPLIERS OR VENDORS         1/4/2019           $19,244.45



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                                                                                                                                                                                Reasons for payment or    Dates of     Total Amount or
       Creditor Name                 Address1             Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
DHS RECEIPTING E 08      POB 14006                                                                    SALEM               OR           97309                                  SUPPLIERS OR VENDORS        11/28/2018              $112.00
DHS RECEIPTING E08       POB 14006                                                                    SALEM               OR           97309                                  SUPPLIERS OR VENDORS        12/10/2018              $112.00
DIAL ENTERPRISES         11506 NICHOLAS SUITE 100                                                     OMAHA               NE           68154                                  SUPPLIERS OR VENDORS        11/29/2018            $1,000.00
DIAMOND REFRIGERATION
LLC                      209 SW 3RD STREET                                                            REDMOND             OR           97756                                  SUPPLIERS OR VENDORS       11/15/2018              $490.01

DIAMOND RIDGE PRINTING   910 2ND AVENUE SW                                                            AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS         1/4/2019               $91.69
DIANA BERG               STORE 005                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/25/2018               $70.00
DIANA BLANKENSHIP        737 BUCKWALTER DRIVE                                                         SIOUX CITY          IA           51108                                  SUPPLIERS OR VENDORS       10/29/2018               $52.00
DIANA COWELL             1608 SCHWARTZ RD                                                             PULASKI             WI           54162                                  SUPPLIERS OR VENDORS       10/22/2018                $4.40
DIANA COWELL             1608 SCHWARTZ RD                                                             PULASKI             WI           54162                                  SUPPLIERS OR VENDORS       10/26/2018               $10.00
DIANA COWELL             1608 SCHWARTZ RD                                                             PULASKI             WI           54162                                  SUPPLIERS OR VENDORS        11/2/2018               $15.00
DIANA PAAP               E4152 CTY RD EE                                                              WAUPACA             WI           54981                                  SUPPLIERS OR VENDORS       11/14/2018               $25.00
DIANA PIERSON            STORE 127                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        1/15/2019               $90.90
DIANA WOOD               6646 JOHN 17.3 AVE                                                           WELLS               MI           49894                                  SUPPLIERS OR VENDORS       10/25/2018               $42.00
DIANA ZUNIGA             STORE 765                  SHOPKO EMPLOYEE        PO BOX 219                 MOUNTAIN VIEW       WY           82939                                  SUPPLIERS OR VENDORS       10/26/2018            $1,358.93
DIANA ZUNIGA             STORE 765                  SHOPKO EMPLOYEE        PO BOX 219                 MOUNTAIN VIEW       WY           82939                                  SUPPLIERS OR VENDORS        11/2/2018              $397.60
DIANE BENISH             909 MERIDIAN HEIGHTS DR                                                      EAU CLAIRE          WI           54703                                  SUPPLIERS OR VENDORS       10/24/2018               $42.24
DIANE BENISH             909 MERIDIAN HEIGHTS DR                                                      EAU CLAIRE          WI           54703                                  SUPPLIERS OR VENDORS       10/31/2018               $10.56
DIANE BERGLER            730 37TH AVENUE                                                              WINONA              MN           55987                                  SUPPLIERS OR VENDORS       12/13/2018              $147.00
DIANE BERGSTROM          27563 540TH AVE                                                              AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS       12/21/2018                $1.64
DIANE BOECKHOLT          1315 STATE ST.                                                               GARNER              IA           50438                                  SUPPLIERS OR VENDORS        11/1/2018               $10.00

DIANE ESWEIN             6131 ARBUTUS DRIVE                                                           WISCONSIN RAPIDS    WI           54494                                  SUPPLIERS OR VENDORS       10/25/2018              $400.97
DIANE GREUEL             2685 MARIAN DR.                                                              BONIFAY             FL           32425                                  SUPPLIERS OR VENDORS       10/19/2018               $11.04
DIANE GRUHLKE            STORE 037                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/2/2018               $93.74
DIANE JOHNSON-HUNG       409 BLANKENHEIM LN.                                                          SUN PRAIRIE         WI           53590                                  SUPPLIERS OR VENDORS       10/19/2018               $30.00
DIANE KIRSCHLING         STORE 2-171                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/1/2018               $40.33
DIANE KIRSCHLING         STORE 2-171                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/15/2018               $40.33
DIANE KIRSCHLING         STORE 2-171                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/29/2018               $43.60
DIANE KIRSCHLING         STORE 2-171                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/6/2018               $43.60
DIANE KIRSCHLING         STORE 2-171                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/20/2018               $43.60
DIANE KRIEGHOFF          592 ALEE LANE                                                                THEVILLAGES         FL           32163                                  SUPPLIERS OR VENDORS        12/7/2018                $6.26
DIANE LARSON             PO BOX 24                                                                    CARTHAGE            SD           57323                                  SUPPLIERS OR VENDORS       11/12/2018                $2.00
DIANE LEHNERZ            1801 CARDINAL DR                                                             WEST BEND           WI           53090                                  SUPPLIERS OR VENDORS       10/31/2018               $10.00
DIANE MCNALLY            4109 N 60TH AVE                                                              OMAHA               NE           68104                                  SUPPLIERS OR VENDORS        11/2/2018               $61.98
DIANE MUNNS              N1678 BRAMBLE BUSH LN                                                        FORT ATKINSON       WI           53538                                  SUPPLIERS OR VENDORS       10/24/2018               $40.32
DIANE RESEBURG           6360 CTY RD M                                                                WEST BEND           WI           53095                                  SUPPLIERS OR VENDORS       10/29/2018               $23.40
DIANE SHEA               1371 27TH ST NE                                                              WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS       11/29/2018               $16.00
DIANE SMITH              208 4TH ST. SW                                                               ADAMS               MN           55909                                  SUPPLIERS OR VENDORS       11/14/2018              $125.00
                                                                           1533 BURLINGTON
DIANE SOWDEN             STORE 690                  SHOPKO EMPLOYEE        STREET                     HOLDREGE            NE           68949                                  SUPPLIERS OR VENDORS       10/26/2018              $106.88
                                                                           1533 BURLINGTON
DIANE SOWDEN             STORE 690                  SHOPKO EMPLOYEE        STREET                     HOLDREGE            NE           68949                                  SUPPLIERS OR VENDORS        11/2/2018               $91.56
DIANE STUTZMAN           9809 E UPRIVER DR                                                            SPOKANE             WA           99206                                  SUPPLIERS OR VENDORS        11/1/2018               $14.13
DIANE SWENSON            25354 PLEASANT RD                                                            ST CLOUD            MN           56301                                  SUPPLIERS OR VENDORS       10/31/2018               $78.56
                                                                           2541 SOUTH BAY SHORE
DIANE VALEO-SEABRIGHT    STORE 2-616                SHOPKO EMPLOYEE        DRIVE                      SISTER BAY          WI           54234                                  SUPPLIERS OR VENDORS        11/2/2018              $137.34
                                                                           2541 SOUTH BAY SHORE
DIANE VALEO-SEABRIGHT    STORE 2-616                SHOPKO EMPLOYEE        DRIVE                      SISTER BAY          WI           54234                                  SUPPLIERS OR VENDORS        11/9/2018              $405.48
                                                                           2541 SOUTH BAY SHORE
DIANE VALEO-SEABRIGHT    STORE 2-616                SHOPKO EMPLOYEE        DRIVE                      SISTER BAY          WI           54234                                  SUPPLIERS OR VENDORS       11/30/2018              $503.58
                                                                           2541 SOUTH BAY SHORE
DIANE VALEO-SEABRIGHT    STORE 2-616                SHOPKO EMPLOYEE        DRIVE                      SISTER BAY          WI           54234                                  SUPPLIERS OR VENDORS       12/14/2018              $663.81



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                                                                                                                                                                                 Reasons for payment or    Dates of     Total Amount or
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                                                                             2541 SOUTH BAY SHORE
DIANE VALEO-SEABRIGHT    STORE 2-616                  SHOPKO EMPLOYEE        DRIVE                      SISTER BAY          WI           54234                                  SUPPLIERS OR VENDORS      12/29/2018             $748.83
                                                                             2541 SOUTH BAY SHORE
DIANE VALEO-SEABRIGHT    STORE 2-616                  SHOPKO EMPLOYEE        DRIVE                      SISTER BAY          WI           54234                                  SUPPLIERS OR VENDORS       1/15/2019             $511.56

DIANE VAN DYKE           1515 VANDENBROEK RD LOT 70                                                     LITTLE CHUTE        WI           54140                                  SUPPLIERS OR VENDORS      10/18/2018              $20.65
DIANE VANDEN BERG        STORE 4-042                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/25/2018              $43.60
DIANE VANDEN BERG        STORE 4-042                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/22/2018              $43.60
DIANE WAHL               643 CRESTVIEW DR                                                               SEYMOUR             WI           54165                                  SUPPLIERS OR VENDORS      11/14/2018              $25.00
DIANE WIDICK             15397 DODGE AVE                                                                CLEAR LAKE          IA           50428                                  SUPPLIERS OR VENDORS       12/3/2018              $12.00
DIANE WINKLER            STORE 2-012                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS      11/29/2018              $98.43
DIANE WINKLER            STORE 2-012                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS      12/13/2018              $67.58
DIANE WOLF               PO BOX 1012                                                                    STANTON             NE           68779                                  SUPPLIERS OR VENDORS      10/26/2018              $13.55
DIANE WOLF               PO BOX 1012                                                                    STANTON             NE           68779                                  SUPPLIERS OR VENDORS      11/29/2018               $8.10
DIANN BELL               7731 KLONDIKE DRIVE                                                            MARSHFIELD          WI           54459                                  SUPPLIERS OR VENDORS      10/23/2018              $25.00
DIANNA AGATONE           918 GLADSTONE ST                                                               MARINETTE           WI           54143                                  SUPPLIERS OR VENDORS       11/7/2018              $40.00
DIANNA SENSKA            40168 227TH ST                                                                 WOONSOCKET          SD           57385                                  SUPPLIERS OR VENDORS      10/25/2018              $43.02
DIANNE JAMISON           49270 S SUPERIOR RD                                                            ATLANTIC MINE       MI           49905                                  SUPPLIERS OR VENDORS      11/15/2018              $32.00
DIANNE MCCURDY           920 BRYDEN APT 114                                                             LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS       11/9/2018              $28.80
DIANNE RAY               11880 17TH AVE.                                                                CHIPPEWA FALLS      WI           54729                                  SUPPLIERS OR VENDORS      11/29/2018              $42.24
DIANNE REMBAO            809 14TH AVE SE                                                                AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS      10/31/2018             $373.37
DIANNE SANDWICK          318 EAST 8TH ST                                                                WABASHA             MN           55981                                  SUPPLIERS OR VENDORS      11/12/2018              $91.80
DIANNE SHJEGSTAD         4312 S PILLSBURY                                                               SIOUX FALLS         SD           57103                                  SUPPLIERS OR VENDORS      10/31/2018              $90.50
                         3411 WASHINGTON STREET
DIANTHA NEINFELDT        #303                                                                           WISCONSIN RAPIDS WI              54494                                  SUPPLIERS OR VENDORS      11/12/2018              $36.99
DICK ZWART               STORE 2-201                  SHOPKO EMPLOYEE        3402 MAIN STREET           EMMETSBURG       IA              50536                                  SUPPLIERS OR VENDORS      12/20/2018             $843.14
DICKINSON COUNTY
TREASURER                PO BOX 249                                                                     ABILENE             KS           67410-0249                             SUPPLIERS OR VENDORS      12/14/2018          $26,177.86
DIEBOLD INCORPORATED     PO BOX 643543                                                                  PITTSBURGH          PA           15264-3543                             SUPPLIERS OR VENDORS      11/15/2018           $6,242.78
DIETRICH DISTRIBUTING
COMPANY                  102 LAKEVIEW ROAD                                                              GERING              NE           69341                                  SUPPLIERS OR VENDORS      10/18/2018             $212.38
DIETRICH DISTRIBUTING
COMPANY                  102 LAKEVIEW ROAD                                                              GERING              NE           69341                                  SUPPLIERS OR VENDORS      11/15/2018             $169.09
DIETRICH DISTRIBUTING
COMPANY                  102 LAKEVIEW ROAD                                                              GERING              NE           69341                                  SUPPLIERS OR VENDORS      12/20/2018             $260.69
DIETRICH DISTRIBUTING
COMPANY                  102 LAKEVIEW ROAD                                                              GERING              NE           69341                                  SUPPLIERS OR VENDORS      12/21/2018              $34.50
DIGI INTERNATIONAL INC   11001 BREN ROAD EAST                                                           MINNETONKA          MN           55343                                  SUPPLIERS OR VENDORS      10/18/2018          $16,714.50

DIGI KEY 153883          PO BOX 250                                                                     THIEF FIVER FALLS MN             56701-0250                             SUPPLIERS OR VENDORS         1/4/2019            $206.19

DIGICOPY INCORPORATED    428 DIVISION STREET                                                            STEVENS POINT       WI           54481                                  SUPPLIERS OR VENDORS      11/29/2018              $17.25
DIGITAL PRODUCTS
INTERNATIONAL DPI        27033 NETWORK PLACE                                                            CHICAGO             IL           60673-1270                             SUPPLIERS OR VENDORS      10/24/2018         $384,125.83
DIGITAL PRODUCTS
INTERNATIONAL DPI        27033 NETWORK PLACE                                                            CHICAGO             IL           60673-1270                             SUPPLIERS OR VENDORS      10/26/2018          $70,481.00
DIGITAL PRODUCTS
INTERNATIONAL DPI        27033 NETWORK PLACE                                                            CHICAGO             IL           60673-1270                             SUPPLIERS OR VENDORS      10/31/2018            $6,382.42
DIGITAL PRODUCTS
INTERNATIONAL DPI        27033 NETWORK PLACE                                                            CHICAGO             IL           60673-1270                             SUPPLIERS OR VENDORS       11/1/2018              $52.00
DIGITAL PRODUCTS
INTERNATIONAL DPI        27033 NETWORK PLACE                                                            CHICAGO             IL           60673-1270                             SUPPLIERS OR VENDORS       11/8/2018          $16,964.80
DIGITAL PRODUCTS
INTERNATIONAL DPI        27033 NETWORK PLACE                                                            CHICAGO             IL           60673-1270                             SUPPLIERS OR VENDORS       11/9/2018         $102,028.46



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                                                                                                                                                                                  Reasons for payment or    Dates of    Total Amount or
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DIGITAL PRODUCTS
INTERNATIONAL DPI         27033 NETWORK PLACE                                                            CHICAGO             IL           60673-1270                             SUPPLIERS OR VENDORS      11/16/2018         $38,231.52
DIGITAL PRODUCTS
INTERNATIONAL DPI         27033 NETWORK PLACE                                                            CHICAGO             IL           60673-1270                             SUPPLIERS OR VENDORS      11/24/2018         $18,840.00
DIGITAL PRODUCTS
INTERNATIONAL DPI         27033 NETWORK PLACE                                                            CHICAGO             IL           60673-1270                             SUPPLIERS OR VENDORS      11/28/2018           $4,160.00
DIGITAL PRODUCTS
INTERNATIONAL DPI         27033 NETWORK PLACE                                                            CHICAGO             IL           60673-1270                             SUPPLIERS OR VENDORS      11/29/2018           $7,800.00
DIGITAL PRODUCTS
INTERNATIONAL DPI         27033 NETWORK PLACE                                                            CHICAGO             IL           60673-1270                             SUPPLIERS OR VENDORS       12/1/2018             $38.00
DIGITAL PRODUCTS
INTERNATIONAL DPI         27033 NETWORK PLACE                                                            CHICAGO             IL           60673-1270                             SUPPLIERS OR VENDORS       12/4/2018         $11,280.00
DILIP SEDANI              GEN MANAGEMENT               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/18/2018            $244.63
DILIP SEDANI              GEN MANAGEMENT               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/25/2018            $458.00
DILIP SEDANI              GEN MANAGEMENT               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/8/2018            $132.80
DILIP SEDANI              GEN MANAGEMENT               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/15/2018            $126.61
DILIP SEDANI              GEN MANAGEMENT               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/6/2018            $298.51
DILIP SEDANI              GEN MANAGEMENT               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/20/2018            $184.07
DINA MALMACEDA            5244 W 3830 S                                                                  SALT LAKE CITY      UT           84120                                  SUPPLIERS OR VENDORS      12/21/2018             $23.00
DIRK FERTIG               STORE 104                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/6/2018             $22.89
DITO LLC                  PO BOX 398452                                                                  SAN FRANCISCO       CA           94139-8452                             SUPPLIERS OR VENDORS      10/19/2018          $2,500.00

DIVA INTERNATIONAL INC    222 MCINTYRE DRIVE                                                             KITCHENER           ON           N2R 1E8      CANADA                    SUPPLIERS OR VENDORS      10/25/2018            $335.95

DIVA INTERNATIONAL INC    222 MCINTYRE DRIVE                                                             KITCHENER           ON           N2R 1E8      CANADA                    SUPPLIERS OR VENDORS       11/8/2018           $1,242.83

DIVA INTERNATIONAL INC    222 MCINTYRE DRIVE                                                             KITCHENER           ON           N2R 1E8      CANADA                    SUPPLIERS OR VENDORS      11/15/2018            $691.45
DIVERSIFIED SYSTEMS INC   7755 MOSSY CUP STREET                                                          BOISE               ID           83709                                  SUPPLIERS OR VENDORS       12/7/2018            $204.87
                          1101 ARROW POINT DRIVE STE
DIVERSYS LEARNING INC     302                                                                            CEDAR PARK          TX           78613                                  SUPPLIERS OR VENDORS       11/9/2018            $932.25
                          1101 ARROW POINT DRIVE STE
DIVERSYS LEARNING INC     302                                                                            CEDAR PARK          TX           78613                                  SUPPLIERS OR VENDORS      12/19/2018            $694.95
DIXIE LONG                1104 W 6TH ST                                                                  MERIDIAN            ID           83642                                  SUPPLIERS OR VENDORS      11/26/2018             $49.98
DIXIE MYKLEBUST           P O BOX 72                                                                     CRAIGMONT           ID           83523                                  SUPPLIERS OR VENDORS      10/25/2018             $42.00
DIXIE STILES              1033 E ST STREET                                                               MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS      10/29/2018             $12.01
DIXIE STILES              1033 E ST STREET                                                               MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS      10/29/2018             $35.99
DIXIE STILES              1033 E ST STREET                                                               MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS      11/12/2018             $12.00
DIXIE WAGENAAR            3514 ELM AVE.                                                                  RAPID CITY          SD           57701                                  SUPPLIERS OR VENDORS       12/5/2018             $54.40
DIXON TICONDEROGA
COMPANY                   POST OFFICE BOX 60684                                                          CHARLOTTE           NC           28260                                  SUPPLIERS OR VENDORS      10/18/2018         $10,119.43
DIXON TICONDEROGA
COMPANY                   POST OFFICE BOX 60684                                                          CHARLOTTE           NC           28260                                  SUPPLIERS OR VENDORS      10/25/2018           $5,245.36
DIXON TICONDEROGA
COMPANY                   POST OFFICE BOX 60684                                                          CHARLOTTE           NC           28260                                  SUPPLIERS OR VENDORS       11/1/2018           $6,792.00
DIXON TICONDEROGA
COMPANY                   POST OFFICE BOX 60684                                                          CHARLOTTE           NC           28260                                  SUPPLIERS OR VENDORS      11/15/2018           $9,777.31
DIXON TICONDEROGA
COMPANY                   POST OFFICE BOX 60684                                                          CHARLOTTE           NC           28260                                  SUPPLIERS OR VENDORS      11/22/2018           $2,068.72
DIXON TICONDEROGA
COMPANY                   POST OFFICE BOX 60684                                                          CHARLOTTE           NC           28260                                  SUPPLIERS OR VENDORS      11/29/2018            $807.92
DJ AND JULIE LONG         225 NICOLET PLACE                                                              DEPERE              WI           54115                                  SUPPLIERS OR VENDORS       11/9/2018            $599.00
DJM MARKETING LLC         3001 N PEACHTREE LANE                                                          APPLETON            WI           54911                                  SUPPLIERS OR VENDORS      11/15/2018            $200.00
DK LANDSCAPE
MANAGEMENT LLC            PO BOX 75                                                                      SHELBYVILLE         MI           49344                                  SUPPLIERS OR VENDORS       11/8/2018            $208.00



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      Creditor Name                  Address1                 Address2                  Address3                City               State       Zip              Country                    transfer          Payments            Value
DMF BAIT                  VICE PRESIDENT OF SALES      1130 SYLVERTIS ROAD                                WATERFORD           MI           48328-0000                             SUPPLIERS OR VENDORS        10/19/2018            $2,377.43
DMF BAIT                  VICE PRESIDENT OF SALES      1130 SYLVERTIS ROAD                                WATERFORD           MI           48328-0000                             SUPPLIERS OR VENDORS        10/26/2018            $2,149.34
DMF BAIT                  VICE PRESIDENT OF SALES      1130 SYLVERTIS ROAD                                WATERFORD           MI           48328-0000                             SUPPLIERS OR VENDORS         11/2/2018            $2,507.28
DMF BAIT                  VICE PRESIDENT OF SALES      1130 SYLVERTIS ROAD                                WATERFORD           MI           48328-0000                             SUPPLIERS OR VENDORS         11/9/2018            $1,457.50
DMF BAIT                  VICE PRESIDENT OF SALES      1130 SYLVERTIS ROAD                                WATERFORD           MI           48328-0000                             SUPPLIERS OR VENDORS        11/16/2018            $2,080.44
DMF BAIT                  VICE PRESIDENT OF SALES      1130 SYLVERTIS ROAD                                WATERFORD           MI           48328-0000                             SUPPLIERS OR VENDORS        11/30/2018            $1,537.95
DNA DIAGNOSTICS CENTER
(DDC)                     1 DDC WAY                                                                       FAIRFIELD           OH           45014                                  SUPPLIERS OR VENDORS       10/26/2018               $88.20
DNA DIAGNOSTICS CENTER
(DDC)                     1 DDC WAY                                                                       FAIRFIELD           OH           45014                                  SUPPLIERS OR VENDORS        11/2/2018              $182.28
DNA DIAGNOSTICS CENTER
(DDC)                     1 DDC WAY                                                                       FAIRFIELD           OH           45014                                  SUPPLIERS OR VENDORS        11/9/2018              $470.40
DNA DIAGNOSTICS CENTER
(DDC)                     1 DDC WAY                                                                       FAIRFIELD           OH           45014                                  SUPPLIERS OR VENDORS       11/16/2018                $8.80
DNA DIAGNOSTICS CENTER
(DDC)                     1 DDC WAY                                                                       FAIRFIELD           OH           45014                                  SUPPLIERS OR VENDORS       12/11/2018               $58.80
DOLAN MCCOMB              10410 ELLENHAM DRIVE                                                            SUMMERSET           SD           57718                                  SUPPLIERS OR VENDORS        12/7/2018               $25.00
DOLORES STEBER            853 E BELLVIEW ST            APT 105                                            WINONA              MN           55987                                  SUPPLIERS OR VENDORS       10/29/2018               $30.91
DOLORES VASKE             3075 TAMARACK                                                                   SLAYTON             MN           56172                                  SUPPLIERS OR VENDORS        12/7/2018               $28.30
                          SYSTEM MAINTENANCE/STORE
DOMENIC PROCIDA           101                          SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/16/2018               $65.81
DOMINIQUE WEBB            STORE 2-125                  SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/27/2018               $68.25
                          BURTON ENTERPRISES
DOMINOS PIZZA             INCORPORATED                 SUITE B                 224 SAND LAKE ROAD         ONALASKA            WI           54650                                  SUPPLIERS OR VENDORS       10/18/2018              $120.00
DON BRACK                 N4928 SINISSIPPI POINT RD                                                       JUNEAU              WI           53039                                  SUPPLIERS OR VENDORS       11/29/2018               $66.01
DON FISCHER               2406 24TH AVE NW                                                                ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS        12/7/2018               $48.64
DON FOSBENDER             9100 EAST 2ND                                                                   FIRTH               NE           68358                                  SUPPLIERS OR VENDORS        11/8/2018               $14.00
DON GERMAN                SYSTEMS MAINT/STORE 036      SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/25/2018              $187.94
DON HALTERMAN             749 MADISON ST.                                                                 STANLEY             WI           54768                                  SUPPLIERS OR VENDORS        11/5/2018               $42.24
DON LE                    2646 ROYAL OAK                                                                  FREEPORT            IL           61032                                  SUPPLIERS OR VENDORS       12/13/2018               $12.99
                          11300 W OLYMPIC BLVD SUITE
DON LEVIN TRUST           770                                                                             LOS ANGELES         CA           90064                                  SUPPLIERS OR VENDORS       11/15/2018          $107,700.00
                          11300 W OLYMPIC BLVD SUITE
DON LEVIN TRUST           770                                                                             LOS ANGELES         CA           90064                                  SUPPLIERS OR VENDORS       12/19/2018          $107,700.00
DON OLSON                 2342 24TH SW                                                                    MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS       11/26/2018               $12.00

DON REDICAN DISTRIBUTING
INCOPORATED              823 E Fargo Ave                                                                  Nampa               ID           83687                                  SUPPLIERS OR VENDORS       10/18/2018               $55.33

DON REDICAN DISTRIBUTING
INCOPORATED              823 E Fargo Ave                                                                  Nampa               ID           83687                                  SUPPLIERS OR VENDORS        11/8/2018              $120.91

DON REDICAN DISTRIBUTING
INCOPORATED              823 E Fargo Ave                                                                  Nampa               ID           83687                                  SUPPLIERS OR VENDORS       11/15/2018              $505.32

DON REDICAN DISTRIBUTING
INCOPORATED              823 E Fargo Ave                                                                  Nampa               ID           83687                                  SUPPLIERS OR VENDORS       11/22/2018               $67.20

DON REDICAN DISTRIBUTING
INCOPORATED              823 E Fargo Ave                                                                  Nampa               ID           83687                                  SUPPLIERS OR VENDORS       11/29/2018              $336.90

DON REDICAN DISTRIBUTING
INCOPORATED              823 E Fargo Ave                                                                  Nampa               ID           83687                                  SUPPLIERS OR VENDORS       12/20/2018              $627.96
DON SANDEY               907 COTEAU ST                                                                    GARY                SD           57237                                  SUPPLIERS OR VENDORS       10/31/2018               $55.20



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                                                                                                                                                                           Reasons for payment or    Dates of     Total Amount or
      Creditor Name              Address1            Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
DON SCHULTZ           512 W. CLIFTON AVE                                                         SIOUX CITY          IA           51104                                  SUPPLIERS OR VENDORS        10/22/2018                $3.25
DONA BAGOZZI          PO BOX 153                                                                 NIAGARA             WI           54151                                  SUPPLIERS OR VENDORS        11/30/2018                $9.76
DONALD ANDREW         48 N ST JOSEPH LANE                                                        FOND DU LAC         WI           54935                                  SUPPLIERS OR VENDORS        12/14/2018                $3.27
DONALD BECK           1142 LIME KILN ROAD                                                        GREEN BAY           WI           54302                                  SUPPLIERS OR VENDORS        12/10/2018               $10.00
DONALD BRUGGEMAN      1082 110TH ST                                                              LARCHWOOD           IA           51241                                  SUPPLIERS OR VENDORS        11/29/2018               $12.00
DONALD BRUGGEMAN      1082 110TH ST                                                              LARCHWOOD           IA           51241                                  SUPPLIERS OR VENDORS        11/29/2018               $48.00
DONALD BURISH         150 FRANCIS ST.                                                            KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS        11/16/2018               $19.00
DONALD COOPER         118 NIESEN DR                                                              SAUKVILLE           WI           53080                                  SUPPLIERS OR VENDORS        11/26/2018               $25.00
DONALD DANIEL         PO BOX 704                                                                 SHELTON             WA           98584                                  SUPPLIERS OR VENDORS        10/24/2018              $152.86
DONALD DANIEL         PO BOX 704                                                                 SHELTON             WA           98584                                  SUPPLIERS OR VENDORS        10/29/2018               $26.14
DONALD DEBOER         STORE 2-667              SHOPKO EMPLOYEE        1501 PARK STREET           SHELDON             IA           51201                                  SUPPLIERS OR VENDORS        11/15/2018               $73.58
DONALD EHLEY          W7365 BLACKHAWK CT.                                                        WAUTOMA             WI           54982                                  SUPPLIERS OR VENDORS        10/22/2018               $25.00
DONALD FANSLER        622 W LINCOLN                                                              WHITE HALL          IL           62092                                  SUPPLIERS OR VENDORS        12/20/2018               $45.00
DONALD FRANK          1411 SIOUX                                                                 LINCOLN             NE           68502                                  SUPPLIERS OR VENDORS         11/1/2018               $20.41
DONALD G HERMAN       20185 SNEAD DRIVE                                                          BURLINGTON          CO           80807                                  SUPPLIERS OR VENDORS        11/15/2018            $5,333.33
DONALD G HERMAN       20185 SNEAD DRIVE                                                          BURLINGTON          CO           80807                                  SUPPLIERS OR VENDORS        12/19/2018            $5,333.33
DONALD GILES          183 WOODLAND ESTATES                                                       GREAT FALLS         MT           59404                                  SUPPLIERS OR VENDORS        10/22/2018               $83.00
DONALD HOUGH          600 S EUCLID AVE                                                           SIOUX FALLS         SD           57104                                  SUPPLIERS OR VENDORS        12/21/2018               $48.00
DONALD J MARTIN FAM
LIMITED PARTNERSHIP   DONALD J MARTIN          145 W CHICAGO BLVD                                TECUMSEH            MI           49286                                  SUPPLIERS OR VENDORS       11/15/2018           $12,600.00
DONALD J MARTIN FAM
LIMITED PARTNERSHIP   DONALD J MARTIN          145 W CHICAGO BLVD                                TECUMSEH            MI           49286                                  SUPPLIERS OR VENDORS       12/19/2018           $12,600.00
DONALD JOHNSON        2657 PARKHILL DR.                                                          NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS       10/29/2018               $11.92
DONALD JOHNSON        2657 PARKHILL DR.                                                          NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS        11/5/2018               $53.08
DONALD JONES          240 S RIDGE ST                                                             WHITEWATER          WI           53190                                  SUPPLIERS OR VENDORS        11/6/2018               $22.02
DONALD KOCH           PO BOX 3151                                                                DEER PARK           WA           99006                                  SUPPLIERS OR VENDORS       12/20/2018              $100.00
DONALD MILLER         13081 RICE CREEK RD                                                        RAPID CITY          SD           57702                                  SUPPLIERS OR VENDORS       11/26/2018               $13.60
DONALD MILLER         13081 RICE CREEK RD                                                        RAPID CITY          SD           57702                                  SUPPLIERS OR VENDORS       11/26/2018               $54.40
DONALD NELLESSEN      396 HARRISON STREET #9                                                     FOND DU LAC         WI           54937                                  SUPPLIERS OR VENDORS       10/29/2018               $16.45
DONALD NEWBERRY       P O BOX 389                                                                DALLAS CITY         IL           62330                                  SUPPLIERS OR VENDORS       12/17/2018               $65.00
DONALD NIEDERHAUSER   2109 HAMPSHIRE STREET                                                      QUINCY              IL           62301                                  SUPPLIERS OR VENDORS       12/20/2018                $6.00
DONALD PERRON         408 EAST SAGOLA                                                            KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS       10/26/2018               $15.01
DONALD PETERSON       44 SOLBERG CT.                                                             KALISPELL           MT           59901                                  SUPPLIERS OR VENDORS       12/14/2018               $69.00
DONALD PLANK          STORE 128                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/1/2018              $324.32
DONALD PLANK          STORE 128                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/22/2018              $466.53
DONALD RAPP           3040 VALLEY ROAD                                                           FOREST CITY         IA           50436                                  SUPPLIERS OR VENDORS        11/5/2018               $48.00
DONALD REINCKE        24875 2ND STREET                                                           TREMPEALEAU         WI           54661                                  SUPPLIERS OR VENDORS       10/26/2018               $16.00
DONALD SANFILIPPO     STORE 2-773              SHOPKO EMPLOYEE        825 NE MAIN                LEWISTON            MT           59457                                  SUPPLIERS OR VENDORS        11/8/2018               $47.91
DONALD SANFILIPPO     STORE 2-773              SHOPKO EMPLOYEE        825 NE MAIN                LEWISTON            MT           59457                                  SUPPLIERS OR VENDORS       12/13/2018               $38.80
DONALD STEVENS        2622 NORTH 91ST                                                            LINCOLN             NE           68507                                  SUPPLIERS OR VENDORS        11/1/2018               $13.15
DONALD SUCKOW         107 LOWER RIVER RD                                                         FROMBERG            MT           59029                                  SUPPLIERS OR VENDORS       11/12/2018               $15.20
DONALD TEMPEL         6134 S MILL GROVE RD                                                       PEARL CITY          IL           61062                                  SUPPLIERS OR VENDORS       11/26/2018                $2.00
DONALD WILLIAMS       PO BOX 223               107 WALNUT ST                                     LYND                MN           56157                                  SUPPLIERS OR VENDORS       10/29/2018               $32.30
DONALD ZIEBELL        7673 PHARIES DR                                                            LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS        11/5/2018                $4.24
DONALD ZIEBELL        7673 PHARIES DR                                                            LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS       11/29/2018               $25.21
DONN BEHLING          7415 S CHASE RD                                                            SOBIESKI            WI           54171                                  SUPPLIERS OR VENDORS       11/15/2018               $15.00
DONNA ABTS            9115 GREEN ST                                                              WHITELAW            WI           54247                                  SUPPLIERS OR VENDORS       12/13/2018              $313.00
DONNA ALDRICH         1006 BELMONT ST                                                            ALBERT LEA          MN           56007                                  SUPPLIERS OR VENDORS       10/29/2018               $36.01
DONNA AREND           1806 HWY 169                                                               ALGONA              IA           50511                                  SUPPLIERS OR VENDORS        11/5/2018               $48.00
DONNA BURZOTA         2600 APPLEWOOD AVE                                                         FRUITLAND           ID           83619                                  SUPPLIERS OR VENDORS       11/12/2018               $61.20
DONNA CAPICHANO       REAL ESTATE              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/19/2018              $198.00
DONNA CAPICHANO       REAL ESTATE              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/26/2018            $1,026.43
DONNA CAPICHANO       REAL ESTATE              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/16/2018               $99.00
DONNA CAPICHANO       REAL ESTATE              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/30/2018              $106.82



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                                                                                                                                                                                  Reasons for payment or    Dates of    Total Amount or
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DONNA COLDWELL       3422 HORSESHOE SPRING RD.                                                           WAUSAU              WI           54403                                  SUPPLIERS OR VENDORS      11/26/2018             $25.00
DONNA COYLE          E8346 SHAW RD                                                                       NEW LONDON          WI           54961                                  SUPPLIERS OR VENDORS       11/7/2018             $25.00
DONNA DAVIES         1825 CARLYLE                                                                        BELOIT              WI           53511                                  SUPPLIERS OR VENDORS       11/9/2018            $163.00
DONNA DEKERF         1300 MICHIGAN AVE              #11                                                  IRON MOUNTAIN       MI           49801                                  SUPPLIERS OR VENDORS       11/5/2018             $39.04
DONNA DEKERF         1300 MICHIGAN AVE              #11                                                  IRON MOUNTAIN       MI           49801                                  SUPPLIERS OR VENDORS      11/26/2018              $9.76
DONNA DERMANN        6901 ANTLER DRIVE                                                                   LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS      10/24/2018             $36.14
DONNA ERICKSON       PO BOX 53                                                                           REVILLO             SD           57259                                  SUPPLIERS OR VENDORS      11/26/2018             $44.16
DONNA FARRER         5702 SMITHFIELD CIRCLE                                                              FITCHBURG           WI           53719                                  SUPPLIERS OR VENDORS      10/31/2018             $36.00

DONNA FENNEL         119 DELIER STREET                                                                   NORTH SIOUX CITY SD              57049                                  SUPPLIERS OR VENDORS      11/26/2018             $41.60

DONNA FENNEL         119 DELIER STREET                                                                   NORTH SIOUX CITY SD              57049                                  SUPPLIERS OR VENDORS      11/28/2018             $10.40
DONNA GROSSMANN      4168 SHADY LANE                                                                     FLORENCE         WI              54121                                  SUPPLIERS OR VENDORS      10/25/2018             $42.00

DONNA HANSEN         1193 CHURCH AVE                                                                     WISCONSIN RAPIDS    WI           54494                                  SUPPLIERS OR VENDORS      11/29/2018             $66.00
DONNA HASH           P.O. BOX 414                                                                        POTLATCH            ID           83855                                  SUPPLIERS OR VENDORS       12/5/2018             $51.20
DONNA HAYES          1742 N HELEN ST                                                                     APPLETON            WI           54911                                  SUPPLIERS OR VENDORS      12/18/2018             $49.92
DONNA KNUST          PO BOX 81                                                                           PETERSBURG          NE           68652                                  SUPPLIERS OR VENDORS       11/5/2018             $53.54
DONNA KOPISCHKE      53835 139TH ST                                                                      VERNON CENTER       MN           56090                                  SUPPLIERS OR VENDORS      10/24/2018            $125.00
DONNA KOSEL          618 W. 10TH ST.                                                                     MOBRIDGE            SD           57601                                  SUPPLIERS OR VENDORS       12/7/2018             $48.64
DONNA KREY           233 KEARSARGE ST                                                                    CALUMET             MI           49913                                  SUPPLIERS OR VENDORS       11/5/2018             $38.40
DONNA LEWIS          8137 TIMBER LANE                                                                    SAINT GERMAIN       WI           54558                                  SUPPLIERS OR VENDORS       11/5/2018             $10.00
DONNA LOSINSKI       317 EAST 2ND STREET                                                                 WABASHA             MN           55981                                  SUPPLIERS OR VENDORS      11/29/2018             $53.81
DONNA LOSINSKI       317 EAST 2ND STREET                                                                 WABASHA             MN           55981                                  SUPPLIERS OR VENDORS       12/3/2018             $37.99
DONNA M WIESE        2709 S GARFIELD AVENUE                                                              SIOUX FALLS         SD           57105                                  SUPPLIERS OR VENDORS      11/10/2018         $10,754.64
DONNA M WIESE        2709 S GARFIELD AVENUE                                                              SIOUX FALLS         SD           57105                                  SUPPLIERS OR VENDORS       12/8/2018         $10,754.64
DONNA M WIESE        2709 S GARFIELD AVENUE                                                              SIOUX FALLS         SD           57105                                  SUPPLIERS OR VENDORS      12/11/2018         $19,225.00
DONNA MALIN          STORE 032                      SHOPKO EMPLOYEE                                      GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/29/2018            $111.72
DONNA MCGUIRE        55 14TH ST                                                                          WHEATLAND           WY           82201                                  SUPPLIERS OR VENDORS      12/17/2018             $16.64
DONNA MORRIS         BOX 1008                                                                            DAWSON              MN           56232                                  SUPPLIERS OR VENDORS       12/7/2018             $24.84
DONNA MORRIS         BOX 1008                                                                            DAWSON              MN           56232                                  SUPPLIERS OR VENDORS       12/7/2018             $44.16
DONNA MURPHY         4505 S KENT                                                                         KENNEWICK           WA           99337                                  SUPPLIERS OR VENDORS      10/29/2018             $11.60
DONNA MURPHY         4505 S KENT                                                                         KENNEWICK           WA           99337                                  SUPPLIERS OR VENDORS      11/26/2018              $5.00
DONNA OLSON          2342 24TH ST S W                                                                    MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS      11/26/2018             $12.00
DONNA OLSON          1500 CATHERINE ST 313 D                                                             WALLA WALLA         WA           99362                                  SUPPLIERS OR VENDORS      11/29/2018             $54.40
DONNA RANKIN         308 SOUTHVIEW DR                                                                    SAINT PETER         MN           56081                                  SUPPLIERS OR VENDORS      10/31/2018             $13.24
DONNA RENKEN         427 10TH ST. W.                                                                     SIBLEY              IA           51249                                  SUPPLIERS OR VENDORS       11/7/2018              $8.20
DONNA RENKEN         427 10TH ST. W.                                                                     SIBLEY              IA           51249                                  SUPPLIERS OR VENDORS      11/16/2018             $28.29

DONNA RICHARDS       49950 N. LITTLE TRAVERSE RD.                                                        LAKE LINDEN         MI           49945                                  SUPPLIERS OR VENDORS      12/13/2018             $38.40
DONNA ROSENOW        3108 W SHADY LANE                                                                   NEENAH              WI           54956                                  SUPPLIERS OR VENDORS      10/24/2018             $44.16
DONNA ROSENOW        3108 W SHADY LANE                                                                   NEENAH              WI           54956                                  SUPPLIERS OR VENDORS      10/24/2018            $139.98
DONNA ROSENOW        3108 W SHADY LANE                                                                   NEENAH              WI           54956                                  SUPPLIERS OR VENDORS      10/31/2018             $12.32
DONNA ROSENOW        3108 W SHADY LANE                                                                   NEENAH              WI           54956                                  SUPPLIERS OR VENDORS      10/31/2018             $12.52
DONNA SPRINGSTROH    N3590 CTY RD E                                                                      APPLETON            WI           54915                                  SUPPLIERS OR VENDORS      10/31/2018              $2.06

DONNA STRATTON       8311 STATE HWY 13 SOUTH        #38                                                  WISCONSINRAPIDS     WI           54494                                  SUPPLIERS OR VENDORS      11/26/2018             $24.00
DONNA SULLIVAN       10919 COTTONWOOD LANE          #7                                                   OMAHA               NE           68164                                  SUPPLIERS OR VENDORS      10/26/2018             $39.00
DONNA SUTCLIFFE      16903 230TH ST                                                                      MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS      12/13/2018             $48.00
DONNA WAGNER         P O BOX 158                                                                         IPSWICH             SD           57451                                  SUPPLIERS OR VENDORS       11/1/2018             $46.72
DONNA WALL           N5019 TRAILS INN STREET                                                             BRUCE               WI           54819                                  SUPPLIERS OR VENDORS      10/22/2018             $12.98
DONNA WALL           N5019 TRAILS INN STREET                                                             BRUCE               WI           54819                                  SUPPLIERS OR VENDORS      10/24/2018             $43.02
DONNA WASHBURN       6228 BONA DEA BLVD                                                                  SALT LAKE CITY      UT           84128                                  SUPPLIERS OR VENDORS      11/12/2018              $3.00



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      Creditor Name              Address1              Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value

DONOVAN MC SLOY        105 COLUMBIA MEADOWS DR                                                     COLUMBIA FALLS      MT           59912                                  SUPPLIERS OR VENDORS       11/2/2018            $306.81
DONS EXCAVATING
INCORPORATED           12708 NE WAWASEE DRIVE                                                      SYRACUSE            IN           46567                                  SUPPLIERS OR VENDORS       11/1/2018             $60.00
DOOR COUNTY COFFEE &
TEA COMPANY            PO BOX 638                                                                  STURGEON BAY        WI           54235                                  SUPPLIERS OR VENDORS      10/18/2018           $6,347.57
DOOR COUNTY COFFEE &
TEA COMPANY            PO BOX 638                                                                  STURGEON BAY        WI           54235                                  SUPPLIERS OR VENDORS      10/25/2018         $33,099.89
DOOR COUNTY COFFEE &
TEA COMPANY            PO BOX 638                                                                  STURGEON BAY        WI           54235                                  SUPPLIERS OR VENDORS       11/1/2018         $40,467.55
DOOR COUNTY COFFEE &
TEA COMPANY            PO BOX 638                                                                  STURGEON BAY        WI           54235                                  SUPPLIERS OR VENDORS       11/8/2018         $15,018.59
DOOR COUNTY COFFEE &
TEA COMPANY            PO BOX 638                                                                  STURGEON BAY        WI           54235                                  SUPPLIERS OR VENDORS      11/15/2018         $14,383.12
DOOR COUNTY COFFEE &
TEA COMPANY            PO BOX 638                                                                  STURGEON BAY        WI           54235                                  SUPPLIERS OR VENDORS      11/22/2018         $10,918.48
DOOR COUNTY COFFEE &
TEA COMPANY            PO BOX 638                                                                  STURGEON BAY        WI           54235                                  SUPPLIERS OR VENDORS      11/29/2018         $46,717.68
DORA FLIEHE            927 E 3RD ST APT 20                                                         REDFIELD            SD           57469                                  SUPPLIERS OR VENDORS       11/5/2018             $48.64
DORA FLIEHE            927 E 3RD ST APT 20                                                         REDFIELD            SD           57469                                  SUPPLIERS OR VENDORS      11/13/2018             $12.16

DOREEN DEKARSKE        1410 FREMONT                                                                WISCONSINRAPIDS WI               54494                                  SUPPLIERS OR VENDORS      11/13/2018              $6.97
DOREEN FRAHM           STORE 605                 SHOPKO EMPLOYEE        340 S HIGHWAY 65           MORA            MN               55051                                  SUPPLIERS OR VENDORS      10/18/2018            $201.84
DOREL JUVENILE GROUP
INCORPORATED           2154 PAYSPHERE CIRCLE                                                       CHICAGO             IL           60674-0000                             SUPPLIERS OR VENDORS      10/19/2018           $2,408.56
DOREL JUVENILE GROUP
INCORPORATED           2154 PAYSPHERE CIRCLE                                                       CHICAGO             IL           60674-0000                             SUPPLIERS OR VENDORS      10/22/2018           $1,371.22
DOREL JUVENILE GROUP
INCORPORATED           2154 PAYSPHERE CIRCLE                                                       CHICAGO             IL           60674-0000                             SUPPLIERS OR VENDORS      10/23/2018           $4,694.02
DOREL JUVENILE GROUP
INCORPORATED           2154 PAYSPHERE CIRCLE                                                       CHICAGO             IL           60674-0000                             SUPPLIERS OR VENDORS      10/24/2018               $3.72
DOREL JUVENILE GROUP
INCORPORATED           2154 PAYSPHERE CIRCLE                                                       CHICAGO             IL           60674-0000                             SUPPLIERS OR VENDORS      10/24/2018           $3,080.10
DOREL JUVENILE GROUP
INCORPORATED           2154 PAYSPHERE CIRCLE                                                       CHICAGO             IL           60674-0000                             SUPPLIERS OR VENDORS      10/26/2018            $827.86
DOREL JUVENILE GROUP
INCORPORATED           2154 PAYSPHERE CIRCLE                                                       CHICAGO             IL           60674-0000                             SUPPLIERS OR VENDORS      10/27/2018         $18,920.77
DOREL JUVENILE GROUP
INCORPORATED           2154 PAYSPHERE CIRCLE                                                       CHICAGO             IL           60674-0000                             SUPPLIERS OR VENDORS      10/29/2018           $2,299.34
DOREL JUVENILE GROUP
INCORPORATED           2154 PAYSPHERE CIRCLE                                                       CHICAGO             IL           60674-0000                             SUPPLIERS OR VENDORS      10/30/2018         $24,396.07
DOREL JUVENILE GROUP
INCORPORATED           2154 PAYSPHERE CIRCLE                                                       CHICAGO             IL           60674-0000                             SUPPLIERS OR VENDORS      10/31/2018         $10,428.20
DOREL JUVENILE GROUP
INCORPORATED           2154 PAYSPHERE CIRCLE                                                       CHICAGO             IL           60674-0000                             SUPPLIERS OR VENDORS       11/1/2018            $714.78
DOREL JUVENILE GROUP
INCORPORATED           2154 PAYSPHERE CIRCLE                                                       CHICAGO             IL           60674-0000                             SUPPLIERS OR VENDORS       11/2/2018         $31,444.22
DOREL JUVENILE GROUP
INCORPORATED           2154 PAYSPHERE CIRCLE                                                       CHICAGO             IL           60674-0000                             SUPPLIERS OR VENDORS       11/3/2018           $6,642.81
DOREL JUVENILE GROUP
INCORPORATED           2154 PAYSPHERE CIRCLE                                                       CHICAGO             IL           60674-0000                             SUPPLIERS OR VENDORS       11/5/2018           $1,872.69
DOREL JUVENILE GROUP
INCORPORATED           2154 PAYSPHERE CIRCLE                                                       CHICAGO             IL           60674-0000                             SUPPLIERS OR VENDORS       11/6/2018            $372.36




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DOREL JUVENILE GROUP
INCORPORATED           2154 PAYSPHERE CIRCLE                                                     CHICAGO             IL           60674-0000                             SUPPLIERS OR VENDORS       11/6/2018         $42,111.00
DOREL JUVENILE GROUP
INCORPORATED           2154 PAYSPHERE CIRCLE                                                     CHICAGO             IL           60674-0000                             SUPPLIERS OR VENDORS       11/9/2018           $4,959.80
DOREL JUVENILE GROUP
INCORPORATED           2154 PAYSPHERE CIRCLE                                                     CHICAGO             IL           60674-0000                             SUPPLIERS OR VENDORS      11/12/2018           $6,438.59
DOREL JUVENILE GROUP
INCORPORATED           2154 PAYSPHERE CIRCLE                                                     CHICAGO             IL           60674-0000                             SUPPLIERS OR VENDORS      11/14/2018           $1,610.04
DOREL JUVENILE GROUP
INCORPORATED           2154 PAYSPHERE CIRCLE                                                     CHICAGO             IL           60674-0000                             SUPPLIERS OR VENDORS      11/16/2018            $931.48
DOREL JUVENILE GROUP
INCORPORATED           2154 PAYSPHERE CIRCLE                                                     CHICAGO             IL           60674-0000                             SUPPLIERS OR VENDORS      11/22/2018           $2,503.87
DOREL JUVENILE GROUP
INCORPORATED           2154 PAYSPHERE CIRCLE                                                     CHICAGO             IL           60674-0000                             SUPPLIERS OR VENDORS      11/24/2018            $363.72
DOREL JUVENILE GROUP
INCORPORATED           2154 PAYSPHERE CIRCLE                                                     CHICAGO             IL           60674-0000                             SUPPLIERS OR VENDORS      11/26/2018           $1,630.17
DOREL JUVENILE GROUP
INCORPORATED           2154 PAYSPHERE CIRCLE                                                     CHICAGO             IL           60674-0000                             SUPPLIERS OR VENDORS      11/27/2018            $850.09
DOREL JUVENILE GROUP
INCORPORATED           2154 PAYSPHERE CIRCLE                                                     CHICAGO             IL           60674-0000                             SUPPLIERS OR VENDORS      11/27/2018            $964.08
DOREL JUVENILE GROUP
INCORPORATED           2154 PAYSPHERE CIRCLE                                                     CHICAGO             IL           60674-0000                             SUPPLIERS OR VENDORS      11/30/2018             $14.58
DOREL JUVENILE GROUP
INCORPORATED           2154 PAYSPHERE CIRCLE                                                     CHICAGO             IL           60674-0000                             SUPPLIERS OR VENDORS      11/30/2018           $1,390.05
DOREL JUVENILE GROUP
INCORPORATED           2154 PAYSPHERE CIRCLE                                                     CHICAGO             IL           60674-0000                             SUPPLIERS OR VENDORS       12/1/2018            $840.61
DOREL JUVENILE GROUP
INCORPORATED           2154 PAYSPHERE CIRCLE                                                     CHICAGO             IL           60674-0000                             SUPPLIERS OR VENDORS       12/3/2018           $4,094.61
DOREL JUVENILE GROUP
INCORPORATED           2154 PAYSPHERE CIRCLE                                                     CHICAGO             IL           60674-0000                             SUPPLIERS OR VENDORS       12/4/2018            $369.76
DOREL JUVENILE GROUP
INCORPORATED           2154 PAYSPHERE CIRCLE                                                     CHICAGO             IL           60674-0000                             SUPPLIERS OR VENDORS       12/6/2018            $852.77
DOREL JUVENILE GROUP
INCORPORATED           2154 PAYSPHERE CIRCLE                                                     CHICAGO             IL           60674-0000                             SUPPLIERS OR VENDORS      12/11/2018           $5,954.99
DORETA SKINNER         1704 CHURCHILL AVE                                                        SIOUX FALLS         SD           57103                                  SUPPLIERS OR VENDORS      12/13/2018              $48.00
DORETTA MEYER          STORE 2-733             SHOPKO EMPLOYEE        226 E LINCOLN              FERGUS FALLS        MN           56538                                  SUPPLIERS OR VENDORS       11/1/2018              $76.30
DORETTA MEYER          STORE 2-733             SHOPKO EMPLOYEE        226 E LINCOLN              FERGUS FALLS        MN           56538                                  SUPPLIERS OR VENDORS       12/6/2018              $50.14
DORI SEVDE             7485 RIDGEVIEW DR                                                         DUBUQUE             IA           52003                                  SUPPLIERS OR VENDORS       12/5/2018              $30.00
DORIS KAHN             325 55TH ST NE                                                            ROCHESTER           MN           55906                                  SUPPLIERS OR VENDORS      10/24/2018              $43.24
DORIS PAULSEN          6805 SOUTH 14TH ST                                                        LINCOLN             NE           68512                                  SUPPLIERS OR VENDORS      12/10/2018              $11.98
DORIS RUDDELL          2341 13TH STREET                                                          CLARKSTON           WA           99403                                  SUPPLIERS OR VENDORS       12/7/2018              $51.20
DOROTHY BALFANZ        39695 FIRST STREET                                                        DUNDEE              MN           56131                                  SUPPLIERS OR VENDORS       12/3/2018              $28.30
DOROTHY BARRY          5303 JEAN ELLEN ST                                                        SCHOFIELD           WI           54476                                  SUPPLIERS OR VENDORS      11/26/2018              $61.98
DOROTHY BARRY          5303 JEAN ELLEN ST                                                        SCHOFIELD           WI           54476                                  SUPPLIERS OR VENDORS       12/3/2018              $31.98
DOROTHY COMBS MODELS                           12550 BISCAYNE
INCORPORATED           SUITE 608               BOULEVARD                                         NORTH MIAMI         FL           33181                                  SUPPLIERS OR VENDORS       11/8/2018           $2,456.73
DOROTHY FORRETTE       11603 458TH AVE                                                           SISSETON            SD           57262                                  SUPPLIERS OR VENDORS      11/26/2018              $11.04
DOROTHY GRIMM          STORE 4-066             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/8/2018             $125.00
DOROTHY HOBACK         PO BOX 698                                                                AVOCA               NE           68307                                  SUPPLIERS OR VENDORS      10/29/2018              $13.15
DOROTHY HOBACK         PO BOX 698                                                                AVOCA               NE           68307                                  SUPPLIERS OR VENDORS       11/5/2018              $60.85
DOROTHY KIRKPATRICK    820 JOSEPHINE ST                                                          CHAMBERLAIN         SD           57325                                  SUPPLIERS OR VENDORS      11/15/2018              $20.00
DOROTHY KOWALL         2916 DAILY DR                                                             MITCHELL            SD           57301                                  SUPPLIERS OR VENDORS      11/28/2018               $8.32
DOROTHY KOWALL         2916 DAILY DR                                                             MITCHELL            SD           57301                                  SUPPLIERS OR VENDORS       12/7/2018              $38.68
DOROTHY MAURER         PO BOX 171                                                                LAKE CRYSTAL        MN           56055                                  SUPPLIERS OR VENDORS      12/17/2018             $125.00



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DOROTHY SUESS           1156 S MAIN STREET                                                           MISHICOT            WI           54228                                  SUPPLIERS OR VENDORS        11/29/2018               $11.04

DOROTHY UITTENBOGAARD 4860 290TH STREET                                                              SHELDON             IA           51201                                  SUPPLIERS OR VENDORS        11/1/2018            $2,156.25

DOROTHY UITTENBOGAARD 4860 290TH STREET                                                              SHELDON             IA           51201                                  SUPPLIERS OR VENDORS        11/1/2018            $2,156.25

DOROTHY UITTENBOGAARD 4860 290TH STREET                                                              SHELDON             IA           51201                                  SUPPLIERS OR VENDORS        11/1/2018            $2,156.25

DOROTHY UITTENBOGAARD 4860 290TH STREET                                                              SHELDON             IA           51201                                  SUPPLIERS OR VENDORS        11/1/2018            $2,156.25

DOROTHY UITTENBOGAARD 4860 290TH STREET                                                              SHELDON             IA           51201                                  SUPPLIERS OR VENDORS        12/1/2018            $2,156.25

DOROTHY UITTENBOGAARD 4860 290TH STREET                                                              SHELDON             IA           51201                                  SUPPLIERS OR VENDORS        12/1/2018            $2,156.25

DOROTHY UITTENBOGAARD 4860 290TH STREET                                                              SHELDON             IA           51201                                  SUPPLIERS OR VENDORS        12/1/2018            $2,156.25

DOROTHY UITTENBOGAARD   4860 290TH STREET                                                            SHELDON             IA           51201                                  SUPPLIERS OR VENDORS        12/1/2018            $2,156.25
DOROTHY VOSHALL         3594 N CEDARBLOM          APT 202                                            CDA                 ID           83815                                  SUPPLIERS OR VENDORS        11/1/2018               $29.16
DOSKOCIL MFG CO DBA
PETMATE                 PO BOX 849863                                                                DALLAS              TX           75284-9863                             SUPPLIERS OR VENDORS       10/18/2018              $525.55
DOSKOCIL MFG CO DBA
PETMATE                 PO BOX 849863                                                                DALLAS              TX           75284-9863                             SUPPLIERS OR VENDORS       10/25/2018              $388.32
                                                  1406 BALTIMORE
DOUG DALINGHAUS         DOUG DALINGHAUS MOWING    STREET                                             SENECA              KS           66538                                  SUPPLIERS OR VENDORS       12/19/2018              $750.00
DOUG DONNELSON          10272 HUNTINGTON AVE                                                         OMAHA               NE           68122                                  SUPPLIERS OR VENDORS       11/12/2018              $153.00
DOUG FERREL             P.O. BOX 111                                                                 HALL                MT           59837                                  SUPPLIERS OR VENDORS       10/24/2018               $53.76
DOUG FERREL             P.O. BOX 111                                                                 HALL                MT           59837                                  SUPPLIERS OR VENDORS       10/29/2018               $13.44
DOUG HORECKA            509 ALBERT LEA                                                               ALBERT LEA          MN           56007                                  SUPPLIERS OR VENDORS       10/29/2018                $3.00
DOUG HORNER             878 SUNFLOWER ROAD        PO BOX 368                                         WAKEFIELD           KS           67487                                  SUPPLIERS OR VENDORS       10/29/2018              $300.00
DOUG HOWELL             STORE 141                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/14/2018              $443.48
DOUG PETTIGREW          12790 369TH AVE.                                                             WESTPORT            SD           57481                                  SUPPLIERS OR VENDORS       12/13/2018               $48.64
DOUG SZEMBORSKI         10732 CTY Y                                                                  MARSHFIELD          WI           54449                                  SUPPLIERS OR VENDORS        11/5/2018               $66.00
DOUG SZEMBORSKI         10732 CTY Y                                                                  MARSHFIELD          WI           54449                                  SUPPLIERS OR VENDORS        11/7/2018               $24.94
DOUGALS INGHAM          752 NW SONORA DR                                                             BEND                OR           97701                                  SUPPLIERS OR VENDORS       12/19/2018                $2.17

DOUGLAS AUGHEY          820 16TH ST S                                                                WISCONSIN RAPIDS WI              54494                                  SUPPLIERS OR VENDORS       11/12/2018              $114.16
DOUGLAS BAUNE           5215 140TH AVE                                                               WOOD LAKE        MN              56297                                  SUPPLIERS OR VENDORS        12/7/2018              $105.27
DOUGLAS COUNTY IL
HEALTH DEPT             1250 E US HWY 36                                                             TUSCOLA             IL           61953                                  SUPPLIERS OR VENDORS       10/31/2018               $50.00
DOUGLAS COUNTY
TREASURER               CIVIC CENTER SUITE H-03   PO BOX 2855                                        OMAHA               NE           68103                                  SUPPLIERS OR VENDORS        11/8/2018              $146.00
DOUGLAS H GRATWOHL      910 LONGHORN COURT                                                           HARDIN              MT           59034                                  SUPPLIERS OR VENDORS       10/19/2018            $7,016.79
DOUGLAS H GRATWOHL      910 LONGHORN COURT                                                           HARDIN              MT           59034                                  SUPPLIERS OR VENDORS        11/2/2018            $7,298.02
DOUGLAS H GRATWOHL      910 LONGHORN COURT                                                           HARDIN              MT           59034                                  SUPPLIERS OR VENDORS       11/16/2018            $9,435.65
DOUGLAS H GRATWOHL      910 LONGHORN COURT                                                           HARDIN              MT           59034                                  SUPPLIERS OR VENDORS       11/30/2018            $3,805.27
DOUGLAS H GRATWOHL      910 LONGHORN COURT                                                           HARDIN              MT           59034                                  SUPPLIERS OR VENDORS       12/14/2018            $7,577.99
DOUGLAS H GRATWOHL      910 LONGHORN COURT                                                           HARDIN              MT           59034                                  SUPPLIERS OR VENDORS       12/29/2018            $7,275.59
DOUGLAS H GRATWOHL      910 LONGHORN COURT                                                           HARDIN              MT           59034                                  SUPPLIERS OR VENDORS        1/11/2019            $7,356.52
DOUGLAS KNUDSON         1709 N HIGHLAND                                                              SIOUX FALLS         SD           57104                                  SUPPLIERS OR VENDORS        11/1/2018               $12.00
DOUGLAS LUOMA           700 JOSEPH STREET                                                            KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS       10/26/2018               $21.96
DOUGLAS ROBINSON        2130 GREEN ST                                                                RACINE              WI           53402                                  SUPPLIERS OR VENDORS       11/28/2018              $123.00
DOUGLAS SCHELL          1789 WILLIAMS DR                                                             STOUGHTON           WI           53589                                  SUPPLIERS OR VENDORS       12/21/2018               $25.00
DOUGLAS SCHMIDT, JR.    308 2ND ST NE             P O BOX 113                                        NORA SPRINGS        IA           50458                                  SUPPLIERS OR VENDORS       10/29/2018               $20.00
DOUGLAS SCHMITZ         46 E. 7TH ST.                                                                FOND DU LAC         WI           54935                                  SUPPLIERS OR VENDORS       10/19/2018               $25.00



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DOUGLAS SOMMER            INFORMATION SERVICES        SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS        12/14/2018               $35.79
DOUGLAS STELLICK          N4326 10TH AVE                                                                MONTELLO            WI           53949                                  SUPPLIERS OR VENDORS        11/12/2018               $30.00
DOVE CARLIN               62 MEADOWLARK RIDGE RD.                                                       KALISPELL           MT           59901                                  SUPPLIERS OR VENDORS        12/20/2018               $69.00
DOWNTOWN
MODERNIZATION INC         PO BOX 155                                                                    FALLS CITY          NE           68355-0155                             SUPPLIERS OR VENDORS        11/1/2018            $3,597.00
DOWNTOWN
MODERNIZATION INC         0                           PO BOX 155                                        FALLS CITY          NE           68355-0155                             SUPPLIERS OR VENDORS       11/13/2018                $1.00
DOWNTOWN
MODERNIZATION INC         PO BOX 155                                                                    FALLS CITY          NE           68355-0155                             SUPPLIERS OR VENDORS        12/1/2018            $3,597.00
DR BRONNERS               PO BOX 1958                                                                   VISTA               CA           92085                                  SUPPLIERS OR VENDORS        11/2/2018              $656.96
DR BRONNERS               PO BOX 1958                                                                   VISTA               CA           92085                                  SUPPLIERS OR VENDORS        11/9/2018              $600.11
DR BRONNERS               PO BOX 1958                                                                   VISTA               CA           92085                                  SUPPLIERS OR VENDORS       11/13/2018              $175.88
DR BRONNERS               PO BOX 1958                                                                   VISTA               CA           92085                                  SUPPLIERS OR VENDORS       11/23/2018            $1,626.37
DR BRONNERS               PO BOX 1958                                                                   VISTA               CA           92085                                  SUPPLIERS OR VENDORS       11/27/2018              $512.74
DR COMFORT DIV OF RIKCO                               10300 N ENTERPRISE
INTL                      VICE PRESIDENT OF SALES     DRIVE                                             MEQUON              WI           53092                                  SUPPLIERS OR VENDORS       10/18/2018            $1,453.84
DR COMFORT DIV OF RIKCO                               10300 N ENTERPRISE
INTL                      VICE PRESIDENT OF SALES     DRIVE                                             MEQUON              WI           53092                                  SUPPLIERS OR VENDORS       11/15/2018            $1,120.90
DR HAROLD KATZ LLC        5802 WILLOUGHBY AVENUE                                                        LOS ANGELES         CA           90038                                  SUPPLIERS OR VENDORS       10/25/2018              $933.97
DR HAROLD KATZ LLC        5802 WILLOUGHBY AVENUE                                                        LOS ANGELES         CA           90038                                  SUPPLIERS OR VENDORS        11/8/2018              $936.06
DR HAROLD KATZ LLC        5802 WILLOUGHBY AVENUE                                                        LOS ANGELES         CA           90038                                  SUPPLIERS OR VENDORS       11/22/2018            $1,372.86

DR REDDYS LABORATORIES
INCORPORATED              7731                        PO BOX 7247                                       PHILADELPHIA        PA           19170-7731                             SUPPLIERS OR VENDORS       10/18/2018           $12,494.56

DR REDDYS LABORATORIES
INCORPORATED              7731                        PO BOX 7247                                       PHILADELPHIA        PA           19170-7731                             SUPPLIERS OR VENDORS       11/15/2018           $19,678.53
DRAKE LEMM                BOX 56                                                                        LOLO                MT           59847                                  SUPPLIERS OR VENDORS       11/16/2018               $53.76
DREAM LOUNGE              CIT GROUP COMMERCIAL
INCORPORATED              SERVICES INC                PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       10/25/2018            $7,513.12
DREAM LOUNGE              CIT GROUP COMMERCIAL
INCORPORATED              SERVICES INC                PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS        11/8/2018           $20,755.35
DREAMGEAR LLC             20001 S WESTERN AVENUE                                                        TORRANCE            CA           90501-0000                             SUPPLIERS OR VENDORS       10/18/2018              $864.00
DREAMGEAR LLC             20001 S WESTERN AVENUE                                                        TORRANCE            CA           90501-0000                             SUPPLIERS OR VENDORS       10/25/2018              $936.00
DREAMGEAR LLC             20001 S WESTERN AVENUE                                                        TORRANCE            CA           90501-0000                             SUPPLIERS OR VENDORS        11/8/2018            $1,224.00
DREAMGEAR LLC             20001 S WESTERN AVENUE                                                        TORRANCE            CA           90501-0000                             SUPPLIERS OR VENDORS       11/15/2018            $1,116.00
DREAMGEAR LLC             20001 S WESTERN AVENUE                                                        TORRANCE            CA           90501-0000                             SUPPLIERS OR VENDORS       11/22/2018              $864.00
DREAMWEAR INC             183 MADISON AVE 10TH FLR                                                      NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS       10/18/2018           $30,508.00
DREAMWEAR INC             183 MADISON AVE 10TH FLR                                                      NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS       11/15/2018            $4,280.40
DREW BRADY COMPANY        6-1155 NORTH SERVICE ROAD
INCORPORATE               WEST                                                                          OAKVILLE            ON           L6M 3E3      CANADA                    SUPPLIERS OR VENDORS       10/25/2018                $1.00
DREW BRADY COMPANY        6-1155 NORTH SERVICE ROAD
INCORPORATED              WEST                                                                          OAKVILLE            ON           L6M 3E3      CANADA                    SUPPLIERS OR VENDORS        11/7/2018          $572,649.80
DREW BRADY COMPANY        6-1155 NORTH SERVICE ROAD
INCORPORATED              WEST                                                                          OAKVILLE            ON           L6M 3E3      CANADA                    SUPPLIERS OR VENDORS       11/13/2018            $7,436.62
DREW GRIEPENSTROH         990 WALNUT                  APT 102                                           SYRACUSE            NE           68446                                  SUPPLIERS OR VENDORS        12/7/2018               $30.00
DREW JOHNSON              2326 CRYSTAL AVE                                                              ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       11/29/2018               $48.64
DRIVE MEDICAL DESIGN &
MANUFACTURING             MEDICAL DEPOT               29427 NETWORK PLACE                               CHICAGO             IL           60673-1294                             SUPPLIERS OR VENDORS       10/18/2018            $8,512.69
DRIVE MEDICAL DESIGN &
MANUFACTURING             MEDICAL DEPOT               29427 NETWORK PLACE                               CHICAGO             IL           60673-1294                             SUPPLIERS OR VENDORS        11/1/2018           $12,291.36
DRIVE MEDICAL DESIGN &
MANUFACTURING             MEDICAL DEPOT               29427 NETWORK PLACE                               CHICAGO             IL           60673-1294                             SUPPLIERS OR VENDORS       11/15/2018            $9,673.98




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DRIVE MEDICAL DESIGN &
MANUFACTURING              MEDICAL DEPOT             29427 NETWORK PLACE                               CHICAGO             IL           60673-1294                             SUPPLIERS OR VENDORS      11/22/2018             $18.37
DRIVE MEDICAL DESIGN &
MANUFACTURING              MEDICAL DEPOT             29427 NETWORK PLACE                               CHICAGO             IL           60673-1294                             SUPPLIERS OR VENDORS      11/29/2018           $8,861.40

                     DISCOVERY REFUSE
DRM WASTE MANAGEMENT MANAGEMENT INCORPORATED PO BOX 659                                                FORKED RIVER        NJ           08731                                  SUPPLIERS OR VENDORS      10/26/2018        $118,524.60

                     DISCOVERY REFUSE
DRM WASTE MANAGEMENT MANAGEMENT INCORPORATED PO BOX 659                                                FORKED RIVER        NJ           08731                                  SUPPLIERS OR VENDORS       11/2/2018            $701.06

                      DISCOVERY REFUSE
DRM WASTE MANAGEMENT MANAGEMENT INCORPORATED PO BOX 659                                                FORKED RIVER        NJ           08731                                  SUPPLIERS OR VENDORS      11/27/2018        $108,263.00
DRUG PACKAGE                                 901 DRUG PACKAGE
INCORPORATED          0                      LANE                                                      OFALLON             MO           63366                                  SUPPLIERS OR VENDORS      11/24/2018               $1.00
DRUG PACKAGE
INCORPORATED ST LOUIS PO BOX 790044          DEPARTMENT 460                 PAM TO ORACLE              ST LOUIS            MO           63179-0044                             SUPPLIERS OR VENDORS      10/18/2018           $1,106.27
DRUG PACKAGE
INCORPORATED ST LOUIS PO BOX 790044          DEPARTMENT 460                 PAM TO ORACLE              ST LOUIS            MO           63179-0044                             SUPPLIERS OR VENDORS      10/25/2018             $57.89
DRUG PACKAGE
INCORPORATED ST LOUIS PO BOX 790044          DEPARTMENT 460                 PAM TO ORACLE              ST LOUIS            MO           63179-0044                             SUPPLIERS OR VENDORS       11/8/2018            $238.71
DRUG PACKAGE
INCORPORATED ST LOUIS PO BOX 790044          DEPARTMENT 460                 PAM TO ORACLE              ST LOUIS            MO           63179-0044                             SUPPLIERS OR VENDORS      11/30/2018           $1,133.64
DRUG PACKAGE
INCORPORATED ST LOUIS PO BOX 790044          DEPARTMENT 460                 PAM TO ORACLE              ST LOUIS            MO           63179-0044                             SUPPLIERS OR VENDORS      12/19/2018           $1,202.39
DRUG PACKAGE
INCORPORATED ST LOUIS PO BOX 790044          DEPARTMENT 460                 PAM TO ORACLE              ST LOUIS            MO           63179-0044                             SUPPLIERS OR VENDORS      12/20/2018            $227.24
DRUG PACKAGE
INCORPORATED ST LOUIS PO BOX 790044          DEPARTMENT 460                 PAM TO ORACLE              ST LOUIS            MO           63179-0044                             SUPPLIERS OR VENDORS      12/21/2018            $346.64
DRYLOCK TECHNOLOGIES                                                        1177 AVENUE OF THE
LTD                   LOCKBOX 154            C/O KBC BANK                   AMERICAS                   NEW YORK            NY           10036                                  SUPPLIERS OR VENDORS      10/19/2018         $20,959.43
DRYLOCK TECHNOLOGIES                                                        1177 AVENUE OF THE
LTD                   LOCKBOX 154            C/O KBC BANK                   AMERICAS                   NEW YORK            NY           10036                                  SUPPLIERS OR VENDORS       11/2/2018         $13,678.51
DRYLOCK TECHNOLOGIES                                                        1177 AVENUE OF THE
LTD                   LOCKBOX 154            C/O KBC BANK                   AMERICAS                   NEW YORK            NY           10036                                  SUPPLIERS OR VENDORS      11/16/2018           $7,629.60
DRYLOCK TECHNOLOGIES                                                        1177 AVENUE OF THE
LTD                   LOCKBOX 154            C/O KBC BANK                   AMERICAS                   NEW YORK            NY           10036                                  SUPPLIERS OR VENDORS      11/30/2018         $28,107.77
                                                                                                                                                                               PURCHASE OF
DSJ ACQUISITION INC PORT   125 CASTLE ROAD                                                             SECAUCUS            NJ           07094                                  MERCHANDISE               12/13/2018        $350,000.00
DSM NUTRITIONAL            3927 COLLECTIONS CENTER
PRODUCTS INC               DRIVE                                                                       CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      10/18/2018           $8,543.39
DSM NUTRITIONAL            3927 COLLECTIONS CENTER
PRODUCTS INC               DRIVE                                                                       CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      10/25/2018         $10,297.89
DSM NUTRITIONAL            3927 COLLECTIONS CENTER
PRODUCTS INC               DRIVE                                                                       CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       11/1/2018         $11,972.51
DSM NUTRITIONAL            3927 COLLECTIONS CENTER
PRODUCTS INC               DRIVE                                                                       CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       11/8/2018           $1,561.76
DSM NUTRITIONAL            3927 COLLECTIONS CENTER
PRODUCTS INC               DRIVE                                                                       CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      11/15/2018           $9,163.03
DSM NUTRITIONAL            3927 COLLECTIONS CENTER
PRODUCTS INC               DRIVE                                                                       CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      11/22/2018           $9,169.79
DSM NUTRITIONAL            3927 COLLECTIONS CENTER
PRODUCTS INC               DRIVE                                                                       CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      11/29/2018           $8,388.17
DUANE HEPPERLY             68 STONEY WAY                                                               MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS      12/10/2018              $12.00



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                                                                                                                                                                                Reasons for payment or    Dates of     Total Amount or
      Creditor Name                 Address1              Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
DUANE HEPPERLY            68 STONEY WAY                                                               MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS        12/13/2018               $89.18
DUANE IHDE                W2717 CENTER VALLEY RD                                                      KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS        12/18/2018                $7.88
DUANE KAUFMAN             213 E ADAM ST                                                               FALL CREEK          WI           54742                                  SUPPLIERS OR VENDORS        10/24/2018               $30.00
DUANE KNITTLE             909 N.CONESTOGA BLVD.                                                       YAKIMA              WA           98908                                  SUPPLIERS OR VENDORS         12/3/2018               $21.25
DUANE MAHNKE              17648 459TH AVE                                                             WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS        10/22/2018                $7.00
DUANE PORT                333 W DANE                                                                  LANARK              IL           61046                                  SUPPLIERS OR VENDORS        10/26/2018                $2.00
DUANE SCHMALTZ            STORE 2-689               SHOPKO EMPLOYEE        201 N FILLMORE             MOUNT AYER          IA           50854                                  SUPPLIERS OR VENDORS        11/22/2018            $6,798.34
DUANE SORENSEN            28688 CTY HWY S                                                             CORNELL             WI           54732                                  SUPPLIERS OR VENDORS        10/24/2018               $42.24
DUANE WOLFF               55898 OLD HIWAY 8                                                           NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS        10/22/2018               $13.38
DUANE WOLFF               55898 OLD HIWAY 8                                                           NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS         11/5/2018               $53.54
DUANE ZESSIN              PO BOX 942                                                                  MADISON             NE           68748                                  SUPPLIERS OR VENDORS        11/29/2018               $13.38
DUCAT TRUCKING
INCORPORATED              4415 COUNTY LINE ROAD                                                       LUXEMBURG           WI           54217                                  SUPPLIERS OR VENDORS        11/1/2018              $907.64
DUCAT TRUCKING
INCORPORATED              4415 COUNTY LINE ROAD                                                       LUXEMBURG           WI           54217                                  SUPPLIERS OR VENDORS        11/8/2018            $2,044.67
DUCAT TRUCKING
INCORPORATED              4415 COUNTY LINE ROAD                                                       LUXEMBURG           WI           54217                                  SUPPLIERS OR VENDORS       11/14/2018                $1.00
DUCAT TRUCKING
INCORPORATED              4415 COUNTY LINE ROAD                                                       LUXEMBURG           WI           54217                                  SUPPLIERS OR VENDORS       11/16/2018              $975.98
DUCAT TRUCKING
INCORPORATED              4415 COUNTY LINE ROAD                                                       LUXEMBURG           WI           54217                                  SUPPLIERS OR VENDORS       12/19/2018            $1,958.99
DUCERA PARTNERS LLC       499 PARK AVE, 16TH FL                                                       NEW YORK            NY           10022                                  CONSULTING                   1/9/2019          $200,000.00
DUERR MARGARET            9688 GEISLER RD.                                                            EDEN PRAIRIE        MN           55347                                  SUPPLIERS OR VENDORS       11/12/2018               $23.00
DUMONT COMPANY            700 COPELAND AVENUE                                                         LA CROSSE           WI           54603                                  SUPPLIERS OR VENDORS       10/18/2018              $348.66
DUMONT COMPANY            700 COPELAND AVENUE                                                         LA CROSSE           WI           54603                                  SUPPLIERS OR VENDORS       11/15/2018              $119.29
DUNN COMPANY A DIVISION
OF TYROLT INC             724 N MERCER STREET                                                         DECATUR             IL           62521                                  SUPPLIERS OR VENDORS       11/15/2018          $131,301.00
DUPONT CHEESE
INCORPORATED              VICE PRESIDENT OF SALES   E5983 MAVIS ROAD                                  MARION              WI           54950                                  SUPPLIERS OR VENDORS       10/18/2018              $120.00
DUPONT CHEESE
INCORPORATED              VICE PRESIDENT OF SALES   E5983 MAVIS ROAD                                  MARION              WI           54950                                  SUPPLIERS OR VENDORS       10/25/2018              $120.00
DUPONT CHEESE
INCORPORATED              VICE PRESIDENT OF SALES   E5983 MAVIS ROAD                                  MARION              WI           54950                                  SUPPLIERS OR VENDORS        11/1/2018              $120.00
DUPONT CHEESE
INCORPORATED              VICE PRESIDENT OF SALES   E5983 MAVIS ROAD                                  MARION              WI           54950                                  SUPPLIERS OR VENDORS        11/8/2018              $120.00
DUPONT CHEESE
INCORPORATED              VICE PRESIDENT OF SALES   E5983 MAVIS ROAD                                  MARION              WI           54950                                  SUPPLIERS OR VENDORS       11/15/2018              $120.00
DUPONT CHEESE
INCORPORATED              VICE PRESIDENT OF SALES   E5983 MAVIS ROAD                                  MARION              WI           54950                                  SUPPLIERS OR VENDORS       11/22/2018              $120.00
DUPONT CHEESE
INCORPORATED              VICE PRESIDENT OF SALES   E5983 MAVIS ROAD                                  MARION              WI           54950                                  SUPPLIERS OR VENDORS       11/29/2018              $120.00
DUPONT CHEESE
INCORPORATED              VICE PRESIDENT OF SALES   E5983 MAVIS ROAD                                  MARION              WI           54950                                  SUPPLIERS OR VENDORS       12/20/2018              $414.00
DUPONT CHEESE
INCORPORATED              VICE PRESIDENT OF SALES   E5983 MAVIS ROAD                                  MARION              WI           54950                                  SUPPLIERS OR VENDORS       12/21/2018               $60.00
DUPONT CHEESE
INCORPORATED              VICE PRESIDENT OF SALES   E5983 MAVIS ROAD                                  MARION              WI           54950                                  SUPPLIERS OR VENDORS       12/27/2018               $60.00
DURABLE PACKAGING
INTERNATIONAL             750 NORTHGATE PARKWAY     PAM TO ORACLE                                     WHEELING            IL           60090                                  SUPPLIERS OR VENDORS        11/1/2018           $10,147.84
DURABLE PACKAGING
INTERNATIONAL             750 NORTHGATE PARKWAY     PAM TO ORACLE                                     WHEELING            IL           60090                                  SUPPLIERS OR VENDORS        11/8/2018            $6,435.21
DURABLE PACKAGING
INTERNATIONAL             750 NORTHGATE PARKWAY     PAM TO ORACLE                                     WHEELING            IL           60090                                  SUPPLIERS OR VENDORS       11/22/2018           $11,713.29




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                                                                                                                                                                              Reasons for payment or    Dates of    Total Amount or
      Creditor Name                Address1              Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value

DUSTIN BEHLKE          W3679 LOWER HEBRON ROAD                                                       FORT ATKINSON       WI           53538                                  SUPPLIERS OR VENDORS       11/2/2018             $25.00
DUSTIN FRYE            106 N 4TH AVE                                                                 HADAR               NE           68738                                  SUPPLIERS OR VENDORS      11/29/2018             $55.00
DUSTIN HARRIS          STORE 019                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/9/2018            $199.47
DUSTIN HARRIS          STORE 019                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/30/2018            $145.69
DUSTIN HOOTON          1196 W 6600 N                                                                 SMITHFIELD          UT           84335                                  SUPPLIERS OR VENDORS      12/10/2018             $90.02
DUSTIN PARSONS         STORE 559                   SHOPKO EMPLOYEE        429 MICHIGAN AVE           OROFINO             ID           83544                                  SUPPLIERS OR VENDORS      12/11/2018            $198.44
DUSTIN PARSONS         STORE 559                   SHOPKO EMPLOYEE        429 MICHIGAN AVE           OROFINO             ID           83544                                  SUPPLIERS OR VENDORS      12/20/2018            $307.63
DUSTIN PARSONS         STORE 559                   SHOPKO EMPLOYEE        429 MICHIGAN AVE           OROFINO             ID           83544                                  SUPPLIERS OR VENDORS        1/5/2019            $112.27
DUSTIN WEBB            450 RIDGE RD                                                                  ORANGEVILLE         IL           61060                                  SUPPLIERS OR VENDORS      11/30/2018             $20.00
DWAINE NORDHUS         540 WALNUT DR                                                                 POSTVILLE           IA           52162                                  SUPPLIERS OR VENDORS      11/15/2018            $104.80
DWIGHT MEINTSMA        11518 VOSS AVE                                                                FULDA               MN           56131                                  SUPPLIERS OR VENDORS      11/29/2018              $7.08
DYLAN MUEHLBAUER       1805 N ONEIDA ST                                                              APPLETON            WI           54911                                  SUPPLIERS OR VENDORS       11/2/2018             $42.77
DYLLAN BARKER          STORE 053                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/18/2018            $167.86
DYLLAN BARKER          STORE 053                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/6/2018            $160.23
DYNASTY APPAREL        SALLYPORT COMMERCIAL        14100 SOUTHWEST
CORPORATION            FINANCE                     FREEWAY SUITE 210                                 SUGARLAND           TX           77478                                  SUPPLIERS OR VENDORS       11/8/2018               $1.00
DYNASTY APPAREL        SALLYPORT COMMERCIAL        14100 SOUTHWEST
CORPORATION            FINANCE                     FREEWAY SUITE 210                                 SUGARLAND           TX           77478                                  SUPPLIERS OR VENDORS      11/16/2018         $66,884.01
DYNASTY APPAREL        SALLYPORT COMMERCIAL        14100 SOUTHWEST
CORPORATION            FINANCE                     FREEWAY SUITE 210                                 SUGARLAND           TX           77478                                  SUPPLIERS OR VENDORS      11/17/2018         $61,741.43
DYNASTY APPAREL        SALLYPORT COMMERCIAL        14100 SOUTHWEST
CORPORATION            FINANCE                     FREEWAY SUITE 210                                 SUGARLAND           TX           77478                                  SUPPLIERS OR VENDORS      11/30/2018           $4,752.00
                                                   1571 WEST COPANS
DYNO MERCHANDISE       SUITE 105                   ROAD                                              POMPANO BEACH FL                 33064-0000                             SUPPLIERS OR VENDORS      10/18/2018         $19,771.01
                                                   1571 WEST COPANS
DYNO MERCHANDISE       SUITE 105                   ROAD                                              POMPANO BEACH FL                 33064-0000                             SUPPLIERS OR VENDORS      10/23/2018         $15,216.92
                                                   1571 WEST COPANS
DYNO MERCHANDISE       SUITE 105                   ROAD                                              POMPANO BEACH FL                 33064-0000                             SUPPLIERS OR VENDORS      10/30/2018         $25,311.36
                                                   1571 WEST COPANS
DYNO MERCHANDISE       SUITE 105                   ROAD                                              POMPANO BEACH FL                 33064-0000                             SUPPLIERS OR VENDORS       11/1/2018           $8,852.76
                                                   1571 WEST COPANS
DYNO MERCHANDISE       SUITE 105                   ROAD                                              POMPANO BEACH FL                 33064-0000                             SUPPLIERS OR VENDORS       11/1/2018         $39,527.22
                                                   1571 WEST COPANS
DYNO MERCHANDISE       SUITE 105                   ROAD                                              POMPANO BEACH FL                 33064-0000                             SUPPLIERS OR VENDORS       11/6/2018         $18,762.72
                                                   1571 WEST COPANS
DYNO MERCHANDISE       SUITE 105                   ROAD                                              POMPANO BEACH FL                 33064-0000                             SUPPLIERS OR VENDORS       11/8/2018           $4,164.99
                                                   1571 WEST COPANS
DYNO MERCHANDISE       SUITE 105                   ROAD                                              POMPANO BEACH FL                 33064-0000                             SUPPLIERS OR VENDORS      11/15/2018         $10,197.92
                                                   1571 WEST COPANS
DYNO MERCHANDISE       SUITE 105                   ROAD                                              POMPANO BEACH FL                 33064-0000                             SUPPLIERS OR VENDORS      11/22/2018           $7,849.53
                                                   1571 WEST COPANS
DYNO MERCHANDISE       SUITE 105                   ROAD                                              POMPANO BEACH FL                 33064-0000                             SUPPLIERS OR VENDORS      11/29/2018           $1,915.31

E & E CO LTD DBA JLA   45875 NORTHPORT LOOP EAST                                                     FREMONT             CA           94538                                  SUPPLIERS OR VENDORS      10/18/2018         $91,742.65

E & E CO LTD DBA JLA   45875 NORTHPORT LOOP EAST                                                     FREMONT             CA           94538                                  SUPPLIERS OR VENDORS      10/19/2018               $5.15

E & E CO LTD DBA JLA   45875 NORTHPORT LOOP EAST                                                     FREMONT             CA           94538                                  SUPPLIERS OR VENDORS      10/20/2018         $96,425.88

E & E CO LTD DBA JLA   45875 NORTHPORT LOOP EAST                                                     FREMONT             CA           94538                                  SUPPLIERS OR VENDORS      10/23/2018             $99.38

E & E CO LTD DBA JLA   45875 NORTHPORT LOOP EAST                                                     FREMONT             CA           94538                                  SUPPLIERS OR VENDORS      10/26/2018        $603,748.99




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                                                                                                                                                                              Reasons for payment or    Dates of    Total Amount or
      Creditor Name                Address1              Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value

E & E CO LTD DBA JLA      45875 NORTHPORT LOOP EAST                                                  FREMONT             CA           94538                                  SUPPLIERS OR VENDORS      10/27/2018         $92,515.64

E & E CO LTD DBA JLA      45875 NORTHPORT LOOP EAST                                                  FREMONT             CA           94538                                  SUPPLIERS OR VENDORS      10/30/2018         $55,565.52

E & E CO LTD DBA JLA      45875 NORTHPORT LOOP EAST                                                  FREMONT             CA           94538                                  SUPPLIERS OR VENDORS      10/31/2018             $95.88

E & E CO LTD DBA JLA      45875 NORTHPORT LOOP EAST                                                  FREMONT             CA           94538                                  SUPPLIERS OR VENDORS       11/6/2018         $12,698.95

E & E CO LTD DBA JLA      45875 NORTHPORT LOOP EAST                                                  FREMONT             CA           94538                                  SUPPLIERS OR VENDORS       11/8/2018        $437,223.19

E & E CO LTD DBA JLA      45875 NORTHPORT LOOP EAST                                                  FREMONT             CA           94538                                  SUPPLIERS OR VENDORS       11/9/2018         $69,244.15

E & E CO LTD DBA JLA      45875 NORTHPORT LOOP EAST                                                  FREMONT             CA           94538                                  SUPPLIERS OR VENDORS      11/14/2018        $138,400.39

E & E CO LTD DBA JLA      45875 NORTHPORT LOOP EAST                                                  FREMONT             CA           94538                                  SUPPLIERS OR VENDORS      11/17/2018             $31.14

E & E CO LTD DBA JLA      45875 NORTHPORT LOOP EAST                                                  FREMONT             CA           94538                                  SUPPLIERS OR VENDORS      11/24/2018        $137,278.10

E & E CO LTD DBA JLA      45875 NORTHPORT LOOP EAST                                                  FREMONT             CA           94538                                  SUPPLIERS OR VENDORS      11/27/2018            $122.98

E & E CO LTD DBA JLA      45875 NORTHPORT LOOP EAST                                                  FREMONT             CA           94538                                  SUPPLIERS OR VENDORS      11/28/2018            $466.21

E & E CO LTD DBA JLA      45875 NORTHPORT LOOP EAST                                                  FREMONT             CA           94538                                  SUPPLIERS OR VENDORS      11/29/2018           $8,328.88

E & E CO LTD DBA JLA      45875 NORTHPORT LOOP EAST                                                  FREMONT             CA           94538                                  SUPPLIERS OR VENDORS      11/29/2018        $127,271.14

E & E CO LTD DBA JLA      45875 NORTHPORT LOOP EAST                                                  FREMONT             CA           94538                                  SUPPLIERS OR VENDORS       12/1/2018            $106.72

E & E CO LTD DBA JLA      45875 NORTHPORT LOOP EAST                                                  FREMONT             CA           94538                                  SUPPLIERS OR VENDORS       12/4/2018             $48.45

E & E CO LTD DBA JLA      45875 NORTHPORT LOOP EAST                                                  FREMONT             CA           94538                                  SUPPLIERS OR VENDORS       12/5/2018         $17,110.98

E & E CO LTD DBA JLA      45875 NORTHPORT LOOP EAST                                                  FREMONT             CA           94538                                  SUPPLIERS OR VENDORS       12/6/2018           $2,959.53

E & E CO LTD DBA JLA      45875 NORTHPORT LOOP EAST                                                  FREMONT             CA           94538                                  SUPPLIERS OR VENDORS      12/14/2018        $132,930.78

E & E CO LTD DBA JLA      45875 NORTHPORT LOOP EAST                                                  FREMONT             CA           94538                                  SUPPLIERS OR VENDORS      12/14/2018        $293,091.63

E & E CO LTD DBA JLA      45875 NORTHPORT LOOP EAST                                                  FREMONT             CA           94538                                  SUPPLIERS OR VENDORS      12/19/2018        $165,884.08

E & E CO LTD DBA JLA      45875 NORTHPORT LOOP EAST                                                  FREMONT             CA           94538                                  SUPPLIERS OR VENDORS      12/20/2018           $5,312.74

E & E CO LTD DBA JLA      45875 NORTHPORT LOOP EAST                                                  FREMONT             CA           94538                                  SUPPLIERS OR VENDORS      12/22/2018         $43,414.38

E & E CO LTD DBA JLA      45875 NORTHPORT LOOP EAST                                                  FREMONT             CA           94538                                  SUPPLIERS OR VENDORS      12/28/2018         $20,031.16
E & S SECURITY LLC        1401 N RYNDERS STREET                                                      APPLETON            WI           54914                                  SUPPLIERS OR VENDORS      11/29/2018          $3,200.00
E & S SECURITY LLC        1401 N RYNDERS STREET                                                      APPLETON            WI           54914                                  SUPPLIERS OR VENDORS       12/4/2018              $1.00
E & S SECURITY LLC        1401 N RYNDERS STREET                                                      APPLETON            WI           54914                                  SUPPLIERS OR VENDORS       12/7/2018          $2,250.00
E & S SECURITY LLC        1401 N RYNDERS STREET                                                      APPLETON            WI           54914                                  SUPPLIERS OR VENDORS      12/19/2018          $2,250.00
E & S SECURITY LLC        1401 N RYNDERS STREET                                                      APPLETON            WI           54914                                  SUPPLIERS OR VENDORS      12/21/2018          $3,500.00
                                                                                                                                                                             PURCHASE OF
E E CO LTD BDA JLA HOME   45875 NORTHPORT LOOP EAST                                                  FREMONT             CA           94538                                  MERCHANDISE               12/17/2018        $403,465.15




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                                                                                                                                                                             Reasons for payment or    Dates of    Total Amount or
       Creditor Name             Address1               Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
E MISHAN & SONS
INCORPORATED           230 5TH AVENUE SUITE 800                                                     NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      10/18/2018           $1,758.00
E MISHAN & SONS
INCORPORATED           230 5TH AVENUE SUITE 800                                                     NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      10/25/2018           $2,148.00
E MISHAN & SONS
INCORPORATED           230 5TH AVENUE SUITE 800                                                     NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS       11/1/2018           $8,928.00
E MISHAN & SONS
INCORPORATED           230 5TH AVENUE SUITE 800                                                     NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS       11/8/2018           $2,406.84
E MISHAN & SONS
INCORPORATED           230 5TH AVENUE SUITE 800                                                     NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      11/15/2018         $11,502.00
E MISHAN & SONS
INCORPORATED           230 5TH AVENUE SUITE 800                                                     NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      11/22/2018           $3,492.00
E MISHAN & SONS
INCORPORATED           230 5TH AVENUE SUITE 800                                                     NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      11/29/2018           $2,336.81
E S ORIGINALS
INCORPORATED           VICE PRESIDENT OF SALES    440 9TH AVE 6TH FLOOR                             NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      10/20/2018        $218,122.75
E S ORIGINALS
INCORPORATED           VICE PRESIDENT OF SALES    440 9TH AVE 6TH FLOOR                             NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      10/25/2018           $5,246.00
E S ORIGINALS
INCORPORATED           VICE PRESIDENT OF SALES    440 9TH AVE 6TH FLOOR                             NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      10/26/2018           $1,188.00
E S ORIGINALS
INCORPORATED           VICE PRESIDENT OF SALES    440 9TH AVE 6TH FLOOR                             NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      10/31/2018           $2,244.00
E S ORIGINALS
INCORPORATED           VICE PRESIDENT OF SALES    440 9TH AVE 6TH FLOOR                             NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS       11/3/2018            $498.00
E S ORIGINALS
INCORPORATED           VICE PRESIDENT OF SALES    440 9TH AVE 6TH FLOOR                             NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS       11/6/2018         $41,472.00
E S ORIGINALS
INCORPORATED           VICE PRESIDENT OF SALES    440 9TH AVE 6TH FLOOR                             NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS       11/7/2018         $45,339.84
E S ORIGINALS
INCORPORATED           VICE PRESIDENT OF SALES    440 9TH AVE 6TH FLOOR                             NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS       11/9/2018        $120,254.56
E S ORIGINALS
INCORPORATED           VICE PRESIDENT OF SALES    440 9TH AVE 6TH FLOOR                             NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      11/14/2018            $752.00
E S ORIGINALS
INCORPORATED           VICE PRESIDENT OF SALES    440 9TH AVE 6TH FLOOR                             NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      11/15/2018            $442.00
E S ORIGINALS
INCORPORATED           VICE PRESIDENT OF SALES    440 9TH AVE 6TH FLOOR                             NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      11/17/2018           $3,190.83
E S ORIGINALS
INCORPORATED           VICE PRESIDENT OF SALES    440 9TH AVE 6TH FLOOR                             NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      11/28/2018            $500.16
E S ORIGINALS
INCORPORATED           VICE PRESIDENT OF SALES    440 9TH AVE 6TH FLOOR                             NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      11/29/2018           $4,608.00
E S ORIGINALS
INCORPORATED           VICE PRESIDENT OF SALES    440 9TH AVE 6TH FLOOR                             NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS       12/1/2018         $52,550.58
E S ORIGINALS
INCORPORATED           VICE PRESIDENT OF SALES    440 9TH AVE 6TH FLOOR                             NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS       12/5/2018         $25,029.06
E S ORIGINALS
INCORPORATED           VICE PRESIDENT OF SALES    440 9TH AVE 6TH FLOOR                             NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS       12/6/2018           $3,596.00

E T BROWNE DRUG
COMPANY INCORPORATED   PO BOX 416131                                                                BOSTON              MA           02241-6131                             SUPPLIERS OR VENDORS      10/18/2018           $1,415.70

E T BROWNE DRUG
COMPANY INCORPORATED   PO BOX 416131                                                                BOSTON              MA           02241-6131                             SUPPLIERS OR VENDORS      10/25/2018           $1,867.49




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                                                                                                                                                                                 Reasons for payment or    Dates of     Total Amount or
      Creditor Name                 Address1                Address2                  Address3                 City              State       Zip              Country                   transfer          Payments            Value

E T BROWNE DRUG
COMPANY INCORPORATED      PO BOX 416131                                                                 BOSTON              MA           02241-6131                             SUPPLIERS OR VENDORS      11/15/2018            $1,592.52

E T BROWNE DRUG
COMPANY INCORPORATED      PO BOX 416131                                                                 BOSTON              MA           02241-6131                             SUPPLIERS OR VENDORS      11/22/2018            $1,471.18

E T BROWNE DRUG
COMPANY INCORPORATED      PO BOX 416131                                                                 BOSTON              MA           02241-6131                             SUPPLIERS OR VENDORS      11/29/2018             $788.80
E Z PACK                  6545 WIEHE ROAD                                                               CINCINNATI          OH           45237                                  SUPPLIERS OR VENDORS      10/18/2018             $262.24
E Z PACK                  6545 WIEHE ROAD                                                               CINCINNATI          OH           45237                                  SUPPLIERS OR VENDORS       11/8/2018             $445.81
E Z PACK                  6545 WIEHE ROAD                                                               CINCINNATI          OH           45237                                  SUPPLIERS OR VENDORS      11/29/2018             $603.15
                                                     4020 KINROSS LAKES
EAGLE FAMILY FOODS        VICE PRESIDENT OF SALES    PARKWAY                                            RICHFIELD           OH           44286                                  SUPPLIERS OR VENDORS       11/6/2018          $10,840.40
                                                     4020 KINROSS LAKES
EAGLE FAMILY FOODS        VICE PRESIDENT OF SALES    PARKWAY                                            RICHFIELD           OH           44286                                  SUPPLIERS OR VENDORS      11/23/2018            $6,516.36
EAGLE GRAPHICS LLC        1200 PROSPECT LANE                                                            KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS       11/1/2018            $5,173.49
EAGLE GRAPHICS LLC        1200 PROSPECT LANE                                                            KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS       11/8/2018            $3,298.83
EAGLE GRAPHICS LLC        1200 PROSPECT LANE                                                            KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS      11/29/2018              $352.44
EAGLE LANDSCAPE           MARK BIDAURRETE            7036 RIVER DRIVE                                   REDDING             CA           96001                                  SUPPLIERS OR VENDORS      10/19/2018            $1,850.00
EAGLE LANDSCAPE           MARK BIDAURRETE            7036 RIVER DRIVE                                   REDDING             CA           96001                                  SUPPLIERS OR VENDORS      11/30/2018              $350.00
EARL FRANK                12946 313TH AVE.                                                              JAVA                SD           57452                                  SUPPLIERS OR VENDORS      11/26/2018               $30.77
EARL HATFIELD             4230 SOUTHGATE BLVD.                                                          LINCOLN             NE           68506                                  SUPPLIERS OR VENDORS      12/17/2018               $11.98
EARL MCKINSTRY            6964 EMERALD HIEGHTS RD                                                       SUMMERSET           SD           57718                                  SUPPLIERS OR VENDORS       11/1/2018               $13.60
EARL MELLICK              407 E BRAASCH                                                                 NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS       11/5/2018               $53.12
EARL MELLICK              407 E BRAASCH                                                                 NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS      11/26/2018               $13.80
EARL NIENHAUS             P.O. BOX 77                                                                   GREENLEAF           WI           54126                                  SUPPLIERS OR VENDORS      11/12/2018               $95.97
EARL SCHMUHL              655 WEST WEN STREET                                                           BRANDON             WI           53919                                  SUPPLIERS OR VENDORS      10/31/2018               $34.55
EARSIE GREEN              2430 PARKER PLACE                                                             MADISON             WI           53713                                  SUPPLIERS OR VENDORS      10/29/2018               $25.00

EAST DAKOTA PROPERTIES    704 S 129TH AVENUE                                                            OMAHA               NE           68154                                  SUPPLIERS OR VENDORS      11/15/2018            $4,416.67

EAST DAKOTA PROPERTIES    704 S 129TH AVENUE                                                            OMAHA               NE           68154                                  SUPPLIERS OR VENDORS      12/19/2018           $4,416.67
EAST MED LLC              1399 ARDEN OAKS DRIVE                                                         ARDEN HILLS         MN           55112-6964                             SUPPLIERS OR VENDORS       11/1/2018          $30,273.67
EAST MED LLC              1399 ARDEN OAKS DRIVE                                                         ARDEN HILLS         MN           55112-6964                             SUPPLIERS OR VENDORS       12/1/2018          $30,273.67

EAST MED LLC              17 WASHINGTON AVE                                                             MINNEAPOLIS         MN           55401                                  LANDLORD RENT PAYMENT        1/7/2019         $30,273.67
EAST WEST MARKETING       575 EIGHTH AVENUE SUITE
GROUP                     2114                                                                          NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      10/19/2018            $1,010.60
EAST WEST MARKETING                                  575 EIGHTH AVENUE
GROUP                     0                          SUITE 2114                                         NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS       12/6/2018                $1.00
EASTER UNLIMITED
INCORPORATED              80 VOICE ROAD                                                                 CARLE PLACE         NY           11514                                  SUPPLIERS OR VENDORS      11/15/2018         $355,911.35
EASTER UNLIMITED
INCORPORATED              80 VOICE ROAD                                                                 CARLE PLACE         NY           11514                                  SUPPLIERS OR VENDORS      11/22/2018          $36,949.26
EASTERN IDAHO PUBLIC
HEALTH DISTRICT           1250 HOLLIPARK DRIVE                                                          IDAHO FALLS         ID           83401                                  SUPPLIERS OR VENDORS      11/13/2018             $250.00
EASTGATE RENTAL & PARTY
CENTER INC                500 E SPRUCE SUITE C                                                          MISSOULA            MT           59802                                  SUPPLIERS OR VENDORS        1/4/2019             $150.00
EASTSTAR SOLUTIONS LTD    4230 N OAKLAND AVE # 290                                                      MILWAUKEE           WI           53211-2042                             SUPPLIERS OR VENDORS      11/29/2018              $14.00
ECHO BRIDGE HOME
ENTERTAINMENT             PLATINUM DISC LLC          24232 NETWORK PLACE                                CHICAGO             IL           60673-1242                             SUPPLIERS OR VENDORS      10/18/2018            $4,183.22
ECHO BRIDGE HOME
ENTERTAINMENT             PLATINUM DISC LLC          24232 NETWORK PLACE                                CHICAGO             IL           60673-1242                             SUPPLIERS OR VENDORS      10/25/2018            $3,866.81



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                                                                                                                                                                             Reasons for payment or    Dates of    Total Amount or
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ECHO BRIDGE HOME
ENTERTAINMENT           PLATINUM DISC LLC         24232 NETWORK PLACE                               CHICAGO             IL           60673-1242                             SUPPLIERS OR VENDORS       11/1/2018           $5,737.50
ECHO BRIDGE HOME
ENTERTAINMENT           PLATINUM DISC LLC         24232 NETWORK PLACE                               CHICAGO             IL           60673-1242                             SUPPLIERS OR VENDORS       11/8/2018           $4,880.17
ECHO BRIDGE HOME
ENTERTAINMENT           PLATINUM DISC LLC         24232 NETWORK PLACE                               CHICAGO             IL           60673-1242                             SUPPLIERS OR VENDORS      11/15/2018           $4,515.02
ECHO BRIDGE HOME
ENTERTAINMENT           PLATINUM DISC LLC         24232 NETWORK PLACE                               CHICAGO             IL           60673-1242                             SUPPLIERS OR VENDORS      11/27/2018           $4,172.75
ECHO BRIDGE HOME
ENTERTAINMENT           PLATINUM DISC LLC         24232 NETWORK PLACE                               CHICAGO             IL           60673-1242                             SUPPLIERS OR VENDORS      11/29/2018           $2,771.83
ECHO BRIDGE HOME
ENTERTAINMENT           PLATINUM DISC LLC         24232 NETWORK PLACE                               CHICAGO             IL           60673-1242                             SUPPLIERS OR VENDORS       12/6/2018           $5,579.54
ECONO FOODS             PO BOX 1107                                                                 IRON MOUNTAIN       MI           49801                                  SUPPLIERS OR VENDORS      10/19/2018              $11.90
ECONO FOODS             PO BOX 1107                                                                 IRON MOUNTAIN       MI           49801                                  SUPPLIERS OR VENDORS      11/27/2018             $157.27

ECONO FOODS HOUGHTON    1000 W SHARON                                                               HOUGHTON            MI           49931                                  SUPPLIERS OR VENDORS      11/13/2018             $53.51

ECONO FOODS MARQUETTE   PO BOX 939                                                                  MARQUETTE           MI           49855                                  SUPPLIERS OR VENDORS      11/29/2018              $71.15
ECONOCO CORPORATION     300 KARIN LANE                                                              HICKSVILLE          NY           11801                                  SUPPLIERS OR VENDORS      11/27/2018             $141.00
ECONOMY PROPANE LLC     902 N 14TH STREET                                                           OAKES               ND           58474                                  SUPPLIERS OR VENDORS      10/29/2018           $1,130.04
ECONOMY PROPANE LLC     902 N 14TH STREET                                                           OAKES               ND           58474                                  SUPPLIERS OR VENDORS      11/28/2018           $2,562.30
ED POMEROY              STORE 116                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       1/10/2019             $196.72
EDDY NEHLS              P O BOX 585                                                                 GROTON              SD           57445                                  SUPPLIERS OR VENDORS      11/12/2018              $12.16
EDDY NEHLS              P O BOX 585                                                                 GROTON              SD           57445                                  SUPPLIERS OR VENDORS      12/17/2018              $48.64
EDELWEISS WALKER        2563 1ST ST                                                                 MONROE              WI           53566                                  SUPPLIERS OR VENDORS      12/13/2018              $39.00
EDEN GOSSETT            14432 W SYPHON                                                              POCATELLO           ID           83204                                  SUPPLIERS OR VENDORS      10/26/2018              $31.00

EDGECRAFT CORPORATION   VICE PRESIDENT OF SALES   825 SOUTHWOOD ROAD                                AVONDALE            PA           19311-9765                             SUPPLIERS OR VENDORS      10/18/2018           $1,320.00

EDGECRAFT CORPORATION   VICE PRESIDENT OF SALES   825 SOUTHWOOD ROAD                                AVONDALE            PA           19311-9765                             SUPPLIERS OR VENDORS      10/25/2018           $4,294.00

EDGECRAFT CORPORATION   VICE PRESIDENT OF SALES   825 SOUTHWOOD ROAD                                AVONDALE            PA           19311-9765                             SUPPLIERS OR VENDORS       11/1/2018           $1,964.00

EDGECRAFT CORPORATION   VICE PRESIDENT OF SALES   825 SOUTHWOOD ROAD                                AVONDALE            PA           19311-9765                             SUPPLIERS OR VENDORS       11/8/2018            $741.62

EDGECRAFT CORPORATION   VICE PRESIDENT OF SALES   825 SOUTHWOOD ROAD                                AVONDALE            PA           19311-9765                             SUPPLIERS OR VENDORS      11/15/2018            $459.80

EDGECRAFT CORPORATION   VICE PRESIDENT OF SALES   825 SOUTHWOOD ROAD                                AVONDALE            PA           19311-9765                             SUPPLIERS OR VENDORS      11/22/2018           $2,342.00

EDGECRAFT CORPORATION   VICE PRESIDENT OF SALES   825 SOUTHWOOD ROAD                                AVONDALE            PA           19311-9765                             SUPPLIERS OR VENDORS      11/29/2018           $1,640.00
EDITH SCHNEIDER         8087A GEENAN                                                                KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS      11/12/2018             $174.99
                        CIT GROUP COMMERCIAL
EDM IMPORTS             SERVICES INC              PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      10/19/2018             $616.50
EDNA SHIFLETT           1540 SUNRISE DR                                                             CLARKSTON           WA           99403                                  SUPPLIERS OR VENDORS       11/9/2018              $15.00
EDS RESTORATION LLC     W7623 POPLAR RD                                                             SHAWANO             WI           54166                                  SUPPLIERS OR VENDORS       11/1/2018           $8,680.32
EDS RESTORATION LLC     W7623 POPLAR RD                                                             SHAWANO             WI           54166                                  SUPPLIERS OR VENDORS      12/17/2018           $4,178.92
EDUARDO RUTSCH          4518 CLOVER DR                                                              EAU CLAIRE          WI           54701                                  SUPPLIERS OR VENDORS      10/25/2018              $10.56
EDWARD BORYSIAK         4412 HILLTOP RD                                                             WAUSAU              WI           54403                                  SUPPLIERS OR VENDORS       11/1/2018              $62.00
EDWARD COUILLARD        1750 W. 5TH AVE           APT D                                             OSHKOSH             WI           54902                                  SUPPLIERS OR VENDORS      11/14/2018              $25.00
EDWARD GRAJKOWSKI       411 LAKE JULIA RD                                                           THREE LAKES         WI           54562                                  SUPPLIERS OR VENDORS       11/1/2018               $9.92
EDWARD HESSLER          408 RICH ST                                                                 HORICON             WI           53032                                  SUPPLIERS OR VENDORS      11/29/2018               $9.76
EDWARD HUBLY            1103 SOUTH FRONT ST.                                                        NEW ULM             MN           56073                                  SUPPLIERS OR VENDORS       11/2/2018              $70.00
EDWARD KNUTSON          142 S SHORE DR                                                              IPSWICH             SD           57451                                  SUPPLIERS OR VENDORS      11/12/2018             $146.40
EDWARD KOSTLEVY         STORE 2-604               SHOPKO EMPLOYEE        1011 E SPRUCE ST           ABBOTSFORD          WI           54405                                  SUPPLIERS OR VENDORS      10/19/2018              $43.60



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       Creditor Name               Address1            Address2                  Address3                  City              State       Zip              Country                    transfer          Payments            Value
EDWARD KOSTLEVY         STORE 2-604              SHOPKO EMPLOYEE         1011 E SPRUCE ST           ABBOTSFORD          WI           54405                                  SUPPLIERS OR VENDORS        10/26/2018               $87.20
EDWARD KOSTLEVY         STORE 2-604              SHOPKO EMPLOYEE         1011 E SPRUCE ST           ABBOTSFORD          WI           54405                                  SUPPLIERS OR VENDORS         11/2/2018               $43.60
EDWARD KOSTLEVY         STORE 2-604              SHOPKO EMPLOYEE         1011 E SPRUCE ST           ABBOTSFORD          WI           54405                                  SUPPLIERS OR VENDORS         11/9/2018              $111.18
EDWARD KOSTLEVY         STORE 2-604              SHOPKO EMPLOYEE         1011 E SPRUCE ST           ABBOTSFORD          WI           54405                                  SUPPLIERS OR VENDORS        11/27/2018              $174.40
EDWARD KOSTLEVY         STORE 2-604              SHOPKO EMPLOYEE         1011 E SPRUCE ST           ABBOTSFORD          WI           54405                                  SUPPLIERS OR VENDORS        12/11/2018               $43.60
EDWARD KOSTLEVY         STORE 2-604              SHOPKO EMPLOYEE         1011 E SPRUCE ST           ABBOTSFORD          WI           54405                                  SUPPLIERS OR VENDORS        12/14/2018               $43.60
EDWARD KOSTLEVY         STORE 2-604              SHOPKO EMPLOYEE         1011 E SPRUCE ST           ABBOTSFORD          WI           54405                                  SUPPLIERS OR VENDORS        12/22/2018               $87.20
EDWARD KOSTLEVY         STORE 2-604              SHOPKO EMPLOYEE         1011 E SPRUCE ST           ABBOTSFORD          WI           54405                                  SUPPLIERS OR VENDORS          1/5/2019               $43.60
EDWARD KOSTLEVY         STORE 2-604              SHOPKO EMPLOYEE         1011 E SPRUCE ST           ABBOTSFORD          WI           54405                                  SUPPLIERS OR VENDORS         1/15/2019               $46.40
EDWARD MELBERG          STORE 4-037              SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS         11/8/2018              $288.75
EDWARD MIKE MAGERS      2899 220TH ST                                                               KELLERTON           IA           50133                                  SUPPLIERS OR VENDORS        10/29/2018               $65.69
EDWARD SCHOMMER         BOX 147                                                                     WOOD LAKE           MN           56297                                  SUPPLIERS OR VENDORS        12/10/2018               $27.76
EDWARD STUMPER          123 N GWINN ST                                                              LOYAL               WI           54446                                  SUPPLIERS OR VENDORS        10/24/2018               $66.00
EDWARD VERVAECKE        204 HARMONY DR                                                              SAINT ANSGAR        IA           50472                                  SUPPLIERS OR VENDORS         11/5/2018              $123.85
EDWARD VERVAECKE        204 HARMONY DR                                                              SAINT ANSGAR        IA           50472                                  SUPPLIERS OR VENDORS        11/16/2018               $27.15
EDWARD VOIT             102 NORTH GROVE STREET   BOX 63                                             OKABENA             MN           56161                                  SUPPLIERS OR VENDORS        11/26/2018               $20.00
EDWARD WOOLF            13 CAPTAINS CT #6                                                           MADISON             WI           53719                                  SUPPLIERS OR VENDORS        11/14/2018                $5.80
EDWIN WEINFURTER        1983 ISLAND STREET                                                          NIAGARA             WI           54151                                  SUPPLIERS OR VENDORS        11/15/2018               $39.04
EDWINA CASLER           P.O. BOX 255             409 1ST AVE. SW                                    ROCKFORD            IA           50468                                  SUPPLIERS OR VENDORS        10/31/2018               $12.00
EFREN VALDEZ            900 11TH ST APT 4                                                           WESTBROOK           MN           56183                                  SUPPLIERS OR VENDORS        11/30/2018               $15.00
EH WOLF & SONS
INCORPORATED            PO BOX 348                                                                  SLINGER             WI           53086-0348                             SUPPLIERS OR VENDORS       10/18/2018           $23,218.49
EH WOLF & SONS
INCORPORATED            PO BOX 348                                                                  SLINGER             WI           53086-0348                             SUPPLIERS OR VENDORS       10/31/2018           $21,931.76
EH WOLF & SONS
INCORPORATED            PO BOX 348                                                                  SLINGER             WI           53086-0348                             SUPPLIERS OR VENDORS        11/9/2018           $22,052.32
EH WOLF & SONS
INCORPORATED            PO BOX 348                                                                  SLINGER             WI           53086-0348                             SUPPLIERS OR VENDORS       11/28/2018           $20,710.90
EH WOLF & SONS
INCORPORATED            PO BOX 348                                                                  SLINGER             WI           53086-0348                             SUPPLIERS OR VENDORS       12/19/2018           $18,215.13
EH WOLF & SONS
INCORPORATED            PO BOX 348                                                                  SLINGER             WI           53086-0348                             SUPPLIERS OR VENDORS       12/20/2018           $17,738.43
EIGHTEEN EIGHTY EIGHT
MILLS L L C             DEPARTMENT 4102                                                             CAROL STREAM        IL           60122-4102                             SUPPLIERS OR VENDORS       10/18/2018            $5,037.72
EIGHTEEN EIGHTY EIGHT
MILLS L L C             DEPARTMENT 4102                                                             CAROL STREAM        IL           60122-4102                             SUPPLIERS OR VENDORS       10/25/2018            $3,838.58
EIGHTEEN EIGHTY EIGHT
MILLS L L C             DEPARTMENT 4102                                                             CAROL STREAM        IL           60122-4102                             SUPPLIERS OR VENDORS        11/1/2018            $6,757.21
EIGHTEEN EIGHTY EIGHT
MILLS L L C             DEPARTMENT 4102                                                             CAROL STREAM        IL           60122-4102                             SUPPLIERS OR VENDORS        11/8/2018           $15,743.04
EILEEN AGNEW            517 KILBOURN ST                                                             KEWAUNEE            WI           54216                                  SUPPLIERS OR VENDORS        11/5/2018               $41.00
EILEEN HOOVER           215 FRANKLIN ST                                                             DELAVAN             WI           53115                                  SUPPLIERS OR VENDORS        11/2/2018                $2.06
EILEEN SYKORA           30231 ROAD J                                                                DEWEESE             NE           68934                                  SUPPLIERS OR VENDORS       11/30/2018               $25.00
EILEEN WEBB             STORE 501                SHOPKO EMPLOYEE         3705 MONROE ROAD           DE PERE             WI           54115-9999                             SUPPLIERS OR VENDORS       11/15/2018               $34.88
EILLIENS CANDIES
INCORPORATED            PO BOX 28017                                                                GREEN BAY           WI           54324-0000                             SUPPLIERS OR VENDORS       10/18/2018           $74,992.23
EILLIENS CANDIES
INCORPORATED            PO BOX 28017                                                                GREEN BAY           WI           54324-0000                             SUPPLIERS OR VENDORS        11/1/2018          $100,054.25
EILLIENS CANDIES
INCORPORATED            PO BOX 28017                                                                GREEN BAY           WI           54324-0000                             SUPPLIERS OR VENDORS       11/15/2018           $31,686.63
EILLIENS CANDIES
INCORPORATED            PO BOX 28017                                                                GREEN BAY           WI           54324-0000                             SUPPLIERS OR VENDORS       11/22/2018           $81,163.50
EILLIENS CANDIES
INCORPORATED            PO BOX 28017                                                                GREEN BAY           WI           54324-0000                             SUPPLIERS OR VENDORS       11/29/2018           $34,933.14



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EITHNE LEAHY               3663 DAVENPORT ST          APT 5                                              OMAHA               NE           68131                                  SUPPLIERS OR VENDORS        10/22/2018               $23.00

EKAHAU INCORPORATED        1925 ISSAC NEWTON SQUARE   SUITE 200                                          RESTON              VA           20190                                  SUPPLIERS OR VENDORS        12/8/2018              $899.00
                                                                                                         EL DORADO
EL DORADO SPRINGS SUN      PO BOX 71                                                                     SPRINGS             MO           64744                                  SUPPLIERS OR VENDORS        12/7/2018               $35.00
EL TORO CARMESI LLC DBA
FIT 4 U SWIM               1410 BROADWAY STE 2903                                                        NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS       11/15/2018               $81.20
ELAINE DYSLIN              206 S 13TH ST                                                                 NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS       11/30/2018                $8.10
ELAINE KRONE               46330 128 ST                                                                  PEEVER              SD           57257                                  SUPPLIERS OR VENDORS        12/7/2018               $44.16
ELAINE LONG                408 E 12TH ST                                                                 PECATONICA          IL           61063                                  SUPPLIERS OR VENDORS       11/28/2018               $12.80
ELAINE LONG                408 E 12TH ST                                                                 PECATONICA          IL           61063                                  SUPPLIERS OR VENDORS       11/29/2018               $51.20
ELAINE SMITH               312 W. 10TH ST                                                                KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS       10/30/2018               $11.04
ELAINE VOGLER              504 22ND ST N                                                                 GREAT FALLS         MT           59401                                  SUPPLIERS OR VENDORS       11/12/2018               $83.00
ELDEN SCHICK               BOX 28                                                                        SELBY               SD           57472                                  SUPPLIERS OR VENDORS       11/12/2018               $99.17
ELDEN SCHICK               BOX 28                                                                        SELBY               SD           57472                                  SUPPLIERS OR VENDORS       11/16/2018               $24.80
ELDON TOWNSEND             E2153 COUNTY RD U U                                                           DE SOTO             WI           54624                                  SUPPLIERS OR VENDORS       12/13/2018               $22.74
ELDORA INDUSTRIAL
DEVELOPMENT CORP           1202 EDGINGTON AVENUE                                                         ELDORA              IA           50627                                  SUPPLIERS OR VENDORS       11/15/2018            $2,366.42
ELDORA INDUSTRIAL
DEVELOPMENT CORP           1202 EDGINGTON AVENUE                                                         ELDORA              IA           50627                                  SUPPLIERS OR VENDORS       12/19/2018            $2,366.42
ELDORA NEWSPAPERS          1513 EDGINGTON AVENUE                                                         ELDORADO            IA           50627                                  SUPPLIERS OR VENDORS       10/26/2018               $51.00
ELDORA NEWSPAPERS          1513 EDGINGTON AVENUE                                                         ELDORADO            IA           50627                                  SUPPLIERS OR VENDORS        11/7/2018               $89.00
ELEANOR NIELSEN            1416 3RD AVE                                                                  DANNEBROG           NE           68831                                  SUPPLIERS OR VENDORS       10/24/2018               $47.94
ELEANOR SJOHOLM            5228 LANDON STREET SE                                                         SALEM               OR           97306                                  SUPPLIERS OR VENDORS       12/20/2018              $198.00
ELECTRIC SERVICE SHOP      AUTHORIZED RADIO SHACK
INCORPORATED               DEALER                     210 MAIN STREET                                    ROUNDUP             MT           59072                                  SUPPLIERS OR VENDORS       11/16/2018                $5.00
ELEMENT CREATIVE LLC       2081 PROFIT PLACE                                                             DE PERE             WI           54115                                  SUPPLIERS OR VENDORS       10/18/2018            $7,500.00
ELEMENT CREATIVE LLC       2081 PROFIT PLACE                                                             DE PERE             WI           54115                                  SUPPLIERS OR VENDORS       11/29/2018                $1.00
ELEMENT CREATIVE LLC       2081 PROFIT PLACE                                                             DE PERE             WI           54115                                  SUPPLIERS OR VENDORS       11/29/2018            $8,125.00
ELEMENT CREATIVE LLC       2081 PROFIT PLACE                                                             DE PERE             WI           54115                                  SUPPLIERS OR VENDORS        1/11/2019            $7,661.61
ELIDETH LINDVALL
RODRIGUEZ                  2305 RIVER ROAD                                                               WINDOM              MN           56101                                  SUPPLIERS OR VENDORS       10/29/2018               $40.00
ELIEZER RIVERA             51265 CANAL RD                                                                HOUGHTON            MI           49931                                  SUPPLIERS OR VENDORS       12/17/2018               $25.00
ELINE HEAZLETT             809 N GRIFFIN                                                                 LAKEFIELD           MN           56150                                  SUPPLIERS OR VENDORS       11/12/2018               $20.48
ELIO COVELLI               8339 49TH AVE                                                                 KENOSHA             WI           53142                                  SUPPLIERS OR VENDORS        12/5/2018               $25.00
ELISSA THIER               310 W PEARL STREET                                                            ADRIAN              MN           56110                                  SUPPLIERS OR VENDORS        11/2/2018               $65.00

ELITE SEM INCORPORATED     PO BOX 28415                                                                  NEW YORK            NY           10087-8415                             SUPPLIERS OR VENDORS        11/1/2018           $23,862.86

ELIZABETH A. TRAINOR LLC   6470 SW BURLINGAME PL                                                         PORTLAND            OR           97239                                  LANDLORD RENT PAYMENT       1/11/2019           $33,666.67
ELIZABETH AERTS            1259 RITA LN                                                                  DE PERE             WI           54115                                  SUPPLIERS OR VENDORS       10/31/2018               $19.00
ELIZABETH ARDEN INC        PO BOX 418906                                                                 BOSTON              MA           02241-8906                             SUPPLIERS OR VENDORS       10/18/2018           $25,753.03
ELIZABETH ARDEN INC        PO BOX 418906                                                                 BOSTON              MA           02241-8906                             SUPPLIERS OR VENDORS       10/25/2018           $10,882.55
ELIZABETH ARDEN INC        PO BOX 418906                                                                 BOSTON              MA           02241-8906                             SUPPLIERS OR VENDORS        11/1/2018           $98,718.61
ELIZABETH ARDEN INC        PO BOX 418906                                                                 BOSTON              MA           02241-8906                             SUPPLIERS OR VENDORS        11/8/2018          $116,509.85
ELIZABETH ARDEN INC        PO BOX 418906                                                                 BOSTON              MA           02241-8906                             SUPPLIERS OR VENDORS       11/15/2018            $9,465.58
ELIZABETH ARDEN INC        PO BOX 418906                                                                 BOSTON              MA           02241-8906                             SUPPLIERS OR VENDORS       11/22/2018           $21,828.58
ELIZABETH ARDEN INC        PO BOX 418906                                                                 BOSTON              MA           02241-8906                             SUPPLIERS OR VENDORS       11/29/2018           $24,427.47
ELIZABETH ASHLEY           241 13TH AVE                                                                  BLOOMER             WI           54724                                  SUPPLIERS OR VENDORS        11/9/2018               $25.43
ELIZABETH ASHLEY           241 13TH AVE                                                                  BLOOMER             WI           54724                                  SUPPLIERS OR VENDORS       11/16/2018               $40.57
ELIZABETH BAUCH            413 10TH ST N                                                                 GREATFALLS          MT           59401                                  SUPPLIERS OR VENDORS       11/15/2018               $56.77
ELIZABETH BAUCH            413 10TH ST N                                                                 GREATFALLS          MT           59401                                  SUPPLIERS OR VENDORS       11/26/2018               $56.77
ELIZABETH BAURES           STORE 671                  SHOPKO EMPLOYEE         PO BOX 469                 WAUKON              IA           52172                                  SUPPLIERS OR VENDORS       12/27/2018              $122.08
ELIZABETH BREMER           STORE 692                  SHOPKO EMPLOYEE         PO BOX 6                   SUPERIOR            NE           68978-0006                             SUPPLIERS OR VENDORS         1/5/2019              $107.91



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                                                                                                                                                                                Reasons for payment or    Dates of     Total Amount or
      Creditor Name               Address1                Address2                 Address3                  City              State       Zip              Country                    transfer          Payments            Value
ELIZABETH BRIMEYER       STORE 625                  SHOPKO EMPLOYEE        1201 12TH AVENUE SE        DYERSVILLE          IA           52040                                  SUPPLIERS OR VENDORS        12/20/2018               $25.07
ELIZABETH BUSHMAKER      N9021A CTY RD DK                                                             LUXEMBURG           WI           54217                                  SUPPLIERS OR VENDORS         12/3/2018               $63.00
ELIZABETH CASSIDY        2116 WAUBONSIE AVE.                                                          THURMAN             IA           51654                                  SUPPLIERS OR VENDORS        12/14/2018               $45.00
ELIZABETH CHASE          504 CEDAR STREET                                                             MADISON             WI           53715                                  SUPPLIERS OR VENDORS        12/10/2018               $25.00
ELIZABETH FROEHLICH      2022 ELM ST                                                                  CUMBERLAND          WI           54829                                  SUPPLIERS OR VENDORS        10/22/2018                $9.04
ELIZABETH HALAMA         221 BUTTERNUT DR                                                             STRUM               WI           54770                                  SUPPLIERS OR VENDORS        10/25/2018               $66.00
ELIZABETH J MEYER        STORE 132                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/27/2018               $53.74
ELIZABETH KURTENBACH     48566 385 ST                                                                 SAINT EDWARD        NE           68660                                  SUPPLIERS OR VENDORS         11/1/2018               $11.92
ELIZABETH KURTENBACH     48566 385 ST                                                                 SAINT EDWARD        NE           68660                                  SUPPLIERS OR VENDORS        11/29/2018               $53.08
ELIZABETH MUELLER        3624 ARMBRUST DR                                                             OMAHA               NE           68124                                  SUPPLIERS OR VENDORS        10/22/2018               $42.00
ELIZABETH MURILLO        1510 N10TH STREET                                                            SHEBOYGAN           WI           53081                                  SUPPLIERS OR VENDORS        12/20/2018               $39.00
ELIZABETH
NEUENSCHWANDER           W6110 VOGEL RD                                                               MONROE              WI           53566                                  SUPPLIERS OR VENDORS       12/13/2018               $20.00
ELIZABETH OLSON          W6508 U.S. HWY 2                                                             QUINNESEC           MI           49876                                  SUPPLIERS OR VENDORS       12/13/2018               $39.04
ELIZABETH PETERMAN       STORE 049                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/18/2018              $405.71
ELIZABETH RAU            1325 MCPHERSON AVENUE                                                        RICHLAND            WA           99354                                  SUPPLIERS OR VENDORS       11/14/2018               $23.00
ELIZABETH RICHARDS       PO BOX 503                                                                   CLARKSTON           WA           99403                                  SUPPLIERS OR VENDORS       11/12/2018               $12.80
ELIZABETH RUNDALL        603A DOTY ST                                                                 EAU CLAIRE          WI           54701                                  SUPPLIERS OR VENDORS       12/14/2018               $42.24
ELIZABETH SCHWOERER      APPAREL                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/15/2018              $478.73
ELIZABETH SMITH          STORE 132                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/2/2018              $146.06
ELIZABETH SOSINSKI       429 W. 19TH AVE. #5                                                          MITCHELL            SD           57301                                  SUPPLIERS OR VENDORS        11/1/2018               $29.37
ELIZABETH SOSINSKI       429 W. 19TH AVE. #5                                                          MITCHELL            SD           57301                                  SUPPLIERS OR VENDORS       11/12/2018              $108.75
ELIZABETH STUTTGEN       STORE 009                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/2/2018              $238.79
ELIZABETH THOMAS         309 LINCOLN STREET                                                           FORT ATKINSON       WI           53538                                  SUPPLIERS OR VENDORS        12/5/2018               $15.00

ELIZABETH TRAINOR LLC    6470 SW BURLINGAME PLACE                                                     PORTLAND            OR           97239                                  SUPPLIERS OR VENDORS        11/1/2018           $33,666.67

ELIZABETH TRAINOR LLC    6470 SW BURLINGAME PLACE                                                     PORTLAND            OR           97239                                  SUPPLIERS OR VENDORS        12/1/2018           $33,666.67
ELIZABETH VOLKMANN       N3894 CTY HWY CD                                                             FALL RIVER          WI           53932                                  SUPPLIERS OR VENDORS       12/13/2018               $15.00
ELIZABETH WIEKERAAD      BOX 323                                                                      LEOTA               MN           56153                                  SUPPLIERS OR VENDORS        11/5/2018               $28.31
ELIZABETH WIEKERAAD      BOX 323                                                                      LEOTA               MN           56153                                  SUPPLIERS OR VENDORS       11/26/2018                $7.08
ELLA FRENZ               952 14TH PLACE N.E.                                                          MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS       11/26/2018               $60.56
ELLEN FRANKLIN           71797 TURNOUT RD                                                             BURNS               OR           97720                                  SUPPLIERS OR VENDORS       11/29/2018               $11.00
ELLEN SAMS               43 PURDY RD                                                                  GRANGEVILLE         ID           83530                                  SUPPLIERS OR VENDORS        12/5/2018               $20.00
ELLEN STOLTZ             145 2 AVE. S. E.                                                             PLAINVIEW           MN           55964                                  SUPPLIERS OR VENDORS       12/20/2018               $27.76
ELLEN SWANSON            STORE 076                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/11/2018               $91.14
ELLEN WELLS              113 KNAUP DR               APT 10                                            BEAVER DAM          WI           53916                                  SUPPLIERS OR VENDORS       10/22/2018               $55.00
                         PNC BANK C/O ELLERY
ELLERY HOLDINGS LLC      HOLDINGS LLC               LOCKBOX 775847         350 EAST DEVON AVE         ITASCA              IL           60143                                  SUPPLIERS OR VENDORS       10/18/2018               $20.40
                         PNC BANK C/O ELLERY
ELLERY HOLDINGS LLC      HOLDINGS LLC               LOCKBOX 775847         350 EAST DEVON AVE         ITASCA              IL           60143                                  SUPPLIERS OR VENDORS       10/25/2018               $94.25
                         PNC BANK C/O ELLERY
ELLERY HOLDINGS LLC      HOLDINGS LLC               LOCKBOX 775847         350 EAST DEVON AVE         ITASCA              IL           60143                                  SUPPLIERS OR VENDORS        11/1/2018              $114.50
                         PNC BANK C/O ELLERY
ELLERY HOLDINGS LLC      HOLDINGS LLC               LOCKBOX 775847         350 EAST DEVON AVE         ITASCA              IL           60143                                  SUPPLIERS OR VENDORS       11/29/2018              $191.63
ELLISON FIRST ASIA LLC   230 5TH AVE STE 711                                                          NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS       10/18/2018           $10,325.53
ELLISON FIRST ASIA LLC   230 5TH AVE STE 711                                                          NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS       10/19/2018            $9,485.34
ELLISON FIRST ASIA LLC   230 5TH AVE STE 711                                                          NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS       10/22/2018           $56,151.38
ELLISON FIRST ASIA LLC   230 5TH AVE STE 711                                                          NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS       10/24/2018            $7,231.82
ELLISON FIRST ASIA LLC   230 5TH AVE STE 711                                                          NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS       10/26/2018            $2,461.88
ELLISON FIRST ASIA LLC   230 5TH AVE STE 711                                                          NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS       10/29/2018            $1,943.12
ELLISON FIRST ASIA LLC   230 5TH AVE STE 711                                                          NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS        11/1/2018           $45,165.61
ELLISON FIRST ASIA LLC   230 5TH AVE STE 711                                                          NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS        11/2/2018              $892.42
ELLISON FIRST ASIA LLC   230 5TH AVE STE 711                                                          NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS        11/5/2018           $23,297.39



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                                                                                                                                                                                 Reasons for payment or    Dates of     Total Amount or
      Creditor Name                Address1                 Address2                 Address3                City               State       Zip              Country                    transfer          Payments            Value
ELLISON FIRST ASIA LLC   230 5TH AVE STE 711                                                           NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS         11/8/2018            $3,489.95
ELLISON FIRST ASIA LLC   230 5TH AVE STE 711                                                           NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS         11/9/2018           $37,103.17
ELLISON FIRST ASIA LLC   230 5TH AVE STE 711                                                           NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS        11/14/2018            $1,477.01
ELLISON FIRST ASIA LLC   230 5TH AVE STE 711                                                           NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS        11/15/2018            $1,411.40
ELLISON FIRST ASIA LLC   230 5TH AVE STE 711                                                           NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS        11/16/2018            $4,390.42
ELLISON FIRST ASIA LLC   230 5TH AVE STE 711                                                           NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS        11/22/2018           $17,980.77
ELLISON FIRST ASIA LLC   230 5TH AVE STE 711                                                           NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS        11/23/2018           $31,685.35
ELLISON FIRST ASIA LLC   230 5TH AVE STE 711                                                           NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS        11/27/2018            $4,900.20
ELLISON FIRST ASIA LLC   230 5TH AVE STE 711                                                           NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS        11/28/2018            $2,092.76
ELLISON FIRST ASIA LLC   230 5TH AVE STE 711                                                           NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS         12/3/2018            $7,509.48
ELLISON FIRST ASIA LLC   230 5TH AVE STE 711                                                           NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS         12/4/2018            $1,718.79
ELLISON FIRST ASIA LLC   230 5TH AVE STE 711                                                           NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS         12/5/2018              $513.58
ELLORA JONES             8317 50TH AVE                                                                 CHIPPEWA FALLS      WI           54729                                  SUPPLIERS OR VENDORS        11/28/2018               $56.00
ELROY GOETZ              809 15TH AVE NE #2                                                            ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS        10/24/2018               $48.64

ELSA CHAVEZ              STORE 2-752                SHOPKO EMPLOYEE         1100 EAST VALLEY ROAD      TORRINGTON          WY           82240-3614                             SUPPLIERS OR VENDORS       11/15/2018              $131.00
ELSA MUJICA              7113 SOUTH 33RD STREET                                                        BELLEVUE            NE           68147                                  SUPPLIERS OR VENDORS       11/29/2018               $23.00
ELWOOD BENGRY            140 FARNSWORTH AVE         LOT 9                                              OCONTO              WI           54153                                  SUPPLIERS OR VENDORS       11/29/2018               $11.04
ELWOOD HAGEN             811 CEDAR AVE                                                                 ALBERT LEA          MN           55912                                  SUPPLIERS OR VENDORS       10/29/2018               $43.15
                         AXEMAN CABIN CARE & TREE   30 NORTH 8TH AVENUE
ELY BLOWING & MOWING     SERVICE                    E                                                  ELY                 MN           55731                                  SUPPLIERS OR VENDORS       10/19/2018              $265.00

EMERSON HEALTHCARE LLC C/O BB&T                     PO BOX 37835                                       BALTIMORE           MD           21297-7835                             SUPPLIERS OR VENDORS       10/18/2018           $31,288.13

EMERSON HEALTHCARE LLC C/O BB&T                     PO BOX 37835                                       BALTIMORE           MD           21297-7835                             SUPPLIERS OR VENDORS       10/25/2018           $22,615.41

EMERSON HEALTHCARE LLC C/O BB&T                     PO BOX 37835                                       BALTIMORE           MD           21297-7835                             SUPPLIERS OR VENDORS        11/1/2018           $42,230.82

EMERSON HEALTHCARE LLC C/O BB&T                     PO BOX 37835                                       BALTIMORE           MD           21297-7835                             SUPPLIERS OR VENDORS        11/8/2018           $19,343.94

EMERSON HEALTHCARE LLC C/O BB&T                     PO BOX 37835                                       BALTIMORE           MD           21297-7835                             SUPPLIERS OR VENDORS       11/15/2018              $981.52

EMERSON HEALTHCARE LLC C/O BB&T                     PO BOX 37835                                       BALTIMORE           MD           21297-7835                             SUPPLIERS OR VENDORS       11/22/2018           $30,265.32

EMERSON HEALTHCARE LLC C/O BB&T                     PO BOX 37835                                       BALTIMORE           MD           21297-7835                             SUPPLIERS OR VENDORS       11/29/2018           $27,611.74

EMERSON HEALTHCARE LLC C/O BB&T                     PO BOX 37835                                       BALTIMORE           MD           21297-7835                             SUPPLIERS OR VENDORS       12/12/2018           $71,045.00

EMERSON HEALTHCARE LLC C/O BB&T                     PO BOX 37835                                       BALTIMORE           MD           21297-7835                             SUPPLIERS OR VENDORS       12/13/2018            $4,044.19

EMERSON HEALTHCARE LLC C/O BB&T                     PO BOX 37835                                       BALTIMORE           MD           21297-7835                             SUPPLIERS OR VENDORS       12/20/2018           $18,221.26

EMERSON HEALTHCARE LLC   C/O BB&T                   PO BOX 37835                                       BALTIMORE           MD           21297-7835                             SUPPLIERS OR VENDORS       12/27/2018           $24,545.00
EMERY JENSEN
DISTRIBUTION             PO BOX 206807                                                                 DALLAS              TX           75320-6807                             SUPPLIERS OR VENDORS       11/23/2018          $205,252.20
EMERY JENSEN
DISTRIBUTION             PO BOX 206807                                                                 DALLAS              TX           75320-6807                             SUPPLIERS OR VENDORS       11/27/2018           $34,157.28
EMERY JENSEN
DISTRIBUTION             PO BOX 206807                                                                 DALLAS              TX           75320-6807                             SUPPLIERS OR VENDORS        12/4/2018          $115,586.01
EMILY EPPLER             502 CARL SCHURZ DRIVE                                                         WATERTOWN           WI           53098                                  SUPPLIERS OR VENDORS       10/31/2018               $42.00
EMILY FALLIN-FARNES      2843 MAYFAIR DRIVE                                                            LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS       12/10/2018               $35.00
EMILY FELLOWS            HARDLINES                  SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/20/2018              $100.54
EMILY GILSON             E 430 RIVER RD                                                                LUXEMBURG           WI           54217                                  SUPPLIERS OR VENDORS       11/26/2018               $25.00
EMILY JOACHIM            2780 LOST LANE                                                                OMRO                WI           54963                                  SUPPLIERS OR VENDORS       11/26/2018               $23.00



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                                                                                                                                                                              Reasons for payment or    Dates of    Total Amount or
     Creditor Name               Address1                   Address2             Address3                   City              State       Zip              Country                   transfer          Payments           Value
                                                                          1533 BURLINGTON
EMILY MEYERS           STORE 690                  SHOPKO EMPLOYEE         STREET                     HOLDREGE            NE           68949                                  SUPPLIERS OR VENDORS      10/19/2018            $168.44
EMILY MEYSEMBOURG      W227N5929 LYNWOOD DR                                                          SUSSEX              WI           53089                                  SUPPLIERS OR VENDORS       11/8/2018             $23.00
EMILY PLASTER          656 RAVENWOODS CT          APT. 14                                            NEENAH              WI           54956                                  SUPPLIERS OR VENDORS      10/26/2018             $67.00
EMILY PONTIUS          N142W6229 CONCORD ST       APT. 71                                            CEDARBURG           WI           53012                                  SUPPLIERS OR VENDORS       12/7/2018             $23.50
EMILY VONDRISKA        924 CO RD N                                                                   HUDSON              WI           54016                                  SUPPLIERS OR VENDORS      12/17/2018             $10.00
EMMA BOWMAN            1150 APPLE BLOSSOM DR                                                         NEENAH              WI           54956                                  SUPPLIERS OR VENDORS      10/31/2018             $34.00
EMMA CHANDLER          552 RONALD LEE CR                                                             RIO                 WI           53960                                  SUPPLIERS OR VENDORS      11/14/2018             $31.00
EMMA CLAY              STORE 068                  SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/8/2018            $218.00
EMMA CORNELIUS         858 SOUTH 300 WEST                                                            BRIGHAM CITY        UT           84302                                  SUPPLIERS OR VENDORS      10/30/2018             $35.00
EMMA DONNENWERTH       729 SE RIDGEVIEW ST                                                           PULLMAN             WA           99163                                  SUPPLIERS OR VENDORS      10/25/2018             $51.98
EMMA GAGLIARDI         1008 ELMWOOD AVENUE        APT A                                              OSHKOSH             WI           54901                                  SUPPLIERS OR VENDORS      10/22/2018              $6.04
EMMA JOHNSON           3530 GLEN ABBEY DR.                                                           GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS       11/5/2018             $25.00
EMMA KOSMICKI          8101 FAIRVIEW RD                                                              PAPILLION           NE           68046                                  SUPPLIERS OR VENDORS      10/22/2018             $23.00
EMMONS BUSINESS
INTERIORS              PO BOX 640                                                                    GERMANTOWN          WI           53022                                  SUPPLIERS OR VENDORS      10/19/2018            $967.05
EMMONS BUSINESS
INTERIORS              PO BOX 640                                                                    GERMANTOWN          WI           53022                                  SUPPLIERS OR VENDORS      10/26/2018            $440.47
EMMONS BUSINESS
INTERIORS              PO BOX 640                                                                    GERMANTOWN          WI           53022                                  SUPPLIERS OR VENDORS      10/26/2018           $4,693.79
EMMONS BUSINESS
INTERIORS              PO BOX 640                                                                    GERMANTOWN          WI           53022                                  SUPPLIERS OR VENDORS      10/29/2018            $411.93
EMMONS BUSINESS
INTERIORS              PO BOX 640                                                                    GERMANTOWN          WI           53022                                  SUPPLIERS OR VENDORS      10/29/2018           $1,502.70
EMMONS BUSINESS
INTERIORS              PO BOX 640                                                                    GERMANTOWN          WI           53022                                  SUPPLIERS OR VENDORS      11/13/2018           $1,611.42
EMMONS BUSINESS
INTERIORS              PO BOX 640                                                                    GERMANTOWN          WI           53022                                  SUPPLIERS OR VENDORS      11/26/2018            $699.83
EMMY NEUSTROM          1905 S STEPHEN AVE                                                            SIOUX FALLS         SD           57103                                  SUPPLIERS OR VENDORS       12/7/2018             $48.00
EMPIRE CANDLE CO LLC   PO BOX 219864                                                                 KANSAS CITY         MO           64121-9864                             SUPPLIERS OR VENDORS      10/18/2018          $4,081.07
EMPIRE CANDLE CO LLC   PO BOX 219864                                                                 KANSAS CITY         MO           64121-9864                             SUPPLIERS OR VENDORS      10/25/2018         $11,089.13
EMPIRE CANDLE CO LLC   PO BOX 219864                                                                 KANSAS CITY         MO           64121-9864                             SUPPLIERS OR VENDORS       11/1/2018         $17,192.94
EMPIRE CANDLE CO LLC   PO BOX 219864                                                                 KANSAS CITY         MO           64121-9864                             SUPPLIERS OR VENDORS       11/8/2018         $21,415.13
EMPIRE CANDLE CO LLC   PO BOX 219864                                                                 KANSAS CITY         MO           64121-9864                             SUPPLIERS OR VENDORS       11/9/2018        $191,140.23
EMPIRE CANDLE CO LLC   PO BOX 219864                                                                 KANSAS CITY         MO           64121-9864                             SUPPLIERS OR VENDORS      11/12/2018         $10,778.16
EMPIRE ELECTRONIC      2029 S BUSINESS PARKWAY
CORPORATION            BLDG A                                                                        ONTARIO             CA           91761-0000                             SUPPLIERS OR VENDORS      10/26/2018         $74,339.88
EMPIRE ELECTRONIC      2029 S BUSINESS PARKWAY
CORPORATION            BLDG A                                                                        ONTARIO             CA           91761-0000                             SUPPLIERS OR VENDORS      10/29/2018        $206,559.50
EMPIRE ELECTRONIC      2029 S BUSINESS PARKWAY
CORPORATION            BLDG A                                                                        ONTARIO             CA           91761-0000                             SUPPLIERS OR VENDORS       11/1/2018        $209,820.80
EMPIRE ELECTRONIC      2029 S BUSINESS PARKWAY
CORPORATION            BLDG A                                                                        ONTARIO             CA           91761-0000                             SUPPLIERS OR VENDORS      11/14/2018        $225,622.90
EMPIRE ELECTRONIC      2029 S BUSINESS PARKWAY
CORPORATION            BLDG A                                                                        ONTARIO             CA           91761-0000                             SUPPLIERS OR VENDORS      11/15/2018         $46,000.00
EMPIRE ELECTRONIC      2029 S BUSINESS PARKWAY
CORPORATION            BLDG A                                                                        ONTARIO             CA           91761-0000                             SUPPLIERS OR VENDORS      11/28/2018        $161,990.41
EMPIRE ELECTRONIC      2029 S BUSINESS PARKWAY
CORPORATION            BLDG A                                                                        ONTARIO             CA           91761-0000                             SUPPLIERS OR VENDORS      11/30/2018        $171,438.00
ENABLX INCORPORATED    1 EMERY AVENUE                                                                RANDOLPH            NJ           07869-0000                             SUPPLIERS OR VENDORS       11/1/2018          $1,148.35
ENABLX INCORPORATED    1 EMERY AVENUE                                                                RANDOLPH            NJ           07869-0000                             SUPPLIERS OR VENDORS      11/29/2018              $1.00
ENCHANTE ACCESSORIES   16 EAST 34TH STREET 16TH
INCORPORATED           FLOOR                                                                         NEW YORK            NY           10016-0000                             SUPPLIERS OR VENDORS      11/15/2018         $19,666.18




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                                                                                                                                                                                    Reasons for payment or    Dates of     Total Amount or
      Creditor Name                  Address1                  Address2                  Address3                 City              State       Zip              Country                   transfer          Payments            Value
ENCHANTE ACCESSORIES      16 EAST 34TH STREET 16TH
INCORPORATED              FLOOR                                                                            NEW YORK            NY           10016-0000                             SUPPLIERS OR VENDORS      11/22/2018          $34,240.88
ENCHANTE ACCESSORIES      16 EAST 34TH STREET 16TH
INCORPORATED              FLOOR                                                                            NEW YORK            NY           10016-0000                             SUPPLIERS OR VENDORS      11/27/2018          $17,451.30
ENCHANTE ACCESSORIES      16 EAST 34TH STREET 16TH
INCORPORATED              FLOOR                                                                            NEW YORK            NY           10016-0000                             SUPPLIERS OR VENDORS      11/28/2018             $611.16
ENCHANTE ACCESSORIES      16 EAST 34TH STREET 16TH
INCORPORATED              FLOOR                                                                            NEW YORK            NY           10016-0000                             SUPPLIERS OR VENDORS      11/28/2018          $50,308.81
ENCHANTE ACCESSORIES      16 EAST 34TH STREET 16TH
INCORPORATED              FLOOR                                                                            NEW YORK            NY           10016-0000                             SUPPLIERS OR VENDORS      11/30/2018          $45,156.00
ENCHANTE ACCESSORIES      16 EAST 34TH STREET 16TH
INCORPORATED              FLOOR                                                                            NEW YORK            NY           10016-0000                             SUPPLIERS OR VENDORS       12/4/2018          $82,500.00

ENCINAL REAL ESTATE       6 VENADO DR                                                                      TIBURON             CA           94920                                  LANDLORD RENT PAYMENT        1/4/2019         $86,096.42

ENCINAL REAL ESTATE INC   ENCINAL SHOPKO REDDING LLC 6 VENADO DRIVE                                        TIBURON             CA           94920                                  SUPPLIERS OR VENDORS       11/1/2018          $84,449.65

ENCINAL REAL ESTATE INC   ENCINAL SHOPKO REDDING LLC 6 VENADO DRIVE                                        TIBURON             CA           94920                                  SUPPLIERS OR VENDORS       12/4/2018          $84,449.65
                          131 NORTH BROADWAY 2ND
ENDLESS GAMES             FLOOR                                                                            SOUTH AMBOY         NJ           08879-1639                             SUPPLIERS OR VENDORS      10/18/2018            $5,644.96
                          131 NORTH BROADWAY 2ND
ENDLESS GAMES             FLOOR                                                                            SOUTH AMBOY         NJ           08879-1639                             SUPPLIERS OR VENDORS      11/15/2018            $9,843.00
ENERCO GROUP
INCORPORATED              75 REMITTANCE DRIVE STE 1314                                                     CHICAGO             IL           60675-1314                             SUPPLIERS OR VENDORS      10/18/2018             $319.93
ENERCO GROUP
INCORPORATED              75 REMITTANCE DRIVE STE 1314                                                     CHICAGO             IL           60675-1314                             SUPPLIERS OR VENDORS      10/25/2018            $1,053.42
ENERCO GROUP
INCORPORATED              75 REMITTANCE DRIVE STE 1314                                                     CHICAGO             IL           60675-1314                             SUPPLIERS OR VENDORS       11/1/2018          $76,011.99
ENERCO GROUP
INCORPORATED              75 REMITTANCE DRIVE STE 1314                                                     CHICAGO             IL           60675-1314                             SUPPLIERS OR VENDORS      11/15/2018             $694.71
ENERCO GROUP
INCORPORATED              75 REMITTANCE DRIVE STE 1314                                                     CHICAGO             IL           60675-1314                             SUPPLIERS OR VENDORS      11/22/2018             $570.54
ENERGIZER BATTERY                                        533 MARYVILLE
INCORPORATED              VICE PRESIDENT OF SALES        UNIVERSITY DRIVE                                  SAINT LOUIS         MO           63141-0000                             SUPPLIERS OR VENDORS      10/18/2018          $10,413.43
ENERGIZER BATTERY                                        533 MARYVILLE
INCORPORATED              VICE PRESIDENT OF SALES        UNIVERSITY DRIVE                                  SAINT LOUIS         MO           63141-0000                             SUPPLIERS OR VENDORS      10/23/2018          $17,232.27
ENERGIZER BATTERY                                        533 MARYVILLE
INCORPORATED              VICE PRESIDENT OF SALES        UNIVERSITY DRIVE                                  SAINT LOUIS         MO           63141-0000                             SUPPLIERS OR VENDORS      10/25/2018          $21,494.96
ENERGIZER BATTERY                                        533 MARYVILLE
INCORPORATED              VICE PRESIDENT OF SALES        UNIVERSITY DRIVE                                  SAINT LOUIS         MO           63141-0000                             SUPPLIERS OR VENDORS      10/30/2018          $35,221.74
ENERGIZER BATTERY                                        533 MARYVILLE
INCORPORATED              VICE PRESIDENT OF SALES        UNIVERSITY DRIVE                                  SAINT LOUIS         MO           63141-0000                             SUPPLIERS OR VENDORS       11/6/2018            $2,865.11
ENERGIZER BATTERY                                        533 MARYVILLE
INCORPORATED              VICE PRESIDENT OF SALES        UNIVERSITY DRIVE                                  SAINT LOUIS         MO           63141-0000                             SUPPLIERS OR VENDORS       11/8/2018          $12,335.16
ENERGIZER BATTERY                                        533 MARYVILLE
INCORPORATED              VICE PRESIDENT OF SALES        UNIVERSITY DRIVE                                  SAINT LOUIS         MO           63141-0000                             SUPPLIERS OR VENDORS       11/8/2018         $329,025.24
ENERGIZER BATTERY                                        533 MARYVILLE
INCORPORATED              VICE PRESIDENT OF SALES        UNIVERSITY DRIVE                                  SAINT LOUIS         MO           63141-0000                             SUPPLIERS OR VENDORS      11/13/2018          $15,341.67
ENERGIZER BATTERY                                        533 MARYVILLE
INCORPORATED              VICE PRESIDENT OF SALES        UNIVERSITY DRIVE                                  SAINT LOUIS         MO           63141-0000                             SUPPLIERS OR VENDORS      11/13/2018          $25,090.22
ENERGIZER BATTERY                                        533 MARYVILLE
INCORPORATED              VICE PRESIDENT OF SALES        UNIVERSITY DRIVE                                  SAINT LOUIS         MO           63141-0000                             SUPPLIERS OR VENDORS      11/15/2018            $1,527.62
ENERGIZER BATTERY                                        533 MARYVILLE
INCORPORATED              VICE PRESIDENT OF SALES        UNIVERSITY DRIVE                                  SAINT LOUIS         MO           63141-0000                             SUPPLIERS OR VENDORS      11/27/2018          $39,937.60



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                                                                                                                                                                              Reasons for payment or    Dates of    Total Amount or
      Creditor Name                Address1              Address2                  Address3                   City            State       Zip              Country                   transfer          Payments           Value
ENERGIZER BATTERY                                  533 MARYVILLE
INCORPORATED             VICE PRESIDENT OF SALES   UNIVERSITY DRIVE                                  SAINT LOUIS         MO           63141-0000                             SUPPLIERS OR VENDORS      11/27/2018         $43,455.36
ENERGIZER BATTERY                                  533 MARYVILLE
INCORPORATED             VICE PRESIDENT OF SALES   UNIVERSITY DRIVE                                  SAINT LOUIS         MO           63141-0000                             SUPPLIERS OR VENDORS      11/29/2018         $12,260.06
ENERGIZER BATTERY                                  533 MARYVILLE
INCORPORATED             VICE PRESIDENT OF SALES   UNIVERSITY DRIVE                                  SAINT LOUIS         MO           63141-0000                             SUPPLIERS OR VENDORS       12/4/2018           $4,855.41
ENERGIZER BATTERY                                  533 MARYVILLE
INCORPORATED             VICE PRESIDENT OF SALES   UNIVERSITY DRIVE                                  SAINT LOUIS         MO           63141-0000                             SUPPLIERS OR VENDORS       12/4/2018         $49,860.55
ENERGIZER BATTERY                                  533 MARYVILLE
INCORPORATED             VICE PRESIDENT OF SALES   UNIVERSITY DRIVE                                  SAINT LOUIS         MO           63141-0000                             SUPPLIERS OR VENDORS       12/6/2018           $8,755.26
ENERGIZER BATTERY                                  533 MARYVILLE
INCORPORATED             VICE PRESIDENT OF SALES   UNIVERSITY DRIVE                                  SAINT LOUIS         MO           63141-0000                             SUPPLIERS OR VENDORS       12/6/2018         $75,678.44
ENERSYS INCORPORATED     1604 SOLUTIONS CENTER                                                       CHICAGO             IL           60677-1006                             SUPPLIERS OR VENDORS       11/2/2018        $172,777.97
ENGEBOS HEATING &
COOLING INC              1717 W MATTHEW DRIVE                                                        DEPERE              WI           54115                                  SUPPLIERS OR VENDORS      10/26/2018            $529.61

ENGELS COMMERCIAL
APPLIANCE INCORPORATED   120 PACKERLAND DRIVE                                                        GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS      10/18/2018            $369.26
                                                   ATTN ACCOUNTS          1313 N ATLANTIC SUITE
ENGIE INSIGHT            SHOPKO UTILITIES          RECEIVABLE             5000                       SPOKANE             WA           99201                                  SUPPLIERS OR VENDORS      10/19/2018        $224,401.38
                                                   ATTN ACCOUNTS          1313 N ATLANTIC SUITE
ENGIE INSIGHT            SHOPKO UTILITIES          RECEIVABLE             5000                       SPOKANE             WA           99201                                  SUPPLIERS OR VENDORS      10/20/2018           $4,454.40
                                                   ATTN ACCOUNTS          1313 N ATLANTIC SUITE
ENGIE INSIGHT            SHOPKO UTILITIES          RECEIVABLE             5000                       SPOKANE             WA           99201                                  SUPPLIERS OR VENDORS      10/23/2018        $195,760.85
                                                   ATTN ACCOUNTS          1313 N ATLANTIC SUITE
ENGIE INSIGHT            SHOPKO UTILITIES          RECEIVABLE             5000                       SPOKANE             WA           99201                                  SUPPLIERS OR VENDORS      10/24/2018         $71,204.88
                                                   ATTN ACCOUNTS          1313 N ATLANTIC SUITE
ENGIE INSIGHT            SHOPKO UTILITIES          RECEIVABLE             5000                       SPOKANE             WA           99201                                  SUPPLIERS OR VENDORS      10/26/2018        $279,983.02
                                                   ATTN ACCOUNTS          1313 N ATLANTIC SUITE
ENGIE INSIGHT            SHOPKO UTILITIES          RECEIVABLE             5000                       SPOKANE             WA           99201                                  SUPPLIERS OR VENDORS      10/30/2018        $123,919.79
                                                   ATTN ACCOUNTS          1313 N ATLANTIC SUITE
ENGIE INSIGHT            SHOPKO UTILITIES          RECEIVABLE             5000                       SPOKANE             WA           99201                                  SUPPLIERS OR VENDORS      10/31/2018         $71,645.70
                                                   ATTN ACCOUNTS          1313 N ATLANTIC SUITE
ENGIE INSIGHT            SHOPKO UTILITIES          RECEIVABLE             5000                       SPOKANE             WA           99201                                  SUPPLIERS OR VENDORS       11/2/2018        $259,345.30
                                                   ATTN ACCOUNTS          1313 N ATLANTIC SUITE
ENGIE INSIGHT            SHOPKO UTILITIES          RECEIVABLE             5000                       SPOKANE             WA           99201                                  SUPPLIERS OR VENDORS       11/6/2018        $209,920.48
                                                   ATTN ACCOUNTS          1313 N ATLANTIC SUITE
ENGIE INSIGHT            SHOPKO UTILITIES          RECEIVABLE             5000                       SPOKANE             WA           99201                                  SUPPLIERS OR VENDORS       11/7/2018        $111,097.87
                                                   ATTN ACCOUNTS          1313 N ATLANTIC SUITE
ENGIE INSIGHT            SHOPKO UTILITIES          RECEIVABLE             5000                       SPOKANE             WA           99201                                  SUPPLIERS OR VENDORS       11/9/2018        $196,386.52
                                                   ATTN ACCOUNTS          1313 N ATLANTIC SUITE
ENGIE INSIGHT            SHOPKO UTILITIES          RECEIVABLE             5000                       SPOKANE             WA           99201                                  SUPPLIERS OR VENDORS      11/13/2018        $197,495.93
                                                   ATTN ACCOUNTS          1313 N ATLANTIC SUITE
ENGIE INSIGHT            SHOPKO UTILITIES          RECEIVABLE             5000                       SPOKANE             WA           99201                                  SUPPLIERS OR VENDORS      11/14/2018         $77,044.80
                                                   ATTN ACCOUNTS          1313 N ATLANTIC SUITE
ENGIE INSIGHT            SHOPKO UTILITIES          RECEIVABLE             5000                       SPOKANE             WA           99201                                  SUPPLIERS OR VENDORS      11/16/2018        $197,210.46
                                                   ATTN ACCOUNTS          1313 N ATLANTIC SUITE
ENGIE INSIGHT            SHOPKO UTILITIES          RECEIVABLE             5000                       SPOKANE             WA           99201                                  SUPPLIERS OR VENDORS      11/17/2018           $4,136.40
                                                   ATTN ACCOUNTS          1313 N ATLANTIC SUITE
ENGIE INSIGHT            SHOPKO UTILITIES          RECEIVABLE             5000                       SPOKANE             WA           99201                                  SUPPLIERS OR VENDORS      11/27/2018        $552,743.11
                                                   ATTN ACCOUNTS          1313 N ATLANTIC SUITE
ENGIE INSIGHT            SHOPKO UTILITIES          RECEIVABLE             5000                       SPOKANE             WA           99201                                  SUPPLIERS OR VENDORS      11/30/2018        $308,850.21
                                                   ATTN ACCOUNTS          1313 N ATLANTIC SUITE
ENGIE INSIGHT            SHOPKO UTILITIES          RECEIVABLE             5000                       SPOKANE             WA           99201                                  SUPPLIERS OR VENDORS       12/4/2018        $221,833.00



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                                                                                                                                                                       Reasons for payment or    Dates of     Total Amount or
      Creditor Name              Address1          Address2                Address3                  City              State       Zip              Country                   transfer          Payments            Value
                                            ATTN ACCOUNTS          1313 N ATLANTIC SUITE
ENGIE INSIGHT          SHOPKO UTILITIES     RECEIVABLE             5000                       SPOKANE             WA           99201                                  SUPPLIERS OR VENDORS       12/5/2018          $66,625.12
                                            ATTN ACCOUNTS          1313 N ATLANTIC SUITE
ENGIE INSIGHT          SHOPKO UTILITIES     RECEIVABLE             5000                       SPOKANE             WA           99201                                  SUPPLIERS OR VENDORS      12/12/2018         $620,701.74
                                            ATTN ACCOUNTS          1313 N ATLANTIC SUITE
ENGIE INSIGHT          SHOPKO UTILITIES     RECEIVABLE             5000                       SPOKANE             WA           99201                                  SUPPLIERS OR VENDORS      12/14/2018         $203,074.71
                                            ATTN ACCOUNTS          1313 N ATLANTIC SUITE
ENGIE INSIGHT          SHOPKO UTILITIES     RECEIVABLE             5000                       SPOKANE             WA           99201                                  SUPPLIERS OR VENDORS         1/8/2019           $4,232.40
                                            ATTN ACCOUNTS          1313 N ATLANTIC SUITE
ENGIE INSIGHT          SHOPKO UTILITIES     RECEIVABLE             5000                       SPOKANE             WA           99201                                  SUPPLIERS OR VENDORS         1/8/2019       $1,661,937.89

ENGLEWOOD APPLIANCE
COMPANY INCORPORATED   PO BOX 689788                                                          CHICAGO             IL           60695-9788                             SUPPLIERS OR VENDORS      10/18/2018            $1,415.75

ENGLEWOOD APPLIANCE
COMPANY INCORPORATED   PO BOX 689788                                                          CHICAGO             IL           60695-9788                             SUPPLIERS OR VENDORS      10/19/2018              $55.00

ENGLEWOOD APPLIANCE
COMPANY INCORPORATED   PO BOX 689788                                                          CHICAGO             IL           60695-9788                             SUPPLIERS OR VENDORS      10/22/2018          $89,442.92

ENGLEWOOD APPLIANCE
COMPANY INCORPORATED   PO BOX 689788                                                          CHICAGO             IL           60695-9788                             SUPPLIERS OR VENDORS      10/23/2018          $13,034.90

ENGLEWOOD APPLIANCE
COMPANY INCORPORATED   PO BOX 689788                                                          CHICAGO             IL           60695-9788                             SUPPLIERS OR VENDORS      10/24/2018         $113,913.62

ENGLEWOOD APPLIANCE
COMPANY INCORPORATED   PO BOX 689788                                                          CHICAGO             IL           60695-9788                             SUPPLIERS OR VENDORS      10/25/2018          $56,185.85

ENGLEWOOD APPLIANCE
COMPANY INCORPORATED   PO BOX 689788                                                          CHICAGO             IL           60695-9788                             SUPPLIERS OR VENDORS      10/26/2018              $43.50

ENGLEWOOD APPLIANCE
COMPANY INCORPORATED   PO BOX 689788                                                          CHICAGO             IL           60695-9788                             SUPPLIERS OR VENDORS      10/29/2018         $493,173.63

ENGLEWOOD APPLIANCE
COMPANY INCORPORATED   PO BOX 689788                                                          CHICAGO             IL           60695-9788                             SUPPLIERS OR VENDORS      10/30/2018            $9,274.32

ENGLEWOOD APPLIANCE
COMPANY INCORPORATED   PO BOX 689788                                                          CHICAGO             IL           60695-9788                             SUPPLIERS OR VENDORS      10/31/2018         $135,529.61

ENGLEWOOD APPLIANCE
COMPANY INCORPORATED   PO BOX 689788                                                          CHICAGO             IL           60695-9788                             SUPPLIERS OR VENDORS       11/1/2018          $15,269.80

ENGLEWOOD APPLIANCE
COMPANY INCORPORATED   PO BOX 689788                                                          CHICAGO             IL           60695-9788                             SUPPLIERS OR VENDORS       11/2/2018         $154,713.30

ENGLEWOOD APPLIANCE
COMPANY INCORPORATED   PO BOX 689788                                                          CHICAGO             IL           60695-9788                             SUPPLIERS OR VENDORS       11/5/2018        $1,513,182.81

ENGLEWOOD APPLIANCE
COMPANY INCORPORATED   PO BOX 689788                                                          CHICAGO             IL           60695-9788                             SUPPLIERS OR VENDORS       11/7/2018         $260,173.52




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                                                                                                                                                                       Reasons for payment or    Dates of    Total Amount or
     Creditor Name              Address1          Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value

ENGLEWOOD APPLIANCE
COMPANY INCORPORATED   PO BOX 689788                                                          CHICAGO             IL           60695-9788                             SUPPLIERS OR VENDORS       11/8/2018        $358,692.30

ENGLEWOOD APPLIANCE
COMPANY INCORPORATED   PO BOX 689788                                                          CHICAGO             IL           60695-9788                             SUPPLIERS OR VENDORS       11/9/2018         $82,846.52

ENGLEWOOD APPLIANCE
COMPANY INCORPORATED   PO BOX 689788                                                          CHICAGO             IL           60695-9788                             SUPPLIERS OR VENDORS      11/12/2018        $606,579.28

ENGLEWOOD APPLIANCE
COMPANY INCORPORATED   PO BOX 689788                                                          CHICAGO             IL           60695-9788                             SUPPLIERS OR VENDORS      11/22/2018        $628,393.22

ENGLEWOOD APPLIANCE
COMPANY INCORPORATED   PO BOX 689788                                                          CHICAGO             IL           60695-9788                             SUPPLIERS OR VENDORS      11/23/2018         $16,249.60

ENGLEWOOD APPLIANCE
COMPANY INCORPORATED   PO BOX 689788                                                          CHICAGO             IL           60695-9788                             SUPPLIERS OR VENDORS      11/26/2018        $599,383.77

ENGLEWOOD APPLIANCE
COMPANY INCORPORATED   PO BOX 689788                                                          CHICAGO             IL           60695-9788                             SUPPLIERS OR VENDORS      11/28/2018        $113,582.14

ENGLEWOOD APPLIANCE
COMPANY INCORPORATED   PO BOX 689788                                                          CHICAGO             IL           60695-9788                             SUPPLIERS OR VENDORS      11/29/2018        $202,828.12

ENGLEWOOD APPLIANCE
COMPANY INCORPORATED   PO BOX 689788                                                          CHICAGO             IL           60695-9788                             SUPPLIERS OR VENDORS      11/30/2018         $18,601.46

ENGLEWOOD APPLIANCE
COMPANY INCORPORATED   PO BOX 689788                                                          CHICAGO             IL           60695-9788                             SUPPLIERS OR VENDORS       12/3/2018        $432,235.19

ENGLEWOOD APPLIANCE
COMPANY INCORPORATED   PO BOX 689788                                                          CHICAGO             IL           60695-9788                             SUPPLIERS OR VENDORS       12/5/2018            $128.89

ENGLEWOOD APPLIANCE
COMPANY INCORPORATED   PO BOX 689788                                                          CHICAGO             IL           60695-9788                             SUPPLIERS OR VENDORS      12/18/2018        $499,337.60

ENGLEWOOD APPLIANCE
COMPANY INCORPORATED   PO BOX 689788                                                          CHICAGO             IL           60695-9788                             SUPPLIERS OR VENDORS      12/20/2018        $476,545.95

ENGLEWOOD APPLIANCE
COMPANY INCORPORATED   PO BOX 689788                                                          CHICAGO             IL           60695-9788                             SUPPLIERS OR VENDORS      12/21/2018            $577.84

ENGLEWOOD APPLIANCE
COMPANY INCORPORATED   PO BOX 689788                                                          CHICAGO             IL           60695-9788                             SUPPLIERS OR VENDORS      12/27/2018        $389,079.95
ENI-JR286 INC          C/O ENI-JR286 INC    PO BOX 912150                                     DENVER              CO           80291-2150                             SUPPLIERS OR VENDORS      11/13/2018         $32,015.70
ENI-JR286 INC          C/O ENI-JR286 INC    PO BOX 912150                                     DENVER              CO           80291-2150                             SUPPLIERS OR VENDORS      11/15/2018         $13,455.00
ENJG LIMITED           315 LAKEWOOD DRIVE                                                     GADSDEN             AL           35901                                  SUPPLIERS OR VENDORS      11/15/2018         $20,375.00
ENJG LIMITED           315 LAKEWOOD DRIVE                                                     GADSDEN             AL           35901                                  SUPPLIERS OR VENDORS      12/19/2018         $20,375.00
ENJOY LIFE NATURAL
BRANDS LLC             DEPT 10365           PO BOX 87618                                      CHICAGO             IL           60680-0618                             SUPPLIERS OR VENDORS      10/18/2018           $4,265.82
ENJOY LIFE NATURAL
BRANDS LLC             DEPT 10365           PO BOX 87618                                      CHICAGO             IL           60680-0618                             SUPPLIERS OR VENDORS      11/15/2018           $8,694.89




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                                                                                                                                                                                 Reasons for payment or    Dates of    Total Amount or
      Creditor Name                Address1                 Address2                  Address3                   City            State       Zip              Country                   transfer          Payments           Value
ENNCO DISPLAY SYSTEMS    6975 176TH AVENUE NE SUITE
INCORPORATED             350                                                                            REDMOND             WA           98052                                  SUPPLIERS OR VENDORS      10/18/2018            $400.00
                         ENTERPRISE FM CUSTOMER
ENTERPRISE FM TRUST      BILLING                      PO BOX 800089                                     KANSAS CITY         MO           64180-0089                             SUPPLIERS OR VENDORS      11/16/2018         $65,875.87
                         ENTERPRISE FM CUSTOMER
ENTERPRISE FM TRUST      BILLING                      PO BOX 800089                                     KANSAS CITY         MO           64180-0089                             SUPPLIERS OR VENDORS      12/21/2018         $59,542.35
                         ENTERPRISE FM CUSTOMER
ENTERPRISE FM TRUST      BILLING                      PO BOX 800089                                     KANSAS CITY         MO           64180                                  SUPPLIERS OR VENDORS      12/15/2018              $1.00
ENTERPRISE RENT A CAR    PO BOX 402383                                                                  ATLANTA             GA           30384                                  SUPPLIERS OR VENDORS      10/18/2018         $10,221.60
ENTERPRISE RENT A CAR    PO BOX 402383                                                                  ATLANTA             GA           30384                                  SUPPLIERS OR VENDORS      10/25/2018          $4,075.90
ENTERPRISE RENT A CAR    PO BOX 402383                                                                  ATLANTA             GA           30384                                  SUPPLIERS OR VENDORS       11/1/2018          $2,970.51
ENTERPRISE RENT A CAR    PO BOX 402383                                                                  ATLANTA             GA           30384                                  SUPPLIERS OR VENDORS       11/8/2018          $8,132.25
ENTERPRISE RENT A CAR    PO BOX 402383                                                                  ATLANTA             GA           30384                                  SUPPLIERS OR VENDORS      11/15/2018          $5,983.51
ENTERPRISE RENT A CAR    DAMAGE RECOVERY UMIT         PO BOX 842264                                     DALLAS              TX           75284-2264                             SUPPLIERS OR VENDORS      11/26/2018            $439.49
ENTERPRISE RENT A CAR    DAMAGE RECOVERY UMIT         PO BOX 842264                                     DALLAS              TX           75284-2264                             SUPPLIERS OR VENDORS      11/26/2018          $4,819.17
ENTERPRISE RENT A CAR    PO BOX 402383                                                                  ATLANTA             GA           30384                                  SUPPLIERS OR VENDORS      11/29/2018         $14,322.53
ENTERPRISE RENT A CAR    PO BOX 402383                                                                  ATLANTA             GA           30384                                  SUPPLIERS OR VENDORS      12/17/2018          $9,211.67
ENTERPRISE RENT A CAR    PO BOX 402383                                                                  ATLANTA             GA           30384                                  SUPPLIERS OR VENDORS      12/20/2018          $1,076.93
ENTERPRISE RENT A CAR    PO BOX 402383                                                                  ATLANTA             GA           30384                                  SUPPLIERS OR VENDORS        1/4/2019          $8,231.54
ENVIROCON TECHNOLOGIES
INC                      PO BOX 3547                                                                    AUSTIN              TX           78764                                  SUPPLIERS OR VENDORS      10/26/2018           $3,018.40
EOS PRODUCTS LLC         DEPT CH 19451                                                                  PALATINE            IL           60055-9451                             SUPPLIERS OR VENDORS      10/18/2018           $2,629.31
EOS PRODUCTS LLC         DEPT CH 19451                                                                  PALATINE            IL           60055-9451                             SUPPLIERS OR VENDORS      10/25/2018             $791.77
EOS PRODUCTS LLC         DEPT CH 19451                                                                  PALATINE            IL           60055-9451                             SUPPLIERS OR VENDORS       11/8/2018           $5,307.96
EOS PRODUCTS LLC         DEPT CH 19451                                                                  PALATINE            IL           60055-9451                             SUPPLIERS OR VENDORS      11/15/2018           $2,001.73
EOS PRODUCTS LLC         DEPT CH 19451                                                                  PALATINE            IL           60055-9451                             SUPPLIERS OR VENDORS      11/22/2018           $4,381.99

EPIC LABS INCORPORATED   PAYMENT PROCESSING CENTER PO BOX 816187                                        DALLAS              TX           75381-6187                             SUPPLIERS OR VENDORS      11/13/2018            $150.55

EPIC LABS INCORPORATED   PAYMENT PROCESSING CENTER PO BOX 816187                                        DALLAS              TX           75381-6187                             SUPPLIERS OR VENDORS      11/23/2018            $754.71

EPIC LABS INCORPORATED   PAYMENT PROCESSING CENTER PO BOX 816187                                        DALLAS              TX           75381-6187                             SUPPLIERS OR VENDORS      12/12/2018            $367.73

EPIC LABS INCORPORATED   PAYMENT PROCESSING CENTER PO BOX 816187                                        DALLAS              TX           75381-6187                             SUPPLIERS OR VENDORS      12/27/2018            $205.92
                                                   8301 PROFESSIONAL
EPILEPSY FOUNDATION      ATTN MO LYONS             PLACE E STE 200                                      LANDOVER            MD           20785                                  SUPPLIERS OR VENDORS      12/13/2018               $1.00
EPOCA INCORPORATED       931 CLINT MOORE ROAD                                                           BOCA RATON          FL           33487-0000                             SUPPLIERS OR VENDORS      10/18/2018           $9,894.50
EPOCA INCORPORATED       931 CLINT MOORE ROAD                                                           BOCA RATON          FL           33487-0000                             SUPPLIERS OR VENDORS      10/25/2018           $2,216.00
EPOCA INCORPORATED       931 CLINT MOORE ROAD                                                           BOCA RATON          FL           33487-0000                             SUPPLIERS OR VENDORS       11/1/2018           $3,060.00
EPOCA INCORPORATED       931 CLINT MOORE ROAD                                                           BOCA RATON          FL           33487-0000                             SUPPLIERS OR VENDORS       11/8/2018           $1,848.00
EPOCA INCORPORATED       931 CLINT MOORE ROAD                                                           BOCA RATON          FL           33487-0000                             SUPPLIERS OR VENDORS      11/15/2018           $1,065.00
EPOCA INCORPORATED       931 CLINT MOORE ROAD                                                           BOCA RATON          FL           33487-0000                             SUPPLIERS OR VENDORS      11/22/2018           $1,070.00
EPOCH EVERLASTING PLAY
LLC                      PO BOX 823401                                                                  PHILADELPHIA        PA           19182-3401                             SUPPLIERS OR VENDORS      10/18/2018            $324.00
EPOCH EVERLASTING PLAY
LLC                      PO BOX 823401                                                                  PHILADELPHIA        PA           19182-3401                             SUPPLIERS OR VENDORS      10/26/2018           $6,173.90
EPOCH EVERLASTING PLAY
LLC                      PO BOX 823401                                                                  PHILADELPHIA        PA           19182-3401                             SUPPLIERS OR VENDORS      10/30/2018         $20,918.20

EPTA AMERICA             50 MORTON STREET UNIT A                                                        EAST RUTHERFORD NJ               07073                                  SUPPLIERS OR VENDORS      10/23/2018           $5,584.00

EPTA AMERICA             50 MORTON STREET UNIT A                                                        EAST RUTHERFORD NJ               07073                                  SUPPLIERS OR VENDORS       11/2/2018           $4,717.20

EPTA AMERICA             50 MORTON STREET UNIT A                                                        EAST RUTHERFORD NJ               07073                                  SUPPLIERS OR VENDORS      11/16/2018           $4,679.80



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                                                                                                                                                                               Reasons for payment or    Dates of    Total Amount or
      Creditor Name              Address1                 Address2                  Address3                   City            State       Zip              Country                   transfer          Payments           Value

EPTA AMERICA           50 MORTON STREET UNIT A                                                        EAST RUTHERFORD NJ               07073                                  SUPPLIERS OR VENDORS      11/30/2018           $8,140.00
EQK BRIDGEVIEW PLAZA   GRAND PACIFIC HOLDINGS
INCORPORATED           CORPORATION                  PO BOX 301683                                     DALLAS              TX           75303-1683                             SUPPLIERS OR VENDORS       11/1/2018         $43,789.36
EQK BRIDGEVIEW PLAZA   GRAND PACIFIC HOLDINGS
INCORPORATED           CORPORATION                  PO BOX 301683                                     DALLAS              TX           75303-1683                             SUPPLIERS OR VENDORS       12/3/2018         $43,789.36
ERIC ALLEN             19087 W. TREEND RD.                                                            POST FALLS          ID           83854                                  SUPPLIERS OR VENDORS       11/9/2018             $23.00
ERIC BIEGHLER          STORE 082                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/6/2018             $94.83
ERIC BOSON             305 SOUTH CONCORD AVE                                                          MARSHFIELD          WI           54449                                  SUPPLIERS OR VENDORS      10/22/2018             $20.00
ERIC BOSON             305 SOUTH CONCORD AVE                                                          MARSHFIELD          WI           54449                                  SUPPLIERS OR VENDORS       12/7/2018             $10.01
ERIC BUESSING          STORE 697                    SHOPKO EMPLOYEE        1710 N STREET              SENECA              KS           66538                                  SUPPLIERS OR VENDORS      10/26/2018            $384.98
ERIC BUESSING          STORE 697                    SHOPKO EMPLOYEE        1710 N STREET              SENECA              KS           66538                                  SUPPLIERS OR VENDORS      12/11/2018            $105.44
ERIC GLASGOW           STORE 078                    STORE EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/15/2018            $100.05
ERIC HASTINGS MOWING   ERIC HASTINGS                PO BOX 431                                        TUSCOLA             IL           61953                                  SUPPLIERS OR VENDORS      11/16/2018            $200.00

ERIC KOHLBECK          STORE OPERATIONS/STORE 178 SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/2/2018            $500.42

ERIC KOHLBECK          STORE OPERATIONS/STORE 178 SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/27/2018            $514.29

ERIC KOHLBECK          STORE OPERATIONS/STORE 178 SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/30/2018            $221.52

ERIC KOHLBECK          STORE OPERATIONS/STORE 178 SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/14/2018            $214.55

ERIC KOHLBECK          STORE OPERATIONS/STORE 178 SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/20/2018            $210.73

ERIC KOHLBECK          STORE OPERATIONS/STORE 178   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/29/2018            $242.46
ERIC PETERSON          1426 TREDER                                                                    STEVENS POINT       WI           54482                                  SUPPLIERS OR VENDORS      11/26/2018             $25.00
ERIC R JOHNSON         STORE 015                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/6/2018            $394.05
ERIC RATHSACK          STORE 042                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       11/2/2018             $68.67
ERIC RATHSACK          STORE 042                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS        1/5/2019            $294.34
ERIC SCHUELER          N7591 D LANE                                                                   WATERTOWN           WI           53094                                  SUPPLIERS OR VENDORS      10/31/2018              $5.00
ERIC TAYLOR            750 KARBERG LANE                                                               PORT EDWARDS        WI           54469                                  SUPPLIERS OR VENDORS      11/26/2018             $23.00
ERICA CISLER           STORE 2-062                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/16/2018            $516.07
ERICA CISLER           STORE 2-062                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        1/5/2019            $699.15
                       5200 W NOB HILL BLVD APT #
ERICA GRATTON          H347                                                                           YAKIMA              WA           98908                                  SUPPLIERS OR VENDORS       11/5/2018              $7.60
ERICA HEYING           306 RAYMOND RD                                                                 WAUNAKEE            WI           53597                                  SUPPLIERS OR VENDORS      12/13/2018             $10.00
ERICA LOOS             5606 COUNTRY LANE                                                              WAUSAU              WI           54401                                  SUPPLIERS OR VENDORS       11/9/2018             $25.00
ERICA LOWREY           1432 WILD IRIS STREET                                                          SUN PRAIRIE         WI           53590                                  SUPPLIERS OR VENDORS      11/26/2018              $5.95
ERICA WAGNER           W2279 CTY RD W H                                                               MT CALVARY          WI           53057                                  SUPPLIERS OR VENDORS      11/26/2018              $1.97
ERICK SPERLOEN         3467 HALVERSON RD                                                              STOUGHTON           WI           53589                                  SUPPLIERS OR VENDORS       11/9/2018             $18.00
ERICKA L WELLS         STORE 075                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/2/2018            $420.19

ERIK KARABA            STORE 674                    SHOPKO EMPLOYEE        1003 CENTRAL AVENUE W CLARION                  IA           50525                                  SUPPLIERS OR VENDORS      11/16/2018            $115.54
ERIKA BALBUENA         3602 S 120TH ST                                                           OMAHA                    NE           68144                                  SUPPLIERS OR VENDORS      10/22/2018             $45.00

ERIKA CASTILLO         201 RIDGEMONT DR.                                                              EAST WENATCHEE      WA           98802                                  SUPPLIERS OR VENDORS      12/17/2018             $18.01
ERIKA JUAREZ           2523 E. SPICEWOOD AVE                                                          NAMPA               ID           83687                                  SUPPLIERS OR VENDORS       12/3/2018             $25.00
ERIKA MISH             STORE 4-050                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/25/2018             $74.25
ERIN DAGGETT           STORE 4-079                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/8/2018            $296.25
ERIN DIDION            1505 STACEY LANE                                                               FORT ATKINSON       WI           53538                                  SUPPLIERS OR VENDORS       11/5/2018             $25.00
ERIN GLYNN             717 NORTH STREET                                                               KIEL                WI           53042                                  SUPPLIERS OR VENDORS      11/14/2018             $25.00
ERIN GLYNN             717 NORTH STREET                                                               KIEL                WI           53042                                  SUPPLIERS OR VENDORS      12/21/2018             $25.00
ERIN JUNEMANN          615 N 3RD AVE                                                                  STRATFORD           WI           54484                                  SUPPLIERS OR VENDORS      11/30/2018             $25.00



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                                                                                                                                                                                      Reasons for payment or    Dates of     Total Amount or
       Creditor Name                    Address1                   Address2               Address3                 City              State       Zip              Country                    transfer          Payments            Value
ERIN M ZACHARIAS            21 WOODMERE CT APT 3                                                            APPLETON            WI           54911                                  SUPPLIERS OR VENDORS        10/31/2018               $21.24
ERIN RUGGLES                1338 ARMSTRONG PLACE                                                            EAUCLAIRE           WI           54701                                  SUPPLIERS OR VENDORS        11/15/2018               $36.00
ERIN SCHAFER                STORE 100                     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/27/2018              $147.15
ERIN STEFFECK               EMPLOYEE RELATIONS            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/2/2018              $439.83
ERIN TAMAR                  STORE 2-133                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/11/2018              $226.61
ERIN WOODY                  STORE 790                     SHOPKO EMPLOYEE        409 JUNCTION AVENUE        STANLEY             WI           54768                                  SUPPLIERS OR VENDORS        10/18/2018              $643.71
ERIN WOODY                  STORE 790                     SHOPKO EMPLOYEE        409 JUNCTION AVENUE        STANLEY             WI           54768                                  SUPPLIERS OR VENDORS        10/25/2018              $263.30
ERIN WOODY                  STORE 790                     SHOPKO EMPLOYEE        409 JUNCTION AVENUE        STANLEY             WI           54768                                  SUPPLIERS OR VENDORS         11/1/2018              $252.74
ERIN WOODY                  STORE 790                     SHOPKO EMPLOYEE        409 JUNCTION AVENUE        STANLEY             WI           54768                                  SUPPLIERS OR VENDORS         11/8/2018              $183.86
ERIN WOODY                  STORE 790                     SHOPKO EMPLOYEE        409 JUNCTION AVENUE        STANLEY             WI           54768                                  SUPPLIERS OR VENDORS        11/15/2018              $231.59
ERIN WOODY                  STORE 790                     SHOPKO EMPLOYEE        409 JUNCTION AVENUE        STANLEY             WI           54768                                  SUPPLIERS OR VENDORS        12/13/2018               $78.92
ERIN WOODY                  STORE 790                     SHOPKO EMPLOYEE        409 JUNCTION AVENUE        STANLEY             WI           54768                                  SUPPLIERS OR VENDORS        12/20/2018               $78.92
ERINN BASKIN                N417 COUNTY ROAD D                                                              EAU GALLE           WI           54737                                  SUPPLIERS OR VENDORS        12/20/2018               $25.00
ERLING CARPENTER            3190 WHITETAIL LANE           UNIT A                                            OSHKOSH             WI           54904                                  SUPPLIERS OR VENDORS         12/7/2018               $15.00
ERMA MOSES                  303 W LINCOLN ST                                                                LYONS               KS           67554                                  SUPPLIERS OR VENDORS         11/9/2018              $217.40
ERMALINDA GROSSINGER        116 1ST ST. N.W.                                                                RICHMOND            MN           56368                                  SUPPLIERS OR VENDORS         12/7/2018               $34.70
ERNESTO MARTINEZ            513 LONE EAGLE DR.                                                              MADISON             WI           53713                                  SUPPLIERS OR VENDORS        12/19/2018                $6.30
ERVIN KRAFT                 1628 8TH AVE.                                                                   DALLAS              WI           54733                                  SUPPLIERS OR VENDORS         11/1/2018               $70.00
ERWIN HABAN                 1831 HWY 310                                                                    MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS        10/24/2018               $40.30
ERX NETWORK                 PO BOX 25485                                                                    SALT LAKE CITY      UT           84125-0485                             SUPPLIERS OR VENDORS         11/8/2018          $118,391.02
ERX NETWORK                 PO BOX 25485                                                                    SALT LAKE CITY      UT           84125-0485                             SUPPLIERS OR VENDORS        11/29/2018          $141,750.59
ERX NETWORK                 PO BOX 25485                                                                    SALT LAKE CITY      UT           84125-0485                             SUPPLIERS OR VENDORS          1/4/2019          $123,013.92
ESEQUIEL MARTINEZ           2805 RIVERVIEW BLVD                                                             OMAHA               NE           68108                                  SUPPLIERS OR VENDORS        10/31/2018               $79.92

ESSCO ACQUISITION CORP      VICE PRESIDENT OF SALES       1933 HIGHLAND ROAD                                TWINSBURG           OH           44087                                  SUPPLIERS OR VENDORS       10/18/2018           $12,952.33

ESSCO ACQUISITION CORP      VICE PRESIDENT OF SALES       1933 HIGHLAND ROAD                                TWINSBURG           OH           44087                                  SUPPLIERS OR VENDORS       11/15/2018           $26,090.34
ESSELTE AMERICA             SEE 9066034                                                                     CHICAGO             IL           60677-4005                             SUPPLIERS OR VENDORS       10/25/2018              $379.91
ESSELTE AMERICA             SEE 9066034                                                                     CHICAGO             IL           60677-4005                             SUPPLIERS OR VENDORS        11/1/2018              $759.38
ESSELTE AMERICA             SEE 9066034                                                                     CHICAGO             IL           60677-4005                             SUPPLIERS OR VENDORS        11/8/2018              $642.63
ESSELTE AMERICA             SEE 9066034                                                                     CHICAGO             IL           60677-4005                             SUPPLIERS OR VENDORS       11/22/2018              $294.53
ESSELTE AMERICA             SEE 9066034                                                                     CHICAGO             IL           60677-4005                             SUPPLIERS OR VENDORS       11/29/2018            $1,175.55
                            UNITED STATIONERS FINANCIAL
ESSENDANT CO                SERVICES                      PO BOX 7780 1724                                  PHILADELPHIA        PA           19182-1724                             SUPPLIERS OR VENDORS       10/18/2018          $256,844.63
                            UNITED STATIONERS FINANCIAL
ESSENDANT CO                SERVICES                      PO BOX 7780 1724                                  PHILADELPHIA        PA           19182-1724                             SUPPLIERS OR VENDORS       10/25/2018          $211,262.60
                            UNITED STATIONERS FINANCIAL
ESSENDANT CO                SERVICES                      PO BOX 7780 1724                                  PHILADELPHIA        PA           19182-1724                             SUPPLIERS OR VENDORS        11/1/2018          $232,003.57
                            UNITED STATIONERS FINANCIAL
ESSENDANT CO                SERVICES                      PO BOX 7780 1724                                  PHILADELPHIA        PA           19182-1724                             SUPPLIERS OR VENDORS        11/8/2018           $52,776.56
                            UNITED STATIONERS FINANCIAL
ESSENDANT CO                SERVICES                      PO BOX 7780 1724                                  PHILADELPHIA        PA           19182-1724                             SUPPLIERS OR VENDORS       11/15/2018          $174,862.04
                            UNITED STATIONERS FINANCIAL
ESSENDANT CO                SERVICES                      PO BOX 7780 1724                                  PHILADELPHIA        PA           19182-1724                             SUPPLIERS OR VENDORS       11/22/2018          $206,724.26
                            UNITED STATIONERS FINANCIAL
ESSENDANT CO                SERVICES                      PO BOX 7780 1724                                  PHILADELPHIA        PA           19182-1724                             SUPPLIERS OR VENDORS       11/29/2018           $99,332.01
ESSILOR OF AMERICA DBA X-
CEL                         BOX 815489                                                                      DALLAS              TX           75381-5489                             SUPPLIERS OR VENDORS       11/15/2018            $2,266.64
ESSILOR OF AMERICA DBA X-
CEL                         BOX 815489                                                                      DALLAS              TX           75381-5489                             SUPPLIERS OR VENDORS       12/12/2018            $2,533.15
ESTEL THEIS                 12 STAGECOACH LN                                                                VAUGHN              MT           59487                                  SUPPLIERS OR VENDORS       10/25/2018              $166.58
ESTHER BROWN                55 MAPLEWOOD DR                                                                 STEVENS POINT       WI           54481                                  SUPPLIERS OR VENDORS       10/24/2018               $69.00
ESTHERVILLE RED POWER       WESTER RED POWER              2703 MURRAY ROAD       PO BOX 117                 ESTHERVILLE         IA           51334                                  SUPPLIERS OR VENDORS        11/1/2018              $114.40
ESTHERVILLE RED POWER       WESTER RED POWER              2703 MURRAY ROAD       PO BOX 117                 ESTHERVILLE         IA           51334                                  SUPPLIERS OR VENDORS       11/15/2018              $121.82



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      Creditor Name                Address1                Address2                 Address3                  City               State       Zip              Country                    transfer          Payments            Value
ESTHERVILLE RED POWER     WESTER RED POWER           2703 MURRAY ROAD        PO BOX 117                 ESTHERVILLE         IA           51334                                  SUPPLIERS OR VENDORS        12/17/2018              $119.70

ETELISE "LUA" TORKELSON   626 25TH ST APT. 3                                                            LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS        11/9/2018               $45.00
ETERNAL FORTUNE FASHION   CIT GROUP COMMERCIAL
LLC                       SERVICES INC               PO BOX 1036                                        CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/23/2018           $19,452.61
ETHEL ANDERSON            210 SOTH GARFIELD STREET   APT 2                                              LAKE BENTON         MN           56149                                  SUPPLIERS OR VENDORS        11/5/2018               $28.31
ETHEL WICHMAN             1731 S. HANCE DR           APT. 306                                           FREEPORT            IL           61032                                  SUPPLIERS OR VENDORS       10/25/2018               $34.00
ETHICAL PRODUCTS
INCORPORATED              VICE PRESIDENT OF SALES    27 FEDERAL PLAZA                                   BLOOMFIELD          NJ           07003                                  SUPPLIERS OR VENDORS       10/23/2018            $2,663.73
ETHICAL PRODUCTS
INCORPORATED              VICE PRESIDENT OF SALES    27 FEDERAL PLAZA                                   BLOOMFIELD          NJ           07003                                  SUPPLIERS OR VENDORS       10/30/2018            $5,365.75
ETHICAL PRODUCTS
INCORPORATED              VICE PRESIDENT OF SALES    27 FEDERAL PLAZA                                   BLOOMFIELD          NJ           07003                                  SUPPLIERS OR VENDORS       11/13/2018            $4,573.97
ETHICAL PRODUCTS
INCORPORATED              VICE PRESIDENT OF SALES    27 FEDERAL PLAZA                                   BLOOMFIELD          NJ           07003                                  SUPPLIERS OR VENDORS       11/27/2018            $2,521.16
ETHICAL PRODUCTS
INCORPORATED              VICE PRESIDENT OF SALES    27 FEDERAL PLAZA                                   BLOOMFIELD          NJ           07003                                  SUPPLIERS OR VENDORS        12/6/2018            $2,265.41
ETIENNETTE LEFLER         8100 S HAZELWOOD DR                                                           LINCOLN             NE           68510                                  SUPPLIERS OR VENDORS       10/31/2018                $7.86
ETIENNETTE LEFLER         8100 S HAZELWOOD DR                                                           LINCOLN             NE           68510                                  SUPPLIERS OR VENDORS       12/13/2018               $60.85

EUGENE BOOMER             NORTH 10057 MOHAWKSIN RD                                                      TOMAHAWK            WI           54487                                  SUPPLIERS OR VENDORS       11/29/2018               $57.01

EUGENE BOOMER             NORTH 10057 MOHAWKSIN RD                                                      TOMAHAWK            WI           54487                                  SUPPLIERS OR VENDORS        12/7/2018               $11.99
EUGENE BRONKEMA           309 CHIPPEWA LN                                                               DIXON               IL           61021                                  SUPPLIERS OR VENDORS       12/17/2018               $16.64
EUGENE EAKE               3602 FAIRVIEW RD                                                              NEENAH              WI           54956                                  SUPPLIERS OR VENDORS        12/7/2018               $25.00
EUGENE LAMBERT            2208 E 2ND ST                                                                 SIOUX FALLS         SD           57103                                  SUPPLIERS OR VENDORS       11/12/2018               $27.00
EUGENE MALEK              2800 4TH ST NW                                                                MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS        12/3/2018               $60.00
EUGENE MILLER             41365 15TH ST                                                                 JANESVILLE          MN           56048                                  SUPPLIERS OR VENDORS       11/12/2018               $13.87
                          RAINER DEVELOPMENT
EUGENE P MAYER            COMPANY                    415 N 1ST STREET                                   YAKIMA              WA           98101                                  SUPPLIERS OR VENDORS       11/15/2018           $16,745.64
                          RAINER DEVELOPMENT
EUGENE P MAYER            COMPANY                    415 N 1ST STREET                                   YAKIMA              WA           98101                                  SUPPLIERS OR VENDORS       11/15/2018           $16,745.65
                          RAINER DEVELOPMENT
EUGENE P MAYER            COMPANY                    415 N 1ST STREET                                   YAKIMA              WA           98101                                  SUPPLIERS OR VENDORS       12/19/2018           $16,745.64
                          RAINER DEVELOPMENT
EUGENE P MAYER            COMPANY                    415 N 1ST STREET                                   YAKIMA              WA           98101                                  SUPPLIERS OR VENDORS       12/19/2018           $16,745.65
EUGENE PIECHOWSKI         33953 124TH AVE N                                                             AVON                MN           56310                                  SUPPLIERS OR VENDORS       10/24/2018               $42.48
EUGENE POGREBA            520 ANGELA COURT                                                              KIMBERLY            WI           54136                                  SUPPLIERS OR VENDORS        12/3/2018                $4.00
EUGENE VEENENDALL         4547N SISSABAGAMA ROAD                                                        STONE LAKE          WI           54876                                  SUPPLIERS OR VENDORS       11/29/2018               $44.80
EULALIO CECILIO           307 S UNIVERSITY AVE                                                          BEAVER DAM          WI           53916                                  SUPPLIERS OR VENDORS       10/19/2018               $25.00
EVA SCHMIDT               1129 EAST LARK STREET                                                         BRANDON             SD           57005                                  SUPPLIERS OR VENDORS       10/24/2018               $48.00
EVA SCHMIDT               1129 EAST LARK STREET                                                         BRANDON             SD           57005                                  SUPPLIERS OR VENDORS       10/26/2018               $12.00
EVA SCHUTTE               25462 JONES AVE                                                               RUSHMORE            MN           56168                                  SUPPLIERS OR VENDORS        12/3/2018               $26.30
EVAN CALLAHAN             185 NORTHBREEZE DR.                                                           APPLETON            WI           54911                                  SUPPLIERS OR VENDORS        11/9/2018               $69.00
EVAN LETOURNEAU           3777 VANLANEN RD                                                              GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS       12/19/2018                $2.10
EVE REED                  612 PHIPPS                                                                    RICE LAKE           WI           54868                                  SUPPLIERS OR VENDORS       10/31/2018               $20.00
EVELYN HUGGETT            1805 JOSLYN #340                                                              HELENA              MT           59601                                  SUPPLIERS OR VENDORS       12/11/2018               $23.98
EVELYN KIRKPATRICK        PO BOX 342                                                                    EAGLE               NE           68347                                  SUPPLIERS OR VENDORS        12/3/2018               $60.85
EVELYN KOHL               1419 E DEWEY ST                                                               APPLETON            WI           54915                                  SUPPLIERS OR VENDORS        11/1/2018              $137.98
EVELYN MALPASS            21330 N COBURG RD                                                             HARRISBURG          OR           97446                                  SUPPLIERS OR VENDORS       10/30/2018              $146.71
EVELYN MARCHANT           1044 MONTANA AVE #D                                                           LAUREL              MT           59044                                  SUPPLIERS OR VENDORS        11/1/2018               $15.20
EVELYN PATTERSON          312 CLEVELAND AVENUE                                                          KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS        12/3/2018               $27.50
EVELYN SCHUG              2040 CTY HWY C                                                                RUDOLPH             WI           54475                                  SUPPLIERS OR VENDORS       10/26/2018               $23.00
EVELYN SWANTON            305 S CEDAR                                                                   TOWNSEND            MT           59644                                  SUPPLIERS OR VENDORS       10/25/2018               $25.00



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                                                                                                                                                                              Reasons for payment or    Dates of     Total Amount or
      Creditor Name              Address1               Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
EVELYN VANDER GALIEN   111 PARK ST                BOX 254                                           FRIESLAND           WI           53935                                  SUPPLIERS OR VENDORS        11/29/2018               $33.04
EVELYN VERLEY          PO BOX 105                                                                   QUINNESEC           MI           49876                                  SUPPLIERS OR VENDORS        12/13/2018               $87.80
EVELYN VERLEY          PO BOX 105                                                                   QUINNESEC           MI           49876                                  SUPPLIERS OR VENDORS        12/17/2018               $25.20
EVELYN WILSON          8171 FLAJOLE RD                                                              BENTLEY             MI           48613                                  SUPPLIERS OR VENDORS        12/19/2018                $3.09
EVENFLO JUVENILE
FURNITURE COMPANY      PO BOX 392497                                                                PITTSBURGH          PA           15251-9497                             SUPPLIERS OR VENDORS       10/18/2018            $1,406.79
EVENFLO JUVENILE
FURNITURE COMPANY      PO BOX 392497                                                                PITTSBURGH          PA           15251-9497                             SUPPLIERS OR VENDORS       10/19/2018            $1,421.17
EVENFLO JUVENILE
FURNITURE COMPANY      PO BOX 392497                                                                PITTSBURGH          PA           15251-9497                             SUPPLIERS OR VENDORS       10/22/2018            $6,949.01
EVENFLO JUVENILE
FURNITURE COMPANY      PO BOX 392497                                                                PITTSBURGH          PA           15251-9497                             SUPPLIERS OR VENDORS       10/24/2018              $918.80
EVENFLO JUVENILE
FURNITURE COMPANY      PO BOX 392497                                                                PITTSBURGH          PA           15251-9497                             SUPPLIERS OR VENDORS       10/25/2018              $592.20
EVENFLO JUVENILE
FURNITURE COMPANY      PO BOX 392497                                                                PITTSBURGH          PA           15251-9497                             SUPPLIERS OR VENDORS       10/26/2018              $589.46
EVENFLO JUVENILE
FURNITURE COMPANY      PO BOX 392497                                                                PITTSBURGH          PA           15251-9497                             SUPPLIERS OR VENDORS        11/1/2018            $6,384.81
EVENFLO JUVENILE
FURNITURE COMPANY      PO BOX 392497                                                                PITTSBURGH          PA           15251-9497                             SUPPLIERS OR VENDORS        11/2/2018            $3,665.44
EVENFLO JUVENILE
FURNITURE COMPANY      PO BOX 392497                                                                PITTSBURGH          PA           15251-9497                             SUPPLIERS OR VENDORS        11/5/2018            $2,906.94
EVENFLO JUVENILE
FURNITURE COMPANY      PO BOX 392497                                                                PITTSBURGH          PA           15251-9497                             SUPPLIERS OR VENDORS        11/7/2018            $1,719.54
EVENFLO JUVENILE
FURNITURE COMPANY      PO BOX 392497                                                                PITTSBURGH          PA           15251-9497                             SUPPLIERS OR VENDORS        11/9/2018            $1,189.87
EVENFLO JUVENILE
FURNITURE COMPANY      PO BOX 392497                                                                PITTSBURGH          PA           15251-9497                             SUPPLIERS OR VENDORS       11/12/2018              $806.36
EVENFLO JUVENILE
FURNITURE COMPANY      PO BOX 392497                                                                PITTSBURGH          PA           15251-9497                             SUPPLIERS OR VENDORS       11/14/2018              $753.33
EVENFLO JUVENILE
FURNITURE COMPANY      PO BOX 392497                                                                PITTSBURGH          PA           15251-9497                             SUPPLIERS OR VENDORS       11/15/2018            $1,637.98
EVENFLO JUVENILE
FURNITURE COMPANY      PO BOX 392497                                                                PITTSBURGH          PA           15251-9497                             SUPPLIERS OR VENDORS       11/22/2018            $5,177.44
EVENFLO JUVENILE
FURNITURE COMPANY      PO BOX 392497                                                                PITTSBURGH          PA           15251-9497                             SUPPLIERS OR VENDORS       11/23/2018            $1,313.31
EVENFLO JUVENILE
FURNITURE COMPANY      PO BOX 392497                                                                PITTSBURGH          PA           15251-9497                             SUPPLIERS OR VENDORS       11/26/2018            $2,682.59
EVENFLO JUVENILE
FURNITURE COMPANY      PO BOX 392497                                                                PITTSBURGH          PA           15251-9497                             SUPPLIERS OR VENDORS       11/27/2018              $678.96
EVENFLO JUVENILE
FURNITURE COMPANY      PO BOX 392497                                                                PITTSBURGH          PA           15251-9497                             SUPPLIERS OR VENDORS       11/28/2018            $1,047.12
EVENFLO JUVENILE
FURNITURE COMPANY      PO BOX 392497                                                                PITTSBURGH          PA           15251-9497                             SUPPLIERS OR VENDORS       11/29/2018              $105.07
EVENFLO JUVENILE
FURNITURE COMPANY      PO BOX 392497                                                                PITTSBURGH          PA           15251-9497                             SUPPLIERS OR VENDORS        12/4/2018              $221.78
EVENFLO JUVENILE
FURNITURE COMPANY      PO BOX 392497                                                                PITTSBURGH          PA           15251-9497                             SUPPLIERS OR VENDORS        12/5/2018              $528.34
EVENFLO JUVENILE
FURNITURE COMPANY      PO BOX 392497                                                                PITTSBURGH          PA           15251-9497                             SUPPLIERS OR VENDORS       12/11/2018            $3,020.94
EVERETT JOHNSON        355 COUNTY J                                                                 FRIENDSHIP          WI           53934                                  SUPPLIERS OR VENDORS       11/26/2018               $42.24
EVERETT JOHNSON        355 COUNTY J                                                                 FRIENDSHIP          WI           53934                                  SUPPLIERS OR VENDORS       11/29/2018               $10.56
EVERGAGE INC           212 ELM STREET SUITE 402                                                     SOMERVILLE          MA           02144                                  SUPPLIERS OR VENDORS        11/1/2018            $5,000.00




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                                                                                                                                                                                  Reasons for payment or    Dates of    Total Amount or
      Creditor Name                 Address1                 Address2                  Address3                   City            State       Zip              Country                   transfer          Payments           Value
EVERGREEN ENTERPRISES OF
VIRGINIA LLC               PO BOX 602961                                                                 CHARLOTTE           NC           28260-2961                             SUPPLIERS OR VENDORS      10/26/2018           $4,137.00
EVERGREEN ENTERPRISES OF
VIRGINIA LLC               PO BOX 602961                                                                 CHARLOTTE           NC           28260-2961                             SUPPLIERS OR VENDORS       11/6/2018         $44,258.77
EVERGREEN ENTERPRISES OF
VIRGINIA LLC               PO BOX 602961                                                                 CHARLOTTE           NC           28260-2961                             SUPPLIERS OR VENDORS       11/8/2018         $50,461.20
EVERGREEN ENTERPRISES OF
VIRGINIA LLC               PO BOX 602961                                                                 CHARLOTTE           NC           28260-2961                             SUPPLIERS OR VENDORS       11/9/2018           $4,048.94
EVERGREEN ENTERPRISES OF
VIRGINIA LLC               PO BOX 602961                                                                 CHARLOTTE           NC           28260-2961                             SUPPLIERS OR VENDORS      11/16/2018            $336.96
EVER-GREEN LANDSCAPE                                  2088 N ROCK RIVER
MANAGEMENT LLC             DANIEL MACKIN              CIRCLE                                             DEPERE              WI           54115-4135                             SUPPLIERS OR VENDORS      10/18/2018            $116.05
EVER-GREEN LANDSCAPE                                  2088 N ROCK RIVER
MANAGEMENT LLC             DANIEL MACKIN              CIRCLE                                             DEPERE              WI           54115-4135                             SUPPLIERS OR VENDORS      11/29/2018             $94.95
EVER-GREEN LANDSCAPE                                  2088 N ROCK RIVER
MANAGEMENT LLC             DANIEL MACKIN              CIRCLE                                             DEPERE              WI           54115-4135                             SUPPLIERS OR VENDORS      12/17/2018            $121.33
EVER-GREEN LANDSCAPE                                  2088 N ROCK RIVER
MANAGEMENT LLC             DANIEL MACKIN              CIRCLE                                             DEPERE              WI           54115-4135                             SUPPLIERS OR VENDORS      12/20/2018            $121.33
EVERGREEN SHIPPING         16000 NORTH DALLAS
AGENCY                     PARKWAY STE 400            823 COMMERCE DRIVE                                 DALLAS              TX           75248                                  SUPPLIERS OR VENDORS      10/18/2018         $68,230.00
EVERGREEN SHIPPING         16000 NORTH DALLAS
AGENCY                     PARKWAY STE 400            823 COMMERCE DRIVE                                 DALLAS              TX           75248                                  SUPPLIERS OR VENDORS      10/25/2018         $81,040.00
EVERGREEN SHIPPING         16000 NORTH DALLAS
AGENCY                     PARKWAY STE 400            823 COMMERCE DRIVE                                 DALLAS              TX           75248                                  SUPPLIERS OR VENDORS       11/8/2018         $41,720.00
EVERGREEN SHIPPING         16000 NORTH DALLAS
AGENCY                     PARKWAY STE 400            823 COMMERCE DRIVE                                 DALLAS              TX           75248                                  SUPPLIERS OR VENDORS      11/27/2018         $66,110.00
EVERGREEN SHIPPING         16000 NORTH DALLAS
AGENCY                     PARKWAY STE 400            823 COMMERCE DRIVE                                 DALLAS              TX           75248                                  SUPPLIERS OR VENDORS       12/4/2018         $13,260.00
EVERGREEN SHIPPING         16000 NORTH DALLAS
AGENCY                     PARKWAY STE 400            823 COMMERCE DRIVE                                 DALLAS              TX           75248                                  SUPPLIERS OR VENDORS      12/28/2018         $79,990.00
EVERGREEN SHIPPING         16000 NORTH DALLAS
AGENCY                     PARKWAY STE 400            823 COMMERCE DRIVE                                 DALLAS              TX           75248                                  SUPPLIERS OR VENDORS       1/11/2019         $18,770.00

EVERYTHING LEGWEAR LLC     2211 HAWKS LANDING                                                            FAYETTEVILLE        AR           72704-0000                             SUPPLIERS OR VENDORS      10/18/2018         $24,666.53

EVERYTHING LEGWEAR LLC     2211 HAWKS LANDING                                                            FAYETTEVILLE        AR           72704-0000                             SUPPLIERS OR VENDORS      10/25/2018         $22,558.84
EVOLUTION LIGHTING LLC     PO BOX 740429                                                                 ATLANTA             GA           30374-0000                             SUPPLIERS OR VENDORS       11/1/2018             $94.00
EVOLUTION LIGHTING LLC     PO BOX 740429                                                                 ATLANTA             GA           30374-0000                             SUPPLIERS OR VENDORS       11/8/2018            $206.00
EVONNE HOLCOMBE            478 RAINBOW BEACH RD                                                          NEENAH              WI           54956                                  SUPPLIERS OR VENDORS      10/22/2018             $25.00
EXAM WORKS CLINICAL        2397 HUNTCREST WAY SUITE
SOLUTIONS                  200                                                                           LAWRENCEVILLE       GA           30043                                  SUPPLIERS OR VENDORS      10/19/2018            $450.00
EXAM WORKS CLINICAL        2397 HUNTCREST WAY SUITE
SOLUTIONS                  200                                                                           LAWRENCEVILLE       GA           30043                                  SUPPLIERS OR VENDORS      11/16/2018            $450.00
EXAM WORKS CLINICAL        2397 HUNTCREST WAY SUITE
SOLUTIONS                  200                                                                           LAWRENCEVILLE       GA           30043                                  SUPPLIERS OR VENDORS      12/22/2018            $450.00

EXCEL GARDEN PRODUCTS      CENTRAL GARDEN & PET       FILE 57541                                         LOS ANGELES         CA           90074-7541                             SUPPLIERS OR VENDORS      10/18/2018            $392.44

EXCEL GARDEN PRODUCTS      CENTRAL GARDEN & PET       FILE 57541                                         LOS ANGELES         CA           90074-7541                             SUPPLIERS OR VENDORS      10/18/2018         $14,270.54

EXCEL GARDEN PRODUCTS      CENTRAL GARDEN & PET       FILE 57541                                         LOS ANGELES         CA           90074-7541                             SUPPLIERS OR VENDORS      10/25/2018         $12,309.29

EXCEL GARDEN PRODUCTS      CENTRAL GARDEN & PET       FILE 57541                                         LOS ANGELES         CA           90074-7541                             SUPPLIERS OR VENDORS       11/1/2018         $11,594.82




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                                                                                                                                                                                 Reasons for payment or    Dates of    Total Amount or
      Creditor Name                 Address1                Address2                  Address3                   City            State       Zip              Country                   transfer          Payments           Value

EXCEL GARDEN PRODUCTS     CENTRAL GARDEN & PET       FILE 57541                                         LOS ANGELES         CA           90074-7541                             SUPPLIERS OR VENDORS       11/8/2018           $3,655.68

EXCEL GARDEN PRODUCTS     CENTRAL GARDEN & PET       FILE 57541                                         LOS ANGELES         CA           90074-7541                             SUPPLIERS OR VENDORS      11/15/2018           $8,120.83

EXCEL GARDEN PRODUCTS     CENTRAL GARDEN & PET       FILE 57541                                         LOS ANGELES         CA           90074-7541                             SUPPLIERS OR VENDORS      11/15/2018         $98,787.59

EXCEL GARDEN PRODUCTS     CENTRAL GARDEN & PET       FILE 57541                                         LOS ANGELES         CA           90074-7541                             SUPPLIERS OR VENDORS      11/22/2018           $4,324.59

EXCEL GARDEN PRODUCTS     CENTRAL GARDEN & PET       FILE 57541                                         LOS ANGELES         CA           90074-7541                             SUPPLIERS OR VENDORS      11/29/2018           $4,315.41
EXCEL PLASTICS LLC        1021 INTERNATIONAL DRIVE                                                      FERGUS FALLS        MN           56537                                  SUPPLIERS OR VENDORS      11/27/2018             $445.50
EXPERIS FINANCE US LLC    29973 NETWORK PLACE                                                           CHICAGO             IL           60673-1299                             SUPPLIERS OR VENDORS      10/18/2018           $8,443.54
EXPERIS FINANCE US LLC    29973 NETWORK PLACE                                                           CHICAGO             IL           60673-1299                             SUPPLIERS OR VENDORS       11/1/2018           $9,830.44
EXPERIS FINANCE US LLC    29973 NETWORK PLACE                                                           CHICAGO             IL           60673-1299                             SUPPLIERS OR VENDORS      11/15/2018           $9,038.78
EXPERIS FINANCE US LLC    29973 NETWORK PLACE                                                           CHICAGO             IL           60673-1299                             SUPPLIERS OR VENDORS      11/29/2018           $9,383.05
EXPERIS FINANCE US LLC    29973 NETWORK PLACE                                                           CHICAGO             IL           60673-1299                             SUPPLIERS OR VENDORS      12/17/2018           $8,797.92
EXPERIS FINANCE US LLC    29973 NETWORK PLACE                                                           CHICAGO             IL           60673-1299                             SUPPLIERS OR VENDORS        1/4/2019           $9,747.19
EXPRESS SERVICES INC      PO BOX 203901                                                                 DALLAS              TX           75320-3901                             SUPPLIERS OR VENDORS      11/29/2018              $95.04
EXPRESS SERVICES INC      PO BOX 203901                                                                 DALLAS              TX           75320-3901                             SUPPLIERS OR VENDORS      12/17/2018           $1,747.35
EXPRESS STAMP
INCORPORATED              P O BOX 445                                                                   BUTLER              WI           53007                                  SUPPLIERS OR VENDORS      10/18/2018             $37.25
EXPRESS STAMP
INCORPORATED              P O BOX 445                                                                   BUTLER              WI           53007                                  SUPPLIERS OR VENDORS      10/25/2018               $9.12
EXPRESS STAMP
INCORPORATED              P O BOX 445                                                                   BUTLER              WI           53007                                  SUPPLIERS OR VENDORS       11/1/2018             $14.90
EXPRESS STAMP
INCORPORATED              P O BOX 445                                                                   BUTLER              WI           53007                                  SUPPLIERS OR VENDORS       11/8/2018             $43.57
EXPRESS STAMP
INCORPORATED              P O BOX 445                                                                   BUTLER              WI           53007                                  SUPPLIERS OR VENDORS      11/15/2018             $44.70
EXPRESS STAMP
INCORPORATED              P O BOX 445                                                                   BUTLER              WI           53007                                  SUPPLIERS OR VENDORS      11/29/2018             $63.66
EXPRESS STAMP
INCORPORATED              P O BOX 445                                                                   BUTLER              WI           53007                                  SUPPLIERS OR VENDORS      12/17/2018            $114.42
EXPRESS STAMP
INCORPORATED              P O BOX 445                                                                   BUTLER              WI           53007                                  SUPPLIERS OR VENDORS      12/21/2018             $45.70
                                                                                                                                                                                PURCHASE OF
EXPRESSIVE DESIGN GROUP 49 GARFIELD STREET                                                              HOLYOKE, MA         MA           01040                                  MERCHANDISE               10/17/2018         $96,481.44
                                                                                                                                                                                PURCHASE OF
EXPRESSIVE DESIGN GROUP 49 GARFIELD STREET                                                              HOLYOKE, MA         MA           01040                                  MERCHANDISE               10/19/2018         $14,095.00
                                                                                                                                                                                PURCHASE OF
EXPRESSIVE DESIGN GROUP 49 GARFIELD STREET                                                              HOLYOKE, MA         MA           01040                                  MERCHANDISE                11/1/2018         $23,410.34
                                                                                                                                                                                PURCHASE OF
EXPRESSIVE DESIGN GROUP 49 GARFIELD STREET                                                              HOLYOKE, MA         MA           01040                                  MERCHANDISE                11/7/2018           $5,600.00
                                                                                                                                                                                PURCHASE OF
EXPRESSIVE DESIGN GROUP   49 GARFIELD STREET                                                            HOLYOKE, MA         MA           01040                                  MERCHANDISE               12/21/2018         $63,097.78
EXXEL OUTDOORS            PO BOX 52572                                                                  PHOENIX             AZ           85072-2572                             SUPPLIERS OR VENDORS      10/18/2018         $16,278.84
EXXEL OUTDOORS            PO BOX 52572                                                                  PHOENIX             AZ           85072-2572                             SUPPLIERS OR VENDORS      10/25/2018         $36,880.26
EXXEL OUTDOORS            PO BOX 52572                                                                  PHOENIX             AZ           85072-2572                             SUPPLIERS OR VENDORS       11/1/2018         $24,214.15
EXXEL OUTDOORS            PO BOX 52572                                                                  PHOENIX             AZ           85072-2572                             SUPPLIERS OR VENDORS       11/8/2018          $9,810.51
EXXEL OUTDOORS            PO BOX 52572                                                                  PHOENIX             AZ           85072-2572                             SUPPLIERS OR VENDORS      11/15/2018         $42,640.98
EXXEL OUTDOORS            PO BOX 52572                                                                  PHOENIX             AZ           85072-2572                             SUPPLIERS OR VENDORS      11/22/2018         $37,177.11
EXXEL OUTDOORS            PO BOX 52572                                                                  PHOENIX             AZ           85072-2572                             SUPPLIERS OR VENDORS      11/29/2018          $4,828.80
EYE KRAFT OPTICAL
INCORPORATED              PO BOX 400                                                                    ST CLOUD            MN           56302-0400                             SUPPLIERS OR VENDORS       11/1/2018             $18.65



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                                                                                                                                                                               Reasons for payment or    Dates of    Total Amount or
        Creditor Name             Address1                Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
EYE KRAFT OPTICAL
INCORPORATED            PO BOX 400                                                                    ST CLOUD            MN           56302-0400                             SUPPLIERS OR VENDORS       11/8/2018               $1.85
EYE KRAFT OPTICAL
INCORPORATED            PO BOX 400                                                                    ST CLOUD            MN           56302-0400                             SUPPLIERS OR VENDORS      12/12/2018             $16.95
EYE Q EYEWEAR           3340 SCHERER DRIVE STE D                                                      ST PETERSBURG       FL           33176                                  SUPPLIERS OR VENDORS      10/18/2018          $1,803.00
EYE Q EYEWEAR           3340 SCHERER DRIVE STE D                                                      ST PETERSBURG       FL           33176                                  SUPPLIERS OR VENDORS      10/25/2018             $24.50
EYE Q EYEWEAR           3340 SCHERER DRIVE STE D                                                      ST PETERSBURG       FL           33176                                  SUPPLIERS OR VENDORS       11/1/2018          $2,244.90
EYE Q EYEWEAR           3340 SCHERER DRIVE STE D                                                      ST PETERSBURG       FL           33176                                  SUPPLIERS OR VENDORS       11/8/2018            $107.50
EYE Q EYEWEAR           3340 SCHERER DRIVE STE D                                                      ST PETERSBURG       FL           33176                                  SUPPLIERS OR VENDORS      11/15/2018          $1,777.50
EYE Q EYEWEAR           3340 SCHERER DRIVE STE D                                                      ST PETERSBURG       FL           33176                                  SUPPLIERS OR VENDORS      11/22/2018              $9.00
EYE Q EYEWEAR           3340 SCHERER DRIVE STE D                                                      ST PETERSBURG       FL           33176                                  SUPPLIERS OR VENDORS      11/29/2018          $1,645.00
EYE Q EYEWEAR           3340 SCHERER DRIVE STE D                                                      ST PETERSBURG       FL           33176                                  SUPPLIERS OR VENDORS      12/12/2018          $1,169.45
EYE Q EYEWEAR           3340 SCHERER DRIVE STE D                                                      ST PETERSBURG       FL           33176                                  SUPPLIERS OR VENDORS      12/21/2018             $88.00
EYE Q EYEWEAR           3340 SCHERER DRIVE STE D                                                      ST PETERSBURG       FL           33176                                  SUPPLIERS OR VENDORS      12/27/2018              $4.50
EYEWEAR BY R O I        2235 W PARKSIDE LANE                                                          PHOENIX             AZ           85027                                  SUPPLIERS OR VENDORS      10/18/2018             $44.00
EYEWEAR BY R O I        2235 W PARKSIDE LANE                                                          PHOENIX             AZ           85027                                  SUPPLIERS OR VENDORS      10/25/2018         $39,061.45
EYEWEAR BY R O I        2235 W PARKSIDE LANE                                                          PHOENIX             AZ           85027                                  SUPPLIERS OR VENDORS       11/1/2018            $564.90
EYEWEAR BY R O I        2235 W PARKSIDE LANE                                                          PHOENIX             AZ           85027                                  SUPPLIERS OR VENDORS       11/8/2018         $13,713.65
EYEWEAR BY R O I        2235 W PARKSIDE LANE                                                          PHOENIX             AZ           85027                                  SUPPLIERS OR VENDORS      12/12/2018         $55,518.43
EYEWEAR BY R O I        2235 W PARKSIDE LANE                                                          PHOENIX             AZ           85027                                  SUPPLIERS OR VENDORS      12/18/2018         $23,954.45
F & S LANDSCAPE
INCORPORATED            401 S EVANS STREET                                                            TECUMSEH            MI           49286                                  SUPPLIERS OR VENDORS       11/1/2018            $220.00
F & S LANDSCAPE
INCORPORATED            401 S EVANS STREET                                                            TECUMSEH            MI           49286                                  SUPPLIERS OR VENDORS       11/8/2018             $55.00
F & S LANDSCAPE
INCORPORATED            401 S EVANS STREET                                                            TECUMSEH            MI           49286                                  SUPPLIERS OR VENDORS      12/17/2018            $220.00
                                                   500 GEORGE
F G X INTERNATIONAL     ATTN ACCTS RECEIVABLE      WASHINGTON HWY                                     SMITHFIELD          RI           02917-0000                             SUPPLIERS OR VENDORS      10/18/2018           $6,704.70
                                                   SHOPKO STORES
FABIANO BROTHERS        CASH ON DELIVERY           INCORPORATED            PAM TO ORACLE              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/18/2018             $12.85
                                                   SHOPKO STORES
FABIANO BROTHERS        CASH ON DELIVERY           INCORPORATED            PAM TO ORACLE              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/22/2018             $49.60
                                                   SHOPKO STORES
FABIANO BROTHERS        CASH ON DELIVERY           INCORPORATED            PAM TO ORACLE              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/29/2018               $4.60
                                                   SHOPKO STORES
FABIANO BROTHERS        CASH ON DELIVERY           INCORPORATED            PAM TO ORACLE              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/1/2018            $263.00
                                                   SHOPKO STORES
FABIANO BROTHERS        CASH ON DELIVERY           INCORPORATED            PAM TO ORACLE              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/5/2018             $83.95
                                                   SHOPKO STORES
FABIANO BROTHERS        CASH ON DELIVERY           INCORPORATED            PAM TO ORACLE              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/8/2018            $401.10
                                                   SHOPKO STORES
FABIANO BROTHERS        CASH ON DELIVERY           INCORPORATED            PAM TO ORACLE              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/22/2018            $328.95
                                                   SHOPKO STORES
FABIANO BROTHERS        CASH ON DELIVERY           INCORPORATED            PAM TO ORACLE              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/26/2018            $154.85
                                                   SHOPKO STORES
FABIANO BROTHERS        CASH ON DELIVERY           INCORPORATED            PAM TO ORACLE              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/29/2018            $138.85
                                                   SHOPKO STORES
FABIANO BROTHERS        CASH ON DELIVERY           INCORPORATED            PAM TO ORACLE              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/11/2018            $455.40
                                                   SHOPKO STORES
FABIANO BROTHERS        CASH ON DELIVERY           INCORPORATED            PAM TO ORACLE              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/14/2018            $456.00
                                                   SHOPKO STORES
FABIANO BROTHERS        CASH ON DELIVERY           INCORPORATED            PAM TO ORACLE              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/27/2018           $2,791.85
FAIRMONT TRUE VALUE     MEMBER 19159               462 S STATE STREET                                 FAIRMONT            MN           56031                                  SUPPLIERS OR VENDORS      10/25/2018               $1.86
FAIRMONT TRUE VALUE     MEMBER 19159               462 S STATE STREET                                 FAIRMONT            MN           56031                                  SUPPLIERS OR VENDORS       11/1/2018               $3.39



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                                                                                                                                                                                    Reasons for payment or    Dates of     Total Amount or
       Creditor Name                  Address1                Address2                  Address3                City               State       Zip              Country                    transfer          Payments            Value
FAITH BUTLER               818 S 4TH ST                                                                   DAYTON              WA           99328                                  SUPPLIERS OR VENDORS         11/9/2018               $85.00
FAITH COOK                 403 HWY 35 #4                                                                  HUDSON              WI           54016                                  SUPPLIERS OR VENDORS        11/12/2018               $30.00
FAITH STUBINSKI            175 LAFOLLETTE ST                                                              IOLA                WI           54945                                  SUPPLIERS OR VENDORS         11/1/2018               $25.00
FALESHA ROSSETTI           STORE 082                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/22/2018              $821.75

FALL RIVER COUNTY HERALD 334 S CHICAGO ST                                                                 HOT SPRINGS         SD           57747                                  SUPPLIERS OR VENDORS       11/13/2018              $280.00
                         CIT GROUP COMMERCIAL
FAMMA GROUP              SERVICES INC                   PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       10/19/2018          $141,326.77
                         CIT GROUP COMMERCIAL
FAMMA GROUP              SERVICES INC                   PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       10/23/2018              $882.00
                         CIT GROUP COMMERCIAL
FAMMA GROUP              SERVICES INC                   PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS        11/1/2018           $11,802.54
                         CIT GROUP COMMERCIAL
FAMMA GROUP              SERVICES INC                   PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS        11/2/2018              $504.00
                         CIT GROUP COMMERCIAL
FAMMA GROUP              SERVICES INC                   PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS        11/8/2018          $361,022.19
                         CIT GROUP COMMERCIAL
FAMMA GROUP              SERVICES INC                   PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/30/2018          $105,812.00
                         CIT GROUP COMMERCIAL
FAMMA GROUP              SERVICES INC                   PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS        12/3/2018           $40,011.00
FANTASIA ACCESSORIES     31 WEST 34TH STREET ROOM
LIMITED                  501                                                                              NEW YORK            NY           10001-3009                             SUPPLIERS OR VENDORS       10/25/2018           $22,445.75
FANTASIA ACCESSORIES     31 WEST 34TH STREET ROOM
LIMITED                  501                                                                              NEW YORK            NY           10001-3009                             SUPPLIERS OR VENDORS        11/8/2018           $10,130.92
FANTASIA ACCESSORIES     31 WEST 34TH STREET ROOM
LIMITED                  501                                                                              NEW YORK            NY           10001-3009                             SUPPLIERS OR VENDORS       11/15/2018           $57,306.40
FANTASIA ACCESSORIES     31 WEST 34TH STREET ROOM
LIMITED                  501                                                                              NEW YORK            NY           10001-3009                             SUPPLIERS OR VENDORS       11/22/2018            $1,428.00
FARIBAULT FOODS          3401 Park Ave NW                                                                 Faribault           MN           55021                                  SUPPLIERS OR VENDORS       10/25/2018            $7,199.12
FARIBAULT FOODS          3401 Park Ave NW                                                                 Faribault           MN           55021                                  SUPPLIERS OR VENDORS        11/1/2018            $2,493.10
FARIBAULT FOODS          3401 Park Ave NW                                                                 Faribault           MN           55021                                  SUPPLIERS OR VENDORS        11/8/2018           $11,146.08
FARIBAULT FOODS          3401 Park Ave NW                                                                 Faribault           MN           55021                                  SUPPLIERS OR VENDORS       11/15/2018            $5,217.63
FARIBAULT FOODS          3401 Park Ave NW                                                                 Faribault           MN           55021                                  SUPPLIERS OR VENDORS       11/22/2018           $18,623.62
FARIBAULT FOODS          3401 Park Ave NW                                                                 Faribault           MN           55021                                  SUPPLIERS OR VENDORS       11/29/2018            $2,309.08
FARMERS ALLIANCE ENERGY
DIVISION                 PO BOX 1286                                                                      MITCHELL            SD           57301                                  SUPPLIERS OR VENDORS       11/29/2018               $30.00

FASES WATER TREATMENT &
RENTAL INC                 206 THIRD AVENUE NE                                                            DEMOTTE             IN           46310                                  SUPPLIERS OR VENDORS        11/2/2018               $48.15
FASHION ACCESSORY
BAZAAR STARPOINT DIV       ROSENTHAL & ROSENTHAL INC    PO BOX 88926                                      CHICAGO             IL           60695-1926                             SUPPLIERS OR VENDORS       10/23/2018               $45.00
FASHION ANGELS DIV M G
PARTNERS LLP               306 N MILWAUKEE                                                                MILWAUKEE           WI           53202                                  SUPPLIERS OR VENDORS        11/1/2018           $65,382.00
FASHION ANGELS DIV M G
PARTNERS LLP               306 N MILWAUKEE                                                                MILWAUKEE           WI           53202                                  SUPPLIERS OR VENDORS        11/8/2018           $19,560.00
                                                                                                                                                                                  PURCHASE OF
FASHION AVENUE KNITS INC 225 WEST 37TH STREET FLOOR 8                                                     NEW YORK            NY           10018                                  MERCHANDISE                10/19/2018          $203,149.01
                                                                                                                                                                                  PURCHASE OF
FASHION AVENUE KNITS INC   225 WEST 37TH STREET FLOOR 8                                                   NEW YORK            NY           10018                                  MERCHANDISE                 11/6/2018          $280,469.75
FASHION AVENUE KNITS       ROSENTHAL & ROSENTHAL
INCORPORATED               INCORPORATED                 PO BOX 88926                                      CHICAGO             IL           60695-1926                             SUPPLIERS OR VENDORS       10/23/2018              $961.49
FASHION SNOOPS
INCORPORATED               39W 38th Street              5TH FLOOR                                         NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS       10/19/2018                $1.00
FAUSTO SANCHEZ             5902 WHITMAN ST                                                                YAKIMA              WA           98903                                  SUPPLIERS OR VENDORS       12/13/2018               $10.00



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                                                                                                                                                                                   Reasons for payment or    Dates of     Total Amount or
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FAYE BRINKMAN             5901 ROLLING HILLS                                                             LINCOLN             NE           68512                                  SUPPLIERS OR VENDORS        10/31/2018               $14.44
FAYE BRINKMAN             5901 ROLLING HILLS                                                             LINCOLN             NE           68512                                  SUPPLIERS OR VENDORS        10/31/2018               $45.48

FAYE OTT                  2440 2ND STREET SOUTH                                                          WISCONSIN RAPIDS WI              54494                                  SUPPLIERS OR VENDORS       10/24/2018               $42.24

FAYE OTT                  2440 2ND STREET SOUTH                                                          WISCONSIN RAPIDS    WI           54494                                  SUPPLIERS OR VENDORS       10/31/2018               $10.56
FAZOLIS                   3730 GATEWAY DRIVE                                                             EAU CLAIRE          WI           54701                                  SUPPLIERS OR VENDORS       11/26/2018              $594.07
FAZOLIS RESTAURANT        FAZOLIS RESTAURANTS LLC      9370 HIGHWAY 16                                   ONALASKA            WI           54650                                  SUPPLIERS OR VENDORS       10/18/2018              $440.00
FAZOLIS RESTAURANT        FAZOLIS RESTAURANTS LLC      2012 PRATT AVENUE                                 BELLEVUE            NE           68123                                  SUPPLIERS OR VENDORS       11/15/2018              $342.40
FBA INTERNATIONAL USA     9111 S LA CIENEGA BLVD SUITE
INC                       101                                                                            INGLEWOOD           CA           90301                                  SUPPLIERS OR VENDORS       11/27/2018           $78,028.97
FBA INTERNATIONAL USA     9111 S LA CIENEGA BLVD SUITE
INC                       101                                                                            INGLEWOOD           CA           90301                                  SUPPLIERS OR VENDORS       11/30/2018           $31,676.18
FBA INTERNATIONAL USA     9111 S LA CIENEGA BLVD SUITE
INC                       101                                                                            INGLEWOOD           CA           90301                                  SUPPLIERS OR VENDORS        12/4/2018            $9,127.33
FEDERAL HEATH SIGN
COMPANY                   DEPT #41283                 PO BOX 650823                                      DALLAS              TX           75265                                  SUPPLIERS OR VENDORS       10/27/2018                $1.00
FEDERAL HEATH SIGN
COMPANY                   DEPT #41283                 PO BOX 650823                                      DALLAS              TX           75265                                  SUPPLIERS OR VENDORS       11/16/2018            $7,836.51
                          FEDERAL EXPRESS
FEDEX                     CORPORATION                 PO BOX 94515                                       PALATINE            IL           60094-4515                             SUPPLIERS OR VENDORS        12/7/2018              $590.23
                          FEDERAL EXPRESS
FEDEX                     CORPORATION                 PO BOX 94515                                       PALATINE            IL           60094-4515                             SUPPLIERS OR VENDORS       12/14/2018               $81.27
FEDEX FREIGHT WEST
INCORPORATED              DEPT CH                     PO BOX 10306                                       PALATINE            IL           60055-0306                             SUPPLIERS OR VENDORS        11/8/2018            $4,498.01
FEDEX GROUND
INCORPORATED              PO BOX 371461                                                                  PITTSBURGH          PA           15250-7741                             SUPPLIERS OR VENDORS        11/6/2018               $40.50
FEDEX GROUND
INCORPORATED              PO BOX 371461                                                                  PITTSBURGH          PA           15250-7741                             SUPPLIERS OR VENDORS        11/9/2018               $13.50
FELICIA PODESZWA          STORE 171                   SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/25/2018               $21.26
FELIX WERY                E275 HWY 54                                                                    LUXEMBURG           WI           54217                                  SUPPLIERS OR VENDORS       10/19/2018               $60.02

FELLOWES INCORPORATED     SHOPKO STORES               PO BOX 19060            DISC 06/19/06              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/15/2018               $88.80

FELLOWES INCORPORATED     SHOPKO STORES               PO BOX 19060            DISC 06/19/06              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/5/2018            $1,187.84

FERGUS COUNTY TREASURER   712 W MAIN                                                                     LEWISTON            MT           59457                                  SUPPLIERS OR VENDORS       11/26/2018           $15,050.43
FERGUS VASS               314 NORTH RUTLAND AVE                                                          BROOKLYN            WI           53521                                  SUPPLIERS OR VENDORS       12/19/2018               $20.00
FERN DEL DEBBIO           W8772 PARK STREET                                                              PEMBINE             WI           54156                                  SUPPLIERS OR VENDORS       11/12/2018                $3.00
FERN SMITH                1420 W. ARLINGTON                                                              LINCOLN             NE           68522                                  SUPPLIERS OR VENDORS       11/28/2018               $32.77
FERNE VIRCHOW             81610 110TH ST                                                                 GLENVILLE           MN           56036                                  SUPPLIERS OR VENDORS       10/24/2018               $28.31
FERNE VIRCHOW             81610 110TH ST                                                                 GLENVILLE           MN           56036                                  SUPPLIERS OR VENDORS       11/13/2018                $7.08
FEROLITO VULTAGGIO &
SONS DBA HORNELL          5 DAKOTA DRIVE STE 205      PAM TO ORACLE                                      LAKE SUCCESS        NY           11042                                  SUPPLIERS OR VENDORS       10/23/2018           $11,438.72
FEROLITO VULTAGGIO &
SONS DBA HORNELL          5 DAKOTA DRIVE STE 205      PAM TO ORACLE                                      LAKE SUCCESS        NY           11042                                  SUPPLIERS OR VENDORS        11/6/2018           $12,815.84
FEROLITO VULTAGGIO &
SONS DBA HORNELL          5 DAKOTA DRIVE STE 205      PAM TO ORACLE                                      LAKE SUCCESS        NY           11042                                  SUPPLIERS OR VENDORS       11/27/2018           $11,727.37
FERRANDINO & SON
INCORPORATED              71 CAROLYN BOULEVARD                                                           FARMINGDALE         NY           11735                                  SUPPLIERS OR VENDORS        11/1/2018           $17,642.74
FERRANDINO & SON
INCORPORATED              71 CAROLYN BOULEVARD                                                           FARMINGDALE         NY           11735                                  SUPPLIERS OR VENDORS       12/14/2018          $304,483.04
FERRANDINO & SON
INCORPORATED              71 CAROLYN BOULEVARD                                                           FARMINGDALE         NY           11735                                  SUPPLIERS OR VENDORS       12/19/2018           $17,642.74



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FERRARA CANDY COMPANY PO BOX 5507                                                                          CAROL STREAM        IL           60197-5507                             SUPPLIERS OR VENDORS      10/18/2018         $19,106.07

FERRARA CANDY COMPANY PO BOX 5507                                                                          CAROL STREAM        IL           60197-5507                             SUPPLIERS OR VENDORS      10/25/2018         $13,291.92

FERRARA CANDY COMPANY PO BOX 5507                                                                          CAROL STREAM        IL           60197-5507                             SUPPLIERS OR VENDORS       11/8/2018         $52,560.48

FERRARA CANDY COMPANY PO BOX 5507                                                                          CAROL STREAM        IL           60197-5507                             SUPPLIERS OR VENDORS      11/15/2018         $36,874.20

FERRARA CANDY COMPANY PO BOX 5507                                                                          CAROL STREAM        IL           60197-5507                             SUPPLIERS OR VENDORS      11/22/2018           $1,065.45

FERRARA CANDY COMPANY PO BOX 5507                                                                          CAROL STREAM        IL           60197-5507                             SUPPLIERS OR VENDORS      11/29/2018         $13,550.02
FERRELLGAS            CONSOLIDATED BILLING               ATTN AMY               735 WEISE STREET           GREEN BAY           WI           54302                                  SUPPLIERS OR VENDORS      11/13/2018          $2,125.00

FERRELLGAS JACKSONVILLE   PO BOX 173940                                                                    DENVER              CO           80217-3940                             SUPPLIERS OR VENDORS       11/1/2018            $835.69
                          SKOGENS FOODLINER
FESTIVAL FOODS            INCORPORATED                   3800 EMERALD DRIVE E                              ONALASKA            WI           54650                                  SUPPLIERS OR VENDORS      10/18/2018             $29.99
                          SKOGENS FOODLINER
FESTIVAL FOODS            INCORPORATED                   3800 EMERALD DRIVE E                              ONALASKA            WI           54650                                  SUPPLIERS OR VENDORS      11/15/2018            $216.10
                          SKOGENS FOODLINER
FESTIVAL FOODS            INCORPORATED                   3800 EMERALD DRIVE E                              ONALASKA            WI           54650                                  SUPPLIERS OR VENDORS      11/27/2018            $212.31
                          SKOGENS FOODLINER
FESTIVAL FOODS            INCORPORATED                   3800 EMERALD DRIVE E                              ONALASKA            WI           54650                                  SUPPLIERS OR VENDORS       12/4/2018             $45.25
FESTIVAL FOODS TRUE
VALUE                     47401 STATE HIGHWAY M26                                                          HOUGHTON            MI           49931                                  SUPPLIERS OR VENDORS      11/26/2018              $12.89
FETCH FOR COOL PETS       115 KENNEDY DRIVE                                                                SAYREVILLE          NJ           08872                                  SUPPLIERS OR VENDORS       11/1/2018           $1,602.44
FETCH FOR COOL PETS       115 KENNEDY DRIVE                                                                SAYREVILLE          NJ           08872                                  SUPPLIERS OR VENDORS       11/8/2018           $5,333.26
FETCH FOR COOL PETS       115 KENNEDY DRIVE                                                                SAYREVILLE          NJ           08872                                  SUPPLIERS OR VENDORS       12/5/2018           $6,821.74
FEVIG OIL COMPANY
INCORPORATED              ULEN & MAHNOMEN                19474 160TH AVENUE N                              FELTON              MN           55653                                  SUPPLIERS OR VENDORS       12/3/2018           $1,954.21
                          100 DE BARTOLO PLACE   SUITE
FIDC 50 LLC               400                                                                              BOARDMAN            OH           44512                                  SUPPLIERS OR VENDORS       11/1/2018           $5,833.33
                          100 DE BARTOLO PLACE   SUITE
FIDC 50 LLC               400                                                                              BOARDMAN            OH           44512                                  SUPPLIERS OR VENDORS       12/1/2018           $5,833.33
                          100 DE BARTOLO PLACE   SUITE
FIDC VII LLC              400                                                                              BOARDMAN            OH           44512                                  SUPPLIERS OR VENDORS       11/3/2018         $15,450.00
                          100 DE BARTOLO PLACE   SUITE
FIDC VII LLC              400                                                                              BOARDMAN            OH           44512                                  SUPPLIERS OR VENDORS       12/5/2018         $15,450.00
                          100 DEBARTOLO PLACE    SUITE
FIDC XL LLC               400                                                                              BOARDMAN            OH           44512                                  SUPPLIERS OR VENDORS       11/1/2018         $15,000.00
                          100 DEBARTOLO PLACE    SUITE
FIDC XL LLC               400                                                                              BOARDMAN            OH           44512                                  SUPPLIERS OR VENDORS       12/1/2018         $15,000.00

FIDC XXIII LLC            SUITE 400                      100 DEBARTOLO PLACE                               BOARDMAN            OH           44512                                  SUPPLIERS OR VENDORS       11/1/2018         $27,763.53

FIDC XXIII LLC            SUITE 400                      100 DEBARTOLO PLACE                               BOARDMAN            OH           44512                                  SUPPLIERS OR VENDORS       12/1/2018         $27,763.53

FIDC XXX LLC              SUITE 400                      100 DEBARTOLO PLACE                               BOARDMAN            OH           44512                                  SUPPLIERS OR VENDORS       11/1/2018         $31,578.88

FIDC XXX LLC              SUITE 400                      100 DEBARTOLO PLACE                               BOARDMAN            OH           44512                                  SUPPLIERS OR VENDORS       12/1/2018         $31,578.88
FIELDS SNOW REMOVAL       1290 HICKORY BOX 56                                                              ELDENA              IL           61324                                  SUPPLIERS OR VENDORS      12/19/2018            $765.00
FIESTA JEWELRY
CORPORATION               250 ESTEN AVENUE                                                                 PAWTUCKET           RI           02860                                  SUPPLIERS OR VENDORS      10/18/2018            $377.70




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                                                                                                                                                                                    Reasons for payment or    Dates of    Total Amount or
       Creditor Name                  Address1                 Address2                  Address3                  City             State       Zip              Country                   transfer          Payments           Value
FIESTA JEWELRY
CORPORATION               250 ESTEN AVENUE                                                                 PAWTUCKET           RI           02860                                  SUPPLIERS OR VENDORS       11/1/2018         $45,556.75
FIESTA JEWELRY
CORPORATION               250 ESTEN AVENUE                                                                 PAWTUCKET           RI           02860                                  SUPPLIERS OR VENDORS       11/8/2018         $45,417.01
FIESTA JEWELRY
CORPORATION               250 ESTEN AVENUE                                                                 PAWTUCKET           RI           02860                                  SUPPLIERS OR VENDORS      11/15/2018            $531.50
FIESTA JEWELRY
CORPORATION               250 ESTEN AVENUE                                                                 PAWTUCKET           RI           02860                                  SUPPLIERS OR VENDORS      11/22/2018         $11,669.30
FIESTA JEWELRY
CORPORATION               250 ESTEN AVENUE                                                                 PAWTUCKET           RI           02860                                  SUPPLIERS OR VENDORS      11/29/2018         $42,828.42
FILA USA INCORPORATED     PO BOX 826464                                                                    PHILADELPHIA        PA           19182-6464                             SUPPLIERS OR VENDORS      10/18/2018         $27,736.50
FILA USA INCORPORATED     PO BOX 826464                                                                    PHILADELPHIA        PA           19182-6464                             SUPPLIERS OR VENDORS      10/25/2018         $66,000.00
FILA USA INCORPORATED     PO BOX 826464                                                                    PHILADELPHIA        PA           19182-6464                             SUPPLIERS OR VENDORS       11/1/2018          $2,214.00
FILA USA INCORPORATED     PO BOX 826464                                                                    PHILADELPHIA        PA           19182-6464                             SUPPLIERS OR VENDORS       11/8/2018          $6,446.29
FILA USA INCORPORATED     PO BOX 826464                                                                    PHILADELPHIA        PA           19182-6464                             SUPPLIERS OR VENDORS      11/15/2018         $20,808.00
FILA USA INCORPORATED     PO BOX 826464                                                                    PHILADELPHIA        PA           19182-6464                             SUPPLIERS OR VENDORS      11/22/2018         $97,374.00
FILA USA INCORPORATED     PO BOX 826464                                                                    PHILADELPHIA        PA           19182-6464                             SUPPLIERS OR VENDORS      11/29/2018        $129,009.00

FILTERTECH INCORPORATED PO BOX 527                                                                         MANLIUS             NY           13104-0527                             SUPPLIERS OR VENDORS      10/25/2018           $1,336.00

FILTERTECH INCORPORATED   PO BOX 527                                                                       MANLIUS             NY           13104-0527                             SUPPLIERS OR VENDORS      12/20/2018           $1,336.00
FILTRATION CONCEPTS
INCORPORATED              PO BOX 426                                                                       LANNON              WI           53046                                  SUPPLIERS OR VENDORS      11/29/2018            $306.71
FINANCE SYSTEM OF GREEN
BAY                       PO BOX 1595                                                                      GREEN BAY           WI           54305-1595                             SUPPLIERS OR VENDORS      10/26/2018            $207.99
FINANCE SYSTEM OF GREEN
BAY                       PO BOX 1595                                                                      GREEN BAY           WI           54305-1595                             SUPPLIERS OR VENDORS      11/30/2018            $462.90

FINANCIAL INFORMATION                                   3109 W DR MARTIN
TECHNOLOGIES INC          SUITE 200                     LUTHER KING JR BLVD                                TAMPA               FL           33607                                  SUPPLIERS OR VENDORS      10/18/2018           $1,000.16

FINANCIAL INFORMATION     3109 West Dr Martin Luther.
TECHNOLOGIES INC          King Jr Blvd,                 Suite 200                                          TAMPA               FL           33607                                  SUPPLIERS OR VENDORS      10/27/2018               $1.00
                          3109 W DR. MARTIN LUTHER                                                                             FL
FINTECH.NET               KING JR BLVD                  SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES    10/9/2018         $12,901.81
                          3109 W DR. MARTIN LUTHER                                                                             FL
FINTECH.NET               KING JR BLVD                  SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   10/10/2018         $19,457.35
                          3109 W DR. MARTIN LUTHER                                                                             FL
FINTECH.NET               KING JR BLVD                  SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   10/11/2018         $23,320.42
                          3109 W DR. MARTIN LUTHER                                                                             FL
FINTECH.NET               KING JR BLVD                  SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   10/12/2018         $17,467.84
                          3109 W DR. MARTIN LUTHER                                                                             FL
FINTECH.NET               KING JR BLVD                  SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   10/15/2018         $19,230.06
                          3109 W DR. MARTIN LUTHER                                                                             FL
FINTECH.NET               KING JR BLVD                  SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   10/16/2018         $10,531.14
                          3109 W DR. MARTIN LUTHER                                                                             FL
FINTECH.NET               KING JR BLVD                  SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   10/17/2018           $9,101.40
                          3109 W DR. MARTIN LUTHER                                                                             FL
FINTECH.NET               KING JR BLVD                  SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   10/18/2018         $18,431.64
                          3109 W DR. MARTIN LUTHER                                                                             FL
FINTECH.NET               KING JR BLVD                  SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   10/19/2018         $20,883.76
                          3109 W DR. MARTIN LUTHER                                                                             FL
FINTECH.NET               KING JR BLVD                  SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   10/22/2018         $22,235.80




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                                                                                                                                                                             Reasons for payment or    Dates of    Total Amount or
      Creditor Name              Address1               Address2                  Address3                  City             State       Zip              Country                   transfer          Payments           Value
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   10/23/2018           $7,491.17
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   10/24/2018           $7,832.58
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   10/25/2018         $29,413.31
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   10/26/2018         $15,470.55
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   10/29/2018         $20,016.74
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   10/30/2018         $11,088.49
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   10/31/2018           $4,183.79
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES    11/1/2018         $48,143.21
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES    11/2/2018         $19,540.37
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES    11/5/2018         $19,128.59
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES    11/6/2018           $9,894.38
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES    11/7/2018           $9,203.96
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES    11/8/2018         $15,008.58
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES    11/9/2018         $23,070.89
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   11/13/2018         $13,623.92
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   11/14/2018         $17,618.39
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   11/15/2018         $20,969.07
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   11/16/2018         $20,268.36
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   11/19/2018         $17,537.15
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   11/20/2018         $10,037.91
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   11/21/2018         $12,519.53
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   11/23/2018         $37,424.64
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   11/26/2018         $19,419.82
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   11/27/2018           $9,438.91
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   11/28/2018         $15,872.80
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   11/29/2018         $26,638.73
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   11/30/2018         $24,968.73



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      Creditor Name              Address1               Address2                  Address3                  City             State       Zip              Country                   transfer          Payments            Value
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES    12/3/2018          $24,423.74
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES    12/4/2018          $16,977.26
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES    12/5/2018          $10,359.83
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES    12/6/2018          $16,970.67
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES    12/7/2018          $25,406.89
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   12/10/2018          $18,150.41
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   12/11/2018            $9,417.03
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   12/12/2018          $10,932.76
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   12/13/2018          $19,920.33
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   12/14/2018          $20,082.42
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   12/17/2018          $24,898.62
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   12/18/2018          $13,487.74
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   12/19/2018          $10,629.05
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   12/20/2018          $26,077.48
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   12/21/2018          $21,009.62
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   12/24/2018          $13,909.75
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   12/26/2018          $24,501.67
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   12/27/2018          $15,446.88
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   12/28/2018          $25,974.03
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES   12/31/2018          $35,682.16
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES      1/2/2019         $25,971.76
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES      1/3/2019         $25,653.27
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES      1/4/2019         $19,055.98
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES      1/7/2019         $21,353.96
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES      1/8/2019           $6,887.53
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES      1/9/2019           $5,384.35
                      3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET           KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES    1/10/2019          $19,647.60



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      Creditor Name                  Address1               Address2                  Address3                  City             State       Zip              Country                   transfer          Payments           Value
                          3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET               KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES    1/11/2019         $23,852.24
                          3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET               KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES    1/14/2019         $20,512.59
                          3109 W DR. MARTIN LUTHER                                                                          FL
FINTECH.NET               KING JR BLVD               SUITE 200                                          TAMPA                            33607                                  LIQUOR SALES & LICENSES    1/15/2019         $10,164.58
FIREHOUSE ICE             22912 RIVER EDGE LANE                                                         JULIETTA            ID           83535                                  SUPPLIERS OR VENDORS       12/4/2018             $83.50
FIRST ADVANTAGE LNS OCC
HEALTH                    SOLUTIONS INCORPORATED     PO BOX 404064                                      ATLANTA             GA           30384-4064                             SUPPLIERS OR VENDORS       11/2/2018         $24,836.08
FIRST ADVANTAGE LNS OCC
HEALTH                    SOLUTIONS INCORPORATED     PO BOX 404064                                      ATLANTA             GA           30384-4064                             SUPPLIERS OR VENDORS      11/13/2018         $42,087.25
FIRST AMERICAN
PROPERTIES LLC            C/O CCC LOT 3 LLC          N4365 STATE HWY 73                                 COLUMBUS            WI           53925                                  SUPPLIERS OR VENDORS      11/10/2018         $20,809.83
FIRST AMERICAN
PROPERTIES LLC            C/O CCC LOT 3 LLC          N4365 STATE HWY 73                                 COLUMBUS            WI           53925                                  SUPPLIERS OR VENDORS       12/8/2018         $20,809.83
                                                                                                                                                                                RETURN OF WIRE RECEIVED
FIRST AMERICAN TITLE      1 FIRST AMERICAN WAY                                                          SANTA ANA           CA           92707                                  IN ERROR                   1/10/2019         $82,500.00
FIRST BANK UPPER
MICHIGAN                  PO BOX 2317                                                                   KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS      11/26/2018             $17.55
FIRST CHOICE TALENT &
MODELING AGENCY           1636 VELP AVENUE                                                              GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS      10/25/2018           $2,266.50
FIRST CHOICE TALENT &
MODELING AGENCY           1636 VELP AVENUE                                                              GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS       11/1/2018            $531.00
FIRST CHOICE TALENT &
MODELING AGENCY           1636 VELP AVENUE                                                              GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS       11/8/2018           $1,074.00
FIRST CHOICE TALENT &
MODELING AGENCY           1636 VELP AVENUE                                                              GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS      11/29/2018            $810.00
FIRST CITY INVESTORS                                 154 E MYRTLE AVENUE
INCORPORATED              DBA CHASEBROOK COMPANY     SUITE 303                                          MURRAY              UT           84107                                  SUPPLIERS OR VENDORS       11/1/2018           $1,457.00
FIRST CITY INVESTORS                                 154 E MYRTLE AVENUE
INCORPORATED              DBA CHASEBROOK COMPANY     SUITE 303                                          MURRAY              UT           84107                                  SUPPLIERS OR VENDORS       12/3/2018           $1,457.00

                          LICENSE PRODUCTS           W237 N 2889
FIRSTIME MANUFACTORY      INCORPORATED               WOODGATE RD UNIT F                                 PEWAUKEE            WI           53072-0000                             SUPPLIERS OR VENDORS      10/18/2018         $82,599.12

                          LICENSE PRODUCTS           W237 N 2889
FIRSTIME MANUFACTORY      INCORPORATED               WOODGATE RD UNIT F                                 PEWAUKEE            WI           53072-0000                             SUPPLIERS OR VENDORS      10/25/2018         $24,155.18

                          LICENSE PRODUCTS           W237 N 2889
FIRSTIME MANUFACTORY      INCORPORATED               WOODGATE RD UNIT F                                 PEWAUKEE            WI           53072-0000                             SUPPLIERS OR VENDORS       11/1/2018         $30,504.34

                          LICENSE PRODUCTS           W237 N 2889
FIRSTIME MANUFACTORY      INCORPORATED               WOODGATE RD UNIT F                                 PEWAUKEE            WI           53072-0000                             SUPPLIERS OR VENDORS       11/8/2018         $21,629.53

                          LICENSE PRODUCTS           W237 N 2889
FIRSTIME MANUFACTORY      INCORPORATED               WOODGATE RD UNIT F                                 PEWAUKEE            WI           53072-0000                             SUPPLIERS OR VENDORS      11/15/2018         $10,646.76

                          LICENSE PRODUCTS           W237 N 2889
FIRSTIME MANUFACTORY      INCORPORATED               WOODGATE RD UNIT F                                 PEWAUKEE            WI           53072-0000                             SUPPLIERS OR VENDORS      11/22/2018         $10,340.49

                          LICENSE PRODUCTS           W237 N 2889
FIRSTIME MANUFACTORY      INCORPORATED               WOODGATE RD UNIT F                                 PEWAUKEE            WI           53072-0000                             SUPPLIERS OR VENDORS      11/29/2018         $15,887.51
FISH WINDOW CLEANING
INCORPORATED              PO BOX 784                                                                    BOYSTOWN            NE           68010-0000                             SUPPLIERS OR VENDORS      11/16/2018             $90.95



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                                                                                                                                                                                    Reasons for payment or    Dates of     Total Amount or
       Creditor Name                 Address1                  Address2                 Address3                 City              State       Zip              Country                    transfer          Payments            Value
FISHER & ASSOCIATES LLC   RICHARD J FISHER              916 CEDAR STREET                                  DE PERE             WI           54115                                  SUPPLIERS OR VENDORS        11/16/2018            $2,810.00
FISION HOLDINGS INC       100 N 6TH STREET SUITE 308B                                                     MINNEAPOLIS         MN           55403                                  SUPPLIERS OR VENDORS        11/29/2018              $232.35

FISKARS MANUFACTURING
CORPORATION               PO BOX 802587                                                                   CHICAGO             IL           60680-2587                             SUPPLIERS OR VENDORS       10/18/2018            $2,514.08

FISKARS MANUFACTURING
CORPORATION               PO BOX 802587                                                                   CHICAGO             IL           60680-2587                             SUPPLIERS OR VENDORS       10/23/2018            $1,457.11

FISKARS MANUFACTURING
CORPORATION               PO BOX 802587                                                                   CHICAGO             IL           60680-2587                             SUPPLIERS OR VENDORS       10/25/2018            $1,515.77

FISKARS MANUFACTURING
CORPORATION               PO BOX 802587                                                                   CHICAGO             IL           60680-2587                             SUPPLIERS OR VENDORS        11/8/2018            $1,286.61

FISKARS MANUFACTURING
CORPORATION               PO BOX 802587                                                                   CHICAGO             IL           60680-2587                             SUPPLIERS OR VENDORS       11/13/2018              $386.85

FISKARS MANUFACTURING
CORPORATION               PO BOX 802587                                                                   CHICAGO             IL           60680-2587                             SUPPLIERS OR VENDORS       11/15/2018            $2,066.66

FISKARS MANUFACTURING
CORPORATION               PO BOX 802587                                                                   CHICAGO             IL           60680-2587                             SUPPLIERS OR VENDORS       11/27/2018            $1,147.61

FISKARS MANUFACTURING
CORPORATION               PO BOX 802587                                                                   CHICAGO             IL           60680-2587                             SUPPLIERS OR VENDORS       11/29/2018            $1,296.58
                          75 REMITTANCE DRIVE DEPT
FIT FOR LIFE LLC          6154                                                                            CHICAGO             IL           60675-6154                             SUPPLIERS OR VENDORS       10/19/2018            $1,048.34
                          75 REMITTANCE DRIVE DEPT
FIT FOR LIFE LLC          6154                                                                            CHICAGO             IL           60675-6154                             SUPPLIERS OR VENDORS       10/26/2018            $1,182.03
                          75 REMITTANCE DRIVE DEPT
FIT FOR LIFE LLC          6154                                                                            CHICAGO             IL           60675-6154                             SUPPLIERS OR VENDORS        11/2/2018            $1,071.94
                          75 REMITTANCE DRIVE DEPT
FIT FOR LIFE LLC          6154                                                                            CHICAGO             IL           60675-6154                             SUPPLIERS OR VENDORS        11/9/2018            $1,164.22
                          75 REMITTANCE DRIVE DEPT
FIT FOR LIFE LLC          6154                                                                            CHICAGO             IL           60675-6154                             SUPPLIERS OR VENDORS       11/16/2018            $1,296.51
                          75 REMITTANCE DRIVE DEPT
FIT FOR LIFE LLC          6154                                                                            CHICAGO             IL           60675-6154                             SUPPLIERS OR VENDORS       11/30/2018            $2,394.46
FITNESS EM LLC            660 DOUGLAS STREET                                                              UXBRIDGE            MA           01569                                  SUPPLIERS OR VENDORS       10/18/2018              $432.20
FITNESS EM LLC            660 DOUGLAS STREET                                                              UXBRIDGE            MA           01569                                  SUPPLIERS OR VENDORS       10/25/2018            $1,308.50
FITNESS EM LLC            660 DOUGLAS STREET                                                              UXBRIDGE            MA           01569                                  SUPPLIERS OR VENDORS        11/1/2018            $2,887.50
FITNESS EM LLC            660 DOUGLAS STREET                                                              UXBRIDGE            MA           01569                                  SUPPLIERS OR VENDORS       11/15/2018            $3,149.92
FITNESS EM LLC            660 DOUGLAS STREET                                                              UXBRIDGE            MA           01569                                  SUPPLIERS OR VENDORS       11/22/2018              $319.50
FITNESS EM LLC            660 DOUGLAS STREET                                                              UXBRIDGE            MA           01569                                  SUPPLIERS OR VENDORS       11/29/2018            $2,107.88
FLASH FURNITURE DBA
BELNICK (C-HUB)           PO BOX 531634                                                                   ATLANTA             GA           30353-1634                             SUPPLIERS OR VENDORS       10/18/2018              $421.50
FLASH FURNITURE DBA
BELNICK (C-HUB)           PO BOX 531634                                                                   ATLANTA             GA           30353-1634                             SUPPLIERS OR VENDORS       10/25/2018              $981.25
FLASH FURNITURE DBA
BELNICK (C-HUB)           PO BOX 531634                                                                   ATLANTA             GA           30353-1634                             SUPPLIERS OR VENDORS        11/1/2018            $1,283.00
FLASH FURNITURE DBA
BELNICK (C-HUB)           PO BOX 531634                                                                   ATLANTA             GA           30353-1634                             SUPPLIERS OR VENDORS        11/8/2018              $566.25
FLASH FURNITURE DBA
BELNICK (C-HUB)           PO BOX 531634                                                                   ATLANTA             GA           30353-1634                             SUPPLIERS OR VENDORS       11/15/2018              $584.00



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                                                                                                                                                                                   Reasons for payment or    Dates of     Total Amount or
       Creditor Name               Address1                   Address2                  Address3                  City             State       Zip              Country                   transfer          Payments            Value
FLASH FURNITURE DBA
BELNICK (C-HUB)          PO BOX 531634                                                                    ATLANTA             GA           30353-1634                             SUPPLIERS OR VENDORS      11/22/2018             $589.00
FLASH FURNITURE DBA
BELNICK (C-HUB)          PO BOX 531634                                                                    ATLANTA             GA           30353-1634                             SUPPLIERS OR VENDORS      11/29/2018             $113.75
FLATHEAD COUNTY
TREASURER                935 FIRST AVENUE WEST STE T                                                      KALISPELL           MT           59901-0000                             SUPPLIERS OR VENDORS      11/26/2018          $27,971.76
FLEET & FARM SUPPLY
FAIRMONT                 1300 N STATE STREET                                                              FAIRMONT            MN           56031                                  SUPPLIERS OR VENDORS         1/4/2019             $12.84
                                                    3101 N MONTANA
FLETE CURTIS NEWBY       YELLOWSTONE VISION CARE PC AVENUE                                                HELENA              MT           59602                                  SUPPLIERS OR VENDORS      10/19/2018            $6,698.29
                                                    3101 N MONTANA
FLETE CURTIS NEWBY       YELLOWSTONE VISION CARE PC AVENUE                                                HELENA              MT           59602                                  SUPPLIERS OR VENDORS       11/2/2018            $7,138.85
                                                    3101 N MONTANA
FLETE CURTIS NEWBY       YELLOWSTONE VISION CARE PC AVENUE                                                HELENA              MT           59602                                  SUPPLIERS OR VENDORS      11/16/2018            $5,287.11
                                                    3101 N MONTANA
FLETE CURTIS NEWBY       YELLOWSTONE VISION CARE PC AVENUE                                                HELENA              MT           59602                                  SUPPLIERS OR VENDORS      11/30/2018            $5,791.71
                                                    3101 N MONTANA
FLETE CURTIS NEWBY       YELLOWSTONE VISION CARE PC AVENUE                                                HELENA              MT           59602                                  SUPPLIERS OR VENDORS      12/14/2018            $6,981.91
                                                    3101 N MONTANA
FLETE CURTIS NEWBY       YELLOWSTONE VISION CARE PC AVENUE                                                HELENA              MT           59602                                  SUPPLIERS OR VENDORS      12/29/2018            $6,792.18
                                                    3101 N MONTANA
FLETE CURTIS NEWBY       YELLOWSTONE VISION CARE PC AVENUE                                                HELENA              MT           59602                                  SUPPLIERS OR VENDORS       1/11/2019            $5,221.99

                         FOR THE ACCOUNT OF FLEXTECS 1395 S MARIETTA PKWY
FLEXTECS LLC             LLC                         BLDG 500 STE 202                                     MARIETTA            GA           30067                                  SUPPLIERS OR VENDORS      10/31/2018          $19,688.34

                         FOR THE ACCOUNT OF FLEXTECS 1395 S MARIETTA PKWY
FLEXTECS LLC             LLC                         BLDG 500 STE 202                                     MARIETTA            GA           30067                                  SUPPLIERS OR VENDORS      11/30/2018          $11,171.99

                         FOR THE ACCOUNT OF FLEXTECS 1395 S MARIETTA PKWY
FLEXTECS LLC             LLC                         BLDG 500 STE 202                                     MARIETTA            GA           30067                                  SUPPLIERS OR VENDORS       12/4/2018                $1.00

FLIPP CORPORATION        DEPT CH 19946                 75 REMITTANCE DRIVE                                PALATINE            IL           60055-9946                             SUPPLIERS OR VENDORS       11/1/2018            $5,994.12

FLORACRAFT CORPORATION PO BOX 400                      PAM TO ORACLE                                      LUDINGTON           MI           49431                                  SUPPLIERS OR VENDORS      10/25/2018            $7,279.32

FLORACRAFT CORPORATION   PO BOX 400                    PAM TO ORACLE                                      LUDINGTON           MI           49431                                  SUPPLIERS OR VENDORS       11/1/2018            $4,899.68
FLORENCE JOHNSON         355 COUNTY J                                                                     FRIENDSHIP          WI           53934                                  SUPPLIERS OR VENDORS      11/16/2018               $42.24
FLORENCE JOHNSON         355 COUNTY J                                                                     FRIENDSHIP          WI           53934                                  SUPPLIERS OR VENDORS      11/26/2018               $10.56
FLORENCE NIEMUTH         820 MARSHALL AVE                                                                 GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS      11/26/2018                $2.72
FLORIAN WIZA             208 KIRKWOOD ST                                                                  HATLEY              WI           54440                                  SUPPLIERS OR VENDORS      11/30/2018               $62.00
FLORIDA ROADWAY SIGNS
INC                      1137 SILVER BEACH ROAD                                                           LAKE PARK           FL           33403                                  SUPPLIERS OR VENDORS      11/29/2018              $40.00
FLOWER CART LLC          DAVID KUCENSKY                1027 N 8TH STREET                                  SHEBOYGAN           WI           53081                                  SUPPLIERS OR VENDORS      10/25/2018             $100.00
FLOYD KEITHLEY           218 CONCORD ST                                                                   MIDDLETON           ID           83644                                  SUPPLIERS OR VENDORS      11/26/2018              $35.70
FLOYD LOSCO              130 FIELDCREST LANE           P.O. BOX 354                                       CEDARVILLE          IL           61013                                  SUPPLIERS OR VENDORS      10/25/2018               $5.00
FLOYD LOSCO              130 FIELDCREST LANE           P.O. BOX 354                                       CEDARVILLE          IL           61013                                  SUPPLIERS OR VENDORS      10/26/2018             $200.00
FLOYD SAVOIE             W4423 KLOMAN ROAD                                                                POWERS              MI           49874                                  SUPPLIERS OR VENDORS      10/24/2018              $39.04

FLY ME FLAG COMPANY LLC 1720 S ASHLAND AVENUE                                                             GREEN BAY           WI           54304                                  SUPPLIERS OR VENDORS      12/17/2018             $452.60
F-M FORKLIFT SALES &
SERVICE INC             PO BOX 2192                                                                       FARGO               ND           58108                                  SUPPLIERS OR VENDORS      12/17/2018             $107.24

FOAMATION INCORPORATED 1120 S BARCLAY STREET                                                              MILWAUKEE           WI           53204-0000                             SUPPLIERS OR VENDORS      10/25/2018             $857.00



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                                                                                                                                                                                Reasons for payment or    Dates of     Total Amount or
      Creditor Name               Address1                 Address2                  Address3                 City              State       Zip              Country                   transfer          Payments            Value

FOAMATION INCORPORATED 1120 S BARCLAY STREET                                                           MILWAUKEE           WI           53204-0000                             SUPPLIERS OR VENDORS      11/22/2018          $15,386.00

FOOTHILL SHADOWS        5141 NORTH 40TH ST                                                             PHOENIX             AZ           85018                                  LANDLORD RENT PAYMENT        1/4/2019         $95,051.90
                        5141 NORTH 40TH STREET
FOOTHILL SHADOWS LLC    SUITE 500                                                                      PHOENIX             AZ           85018                                  SUPPLIERS OR VENDORS       11/1/2018          $95,051.90
                        5141 NORTH 40TH STREET
FOOTHILL SHADOWS LLC    SUITE 500                                                                      PHOENIX             AZ           85018                                  SUPPLIERS OR VENDORS       12/4/2018          $95,051.90
FOR BARE FEET                                       1201 SOUTH OHIO
INCORPORATED            VICE PRESIDENT OF SALES     STREET                                             MARTINSVILLE        IN           46151                                  SUPPLIERS OR VENDORS      11/15/2018         $123,744.80
FOR BARE FEET                                       1201 SOUTH OHIO
INCORPORATED            VICE PRESIDENT OF SALES     STREET                                             MARTINSVILLE        IN           46151                                  SUPPLIERS OR VENDORS      11/22/2018          $20,066.40
FOR KEEPS LLC           929 SOUTH MYRTLE AVE                                                           MONROVIA            CA           91016                                  SUPPLIERS OR VENDORS      10/18/2018           $9,307.59
FORD MODELS                                         11 EAST 26TH STREET
INCORPORATED            ATTN ACCOUNTS RECEIVABLE    14TH FLOOR                                         NEW YORK            NY           10010-0000                             SUPPLIERS OR VENDORS      10/22/2018             $990.00
FORD MODELS                                         11 EAST 26TH STREET
INCORPORATED            ATTN ACCOUNTS RECEIVABLE    14TH FLOOR                                         NEW YORK            NY           10010-0000                             SUPPLIERS OR VENDORS       11/8/2018            $5,760.00
FORD MODELS                                         11 EAST 26TH STREET
INCORPORATED            ATTN ACCOUNTS RECEIVABLE    14TH FLOOR                                         NEW YORK            NY           10010-0000                             SUPPLIERS OR VENDORS       11/9/2018            $1,980.00
FORD MODELS                                         11 EAST 26TH STREET
INCORPORATED            ATTN ACCOUNTS RECEIVABLE    14TH FLOOR                                         NEW YORK            NY           10010-0000                             SUPPLIERS OR VENDORS      11/26/2018            $2,970.00
FORD MODELS                                         11 EAST 26TH STREET
INCORPORATED            ATTN ACCOUNTS RECEIVABLE    14TH FLOOR                                         NEW YORK            NY           10010-0000                             SUPPLIERS OR VENDORS      12/21/2018             $990.00
FOREMOST FARMS          ACCOUNTS PAYABLE            E10889 PENNY LN                                    BARABOO             WI           53913                                  SUPPLIERS OR VENDORS       11/2/2018             $116.99
FOREMOST FARMS          ACCOUNTS PAYABLE            E10889 PENNY LN                                    BARABOO             WI           53913                                  SUPPLIERS OR VENDORS       11/8/2018             $116.99
FOREMOST FARMS          ACCOUNTS PAYABLE            E10889 PENNY LN                                    BARABOO             WI           53913                                  SUPPLIERS OR VENDORS      11/26/2018             $116.99

FORT ATKINSON TREASURER 101 N MAIN STREET                                                              FORT ATKINSON       WI           53538                                  SUPPLIERS OR VENDORS       11/8/2018              $10.00

FORT ATKINSON TREASURER 101 N MAIN STREET                                                              FORT ATKINSON       WI           53538                                  SUPPLIERS OR VENDORS      12/14/2018              $25.00
FORT MADISON BANK AND
TRUST                   636 AVENUE G                                                                   FORT MADISON        IA           52627                                  SUPPLIERS OR VENDORS      11/26/2018              $41.81
FORTH MANAGEMENT LLC 3917 STONE VISTA LANE                                                             GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS      11/29/2018             $540.00
                        DIVISION OF CENTURY FENCE
FORTRESS FENCE          COMPANY INC                 1225 LAKEVIEW DRIVE                                GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS      10/25/2018            $2,981.00
                        DIVISION OF CENTURY FENCE
FORTRESS FENCE          COMPANY INC                 1225 LAKEVIEW DRIVE                                GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS       12/6/2018                $1.00
FOULK CONSULTING
SERVICES INC            0                           46318 PINEHURST DR                                 NORTHVILLE          MI           48168                                  SUPPLIERS OR VENDORS      12/15/2018                $1.00
FOUNDATION CAPITAL
RESOURCES, INC          3900 S OVERLAND AVE                                                            SPRINGFIELD         MO           65807                                  LANDLORD RENT PAYMENT        1/7/2019        $233,385.33
FOUNDATION CONSUMER
HEALTHCARE LLC          PO BOX 826614                                                                  PHILADELPHIA        PA           19182-6614                             SUPPLIERS OR VENDORS      10/18/2018            $4,205.73
FOUNDATION CONSUMER
HEALTHCARE LLC          PO BOX 826614                                                                  PHILADELPHIA        PA           19182-6614                             SUPPLIERS OR VENDORS      10/25/2018            $7,892.72
FOUNDATION CONSUMER
HEALTHCARE LLC          PO BOX 826614                                                                  PHILADELPHIA        PA           19182-6614                             SUPPLIERS OR VENDORS       11/1/2018            $4,240.42
FOUNDATION CONSUMER
HEALTHCARE LLC          PO BOX 826614                                                                  PHILADELPHIA        PA           19182-6614                             SUPPLIERS OR VENDORS       11/8/2018            $3,695.91
FOUNDATION CONSUMER
HEALTHCARE LLC          PO BOX 826614                                                                  PHILADELPHIA        PA           19182-6614                             SUPPLIERS OR VENDORS      11/15/2018          $19,755.74
FOUNDATION CONSUMER
HEALTHCARE LLC          PO BOX 826614                                                                  PHILADELPHIA        PA           19182-6614                             SUPPLIERS OR VENDORS      11/22/2018            $4,187.74




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FOUNDATION CONSUMER
HEALTHCARE LLC            PO BOX 826614                                                             PHILADELPHIA        PA           19182-6614                             SUPPLIERS OR VENDORS      11/29/2018           $3,626.43
FOUNDATIONS WORLDWIDE
INC                       305 LAKE ROAD                                                             MEDINA              OH           44256                                  SUPPLIERS OR VENDORS      11/16/2018            $544.60
FOUNDATIONS WORLDWIDE
INC                       305 LAKE ROAD                                                             MEDINA              OH           44256                                  SUPPLIERS OR VENDORS       12/4/2018            $232.10
FOUNDATIONS WORLDWIDE
INC                       305 LAKE ROAD                                                             MEDINA              OH           44256                                  SUPPLIERS OR VENDORS      12/11/2018             $69.80
FOUNTAIN WARREN
COUNTY HEALTH
DEPARTMENT                113 W SYCAMORE STREET                                                     ATTICA              IN           47918                                  SUPPLIERS OR VENDORS      12/14/2018             $50.00
FOUR SEASONS DESIGN       2451 BRITTANIA BLVD                                                       SAN DIEGO           CA           92154                                  SUPPLIERS OR VENDORS      10/25/2018          $8,467.16
FOUR SEASONS DESIGN       2451 BRITTANIA BLVD                                                       SAN DIEGO           CA           92154                                  SUPPLIERS OR VENDORS       11/2/2018         $88,658.40
FOUR SEASONS DESIGN       2451 BRITTANIA BLVD                                                       SAN DIEGO           CA           92154                                  SUPPLIERS OR VENDORS       11/8/2018         $24,628.26
FOUR SEASONS DESIGN       2451 BRITTANIA BLVD                                                       SAN DIEGO           CA           92154                                  SUPPLIERS OR VENDORS      11/15/2018         $17,100.00
FOUR SEASONS DESIGN       2451 BRITTANIA BLVD                                                       SAN DIEGO           CA           92154                                  SUPPLIERS OR VENDORS      11/22/2018          $3,480.00
FOUR SEASONS DESIGN       2451 BRITTANIA BLVD                                                       SAN DIEGO           CA           92154                                  SUPPLIERS OR VENDORS      11/29/2018            $364.65
FOUR SEASONS HOME
OWNER SERVICES LLC        W6948 WIMMER ROAD                                                         TOMAHAWK            WI           54487                                  SUPPLIERS OR VENDORS      11/15/2018            $247.93
                          CIT GROUP COMMERCIAL
FOUR WHAT ITS WORTH INC   SERVICES INC            PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      10/19/2018         $76,706.56
                          CIT GROUP COMMERCIAL
FOUR WHAT ITS WORTH INC   SERVICES INC            PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/8/2018           $3,033.56
                          CIT GROUP COMMERCIAL
FOUR WHAT ITS WORTH INC   SERVICES INC            PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       12/5/2018         $16,416.68
                          CIT GROUP COMMERCIAL
FOWNES BROS & COMPANY     SERVICES INC            PO BOX 1036                                       CHARLOTTE           NC           28201-1035                             SUPPLIERS OR VENDORS      10/19/2018         $59,959.69
                          CIT GROUP COMMERCIAL
FOWNES BROS & COMPANY     SERVICES INC            PO BOX 1036                                       CHARLOTTE           NC           28201-1035                             SUPPLIERS OR VENDORS       11/6/2018           $3,054.02
                          CIT GROUP COMMERCIAL
FOWNES BROS & COMPANY     SERVICES INC            PO BOX 1036                                       CHARLOTTE           NC           28201-1035                             SUPPLIERS OR VENDORS       12/4/2018           $5,257.20
FOX LAWN AND
LANDSCAPING           2086 HIGHLAND AVE                                                             SALINA              KS           67401                                  SUPPLIERS OR VENDORS       11/1/2018            $280.00
FOX LAWN AND
LANDSCAPING           2086 HIGHLAND AVE                                                             SALINA              KS           67401                                  SUPPLIERS OR VENDORS      12/17/2018            $350.00

FOX WELDING COMPANY INC 204 W IOWA STREET                                                           GREENFIELD          IA           50849-1313                             SUPPLIERS OR VENDORS      11/27/2018             $61.19
FR TIMOTHY BRANDT       5290 TURTLE CREEK RD      PO BOX 166                                        FLORENCE            WI           54121                                  SUPPLIERS OR VENDORS      12/13/2018             $34.00
                                                  1441 BROADWAY 22ND
FRAGMENTS HOLDING LLC     MERCHANT FACTORS CORP   FLOOR                                             NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      11/16/2018           $4,642.96
FRAGRANCENET COM          900 GRAND BOULEVARD                                                       DEER PARK           NY           11729                                  SUPPLIERS OR VENDORS      10/18/2018              $26.75
FRAGRANCENET COM          900 GRAND BOULEVARD                                                       DEER PARK           NY           11729                                  SUPPLIERS OR VENDORS      10/25/2018             $123.49
FRAGRANCENET COM          900 GRAND BOULEVARD                                                       DEER PARK           NY           11729                                  SUPPLIERS OR VENDORS       11/1/2018             $185.72
FRAGRANCENET COM          900 GRAND BOULEVARD                                                       DEER PARK           NY           11729                                  SUPPLIERS OR VENDORS       11/8/2018             $136.99
FRAGRANCENET COM          900 GRAND BOULEVARD                                                       DEER PARK           NY           11729                                  SUPPLIERS OR VENDORS      11/15/2018             $134.25
FRAGRANCENET COM          900 GRAND BOULEVARD                                                       DEER PARK           NY           11729                                  SUPPLIERS OR VENDORS      11/22/2018             $150.81
FRAGRANCENET COM          900 GRAND BOULEVARD                                                       DEER PARK           NY           11729                                  SUPPLIERS OR VENDORS      11/29/2018             $321.85
FRANCES GRIES             917 N. 18TH AVE APT 2                                                     WEST BEND           WI           53090                                  SUPPLIERS OR VENDORS      11/26/2018              $25.00
FRANCES HEIM              3005 FARNAM STREET                                                        LA CROSSE           WI           54601                                  SUPPLIERS OR VENDORS       12/5/2018              $45.61
FRANCES HENDERSON         824 SE COVEY CT                                                           COLLEGE PLACE       WA           99324                                  SUPPLIERS OR VENDORS      10/22/2018             $485.26
FRANCES MANKA             W16695 UNDERHILL RD                                                       BLAIR               WI           54616                                  SUPPLIERS OR VENDORS      11/15/2018              $35.00
FRANCIE MARTIN            STORE 011               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/25/2018             $447.99
FRANCIS ALT               N429 SHUEYVILLE RD.                                                       MONROE              WI           53566                                  SUPPLIERS OR VENDORS      11/14/2018              $25.00




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                                                                                                                                                                                Reasons for payment or    Dates of    Total Amount or
     Creditor Name               Address1                  Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value

FRANCIS BUNKER         1052 -1 MISTY MEADOW CIRCLE                                                     DE PERE             WI           54115                                  SUPPLIERS OR VENDORS      11/26/2018             $50.00
FRANCIS GEROW          300 E. 16TH ST                                                                  KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS       11/9/2018             $69.98
FRANCIS NENNIG         161 SMOKY LAKE ROAD                                                             IRON RIVER          MI           49935                                  SUPPLIERS OR VENDORS      12/13/2018             $62.46
FRANCIS PETERS         1400 N BARID ST LOT 21                                                          GREEN BAY           WI           54302                                  SUPPLIERS OR VENDORS       11/9/2018             $20.00
FRANCIS SNIDER         30374 IL RT 40                                                                  MILLEGEVILLE        IL           61051                                  SUPPLIERS OR VENDORS       11/1/2018             $12.80

FRANCO MANUFACTURING
COMPANY                21422 NETWORK PLACE                                                             CHICAGO             IL           60673-1214                             SUPPLIERS OR VENDORS      10/19/2018           $4,048.70

FRANCO MANUFACTURING
COMPANY                21422 NETWORK PLACE                                                             CHICAGO             IL           60673-1214                             SUPPLIERS OR VENDORS      10/26/2018         $18,169.05

FRANCO MANUFACTURING
COMPANY                21422 NETWORK PLACE                                                             CHICAGO             IL           60673-1214                             SUPPLIERS OR VENDORS       11/2/2018           $6,931.48

FRANCO MANUFACTURING
COMPANY                21422 NETWORK PLACE                                                             CHICAGO             IL           60673-1214                             SUPPLIERS OR VENDORS       11/9/2018           $1,680.44

FRANCO MANUFACTURING
COMPANY                21422 NETWORK PLACE                                                             CHICAGO             IL           60673-1214                             SUPPLIERS OR VENDORS      11/16/2018           $6,227.60

FRANCO MANUFACTURING
COMPANY                21422 NETWORK PLACE                                                             CHICAGO             IL           60673-1214                             SUPPLIERS OR VENDORS      11/30/2018         $14,375.00
FRANCYZ FLORES-SALAS   2063 VERLIN RD                                                                  GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS      11/16/2018             $24.00
FRANK GRUSKA           1022 BROMO AVE                                                                  SAINT CLOUD         MN           56303                                  SUPPLIERS OR VENDORS      10/29/2018             $31.93
FRANK HAMMOND          415 SHORT ST                                                                    WALLA WALLA         WA           99362                                  SUPPLIERS OR VENDORS       11/5/2018             $44.00
FRANK HARPENAU         3105 ROBIN HOOD DRIVE                                                           LA CROSSE           WI           54601                                  SUPPLIERS OR VENDORS      10/26/2018             $23.00
FRANK KINNEY           13556 355TH AVE.                                                                IPSWICH             SD           57451                                  SUPPLIERS OR VENDORS       12/7/2018             $25.88
FRANK KINNEY           13556 355TH AVE.                                                                IPSWICH             SD           57451                                  SUPPLIERS OR VENDORS       12/7/2018             $53.14
FRANK MANN             2719 WYOMING                                                                    BILLINGS            MT           59102                                  SUPPLIERS OR VENDORS      12/10/2018             $10.00
FRANK MORLAN           415 N 41ST AVE, B3                                                              OMAHA               NE           68131                                  SUPPLIERS OR VENDORS      10/26/2018             $18.50
FRANK NAPIWOCKI        428 JORDAN RD.                                                                  STEVENS POINT       WI           54482                                  SUPPLIERS OR VENDORS      10/26/2018            $172.71
FRANK SCHINDERLE       STORE 011                     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/8/2018            $441.52
FRANK SCHWARTZ         917 EAST FIRST STREET                                                           REDFIELD            SD           57469                                  SUPPLIERS OR VENDORS      11/29/2018             $10.00
                                                                                                       BLOOMING
FRANK SUCHANEK         11150 SE 34TH AVE                                                               PRAIRIE             MN           55917                                  SUPPLIERS OR VENDORS      12/13/2018            $125.00
FRANKLIN COUNTY
TREASURER              1010 FRANKLIN AVENUE                                                            BROOKVILLE          IN           47012                                  SUPPLIERS OR VENDORS       11/6/2018           $1,545.62
FRANKLIN SPORTS
INCORPORATED           PO BOX 4808                                                                     BOSTON              MA           02212-4804                             SUPPLIERS OR VENDORS      10/27/2018         $12,756.57
FRANKLIN SPORTS
INCORPORATED           PO BOX 4808                                                                     BOSTON              MA           02212-4804                             SUPPLIERS OR VENDORS      10/30/2018            $118.20
FRANKLIN SPORTS
INCORPORATED           PO BOX 4808                                                                     BOSTON              MA           02212-4804                             SUPPLIERS OR VENDORS      10/31/2018             $32.27
FRANKLIN SPORTS
INCORPORATED           PO BOX 4808                                                                     BOSTON              MA           02212-4804                             SUPPLIERS OR VENDORS       11/1/2018         $10,028.58
FRANKLIN SPORTS
INCORPORATED           PO BOX 4808                                                                     BOSTON              MA           02212-4804                             SUPPLIERS OR VENDORS       11/2/2018           $4,116.10
FRANKLIN SPORTS
INCORPORATED           PO BOX 4808                                                                     BOSTON              MA           02212-4804                             SUPPLIERS OR VENDORS       11/3/2018         $25,243.26
FRANKLIN SPORTS
INCORPORATED           PO BOX 4808                                                                     BOSTON              MA           02212-4804                             SUPPLIERS OR VENDORS       11/6/2018             $64.55




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      Creditor Name                 Address1            Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
FRANKLIN SPORTS
INCORPORATED               PO BOX 4808                                                              BOSTON              MA           02212-4804                             SUPPLIERS OR VENDORS       11/9/2018           $1,645.27
FRANKLIN SPORTS
INCORPORATED               PO BOX 4808                                                              BOSTON              MA           02212-4804                             SUPPLIERS OR VENDORS      11/10/2018            $175.31
FRANKLIN SPORTS
INCORPORATED               PO BOX 4808                                                              BOSTON              MA           02212-4804                             SUPPLIERS OR VENDORS      11/13/2018           $1,869.27
FRANKLIN SPORTS
INCORPORATED               PO BOX 4808                                                              BOSTON              MA           02212-4804                             SUPPLIERS OR VENDORS      11/14/2018             $32.27
FRANKLIN SPORTS
INCORPORATED               PO BOX 4808                                                              BOSTON              MA           02212-4804                             SUPPLIERS OR VENDORS      11/15/2018           $5,268.98
FRANKLIN SPORTS
INCORPORATED               PO BOX 4808                                                              BOSTON              MA           02212-4804                             SUPPLIERS OR VENDORS      11/16/2018           $8,429.54
FRANKLIN SPORTS
INCORPORATED               PO BOX 4808                                                              BOSTON              MA           02212-4804                             SUPPLIERS OR VENDORS      11/17/2018            $110.77
FRANKLIN SPORTS
INCORPORATED               PO BOX 4808                                                              BOSTON              MA           02212-4804                             SUPPLIERS OR VENDORS      11/24/2018           $5,763.92
FRANKLIN SPORTS
INCORPORATED               PO BOX 4808                                                              BOSTON              MA           02212-4804                             SUPPLIERS OR VENDORS      11/27/2018           $2,962.37
FRANKLIN SPORTS
INCORPORATED               PO BOX 4808                                                              BOSTON              MA           02212-4804                             SUPPLIERS OR VENDORS      11/29/2018             $32.27
FRANKLIN SPORTS
INCORPORATED               PO BOX 4808                                                              BOSTON              MA           02212-4804                             SUPPLIERS OR VENDORS      11/30/2018             $32.27
FRANKLIN SPORTS
INCORPORATED               PO BOX 4808                                                              BOSTON              MA           02212-4804                             SUPPLIERS OR VENDORS       12/1/2018            $134.19
FRANKLIN SPORTS
INCORPORATED               PO BOX 4808                                                              BOSTON              MA           02212-4804                             SUPPLIERS OR VENDORS       12/4/2018             $32.27
FRANZ KROETEN              STORE 705              SHOPKO EMPLOYEE        2001 E 9TH STREET          TRENTON             MO           64683-0000                             SUPPLIERS OR VENDORS       11/2/2018            $127.53
FRANZ LUTHI                39523 230TH AVE                                                          WOONSOCKET          SD           57385                                  SUPPLIERS OR VENDORS       11/5/2018             $44.80
FRED BASE                  STORE 037              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/25/2018             $38.99
FRED DAVID INTERNATIONAL   CIT GROUP COMMERCIAL
USA INC                    SERVICES INC           PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      10/19/2018        $201,063.49
FRED DAVID INTERNATIONAL   CIT GROUP COMMERCIAL
USA INC                    SERVICES INC           PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/8/2018        $311,883.97
FRED DAVID INTERNATIONAL   CIT GROUP COMMERCIAL
USA INC                    SERVICES INC           PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      11/16/2018         $39,308.25
FRED DAVID INTERNATIONAL   CIT GROUP COMMERCIAL
USA INC                    SERVICES INC           PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      11/30/2018         $19,238.58
FRED DAVID INTERNATIONAL   CIT GROUP COMMERCIAL
USA INC                    SERVICES INC           PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       12/3/2018           $2,399.40
FRED GIACHINO              W8860 LARSON LANE                                                        IRON MOUNTAIN       MI           49801                                  SUPPLIERS OR VENDORS       11/1/2018               $9.76
FRED GIACHINO              W8860 LARSON LANE                                                        IRON MOUNTAIN       MI           49801                                  SUPPLIERS OR VENDORS       11/5/2018              $39.04
FRED GIACHINO              W8860 LARSON LANE                                                        IRON MOUNTAIN       MI           49801                                  SUPPLIERS OR VENDORS      11/29/2018              $19.83
FRED HOLZUM                STORE OPERATIONS       SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/19/2018             $983.50
FRED HOLZUM                STORE OPERATIONS       SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/2/2018             $297.32
FRED HOLZUM                STORE OPERATIONS       SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/9/2018             $288.65
FRED HOLZUM                STORE OPERATIONS       SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/16/2018             $565.46
FRED HOLZUM                STORE OPERATIONS       SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/27/2018             $456.24
FRED HOLZUM                STORE OPERATIONS       SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/30/2018             $119.06
FRED HOLZUM                STORE OPERATIONS       SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/11/2018             $282.83
FRED HOLZUM                STORE OPERATIONS       SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/14/2018             $321.23
FRED HOLZUM                STORE OPERATIONS       SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/20/2018             $598.07
FRED HOLZUM                STORE OPERATIONS       SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        1/5/2019             $287.28
FRED HOLZUM                STORE OPERATIONS       SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       1/15/2019             $167.83
FRED RADANDT               3604 BRIARWOOD LANE                                                      MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS      10/31/2018              $51.10



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FRED REITMEYER             1709 S 24TH STREET                                                            MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS        11/28/2018               $45.00
FRED RENTZ                 1699 N TERRY STREET #211                                                      EUGENE              OR           97402                                  SUPPLIERS OR VENDORS        11/16/2018               $35.98
FREDDE JILEK               120 26TH ST SW                                                                MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS        10/29/2018               $48.00
FREDERICK CLUPPERT         15 SOUTH BERGER PARKWAY                                                       FOND DU LAC         WI           54935                                  SUPPLIERS OR VENDORS        11/12/2018               $23.00
FREDERICK KRAUSE           1140 N 17TH                                                                   MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS        12/14/2018               $10.00
FREDERICK SQUARE LIMITED
PARTNERSHIP                2954 S 84TH STREET                                                            OMAHA               NE           68124-3213                             SUPPLIERS OR VENDORS        11/1/2018            $3,000.00
FREDERICK SQUARE LIMITED
PARTNERSHIP                2954 S 84TH STREET                                                            OMAHA               NE           68124-3213                             SUPPLIERS OR VENDORS        12/3/2018            $3,000.00
FREDERICK SQUARE LIMITED
PARTNERSHIP                2954 S 84TH STREET                                                            OMAHA               NE           68124-3213                             SUPPLIERS OR VENDORS         1/3/2019            $3,000.00
FREDRICK MICHAEL           3098 NE DELMAS ST                                                             BEND                OR           97701                                  SUPPLIERS OR VENDORS       10/24/2018              $302.98
                           CIT GROUP COMMERCIAL
FREE COUNTRY LIMITED       SERVICES INC                PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       10/20/2018           $66,570.67
                           CIT GROUP COMMERCIAL
FREE COUNTRY LIMITED       SERVICES INC                PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS        11/8/2018           $32,323.60
                           CIT GROUP COMMERCIAL
FREE COUNTRY LIMITED       SERVICES INC                PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS        11/9/2018          $193,568.00
                           CIT GROUP COMMERCIAL
FREE COUNTRY LIMITED       SERVICES INC                PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/15/2018           $23,233.12
                           CIT GROUP COMMERCIAL
FREE COUNTRY LIMITED       SERVICES INC                PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/16/2018            $4,924.00
FREE DAR ENTERPRISES       FREEMAN PAQUET              621 4TH AVENUE W                                  MOBRIDGE            SD           57601                                  SUPPLIERS OR VENDORS       10/18/2018              $692.25
FREE DAR ENTERPRISES       FREEMAN PAQUET              621 4TH AVENUE W                                  MOBRIDGE            SD           57601                                  SUPPLIERS OR VENDORS       11/29/2018              $346.13
FREE FREE INDUSTRIAL       19TH FLOOR, NO 76, SEC 2,                                                                                                                             PURCHASE OF
CORPORATION                DUNHUA S. ROAD              DA-AN DISTRICT                                    TAIPEI                                        TAIWAN                    MERCHANDISE                10/22/2018           $61,566.84
FREE FREE USA
INCORPORATED               1890 S CARLOS AVE                                                             ONTARIO             CA           91761                                  SUPPLIERS OR VENDORS       10/18/2018            $3,328.75
FREE FREE USA
INCORPORATED               1890 S CARLOS AVE                                                             ONTARIO             CA           91761                                  SUPPLIERS OR VENDORS       10/25/2018            $1,144.32
FREE FREE USA
INCORPORATED               1890 S CARLOS AVE                                                             ONTARIO             CA           91761                                  SUPPLIERS OR VENDORS        11/1/2018            $2,564.75
FREE FREE USA
INCORPORATED               1890 S CARLOS AVE                                                             ONTARIO             CA           91761                                  SUPPLIERS OR VENDORS        11/8/2018              $321.30
FREE FREE USA
INCORPORATED               1890 S CARLOS AVE                                                             ONTARIO             CA           91761                                  SUPPLIERS OR VENDORS       11/15/2018            $2,964.23
FREE FREE USA
INCORPORATED               1890 S CARLOS AVE                                                             ONTARIO             CA           91761                                  SUPPLIERS OR VENDORS       11/22/2018            $2,250.74
FREE FREE USA
INCORPORATED               1890 S CARLOS AVE                                                             ONTARIO             CA           91761                                  SUPPLIERS OR VENDORS       11/29/2018            $3,387.73
FREEZE                     473 RIDGE ROAD                                                                DAYTON              NJ           08810                                  SUPPLIERS OR VENDORS       10/19/2018           $37,136.25
FREEZE                     473 RIDGE ROAD                                                                DAYTON              NJ           08810                                  SUPPLIERS OR VENDORS       10/22/2018            $3,926.25
FREEZE                     473 RIDGE ROAD                                                                DAYTON              NJ           08810                                  SUPPLIERS OR VENDORS       10/23/2018            $9,457.50
FREEZE                     473 RIDGE ROAD                                                                DAYTON              NJ           08810                                  SUPPLIERS OR VENDORS       10/29/2018           $34,583.00
FREEZE                     473 RIDGE ROAD                                                                DAYTON              NJ           08810                                  SUPPLIERS OR VENDORS       10/31/2018           $19,317.50
FREEZE                     473 RIDGE ROAD                                                                DAYTON              NJ           08810                                  SUPPLIERS OR VENDORS        11/1/2018           $93,154.75
FREEZE                     473 RIDGE ROAD                                                                DAYTON              NJ           08810                                  SUPPLIERS OR VENDORS       11/13/2018              $674.32
FREEZE                     473 RIDGE ROAD                                                                DAYTON              NJ           08810                                  SUPPLIERS OR VENDORS       11/14/2018            $9,724.00
FREEZE                     473 RIDGE ROAD                                                                DAYTON              NJ           08810                                  SUPPLIERS OR VENDORS       11/15/2018           $13,872.00
FREEZE                     473 RIDGE ROAD                                                                DAYTON              NJ           08810                                  SUPPLIERS OR VENDORS       11/16/2018           $20,808.00
FREEZE                     473 RIDGE ROAD                                                                DAYTON              NJ           08810                                  SUPPLIERS OR VENDORS       11/22/2018               $50.00
FREEZE                     473 RIDGE ROAD                                                                DAYTON              NJ           08810                                  SUPPLIERS OR VENDORS       11/29/2018           $23,645.06
FREEZE                     473 RIDGE ROAD                                                                DAYTON              NJ           08810                                  SUPPLIERS OR VENDORS        12/3/2018           $43,756.50




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FREMONT CONTRACT
CARRIERS INCORPORATED    PO BOX 489                                                                     FREMONT             NE           68026-0489                             SUPPLIERS OR VENDORS      10/18/2018            $6,297.97

FREMONT CONTRACT
CARRIERS INCORPORATED    PO BOX 489                                                                     FREMONT             NE           68026-0489                             SUPPLIERS OR VENDORS      10/25/2018          $19,970.39

FREMONT CONTRACT
CARRIERS INCORPORATED    PO BOX 489                                                                     FREMONT             NE           68026-0489                             SUPPLIERS OR VENDORS       11/8/2018            $1,561.90

FREMONT CONTRACT
CARRIERS INCORPORATED    PO BOX 489                                                                     FREMONT             NE           68026-0489                             SUPPLIERS OR VENDORS      11/29/2018            $3,683.93

FREMONT CONTRACT
CARRIERS INCORPORATED    PO BOX 489                                                                     FREMONT             NE           68026-0489                             SUPPLIERS OR VENDORS         1/3/2019            $782.91
FREMONT COUNTY
TREASURER                BOX 465                                                                        LANDER              WY           82520                                  SUPPLIERS OR VENDORS       11/6/2018            $5,282.91
FREMONT DIE CONSUMER
PRODUCTS INC             PO BOX 79233                                                                   BALTIMORE           MD           21279-0233                             SUPPLIERS OR VENDORS       11/1/2018            $3,485.70
FRESHWATERS METHODS
CHURCH                   ATTN JIM LASKOWSKI           112 NORTH 7TH AVE                                 PRINCETON           MN           55371                                  SUPPLIERS OR VENDORS      12/11/2018              $100.00
FRIDABABY LLC            PO BOX 392626                                                                  PITTSBURGH          PA           15251                                  SUPPLIERS OR VENDORS      10/18/2018            $2,856.00
FRIDABABY LLC            PO BOX 392626                                                                  PITTSBURGH          PA           15251                                  SUPPLIERS OR VENDORS      11/15/2018            $2,797.80
FRIEDMAN BROKERAGE       26711 NORTHWESTERN
COMPANY LLC              HIGHWAY SUITE 125                                                              SOUTHFIELD          MI           48033                                  SUPPLIERS OR VENDORS      10/18/2018          $48,225.05
FRIEDMAN BROKERAGE       26711 NORTHWESTERN
COMPANY LLC              HIGHWAY SUITE 125                                                              SOUTHFIELD          MI           48033                                  SUPPLIERS OR VENDORS       11/1/2018          $67,896.73
FRIEDMAN BROKERAGE       26711 NORTHWESTERN
COMPANY LLC              HIGHWAY SUITE 125                                                              SOUTHFIELD          MI           48033                                  SUPPLIERS OR VENDORS       12/3/2018          $67,896.73
                                                      75 REMITTANCE DRIVE
FRITO LAY INCORPORATED   ROLLING FRITO LAY SALES LP   STE 1074                                          CHICAGO             IL           60675-1074                             SUPPLIERS OR VENDORS      10/19/2018          $31,975.50
                                                      75 REMITTANCE DRIVE
FRITO LAY INCORPORATED   ROLLING FRITO LAY SALES LP   STE 1074                                          CHICAGO             IL           60675-1074                             SUPPLIERS OR VENDORS      10/20/2018          $58,539.57
                                                      75 REMITTANCE DRIVE
FRITO LAY INCORPORATED   ROLLING FRITO LAY SALES LP   STE 1074                                          CHICAGO             IL           60675-1074                             SUPPLIERS OR VENDORS      10/23/2018          $13,809.21
                                                      75 REMITTANCE DRIVE
FRITO LAY INCORPORATED   ROLLING FRITO LAY SALES LP   STE 1074                                          CHICAGO             IL           60675-1074                             SUPPLIERS OR VENDORS      10/26/2018            $8,921.86
                                                      75 REMITTANCE DRIVE
FRITO LAY INCORPORATED   ROLLING FRITO LAY SALES LP   STE 1074                                          CHICAGO             IL           60675-1074                             SUPPLIERS OR VENDORS      10/27/2018          $51,917.90
                                                      75 REMITTANCE DRIVE
FRITO LAY INCORPORATED   ROLLING FRITO LAY SALES LP   STE 1074                                          CHICAGO             IL           60675-1074                             SUPPLIERS OR VENDORS      10/30/2018          $13,653.54
                                                      75 REMITTANCE DRIVE
FRITO LAY INCORPORATED   ROLLING FRITO LAY SALES LP   STE 1074                                          CHICAGO             IL           60675-1074                             SUPPLIERS OR VENDORS       11/2/2018            $9,014.31
                                                      75 REMITTANCE DRIVE
FRITO LAY INCORPORATED   ROLLING FRITO LAY SALES LP   STE 1074                                          CHICAGO             IL           60675-1074                             SUPPLIERS OR VENDORS       11/3/2018          $50,835.06
                                                      75 REMITTANCE DRIVE
FRITO LAY INCORPORATED   ROLLING FRITO LAY SALES LP   STE 1074                                          CHICAGO             IL           60675-1074                             SUPPLIERS OR VENDORS       11/6/2018          $13,141.81
                                                      75 REMITTANCE DRIVE
FRITO LAY INCORPORATED   ROLLING FRITO LAY SALES LP   STE 1074                                          CHICAGO             IL           60675-1074                             SUPPLIERS OR VENDORS       11/9/2018            $9,035.10
                                                      75 REMITTANCE DRIVE
FRITO LAY INCORPORATED   ROLLING FRITO LAY SALES LP   STE 1074                                          CHICAGO             IL           60675-1074                             SUPPLIERS OR VENDORS      11/10/2018          $61,553.18
                                                      75 REMITTANCE DRIVE
FRITO LAY INCORPORATED   ROLLING FRITO LAY SALES LP   STE 1074                                          CHICAGO             IL           60675-1074                             SUPPLIERS OR VENDORS      11/13/2018          $22,949.95




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                                                                                                                                                                                 Reasons for payment or    Dates of    Total Amount or
      Creditor Name                Address1                  Address2                 Address3                 City              State       Zip              Country                   transfer          Payments           Value
                                                      75 REMITTANCE DRIVE
FRITO LAY INCORPORATED   ROLLING FRITO LAY SALES LP   STE 1074                                          CHICAGO             IL           60675-1074                             SUPPLIERS OR VENDORS      11/24/2018         $35,716.48
                                                      75 REMITTANCE DRIVE
FRITO LAY INCORPORATED   ROLLING FRITO LAY SALES LP   STE 1074                                          CHICAGO             IL           60675-1074                             SUPPLIERS OR VENDORS      11/27/2018         $19,174.80
                                                      75 REMITTANCE DRIVE
FRITO LAY INCORPORATED   ROLLING FRITO LAY SALES LP   STE 1074                                          CHICAGO             IL           60675-1074                             SUPPLIERS OR VENDORS      11/30/2018         $17,559.58
                                                      75 REMITTANCE DRIVE
FRITO LAY INCORPORATED   ROLLING FRITO LAY SALES LP   STE 1074                                          CHICAGO             IL           60675-1074                             SUPPLIERS OR VENDORS       12/1/2018         $40,776.67
                                                      75 REMITTANCE DRIVE
FRITO LAY INCORPORATED   ROLLING FRITO LAY SALES LP   STE 1074                                          CHICAGO             IL           60675-1074                             SUPPLIERS OR VENDORS       12/4/2018           $7,706.57
                                                      75 REMITTANCE DRIVE
FRITO LAY INCORPORATED   ROLLING FRITO LAY SALES LP   STE 1074                                          CHICAGO             IL           60675-1074                             SUPPLIERS OR VENDORS      12/22/2018         $30,731.10
FROZEN GOURMET
INCORPORATED             5800 AIRPORT ROAD                                                              REDDING             CA           96003                                  SUPPLIERS OR VENDORS       11/5/2018            $248.28
FROZEN GOURMET
INCORPORATED             5800 AIRPORT ROAD                                                              REDDING             CA           96003                                  SUPPLIERS OR VENDORS       12/3/2018             $60.36
FRV INCORPORATED         107 S BROADWAY                                                                 DE PERE             WI           54115                                  SUPPLIERS OR VENDORS       11/1/2018            $359.26
FRV INCORPORATED         107 S BROADWAY                                                                 DE PERE             WI           54115                                  SUPPLIERS OR VENDORS      11/15/2018            $191.97
FRV INCORPORATED         107 S BROADWAY                                                                 DE PERE             WI           54115                                  SUPPLIERS OR VENDORS      11/29/2018            $109.79
FRV INCORPORATED         107 S BROADWAY                                                                 DE PERE             WI           54115                                  SUPPLIERS OR VENDORS      12/17/2018            $231.07
FRV INCORPORATED         107 S BROADWAY                                                                 DE PERE             WI           54115                                  SUPPLIERS OR VENDORS        1/4/2019             $97.79
FUJITSU AMERICA INC      0                            PO BOX 98821                                      CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      11/29/2018              $1.00
FUJITSU AMERICA INC      PO BOX 98821                                                                   CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      11/30/2018         $16,300.00
FUJITSU AMERICA INC      PO BOX 98821                                                                   CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS       1/10/2019          $7,334.15
FUJITSU AMERICA
INCORPORATED             PO BOX 198114                                                                  ATLANTA             GA           30384-8114                             SUPPLIERS OR VENDORS      10/30/2018         $79,712.87
FUKWAY LASSITER          959 BYRD AVENUE                                                                NEENAH              WI           54956                                  SUPPLIERS OR VENDORS      10/22/2018             $10.00
FUN BEVERAGE
INCORPORATED             175 SCHOOL HOUSE LOOP                                                          KALISPELL           MT           59901-0000                             SUPPLIERS OR VENDORS      10/19/2018            $285.80
FUN BEVERAGE
INCORPORATED             175 SCHOOL HOUSE LOOP                                                          KALISPELL           MT           59901-0000                             SUPPLIERS OR VENDORS      10/26/2018             $47.90
FUN BEVERAGE
INCORPORATED             175 SCHOOL HOUSE LOOP                                                          KALISPELL           MT           59901-0000                             SUPPLIERS OR VENDORS       11/2/2018            $355.80
FUN BEVERAGE
INCORPORATED             175 SCHOOL HOUSE LOOP                                                          KALISPELL           MT           59901-0000                             SUPPLIERS OR VENDORS       11/9/2018            $217.00
FUN BEVERAGE
INCORPORATED             175 SCHOOL HOUSE LOOP                                                          KALISPELL           MT           59901-0000                             SUPPLIERS OR VENDORS      12/11/2018             $76.57
FUN BEVERAGE
INCORPORATED             175 SCHOOL HOUSE LOOP                                                          KALISPELL           MT           59901-0000                             SUPPLIERS OR VENDORS      12/20/2018            $191.25
FUN BEVERAGE
INCORPORATED             175 SCHOOL HOUSE LOOP                                                          KALISPELL           MT           59901-0000                             SUPPLIERS OR VENDORS      12/21/2018            $335.00
FUNAI CORPORATION        3170 SOLUTIONS CENTER        LOCKBOX 773170                                    CHICAGO             IL           60677-3001                             SUPPLIERS OR VENDORS      10/25/2018        $576,472.53
FUNAI CORPORATION        3170 SOLUTIONS CENTER        LOCKBOX 773170                                    CHICAGO             IL           60677-3001                             SUPPLIERS OR VENDORS      11/13/2018        $546,801.11
FUNAI CORPORATION        3170 SOLUTIONS CENTER        LOCKBOX 773170                                    CHICAGO             IL           60677-3001                             SUPPLIERS OR VENDORS      11/14/2018         $24,653.60
FUNRISE TOYS LIMITED     7811 Lemona Avenue                                                             Van Nuys            CA           91405                                  SUPPLIERS OR VENDORS      10/18/2018          $8,060.47
FUNRISE TOYS LIMITED     7811 Lemona Avenue                                                             Van Nuys            CA           91405                                  SUPPLIERS OR VENDORS      10/25/2018          $8,538.18
FUNRISE TOYS LIMITED     7811 Lemona Avenue                                                             Van Nuys            CA           91405                                  SUPPLIERS OR VENDORS       11/1/2018          $2,631.40
FUNRISE TOYS LIMITED     7811 Lemona Avenue                                                             Van Nuys            CA           91405                                  SUPPLIERS OR VENDORS       11/8/2018          $4,991.43
FUNRISE TOYS LIMITED     7811 Lemona Avenue                                                             Van Nuys            CA           91405                                  SUPPLIERS OR VENDORS      11/15/2018             $20.26
FUNRISE TOYS LIMITED     7811 Lemona Avenue                                                             Van Nuys            CA           91405                                  SUPPLIERS OR VENDORS      11/22/2018          $6,716.60
FUTURE FOAM INC          PO BOX 1017                                                                    OMAHA               NE           68101-1017                             SUPPLIERS OR VENDORS      10/18/2018         $10,374.33
FUTURE FOAM INC          PO BOX 1017                                                                    OMAHA               NE           68101-1017                             SUPPLIERS OR VENDORS      10/25/2018          $9,535.00
FUTURE FOAM INC          PO BOX 1017                                                                    OMAHA               NE           68101-1017                             SUPPLIERS OR VENDORS       11/1/2018          $8,480.00
FUTURE FOAM INC          PO BOX 1017                                                                    OMAHA               NE           68101-1017                             SUPPLIERS OR VENDORS      11/15/2018         $86,654.54



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                                                                                                                                                                                     Reasons for payment or    Dates of     Total Amount or
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FUTURE FOAM INC           PO BOX 1017                                                                      OMAHA               NE           68101-1017                             SUPPLIERS OR VENDORS        11/22/2018          $137,703.00
FUTURE FOAM INC           PO BOX 1017                                                                      OMAHA               NE           68101-1017                             SUPPLIERS OR VENDORS        11/29/2018          $110,206.00
G & H MAPPING             BOX 30                                                                           CUSTER              SD           57730                                  SUPPLIERS OR VENDORS        10/22/2018              $300.00
G A L HORTICULTURE
SERVICES                  GREGORY A LEWIS                PO BOX 850                                        JACKSBORO           TX           76458                                  SUPPLIERS OR VENDORS       10/25/2018              $205.68
G III LEATHER FASHIONS    PO BOX 29242                                                                     NEW YORK            NY           10087-9242                             SUPPLIERS OR VENDORS       11/13/2018            $2,020.28
G III LEATHER FASHIONS    PO BOX 29242                                                                     NEW YORK            NY           10087-9242                             SUPPLIERS OR VENDORS       11/14/2018            $5,400.00
                          GC OILFIELD CONSULTING
G&W ON SITE STORAGE       INCORPORATED                   PO BOX 1064                                       LYMAN               WY           82937                                  SUPPLIERS OR VENDORS        11/2/2018              $420.00
                          GC OILFIELD CONSULTING
G&W ON SITE STORAGE       INCORPORATED                   PO BOX 1064                                       LYMAN               WY           82937                                  SUPPLIERS OR VENDORS       12/14/2018              $210.00
G. RANDY JOHNSON          1100 9TH AVE SO                                                                  CLEAR LAKE          IA           50428                                  SUPPLIERS OR VENDORS       11/29/2018               $11.55
G. RANDY JOHNSON          1100 9TH AVE SO                                                                  CLEAR LAKE          IA           50428                                  SUPPLIERS OR VENDORS       11/29/2018               $12.00
G. RANDY JOHNSON          1100 9TH AVE SO                                                                  CLEAR LAKE          IA           50428                                  SUPPLIERS OR VENDORS       11/29/2018               $48.00
GABRIELA CHAVARRIA        1522 S 25TH AVE                                                                  OMAHA               NE           68105                                  SUPPLIERS OR VENDORS       12/13/2018                $2.00
GABRIELLE LARSON          111 WESGAY ST                                                                    GRETNA              NE           68028                                  SUPPLIERS OR VENDORS       10/26/2018               $23.00
GABRIELLE LEMIEUX         PO BOX 130173                                                                    CORAM               MT           59913                                  SUPPLIERS OR VENDORS       10/25/2018               $10.00
GABRIELLE WISE            STORE 649                      SHOPKO EMPLOYEE        1995 SOUTH CEDAR           IMLAY               MI           48444                                  SUPPLIERS OR VENDORS       10/26/2018              $250.13
GABRIELLE WISE            STORE 649                      SHOPKO EMPLOYEE        1995 SOUTH CEDAR           IMLAY               MI           48444                                  SUPPLIERS OR VENDORS        11/9/2018              $183.05
GABRIELLE WISE            STORE 649                      SHOPKO EMPLOYEE        1995 SOUTH CEDAR           IMLAY               MI           48444                                  SUPPLIERS OR VENDORS       11/16/2018               $30.01
GABRIELLE WISE            STORE 649                      SHOPKO EMPLOYEE        1995 SOUTH CEDAR           IMLAY               MI           48444                                  SUPPLIERS OR VENDORS       11/27/2018                $5.01
GAGE HEINRICH             1227 E 900 N                                                                     LOGAN               UT           84321                                  SUPPLIERS OR VENDORS        12/7/2018               $26.00
GAGE SCHEELER             934 PARK AVE                                                                     LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS       11/26/2018               $12.00

GAIA GROUP USA LLC        2500 W HIGGINS RD SUITE 1110                                                     HOFFMAN ESTATES IL               60169                                  SUPPLIERS OR VENDORS       10/19/2018            $1,279.62

GAIA GROUP USA LLC        2500 W HIGGINS RD SUITE 1110                                                     HOFFMAN ESTATES IL               60169                                  SUPPLIERS OR VENDORS       10/23/2018              $292.17

GAIA GROUP USA LLC        2500 W HIGGINS RD SUITE 1110                                                     HOFFMAN ESTATES IL               60169                                  SUPPLIERS OR VENDORS       10/26/2018              $333.05

GAIA GROUP USA LLC        2500 W HIGGINS RD SUITE 1110                                                     HOFFMAN ESTATES IL               60169                                  SUPPLIERS OR VENDORS       10/30/2018               $62.06

GAIA GROUP USA LLC        2500 W HIGGINS RD SUITE 1110                                                     HOFFMAN ESTATES IL               60169                                  SUPPLIERS OR VENDORS        11/2/2018               $92.47

GAIA GROUP USA LLC        2500 W HIGGINS RD SUITE 1110                                                     HOFFMAN ESTATES IL               60169                                  SUPPLIERS OR VENDORS        11/9/2018               $57.12

GAIA GROUP USA LLC        2500 W HIGGINS RD SUITE 1110                                                     HOFFMAN ESTATES IL               60169                                  SUPPLIERS OR VENDORS       11/13/2018              $180.98

GAIA GROUP USA LLC        2500 W HIGGINS RD SUITE 1110                                                     HOFFMAN ESTATES IL               60169                                  SUPPLIERS OR VENDORS       11/27/2018              $158.67

GAIA GROUP USA LLC        2500 W HIGGINS RD SUITE 1110                                                     HOFFMAN ESTATES     IL           60169                                  SUPPLIERS OR VENDORS       11/30/2018               $79.46
GAIL DOMMEL               1730 SOUTH HANCE DRIVE       #202                                                FREEPORT            IL           61032                                  SUPPLIERS OR VENDORS       11/28/2018                $2.00
GAIL EGGERS               3458 DOGWOOD AVE                                                                 FERTILE             IA           50434                                  SUPPLIERS OR VENDORS       10/24/2018               $48.00
GAIL EGGERS               3458 DOGWOOD AVE                                                                 FERTILE             IA           50434                                  SUPPLIERS OR VENDORS       11/28/2018               $12.00
GAIL KAUPPILA             304 QUINCY SWT,              APT# 2                                              HANCOCK             MI           49930                                  SUPPLIERS OR VENDORS       10/25/2018               $16.00
GAIL MITCHELL             1622 W. RATTLESNAKE CT.                                                          MERIDIAN            ID           83646                                  SUPPLIERS OR VENDORS       12/21/2018               $40.00
GAIL PERSCHBACHER         2425 NICOLE CRT                                                                  OSHKOSH             WI           54904                                  SUPPLIERS OR VENDORS       10/24/2018               $44.16
GAIL SALM                 4416 BELOGROVE LANE                                                              MADISON             WI           53704                                  SUPPLIERS OR VENDORS        11/8/2018               $22.50
GAIL SCHMITZ              P.O. BOX 134                                                                     HAZELHURST          WI           54531                                  SUPPLIERS OR VENDORS        11/9/2018               $16.00
GAIL TEETER               38028 N. LAKESIDE DR.                                                            ELK                 WA           99009                                  SUPPLIERS OR VENDORS        12/3/2018               $14.13
GAIL TEETER               38028 N. LAKESIDE DR.                                                            ELK                 WA           99009                                  SUPPLIERS OR VENDORS        12/7/2018               $66.87
GAIL TEETER               38028 N. LAKESIDE DR.                                                            ELK                 WA           99009                                  SUPPLIERS OR VENDORS       12/14/2018              $145.92
GALDERMA LABORATORIES L
P                         22113 NETWORK PLACE                                                              CHICAGO             IL           60673-1221                             SUPPLIERS OR VENDORS       10/18/2018            $8,598.54



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GALDERMA LABORATORIES L
P                         22113 NETWORK PLACE                                                             CHICAGO             IL           60673-1221                             SUPPLIERS OR VENDORS      10/20/2018           $9,447.61
GALDERMA LABORATORIES L
P                         22113 NETWORK PLACE                                                             CHICAGO             IL           60673-1221                             SUPPLIERS OR VENDORS      10/24/2018           $5,969.38
GALDERMA LABORATORIES L
P                         22113 NETWORK PLACE                                                             CHICAGO             IL           60673-1221                             SUPPLIERS OR VENDORS       11/2/2018           $8,365.70
GALDERMA LABORATORIES L
P                         22113 NETWORK PLACE                                                             CHICAGO             IL           60673-1221                             SUPPLIERS OR VENDORS       11/3/2018           $8,747.09
GALDERMA LABORATORIES L
P                         22113 NETWORK PLACE                                                             CHICAGO             IL           60673-1221                             SUPPLIERS OR VENDORS      11/17/2018           $8,490.40
GALDERMA LABORATORIES L
P                         22113 NETWORK PLACE                                                             CHICAGO             IL           60673-1221                             SUPPLIERS OR VENDORS      11/24/2018           $3,420.21
GALE FRANK                108 3RD AVE                                                                     FORRESTON           IL           61030                                  SUPPLIERS OR VENDORS      11/12/2018              $22.65
GALE LOUDENBECK           N406 HILLSIDE ROAD                                                              LAKE GENEVA         WI           53147                                  SUPPLIERS OR VENDORS      10/31/2018              $23.89
GALE PLATT                N2765 S PARK                                                                    COLEMAN             WI           54112                                  SUPPLIERS OR VENDORS      10/29/2018              $25.00
GALLAGHER BASSETT         15763 COLLECTION CENTER
SERVICES INCORPORATED     DRIVE                                                                           CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      10/22/2018            $270.22
GALLAGHER BASSETT         15763 COLLECTION CENTER
SERVICES INCORPORATED     DRIVE                                                                           CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS       11/5/2018         $45,771.00
GALLAGHER BASSETT         15763 COLLECTION CENTER
SERVICES INCORPORATED     DRIVE                                                                           CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      11/15/2018             $163.26
GALLAGHERS PIZZA          1927 S WEBSTER AVENUE                                                           GREEN BAY           WI           54301                                  SUPPLIERS OR VENDORS      12/18/2018           $1,848.63
GALLATIN CAMPGROUNDS
INC                       547 GARDEN AVENUE                                                               BILLINGS            MT           59101                                  SUPPLIERS OR VENDORS       11/1/2018         $20,600.00
GALLATIN CAMPGROUNDS
INC                       547 GARDEN AVENUE                                                               BILLINGS            MT           59101                                  SUPPLIERS OR VENDORS       12/3/2018         $20,600.00
                                                        2400 PILOT KNOB ROAD
GALLIPOT INCORPORATED     VICE PRESIDENT OF SALES       STE 200                                           SAINT PAUL          MN           55120                                  SUPPLIERS OR VENDORS      11/29/2018             $78.82
                                                        2400 PILOT KNOB ROAD
GALLIPOT INCORPORATED     VICE PRESIDENT OF SALES       STE 200                                           SAINT PAUL          MN           55120                                  SUPPLIERS OR VENDORS      11/29/2018            $379.40
                                                        2400 PILOT KNOB ROAD
GALLIPOT INCORPORATED     VICE PRESIDENT OF SALES       STE 200                                           SAINT PAUL          MN           55120                                  SUPPLIERS OR VENDORS      12/17/2018            $345.20

GANGSAN YOON              1365 NE BRANDI WAY APT E204                                                     PULLMAN             WA           99163                                  SUPPLIERS OR VENDORS      10/29/2018             $95.98
GANNETT WISCONSIN
MEDIA                     PO BOX 3249                                                                     MILWAUKEE           WI           53201-3249                             SUPPLIERS OR VENDORS      11/30/2018              $39.96
GANZ USA LLC              43 60 INDUSTRIAL PARKWAY                                                        CHEEKTOWAGA         NY           14227-9903                             SUPPLIERS OR VENDORS      10/25/2018           $9,984.57
GARAGE FORCE              1157 SOUTH TAYLOR ST                                                            GREEN BAY           WI           54304                                  SUPPLIERS OR VENDORS      11/29/2018           $2,650.00
GARCOA LABS
INCORPORATED              PO BOX 6532                                                                     WOODLAND HILLS CA                91365-6532                             SUPPLIERS OR VENDORS      10/18/2018           $1,926.99
GARDA CL GREAT LAKES                                    3209 MOMENTUM
INCORPORATED              LOCKBOX 233209                PLACE                                             CHICAGO             IL           60689-5332                             SUPPLIERS OR VENDORS       11/1/2018           $1,723.44
GARDA CL GREAT LAKES                                    3209 MOMENTUM
INCORPORATED              LOCKBOX 233209                PLACE                                             CHICAGO             IL           60689-5332                             SUPPLIERS OR VENDORS      11/29/2018           $1,750.94
GARDA CL GREAT LAKES                                    3209 MOMENTUM
INCORPORATED              LOCKBOX 233209                PLACE                                             CHICAGO             IL           60689-5332                             SUPPLIERS OR VENDORS      12/17/2018           $1,153.40
GARETT MALAN              826 SOUTH 34TH STREET                                                           LINCOLN             NE           68510                                  SUPPLIERS OR VENDORS       11/5/2018              $24.99
                                                                               650 W BEAVERBROOK
GARRETT LARSEN            STORE 632                     SHOPKO EMPLOYEE        AVENUE                     SPOONER             WI           54801                                  SUPPLIERS OR VENDORS      10/25/2018             $148.25
GARRY GEHRKE              381 COUNTY RD E                                                                 RIPON               WI           54971                                  SUPPLIERS OR VENDORS      10/19/2018              $15.00
GARRY JONES               STORE SERVICES                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/19/2018           $1,436.44
GARRY JONES               STORE SERVICES                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/2/2018             $222.76
GARRY JONES               STORE SERVICES                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/27/2018             $941.70
GARRY JONES               STORE SERVICES                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/30/2018              $15.11



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GARRY JONES           STORE SERVICES             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/14/2018              $547.02
GARRY JONES           STORE SERVICES             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/20/2018              $856.92
GARRY LUTZ            1009 FEILDCREST DR                                                           MENASHA             WI           54952                                  SUPPLIERS OR VENDORS        12/14/2018               $10.00
GARY BARANOWSKI       3166 ATLANTIS DR                                                             GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS        12/21/2018               $25.00
GARY BELL             3305 KINGSTON DR                                                             MADISON             WI           53713                                  SUPPLIERS OR VENDORS         11/5/2018               $10.00
GARY BOURASSA         PO BOX 1025                                                                  ASOTIN              WA           99402                                  SUPPLIERS OR VENDORS         11/9/2018               $12.00
GARY BOURASSA         PO BOX 1025                                                                  ASOTIN              WA           99402                                  SUPPLIERS OR VENDORS         11/9/2018              $190.48
GARY BUBNES           RECRUITING                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/1/2018              $420.97
GARY DUNAWAY          445 WHITTEMORE DR.                                                           SOUTH BELOIT        IL           61080                                  SUPPLIERS OR VENDORS        11/28/2018               $25.00
GARY DUNNICK          STORE 611                  SHOPKO EMPLOYEE        1002 OLD MN AVE            SAINT PETER         MN           56082-2044                             SUPPLIERS OR VENDORS        12/20/2018              $441.91
GARY DUNNICK          STORE 611                  SHOPKO EMPLOYEE        1002 OLD MN AVE            SAINT PETER         MN           56082-2044                             SUPPLIERS OR VENDORS        12/28/2018              $255.35
GARY GIBSON           TREASURY SERVICES          SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/26/2018              $435.31
GARY HARTOG           512 BIRCHWOOD TRAIL                                                          MOUNT HOREB         WI           53572                                  SUPPLIERS OR VENDORS        10/22/2018               $25.00
GARY HEUER            829 DOGWOOD DR                                                               BELOIT              WI           53511                                  SUPPLIERS OR VENDORS         12/7/2018               $90.58
GARY KUEHNEMAN        N3189 BUENA VISTA ROAD                                                       FORT ATKINSON       WI           53538                                  SUPPLIERS OR VENDORS         11/8/2018               $22.50
GARY LAABS            15041 BAYSIDE AVE.                                                           CLEAR LAKE          IA           50428                                  SUPPLIERS OR VENDORS        10/22/2018               $13.90
GARY LOWERY           598 WATSON DRIVE                                                             EUGENE              OR           97404                                  SUPPLIERS OR VENDORS        10/25/2018               $16.00
GARY LYNAM            3115 CUMMINS WAY                                                             MISSOULA            MT           59802                                  SUPPLIERS OR VENDORS         11/5/2018               $53.76
GARY MCCOLLUM         PO BOX 143                                                                   SAINT IGNATIUS      MT           59865                                  SUPPLIERS OR VENDORS        11/26/2018               $53.76
GARY MOERER           8000 VEGAS RD                                                                LINCOLN             NE           68505                                  SUPPLIERS OR VENDORS        10/22/2018               $13.15
GARY MORRIS           1806 ST GEORGE LANE                                                          JANESVILLE          WI           53545                                  SUPPLIERS OR VENDORS         12/5/2018               $25.00
GARY POMERINKE        902 STEWART AVE                                                              LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS        10/25/2018               $42.00
GARY PRUSA            819 S JOEL RD                                                                GREENACRES          WA           99016                                  SUPPLIERS OR VENDORS         12/5/2018               $98.95
GARY PULJAS           1304 GARFIELD AVE                                                            ALTOONA             WI           54720                                  SUPPLIERS OR VENDORS        11/26/2018               $25.00
GARY SANDQUIST        39731 158TH ST.                                                              MELLETTE            SD           57461                                  SUPPLIERS OR VENDORS        11/26/2018               $12.16
GARY SANDQUIST        39731 158TH ST.                                                              MELLETTE            SD           57461                                  SUPPLIERS OR VENDORS        11/26/2018               $48.64
GARY SCHRAUFNAGEL     STORE 123                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/15/2018              $239.80
GARY THIEL            413 ROEDL CT.                                                                BEAVER DAM          WI           53916                                  SUPPLIERS OR VENDORS        11/26/2018               $25.00
GARY VAN HULLE        N451 JULIUS RD                                                               APPLETON            WI           54915                                  SUPPLIERS OR VENDORS         12/5/2018                $5.00
GARY VANDEHEI         STORE DEVELOPMENT          SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/19/2018              $740.23
GARY VANDEHEI         STORE DEVELOPMENT          SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/26/2018               $39.60
GARY VANDEHEI         STORE DEVELOPMENT          SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/9/2018              $608.98
GARY VANDEHEI         STORE DEVELOPMENT          SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/30/2018               $35.58
GARY VANDEHEI         STORE DEVELOPMENT          SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/14/2018              $274.54
GARY VANDEHEI         STORE DEVELOPMENT          SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/20/2018              $427.36
GARY YOUNGBERG        15036 K CIR                                                                  OMAHA               NE           68137                                  SUPPLIERS OR VENDORS         12/7/2018               $16.00
GATEWAY SHOPPING
CENTER                PO BOX 7248                                                                  BOISE               ID           83707                                  SUPPLIERS OR VENDORS        11/1/2018              $161.00
GATEWAY SHOPPING
CENTER                PO BOX 7248                                                                  BOISE               ID           83707                                  SUPPLIERS OR VENDORS        12/3/2018              $161.00
GATEWAY SHOPPING
CENTER                PO BOX 7248                                                                  BOISE               ID           83707                                  SUPPLIERS OR VENDORS         1/4/2019              $161.00
GAVIN CORNELIUS       858 SOUTH 300 WEST                                                           BRIGHAM CITY        UT           84302                                  SUPPLIERS OR VENDORS       10/30/2018               $35.00
GAVIN DURNEN          621 EAST BROADWAY                                                            WINONA              MN           55987                                  SUPPLIERS OR VENDORS        12/3/2018                $3.00
GAVIN SHEA            N4506 STATE HWY 67                                                           SAINT CLOUD         WI           53079                                  SUPPLIERS OR VENDORS       12/10/2018               $15.60
GAYLE E PEREIRA       1537 BUENA VISTA                                                             SAN CLEMENTE        CA           92672                                  SUPPLIERS OR VENDORS        11/1/2018           $10,000.00
GAYLE E PEREIRA       1537 BUENA VISTA                                                             SAN CLEMENTE        CA           92672                                  SUPPLIERS OR VENDORS        12/1/2018           $10,000.00
GAYLE SCHMITT         9541 310TH AVE NE                                                            NORTH BRANCH        MN           55056                                  SUPPLIERS OR VENDORS        12/7/2018               $25.00
GAYLE UKER            608 1ST AVE SW                                                               ROCKFORD            IA           50468                                  SUPPLIERS OR VENDORS       10/22/2018               $12.00
                                                                                                                                                                           PURCHASE OF
GBG USA INC           350 FIFTH AVENUE FLOOR 7                                                     NEW YORK            NY           10118                                  MERCHANDISE                10/31/2018          $120,585.86
GEISS DESTIN & DUNN
INCORPORATED          PO BOX 102938                                                                ATLANTA             GA           30368-2938                             SUPPLIERS OR VENDORS       10/18/2018            $6,639.55




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                                                                                                                                                                           Reasons for payment or    Dates of    Total Amount or
       Creditor Name               Address1           Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
GEISS DESTIN & DUNN
INCORPORATED           PO BOX 102938                                                              ATLANTA             GA           30368-2938                             SUPPLIERS OR VENDORS      11/15/2018           $5,718.59

GENCO TRANSPORTATION                           1400 LOMBARDI
MANAGEMENT LLC         SUITE 204               AVENUE                                             GREEN BAY           WI           54304-0000                             SUPPLIERS OR VENDORS      10/18/2018            $250.00

GENCO TRANSPORTATION                           1400 LOMBARDI
MANAGEMENT LLC         SUITE 204               AVENUE                                             GREEN BAY           WI           54304-0000                             SUPPLIERS OR VENDORS      10/25/2018         $25,511.06

GENCO TRANSPORTATION                           1400 LOMBARDI
MANAGEMENT LLC         SUITE 204               AVENUE                                             GREEN BAY           WI           54304-0000                             SUPPLIERS OR VENDORS      11/15/2018        $255,099.49

GENCO TRANSPORTATION                           1400 LOMBARDI
MANAGEMENT LLC         SUITE 204               AVENUE                                             GREEN BAY           WI           54304-0000                             SUPPLIERS OR VENDORS      11/29/2018         $74,694.73

GENCO TRANSPORTATION                           1400 LOMBARDI
MANAGEMENT LLC         SUITE 204               AVENUE                                             GREEN BAY           WI           54304-0000                             SUPPLIERS OR VENDORS       12/7/2018         $54,474.05

GENCO TRANSPORTATION                           1400 LOMBARDI
MANAGEMENT LLC         SUITE 204               AVENUE                                             GREEN BAY           WI           54304-0000                             SUPPLIERS OR VENDORS      12/11/2018         $15,946.61

GENCO TRANSPORTATION                           1400 LOMBARDI
MANAGEMENT LLC         SUITE 204               AVENUE                                             GREEN BAY           WI           54304-0000                             SUPPLIERS OR VENDORS      12/13/2018           $2,504.81

GENCO TRANSPORTATION                           1400 LOMBARDI
MANAGEMENT LLC         SUITE 204               AVENUE                                             GREEN BAY           WI           54304-0000                             SUPPLIERS OR VENDORS      12/14/2018           $5,559.19

GENCO TRANSPORTATION                           1400 LOMBARDI
MANAGEMENT LLC         SUITE 204               AVENUE                                             GREEN BAY           WI           54304-0000                             SUPPLIERS OR VENDORS      12/17/2018             $90.00

GENCO TRANSPORTATION                           1400 LOMBARDI
MANAGEMENT LLC         SUITE 204               AVENUE                                             GREEN BAY           WI           54304-0000                             SUPPLIERS OR VENDORS      12/21/2018           $2,341.23

GENCO TRANSPORTATION
MANAGEMENT LLC         1400 Lombardi Ave       SUITE 204                                          GREEN BAY           WI           54304                                  SUPPLIERS OR VENDORS      10/20/2018              $1.00
GENE A TEBO            395 E BLACK WOLF AVE                                                       OSHKOSH             WI           54901                                  SUPPLIERS OR VENDORS      11/26/2018             $44.00
GENE FENSKE            34042 TIMBERCREST RD                                                       REDWOOD FALLS       MN           56283                                  SUPPLIERS OR VENDORS      12/13/2018            $125.00
GENE HARMELINK         W2514 US HWY 8                                                             BRANTWOOD           WI           54513                                  SUPPLIERS OR VENDORS      11/16/2018             $39.68
GENE HARMELINK         W2514 US HWY 8                                                             BRANTWOOD           WI           54513                                  SUPPLIERS OR VENDORS      11/29/2018              $9.92
GENE HEEREN            2361 WEST FLORENCE RD                                                      BAILEYVILLE         IL           61007                                  SUPPLIERS OR VENDORS      12/10/2018             $13.82
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC       PO BOX 19060            DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/18/2018            $193.20
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC       PO BOX 19060            DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/19/2018             $11.40
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC       PO BOX 19060            DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/19/2018           $1,532.23
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC       PO BOX 19060            DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/22/2018            $157.35
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC       PO BOX 19060            DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/22/2018            $288.80
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC       PO BOX 19060            DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/22/2018            $315.20
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC       PO BOX 19060            DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/22/2018            $824.07



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                                                                                                                                                                      Reasons for payment or    Dates of    Total Amount or
       Creditor Name            Address1         Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/24/2018             $30.50
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/25/2018            $369.20
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/25/2018            $538.28
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/26/2018             $94.71
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/26/2018           $2,552.15
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/29/2018            $684.16
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/29/2018           $5,970.00
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/30/2018             $33.56
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/31/2018             $23.10
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/1/2018            $154.15
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/1/2018            $466.80
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/2/2018            $736.50
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/2/2018           $2,023.76
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/5/2018             $62.46
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/5/2018            $267.00
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/5/2018           $1,461.81
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/7/2018             $31.80
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/8/2018               $3.92
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/8/2018             $95.74
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/8/2018            $168.60
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/9/2018            $372.75
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/9/2018            $424.55
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/9/2018           $1,276.71
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/12/2018            $163.10
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/12/2018           $1,133.60
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/12/2018           $2,027.96
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/13/2018            $179.81



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                                                                                                                                                                      Reasons for payment or    Dates of    Total Amount or
       Creditor Name            Address1         Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/14/2018           $1,845.10
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/15/2018            $152.50
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/15/2018            $189.20
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/15/2018            $265.95
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/15/2018            $389.60
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/16/2018            $261.25
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/16/2018           $1,369.56
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/22/2018               $9.67
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/22/2018            $242.80
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/22/2018            $265.80
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/22/2018           $1,026.06
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/22/2018           $1,552.70
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/23/2018            $132.70
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/23/2018            $134.90
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/23/2018            $486.00
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/23/2018           $2,316.08
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/26/2018             $13.32
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/26/2018            $243.45
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/26/2018           $2,171.42
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/27/2018            $978.96
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/28/2018            $216.45
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/29/2018            $271.00
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/29/2018            $298.25
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/29/2018           $2,716.98
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/30/2018             $30.30
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/30/2018            $249.65
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/30/2018            $265.60



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                                                                                                                                                                      Reasons for payment or    Dates of    Total Amount or
       Creditor Name            Address1         Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/30/2018            $989.44
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/3/2018             $28.50
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/3/2018            $173.80
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/3/2018           $2,667.66
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/4/2018             $87.05
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/5/2018            $216.70
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/5/2018            $649.10
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/11/2018            $154.46
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/11/2018            $274.30
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/14/2018             $62.52
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/14/2018            $293.95
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/14/2018            $401.70
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/20/2018            $188.70
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/20/2018            $212.20
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/20/2018            $373.08
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/20/2018            $408.85
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/20/2018           $2,582.24
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/20/2018         $12,331.95
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/21/2018             $99.60
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/27/2018            $198.50
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/27/2018            $220.20
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/27/2018            $668.52
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/27/2018           $1,159.60
GENERAL BEER
DISTRIBUTORS           SHOPKO STORES INC   PO BOX 19060           DISC 06/19/02              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/27/2018           $1,172.69
GENERAL BEER
NORTHWOODS             825 PARK LANE       PAM TO ORACLE                                     PARK FALLS          WI           54552                                  SUPPLIERS OR VENDORS      10/26/2018             $46.00
GENERAL BEER
NORTHWOODS             825 PARK LANE       PAM TO ORACLE                                     PARK FALLS          WI           54552                                  SUPPLIERS OR VENDORS       11/7/2018             $73.30
GENERAL BEER
NORTHWOODS             825 PARK LANE       PAM TO ORACLE                                     PARK FALLS          WI           54552                                  SUPPLIERS OR VENDORS      11/15/2018             $55.00



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                                                                                                                                                                                Reasons for payment or    Dates of    Total Amount or
      Creditor Name                    Address1            Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
GENERAL BEER
NORTHWOODS                825 PARK LANE             PAM TO ORACLE                                      PARK FALLS          WI           54552                                  SUPPLIERS OR VENDORS       12/5/2018            $215.65
GENERAL BEER
NORTHWOODS                825 PARK LANE             PAM TO ORACLE                                      PARK FALLS          WI           54552                                  SUPPLIERS OR VENDORS      12/11/2018             $90.20
GENERAL ELECTRIC CO &
TUNGSRAM USA LTD          LIGHTING BUSINESS GROUP   PO BOX 100810                                      ATLANTA             GA           30384-0810                             SUPPLIERS OR VENDORS       11/2/2018           $2,106.69
GENERAL ELECTRIC CO &
TUNGSRAM USA LTD          LIGHTING BUSINESS GROUP   PO BOX 100810                                      ATLANTA             GA           30384-0810                             SUPPLIERS OR VENDORS       11/5/2018            $398.12
GENERAL ELECTRIC CO &
TUNGSRAM USA LTD          LIGHTING BUSINESS GROUP   PO BOX 100810                                      ATLANTA             GA           30384-0810                             SUPPLIERS OR VENDORS       11/6/2018             $48.71
GENERAL ELECTRIC CO &
TUNGSRAM USA LTD          LIGHTING BUSINESS GROUP   PO BOX 100810                                      ATLANTA             GA           30384-0810                             SUPPLIERS OR VENDORS       11/7/2018         $19,538.29
GENERAL ELECTRIC CO &
TUNGSRAM USA LTD          LIGHTING BUSINESS GROUP   PO BOX 100810                                      ATLANTA             GA           30384-0810                             SUPPLIERS OR VENDORS      11/22/2018         $19,913.21
GENERAL ELECTRIC CO &
TUNGSRAM USA LTD          LIGHTING BUSINESS GROUP   PO BOX 100810                                      ATLANTA             GA           30384-0810                             SUPPLIERS OR VENDORS      11/26/2018             $12.48
GENERAL ELECTRIC CO &
TUNGSRAM USA LTD          LIGHTING BUSINESS GROUP   PO BOX 100810                                      ATLANTA             GA           30384-0810                             SUPPLIERS OR VENDORS      11/28/2018             $25.05
GENERAL ELECTRIC CO &
TUNGSRAM USA LTD          LIGHTING BUSINESS GROUP   PO BOX 100810                                      ATLANTA             GA           30384-0810                             SUPPLIERS OR VENDORS      11/29/2018           $2,758.98
GENERAL MILLS
INCORPORATED              PO BOX 360009             PAM TO ORACLE                                      PITTSBURGH          PA           15251-6009                             SUPPLIERS OR VENDORS      10/18/2018         $73,483.45
GENERAL MILLS
INCORPORATED              PO BOX 360009             PAM TO ORACLE                                      PITTSBURGH          PA           15251-6009                             SUPPLIERS OR VENDORS      10/20/2018         $68,938.52
GENERAL MILLS
INCORPORATED              PO BOX 360009             PAM TO ORACLE                                      PITTSBURGH          PA           15251-6009                             SUPPLIERS OR VENDORS       11/2/2018           $1,564.80
GENERAL MILLS
INCORPORATED              PO BOX 360009             PAM TO ORACLE                                      PITTSBURGH          PA           15251-6009                             SUPPLIERS OR VENDORS       11/3/2018         $91,971.36
GENERAL MILLS
INCORPORATED              PO BOX 360009             PAM TO ORACLE                                      PITTSBURGH          PA           15251-6009                             SUPPLIERS OR VENDORS       11/9/2018         $90,069.75
GENERAL MILLS
INCORPORATED              PO BOX 360009             PAM TO ORACLE                                      PITTSBURGH          PA           15251-6009                             SUPPLIERS OR VENDORS      11/16/2018         $70,849.54
GENERAL MILLS
INCORPORATED              PO BOX 360009             PAM TO ORACLE                                      PITTSBURGH          PA           15251-6009                             SUPPLIERS OR VENDORS      11/17/2018        $128,570.25
GENERAL MILLS
INCORPORATED              PO BOX 360009             PAM TO ORACLE                                      PITTSBURGH          PA           15251-6009                             SUPPLIERS OR VENDORS      11/24/2018         $76,177.12
GENERATION 3 MEDIA        PO BOX 15668                                                                 LOVES PARK          IL           61132                                  SUPPLIERS OR VENDORS       11/1/2018            $125.00
GENESIS REAL ESTATE AND
DEVELOPMENT               919 E WHITE MOUNTAIN                                                         PINETOP             AZ           85935                                  SUPPLIERS OR VENDORS      10/23/2018           $3,842.12
GENESIS REAL ESTATE AND
DEVELOPMENT               919 E WHITE MOUNTAIN                                                         PINETOP             AZ           85935                                  SUPPLIERS OR VENDORS       11/3/2018           $5,673.75
GENESIS REAL ESTATE AND
DEVELOPMENT               919 E WHITE MOUNTAIN                                                         PINETOP             AZ           85935                                  SUPPLIERS OR VENDORS       12/5/2018           $5,673.75
GENESIS REAL ESTATE AND
DEVELOPMENT               919 E WHITE MOUNTAIN                                                         PINETOP             AZ           85935                                  SUPPLIERS OR VENDORS      12/22/2018           $4,528.85

GENEVIEVE KNUTH           2521 10TH STREET S        APT. 109                                           WISCONSIN RAPIDS    WI           54494                                  SUPPLIERS OR VENDORS       12/7/2018            $172.71
GENEVIEVE PARKER          30 SE 4TH ST APT A                                                           COLLEGE PLACE       WA           99324                                  SUPPLIERS OR VENDORS       11/8/2018             $28.40
GENEVIEVE SAUER           4104 E STEEPLE ST                                                            SIOUX FALLS         SD           57103                                  SUPPLIERS OR VENDORS      10/24/2018             $48.00
GENEVIEVE SAUER           4104 E STEEPLE ST                                                            SIOUX FALLS         SD           57103                                  SUPPLIERS OR VENDORS      10/29/2018             $12.00
GENNIFER CURRY            PO BOX 1334                                                                  PLAINS              MT           59859                                  SUPPLIERS OR VENDORS      11/28/2018            $187.36
GENNY BROWN               18919 DOUBLE T LANE                                                          LENORE              ID           83541                                  SUPPLIERS OR VENDORS      11/15/2018            $133.60
GENTRY COUNTY
TREASURER                 104 N POLK                                                                   ALBANY              MO           64402                                  SUPPLIERS OR VENDORS       11/8/2018             $25.00



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                                                                                                                                                                              Reasons for payment or    Dates of    Total Amount or
      Creditor Name             Address1                 Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
GENTRY COUNTY
TREASURER             104 N POLK                                                                     ALBANY              MO           64402                                  SUPPLIERS OR VENDORS      12/19/2018           $8,915.76
GEOFFREY ROOT         243 S. STATE ST                                                                WAUPUN              WI           53963                                  SUPPLIERS OR VENDORS      10/19/2018              $25.00
GEORGE AROLA          315 N. IROQUOIS STREET                                                         CALUMET             MI           49913                                  SUPPLIERS OR VENDORS       12/3/2018               $9.60
GEORGE GRATTAGE       149 SPRING COULEE RD                                                           OKANOGAN            WA           98840                                  SUPPLIERS OR VENDORS      11/16/2018              $56.98
GEORGE HAUSERMAN      3805 SO VIRGINIA LANE                                                          SPOKANE VALLEY      WA           99206                                  SUPPLIERS OR VENDORS       12/7/2018             $119.71
GEORGE MARINO         STORE 2-032                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS      10/26/2018             $699.34
GEORGE MARINO         STORE 2-032                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS      12/11/2018              $14.65
GEORGE MARINO         STORE 2-032                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS      12/14/2018             $521.02
GEORGE MARINO         STORE 2-032                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS      12/29/2018             $159.14
GEORGE O'BOYLE        3421 VANDORN STREET                                                            LINCOLN             NE           68506                                  SUPPLIERS OR VENDORS      12/13/2018              $62.55
GEORGE SCHAEFER       1311 SANDPIPER DR                                                              BEATRICE            NE           68510                                  SUPPLIERS OR VENDORS       11/1/2018              $32.77
GEORGE VELIS          820 S PINES RD                                                                 SPOKANE             WA           99206                                  SUPPLIERS OR VENDORS      11/26/2018              $66.87
GEORGE ZIEBELL        88224 145TH ST                                                                 GLENVILLE           MN           56036                                  SUPPLIERS OR VENDORS      10/29/2018              $41.11
GEORGETTA THIBEAU     208 WEGO TRAIL                                                                 FOX LAKE            WI           53933                                  SUPPLIERS OR VENDORS      11/12/2018               $9.76
GEORGIA BURHITE       5418 ORIOLE LN                                                                 STEVENS POINT       WI           54481                                  SUPPLIERS OR VENDORS      12/20/2018             $123.00
GEORGIA CHRISTENSEN   PO BOX 15171                                                                   TUCSON              AZ           85708                                  SUPPLIERS OR VENDORS      12/21/2018             $215.98
GEORGIA DULING        3500 FAULKNER DRIVE         APT A 209                                          LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS      11/12/2018              $13.15
GEORGIA GOODELL       101 E 4TH AVE                                                                  REDFIELD            SD           57469                                  SUPPLIERS OR VENDORS       12/7/2018              $48.64
                                                  CONVERSION    21ST
GEORGIA PACIFIC       PO BOX 503106               FLOOR                                              ST LOUIS            MO           63150-3106                             SUPPLIERS OR VENDORS      10/24/2018         $95,591.15
                                                  CONVERSION    21ST
GEORGIA PACIFIC       PO BOX 503106               FLOOR                                              ST LOUIS            MO           63150-3106                             SUPPLIERS OR VENDORS      10/25/2018         $62,908.15
                                                  CONVERSION    21ST
GEORGIA PACIFIC       PO BOX 503106               FLOOR                                              ST LOUIS            MO           63150-3106                             SUPPLIERS OR VENDORS      10/30/2018        $104,046.03
                                                  CONVERSION    21ST
GEORGIA PACIFIC       PO BOX 503106               FLOOR                                              ST LOUIS            MO           63150-3106                             SUPPLIERS OR VENDORS      11/14/2018         $31,380.33
                                                  CONVERSION    21ST
GEORGIA PACIFIC       PO BOX 503106               FLOOR                                              ST LOUIS            MO           63150-3106                             SUPPLIERS OR VENDORS      11/15/2018         $25,854.24
                                                  CONVERSION    21ST
GEORGIA PACIFIC       PO BOX 503106               FLOOR                                              ST LOUIS            MO           63150-3106                             SUPPLIERS OR VENDORS      11/27/2018        $132,135.39
                                                  CONVERSION    21ST
GEORGIA PACIFIC       PO BOX 503106               FLOOR                                              ST LOUIS            MO           63150-3106                             SUPPLIERS OR VENDORS      11/28/2018         $15,118.72
                                                  CONVERSION    21ST
GEORGIA PACIFIC       PO BOX 503106               FLOOR                                              ST LOUIS            MO           63150-3106                             SUPPLIERS OR VENDORS       12/5/2018         $88,386.08
                                                  CONVERSION    21ST
GEORGIA PACIFIC       PO BOX 503106               FLOOR                                              ST LOUIS            MO           63150-3106                             SUPPLIERS OR VENDORS      12/19/2018        $183,706.56
                                                  CONVERSION    21ST
GEORGIA PACIFIC       PO BOX 503106               FLOOR                                              ST LOUIS            MO           63150-3106                             SUPPLIERS OR VENDORS      12/20/2018         $27,397.53
                                                  CONVERSION    21ST
GEORGIA PACIFIC       PO BOX 503106               FLOOR                                              ST LOUIS            MO           63150-3106                             SUPPLIERS OR VENDORS      12/21/2018           $1,684.80
                                                  CONVERSION    21ST
GEORGIA PACIFIC       PO BOX 503106               FLOOR                                              ST LOUIS            MO           63150-3106                             SUPPLIERS OR VENDORS      12/28/2018         $29,341.52
GEORGIANA MLODIK      8966 STATE HWY 66                                                              ROSHOLT             WI           54473                                  SUPPLIERS OR VENDORS       12/7/2018             $23.00
GEORGIANN TOUPAL      STORE 4-049                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS      12/13/2018            $885.69
GEORGINA ELLIOTT      P.O. BOX 2951                                                                  KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS      10/24/2018             $62.46
GERALD DOHRMANN       3670 SUNNYVIEW RD                                                              DE PERE             WI           54115                                  SUPPLIERS OR VENDORS      11/26/2018             $13.58
GERALD GUSICK         640 WALKER ST.                                                                 POUND               WI           54161                                  SUPPLIERS OR VENDORS       12/5/2018             $25.00
GERALD KNIGHT         503 W BARAGA AVE                                                               HOUGHTON            MI           49931                                  SUPPLIERS OR VENDORS      10/31/2018              $9.60

GERALD MCKINSTRY      802 SOUTH RANDOLPH STREET                                                      WEEPING WATER       NE           68463                                  SUPPLIERS OR VENDORS      11/12/2018             $13.15
GERALD NAVIN          3529 S HWS CLEVAND                                                             OMAHA               NE           68130                                  SUPPLIERS OR VENDORS      11/12/2018             $76.00
GERALD SHEAHAN        3120 ONEIDA LAKE RD                                                            HARSHAW             WI           54529                                  SUPPLIERS OR VENDORS      11/15/2018              $9.92
GERALD SHEAHAN        3120 ONEIDA LAKE RD                                                            HARSHAW             WI           54529                                  SUPPLIERS OR VENDORS      11/29/2018             $39.68



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                                                                                                                                                                                Reasons for payment or    Dates of     Total Amount or
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GERALD SUNDHEIM         P.O BOX 1035                                                                  COLSTRIP            MT           59323                                  SUPPLIERS OR VENDORS        10/30/2018              $244.58
GERALD SYLVESTER        N2587 EDGEWOOD DR                                                             MARINETTE           WI           54143                                  SUPPLIERS OR VENDORS         12/3/2018               $99.98
GERALD TOBISON          W15612 CNTY RD C                                                              ATHELSTANE          WI           54104                                  SUPPLIERS OR VENDORS        11/14/2018               $25.00
GERALDINE AKKERMAN      2456 19TH ST                                                                  CLARKSTON           WA           99403                                  SUPPLIERS OR VENDORS        10/19/2018               $51.20
GERALDINE AKKERMAN      2456 19TH ST                                                                  CLARKSTON           WA           99403                                  SUPPLIERS OR VENDORS        11/12/2018              $134.82
GERALDINE BRITTAIN      1450 CASTLEROCK AVE. #46                                                      WENATCHEE           WA           98801                                  SUPPLIERS OR VENDORS        12/10/2018               $20.00
GERALDINE HENRY         133 HENFORD STREET                                                            KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS        11/28/2018               $36.00
GERALDINE HENRY         133 HENFORD STREET                                                            KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS        11/28/2018               $36.00
GERALDINE OLSON         1115 STARVIEW DRIVE                                                           HINTON              IA           51024                                  SUPPLIERS OR VENDORS        10/24/2018               $41.60
GERALDINE OLSON         7420 RAINIER RD SE                                                            OLYMPIA             WA           98513                                  SUPPLIERS OR VENDORS        11/12/2018               $15.00
GERALDINE SANKEY        772 56 TH STREET                                                              CHANDLER            MN           56122                                  SUPPLIERS OR VENDORS        10/29/2018              $125.00
GERALYN GREENWOOD       PO BOX 544                                                                    ABSAROKEE           MT           59001                                  SUPPLIERS OR VENDORS        10/26/2018               $93.00
GERARD DORN             104 DIVISION ST.                                                              RIO                 WI           53960                                  SUPPLIERS OR VENDORS         11/9/2018               $20.60
GERARD RUHLAND          835 GRAND AVE              APT. 7                                             PRAIRIE DU SAC      WI           53578                                  SUPPLIERS OR VENDORS        11/26/2018               $30.00
GERBER CHILDRENS WEAR
LLC                     7005 PELHAM RD SUITE D                                                        GREENVILLE          SC           29615-0000                             SUPPLIERS OR VENDORS       10/18/2018           $24,955.89
GERBER CHILDRENS WEAR
LLC                     7005 PELHAM RD SUITE D                                                        GREENVILLE          SC           29615-0000                             SUPPLIERS OR VENDORS       10/25/2018           $16,965.02
GERBER CHILDRENS WEAR
LLC                     7005 PELHAM RD SUITE D                                                        GREENVILLE          SC           29615-0000                             SUPPLIERS OR VENDORS       10/31/2018            $2,743.34
GERBER CHILDRENS WEAR
LLC                     7005 PELHAM RD SUITE D                                                        GREENVILLE          SC           29615-0000                             SUPPLIERS OR VENDORS        11/1/2018            $2,012.78
GERBER CHILDRENS WEAR
LLC                     7005 PELHAM RD SUITE D                                                        GREENVILLE          SC           29615-0000                             SUPPLIERS OR VENDORS        11/5/2018           $16,289.08
GERBER CHILDRENS WEAR
LLC                     7005 PELHAM RD SUITE D                                                        GREENVILLE          SC           29615-0000                             SUPPLIERS OR VENDORS        11/8/2018           $18,555.77
GERBER CHILDRENS WEAR
LLC                     7005 PELHAM RD SUITE D                                                        GREENVILLE          SC           29615-0000                             SUPPLIERS OR VENDORS       11/13/2018           $12,839.78
GERBER CHILDRENS WEAR
LLC                     7005 PELHAM RD SUITE D                                                        GREENVILLE          SC           29615-0000                             SUPPLIERS OR VENDORS       11/14/2018           $24,454.52
GERBER CHILDRENS WEAR
LLC                     7005 PELHAM RD SUITE D                                                        GREENVILLE          SC           29615-0000                             SUPPLIERS OR VENDORS       11/15/2018            $5,775.52
GERBER CHILDRENS WEAR
LLC                     7005 PELHAM RD SUITE D                                                        GREENVILLE          SC           29615-0000                             SUPPLIERS OR VENDORS       11/15/2018           $15,866.46
GERBER CHILDRENS WEAR
LLC                     7005 PELHAM RD SUITE D                                                        GREENVILLE          SC           29615-0000                             SUPPLIERS OR VENDORS       11/22/2018            $2,182.18
GERBER CHILDRENS WEAR
LLC                     7005 PELHAM RD SUITE D                                                        GREENVILLE          SC           29615-0000                             SUPPLIERS OR VENDORS       11/22/2018            $7,774.00
GERBER CHILDRENS WEAR
LLC                     7005 PELHAM RD SUITE D                                                        GREENVILLE          SC           29615-0000                             SUPPLIERS OR VENDORS       11/23/2018            $3,618.78
GERBER CHILDRENS WEAR
LLC                     7005 PELHAM RD SUITE D                                                        GREENVILLE          SC           29615-0000                             SUPPLIERS OR VENDORS       11/29/2018            $5,334.24
GERBER CHILDRENS WEAR
LLC                     7005 PELHAM RD SUITE D                                                        GREENVILLE          SC           29615-0000                             SUPPLIERS OR VENDORS       11/29/2018            $7,066.00
GERRIE LUBBEN           615 S MONROE AVENUE                                                           MASON CITY          IA           50401-5061                             SUPPLIERS OR VENDORS       10/19/2018            $7,160.66
GERRIE LUBBEN           615 S MONROE AVENUE                                                           MASON CITY          IA           50401-5061                             SUPPLIERS OR VENDORS        11/2/2018            $8,018.07
GERRIE LUBBEN           615 S MONROE AVENUE                                                           MASON CITY          IA           50401-5061                             SUPPLIERS OR VENDORS       11/16/2018            $7,296.21
GERRIE LUBBEN           615 S MONROE AVENUE                                                           MASON CITY          IA           50401-5061                             SUPPLIERS OR VENDORS       11/30/2018            $6,286.39
GERRIE LUBBEN           615 S MONROE AVENUE                                                           MASON CITY          IA           50401-5061                             SUPPLIERS OR VENDORS       12/14/2018            $6,182.91
GERRIE LUBBEN           615 S MONROE AVENUE                                                           MASON CITY          IA           50401-5061                             SUPPLIERS OR VENDORS       12/29/2018            $7,959.12
GERRIE LUBBEN           615 S MONROE AVENUE                                                           MASON CITY          IA           50401-5061                             SUPPLIERS OR VENDORS        1/11/2019            $3,951.26
                                                   1450 SOUTH LONE ELM
GERSON COMPANY          VICE PRESIDENT OF SALES    ROAD #A                                            OLATHE              KS           66061                                  SUPPLIERS OR VENDORS        11/8/2018            $1,000.00
GERTRUDE HANSEN         2017 2ND AVE N                                                                LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS       11/26/2018               $12.80



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                                                                                                                                                                               Reasons for payment or    Dates of     Total Amount or
      Creditor Name                 Address1              Address2                  Address3                  City             State       Zip              Country                   transfer          Payments            Value

GFS BUILDING              5141 NORTH 40TH ST                                                          PHOENIX             AZ           85018                                  LANDLORD RENT PAYMENT        1/4/2019         $58,243.65
GHIRADELLI CHOCOLATE
COMPANY                   VICE PRESIDENT OF SALES   1111 139TH AVENUE                                 SAN LEANDRO         CA           94578                                  SUPPLIERS OR VENDORS      10/18/2018          $11,745.42
GHIRADELLI CHOCOLATE
COMPANY                   VICE PRESIDENT OF SALES   1111 139TH AVENUE                                 SAN LEANDRO         CA           94578                                  SUPPLIERS OR VENDORS      10/19/2018          $15,908.10
GHIRADELLI CHOCOLATE
COMPANY                   VICE PRESIDENT OF SALES   1111 139TH AVENUE                                 SAN LEANDRO         CA           94578                                  SUPPLIERS OR VENDORS      10/22/2018         $101,599.97
GHIRADELLI CHOCOLATE
COMPANY                   VICE PRESIDENT OF SALES   1111 139TH AVENUE                                 SAN LEANDRO         CA           94578                                  SUPPLIERS OR VENDORS      10/25/2018            $8,544.46
GHIRADELLI CHOCOLATE
COMPANY                   VICE PRESIDENT OF SALES   1111 139TH AVENUE                                 SAN LEANDRO         CA           94578                                  SUPPLIERS OR VENDORS      10/26/2018          $23,408.46
GHIRADELLI CHOCOLATE
COMPANY                   VICE PRESIDENT OF SALES   1111 139TH AVENUE                                 SAN LEANDRO         CA           94578                                  SUPPLIERS OR VENDORS      10/29/2018         $123,766.83
GIANNA FROEHLICH          1190 3RD AVENUE                                                             CUMBERLAND          WI           54829                                  SUPPLIERS OR VENDORS      10/18/2018               $9.04
                          GIBBS LAWN & SNOW CARE
GIBBS LAWN CARE           INCORPORATED              PO BOX 152                                        BYRON               MN           55920                                  SUPPLIERS OR VENDORS       11/8/2018             $641.25
                                                                                                                                                                              PURCHASE OF
GIBSON OVERSEAS INC       2410 YATES AVENUE                                                           COMMERCE            CA           90040                                  MERCHANDISE                11/1/2018         $216,680.20
GIBSON OVERSEAS           CIT GROUP COMMERCIAL
INCORPORATED              SERVICES INC              PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      10/18/2018          $57,194.18
GIBSON OVERSEAS           CIT GROUP COMMERCIAL
INCORPORATED              SERVICES INC              PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      10/23/2018            $8,304.89
GIBSON OVERSEAS           CIT GROUP COMMERCIAL
INCORPORATED              SERVICES INC              PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      11/15/2018            $1,103.11
GIBSON OVERSEAS           CIT GROUP COMMERCIAL
INCORPORATED              SERVICES INC              PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      11/17/2018            $9,887.52
GIBSON OVERSEAS           CIT GROUP COMMERCIAL
INCORPORATED              SERVICES INC              PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      11/24/2018          $56,733.50
GILBERT CARLSON           397 GROVE ST.                                                               FOND DU LAC         WI           54935                                  SUPPLIERS OR VENDORS       12/5/2018              $25.00
GILBERT KLUKAN            PO BOX 454                                                                  DILLON              MT           59725                                  SUPPLIERS OR VENDORS      11/14/2018              $98.18

GILBERTO FREGOZO-SOLORZ 1232 BAILEY DRIVE                                                             MACHESNEY PARK IL                61115                                  SUPPLIERS OR VENDORS       11/1/2018              $69.50

GILBERTO FREGOZO-SOLORZ   1232 BAILEY DRIVE                                                           MACHESNEY PARK      IL           61115                                  SUPPLIERS OR VENDORS       11/1/2018              $72.00
GILDAN ACTIVEWEAR SRL     23119 NETWORK PLACE       PAM TO ORACLE                                     CHICAGO             IL           60673-1231                             SUPPLIERS OR VENDORS      10/22/2018          $11,431.15
GILDAN ACTIVEWEAR SRL     23119 NETWORK PLACE       PAM TO ORACLE                                     CHICAGO             IL           60673-1231                             SUPPLIERS OR VENDORS      10/23/2018           $3,067.23
GILDAN ACTIVEWEAR SRL     23119 NETWORK PLACE       PAM TO ORACLE                                     CHICAGO             IL           60673-1231                             SUPPLIERS OR VENDORS      10/29/2018          $39,669.93
GILDAN ACTIVEWEAR SRL     23119 NETWORK PLACE       PAM TO ORACLE                                     CHICAGO             IL           60673-1231                             SUPPLIERS OR VENDORS      10/30/2018           $6,737.28
GILDAN ACTIVEWEAR SRL     23119 NETWORK PLACE       PAM TO ORACLE                                     CHICAGO             IL           60673-1231                             SUPPLIERS OR VENDORS      10/31/2018           $5,529.12
GILDAN ACTIVEWEAR SRL     23119 NETWORK PLACE       PAM TO ORACLE                                     CHICAGO             IL           60673-1231                             SUPPLIERS OR VENDORS       11/5/2018          $82,010.65
GILDAN ACTIVEWEAR SRL     23119 NETWORK PLACE       PAM TO ORACLE                                     CHICAGO             IL           60673-1231                             SUPPLIERS OR VENDORS       11/9/2018          $10,081.47
GILDAN ACTIVEWEAR SRL     23119 NETWORK PLACE       PAM TO ORACLE                                     CHICAGO             IL           60673-1231                             SUPPLIERS OR VENDORS      11/22/2018          $29,029.04
GILDAN ACTIVEWEAR SRL     23119 NETWORK PLACE       PAM TO ORACLE                                     CHICAGO             IL           60673-1231                             SUPPLIERS OR VENDORS      11/29/2018          $37,216.52
GILDAN ACTIVEWEAR SRL     23119 NETWORK PLACE       PAM TO ORACLE                                     CHICAGO             IL           60673-1231                             SUPPLIERS OR VENDORS      11/30/2018           $3,086.40
GILDAN ACTIVEWEAR SRL     23119 NETWORK PLACE       PAM TO ORACLE                                     CHICAGO             IL           60673-1231                             SUPPLIERS OR VENDORS       12/3/2018          $15,827.21
GILDAN ACTIVEWEAR SRL     23119 NETWORK PLACE       PAM TO ORACLE                                     CHICAGO             IL           60673-1231                             SUPPLIERS OR VENDORS      12/18/2018          $33,426.84
GILDAN ACTIVEWEAR SRL     23119 NETWORK PLACE       PAM TO ORACLE                                     CHICAGO             IL           60673-1231                             SUPPLIERS OR VENDORS      12/21/2018           $3,394.80
GILDAN BRANDED APPAREL
SRL                       23972 NETWORK PLACE                                                         CHICAGO             IL           60673-1239                             SUPPLIERS OR VENDORS      10/22/2018            $3,894.48
GILDAN BRANDED APPAREL
SRL                       23972 NETWORK PLACE                                                         CHICAGO             IL           60673-1239                             SUPPLIERS OR VENDORS      10/26/2018            $1,855.68
GILDAN BRANDED APPAREL
SRL                       23972 NETWORK PLACE                                                         CHICAGO             IL           60673-1239                             SUPPLIERS OR VENDORS      10/29/2018            $2,743.36



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GILDAN BRANDED APPAREL
SRL                      23972 NETWORK PLACE                                                         CHICAGO             IL           60673-1239                             SUPPLIERS OR VENDORS      10/31/2018            $500.00
GILDAN BRANDED APPAREL
SRL                      23972 NETWORK PLACE                                                         CHICAGO             IL           60673-1239                             SUPPLIERS OR VENDORS       11/5/2018         $14,317.36
GILDAN BRANDED APPAREL
SRL                      23972 NETWORK PLACE                                                         CHICAGO             IL           60673-1239                             SUPPLIERS OR VENDORS      11/12/2018           $3,989.99
GILDAN BRANDED APPAREL
SRL                      23972 NETWORK PLACE                                                         CHICAGO             IL           60673-1239                             SUPPLIERS OR VENDORS      11/14/2018           $1,266.72
GILDAN BRANDED APPAREL
SRL                      23972 NETWORK PLACE                                                         CHICAGO             IL           60673-1239                             SUPPLIERS OR VENDORS      11/26/2018           $2,146.67
GILDAN BRANDED APPAREL
SRL                      23972 NETWORK PLACE                                                         CHICAGO             IL           60673-1239                             SUPPLIERS OR VENDORS      11/28/2018            $108.24

GILES LAWN MAINTENANCE
INCORPORATED           25850 FREEBORN AVENUE                                                         NEW PRAGUE          MN           56071                                  SUPPLIERS OR VENDORS       11/1/2018            $448.88

GILES LAWN MAINTENANCE
INCORPORATED           25850 FREEBORN AVENUE                                                         NEW PRAGUE          MN           56071                                  SUPPLIERS OR VENDORS      12/17/2018            $967.22

GINA BROWNELL-ADAMETZ STORE 113                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/8/2018            $355.34
                      CIT GROUP COMMERCIAL
GINA GROUP LLC        SERVICES INC                 PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       12/3/2018         $40,359.37

GINA KNAUTZ              STORE 789                 SHOPKO EMPLOYEE        825 WEST FULTON STREET WAUPACA                 WI           54981-9060                             SUPPLIERS OR VENDORS       11/8/2018             $29.43

GINA KNAUTZ              STORE 789                 SHOPKO EMPLOYEE        825 WEST FULTON STREET WAUPACA                 WI           54981-9060                             SUPPLIERS OR VENDORS      12/27/2018             $32.70
GINA RABOIN              4023 CARL STREET                                                        WAUSAU                  WI           54403                                  SUPPLIERS OR VENDORS       11/7/2018             $69.97
GINA RUMBAUGH            545 WILDWIND DR SE                                                      SALEM                   OR           97302                                  SUPPLIERS OR VENDORS       11/2/2018            $450.98
GINSEY INDUSTRIES
INCORPORATED             PO BOX 828683                                                               PHILADELPHIA        PA           19182-8683                             SUPPLIERS OR VENDORS      10/25/2018           $1,543.00
GINSEY INDUSTRIES
INCORPORATED             PO BOX 828683                                                               PHILADELPHIA        PA           19182-8683                             SUPPLIERS OR VENDORS       11/1/2018           $1,558.80
GINSEY INDUSTRIES
INCORPORATED             PO BOX 828683                                                               PHILADELPHIA        PA           19182-8683                             SUPPLIERS OR VENDORS       11/8/2018           $4,132.51
GINSEY INDUSTRIES
INCORPORATED             PO BOX 828683                                                               PHILADELPHIA        PA           19182-8683                             SUPPLIERS OR VENDORS      11/15/2018         $13,841.50
GINSEY INDUSTRIES
INCORPORATED             PO BOX 828683                                                               PHILADELPHIA        PA           19182-8683                             SUPPLIERS OR VENDORS      11/29/2018            $585.50
GIOVANA FERREIRA         1133 LIBERTY AVE                                                            OGDEN               UT           84404                                  SUPPLIERS OR VENDORS      10/25/2018             $23.00
GIRL SCOUTS OF THE                                 4222 OAKWOOD HILLS
NORTHWESTERN             GREAT LAKES               PKWY                                              EAU CLAIRE          WI           54701                                  SUPPLIERS OR VENDORS      11/29/2018          $1,149.00
GISELLE SCHNEIDER        2240 BREYMAN ST NE                                                          SALEM               OR           97301                                  SUPPLIERS OR VENDORS      11/26/2018             $16.00
GLADWIN HOLDINGS LLC     2439 KUSER ROAD                                                             HAMILTON            NJ           08690                                  SUPPLIERS OR VENDORS      11/15/2018         $10,900.51
GLADWIN HOLDINGS LLC     2439 KUSER ROAD                                                             HAMILTON            NJ           08690                                  SUPPLIERS OR VENDORS      12/19/2018         $10,900.51
GLADYS FANNY             109 5TH AVE S.E.                                                            HAMPTON             IA           50441                                  SUPPLIERS OR VENDORS      11/28/2018             $12.00
GLADYS FANNY             109 5TH AVE S.E.                                                            HAMPTON             IA           50441                                  SUPPLIERS OR VENDORS      11/29/2018             $48.00
GLADYS HILL              5044 EVANS ST.                                                              OMAHA               NE           68104                                  SUPPLIERS OR VENDORS      11/28/2018             $93.59
                                                   5710 AUBURN
GLAMOUR RINGS            VICE PRESIDENT OF SALES   BOULEVARD UNIT 19                                 SACRAMENTO          CA           95841                                  SUPPLIERS OR VENDORS      10/18/2018         $19,260.00
                                                   5710 AUBURN
GLAMOUR RINGS            VICE PRESIDENT OF SALES   BOULEVARD UNIT 19                                 SACRAMENTO          CA           95841                                  SUPPLIERS OR VENDORS      10/25/2018           $9,936.00
                                                   5710 AUBURN
GLAMOUR RINGS            VICE PRESIDENT OF SALES   BOULEVARD UNIT 19                                 SACRAMENTO          CA           95841                                  SUPPLIERS OR VENDORS       11/1/2018           $4,596.00




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                                                                                                                                                                            Reasons for payment or    Dates of    Total Amount or
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                                                 5710 AUBURN
GLAMOUR RINGS          VICE PRESIDENT OF SALES   BOULEVARD UNIT 19                                 SACRAMENTO          CA           95841                                  SUPPLIERS OR VENDORS       11/8/2018           $1,201.20
                                                 5710 AUBURN
GLAMOUR RINGS          VICE PRESIDENT OF SALES   BOULEVARD UNIT 19                                 SACRAMENTO          CA           95841                                  SUPPLIERS OR VENDORS      11/15/2018           $4,032.00
                                                 5710 AUBURN
GLAMOUR RINGS          VICE PRESIDENT OF SALES   BOULEVARD UNIT 19                                 SACRAMENTO          CA           95841                                  SUPPLIERS OR VENDORS      11/22/2018           $3,384.00
                                                 5710 AUBURN
GLAMOUR RINGS          VICE PRESIDENT OF SALES   BOULEVARD UNIT 19                                 SACRAMENTO          CA           95841                                  SUPPLIERS OR VENDORS      11/29/2018           $3,768.00
GLASGOW DISTRIBUTORS                             725 BURLINGTON N
INCORPORATED           VICE PRESIDENT OF SALES   RIGHT OF WAY                                      GLASGOW             MT           59230                                  SUPPLIERS OR VENDORS      10/22/2018            $294.60
GLASGOW DISTRIBUTORS                             725 BURLINGTON N
INCORPORATED           VICE PRESIDENT OF SALES   RIGHT OF WAY                                      GLASGOW             MT           59230                                  SUPPLIERS OR VENDORS      10/29/2018            $226.78
GLASGOW DISTRIBUTORS                             725 BURLINGTON N
INCORPORATED           VICE PRESIDENT OF SALES   RIGHT OF WAY                                      GLASGOW             MT           59230                                  SUPPLIERS OR VENDORS      10/31/2018            $124.55
GLASGOW DISTRIBUTORS                             725 BURLINGTON N
INCORPORATED           VICE PRESIDENT OF SALES   RIGHT OF WAY                                      GLASGOW             MT           59230                                  SUPPLIERS OR VENDORS       11/7/2018            $279.66
GLASGOW DISTRIBUTORS                             725 BURLINGTON N
INCORPORATED           VICE PRESIDENT OF SALES   RIGHT OF WAY                                      GLASGOW             MT           59230                                  SUPPLIERS OR VENDORS       11/8/2018             $81.54
GLASGOW DISTRIBUTORS                             725 BURLINGTON N
INCORPORATED           VICE PRESIDENT OF SALES   RIGHT OF WAY                                      GLASGOW             MT           59230                                  SUPPLIERS OR VENDORS      11/12/2018            $512.64
GLASGOW DISTRIBUTORS                             725 BURLINGTON N
INCORPORATED           VICE PRESIDENT OF SALES   RIGHT OF WAY                                      GLASGOW             MT           59230                                  SUPPLIERS OR VENDORS      11/23/2018            $322.62
GLASGOW DISTRIBUTORS                             725 BURLINGTON N
INCORPORATED           VICE PRESIDENT OF SALES   RIGHT OF WAY                                      GLASGOW             MT           59230                                  SUPPLIERS OR VENDORS      11/26/2018            $129.80
GLASGOW DISTRIBUTORS                             725 BURLINGTON N
INCORPORATED           VICE PRESIDENT OF SALES   RIGHT OF WAY                                      GLASGOW             MT           59230                                  SUPPLIERS OR VENDORS      11/27/2018            $528.73
GLASGOW DISTRIBUTORS                             725 BURLINGTON N
INCORPORATED           VICE PRESIDENT OF SALES   RIGHT OF WAY                                      GLASGOW             MT           59230                                  SUPPLIERS OR VENDORS      11/29/2018             $43.20
GLASGOW DISTRIBUTORS                             725 BURLINGTON N
INCORPORATED           VICE PRESIDENT OF SALES   RIGHT OF WAY                                      GLASGOW             MT           59230                                  SUPPLIERS OR VENDORS       12/5/2018            $412.61
GLASGOW DISTRIBUTORS                             725 BURLINGTON N
INCORPORATED           VICE PRESIDENT OF SALES   RIGHT OF WAY                                      GLASGOW             MT           59230                                  SUPPLIERS OR VENDORS      12/11/2018            $192.45
GLASGOW DISTRIBUTORS                             725 BURLINGTON N
INCORPORATED           VICE PRESIDENT OF SALES   RIGHT OF WAY                                      GLASGOW             MT           59230                                  SUPPLIERS OR VENDORS      12/14/2018            $138.57
GLASGOW DISTRIBUTORS                             725 BURLINGTON N
INCORPORATED           VICE PRESIDENT OF SALES   RIGHT OF WAY                                      GLASGOW             MT           59230                                  SUPPLIERS OR VENDORS      12/20/2018            $360.04
GLASGOW DISTRIBUTORS                             725 BURLINGTON N
INCORPORATED           VICE PRESIDENT OF SALES   RIGHT OF WAY                                      GLASGOW             MT           59230                                  SUPPLIERS OR VENDORS      12/21/2018             $80.80
GLASGOW DISTRIBUTORS                             725 BURLINGTON N
INCORPORATED           VICE PRESIDENT OF SALES   RIGHT OF WAY                                      GLASGOW             MT           59230                                  SUPPLIERS OR VENDORS      12/27/2018            $158.60
GLAXOSMITHKLINE        PO BOX 676313                                                               DALLAS              TX           75267-6313                             SUPPLIERS OR VENDORS      10/18/2018            $203.39
GLAXOSMITHKLINE        PO BOX 676313                                                               DALLAS              TX           75267-6313                             SUPPLIERS OR VENDORS      10/23/2018         $35,344.85
GLAXOSMITHKLINE        PO BOX 676313                                                               DALLAS              TX           75267-6313                             SUPPLIERS OR VENDORS      10/24/2018         $46,304.23
GLAXOSMITHKLINE        PO BOX 676313                                                               DALLAS              TX           75267-6313                             SUPPLIERS OR VENDORS      10/25/2018             $74.91
GLAXOSMITHKLINE        PO BOX 676313                                                               DALLAS              TX           75267-6313                             SUPPLIERS OR VENDORS      10/30/2018        $114,577.68
GLAXOSMITHKLINE        PO BOX 676313                                                               DALLAS              TX           75267-6313                             SUPPLIERS OR VENDORS      10/31/2018         $16,620.18
GLAXOSMITHKLINE        PO BOX 676313                                                               DALLAS              TX           75267-6313                             SUPPLIERS OR VENDORS       11/6/2018         $34,494.51
GLAXOSMITHKLINE        PO BOX 676313                                                               DALLAS              TX           75267-6313                             SUPPLIERS OR VENDORS       11/7/2018         $44,285.03
GLAXOSMITHKLINE        PO BOX 676313                                                               DALLAS              TX           75267-6313                             SUPPLIERS OR VENDORS      11/13/2018         $37,865.13
GLAXOSMITHKLINE        PO BOX 676313                                                               DALLAS              TX           75267-6313                             SUPPLIERS OR VENDORS      11/14/2018         $26,665.07
GLAXOSMITHKLINE        PO BOX 676313                                                               DALLAS              TX           75267-6313                             SUPPLIERS OR VENDORS      11/24/2018         $73,287.40
GLAXOSMITHKLINE        PO BOX 676313                                                               DALLAS              TX           75267-6313                             SUPPLIERS OR VENDORS      11/28/2018         $76,827.95
GLAXOSMITHKLINE        PO BOX 676313                                                               DALLAS              TX           75267-6313                             SUPPLIERS OR VENDORS       12/4/2018         $39,074.70
GLAXOSMITHKLINE        PO BOX 676313                                                               DALLAS              TX           75267-6313                             SUPPLIERS OR VENDORS       12/5/2018         $53,543.14



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GLAXOSMITHKLINE        PO BOX 676313                                                               DALLAS              TX           75267-6313                             SUPPLIERS OR VENDORS        12/13/2018           $69,657.95
GLAXOSMITHKLINE        PO BOX 676313                                                               DALLAS              TX           75267-6313                             SUPPLIERS OR VENDORS        12/19/2018           $15,552.69
GLAXOSMITHKLINE        PO BOX 676313                                                               DALLAS              TX           75267-6313                             SUPPLIERS OR VENDORS        12/21/2018           $31,672.80
GLAXOSMITHKLINE        PO BOX 676313                                                               DALLAS              TX           75267-6313                             SUPPLIERS OR VENDORS        12/28/2018           $57,401.31
GLEN BENNETT           1541 WISCONSIN RIVER DR                                                     PORT EDWARDS        WI           54469                                  SUPPLIERS OR VENDORS         11/5/2018              $161.99

GLEN BENNETT           1422 21ST AVENUE SOUTH                                                      WISCONSINRAPIDS     WI           54495                                  SUPPLIERS OR VENDORS       11/13/2018               $88.00
GLENDA GREEN           724 GILMAN STREET                                                           STANLEY             WI           54768                                  SUPPLIERS OR VENDORS       11/29/2018               $15.00
GLENDA GREEN           724 GILMAN STREET                                                           STANLEY             WI           54768                                  SUPPLIERS OR VENDORS        12/4/2018               $72.97
GLENDA JEZWINSKI       N2317 EAST PINE CIRCLE                                                      REDGRANITE          WI           54970                                  SUPPLIERS OR VENDORS        11/5/2018               $69.00
GLENDIVE COCA COLA
BOTTLING COMPANY INC   VICE PRESIDENT OF SALES   220 S DOUGLAS                                     GLENDIVE            MT           59330                                  SUPPLIERS OR VENDORS       10/19/2018            $1,546.27
GLENDIVE COCA COLA
BOTTLING COMPANY INC   VICE PRESIDENT OF SALES   220 S DOUGLAS                                     GLENDIVE            MT           59330                                  SUPPLIERS OR VENDORS       10/23/2018              $609.98
GLENDIVE COCA COLA
BOTTLING COMPANY INC   VICE PRESIDENT OF SALES   220 S DOUGLAS                                     GLENDIVE            MT           59330                                  SUPPLIERS OR VENDORS       10/26/2018            $1,017.66
GLENDIVE COCA COLA
BOTTLING COMPANY INC   VICE PRESIDENT OF SALES   220 S DOUGLAS                                     GLENDIVE            MT           59330                                  SUPPLIERS OR VENDORS       10/30/2018              $306.27
GLENDIVE COCA COLA
BOTTLING COMPANY INC   VICE PRESIDENT OF SALES   220 S DOUGLAS                                     GLENDIVE            MT           59330                                  SUPPLIERS OR VENDORS        11/2/2018              $715.29
GLENDIVE COCA COLA
BOTTLING COMPANY INC   VICE PRESIDENT OF SALES   220 S DOUGLAS                                     GLENDIVE            MT           59330                                  SUPPLIERS OR VENDORS        11/6/2018              $850.10
GLENDIVE COCA COLA
BOTTLING COMPANY INC   VICE PRESIDENT OF SALES   220 S DOUGLAS                                     GLENDIVE            MT           59330                                  SUPPLIERS OR VENDORS        11/9/2018              $564.42
GLENDIVE COCA COLA
BOTTLING COMPANY INC   VICE PRESIDENT OF SALES   220 S DOUGLAS                                     GLENDIVE            MT           59330                                  SUPPLIERS OR VENDORS       11/13/2018              $235.59
GLENDIVE COCA COLA
BOTTLING COMPANY INC   VICE PRESIDENT OF SALES   220 S DOUGLAS                                     GLENDIVE            MT           59330                                  SUPPLIERS OR VENDORS       11/16/2018              $899.42
GLENDIVE COCA COLA
BOTTLING COMPANY INC   VICE PRESIDENT OF SALES   220 S DOUGLAS                                     GLENDIVE            MT           59330                                  SUPPLIERS OR VENDORS       11/23/2018            $2,433.13
GLENDIVE COCA COLA
BOTTLING COMPANY INC   VICE PRESIDENT OF SALES   220 S DOUGLAS                                     GLENDIVE            MT           59330                                  SUPPLIERS OR VENDORS       11/27/2018              $130.05
GLENDIVE COCA COLA
BOTTLING COMPANY INC   VICE PRESIDENT OF SALES   220 S DOUGLAS                                     GLENDIVE            MT           59330                                  SUPPLIERS OR VENDORS       11/30/2018              $390.00
GLENDIVE COCA COLA
BOTTLING COMPANY INC   VICE PRESIDENT OF SALES   220 S DOUGLAS                                     GLENDIVE            MT           59330                                  SUPPLIERS OR VENDORS        12/4/2018              $162.50
GLENDIVE COCA COLA
BOTTLING COMPANY INC   VICE PRESIDENT OF SALES   220 S DOUGLAS                                     GLENDIVE            MT           59330                                  SUPPLIERS OR VENDORS       12/19/2018            $2,342.34
GLENDIVE COCA COLA
BOTTLING COMPANY INC   VICE PRESIDENT OF SALES   220 S DOUGLAS                                     GLENDIVE            MT           59330                                  SUPPLIERS OR VENDORS       12/20/2018              $547.30
GLENDIVE COCA COLA
BOTTLING COMPANY INC   VICE PRESIDENT OF SALES   220 S DOUGLAS                                     GLENDIVE            MT           59330                                  SUPPLIERS OR VENDORS       12/27/2018            $1,102.54
                       1515 E MELGAARD ROAD
GLENN DENNING          APT103                                                                      ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       11/12/2018               $12.16
                       1515 E MELGAARD ROAD
GLENN DENNING          APT103                                                                      ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS        12/5/2018               $48.64
GLENN H ISAACSON OD    308 S FRANKLIN AVENUE                                                       WENATCHEE           WA           98801                                  SUPPLIERS OR VENDORS       10/19/2018            $2,853.70
GLENN H ISAACSON OD    308 S FRANKLIN AVENUE                                                       WENATCHEE           WA           98801                                  SUPPLIERS OR VENDORS        11/2/2018              $539.65
GLENN H ISAACSON OD    308 S FRANKLIN AVENUE                                                       WENATCHEE           WA           98801                                  SUPPLIERS OR VENDORS       11/16/2018            $1,347.30
GLENN H ISAACSON OD    308 S FRANKLIN AVENUE                                                       WENATCHEE           WA           98801                                  SUPPLIERS OR VENDORS       11/30/2018              $734.85
GLENN H ISAACSON OD    308 S FRANKLIN AVENUE                                                       WENATCHEE           WA           98801                                  SUPPLIERS OR VENDORS       12/14/2018            $2,010.70
GLENN H ISAACSON OD    308 S FRANKLIN AVENUE                                                       WENATCHEE           WA           98801                                  SUPPLIERS OR VENDORS       12/29/2018            $1,628.70
GLENN H ISAACSON OD    308 S FRANKLIN AVENUE                                                       WENATCHEE           WA           98801                                  SUPPLIERS OR VENDORS        1/11/2019            $2,329.70
GLENN KORTENHOF        4075 HWY D                                                                  RHINELANDER         WI           54501                                  SUPPLIERS OR VENDORS        11/5/2018               $10.00



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                                                                                                                                                                             Reasons for payment or    Dates of     Total Amount or
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GLENN STAUFFER           6325 425TH ST.                                                            HARRIS              MN           55032                                  SUPPLIERS OR VENDORS        10/22/2018               $25.00
GLENNA JOHNSON           3327 6TH STREET                                                           LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS        11/26/2018               $74.00
GLENNA NEUMAN            209 WAVERLY DRIVE                                                         CAMBRIDGE           WI           53523                                  SUPPLIERS OR VENDORS         11/2/2018               $75.00
GLOBAL ADVANTAGE
TRADING & IMPORTS        6725 CHIPPEWA STREET                                                      ST LOUIS            MO           63109                                  SUPPLIERS OR VENDORS       10/18/2018            $1,138.50
GLOBAL ADVANTAGE
TRADING & IMPORTS        6725 CHIPPEWA STREET                                                      ST LOUIS            MO           63109                                  SUPPLIERS OR VENDORS       10/25/2018            $1,589.82
GLOBAL ADVANTAGE
TRADING & IMPORTS        6725 CHIPPEWA STREET                                                      ST LOUIS            MO           63109                                  SUPPLIERS OR VENDORS        11/1/2018            $1,299.72
GLOBAL ADVANTAGE
TRADING & IMPORTS        6725 CHIPPEWA STREET                                                      ST LOUIS            MO           63109                                  SUPPLIERS OR VENDORS        11/8/2018            $1,841.81
GLOBAL ADVANTAGE
TRADING & IMPORTS        6725 CHIPPEWA STREET                                                      ST LOUIS            MO           63109                                  SUPPLIERS OR VENDORS       11/15/2018            $3,535.86
GLOBAL ADVANTAGE
TRADING & IMPORTS        6725 CHIPPEWA STREET                                                      ST LOUIS            MO           63109                                  SUPPLIERS OR VENDORS       11/22/2018              $592.68
GLOBAL ADVANTAGE
TRADING & IMPORTS        6725 CHIPPEWA STREET                                                      ST LOUIS            MO           63109                                  SUPPLIERS OR VENDORS       11/29/2018            $1,797.54
GLOBAL OPTIQUE
INCORPORATED             33-01 38TH AVENUE                                                         LONG ISLAND CITY NY              11101                                  SUPPLIERS OR VENDORS       10/18/2018              $175.40
GLOBAL OPTIQUE
INCORPORATED             33-01 38TH AVENUE                                                         LONG ISLAND CITY NY              11101                                  SUPPLIERS OR VENDORS       10/25/2018              $183.25
GLOBAL OPTIQUE
INCORPORATED             33-01 38TH AVENUE                                                         LONG ISLAND CITY NY              11101                                  SUPPLIERS OR VENDORS        11/1/2018              $249.05
GLOBAL OPTIQUE
INCORPORATED             33-01 38TH AVENUE                                                         LONG ISLAND CITY NY              11101                                  SUPPLIERS OR VENDORS        11/8/2018              $113.55
GLOBAL OPTIQUE
INCORPORATED             33-01 38TH AVENUE                                                         LONG ISLAND CITY NY              11101                                  SUPPLIERS OR VENDORS       11/15/2018              $121.55
GLOBAL OPTIQUE
INCORPORATED             33-01 38TH AVENUE                                                         LONG ISLAND CITY NY              11101                                  SUPPLIERS OR VENDORS       11/22/2018              $166.35
GLOBAL OPTIQUE
INCORPORATED             33-01 38TH AVENUE                                                         LONG ISLAND CITY NY              11101                                  SUPPLIERS OR VENDORS       11/29/2018              $125.55
GLOBAL RECOGNITION
INCORPORATED             980 VELP AVENUE                                                           GREEN BAY           WI           54303-3898                             SUPPLIERS OR VENDORS        11/2/2018               $83.67
GLOBAL RECOGNITION
INCORPORATED             980 VELP AVENUE                                                           GREEN BAY           WI           54303-3898                             SUPPLIERS OR VENDORS       12/18/2018               $48.27
GLOBAL RECOGNITION
INCORPORATED             980 VELP AVENUE                                                           GREEN BAY           WI           54303-3898                             SUPPLIERS OR VENDORS         1/5/2019              $153.54

GLOBE GAZETTE
CIRCULATION DEPARTMENT PO BOX 742547                                                               CINCINNATI          OH           45274-2547                             SUPPLIERS OR VENDORS       10/22/2018               $67.00

GLOBE GAZETTE
CIRCULATION DEPARTMENT   PO BOX 742547                                                             CINCINNATI          OH           45274-2547                             SUPPLIERS OR VENDORS       10/22/2018              $113.25
GLORIA BLACKWELL         PO BOX 632                                                                CHAMBERLAIN         SD           57325                                  SUPPLIERS OR VENDORS        11/5/2018               $48.00
GLORIA BLACKWELL         PO BOX 632                                                                CHAMBERLAIN         SD           57325                                  SUPPLIERS OR VENDORS       11/26/2018               $12.00
GLORIA BOULAIS           37124 130TH ST                                                            IPSWICH             SD           57451                                  SUPPLIERS OR VENDORS        11/5/2018               $14.39
GLORIA BOULAIS           37124 130TH ST                                                            IPSWICH             SD           57451                                  SUPPLIERS OR VENDORS       11/26/2018               $32.61
GLORIA DUCHIN            201 NARRAGANSETT PARK
INCORPORATED             DRIVE                   PO BOX 4860                                       E PROVIDENCE        RI           02916-0000                             SUPPLIERS OR VENDORS       10/18/2018          $119,397.71
GLORIA DUCHIN            201 NARRAGANSETT PARK
INCORPORATED             DRIVE                   PO BOX 4860                                       E PROVIDENCE        RI           02916-0000                             SUPPLIERS OR VENDORS       10/25/2018           $47,817.00
GLORIA HEIN              2495 410TH ST                                                             LITTLE CEDAR        IA           50454                                  SUPPLIERS OR VENDORS       12/10/2018                $8.03
GLORIA HOFFMAN           21739 OBSIDIAN                                                            BEND                OR           97702                                  SUPPLIERS OR VENDORS       10/25/2018               $30.00
GLORIA MAVES             1000 DEERFIELD AVE                                                        MENASHA             WI           54952                                  SUPPLIERS OR VENDORS       10/19/2018              $172.71



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GLORIA MAY             61595 150TH ST                                                              ROSE CREEK          MN           55970                                  SUPPLIERS OR VENDORS        10/24/2018              $125.00
GLORIA MITTELSTADT     403 HIGH ST                                                                 COLFAX              WI           54730                                  SUPPLIERS OR VENDORS        11/14/2018               $10.56
GLORIA NIKOLAS         123 E. WASHINGTON ST                                                        LAKE MILLS          WI           53551                                  SUPPLIERS OR VENDORS         11/9/2018              $428.95
GLORIA PAGEL           3805 PARKVIEW CT                                                            OSHKOSH             WI           54901                                  SUPPLIERS OR VENDORS        10/29/2018               $25.00
GLORIA SCHMITZ         E5380 674TH AVE                                                             MENOMONIE           WI           54751                                  SUPPLIERS OR VENDORS        11/16/2018               $44.21
GLORIA VANDEHEI        552 PIONEER PARK RD                                                         LENA                WI           54139                                  SUPPLIERS OR VENDORS         12/5/2018                $5.00
GLOVES IN A BOTTLE
INCORPORATED           PO BOX 615                                                                  MONTROSE            CA           91021                                  SUPPLIERS OR VENDORS       10/18/2018              $464.64
GLOVES IN A BOTTLE
INCORPORATED           PO BOX 615                                                                  MONTROSE            CA           91021                                  SUPPLIERS OR VENDORS       11/15/2018            $2,012.16
GO VS                  PO BOX 9                                                                    VINTON              IA           52349                                  SUPPLIERS OR VENDORS       10/30/2018              $122.00
                                                 600 OAKLAND AVENUE
GODFATHERS             ATTN ROBIN                WEST                                              AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS        11/7/2018              $730.31
GODFATHERS PIZZA       BRHB INCORPORATED         509 E MAIN STREET                                 ALBERT LEA          MN           56007                                  SUPPLIERS OR VENDORS       12/10/2018              $250.20
GODFREY & KAHN S C     BIN 318                                                                     MILWAUKEE           WI           53288-0318                             SUPPLIERS OR VENDORS        11/2/2018            $9,356.65
GODFREY & KAHN S C     BIN 318                                                                     MILWAUKEE           WI           53288-0318                             SUPPLIERS OR VENDORS       12/13/2018                $1.00
GODFREY & KAHN S C     BIN 318                                                                     MILWAUKEE           WI           53288-0318                             SUPPLIERS OR VENDORS        1/10/2019            $2,195.00
GOFFA INTERNATIONAL
CORP                   200 MURRAY HILL PARKWAY                                                     EAST RUTHERFORD NJ               07073                                  SUPPLIERS OR VENDORS       11/22/2018            $8,618.40
GOJO INDUSTRIES
INCORPORATED           PO BOX 931105                                                               CLEVELAND           OH           44193                                  SUPPLIERS OR VENDORS       10/18/2018            $1,758.94
GOJO INDUSTRIES
INCORPORATED           PO BOX 931105                                                               CLEVELAND           OH           44193                                  SUPPLIERS OR VENDORS       10/25/2018            $1,857.51
GOJO INDUSTRIES
INCORPORATED           PO BOX 931105                                                               CLEVELAND           OH           44193                                  SUPPLIERS OR VENDORS        11/1/2018            $1,240.13
GOJO INDUSTRIES
INCORPORATED           PO BOX 931105                                                               CLEVELAND           OH           44193                                  SUPPLIERS OR VENDORS        11/8/2018              $945.58
GOJO INDUSTRIES
INCORPORATED           PO BOX 931105                                                               CLEVELAND           OH           44193                                  SUPPLIERS OR VENDORS       11/15/2018            $6,833.07
GOJO INDUSTRIES
INCORPORATED           PO BOX 931105                                                               CLEVELAND           OH           44193                                  SUPPLIERS OR VENDORS       11/22/2018            $1,516.90
GOJO INDUSTRIES
INCORPORATED           PO BOX 931105                                                               CLEVELAND           OH           44193                                  SUPPLIERS OR VENDORS       11/29/2018              $927.05
GOLD CROSS COURIER
SERVICE INCORPORATED   PO BOX 1245                                                                 EAU CLAIRE          WI           54702-1245                             SUPPLIERS OR VENDORS       11/29/2018              $415.51
GOLD CROSS COURIER
SERVICE INCORPORATED   PO BOX 1245                                                                 EAU CLAIRE          WI           54702-1245                             SUPPLIERS OR VENDORS       12/17/2018              $228.63
GOLD MEDAL
INTERNATIONAL          PREGER & WERTENTEIL INC   19 WEST 34TH STREET                               NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS       10/18/2018            $4,849.92
GOLD MEDAL
INTERNATIONAL          PREGER & WERTENTEIL INC   19 WEST 34TH STREET                               NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS       10/25/2018            $1,676.56
GOLD MEDAL
INTERNATIONAL          PREGER & WERTENTEIL INC   19 WEST 34TH STREET                               NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS        11/1/2018              $360.24
GOLD MEDAL
INTERNATIONAL          PREGER & WERTENTEIL INC   19 WEST 34TH STREET                               NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS        11/8/2018            $8,047.32
GOLD MEDAL
INTERNATIONAL          PREGER & WERTENTEIL INC   19 WEST 34TH STREET                               NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS       11/15/2018           $10,470.44
GOLD MEDAL
INTERNATIONAL          PREGER & WERTENTEIL INC   19 WEST 34TH STREET                               NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS       11/22/2018              $986.92
GOLD MEDAL
INTERNATIONAL          PREGER & WERTENTEIL INC   19 WEST 34TH STREET                               NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS       11/29/2018            $1,481.52
GOLDIE BOWMAN          501 OAK ST                                                                  ELGIN               NE           68636                                  SUPPLIERS OR VENDORS        11/5/2018               $35.90
GOLDIE BOWMAN          501 OAK ST                                                                  ELGIN               NE           68636                                  SUPPLIERS OR VENDORS       11/12/2018                $8.10




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                                                     N 1675 POWERS LAKE
GOLF GIFTS & GALLERY     PO BOX 166                  ROAD                                              POWERS LAKE         WI           53159-9999                             SUPPLIERS OR VENDORS      10/19/2018            $2,318.50
                                                     N 1675 POWERS LAKE
GOLF GIFTS & GALLERY     PO BOX 166                  ROAD                                              POWERS LAKE         WI           53159-9999                             SUPPLIERS OR VENDORS      10/26/2018            $2,462.70
                                                     N 1675 POWERS LAKE
GOLF GIFTS & GALLERY     PO BOX 166                  ROAD                                              POWERS LAKE         WI           53159-9999                             SUPPLIERS OR VENDORS       11/2/2018            $1,919.40
                                                     N 1675 POWERS LAKE
GOLF GIFTS & GALLERY     PO BOX 166                  ROAD                                              POWERS LAKE         WI           53159-9999                             SUPPLIERS OR VENDORS       11/9/2018             $564.09
                                                     N 1675 POWERS LAKE
GOLF GIFTS & GALLERY     PO BOX 166                  ROAD                                              POWERS LAKE         WI           53159-9999                             SUPPLIERS OR VENDORS      11/16/2018            $1,652.90
                                                     N 1675 POWERS LAKE
GOLF GIFTS & GALLERY     PO BOX 166                  ROAD                                              POWERS LAKE         WI           53159-9999                             SUPPLIERS OR VENDORS      11/30/2018           $3,222.60
GOLIATH GAMES LLC        3701 W.Plano Pkwy           Suite 100                                         Plano               TX           75075                                  SUPPLIERS OR VENDORS      11/12/2018          $38,258.75
GOLIATH GAMES LLC        3701 W.Plano Pkwy           Suite 100                                         Plano               TX           75075                                  SUPPLIERS OR VENDORS      11/22/2018          $35,848.54
GOLIATH GAMES LLC        3701 W.Plano Pkwy           Suite 100                                         Plano               TX           75075                                  SUPPLIERS OR VENDORS      11/29/2018           $5,430.06
GOOD CLEAN LOVE          207 W 5TH AVENUE                                                              EUGENE              OR           97401                                  SUPPLIERS OR VENDORS      10/18/2018              $72.00
GOOD CLEAN LOVE          207 W 5TH AVENUE                                                              EUGENE              OR           97401                                  SUPPLIERS OR VENDORS       11/1/2018              $90.00
GOOD CLEAN LOVE          207 W 5TH AVENUE                                                              EUGENE              OR           97401                                  SUPPLIERS OR VENDORS      11/15/2018              $90.00
GOOD CLEAN LOVE          207 W 5TH AVENUE                                                              EUGENE              OR           97401                                  SUPPLIERS OR VENDORS      11/29/2018               $6.00
GOOGLE INCORPORATED      DEPT 33654                  PO BOX 39000                                      SAN FRANCISCO       CA           94139                                  SUPPLIERS OR VENDORS      10/26/2018         $162,198.51

GOOGLE LLC               1600 AMPHITHEATRE PARKWAY                                                     MOUNTAIN VIEW       CA           94043                                  ECOMMERCE EXPENSE         11/21/2018         $234,815.41

GOOGLE LLC               1600 AMPHITHEATRE PARKWAY                                                     MOUNTAIN VIEW       CA           94043                                  ECOMMERCE EXPENSE          12/4/2018         $182,281.92

GOOGLE LLC               1600 AMPHITHEATRE PARKWAY                                                     MOUNTAIN VIEW       CA           94043                                  ECOMMERCE EXPENSE         12/18/2018         $306,969.11
GORDON BROTHERS RETAIL
PARTNERS LLC             800 BOYLSTON ST, SPC 27                                                       BOSTON              MA           02199                                  LIQUIDATION SERVICES      10/17/2018          $88,070.52
GORDON BROTHERS RETAIL
PARTNERS LLC             800 BOYLSTON ST, SPC 27                                                       BOSTON              MA           02199                                  LIQUIDATION SERVICES      10/22/2018          $39,105.40
GORDON BROTHERS RETAIL
PARTNERS LLC             800 BOYLSTON ST, SPC 27                                                       BOSTON              MA           02199                                  LIQUIDATION SERVICES      10/26/2018          $36,154.52
GORDON BROTHERS RETAIL
PARTNERS LLC             800 BOYLSTON ST, SPC 27                                                       BOSTON              MA           02199                                  LIQUIDATION SERVICES       11/2/2018          $37,857.02
GORDON BROTHERS RETAIL
PARTNERS LLC             800 BOYLSTON ST, SPC 27                                                       BOSTON              MA           02199                                  LIQUIDATION SERVICES      11/13/2018          $40,237.40
GORDON BROTHERS RETAIL
PARTNERS LLC             800 BOYLSTON ST, SPC 27                                                       BOSTON              MA           02199                                  LIQUIDATION SERVICES      11/26/2018         $105,666.19
GORDON BROTHERS RETAIL
PARTNERS LLC             800 BOYLSTON ST, SPC 27                                                       BOSTON              MA           02199                                  LIQUIDATION SERVICES      11/30/2018          $55,962.31
GORDON BROTHERS RETAIL
PARTNERS LLC             800 BOYLSTON ST, SPC 27                                                       BOSTON              MA           02199                                  LIQUIDATION SERVICES       12/4/2018         $460,000.00
GORDON BROTHERS RETAIL
PARTNERS LLC             800 BOYLSTON ST, SPC 27                                                       BOSTON              MA           02199                                  LIQUIDATION SERVICES      12/20/2018         $169,362.20
GORDON BROTHERS RETAIL
PARTNERS LLC             800 BOYLSTON ST, SPC 27                                                       BOSTON              MA           02199                                  LIQUIDATION SERVICES      12/31/2018         $367,532.96
GORDON BROTHERS RETAIL
PARTNERS LLC             800 BOYLSTON ST, SPC 27                                                       BOSTON              MA           02199                                  LIQUIDATION SERVICES      12/31/2018         $367,532.96
GORDON BROTHERS RETAIL
PARTNERS LLC             800 BOYLSTON ST, SPC 27                                                       BOSTON              MA           02199                                  LIQUIDATION SERVICES         1/2/2019        $275,261.13
GORDON BROTHERS RETAIL
PARTNERS LLC             800 BOYLSTON ST, SPC 27                                                       BOSTON              MA           02199                                  LIQUIDATION SERVICES         1/8/2019        $286,495.47
GORDON BROTHERS RETAIL
PARTNERS LLC             800 BOYLSTON ST, SPC 27                                                       BOSTON              MA           02199                                  LIQUIDATION SERVICES       1/14/2019         $463,946.20



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GORDON GOETZMAN         STORE 089                     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS         11/9/2018              $206.56
GORDON HEGINGER         231 EAST 3RD ST                                                                 KANAWHA             IA           50449                                  SUPPLIERS OR VENDORS        11/14/2018               $25.00
GORDON JACOBSON         905 EAST MARGARET STREET                                                        IRON MOUNTAIN       MI           49801                                  SUPPLIERS OR VENDORS         11/5/2018               $62.46
GORDON KINDER           5210 N AUTUMN LANE                                                              MC FARLAND          WI           53558                                  SUPPLIERS OR VENDORS         11/5/2018               $12.60
GORDON MUNSCHE          300 NORTH LK ST                                                                 IRON MOUNTAIN       MI           49801                                  SUPPLIERS OR VENDORS        11/26/2018                $9.76
GORDON RIPPE            828 SOUTH 44TH STREET                                                           LINCOLN             NE           68510                                  SUPPLIERS OR VENDORS        10/22/2018               $15.00
GORDON THIESSEN         STORE 212                     SHOPKO EMPLOYEE        301 E HIGHWAY 20           GORDON              NE           69343                                  SUPPLIERS OR VENDORS        10/26/2018              $512.97
GORDON THIESSEN         STORE 212                     SHOPKO EMPLOYEE        301 E HIGHWAY 20           GORDON              NE           69343                                  SUPPLIERS OR VENDORS        12/11/2018               $99.19
GORDON WIESMANN         507 S FOSTER ST                                                                 MERRILL             WI           54452                                  SUPPLIERS OR VENDORS         11/9/2018               $18.89
GORDON WIESMANN         507 S FOSTER ST                                                                 MERRILL             WI           54452                                  SUPPLIERS OR VENDORS        11/16/2018               $38.11
GORDON WRIGHT           STORE SERVICES                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/19/2018              $273.99
GORDON WRIGHT           STORE SERVICES                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/26/2018              $278.82
GORDON WRIGHT           STORE SERVICES                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/2/2018              $348.87
GORDON WRIGHT           STORE SERVICES                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/9/2018              $319.55
GORDON WRIGHT           STORE SERVICES                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/16/2018              $258.57
GORDON WRIGHT           STORE SERVICES                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/27/2018              $251.46
GORDON WRIGHT           STORE SERVICES                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/30/2018              $292.47
GORDON WRIGHT           STORE SERVICES                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/11/2018              $260.64
GORDON WRIGHT           STORE SERVICES                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/14/2018              $268.51
GORDON WRIGHT           STORE SERVICES                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/20/2018              $327.91
GORDON WRIGHT           STORE SERVICES                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/29/2018              $259.83
GORDON WRIGHT           STORE SERVICES                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         1/15/2019              $318.70
GORILLA GLUE COMPANY    29834 NETWORK PLACE                                                             CHICAGO             IL           60673-1298                             SUPPLIERS OR VENDORS        10/19/2018            $4,257.43
GORILLA GLUE COMPANY    29834 NETWORK PLACE                                                             CHICAGO             IL           60673-1298                             SUPPLIERS OR VENDORS        10/26/2018            $5,173.19
GORILLA GLUE COMPANY    29834 NETWORK PLACE                                                             CHICAGO             IL           60673-1298                             SUPPLIERS OR VENDORS         11/2/2018            $2,994.44
GORILLA GLUE COMPANY    29834 NETWORK PLACE                                                             CHICAGO             IL           60673-1298                             SUPPLIERS OR VENDORS         11/9/2018            $3,164.51
GORILLA GLUE COMPANY    29834 NETWORK PLACE                                                             CHICAGO             IL           60673-1298                             SUPPLIERS OR VENDORS        11/16/2018           $31,642.25
GORILLA GLUE COMPANY    29834 NETWORK PLACE                                                             CHICAGO             IL           60673-1298                             SUPPLIERS OR VENDORS        11/30/2018           $29,740.04
GOSHEN COUNTY
TREASURER               BOX 878                                                                         TORRINGTON          WY           82240                                  SUPPLIERS OR VENDORS        11/6/2018            $2,153.92
GRABBER PERFORMANCE
GROUP                   PO BOX 1191                                                                     DALTON              GA           30722-0000                             SUPPLIERS OR VENDORS        11/8/2018              $598.66
GRABBER PERFORMANCE
GROUP                   PO BOX 1191                                                                     DALTON              GA           30722-0000                             SUPPLIERS OR VENDORS       11/15/2018              $765.75
GRABBER PERFORMANCE
GROUP                   PO BOX 1191                                                                     DALTON              GA           30722-0000                             SUPPLIERS OR VENDORS       11/22/2018           $25,507.46
GRABBER PERFORMANCE
GROUP                   PO BOX 1191                                                                     DALTON              GA           30722-0000                             SUPPLIERS OR VENDORS       11/29/2018            $1,021.44
GRABILL PLUMBING        LARRY GRABILL                 1192 HWY 287 N                                    LANDER              WY           82520                                  SUPPLIERS OR VENDORS       11/29/2018               $70.00
GRACE CUSHMAN           1002 MEADOW ST.                                                                 COLOGNE             MN           55322                                  SUPPLIERS OR VENDORS       10/26/2018               $36.72

GRACE HOME FASHIONS     CAPITAL BUSINESS CREDIT LLC   PO BOX 100895                                     ATLANTA             GA           30384-4174                             SUPPLIERS OR VENDORS       10/19/2018            $5,040.76

GRACE HOME FASHIONS     CAPITAL BUSINESS CREDIT LLC   PO BOX 100895                                     ATLANTA             GA           30384-4174                             SUPPLIERS OR VENDORS       11/27/2018           $47,115.12

GRACE HOME FASHIONS     CAPITAL BUSINESS CREDIT LLC   PO BOX 100895                                     ATLANTA             GA           30384-4174                             SUPPLIERS OR VENDORS       11/30/2018           $44,777.06

GRACE HOME FASHIONS     CAPITAL BUSINESS CREDIT LLC   PO BOX 100895                                     ATLANTA             GA           30384-4174                             SUPPLIERS OR VENDORS        12/4/2018            $7,811.28
GRACE JACOBS            836 ELECTRIC AVE                                                                WALLA WALLA         WA           99362                                  SUPPLIERS OR VENDORS        12/7/2018               $54.40
GRACE MCCORMICK         W3216 HIGH ST,                                                                  SEYMOUR             WI           54165                                  SUPPLIERS OR VENDORS       10/26/2018               $42.71
GRACE SHRECKENGOST      408 BRICKYARD RD                                                                SHEFFIELD           IA           50475                                  SUPPLIERS OR VENDORS       10/25/2018               $30.00
GRAHAM DONAHUE          1837 OLD HWY 69                                                                 FLORENCE            WI           54121                                  SUPPLIERS OR VENDORS        12/7/2018               $34.00

GRAINGER INCORPORATED   DEPARTMENT 829163252          PO BOX 419267                                     KANSAS CITY         MO           64141-6267                             SUPPLIERS OR VENDORS       10/18/2018               $80.86



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                                                                                                                                                                             Reasons for payment or    Dates of     Total Amount or
      Creditor Name               Address1              Address2                  Address3                 City              State       Zip              Country                   transfer          Payments            Value

GRAINGER INCORPORATED    DEPARTMENT 829163252     PO BOX 419267                                     KANSAS CITY         MO           64141-6267                             SUPPLIERS OR VENDORS      10/25/2018              $77.86

GRAINGER INCORPORATED    DEPARTMENT 829163252     PO BOX 419267                                     KANSAS CITY         MO           64141-6267                             SUPPLIERS OR VENDORS       11/1/2018             $482.08

GRAINGER INCORPORATED    DEPARTMENT 829163252     PO BOX 419267                                     KANSAS CITY         MO           64141-6267                             SUPPLIERS OR VENDORS       11/8/2018             $171.34

GRAINGER INCORPORATED    DEPARTMENT 829163252     PO BOX 419267                                     KANSAS CITY         MO           64141-6267                             SUPPLIERS OR VENDORS      11/29/2018              $62.09

GRAINGER INCORPORATED    DEPARTMENT 829163252     PO BOX 419267                                     KANSAS CITY         MO           64141-6267                             SUPPLIERS OR VENDORS      12/17/2018             $866.37

GRAINGER INCORPORATED    DEPARTMENT 829163252     PO BOX 419267                                     KANSAS CITY         MO           64141-6267                             SUPPLIERS OR VENDORS        1/4/2019              $489.44
GRAND & BENEDICTS INC    6140 SW MACADAM AVENUE                                                     PORTLAND            OR           97239                                  SUPPLIERS OR VENDORS      10/25/2018            $3,902.08
                                                  6140 SW MACADAM
GRAND & BENEDICTS INC    0                        AVENUE                                            PORTLAND            OR           97239                                  SUPPLIERS OR VENDORS      11/14/2018               $1.00
GRAND & BENEDICTS INC    6140 SW MACADAM AVENUE                                                     PORTLAND            OR           97239                                  SUPPLIERS OR VENDORS      11/30/2018             $436.77

GRAND COUNTY TREASURER   PO BOX 1268                                                                MOAB                UT           84532                                  SUPPLIERS OR VENDORS      11/26/2018          $14,480.54
GRAND ISLAND EXPRESS
INCORPORA                PO BOX 2122                                                                GRAND ISLAND        NE           68802-0000                             SUPPLIERS OR VENDORS       11/2/2018                $1.00
GRAND ISLAND EXPRESS
INCORPORATED             PO BOX 2122                                                                GRAND ISLAND        NE           68802-0000                             SUPPLIERS OR VENDORS      10/18/2018          $23,477.78
GRAND ISLAND EXPRESS
INCORPORATED             PO BOX 2122                                                                GRAND ISLAND        NE           68802-0000                             SUPPLIERS OR VENDORS      10/25/2018          $18,616.80
GRAND ISLAND EXPRESS
INCORPORATED             PO BOX 2122                                                                GRAND ISLAND        NE           68802-0000                             SUPPLIERS OR VENDORS       11/1/2018          $29,693.90
GRAND ISLAND EXPRESS
INCORPORATED             PO BOX 2122                                                                GRAND ISLAND        NE           68802-0000                             SUPPLIERS OR VENDORS       11/9/2018          $30,574.28
GRAND ISLAND EXPRESS
INCORPORATED             PO BOX 2122                                                                GRAND ISLAND        NE           68802-0000                             SUPPLIERS OR VENDORS      11/16/2018          $25,582.59
GRAND ISLAND EXPRESS
INCORPORATED             PO BOX 2122                                                                GRAND ISLAND        NE           68802-0000                             SUPPLIERS OR VENDORS      11/30/2018          $43,634.22
GRAND ISLAND EXPRESS
INCORPORATED             PO BOX 2122                                                                GRAND ISLAND        NE           68802-0000                             SUPPLIERS OR VENDORS       12/8/2018          $51,572.16
GRAND ISLAND EXPRESS
INCORPORATED             PO BOX 2122                                                                GRAND ISLAND        NE           68802-0000                             SUPPLIERS OR VENDORS      12/11/2018            $3,234.83
GRAND ISLAND EXPRESS
INCORPORATED             PO BOX 2122                                                                GRAND ISLAND        NE           68802-0000                             SUPPLIERS OR VENDORS      12/12/2018            $2,127.94
GRAND ISLAND EXPRESS
INCORPORATED             PO BOX 2122                                                                GRAND ISLAND        NE           68802-0000                             SUPPLIERS OR VENDORS      12/14/2018            $3,705.17
GRAND ISLAND EXPRESS
INCORPORATED             PO BOX 2122                                                                GRAND ISLAND        NE           68802-0000                             SUPPLIERS OR VENDORS      12/19/2018          $25,334.89
GRAND ISLAND EXPRESS
INCORPORATED             PO BOX 2122                                                                GRAND ISLAND        NE           68802-0000                             SUPPLIERS OR VENDORS      12/20/2018            $3,648.89
GRAND ISLAND EXPRESS
INCORPORATED             PO BOX 2122                                                                GRAND ISLAND        NE           68802-0000                             SUPPLIERS OR VENDORS      12/21/2018            $7,631.24
GRAND ISLAND EXPRESS
INCORPORATED             PO BOX 2122                                                                GRAND ISLAND        NE           68802-0000                             SUPPLIERS OR VENDORS      12/22/2018            $2,563.52
GRAND ISLAND EXPRESS
INCORPORATED             PO BOX 2122                                                                GRAND ISLAND        NE           68802-0000                             SUPPLIERS OR VENDORS      12/28/2018          $12,481.19
GRAND ISLAND EXPRESS
INCORPORATED             PO BOX 2122                                                                GRAND ISLAND        NE           68802-0000                             SUPPLIERS OR VENDORS         1/5/2019         $16,056.30
GRAND ISLAND EXPRESS
INCORPORATED             PO BOX 2122                                                                GRAND ISLAND        NE           68802-0000                             SUPPLIERS OR VENDORS       1/10/2019            $3,100.16



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                                                                                                                                                                                 Reasons for payment or    Dates of     Total Amount or
       Creditor Name                Address1               Address2                  Address3                City               State       Zip              Country                    transfer          Payments            Value
GRANDE TENTE LLC         C/O R R CALLAHAN CO        1702 S HALSTED                                     CHICAGO             IL           60608                                  SUPPLIERS OR VENDORS         11/1/2018           $11,375.00
GRANDE TENTE LLC         C/O R R CALLAHAN CO        1702 S HALSTED                                     CHICAGO             IL           60608                                  SUPPLIERS OR VENDORS         12/1/2018           $11,375.00
GRANITE CITY ARMORED
CAR INCORPORATED         PO BOX 295                                                                    SAUK RAPIDS         MN           56379                                  SUPPLIERS OR VENDORS       10/25/2018              $827.59
GRANITE CITY ARMORED
CAR INCORPORATED         PO BOX 295                                                                    SAUK RAPIDS         MN           56379                                  SUPPLIERS OR VENDORS        11/1/2018              $234.56
GRANITE CITY ARMORED
CAR INCORPORATED         PO BOX 295                                                                    SAUK RAPIDS         MN           56379                                  SUPPLIERS OR VENDORS       11/29/2018            $1,067.32
GRANT BECKETT            1507 COOK ST.                                                                 DE PERE             WI           54115                                  SUPPLIERS OR VENDORS       11/12/2018               $58.18
GRANT BECKETT            1507 COOK ST.                                                                 DE PERE             WI           54115                                  SUPPLIERS OR VENDORS       11/16/2018               $14.55
GRANT COUNTY HEALTH
DISTRICT                 CUSTOMER SERVICE           1038 W IVY AVENUE                                  MOSES LAKE          WA           98837-0000                             SUPPLIERS OR VENDORS       11/30/2018              $196.00
GRANT COUNTY REVIEW      BOX 390                                                                       MILBANK             SD           57252                                  SUPPLIERS OR VENDORS       12/17/2018              $184.50

GRANT COUNTY TREASURER 108 S GLENN STREET                                                              ULYSSES             KS           67880                                  SUPPLIERS OR VENDORS       12/13/2018            $6,564.50
GRANT PULVER           210 CHANDLER PARK DRIVE                                                         PARDEEVILLE         WI           53954                                  SUPPLIERS OR VENDORS       10/22/2018               $36.00

GRAPHIC ARTS STUDIO                                 28 W 111 COMMERCIAL
INCORPORAT               0                          AVENUE                                             BARRINGTON          IL           60010                                  SUPPLIERS OR VENDORS       10/24/2018                $1.00
GRAPHIC ARTS STUDIO      28 W 111 COMMERCIAL
INCORPORATED             AVENUE                                                                        BARRINGTON          IL           60010                                  SUPPLIERS OR VENDORS        11/2/2018            $8,701.23

GRAPHICS DIRECT          SAND COUNTY PUBLISHING LLC 3048 STATE ROAD 13                                 WISCONSIN DELLS WI               53965                                  SUPPLIERS OR VENDORS       10/24/2018              $675.00
GRASS ROOTS LAWN &
LANDSCAPING INC          433 COUNTY ROAD 4270                                                          CLIFTON             TX           76634                                  SUPPLIERS OR VENDORS       10/18/2018              $757.42
GRASS ROOTS LAWN &
LANDSCAPING INC          433 COUNTY ROAD 4270                                                          CLIFTON             TX           76634                                  SUPPLIERS OR VENDORS       11/29/2018              $371.21
                                                                                                       MARYLAND
GRASSWORX LLC            ACCOUNTS RECEIVABLE        PO BOX 1412                                        HEIGHTS             MO           63043                                  SUPPLIERS OR VENDORS       11/30/2018            $9,545.96
                                                                                                       MARYLAND
GRASSWORX LLC            ACCOUNTS RECEIVABLE        PO BOX 1412                                        HEIGHTS             MO           63043                                  SUPPLIERS OR VENDORS        12/4/2018            $1,958.18
GRAYBAR ELECTRIC         12437 COLLECTIONS CENTER
COMPANY INCOR            DRIVE                                                                         CHICAGO             IL           60693-2437                             SUPPLIERS OR VENDORS       10/24/2018                $1.00

GRAYBAR ELECTRIC         12437 COLLECTIONS CENTER
COMPANY INCORPORATED     DRIVE                                                                         CHICAGO             IL           60693-2437                             SUPPLIERS OR VENDORS       10/25/2018           $69,544.75

GRAYBAR ELECTRIC         12437 COLLECTIONS CENTER
COMPANY INCORPORATED     DRIVE                                                                         CHICAGO             IL           60693-2437                             SUPPLIERS OR VENDORS       11/30/2018            $5,430.88

GRAYBAR ELECTRIC         12437 COLLECTIONS CENTER
COMPANY INCORPORATED     DRIVE                                                                         CHICAGO             IL           60693-2437                             SUPPLIERS OR VENDORS       12/19/2018           $30,434.18
GRAYSON RITCHEY          2851 ROCKY RIDGE AVE SE                                                       SALEM               OR           97306                                  SUPPLIERS OR VENDORS       10/25/2018               $30.00
GRAYSON SHULTS           3324 E 32ND AVE                                                               SPOKANE             WA           99223                                  SUPPLIERS OR VENDORS       10/26/2018               $62.00

GREAT AMERICAN
PRODUCTS INCORPORATED    PO BOX 631                                                                    SAN ANTONIO         TX           78293-0631                             SUPPLIERS OR VENDORS       10/25/2018               $36.36
GREAT BAY HOME (C HUB)   44 INDUSTRIAL PARK DRIVE                                                      DOVER               NH           03820                                  SUPPLIERS OR VENDORS       10/19/2018               $17.50
GREAT BAY HOME (C HUB)   44 INDUSTRIAL PARK DRIVE                                                      DOVER               NH           03820                                  SUPPLIERS OR VENDORS       10/23/2018               $67.00
GREAT BAY HOME (C HUB)   44 INDUSTRIAL PARK DRIVE                                                      DOVER               NH           03820                                  SUPPLIERS OR VENDORS       10/26/2018              $107.00
GREAT BAY HOME (C HUB)   44 INDUSTRIAL PARK DRIVE                                                      DOVER               NH           03820                                  SUPPLIERS OR VENDORS       10/30/2018               $30.00
GREAT BAY HOME (C HUB)   44 INDUSTRIAL PARK DRIVE                                                      DOVER               NH           03820                                  SUPPLIERS OR VENDORS        11/2/2018               $14.50
GREAT BAY HOME (C HUB)   44 INDUSTRIAL PARK DRIVE                                                      DOVER               NH           03820                                  SUPPLIERS OR VENDORS        11/6/2018               $59.00
GREAT BAY HOME (C HUB)   44 INDUSTRIAL PARK DRIVE                                                      DOVER               NH           03820                                  SUPPLIERS OR VENDORS        11/9/2018               $72.00



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                                                                                                                                                                                   Reasons for payment or    Dates of     Total Amount or
      Creditor Name                 Address1                 Address2                  Address3                  City             State       Zip              Country                    transfer          Payments            Value
GREAT BAY HOME (C HUB)    44 INDUSTRIAL PARK DRIVE                                                       DOVER               NH           03820                                  SUPPLIERS OR VENDORS        11/13/2018               $57.50
GREAT BAY HOME (C HUB)    44 INDUSTRIAL PARK DRIVE                                                       DOVER               NH           03820                                  SUPPLIERS OR VENDORS        11/16/2018              $173.50
GREAT BAY HOME (C HUB)    44 INDUSTRIAL PARK DRIVE                                                       DOVER               NH           03820                                  SUPPLIERS OR VENDORS        11/23/2018              $290.50
GREAT BAY HOME (C HUB)    44 INDUSTRIAL PARK DRIVE                                                       DOVER               NH           03820                                  SUPPLIERS OR VENDORS        11/27/2018               $87.00
GREAT BAY HOME (C HUB)    44 INDUSTRIAL PARK DRIVE                                                       DOVER               NH           03820                                  SUPPLIERS OR VENDORS        11/30/2018              $159.00
GREAT BAY HOME (C HUB)    44 INDUSTRIAL PARK DRIVE                                                       DOVER               NH           03820                                  SUPPLIERS OR VENDORS         12/4/2018               $49.00
GREAT BAY HOME (C HUB)    44 INDUSTRIAL PARK DRIVE                                                       DOVER               NH           03820                                  SUPPLIERS OR VENDORS        12/11/2018               $35.00

GREAT FALLS ICE COMPANY   PO BOX 314                   PAM TO ORACLE                                     WHITEFISH           MT           59937                                  SUPPLIERS OR VENDORS       10/18/2018               $33.00
GREAT LAKES COCA COLA
DISTRIBU                  PO BOX 809082                                                                  CHICAGO             IL           60680-9082                             SUPPLIERS OR VENDORS       12/18/2018                $1.00
GREAT LAKES COCA COLA
DISTRIBUTION LLC          PO BOX 809082                                                                  CHICAGO             IL           60680-9082                             SUPPLIERS OR VENDORS       10/18/2018           $71,287.31
GREAT LAKES COCA COLA
DISTRIBUTION LLC          PO BOX 809082                                                                  CHICAGO             IL           60680-9082                             SUPPLIERS OR VENDORS       10/25/2018          $150,791.01
GREAT LAKES COCA COLA
DISTRIBUTION LLC          PO BOX 809082                                                                  CHICAGO             IL           60680-9082                             SUPPLIERS OR VENDORS        11/1/2018          $207,009.29
GREAT LAKES COCA COLA
DISTRIBUTION LLC          PO BOX 809082                                                                  CHICAGO             IL           60680-9082                             SUPPLIERS OR VENDORS        11/8/2018           $60,166.67
GREAT LAKES COCA COLA
DISTRIBUTION LLC          PO BOX 809082                                                                  CHICAGO             IL           60680-9082                             SUPPLIERS OR VENDORS       11/15/2018           $36,828.95
GREAT LAKES COCA COLA
DISTRIBUTION LLC          PO BOX 809082                                                                  CHICAGO             IL           60680-9082                             SUPPLIERS OR VENDORS       11/22/2018           $28,562.56
GREAT LAKES COCA COLA
DISTRIBUTION LLC          PO BOX 809082                                                                  CHICAGO             IL           60680-9082                             SUPPLIERS OR VENDORS       11/29/2018           $42,494.56
GREAT LAKES COCA COLA
DISTRIBUTION LLC          PO BOX 809082                                                                  CHICAGO             IL           60680-9082                             SUPPLIERS OR VENDORS       12/19/2018           $85,461.79
GREAT LAKES COCA COLA
DISTRIBUTION LLC          PO BOX 809082                                                                  CHICAGO             IL           60680-9082                             SUPPLIERS OR VENDORS       12/20/2018           $13,023.11
GREAT LAKES COCA COLA
DISTRIBUTION LLC          PO BOX 809082                                                                  CHICAGO             IL           60680-9082                             SUPPLIERS OR VENDORS       12/22/2018               $77.59
GREAT LAKES COCA COLA
DISTRIBUTION LLC          PO BOX 809082                                                                  CHICAGO             IL           60680-9082                             SUPPLIERS OR VENDORS       12/22/2018           $15,984.49
GREAT LAKES COCA COLA
DISTRIBUTION LLC          PO BOX 809082                                                                  CHICAGO             IL           60680-9082                             SUPPLIERS OR VENDORS       12/28/2018           $27,790.94

GREATER GREEN BAY
COMMUNITY FOUNDATION      320 N BROADWAY ST, STE 260                                                     GREEN BAY           WI           54303                                  CHARITABLE DONATION         1/10/2019            $6,623.48
GRECIA ORTEGA             101 THICKET LANE                                                               SOUTH BELOIT        IL           61080                                  SUPPLIERS OR VENDORS        12/5/2018               $87.91
                          ACCTS PAYABLE TINA
GREDE LLC                 MARTINSON                    801 S CARPENTER AVE                               KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS       12/10/2018              $114.00
                                                       100 N JEFFERSON
GREEN BAY CITY TREASURER ROOM 106                      STREET                                            GREEN BAY           WI           54301-5026                             SUPPLIERS OR VENDORS        11/6/2018            $4,240.00
                                                       100 N JEFFERSON
GREEN BAY CITY TREASURER ROOM 106                      STREET                                            GREEN BAY           WI           54301-5026                             SUPPLIERS OR VENDORS        11/7/2018            $1,885.00
                                                       100 N JEFFERSON
GREEN BAY CITY TREASURER ROOM 106                      STREET                                            GREEN BAY           WI           54301-5026                             SUPPLIERS OR VENDORS        12/3/2018               $50.00
                                                       100 N JEFFERSON
GREEN BAY CITY TREASURER ROOM 106                      STREET                                            GREEN BAY           WI           54301-5026                             SUPPLIERS OR VENDORS       12/14/2018            $3,614.00
                                                       100 N JEFFERSON
GREEN BAY CITY TREASURER ROOM 106                      STREET                                            GREEN BAY           WI           54301-5026                             SUPPLIERS OR VENDORS         1/4/2019            $1,697.00
GREEN BAY PACKERS
INCORPORATED             PO BOX 10628                                                                    GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS        11/6/2018          $631,804.50




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                                                                                                                                                                      Reasons for payment or    Dates of     Total Amount or
      Creditor Name                Address1      Address2                  Address3                  City             State       Zip              Country                   transfer          Payments            Value
GREEN GARDEN LANDSCAPE
SERVICES LLC             722 EDINA LN NE                                                     SALEM               OR           97301                                  SUPPLIERS OR VENDORS       11/9/2018             $150.00
GREEN GARDEN LANDSCAPE
SERVICES LLC             722 EDINA LN NE                                                     SALEM               OR           97301                                  SUPPLIERS OR VENDORS      12/18/2018             $100.00
GREEN GARDEN LANDSCAPE
SERVICES LLC             722 EDINA LN NE                                                     SALEM               OR           97301                                  SUPPLIERS OR VENDORS         1/5/2019             $50.00
GREEN MOUNTAIN COFFEE
ROASTERS INC             33 COFFEE LANE                                                      WATERBURY           VT           05676                                  SUPPLIERS OR VENDORS      10/18/2018         $305,359.07
GREEN MOUNTAIN COFFEE
ROASTERS INC             33 COFFEE LANE                                                      WATERBURY           VT           05676                                  SUPPLIERS OR VENDORS      10/20/2018         $122,963.56
GREEN MOUNTAIN COFFEE
ROASTERS INC             33 COFFEE LANE                                                      WATERBURY           VT           05676                                  SUPPLIERS OR VENDORS      10/23/2018          $86,959.81
GREEN MOUNTAIN COFFEE
ROASTERS INC             33 COFFEE LANE                                                      WATERBURY           VT           05676                                  SUPPLIERS OR VENDORS      10/25/2018          $21,276.62
GREEN MOUNTAIN COFFEE
ROASTERS INC             33 COFFEE LANE                                                      WATERBURY           VT           05676                                  SUPPLIERS OR VENDORS      10/27/2018         $117,314.83
GREEN MOUNTAIN COFFEE
ROASTERS INC             33 COFFEE LANE                                                      WATERBURY           VT           05676                                  SUPPLIERS OR VENDORS       11/2/2018          $61,846.75
GREEN MOUNTAIN COFFEE
ROASTERS INC             33 COFFEE LANE                                                      WATERBURY           VT           05676                                  SUPPLIERS OR VENDORS       11/3/2018            $6,382.80
GREEN MOUNTAIN COFFEE
ROASTERS INC             33 COFFEE LANE                                                      WATERBURY           VT           05676                                  SUPPLIERS OR VENDORS       11/6/2018            $1,911.60
GREEN MOUNTAIN COFFEE
ROASTERS INC             33 COFFEE LANE                                                      WATERBURY           VT           05676                                  SUPPLIERS OR VENDORS       11/7/2018          $34,531.38
GREEN MOUNTAIN COFFEE
ROASTERS INC             33 COFFEE LANE                                                      WATERBURY           VT           05676                                  SUPPLIERS OR VENDORS       11/8/2018          $21,270.60
GREEN MOUNTAIN COFFEE
ROASTERS INC             33 COFFEE LANE                                                      WATERBURY           VT           05676                                  SUPPLIERS OR VENDORS       11/9/2018          $17,947.40
GREEN MOUNTAIN COFFEE
ROASTERS INC             33 COFFEE LANE                                                      WATERBURY           VT           05676                                  SUPPLIERS OR VENDORS      11/10/2018         $115,062.98
GREEN MOUNTAIN COFFEE
ROASTERS INC             33 COFFEE LANE                                                      WATERBURY           VT           05676                                  SUPPLIERS OR VENDORS      11/13/2018         $123,592.79
GREEN MOUNTAIN COFFEE
ROASTERS INC             33 COFFEE LANE                                                      WATERBURY           VT           05676                                  SUPPLIERS OR VENDORS      11/14/2018         $222,473.51
GREEN MOUNTAIN COFFEE
ROASTERS INC             33 COFFEE LANE                                                      WATERBURY           VT           05676                                  SUPPLIERS OR VENDORS      11/15/2018          $79,009.93
GREEN MOUNTAIN COFFEE
ROASTERS INC             33 COFFEE LANE                                                      WATERBURY           VT           05676                                  SUPPLIERS OR VENDORS      11/17/2018            $8,995.05
GREEN MOUNTAIN COFFEE
ROASTERS INC             33 COFFEE LANE                                                      WATERBURY           VT           05676                                  SUPPLIERS OR VENDORS      11/24/2018         $342,516.03
GREEN MOUNTAIN COFFEE
ROASTERS INC             33 COFFEE LANE                                                      WATERBURY           VT           05676                                  SUPPLIERS OR VENDORS      11/28/2018            $3,582.49
GREEN MOUNTAIN COFFEE
ROASTERS INC             33 COFFEE LANE                                                      WATERBURY           VT           05676                                  SUPPLIERS OR VENDORS      11/29/2018         $131,545.29
GREEN MOUNTAIN COFFEE
ROASTERS INC             33 COFFEE LANE                                                      WATERBURY           VT           05676                                  SUPPLIERS OR VENDORS       12/1/2018          $48,992.85
GREEN MOUNTAIN COFFEE
ROASTERS INC             33 COFFEE LANE                                                      WATERBURY           VT           05676                                  SUPPLIERS OR VENDORS       12/4/2018          $29,796.36
GREEN MOUNTAIN COFFEE
ROASTERS INC             33 COFFEE LANE                                                      WATERBURY           VT           05676                                  SUPPLIERS OR VENDORS       12/5/2018          $54,782.87
GREEN MOUNTAIN COFFEE
ROASTERS INC             33 COFFEE LANE                                                      WATERBURY           VT           05676                                  SUPPLIERS OR VENDORS      12/19/2018         $168,471.78
GREEN MOUNTAIN COFFEE
ROASTERS INC             33 COFFEE LANE                                                      WATERBURY           VT           05676                                  SUPPLIERS OR VENDORS      12/20/2018          $83,428.10



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      Creditor Name                Address1              Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
GREEN MOUNTAIN COFFEE
ROASTERS INC             33 COFFEE LANE                                                              WATERBURY           VT           05676                                  SUPPLIERS OR VENDORS      12/22/2018         $25,165.13
GREEN WORKS INC          211 S FAYETTE ST                                                            JACKSONVILLE        IL           62650                                  SUPPLIERS OR VENDORS      10/18/2018            $600.00
GREEN WORKS INC          211 S FAYETTE ST                                                            JACKSONVILLE        IL           62650                                  SUPPLIERS OR VENDORS      11/29/2018            $600.00
GREENE COUNTY
TREASURER                114 N CHESTNUT                                                              JEFFERSON           IA           50129                                  SUPPLIERS OR VENDORS       11/7/2018            $740.00
GREENWALL VENDING        VICE PRESIDENT OF SALES   3633 MC LANE DRIVE                                POPLAR BLUFF        MO           63901                                  SUPPLIERS OR VENDORS       11/1/2018            $153.27

GREENWOOD BRANDS LLC     WINE BARREL HOLDINGS      4455 GENESEE STREET                               CHEEKTOWAGA         NY           14225                                  SUPPLIERS OR VENDORS      10/18/2018            $379.75

GREENWOOD BRANDS LLC     WINE BARREL HOLDINGS      4455 GENESEE STREET                               CHEEKTOWAGA         NY           14225                                  SUPPLIERS OR VENDORS      10/25/2018           $1,541.74

GREENWOOD BRANDS LLC     WINE BARREL HOLDINGS      4455 GENESEE STREET                               CHEEKTOWAGA         NY           14225                                  SUPPLIERS OR VENDORS      11/15/2018           $1,968.62

GREENWOOD BRANDS LLC     WINE BARREL HOLDINGS      4455 GENESEE STREET                               CHEEKTOWAGA         NY           14225                                  SUPPLIERS OR VENDORS      11/29/2018           $1,319.47

GREENWOOD BRANDS LLC     WINE BARREL HOLDINGS      4455 GENESEE STREET                               CHEEKTOWAGA         NY           14225                                  SUPPLIERS OR VENDORS      12/12/2018           $1,421.78

GREENWOOD BRANDS LLC     WINE BARREL HOLDINGS      4455 GENESEE STREET                               CHEEKTOWAGA         NY           14225                                  SUPPLIERS OR VENDORS      12/13/2018            $582.12
GREG ASCHENBRENNER       E COMMERCE                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/27/2018            $136.25
GREG BLANCHARD           522 E A ST                                                                  MOSCOW              ID           83843                                  SUPPLIERS OR VENDORS      11/15/2018             $12.15
GREG BURKHART            448 E RIVERS EDGE LN                                                        EAGLE               ID           83616                                  SUPPLIERS OR VENDORS      10/31/2018              $6.86
GREG BURKHART            448 E RIVERS EDGE LN                                                        EAGLE               ID           83616                                  SUPPLIERS OR VENDORS      10/31/2018             $14.54
GREG CIANCIOLO           795 SUNDIAL LN.                                                             NEENAH              WI           54956                                  SUPPLIERS OR VENDORS      10/24/2018             $25.00
GREG CLODFELTER          STORE 2-007               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/29/2018             $66.25
GREG ENGESET             BOX 528                                                                     ELLSWORTH           WI           54011                                  SUPPLIERS OR VENDORS      12/19/2018             $25.00
GREG HERRINGTON          45 BRADFORD LANE                                                            MADISON             WI           53714                                  SUPPLIERS OR VENDORS      11/16/2018             $40.32
GREG KIVI                2710 TIMBER LANE          SHOPKO EMPLOYEE                                   GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS      10/18/2018            $124.26
GREG KIVI                2710 TIMBER LANE          SHOPKO EMPLOYEE                                   GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS       11/8/2018            $147.49
GREG KIVI                2710 TIMBER LANE          SHOPKO EMPLOYEE                                   GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS      11/15/2018            $191.84
GREG KIVI                2710 TIMBER LANE          SHOPKO EMPLOYEE                                   GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS      11/29/2018             $41.42
GREG KIVI                2710 TIMBER LANE          SHOPKO EMPLOYEE                                   GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS      12/13/2018            $430.68
GREG KIVI                2710 TIMBER LANE          SHOPKO EMPLOYEE                                   GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS      12/20/2018            $238.17

GREG KOZLOSKI TRUCKING   GREG KOZLOSKI             1195 SUNSET BEACH RD                              SUAMICO             WI           54173                                  SUPPLIERS OR VENDORS      10/18/2018           $3,099.68

GREG KOZLOSKI TRUCKING   GREG KOZLOSKI             1195 SUNSET BEACH RD                              SUAMICO             WI           54173                                  SUPPLIERS OR VENDORS      10/25/2018           $5,757.14

GREG KOZLOSKI TRUCKING   GREG KOZLOSKI             1195 SUNSET BEACH RD                              SUAMICO             WI           54173                                  SUPPLIERS OR VENDORS       11/1/2018           $3,429.18

GREG KOZLOSKI TRUCKING   GREG KOZLOSKI             1195 SUNSET BEACH RD                              SUAMICO             WI           54173                                  SUPPLIERS OR VENDORS       11/8/2018           $5,979.45

GREG KOZLOSKI TRUCKING   GREG KOZLOSKI             1195 SUNSET BEACH RD                              SUAMICO             WI           54173                                  SUPPLIERS OR VENDORS      11/15/2018           $3,751.46

GREG KOZLOSKI TRUCKING   GREG KOZLOSKI             1195 SUNSET BEACH RD                              SUAMICO             WI           54173                                  SUPPLIERS OR VENDORS      11/29/2018         $11,366.63

GREG KOZLOSKI TRUCKING   GREG KOZLOSKI             1195 SUNSET BEACH RD                              SUAMICO             WI           54173                                  SUPPLIERS OR VENDORS      12/17/2018           $7,793.58

GREG KOZLOSKI TRUCKING   GREG KOZLOSKI             1195 SUNSET BEACH RD                              SUAMICO             WI           54173                                  SUPPLIERS OR VENDORS      12/18/2018           $1,956.68

GREG KOZLOSKI TRUCKING   GREG KOZLOSKI             1195 SUNSET BEACH RD                              SUAMICO             WI           54173                                  SUPPLIERS OR VENDORS      12/20/2018           $1,167.28
GREG PATTEN              4700 WEST EMPIRE PLACE                                                      SIOUX FALLS         SD           57106                                  SUPPLIERS OR VENDORS       11/8/2018              $22.60
GREG POUPORE             N15390 M3 ROAD                                                              HERMANSVILLE        MI           49847                                  SUPPLIERS OR VENDORS       12/7/2018              $45.00
GREG ROUTE               10860 STACY TRAIL                                                           CHISAGO CITY        MN           55013                                  SUPPLIERS OR VENDORS       12/5/2018               $8.67



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GREG RUHNKE            1811 25TH AVENUE SOUTH                                                         WISCONSIN RAPIDS    WI           54495                                  SUPPLIERS OR VENDORS       11/6/2018             $40.00
GREG SALMON            409 ELM ST PO BOX #5                                                           LAWTON              IA           51030                                  SUPPLIERS OR VENDORS      11/28/2018              $6.00
GREG WILKINSON         E7071 HWY PF                                                                   NORTH FREEDOM       WI           53951                                  SUPPLIERS OR VENDORS      11/26/2018              $1.00
GREGG BERGHOLZ         582 RIVERVIEW DR                                                               MARSHALL            WI           53559                                  SUPPLIERS OR VENDORS      11/28/2018             $53.00
GREGG BRUHN            STORE 2-133                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/19/2018             $65.40
GREGG BRUHN            STORE 2-133                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/26/2018             $75.76
GREGORY GOHR           43555 590TH AVE                                                                MOUNTAIN LAKE       MN           56159                                  SUPPLIERS OR VENDORS      10/18/2018            $750.00
GREGORY HARMON         103 S 7TH ST #2                                                                YAKIMA              WA           98901                                  SUPPLIERS OR VENDORS      10/26/2018             $12.40
                       PHARMACY OPERATIONS/STORE
GREGORY HOOD           082                          SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/19/2018            $333.60
                       PHARMACY OPERATIONS/STORE
GREGORY HOOD           082                          SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/8/2018           $1,265.83
                       PHARMACY OPERATIONS/STORE
GREGORY HOOD           082                          SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/14/2018            $492.01
                       PHARMACY OPERATIONS/STORE
GREGORY HOOD           082                          SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       1/15/2019           $2,159.82
GREGORY MAJKRZAK       1294 TOWER HILL PASS                                                           WHITEWATER          WI           53190                                  SUPPLIERS OR VENDORS      10/18/2018              $45.00
GREGORY MAJKRZAK       1294 TOWER HILL PASS                                                           WHITEWATER          WI           53190                                  SUPPLIERS OR VENDORS      10/18/2018             $106.49
GREGORY SMITH          5289 S. PEEK HOME RD                                                           POLO                IL           61064                                  SUPPLIERS OR VENDORS      11/26/2018              $10.02
GREGORY ZELL           PO BOX 4071                                                                    MISSOULA            MT           59806                                  SUPPLIERS OR VENDORS      10/19/2018           $4,533.04
GREGORY ZELL           PO BOX 4071                                                                    MISSOULA            MT           59806                                  SUPPLIERS OR VENDORS       11/2/2018           $4,765.23
GREGORY ZELL           PO BOX 4071                                                                    MISSOULA            MT           59806                                  SUPPLIERS OR VENDORS      11/16/2018           $3,785.79
GREGORY ZELL           PO BOX 4071                                                                    MISSOULA            MT           59806                                  SUPPLIERS OR VENDORS      11/30/2018           $3,353.24
GREGORY ZELL           PO BOX 4071                                                                    MISSOULA            MT           59806                                  SUPPLIERS OR VENDORS      12/14/2018           $4,587.53
GREGORY ZELL           PO BOX 4071                                                                    MISSOULA            MT           59806                                  SUPPLIERS OR VENDORS      12/29/2018           $3,014.91
GREGORY ZELL           PO BOX 4071                                                                    MISSOULA            MT           59806                                  SUPPLIERS OR VENDORS       1/11/2019           $3,165.49
GREGREY WILLIAMS       1016 S. HOMESTEAD AVE                                                          FREEPORT            IL           61032                                  SUPPLIERS OR VENDORS      10/26/2018             $311.00
GREYBULL AMERICAN
LEGION                 ATTN RON FIENE               PO BOX 272                                        GREYBULL            WY           82426                                  SUPPLIERS OR VENDORS      10/30/2018            $250.00
GROBET USA             750 WASHINGTON AVENUE                                                          CARLSTADT           NJ           07072                                  SUPPLIERS OR VENDORS      11/15/2018            $165.64

GROTHS COUNTRY GARDENS
INCORPORATED            N144 W13015 PIONEER ROAD                                                      CEDARBURG           WI           53012                                  SUPPLIERS OR VENDORS      10/18/2018             $85.00
GROUP III INTERNATIONAL
LTD                     2981 WEST MCNAB ROAD                                                          POMPANO BEACH FL                 33069-0000                             SUPPLIERS OR VENDORS       11/1/2018             $53.50
GROUP III INTERNATIONAL
LTD                     2981 WEST MCNAB ROAD                                                          POMPANO BEACH FL                 33069-0000                             SUPPLIERS OR VENDORS      11/15/2018             $42.75
                        T FAL CORPORATION ROWENTA
GROUPE SEB USA          CORP                        PO BOX 7247                                       PHILADELPHIA        PA           19170-7717                             SUPPLIERS OR VENDORS      10/18/2018           $1,621.52
                        T FAL CORPORATION ROWENTA
GROUPE SEB USA          CORP                        PO BOX 7247                                       PHILADELPHIA        PA           19170-7717                             SUPPLIERS OR VENDORS      10/22/2018           $7,932.73
                        T FAL CORPORATION ROWENTA
GROUPE SEB USA          CORP                        PO BOX 7247                                       PHILADELPHIA        PA           19170-7717                             SUPPLIERS OR VENDORS      10/23/2018           $9,400.61
                        T FAL CORPORATION ROWENTA
GROUPE SEB USA          CORP                        PO BOX 7247                                       PHILADELPHIA        PA           19170-7717                             SUPPLIERS OR VENDORS      10/30/2018         $13,161.65
                        T FAL CORPORATION ROWENTA
GROUPE SEB USA          CORP                        PO BOX 7247                                       PHILADELPHIA        PA           19170-7717                             SUPPLIERS OR VENDORS       11/1/2018         $56,334.54
                        T FAL CORPORATION ROWENTA
GROUPE SEB USA          CORP                        PO BOX 7247                                       PHILADELPHIA        PA           19170-7717                             SUPPLIERS OR VENDORS      11/29/2018           $4,083.97
GRUNDY COUNTY
TREASURER               PO BOX 178                                                                    TRENTON             MO           64683                                  SUPPLIERS OR VENDORS      11/15/2018             $25.00
GRUNDY COUNTY
TREASURER               PO BOX 178                                                                    TRENTON             MO           64683                                  SUPPLIERS OR VENDORS      12/19/2018         $33,148.96



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GRYGLA HIGH SCHOOL
YEARBOOK                   PO BOX 18                                                                    GRYGLA              MN           56727                                  SUPPLIERS OR VENDORS      10/26/2018              $45.00
GSM LLC                    PO BOX 535189                                                                GRAND PRAIRIE       TX           75053-5189                             SUPPLIERS OR VENDORS      10/25/2018             $179.70
GSM LLC                    PO BOX 535189                                                                GRAND PRAIRIE       TX           75053-5189                             SUPPLIERS OR VENDORS       11/1/2018           $4,391.40
GSM LLC                    PO BOX 535189                                                                GRAND PRAIRIE       TX           75053-5189                             SUPPLIERS OR VENDORS       11/8/2018             $580.26
GSM LLC                    PO BOX 535189                                                                GRAND PRAIRIE       TX           75053-5189                             SUPPLIERS OR VENDORS      11/29/2018             $349.02
GUADALUPE RODRIGUEZ        3209 JEFFERSON ST.                                                           STEVENS POINT       WI           54481                                  SUPPLIERS OR VENDORS      10/25/2018              $40.00
                                                                             2101 EAST EVERGREEN
GUANG CHEN                 STORE 2-505                SHOPKO EMPLOYEE        DRIVE                      APPLETON            WI           54913-9001                             SUPPLIERS OR VENDORS      10/18/2018             $49.05
GUIDECRAFT USA             55508 STATE HWY 19 WEST                                                      WINTHROP            MN           55396                                  SUPPLIERS OR VENDORS      10/18/2018            $133.95
GUIDECRAFT USA             55508 STATE HWY 19 WEST                                                      WINTHROP            MN           55396                                  SUPPLIERS OR VENDORS      10/25/2018            $157.45
GUIDECRAFT USA             55508 STATE HWY 19 WEST                                                      WINTHROP            MN           55396                                  SUPPLIERS OR VENDORS      11/29/2018            $136.30
GUILLERMINA DALKE          N5637 PULS RD.                                                               SHIOCTON            WI           54170                                  SUPPLIERS OR VENDORS      10/29/2018            $179.98
GUILLERMO BANUELOS         STORE 081                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/22/2018            $360.19
GUINEVERE RINGERING        801 SE 6TH                                                                   COLLEGE PLACE       WA           99324                                  SUPPLIERS OR VENDORS      10/29/2018             $13.60

GULF COAST
PHARMACEUTICALS PLUS LLC   ACCORD FINANCIAL           PO BOX 6704                                       GREENVILLE          SC           29606                                  SUPPLIERS OR VENDORS      10/29/2018           $1,165.96
GUNDERSONS LAWN CARE &
SNOW PLOWING               BEVERLY GUNDERSON          2327 US HWY 59                                    MAHNOMEN            MN           56557                                  SUPPLIERS OR VENDORS        1/4/2019          $1,650.00
GURLEYS FOOD               VICE PRESIDENT OF SALES    E HIGHWAY 12           PAM TO ORACLE              WILLMAR             MN           56201                                  SUPPLIERS OR VENDORS      10/19/2018         $20,149.13
GURLEYS FOOD               VICE PRESIDENT OF SALES    E HIGHWAY 12           PAM TO ORACLE              WILLMAR             MN           56201                                  SUPPLIERS OR VENDORS      10/22/2018         $11,419.13
GUSTO BEVERAGE             PO BOX 3407                                                                  GREAT FALLS         MT           59403                                  SUPPLIERS OR VENDORS      10/25/2018            $177.37
GUSTO BEVERAGE             PO BOX 3407                                                                  GREAT FALLS         MT           59403                                  SUPPLIERS OR VENDORS       11/8/2018            $128.60
GUSTO BEVERAGE             PO BOX 3407                                                                  GREAT FALLS         MT           59403                                  SUPPLIERS OR VENDORS      11/15/2018            $110.70
GUSTO BEVERAGE             PO BOX 3407                                                                  GREAT FALLS         MT           59403                                  SUPPLIERS OR VENDORS      11/22/2018            $201.20
GUSTO BEVERAGE             PO BOX 3407                                                                  GREAT FALLS         MT           59403                                  SUPPLIERS OR VENDORS      11/29/2018            $148.10
GUSTO BEVERAGE             PO BOX 3407                                                                  GREAT FALLS         MT           59403                                  SUPPLIERS OR VENDORS      12/20/2018            $455.92
GUY TOLMAN                 333 ROCKCREEK RD TRLR 37                                                     HANSEN              ID           83334                                  SUPPLIERS OR VENDORS      11/13/2018             $15.00
GW ACQUISITIONS LLC DBA
G & W IND INC              1370 BROADWAY                                                                NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      10/18/2018         $39,026.16
GW ACQUISITIONS LLC DBA
G & W IND INC              1370 BROADWAY                                                                NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      10/19/2018             $48.00
GW ACQUISITIONS LLC DBA
G & W IND INC              1370 BROADWAY                                                                NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      10/26/2018           $2,193.22
GW ACQUISITIONS LLC DBA
G & W IND INC              1370 BROADWAY                                                                NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS       11/2/2018             $96.00
GW ACQUISITIONS LLC DBA
G & W IND INC              1370 BROADWAY                                                                NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS       11/3/2018         $27,646.68
GW ACQUISITIONS LLC DBA
G & W IND INC              1370 BROADWAY                                                                NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS       11/6/2018         $35,924.94
GW ACQUISITIONS LLC DBA
G & W IND INC              1370 BROADWAY                                                                NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS       11/7/2018         $14,841.89
GW ACQUISITIONS LLC DBA
G & W IND INC              1370 BROADWAY                                                                NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS       11/8/2018         $17,781.00
GW ACQUISITIONS LLC DBA
G & W IND INC              1370 BROADWAY                                                                NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      11/27/2018         $32,463.48
GW ACQUISITIONS LLC DBA
G & W IND INC              1370 BROADWAY                                                                NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      11/28/2018         $27,239.28
GW ACQUISITIONS LLC DBA
G & W IND INC              1370 BROADWAY                                                                NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      11/29/2018         $28,068.00
H & M ELY LLC              1500 AVENUE F SUITE 4                                                        ELY                 NV           89301                                  SUPPLIERS OR VENDORS      11/15/2018         $12,430.56
H & M ELY LLC              1500 AVENUE F SUITE 4                                                        ELY                 NV           89301                                  SUPPLIERS OR VENDORS      12/19/2018         $12,916.67




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                                                                                                                                                                              Reasons for payment or    Dates of     Total Amount or
      Creditor Name                Address1              Address2                  Address3                 City              State       Zip              Country                   transfer          Payments            Value
H J MARTIN & SON
INCORPORATED             PO BOX 11387                                                                GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS      10/25/2018            $2,650.00
H J MARTIN & SON
INCORPORATED             PO BOX 11387                                                                GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS      10/26/2018              $68.29
H J MARTIN & SON
INCORPORATED             PO BOX 11387                                                                GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       11/5/2018             $350.00
H J MARTIN & SON
INCORPORATED             PO BOX 11387                                                                GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       11/8/2018          $25,884.00
H J MARTIN & SON
INCORPORATED             PO BOX 11387                                                                GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS      11/13/2018          $46,441.80
H J MARTIN & SON
INCORPORATED             PO BOX 11387                                                                GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS      11/16/2018            $2,799.32
H J MARTIN & SON
INCORPORATED             PO BOX 11387                                                                GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS      12/14/2018          $73,441.80
H O WOLDING
INCORPORATED             DRAWER 842                                                                  MILWAUKEE           WI           53278-0842                             SUPPLIERS OR VENDORS      10/18/2018          $50,938.01
H O WOLDING
INCORPORATED             DRAWER 842                                                                  MILWAUKEE           WI           53278-0842                             SUPPLIERS OR VENDORS      10/25/2018          $24,695.46
H O WOLDING
INCORPORATED             DRAWER 842                                                                  MILWAUKEE           WI           53278-0842                             SUPPLIERS OR VENDORS      10/30/2018                $1.00
H O WOLDING
INCORPORATED             DRAWER 842                                                                  MILWAUKEE           WI           53278-0842                             SUPPLIERS OR VENDORS       11/2/2018         $100,754.19
H O WOLDING
INCORPORATED             DRAWER 842                                                                  MILWAUKEE           WI           53278-0842                             SUPPLIERS OR VENDORS       11/9/2018          $56,311.63
H O WOLDING
INCORPORATED             DRAWER 842                                                                  MILWAUKEE           WI           53278-0842                             SUPPLIERS OR VENDORS      11/16/2018          $45,225.78
H O WOLDING
INCORPORATED             DRAWER 842                                                                  MILWAUKEE           WI           53278-0842                             SUPPLIERS OR VENDORS      11/30/2018         $112,742.10
H O WOLDING
INCORPORATED             DRAWER 842                                                                  MILWAUKEE           WI           53278-0842                             SUPPLIERS OR VENDORS       12/8/2018          $86,381.56
H O WOLDING
INCORPORATED             DRAWER 842                                                                  MILWAUKEE           WI           53278-0842                             SUPPLIERS OR VENDORS      12/11/2018          $17,477.94
H O WOLDING
INCORPORATED             DRAWER 842                                                                  MILWAUKEE           WI           53278-0842                             SUPPLIERS OR VENDORS      12/12/2018            $3,531.16
H O WOLDING
INCORPORATED             DRAWER 842                                                                  MILWAUKEE           WI           53278-0842                             SUPPLIERS OR VENDORS      12/14/2018          $22,518.50
H O WOLDING
INCORPORATED             DRAWER 842                                                                  MILWAUKEE           WI           53278-0842                             SUPPLIERS OR VENDORS      12/19/2018          $60,473.84
H O WOLDING
INCORPORATED             DRAWER 842                                                                  MILWAUKEE           WI           53278-0842                             SUPPLIERS OR VENDORS      12/20/2018            $4,943.17
H O WOLDING
INCORPORATED             DRAWER 842                                                                  MILWAUKEE           WI           53278-0842                             SUPPLIERS OR VENDORS      12/21/2018            $8,717.32
H O WOLDING
INCORPORATED             DRAWER 842                                                                  MILWAUKEE           WI           53278-0842                             SUPPLIERS OR VENDORS      12/22/2018          $26,098.42
H O WOLDING
INCORPORATED             DRAWER 842                                                                  MILWAUKEE           WI           53278-0842                             SUPPLIERS OR VENDORS         1/5/2019         $98,628.85
H O WOLDING
INCORPORATED             DRAWER 842                                                                  MILWAUKEE           WI           53278-0842                             SUPPLIERS OR VENDORS         1/8/2019           $8,436.44

H S GROUP INCORPORATED   54 PARK PLACE SUITE 200                                                     APPLETON            WI           54914                                  SUPPLIERS OR VENDORS      10/20/2018                $1.00

H S GROUP INCORPORATED   54 PARK PLACE SUITE 200                                                     APPLETON            WI           54914                                  SUPPLIERS OR VENDORS       11/2/2018            $4,000.00
                                                                          145 BROADWAY AVENUE
H W STRANDQUIST          STORE 2-561               SHOPKO EMPLOYEE        N                   COKATO                     MN           55321                                  SUPPLIERS OR VENDORS      10/18/2018              $64.31



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     Creditor Name               Address1            Address2                Address3                     City            State       Zip              Country                   transfer          Payments           Value
                                                                      145 BROADWAY AVENUE
H W STRANDQUIST        STORE 2-561            SHOPKO EMPLOYEE         N                          COKATO              MN           55321                                  SUPPLIERS OR VENDORS      10/25/2018             $72.76
                                                                      145 BROADWAY AVENUE
H W STRANDQUIST        STORE 2-561            SHOPKO EMPLOYEE         N                          COKATO              MN           55321                                  SUPPLIERS OR VENDORS      11/15/2018             $84.00
                                                                      145 BROADWAY AVENUE
H W STRANDQUIST        STORE 2-561            SHOPKO EMPLOYEE         N                          COKATO              MN           55321                                  SUPPLIERS OR VENDORS       12/6/2018            $168.41
                                                                      145 BROADWAY AVENUE
H W STRANDQUIST        STORE 2-561            SHOPKO EMPLOYEE         N                          COKATO              MN           55321                                  SUPPLIERS OR VENDORS      12/20/2018             $72.22
H2O FURNISHINGS LLC    161 Gardner Rd                                                            Brookline           MA           02445                                  SUPPLIERS OR VENDORS      10/25/2018        $228,663.36
H2O FURNISHINGS LLC    161 Gardner Rd                                                            Brookline           MA           02445                                  SUPPLIERS OR VENDORS      11/15/2018        $154,052.59
HAAR PROPERTIES LLC    ALEXANDER HAAR         1852 SEADRIFT CT                                   WINDSOR             CO           80550                                  SUPPLIERS OR VENDORS      11/15/2018         $13,651.33
HAAR PROPERTIES LLC    ALEXANDER HAAR         1852 SEADRIFT CT                                   WINDSOR             CO           80550                                  SUPPLIERS OR VENDORS      12/19/2018         $13,651.33
HADDAD APPAREL GROUP                          131 DOCKS CORNER
LIMITED                ATTN CREDIT DEPT       ROAD                                               DAYTON              NJ           08810-0000                             SUPPLIERS OR VENDORS       11/1/2018         $30,587.54
HAGGAR CLOTHING
COMPANY                PO BOX 840366                                                             DALLAS              TX           75284-0366                             SUPPLIERS OR VENDORS      10/18/2018         $18,960.25
HAGGAR CLOTHING
COMPANY                PO BOX 840366                                                             DALLAS              TX           75284-0366                             SUPPLIERS OR VENDORS      10/25/2018         $25,821.25
HAGGAR CLOTHING
COMPANY                PO BOX 840366                                                             DALLAS              TX           75284-0366                             SUPPLIERS OR VENDORS       11/1/2018           $7,308.75
HAGGAR CLOTHING
COMPANY                PO BOX 840366                                                             DALLAS              TX           75284-0366                             SUPPLIERS OR VENDORS       11/8/2018         $16,213.10
HAGGAR CLOTHING
COMPANY                PO BOX 840366                                                             DALLAS              TX           75284-0366                             SUPPLIERS OR VENDORS      11/15/2018        $118,484.00
HAGGAR CLOTHING
COMPANY                PO BOX 840366                                                             DALLAS              TX           75284-0366                             SUPPLIERS OR VENDORS      11/22/2018           $3,587.25
HAGGAR CLOTHING
COMPANY                PO BOX 840366                                                             DALLAS              TX           75284-0366                             SUPPLIERS OR VENDORS      11/29/2018         $25,564.75
HAGOP ARSLANIAN        6597 S HIGH BLUFF DR                                                      SALT LAKE CITY      UT           84118                                  SUPPLIERS OR VENDORS      11/16/2018              $3.00
HAHN PRINTING
INCORPORATED           752 NORTH ADAMS ROAD                                                      EAGLE RIVER         WI           54521                                  SUPPLIERS OR VENDORS      10/24/2018            $625.00
HAILE & HIWOT TEKLE    HAILE TEKLE            4501 21ST STREET                                   MOUNT RAINER        MD           20712                                  SUPPLIERS OR VENDORS      11/15/2018         $20,823.89
HAILE & HIWOT TEKLE    HAILE TEKLE            4501 21ST STREET                                   MOUNT RAINER        MD           20712                                  SUPPLIERS OR VENDORS      11/15/2018         $20,823.89
HAILE & HIWOT TEKLE    HAILE TEKLE            4501 21ST STREET                                   MOUNT RAINER        MD           20712                                  SUPPLIERS OR VENDORS      12/19/2018         $20,823.89
HAILE & HIWOT TEKLE    HAILE TEKLE            4501 21ST STREET                                   MOUNT RAINER        MD           20712                                  SUPPLIERS OR VENDORS      12/19/2018         $20,823.89
HAILEY MARTIN          4646 IVY ST                                                               SPRINGFIELD         OR           97478                                  SUPPLIERS OR VENDORS      11/28/2018             $19.99
                       SHOPKO STORES
HAIN FOOD GROUP        INCORPORATED           PO BOX 19060            UNF $1000.00 071197        GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/18/2018         $13,005.28
                       SHOPKO STORES
HAIN FOOD GROUP        INCORPORATED           PO BOX 19060            UNF $1000.00 071197        GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/15/2018           $2,531.09
HALEY PRITZL           5200 LADE BEACH RD                                                        LITTLE SUAMICO      WI           54141                                  SUPPLIERS OR VENDORS      12/19/2018              $25.00
HALFWASSEN GROUP
SAVANNA LLC            7721 TRENT COURT                                                          NAPLES              FL           34113                                  SUPPLIERS OR VENDORS       11/1/2018         $10,416.67
HALFWASSEN GROUP
SAVANNA LLC            7721 TRENT COURT                                                          NAPLES              FL           34113                                  SUPPLIERS OR VENDORS       12/1/2018         $10,416.67
HALIE LYONS            3052 16TH ST                                                              MONROE              WI           53566                                  SUPPLIERS OR VENDORS       11/9/2018             $99.43
HAMILTON ENTERPRISES
CENTRAL LLC            1116 HIGHWAY 59 S                                                         DETROIT LAKES       MN           56501                                  SUPPLIERS OR VENDORS       11/1/2018           $7,562.50
HAMILTON ENTERPRISES
CENTRAL LLC            1116 HIGHWAY 59 S                                                         DETROIT LAKES       MN           56501                                  SUPPLIERS OR VENDORS       12/1/2018           $7,891.87
                       CIT GROUP COMMERCIAL
HAMPTON FORGE LTD      SERVICES INC           PO BOX 1036                                        CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      10/19/2018           $2,230.28
                                                                                                                                                                         PURCHASE OF
HAMPTON FORGE LTD      442 ROUTE 35 SOUTH                                                        EATONTOWN           NJ           07724                                  MERCHANDISE                11/6/2018         $73,281.95



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HAMPTON HOLDINGS LLC   1515 WEST MAPLE AVENUE                                                        RED WING            MN           55066                                  SUPPLIERS OR VENDORS         11/1/2018            $7,194.67
HAMPTON HOLDINGS LLC   1515 WEST MAPLE AVENUE                                                        RED WING            MN           55066                                  SUPPLIERS OR VENDORS         12/1/2018            $7,194.67
HAMSTRA BUILDERS
INCORPORATED           12028 N 200 W                                                                 WHEATFIELD          IN           46392                                  SUPPLIERS OR VENDORS        11/1/2018            $8,333.33
HAMSTRA BUILDERS
INCORPORATED           12028 N 200 W                                                                 WHEATFIELD          IN           46392                                  SUPPLIERS OR VENDORS        11/7/2018            $7,107.14
HAMSTRA BUILDERS
INCORPORATED           12028 N 200 W                                                                 WHEATFIELD          IN           46392                                  SUPPLIERS OR VENDORS        12/1/2018            $8,333.33

HANCOCK BOTTLING
COMPANY INCORPORATED   1800 BIRCH STREET                                                             HANCOCK             MI           49930                                  SUPPLIERS OR VENDORS       10/18/2018            $1,098.50

HANCOCK BOTTLING
COMPANY INCORPORATED   1800 BIRCH STREET                                                             HANCOCK             MI           49930                                  SUPPLIERS OR VENDORS       10/25/2018            $3,141.02

HANCOCK BOTTLING
COMPANY INCORPORATED   1800 BIRCH STREET                                                             HANCOCK             MI           49930                                  SUPPLIERS OR VENDORS        11/1/2018            $1,837.42

HANCOCK BOTTLING
COMPANY INCORPORATED   1800 BIRCH STREET                                                             HANCOCK             MI           49930                                  SUPPLIERS OR VENDORS        11/8/2018              $792.50

HANCOCK BOTTLING
COMPANY INCORPORATED   1800 BIRCH STREET                                                             HANCOCK             MI           49930                                  SUPPLIERS OR VENDORS       11/15/2018              $576.01

HANCOCK BOTTLING
COMPANY INCORPORATED   1800 BIRCH STREET                                                             HANCOCK             MI           49930                                  SUPPLIERS OR VENDORS       11/22/2018              $816.48

HANCOCK BOTTLING
COMPANY INCORPORATED   1800 BIRCH STREET                                                             HANCOCK             MI           49930                                  SUPPLIERS OR VENDORS       11/29/2018              $640.72

HANCOCK BOTTLING
COMPANY INCORPORATED   1800 BIRCH STREET                                                             HANCOCK             MI           49930                                  SUPPLIERS OR VENDORS       12/20/2018            $1,765.88

HANCOCK BOTTLING
COMPANY INCORPORATED   1800 BIRCH STREET                                                             HANCOCK             MI           49930                                  SUPPLIERS OR VENDORS       12/27/2018            $2,661.85
HANDCRAFT
MANUFACTURING          34 WEST 33RD STREET SUITE
CORPORATION            401                                                                           NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS       10/18/2018            $5,685.00
HANDCRAFT
MANUFACTURING          34 WEST 33RD STREET SUITE
CORPORATION            401                                                                           NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS       10/29/2018            $7,485.00
HANDCRAFT
MANUFACTURING          34 WEST 33RD STREET SUITE
CORPORATION            401                                                                           NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS       11/12/2018            $2,635.45
HANDCRAFT
MANUFACTURING          34 WEST 33RD STREET SUITE
CORPORATION            401                                                                           NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS       11/15/2018            $9,729.00
HANDCRAFT
MANUFACTURING          34 WEST 33RD STREET SUITE
CORPORATION            401                                                                           NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS       12/11/2018            $5,008.80

HANDI CRAFT COMPANY    75 REMITTANCE DRIVE STE 1612                                                  CHICAGO             IL           60675-1612                             SUPPLIERS OR VENDORS       10/18/2018              $619.68

HANDI CRAFT COMPANY    75 REMITTANCE DRIVE STE 1612                                                  CHICAGO             IL           60675-1612                             SUPPLIERS OR VENDORS       10/25/2018            $1,175.16



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HANDI CRAFT COMPANY   75 REMITTANCE DRIVE STE 1612                                                     CHICAGO             IL           60675-1612                             SUPPLIERS OR VENDORS       11/1/2018            $677.77

HANDI CRAFT COMPANY   75 REMITTANCE DRIVE STE 1612                                                     CHICAGO             IL           60675-1612                             SUPPLIERS OR VENDORS       11/8/2018            $402.75

HANDI CRAFT COMPANY   75 REMITTANCE DRIVE STE 1612                                                     CHICAGO             IL           60675-1612                             SUPPLIERS OR VENDORS      11/15/2018            $975.36

HANDI CRAFT COMPANY   75 REMITTANCE DRIVE STE 1612                                                     CHICAGO             IL           60675-1612                             SUPPLIERS OR VENDORS      11/22/2018            $900.84

HANDI CRAFT COMPANY   75 REMITTANCE DRIVE STE 1612                                                     CHICAGO             IL           60675-1612                             SUPPLIERS OR VENDORS      11/29/2018           $1,158.96
                                                     PMB 324 1395 S
HANDYMAN SERVICES     ATTN GARY PAUL KALINOSKI       COLUMBIA RD                                       GRAND FORKS         ND           58201                                  SUPPLIERS OR VENDORS       11/2/2018            $580.00
HANESBRANDS
INCORPORATED
UNDERWEAR             21692 NETWORK PLACE                                                              CHICAGO             IL           60673-1216                             SUPPLIERS OR VENDORS      10/19/2018         $12,055.47
HANESBRANDS
INCORPORATED
UNDERWEAR             21692 NETWORK PLACE                                                              CHICAGO             IL           60673-1216                             SUPPLIERS OR VENDORS      10/19/2018         $37,834.76
HANESBRANDS
INCORPORATED
UNDERWEAR             21692 NETWORK PLACE                                                              CHICAGO             IL           60673-1216                             SUPPLIERS OR VENDORS      10/19/2018        $109,692.79
HANESBRANDS
INCORPORATED
UNDERWEAR             21692 NETWORK PLACE                                                              CHICAGO             IL           60673-1216                             SUPPLIERS OR VENDORS      10/19/2018        $236,690.43
HANESBRANDS
INCORPORATED
UNDERWEAR             21692 NETWORK PLACE                                                              CHICAGO             IL           60673-1216                             SUPPLIERS OR VENDORS      10/26/2018         $10,050.22
HANESBRANDS
INCORPORATED
UNDERWEAR             21692 NETWORK PLACE                                                              CHICAGO             IL           60673-1216                             SUPPLIERS OR VENDORS      10/26/2018         $62,382.86
HANESBRANDS
INCORPORATED
UNDERWEAR             21692 NETWORK PLACE                                                              CHICAGO             IL           60673-1216                             SUPPLIERS OR VENDORS      10/26/2018         $88,761.50
HANESBRANDS
INCORPORATED
UNDERWEAR             21692 NETWORK PLACE                                                              CHICAGO             IL           60673-1216                             SUPPLIERS OR VENDORS      10/26/2018         $99,438.57
HANESBRANDS
INCORPORATED
UNDERWEAR             21692 NETWORK PLACE                                                              CHICAGO             IL           60673-1216                             SUPPLIERS OR VENDORS       11/2/2018           $5,864.23
HANESBRANDS
INCORPORATED
UNDERWEAR             21692 NETWORK PLACE                                                              CHICAGO             IL           60673-1216                             SUPPLIERS OR VENDORS       11/2/2018         $32,439.38
HANESBRANDS
INCORPORATED
UNDERWEAR             21692 NETWORK PLACE                                                              CHICAGO             IL           60673-1216                             SUPPLIERS OR VENDORS       11/2/2018         $76,187.30
HANESBRANDS
INCORPORATED
UNDERWEAR             21692 NETWORK PLACE                                                              CHICAGO             IL           60673-1216                             SUPPLIERS OR VENDORS       11/2/2018        $106,010.12
HANESBRANDS
INCORPORATED
UNDERWEAR             21692 NETWORK PLACE                                                              CHICAGO             IL           60673-1216                             SUPPLIERS OR VENDORS       11/9/2018           $6,715.67
HANESBRANDS
INCORPORATED
UNDERWEAR             21692 NETWORK PLACE                                                              CHICAGO             IL           60673-1216                             SUPPLIERS OR VENDORS       11/9/2018         $16,973.51



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HANESBRANDS
INCORPORATED
UNDERWEAR             21692 NETWORK PLACE                                                           CHICAGO             IL           60673-1216                             SUPPLIERS OR VENDORS       11/9/2018        $101,878.79
HANESBRANDS
INCORPORATED
UNDERWEAR             21692 NETWORK PLACE                                                           CHICAGO             IL           60673-1216                             SUPPLIERS OR VENDORS       11/9/2018        $113,520.85
HANESBRANDS
INCORPORATED
UNDERWEAR             21692 NETWORK PLACE                                                           CHICAGO             IL           60673-1216                             SUPPLIERS OR VENDORS      11/16/2018           $8,868.26
HANESBRANDS
INCORPORATED
UNDERWEAR             21692 NETWORK PLACE                                                           CHICAGO             IL           60673-1216                             SUPPLIERS OR VENDORS      11/16/2018         $18,943.88
HANESBRANDS
INCORPORATED
UNDERWEAR             21692 NETWORK PLACE                                                           CHICAGO             IL           60673-1216                             SUPPLIERS OR VENDORS      11/16/2018         $25,669.81
HANESBRANDS
INCORPORATED
UNDERWEAR             21692 NETWORK PLACE                                                           CHICAGO             IL           60673-1216                             SUPPLIERS OR VENDORS      11/16/2018        $149,020.62
HANESBRANDS
INCORPORATED
UNDERWEAR             21692 NETWORK PLACE                                                           CHICAGO             IL           60673-1216                             SUPPLIERS OR VENDORS      11/16/2018        $173,713.18
HANESBRANDS
INCORPORATED
UNDERWEAR             21692 NETWORK PLACE                                                           CHICAGO             IL           60673-1216                             SUPPLIERS OR VENDORS      11/30/2018           $9,800.00
HANESBRANDS
INCORPORATED
UNDERWEAR             21692 NETWORK PLACE                                                           CHICAGO             IL           60673-1216                             SUPPLIERS OR VENDORS      11/30/2018         $18,012.27
HANESBRANDS
INCORPORATED
UNDERWEAR             21692 NETWORK PLACE                                                           CHICAGO             IL           60673-1216                             SUPPLIERS OR VENDORS      11/30/2018        $148,183.38
HANESBRANDS
INCORPORATED
UNDERWEAR             21692 NETWORK PLACE                                                           CHICAGO             IL           60673-1216                             SUPPLIERS OR VENDORS      11/30/2018        $164,683.26
HANESBRANDS
INCORPORATED
UNDERWEAR             21692 NETWORK PLACE                                                           CHICAGO             IL           60673-1216                             SUPPLIERS OR VENDORS      11/30/2018        $171,660.22
HANGING VALLEY
INVESTMENTS LLC       0                          1700 N WEBSTER COURT                               GREEN BAY           WI           54302                                  SUPPLIERS OR VENDORS      10/27/2018               $1.00
HANGING VALLEY
INVESTMENTS LLC       1700 N WEBSTER COURT                                                          GREEN BAY           WI           54302                                  SUPPLIERS OR VENDORS       11/2/2018         $13,598.75
HANGING VALLEY
INVESTMENTS LLC       1700 N WEBSTER COURT                                                          GREEN BAY           WI           54302                                  SUPPLIERS OR VENDORS       11/7/2018         $42,755.15
HANGING VALLEY
INVESTMENTS LLC       1700 N WEBSTER COURT                                                          GREEN BAY           WI           54302                                  SUPPLIERS OR VENDORS       12/1/2018         $13,598.75
HANGUN PROPERTIES
INCORPORATED          714 LAKE AVENUE PLAZA                                                         DETROIT LAKES       MN           56501                                  SUPPLIERS OR VENDORS      11/15/2018         $13,958.33
HANGUN PROPERTIES
INCORPORATED          714 LAKE AVENUE PLAZA                                                         DETROIT LAKES       MN           56501                                  SUPPLIERS OR VENDORS      12/19/2018         $13,958.33
HANGZHOU BEIBEIJIA    NO 99, ZHUJING BUILDING,                                                                                                                              PURCHASE OF
TECHNOLOGY            JINBEI STREET              LIN'AN DISTRICT                                    HANGZHOU CITY                                 CHINA                     MERCHANDISE               10/22/2018        $160,418.04
HANGZHOU BEIBEIJIA    NO 99, ZHUJING BUILDING,                                                                                                                              PURCHASE OF
TECHNOLOGY            JINBEI STREET              LIN'AN DISTRICT                                    HANGZHOU CITY                                 CHINA                     MERCHANDISE                11/5/2018        $175,320.24
HANGZHOU BEIBEIJIA    NO 99, ZHUJING BUILDING,                                                                                                                              PURCHASE OF
TECHNOLOGY            JINBEI STREET              LIN'AN DISTRICT                                    HANGZHOU CITY                                 CHINA                     MERCHANDISE               11/13/2018         $58,474.80



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                                                                                                                                                                                   Reasons for payment or    Dates of    Total Amount or
      Creditor Name                  Address1                Address2                  Address3                 City              State       Zip              Country                    transfer          Payments           Value
HANGZHOU BEIBEIJIA        NO 99, ZHUJING BUILDING,                                                                                                                               PURCHASE OF
TECHNOLOGY                JINBEI STREET               LIN'AN DISTRICT                                    HANGZHOU CITY                                 CHINA                     MERCHANDISE                11/26/2018         $29,291.64
HANNA GALLITZ             66151 CANYON LANE                                                              WEST BEND           WI           53090                                  SUPPLIERS OR VENDORS        11/9/2018             $10.00
HANNA GORAL               3018 S. WEBSTER AVE                                                            GREEN BAY           WI           54304                                  SUPPLIERS OR VENDORS        12/7/2018             $34.00
HANNAH DORSEY             STORE 687                   SHOPKO EMPLOYEE         202 SW KENT                GREENFIELD          IA           50849                                  SUPPLIERS OR VENDORS        11/8/2018          $1,676.62
HANNAH EISENHAUER         7800 SO 80TH                                                                   LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS       11/29/2018              $2.00
HANNAH MALAN              826 SOUTH 34TH STREET                                                          LINCOLN             NE           68510                                  SUPPLIERS OR VENDORS        11/5/2018             $30.00
HANNAH SCOLLARD           4310 N 11TH                                                                    LINCOLN             NE           68521                                  SUPPLIERS OR VENDORS       11/26/2018             $33.00
HANS HAHN                 867 ACORN RIDGE                                                                WHITEWATER          WI           53190                                  SUPPLIERS OR VENDORS       12/13/2018             $23.88
HANS MILLER               2587 87TH ST.                                                                  EAU CLAIRE          WI           54703                                  SUPPLIERS OR VENDORS       12/17/2018             $10.00
HARLAN GRIFFIN            342 COLUMBIA ST             APT 106                                            OCONTO FALLS        WI           54154                                  SUPPLIERS OR VENDORS       11/26/2018            $341.00
HARLAN THOMPSON           700 MAPLE STREET                                                               EMERSON             NE           68733                                  SUPPLIERS OR VENDORS       10/31/2018             $10.40
HARLEY BOELTER            2430 ARCADIA                                                                   OSHKOSH             WI           54904                                  SUPPLIERS OR VENDORS       11/16/2018             $25.00
HARLEY COTTON             2112 BETSY AVE                                                                 PAPILLION           NE           68133                                  SUPPLIERS OR VENDORS        11/1/2018              $8.10
                          PO BOX 4424 CHURCH STREET
HARMAN INTERNATIONAL      STATION                                                                        NEW YORK            NY           10261-4424                             SUPPLIERS OR VENDORS       11/23/2018         $26,506.64
                          PO BOX 4424 CHURCH STREET
HARMAN INTERNATIONAL      STATION                                                                        NEW YORK            NY           10261-4424                             SUPPLIERS OR VENDORS       11/27/2018         $90,907.56
                          PO BOX 4424 CHURCH STREET
HARMAN INTERNATIONAL      STATION                                                                        NEW YORK            NY           10261-4424                             SUPPLIERS OR VENDORS        12/4/2018         $18,065.43
HAROLD CASPER             117 S EAST BOUNDARY                                                            EXETER              NE           68351                                  SUPPLIERS OR VENDORS       10/31/2018             $11.98

HAROLD DAVIS              S5106 DAMAR PRIVATE DRIVE                                                      EAU CLAIRE          WI           54701                                  SUPPLIERS OR VENDORS       11/28/2018             $10.59
HAROLD HENGHER            2601 E GIRARD PLACE                                                            SPOKANE             WA           99223                                  SUPPLIERS OR VENDORS       10/25/2018            $151.00
HAROLD JACQUES            2774 DANIEL COURT                                                              GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS       12/13/2018              $6.00
HAROLD KREI               E18454 CTY RD D                                                                FALL CREEK          WI           54742                                  SUPPLIERS OR VENDORS       10/24/2018             $42.24
HAROLD KREI               E18454 CTY RD D                                                                FALL CREEK          WI           54742                                  SUPPLIERS OR VENDORS       11/26/2018             $12.23
HAROLD NIEBAUER           1537 LEONARD POINT ROAD                                                        OSHKOSH             WI           54904                                  SUPPLIERS OR VENDORS       11/29/2018             $15.00
HAROLD PAGE               213 VICTORY ST                                                                 FALL CREEK          WI           54742                                  SUPPLIERS OR VENDORS       12/14/2018             $10.56
HAROLD PAULSEN            5329 DONOHOE AVE                                                               EUGENE              OR           97402                                  SUPPLIERS OR VENDORS        11/1/2018             $39.00
HAROLD ROEMEN             1152 APPLE AVE                                                                 LARCHWOOD           IA           51241                                  SUPPLIERS OR VENDORS       10/25/2018             $12.00

HAROLD STREEKSTRA         531 HILL STREET                                                                WISCONSIN RAPIDS WI              54494                                  SUPPLIERS OR VENDORS        11/1/2018             $52.80

HARPER COUNTY TREASURER   201 NORTH JENNINGS AVENUE                                                      ANTHONY             KS           67003-2748                             SUPPLIERS OR VENDORS       12/13/2018          $8,396.82
HARRIET BOHNERT           228 W 28TH ST                                                                  MARSHFIELD          WI           54449                                  SUPPLIERS OR VENDORS        12/7/2018             $23.76
HARRY & DAVID             2500 SOUTH PACIFIC HWY                                                         MEDFORD             OR           97501                                  SUPPLIERS OR VENDORS       10/30/2018         $48,550.61
HARRY & DAVID             2500 SOUTH PACIFIC HWY                                                         MEDFORD             OR           97501                                  SUPPLIERS OR VENDORS        11/2/2018         $31,065.00
HARRY & DAVID             2500 SOUTH PACIFIC HWY                                                         MEDFORD             OR           97501                                  SUPPLIERS OR VENDORS       11/16/2018         $48,268.24
HARRY & DAVID             2500 SOUTH PACIFIC HWY                                                         MEDFORD             OR           97501                                  SUPPLIERS OR VENDORS       11/23/2018         $54,945.04
HARRY HORN                STORE 2-029                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/22/2018          $2,222.38
HART SPECIALTIES          5000 NEW HORIZONS
INCORPORATED              BOULEVARD                   POST OFFICE BOX 9003                               AMITYVILLE          NY           11701-9003                             SUPPLIERS OR VENDORS       10/25/2018             $20.43
HART SPECIALTIES          5000 NEW HORIZONS
INCORPORATED              BOULEVARD                   POST OFFICE BOX 9003                               AMITYVILLE          NY           11701-9003                             SUPPLIERS OR VENDORS        11/1/2018             $14.11
HART SPECIALTIES          5000 NEW HORIZONS
INCORPORATED              BOULEVARD                   POST OFFICE BOX 9003                               AMITYVILLE          NY           11701-9003                             SUPPLIERS OR VENDORS        11/8/2018             $32.58
HART SPECIALTIES          5000 NEW HORIZONS
INCORPORATED              BOULEVARD                   POST OFFICE BOX 9003                               AMITYVILLE          NY           11701-9003                             SUPPLIERS OR VENDORS       11/22/2018             $54.97
HART SPECIALTIES          5000 NEW HORIZONS
INCORPORATED              BOULEVARD                   POST OFFICE BOX 9003                               AMITYVILLE          NY           11701-9003                             SUPPLIERS OR VENDORS       11/29/2018             $27.83
HART SPECIALTIES          5000 NEW HORIZONS
INCORPORATED              BOULEVARD                   POST OFFICE BOX 9003                               AMITYVILLE          NY           11701-9003                             SUPPLIERS OR VENDORS       12/14/2018             $69.13




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                                                                                                                                                                                 Reasons for payment or    Dates of     Total Amount or
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HART SPECIALTIES         5000 NEW HORIZONS
INCORPORATED             BOULEVARD                    POST OFFICE BOX 9003                              AMITYVILLE          NY           11701-9003                             SUPPLIERS OR VENDORS      12/17/2018              $22.83
HART SPECIALTIES         5000 NEW HORIZONS
INCORPORATED             BOULEVARD                    POST OFFICE BOX 9003                              AMITYVILLE          NY           11701-9003                             SUPPLIERS OR VENDORS      12/21/2018              $18.91
HARTCO CONSTRUCTION      725 RIVER PARK PLACE SE                                                        ORONOCO             MN           55960                                  SUPPLIERS OR VENDORS      11/15/2018           $3,781.02
HARTE HANKS INC          PO BOX 679164                                                                  DALLAS              TX           75267-9164                             SUPPLIERS OR VENDORS      10/26/2018          $53,148.44
HARTZ MOUNTAIN           14971 COLLECTIONS CENTER
CORPORATION              DRIVE                                                                          CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      10/18/2018            $9,555.39
HARTZ MOUNTAIN           14971 COLLECTIONS CENTER
CORPORATION              DRIVE                                                                          CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      10/25/2018            $4,502.14
HARTZ MOUNTAIN           14971 COLLECTIONS CENTER
CORPORATION              DRIVE                                                                          CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       11/1/2018          $10,953.25
HARTZ MOUNTAIN           14971 COLLECTIONS CENTER
CORPORATION              DRIVE                                                                          CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       11/8/2018            $9,436.31
HARTZ MOUNTAIN           14971 COLLECTIONS CENTER
CORPORATION              DRIVE                                                                          CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      11/15/2018          $11,282.74
HARTZ MOUNTAIN           14971 COLLECTIONS CENTER
CORPORATION              DRIVE                                                                          CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      11/22/2018            $3,603.73
HARTZ MOUNTAIN           14971 COLLECTIONS CENTER
CORPORATION              DRIVE                                                                          CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      11/29/2018            $4,224.22
HARVEY FLETCHER          747 HWY 261                                                                    DAYTON              WA           99328                                  SUPPLIERS OR VENDORS      11/12/2018                $8.69
HARVEY GRIFF             3403 E, ST. JAMES                                                              HAYDEN              ID           83835                                  SUPPLIERS OR VENDORS       12/7/2018               $76.34
HARVEY SENGSTOCK         1007 SOUTH WEIMAR ST                                                           APPLETON            WI           54915                                  SUPPLIERS OR VENDORS      10/19/2018               $25.00
                         10 WEST 33RD STREET SUITE                                                                                                                              PURCHASE OF
HARVIC INTERNATIONAL LTD 508                                                                            NEW YORK            NY           10001                                  MERCHANDISE                11/9/2018         $158,501.28

HARVIC INTERNATIONAL LTD WELLS FARGO BANK NA          PO BOX 403058                                     ATLANTA             GA           30384-3058                             SUPPLIERS OR VENDORS      11/28/2018         $101,918.25

HARVIC INTERNATIONAL LTD   WELLS FARGO BANK NA        PO BOX 403058                                     ATLANTA             GA           30384-3058                             SUPPLIERS OR VENDORS      11/29/2018            $4,681.80
HASBRO INCORPORATED        PO BOX 281480                                                                ATLANTA             GA           30384-1480                             SUPPLIERS OR VENDORS      10/27/2018        $2,838,346.33
HASBRO INCORPORATED        PO BOX 281480                                                                ATLANTA             GA           30384-1480                             SUPPLIERS OR VENDORS      10/30/2018          $160,513.60
HASBRO INCORPORATED        PO BOX 281480                                                                ATLANTA             GA           30384-1480                             SUPPLIERS OR VENDORS       11/1/2018          $106,042.70
HASBRO INCORPORATED        PO BOX 281480                                                                ATLANTA             GA           30384-1480                             SUPPLIERS OR VENDORS      11/24/2018          $253,918.39
HASSEL MATERIAL
HANDLING                   PO BOX 170228                                                                MILWAUKEE           WI           53217                                  SUPPLIERS OR VENDORS      11/29/2018             $104.87
HASSEL MATERIAL
HANDLING                   PO BOX 170228                                                                MILWAUKEE           WI           53217                                  SUPPLIERS OR VENDORS        1/4/2019             $136.88
HATTIE WILLOUGHBY          STORE OPERATIONS           SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/2/2018             $352.79
HATTIE WILLOUGHBY          STORE OPERATIONS           SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/16/2018             $233.01
HAULAWAY STORAGE
CONTAINERS
INCORPORATED               PO BOX 186                                                                   STANTON             CA           99680-0186                             SUPPLIERS OR VENDORS      10/25/2018              $99.53
HAULAWAY STORAGE
CONTAINERS
INCORPORATED               PO BOX 186                                                                   STANTON             CA           99680-0186                             SUPPLIERS OR VENDORS      11/29/2018              $99.53
HAULAWAY STORAGE
CONTAINERS
INCORPORATED               PO BOX 186                                                                   STANTON             CA           99680-0186                             SUPPLIERS OR VENDORS         1/4/2019             $99.53
                                                      ATTN ACCOUNTS
                           MEDIA PLANNING GROUP USA   RECEIVABLE
HAVAS MEDIA                LLC                        DEPARTMENT             200 HUDSON STREET          NEW YORK            NY           10013                                  SUPPLIERS OR VENDORS       11/1/2018         $444,336.50
                                                      ATTN ACCOUNTS
                           MEDIA PLANNING GROUP USA   RECEIVABLE
HAVAS MEDIA                LLC                        DEPARTMENT             200 HUDSON STREET          NEW YORK            NY           10013                                  SUPPLIERS OR VENDORS      12/14/2018         $301,988.19



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                                                                                                                                                                       Reasons for payment or    Dates of    Total Amount or
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HAYDEN BEVERAGE
COMPANY               2910 E AMITY RD                                                         BOISE               ID           83716                                  SUPPLIERS OR VENDORS      10/26/2018            $232.88
HAYDEN BEVERAGE
COMPANY               2910 E AMITY RD                                                         BOISE               ID           83716                                  SUPPLIERS OR VENDORS      10/30/2018            $361.90
HAYDEN BEVERAGE
COMPANY               2910 E AMITY RD                                                         BOISE               ID           83716                                  SUPPLIERS OR VENDORS       11/2/2018            $246.96
HAYDEN BEVERAGE
COMPANY               2910 E AMITY RD                                                         BOISE               ID           83716                                  SUPPLIERS OR VENDORS       11/6/2018             $81.80
HAYDEN BEVERAGE
COMPANY               2910 E AMITY RD                                                         BOISE               ID           83716                                  SUPPLIERS OR VENDORS       11/9/2018            $491.70
HAYDEN BEVERAGE
COMPANY               2910 E AMITY RD                                                         BOISE               ID           83716                                  SUPPLIERS OR VENDORS      11/13/2018            $150.10
HAYDEN BEVERAGE
COMPANY               2910 E AMITY RD                                                         BOISE               ID           83716                                  SUPPLIERS OR VENDORS      11/16/2018            $607.49
HAYDEN BEVERAGE
COMPANY               2910 E AMITY RD                                                         BOISE               ID           83716                                  SUPPLIERS OR VENDORS      11/23/2018            $585.00
HAYDEN BEVERAGE
COMPANY               2910 E AMITY RD                                                         BOISE               ID           83716                                  SUPPLIERS OR VENDORS       12/4/2018            $166.40
HAYDEN BEVERAGE
COMPANY               2910 E AMITY RD                                                         BOISE               ID           83716                                  SUPPLIERS OR VENDORS      12/20/2018           $2,013.00
HAYDEN BEVERAGE
COMPANY               2910 E AMITY RD                                                         BOISE               ID           83716                                  SUPPLIERS OR VENDORS      12/21/2018             $21.20
HAYDEN BEVERAGE
COMPANY               2910 E AMITY RD                                                         BOISE               ID           83716                                  SUPPLIERS OR VENDORS      12/27/2018            $738.30
HAYDEN DANZA          2044 CUMBERLAND AVENUE                                                  ARKDALE             WI           54613                                  SUPPLIERS OR VENDORS       12/7/2018             $23.00
HAZEL THURK           138 MEADE ST                                                            NEENAH              WI           54956                                  SUPPLIERS OR VENDORS      10/24/2018             $44.16
HCL AMERICA
INCORPORATED          PO BOX 5123                                                             CAROL STREAM        IL           60197-5123                             SUPPLIERS OR VENDORS       11/8/2018        $178,676.94
HCL AMERICA
INCORPORATED          PO BOX 5123                                                             CAROL STREAM        IL           60197-5123                             SUPPLIERS OR VENDORS       11/8/2018        $196,306.50
HCL AMERICA
INCORPORATED          PO BOX 5123                                                             CAROL STREAM        IL           60197-5123                             SUPPLIERS OR VENDORS       12/7/2018        $196,523.38
HCL AMERICA
INCORPORATED          PO BOX 5123                                                             CAROL STREAM        IL           60197-5123                             SUPPLIERS OR VENDORS      12/10/2018        $196,306.50
HCL AMERICA
INCORPORATED          PO BOX 5123                                                             CAROL STREAM        IL           60197-5123                             SUPPLIERS OR VENDORS       1/10/2019        $196,306.50
HCL AMERICA
INCORPORATED          PO BOX 5123                                                             CAROL STREAM        IL           60197-5123                             SUPPLIERS OR VENDORS       1/10/2019        $196,523.38
HCL TECHNOLOGIES
CORPORATE SER         PO BOX 5123                                                             CAROL STREAM        IL           60197-5123                             SUPPLIERS OR VENDORS      10/26/2018               $1.00
HCL TECHNOLOGIES
CORPORATE SER         PO BOX 5123                                                             CAROL STREAM        IL           60197-5123                             SUPPLIERS OR VENDORS      10/26/2018               $1.00
HDS TRADING
CORPORATION           PO BOX 844584                                                           BOSTON              MA           02284-4584                             SUPPLIERS OR VENDORS      10/18/2018            $656.91
HDS TRADING
CORPORATION           PO BOX 844584                                                           BOSTON              MA           02284-4584                             SUPPLIERS OR VENDORS      10/25/2018           $1,900.68
HDS TRADING
CORPORATION           PO BOX 844584                                                           BOSTON              MA           02284-4584                             SUPPLIERS OR VENDORS       11/1/2018           $1,100.25
HDS TRADING
CORPORATION           PO BOX 844584                                                           BOSTON              MA           02284-4584                             SUPPLIERS OR VENDORS       11/8/2018           $1,519.27
HDS TRADING
CORPORATION           PO BOX 844584                                                           BOSTON              MA           02284-4584                             SUPPLIERS OR VENDORS      11/22/2018           $1,390.80
HDS TRADING
CORPORATION           PO BOX 844584                                                           BOSTON              MA           02284-4584                             SUPPLIERS OR VENDORS      11/29/2018           $1,729.69



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HEALING SOLUTIONS LLC     VICE PRESIDENT OF SALES    9363 EAST BAHIA DRIVE                              SCOTTSDALE          AZ           85260                                  SUPPLIERS OR VENDORS       11/1/2018          $64,264.00
HEALTH CARE LOGISTICS
INCORPORATED              PO BOX 400                                                                    CIRCLEVILLE         OH           43113-0400                             SUPPLIERS OR VENDORS      12/17/2018              $69.35
HEALTH PARTNERS INC       REFUND RECOVERY DEPT       PO BOX 1289                                        MINNEAPOLIS         MN           55440                                  SUPPLIERS OR VENDORS      11/12/2018              $57.38
HEALTHNET OF ROCK
COUNTY                    23 W MILWAUKEE ST                                                             JANESVILLE          WI           53548                                  SUPPLIERS OR VENDORS      11/26/2018              $10.00
HEALTHSMART                                          4900 UNIVERSITY AVE
INTERNATIONAL             DBA DMI & BRIGGS           SUITE 200                                          WEST DES MOINES IA               50266                                  SUPPLIERS OR VENDORS      10/18/2018                $7.94
HEALTHSMART                                          4900 UNIVERSITY AVE
INTERNATIONAL             DBA DMI & BRIGGS           SUITE 200                                          WEST DES MOINES IA               50266                                  SUPPLIERS OR VENDORS      10/25/2018              $68.96
HEALTHSMART                                          4900 UNIVERSITY AVE
INTERNATIONAL             DBA DMI & BRIGGS           SUITE 200                                          WEST DES MOINES IA               50266                                  SUPPLIERS OR VENDORS       11/1/2018             $102.26
HEALTHSMART                                          4900 UNIVERSITY AVE
INTERNATIONAL             DBA DMI & BRIGGS           SUITE 200                                          WEST DES MOINES IA               50266                                  SUPPLIERS OR VENDORS      11/15/2018              $44.20
HEALTHSMART                                          4900 UNIVERSITY AVE
INTERNATIONAL             DBA DMI & BRIGGS           SUITE 200                                          WEST DES MOINES IA               50266                                  SUPPLIERS OR VENDORS      11/22/2018                $7.42
                                                     6960 SALASHAN
HEALTHY PET LP            VICE PESIDENT OF SALES     PARKWAY                                            FERNDALE            WA           98248                                  SUPPLIERS OR VENDORS      10/18/2018            $1,853.28
                                                     6960 SALASHAN
HEALTHY PET LP            VICE PESIDENT OF SALES     PARKWAY                                            FERNDALE            WA           98248                                  SUPPLIERS OR VENDORS      11/15/2018            $1,932.70
HEART OF AMERICA
BEVERAGES                 FINTECH                    SHOPKO STORES           PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/22/2018              $31.56
HEART OF AMERICA
BEVERAGES                 FINTECH                    SHOPKO STORES           PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/11/2018              $46.90
HEART OF AMERICA
BEVERAGES                 FINTECH                    SHOPKO STORES           PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/27/2018             $136.40
HEART OF AMERICA
BEVERAGES                 FINTECH                    SHOPKO STORES           PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         1/4/2019             $46.90

HEARTLAND BEVERAGES LLC   1904 S 4TH STREET          PO BOX 96                                          NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS      12/20/2018             $229.90
HEARTLAND BUSINESS        75 REMITTANCE DRIVE DEPT
SYSTEMS                   3286                                                                          CHICAGO             IL           60675-3286                             SUPPLIERS OR VENDORS       11/1/2018          $11,060.62
HEARTLAND BUSINESS        75 REMITTANCE DRIVE DEPT
SYSTEMS                   3286                                                                          CHICAGO             IL           60675-3286                             SUPPLIERS OR VENDORS      11/15/2018             $270.04
HEARTLAND COCA COLA
BOTTLING C                PO BOX 74008600            0                                                  CHICAGO             IL           60674-0001                             SUPPLIERS OR VENDORS       1/10/2019                $1.00
HEARTLAND COCA COLA
BOTTLING CO               PO BOX 74008600                                                               CHICAGO             IL           60674-0001                             SUPPLIERS OR VENDORS      10/18/2018            $4,043.37
HEARTLAND COCA COLA
BOTTLING CO               PO BOX 74008600                                                               CHICAGO             IL           60674-0001                             SUPPLIERS OR VENDORS      10/25/2018            $5,721.44
HEARTLAND COCA COLA
BOTTLING CO               PO BOX 74008600                                                               CHICAGO             IL           60674-0001                             SUPPLIERS OR VENDORS       11/1/2018            $3,872.10
HEARTLAND COCA COLA
BOTTLING CO               PO BOX 74008600                                                               CHICAGO             IL           60674-0001                             SUPPLIERS OR VENDORS       11/8/2018            $8,026.92
HEARTLAND COCA COLA
BOTTLING CO               PO BOX 74008600                                                               CHICAGO             IL           60674-0001                             SUPPLIERS OR VENDORS      11/15/2018            $6,907.58
HEARTLAND COCA COLA
BOTTLING CO               PO BOX 74008600                                                               CHICAGO             IL           60674-0001                             SUPPLIERS OR VENDORS      11/22/2018            $4,279.24
HEARTLAND COCA COLA
BOTTLING CO               PO BOX 74008600                                                               CHICAGO             IL           60674-0001                             SUPPLIERS OR VENDORS      11/29/2018            $5,017.26
HEARTLAND COCA COLA
BOTTLING CO               PO BOX 74008600                                                               CHICAGO             IL           60674-0001                             SUPPLIERS OR VENDORS      12/19/2018            $9,686.62




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                                                                                                                                                                                   Reasons for payment or    Dates of    Total Amount or
      Creditor Name             Address1                      Address2                  Address3                   City            State       Zip              Country                   transfer          Payments           Value
HEARTLAND COCA COLA
BOTTLING CO           PO BOX 74008600                                                                     CHICAGO             IL           60674-0001                             SUPPLIERS OR VENDORS      12/21/2018           $2,489.95
HEARTLAND COCA COLA
BOTTLING CO           PO BOX 74008600                                                                     CHICAGO             IL           60674-0001                             SUPPLIERS OR VENDORS      12/27/2018           $3,023.07
HEATH BURDICK         448 WEST HARDING AVE                                                                STEVENS POINT       WI           54481                                  SUPPLIERS OR VENDORS      10/24/2018             $160.00
HEATHER AKINS         1020 1/2 17TH AVE              APT 2                                                MONROE              WI           53566                                  SUPPLIERS OR VENDORS      12/13/2018              $43.00
HEATHER ARCHULETTA    STORE 771                      SHOPKO EMPLOYEE           117 WEST 1ST AVENUE        PLENTYWOOD          MT           59254                                  SUPPLIERS OR VENDORS      11/16/2018              $97.97
HEATHER BELL          101 TIMBERWOLF CT                                                                   MANKATO             MN           56001                                  SUPPLIERS OR VENDORS      11/26/2018               $3.00
HEATHER BERG          3621 3RD ST NW                                                                      ROCHESTER           MN           55901                                  SUPPLIERS OR VENDORS      10/24/2018               $3.00

HEATHER BRUNNER       N9642 LITTLE ELKHART LAKE RD                                                        ELKHART LAKE        WI           53020                                  SUPPLIERS OR VENDORS      11/29/2018             $20.00
HEATHER DEVOE         627 SPRING STREET                                                                   RIVER FALLS         WI           54022                                  SUPPLIERS OR VENDORS      12/17/2018             $25.00
HEATHER HANCOCK       1658 ERICKSON PARK DRIVE                                                            WEST JORDAN         UT           84084                                  SUPPLIERS OR VENDORS       11/9/2018             $16.00

HEATHER LEMKE         1600 MANCHESTER CROSSING                                                            WAUNAKEE            WI           53597                                  SUPPLIERS OR VENDORS      12/19/2018             $25.00
HEATHER O'NEILL       W6737 KIESLING ROAD                                                                 JEFFERSON           WI           53549                                  SUPPLIERS OR VENDORS      10/29/2018             $88.00
HEATHER RHODES        108 N 90TH AVE                                                                      YAKIMA              WA           98908                                  SUPPLIERS OR VENDORS      11/12/2018             $61.00
HEGGIES PIZZA LLC     1115 6TH AVENUE                PO BOX 250                                           MILACA              MN           56353                                  SUPPLIERS OR VENDORS      10/18/2018            $154.50
HEGGIES PIZZA LLC     1115 6TH AVENUE                PO BOX 250                                           MILACA              MN           56353                                  SUPPLIERS OR VENDORS      10/25/2018            $145.90
HEGGIES PIZZA LLC     1115 6TH AVENUE                PO BOX 250                                           MILACA              MN           56353                                  SUPPLIERS OR VENDORS       11/1/2018            $197.05
HEGGIES PIZZA LLC     1115 6TH AVENUE                PO BOX 250                                           MILACA              MN           56353                                  SUPPLIERS OR VENDORS      11/15/2018            $211.75
HEGGIES PIZZA LLC     1115 6TH AVENUE                PO BOX 250                                           MILACA              MN           56353                                  SUPPLIERS OR VENDORS      11/22/2018            $219.15
HEGGIES PIZZA LLC     1115 6TH AVENUE                PO BOX 250                                           MILACA              MN           56353                                  SUPPLIERS OR VENDORS      11/29/2018            $141.30
HEGGIES PIZZA LLC     1115 6TH AVENUE                PO BOX 250                                           MILACA              MN           56353                                  SUPPLIERS OR VENDORS      12/20/2018            $690.40
HEIDE SALZMAN         N3055 HWY 175                                                                       BYRON               WI           53006                                  SUPPLIERS OR VENDORS      11/29/2018             $75.00
HEIDI ASCHBRENNER     STORE 4-079                    SHOPKO EMPLOYEE                                      GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/1/2018             $45.24
HEIDI ASCHBRENNER     STORE 4-079                    SHOPKO EMPLOYEE                                      GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/8/2018             $45.24
HEIDI BARTA           211 ROBIN LN                                                                        LUXEMBURG           WI           54217                                  SUPPLIERS OR VENDORS      12/13/2018             $25.00
HEIDI DANBROVA        7171 PAUTZ RD                                                                       MARIBEL             WI           54227                                  SUPPLIERS OR VENDORS      11/16/2018             $10.00
HEIDI DOYLE           STORE 2-019                    SHOPKO EMPLOYEE                                      GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/22/2018             $28.34
HEIDI DOYLE           STORE 2-019                    SHOPKO EMPLOYEE                                      GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/13/2018             $56.68
HEIDI HANSON          506 LINN ST                                                                         JANESVILLE          WI           53548                                  SUPPLIERS OR VENDORS      12/13/2018              $2.00
HEIDI LYBARGER        1412 W 9TH ST                                                                       SIOUX FALLS         SD           57104                                  SUPPLIERS OR VENDORS      10/31/2018              $4.00
HEIDI SIVERLING       S 9250 SOUTH RD                                                                     MONDOVI             WI           54755                                  SUPPLIERS OR VENDORS      12/13/2018             $28.00
HEIDI SIVERLING       S 9250 SOUTH RD                                                                     MONDOVI             WI           54755                                  SUPPLIERS OR VENDORS      12/21/2018             $21.25
HELEN BERGE           1416 WILSON ST.                                                                     BLOOMER             WI           54724                                  SUPPLIERS OR VENDORS      11/26/2018             $12.23
HELEN BOLEN           225 N.56                       518                                                  LINCOLN             NE           68504                                  SUPPLIERS OR VENDORS      10/29/2018             $11.98
HELEN EIESLAND        4907 E 41ST ST. #13                                                                 SIOUX FALLS         SD           57110                                  SUPPLIERS OR VENDORS       12/7/2018             $48.00
HELEN EIESLAND        4907 E 41ST ST. #13                                                                 SIOUX FALLS         SD           57110                                  SUPPLIERS OR VENDORS      12/10/2018             $12.00
HELEN GRUNDMANN       3901 N 7TH ST.                                                                      LINCOLN             NE           68521                                  SUPPLIERS OR VENDORS      11/26/2018             $11.98
HELEN GRUNDMANN       3901 N 7TH ST.                                                                      LINCOLN             NE           68521                                  SUPPLIERS OR VENDORS      11/26/2018             $47.94
HELEN MUELLER         3650 OLIVE AVE                                                                      MANLY               IA           50456                                  SUPPLIERS OR VENDORS       11/5/2018             $12.00
HELEN MUELLER         3650 OLIVE AVE                                                                      MANLY               IA           50456                                  SUPPLIERS OR VENDORS       11/5/2018             $48.00
HELEN OF TROY
CORPORATION           PO BOX 849113                                                                       DALLAS              TX           75284-9113                             SUPPLIERS OR VENDORS      10/25/2018            $992.14
HELEN OF TROY
CORPORATION           PO BOX 849113                                                                       DALLAS              TX           75284-9113                             SUPPLIERS OR VENDORS       11/1/2018           $2,126.98
HELEN OF TROY
CORPORATION           PO BOX 849113                                                                       DALLAS              TX           75284-9113                             SUPPLIERS OR VENDORS       11/8/2018           $1,653.06
HELEN OF TROY
CORPORATION           PO BOX 849113                                                                       DALLAS              TX           75284-9113                             SUPPLIERS OR VENDORS      11/15/2018           $1,054.03
HELEN OF TROY
CORPORATION           PO BOX 849113                                                                       DALLAS              TX           75284-9113                             SUPPLIERS OR VENDORS      11/22/2018         $16,862.21




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HELEN OF TROY
CORPORATION           PO BOX 849113                                                                DALLAS              TX           75284-9113                             SUPPLIERS OR VENDORS      11/29/2018           $5,343.90
HELEN OWENS           STORE 672                  SHOPKO EMPLOYEE        404 E HIGHWAY 20           ONEILL              NE           68763                                  SUPPLIERS OR VENDORS       11/1/2018              $46.87
HELEN PLUNGER         P.O. BOX 234                                                                 HERMANSVILLE        MI           49847                                  SUPPLIERS OR VENDORS      11/26/2018               $9.76

HELEN STREEKSTRA      531 HILL                                                                     WISCONSIN RAPIDS WI              54494                                  SUPPLIERS OR VENDORS      11/16/2018             $42.24

HELEN STREEKSTRA      531 HILL                                                                     WISCONSIN RAPIDS WI              54494                                  SUPPLIERS OR VENDORS      11/26/2018             $10.56
HELENE WILLIAMS       3033 X ST                                                                    OMAHA            NE              68107                                  SUPPLIERS OR VENDORS       12/7/2018             $45.00
HELENE WINKLER        1395 WESTERN AVENUE                                                          GREEN BAY        WI              54303                                  SUPPLIERS OR VENDORS      10/22/2018             $25.00
HENDRICKS BEVERAGE
INCORPORATED          4402 CUSTER                                                                  MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS      10/18/2018             $88.55
HENDRICKS BEVERAGE
INCORPORATED          4402 CUSTER                                                                  MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS      10/25/2018             $69.19
HENDRICKS BEVERAGE
INCORPORATED          4402 CUSTER                                                                  MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS       11/1/2018             $68.99
HENDRICKS BEVERAGE
INCORPORATED          4402 CUSTER                                                                  MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS      11/15/2018             $78.55
HENDRICKS BEVERAGE
INCORPORATED          4402 CUSTER                                                                  MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS      11/29/2018             $75.95
HENDRICKS BEVERAGE
INCORPORATED          4402 CUSTER                                                                  MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS      12/20/2018            $336.08
                      5320 COLLECTION CENTER
HENKEL COMPANY        DRIVE                                                                        CHICAGO             IL           60693-5320                             SUPPLIERS OR VENDORS      10/23/2018         $10,234.07
                      5320 COLLECTION CENTER
HENKEL COMPANY        DRIVE                                                                        CHICAGO             IL           60693-5320                             SUPPLIERS OR VENDORS      10/25/2018         $10,484.55
                      5320 COLLECTION CENTER
HENKEL COMPANY        DRIVE                                                                        CHICAGO             IL           60693-5320                             SUPPLIERS OR VENDORS      10/30/2018         $15,623.36
                      5320 COLLECTION CENTER
HENKEL COMPANY        DRIVE                                                                        CHICAGO             IL           60693-5320                             SUPPLIERS OR VENDORS       11/1/2018           $5,598.45
                      5320 COLLECTION CENTER
HENKEL COMPANY        DRIVE                                                                        CHICAGO             IL           60693-5320                             SUPPLIERS OR VENDORS       11/8/2018         $28,276.29
                      5320 COLLECTION CENTER
HENKEL COMPANY        DRIVE                                                                        CHICAGO             IL           60693-5320                             SUPPLIERS OR VENDORS      11/27/2018         $66,487.37
                      5320 COLLECTION CENTER
HENKEL COMPANY        DRIVE                                                                        CHICAGO             IL           60693-5320                             SUPPLIERS OR VENDORS      11/29/2018           $8,222.36
                      5320 COLLECTION CENTER
HENKEL COMPANY        DRIVE                                                                        CHICAGO             IL           60693-5320                             SUPPLIERS OR VENDORS       12/4/2018           $4,170.49
                      5320 COLLECTION CENTER
HENKEL COMPANY        DRIVE                                                                        CHICAGO             IL           60693-5320                             SUPPLIERS OR VENDORS       12/6/2018            $278.23
HENNING GROUP
INCORPORATED          C/O TOM HENNING            20109 OLD RANCH LOOP                              NATHROP             CO           81236                                  SUPPLIERS OR VENDORS      11/15/2018         $10,780.00
HENNING GROUP
INCORPORATED          C/O TOM HENNING            20109 OLD RANCH LOOP                              NATHROP             CO           81236                                  SUPPLIERS OR VENDORS      12/19/2018         $10,780.00
HENRY HOLZMAN         N4650 HIGHWAY 175                                                            FOND DU LAC         WI           54937                                  SUPPLIERS OR VENDORS      11/12/2018              $3.00
HENRY MAGNUS          PO BOX 207                                                                   FULDA               MN           56131                                  SUPPLIERS OR VENDORS       12/3/2018             $28.30
HENRY NEERDAELS       1383 FAIR RD                                                                 GREENLEAF           WI           54126                                  SUPPLIERS OR VENDORS      10/22/2018             $80.00
HENRY VANESS          1304 19TH ST                                                                 TWO RIVERS          WI           54241                                  SUPPLIERS OR VENDORS      11/26/2018             $44.16
HENRY VANESS          1304 19TH ST                                                                 TWO RIVERS          WI           54241                                  SUPPLIERS OR VENDORS      11/28/2018             $11.04
HERB FORKEL           1527 S MERTON                                                                ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       12/7/2018             $48.64
HERBERT FUNK          6678 RIVER SPRINGS DR. S                                                     SALEM               OR           97306                                  SUPPLIERS OR VENDORS       12/3/2018             $40.56
HERBERT MUELLING      15 HARVEST WAY                                                               MADISON             WI           53711                                  SUPPLIERS OR VENDORS      11/26/2018              $3.83
HERC U LIFT           PO BOX 69                                                                    MAPLE PLAIN         MN           55359-0069                             SUPPLIERS OR VENDORS      11/15/2018          $1,246.29
HERC U LIFT           PO BOX 69                                                                    MAPLE PLAIN         MN           55359-0069                             SUPPLIERS OR VENDORS      11/29/2018          $1,101.86



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HERC U LIFT               PO BOX 69                                                                       MAPLE PLAIN         MN           55359-0069                             SUPPLIERS OR VENDORS          1/4/2019               $10.59

HERIBERTO LOPEZ ALMEIDA   242 PARK ST                                                                     EMMONS              MN           56029                                  SUPPLIERS OR VENDORS       10/31/2018              $254.82
HERITAGE INVESTMENT
PROPERTIES LC             8021 54TH STREET NW                                                             GIG HARBOR          WA           98335                                  SUPPLIERS OR VENDORS       11/10/2018            $6,968.13
HERITAGE INVESTMENT
PROPERTIES LC             8021 54TH STREET NW                                                             GIG HARBOR          WA           98335                                  SUPPLIERS OR VENDORS        12/8/2018            $6,968.13
HERITAGE PROFESSIONAL
LANDSCAPING INC           PO BOX 7225                                                                     KENNEWICK           WA           99336-0616                             SUPPLIERS OR VENDORS        11/1/2018              $325.80
HERITAGE PROFESSIONAL
LANDSCAPING INC           PO BOX 7225                                                                     KENNEWICK           WA           99336-0616                             SUPPLIERS OR VENDORS       12/17/2018              $401.82

HERMAN DEISENROTH         1031 ANDERSON DR, APT B111                                                      GREEN BAY           WI           54304                                  SUPPLIERS OR VENDORS       10/29/2018               $30.00
HERMAN RAATZ              1026 GRAND STREET                                                               OSHKOSH             WI           54901                                  SUPPLIERS OR VENDORS       11/26/2018               $25.00

HERNANDEZ ROOFING LLC     117 W MELVINA STREET                                                            MILWAUKEE           WI           53212                                  SUPPLIERS OR VENDORS       11/29/2018           $21,660.00

HERNANDEZ ROOFING LLC     0                            117 W MELVINA STREET                               MILWAUKEE           WI           53212                                  SUPPLIERS OR VENDORS       11/30/2018                $1.00
HERR FOODS
INCORPORATED              VICE PRESIDENT OF SALES      RTE 272 & 131                                      NOTTINGHAM          PA           19362                                  SUPPLIERS OR VENDORS       10/25/2018            $5,194.00
HERR FOODS
INCORPORATED              VICE PRESIDENT OF SALES      RTE 272 & 131                                      NOTTINGHAM          PA           19362                                  SUPPLIERS OR VENDORS        11/1/2018            $3,494.40
HERR FOODS
INCORPORATED              VICE PRESIDENT OF SALES      RTE 272 & 131                                      NOTTINGHAM          PA           19362                                  SUPPLIERS OR VENDORS        11/8/2018            $3,630.62
HERSHEY CHOCOLATE
COMPANY                   PO BOX 848520                                                                   DALLAS              TX           75284-8520                             SUPPLIERS OR VENDORS       10/19/2018              $588.42
HERSHEY CHOCOLATE
COMPANY                   PO BOX 848520                                                                   DALLAS              TX           75284-8520                             SUPPLIERS OR VENDORS       10/23/2018            $5,968.32
HERSHEY CHOCOLATE
COMPANY                   PO BOX 848520                                                                   DALLAS              TX           75284-8520                             SUPPLIERS OR VENDORS       10/26/2018           $54,419.11
HERSHEY CHOCOLATE
COMPANY                   PO BOX 848520                                                                   DALLAS              TX           75284-8520                             SUPPLIERS OR VENDORS       10/27/2018           $13,947.69
HERSHEY CHOCOLATE
COMPANY                   PO BOX 848520                                                                   DALLAS              TX           75284-8520                             SUPPLIERS OR VENDORS       10/30/2018           $52,502.10
HERSHEY CHOCOLATE
COMPANY                   PO BOX 848520                                                                   DALLAS              TX           75284-8520                             SUPPLIERS OR VENDORS       10/31/2018          $136,112.75
HERSHEY CHOCOLATE
COMPANY                   PO BOX 848520                                                                   DALLAS              TX           75284-8520                             SUPPLIERS OR VENDORS        11/3/2018           $32,988.72
HERSHEY CHOCOLATE
COMPANY                   PO BOX 848520                                                                   DALLAS              TX           75284-8520                             SUPPLIERS OR VENDORS        11/7/2018          $108,588.49
HERSHEY CHOCOLATE
COMPANY                   PO BOX 848520                                                                   DALLAS              TX           75284-8520                             SUPPLIERS OR VENDORS        11/8/2018           $94,743.03
HERSHEY CHOCOLATE
COMPANY                   PO BOX 848520                                                                   DALLAS              TX           75284-8520                             SUPPLIERS OR VENDORS        11/9/2018           $43,015.14
HERSHEY CHOCOLATE
COMPANY                   PO BOX 848520                                                                   DALLAS              TX           75284-8520                             SUPPLIERS OR VENDORS       11/13/2018           $75,425.16
HERSHEY CHOCOLATE
COMPANY                   PO BOX 848520                                                                   DALLAS              TX           75284-8520                             SUPPLIERS OR VENDORS       11/27/2018          $107,351.21
HERSHEY CHOCOLATE
COMPANY                   PO BOX 848520                                                                   DALLAS              TX           75284-8520                             SUPPLIERS OR VENDORS       11/28/2018           $68,350.53
HERSHEY CHOCOLATE
COMPANY                   PO BOX 848520                                                                   DALLAS              TX           75284-8520                             SUPPLIERS OR VENDORS       11/29/2018          $387,139.58
HERSHEY CHOCOLATE
COMPANY                   PO BOX 848520                                                                   DALLAS              TX           75284-8520                             SUPPLIERS OR VENDORS       11/30/2018          $165,703.69



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HERSHEY CHOCOLATE
COMPANY                     PO BOX 848520                                                                  DALLAS              TX           75284-8520                             SUPPLIERS OR VENDORS       12/1/2018         $85,703.25
HERSHEY CHOCOLATE
COMPANY                     PO BOX 848520                                                                  DALLAS              TX           75284-8520                             SUPPLIERS OR VENDORS       12/4/2018        $245,563.91
HERSHEY CHOCOLATE
COMPANY                     PO BOX 848520                                                                  DALLAS              TX           75284-8520                             SUPPLIERS OR VENDORS      12/19/2018        $563,686.77
HERSHEY CHOCOLATE
COMPANY                     PO BOX 848520                                                                  DALLAS              TX           75284-8520                             SUPPLIERS OR VENDORS      12/28/2018         $13,301.23
HEYRMAN & GREEN BAY
BLUE                        2083 HOLMGREN WAY                                                              GREEN BAY           WI           54304                                  SUPPLIERS OR VENDORS      10/19/2018            $713.45
HEYRMAN & GREEN BAY
BLUE                        2083 HOLMGREN WAY                                                              GREEN BAY           WI           54304                                  SUPPLIERS OR VENDORS      10/26/2018            $387.41
HEYRMAN & GREEN BAY
BLUE                        2083 HOLMGREN WAY                                                              GREEN BAY           WI           54304                                  SUPPLIERS OR VENDORS       11/9/2018            $369.51
HEYRMAN & GREEN BAY
BLUE                        2083 HOLMGREN WAY                                                              GREEN BAY           WI           54304                                  SUPPLIERS OR VENDORS      11/16/2018           $1,382.80
HEYRMAN & GREEN BAY
BLUE                        2083 HOLMGREN WAY                                                              GREEN BAY           WI           54304                                  SUPPLIERS OR VENDORS      11/30/2018            $168.02
HEYRMAN & GREEN BAY
BLUE                        2083 HOLMGREN WAY                                                              GREEN BAY           WI           54304                                  SUPPLIERS OR VENDORS      12/19/2018           $2,338.72
HICKORY BRANDS
INCORPORATED                SHOPKO STORES               PO BOX 19060             DISC 12/05/13             GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/2/2018            $187.55
HIGH COUNTRY LINEN
SUPPLY INCOPORATED          121 1ST AVENUE E                                                               KALISPELL           MT           59901                                  SUPPLIERS OR VENDORS      10/26/2018            $180.60
HIGH COUNTRY LINEN
SUPPLY INCOPORATED          121 1ST AVENUE E                                                               KALISPELL           MT           59901                                  SUPPLIERS OR VENDORS      11/16/2018            $190.75
HIGH RIDGE BRANDS
COMPANY                     SOUTH TOWER 2ND FLOOR       333 LUDLOW STREET                                  STAMFORD            CT           06902                                  SUPPLIERS OR VENDORS      10/19/2018           $5,659.51
HIGH RIDGE BRANDS
COMPANY                     SOUTH TOWER 2ND FLOOR       333 LUDLOW STREET                                  STAMFORD            CT           06902                                  SUPPLIERS OR VENDORS       11/2/2018            $659.08
HIGH RIDGE BRANDS
COMPANY                     SOUTH TOWER 2ND FLOOR       333 LUDLOW STREET                                  STAMFORD            CT           06902                                  SUPPLIERS OR VENDORS       11/9/2018         $11,128.86
HIGH RIDGE BRANDS
COMPANY                     SOUTH TOWER 2ND FLOOR       333 LUDLOW STREET                                  STAMFORD            CT           06902                                  SUPPLIERS OR VENDORS      11/16/2018           $4,046.60
HIGH RIDGE BRANDS
COMPANY                     SOUTH TOWER 2ND FLOOR       333 LUDLOW STREET                                  STAMFORD            CT           06902                                  SUPPLIERS OR VENDORS      11/30/2018           $2,277.93
HIGHDEF CLEANING
SERVICES                    JARED NEWELL                319 E MAPLE                                        HILL CITY           KS           67642                                  SUPPLIERS OR VENDORS      10/18/2018             $20.00
HIGHDEF CLEANING
SERVICES                    JARED NEWELL                319 E MAPLE                                        HILL CITY           KS           67642                                  SUPPLIERS OR VENDORS      11/15/2018             $20.00

HIGHLAND MINT               BULLION INTERNATIONAL INC   4100 N RIVERSIDE DRIVE                             MELBOURNE           FL           32937                                  SUPPLIERS OR VENDORS      11/22/2018          $2,016.00
HIGI SH LLC                 PO BOX 775177                                                                  CHICAGO             IL           60677-5177                             SUPPLIERS OR VENDORS       11/1/2018         $34,565.09
HIGI SH LLC                 PO BOX 775177                                                                  CHICAGO             IL           60677-5177                             SUPPLIERS OR VENDORS      11/29/2018         $33,119.78
HILARIO PEREZ               3929 53RD STREET                                                               KENOSHA             WI           53140                                  SUPPLIERS OR VENDORS      11/26/2018             $21.60
HILARY GRABER               30 S. HENRY ST                                                                 MADISON             WI           53703                                  SUPPLIERS OR VENDORS      10/22/2018             $63.00

HILCO FIXTURE FINDERS LLC   5 REVERE DRIVE              SUITE 206                                          NORTHBROOK          IL           60062                                  SUPPLIERS OR VENDORS       11/8/2018             $19.00
HILCO THE HILSINGER
COMPANY                     PO BOX 644498                                                                  PITTSBURGH          PA           15264-4498                             SUPPLIERS OR VENDORS      10/18/2018         $13,619.67
HILCO THE HILSINGER
COMPANY                     PO BOX 644498                                                                  PITTSBURGH          PA           15264-4498                             SUPPLIERS OR VENDORS      10/18/2018         $23,880.60
HILCO THE HILSINGER
COMPANY                     PO BOX 644498                                                                  PITTSBURGH          PA           15264-4498                             SUPPLIERS OR VENDORS      10/25/2018           $1,271.87



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                                                                                                                                                                                    Reasons for payment or    Dates of    Total Amount or
       Creditor Name                  Address1                 Address2                  Address3                   City            State       Zip              Country                   transfer          Payments           Value
HILCO THE HILSINGER
COMPANY                     PO BOX 644498                                                                  PITTSBURGH          PA           15264-4498                             SUPPLIERS OR VENDORS      10/25/2018           $9,141.27
HILCO THE HILSINGER
COMPANY                     PO BOX 644498                                                                  PITTSBURGH          PA           15264-4498                             SUPPLIERS OR VENDORS       11/1/2018           $4,846.00
HILCO THE HILSINGER
COMPANY                     PO BOX 644498                                                                  PITTSBURGH          PA           15264-4498                             SUPPLIERS OR VENDORS       11/1/2018           $4,933.78
HILCO THE HILSINGER
COMPANY                     PO BOX 644498                                                                  PITTSBURGH          PA           15264-4498                             SUPPLIERS OR VENDORS       11/8/2018           $1,071.28
HILCO THE HILSINGER
COMPANY                     PO BOX 644498                                                                  PITTSBURGH          PA           15264-4498                             SUPPLIERS OR VENDORS       11/8/2018         $14,251.32
HILCO THE HILSINGER
COMPANY                     PO BOX 644498                                                                  PITTSBURGH          PA           15264-4498                             SUPPLIERS OR VENDORS      11/15/2018           $3,646.42
HILCO THE HILSINGER
COMPANY                     PO BOX 644498                                                                  PITTSBURGH          PA           15264-4498                             SUPPLIERS OR VENDORS      11/15/2018         $11,918.50
HILCO THE HILSINGER
COMPANY                     PO BOX 644498                                                                  PITTSBURGH          PA           15264-4498                             SUPPLIERS OR VENDORS      11/22/2018         $17,344.70
HILCO THE HILSINGER
COMPANY                     PO BOX 644498                                                                  PITTSBURGH          PA           15264-4498                             SUPPLIERS OR VENDORS      11/29/2018           $7,293.94
HILCO THE HILSINGER
COMPANY                     PO BOX 644498                                                                  PITTSBURGH          PA           15264-4498                             SUPPLIERS OR VENDORS      11/29/2018         $10,434.14
HILCO THE HILSINGER
COMPANY                     PO BOX 644498                                                                  PITTSBURGH          PA           15264-4498                             SUPPLIERS OR VENDORS      12/12/2018         $17,097.97
HILCO THE HILSINGER
COMPANY                     PO BOX 644498                                                                  PITTSBURGH          PA           15264-4498                             SUPPLIERS OR VENDORS      12/18/2018         $15,614.87
HILCO THE HILSINGER
COMPANY                     PO BOX 644498                                                                  PITTSBURGH          PA           15264-4498                             SUPPLIERS OR VENDORS      12/18/2018         $26,309.99
HILCO THE HILSINGER
COMPANY                     PO BOX 644498                                                                  PITTSBURGH          PA           15264-4498                             SUPPLIERS OR VENDORS      12/21/2018            $331.67
HILCO THE HILSINGER
COMPANY                     PO BOX 644498                                                                  PITTSBURGH          PA           15264-4498                             SUPPLIERS OR VENDORS      12/27/2018            $584.90
HILCO THE HILSINGER
COMPANY                     PO BOX 644498                                                                  PITTSBURGH          PA           15264-4498                             SUPPLIERS OR VENDORS      12/27/2018           $7,925.78
HILD PROPANE COMPANY
INCORPORATED                1118 N JEFFERS                                                                 NORTH PLATTE        NE           69101                                  SUPPLIERS OR VENDORS      11/15/2018             $28.00
HILDA CALLAWAY              603 3RD AVE S                                                                  CLEAR LAKE          SD           57226                                  SUPPLIERS OR VENDORS      11/26/2018             $20.00
HILLARY GENTRY              STORE 088                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/18/2018            $200.83
HILLARY GENTRY              STORE 088                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/29/2018            $365.15
HILLERS TRUE VALUE & JUST
ASK RENTAL                  PO BOX 491                                                                     MARSHFIELD          WI           54449                                  SUPPLIERS OR VENDORS      12/17/2018             $53.45
HILLYARD HUTCHINSON         PO BOX 843775                                                                  KANSAS CITY         MO           64184-3775                             SUPPLIERS OR VENDORS      11/27/2018            $240.79
HINKY DINKY
SUPERMARKETS                                             1523 MOMENTUM
INCORPORATED                ATTN CASHIER - REAL ESTATE   PLACE                                             CHICAGO             IL           60689-1523                             SUPPLIERS OR VENDORS       11/1/2018         $10,452.50
HINKY DINKY
SUPERMARKETS                                             1523 MOMENTUM
INCORPORATED                ATTN CASHIER - REAL ESTATE   PLACE                                             CHICAGO             IL           60689-1523                             SUPPLIERS OR VENDORS       12/3/2018         $10,452.50
HMS MANUFACTURING
COMPANY                     1230 E BIG BEAVER ROAD                                                         TROY                MI           48083-0000                             SUPPLIERS OR VENDORS      10/18/2018         $26,357.40
HMS MANUFACTURING
COMPANY                     1230 E BIG BEAVER ROAD                                                         TROY                MI           48083-0000                             SUPPLIERS OR VENDORS      10/25/2018         $11,684.90
HMS MANUFACTURING
COMPANY                     1230 E BIG BEAVER ROAD                                                         TROY                MI           48083-0000                             SUPPLIERS OR VENDORS       11/1/2018           $9,874.70
HMS MANUFACTURING
COMPANY                     1230 E BIG BEAVER ROAD                                                         TROY                MI           48083-0000                             SUPPLIERS OR VENDORS       11/8/2018         $12,414.48



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HMS MANUFACTURING
COMPANY                 1230 E BIG BEAVER ROAD                                                         TROY                MI           48083-0000                             SUPPLIERS OR VENDORS      11/15/2018         $22,863.50
HMS MANUFACTURING
COMPANY                 1230 E BIG BEAVER ROAD                                                         TROY                MI           48083-0000                             SUPPLIERS OR VENDORS      11/22/2018         $33,558.80
HMS MANUFACTURING
COMPANY                 1230 E BIG BEAVER ROAD                                                         TROY                MI           48083-0000                             SUPPLIERS OR VENDORS      11/29/2018         $27,864.60
HNW INDUSTRY INC DBA
FLYP SPORTSWEAR         1384 BROADWAY STE 10 SOUTH                                                     NEW YORK            NY           10018-0000                             SUPPLIERS OR VENDORS      10/25/2018         $81,068.31
HNW INDUSTRY INC DBA
FLYP SPORTSWEAR         1384 BROADWAY STE 10 SOUTH                                                     NEW YORK            NY           10018-0000                             SUPPLIERS OR VENDORS       11/1/2018        $293,624.40
HNW INDUSTRY INC DBA
FLYP SPORTSWEAR         1384 BROADWAY STE 10 SOUTH                                                     NEW YORK            NY           10018-0000                             SUPPLIERS OR VENDORS       11/8/2018        $242,322.75
HNW INDUSTRY INC DBA
FLYP SPORTSWEAR         1384 BROADWAY STE 10 SOUTH                                                     NEW YORK            NY           10018-0000                             SUPPLIERS OR VENDORS      11/15/2018         $50,014.80
HNW INDUSTRY INC DBA
FLYP SPORTSWEAR         1384 BROADWAY STE 10 SOUTH                                                     NEW YORK            NY           10018-0000                             SUPPLIERS OR VENDORS      11/22/2018         $18,017.10
HNW INDUSTRY INC DBA
FLYP SPORTSWEAR         1384 BROADWAY STE 10 SOUTH                                                     NEW YORK            NY           10018-0000                             SUPPLIERS OR VENDORS      11/29/2018        $279,071.80
HOBBY LAWN CARE         GREGORY LICHT              301 W JUNIPER ROAD                                  BEATRICE            NE           68310                                  SUPPLIERS OR VENDORS      11/29/2018            $312.00
HODGENVILLE CITY TAX
COLLECTOR               208 N LINCOLN BLVD           PO BOX 189                                        HODGENVILLE         KY           42748                                  SUPPLIERS OR VENDORS       11/7/2018            $136.22

HOGUE LUMBER COMPANY
INCORPORATED            107 E CLAY STREET                                                              ALBANY              MO           64402                                  SUPPLIERS OR VENDORS        1/4/2019             $20.00
HOHN CRYSTAL            PO BOX 134                                                                     CEDARRAPIDS         NE           68627                                  SUPPLIERS OR VENDORS      11/29/2018             $35.50
                        6501 CONGRESS AVENUE SUITE                                                                                                                             PURCHASE OF
HOLANDER SLEEP PRODUCTS 300                                                                            BOCA RATON          FL           33487-2746                             MERCHANDISE               12/17/2018        $265,956.11
HOLDEN MCCOMBS          700 OAKHILL LANE                                                               FORT ATKINSON       WI           53538                                  SUPPLIERS OR VENDORS      11/28/2018             $10.00
HOLLAND BEAUTY FLOWER
& BULB CORP             8480 N 87TH STREET                                                             MILWAUKEE           WI           53224-0000                             SUPPLIERS OR VENDORS      11/15/2018         $15,243.82
HOLLAND BEAUTY FLOWER
& BULB CORP             8480 N 87TH STREET                                                             MILWAUKEE           WI           53224-0000                             SUPPLIERS OR VENDORS      11/22/2018         $31,230.83
HOLLANDER HOME
FASHIONS LLC            ATTN A/R                     LOCKBOX 2752           PO BOX 8500                PHILADELPHIA        PA           19178-2752                             SUPPLIERS OR VENDORS      10/19/2018         $15,770.83
HOLLANDER HOME
FASHIONS LLC            ATTN A/R                     LOCKBOX 2752           PO BOX 8500                PHILADELPHIA        PA           19178-2752                             SUPPLIERS OR VENDORS      10/26/2018           $8,905.03
HOLLANDER HOME
FASHIONS LLC            ATTN A/R                     LOCKBOX 2752           PO BOX 8500                PHILADELPHIA        PA           19178-2752                             SUPPLIERS OR VENDORS       11/2/2018         $75,253.72
HOLLANDER HOME
FASHIONS LLC            ATTN A/R                     LOCKBOX 2752           PO BOX 8500                PHILADELPHIA        PA           19178-2752                             SUPPLIERS OR VENDORS      11/16/2018         $28,370.65
HOLLANDER HOME
FASHIONS LLC            ATTN A/R                     LOCKBOX 2752           PO BOX 8500                PHILADELPHIA        PA           19178-2752                             SUPPLIERS OR VENDORS      11/30/2018        $128,938.19
HOLLI LACROSSE          4550 BAYBERRY 16.65                                                            ESCANABA            MI           49829                                  SUPPLIERS OR VENDORS      10/24/2018             $26.00
HOLLI LACROSSE          4550 BAYBERRY 16.65                                                            ESCANABA            MI           49829                                  SUPPLIERS OR VENDORS      11/14/2018             $20.00
HOLLIE DOYLE            STORE 4-019                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       1/15/2019            $197.20
HOLLIE GERMANN          N4259 COUNTY RD E                                                              BRODHEAD            WI           53520                                  SUPPLIERS OR VENDORS       11/5/2018             $43.00
                        302 GRAND CANYON DRIVE
HOLLIE JOHNSON          #101                                                                           MADISON             WI           53705                                  SUPPLIERS OR VENDORS      10/29/2018             $25.00
HOLLIS LOEGERING        582 4TH AVE SE                                                                 WELLS               MN           56097                                  SUPPLIERS OR VENDORS      10/31/2018             $15.00
HOLLOWAY HOUSE
INCORPORATED            PO BOX 158                                                                     FORTVILLE           IN           46040                                  SUPPLIERS OR VENDORS      10/19/2018           $1,680.43
HOLLOWAY HOUSE
INCORPORATED            PO BOX 158                                                                     FORTVILLE           IN           46040                                  SUPPLIERS OR VENDORS       11/9/2018           $2,182.56




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HOLLOWAY HOUSE
INCORPORATED          PO BOX 158                                                                    FORTVILLE           IN           46040                                  SUPPLIERS OR VENDORS      11/16/2018           $2,334.42
HOLLY BURRICHTER      235 RAILROAD AVE SW                                                           NEW ALBIN           IA           52160                                  SUPPLIERS OR VENDORS       11/1/2018             $114.96
HOLLY EDWARDS         202 N BOULVARD RD                                                             SPOKANE             WA           99216                                  SUPPLIERS OR VENDORS       11/9/2018              $32.00
HOLLY HOBBS           33 N. 46TH AVE.                                                               WESTRICHLAND        WA           99353                                  SUPPLIERS OR VENDORS      11/13/2018              $25.00
HOLLY HOLZEM          7604 SUMMERFIELD STREET                                                       SCHOFIELD           WI           54476                                  SUPPLIERS OR VENDORS       11/5/2018              $18.21
                                                                         1011 N WISCONSIN           PORT
HOLLY KARRELS         STORE 503                   SHOPKO EMPLOYEE        STREET                     WASHINGTON          WI           53074-1207                             SUPPLIERS OR VENDORS       11/8/2018             $27.34
                                                                         1011 N WISCONSIN           PORT
HOLLY KARRELS         STORE 503                   SHOPKO EMPLOYEE        STREET                     WASHINGTON          WI           53074-1207                             SUPPLIERS OR VENDORS      12/20/2018             $29.43
HOLLY MITCHELL        1980D PIKA TRAIL                                                              RIVER FALLS         WI           54022                                  SUPPLIERS OR VENDORS      11/26/2018             $25.00
HOLLY PETERSEN        7551 W. DUBLIN                                                                FREEPORT            IL           61032                                  SUPPLIERS OR VENDORS       12/3/2018             $21.98
HOLLY PLAZA LLC       2055 DRISCOLL DR                                                              RENO                NV           89509                                  SUPPLIERS OR VENDORS       11/1/2018         $26,657.27
HOLLY PLAZA LLC       2055 DRISCOLL DR                                                              RENO                NV           89509                                  SUPPLIERS OR VENDORS       12/1/2018         $26,657.27
HOLLY ROLAND          161 MARCELLA ST                                                               OCONOMOWOC          WI           53066                                  SUPPLIERS OR VENDORS      11/26/2018             $30.00
                                                                         2655 WEST CHICAGO
HOLLY SHELHART        STORE 648                   SHOPKO EMPLOYEE        BLVD                       TECUMSEH            MI           49286                                  SUPPLIERS OR VENDORS      10/26/2018            $213.79
HOLLY SMITH           STORE 4-014                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/13/2018             $16.35
HOLLY ULRICH          STORE 2-739                 SHOPKO EMPLOYEE        PO BOX 69                  GLENWOOD            MN           56334                                  SUPPLIERS OR VENDORS      11/29/2018            $312.92
HOLLY WALTERS         STORE 4-066                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/13/2018            $110.00
HOLLY ZAHASKY         STORE 036                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/20/2018            $149.44
HOME DEPOT CREDIT
SERVICES              PO BOX 9001043                                                                LOUISVILLE          KY           40290-1043                             SUPPLIERS OR VENDORS      10/22/2018            $535.94
HOME DEPOT CREDIT
SERVICES              PO BOX 9001043                                                                LOUISVILLE          KY           40290-1043                             SUPPLIERS OR VENDORS      10/24/2018            $295.36
HOME DEPOT CREDIT
SERVICES              PO BOX 9001043                                                                LOUISVILLE          KY           40290-1043                             SUPPLIERS OR VENDORS      10/31/2018            $472.58
HOME DEPOT CREDIT
SERVICES              PO BOX 9001043                                                                LOUISVILLE          KY           40290-1043                             SUPPLIERS OR VENDORS      11/14/2018            $506.40
HOME DEPOT CREDIT
SERVICES              PO BOX 9001043                                                                LOUISVILLE          KY           40290-1043                             SUPPLIERS OR VENDORS      11/26/2018            $479.97
HOME DEPOT CREDIT
SERVICES              PO BOX 9001043                                                                LOUISVILLE          KY           40290-1043                             SUPPLIERS OR VENDORS       12/7/2018            $477.73
HOME DEPOT CREDIT
SERVICES              PO BOX 9001043                                                                LOUISVILLE          KY           40290-1043                             SUPPLIERS OR VENDORS      12/10/2018            $541.33
HOME DEPOT CREDIT
SERVICES              PO BOX 9001043                                                                LOUISVILLE          KY           40290-1043                             SUPPLIERS OR VENDORS      12/13/2018               $8.41
HOME DEPOT CREDIT
SERVICES              PO BOX 9001043                                                                LOUISVILLE          KY           40290-1043                             SUPPLIERS OR VENDORS      12/20/2018            $645.33
HOME PRODUCTS                                     COLLECTIONS CENTER
INTERNATIONAL N A     PO BOX 99993                DR                                                CHICAGO             IL           60693-9993                             SUPPLIERS OR VENDORS      10/19/2018         $60,859.83
HOME PRODUCTS                                     COLLECTIONS CENTER
INTERNATIONAL N A     PO BOX 99993                DR                                                CHICAGO             IL           60693-9993                             SUPPLIERS OR VENDORS      10/26/2018        $123,429.38
HOME PRODUCTS                                     COLLECTIONS CENTER
INTERNATIONAL N A     PO BOX 99993                DR                                                CHICAGO             IL           60693-9993                             SUPPLIERS OR VENDORS       11/2/2018        $255,095.34
HOME PRODUCTS                                     COLLECTIONS CENTER
INTERNATIONAL N A     PO BOX 99993                DR                                                CHICAGO             IL           60693-9993                             SUPPLIERS OR VENDORS      11/16/2018         $52,388.70
HOME PRODUCTS                                     COLLECTIONS CENTER
INTERNATIONAL N A     PO BOX 99993                DR                                                CHICAGO             IL           60693-9993                             SUPPLIERS OR VENDORS      11/30/2018        $386,053.31
HOMELAND SECURITY
CUSTOMS               1300 Pennsylvania Ave. NW                                                     Washington          DC           20229                                  IMPORT & CUSTOMS          11/19/2018         $50,052.78
HOMELAND SECURITY
CUSTOMS               1300 Pennsylvania Ave. NW                                                     Washington          DC           20229                                                            11/30/2018             $82.34
HONEY CAN DO          DEPT 10455                  PO BOX 87618                                      CHICAGO             IL           60680-0618                             SUPPLIERS OR VENDORS      10/18/2018            $953.34



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HONEY CAN DO             DEPT 10455               PO BOX 87618                                      CHICAGO             IL           60680-0618                             SUPPLIERS OR VENDORS        11/15/2018              $708.83
HONEY DO LAWN SERVICES
LLC                      DANNY RADUENZ            4752 US HWY 212                                   GLENCOE             MN           55336                                  SUPPLIERS OR VENDORS        11/8/2018              $160.31
HONEY DO LAWN SERVICES
LLC                      DANNY RADUENZ            4752 US HWY 212                                   GLENCOE             MN           55336                                  SUPPLIERS OR VENDORS       12/17/2018               $53.44

HONGWU ZHANG             8015 102 AVE                                                               PLEASANT PRAIRIE    WI           53158                                  SUPPLIERS OR VENDORS       10/19/2018               $25.00
HOOSIER LOTTERY          1302 N MERIDIAN STREET                                                     INDIANAPOLIS        IN           46202                                  PAYMENT FOR SERVICES        10/2/2018            $1,821.90
HOOSIER LOTTERY          1302 N MERIDIAN STREET                                                     INDIANAPOLIS        IN           46202                                  PAYMENT FOR SERVICES       10/10/2018            $2,962.76
HOOSIER LOTTERY          1302 N MERIDIAN STREET                                                     INDIANAPOLIS        IN           46202                                  PAYMENT FOR SERVICES       10/23/2018            $6,153.36
HOOSIER LOTTERY          1302 N MERIDIAN STREET                                                     INDIANAPOLIS        IN           46202                                  PAYMENT FOR SERVICES       11/14/2018            $4,928.71
HOOSIER LOTTERY          1302 N MERIDIAN STREET                                                     INDIANAPOLIS        IN           46202                                  PAYMENT FOR SERVICES       11/20/2018           $10,321.51
HOPE MC ALISTER          305 22ND AVE SW                                                            AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS        12/7/2018               $66.67

HOPKINS MANUFACTURING
CORPORATION           PO BOX 411674                                                                 KANSAS CITY         MO           64141                                  SUPPLIERS OR VENDORS       11/15/2018            $2,784.10

HOPKINS MANUFACTURING
CORPORATION           PO BOX 411674                                                                 KANSAS CITY         MO           64141                                  SUPPLIERS OR VENDORS       11/22/2018            $5,864.86

HOPKINS MANUFACTURING
CORPORATION              PO BOX 411674                                                              KANSAS CITY         MO           64141                                  SUPPLIERS OR VENDORS       11/29/2018           $30,058.64
HORIZON GROUP USA
INCORPORATED             PO BOX 5467                                                                CAROL STREAM        IL           60197-5467                             SUPPLIERS OR VENDORS       10/19/2018            $2,068.76
HORIZON GROUP USA
INCORPORATED             PO BOX 5467                                                                CAROL STREAM        IL           60197-5467                             SUPPLIERS OR VENDORS       10/26/2018           $11,462.00
HORIZON GROUP USA
INCORPORATED             PO BOX 5467                                                                CAROL STREAM        IL           60197-5467                             SUPPLIERS OR VENDORS        11/2/2018           $13,068.00
HORIZON GROUP USA
INCORPORATED             PO BOX 5467                                                                CAROL STREAM        IL           60197-5467                             SUPPLIERS OR VENDORS        11/9/2018            $2,389.90
HORIZON GROUP USA
INCORPORATED             PO BOX 5467                                                                CAROL STREAM        IL           60197-5467                             SUPPLIERS OR VENDORS       11/16/2018              $193.82
HORIZON GROUP USA
INCORPORATED             PO BOX 5467                                                                CAROL STREAM        IL           60197-5467                             SUPPLIERS OR VENDORS       11/30/2018              $332.00
HORIZON GROUP USA
INCORPORATED             PO BOX 5467                                                                CAROL STREAM        IL           60197-5467                             SUPPLIERS OR VENDORS        1/11/2019            $6,282.89

HORN MEMORIAL HOSPITAL 701 EAST 2ND STREET                                                          IDA GROVE           IA           51445-1666                             SUPPLIERS OR VENDORS        11/1/2018               $28.20

HORN MEMORIAL HOSPITAL   701 EAST 2ND STREET                                                        IDA GROVE           IA           51445-1666                             SUPPLIERS OR VENDORS       11/26/2018               $28.20
HORTENCIA CASTILLO       3614 RESERVE LN.                                                           PASCO               WA           99301                                  SUPPLIERS OR VENDORS       11/12/2018               $12.01
HOSTESS BRANDS LLC       PO BOX 205103                                                              DALLAS              TX           75320-5103                             SUPPLIERS OR VENDORS       10/26/2018           $11,000.90
HOSTESS BRANDS LLC       PO BOX 205103                                                              DALLAS              TX           75320-5103                             SUPPLIERS OR VENDORS       10/30/2018           $21,917.31
HOSTESS BRANDS LLC       PO BOX 205103                                                              DALLAS              TX           75320-5103                             SUPPLIERS OR VENDORS        11/2/2018           $11,686.61
HOSTESS BRANDS LLC       PO BOX 205103                                                              DALLAS              TX           75320-5103                             SUPPLIERS OR VENDORS       11/16/2018           $47,742.28
HOSTESS BRANDS LLC       PO BOX 205103                                                              DALLAS              TX           75320-5103                             SUPPLIERS OR VENDORS       11/23/2018           $20,396.66
HOT SPRINGS COUNTY       415 ARAPAHOE STREET                                                        THERMOPOLIS         WY           82443                                  SUPPLIERS OR VENDORS        11/6/2018            $5,037.94
HOUSE OF WHEELS
INCORPORATED             PO BOX 170600                                                              BOISE               ID           83717                                  SUPPLIERS OR VENDORS        11/9/2018              $128.02
HOWARD GREER             204 N. SYCAMORE AVE                                                        SIOUX FALLS         SD           57110                                  SUPPLIERS OR VENDORS        11/7/2018               $20.00
HOWARD MAYER             918 ARBOR LANE APT,41                                                      ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS        11/5/2018               $47.67
HOWARD PRESTWICH         216 W STEPHENSON ST                                                        FREEPORT            IL           61032                                  SUPPLIERS OR VENDORS       10/24/2018               $51.20
HOYA VISION              PO BOX 122454                                                              DALLAS              TX           75312-2454                             SUPPLIERS OR VENDORS        11/1/2018              $263.90
HOYA VISION              PO BOX 122454                                                              DALLAS              TX           75312-2454                             SUPPLIERS OR VENDORS        11/8/2018              $217.40



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                                                                                                                                                                               Reasons for payment or    Dates of     Total Amount or
      Creditor Name                 Address1             Address2                  Address3                   City            State       Zip              Country                    transfer          Payments            Value
HOYA VISION               PO BOX 122454                                                              DALLAS              TX           75312-2454                             SUPPLIERS OR VENDORS        11/22/2018              $276.11
HOYA VISION               PO BOX 122454                                                              DALLAS              TX           75312-2454                             SUPPLIERS OR VENDORS        12/18/2018              $541.41
                                                                                                                                                                             PURCHASE OF
HUB GROUP INC             2000 CLEARWATER DRIVE                                                      OAK BROOK           IL           60523                                  MERCHANDISE                12/17/2018           $33,616.26

HUB GROUP INCORPORATED 33773 TREASURY CENTER                                                         CHICAGO             IL           60694-3700                             SUPPLIERS OR VENDORS       10/18/2018           $30,026.47

HUB GROUP INCORPORATED 33773 TREASURY CENTER                                                         CHICAGO             IL           60694-3700                             SUPPLIERS OR VENDORS       10/25/2018           $94,211.22

HUB GROUP INCORPORATED 33773 TREASURY CENTER                                                         CHICAGO             IL           60694-3700                             SUPPLIERS OR VENDORS        11/1/2018           $15,213.30

HUB GROUP INCORPORATED 33773 TREASURY CENTER                                                         CHICAGO             IL           60694-3700                             SUPPLIERS OR VENDORS        11/8/2018           $29,324.30

HUB GROUP INCORPORATED 33773 TREASURY CENTER                                                         CHICAGO             IL           60694-3700                             SUPPLIERS OR VENDORS       11/15/2018            $4,899.50

HUB GROUP INCORPORATED 33773 TREASURY CENTER                                                         CHICAGO             IL           60694-3700                             SUPPLIERS OR VENDORS       11/29/2018           $65,135.48

HUB GROUP INCORPORATED 33773 TREASURY CENTER                                                         CHICAGO             IL           60694-3700                             SUPPLIERS OR VENDORS        12/7/2018           $63,631.02

HUB GROUP INCORPORATED 33773 TREASURY CENTER                                                         CHICAGO             IL           60694-3700                             SUPPLIERS OR VENDORS       12/10/2018            $5,971.48

HUB GROUP INCORPORATED 33773 TREASURY CENTER                                                         CHICAGO             IL           60694-3700                             SUPPLIERS OR VENDORS       12/13/2018           $18,169.34

HUB GROUP INCORPORATED    33773 TREASURY CENTER                                                      CHICAGO             IL           60694-3700                             SUPPLIERS OR VENDORS       12/21/2018           $23,322.06
HUGHES LAWN SERVICE &
MAINTENANCE               LEONARD ANDREW HUGHES    PO BOX 357                                        WINNECONNE          WI           54986                                  SUPPLIERS OR VENDORS       11/29/2018              $551.25
HUMBOLDT PLAZA                                     10855 W DODGE RD
ASSOCIATION               C/O THE LERNER COMPANY   SUITE 270                                         OMAHA               NE           68154-2666                             SUPPLIERS OR VENDORS        11/1/2018            $6,059.00
HUMBOLDT PLAZA                                     10855 W DODGE RD
ASSOCIATION               C/O THE LERNER COMPANY   SUITE 270                                         OMAHA               NE           68154-2666                             SUPPLIERS OR VENDORS       11/16/2018                $1.00
HUMBOLDT PLAZA                                     10855 W DODGE RD
ASSOCIATION               C/O THE LERNER COMPANY   SUITE 270                                         OMAHA               NE           68154-2666                             SUPPLIERS OR VENDORS        12/1/2018            $6,059.00

HUMPHREY FLORAL & GIFT    201 S MAIN STREET                                                          FORT ATKINSON       WI           53538                                  SUPPLIERS OR VENDORS       11/15/2018               $61.19
HUNKE ELECTRIC            344 CO ROAD F                                                              DODGE               NE           68633                                  SUPPLIERS OR VENDORS       10/25/2018              $542.50
HUNTER ALIX               STORE 024                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/19/2018              $228.48
HUNTER ALIX               STORE 024                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/26/2018              $167.09
HUNTER ALIX               STORE 024                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        1/15/2019              $119.48
                          1011 NORTH WISCONSIN     416 WEST 23RD STREET
HUNTER EQUITIES 313 LLC   STREET OWNER LLC         1B                                                NEW YORK            NY           10011                                  SUPPLIERS OR VENDORS        11/1/2018           $11,693.03
                          1011 NORTH WISCONSIN     416 WEST 23RD STREET
HUNTER EQUITIES 313 LLC   STREET OWNER LLC         1B                                                NEW YORK            NY           10011                                  SUPPLIERS OR VENDORS        12/1/2018           $11,693.03
HUNTER WEBB               930 RUTLAND DR                                                             LINCOLN             NE           68512                                  SUPPLIERS OR VENDORS       10/26/2018               $23.00
HUONG THAI                8406 OHERN ST                                                              OMAHA               NE           68127                                  SUPPLIERS OR VENDORS       12/14/2018               $45.00
HUPP HOME SERVICES LLC    PO BOX 322                                                                 JEFFERSON           IA           50129                                  SUPPLIERS OR VENDORS       11/15/2018              $286.00
HUPP HOME SERVICES LLC    PO BOX 322                                                                 JEFFERSON           IA           50129                                  SUPPLIERS OR VENDORS       12/17/2018              $100.00
HUPP TOYOTALIFT
INCORPORATED              PO BOX 353                                                                 CEDAR RAPIDS        IA           52406-0353                             SUPPLIERS OR VENDORS       12/17/2018               $99.46
HY VEE                    2708 BRIDGE AVE                                                            ALBERT LEA          MN           56007                                  SUPPLIERS OR VENDORS       11/26/2018               $26.96
HY VEE FOOD STORE         1221 CENTRAL AVENUE                                                        ESTHERVILLE         IA           51334                                  SUPPLIERS OR VENDORS       11/14/2018               $36.54
HY VEE FOOD STORES
BURLINGTON                3140 AGENCY                                                                BURLINGTON          IA           52601                                  SUPPLIERS OR VENDORS       12/21/2018              $569.04
HY VEE LINCOLN            5020 N 27TH                                                                LINCOLN             NE           68521                                  SUPPLIERS OR VENDORS       11/14/2018              $665.54




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                                                                                                                                                                           Reasons for payment or    Dates of    Total Amount or
     Creditor Name                 Address1           Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value

HYATT ON MAIN GREEN BAY   333 MAIN STREET                                                         GREEN BAY           WI           54301                                  SUPPLIERS OR VENDORS       11/8/2018          $4,079.92
HYBRID                    CIT GROUP             PO BOX 1036            PAM TO ORACLE              CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      10/22/2018         $44,252.18
HYBRID                    CIT GROUP             PO BOX 1036            PAM TO ORACLE              CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      10/24/2018         $15,584.00
HYBRID                    CIT GROUP             PO BOX 1036            PAM TO ORACLE              CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      10/25/2018         $14,209.50
HYBRID                    CIT GROUP             PO BOX 1036            PAM TO ORACLE              CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      10/29/2018         $57,578.40
HYBRID                    CIT GROUP             PO BOX 1036            PAM TO ORACLE              CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      10/30/2018         $24,435.00
HYBRID                    CIT GROUP             PO BOX 1036            PAM TO ORACLE              CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      10/31/2018         $14,057.70
HYBRID                    CIT GROUP             PO BOX 1036            PAM TO ORACLE              CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/5/2018        $116,780.70
HYBRID                    CIT GROUP             PO BOX 1036            PAM TO ORACLE              CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/6/2018         $28,705.26
HYBRID                    CIT GROUP             PO BOX 1036            PAM TO ORACLE              CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/7/2018         $30,418.80
HYBRID                    CIT GROUP             PO BOX 1036            PAM TO ORACLE              CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/8/2018         $95,613.00
HYBRID                    CIT GROUP             PO BOX 1036            PAM TO ORACLE              CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      11/12/2018         $25,176.00
HYBRID                    CIT GROUP             PO BOX 1036            PAM TO ORACLE              CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      11/13/2018         $11,670.00
HYBRID                    CIT GROUP             PO BOX 1036            PAM TO ORACLE              CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      11/27/2018          $1,152.00
HYBRID                    CIT GROUP             PO BOX 1036            PAM TO ORACLE              CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      11/28/2018          $4,995.90
HYBRID                    CIT GROUP             PO BOX 1036            PAM TO ORACLE              CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      11/30/2018         $78,501.00
HYBRID                    CIT GROUP             PO BOX 1036            PAM TO ORACLE              CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       12/3/2018          $2,225.38
HYBRID                    CIT GROUP             PO BOX 1036            PAM TO ORACLE              CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       12/4/2018         $41,487.56
HYBRID                    CIT GROUP             PO BOX 1036            PAM TO ORACLE              CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      12/11/2018         $10,199.20
HYGENIC CORPORATION
PERFORMANCE HEALTH        29262 NETWORK PLACE                                                     CHICAGO             IL           60673-1292                             SUPPLIERS OR VENDORS      10/18/2018         $13,695.07
HYGENIC CORPORATION
PERFORMANCE HEALTH        29262 NETWORK PLACE                                                     CHICAGO             IL           60673-1292                             SUPPLIERS OR VENDORS      11/15/2018           $5,616.15
HYLANDS INCORPORATED      PO BOX 61067                                                            LOS ANGELES         CA           90061                                  SUPPLIERS OR VENDORS      10/18/2018           $2,200.89
HYLANDS INCORPORATED      PO BOX 61067                                                            LOS ANGELES         CA           90061                                  SUPPLIERS OR VENDORS      10/25/2018           $2,971.51
HYLANDS INCORPORATED      PO BOX 61067                                                            LOS ANGELES         CA           90061                                  SUPPLIERS OR VENDORS       11/1/2018           $8,706.87
HYLANDS INCORPORATED      PO BOX 61067                                                            LOS ANGELES         CA           90061                                  SUPPLIERS OR VENDORS       11/8/2018           $3,966.18
HYLANDS INCORPORATED      PO BOX 61067                                                            LOS ANGELES         CA           90061                                  SUPPLIERS OR VENDORS      11/15/2018           $2,167.55
HYLANDS INCORPORATED      PO BOX 61067                                                            LOS ANGELES         CA           90061                                  SUPPLIERS OR VENDORS      11/22/2018           $3,216.95
HYLANDS INCORPORATED      PO BOX 61067                                                            LOS ANGELES         CA           90061                                  SUPPLIERS OR VENDORS      11/29/2018           $3,492.84
HYPER PRODUCTS DIV OF
ROSE AMERICA              SHOPKO STORES         PO BOX 19060           DISC 09/07/10              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/18/2018           $7,076.96
HYPER PRODUCTS DIV OF
ROSE AMERICA              SHOPKO STORES         PO BOX 19060           DISC 09/07/10              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/15/2018        $106,292.84
                          SHOPKO STORES
HYPNOTIC HATS             INCORPORATED          PO BOX 19060           UNF $317.78 04/01/05       GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/23/2018         $10,915.10
                          SHOPKO STORES
HYPNOTIC HATS             INCORPORATED          PO BOX 19060           UNF $317.78 04/01/05       GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/25/2018           $6,915.24
                          SHOPKO STORES
HYPNOTIC HATS             INCORPORATED          PO BOX 19060           UNF $317.78 04/01/05       GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/29/2018           $4,321.94
                          SHOPKO STORES
HYPNOTIC HATS             INCORPORATED          PO BOX 19060           UNF $317.78 04/01/05       GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/30/2018           $3,626.96
                          SHOPKO STORES
HYPNOTIC HATS             INCORPORATED          PO BOX 19060           UNF $317.78 04/01/05       GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/2/2018           $5,768.84
                          SHOPKO STORES
HYPNOTIC HATS             INCORPORATED          PO BOX 19060           UNF $317.78 04/01/05       GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/5/2018           $2,734.78
                          SHOPKO STORES
HYPNOTIC HATS             INCORPORATED          PO BOX 19060           UNF $317.78 04/01/05       GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/8/2018           $3,189.71
                          SHOPKO STORES
HYPNOTIC HATS             INCORPORATED          PO BOX 19060           UNF $317.78 04/01/05       GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/9/2018            $367.06
                          SHOPKO STORES
HYPNOTIC HATS             INCORPORATED          PO BOX 19060           UNF $317.78 04/01/05       GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/12/2018            $570.24




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                                                                                                                                                                               Reasons for payment or    Dates of    Total Amount or
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                        SHOPKO STORES
HYPNOTIC HATS           INCORPORATED                PO BOX 19060           UNF $317.78 04/01/05       GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/15/2018           $1,167.70
HYUNDAI MERCHANT        1755 WITTINGTON PLACE SUITE
MARINE COMPANY LTD      300                                                                           FARMERS BRANCH TX                75234                                  SUPPLIERS OR VENDORS      11/27/2018           $6,350.00
HYUNDAI MERCHANT        1755 WITTINGTON PLACE SUITE
MARINE COMPANY LTD      300                                                                           FARMERS BRANCH TX                75234                                  SUPPLIERS OR VENDORS      12/22/2018           $3,892.00
HY-VEE ACCOUNTS
RECEIVABLE              5820 WESTOWN PARKWAY                                                          WEST DES MOINES IA               50266-8290                             SUPPLIERS OR VENDORS      10/23/2018             $68.18
HY-VEE ACCOUNTS
RECEIVABLE              5820 WESTOWN PARKWAY                                                          WEST DES MOINES IA               50266-8290                             SUPPLIERS OR VENDORS      10/24/2018             $25.79
HY-VEE ACCOUNTS
RECEIVABLE              5820 WESTOWN PARKWAY                                                          WEST DES MOINES IA               50266-8290                             SUPPLIERS OR VENDORS       11/1/2018            $101.46
HY-VEE ACCOUNTS
RECEIVABLE              5820 WESTOWN PARKWAY                                                          WEST DES MOINES IA               50266-8290                             SUPPLIERS OR VENDORS       11/7/2018            $184.04
HY-VEE ACCOUNTS
RECEIVABLE              5820 WESTOWN PARKWAY                                                          WEST DES MOINES IA               50266-8290                             SUPPLIERS OR VENDORS      11/26/2018             $70.35
HY-VEE ACCOUNTS
RECEIVABLE              5820 WESTOWN PARKWAY                                                          WEST DES MOINES IA               50266-8290                             SUPPLIERS OR VENDORS       12/3/2018            $214.38
HY-VEE ACCOUNTS
RECEIVABLE              5820 WESTOWN PARKWAY                                                          WEST DES MOINES IA               50266-8290                             SUPPLIERS OR VENDORS       12/7/2018             $49.95
HY-VEE ACCOUNTS
RECEIVABLE              5820 WESTOWN PARKWAY                                                          WEST DES MOINES     IA           50266-8290                             SUPPLIERS OR VENDORS      12/14/2018             $59.02
I DEALOPTICS            1290 MAPLELAWN DRIVE                                                          TROY                MI           48084                                  SUPPLIERS OR VENDORS      10/18/2018            $551.03
I DEALOPTICS            1290 MAPLELAWN DRIVE                                                          TROY                MI           48084                                  SUPPLIERS OR VENDORS      10/25/2018             $12.49
I DEALOPTICS            1290 MAPLELAWN DRIVE                                                          TROY                MI           48084                                  SUPPLIERS OR VENDORS       11/1/2018          $1,938.45
I DEALOPTICS            1290 MAPLELAWN DRIVE                                                          TROY                MI           48084                                  SUPPLIERS OR VENDORS      11/29/2018          $2,260.69
I DEALOPTICS            1290 MAPLELAWN DRIVE                                                          TROY                MI           48084                                  SUPPLIERS OR VENDORS      12/21/2018          $2,007.19
I P T INCORPORATED      PO BOX 53256                                                                  PETTISVILLE         OH           43553                                  SUPPLIERS OR VENDORS      10/18/2018            $919.00
I P T INCORPORATED      PO BOX 53256                                                                  PETTISVILLE         OH           43553                                  SUPPLIERS OR VENDORS      11/29/2018            $238.00
I P T INCORPORATED      PO BOX 53256                                                                  PETTISVILLE         OH           43553                                  SUPPLIERS OR VENDORS      12/17/2018            $425.00
IA ALCOHOL BEV DIV      1918 SE HULSIZER ROAD                                                         ANKENY              IA           50021                                  SALES/USE TAX             11/26/2018            $860.00
IA DEPT OF REVENUE      1305 E. WALNUT ST          FOURTH FLOOR 0107                                  DES MOINES          IA           50319                                  SALES/USE TAX             11/14/2018        $369,995.00
IA DEPT OF REVENUE      1305 E. WALNUT ST          FOURTH FLOOR 0107                                  DES MOINES          IA           50319                                  SALES/USE TAX             11/27/2018        $369,995.00
IAN BAILEY              PO BOX 1623                                                                   COLUMBIA FALLS      MT           59912                                  SUPPLIERS OR VENDORS       12/7/2018            $143.00
IAN BUTLER              SHOPKO RETAIL/STORE 046    SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/19/2018          $1,087.17
IAN BUTLER              SHOPKO RETAIL/STORE 046    SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/26/2018            $463.86
IAN BUTLER              SHOPKO RETAIL/STORE 046    SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/2/2018            $442.05
IAN BUTLER              SHOPKO RETAIL/STORE 046    SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/9/2018            $646.95
IAN BUTLER              SHOPKO RETAIL/STORE 046    SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/16/2018            $502.58
IAN BUTLER              SHOPKO RETAIL/STORE 046    SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/27/2018            $503.50
IAN BUTLER              SHOPKO RETAIL/STORE 046    SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/8/2018            $418.94
IAN BUTLER              SHOPKO RETAIL/STORE 046    SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/14/2018            $185.90
IAN BUTLER              SHOPKO RETAIL/STORE 046    SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/20/2018            $518.78
IAN BUTLER              SHOPKO RETAIL/STORE 046    SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/29/2018            $544.23
IAN TUCKER              4532 MITCHELL AVE                                                             BILLINGS            MT           59101                                  SUPPLIERS OR VENDORS      11/14/2018             $35.00
ICA PROPERTIES
INCORPORATED            700 N GRANT SUITE 600                                                         ODESSA              TX           79760                                  SUPPLIERS OR VENDORS      11/15/2018         $15,770.00
ICA PROPERTIES
INCORPORATED            700 N GRANT SUITE 600                                                         ODESSA              TX           79760                                  SUPPLIERS OR VENDORS      12/19/2018         $15,770.00
ICE HOUSE               1751 C WENATCHEE AVENUE                                                       WENATCHEE           WA           98801                                  SUPPLIERS OR VENDORS      10/18/2018            $107.30
ICE HOUSE               1751 C WENATCHEE AVENUE                                                       WENATCHEE           WA           98801                                  SUPPLIERS OR VENDORS      11/15/2018             $58.00
ICE MAN                 115 2ND STREET SOUTH       PAM TO ORACLE                                      GLASGOW             MT           59230                                  SUPPLIERS OR VENDORS      11/15/2018             $96.00
                                                   1703 E SAINT PATRICK
ICEHOUSE INCORPORATED   VICE PRESIDENT OF SALES    STREET                                             RAPID CITY          SD           57703                                  SUPPLIERS OR VENDORS      11/15/2018             $54.00



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                                                                                                          SOUTH
ICON EYEWEAR               5 EMPIRE BOULEVARD                                                             HACKENSACK          NJ           07606                                  SUPPLIERS OR VENDORS      10/19/2018           $4,122.90
ICON HEALTH & FITNESS
INCORPORATED               PO BOX 99661                                                                   CHICAGO             IL           60690-0000                             SUPPLIERS OR VENDORS      10/18/2018           $6,597.18
ICON HEALTH & FITNESS
INCORPORATED               PO BOX 99661                                                                   CHICAGO             IL           60690-0000                             SUPPLIERS OR VENDORS      10/25/2018           $1,784.29
ICON HEALTH & FITNESS
INCORPORATED               PO BOX 99661                                                                   CHICAGO             IL           60690-0000                             SUPPLIERS OR VENDORS       11/8/2018           $2,279.31
ICON HEALTH & FITNESS
INCORPORATED               PO BOX 99661                                                                   CHICAGO             IL           60690-0000                             SUPPLIERS OR VENDORS      11/15/2018             $10.91
ICON HEALTH & FITNESS
INCORPORATED               PO BOX 99661                                                                   CHICAGO             IL           60690-0000                             SUPPLIERS OR VENDORS      11/22/2018           $4,987.92
ICON HEALTH & FITNESS
INCORPORATED               PO BOX 99661                                                                   CHICAGO             IL           60690-0000                             SUPPLIERS OR VENDORS      11/29/2018         $15,605.05
ID DEPT OF REVENUE         800 E. PARK BLVD #500                                                          BOISE               ID           83712                                  SALES/USE TAX             11/20/2018         $88,767.36
ID DEPT OF REVENUE         800 E. PARK BLVD #500                                                          BOISE               ID           83712                                  SALES/USE TAX             11/20/2018        $225,358.00
ID FURST SHOP LLC          100 CANYON CREEK                                                               IRVINE              CA           92603                                  SUPPLIERS OR VENDORS       11/1/2018         $42,358.41
ID FURST SHOP LLC          100 CANYON CREEK                                                               IRVINE              CA           92603                                  SUPPLIERS OR VENDORS       12/1/2018         $42,358.41
IDAHO BEVERAGES
INCORPORATED               2108 1ST AVENUE N                                                              LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS      10/18/2018           $1,083.45
IDAHO BEVERAGES
INCORPORATED               2108 1ST AVENUE N                                                              LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS      10/25/2018           $2,375.95
IDAHO BEVERAGES
INCORPORATED               2108 1ST AVENUE N                                                              LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS       11/1/2018           $1,696.53
IDAHO BEVERAGES
INCORPORATED               2108 1ST AVENUE N                                                              LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS       11/8/2018           $2,580.13
IDAHO BEVERAGES
INCORPORATED               2108 1ST AVENUE N                                                              LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS      11/15/2018           $1,221.94
IDAHO BEVERAGES
INCORPORATED               2108 1ST AVENUE N                                                              LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS      11/22/2018           $2,405.55
IDAHO BEVERAGES
INCORPORATED               2108 1ST AVENUE N                                                              LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS      11/29/2018           $3,560.01
IDAHO BEVERAGES
INCORPORATED               2108 1ST AVENUE N                                                              LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS      12/20/2018           $8,106.08
IDAHO BEVERAGES
INCORPORATED               2108 1ST AVENUE N                                                              LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS      12/21/2018            $229.78
IDAHO BEVERAGES
INCORPORATED               2108 1ST AVENUE N                                                              LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS      12/27/2018           $1,276.76

IDAHO DEPT OF              ACCOUNTS RECEIVABLE FISCAL
ENVIRONMENTAL QUALITY      OFFICE                       1410 N HILTON                                     BOISE               ID           83706-1255                             SUPPLIERS OR VENDORS       11/8/2018            $112.00

IDAHO INDUSTRIAL BATTERY 510 S WINTERBERRY COURT                                                          NAMPA               ID           83687                                  SUPPLIERS OR VENDORS      10/18/2018           $5,927.52

IDAHO INDUSTRIAL BATTERY   510 S WINTERBERRY COURT                                                        NAMPA               ID           83687                                  SUPPLIERS OR VENDORS      11/15/2018           $5,927.52
IDAHO LOTTERY              PO BOX 6537                                                                    BOISE               ID           83707                                  PAYMENT FOR SERVICES       10/4/2018           $4,112.02
IDAHO LOTTERY              PO BOX 6537                                                                    BOISE               ID           83707                                  PAYMENT FOR SERVICES      10/11/2018           $5,803.10
IDAHO LOTTERY              PO BOX 6537                                                                    BOISE               ID           83707                                  PAYMENT FOR SERVICES      10/18/2018           $2,153.79
IDAHO LOTTERY              PO BOX 6537                                                                    BOISE               ID           83707                                  PAYMENT FOR SERVICES      10/18/2018           $3,850.43
IDAHO LOTTERY              PO BOX 6537                                                                    BOISE               ID           83707                                  PAYMENT FOR SERVICES      10/25/2018           $2,017.48
IDAHO LOTTERY              PO BOX 6537                                                                    BOISE               ID           83707                                  PAYMENT FOR SERVICES      10/25/2018           $5,160.41
IDAHO LOTTERY              PO BOX 6537                                                                    BOISE               ID           83707                                  PAYMENT FOR SERVICES       11/1/2018           $3,052.92
IDAHO LOTTERY              PO BOX 6537                                                                    BOISE               ID           83707                                  PAYMENT FOR SERVICES       11/1/2018           $5,460.78
IDAHO LOTTERY              PO BOX 6537                                                                    BOISE               ID           83707                                  PAYMENT FOR SERVICES       11/8/2018             $758.44



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                                                                                                                                                                         Reasons for payment or    Dates of     Total Amount or
      Creditor Name               Address1         Address2                  Address3                  City             State       Zip              Country                    transfer          Payments            Value
IDAHO LOTTERY           PO BOX 6537                                                            BOISE               ID           83707                                  PAYMENT FOR SERVICES         11/8/2018            $3,878.14
IDAHO LOTTERY           PO BOX 6537                                                            BOISE               ID           83707                                  PAYMENT FOR SERVICES        11/15/2018            $1,206.52
IDAHO LOTTERY           PO BOX 6537                                                            BOISE               ID           83707                                  PAYMENT FOR SERVICES        11/15/2018            $3,418.84
IDAHO LOTTERY           PO BOX 6537                                                            BOISE               ID           83707                                  PAYMENT FOR SERVICES        11/23/2018            $1,200.97
IDAHO LOTTERY           PO BOX 6537                                                            BOISE               ID           83707                                  PAYMENT FOR SERVICES        11/23/2018            $4,358.29
IDAHO LOTTERY           PO BOX 6537                                                            BOISE               ID           83707                                  PAYMENT FOR SERVICES        11/29/2018              $724.86
IDAHO LOTTERY           PO BOX 6537                                                            BOISE               ID           83707                                  PAYMENT FOR SERVICES        11/29/2018            $9,050.05
IDAHO LOTTERY           PO BOX 6537                                                            BOISE               ID           83707                                  PAYMENT FOR SERVICES         12/6/2018            $1,320.81
IDAHO LOTTERY           PO BOX 6537                                                            BOISE               ID           83707                                  PAYMENT FOR SERVICES         12/6/2018            $1,483.32
IDAHO LOTTERY           PO BOX 6537                                                            BOISE               ID           83707                                  PAYMENT FOR SERVICES        12/13/2018            $1,131.02
IDAHO LOTTERY           PO BOX 6537                                                            BOISE               ID           83707                                  PAYMENT FOR SERVICES        12/13/2018            $2,831.76
IDAHO LOTTERY           PO BOX 6537                                                            BOISE               ID           83707                                  PAYMENT FOR SERVICES        12/20/2018            $1,508.44
IDAHO LOTTERY           PO BOX 6537                                                            BOISE               ID           83707                                  PAYMENT FOR SERVICES        12/20/2018            $5,507.83
IDAHO LOTTERY           PO BOX 6537                                                            BOISE               ID           83707                                  PAYMENT FOR SERVICES        12/31/2018            $1,113.14
IDAHO LOTTERY           PO BOX 6537                                                            BOISE               ID           83707                                  PAYMENT FOR SERVICES        12/31/2018            $8,385.53
IDAHO LOTTERY           PO BOX 6537                                                            BOISE               ID           83707                                  PAYMENT FOR SERVICES          1/3/2019            $1,016.74
IDAHO LOTTERY           PO BOX 6537                                                            BOISE               ID           83707                                  PAYMENT FOR SERVICES          1/3/2019            $2,427.68
IDAHO LOTTERY           PO BOX 6537                                                            BOISE               ID           83707                                  PAYMENT FOR SERVICES         1/10/2019              $757.98
IDAHO LOTTERY           PO BOX 6537                                                            BOISE               ID           83707                                  PAYMENT FOR SERVICES         1/10/2019           $12,459.38
IDAHO STATE TAX
COMMISSION              PO BOX 76                                                              BOISE               ID           83707                                  SUPPLIERS OR VENDORS       10/19/2018               $50.88
IDAHO STATE TAX
COMMISSION              PO BOX 76                                                              BOISE               ID           83707                                  SUPPLIERS OR VENDORS       10/19/2018               $54.32
IDAHO STATE TAX
COMMISSION              PO BOX 76                                                              BOISE               ID           83707                                  SUPPLIERS OR VENDORS       11/19/2018              $102.79
IDAHO STATE TAX
COMMISSION              PO BOX 76                                                              BOISE               ID           83707                                  SUPPLIERS OR VENDORS       11/19/2018              $119.40
IDAHO STATE TAX
COMMISSION              PO BOX 76                                                              BOISE               ID           83707                                  SUPPLIERS OR VENDORS       12/19/2018              $208.86
IDAHO STATE TAX
COMMISSION              PO BOX 76                                                              BOISE               ID           83707                                  SUPPLIERS OR VENDORS       12/19/2018              $280.43

IDEAVILLAGE COM                              155 ROUTE 46 WEST
IDEAVILLAGE PRODUCTS CO WAYNE PLAZA II       4TH FLOOR                                         WAYNE               NJ           07470-0000                             SUPPLIERS OR VENDORS       10/18/2018           $40,828.68

IDEAVILLAGE COM                              155 ROUTE 46 WEST
IDEAVILLAGE PRODUCTS CO WAYNE PLAZA II       4TH FLOOR                                         WAYNE               NJ           07470-0000                             SUPPLIERS OR VENDORS       10/20/2018           $51,176.01

IDEAVILLAGE COM                              155 ROUTE 46 WEST
IDEAVILLAGE PRODUCTS CO WAYNE PLAZA II       4TH FLOOR                                         WAYNE               NJ           07470-0000                             SUPPLIERS OR VENDORS       10/23/2018           $66,912.99

IDEAVILLAGE COM                              155 ROUTE 46 WEST
IDEAVILLAGE PRODUCTS CO WAYNE PLAZA II       4TH FLOOR                                         WAYNE               NJ           07470-0000                             SUPPLIERS OR VENDORS       10/24/2018            $8,537.76

IDEAVILLAGE COM                              155 ROUTE 46 WEST
IDEAVILLAGE PRODUCTS CO WAYNE PLAZA II       4TH FLOOR                                         WAYNE               NJ           07470-0000                             SUPPLIERS OR VENDORS       10/30/2018            $3,431.57

IDEAVILLAGE COM                              155 ROUTE 46 WEST
IDEAVILLAGE PRODUCTS CO WAYNE PLAZA II       4TH FLOOR                                         WAYNE               NJ           07470-0000                             SUPPLIERS OR VENDORS       10/31/2018            $1,818.10

IDEAVILLAGE COM                              155 ROUTE 46 WEST
IDEAVILLAGE PRODUCTS CO WAYNE PLAZA II       4TH FLOOR                                         WAYNE               NJ           07470-0000                             SUPPLIERS OR VENDORS        11/1/2018            $3,806.72




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                                                                                                                                                                                Reasons for payment or    Dates of    Total Amount or
      Creditor Name               Address1                 Address2                  Address3                  City             State       Zip              Country                   transfer          Payments           Value

IDEAVILLAGE COM                                      155 ROUTE 46 WEST
IDEAVILLAGE PRODUCTS CO WAYNE PLAZA II               4TH FLOOR                                         WAYNE               NJ           07470-0000                             SUPPLIERS OR VENDORS       11/2/2018           $3,574.40

IDEAVILLAGE COM                                      155 ROUTE 46 WEST
IDEAVILLAGE PRODUCTS CO WAYNE PLAZA II               4TH FLOOR                                         WAYNE               NJ           07470-0000                             SUPPLIERS OR VENDORS       11/3/2018         $39,062.79

IDEAVILLAGE COM                                      155 ROUTE 46 WEST
IDEAVILLAGE PRODUCTS CO WAYNE PLAZA II               4TH FLOOR                                         WAYNE               NJ           07470-0000                             SUPPLIERS OR VENDORS       11/9/2018         $20,323.35

IDEAVILLAGE COM                                      155 ROUTE 46 WEST
IDEAVILLAGE PRODUCTS CO WAYNE PLAZA II               4TH FLOOR                                         WAYNE               NJ           07470-0000                             SUPPLIERS OR VENDORS      11/13/2018         $27,460.78

IDEAVILLAGE COM                                      155 ROUTE 46 WEST
IDEAVILLAGE PRODUCTS CO WAYNE PLAZA II               4TH FLOOR                                         WAYNE               NJ           07470-0000                             SUPPLIERS OR VENDORS       12/6/2018         $51,921.13
IDWHOLESALER            1501 NW 163RD STREET         PAM TO ORACLE                                     MIAMI               FL           33169                                  SUPPLIERS OR VENDORS      10/25/2018            $527.50
IDWHOLESALER            1501 NW 163RD STREET         PAM TO ORACLE                                     MIAMI               FL           33169                                  SUPPLIERS OR VENDORS      12/17/2018            $179.90

IEI GENERAL CONTRACTORS
INCORPORATED            PO BOX 5067                                                                    DE PERE             WI           54115                                  SUPPLIERS OR VENDORS      10/26/2018         $11,081.00
                        2021 SUNNYDALE BLVD SUITE
IENJOY HOME             130                                                                            CLEARWATER          FL           33765                                  SUPPLIERS OR VENDORS      10/18/2018            $895.31
                        2021 SUNNYDALE BLVD SUITE
IENJOY HOME             130                                                                            CLEARWATER          FL           33765                                  SUPPLIERS OR VENDORS      10/25/2018            $611.77
                        2021 SUNNYDALE BLVD SUITE
IENJOY HOME             130                                                                            CLEARWATER          FL           33765                                  SUPPLIERS OR VENDORS       11/1/2018           $2,023.08
                        2021 SUNNYDALE BLVD SUITE
IENJOY HOME             130                                                                            CLEARWATER          FL           33765                                  SUPPLIERS OR VENDORS      11/15/2018           $2,810.61
                        2021 SUNNYDALE BLVD SUITE
IENJOY HOME             130                                                                            CLEARWATER          FL           33765                                  SUPPLIERS OR VENDORS      11/29/2018          $3,795.57
IGLOO CORPORATION       PO BOX 99912                                                                   CHICAGO             IL           60696-9912                             SUPPLIERS OR VENDORS       11/2/2018        $125,589.39
IGLOO CORPORATION       PO BOX 99912                                                                   CHICAGO             IL           60696-9912                             SUPPLIERS OR VENDORS       11/9/2018         $18,251.22
IGLOO CORPORATION       PO BOX 99912                                                                   CHICAGO             IL           60696-9912                             SUPPLIERS OR VENDORS      11/16/2018         $32,583.28
IGLOO CORPORATION       PO BOX 99912                                                                   CHICAGO             IL           60696-9912                             SUPPLIERS OR VENDORS      11/30/2018         $21,882.66

IGLOO ICE INCORPORATED   PO BOX 476                                                                    VERNAL              UT           84078                                  SUPPLIERS OR VENDORS      11/15/2018             $40.00
IGNITE BRANDS LLC DBA    16475 DALLAS PARKWAY STE
OILOGIC                  380                                                                           ADDISON             TX           75001                                  SUPPLIERS OR VENDORS      11/22/2018             $64.03
IGNITE BRANDS LLC DBA    16475 DALLAS PARKWAY STE
OILOGIC                  380                                                                           ADDISON             TX           75001                                  SUPPLIERS OR VENDORS      11/29/2018            $509.40

IKEDDI ENTERPRISES INC   1407 BROADWAY ROOM 1805                                                       NEW YORK            NY           10018-2764                                                       10/23/2018        $208,600.06
                                                                                                                                                                               PURCHASE OF
IKEDDI ENTERPRISES INC   1407 BROADWAY ROOM 1805                                                       NEW YORK            NY           10018-2764                             MERCHANDISE               10/26/2018        $127,660.80
                         CIT GROUP COMMERCIAL
IKEDDI IMPORTS LLC       SERVICES INC                PO BOX 1036                                       CHARLOTTE           NC           28201                                  SUPPLIERS OR VENDORS      10/19/2018        $130,318.29
                         CIT GROUP COMMERCIAL
IKEDDI IMPORTS LLC       SERVICES INC                PO BOX 1036                                       CHARLOTTE           NC           28201                                  SUPPLIERS OR VENDORS      11/22/2018         $13,481.01
                         CIT GROUP COMMERCIAL
IKEDDI IMPORTS LLC       SERVICES INC                PO BOX 1036                                       CHARLOTTE           NC           28201                                  SUPPLIERS OR VENDORS      11/29/2018            $917.25
                         CIT GROUP COMMERCIAL
IKEDDI IMPORTS LLC       SERVICES INC                PO BOX 1036                                       CHARLOTTE           NC           28201                                  SUPPLIERS OR VENDORS      11/30/2018         $10,863.00
IL DEPT OF REVENUE       101 WEST JEFFERSON STREET                                                     SPRINGFIELD         IL           62702                                  SALES/USE TAX              11/8/2018         $53,479.00
IL DEPT OF REVENUE       101 WEST JEFFERSON STREET                                                     SPRINGFIELD         IL           62702                                  SALES/USE TAX             11/15/2018         $53,479.00



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                                                                                                                                                                               Reasons for payment or    Dates of     Total Amount or
       Creditor Name               Address1              Address2                  Address3                City               State       Zip              Country                    transfer          Payments            Value
IL DEPT OF REVENUE       101 WEST JEFFERSON STREET                                                   SPRINGFIELD         IL           62702                                  SALES/USE TAX               11/21/2018          $135,877.00
IL DEPT OF REVENUE       101 WEST JEFFERSON STREET                                                   SPRINGFIELD         IL           62702                                  SALES/USE TAX               11/26/2018           $53,479.00
IL DEPT OF REVENUE       101 WEST JEFFERSON STREET                                                   SPRINGFIELD         IL           62702                                  SALES/USE TAX               11/30/2018           $53,479.00
ILLINOIS COLLEGE OF
OPTOMETRY                3241 S MICHIGAN AVENUE                                                      CHICAGO             IL           60616                                  SUPPLIERS OR VENDORS       10/26/2018            $1,000.00
                                                    320 W WASHINGTON
ILLINOIS DEPARTMENT      OF PROFESSIONAL REGULATION 3RD FLOOR                                        SPRINGFIELD         IL           62786                                  SUPPLIERS OR VENDORS        12/5/2018               $25.00
ILLINOIS DEPARTMENT OF   BUREAU OF ENVIROMENTAL
ARGICULTURE              PROGRAMS                   PO BOX 19281                                     SPRINGFIELD         IL           62794-9281                             SUPPLIERS OR VENDORS       10/31/2018              $550.00
ILLINOIS DEPARTMENT OF
NATURAL RESOURCES        ONE NATURAL RESOURCES WAY                                                   SPRINGFIELD         IL           62702                                  PAYMENT FOR SERVICES        10/4/2018              $129.50
ILLINOIS DEPARTMENT OF
NATURAL RESOURCES        ONE NATURAL RESOURCES WAY                                                   SPRINGFIELD         IL           62702                                  PAYMENT FOR SERVICES        10/4/2018              $373.00
ILLINOIS DEPARTMENT OF
NATURAL RESOURCES        ONE NATURAL RESOURCES WAY                                                   SPRINGFIELD         IL           62702                                  PAYMENT FOR SERVICES        10/4/2018              $942.50
ILLINOIS DEPARTMENT OF
NATURAL RESOURCES        ONE NATURAL RESOURCES WAY                                                   SPRINGFIELD         IL           62702                                  PAYMENT FOR SERVICES       10/12/2018              $122.00
ILLINOIS DEPARTMENT OF
NATURAL RESOURCES        ONE NATURAL RESOURCES WAY                                                   SPRINGFIELD         IL           62702                                  PAYMENT FOR SERVICES       10/12/2018              $249.00
ILLINOIS DEPARTMENT OF
NATURAL RESOURCES        ONE NATURAL RESOURCES WAY                                                   SPRINGFIELD         IL           62702                                  PAYMENT FOR SERVICES       10/12/2018              $528.00
ILLINOIS DEPARTMENT OF
NATURAL RESOURCES        ONE NATURAL RESOURCES WAY                                                   SPRINGFIELD         IL           62702                                  PAYMENT FOR SERVICES       10/18/2018               $92.00
ILLINOIS DEPARTMENT OF
NATURAL RESOURCES        ONE NATURAL RESOURCES WAY                                                   SPRINGFIELD         IL           62702                                  PAYMENT FOR SERVICES       10/18/2018              $199.00
ILLINOIS DEPARTMENT OF
NATURAL RESOURCES        ONE NATURAL RESOURCES WAY                                                   SPRINGFIELD         IL           62702                                  PAYMENT FOR SERVICES       10/25/2018               $15.00
ILLINOIS DEPARTMENT OF
NATURAL RESOURCES        ONE NATURAL RESOURCES WAY                                                   SPRINGFIELD         IL           62702                                  PAYMENT FOR SERVICES       10/25/2018            $1,297.00
ILLINOIS DEPARTMENT OF
NATURAL RESOURCES        ONE NATURAL RESOURCES WAY                                                   SPRINGFIELD         IL           62702                                  PAYMENT FOR SERVICES       10/25/2018            $1,669.25
ILLINOIS DEPARTMENT OF
NATURAL RESOURCES        ONE NATURAL RESOURCES WAY                                                   SPRINGFIELD         IL           62702                                  PAYMENT FOR SERVICES        11/1/2018              $177.50
ILLINOIS DEPARTMENT OF
NATURAL RESOURCES        ONE NATURAL RESOURCES WAY                                                   SPRINGFIELD         IL           62702                                  PAYMENT FOR SERVICES        11/1/2018              $200.25
ILLINOIS DEPARTMENT OF
NATURAL RESOURCES        ONE NATURAL RESOURCES WAY                                                   SPRINGFIELD         IL           62702                                  PAYMENT FOR SERVICES        11/1/2018              $527.00
ILLINOIS DEPARTMENT OF
NATURAL RESOURCES        ONE NATURAL RESOURCES WAY                                                   SPRINGFIELD         IL           62702                                  PAYMENT FOR SERVICES        11/8/2018               $81.00
ILLINOIS DEPARTMENT OF
NATURAL RESOURCES        ONE NATURAL RESOURCES WAY                                                   SPRINGFIELD         IL           62702                                  PAYMENT FOR SERVICES        11/8/2018              $389.50
ILLINOIS DEPARTMENT OF
NATURAL RESOURCES        ONE NATURAL RESOURCES WAY                                                   SPRINGFIELD         IL           62702                                  PAYMENT FOR SERVICES       11/16/2018              $105.00
ILLINOIS DEPARTMENT OF
NATURAL RESOURCES        ONE NATURAL RESOURCES WAY                                                   SPRINGFIELD         IL           62702                                  PAYMENT FOR SERVICES       11/16/2018              $227.00
ILLINOIS DEPARTMENT OF
NATURAL RESOURCES        ONE NATURAL RESOURCES WAY                                                   SPRINGFIELD         IL           62702                                  PAYMENT FOR SERVICES       11/16/2018              $495.00
ILLINOIS DEPARTMENT OF
NATURAL RESOURCES        ONE NATURAL RESOURCES WAY                                                   SPRINGFIELD         IL           62702                                  PAYMENT FOR SERVICES       11/23/2018               $84.00
ILLINOIS DEPARTMENT OF
NATURAL RESOURCES        ONE NATURAL RESOURCES WAY                                                   SPRINGFIELD         IL           62702                                  PAYMENT FOR SERVICES       11/23/2018              $122.50
ILLINOIS DEPARTMENT OF
NATURAL RESOURCES        ONE NATURAL RESOURCES WAY                                                   SPRINGFIELD         IL           62702                                  PAYMENT FOR SERVICES       11/23/2018              $136.00




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       Creditor Name              Address1              Address2                  Address3                 City              State       Zip              Country                   transfer          Payments            Value
ILLINOIS DEPARTMENT OF
NATURAL RESOURCES        ONE NATURAL RESOURCES WAY                                                  SPRINGFIELD         IL           62702                                  PAYMENT FOR SERVICES      11/29/2018              $50.00
ILLINOIS DEPARTMENT OF
NATURAL RESOURCES        ONE NATURAL RESOURCES WAY                                                  SPRINGFIELD         IL           62702                                  PAYMENT FOR SERVICES      11/29/2018              $92.00
ILLINOIS DEPARTMENT OF
NATURAL RESOURCES        ONE NATURAL RESOURCES WAY                                                  SPRINGFIELD         IL           62702                                  PAYMENT FOR SERVICES      11/29/2018              $92.50
ILLINOIS DEPARTMENT OF
NATURAL RESOURCES        ONE NATURAL RESOURCES WAY                                                  SPRINGFIELD         IL           62702                                  PAYMENT FOR SERVICES       12/6/2018              $25.00
ILLINOIS DEPARTMENT OF
NATURAL RESOURCES        ONE NATURAL RESOURCES WAY                                                  SPRINGFIELD         IL           62702                                  PAYMENT FOR SERVICES       12/6/2018              $52.00
ILLINOIS DEPARTMENT OF
NATURAL RESOURCES        ONE NATURAL RESOURCES WAY                                                  SPRINGFIELD         IL           62702                                  PAYMENT FOR SERVICES      12/13/2018                $5.00
ILLINOIS DEPARTMENT OF
NATURAL RESOURCES        ONE NATURAL RESOURCES WAY                                                  SPRINGFIELD         IL           62702                                  PAYMENT FOR SERVICES      12/13/2018              $25.00
ILLINOIS DEPARTMENT OF
NATURAL RESOURCES        ONE NATURAL RESOURCES WAY                                                  SPRINGFIELD         IL           62702                                  PAYMENT FOR SERVICES      12/13/2018              $37.00
ILLINOIS DEPARTMENT OF
NATURAL RESOURCES        ONE NATURAL RESOURCES WAY                                                  SPRINGFIELD         IL           62702                                  PAYMENT FOR SERVICES      12/20/2018              $17.00
ILLINOIS DEPARTMENT OF
NATURAL RESOURCES        ONE NATURAL RESOURCES WAY                                                  SPRINGFIELD         IL           62702                                  PAYMENT FOR SERVICES      12/28/2018                $2.50
ILLINOIS DEPARTMENT OF
NATURAL RESOURCES        ONE NATURAL RESOURCES WAY                                                  SPRINGFIELD         IL           62702                                  PAYMENT FOR SERVICES      12/28/2018                $5.00
ILLINOIS DEPARTMENT OF
NATURAL RESOURCES        ONE NATURAL RESOURCES WAY                                                  SPRINGFIELD         IL           62702                                  PAYMENT FOR SERVICES         1/4/2019             $42.00
ILLINOIS DEPARTMENT OF
NATURAL RESOURCES        ONE NATURAL RESOURCES WAY                                                  SPRINGFIELD         IL           62702                                  PAYMENT FOR SERVICES       1/10/2019              $34.00
ILLINOIS DEPARTMENT OF
REVENUE                  101 WEST JEFFERSON STREET                                                  SPRINGFIELD         IL           62702                                  SALES & USE TAX            10/9/2018          $40,431.00
ILLINOIS DEPARTMENT OF
REVENUE                  101 WEST JEFFERSON STREET                                                  SPRINGFIELD         IL           62702                                  SALES & USE TAX           10/15/2018          $40,431.00
ILLINOIS DEPARTMENT OF
REVENUE                  101 WEST JEFFERSON STREET                                                  SPRINGFIELD         IL           62702                                  SALES & USE TAX           10/22/2018          $40,431.00
ILLINOIS DEPARTMENT OF
REVENUE                  101 WEST JEFFERSON STREET                                                  SPRINGFIELD         IL           62702                                  SALES & USE TAX           10/23/2018         $192,694.00
ILLINOIS DEPARTMENT OF
REVENUE                  101 WEST JEFFERSON STREET                                                  SPRINGFIELD         IL           62702                                  SALES & USE TAX           10/31/2018          $40,431.00
ILLINOIS DEPARTMENT OF
REVENUE                  101 WEST JEFFERSON STREET                                                  SPRINGFIELD         IL           62702                                  SALES & USE TAX            12/7/2018         $135,383.00
ILLINOIS DEPARTMENT OF
REVENUE                  101 WEST JEFFERSON STREET                                                  SPRINGFIELD         IL           62702                                  SALES & USE TAX           12/17/2018         $135,383.00
ILLINOIS DEPARTMENT OF
REVENUE                  101 WEST JEFFERSON STREET                                                  SPRINGFIELD         IL           62702                                  SALES & USE TAX           12/20/2018         $249,026.00
ILLINOIS DEPARTMENT OF
REVENUE                  101 WEST JEFFERSON STREET                                                  SPRINGFIELD         IL           62702                                  SALES & USE TAX           12/24/2018         $135,383.00
ILLINOIS DEPARTMENT OF
REVENUE                  101 WEST JEFFERSON STREET                                                  SPRINGFIELD         IL           62702                                  SALES & USE TAX           12/31/2018         $135,383.00
ILLINOIS DEPARTMENT OF
REVENUE                  101 WEST JEFFERSON STREET                                                  SPRINGFIELD         IL           62702                                  SALES & USE TAX              1/7/2019         $56,928.00
ILLINOIS DEPARTMENT OF
REVENUE                  101 WEST JEFFERSON STREET                                                  SPRINGFIELD         IL           62702                                  SALES & USE TAX            1/15/2019          $56,928.00
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                  SPRINGFIELD         IL           62702                                  PAYMENT FOR SERVICES       10/3/2018             $652.89
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                  SPRINGFIELD         IL           62702                                  PAYMENT FOR SERVICES       10/3/2018             $872.24
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                  SPRINGFIELD         IL           62702                                  PAYMENT FOR SERVICES       10/3/2018           $1,197.92
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                  SPRINGFIELD         IL           62702                                  PAYMENT FOR SERVICES      10/10/2018             $140.37



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                                                                                                                                                                                 Reasons for payment or    Dates of     Total Amount or
       Creditor Name               Address1                Address2                  Address3                 City               State       Zip             Country                    transfer          Payments            Value
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                     SPRINGFIELD          IL           62702                                 PAYMENT FOR SERVICES        10/10/2018            $2,288.76
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                     SPRINGFIELD          IL           62702                                 PAYMENT FOR SERVICES        10/10/2018            $3,514.15
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                     SPRINGFIELD          IL           62702                                 PAYMENT FOR SERVICES        10/17/2018              $200.10
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                     SPRINGFIELD          IL           62702                                 PAYMENT FOR SERVICES        10/17/2018              $765.29
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                     SPRINGFIELD          IL           62702                                 PAYMENT FOR SERVICES        10/17/2018            $1,658.29
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                     SPRINGFIELD          IL           62702                                 PAYMENT FOR SERVICES        10/24/2018               $29.58
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                     SPRINGFIELD          IL           62702                                 PAYMENT FOR SERVICES        10/24/2018              $291.20
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                     SPRINGFIELD          IL           62702                                 PAYMENT FOR SERVICES        10/24/2018              $316.07
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                     SPRINGFIELD          IL           62702                                 PAYMENT FOR SERVICES        10/24/2018              $944.84
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                     SPRINGFIELD          IL           62702                                 PAYMENT FOR SERVICES        10/24/2018            $3,033.34
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                     SPRINGFIELD          IL           62702                                 PAYMENT FOR SERVICES        10/24/2018            $3,848.09
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                     SPRINGFIELD          IL           62702                                 PAYMENT FOR SERVICES        10/31/2018               $65.44
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                     SPRINGFIELD          IL           62702                                 PAYMENT FOR SERVICES        10/31/2018              $791.85
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                     SPRINGFIELD          IL           62702                                 PAYMENT FOR SERVICES        10/31/2018            $1,139.24
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                     SPRINGFIELD          IL           62702                                 PAYMENT FOR SERVICES        10/31/2018            $3,129.36
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                     SPRINGFIELD          IL           62702                                 PAYMENT FOR SERVICES         11/7/2018              $282.31
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                     SPRINGFIELD          IL           62702                                 PAYMENT FOR SERVICES         11/7/2018              $789.93
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                     SPRINGFIELD          IL           62702                                 PAYMENT FOR SERVICES         11/7/2018            $2,226.71
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                     SPRINGFIELD          IL           62702                                 PAYMENT FOR SERVICES        11/14/2018               $77.56
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                     SPRINGFIELD          IL           62702                                 PAYMENT FOR SERVICES        11/14/2018              $173.68
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                     SPRINGFIELD          IL           62702                                 PAYMENT FOR SERVICES        11/14/2018              $916.99
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                     SPRINGFIELD          IL           62702                                 PAYMENT FOR SERVICES        11/21/2018              $545.95
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                     SPRINGFIELD          IL           62702                                 PAYMENT FOR SERVICES        11/21/2018              $813.06
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                     SPRINGFIELD          IL           62702                                 PAYMENT FOR SERVICES        11/21/2018              $886.74
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                     SPRINGFIELD          IL           62702                                 PAYMENT FOR SERVICES        11/21/2018            $1,299.49
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                     SPRINGFIELD          IL           62702                                 PAYMENT FOR SERVICES        11/21/2018            $2,065.17
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                     SPRINGFIELD          IL           62702                                 PAYMENT FOR SERVICES        11/28/2018              $234.01
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                     SPRINGFIELD          IL           62702                                 PAYMENT FOR SERVICES        11/28/2018              $592.98
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                     SPRINGFIELD          IL           62702                                 PAYMENT FOR SERVICES        11/28/2018            $1,891.22
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                     SPRINGFIELD          IL           62702                                 PAYMENT FOR SERVICES         12/5/2018              $186.38
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                     SPRINGFIELD          IL           62702                                 PAYMENT FOR SERVICES         12/5/2018            $1,908.82
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                     SPRINGFIELD          IL           62702                                 PAYMENT FOR SERVICES        12/12/2018            $1,375.07
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                     SPRINGFIELD          IL           62702                                 PAYMENT FOR SERVICES        12/19/2018            $2,854.43
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                     SPRINGFIELD          IL           62702                                 PAYMENT FOR SERVICES        12/27/2018            $3,807.26
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                     SPRINGFIELD          IL           62702                                 PAYMENT FOR SERVICES          1/3/2019              $522.17
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                     SPRINGFIELD          IL           62702                                 PAYMENT FOR SERVICES          1/3/2019            $2,339.32
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                     SPRINGFIELD          IL           62702                                 PAYMENT FOR SERVICES          1/3/2019            $2,586.13
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                     SPRINGFIELD          IL           62702                                 PAYMENT FOR SERVICES          1/9/2019              $204.01
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                     SPRINGFIELD          IL           62702                                 PAYMENT FOR SERVICES          1/9/2019              $625.85
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                     SPRINGFIELD          IL           62702                                 PAYMENT FOR SERVICES          1/9/2019            $1,868.39
ILLINOIS LOTTERY         101 WEST JEFFERSON STREET                                                     SPRINGFIELD          IL           62702                                 PAYMENT FOR SERVICES          1/9/2019            $2,671.25
ILLUSIONS & DESIGN LLC   DBA SPRING GREEN FLORAL     200 S CENTRAL AVE                                 MARSHFIELD           WI           54449                                 SUPPLIERS OR VENDORS         11/1/2018               $42.21
ILOVETOCREATE            DUNCAN ENTERPRISES          PO BOX 204147                                     DALLAS               TX           75320-4147                            SUPPLIERS OR VENDORS        10/18/2018               $57.52
ILOVETOCREATE            DUNCAN ENTERPRISES          PO BOX 204147                                     DALLAS               TX           75320-4147                            SUPPLIERS OR VENDORS         11/1/2018            $8,001.18
ILOVETOCREATE            DUNCAN ENTERPRISES          PO BOX 204147                                     DALLAS               TX           75320-4147                            SUPPLIERS OR VENDORS        11/15/2018              $200.88
ILOVETOCREATE            DUNCAN ENTERPRISES          PO BOX 204147                                     DALLAS               TX           75320-4147                            SUPPLIERS OR VENDORS        11/22/2018               $66.96
IMAGININGS THREE                                     6401 GROSS POINT
COMPANY                  VICE PRESIDENT OF SALES     ROAD                                              NILES                IL           60714                                 SUPPLIERS OR VENDORS       11/29/2018              $737.65

IMAN KIAEI               1401 NE MERMANDR. APT. 312 APT 63E                                            PULLMAN              WA           99163                                 SUPPLIERS OR VENDORS       11/26/2018                $7.01

IMAN KIAEI               1401 NE MERMANDR. APT. 312 APT 63E                                            PULLMAN              WA           99163                                 SUPPLIERS OR VENDORS        12/3/2018               $85.78
IMELDA GONZALEZ          PO BOX 5464                                                                   WENATCHEE            WA           98801                                 SUPPLIERS OR VENDORS        11/9/2018               $97.99




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                                                                                                                                                                               Reasons for payment or    Dates of    Total Amount or
      Creditor Name              Address1                 Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
IMPACT INNOVATIONS
INCORPORATED            PO BOX 426                                                                    CLARA CITY          MN           56222                                  SUPPLIERS OR VENDORS      10/23/2018         $23,682.72
IMPACT INNOVATIONS
INCORPORATED            PO BOX 426                                                                    CLARA CITY          MN           56222                                  SUPPLIERS OR VENDORS       11/6/2018         $32,506.80
IMPACT INNOVATIONS
INCORPORATED            PO BOX 426                                                                    CLARA CITY          MN           56222                                  SUPPLIERS OR VENDORS       11/8/2018           $4,881.24
IMPACT INNOVATIONS
INCORPORATED            PO BOX 426                                                                    CLARA CITY          MN           56222                                  SUPPLIERS OR VENDORS      11/29/2018         $75,890.06
IMPACT INNOVATIONS
INCORPORATED            PO BOX 426                                                                    CLARA CITY          MN           56222                                  SUPPLIERS OR VENDORS       12/6/2018           $9,280.94

                        DIVISION OF CONSTRUCTION   4005 ROYAL DRIVE STE
IMPACT SPECIALTIES      SPECIALTIES INC            300                                                KENNESAW            GA           30144-5278                             SUPPLIERS OR VENDORS      11/12/2018           $7,988.37

                        DIVISION OF CONSTRUCTION   4005 ROYAL DRIVE STE
IMPACT SPECIALTIES      SPECIALTIES INC            300                                                KENNESAW            GA           30144-5278                             SUPPLIERS OR VENDORS      12/20/2018           $1,932.61

IMPAK LUGGAGE L L C     12 ROUTE 17 NORTH SUITE 318 PAM TO ORACLE                                     PARAMUS             NJ           07652                                  SUPPLIERS OR VENDORS      10/18/2018            $200.00

IMPAK LUGGAGE L L C     12 ROUTE 17 NORTH SUITE 318 PAM TO ORACLE                                     PARAMUS             NJ           07652                                  SUPPLIERS OR VENDORS      10/20/2018         $88,735.50

IMPAK LUGGAGE L L C     12 ROUTE 17 NORTH SUITE 318 PAM TO ORACLE                                     PARAMUS             NJ           07652                                  SUPPLIERS OR VENDORS      10/23/2018           $1,609.30

IMPAK LUGGAGE L L C     12 ROUTE 17 NORTH SUITE 318 PAM TO ORACLE                                     PARAMUS             NJ           07652                                  SUPPLIERS OR VENDORS      11/10/2018           $1,711.90

IMPAK LUGGAGE L L C     12 ROUTE 17 NORTH SUITE 318 PAM TO ORACLE                                     PARAMUS             NJ           07652                                  SUPPLIERS OR VENDORS      11/13/2018         $25,636.80

IMPAK LUGGAGE L L C     12 ROUTE 17 NORTH SUITE 318 PAM TO ORACLE                                     PARAMUS             NJ           07652                                  SUPPLIERS OR VENDORS      11/14/2018         $11,453.20

IMPAK LUGGAGE L L C     12 ROUTE 17 NORTH SUITE 318 PAM TO ORACLE                                     PARAMUS             NJ           07652                                  SUPPLIERS OR VENDORS      11/15/2018         $60,012.70

IMPAK LUGGAGE L L C     12 ROUTE 17 NORTH SUITE 318 PAM TO ORACLE                                     PARAMUS             NJ           07652                                  SUPPLIERS OR VENDORS      11/16/2018           $5,752.40

IMPAK LUGGAGE L L C     12 ROUTE 17 NORTH SUITE 318 PAM TO ORACLE                                     PARAMUS             NJ           07652                                  SUPPLIERS OR VENDORS      11/17/2018         $17,640.00

IMPAK LUGGAGE L L C     12 ROUTE 17 NORTH SUITE 318 PAM TO ORACLE                                     PARAMUS             NJ           07652                                  SUPPLIERS OR VENDORS      11/24/2018            $494.00

IMPAK LUGGAGE L L C     12 ROUTE 17 NORTH SUITE 318 PAM TO ORACLE                                     PARAMUS             NJ           07652                                  SUPPLIERS OR VENDORS      11/28/2018            $285.00

IMPAK LUGGAGE L L C     12 ROUTE 17 NORTH SUITE 318 PAM TO ORACLE                                     PARAMUS             NJ           07652                                  SUPPLIERS OR VENDORS      11/30/2018            $144.80
IMPEX INCORPORATED      4957 Summer Wind Drive                                                        Buford              GA           30519                                  SUPPLIERS OR VENDORS      10/18/2018            $107.00
IMPEX INCORPORATED      4957 Summer Wind Drive                                                        Buford              GA           30519                                  SUPPLIERS OR VENDORS       11/1/2018            $135.00
IMPEX INCORPORATED      4957 Summer Wind Drive                                                        Buford              GA           30519                                  SUPPLIERS OR VENDORS      11/15/2018            $205.16
IMPEX INCORPORATED      4957 Summer Wind Drive                                                        Buford              GA           30519                                  SUPPLIERS OR VENDORS      11/22/2018            $135.00

IMS TRADING CORPORATION PO BOX 416148                                                                 BOSTON              MA           02241-6148                             SUPPLIERS OR VENDORS      10/18/2018           $5,205.86

IMS TRADING CORPORATION PO BOX 416148                                                                 BOSTON              MA           02241-6148                             SUPPLIERS OR VENDORS      10/25/2018           $3,890.28

IMS TRADING CORPORATION PO BOX 416148                                                                 BOSTON              MA           02241-6148                             SUPPLIERS OR VENDORS       11/1/2018           $4,846.64

IMS TRADING CORPORATION PO BOX 416148                                                                 BOSTON              MA           02241-6148                             SUPPLIERS OR VENDORS       11/8/2018           $8,148.78

IMS TRADING CORPORATION PO BOX 416148                                                                 BOSTON              MA           02241-6148                             SUPPLIERS OR VENDORS      11/22/2018           $4,669.81



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                                                                                                                                                                                  Reasons for payment or    Dates of     Total Amount or
      Creditor Name                Address1                  Address2                  Address3                 City              State       Zip              Country                   transfer          Payments            Value

IMS TRADING CORPORATION PO BOX 416148                                                                    BOSTON              MA           02241-6148                             SUPPLIERS OR VENDORS      11/29/2018            $7,809.92
IMS TRADING LLC         FIRST PMF BANCORP              PO BOX 1488                                       CULVER CITY         CA           90232                                  SUPPLIERS OR VENDORS      11/15/2018              $840.96
                        SHOPKO STORES
IN ADVANCE              INCORPORATED                   PO BOX 19060           UNF $691.42 120798         GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/29/2018          $37,678.08
                        1531 SOUTH CURRY PIKE, SUITE
IN DEPT OF REVENUE      400                                                                              BLOOMINGTON         IN           47403                                  SALES/USE TAX             11/20/2018            $1,127.66
                        1531 SOUTH CURRY PIKE, SUITE
IN DEPT OF REVENUE      400                                                                              BLOOMINGTON         IN           47403                                  SALES/USE TAX             11/20/2018          $74,329.30
                        1531 SOUTH CURRY PIKE, SUITE
IN WPC 911 FEE          400                                                                              BLOOMINGTON         IN           47403                                  SALES/USE TAX             11/20/2018              $65.34
IN ZONE BRANDS
INCORPORATED            SHOPKO STORES                  PO BOX 19060           DISC 06/08/06              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/25/2018            $4,437.46
IN ZONE BRANDS
INCORPORATED            SHOPKO STORES                  PO BOX 19060           DISC 06/08/06              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/1/2018          $11,294.64
IN ZONE BRANDS
INCORPORATED            SHOPKO STORES                  PO BOX 19060           DISC 06/08/06              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/22/2018          $22,589.28
INDEED INCORPORATED     MAIL CODE 5160                 PO BOX 660367                                     DALLAS              TX           75266-0367                             SUPPLIERS OR VENDORS      10/18/2018           $1,000.00
INDEED INCORPORATED     MAIL CODE 5160                 PO BOX 660367                                     DALLAS              TX           75266-0367                             SUPPLIERS OR VENDORS       11/8/2018          $17,250.00
INDEED INCORPORATED     MAIL CODE 5160                 PO BOX 660367                                     DALLAS              TX           75266-0367                             SUPPLIERS OR VENDORS      11/15/2018          $10,000.00
INDIANA DEPARTMENT OF 402 WEST WASHINGTON
NATURAL RESOURCES       STREET                                                                           INDIANAPOLIS        IN           46204                                  PAYMENT FOR SERVICES       10/2/2018             $301.50
INDIANA DEPARTMENT OF 402 WEST WASHINGTON
NATURAL RESOURCES       STREET                                                                           INDIANAPOLIS        IN           46204                                  PAYMENT FOR SERVICES      10/10/2018            $1,568.00
INDIANA DEPARTMENT OF 402 WEST WASHINGTON
NATURAL RESOURCES       STREET                                                                           INDIANAPOLIS        IN           46204                                  PAYMENT FOR SERVICES      10/16/2018             $981.00
INDIANA DEPARTMENT OF 402 WEST WASHINGTON
NATURAL RESOURCES       STREET                                                                           INDIANAPOLIS        IN           46204                                  PAYMENT FOR SERVICES      10/23/2018             $482.75
INDIANA DEPARTMENT OF 402 WEST WASHINGTON
NATURAL RESOURCES       STREET                                                                           INDIANAPOLIS        IN           46204                                  PAYMENT FOR SERVICES      10/30/2018             $434.75
INDIANA DEPARTMENT OF 402 WEST WASHINGTON
NATURAL RESOURCES       STREET                                                                           INDIANAPOLIS        IN           46204                                  PAYMENT FOR SERVICES       11/6/2018             $658.00
INDIANA DEPARTMENT OF 402 WEST WASHINGTON
NATURAL RESOURCES       STREET                                                                           INDIANAPOLIS        IN           46204                                  PAYMENT FOR SERVICES      11/14/2018             $720.25
INDIANA DEPARTMENT OF 402 WEST WASHINGTON
NATURAL RESOURCES       STREET                                                                           INDIANAPOLIS        IN           46204                                  PAYMENT FOR SERVICES      11/20/2018             $668.00
INDIANA DEPARTMENT OF 402 WEST WASHINGTON
NATURAL RESOURCES       STREET                                                                           INDIANAPOLIS        IN           46204                                  PAYMENT FOR SERVICES      11/27/2018            $1,932.75
INDIANA DEPARTMENT OF 402 WEST WASHINGTON
NATURAL RESOURCES       STREET                                                                           INDIANAPOLIS        IN           46204                                  PAYMENT FOR SERVICES       12/4/2018             $310.75
INDIANA DEPARTMENT OF 402 WEST WASHINGTON
NATURAL RESOURCES       STREET                                                                           INDIANAPOLIS        IN           46204                                  PAYMENT FOR SERVICES      12/11/2018              $46.50
INDIANA DEPARTMENT OF 402 WEST WASHINGTON
NATURAL RESOURCES       STREET                                                                           INDIANAPOLIS        IN           46204                                  PAYMENT FOR SERVICES      12/18/2018             $185.25
INDIANA DEPARTMENT OF 402 WEST WASHINGTON
NATURAL RESOURCES       STREET                                                                           INDIANAPOLIS        IN           46204                                  PAYMENT FOR SERVICES      12/26/2018              $24.25
INDIANA DEPARTMENT OF 402 WEST WASHINGTON
NATURAL RESOURCES       STREET                                                                           INDIANAPOLIS        IN           46204                                  PAYMENT FOR SERVICES         1/2/2019             $23.25
INDIANA DEPARTMENT OF 402 WEST WASHINGTON
NATURAL RESOURCES       STREET                                                                           INDIANAPOLIS        IN           46204                                  PAYMENT FOR SERVICES         1/8/2019             $14.50
INDIANA DEPARTMENT OF 1531 SOUTH CURRY PIKE, SUITE
REVENUE                 400                                                                              BLOOMINGTON         IN           47403                                  SALES & USE TAX           10/22/2018              $50.49
INDIANA DEPARTMENT OF 1531 SOUTH CURRY PIKE, SUITE
REVENUE                 400                                                                              BLOOMINGTON         IN           47403                                  SALES & USE TAX           10/22/2018            $1,055.02



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                                                                                                                                                                                     Reasons for payment or    Dates of    Total Amount or
       Creditor Name                Address1                    Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
INDIANA DEPARTMENT OF      1531 SOUTH CURRY PIKE, SUITE
REVENUE                    400                                                                              BLOOMINGTON         IN           47403                                  SALES & USE TAX           10/22/2018         $86,719.19
INDIANA DEPARTMENT OF      1531 SOUTH CURRY PIKE, SUITE
REVENUE                    400                                                                              BLOOMINGTON         IN           47403                                  SALES & USE TAX           12/20/2018            $106.92
INDIANA DEPARTMENT OF      1531 SOUTH CURRY PIKE, SUITE
REVENUE                    400                                                                              BLOOMINGTON         IN           47403                                  SALES & USE TAX           12/20/2018           $4,106.82
INDIANA DEPARTMENT OF      1531 SOUTH CURRY PIKE, SUITE
REVENUE                    400                                                                              BLOOMINGTON         IN           47403                                  SALES & USE TAX           12/20/2018         $28,407.21
INDIANA DEPARTMENT OF      1531 SOUTH CURRY PIKE, SUITE
REVENUE                    400                                                                              BLOOMINGTON         IN           47403                                  SALES & USE TAX           12/20/2018         $96,349.09
INFINITY COMPOUNDING
SOLUTIONS LLC              PO BOX 699                                                                       BENTONVILLE         AR           72712                                  SUPPLIERS OR VENDORS       11/2/2018         $16,737.00
INFINITY RETAIL SERVICES   585 WESTERN BLVD                                                                 TURTLE LAKE         WI           54889                                  SUPPLIERS OR VENDORS       11/1/2018            $114.81
INFINITY RETAIL SERVICES   585 WESTERN BLVD                                                                 TURTLE LAKE         WI           54889                                  SUPPLIERS OR VENDORS       11/1/2018         $27,152.83
INFIRST HEALTHCARE INC     PO BOX 536562                                                                    PITTSBURGH          PA           15253                                  SUPPLIERS OR VENDORS      10/18/2018            $456.29
INFIRST HEALTHCARE INC     PO BOX 536562                                                                    PITTSBURGH          PA           15253                                  SUPPLIERS OR VENDORS      10/25/2018          $1,307.71
INFIRST HEALTHCARE INC     PO BOX 536562                                                                    PITTSBURGH          PA           15253                                  SUPPLIERS OR VENDORS       11/8/2018            $691.98
INFIRST HEALTHCARE INC     PO BOX 536562                                                                    PITTSBURGH          PA           15253                                  SUPPLIERS OR VENDORS      11/22/2018          $1,333.58
INFIRST HEALTHCARE INC     PO BOX 536562                                                                    PITTSBURGH          PA           15253                                  SUPPLIERS OR VENDORS      11/29/2018            $999.60

INFO HOLD INCORPORATED     4120 AIRPORT ROAD                                                                CINCINNATI          OH           45226                                  SUPPLIERS OR VENDORS      10/18/2018           $7,043.94

INFO HOLD INCORPORATED     4120 AIRPORT ROAD                                                                CINCINNATI          OH           45226                                  SUPPLIERS OR VENDORS      11/15/2018          $7,043.94
INFOWERKS                  3087 E RUSSEL ROAD, SUITE C                                                      LAS VEGAS           NV           89122                                  BANKRUPTCY SERVICES        1/10/2019         $95,625.00
INFOWERKS                  3086 E RUSSEL ROAD, SUITE C                                                      LAS VEGAS           NV           89121                                  BANKRUPTCY SERVICES        1/14/2019         $57,375.00
INFOWERKS                  3085 E RUSSEL ROAD, SUITE C                                                      LAS VEGAS           NV           89120                                  BANKRUPTCY SERVICES        1/15/2019         $38,250.00
                                                          15768 COLLECTIONS
INGERSOLL RAND COMPANY     AIR SOLUTIONS GROUP            CENTER DRIVE                                      CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       12/7/2018           $2,003.72
INGRAM ENTERTAINMENT
INC                        TWO INGRAM BOULEVARD                                                             LA VERGNE           TN           37089-7006                             SUPPLIERS OR VENDORS      10/18/2018           $5,106.91
INGRAM ENTERTAINMENT
INC                        TWO INGRAM BOULEVARD                                                             LA VERGNE           TN           37089-7006                             SUPPLIERS OR VENDORS      10/19/2018         $12,388.06
INGRAM ENTERTAINMENT
INC                        TWO INGRAM BOULEVARD                                                             LA VERGNE           TN           37089-7006                             SUPPLIERS OR VENDORS      10/20/2018         $33,963.01
INGRAM ENTERTAINMENT
INC                        TWO INGRAM BOULEVARD                                                             LA VERGNE           TN           37089-7006                             SUPPLIERS OR VENDORS      10/23/2018        $113,481.42
INGRAM ENTERTAINMENT
INC                        TWO INGRAM BOULEVARD                                                             LA VERGNE           TN           37089-7006                             SUPPLIERS OR VENDORS      10/27/2018           $4,982.28
INGRAM ENTERTAINMENT
INC                        TWO INGRAM BOULEVARD                                                             LA VERGNE           TN           37089-7006                             SUPPLIERS OR VENDORS      10/30/2018         $91,080.97
INGRAM ENTERTAINMENT
INC                        TWO INGRAM BOULEVARD                                                             LA VERGNE           TN           37089-7006                             SUPPLIERS OR VENDORS      10/31/2018       $1,771,473.27
INGRAM ENTERTAINMENT
INC                        TWO INGRAM BOULEVARD                                                             LA VERGNE           TN           37089-7006                             SUPPLIERS OR VENDORS       11/1/2018         $33,475.76
INGRAM ENTERTAINMENT
INC                        TWO INGRAM BOULEVARD                                                             LA VERGNE           TN           37089-7006                             SUPPLIERS OR VENDORS       11/2/2018         $33,002.56
INGRAM ENTERTAINMENT
INC                        TWO INGRAM BOULEVARD                                                             LA VERGNE           TN           37089-7006                             SUPPLIERS OR VENDORS      11/10/2018        $478,417.73
INGRAM ENTERTAINMENT
INC                        TWO INGRAM BOULEVARD                                                             LA VERGNE           TN           37089-7006                             SUPPLIERS OR VENDORS      11/13/2018       $1,096,292.79
INGRAM ENTERTAINMENT
INC                        TWO INGRAM BOULEVARD                                                             LA VERGNE           TN           37089-7006                             SUPPLIERS OR VENDORS      11/14/2018           $3,759.70
INGRAM ENTERTAINMENT
INC                        TWO INGRAM BOULEVARD                                                             LA VERGNE           TN           37089-7006                             SUPPLIERS OR VENDORS      11/30/2018           $1,015.42



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                                                                                                                                                                                 Reasons for payment or    Dates of    Total Amount or
      Creditor Name               Address1                  Address2                  Address3                   City            State       Zip              Country                   transfer          Payments           Value
INGRAM ENTERTAINMENT
INC                     TWO INGRAM BOULEVARD                                                            LA VERGNE           TN           37089-7006                             SUPPLIERS OR VENDORS       12/6/2018         $60,111.16
INGRAM MICRO            PO BOX 90352                                                                    CHICAGO             IL           60696-0352                             SUPPLIERS OR VENDORS      10/20/2018        $449,978.76
INGRAM MICRO            PO BOX 90352                                                                    CHICAGO             IL           60696-0352                             SUPPLIERS OR VENDORS      10/27/2018         $25,171.27
INGRAM MICRO            PO BOX 90352                                                                    CHICAGO             IL           60696-0352                             SUPPLIERS OR VENDORS      10/30/2018         $18,413.75
INGRAM MICRO            PO BOX 90352                                                                    CHICAGO             IL           60696-0352                             SUPPLIERS OR VENDORS      10/31/2018         $16,605.26
INGRAM MICRO            PO BOX 90352                                                                    CHICAGO             IL           60696-0352                             SUPPLIERS OR VENDORS       11/2/2018         $12,663.30
INGRAM MICRO            PO BOX 90352                                                                    CHICAGO             IL           60696-0352                             SUPPLIERS OR VENDORS       11/3/2018        $199,655.42
INGRAM MICRO            PO BOX 90352                                                                    CHICAGO             IL           60696-0352                             SUPPLIERS OR VENDORS       11/7/2018        $575,077.25
INGRAM MICRO            PO BOX 90352                                                                    CHICAGO             IL           60696-0352                             SUPPLIERS OR VENDORS      11/17/2018         $64,822.34
INGRAM MICRO            PO BOX 90352                                                                    CHICAGO             IL           60696-0352                             SUPPLIERS OR VENDORS      11/24/2018         $62,726.69
INGRAM MICRO            PO BOX 90352                                                                    CHICAGO             IL           60696-0352                             SUPPLIERS OR VENDORS      11/28/2018        $101,727.48
INGRAM MICRO            PO BOX 90352                                                                    CHICAGO             IL           60696-0352                             SUPPLIERS OR VENDORS       12/1/2018        $590,436.73
INGRAM MICRO            PO BOX 90352                                                                    CHICAGO             IL           60696-0352                             SUPPLIERS OR VENDORS       12/4/2018         $43,159.78
INGRID REVIE-MARSHALL   114 N WATER ST                                                                  EVANSVILLE          WI           53536                                  SUPPLIERS OR VENDORS      10/29/2018             $25.00
INKOLOGY LLC            PO BOX 3883                                                                     CAROL STREAM        IL           60132-3883                             SUPPLIERS OR VENDORS       11/1/2018          $3,024.00
INKOLOGY LLC            PO BOX 3883                                                                     CAROL STREAM        IL           60132-3883                             SUPPLIERS OR VENDORS      11/15/2018          $2,291.76
INLAND DIAMOND
PRODUCTS COMPANY        32051 HOWARD AVENUE                                                             MADISON HEIGHTS MI               48071                                  SUPPLIERS OR VENDORS      11/12/2018             $52.80
INLAND DIAMOND
PRODUCTS COMPANY        32051 HOWARD AVENUE                                                             MADISON HEIGHTS MI               48071                                  SUPPLIERS OR VENDORS      11/30/2018            $556.00
INLAND DIAMOND
PRODUCTS COMPANY        32051 HOWARD AVENUE                                                             MADISON HEIGHTS MI               48071                                  SUPPLIERS OR VENDORS       12/7/2018           $1,256.00
                        CAROLINA LOGISTICS SERVICES
INMAR INCORPORATED      LLC                           PO BOX 75205                                      CHARLOTTE           NC           28275-0205                             SUPPLIERS OR VENDORS      10/30/2018         $98,241.48
                        CAROLINA LOGISTICS SERVICES
INMAR INCORPORATED      LLC                           PO BOX 75205                                      CHARLOTTE           NC           28275-0205                             SUPPLIERS OR VENDORS      11/27/2018         $78,592.45
INNOMARK
COMMUNICATIONS LLC      ATTN ACCOUNTS RECEIVABLE      PO BOX 933145                                     CLEVELAND           OH           44193                                  SUPPLIERS OR VENDORS      10/18/2018         $46,911.42
INNOMARK
COMMUNICATIONS LLC      ATTN ACCOUNTS RECEIVABLE      PO BOX 933145                                     CLEVELAND           OH           44193                                  SUPPLIERS OR VENDORS      10/25/2018             $16.45
INNOMARK
COMMUNICATIONS LLC      ATTN ACCOUNTS RECEIVABLE      PO BOX 933145                                     CLEVELAND           OH           44193                                  SUPPLIERS OR VENDORS       11/1/2018         $29,158.63
INNOMARK
COMMUNICATIONS LLC      ATTN ACCOUNTS RECEIVABLE      PO BOX 933145                                     CLEVELAND           OH           44193                                  SUPPLIERS OR VENDORS       11/8/2018           $2,523.20
INNOVATIVE FIXTURE
SOLUTIONS               PO BOX 205392                                                                   DALLAS              TX           75320-5392                             SUPPLIERS OR VENDORS       11/1/2018            $211.29

INNOVATIVE TECHNOLOGY                                                                                   PORT
ELECTRONICS LLC         1 CHANNEL DR                                                                    WASHINGTON          NY           11050                                  SUPPLIERS OR VENDORS       11/7/2018           $1,489.27

INNOVATIVE TECHNOLOGY                                                                                   PORT
ELECTRONICS LLC         1 CHANNEL DR                                                                    WASHINGTON          NY           11050                                  SUPPLIERS OR VENDORS      11/12/2018         $10,449.01

INNOVATIVE TECHNOLOGY                                                                                   PORT
ELECTRONICS LLC         1 CHANNEL DR                                                                    WASHINGTON          NY           11050                                  SUPPLIERS OR VENDORS      11/22/2018             $100.00
INOVATEX LLC            577 AIRPORT BLVD STE 200                                                        BURLINGAME          CA           94010                                  SUPPLIERS OR VENDORS      10/18/2018             $849.71
INOVATEX LLC            577 AIRPORT BLVD STE 200                                                        BURLINGAME          CA           94010                                  SUPPLIERS OR VENDORS      10/25/2018           $6,940.80
INOVATEX LLC            577 AIRPORT BLVD STE 200                                                        BURLINGAME          CA           94010                                  SUPPLIERS OR VENDORS       11/1/2018             $239.80
INOVATEX LLC            577 AIRPORT BLVD STE 200                                                        BURLINGAME          CA           94010                                  SUPPLIERS OR VENDORS       11/8/2018           $7,026.30
INOVATEX LLC            577 AIRPORT BLVD STE 200                                                        BURLINGAME          CA           94010                                  SUPPLIERS OR VENDORS      11/15/2018           $3,081.60
INOVATEX LLC            577 AIRPORT BLVD STE 200                                                        BURLINGAME          CA           94010                                  SUPPLIERS OR VENDORS      11/22/2018           $4,933.00
INOVATEX LLC            577 AIRPORT BLVD STE 200                                                        BURLINGAME          CA           94010                                  SUPPLIERS OR VENDORS      11/29/2018           $3,264.20




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                                                                                                                                                                                     Reasons for payment or    Dates of     Total Amount or
       Creditor Name                  Address1                  Address2                  Address3                 City              State       Zip              Country                   transfer          Payments            Value
INSIDE OUT INTERNATIONAL
LLC                        122 Noble Court                                                                  Green Bay           WI           54311                                  SUPPLIERS OR VENDORS      12/13/2018        $1,574,893.12
INSIDE OUT INTERNATIONAL
LLC                        122 Noble Court                                                                  Green Bay           WI           54311                                  SUPPLIERS OR VENDORS      12/19/2018         $367,825.00
INSIDE OUT INTERNATIONAL
LLC                        122 Noble Court                                                                  Green Bay           WI           54311                                  SUPPLIERS OR VENDORS      12/21/2018          $58,493.88
INSPIRED BEAUTY BRANDS                                    330 SEVENTH AVE 16TH
INC                        ATTN ACCTS RECEIVABLE DEPT     FLOOR                                             NEW YORK            NY           10001-0000                             SUPPLIERS OR VENDORS      10/18/2018            $1,336.97
INSPIRED BEAUTY BRANDS                                    330 SEVENTH AVE 16TH
INC                        ATTN ACCTS RECEIVABLE DEPT     FLOOR                                             NEW YORK            NY           10001-0000                             SUPPLIERS OR VENDORS       11/1/2018             $163.73
INSPIRED BEAUTY BRANDS                                    330 SEVENTH AVE 16TH
INC                        ATTN ACCTS RECEIVABLE DEPT     FLOOR                                             NEW YORK            NY           10001-0000                             SUPPLIERS OR VENDORS       11/8/2018            $2,489.47
INSPIRED BEAUTY BRANDS                                    330 SEVENTH AVE 16TH
INC                        ATTN ACCTS RECEIVABLE DEPT     FLOOR                                             NEW YORK            NY           10001-0000                             SUPPLIERS OR VENDORS      11/15/2018            $1,968.02
INSPIRED BEAUTY BRANDS                                    330 SEVENTH AVE 16TH
INC                        ATTN ACCTS RECEIVABLE DEPT     FLOOR                                             NEW YORK            NY           10001-0000                             SUPPLIERS OR VENDORS      11/22/2018            $2,116.80

INSTA STOR INCORPORATED 1516 W MARINA DRIVE                                                                 MOSES LAKE          WA           98837                                  SUPPLIERS OR VENDORS       11/9/2018             $132.50

INSTA STOR INCORPORATED 1516 W MARINA DRIVE                                                                 MOSES LAKE          WA           98837                                  SUPPLIERS OR VENDORS      12/18/2018             $132.50

INSTA STOR INCORPORATED 1516 W MARINA DRIVE                                                                 MOSES LAKE          WA           98837                                  SUPPLIERS OR VENDORS         1/5/2019            $132.50

INTELEX USA LLC            105 PRAIRIE LAKE ROAD UNIT D                                                     EAST DUNDEE         IL           60118                                  SUPPLIERS OR VENDORS      10/19/2018             $835.74

INTELEX USA LLC            105 PRAIRIE LAKE ROAD UNIT D                                                     EAST DUNDEE         IL           60118                                  SUPPLIERS OR VENDORS      10/26/2018             $196.11

INTELEX USA LLC            105 PRAIRIE LAKE ROAD UNIT D                                                     EAST DUNDEE         IL           60118                                  SUPPLIERS OR VENDORS       11/6/2018          $18,671.71

INTELEX USA LLC            105 PRAIRIE LAKE ROAD UNIT D                                                     EAST DUNDEE         IL           60118                                  SUPPLIERS OR VENDORS       11/9/2018            $4,604.04

INTELEX USA LLC            105 PRAIRIE LAKE ROAD UNIT D                                                     EAST DUNDEE         IL           60118                                  SUPPLIERS OR VENDORS      11/13/2018          $28,806.40

INTELEX USA LLC            105 PRAIRIE LAKE ROAD UNIT D                                                     EAST DUNDEE         IL           60118                                  SUPPLIERS OR VENDORS      11/23/2018          $41,580.00

INTELEX USA LLC            105 PRAIRIE LAKE ROAD UNIT D                                                     EAST DUNDEE         IL           60118                                  SUPPLIERS OR VENDORS      11/27/2018            $2,268.00

INTELEX USA LLC            105 PRAIRIE LAKE ROAD UNIT D                                                     EAST DUNDEE         IL           60118                                  SUPPLIERS OR VENDORS      11/30/2018          $17,236.80
INTERDESIGN
INCORPORATED               29424 NETWORK PLACE                                                              CHICAGO             IL           60673-1294                             SUPPLIERS OR VENDORS      10/18/2018          $23,606.19
INTERDESIGN
INCORPORATED               29424 NETWORK PLACE                                                              CHICAGO             IL           60673-1294                             SUPPLIERS OR VENDORS      10/25/2018          $12,026.94
INTERDESIGN
INCORPORATED               29424 NETWORK PLACE                                                              CHICAGO             IL           60673-1294                             SUPPLIERS OR VENDORS       11/1/2018            $4,022.19
INTERDESIGN
INCORPORATED               29424 NETWORK PLACE                                                              CHICAGO             IL           60673-1294                             SUPPLIERS OR VENDORS       11/8/2018          $40,473.54
INTERDESIGN
INCORPORATED               29424 NETWORK PLACE                                                              CHICAGO             IL           60673-1294                             SUPPLIERS OR VENDORS      11/15/2018              $94.58
INTERDESIGN
INCORPORATED               29424 NETWORK PLACE                                                              CHICAGO             IL           60673-1294                             SUPPLIERS OR VENDORS      11/22/2018          $60,208.36
INTERDESIGN
INCORPORATED               29424 NETWORK PLACE                                                              CHICAGO             IL           60673-1294                             SUPPLIERS OR VENDORS      11/29/2018          $15,795.02
INTERMOUNTAIN
DISTRIBUTING CO            WRONG ID                                                                         BILLINGS            MT           59103-0000                             SUPPLIERS OR VENDORS      10/22/2018             $976.05



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                                                                                                                                                                                  Reasons for payment or    Dates of    Total Amount or
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INTERMOUNTAIN
DISTRIBUTING CO           WRONG ID                                                                       BILLINGS            MT           59103-0000                             SUPPLIERS OR VENDORS      10/24/2018            $235.60
INTERMOUNTAIN
DISTRIBUTING CO           WRONG ID                                                                       BILLINGS            MT           59103-0000                             SUPPLIERS OR VENDORS      10/29/2018            $625.90
INTERMOUNTAIN
DISTRIBUTING CO           WRONG ID                                                                       BILLINGS            MT           59103-0000                             SUPPLIERS OR VENDORS       11/1/2018             $89.20
INTERMOUNTAIN
DISTRIBUTING CO           WRONG ID                                                                       BILLINGS            MT           59103-0000                             SUPPLIERS OR VENDORS       11/5/2018            $537.40
INTERMOUNTAIN
DISTRIBUTING CO           WRONG ID                                                                       BILLINGS            MT           59103-0000                             SUPPLIERS OR VENDORS       11/7/2018             $47.00
INTERMOUNTAIN
DISTRIBUTING CO           WRONG ID                                                                       BILLINGS            MT           59103-0000                             SUPPLIERS OR VENDORS      11/12/2018            $529.15
INTERMOUNTAIN
DISTRIBUTING CO           WRONG ID                                                                       BILLINGS            MT           59103-0000                             SUPPLIERS OR VENDORS      11/22/2018            $976.10
INTERMOUNTAIN
DISTRIBUTING CO           WRONG ID                                                                       BILLINGS            MT           59103-0000                             SUPPLIERS OR VENDORS      11/26/2018            $460.40
INTERMOUNTAIN
DISTRIBUTING CO           WRONG ID                                                                       BILLINGS            MT           59103-0000                             SUPPLIERS OR VENDORS      11/29/2018            $437.00
INTERMOUNTAIN
DISTRIBUTING CO           WRONG ID                                                                       BILLINGS            MT           59103-0000                             SUPPLIERS OR VENDORS       12/5/2018            $355.40
INTERMOUNTAIN
DISTRIBUTING CO           WRONG ID                                                                       BILLINGS            MT           59103-0000                             SUPPLIERS OR VENDORS      12/20/2018           $2,293.30
INTERNATIONAL BULLION &
METAL BROKERS             14051 NW 14TH STREET STE 3                                                     SUNRISE             FL           33323                                  SUPPLIERS OR VENDORS      10/19/2018           $2,721.81
INTERNATIONAL BULLION &
METAL BROKERS             14051 NW 14TH STREET STE 3                                                     SUNRISE             FL           33323                                  SUPPLIERS OR VENDORS      10/26/2018           $2,482.80
INTERNATIONAL BULLION &
METAL BROKERS             14051 NW 14TH STREET STE 3                                                     SUNRISE             FL           33323                                  SUPPLIERS OR VENDORS       11/2/2018           $3,938.25
INTERNATIONAL BULLION &
METAL BROKERS             14051 NW 14TH STREET STE 3                                                     SUNRISE             FL           33323                                  SUPPLIERS OR VENDORS       11/9/2018           $1,094.18
INTERNATIONAL BULLION &
METAL BROKERS             14051 NW 14TH STREET STE 3                                                     SUNRISE             FL           33323                                  SUPPLIERS OR VENDORS      11/30/2018           $3,755.80

INTERNATIONAL BUSINESS    MACHINES CORPORATION         PO BOX 643600                                     PITTSBURGH          PA           15264-3600                             SUPPLIERS OR VENDORS      10/23/2018           $3,805.10

INTERNATIONAL BUSINESS    MACHINES CORPORATION         PO BOX 643600                                     PITTSBURGH          PA           15264-3600                             SUPPLIERS OR VENDORS      10/26/2018           $5,000.00

INTERNATIONAL BUSINESS    MACHINES CORPORATION         PO BOX 643600                                     PITTSBURGH          PA           15264-3600                             SUPPLIERS OR VENDORS      10/30/2018           $7,620.00

INTERNATIONAL BUSINESS    MACHINES CORPORATION         PO BOX 643600                                     PITTSBURGH          PA           15264-3600                             SUPPLIERS OR VENDORS       11/2/2018         $63,849.88

INTERNATIONAL BUSINESS    MACHINES CORPORATION         PO BOX 643600                                     PITTSBURGH          PA           15264-3600                             SUPPLIERS OR VENDORS       11/2/2018        $438,606.51

INTERNATIONAL BUSINESS    MACHINES CORPORATION         PO BOX 643600                                     PITTSBURGH          PA           15264-3600                             SUPPLIERS OR VENDORS       11/6/2018            $622.01

INTERNATIONAL BUSINESS    MACHINES CORPORATION         PO BOX 643600                                     PITTSBURGH          PA           15264-3600                             SUPPLIERS OR VENDORS      11/16/2018         $26,002.92

INTERNATIONAL BUSINESS    MACHINES CORPORATION         PO BOX 643600                                     PITTSBURGH          PA           15264-3600                             SUPPLIERS OR VENDORS      11/27/2018           $8,805.10

INTERNATIONAL BUSINESS    MACHINES CORPORATION         PO BOX 643600                                     PITTSBURGH          PA           15264-3600                             SUPPLIERS OR VENDORS      11/30/2018           $5,294.69

INTERNATIONAL BUSINESS    MACHINES CORPORATION         PO BOX 643600                                     PITTSBURGH          PA           15264-3600                             SUPPLIERS OR VENDORS      11/30/2018        $419,354.76

INTERNATIONAL BUSINESS    MACHINES CORPORATION         PO BOX 643600                                     PITTSBURGH          PA           15264-3600                             SUPPLIERS OR VENDORS       12/4/2018         $97,579.42



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                                                                                                                                                                             Reasons for payment or    Dates of    Total Amount or
      Creditor Name                  Address1           Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
INTERNATIONAL DIRECT      CIT GROUP COMMERCIAL
GROUP INC                 SERVICES INC            PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/5/2018            $378.11
INTERNATIONAL DIRECT      CIT GROUP COMMERCIAL
GROUP INC                 SERVICES INC            PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/6/2018         $20,022.83
INTERNATIONAL DIRECT      CIT GROUP COMMERCIAL
GROUP INC                 SERVICES INC            PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/8/2018         $40,513.60
INTERNATIONAL DIRECT      CIT GROUP COMMERCIAL
GROUP INC                 SERVICES INC            PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      11/23/2018           $5,562.00

INTERNATIONAL
FOUNDATION OF EMPLOYEE    BENEFIT PLANS           PO BOX 69                                         BROOKFIELD          WI           53008-0069                             SUPPLIERS OR VENDORS      11/14/2018           $1,050.00
INTERNATIONAL SOURCING    DBA CORDOVA SAFETY
CO INC                    PRODUCTS                PO BOX 409019                                     ATLANTA             GA           30384-9019                             SUPPLIERS OR VENDORS      10/23/2018            $537.09
INTERNATIONAL SOURCING    DBA CORDOVA SAFETY
CO INC                    PRODUCTS                PO BOX 409019                                     ATLANTA             GA           30384-9019                             SUPPLIERS OR VENDORS      10/30/2018            $471.60
INTERNATIONAL SOURCING    DBA CORDOVA SAFETY
CO INC                    PRODUCTS                PO BOX 409019                                     ATLANTA             GA           30384-9019                             SUPPLIERS OR VENDORS       11/6/2018            $878.40
INTERNATIONAL SOURCING    DBA CORDOVA SAFETY
CO INC                    PRODUCTS                PO BOX 409019                                     ATLANTA             GA           30384-9019                             SUPPLIERS OR VENDORS      11/16/2018            $252.00
INTERNATIONAL SOURCING    DBA CORDOVA SAFETY
CO INC                    PRODUCTS                PO BOX 409019                                     ATLANTA             GA           30384-9019                             SUPPLIERS OR VENDORS      11/23/2018            $849.60
INTERNATIONAL SOURCING    DBA CORDOVA SAFETY
CO INC                    PRODUCTS                PO BOX 409019                                     ATLANTA             GA           30384-9019                             SUPPLIERS OR VENDORS      12/11/2018             $273.60
INTRALINKS INC            PO BOX 392134                                                             PITTSBURGH          PA           15251-9134                             SUPPLIERS OR VENDORS       11/8/2018           $1,846.80
INTRALINKS INC            PO BOX 392134                                                             PITTSBURGH          PA           15251-9134                             SUPPLIERS OR VENDORS       1/10/2019             $471.60
INVERNESS MEDICAL
INCORPORATED              PO BOX 846047                                                             BOSTON              MA           02284-6047                             SUPPLIERS OR VENDORS      10/18/2018            $878.57
INVERNESS MEDICAL
INCORPORATED              PO BOX 846047                                                             BOSTON              MA           02284-6047                             SUPPLIERS OR VENDORS      10/18/2018           $1,259.03
INVERNESS MEDICAL
INCORPORATED              PO BOX 846047                                                             BOSTON              MA           02284-6047                             SUPPLIERS OR VENDORS      10/25/2018            $469.44
INVERNESS MEDICAL
INCORPORATED              PO BOX 846047                                                             BOSTON              MA           02284-6047                             SUPPLIERS OR VENDORS       11/1/2018            $890.82
INVERNESS MEDICAL
INCORPORATED              PO BOX 846047                                                             BOSTON              MA           02284-6047                             SUPPLIERS OR VENDORS       11/1/2018           $1,919.89
INVERNESS MEDICAL
INCORPORATED              PO BOX 846047                                                             BOSTON              MA           02284-6047                             SUPPLIERS OR VENDORS       11/8/2018           $1,148.49
INVERNESS MEDICAL
INCORPORATED              PO BOX 846047                                                             BOSTON              MA           02284-6047                             SUPPLIERS OR VENDORS       11/8/2018           $2,644.80
INVERNESS MEDICAL
INCORPORATED              PO BOX 846047                                                             BOSTON              MA           02284-6047                             SUPPLIERS OR VENDORS      11/29/2018           $1,173.05

INVUE SECURITY PRODUCTS
INCORPORATED              9201 BAYBROOK LANE                                                        CHARLOTTE           NC           28277-0000                             SUPPLIERS OR VENDORS      11/15/2018              $55.81
IOD INCORPORATED          PO BOX 19025                                                              GREEN BAY           WI           54307-9025                             SUPPLIERS OR VENDORS      10/25/2018           $3,060.70
IOD INCORPORATED          PO BOX 19025                                                              GREEN BAY           WI           54307-9025                             SUPPLIERS OR VENDORS      11/29/2018           $3,063.32
IOWA ALCOHOLIC
BEVERAGES DIVISION        1918 SE HULSIZER ROAD                                                     ANKENY              IA           50021                                  SALES & USE TAX            10/9/2018            $860.00
IOWA ALCOHOLIC
BEVERAGES DIVISION        1918 SE HULSIZER ROAD                                                     ANKENY              IA           50021                                  SALES & USE TAX            10/9/2018            $860.00
IOWA ALCOHOLIC
BEVERAGES DIVISION        1918 SE HULSIZER ROAD                                                     ANKENY              IA           50021                                  SALES & USE TAX           10/10/2018            $860.00
IOWA ALCOHOLIC
BEVERAGES DIVISION        1918 SE HULSIZER ROAD                                                     ANKENY              IA           50021                                  SALES & USE TAX           10/10/2018            $860.00



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                                                                                                                                                                                 Reasons for payment or    Dates of    Total Amount or
      Creditor Name                Address1                 Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
IOWA ALCOHOLIC
BEVERAGES DIVISION       1918 SE HULSIZER ROAD                                                          ANKENY              IA           50021                                  SALES & USE TAX           10/10/2018            $860.00
IOWA ALCOHOLIC
BEVERAGES DIVISION       1918 SE HULSIZER ROAD                                                          ANKENY              IA           50021                                  SALES & USE TAX           10/11/2018            $880.00
IOWA ALCOHOLIC
BEVERAGES DIVISION       1918 SE HULSIZER ROAD                                                          ANKENY              IA           50021                                  SALES & USE TAX           10/15/2018            $860.00
IOWA BOARD OF PHARMACY
EXAMINERS                400 SW 8TH STREET SUITE E   PAM TO ORACLE                                      DES MOINES          IA           50309-4688                             SUPPLIERS OR VENDORS      11/30/2018            $135.00
IOWA DEPARTMENT OF                                   2230 S ANKENY
AGRICULTURE AND          LAND STEWARDSHIP            BOULEVARD                                          ANKENY              IA           50023                                  SUPPLIERS OR VENDORS       11/6/2018            $900.00
IOWA DEPARTMENT OF       WALLACE STATE OFFICE        502 EAST 9TH STREET,
NATURAL RESOURCES        BUILDING                    4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       10/4/2018             $28.00
IOWA DEPARTMENT OF       WALLACE STATE OFFICE        502 EAST 9TH STREET,
NATURAL RESOURCES        BUILDING                    4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       10/4/2018             $96.50
IOWA DEPARTMENT OF       WALLACE STATE OFFICE        502 EAST 9TH STREET,
NATURAL RESOURCES        BUILDING                    4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       10/4/2018            $100.00
IOWA DEPARTMENT OF       WALLACE STATE OFFICE        502 EAST 9TH STREET,
NATURAL RESOURCES        BUILDING                    4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       10/4/2018            $108.00
IOWA DEPARTMENT OF       WALLACE STATE OFFICE        502 EAST 9TH STREET,
NATURAL RESOURCES        BUILDING                    4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       10/4/2018            $220.50
IOWA DEPARTMENT OF       WALLACE STATE OFFICE        502 EAST 9TH STREET,
NATURAL RESOURCES        BUILDING                    4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       10/4/2018            $224.50
IOWA DEPARTMENT OF       WALLACE STATE OFFICE        502 EAST 9TH STREET,
NATURAL RESOURCES        BUILDING                    4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       10/4/2018            $234.50
IOWA DEPARTMENT OF       WALLACE STATE OFFICE        502 EAST 9TH STREET,
NATURAL RESOURCES        BUILDING                    4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       10/4/2018            $249.00
IOWA DEPARTMENT OF       WALLACE STATE OFFICE        502 EAST 9TH STREET,
NATURAL RESOURCES        BUILDING                    4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       10/4/2018            $277.00
IOWA DEPARTMENT OF       WALLACE STATE OFFICE        502 EAST 9TH STREET,
NATURAL RESOURCES        BUILDING                    4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       10/4/2018            $289.50
IOWA DEPARTMENT OF       WALLACE STATE OFFICE        502 EAST 9TH STREET,
NATURAL RESOURCES        BUILDING                    4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       10/4/2018            $291.50
IOWA DEPARTMENT OF       WALLACE STATE OFFICE        502 EAST 9TH STREET,
NATURAL RESOURCES        BUILDING                    4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       10/4/2018            $496.00
IOWA DEPARTMENT OF       WALLACE STATE OFFICE        502 EAST 9TH STREET,
NATURAL RESOURCES        BUILDING                    4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       10/4/2018            $511.50
IOWA DEPARTMENT OF       WALLACE STATE OFFICE        502 EAST 9TH STREET,
NATURAL RESOURCES        BUILDING                    4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       10/4/2018            $541.00
IOWA DEPARTMENT OF       WALLACE STATE OFFICE        502 EAST 9TH STREET,
NATURAL RESOURCES        BUILDING                    4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       10/4/2018            $612.00
IOWA DEPARTMENT OF       WALLACE STATE OFFICE        502 EAST 9TH STREET,
NATURAL RESOURCES        BUILDING                    4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       10/4/2018            $648.50
IOWA DEPARTMENT OF       WALLACE STATE OFFICE        502 EAST 9TH STREET,
NATURAL RESOURCES        BUILDING                    4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       10/4/2018            $785.50
IOWA DEPARTMENT OF       WALLACE STATE OFFICE        502 EAST 9TH STREET,
NATURAL RESOURCES        BUILDING                    4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       10/4/2018           $1,055.50
IOWA DEPARTMENT OF       WALLACE STATE OFFICE        502 EAST 9TH STREET,
NATURAL RESOURCES        BUILDING                    4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/12/2018             $18.50
IOWA DEPARTMENT OF       WALLACE STATE OFFICE        502 EAST 9TH STREET,
NATURAL RESOURCES        BUILDING                    4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/12/2018             $28.00
IOWA DEPARTMENT OF       WALLACE STATE OFFICE        502 EAST 9TH STREET,
NATURAL RESOURCES        BUILDING                    4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/12/2018             $56.00
IOWA DEPARTMENT OF       WALLACE STATE OFFICE        502 EAST 9TH STREET,
NATURAL RESOURCES        BUILDING                    4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/12/2018             $89.50



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                                                                                                                                                                         Reasons for payment or    Dates of    Total Amount or
      Creditor Name            Address1             Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/12/2018            $121.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/12/2018            $122.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/12/2018            $127.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/12/2018            $143.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/12/2018            $183.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/12/2018            $257.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/12/2018            $262.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/12/2018            $272.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/12/2018            $489.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/12/2018            $673.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/12/2018            $782.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/12/2018            $809.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/12/2018           $1,074.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/12/2018           $1,280.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/12/2018           $1,599.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/18/2018             $16.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/18/2018             $24.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/18/2018             $25.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/18/2018             $28.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/18/2018             $85.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/18/2018            $139.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/18/2018            $169.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/18/2018            $217.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/18/2018            $224.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/18/2018            $242.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/18/2018            $323.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/18/2018            $374.00



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                                                                                                                                                                         Reasons for payment or    Dates of    Total Amount or
      Creditor Name            Address1             Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/18/2018            $416.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/18/2018            $448.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/18/2018            $558.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/18/2018            $625.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/18/2018            $841.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/18/2018            $937.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/18/2018           $1,015.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/25/2018             $31.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/25/2018             $40.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/25/2018             $46.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/25/2018             $76.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/25/2018             $90.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/25/2018             $99.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/25/2018            $142.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/25/2018            $143.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/25/2018            $156.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/25/2018            $192.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/25/2018            $249.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/25/2018            $251.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/25/2018            $262.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/25/2018            $304.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/25/2018            $366.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/25/2018            $392.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/25/2018            $527.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/25/2018            $658.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      10/25/2018            $996.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       11/1/2018             $59.00



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                                                                                                                                                                         Reasons for payment or    Dates of    Total Amount or
      Creditor Name            Address1             Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       11/1/2018             $70.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       11/1/2018            $145.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       11/1/2018            $152.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       11/1/2018            $214.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       11/1/2018            $252.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       11/1/2018            $328.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       11/1/2018            $350.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       11/1/2018            $447.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       11/1/2018            $452.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       11/1/2018            $479.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       11/1/2018            $544.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       11/1/2018            $659.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       11/1/2018            $718.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       11/1/2018            $732.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       11/1/2018            $739.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       11/1/2018            $975.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       11/1/2018           $1,000.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       11/8/2018               $9.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       11/8/2018             $25.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       11/8/2018            $134.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       11/8/2018            $158.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       11/8/2018            $158.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       11/8/2018            $204.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       11/8/2018            $276.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       11/8/2018            $284.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       11/8/2018            $329.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       11/8/2018            $348.50



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                                                                                                                                                                         Reasons for payment or    Dates of    Total Amount or
      Creditor Name            Address1             Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       11/8/2018            $366.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       11/8/2018            $379.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       11/8/2018            $415.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       11/8/2018            $457.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       11/8/2018            $471.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       11/8/2018            $546.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       11/8/2018            $677.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       11/8/2018           $1,350.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/16/2018             $56.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/16/2018             $78.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/16/2018             $90.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/16/2018            $121.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/16/2018            $121.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/16/2018            $138.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/16/2018            $140.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/16/2018            $183.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/16/2018            $218.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/16/2018            $312.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/16/2018            $329.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/16/2018            $360.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/16/2018            $396.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/16/2018            $467.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/16/2018            $484.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/16/2018            $576.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/16/2018            $647.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/16/2018            $693.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/23/2018             $62.00



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                                                                                                                                                                         Reasons for payment or    Dates of    Total Amount or
      Creditor Name            Address1             Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/23/2018             $66.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/23/2018             $68.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/23/2018             $97.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/23/2018            $152.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/23/2018            $157.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/23/2018            $165.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/23/2018            $172.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/23/2018            $187.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/23/2018            $244.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/23/2018            $282.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/23/2018            $300.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/23/2018            $316.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/23/2018            $365.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/23/2018            $393.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/23/2018            $483.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/23/2018            $581.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/23/2018            $649.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/29/2018               $4.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/29/2018             $85.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/29/2018             $87.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/29/2018            $105.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/29/2018            $111.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/29/2018            $115.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/29/2018            $121.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/29/2018            $141.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/29/2018            $182.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/29/2018            $186.50



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                                                                                                                                                                         Reasons for payment or    Dates of    Total Amount or
      Creditor Name            Address1             Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/29/2018            $200.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/29/2018            $275.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/29/2018            $394.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/29/2018            $403.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/29/2018            $405.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/29/2018            $693.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/29/2018            $762.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/29/2018            $950.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      11/29/2018            $973.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       12/6/2018             $28.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       12/6/2018             $84.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       12/6/2018            $267.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       12/6/2018            $455.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       12/6/2018            $478.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       12/6/2018            $503.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       12/6/2018            $527.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       12/6/2018            $582.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       12/6/2018            $590.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       12/6/2018            $718.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       12/6/2018            $740.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       12/6/2018            $746.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       12/6/2018            $813.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       12/6/2018            $921.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       12/6/2018            $934.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       12/6/2018           $1,023.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       12/6/2018           $1,390.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       12/6/2018           $1,901.00



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                                                                                                                                                                         Reasons for payment or    Dates of    Total Amount or
      Creditor Name            Address1             Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       12/6/2018           $2,068.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       12/6/2018           $2,470.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       12/6/2018           $4,269.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/13/2018             $28.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/13/2018             $96.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/13/2018            $212.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/13/2018            $332.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/13/2018            $361.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/13/2018            $698.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/13/2018            $808.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/13/2018            $825.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/13/2018            $830.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/13/2018            $949.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/13/2018            $963.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/13/2018           $1,008.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/13/2018           $1,096.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/13/2018           $1,142.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/13/2018           $1,220.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/13/2018           $1,332.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/13/2018           $1,384.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/13/2018           $1,896.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/13/2018           $1,920.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/13/2018           $1,928.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/13/2018           $2,208.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/20/2018               $1.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/20/2018             $28.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/20/2018             $87.00



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                                                                                                                                                                         Reasons for payment or    Dates of    Total Amount or
      Creditor Name            Address1             Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/20/2018            $107.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/20/2018            $115.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/20/2018            $120.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/20/2018            $139.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/20/2018            $178.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/20/2018            $193.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/20/2018            $200.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/20/2018            $235.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/20/2018            $244.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/20/2018            $252.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/20/2018            $259.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/20/2018            $272.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/20/2018            $279.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/20/2018            $355.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/20/2018            $432.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/20/2018            $904.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/20/2018            $984.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/28/2018             $28.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/28/2018             $30.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/28/2018             $84.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/28/2018            $118.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/28/2018            $125.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/28/2018            $184.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/28/2018            $213.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/28/2018            $215.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/28/2018            $216.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/28/2018            $218.00



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                                                                                                                                                                         Reasons for payment or    Dates of     Total Amount or
      Creditor Name            Address1             Address2                  Address3                 City              State       Zip              Country                   transfer          Payments            Value
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/28/2018             $261.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/28/2018             $275.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/28/2018             $337.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/28/2018             $345.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/28/2018             $385.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/28/2018             $495.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/28/2018             $604.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/28/2018             $648.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES      12/28/2018            $1,026.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES         1/4/2019               $1.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES         1/4/2019             $21.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES         1/4/2019             $28.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES         1/4/2019             $36.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES         1/4/2019             $36.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES         1/4/2019             $37.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES         1/4/2019             $76.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES         1/4/2019             $84.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES         1/4/2019             $85.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES         1/4/2019            $121.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES         1/4/2019            $137.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES         1/4/2019            $152.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES         1/4/2019            $178.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES         1/4/2019            $191.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES         1/4/2019            $221.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES         1/4/2019            $323.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES         1/4/2019            $352.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE   502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING               4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       1/10/2019              $32.00



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                                                                                                                                                                            Reasons for payment or    Dates of    Total Amount or
      Creditor Name             Address1               Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
IOWA DEPARTMENT OF    WALLACE STATE OFFICE      502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING                  4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       1/10/2019             $40.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE      502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING                  4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       1/10/2019             $40.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE      502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING                  4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       1/10/2019             $50.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE      502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING                  4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       1/10/2019             $55.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE      502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING                  4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       1/10/2019             $71.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE      502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING                  4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       1/10/2019             $89.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE      502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING                  4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       1/10/2019            $183.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE      502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING                  4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       1/10/2019            $218.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE      502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING                  4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       1/10/2019            $236.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE      502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING                  4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       1/10/2019            $290.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE      502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING                  4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       1/10/2019            $307.00
IOWA DEPARTMENT OF    WALLACE STATE OFFICE      502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING                  4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       1/10/2019            $365.50
IOWA DEPARTMENT OF    WALLACE STATE OFFICE      502 EAST 9TH STREET,
NATURAL RESOURCES     BUILDING                  4TH FL                                             DES MOINES          IA           50319                                  PAYMENT FOR SERVICES       1/10/2019            $417.00
IOWA DEPARTMENT OF    1305 E WALNUT ST FOURTH
REVENUE               FLOOR 0107                                                                   DES MOINES          IA           50319                                  SALES & USE TAX           10/23/2018        $111,237.84
IOWA DEPARTMENT OF    1305 E WALNUT ST FOURTH
REVENUE               FLOOR 0107                                                                   DES MOINES          IA           50319                                  SALES & USE TAX           10/23/2018        $294,307.56
IOWA DEPARTMENT OF    1305 E WALNUT ST FOURTH
REVENUE               FLOOR 0107                                                                   DES MOINES          IA           50319                                  SALES & USE TAX           10/26/2018        $369,995.00
IOWA DEPARTMENT OF    1305 E WALNUT ST FOURTH
REVENUE               FLOOR 0107                                                                   DES MOINES          IA           50319                                  SALES & USE TAX            11/1/2018           $9,112.00
IOWA DEPARTMENT OF    1305 E WALNUT ST FOURTH
REVENUE               FLOOR 0107                                                                   DES MOINES          IA           50319                                  SALES & USE TAX            11/1/2018         $16,660.00
IOWA DEPARTMENT OF    1305 E WALNUT ST FOURTH
REVENUE               FLOOR 0107                                                                   DES MOINES          IA           50319                                  SALES & USE TAX            11/1/2018        $394,044.00
IOWA DEPARTMENT OF    1305 E WALNUT ST FOURTH
REVENUE               FLOOR 0107                                                                   DES MOINES          IA           50319                                  SALES & USE TAX           12/11/2018        $369,995.00
IOWA DEPARTMENT OF    1305 E WALNUT ST FOURTH
REVENUE               FLOOR 0107                                                                   DES MOINES          IA           50319                                  SALES & USE TAX           12/14/2018           $1,420.69
IOWA DEPARTMENT OF    1305 E WALNUT ST FOURTH
REVENUE               FLOOR 0107                                                                   DES MOINES          IA           50319                                  SALES & USE TAX           12/20/2018        $139,834.64
IOWA DEPARTMENT OF    1305 E WALNUT ST FOURTH
REVENUE               FLOOR 0107                                                                   DES MOINES          IA           50319                                  SALES & USE TAX           12/20/2018        $358,954.93
IOWA DEPARTMENT OF    1305 E WALNUT ST FOURTH
REVENUE               FLOOR 0107                                                                   DES MOINES          IA           50319                                  SALES & USE TAX           12/27/2018        $369,995.00
IOWA LOTTERY          13001 UNIVERSITY AVE                                                         CLIVE               IA           50325                                  PAYMENT FOR SERVICES       10/5/2018            $306.59
IOWA LOTTERY          13001 UNIVERSITY AVE                                                         CLIVE               IA           50325                                  PAYMENT FOR SERVICES      10/26/2018          $5,478.94
IOWA LOTTERY          13001 UNIVERSITY AVE                                                         CLIVE               IA           50325                                  PAYMENT FOR SERVICES       11/2/2018          $8,558.95
IOWA LOTTERY          13001 UNIVERSITY AVE                                                         CLIVE               IA           50325                                  PAYMENT FOR SERVICES       11/9/2018          $1,448.98
IOWA LOTTERY          13001 UNIVERSITY AVE                                                         CLIVE               IA           50325                                  PAYMENT FOR SERVICES      11/23/2018         $29,283.08
IOWA LOTTERY          13001 UNIVERSITY AVE                                                         CLIVE               IA           50325                                  PAYMENT FOR SERVICES      11/30/2018            $466.53



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                                                                                                                                                                                       Reasons for payment or    Dates of     Total Amount or
       Creditor Name                 Address1                     Address2                 Address3                 City              State       Zip              Country                    transfer          Payments            Value
IRENE BYYKKONEN            PO BOX 286                      41923 S HAMER                                     CHASSELL            MI           49916                                  SUPPLIERS OR VENDORS        12/10/2018                $9.60
IRENE EISELE               19032 KING AVE                                                                    READING             MN           56165                                  SUPPLIERS OR VENDORS        12/14/2018               $52.16
IRENE SIMEROTH             311 SOUTH 10TH STREET                                                             MOUNTAIN LAKE       MN           56159                                  SUPPLIERS OR VENDORS         11/8/2018               $26.84
IRENE SRUBAS               210 BYRD AVE                    APT 214                                           NEENAH              WI           54956                                  SUPPLIERS OR VENDORS         11/8/2018               $44.00
IRENE STRAZ                455 SMYTHE DRIVE                                                                  WILLIAMS BAY        WI           53191                                  SUPPLIERS OR VENDORS         11/2/2018               $40.00
IRENE STRAZ                455 SMYTHE DRIVE                                                                  WILLIAMS BAY        WI           53191                                  SUPPLIERS OR VENDORS        12/10/2018                $3.00
IRIS MANESS                PO BOX 103                                                                        EAST HELENA         MT           59635                                  SUPPLIERS OR VENDORS        12/20/2018               $32.40
IRIS USA INCORPORATED      BOX 681111                                                                        CHICAGO             IL           60695-2111                             SUPPLIERS OR VENDORS        10/18/2018            $4,971.28
IRIS USA INCORPORATED      BOX 681111                                                                        CHICAGO             IL           60695-2111                             SUPPLIERS OR VENDORS        10/25/2018            $6,584.97
IRIS USA INCORPORATED      BOX 681111                                                                        CHICAGO             IL           60695-2111                             SUPPLIERS OR VENDORS         11/1/2018            $9,294.92
IRIS USA INCORPORATED      BOX 681111                                                                        CHICAGO             IL           60695-2111                             SUPPLIERS OR VENDORS         11/8/2018            $1,751.02
IRIS USA INCORPORATED      BOX 681111                                                                        CHICAGO             IL           60695-2111                             SUPPLIERS OR VENDORS        11/15/2018           $10,636.46
IRIS USA INCORPORATED      BOX 681111                                                                        CHICAGO             IL           60695-2111                             SUPPLIERS OR VENDORS        11/22/2018            $5,504.04
IRIS USA INCORPORATED      BOX 681111                                                                        CHICAGO             IL           60695-2111                             SUPPLIERS OR VENDORS        11/29/2018            $3,211.20
IRMA AVILA                 504 CEDAR PARK LANE                                                               NAMPA               ID           83686                                  SUPPLIERS OR VENDORS         11/9/2018               $16.00
IRMA LILLIE                4000 TETON TRACE #103                                                             SIOUX CITY          IA           51104                                  SUPPLIERS OR VENDORS         11/5/2018               $41.60
IRMA ZUEGER                203 W. MAPES AVE                                                                  STOCKTON            IL           61085                                  SUPPLIERS OR VENDORS        11/26/2018               $51.20
IRMA ZUEGER                203 W. MAPES AVE                                                                  STOCKTON            IL           61085                                  SUPPLIERS OR VENDORS        11/28/2018               $12.80
IRS                        DEPT OF TREASURY                                                                  CINCINNATI          OH           45999-0009                             SALES & USE TAX             10/15/2018              $718.27
IRS                        DEPT OF TREASURY                                                                  CINCINNATI          OH           45999-0009                             SALES & USE TAX             10/29/2018            $1,420.69
IRS                        DEPT OF TREASURY                                                                  CINCINNATI          OH           45999-0009                             SALES & USE TAX             10/31/2018            $6,326.00
IRS                        DEPT OF TREASURY                                                                  CINCINNATI          OH           45999-0009                             SALES/USE TAX               11/14/2018            $1,420.69
IRS                        DEPT OF TREASURY                                                                  CINCINNATI          OH           45999-0009                             SALES/USE TAX               11/29/2018            $1,420.69
IRS                        DEPT OF TREASURY                                                                  CINCINNATI          OH           45999-0009                             SALES & USE TAX             12/31/2018            $1,420.69
IRS                        DEPT OF TREASURY                                                                  CINCINNATI          OH           45999-0009                             SALES & USE TAX              1/14/2019            $1,420.69
IRWIN NATURALS             5310 BEETHOVEN ST                                                                 LOS ANGELES         CA           90066-7015                             SUPPLIERS OR VENDORS        10/18/2018            $1,174.83
IRWIN NATURALS             5310 BEETHOVEN ST                                                                 LOS ANGELES         CA           90066-7015                             SUPPLIERS OR VENDORS        10/25/2018            $1,962.81
IRWIN NATURALS             5310 BEETHOVEN ST                                                                 LOS ANGELES         CA           90066-7015                             SUPPLIERS OR VENDORS         11/1/2018            $1,869.59
IRWIN NATURALS             5310 BEETHOVEN ST                                                                 LOS ANGELES         CA           90066-7015                             SUPPLIERS OR VENDORS         11/8/2018            $1,259.52
IRWIN NATURALS             5310 BEETHOVEN ST                                                                 LOS ANGELES         CA           90066-7015                             SUPPLIERS OR VENDORS        11/15/2018            $2,931.15
IRWIN NATURALS             5310 BEETHOVEN ST                                                                 LOS ANGELES         CA           90066-7015                             SUPPLIERS OR VENDORS        11/22/2018            $1,479.30
IRWIN NATURALS             5310 BEETHOVEN ST                                                                 LOS ANGELES         CA           90066-7015                             SUPPLIERS OR VENDORS        11/29/2018            $1,870.05

ISAAC SANDOVAL             4600 BRIARPARK DR., APT # 302                                                     LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS       12/14/2018               $43.00
ISAAC VANAKKEREN           1719 N 13TH ST                                                                    SHEBOYGAN           WI           53081                                  SUPPLIERS OR VENDORS        12/6/2018               $82.98
ISAACS SANI SERV INC       PO BOX 385                                                                        CIRCLE              MT           59215                                  SUPPLIERS OR VENDORS        11/9/2018            $1,244.00
ISAACS SANI SERV INC       PO BOX 385                                                                        CIRCLE              MT           59215                                  SUPPLIERS OR VENDORS       12/13/2018            $1,684.00

ISABELA SANCHEZ-GAUTHIER   1325 DENOYERS ST                                                                  GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS       10/31/2018               $30.00
ISABELLA HOWIE             3376 DEER LAKE CT SE                                                              SALEM               OR           97317                                  SUPPLIERS OR VENDORS       10/25/2018               $22.98
ISABELLA SIUDUT            309 N EATON AVE                                                                   GREENWOOD           WI           54437                                  SUPPLIERS OR VENDORS       10/24/2018               $30.00
ISABELLE LOCKMAN           3403 -A GHILONI RD                                                                WI RAPIDS           WI           54494                                  SUPPLIERS OR VENDORS       11/26/2018               $25.00
ISABELLE WALLACE           2431 HAYES AVE                                                                    RACINE              WI           53405                                  SUPPLIERS OR VENDORS        12/3/2018               $52.00
ISACO INTERNATIONAL        CIT GROUP COMMERCIAL
CORPORATION                SERVICES INC                    PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       10/19/2018          $210,915.48
ISACO INTERNATIONAL        CIT GROUP COMMERCIAL
CORPORATION                SERVICES INC                    PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       10/31/2018           $75,667.28
ISACO INTERNATIONAL        CIT GROUP COMMERCIAL
CORPORATION                SERVICES INC                    PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS        11/5/2018           $27,295.08
ISACO INTERNATIONAL        CIT GROUP COMMERCIAL
CORPORATION                SERVICES INC                    PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS        11/8/2018           $46,102.11
ISACO INTERNATIONAL        CIT GROUP COMMERCIAL
CORPORATION                SERVICES INC                    PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS        12/3/2018          $202,946.64
ISIAH THORNE               STORE 047                       SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/1/2018              $121.54



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                                                                                                                                                                             Reasons for payment or    Dates of     Total Amount or
        Creditor Name               Address1           Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
ISRAEL HAUGEN            W2110 COUNTY ROAD B                                                       DALTON              WI           53926                                  SUPPLIERS OR VENDORS        12/10/2018               $25.00
ISSAC JACOBS             1305 2ND AVE S.W                                                          AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS        10/30/2018              $209.99
IVAN DE JESUS            1822 NEWBERRY AVE                                                         GREEN BAY           WI           54302                                  SUPPLIERS OR VENDORS         11/9/2018              $133.00
IVAN DUKE                3603 N 44 TH AVE                                                          OMAHA               NE           68111                                  SUPPLIERS OR VENDORS         12/7/2018               $30.00
IVAN VANDYKE             602 SOUTH 19TH STREET                                                     NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS         11/5/2018               $53.54
IVAR JAKOBSON            18 LIBERTY DRIVE        SHOPKO EMPLOYEE                                   OSAGE               IA           50461                                  SUPPLIERS OR VENDORS        10/18/2018               $87.20
IVAR JAKOBSON            18 LIBERTY DRIVE        SHOPKO EMPLOYEE                                   OSAGE               IA           50461                                  SUPPLIERS OR VENDORS        10/25/2018               $43.60
IVAR JAKOBSON            18 LIBERTY DRIVE        SHOPKO EMPLOYEE                                   OSAGE               IA           50461                                  SUPPLIERS OR VENDORS         11/1/2018               $87.20
IVAR JAKOBSON            18 LIBERTY DRIVE        SHOPKO EMPLOYEE                                   OSAGE               IA           50461                                  SUPPLIERS OR VENDORS         11/8/2018              $130.80
IVAR JAKOBSON            18 LIBERTY DRIVE        SHOPKO EMPLOYEE                                   OSAGE               IA           50461                                  SUPPLIERS OR VENDORS        11/15/2018               $43.60
IVAR JAKOBSON            18 LIBERTY DRIVE        SHOPKO EMPLOYEE                                   OSAGE               IA           50461                                  SUPPLIERS OR VENDORS        11/22/2018               $43.60
IVAR JAKOBSON            18 LIBERTY DRIVE        SHOPKO EMPLOYEE                                   OSAGE               IA           50461                                  SUPPLIERS OR VENDORS        11/29/2018               $87.20
IVAR JAKOBSON            18 LIBERTY DRIVE        SHOPKO EMPLOYEE                                   OSAGE               IA           50461                                  SUPPLIERS OR VENDORS         12/6/2018               $43.60
IVAR JAKOBSON            18 LIBERTY DRIVE        SHOPKO EMPLOYEE                                   OSAGE               IA           50461                                  SUPPLIERS OR VENDORS        12/13/2018               $87.20
IVAR JAKOBSON            18 LIBERTY DRIVE        SHOPKO EMPLOYEE                                   OSAGE               IA           50461                                  SUPPLIERS OR VENDORS        12/20/2018               $43.60
IVAR JAKOBSON            18 LIBERTY DRIVE        SHOPKO EMPLOYEE                                   OSAGE               IA           50461                                  SUPPLIERS OR VENDORS          1/3/2019               $87.20
IVER JACOBSON            STORE 2-504             SHOPKO EMPLOYEE        W3208 VAN ROY ROAD         APPLETON            WI           54915                                  SUPPLIERS OR VENDORS         11/9/2018              $240.35
IVER JACOBSON            STORE 2-504             SHOPKO EMPLOYEE        W3208 VAN ROY ROAD         APPLETON            WI           54915                                  SUPPLIERS OR VENDORS        12/11/2018              $185.85
IVER JACOBSON            STORE 2-504             SHOPKO EMPLOYEE        W3208 VAN ROY ROAD         APPLETON            WI           54915                                  SUPPLIERS OR VENDORS         1/15/2019              $253.46
IVY LOMOTEY              109 RIDGESTONE TR                                                         POPLAR GROVE        IL           61065                                  SUPPLIERS OR VENDORS        10/25/2018               $72.00
IVY WALTERS              104 E DALE ST                                                             BROWNTOWN           WI           53522                                  SUPPLIERS OR VENDORS        10/26/2018               $23.00
J & C LAWN SERVICE       PO BOX 833                                                                ALLIANCE            NE           69301                                  SUPPLIERS OR VENDORS        12/17/2018               $50.00
J & J PROPERTY
MAINTENANCE              JOSEPH M GARDYSZEWSKI   1288 W M61                                        GLADWIN             MI           48624                                  SUPPLIERS OR VENDORS       12/10/2018              $896.00
J & M DISTRIBUTING INC   PO BOX 753                                                                WOLF POINT          MT           59201                                  SUPPLIERS OR VENDORS       10/18/2018              $441.85
J & M DISTRIBUTING INC   PO BOX 753                                                                WOLF POINT          MT           59201                                  SUPPLIERS OR VENDORS       10/25/2018               $38.70
J & M DISTRIBUTING INC   PO BOX 753                                                                WOLF POINT          MT           59201                                  SUPPLIERS OR VENDORS        11/1/2018              $385.10
J & M DISTRIBUTING INC   PO BOX 753                                                                WOLF POINT          MT           59201                                  SUPPLIERS OR VENDORS        11/8/2018              $694.59
J & M DISTRIBUTING INC   PO BOX 753                                                                WOLF POINT          MT           59201                                  SUPPLIERS OR VENDORS       11/15/2018              $239.70
J & M DISTRIBUTING INC   PO BOX 753                                                                WOLF POINT          MT           59201                                  SUPPLIERS OR VENDORS       11/22/2018              $229.85
J & M DISTRIBUTING INC   PO BOX 753                                                                WOLF POINT          MT           59201                                  SUPPLIERS OR VENDORS       11/29/2018               $81.80
J & M DISTRIBUTING INC   PO BOX 753                                                                WOLF POINT          MT           59201                                  SUPPLIERS OR VENDORS       12/20/2018              $787.95
J & M DISTRIBUTING INC   PO BOX 753                                                                WOLF POINT          MT           59201                                  SUPPLIERS OR VENDORS       12/27/2018              $232.20
J A K TRANSIT            JEFFREY A KOZLOSKI      PO BOX 13164                                      GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       10/18/2018            $6,331.38
J A K TRANSIT            JEFFREY A KOZLOSKI      PO BOX 13164                                      GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       10/25/2018           $11,788.66
J A K TRANSIT            JEFFREY A KOZLOSKI      PO BOX 13164                                      GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS        11/1/2018            $8,318.23
J A K TRANSIT            JEFFREY A KOZLOSKI      PO BOX 13164                                      GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS        11/2/2018                $1.00
J A K TRANSIT            JEFFREY A KOZLOSKI      PO BOX 13164                                      GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS        11/9/2018            $7,143.06
J A K TRANSIT            JEFFREY A KOZLOSKI      PO BOX 13164                                      GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       11/16/2018           $10,459.94
J A K TRANSIT            JEFFREY A KOZLOSKI      PO BOX 13164                                      GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       11/30/2018           $15,789.17
J A K TRANSIT            JEFFREY A KOZLOSKI      PO BOX 13164                                      GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       12/10/2018           $14,195.35
J A K TRANSIT            JEFFREY A KOZLOSKI      PO BOX 13164                                      GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       12/22/2018           $11,559.88
J A K TRANSIT            JEFFREY A KOZLOSKI      PO BOX 13164                                      GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       12/28/2018            $2,311.58
J A K TRANSIT            JEFFREY A KOZLOSKI      PO BOX 13164                                      GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS         1/5/2019            $7,668.34
J A K TRANSIT            JEFFREY A KOZLOSKI      PO BOX 13164                                      GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS         1/8/2019              $399.66
J A K TRANSIT            JEFFREY A KOZLOSKI      PO BOX 13164                                      GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS        1/10/2019              $715.52
J B HUNT TRANSPORT
INCORPORATE              INTERMODAL              PO BOX 98545                                      CHICAGO             IL           60693-8545                             SUPPLIERS OR VENDORS       11/10/2018                $1.00
J B HUNT TRANSPORT
INCORPORATED             INTERMODAL              PO BOX 98545                                      CHICAGO             IL           60693-8545                             SUPPLIERS OR VENDORS       10/18/2018           $27,523.08
J B HUNT TRANSPORT
INCORPORATED             INTERMODAL              PO BOX 98545                                      CHICAGO             IL           60693-8545                             SUPPLIERS OR VENDORS       10/25/2018           $67,657.21
J B HUNT TRANSPORT
INCORPORATED             INTERMODAL              PO BOX 98545                                      CHICAGO             IL           60693-8545                             SUPPLIERS OR VENDORS        11/1/2018           $70,253.81



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                                                                                                                                                                             Reasons for payment or    Dates of     Total Amount or
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J B HUNT TRANSPORT
INCORPORATED            INTERMODAL                PO BOX 98545                                      CHICAGO             IL           60693-8545                             SUPPLIERS OR VENDORS       11/8/2018         $104,947.52
J B HUNT TRANSPORT
INCORPORATED            INTERMODAL                PO BOX 98545                                      CHICAGO             IL           60693-8545                             SUPPLIERS OR VENDORS      11/16/2018          $24,795.15
J B HUNT TRANSPORT
INCORPORATED            INTERMODAL                PO BOX 98545                                      CHICAGO             IL           60693-8545                             SUPPLIERS OR VENDORS      11/30/2018          $71,514.37
J B HUNT TRANSPORT
INCORPORATED            INTERMODAL                PO BOX 98545                                      CHICAGO             IL           60693-8545                             SUPPLIERS OR VENDORS       12/8/2018         $198,993.63
J B HUNT TRANSPORT
INCORPORATED            INTERMODAL                PO BOX 98545                                      CHICAGO             IL           60693-8545                             SUPPLIERS OR VENDORS      12/11/2018            $2,206.20
J B HUNT TRANSPORT
INCORPORATED            INTERMODAL                PO BOX 98545                                      CHICAGO             IL           60693-8545                             SUPPLIERS OR VENDORS      12/12/2018          $15,728.24
J B HUNT TRANSPORT
INCORPORATED            INTERMODAL                PO BOX 98545                                      CHICAGO             IL           60693-8545                             SUPPLIERS OR VENDORS      12/14/2018          $31,646.29
J B HUNT TRANSPORT
INCORPORATED            INTERMODAL                PO BOX 98545                                      CHICAGO             IL           60693-8545                             SUPPLIERS OR VENDORS      12/19/2018          $33,928.03
J B HUNT TRANSPORT
INCORPORATED            INTERMODAL                PO BOX 98545                                      CHICAGO             IL           60693-8545                             SUPPLIERS OR VENDORS      12/20/2018          $17,910.60
J B HUNT TRANSPORT
INCORPORATED            INTERMODAL                PO BOX 98545                                      CHICAGO             IL           60693-8545                             SUPPLIERS OR VENDORS      12/21/2018            $6,015.59
J B HUNT TRANSPORT
INCORPORATED            INTERMODAL                PO BOX 98545                                      CHICAGO             IL           60693-8545                             SUPPLIERS OR VENDORS      12/22/2018          $10,675.15
J B HUNT TRANSPORT
INCORPORATED            INTERMODAL                PO BOX 98545                                      CHICAGO             IL           60693-8545                             SUPPLIERS OR VENDORS      12/28/2018          $23,102.85
J B HUNT TRANSPORT
INCORPORATED            INTERMODAL                PO BOX 98545                                      CHICAGO             IL           60693-8545                             SUPPLIERS OR VENDORS         1/5/2019         $39,769.25
J B HUNT TRANSPORT
INCORPORATED            INTERMODAL                PO BOX 98545                                      CHICAGO             IL           60693-8545                             SUPPLIERS OR VENDORS         1/8/2019           $4,840.19
J B HUNT TRANSPORT
INCORPORATED            INTERMODAL                PO BOX 98545                                      CHICAGO             IL           60693-8545                             SUPPLIERS OR VENDORS         1/9/2019            $700.00
J B HUNT TRANSPORT
INCORPORATED            INTERMODAL                PO BOX 98545                                      CHICAGO             IL           60693-8545                             SUPPLIERS OR VENDORS       1/10/2019            $2,112.31
J B HUNT TRANSPORT
INCORPORATED            INTERMODAL                PO BOX 98545                                      CHICAGO             IL           60693-8545                             SUPPLIERS OR VENDORS       1/12/2019            $8,473.16
J D HOFER TRUST
MINISTERIES             43155 268TH STREET                                                          BRIDGEWATER         SD           57319                                  SUPPLIERS OR VENDORS       11/9/2018            $1,707.38
J E M INTERNATIONAL     1 EAST 33RD STREET 11TH
INCORPORATED            FLOOR                                                                       NEW YORK            NY           10016-0000                             SUPPLIERS OR VENDORS       12/5/2018           $7,194.50
J M SMUCKER COMPANY     39198 TREASURY CENTER                                                       CHICAGO             IL           60694-9100                             SUPPLIERS OR VENDORS      10/18/2018           $6,991.12
J M SMUCKER COMPANY     39198 TREASURY CENTER                                                       CHICAGO             IL           60694-9100                             SUPPLIERS OR VENDORS      10/19/2018              $16.39
J M SMUCKER COMPANY     39198 TREASURY CENTER                                                       CHICAGO             IL           60694-9100                             SUPPLIERS OR VENDORS      10/20/2018         $147,790.42
J M SMUCKER COMPANY     39198 TREASURY CENTER                                                       CHICAGO             IL           60694-9100                             SUPPLIERS OR VENDORS      10/23/2018          $15,965.42
J M SMUCKER COMPANY     39198 TREASURY CENTER                                                       CHICAGO             IL           60694-9100                             SUPPLIERS OR VENDORS      10/31/2018          $96,190.41
J M SMUCKER COMPANY     39198 TREASURY CENTER                                                       CHICAGO             IL           60694-9100                             SUPPLIERS OR VENDORS       11/1/2018          $24,629.82
J M SMUCKER COMPANY     39198 TREASURY CENTER                                                       CHICAGO             IL           60694-9100                             SUPPLIERS OR VENDORS       11/3/2018          $36,638.10
J M SMUCKER COMPANY     39198 TREASURY CENTER                                                       CHICAGO             IL           60694-9100                             SUPPLIERS OR VENDORS       11/6/2018         $161,212.80
J M SMUCKER COMPANY     39198 TREASURY CENTER                                                       CHICAGO             IL           60694-9100                             SUPPLIERS OR VENDORS       11/9/2018          $87,443.21
J M SMUCKER COMPANY     39198 TREASURY CENTER                                                       CHICAGO             IL           60694-9100                             SUPPLIERS OR VENDORS      11/10/2018          $72,168.89
J M SMUCKER COMPANY     39198 TREASURY CENTER                                                       CHICAGO             IL           60694-9100                             SUPPLIERS OR VENDORS      11/17/2018         $135,704.31
J M SMUCKER COMPANY     39198 TREASURY CENTER                                                       CHICAGO             IL           60694-9100                             SUPPLIERS OR VENDORS      11/24/2018         $507,196.94
J M SMUCKER COMPANY     39198 TREASURY CENTER                                                       CHICAGO             IL           60694-9100                             SUPPLIERS OR VENDORS      11/27/2018          $21,403.99
J M SMUCKER COMPANY     39198 TREASURY CENTER                                                       CHICAGO             IL           60694-9100                             SUPPLIERS OR VENDORS      11/30/2018           $5,165.57
J M SMUCKER COMPANY     39198 TREASURY CENTER                                                       CHICAGO             IL           60694-9100                             SUPPLIERS OR VENDORS       12/5/2018          $34,475.21
J THEISEN INC           1808 BRACKETT AVENUE                                                        EAU CLAIRE          WI           54701                                  SUPPLIERS OR VENDORS       11/1/2018           $1,376.58



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                                                                                                                                                                             Reasons for payment or    Dates of     Total Amount or
       Creditor Name             Address1              Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
J THEISEN INC          1808 BRACKETT AVENUE                                                        EAU CLAIRE          WI           54701                                  SUPPLIERS OR VENDORS         11/1/2018            $3,214.37
J THEISEN INC          1808 BRACKETT AVENUE                                                        EAU CLAIRE          WI           54701                                  SUPPLIERS OR VENDORS         12/3/2018            $4,590.95
                                                 N29969 RIVER VALLEY
J&B LANDSCAPING LLC    JACOB WADEWITZ            ROAD                                              ARCADIA             WI           54612                                  SUPPLIERS OR VENDORS       10/29/2018              $569.70
                                                 N29969 RIVER VALLEY
J&B LANDSCAPING LLC    JACOB WADEWITZ            ROAD                                              ARCADIA             WI           54612                                  SUPPLIERS OR VENDORS        12/7/2018              $237.38
J&S LAWN SERVICE       917 EAST FIRST STREET                                                       REDFIELD            SD           57469                                  SUPPLIERS OR VENDORS        11/1/2018               $90.52
                                                 330 W IRVING PARK
JA RU INCORPORATED     VICE PRESIDENT OF SALES   ROAD                                              WOOD DALE           IL           60191                                  SUPPLIERS OR VENDORS       11/22/2018          $167,412.58
                                                 330 W IRVING PARK
JA RU INCORPORATED     VICE PRESIDENT OF SALES   ROAD                                              WOOD DALE           IL           60191                                  SUPPLIERS OR VENDORS       11/29/2018           $73,829.66
JACINTO QUIAHUA        309 1/2 E WATER ST                                                          WATERTOWN           WI           53094                                  SUPPLIERS OR VENDORS       11/12/2018               $15.00
JACK CLARK             PO BOX 13462                                                                ARLINGTON           TX           76094-0462                             SUPPLIERS OR VENDORS        11/1/2018           $12,174.38
JACK CLARK             PO BOX 13462                                                                ARLINGTON           TX           76094-0462                             SUPPLIERS OR VENDORS       11/26/2018            $8,897.15
JACK CLARK             PO BOX 13462                                                                ARLINGTON           TX           76094-0462                             SUPPLIERS OR VENDORS        12/3/2018           $12,174.38
JACK DAWSON            1824 MOREY ROAD                                                             EAGLE RIVER         WI           54521                                  SUPPLIERS OR VENDORS        11/5/2018                $9.92
JACK DAWSON            1824 MOREY ROAD                                                             EAGLE RIVER         WI           54521                                  SUPPLIERS OR VENDORS        11/5/2018               $39.68
JACK ELDER             STORE 2-749               SHOPKO EMPLOYEE        301 1ST AVENUE SOUTH       SAINT JAMES         MN           56081                                  SUPPLIERS OR VENDORS       11/27/2018               $85.02
JACK ELDER             STORE 2-749               SHOPKO EMPLOYEE        301 1ST AVENUE SOUTH       SAINT JAMES         MN           56081                                  SUPPLIERS OR VENDORS       12/29/2018              $255.06
JACK ELDER             301 COLLEGE AVE                                                             FULDA               MN           56131                                  SUPPLIERS OR VENDORS       10/30/2018               $28.87
JACK GILLESPIE         4705 MALLARD WAY                                                            MISSOULA            MT           59802                                  SUPPLIERS OR VENDORS       11/12/2018               $13.44
JACK GILLESPIE         4705 MALLARD WAY                                                            MISSOULA            MT           59802                                  SUPPLIERS OR VENDORS       11/16/2018               $53.76
JACK STREGE            9205 BOMAR AVE                                                              NEENAH              WI           54956                                  SUPPLIERS OR VENDORS        12/3/2018               $48.30
JACKALYN SILVA         90 MATTERHORN TERRACE                                                       PARK CITY           UT           84098                                  SUPPLIERS OR VENDORS       11/12/2018              $144.00
JACKI WILKERSON        330 FIR LN.                                                                 MARSHALL            WI           53559                                  SUPPLIERS OR VENDORS       11/26/2018               $21.85
JACKIE SKLANDER        648 CLIFF STREET                                                            QUINNESEC           MI           49876                                  SUPPLIERS OR VENDORS       10/22/2018               $39.04
JACKIE SKLANDER        648 CLIFF STREET                                                            QUINNESEC           MI           49876                                  SUPPLIERS OR VENDORS       10/31/2018                $9.76
JACKIE WEBB            200 BUEHLER AVE APT 1                                                       NEKOOSA             WI           54457                                  SUPPLIERS OR VENDORS        11/1/2018               $10.56
JACKIE WIDHALM         STORE 2-081               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       10/18/2018              $477.77
JACKSON CORPORATION    VICE PRESIDENT OF SALES   330 5TH AVENUE #11                                NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS       10/19/2018           $17,432.40
JACKSON CORPORATION    VICE PRESIDENT OF SALES   330 5TH AVENUE #11                                NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS       10/25/2018           $31,719.60
JACKSON CORPORATION    VICE PRESIDENT OF SALES   330 5TH AVENUE #11                                NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS        11/2/2018           $69,692.52
JACKSON CORPORATION    VICE PRESIDENT OF SALES   330 5TH AVENUE #11                                NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS        11/9/2018           $40,978.90
JACKSON ECKENDORF      1467 SOMERSET DRIVE                                                         STEVENS POINT       WI           54482                                  SUPPLIERS OR VENDORS       11/16/2018                $3.00
JACKSON FURNITURE      CIT GROUP COMMERCIAL
INDUSTRIES             SERVICES INC              PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       10/19/2018           $55,271.66
JACKSON FURNITURE      CIT GROUP COMMERCIAL
INDUSTRIES             SERVICES INC              PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       10/23/2018           $15,222.24
JACKSON FURNITURE      CIT GROUP COMMERCIAL
INDUSTRIES             SERVICES INC              PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       10/26/2018          $120,695.40
JACKSON FURNITURE                                                                                                                                                          PURCHASE OF
INDUSTRIES             PO BOX 1359                                                                 CLEVELAND           TN           37364                                  MERCHANDISE                 11/1/2018          $346,904.40
JACKSON FURNITURE                                                                                                                                                          PURCHASE OF
INDUSTRIES             PO BOX 1359                                                                 CLEVELAND           TN           37364                                  MERCHANDISE                 11/9/2018           $15,862.82
JACKSON FURNITURE      CIT GROUP COMMERCIAL
INDUSTRIES             SERVICES INC              PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/16/2018           $15,556.08
JACKSON FURNITURE                                                                                                                                                          PURCHASE OF
INDUSTRIES             PO BOX 1359                                                                 CLEVELAND           TN           37364                                  MERCHANDISE                 12/3/2018          $140,451.35
JACKSON HENNING        3712 TOKEN RD                                                               DE FOREST           WI           53532                                  SUPPLIERS OR VENDORS        11/5/2018                $7.00
JACKY MOELLER          W 12285 EAGLE RD.                                                           CRIVITZ             WI           54114                                  SUPPLIERS OR VENDORS        12/5/2018               $25.00
                       197 WEST SPRING VALLEY                                                                                                                              PURCHASE OF
JACLYN APPAREL LLC     AVENUE                                                                      MAYWOOD             NJ           07607                                  MERCHANDISE                10/19/2018          $431,995.78
                       CIT GROUP COMMERCIAL
JACLYN INCORPORATED    SERVICES                  PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS        11/8/2018           $10,402.12



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                                                                                                                                                                               Reasons for payment or    Dates of    Total Amount or
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                      CIT GROUP COMMERCIAL
JACLYN INCORPORATED   SERVICES                      PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       12/3/2018         $79,780.52
JACLYN KERNER         STORE 2-005                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/18/2018             $71.94
JACMEL JEWELRY
INCORPORATED          30-00 47TH AVENUE                                                               LONG ISLAND CITY NY              11101                                  SUPPLIERS OR VENDORS       11/8/2018            $532.30
JACOB ASH COMPANY
INCORPORATED          VICE PRESIDENT OF SALES       301 MUNSEN AVENUE                                 MCKEES ROCK         PA           15136                                  SUPPLIERS OR VENDORS      10/18/2018        $324,675.75
JACOB ASH COMPANY
INCORPORATED          VICE PRESIDENT OF SALES       301 MUNSEN AVENUE                                 MCKEES ROCK         PA           15136                                  SUPPLIERS OR VENDORS       11/1/2018           $4,598.30
JACOB ASH COMPANY
INCORPORATED          VICE PRESIDENT OF SALES       301 MUNSEN AVENUE                                 MCKEES ROCK         PA           15136                                  SUPPLIERS OR VENDORS       11/8/2018         $44,319.32
JACOB ASH COMPANY
INCORPORATED          VICE PRESIDENT OF SALES       301 MUNSEN AVENUE                                 MCKEES ROCK         PA           15136                                  SUPPLIERS OR VENDORS      11/15/2018         $46,211.80
JACOB ASH COMPANY
INCORPORATED          VICE PRESIDENT OF SALES       301 MUNSEN AVENUE                                 MCKEES ROCK         PA           15136                                  SUPPLIERS OR VENDORS      11/22/2018           $5,087.74
JACOB ASH COMPANY
INCORPORATED          VICE PRESIDENT OF SALES       301 MUNSEN AVENUE                                 MCKEES ROCK         PA           15136                                  SUPPLIERS OR VENDORS      11/29/2018         $45,300.84
JACOB DODD            632 NW BROADWAY               APT #1                                            BEND                OR           97703                                  SUPPLIERS OR VENDORS      11/28/2018             $25.00
JACOB EMMERICH        133 NORTH 2ND STREET                                                            MEDFORD             WI           54451                                  SUPPLIERS OR VENDORS       12/7/2018             $23.00
JACOB GREEN           5978 N 23                                                                       LINCOLN             NE           68521                                  SUPPLIERS OR VENDORS       12/7/2018            $130.00
JACOB HOOGENDOORN     465 11TH ST                                                                     HILLS               MN           56138                                  SUPPLIERS OR VENDORS      11/29/2018             $48.00
JACOB JANES           7026 W FENRICK RD                                                               EVANSVILLE          WI           53536                                  SUPPLIERS OR VENDORS      11/28/2018             $49.00
JACOB MCCLAIN         134 AVE. B                                                                      BILLINGS            MT           59101                                  SUPPLIERS OR VENDORS      11/14/2018             $35.00
JACOB MICHEAU         1323 DAKOTA AVE                                                                 GLADSTONE           MI           49837                                  SUPPLIERS OR VENDORS       12/7/2018            $138.00
JACOB PETITT          603 N STEVENS ST                                                                RHINELANDER         WI           54501                                  SUPPLIERS OR VENDORS       11/5/2018             $10.00
JACOB PHILLIPS        842 FLINN RD                                                                    FRANKLIN            IL           62638                                  SUPPLIERS OR VENDORS      12/10/2018              $5.17
JACOB PHILLIPS        842 FLINN RD                                                                    FRANKLIN            IL           62638                                  SUPPLIERS OR VENDORS      12/10/2018             $17.86
JACOB PRALLE          STORE 771                     SHOPKO EMPLOYEE        117 WEST 1ST AVENUE        PLENYTWOOD          MT           59254                                  SUPPLIERS OR VENDORS      11/16/2018            $429.31
JACOB PRALLE          STORE 771                     SHOPKO EMPLOYEE        117 WEST 1ST AVENUE        PLENYTWOOD          MT           59254                                  SUPPLIERS OR VENDORS      11/27/2018            $385.46
JACOB PRALLE          STORE 771                     SHOPKO EMPLOYEE        117 WEST 1ST AVENUE        PLENYTWOOD          MT           59254                                  SUPPLIERS OR VENDORS      12/22/2018            $651.64
JACOB RIFE            4757 TETON                                                                      POCATELLO           ID           83202                                  SUPPLIERS OR VENDORS      10/22/2018             $14.00
JACOB RUDNITZKI       2056 FAIRFAX AVE                                                                BELOIT              WI           53511                                  SUPPLIERS OR VENDORS      11/14/2018              $7.60
JACOB SCHULER         505 WEST CUSTER                                                                 GETTYSBURG          SD           57442                                  SUPPLIERS OR VENDORS      10/18/2018             $27.00
JACOB SCHULER         505 WEST CUSTER                                                                 GETTYSBURG          SD           57442                                  SUPPLIERS OR VENDORS       11/1/2018            $119.97
JACOB SCHULER         505 WEST CUSTER                                                                 GETTYSBURG          SD           57442                                  SUPPLIERS OR VENDORS       11/8/2018            $116.47
JACOB SMITH           5305 WILLIT ST                                                                  OMAHA               NE           68152                                  SUPPLIERS OR VENDORS      12/14/2018             $23.00
                      LP FIELD INVESTIGATOR/STORE
JACOB SOHA            105                           SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/19/2018            $807.98
                      LP FIELD INVESTIGATOR/STORE
JACOB SOHA            105                           SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/26/2018            $626.92
                      LP FIELD INVESTIGATOR/STORE
JACOB SOHA            105                           SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/9/2018            $359.20
                      LP FIELD INVESTIGATOR/STORE
JACOB SOHA            105                           SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/8/2018            $838.29
                      LP FIELD INVESTIGATOR/STORE
JACOB SOHA            105                           SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/20/2018            $595.05
JACOB VAN GOMPEL      901 BRILL ROAD                                                                  KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS      10/18/2018             $25.00
JACOB WALDNER         1311 KANSAS NE                                                                  HURON               SD           57350                                  SUPPLIERS OR VENDORS       12/7/2018             $44.80
JACOB WESKAMP         1811 DWEESE DR                                                                  LINCOLN             NE           68504                                  SUPPLIERS OR VENDORS      10/22/2018             $98.00
JACQUELINE BARTOW     5920 CTY RD LS                                                                  MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS      11/28/2018             $18.00
JACQUELINE BLOCK      301 WOLF ST.                                                                    MADISON             WI           53717                                  SUPPLIERS OR VENDORS      12/21/2018             $25.00
JACQUELINE BUHR       929 WOODSIDE DR                                                                 SEYMOUR             WI           54165                                  SUPPLIERS OR VENDORS      11/16/2018             $25.00
JACQUELINE CALTON     111 S ELDER ST                                                                  NAMPA               ID           83686                                  SUPPLIERS OR VENDORS      10/22/2018             $22.06
JACQUELINE CALTON     111 S ELDER ST                                                                  NAMPA               ID           83686                                  SUPPLIERS OR VENDORS      10/22/2018             $58.00



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JACQUELINE COLYER     PO BOX 265                                                                PLAINS              MT           59859                                  SUPPLIERS OR VENDORS        11/30/2018               $32.37
JACQUELINE COLYER     PO BOX 265                                                                PLAINS              MT           59859                                  SUPPLIERS OR VENDORS         12/7/2018               $51.63
JACQUELINE DEBOW      311 NORTH 5TH STREET                                                      DELAVAN             WI           53115                                  SUPPLIERS OR VENDORS        10/30/2018              $752.96
JACQUELINE DREGNEY    W565 CTY RD HH                                                            MONDOVI             WI           54755                                  SUPPLIERS OR VENDORS         11/2/2018               $17.08
JACQUELINE EROVICK    8709 E GREENBLUFF RD                                                      COLBERT             WA           99005                                  SUPPLIERS OR VENDORS        11/12/2018               $17.00
JACQUELINE GRAY       2615 N STAGECOACH DR                                                      POST FALLS          ID           83854                                  SUPPLIERS OR VENDORS         11/9/2018               $23.00
JACQUELINE NESS       1037 OAK FOREST DR                                                        ONALASKA            WI           54650                                  SUPPLIERS OR VENDORS        12/14/2018               $40.00
JACQUELINE NOBLE      6384 S BAILEYVILLE RD                                                     BAILEYVILLE         IL           61007                                  SUPPLIERS OR VENDORS        10/26/2018               $34.00
JACQUELINE PRATHER    STORE 700               SHOPKO EMPLOYEE        PO BOX 7                   KIMBALL             NE           69145                                  SUPPLIERS OR VENDORS        10/26/2018              $173.31
JACQUELINE PRATHER    STORE 700               SHOPKO EMPLOYEE        PO BOX 7                   KIMBALL             NE           69145                                  SUPPLIERS OR VENDORS        11/27/2018              $116.63
JACQUELINE PRATHER    STORE 700               SHOPKO EMPLOYEE        PO BOX 7                   KIMBALL             NE           69145                                  SUPPLIERS OR VENDORS        12/14/2018              $233.26
JACQUELINE PRATHER    STORE 700               SHOPKO EMPLOYEE        PO BOX 7                   KIMBALL             NE           69145                                  SUPPLIERS OR VENDORS        12/22/2018              $149.33
JACQUELINE VOGT       3826 MAIN ST                                                              BARNUM              MN           55707                                  SUPPLIERS OR VENDORS        11/14/2018              $238.00
JACQUELINE YOUNG      410 EAST WOOD LN.                                                         BELVIDERE           IL           61008                                  SUPPLIERS OR VENDORS         12/7/2018              $145.00
JACQUELYN HERMAN      1635 EUCLID                                                               LINCOLN             NE           68502                                  SUPPLIERS OR VENDORS        11/29/2018               $47.94
JACQUELYN LECHUGA     STORE 2-788             SHOPKO EMPLOYEE        200 COMMERCE DRIVE         COLUMBUS            WI           53925                                  SUPPLIERS OR VENDORS        10/25/2018              $218.00
JACQUELYN LECHUGA     STORE 2-788             SHOPKO EMPLOYEE        200 COMMERCE DRIVE         COLUMBUS            WI           53925                                  SUPPLIERS OR VENDORS        11/29/2018              $224.54
JACQUELYN LECHUGA     STORE 2-788             SHOPKO EMPLOYEE        200 COMMERCE DRIVE         COLUMBUS            WI           53925                                  SUPPLIERS OR VENDORS        12/13/2018               $88.29
JACQUELYN LECHUGA     STORE 2-788             SHOPKO EMPLOYEE        200 COMMERCE DRIVE         COLUMBUS            WI           53925                                  SUPPLIERS OR VENDORS        12/20/2018              $121.54
JACQUELYN MCNAMARA    8300 S TIMBER OAK CIR                                                     SIOUX FALLS         SD           57108                                  SUPPLIERS OR VENDORS        10/23/2018              $266.02
JACQUELYN NOWAK       9464 SCHALK LN                                                            CRANDON             WI           54520                                  SUPPLIERS OR VENDORS         11/5/2018               $10.00
JACQUELYNE MANKE      1595 FORREST STREET                                                       CUMBERLAND          WI           54829                                  SUPPLIERS OR VENDORS        11/26/2018               $44.80
JACQUES MORET
INCORPORATED          23385 NETWORK PLACE                                                       CHICAGO             IL           60673-1233                             SUPPLIERS OR VENDORS       10/18/2018              $522.60
JACQUES MORET
INCORPORATED          23385 NETWORK PLACE                                                       CHICAGO             IL           60673-1233                             SUPPLIERS OR VENDORS       10/18/2018            $5,473.76
JACQUES MORET
INCORPORATED          23385 NETWORK PLACE                                                       CHICAGO             IL           60673-1233                             SUPPLIERS OR VENDORS       10/18/2018           $39,653.47
JACQUES MORET
INCORPORATED          23385 NETWORK PLACE                                                       CHICAGO             IL           60673-1233                             SUPPLIERS OR VENDORS       10/19/2018              $351.00
JACQUES MORET
INCORPORATED          23385 NETWORK PLACE                                                       CHICAGO             IL           60673-1233                             SUPPLIERS OR VENDORS       10/19/2018            $4,552.56
JACQUES MORET
INCORPORATED          23385 NETWORK PLACE                                                       CHICAGO             IL           60673-1233                             SUPPLIERS OR VENDORS       10/19/2018          $274,977.97
JACQUES MORET
INCORPORATED          23385 NETWORK PLACE                                                       CHICAGO             IL           60673-1233                             SUPPLIERS OR VENDORS       10/20/2018              $513.00
JACQUES MORET
INCORPORATED          23385 NETWORK PLACE                                                       CHICAGO             IL           60673-1233                             SUPPLIERS OR VENDORS       10/20/2018            $3,237.00
JACQUES MORET
INCORPORATED          23385 NETWORK PLACE                                                       CHICAGO             IL           60673-1233                             SUPPLIERS OR VENDORS       10/20/2018           $15,824.32
JACQUES MORET
INCORPORATED          23385 NETWORK PLACE                                                       CHICAGO             IL           60673-1233                             SUPPLIERS OR VENDORS       10/23/2018              $702.00
JACQUES MORET
INCORPORATED          23385 NETWORK PLACE                                                       CHICAGO             IL           60673-1233                             SUPPLIERS OR VENDORS       10/23/2018           $27,864.35
JACQUES MORET
INCORPORATED          23385 NETWORK PLACE                                                       CHICAGO             IL           60673-1233                             SUPPLIERS OR VENDORS       10/24/2018            $2,173.00
JACQUES MORET
INCORPORATED          23385 NETWORK PLACE                                                       CHICAGO             IL           60673-1233                             SUPPLIERS OR VENDORS       10/24/2018        $1,161,584.40
JACQUES MORET
INCORPORATED          23385 NETWORK PLACE                                                       CHICAGO             IL           60673-1233                             SUPPLIERS OR VENDORS       10/25/2018            $2,700.00
JACQUES MORET
INCORPORATED          23385 NETWORK PLACE                                                       CHICAGO             IL           60673-1233                             SUPPLIERS OR VENDORS       10/25/2018           $25,519.60
JACQUES MORET
INCORPORATED          23385 NETWORK PLACE                                                       CHICAGO             IL           60673-1233                             SUPPLIERS OR VENDORS       10/25/2018           $37,827.60



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JACQUES MORET
INCORPORATED              23385 NETWORK PLACE                                                      CHICAGO             IL           60673-1233                             SUPPLIERS OR VENDORS      10/27/2018            $864.00
JACQUES MORET
INCORPORATED              23385 NETWORK PLACE                                                      CHICAGO             IL           60673-1233                             SUPPLIERS OR VENDORS      10/27/2018         $12,505.20
JACQUES MORET
INCORPORATED              23385 NETWORK PLACE                                                      CHICAGO             IL           60673-1233                             SUPPLIERS OR VENDORS      10/30/2018         $19,750.00
JACQUES MORET
INCORPORATED              23385 NETWORK PLACE                                                      CHICAGO             IL           60673-1233                             SUPPLIERS OR VENDORS      10/31/2018            $297.00
JACQUES MORET
INCORPORATED              23385 NETWORK PLACE                                                      CHICAGO             IL           60673-1233                             SUPPLIERS OR VENDORS       11/1/2018            $108.00
JACQUES MORET
INCORPORATED              23385 NETWORK PLACE                                                      CHICAGO             IL           60673-1233                             SUPPLIERS OR VENDORS       11/2/2018         $12,474.00
JACQUES MORET
INCORPORATED              23385 NETWORK PLACE                                                      CHICAGO             IL           60673-1233                             SUPPLIERS OR VENDORS      11/14/2018         $50,465.03
JACQUES MORET
INCORPORATED              23385 NETWORK PLACE                                                      CHICAGO             IL           60673-1233                             SUPPLIERS OR VENDORS      11/17/2018         $53,568.70
JACQUES MORET
INCORPORATED              23385 NETWORK PLACE                                                      CHICAGO             IL           60673-1233                             SUPPLIERS OR VENDORS      11/24/2018           $4,514.58
JACQUES MORET
INCORPORATED              23385 NETWORK PLACE                                                      CHICAGO             IL           60673-1233                             SUPPLIERS OR VENDORS      11/24/2018        $176,123.45
JACQUES MORET
INCORPORATED              23385 NETWORK PLACE                                                      CHICAGO             IL           60673-1233                             SUPPLIERS OR VENDORS      11/30/2018             $45.47
JACQUES MORET
INCORPORATED              23385 NETWORK PLACE                                                      CHICAGO             IL           60673-1233                             SUPPLIERS OR VENDORS      11/30/2018            $450.00
JACQUES MORET
INCORPORATED              23385 NETWORK PLACE                                                      CHICAGO             IL           60673-1233                             SUPPLIERS OR VENDORS      11/30/2018            $540.00
JACQUES MORET
INCORPORATED              23385 NETWORK PLACE                                                      CHICAGO             IL           60673-1233                             SUPPLIERS OR VENDORS      11/30/2018           $6,402.95
JACQUES MORET
INCORPORATED              23385 NETWORK PLACE                                                      CHICAGO             IL           60673-1233                             SUPPLIERS OR VENDORS       12/1/2018            $837.00
JACQUES MORET
INCORPORATED              23385 NETWORK PLACE                                                      CHICAGO             IL           60673-1233                             SUPPLIERS OR VENDORS       12/1/2018           $3,307.20
JACQUES MORET
INCORPORATED              23385 NETWORK PLACE                                                      CHICAGO             IL           60673-1233                             SUPPLIERS OR VENDORS       12/1/2018         $12,582.74
JACQUES MORET
INCORPORATED              23385 NETWORK PLACE                                                      CHICAGO             IL           60673-1233                             SUPPLIERS OR VENDORS       12/4/2018         $22,590.00
JACQUES MORET
INCORPORATED              23385 NETWORK PLACE                                                      CHICAGO             IL           60673-1233                             SUPPLIERS OR VENDORS       12/6/2018           $6,039.03
JACQUES MORET
INCORPORATED              23385 NETWORK PLACE                                                      CHICAGO             IL           60673-1233                             SUPPLIERS OR VENDORS      12/15/2018            $258.06
JACQUIE ROWAN             1122 ABERDEEN                                                            LINCOLN             NE           68512                                  SUPPLIERS OR VENDORS      10/22/2018             $25.00

JADA TOYS INCORPORATED    938 HATCHER AVENUE                                                       CITY OF INDUSTRY CA              91748-0000                             SUPPLIERS OR VENDORS      10/25/2018            $839.16

JADE AA INVESTMENTS LLC   1318 S SEDONA CIR                                                        ONEIDA              WI           54155                                  SUPPLIERS OR VENDORS       11/1/2018         $11,173.34

JADE AA INVESTMENTS LLC   1318 S SEDONA CIR                                                        ONEIDA              WI           54155                                  SUPPLIERS OR VENDORS       12/1/2018         $11,173.34

JADE AA INVESTMENTS LLC   1318 S SEDONA CIRCLE                                                     ONEIDA              WI           54155                                  LANDLORD RENT PAYMENT      1/10/2019         $11,173.34
JADE GREENWOOD            N2232 SHORE DRIVE                                                        MARINETTE           WI           54143                                  SUPPLIERS OR VENDORS       11/5/2018              $2.00
JADE PRICE                STORE 2-697            SHOPKO EMPLOYEE        1710 NORTH STREET          SENECA              KS           66538                                  SUPPLIERS OR VENDORS       11/1/2018            $125.35
JADE PRICE                STORE 2-697            SHOPKO EMPLOYEE        1710 NORTH STREET          SENECA              KS           66538                                  SUPPLIERS OR VENDORS      11/15/2018             $59.95
JADE REIGEL               1877 MANATEE RD                                                          KRONENWETTER        WI           54455                                  SUPPLIERS OR VENDORS      11/26/2018             $30.00
JADE THEISEN              STORE 2-130            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/26/2018             $69.65



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JADEN BANTON              3031 NE PACIFIC CREST DR                                                       BEND                OR           97701                                  SUPPLIERS OR VENDORS         11/5/2018               $25.00
JADEN WALLER              4468 CRESCENT ROAD                                                             MADISON             WI           53711                                  SUPPLIERS OR VENDORS        10/22/2018               $25.00
JAEDYN PIEPER             N8860 CATLIN AVE                                                               LOYAL               WI           54446                                  SUPPLIERS OR VENDORS        10/22/2018               $76.00
                          DBA JAGUSCH LAWN
JAGUSCH ENTERPRISES LLC   CARE/MIDWEST IRRIGATION     PO BOX 564                                         NORTH BRANCH        MN           55056                                  SUPPLIERS OR VENDORS       12/18/2018              $416.81
JAIME NARVAEZ             813 S. 2ND STREET                                                              WATERTOWN           WI           53094                                  SUPPLIERS OR VENDORS        11/2/2018                $5.05
JAIME TENNANT             600 JOHNS DRIVE             APT. 1                                             STEVENS POINT       WI           54481                                  SUPPLIERS OR VENDORS       12/13/2018               $15.00
JAIMEE BRASHER            1851 INDIAN SPRINGS CT.                                                        FREEPORT            IL           61032                                  SUPPLIERS OR VENDORS       11/28/2018                $6.00
JAIMIE LITTLE             STORE 133                   SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/25/2018              $220.18

JAKKS SALES CORPORATION
(HONG KONG)             21749 BAKER PARKWAY                                                              Walnut              CA           91789                                  SUPPLIERS OR VENDORS        11/1/2018           $21,369.26

JAKKS SALES CORPORATION
(HONG KONG)             21749 BAKER PARKWAY                                                              Walnut              CA           91789                                  SUPPLIERS OR VENDORS       11/15/2018           $10,606.46

JAKKS SALES CORPORATION
(HONG KONG)             21749 BAKER PARKWAY                                                              Walnut              CA           91789                                  SUPPLIERS OR VENDORS       11/22/2018           $11,213.10

JAKKS SALES CORPORATION
(HONG KONG)               21749 BAKER PARKWAY                                                            Walnut              CA           91789                                  SUPPLIERS OR VENDORS       11/29/2018           $52,254.38
JAKOB RAUSCHENBERGER      4807 TWELVE OAKS DR                                                            MILTON              WI           53563                                  SUPPLIERS OR VENDORS       11/26/2018               $35.00
JAMEE WERNER              4905 N CALVIN RD                                                               SPOKANE             WA           99216                                  SUPPLIERS OR VENDORS       12/14/2018               $12.00
JAMES ACKERLUND           N. 9711 COUNTY RD. M                                                           COLFAX              WI           54730                                  SUPPLIERS OR VENDORS       10/19/2018               $15.00
JAMES ALTMAN              513 10TH ST                                                                    BREWSTER            MN           56119                                  SUPPLIERS OR VENDORS       12/17/2018               $27.76
JAMES ALVES               378 ALTURAS DR N                                                               TWIN FALLS          ID           83301                                  SUPPLIERS OR VENDORS       12/10/2018                $5.70
JAMES BATES               309 S MADISON ST                                                               EVANSVILLE          WI           53536                                  SUPPLIERS OR VENDORS        12/7/2018               $28.00
JAMES BEAVERS             308 FINLEY                                                                     JACKSONVILLE        IL           62650                                  SUPPLIERS OR VENDORS       11/28/2018               $95.00
JAMES BLANTON             332 MAPLE STREET                                                               KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS       11/26/2018               $10.43
JAMES BOOTH               N5778 HIGHWAY 40                                                               BRUCE               WI           54819                                  SUPPLIERS OR VENDORS        11/8/2018               $70.00
JAMES BREIDENBACH         884 BRICKLEY DRIVE                                                             FONTANA             WI           53125                                  SUPPLIERS OR VENDORS        11/8/2018               $26.00
JAMES BROWN               N230 13TH RD                                                                   PARDEEVILLE         WI           53954                                  SUPPLIERS OR VENDORS       10/22/2018               $69.00
JAMES BUTCHER             STORE 2-029                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/19/2018              $327.00
JAMES BUTCHER             STORE 2-029                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/26/2018              $408.75
JAMES BUTCHER             STORE 2-029                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/2/2018              $310.65
JAMES BUTCHER             STORE 2-029                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/9/2018              $414.20
JAMES BUTCHER             STORE 2-029                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/16/2018              $297.57
JAMES BUTCHER             STORE 2-029                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/30/2018              $567.89
JAMES BUTCHER             STORE 2-029                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/11/2018              $371.69
JAMES BUTCHER             STORE 2-029                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/14/2018              $354.03
JAMES BUTCHER             STORE 2-029                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/20/2018              $483.51
JAMES BUTCHER             STORE 2-029                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/29/2018              $386.74
JAMES BUTCHER             STORE 2-029                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        1/15/2019              $470.38
JAMES CAMPBELL            2770 CO ROAD N                                                                 FLORENCE            WI           54121                                  SUPPLIERS OR VENDORS       10/22/2018               $39.04
JAMES CAMPBELL            2770 CO ROAD N                                                                 FLORENCE            WI           54121                                  SUPPLIERS OR VENDORS       10/29/2018                $9.76
JAMES CASEY               3113 15TH STREET                                                               MENOMINEE           MI           49858                                  SUPPLIERS OR VENDORS       11/28/2018               $62.00
JAMES CLEVEN              604 N MAIN ST                                                                  SEYMOUR             WI           54165                                  SUPPLIERS OR VENDORS        11/1/2018              $150.00
JAMES CONWAY              7300 OLD POST RD #10                                                           LINCOLN             NE           68506                                  SUPPLIERS OR VENDORS       10/31/2018               $13.15
JAMES CONWAY              7300 OLD POST RD #10                                                           LINCOLN             NE           68506                                  SUPPLIERS OR VENDORS        11/5/2018               $60.85

JAMES CRAWFORD            7000 BEAVER HOLLOW CIRCLE                                                      LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS       11/12/2018               $11.98

JAMES CRAWFORD            7000 BEAVER HOLLOW CIRCLE                                                      LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS       11/28/2018               $47.94
JAMES DANBERRY            310 OWATONNA ST.                                                               MANKATO             MN           56001                                  SUPPLIERS OR VENDORS       10/22/2018               $70.00



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                                                                                                                                                                                 Reasons for payment or    Dates of     Total Amount or
      Creditor Name               Address1                 Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
JAMES DEKEUSTER         2850 FRANSISCO RD                                                              EAGLE RIVER         WI           54521                                  SUPPLIERS OR VENDORS        11/26/2018               $39.68
JAMES DEPAUL            BUSINESS OPERATIONS          SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/19/2018            $1,753.59
JAMES DEPAUL            BUSINESS OPERATIONS          SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/27/2018              $771.04
JAMES DOLEN             669 RED BRIDGE RD                                                              WINCHESTER          IL           62694                                  SUPPLIERS OR VENDORS        12/20/2018               $18.25
JAMES ERVIN             PHARMACY SUPPLY CHAIN        SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/28/2018              $712.63
JAMES FARLEY            5069 M.5 LANE                                                                  ESCANABA            MI           49829                                  SUPPLIERS OR VENDORS        11/29/2018               $55.05
JAMES FORD              754 160TH STREET                                                               HAMMOND             WI           54015                                  SUPPLIERS OR VENDORS        10/25/2018               $11.99
JAMES G BRENTS          STORE 075                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/11/2018               $15.26
JAMES GIBSON            STORE 543                    SHOPKO EMPLOYEE        600 US HIGHWAY 2 W         WOLF POINT          MT           59201-1435                             SUPPLIERS OR VENDORS        12/22/2018              $509.43
JAMES HAGER             209 SNURE STREET                                                               LAKEFIELD           MN           56150                                  SUPPLIERS OR VENDORS        11/26/2018                $3.00
                                                                                                       MILTON
JAMES HALBERT           20 NW 5TH AVE                                                                  FREEWATER           OR           97862                                  SUPPLIERS OR VENDORS       12/17/2018               $68.00
JAMES HAWKINS           421 EAST HAMILTON                                                              WEST SALEM          WI           54669                                  SUPPLIERS OR VENDORS        12/7/2018               $70.77
JAMES HOLLAREN          206 E 10TH ST, APT F                                                           DELL RAPIDS         SD           57022                                  SUPPLIERS OR VENDORS        12/7/2018               $48.00
JAMES HUNTSMAN          W2587 WAUCEDAH ROAD                                                            VULCAN              MI           49892                                  SUPPLIERS OR VENDORS       10/29/2018               $19.83
JAMES HUNTSMAN          W2587 WAUCEDAH ROAD                                                            VULCAN              MI           49892                                  SUPPLIERS OR VENDORS        11/5/2018               $93.17

JAMES IVERSON           767 E PARKCENTER BLVD #154                                                     BOISE               ID           83706                                  SUPPLIERS OR VENDORS        11/1/2018               $19.51
JAMES JACOBS            1744 CHERRY LN                                                                 SAINT CLOUD         MN           56304                                  SUPPLIERS OR VENDORS       11/14/2018              $268.00
JAMES JARZYNSKI         236 W GRANT AVE.                                                               EAU CLAIRE          WI           54701                                  SUPPLIERS OR VENDORS       11/29/2018               $42.24
                                                                                                       BLOOMING
JAMES JERDET            212 1ST ST NE                                                                  PRAIRIE             MN           55917                                  SUPPLIERS OR VENDORS        12/5/2018               $25.50
JAMES JIRIKOWIC         1410 VIEBAHN ST                                                                MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS       11/14/2018               $49.00
JAMES L EATOM MASONIC
LODGE                   ATTN TOMMY YOUNG             104 S WALNUT STREET                               KIMBALL             NE           69145                                  SUPPLIERS OR VENDORS       10/23/2018               $75.00
JAMES LEATZOW           1265 PINE ISLE RD                                                              THREE LAKES         WI           54562                                  SUPPLIERS OR VENDORS       11/26/2018               $24.47
JAMES LEATZOW           1265 PINE ISLE RD                                                              THREE LAKES         WI           54562                                  SUPPLIERS OR VENDORS       11/29/2018               $37.53
JAMES LONG              1310 HILLIVIEW                                                                 NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS       11/12/2018               $55.98
JAMES LOVE              N4700 TALL TIMBERS CIRCLE                                                      MONTELLO            WI           53949                                  SUPPLIERS OR VENDORS       12/18/2018              $182.99
JAMES MALSOM            12941 IRONWOOD DRIVE                                                           ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       11/26/2018               $48.64
JAMES MALSOM            12941 IRONWOOD DRIVE                                                           ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       12/10/2018               $27.36
JAMES MANKOWSKI         22 QUINN CR.                                                                   MADISON             WI           53713                                  SUPPLIERS OR VENDORS        11/8/2018               $30.00
JAMES MCCANN            P O BOX 2041                                                                   OROFINO             ID           83544                                  SUPPLIERS OR VENDORS        12/3/2018               $55.00
JAMES MCKINNEY          5819 N VIOLET VIEW DR                                                          MILTON              WI           53563                                  SUPPLIERS OR VENDORS       10/29/2018               $25.00
JAMES MELLOM            1413 SYCAMORE ST                                                               JANESVILLE          WI           53545                                  SUPPLIERS OR VENDORS        11/2/2018               $24.00
JAMES MILLER            4791 FAIRVIEW RD                                                               LARSEN              WI           54947                                  SUPPLIERS OR VENDORS        11/2/2018               $36.01
JAMES MORRIS            509 N RKO PLACE                                                                SIOUX FALLS         SD           57104                                  SUPPLIERS OR VENDORS        11/6/2018               $12.00
JAMES MORRIS            509 N RKO PLACE                                                                SIOUX FALLS         SD           57104                                  SUPPLIERS OR VENDORS       11/16/2018               $48.00
JAMES NELSON            10529 PINE ST                                                                  RAPID RIVER         MI           49878                                  SUPPLIERS OR VENDORS         1/7/2019                $5.01
JAMES NEWLING           1703 W. WISCONSIN AVE.                                                         APPLETON            WI           54914                                  SUPPLIERS OR VENDORS        11/5/2018               $33.80
JAMES OLSON             STORE 170                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/18/2018              $163.50
JAMES PESCH             301 LINCOLN ST                                                                 TAUNTON             MN           56291                                  SUPPLIERS OR VENDORS       11/26/2018                $3.00

JAMES PETERSON          W8142 HAYSTACK VIEW DRIVE                                                      IRON MOUNTAIN       MI           49801                                  SUPPLIERS OR VENDORS       10/25/2018                $5.00
JAMES PETERSON          14671 COUNTY HWY U N                                                           CHIPPEWA FALLS      WI           54729                                  SUPPLIERS OR VENDORS        11/5/2018               $42.24
JAMES PETERSON          14671 COUNTY HWY UN                                                            CHIPPEWAFALLS       WI           54729                                  SUPPLIERS OR VENDORS       11/26/2018               $10.56
JAMES RADEBAUGH         OPERATIONS/STORE 019         SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS        11/9/2018              $498.72
JAMES RADEBAUGH         OPERATIONS/STORE 019         SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       12/29/2018              $216.93
JAMES REGAN             226 SCHROEDER AVENUE                                                           DELAVAN             WI           53115                                  SUPPLIERS OR VENDORS        12/3/2018              $172.00
JAMES RIES              400 EAST SAGOLA AVENUE                                                         KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS       11/26/2018               $62.46
JAMES ROBERTS           PO BOX 1171                                                                    NEWPORT             WA           99156                                  SUPPLIERS OR VENDORS       11/13/2018              $372.96
JAMES ROBERTSON         144 POPLAR                                                                     CLARKIA             ID           83812                                  SUPPLIERS OR VENDORS       11/26/2018                $5.45
JAMES ROBERTSON         144 POPLAR                                                                     CLARKIA             ID           83812                                  SUPPLIERS OR VENDORS       11/29/2018               $21.79
JAMES SARBACKER         STORE 032                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS        11/2/2018              $908.33



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                                                                                                                                                                             Reasons for payment or    Dates of     Total Amount or
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JAMES SCHRAM          802 W 5TH ST APT #16                                                         REDFIELD            SD           57469                                  SUPPLIERS OR VENDORS         12/7/2018               $10.00
                      N3742 DECATUR- SYLVESTER
JAMES SIEDSCHLAG      ROAD                                                                         MONROE              WI           53566                                  SUPPLIERS OR VENDORS        11/5/2018               $43.00
JAMES SIMAC           11906 CHERNEY ROAD                                                           MISHICOT            WI           54228                                  SUPPLIERS OR VENDORS       11/26/2018               $30.00
JAMES SMITH           PO BOX 55                                                                    BRENTFORD           SD           57429                                  SUPPLIERS OR VENDORS       10/22/2018               $20.00
JAMES SMITH           1650 9TH STREET SW                                                           MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS       10/29/2018               $48.00
JAMES SPRADLEY        STORE 671                  SHOPKO EMPLOYEE        PO BOX 469                 WAUKON              IA           52172                                  SUPPLIERS OR VENDORS       10/26/2018              $358.51
JAMES SPRADLEY        STORE 671                  SHOPKO EMPLOYEE        PO BOX 469                 WAUKON              IA           52172                                  SUPPLIERS OR VENDORS        11/9/2018              $638.19
JAMES SPRADLEY        STORE 671                  SHOPKO EMPLOYEE        PO BOX 469                 WAUKON              IA           52172                                  SUPPLIERS OR VENDORS       11/16/2018              $250.95
JAMES SPRADLEY        STORE 671                  SHOPKO EMPLOYEE        PO BOX 469                 WAUKON              IA           52172                                  SUPPLIERS OR VENDORS       11/27/2018              $244.35
JAMES SPRADLEY        STORE 671                  SHOPKO EMPLOYEE        PO BOX 469                 WAUKON              IA           52172                                  SUPPLIERS OR VENDORS       12/11/2018              $123.64
JAMES STEINBACH       613 S MAIN                                                                   LOYAL               WI           54446                                  SUPPLIERS OR VENDORS        12/7/2018               $62.00
JAMES STEWART         PO BOX 875                                                                   RED LODGE           MT           59068                                  SUPPLIERS OR VENDORS       11/30/2018               $75.00
JAMES STUBBE          101 1/2 S PARK ST                                                            MERRILL             WI           54452                                  SUPPLIERS OR VENDORS        11/9/2018              $107.98
JAMES STUBBE          101 1/2 S PARK ST                                                            MERRILL             WI           54452                                  SUPPLIERS OR VENDORS        11/9/2018              $107.98
JAMES SVITAVSKY       546 FRANKLIN STREET                                                          WAUPUN              WI           53963                                  SUPPLIERS OR VENDORS        11/9/2018               $50.00

JAMES THACKER         11015 146TH AVE.                                                             WEST BURLINGTON     IA           52655                                  SUPPLIERS OR VENDORS       11/30/2018               $79.98
JAMES VLASAK          2022 FLORENCE CRT                                                            EAU CLAIRE          WI           54703                                  SUPPLIERS OR VENDORS       10/19/2018               $42.24
JAMES VOIGT           STORE 030                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/26/2018              $250.70
JAMES VOIGT           STORE 030                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/22/2018              $164.55
JAMES VOSS            13795 300TH ST                                                               BOYD                WI           54726                                  SUPPLIERS OR VENDORS        11/9/2018               $16.00
JAMES WEILAND         1934 EVA RD                                                                  MOSINEE             WI           54455                                  SUPPLIERS OR VENDORS        11/8/2018               $50.00
JAMES WERVEY          2361 20 1/4TH ST.                                                            RICE LAKE           WI           54868                                  SUPPLIERS OR VENDORS       11/26/2018               $11.20
JAMES WHITING         29249 286TH AVE                                                              VALENTINE           NE           69201                                  SUPPLIERS OR VENDORS       10/29/2018               $11.20
JAMES WILLKOMM        406 N. WALBRIDGE AVE. #9                                                     MADISON             WI           53714                                  SUPPLIERS OR VENDORS        11/7/2018               $37.80
JAMES WILLKOMM        406 N. WALBRIDGE AVE. #9                                                     MADISON             WI           53714                                  SUPPLIERS OR VENDORS        11/7/2018               $53.19
JAMESON MAYNES        802 20TH ST                                                                  LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS       12/20/2018               $13.01
JAMIE ALBERS          7333 SKYHAWK CL                                                              LINCOLN             NE           68506                                  SUPPLIERS OR VENDORS        11/5/2018               $25.00
JAMIE BANKEY          STORE 2-207                SHOPKO EMPLOYEE        67 SELKIRK WAY             OLDTOWN             ID           83822                                  SUPPLIERS OR VENDORS       10/18/2018              $153.69
JAMIE GRIMSLEY        503 JEFFERSON ST                                                             WAUPACA             WI           54981                                  SUPPLIERS OR VENDORS        12/7/2018               $35.00
JAMIE HALE            STORE 2-755                SHOPKO EMPLOYEE        1701 16TH STREET           WHEATLAND           WY           82201                                  SUPPLIERS OR VENDORS       12/13/2018              $386.09
JAMIE HUFF            1120 SWAN AVE                                                                YAKIMA              WA           98902                                  SUPPLIERS OR VENDORS       12/19/2018               $10.47
JAMIE HUFFMAN         STORE 729                  SHOPKO EMPLOYEE        777 BYPASS ROAD            BRANDENBURG         KY           40108                                  SUPPLIERS OR VENDORS       10/26/2018               $97.36
JAMIE HUFFMAN         STORE 729                  SHOPKO EMPLOYEE        777 BYPASS ROAD            BRANDENBURG         KY           40108                                  SUPPLIERS OR VENDORS       12/22/2018              $194.45
JAMIE LANGLOIS        STORE 2-050                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/19/2018              $523.20
JAMIE LANGLOIS        STORE 2-050                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/26/2018              $261.60
JAMIE LANGLOIS        STORE 2-050                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/2/2018              $392.40
JAMIE LANGLOIS        STORE 2-050                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/9/2018              $523.20
JAMIE LANGLOIS        STORE 2-050                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/16/2018              $337.90
JAMIE LANGLOIS        STORE 2-050                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/27/2018              $337.90
JAMIE LANGLOIS        STORE 2-050                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/30/2018              $261.60
JAMIE LANGLOIS        STORE 2-050                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/8/2018              $523.20
JAMIE LANGLOIS        STORE 2-050                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/14/2018              $261.60
JAMIE LANGLOIS        STORE 2-050                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/22/2018              $654.00
JAMIE LANGLOIS        STORE 2-050                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/28/2018              $392.40
JAMIE LANGLOIS        STORE 2-050                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        1/10/2019              $139.20
JAMIE OSTENSON        420 CLEVELAND                                                                BELOIT              WI           53511                                  SUPPLIERS OR VENDORS        11/5/2018                $2.40
JAMIE OSTENSON        420 CLEVELAND                                                                BELOIT              WI           53511                                  SUPPLIERS OR VENDORS        11/5/2018               $12.50
JAMIE PERINO          423 SPRUCE LANE                                                              AMBOY               IL           61310                                  SUPPLIERS OR VENDORS       11/30/2018               $13.98
JAMIE RESTOCK         STORE 2-018                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/8/2018               $32.70
JAMIE TOPP            10992 E GLADYS DR                                                            EDGERTON            WI           53534                                  SUPPLIERS OR VENDORS       10/18/2018               $39.00
JAMIE VOLKMAN         719 FOOTE ST.                                                                SEYMOUR             WI           54165                                  SUPPLIERS OR VENDORS        11/9/2018               $29.36
JAMIE WOLFF           401 DECLARK ST                                                               BEAVER DAM          WI           53916                                  SUPPLIERS OR VENDORS       10/25/2018               $46.96



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JAN BROWN              2033 PATRICK CT                                                              WEST BEND           WI           53095                                  SUPPLIERS OR VENDORS        11/26/2018               $51.00
JAN KUTZNER            9988 WASHINGTON AVENUE                                                       STURTEVANT          WI           53177                                  SUPPLIERS OR VENDORS        11/26/2018               $15.02

JAN SABIN              2611 32ND ST N                                                               WISCONSIN RAPIDS WI              54494                                  SUPPLIERS OR VENDORS        11/5/2018               $42.24

JAN SABIN              2611 32ND ST N                                                               WISCONSIN RAPIDS    WI           54494                                  SUPPLIERS OR VENDORS       11/26/2018               $10.56
JAN SHAY               157 VIKING PLACE                                                             EAU CLAIRE          WI           54701                                  SUPPLIERS OR VENDORS       10/19/2018               $44.21
JAN STAMPER            3221 WILLOW WOOD LANE                                                        LINCOLN             NE           68506                                  SUPPLIERS OR VENDORS        11/5/2018               $60.85
JAN UTSINGER           STORE 2-145                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/13/2018                $1.64
JAN UTSINGER           921 WEST ARCHER AVE                                                          MONMOUTH            IL           61462                                  SUPPLIERS OR VENDORS        11/8/2018               $75.00
JAN WICKS              130 16TH ST NE                                                               WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS       11/26/2018               $44.16
JAN YOUNG              890 11TH STREET PLACE                                                        GARNER              IA           50438                                  SUPPLIERS OR VENDORS       12/21/2018               $14.98
JANA CZAHOR            W4953 GRITTNER STREET                                                        WESTBORO            WI           54490                                  SUPPLIERS OR VENDORS        11/1/2018               $40.00
JANA KNOCK             3615 HWY 54 W                                                                NEKOOSA             WI           54457                                  SUPPLIERS OR VENDORS        11/5/2018               $40.00
JANE BAIER             26955 399TH AVE                                                              DIMOCK              SD           57331                                  SUPPLIERS OR VENDORS       11/28/2018               $32.00
JANE BALLMER           1808 N CROSS RD                                                              EVANSVILLE          WI           53536                                  SUPPLIERS OR VENDORS       10/26/2018               $18.00
JANE BERSCH            318 S. CLAY ST                                                               GREEN BAY           WI           54301                                  SUPPLIERS OR VENDORS        11/2/2018               $25.00
JANE BROGHAMMER        607 19TH ST WEST                                                             CLEAR LAKE          IA           50428                                  SUPPLIERS OR VENDORS       10/22/2018               $12.00
JANE DENISON FURNESS   19715 HOLLYGRAPE ST                                                          BEND                OR           97741                                  SUPPLIERS OR VENDORS       12/13/2018               $92.00
JANE DIONNE            2202 E TUSCANY WAY                                                           APPLETON            WI           54913                                  SUPPLIERS OR VENDORS        11/8/2018               $10.00
JANE GUTHMILLER        STORE 580                  SHOPKO EMPLOYEE        6717 HIGHWAY 200           CARRINGTON          ND           58421-8701                             SUPPLIERS OR VENDORS       10/19/2018              $212.51
JANE GUTHMILLER        STORE 580                  SHOPKO EMPLOYEE        6717 HIGHWAY 200           CARRINGTON          ND           58421-8701                             SUPPLIERS OR VENDORS       11/27/2018              $156.96
JANE HAAS              549 FULTON ST                                                                SEYMOUR             WI           54165                                  SUPPLIERS OR VENDORS       11/26/2018               $25.00
JANE KREIFELS          STORE 2-659                SHOPKO EMPLOYEE        2410 DAHLKE AVENUE         AUBURN              NE           68305                                  SUPPLIERS OR VENDORS       10/18/2018               $76.30
JANE KREIFELS          STORE 2-659                SHOPKO EMPLOYEE        2410 DAHLKE AVENUE         AUBURN              NE           68305                                  SUPPLIERS OR VENDORS       10/25/2018               $38.15
JANE KREIFELS          STORE 2-659                SHOPKO EMPLOYEE        2410 DAHLKE AVENUE         AUBURN              NE           68305                                  SUPPLIERS OR VENDORS        11/1/2018               $76.30
JANE KREIFELS          STORE 2-659                SHOPKO EMPLOYEE        2410 DAHLKE AVENUE         AUBURN              NE           68305                                  SUPPLIERS OR VENDORS        11/8/2018               $38.15
JANE KREIFELS          STORE 2-659                SHOPKO EMPLOYEE        2410 DAHLKE AVENUE         AUBURN              NE           68305                                  SUPPLIERS OR VENDORS       11/15/2018               $76.30
JANE KREIFELS          STORE 2-659                SHOPKO EMPLOYEE        2410 DAHLKE AVENUE         AUBURN              NE           68305                                  SUPPLIERS OR VENDORS       11/22/2018               $38.15
JANE KREIFELS          STORE 2-659                SHOPKO EMPLOYEE        2410 DAHLKE AVENUE         AUBURN              NE           68305                                  SUPPLIERS OR VENDORS       11/29/2018               $76.30
JANE KREIFELS          STORE 2-659                SHOPKO EMPLOYEE        2410 DAHLKE AVENUE         AUBURN              NE           68305                                  SUPPLIERS OR VENDORS       12/13/2018               $76.30
JANE KREIFELS          STORE 2-659                SHOPKO EMPLOYEE        2410 DAHLKE AVENUE         AUBURN              NE           68305                                  SUPPLIERS OR VENDORS       12/20/2018               $38.15
JANE KREIFELS          STORE 2-659                SHOPKO EMPLOYEE        2410 DAHLKE AVENUE         AUBURN              NE           68305                                  SUPPLIERS OR VENDORS       12/27/2018               $76.30
JANE LIEBL             N1758 RIDGEVIEW DRIVE                                                        LA CROSSE           WI           54601                                  SUPPLIERS OR VENDORS       10/19/2018              $108.99
JANE LINDER            1104 W 57 ST 110 A                                                           SIOUX FALLS         SD           57105                                  SUPPLIERS OR VENDORS        12/7/2018               $48.00
JANE LINDER            1104 W 57TH ST 110A                                                          SIOUX FALLS         SD           57105                                  SUPPLIERS OR VENDORS       12/20/2018               $12.00
JANE MECHAM            5850 SOUTH GOLDEN DRIVE                                                      SALT LAKE CITY      UT           84123                                  SUPPLIERS OR VENDORS       11/29/2018               $45.00
JANE MEDINA            P O BOX 343                                                                  OAKFIELD            WI           53065                                  SUPPLIERS OR VENDORS       10/26/2018              $235.00
                                                                                                    AMHERST
JANE MILLER            10796 COUNTY Z                                                               JUNCTION            WI           54407                                  SUPPLIERS OR VENDORS       11/12/2018               $13.80
JANE MUELLER           3060 W. ST. GERMAIN ST.    APT 107                                           SAINT CLOUD         MN           56301                                  SUPPLIERS OR VENDORS       12/13/2018                $2.40
JANE OSESEK            3404 MEMORIAL DR APT 2 D                                                     TWO RIVERS          WI           54241                                  SUPPLIERS OR VENDORS       10/24/2018               $44.16
JANE SCHLOER           713 EASTSIDE CIRCLE                                                          MARSHFIELD          WI           54449                                  SUPPLIERS OR VENDORS       10/24/2018               $42.24
JANE SCHLOER           713 EASTSIDE CIRCLE                                                          MARSHFIELD          WI           54449                                  SUPPLIERS OR VENDORS        11/1/2018               $10.56
JANE TILTON            STORE 2-750                SHOPKO EMPLOYEE        PO BOX 308                 WINDOM              MN           56101                                  SUPPLIERS OR VENDORS        11/8/2018               $44.96
JANE TILTON            STORE 2-750                SHOPKO EMPLOYEE        PO BOX 308                 WINDOM              MN           56101                                  SUPPLIERS OR VENDORS       12/13/2018               $65.24
JANE VANDENELSEN       W3529 MULLEN RD                                                              SEYMOUR             WI           54165                                  SUPPLIERS OR VENDORS       11/29/2018               $25.00
JANE WANIGER           7712 MARKEN ROAD                                                             VALDERS             WI           54245                                  SUPPLIERS OR VENDORS       12/20/2018              $123.00
JANE WATSON            5525 BRIAR ROSA DR                                                           LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS       11/30/2018               $11.98
JANELL MCKINSTRY       6964 EMERALD HEIGHTS RD                                                      BLACK HAWK          SD           57718                                  SUPPLIERS OR VENDORS        11/1/2018               $13.60
JANELL SIMON           N8295 SALES RD                                                               VAN DYNE            WI           54979                                  SUPPLIERS OR VENDORS        11/9/2018               $25.00
JANELLA SCHMIDT        STORE 758                  SHOPKO EMPLOYEE        1950 E RICHARDS            DOUGLAS             WY           82633                                  SUPPLIERS OR VENDORS       10/19/2018               $65.40
JANELLE LAVIGNE        PO BOX 753                                                                   COLLEGE PLACE       WA           99324                                  SUPPLIERS OR VENDORS       12/13/2018               $47.00
JANELLE PETERSON       508 RUDOLPH RD                                                               CAMERON             WI           54822                                  SUPPLIERS OR VENDORS        11/5/2018               $44.80



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                                                                                                                                                                         Reasons for payment or    Dates of     Total Amount or
      Creditor Name             Address1           Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
JANELLE RENTERIA      4610 ANTONIA AVE NE                                                      SALEM               OR           97301                                  SUPPLIERS OR VENDORS        11/26/2018               $23.00
JANELLE SCHETTLER     28956 130TH STREET                                                       FULDA               MN           56131                                  SUPPLIERS OR VENDORS        11/12/2018               $65.00
JANELLE WILLGER       2988 18TH ST.                                                            RICE LAKE           WI           54868                                  SUPPLIERS OR VENDORS        10/22/2018               $70.00
JANET ANDREWS         PO BOX 54                                                                LAKE NORDEN         SD           57248                                  SUPPLIERS OR VENDORS        10/22/2018                $8.32
JANET ANDREWS         PO BOX 54                                                                LAKE NORDEN         SD           57248                                  SUPPLIERS OR VENDORS         11/1/2018               $38.68
JANET ANDREWS         PO BOX 54                                                                LAKE NORDEN         SD           57248                                  SUPPLIERS OR VENDORS        11/29/2018               $16.20
JANET ANDREWS         PO BOX 54                                                                LAKE NORDEN         SD           57248                                  SUPPLIERS OR VENDORS        11/29/2018               $18.80
JANET BELONGIA        W10327 CHATEAU DR                                                        DUNBAR              WI           54119                                  SUPPLIERS OR VENDORS        10/30/2018               $25.28
JANET BETKER          STORE 4-023            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/29/2018              $185.30
JANET GOLLINGER       6220-63RD AVENUE                                                         KENOSHA             WI           53142                                  SUPPLIERS OR VENDORS         11/5/2018               $25.00
JANET GOSSON          2810 GREENE AVE                                                          OMAHA               NE           68147                                  SUPPLIERS OR VENDORS        11/16/2018              $120.00
JANET GUSTISON        W5478 SUNSET DRIVE                                                       WILD ROSE           WI           54984                                  SUPPLIERS OR VENDORS         11/2/2018               $49.99
JANET HANSFORD        810 ALPINE DR                                                            GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS        11/28/2018               $34.55

JANET HUTSELL         1129 CHERRY CIRCLE                                                       EAST WENATCHEE      WA           98802                                  SUPPLIERS OR VENDORS       10/29/2018               $75.00
JANET KEIL            1113 LONGHORN                                                            NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS       11/28/2018               $79.98
JANET KOTHMAN         7442 165TH AVE NE                                                        OAK PARK            MN           56357                                  SUPPLIERS OR VENDORS       10/25/2018               $23.00
JANET KUECKER         STORE 749              SHOPKO EMPLOYEE        301 1ST AVENUE S           ST JAMES            MN           56081                                  SUPPLIERS OR VENDORS       11/22/2018               $76.30
JANET KUECKER         STORE 749              SHOPKO EMPLOYEE        301 1ST AVENUE S           ST JAMES            MN           56081                                  SUPPLIERS OR VENDORS       11/29/2018               $28.34
JANET LAMPARTER       606 N SILKWOOD DR                                                        POST FALLS          ID           83854                                  SUPPLIERS OR VENDORS        11/5/2018               $12.00
JANET LEMENS          1437 CEDAR ST                                                            GREEN BAY           WI           54302                                  SUPPLIERS OR VENDORS        11/5/2018              $175.78
                                                                                               BLOOMING
JANET NELSON          PO BOX 114                                                               PRAIRIE             MN           55917                                  SUPPLIERS OR VENDORS        11/8/2018               $12.00
JANET PERRAULT        3006 ISLAND BEACH RD                                                     MARQUETTE           MI           49855                                  SUPPLIERS OR VENDORS       10/31/2018               $61.98

JANET REISCH          STORE 2-747            SHOPKO EMPLOYEE        405 W INTERSTATE DRIVE LUVERNE                 MN           56156                                  SUPPLIERS OR VENDORS        11/8/2018              $123.17

JANET REISCH          STORE 2-747            SHOPKO EMPLOYEE        405 W INTERSTATE DRIVE LUVERNE                 MN           56156                                  SUPPLIERS OR VENDORS       12/13/2018               $67.04
JANET RITTERLING      7200 VAN DORN ST       APT 219                                       LINCOLN                 NE           68506                                  SUPPLIERS OR VENDORS       11/12/2018               $13.15
JANET RITTERLING      7200 VAN DORN ST       APT 219                                       LINCOLN                 NE           68506                                  SUPPLIERS OR VENDORS       11/26/2018               $60.85
JANET ROSS            1847 DOUSMAN                                                         GREEN BAY               WI           54303                                  SUPPLIERS OR VENDORS        12/3/2018               $25.00
JANET SMITH           14223 E TRENT AVE.                                                   SPOKANE                 WA           99216                                  SUPPLIERS OR VENDORS        12/5/2018               $98.15
JANETTE BUTTS         812 11TH AVE SE                                                      AUSTIN                  MN           55912                                  SUPPLIERS OR VENDORS       11/12/2018              $124.99
JANICE CARVER         598 LEONA DRIVE                                                      OGDEN                   UT           84403                                  SUPPLIERS OR VENDORS       12/13/2018               $45.00
JANICE CRAWFORD       P O BOX 23                                                           GWINN                   MI           49841                                  SUPPLIERS OR VENDORS        12/7/2018               $61.98
JANICE DAVIS          STORE 703              SHOPKO EMPLOYEE        300 CROSS STREET       BURLINLGTON             KS           66839                                  SUPPLIERS OR VENDORS        11/2/2018               $72.50
JANICE DAVIS          STORE 703              SHOPKO EMPLOYEE        300 CROSS STREET       BURLINLGTON             KS           66839                                  SUPPLIERS OR VENDORS       11/27/2018              $193.89
JANICE DENKER         BOX 251                                                              STANTON                 NE           68779                                  SUPPLIERS OR VENDORS       10/22/2018               $23.73
JANICE DENKER         BOX 251                                                              STANTON                 NE           68779                                  SUPPLIERS OR VENDORS        11/5/2018              $106.52
JANICE DENKER         BOX 251                                                              STANTON                 NE           68779                                  SUPPLIERS OR VENDORS       11/28/2018              $107.07
JANICE DENKER         BOX 251                                                              STANTON                 NE           68779                                  SUPPLIERS OR VENDORS       11/30/2018               $28.91
JANICE DIERKS         1120 SOUTH EDGERTON                                                  MITCHELL                SD           57301                                  SUPPLIERS OR VENDORS       12/17/2018               $20.00
JANICE JAMES          56557 CALUMET AVE.                                                   CALUMET                 MI           49913                                  SUPPLIERS OR VENDORS       10/26/2018                $9.60
JANICE JAMES          56557 CALUMET AVE.                                                   CALUMET                 MI           49913                                  SUPPLIERS OR VENDORS       10/31/2018               $30.83
JANICE KLEVER         5220 HWY 20 E                                                        FREEPORT                IL           61032                                  SUPPLIERS OR VENDORS       11/15/2018                $2.00
JANICE MCGIMPSEY      4480 PAYDIRT                                                         HELENA                  MT           59602                                  SUPPLIERS OR VENDORS       12/10/2018               $98.00
JANICE PADGETT        1622 S. 8TH ST.                                                      ABERDEEN                SD           57401                                  SUPPLIERS OR VENDORS       12/17/2018               $46.72
JANICE PAUL           STORE 2-615            SHOPKO EMPLOYEE        PO BOX 117             CLINTONVILLE            WI           54929                                  SUPPLIERS OR VENDORS       11/15/2018               $23.44
JANICE PAULSON        1001 CHERRY DR. NE                                                   WATERTOWN               SD           57201                                  SUPPLIERS OR VENDORS       11/12/2018               $55.20
JANICE PETERSON       5600 W 45TH                                                          SIOUX FALLS             SD           57106                                  SUPPLIERS OR VENDORS       10/24/2018               $38.68
JANICE PETERSON       5600 W 45TH                                                          SIOUX FALLS             SD           57106                                  SUPPLIERS OR VENDORS        11/1/2018                $8.32
JANICE RAHN           2300 W 8TH ST          UNIT D5                                       SIOUX FALLS             SD           57104                                  SUPPLIERS OR VENDORS       10/24/2018               $48.00
JANICE RAHN           2300 W 8TH ST          UNIT D5                                       SIOUX FALLS             SD           57104                                  SUPPLIERS OR VENDORS       10/31/2018               $12.00
JANICE REEDER         414 N MCDONALD RD      APT 9                                         SPOKANE                 WA           99216                                  SUPPLIERS OR VENDORS       11/12/2018               $94.96



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                                                                                                                                                                                    Reasons for payment or    Dates of     Total Amount or
       Creditor Name                Address1                  Address2                  Address3                City               State       Zip              Country                    transfer          Payments            Value
JANICE RICHMOND          400 7TH ST                                                                       ARMSTRONG           IA           50514                                  SUPPLIERS OR VENDORS        12/17/2018               $22.91
JANICE SCHLICHTE         1881 MARTINGALE LANE                                                             NEENAH              WI           54956                                  SUPPLIERS OR VENDORS        10/19/2018                $2.73
JANICE SELL              986 COUNTY RD DK                                                                 BRUSSELS            WI           54204                                  SUPPLIERS OR VENDORS         11/1/2018               $59.98
JANICE SIMONS            STORE 2-214                    SHOPKO EMPLOYEE        N2934 STATE ROAD 22        WAUTOMA             WI           54982-5267                             SUPPLIERS OR VENDORS        12/20/2018               $17.99

JANICE SMITS             315 WALLACE ST.                                                                  COMBINED LOCKS      WI           54113                                  SUPPLIERS OR VENDORS        12/3/2018               $25.00
JANICE TENNYSON          805 14TH ST SE                                                                   SAINT CLOUD         MN           56304                                  SUPPLIERS OR VENDORS       10/24/2018               $56.03
JANICE TRUEL             4829 CECELIA DRIVE                                                               FLORENCE            WI           54121                                  SUPPLIERS OR VENDORS       11/28/2018               $21.96
JANICE YAGODZINSKI       IMPORTS                        SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/1/2018              $787.83
JANICE YATES             717 BUFFINGTON CRT                                                               EAU CLAIRE          WI           54703                                  SUPPLIERS OR VENDORS       11/26/2018               $42.24
JANINE BENT              5404 S. SHADY LANE                                                               JANESVILLE          WI           53546                                  SUPPLIERS OR VENDORS       11/26/2018               $25.00
JANIS BATES              3209 COUNTRY TRUNK A                                                             STOUGHTON           WI           53589                                  SUPPLIERS OR VENDORS        11/2/2018               $25.00
JANIS FERRELL            901 N HAYNES                                                                     MILES CITY          MT           59301                                  SUPPLIERS OR VENDORS        12/7/2018               $60.80
JANIS FERRELL            901 N HAYNES                                                                     MILES CITY          MT           59301                                  SUPPLIERS OR VENDORS       12/10/2018               $15.20
JANIS HASZ               1901 3RD AVE. S E, APT. 311                                                      ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       10/31/2018                $8.32
JANIS HASZ               1901 3RD AVE. S E, APT. 311                                                      ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       11/26/2018               $38.68
JANIS MCGILL             37 CHEROKEE CIR                UNIT 101                                          MADISON             WI           53704                                  SUPPLIERS OR VENDORS       11/14/2018               $55.00
JANNA FRODERMANN         35508 810TH ST                                                                   BREWSTER            MN           56119                                  SUPPLIERS OR VENDORS       10/18/2018               $72.98
JARECKI LAWNCARE &                                      2550 FAIRGROUNDS
GREENHOUSE LLC           JAMES JARECKI                  ROAD                                              ALBION              NE           68620                                  SUPPLIERS OR VENDORS         1/5/2019              $115.00
JARED BREITBARTH         417 TILDEN                                                                       FAIRMONT            MN           56031                                  SUPPLIERS OR VENDORS        12/7/2018               $27.00
JARED GARRETT            95 S 280 E                                                                       OREM                UT           84058                                  SUPPLIERS OR VENDORS        12/7/2018               $36.00
JARED HENDERSON          2146 FILER AVE EAST                                                              TWIN FALLS          ID           83301                                  SUPPLIERS OR VENDORS       12/20/2018               $25.00
JARED HOVDE              N8067 EVERSON LANE                                                               WESTBORO            WI           54490                                  SUPPLIERS OR VENDORS       12/20/2018               $23.00
JARED PIESCHEK           2153 S RIDGE RD                                                                  GREEN BAY           WI           54304                                  SUPPLIERS OR VENDORS       10/22/2018               $25.00
JARED RUSCH              236387 DEL RIO ROAD                                                              WAUSAU              WI           54403                                  SUPPLIERS OR VENDORS        11/1/2018               $25.00
JAROS HOEDEL             N11208 BUEGE DRIVE                                                               ATHELSTANE          WI           54104                                  SUPPLIERS OR VENDORS        11/2/2018               $25.00
JASCO PRODUCTS COMPANY
INC                      PO BOX 268985                                                                    OKLAHOMA CITY       OK           73126-8985                             SUPPLIERS OR VENDORS       10/18/2018           $33,868.57
JASCO PRODUCTS COMPANY
INC                      PO BOX 268985                                                                    OKLAHOMA CITY       OK           73126-8985                             SUPPLIERS OR VENDORS       10/25/2018           $64,872.74
JASCO PRODUCTS COMPANY
INC                      PO BOX 268985                                                                    OKLAHOMA CITY       OK           73126-8985                             SUPPLIERS OR VENDORS        11/1/2018           $15,280.73
JASCO PRODUCTS COMPANY
INC                      PO BOX 268985                                                                    OKLAHOMA CITY       OK           73126-8985                             SUPPLIERS OR VENDORS        11/8/2018            $8,022.99
JASCO PRODUCTS COMPANY
INC                      PO BOX 268985                                                                    OKLAHOMA CITY       OK           73126-8985                             SUPPLIERS OR VENDORS       11/15/2018           $32,392.52
JASCO PRODUCTS COMPANY
INC                      PO BOX 268985                                                                    OKLAHOMA CITY       OK           73126-8985                             SUPPLIERS OR VENDORS       11/22/2018          $341,501.81
JASCO PRODUCTS COMPANY
INC                      PO BOX 268985                                                                    OKLAHOMA CITY       OK           73126-8985                             SUPPLIERS OR VENDORS       11/29/2018          $133,683.31
JASCO PRODUCTS COMPANY
INC                      PO BOX 268985                                                                    OKLAHOMA CITY       OK           73126-8985                             SUPPLIERS OR VENDORS       12/18/2018          $179,222.33

JASDEEP SIDHU            1410 E PINE STREET UNIT W411                                                     SEATTLE             WA           98122                                  SUPPLIERS OR VENDORS       10/19/2018            $3,353.31

JASDEEP SIDHU            1410 E PINE STREET UNIT W411                                                     SEATTLE             WA           98122                                  SUPPLIERS OR VENDORS       10/20/2018              $142.87

JASDEEP SIDHU            1410 E PINE STREET UNIT W411                                                     SEATTLE             WA           98122                                  SUPPLIERS OR VENDORS       10/26/2018              $299.09

JASDEEP SIDHU            1410 E PINE STREET UNIT W411                                                     SEATTLE             WA           98122                                  SUPPLIERS OR VENDORS       10/31/2018              $598.18

JASDEEP SIDHU            1410 E PINE STREET UNIT W411                                                     SEATTLE             WA           98122                                  SUPPLIERS OR VENDORS        11/2/2018            $4,390.05




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                                                                                                                                                                             Reasons for payment or    Dates of     Total Amount or
      Creditor Name             Address1                Address2                  Address3                 City              State       Zip              Country                   transfer          Payments            Value

JASDEEP SIDHU         1410 E PINE STREET UNIT W411                                                  SEATTLE             WA           98122                                  SUPPLIERS OR VENDORS       11/8/2018             $156.22

JASDEEP SIDHU         1410 E PINE STREET UNIT W411                                                  SEATTLE             WA           98122                                  SUPPLIERS OR VENDORS      11/14/2018             $156.22

JASDEEP SIDHU         1410 E PINE STREET UNIT W411                                                  SEATTLE             WA           98122                                  SUPPLIERS OR VENDORS      11/16/2018            $3,609.85

JASDEEP SIDHU         1410 E PINE STREET UNIT W411                                                  SEATTLE             WA           98122                                  SUPPLIERS OR VENDORS      11/27/2018             $299.09

JASDEEP SIDHU         1410 E PINE STREET UNIT W411                                                  SEATTLE             WA           98122                                  SUPPLIERS OR VENDORS      11/28/2018             $156.22

JASDEEP SIDHU         1410 E PINE STREET UNIT W411                                                  SEATTLE             WA           98122                                  SUPPLIERS OR VENDORS      11/30/2018            $3,019.65

JASDEEP SIDHU         1410 E PINE STREET UNIT W411                                                  SEATTLE             WA           98122                                  SUPPLIERS OR VENDORS       12/5/2018             $299.09

JASDEEP SIDHU         1410 E PINE STREET UNIT W411                                                  SEATTLE             WA           98122                                  SUPPLIERS OR VENDORS      12/14/2018            $4,419.59

JASDEEP SIDHU         1410 E PINE STREET UNIT W411                                                  SEATTLE             WA           98122                                  SUPPLIERS OR VENDORS      12/15/2018             $156.22

JASDEEP SIDHU         1410 E PINE STREET UNIT W411                                                  SEATTLE             WA           98122                                  SUPPLIERS OR VENDORS      12/18/2018             $187.15

JASDEEP SIDHU         1410 E PINE STREET UNIT W411                                                  SEATTLE             WA           98122                                  SUPPLIERS OR VENDORS      12/19/2018             $156.22

JASDEEP SIDHU         1410 E PINE STREET UNIT W411                                                  SEATTLE             WA           98122                                  SUPPLIERS OR VENDORS      12/28/2018             $326.66

JASDEEP SIDHU         1410 E PINE STREET UNIT W411                                                  SEATTLE             WA           98122                                  SUPPLIERS OR VENDORS      12/29/2018            $3,320.85

JASDEEP SIDHU         1410 E PINE STREET UNIT W411                                                  SEATTLE             WA           98122                                  SUPPLIERS OR VENDORS         1/8/2019            $156.22

JASDEEP SIDHU         1410 E PINE STREET UNIT W411                                                  SEATTLE             WA           98122                                  SUPPLIERS OR VENDORS         1/9/2019            $335.78

JASDEEP SIDHU         1410 E PINE STREET UNIT W411                                                  SEATTLE             WA           98122                                  SUPPLIERS OR VENDORS       1/11/2019            $4,665.70
JASMINE BERMAN        STORE 2-020                  SHOPKO EMPLOYEE                                  GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/18/2018               $29.43
JASMINE BLOODWORTH    STORE 2-005                  SHOPKO EMPLOYEE                                  GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/15/2018               $54.50
JASMINE LEETE         204 S FOURTH ST                                                               WATERTOWN           WI           53094                                  SUPPLIERS OR VENDORS      11/26/2018                $1.00
JASMINE ROOT          802 6TH AVE SE                                                                AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS       12/4/2018                $5.75
JASMINE TULLY         300 PARRISH STREET                                                            GENOA               WI           54632                                  SUPPLIERS OR VENDORS      11/29/2018               $34.15
JASON ASMUS           1654 140TH AVE                                                                OGILVIE             MN           56358                                  SUPPLIERS OR VENDORS      11/26/2018                $3.00
JASON BAUER           55826 853 RD                                                                  HOSKINS             NE           68740                                  SUPPLIERS OR VENDORS       11/9/2018               $19.98
JASON BOHN            203 WEST WALNUT ST                                                            STRUM               WI           54770                                  SUPPLIERS OR VENDORS       11/5/2018               $39.98

JASON BRANDOW         STORE OPERATIONS/STORE 075 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/19/2018            $1,304.24

JASON BRANDOW         STORE OPERATIONS/STORE 075 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/26/2018             $255.85

JASON BRANDOW         STORE OPERATIONS/STORE 075 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/2/2018             $474.02

JASON BRANDOW         STORE OPERATIONS/STORE 075 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/9/2018             $623.97

JASON BRANDOW         STORE OPERATIONS/STORE 075 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/16/2018             $483.51

JASON BRANDOW         STORE OPERATIONS/STORE 075 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/27/2018             $672.42

JASON BRANDOW         STORE OPERATIONS/STORE 075 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/30/2018             $467.87



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                                                                                                                                                                              Reasons for payment or    Dates of     Total Amount or
      Creditor Name             Address1                 Address2                  Address3                 City              State       Zip              Country                   transfer          Payments            Value

JASON BRANDOW         STORE OPERATIONS/STORE 075 SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/8/2018             $650.21

JASON BRANDOW         STORE OPERATIONS/STORE 075 SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/14/2018             $618.08

JASON BRANDOW         STORE OPERATIONS/STORE 075 SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/20/2018             $762.44

JASON BRANDOW         STORE OPERATIONS/STORE 075 SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         1/5/2019            $577.47

JASON BRANDOW         STORE OPERATIONS/STORE 075 SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       1/15/2019             $545.94
JASON BUNN            2717 PARKWAY DRIVE                                                             STEVENS POINT       WI           54481                                  SUPPLIERS OR VENDORS       11/2/2018              $30.00
JASON BUSHA           5306 SUNSET ST                                                                 SCHOFIELD           WI           54476                                  SUPPLIERS OR VENDORS      11/29/2018              $50.00
JASON COUNTS          2304 MERGANZER DR.                                                             COLUMBIA FALLS      MT           59912                                  SUPPLIERS OR VENDORS      10/24/2018               $8.00
JASON DAVIS           507 SUMMERSIDE DR                                                              JANESVILLE          WI           53546                                  SUPPLIERS OR VENDORS       11/2/2018              $30.00
JASON FREUND          N6256 SCHRAVEN CIRCLE                                                          FOND DU LAC         WI           54937                                  SUPPLIERS OR VENDORS      12/10/2018              $34.00
JASON GEBHARD         1517 BRIDLE DR.                                                                MITCHELL            SD           57301                                  SUPPLIERS OR VENDORS      12/20/2018              $30.00
JASON HANSEN          STORE 056                  SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/15/2018             $229.97
JASON HEATH           S11990 CTY RD HH-I                                                             ELEVA               WI           54738                                  SUPPLIERS OR VENDORS      11/29/2018              $23.00
JASON HEATH           S11990 CTY RD HH-I                                                             ELEVA               WI           54738                                  SUPPLIERS OR VENDORS      12/13/2018              $23.00
JASON JOHNSON         3190 EASTBREEZE LANE                                                           GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS       12/7/2018              $23.00
JASON LORENZ          2408 EVERGREEN LANE                                                            ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS      10/19/2018           $8,512.24
JASON LORENZ          2408 EVERGREEN LANE                                                            ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       11/2/2018           $7,784.49
JASON LORENZ          2408 EVERGREEN LANE                                                            ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS      11/16/2018           $6,746.12
JASON LORENZ          2408 EVERGREEN LANE                                                            ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS      11/30/2018          $10,039.56
JASON LORENZ          2408 EVERGREEN LANE                                                            ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS      12/14/2018           $4,966.74
JASON LORENZ          2408 EVERGREEN LANE                                                            ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS      12/29/2018           $8,823.78
JASON LORENZ          2408 EVERGREEN LANE                                                            ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       1/11/2019           $5,715.19

JASON MATTHEWS        STORE OPERATIONS/STORE 087 SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/19/2018             $371.39

JASON MATTHEWS        STORE OPERATIONS/STORE 087 SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/9/2018            $1,242.24

JASON MATTHEWS        STORE OPERATIONS/STORE 087 SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/11/2018             $191.72

JASON MATTHEWS        STORE OPERATIONS/STORE 087 SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/14/2018             $502.35

JASON MATTHEWS        STORE OPERATIONS/STORE 087   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/20/2018             $533.31
                      N57W24695 NIGHTHAWK
JASON POFAHL          COURT                                                                          SUSSEX              WI           53089                                  SUPPLIERS OR VENDORS      10/31/2018               $48.00
JASON SHRIVER         SHOPKO RETAIL/STORE 065      SHOPKO EMPLOYER                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/19/2018              $524.43
JASON SHRIVER         SHOPKO RETAIL/STORE 065      SHOPKO EMPLOYER                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/2/2018              $530.40
JASON SHRIVER         SHOPKO RETAIL/STORE 065      SHOPKO EMPLOYER                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/9/2018              $668.21
JASON SHRIVER         SHOPKO RETAIL/STORE 065      SHOPKO EMPLOYER                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/27/2018              $595.80
JASON SHRIVER         SHOPKO RETAIL/STORE 065      SHOPKO EMPLOYER                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/30/2018              $239.71
JASON SHRIVER         SHOPKO RETAIL/STORE 065      SHOPKO EMPLOYER                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/14/2018            $1,363.61
JASON SHRIVER         SHOPKO RETAIL/STORE 065      SHOPKO EMPLOYER                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/20/2018              $657.35
JASON SHRIVER         SHOPKO RETAIL/STORE 065      SHOPKO EMPLOYER                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       1/15/2019              $705.50
JASON STEFFENS        2323 JOAN CT.                                                                  KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS       12/3/2018               $40.30
JASON TAYLOR          415 W WAYNE ST                                                                 RANDOLPH            NE           68771                                  SUPPLIERS OR VENDORS      12/21/2018              $350.00

JASON THOMPSON        2445 CANYON HILLS DRIVE                                                        EAST WENATCHEE WA                98802                                  SUPPLIERS OR VENDORS      10/26/2018              $16.00
JASON THUMMEL         N7789 MILLER LANE                                                              TREGO          WI                54888                                  SUPPLIERS OR VENDORS      12/17/2018              $70.00
JASON WILHELM         6140 NW 6TH STREET                                                             LINCOLN        NE                68521                                  SUPPLIERS OR VENDORS      11/30/2018               $9.97




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                                                                                                                                                                               Reasons for payment or    Dates of    Total Amount or
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JASPER COUNTY HEALTH
DEPARTMENT              105 WEST KELLNER BOULEVARD                                                    RENSSELAER          IN           47978                                  SUPPLIERS OR VENDORS      10/18/2018            $125.00
                        115 W WASHINGTON STREET
JASPER COUNTY TREASURER STE 201                                                                       RENSSELAER          IN           47978                                  SUPPLIERS OR VENDORS       11/6/2018           $1,321.82
JAY FRANCO & SONS
INCORPORATED            115 KENNEDY DRIVE                                                             SAYREVILLE          NJ           08872                                  SUPPLIERS OR VENDORS      10/18/2018           $1,234.03
JAY FRANCO & SONS
INCORPORATED            115 KENNEDY DRIVE                                                             SAYREVILLE          NJ           08872                                  SUPPLIERS OR VENDORS      10/25/2018            $479.00
JAY FRANCO & SONS
INCORPORATED            115 KENNEDY DRIVE                                                             SAYREVILLE          NJ           08872                                  SUPPLIERS OR VENDORS       11/1/2018           $1,371.00
JAY FRANCO & SONS
INCORPORATED            115 KENNEDY DRIVE                                                             SAYREVILLE          NJ           08872                                  SUPPLIERS OR VENDORS       11/8/2018           $1,031.61
JAY FRANCO & SONS
INCORPORATED            115 KENNEDY DRIVE                                                             SAYREVILLE          NJ           08872                                  SUPPLIERS OR VENDORS      11/15/2018            $700.00
JAY FRANCO & SONS
INCORPORATED            115 KENNEDY DRIVE                                                             SAYREVILLE          NJ           08872                                  SUPPLIERS OR VENDORS      11/22/2018             $768.00
JAY HEMBY CONSULTING    JAY HEMBY                   1112 3RD STREET                                   NORTHLAKE           TX           76226                                  SUPPLIERS OR VENDORS       11/2/2018           $8,937.57
JAY INCORPORATED        PO BOX 669                                                                    LISBON              ND           58054                                  SUPPLIERS OR VENDORS      11/15/2018           $4,333.33
JAY INCORPORATED        PO BOX 669                                                                    LISBON              ND           58054                                  SUPPLIERS OR VENDORS      12/19/2018           $4,333.33
JAY WIPFLI              3733 ELDORADO COURT                                                           VERONA              WI           53593                                  SUPPLIERS OR VENDORS       11/2/2018              $22.50
JAYDAN HUMMEL           339 S MAIN ST                                                                 MONTICELLO          WI           53570                                  SUPPLIERS OR VENDORS      12/13/2018              $13.00
JAYDEE GUENETTE         2711 7 1/2 AVE                                                                CHETEK              WI           54728                                  SUPPLIERS OR VENDORS       11/1/2018              $15.00
JAYDEN STAR LLC         385 FIFTH AVENUE STE 507                                                      NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS      10/18/2018              $10.70
JAYDEN STAR LLC         385 FIFTH AVENUE STE 507                                                      NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS       11/1/2018             $155.10
JAYDEN STAR LLC         385 FIFTH AVENUE STE 507                                                      NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS       11/8/2018              $12.90
JAYDEN STAR LLC         385 FIFTH AVENUE STE 507                                                      NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS      11/15/2018              $19.90
JAYE BECKIUS            STORE 568                   SHOPKO EMPLOYEE        200 10TH AVE SE            NEW PRAGUE          MN           56071-1975                             SUPPLIERS OR VENDORS       11/2/2018             $250.16
JAYE BECKIUS            STORE 568                   SHOPKO EMPLOYEE        200 10TH AVE SE            NEW PRAGUE          MN           56071-1975                             SUPPLIERS OR VENDORS      12/14/2018              $69.76
JAYLA RAMIREZ           139 BURCHARD ST                                                               BEAVER DAM          WI           53916                                  SUPPLIERS OR VENDORS       11/2/2018               $1.00
JAYNE MINCOFF           30408 122ND STREET                                                            NEW AUBURN          WI           54757                                  SUPPLIERS OR VENDORS      12/19/2018              $66.00
JAYNEE HOERTER          3406 BOB O LINK AVE.                                                          WAUSAU              WI           54401                                  SUPPLIERS OR VENDORS      10/19/2018             $102.00
JAYS COMPANY            PO BOX 309                                                                    ROGERS              MN           55374-0309                             SUPPLIERS OR VENDORS       11/1/2018             $363.61
JAYS COMPANY            PO BOX 309                                                                    ROGERS              MN           55374-0309                             SUPPLIERS OR VENDORS      11/29/2018              $89.67
JAZLENA SHRADER         1425 N. WESTERN                                                               WENATCHEE           WA           98807                                  SUPPLIERS OR VENDORS      11/30/2018              $20.00
JAZMIN JOHNSON          1318 ACADEMY AVE                                                              ALBERT LEA          MN           56007                                  SUPPLIERS OR VENDORS       11/9/2018               $9.98
JAZMIN JOHNSON          1318 ACADEMY AVE                                                              ALBERT LEA          MN           56007                                  SUPPLIERS OR VENDORS       11/9/2018              $13.00
JAZWARES LLC            1067 SHOTGUN ROAD                                                             SUNRISE             FL           33326-0000                             SUPPLIERS OR VENDORS      10/18/2018           $9,550.65
                                                    200 E WASHINGTON
JBOK ENTERPRISES LLC    C/O PFEFFERLE COMPANIES INC STREET SUITE 2A                                   APPLETON            WI           54911                                  SUPPLIERS OR VENDORS       11/1/2018         $19,510.30
                                                    200 E WASHINGTON
JBOK ENTERPRISES LLC    C/O PFEFFERLE COMPANIES INC STREET SUITE 2A                                   APPLETON            WI           54911                                  SUPPLIERS OR VENDORS       12/3/2018         $19,510.30
                                                    200 E WASHINGTON
JBOK ENTERPRISES LLC    C/O PFEFFERLE COMPANIES INC STREET SUITE 2A                                   APPLETON            WI           54911                                  SUPPLIERS OR VENDORS        1/4/2019         $19,510.30
JBSR INC                7510 GLYNOAKS DR                                                              LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS       12/4/2018            $583.10
JDL FRAGRANCES          PO BOX 663                                                                    COUDERSPORT         PA           16915                                  SUPPLIERS OR VENDORS      10/18/2018          $1,671.48
JDL FRAGRANCES          PO BOX 663                                                                    COUDERSPORT         PA           16915                                  SUPPLIERS OR VENDORS      11/15/2018         $27,252.67
JEAN BIGALKE            5190 STRICKER LN                                                              FLORENCE            WI           54121                                  SUPPLIERS OR VENDORS      10/18/2018             $47.06
JEAN BIGALKE            5190 STRICKLER LANE                                                           FLORENCE            WI           54121                                  SUPPLIERS OR VENDORS      11/29/2018             $55.94
JEAN EIS                8822 EAST SHORE RD                                                            TWO RIVERS          WI           54241                                  SUPPLIERS OR VENDORS      10/26/2018            $172.71
JEAN FARRIS             4402 SOUTHWYCK DR                                                             JANESVILLE          WI           53546                                  SUPPLIERS OR VENDORS       11/5/2018             $39.68
JEAN FARRIS             4402 SOUTHWYCK DR                                                             JANESVILLE          WI           53546                                  SUPPLIERS OR VENDORS      11/26/2018              $9.92

JEAN FELDMAN            STORE 2-688                SHOPKO EMPLOYEE         413 W HURON STREET         MISSOURI VALLEY     IA           51555                                  SUPPLIERS OR VENDORS       11/8/2018             $65.40




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JEAN FELDMAN            STORE 2-688                  SHOPKO EMPLOYEE        413 W HURON STREET         MISSOURI VALLEY     IA           51555                                  SUPPLIERS OR VENDORS      11/15/2018              $43.60
JEAN GLANZMAN           W 6750 HEMLOCK RD                                                              MONDOVI             WI           54755                                  SUPPLIERS OR VENDORS      12/10/2018              $52.80
JEAN HANSEN             2459 27 1/2 ST.                                                                RICE LAKE           WI           54868                                  SUPPLIERS OR VENDORS      11/15/2018              $44.80
JEAN JAKLIN             3660 AUSTRIAN LANE                                                             GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS       11/2/2018              $49.00
JEAN KALLENBACH         204 WASHINGTON AVENUE                                                          NIAGARA             WI           54151                                  SUPPLIERS OR VENDORS      11/26/2018              $39.04
JEAN LARSEN             252 W. PLYMOTH STREET                                                          JEFFERSON           WI           53549                                  SUPPLIERS OR VENDORS       11/2/2018              $30.00
JEAN LEMMEN             2150 CTY RD U                                                                  GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS      10/22/2018              $30.00
JEAN MESSMER            18161 ILL RT 84                                                                SAVANNA             IL           61074                                  SUPPLIERS OR VENDORS       12/7/2018              $51.20
JEAN MESSMER            18161 ILL RT 84                                                                SAVANNA             IL           61074                                  SUPPLIERS OR VENDORS      12/13/2018              $12.80
JEAN MOORE              701 N IOWA                                                                     NORA SPRINGS        IA           50458                                  SUPPLIERS OR VENDORS      10/24/2018              $48.00
JEAN MOORE              701 N IOWA                                                                     NORA SPRINGS        IA           50458                                  SUPPLIERS OR VENDORS      10/29/2018              $12.00
JEAN RELIEN             29 PENBROOK CR.                                                                APPLETON            WI           54913                                  SUPPLIERS OR VENDORS      10/19/2018              $19.00
JEAN SCHINDLER          13806 20TH ST                                                                  COLFAX              WI           54730                                  SUPPLIERS OR VENDORS      11/28/2018              $52.80
JEAN VARGAS             PO BOX 444                                                                     BATH                SD           57427                                  SUPPLIERS OR VENDORS      10/31/2018              $12.16
JEAN VARGAS             PO BOX 444                                                                     BATH                SD           57427                                  SUPPLIERS OR VENDORS       11/5/2018              $48.64
JEAN ZIELINSKI          221 DIAMOND STREET                                                             IRON RIVER          MI           49935                                  SUPPLIERS OR VENDORS      11/26/2018              $62.46
JEANE LESLIE            STORE 2-747                  SHOPKO EMPLOYEE        PO BOX 958                 LUVERNE             MN           56156                                  SUPPLIERS OR VENDORS      12/20/2018              $29.98
JEANETTE CASTER         814 STRAIT AVE                                                                 WORTHINGTON         MN           56187                                  SUPPLIERS OR VENDORS      10/30/2018              $28.87
JEANETTE MIXON          15953 HWY 35                                                                   FERRYVILLE          WI           54628                                  SUPPLIERS OR VENDORS      10/24/2018              $30.00
JEANETTE WISEMAN        12818 388TH AVE                                                                ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       12/7/2018              $48.64

JEANINE LANDSINGER      229 BONNIE BRIAR PL                                                            RENO                NV           89509                                  LANDLORD RENT PAYMENT        1/7/2019         $47,417.40
JEANINE LANDSINGER MV
GST                     285 MONCADA WAY                                                                SAN FRANCISCO       CA           94127                                  SUPPLIERS OR VENDORS       11/1/2018          $47,417.40
JEANINE LANDSINGER MV
GST                     285 MONCADA WAY                                                                SAN FRANCISCO       CA           94127                                  SUPPLIERS OR VENDORS       12/1/2018          $47,417.40
                        1127 NORTH BUCHANAN ST APT
JEANNE BRAUN            2                                                                              GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS      11/16/2018              $27.00
JEANNE DAVIS            201 S WATER ST                                                                 WATERTOWN           WI           53094                                  SUPPLIERS OR VENDORS       11/8/2018               $5.03

JEANNE HAMEL            2921 1ST ST S                                                                  WISCONSIN RAPIDS    WI           54494                                  SUPPLIERS OR VENDORS      12/20/2018              $24.00
JEANNE HUBER            4520 E 53RD ST APT 113                                                         SIOUX FALLS         SD           57110                                  SUPPLIERS OR VENDORS       11/5/2018              $48.00
JEANNE KRUEGER          3609 DALE ST                                                                   MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS      11/16/2018              $26.00
JEANNE LAWS             1434 10TH ST                                                                   LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS       11/9/2018              $15.00
JEANNE MILLER           106 W IOWA STREET            BOX 143                                           IONIA               IA           50645                                  SUPPLIERS OR VENDORS       11/5/2018              $48.00
JEANNE MILLER           106 W IOWA STREET            BOX 143                                           IONIA               IA           50645                                  SUPPLIERS OR VENDORS      11/26/2018              $12.00
JEANNE RICHARDS         2712 S WESTERN AVE                                                             SIOUX FALLS         SD           57105                                  SUPPLIERS OR VENDORS      10/30/2018             $900.00
JEANNE VALLICOTT        6521 S 86TH ST                                                                 LINCOLN             NE           68526                                  SUPPLIERS OR VENDORS       11/1/2018              $13.15
JEANNE VALLICOTT        6521 S 86TH ST                                                                 LINCOLN             NE           68526                                  SUPPLIERS OR VENDORS      11/15/2018              $60.85
JEANNETTE GONZALEZ      STORE 127                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/27/2018              $76.85
JEANNETTIA FORD         10705 SOUTH 19TH ST                                                            OMAHA               NE           68123                                  SUPPLIERS OR VENDORS      12/14/2018              $25.00
JEANNIE BATES           1021 ASH STREET                                                                WHITEWOOD           SD           57793                                  SUPPLIERS OR VENDORS       12/7/2018              $54.40
JEANNIE BATES           1021 ASH STREET                                                                WHITEWOOD           SD           57793                                  SUPPLIERS OR VENDORS      12/17/2018              $13.60
JEANNINE KETTER         477 MISTY VALE LOOP                                                            CORVALLIS           MT           59828                                  SUPPLIERS OR VENDORS       12/7/2018               $2.00
JEFF CHRISTIE           737 HIDDEN HILL CT                                                             HARTFORD            WI           53027                                  SUPPLIERS OR VENDORS      11/26/2018              $25.00
JEFF CROZIER            IN HOUSE PHOTO STUDIO        SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/27/2018              $48.14
JEFF DRULEY             REPLENISHMENT                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/8/2018             $180.18
JEFF GENSMER            SYSTEMS MAINT/STORE 036      SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS      10/19/2018              $22.12
JEFF GENSMER            SYSTEMS MAINT/STORE 036      SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS      12/22/2018             $130.11
JEFF GORALL             1203 COLONIAL AVE                                                              GREEN BAY           WI           54304                                  SUPPLIERS OR VENDORS      10/22/2018              $25.00
JEFF GROSSKREUTZ        N4472 BIRNAMWOOD RD                                                            BIRNAMWOOD          WI           54414                                  SUPPLIERS OR VENDORS       11/8/2018              $45.00
JEFF GRUNENDIKE         40 EAST MAIN ST                                                                MELLETTE            SD           57461                                  SUPPLIERS OR VENDORS      11/12/2018              $45.00
JEFF GUISEWITE INC      16153 E 1100 RD                                                                MT CARMEL           IL           62863                                  SUPPLIERS OR VENDORS      11/29/2018             $635.00



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                                                                                                                                                                                 Reasons for payment or    Dates of     Total Amount or
       Creditor Name             Address1                  Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
JEFF HARTMAN           OPERATIONS/STORE 024          SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/19/2018              $716.98
JEFF HARTMAN           OPERATIONS/STORE 024          SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/26/2018              $161.06
JEFF HARTMAN           OPERATIONS/STORE 024          SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/2/2018              $191.30
JEFF HARTMAN           OPERATIONS/STORE 024          SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/9/2018              $188.62
JEFF HARTMAN           OPERATIONS/STORE 024          SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/27/2018              $335.72
JEFF HARTMAN           OPERATIONS/STORE 024          SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/30/2018              $298.13
JEFF HARTMAN           OPERATIONS/STORE 024          SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/11/2018              $228.86
JEFF HARTMAN           OPERATIONS/STORE 024          SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/20/2018              $209.84
JEFF HARTMAN           OPERATIONS/STORE 024          SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS          1/5/2019              $383.35
JEFF HARTMAN           OPERATIONS/STORE 024          SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         1/10/2019               $19.98
JEFF JONES             661 SUNNYCREST ST.                                                              GREEN BAY           WI           54302                                  SUPPLIERS OR VENDORS        11/28/2018                $3.90
JEFF KRIE              STORE 605                     SHOPKO EMPLOYEE        340 S HIGHWAY 65           MORA                MN           55051                                  SUPPLIERS OR VENDORS         11/1/2018               $50.14
JEFF KRIE              STORE 605                     SHOPKO EMPLOYEE        340 S HIGHWAY 65           MORA                MN           55051                                  SUPPLIERS OR VENDORS         12/6/2018              $131.30
JEFF PALMER            16605 E VALLEY WAY                                                              SPOKANE             WA           99037                                  SUPPLIERS OR VENDORS        11/26/2018               $41.05
JEFF SARGUS            1003 BIRCHCREST RD                                                              BELLEVUE            NE           68005                                  SUPPLIERS OR VENDORS         11/5/2018               $21.94
JEFF SMICE             8844 N MAIN                                                                     LEAF RIVER          IL           61047                                  SUPPLIERS OR VENDORS        12/13/2018              $143.00
JEFF SMITH             533 N MARKET STREET                                                             MEMPHIS             MO           63555                                  SUPPLIERS OR VENDORS        10/22/2018              $500.00
JEFF SMITH             533 N MARKET STREET                                                             MEMPHIS             MO           63555                                  SUPPLIERS OR VENDORS        11/28/2018              $250.00
JEFF WELBIG            702 WESTVIEW DRIVE                                                              DELL RAPIDS         SD           57022                                  SUPPLIERS OR VENDORS         11/2/2018              $365.75
JEFFERY BALISTRIERE    2187 PALMER DR                                                                  GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS        12/17/2018               $33.08
JEFFERY DAVIS          N2814 DEMNYK RD                                                                 LODI                WI           53555                                  SUPPLIERS OR VENDORS        12/13/2018               $15.00
JEFFERY M WINGERT      STORE 661                     SHOPKO EMPLOYEE        500 PLAZA DRIVE            WEST POINT          NE           68788-0000                             SUPPLIERS OR VENDORS        11/27/2018              $241.32
JEFFERY PARKS          14475 WEST DAWS ROAD                                                            LENA                IL           61048                                  SUPPLIERS OR VENDORS        10/31/2018               $34.00
JEFFERY SHEPPARD       7544 PRATT ST                                                                   OMAHA               NE           68134                                  SUPPLIERS OR VENDORS        11/26/2018               $30.00
JEFFREY A CLARK        STORE 2-108                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/25/2018               $33.79
JEFFREY ANDERSON       425 N. FOURTH STREET                                                            FORT ATKINSON       WI           53538                                  SUPPLIERS OR VENDORS        12/10/2018                $5.95

JEFFREY B AUSTIN       941 N COUNTY ROAD 250 EAST                                                      BROWNSTOWN          IN           47220                                  SUPPLIERS OR VENDORS       11/15/2018           $13,511.75

JEFFREY B AUSTIN       941 N COUNTY ROAD 250 EAST                                                      BROWNSTOWN          IN           47220                                  SUPPLIERS OR VENDORS       12/19/2018           $13,511.75
JEFFREY BREAKER        507 PEASE ST                                                                    AUGUSTA             WI           54722                                  SUPPLIERS OR VENDORS       12/20/2018                $5.00

JEFFREY COUPER         1312 EAST GRAND BLVD CIRCLE                                                     IRON MOUNTAIN       MI           49801                                  SUPPLIERS OR VENDORS        11/5/2018               $39.04

JEFFREY COUPER         1312 EAST GRAND BLVD CIRCLE                                                     IRON MOUNTAIN       MI           49801                                  SUPPLIERS OR VENDORS       12/10/2018                $9.76
JEFFREY COX            310 RRIDGE RD.                                                                  ALBERT LEA          MN           56007                                  SUPPLIERS OR VENDORS        11/9/2018               $45.00
                                                                            145 BROADWAY AVENUE
JEFFREY CROMETT        STORE 561                     SHOPKO EMPLOYEE        N                   COKATO                     MN           55321                                  SUPPLIERS OR VENDORS        11/2/2018               $81.75
JEFFREY E MCNICKLE     NEW STORE SUPPORT             SHOPKO EMPLOYEE                            GREEN BAY                  WI           54307-9060                             SUPPLIERS OR VENDORS       10/19/2018               $40.33
JEFFREY E MCNICKLE     NEW STORE SUPPORT             SHOPKO EMPLOYEE                            GREEN BAY                  WI           54307-9060                             SUPPLIERS OR VENDORS       10/26/2018               $80.66
JEFFREY E MCNICKLE     NEW STORE SUPPORT             SHOPKO EMPLOYEE                            GREEN BAY                  WI           54307-9060                             SUPPLIERS OR VENDORS       11/27/2018              $562.63
JEFFREY E MCNICKLE     NEW STORE SUPPORT             SHOPKO EMPLOYEE                            GREEN BAY                  WI           54307-9060                             SUPPLIERS OR VENDORS       12/14/2018               $40.33
JEFFREY E MCNICKLE     NEW STORE SUPPORT             SHOPKO EMPLOYEE                            GREEN BAY                  WI           54307-9060                             SUPPLIERS OR VENDORS       12/29/2018              $161.32
JEFFREY E MCNICKLE     NEW STORE SUPPORT             SHOPKO EMPLOYEE                            GREEN BAY                  WI           54307-9060                             SUPPLIERS OR VENDORS        1/10/2019              $161.32
JEFFREY ELLENZ         7227 ICE CRYSTAL AVE                                                     SPARTA                     WI           54656                                  SUPPLIERS OR VENDORS       11/26/2018               $10.61
JEFFREY FIEDLER        STORE 061                     SHOPKO EMPLOYEE                            GREEN BAY                  WI           54307-9060                             SUPPLIERS OR VENDORS        12/6/2018              $101.96
JEFFREY HALL           700 9TH AVE SE                                                           AUSTIN                     MN           55912                                  SUPPLIERS OR VENDORS        11/9/2018                $1.20
JEFFREY HALPIN         STORE 2-014                   SHOPKO EMPLOYEE                            GREEN BAY                  WI           54307-9060                             SUPPLIERS OR VENDORS       12/13/2018               $67.58
JEFFREY JONES          W8002 HWY 12                                                             FORT ATKINSON              WI           53538                                  SUPPLIERS OR VENDORS       11/30/2018               $88.00
JEFFREY JOVANOVICH     7193 7TH ST SE                                                           SAUK RAPIDS                MN           56379                                  SUPPLIERS OR VENDORS       10/25/2018               $70.00
JEFFREY KOHLER         22246 E HIGHWAY                                                          CARROLLTON                 MO           64633                                  SUPPLIERS OR VENDORS        11/6/2018              $280.00
JEFFREY KOHLER         22246 E HIGHWAY                                                          CARROLLTON                 MO           64633                                  SUPPLIERS OR VENDORS        12/4/2018              $280.00
JEFFREY MASON          217 N 6TH STREET                                                         DE PERE                    WI           54115                                  SUPPLIERS OR VENDORS       11/26/2018               $15.00
JEFFREY MASON          217 N 6TH STREET                                                         DE PERE                    WI           54115                                  SUPPLIERS OR VENDORS       11/26/2018               $15.00



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JEFFREY MICHEELS          E5679 1370TH AVE                                                              RIDGELAND           WI           54763                                  SUPPLIERS OR VENDORS        11/29/2018               $64.00

JEFFREY MOONEY            303 EASTRIDGE DRIVE                                                           EAST WENATCHEE      WA           98802                                  SUPPLIERS OR VENDORS       12/17/2018               $65.00
JEFFREY P SMITS           OPTICAL LAB                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS        12/6/2018              $178.76
JEFFREY ROEKER            219 BOYLE CIRCLE                                                              DELAVAN             WI           53115                                  SUPPLIERS OR VENDORS       12/17/2018               $80.99
JEFFREY RUCKER            607 N. WALNUT AVE.                                                            MARSHFIELD          WI           54449                                  SUPPLIERS OR VENDORS        11/2/2018               $36.00
JEFFREY S VANFLEET        STORE 2-029                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS        11/8/2018               $43.60
JEFFREY S VANFLEET        STORE 2-029                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       11/29/2018              $267.05
JEFFREY STARK             22044 NEW ST                                                                  HANCOCK             MI           49930                                  SUPPLIERS OR VENDORS       12/13/2018               $40.00
JEFFREY WILKE             1420 ACADEMY AVE                                                              ALBERT LEA          MN           56007                                  SUPPLIERS OR VENDORS       11/30/2018               $58.00
JEFFRY LAWRENCE           241 NORTH PARK AVE                                                            NEENAH              WI           54956                                  SUPPLIERS OR VENDORS        12/3/2018               $25.00
JELLY BELLY COMPANY       PO BOX 742799                                                                 LOS ANGELES         CA           90074-2799                             SUPPLIERS OR VENDORS        11/1/2018            $8,259.45
JELLY BELLY COMPANY       PO BOX 742799                                                                 LOS ANGELES         CA           90074-2799                             SUPPLIERS OR VENDORS       11/29/2018            $3,546.69
JELMAR LLC                39933 TREASURY CENTER                                                         CHICAGO             IL           60694-9900                             SUPPLIERS OR VENDORS       10/18/2018            $6,584.64
JELMAR LLC                39933 TREASURY CENTER                                                         CHICAGO             IL           60694-9900                             SUPPLIERS OR VENDORS       11/15/2018            $8,653.91
JENNA FRANKEN             P O BOX 101                                                                   GROTON              SD           57445                                  SUPPLIERS OR VENDORS       12/13/2018               $10.00
JENNA GESME               1006 SUNRISE CIR                                                              LADYSMITH           WI           54848                                  SUPPLIERS OR VENDORS       10/25/2018               $40.00
JENNA JAWORSKI            APPAREL                     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/15/2018              $858.71
JENNA POCHOP              502 S BOXELDER                                                                NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS       10/22/2018                $5.02
JENNIE BROWER             C/O KAREN TIMMER            10256 330TH ST                                    ELLSWORTH           MN           56129                                  SUPPLIERS OR VENDORS       11/13/2018               $54.21
JENNIE SCOTT              STORE 2-010                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/8/2018                $8.88
JENNIFER ALLEN            1924 LOTHROP DRIVE                                                            OMAHA               NE           68110                                  SUPPLIERS OR VENDORS       10/26/2018                $2.00
JENNIFER ALLEN            1924 LOTHROP DRIVE                                                            OMAHA               NE           68110                                  SUPPLIERS OR VENDORS       10/26/2018                $2.00

JENNIFER ALLEY-ROBINSON   571 N PALM ST                                                                 JANESVILLE          WI           53548                                  SUPPLIERS OR VENDORS        12/7/2018               $45.00
JENNIFER ATHANAS          W1741 ALPINE RD                                                               BROOKLYN            WI           53521                                  SUPPLIERS OR VENDORS       12/21/2018               $25.00
JENNIFER BELL             422 1/2 S PEORIA                                                              DIXON               IL           61021                                  SUPPLIERS OR VENDORS        11/2/2018                $1.99

JENNIFER BETTS            STORE 2-789                 SHOPKO EMPLOYEE        825 WEST FULTON STREET WAUPACA                 WI           54981                                  SUPPLIERS OR VENDORS        11/2/2018               $65.40

JENNIFER BETTS            STORE 2-789                 SHOPKO EMPLOYEE        825 WEST FULTON STREET WAUPACA                 WI           54981                                  SUPPLIERS OR VENDORS       11/16/2018               $50.14

JENNIFER BETTS            STORE 2-789                 SHOPKO EMPLOYEE        825 WEST FULTON STREET WAUPACA                 WI           54981                                  SUPPLIERS OR VENDORS       12/11/2018               $50.14

JENNIFER BETTS            STORE 2-789                 SHOPKO EMPLOYEE        825 WEST FULTON STREET WAUPACA                 WI           54981                                  SUPPLIERS OR VENDORS       12/14/2018               $50.14

JENNIFER BETTS            STORE 2-789                 SHOPKO EMPLOYEE        825 WEST FULTON STREET     WAUPACA             WI           54981                                  SUPPLIERS OR VENDORS        1/15/2019               $50.14
JENNIFER BOOKER           STORE 793                   SHOPKO EMPLOYEE        2050 HORICON STREET        MAYVILLE            WI           53050-0000                             SUPPLIERS OR VENDORS       10/19/2018              $282.31
JENNIFER BOOKER           STORE 793                   SHOPKO EMPLOYEE        2050 HORICON STREET        MAYVILLE            WI           53050-0000                             SUPPLIERS OR VENDORS        11/2/2018              $228.34
JENNIFER BOOKER           STORE 793                   SHOPKO EMPLOYEE        2050 HORICON STREET        MAYVILLE            WI           53050-0000                             SUPPLIERS OR VENDORS       11/30/2018              $224.22
JENNIFER BOOKER           STORE 793                   SHOPKO EMPLOYEE        2050 HORICON STREET        MAYVILLE            WI           53050-0000                             SUPPLIERS OR VENDORS        1/15/2019              $138.56
JENNIFER BOOTS            641 TARRAGON DRIVE APT 7                                                      KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS       10/24/2018               $25.00
JENNIFER BRICE            2820 BELLE PLANE RD                                                           HOWARD              WI           54313                                  SUPPLIERS OR VENDORS       12/21/2018               $10.00
JENNIFER CHERNEY          2757 AMETHYST CT                                                              GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS       10/22/2018               $44.00
JENNIFER CLARK            STORE 125                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/18/2018               $82.84
JENNIFER CLARK            STORE 125                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/25/2018              $144.97
JENNIFER CLARK            STORE 125                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/8/2018              $210.37
JENNIFER CLARK            STORE 125                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/22/2018              $124.26
JENNIFER CLARK            STORE 125                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/20/2018              $173.31
JENNIFER COLE             STORE 2-019                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/29/2018               $50.14
JENNIFER DEMOSS           STORE 677                   SHOPKO EMPLOYEE        2220 HWY 175 WEST          ONAWA               IA           51040                                  SUPPLIERS OR VENDORS       11/15/2018              $197.84
JENNIFER EDGELL-PURDY     2021 BANCROFT STREET                                                          OMAHA               NE           68108                                  SUPPLIERS OR VENDORS       10/22/2018               $42.00
JENNIFER EDGERTON         3602 STEPHENS AVE APT D14                                                     MISSOULA            MT           59802                                  SUPPLIERS OR VENDORS        11/5/2018              $100.00
JENNIFER FRINGS           STORE 733                   SHOPKO EMPLOYEE        226 E LINCOLN              FERGUS FALLS        MN           56537                                  SUPPLIERS OR VENDORS       12/22/2018                $8.12



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JENNIFER GILLINGS       1091 COUNTY RD V                                                              FOND DU LAC         WI           54935                                  SUPPLIERS OR VENDORS        12/10/2018               $34.00
JENNIFER HAAS           545 SUGAR CREEK ROAD                                                          DELAVAN             WI           53115                                  SUPPLIERS OR VENDORS        11/26/2018               $10.00
JENNIFER HALER          1202 E SHOREWOOD CT                                                           COEUR D ALENE       ID           83815                                  SUPPLIERS OR VENDORS        12/14/2018               $44.96
JENNIFER HALL           4970 DORIAN                                                                   POCATELLO           ID           83202                                  SUPPLIERS OR VENDORS         11/5/2018               $21.94
JENNIFER HARGRAVE       N1579 W. RA LE DRIVE                                                          FORT ATKINSON       WI           53538                                  SUPPLIERS OR VENDORS        12/11/2018               $46.25
JENNIFER HICKS          501 INDIAN ROAD                                                               LINCOLN             NE           68505                                  SUPPLIERS OR VENDORS        10/22/2018               $44.00
JENNIFER HUGHES         LOSS PREVENTION            SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/19/2018              $825.90
JENNIFER HUGHES         LOSS PREVENTION            SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/26/2018              $533.95
JENNIFER HUGHES         LOSS PREVENTION            SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/2/2018              $293.72
JENNIFER HUGHES         LOSS PREVENTION            SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/16/2018              $324.05
JENNIFER HUGHES         LOSS PREVENTION            SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/30/2018              $585.92
JENNIFER HUGHES         LOSS PREVENTION            SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/14/2018              $625.60
JENNIFER HUGHES         LOSS PREVENTION            SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/29/2018              $724.39
JENNIFER JOHNSON        600 N MEGAN ST                                                                POST FALLS          ID           83854                                  SUPPLIERS OR VENDORS        12/17/2018               $30.00
JENNIFER KELNHOFER      641 HENSCHEL ST                                                               NEKOOSA             WI           54457                                  SUPPLIERS OR VENDORS         12/3/2018              $110.65

JENNIFER KNUTSON        7031 GROVE AVE                                                                WISCONSIN RAPIDS    WI           54494                                  SUPPLIERS OR VENDORS       11/16/2018              $129.98
JENNIFER LEIGHTON       STORE 761                  SHOPKO EMPLOYEE         205 BOYD AVENUE            NEWCASTLE           WY           82701                                  SUPPLIERS OR VENDORS       12/11/2018              $163.50
JENNIFER LEMBKE         167 GEORGE STREET                                                             SHARON              WI           53585                                  SUPPLIERS OR VENDORS       10/26/2018                $5.66
JENNIFER MCGINNITY      LEGAL                      SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/25/2018              $748.62
JENNIFER MOORE          STORE 2-758                SHOPKO EMPLOYEE         1950 E RICHARDS            DOUGLAS             WY           82633                                  SUPPLIERS OR VENDORS        11/8/2018               $23.17
JENNIFER MOORE          STORE 2-758                SHOPKO EMPLOYEE         1950 E RICHARDS            DOUGLAS             WY           82633                                  SUPPLIERS OR VENDORS        12/6/2018               $20.91

JENNIFER MULDER         STORE 747                  SHOPKO EMPLOYEE         405 W INTERSTATE DRIVE LUVERNE                 MN           56156                                  SUPPLIERS OR VENDORS         1/5/2019              $246.34
JENNIFER NARAMORE       602 E. 5TH AVE                                                            BRODHEAD                WI           53520                                  SUPPLIERS OR VENDORS       12/13/2018               $43.00
JENNIFER NEBEL          1228 W. COLLEGE                                                           JACKSONVILLE            IL           62650                                  SUPPLIERS OR VENDORS       10/26/2018               $25.00
JENNIFER OELRICH        600 E MAPLE ST             APT. B                                         SPENCER                 WI           54479                                  SUPPLIERS OR VENDORS        11/8/2018               $12.00
JENNIFER RIGERT         24817 PLANK RD                                                            KANSASVILLE             WI           53139                                  SUPPLIERS OR VENDORS        12/7/2018               $98.00

JENNIFER SANDERFOOT     537 COONEN DR                                                                 COMBINED LOCKS      WI           54113                                  SUPPLIERS OR VENDORS        12/3/2018               $25.00
JENNIFER SCHAAF         STORE 2-695                SHOPKO EMPLOYEE         PO BOX 383                 BROKEN BOW          NE           68822                                  SUPPLIERS OR VENDORS       12/27/2018              $111.16
JENNIFER SCHRANK        401 EAST FRONT STREET                                                         WITTENBERG          WI           54499                                  SUPPLIERS OR VENDORS       12/20/2018               $53.96
JENNIFER SPEIRS         2892 W 13760 S                                                                RIVERTON            UT           84065                                  SUPPLIERS OR VENDORS       11/26/2018               $23.00
JENNIFER STEPHAN        STORE 024                  SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/22/2018               $58.86
JENNIFER STEPHENS       5702 LONGVIEW                                                                 MISSOULA            MT           59803                                  SUPPLIERS OR VENDORS       11/16/2018              $300.00
JENNIFER TEGART         182330 COUNTY ROAD DD                                                         BIRNAMWOOD          WI           54414                                  SUPPLIERS OR VENDORS       11/26/2018               $24.90
JENNIFER THOMPSON       STORE 4-092                SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/8/2018               $75.00
JENNIFER THOMPSON       STORE 4-092                SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/15/2018              $170.04
JENNIFER THOMPSON       STORE 4-092                SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/22/2018               $85.02
JENNIFER THOMPSON       STORE 4-092                SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/6/2018               $85.02
JENNIFER THOMPSON       STORE 4-092                SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/13/2018               $85.02
JENNIFER THOMPSON       STORE 4-092                SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/20/2018               $85.02
JENNIFER TILLE          STORE 664                  SHOPKO EMPLOYEE         511 10TH AVENUE N          HUMBOLDT            IA           50548                                  SUPPLIERS OR VENDORS        11/2/2018               $83.93
JENNY JANDA             22794 LOWER SKANEE RD.                                                        SKANEE              MI           49962                                  SUPPLIERS OR VENDORS        11/1/2018                $9.60
JERALD MELTON           501 MELTON LANE                                                               DALLAS CITY         IL           62330                                  SUPPLIERS OR VENDORS       10/29/2018               $54.40
JEREMIAH BERTSCHINGER   PO BOX 55                  SHOPKO EMPLOYEE                                    TYNDALL             SD           57066-0000                             SUPPLIERS OR VENDORS       10/26/2018              $320.49
JEREMIAH DOHN           18678 BERRY ST                                                                OMAHA               NE           68135                                  SUPPLIERS OR VENDORS        11/8/2018               $59.98
                        N50 W15257 HONEY SUCKLE                                                       MENOMONEE
JEREMIAH IRVINE         DR.                                                                           FALLS               WI           53051                                  SUPPLIERS OR VENDORS        12/7/2018               $30.00

JEREMY ADAMS            4951 MURRAY BOULEVARD P3                                                      MURRAY              UT           84123                                  SUPPLIERS OR VENDORS       12/20/2018               $26.00
JEREMY AMOSSON          11470 190TH ST.                                                               ROCKWELL            IA           50469                                  SUPPLIERS OR VENDORS        11/5/2018                $4.00
JEREMY AMOSSON          11470 190TH ST.                                                               ROCKWELL            IA           50469                                  SUPPLIERS OR VENDORS        11/5/2018               $36.00
JEREMY APPEL            33442 890TH ST                                                                HERON LAKE          MN           56137                                  SUPPLIERS OR VENDORS       10/24/2018               $89.99



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                                                                                                                                                                                Reasons for payment or    Dates of     Total Amount or
       Creditor Name              Address1                Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
JEREMY BELONGIA        2925 E RIDGE PLACE                                                             NEENAH              WI           54956                                  SUPPLIERS OR VENDORS        11/26/2018                $5.00
JEREMY BELONGIA        2925 E RIDGE PLACE                                                             NEENAH              WI           54956                                  SUPPLIERS OR VENDORS        11/26/2018               $19.98
JEREMY BUCHAN          STORE 021                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/11/2018              $295.60
JEREMY BUSS            2406 SANDALWOOD AVE                                                            WEST BEND           WI           53095                                  SUPPLIERS OR VENDORS         11/9/2018               $23.00
JEREMY BUSS            2406 SANDALWOOD AVE                                                            WEST BEND           WI           53095                                  SUPPLIERS OR VENDORS         11/9/2018               $23.00
JEREMY COSSON          422 WASHINGTON ST                                                              FORT ATKINSON       WI           53538                                  SUPPLIERS OR VENDORS        10/22/2018               $15.00
JEREMY ELLIS           STORE 095                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/20/2018              $805.32
JEREMY ELLIS           STORE 095                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         1/10/2019              $760.09
JEREMY FORSTER         224 3RD ST S                 APT 306A                                          WAITE PARK          MN           56387                                  SUPPLIERS OR VENDORS         11/5/2018                $2.21
JEREMY HUTKOWSKI       261 PARADISE LANE APT#6                                                        PLOVER              WI           54467                                  SUPPLIERS OR VENDORS        10/25/2018               $16.00
JEREMY KLUG            704 LAKEVIEW CIRCLE                                                            BEAVER DAM          WI           53916                                  SUPPLIERS OR VENDORS        11/12/2018               $25.00
JEREMY LOSEKE          STORE 056                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/27/2018              $212.55
JEREMY MAU             2262 ST JOHN DR                                                                DUBUQUE             IA           52002                                  SUPPLIERS OR VENDORS        10/30/2018               $20.00
JEREMY MCCULLOUGH      11381 755TH AVE                                                                GLENVILLE           MN           56036                                  SUPPLIERS OR VENDORS        10/25/2018               $35.00
JEREMY PASTERSKI       1300 DELRAY DRIVE                                                              GREEN BAY           WI           54304                                  SUPPLIERS OR VENDORS        10/29/2018               $30.00
JEREMY PETERSON        PO BOX 481                                                                     VALDERS             WI           54245                                  SUPPLIERS OR VENDORS        10/22/2018               $10.00
JEREMY POOLE           117 3RD STREET NORTH                                                           ROCKWELL            IA           50469                                  SUPPLIERS OR VENDORS         12/3/2018               $75.00
JEREMY ROWE            514 21 ST                                                                      MONROE              WI           53566                                  SUPPLIERS OR VENDORS        10/26/2018               $42.00
JEREMY VOGELS          3901 ST. CROIX CIRCLE WEST                                                     GREENBAY            WI           54301                                  SUPPLIERS OR VENDORS         12/4/2018               $69.60
JEREMY WAHL            1706 1ST AVE                                                                   MONROE              WI           53566                                  SUPPLIERS OR VENDORS         12/5/2018               $30.00
JERENE STEVENS         204 PEDDLES AVE.                                                               BELVIDERE           IL           61008                                  SUPPLIERS OR VENDORS        11/26/2018               $12.44
JERI COSTEL            STORE 2-762                  SHOPKO EMPLOYEE        PO BOX 1352                THERMOPOLIS         WY           82443                                  SUPPLIERS OR VENDORS        11/15/2018               $30.40
JERI KLEMM             539 S MILL ST                                                                  BROWNTOWN           WI           53522                                  SUPPLIERS OR VENDORS        10/19/2018               $14.40
JERI KUCHERA           87208 446 AVE                                                                  BASSETT             NE           68714                                  SUPPLIERS OR VENDORS        10/29/2018               $60.45
JERI KUCHERA           87208 446 AVE                                                                  BASSETT             NE           68714                                  SUPPLIERS OR VENDORS        10/31/2018               $13.55
JERIMIAH J GAIKOWSKI   43966 US HIGHWAY 12                                                            WEBSTER             SD           57274                                  SUPPLIERS OR VENDORS        10/18/2018              $250.00
JEROD BADER            801 N 3RD ST APT 4                                                             COEUR D ALENE       ID           83814                                  SUPPLIERS OR VENDORS         11/9/2018               $16.00
JEROLD FISCHER         BOX 232                                                                        FAULKTON            SD           57438                                  SUPPLIERS OR VENDORS        11/28/2018               $12.16
JEROLD FISCHER         BOX 232                                                                        FAULKTON            SD           57438                                  SUPPLIERS OR VENDORS         12/7/2018               $48.64
JEROME BEVERAGE INC    FINTECH                      SHOPKO STORES          PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/22/2018               $86.45
JEROME BEVERAGE INC    FINTECH                      SHOPKO STORES          PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/29/2018              $213.43
JEROME BEVERAGE INC    FINTECH                      SHOPKO STORES          PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/2/2018              $166.50
JEROME BEVERAGE INC    FINTECH                      SHOPKO STORES          PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/5/2018               $84.00
JEROME BEVERAGE INC    FINTECH                      SHOPKO STORES          PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/5/2018              $378.50
JEROME BEVERAGE INC    FINTECH                      SHOPKO STORES          PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/9/2018                $5.80
JEROME BEVERAGE INC    FINTECH                      SHOPKO STORES          PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/9/2018               $27.02
JEROME BEVERAGE INC    FINTECH                      SHOPKO STORES          PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/12/2018              $470.81
JEROME BEVERAGE INC    FINTECH                      SHOPKO STORES          PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/22/2018               $29.85
JEROME BEVERAGE INC    FINTECH                      SHOPKO STORES          PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/26/2018              $143.00
JEROME BEVERAGE INC    FINTECH                      SHOPKO STORES          PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         12/3/2018              $116.79
JEROME BEVERAGE INC    FINTECH                      SHOPKO STORES          PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/11/2018              $151.00
JEROME BEVERAGE INC    FINTECH                      SHOPKO STORES          PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/20/2018               $69.17
JEROME BEVERAGE INC    FINTECH                      SHOPKO STORES          PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/20/2018              $153.27
JEROME BEVERAGE INC    FINTECH                      SHOPKO STORES          PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/21/2018              $174.70
JEROME BOATMAN         522 E. BLUFF                                                                   MADISON             WI           53704                                  SUPPLIERS OR VENDORS        12/21/2018               $25.00
JEROME HASKIN          115 THOMAS HILL ROAD                                                           JACKSON             MN           56143                                  SUPPLIERS OR VENDORS        12/20/2018               $23.00
JEROME HENNINGFELD     208 SO DAVIDSON                                                                SIOUX CITY          IA           51103                                  SUPPLIERS OR VENDORS        10/19/2018               $12.05
JEROME HIPPER          4306 OLIVE ST                                                                  RACINE              WI           53405                                  SUPPLIERS OR VENDORS        10/22/2018               $52.00
JEROME KERN            1475 MESA DR                                                                   GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS         11/3/2018                $1.00
JEROME KERN            1475 MESA DR                                                                   GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS        11/30/2018           $29,170.85
JEROME KERN            1475 MESA DR                                                                   GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS        12/19/2018           $21,075.68
JEROME KERN            1475 MESA DR                                                                   GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS          1/9/2019           $89,827.99
JEROME PLATH           904 COLE AVE                                                                   MONTROSE            MN           55363                                  SUPPLIERS OR VENDORS        12/10/2018              $125.00
JEROME SHEA            10240 VIOLA RD NE                                                              EYOTA               MN           55934                                  SUPPLIERS OR VENDORS         11/9/2018               $27.76



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                                                                                                                                                                                 Reasons for payment or    Dates of     Total Amount or
       Creditor Name              Address1                 Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
JERRY BOHRINGER        102 WATER ST                  PO BOX 314                                        RUSSELL             MN           56169                                  SUPPLIERS OR VENDORS         12/7/2018                $3.00
JERRY COLQUHOUN        4345 NORTH POLARIS PKWY                                                         JANESVILLE          WI           53546                                  SUPPLIERS OR VENDORS        10/22/2018               $30.00
JERRY GARRISON         806 N BELLEVUE BLVD                                                             BELLEVUE            NE           68005                                  SUPPLIERS OR VENDORS        12/10/2018                $9.99
JERRY HERALD           6417 YOUNG RD                                                                   OCONTO              WI           54153                                  SUPPLIERS OR VENDORS        11/26/2018               $25.00
JERRY HUNT             13911 60TH STREET                                                               BRISTOL             WI           53104                                  SUPPLIERS OR VENDORS         12/3/2018              $129.99
JERRY HUPP             50 TETON LANE APT 123                                                           MANKATO             MN           56001                                  SUPPLIERS OR VENDORS        11/12/2018              $125.00
JERRY MACVEY           58507 266TH ST                                                                  BROWNSDALE          MN           55918                                  SUPPLIERS OR VENDORS        11/12/2018              $125.00
JERRY MORGAN           N9671 FRIENDSHIP DR                                                             KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS        12/13/2018               $15.00
JERRY PLOWER           PO BOX 526                                                                      HERMOSA             SD           57744                                  SUPPLIERS OR VENDORS        11/26/2018               $13.60
JERRY PLOWER           PO BOX 526                                                                      HERMOSA             SD           57744                                  SUPPLIERS OR VENDORS         12/7/2018               $54.40
JERRY QUICK            3955 OLYMPIC BLVD # 22                                                          BILLINGS            MT           59102                                  SUPPLIERS OR VENDORS        11/29/2018                $5.00
JERRY SHEMONCOFSKY     OPTICAL LAB                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/25/2018              $218.00
JERRY SHEMONCOFSKY     OPTICAL LAB                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/1/2018              $296.59
JERRY SHEMONCOFSKY     OPTICAL LAB                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/15/2018               $77.39
JERRY SHEMONCOFSKY     OPTICAL LAB                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         12/6/2018              $239.20
JERRY SHEMONCOFSKY     OPTICAL LAB                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/13/2018              $546.08
JERRY SHEMONCOFSKY     OPTICAL LAB                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/27/2018               $99.20
JERRY SOCKNESS         32093 120TH AVE                                                                 BOYD                WI           54726                                  SUPPLIERS OR VENDORS         12/7/2018               $23.00
JERRY TJADEN           301 JO DEB DRIVE                                                                NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS        11/29/2018               $53.54
JERRY WATSON           1929 DELMAR DRIVE                                                               FREEPORT            IL           61032                                  SUPPLIERS OR VENDORS        11/26/2018               $34.00
JERRY WOLF             8263 COUNTY RD Y                                                                MARSHFIELD          WI           54449                                  SUPPLIERS OR VENDORS        11/26/2018               $46.00
JERRY WOLF             8263 COUNTY RD Y                                                                MARSHFIELD          WI           54449                                  SUPPLIERS OR VENDORS        11/26/2018               $46.00
JESS HANSON            STORE 2-076                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/25/2018              $218.00
JESS HANSON            STORE 2-076                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/1/2018              $135.16
JESS HANSON            STORE 2-076                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/8/2018              $171.13
JESS HANSON            STORE 2-076                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/15/2018              $109.00
JESS HANSON            STORE 2-076                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/13/2018              $109.00

JESSE GIRARD           18267 CHASSELL PAINSDALE RD                                                     CHASSELL            MI           49916                                  SUPPLIERS OR VENDORS       11/30/2018               $16.00
JESSE HARTJES          409 APPLETREE LANE                                                              LITTLE CHUTE        WI           54140                                  SUPPLIERS OR VENDORS       11/12/2018                $3.90
JESSE LITSCHER         605 14TH ST                                                                     WABASHA             MN           55981                                  SUPPLIERS OR VENDORS        11/1/2018                $3.06
JESSE ROBINSON         STORE 134                     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        1/15/2019              $147.15
JESSICA BENSON         STORE 2-528                   SHOPKO EMPLOYEE        148 MAIN STREET            ROUNDUP             MT           59072-2830                             SUPPLIERS OR VENDORS       10/25/2018               $17.44
JESSICA BENSON         STORE 2-528                   SHOPKO EMPLOYEE        148 MAIN STREET            ROUNDUP             MT           59072-2830                             SUPPLIERS OR VENDORS       11/15/2018                $9.27
JESSICA BENSON         STORE 2-528                   SHOPKO EMPLOYEE        148 MAIN STREET            ROUNDUP             MT           59072-2830                             SUPPLIERS OR VENDORS       11/29/2018               $10.90
JESSICA BENSON         STORE 2-528                   SHOPKO EMPLOYEE        148 MAIN STREET            ROUNDUP             MT           59072-2830                             SUPPLIERS OR VENDORS       12/13/2018               $11.45
JESSICA BONE           1763 S. HANCE DR.             APT. 3                                            FREEPORT            IL           61032                                  SUPPLIERS OR VENDORS       11/26/2018               $40.39
JESSICA CARLSON        STORE 4-617                   SHOPKO EMPLOYEE        PO BOX 1409                WAUTOMA             WI           54982-0000                             SUPPLIERS OR VENDORS        11/2/2018               $98.10
JESSICA CARLSON        STORE 4-617                   SHOPKO EMPLOYEE        PO BOX 1409                WAUTOMA             WI           54982-0000                             SUPPLIERS OR VENDORS        11/9/2018               $52.32
JESSICA CARLSON        STORE 4-617                   SHOPKO EMPLOYEE        PO BOX 1409                WAUTOMA             WI           54982-0000                             SUPPLIERS OR VENDORS       11/16/2018              $104.64
JESSICA CARLSON        STORE 4-617                   SHOPKO EMPLOYEE        PO BOX 1409                WAUTOMA             WI           54982-0000                             SUPPLIERS OR VENDORS       11/27/2018               $52.32
JESSICA CARLSON        STORE 4-617                   SHOPKO EMPLOYEE        PO BOX 1409                WAUTOMA             WI           54982-0000                             SUPPLIERS OR VENDORS       12/11/2018              $104.64
JESSICA CARLSON        STORE 4-617                   SHOPKO EMPLOYEE        PO BOX 1409                WAUTOMA             WI           54982-0000                             SUPPLIERS OR VENDORS       12/14/2018              $104.64
JESSICA CARLSON        STORE 4-617                   SHOPKO EMPLOYEE        PO BOX 1409                WAUTOMA             WI           54982-0000                             SUPPLIERS OR VENDORS       12/20/2018               $52.32
JESSICA CARLSON        STORE 4-617                   SHOPKO EMPLOYEE        PO BOX 1409                WAUTOMA             WI           54982-0000                             SUPPLIERS OR VENDORS       12/29/2018              $122.08
JESSICA EDWARDS        STORE 588                     SHOPKO EMPLOYEE        660 N MAIN STREET          BEAVER              UT           84713-7725                             SUPPLIERS OR VENDORS        11/2/2018              $651.11
JESSICA EDWARDS        STORE 588                     SHOPKO EMPLOYEE        660 N MAIN STREET          BEAVER              UT           84713-7725                             SUPPLIERS OR VENDORS        1/15/2019              $121.80
JESSICA ERICKSON       912 S. MAIN                                                                     COLFAX              WA           99111                                  SUPPLIERS OR VENDORS       10/25/2018               $16.00
JESSICA FAULKNER       1143 170TH ST                                                                   MT. PLEASANT        IA           52641                                  SUPPLIERS OR VENDORS        11/1/2018               $50.00
JESSICA FEENEY         306 LAKE AVE                                                                    FAIRMONT            MN           56031                                  SUPPLIERS OR VENDORS       10/22/2018                $3.00
JESSICA FEENEY         306 LAKE AVE                                                                    FAIRMONT            MN           56031                                  SUPPLIERS OR VENDORS        11/5/2018                $3.00
JESSICA GAGAS          258 WASHINGTON AVE                                                              STEVENS POINT       WI           54481                                  SUPPLIERS OR VENDORS        12/7/2018               $23.00
JESSICA GRIESMAN       360 N ELM APT D               PO BOXN 54                                        SPALDING            NE           68665                                  SUPPLIERS OR VENDORS        12/5/2018                $3.00
JESSICA HALL           413 EAST 18TH ST.                                                               MARSHFIELD          WI           54449                                  SUPPLIERS OR VENDORS       10/25/2018               $23.00



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        Creditor Name                  Address1               Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
JESSICA HARTWIG             1401 DAYBREAK DRIVE                                                           MARQUETTE           MI           49855                                  SUPPLIERS OR VENDORS        10/19/2018            $1,525.21
JESSICA HARTWIG             1401 DAYBREAK DRIVE                                                           MARQUETTE           MI           49855                                  SUPPLIERS OR VENDORS        11/27/2018               $85.02
JESSICA HARTWIG             1401 DAYBREAK DRIVE                                                           MARQUETTE           MI           49855                                  SUPPLIERS OR VENDORS        11/30/2018              $597.93
JESSICA HAVILL              638 FAIRWAY CIRCLE                                                            JEFFERSON           WI           53549                                  SUPPLIERS OR VENDORS        10/22/2018               $55.00
JESSICA HAYNES              STORE 106                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/1/2018              $557.72
JESSICA HAYNES              STORE 106                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/15/2018              $723.64
JESSICA HELLENBRAND         W9005 HOPE LAKE ROAD                                                          CAMBRIDGE           WI           53523                                  SUPPLIERS OR VENDORS         12/5/2018               $63.00
JESSICA IKER                520 2ND AVE S APT 40                                                          GREATFALLS          MT           59405                                  SUPPLIERS OR VENDORS        11/26/2018               $81.60
JESSICA IKER                520 2ND AVE S APT 40                                                          GREATFALLS          MT           59405                                  SUPPLIERS OR VENDORS         12/7/2018               $81.60
JESSICA JACKSON             STORE 552                   SHOPKO EMPLOYEE        1420 N 8TH STREET          OAKES               ND           58474-0000                             SUPPLIERS OR VENDORS        11/27/2018               $45.78
JESSICA JACKSON             STORE 552                   SHOPKO EMPLOYEE        1420 N 8TH STREET          OAKES               ND           58474-0000                             SUPPLIERS OR VENDORS        11/30/2018              $239.46
JESSICA MCCULLOUGH          N15400 CEDAR VIEW DRIVE                                                       WILSON              MI           49896                                  SUPPLIERS OR VENDORS         12/7/2018               $23.00
JESSICA MIDDLETON           308 E VERLEGENE AVE                                                           WAUNAKEE            WI           53597                                  SUPPLIERS OR VENDORS        12/13/2018                $5.00
JESSICA MILBRATH            648 E. RACINE STREET                                                          JEFFERSON           WI           53549                                  SUPPLIERS OR VENDORS        10/29/2018               $63.00
JESSICA MILLER              7543 RIPLEY CT                                                                MAGNA               UT           84044                                  SUPPLIERS OR VENDORS         11/5/2018               $29.99
JESSICA PARSON              STORE 2-605                 SHOPKO EMPLOYEE        340 S HWY 65               MORA                MN           55051-1619                             SUPPLIERS OR VENDORS        10/18/2018               $43.60
JESSICA PARSON              STORE 2-605                 SHOPKO EMPLOYEE        340 S HWY 65               MORA                MN           55051-1619                             SUPPLIERS OR VENDORS        11/22/2018                $3.82
JESSICA ROCHA               W7783 BLUFF ROAD                                                              WHITEWATER          WI           53190                                  SUPPLIERS OR VENDORS        11/12/2018               $30.00
JESSICA RUPPEL              912 LOCKE AVE                                                                 WATERLOO            IA           50702                                  SUPPLIERS OR VENDORS        10/31/2018               $40.00
JESSICA RUSSELL             STORE 2-084                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/8/2018               $41.97
JESSICA SEVERANCE           165 EAST RIVER DR                                                             DE PERE             WI           54115                                  SUPPLIERS OR VENDORS        10/22/2018               $34.00
JESSICA SEVERANCE           165 EAST RIVER DR                                                             DE PERE             WI           54115                                  SUPPLIERS OR VENDORS        10/22/2018               $72.97
JESSIE HEDERER              212 S. 3RD STREET                                                             COLBY               WI           54421                                  SUPPLIERS OR VENDORS        10/31/2018               $26.00

JETSON ELECTRIC BIKES LLC   ROSENTHAL & ROSENTHAL INC   PO BOX 88926                                      CHICAGO             IL           60695-1926                             SUPPLIERS OR VENDORS        11/2/2018            $5,830.76

JETSON ELECTRIC BIKES LLC   ROSENTHAL & ROSENTHAL INC   PO BOX 88926                                      CHICAGO             IL           60695-1926                             SUPPLIERS OR VENDORS        11/6/2018            $7,235.47

JETSON ELECTRIC BIKES LLC   ROSENTHAL & ROSENTHAL INC   PO BOX 88926                                      CHICAGO             IL           60695-1926                             SUPPLIERS OR VENDORS        11/9/2018            $8,190.00

JETSON ELECTRIC BIKES LLC   ROSENTHAL & ROSENTHAL INC   PO BOX 88926                                      CHICAGO             IL           60695-1926                             SUPPLIERS OR VENDORS       11/30/2018           $11,618.82

JETSON ELECTRIC BIKES LLC   ROSENTHAL & ROSENTHAL INC   PO BOX 88926                                      CHICAGO             IL           60695-1926                             SUPPLIERS OR VENDORS        12/4/2018           $24,082.02
JEWETT CAMERON
COMPANY                     UNIT 61                     PO BOX 4500                                       PORTLAND            OR           97208-4500                             SUPPLIERS OR VENDORS        11/8/2018              $192.00
JEWETT CAMERON
COMPANY                     UNIT 61                     PO BOX 4500                                       PORTLAND            OR           97208-4500                             SUPPLIERS OR VENDORS       12/11/2018               $96.00
JILL ADKINS                 112 RIVERVIEW 7 WEST                                                          GREAT FALLS         MT           59404                                  SUPPLIERS OR VENDORS       11/26/2018               $63.00
                            69991 WEST MEADOW
JILL BARRETT                PARKWAY                                                                       SISTERS             OR           97759                                  SUPPLIERS OR VENDORS       10/30/2018               $25.00
JILL BRATVOLD               1100 BEAR CIRCLE                                                              CAMBRIDGE           MN           55008                                  SUPPLIERS OR VENDORS       10/25/2018               $90.00
JILL GERMAIN                STORE 4-032                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54370-9060                             SUPPLIERS OR VENDORS        11/8/2018              $198.75
JILL GUSTAFSON              21009 APPALOOSA DR                                                            ELKHORN             NE           68022                                  SUPPLIERS OR VENDORS       11/26/2018               $23.99
JILL LANCE                  STORE 2-063                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/1/2018               $60.00
JILL LECLOUX-SIEGWORTH      PROCUREMENT                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       10/26/2018              $184.21
JILL LECLOUX-SIEGWORTH      PROCUREMENT                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       12/11/2018              $131.12
JILL LECLOUX-SIEGWORTH      PROCUREMENT                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       12/14/2018              $181.87
JILL NOLL                   7707 DOUGLAS DR                                                               YAKIMA              WA           98908                                  SUPPLIERS OR VENDORS       12/21/2018                $3.00
JILL OLSON                  3073 270TH ST                                                                 ALBION              NE           68620                                  SUPPLIERS OR VENDORS        11/9/2018               $70.00
JILL RICHARDSON             7968 HWY 186                                                                  ARPIN               WI           54410                                  SUPPLIERS OR VENDORS        12/5/2018               $25.00
JILL SALLIN                 30 STABERN                                                                    HELENA              MT           59601                                  SUPPLIERS OR VENDORS       10/25/2018               $27.98
JILL SMITH                  23439 230TH PL                                                                MCGRATH             MN           56350                                  SUPPLIERS OR VENDORS       10/24/2018              $120.99
JILLETTE PETERSEN           STORE 2-130                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/29/2018               $15.26
JILLIAN LANDECK             4121 CHEROKEE DRIVE                                                           MADISON             WI           53711                                  SUPPLIERS OR VENDORS       12/21/2018               $25.00



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                                                                                                                                                                               Reasons for payment or    Dates of     Total Amount or
       Creditor Name                  Address1            Address2                 Address3                 City              State       Zip              Country                    transfer          Payments            Value
JILLIAN SPURGEON           500 E 12TH ST           APT 330                                           SIOUX FALLS         SD           57104                                  SUPPLIERS OR VENDORS        10/29/2018               $80.00
JIM HAMMERSTROM            49073 AIRPORT PARK RD                                                     HANCOCK             MI           49930                                  SUPPLIERS OR VENDORS        12/10/2018                $9.60
JIM HESPRICH               W 4343 WILD GOOSE RD                                                      WAUPUN              WI           53963                                  SUPPLIERS OR VENDORS        12/13/2018               $33.00
JIM KALLSTROM              N 8456 745TH ST                                                           COLFAX              WI           54730                                  SUPPLIERS OR VENDORS        12/13/2018               $64.00

JIM LINSSEN TRUCKING LLC   2591 ONTARIO ROAD                                                         GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS       10/19/2018            $5,223.81

JIM LINSSEN TRUCKING LLC   2591 ONTARIO ROAD                                                         GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS       10/26/2018            $7,663.54

JIM LINSSEN TRUCKING LLC   2591 ONTARIO ROAD                                                         GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS        11/2/2018            $6,583.87

JIM LINSSEN TRUCKING LLC   2591 ONTARIO ROAD                                                         GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS        11/9/2018            $4,793.95

JIM LINSSEN TRUCKING LLC   2591 ONTARIO ROAD                                                         GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS       11/16/2018            $8,404.61

JIM LINSSEN TRUCKING LLC   2591 ONTARIO ROAD                                                         GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS       11/30/2018           $15,486.00

JIM LINSSEN TRUCKING LLC   2591 ONTARIO ROAD                                                         GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS        12/8/2018           $13,339.00

JIM LINSSEN TRUCKING LLC   2591 ONTARIO ROAD                                                         GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS       12/11/2018            $1,996.73

JIM LINSSEN TRUCKING LLC   2591 ONTARIO ROAD                                                         GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS       12/12/2018            $1,278.15

JIM LINSSEN TRUCKING LLC   2591 ONTARIO ROAD                                                         GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS       12/14/2018            $2,790.31

JIM LINSSEN TRUCKING LLC   2591 ONTARIO ROAD                                                         GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS       12/19/2018            $6,823.13

JIM LINSSEN TRUCKING LLC   2591 ONTARIO ROAD                                                         GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS       12/20/2018              $741.21

JIM LINSSEN TRUCKING LLC   2591 ONTARIO ROAD                                                         GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS       12/21/2018            $1,986.58

JIM LINSSEN TRUCKING LLC   2591 ONTARIO ROAD                                                         GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS       12/22/2018            $2,075.83

JIM LINSSEN TRUCKING LLC   2591 ONTARIO ROAD                                                         GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS       12/28/2018            $2,931.10

JIM LINSSEN TRUCKING LLC   2591 ONTARIO ROAD                                                         GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS         1/5/2019            $5,825.49

JIM LINSSEN TRUCKING LLC   2591 ONTARIO ROAD                                                         GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS         1/8/2019              $707.31

JIM LINSSEN TRUCKING LLC   2591 ONTARIO ROAD                                                         GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS        1/10/2019              $696.24

JIM LINSSEN TRUCKING LLC   2591 ONTARIO ROAD                                                         GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS        1/12/2019            $1,867.83
JIM MORLEY                 STORE 081               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/2/2018              $241.98
JIM OLVERSON               1020 4TH AVE. SW                                                          WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS        11/1/2018               $47.00
JIM TEWS                   203 WEST 6TH ST                                                           OSMOND              NE           68765                                  SUPPLIERS OR VENDORS       10/31/2018               $53.54
JIM WERNER                 315 LAUREN LANE                                                           WATERTOWN           WI           53094                                  SUPPLIERS OR VENDORS       11/12/2018               $50.40
JIMCO LAMP &
MANUFACTURING CO           PO BOX 207264                                                             DALLAS              TX           75320-7264                             SUPPLIERS OR VENDORS       10/18/2018           $11,044.35
JIMCO LAMP &
MANUFACTURING CO           PO BOX 207264                                                             DALLAS              TX           75320-7264                             SUPPLIERS OR VENDORS       10/25/2018           $13,711.66
JIMCO LAMP &
MANUFACTURING CO           PO BOX 207264                                                             DALLAS              TX           75320-7264                             SUPPLIERS OR VENDORS        11/1/2018            $1,545.40
JIMCO LAMP &
MANUFACTURING CO           PO BOX 207264                                                             DALLAS              TX           75320-7264                             SUPPLIERS OR VENDORS       11/15/2018           $16,342.32



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                                                                                                                                                                                  Reasons for payment or    Dates of    Total Amount or
       Creditor Name                Address1                  Address2                 Address3                   City            State       Zip              Country                   transfer          Payments           Value
JIMCO LAMP &
MANUFACTURING CO          PO BOX 207264                                                                  DALLAS              TX           75320-7264                             SUPPLIERS OR VENDORS      11/22/2018         $11,254.35
JIMCO LAMP &
MANUFACTURING CO          PO BOX 207264                                                                  DALLAS              TX           75320-7264                             SUPPLIERS OR VENDORS      11/29/2018         $61,760.19
JIMMY JOHNS               582 W ROSE STREET                                                              WALLA WALLA         WA           99362                                  SUPPLIERS OR VENDORS      12/10/2018            $281.46
JIMS SUPER FRESH          ATTN MARGARET                2101 4TH ST NW                                    AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS       12/7/2018             $56.64
JJS LAWN CARE
INCORPORATED              1077 SUNRISE TRAIL                                                             SIOUX CENTER        IA           51250                                  SUPPLIERS OR VENDORS      12/19/2018            $846.60
JL COX                    STORE 667                    SHOPKO EMPLOYEE        1501 PARK STREET           SHELDON             IA           51201                                  SUPPLIERS OR VENDORS      11/15/2018            $147.15

JLAB AUDIO DBA PEAG LLC   17950 PRESTON ROAD STE 360                                                     DALLAS              TX           75252-0000                             SUPPLIERS OR VENDORS      10/18/2018         $29,823.40

JLAB AUDIO DBA PEAG LLC   17950 PRESTON ROAD STE 360                                                     DALLAS              TX           75252-0000                             SUPPLIERS OR VENDORS      10/25/2018           $6,797.77

JLAB AUDIO DBA PEAG LLC   17950 PRESTON ROAD STE 360                                                     DALLAS              TX           75252-0000                             SUPPLIERS OR VENDORS       11/1/2018           $9,085.60

JLAB AUDIO DBA PEAG LLC   17950 PRESTON ROAD STE 360                                                     DALLAS              TX           75252-0000                             SUPPLIERS OR VENDORS       11/8/2018         $20,144.79

JLAB AUDIO DBA PEAG LLC   17950 PRESTON ROAD STE 360                                                     DALLAS              TX           75252-0000                             SUPPLIERS OR VENDORS      11/22/2018         $31,231.43

JLAB AUDIO DBA PEAG LLC   17950 PRESTON ROAD STE 360                                                     DALLAS              TX           75252-0000                             SUPPLIERS OR VENDORS      11/29/2018         $14,987.50
                                                                                                                                                                                 PURCHASE OF
JM SMITH CORPORATION      1500 COMMERCE DR                                                               VALDOSTA            GA           31601                                  MERCHANDISE                 1/7/2019         $96,400.00
JO ANN STRALOW            601 W CLEVELAND                                                                FREEPORT            IL           61032                                  SUPPLIERS OR VENDORS      11/14/2018             $22.65
JO ANN STRALOW            601 W CLEVELAND                                                                FREEPORT            IL           61032                                  SUPPLIERS OR VENDORS      11/14/2018             $22.65
JO ANNE WATERBURY         240 ST ANNE ST                                                                 RAPID CITY          SD           57701                                  SUPPLIERS OR VENDORS      11/30/2018             $16.20
JO ANNE WATERBURY         240 ST ANNE ST                                                                 RAPID CITY          SD           57701                                  SUPPLIERS OR VENDORS      11/30/2018             $23.78
JO CHERNOCK               STORE 040                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/16/2018            $179.85
JOAN ANDERSON             3782 W. 5900 S.                                                                ROY                 UT           84067                                  SUPPLIERS OR VENDORS      11/12/2018             $15.01
JOAN BELL                 949 SAVANNA AVE                                                                SAINT CLOUD         MN           56303                                  SUPPLIERS OR VENDORS       12/7/2018            $256.86
JOAN GITTENS              P.O. BOX 6                                                                     RUSSELL             MN           56169                                  SUPPLIERS OR VENDORS      10/24/2018              $4.08
JOAN GITTENS              P.O. BOX 6                                                                     RUSSELL             MN           56169                                  SUPPLIERS OR VENDORS       11/7/2018             $16.31
JOAN GITTER               827 S NASH ST                                                                  HORTONVILLE         WI           54944                                  SUPPLIERS OR VENDORS      10/31/2018             $25.00
JOAN ISLAS                PO BOX 10112                                                                   KALISPELL           MT           59904                                  SUPPLIERS OR VENDORS      11/26/2018             $15.00
JOAN JOHNSON              769 W CAIRNS ST                                                                ELLSWORTH           WI           54011                                  SUPPLIERS OR VENDORS      11/26/2018            $119.98
JOAN KIMBALL              3001 E. 33RD ST              #405                                              SIOUX FALLS         SD           57103                                  SUPPLIERS OR VENDORS      10/24/2018             $48.00
JOAN KIMBALL              3001 E. 33RD ST              #405                                              SIOUX FALLS         SD           57103                                  SUPPLIERS OR VENDORS      10/26/2018             $12.00
JOAN KOPF                 3910 S. 27TH ST.                                                               LINCOLN             NE           68502                                  SUPPLIERS OR VENDORS      11/12/2018            $107.07
JOAN KUTZ                 3650 LARKFIELD DRIVE                                                           WEST BEND           WI           53095                                  SUPPLIERS OR VENDORS      12/14/2018             $10.00
JOAN MEYERS               5207 S SHOREWOOD DRIVE                                                         EAU CLAIRE          WI           54703                                  SUPPLIERS OR VENDORS      12/20/2018            $317.97
JOAN PEARSON              STORE 732                    SHOPKO EMPLOYEE        3225 10TH STREET E         GLENCOE             MN           55336                                  SUPPLIERS OR VENDORS      11/22/2018             $86.64
JOAN PEARSON              STORE 732                    SHOPKO EMPLOYEE        3225 10TH STREET E         GLENCOE             MN           55336                                  SUPPLIERS OR VENDORS      11/29/2018             $87.91
JOAN PEARSON              STORE 732                    SHOPKO EMPLOYEE        3225 10TH STREET E         GLENCOE             MN           55336                                  SUPPLIERS OR VENDORS      12/20/2018            $550.73
JOAN PESCH                400 JEWELT ST                                                                  MARSHALL            MN           56258                                  SUPPLIERS OR VENDORS      11/26/2018             $62.38
JOAN SAMS                 104 E 1ST                                                                      PLANKINTON          SD           57368                                  SUPPLIERS OR VENDORS      11/29/2018             $44.80
JOAN STREET               15761 477TH AVE                                                                MILBANK             SD           57252                                  SUPPLIERS OR VENDORS      10/18/2018             $10.00
JOAN VOSS                 706 NORTH HUNTER STREET                                                        LAKEFIELD           MN           56150                                  SUPPLIERS OR VENDORS      11/12/2018             $15.00
JOAN WALLACE              320 NORTH HARLEM             APT 505                                           FREEPORT            IL           61032                                  SUPPLIERS OR VENDORS      11/12/2018             $56.54
JOAN WERTZ                803 NORTH 10TH ST                                                              MONMOUTH            IL           61462                                  SUPPLIERS OR VENDORS       12/3/2018             $45.00
JOANN CHENTNIK            314 CROCUS STREET                                                              WILLIAMS BAY        WI           53191                                  SUPPLIERS OR VENDORS      10/24/2018             $18.60
JOANN CUNNINGHAM          923 NORTH PENN                                                                 ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS      11/30/2018             $20.00
JOANN EDEN                264TH ST. APT. 202                                                             AKRON               IA           51001                                  SUPPLIERS OR VENDORS       11/5/2018             $41.60
JOANN EDEN                264TH ST. APT. 202                                                             AKRON               IA           51001                                  SUPPLIERS OR VENDORS      11/28/2018             $10.40
JOANN GREBE               1200 QUEEN CITY BLVD                                                           NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS      10/25/2018             $23.73



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                                                                                                                                                                              Reasons for payment or    Dates of     Total Amount or
       Creditor Name              Address1              Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
JOANN GREBE            1200 QUEEN CITY BLVD                                                         NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS        10/29/2018              $106.52
JOANN GREBE            1200 QUEEN CITY BLVD                                                         NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS        10/31/2018                $7.00
JOANN HAAR             13713 336TH AVE.                                                             ROSCOE              SD           57471                                  SUPPLIERS OR VENDORS        10/22/2018               $48.64
JOANN HAAR             13713 336TH AVE.                                                             ROSCOE              SD           57471                                  SUPPLIERS OR VENDORS         11/1/2018               $12.16
JOANN MOELLER          1115 W HAVENS                                                                MITCHELL            SD           57301                                  SUPPLIERS OR VENDORS        11/26/2018               $20.00
JOANN WEISS            PO BOX 272                                                                   AHMEEK              MI           49901                                  SUPPLIERS OR VENDORS         12/7/2018               $14.00
JOANN YESKE            1118 18TH AVE. N E                                                           ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS        11/12/2018               $46.36
JOANN YESKE            1118 18TH AVE. N E                                                           ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS         12/5/2018               $48.64
JOANNAH CHENOUS        308 MILL ST.                                                                 ARYGLE              WI           53504                                  SUPPLIERS OR VENDORS         11/8/2018               $83.00
JOANNE ANDERSON        STORE 016                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/25/2018              $360.84
JOANNE ANDERSON        STORE 016                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/22/2018               $70.09
JOANNE BURNS           135 S. SHORE ROAD                                                            CRYSTAL FALLS       MI           49920                                  SUPPLIERS OR VENDORS         11/1/2018               $13.54
JOANNE BURNS           135 S. SHORE ROAD                                                            CRYSTAL FALLS       MI           49920                                  SUPPLIERS OR VENDORS        11/15/2018               $62.46
JOANNE ENDERS          7603 LECHLER LN.                                                             KIEL                WI           53042                                  SUPPLIERS OR VENDORS        11/28/2018               $25.00
JOANNE JOHNSON         4512 E.19TH ST.                                                              SIOUX FALLS         SD           57110                                  SUPPLIERS OR VENDORS        10/22/2018               $10.00
JOANNE SEYMOUR         STORE 099                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/2/2018              $513.87
JOANNE SIRACUSA        3110 N MORRISON ST                                                           APPLETON            WI           54911                                  SUPPLIERS OR VENDORS        11/15/2018               $10.00
JOANNE WILDER          435 22ND ST SW                                                               MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS         11/5/2018               $13.90
JOANNE WILDER          435 22ND ST SW                                                               MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS         11/5/2018               $46.10
JOANNE WILDER          435 22ND ST SW                                                               MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS        12/10/2018               $19.42
JOAQUIN CASTRO         2124 E HARBOUR GROVE DR                                                      NAMPA               ID           83686                                  SUPPLIERS OR VENDORS        12/19/2018               $44.30
JOAQUIN LEMUS          1716 SUMMERWIND DRIVE                                                        NAMPA               ID           83651                                  SUPPLIERS OR VENDORS        12/13/2018               $67.00
JOB TALAMANTES         1316 4TH AVE NW                                                              AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS        12/20/2018               $23.00
JOBSON MEDICAL
INFORMATION LLC        PO BOX 28863                                                                 NEW YORK            NY           10087-8863                             SUPPLIERS OR VENDORS        11/6/2018            $5,775.00
JOCELYN ERMIS          5525 GALUSKA RD                                                              ABRAMS              WI           54101                                  SUPPLIERS OR VENDORS        12/7/2018               $75.00
JOCELYN SAUNDERS       STORE 502                 SHOPKO EMPLOYEE         2585 LINEVILLE ROAD        GREEN BAY           WI           54313-9999                             SUPPLIERS OR VENDORS       11/15/2018              $194.57
JOCELYN SAUNDERS       STORE 502                 SHOPKO EMPLOYEE         2585 LINEVILLE ROAD        GREEN BAY           WI           54313-9999                             SUPPLIERS OR VENDORS       11/29/2018               $53.63
JODEE TORKELSON        1403 19TH ST                                                                 MONROE              WI           53566                                  SUPPLIERS OR VENDORS        12/3/2018               $76.42
JODI MADEL             STORE 100                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/8/2018               $43.60
JODI MULDER            BOX 162                                                                      ADRIAN              MN           56110                                  SUPPLIERS OR VENDORS       12/13/2018               $66.30
JODI SWID              STORE 2-008               SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/1/2018               $34.99
JODI WEISENBECK        W2029 COUNTY RD. K                                                           DURAND              WI           54736                                  SUPPLIERS OR VENDORS       12/21/2018               $23.00
JODIE LYNCH            4077 N QUAIL ACRES RD                                                        POST FALLS          ID           83854                                  SUPPLIERS OR VENDORS       12/19/2018               $31.99
JODY DYES              6608 WRIGLEY DR                                                              PASCO               WA           99301                                  SUPPLIERS OR VENDORS       10/18/2018               $35.00
JODY M RICKEL          STORE 4-076               SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/15/2018              $186.39
JODYNE WHITT           OPTICAL LAB               SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/27/2018              $373.81

JOE BARTOSZEK          STORE OPERATIONS/STORE 603 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       10/19/2018              $853.88

JOE BARTOSZEK          STORE OPERATIONS/STORE 603 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       10/26/2018            $1,132.43

JOE BARTOSZEK          STORE OPERATIONS/STORE 603 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS        11/2/2018              $446.17

JOE BARTOSZEK          STORE OPERATIONS/STORE 603 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       11/16/2018              $776.83

JOE BARTOSZEK          STORE OPERATIONS/STORE 603 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       11/27/2018              $394.14

JOE BARTOSZEK          STORE OPERATIONS/STORE 603 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       11/30/2018              $560.47

JOE BARTOSZEK          STORE OPERATIONS/STORE 603 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS        12/8/2018              $417.19

JOE BARTOSZEK          STORE OPERATIONS/STORE 603 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       12/14/2018              $510.96




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                                                                                                                                                                                 Reasons for payment or    Dates of    Total Amount or
      Creditor Name                 Address1                Address2                  Address3                  City             State       Zip              Country                   transfer          Payments           Value

JOE BARTOSZEK             STORE OPERATIONS/STORE 603 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS      12/21/2018            $418.56

JOE BARTOSZEK             STORE OPERATIONS/STORE 603 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS      12/29/2018            $594.87
JOE DELANEY               3117 E. CHASER LN                                                             SPOKANE             WA           99223                                  SUPPLIERS OR VENDORS       11/5/2018             $20.89
JOE DELANEY               3117 E. CHASER LN                                                             SPOKANE             WA           99223                                  SUPPLIERS OR VENDORS      11/26/2018             $98.11

JOE GARCIA                260 MOUNTAIN VISTA AVE SE                                                     SALEM               OR           97306                                  SUPPLIERS OR VENDORS       12/7/2018              $7.01
JOE GUTIERREZ             2107 S. VEARCREST                                                             VERADALE            WA           99037                                  SUPPLIERS OR VENDORS      10/24/2018             $42.00

JOE LOCKMAN               STORE OPERATIONS/STORE 140 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/19/2018            $216.26

JOE LOCKMAN               STORE OPERATIONS/STORE 140 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/26/2018           $1,013.92

JOE LOCKMAN               STORE OPERATIONS/STORE 140 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/2/2018            $318.62

JOE LOCKMAN               STORE OPERATIONS/STORE 140 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/9/2018            $333.62

JOE LOCKMAN               STORE OPERATIONS/STORE 140 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/16/2018            $406.82

JOE LOCKMAN               STORE OPERATIONS/STORE 140 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/27/2018            $492.74

JOE LOCKMAN               STORE OPERATIONS/STORE 140 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/11/2018            $158.41

JOE LOCKMAN               STORE OPERATIONS/STORE 140 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/14/2018            $554.61

JOE LOCKMAN               STORE OPERATIONS/STORE 140 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/20/2018            $567.08

JOE LOCKMAN               STORE OPERATIONS/STORE 140 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        1/5/2019            $514.37
JOE SIEGL                 5625 SOUTH 82ND                                                               LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS      10/30/2018             $93.01
JOEL LEIST                721N 12TH AVE                                                                 WAUSAU              WI           54401                                  SUPPLIERS OR VENDORS       12/7/2018             $15.01
JOEL MONTGOMERY           202 S PINE                                                                    HENRY               SD           57243                                  SUPPLIERS OR VENDORS      11/29/2018             $25.00
JOEL NEWLUN               S1006 SPRING MEADOW DR                                                        SPENCER             WI           54479                                  SUPPLIERS OR VENDORS      11/16/2018             $60.53
JOEL RICHARDSON           1807 12TH PL                                                                  KENOSHA             WI           53140                                  SUPPLIERS OR VENDORS      12/13/2018             $23.00
JOEL SINGREY              44077 181ST ST                                                                HAZEL               SD           57242                                  SUPPLIERS OR VENDORS      11/12/2018             $19.99
JOELLE WILLADSEN          1486 GUNS RD                                                                  GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS      11/16/2018             $21.98
JOEY ROBERTS              803 15TH ST                                                                   MOSINEE             WI           54455                                  SUPPLIERS OR VENDORS       12/7/2018             $54.00
JOEY SYLVESTER            140 W COMMERCE BLVD                                                           SLINGER             WI           53086                                  SUPPLIERS OR VENDORS       11/8/2018             $18.96
JOHANNES MUIR             12719 W GREENFIELD RD                                                         NINE MILE FALLS     WA           99026                                  SUPPLIERS OR VENDORS      11/26/2018             $38.49
JOHN B SANFILIPPO & SON
INCORPORATED              VICE PRESIDENT OF SALES     1703 RANDALL ROAD                                 ELGIN               IL           60123                                  SUPPLIERS OR VENDORS      10/19/2018         $33,290.40
JOHN B SANFILIPPO & SON
INCORPORATED              VICE PRESIDENT OF SALES     1703 RANDALL ROAD                                 ELGIN               IL           60123                                  SUPPLIERS OR VENDORS      10/23/2018         $14,704.56
JOHN B SANFILIPPO & SON
INCORPORATED              VICE PRESIDENT OF SALES     1703 RANDALL ROAD                                 ELGIN               IL           60123                                  SUPPLIERS OR VENDORS      10/26/2018         $16,286.40
JOHN B SANFILIPPO & SON
INCORPORATED              VICE PRESIDENT OF SALES     1703 RANDALL ROAD                                 ELGIN               IL           60123                                  SUPPLIERS OR VENDORS       11/9/2018           $5,287.37
JOHN B SANFILIPPO & SON
INCORPORATED              VICE PRESIDENT OF SALES     1703 RANDALL ROAD                                 ELGIN               IL           60123                                  SUPPLIERS OR VENDORS      11/16/2018         $11,837.16
JOHN B SANFILIPPO & SON
INCORPORATED              VICE PRESIDENT OF SALES     1703 RANDALL ROAD                                 ELGIN               IL           60123                                  SUPPLIERS OR VENDORS      11/23/2018           $6,080.88
JOHN B SANFILIPPO & SON
INCORPORATED              VICE PRESIDENT OF SALES     1703 RANDALL ROAD                                 ELGIN               IL           60123                                  SUPPLIERS OR VENDORS       12/4/2018           $8,500.05
JOHN BOWERS               2336 SERENADE LANE                                                            GREEN BAY           WI           54301                                  SUPPLIERS OR VENDORS      11/29/2018              $67.00



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                                                                                                                                                                           Reasons for payment or    Dates of     Total Amount or
      Creditor Name              Address1            Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
JOHN BRIESEMEISTER    5085 MACHICKANEE LANE                                                      LENA                WI           54139                                  SUPPLIERS OR VENDORS        11/29/2018                $5.00
JOHN BURCHAM          OPERATIONS/STORE 099     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/9/2018              $611.47
JOHN BURCHAM          OPERATIONS/STORE 099     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/27/2018              $246.93
JOHN BURCHAM          OPERATIONS/STORE 099     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/30/2018              $417.28
JOHN BURCHAM          OPERATIONS/STORE 099     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/29/2018              $261.44
JOHN BUTINA           PO BOX 207                                                                 PAINESDALE          MI           49955                                  SUPPLIERS OR VENDORS        11/29/2018                $9.60
JOHN CALDWELL         STORE 2-028              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/15/2018              $370.00
JOHN CAMPBELL         2229 STONECREEK SOUTH                                                      LINCOLN             NE           68512                                  SUPPLIERS OR VENDORS        10/24/2018               $47.94
JOHN CAMPBELL         2229 STONECREEK SOUTH                                                      LINCOLN             NE           68512                                  SUPPLIERS OR VENDORS         11/1/2018               $55.98
JOHN CAMPBELL         2229 STONECREEK SOUTH                                                      LINCOLN             NE           68512                                  SUPPLIERS OR VENDORS        11/12/2018               $11.98
JOHN CHAPLIN          901 BEESON CUTOFF ROAD                                                     PALOUSE             WA           99161                                  SUPPLIERS OR VENDORS        11/30/2018              $127.97
JOHN DAHL             122 2ND AV NE                                                              WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS        10/31/2018                $8.41
JOHN DETWILER         1710 2ND AVE SE                                                            AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS         11/5/2018               $81.48
JOHN DUBAS            1341 N 60TH RD                                                             NEBRASKA CITY       NE           68410                                  SUPPLIERS OR VENDORS        10/22/2018               $42.00
JOHN E LAMERS OD PC   981 E VESTIGE DRIVE                                                        MERIDIAN            ID           83646-5860                             SUPPLIERS OR VENDORS        10/19/2018            $5,102.70
JOHN E LAMERS OD PC   981 E VESTIGE DRIVE                                                        MERIDIAN            ID           83646-5860                             SUPPLIERS OR VENDORS         11/2/2018            $7,154.05
JOHN E LAMERS OD PC   981 E VESTIGE DRIVE                                                        MERIDIAN            ID           83646-5860                             SUPPLIERS OR VENDORS        11/16/2018            $6,825.32
JOHN E LAMERS OD PC   981 E VESTIGE DRIVE                                                        MERIDIAN            ID           83646-5860                             SUPPLIERS OR VENDORS        11/30/2018            $5,265.15
JOHN E LAMERS OD PC   981 E VESTIGE DRIVE                                                        MERIDIAN            ID           83646-5860                             SUPPLIERS OR VENDORS        12/14/2018            $4,401.52
JOHN E LAMERS OD PC   981 E VESTIGE DRIVE                                                        MERIDIAN            ID           83646-5860                             SUPPLIERS OR VENDORS        12/29/2018            $5,912.57
JOHN E LAMERS OD PC   981 E VESTIGE DRIVE                                                        MERIDIAN            ID           83646-5860                             SUPPLIERS OR VENDORS         1/11/2019            $6,669.70
JOHN ECKERMAN         2611 CHIPPEWA DR.                                                          PLOVER              WI           54467                                  SUPPLIERS OR VENDORS        11/14/2018              $175.00
JOHN EDWARDS          108 ANGELIQUE AVE                                                          WABASHA             MN           55981                                  SUPPLIERS OR VENDORS        10/29/2018               $91.80

JOHN FOLKERTS         STORE 786                SHOPKO EMPLOYEE        801 N BROADWAY STREET RED OAK                  IA           51566                                  SUPPLIERS OR VENDORS       10/26/2018              $159.14
JOHN FORD             P O BOX 184                                                           MELLETTE                 SD           57461                                  SUPPLIERS OR VENDORS       11/15/2018               $68.40
JOHN FORSYTH          4127 W SHADY PLUM WAY                                                 SOUTH JORDAN             UT           84095                                  SUPPLIERS OR VENDORS       11/26/2018               $30.00
JOHN FRANKLIN         STORE 2-698              SHOPKO EMPLOYEE        718 4TH STREET        GOTHENBURG               NE           69138                                  SUPPLIERS OR VENDORS       10/25/2018              $258.67
JOHN FREER            4702 BUREL WOOD LP SE                                                 SALEM                    OR           97317                                  SUPPLIERS OR VENDORS       10/25/2018               $42.00
JOHN GARRETT          3067 E 3400 N                                                         TWIN FALLS               ID           83301                                  SUPPLIERS OR VENDORS        11/2/2018               $40.02
JOHN GERLIKOWSKI      STORE 171                SHOPKO EMPLOYEE                              GREEN BAY                WI           54307-9060                             SUPPLIERS OR VENDORS       10/18/2018              $218.00
JOHN GERLIKOWSKI      STORE 171                SHOPKO EMPLOYEE                              GREEN BAY                WI           54307-9060                             SUPPLIERS OR VENDORS        11/1/2018              $103.55
JOHN GERLIKOWSKI      STORE 171                SHOPKO EMPLOYEE                              GREEN BAY                WI           54307-9060                             SUPPLIERS OR VENDORS       11/15/2018              $218.00
JOHN GERLIKOWSKI      STORE 171                SHOPKO EMPLOYEE                              GREEN BAY                WI           54307-9060                             SUPPLIERS OR VENDORS       12/20/2018              $218.00
JOHN GERLIKOWSKI      STORE 171                SHOPKO EMPLOYEE                              GREEN BAY                WI           54307-9060                             SUPPLIERS OR VENDORS       12/27/2018              $116.58

JOHN GILBERTSON       5330 GILBERTSON CT                                                         WISCONSIN RAPIDS    WI           54494                                  SUPPLIERS OR VENDORS       10/31/2018              $227.68
JOHN GINGRICH         2736 PALM DRIVE                                                            BILLINGS            MT           59102                                  SUPPLIERS OR VENDORS       10/19/2018           $10,413.04
JOHN GINGRICH         2736 PALM DRIVE                                                            BILLINGS            MT           59102                                  SUPPLIERS OR VENDORS        11/2/2018            $8,577.96
JOHN GINGRICH         2736 PALM DRIVE                                                            BILLINGS            MT           59102                                  SUPPLIERS OR VENDORS       11/16/2018            $8,261.96
JOHN GINGRICH         2736 PALM DRIVE                                                            BILLINGS            MT           59102                                  SUPPLIERS OR VENDORS       11/30/2018           $10,047.76
JOHN GINGRICH         2736 PALM DRIVE                                                            BILLINGS            MT           59102                                  SUPPLIERS OR VENDORS       12/14/2018            $9,945.54
JOHN GINGRICH         2736 PALM DRIVE                                                            BILLINGS            MT           59102                                  SUPPLIERS OR VENDORS       12/29/2018            $9,672.70
JOHN GINGRICH         2736 PALM DRIVE                                                            BILLINGS            MT           59102                                  SUPPLIERS OR VENDORS        1/11/2019            $6,629.76
JOHN GREISEN          1822 19TH AVENUE                                                           RICE LAKE           WI           54868                                  SUPPLIERS OR VENDORS        12/7/2018               $14.96
JOHN GULLEY           332 VALLEY VIEW DR                                                         BRILLION            WI           54110                                  SUPPLIERS OR VENDORS       10/31/2018               $34.00
JOHN GUNIA            3010 PANAMA ST                                                             SIOUX CITY          IA           51103                                  SUPPLIERS OR VENDORS       10/29/2018               $10.40
JOHN HERZOG           14928 POINT CREEK ROAD                                                     NEWTON              WI           53063                                  SUPPLIERS OR VENDORS        11/5/2018               $44.16
JOHN HERZOG           14928 POINT CREEK ROAD                                                     NEWTON              WI           53063                                  SUPPLIERS OR VENDORS       11/13/2018               $19.50
JOHN HIXSON           798 DRIFTWOOD DR.                                                          EUGENE              OR           97402                                  SUPPLIERS OR VENDORS       12/20/2018               $22.08
JOHN JACKAN           9675 166TH ST                                                              CHIPPEWA FALLS      WI           54729                                  SUPPLIERS OR VENDORS        11/9/2018               $21.25
JOHN KELLEY           4243 HARRISON ST                                                           SIOUX CITY          IA           51108                                  SUPPLIERS OR VENDORS        11/9/2018               $67.00

JOHN KLINGFORTH       4911 AUBURN AVENUE                                                         WISCONSIN RAPIDS WI              54494                                  SUPPLIERS OR VENDORS       11/12/2018               $23.76



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JOHN KOSKA            APPAREL                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/22/2018            $1,918.36
JOHN LAMMERS          1632 EDMOND ST                                                            WALLA WALLA         WA           99362                                  SUPPLIERS OR VENDORS        12/17/2018                $8.69
JOHN LITERSKI         228080 HILLDALE DRIVE                                                     EDGAR               WI           54426                                  SUPPLIERS OR VENDORS        12/20/2018               $23.00
JOHN MACKRAIN         PO BOX 286                                                                CHASSELL            MI           49916                                  SUPPLIERS OR VENDORS        12/10/2018                $9.60
JOHN MADSON           STORE OPERATIONS        SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS        10/19/2018              $353.06
JOHN MADSON           STORE OPERATIONS        SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS         11/2/2018              $596.33
JOHN MADSON           STORE OPERATIONS        SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS        11/16/2018              $643.07
JOHN MADSON           STORE OPERATIONS        SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS        11/27/2018              $211.40
JOHN MADSON           STORE OPERATIONS        SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS        11/30/2018              $258.33
JOHN MADSON           STORE OPERATIONS        SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS        12/14/2018            $1,376.49
JOHN MADSON           STORE OPERATIONS        SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS        12/29/2018              $185.52
JOHN MADSON           STORE OPERATIONS        SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS          1/5/2019              $545.99
JOHN MAILLETTE        822 W CEDAR ST                                                            RIVER FALLS         WI           54022                                  SUPPLIERS OR VENDORS        11/16/2018               $75.00
JOHN MEHMEN           3646 RIVER RD                                                             OSAGE               IA           50461                                  SUPPLIERS OR VENDORS        11/26/2018               $27.00
JOHN MEHMEN           3646 RIVER RD                                                             OSAGE               IA           50461                                  SUPPLIERS OR VENDORS        11/26/2018               $48.00
JOHN MENDES           935 WEST CAROLINA ST                                                      LEBANON             OR           97355                                  SUPPLIERS OR VENDORS        10/22/2018               $10.00
JOHN OELTJENBRUNS     1009 2ND AVE S                                                            SAINTJAMES          MN           56081                                  SUPPLIERS OR VENDORS        11/16/2018               $20.00
JOHN ONG              P. O. BOX 1242                                                            NAMPA               ID           83653                                  SUPPLIERS OR VENDORS         12/3/2018               $25.00
JOHN OSTROM           STORE 597               SHOPKO EMPLOYEE        133 TROTTER AVENUE         ORD                 NE           68862                                  SUPPLIERS OR VENDORS        10/26/2018              $190.75
JOHN OSTROM           STORE 597               SHOPKO EMPLOYEE        133 TROTTER AVENUE         ORD                 NE           68862                                  SUPPLIERS OR VENDORS        12/14/2018              $209.16
JOHN OSTROM           STORE 597               SHOPKO EMPLOYEE        133 TROTTER AVENUE         ORD                 NE           68862                                  SUPPLIERS OR VENDORS        12/20/2018              $108.96
JOHN PETERS           1006 N 5TH STREET                                                         ST PETER            MN           56082                                  SUPPLIERS OR VENDORS        11/30/2018              $460.00
JOHN PETRI            133 GROVE ST                                                              EVANSVILLE          WI           53536                                  SUPPLIERS OR VENDORS         11/2/2018               $22.50
JOHN PILON            335 WASHINGTON AVE                                                        NEENAH              WI           54956                                  SUPPLIERS OR VENDORS        11/29/2018               $41.13
JOHN PILZ             STORE 2-139             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/30/2018              $348.80
JOHN PILZ             STORE 2-139             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/11/2018              $226.79
JOHN PILZ             STORE 2-139             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/14/2018              $210.74
JOHN PILZ             STORE 2-139             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/29/2018              $335.72
JOHN RITZENTHALER
COMPANY               PO BOX 821639                                                             PHILADELPHIA        PA           19182-1639                             SUPPLIERS OR VENDORS       10/25/2018          $289,883.46
JOHN RITZENTHALER
COMPANY               PO BOX 821639                                                             PHILADELPHIA        PA           19182-1639                             SUPPLIERS OR VENDORS        11/1/2018            $6,139.56
JOHN RITZENTHALER
COMPANY               PO BOX 821639                                                             PHILADELPHIA        PA           19182-1639                             SUPPLIERS OR VENDORS        11/8/2018            $4,136.98
JOHN RITZENTHALER
COMPANY               PO BOX 821639                                                             PHILADELPHIA        PA           19182-1639                             SUPPLIERS OR VENDORS       11/15/2018            $8,039.48
JOHN RITZENTHALER
COMPANY               PO BOX 821639                                                             PHILADELPHIA        PA           19182-1639                             SUPPLIERS OR VENDORS       11/22/2018           $10,061.64
JOHN RITZENTHALER
COMPANY               PO BOX 821639                                                             PHILADELPHIA        PA           19182-1639                             SUPPLIERS OR VENDORS       11/29/2018           $18,417.10
JOHN SANTO            STORE 053               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/6/2018               $36.87
JOHN SANTO            STORE 053               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/27/2018              $253.78
JOHN SCHELFHOUT       2141 WESTLINE RD                                                          GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS       11/27/2018               $25.00
JOHN SCHRADER         5721 110TH AVE                                                            ECHO                MN           56237                                  SUPPLIERS OR VENDORS       10/31/2018               $54.98
JOHN SINGLE           STORE 132               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/27/2018              $161.21
JOHN SMET             N7532 MILLER RD                                                           BLACK CREEK         WI           54106                                  SUPPLIERS OR VENDORS        11/2/2018               $42.00
JOHN SPIZZIRI         P.O BOX 128                                                               RYGATE              MT           59074                                  SUPPLIERS OR VENDORS       10/19/2018               $37.00
JOHN STEVENS          2605 24TH AVE                                                             KENOSHA             WI           53140                                  SUPPLIERS OR VENDORS       12/13/2018               $45.00
JOHN STIEH            STORE 689               SHOPKO EMPLOYEE        201 N FILLMORE             MOUNT AYER          IA           50854                                  SUPPLIERS OR VENDORS       10/26/2018              $103.01
JOHN STIEH            STORE 689               SHOPKO EMPLOYEE        201 N FILLMORE             MOUNT AYER          IA           50854                                  SUPPLIERS OR VENDORS        11/2/2018              $389.25
JOHN STIEH            STORE 689               SHOPKO EMPLOYEE        201 N FILLMORE             MOUNT AYER          IA           50854                                  SUPPLIERS OR VENDORS       11/16/2018              $372.91
JOHN THEISEN          1456 HEATH CT                                                             DUPONT              WA           98327                                  SUPPLIERS OR VENDORS        11/5/2018               $13.50
JOHN THOMAS           244 E RIDGE ROAD                                                          OREM                UT           84057                                  SUPPLIERS OR VENDORS       11/30/2018                $5.00
JOHN VALLIS           3601 S. 16TH                                                              LINCOLN             NE           68502                                  SUPPLIERS OR VENDORS       11/26/2018               $47.94



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                                                                                                                                                                            Reasons for payment or    Dates of    Total Amount or
      Creditor Name              Address1              Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
JOHN VERIHA TRUCKING
INCORPORATED           PO BOX 456                                                                  MARINETTE           WI           54143                                  SUPPLIERS OR VENDORS      10/26/2018         $16,622.08
JOHN VERIHA TRUCKING
INCORPORATED           PO BOX 456                                                                  MARINETTE           WI           54143                                  SUPPLIERS OR VENDORS       12/8/2018         $13,281.62
JOHN VERIHA TRUCKING
INCORPORATED           PO BOX 456                                                                  MARINETTE           WI           54143                                  SUPPLIERS OR VENDORS      12/19/2018         $25,206.51
JOHN VERIHA TRUCKING
INCORPORATED           PO BOX 456                                                                  MARINETTE           WI           54143                                  SUPPLIERS OR VENDORS      12/21/2018            $140.00
JOHN VERIHA TRUCKING
INCORPORATED           PO BOX 456                                                                  MARINETTE           WI           54143                                  SUPPLIERS OR VENDORS        1/5/2019         $18,125.35
JOHN VOORHEES          STORE 716                 SHOPKO EMPLOYEE        1520 W 9TH STREET          MT CARMEL           IL           62863                                  SUPPLIERS OR VENDORS      10/26/2018            $235.44
JOHN WHITCOMB SR       1256 BIEMERET                                                               GREEN BAY           WI           54304                                  SUPPLIERS OR VENDORS       11/5/2018             $40.00
JOHN WHITE             2280 HIGHWAY 30 WEST                                                        FRUITLAND           ID           83619                                  SUPPLIERS OR VENDORS       12/7/2018              $3.00
JOHN WILLIAMS          SYS MAINT/BOISE DC        SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/9/2018          $1,240.10
JOHN WILSON            402 N 28TH                                                                  NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS      10/18/2018             $53.54
JOHNATHAN VISGAR       523 1/2 FALCON ST                                                           EAU CLAIRE          WI           54703                                  SUPPLIERS OR VENDORS      12/21/2018             $23.00
JOHNS AG SERVICE
INCORPORATED           2260 220TH STREET                                                           HUMBOLDT            IA           50548                                  SUPPLIERS OR VENDORS      10/18/2018            $250.00
JOHNS AG SERVICE
INCORPORATED           2260 220TH STREET                                                           HUMBOLDT            IA           50548                                  SUPPLIERS OR VENDORS       11/8/2018             $62.50
JOHNS AG SERVICE
INCORPORATED           2260 220TH STREET                                                           HUMBOLDT            IA           50548                                  SUPPLIERS OR VENDORS      11/29/2018             $62.50
JOHNS AG SERVICE
INCORPORATED           2260 220TH STREET                                                           HUMBOLDT            IA           50548                                  SUPPLIERS OR VENDORS      12/17/2018            $125.00
JOHNS AG SERVICE
INCORPORATED           2260 220TH STREET                                                           HUMBOLDT            IA           50548                                  SUPPLIERS OR VENDORS      12/19/2018             $62.50
JOHNS HOME AND YARD
SERVICE                PO BOX 21460                                                                BILLINGS            MT           59104-1460                             SUPPLIERS OR VENDORS      10/19/2018            $200.00
JOHNS HOME AND YARD
SERVICE                PO BOX 21460                                                                BILLINGS            MT           59104-1460                             SUPPLIERS OR VENDORS      10/26/2018            $212.50
JOHNS HOME AND YARD
SERVICE                PO BOX 21460                                                                BILLINGS            MT           59104-1460                             SUPPLIERS OR VENDORS       11/2/2018            $208.00
JOHNS HOME AND YARD
SERVICE                PO BOX 21460                                                                BILLINGS            MT           59104-1460                             SUPPLIERS OR VENDORS       11/9/2018            $100.00
JOHNSON & JOHNSON      5618 COLLECTIONS CENTER
CONSUMER INC           DRIVE                                                                       CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      10/19/2018        $331,964.94
JOHNSON & JOHNSON      5618 COLLECTIONS CENTER
CONSUMER INC           DRIVE                                                                       CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      10/23/2018           $1,543.34
JOHNSON & JOHNSON      5618 COLLECTIONS CENTER
CONSUMER INC           DRIVE                                                                       CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      10/25/2018           $2,279.30
JOHNSON & JOHNSON      5618 COLLECTIONS CENTER
CONSUMER INC           DRIVE                                                                       CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      10/30/2018           $1,951.92
JOHNSON & JOHNSON      5618 COLLECTIONS CENTER
CONSUMER INC           DRIVE                                                                       CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS       11/1/2018           $4,481.20
JOHNSON & JOHNSON      5618 COLLECTIONS CENTER
CONSUMER INC           DRIVE                                                                       CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS       11/2/2018        $285,759.09
JOHNSON & JOHNSON      5618 COLLECTIONS CENTER
CONSUMER INC           DRIVE                                                                       CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS       11/6/2018           $1,409.07
JOHNSON & JOHNSON      5618 COLLECTIONS CENTER
CONSUMER INC           DRIVE                                                                       CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS       11/8/2018           $1,846.72
JOHNSON & JOHNSON      5618 COLLECTIONS CENTER
CONSUMER INC           DRIVE                                                                       CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      11/10/2018           $4,225.86
JOHNSON & JOHNSON      5618 COLLECTIONS CENTER
CONSUMER INC           DRIVE                                                                       CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      11/13/2018           $3,569.08



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JOHNSON & JOHNSON       5618 COLLECTIONS CENTER
CONSUMER INC            DRIVE                                                                    CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      11/24/2018        $295,200.64
JOHNSON & JOHNSON       5618 COLLECTIONS CENTER
CONSUMER INC            DRIVE                                                                    CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      11/27/2018           $1,909.18
JOHNSON & JOHNSON       5618 COLLECTIONS CENTER
CONSUMER INC            DRIVE                                                                    CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      11/29/2018        $287,299.90
JOHNSON & JOHNSON       5618 COLLECTIONS CENTER
CONSUMER INC            DRIVE                                                                    CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS       12/5/2018         $48,145.77
JOHNSON & JOHNSON       5618 COLLECTIONS CENTER
CONSUMER INC            DRIVE                                                                    CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS       12/6/2018           $1,745.29
JOHNSON & JOHNSON       5618 COLLECTIONS CENTER
CONSUMER INC            DRIVE                                                                    CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      12/19/2018           $8,094.65
JOHNSON & JOHNSON       5618 COLLECTIONS CENTER
CONSUMER INC            DRIVE                                                                    CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      12/20/2018        $247,914.64
JOHNSON & JOHNSON       5618 COLLECTIONS CENTER
CONSUMER INC            DRIVE                                                                    CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      12/21/2018             $30.57
JOHNSON & JOHNSON       5618 COLLECTIONS CENTER
CONSUMER INC            DRIVE                                                                    CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      12/28/2018        $291,634.37
JOHNSON BROTHERS
FAMOUS BRANDS           300 E 50 STREET N                                                        SIOUX FALLS         SD           57104-0000                             SUPPLIERS OR VENDORS       11/6/2018             $31.46
JOHNSON BROTHERS
FAMOUS BRANDS           300 E 50 STREET N                                                        SIOUX FALLS         SD           57104-0000                             SUPPLIERS OR VENDORS       11/9/2018            $201.30
JOHNSON BROTHERS
FAMOUS BRANDS           300 E 50 STREET N                                                        SIOUX FALLS         SD           57104-0000                             SUPPLIERS OR VENDORS      11/13/2018            $257.40
JOHNSON BROTHERS
FAMOUS BRANDS           300 E 50 STREET N                                                        SIOUX FALLS         SD           57104-0000                             SUPPLIERS OR VENDORS      11/22/2018             $81.80
JOHNSON BROTHERS
FAMOUS BRANDS           300 E 50 STREET N                                                        SIOUX FALLS         SD           57104-0000                             SUPPLIERS OR VENDORS      11/23/2018            $162.51
JOHNSON BROTHERS
FAMOUS BRANDS           300 E 50 STREET N                                                        SIOUX FALLS         SD           57104-0000                             SUPPLIERS OR VENDORS      11/27/2018            $140.60
JOHNSON BROTHERS
FAMOUS BRANDS           300 E 50 STREET N                                                        SIOUX FALLS         SD           57104-0000                             SUPPLIERS OR VENDORS      11/30/2018             $10.89
JOHNSON BROTHERS
FAMOUS BRANDS           300 E 50 STREET N                                                        SIOUX FALLS         SD           57104-0000                             SUPPLIERS OR VENDORS       12/4/2018             $34.90
JOHNSON BROTHERS
FAMOUS BRANDS           300 E 50 STREET N                                                        SIOUX FALLS         SD           57104-0000                             SUPPLIERS OR VENDORS      12/11/2018             $34.90
JOHNSON BROTHERS
FAMOUS BRANDS           300 E 50 STREET N                                                        SIOUX FALLS         SD           57104-0000                             SUPPLIERS OR VENDORS      12/20/2018            $374.20
JOHNSON BROTHERS
FAMOUS BRANDS           300 E 50 STREET N                                                        SIOUX FALLS         SD           57104-0000                             SUPPLIERS OR VENDORS      12/27/2018            $660.20
JOHNSON BROTHERS OF
IOWA                    2515 DEAN AVENUE                                                         DES MOINES          IA           50317-0000                             SUPPLIERS OR VENDORS      10/18/2018             $48.10
JOHNSON BROTHERS OF
IOWA                    2515 DEAN AVENUE                                                         DES MOINES          IA           50317-0000                             SUPPLIERS OR VENDORS      10/25/2018             $80.00
JOHNSON BROTHERS OF
IOWA                    2515 DEAN AVENUE                                                         DES MOINES          IA           50317-0000                             SUPPLIERS OR VENDORS      12/12/2018             $48.10
JOHNSON BROTHERS OF
IOWA                    2515 DEAN AVENUE                                                         DES MOINES          IA           50317-0000                             SUPPLIERS OR VENDORS      12/17/2018             $38.30
JOHNSON CONTROLS FIRE
PROTECTION LP           DEPARTMENT CH 10320                                                      PALATINE            IL           60055-0320                             SUPPLIERS OR VENDORS      11/29/2018            $340.48
JOHNSTON LAWN CARE
INCORPORATED            1344 210TH STREET                                                        WINTERSET           IA           50273                                  SUPPLIERS OR VENDORS      10/18/2018            $272.85
JOHNSTON LAWN CARE
INCORPORATED            1344 210TH STREET                                                        WINTERSET           IA           50273                                  SUPPLIERS OR VENDORS      11/15/2018            $272.85



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                                                                                                                                                                                  Reasons for payment or    Dates of     Total Amount or
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JOLENE ALEXANIAN         844 W FEATHERWOODS DR                                                          NAMPA               ID           83686                                  SUPPLIERS OR VENDORS         11/7/2018                $8.22
JOLENE ALEXANIAN         844 W FEATHERWOODS DR                                                          NAMPA               ID           83686                                  SUPPLIERS OR VENDORS         11/7/2018               $22.58
JOLENE SCHAEFER          ADVERTISING                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/25/2018            $3,364.92
JON CANTERBURY           66355 170TH ST                                                                 ADAMS               MN           55909                                  SUPPLIERS OR VENDORS        10/24/2018              $125.00
JON LANCASTER            16332 KINGSLEY WAY                                                             CALDWELL            ID           83605                                  SUPPLIERS OR VENDORS        10/24/2018               $42.00
JON STARR                2442 19TH LANE                                                                 ESCANABA            MI           49829                                  SUPPLIERS OR VENDORS        10/25/2018               $42.00
JONAS SERVICE & SUPPLY
INCORPO                  0                            PO BOX 670587                                     DETROIT             MI           48267-0587                             SUPPLIERS OR VENDORS       11/28/2018                $1.00
JONAS SERVICE & SUPPLY
INCORPORATED             PO BOX 670587                                                                  DETROIT             MI           48267-0587                             SUPPLIERS OR VENDORS       10/25/2018              $608.40
JONAS SERVICE & SUPPLY
INCORPORATED             PO BOX 670587                                                                  DETROIT             MI           48267-0587                             SUPPLIERS OR VENDORS        11/1/2018               $48.00
JONAS SERVICE & SUPPLY
INCORPORATED             PO BOX 670587                                                                  DETROIT             MI           48267-0587                             SUPPLIERS OR VENDORS       11/29/2018            $1,349.01
JONATHAN BIRDSALL        N1573 SIX CORNERS ROAD                                                         WALWORTH            WI           53184                                  SUPPLIERS OR VENDORS       10/31/2018              $110.60
JONATHAN BUNTON          STORE 627                    SHOPKO EMPLOYEE        1008 E DIVISION            NEILLSVILLE         WI           54456                                  SUPPLIERS OR VENDORS       10/25/2018              $154.78
JONATHAN BUNTON          STORE 627                    SHOPKO EMPLOYEE        1008 E DIVISION            NEILLSVILLE         WI           54456                                  SUPPLIERS OR VENDORS        11/1/2018              $143.88
JONATHAN KEMPFF          STORE 075                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/16/2018              $151.48
JONATHAN KEMPFF          STORE 075                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/11/2018              $147.74
JONATHAN MULLINS         1429 S 200 E                                                                   OREM                UT           84058                                  SUPPLIERS OR VENDORS        12/7/2018               $26.00
JONATHAN OATIS           STORE 580                    SHOPKO EMPLOYEE        6717 HIGHWAY 20            CARRINGTON          ND           58421                                  SUPPLIERS OR VENDORS       12/14/2018              $156.96

JONATHAN R PENRY         STORE OPERATIONS/STORE 056 SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/19/2018              $264.29

JONATHAN R PENRY         STORE OPERATIONS/STORE 056 SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/2/2018            $1,223.28

JONATHAN R PENRY         STORE OPERATIONS/STORE 056 SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/9/2018              $107.43

JONATHAN R PENRY         STORE OPERATIONS/STORE 056 SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/16/2018              $259.25

JONATHAN R PENRY         STORE OPERATIONS/STORE 056 SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/27/2018              $304.32

JONATHAN R PENRY         STORE OPERATIONS/STORE 056 SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/11/2018              $114.32

JONATHAN R PENRY         STORE OPERATIONS/STORE 056 SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/14/2018              $250.45

JONATHAN R PENRY         STORE OPERATIONS/STORE 056   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/20/2018              $426.62
JONATHON CHRISTEN        1806 3RD ST N                                                                  SAINT CLOUD         MN           56303                                  SUPPLIERS OR VENDORS       11/12/2018               $23.00
JONATHON ULLMER          1256 GOSS AVE                                                                  MENASHA             WI           54952                                  SUPPLIERS OR VENDORS       11/12/2018                $5.10
JONI CULVER              STORE 2-755                  SHOPKO EMPLOYEE        1701 16TH STREET           WHEATLAND           WY           82201                                  SUPPLIERS OR VENDORS       10/18/2018               $74.93
JORDAN BRADFORD          STORE 105                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/18/2018               $44.69
JORDAN BRADFORD          STORE 105                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/25/2018               $75.21
JORDAN BRADFORD          STORE 105                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/1/2018               $35.52
JORDAN BRADFORD          STORE 105                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/15/2018               $34.34
JORDAN CONSTRUCTION
COMPANY                  PO BOX 4224                                                                    DAVENPORT           IA           52808                                  SUPPLIERS OR VENDORS       11/30/2018           $12,000.00
JORDAN HARRIS            3905 MARKHAM DR.                                                               JANESVILLE          WI           53548                                  SUPPLIERS OR VENDORS       11/28/2018               $68.86
JORDAN JONES             622 LONGVIEW                                                                   GREEN BAY           WI           54301                                  SUPPLIERS OR VENDORS       10/25/2018               $20.00
JORDAN SMITH             108 ADAMS ST                                                                   ARENZVILLE          IL           62611                                  SUPPLIERS OR VENDORS        11/9/2018               $16.00
JORDAN TIMMER            STORE 007                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/8/2018              $150.42
JORDAN TIMMER            STORE 007                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/15/2018              $300.84
JORDAN VAN AKKEREN       1719 N 13TH ST                                                                 SHEBOYGAN           WI           53081                                  SUPPLIERS OR VENDORS        12/6/2018               $64.71
JORDAN VICENTE           515 10TH AVE                                                                   WORTHINGTON         MN           56187                                  SUPPLIERS OR VENDORS       11/28/2018               $23.00
JORGE GOMEZ NIETO        PO BOX 1303                                                                    MADISON             NE           68748                                  SUPPLIERS OR VENDORS       12/10/2018               $90.00



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JORJA MORGAN           STORE 2-627                SHOPKO EMPLOYEE         1008 E DIVISION            NEILLSVILLE         WI           54456                                  SUPPLIERS OR VENDORS         11/1/2018               $49.05
JORMA KALLIOKOSKI      1000 BLUFF VIEW DR.        APT. 212                                           HOUGHTON            MI           49931                                  SUPPLIERS OR VENDORS         11/2/2018               $61.98
JOSALYNN LUA           701 S 48TH AVE M12                                                            YAKIMA              WA           98908                                  SUPPLIERS OR VENDORS        10/26/2018               $22.96
JOSE CHAVEZ            STORE 005                  SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/14/2018              $151.79
JOSE CHAVEZ            1066 EAST 600 SOUTH                                                           SALT LAKE CITY      UT           84102                                  SUPPLIERS OR VENDORS        10/24/2018               $51.99
JOSE COLON JR          968 EASY ST                                                                   MENASHA             WI           54952                                  SUPPLIERS OR VENDORS        10/22/2018               $25.00
JOSE FIGUEROA          931 S CLARK ST                                                                GRAND ISLAND        NE           68801                                  SUPPLIERS OR VENDORS         12/7/2018               $45.00
JOSE FLETCHER          1604 SUNFIELD ST                                                              SUN PRAIRIE         WI           53590                                  SUPPLIERS OR VENDORS         12/4/2018                $2.00
JOSE FLETCHER          1604 SUNFIELD ST                                                              SUN PRAIRIE         WI           53590                                  SUPPLIERS OR VENDORS         12/4/2018                $2.00
JOSE HERNANDEZ         824 N CEDER AVE                                                               PASCO               WA           99301                                  SUPPLIERS OR VENDORS        12/13/2018              $113.25
JOSE RUIZ              100 E 5TH AVE                                                                 YUMA                CO           80759                                  SUPPLIERS OR VENDORS        11/15/2018              $200.00
JOSE SANDOVAL          2917 S 25TH ST                                                                OMAHA               NE           68105                                  SUPPLIERS OR VENDORS         12/3/2018               $43.00
JOSE VALENCIA          P.O.BOX 635                                                                   SELAH               WA           98942                                  SUPPLIERS OR VENDORS        11/28/2018               $19.00
JOSEF STANISZEWSKI     3301 LARRY DR.                                                                PLOVER              WI           54467                                  SUPPLIERS OR VENDORS        12/13/2018               $25.00
JOSEF STANISZEWSKI     3301 LARRY DR.                                                                PLOVER              WI           54467                                  SUPPLIERS OR VENDORS        12/13/2018               $79.96
JOSEPH ALLEN           4070 CTY RD. J                                                                ABRAMS              WI           54101                                  SUPPLIERS OR VENDORS         11/5/2018               $20.00
JOSEPH ANDRIES         816 VIKING DR                                                                 MARSHALL            MN           56258                                  SUPPLIERS OR VENDORS         11/8/2018              $120.00
JOSEPH BASINSKI        5020 DOROTHY STREET                                                           STEVENS POINT       WI           54482                                  SUPPLIERS OR VENDORS        10/18/2018               $14.98
JOSEPH CARROLL         14910 E TERRA VERDE CT                                                        VERADALE            WA           99037                                  SUPPLIERS OR VENDORS         11/5/2018               $14.13
JOSEPH CARROLL         14910 E TERRA VERDE CT                                                        VERADALE            WA           99037                                  SUPPLIERS OR VENDORS        11/16/2018               $66.87
JOSEPH E SAMEK         STORE 2-070                SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/2/2018              $479.84
JOSEPH ENTERPRISES
INCORPORATED           425 CALIFORNIA SUITE 300   PAM TO ORACLE                                      SAN FRANCISCO       CA           94104                                  SUPPLIERS OR VENDORS       10/26/2018          $288,359.12
JOSEPH GELLING         1216 NORTH STATE                                                              ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       10/31/2018                $4.13

JOSEPH GORMAN          1748 ORCHARD DRIVE SOUTH                                                      NORTH MANKATO       MN           56003                                  SUPPLIERS OR VENDORS        11/5/2018               $59.70
JOSEPH JENSEN          226 WELLS STREET                                                              RIDGEWAY            WI           53582                                  SUPPLIERS OR VENDORS       10/29/2018               $30.00
JOSEPH JURGENS         813 N PARK ST                                                                 WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS       10/24/2018               $17.00
JOSEPH KEESLER         2554 OAKRIDGE RD                                                              NEENAH              WI           54956                                  SUPPLIERS OR VENDORS       12/13/2018               $34.00
JOSEPH KOMBLEVICZ      W8568 COLLINS RD                                                              IRON MOUNTAIN       MI           49802                                  SUPPLIERS OR VENDORS       12/21/2018               $43.92
JOSEPH KRAKOWSKI       N841 PINE LN                                                                  CAMPBELLSPORT       WI           53010                                  SUPPLIERS OR VENDORS        11/2/2018                $3.27
JOSEPH KRAUTKRAMER     RECRUITING                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/2/2018               $23.24
JOSEPH KRAUTKRAMER     RECRUITING                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/9/2018               $98.15
JOSEPH KRAUTKRAMER     RECRUITING                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/27/2018               $70.29
JOSEPH KRAUTKRAMER     RECRUITING                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/29/2018              $277.63
JOSEPH MATSON          2322 53RD DR                                                                  FRANKSVILLE         WI           53126                                  SUPPLIERS OR VENDORS       10/19/2018              $129.98
JOSEPH MCLAUGHLIN      1021 300TH ST                                                                 DOUGHERTY           IA           50433                                  SUPPLIERS OR VENDORS       10/24/2018               $47.04
JOSEPH MEANS           415 WRIGHT STREET                                                             DELAVAN             WI           53115                                  SUPPLIERS OR VENDORS       10/22/2018               $20.00
JOSEPH NAEYAERT        8775 CTY RD 513                                                               RAPID RIVER         MI           49878                                  SUPPLIERS OR VENDORS        12/7/2018                $5.01
JOSEPH OATMAN          PO BOX 575                                                                    LAPWAI              ID           83540                                  SUPPLIERS OR VENDORS       11/28/2018               $76.96
JOSEPH ROMANOWSKI      303 S EAST                 PO BOX 103                                         ORANGEVILLE         IL           61060                                  SUPPLIERS OR VENDORS       10/24/2018               $51.20
JOSEPH SANTAS          W6285 RIPLEY ROAD                                                             SARONA              WI           54870                                  SUPPLIERS OR VENDORS       10/26/2018                $5.02
JOSEPH SIMOENS         3705 OLD MILTARY ROAD                                                         DE PERE             WI           54115                                  SUPPLIERS OR VENDORS       10/22/2018               $25.00
JOSEPH SPRISTER        3683 IVES LN                                                                  SUAMICO             WI           54173                                  SUPPLIERS OR VENDORS        12/7/2018               $23.00
JOSEPH ST. AUBIN       407 E LINCOLN AVE                                                             LITTLE CHUTE        WI           54140                                  SUPPLIERS OR VENDORS        12/7/2018                $3.27

JOSEPH VILLENEUVE      1410 OAK ST                                                                   WISCONSIN RAPIDS    WI           54494                                  SUPPLIERS OR VENDORS        11/5/2018               $42.24
JOSEPH WEYENBERG JR    N1821 EMERY LANE                                                              KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS        12/5/2018                $5.00
JOSEPH WEYENBERG JR    N1821 EMERY LANE                                                              KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS        12/5/2018               $20.00
JOSEPHINE PARK         8011 E UPRIVER DR                                                             SPOKANE             WA           99212                                  SUPPLIERS OR VENDORS       11/26/2018               $20.85
JOSEPHINE PARK         8011 E UPRIVER DR                                                             SPOKANE             WA           99212                                  SUPPLIERS OR VENDORS       11/29/2018               $98.15
JOSEPHINE WEBER        1401 N SHAWANO DRIVE       P O BOX 627                                        MARSHFIELD          WI           54449                                  SUPPLIERS OR VENDORS       10/24/2018               $79.98
JOSH FLOREY            2117 BIRCH AVE NE                                                             WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS       11/12/2018               $16.00
JOSH WILCKEN           STORE 036                  SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/8/2018              $174.40



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                                                                                                                                                                               Reasons for payment or    Dates of     Total Amount or
      Creditor Name              Address1                Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
JOSHEN OF MILWAUKEE   2561 SOLUTIONS CENTER                                                          CHICAGO             IL           60677-2005                             SUPPLIERS OR VENDORS        10/26/2018           $15,136.79
JOSHEN OF MILWAUKEE   2561 SOLUTIONS CENTER                                                          CHICAGO             IL           60677-2005                             SUPPLIERS OR VENDORS        10/30/2018           $30,858.96
JOSHEN OF MILWAUKEE   2561 SOLUTIONS CENTER                                                          CHICAGO             IL           60677-2005                             SUPPLIERS OR VENDORS         11/2/2018           $67,201.45
JOSHEN OF MILWAUKEE   2561 SOLUTIONS CENTER                                                          CHICAGO             IL           60677-2005                             SUPPLIERS OR VENDORS         11/6/2018            $3,060.81
JOSHEN OF MILWAUKEE   2561 SOLUTIONS CENTER                                                          CHICAGO             IL           60677-2005                             SUPPLIERS OR VENDORS         11/6/2018          $201,302.55
JOSHEN OF MILWAUKEE   2561 SOLUTIONS CENTER                                                          CHICAGO             IL           60677-2005                             SUPPLIERS OR VENDORS         11/9/2018              $289.37
JOSHEN OF MILWAUKEE   2561 SOLUTIONS CENTER                                                          CHICAGO             IL           60677-2005                             SUPPLIERS OR VENDORS        11/16/2018              $868.03
JOSHEN OF MILWAUKEE   2561 SOLUTIONS CENTER                                                          CHICAGO             IL           60677-2005                             SUPPLIERS OR VENDORS        11/27/2018            $5,087.97
JOSHEN OF MILWAUKEE   2561 SOLUTIONS CENTER                                                          CHICAGO             IL           60677-2005                             SUPPLIERS OR VENDORS        11/27/2018           $43,743.86
JOSHEN OF MILWAUKEE   2561 SOLUTIONS CENTER                                                          CHICAGO             IL           60677-2005                             SUPPLIERS OR VENDORS        11/30/2018           $26,449.58
JOSHEN OF MILWAUKEE   2561 SOLUTIONS CENTER                                                          CHICAGO             IL           60677-2005                             SUPPLIERS OR VENDORS        11/30/2018          $223,908.98
JOSHEN OF MILWAUKEE   2561 SOLUTIONS CENTER                                                          CHICAGO             IL           60677-2005                             SUPPLIERS OR VENDORS         12/4/2018           $19,478.52
JOSHEN OF MILWAUKEE   2561 SOLUTIONS CENTER                                                          CHICAGO             IL           60677-2005                             SUPPLIERS OR VENDORS         12/4/2018           $22,697.70
JOSHEN OF MILWAUKEE   2561 SOLUTIONS CENTER                                                          CHICAGO             IL           60677-2005                             SUPPLIERS OR VENDORS         12/7/2018           $48,928.16
JOSHEN OF MILWAUKEE   2561 SOLUTIONS CENTER                                                          CHICAGO             IL           60677-2005                             SUPPLIERS OR VENDORS        12/11/2018            $1,676.35
JOSHEN OF MILWAUKEE   2561 SOLUTIONS CENTER                                                          CHICAGO             IL           60677-2005                             SUPPLIERS OR VENDORS        12/11/2018           $28,344.02
JOSHEN OF MILWAUKEE   2561 SOLUTIONS CENTER                                                          CHICAGO             IL           60677-2005                             SUPPLIERS OR VENDORS        12/14/2018           $78,030.28
JOSHEN OF MILWAUKEE   2561 SOLUTIONS CENTER                                                          CHICAGO             IL           60677-2005                             SUPPLIERS OR VENDORS        12/14/2018          $139,675.38
JOSHEN OF MILWAUKEE   2561 SOLUTIONS CENTER                                                          CHICAGO             IL           60677-2005                             SUPPLIERS OR VENDORS        12/20/2018          $202,230.97
JOSHUA AMANS          620 PHIPPS AVE                                                                 RICE LAKE           WI           54868                                  SUPPLIERS OR VENDORS        11/26/2018               $16.00

JOSHUA BARBER         11285 E 161009 N                                                               MOUNT PLEASANT UT                84647                                  SUPPLIERS OR VENDORS       11/26/2018               $37.97

JOSHUA COX            2519 LAKEVIEW DR APPT #203                                                     EUGENE              OR           97408                                  SUPPLIERS OR VENDORS       11/14/2018               $33.75
JOSHUA JAROSZ         STORE 2-177                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/6/2018            $1,083.46
JOSHUA JAROSZ         STORE 2-177                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/27/2018              $912.33
JOSHUA KELLER         2625 KOSHKONONG ST                                                             SUN PRAIRIE         WI           53590                                  SUPPLIERS OR VENDORS        12/7/2018               $19.85
JOSHUA NEI            STORE 054                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/19/2018              $215.82
JOSHUA NEI            STORE 054                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/2/2018              $909.63
JOSHUA NEI            STORE 054                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/16/2018              $219.09
JOSHUA NEI            STORE 054                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/27/2018              $369.15
JOSHUA NEI            STORE 054                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/30/2018              $115.54
JOSHUA NEI            STORE 054                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/11/2018               $77.39
JOSHUA NEI            STORE 054                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/14/2018              $141.70
JOSHUA NEI            STORE 054                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/20/2018              $228.49
JOSHUA NEI            STORE 054                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/29/2018              $141.70
JOSHUA NEI            STORE 054                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        1/15/2019              $219.24

JOSHUA NEWELL         STORE OPERATIONS/STORE 087 SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/2/2018              $683.70

JOSHUA NEWELL         STORE OPERATIONS/STORE 087 SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/14/2018            $1,008.44
JOSHUA RAWSON         STORE 600                  SHOPKO EMPLOYEE          911 S K AVENUE             VINTON              IA           52349-1073                             SUPPLIERS OR VENDORS        11/9/2018              $135.16
JOSHUA SANDOVAL       3851 WRIGHT ST                                                                 OMAHA               NE           68105                                  SUPPLIERS OR VENDORS       12/17/2018               $26.40
JOSHUA SYMES          5400 W BERKSHIRE BLVD                                                          SIOUX FALLS         SD           57106                                  SUPPLIERS OR VENDORS        11/1/2018               $50.00
JOSHUA WEISBROD       8033 CAVENDISH RD                                                              NEENAH              WI           54956                                  SUPPLIERS OR VENDORS       10/18/2018                $3.27
JOSIAH CORNELIUS      858 SOUTH 300 WEST                                                             BRIGHAM CITY        UT           84302                                  SUPPLIERS OR VENDORS       10/30/2018               $35.00
JOSIE GIBSON          STORE 736                  SHOPKO EMPLOYEE          727 15TH AVENUE SW         VALLEY CITY         ND           58072                                  SUPPLIERS OR VENDORS        11/2/2018              $166.77
JOSMO SHOES           601 59TH STREET                                                                WEST NEW YORK       NJ           07093                                  SUPPLIERS OR VENDORS       10/19/2018               $18.95
JOSMO SHOES           601 59TH STREET                                                                WEST NEW YORK       NJ           07093                                  SUPPLIERS OR VENDORS       10/23/2018               $47.90
JOSMO SHOES           601 59TH STREET                                                                WEST NEW YORK       NJ           07093                                  SUPPLIERS OR VENDORS       10/26/2018               $71.85
JOSMO SHOES           601 59TH STREET                                                                WEST NEW YORK       NJ           07093                                  SUPPLIERS OR VENDORS        11/2/2018               $80.80
JOSMO SHOES           601 59TH STREET                                                                WEST NEW YORK       NJ           07093                                  SUPPLIERS OR VENDORS        11/6/2018               $35.90
JOSMO SHOES           601 59TH STREET                                                                WEST NEW YORK       NJ           07093                                  SUPPLIERS OR VENDORS        11/9/2018               $41.90
JOSMO SHOES           601 59TH STREET                                                                WEST NEW YORK       NJ           07093                                  SUPPLIERS OR VENDORS       11/13/2018               $23.95



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                                                                                                                                                                                   Reasons for payment or    Dates of     Total Amount or
      Creditor Name                Address1                  Address2                  Address3                City               State       Zip              Country                    transfer          Payments            Value
JOSMO SHOES              601 59TH STREET                                                                 WEST NEW YORK       NJ           07093                                  SUPPLIERS OR VENDORS        11/16/2018               $35.90
JOSMO SHOES              601 59TH STREET                                                                 WEST NEW YORK       NJ           07093                                  SUPPLIERS OR VENDORS        11/23/2018               $70.80
JOSMO SHOES              601 59TH STREET                                                                 WEST NEW YORK       NJ           07093                                  SUPPLIERS OR VENDORS        12/11/2018               $23.95
JOSSELYN SMITH           367 ELM STREET APT 4                                                            TWINFALLS           ID           83301                                  SUPPLIERS OR VENDORS        11/13/2018               $25.00

JOSUE GARCIA MARCELINO   104 S MAIN STREET                                                               COLBY               WI           54421                                  SUPPLIERS OR VENDORS        12/7/2018               $23.00
JOURNAL SENTINEL
INCORPORATED             PO BOX 2929                                                                     MILWAUKEE           WI           53201-2929                             SUPPLIERS OR VENDORS       10/30/2018              $212.78
JOURNAL SENTINEL
INCORPORATED             PO BOX 2929                                                                     MILWAUKEE           WI           53201-2929                             SUPPLIERS OR VENDORS       11/27/2018              $207.56
JOY DAIN                 28679 264TH ST.                                                                 HOLCOMBE            WI           54745                                  SUPPLIERS OR VENDORS       12/17/2018               $25.00

JOY JOHNSON CHARTERED    14620 CLEARWATER LANE                                                           CALDWELL            ID           83607                                  SUPPLIERS OR VENDORS       10/19/2018            $6,228.15

JOY JOHNSON CHARTERED    14620 CLEARWATER LANE                                                           CALDWELL            ID           83607                                  SUPPLIERS OR VENDORS        11/2/2018            $3,423.73

JOY JOHNSON CHARTERED    14620 CLEARWATER LANE                                                           CALDWELL            ID           83607                                  SUPPLIERS OR VENDORS       11/16/2018            $4,425.43

JOY JOHNSON CHARTERED    14620 CLEARWATER LANE                                                           CALDWELL            ID           83607                                  SUPPLIERS OR VENDORS       11/30/2018            $4,486.46

JOY JOHNSON CHARTERED    14620 CLEARWATER LANE                                                           CALDWELL            ID           83607                                  SUPPLIERS OR VENDORS       12/14/2018            $3,153.82

JOY JOHNSON CHARTERED    14620 CLEARWATER LANE                                                           CALDWELL            ID           83607                                  SUPPLIERS OR VENDORS       12/29/2018            $1,755.84

JOY JOHNSON CHARTERED    14620 CLEARWATER LANE                                                           CALDWELL            ID           83607                                  SUPPLIERS OR VENDORS        1/11/2019            $2,864.07
JOY OTTO                 3847 HILL RD                                                                    GREENLEAF           WI           54126                                  SUPPLIERS OR VENDORS        11/5/2018               $41.20

JOY TOLBERT              STORE 752                     SHOPKO EMPLOYEE        1100 EAST VALLEY ROAD      TORRINGTON          WY           82240-3614                             SUPPLIERS OR VENDORS       10/19/2018               $64.80
JOY WEYER                W9944 MCGOWAN ROAD                                                              LODI                WI           53555                                  SUPPLIERS OR VENDORS       11/26/2018               $25.00
JOYCE ANDERSON           STORE 070                     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/29/2018              $132.91
JOYCE FRANK              18090 55TH ST NE                                                                FOLEY               MN           56329                                  SUPPLIERS OR VENDORS       11/12/2018               $15.30
JOYCE HENNING            86758 380TH AVE                                                                 OKABENA             MN           56161                                  SUPPLIERS OR VENDORS       10/30/2018               $28.87
JOYCE HILL               5114 SO APPLEWOOD DRIVE                                                         TAYLORSVILLE        UT           84118                                  SUPPLIERS OR VENDORS       11/26/2018               $50.40
JOYCE HOLTAN             406 S 7TH ST                                                                    FOREST CITY         IA           50436                                  SUPPLIERS OR VENDORS       12/10/2018               $27.00
JOYCE HORVATH            7609 SOUTH 22ND STREET                                                          OMAHA               NE           68147                                  SUPPLIERS OR VENDORS       11/26/2018               $74.22
JOYCE KEYES              1132 J STREET                                                                   GENEVA              NE           68361                                  SUPPLIERS OR VENDORS        11/5/2018               $53.54
JOYCE KIESZ              1324 12TH AVE. S E, APT. 12                                                     ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       10/26/2018                $8.32
JOYCE KIRKPATRICK        3609 N 10TH AVE                                                                 SIOUX FALLS         SD           57104                                  SUPPLIERS OR VENDORS        12/7/2018               $48.00
JOYCE MARCONI            915 S. MAIN STREET - #121                                                       FORT ATKINSON       WI           53538                                  SUPPLIERS OR VENDORS        11/2/2018               $25.00
JOYCE PATTERSON          1121 ROSE AVE                                                                   WORTHINGTON         MN           56187                                  SUPPLIERS OR VENDORS       10/31/2018                $3.00
JOYCE RYAN               APPAREL                       SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/15/2018              $900.05
JOYCE RYAN               458 W TRAIL COURT                                                               GRAYSLAKE           IL           60030                                  SUPPLIERS OR VENDORS       10/26/2018              $385.85
JOYCE WARNEKE            PO BOX 511                                                                      TILDEN              NE           68781                                  SUPPLIERS OR VENDORS       11/28/2018               $79.98
JOYCE WATRUBA            1556 LYNWOOD LN.                                                                GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS       11/26/2018               $25.00
JOYCE WILLIAMS           14480 CHUMSTICK HWY                                                             LEAVENWORTH         WA           98826                                  SUPPLIERS OR VENDORS       10/29/2018               $75.00
JRS PROPERTY
MAINTENANCE              JRS SNOW REMOVAL LLC          PO BOX 753                                        MONA                UT           84645                                  SUPPLIERS OR VENDORS       10/18/2018              $120.00
JRS PROPERTY
MAINTENANCE              JRS SNOW REMOVAL LLC          PO BOX 753                                        MONA                UT           84645                                  SUPPLIERS OR VENDORS       11/12/2018               $90.00
JUAB COUNTY TREASURER    160 N MAIN                                                                      NEPHI               UT           84648-1412                             SUPPLIERS OR VENDORS       11/26/2018           $30,483.03
JUBILEE FAMILY
INVESTMENTS LLC INC      SUITE 328                     200 S WILCOX STREET                               CASTLE ROCK         CO           80104                                  SUPPLIERS OR VENDORS        11/1/2018           $19,758.77
JUBILEE FAMILY
INVESTMENTS LLC INC      SUITE 328                     200 S WILCOX STREET                               CASTLE ROCK         CO           80104                                  SUPPLIERS OR VENDORS        12/1/2018           $19,758.77



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                                                                                                                                                                                  Reasons for payment or    Dates of     Total Amount or
       Creditor Name                Address1                Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
JUDEE RHEA               1921 SANTA CLARA DRIVE                                                         CALDWELL            ID           83605                                  SUPPLIERS OR VENDORS         11/1/2018                $8.67
JUDITH BAHR              1441 SOUTH ROTZLER                                                             FREEPORT            IL           61032                                  SUPPLIERS OR VENDORS        10/26/2018               $35.00
JUDITH BROWNELL          P.O.BOX 271                                                                    COCHRANE            WI           54622                                  SUPPLIERS OR VENDORS        10/31/2018                $7.08
JUDITH CONARD            3395 HYACINTH ST.                                                              EUGENE              OR           97404                                  SUPPLIERS OR VENDORS        12/19/2018               $15.95
JUDITH EATON             313 FORT CROOK RD S. #102                                                      BELLEVUE            NE           68005                                  SUPPLIERS OR VENDORS        11/12/2018               $43.05
JUDITH EVINK             2500 W BETHEL #316                                                             SIOUX FALLS         SD           57105                                  SUPPLIERS OR VENDORS        12/13/2018               $48.00
JUDITH FELL              153 BOSK ROAD                                                                  CRYSTAL FALLS       MI           49920                                  SUPPLIERS OR VENDORS        10/29/2018               $62.46
JUDITH FINKE SCHREINER   240 SO CARDINAL DR                                                             CLARINDA            IA           51632                                  SUPPLIERS OR VENDORS        10/29/2018               $11.78
JUDITH FINKE SCHREINER   240 SO CARDINAL DR                                                             CLARINDA            IA           51632                                  SUPPLIERS OR VENDORS         11/5/2018               $47.14
JUDITH GEFFRE            PO BOX 186                                                                     KIMBALL             SD           57355                                  SUPPLIERS OR VENDORS         11/1/2018               $11.20
JUDITH GONYEA            28 WEST STOUT ST                                                               RICE LAKE           WI           54868                                  SUPPLIERS OR VENDORS        12/13/2018              $238.00
JUDITH HALEY             1230 NORTH 78TH                                                                LINCOLN             NE           68505                                  SUPPLIERS OR VENDORS        11/12/2018               $13.15
JUDITH HALVERSON         1897 RIVERSIDE DRIVE                                                           GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS        12/17/2018               $30.00
JUDITH HARMS             46828 271ST ST                                                                 TEA                 SD           57064                                  SUPPLIERS OR VENDORS        10/24/2018               $48.00
JUDITH HARMS             46828 271ST ST                                                                 TEA                 SD           57064                                  SUPPLIERS OR VENDORS        11/26/2018               $12.00
JUDITH JORGENSEN         3221 ELK RIDGE DR. UNIT C                                                      OSHKOSH             WI           54904                                  SUPPLIERS OR VENDORS        11/26/2018               $15.00
JUDITH JORGENSON         246 ROOSEVELT STREET                                                           VALDERS             WI           54225                                  SUPPLIERS OR VENDORS        10/25/2018               $11.04
JUDITH MEYERS            400 WEST 13TH STREET                                                           KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS         11/7/2018               $25.00
JUDITH MYERS             2501 10TH AVE SW                                                               AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS        11/26/2018               $95.98
JUDITH PIGORS            BOX 783                                                                        FERNEY              SD           57439                                  SUPPLIERS OR VENDORS        12/13/2018               $48.64
JUDITH SHELDON           28 S TENNESSEE AVE                                                             MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS         11/5/2018               $48.00
JUDITH SHELDON           1416 10TH AVE. S E, APT. 1                                                     ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS         12/7/2018               $48.64
JUDITH TORRES            238 N GARFIELD AVE                                                             WENATCHEE           WA           98801                                  SUPPLIERS OR VENDORS        10/22/2018               $13.74
JUDITH WITTKOPF          1744 JUDY DR                                                                   MOSINEE             WI           54455                                  SUPPLIERS OR VENDORS        11/26/2018               $25.51
JUDY BELL                39392 116TH ST                                                                 COLUMBIA            SD           57433                                  SUPPLIERS OR VENDORS         12/5/2018               $48.64
JUDY BOLLINGER           2310 4TH DR. S.W.                                                              AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS        11/12/2018              $125.00
JUDY BUDLESKI            323 WEST GENEVA STREET                                                         WILLIAMSBAY         WI           53191                                  SUPPLIERS OR VENDORS         12/5/2018              $133.97
JUDY BUDLESKI            323 WEST GENEVA STREET                                                         WILLIAMS BAY        WI           53191                                  SUPPLIERS OR VENDORS        12/21/2018               $53.98
JUDY BUESING             5127 SUNSET ROAD                                                               MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS         11/1/2018               $13.48
JUDY BUESING             5127 SUNSET ROAD                                                               MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS         11/5/2018               $62.52
JUDY CLEVELAND           PO BOX 71                                                                      MEADOW GROVE        NE           68752                                  SUPPLIERS OR VENDORS         11/5/2018               $53.54
JUDY DORN                3509 CYPRESS STREET                                                            EAU CLAIRE          WI           54701                                  SUPPLIERS OR VENDORS        11/26/2018               $46.00
JUDY DVORAK              1807 BUNKER HILL COURT                                                         DE PERE             WI           54115                                  SUPPLIERS OR VENDORS        11/26/2018               $21.25
JUDY GOODWATER           813691 551ST AVE                                                               NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS         11/5/2018               $53.54
JUDY GOODWATER           813691 551ST AVE                                                               NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS        11/26/2018               $13.38
JUDY HAKENEIS            741 230TH AVENUE                                                               AVOCA               MN           56114                                  SUPPLIERS OR VENDORS         11/5/2018               $28.31
JUDY HANSON              123 NAGLE ST                                                                   SEYMOUR             WI           54165                                  SUPPLIERS OR VENDORS        11/26/2018               $62.01
JUDY HRDLICKA            P.O. BOX 191                                                                   GRAFTON             IA           50440                                  SUPPLIERS OR VENDORS        10/29/2018               $48.00
JUDY HULSCHER            105 G AVE                                                                      EUREKA              SD           57437                                  SUPPLIERS OR VENDORS        10/22/2018               $12.16
JUDY LLOYD               3773 RED OAK COURT                                                             OSHKOSH             WI           54902                                  SUPPLIERS OR VENDORS        11/26/2018               $23.99
JUDY MC CASLIN           STORE 053                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/27/2018              $331.68
JUDY MCCASLIN            STORE 053                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS        10/18/2018               $47.02
JUDY MCCASLIN            STORE 053                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS         11/1/2018              $117.47
JUDY OWEN                2505 ROBERT ROAD                                                               EAUCLAIRE           WI           54703                                  SUPPLIERS OR VENDORS        11/13/2018              $155.48
JUDY PETTERSON           5508 ENTERPRISE DRIVE                                                          LINCOLN             NE           68521                                  SUPPLIERS OR VENDORS         11/1/2018               $11.98
JUDY POLZIN              N7016 AIRPORT RD                                                               BEAVER DAM          WI           53916                                  SUPPLIERS OR VENDORS        12/13/2018               $22.50
JUDY ROBERTS             27108 RANCH RD                                                                 ASHLAND             NE           68003                                  SUPPLIERS OR VENDORS         12/5/2018               $60.85
JUDY VIS                 143 COUNTY HWY 4                                                               VALLEY SPRINGS      SD           57068                                  SUPPLIERS OR VENDORS        10/22/2018               $27.00
JUDY WILEMAN             410 NORTH CLOUD STREET                                                         CLARK               SD           57225                                  SUPPLIERS OR VENDORS        10/25/2018               $37.76
JUDY WILEMAN             410 NORTH CLOUD STREET                                                         CLARK               SD           57225                                  SUPPLIERS OR VENDORS        11/12/2018                $9.29
JUDY YORK                709 1ST ST SW                                                                  WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS        10/29/2018               $44.16
JUDY YORK                709 1ST ST SW                                                                  WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS        11/30/2018               $11.04
JULAINE BUSCH            14641 415TH AVE.                                                               BRISTOL             SD           57219                                  SUPPLIERS OR VENDORS         12/5/2018               $38.68
JULI KOHL                4513 PRAIRIE PLACE                                                             DE FOREST           WI           53532                                  SUPPLIERS OR VENDORS        12/10/2018               $25.00



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                                                                                                                                                                                Reasons for payment or    Dates of     Total Amount or
        Creditor Name             Address1                Address2                  Address3                   City            State       Zip              Country                    transfer          Payments            Value
JULIA DANCZYK           125 W PINE ST.                                                                GILLETT             WI           54124                                  SUPPLIERS OR VENDORS        12/20/2018               $45.00
JULIA GERDES            STORE 2-142                SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/25/2018               $13.73
JULIA SMITH             6427 HICKORY RD                                                               EAU CLAIRE          WI           54701                                  SUPPLIERS OR VENDORS        12/17/2018              $129.40
JULIAN EHLERT           W4651 COUNTY RD G                                                             BLACK CREEK         WI           54106                                  SUPPLIERS OR VENDORS        10/22/2018               $34.00
JULIANA GOENS           STORE 049                  SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/2/2018              $225.63
JULIANNA DOBRANSZKY-
TOROK                   5413 ATHENS AVENUE                                                            RACINE              WI           53406                                  SUPPLIERS OR VENDORS       11/28/2018               $15.00
JULIE AMUNDSON          37583 174TH ST                                                                REDFIELD            SD           57469                                  SUPPLIERS OR VENDORS       12/10/2018               $10.00
JULIE BELL              605 MAIN                                                                      THORNTON            IA           50479                                  SUPPLIERS OR VENDORS       11/29/2018               $12.00
JULIE BELL              605 MAIN                                                                      THORNTON            IA           50479                                  SUPPLIERS OR VENDORS       11/29/2018               $48.00
JULIE BLOOMER           STORE 563                  SHOPKO EMPLOYEE         406 GATEWAY AVENUE         MAUSTON             WI           53948                                  SUPPLIERS OR VENDORS        11/2/2018               $71.94
JULIE BUCKARMA          1080 MARTINSON ROAD                                                           FLORENCE            WI           54121                                  SUPPLIERS OR VENDORS        11/5/2018               $39.04
JULIE BUCKARMA          1080 MARTINSON ROAD                                                           FLORENCE            WI           54121                                  SUPPLIERS OR VENDORS        11/9/2018               $21.96
JULIE DRUERY            3401 SOUTH 83RD STREET                                                        LINCOLN             NE           68506                                  SUPPLIERS OR VENDORS       12/17/2018              $128.99
JULIE ESTERGREN         4961 MONARCH DR                                                               MILTON              WI           53563                                  SUPPLIERS OR VENDORS        11/2/2018                $4.02
JULIE FISCHER           9636 RIVER RD                                                                 WITTENBERG          WI           54499                                  SUPPLIERS OR VENDORS       10/18/2018               $40.00
JULIE FREIN             938 12TH ST NE                                                                MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS       10/24/2018               $23.87
JULIE GAY               2618 STONEGATE DR                                                             GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS       11/26/2018               $21.25
                                                                           1011 N WISCONSIN           PORT
JULIE GIERACH           STORE 503                  SHOPKO EMPLOYEE         STREET                     WASHINGTON          WI           53074-1207                             SUPPLIERS OR VENDORS       12/20/2018               $29.43
JULIE GRAHN             2001 GRAND AVE                                                                ALBERT LEA          MN           56007                                  SUPPLIERS OR VENDORS       10/25/2018               $10.00
JULIE HEADLEE           121 MADISON STREET                                                            ELIZABETH           IL           61028                                  SUPPLIERS OR VENDORS       12/13/2018              $210.00
JULIE IVERSON           INFORMATION SERVICES       SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/27/2018              $282.50
JULIE IVERSON           INFORMATION SERVICES       SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/21/2018              $263.32
JULIE JOHNSON           337 PRAIRE LN #2                                                              LUXEMBURG           WI           54217                                  SUPPLIERS OR VENDORS       12/14/2018               $30.02
JULIE KLEIN             305 EAST VETERANS                                                             LUVERNE             MN           56156                                  SUPPLIERS OR VENDORS        12/3/2018               $15.30
JULIE MOLINA            415 PEARL LANE             APT. U202                                          FOND DU LAC         WI           54935                                  SUPPLIERS OR VENDORS       10/26/2018               $42.00
JULIE MUTH              650 ANN STREET                                                                DELAVAN             WI           53115                                  SUPPLIERS OR VENDORS       11/12/2018               $50.00
JULIE NEELEY            1587 440TH STREET                                                             ST ANSGAR           IA           50472                                  SUPPLIERS OR VENDORS       12/13/2018               $48.00
JULIE NEWMAN            5521 TIPPERARY TRAIL                                                          LINCOLN             NE           68512                                  SUPPLIERS OR VENDORS        11/5/2018               $11.98
JULIE NEWMAN            5521 TIPPERARY TRAIL                                                          LINCOLN             NE           68512                                  SUPPLIERS OR VENDORS        11/5/2018               $47.94
JULIE O'LEARY           208 SUNSET DR.                                                                DANE                WI           53529                                  SUPPLIERS OR VENDORS       11/16/2018               $36.00
JULIE PERKINS           1711 HOOVER AVE                                                               EAU CLAIRE          WI           54701                                  SUPPLIERS OR VENDORS       12/10/2018               $25.00

JULIE POLZIN            2820 21ST PLACE SOUTH                                                         WISCONSIN RAPIDS    WI           54494                                  SUPPLIERS OR VENDORS       11/26/2018               $76.00
JULIE POWELL            4205 PORTLAND CIRCLE                                                          MADISON             WI           53714                                  SUPPLIERS OR VENDORS       12/20/2018               $15.00
JULIE SCHAEFER          4120 KIPLING PL                                                               LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS       11/15/2018              $123.00
JULIE SNOUWAERT         711 NORTH 15TH ST                                                             GLADSTONE           MI           49837                                  SUPPLIERS OR VENDORS       10/26/2018               $42.00
JULIE STICKNEY          1100 W. WISCONSIN AVE                                                         KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS       11/29/2018               $45.00
JULIE STRITOF           7716 E BUSS RD                                                                CLINTON             WI           53525                                  SUPPLIERS OR VENDORS        11/2/2018               $37.00
JULIE UDULUTCH          STORE 2-510                SHOPKO EMPLOYEE         800 RIVERSIDE DRIVE        WAUPACA             WI           54981                                  SUPPLIERS OR VENDORS       11/22/2018               $20.54
JULIE VANDERVELDEN      STORE 671                  SHOPKO EMPLOYEE         PO BOX 469                 WAUKON              IA           52172                                  SUPPLIERS OR VENDORS        11/8/2018               $49.60
JULIE VANDERVELDEN      STORE 671                  SHOPKO EMPLOYEE         PO BOX 469                 WAUKON              IA           52172                                  SUPPLIERS OR VENDORS       11/15/2018                $4.36
JULIE VANDERVELDEN      STORE 671                  SHOPKO EMPLOYEE         PO BOX 469                 WAUKON              IA           52172                                  SUPPLIERS OR VENDORS       11/29/2018               $17.44
JULIE VANDERVELDEN      STORE 671                  SHOPKO EMPLOYEE         PO BOX 469                 WAUKON              IA           52172                                  SUPPLIERS OR VENDORS        12/6/2018                $8.72
JULIE VANDERVELDEN      STORE 671                  SHOPKO EMPLOYEE         PO BOX 469                 WAUKON              IA           52172                                  SUPPLIERS OR VENDORS       12/20/2018                $8.72
JUNE SCHOENFELDER       11108 N HIGH MEADOWS DR                                                       BLACK HAWK          SD           57718                                  SUPPLIERS OR VENDORS        11/1/2018               $13.60
JUNE WILLE              W9744 MEADOW RD                                                               BEAVERDAM           WI           53916                                  SUPPLIERS OR VENDORS       11/26/2018               $85.02
JUNY LEE                5261 TWILIGHT LN                                                              LITTLE SUAMICO      WI           54141                                  SUPPLIERS OR VENDORS       12/19/2018              $160.00
JUSTENOUGH SOFTWARE     15440 LAGUNA CANYON ROAD
INCORPORATED            SUITE 100                                                                     IRVINE              CA           92618                                  SUPPLIERS OR VENDORS       11/30/2018          $155,085.00

JUSTIN ALLEN LIMITED    31/F Excel Center          483A Castle Peak Road                              Kowloon                                       HONG KONG                 SUPPLIERS OR VENDORS       10/18/2018           $22,530.40




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                                                                                                                                                                            Reasons for payment or    Dates of    Total Amount or
      Creditor Name                 Address1           Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value

JUSTIN ALLEN LIMITED     31/F Excel Center      483A Castle Peak Road                              Kowloon                                       HONG KONG                 SUPPLIERS OR VENDORS      10/25/2018         $10,548.00

JUSTIN ALLEN LIMITED     31/F Excel Center      483A Castle Peak Road                              Kowloon                                       HONG KONG                 SUPPLIERS OR VENDORS       11/1/2018         $26,923.40

JUSTIN ALLEN LIMITED     31/F Excel Center      483A Castle Peak Road                              Kowloon                                       HONG KONG                 SUPPLIERS OR VENDORS       11/8/2018         $10,103.68

JUSTIN ALLEN LIMITED     31/F Excel Center      483A Castle Peak Road                              Kowloon                                       HONG KONG                 SUPPLIERS OR VENDORS      11/15/2018         $17,636.40

JUSTIN ALLEN LIMITED     31/F Excel Center      483A Castle Peak Road                              Kowloon                                       HONG KONG                 SUPPLIERS OR VENDORS      11/22/2018         $31,390.20

JUSTIN ALLEN LIMITED     31/F Excel Center      483A Castle Peak Road                              Kowloon                                       HONG KONG                 SUPPLIERS OR VENDORS      11/29/2018         $12,791.17
JUSTIN ARMSTRONG         2480 VIRGINA STREET                                                       BOISE               ID           83705                                  SUPPLIERS OR VENDORS      11/30/2018             $40.00
JUSTIN BAILEY            1528 SMITH ST                                                             GREEN BAY           WI           54302                                  SUPPLIERS OR VENDORS      11/26/2018             $49.99
JUSTIN CARLSON           STORE 052              SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/8/2018            $189.66
JUSTIN KLINE             31 UNION PLACE                                                            MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS      11/28/2018             $99.00
JUSTIN LANGE             3500 COMMERCIAL AVE.                                                      MADISON             WI           53714                                  SUPPLIERS OR VENDORS      12/19/2018              $6.80
JUSTIN MALSACK           STORE 2-031            SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/20/2018            $501.40
JUSTIN PORTER            4800 48TH ST. NE                                                          ROCHESTER           MN           55906                                  SUPPLIERS OR VENDORS      10/31/2018              $3.00
JUSTIN PORTER            4800 48TH ST. NE                                                          ROCHESTER           MN           55906                                  SUPPLIERS OR VENDORS      10/31/2018              $3.00
JUSTIN SCOTT             PO BOX 10284                                                              KALISPELL           MT           59904                                  SUPPLIERS OR VENDORS       11/8/2018             $91.00
JUSTIN SZYMCZAK          STORE 2-615            SHOPKO EMPLOYEE         291 S MAIN STREET          CLINTONVILLE        WI           54929                                  SUPPLIERS OR VENDORS      11/15/2018             $48.18
JUSTIN UNRAU             16215 POLK CIRCLE                                                         OMAHA               NE           68135                                  SUPPLIERS OR VENDORS      10/22/2018              $8.02
JUSTINS LAWN & TREE
SERVICE                  117 1ST AVE NW                                                            WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS       11/1/2018            $239.63
JUSTINS LAWN & TREE
SERVICE                  117 1ST AVE NW                                                            WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS      11/29/2018            $362.10

JV APPAREL CORPORATION   560 DESLAURIERS                                                           MONTREAL            QC           H4N 1V8      CANADA                    SUPPLIERS OR VENDORS      10/19/2018         $24,668.61

JV APPAREL CORPORATION   560 DESLAURIERS                                                           MONTREAL            QC           H4N 1V8      CANADA                    SUPPLIERS OR VENDORS      10/23/2018         $15,619.23

JV APPAREL CORPORATION   560 DESLAURIERS                                                           MONTREAL            QC           H4N 1V8      CANADA                    SUPPLIERS OR VENDORS      10/25/2018         $25,874.64

JV APPAREL CORPORATION   560 DESLAURIERS                                                           MONTREAL            QC           H4N 1V8      CANADA                    SUPPLIERS OR VENDORS      10/27/2018         $62,703.52

JV APPAREL CORPORATION   560 DESLAURIERS                                                           MONTREAL            QC           H4N 1V8      CANADA                    SUPPLIERS OR VENDORS       11/1/2018        $153,858.74

JV APPAREL CORPORATION   560 DESLAURIERS                                                           MONTREAL            QC           H4N 1V8      CANADA                    SUPPLIERS OR VENDORS       11/3/2018         $58,072.25

JV APPAREL CORPORATION   560 DESLAURIERS                                                           MONTREAL            QC           H4N 1V8      CANADA                    SUPPLIERS OR VENDORS       11/6/2018           $8,822.38

JV APPAREL CORPORATION   560 DESLAURIERS                                                           MONTREAL            QC           H4N 1V8      CANADA                    SUPPLIERS OR VENDORS       11/7/2018         $49,084.05

JV APPAREL CORPORATION   560 DESLAURIERS                                                           MONTREAL            QC           H4N 1V8      CANADA                    SUPPLIERS OR VENDORS       11/9/2018        $106,411.62

JV APPAREL CORPORATION   560 DESLAURIERS                                                           MONTREAL            QC           H4N 1V8      CANADA                    SUPPLIERS OR VENDORS      11/16/2018        $122,985.17

JV APPAREL CORPORATION   560 DESLAURIERS                                                           MONTREAL            QC           H4N 1V8      CANADA                    SUPPLIERS OR VENDORS      11/17/2018         $35,438.63

JV APPAREL CORPORATION   560 DESLAURIERS                                                           MONTREAL            QC           H4N 1V8      CANADA                    SUPPLIERS OR VENDORS      11/24/2018         $67,699.88

JV APPAREL CORPORATION   560 DESLAURIERS                                                           MONTREAL            QC           H4N 1V8      CANADA                    SUPPLIERS OR VENDORS      11/30/2018         $10,285.52




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      Creditor Name                 Address1                Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value

JV APPAREL CORPORATION    560 DESLAURIERS                                                               MONTREAL            QC           H4N 1V8      CANADA                    SUPPLIERS OR VENDORS      12/14/2018           $7,505.16

JV APPAREL CORPORATION    560 DESLAURIERS                                                               MONTREAL            QC           H4N 1V8    CANADA                      SUPPLIERS OR VENDORS      12/28/2018         $21,302.07
JVC KENWOOD               JVC COMPANY OF AMERICA      PO BOX 50393                                      LOS ANGELES         CA           90074-0000                             SUPPLIERS OR VENDORS       11/2/2018         $97,996.33
JVC KENWOOD               JVC COMPANY OF AMERICA      PO BOX 50393                                      LOS ANGELES         CA           90074-0000                             SUPPLIERS OR VENDORS      12/19/2018         $47,863.73
JVC KENWOOD               JVC COMPANY OF AMERICA      PO BOX 50393                                      LOS ANGELES         CA           90074-0000                             SUPPLIERS OR VENDORS      12/22/2018          $2,793.70
JVC KENWOOD               JVC COMPANY OF AMERICA      PO BOX 50393                                      LOS ANGELES         CA           90074-0000                             SUPPLIERS OR VENDORS      12/28/2018          $1,930.25
JVC KENWOOD               JVC COMPANY OF AMERICA      PO BOX 50393                                      LOS ANGELES         CA           90074-0000                             SUPPLIERS OR VENDORS        1/8/2019          $3,570.10
K & K MATERIAL HANDLING
INC                       PO BOX 10476                                                                  GREEN BAY           WI           54307-0476                             SUPPLIERS OR VENDORS      12/17/2018         $22,754.33
                          KINGSBACHER MURPHY
K & M COMPANY             COMPANY                     PO BOX 75054                                      CHICAGO             IL           60675                                  SUPPLIERS OR VENDORS      10/18/2018           $4,985.22
                          KINGSBACHER MURPHY
K & M COMPANY             COMPANY                     PO BOX 75054                                      CHICAGO             IL           60675                                  SUPPLIERS OR VENDORS      10/25/2018         $13,816.27
                          KINGSBACHER MURPHY
K & M COMPANY             COMPANY                     PO BOX 75054                                      CHICAGO             IL           60675                                  SUPPLIERS OR VENDORS       11/1/2018         $10,733.42
                          KINGSBACHER MURPHY
K & M COMPANY             COMPANY                     PO BOX 75054                                      CHICAGO             IL           60675                                  SUPPLIERS OR VENDORS       11/8/2018           $2,812.20
                          KINGSBACHER MURPHY
K & M COMPANY             COMPANY                     PO BOX 75054                                      CHICAGO             IL           60675                                  SUPPLIERS OR VENDORS      11/15/2018         $20,687.75
                          KINGSBACHER MURPHY
K & M COMPANY             COMPANY                     PO BOX 75054                                      CHICAGO             IL           60675                                  SUPPLIERS OR VENDORS      11/22/2018           $5,880.57
                          KINGSBACHER MURPHY
K & M COMPANY             COMPANY                     PO BOX 75054                                      CHICAGO             IL           60675                                  SUPPLIERS OR VENDORS      11/29/2018           $6,545.30
K & R CONSTRUCTION LLC    PO BOX 1070                                                                   DOUGLAS             WY           82633                                  SUPPLIERS OR VENDORS      10/18/2018              $80.00
K & R CONSTRUCTION LLC    PO BOX 1070                                                                   DOUGLAS             WY           82633                                  SUPPLIERS OR VENDORS       11/8/2018             $160.00
K & R CONSTRUCTION LLC    PO BOX 1070                                                                   DOUGLAS             WY           82633                                  SUPPLIERS OR VENDORS      11/15/2018             $160.00
K & R CONSTRUCTION LLC    PO BOX 1070                                                                   DOUGLAS             WY           82633                                  SUPPLIERS OR VENDORS        1/4/2019             $320.00
K & W HANDYMAN            KATHLEEN M RULAND           9545 57TH STREET NW                               ROSS                ND           58776                                  SUPPLIERS OR VENDORS       12/4/2018             $450.00

K C PHARMACEUTICALS INC   3201 PRODUCER WAY                                                             POMONA              CA           91768-0000                             SUPPLIERS OR VENDORS      10/18/2018           $9,245.52

K C PHARMACEUTICALS INC   3201 PRODUCER WAY                                                             POMONA              CA           91768-0000                             SUPPLIERS OR VENDORS      11/15/2018           $8,877.12
K G L RENTALS
INCORPORATED              PO BOX 629                                                                    HOT SPRINGS         SD           57747-0629                             SUPPLIERS OR VENDORS      11/15/2018         $14,152.00
K G L RENTALS
INCORPORATED              PO BOX 629                                                                    HOT SPRINGS         SD           57747-0629                             SUPPLIERS OR VENDORS      12/19/2018         $14,152.00
                          K NEX LIMITED PARTNERSHIP
K NEX BRANDS L P          GROUP                       PO BOX 827948                                     PHILADELPHIA        PA           19182-7948                             SUPPLIERS OR VENDORS      10/18/2018            $570.60
                          K NEX LIMITED PARTNERSHIP
K NEX BRANDS L P          GROUP                       PO BOX 827948                                     PHILADELPHIA        PA           19182-7948                             SUPPLIERS OR VENDORS      10/25/2018            $326.00
                          K NEX LIMITED PARTNERSHIP
K NEX BRANDS L P          GROUP                       PO BOX 827948                                     PHILADELPHIA        PA           19182-7948                             SUPPLIERS OR VENDORS       11/8/2018            $737.80
                          K NEX LIMITED PARTNERSHIP
K NEX BRANDS L P          GROUP                       PO BOX 827948                                     PHILADELPHIA        PA           19182-7948                             SUPPLIERS OR VENDORS      11/22/2018            $794.00
                          K NEX LIMITED PARTNERSHIP
K NEX BRANDS L P          GROUP                       PO BOX 827948                                     PHILADELPHIA        PA           19182-7948                             SUPPLIERS OR VENDORS      11/29/2018             $73.00
K7 DESIGN GROUP           155 GIRARD STREET                                                             BROOKLYN            NY           11235                                  SUPPLIERS OR VENDORS      11/23/2018         $28,921.40

KAELYN KIRSCH             5828 HAVENWOOD HILL DRIVE                                                     LITTLE SUAMICO      WI           54141                                  SUPPLIERS OR VENDORS      10/24/2018             $25.00
KAILA SAWLSVILLE          1831 S KERNAN AVE                                                             APPLETON            WI           54915                                  SUPPLIERS OR VENDORS      11/26/2018             $34.00

KAILA SHEPPARD            1168 JUPITER ST SE                                                            EAST WENATCHEE WA                98802                                  SUPPLIERS OR VENDORS       11/5/2018               $5.00



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                                                                                                                                                                                 Reasons for payment or    Dates of     Total Amount or
       Creditor Name                Address1                Address2                 Address3                 City              State       Zip              Country                    transfer          Payments            Value
KAILAS PROPERTIES LLC     333 N PETERS AVENUE                                                          FOND DU LAC         WI           54935                                  SUPPLIERS OR VENDORS         11/1/2018           $14,000.00
KAILAS PROPERTIES LLC     333 N PETERS AVENUE                                                          FOND DU LAC         WI           54935                                  SUPPLIERS OR VENDORS         11/1/2018           $14,682.70
KAILAS PROPERTIES LLC     333 N PETERS AVENUE                                                          FOND DU LAC         WI           54935                                  SUPPLIERS OR VENDORS         12/1/2018           $14,000.00
KAILAS PROPERTIES LLC     333 N PETERS AVENUE                                                          FOND DU LAC         WI           54935                                  SUPPLIERS OR VENDORS         12/1/2018           $14,682.70
KAILEY MCDANIEL           1222 FREEMAN LN APT 88                                                       POCATELLO           ID           83201                                  SUPPLIERS OR VENDORS         11/8/2018               $92.99
KAILYN KUZEL              1203 N 5TH ST                                                                MANKATO             MN           56001                                  SUPPLIERS OR VENDORS        10/24/2018               $21.23
KAISER BEHNKE             1420 N MCCARTHY RD        APT 6                                              APPLETON            WI           54913                                  SUPPLIERS OR VENDORS        10/22/2018                $9.00
KAITLIN KASCH             S144 CTY ROAD C                                                              SPENCER             WI           54479                                  SUPPLIERS OR VENDORS        11/14/2018               $66.00
KAITLIN KOZIOL            145 EAST SOUTH ST                                                            DAKOTA              IL           61018                                  SUPPLIERS OR VENDORS        12/20/2018               $23.00
KAITLYN BACON             2068 NORFIELD RD                                                             SUAMICO             WI           54173                                  SUPPLIERS OR VENDORS         11/2/2018               $30.00
KAITLYN HANSEN            1612 LIBERTY AVE                                                             BELOIT              WI           53511                                  SUPPLIERS OR VENDORS         11/7/2018                $2.30
KAITLYN KASTENSON         3446 108TH ST                                                                FRANKSVILLE         WI           53126                                  SUPPLIERS OR VENDORS         12/3/2018               $20.00
KAITLYN MITCHELL          STORE 2-687               SHOPKO EMPLOYEE         202 SW KENT                GREENFIELD          IA           50849                                  SUPPLIERS OR VENDORS        10/18/2018               $79.03
KAITLYN MITCHELL          STORE 2-687               SHOPKO EMPLOYEE         202 SW KENT                GREENFIELD          IA           50849                                  SUPPLIERS OR VENDORS         12/6/2018              $100.83
KAJI JOHNSON              1601 PRAIRIE AVE.                                                            BELOIT              WI           53511                                  SUPPLIERS OR VENDORS        11/28/2018               $45.00

KALIL BOTTLING COMPANY    PO BOX 26888                                                                 TUCSON              AZ           85726-6888                             SUPPLIERS OR VENDORS        11/1/2018            $3,145.06

KALIL BOTTLING COMPANY    PO BOX 26888                                                                 TUCSON              AZ           85726-6888                             SUPPLIERS OR VENDORS        11/8/2018              $416.53

KALIL BOTTLING COMPANY    PO BOX 26888                                                                 TUCSON              AZ           85726-6888                             SUPPLIERS OR VENDORS       11/15/2018              $153.00

KALIL BOTTLING COMPANY    PO BOX 26888                                                                 TUCSON              AZ           85726-6888                             SUPPLIERS OR VENDORS       11/29/2018               $72.26

KALIL BOTTLING COMPANY    PO BOX 26888                                                                 TUCSON              AZ           85726-6888                             SUPPLIERS OR VENDORS       12/20/2018              $519.81

KALIL BOTTLING COMPANY    PO BOX 26888                                                                 TUCSON              AZ           85726-6888                             SUPPLIERS OR VENDORS       12/27/2018              $124.06
KALLIE KOCH               5107 LINDEN PARKWAY                                                          MC FARLAND          WI           53558                                  SUPPLIERS OR VENDORS       12/10/2018               $22.50
KALLIE MATTISON           15995 HARVEST AVE                                                            LAMBERTON           MN           56152                                  SUPPLIERS OR VENDORS       11/15/2018               $72.98
KAMA AMIDON PIRKL         N6152 BUSH LANE                                                              MONTICELLO          WI           53570                                  SUPPLIERS OR VENDORS       12/10/2018               $30.00
KAMALA HELGREN-ASBRA      STORE 2-670               SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/22/2018               $80.66
KAMI SMITH                1016 E D ST.                                                                 DEER PARK           WA           99006                                  SUPPLIERS OR VENDORS        11/5/2018               $26.24
                          CONSTANTINE AND MAUREEN
KAMICUTICO LLC            ROSKO                     48 OLD TRAIL ROAD                                  WATER MILL          NY           11976                                  SUPPLIERS OR VENDORS        11/1/2018           $15,868.00
                          CONSTANTINE AND MAUREEN
KAMICUTICO LLC            ROSKO                     48 OLD TRAIL ROAD                                  WATER MILL          NY           11976                                  SUPPLIERS OR VENDORS        12/1/2018           $15,868.00
KANABEC PUBLICATIONS
INCORPORATED              107 S PARK STREET                                                            MORA                MN           55051                                  SUPPLIERS OR VENDORS        11/1/2018               $65.00
KANDA VOPELAK             W6778 12TH ST                                                                NECEDAH             WI           54646                                  SUPPLIERS OR VENDORS       12/13/2018              $225.00

KANDIE SKIPPON            STORE 616                 SHOPKO EMPLOYEE         2541 S BAY SHORE DRIVE SISTER BAY              WI           54234                                  SUPPLIERS OR VENDORS       11/15/2018               $49.05

KANOEOKALANI LEE BARELA   3305 W LINCOLN AVE                                                           YAKIMA              WA           98902                                  SUPPLIERS OR VENDORS        11/8/2018                $5.00
KANSAS DEPARTMENT OF
REVENUE                   300 SW 29TH ST                                                               TOPEKA              KS           66611                                  SALES & USE TAX            10/26/2018               $44.02
KANSAS DEPARTMENT OF
REVENUE                   300 SW 29TH ST                                                               TOPEKA              KS           66611                                  SALES & USE TAX            10/26/2018            $1,034.83
KANSAS DEPARTMENT OF
REVENUE                   300 SW 29TH ST                                                               TOPEKA              KS           66611                                  SALES & USE TAX            10/26/2018            $1,169.28
KANSAS DEPARTMENT OF
REVENUE                   300 SW 29TH ST                                                               TOPEKA              KS           66611                                  SALES & USE TAX            10/26/2018          $207,398.73
KANSAS DEPARTMENT OF
REVENUE                   300 SW 29TH ST                                                               TOPEKA              KS           66611                                  SALES & USE TAX            12/27/2018              $120.47




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                                                                                                                                                                    Reasons for payment or    Dates of     Total Amount or
      Creditor Name              Address1      Address2                  Address3                   City            State       Zip              Country                   transfer          Payments            Value
KANSAS DEPARTMENT OF
REVENUE                300 SW 29TH ST                                                      TOPEKA              KS           66611                                  SALES & USE TAX           12/27/2018             $665.08
KANSAS DEPARTMENT OF
REVENUE                300 SW 29TH ST                                                      TOPEKA              KS           66611                                  SALES & USE TAX           12/27/2018            $4,284.94
KANSAS DEPARTMENT OF
REVENUE                300 SW 29TH ST                                                      TOPEKA              KS           66611                                  SALES & USE TAX           12/27/2018         $297,292.51
KANSAS DEPARTMENT OF
WILDLIFE, PARKS, AND
TOURISM                512 SE 25TH AVE                                                     PRATT               KS           67124                                  PAYMENT FOR SERVICES       10/5/2018             $959.00
KANSAS DEPARTMENT OF
WILDLIFE, PARKS, AND
TOURISM                512 SE 25TH AVE                                                     PRATT               KS           67124                                  PAYMENT FOR SERVICES      10/12/2018             $743.50
KANSAS DEPARTMENT OF
WILDLIFE, PARKS, AND
TOURISM                512 SE 25TH AVE                                                     PRATT               KS           67124                                  PAYMENT FOR SERVICES      10/19/2018            $1,578.00
KANSAS DEPARTMENT OF
WILDLIFE, PARKS, AND
TOURISM                512 SE 25TH AVE                                                     PRATT               KS           67124                                  PAYMENT FOR SERVICES      10/26/2018             $367.50
KANSAS DEPARTMENT OF
WILDLIFE, PARKS, AND
TOURISM                512 SE 25TH AVE                                                     PRATT               KS           67124                                  PAYMENT FOR SERVICES       11/2/2018            $1,430.50
KANSAS DEPARTMENT OF
WILDLIFE, PARKS, AND
TOURISM                512 SE 25TH AVE                                                     PRATT               KS           67124                                  PAYMENT FOR SERVICES       11/9/2018            $1,768.50
KANSAS DEPARTMENT OF
WILDLIFE, PARKS, AND
TOURISM                512 SE 25TH AVE                                                     PRATT               KS           67124                                  PAYMENT FOR SERVICES      11/16/2018            $2,752.50
KANSAS DEPARTMENT OF
WILDLIFE, PARKS, AND
TOURISM                512 SE 25TH AVE                                                     PRATT               KS           67124                                  PAYMENT FOR SERVICES      11/23/2018            $2,163.00
KANSAS DEPARTMENT OF
WILDLIFE, PARKS, AND
TOURISM                512 SE 25TH AVE                                                     PRATT               KS           67124                                  PAYMENT FOR SERVICES      11/30/2018            $2,543.50
KANSAS DEPARTMENT OF
WILDLIFE, PARKS, AND
TOURISM                512 SE 25TH AVE                                                     PRATT               KS           67124                                  PAYMENT FOR SERVICES       12/7/2018            $6,394.50
KANSAS DEPARTMENT OF
WILDLIFE, PARKS, AND
TOURISM                512 SE 25TH AVE                                                     PRATT               KS           67124                                  PAYMENT FOR SERVICES      12/14/2018            $1,443.50
KANSAS DEPARTMENT OF
WILDLIFE, PARKS, AND
TOURISM                512 SE 25TH AVE                                                     PRATT               KS           67124                                  PAYMENT FOR SERVICES      12/21/2018             $108.50
KANSAS DEPARTMENT OF
WILDLIFE, PARKS, AND
TOURISM                512 SE 25TH AVE                                                     PRATT               KS           67124                                  PAYMENT FOR SERVICES      12/28/2018             $364.50
KANSAS DEPARTMENT OF
WILDLIFE, PARKS, AND
TOURISM                512 SE 25TH AVE                                                     PRATT               KS           67124                                  PAYMENT FOR SERVICES         1/4/2019           $2,312.00
KANSAS DEPARTMENT OF
WILDLIFE, PARKS, AND
TOURISM                512 SE 25TH AVE                                                     PRATT               KS           67124                                  PAYMENT FOR SERVICES       1/11/2019            $1,011.50
KANSAS NEMAHA COUNTY
TREASURER              PO BOX 233                                                          SENECA              KS           66538                                  SUPPLIERS OR VENDORS      12/13/2018          $12,407.27




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                                                                                                                                                                                 Reasons for payment or    Dates of    Total Amount or
      Creditor Name                  Address1               Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value

                         KANSAS OFFICE OF THE STATE   UNCLAIMED PROPERTY 900 SW JACKSON STREET
KANSAS STATE TREASURER   TREASURER                    DIVISION-RITA MOHR SUITE 201             TOPEKA                       KS           66612                                  SUPPLIERS OR VENDORS      10/25/2018            $164.31
KAO BRANDS COMPANY       1434 SOLUTIONS CENTER                                                 CHICAGO                      IL           60677-1004                             SUPPLIERS OR VENDORS      10/26/2018         $27,675.86
KAO BRANDS COMPANY       1434 SOLUTIONS CENTER                                                 CHICAGO                      IL           60677-1004                             SUPPLIERS OR VENDORS       11/9/2018         $14,753.38
KAO BRANDS COMPANY       1434 SOLUTIONS CENTER                                                 CHICAGO                      IL           60677-1004                             SUPPLIERS OR VENDORS      11/30/2018         $13,951.27
KARA BOSER               5508 W 16TH ST                                                        SIOUX FALLS                  SD           57106                                  SUPPLIERS OR VENDORS      11/14/2018             $75.00
KARA POGREBA             520 ANGELA COURT                                                      KIMBERLY                     WI           54136                                  SUPPLIERS OR VENDORS      10/29/2018             $15.00
KAREN ANDERSON           W9205 STADER ROAD                                                     WHITEWATER                   WI           53190                                  SUPPLIERS OR VENDORS      10/24/2018             $40.32
KAREN ANDERSON           W9205 STADER ROAD                                                     WHITEWATER                   WI           53190                                  SUPPLIERS OR VENDORS      10/29/2018             $10.08
KAREN AVERBECK           2005 OAK TREE LANE           UNIT B                                   AUSTIN                       MN           55912                                  SUPPLIERS OR VENDORS      10/25/2018              $6.94
KAREN BALKE              2485 SHORE PRESERVE                                                   OSHKOSH                      WI           54904                                  SUPPLIERS OR VENDORS       12/7/2018             $15.00
KAREN BELONGE            TAX DEPARTMENT               SHOPKO EMPLOYEE                          GREEN BAY                    WI           54307-9060                             SUPPLIERS OR VENDORS      11/22/2018            $158.97
KAREN BELONGE            TAX DEPARTMENT               SHOPKO EMPLOYEE                          GREEN BAY                    WI           54307-9060                             SUPPLIERS OR VENDORS      12/27/2018            $152.55
KAREN BIESEMEIER         74 HITCHING POST DRIVE                                                CODY                         WY           82414                                  SUPPLIERS OR VENDORS       12/5/2018             $60.80
KAREN BORSHEIM           2405 W TWIN WILLOWS DR.                                               APPLETON                     WI           54914                                  SUPPLIERS OR VENDORS       12/3/2018             $25.00
KAREN BUSS               35680 10TH AVE                                                        WODEN                        IA           50484                                  SUPPLIERS OR VENDORS      10/29/2018             $48.00
KAREN BUSS               35680 10TH AVE                                                        WODEN                        IA           50484                                  SUPPLIERS OR VENDORS      11/12/2018             $12.00
KAREN BUTLER             STORE 588                    SHOPKO EMPLOYEE    660 N MAIN ST         BEAVER                       UT           84713-7725                             SUPPLIERS OR VENDORS      12/11/2018            $273.05
KAREN BUTLER             STORE 588                    SHOPKO EMPLOYEE    660 N MAIN ST         BEAVER                       UT           84713-7725                             SUPPLIERS OR VENDORS      12/14/2018            $137.34
KAREN CAPERTON           1533 RACKET WAY # 5                                                   BILLINGS                     MT           59106                                  SUPPLIERS OR VENDORS      12/10/2018             $25.00
KAREN CURRY              11930 CENTER HILL RD.                                                 DARLINGTON                   WI           53530                                  SUPPLIERS OR VENDORS      12/20/2018             $20.00
KAREN DOYLE              STORE 4-030                  SHOPKO EMPLOYEE                          GREEN BAY                    WI           54307-9060                             SUPPLIERS OR VENDORS      12/28/2018             $96.85
KAREN E PETERSON         STORE 2-696                  SHOPKO EMPLOYEE    505 W HOLME STREET    NORTON                       KS           67654                                  SUPPLIERS OR VENDORS      11/15/2018             $40.98
KAREN E PETERSON         STORE 2-696                  SHOPKO EMPLOYEE    505 W HOLME STREET    NORTON                       KS           67654                                  SUPPLIERS OR VENDORS       12/6/2018             $29.10
KAREN FERRYMAN           14101 SOUTH 34TH STREET                                               BELLEVUE                     NE           68123                                  SUPPLIERS OR VENDORS      11/28/2018            $163.13
KAREN GADE               8530 SANDLEWOOD DR                                                    LINCOLN                      NE           68520                                  SUPPLIERS OR VENDORS      11/15/2018            $109.28
KAREN GARDNER            870 LIEBMAN COURT 11                                                  GREEN BAY                    WI           54302                                  SUPPLIERS OR VENDORS       11/8/2018             $53.98
KAREN GROSS              5127 COAL BANK DR.                                                    RAPID CITY                   SD           57701                                  SUPPLIERS OR VENDORS      12/20/2018            $234.00
KAREN HACKELBERG         1117 WESTWOOD DR.                                                     DE PERE                      WI           54115                                  SUPPLIERS OR VENDORS      11/16/2018             $19.00
KAREN J MACKENTHUN       STORE 2-732                  SHOPKO EMPLOYEE    3225 10TH STREET E    GLENCOE                      MN           55336                                  SUPPLIERS OR VENDORS       11/8/2018             $33.88
KAREN J MACKENTHUN       STORE 2-732                  SHOPKO EMPLOYEE    3225 10TH STREET E    GLENCOE                      MN           55336                                  SUPPLIERS OR VENDORS       12/6/2018             $29.12
KAREN JANDOUREK          N5050 OLDE 54 RD                                                      SHIOCTON                     WI           54170                                  SUPPLIERS OR VENDORS      12/17/2018             $15.00
KAREN JORGENSON          1598 COUNTY RD QQ                                                     MINERAL POINT                WI           53565                                  SUPPLIERS OR VENDORS      12/21/2018             $50.00
KAREN KASTENSON          3446 108TH STREET                                                     FRANKSVILLE                  WI           53126                                  SUPPLIERS OR VENDORS      12/17/2018             $52.00
KAREN KENNARD            PO BOX 728                                                            LYONS                        OR           97358                                  SUPPLIERS OR VENDORS      11/16/2018             $40.01
KAREN LACHNIT            STORE 038                    SHOPKO EMPLOYEE                          GREEN BAY                    WI           54307-9060                             SUPPLIERS OR VENDORS      10/26/2018             $43.79
KAREN LACHNIT            STORE 038                    SHOPKO EMPLOYEE                          GREEN BAY                    WI           54307-9060                             SUPPLIERS OR VENDORS       11/2/2018             $74.69
KAREN LACHNIT            STORE 038                    SHOPKO EMPLOYEE                          GREEN BAY                    WI           54307-9060                             SUPPLIERS OR VENDORS      12/14/2018            $668.22
KAREN LACHNIT            STORE 038                    SHOPKO EMPLOYEE                          GREEN BAY                    WI           54307-9060                             SUPPLIERS OR VENDORS       1/15/2019            $284.45
KAREN LEIDING            PO BOX 254                                                            ORCHARD                      NE           68764                                  SUPPLIERS OR VENDORS      11/14/2018             $53.54
KAREN LESLINE            4436 TYLER                                                            SIOUX CITY                   IA           51108                                  SUPPLIERS OR VENDORS       11/2/2018             $39.96
KAREN MOYES              925 W 600 N                                                           TREMONTON                    UT           84337                                  SUPPLIERS OR VENDORS       11/5/2018             $69.99
KAREN NEPERMAN           307 S ASH ST                                                          LAMBERTON                    MN           56152                                  SUPPLIERS OR VENDORS       11/9/2018             $25.00
KAREN NUNLEY             1312 SWAN AVE.                                                        YAKIMA                       WA           98902                                  SUPPLIERS OR VENDORS      11/12/2018             $16.00
KAREN NUNLEY             1312 SWAN AVE.                                                        YAKIMA                       WA           98902                                  SUPPLIERS OR VENDORS      11/12/2018             $71.98
KAREN OLSEN              6878 IRELAND TRAIL                                                    SOBIESKI                     WI           54171                                  SUPPLIERS OR VENDORS        1/5/2019          $1,897.50
KAREN OLSON              334 CANY AVE                                                          TOMAH                        WI           54660                                  SUPPLIERS OR VENDORS       12/7/2018            $416.74
KAREN PATTON             185 WELSH ST                                                          FOND DU LAC                  WI           54935                                  SUPPLIERS OR VENDORS      10/18/2018             $25.00
KAREN REECE              2116 POST ROAD                                                        MADISON                      WI           53713                                  SUPPLIERS OR VENDORS      11/26/2018             $35.00

KAREN SCHMIDT            STORE 545                    SHOPKO EMPLOYEE        2008 WEST HIGHWAY 12       MOBRIDGE            SD           57601-4801                             SUPPLIERS OR VENDORS       11/2/2018            $331.36
KAREN SCHNECK            STORE 079                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/18/2018             $92.65
KAREN SCHNECK            STORE 079                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/25/2018             $34.88



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KAREN SEBOLD           STORE 2-627                 SHOPKO EMPLOYEE         1008 E DIVISION            NEILLSVILLE         WI           54456                                  SUPPLIERS OR VENDORS         11/9/2018              $196.20
KAREN SEBOLD           STORE 2-627                 SHOPKO EMPLOYEE         1008 E DIVISION            NEILLSVILLE         WI           54456                                  SUPPLIERS OR VENDORS        11/16/2018              $147.15
KAREN SEBOLD           STORE 2-627                 SHOPKO EMPLOYEE         1008 E DIVISION            NEILLSVILLE         WI           54456                                  SUPPLIERS OR VENDORS        12/14/2018               $98.10
KAREN SEBOLD           STORE 2-627                 SHOPKO EMPLOYEE         1008 E DIVISION            NEILLSVILLE         WI           54456                                  SUPPLIERS OR VENDORS        12/29/2018              $196.20
KAREN SEBOLD           STORE 2-627                 SHOPKO EMPLOYEE         1008 E DIVISION            NEILLSVILLE         WI           54456                                  SUPPLIERS OR VENDORS         1/15/2019              $417.60
KAREN SELBY            STORE 145                   SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/15/2018               $54.50
KAREN SEVERSON         29837 128TH ST              APT A                                              WASECA              MN           56093                                  SUPPLIERS OR VENDORS        10/29/2018               $36.01
KAREN STONER           520 H STREET                                                                   PALMYRA             NE           68418                                  SUPPLIERS OR VENDORS        10/24/2018               $62.55
KAREN STONER           520 H STREET                                                                   PALMYRA             NE           68418                                  SUPPLIERS OR VENDORS         11/1/2018               $13.45
KAREN TIMMER           10256 330TH ST                                                                 ELLSWORTH           MN           56129                                  SUPPLIERS OR VENDORS        10/30/2018                $3.00
KAREN WILLIAMS         607 W. MASON                                                                   POLO                IL           61064                                  SUPPLIERS OR VENDORS        11/30/2018               $30.00
KAREN ZAHN             13716 POPLAR LANE                                                              MOUNTAIN            WI           54149                                  SUPPLIERS OR VENDORS        12/19/2018               $25.00
KAREN ZELLMER          36923 90TH AVE                                                                 FOREST CITY         IA           50436                                  SUPPLIERS OR VENDORS        11/12/2018               $19.00
KAREN ZIMMERMAN        9124 210TH AVE                                                                 ROYALTON            MN           56373                                  SUPPLIERS OR VENDORS        10/25/2018                $1.63
KARI DORN              104 DIVISION ST BOX 365                                                        RIO                 WI           53960                                  SUPPLIERS OR VENDORS        11/12/2018               $20.60
KARI FRANCOIS          14647 ST CROIX TRAIL                                                           NORTH BRANCH        MN           55056                                  SUPPLIERS OR VENDORS         12/3/2018               $86.70
KARI GELDERT           STORE 2-764                 SHOPKO EMPLOYEE         129 HARMONY ST             BUFFALO             NY           82834                                  SUPPLIERS OR VENDORS         12/6/2018               $32.81
KARI KOEPSELL          1507 HUMMINGBIRD COURT                                                         WEST BEND           WI           53090                                  SUPPLIERS OR VENDORS         12/3/2018               $24.00
KARI NORRIS            4022 BRIARWOOD AVE.                                                            WAUSAU              WI           54403                                  SUPPLIERS OR VENDORS        10/29/2018               $15.00
KARI ROSENSTIEL        W4640 STAUFFACHER RD.                                                          MONROE              WI           53566                                  SUPPLIERS OR VENDORS        11/26/2018               $22.50

KARIE GESSNER          1730 2ND STREET NORTH                                                          WISCONSIN RAPIDS    WI           54494                                  SUPPLIERS OR VENDORS        11/8/2018               $40.00
KARIE GILDENZOPH       157 DELLWOOD LANE                                                              NEKOOSA             WI           54457                                  SUPPLIERS OR VENDORS        11/7/2018               $39.98
KARIEE KIESZ           4260 S 2975 W                                                                  ROY                 UT           84067                                  SUPPLIERS OR VENDORS        12/7/2018               $10.00
KARISSA PAAR           527 CASEY LYNN LANE                                                            OCONOMOWOC          WI           53066                                  SUPPLIERS OR VENDORS        11/5/2018               $25.00
KARL KIRK              16114 DREXEL CIRCLE                                                            OMAHA               NE           68135                                  SUPPLIERS OR VENDORS       11/29/2018              $138.00
KARL KLEIMAN           N15591 CTY RD 557                                                              WILSON              MI           49896                                  SUPPLIERS OR VENDORS       10/26/2018               $19.00
KARL KLEIMAN           N15027 D-1 RD                                                                  WILSON              MI           49896                                  SUPPLIERS OR VENDORS        11/9/2018                $1.00
KARL KLEIMAN           N15027 D-1 RD                                                                  WILSON              MI           49896                                  SUPPLIERS OR VENDORS        11/9/2018               $22.01
KARLA ERDMANN          W7965 TREPTOW LANE                                                             ELDORADO            WI           54932                                  SUPPLIERS OR VENDORS        11/2/2018               $25.00
KARLA J TUKUA          STORE 060                   SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/18/2018              $103.02
KARLA J TUKUA          STORE 060                   SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/8/2018               $63.11
KARLA LARSON           200 JOAN LANE                                                                  EAGLELAKE           MN           56024                                  SUPPLIERS OR VENDORS        12/3/2018               $25.00
KARLA WIGGIN           STORE 4-070                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/1/2018               $75.00
KARLA WORTMAN          STORE 066                   SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/16/2018               $82.84
KARLENE MAAS           STORE 672                   SHOPKO EMPLOYEE         404 E HIGHWAY 20           O NEILL             NE           68763-0000                             SUPPLIERS OR VENDORS        11/1/2018              $303.57
KARLI TORHORST         2220 TIMBER VEIW DR                                                            PLOVER              WI           54467                                  SUPPLIERS OR VENDORS       10/24/2018               $30.00
KARLIS SMAGA           3235 HWY K                                                                     HARTFORD            WI           53027                                  SUPPLIERS OR VENDORS        11/7/2018               $25.00
KARMEN DATHER          STORE 2-059                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/18/2018               $54.50
KARMEN DATHER          STORE 2-059                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/8/2018               $54.50
KARMEN DATHER          STORE 2-059                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/22/2018              $109.00
KARMEN DATHER          STORE 2-059                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/6/2018              $109.00

KAROLE GOLLA           W6665 UPPER PINE CREEK DR                                                      IRON MOUNTAIN       MI           49801                                  SUPPLIERS OR VENDORS        11/9/2018               $40.00
KAROLYN WHITE          P O BOX 2                   114 PARK ST                                        OSAGE               IA           50461                                  SUPPLIERS OR VENDORS       12/17/2018               $30.00
KARRI KORTH            710 N OAKLEY ST                                                                LUVERNE             MN           56156                                  SUPPLIERS OR VENDORS       12/17/2018              $102.83
KARRIE GORMAN          102 NORTH MAIN ST                                                              MANTORVILLE         MN           55955                                  SUPPLIERS OR VENDORS       11/29/2018               $15.30
KARRIE GORMAN          102 NORTH MAIN ST                                                              MANTORVILLE         MN           55955                                  SUPPLIERS OR VENDORS       11/29/2018               $25.50
KARRIE LUKA            N6391 37TH AVE                                                                 FREMONT             WI           54940                                  SUPPLIERS OR VENDORS       12/14/2018               $34.00
KARRY ROBERTSON        350 S WASHINGTON ST                                                            WATERLOO            WI           53594                                  SUPPLIERS OR VENDORS        11/2/2018               $30.00
KASEY SWANSTROM        STORE 2-075                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/15/2018               $89.00
KASEY WANDLING         113 1/2 WASHINGTON ST                                                          HORICON             WI           53032                                  SUPPLIERS OR VENDORS        11/2/2018               $40.00
KASSANDRA BROWNING     108 EAST ELM STREET                                                            THORP               WI           54771                                  SUPPLIERS OR VENDORS       10/24/2018               $23.00
KASSONDRA HEIZMAN      1245 TOWER HILL PASS                                                           WHITEWATER          WI           53190                                  SUPPLIERS OR VENDORS        11/2/2018               $63.00



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                                                                                                                                                                               Reasons for payment or    Dates of     Total Amount or
      Creditor Name                Address1              Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
KATE MODDIE             PO BOX 204                                                                   GOODMAN             WI           54125                                  SUPPLIERS OR VENDORS        12/13/2018               $23.00
KATE YOCKEY             2007 N K RD                                                                  MARQUETTE           NE           68854                                  SUPPLIERS OR VENDORS        11/13/2018              $239.33
KATE YOCKEY             2007 N K RD                                                                  MARQUETTE           NE           68854                                  SUPPLIERS OR VENDORS        11/13/2018              $239.33
KATELYN GLADEM          W6349 EASTERN AVENUE                                                         FORT ATKINSON       WI           53538                                  SUPPLIERS OR VENDORS         11/5/2018               $63.00
KATELYNN JOHNSON        3530 GLEN ABBEY DR.                                                          GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS         11/5/2018               $25.00
KATEY ROBERTSON         PO BOX 121                                                                   NICOLLET            MN           56074                                  SUPPLIERS OR VENDORS        10/31/2018               $75.00
KATHERINE DAVIS         STORE 008                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/18/2018               $82.84
KATHERINE DAVIS         STORE 008                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/1/2018               $41.42
KATHERINE DECOURSIN     STORE 602                  SHOPKO EMPLOYEE        126 CHARLES STREET         OCONTO              WI           54153-9446                             SUPPLIERS OR VENDORS        12/20/2018              $259.42
KATHERINE DECOURSIN     STORE 602                  SHOPKO EMPLOYEE        126 CHARLES STREET         OCONTO              WI           54153-9446                             SUPPLIERS OR VENDORS        12/27/2018              $313.92
KATHERINE ENTZEL        12907 385TH AVE.                                                             ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS        11/28/2018               $12.16
KATHERINE ENTZEL        12907 385TH AVE.                                                             ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS         12/7/2018               $48.64

KATHERINE EVANS         STORE 2-742                SHOPKO EMPLOYEE        421 GATEWAY DRIVE NE       E GRAND FORKS       MN           56721                                  SUPPLIERS OR VENDORS        12/6/2018              $245.25
KATHERINE HARTMAN       3644 NEBRASKA                                                                SIOUX CITY          IA           51104                                  SUPPLIERS OR VENDORS        11/5/2018               $41.60
KATHERINE HUGHES        STORE 737                  SHOPKO EMPLOYEE        932 W 12TH STREET          GRAFTON             ND           58237                                  SUPPLIERS OR VENDORS       11/15/2018              $168.32
KATHERINE KAMPEN        335 N WASHINGTON ST #123                                                     GREEN BAY           WI           54301                                  SUPPLIERS OR VENDORS       11/26/2018               $10.00
KATHERINE POPE          805 BOWMAN AVE                                                               FITCHBURG           WI           53716                                  SUPPLIERS OR VENDORS       10/26/2018                $8.00
KATHERINE SCHMIDT       15593 SHANNON RD                                                             SHANNON             IL           61078                                  SUPPLIERS OR VENDORS       10/22/2018                $2.00
KATHERINE WOODCOCK      16188 61ST AVE                                                               CHIPPEWA FALLS      WI           54729                                  SUPPLIERS OR VENDORS       11/26/2018               $15.00

KATHI MASTERS JOHNSON   2615 FAIRFAX ST                                                              EAU CLAIRE          WI           54701                                  SUPPLIERS OR VENDORS       10/19/2018              $152.00
KATHIE DOESCHER         STORE 4-003                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       10/25/2018               $34.88
KATHIE LYONS            PO BOX 145                                                                   ALTOONA             WI           54720                                  SUPPLIERS OR VENDORS       10/31/2018               $52.80
KATHLEEN STORHAUG       819 N JAY                                                                    ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       11/27/2018              $200.00
KATHLEEN AYELLO         4211 ACRE AVE                                                                WESTON              WI           54476                                  SUPPLIERS OR VENDORS       10/22/2018               $62.00
KATHLEEN BINGE          3421 WEST PEACH                                                              LINCOLN             NE           68522                                  SUPPLIERS OR VENDORS       11/12/2018               $75.00
KATHLEEN BROCKMAN       5755 BIRCH 0.1 STREET                                                        GLADSTONE           MI           49837                                  SUPPLIERS OR VENDORS       10/24/2018               $42.00
KATHLEEN CASCIO         PO BOX 338                                                                   SAINT REGIS         MT           59866                                  SUPPLIERS OR VENDORS        12/7/2018               $53.76
KATHLEEN CHRISTIANSON   11448 N GOEDE ROAD                                                           EDGERTON            WI           53534                                  SUPPLIERS OR VENDORS       11/28/2018               $10.00
KATHLEEN CONDILL        4620 S WILAMETTE                                                             SPOKANE             WA           99223                                  SUPPLIERS OR VENDORS       10/23/2018               $60.00
KATHLEEN CONDILL        4620 S WILAMETTE                                                             SPOKANE             WA           99223                                  SUPPLIERS OR VENDORS       10/23/2018               $60.00
KATHLEEN DORN           4283 N LYNNDALE DRIVE                                                        APPLETON            WI           54913                                  SUPPLIERS OR VENDORS       11/27/2018               $33.28
KATHLEEN FRAUENHOLTZ    309 DIAMOND CREEK ROAD                                                       MANKATO             MN           56001                                  SUPPLIERS OR VENDORS        11/5/2018              $125.00
KATHLEEN GENTZ          902 10TH ST S                                                                NORTHWOOD           IA           50459                                  SUPPLIERS OR VENDORS       10/23/2018               $27.00
KATHLEEN GRASSELL       23530 MANITWOWOC ROAD                                                        REEDSVILLE          WI           54230                                  SUPPLIERS OR VENDORS        11/5/2018               $94.23
KATHLEEN HARDY          211 PLUM ST                                                                  NECEDAH             WI           54646                                  SUPPLIERS OR VENDORS       12/21/2018               $66.00
KATHLEEN HOCKERMAN      STORE 2-012                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/18/2018               $21.26
KATHLEEN HOCKERMAN      STORE 2-012                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/29/2018               $22.89
KATHLEEN JANSEN         801 BRIARWOOD AVE                                                            LITTLE CHUTE        WI           54140                                  SUPPLIERS OR VENDORS       11/12/2018               $11.04
KATHLEEN KELLY          APPAREL                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       11/27/2018                $8.00
KATHLEEN KINNER         2594 LAKE OTTAWA RD                                                          IRON RIVER          MI           49935                                  SUPPLIERS OR VENDORS       10/26/2018              $235.00
KATHLEEN KOHL           706 CHANNEL RD                                                               NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS       11/12/2018               $82.00
KATHLEEN LUCAS          2142 GROVE STREET                                                            OSHKOSH             WI           54902                                  SUPPLIERS OR VENDORS       10/22/2018               $25.00
KATHLEEN MARTIN         7456 LEE ROAD                                                                LODI                WI           53555                                  SUPPLIERS OR VENDORS       10/29/2018               $25.00
KATHLEEN MIEROW         1128 7TH AVE.                                                                GRAFTON             WI           53024                                  SUPPLIERS OR VENDORS        11/7/2018               $25.00
KATHLEEN O'LEARY        12195 SW 72ND STREET                                                         MARTELL             NE           68404                                  SUPPLIERS OR VENDORS       10/26/2018               $11.98
KATHLEEN PANSIER        2002 PHEASANT RUN TRAIL                                                      DEPERE              WI           54115                                  SUPPLIERS OR VENDORS       10/29/2018               $40.98
KATHLEEN SCHAEFER       STORE 2-617                SHOPKO EMPLOYEE        PO BOX 1409                WAUTOMA             WI           54982                                  SUPPLIERS OR VENDORS       11/29/2018               $65.40
KATHLEEN SCHELE         3052 LILAC RD                                                                BELOIT              WI           53511                                  SUPPLIERS OR VENDORS        11/8/2018               $62.00
KATHLEEN SCHULTZ        4620 S 36TH ST                                                               LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS       10/22/2018               $16.00
KATHLEEN SHARKEY        N7981 HWY 141                                                                CRIVITZ             WI           54114                                  SUPPLIERS OR VENDORS       12/17/2018               $25.00
KATHLEEN SMITH          2749 23 1/2 ST.                                                              RICE LAKE           WI           54868                                  SUPPLIERS OR VENDORS       11/26/2018                $1.00
KATHLEEN SOEHL          65055 340TH AVE                                                              LAKE CITY           MN           55041                                  SUPPLIERS OR VENDORS       11/29/2018                $3.06



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                                                                                                                                                                                Reasons for payment or    Dates of     Total Amount or
       Creditor Name              Address1                Address2                  Address3                  City             State       Zip              Country                    transfer          Payments            Value
KATHLEEN SOEHL         65055 340TH AVE                                                                LAKE CITY           MN           55041                                  SUPPLIERS OR VENDORS        11/29/2018                $3.06
KATHLEEN SQUIRES       PO BOX 55                                                                      TREGO               MT           59934                                  SUPPLIERS OR VENDORS         12/7/2018               $15.50
KATHLEEN SQUIRES       PO BOX 55                                                                      TREGO               MT           59934                                  SUPPLIERS OR VENDORS         12/7/2018               $45.00
KATHLEEN STUMPF        STORE 119                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/15/2018               $91.15
KATHLEEN STUMPF        STORE 119                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS          1/3/2019              $168.25
KATHLEEN YOUNG         1-48 CAPTAINS DR.                                                              LANARK              IL           61046                                  SUPPLIERS OR VENDORS        11/16/2018               $60.80
KATHRYN DELAGRAVE      2512 CHARLES ST                                                                RACINE              WI           53402                                  SUPPLIERS OR VENDORS         11/5/2018               $39.00
KATHRYN E AXTELL       STORE 2-066                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS        10/19/2018              $285.75
KATHRYN E AXTELL       STORE 2-066                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS         1/15/2019              $303.78
KATHRYN GOLDSBERRY     413 LACOSTA LOOP                                                               TWINFALLS           ID           83301                                  SUPPLIERS OR VENDORS        11/13/2018               $25.00
KATHRYN JASCHINSKI     533 HARPER DR.                                                                 VERONA              WI           53593                                  SUPPLIERS OR VENDORS         11/8/2018               $30.00
KATHRYN KUEHL          408 GALLES DR                                                                  REDWOOD FALLS       MN           56283                                  SUPPLIERS OR VENDORS        11/16/2018               $25.00
KATHRYN MESCH          2570 ASBURY RD                                                                 DUBUQUE             IA           52001                                  SUPPLIERS OR VENDORS        10/26/2018               $23.00
KATHRYN MILLER         1111 N 12TH STREET                                                             MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS        12/20/2018               $75.00
KATHRYN MINOR          W169N11400 BISCAYNE DR.                                                        GERMANTOWN          WI           53022                                  SUPPLIERS OR VENDORS        10/22/2018               $67.00
KATHRYN MURPHY         2302 RANGE VIEW LANE         PO BOX 807                                        RIVER FALLS         WI           54022                                  SUPPLIERS OR VENDORS        11/26/2018              $297.00
KATHRYN NELSON         PO BOX 556                                                                     HANCOCK             MI           49930                                  SUPPLIERS OR VENDORS        12/21/2018               $60.00
KATHRYN POWERS         208 W RICHMOND AVE                                                             DAYTON              WA           99328                                  SUPPLIERS OR VENDORS        12/17/2018               $54.40
KATHRYN STUART         1708 FRANK HALL DR                                                             ALBERT LEA          MN           56007                                  SUPPLIERS OR VENDORS        10/29/2018                $3.00
KATHRYN WAGNER         STORE 033                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/27/2018              $461.75
KATHY ALSTEEN          2617 COUNTY S                                                                  LITTLE SUAMICO      WI           54141                                  SUPPLIERS OR VENDORS         11/9/2018                $6.00
KATHY BEYERSDORF       STORE 2-615                  SHOPKO EMPLOYEE        291 S MAIN STREET          CLINTONVILLE        WI           54929                                  SUPPLIERS OR VENDORS        11/29/2018              $108.46
KATHY BUSTOS           3423 W ST                                                                      OMAHA               NE           68107                                  SUPPLIERS OR VENDORS        12/13/2018               $35.90
KATHY GUNDERSON        P O BOX 1952                                                                   ABERDEEN            SD           57402                                  SUPPLIERS OR VENDORS        11/12/2018               $12.16
KATHY GUNDERSON        P O BOX 1952                                                                   ABERDEEN            SD           57402                                  SUPPLIERS OR VENDORS        12/17/2018               $48.64
KATHY KING-JINKERSON   STORE 4-171                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/18/2018               $46.87
KATHY LEFEBVRE         STORE 054                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS          1/5/2019              $163.83
KATHY LEMKE            PROCUREMENT                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/29/2018               $57.23
KATHY MCMILLEN         1805 POWERS DR.                                                                LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS        12/20/2018                $8.00
KATHY PIERCE           1928 W 13TH COURT                                                              FRIENDSHIP          WI           53934                                  SUPPLIERS OR VENDORS         11/5/2018               $75.20
KATHY REID             STORE 119                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS          1/5/2019               $93.51
KATHY SAMSON           N6537 RANCH RD                                                                 SEYMOUR             WI           54165                                  SUPPLIERS OR VENDORS        11/16/2018               $22.83
KATHY SCHAUNAMAN       38502 118TH ST.                                                                WESTPORT            SD           57481                                  SUPPLIERS OR VENDORS        10/24/2018               $48.64
KATHY TOP              467 SPRINGWOOD LANE                                                            IDAHO FALLS         ID           83404                                  SUPPLIERS OR VENDORS         12/7/2018               $71.99
KATIE BAL              STORE 005                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/2/2018              $162.38
KATIE BIENZEN          1100 BIEMERET ST                                                               GREEN BAY           WI           54304                                  SUPPLIERS OR VENDORS        11/16/2018               $25.00
KATIE BRAND            STORE 2-748                  SHOPKO EMPLOYEE        1002 7TH STREET SE         PIPESTONE           MN           56164                                  SUPPLIERS OR VENDORS         11/9/2018              $335.72
KATIE BRAND            STORE 2-748                  SHOPKO EMPLOYEE        1002 7TH STREET SE         PIPESTONE           MN           56164                                  SUPPLIERS OR VENDORS        12/11/2018              $383.68
KATIE BRAND            STORE 2-748                  SHOPKO EMPLOYEE        1002 7TH STREET SE         PIPESTONE           MN           56164                                  SUPPLIERS OR VENDORS        12/20/2018               $95.92
KATIE HEYER            558 E BROWN ST                                                                 WAUPUN              WI           53963                                  SUPPLIERS OR VENDORS        11/14/2018                $7.94
KATIE JONES            STORE 649                    SHOPKO EMPLOYEE        1995 S CEDAR               IMLAY CITY          MI           48444                                  SUPPLIERS OR VENDORS         11/2/2018               $88.02
KATIE KARCZ            626 ST JUDE STREET                                                             GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS         11/9/2018               $25.00
KATIE LE               9801 MOONLIGHT DRIVE                                                           LINCOLN             NE           68527                                  SUPPLIERS OR VENDORS         11/2/2018               $33.00
KATIE MALLORY          STORE 4-041                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-6060                             SUPPLIERS OR VENDORS        11/22/2018               $21.56
KATIE MECHELKE         STORE 008                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/29/2018              $193.59

KATIE MODER            960 BUTTERMILK CREEK DRIVE                                                     FOND DU LAC         WI           54935                                  SUPPLIERS OR VENDORS       11/14/2018               $25.00
KATIE MOUNT            23745 LAKE VIEW TRAIL                                                          DOLLAR BAY          MI           49922                                  SUPPLIERS OR VENDORS       11/29/2018               $57.96
KATIE ORR              1113 WASHINGTON STREET                                                         BEARDSTOWN          IL           62618                                  SUPPLIERS OR VENDORS       12/18/2018               $31.00
KATIE PATTON           115 E, KNOX ST                                                                 WAUSAU              WI           54401                                  SUPPLIERS OR VENDORS        12/7/2018               $23.00
KATIE RABEHL           STORE 4-014                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/29/2018               $38.15
KATIE SCHNEIDER        W 7077 GEMINI WAY                                                              FOND DU LAC         WI           54937                                  SUPPLIERS OR VENDORS       11/26/2018                $3.27
KATIE SMITH            PO BOX 490                                                                     CERESCO             NE           68017                                  SUPPLIERS OR VENDORS       12/11/2018              $161.99
KATIE WILLIAMS         3213 OLDE HICKORY TRL                                                          GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS        12/3/2018               $25.00



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                                                                                                                                                                              Reasons for payment or    Dates of     Total Amount or
      Creditor Name                Address1             Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
KATINA RUSCH            236387 DEL RIO                                                              WAUSAU              WI           54403                                  SUPPLIERS OR VENDORS         11/1/2018               $25.00
KATREESA QUAST          126 N. EAGLE ST.                                                            OSHKOSH             WI           54902                                  SUPPLIERS OR VENDORS        10/26/2018                $8.34
KATRINA BOZO            4412 S. ECHO CT                                                             SPOKANE             WA           99223                                  SUPPLIERS OR VENDORS        11/26/2018               $49.46
KATRINA BRAND           STORE 588                 SHOPKO EMPLOYEE        660 N MAIN ST              BEAVER              UT           84713-7725                             SUPPLIERS OR VENDORS        10/19/2018              $207.10
KATRINA BRAND           STORE 588                 SHOPKO EMPLOYEE        660 N MAIN ST              BEAVER              UT           84713-7725                             SUPPLIERS OR VENDORS        12/14/2018              $125.35
KATRINA BRAND           STORE 588                 SHOPKO EMPLOYEE        660 N MAIN ST              BEAVER              UT           84713-7725                             SUPPLIERS OR VENDORS         1/15/2019              $159.94
KATRINA MILLER          1196 DIVISION ST                                                            GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS        11/26/2018               $25.00
KAY BEER DISTRIBUTING
COMPANY INC             1881 COMMERCE DRIVE       PO BOX 5127                                       DE PERE             WI           54115-5127                             SUPPLIERS OR VENDORS       10/18/2018              $147.12
KAY BEER DISTRIBUTING
COMPANY INC             1881 COMMERCE DRIVE       PO BOX 5127                                       DE PERE             WI           54115-5127                             SUPPLIERS OR VENDORS       10/22/2018               $49.80
KAY BEER DISTRIBUTING
COMPANY INC             1881 COMMERCE DRIVE       PO BOX 5127                                       DE PERE             WI           54115-5127                             SUPPLIERS OR VENDORS       10/25/2018               $76.60
KAY BEER DISTRIBUTING
COMPANY INC             1881 COMMERCE DRIVE       PO BOX 5127                                       DE PERE             WI           54115-5127                             SUPPLIERS OR VENDORS       10/31/2018               $29.10
KAY BEER DISTRIBUTING
COMPANY INC             1881 COMMERCE DRIVE       PO BOX 5127                                       DE PERE             WI           54115-5127                             SUPPLIERS OR VENDORS        11/1/2018               $16.80
KAY BEER DISTRIBUTING
COMPANY INC             1881 COMMERCE DRIVE       PO BOX 5127                                       DE PERE             WI           54115-5127                             SUPPLIERS OR VENDORS        11/5/2018                $2.48
KAY BEER DISTRIBUTING
COMPANY INC             1881 COMMERCE DRIVE       PO BOX 5127                                       DE PERE             WI           54115-5127                             SUPPLIERS OR VENDORS        11/6/2018              $100.20
KAY BEER DISTRIBUTING
COMPANY INC             1881 COMMERCE DRIVE       PO BOX 5127                                       DE PERE             WI           54115-5127                             SUPPLIERS OR VENDORS        11/8/2018               $97.00
KAY BEER DISTRIBUTING
COMPANY INC             1881 COMMERCE DRIVE       PO BOX 5127                                       DE PERE             WI           54115-5127                             SUPPLIERS OR VENDORS       11/12/2018               $95.02
KAY BEER DISTRIBUTING
COMPANY INC             1881 COMMERCE DRIVE       PO BOX 5127                                       DE PERE             WI           54115-5127                             SUPPLIERS OR VENDORS       11/13/2018              $225.60
KAY BEER DISTRIBUTING
COMPANY INC             1881 COMMERCE DRIVE       PO BOX 5127                                       DE PERE             WI           54115-5127                             SUPPLIERS OR VENDORS       11/15/2018               $66.60
KAY BEER DISTRIBUTING
COMPANY INC             1881 COMMERCE DRIVE       PO BOX 5127                                       DE PERE             WI           54115-5127                             SUPPLIERS OR VENDORS       11/22/2018               $33.60
KAY BEER DISTRIBUTING
COMPANY INC             1881 COMMERCE DRIVE       PO BOX 5127                                       DE PERE             WI           54115-5127                             SUPPLIERS OR VENDORS       11/27/2018               $84.00
KAY BEER DISTRIBUTING
COMPANY INC             1881 COMMERCE DRIVE       PO BOX 5127                                       DE PERE             WI           54115-5127                             SUPPLIERS OR VENDORS       11/28/2018               $88.80
KAY BEER DISTRIBUTING
COMPANY INC             1881 COMMERCE DRIVE       PO BOX 5127                                       DE PERE             WI           54115-5127                             SUPPLIERS OR VENDORS       11/29/2018               $33.60
KAY BEER DISTRIBUTING
COMPANY INC             1881 COMMERCE DRIVE       PO BOX 5127                                       DE PERE             WI           54115-5127                             SUPPLIERS OR VENDORS       11/30/2018               $10.28
KAY BEER DISTRIBUTING
COMPANY INC             1881 COMMERCE DRIVE       PO BOX 5127                                       DE PERE             WI           54115-5127                             SUPPLIERS OR VENDORS        12/3/2018               $84.00
KAY BEER DISTRIBUTING
COMPANY INC             1881 COMMERCE DRIVE       PO BOX 5127                                       DE PERE             WI           54115-5127                             SUPPLIERS OR VENDORS        12/5/2018               $11.00
KAY BEER DISTRIBUTING
COMPANY INC             1881 COMMERCE DRIVE       PO BOX 5127                                       DE PERE             WI           54115-5127                             SUPPLIERS OR VENDORS       12/11/2018               $48.80
KAY BEER DISTRIBUTING
COMPANY INC             1881 COMMERCE DRIVE       PO BOX 5127                                       DE PERE             WI           54115-5127                             SUPPLIERS OR VENDORS       12/14/2018               $75.60
KAY BEER DISTRIBUTING
COMPANY INC             1881 COMMERCE DRIVE       PO BOX 5127                                       DE PERE             WI           54115-5127                             SUPPLIERS OR VENDORS       12/20/2018              $200.40
KAY BEER DISTRIBUTING
COMPANY INC             1881 COMMERCE DRIVE       PO BOX 5127                                       DE PERE             WI           54115-5127                             SUPPLIERS OR VENDORS       12/27/2018              $101.92
KAY BODWAY              36235 SILVER MAPEL LANE                                                     OCONOMOWOC          WI           53066                                  SUPPLIERS OR VENDORS       10/24/2018               $63.00
KAY BURTON              3415 N BLUEMOND DR                                                          APPLETON            WI           54914                                  SUPPLIERS OR VENDORS       10/29/2018               $25.00
KAY CONERY              2020 WEST BREEN AVENUE                                                      KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS       11/15/2018               $62.46



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                                                                                                                                                                                Reasons for payment or    Dates of     Total Amount or
       Creditor Name                Address1               Address2                 Address3                 City              State       Zip              Country                    transfer          Payments            Value
KAY DAVIS                 8726 DEMMY RD                                                               GARDEN PRAIRIE      IL           61038                                  SUPPLIERS OR VENDORS        11/26/2018               $12.44
KAY DAVIS                 8726 DEMMY RD                                                               GARDEN PRAIRIE      IL           61038                                  SUPPLIERS OR VENDORS         12/7/2018               $17.88
KAY HESSELBACHER          7424 E CANYON RD                                                            APPLE RIVER         IL           61001                                  SUPPLIERS OR VENDORS        11/28/2018               $12.80
KAY HILLMAN               1220 MOHAWK STREET                                                          SYRACUSE            NE           68446                                  SUPPLIERS OR VENDORS        10/29/2018               $13.15
KAY REINDL                3434 QUAIL AVE                                                              MANLY               IA           50456                                  SUPPLIERS OR VENDORS        12/13/2018               $36.13
KAY STINER                605 MILLIGAN AVE         APT 2                                              WABASHA             MN           55981                                  SUPPLIERS OR VENDORS        10/18/2018                $3.06
KAYE COLLAR               210 STROEBE RD                                                              APPLETON            WI           54914                                  SUPPLIERS OR VENDORS        11/14/2018               $25.00
KAYE HABERMANN            STORE 608                SHOPKO EMPLOYEE         1010 W RYAN STREET         BRILLION            WI           54110                                  SUPPLIERS OR VENDORS        11/15/2018               $40.88
KAYLA BERGDORF            W5667 CTY RD R                                                              WATERTOWN           WI           53098                                  SUPPLIERS OR VENDORS        11/12/2018               $23.00
KAYLA CAAUWEE             801 SOUTH 5TH STREET                                                        NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS         11/9/2018                $2.00
KAYLA CAREY               STORE 080                SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/28/2018              $322.65
KAYLA HILL                RECRUITING               SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/18/2018              $332.33
KAYLA HILL                RECRUITING               SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/22/2018              $259.26
KAYLA KNUTSON             STORE 2-041              SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/18/2018               $19.18
KAYLA KNUTSON             STORE 2-041              SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/1/2018                $3.98
KAYLA KNUTSON             STORE 2-041              SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/8/2018               $13.19
KAYLA KNUTSON             STORE 2-041              SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/15/2018               $16.68
KAYLA KNUTSON             STORE 2-041              SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/22/2018               $23.05
KAYLA KNUTSON             STORE 2-041              SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         12/6/2018               $14.72
KAYLA KNUTSON             STORE 2-041              SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/13/2018               $17.99
KAYLA KNUTSON             STORE 2-041              SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/27/2018               $40.88
KAYLA MICHALOWSKE         W9173 CTY RD. T                                                             GLENBEULAH          WI           53023                                  SUPPLIERS OR VENDORS         11/2/2018               $21.14
KAYLA SHEEHAN             STORE 4-070              SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/8/2018              $110.00
KAYLA TOMENES             STORE 023                SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/18/2018               $62.13

KAYTLIN GILBERT           STORE 545                SHOPKO EMPLOYEE         2008 WEST HIGHWAY 12       MOBRIDGE            SD           57601-4801                             SUPPLIERS OR VENDORS        11/2/2018              $201.03
                                                   350 EAST DEVON
KEECO LLC                 LOCKBOX 777692           AVENUE                                             ITASCA              IL           60143                                  SUPPLIERS OR VENDORS       10/18/2018            $8,772.61
                                                   350 EAST DEVON
KEECO LLC                 LOCKBOX 777692           AVENUE                                             ITASCA              IL           60143                                  SUPPLIERS OR VENDORS       10/25/2018           $22,587.08
                                                   350 EAST DEVON
KEECO LLC                 LOCKBOX 777692           AVENUE                                             ITASCA              IL           60143                                  SUPPLIERS OR VENDORS        11/1/2018            $7,733.60
                                                   350 EAST DEVON
KEECO LLC                 LOCKBOX 777692           AVENUE                                             ITASCA              IL           60143                                  SUPPLIERS OR VENDORS        11/8/2018          $131,628.49
                                                   350 EAST DEVON
KEECO LLC                 LOCKBOX 777692           AVENUE                                             ITASCA              IL           60143                                  SUPPLIERS OR VENDORS       11/15/2018            $3,938.82
                                                   350 EAST DEVON
KEECO LLC                 LOCKBOX 777692           AVENUE                                             ITASCA              IL           60143                                  SUPPLIERS OR VENDORS       11/22/2018            $1,172.26
                                                   350 EAST DEVON
KEECO LLC                 LOCKBOX 777692           AVENUE                                             ITASCA              IL           60143                                  SUPPLIERS OR VENDORS       11/29/2018           $13,326.02
KEEGAN LOCK & KEY         405 MAIN AVE WEST                                                           ROLLA               ND           58367                                  SUPPLIERS OR VENDORS       10/25/2018               $57.39
KEELEY FARM DRAINAGE &
LANDSCAPE                 SUPPLIES                 PO BOX 511                                         ST PETER            MN           56082                                  SUPPLIERS OR VENDORS       11/26/2018              $194.00
KEENAN GARFOOT            426 HARRISON STREET #9                                                      FOND DU LAC         WI           54937                                  SUPPLIERS OR VENDORS       12/14/2018               $44.00
KEEP IT GREEN & KEEP IT
CLEAN INC                 884 HORSESHOE DRIVE                                                         WILLMAR             MN           56201                                  SUPPLIERS OR VENDORS        11/9/2018              $455.28
KEEP IT GREEN & KEEP IT
CLEAN INC                 884 HORSESHOE DRIVE                                                         WILLMAR             MN           56201                                  SUPPLIERS OR VENDORS       11/16/2018              $690.95
KEEP IT GREEN & KEEP IT
CLEAN INC                 884 HORSESHOE DRIVE                                                         WILLMAR             MN           56201                                  SUPPLIERS OR VENDORS       12/18/2018              $455.28
KEITH BEARDSHEAR          2330 PLATTE ROAD                                                            HOMER               NE           68030                                  SUPPLIERS OR VENDORS       12/20/2018              $107.68
KEITH DALKE               N5637 PULS RD.                                                              SHIOCTON            WI           54170                                  SUPPLIERS OR VENDORS       10/29/2018              $155.98
                                                                           145 BROADWAY AVENUE
KEITH DAY                 STORE 2-561              SHOPKO EMPLOYEE         N                   COKATO                     MN           55321-4422                             SUPPLIERS OR VENDORS       10/25/2018               $54.50



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                                                                                                                                                                            Reasons for payment or    Dates of     Total Amount or
       Creditor Name               Address1           Address2                  Address3                City               State       Zip              Country                    transfer          Payments            Value
KEITH DHONDT            901 E MAIN                                                                ROCKWELL            IA           50469                                  SUPPLIERS OR VENDORS        12/13/2018               $48.00
KEITH KOSCIELSKI        OPERATIONS/ STORE 070   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/26/2018              $350.93
KEITH KOSCIELSKI        OPERATIONS/ STORE 070   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/9/2018              $588.53
KEITH KOSCIELSKI        OPERATIONS/ STORE 070   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/16/2018              $546.98
KEITH KOSCIELSKI        OPERATIONS/ STORE 070   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/27/2018              $177.10
KEITH KOSCIELSKI        OPERATIONS/ STORE 070   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/11/2018              $315.39
KEITH KOSCIELSKI        OPERATIONS/ STORE 070   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/14/2018              $322.53
KEITH KOSCIELSKI        OPERATIONS/ STORE 070   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/18/2018              $174.76
KEITH KOSCIELSKI        OPERATIONS/ STORE 070   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/29/2018              $180.54
KEITH KOSCIELSKI        OPERATIONS/ STORE 070   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         1/15/2019              $685.07
KEITH KURSZEWSKI        408 S 12TH ST                                                             WAUSAU              WI           54403                                  SUPPLIERS OR VENDORS         11/8/2018               $25.00
KEITH PLUMMER           3736 SAVANNAH CIRCLE                                                      LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS        11/26/2018               $15.00
KELLEE PETERSON         STORE 2-661             SHOPKO EMPLOYEE        500 PLAZA DRIVE            WEST POINT          NE           68788                                  SUPPLIERS OR VENDORS         11/1/2018               $44.15
KELLEE PETERSON         STORE 2-661             SHOPKO EMPLOYEE        500 PLAZA DRIVE            WEST POINT          NE           68788                                  SUPPLIERS OR VENDORS        11/15/2018               $38.15
KELLER FAMILY LIMITED
PARTNERS                SUITE 210                                                                 MADISON             WI           53703                                  SUPPLIERS OR VENDORS       11/10/2018                $1.00
KELLER FAMILY LIMITED                           448 W WASHINGTON
PARTNERSHIP             SUITE 210               AVENUE                                            MADISON             WI           53703                                  SUPPLIERS OR VENDORS        11/1/2018            $3,609.82
KELLER FAMILY LIMITED                           448 W WASHINGTON
PARTNERSHIP             SUITE 210               AVENUE                                            MADISON             WI           53703                                  SUPPLIERS OR VENDORS        11/6/2018           $13,652.74
KELLER FAMILY LIMITED                           448 W WASHINGTON
PARTNERSHIP             SUITE 210               AVENUE                                            MADISON             WI           53703                                  SUPPLIERS OR VENDORS       11/15/2018           $49,118.30
KELLER FAMILY LIMITED                           448 W WASHINGTON
PARTNERSHIP             SUITE 210               AVENUE                                            MADISON             WI           53703                                  SUPPLIERS OR VENDORS        12/1/2018            $3,609.82
KELLER FAMILY LIMITED                           448 W WASHINGTON
PARTNERSHIP             SUITE 210               AVENUE                                            MADISON             WI           53703                                  SUPPLIERS OR VENDORS       12/19/2018           $49,118.30
KELLI DRECHSEL          STORE 641               SHOPKO EMPLOYEE        110 WATTERS DRIVE          DWIGHT              IL           60420                                  SUPPLIERS OR VENDORS       12/13/2018              $278.05
KELLI MCCRAE            STORE 706               SHOPKO EMPLOYEE        115 LEROUX DRIVE           DONIPHAN            MO           63935                                  SUPPLIERS OR VENDORS       10/26/2018              $298.66
KELLI TAYLOR            STORE 719               SHOPKO EMPLOYEE        378 LEWISVILLE ROAD        WOODSFIELD          OH           43793                                  SUPPLIERS OR VENDORS       12/20/2018              $122.25
KELLIE CRAIG            STORE 2-791             SHOPKO EMPLOYEE        616 E US HIGHWAY 9         FOREST CITY         IA           50436                                  SUPPLIERS OR VENDORS       10/25/2018               $15.26
KELLIE KRETLOW          2308 RIDGEWOOD RD                                                         GRAFTON             WI           53024                                  SUPPLIERS OR VENDORS       11/12/2018               $83.00
KELLIE NEILL            STORE 2-692             SHOPKO EMPLOYEE        PO BOX 6                   SUPERIOR            NE           68978-0006                             SUPPLIERS OR VENDORS       10/26/2018               $81.75
KELLIE NEILL            STORE 2-692             SHOPKO EMPLOYEE        PO BOX 6                   SUPERIOR            NE           68978-0006                             SUPPLIERS OR VENDORS       12/22/2018               $83.94
KELLIE REED             STORE 2-704             SHOPKO EMPLOYEE        1300 STONE STREET          FALLS CITY          NE           68355                                  SUPPLIERS OR VENDORS       10/25/2018               $22.35
KELLIE REED             STORE 2-704             SHOPKO EMPLOYEE        1300 STONE STREET          FALLS CITY          NE           68355                                  SUPPLIERS OR VENDORS        11/8/2018               $21.26
KELLIE REED             STORE 2-704             SHOPKO EMPLOYEE        1300 STONE STREET          FALLS CITY          NE           68355                                  SUPPLIERS OR VENDORS        12/6/2018               $31.61

KELLOGG SALES COMPANY   PO BOX 905193                                                             CHARLOTTE           NC           28290-9051                             SUPPLIERS OR VENDORS       10/18/2018           $81,911.71

KELLOGG SALES COMPANY   PO BOX 905193                                                             CHARLOTTE           NC           28290-9051                             SUPPLIERS OR VENDORS       10/19/2018            $9,202.96

KELLOGG SALES COMPANY   PO BOX 905193                                                             CHARLOTTE           NC           28290-9051                             SUPPLIERS OR VENDORS       10/20/2018              $114.39

KELLOGG SALES COMPANY   PO BOX 905193                                                             CHARLOTTE           NC           28290-9051                             SUPPLIERS OR VENDORS       10/24/2018            $1,639.58

KELLOGG SALES COMPANY   PO BOX 905193                                                             CHARLOTTE           NC           28290-9051                             SUPPLIERS OR VENDORS       10/25/2018           $35,538.65

KELLOGG SALES COMPANY   PO BOX 905193                                                             CHARLOTTE           NC           28290-9051                             SUPPLIERS OR VENDORS       10/26/2018            $9,524.37

KELLOGG SALES COMPANY   PO BOX 905193                                                             CHARLOTTE           NC           28290-9051                             SUPPLIERS OR VENDORS       10/27/2018           $17,086.78

KELLOGG SALES COMPANY   PO BOX 905193                                                             CHARLOTTE           NC           28290-9051                             SUPPLIERS OR VENDORS        11/2/2018           $26,322.98

KELLOGG SALES COMPANY   PO BOX 905193                                                             CHARLOTTE           NC           28290-9051                             SUPPLIERS OR VENDORS        11/3/2018           $13,756.08



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                                                                                                                                                                        Reasons for payment or    Dates of    Total Amount or
      Creditor Name              Address1          Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value

KELLOGG SALES COMPANY   PO BOX 905193                                                          CHARLOTTE           NC           28290-9051                             SUPPLIERS OR VENDORS       11/7/2018           $2,693.72

KELLOGG SALES COMPANY   PO BOX 905193                                                          CHARLOTTE           NC           28290-9051                             SUPPLIERS OR VENDORS       11/9/2018         $22,223.81

KELLOGG SALES COMPANY   PO BOX 905193                                                          CHARLOTTE           NC           28290-9051                             SUPPLIERS OR VENDORS      11/10/2018         $20,979.33

KELLOGG SALES COMPANY   PO BOX 905193                                                          CHARLOTTE           NC           28290-9051                             SUPPLIERS OR VENDORS      11/15/2018         $17,809.27

KELLOGG SALES COMPANY   PO BOX 905193                                                          CHARLOTTE           NC           28290-9051                             SUPPLIERS OR VENDORS      11/16/2018         $22,118.46

KELLOGG SALES COMPANY   PO BOX 905193                                                          CHARLOTTE           NC           28290-9051                             SUPPLIERS OR VENDORS      11/17/2018           $1,397.31

KELLOGG SALES COMPANY   PO BOX 905193                                                          CHARLOTTE           NC           28290-9051                             SUPPLIERS OR VENDORS      11/24/2018        $113,769.75

KELLOGG SALES COMPANY   PO BOX 905193                                                          CHARLOTTE           NC           28290-9051                             SUPPLIERS OR VENDORS      11/29/2018         $25,432.04

KELLOGG SALES COMPANY   PO BOX 905193                                                          CHARLOTTE           NC           28290-9051                             SUPPLIERS OR VENDORS      11/30/2018         $31,918.28

KELLOGG SALES COMPANY   PO BOX 905193                                                          CHARLOTTE           NC           28290-9051                             SUPPLIERS OR VENDORS       12/1/2018           $4,733.67

KELLOGG SALES COMPANY   PO BOX 905193                                                          CHARLOTTE           NC           28290-9051                             SUPPLIERS OR VENDORS       12/6/2018            $184.23

KELLOGG SALES COMPANY   PO BOX 905193                                                          CHARLOTTE           NC           28290-9051                             SUPPLIERS OR VENDORS      12/19/2018        $163,132.87

KELLOGG SALES COMPANY   PO BOX 905193                                                          CHARLOTTE           NC           28290-9051                             SUPPLIERS OR VENDORS      12/21/2018         $63,293.93

KELLOGG SALES COMPANY   PO BOX 905193                                                          CHARLOTTE           NC           28290-9051                             SUPPLIERS OR VENDORS      12/28/2018            $408.81
KELLY BOARDMAN          N787 810TH STREET                                                      MONDOVI             WI           54755                                  SUPPLIERS OR VENDORS      11/16/2018              $1.70

KELLY BURROUS           STORE 552            SHOPKO EMPLOYEE        1420 NORTH 7TH STREET OAKES                    ND           58474-1351                             SUPPLIERS OR VENDORS       11/2/2018             $45.78
KELLY BYRNE             STORE 2-120          SHOPKO EMPLOYEE                              GREEN BAY                WI           54307-9060                             SUPPLIERS OR VENDORS      11/22/2018             $25.07
KELLY DAVIES            4209 OREGON ST.                                                   OSHKOSH                  WI           54902                                  SUPPLIERS OR VENDORS      11/14/2018             $25.00
KELLY DUPRE             STORE 145            SHOPKO EMPLOYEE                              GREEN BAY                WI           54307-9060                             SUPPLIERS OR VENDORS      11/15/2018            $629.12
KELLY GRZELAK           106 ZIPPEL AVE                                                    GILLETT                  WI           54124                                  SUPPLIERS OR VENDORS       11/7/2018             $25.00
KELLY HASQUET           STORE 2-075          SHOPKO EMPLOYEE                              GREEN BAY                WI           54307-9060                             SUPPLIERS OR VENDORS       11/9/2018            $280.68
KELLY KING              2120 DESCENDANT LN                                                GREEN BAY                WI           54313                                  SUPPLIERS OR VENDORS       11/9/2018             $15.01
KELLY LIEBE             STORE 171            SHOPKO EMPLOYEE                              GREEN BAY                WI           54307-9060                             SUPPLIERS OR VENDORS       11/1/2018             $28.34
KELLY LIEBE             STORE 171            SHOPKO EMPLOYEE                              GREEN BAY                WI           54307-9060                             SUPPLIERS OR VENDORS      11/29/2018             $28.34
KELLY MCCARTHY          STORE 4-053          SHOPKO EMPLOYEE                              GREEN BAY                WI           54307-9060                             SUPPLIERS OR VENDORS       11/8/2018            $356.25
KELLY SCHMITT           18257 N ROAD                                                      LAKEWOOD                 WI           54138                                  SUPPLIERS OR VENDORS       11/9/2018             $40.00
KELLY TIMMER            STORE 053            SHOPKO EMPLOYEE                              GREEN BAY                WI           54307-9060                             SUPPLIERS OR VENDORS       11/2/2018            $607.83
KELLY WALTERS           1520 E. FRANCES ST                                                APPLETON                 WI           54911                                  SUPPLIERS OR VENDORS      11/30/2018             $25.00
KELLYE ZAPORSKI         STORE 4-018          SHOPKO EMPLOYEE                              GREEN BAY                WI           54307-9060                             SUPPLIERS OR VENDORS       11/8/2018             $84.48
KELLYE ZAPORSKI         STORE 4-018          SHOPKO EMPLOYEE                              GREEN BAY                WI           54307-9060                             SUPPLIERS OR VENDORS      11/22/2018             $67.58
KELLYS KUTTERS          14840 476 AVENUE                                                  MILBANK                  SD           57252                                  SUPPLIERS OR VENDORS      10/30/2018            $239.63
KELLYS KUTTERS          14840 476 AVENUE                                                  MILBANK                  SD           57252                                  SUPPLIERS OR VENDORS      11/29/2018            $143.78
KELLYS KUTTERS          14840 476 AVENUE                                                  MILBANK                  SD           57252                                  SUPPLIERS OR VENDORS      12/14/2018             $47.93
KELSEY CUVELIER         STORE 2-056          SHOPKO EMPLOYEE                              GREEN BAY                WI           54307-9060                             SUPPLIERS OR VENDORS       11/1/2018             $70.85
KELSEY SCHMIDT          N1004 CTY RD K                                                    MONROE                   WI           53566                                  SUPPLIERS OR VENDORS       11/5/2018             $25.00
KELSEY WEDIG            2420 PARK AVE.                                                    BELOIT                   WI           53511                                  SUPPLIERS OR VENDORS       11/5/2018             $19.98
KELVIN PETERS           86970 547 AVE                                                     WAUSA                    NE           68786                                  SUPPLIERS OR VENDORS      10/31/2018             $13.38
KELVIN PETERS           86970 547 AVE                                                     WAUSA                    NE           68786                                  SUPPLIERS OR VENDORS      10/31/2018             $53.54
KEN KERR ELECTRIC       KENNETH KERR         1307 9TH STREET SW                           WAUKON                   IA           52172                                  SUPPLIERS OR VENDORS      10/25/2018             $80.25



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                                                                                                                                                                                 Reasons for payment or    Dates of     Total Amount or
      Creditor Name                 Address1                Address2                 Address3                 City              State       Zip              Country                    transfer          Payments            Value
KEN KERR ELECTRIC        KENNETH KERR                1307 9TH STREET SW                                WAUKON              IA           52172                                  SUPPLIERS OR VENDORS        11/15/2018              $133.75
KEN KREPLINE             10405 CTH J J                                                                 MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS         12/3/2018                $5.00
KEN MACHEEL              W10888 IDLEHOUR DR                                                            RANDOLPH            WI           53956                                  SUPPLIERS OR VENDORS        10/22/2018                $9.76
KEN WITT                 217 8TH ST                                                                    NEKOOSA             WI           54457                                  SUPPLIERS OR VENDORS        10/22/2018               $10.56
KENADEE ROEPKE           3131 S 17TH ST                                                                LINCOLN             NE           68502                                  SUPPLIERS OR VENDORS        12/13/2018               $19.98
KENADIE WOODRUFF         W8997 WARREN ST                                                               BROWNTOWN           WI           53522                                  SUPPLIERS OR VENDORS        10/19/2018               $14.40
KENDAL PHIPPS            3536 WEST 25TH AVENUE                                                         EUGENE              OR           97405                                  SUPPLIERS OR VENDORS         12/7/2018               $47.05
KENDALL JACKSON          2951 CANYON DRIVE                                                             BILLINGS            MT           59102                                  SUPPLIERS OR VENDORS        10/24/2018               $60.80
KENDALL KOELLER          1135 PARK RD                                                                  LANCASTER           WI           53813                                  SUPPLIERS OR VENDORS        11/26/2018               $65.00
KENDALL SMITH            PO BOX 605                                                                    AUMSVILLE           OR           97325                                  SUPPLIERS OR VENDORS        10/25/2018               $79.98
KENDEL PFLIPSEN          130 5TH ST NE                                                                 RICE                MN           56367                                  SUPPLIERS OR VENDORS        11/28/2018               $23.00
KENNEDY BURTON           STORE 2-139                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         12/6/2018                $9.27
KENNETH BURMEISTER       551 SOUTHWIND DR APT 205                                                      LAKE GENEVA         WI           53147                                  SUPPLIERS OR VENDORS        11/30/2018               $30.00
KENNETH DELAROI          3826 6TH AVE                                                                  SIOUX CITY          IA           51106                                  SUPPLIERS OR VENDORS         11/5/2018               $41.60
KENNETH DELAROI          3826 6TH AVE                                                                  SIOUX CITY          IA           51106                                  SUPPLIERS OR VENDORS        11/13/2018               $10.40
KENNETH FABEL            1608 GRAND AVE                                                                SCHOFIELD           WI           54476                                  SUPPLIERS OR VENDORS        11/14/2018               $14.97
KENNETH FARR             2240 ELYSIUM AVE                                                              EUGENE              OR           97401                                  SUPPLIERS OR VENDORS         11/9/2018               $19.00

KENNETH HASKELL          STORE 2-616                 SHOPKO EMPLOYEE        2541 S BAYSHORE DRIVE      SISTER BAY          WI           54234                                  SUPPLIERS OR VENDORS       12/13/2018               $84.37

KENNETH HASKELL          STORE 2-616                 SHOPKO EMPLOYEE        2541 S BAYSHORE DRIVE      SISTER BAY          WI           54234                                  SUPPLIERS OR VENDORS       12/27/2018               $69.32
KENNETH JANSSEN          1410 AVE K                                                                    HAWARDEN            IA           51023                                  SUPPLIERS OR VENDORS       11/28/2018                $3.25
KENNETH JORGENSEN        3221 ELK RIDGE DRIVE        UNIT C                                            OSHKOSH             WI           54904                                  SUPPLIERS OR VENDORS        12/7/2018               $10.00
KENNETH KELLOGG          8322 86TH ST. S E                                                             MONANGO             ND           58436                                  SUPPLIERS OR VENDORS       11/26/2018               $12.16
KENNETH KELLOGG          8322 86TH ST. S E                                                             MONANGO             ND           58436                                  SUPPLIERS OR VENDORS        12/7/2018               $48.64
                                                                            1903 NORTH BUCKEYE
KENNETH KERN             STORE 553                   SHOPKO EMPLOYEE        AVENUE                     ABILENE             KS           67410-1505                             SUPPLIERS OR VENDORS        11/9/2018              $327.57
KENNETH KUEHL            408 GALLES DR                                                                 REDWOOD FALLS       MN           56283                                  SUPPLIERS OR VENDORS       11/16/2018               $25.00
KENNETH MALUCHNIK        309 SUNSET CT                                                                 SHANNON             IL           61078                                  SUPPLIERS OR VENDORS       10/31/2018               $13.82
KENNETH MALUCHNIK        309 SUNSET CT                                                                 SHANNON             IL           61078                                  SUPPLIERS OR VENDORS       11/26/2018               $51.20
KENNETH MOK              4634 SLOAN STREET                                                             FREMONT             CA           94536                                  SUPPLIERS OR VENDORS       11/15/2018            $2,408.33
KENNETH MOK              4634 SLOAN STREET                                                             FREMONT             CA           94536                                  SUPPLIERS OR VENDORS       12/19/2018            $2,408.33
KENNETH MORGAN           2780 1043RD AVE             LOT 22                                            RAPID CITY          SD           57702                                  SUPPLIERS OR VENDORS        11/5/2018               $54.40

KENNETH POOLE            15575 W BRICK CHURCH ROAD                                                     POLO                IL           61064                                  SUPPLIERS OR VENDORS        12/7/2018               $45.00
KENNETH SCHMITZ          N7223 HWY K                                                                   FOND DU LAC         WI           54935                                  SUPPLIERS OR VENDORS       11/12/2018              $193.00
KENNETH SCHMITZ          N7223 HWY K                                                                   FOND DU LAC         WI           54935                                  SUPPLIERS OR VENDORS       11/14/2018                $5.00
KENNETH STENCIL          102 HICKORY DRIVE                                                             MOUNT HOREB         WI           53572                                  SUPPLIERS OR VENDORS        12/5/2018               $30.00
KENNETH TINKHAM          7110 E. 3RD                                                                   SPOKANE             WA           99212                                  SUPPLIERS OR VENDORS        11/1/2018               $24.76
KENNETH TRUEL            4829 CECELIA DRIVE                                                            FLORENCE            WI           54121                                  SUPPLIERS OR VENDORS       11/28/2018               $13.54
KENNETH WEBER            42288 256TH ST                                                                ALEXANDRIA          SD           57311                                  SUPPLIERS OR VENDORS        12/7/2018               $39.00
KENNEWICK RANCH & HOME   845 N COLUMBIA CENTER
INCORPORATED             BOULEVARD                                                                     KENNEWICK           WA           99336                                  SUPPLIERS OR VENDORS       11/29/2018              $112.91
KENNY KLEIN              4585 270TH ST                                                                 CADOTT              WI           54727                                  SUPPLIERS OR VENDORS       10/25/2018               $23.00
KENS WINDOW SERVICE      KENNETH W KAMMERER          1305 9TH STREET SW                                WAUKON              IA           52172                                  SUPPLIERS OR VENDORS        11/1/2018               $58.85
KENS WINDOW SERVICE      KENNETH W KAMMERER          1305 9TH STREET SW                                WAUKON              IA           52172                                  SUPPLIERS OR VENDORS       11/15/2018               $58.85
KENT D PETERSEN          STORE 009                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         1/3/2019              $147.58
KENT INVESTMENT
CORPORATION              DBA CARPET EXPRESS          PO BOX 279                                        ASH FLAT            AR           72513                                  SUPPLIERS OR VENDORS       10/18/2018              $245.18
KENT INVESTMENT
CORPORATION              DBA CARPET EXPRESS          PO BOX 279                                        ASH FLAT            AR           72513                                  SUPPLIERS OR VENDORS       10/25/2018               $54.04
KENT INVESTMENT
CORPORATION              DBA CARPET EXPRESS          PO BOX 279                                        ASH FLAT            AR           72513                                  SUPPLIERS OR VENDORS        11/1/2018            $6,621.35




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KENT INVESTMENT
CORPORATION              DBA CARPET EXPRESS        PO BOX 279                                        ASH FLAT            AR           72513                                  SUPPLIERS OR VENDORS       11/8/2018            $582.45
KENT INVESTMENT
CORPORATION              DBA CARPET EXPRESS        PO BOX 279                                        ASH FLAT            AR           72513                                  SUPPLIERS OR VENDORS      11/15/2018            $465.22
KENT INVESTMENT
CORPORATION              DBA CARPET EXPRESS        PO BOX 279                                        ASH FLAT            AR           72513                                  SUPPLIERS OR VENDORS      11/29/2018             $44.26
KENT INVESTMENT
CORPORATION              DBA CARPET EXPRESS        PO BOX 279                                        ASH FLAT            AR           72513                                  SUPPLIERS OR VENDORS      12/17/2018             $11.91
KENT OTTERMAN            12274 650TH AVENUE                                                          EMMONS              MN           56029                                  SUPPLIERS OR VENDORS      11/28/2018             $15.00
KENT WILES               506 OPAL LN                                                                 NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS       11/5/2018             $35.90
KENT WILES               506 OPAL LN                                                                 NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS      11/26/2018              $8.10
KENTUCKY DEPT OF
REVENUE                  501 HIGH ST                                                                 FRANKFORT           KY           40601                                  SALES & USE TAX           10/23/2018             $13.53
KENTUCKY DEPT OF
REVENUE                  501 HIGH ST                                                                 FRANKFORT           KY           40601                                  SALES & USE TAX           10/23/2018         $12,244.04
KENTUCKY DEPT OF
REVENUE                  501 HIGH ST                                                                 FRANKFORT           KY           40601                                  SALES & USE TAX           12/21/2018             $26.16
KENTUCKY DEPT OF
REVENUE                  501 HIGH ST                                                                 FRANKFORT           KY           40601                                  SALES & USE TAX           12/21/2018         $15,179.77
KENTUCKY FRIED CHICKEN   2001 ROSE ST                                                                LACROSSE            WI           54603                                  SUPPLIERS OR VENDORS      12/17/2018            $444.44
KENTUCKY STATE                                     UNCLAIMED PROPERTY 1050 US HWY 127 S SUITE
TREASURER                ATTN KATRINA STONER       DIVISION           100                     FRANKFORT                  KY           40601                                  SUPPLIERS OR VENDORS      10/24/2018              $55.42
KENZIE OSTIEN            7218 NORWAY RD                                                       SUN PRAIRIE                WI           53590                                  SUPPLIERS OR VENDORS      12/21/2018              $22.00
KERIANN RIEWE            7117 OLD 15 RD                                                       OCONTO                     WI           54153                                  SUPPLIERS OR VENDORS      12/21/2018              $25.00
KERRIN BURNS             803 S 15TH AVE                                                       FREEPORT                   IL           61032                                  SUPPLIERS OR VENDORS       12/7/2018              $20.38
KERRIN BURNS             803 S 15TH AVE                                                       FREEPORT                   IL           61032                                  SUPPLIERS OR VENDORS       12/7/2018             $141.57
KERRY HALLESY            6514 S HIGHLAND PARK DR                                              SPOKANE                    WA           99223                                  SUPPLIERS OR VENDORS      11/26/2018              $45.30
KERRY HAMILTON           W6243 COUNTY RD T                                                    SHAWANO                    WI           54166                                  SUPPLIERS OR VENDORS      12/20/2018              $23.00
KERRY SCOTT              4130 E. 140 N.                                                       RIGBY                      ID           83442                                  SUPPLIERS OR VENDORS      11/13/2018             $252.50
KERRYLYN RODRIGUEZ       STORE 2-125               SHOPKO EMPLOYEE                            GREEN BAY                  WI           54307-9060                             SUPPLIERS OR VENDORS      10/19/2018              $76.30
KERRYLYN RODRIGUEZ       STORE 2-125               SHOPKO EMPLOYEE                            GREEN BAY                  WI           54307-9060                             SUPPLIERS OR VENDORS      12/29/2018              $87.39
KERST BOSMA              STORE 2-111               SHOPKO EMPLOYEE                            GREEN BAY                  WI           54307-9060                             SUPPLIERS OR VENDORS      10/26/2018              $79.57
KERST BOSMA              STORE 2-111               SHOPKO EMPLOYEE                            GREEN BAY                  WI           54307-9060                             SUPPLIERS OR VENDORS      12/22/2018              $79.57
KESSLERS                 621 6TH AVENUE SE                                                    ABERDEEN                   SD           57401                                  SUPPLIERS OR VENDORS      11/26/2018             $396.81
KETTLE RIVER PIZZA INC   PO BOX 97                                                            ASKOV                      MN           55704                                  SUPPLIERS OR VENDORS      10/18/2018           $1,885.19
KETTLE RIVER PIZZA INC   PO BOX 97                                                            ASKOV                      MN           55704                                  SUPPLIERS OR VENDORS      11/15/2018           $1,090.14
KETTLE RIVER PIZZA INC   PO BOX 97                                                            ASKOV                      MN           55704                                  SUPPLIERS OR VENDORS      12/20/2018           $1,420.04
KETTLE RIVER PIZZA INC   PO BOX 97                                                            ASKOV                      MN           55704                                  SUPPLIERS OR VENDORS      12/27/2018              $74.88
KETTLER INTERNATIONAL
INC                      1355 LONDON BRIDGE ROAD                                                     VIRGINIA BEACH      VA           23453                                  SUPPLIERS OR VENDORS      10/18/2018            $124.00
KETTLER INTERNATIONAL
INC                      1355 LONDON BRIDGE ROAD                                                     VIRGINIA BEACH      VA           23453                                  SUPPLIERS OR VENDORS      10/25/2018            $248.00
KETTLER INTERNATIONAL
INC                      1355 LONDON BRIDGE ROAD                                                     VIRGINIA BEACH      VA           23453                                  SUPPLIERS OR VENDORS       11/8/2018            $124.00
KETTLER INTERNATIONAL
INC                      1355 LONDON BRIDGE ROAD                                                     VIRGINIA BEACH      VA           23453                                  SUPPLIERS OR VENDORS      11/15/2018            $264.00
KETTLER INTERNATIONAL
INC                      1355 LONDON BRIDGE ROAD                                                     VIRGINIA BEACH      VA           23453                                  SUPPLIERS OR VENDORS      11/22/2018            $113.00
KETTLER INTERNATIONAL
INC                      1355 LONDON BRIDGE ROAD                                                     VIRGINIA BEACH      VA           23453                                  SUPPLIERS OR VENDORS      11/29/2018            $336.25
KETURA FROST             216 FREDRICK ST.                                                            STEVENS POINT       WI           54481                                  SUPPLIERS OR VENDORS      10/25/2018             $15.00
KETURA FROST             216 FREDRICK ST.                                                            STEVENS POINT       WI           54481                                  SUPPLIERS OR VENDORS      10/25/2018             $42.00
KEVIN BAUER              W4898 RIENZI RD                                                             FOND DU LAC         WI           54935                                  SUPPLIERS OR VENDORS       12/3/2018             $25.00




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KEVIN EGGERS           203 EASTRIDGE DR                                                             EAST WENATCHEE WA                98802                                  SUPPLIERS OR VENDORS       11/9/2018             $34.99
KEVIN ERB              5315 PIPER LANE                                                              RACINE         WI                53403                                  SUPPLIERS OR VENDORS      10/22/2018              $7.00

KEVIN HALVORSON        3073 PORT ROAD                                                               WISCONSINRAPIDS     WI           54495                                  SUPPLIERS OR VENDORS      12/14/2018            $210.00
KEVIN HASELTON         4664 BABCOCK WAY SE                                                          SALEM               OR           97317                                  SUPPLIERS OR VENDORS      12/20/2018             $45.00
KEVIN KLASEN           1148 SOUTH TAYLOR APT. B                                                     GREEN BAY           WI           54304                                  SUPPLIERS OR VENDORS       11/7/2018             $25.00
KEVIN KOWALSKI         STORE 171                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/11/2018            $363.25
KEVIN KOWALSKI         STORE 171                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       1/15/2019            $209.74
KEVIN NORDBY           87018 568TH AVE                                                              LAUREL              NE           68745                                  SUPPLIERS OR VENDORS      10/29/2018             $44.00
KEVIN PELLETIER        901 ORANGE                                                                   HELENA              MT           59601                                  SUPPLIERS OR VENDORS       12/4/2018             $28.80
KEVIN PLZAK            1130 E NAWADA ST                                                             APPLETON            WI           54911                                  SUPPLIERS OR VENDORS      10/26/2018             $15.00
KEVIN POHLMAN          87953 420TH AVE                                                              LAKEFIELD           MN           56150                                  SUPPLIERS OR VENDORS       11/5/2018             $28.31
KEVIN PRINCE           715 MANSFIELD ST                                                             CHIPPEWA FALLS      WI           54729                                  SUPPLIERS OR VENDORS      12/17/2018             $20.00
KEVIN RALEIGH          741 OGDEN AVENUE           SHOPKO EMPLOYEE                                   OGDEN               UT           84404                                  SUPPLIERS OR VENDORS       11/1/2018             $23.98
KEVIN RAUSCHENBERGER   4807 TWELVE OAKS DR                                                          MILTON              WI           53563                                  SUPPLIERS OR VENDORS       12/3/2018             $69.98
KEVIN SCHIED           N13485 GRANA LANE                                                            TREMPEALEAU         WI           54661                                  SUPPLIERS OR VENDORS      11/28/2018            $113.00
KEVIN STONE            4241 CHADWYCK DR                                                             JANESVILLE          WI           53546                                  SUPPLIERS OR VENDORS      12/14/2018             $25.00
KEVIN WACHAL           P O BOX 433                                                                  LAKEFIELD           MN           56150                                  SUPPLIERS OR VENDORS       12/7/2018              $3.00
KEYSOURCE MEDICAL
INCORPORATED           PO BOX 645488                                                                PITTSBURGH          PA           15264-5252                             SUPPLIERS OR VENDORS       11/1/2018            $408.36
KEYSOURCE MEDICAL
INCORPORATED           PO BOX 645488                                                                PITTSBURGH          PA           15264-5252                             SUPPLIERS OR VENDORS      11/15/2018             $10.72
KEYSOURCE MEDICAL
INCORPORATED           PO BOX 645488                                                                PITTSBURGH          PA           15264-5252                             SUPPLIERS OR VENDORS      11/29/2018         $84,019.39
KEYSOURCE MEDICAL
INCORPORATED           PO BOX 645488                                                                PITTSBURGH          PA           15264-5252                             SUPPLIERS OR VENDORS      12/12/2018        $135,399.06
KFORCE INCORPORATED    PO BOX 277997                                                                ATLANTA             GA           30384-7997                             SUPPLIERS OR VENDORS      10/18/2018          $3,817.60
KFORCE INCORPORATED    PO BOX 277997                                                                ATLANTA             GA           30384-7997                             SUPPLIERS OR VENDORS      10/25/2018          $1,908.80
KFORCE INCORPORATED    PO BOX 277997                                                                ATLANTA             GA           30384-7997                             SUPPLIERS OR VENDORS       11/1/2018          $1,908.80
KFORCE INCORPORATED    PO BOX 277997                                                                ATLANTA             GA           30384-7997                             SUPPLIERS OR VENDORS       11/8/2018          $1,908.80
KFORCE INCORPORATED    PO BOX 277997                                                                ATLANTA             GA           30384-7997                             SUPPLIERS OR VENDORS      11/15/2018          $3,817.60
KFORCE INCORPORATED    PO BOX 277997                                                                ATLANTA             GA           30384-7997                             SUPPLIERS OR VENDORS      11/29/2018          $3,817.60

KHAAB MOUA             2961 2ND STREET S                                                            WISCONSIN RAPIDS    WI           54494                                  SUPPLIERS OR VENDORS      11/29/2018             $30.00
KIDCO INCORPORATED     1013 TECHNOLOGY WAY                                                          LIBERTYVILLE        IL           60048-5349                             SUPPLIERS OR VENDORS      10/25/2018          $1,466.05
KIDCO INCORPORATED     1013 TECHNOLOGY WAY                                                          LIBERTYVILLE        IL           60048-5349                             SUPPLIERS OR VENDORS       11/8/2018          $1,347.03
KIDCO INCORPORATED     1013 TECHNOLOGY WAY                                                          LIBERTYVILLE        IL           60048-5349                             SUPPLIERS OR VENDORS      11/15/2018            $513.00
KIDKRAFT LP            PO BOX 674299                                                                DALLAS              TX           75267-4299                             SUPPLIERS OR VENDORS      10/18/2018            $432.80
KIDKRAFT LP            PO BOX 674299                                                                DALLAS              TX           75267-4299                             SUPPLIERS OR VENDORS      10/25/2018            $254.90
KIDKRAFT LP            PO BOX 674299                                                                DALLAS              TX           75267-4299                             SUPPLIERS OR VENDORS       11/1/2018          $1,529.30
KIDKRAFT LP            PO BOX 674299                                                                DALLAS              TX           75267-4299                             SUPPLIERS OR VENDORS      11/15/2018            $134.95
KIDKRAFT LP            PO BOX 674299                                                                DALLAS              TX           75267-4299                             SUPPLIERS OR VENDORS      11/22/2018          $1,216.30
KIDKRAFT LP            PO BOX 674299                                                                DALLAS              TX           75267-4299                             SUPPLIERS OR VENDORS      11/29/2018            $854.55
KIDS II INCORPORATED   DEPT 40335                 PO BOX 740209                                     ATLANTA             GA           30374-0209                             SUPPLIERS OR VENDORS      10/19/2018          $9,899.63
KIDS II INCORPORATED   DEPT 40335                 PO BOX 740209                                     ATLANTA             GA           30374-0209                             SUPPLIERS OR VENDORS      10/26/2018         $26,698.80
KIDS II INCORPORATED   DEPT 40335                 PO BOX 740209                                     ATLANTA             GA           30374-0209                             SUPPLIERS OR VENDORS       11/2/2018         $16,324.59
KIDS II INCORPORATED   DEPT 40335                 PO BOX 740209                                     ATLANTA             GA           30374-0209                             SUPPLIERS OR VENDORS       11/9/2018         $12,429.60
KIDS II INCORPORATED   DEPT 40335                 PO BOX 740209                                     ATLANTA             GA           30374-0209                             SUPPLIERS OR VENDORS      11/16/2018         $34,216.51
KIDS II INCORPORATED   DEPT 40335                 PO BOX 740209                                     ATLANTA             GA           30374-0209                             SUPPLIERS OR VENDORS      11/30/2018         $24,258.60
KIDS PREFERRED LLC     PO BOX 150290                                                                OGDEN               UT           84415-0290                             SUPPLIERS OR VENDORS      10/19/2018          $6,375.20
KIDS PREFERRED LLC     PO BOX 150290                                                                OGDEN               UT           84415-0290                             SUPPLIERS OR VENDORS      10/23/2018          $3,041.60
KIDS PREFERRED LLC     PO BOX 150290                                                                OGDEN               UT           84415-0290                             SUPPLIERS OR VENDORS      10/26/2018          $2,876.60
KIDS PREFERRED LLC     PO BOX 150290                                                                OGDEN               UT           84415-0290                             SUPPLIERS OR VENDORS      10/30/2018         $12,398.13



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KIDS PREFERRED LLC      PO BOX 150290                                                              OGDEN               UT           84415-0290                             SUPPLIERS OR VENDORS         11/2/2018            $6,404.20
KIDS PREFERRED LLC      PO BOX 150290                                                              OGDEN               UT           84415-0290                             SUPPLIERS OR VENDORS         11/6/2018            $1,665.80
KIDS PREFERRED LLC      PO BOX 150290                                                              OGDEN               UT           84415-0290                             SUPPLIERS OR VENDORS         11/9/2018            $4,748.80
KIDS PREFERRED LLC      PO BOX 150290                                                              OGDEN               UT           84415-0290                             SUPPLIERS OR VENDORS        11/13/2018            $4,543.75
KIDS PREFERRED LLC      PO BOX 150290                                                              OGDEN               UT           84415-0290                             SUPPLIERS OR VENDORS        11/16/2018            $6,694.40
KIDS PREFERRED LLC      PO BOX 150290                                                              OGDEN               UT           84415-0290                             SUPPLIERS OR VENDORS        11/27/2018            $6,355.98
KIDS PREFERRED LLC      PO BOX 150290                                                              OGDEN               UT           84415-0290                             SUPPLIERS OR VENDORS        11/30/2018            $1,817.80
KIDS PREFERRED LLC      PO BOX 150290                                                              OGDEN               UT           84415-0290                             SUPPLIERS OR VENDORS         12/4/2018            $3,492.20
KIEFFER & COMPANY
INCORPORATED            PO BOX 1087                                                                SHEBOYGAN           WI           53082-1087                             SUPPLIERS OR VENDORS       11/27/2018           $10,144.63
KIEFFER & COMPANY
INCORPORATED            PO BOX 1087                                                                SHEBOYGAN           WI           53082-1087                             SUPPLIERS OR VENDORS       11/27/2018           $10,645.98
KIEFFER & COMPANY
INCORPORATED            PO BOX 1087                                                                SHEBOYGAN           WI           53082-1087                             SUPPLIERS OR VENDORS        12/4/2018              $389.92
KIEL REC DEPT           510 3RD STREET                                                             KIEL                WI           53042                                  SUPPLIERS OR VENDORS       10/18/2018              $125.00
KIET NGUYEN             811 4TH AVE. NW                                                            AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS        12/7/2018               $23.00
KIK INTERNATIONAL       DEPT CH 14106                                                              PALATINE            IL           60055-1406                             SUPPLIERS OR VENDORS        11/1/2018           $14,309.44
KIKKERLAND DESIGN INC   666 BROADWAY 4TH FLOOR                                                     NEW YORK            NY           10012                                  SUPPLIERS OR VENDORS       10/18/2018              $767.91
KIKKERLAND DESIGN INC   666 BROADWAY 4TH FLOOR                                                     NEW YORK            NY           10012                                  SUPPLIERS OR VENDORS       10/25/2018              $565.60
KIKKERLAND DESIGN INC   666 BROADWAY 4TH FLOOR                                                     NEW YORK            NY           10012                                  SUPPLIERS OR VENDORS        11/1/2018            $1,926.30
KIKKERLAND DESIGN INC   666 BROADWAY 4TH FLOOR                                                     NEW YORK            NY           10012                                  SUPPLIERS OR VENDORS       11/15/2018              $481.13
KIKKERLAND DESIGN INC   666 BROADWAY 4TH FLOOR                                                     NEW YORK            NY           10012                                  SUPPLIERS OR VENDORS       11/29/2018              $484.80
KIM BESSETTE            STORE 2-615              SHOPKO EMPLOYEE        291 S MAIN STREET          CLINTONVILLE        WI           54929                                  SUPPLIERS OR VENDORS        12/6/2018              $167.94
KIM BUNTIN              HOME                     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/8/2018               $16.79
KIM KUEHN               409 E 8TH ST                                                               BELVIDERE           IL           61008                                  SUPPLIERS OR VENDORS        12/7/2018               $23.00
KIM RATZA               7674 E BURMA ROAD                                                          HARRISON            ID           83833                                  SUPPLIERS OR VENDORS        11/9/2018               $27.98
KIM RATZA               7674 E BURMA ROAD                                                          HARRISON            ID           83833                                  SUPPLIERS OR VENDORS        11/9/2018               $31.40
KIM SCHOENING           1236 ROUNDTABLE DR                                                         RACINE              WI           53406                                  SUPPLIERS OR VENDORS        11/9/2018               $62.00
KIM SEUBERT             2438 PICO RD                                                               MOSINEE             WI           54455                                  SUPPLIERS OR VENDORS       11/28/2018               $11.20
KIM VALDEZ              900 11TH ST APT 4                                                          WESTBROOK           MN           56183                                  SUPPLIERS OR VENDORS       11/30/2018               $15.00
KIM WILLIAMS            4207 BAYBROOK DR                                                           JANESVILLE          WI           53545                                  SUPPLIERS OR VENDORS       11/26/2018               $75.00
KIMBERLEY BOWEN         323 7TH STREET                                                             ST PAUL             NE           68873                                  SUPPLIERS OR VENDORS       10/22/2018               $70.00
KIMBERLIE SMITH         P. O. BOX 334                                                              CLARKSTON           WA           99403                                  SUPPLIERS OR VENDORS       11/26/2018               $15.00
KIMBERLY CLARK GLOBAL
SALES INC               PO BOX 88125                                                               CHICAGO             IL           60695-0002                             SUPPLIERS OR VENDORS       10/18/2018          $123,014.77
KIMBERLY CLARK GLOBAL
SALES INC               PO BOX 88125                                                               CHICAGO             IL           60695-0002                             SUPPLIERS OR VENDORS       10/19/2018          $221,922.70
KIMBERLY CLARK GLOBAL
SALES INC               PO BOX 88125                                                               CHICAGO             IL           60695-0002                             SUPPLIERS OR VENDORS       10/20/2018           $59,130.62
KIMBERLY CLARK GLOBAL
SALES INC               PO BOX 88125                                                               CHICAGO             IL           60695-0002                             SUPPLIERS OR VENDORS        11/8/2018          $434,479.61
KIMBERLY CLARK GLOBAL
SALES INC               PO BOX 88125                                                               CHICAGO             IL           60695-0002                             SUPPLIERS OR VENDORS        11/9/2018          $403,590.55
KIMBERLY CLARK GLOBAL
SALES INC               PO BOX 88125                                                               CHICAGO             IL           60695-0002                             SUPPLIERS OR VENDORS       11/10/2018          $154,530.89
KIMBERLY CLARK GLOBAL
SALES INC               PO BOX 88125                                                               CHICAGO             IL           60695-0002                             SUPPLIERS OR VENDORS       11/17/2018           $82,502.40
KIMBERLY CLARK GLOBAL
SALES INC               PO BOX 88125                                                               CHICAGO             IL           60695-0002                             SUPPLIERS OR VENDORS       11/24/2018          $515,688.47
KIMBERLY CLARK GLOBAL
SALES INC               PO BOX 88125                                                               CHICAGO             IL           60695-0002                             SUPPLIERS OR VENDORS       11/29/2018          $112,736.80
KIMBERLY CLARK GLOBAL
SALES INC               PO BOX 88125                                                               CHICAGO             IL           60695-0002                             SUPPLIERS OR VENDORS       11/30/2018          $124,091.13




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KIMBERLY CLARK GLOBAL
SALES INC               PO BOX 88125                                                                    CHICAGO             IL           60695-0002                             SUPPLIERS OR VENDORS       12/1/2018         $94,225.49
KIMBERLY CLARK GLOBAL
SALES INC               PO BOX 88125                                                                    CHICAGO             IL           60695-0002                             SUPPLIERS OR VENDORS       12/6/2018        $100,212.22
KIMBERLY CLARK GLOBAL
SALES INC               PO BOX 88125                                                                    CHICAGO             IL           60695-0002                             SUPPLIERS OR VENDORS      12/19/2018        $447,384.59
KIMBERLY CLARK GLOBAL
SALES INC               PO BOX 88125                                                                    CHICAGO             IL           60695-0002                             SUPPLIERS OR VENDORS      12/20/2018         $61,658.73
KIMBERLY CLARK GLOBAL
SALES INC               PO BOX 88125                                                                    CHICAGO             IL           60695-0002                             SUPPLIERS OR VENDORS      12/21/2018        $204,377.59
KIMBERLY CLARK GLOBAL
SALES INC               PO BOX 88125                                                                    CHICAGO             IL           60695-0002                             SUPPLIERS OR VENDORS      12/22/2018           $4,329.56
KIMBERLY CLARK GLOBAL
SALES INC               PO BOX 88125                                                                    CHICAGO             IL           60695-0002                             SUPPLIERS OR VENDORS      12/28/2018        $311,942.97

KIMBERLY CLARKSEN       1280 W. BLOOMINGFIELD DRIVE                                                     WHITEWATER          WI           53190                                  SUPPLIERS OR VENDORS      11/26/2018             $25.00

KIMBERLY COMER          STORE 592                     SHOPKO EMPLOYEE        1300 E CENTRAL AVENUE COMANCHE                 TX           76442-2806                             SUPPLIERS OR VENDORS       11/2/2018            $510.12

KIMBERLY COMER          STORE 592                     SHOPKO EMPLOYEE        1300 E CENTRAL AVENUE COMANCHE                 TX           76442-2806                             SUPPLIERS OR VENDORS      11/30/2018            $545.77

KIMBERLY COMER          STORE 592                     SHOPKO EMPLOYEE        1300 E CENTRAL AVENUE COMANCHE                 TX           76442-2806                             SUPPLIERS OR VENDORS      12/14/2018            $863.28

KIMBERLY COMER          STORE 592                     SHOPKO EMPLOYEE        1300 E CENTRAL AVENUE COMANCHE                 TX           76442-2806                             SUPPLIERS OR VENDORS      12/20/2018            $313.92
KIMBERLY HAGELIN        6940 INDIAN LAKE RD                                                        RHINELANDER              WI           54501                                  SUPPLIERS OR VENDORS      11/28/2018              $5.00
KIMBERLY HAGELIN        6940 INDIAN LAKE RD                                                        RHINELANDER              WI           54501                                  SUPPLIERS OR VENDORS      11/28/2018             $23.00
KIMBERLY HUTCHINGS      7205 WEST SALTILLO ROAD                                                    MARTELL                  NE           68404                                  SUPPLIERS OR VENDORS      10/25/2018              $2.00
KIMBERLY KNOLL          102 CARROLL ST                                                             BEAVER DAM               WI           53916                                  SUPPLIERS OR VENDORS       12/7/2018             $20.00
KIMBERLY LEWIS          270 MARTINSBURG                                                            IDAHO FALLS              ID           83404                                  SUPPLIERS OR VENDORS      11/26/2018             $15.00
KIMBERLY LONG           328 ARBOR HILL CIR                                                         EAU CLAIRE               WI           54703                                  SUPPLIERS OR VENDORS      11/29/2018              $8.00
KIMBERLY LOPPNOW        N9357 NORTH RD                                                             WATERTOWN                WI           53094                                  SUPPLIERS OR VENDORS      12/13/2018             $17.98
KIMBERLY MCKENZIE       10478 121ST. AVE                                                           LE ROY                   MN           55951                                  SUPPLIERS OR VENDORS      10/29/2018              $3.00
KIMBERLY METZGER        740 9TH ST                                                                 ADAMS                    NE           68301                                  SUPPLIERS OR VENDORS      10/26/2018             $23.00
KIMBERLY NOLAN          STORE 069                     SHOPKO EMPLOYEE                              GREEN BAY                WI           54307-9060                             SUPPLIERS OR VENDORS      12/20/2018            $710.46
KIMBERLY PAHLOW-
ANDERSON                4009 LORI CIRCLE                                                                MADISON             WI           53714                                  SUPPLIERS OR VENDORS      12/20/2018             $23.00
KIMBERLY PETERSON       1503 DANIELS AVE                                                                ALTOONA             WI           54720                                  SUPPLIERS OR VENDORS      10/22/2018             $25.00
KIMBERLY SKALE          132480 ALPINE RD.                                                               MARATHON            WI           54448                                  SUPPLIERS OR VENDORS      12/17/2018             $25.00
KIMBERLY SORENSEN       16578 DODGE-MOWER RD                                                            HAYFIELD            MN           55940                                  SUPPLIERS OR VENDORS      11/26/2018             $57.00
KIMBERLY VILLAGE
TREASURER               515 W KIMBERLY AVENUE                                                           KIMBERLY            WI           54136                                  SUPPLIERS OR VENDORS      12/17/2018            $244.00
KIMBERLY WETTON*        334 COUNTY ROAD                                                                 NEGAUNEE            MI           49866                                  SUPPLIERS OR VENDORS       11/8/2018             $43.00
KIMBERLY WICKERSHAM     135 PARKWOOD DR                                                                 COUNCIL BLUFFS      IA           51503                                  SUPPLIERS OR VENDORS      11/30/2018              $7.00
KIMBERLY WILSON         2501 MARILYNN AVE                                                               LINCOLN             NE           68502                                  SUPPLIERS OR VENDORS      11/26/2018              $2.00
KIMBERLY WORKMAN        2818 GREENSBORO AVE                                                             BELLEVUE            NE           68005                                  SUPPLIERS OR VENDORS      12/10/2018             $72.00
KIMCO REALTY
CORPORATION             PO BOX 5020                                                                     NEW HYDE PARK       NY           11042-0020                             SUPPLIERS OR VENDORS       11/1/2018         $56,709.30
KIMCO REALTY
CORPORATION             PO BOX 5020                                                                     NEW HYDE PARK       NY           11042-0020                             SUPPLIERS OR VENDORS       11/8/2018           $2,548.76
KIMCO REALTY
CORPORATION             PO BOX 5020                                                                     NEW HYDE PARK       NY           11042-0020                             SUPPLIERS OR VENDORS      11/30/2018           $5,491.56
KIMCO REALTY
CORPORATION             PO BOX 5020                                                                     NEW HYDE PARK       NY           11042-0020                             SUPPLIERS OR VENDORS       12/4/2018         $56,709.30




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KIMCO REALTY
CORPORATION              PO BOX 5020                                                                  NEW HYDE PARK       NY           11042-0020                             SUPPLIERS OR VENDORS      12/19/2018           $6,426.32

KINGSFORD ACE HARDWARE 555 S CARPENTER AVENUE                                                         KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS       11/1/2018               $9.92

KINGSFORD ACE HARDWARE 555 S CARPENTER AVENUE                                                         KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS       11/8/2018               $5.93

KINGSFORD ACE HARDWARE   555 S CARPENTER AVENUE                                                       KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS        1/4/2019              $15.44
KINTER                   3333 OAK GROVE AVENUE                                                        WAUKEGAN            IL           60087                                  SUPPLIERS OR VENDORS       11/2/2018           $2,465.32
KINTER                   3333 OAK GROVE AVENUE                                                        WAUKEGAN            IL           60087                                  SUPPLIERS OR VENDORS      11/16/2018              $98.84
KINTER                   3333 OAK GROVE AVENUE                                                        WAUKEGAN            IL           60087                                  SUPPLIERS OR VENDORS        1/5/2019             $116.93
KIRBY KENNEDY COURT
REPORTERS                7044 EAST FISH LAKE ROAD                                                     MAPLE GROVE         MN           55311                                  SUPPLIERS OR VENDORS       11/1/2018           $2,877.50
KIRK ADEN                708 1ST AVE SE                                                               WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS      11/26/2018              $45.00
KIRK LAUTERBACK          OPTICAL SERVICES           SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/19/2018           $1,467.93
KIRK LAUTERBACK          OPTICAL SERVICES           SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        1/5/2019             $607.69
KISS PRODUCTS                                       57 SEAVIEW                                        PORT
INCORPORATED             KISS NAIL PRODUCTS INC     BOULEVARD                                         WASHINGTON          NY           11050                                  SUPPLIERS OR VENDORS      10/19/2018           $7,775.09
KISS PRODUCTS                                       57 SEAVIEW                                        PORT
INCORPORATED             KISS NAIL PRODUCTS INC     BOULEVARD                                         WASHINGTON          NY           11050                                  SUPPLIERS OR VENDORS      10/26/2018           $8,219.44
KISS PRODUCTS                                       57 SEAVIEW                                        PORT
INCORPORATED             KISS NAIL PRODUCTS INC     BOULEVARD                                         WASHINGTON          NY           11050                                  SUPPLIERS OR VENDORS       11/2/2018           $8,805.67
KISS PRODUCTS                                       57 SEAVIEW                                        PORT
INCORPORATED             KISS NAIL PRODUCTS INC     BOULEVARD                                         WASHINGTON          NY           11050                                  SUPPLIERS OR VENDORS       11/9/2018           $3,653.93
KISS PRODUCTS                                       57 SEAVIEW                                        PORT
INCORPORATED             KISS NAIL PRODUCTS INC     BOULEVARD                                         WASHINGTON          NY           11050                                  SUPPLIERS OR VENDORS      11/16/2018           $6,854.35
KISS PRODUCTS                                       57 SEAVIEW                                        PORT
INCORPORATED             KISS NAIL PRODUCTS INC     BOULEVARD                                         WASHINGTON          NY           11050                                  SUPPLIERS OR VENDORS      11/30/2018         $26,069.05
KISTLER RENTAL LLC       115 MAIN                                                                     SAVANNA             IL           61074                                  SUPPLIERS OR VENDORS       11/1/2018            $300.00
KISTLER RENTAL LLC       115 MAIN                                                                     SAVANNA             IL           61074                                  SUPPLIERS OR VENDORS       12/1/2018            $300.00
KISTLER RENTAL LLC       115 MAIN                                                                     SAVANNA             IL           61074                                  SUPPLIERS OR VENDORS        1/5/2019            $300.00

KIT CARSON COUNTY
HEALTH & HUMAN SERVICE   252 SOUTH 14TH STREET                                                        BURLINGTON          CO           80807                                  SUPPLIERS OR VENDORS      11/26/2018            $353.00
KITCHEN COOKED
INCORPORATED             POTATO CHIPS               PO BOX 295                                        BUSHNELL            IL           61422                                  SUPPLIERS OR VENDORS       11/5/2018             $10.93
KITCHEN COOKED
INCORPORATED             POTATO CHIPS               PO BOX 295                                        BUSHNELL            IL           61422                                  SUPPLIERS OR VENDORS      11/15/2018               $4.84
KITCHEN COOKED
INCORPORATED             POTATO CHIPS               PO BOX 295                                        BUSHNELL            IL           61422                                  SUPPLIERS OR VENDORS      11/22/2018             $43.11
KITTRICH CORPORATION     DEPT 3883                                                                    CAROL STREAM        IL           60132-3883                             SUPPLIERS OR VENDORS      10/18/2018            $743.52
KITTRICH CORPORATION     DEPT 3883                                                                    CAROL STREAM        IL           60132-3883                             SUPPLIERS OR VENDORS      10/25/2018          $3,704.16
KITTRICH CORPORATION     DEPT 3883                                                                    CAROL STREAM        IL           60132-3883                             SUPPLIERS OR VENDORS       11/1/2018         $13,483.32
KITTRICH CORPORATION     DEPT 3883                                                                    CAROL STREAM        IL           60132-3883                             SUPPLIERS OR VENDORS       11/8/2018         $26,918.39
KITTRICH CORPORATION     DEPT 3883                                                                    CAROL STREAM        IL           60132-3883                             SUPPLIERS OR VENDORS      11/15/2018          $6,623.28
KITTRICH CORPORATION     DEPT 3883                                                                    CAROL STREAM        IL           60132-3883                             SUPPLIERS OR VENDORS      11/22/2018            $949.80
KITTRICH CORPORATION     DEPT 3883                                                                    CAROL STREAM        IL           60132-3883                             SUPPLIERS OR VENDORS      11/29/2018          $5,960.76
KK LAWN CARE & SNOW
REMOVAL                  2601 O AVENUE                                                                CLARINDA            IA           51632                                  SUPPLIERS OR VENDORS      10/18/2018            $140.00
KK LAWN CARE & SNOW
REMOVAL                  2601 O AVENUE                                                                CLARINDA            IA           51632                                  SUPPLIERS OR VENDORS       11/8/2018            $105.00
KK LAWN CARE & SNOW
REMOVAL                  2601 O AVENUE                                                                CLARINDA            IA           51632                                  SUPPLIERS OR VENDORS      12/17/2018             $70.00
KL OUTDOOR               AMERIFORM ACQUISITION      PO BOX 772055                                     DETROIT             MI           48277-2055                             SUPPLIERS OR VENDORS      10/18/2018         $48,836.00



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KL OUTDOOR                AMERIFORM ACQUISITION     PO BOX 772055                                     DETROIT             MI           48277-2055                             SUPPLIERS OR VENDORS         11/1/2018           $41,811.00
KL OUTDOOR                AMERIFORM ACQUISITION     PO BOX 772055                                     DETROIT             MI           48277-2055                             SUPPLIERS OR VENDORS         11/8/2018           $38,469.50
KLABUNDES DELIVERY
INCORPORATED              8555 IZARD STREET                                                           OMAHA               NE           68114                                  SUPPLIERS OR VENDORS        11/1/2018              $653.65
KLABUNDES DELIVERY
INCORPORATED              8555 IZARD STREET                                                           OMAHA               NE           68114                                  SUPPLIERS OR VENDORS       12/17/2018              $899.80
KLEAR VU CORP             600 AIRPORT RD                                                              FALL RIVER          MA           02720-0000                             SUPPLIERS OR VENDORS       11/15/2018              $493.46
KLEAR VU CORP             600 AIRPORT RD                                                              FALL RIVER          MA           02720-0000                             SUPPLIERS OR VENDORS       11/22/2018            $1,277.43
KLEAR VU CORP             600 AIRPORT RD                                                              FALL RIVER          MA           02720-0000                             SUPPLIERS OR VENDORS       11/29/2018            $1,102.50
KLEARWATER SALES &                                  W14719 COUNTY ROAD
SERVICE LLC               RAYMOND LEWAN             F                                                 LUBLIN              WI           54447                                  SUPPLIERS OR VENDORS        11/8/2018              $316.50
KLEENCO MAINTENANCE &
CONSTRUCTION INC          PO BOX 461                                                                  ALEXANDRIA          IN           46001                                  SUPPLIERS OR VENDORS       11/30/2018           $31,584.00
KLEMA PLAZA
INCORPORATED              PO BOX 504                                                                  BELOIT              KS           67420                                  SUPPLIERS OR VENDORS        11/1/2018            $6,612.50
KLEMA PLAZA
INCORPORATED              PO BOX 504                                                                  BELOIT              KS           67420                                  SUPPLIERS OR VENDORS        12/1/2018            $6,612.50
KLER RADIO                PO BOX 32                                                                   OROFINO             ID           83544                                  SUPPLIERS OR VENDORS        11/5/2018              $180.00
KNIGHTS APPAREL
INCORPORATED              PO BOX 603040                                                               CHARLOTTE           NC           28260-3040                             SUPPLIERS OR VENDORS       10/19/2018           $87,725.00
KNIGHTS APPAREL
INCORPORATED              PO BOX 603040                                                               CHARLOTTE           NC           28260-3040                             SUPPLIERS OR VENDORS       10/26/2018           $10,477.20
KNIGHTS APPAREL
INCORPORATED              PO BOX 603040                                                               CHARLOTTE           NC           28260-3040                             SUPPLIERS OR VENDORS        11/2/2018            $7,533.00
KNIGHTS APPAREL
INCORPORATED              PO BOX 603040                                                               CHARLOTTE           NC           28260-3040                             SUPPLIERS OR VENDORS        11/9/2018           $90,641.36
KNIGHTS APPAREL
INCORPORATED              PO BOX 603040                                                               CHARLOTTE           NC           28260-3040                             SUPPLIERS OR VENDORS       11/16/2018           $17,328.00
KNIGHTS APPAREL
INCORPORATED              PO BOX 603040                                                               CHARLOTTE           NC           28260-3040                             SUPPLIERS OR VENDORS       11/30/2018              $400.00

KNOCKOUT LAWN SERVICES 1704 12TH AVE                                                                  PRINCETON           MN           55371                                  SUPPLIERS OR VENDORS       11/16/2018            $1,148.90

KOBS & ROBERTS SERVICES
LLC LAWN & TREE           PO BOX 186                                                                  MILTON              WI           53563                                  SUPPLIERS OR VENDORS       10/25/2018              $358.70
KODY QUAYLE               STORE 2-104               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/25/2018              $138.43
KODY QUAYLE               STORE 2-104               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/1/2018              $123.17
KODY QUAYLE               STORE 2-104               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/16/2018               $79.57
KODY QUAYLE               STORE 2-104               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/30/2018               $79.57
KODY QUAYLE               STORE 2-104               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/11/2018               $29.43
KODY QUAYLE               STORE 2-104               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/14/2018              $144.97
KODY QUAYLE               STORE 2-104               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         1/5/2019               $84.68
KODY QUAYLE               STORE 2-104               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        1/10/2019              $209.96
KOEHLERS YARD SERVICE     MELVIN KOEHLER            89190 ST HWY 251                                  AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS       10/19/2018              $636.46
KOEHLERS YARD SERVICE     MELVIN KOEHLER            89190 ST HWY 251                                  AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS       11/16/2018              $457.32
KOEN DESMET               2733 SPRING HILL DR                                                         STOUGHTON           WI           53589                                  SUPPLIERS OR VENDORS        11/7/2018               $25.00
KOLCRAFT ENTERPRISES
INCORPORATED              1100 WEST MONROE STREET                                                     CHICAGO             IL           60607-0000                             SUPPLIERS OR VENDORS       10/19/2018            $1,632.98
KOLCRAFT ENTERPRISES
INCORPORATED              1100 WEST MONROE STREET                                                     CHICAGO             IL           60607-0000                             SUPPLIERS OR VENDORS       10/26/2018            $3,127.35
KOLCRAFT ENTERPRISES
INCORPORATED              1100 WEST MONROE STREET                                                     CHICAGO             IL           60607-0000                             SUPPLIERS OR VENDORS        11/2/2018           $12,450.60
KOLCRAFT ENTERPRISES
INCORPORATED              1100 WEST MONROE STREET                                                     CHICAGO             IL           60607-0000                             SUPPLIERS OR VENDORS        11/9/2018            $1,151.63



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                                                                                                                                                                               Reasons for payment or    Dates of    Total Amount or
      Creditor Name                 Address1              Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
KOLCRAFT ENTERPRISES
INCORPORATED              1100 WEST MONROE STREET                                                     CHICAGO             IL           60607-0000                             SUPPLIERS OR VENDORS      11/16/2018           $6,631.90
KOLCRAFT ENTERPRISES
INCORPORATED              1100 WEST MONROE STREET                                                     CHICAGO             IL           60607-0000                             SUPPLIERS OR VENDORS      11/30/2018           $7,969.82
KOLDER INCORPORATED       PO BOX 730954                                                               DALLAS              TX           75373                                  SUPPLIERS OR VENDORS       11/1/2018           $2,641.70
KOLLEEN HOPPER            STORE 2-792               SHOPKO EMPLOYEE        79 HOMETOWN DRIVE          TOMAHAWK            WI           54487                                  SUPPLIERS OR VENDORS      12/27/2018              $51.78
KOLT MAJORS               72212 AVE 342                                                               WAUNETA             NE           69045                                  SUPPLIERS OR VENDORS      10/29/2018             $214.96
KONOP COMPANIES
INCORPORATED              1725 INDUSTRIAL DRIVE                                                       GREEN BAY           WI           54302-2191                             SUPPLIERS OR VENDORS      10/18/2018            $193.50
KONOP COMPANIES
INCORPORATED              1725 INDUSTRIAL DRIVE                                                       GREEN BAY           WI           54302-2191                             SUPPLIERS OR VENDORS       11/6/2018               $3.43
KONOP COMPANIES
INCORPORATED              1725 INDUSTRIAL DRIVE                                                       GREEN BAY           WI           54302-2191                             SUPPLIERS OR VENDORS      11/15/2018             $32.18
KONOP COMPANIES
INCORPORATED              1725 INDUSTRIAL DRIVE                                                       GREEN BAY           WI           54302-2191                             SUPPLIERS OR VENDORS      11/15/2018            $883.10
KONOP COMPANIES
INCORPORATED              1725 INDUSTRIAL DRIVE                                                       GREEN BAY           WI           54302-2191                             SUPPLIERS OR VENDORS      11/27/2018            $656.95
KONOP COMPANIES
INCORPORATED              1725 INDUSTRIAL DRIVE                                                       GREEN BAY           WI           54302-2191                             SUPPLIERS OR VENDORS      11/29/2018            $248.39
KONOP COMPANIES
INCORPORATED              1725 INDUSTRIAL DRIVE                                                       GREEN BAY           WI           54302-2191                             SUPPLIERS OR VENDORS       12/6/2018            $307.96
KONOP COMPANIES
INCORPORATED              1725 INDUSTRIAL DRIVE                                                       GREEN BAY           WI           54302-2191                             SUPPLIERS OR VENDORS      12/18/2018             $85.83
KONOP COMPANIES
INCORPORATED              1725 INDUSTRIAL DRIVE                                                       GREEN BAY           WI           54302-2191                             SUPPLIERS OR VENDORS      12/20/2018            $952.40
KOOTENAI COUNTY
TREASURER                 PO BOX 6700                                                                 COEUR D ALENE       ID           83816-6700                             SUPPLIERS OR VENDORS      12/13/2018         $38,485.76
KOREY BENGSCH             W10102 COUNTY ROAD T.C.                                                     WAUPUN              WI           53963                                  SUPPLIERS OR VENDORS      11/14/2018             $25.00
KORN FERRY HAY GROUP
INCORPORATED              NW5854                    PO BOX 1450                                       MINNEAPOLIS         MN           55485-5854                             SUPPLIERS OR VENDORS      12/17/2018         $18,601.32
KORNELL KUEHL             503 COUNTY LANE                                                             FULDA               MN           56131                                  SUPPLIERS OR VENDORS       11/5/2018             $28.31
KORNELL KUEHL             503 COUNTY LANE                                                             FULDA               MN           56131                                  SUPPLIERS OR VENDORS      11/28/2018              $7.08
KOSCIUSKO COUNTY HEALTH
DEPARTMENT                100 W CENTER STREET                                                         WARSAW              IN           46580                                  SUPPLIERS OR VENDORS      12/14/2018             $20.00
KOSCIUSKO COUNTY
TREASURER                 PO BOX 1764                                                                 WARSAW              IN           46581                                  SUPPLIERS OR VENDORS       11/6/2018         $13,543.77
KOU LOR                   W10065 CEDER ROAD                                                           FREMONT             WI           54940                                  SUPPLIERS OR VENDORS      10/31/2018             $10.00
KPOK                      PO BOX 829                                                                  BOWMAN              ND           58623                                  SUPPLIERS OR VENDORS      11/26/2018             $40.00
KRAFT GENERAL FOODS
INCORPORATED              22541 NETWORK PLACE                                                         CHICAGO             IL           60673-1225                             SUPPLIERS OR VENDORS      10/24/2018        $106,326.50
KRAFT GENERAL FOODS
INCORPORATED              22541 NETWORK PLACE                                                         CHICAGO             IL           60673-1225                             SUPPLIERS OR VENDORS      10/25/2018         $91,944.33
KRAFT GENERAL FOODS
INCORPORATED              22541 NETWORK PLACE                                                         CHICAGO             IL           60673-1225                             SUPPLIERS OR VENDORS      10/31/2018        $441,093.59
KRAFT GENERAL FOODS
INCORPORATED              22541 NETWORK PLACE                                                         CHICAGO             IL           60673-1225                             SUPPLIERS OR VENDORS       11/2/2018         $17,141.79
KRAFT GENERAL FOODS
INCORPORATED              22541 NETWORK PLACE                                                         CHICAGO             IL           60673-1225                             SUPPLIERS OR VENDORS       11/3/2018         $20,573.49
KRAFT GENERAL FOODS
INCORPORATED              22541 NETWORK PLACE                                                         CHICAGO             IL           60673-1225                             SUPPLIERS OR VENDORS       11/6/2018        $111,034.25
KRAFT GENERAL FOODS
INCORPORATED              22541 NETWORK PLACE                                                         CHICAGO             IL           60673-1225                             SUPPLIERS OR VENDORS       11/7/2018           $4,165.28
KRAFT GENERAL FOODS
INCORPORATED              22541 NETWORK PLACE                                                         CHICAGO             IL           60673-1225                             SUPPLIERS OR VENDORS       11/8/2018         $85,263.09



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KRAFT GENERAL FOODS
INCORPORATED           22541 NETWORK PLACE                                                      CHICAGO             IL           60673-1225                             SUPPLIERS OR VENDORS       11/9/2018           $9,170.76
KRAFT GENERAL FOODS
INCORPORATED           22541 NETWORK PLACE                                                      CHICAGO             IL           60673-1225                             SUPPLIERS OR VENDORS      11/10/2018         $19,999.35
KRAFT GENERAL FOODS
INCORPORATED           22541 NETWORK PLACE                                                      CHICAGO             IL           60673-1225                             SUPPLIERS OR VENDORS      11/14/2018        $526,141.07
KRAFT GENERAL FOODS
INCORPORATED           22541 NETWORK PLACE                                                      CHICAGO             IL           60673-1225                             SUPPLIERS OR VENDORS      11/15/2018           $1,157.18
KRAFT GENERAL FOODS
INCORPORATED           22541 NETWORK PLACE                                                      CHICAGO             IL           60673-1225                             SUPPLIERS OR VENDORS      11/16/2018        $138,437.46
KRAFT GENERAL FOODS
INCORPORATED           22541 NETWORK PLACE                                                      CHICAGO             IL           60673-1225                             SUPPLIERS OR VENDORS      11/17/2018         $77,964.81
KRAFT GENERAL FOODS
INCORPORATED           22541 NETWORK PLACE                                                      CHICAGO             IL           60673-1225                             SUPPLIERS OR VENDORS      11/24/2018        $243,613.48
KRAFT GENERAL FOODS
INCORPORATED           22541 NETWORK PLACE                                                      CHICAGO             IL           60673-1225                             SUPPLIERS OR VENDORS      11/28/2018        $150,216.33
KRAFT GENERAL FOODS
INCORPORATED           22541 NETWORK PLACE                                                      CHICAGO             IL           60673-1225                             SUPPLIERS OR VENDORS       12/1/2018           $1,908.52
KRAFT GENERAL FOODS
INCORPORATED           22541 NETWORK PLACE                                                      CHICAGO             IL           60673-1225                             SUPPLIERS OR VENDORS       12/4/2018        $148,431.14
KRAFT GENERAL FOODS
INCORPORATED           22541 NETWORK PLACE                                                      CHICAGO             IL           60673-1225                             SUPPLIERS OR VENDORS       12/5/2018          $7,423.54
KRANTHI REALTY LLC     506 MIDDLESEX AVENUE                                                     COLONIA             NJ           07067                                  SUPPLIERS OR VENDORS      11/15/2018         $29,583.33
KRANTHI REALTY LLC     506 MIDDLESEX AVENUE                                                     COLONIA             NJ           07067                                  SUPPLIERS OR VENDORS      12/19/2018         $29,583.33
KRAUS ANDERSON
INCORPORATED           PROPERTY ID 01-1500    PO BOX 860582                                     MINNEAPOLIS         MN           55486-0582                             SUPPLIERS OR VENDORS       11/1/2018           $6,771.94
KRAUS ANDERSON
INCORPORATED           PROPERTY ID 01-1500    PO BOX 860582                                     MINNEAPOLIS         MN           55486-0582                             SUPPLIERS OR VENDORS      11/13/2018               $1.00
KRAUS ANDERSON
INCORPORATED           PROPERTY ID 01-1500    PO BOX 860582                                     MINNEAPOLIS         MN           55486-0582                             SUPPLIERS OR VENDORS       12/1/2018           $6,771.94
KRC DUBUQUE 847
INCORPORATED           PO BOX 82565                                                             GOLETA              CA           93118-2565                             SUPPLIERS OR VENDORS      11/15/2018         $56,731.93
KRIER FOODS INC        PO BOX 307                                                               RANDOM LAKE         WI           53075                                  SUPPLIERS OR VENDORS      10/31/2018         $13,047.71
KRIER FOODS INC        PO BOX 307                                                               RANDOM LAKE         WI           53075                                  SUPPLIERS OR VENDORS      11/26/2018         $11,307.59
KRIER REFRIGERATION
INCORPORATED           PO BOX 185                                                               BELGIUM             WI           53004                                  SUPPLIERS OR VENDORS      10/18/2018            $118.00
KRIER REFRIGERATION
INCORPORATED           PO BOX 185                                                               BELGIUM             WI           53004                                  SUPPLIERS OR VENDORS      11/15/2018             $41.50
KRIER REFRIGERATION
INCORPORATED           PO BOX 185                                                               BELGIUM             WI           53004                                  SUPPLIERS OR VENDORS      12/20/2018            $106.50
                                                                                                EAST GRAND
KRIS BENZIE            STORE 2-742            SHOPKO EMPLOYEE        421 GATEWAY DRIVE NE       FORKS               MN           56721                                  SUPPLIERS OR VENDORS      10/19/2018            $119.90
                                                                                                EAST GRAND
KRIS BENZIE            STORE 2-742            SHOPKO EMPLOYEE        421 GATEWAY DRIVE NE       FORKS               MN           56721                                  SUPPLIERS OR VENDORS      10/26/2018            $403.30
                                                                                                EAST GRAND
KRIS BENZIE            STORE 2-742            SHOPKO EMPLOYEE        421 GATEWAY DRIVE NE       FORKS               MN           56721                                  SUPPLIERS OR VENDORS       11/9/2018            $119.90
                                                                                                EAST GRAND
KRIS BENZIE            STORE 2-742            SHOPKO EMPLOYEE        421 GATEWAY DRIVE NE       FORKS               MN           56721                                  SUPPLIERS OR VENDORS      11/16/2018            $119.90
                                                                                                EAST GRAND
KRIS BENZIE            STORE 2-742            SHOPKO EMPLOYEE        421 GATEWAY DRIVE NE       FORKS               MN           56721                                  SUPPLIERS OR VENDORS      12/14/2018            $802.24
                                                                                                EAST GRAND
KRIS BENZIE            STORE 2-742            SHOPKO EMPLOYEE        421 GATEWAY DRIVE NE       FORKS               MN           56721                                  SUPPLIERS OR VENDORS      12/20/2018            $461.07
                                                                                                EAST GRAND
KRIS BENZIE            STORE 2-742            SHOPKO EMPLOYEE        421 GATEWAY DRIVE NE       FORKS               MN           56721                                  SUPPLIERS OR VENDORS      12/29/2018            $461.07



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                                                                                                   EAST GRAND
KRIS BENZIE             STORE 2-742              SHOPKO EMPLOYEE        421 GATEWAY DRIVE NE       FORKS               MN           56721                                  SUPPLIERS OR VENDORS       1/15/2019            $853.76
KRIS ISENSEE            7759 HWY 89                                                                COLUMBUS            WI           53925                                  SUPPLIERS OR VENDORS       11/8/2018             $25.00
                        WAGNER FAMILY LIMITED
KRIST PROPERTIES        PARTNERSHIP              PO BOX 22216                                      GREEN BAY           WI           54305-2216                             SUPPLIERS OR VENDORS       11/1/2018           $9,384.06
                        WAGNER FAMILY LIMITED
KRIST PROPERTIES        PARTNERSHIP              PO BOX 22216                                      GREEN BAY           WI           54305-2216                             SUPPLIERS OR VENDORS       12/1/2018           $9,384.06
KRISTA ARANDA           1217 RACINE ST                                                             DELAVAN             WI           53115                                  SUPPLIERS OR VENDORS       11/8/2018              $62.00
KRISTA CAPATSKE         N4828 450TH STREET                                                         ELLSWORTH           WI           54011                                  SUPPLIERS OR VENDORS      11/13/2018              $50.00
KRISTA CARY             N10106 STATE HWY M95                                                       SAGOLA              MI           49881                                  SUPPLIERS OR VENDORS      10/25/2018              $32.16
KRISTA CARY             N10106 STATE HWY M95                                                       SAGOLA              MI           49881                                  SUPPLIERS OR VENDORS       11/5/2018              $93.17
KRISTA HANLEY           STORE 2-788              SHOPKO EMPLOYEE        200 COMMERCE DRIVE         COLUMBUS            WI           53925-0000                             SUPPLIERS OR VENDORS       11/1/2018             $593.51
KRISTA ZUNIGA           614 13TH ST NE                                                             AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS       12/7/2018              $23.00
KRISTEN ALBARADO        N972 545TH ST                                                              BAY CITY            WI           54723                                  SUPPLIERS OR VENDORS      12/17/2018              $25.00
KRISTEN BALDRIDGE       1545 E PEBBLESTONE CT                                                      HAYDEN              ID           83835                                  SUPPLIERS OR VENDORS      10/22/2018             $120.00
KRISTEN CRISP           6513 STONEFIELD RD                                                         MIDDLETON           WI           53562                                  SUPPLIERS OR VENDORS      11/29/2018              $45.00
KRISTEN DIRENZO         282 SEAGRASS LOOP                                                          MYRTLE BEACH        SC           29588                                  SUPPLIERS OR VENDORS      11/26/2018              $29.00
                                                                        10996 N PORT
KRISTEN DORMAN          STORE 4-216              SHOPKO EMPLOYEE        WASHINGTON RD              MEQUON              WI           53092-5031                             SUPPLIERS OR VENDORS       11/1/2018             $68.67
                                                                        10996 N PORT
KRISTEN DORMAN          STORE 4-216              SHOPKO EMPLOYEE        WASHINGTON RD              MEQUON              WI           53092-5031                             SUPPLIERS OR VENDORS       11/8/2018            $198.75
                                                                        10996 N PORT
KRISTEN DORMAN          STORE 4-216              SHOPKO EMPLOYEE        WASHINGTON RD              MEQUON              WI           53092-5031                             SUPPLIERS OR VENDORS      12/20/2018             $21.80
KRISTEN KOSMAN          2416 DOWNY STREET                                                          GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS      10/22/2018              $5.18
KRISTEN PERROT          STORE 127                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/13/2018             $23.98
KRISTI KLEINER          6090 AMBER RIDGE DR                                                        DUBUQUE             IA           52002                                  SUPPLIERS OR VENDORS       11/1/2018             $89.99
KRISTI SARBACHER        2644 ST HELENS COURT                                                       CLARKSTON           WA           99403                                  SUPPLIERS OR VENDORS       11/8/2018            $109.00
KRISTI SCHREUR          STORE 2-687              SHOPKO EMPLOYEE        202 SW KENT                GREENFIELD          IA           50849                                  SUPPLIERS OR VENDORS       11/8/2018             $27.25
KRISTI TUTJE            421 10TH AVENUE                                                            WORTHINGTON         MN           56187                                  SUPPLIERS OR VENDORS      12/13/2018            $359.01

KRISTIE VETTER          STORE 2-789              SHOPKO EMPLOYEE        825 WEST FULTON STREET WAUPACA                 WI           54981                                  SUPPLIERS OR VENDORS      12/13/2018              $65.40
KRISTIN ASHLEY          2800 SUMMERSET CIRCLE                                                  SUAMICO                 WI           54173                                  SUPPLIERS OR VENDORS       12/5/2018              $30.02
KRISTIN HIGGINS         726 LONDON ROAD          SHOPKO EMPLOYEE                               DEERFIELD               WI           53531                                  SUPPLIERS OR VENDORS      10/19/2018             $464.60
KRISTIN HIGGINS         726 LONDON ROAD          SHOPKO EMPLOYEE                               DEERFIELD               WI           53531                                  SUPPLIERS OR VENDORS      11/16/2018             $295.55
KRISTIN HIGGINS         726 LONDON ROAD          SHOPKO EMPLOYEE                               DEERFIELD               WI           53531                                  SUPPLIERS OR VENDORS      11/27/2018             $210.45
KRISTIN HIGGINS         726 LONDON ROAD          SHOPKO EMPLOYEE                               DEERFIELD               WI           53531                                  SUPPLIERS OR VENDORS       1/15/2019             $883.01
KRISTIN MURRAY          525 TRAILS DRIVE                                                       DE FOREST               WI           53532                                  SUPPLIERS OR VENDORS      10/25/2018               $6.00
KRISTIN PETERSON        4220 FRONTAGE RD.                                                      AMHERST                 WI           54406                                  SUPPLIERS OR VENDORS      12/20/2018              $16.00
KRISTIN SMRSTICK        HOME                     SHOPKO EMPLOYEE                               GREEN BAY               WI           54307-9060                             SUPPLIERS OR VENDORS      10/25/2018             $421.58
KRISTIN SMRSTICK        HOME                     SHOPKO EMPLOYEE                               GREEN BAY               WI           54307-9060                             SUPPLIERS OR VENDORS       12/6/2018              $53.51
KRISTIN ZURMUEHLEN      17289 IRISH RIDGE ROAD                                                 BURLINGTON              IA           52601                                  SUPPLIERS OR VENDORS      10/31/2018              $40.00
KRISTINA BRUSEWITZ      CONSUMABLES              SHOPKO EMPLOYEE                               GREEN BAY               WI           54307-9060                             SUPPLIERS OR VENDORS      10/25/2018             $224.98
KRISTINA FRYE           STORE 2-697              SHOPKO EMPLOYEE        1710 NORTH STREET      SENECA                  KS           66538                                  SUPPLIERS OR VENDORS      10/18/2018              $40.88
KRISTINA FRYE           STORE 2-697              SHOPKO EMPLOYEE        1710 NORTH STREET      SENECA                  KS           66538                                  SUPPLIERS OR VENDORS      11/29/2018              $43.60
KRISTINA FRYE           STORE 2-697              SHOPKO EMPLOYEE        1710 NORTH STREET      SENECA                  KS           66538                                  SUPPLIERS OR VENDORS      12/27/2018              $52.20
KRISTINA HUMPHREY       PO BOX 1091                                                            WILLIAMSBAY             WI           53191                                  SUPPLIERS OR VENDORS       12/7/2018             $139.98
KRISTINA KING           W65N415 WESTLAWN AVE                                                   CEDARBURG               WI           53012                                  SUPPLIERS OR VENDORS      10/29/2018               $8.50
KRISTINA MATHEIS        10267 640TH AVE                                                        ADAMS                   MN           55909                                  SUPPLIERS OR VENDORS      10/31/2018               $3.00
KRISTINE KOETTER        E COMMERCE               SHOPKO EMPLOYEE                               GREEN BAY               WI           54307-9060                             SUPPLIERS OR VENDORS      10/25/2018           $2,962.95
KRISTINE KRUEGER        2206 S 9TH STREET                                                      MANITOWOC               WI           54220                                  SUPPLIERS OR VENDORS       12/5/2018              $25.00
KRISTINE LINDBERG       303 B S 5TH ST                                                         COLBY                   WI           54421                                  SUPPLIERS OR VENDORS      11/26/2018              $25.00
KRISTINE VAN BERKEL     N4106 FRENCH RD                                                        APPLETON                WI           54913                                  SUPPLIERS OR VENDORS      11/26/2018              $22.83
KRISTINE WASKOSKY       1900 S WILLOW AVE                                                      SIOUX FALLS             SD           57105                                  SUPPLIERS OR VENDORS      12/14/2018              $48.00
KRISTINE WEIDENFELLER   1516 STACY LANE                                                        FORT ATKINSON           WI           53538                                  SUPPLIERS OR VENDORS       11/5/2018              $88.00



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                                                                                                                                                                                  Reasons for payment or    Dates of     Total Amount or
       Creditor Name               Address1                 Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
KRISTOFER KROSCH         823 MCKAY STR                                                                  POCATELLO           ID           83202                                  SUPPLIERS OR VENDORS        11/26/2018               $20.00
KRISTOFER TUCKER         20 BRIGHTON CIRCLE                                                             APPLETON            WI           54915                                  SUPPLIERS OR VENDORS         11/2/2018               $25.00
KRISTOPHER HEFTI         STORE SERVICES/ STORE 024   SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/19/2018              $255.35
KRISTOPHER HEFTI         STORE SERVICES/ STORE 024   SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/2/2018              $387.37
KRISTOPHER HEFTI         STORE SERVICES/ STORE 024   SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/9/2018              $543.57
KRISTOPHER HEFTI         STORE SERVICES/ STORE 024   SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/30/2018              $148.73
KRISTOPHER HEFTI         STORE SERVICES/ STORE 024   SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/14/2018              $136.31
KRISTOPHER HEFTI         STORE SERVICES/ STORE 024   SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/29/2018              $262.79
KRISTOPHER HEFTI         STORE SERVICES/ STORE 024   SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         1/10/2019              $280.85
KRISTY ABELL             402 DELANEY DR.                                                                JACKSONVILLE        IL           62650                                  SUPPLIERS OR VENDORS        11/15/2018               $29.00
KRISTY JOHNSON           STORE 2-091                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/15/2018               $41.20
KRISTY JOHNSON           STORE 2-091                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/27/2018               $46.63
KRISTY YATES             STORE 699                   SHOPKO EMPLOYEE         1702 MAIN STREET           SCOTT CITY          KS           67871                                  SUPPLIERS OR VENDORS         11/8/2018              $211.13
KROGER                   PO BOX 677546                                                                  DALLAS              TX           75267-7546                             SUPPLIERS OR VENDORS        10/23/2018               $14.40
KROGER                   PO BOX 677546                                                                  DALLAS              TX           75267-7546                             SUPPLIERS OR VENDORS        11/27/2018                $9.99
KROGER                   PO BOX 677546                                                                  DALLAS              TX           75267-7546                             SUPPLIERS OR VENDORS         12/7/2018               $31.14
KRYSTAL BABCOCK          STORE 578                   SHOPKO EMPLOYEE         PO BOX 5275                BUENA VISTA         CO           81211                                  SUPPLIERS OR VENDORS        12/20/2018              $327.00
KRYSTAL KEISER           206 VICTOR AVE                                                                 YUTAN               NE           68073                                  SUPPLIERS OR VENDORS         12/3/2018               $30.00
KRYSTYN MACE             STORE 097                   SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/27/2018               $81.75

KS DEPT OF REVENUE       SCOTT STATE OFFICE BUILDING 120 SE 10TH AVE.                                   TOPEKA              KS           66612-1588                             SALES/USE TAX              11/27/2018               $68.34

KS DEPT OF REVENUE       SCOTT STATE OFFICE BUILDING 120 SE 10TH AVE.                                   TOPEKA              KS           66612-1588                             SALES/USE TAX              11/27/2018              $389.49

KS DEPT OF REVENUE       SCOTT STATE OFFICE BUILDING 120 SE 10TH AVE.                                   TOPEKA              KS           66612-1588                             SALES/USE TAX              11/27/2018            $1,094.66

KS DEPT OF REVENUE       SCOTT STATE OFFICE BUILDING 120 SE 10TH AVE.                                   TOPEKA              KS           66612-1588                             SALES/USE TAX              11/27/2018          $194,144.90
KSH BRANDS LLC (C-HUB)   2 MILL STREET                                                                  CORNWALL            NY           12518                                  SUPPLIERS OR VENDORS        11/8/2018              $251.97
KSH BRANDS LLC (C-HUB)   2 MILL STREET                                                                  CORNWALL            NY           12518                                  SUPPLIERS OR VENDORS       11/29/2018              $242.86
KT HEALTH LLC            584 EAST 1100 SOUTH STE 4                                                      AMERICAN FORK       UT           84003-0000                             SUPPLIERS OR VENDORS       10/18/2018              $545.67
KT HEALTH LLC            584 EAST 1100 SOUTH STE 4                                                      AMERICAN FORK       UT           84003-0000                             SUPPLIERS OR VENDORS       10/25/2018              $909.45
KT HEALTH LLC            584 EAST 1100 SOUTH STE 4                                                      AMERICAN FORK       UT           84003-0000                             SUPPLIERS OR VENDORS        11/1/2018              $545.67
KT HEALTH LLC            584 EAST 1100 SOUTH STE 4                                                      AMERICAN FORK       UT           84003-0000                             SUPPLIERS OR VENDORS        11/8/2018            $1,368.82
KT HEALTH LLC            584 EAST 1100 SOUTH STE 4                                                      AMERICAN FORK       UT           84003-0000                             SUPPLIERS OR VENDORS       11/15/2018            $1,524.32
KURT GLEN                1730 VAVRINA LANE                                                              LINCOLN             NE           68512                                  SUPPLIERS OR VENDORS       10/22/2018               $10.00
                                                                             1166 W SUNSET DRIVE
KURT HAEFS               STORE 4-217                 SHOPKO EMPLOYEE         SUITE F 100                WAUKESHA            WI           53189                                  SUPPLIERS OR VENDORS       12/27/2018              $115.59
KURT RUDESILL            N6848 563RD ST.                                                                MENOMONIE           WI           54751                                  SUPPLIERS OR VENDORS       11/13/2018              $314.96
KURT SIGLER              4670 TRAMBLE CRK                                                               COLUMBIA FALLS      MT           59912                                  SUPPLIERS OR VENDORS        11/2/2018               $13.28
KURTIS LOISELLE          628 GERMANIA ST                                                                EAU CLAIRE          WI           54703                                  SUPPLIERS OR VENDORS       11/26/2018                $1.00
KURTIS LOISELLE          628 GERMANIA ST                                                                EAU CLAIRE          WI           54703                                  SUPPLIERS OR VENDORS       11/26/2018                $2.00
KURTS ENTERPRISES        302 M AVENUE                                                                   VINTON              IA           52349                                  SUPPLIERS OR VENDORS        11/1/2018              $481.50
KURTS ENTERPRISES        302 M AVENUE                                                                   VINTON              IA           52349                                  SUPPLIERS OR VENDORS       11/15/2018              $385.20
KURTS ENTERPRISES        302 M AVENUE                                                                   VINTON              IA           52349                                  SUPPLIERS OR VENDORS       12/17/2018              $288.90
KWAMINA ADABIE           7701 S. 34TH ST                                                                LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS       10/22/2018               $25.00
KWDZ MANUFACTURING       337 S ANDERSON ST                                                              LOS ANGELES         CA           90033                                  SUPPLIERS OR VENDORS       10/25/2018          $111,296.26
KWDZ MANUFACTURING       337 S ANDERSON ST                                                              LOS ANGELES         CA           90033                                  SUPPLIERS OR VENDORS        11/1/2018           $68,106.80
KWDZ MANUFACTURING       337 S ANDERSON ST                                                              LOS ANGELES         CA           90033                                  SUPPLIERS OR VENDORS       11/15/2018            $4,232.56
KWDZ MANUFACTURING       337 S ANDERSON ST                                                              LOS ANGELES         CA           90033                                  SUPPLIERS OR VENDORS       11/22/2018            $4,204.02
KWIK TRIP EXTENDED
NETWORK                  ACCOUNT BG2250301           PO BOX 70887                                       CHARLOTTE           NC           28272-0887                             SUPPLIERS OR VENDORS        12/3/2018               $45.49
KWYR RADIO               346 MAIN STREET             PO BOX 491                                         WINNER              SD           57580                                  SUPPLIERS OR VENDORS        11/1/2018               $30.00
KY DEPT OF REVENUE       501 HIGH STREET                                                                FRANKFORT           KY           40601                                  SALES/USE TAX              11/23/2018               $15.34
KY DEPT OF REVENUE       501 HIGH STREET                                                                FRANKFORT           KY           40601                                  SALES/USE TAX              11/23/2018           $10,160.48



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KYANNA WEIGEL-STERR        3605 MILWAUKEE ST.                                                      MADISON             WI           53714                                  SUPPLIERS OR VENDORS        12/21/2018               $25.00
KYLE CROCKETT              STORE 2-090           SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/8/2018               $11.99
KYLE DRUYVESTEIN           PO BOX 778                                                              POLSON              MT           59860                                  SUPPLIERS OR VENDORS        10/26/2018              $121.96
KYLE HORTON                932 W. DOUGLAS                                                          JACKSONVILLE        IL           62650                                  SUPPLIERS OR VENDORS        12/17/2018               $14.98
KYLE KALKWARF              7325 LILEE LN                                                           LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS        10/23/2018               $32.25
KYLE NEUENS                1807 NEUENS RD                                                          NIAGARA             WI           54151                                  SUPPLIERS OR VENDORS        11/16/2018               $48.90
KYLE NIEDERMEIER           1088 SCHOOL ST.                                                         SUN PRAIRIE         WI           53590                                  SUPPLIERS OR VENDORS        11/15/2018               $25.00
KYLE TROUSDALE             19302 310TH ST                                                          MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS        11/26/2018              $123.98
KYLE WOLF                  8263 CTY. RD Y                                                          MARSHFIELD          WI           54449                                  SUPPLIERS OR VENDORS        11/26/2018               $46.00
KYLER GAINES               116 W LEONARD ST                                                        WATERTOWN           WI           53098                                  SUPPLIERS OR VENDORS        11/29/2018               $23.00
KYM RAPPERT                2019 SCHANACK DR                                                        GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS         11/2/2018            $4,210.50

L & C DG INVESTMENTS LLC   3604 N WINIFRED WAY                                                     LAKE HAVASU         AZ           86404                                  SUPPLIERS OR VENDORS        11/1/2018           $14,583.33

L & C DG INVESTMENTS LLC   3604 N WINIFRED WAY                                                     LAKE HAVASU         AZ           86404                                  SUPPLIERS OR VENDORS        11/1/2018           $34,432.67

L & C DG INVESTMENTS LLC   3604 N WINIFRED WAY                                                     LAKE HAVASU         AZ           86404                                  SUPPLIERS OR VENDORS        11/3/2018           $16,250.00

L & C DG INVESTMENTS LLC   3604 N WINIFRED WAY                                                     LAKE HAVASU         AZ           86404                                  SUPPLIERS OR VENDORS       11/10/2018           $24,500.00

L & C DG INVESTMENTS LLC   3604 N WINIFRED WAY                                                     LAKE HAVASU         AZ           86404                                  SUPPLIERS OR VENDORS        12/1/2018           $14,583.33

L & C DG INVESTMENTS LLC   3604 N WINIFRED WAY                                                     LAKE HAVASU         AZ           86404                                  SUPPLIERS OR VENDORS        12/1/2018           $34,432.67

L & C DG INVESTMENTS LLC   3604 N WINIFRED WAY                                                     LAKE HAVASU         AZ           86404                                  SUPPLIERS OR VENDORS        12/5/2018           $16,250.00

L & C DG INVESTMENTS LLC   3604 N WINIFRED WAY                                                     LAKE HAVASU         AZ           86404                                  SUPPLIERS OR VENDORS        12/8/2018           $24,500.00

L & E BOTTLING COMPANY     PO BOX 11159                                                            OLYMPIA             WA           98508-1159                             SUPPLIERS OR VENDORS       10/18/2018              $302.79

L & E BOTTLING COMPANY     PO BOX 11159                                                            OLYMPIA             WA           98508-1159                             SUPPLIERS OR VENDORS       10/25/2018              $550.61

L & E BOTTLING COMPANY     PO BOX 11159                                                            OLYMPIA             WA           98508-1159                             SUPPLIERS OR VENDORS        11/1/2018              $297.03

L & E BOTTLING COMPANY     PO BOX 11159                                                            OLYMPIA             WA           98508-1159                             SUPPLIERS OR VENDORS        11/8/2018              $219.53

L & E BOTTLING COMPANY     PO BOX 11159                                                            OLYMPIA             WA           98508-1159                             SUPPLIERS OR VENDORS       11/15/2018              $399.22

L & E BOTTLING COMPANY     PO BOX 11159                                                            OLYMPIA             WA           98508-1159                             SUPPLIERS OR VENDORS       11/22/2018              $519.98

L & E BOTTLING COMPANY     PO BOX 11159                                                            OLYMPIA             WA           98508-1159                             SUPPLIERS OR VENDORS       11/29/2018              $419.37

L & E BOTTLING COMPANY     PO BOX 11159                                                            OLYMPIA             WA           98508-1159                             SUPPLIERS OR VENDORS       12/20/2018            $1,811.14
L & M MAIL SERVICE
INCORPORATED               PO BOX 805                                                              EAU CLAIRE          WI           54703-0000                             SUPPLIERS OR VENDORS       10/18/2018              $106.00
L & M MAIL SERVICE
INCORPORATED               PO BOX 805                                                              EAU CLAIRE          WI           54703-0000                             SUPPLIERS OR VENDORS       11/29/2018              $106.00
L & S PROPERTIES OF
WEBSTER LLC                1104 18TH AVENUE NE                                                     ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       11/15/2018            $4,200.00
L & S PROPERTIES OF
WEBSTER LLC                1104 18TH AVENUE NE                                                     ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       11/15/2018            $4,500.00
L & S PROPERTIES OF
WEBSTER LLC                1104 18TH AVENUE NE                                                     ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       11/15/2018            $5,000.00




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L & S PROPERTIES OF
WEBSTER LLC             1104 18TH AVENUE NE                                                               ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS      12/19/2018           $4,200.00
L & S PROPERTIES OF
WEBSTER LLC             1104 18TH AVENUE NE                                                               ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS      12/19/2018           $4,500.00
L & S PROPERTIES OF
WEBSTER LLC             1104 18TH AVENUE NE                                                               ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS      12/19/2018           $5,000.00

L AMY INCORPORATED      40 RICHARDS AVE 6TH FLOOR                                                         NORWALK             CT           06854                                  SUPPLIERS OR VENDORS      10/18/2018            $839.07

L AMY INCORPORATED      40 RICHARDS AVE 6TH FLOOR                                                         NORWALK             CT           06854                                  SUPPLIERS OR VENDORS      10/25/2018         $13,505.37

L AMY INCORPORATED      40 RICHARDS AVE 6TH FLOOR                                                         NORWALK             CT           06854                                  SUPPLIERS OR VENDORS       11/1/2018            $809.10

L AMY INCORPORATED      40 RICHARDS AVE 6TH FLOOR                                                         NORWALK             CT           06854                                  SUPPLIERS OR VENDORS      11/15/2018            $719.40

L AMY INCORPORATED      40 RICHARDS AVE 6TH FLOOR                                                         NORWALK             CT           06854                                  SUPPLIERS OR VENDORS      11/29/2018           $2,691.30

L AMY INCORPORATED      40 RICHARDS AVE 6TH FLOOR                                                         NORWALK             CT           06854                                  SUPPLIERS OR VENDORS      12/12/2018            $251.30

L AMY INCORPORATED      40 RICHARDS AVE 6TH FLOOR                                                         NORWALK             CT           06854                                  SUPPLIERS OR VENDORS      12/18/2018           $1,372.80

L AMY INCORPORATED      40 RICHARDS AVE 6TH FLOOR                                                         NORWALK             CT           06854                                  SUPPLIERS OR VENDORS      12/27/2018            $839.10
L C INDUSTRIES LLC      DEPT 10120                      PO BOX 87618                                      CHICAGO             IL           60680-0618                             SUPPLIERS OR VENDORS      10/19/2018          $1,861.74
L C INDUSTRIES LLC      DEPT 10120                      PO BOX 87618                                      CHICAGO             IL           60680-0618                             SUPPLIERS OR VENDORS      10/26/2018          $2,816.15
L C INDUSTRIES LLC      DEPT 10120                      PO BOX 87618                                      CHICAGO             IL           60680-0618                             SUPPLIERS OR VENDORS       11/2/2018          $1,530.85
L C INDUSTRIES LLC      DEPT 10120                      PO BOX 87618                                      CHICAGO             IL           60680-0618                             SUPPLIERS OR VENDORS       11/9/2018         $10,066.13
L C INDUSTRIES LLC      DEPT 10120                      PO BOX 87618                                      CHICAGO             IL           60680-0618                             SUPPLIERS OR VENDORS      11/16/2018          $3,806.50
L C INDUSTRIES LLC      DEPT 10120                      PO BOX 87618                                      CHICAGO             IL           60680-0618                             SUPPLIERS OR VENDORS      11/30/2018          $4,643.55
L FRANCES CARAMEL
COMPANY LLC             2500C N LYNNDALE DRIVE                                                            APPLETON            WI           54914                                  SUPPLIERS OR VENDORS      10/18/2018            $129.60
L FRANCES CARAMEL
COMPANY LLC             2500C N LYNNDALE DRIVE                                                            APPLETON            WI           54914                                  SUPPLIERS OR VENDORS      10/25/2018             $43.20
L FRANCES CARAMEL
COMPANY LLC             2500C N LYNNDALE DRIVE                                                            APPLETON            WI           54914                                  SUPPLIERS OR VENDORS       11/8/2018            $129.60
L FRANCES CARAMEL
COMPANY LLC             2500C N LYNNDALE DRIVE                                                            APPLETON            WI           54914                                  SUPPLIERS OR VENDORS      11/15/2018             $86.40
L FRANCES CARAMEL
COMPANY LLC             2500C N LYNNDALE DRIVE                                                            APPLETON            WI           54914                                  SUPPLIERS OR VENDORS      11/22/2018             $43.20
L FRANCES CARAMEL
COMPANY LLC             2500C N LYNNDALE DRIVE                                                            APPLETON            WI           54914                                  SUPPLIERS OR VENDORS      11/29/2018             $43.20
L FRANCES CARAMEL
COMPANY LLC             2500C N LYNNDALE DRIVE                                                            APPLETON            WI           54914                                  SUPPLIERS OR VENDORS      12/20/2018            $259.20
L FRANCES CARAMEL
COMPANY LLC             2500C N LYNNDALE DRIVE                                                            APPLETON            WI           54914                                  SUPPLIERS OR VENDORS      12/27/2018           $1,075.20
L POWELL ACQUISITION    CIT GROUP COMMERCIAL
CORP                    SERVICES INC                    PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/8/2018            $317.00
L POWELL ACQUISITION    CIT GROUP COMMERCIAL
CORP                    SERVICES INC                    PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/9/2018         $17,710.92
L POWELL ACQUISITION    CIT GROUP COMMERCIAL
CORP                    SERVICES INC                    PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       12/4/2018            $222.00
L POWELL ACQUISITION    CIT GROUP COMMERCIAL
CORP                    SERVICES INC                    PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      12/14/2018             $28.00
L POWELL ACQUISITIONS                                                                                                                                                             PURCHASE OF
CORP                    22 JERICHO TURNPIKE SUITE 200                                                     MINEOLA             NY           11501                                  MERCHANDISE                11/9/2018         $55,989.36



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L S I INCORPORATED NEW
GLARUS FOODS               USE V# 9254409-007         200 INDUSTRIAL DRIVE                               NEW GLARUS          WI           53574                                  SUPPLIERS OR VENDORS      10/18/2018           $1,715.12
L S I INCORPORATED NEW
GLARUS FOODS               USE V# 9254409-007         200 INDUSTRIAL DRIVE                               NEW GLARUS          WI           53574                                  SUPPLIERS OR VENDORS      10/25/2018         $28,343.63
L S I INCORPORATED NEW
GLARUS FOODS               USE V# 9254409-007         200 INDUSTRIAL DRIVE                               NEW GLARUS          WI           53574                                  SUPPLIERS OR VENDORS       11/8/2018         $11,637.53
L S I INCORPORATED NEW
GLARUS FOODS               USE V# 9254409-007         200 INDUSTRIAL DRIVE                               NEW GLARUS          WI           53574                                  SUPPLIERS OR VENDORS      11/15/2018         $13,398.21
L S I INCORPORATED NEW
GLARUS FOODS               USE V# 9254409-007         200 INDUSTRIAL DRIVE                               NEW GLARUS          WI           53574                                  SUPPLIERS OR VENDORS      11/22/2018         $15,585.52
L S I INCORPORATED NEW
GLARUS FOODS               USE V# 9254409-007         200 INDUSTRIAL DRIVE                               NEW GLARUS          WI           53574                                  SUPPLIERS OR VENDORS      11/29/2018           $9,919.36

LA CROSSE CITY TREASURER CITY HALL                    400 LA CROSSE ST                                   LA CROSSE           WI           54601-3396                             SUPPLIERS OR VENDORS      11/15/2018            $203.00

LA CROSSE CITY TREASURER CITY HALL                    400 LA CROSSE ST                                   LA CROSSE           WI           54601-3396                             SUPPLIERS OR VENDORS      11/16/2018           $1,546.16

LA CROSSE CITY TREASURER   CITY HALL                  400 LA CROSSE ST                                   LA CROSSE           WI           54601-3396                             SUPPLIERS OR VENDORS      11/26/2018            $287.00
LA CROSSE TECHNOLOGY       2809 LOSEY BOULEVARD 5                                                        LA CROSSE           WI           54601-7366                             SUPPLIERS OR VENDORS      10/18/2018          $5,720.04
LA CROSSE TECHNOLOGY       2809 LOSEY BOULEVARD 5                                                        LA CROSSE           WI           54601-7366                             SUPPLIERS OR VENDORS      10/25/2018          $8,181.72
LA CROSSE TECHNOLOGY       2809 LOSEY BOULEVARD 5                                                        LA CROSSE           WI           54601-7366                             SUPPLIERS OR VENDORS       11/1/2018          $6,247.20
LA CROSSE TECHNOLOGY       2809 LOSEY BOULEVARD 5                                                        LA CROSSE           WI           54601-7366                             SUPPLIERS OR VENDORS       11/8/2018          $4,231.96
LA CROSSE TECHNOLOGY       2809 LOSEY BOULEVARD 5                                                        LA CROSSE           WI           54601-7366                             SUPPLIERS OR VENDORS      11/15/2018          $1,501.82
LA CROSSE TECHNOLOGY       2809 LOSEY BOULEVARD 5                                                        LA CROSSE           WI           54601-7366                             SUPPLIERS OR VENDORS      11/22/2018          $4,398.60
LA CROSSE TECHNOLOGY       2809 LOSEY BOULEVARD 5                                                        LA CROSSE           WI           54601-7366                             SUPPLIERS OR VENDORS      11/29/2018         $10,216.74
LA TOYA HUGHES             216 W ARNDT ST                                                                FOND DU LAC         WI           54935                                  SUPPLIERS OR VENDORS      12/13/2018             $16.00
LA VONNE EASTVOLD          131 NORTH COUNTY RD #56                                                       LEROY               MN           55951                                  SUPPLIERS OR VENDORS      11/12/2018            $114.12
LACEY MARTEN               3725 TRIBECCA DR           APT 108                                            MIDDLETON           WI           53562                                  SUPPLIERS OR VENDORS      10/22/2018             $55.00
LACEY PEARSON              STORE 2-120                SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/2/2018            $103.55
LACEY PEARSON              STORE 2-120                SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/30/2018            $103.55
LACEY PEARSON              STORE 2-120                SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        1/5/2019            $103.55
LACEY REYNOLDS             170 EAST KEYRIDGE CIRCLE                                                      OREM                UT           84058                                  SUPPLIERS OR VENDORS       12/3/2018             $10.51
LACROSSE SHOPKO
PROPERTIES LLC             PO BOX 15928                                                                  BEVERLY HILLS       CA           90209                                  SUPPLIERS OR VENDORS       11/1/2018         $57,598.99
LACROSSE SHOPKO
PROPERTIES LLC             PO BOX 15928                                                                  BEVERLY HILLS       CA           90209                                  SUPPLIERS OR VENDORS       11/1/2018         $63,662.04
LACROSSE SHOPKO
PROPERTIES LLC             PO BOX 15928                                                                  BEVERLY HILLS       CA           90209                                  SUPPLIERS OR VENDORS       12/4/2018         $57,598.99
LACROSSE SHOPKO
PROPERTIES LLC             PO BOX 15928                                                                  BEVERLY HILLS       CA           90209                                  SUPPLIERS OR VENDORS       12/4/2018         $63,662.04
LACY BLAU                  276 270TH AVE                                                                 FULDA               MN           56131                                  SUPPLIERS OR VENDORS       11/5/2018              $3.00
LADIBUGS LLC               PO BOX 183                                                                    BUFFALO             MN           55313                                  SUPPLIERS OR VENDORS      10/18/2018            $518.28
LADIBUGS LLC               PO BOX 183                                                                    BUFFALO             MN           55313                                  SUPPLIERS OR VENDORS      10/25/2018            $407.46
LADIBUGS LLC               PO BOX 183                                                                    BUFFALO             MN           55313                                  SUPPLIERS OR VENDORS       11/1/2018            $760.74
LADIBUGS LLC               PO BOX 183                                                                    BUFFALO             MN           55313                                  SUPPLIERS OR VENDORS       11/8/2018            $640.22
LADIBUGS LLC               PO BOX 183                                                                    BUFFALO             MN           55313                                  SUPPLIERS OR VENDORS      11/15/2018            $413.28
LADIBUGS LLC               PO BOX 183                                                                    BUFFALO             MN           55313                                  SUPPLIERS OR VENDORS      11/22/2018            $407.46
LADIBUGS LLC               PO BOX 183                                                                    BUFFALO             MN           55313                                  SUPPLIERS OR VENDORS      11/29/2018            $497.46
LAFORCE INCORPORATED       PO BOX 10068                                                                  GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       11/9/2018          $1,107.75
LAKE CITY FENCE LLC        2425 N 9TH STREET                                                             COEUR D ALENE       ID           83814                                  SUPPLIERS OR VENDORS      12/17/2018          $1,655.33
LAKE COUNTY PUBLIC
HEALTH AGENCY              ENVIRONMENTAL HEALTH       112 W 5TH STREET        PO BOX 626                 LEADVILLE           CO           80461                                  SUPPLIERS OR VENDORS       12/7/2018             $353.00
LAKE COUNTY TREASURER      2293 NORTH MAIN STREET                                                        CROWN POINT         IN           46307                                  SUPPLIERS OR VENDORS       11/6/2018           $2,450.25




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                                                                                                                                                                           Reasons for payment or    Dates of     Total Amount or
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LAKE REGION HEALTHCARE    712 CASCADE ST S                                                        FERGUS FALLS        MN           56537                                  SUPPLIERS OR VENDORS      12/17/2018              $19.57
LAKEFIELD FAIRMONT &      TRUE VALUE HARDWARE
PIPESTONE                 STORES                304 MAIN STREET                                   LAKEFILED           MN           56150                                  SUPPLIERS OR VENDORS      11/29/2018                $8.59
                                                6911 W DONGES BAY
LAKELAND STORAGE          PETER HITLER          ROAD                                              MEQUON              WI           53092                                  SUPPLIERS OR VENDORS      11/26/2018              $56.00
                                                6911 W DONGES BAY
LAKELAND STORAGE          PETER HITLER          ROAD                                              MEQUON              WI           53092                                  SUPPLIERS OR VENDORS      12/10/2018              $56.00
                                                6911 W DONGES BAY
LAKELAND STORAGE          PETER HITLER          ROAD                                              MEQUON              WI           53092                                  SUPPLIERS OR VENDORS      12/21/2018              $56.00

LAKES AREA COOPERATIVE    PO BOX 247                                                              PERHAM              MN           56573                                  SUPPLIERS OR VENDORS      10/25/2018             $305.00
LAKESIDE PEPSI COLA
COMPANY                   300 FOREST AVENUE                                                       SHEBOYGAN FALLS WI               53085                                  SUPPLIERS OR VENDORS      10/18/2018              $31.68
LAKESIDE PEPSI COLA
COMPANY                   300 FOREST AVENUE                                                       SHEBOYGAN FALLS WI               53085                                  SUPPLIERS OR VENDORS      10/18/2018             $212.14
LAKESIDE PEPSI COLA
COMPANY                   300 FOREST AVENUE                                                       SHEBOYGAN FALLS WI               53085                                  SUPPLIERS OR VENDORS      10/25/2018            $3,310.92
LAKESIDE PEPSI COLA
COMPANY                   300 FOREST AVENUE                                                       SHEBOYGAN FALLS WI               53085                                  SUPPLIERS OR VENDORS       11/1/2018              $15.84
LAKESIDE PEPSI COLA
COMPANY                   300 FOREST AVENUE                                                       SHEBOYGAN FALLS WI               53085                                  SUPPLIERS OR VENDORS       11/1/2018            $1,362.74
LAKESIDE PEPSI COLA
COMPANY                   300 FOREST AVENUE                                                       SHEBOYGAN FALLS WI               53085                                  SUPPLIERS OR VENDORS       11/8/2018             $614.72
LAKESIDE PEPSI COLA
COMPANY                   300 FOREST AVENUE                                                       SHEBOYGAN FALLS WI               53085                                  SUPPLIERS OR VENDORS      11/15/2018             $994.44
LAKESIDE PEPSI COLA
COMPANY                   300 FOREST AVENUE                                                       SHEBOYGAN FALLS WI               53085                                  SUPPLIERS OR VENDORS      11/22/2018            $2,826.94
LAKESIDE PEPSI COLA
COMPANY                   300 FOREST AVENUE                                                       SHEBOYGAN FALLS WI               53085                                  SUPPLIERS OR VENDORS      11/29/2018            $2,220.94
LAKESIDE PEPSI COLA
COMPANY                   300 FOREST AVENUE                                                       SHEBOYGAN FALLS WI               53085                                  SUPPLIERS OR VENDORS      12/17/2018              $15.84
LAKESIDE PEPSI COLA
COMPANY                   300 FOREST AVENUE                                                       SHEBOYGAN FALLS WI               53085                                  SUPPLIERS OR VENDORS      12/19/2018            $7,028.06
LAKESIDE PEPSI COLA
COMPANY                   300 FOREST AVENUE                                                       SHEBOYGAN FALLS WI               53085                                  SUPPLIERS OR VENDORS      12/20/2018             $327.24
LAKESIDE PEPSI COLA
COMPANY                   300 FOREST AVENUE                                                       SHEBOYGAN FALLS WI               53085                                  SUPPLIERS OR VENDORS      12/21/2018             $248.52
LAKESIDE PEPSI COLA
COMPANY                   300 FOREST AVENUE                                                       SHEBOYGAN FALLS WI               53085                                  SUPPLIERS OR VENDORS         1/3/2019             $15.84

LAKEVILLE MOTOR EXPRESS   PO BOX 130280         PAM TO ORACLE                                     ST PAUL             MN           55113                                  SUPPLIERS OR VENDORS      10/19/2018            $3,250.04

LAKEVILLE MOTOR EXPRESS   PO BOX 130280         PAM TO ORACLE                                     ST PAUL             MN           55113                                  SUPPLIERS OR VENDORS      10/23/2018             $165.05

LAKEVILLE MOTOR EXPRESS   PO BOX 130280         PAM TO ORACLE                                     ST PAUL             MN           55113                                  SUPPLIERS OR VENDORS      10/23/2018            $2,111.95

LAKEVILLE MOTOR EXPRESS   PO BOX 130280         PAM TO ORACLE                                     ST PAUL             MN           55113                                  SUPPLIERS OR VENDORS      10/26/2018            $3,211.65

LAKEVILLE MOTOR EXPRESS   PO BOX 130280         PAM TO ORACLE                                     ST PAUL             MN           55113                                  SUPPLIERS OR VENDORS      10/30/2018            $2,916.70

LAKEVILLE MOTOR EXPRESS   PO BOX 130280         PAM TO ORACLE                                     ST PAUL             MN           55113                                  SUPPLIERS OR VENDORS       11/2/2018            $3,222.61

LAKEVILLE MOTOR EXPRESS   PO BOX 130280         PAM TO ORACLE                                     ST PAUL             MN           55113                                  SUPPLIERS OR VENDORS       11/2/2018            $3,317.77



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LAKEVILLE MOTOR EXPRESS   PO BOX 130280           PAM TO ORACLE                                     ST PAUL             MN           55113                                  SUPPLIERS OR VENDORS       11/6/2018           $2,633.85

LAKEVILLE MOTOR EXPRESS   PO BOX 130280           PAM TO ORACLE                                     ST PAUL             MN           55113                                  SUPPLIERS OR VENDORS       11/9/2018           $3,672.95

LAKEVILLE MOTOR EXPRESS   PO BOX 130280           PAM TO ORACLE                                     ST PAUL             MN           55113                                  SUPPLIERS OR VENDORS      11/13/2018           $1,419.93

LAKEVILLE MOTOR EXPRESS   PO BOX 130280           PAM TO ORACLE                                     ST PAUL             MN           55113                                  SUPPLIERS OR VENDORS      11/13/2018           $6,556.19

LAKEVILLE MOTOR EXPRESS   PO BOX 130280           PAM TO ORACLE                                     ST PAUL             MN           55113                                  SUPPLIERS OR VENDORS      11/16/2018           $3,433.42

LAKEVILLE MOTOR EXPRESS   PO BOX 130280           PAM TO ORACLE                                     ST PAUL             MN           55113                                  SUPPLIERS OR VENDORS      11/27/2018         $13,359.64

LAKEVILLE MOTOR EXPRESS   PO BOX 130280           PAM TO ORACLE                                     ST PAUL             MN           55113                                  SUPPLIERS OR VENDORS      11/30/2018           $1,883.58

LAKEVILLE MOTOR EXPRESS   PO BOX 130280           PAM TO ORACLE                                     ST PAUL             MN           55113                                  SUPPLIERS OR VENDORS       12/4/2018           $3,838.06

LAKEVILLE MOTOR EXPRESS   PO BOX 130280           PAM TO ORACLE                                     ST PAUL             MN           55113                                  SUPPLIERS OR VENDORS       12/7/2018           $2,537.79

LAKEVILLE MOTOR EXPRESS   PO BOX 130280           PAM TO ORACLE                                     ST PAUL             MN           55113                                  SUPPLIERS OR VENDORS      12/11/2018           $2,528.17

LAKEVILLE MOTOR EXPRESS   PO BOX 130280           PAM TO ORACLE                                     ST PAUL             MN           55113                                  SUPPLIERS OR VENDORS      12/14/2018           $3,007.18

LAKEVILLE MOTOR EXPRESS   PO BOX 130280           PAM TO ORACLE                                     ST PAUL             MN           55113                                  SUPPLIERS OR VENDORS        1/4/2019         $16,029.70
LAMAR COMPANIES           PO BOX 96030                                                              BATON ROUGE         LA           70896                                  SUPPLIERS OR VENDORS       11/1/2018          $6,717.00
LAMO SHEEPSKIN INC
(CHUB)                    4238 GREEN RIVER RD                                                       CORONA              CA           92880                                  SUPPLIERS OR VENDORS      10/19/2018             $48.00
LAMO SHEEPSKIN INC
(CHUB)                    4238 GREEN RIVER RD                                                       CORONA              CA           92880                                  SUPPLIERS OR VENDORS       11/2/2018             $26.50
LAMO SHEEPSKIN INC
(CHUB)                    4238 GREEN RIVER RD                                                       CORONA              CA           92880                                  SUPPLIERS OR VENDORS       11/9/2018             $27.50
LAMO SHEEPSKIN INC
(CHUB)                    4238 GREEN RIVER RD                                                       CORONA              CA           92880                                  SUPPLIERS OR VENDORS      11/23/2018             $27.50
LAMO SHEEPSKIN INC
(CHUB)                    4238 GREEN RIVER RD                                                       CORONA              CA           92880                                  SUPPLIERS OR VENDORS      11/27/2018             $27.50
LANA SCHULZ               STORE 2-109             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/8/2018             $20.27
LANCE KING                2104 E 1ST STREET                                                         SIOUX FALLS         SD           57103                                  SUPPLIERS OR VENDORS      12/13/2018             $42.00
LANCE MORAN               STORE 2-029             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/8/2018             $63.22
LANCE MORAN               STORE 2-029             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/29/2018            $452.35
LANCE MORAN               STORE 2-029             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/13/2018             $63.22
LANCE MORAN               STORE 2-029             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/27/2018            $296.28
LANCE OWENS               4601 MANDRAKE RD                                                          MADISON             WI           53704                                  SUPPLIERS OR VENDORS      12/21/2018             $25.00
LANCE WALDEE              562 120TH ST                                                              SHERBURN            MN           56171                                  SUPPLIERS OR VENDORS       12/7/2018             $23.00
LANDMARK IMPLEMENT
INCORPORATED              221 LAKE AVENUE                                                           GOTHENBURG          NE           69138                                  SUPPLIERS OR VENDORS      11/13/2018            $299.06
LANDON GROSE              STORE 082               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/14/2018            $699.14

LANDSCAPE INNOVATIONS &
CONSTRUCTION            1005 N CLINTON ST                                                           WALLA WALLA         WA           99362                                  SUPPLIERS OR VENDORS       11/8/2018            $359.37

LANDSCAPE INNOVATIONS &
CONSTRUCTION            1005 N CLINTON ST                                                           WALLA WALLA         WA           99362                                  SUPPLIERS OR VENDORS      12/17/2018            $931.10
LANE COUNTY DEPARTMENT
OF                      ASSESSMENT AND TAXATION   125 EAST 8TH AVENUE                               EUGENE              OR           97401                                  SUPPLIERS OR VENDORS      11/12/2018        $177,504.59



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LANE STEINHAUS             N9074 CORNING RD                                                              PORTAGE             WI           53901                                  SUPPLIERS OR VENDORS        12/21/2018               $25.00
                           LANES RECYCLING & RENT A
LANES R & R                BOX                        2978 SOUTH RD N                                    ULYSSES             KS           67880                                  SUPPLIERS OR VENDORS        11/1/2018              $380.00

LANGERUDE LANDSCAPE LLC 1527 19 1/4 ST                                                                   CAMERON             WI           54822                                  SUPPLIERS OR VENDORS       10/25/2018              $411.45

LANGERUDE LANDSCAPE LLC    1527 19 1/4 ST                                                                CAMERON             WI           54822                                  SUPPLIERS OR VENDORS       12/17/2018              $205.73
LANSE AREA SCHOOLS
BOOSTER CLUB               4 N 4TH STREET                                                                LANSE               MI           49946                                  SUPPLIERS OR VENDORS        11/1/2018               $90.00
LARAMIE RANGE WATER
TREATMENT                  PO BOX 1298                                                                   DOUGLAS             WY           82633                                  SUPPLIERS OR VENDORS        11/2/2018               $13.00
LARAMIE RANGE WATER
TREATMENT                  PO BOX 1298                                                                   DOUGLAS             WY           82633                                  SUPPLIERS OR VENDORS       11/13/2018               $13.00
LARAMIE RANGE WATER
TREATMENT                  PO BOX 1298                                                                   DOUGLAS             WY           82633                                  SUPPLIERS OR VENDORS       11/16/2018               $10.00
LARENA VAN PELT            P.O. BOX 573                                                                  WHITE SWAN          WA           98952                                  SUPPLIERS OR VENDORS       10/19/2018               $81.94
LAREW GOEHRING             3205 385TH AVE NORTH                                                          ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       11/12/2018                $6.00
                           CIT GROUP COMMERCIAL       201 S TRYON STREET STE
LAROSE IND DBA CRA Z ART   SERVICES INC               300                                                CHARLOTTE           NC           28202                                  SUPPLIERS OR VENDORS        11/5/2018            $3,212.71
                           CIT GROUP COMMERCIAL       201 S TRYON STREET STE
LAROSE IND DBA CRA Z ART   SERVICES INC               300                                                CHARLOTTE           NC           28202                                  SUPPLIERS OR VENDORS        11/8/2018           $29,563.92
                           CIT GROUP COMMERCIAL       201 S TRYON STREET STE
LAROSE IND DBA CRA Z ART   SERVICES INC               300                                                CHARLOTTE           NC           28202                                  SUPPLIERS OR VENDORS       11/22/2018           $12,355.50
                           CIT GROUP COMMERCIAL       201 S TRYON STREET STE
LAROSE IND DBA CRA Z ART   SERVICES INC               300                                                CHARLOTTE           NC           28202                                  SUPPLIERS OR VENDORS       11/28/2018              $446.98
                           CIT GROUP COMMERCIAL       201 S TRYON STREET STE
LAROSE IND DBA CRA Z ART   SERVICES INC               300                                                CHARLOTTE           NC           28202                                  SUPPLIERS OR VENDORS        12/4/2018               $31.15
LARRY ANDERSON             28674 ULRICH AVE                                                              WORTHINGTON         MN           56187                                  SUPPLIERS OR VENDORS        11/8/2018               $45.00
LARRY ANGELO               907 N. DIAMOND                                                                JACKSONVILLE        IL           62650                                  SUPPLIERS OR VENDORS       10/24/2018               $45.00
LARRY BROWN                1007 PRAIRIE MILLS ROAD                                                       GOLDEN              IL           62339                                  SUPPLIERS OR VENDORS       10/25/2018               $67.54
LARRY DRUM                 578 MELLEN STREET                                                             QUINNESEC           MI           49876                                  SUPPLIERS OR VENDORS        11/1/2018               $10.00
LARRY ENDERSON             607 SHERWOOD AVE                                                              ALBERT LEA          MN           56007                                  SUPPLIERS OR VENDORS       12/17/2018               $67.96
LARRY EWING                N6041 STATE RD 89                                                             DELAVAN             WI           53115                                  SUPPLIERS OR VENDORS       11/29/2018                $1.00
LARRY FORMANEK             45479 STATE HWY 91                                                            LINDSAY             NE           68644                                  SUPPLIERS OR VENDORS       11/29/2018               $14.15
LARRY FORMANEK             45479 STATE HWY 91                                                            LINDSAY             NE           68644                                  SUPPLIERS OR VENDORS       12/13/2018               $61.85
LARRY HAEFNER              130 12TH STREET S                                                             WI RAPIDS           WI           54494                                  SUPPLIERS OR VENDORS       12/14/2018              $222.00
LARRY HARRINGTON           4416 WALKER WAY                                                               SIOUX FALLS         SD           57103                                  SUPPLIERS OR VENDORS        12/7/2018               $48.00
LARRY HOLLISTER            3534 EAST MEADOWS PLACE    APT.# 3                                            EAU CLAIRE          WI           54701                                  SUPPLIERS OR VENDORS       10/25/2018               $10.56
LARRY LARSEN               311 N 6TH ST.                                                                 STICKNEY            SD           57375                                  SUPPLIERS OR VENDORS        12/7/2018               $44.80
LARRY LARSON               308 WOLCOTT AVE                                                               KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS        11/5/2018                $9.76
LARRY LARSON               308 WOLCOTT AVE                                                               KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS       11/26/2018               $39.04
LARRY MEYERS               527 RAINBOW DR                                                                MILTON              WI           53563                                  SUPPLIERS OR VENDORS       10/22/2018               $20.02
LARRY PEASE                PO BOX 195                                                                    BLOOMFIELD          NE           68718                                  SUPPLIERS OR VENDORS       11/26/2018               $13.38
LARRY PICHE                N13934 01 LANE                                                                CARNEY              MI           49812                                  SUPPLIERS OR VENDORS       11/28/2018               $25.00
LARRY PODOLL               W13352 COTTONVILLE LANE                                                       COLOMA              WI           54930                                  SUPPLIERS OR VENDORS       10/26/2018               $42.00
LARRY RULE                 102 S PEWABIC ST                                                              CALUMET             MI           49913                                  SUPPLIERS OR VENDORS       11/26/2018                $9.64
LARRY SCHIAVO              1743 HWY 141                                                                  CRYSTAL FALLS       MI           49920                                  SUPPLIERS OR VENDORS       10/24/2018                $1.39
LARRY SCHUCH               4548 20TH ST                                                                  ELK MOUND           WI           54739                                  SUPPLIERS OR VENDORS       11/26/2018               $39.99
LARRY SMITH                2587 SOUTHSIDE BLVD                                                           MELBA               ID           83641                                  SUPPLIERS OR VENDORS       11/26/2018               $45.98
LARRY TJOLAND              808 LELAND ST                                                                 LITTLE ROCK         IA           51243                                  SUPPLIERS OR VENDORS       10/29/2018                $2.43
LARRY WALTZER              STORE 562                  SHOPKO EMPLOYEE          702 WESTVIEW LANE         STANLEY             ND           58784                                  SUPPLIERS OR VENDORS        11/2/2018              $209.28
LARRY WALTZER              STORE 562                  SHOPKO EMPLOYEE          702 WESTVIEW LANE         STANLEY             ND           58784                                  SUPPLIERS OR VENDORS        11/9/2018              $104.64
LARRY WILLIAMS             W770 CO HWY N                                                                 NIAGARA             WI           54151                                  SUPPLIERS OR VENDORS       10/25/2018                $9.76
LARRY WILLIAMS             W770 CO HWY N                                                                 NIAGARA             WI           54151                                  SUPPLIERS OR VENDORS        12/3/2018               $39.04



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LARRYS DISTRIBUTING CO
INC                       3815 PLAYBIRD ROAD                                                            SHEBOYGAN           WI           53083                                  SUPPLIERS OR VENDORS      10/18/2018            $314.40
LARRYS DISTRIBUTING CO
INC                       3815 PLAYBIRD ROAD                                                            SHEBOYGAN           WI           53083                                  SUPPLIERS OR VENDORS      10/19/2018            $157.00
LARRYS DISTRIBUTING CO
INC                       3815 PLAYBIRD ROAD                                                            SHEBOYGAN           WI           53083                                  SUPPLIERS OR VENDORS      10/25/2018            $428.55
LARRYS DISTRIBUTING CO
INC                       3815 PLAYBIRD ROAD                                                            SHEBOYGAN           WI           53083                                  SUPPLIERS OR VENDORS      12/20/2018            $140.57
LARRYS DISTRIBUTING CO
INC                       3815 PLAYBIRD ROAD                                                            SHEBOYGAN           WI           53083                                  SUPPLIERS OR VENDORS      12/21/2018             $58.00
LARRYS PIGGLY WIGGLY      575 SWAN ROAD                                                                 DE PERE             WI           54115                                  SUPPLIERS OR VENDORS       11/1/2018            $318.49
LARRYS PIGGLY WIGGLY      575 SWAN ROAD                                                                 DE PERE             WI           54115                                  SUPPLIERS OR VENDORS       11/8/2018             $62.84

LASER PEGS VENTURES LLC   1991 MAIN STREET STE 227                                                      SARASOTA            FL           34236                                  SUPPLIERS OR VENDORS      10/19/2018         $31,763.50

LASER PEGS VENTURES LLC   1991 MAIN STREET STE 227                                                      SARASOTA            FL           34236                                  SUPPLIERS OR VENDORS       11/9/2018         $85,062.64
LASKO PRODUCTS
INCORPORATED              VICE PRESIDENT OF SALES     820 LINCOLN AVENUE                                WEST CHESTER        PA           19380                                  SUPPLIERS OR VENDORS      11/14/2018         $57,689.11
LASKO PRODUCTS
INCORPORATED              VICE PRESIDENT OF SALES     820 LINCOLN AVENUE                                WEST CHESTER        PA           19380                                  SUPPLIERS OR VENDORS      11/29/2018           $7,179.83
LATISHIA DAVIS            STORE 540                   SHOPKO EMPLOYEE        334 E HIGHWAY 302          KERMIT              TX           79745-5105                             SUPPLIERS OR VENDORS      11/16/2018              $60.94
LATISHIA DAVIS            STORE 540                   SHOPKO EMPLOYEE        334 E HIGHWAY 302          KERMIT              TX           79745-5105                             SUPPLIERS OR VENDORS      12/11/2018              $76.63
LAURA EVANS               15 NEZ PERCE                                                                  CODY                WY           82414                                  SUPPLIERS OR VENDORS      11/28/2018              $32.00
LAURA FENNELL             STORE 4-025                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/22/2018             $228.90
LAURA FREDRICKSON         927 BALDWIN                                                                   NEGAUNEE            MI           49866                                  SUPPLIERS OR VENDORS      11/26/2018              $23.00
LAURA GERENCER            STORE 643                   SHOPKO EMPLOYEE        PO BOX 979                 NEWAYGO             MI           49337                                  SUPPLIERS OR VENDORS      12/22/2018              $99.19
LAURA GOELZ               SHOPKO 130                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/16/2018              $89.93
LAURA GOELZ               SHOPKO 130                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/27/2018              $87.14
LAURA GOELZ               SHOPKO 130                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/11/2018             $147.78
LAURA HOLMES              STORE 081                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       1/15/2019              $84.62
LAURA JORGENSON           44008 US HWY 12                                                               WEBSTER             SD           57274                                  SUPPLIERS OR VENDORS      12/13/2018              $44.16
LAURA LOWY                1200 2ND DR NE                                                                AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS      12/20/2018               $3.00
LAURA MILLER              STORE 075                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/1/2018              $93.54
LAURA RANDALL             113 S. SEGOE                                                                  MADISON             WI           53705                                  SUPPLIERS OR VENDORS      10/22/2018              $30.00
LAURA RIVEST              PO BOX 63                                                                     HUBBELL             MI           49934                                  SUPPLIERS OR VENDORS       11/1/2018               $9.60
LAURA ROMAN               1215 RANGE VIEW CIRCLE.                                                       RAPID CITY          SD           57701                                  SUPPLIERS OR VENDORS      11/12/2018               $9.32
LAURA ROMAN               1215 RANGE VIEW CIRCLE.                                                       RAPID CITY          SD           57701                                  SUPPLIERS OR VENDORS      11/12/2018              $25.00
LAURA SCHWANEBECK         2913 MARCONNIT CIRCLE                                                         NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS      10/26/2018              $40.00
LAURA TJOMSLAND           1706 2ND ST NE                                                                AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS      10/29/2018             $125.00
LAURA WADE                8408 IVANHOE PLACE                                                            STURTEVANT          WI           53177                                  SUPPLIERS OR VENDORS      11/26/2018              $72.00
LAURA WILSON              407 ARBUTUS AVE             APT 101                                           OCONTO              WI           54153                                  SUPPLIERS OR VENDORS       12/5/2018              $25.00
LAURAL BOSSARD            APPAREL                     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/15/2018             $928.88
LAURE KRAWCZYK            2854 S RIDGE RD                                                               GREEN BAY           WI           54304                                  SUPPLIERS OR VENDORS      12/19/2018              $68.86
LAUREN CALDERON           605 NORTHWEST ST                                                              PALMYRA             WI           53156                                  SUPPLIERS OR VENDORS       12/7/2018             $130.00

LAUREN COOPER             226 CASTLE TERRACE AVENUE                                                     FONTANA             WI           53125                                  SUPPLIERS OR VENDORS      11/13/2018            $235.97
LAUREN GILANYI            2074 E. VISTA CIRCLE                                                          DE PERE             WI           54115                                  SUPPLIERS OR VENDORS      11/28/2018             $44.00
                                                                             10996 N PORT
LAUREN LEYTON             STORE 4-216                 SHOPKO EMPLOYEE        WASHINGTON RD              MEQUON              WI           53092-5031                             SUPPLIERS OR VENDORS      12/13/2018            $193.48
                                                                             10996 N PORT
LAUREN LEYTON             STORE 4-216                 SHOPKO EMPLOYEE        WASHINGTON RD              MEQUON              WI           53092-5031                             SUPPLIERS OR VENDORS      12/20/2018            $277.95
                                                                             10996 N PORT
LAUREN LEYTON             STORE 4-216                 SHOPKO EMPLOYEE        WASHINGTON RD              MEQUON              WI           53092-5031                             SUPPLIERS OR VENDORS      12/27/2018            $213.64
LAUREN MILLER             1604 S. HARRISON ST.                                                          KENNEWICK           WA           99336                                  SUPPLIERS OR VENDORS      12/13/2018             $31.78



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                                                                                                                                                                               Reasons for payment or    Dates of     Total Amount or
      Creditor Name                Address1              Address2                  Address3                City               State       Zip              Country                    transfer          Payments            Value
LAUREN POST              STORE 2-139               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/8/2018                $5.45
LAUREN POST              STORE 2-139               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/13/2018                $6.00
LAURIE BECKER            524 REGAL FORREST TRAIL                                                     NEKOOSA             WI           54457                                  SUPPLIERS OR VENDORS        11/29/2018               $10.56

LAURIE BLAKNEY           901 E 17 STREET                                                             SOUTH SIOUX CITY NE              68776                                  SUPPLIERS OR VENDORS       10/31/2018               $24.00
LAURIE BRINK             STORE 671                 SHOPKO EMPLOYEE        PO BOX 469                 WAUKON           IA              52172                                  SUPPLIERS OR VENDORS       11/15/2018                $6.54
LAURIE DIESSNER          108 W. 9TH RD                                                               DONIPHAN         NE              68832                                  SUPPLIERS OR VENDORS       10/31/2018               $60.00

LAURIE FERAN-HALVERSON   STORE 2-027               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/18/2018              $115.00

LAURIE FERAN-HALVERSON   STORE 2-027               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/6/2018              $131.89
LAURIE GIRAUD            13547 INLAND AVE                                                            SPARTA              WI           54656                                  SUPPLIERS OR VENDORS       12/19/2018              $186.00
LAURIE HUSTON            2210 ROWE LN                                                                ALBERT LEA          MN           56007                                  SUPPLIERS OR VENDORS        11/5/2018               $35.67
                                                                          800 S WASHINGTON
LAURIE LEASE             STORE 2-746               SHOPKO EMPLOYEE        AVENUE                     MADISON             SD           57042                                  SUPPLIERS OR VENDORS       10/18/2018               $95.38
                                                                          800 S WASHINGTON
LAURIE LEASE             STORE 2-746               SHOPKO EMPLOYEE        AVENUE                     MADISON             SD           57042                                  SUPPLIERS OR VENDORS       10/25/2018               $95.38
                                                                          800 S WASHINGTON
LAURIE LEASE             STORE 2-746               SHOPKO EMPLOYEE        AVENUE                     MADISON             SD           57042                                  SUPPLIERS OR VENDORS        11/1/2018              $190.76
                                                                          800 S WASHINGTON
LAURIE LEASE             STORE 2-746               SHOPKO EMPLOYEE        AVENUE                     MADISON             SD           57042                                  SUPPLIERS OR VENDORS        11/8/2018               $98.10
                                                                          800 S WASHINGTON
LAURIE LEASE             STORE 2-746               SHOPKO EMPLOYEE        AVENUE                     MADISON             SD           57042                                  SUPPLIERS OR VENDORS        12/6/2018              $294.30
                                                                          800 S WASHINGTON
LAURIE LEASE             STORE 2-746               SHOPKO EMPLOYEE        AVENUE                     MADISON             SD           57042                                  SUPPLIERS OR VENDORS       12/27/2018              $294.30
LAURIE RAMSEY            526 SANDY LANE                                                              MOSINEE             WI           54455                                  SUPPLIERS OR VENDORS        11/8/2018               $39.00
LAURIE TENNIS            STORE 2-054               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/8/2018              $228.90
LAURIE TENNIS            STORE 2-054               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/15/2018              $481.50
LAURIE TENNIS            STORE 2-054               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/13/2018              $374.50
LAURIE WENDLING          STORE 776                 SHOPKO EMPLOYEE        925 N 6TH STREET           GREYBULL            WY           82426                                  SUPPLIERS OR VENDORS       10/18/2018               $25.89
LAURIE WENDLING          STORE 776                 SHOPKO EMPLOYEE        925 N 6TH STREET           GREYBULL            WY           82426                                  SUPPLIERS OR VENDORS       11/15/2018               $24.85
LAURIE WENDLING          STORE 776                 SHOPKO EMPLOYEE        925 N 6TH STREET           GREYBULL            WY           82426                                  SUPPLIERS OR VENDORS       12/13/2018               $24.85
LAURIE ZASTROW           3537 SOUTH LAW AVENUE                                                       BOISE               ID           83706                                  SUPPLIERS OR VENDORS       11/26/2018               $65.00
LAVAUN WIND              107 34TH ST WEST                                                            CLEAR LAKE          IA           50428                                  SUPPLIERS OR VENDORS       11/26/2018               $30.02
LAVELLE LAWN CARE LLC    28574 HWY 175                                                               ELDORA              IA           50627                                  SUPPLIERS OR VENDORS        11/1/2018              $112.35
LAVELLE LAWN CARE LLC    28574 HWY 175                                                               ELDORA              IA           50627                                  SUPPLIERS OR VENDORS       11/29/2018               $74.90
LAVERN NISSEN            BOX 1                                                                       PETERSBURG          NE           68652                                  SUPPLIERS OR VENDORS       12/11/2018               $13.38
LAVINA IVERSON           1805 WESTMINSTER AVE      APT 14                                            WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS       10/24/2018               $44.16
LAVONNE JOHNSON          BOX 302                                                                     FLOYD               IA           50435                                  SUPPLIERS OR VENDORS       11/14/2018               $48.00
LAVONNE JOHNSON          BOX 527                                                                     FREDERICK           SD           57441                                  SUPPLIERS OR VENDORS        12/7/2018               $48.64
LAVONNE ROHRBACH         33136 141ST ST.                                                             ROSCOE              SD           57471                                  SUPPLIERS OR VENDORS       12/13/2018               $48.64
LAVONNE SCHWIER          117 SOUTH STREET EAST                                                       WYKOFF              MN           55990                                  SUPPLIERS OR VENDORS       11/29/2018              $102.87
LAVONNE SCHWIER          117 SOUTH STREET EAST                                                       WYKOFF              MN           55990                                  SUPPLIERS OR VENDORS        12/3/2018               $18.02
LAVONNE VOLZKE           917 S HOLT                                                                  SIOUX FALLS         SD           57103                                  SUPPLIERS OR VENDORS       11/12/2018               $12.00
LAW FIRM OF CONWAY
OLEJNICZAK JERRY         231 S ADAMS ST                                                              GREEN BAY           WI           54301                                  BANKRUPTCY SERVICES          1/8/2019            $5,000.00
LAWN RANGERS             PO BOX 42                                                                   VALLEY SPRINGS      SD           57068                                  SUPPLIERS OR VENDORS        11/9/2018              $468.60
LAWN RANGERS             PO BOX 42                                                                   VALLEY SPRINGS      SD           57068                                  SUPPLIERS OR VENDORS       12/18/2018              $234.30
                                                   708 CLEARWATER
LAWN WIZARD              STEVE HANZLIK             COURT                                             NORTH PLATTE        NE           69101                                  SUPPLIERS OR VENDORS       10/18/2018              $464.60
                                                   708 CLEARWATER
LAWN WIZARD              STEVE HANZLIK             COURT                                             NORTH PLATTE        NE           69101                                  SUPPLIERS OR VENDORS       11/29/2018              $442.50

LAWNCARE BY WALTER INC   PO BOX 5037                                                                 ROCKFORD            IL           61125                                  SUPPLIERS OR VENDORS       10/18/2018              $120.00



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                                                                                                                                                                                 Reasons for payment or    Dates of     Total Amount or
     Creditor Name                   Address1               Address2                  Address3                 City              State       Zip              Country                   transfer          Payments            Value

LAWNCARE BY WALTER INC   PO BOX 5037                                                                    ROCKFORD            IL           61125                                  SUPPLIERS OR VENDORS      10/25/2018             $120.00

LAWNCARE BY WALTER INC   PO BOX 5037                                                                    ROCKFORD            IL           61125                                  SUPPLIERS OR VENDORS       11/8/2018             $120.00

LAWNCARE BY WALTER INC   PO BOX 5037                                                                    ROCKFORD            IL           61125                                  SUPPLIERS OR VENDORS      11/15/2018             $120.00

LAWNCARE PROFESSIONALS
INCORPORATED             PO BOX 310                                                                     BIG BEND            WI           53103-0310                             SUPPLIERS OR VENDORS       11/8/2018            $2,930.40
LAWNS OF MONTANA         CARL CHRISTOFFERSON          PO BOX 17123                                      MISSOULA            MT           59808                                  SUPPLIERS OR VENDORS       11/2/2018              $480.00
LAWNS OF MONTANA         CARL CHRISTOFFERSON          PO BOX 17123                                      MISSOULA            MT           59808                                  SUPPLIERS OR VENDORS      11/30/2018              $360.00
LAWNS OF MONTANA         CARL CHRISTOFFERSON          PO BOX 17123                                      MISSOULA            MT           59808                                  SUPPLIERS OR VENDORS      12/14/2018              $165.00
LAWRENCE ADDISON         STORE 4-041                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/8/2018              $296.25
LAWRENCE COUNTY
TREASURER                PO BOX 338                                                                     BEDFORD             IN           47421                                  SUPPLIERS OR VENDORS       11/6/2018             $411.00
LAWRENCE PEITZ           89547 557 AVE                                                                  FORDYCE             NE           68736                                  SUPPLIERS OR VENDORS      10/24/2018              $13.38
LAWRENCE PIERSON         808 HILLS AVENUE, APT. 211                                                     JACKSON             MN           56143                                  SUPPLIERS OR VENDORS      11/30/2018               $3.00
LAWRENCE SCHNIDER        STORE 2-667                  SHOPKO EMPLOYEE        1501 PARK STREET           SHELDON             IA           51201                                  SUPPLIERS OR VENDORS       11/1/2018             $111.73
LAWRENCE SCHNIDER        STORE 2-667                  SHOPKO EMPLOYEE        1501 PARK STREET           SHELDON             IA           51201                                  SUPPLIERS OR VENDORS      11/15/2018              $97.66
LAWRENCE SEYBOLD         680 OAK ST APT 220                                                             OSHKOSH             WI           54901                                  SUPPLIERS OR VENDORS       11/8/2018              $15.00
LAWRENCE WYPISHINSKI     2340 SOUTH COUNTY RD P                                                         LUXEMBURG           WI           54217                                  SUPPLIERS OR VENDORS      10/19/2018              $19.00
LAYHLA KEAIRNS           2426 MOHAWK DRIVE                                                              SIOUX CITY          IA           51104                                  SUPPLIERS OR VENDORS      10/29/2018              $15.00
LAYNE BERG               437 SLALOM DR.                                                                 BILLINGS            MT           59102                                  SUPPLIERS OR VENDORS      11/28/2018              $25.00
LB MEDWASTE SERVICES
INCORPORATED             PO BOX 54                                                                      WAUSAU              WI           54402-0054                             SUPPLIERS OR VENDORS         1/5/2019            $443.43
LCN NORTH AMERICA REIT                                888 SEVENTH AVENUE
FUND                     C/O LCN CAPITAL PARTNERS     4TH FLOOR                                         NEW YORK            NY           10019                                  SUPPLIERS OR VENDORS       11/1/2018         $316,336.68
LCN NORTH AMERICA REIT                                888 SEVENTH AVENUE
FUND                     C/O LCN CAPITAL PARTNERS     4TH FLOOR                                         NEW YORK            NY           10019                                  SUPPLIERS OR VENDORS       12/4/2018         $212,486.88
LCN NORTH AMERICA REIT                                888 SEVENTH AVENUE
FUND                     C/O LCN CAPITAL PARTNERS     4TH FLOOR                                         NEW YORK            NY           10019                                  SUPPLIERS OR VENDORS      12/12/2018         $384,896.46
LDEAN NICHOLS            STORE 646                    SHOPKO EMPLOYEE        3825 S HURON ROAD          STADISH             MI           48658                                  SUPPLIERS OR VENDORS       11/2/2018             $133.84
LEA BEDNAROWSKI          2013 HENRY ST                                                                  NEENAH              WI           54956                                  SUPPLIERS OR VENDORS      11/29/2018               $8.90
LEA COUNTY TREASURER     100 N MAIN AVENUE STE 3C                                                       LOVINGTON           NM           88260-4000                             SUPPLIERS OR VENDORS       12/4/2018           $1,675.31
LEA RYDER                3410 KASE RD                                                                   HELENA              MT           59602                                  SUPPLIERS OR VENDORS      12/11/2018               $6.66
LEADVILLE HOLDING LLC    2439 KUSER ROAD                                                                HAMILTON            NJ           08690                                  SUPPLIERS OR VENDORS      11/15/2018          $10,833.33
LEADVILLE HOLDING LLC    2439 KUSER ROAD                                                                HAMILTON            NJ           08690                                  SUPPLIERS OR VENDORS      12/19/2018          $10,833.33
LEAH BAILEY              3335 N 40TH ST                                                                 OMAHA               NE           68111                                  SUPPLIERS OR VENDORS      10/22/2018              $42.00
LEAH HARMON              9532 SANDHILL DRIVE                                                            SCHOFIELD           WI           54476                                  SUPPLIERS OR VENDORS      11/26/2018               $5.20
                                                                             10996 N PORT
LEAH HUSEMOEN            STORE 4-216                  SHOPKO EMPLOYEE        WASHINGTON RD              MEQUON              WI           53092-5031                             SUPPLIERS OR VENDORS       11/1/2018              $54.50
                                                                             10996 N PORT
LEAH HUSEMOEN            STORE 4-216                  SHOPKO EMPLOYEE        WASHINGTON RD              MEQUON              WI           53092-5031                             SUPPLIERS OR VENDORS      11/22/2018              $26.16
                                                                             10996 N PORT
LEAH HUSEMOEN            STORE 4-216                  SHOPKO EMPLOYEE        WASHINGTON RD              MEQUON              WI           53092-5031                             SUPPLIERS OR VENDORS      12/13/2018               $9.00
LEAH REDIG               365 3RD AVE SE                                                                 BRITT               IA           50423                                  SUPPLIERS OR VENDORS      10/31/2018             $150.00
LEAH ROISUM              385 MARSHVIEW DR                                                               SUN PRAIRIE         WI           53590                                  SUPPLIERS OR VENDORS       11/8/2018              $25.00
LEAH WATKINS             STORE 4-035                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/1/2018               $8.72
LEANDER VYHILDAHL        300 S 25TH                                                                     NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS      12/13/2018              $53.54
LEANNA SCHROEDER         26265 274TH STREET                                                             HOLCOMBE            WI           54745                                  SUPPLIERS OR VENDORS       11/9/2018               $3.00
LEANNE BRADWISCH         40507 LEWIS ST.                                                                MITCHELL            SD           57301                                  SUPPLIERS OR VENDORS       11/9/2018              $42.88
LEANNE TOMASCHEFSKY      113 KROLL RD                                                                   PULASKI             WI           54162                                  SUPPLIERS OR VENDORS       12/7/2018             $120.00
LEANNE WIRTH             18101 OLD CHENEY RD                                                            WALTON              NE           68461                                  SUPPLIERS OR VENDORS       12/3/2018              $11.98




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                                                                                                                                                                               Reasons for payment or    Dates of    Total Amount or
       Creditor Name                Address1              Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
LEARNING CURVE BRANDS L
LC                        NOW TOMY                                                                    CHICAGO             IL           60694-9700                             SUPPLIERS OR VENDORS      10/18/2018           $2,060.13
LEARNING CURVE BRANDS L
LC                        NOW TOMY                                                                    CHICAGO             IL           60694-9700                             SUPPLIERS OR VENDORS      10/23/2018           $1,427.18
LEARNING CURVE BRANDS L
LC                        NOW TOMY                                                                    CHICAGO             IL           60694-9700                             SUPPLIERS OR VENDORS      10/25/2018           $1,234.86
LEARNING CURVE BRANDS L
LC                        NOW TOMY                                                                    CHICAGO             IL           60694-9700                             SUPPLIERS OR VENDORS      10/30/2018           $1,510.81
LEARNING CURVE BRANDS L
LC                        NOW TOMY                                                                    CHICAGO             IL           60694-9700                             SUPPLIERS OR VENDORS       11/1/2018           $1,330.80
LEARNING CURVE BRANDS L
LC                        NOW TOMY                                                                    CHICAGO             IL           60694-9700                             SUPPLIERS OR VENDORS       11/6/2018            $592.18
LEARNING CURVE BRANDS L
LC                        NOW TOMY                                                                    CHICAGO             IL           60694-9700                             SUPPLIERS OR VENDORS       11/8/2018           $2,976.64
LEARNING CURVE BRANDS L
LC                        NOW TOMY                                                                    CHICAGO             IL           60694-9700                             SUPPLIERS OR VENDORS      11/15/2018           $2,941.00
LEARNING CURVE BRANDS L
LC                        NOW TOMY                                                                    CHICAGO             IL           60694-9700                             SUPPLIERS OR VENDORS      11/27/2018           $6,337.94
LEARNING CURVE BRANDS L
LC                        NOW TOMY                                                                    CHICAGO             IL           60694-9700                             SUPPLIERS OR VENDORS      11/29/2018           $6,907.91
LEE BEVERAGE OF
WISCONSIN L L C           1211 E RICHMOND           PAM TO ORACLE                                     SHAWANO             WI           54166-0000                             SUPPLIERS OR VENDORS      10/22/2018            $278.00
LEE BEVERAGE OF
WISCONSIN L L C           1211 E RICHMOND           PAM TO ORACLE                                     SHAWANO             WI           54166-0000                             SUPPLIERS OR VENDORS      10/29/2018            $527.34
LEE BEVERAGE OF
WISCONSIN L L C           1211 E RICHMOND           PAM TO ORACLE                                     SHAWANO             WI           54166-0000                             SUPPLIERS OR VENDORS       11/5/2018            $322.50
LEE BEVERAGE OF
WISCONSIN L L C           1211 E RICHMOND           PAM TO ORACLE                                     SHAWANO             WI           54166-0000                             SUPPLIERS OR VENDORS       11/8/2018             $93.52
LEE BEVERAGE OF
WISCONSIN L L C           1211 E RICHMOND           PAM TO ORACLE                                     SHAWANO             WI           54166-0000                             SUPPLIERS OR VENDORS      11/12/2018            $345.00
LEE BEVERAGE OF
WISCONSIN L L C           1211 E RICHMOND           PAM TO ORACLE                                     SHAWANO             WI           54166-0000                             SUPPLIERS OR VENDORS      11/22/2018            $292.50
LEE BEVERAGE OF
WISCONSIN L L C           1211 E RICHMOND           PAM TO ORACLE                                     SHAWANO             WI           54166-0000                             SUPPLIERS OR VENDORS      11/26/2018            $600.00
LEE BEVERAGE OF
WISCONSIN L L C           1211 E RICHMOND           PAM TO ORACLE                                     SHAWANO             WI           54166-0000                             SUPPLIERS OR VENDORS       12/3/2018            $330.00
LEE BEVERAGE OF
WISCONSIN L L C           1211 E RICHMOND           PAM TO ORACLE                                     SHAWANO             WI           54166-0000                             SUPPLIERS OR VENDORS       12/5/2018             $59.76
LEE BEVERAGE OF
WISCONSIN L L C           1211 E RICHMOND           PAM TO ORACLE                                     SHAWANO             WI           54166-0000                             SUPPLIERS OR VENDORS      12/11/2018            $420.00
LEE COUNTY HEALTH         309 SOUTH GALENA AVENUE
DEPARTMENT                SUITE 100                                                                   DIXON               IL           61021                                  SUPPLIERS OR VENDORS       11/2/2018             $80.00
LEE JACKSON               630 10TH ST #3                                                              CLARKSTON           WA           99403                                  SUPPLIERS OR VENDORS      11/29/2018             $51.20
LEE NEEL                  891 MC DONOUGH                                                              ARCHER              NE           68816                                  SUPPLIERS OR VENDORS      10/22/2018             $77.00
LEE SCHULTZ               7129 E ROTAMER RD                                                           MILTON              WI           53563                                  SUPPLIERS OR VENDORS       11/2/2018             $30.00
LEEANN CLIFTON            STORE 659                 SHOPKO EMPLOYEE        2410 DAHLKE AVE            AUBURN              NE           68305                                  SUPPLIERS OR VENDORS      12/14/2018            $243.20
LEE-BREITBACH L L P       18841 ADAMS DRIVE                                                           SAUK CENTRE         MN           56378-0430                             SUPPLIERS OR VENDORS      11/10/2018         $17,050.00
LEE-BREITBACH L L P       18841 ADAMS DRIVE                                                           SAUK CENTRE         MN           56378-0430                             SUPPLIERS OR VENDORS       12/8/2018         $17,050.00
LEECO ENERGY &
INVESTMENTS
INCORPORATED              3501 BILLY HEXT ROAD                                                        ODESSA              TX           79765                                  SUPPLIERS OR VENDORS      10/27/2018           $4,789.97
LEECO ENERGY &
INVESTMENTS
INCORPORATED              3501 BILLY HEXT ROAD                                                        ODESSA              TX           79765                                  SUPPLIERS OR VENDORS       11/3/2018         $11,090.00



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                                                                                                                                                                        Reasons for payment or    Dates of    Total Amount or
      Creditor Name             Address1           Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
LEECO ENERGY &
INVESTMENTS
INCORPORATED          3501 BILLY HEXT ROAD                                                     ODESSA              TX           79765                                  SUPPLIERS OR VENDORS       12/5/2018         $11,090.00
LEENA KORKEAKOSKI     STORE 134              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       1/15/2019            $298.52

LEGACY CB LLC         PO BOX 25277                                                             SHAWNEE MISSION KS               66225                                  SUPPLIERS OR VENDORS      10/25/2018         $89,094.00

LEGACY CB LLC         PO BOX 25277                                                             SHAWNEE MISSION KS               66225                                  SUPPLIERS OR VENDORS       11/1/2018         $56,148.88
LEGO SYSTEMS
INCORPORATED          PO BOX 415898                                                            BOSTON              MA           02241-5898                             SUPPLIERS OR VENDORS      10/18/2018        $249,613.23
LEGO SYSTEMS
INCORPORATED          PO BOX 415898                                                            BOSTON              MA           02241-5898                             SUPPLIERS OR VENDORS      10/29/2018         $72,809.23
LEGO SYSTEMS
INCORPORATED          PO BOX 415898                                                            BOSTON              MA           02241-5898                             SUPPLIERS OR VENDORS       11/2/2018            $107.82
LEGO SYSTEMS
INCORPORATED          PO BOX 415898                                                            BOSTON              MA           02241-5898                             SUPPLIERS OR VENDORS       11/5/2018         $29,427.18
LEGO SYSTEMS
INCORPORATED          PO BOX 415898                                                            BOSTON              MA           02241-5898                             SUPPLIERS OR VENDORS       11/6/2018           $1,676.38
LEGO SYSTEMS
INCORPORATED          PO BOX 415898                                                            BOSTON              MA           02241-5898                             SUPPLIERS OR VENDORS       11/8/2018        $118,125.54
LEGO SYSTEMS
INCORPORATED          PO BOX 415898                                                            BOSTON              MA           02241-5898                             SUPPLIERS OR VENDORS      11/13/2018         $25,575.05
LEGO SYSTEMS
INCORPORATED          PO BOX 415898                                                            BOSTON              MA           02241-5898                             SUPPLIERS OR VENDORS      11/14/2018         $12,451.81
LEGO SYSTEMS
INCORPORATED          PO BOX 415898                                                            BOSTON              MA           02241-5898                             SUPPLIERS OR VENDORS      11/22/2018        $110,050.27
LEGO SYSTEMS
INCORPORATED          PO BOX 415898                                                            BOSTON              MA           02241-5898                             SUPPLIERS OR VENDORS      11/23/2018         $26,934.56
LEGO SYSTEMS
INCORPORATED          PO BOX 415898                                                            BOSTON              MA           02241-5898                             SUPPLIERS OR VENDORS      11/28/2018         $56,702.80
LEGO SYSTEMS
INCORPORATED          PO BOX 415898                                                            BOSTON              MA           02241-5898                             SUPPLIERS OR VENDORS       12/5/2018        $166,602.77
LEHRKINDS COCA COLA
BOTTLING              1715 N ROUSE PO                                                          BOSEMAN             MT           59719-0580                             SUPPLIERS OR VENDORS      10/23/2018           $1,987.07
LEHRKINDS COCA COLA
BOTTLING              1715 N ROUSE PO                                                          BOSEMAN             MT           59719-0580                             SUPPLIERS OR VENDORS      10/25/2018               $1.50
LEHRKINDS COCA COLA
BOTTLING              1715 N ROUSE PO                                                          BOSEMAN             MT           59719-0580                             SUPPLIERS OR VENDORS      10/26/2018             $86.00
LEHRKINDS COCA COLA
BOTTLING              1715 N ROUSE PO                                                          BOSEMAN             MT           59719-0580                             SUPPLIERS OR VENDORS      10/26/2018            $282.48
LEHRKINDS COCA COLA
BOTTLING              1715 N ROUSE PO                                                          BOSEMAN             MT           59719-0580                             SUPPLIERS OR VENDORS      10/30/2018           $1,099.28
LEHRKINDS COCA COLA
BOTTLING              1715 N ROUSE PO                                                          BOSEMAN             MT           59719-0580                             SUPPLIERS OR VENDORS       11/1/2018             $53.96
LEHRKINDS COCA COLA
BOTTLING              1715 N ROUSE PO                                                          BOSEMAN             MT           59719-0580                             SUPPLIERS OR VENDORS       11/6/2018           $3,863.62
LEHRKINDS COCA COLA
BOTTLING              1715 N ROUSE PO                                                          BOSEMAN             MT           59719-0580                             SUPPLIERS OR VENDORS       11/9/2018             $86.00
LEHRKINDS COCA COLA
BOTTLING              1715 N ROUSE PO                                                          BOSEMAN             MT           59719-0580                             SUPPLIERS OR VENDORS       11/9/2018            $871.20
LEHRKINDS COCA COLA
BOTTLING              1715 N ROUSE PO                                                          BOSEMAN             MT           59719-0580                             SUPPLIERS OR VENDORS      11/13/2018            $675.66
LEHRKINDS COCA COLA
BOTTLING              1715 N ROUSE PO                                                          BOSEMAN             MT           59719-0580                             SUPPLIERS OR VENDORS      11/15/2018             $98.18



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LEHRKINDS COCA COLA
BOTTLING                1715 N ROUSE PO                                                               BOSEMAN             MT           59719-0580                             SUPPLIERS OR VENDORS      11/23/2018           $1,414.18
LEHRKINDS COCA COLA
BOTTLING                1715 N ROUSE PO                                                               BOSEMAN             MT           59719-0580                             SUPPLIERS OR VENDORS      11/27/2018            $416.40
LEHRKINDS COCA COLA
BOTTLING                1715 N ROUSE PO                                                               BOSEMAN             MT           59719-0580                             SUPPLIERS OR VENDORS       12/4/2018            $741.98
LEHRKINDS COCA COLA
BOTTLING                1715 N ROUSE PO                                                               BOSEMAN             MT           59719-0580                             SUPPLIERS OR VENDORS      12/14/2018            $181.38
LEIF STREET             401 MEMORIAL RD            APT 1                                              HOUGHTON            MI           49931                                  SUPPLIERS OR VENDORS      10/26/2018             $15.00
LEIGH HARDER            4720 CR PG                                                                    ISHPEMING           MI           49849                                  SUPPLIERS OR VENDORS      11/26/2018             $19.55
LEISURE MERCHANDISING
CORP                    105 NORTHFIELD AVENUE                                                         EDISON              NJ           08837                                  SUPPLIERS OR VENDORS      10/19/2018         $16,160.20
LEISURE MERCHANDISING
CORP                    105 NORTHFIELD AVENUE                                                         EDISON              NJ           08837                                  SUPPLIERS OR VENDORS      11/14/2018         $16,808.24
LEISURE MERCHANDISING
CORP                    105 NORTHFIELD AVENUE                                                         EDISON              NJ           08837                                  SUPPLIERS OR VENDORS      11/16/2018         $20,927.72
LEISURE MERCHANDISING
CORP                    105 NORTHFIELD AVENUE                                                         EDISON              NJ           08837                                  SUPPLIERS OR VENDORS      11/30/2018           $6,573.93
LEISURE MERCHANDISING
CORP                    105 NORTHFIELD AVENUE                                                         EDISON              NJ           08837                                  SUPPLIERS OR VENDORS      12/11/2018            $453.69

LELAND HERSRUD          411 S. WISCONSIN DRIVE - #202                                                 JEFFERSON           WI           53549                                  SUPPLIERS OR VENDORS       12/5/2018             $20.00
LELAND LAWN             200 SW SKYLINE                                                                PULLMAN             WA           99163                                  SUPPLIERS OR VENDORS      10/18/2018          $1,034.88
LELAND LAWN             200 SW SKYLINE                                                                PULLMAN             WA           99163                                  SUPPLIERS OR VENDORS      11/29/2018            $161.70
LELIA HANSEN-BATES      710 S LOUISIANA                                                               MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS       11/1/2018             $12.00
LEMHI COUNTY            206 COURTHOUSE DRIVE                                                          SALMON              ID           83467                                  SUPPLIERS OR VENDORS      12/13/2018         $25,819.39
LENNON KELLER           913 W 36TH ST                                                                 SIOUX FALLS         SD           57105                                  SUPPLIERS OR VENDORS      10/31/2018             $39.98
LENORA SIEFKES          858 S 44TH ST                                                                 LINCOLN             NE           68510                                  SUPPLIERS OR VENDORS      11/26/2018             $62.55
LENOVO INCORPORATED     PO BOX 645506                                                                 PITTSBURGH          PA           15264-5253                             SUPPLIERS OR VENDORS      10/31/2018          $2,486.65
LENOVO INCORPORATED     PO BOX 645506                                                                 PITTSBURGH          PA           15264-5253                             SUPPLIERS OR VENDORS      11/14/2018          $2,486.65
LENOVO INCORPORATED     PO BOX 645506                                                                 PITTSBURGH          PA           15264-5253                             SUPPLIERS OR VENDORS      12/13/2018          $2,230.47
LEO BOYLE               2845 29TH AVE                                                                 BIRCHWOOD           WI           54817                                  SUPPLIERS OR VENDORS      10/22/2018             $47.09
LEO CHRISTIANS          507 CRESTVIEW CT                                                              LANARK              IL           61046                                  SUPPLIERS OR VENDORS      10/24/2018             $51.20
LEO JUNG                34774 128TH ST.                                                               ROSCOE              SD           57471                                  SUPPLIERS OR VENDORS      10/18/2018             $76.00
LEO TOM                 110 SOUTH SMITH                                                               CLARK               SD           57225                                  SUPPLIERS OR VENDORS      11/29/2018             $55.20
LEON CRAIG              STORE 611                     SHOPKO EMPLOYEE    1002 OLD MN AVE              SAINT PETER         MN           56082-2044                             SUPPLIERS OR VENDORS      10/19/2018            $218.32
LEON CRAIG              STORE 611                     SHOPKO EMPLOYEE    1002 OLD MN AVE              SAINT PETER         MN           56082-2044                             SUPPLIERS OR VENDORS       11/2/2018            $196.20
LEON FINCHEM            907 E 2ND                                                                     NORTH PLATTE        NE           69101                                  SUPPLIERS OR VENDORS      12/13/2018              $2.00
LEON FINCHEM            907 E 2ND                                                                     NORTH PLATTE        NE           69101                                  SUPPLIERS OR VENDORS      12/13/2018              $2.00
LEON MICHAEL            211 N MAIN                                                                    MITCHELL            SD           57301                                  SUPPLIERS OR VENDORS       12/5/2018             $44.80
LEONA BORCHARDT         213 AIR PARK DR APT 9                                                         WATERTOWN           WI           53094                                  SUPPLIERS OR VENDORS      10/31/2018              $4.79
LEONA DETWILER          1710 2ND AVE. S. E.                                                           AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS      12/13/2018            $285.58
LEONA HARMON            606 W. NORTH AVE                                                              CHEWELAH            WA           99109                                  SUPPLIERS OR VENDORS      10/18/2018              $3.58
LEONA STAMP             PO BOX 43                                                                     GARY                SD           57237                                  SUPPLIERS OR VENDORS       11/1/2018             $11.04
LERESSA LAMBERSON       STORE 676                     SHOPKO EMPLOYEE    1901 COURT AVENUE            CHARITON            IA           50049                                  SUPPLIERS OR VENDORS        1/5/2019             $10.90
LERNER HARLAN                                         10855 W DODGE ROAD
PARTNERSHIP             C/O THE LERNER COMPANY        SUITE 270                                       OMAHA               NE           68154                                  SUPPLIERS OR VENDORS       11/1/2018         $11,900.42
LERNER HARLAN                                         10855 W DODGE ROAD
PARTNERSHIP             C/O THE LERNER COMPANY        SUITE 270                                       OMAHA               NE           68154                                  SUPPLIERS OR VENDORS      11/16/2018               $1.00
LERNER HARLAN                                         10855 W DODGE ROAD
PARTNERSHIP             C/O THE LERNER COMPANY        SUITE 270                                       OMAHA               NE           68154                                  SUPPLIERS OR VENDORS       12/1/2018         $11,900.42
LEROY BATES             76231 RAINBOW ST                                                              OAKRIDGE            OR           97463                                  SUPPLIERS OR VENDORS      10/18/2018             $15.00
LEROY HOEFERT           2400 S 4TH AVE                                                                SIOUX FALLS         SD           57105                                  SUPPLIERS OR VENDORS       12/7/2018             $48.00
LEROY HOEFERT           2400 S 4TH AVE                                                                SIOUX FALLS         SD           57105                                  SUPPLIERS OR VENDORS      12/20/2018             $12.00



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LEROY L'HUILLIER         816 7TH AVE                                                                   MENOMINEE           MI           49858                                  SUPPLIERS OR VENDORS        12/14/2018              $241.96
LEROY SARGENT            STORE 548                   SHOPKO EMPLOYEE        416 US HIGHWAY 59          MAHNOMEN            MN           56447-4630                             SUPPLIERS OR VENDORS         11/2/2018              $595.70
LEROY SARGENT            STORE 548                   SHOPKO EMPLOYEE        416 US HIGHWAY 59          MAHNOMEN            MN           56447-4630                             SUPPLIERS OR VENDORS        12/22/2018              $344.99
LEROY SARGENT            STORE 548                   SHOPKO EMPLOYEE        416 US HIGHWAY 59          MAHNOMEN            MN           56447-4630                             SUPPLIERS OR VENDORS        12/29/2018              $359.04
LEROY STAHL TRUCKING
INCORPORATED             480 S WATER DIVISION ROAD                                                     GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS       11/30/2018            $2,670.84
LEROY STAHL TRUCKING
INCORPORATED             480 S WATER DIVISION ROAD                                                     GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS       12/19/2018           $11,958.95
LEROY STAHL TRUCKING
INCORPORATED             480 S WATER DIVISION ROAD                                                     GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS       12/21/2018            $1,405.51
LEROY STAHL TRUCKING
INCORPORATED             480 S WATER DIVISION ROAD                                                     GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS       12/22/2018              $305.18
LEROY STAHL TRUCKING
INCORPORATED             480 S WATER DIVISION ROAD                                                     GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS         1/5/2019            $1,273.66
LESA LUNDQUIST           828 NORTH 6TH ST                                                              MANKATO             MN           56001                                  SUPPLIERS OR VENDORS       10/22/2018                $3.00
LESLIE CROTHERS          1204 LOGAN ST                                                                 MARQUETTE           MI           49855                                  SUPPLIERS OR VENDORS       10/24/2018               $42.00
LESLIE DICK              1120 CAMPBELL RD                                                              WAPATO              WA           98951                                  SUPPLIERS OR VENDORS        11/9/2018               $45.00
LESLIE FRANK             521 SAGINAW ST                                                                NORWAY              MI           49870                                  SUPPLIERS OR VENDORS        12/7/2018              $120.00
LESLIE K HALBERT         921 BRYANT ST                                                                 CALIMESA            CA           92320                                  SUPPLIERS OR VENDORS        11/1/2018            $8,081.25
LESLIE K HALBERT         921 BRYANT ST                                                                 CALIMESA            CA           92320                                  SUPPLIERS OR VENDORS        12/3/2018            $8,081.25
LESLIE LECHNER           12581 387TH AVE                                                               ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       10/29/2018               $48.64
LESLIE LECHNER           12581 387TH AVE                                                               ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       11/26/2018               $12.16
LESLIE RUITER            431 ELIZABETH AVE                                                             LAKE WILSON         MN           56151                                  SUPPLIERS OR VENDORS       10/29/2018               $28.87
LESSORS INCORPORATED     1056 GEMINI ROAD                                                              EAGAN               MN           55121                                  SUPPLIERS OR VENDORS       10/19/2018           $12,605.99
LESSORS INCORPORATED     1056 GEMINI ROAD                                                              EAGAN               MN           55121                                  SUPPLIERS OR VENDORS       10/26/2018           $28,244.06
LESSORS INCORPORATED     1056 GEMINI ROAD                                                              EAGAN               MN           55121                                  SUPPLIERS OR VENDORS        11/2/2018           $25,140.51
LESSORS INCORPORATED     1056 GEMINI ROAD                                                              EAGAN               MN           55121                                  SUPPLIERS OR VENDORS        11/9/2018           $26,693.83
LESSORS INCORPORATED     1056 GEMINI ROAD                                                              EAGAN               MN           55121                                  SUPPLIERS OR VENDORS       11/16/2018           $18,784.57
LESSORS INCORPORATED     1056 GEMINI ROAD                                                              EAGAN               MN           55121                                  SUPPLIERS OR VENDORS       11/30/2018           $63,111.41
LESSORS INCORPORATED     1056 GEMINI ROAD                                                              EAGAN               MN           55121                                  SUPPLIERS OR VENDORS        12/8/2018           $34,512.91
LESSORS INCORPORATED     1056 GEMINI ROAD                                                              EAGAN               MN           55121                                  SUPPLIERS OR VENDORS       12/11/2018            $5,571.51
LESSORS INCORPORATED     1056 GEMINI ROAD                                                              EAGAN               MN           55121                                  SUPPLIERS OR VENDORS       12/14/2018            $2,301.64
LESSORS INCORPORATED     1056 GEMINI ROAD                                                              EAGAN               MN           55121                                  SUPPLIERS OR VENDORS       12/19/2018           $11,907.30
LESSORS INCORPORATED     1056 GEMINI ROAD                                                              EAGAN               MN           55121                                  SUPPLIERS OR VENDORS       12/20/2018            $7,157.54
LESSORS INCORPORATED     1056 GEMINI ROAD                                                              EAGAN               MN           55121                                  SUPPLIERS OR VENDORS       12/22/2018            $6,808.84
LESSORS INCORPORATED     1056 GEMINI ROAD                                                              EAGAN               MN           55121                                  SUPPLIERS OR VENDORS         1/5/2019           $38,361.30
LESSORS INCORPORATED     1056 GEMINI ROAD                                                              EAGAN               MN           55121                                  SUPPLIERS OR VENDORS        1/10/2019            $4,376.62
LESTER SCHUMACHER        4232 KINGSFORD DR                                                             JANESVILLE          WI           53546                                  SUPPLIERS OR VENDORS       11/26/2018                $4.98

LEVI STRAUSS & COMPANY   VICE PRESIDENT OF SALES     SKY HARBOR AIRPORT     501 EXECUTIVE DRIVE        HENDERSON           NV           89052                                  SUPPLIERS OR VENDORS       10/19/2018           $20,789.83

LEVI STRAUSS & COMPANY   VICE PRESIDENT OF SALES     SKY HARBOR AIRPORT     501 EXECUTIVE DRIVE        HENDERSON           NV           89052                                  SUPPLIERS OR VENDORS       10/20/2018          $285,531.92

LEVI STRAUSS & COMPANY   VICE PRESIDENT OF SALES     SKY HARBOR AIRPORT     501 EXECUTIVE DRIVE        HENDERSON           NV           89052                                  SUPPLIERS OR VENDORS       10/25/2018              $252.64

LEVI STRAUSS & COMPANY   VICE PRESIDENT OF SALES     SKY HARBOR AIRPORT     501 EXECUTIVE DRIVE        HENDERSON           NV           89052                                  SUPPLIERS OR VENDORS       10/26/2018              $147.20

LEVI STRAUSS & COMPANY   VICE PRESIDENT OF SALES     SKY HARBOR AIRPORT     501 EXECUTIVE DRIVE        HENDERSON           NV           89052                                  SUPPLIERS OR VENDORS       11/15/2018          $364,771.61

LEVI STRAUSS & COMPANY   VICE PRESIDENT OF SALES     SKY HARBOR AIRPORT     501 EXECUTIVE DRIVE        HENDERSON           NV           89052                                  SUPPLIERS OR VENDORS       11/17/2018              $543.91

LEVI STRAUSS & COMPANY   VICE PRESIDENT OF SALES     SKY HARBOR AIRPORT     501 EXECUTIVE DRIVE        HENDERSON           NV           89052                                  SUPPLIERS OR VENDORS        12/1/2018          $178,855.63

LEVI STRAUSS & COMPANY   VICE PRESIDENT OF SALES     SKY HARBOR AIRPORT     501 EXECUTIVE DRIVE        HENDERSON           NV           89052                                  SUPPLIERS OR VENDORS        12/5/2018              $140.00



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LEVI STRAUSS & COMPANY   VICE PRESIDENT OF SALES      SKY HARBOR AIRPORT     501 EXECUTIVE DRIVE        HENDERSON           NV           89052                                  SUPPLIERS OR VENDORS      12/19/2018         $294,205.13

LEVI STRAUSS & COMPANY   VICE PRESIDENT OF SALES      SKY HARBOR AIRPORT     501 EXECUTIVE DRIVE        HENDERSON           NV           89052                                  SUPPLIERS OR VENDORS      12/21/2018         $172,309.07

LEVI STRAUSS & COMPANY   VICE PRESIDENT OF SALES      SKY HARBOR AIRPORT     501 EXECUTIVE DRIVE        HENDERSON           NV           89052                                  SUPPLIERS OR VENDORS      12/22/2018          $78,891.16

LEVI STRAUSS & COMPANY   VICE PRESIDENT OF SALES      SKY HARBOR AIRPORT     501 EXECUTIVE DRIVE        HENDERSON           NV           89052                                  SUPPLIERS OR VENDORS      12/28/2018             $249.80

LEVI STRAUSS & COMPANY   VICE PRESIDENT OF SALES      SKY HARBOR AIRPORT     501 EXECUTIVE DRIVE        HENDERSON           NV           89052                                  SUPPLIERS OR VENDORS         1/9/2019            $236.86
LEWIS & CLARK COUNTY
TREASURER                316 N PARK AVENUE ROOM 113                                                     HELENA              MT           59623                                  SUPPLIERS OR VENDORS      11/26/2018          $77,050.67
LEXISNEXIS RISK &                                    ACCURINT ACCOUNT
INFORMATION               REED ELSEVIER INCORPORATED 1111280                 28330 NETWORK PLACE        CHICAGO             IL           60673-1283                             SUPPLIERS OR VENDORS       11/9/2018              $12.30
LEXISNEXIS RISK &                                    ACCURINT ACCOUNT
INFORMATION               REED ELSEVIER INCORPORATED 1111280                 28330 NETWORK PLACE        CHICAGO             IL           60673-1283                             SUPPLIERS OR VENDORS      12/17/2018                $8.90
                                                     888 CHEUNG SHAWAN                                                                                                          PURCHASE OF
LI AND FUNG (TRADING) LTD 3RD FLOOR, LIFUNG TOWER    ROAD                                               LAI CHI KOK                                   HONG KONG                 MERCHANDISE               10/24/2018         $882,149.23
                                                     888 CHEUNG SHAWAN                                                                                                          PURCHASE OF
LI AND FUNG (TRADING) LTD 3RD FLOOR, LIFUNG TOWER    ROAD                                               LAI CHI KOK                                   HONG KONG                 MERCHANDISE               10/31/2018         $446,249.40
                                                     888 CHEUNG SHAWAN                                                                                                          PURCHASE OF
LI AND FUNG (TRADING) LTD 3RD FLOOR, LIFUNG TOWER    ROAD                                               LAI CHI KOK                                   HONG KONG                 MERCHANDISE                11/7/2018         $350,764.62
                                                     888 CHEUNG SHAWAN                                                                                                          PURCHASE OF
LI AND FUNG (TRADING) LTD 3RD FLOOR, LIFUNG TOWER    ROAD                                               LAI CHI KOK                                   HONG KONG                 MERCHANDISE               11/14/2018         $447,071.47
                                                     888 CHEUNG SHAWAN                                                                                                          PURCHASE OF
LI AND FUNG (TRADING) LTD 3RD FLOOR, LIFUNG TOWER    ROAD                                               LAI CHI KOK                                   HONG KONG                 MERCHANDISE               11/21/2018          $38,234.94
                                                     888 CHEUNG SHAWAN                                                                                                          PURCHASE OF
LI AND FUNG (TRADING) LTD 3RD FLOOR, LIFUNG TOWER    ROAD                                               LAI CHI KOK                                   HONG KONG                 MERCHANDISE               11/28/2018         $433,774.88
                                                     888 CHEUNG SHAWAN                                                                                                          PURCHASE OF
LI AND FUNG (TRADING) LTD 3RD FLOOR, LIFUNG TOWER    ROAD                                               LAI CHI KOK                                   HONG KONG                 MERCHANDISE               12/26/2018         $347,335.21
LIAZON CORPORATION        PO BOX 8000 DEPT 428                                                          BUFFALO             NY           14267                                  SUPPLIERS OR VENDORS      10/23/2018         $559,072.93
LIAZON CORPORATION        PO BOX 8000 DEPT 428                                                          BUFFALO             NY           14267                                  SUPPLIERS OR VENDORS      11/27/2018         $555,794.64
LIBBEY GLASS
INCORPORATED              PO BOX 93864                                                                  CHICAGO             IL           60673-3864                             SUPPLIERS OR VENDORS      10/18/2018             $110.20
LIBBEY GLASS
INCORPORATED              PO BOX 93864                                                                  CHICAGO             IL           60673-3864                             SUPPLIERS OR VENDORS      10/25/2018            $2,981.12
LIBBEY GLASS
INCORPORATED              PO BOX 93864                                                                  CHICAGO             IL           60673-3864                             SUPPLIERS OR VENDORS       11/1/2018            $5,053.70
LIBBEY GLASS
INCORPORATED              PO BOX 93864                                                                  CHICAGO             IL           60673-3864                             SUPPLIERS OR VENDORS       11/8/2018            $6,940.36
LIBBEY GLASS
INCORPORATED              PO BOX 93864                                                                  CHICAGO             IL           60673-3864                             SUPPLIERS OR VENDORS      11/15/2018            $4,679.97
LIBBEY GLASS
INCORPORATED              PO BOX 93864                                                                  CHICAGO             IL           60673-3864                             SUPPLIERS OR VENDORS      11/22/2018          $16,607.88
LIBBEY GLASS
INCORPORATED              PO BOX 93864                                                                  CHICAGO             IL           60673-3864                             SUPPLIERS OR VENDORS      11/29/2018          $43,706.10
LIBBEY GLASS
INCORPORATED              PO BOX 93864                                                                  CHICAGO             IL           60673-3864                             SUPPLIERS OR VENDORS       12/5/2018            $4,575.27
LIBERTAD MARTINEZ         894 SECURITY DR APT# I 102                                                    FOND DU LAC         WI           54935                                  SUPPLIERS OR VENDORS      12/13/2018                $3.00
LIBERTY ORCHARDS
COMPANY INC               PO BOX C                                                                      CASHMERE            WA           98815-0000                             SUPPLIERS OR VENDORS      10/18/2018            $2,781.89
LIBERTY ORCHARDS
COMPANY INC               PO BOX C                                                                      CASHMERE            WA           98815-0000                             SUPPLIERS OR VENDORS      11/15/2018           $7,766.86
LIBMAN COMPANY            5167 EAGLE WAY                                                                CHICAGO             IL           60678-1051                             SUPPLIERS OR VENDORS      10/18/2018          $29,691.95



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                                                                                                                                                                               Reasons for payment or    Dates of     Total Amount or
       Creditor Name               Address1              Address2                  Address3                City               State       Zip              Country                    transfer          Payments            Value
LIBMAN COMPANY           5167 EAGLE WAY                                                              CHICAGO             IL           60678-1051                             SUPPLIERS OR VENDORS         11/1/2018           $36,868.59
LIBMAN COMPANY           5167 EAGLE WAY                                                              CHICAGO             IL           60678-1051                             SUPPLIERS OR VENDORS        11/15/2018           $49,358.85
LIBMAN COMPANY           5167 EAGLE WAY                                                              CHICAGO             IL           60678-1051                             SUPPLIERS OR VENDORS        11/29/2018           $68,372.72
LIESEL DEMEUSE           STORE 2-010               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/8/2018               $19.43
LIESL WARNECKE-KOCH      8637 HARSHAW RD                                                             HARSHAW             WI           54529                                  SUPPLIERS OR VENDORS         11/1/2018               $40.00
LIFE WEAR TECHNOLOGIES
INC                      VICE PRESIDENT OF SALES   1520 SW 5TH COURT                                 POMPANO BEACH FL                 33069                                  SUPPLIERS OR VENDORS       10/18/2018            $3,321.70
LIFE WEAR TECHNOLOGIES
INC                      VICE PRESIDENT OF SALES   1520 SW 5TH COURT                                 POMPANO BEACH FL                 33069                                  SUPPLIERS OR VENDORS       10/25/2018            $9,768.84
LIFE WEAR TECHNOLOGIES
INC                      VICE PRESIDENT OF SALES   1520 SW 5TH COURT                                 POMPANO BEACH FL                 33069                                  SUPPLIERS OR VENDORS        11/8/2018            $4,256.13
LIFE WEAR TECHNOLOGIES
INC                      VICE PRESIDENT OF SALES   1520 SW 5TH COURT                                 POMPANO BEACH FL                 33069                                  SUPPLIERS OR VENDORS       11/15/2018              $688.03
LIFE WEAR TECHNOLOGIES
INC                      VICE PRESIDENT OF SALES   1520 SW 5TH COURT                                 POMPANO BEACH FL                 33069                                  SUPPLIERS OR VENDORS       11/22/2018              $970.81
LIFE WEAR TECHNOLOGIES
INC                      VICE PRESIDENT OF SALES   1520 SW 5TH COURT                                 POMPANO BEACH       FL           33069                                  SUPPLIERS OR VENDORS       11/29/2018           $49,638.05
LIFESTYLE SOLUTIONS      6955 MOWRY AVENUE                                                           NEWARK              CA           94560                                  SUPPLIERS OR VENDORS       10/18/2018              $312.61
LIFESTYLE SOLUTIONS      6955 MOWRY AVENUE                                                           NEWARK              CA           94560                                  SUPPLIERS OR VENDORS        11/1/2018              $159.50
LIFESTYLE SOLUTIONS      6955 MOWRY AVENUE                                                           NEWARK              CA           94560                                  SUPPLIERS OR VENDORS       11/29/2018              $153.51
LIFETIME BRANDS
INCORPORATED             DEPT CH 17745                                                               PALATINE            IL           60055-7745                             SUPPLIERS OR VENDORS       10/19/2018            $4,688.25
LIFETIME BRANDS
INCORPORATED             DEPT CH 17745                                                               PALATINE            IL           60055-7745                             SUPPLIERS OR VENDORS       10/22/2018           $30,460.00
LIFETIME BRANDS
INCORPORATED             DEPT CH 17745                                                               PALATINE            IL           60055-7745                             SUPPLIERS OR VENDORS       10/26/2018            $4,317.48
LIFETIME BRANDS
INCORPORATED             DEPT CH 17745                                                               PALATINE            IL           60055-7745                             SUPPLIERS OR VENDORS       10/29/2018            $2,615.62
LIFETIME BRANDS
INCORPORATED             DEPT CH 17745                                                               PALATINE            IL           60055-7745                             SUPPLIERS OR VENDORS        11/1/2018           $11,632.80
LIFETIME BRANDS
INCORPORATED             DEPT CH 17745                                                               PALATINE            IL           60055-7745                             SUPPLIERS OR VENDORS        11/5/2018            $5,072.20
LIFETIME BRANDS
INCORPORATED             DEPT CH 17745                                                               PALATINE            IL           60055-7745                             SUPPLIERS OR VENDORS        11/8/2018            $2,609.57
LIFETIME BRANDS
INCORPORATED             DEPT CH 17745                                                               PALATINE            IL           60055-7745                             SUPPLIERS OR VENDORS       11/12/2018              $771.16
LIFETIME BRANDS
INCORPORATED             DEPT CH 17745                                                               PALATINE            IL           60055-7745                             SUPPLIERS OR VENDORS       11/15/2018           $11,467.80
LIFETIME BRANDS
INCORPORATED             DEPT CH 17745                                                               PALATINE            IL           60055-7745                             SUPPLIERS OR VENDORS       11/16/2018            $3,427.36
LIFETIME BRANDS
INCORPORATED             DEPT CH 17745                                                               PALATINE            IL           60055-7745                             SUPPLIERS OR VENDORS       11/22/2018            $4,905.45
LIFETIME BRANDS
INCORPORATED             DEPT CH 17745                                                               PALATINE            IL           60055-7745                             SUPPLIERS OR VENDORS       11/23/2018            $2,102.08
LIFETIME BRANDS
INCORPORATED             DEPT CH 17745                                                               PALATINE            IL           60055-7745                             SUPPLIERS OR VENDORS       11/26/2018              $411.70
LIFETIME BRANDS
INCORPORATED             DEPT CH 17745                                                               PALATINE            IL           60055-7745                             SUPPLIERS OR VENDORS       11/29/2018            $1,935.00
LIFETIME BRANDS
INCORPORATED             DEPT CH 17745                                                               PALATINE            IL           60055-7745                             SUPPLIERS OR VENDORS       11/30/2018            $2,502.00
LIFETIME BRANDS
INCORPORATED             DEPT CH 17745                                                               PALATINE            IL           60055-7745                             SUPPLIERS OR VENDORS        12/3/2018            $4,148.50
LIFT SOLUTIONS
INCORPORATED             14616 SHEPARD STREET                                                        OMAHA               NE           68138-0000                             SUPPLIERS OR VENDORS       11/13/2018              $133.19



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                                                                                                                                                                                   Reasons for payment or    Dates of     Total Amount or
        Creditor Name              Address1                 Address2                 Address3                   City               State       Zip             Country                    transfer          Payments            Value
LILA J THOMPSON          STORE 2-684                  SHOPKO EMPLOYEE         106 SMITH STREET           BLOOMFIELD           IA           52537                                 SUPPLIERS OR VENDORS        10/19/2018              $466.88
LILA J THOMPSON          STORE 2-684                  SHOPKO EMPLOYEE         106 SMITH STREET           BLOOMFIELD           IA           52537                                 SUPPLIERS OR VENDORS         11/2/2018              $519.27
LILA JOHNSON             1005 WHTIE TAIL ST. #9                                                          RICELAKE             WI           54868                                 SUPPLIERS OR VENDORS         12/5/2018              $306.45
LILA OELFKE              15680 YALE AVE                                                                  HAMBURG              MN           55339                                 SUPPLIERS OR VENDORS         11/8/2018               $48.50
LILJENQUIST SALT LAKE
COMPANY                  PO BOX 5544                                                                     ORANGE               CA           92863-5544                            SUPPLIERS OR VENDORS        11/1/2018           $42,349.88
LILJENQUIST SALT LAKE
COMPANY                  PO BOX 5544                                                                     ORANGE               CA           92863-5544                            SUPPLIERS OR VENDORS        11/3/2018                $1.00
LILJENQUIST SALT LAKE
COMPANY                  PO BOX 5544                                                                     ORANGE               CA           92863-5544                            SUPPLIERS OR VENDORS        11/8/2018              $376.74
LILJENQUIST SALT LAKE
COMPANY                  PO BOX 5544                                                                     ORANGE               CA           92863-5544                            SUPPLIERS OR VENDORS        12/1/2018           $42,349.88
LILLIAN BUSS             STORE 008                    SHOPKO EMPLOYEE                                    GREEN BAY            WI           54307-9060                            SUPPLIERS OR VENDORS       10/25/2018              $125.35
LINA NGUYEN              4967 MORNING GLORY DR                                                           WEST BEND            WI           53095                                 SUPPLIERS OR VENDORS        12/7/2018               $23.00
                         LINCOLN ALARM REGISTRATION
LINCOLN CITY TREASURER   PROGRAM                      555 S 10TH STREET       BOX 26                     LINCOLN              NE           68508-2830                            SUPPLIERS OR VENDORS       10/19/2018              $129.72
                         LINCOLN ALARM REGISTRATION
LINCOLN CITY TREASURER   PROGRAM                      555 S 10TH STREET       BOX 26                     LINCOLN              NE           68508-2830                            SUPPLIERS OR VENDORS       10/19/2018              $292.24
                         LINCOLN ALARM REGISTRATION
LINCOLN CITY TREASURER   PROGRAM                      555 S 10TH STREET       BOX 26                     LINCOLN              NE           68508-2830                            SUPPLIERS OR VENDORS       11/19/2018              $171.41
                         LINCOLN ALARM REGISTRATION
LINCOLN CITY TREASURER   PROGRAM                      555 S 10TH STREET       BOX 26                     LINCOLN              NE           68508-2830                            SUPPLIERS OR VENDORS       11/19/2018              $183.94
                         LINCOLN ALARM REGISTRATION
LINCOLN CITY TREASURER   PROGRAM                      555 S 10TH STREET       BOX 26                     LINCOLN              NE           68508-2830                            SUPPLIERS OR VENDORS       11/30/2018               $40.00
                         LINCOLN ALARM REGISTRATION
LINCOLN CITY TREASURER   PROGRAM                      555 S 10TH STREET       BOX 26                     LINCOLN              NE           68508-2830                            SUPPLIERS OR VENDORS       12/19/2018              $166.95
                         LINCOLN ALARM REGISTRATION
LINCOLN CITY TREASURER   PROGRAM                      555 S 10TH STREET       BOX 26                     LINCOLN              NE           68508-2830                            SUPPLIERS OR VENDORS       12/19/2018              $230.56
LINCOLN COUNTY
TREASURER                512 CALIFORNIA AVENUE                                                           LIBBY                MT           59923                                 SUPPLIERS OR VENDORS       11/26/2018            $9,686.14
LINCOLN SELF RELIANCE
INCORPORATED             PO BOX 1449                                                                     AFTON                WY           83110                                 SUPPLIERS OR VENDORS       10/18/2018               $85.56
LINCOLN TRAIL DISTRICT
HEALTH DEPT              PO BOX 2609                                                                     ELIZABETHTOWN        KY           42702-2609                            SUPPLIERS OR VENDORS       10/31/2018              $125.00
LINCOLN UINTA CHILD
DEVELOPMENT ASSN         1001 N HIGHWAY 414           PO BOX 570                                         MOUNTAIN VIEW        WY           82939                                 SUPPLIERS OR VENDORS       11/26/2018                $6.36
LINDA BECHARD            4111 BELL RD.                                                                   YAKIMA               WA           98901                                 SUPPLIERS OR VENDORS        11/9/2018               $49.00
LINDA BEHAN              813 S VAN BUREN                                                                 MASON CITY           IA           50401                                 SUPPLIERS OR VENDORS        11/5/2018               $19.72
LINDA BEHAN              813 S VAN BUREN                                                                 MASON CITY           IA           50401                                 SUPPLIERS OR VENDORS        11/5/2018               $45.28
LINDA BEHLING            1160 HERITAGE TR.                                                               OSHKOSH              WI           54904                                 SUPPLIERS OR VENDORS       11/16/2018               $15.00
LINDA BETELS             1104 MAIN AVE                                                                   CLEAR LAKE           IA           50428                                 SUPPLIERS OR VENDORS       11/26/2018               $12.00
LINDA BETELS             1104 MAIN AVE                                                                   CLEAR LAKE           IA           50428                                 SUPPLIERS OR VENDORS       11/26/2018               $48.00
LINDA BRYSON             434 EUCLID ST                                                                   ALDEN                MN           56009                                 SUPPLIERS OR VENDORS       11/12/2018               $54.98
LINDA BUCHANAN           841 S 47TH APT 126                                                              LINCOLN              NE           68510                                 SUPPLIERS OR VENDORS       11/26/2018                $2.00
LINDA BUCHANAN           841 S 47TH APT 126                                                              LINCOLN              NE           68510                                 SUPPLIERS OR VENDORS       11/26/2018                $2.00
LINDA COLE               2569 SHADE TREE LN                                                              GREEN BAY            WI           54313                                 SUPPLIERS OR VENDORS        12/3/2018               $11.04
LINDA COLLISON           175608 TOPS RD                                                                  HATLEY               WI           54440                                 SUPPLIERS OR VENDORS       10/18/2018               $25.00
LINDA DETTMAN            N6931 CTY W                                                                     CRIVITZ              WI           54114                                 SUPPLIERS OR VENDORS       11/16/2018               $28.89
LINDA FIRKUS             3251 WANTA DR.                                                                  PLOVER               WI           54467                                 SUPPLIERS OR VENDORS       10/29/2018               $23.99
LINDA FULTON             PO BOX 123                                                                      HANLONTOWN           IA           50444                                 SUPPLIERS OR VENDORS       10/22/2018               $60.00
LINDA HANSON             E1410 MAIN ST                                                                   WAUPACA              WI           54981                                 SUPPLIERS OR VENDORS       10/31/2018               $11.04
LINDA HANSON             E1410 MAIN ST                                                                   WAUPACA              WI           54981                                 SUPPLIERS OR VENDORS        11/5/2018               $44.16
LINDA HICKS              STORE 587                    SHOPKO EMPLOYEE         1180 S 16TH ST             CLARINDA             IA           51632-2917                            SUPPLIERS OR VENDORS       10/25/2018              $153.69
LINDA KIRKLAND           1331 SCENIC LANE                                                                LINCOLN              NE           68505                                 SUPPLIERS OR VENDORS       11/26/2018               $37.00



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LINDA KUCZYNSKI            2588 CHERRI LN                                                                GREEN BAY           WI           54302                                  SUPPLIERS OR VENDORS        11/29/2018               $44.16

LINDA LAHMAN               4421 WHITTON WAY                                                              NEW PORT RICHEY     FL           34653                                  SUPPLIERS OR VENDORS       11/26/2018               $52.00
LINDA LUND                 1610 TOWN HALL ROAD                                                           BELOIT              WI           53511                                  SUPPLIERS OR VENDORS       10/31/2018                $7.99
LINDA LUOKKANEN            404 SENECA STREET                                                             MOHAWK              MI           49950                                  SUPPLIERS OR VENDORS       11/26/2018               $48.20
LINDA MELLICK              407 EAST BRAASCH                                                              NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS        11/5/2018               $53.54
LINDA MELLICK              407 EAST BRAASCH                                                              NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS       11/26/2018               $13.38
LINDA MENACHER             6159 2.5 RD                                                                   MENOMINEE           MI           49858                                  SUPPLIERS OR VENDORS        11/1/2018                $7.20
LINDA MEYERDIRK            29264 SUNBERG                                                                 WORTHINGTON         MN           56187                                  SUPPLIERS OR VENDORS       10/29/2018               $28.87
LINDA MICHAEL              5747 SUNSET RD                                                                HELENA              MT           59602                                  SUPPLIERS OR VENDORS       10/22/2018               $27.12
LINDA MONAGHAN             2312 MORNINGSIDE DR                                                           JANESVILLE          WI           53546                                  SUPPLIERS OR VENDORS       11/26/2018               $25.00
LINDA MONNASTES            1308 S. RAY                                                                   SPOKANE             WA           99202                                  SUPPLIERS OR VENDORS       10/29/2018               $70.65

LINDA MOORE                6121 BLACKWOLF POINT ROAD                                                     OSHKOSH             WI           54901                                  SUPPLIERS OR VENDORS       10/22/2018               $25.00
LINDA NOTT                 9093 N. FAWVER                                                                DAKOTA              IL           61018                                  SUPPLIERS OR VENDORS       11/12/2018               $12.80
LINDA O'BOYLE              3421 VANDORN STREET                                                           LINCOLN             NE           68506                                  SUPPLIERS OR VENDORS       10/22/2018               $13.15
LINDA O'BOYLE              3421 VANDORN STREET                                                           LINCOLN             NE           68506                                  SUPPLIERS OR VENDORS        11/5/2018               $60.85
LINDA PETERSEN             PO BOX 156                                                                    RUSHMORE            MN           56168                                  SUPPLIERS OR VENDORS        12/3/2018               $15.30
LINDA PETERSON             1705 WOODWARD AVENUE                                                          IRON MOUNTAIN       MI           49802                                  SUPPLIERS OR VENDORS       11/30/2018               $64.00
LINDA PISCHKE              100 POINT BASSE AVE                                                           NEKOOSA             WI           54457                                  SUPPLIERS OR VENDORS       11/12/2018               $23.76
LINDA POPE                 781 MORGAN STREET                                                             TRACY               MN           56175                                  SUPPLIERS OR VENDORS       11/12/2018               $97.89
LINDA PREHEIM              11 WALLEYE RD.                                                                LAKE ANDES          SD           57356                                  SUPPLIERS OR VENDORS       12/13/2018               $44.80
LINDA RIEL                 PO BOX 404                                                                    IPSWICH             SD           57451                                  SUPPLIERS OR VENDORS        11/1/2018               $48.64
LINDA ROCKEY               1701 S DEMETER DR                                                             FREEPORT            IL           61032                                  SUPPLIERS OR VENDORS       10/22/2018               $13.82
LINDA ROCKEY               1701 S DEMETER DR                                                             FREEPORT            IL           61032                                  SUPPLIERS OR VENDORS       11/16/2018               $51.20
LINDA SCHMALZ              930 COLUMBUS                                                                  WESTBROOK           MN           56183                                  SUPPLIERS OR VENDORS       10/30/2018              $302.36
LINDA SCHULTE              3629 SOUTH 18TH STREET                                                        LINCOLN             NE           68502                                  SUPPLIERS OR VENDORS       12/17/2018               $11.98
LINDA SHATEK               2002 5TH AVE NE                                                               AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS        11/5/2018              $125.00
LINDA SKIBBA               1511 CTY ROAD K                                                               CUSTER              WI           54423                                  SUPPLIERS OR VENDORS       12/20/2018              $114.89
LINDA SLIGER               STORE #052                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/13/2018              $363.00
LINDA SMITH                4486 MOYES DRIVE                                                              MURTAUGH            ID           83344                                  SUPPLIERS OR VENDORS        12/7/2018               $20.00
LINDA WAREHAM              1062 HARWOOD AVE            APT #2                                            GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS       11/26/2018                $3.27
LINDA WECKEL               312 S TERRACE STREET                                                          DELAVAN             WI           53115                                  SUPPLIERS OR VENDORS        12/5/2018               $87.00
LINDA WERT                 14402 E MALLON                                                                SPOKANE             WA           99216                                  SUPPLIERS OR VENDORS        12/7/2018               $24.40
LINDA WEST                 1915 WEST SPIRIT COURT      SHOPKO EMPLOYEE                                   ANTHEM              AZ           85086                                  SUPPLIERS OR VENDORS        11/2/2018              $535.55
LINDA WEST                 1915 WEST SPIRIT COURT      SHOPKO EMPLOYEE                                   ANTHEM              AZ           85086                                  SUPPLIERS OR VENDORS       11/16/2018              $461.57
LINDA WEST                 1915 WEST SPIRIT COURT      SHOPKO EMPLOYEE                                   ANTHEM              AZ           85086                                  SUPPLIERS OR VENDORS       12/11/2018              $234.11
LINDA WOODWARD             609 ROSS AVE                                                                  ROTHSCHILD          WI           54476                                  SUPPLIERS OR VENDORS       11/29/2018              $109.60
LINDA YOUNG                1500 NE STADIUM WAY                                                           PULLMAN             WA           99163                                  SUPPLIERS OR VENDORS       11/26/2018               $51.38
LINDSAY J HAMLIN PLLC      1808 N 7TH STREET                                                             COUER D ALENE       ID           83814                                  SUPPLIERS OR VENDORS       10/19/2018              $351.22
LINDSAY J HAMLIN PLLC      1808 N 7TH STREET                                                             COUER D ALENE       ID           83814                                  SUPPLIERS OR VENDORS        11/2/2018            $1,006.22
LINDSAY J HAMLIN PLLC      1808 N 7TH STREET                                                             COUER D ALENE       ID           83814                                  SUPPLIERS OR VENDORS       11/16/2018              $911.28
LINDSAY J HAMLIN PLLC      1808 N 7TH STREET                                                             COUER D ALENE       ID           83814                                  SUPPLIERS OR VENDORS       11/30/2018              $924.98
LINDSAY J HAMLIN PLLC      1808 N 7TH STREET                                                             COUER D ALENE       ID           83814                                  SUPPLIERS OR VENDORS       12/14/2018              $656.24
LINDSAY J HAMLIN PLLC      1808 N 7TH STREET                                                             COUER D ALENE       ID           83814                                  SUPPLIERS OR VENDORS       12/29/2018              $632.22
LINDSAY J HAMLIN PLLC      1808 N 7TH STREET                                                             COUER D ALENE       ID           83814                                  SUPPLIERS OR VENDORS        1/11/2019              $895.22
LINDSEY BARGE              9821 HILL CREEK DRIVE                                                         VERONA              WI           53593                                  SUPPLIERS OR VENDORS       11/12/2018                $5.00
LINDSEY BRANDEL            172 SOUTH WALKER STREET                                                       ADAMS               WI           53910                                  SUPPLIERS OR VENDORS       12/10/2018               $10.00
LINDSEY BURMEISTER         STORE 2-005                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/6/2018              $252.88

LINDT & SPRUNGLI USA INC   30637                       PO BOX 202771                                     DALLAS              TX           75320-2771                             SUPPLIERS OR VENDORS       10/18/2018            $5,042.70

LINDT & SPRUNGLI USA INC   30637                       PO BOX 202771                                     DALLAS              TX           75320-2771                             SUPPLIERS OR VENDORS       11/22/2018          $408,601.40




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                                                                                                                                                                                      Reasons for payment or    Dates of    Total Amount or
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LINDT & SPRUNGLI USA INC   30637                           PO BOX 202771                                     DALLAS              TX           75320-2771                             SUPPLIERS OR VENDORS      11/29/2018         $88,412.68
LINDY WHITING              2326 14TH AVE. S                                                                  GREAT FALLS         MT           59405                                  SUPPLIERS OR VENDORS      10/26/2018             $20.00
LINELLE ROSE               4889 SUNSET PARK CIR                                                              W/JORDAN            UT           84088                                  SUPPLIERS OR VENDORS      11/12/2018             $10.08
                                                                                                             NORTH
LINEN ESSENTIALS           1215 LIVINGSTON AVE SUITE 4                                                       BRUNSWICK           NJ           08902                                  SUPPLIERS OR VENDORS      10/19/2018            $305.76
                                                                                                             NORTH
LINEN ESSENTIALS           1215 LIVINGSTON AVE SUITE 4                                                       BRUNSWICK           NJ           08902                                  SUPPLIERS OR VENDORS      10/23/2018            $131.04
                                                                                                             NORTH
LINEN ESSENTIALS           1215 LIVINGSTON AVE SUITE 4                                                       BRUNSWICK           NJ           08902                                  SUPPLIERS OR VENDORS       11/2/2018         $32,416.48
                                                                                                             NORTH
LINEN ESSENTIALS           1215 LIVINGSTON AVE SUITE 4                                                       BRUNSWICK           NJ           08902                                  SUPPLIERS OR VENDORS       11/9/2018         $10,147.60
                                                                                                             NORTH
LINEN ESSENTIALS           1215 LIVINGSTON AVE SUITE 4                                                       BRUNSWICK           NJ           08902                                  SUPPLIERS OR VENDORS      11/27/2018         $24,069.16
                                                                                                             NORTH
LINEN ESSENTIALS           1215 LIVINGSTON AVE SUITE 4                                                       BRUNSWICK           NJ           08902                                  SUPPLIERS OR VENDORS      11/30/2018         $54,644.56
LINGER DISTRIBUTING INC    175 HWY 28                                                                        SALMON              ID           83467                                  SUPPLIERS OR VENDORS      10/19/2018            $455.58
LINGER DISTRIBUTING INC    175 HWY 28                                                                        SALMON              ID           83467                                  SUPPLIERS OR VENDORS      10/26/2018            $766.02
LINGER DISTRIBUTING INC    175 HWY 28                                                                        SALMON              ID           83467                                  SUPPLIERS OR VENDORS       11/2/2018            $677.92
LINGER DISTRIBUTING INC    175 HWY 28                                                                        SALMON              ID           83467                                  SUPPLIERS OR VENDORS       11/6/2018            $408.40
LINGER DISTRIBUTING INC    175 HWY 28                                                                        SALMON              ID           83467                                  SUPPLIERS OR VENDORS       11/9/2018            $339.98
LINGER DISTRIBUTING INC    175 HWY 28                                                                        SALMON              ID           83467                                  SUPPLIERS OR VENDORS      11/16/2018            $408.82
LINGER DISTRIBUTING INC    175 HWY 28                                                                        SALMON              ID           83467                                  SUPPLIERS OR VENDORS      11/23/2018            $795.16
LINGER DISTRIBUTING INC    175 HWY 28                                                                        SALMON              ID           83467                                  SUPPLIERS OR VENDORS      11/27/2018            $320.22
LINGER DISTRIBUTING INC    175 HWY 28                                                                        SALMON              ID           83467                                  SUPPLIERS OR VENDORS      11/30/2018            $443.04
LINGER DISTRIBUTING INC    175 HWY 28                                                                        SALMON              ID           83467                                  SUPPLIERS OR VENDORS       12/4/2018            $343.69
LINGER DISTRIBUTING INC    175 HWY 28                                                                        SALMON              ID           83467                                  SUPPLIERS OR VENDORS      12/20/2018          $1,345.84
LINGER DISTRIBUTING INC    175 HWY 28                                                                        SALMON              ID           83467                                  SUPPLIERS OR VENDORS      12/21/2018            $775.90
                           62228 COLLECTION CENTER
LINKEDIN CORPORATION       DRIVE                                                                             CHICAGO             IL           60693-0622                             SUPPLIERS OR VENDORS      10/18/2018           $9,399.80
                           62228 COLLECTION CENTER
LINKEDIN CORPORATION       DRIVE                                                                             CHICAGO             IL           60693-0622                             SUPPLIERS OR VENDORS      12/17/2018           $3,008.89
LINNETTE TORRES            1086 20 3/4 AVE                                                                   CUMBERLAND          WI           54829                                  SUPPLIERS OR VENDORS      10/22/2018              $25.00
LINON HOME DÉCOR                                                                                                                                                                     PURCHASE OF
PRODUCTS                   22 JERICHO TURNPIKE SUITE 200                                                     MINEOLA             NY           11501                                  MERCHANDISE                12/3/2018        $207,936.30

LINON HOME DECOR           CIT GROUP COMMERCIAL
PRODUCTS INCORPORATED      SERVICES INC                    PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      10/19/2018           $9,179.40

LINON HOME DECOR           CIT GROUP COMMERCIAL
PRODUCTS INCORPORATED      SERVICES INC                    PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      10/19/2018         $50,592.40

LINON HOME DECOR           CIT GROUP COMMERCIAL
PRODUCTS INCORPORATED      SERVICES INC                    PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      10/27/2018         $94,951.92

LINON HOME DECOR           CIT GROUP COMMERCIAL
PRODUCTS INCORPORATED      SERVICES INC                    PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/3/2018            $503.70

LINON HOME DECOR           CIT GROUP COMMERCIAL
PRODUCTS INCORPORATED      SERVICES INC                    PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/6/2018            $783.00

LINON HOME DECOR           CIT GROUP COMMERCIAL
PRODUCTS INCORPORATED      SERVICES INC                    PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/7/2018             $71.50




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LINON HOME DECOR        CIT GROUP COMMERCIAL
PRODUCTS INCORPORATED   SERVICES INC              PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/8/2018            $655.50

LINON HOME DECOR        CIT GROUP COMMERCIAL
PRODUCTS INCORPORATED   SERVICES INC              PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      11/10/2018            $145.50

LINON HOME DECOR        CIT GROUP COMMERCIAL
PRODUCTS INCORPORATED   SERVICES INC              PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      11/13/2018            $331.00

LINON HOME DECOR        CIT GROUP COMMERCIAL
PRODUCTS INCORPORATED   SERVICES INC              PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      11/14/2018            $420.50

LINON HOME DECOR        CIT GROUP COMMERCIAL
PRODUCTS INCORPORATED   SERVICES INC              PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      11/15/2018             $98.00

LINON HOME DECOR        CIT GROUP COMMERCIAL
PRODUCTS INCORPORATED   SERVICES INC              PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      11/17/2018            $126.00

LINON HOME DECOR        CIT GROUP COMMERCIAL
PRODUCTS INCORPORATED   SERVICES INC              PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      11/24/2018           $1,039.90

LINON HOME DECOR        CIT GROUP COMMERCIAL
PRODUCTS INCORPORATED   SERVICES INC              PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      11/24/2018         $94,274.49

LINON HOME DECOR        CIT GROUP COMMERCIAL
PRODUCTS INCORPORATED   SERVICES INC              PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      11/27/2018            $129.00

LINON HOME DECOR        CIT GROUP COMMERCIAL
PRODUCTS INCORPORATED   SERVICES INC              PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      11/28/2018            $376.00

LINON HOME DECOR        CIT GROUP COMMERCIAL
PRODUCTS INCORPORATED   SERVICES INC              PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      11/29/2018             $27.50

LINON HOME DECOR        CIT GROUP COMMERCIAL
PRODUCTS INCORPORATED   SERVICES INC              PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       12/1/2018            $290.50

LINON HOME DECOR        CIT GROUP COMMERCIAL
PRODUCTS INCORPORATED   SERVICES INC              PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       12/4/2018             $30.00

LINON HOME DECOR        CIT GROUP COMMERCIAL
PRODUCTS INCORPORATED   SERVICES INC              PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       12/5/2018            $204.50

LINON HOME DECOR        CIT GROUP COMMERCIAL
PRODUCTS INCORPORATED   SERVICES INC              PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       12/6/2018             $70.00
LINSAY HAMEISTER        1908 18 1\2 AVE NW        APT. 2                                            ROCHESTER           MN           55901                                  SUPPLIERS OR VENDORS      12/10/2018              $3.00
LINZER PRODUCTS                                   248 WYANDANCH
CORPORATION             VICE PRESIDENT OF SALES   AVENUE                                            WEST BABYLON        NY           11704                                  SUPPLIERS OR VENDORS      10/18/2018           $6,751.40
LINZER PRODUCTS                                   248 WYANDANCH
CORPORATION             VICE PRESIDENT OF SALES   AVENUE                                            WEST BABYLON        NY           11704                                  SUPPLIERS OR VENDORS      10/25/2018           $4,903.88
LINZER PRODUCTS                                   248 WYANDANCH
CORPORATION             VICE PRESIDENT OF SALES   AVENUE                                            WEST BABYLON        NY           11704                                  SUPPLIERS OR VENDORS       11/1/2018           $2,697.95
LINZER PRODUCTS                                   248 WYANDANCH
CORPORATION             VICE PRESIDENT OF SALES   AVENUE                                            WEST BABYLON        NY           11704                                  SUPPLIERS OR VENDORS       11/8/2018            $335.23



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LINZER PRODUCTS                                    248 WYANDANCH
CORPORATION             VICE PRESIDENT OF SALES    AVENUE                                            WEST BABYLON        NY           11704                                  SUPPLIERS OR VENDORS      11/15/2018           $3,907.13
LINZER PRODUCTS                                    248 WYANDANCH
CORPORATION             VICE PRESIDENT OF SALES    AVENUE                                            WEST BABYLON        NY           11704                                  SUPPLIERS OR VENDORS      11/22/2018           $5,976.28
LINZER PRODUCTS                                    248 WYANDANCH
CORPORATION             VICE PRESIDENT OF SALES    AVENUE                                            WEST BABYLON        NY           11704                                  SUPPLIERS OR VENDORS      11/29/2018           $3,954.31
LION BRAND YARN
COMPANY                 VICE PRESIDENT OF SALES    135 KERO ROAD                                     CARLSTADT           NJ           07072                                  SUPPLIERS OR VENDORS      10/25/2018           $1,451.10
LION BRAND YARN
COMPANY                 VICE PRESIDENT OF SALES    135 KERO ROAD                                     CARLSTADT           NJ           07072                                  SUPPLIERS OR VENDORS      11/15/2018            $138.34
LION BRAND YARN
COMPANY                 VICE PRESIDENT OF SALES    135 KERO ROAD                                     CARLSTADT           NJ           07072                                  SUPPLIERS OR VENDORS      11/29/2018             $906.34
LIONEL LLC              PO BOX 602831                                                                CHARLOTTE           NC           28260-2831                             SUPPLIERS OR VENDORS       11/2/2018           $1,932.00
LIONEL LLC              PO BOX 602831                                                                CHARLOTTE           NC           28260-2831                             SUPPLIERS OR VENDORS       11/6/2018           $2,415.06
LIONEL LLC              PO BOX 602831                                                                CHARLOTTE           NC           28260-2831                             SUPPLIERS OR VENDORS       11/6/2018           $6,646.20
LIONEL LLC              PO BOX 602831                                                                CHARLOTTE           NC           28260-2831                             SUPPLIERS OR VENDORS       11/9/2018           $1,132.00
LIONEL LLC              PO BOX 602831                                                                CHARLOTTE           NC           28260-2831                             SUPPLIERS OR VENDORS       11/9/2018           $7,404.90
LIONEL LLC              PO BOX 602831                                                                CHARLOTTE           NC           28260-2831                             SUPPLIERS OR VENDORS      11/16/2018             $699.60
LIONEL LLC              PO BOX 602831                                                                CHARLOTTE           NC           28260-2831                             SUPPLIERS OR VENDORS      11/23/2018           $5,096.90
LIONEL LLC              PO BOX 602831                                                                CHARLOTTE           NC           28260-2831                             SUPPLIERS OR VENDORS      11/27/2018             $524.90
LIONEL LLC              PO BOX 602831                                                                CHARLOTTE           NC           28260-2831                             SUPPLIERS OR VENDORS      11/27/2018           $4,589.00
LIONEL LLC              PO BOX 602831                                                                CHARLOTTE           NC           28260-2831                             SUPPLIERS OR VENDORS      11/30/2018             $652.40
LIONEL LLC              PO BOX 602831                                                                CHARLOTTE           NC           28260-2831                             SUPPLIERS OR VENDORS       12/4/2018             $741.50
LIONEL LLC              PO BOX 602831                                                                CHARLOTTE           NC           28260-2831                             SUPPLIERS OR VENDORS       12/4/2018           $1,982.20
LIPPER INTERNATIONAL
INCORPORATED            PO BOX 5017                                                                  WALLINGFORD         CT           06492                                  SUPPLIERS OR VENDORS      10/18/2018            $158.50
LISA BAGLEY             606 9TH AVE S                                                                ST CLOUD            MN           56301                                  SUPPLIERS OR VENDORS      10/22/2018            $200.92

LISA CHACON RODRIGUEZ   195 2ND ST SE                                                                EAST WENATCHEE      WA           98802                                  SUPPLIERS OR VENDORS       12/7/2018             $36.00
LISA GEORGE             N 2161 TOWN CLUB ROAD                                                        KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS       11/9/2018             $25.00
LISA GUINDON            3108 13TH LANE                                                               BARK RIVER          MI           49807                                  SUPPLIERS OR VENDORS      11/28/2018             $41.00
LISA GUINDON            3108 13TH LANE                                                               BARK RIVER          MI           49807                                  SUPPLIERS OR VENDORS      11/28/2018            $103.99
LISA HAUSBECK           117 COACH HOUSE DR                                                           MADISON             WI           53714                                  SUPPLIERS OR VENDORS       11/5/2018             $25.00
LISA HELLER             300 N. AVE WEST                                                              MISSOULA            MT           59801                                  SUPPLIERS OR VENDORS       12/5/2018             $53.76
LISA JOHNSON            3864 PINE RIDGE COURT                                                        GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS      12/14/2018             $24.00
LISA KNOFF              609 S. COVENANT LN                                                           APPLETON            WI           54915                                  SUPPLIERS OR VENDORS       11/5/2018             $17.00
LISA KNOFF              609 S. COVENANT LN                                                           APPLETON            WI           54915                                  SUPPLIERS OR VENDORS       11/5/2018             $34.00
LISA KOCH               STORE 2-670                SHOPKO EMPLOYEE        615 DEARBORN STREET        WAYNE               NE           68787                                  SUPPLIERS OR VENDORS      11/16/2018             $80.79
LISA KOCH               STORE 2-670                SHOPKO EMPLOYEE        615 DEARBORN STREET        WAYNE               NE           68787                                  SUPPLIERS OR VENDORS      12/14/2018             $52.43
LISA KOCH               STORE 2-670                SHOPKO EMPLOYEE        615 DEARBORN STREET        WAYNE               NE           68787                                  SUPPLIERS OR VENDORS       1/15/2019             $42.27
LISA KROPP              3767 LILY LAKE RD.                                                           GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS       11/7/2018             $25.00
LISA LEWIN              1281 S 7TH                                                                   DE PERE             WI           54115                                  SUPPLIERS OR VENDORS       12/7/2018             $37.40
LISA LOUNSBROUGH        1300 SKYLINE DR                                                              WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS       11/2/2018             $44.98
LISA M PETERSEN         STORE 547                  SHOPKO EMPLOYEE        PO BOX 929                 MOOSE LAKE          MN           55767                                  SUPPLIERS OR VENDORS      10/18/2018            $196.20
LISA M PETERSEN         STORE 547                  SHOPKO EMPLOYEE        PO BOX 929                 MOOSE LAKE          MN           55767                                  SUPPLIERS OR VENDORS      11/16/2018            $196.20
LISA M PETERSEN         STORE 547                  SHOPKO EMPLOYEE        PO BOX 929                 MOOSE LAKE          MN           55767                                  SUPPLIERS OR VENDORS      11/27/2018            $294.30
LISA M PETERSEN         STORE 547                  SHOPKO EMPLOYEE        PO BOX 929                 MOOSE LAKE          MN           55767                                  SUPPLIERS OR VENDORS      12/29/2018             $98.10
LISA M PETERSEN         STORE 547                  SHOPKO EMPLOYEE        PO BOX 929                 MOOSE LAKE          MN           55767                                  SUPPLIERS OR VENDORS       1/10/2019             $49.05
LISA MATUSZAK           N2981 GREEN VALLEY ROAD                                                      PULASKI             WI           54162                                  SUPPLIERS OR VENDORS       11/7/2018             $25.00
LISA MERTENS            19017 E RIVERSIDE AVE                                                        SPOKANE VLY         WA           99016                                  SUPPLIERS OR VENDORS       11/5/2018             $41.05
LISA NEVEAU             401 EMMA STREEET                                                             FOND DU LAC         WI           54935                                  SUPPLIERS OR VENDORS      11/26/2018             $13.80
LISA NIEMUTH            418 ST JUDE                                                                  GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS      11/12/2018             $10.00
LISA OKSUITA            10734 LAKE HELEN HEIGHTS                                                     ROSHOLT             WI           54473                                  SUPPLIERS OR VENDORS      10/31/2018             $35.00
LISA PILEGGI            1383 TRANSFER TRAIL                                                          SUAMICO             WI           54173                                  SUPPLIERS OR VENDORS      11/14/2018             $94.00



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LISA PLOURDE            2121 PARK CREST DR                                                              PAPILLION           NE           68133                                  SUPPLIERS OR VENDORS        12/17/2018               $33.00
LISA R JONES            STORE 659                    SHOPKO EMPLOYEE         2410 DAHLKE AVENUE         AUBURN              NE           68305                                  SUPPLIERS OR VENDORS         11/2/2018               $76.30
LISA RASHID             STORE 102                    SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/16/2018              $167.86
LISA SIMON              210 WEST DIVISION ROAD                                                          SHANNON             IL           61078                                  SUPPLIERS OR VENDORS        11/12/2018               $18.90

LISA SLAVIC             N75W24444 OVERLAND ROAD                                                         SUSSEX              WI           53089                                  SUPPLIERS OR VENDORS       11/26/2018               $48.98
LISA SOTO               5905 GLENWAY STREET                                                             MCFARLAND           WI           53558                                  SUPPLIERS OR VENDORS       12/20/2018               $23.00
LISA TASTO              10850 10TH AVE NW                                                               RICE                MN           56367                                  SUPPLIERS OR VENDORS        11/5/2018               $59.98
LISA URBANC             STORE 2-011                  SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/25/2018              $117.72
LISA URBANC             STORE 2-011                  SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/29/2018              $470.88
LISA WADE               1245 WOODS LANE                                                                 JACKSONVILLE        IL           62650                                  SUPPLIERS OR VENDORS       12/13/2018              $237.53
LISA WICIK              N4755 WHITE BIRCH RIDGE                                                         LADYSMITH           WI           54848                                  SUPPLIERS OR VENDORS       11/14/2018               $70.00
LISA WILLEY             STORE 759                    SHOPKO EMPLOYEE         2105 LAZELLE STREET        STURGIS             SD           57785-0000                             SUPPLIERS OR VENDORS       11/22/2018              $407.66
LISA WITTMIER           STORE 2-023                  SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/14/2018              $118.41
LISSA BALISON           2836 MAYFLOWER RD                                                               GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS       11/26/2018               $25.00

LITTLE KIDS INCORPORATED 1015 NEWMAN AVENUE                                                             SEEKONK             MA           02771-0000                             SUPPLIERS OR VENDORS        11/8/2018           $14,412.00

LITTLE TOADER LLC       1670 N HERCULES AVE UNIT B                                                      CLEARWATER          FL           33765                                  SUPPLIERS OR VENDORS       10/25/2018              $169.02

LITTLE TOADER LLC       1670 N HERCULES AVE UNIT B                                                      CLEARWATER          FL           33765                                  SUPPLIERS OR VENDORS        11/1/2018              $310.00

LITTLE TOADER LLC       1670 N HERCULES AVE UNIT B                                                      CLEARWATER          FL           33765                                  SUPPLIERS OR VENDORS        11/8/2018              $237.78

LITTLE TOADER LLC       1670 N HERCULES AVE UNIT B                                                      CLEARWATER          FL           33765                                  SUPPLIERS OR VENDORS       11/15/2018              $432.00

LITTLE TOADER LLC       1670 N HERCULES AVE UNIT B                                                      CLEARWATER          FL           33765                                  SUPPLIERS OR VENDORS       11/22/2018              $144.00

LITTLE TOADER LLC       1670 N HERCULES AVE UNIT B                                                      CLEARWATER          FL           33765                                  SUPPLIERS OR VENDORS       11/29/2018              $180.00
LITTLER MENDELSON P C   PO BOX 45547                                                                    SAN FRANCISCO       CA           94145-0547                             SUPPLIERS OR VENDORS       11/29/2018              $715.00
LLOYD ALBERS            4209 S LAUREL OAK DR                                                            SIOUX FALLS         SD           57103                                  SUPPLIERS OR VENDORS        12/7/2018               $48.00
LLOYD BARKER            780 E 800 N                                                                     OREM                UT           84057                                  SUPPLIERS OR VENDORS       12/10/2018               $26.49
LLOYD CHRISTIANS        1006 18TH ST NE                                                                 WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS       10/22/2018               $11.04
LLOYD LOBERGER          E536 HILLCREST LN                                                               LUXEMBURG           WI           54217                                  SUPPLIERS OR VENDORS        12/3/2018               $25.00
LOACKER USA             90 BROAD STREET STE 402 A                                                       NEW YORK            NY           10004                                  SUPPLIERS OR VENDORS        11/1/2018            $2,860.71
LOACKER USA             90 BROAD STREET STE 402 A                                                       NEW YORK            NY           10004                                  SUPPLIERS OR VENDORS       11/15/2018            $1,212.03
LOCATION 3 MEDIA
INCORPORATED            820 16TH STREET SUITE 300                                                       DENVER              CO           80202-3200                             SUPPLIERS OR VENDORS       10/31/2018                $1.00
LOCATION 3 MEDIA
INCORPORATED            820 16TH STREET SUITE 300                                                       DENVER              CO           80202-3200                             SUPPLIERS OR VENDORS        11/1/2018            $8,883.34
LOCK TRUCKING
INCORPORATED            PO BOX 1509                                                                     WHEATLAND           WY           82201                                  SUPPLIERS OR VENDORS        11/9/2018              $159.32
                                                                                                        SOUTH
LODGE MANUFACTURING     VICE PRESIDENT OF SALES      204 EAST 5TH STREET                                PITTSBURGH          TN           37380                                  SUPPLIERS OR VENDORS       10/19/2018            $6,451.60
                                                                                                        SOUTH
LODGE MANUFACTURING     VICE PRESIDENT OF SALES      204 EAST 5TH STREET                                PITTSBURGH          TN           37380                                  SUPPLIERS OR VENDORS       10/26/2018            $4,505.90
                                                                                                        SOUTH
LODGE MANUFACTURING     VICE PRESIDENT OF SALES      204 EAST 5TH STREET                                PITTSBURGH          TN           37380                                  SUPPLIERS OR VENDORS        11/2/2018            $4,469.90
                                                                                                        SOUTH
LODGE MANUFACTURING     VICE PRESIDENT OF SALES      204 EAST 5TH STREET                                PITTSBURGH          TN           37380                                  SUPPLIERS OR VENDORS        11/9/2018              $303.30
                                                                                                        SOUTH
LODGE MANUFACTURING     VICE PRESIDENT OF SALES      204 EAST 5TH STREET                                PITTSBURGH          TN           37380                                  SUPPLIERS OR VENDORS       11/16/2018            $5,653.10
                                                                                                        SOUTH
LODGE MANUFACTURING     VICE PRESIDENT OF SALES      204 EAST 5TH STREET                                PITTSBURGH          TN           37380                                  SUPPLIERS OR VENDORS       11/30/2018           $36,441.32



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                                                                                                                                                                                  Reasons for payment or    Dates of     Total Amount or
     Creditor Name                    Address1              Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
LOGAN CHANDLER             552 RONALD LEE CR                                                            RIO                 WI           53960                                  SUPPLIERS OR VENDORS        11/14/2018               $31.00
LOGAN DALY                 1232 S 31TH STREET                                                           MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS         11/5/2018               $69.00
LOGAN DOE                  616 EAST BRACKLIN ST                                                         RICE LAKE           WI           54868                                  SUPPLIERS OR VENDORS        11/12/2018              $120.00
LOGAN GRZYWACZ             2006 CRECIENTE DR                                                            KRONENWETTER        WI           54455                                  SUPPLIERS OR VENDORS        11/26/2018               $21.85

LOGISTICAL SOLUTIONS LLC   PO BOX 12517                                                                 OMAHA               NE           68112-0517                             SUPPLIERS OR VENDORS       10/18/2018           $38,514.56

LOGISTICAL SOLUTIONS LLC   0                          PO BOX 12517                                      OMAHA               NE           68112-0517                             SUPPLIERS OR VENDORS       10/23/2018                $1.00

LOGISTICAL SOLUTIONS LLC   PO BOX 12517                                                                 OMAHA               NE           68112-0517                             SUPPLIERS OR VENDORS       10/26/2018           $63,575.55

LOGISTICAL SOLUTIONS LLC   PO BOX 12517                                                                 OMAHA               NE           68112-0517                             SUPPLIERS OR VENDORS        11/2/2018           $50,067.93

LOGISTICAL SOLUTIONS LLC   PO BOX 12517                                                                 OMAHA               NE           68112-0517                             SUPPLIERS OR VENDORS        11/9/2018           $40,984.82

LOGISTICAL SOLUTIONS LLC   PO BOX 12517                                                                 OMAHA               NE           68112-0517                             SUPPLIERS OR VENDORS       11/16/2018           $47,818.96

LOGISTICAL SOLUTIONS LLC   PO BOX 12517                                                                 OMAHA               NE           68112-0517                             SUPPLIERS OR VENDORS       11/30/2018           $79,793.42

LOGISTICAL SOLUTIONS LLC   PO BOX 12517                                                                 OMAHA               NE           68112-0517                             SUPPLIERS OR VENDORS        12/8/2018           $89,064.81

LOGISTICAL SOLUTIONS LLC   PO BOX 12517                                                                 OMAHA               NE           68112-0517                             SUPPLIERS OR VENDORS       12/11/2018           $18,066.93

LOGISTICAL SOLUTIONS LLC   PO BOX 12517                                                                 OMAHA               NE           68112-0517                             SUPPLIERS OR VENDORS       12/12/2018           $16,537.85

LOGISTICAL SOLUTIONS LLC   PO BOX 12517                                                                 OMAHA               NE           68112-0517                             SUPPLIERS OR VENDORS       12/14/2018            $7,888.91

LOGISTICAL SOLUTIONS LLC   PO BOX 12517                                                                 OMAHA               NE           68112-0517                             SUPPLIERS OR VENDORS       12/19/2018           $42,019.16

LOGISTICAL SOLUTIONS LLC   PO BOX 12517                                                                 OMAHA               NE           68112-0517                             SUPPLIERS OR VENDORS       12/20/2018           $11,576.94

LOGISTICAL SOLUTIONS LLC   PO BOX 12517                                                                 OMAHA               NE           68112-0517                             SUPPLIERS OR VENDORS       12/21/2018            $8,874.75

LOGISTICAL SOLUTIONS LLC   PO BOX 12517                                                                 OMAHA               NE           68112-0517                             SUPPLIERS OR VENDORS       12/22/2018           $33,950.76

LOGISTICAL SOLUTIONS LLC   PO BOX 12517                                                                 OMAHA               NE           68112-0517                             SUPPLIERS OR VENDORS         1/5/2019           $71,115.88

LOGISTICAL SOLUTIONS LLC   PO BOX 12517                                                                 OMAHA               NE           68112-0517                             SUPPLIERS OR VENDORS         1/8/2019           $17,295.73
LOGISTYX TECHNOLOGIES      75 REMITTANCE DRIVE DEPT
LLC                        6682                                                                         CHICAGO             IL           60675-6682                             SUPPLIERS OR VENDORS        11/2/2018           $40,845.00
LOGO CHAIR INC             117 SOUTHEAST PARKWAY                                                        FRANKLIN            TN           37064                                  SUPPLIERS OR VENDORS       11/15/2018           $37,163.92
LOGO CHAIR INC             117 SOUTHEAST PARKWAY                                                        FRANKLIN            TN           37064                                  SUPPLIERS OR VENDORS       11/27/2018           $35,193.00
LOIS DALTON                7221 SOUTH ST. UNIT 12                                                       LINCOLN             NE           68506                                  SUPPLIERS OR VENDORS        12/3/2018               $15.70
LOIS GIULIANI              100 MAPLE STREET                                                             KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS        12/3/2018               $39.04
LOIS HARDACRE              4808 CHALKSTONE DR                                                           RAPID CITY          SD           57701                                  SUPPLIERS OR VENDORS       11/28/2018               $68.00
LOIS NELSON                205 9TH ST N                                                                 NORTHWOOD           IA           50459                                  SUPPLIERS OR VENDORS        12/3/2018               $60.00
LOIS RASMUSSEN             601 MARYKNOLL STREET                                                         MARSHFIELD          WI           54449                                  SUPPLIERS OR VENDORS        11/8/2018               $39.98
LOIS ROSIN                 305 W WELCOME AVE.                                                           MANKATO             MN           56001                                  SUPPLIERS OR VENDORS       10/24/2018              $125.00
LOIS UNZICKER              901 S MAIN                                                                   MILBANK             SD           57252                                  SUPPLIERS OR VENDORS       10/29/2018                $8.32
LOIS UNZICKER              901 S MAIN                                                                   MILBANK             SD           57252                                  SUPPLIERS OR VENDORS       11/16/2018               $38.68
LOIS UNZICKER              901 S MAIN                                                                   MILBANK             SD           57252                                  SUPPLIERS OR VENDORS       11/16/2018               $44.16
LOIS VINCENT               835 PINE STREET                                                              LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS       10/18/2018               $15.00
LOIS VINCENT               835 PINE STREET                                                              LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS       11/28/2018               $40.00
LOIS WOLDT                 APPAREL                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       11/15/2018              $877.45



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                                                                                                                                                                                Reasons for payment or    Dates of     Total Amount or
       Creditor Name               Address1               Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
LOLA MASSIE              332 BEECH STREET                                                             KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS        10/22/2018               $39.04
LOLLY TOGS LIMITED       100 W 33RD ST SUITE 1012                                                     NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS        10/18/2018              $426.80
LOLLY TOGS LIMITED       100 W 33RD ST SUITE 1012                                                     NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS        11/14/2018           $78,669.39
LOLLY TOGS LIMITED       100 W 33RD ST SUITE 1012                                                     NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS        11/15/2018              $248.23
LONA KRAMER              4040 NW 54TH ST                                                              LINCOLN             NE           68524                                  SUPPLIERS OR VENDORS        10/31/2018               $13.45
LONA KRAMER              4040 NW 54TH ST                                                              LINCOLN             NE           68524                                  SUPPLIERS OR VENDORS        11/15/2018               $62.55
LONGLAT INC              23 CAROL STREET                                                              CLIFTON             NJ           07014                                  SUPPLIERS OR VENDORS        11/15/2018              $110.00
LONI COOK                922 CHICORY WAY                                                              SUN PRAIRIE         WI           53590                                  SUPPLIERS OR VENDORS        10/31/2018               $30.00
LOOK BEAUTY INC          7 ST THOMAS ST SUITE 208                                                     TORONTO             ON           M5S 2B7      CANADA                    SUPPLIERS OR VENDORS        10/18/2018            $4,803.96
LOOK BEAUTY INC          7 ST THOMAS ST SUITE 208                                                     TORONTO             ON           M5S 2B7      CANADA                    SUPPLIERS OR VENDORS        10/25/2018            $4,362.96
LOOK BEAUTY INC          7 ST THOMAS ST SUITE 208                                                     TORONTO             ON           M5S 2B7      CANADA                    SUPPLIERS OR VENDORS         11/1/2018              $912.84
LOOK BEAUTY INC          7 ST THOMAS ST SUITE 208                                                     TORONTO             ON           M5S 2B7      CANADA                    SUPPLIERS OR VENDORS         11/8/2018            $3,012.53
LOOK BEAUTY INC          7 ST THOMAS ST SUITE 208                                                     TORONTO             ON           M5S 2B7      CANADA                    SUPPLIERS OR VENDORS        11/15/2018            $2,834.16
LOOK BEAUTY INC          7 ST THOMAS ST SUITE 208                                                     TORONTO             ON           M5S 2B7      CANADA                    SUPPLIERS OR VENDORS        11/22/2018            $1,634.64
LOOK BEAUTY INC          7 ST THOMAS ST SUITE 208                                                     TORONTO             ON           M5S 2B7      CANADA                    SUPPLIERS OR VENDORS        11/29/2018            $2,352.00
LOOMIS INCORPORATED      DEPARTMENT CH 10500                                                          PALATINE            IL           60055-0500                             SUPPLIERS OR VENDORS        10/29/2018           $19,923.76
LOOMIS INCORPORATED      DEPARTMENT CH 10500                                                          PALATINE            IL           60055-0500                             SUPPLIERS OR VENDORS        11/26/2018           $25,743.97
LOOMIS INCORPORATED      DEPARTMENT CH 10500                                                          PALATINE            IL           60055-0500                             SUPPLIERS OR VENDORS          1/4/2019           $25,000.85

LORE INGRAM              3820 HERITAGE RIDGE DR                                                       WISCONSIN RAPIDS    WI           54494                                  SUPPLIERS OR VENDORS       12/13/2018               $22.00
LOREAL RETAIL DIVISION   PO BOX 96484                                                                 CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       10/19/2018            $4,281.86
LOREAL RETAIL DIVISION   PO BOX 96484                                                                 CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       10/19/2018          $188,786.83
LOREAL RETAIL DIVISION   PO BOX 96484                                                                 CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       10/20/2018            $1,910.66
LOREAL RETAIL DIVISION   PO BOX 96484                                                                 CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       10/20/2018          $339,558.68
LOREAL RETAIL DIVISION   PO BOX 96484                                                                 CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       10/23/2018           $27,086.12
LOREAL RETAIL DIVISION   PO BOX 96484                                                                 CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       10/24/2018           $10,418.75
LOREAL RETAIL DIVISION   PO BOX 96484                                                                 CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       10/26/2018            $5,311.33
LOREAL RETAIL DIVISION   PO BOX 96484                                                                 CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       10/26/2018           $74,777.14
LOREAL RETAIL DIVISION   PO BOX 96484                                                                 CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       10/27/2018           $60,554.87
LOREAL RETAIL DIVISION   PO BOX 96484                                                                 CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       10/30/2018            $4,767.81
LOREAL RETAIL DIVISION   PO BOX 96484                                                                 CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       10/30/2018          $127,650.21
LOREAL RETAIL DIVISION   PO BOX 96484                                                                 CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       10/31/2018            $1,249.28
LOREAL RETAIL DIVISION   PO BOX 96484                                                                 CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS        11/3/2018              $838.03
LOREAL RETAIL DIVISION   PO BOX 96484                                                                 CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       11/10/2018            $2,632.92
LOREAL RETAIL DIVISION   PO BOX 96484                                                                 CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       11/13/2018            $1,895.47
LOREAL RETAIL DIVISION   PO BOX 96484                                                                 CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       11/17/2018            $1,448.18
LOREAL RETAIL DIVISION   PO BOX 96484                                                                 CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       11/24/2018            $1,725.32
LOREAL RETAIL DIVISION   PO BOX 96484                                                                 CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       11/24/2018          $144,145.80
LOREAL RETAIL DIVISION   PO BOX 96484                                                                 CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       11/30/2018            $6,175.00
LOREAL RETAIL DIVISION   PO BOX 96484                                                                 CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS        12/4/2018          $182,254.29
LOREAL RETAIL DIVISION   PO BOX 96484                                                                 CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS        12/5/2018           $17,320.54
LOREEN FORT HOLBUS       STORE 4-036                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/20/2018              $191.25
LORELEI SCHARINGER       4408 CHAMPION RD                                                             NEW FRANKEN         WI           54229                                  SUPPLIERS OR VENDORS        12/3/2018               $41.71
LOREN BECK               7157 W GAGE RD                                                               HALLAM              NE           68368                                  SUPPLIERS OR VENDORS       12/13/2018               $47.94
LOREN DENKER             BOX 584                                                                      WISNER              NE           68791                                  SUPPLIERS OR VENDORS        12/7/2018               $30.00
LOREN ROBINSON           571 N PALM ST                                                                JANESVILLE          WI           53545                                  SUPPLIERS OR VENDORS        12/7/2018               $45.00
LORENE PINNT             55928 OLD HIGHWAY 8                                                          NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS       10/18/2018               $53.54
LORENE PINNT             55928 OLD HIGHWAY 8                                                          NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS       10/31/2018               $13.38
LORENE STUHR             PO BOX 122                                                                   ELGIN               NE           68636                                  SUPPLIERS OR VENDORS       11/30/2018               $13.38
                                                                           202 SUSAN LAWRENCE
LORETTA BENDON           STORE 681                  SHOPKO EMPLOYEE        DRIVE                      IDA GROVE           IA           51445                                  SUPPLIERS OR VENDORS       11/15/2018              $270.36

LORETTA BIGGERS SHERRILL 1841 W. 4TH ST.                                                              KUNA                ID           83634                                  SUPPLIERS OR VENDORS        12/3/2018               $49.98
LORETTA OZANICH          PO BOX 301                                                                   HUBBELL             MI           49934                                  SUPPLIERS OR VENDORS       10/29/2018               $38.40



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                                                                                                                                                                                Reasons for payment or    Dates of     Total Amount or
       Creditor Name             Address1                 Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
LORETTA THARES         BOX 172                                                                        IPSWICH             SD           57451                                  SUPPLIERS OR VENDORS        10/24/2018               $48.64
LORETTA THARES         BOX 172                                                                        IPSWICH             SD           57451                                  SUPPLIERS OR VENDORS        10/26/2018               $12.16
LORI BAASCH            1 SONJA DRIVE                                                                  DONIPHAN            NE           68832                                  SUPPLIERS OR VENDORS        11/29/2018               $45.00
LORI BALL              1019 ELM STREET                                                                CLARKSTON           WA           99403                                  SUPPLIERS OR VENDORS        11/28/2018               $98.00
LORI BROGE             STORE 053                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/20/2018               $32.70
LORI HASELTON          4664 BABCOCK WAY SE                                                            SALEM               OR           97317                                  SUPPLIERS OR VENDORS         12/7/2018               $45.00
LORI HOUSELOG          STORE 2-748                  SHOPKO EMPLOYEE        1002 7TH STREET SE         PIPESTONE           MN           56164                                  SUPPLIERS OR VENDORS        12/13/2018              $233.81
LORI JARRETT           STORE 2-705                  SHOPKO EMPLOYEE        2001 E 9TH STREET          TRENTON             MO           64683                                  SUPPLIERS OR VENDORS        10/18/2018               $25.62
LORI KARCZ             1703 PACKERLAND DR                                                             GREEN BAY           WI           54304                                  SUPPLIERS OR VENDORS        11/26/2018               $20.00
LORI KATCHER           19 E SCHNEIDER ST                                                              RICE LAKE           WI           54868                                  SUPPLIERS OR VENDORS         11/6/2018               $25.00
LORI KLESMITH          2906 TILDEN AVENUE                                                             DELAVAN             WI           53115                                  SUPPLIERS OR VENDORS        11/29/2018               $27.50
LORI KRUMBERGER        N3188 HEINTZ RD                                                                POYNETTE            WI           53955                                  SUPPLIERS OR VENDORS        12/21/2018               $37.50
LORI LITZA             STORE 2-008                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         12/6/2018               $80.25
LORI LOKKEN            2106 MIDDLETON ST.                                                             MIDDLETON           WI           53562                                  SUPPLIERS OR VENDORS         11/1/2018               $10.00
LORI OWENS             1530 S 30TH ST                                                                 ESCANABA            MI           49829                                  SUPPLIERS OR VENDORS        10/26/2018               $72.00
LORI PADRUTT           4004 ST FRANCIS STREET                                                         CROSS PLAINS        WI           53528                                  SUPPLIERS OR VENDORS        10/29/2018               $70.40
LORI PAULSON           230 3RD AVE N                                                                  WAITE PARK          MN           56387                                  SUPPLIERS OR VENDORS        12/13/2018               $23.00

LORI PLATT             1035 S. GEORGETOWN TERRACE                                                     BEAVER DAM          WI           53916                                  SUPPLIERS OR VENDORS        11/9/2018               $25.00
LORI RAMIREZ           204 N STEVENSON ST                                                             DE FOREST           WI           53532                                  SUPPLIERS OR VENDORS        11/2/2018              $109.00
LORI SCALZE            38632 GLACIER DR.                                                              NORTH BRANCH        MN           55056                                  SUPPLIERS OR VENDORS        11/5/2018                $2.07
LORI VOSIKA            STORE 2-745                  SHOPKO EMPLOYEE        PO BOX 70                  WINNER              SD           57580                                  SUPPLIERS OR VENDORS        11/1/2018               $18.69
LORI VOSIKA            STORE 2-745                  SHOPKO EMPLOYEE        PO BOX 70                  WINNER              SD           57580                                  SUPPLIERS OR VENDORS       12/13/2018               $18.80
LORI WENIG             W2850 TRUMPET LN                                                               APPLETON            WI           54915                                  SUPPLIERS OR VENDORS       11/26/2018               $22.50
LORI WIEDERRICK        723 HOPE AVE                                                                   SALMON              ID           83467                                  SUPPLIERS OR VENDORS       11/12/2018               $15.01
LORI WILHELM-KOPF      STORE 4-012                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/18/2018               $35.97
LORI WITBERLER         1826 COUNTY RD S                                                               EDGAR               WI           54426                                  SUPPLIERS OR VENDORS        11/1/2018               $25.00
LORI WOLF              8151 COUNTY RD Y                                                               MARSHFIELD          WI           54449                                  SUPPLIERS OR VENDORS       10/22/2018               $66.00
LORIE SUHR             1422 YORK ST                                                                   BLOOMER             WI           54724                                  SUPPLIERS OR VENDORS       12/10/2018               $35.00
LORNA DAVISON          6151 CHENEY DR                                                                 LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS        11/1/2018               $13.15
LORNA DAVISON          6151 CHENEY DR                                                                 LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS       12/13/2018               $60.85
LORNA MAY WOOLLARD     STORE 036                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/14/2018              $130.29
LORNA MAY WOOLLARD     STORE 036                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/20/2018              $127.97
LORNA MAY WOOLLARD     STORE 036                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/29/2018              $158.97
LORNA MAY WOOLLARD     STORE 036                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        1/15/2019              $419.59
                       CIT GROUP COMMERCIAL
LORNAMEAD INCO         SERVICES INC                 PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       10/18/2018              $510.80
                       CIT GROUP COMMERCIAL
LORNAMEAD INCO         SERVICES INC                 PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       10/20/2018              $823.24
                       CIT GROUP COMMERCIAL
LORNAMEAD INCO         SERVICES INC                 PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS        11/1/2018              $546.49
                       CIT GROUP COMMERCIAL
LORNAMEAD INCO         SERVICES INC                 PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS        11/2/2018              $495.68
                       CIT GROUP COMMERCIAL
LORNAMEAD INCO         SERVICES INC                 PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS        11/3/2018              $316.93
                       CIT GROUP COMMERCIAL
LORNAMEAD INCO         SERVICES INC                 PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/17/2018              $513.56
                       CIT GROUP COMMERCIAL
LORNAMEAD INCO         SERVICES INC                 PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/24/2018              $940.86
                       CIT GROUP COMMERCIAL
LORNAMEAD INCO         SERVICES INC                 PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/29/2018              $490.51
                       CIT GROUP COMMERCIAL
LORNAMEAD INCO         SERVICES INC                 PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS        12/1/2018              $197.51




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                                                                                                                                                                             Reasons for payment or    Dates of    Total Amount or
      Creditor Name                Address1             Address2                Address3                   City              State       Zip              Country                   transfer          Payments           Value
                                                                         1011 N WISCONSIN           PORT
LORRAINE BROCKMAN      STORE 503                  SHOPKO EMPLOYEE        STREET                     WASHINGTON          WI           53074                                  SUPPLIERS OR VENDORS       11/1/2018            $265.96
                                                                         1011 N WISCONSIN           PORT
LORRAINE BROCKMAN      STORE 503                  SHOPKO EMPLOYEE        STREET                     WASHINGTON          WI           53074                                  SUPPLIERS OR VENDORS      11/22/2018            $109.00
                                                                         1011 N WISCONSIN           PORT
LORRAINE BROCKMAN      STORE 503                  SHOPKO EMPLOYEE        STREET                     WASHINGTON          WI           53074                                  SUPPLIERS OR VENDORS      11/29/2018             $54.50
                                                                         1011 N WISCONSIN           PORT
LORRAINE BROCKMAN      STORE 503                  SHOPKO EMPLOYEE        STREET                     WASHINGTON          WI           53074                                  SUPPLIERS OR VENDORS      12/13/2018            $261.60
LORRAINE SABO          1938 WALLINFORD CIR                                                          SUN PRAIRIE         WI           53590                                  SUPPLIERS OR VENDORS      12/20/2018             $10.00
LORRIE GERING          134144 COUNTY RD C                                                           MOSINEE             WI           54455                                  SUPPLIERS OR VENDORS       12/3/2018             $25.00
LOS ANGELES GEM &
JEWELRY DBA LA ROCKS   659 S BROADWAY 7TH FLOOR                                                     LOS ANGELES         CA           90014                                  SUPPLIERS OR VENDORS      10/18/2018            $112.45
LOS ANGELES GEM &
JEWELRY DBA LA ROCKS   659 S BROADWAY 7TH FLOOR                                                     LOS ANGELES         CA           90014                                  SUPPLIERS OR VENDORS      10/20/2018           $1,941.25
LOS ANGELES GEM &
JEWELRY DBA LA ROCKS   659 S BROADWAY 7TH FLOOR                                                     LOS ANGELES         CA           90014                                  SUPPLIERS OR VENDORS      10/23/2018           $5,114.45
LOS ANGELES GEM &
JEWELRY DBA LA ROCKS   659 S BROADWAY 7TH FLOOR                                                     LOS ANGELES         CA           90014                                  SUPPLIERS OR VENDORS      10/24/2018            $113.40
LOS ANGELES GEM &
JEWELRY DBA LA ROCKS   659 S BROADWAY 7TH FLOOR                                                     LOS ANGELES         CA           90014                                  SUPPLIERS OR VENDORS      10/25/2018            $118.90
LOS ANGELES GEM &
JEWELRY DBA LA ROCKS   659 S BROADWAY 7TH FLOOR                                                     LOS ANGELES         CA           90014                                  SUPPLIERS OR VENDORS      10/26/2018            $109.40
LOS ANGELES GEM &
JEWELRY DBA LA ROCKS   659 S BROADWAY 7TH FLOOR                                                     LOS ANGELES         CA           90014                                  SUPPLIERS OR VENDORS      10/27/2018           $7,528.25
LOS ANGELES GEM &
JEWELRY DBA LA ROCKS   659 S BROADWAY 7TH FLOOR                                                     LOS ANGELES         CA           90014                                  SUPPLIERS OR VENDORS      10/30/2018           $1,102.65
LOS ANGELES GEM &
JEWELRY DBA LA ROCKS   659 S BROADWAY 7TH FLOOR                                                     LOS ANGELES         CA           90014                                  SUPPLIERS OR VENDORS      10/31/2018               $7.35
LOS ANGELES GEM &
JEWELRY DBA LA ROCKS   659 S BROADWAY 7TH FLOOR                                                     LOS ANGELES         CA           90014                                  SUPPLIERS OR VENDORS       11/1/2018             $87.35
LOS ANGELES GEM &
JEWELRY DBA LA ROCKS   659 S BROADWAY 7TH FLOOR                                                     LOS ANGELES         CA           90014                                  SUPPLIERS OR VENDORS       11/3/2018         $25,740.55
LOS ANGELES GEM &
JEWELRY DBA LA ROCKS   659 S BROADWAY 7TH FLOOR                                                     LOS ANGELES         CA           90014                                  SUPPLIERS OR VENDORS       11/6/2018            $314.15
LOS ANGELES GEM &
JEWELRY DBA LA ROCKS   659 S BROADWAY 7TH FLOOR                                                     LOS ANGELES         CA           90014                                  SUPPLIERS OR VENDORS       11/7/2018           $1,892.92
LOS ANGELES GEM &
JEWELRY DBA LA ROCKS   659 S BROADWAY 7TH FLOOR                                                     LOS ANGELES         CA           90014                                  SUPPLIERS OR VENDORS       11/8/2018             $95.25
LOS ANGELES GEM &
JEWELRY DBA LA ROCKS   659 S BROADWAY 7TH FLOOR                                                     LOS ANGELES         CA           90014                                  SUPPLIERS OR VENDORS       11/9/2018            $176.25
LOS ANGELES GEM &
JEWELRY DBA LA ROCKS   659 S BROADWAY 7TH FLOOR                                                     LOS ANGELES         CA           90014                                  SUPPLIERS OR VENDORS      11/10/2018         $16,270.75
LOS ANGELES GEM &
JEWELRY DBA LA ROCKS   659 S BROADWAY 7TH FLOOR                                                     LOS ANGELES         CA           90014                                  SUPPLIERS OR VENDORS      11/13/2018            $447.05
LOS ANGELES GEM &
JEWELRY DBA LA ROCKS   659 S BROADWAY 7TH FLOOR                                                     LOS ANGELES         CA           90014                                  SUPPLIERS OR VENDORS      11/14/2018           $7,172.50
LOS ANGELES GEM &
JEWELRY DBA LA ROCKS   659 S BROADWAY 7TH FLOOR                                                     LOS ANGELES         CA           90014                                  SUPPLIERS OR VENDORS      11/15/2018            $390.00
LOS ANGELES GEM &
JEWELRY DBA LA ROCKS   659 S BROADWAY 7TH FLOOR                                                     LOS ANGELES         CA           90014                                  SUPPLIERS OR VENDORS      11/16/2018            $126.25
LOS ANGELES GEM &
JEWELRY DBA LA ROCKS   659 S BROADWAY 7TH FLOOR                                                     LOS ANGELES         CA           90014                                  SUPPLIERS OR VENDORS      11/17/2018         $15,362.85
LOS ANGELES GEM &
JEWELRY DBA LA ROCKS   659 S BROADWAY 7TH FLOOR                                                     LOS ANGELES         CA           90014                                  SUPPLIERS OR VENDORS      11/24/2018         $25,237.20



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                                                                                                                                                                               Reasons for payment or    Dates of    Total Amount or
       Creditor Name              Address1                Address2                  Address3                  City             State       Zip              Country                   transfer          Payments           Value
LOS ANGELES GEM &
JEWELRY DBA LA ROCKS    659 S BROADWAY 7TH FLOOR                                                      LOS ANGELES         CA           90014                                  SUPPLIERS OR VENDORS      11/27/2018            $278.20
LOS ANGELES GEM &
JEWELRY DBA LA ROCKS    659 S BROADWAY 7TH FLOOR                                                      LOS ANGELES         CA           90014                                  SUPPLIERS OR VENDORS      11/28/2018             $78.90
LOS ANGELES GEM &
JEWELRY DBA LA ROCKS    659 S BROADWAY 7TH FLOOR                                                      LOS ANGELES         CA           90014                                  SUPPLIERS OR VENDORS      11/29/2018           $8,098.40
LOS ANGELES GEM &
JEWELRY DBA LA ROCKS    659 S BROADWAY 7TH FLOOR                                                      LOS ANGELES         CA           90014                                  SUPPLIERS OR VENDORS      11/30/2018            $470.15
LOS ANGELES GEM &
JEWELRY DBA LA ROCKS    659 S BROADWAY 7TH FLOOR                                                      LOS ANGELES         CA           90014                                  SUPPLIERS OR VENDORS       12/1/2018         $16,954.70
LOS ANGELES GEM &
JEWELRY DBA LA ROCKS    659 S BROADWAY 7TH FLOOR                                                      LOS ANGELES         CA           90014                                  SUPPLIERS OR VENDORS       12/4/2018         $10,311.40
LOTUS HANSON            286 PINEPLACE                                                                 DEXTER              MN           55926                                  SUPPLIERS OR VENDORS      12/17/2018            $125.00
LOU ANN BALDING         1808 KIMBER AVE                                                               MARQUETTE           MI           49855                                  SUPPLIERS OR VENDORS       11/2/2018             $61.98
LOU CINDA WAMSLEY       1801 S 96TH ST.                                                               HICKMAN             NE           68372                                  SUPPLIERS OR VENDORS       12/3/2018             $89.99
LOUANN BORGSTROM        2374 E. 7925 S.                                                               OGDEN               UT           84405                                  SUPPLIERS OR VENDORS      12/20/2018             $45.00
LOUIS ASPEN             3535 S ROCK SPRINGS WAY                                                       NAMPA               ID           83686                                  SUPPLIERS OR VENDORS      11/28/2018            $105.00
LOUIS CLOUTHIER         48801 BOOTJACK RD                                                             LAKE LINDEN         MI           49945                                  SUPPLIERS OR VENDORS      11/26/2018             $48.18
LOUIS NICKAS            330 NO CARBON AVE                                                             PRICE               UT           84501                                  SUPPLIERS OR VENDORS       12/7/2018             $70.50
LOUISE CAMERON          415 MAPLE                  P O BOX 426                                        SHEFFIELD           IA           50475                                  SUPPLIERS OR VENDORS      12/10/2018             $12.00
LOUISE HILLMER          W 2670 EMBER                                                                  MONTELLO            WI           53949                                  SUPPLIERS OR VENDORS      11/26/2018            $111.00
LOUISE KING-TAYLOR      P.O BOX 5074                                                                  LACEY               WA           98509                                  SUPPLIERS OR VENDORS      11/26/2018             $25.00
LOUISE LAUBER           4400 S 80TH                APT 303                                            LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS      10/29/2018             $13.15
LOUISE LAUBER           4400 S 80TH                APT 303                                            LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS       11/5/2018             $60.85
LOUISE MANTHEI          2230 N SUMMIT ST                                                              APPLETON            WI           54914                                  SUPPLIERS OR VENDORS      12/19/2018              $2.59
LOUISE SHEAHAN          3120 ONEIDA LAKE RD                                                           HARSHAW             WI           54529                                  SUPPLIERS OR VENDORS      11/29/2018             $39.68
LOWELL PETERSON         STORE 594                  SHOPKO EMPLOYEE         1951 E KING AVENUE         CHAMBERLAIN         SD           57325                                  SUPPLIERS OR VENDORS      11/16/2018            $707.41
LOYRELLI LEMKE          457 W CORNELL AVE                                                             STEVENS POINT       WI           54481                                  SUPPLIERS OR VENDORS       11/8/2018            $104.00
LOZIER LAWN CARE        JOHN LOZIER                1558 70TH STREET                                   MONMOUTH            IL           61462                                  SUPPLIERS OR VENDORS      10/18/2018            $280.00
LOZIER LAWN CARE        JOHN LOZIER                1558 70TH STREET                                   MONMOUTH            IL           61462                                  SUPPLIERS OR VENDORS      11/29/2018            $410.00
LOZIER STORE FIXTURES
INCORPORATED            PO BOX 3577                                                                   OMAHA               NE           68103-0577                             SUPPLIERS OR VENDORS      10/26/2018           $2,968.73
LOZIER STORE FIXTURES
INCORPORATED            PO BOX 3577                                                                   OMAHA               NE           68103-0577                             SUPPLIERS OR VENDORS      11/16/2018            $969.62
LOZIER STORE FIXTURES
INCORPORATED            PO BOX 3577                                                                   OMAHA               NE           68103-0577                             SUPPLIERS OR VENDORS      11/30/2018           $6,545.18
LOZIER STORE FIXTURES
INCORPORATED            PO BOX 3577                                                                   OMAHA               NE           68103-0577                             SUPPLIERS OR VENDORS      12/19/2018           $5,110.18
LOZIER STORE FIXTURES
INCORPORATED            PO BOX 3577                                                                   OMAHA               NE           68103-0577                             SUPPLIERS OR VENDORS      12/22/2018           $2,491.45
LP SOFTWARE
INCORPORATED            7000 W 111TH STREET 305                                                       WORTH               IL           60482                                  SUPPLIERS OR VENDORS      10/25/2018           $1,295.00
LP SOFTWARE                                        7000 W 111TH STREET
INCORPORATED            0                          305                                                WORTH               IL           60482                                  SUPPLIERS OR VENDORS      11/27/2018               $1.00
LP SOFTWARE
INCORPORATED            7000 W 111TH STREET 305                                                       WORTH               IL           60482                                  SUPPLIERS OR VENDORS      11/29/2018           $1,295.00
LUANE JAROSINSKI        W10060 GIVENS RD                                                              HORTONVILLE         WI           54944                                  SUPPLIERS OR VENDORS      10/29/2018              $35.00
LUANN BLOEMENDAAL       STORE 748                  SHOPKO EMPLOYEE         1002 7TH STREET SE         PIPESTONE           MN           56164                                  SUPPLIERS OR VENDORS       11/8/2018              $34.34
LUANNE AUSTIN           1813 S VIRGINIA                                                               MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS       12/5/2018              $67.00
LUCAS GRAGE             PO BOX 824                                                                    GWINN               MI           49841                                  SUPPLIERS OR VENDORS      10/24/2018              $17.50
LUCIA NEVAREZ           PO BOX 361                                                                    FIRTH               ID           83236                                  SUPPLIERS OR VENDORS      11/28/2018             $199.77
                                                                           1907 S STOCKTON
LUCILLE CHANCE          STORE 539                  SHOPKO EMPLOYEE         AVENUE                     MONAHANS            TX           79756-6507                             SUPPLIERS OR VENDORS      12/22/2018             $21.60
LUCILLE FOKKEN          201 2ND STREET WEST                                                           CANBY               MN           56220                                  SUPPLIERS OR VENDORS      12/10/2018              $9.36



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                                                                                                                                                                                  Reasons for payment or    Dates of     Total Amount or
       Creditor Name                  Address1              Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
LUCILLE KLIMKE             216 NORTH HUNTER STREET                                                      BERLIN              WI           54923                                  SUPPLIERS OR VENDORS         11/7/2018               $25.00
LUCILLE PETERSON           11958 JERRY LEE LANE                                                         NAMPA               ID           83651                                  SUPPLIERS OR VENDORS         11/7/2018               $40.00
LUCINDA EDSTROM            2315 PURPLE ASTER LANE                                                       JANESVILLE          WI           53546                                  SUPPLIERS OR VENDORS         12/7/2018               $62.00
LUCINDA FRITCHEN           1861 BRIARWOOD LN                                                            FITCHBURG           WI           53575                                  SUPPLIERS OR VENDORS         11/8/2018               $32.40
LUCINDA TEERINK            1101 CTY RD F                                                                EAU CLAIRE          WI           54703                                  SUPPLIERS OR VENDORS        11/29/2018              $238.00
LUCKY 13 LLC               2679 FAHEY GLEN                                                              FITCHBURG           WI           53711                                  SUPPLIERS OR VENDORS        11/10/2018           $12,491.21
LUCKY 13 LLC               2679 FAHEY GLEN                                                              FITCHBURG           WI           53711                                  SUPPLIERS OR VENDORS        11/10/2018           $14,883.79
LUCKY 13 LLC               2679 FAHEY GLEN                                                              FITCHBURG           WI           53711                                  SUPPLIERS OR VENDORS         12/8/2018           $12,491.21
LUCKY 13 LLC               2679 FAHEY GLEN                                                              FITCHBURG           WI           53711                                  SUPPLIERS OR VENDORS         12/8/2018           $14,883.79
LUCRETIA FEIST             BX 37                                                                        ZEELAND             ND           58581                                  SUPPLIERS OR VENDORS         11/8/2018               $71.03
LUCUS HERREN               PO BOX 6441                                                                  HELENA              MT           59604                                  SUPPLIERS OR VENDORS        10/25/2018               $23.00
LUIS CARLOS YLIZALITURRI   2129 COURTLAND DR                                                            APPLETON            WI           54914                                  SUPPLIERS OR VENDORS         11/5/2018               $23.00
LUIS GARCIA DIAZ           615 N SYCAMORE ST                                                            GRAND ISLAND        NE           68801                                  SUPPLIERS OR VENDORS         12/7/2018               $45.00
LUIS GONZALEZ              220 S 500 W APT 1                                                            LOGAN               UT           84321                                  SUPPLIERS OR VENDORS         11/8/2018               $16.00
LUIS RAY GARZA             151 MEAD AVE                                                                 OCONTO FALLS        WI           54154                                  SUPPLIERS OR VENDORS         12/7/2018               $23.00
LUIS YLIZALITURRI          2129 COURTLAND DR                                                            APPLETON            WI           54914                                  SUPPLIERS OR VENDORS         11/5/2018               $23.00
LUISA GENDRON              115 B SW SKYLINE DR                                                          PULLMAN             WA           99163                                  SUPPLIERS OR VENDORS        11/26/2018              $143.25
LUKE OLSON                 1104 BLACK OAK TR.                                                           DEERFIELD           WI           53531                                  SUPPLIERS OR VENDORS        10/19/2018               $24.00
LUKE THOMPSON              116 WEST WALNUT                                                              NORTHWOOD           IA           50459                                  SUPPLIERS OR VENDORS        10/31/2018               $11.40

LULICH LANDSCAPING LLC     N2091 FRANKE ROAD                                                            LYNDON STATION      WI           53944                                  SUPPLIERS OR VENDORS       10/18/2018              $284.85
                           THE LUND COMPANY TRUST     450 REGENCY PKWY STE
LUND 144 CENTER LLC        FOR SHOPKO                 200                                               OMAHA               NE           68114                                  SUPPLIERS OR VENDORS       11/10/2018           $68,425.86
                           THE LUND COMPANY TRUST     450 REGENCY PKWY STE
LUND 144 CENTER LLC        FOR SHOPKO                 200                                               OMAHA               NE           68114                                  SUPPLIERS OR VENDORS       12/12/2018           $68,425.86
LUPE CLARK                 1012 BRYAN AVE.                                                              BELLEVUE            NE           68005                                  SUPPLIERS OR VENDORS       10/22/2018               $30.00
LUXCOM INC (CHUB)          1212 6TH AVE SUITE 2304                                                      NEW YORK            NY           10036                                  SUPPLIERS OR VENDORS       10/19/2018               $32.21
LUXCOM INC (CHUB)          1212 6TH AVE SUITE 2304                                                      NEW YORK            NY           10036                                  SUPPLIERS OR VENDORS       11/23/2018               $94.32
LUXCOM INC (CHUB)          1212 6TH AVE SUITE 2304                                                      NEW YORK            NY           10036                                  SUPPLIERS OR VENDORS       11/30/2018              $114.48
LUXCOM INC (CHUB)          1212 6TH AVE SUITE 2304                                                      NEW YORK            NY           10036                                  SUPPLIERS OR VENDORS        12/4/2018              $113.11
                           SHOPKO STORES
LUXOTTICA GROUP            INCORPORATED               PO BOX 19060           DISC 092498                GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/18/2018              $744.00
                           SHOPKO STORES
LUXOTTICA GROUP            INCORPORATED               PO BOX 19060           DISC 092498                GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/25/2018           $24,704.00
                           SHOPKO STORES
LUXOTTICA GROUP            INCORPORATED               PO BOX 19060           DISC 092498                GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/8/2018           $22,618.40
LUZ SANCHEZ                901 METHOW STREET                                                            WENATCHEE           WA           98801                                  SUPPLIERS OR VENDORS       10/26/2018               $13.98
LYDIA ALME                 N311 MAIN ST                                                                 NELSON              WI           54756                                  SUPPLIERS OR VENDORS       11/12/2018               $59.71
LYDIA GUTIERREZ            4676 COMMERCIAL ST SE      #503                                              SALEM               OR           97302                                  SUPPLIERS OR VENDORS       10/29/2018               $10.70
LYDIA HOLLAND              STORE 534                  SHOPKO EMPLOYEE        PO BOX 1050                ROLLA               ND           58367-7606                             SUPPLIERS OR VENDORS        1/15/2019              $100.00
                                                                             301 SOUTH MANTORVILLE
LYDIA MUSSELMAN            STORE 796                  SHOPKO EMPLOYEE        AVENUE                KASSON                   MN           55944                                  SUPPLIERS OR VENDORS       11/22/2018               $82.84
                                                      EAGLE
                                                      MEADOWS/BROOKDALE
LYLA WOLCOTT               550 E. WHITMAN DR. # 128   COMMUNITY                                         COLLEGE PLACE       WA           99324                                  SUPPLIERS OR VENDORS       10/24/2018               $19.71
                                                      EAGLE
                                                      MEADOWS/BROOKDALE
LYLA WOLCOTT               550 E. WHITMAN DR. # 128   COMMUNITY                                         COLLEGE PLACE       WA           99324                                  SUPPLIERS OR VENDORS       10/29/2018                $4.29
LYLE DEVRIES               15570 W LANARK RD                                                            FORRESTON           IL           61030                                  SUPPLIERS OR VENDORS       10/22/2018               $32.00
LYLE DICKHAUT              1018 W. 8TH ST.                                                              MOBRIDGE            SD           57601                                  SUPPLIERS OR VENDORS        11/9/2018               $25.02
LYLE MULLENBACH            STORE 4-036                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/20/2018              $263.61
LYLE MULLENBACH            STORE 4-036                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/27/2018              $139.52
LYLE ZILLMER               98 ROHRER ST                                                                 CLINTONVILLE        WI           54929                                  SUPPLIERS OR VENDORS       12/17/2018               $39.46
LYN HOWARD                 2501 E 56TH                                                                  SPOKANE             WA           99223                                  SUPPLIERS OR VENDORS        12/7/2018               $54.40



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LYN HOWARD            2501 E 56TH                                                                 SPOKANE             WA           99223                                  SUPPLIERS OR VENDORS        12/10/2018               $13.60
LYN OXFORD            2457 MORROW CT NW                                                           SALEM               OR           97304                                  SUPPLIERS OR VENDORS        10/25/2018               $49.00
LYNDA WHITE           620 NORTH 100 TH                                                            LINCOLN             NE           68527                                  SUPPLIERS OR VENDORS         11/1/2018               $13.15
LYNDAL FEY            200 TERRACE VIEW AVE                                                        EDGERTON            MN           56128                                  SUPPLIERS OR VENDORS        11/29/2018               $48.00
LYNDON WICHERS        4631 BIRCH CREEK DR                                                         LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS        12/14/2018               $25.00
LYNETT DEMMER         513 2ND AVE SE                                                              HAYFIELD            MN           55940                                  SUPPLIERS OR VENDORS         11/2/2018               $61.00
LYNETT DEMMER         513 2ND AVE SE                                                              HAYFIELD            MN           55940                                  SUPPLIERS OR VENDORS         11/2/2018              $134.99
LYNETTE ANDERSON      STORE 738                 SHOPKO EMPLOYEE        PO BOX 10                  PERHAM              MN           56573                                  SUPPLIERS OR VENDORS        12/13/2018               $83.93
LYNETTE DELONG        2566 18 ST, APT 28                                                          KENOSHA             WI           53140                                  SUPPLIERS OR VENDORS        12/17/2018              $142.71

LYNK INCORPORATED     VICE PRESIDENT OF SALES   8241 MELROSE DRIVE                                SHAWNEE MISSION KS               66214                                  SUPPLIERS OR VENDORS       10/18/2018              $175.00

LYNK INCORPORATED     VICE PRESIDENT OF SALES   8241 MELROSE DRIVE                                SHAWNEE MISSION KS               66214                                  SUPPLIERS OR VENDORS       10/25/2018               $68.50

LYNK INCORPORATED     VICE PRESIDENT OF SALES   8241 MELROSE DRIVE                                SHAWNEE MISSION KS               66214                                  SUPPLIERS OR VENDORS        11/1/2018              $109.00

LYNK INCORPORATED     VICE PRESIDENT OF SALES   8241 MELROSE DRIVE                                SHAWNEE MISSION KS               66214                                  SUPPLIERS OR VENDORS        11/8/2018              $117.65

LYNK INCORPORATED     VICE PRESIDENT OF SALES   8241 MELROSE DRIVE                                SHAWNEE MISSION KS               66214                                  SUPPLIERS OR VENDORS       11/15/2018               $14.50

LYNK INCORPORATED     VICE PRESIDENT OF SALES   8241 MELROSE DRIVE                                SHAWNEE MISSION     KS           66214                                  SUPPLIERS OR VENDORS       11/22/2018               $33.50
LYNN ANDERSEN         STORE 2-683               SHOPKO EMPLOYEE        109 N MARKET STREET        AUDUBON             IA           50025                                  SUPPLIERS OR VENDORS        11/8/2018              $103.55
LYNN ANDERSEN         STORE 2-683               SHOPKO EMPLOYEE        109 N MARKET STREET        AUDUBON             IA           50025                                  SUPPLIERS OR VENDORS        12/6/2018              $109.00
LYNN CHANNE           144502 W 90 PR SW                                                           PROSSER             WA           99350                                  SUPPLIERS OR VENDORS       12/21/2018               $74.53
LYNN FRANZ            850 N 9TH ST                                                                MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS       11/12/2018               $15.02
LYNN GOLDAPSKE        N9618 OTTE CT                                                               APPLETON            WI           54915                                  SUPPLIERS OR VENDORS       12/13/2018               $25.00
LYNN HOOYMAN          1128 CYPRESS ST                                                             LITTLE CHUTE        WI           54140                                  SUPPLIERS OR VENDORS       10/24/2018               $24.19
LYNN HOOYMAN          1128 CYPRESS ST                                                             LITTLE CHUTE        WI           54140                                  SUPPLIERS OR VENDORS       11/29/2018               $16.81
LYNN KUKLINSKI        3370 ROYAL OAK DR                                                           PLOVER              WI           54467                                  SUPPLIERS OR VENDORS       10/29/2018                $8.40
LYNN LLOYD            STORE 120                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/19/2018              $283.06
LYNN LLOYD            STORE 120                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/2/2018              $268.14
LYNN MANN HALLMARK    680 PLANTERS MANOR WAY                                                      BRADENTON           FL           34212-0000                             SUPPLIERS OR VENDORS       10/30/2018            $2,146.88
LYNN MANN HALLMARK    680 PLANTERS MANOR WAY                                                      BRADENTON           FL           34212-0000                             SUPPLIERS OR VENDORS        11/6/2018            $2,168.75
LYNN MANN HALLMARK    680 PLANTERS MANOR WAY                                                      BRADENTON           FL           34212-0000                             SUPPLIERS OR VENDORS       11/13/2018            $2,125.00
LYNN MANN HALLMARK    680 PLANTERS MANOR WAY                                                      BRADENTON           FL           34212-0000                             SUPPLIERS OR VENDORS       11/27/2018            $2,037.50
LYNN MANN HALLMARK    680 PLANTERS MANOR WAY                                                      BRADENTON           FL           34212-0000                             SUPPLIERS OR VENDORS        12/4/2018            $2,125.00
LYNN MORGAN           STORE 605                 SHOPKO EMPLOYEE        340 S HIGHWAY 65           MORA                MN           55051                                  SUPPLIERS OR VENDORS       10/18/2018               $31.52
LYNN MORGAN           STORE 605                 SHOPKO EMPLOYEE        340 S HIGHWAY 65           MORA                MN           55051                                  SUPPLIERS OR VENDORS       10/25/2018               $54.50
LYNN MORGAN           STORE 605                 SHOPKO EMPLOYEE        340 S HIGHWAY 65           MORA                MN           55051                                  SUPPLIERS OR VENDORS        11/8/2018               $54.50
LYNN ORBAN            2117 W 5TH                                                                  SIOUX CITY          IA           51103                                  SUPPLIERS OR VENDORS        12/5/2018               $30.00
LYNN PETERS           1112 SOUTH PRESIDENT                                                        MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS       10/31/2018                $8.03
LYNN POMPROWITZ       1949 SAGEBRUSH WAY                                                          GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS       10/25/2018               $10.00
LYNN SHERE            STORE 032                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/29/2018              $472.04
LYNN VONLOH           STORE 2-695               SHOPKO EMPLOYEE        2353 SOUTH E               BROKEN BOW          NE           68822                                  SUPPLIERS OR VENDORS        11/8/2018              $131.90
LYNN VONLOH           STORE 2-695               SHOPKO EMPLOYEE        2353 SOUTH E               BROKEN BOW          NE           68822                                  SUPPLIERS OR VENDORS       12/13/2018               $45.79
LYNN WESTLEY          2106 W VINE CT                                                              EAU CLAIRE          WI           54703                                  SUPPLIERS OR VENDORS       11/26/2018               $52.80
LYNNE MINERVINI       220 KARIN CT                                                                LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS       10/26/2018               $12.80
LYNNE MINERVINI       220 KARIN CT                                                                LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS        12/5/2018               $51.20
LYNNE MORGAN          N9671 FRIENDSHIP DRIVE                                                      KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS       12/13/2018               $15.00
LYNNE SHIFLETT        1116 COMMERCIAL ST.                                                         LEAVENWORTH         WA           98826                                  SUPPLIERS OR VENDORS        12/7/2018               $38.03
LYNNETTE ALVARADO     N2510 WENHAM RD                                                             FORT ATKINSON       WI           53538                                  SUPPLIERS OR VENDORS        11/2/2018               $47.50
LYNNMARY WEGE         9430 S. CLINIC RD.                                                          BELOIT              WI           53511                                  SUPPLIERS OR VENDORS        12/3/2018               $25.00
LYNSIE TUCKER         1720 S 3RD ST W #232                                                        MISSOULA            MT           59801                                  SUPPLIERS OR VENDORS        12/7/2018               $53.76
LYRIC SMITH           17270 NORTHSIDE BLVD                                                        NAMPA               ID           83687                                  SUPPLIERS OR VENDORS        11/9/2018               $23.00



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                                                                                                                                                                           Reasons for payment or    Dates of     Total Amount or
       Creditor Name             Address1            Address2                  Address3                  City             State       Zip              Country                    transfer          Payments            Value
LYRIC SMITH             17270 NORTHSIDE BLVD                                                     NAMPA               ID           83687                                  SUPPLIERS OR VENDORS         11/9/2018               $23.00
                                               SHOPKO STORES
M & C BEVERAGE          CASH ON DELIVERY       INCORPORATED           PAM TO ORACLE              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/22/2018            $1,025.08
                                               SHOPKO STORES
M & C BEVERAGE          CASH ON DELIVERY       INCORPORATED           PAM TO ORACLE              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/2/2018            $1,592.36
                                               SHOPKO STORES
M & C BEVERAGE          CASH ON DELIVERY       INCORPORATED           PAM TO ORACLE              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/16/2018            $1,501.37
                                               SHOPKO STORES
M & C BEVERAGE          CASH ON DELIVERY       INCORPORATED           PAM TO ORACLE              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/30/2018            $1,319.04
M & E CATERING          ATTN BECKY ELLISON     308 SOUTH B STREET                                MONMOUTH            IL           61462                                  SUPPLIERS OR VENDORS       12/10/2018              $600.00
M & E LANDSCAPING LLC   N3345 COUNTY B                                                           KEWAUNEE            WI           54216                                  SUPPLIERS OR VENDORS        11/1/2018              $358.70
M & E LANDSCAPING LLC   N3345 COUNTY B                                                           KEWAUNEE            WI           54216                                  SUPPLIERS OR VENDORS       12/17/2018              $358.70
M & M MARS              PO BOX 71209                                                             CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS       10/18/2018              $426.12
M & M MARS              PO BOX 71209                                                             CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS       10/18/2018           $80,343.56
M & M MARS              PO BOX 71209                                                             CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS       10/20/2018           $66,061.54
M & M MARS              PO BOX 71209                                                             CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS       10/23/2018           $30,732.55
M & M MARS              PO BOX 71209                                                             CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS       10/23/2018          $118,684.31
M & M MARS              PO BOX 71209                                                             CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS       10/24/2018           $21,810.04
M & M MARS              PO BOX 71209                                                             CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS       10/24/2018           $36,176.58
M & M MARS              PO BOX 71209                                                             CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS       10/25/2018          $228,964.05
M & M MARS              PO BOX 71209                                                             CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS       10/27/2018           $10,588.92
M & M MARS              PO BOX 71209                                                             CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS       10/27/2018           $38,892.25
M & M MARS              PO BOX 71209                                                             CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS       10/27/2018           $72,012.37
M & M MARS              PO BOX 71209                                                             CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS       10/27/2018          $246,862.29
M & M MARS              PO BOX 71209                                                             CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS       10/30/2018          $147,971.51
M & M MARS              PO BOX 71209                                                             CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS       10/31/2018           $33,697.95
M & M MARS              PO BOX 71209                                                             CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS       10/31/2018           $80,405.94
M & M MARS              PO BOX 71209                                                             CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS        11/1/2018            $1,036.80
M & M MARS              PO BOX 71209                                                             CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS        11/1/2018            $6,575.58
M & M MARS              PO BOX 71209                                                             CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS        11/1/2018           $25,256.66
M & M MARS              PO BOX 71209                                                             CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS        11/1/2018           $33,225.78
M & M MARS              PO BOX 71209                                                             CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS        11/2/2018          $104,962.17
M & M MARS              PO BOX 71209                                                             CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS        11/3/2018            $9,090.60
M & M MARS              PO BOX 71209                                                             CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS        11/3/2018           $22,053.83
M & M MARS              PO BOX 71209                                                             CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS        11/3/2018           $32,213.07
M & M MARS              PO BOX 71209                                                             CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS        11/3/2018           $71,899.47
M & M MARS              PO BOX 71209                                                             CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS        11/6/2018           $15,423.00
M & M MARS              PO BOX 71209                                                             CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS        11/6/2018           $93,225.23
M & M MARS              PO BOX 71209                                                             CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS        11/7/2018           $81,716.40
M & M MARS              PO BOX 71209                                                             CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS        11/8/2018            $6,072.95
M & M MARS              PO BOX 71209                                                             CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS       11/13/2018            $6,152.94
M & M MARS              PO BOX 71209                                                             CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS       11/13/2018           $12,260.84
M & M MARS              PO BOX 71209                                                             CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS       11/13/2018           $20,012.80
M & M MARS              PO BOX 71209                                                             CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS       11/14/2018           $62,005.23
M & M MARS              PO BOX 71209                                                             CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS       11/15/2018              $286.70
M & M MARS              PO BOX 71209                                                             CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS       11/15/2018            $6,038.47
M & M MARS              PO BOX 71209                                                             CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS       11/15/2018           $29,161.94
M & M MARS              PO BOX 71209                                                             CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS       11/15/2018           $53,750.79
M & M MARS              PO BOX 71209                                                             CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS       11/16/2018              $751.40
M & M MARS              PO BOX 71209                                                             CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS       11/17/2018              $143.90
M & M MARS              PO BOX 71209                                                             CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS       11/17/2018            $2,133.74
M & M MARS              PO BOX 71209                                                             CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS       11/24/2018           $27,750.82
M & M MARS              PO BOX 71209                                                             CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS       11/24/2018           $46,397.50
M & M MARS              PO BOX 71209                                                             CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS       11/24/2018          $218,001.35



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                                                                                                                                                                             Reasons for payment or    Dates of     Total Amount or
       Creditor Name             Address1              Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
M & M MARS             PO BOX 71209                                                                CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS        11/30/2018           $20,268.17
M & M MARS             PO BOX 71209                                                                CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS         12/1/2018           $22,891.88
M & M MARS             PO BOX 71209                                                                CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS         12/4/2018           $11,401.81
M & M MARS             PO BOX 71209                                                                CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS         12/5/2018            $2,025.80
M & M MARS             PO BOX 71209                                                                CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS         12/6/2018              $393.09
M & M MARS             PO BOX 71209                                                                CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS         12/6/2018            $3,003.10
M & M MARS             PO BOX 71209                                                                CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS        12/13/2018           $62,240.53
M & M MARS             PO BOX 71209                                                                CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS        12/13/2018           $63,209.66
M & M MARS             PO BOX 71209                                                                CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS        12/13/2018          $103,536.77
M & M MARS             PO BOX 71209                                                                CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS        12/14/2018           $29,231.24
M & M MARS             PO BOX 71209                                                                CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS        12/19/2018            $8,694.62
M & M MARS             PO BOX 71209                                                                CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS        12/19/2018           $91,592.54
M & M MARS             PO BOX 71209                                                                CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS        12/19/2018          $263,174.73
M & M MARS             PO BOX 71209                                                                CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS        12/21/2018            $2,862.12
M & M MARS             PO BOX 71209                                                                CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS        12/22/2018            $2,441.53
M & M MARS             PO BOX 71209                                                                CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS        12/28/2018            $7,907.80
M & M MARS             PO BOX 71209                                                                CHICAGO             IL           60694-1209                             SUPPLIERS OR VENDORS        12/28/2018          $229,094.99
M & W SERVICES                                  1222 GATEWAY DRIVE                                 EAST GRAND
INCORPORATED           FERT L LAWN              NE                                                 FORKS               MN           56721                                  SUPPLIERS OR VENDORS        11/8/2018            $1,336.37
M A K RENTALS LLC      MARK A KEMPPAINEN        47346 STRATTON AVE                                 ATLANTIC MINE       MI           49905                                  SUPPLIERS OR VENDORS       11/10/2018           $16,000.00
M A K RENTALS LLC      MARK A KEMPPAINEN        47346 STRATTON AVE                                 ATLANTIC MINE       MI           49905                                  SUPPLIERS OR VENDORS        12/8/2018           $16,000.00
M A S INDUSTRIES
INCORPORATED           1050 PILGRIM ROAD                                                           PLYMOUTH            WI           53073                                  SUPPLIERS OR VENDORS       12/19/2018           $25,685.80
M GROUP LLC            2327 E WOODSTONE DRIVE                                                      HAYDEN              ID           83835                                  SUPPLIERS OR VENDORS        11/1/2018           $42,874.44
M GROUP LLC            2327 E WOODSTONE DRIVE                                                      HAYDEN              ID           83835                                  SUPPLIERS OR VENDORS        12/1/2018           $42,874.44

M GROUP LLC            2327 E WOODSTONE DR                                                         HAYDEN, ID          ID           83835                                  LANDLORD RENT PAYMENT        1/9/2019           $42,874.44
M HIDARY & CO INC      10 West 33rd Street      9th Floor                                          New York            NY           10001                                  SUPPLIERS OR VENDORS       10/29/2018            $3,587.86
M HIDARY & CO INC      10 West 33rd Street      9th Floor                                          New York            NY           10001                                  SUPPLIERS OR VENDORS       10/31/2018           $30,844.00
M HIDARY & CO INC      10 West 33rd Street      9th Floor                                          New York            NY           10001                                  SUPPLIERS OR VENDORS        11/7/2018              $273.49
M HIDARY & CO INC      10 West 33rd Street      9th Floor                                          New York            NY           10001                                  SUPPLIERS OR VENDORS        11/8/2018              $836.00
M HIDARY & CO INC      10 West 33rd Street      9th Floor                                          New York            NY           10001                                  SUPPLIERS OR VENDORS       11/28/2018           $27,772.09
M HIDARY & CO INC      10 West 33rd Street      9th Floor                                          New York            NY           10001                                  SUPPLIERS OR VENDORS       11/30/2018           $19,200.00
M J DALSIN COMPANY
INCORPORATED           DALSIN INCORPORATED      1008 W DELAWARE                                    SIOUX FALLS         SD           57104                                  SUPPLIERS OR VENDORS       12/14/2018           $29,240.00
M J LANG ASPHALT LLC   GLACIAL LAKES ASPHALT    15767 449TH AVE                                    FLORENCE            SD           57235                                  SUPPLIERS OR VENDORS        11/1/2018            $6,938.79
M SHIRAZ L L C         PO BOX 80110                                                                SAUKVILLE           WI           53080-0110                             SUPPLIERS OR VENDORS        12/4/2018              $468.00
M SHIRAZ L L C         PO BOX 80110                                                                SAUKVILLE           WI           53080-0110                             SUPPLIERS OR VENDORS       12/11/2018              $120.00
M T C MARKETING        1415 Hutton Dr                                                              CARROLLTON          TX           75006                                  SUPPLIERS OR VENDORS       10/19/2018          $252,906.70
M T C MARKETING        1415 Hutton Dr                                                              CARROLLTON          TX           75006                                  SUPPLIERS OR VENDORS        11/2/2018            $5,258.20
M T C MARKETING        1415 Hutton Dr                                                              CARROLLTON          TX           75006                                  SUPPLIERS OR VENDORS        11/8/2018           $34,750.97
M2 LOGISTICS INC       SHOPKO STORES INC        PO BOX 9060                                        GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/23/2018           $35,694.36
M2 LOGISTICS INC       SHOPKO STORES INC        PO BOX 9060                                        GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/25/2018           $33,723.29
M2 LOGISTICS INC       SHOPKO STORES INC        PO BOX 9060                                        GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/30/2018            $4,820.12
M2 LOGISTICS INC       SHOPKO STORES INC        PO BOX 9060                                        GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/1/2018           $58,618.46
M2 LOGISTICS INC       SHOPKO STORES INC        PO BOX 9060                                        GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/6/2018            $6,303.24
M2 LOGISTICS INC       SHOPKO STORES INC        PO BOX 9060                                        GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/8/2018           $19,927.58
M2 LOGISTICS INC       SHOPKO STORES INC        PO BOX 9060                                        GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/13/2018           $24,223.94
M2 LOGISTICS INC       SHOPKO STORES INC        PO BOX 9060                                        GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/15/2018           $20,767.29
M2 LOGISTICS INC       SHOPKO STORES INC        PO BOX 9060                                        GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/27/2018           $86,854.57
M2 LOGISTICS INC       SHOPKO STORES INC        PO BOX 9060                                        GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/29/2018           $32,416.27
M2 LOGISTICS INC       SHOPKO STORES INC        PO BOX 9060                                        GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/4/2018           $32,226.19
M2 LOGISTICS INC       SHOPKO STORES INC        PO BOX 9060                                        GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/6/2018           $16,061.57
M2 LOGISTICS INC       SHOPKO STORES INC        PO BOX 9060                                        GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/10/2018           $22,546.50



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                                                                                                                                                                                Reasons for payment or    Dates of     Total Amount or
      Creditor Name             Address1                  Address2                  Address3                City               State       Zip              Country                    transfer          Payments            Value
M2 LOGISTICS INC       SHOPKO STORES INC           PO BOX 9060                                        GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/20/2018          $178,661.22
M2 LOGISTICS INC       SHOPKO STORES INC           PO BOX 9060                                        GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/21/2018            $6,981.38
M2 LOGISTICS INC       SHOPKO STORES INC           PO BOX 9060                                        GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/22/2018            $5,891.48
M2 LOGISTICS INC       SHOPKO STORES INC           PO BOX 9060                                        GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/28/2018            $2,181.33
M2 LOGISTICS INC       SHOPKO STORES INC           PO BOX 9060                                        GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/29/2018            $4,800.58
M2 LOGISTICS INC       SHOPKO STORES INC           PO BOX 9060                                        GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS          1/5/2019           $15,694.86
M2 LOGISTICS INC       SHOPKO STORES INC           PO BOX 9060                                        GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         1/10/2019           $14,118.21
                                                   100 WILLIAM ST 12TH
MAC WAREHOUSE          BEHALF INC                  FLOOR                                              NEW YORK            NY           10038                                  SUPPLIERS OR VENDORS        11/6/2018          $414,585.00
                                                   100 WILLIAM ST 12TH
MAC WAREHOUSE          BEHALF INC                  FLOOR                                              NEW YORK            NY           10038                                  SUPPLIERS OR VENDORS        11/9/2018                $1.00
                                                   100 WILLIAM ST 12TH
MAC WAREHOUSE          BEHALF INC                  FLOOR                                              NEW YORK            NY           10038                                  SUPPLIERS OR VENDORS        12/4/2018           $49,950.00
MACHELLE KOBLI         508 SUNRISE PLACE                                                              SELAH               WA           98942                                  SUPPLIERS OR VENDORS       10/29/2018               $25.00
MACLANE SMITH          2321 130TH ST                                                                  BELMOND             IA           50421                                  SUPPLIERS OR VENDORS       12/13/2018               $23.00
MACY BUKSYK            711 CONGRESS PL                                                                NEENAH              WI           54956                                  SUPPLIERS OR VENDORS        11/5/2018               $13.68
MACY WALDNER           1311 KANSAS NE                                                                 HURON               SD           57350                                  SUPPLIERS OR VENDORS        12/7/2018               $44.80

MAD DOG CONCEPTS LLC   REPUBLIC BUSINESS CREDIT LLC PO BOX 203152                                     DALLAS              TX           75320-3152                             SUPPLIERS OR VENDORS       10/18/2018           $11,709.66

MAD DOG CONCEPTS LLC   REPUBLIC BUSINESS CREDIT LLC PO BOX 203152                                     DALLAS              TX           75320-3152                             SUPPLIERS OR VENDORS        11/8/2018            $5,609.93

MAD DOG CONCEPTS LLC   REPUBLIC BUSINESS CREDIT LLC PO BOX 203152                                     DALLAS              TX           75320-3152                             SUPPLIERS OR VENDORS       11/15/2018           $22,949.96
MAD ENGINE
INCORPORATED           6740 COBRA WAY STE 100                                                         SAN DIEGO           CA           92121                                  SUPPLIERS OR VENDORS       10/18/2018            $4,797.97
MAD ENGINE
INCORPORATED           6740 COBRA WAY STE 100                                                         SAN DIEGO           CA           92121                                  SUPPLIERS OR VENDORS        11/1/2018           $27,536.48
MAD ENGINE
INCORPORATED           6740 COBRA WAY STE 100                                                         SAN DIEGO           CA           92121                                  SUPPLIERS OR VENDORS        11/8/2018           $19,656.71
MAD ENGINE
INCORPORATED           6740 COBRA WAY STE 100                                                         SAN DIEGO           CA           92121                                  SUPPLIERS OR VENDORS       11/15/2018           $50,673.60
MAD ENGINE
INCORPORATED           6740 COBRA WAY STE 100                                                         SAN DIEGO           CA           92121                                  SUPPLIERS OR VENDORS       11/22/2018           $26,680.03
MAD ENGINE
INCORPORATED           6740 COBRA WAY STE 100                                                         SAN DIEGO           CA           92121                                  SUPPLIERS OR VENDORS       11/29/2018           $81,127.40
MADALYN LEHMANN        W1202 CNTY RD S                                                                KEWASKUM            WI           53037                                  SUPPLIERS OR VENDORS       10/25/2018               $23.00
MADDISON RENIKOW       N9651 COTTAGE LANE                                                             WAUSAUKEE           WI           54177                                  SUPPLIERS OR VENDORS       10/18/2018              $149.96
MADELINE ARENZ         1134 ASPEN VALLEY DR                                                           ONALASKA            WI           54650                                  SUPPLIERS OR VENDORS       10/31/2018               $40.00
MADELINE MAURER        P.O. BOX 581                105 E HAMBLETT ST                                  ORFORDVILLE         WI           53576                                  SUPPLIERS OR VENDORS        11/2/2018                $3.58
MADELINE MORGAN        1809 THOMSEN PLACE                                                             MITCHELL            SD           57301                                  SUPPLIERS OR VENDORS        11/9/2018               $23.00
MADELINE NELSON        1272 SHERRY DR                                                                 MINNESOTA CITY      MN           55959                                  SUPPLIERS OR VENDORS        11/9/2018               $66.30
MADELINE WUDSTRACK     W12550 KELLER RD                                                               MARION              WI           54950                                  SUPPLIERS OR VENDORS       10/24/2018               $30.00
MADISON BURKHOLDER     3917 N 159TH ST                                                                OMAHA               NE           68116                                  SUPPLIERS OR VENDORS       12/14/2018               $16.00
MADISON FENENDAEL      N 7525 COUNTY RD P                                                             ALGOMA              WI           54201                                  SUPPLIERS OR VENDORS       11/28/2018               $10.00
MADISON KECK           STORE 2-104                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/2/2018               $58.86
MADISON KECK           STORE 2-104                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/16/2018               $22.89
MADISON ROEBER         STORE 2-793                 SHOPKO EMPLOYEE         2050 HORICON STREET        MAYVILLE            WI           53050                                  SUPPLIERS OR VENDORS       11/15/2018               $32.70
MADISON SCOTT          1130 4TH AVE                                                                   VAUGHN              MT           59487                                  SUPPLIERS OR VENDORS       10/19/2018               $85.46
MADLAIN VANDER         603 12TH AVE. SW                                                               AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS       11/30/2018               $15.00
MADLAIN VANDER         603 12TH AVE. SW                                                               AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS       11/30/2018               $25.00
MAFCOTE INDUSTRIES
INCORPORATED           108 MAIN STREET                                                                NORWALK             CT           06851                                  SUPPLIERS OR VENDORS       10/18/2018              $990.51
MAFCOTE INDUSTRIES
INCORPORATED           108 MAIN STREET                                                                NORWALK             CT           06851                                  SUPPLIERS OR VENDORS        11/1/2018            $2,615.54



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MAFCOTE INDUSTRIES
INCORPORATED             108 MAIN STREET                                                               NORWALK              CT           06851                                 SUPPLIERS OR VENDORS       11/8/2018            $516.97
MAFCOTE INDUSTRIES
INCORPORATED             108 MAIN STREET                                                               NORWALK              CT           06851                                 SUPPLIERS OR VENDORS      11/15/2018           $2,211.52
MAFCOTE INDUSTRIES
INCORPORATED             108 MAIN STREET                                                               NORWALK              CT           06851                                 SUPPLIERS OR VENDORS      11/22/2018           $4,802.57
MAGFORMERS LLC           44125 FORD ROAD                                                               CANTON               MI           48187                                 SUPPLIERS OR VENDORS       11/9/2018              $29.45
MAGFORMERS LLC           44125 FORD ROAD                                                               CANTON               MI           48187                                 SUPPLIERS OR VENDORS      11/16/2018              $37.45
MAGFORMERS LLC           44125 FORD ROAD                                                               CANTON               MI           48187                                 SUPPLIERS OR VENDORS      12/11/2018              $82.95
MAGGIE FULLINGTON        2874 SUSSEX RD                                                                GREEN BAY            WI           54311                                 SUPPLIERS OR VENDORS       11/2/2018               $9.60
                                                    221 CALIFORNIA
MAGIC CLEANERS           SEE V# 8059075-002         AVENUE                                             LIBBY                MT           59923                                 SUPPLIERS OR VENDORS       11/8/2018            $248.00
                                                    221 CALIFORNIA
MAGIC CLEANERS           SEE V# 8059075-002         AVENUE                                             LIBBY                MT           59923                                 SUPPLIERS OR VENDORS      11/15/2018             $84.00
MAGIC VALLEY MALL LLC    ATTN: CHERI FREEMAN        SUITE OFC               1485 POLE LINE ROAD E      TWIN FALLS           ID           83301                                 SUPPLIERS OR VENDORS       11/1/2018         $10,657.42
MAGIC VALLEY MALL LLC    ATTN: CHERI FREEMAN        SUITE OFC               1485 POLE LINE ROAD E      TWIN FALLS           ID           83301                                 SUPPLIERS OR VENDORS       12/3/2018         $10,657.42
MAGNETIC PRODUCTS &      7600 BOONE AVENUE NORTH
SERVICES INC             SUITE 1                                                                       MINNEAPOLIS          MN           55428                                 SUPPLIERS OR VENDORS       11/2/2018           $3,023.50
MAHASKA BOTTLING         VICE PRESIDENT OF SALES    PO BOX 50                                          OSKALOOSA            IA           52577                                 SUPPLIERS OR VENDORS      10/18/2018             $661.83
MAHASKA BOTTLING         VICE PRESIDENT OF SALES    PO BOX 50                                          OSKALOOSA            IA           52577                                 SUPPLIERS OR VENDORS      10/25/2018           $2,313.72
MAHASKA BOTTLING         VICE PRESIDENT OF SALES    PO BOX 50                                          OSKALOOSA            IA           52577                                 SUPPLIERS OR VENDORS       11/1/2018             $705.69
MAHASKA BOTTLING         VICE PRESIDENT OF SALES    PO BOX 50                                          OSKALOOSA            IA           52577                                 SUPPLIERS OR VENDORS       11/8/2018             $831.20
MAHASKA BOTTLING         VICE PRESIDENT OF SALES    PO BOX 50                                          OSKALOOSA            IA           52577                                 SUPPLIERS OR VENDORS      11/15/2018             $376.16
MAHASKA BOTTLING         VICE PRESIDENT OF SALES    PO BOX 50                                          OSKALOOSA            IA           52577                                 SUPPLIERS OR VENDORS      11/22/2018             $319.99
MAHASKA BOTTLING         VICE PRESIDENT OF SALES    PO BOX 50                                          OSKALOOSA            IA           52577                                 SUPPLIERS OR VENDORS      11/29/2018           $1,136.40
MAHASKA BOTTLING         VICE PRESIDENT OF SALES    PO BOX 50                                          OSKALOOSA            IA           52577                                 SUPPLIERS OR VENDORS      12/19/2018           $5,043.16
MAHASKA BOTTLING         VICE PRESIDENT OF SALES    PO BOX 50                                          OSKALOOSA            IA           52577                                 SUPPLIERS OR VENDORS      12/20/2018             $176.41
MAHASKA BOTTLING         VICE PRESIDENT OF SALES    PO BOX 50                                          OSKALOOSA            IA           52577                                 SUPPLIERS OR VENDORS      12/27/2018             $592.41
MAIERS TRANSPORT AND
WAREHOUSING INC          5 MCLELAND RD SUITE A      PO BOX 218                                         ST CLOUD             MN           56302                                 SUPPLIERS OR VENDORS      11/15/2018            $129.15
MAIERS TRANSPORT AND
WAREHOUSING INC          5 MCLELAND RD SUITE A      PO BOX 218                                         ST CLOUD             MN           56302                                 SUPPLIERS OR VENDORS      11/29/2018             $113.90
MAILFINANCE              PO BOX 123682              DEPT 3682                                          DALLAS               TX           75312-3682                            SUPPLIERS OR VENDORS       11/8/2018           $1,139.74
MAILING SYSTEMS PLUS
MORE                     PO BOX 6832                                                                   HELENA               MT           59604                                 SUPPLIERS OR VENDORS      11/29/2018            $101.50
MAILING SYSTEMS PLUS
MORE                     PO BOX 6832                                                                   HELENA               MT           59604                                 SUPPLIERS OR VENDORS      12/17/2018              $6.45
MAIN STREET BEATRICE     CITY AUDITORIUM            205 N 4TH STREET        PO BOX 125                 BEATRICE             NE           68310                                 SUPPLIERS OR VENDORS      12/20/2018            $110.00
MAINETTI USA
INCORPORATED             DEPARTMENT AT 40190                                                           ATLANTA              GA           31192-0190                            SUPPLIERS OR VENDORS       11/8/2018         $14,744.00
MAINETTI USA
INCORPORATED             DEPARTMENT AT 40190                                                           ATLANTA              GA           31192-0190                            SUPPLIERS OR VENDORS      11/29/2018          $3,243.20
MAJ BLAIR LLC            5880 VIA LUGANO UNIT 104                                                      NAPLES               FL           34108                                 SUPPLIERS OR VENDORS      11/15/2018         $14,024.39
MAJ BLAIR LLC            5880 VIA LUGANO UNIT 104                                                      NAPLES               FL           34108                                 SUPPLIERS OR VENDORS      11/28/2018         $12,197.52
MAJESTY BRANDS LLC       WELLS FARGO BANK NA        PO BOX 842683                                      BOSTON               MA           02284-2683                            SUPPLIERS OR VENDORS      11/15/2018          $2,638.71

MAJOR COUNTY TREASURER   PO BOX 455                                                                    FAIRVIEW             OK           73737                                 SUPPLIERS OR VENDORS       12/4/2018           $9,191.00
MAKENAH NOVOTNY          W5065 NAVAN ROAD                                                              WATERTOWN            WI           53094                                 SUPPLIERS OR VENDORS      10/29/2018              $30.00
MAKENNA MITCHELL         1184 W 1500 S                                                                 SPRINGVILLE          UT           84663                                 SUPPLIERS OR VENDORS      12/13/2018              $23.00
MAKYLA MECK              4347 N 1212 E                                                                 BUHL                 ID           83316                                 SUPPLIERS OR VENDORS      10/31/2018               $1.96
MAKYLA MECK              4347 N 1212 E                                                                 BUHL                 ID           83316                                 SUPPLIERS OR VENDORS      10/31/2018               $4.54
MALACHI WEIGEL-STERR     3605 MILWAUKEE ST.                                                            MADISON              WI           53714                                 SUPPLIERS OR VENDORS      12/21/2018              $25.00
MALDEN INTERNATIONAL
DESIGNS INC              19 COWAN DRIVE                                                                MIDDLEBORO           MA           02346                                 SUPPLIERS OR VENDORS      10/25/2018         $15,734.28



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      Creditor Name                 Address1                 Address2                  Address3                   City            State       Zip              Country                   transfer          Payments           Value
MALDEN INTERNATIONAL
DESIGNS INC               19 COWAN DRIVE                                                                 MIDDLEBORO          MA           02346                                  SUPPLIERS OR VENDORS       11/1/2018        $107,115.21
MALDEN INTERNATIONAL
DESIGNS INC               19 COWAN DRIVE                                                                 MIDDLEBORO          MA           02346                                  SUPPLIERS OR VENDORS       11/8/2018         $19,899.11
MALDEN INTERNATIONAL
DESIGNS INC               19 COWAN DRIVE                                                                 MIDDLEBORO          MA           02346                                  SUPPLIERS OR VENDORS      11/22/2018         $13,030.67
MALDEN INTERNATIONAL
DESIGNS INC               19 COWAN DRIVE                                                                 MIDDLEBORO          MA           02346                                  SUPPLIERS OR VENDORS      11/29/2018         $23,899.63
MALI EVEREST              214 TAMARACK ST                                                                LAURIUM             MI           49913                                  SUPPLIERS OR VENDORS      11/29/2018             $15.00
MALORY MCINTIRE           311 N KANSAS ST                                                                CLARK               SD           57225                                  SUPPLIERS OR VENDORS      10/25/2018             $75.00
MAM USA CORPORATION       28451 NETWORK PLACE                                                            CHICAGO             IL           60673-1284                             SUPPLIERS OR VENDORS      10/18/2018          $5,055.57
MAM USA CORPORATION       28451 NETWORK PLACE                                                            CHICAGO             IL           60673-1284                             SUPPLIERS OR VENDORS      11/15/2018          $6,810.00
                                                                                                                                                                                 PURCHASE OF
MAMIYE BROTHERS INC       1385 BROADWAY 18TH FLOOR                                                       NEW YORK            NY           10018                                  MERCHANDISE               12/11/2018        $267,912.99
                          CIT GROUP COMMERCIAL
MAMIYE GROUP LLC          SERVICES INC                 PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      10/19/2018         $25,151.28
                          CIT GROUP COMMERCIAL
MAMIYE GROUP LLC          SERVICES INC                 PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      10/31/2018            $950.00
                          CIT GROUP COMMERCIAL
MAMIYE GROUP LLC          SERVICES INC                 PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/5/2018           $8,878.00
                          CIT GROUP COMMERCIAL
MAMIYE GROUP LLC          SERVICES INC                 PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/8/2018         $39,784.57
                          CIT GROUP COMMERCIAL
MAMIYE GROUP LLC          SERVICES INC                 PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/9/2018           $7,927.20
                          CIT GROUP COMMERCIAL
MAMIYE GROUP LLC          SERVICES INC                 PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       12/3/2018           $4,598.17

MAND M TRUCK CENTER INC   PO BOX 872                                                                     KERMIT              TX           79745                                  SUPPLIERS OR VENDORS      11/26/2018             $32.99
MANDI HODSON              9908 NENA STREET                                                               OMAHA               NE           68124                                  SUPPLIERS OR VENDORS      11/14/2018             $14.98
MANDY SCHMIDT             STORE 2-764                  SHOPKO EMPLOYEE        129 HARMONY STREET         BUFFALO             WY           82834                                  SUPPLIERS OR VENDORS       11/1/2018            $244.71
MANDY VANDERBEEK          STORE 104                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/18/2018             $73.03
MANITOWOC BUILDING
INSPECTION DEPT           CITY HALL/FIRE SYSTEM PERMIT 900 QUAY STREET                                   MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS      12/14/2018             $35.00
MANN COMPUTER SYSTEMS
INCORPORATED              110 2ND STREET S SUITE 225                                                     WAITE PARK          MN           56387                                  SUPPLIERS OR VENDORS      10/18/2018            $370.00
MANN COMPUTER SYSTEMS
INCORPORATED              110 2ND STREET S SUITE 225                                                     WAITE PARK          MN           56387                                  SUPPLIERS OR VENDORS      10/18/2018           $6,867.50
MANN COMPUTER SYSTEMS
INCORPORATED              110 2ND STREET S SUITE 225                                                     WAITE PARK          MN           56387                                  SUPPLIERS OR VENDORS       11/1/2018         $33,206.14
MANN COMPUTER SYSTEMS
INCORPORATED              110 2ND STREET S SUITE 225                                                     WAITE PARK          MN           56387                                  SUPPLIERS OR VENDORS       11/8/2018            $474.75
MANN COMPUTER SYSTEMS
INCORPORATED              110 2ND STREET S SUITE 225                                                     WAITE PARK          MN           56387                                  SUPPLIERS OR VENDORS      11/29/2018           $8,116.99
MANN COMPUTER SYSTEMS
INCORPORATED              110 2ND STREET S SUITE 225                                                     WAITE PARK          MN           56387                                  SUPPLIERS OR VENDORS      12/27/2018         $37,336.04
MANUEL FLOREZ             5739 S. SARAH JANE DR                                                          SALT LAKE CITY      UT           84118                                  SUPPLIERS OR VENDORS      11/28/2018              $9.00
MANUEL RIOJAS             STORE 576                   SHOPKO EMPLOYEE         2500 E HIGHWAY 90          ALPINE              TX           79830-4107                             SUPPLIERS OR VENDORS       11/2/2018            $349.66
MAPED HELIX USA           1200 N ARLINGTON HEIGHTS RD
INCORPORATED              STE 110                                                                        ITASCA              IL           60143                                  SUPPLIERS OR VENDORS      11/22/2018           $3,443.33
MARAIS DESIGNS L & M      ROSENTHAL & ROSENTHAL
DIRECT LLC                INCORPORATED                PO BOX 88926                                       CHICAGO             IL           60695-1926                             SUPPLIERS OR VENDORS      10/25/2018         $22,406.77
MARAIS DESIGNS L & M      ROSENTHAL & ROSENTHAL
DIRECT LLC                INCORPORATED                PO BOX 88926                                       CHICAGO             IL           60695-1926                             SUPPLIERS OR VENDORS       11/1/2018           $1,983.00




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MARAIS DESIGNS L & M   ROSENTHAL & ROSENTHAL
DIRECT LLC             INCORPORATED                PO BOX 88926                                      CHICAGO             IL           60695-1926                             SUPPLIERS OR VENDORS       11/8/2018         $18,566.10
MARAIS DESIGNS L & M   ROSENTHAL & ROSENTHAL
DIRECT LLC             INCORPORATED                PO BOX 88926                                      CHICAGO             IL           60695-1926                             SUPPLIERS OR VENDORS      11/15/2018         $22,152.00
MARAIS DESIGNS L & M   ROSENTHAL & ROSENTHAL
DIRECT LLC             INCORPORATED                PO BOX 88926                                      CHICAGO             IL           60695-1926                             SUPPLIERS OR VENDORS      11/29/2018         $15,239.04
MARANDA BALCIAR        W8831 SAWYER AVE                                                              MEDFORD             WI           54451                                  SUPPLIERS OR VENDORS       12/7/2018              $1.20
MARC DEGROOT           918 WATSON STREET                                                             RIPON               WI           54971                                  SUPPLIERS OR VENDORS      11/26/2018             $15.00
MARC THOMPSON          312 N BROAD ST.                                                               ARGYLE              WI           53504                                  SUPPLIERS OR VENDORS      11/26/2018              $7.30
MARC THOMPSON          312 N BROAD ST.                                                               ARGYLE              WI           53504                                  SUPPLIERS OR VENDORS      11/26/2018             $15.20
MARCELINO DAMIAN       1308 LASALLE STREET         LOWER                                             RACINE              WI           53404                                  SUPPLIERS OR VENDORS      11/28/2018             $45.00
MARCELLA AZAROFF       1630 W S STREET                                                               LINCOLN             NE           68528                                  SUPPLIERS OR VENDORS      11/28/2018             $63.33
MARCELLA OSIECKI       45936 261ST ST                                                                HARTFORD            SD           57033                                  SUPPLIERS OR VENDORS       11/8/2018             $12.00
MARCELLA OSIECKI       45936 261ST ST                                                                HARTFORD            SD           57033                                  SUPPLIERS OR VENDORS      11/29/2018             $48.00
                       6701 CENTER DR WEST SUITE
MARCH VISION CARE      790                                                                           LOS ANGELES         CA           90045                                  SUPPLIERS OR VENDORS       12/3/2018             $25.00
                       6701 CENTER DR WEST SUITE
MARCH VISION CARE      790                                                                           LOS ANGELES         CA           90045                                  SUPPLIERS OR VENDORS       12/3/2018             $29.28
                       6701 CENTER DR WEST SUITE
MARCH VISION CARE      790                                                                           LOS ANGELES         CA           90045                                  SUPPLIERS OR VENDORS       12/3/2018             $75.02
                       6701 CENTER DR WEST SUITE
MARCH VISION CARE      790                                                                           LOS ANGELES         CA           90045                                  SUPPLIERS OR VENDORS       12/3/2018             $77.97
                       6701 CENTER DR WEST SUITE
MARCH VISION CARE      790                                                                           LOS ANGELES         CA           90045                                  SUPPLIERS OR VENDORS       12/3/2018            $107.97
                       6701 CENTER DR WEST SUITE
MARCH VISION CARE      790                                                                           LOS ANGELES         CA           90045                                  SUPPLIERS OR VENDORS       12/3/2018            $125.98
                       6701 CENTER DR WEST SUITE
MARCH VISION CARE      790                                                                           LOS ANGELES         CA           90045                                  SUPPLIERS OR VENDORS       12/3/2018            $150.00
MARCHON EYEWEAR
INCORPORATED           88216 EXPEDITE WAY                                                            CHICAGO             IL           60695-0001                             SUPPLIERS OR VENDORS      11/15/2018           $1,289.22
MARCHON EYEWEAR
INCORPORATED           88216 EXPEDITE WAY                                                            CHICAGO             IL           60695-0001                             SUPPLIERS OR VENDORS      11/22/2018            $204.14
MARCHON EYEWEAR
INCORPORATED           88216 EXPEDITE WAY                                                            CHICAGO             IL           60695-0001                             SUPPLIERS OR VENDORS      11/29/2018         $23,075.98
MARCHON EYEWEAR
INCORPORATED           88216 EXPEDITE WAY                                                            CHICAGO             IL           60695-0001                             SUPPLIERS OR VENDORS      12/18/2018         $17,224.80
MARCHON EYEWEAR
INCORPORATED           88216 EXPEDITE WAY                                                            CHICAGO             IL           60695-0001                             SUPPLIERS OR VENDORS      12/20/2018         $44,055.81
MARCHON EYEWEAR
INCORPORATED           88216 EXPEDITE WAY                                                            CHICAGO             IL           60695-0001                             SUPPLIERS OR VENDORS      12/27/2018            $788.50
MARCIA BRUGGER         203 W STATE ST                                                                ALBANY              WI           53502                                  SUPPLIERS OR VENDORS      10/31/2018             $30.00
MARCIA FINCK           2434 SPRUCEWOOD STREET                                                        RAPID CITY          SD           57703                                  SUPPLIERS OR VENDORS      12/10/2018             $85.00
MARCIA LACES           N8293 710TH ST.                                                               RIVER FALLS         WI           54022                                  SUPPLIERS OR VENDORS      10/26/2018             $39.00
MARCIA MANGUM          4050 GREENWILLOW LANE                                                         IDAHO FALLS         ID           83401                                  SUPPLIERS OR VENDORS      11/12/2018             $30.02
MARCIA PRIEBE          13604 E 25TH                                                                  SPOKANE             WA           99216                                  SUPPLIERS OR VENDORS       12/5/2018            $168.08
MARCIA SCHOLZE         N2040 LONG VIEW ROAD                                                          VULCAN              MI           49892                                  SUPPLIERS OR VENDORS      12/10/2018             $11.74
MARCIA SCHOLZE         N2040 LONG VIEW ROAD                                                          VULCAN              MI           49892                                  SUPPLIERS OR VENDORS      12/13/2018             $55.26
MARCINE ELDER          301 COLLEGE AVE                                                               FULDA               MN           56131                                  SUPPLIERS OR VENDORS      10/30/2018             $28.87
MARCO OPHTHALMIC
INCORPORATED           PO BOX 743191                                                                 ATLANTA             GA           30374                                  SUPPLIERS OR VENDORS      10/18/2018            $678.30
MARCO OPHTHALMIC
INCORPORATED           PO BOX 743191                                                                 ATLANTA             GA           30374                                  SUPPLIERS OR VENDORS      10/25/2018           $2,614.00
MARCO OPHTHALMIC
INCORPORATED           PO BOX 743191                                                                 ATLANTA             GA           30374                                  SUPPLIERS OR VENDORS       11/1/2018           $2,833.58



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                                                                                                                                                                              Reasons for payment or    Dates of    Total Amount or
      Creditor Name               Address1               Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
MARCO OPHTHALMIC
INCORPORATED            PO BOX 743191                                                                ATLANTA             GA           30374                                  SUPPLIERS OR VENDORS       11/8/2018         $25,711.13
MARCO OPHTHALMIC
INCORPORATED            PO BOX 743191                                                                ATLANTA             GA           30374                                  SUPPLIERS OR VENDORS       11/9/2018               $1.00
MARCO OPHTHALMIC
INCORPORATED            PO BOX 743191                                                                ATLANTA             GA           30374                                  SUPPLIERS OR VENDORS      11/16/2018         $11,650.50
MARCO OPHTHALMIC
INCORPORATED            PO BOX 743191                                                                ATLANTA             GA           30374                                  SUPPLIERS OR VENDORS      11/30/2018         $10,731.20
MARCO OPHTHALMIC
INCORPORATED            PO BOX 743191                                                                ATLANTA             GA           30374                                  SUPPLIERS OR VENDORS      12/18/2018               $6.80
MARCOLIN USA
INCORPORATED            PO BOX 5162                                                                  CAROL STREAM        IL           60197-5162                             SUPPLIERS OR VENDORS      10/18/2018           $5,661.29
MARCOLIN USA
INCORPORATED            PO BOX 5162                                                                  CAROL STREAM        IL           60197-5162                             SUPPLIERS OR VENDORS      10/25/2018         $56,932.05
MARCOLIN USA
INCORPORATED            PO BOX 5162                                                                  CAROL STREAM        IL           60197-5162                             SUPPLIERS OR VENDORS       11/1/2018           $1,066.50
MARCOLIN USA
INCORPORATED            PO BOX 5162                                                                  CAROL STREAM        IL           60197-5162                             SUPPLIERS OR VENDORS      11/15/2018         $24,457.03
MARCOLIN USA
INCORPORATED            PO BOX 5162                                                                  CAROL STREAM        IL           60197-5162                             SUPPLIERS OR VENDORS      11/29/2018        $475,135.61
MARCOLIN USA
INCORPORATED            PO BOX 5162                                                                  CAROL STREAM        IL           60197-5162                             SUPPLIERS OR VENDORS      12/12/2018         $31,330.67
MARCOLIN USA
INCORPORATED            PO BOX 5162                                                                  CAROL STREAM        IL           60197-5162                             SUPPLIERS OR VENDORS      12/18/2018           $1,012.07
MARCOLIN USA
INCORPORATED            PO BOX 5162                                                                  CAROL STREAM        IL           60197-5162                             SUPPLIERS OR VENDORS      12/27/2018         $32,161.55
MARCUS DEMLER           714 WESTERN AVE                                                              RANDOM LAKE         WI           53075                                  SUPPLIERS OR VENDORS      11/26/2018             $15.40
MARCUS STEINDL          5435 ALAN DR.                                                                OREGON              WI           53575                                  SUPPLIERS OR VENDORS       11/7/2018             $25.00
MARDELLE TECH           4101 WEST NUCOR RD                                                           NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS      10/18/2018             $13.38
MARDELLE TECH           4101 WEST NUCOR RD                                                           NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS      10/18/2018             $53.54

MARGARET CEPLINA        12006 52ND STREET S                                                          WISCONSIN RAPIDS WI              54494                                  SUPPLIERS OR VENDORS       11/6/2018             $65.00
MARGARET CREER          102 W. GIBBS RD                                                              SPOKANE          WA              99224                                  SUPPLIERS OR VENDORS      11/28/2018             $32.05
MARGARET CREER          102 W. GIBBS RD                                                              SPOKANE          WA              99224                                  SUPPLIERS OR VENDORS       12/7/2018            $150.95

MARGARET JACOBSEN -DIAS 1118 BIRCHWOOD LANE                                                          ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS      11/14/2018             $46.72
MARGARET JAMES          1207 OGLE TREE PLACE                                                         DIXON               IL           61021                                  SUPPLIERS OR VENDORS      10/19/2018             $19.06
MARGARET JAMES          1207 OGLE TREE PLACE                                                         DIXON               IL           61021                                  SUPPLIERS OR VENDORS      10/19/2018             $19.06
                                                   3850 MULLAN RD
MARGARET JOHNSON        3700 HARMONY               MISSOULA, MT 59808                                HELENA              MT           59602                                  SUPPLIERS OR VENDORS      12/20/2018             $20.00
MARGARET KITZE          1384 JAKE PLACE                                                              CHIPPEWA FALLS      WI           54729                                  SUPPLIERS OR VENDORS       11/1/2018             $23.76
MARGARET LEFFEL         216 W CRESCENT ST                                                            MARQUETTE           MI           49855                                  SUPPLIERS OR VENDORS       12/7/2018             $48.48
MARGARET MCGRATH        1122 HATHAWAY DR                                                             MADISON             WI           53711                                  SUPPLIERS OR VENDORS      11/30/2018             $25.48
MARGARET MEREDITH       2208 LOCKEY AVE                                                              HELENA              MT           59601                                  SUPPLIERS OR VENDORS       12/3/2018             $45.00
MARGARET MUMMERT        407 S INGRAM                                                                 MADISON             NE           68748                                  SUPPLIERS OR VENDORS      11/26/2018             $13.38
MARGARET NELSON         301 W. FRONT ST. APT 214                                                     MISSOULA            MT           59802                                  SUPPLIERS OR VENDORS       12/7/2018             $53.76
MARGARET NELSON         301 W. FRONT ST. APT 214                                                     MISSOULA            MT           59802                                  SUPPLIERS OR VENDORS      12/13/2018             $13.44
MARGARET POWERS         202 W SEYMOUR ST                                                             APPLETON            WI           54915                                  SUPPLIERS OR VENDORS      10/31/2018             $15.12

MARGARET SHOULAK        77 WISCONSIN MEMORIAL DR   ROOM137                                           FOND DU LAC         WI           54937                                  SUPPLIERS OR VENDORS       11/7/2018             $30.00
MARGARET THOMSON        38956 SD HWY 50                                                              LAKE ANDES          SD           57356                                  SUPPLIERS OR VENDORS       11/5/2018             $37.08
MARGARET THOMSON        38956 SD HWY 50                                                              LAKE ANDES          SD           57356                                  SUPPLIERS OR VENDORS      11/26/2018              $9.92
MARGARET WALSH          1040 RICHARDS AVE                                                            WATERTOWN           WI           53094                                  SUPPLIERS OR VENDORS      11/15/2018             $10.00
MARGARET ZARD           STORE 2-022                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS      10/25/2018             $72.21



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                                                                                                                                                                               Reasons for payment or    Dates of     Total Amount or
      Creditor Name             Address1                 Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
MARGARITA FRANCO      127 E ORLEAN PLACE                                                             SIOUX FALLS         SD           57110                                  SUPPLIERS OR VENDORS        12/20/2018               $64.97
MARGARTIA ARISPE      2505 ADAMS ST                                                                  OMAHA               NE           68107                                  SUPPLIERS OR VENDORS         11/1/2018               $11.78
MARGENE LINDSAY       1270 BOWER DR                                                                  IDAHO FALLS         ID           83404                                  SUPPLIERS OR VENDORS        11/26/2018               $10.22
MARGENE LINDSAY       1270 BOWER DR                                                                  IDAHO FALLS         ID           83404                                  SUPPLIERS OR VENDORS        11/26/2018               $13.18
MARGENE LINDSAY       1270 BOWER DR                                                                  IDAHO FALLS         ID           83404                                  SUPPLIERS OR VENDORS        11/26/2018               $47.78
MARGENE LINDSAY       1270 BOWER DR                                                                  IDAHO FALLS         ID           83404                                  SUPPLIERS OR VENDORS        11/26/2018               $60.82
MARGIE G SIMON        784 W LAKE LANSING ROAD                                                        EAST LANSING        MI           48823                                  SUPPLIERS OR VENDORS         11/1/2018           $11,000.00
MARGIE G SIMON        784 W LAKE LANSING ROAD                                                        EAST LANSING        MI           48823                                  SUPPLIERS OR VENDORS         11/7/2018              $837.81
MARGIE G SIMON        784 W LAKE LANSING ROAD                                                        EAST LANSING        MI           48823                                  SUPPLIERS OR VENDORS         12/3/2018           $11,489.18
MARGIE HUERKAMP       STORE 739                    SHOPKO EMPLOYEE        PO BOX 69                  GLENWOOD            MN           56334                                  SUPPLIERS OR VENDORS         11/1/2018               $71.94
MARGIE NELSON         STORE 2-790                  SHOPKO EMPLOYEE        409 JUNCTION AVENUE        STANLEY             WI           54768                                  SUPPLIERS OR VENDORS         11/8/2018               $40.06
MARGIE NELSON         STORE 2-790                  SHOPKO EMPLOYEE        409 JUNCTION AVENUE        STANLEY             WI           54768                                  SUPPLIERS OR VENDORS        12/13/2018                $9.81
MARGUERITE MAKIN      3437 8TH STREET                                                                LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS        11/16/2018               $51.20
MARI HUBANKS          N932 BARLOW ST                                                                 MADISON             WI           53705                                  SUPPLIERS OR VENDORS        11/29/2018               $23.00
                                                                          2541 SOUTH BAY SHORE
MARIA ANGELICI        STORE 2-616                  SHOPKO EMPLOYEE        DRIVE                      SISTER BAY          WI           54234                                  SUPPLIERS OR VENDORS       11/27/2018              $117.72
MARIA BLANCA LUNA-
CAMACHO               3315 HWY 51 # 31                                                               JANESVILLE          WI           53546                                  SUPPLIERS OR VENDORS       12/14/2018               $25.00
MARIA CASTILLO        4037 8TH AVE                                                                   KENOSHA             WI           53140                                  SUPPLIERS OR VENDORS       12/13/2018               $45.00
MARIA DIAZ            1423 JEFFERSON AVE                                                             YAKIMA              WA           98902                                  SUPPLIERS OR VENDORS       10/26/2018               $61.00
MARIA DIAZ            1423 JEFFERSON AVE                                                             YAKIMA              WA           98902                                  SUPPLIERS OR VENDORS       10/26/2018              $229.96
MARIA HANSEN          1206 RED APPLE RD                                                              WENATCHEE           WA           98801                                  SUPPLIERS OR VENDORS       12/10/2018               $12.74
MARIA HUGHES          2616 MICHALA CT                                                                CALDWELL            ID           83605                                  SUPPLIERS OR VENDORS       10/26/2018               $32.00
MARIA LEDESMA DE
CEBALLO               3002 5TH AVE                                                                   COUNCIL BLUFFS      IA           51501                                  SUPPLIERS OR VENDORS       10/26/2018               $45.00
MARIA POLANCO         2009 JENNINGS                                                                  SIOUX CITY          IA           51104                                  SUPPLIERS OR VENDORS       11/26/2018               $61.98
MARIA SARA CHAVEZ     P.O. BOX 157                                                                   PELL LAKE           WI           53157                                  SUPPLIERS OR VENDORS        12/7/2018               $45.00
MARIAN CARLSON        1007 MAIN AVE                                                                  LAKE NORDEN         SD           57248                                  SUPPLIERS OR VENDORS        12/7/2018               $44.16
MARIAN MERTENS        1371 W LINWOOD DR                                                              HAYDEN              ID           83835                                  SUPPLIERS OR VENDORS       10/22/2018              $150.00
MARIANNA PIESTER      STORE 4-127                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/18/2018               $66.49
MARIANNA PIESTER      STORE 4-127                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/29/2018               $59.95
MARIANNA PIESTER      STORE 4-127                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/27/2018              $288.85
MARIAS HEALTHCARE
SERVICES              PO BOX 990                                                                     SHELBY              MT           59474                                  SUPPLIERS OR VENDORS       11/26/2018               $54.50
MARIBEL REYES         P.O. BOX 384                                                                   ABERDEEN            ID           83210                                  SUPPLIERS OR VENDORS       11/12/2018               $39.00
                      620 W. ROLLING MEADOWS
MARIE BURNS           DRIVE                                                                          FOND DU LAC         WI           54937                                  SUPPLIERS OR VENDORS        12/7/2018               $15.00
MARIE DENOR           11203 REIFS MILLS RD                                                           WHITELAW            WI           54247                                  SUPPLIERS OR VENDORS        11/5/2018               $18.21
MARIE HALEY           2562 PIERCE ST                                                                 SIOUX CITY          IA           51104                                  SUPPLIERS OR VENDORS        11/5/2018               $41.60
MARIE HALEY           2562 PIERCE ST                                                                 SIOUX CITY          IA           51104                                  SUPPLIERS OR VENDORS       11/26/2018               $10.40
MARIE MCCHESNEY       STORE 036                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/19/2018              $239.37
MARIE MCCHESNEY       STORE 036                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/2/2018              $168.39
MARIE MCCHESNEY       STORE 036                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/9/2018              $332.11
MARIE MCCHESNEY       STORE 036                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/30/2018               $59.95
MARIE MCCHESNEY       STORE 036                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/11/2018              $339.94
MARIE NICHOLSON       16056 N PELICAN BUTTE DR                                                       NAMPA               ID           83651                                  SUPPLIERS OR VENDORS       11/26/2018               $68.00
MARIE PIERCE          1549 MAPLE STREET                                                              CLARKSTON           WA           99403                                  SUPPLIERS OR VENDORS       11/26/2018               $51.20
MARIE STICE           105 MAIN STREET                                                                MANCHESTER          IL           62663                                  SUPPLIERS OR VENDORS       11/28/2018               $29.00
                      3605 CROSS POINTE BLVD.APT
MARIE VALENT          353                                                                            WESTON              WI           54476                                  SUPPLIERS OR VENDORS       11/12/2018               $22.32
MARIE WALL            1503 DAY ST                                                                    GREENLEAF           WI           54126                                  SUPPLIERS OR VENDORS       10/29/2018               $25.00
MARIETTA REUTER       E11328 SAUK PRAIRIE RD                                                         PRAIRIE DU SAC      WI           53578                                  SUPPLIERS OR VENDORS       12/14/2018               $25.00
MARIJA PERKOVIC       3684 SOUTH 580 EAST                                                            SALT LAKE CITY      UT           84106                                  SUPPLIERS OR VENDORS       11/30/2018               $29.98
MARILYN BEBOUT        965 E COLLEGE                                                                  JACKSONVILLE        IL           62650                                  SUPPLIERS OR VENDORS        12/3/2018               $34.00



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                                                                                                                                                                                Reasons for payment or    Dates of     Total Amount or
      Creditor Name              Address1                    Address2               Address3                 City              State       Zip              Country                    transfer          Payments            Value
MARILYN BITTER        1109 CHARLES STREET                                                             FORT ATKINSON       WI           53538                                  SUPPLIERS OR VENDORS        12/17/2018               $20.00
MARILYN BRANDT        3431 COOPER AVE                                                                 LINCOLN             NE           68506                                  SUPPLIERS OR VENDORS         11/1/2018               $11.98
MARILYN BRANDT        3431 COOPER AVE                                                                 LINCOLN             NE           68506                                  SUPPLIERS OR VENDORS        11/26/2018               $47.94
MARILYN CABLE         W13320 NORWAY LANE                                                              ATHELSTANE          WI           54104                                  SUPPLIERS OR VENDORS        10/31/2018               $11.04
MARILYN FLINN         843 S 47TH STREET #206                                                          LINCOLN             NE           68510                                  SUPPLIERS OR VENDORS         11/5/2018               $13.15
MARILYN FLINN         843 S 47TH STREET #206                                                          LINCOLN             NE           68510                                  SUPPLIERS OR VENDORS        11/26/2018               $60.85
MARILYN HITZEMANN     501 HASKELL ST.                                                                 AKRON               IA           51001                                  SUPPLIERS OR VENDORS        11/29/2018               $10.40
MARILYN KILPELA       20902 HONGISTO RD.                                                              CHASSELL            MI           49916                                  SUPPLIERS OR VENDORS        12/19/2018               $14.00
MARILYN KUZMICKI      409 E EVERGREEN DR                                                              APPLETON            WI           54913                                  SUPPLIERS OR VENDORS        11/16/2018               $50.00
MARILYN KUZMICKI      409 E EVERGREEN DR                                                              APPLETON            WI           54913                                  SUPPLIERS OR VENDORS         12/3/2018               $10.00
MARILYN MADISON       W4752 CICERO RD                                                                 SEYMOUR             WI           54165                                  SUPPLIERS OR VENDORS         12/3/2018               $25.00
MARILYN MARKLE        81N PLEASANT HILL DR                                                            NAMPA               ID           83651                                  SUPPLIERS OR VENDORS        12/17/2018               $18.40
MARILYN MATTHIES      45158 264TH STREET                                                              CANISTOTA           SD           57012                                  SUPPLIERS OR VENDORS        11/28/2018               $12.00
MARILYN MATTHIES      45158 264TH STREET                                                              CANISTOTA           SD           57012                                  SUPPLIERS OR VENDORS         12/7/2018               $48.00
MARILYN MILNER        STORE 2-753                  SHOPKO EMPLOYEE         2701 HIGHWAY 18 W          HOT SPRINGS         SD           57747                                  SUPPLIERS OR VENDORS         11/1/2018               $70.85
MARILYN MILNER        STORE 2-753                  SHOPKO EMPLOYEE         2701 HIGHWAY 18 W          HOT SPRINGS         SD           57747                                  SUPPLIERS OR VENDORS          1/3/2019               $70.85
MARILYN OVERBEY       2719 1ST AVE SE                                                                 ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS         12/5/2018               $48.64
MARILYN RYAN          1133 TRESSA ST                                                                  DUBUQUE             IA           52003                                  SUPPLIERS OR VENDORS         11/8/2018              $360.97
MARILYN SCHMIDT       1021 420TH ST                                                                   ST. ANSGAR          IA           50472                                  SUPPLIERS OR VENDORS        11/28/2018              $131.07
MARILYN SMITH         25653 402ND AVE.                                                                MITCHELL            SD           57301                                  SUPPLIERS OR VENDORS        10/25/2018               $44.80
MARILYN SMITH         25653 402ND AVE.                                                                MITCHELL            SD           57301                                  SUPPLIERS OR VENDORS        11/12/2018               $11.20
MARILYN SMITH         25653 402ND AVE.                                                                MITCHELL            SD           57301                                  SUPPLIERS OR VENDORS        11/26/2018               $38.68
MARILYN SMITH         25653 402ND AVE.                                                                MITCHELL            SD           57301                                  SUPPLIERS OR VENDORS        11/29/2018                $8.32
MARILYN STEIGER       17811 419TH AVE                                                                 CLARK               SD           57225                                  SUPPLIERS OR VENDORS        11/16/2018                $7.00
MARILYN THOMAS        5112 JOE LANE                                                                   NAMPA               ID           83687                                  SUPPLIERS OR VENDORS         11/5/2018               $29.10
MARILYN THOMAS        5112 JOE LANE                                                                   NAMPA               ID           83687                                  SUPPLIERS OR VENDORS        11/26/2018               $29.51
MARILYN THOMAS        5112 JOE LANE                                                                   NAMPA               ID           83687                                  SUPPLIERS OR VENDORS        11/26/2018               $29.51
MARILYN THOMAS        5112 JOE LANE                                                                   NAMPA               ID           83687                                  SUPPLIERS OR VENDORS        11/30/2018               $49.73
MARILYN WINQUIST      100 W BARAGA AVE             APT # 1                                            HOUGHTON            MI           49931                                  SUPPLIERS OR VENDORS        10/22/2018                $9.60
MARIO MARTINEZ        801 S 87TH AVE                                                                  YAKIMA              WA           98908                                  SUPPLIERS OR VENDORS         12/5/2018               $67.00
MARIO ROSSETTI        STORE 082                    SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/27/2018              $141.70
MARION BEYKIRCH       STORE 2-027                  SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/27/2018              $151.51
MARION COUNTY
COLLECTOR             100 SOUTH MAIN STREET                                                           PALMYRA             MO           63461                                  SUPPLIERS OR VENDORS       12/19/2018            $1,430.81
MARION COUNTY TAX
COLLECTOR             PO BOX 3416                                                                     PORTLAND            OR           97208-3416                             SUPPLIERS OR VENDORS       11/12/2018          $216,298.26
MARION HALVERSON      1908 S 6TH AVE                                                                  SIOUX FALLS         SD           57105                                  SUPPLIERS OR VENDORS       11/26/2018               $20.00
MARION HAUSER         6308 44TH STREET, UNIT 188                                                      KENOSHA             WI           53144                                  SUPPLIERS OR VENDORS        12/3/2018               $25.00
MARION SUTTON         247 WEST 18TH                                                                   SYRACUSE            NE           68446                                  SUPPLIERS OR VENDORS       11/26/2018                $9.53
MARION SUTTON         247 WEST 18TH                                                                   SYRACUSE            NE           68446                                  SUPPLIERS OR VENDORS       11/29/2018               $60.85
MARION WOIE           55 CREE POINT DR                                                                MANKATO             MN           56001                                  SUPPLIERS OR VENDORS        12/7/2018               $89.32
MARISA A HUSCHITT     STORE 635                    SHOPKO EMPLOYEE         251 S 4TH STREET           SAVANNA             IL           61074-0000                             SUPPLIERS OR VENDORS       10/25/2018              $212.55
MARISSA BENOIT        STORE 2-602                  SHOPKO EMPLOYEE         126 CHARLES STREET         OCONTO              WI           54153-9446                             SUPPLIERS OR VENDORS        11/1/2018               $23.98
MARISSA HUNTER        9 BAHR CIR                                                                      MADISON             WI           53719                                  SUPPLIERS OR VENDORS       10/22/2018               $15.00
MARISSA KNUTH         APPAREL                      SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/6/2018            $1,092.07
MARISSA MARTINS       STORE 671                    SHOPKO EMPLOYEE         PO BOX 469                 WAUKON              IA           52172                                  SUPPLIERS OR VENDORS       12/27/2018               $61.04
MARJI VLASAK          2022 FLORENCE CT                                                                EAU CLAIRE          WI           54703                                  SUPPLIERS OR VENDORS       10/19/2018               $30.58
MARJIE VAVERKA        31713 NIGHTHAWK LN                                                              COTTAGE GROVE       OR           97424                                  SUPPLIERS OR VENDORS       10/29/2018               $20.01
MARJORIE FAYAS        324 DORALAND STREET                                                             KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS       11/12/2018               $13.54
MARJORIE GUNVILLE     N20675 COUNTY O                                                                 NIAGARA             WI           54151                                  SUPPLIERS OR VENDORS       10/22/2018               $39.04
MARJORIE GUNVILLE     N20675 COUNTY O                                                                 NIAGARA             WI           54151                                  SUPPLIERS OR VENDORS       11/16/2018                $9.76
MARJORIE LANE         1414 F STREET                                                                   FAIRBURY            NE           68352                                  SUPPLIERS OR VENDORS       11/26/2018               $60.85
MARJORIE LONG         320 W HINES                                                                     ONEILL              NE           68763                                  SUPPLIERS OR VENDORS       11/26/2018               $53.54
MARJORIE LONG         320 W HINES                                                                     ONEILL              NE           68763                                  SUPPLIERS OR VENDORS       11/28/2018               $13.38



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                                                                                                                                                                          Reasons for payment or    Dates of     Total Amount or
      Creditor Name               Address1          Address2                 Address3                  City              State       Zip              Country                    transfer          Payments            Value
MARJORIE PLOEGER      STORE 2-749             SHOPKO EMPLOYEE        301 1ST AVENUE SOUTH       SAINT JAMES         MN           56081                                  SUPPLIERS OR VENDORS        12/27/2018              $109.00
MARJORY MCKENZIE      PO BOX 126                                                                SPENCER             NE           68777                                  SUPPLIERS OR VENDORS        11/12/2018               $13.38
MARJORY MCKENZIE      PO BOX 126                                                                SPENCER             NE           68777                                  SUPPLIERS OR VENDORS        11/29/2018               $35.90
MARJORY PEDERSON      STORE 761               SHOPKO EMPLOYEE        205 BOYD AVENUE            NEWCASTLE           WY           82701                                  SUPPLIERS OR VENDORS        10/19/2018              $518.75
MARJORY PEDERSON      STORE 761               SHOPKO EMPLOYEE        205 BOYD AVENUE            NEWCASTLE           WY           82701                                  SUPPLIERS OR VENDORS        10/26/2018              $284.73
MARJORY PEDERSON      STORE 761               SHOPKO EMPLOYEE        205 BOYD AVENUE            NEWCASTLE           WY           82701                                  SUPPLIERS OR VENDORS         11/2/2018              $207.26
MARJORY PEDERSON      STORE 761               SHOPKO EMPLOYEE        205 BOYD AVENUE            NEWCASTLE           WY           82701                                  SUPPLIERS OR VENDORS        11/16/2018              $189.10
MARJORY PEDERSON      STORE 761               SHOPKO EMPLOYEE        205 BOYD AVENUE            NEWCASTLE           WY           82701                                  SUPPLIERS OR VENDORS        11/27/2018              $239.95
MARJORY PEDERSON      STORE 761               SHOPKO EMPLOYEE        205 BOYD AVENUE            NEWCASTLE           WY           82701                                  SUPPLIERS OR VENDORS         12/8/2018              $767.10
MARJORY PEDERSON      STORE 761               SHOPKO EMPLOYEE        205 BOYD AVENUE            NEWCASTLE           WY           82701                                  SUPPLIERS OR VENDORS        12/14/2018              $208.62
MARJORY PEDERSON      STORE 761               SHOPKO EMPLOYEE        205 BOYD AVENUE            NEWCASTLE           WY           82701                                  SUPPLIERS OR VENDORS        12/20/2018              $174.83
MARJORY PEDERSON      STORE 761               SHOPKO EMPLOYEE        205 BOYD AVENUE            NEWCASTLE           WY           82701                                  SUPPLIERS OR VENDORS         1/15/2019              $462.11
MARK BROWN            2936 411                                                                  BRAHAM              MN           55006                                  SUPPLIERS OR VENDORS        10/24/2018               $85.00
MARK C KENNY          STORE 2-698             SHOPKO EMPLOYEE        718 4TH STREET             GOTHENBURG          NE           69138-0000                             SUPPLIERS OR VENDORS          1/5/2019              $536.66
MARK C KENNY          STORE 2-698             SHOPKO EMPLOYEE        718 4TH STREET             GOTHENBURG          NE           69138-0000                             SUPPLIERS OR VENDORS         1/10/2019               $90.60
MARK CAMPBELL         414 N CONCORD                                                             FREEPORT            IL           61032                                  SUPPLIERS OR VENDORS        10/24/2018               $35.00
MARK CORONADO         2225 9TH AVE                                                              LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS        10/29/2018              $150.00
MARK DANIELS          101 S. 1ST AVE                                                            BRANDON             SD           57005                                  SUPPLIERS OR VENDORS        11/29/2018               $48.00
MARK DAVIES           1825 CARLYLE                                                              BELOIT              WI           53511                                  SUPPLIERS OR VENDORS         11/9/2018               $83.00
MARK DAWSON           111 MORNINGSTAR                                                           JACKSONVILLE        IL           62650                                  SUPPLIERS OR VENDORS        10/25/2018               $29.00
MARK DUBOIS           2325 W SERENEDE LN                                                        GREEN BAY           WI           54301                                  SUPPLIERS OR VENDORS        10/24/2018                $9.04
MARK DUFF             STORE 575               SHOPKO EMPLOYEE        908 WEST AVENUE D          LOVINGTON           NM           88260-3808                             SUPPLIERS OR VENDORS        10/19/2018              $550.32
MARK DUFF             STORE 575               SHOPKO EMPLOYEE        908 WEST AVENUE D          LOVINGTON           NM           88260-3808                             SUPPLIERS OR VENDORS         11/9/2018              $503.28
MARK DUFF             STORE 575               SHOPKO EMPLOYEE        908 WEST AVENUE D          LOVINGTON           NM           88260-3808                             SUPPLIERS OR VENDORS        12/11/2018              $378.83
MARK DUFF             STORE 575               SHOPKO EMPLOYEE        908 WEST AVENUE D          LOVINGTON           NM           88260-3808                             SUPPLIERS OR VENDORS        12/29/2018              $463.25
MARK DUFF             STORE 575               SHOPKO EMPLOYEE        908 WEST AVENUE D          LOVINGTON           NM           88260-3808                             SUPPLIERS OR VENDORS         1/15/2019              $162.10
MARK GIES             308 S GROVE                                                               MISSOULA            MT           59803                                  SUPPLIERS OR VENDORS         11/8/2018               $46.50
MARK GREENWELL        STORE 4-045             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/22/2018              $107.91
MARK HALL             STORE 170               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/18/2018              $376.05
MARK HALL             STORE 170               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/15/2018              $142.79
MARK HUNTER           9401 BRIARER HAVEN DR                                                     VERONA              WI           53593                                  SUPPLIERS OR VENDORS         12/5/2018               $25.00
MARK LAMOURE          2568 LYNX WAY                                                             BOISE               ID           83705                                  SUPPLIERS OR VENDORS        11/26/2018               $57.00
MARK LANDESMAN        PO BOX 547                                                                TURNER              OR           97392                                  SUPPLIERS OR VENDORS         12/3/2018               $39.64
MARK LAWRENSON        STORE 109               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/19/2018               $43.06

MARK LOHROFF          STORE 650               SHOPKO EMPLOYEE        56419 POKAGON STREET       DOWAGIAC            MI           49047                                  SUPPLIERS OR VENDORS       10/19/2018              $262.42

MARK LOHROFF          STORE 650               SHOPKO EMPLOYEE        56419 POKAGON STREET       DOWAGIAC            MI           49047                                  SUPPLIERS OR VENDORS       10/26/2018              $303.66

MARK LOHROFF          STORE 650               SHOPKO EMPLOYEE        56419 POKAGON STREET       DOWAGIAC            MI           49047                                  SUPPLIERS OR VENDORS        11/2/2018              $333.58

MARK LOHROFF          STORE 650               SHOPKO EMPLOYEE        56419 POKAGON STREET       DOWAGIAC            MI           49047                                  SUPPLIERS OR VENDORS        11/9/2018              $140.50
MARK MANNINEN         382 HWY 63                                                                BALDWIN             WI           54002                                  SUPPLIERS OR VENDORS       10/25/2018               $45.00
MARK MCCULLOUGH       W 3756 CNTY K                                                             MONROE              WI           53566                                  SUPPLIERS OR VENDORS       10/19/2018               $23.00
MARK MCCULLOUGH       W 3756 CNTY K                                                             MONROE              WI           53566                                  SUPPLIERS OR VENDORS       10/19/2018               $50.00
MARK MCGUIRE          508 HANNA AVE                                                             LU VERNE            IA           50560                                  SUPPLIERS OR VENDORS        11/7/2018               $15.99
MARK MICKELSON        W536 RABL DR                                                              COLUMBUS            WI           53925                                  SUPPLIERS OR VENDORS       10/22/2018               $12.20
MARK MODEROW          1154 OAKWOOD DR.                                                          FREEPORT            IL           61032                                  SUPPLIERS OR VENDORS       10/22/2018               $22.50
MARK NELSON           STORE 022               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/26/2018              $360.09
MARK NICKELS          257 WRIGHT ROAD                                                           CRYSTAL FALLS       MI           49920                                  SUPPLIERS OR VENDORS       11/12/2018               $42.00

MARK OGAARD           STORE 621               SHOPKO EMPLOYEE        717 E LAKESHORE DRIVE      MANISTIQUE          MI           49854-0000                             SUPPLIERS OR VENDORS       11/15/2018              $178.76
MARK PELZER           768 2ND AVE                                                               ZUMBROTA            MN           55992                                  SUPPLIERS OR VENDORS       12/17/2018               $49.98
MARK PUTZI            STORE 2-090             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/19/2018              $453.13



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                                                                                                                                                                            Reasons for payment or    Dates of     Total Amount or
      Creditor Name                 Address1          Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
MARK PUTZI               STORE 2-090            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/2/2018              $138.43
MARK PUTZI               STORE 2-090            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/9/2018              $524.29
MARK PUTZI               STORE 2-090            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/16/2018              $524.29
MARK PUTZI               STORE 2-090            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/27/2018              $404.39
MARK PUTZI               STORE 2-090            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/30/2018               $61.04
MARK PUTZI               STORE 2-090            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/11/2018              $216.91
MARK PUTZI               STORE 2-090            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/14/2018              $352.07
MARK PUTZI               STORE 2-090            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/15/2018               $76.30
MARK PUTZI               STORE 2-090            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/20/2018              $104.64
MARK PUTZI               STORE 2-090            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/22/2018              $104.64
MARK PUTZI               STORE 2-090            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/29/2018              $294.21
MARK PUTZI               STORE 2-090            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         1/10/2019              $807.76
MARK R JACOBS            1278 MILO WAY          SHOPKO EMPLOYEE                                   DEERFIELD           WI           53531                                  SUPPLIERS OR VENDORS         11/8/2018              $120.96
MARK R JACOBS            1278 MILO WAY          SHOPKO EMPLOYEE                                   DEERFIELD           WI           53531                                  SUPPLIERS OR VENDORS         12/6/2018              $159.04
MARK REED                2010 RED DALE DR                                                         RAPID CITY          SD           57702                                  SUPPLIERS OR VENDORS        11/26/2018               $25.00
MARK REILLY              5171 RIVER RD                                                            WAUNAKEE            WI           53597                                  SUPPLIERS OR VENDORS        10/22/2018               $20.00
MARK REISHUS             5322 208TH AVE                                                           WOOD LAKE           MN           56297                                  SUPPLIERS OR VENDORS        10/24/2018              $125.00
MARK RIKER               504 EAST FOREST AVE                                                      NEENAH              WI           54956                                  SUPPLIERS OR VENDORS        10/22/2018               $25.00
MARK ROCHIN              2218 ELM ST                                                              BILLINGS            MT           59101                                  SUPPLIERS OR VENDORS        11/29/2018               $35.00
MARK ROCHIN              2218 ELM ST                                                              BILLINGS            MT           59101                                  SUPPLIERS OR VENDORS        11/29/2018               $35.00
MARK ROCHIN              2218 ELM ST                                                              BILLINGS            MT           59101                                  SUPPLIERS OR VENDORS        11/29/2018               $35.00
MARK RUDE                105 ELLIOT STREET                                                        RIDGELAND           WI           54763                                  SUPPLIERS OR VENDORS        12/13/2018               $25.50
MARK SCHROEDER           2032 WHITEWOLF LN                                                        KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS         11/1/2018               $25.00
MARK SHIRES              117 PINE ROAD                                                            KAMIAH              ID           83536                                  SUPPLIERS OR VENDORS         11/9/2018               $15.00
MARK SIEBELS             1620 ASPEN DR                                                            SAINT PETER         MN           56082                                  SUPPLIERS OR VENDORS        10/18/2018               $50.00
MARK SPAULDING           1464 RAPIDS TRAIL                                                        NEKOOSA             WI           54457                                  SUPPLIERS OR VENDORS        12/21/2018              $155.99
MARK STANG               STORE 2-017            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/18/2018              $227.31
MARK STANG               STORE 2-017            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/25/2018              $523.69
MARK STANG               STORE 2-017            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/1/2018              $228.14
MARK STANG               STORE 2-017            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/8/2018              $461.26
MARK STANG               STORE 2-017            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/15/2018              $814.46
MARK STANG               STORE 2-017            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/22/2018              $225.45
MARK STANG               STORE 2-017            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/29/2018            $1,087.97
MARK STANG               STORE 2-017            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         12/6/2018              $229.30
MARK STANG               STORE 2-017            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/13/2018              $186.39
MARK STANG               STORE 2-017            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/20/2018              $298.66
MARK STANG               STORE 2-017            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/27/2018              $189.66
MARK STANG               STORE 2-017            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS          1/3/2019              $619.48
MARK VIEAU               W1732 BEAVER PETE RD                                                     VULCAN              MI           49892                                  SUPPLIERS OR VENDORS        11/30/2018               $65.00
MARK WARD                804 S CENTER STREET                                                      BEAVER DAM          WI           53916                                  SUPPLIERS OR VENDORS        12/11/2018                $4.31
MARK WITTE               STORE 4-044            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/25/2018              $262.50
MARK WUST                2434 ECHO AVENUE                                                         ROCKFORD            IA           50468                                  SUPPLIERS OR VENDORS        11/12/2018               $52.00
MARK YOHNK               13140 222ND AVE                                                          BLOOMER             WI           54724                                  SUPPLIERS OR VENDORS         11/8/2018               $70.00
MARK YOHNK               13140 222ND AVE                                                          BLOOMER             WI           54724                                  SUPPLIERS OR VENDORS        12/13/2018               $28.99
MARKET TRACK LLC         PO BOX 28781                                                             NEW YORK            NY           10087-8781                             SUPPLIERS OR VENDORS         11/8/2018           $42,250.01
MARKETOUCH MEDIA
INCORPORATED             SUITE 980              5718 WESTHEIMER                                   HOUSTON             TX           77057                                  SUPPLIERS OR VENDORS        11/1/2018          $154,808.21
MARKETOUCH MEDIA
INCORPORATED             SUITE 980              5718 WESTHEIMER                                   HOUSTON             TX           77057                                  SUPPLIERS OR VENDORS       11/29/2018           $32,327.15
                                                                                                  ELK GROVE
MARKETPLACE BRANDS LLC   951 FARGO AVE                                                            VILLAGE             IL           60007                                  SUPPLIERS OR VENDORS       11/15/2018           $57,782.51
MARKETPLACE LLC          PO BOX 8800                                                              SIOUX CITY          IA           51102                                  SUPPLIERS OR VENDORS       10/27/2018           $89,278.00
MARKETPLACE LLC          PO BOX 8800                                                              SIOUX CITY          IA           51102                                  SUPPLIERS OR VENDORS        11/1/2018            $6,143.58
MARKETPLACE LLC          PO BOX 8800                                                              SIOUX CITY          IA           51102                                  SUPPLIERS OR VENDORS        11/8/2018           $11,304.33



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MARKETPLACE LLC         PO BOX 8800                                                                   SIOUX CITY          IA           51102                                  SUPPLIERS OR VENDORS        11/15/2018           $48,000.00
MARKETPLACE LLC         PO BOX 8800                                                                   SIOUX CITY          IA           51102                                  SUPPLIERS OR VENDORS         12/1/2018            $6,143.58
MARKETPLACE LLC         PO BOX 8800                                                                   SIOUX CITY          IA           51102                                  SUPPLIERS OR VENDORS        12/19/2018           $43,506.93

MARKWINS BEAUTY         75 REMITTANCE DRIVE SUITE
PRODUCTS INCORPORATED   6578                                                                          CHICAGO             IL           60675-6578                             SUPPLIERS OR VENDORS       10/19/2018            $1,390.32

MARKWINS BEAUTY         75 REMITTANCE DRIVE SUITE
PRODUCTS INCORPORATED   6578                                                                          CHICAGO             IL           60675-6578                             SUPPLIERS OR VENDORS       10/26/2018            $6,274.58

MARKWINS BEAUTY         75 REMITTANCE DRIVE SUITE
PRODUCTS INCORPORATED   6578                                                                          CHICAGO             IL           60675-6578                             SUPPLIERS OR VENDORS        11/2/2018            $8,285.12

MARKWINS BEAUTY         75 REMITTANCE DRIVE SUITE
PRODUCTS INCORPORATED   6578                                                                          CHICAGO             IL           60675-6578                             SUPPLIERS OR VENDORS        11/8/2018           $48,626.87

MARKWINS BEAUTY         75 REMITTANCE DRIVE SUITE
PRODUCTS INCORPORATED   6578                                                                          CHICAGO             IL           60675-6578                             SUPPLIERS OR VENDORS        11/9/2018            $9,464.22

MARKWINS BEAUTY         75 REMITTANCE DRIVE SUITE
PRODUCTS INCORPORATED   6578                                                                          CHICAGO             IL           60675-6578                             SUPPLIERS OR VENDORS       11/16/2018            $3,117.97
MARLA BERNHARDT         1616 ROCKLEDGE RD                                                             MISHICOT            WI           54228                                  SUPPLIERS OR VENDORS       11/12/2018               $23.30
MARLA DONNELLY          STORE 4-066                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/25/2018              $101.79
MARLA DONNELLY          STORE 4-066                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/1/2018              $301.90
MARLA DONNELLY          STORE 4-066                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/22/2018              $442.50
MARLA LEE               3374 BUSHWOOD LN                                                              GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS        11/9/2018               $24.00
MARLENE ANDERSON        210 SPRING AVE S.                                                             LAKE PRESTON        SD           57249                                  SUPPLIERS OR VENDORS        11/5/2018               $44.16
MARLENE COTA            237 COOK AVE                APT 107                                           OCONTO              WI           54153                                  SUPPLIERS OR VENDORS       11/14/2018               $25.00
                                                                           1011 N WISCONSIN           PORT
MARLENE HEIMSCH         STORE 503                   SHOPKO EMPLOYEE        STREET                     WASHINGTON          WI           53074-1207                             SUPPLIERS OR VENDORS       12/20/2018               $29.43
MARLENE HINK            16539 415TH AVE                                                               RAYMOND             SD           57258                                  SUPPLIERS OR VENDORS       11/26/2018               $44.16
MARLENE NELSON          1008 CAMERON ST.                                                              GREEN BAY           WI           54304                                  SUPPLIERS OR VENDORS        11/5/2018               $44.16
MARLENE NELSON          1008 CAMERON ST.                                                              GREEN BAY           WI           54304                                  SUPPLIERS OR VENDORS       11/28/2018               $11.04
MARLENE NORDQUIST       1995 GREAT BEND BLVC                                                          WINDOM              MN           56101                                  SUPPLIERS OR VENDORS       11/29/2018               $28.31
MARLENE OLSON           2105 EAST 1ST STREET                                                          SIOUX FALLS         SD           57103                                  SUPPLIERS OR VENDORS        12/7/2018               $48.00
MARLENE VER VOORT       N5191 WHITETAIL DR                                                            SEYMOUR             WI           54165                                  SUPPLIERS OR VENDORS       12/14/2018               $10.00
MARLIN WENBERG          BOX 79                                                                        DOLLAR BAY          MI           49922                                  SUPPLIERS OR VENDORS       12/13/2018                $9.60
MARLIS BOHLKE           101 NORTH 1ST AVE                                                             WILMONT             MN           56185                                  SUPPLIERS OR VENDORS       10/24/2018               $66.30
MARLIS LING             70879 320TH AVE                                                               ROUND LAKE          MN           56167                                  SUPPLIERS OR VENDORS       12/13/2018               $65.13
MARLIS LING             70879 320TH AVE                                                               ROUND LAKE          MN           56167                                  SUPPLIERS OR VENDORS       12/13/2018               $65.13
MARLIS LING             70879 320TH AVE                                                               ROUND LAKE          MN           56167                                  SUPPLIERS OR VENDORS       12/17/2018               $65.13
MARLO P RENFRO          STORE 098                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/2/2018              $340.44
MARLYN MADSEN           6509 S 2700 W                                                                 SALT LAKE CITY      UT           84129                                  SUPPLIERS OR VENDORS       12/13/2018               $45.00
MARLYS ESSER            38503 175TH ST.                                                               REDFIELD            SD           57469                                  SUPPLIERS OR VENDORS       11/28/2018               $12.16
MARLYS ESSER            38503 175TH ST.                                                               REDFIELD            SD           57469                                  SUPPLIERS OR VENDORS        12/7/2018               $48.64
MARNIE WEIER            BOX 179                                                                       SALEM               SD           57058                                  SUPPLIERS OR VENDORS       11/26/2018               $44.80
MARQUETTE MARINE LLC    14214 SE 77TH STREET                                                          NEWCASTLE           WA           98059                                  SUPPLIERS OR VENDORS       11/15/2018           $14,583.33
MARQUETTE MARINE LLC    14214 SE 77TH STREET                                                          NEWCASTLE           WA           98059                                  SUPPLIERS OR VENDORS       12/19/2018           $14,583.33

MARSALA MANUFACTURING 799 N HAGUE AVENUE                                                              COLUMBUS            OH           43204-1424                             SUPPLIERS OR VENDORS        11/8/2018          $146,642.85

MARSALA MANUFACTURING 799 N HAGUE AVENUE                                                              COLUMBUS            OH           43204-1424                             SUPPLIERS OR VENDORS       11/15/2018            $6,755.30

MARSALA MANUFACTURING 799 N HAGUE AVENUE                                                              COLUMBUS            OH           43204-1424                             SUPPLIERS OR VENDORS       11/22/2018           $10,437.79



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                                                                                                                                                                                   Reasons for payment or    Dates of    Total Amount or
      Creditor Name                   Address1                Address2                  Address3                   City            State       Zip              Country                   transfer          Payments           Value

MARSALA MANUFACTURING 799 N HAGUE AVENUE                                                                  COLUMBUS            OH           43204-1424                             SUPPLIERS OR VENDORS      11/29/2018         $26,263.24
MARSH USA INC         12422 MEREDITH DR                                                                   URBANDALE           IA           50399                                  INSURANCE SERVICES         1/14/2019        $643,673.00
MARSH USA INC         12421 MEREDITH DR                                                                   URBANDALE           IA           50398                                  INSURANCE SERVICES         1/15/2019        $300,000.00

MARSH USA INCORPORATED BANK OF AMERICA                 PO BOX 846015                                      DALLAS              TX           75284-6015                             SUPPLIERS OR VENDORS       11/2/2018            $100.00

MARSH USA INCORPORATED    BANK OF AMERICA              PO BOX 846015                                      DALLAS              TX           75284-6015                             SUPPLIERS OR VENDORS      11/16/2018           $9,638.00
MARSHA BRAUTIGAM          507 E LAYTON AVE                                                                APPLETON            WI           54915                                  SUPPLIERS OR VENDORS      11/30/2018              $25.00
MARSHA ENGBERG            102 MULOCH STREET                                                               ONTONAGON           MI           49953                                  SUPPLIERS OR VENDORS       11/5/2018              $38.40
MARSHA PARKS              506 CEDAR                                                                       HICKMAN             NE           68372                                  SUPPLIERS OR VENDORS      11/29/2018              $45.00
MARSHA WICHELMANN         606 NOKOMIS DR                                                                  OSCEOLA             WI           54020                                  SUPPLIERS OR VENDORS       12/7/2018              $95.00
MARSHA WIERSMA            1447 HIAWATHA DR                                                                BEAVER DAM          WI           53916                                  SUPPLIERS OR VENDORS      12/21/2018              $18.00
MARSHALL ROONEY           STORE 069                    SSHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/2/2018              $44.69
MARTA CARLSON             1416 KHANABAD WAY                                                               MISSOULA            MT           59802                                  SUPPLIERS OR VENDORS      10/24/2018             $235.00
MARTHA ALBERTSON          4801 RUTH ST                                                                    MADISON             WI           53716                                  SUPPLIERS OR VENDORS      12/13/2018              $67.00
MARTHA COZZOLINO          1911 SOUTH SHORE DR                                                             DELAVAN             WI           53115                                  SUPPLIERS OR VENDORS      10/29/2018              $20.00
MARTHA DAHL               3307 E. 55TH AVE #C119                                                          SPOKANE             WA           99223                                  SUPPLIERS OR VENDORS       11/9/2018              $20.00
MARTHA DANZ               PO BOX 158                                                                      ARCO                ID           83213                                  SUPPLIERS OR VENDORS      10/31/2018              $13.18
MARTHA DOBRATZ            6842 STARBURST DRIVE                                                            SUN PRAIRIE         WI           53590                                  SUPPLIERS OR VENDORS      11/26/2018              $36.00
MARTHA NORTHCUT           147 E. LINCOLN ST.                                                              WHITE HALL,         IL           62092                                  SUPPLIERS OR VENDORS      11/26/2018              $25.00
MARTHA ZARATE             STORE 4-073                  SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/1/2018             $110.00
MARTIN ALEKNA             1919 E 10TH LANE                                                                FRIENDSHIP          WI           53934                                  SUPPLIERS OR VENDORS       12/3/2018             $100.00
MARTIN COUNTY
TREASURER                 PO BOX 359                                                                      SHOALS              IN           47581                                  SUPPLIERS OR VENDORS       11/6/2018            $523.67
MARTIN GALES              3337 E 16TH                                                                     SPOKANE             WA           99223                                  SUPPLIERS OR VENDORS      10/30/2018            $216.99

MARTIN GUBBELS            STORE 752                    SHOPKO EMPLOYEE         1100 EAST VALLEY ROAD      TORRINGTON          WY           82240-3614                             SUPPLIERS OR VENDORS       11/8/2018            $203.04

MARTIN HARRIS OD          1829 CLEARVIEW POINT DRIVE                                                      LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS      10/19/2018           $8,188.52

MARTIN HARRIS OD          1829 CLEARVIEW POINT DRIVE                                                      LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS       11/2/2018         $11,393.41

MARTIN HARRIS OD          1829 CLEARVIEW POINT DRIVE                                                      LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS      11/16/2018           $9,500.22

MARTIN HARRIS OD          1829 CLEARVIEW POINT DRIVE                                                      LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS      11/30/2018           $8,361.57

MARTIN HARRIS OD          1829 CLEARVIEW POINT DRIVE                                                      LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS      12/14/2018           $9,640.95

MARTIN HARRIS OD          1829 CLEARVIEW POINT DRIVE                                                      LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS      12/29/2018         $10,138.66

MARTIN HARRIS OD          1829 CLEARVIEW POINT DRIVE                                                      LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS       1/11/2019           $5,879.27
MARTIN MILLS              POX 34                                                                          THEDFORD            NE           69166                                  SUPPLIERS OR VENDORS      10/22/2018              $37.98
MARTIN VILLAGE SHOPPING                                2441 N NORTHLAKE
CENTER                    FIRST CAPITAL PARTNERS LTD   WAY                                                SEATTLE             WA           98103-0000                             SUPPLIERS OR VENDORS       11/1/2018           $1,300.00
MARTIN VILLAGE SHOPPING                                2441 N NORTHLAKE
CENTER                    FIRST CAPITAL PARTNERS LTD   WAY                                                SEATTLE             WA           98103-0000                             SUPPLIERS OR VENDORS       12/3/2018           $1,300.00
MARTIN WAFFORD            2687 SW WICKIUP AVE                                                             REDMOND             OR           97756                                  SUPPLIERS OR VENDORS      11/29/2018              $45.00
MARTINS SERVICES          MARTY L MARTIN               118 S DRAKE             BOX 552                    PERRYTON            TX           79070                                  SUPPLIERS OR VENDORS       11/8/2018             $150.00
MARTY THOMPSON            STORE 2-684                  SHOPKO EMPLOYEE         106 SMITH STREET           BLOOMFIELD          IA           52537                                  SUPPLIERS OR VENDORS      11/16/2018              $63.76
MARVEN QUINN              PO BOX 73                                                                       PLYMOUTH            UT           84330                                  SUPPLIERS OR VENDORS      12/19/2018              $19.99
MARVIN ANDERSON           709 NORTH MAIN APT 7                                                            RICE LAKE           WI           54868                                  SUPPLIERS OR VENDORS      11/26/2018               $3.86
MARVIN ARONSON            PO BOX 104                                                                      WAITSBURG           WA           99361                                  SUPPLIERS OR VENDORS       12/7/2018              $54.40
MARVIN DAHN               203 1ST ST                   P O BOX 132                                        FERTILE             IA           50434                                  SUPPLIERS OR VENDORS       11/5/2018              $48.00



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                                                                                                                                                                                  Reasons for payment or    Dates of     Total Amount or
     Creditor Name              Address1                    Address2                  Address3                    City           State       Zip              Country                    transfer          Payments            Value
MARVIN DAHN           203 1ST ST                     P O BOX 132                                        FERTILE             IA           50434                                  SUPPLIERS OR VENDORS        11/26/2018               $12.00
MARVIN ECKMANN        1840 WISCONSIN SW                                                                 HURON               SD           57350                                  SUPPLIERS OR VENDORS        11/26/2018               $20.00
MARVIN ESPENSCHEID    12044 STATE HWY 78                                                                ARGYLE              WI           53504                                  SUPPLIERS OR VENDORS        12/20/2018              $238.00

MARVIN HOLBACH        605 EAGLES NEST BLVD APT 105                                                      ROTHSCHILD          WI           54474                                  SUPPLIERS OR VENDORS       10/24/2018               $39.68

MARVIN HOLBACH        605 EAGLES NEST BLVD APT 105                                                      ROTHSCHILD          WI           54474                                  SUPPLIERS OR VENDORS       10/31/2018               $22.32
MARVIN PATER          BOX 8                                                                             LANSING             MN           55950                                  SUPPLIERS OR VENDORS       10/25/2018               $26.66
MARVIN STAHL          83456 HWY121                                                                      BATTLE CREEK        NE           68715                                  SUPPLIERS OR VENDORS       10/24/2018               $53.54
MARVIN TROUBA         7636 KARL DR                                                                      LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS       10/29/2018               $61.89
MARVIN TROUBA         7636 KARL DR                                                                      LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS       10/31/2018               $13.11
MARVIN TROUBA         7636 KARL DR                                                                      LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS       11/28/2018               $55.98
MARVIN WATSON         5525 BRIAR ROSA DR                                                                LICOLN              NE           68516                                  SUPPLIERS OR VENDORS       12/13/2018               $36.14
MARVIN ZIMMERMAN      PO BOX 295                     641 CHERRY ST.                                     ALEXANDRIA          SD           57311                                  SUPPLIERS OR VENDORS       12/19/2018               $20.00
                      MARX TRUCK TRAILER SALES
MARX LEASING          INCORPORTED                    PO BOX 1498                                        SIOUX CITY          IA           51102-1498                             SUPPLIERS OR VENDORS       10/30/2018              $160.50
                      MARX TRUCK TRAILER SALES
MARX LEASING          INCORPORTED                    PO BOX 1498                                        SIOUX CITY          IA           51102-1498                             SUPPLIERS OR VENDORS       11/27/2018              $160.50
MARY AGNEW            W703 COUNTY HIGHWAY H H                                                           KIEL                WI           53042                                  SUPPLIERS OR VENDORS        11/5/2018               $25.00
MARY AMENT            1664 CRIMSON CT                                                                   DE PERE             WI           54115                                  SUPPLIERS OR VENDORS       11/15/2018               $44.00
MARY ANNE SMITH       220 BURLINGTON AVE                                                                MISSOULA            MT           59801                                  SUPPLIERS OR VENDORS       10/30/2018               $67.20
MARY AURAND           107 SUMMIT ST.                                                                    PEARL CITY          IL           61062                                  SUPPLIERS OR VENDORS       11/13/2018                $8.40
MARY BATES            STORE 024                      SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/20/2018               $10.90
MARY BRADSHAW         125 1/2 S 4TH ST E "B"                                                            MISSOULA            MT           59801                                  SUPPLIERS OR VENDORS       10/19/2018               $67.20
                                                                             2101 EAST EVERGREEN
MARY BRADY            STORE 4-505                    SHOPKO EMPLOYEE         DRIVE                      APPLETON            WI           54913-9001                             SUPPLIERS OR VENDORS        11/8/2018               $49.05
                                                                             2101 EAST EVERGREEN
MARY BRADY            STORE 4-505                    SHOPKO EMPLOYEE         DRIVE                      APPLETON            WI           54913-9001                             SUPPLIERS OR VENDORS        12/6/2018              $114.45
MARY BRANDT           1706 FAIRWAY DR #201                                                              WALLA WALLA         WA           99362                                  SUPPLIERS OR VENDORS        11/9/2018                $4.29
MARY BRANDT           1706 FAIRWAY DR #201                                                              WALLA WALLA         WA           99362                                  SUPPLIERS OR VENDORS       11/29/2018               $19.71
MARY BROWN            4160 COUNTY ROAD 189                                                              PHILADELPHIA        MO           63463                                  SUPPLIERS OR VENDORS       10/31/2018               $10.00
MARY COMPTON          STORE 2-501                    SHOPKO EMPLOYEE         3705 MONROE ROAD           DE PERE             WI           54115-9999                             SUPPLIERS OR VENDORS        11/1/2018                $9.81
MARY DOUGHERTY        3590 COUNTRY CLUB DR.                                                             LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS       10/25/2018               $12.80
MARY DYSERT           2104 58TH ST                                                                      MONMOUTH            IL           61462                                  SUPPLIERS OR VENDORS       10/25/2018               $60.00
MARY EBEL             5411 N 65TH ST                                                                    OMAHA               NE           68104                                  SUPPLIERS OR VENDORS       11/12/2018               $23.00
MARY ELLEN EDLEBECK   1427 NORTH AVE                 P.O. BOX 83                                        WAUSAUKEE           WI           54177                                  SUPPLIERS OR VENDORS       12/13/2018               $25.00
MARY ENGLAND          222 PARK ST                                                                       NEILLSVILLE         WI           54456                                  SUPPLIERS OR VENDORS       10/22/2018               $25.00
MARY ETTA JOHNSON     10469 W COUNTY HWY D                                                              EXELAND             WI           54835                                  SUPPLIERS OR VENDORS       11/29/2018               $70.00
MARY FELLER           2901 N AUTUMN RIDGE CT                                                            APPLETON            WI           54911                                  SUPPLIERS OR VENDORS       11/12/2018               $24.84
MARY FIGENSHOW        13310 E MISSION                APT 175                                            SPOKANE             WA           99216                                  SUPPLIERS OR VENDORS       11/26/2018               $66.87
MARY FINCK            101 STATE LINE ST                                                                 VALLEY SPRINGS      SD           57068                                  SUPPLIERS OR VENDORS        11/1/2018                $3.27
MARY FITZSIMMONS      56639 164TH ST                                                                    GOOD THUNDER        MN           56037                                  SUPPLIERS OR VENDORS       10/31/2018                $6.82
MARY FLETCHER         STORE 546                      SHOPKO EMPLOYEE         333 S LINCOLN              BURLINGTON          CO           80807-2104                             SUPPLIERS OR VENDORS        11/9/2018              $485.84
MARY FLETCHER         STORE 546                      SHOPKO EMPLOYEE         333 S LINCOLN              BURLINGTON          CO           80807-2104                             SUPPLIERS OR VENDORS        1/15/2019              $482.39
MARY GOLLA            STORE 613                      SHOPKO EMPLOYEE         946 E MAIN STREET          WINNECONNE          WI           54986-0000                             SUPPLIERS OR VENDORS       12/20/2018              $265.96
MARY GOLLA            STORE 613                      SHOPKO EMPLOYEE         946 E MAIN STREET          WINNECONNE          WI           54986-0000                             SUPPLIERS OR VENDORS       12/27/2018               $25.52
MARY GRITZMACHER      154398 MARSHALL HILL RD                                                           WAUSAU              WI           54403                                  SUPPLIERS OR VENDORS       12/13/2018               $25.00

MARY HANNEMAN         8350 CTY RD W                                                                     WISCONSIN RAPIDS WI              54494                                  SUPPLIERS OR VENDORS        11/1/2018               $10.56

MARY HANSON           5324 SOUTH SWEETGRASS WAY                                                         BOISE               ID           83716                                  SUPPLIERS OR VENDORS       10/31/2018              $134.82
MARY HARTLEY          21 WINDRUSH DRIVE                                                                 JACKSONVILLE        IL           62650                                  SUPPLIERS OR VENDORS       12/10/2018               $29.00
MARY HAUGEN           P O BOX 331                                                                       ROCKWELL            IA           50469                                  SUPPLIERS OR VENDORS       10/29/2018               $12.00
MARY HERNANDEZ        3130 SO SUGAR BOWL                                                                SALT LAKE CITY      UT           84128                                  SUPPLIERS OR VENDORS       12/13/2018               $53.00



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MARY HERRERA          STORE 753                   SHOPKO EMPLOYEE        2701 HWY 18 WEST           HOT SPRINGS         SD           57747                                  SUPPLIERS OR VENDORS        12/20/2018               $72.14
MARY HEUER            986 BETA DR                                                                   NEENAH              WI           54956                                  SUPPLIERS OR VENDORS        10/31/2018               $14.39
MARY HOMAN            3130 QUEEN AVE                                                                SLAYTON             MN           56172                                  SUPPLIERS OR VENDORS         11/5/2018               $15.30
MARY HUEMPFNER        1513 CARDINAL LN                                                              GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS         12/3/2018               $25.00
MARY JANE OEHLER      1457 SAWGRASS DRIVE                                                           NEKOOSA             WI           54457                                  SUPPLIERS OR VENDORS        10/31/2018               $25.43
MARY JANSSEN          2228 RICHMOND AVE                                                             MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS         11/8/2018              $120.00
MARY JAREK            W11211 LAMPLIGHT LN                                                           ANTIGO              WI           54409                                  SUPPLIERS OR VENDORS        11/28/2018               $43.40
MARY JARVEY           229 BITTERS AVE                                                               OCONTO              WI           54153                                  SUPPLIERS OR VENDORS         11/5/2018               $25.00
MARY JESSEN           5122 TALL PINES ROAD                                                          FLORENCE            WI           54121                                  SUPPLIERS OR VENDORS        10/31/2018               $48.80
MARY JO DEPPING       430 250TH STREET                                                              THORNTON            IA           50479                                  SUPPLIERS OR VENDORS        12/13/2018               $48.00
MARY JO HERRO         1007 3RD AVE                                                                  EAU CLAIRE          WI           54703                                  SUPPLIERS OR VENDORS        10/22/2018              $175.00
MARY JO STOEGER       1708 W HIGHLAND AVE                                                           APPLETON            WI           54914                                  SUPPLIERS OR VENDORS        11/12/2018               $67.00
MARY KASTER           609 BLUEBIRD LANE                                                             GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS        10/22/2018               $69.00
MARY KAVANAUGH        2250 HAAS RD                                                                  KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS        11/16/2018               $44.00
MARY KAY GEIGER       N6652 CTY TRK P P                                                             BRILLION            WI           54110                                  SUPPLIERS OR VENDORS        12/20/2018               $44.00
MARY KERCKHOVE        13725 STATE HWY 64                                                            BLOOMER             WI           54724                                  SUPPLIERS OR VENDORS        11/13/2018               $12.54
MARY LANGSETH         32710 ROBERTS AVE                                                             WORTHINGTON         MN           56187                                  SUPPLIERS OR VENDORS         12/3/2018               $15.30
MARY LAWRENCE         W5876 ARBOR ROAD                                                              FORT ATKINSON       WI           53538                                  SUPPLIERS OR VENDORS        12/10/2018               $40.00
MARY LOU MC EWEN      7345 WHITESPIRE RD UNIT 2                                                     ROTHSCHILD          WI           54474                                  SUPPLIERS OR VENDORS        10/31/2018                $9.92
MARY LOU MC EWEN      7345 WHITESPIRE RD UNIT 2                                                     ROTHSCHILD          WI           54474                                  SUPPLIERS OR VENDORS         11/5/2018               $39.68
MARY LUEKE            836 IDA ST                                                                    MENASHA             WI           54952                                  SUPPLIERS OR VENDORS         12/7/2018               $44.00
MARY MAURER           207 JEFFERSON AVE                                                             NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS        10/24/2018               $35.90
MARY MAURER           207 JEFFERSON AVE                                                             NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS         11/1/2018                $8.10
MARY MCCARTHY         452 CTY HWY N                                                                 STOUGHTON           WI           53589                                  SUPPLIERS OR VENDORS        12/20/2018               $25.00
MARY MEANEY           W7735 TOWER LINE RD                                                           PEMBINE             WI           54156                                  SUPPLIERS OR VENDORS         11/1/2018                $9.76
MARY MONROE           STORE 671                   SHOPKO EMPLOYEE        PO BOX 469                 WAUKON              IA           52172                                  SUPPLIERS OR VENDORS        10/18/2018               $10.90
MARY MONROE           STORE 671                   SHOPKO EMPLOYEE        PO BOX 469                 WAUKON              IA           52172                                  SUPPLIERS OR VENDORS         11/1/2018                $8.72
MARY MONROE           STORE 671                   SHOPKO EMPLOYEE        PO BOX 469                 WAUKON              IA           52172                                  SUPPLIERS OR VENDORS         11/8/2018                $4.36
MARY MUELLER          N8599 LAKESHORE DR.                                                           FOND DU LAC         WI           54937                                  SUPPLIERS OR VENDORS        12/19/2018               $25.00
MARY MYHRE            18256 STATE HWY 43                                                            MABEL               MN           55954                                  SUPPLIERS OR VENDORS        11/26/2018               $67.58
MARY OLDHAM           1787 SCENIC VIEW DR                                                           DUBUQUE             IA           52100                                  SUPPLIERS OR VENDORS        12/20/2018               $56.00
MARY PRUSA            720 CENTER ST                                                                 HOWELLS             NE           68641                                  SUPPLIERS OR VENDORS        11/12/2018              $112.00
MARY RASMUSSEN        5949 BRIDLE LANE                                                              LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS        12/14/2018              $100.01
MARY RODRICK          1248 W COURT ST                                                               WHITEWATER          WI           53190                                  SUPPLIERS OR VENDORS         12/3/2018               $88.00

MARY ROGOSKI          441 GREENWOOD HEIGHTS                                                         WISCONSIN RAPIDS    WI           54494                                  SUPPLIERS OR VENDORS       10/31/2018              $220.19
MARY RYAN             137A PLEASANTVIEW DR                                                          IRETON              IA           51027                                  SUPPLIERS OR VENDORS        12/5/2018               $10.40
MARY RYAN             137A PLEASANTVIEW DR                                                          IRETON              IA           51027                                  SUPPLIERS OR VENDORS       12/13/2018               $41.60
MARY SCHUTTE          2335 FAWN LANE                                                                JANESVILLE          WI           53548                                  SUPPLIERS OR VENDORS        12/7/2018               $45.00
MARY SHEA             N6159 SHADYBROOK LANE                                                         SHEBOYGAN           WI           53083                                  SUPPLIERS OR VENDORS        11/2/2018               $30.00
MARY SHULTS           STORE 2-072                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/1/2018              $192.60
MARY STOOPS           125 CHURCH ST               APT #1                                            HILLS               MN           56138                                  SUPPLIERS OR VENDORS        12/7/2018               $48.00
MARY STRINGFIELD      N8543 DEYOUNG DR.                                                             BEAVER DAM          WI           53916                                  SUPPLIERS OR VENDORS       10/22/2018               $30.00
MARY STURDY           3201 BARCLAY DRIVE          SHOPKO EMPLOYEE                                   HAYS                KS           67601                                  SUPPLIERS OR VENDORS       10/18/2018              $175.49
MARY STURDY           3201 BARCLAY DRIVE          SHOPKO EMPLOYEE                                   HAYS                KS           67601                                  SUPPLIERS OR VENDORS       10/25/2018              $109.00
MARY STURDY           3201 BARCLAY DRIVE          SHOPKO EMPLOYEE                                   HAYS                KS           67601                                  SUPPLIERS OR VENDORS        11/1/2018              $109.00
MARY STURDY           3201 BARCLAY DRIVE          SHOPKO EMPLOYEE                                   HAYS                KS           67601                                  SUPPLIERS OR VENDORS        11/8/2018              $109.00
MARY STURDY           3201 BARCLAY DRIVE          SHOPKO EMPLOYEE                                   HAYS                KS           67601                                  SUPPLIERS OR VENDORS       11/15/2018              $284.49
MARY STURDY           3201 BARCLAY DRIVE          SHOPKO EMPLOYEE                                   HAYS                KS           67601                                  SUPPLIERS OR VENDORS       11/22/2018              $175.49
MARY STURDY           3201 BARCLAY DRIVE          SHOPKO EMPLOYEE                                   HAYS                KS           67601                                  SUPPLIERS OR VENDORS        12/6/2018              $109.00
MARY STURDY           3201 BARCLAY DRIVE          SHOPKO EMPLOYEE                                   HAYS                KS           67601                                  SUPPLIERS OR VENDORS       12/13/2018              $109.00
MARY STURDY           3201 BARCLAY DRIVE          SHOPKO EMPLOYEE                                   HAYS                KS           67601                                  SUPPLIERS OR VENDORS       12/20/2018              $241.98
MARY STURDY           3201 BARCLAY DRIVE          SHOPKO EMPLOYEE                                   HAYS                KS           67601                                  SUPPLIERS OR VENDORS       12/27/2018              $109.00




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                                                                                                                                                                              Reasons for payment or    Dates of    Total Amount or
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MARY SWINFORD          2543 STONE MEADOWS TRAIL                                                      GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS      11/16/2018             $25.00
MARY TAYLOR            3956 W LAKE ELLWOOD RD                                                        FLORENCE            WI           54121                                  SUPPLIERS OR VENDORS      11/26/2018             $62.46
MARY THOMPSON          202 THERESA CT SE                                                             STEWARTVILLE        MN           55976                                  SUPPLIERS OR VENDORS      10/22/2018             $84.06
MARY THOMPSON          202 THERESA CT SE                                                             STEWARTVILLE        MN           55976                                  SUPPLIERS OR VENDORS      10/26/2018             $61.51
MARY WALDVOGEL         320 EASTRIDGE DR                                                              EUSTIS              FL           32726                                  SUPPLIERS OR VENDORS       12/5/2018             $22.78
MARY WALLACE           33 BUF LANE                                                                   LAUREL              MT           59044                                  SUPPLIERS OR VENDORS      10/25/2018             $25.00
MARY WARNER            1539 S LLOYD                                                                  ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS      12/18/2018            $138.50
MARY WEHENKEL          STORE 2-659                 SHOPKO EMPLOYEE        2410 DAHLKE AVENUE         AUBURN              NE           68305                                  SUPPLIERS OR VENDORS      11/15/2018             $50.30
MARY WEHENKEL          STORE 2-659                 SHOPKO EMPLOYEE        2410 DAHLKE AVENUE         AUBURN              NE           68305                                  SUPPLIERS OR VENDORS      12/13/2018             $60.11
MARY WIRKUS            STORE 2-008                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/29/2018             $34.34
MARYANN WARREN         S 222 E EVERGREEN APT 113                                                     SPOKANE             WA           99216                                  SUPPLIERS OR VENDORS      11/16/2018             $14.13
MARYANN WARREN         S 222 E EVERGREEN APT 113                                                     SPOKANE             WA           99216                                  SUPPLIERS OR VENDORS      11/26/2018             $66.87
MARYLAND DEPT OF
REVENUE                PO BOX 8888                                                                   ANNAPOLIS           MD           21401                                  SALES & USE TAX           12/21/2018            $691.46
MARYLIN GILLAM         STORE 145                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/1/2018            $299.75
MARYLOU RAINS          1101 BELLEVUE BLVD. SOUTH                                                     BELLEVUE            NE           68005                                  SUPPLIERS OR VENDORS      12/13/2018             $47.14
MASSIMO ZANETTI
BEVERAGE USA           PO BOX 890584               PAM TO ORACLE                                     CHARLOTTE           NC           28289-0584                             SUPPLIERS OR VENDORS      10/25/2018         $16,352.66
MASSIMO ZANETTI
BEVERAGE USA           PO BOX 890584               PAM TO ORACLE                                     CHARLOTTE           NC           28289-0584                             SUPPLIERS OR VENDORS      11/15/2018         $41,295.32
                       75 REMITTANCE DRIVE SUITE
MASTER LOCK COMPANY    1426                                                                          CHICAGO             IL           60675-1426                             SUPPLIERS OR VENDORS      10/19/2018           $5,687.13
                       75 REMITTANCE DRIVE SUITE
MASTER LOCK COMPANY    1426                                                                          CHICAGO             IL           60675-1426                             SUPPLIERS OR VENDORS      10/26/2018           $3,945.87
                       75 REMITTANCE DRIVE SUITE
MASTER LOCK COMPANY    1426                                                                          CHICAGO             IL           60675-1426                             SUPPLIERS OR VENDORS       11/2/2018         $15,940.28
                       75 REMITTANCE DRIVE SUITE
MASTER LOCK COMPANY    1426                                                                          CHICAGO             IL           60675-1426                             SUPPLIERS OR VENDORS       11/9/2018           $3,173.01
                       75 REMITTANCE DRIVE SUITE
MASTER LOCK COMPANY    1426                                                                          CHICAGO             IL           60675-1426                             SUPPLIERS OR VENDORS      11/16/2018           $3,261.62
                       75 REMITTANCE DRIVE SUITE
MASTER LOCK COMPANY    1426                                                                          CHICAGO             IL           60675-1426                             SUPPLIERS OR VENDORS      11/30/2018         $21,247.88
MASTER MAGNETICS INC   1211 ATCHISON CT                                                              CASTLE ROCK         CO           80109                                  SUPPLIERS OR VENDORS      10/18/2018            $695.65
MASTER MAGNETICS INC   1211 ATCHISON CT                                                              CASTLE ROCK         CO           80109                                  SUPPLIERS OR VENDORS       11/1/2018            $931.39
MASTER MAGNETICS INC   1211 ATCHISON CT                                                              CASTLE ROCK         CO           80109                                  SUPPLIERS OR VENDORS      11/15/2018            $580.65
MASTER MAGNETICS INC   1211 ATCHISON CT                                                              CASTLE ROCK         CO           80109                                  SUPPLIERS OR VENDORS      11/29/2018            $635.46

MASTERCARE LANDSCAPING
& LAWN SERVICE         W9246 BUTTERNUT LAKE LANE                                                     BUTTERNUT           WI           54514                                  SUPPLIERS OR VENDORS       11/1/2018           $2,368.48

MASTERCARE LANDSCAPING
& LAWN SERVICE         W9246 BUTTERNUT LAKE LANE                                                     BUTTERNUT           WI           54514                                  SUPPLIERS OR VENDORS      11/15/2018           $1,930.65

MASTERPIECES PUZZLE
COMPANY INCORPORATED   39313 TREASURY CENTER                                                         CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS      10/18/2018           $1,443.55

MASTERPIECES PUZZLE
COMPANY INCORPORATED   39313 TREASURY CENTER                                                         CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS      10/25/2018           $1,702.65

MASTERPIECES PUZZLE
COMPANY INCORPORATED   39313 TREASURY CENTER                                                         CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS       11/1/2018           $5,200.60




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MASTERPIECES PUZZLE
COMPANY INCORPORATED   39313 TREASURY CENTER                                                           CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS       11/8/2018           $7,711.94

MASTERPIECES PUZZLE
COMPANY INCORPORATED   39313 TREASURY CENTER                                                           CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS      11/15/2018        $100,821.13

MASTERPIECES PUZZLE
COMPANY INCORPORATED   39313 TREASURY CENTER                                                           CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS      11/22/2018         $28,460.65
MATAYA GANLEY          11040 LEAF RD                                                                   ST JOSEPH           MN           56374                                  SUPPLIERS OR VENDORS      11/28/2018             $23.00
MATHER FLARE RENTAL                                  7537 SW ROBINHOOD
INCORPORATED           TOPEKA TRAILER STORAGE        CT                                                TOPEKA              KS           66614                                  SUPPLIERS OR VENDORS       11/1/2018            $129.18
MATT BERNHARDT         STORE 178                     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/8/2018            $104.64
MATT CHECK             STORE 079                     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/16/2018            $103.55
MATT CHECK             STORE 079                     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/14/2018            $440.00
MATT CHECK             STORE 079                     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        1/5/2019            $599.60
MATT DETTMANN          STORE 027                     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/2/2018            $159.14
MATT DETTMANN          STORE 027                     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/27/2018            $131.66
MATT LANOU             9215 20TH ST                                                                    COLFAX              WI           54730                                  SUPPLIERS OR VENDORS      10/31/2018             $35.00
MATT PETERSON          STORE 4-014                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/16/2018             $86.26
MATT PETERSON          STORE 4-014                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/27/2018            $137.89
MATT PETERSON          STORE 4-014                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/11/2018             $78.26
MATT PETERSON          STORE 4-014                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/14/2018             $78.26

MATT PETROSKE          347 8TH AVE S                                                                   WISCONSIN RAPIDS    WI           54495                                  SUPPLIERS OR VENDORS      11/29/2018             $66.00
MATT RASMUSSEN         930 E 400 S                                                                     OREM                UT           84097                                  SUPPLIERS OR VENDORS       11/8/2018             $23.00
MATT WIZA              1602 N PAGE STREET                                                              STOUGHTON           WI           53589                                  SUPPLIERS OR VENDORS      10/29/2018             $25.00
MATTEL TOYS            PO BOX 100125                                                                   ATLANTA             GA           30384-0125                             SUPPLIERS OR VENDORS      10/18/2018        $130,724.21
MATTEL TOYS            PO BOX 100125                                                                   ATLANTA             GA           30384-0125                             SUPPLIERS OR VENDORS      10/26/2018        $106,979.88
MATTEL TOYS            PO BOX 100125                                                                   ATLANTA             GA           30384-0125                             SUPPLIERS OR VENDORS       11/5/2018         $70,176.44
MATTEL TOYS            PO BOX 100125                                                                   ATLANTA             GA           30384-0125                             SUPPLIERS OR VENDORS       11/7/2018        $437,194.81
MATTEL TOYS            PO BOX 100125                                                                   ATLANTA             GA           30384-0125                             SUPPLIERS OR VENDORS      11/15/2018         $73,354.39
MATTEL TOYS            PO BOX 100125                                                                   ATLANTA             GA           30384-0125                             SUPPLIERS OR VENDORS       12/5/2018        $124,845.27
MATTEL TOYS            PO BOX 100125                                                                   ATLANTA             GA           30384-0125                             SUPPLIERS OR VENDORS      12/19/2018            $117.13
MATTES FISCHER         11543 STATE HWY 42                                                              ELLISON BAY         WI           54210                                  SUPPLIERS OR VENDORS      10/18/2018            $534.28
MATTHEW AZNOE          P.O. BOX 5252                                                                   KALISPELL           MT           59903                                  SUPPLIERS OR VENDORS       11/8/2018             $23.00
MATTHEW BEAVER         STORE 024                     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/20/2018             $21.80
MATTHEW BURM           1915 66TH AVE                                                                   BALDWIN             WI           54002                                  SUPPLIERS OR VENDORS      12/20/2018             $75.00

MATTHEW COUNTS         1601 E. NETTLETON GULCH RD.                                                     COEUR D ALENE       ID           83815                                  SUPPLIERS OR VENDORS      11/28/2018             $23.00

MATTHEW COUNTS         1601 E. NETTLETON GULCH RD.                                                     COEUR D ALENE       ID           83815                                  SUPPLIERS OR VENDORS      11/28/2018             $23.00
MATTHEW GAUNTLETT      STORE 111                   SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/1/2018            $511.71
MATTHEW GERBITZ        8229 MARVIN GARDENS LN                                                          AUMSVILLE           OR           97325                                  SUPPLIERS OR VENDORS       11/8/2018             $45.00
MATTHEW HILSCHER       1057 W 10TH AVE                                                                 OSHKOSH             WI           54902                                  SUPPLIERS OR VENDORS      11/12/2018            $140.00
MATTHEW HOKS           STORE 080                   SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/20/2018            $571.10
MATTHEW KNOTTS         P O BOX 182                                                                     PALISADE            NE           69040                                  SUPPLIERS OR VENDORS       11/1/2018             $35.00
MATTHEW KORESH         N1581 FAIRVIEW LANE                                                             FORT ATKINSON       WI           53538                                  SUPPLIERS OR VENDORS       11/1/2018             $28.59
MATTHEW LAMB           3040 20TH AVE.                                                                  WILSON              WI           54027                                  SUPPLIERS OR VENDORS       12/7/2018             $55.01
MATTHEW LEICK          3106 N MEADE                                                                    APPLETON            WI           54911                                  SUPPLIERS OR VENDORS      10/19/2018             $25.00
                       1042 EAST MADISON ST., UNIT
MATTHEW LUECK          A                                                                               EAU CLAIRE          WI           54703                                  SUPPLIERS OR VENDORS      10/22/2018             $25.00
MATTHEW MARSOLEK       3507 20 TH ST                                                                   RACINE              WI           53405                                  SUPPLIERS OR VENDORS      11/12/2018             $15.00
MATTHEW MCCREDIE       350 S LEGACY WAY                                                                SUN PRAIRIE         WI           53590                                  SUPPLIERS OR VENDORS      10/31/2018             $63.00



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MATTHEW NEWLING          APPAREL                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/15/2018            $1,278.94
MATTHEW NOWAK            STORE 010                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/8/2018               $45.78
MATTHEW NOWAK            STORE 010                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/20/2018              $327.66
MATTHEW PALLI            421 WEST CENTER STREET                                                      MADISON             SD           57042                                  SUPPLIERS OR VENDORS        12/17/2018              $600.00
MATTHEW PAUKE            4631 DEER TRAIL RD                                                          RHINELANDER         WI           54501                                  SUPPLIERS OR VENDORS         12/7/2018               $23.00
MATTHEW RICE             5308 DOUGLAS DR                                                             YAKIMA              WA           98908                                  SUPPLIERS OR VENDORS        11/26/2018               $10.00
MATTHEW RUDEBUSCH        STORE 751                 SHOPKO EMPLOYEE        1712 SD HWY 10             SISSETON            SD           57262                                  SUPPLIERS OR VENDORS        10/26/2018              $160.23
MATTHEW SIEMONSMA        3808 SOUTH BEDFORE                                                          SIOUX FALLS         SD           57108                                  SUPPLIERS OR VENDORS        10/26/2018               $23.00
MATTHEW STALBOERGER      41959 269TH AVE                                                             FREEPORT            MN           56331                                  SUPPLIERS OR VENDORS        10/22/2018               $44.99
MATTHEW THOMAS           1444 MEADOW VIEW DR                                                         RUDOLPH             WI           54475                                  SUPPLIERS OR VENDORS         12/7/2018               $23.00
MATTHEW TOWNSEND         27123 MAGNOLIA RD                                                           UNDERWOOD           IA           51576                                  SUPPLIERS OR VENDORS        11/26/2018              $150.00

MATTHEW W HOUSEHOLDER STORE 736                    SHOPKO EMPLOYEE        727 15TH AVENUE SW         VALLEY CITY         ND           58072-0000                             SUPPLIERS OR VENDORS       11/27/2018              $575.81

MATTHEW W HOUSEHOLDER STORE 736                    SHOPKO EMPLOYEE        727 15TH AVENUE SW         VALLEY CITY         ND           58072-0000                             SUPPLIERS OR VENDORS       11/30/2018               $57.84

MATTHEW W HOUSEHOLDER    STORE 736                 SHOPKO EMPLOYEE        727 15TH AVENUE SW         VALLEY CITY         ND           58072-0000                             SUPPLIERS OR VENDORS       12/22/2018               $68.66
MATTHEW WIDDISON         545E 3100 N                                                                 OGDEN               UT           84414                                  SUPPLIERS OR VENDORS        12/7/2018               $23.00
MATTHEWS TIRE            2930 W COLLEGE AVENUE                                                       APPLETON            WI           54914                                  SUPPLIERS OR VENDORS       11/15/2018              $258.64
MATYSON WILLIAMS         607 W MASON                                                                 POLO                IL           61064                                  SUPPLIERS OR VENDORS       11/30/2018               $30.00
MAURA HARKIN             3247 LIBBY LANE                                                             SUAMICO             WI           54313                                  SUPPLIERS OR VENDORS        11/1/2018               $10.00
MAUREEN OCKERMAN         3222 WILHELMINIA DRIVE                                                      BELLEVUE            NE           68123                                  SUPPLIERS OR VENDORS        11/5/2018               $47.14
MAUREEN SCHMIDT          3000 N A1A 9A                                                               FORT PIERCE         FL           34949                                  SUPPLIERS OR VENDORS        11/1/2018            $2,997.84
MAUREEN SCHMIDT          3000 N A1A 9A                                                               FORT PIERCE         FL           34949                                  SUPPLIERS OR VENDORS        12/1/2018            $2,997.84
MAUREEN THIELE           9805 GABRIELLA DR                                                           PLATTSMOUTH         NE           68048                                  SUPPLIERS OR VENDORS        12/3/2018               $16.98
MAUREEN WIND             150 JENCRIS COURT                                                           COLGATE             WI           53017                                  SUPPLIERS OR VENDORS       11/26/2018               $45.00
MAURICE SPORTING GOODS
INCORPORATED             VICE PRESIDENT OF SALES   1910 TECHNY ROAD                                  NORTHBROOK          IL           60065                                  SUPPLIERS OR VENDORS       10/19/2018           $13,684.44
MAURICE SPORTING GOODS
INCORPORATED             VICE PRESIDENT OF SALES   1910 TECHNY ROAD                                  NORTHBROOK          IL           60065                                  SUPPLIERS OR VENDORS       10/26/2018           $66,131.25
MAURICE SPORTING GOODS
INCORPORATED             VICE PRESIDENT OF SALES   1910 TECHNY ROAD                                  NORTHBROOK          IL           60065                                  SUPPLIERS OR VENDORS        11/2/2018          $123,653.15
MAURICE SPORTING GOODS
INCORPORATED             VICE PRESIDENT OF SALES   1910 TECHNY ROAD                                  NORTHBROOK          IL           60065                                  SUPPLIERS OR VENDORS        11/9/2018           $46,225.74
MAURICIO CONTRERAS       1010 SOUTH 20TH AVE. #1                                                     YAKIMA              WA           98902                                  SUPPLIERS OR VENDORS       12/20/2018               $30.03
MAVO SYSTEMS WISCONSIN
LLC                      4330 CENTERVILLE ROAD                                                       WHITE BEAR LAKE     MN           55127-3676                             SUPPLIERS OR VENDORS       12/10/2018           $11,900.00
MAXINE MCGUIGAN          821 EAST MAIN                                                               TEKOA               WA           99033                                  SUPPLIERS OR VENDORS        12/7/2018               $51.20
MAXINE ROONEY            615 N CHURCH                                                                ALGONA              IA           50511                                  SUPPLIERS OR VENDORS       10/22/2018               $28.57
MAXSALESGROUP            2331 S TUBEWAY AVENUE                                                       COMMERCE            CA           90040                                  SUPPLIERS OR VENDORS       10/25/2018            $9,982.46

MAY TRUCKING COMPANY     PO BOX 9039                                                                 SALEM               OR           97305                                  SUPPLIERS OR VENDORS       10/18/2018           $58,611.81

MAY TRUCKING COMPANY     PO BOX 9039                                                                 SALEM               OR           97305                                  SUPPLIERS OR VENDORS       10/25/2018           $54,667.57

MAY TRUCKING COMPANY     PO BOX 9039                                                                 SALEM               OR           97305                                  SUPPLIERS OR VENDORS        11/1/2018           $39,426.65

MAY TRUCKING COMPANY     PO BOX 9039                                                                 SALEM               OR           97305                                  SUPPLIERS OR VENDORS        11/8/2018           $33,128.97

MAY TRUCKING COMPANY     PO BOX 9039                                                                 SALEM               OR           97305                                  SUPPLIERS OR VENDORS       11/15/2018           $36,194.96

MAY TRUCKING COMPANY     PO BOX 9039                                                                 SALEM               OR           97305                                  SUPPLIERS OR VENDORS       11/29/2018          $116,191.74

MAY TRUCKING COMPANY     PO BOX 9039                                                                 SALEM               OR           97305                                  SUPPLIERS OR VENDORS        12/7/2018           $60,387.65



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MAY TRUCKING COMPANY       PO BOX 9039                                                                   SALEM               OR           97305                                  SUPPLIERS OR VENDORS      12/10/2018           $1,018.40

MAY TRUCKING COMPANY       PO BOX 9039                                                                   SALEM               OR           97305                                  SUPPLIERS OR VENDORS      12/13/2018         $17,438.97

MAY TRUCKING COMPANY       PO BOX 9039                                                                   SALEM               OR           97305                                  SUPPLIERS OR VENDORS      12/14/2018           $3,304.84

MAY TRUCKING COMPANY       PO BOX 9039                                                                   SALEM               OR           97305                                  SUPPLIERS OR VENDORS      12/17/2018           $4,933.67

MAY TRUCKING COMPANY       PO BOX 9039                                                                   SALEM               OR           97305                                  SUPPLIERS OR VENDORS      12/19/2018           $2,058.89

MAY TRUCKING COMPANY       PO BOX 9039                                                                   SALEM               OR           97305                                  SUPPLIERS OR VENDORS      12/20/2018           $4,006.97

MAY TRUCKING COMPANY       PO BOX 9039                                                                   SALEM               OR           97305                                  SUPPLIERS OR VENDORS      12/21/2018         $20,172.07

MAY TRUCKING COMPANY       PO BOX 9039                                                                   SALEM               OR           97305                                  SUPPLIERS OR VENDORS        1/3/2019         $40,663.73
MAY VANG                   2225 KAYLEE CIRCLE                                                            GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS      10/22/2018             $65.98
MAYBORN USA INC            PO BOX 3880                                                                   CAROL STREAM        IL           60132-3880                             SUPPLIERS OR VENDORS      10/25/2018            $580.55
MAYBORN USA INC            PO BOX 3880                                                                   CAROL STREAM        IL           60132-3880                             SUPPLIERS OR VENDORS       11/8/2018            $613.17
MAYBORN USA INC            PO BOX 3880                                                                   CAROL STREAM        IL           60132-3880                             SUPPLIERS OR VENDORS      11/22/2018            $791.72
MAYGEN LOFMAN              1405 1/2 MARINETTE AVE                                                        MARINETTE           WI           54143                                  SUPPLIERS OR VENDORS      10/31/2018             $35.00

MAYLA HANSON               817 STEWART ST                                                                NORTH MANKATO       MN           56003                                  SUPPLIERS OR VENDORS      12/18/2018            $209.07
MAYNARD TUCKER             P O BOX 2                                                                     COWICHE             WA           98923                                  SUPPLIERS OR VENDORS      11/29/2018             $45.00
MAYS FLORAL GARDEN         3424 JEFFERS ROAD                                                             EAU CLAIRE          WI           54703                                  SUPPLIERS OR VENDORS      10/25/2018             $61.14
MAYTEX MILLS               261 FIFTH AVE 17TH FLOOR                                                      NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS      10/18/2018         $50,542.33
MAYTEX MILLS               261 FIFTH AVE 17TH FLOOR                                                      NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS      10/25/2018         $32,814.77
MAYTEX MILLS               261 FIFTH AVE 17TH FLOOR                                                      NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS       11/1/2018         $46,184.85
MAYTEX MILLS               261 FIFTH AVE 17TH FLOOR                                                      NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS       11/8/2018         $14,833.83
MAYTEX MILLS               261 FIFTH AVE 17TH FLOOR                                                      NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS      11/15/2018         $43,013.99
MAYTEX MILLS               261 FIFTH AVE 17TH FLOOR                                                      NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS      11/22/2018         $14,173.35
MAYTEX MILLS               261 FIFTH AVE 17TH FLOOR                                                      NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS      11/29/2018          $7,934.00
MAYVILLE PARK BOARD
SWIMMING POOL              WATER PARK                 PO BOX 315                                         MAYVILLE            ND           58257                                  SUPPLIERS OR VENDORS      11/26/2018             $70.41

MAYVILLE SHOPKO 2013 LLC FORTUNE LAW OFFICE           SUITE 1                 101 CAMELOT DRIVE          FOND DU LAC         WI           54935                                  SUPPLIERS OR VENDORS       11/1/2018         $25,569.05

MAYVILLE SHOPKO 2013 LLC   FORTUNE LAW OFFICE         SUITE 1                 101 CAMELOT DRIVE          FOND DU LAC         WI           54935                                  SUPPLIERS OR VENDORS       12/3/2018         $25,569.05
MBM LEASING                PO BOX 147                                                                    APPLETON            WI           54912-0147                             SUPPLIERS OR VENDORS      11/29/2018             $41.68
MCCANN RANCH &
LIVESTOCK COMPA            PO BOX 445                                                                    LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS      11/24/2018               $1.00
MCCANN RANCH &
LIVESTOCK COMPANY          PO BOX 445                                                                    LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS       11/1/2018         $15,246.00
MCCANN RANCH &
LIVESTOCK COMPANY          PO BOX 445                                                                    LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS       12/1/2018         $15,246.00
MCCUBBIN HOSIERY L L C     PO BOX 268984                                                                 OKLAHOMA CITY       OK           73126-8984                             SUPPLIERS OR VENDORS      10/18/2018          $9,787.94
MCCUBBIN HOSIERY L L C     PO BOX 268984                                                                 OKLAHOMA CITY       OK           73126-8984                             SUPPLIERS OR VENDORS      10/23/2018          $6,251.17
MCCUBBIN HOSIERY L L C     PO BOX 268984                                                                 OKLAHOMA CITY       OK           73126-8984                             SUPPLIERS OR VENDORS      10/25/2018          $8,045.39
MCCUBBIN HOSIERY L L C     PO BOX 268984                                                                 OKLAHOMA CITY       OK           73126-8984                             SUPPLIERS OR VENDORS      10/30/2018          $3,300.19
MCCUBBIN HOSIERY L L C     PO BOX 268984                                                                 OKLAHOMA CITY       OK           73126-8984                             SUPPLIERS OR VENDORS       11/1/2018          $9,192.74
MCCUBBIN HOSIERY L L C     PO BOX 268984                                                                 OKLAHOMA CITY       OK           73126-8984                             SUPPLIERS OR VENDORS       11/6/2018         $30,594.16
MCCUBBIN HOSIERY L L C     PO BOX 268984                                                                 OKLAHOMA CITY       OK           73126-8984                             SUPPLIERS OR VENDORS       11/8/2018          $4,284.83
MCCUBBIN HOSIERY L L C     PO BOX 268984                                                                 OKLAHOMA CITY       OK           73126-8984                             SUPPLIERS OR VENDORS      11/13/2018          $4,149.91
MCCUBBIN HOSIERY L L C     PO BOX 268984                                                                 OKLAHOMA CITY       OK           73126-8984                             SUPPLIERS OR VENDORS      11/15/2018          $3,422.31



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                                                                                                                                                                               Reasons for payment or    Dates of     Total Amount or
     Creditor Name                 Address1              Address2                  Address3                City               State       Zip              Country                    transfer          Payments            Value
MCCUBBIN HOSIERY L L C   PO BOX 268984                                                               OKLAHOMA CITY       OK           73126-8984                             SUPPLIERS OR VENDORS        11/27/2018           $21,705.95
MCCUBBIN HOSIERY L L C   PO BOX 268984                                                               OKLAHOMA CITY       OK           73126-8984                             SUPPLIERS OR VENDORS        11/29/2018            $2,851.20
MCCUBBIN HOSIERY L L C   PO BOX 268984                                                               OKLAHOMA CITY       OK           73126-8984                             SUPPLIERS OR VENDORS         12/4/2018            $1,014.40
MCCUBBIN HOSIERY L L C   PO BOX 268984                                                               OKLAHOMA CITY       OK           73126-8984                             SUPPLIERS OR VENDORS         12/6/2018              $984.19
MCCUE CORPORATION        PO BOX 843070                                                               BOSTON              MA           02284-3070                             SUPPLIERS OR VENDORS        10/18/2018               $80.02
MCCULLOUGH FAMILY
PARTNERSHIP              PO BOX 337                                                                  FOREST LAKE         MN           55025                                  SUPPLIERS OR VENDORS        11/1/2018           $21,829.45
MCCULLOUGH FAMILY
PARTNERSHIP              PO BOX 337                                                                  FOREST LAKE         MN           55025                                  SUPPLIERS OR VENDORS        12/1/2018           $21,829.45

MCGEE GROUP              510 COMMERCE PARK DRIVE SE                                                  MARIETTA            GA           30060                                  SUPPLIERS OR VENDORS       10/18/2018           $18,630.25
MCKEE FOODS
CORPORATION              PO BOX 2118                                                                 COLLEGEDALE         TN           37315-2118                             SUPPLIERS OR VENDORS       10/18/2018            $6,267.10
MCKEE FOODS
CORPORATION              PO BOX 2118                                                                 COLLEGEDALE         TN           37315-2118                             SUPPLIERS OR VENDORS       10/19/2018            $7,069.37
MCKEE FOODS
CORPORATION              PO BOX 2118                                                                 COLLEGEDALE         TN           37315-2118                             SUPPLIERS OR VENDORS       10/20/2018            $2,760.42
MCKEE FOODS
CORPORATION              PO BOX 2118                                                                 COLLEGEDALE         TN           37315-2118                             SUPPLIERS OR VENDORS       10/23/2018            $3,338.25
MCKEE FOODS
CORPORATION              PO BOX 2118                                                                 COLLEGEDALE         TN           37315-2118                             SUPPLIERS OR VENDORS       10/24/2018            $5,678.78
MCKEE FOODS
CORPORATION              PO BOX 2118                                                                 COLLEGEDALE         TN           37315-2118                             SUPPLIERS OR VENDORS       10/25/2018            $5,064.10
MCKEE FOODS
CORPORATION              PO BOX 2118                                                                 COLLEGEDALE         TN           37315-2118                             SUPPLIERS OR VENDORS       10/26/2018            $7,155.11
MCKEE FOODS
CORPORATION              PO BOX 2118                                                                 COLLEGEDALE         TN           37315-2118                             SUPPLIERS OR VENDORS       10/27/2018            $3,238.76
MCKEE FOODS
CORPORATION              PO BOX 2118                                                                 COLLEGEDALE         TN           37315-2118                             SUPPLIERS OR VENDORS       10/30/2018            $2,493.60
MCKEE FOODS
CORPORATION              PO BOX 2118                                                                 COLLEGEDALE         TN           37315-2118                             SUPPLIERS OR VENDORS       10/31/2018            $6,663.38
MCKEE FOODS
CORPORATION              PO BOX 2118                                                                 COLLEGEDALE         TN           37315-2118                             SUPPLIERS OR VENDORS        11/1/2018            $6,783.56
MCKEE FOODS
CORPORATION              PO BOX 2118                                                                 COLLEGEDALE         TN           37315-2118                             SUPPLIERS OR VENDORS        11/2/2018            $9,503.68
MCKEE FOODS
CORPORATION              PO BOX 2118                                                                 COLLEGEDALE         TN           37315-2118                             SUPPLIERS OR VENDORS        11/3/2018            $2,507.28
MCKEE FOODS
CORPORATION              PO BOX 2118                                                                 COLLEGEDALE         TN           37315-2118                             SUPPLIERS OR VENDORS        11/6/2018            $7,366.77
MCKEE FOODS
CORPORATION              PO BOX 2118                                                                 COLLEGEDALE         TN           37315-2118                             SUPPLIERS OR VENDORS        11/7/2018           $18,720.07
MCKEE FOODS
CORPORATION              PO BOX 2118                                                                 COLLEGEDALE         TN           37315-2118                             SUPPLIERS OR VENDORS        11/8/2018           $18,121.26
MCKEE FOODS
CORPORATION              PO BOX 2118                                                                 COLLEGEDALE         TN           37315-2118                             SUPPLIERS OR VENDORS        11/9/2018           $25,010.31
MCKEE FOODS
CORPORATION              PO BOX 2118                                                                 COLLEGEDALE         TN           37315-2118                             SUPPLIERS OR VENDORS       11/10/2018           $15,996.32
MCKEE FOODS
CORPORATION              PO BOX 2118                                                                 COLLEGEDALE         TN           37315-2118                             SUPPLIERS OR VENDORS       11/13/2018            $7,849.64
MCKEE FOODS
CORPORATION              PO BOX 2118                                                                 COLLEGEDALE         TN           37315-2118                             SUPPLIERS OR VENDORS       11/14/2018           $11,562.89
MCKEE FOODS
CORPORATION              PO BOX 2118                                                                 COLLEGEDALE         TN           37315-2118                             SUPPLIERS OR VENDORS       11/15/2018            $8,957.65




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                                                                                                                                                                           Reasons for payment or    Dates of    Total Amount or
      Creditor Name              Address1             Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
MCKEE FOODS
CORPORATION             PO BOX 2118                                                               COLLEGEDALE         TN           37315-2118                             SUPPLIERS OR VENDORS      11/16/2018         $12,161.45
MCKEE FOODS
CORPORATION             PO BOX 2118                                                               COLLEGEDALE         TN           37315-2118                             SUPPLIERS OR VENDORS      11/17/2018           $2,762.67
MCKEE FOODS
CORPORATION             PO BOX 2118                                                               COLLEGEDALE         TN           37315-2118                             SUPPLIERS OR VENDORS      11/24/2018         $25,648.18
MCKEE FOODS
CORPORATION             PO BOX 2118                                                               COLLEGEDALE         TN           37315-2118                             SUPPLIERS OR VENDORS      11/27/2018           $3,562.56
MCKEE FOODS
CORPORATION             PO BOX 2118                                                               COLLEGEDALE         TN           37315-2118                             SUPPLIERS OR VENDORS      11/28/2018           $4,524.47
MCKEE FOODS
CORPORATION             PO BOX 2118                                                               COLLEGEDALE         TN           37315-2118                             SUPPLIERS OR VENDORS      11/29/2018           $5,588.91
MCKEE FOODS
CORPORATION             PO BOX 2118                                                               COLLEGEDALE         TN           37315-2118                             SUPPLIERS OR VENDORS      11/30/2018           $7,856.20
MCKEE FOODS
CORPORATION             PO BOX 2118                                                               COLLEGEDALE         TN           37315-2118                             SUPPLIERS OR VENDORS       12/1/2018           $4,097.85
MCKEE FOODS
CORPORATION             PO BOX 2118                                                               COLLEGEDALE         TN           37315-2118                             SUPPLIERS OR VENDORS       12/4/2018           $1,281.29
MCKEE FOODS
CORPORATION             PO BOX 2118                                                               COLLEGEDALE         TN           37315-2118                             SUPPLIERS OR VENDORS       12/5/2018         $10,371.47
MCKEE FOODS
CORPORATION             PO BOX 2118                                                               COLLEGEDALE         TN           37315-2118                             SUPPLIERS OR VENDORS       12/6/2018           $8,080.11
MCKEE FOODS
CORPORATION             PO BOX 2118                                                               COLLEGEDALE         TN           37315-2118                             SUPPLIERS OR VENDORS      12/20/2018         $88,015.34
MCKEE FOODS
CORPORATION             PO BOX 2118                                                               COLLEGEDALE         TN           37315-2118                             SUPPLIERS OR VENDORS      12/22/2018           $4,624.08
MCKEE FOODS
CORPORATION             PO BOX 2118                                                               COLLEGEDALE         TN           37315-2118                             SUPPLIERS OR VENDORS      12/28/2018         $26,990.96
MCKENNA BOCIK           4115 N BIRCHBARK CT                                                       APPLETON            WI           54913                                  SUPPLIERS OR VENDORS       11/8/2018             $23.00
                        4865 N HARMONY TOWNHALL
MCKENZIE JACKSON        RD                                                                        JANESVILLE          WI           53546                                  SUPPLIERS OR VENDORS      11/26/2018             $37.00
                        12748 COLLECTIONS CENTER
MCKESSON DRUG COMPANY   DRIVE                                                                     CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      10/19/2018       $4,580,792.66
                        12748 COLLECTIONS CENTER
MCKESSON DRUG COMPANY   DRIVE                                                                     CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      10/20/2018       $5,155,150.07
                        12748 COLLECTIONS CENTER
MCKESSON DRUG COMPANY   DRIVE                                                                     CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      10/24/2018            $714.85
                        12748 COLLECTIONS CENTER
MCKESSON DRUG COMPANY   DRIVE                                                                     CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      10/25/2018       $3,189,306.21
                        12748 COLLECTIONS CENTER
MCKESSON DRUG COMPANY   DRIVE                                                                     CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      10/26/2018       $4,399,644.38
                        12748 COLLECTIONS CENTER
MCKESSON DRUG COMPANY   DRIVE                                                                     CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      10/27/2018       $2,855,115.71
                        12748 COLLECTIONS CENTER
MCKESSON DRUG COMPANY   DRIVE                                                                     CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      10/30/2018         $27,371.60
                        12748 COLLECTIONS CENTER
MCKESSON DRUG COMPANY   DRIVE                                                                     CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       11/1/2018       $3,211,944.57
                        12748 COLLECTIONS CENTER
MCKESSON DRUG COMPANY   DRIVE                                                                     CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       11/2/2018       $4,309,480.95
                        12748 COLLECTIONS CENTER
MCKESSON DRUG COMPANY   DRIVE                                                                     CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       11/3/2018       $5,034,627.22
                        12748 COLLECTIONS CENTER
MCKESSON DRUG COMPANY   DRIVE                                                                     CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       11/6/2018            $459.87




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                                                                                                                                                                              Reasons for payment or    Dates of    Total Amount or
     Creditor Name                Address1               Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
                        12748 COLLECTIONS CENTER
MCKESSON DRUG COMPANY   DRIVE                                                                        CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       11/7/2018            $472.50
                        12748 COLLECTIONS CENTER
MCKESSON DRUG COMPANY   DRIVE                                                                        CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       11/8/2018       $3,345,673.90
                        12748 COLLECTIONS CENTER
MCKESSON DRUG COMPANY   DRIVE                                                                        CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       11/9/2018       $4,148,722.57
                        12748 COLLECTIONS CENTER
MCKESSON DRUG COMPANY   DRIVE                                                                        CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      11/10/2018       $4,611,679.74
                        12748 COLLECTIONS CENTER
MCKESSON DRUG COMPANY   DRIVE                                                                        CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      11/15/2018       $2,944,677.76
                        12748 COLLECTIONS CENTER
MCKESSON DRUG COMPANY   DRIVE                                                                        CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      11/16/2018       $4,145,124.86
                        12748 COLLECTIONS CENTER
MCKESSON DRUG COMPANY   DRIVE                                                                        CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      11/17/2018       $3,471,501.52
                        12748 COLLECTIONS CENTER
MCKESSON DRUG COMPANY   DRIVE                                                                        CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      11/24/2018       $4,117,900.36
                        12748 COLLECTIONS CENTER
MCKESSON DRUG COMPANY   DRIVE                                                                        CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      11/29/2018       $1,388,953.02
                        12748 COLLECTIONS CENTER
MCKESSON DRUG COMPANY   DRIVE                                                                        CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      11/30/2018       $3,843,915.68
                        12748 COLLECTIONS CENTER
MCKESSON DRUG COMPANY   DRIVE                                                                        CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       12/1/2018       $4,244,026.53
                        12748 COLLECTIONS CENTER
MCKESSON DRUG COMPANY   DRIVE                                                                        CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       12/5/2018             $22.55
                        12748 COLLECTIONS CENTER
MCKESSON DRUG COMPANY   DRIVE                                                                        CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       12/6/2018       $2,728,897.78
                        12748 COLLECTIONS CENTER
MCKESSON DRUG COMPANY   DRIVE                                                                        CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      12/13/2018           $5,943.99

MCKINLEY HIERSEKORN     16878 NORTH DARMADY LOOP                                                     NAMPA               ID           83687                                  SUPPLIERS OR VENDORS      11/14/2018             $31.24
MCKINNON COMPANY        1002 SOUTH 48TH STREET     PAM TO ORACLE                                     GRAND FORKS         ND           58201-3828                             SUPPLIERS OR VENDORS      10/19/2018             $52.14
MCKINNON COMPANY        1002 SOUTH 48TH STREET     PAM TO ORACLE                                     GRAND FORKS         ND           58201-3828                             SUPPLIERS OR VENDORS       11/9/2018            $151.60
MCKINNON COMPANY        1002 SOUTH 48TH STREET     PAM TO ORACLE                                     GRAND FORKS         ND           58201-3828                             SUPPLIERS OR VENDORS      11/13/2018             $93.80
MCKINNON COMPANY        1002 SOUTH 48TH STREET     PAM TO ORACLE                                     GRAND FORKS         ND           58201-3828                             SUPPLIERS OR VENDORS      11/16/2018            $233.40
MCKINNON COMPANY        1002 SOUTH 48TH STREET     PAM TO ORACLE                                     GRAND FORKS         ND           58201-3828                             SUPPLIERS OR VENDORS      11/30/2018            $269.40
MCKINNON COMPANY        1002 SOUTH 48TH STREET     PAM TO ORACLE                                     GRAND FORKS         ND           58201-3828                             SUPPLIERS OR VENDORS      12/11/2018             $93.80
MCMORRAN LAWN
SERVICES                ROD MCMORRAN               411 NE DODGE                                      GREENFIELD          IA           50849                                  SUPPLIERS OR VENDORS       11/9/2018            $144.45
MCMORRAN LAWN
SERVICES                ROD MCMORRAN               411 NE DODGE                                      GREENFIELD          IA           50849                                  SUPPLIERS OR VENDORS      12/18/2018             $96.30
MEADE COUNTY CLERK      PO BOX 306                 SUITE 1                516 HILLCREST DRIVE        BRANDENBURG         KY           40108                                  SUPPLIERS OR VENDORS       11/6/2018         $34,299.55

MEDELA                  VICE PRESIDENT OF SALES    1101 CORPORATE DRIVE                              MCHENRY             IL           60050                                  SUPPLIERS OR VENDORS      10/18/2018            $843.30

MEDELA                  VICE PRESIDENT OF SALES    1101 CORPORATE DRIVE                              MCHENRY             IL           60050                                  SUPPLIERS OR VENDORS      10/25/2018           $1,961.28

MEDELA                  VICE PRESIDENT OF SALES    1101 CORPORATE DRIVE                              MCHENRY             IL           60050                                  SUPPLIERS OR VENDORS       11/1/2018            $200.25

MEDELA                  VICE PRESIDENT OF SALES    1101 CORPORATE DRIVE                              MCHENRY             IL           60050                                  SUPPLIERS OR VENDORS       11/8/2018           $1,524.41

MEDELA                  VICE PRESIDENT OF SALES    1101 CORPORATE DRIVE                              MCHENRY             IL           60050                                  SUPPLIERS OR VENDORS      11/15/2018            $712.05

MEDELA                  VICE PRESIDENT OF SALES    1101 CORPORATE DRIVE                              MCHENRY             IL           60050                                  SUPPLIERS OR VENDORS      11/22/2018            $614.70




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                                                                                                                                                                               Reasons for payment or    Dates of     Total Amount or
      Creditor Name               Address1                Address2                  Address3                   City            State       Zip              Country                   transfer          Payments            Value

MEDELA                  VICE PRESIDENT OF SALES    1101 CORPORATE DRIVE                               MCHENRY             IL           60050                                  SUPPLIERS OR VENDORS      11/29/2018             $813.25
MEDICAL SECURITY CARD
COMPANY                 PO BOX 80062               PAM TO ORACLE                                      CITY OF INDUSTRY CA              91716-8062                             SUPPLIERS OR VENDORS       11/1/2018          $14,513.30
MEDICAL SECURITY CARD
COMPANY                 PO BOX 80062                PAM TO ORACLE                                     CITY OF INDUSTRY CA              91716-8062                             SUPPLIERS OR VENDORS      11/29/2018          $15,475.30
MEDICARE PART B NATL    US BANK LOCKBOX SERVICES J6
GOVT SVCS               B IL MN WI                  PO BOX 809194                                     CHICAGO             IL           60680                                  SUPPLIERS OR VENDORS      10/23/2018              $71.82
MEDICI ROSSMORE LLC     645 COLE RANCH ROAD                                                           ENCINITAS           CA           92024                                  SUPPLIERS OR VENDORS      10/25/2018          $49,119.97
MEDICI ROSSMORE LLC     645 COLE RANCH ROAD                                                           ENCINITAS           CA           92024                                  SUPPLIERS OR VENDORS      11/27/2018          $49,119.97

MEDICI ROSSMORE LLC     645 COLE RANCH RD                                                             ENCINITAS           CA           92024                                  LANDLORD RENT PAYMENT        1/7/2019         $49,119.97

MEDICINE-ON-TIME        MULTI-COMP INCORPORATED    PO BOX 17573                                       CLEARWATER          FL           33762-0573                             SUPPLIERS OR VENDORS      10/25/2018            $1,167.23

MEDICINE-ON-TIME        MULTI-COMP INCORPORATED    PO BOX 17573                                       CLEARWATER          FL           33762-0573                             SUPPLIERS OR VENDORS      11/29/2018            $1,910.80

MEDICINE-ON-TIME        MULTI-COMP INCORPORATED    PO BOX 17573                                       CLEARWATER          FL           33762-0573                             SUPPLIERS OR VENDORS      11/30/2018                $1.00

MEDICINE-ON-TIME        MULTI-COMP INCORPORATED    PO BOX 17573                                       CLEARWATER          FL           33762-0573                             SUPPLIERS OR VENDORS      12/18/2018              $79.90

MEDICINE-ON-TIME        MULTI-COMP INCORPORATED    PO BOX 17573                                       CLEARWATER          FL           33762-0573                             SUPPLIERS OR VENDORS      12/22/2018            $1,343.11
MEDLINE INDUSTRIES
INCORPORATED            DEPT CH 14400                                                                 PALATINE            IL           60055-4400                             SUPPLIERS OR VENDORS      10/18/2018             $344.40
MEDLINE INDUSTRIES
INCORPORATED            DEPT CH 14400                                                                 PALATINE            IL           60055-4400                             SUPPLIERS OR VENDORS       11/1/2018            $2,699.16
MEDLINE INDUSTRIES
INCORPORATED            DEPT CH 14400                                                                 PALATINE            IL           60055-4400                             SUPPLIERS OR VENDORS      11/22/2018             $851.66
MEDLINE INDUSTRIES
INCORPORATED            DEPT CH 14400                                                                 PALATINE            IL           60055-4400                             SUPPLIERS OR VENDORS      12/21/2018            $2,634.28

MEDTECH INCORPORATED    MEDTECH PRODUCTS INC       PO BOX 202493                                      DALLAS              TX           75320-2493                             SUPPLIERS OR VENDORS      10/20/2018            $1,896.38

MEDTECH INCORPORATED    MEDTECH PRODUCTS INC       PO BOX 202493                                      DALLAS              TX           75320-2493                             SUPPLIERS OR VENDORS      10/23/2018          $10,729.01

MEDTECH INCORPORATED    MEDTECH PRODUCTS INC       PO BOX 202493                                      DALLAS              TX           75320-2493                             SUPPLIERS OR VENDORS      10/24/2018          $12,073.99

MEDTECH INCORPORATED    MEDTECH PRODUCTS INC       PO BOX 202493                                      DALLAS              TX           75320-2493                             SUPPLIERS OR VENDORS      10/26/2018            $5,978.76

MEDTECH INCORPORATED    MEDTECH PRODUCTS INC       PO BOX 202493                                      DALLAS              TX           75320-2493                             SUPPLIERS OR VENDORS      10/30/2018          $30,328.08

MEDTECH INCORPORATED    MEDTECH PRODUCTS INC       PO BOX 202493                                      DALLAS              TX           75320-2493                             SUPPLIERS OR VENDORS       11/1/2018            $5,300.06

MEDTECH INCORPORATED    MEDTECH PRODUCTS INC       PO BOX 202493                                      DALLAS              TX           75320-2493                             SUPPLIERS OR VENDORS       11/8/2018          $28,141.94

MEDTECH INCORPORATED    MEDTECH PRODUCTS INC       PO BOX 202493                                      DALLAS              TX           75320-2493                             SUPPLIERS OR VENDORS      11/10/2018          $17,410.54

MEDTECH INCORPORATED    MEDTECH PRODUCTS INC       PO BOX 202493                                      DALLAS              TX           75320-2493                             SUPPLIERS OR VENDORS      11/17/2018            $3,519.15

MEDTECH INCORPORATED    MEDTECH PRODUCTS INC       PO BOX 202493                                      DALLAS              TX           75320-2493                             SUPPLIERS OR VENDORS      11/24/2018          $38,272.88

MEDTECH INCORPORATED    MEDTECH PRODUCTS INC       PO BOX 202493                                      DALLAS              TX           75320-2493                             SUPPLIERS OR VENDORS      11/27/2018            $9,821.72

MEDTECH INCORPORATED    MEDTECH PRODUCTS INC       PO BOX 202493                                      DALLAS              TX           75320-2493                             SUPPLIERS OR VENDORS       12/1/2018            $5,582.49



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                                                                                                                                                                                 Reasons for payment or    Dates of    Total Amount or
     Creditor Name                 Address1                 Address2                  Address3                   City            State       Zip              Country                   transfer          Payments           Value

MEDTECH INCORPORATED     MEDTECH PRODUCTS INC        PO BOX 202493                                      DALLAS              TX           75320-2493                             SUPPLIERS OR VENDORS       12/4/2018         $11,585.40

MEDTECH INCORPORATED     MEDTECH PRODUCTS INC        PO BOX 202493                                      DALLAS              TX           75320-2493                             SUPPLIERS OR VENDORS       12/5/2018           $6,267.90
MEE VANG                 1629S 21RST ST                                                                 SHEBOYGAN           WI           53081                                  SUPPLIERS OR VENDORS      12/13/2018              $23.00
MEGAN ALTMANN            6672 FAIRWAY CIRCLE                                                            WINDSOR             WI           53598                                  SUPPLIERS OR VENDORS      10/24/2018             $124.99
MEGAN BARBOT-SMITH       STORE 4-007                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/8/2018             $206.25
MEGAN CARLSON            N6915 STATE ROAD 69         APT 2                                              MONTICELLO          WI           53570                                  SUPPLIERS OR VENDORS      11/29/2018             $144.96
MEGAN DRAHEIM            2833 LINDBERGH AVE                                                             STEVENS POINT       WI           54481                                  SUPPLIERS OR VENDORS      10/22/2018              $25.00
MEGAN GAIRRETT           4902 HELFRICK RD                                                               BILLINGS            MT           59101                                  SUPPLIERS OR VENDORS      11/14/2018              $35.00
MEGAN KNAUS              226 S PATRICK ST                                                               KIMBERLY            WI           54136                                  SUPPLIERS OR VENDORS      11/26/2018             $400.00
MEGAN LE                 2646 ROYAL OAKS                                                                FREEPORT            IL           61032                                  SUPPLIERS OR VENDORS      10/24/2018               $5.00
MEGAN LONG               480 SKARE RD APT 1                                                             RIO                 WI           53960                                  SUPPLIERS OR VENDORS       11/2/2018              $21.00
MEGAN MILLER             30470 VENTRE ST NW                                                             CAMBRIDGE           MN           55008                                  SUPPLIERS OR VENDORS      12/13/2018              $19.75

MEGAN REID               811 CENTER AVE SOUTH LOT 14                                                    HAYFIELD            MN           55940                                  SUPPLIERS OR VENDORS      11/26/2018             $15.00
MEGAN RUSCH              STORE 2-177                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/25/2018             $21.12
MEGAN RUSCH              STORE 2-177                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/8/2018             $46.87
MEGAN VANDEHEI           1312 SUN TERRACE ST                                                            LUXEMBURG           WI           54217                                  SUPPLIERS OR VENDORS      12/21/2018             $20.00
MEGAN VOIGT              37262 135TH ST                                                                 IPSWICH             SD           57451                                  SUPPLIERS OR VENDORS      10/25/2018             $23.00
MEGGAN HOFF              2847 GRANITE PTE DR                                                            MARQUETTE           MI           49855                                  SUPPLIERS OR VENDORS      12/19/2018             $23.00
                                                     1500 EAST LIBERTY
MEGHAN MONTREAL          20/20 EYE CARE P C          STREET                                             BRANDON             SD           57005                                  SUPPLIERS OR VENDORS      10/19/2018           $7,685.42
                                                     1500 EAST LIBERTY
MEGHAN MONTREAL          20/20 EYE CARE P C          STREET                                             BRANDON             SD           57005                                  SUPPLIERS OR VENDORS       11/2/2018           $5,997.31
                                                     1500 EAST LIBERTY
MEGHAN MONTREAL          20/20 EYE CARE P C          STREET                                             BRANDON             SD           57005                                  SUPPLIERS OR VENDORS      11/16/2018           $3,789.67
                                                     1500 EAST LIBERTY
MEGHAN MONTREAL          20/20 EYE CARE P C          STREET                                             BRANDON             SD           57005                                  SUPPLIERS OR VENDORS      11/30/2018           $8,035.04
                                                     1500 EAST LIBERTY
MEGHAN MONTREAL          20/20 EYE CARE P C          STREET                                             BRANDON             SD           57005                                  SUPPLIERS OR VENDORS      12/14/2018           $7,146.29
                                                     1500 EAST LIBERTY
MEGHAN MONTREAL          20/20 EYE CARE P C          STREET                                             BRANDON             SD           57005                                  SUPPLIERS OR VENDORS      12/29/2018           $6,994.58
                                                     1500 EAST LIBERTY
MEGHAN MONTREAL          20/20 EYE CARE P C          STREET                                             BRANDON             SD           57005                                  SUPPLIERS OR VENDORS       1/11/2019           $4,222.61
MEGHAN ZILLMER           STORE 024                   SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/20/2018              $10.90
MEINING FU               STORE 2-012                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/1/2018             $677.24

MEISYSTEM INCORPORATED 0                             959 AEC DRIVE                                      WOOD DALE           IL           60191                                  SUPPLIERS OR VENDORS      10/30/2018               $1.00

MEISYSTEM INCORPORATED 959 AEC DRIVE                                                                    WOOD DALE           IL           60191                                  SUPPLIERS OR VENDORS       11/9/2018           $5,007.30

MEISYSTEM INCORPORATED 959 AEC DRIVE                                                                    WOOD DALE           IL           60191                                  SUPPLIERS OR VENDORS      11/16/2018           $8,494.40

MEISYSTEM INCORPORATED   959 AEC DRIVE                                                                  WOOD DALE           IL           60191                                  SUPPLIERS OR VENDORS      11/30/2018           $6,534.57
MELANIE BARRETT          402 N. 40TH AVE                                                                YAKIMA              WA           98908                                  SUPPLIERS OR VENDORS      11/26/2018               $9.45
MELANIE BARRETT          402 N. 40TH AVE                                                                YAKIMA              WA           98908                                  SUPPLIERS OR VENDORS      11/26/2018              $11.80
MELANIE DIMICK           218 ROYAL CT APT 5                                                             APPLETON            WI           54915                                  SUPPLIERS OR VENDORS       11/9/2018              $20.65
MELANIE FENTER           STORE 203                   SHOPKO EMPLOYEE         124 LUMAR DRIVE            JACKSBORO           TX           76458                                  SUPPLIERS OR VENDORS       11/2/2018             $264.45
MELANIE FENTER           STORE 203                   SHOPKO EMPLOYEE         124 LUMAR DRIVE            JACKSBORO           TX           76458                                  SUPPLIERS OR VENDORS       11/9/2018             $212.01
MELANIE JOCIS            STORE 613                   SHOPKO EMPLOYEE         946 E MAIN STREET          WINNECONNE          WI           54986-0000                             SUPPLIERS OR VENDORS      10/19/2018             $146.06
MELANIE JOCIS            STORE 613                   SHOPKO EMPLOYEE         946 E MAIN STREET          WINNECONNE          WI           54986-0000                             SUPPLIERS OR VENDORS       11/2/2018             $209.28
MELANIE JOCIS            STORE 613                   SHOPKO EMPLOYEE         946 E MAIN STREET          WINNECONNE          WI           54986-0000                             SUPPLIERS OR VENDORS       1/15/2019             $251.79
MELANIE LESSTRANG        TRAINING                    SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/22/2018             $115.00



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                                                                                                                                                                               Reasons for payment or    Dates of     Total Amount or
      Creditor Name               Address1               Address2                 Address3                   City             State       Zip              Country                    transfer          Payments            Value
MELANIE MILLER          STORE 538                  SHOPKO EMPLOYEE        710 N LL & G AVENUE        ANTHONY             KS           67003                                  SUPPLIERS OR VENDORS        11/16/2018              $244.12
MELANY CORONADO         2225 9TH AVE.                                                                LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS        10/29/2018              $150.00
MELE JEWEL BOX          2007 BEECHGROVE PLACE                                                        UTICA               NY           13501-1703                             SUPPLIERS OR VENDORS         11/8/2018               $13.00
MELE JEWEL BOX          2007 BEECHGROVE PLACE                                                        UTICA               NY           13501-1703                             SUPPLIERS OR VENDORS        11/22/2018               $19.00
MELEHIA FRAUENHOLTZ     STORE 2-679                SHOPKO EMPLOYEE        1006 S COUNTY ROAD         TOLEDO              IA           52342-0000                             SUPPLIERS OR VENDORS        11/30/2018              $676.29
MELEHIA FRAUENHOLTZ     STORE 2-679                SHOPKO EMPLOYEE        1006 S COUNTY ROAD         TOLEDO              IA           52342-0000                             SUPPLIERS OR VENDORS         12/8/2018              $584.24
MELINDA CRAIG           12909 VELP AVE                                                               GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS        12/20/2018               $37.40
MELINDA MIKOLICHEK      PO BOX 148                                                                   SILVER LAKE         MN           55381                                  SUPPLIERS OR VENDORS         11/2/2018               $25.50
MELISSA & DOUG LLC      PO BOX 590                                                                   WESTPORT            CT           06881                                  SUPPLIERS OR VENDORS        10/18/2018              $172.89
MELISSA & DOUG LLC      PO BOX 590                                                                   WESTPORT            CT           06881                                  SUPPLIERS OR VENDORS        10/25/2018            $4,700.84
MELISSA ANDERSON        570 W. IDAHO AVE.                                                            MERIDIAN            ID           83642                                  SUPPLIERS OR VENDORS        11/26/2018               $67.00
MELISSA ANDERSON        570 W. IDAHO AVE.                                                            MERIDIAN            ID           83642                                  SUPPLIERS OR VENDORS        11/26/2018              $192.96
MELISSA BRANTNER        STORE 024                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/20/2018               $32.70
MELISSA CAMPBELL        P.O. BOX 294                                                                 WAHOO               NE           68066                                  SUPPLIERS OR VENDORS        10/19/2018               $24.59
MELISSA DEWITT          STORE 091                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/25/2018              $166.77
MELISSA DEWITT          STORE 091                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/13/2018               $56.68
MELISSA DODGE           227 W 200 S                                                                  BRIGHAM CITY        UT           84302                                  SUPPLIERS OR VENDORS        10/19/2018              $409.09
MELISSA DRENNAN         419 EAST SPRING ST.                                                          MANKATO             MN           56001                                  SUPPLIERS OR VENDORS         11/9/2018               $75.00
MELISSA EDWARDS         131 E JEFFERSON ST                                                           WINCHESTER          IL           62694                                  SUPPLIERS OR VENDORS         11/9/2018                $8.00
MELISSA EDWARDS         131 E JEFFERSON ST                                                           WINCHESTER          IL           62694                                  SUPPLIERS OR VENDORS         11/9/2018               $23.00
MELISSA FREDRICKSON     812 HOLLRUD AVE                                                              LYLE                MN           55953                                  SUPPLIERS OR VENDORS        11/29/2018                $3.00
MELISSA LAHR            1525 14TH ST SE                                                              SAINT CLOUD         MN           56304                                  SUPPLIERS OR VENDORS        10/24/2018               $30.95
MELISSA MCBRIDE         2609 WEBER ST                                                                OMAHA               NE           68112                                  SUPPLIERS OR VENDORS         11/9/2018               $10.00
MELISSA MCCLOUD         1217 ST JOHN'S ST                                                            FAULKTON            SD           57438                                  SUPPLIERS OR VENDORS        12/19/2018               $33.00
MELISSA NANCE           STORE 542                  SHOPKO EMPLOYEE        1301 S MAIN STREET         PERRYTON            TX           79070-4709                             SUPPLIERS OR VENDORS        12/11/2018              $100.28
MELISSA NANCE           STORE 542                  SHOPKO EMPLOYEE        1301 S MAIN STREET         PERRYTON            TX           79070-4709                             SUPPLIERS OR VENDORS        12/20/2018               $50.14
MELISSA PETERSON        N4699 HWY 55                                                                 KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS        11/26/2018               $25.00
MELISSA RUPPRECHT       167 JANESVILLE ST APT 5                                                      MILTON              WI           53563                                  SUPPLIERS OR VENDORS        10/31/2018               $10.00
MELISSA SERVI           HR COMPENSATION            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/1/2018               $40.33

MELISSA SIMCAKOWSKI     440 BRENTWOOD DRIVE                                                          WISCONSIN RAPIDS WI              54494                                  SUPPLIERS OR VENDORS       11/28/2018               $15.02
MELISSA WACHHOLZ        542 GREENWOOD ST                                                             FOND DU LAC      WI              54935                                  SUPPLIERS OR VENDORS       12/21/2018                $5.00

MELISSA WONDRA-TARRENT 594 EAST PIONEER ROAD APT #2                                                  FOND DU LAC         WI           54935                                  SUPPLIERS OR VENDORS       10/18/2018                $3.27
MELISSA WYNEGAR        STORE 4-106                  SHOPKO EMPLOYEE                                  GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/6/2018              $225.00

MELLINGER LANDSCAPING   PO BOX 544                                                                   WHEATLAND           WY           82201                                  SUPPLIERS OR VENDORS       10/25/2018               $85.00
MELODIE NIELSEN         85142 550 AVE                                                                PIERCE              NE           68767                                  SUPPLIERS OR VENDORS       10/22/2018               $20.03
MELODY DEARTH           7611 CTY RD N                                                                ARPIN               WI           54410                                  SUPPLIERS OR VENDORS        11/7/2018               $91.00
MELODY MASTELLER        101 FERN DR                                                                  ROSENDALE           WI           54974                                  SUPPLIERS OR VENDORS       11/12/2018               $23.00
MELODY SCRIBNER         845 W SUPERIOR                                                               JACKSONVILLE        IL           62650                                  SUPPLIERS OR VENDORS        12/7/2018               $76.00
MELONY STOLTZ           STORE 033                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/25/2018               $23.98
MELVIN DINIUS           1000 LAKESIDE DRIVE                                                          LOLO                MT           59847                                  SUPPLIERS OR VENDORS       11/26/2018               $53.76
MELVIN FROST            PO BOX 303                                                                   HOVEN               SD           57450                                  SUPPLIERS OR VENDORS       10/24/2018               $48.64
MELVIN FROST            PO BOX 303                                                                   HOVEN               SD           57450                                  SUPPLIERS OR VENDORS        11/1/2018               $12.16
MELVIN KASEMAN          1426 N HARRISON                                                              ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       11/14/2018               $48.64
MEMORIAL FLORISTS &
GREENHOUSE              2320 S MEMORIAL DRIVE                                                        APPLETON            WI           54915                                  SUPPLIERS OR VENDORS        11/8/2018              $115.50
MENARD INCORPORATED     ATTN PROPERTIES DIVISION   5101 MENARD DRIVE                                 EAU CLAIRE          WI           54703                                  SUPPLIERS OR VENDORS        11/1/2018                $1.00
MENARD INCORPORATED     ATTN PROPERTIES DIVISION   5101 MENARD DRIVE                                 EAU CLAIRE          WI           54703                                  SUPPLIERS OR VENDORS        11/1/2018           $75,728.89
MENARD INCORPORATED     ATTN PROPERTIES DIVISION   5101 MENARD DRIVE                                 EAU CLAIRE          WI           54703                                  SUPPLIERS OR VENDORS        12/4/2018           $75,728.89
MENARD INCORPORATED     ATTN PROPERTIES DIVISION   5101 MENARD DRIVE                                 EAU CLAIRE          WI           54703                                  SUPPLIERS OR VENDORS        12/5/2018              $985.81
MENASHA UTILITIES       PO BOX 340                                                                   MENASHA             WI           54952-0340                             SUPPLIERS OR VENDORS       11/15/2018               $33.83
MENASHA UTILITIES       PO BOX 340                                                                   MENASHA             WI           54952-0340                             SUPPLIERS OR VENDORS         1/3/2019               $33.83



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MENLO REALTY INCOME
ACQUISITION           600 LA TERRAZA BOULEVARD                                                  ESCONDIDO           CA           92025-3873                             SUPPLIERS OR VENDORS       11/1/2018           $9,541.67
MENLO REALTY INCOME
ACQUISITION           600 LA TERRAZA BOULEVARD                                                  ESCONDIDO           CA           92025-3873                             SUPPLIERS OR VENDORS      11/10/2018        $141,013.21
MENLO REALTY INCOME
ACQUISITION           600 LA TERRAZA BOULEVARD                                                  ESCONDIDO           CA           92025-3873                             SUPPLIERS OR VENDORS       12/1/2018           $9,541.67
MENLO REALTY INCOME
ACQUISITION           600 LA TERRAZA BOULEVARD                                                  ESCONDIDO           CA           92025-3873                             SUPPLIERS OR VENDORS      12/19/2018        $141,013.21

MENTHOLATUM COMPANY
INCORPORATED          BOX 347142                                                                PITTSBURGH          PA           15251-4142                             SUPPLIERS OR VENDORS      10/23/2018            $525.64

MENTHOLATUM COMPANY
INCORPORATED          BOX 347142                                                                PITTSBURGH          PA           15251-4142                             SUPPLIERS OR VENDORS      10/25/2018           $1,072.86

MENTHOLATUM COMPANY
INCORPORATED          BOX 347142                                                                PITTSBURGH          PA           15251-4142                             SUPPLIERS OR VENDORS      10/30/2018           $1,736.13

MENTHOLATUM COMPANY
INCORPORATED          BOX 347142                                                                PITTSBURGH          PA           15251-4142                             SUPPLIERS OR VENDORS       11/1/2018           $3,077.12

MENTHOLATUM COMPANY
INCORPORATED          BOX 347142                                                                PITTSBURGH          PA           15251-4142                             SUPPLIERS OR VENDORS       11/8/2018           $3,530.45

MENTHOLATUM COMPANY
INCORPORATED          BOX 347142                                                                PITTSBURGH          PA           15251-4142                             SUPPLIERS OR VENDORS      11/13/2018           $3,211.18

MENTHOLATUM COMPANY
INCORPORATED          BOX 347142                                                                PITTSBURGH          PA           15251-4142                             SUPPLIERS OR VENDORS      11/27/2018           $5,451.45

MENTHOLATUM COMPANY
INCORPORATED          BOX 347142                                                                PITTSBURGH          PA           15251-4142                             SUPPLIERS OR VENDORS      11/29/2018           $1,031.70

MENTHOLATUM COMPANY
INCORPORATED          BOX 347142                                                                PITTSBURGH          PA           15251-4142                             SUPPLIERS OR VENDORS       12/4/2018           $1,294.52

MENTHOLATUM COMPANY
INCORPORATED          BOX 347142                                                                PITTSBURGH          PA           15251-4142                             SUPPLIERS OR VENDORS       12/6/2018           $4,888.51
MERCEDES CORDERO      1415 COLORADO CT                                                          SHEBOYGAN           WI           53081                                  SUPPLIERS OR VENDORS       12/6/2018              $17.52
MERCER INVESTMENT
LIMITED PARTNERSHIP   1912 66TH STREET NW                                                       MINOT               ND           58703-8894                             SUPPLIERS OR VENDORS      11/15/2018           $8,614.38
MERCER INVESTMENT
LIMITED PARTNERSHIP   1912 66TH STREET NW                                                       MINOT               ND           58703-8894                             SUPPLIERS OR VENDORS      11/15/2018         $13,500.00
MERCER INVESTMENT
LIMITED PARTNERSHIP   1912 66TH STREET NW                                                       MINOT               ND           58703-8894                             SUPPLIERS OR VENDORS      12/19/2018           $8,614.38
MERCER INVESTMENT
LIMITED PARTNERSHIP   1912 66TH STREET NW                                                       MINOT               ND           58703-8894                             SUPPLIERS OR VENDORS      12/19/2018         $13,500.00
MERCHSOURCE LLC       PO BOX 3559                                                               CAROL STREAM        IL           60132-3559                             SUPPLIERS OR VENDORS      10/18/2018        $148,465.45
MERCHSOURCE LLC       PO BOX 3559                                                               CAROL STREAM        IL           60132-3559                             SUPPLIERS OR VENDORS      10/25/2018        $110,772.25
MERCHSOURCE LLC       PO BOX 3559                                                               CAROL STREAM        IL           60132-3559                             SUPPLIERS OR VENDORS       11/1/2018        $162,414.40
MERCHSOURCE LLC       PO BOX 3559                                                               CAROL STREAM        IL           60132-3559                             SUPPLIERS OR VENDORS       11/8/2018        $248,514.67
MERCHSOURCE LLC       PO BOX 3559                                                               CAROL STREAM        IL           60132-3559                             SUPPLIERS OR VENDORS      11/15/2018        $129,975.32
MERCHSOURCE LLC       PO BOX 3559                                                               CAROL STREAM        IL           60132-3559                             SUPPLIERS OR VENDORS      11/22/2018         $73,382.89
MERCHSOURCE LLC       PO BOX 3559                                                               CAROL STREAM        IL           60132-3559                             SUPPLIERS OR VENDORS      11/29/2018        $330,487.09



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MERI STRICKLIN          STORE 2-635                 SHOPKO EMPLOYEE        251 S 4TH STREET           SAVANNA             IL           61074                                  SUPPLIERS OR VENDORS        10/18/2018               $67.85
MERICAL LLC             VICE PRESIDENT OF SALES     2995 E MIRA LOMA                                  ANAHEIM             CA           92806                                  SUPPLIERS OR VENDORS        10/18/2018            $3,190.65
MERICAL LLC             VICE PRESIDENT OF SALES     2995 E MIRA LOMA                                  ANAHEIM             CA           92806                                  SUPPLIERS OR VENDORS        10/25/2018              $661.72
MERICAL LLC             VICE PRESIDENT OF SALES     2995 E MIRA LOMA                                  ANAHEIM             CA           92806                                  SUPPLIERS OR VENDORS         11/1/2018            $3,163.16
MERICAL LLC             VICE PRESIDENT OF SALES     2995 E MIRA LOMA                                  ANAHEIM             CA           92806                                  SUPPLIERS OR VENDORS         11/8/2018               $22.30
MERICAL LLC             VICE PRESIDENT OF SALES     2995 E MIRA LOMA                                  ANAHEIM             CA           92806                                  SUPPLIERS OR VENDORS        11/15/2018            $2,249.33
MERICAL LLC             VICE PRESIDENT OF SALES     2995 E MIRA LOMA                                  ANAHEIM             CA           92806                                  SUPPLIERS OR VENDORS        11/22/2018            $1,364.75
MERICAL LLC             VICE PRESIDENT OF SALES     2995 E MIRA LOMA                                  ANAHEIM             CA           92806                                  SUPPLIERS OR VENDORS        11/29/2018            $2,727.26
MERISSA STACK           EP1143 CTY RD P                                                               STRATFORD           WI           54484                                  SUPPLIERS OR VENDORS        10/26/2018               $42.00
MERLES LANDSCAPING &
YARD SERVICE INC        1838 5TH AVENUE                                                               BELLE FOURCHE       SD           57717                                  SUPPLIERS OR VENDORS        11/8/2018              $239.63
MERLIN LARSON           22575 HWY 37                                                                  WOONSOCKET          SD           57385                                  SUPPLIERS OR VENDORS       12/13/2018               $44.80
MERLIN WORLIE           2507 PRIMROSE LANE                                                            ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       12/17/2018               $46.72
MERREEN JOHNSON LLC     575 9TH STREET SE                                                             MINNEAPOLIS         MN           55414                                  SUPPLIERS OR VENDORS       11/26/2018                $9.04
MERRILEE STAVEM         PO BOX 453                                                                    SISTERS             OR           97759                                  SUPPLIERS OR VENDORS       10/25/2018               $33.60
MERRILL HOLIDAY         400 S 6TH ST                                                                  CORNELL             WI           54732                                  SUPPLIERS OR VENDORS        11/1/2018               $23.76
                        Rm M 5/F Centro Comercial                                                     Carlos                                                                  PURCHASE OF
MERRY LINK DEVOLPMENT   Cheng Feng                  336 Alameda Dr                                    D'Assumpcao                                   MACAO                     MERCHANDISE                 11/9/2018          $136,658.58
                        Rm M 5/F Centro Comercial                                                     Carlos                                                                  PURCHASE OF
MERRY LINK DEVOLPMENT   Cheng Feng                  336 Alameda Dr                                    D'Assumpcao                                   MACAO                     MERCHANDISE                11/30/2018           $10,953.84
MESSERSCHMITT ICE
SERVICE                 1118 HAYNE STREET           PAM TO ORACLE                                     OTTUMWA             IA           52501                                  SUPPLIERS OR VENDORS       11/26/2018               $31.00
MESSNER LANDSCAPE
MAINTENANCE INC         325 COUNTY ROAD MM                                                            BROOKLYN            WI           53521-9490                             SUPPLIERS OR VENDORS        11/9/2018            $1,501.73
MESSNER LANDSCAPE
MAINTENANCE INC         325 COUNTY ROAD MM                                                            BROOKLYN            WI           53521-9490                             SUPPLIERS OR VENDORS       12/14/2018              $230.98

METAL WARE CORPORATION VICE PRESIDENT OF SALES      PO BOX 237                                        TWO RIVERS          WI           54241-0237                             SUPPLIERS OR VENDORS       10/18/2018            $2,777.02

METAL WARE CORPORATION VICE PRESIDENT OF SALES      PO BOX 237                                        TWO RIVERS          WI           54241-0237                             SUPPLIERS OR VENDORS       10/25/2018            $2,925.50

METAL WARE CORPORATION VICE PRESIDENT OF SALES      PO BOX 237                                        TWO RIVERS          WI           54241-0237                             SUPPLIERS OR VENDORS        11/1/2018            $1,469.06

METAL WARE CORPORATION VICE PRESIDENT OF SALES      PO BOX 237                                        TWO RIVERS          WI           54241-0237                             SUPPLIERS OR VENDORS       11/15/2018            $6,730.34

METAL WARE CORPORATION VICE PRESIDENT OF SALES      PO BOX 237                                        TWO RIVERS          WI           54241-0237                             SUPPLIERS OR VENDORS       11/22/2018            $3,603.48

METAL WARE CORPORATION VICE PRESIDENT OF SALES      PO BOX 237                                        TWO RIVERS          WI           54241-0237                             SUPPLIERS OR VENDORS       11/29/2018           $10,502.67
METHOD PRODUCTS PBC    METHOD NA                    PO BOX 78764                                      MILWAUKEE           WI           53278                                  SUPPLIERS OR VENDORS       10/18/2018           $14,594.68
METHOD PRODUCTS PBC    METHOD NA                    PO BOX 78764                                      MILWAUKEE           WI           53278                                  SUPPLIERS OR VENDORS       11/15/2018           $33,293.84

METRO RPH INCORPORATED 100 E HOMER ADAMS PARKWAY                                                      ALTON               IL           62002                                  SUPPLIERS OR VENDORS        11/8/2018              $406.80

METRO RPH INCORPORATED 100 E HOMER ADAMS PARKWAY                                                      ALTON               IL           62002                                  SUPPLIERS OR VENDORS        12/5/2018                $1.00
METZNERS CULLIGAN
QUALITY WATER          310 S ONEIDA STREET                                                            GREEN BAY           WI           54303-0000                             SUPPLIERS OR VENDORS        11/1/2018               $61.36
METZNERS CULLIGAN
QUALITY WATER          310 S ONEIDA STREET                                                            GREEN BAY           WI           54303-0000                             SUPPLIERS OR VENDORS       11/29/2018               $61.36
                       CIT GROUP COMMERCIAL
MEYER CORPORATION      SERVICES INC              PO BOX 1036                                          CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       10/20/2018            $4,301.35
                       CIT GROUP COMMERCIAL
MEYER CORPORATION      SERVICES INC              PO BOX 1036                                          CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS        11/9/2018          $200,313.92
                       CIT GROUP COMMERCIAL
MEYER CORPORATION      SERVICES INC              PO BOX 1036                                          CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/16/2018           $14,578.10



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                                                                                                                                                                                 Reasons for payment or    Dates of    Total Amount or
      Creditor Name                 Address1                Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
                         16300 ROSCOE BOULEVARD
MGA ENTERTAINMENT        SUITE 150                                                                      VAN NUYS            CA           91406-1258                             SUPPLIERS OR VENDORS      10/19/2018         $21,368.31
                         16300 ROSCOE BOULEVARD
MGA ENTERTAINMENT        SUITE 150                                                                      VAN NUYS            CA           91406-1258                             SUPPLIERS OR VENDORS       11/1/2018        $469,218.14
                         16300 ROSCOE BOULEVARD
MGA ENTERTAINMENT        SUITE 150                                                                      VAN NUYS            CA           91406-1258                             SUPPLIERS OR VENDORS       11/2/2018         $57,919.67
                         16300 ROSCOE BOULEVARD
MGA ENTERTAINMENT        SUITE 150                                                                      VAN NUYS            CA           91406-1258                             SUPPLIERS OR VENDORS      11/16/2018         $40,402.94
MICAH MOORES             STORE 768                    SHOPKO EMPLOYEE        804 US HWY 2 WEST          GLASGOW             MT           59230                                  SUPPLIERS OR VENDORS      12/11/2018             $86.51
MICHAEL ADAMS            221 21ST ST SE                                                                 MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS      11/12/2018             $23.00
MICHAEL ANDERSEN         103 JO DEB DRIVE                                                               NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS       12/3/2018             $25.00
MICHAEL AULOZZI          5725 BROOKHAVEN DR                                                             RACINE              WI           53406                                  SUPPLIERS OR VENDORS      11/12/2018             $15.00
MICHAEL BACHELDER        STORE 2-679                  SHOPKO EMPLOYEE        1006 S COUNTY ROAD         TOLEDO              IA           52342                                  SUPPLIERS OR VENDORS       11/1/2018            $130.80
MICHAEL BARBIAUX         STORE 2-615                  SHOPKO EMPLOYEE        291 S MAIN STREET          CLINTONVILLE        WI           54929                                  SUPPLIERS OR VENDORS      11/29/2018             $81.75
MICHAEL BATORY           STORE 756                    SHOPKO EMPLOYEE        1255 MAIN STREET           LANDER              WY           82520                                  SUPPLIERS OR VENDORS      10/19/2018            $276.86
MICHAEL BATORY           STORE 756                    SHOPKO EMPLOYEE        1255 MAIN STREET           LANDER              WY           82520                                  SUPPLIERS OR VENDORS      11/16/2018             $86.11
MICHAEL BEARD            STORE 128                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/2/2018            $135.16
MICHAEL BEAVER           995 STATE ST                                                                   GARNER              IA           50438                                  SUPPLIERS OR VENDORS      11/26/2018             $36.04
MICHAEL BEDNARSKI        3907 COUNTY ROAD D                                                             FLORENCE            WI           54121                                  SUPPLIERS OR VENDORS      12/13/2018             $62.46

MICHAEL BEDROSIAN        STORE 769                    SHOPKO EMPLOYEE        1159 S CENTRAL AVENUE SIDNEY                   MT           59270                                  SUPPLIERS OR VENDORS       11/2/2018            $488.28
MICHAEL BIGELOW          1005-1/2 12TH STREET S.E.                                                 MENOMONIE                WI           54751                                  SUPPLIERS OR VENDORS      10/24/2018             $27.01
MICHAEL BLAUERT          2731 WAYSIDE ROAD                                                         GREENLEAF                WI           54126                                  SUPPLIERS OR VENDORS      12/10/2018              $3.57

MICHAEL BOOTZ            2938 FLOWERING PEACH DRIVE                                                     GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS       11/8/2018             $25.00
MICHAEL BUWALDA          W11298 BLANECAE RD.                                                            RANDOLPH            WI           53956                                  SUPPLIERS OR VENDORS      11/26/2018             $86.00
MICHAEL BUWALDA          W11298 BLANECAE RD.                                                            RANDOLPH            WI           53956                                  SUPPLIERS OR VENDORS      11/26/2018            $150.00
MICHAEL BUYE             3813 PORTAGE RD #8                                                             MADISON             WI           53704                                  SUPPLIERS OR VENDORS       11/9/2018              $8.00
MICHAEL CASEY            4518 COLUMBUS ST                                                               TWO RIVERS          WI           54241                                  SUPPLIERS OR VENDORS      11/26/2018             $44.16
MICHAEL CONDRATOVICH     206 COOPER AVE                                                                 HANCOCK             MI           49930                                  SUPPLIERS OR VENDORS       12/3/2018             $10.00
MICHAEL CONNORS          129 CRAWFORD ST                                                                EVANSVILLE          WI           53536                                  SUPPLIERS OR VENDORS       11/5/2018              $5.00
MICHAEL COOLEY           5125 UNITY WAY                                                                 MADISON             WI           53718                                  SUPPLIERS OR VENDORS      10/29/2018             $50.00
MICHAEL COX              STORE 588                    SHOPKO EMPLOYEE        660 N MAIN STREET          BEAVER              UT           84713-7725                             SUPPLIERS OR VENDORS      12/14/2018             $62.68
MICHAEL COX              STORE 588                    SHOPKO EMPLOYEE        660 N MAIN STREET          BEAVER              UT           84713-7725                             SUPPLIERS OR VENDORS      12/29/2018            $188.03
MICHAEL COX              STORE 588                    SHOPKO EMPLOYEE        660 N MAIN STREET          BEAVER              UT           84713-7725                             SUPPLIERS OR VENDORS       1/15/2019            $133.40
MICHAEL CRESSWELL        815 12TH STREET N.E.                                                           MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS      11/29/2018             $75.00
MICHAEL DEMARCO          1219 STEFFANICH DRIVE                                                          BILLINGS            MT           59105                                  SUPPLIERS OR VENDORS      11/13/2018              $6.87
MICHAEL DESTICHE         3630 ELM TREE RD                                                               SUAMICO             WI           54313                                  SUPPLIERS OR VENDORS       12/3/2018             $25.00
MICHAEL DRIGGS           1322 W 1950 N                                                                  CLEARFIELD          UT           84015                                  SUPPLIERS OR VENDORS      11/30/2018             $26.00
MICHAEL DRIGGS           1322 W 1950 N                                                                  CLEARFIELD          UT           84015                                  SUPPLIERS OR VENDORS      11/30/2018             $36.00
MICHAEL FIALA            P.O. BOX 172                                                                   CLEAR LAKE          IA           50428                                  SUPPLIERS OR VENDORS      12/13/2018             $67.00
MICHAEL FOSTER           20446 ROOSEVELT ST.                                                            DANVILLE            IA           52623                                  SUPPLIERS OR VENDORS      10/24/2018             $40.00
MICHAEL G WEBER          STORE 738                    SHOPKO EMPLOYEE        PO BOX 10                  PERHAM              MN           56573                                  SUPPLIERS OR VENDORS      10/19/2018            $413.82
MICHAEL G WEBER          STORE 738                    SHOPKO EMPLOYEE        PO BOX 10                  PERHAM              MN           56573                                  SUPPLIERS OR VENDORS      12/29/2018            $340.23

MICHAEL GERALD LIMITED   12836 ALONDRA BOULEVARD                                                        CERRITOS            CA           90703-0000                             SUPPLIERS OR VENDORS      10/18/2018         $41,676.05

MICHAEL GERALD LIMITED   12836 ALONDRA BOULEVARD                                                        CERRITOS            CA           90703-0000                             SUPPLIERS OR VENDORS      11/29/2018         $24,861.61
MICHAEL GRENAWALT        10119 W STATE RD 213                                                           BELOIT              WI           53511                                  SUPPLIERS OR VENDORS      11/28/2018             $83.00
MICHAEL GRIFFIN          2719 WAYLAND CT                                                                EAU CLAIRE          WI           54703                                  SUPPLIERS OR VENDORS       11/1/2018             $23.76
MICHAEL GUTGSELL         1534 ELM STREET                                                                CLARKSTON           WA           99403                                  SUPPLIERS OR VENDORS       11/1/2018             $12.80
MICHAEL HABERMEYER       1262 BOND ST.                                                                  GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS      12/14/2018             $27.50
MICHAEL HAFNER           950 FRASER LANE                                                                HUDSON              WI           54016                                  SUPPLIERS OR VENDORS      11/28/2018             $98.00




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                                                                                                                                                                            Reasons for payment or    Dates of    Total Amount or
     Creditor Name             Address1                 Address2                 Address3                 City              State       Zip              Country                   transfer          Payments           Value

MICHAEL HARDEN       STORE 2-710                SHOPKO EMPLOYEE         212 NORTH MAIN STREET GALLATIN                 MO           64640                                  SUPPLIERS OR VENDORS      10/18/2018            $109.00

MICHAEL HARDEN       STORE 2-710                SHOPKO EMPLOYEE         212 NORTH MAIN STREET GALLATIN                 MO           64640                                  SUPPLIERS OR VENDORS       11/1/2018             $81.75

MICHAEL HARDEN       STORE 2-710                SHOPKO EMPLOYEE         212 NORTH MAIN STREET GALLATIN                 MO           64640                                  SUPPLIERS OR VENDORS      11/22/2018             $27.25

MICHAEL HARDEN       STORE 2-710                SHOPKO EMPLOYEE         212 NORTH MAIN STREET GALLATIN                 MO           64640                                  SUPPLIERS OR VENDORS      12/13/2018             $54.50

MICHAEL HENTZ        7605 28TH ST S                                                                WISCONSIN RAPIDS    WI           54494                                  SUPPLIERS OR VENDORS      10/24/2018             $10.56
MICHAEL HOLZMANN     214 FAIRVIEW DRIVE                                                            PLYMOUTH            WI           53073                                  SUPPLIERS OR VENDORS      11/26/2018              $3.20
MICHAEL JOHNSON      1511 HILLCREST DRIVE                                                          WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS      10/19/2018          $9,624.70
MICHAEL JOHNSON      1511 HILLCREST DRIVE                                                          WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS       11/2/2018          $9,487.35
MICHAEL JOHNSON      1511 HILLCREST DRIVE                                                          WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS      11/16/2018          $7,584.09
MICHAEL JOHNSON      1511 HILLCREST DRIVE                                                          WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS      11/30/2018          $8,169.41
MICHAEL JOHNSON      1511 HILLCREST DRIVE                                                          WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS      12/14/2018         $11,281.44
MICHAEL JOHNSON      1511 HILLCREST DRIVE                                                          WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS      12/29/2018         $10,153.07
MICHAEL JOHNSON      1511 HILLCREST DRIVE                                                          WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS       1/11/2019          $4,190.31
MICHAEL KARLS        N2445 SOUTH TOWER ROAD                                                        CHILTON             WI           53014                                  SUPPLIERS OR VENDORS      10/29/2018              $3.30
MICHAEL KARRASCH     207 HAMILTON ST                                                               BEAVER DAM          WI           53916                                  SUPPLIERS OR VENDORS      11/26/2018             $30.00
MICHAEL KOESTER      533 W. AVON ST                                                                FREEPORT            IL           61032                                  SUPPLIERS OR VENDORS      10/24/2018             $50.00
MICHAEL KOKESH       3801 W 93RD ST             APT 3                                              SIOUX FALLS         SD           57108                                  SUPPLIERS OR VENDORS      11/26/2018             $36.96
MICHAEL KOLOSSO      2915 N. DREW ST.                                                              APPLETON            WI           54911                                  SUPPLIERS OR VENDORS      10/19/2018             $19.98
MICHAEL KOPP         5119 PAULSON RD                                                               MCFARLAND           WI           53558                                  SUPPLIERS OR VENDORS      10/24/2018             $17.85
MICHAEL KOSEL        819 LEWIS PLACE                                                               SAINT CLOUD         MN           56301                                  SUPPLIERS OR VENDORS      10/31/2018             $36.00
MICHAEL KRAFT        122 NOBLE CT                                                                  GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS       11/9/2018            $599.00
MICHAEL KUCKES       STORE 2-120                SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/19/2018            $327.00
MICHAEL KUCKES       STORE 2-120                SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/30/2018            $408.75
MICHAEL KUCKES       STORE 2-120                SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/22/2018            $163.50
MICHAEL KUGLER       6638 ELMRO RD                                                                 GREENLEAF           WI           54126                                  SUPPLIERS OR VENDORS      11/26/2018             $24.00
MICHAEL KUZAK        1411 DAYBREAK DR                                                              MARQUETTE           MI           49855                                  SUPPLIERS OR VENDORS       12/7/2018              $5.00
MICHAEL LANE         1892 SUNSET LAKE RD                                                           AMHERST             WI           54407                                  SUPPLIERS OR VENDORS       11/8/2018              $5.00
MICHAEL LAPORTE      157181 CALICO LANE                                                            WAUSAU              WI           54403                                  SUPPLIERS OR VENDORS      12/17/2018             $25.00
MICHAEL LARSON       502 15TH ST                                                                   STANTON             NE           68779                                  SUPPLIERS OR VENDORS      12/13/2018             $30.00
MICHAEL LARSON       502 15TH ST                                                                   STANTON             NE           68779                                  SUPPLIERS OR VENDORS      12/17/2018             $25.00
MICHAEL MACDONALD    2615 PARK AVE #105                                                            MINNEAPOLIS         MN           55407                                  SUPPLIERS OR VENDORS      11/26/2018             $12.00
MICHAEL MACDONALD    2615 PARK AVE #105                                                            MINNEAPOLIS         MN           55407                                  SUPPLIERS OR VENDORS      11/26/2018             $48.00
MICHAEL MANNION      462 MOHAWK RD                                                                 JANESVILLE          WI           53545                                  SUPPLIERS OR VENDORS      11/26/2018             $90.05
MICHAEL MENG         208 N PLEASANT                                                                JEFFERSON           WI           53549                                  SUPPLIERS OR VENDORS      11/13/2018              $2.99
MICHAEL MESSINGER    3375 VIRGINIA HILL RD                                                         REXFORD             MT           59930                                  SUPPLIERS OR VENDORS      10/29/2018             $30.00
MICHAEL MIJAL        230 ANN DR.                                                                   STEVENS POINT       WI           54482                                  SUPPLIERS OR VENDORS       12/7/2018             $96.00
MICHAEL MOORE        1110 S CLARK AVE                                                              MARSHFIELD          WI           54449                                  SUPPLIERS OR VENDORS      10/24/2018            $116.78
MICHAEL MORENO       STORE 092                  SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/30/2018            $764.75
MICHAEL MURPHY       E6783 870TH AVE.                                                              COLFAX              WI           54730                                  SUPPLIERS OR VENDORS      10/18/2018             $46.00

MICHAEL NAUGHTON     STORE 651                  SHOPKO EMPLOYEE         2278 N COMFORT DRIVE       HART                MI           49420                                  SUPPLIERS OR VENDORS       12/7/2018           $1,134.46
MICHAEL NELSEN       1223 WEST 6TH                                                                 GRAND ISLAND        NE           68801                                  SUPPLIERS OR VENDORS      11/29/2018              $45.00
MICHAEL NELSON       1218 MCMAHON DRIVE                                                            SUN PRAIRIE         WI           53590                                  SUPPLIERS OR VENDORS      11/26/2018              $25.00
MICHAEL NEUSER       STORE 2-502                SHOPKO EMPLOYEE         2585 LINEVILLE ROAD        GREEN BAY           WI           54313-9999                             SUPPLIERS OR VENDORS       11/8/2018              $71.94
MICHAEL NEUSER       STORE 2-502                SHOPKO EMPLOYEE         2585 LINEVILLE ROAD        GREEN BAY           WI           54313-9999                             SUPPLIERS OR VENDORS      11/15/2018              $17.99
MICHAEL OLDHAM       1787 SCENIC VIEW DR.                                                          DUBUQUE             IA           52116                                  SUPPLIERS OR VENDORS      11/26/2018              $26.00
MICHAEL OLSEN        N2708 MC CABE RD.                                                             KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS      12/17/2018              $44.00
                     SYSTEM MAINTENANCE/STORE
MICHAEL P WILSON     129                        SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/29/2018             $84.18



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                                                                                                                                                                             Reasons for payment or    Dates of     Total Amount or
     Creditor Name             Address1                Address2                  Address3               City                State       Zip              Country                    transfer          Payments            Value
MICHAEL PELOQUIN     220 MICHIGAN AVE                                                              OCONTO              WI           54153                                  SUPPLIERS OR VENDORS        11/13/2018              $159.98

MICHAEL PETERSON     STORE 772                   SHOPKO EMPLOYEE        1005 W COULTER AVENUE POWELL                   WY           82435                                  SUPPLIERS OR VENDORS        11/8/2018                $8.18

MICHAEL PETERSON     STORE 772                   SHOPKO EMPLOYEE        1005 W COULTER AVENUE POWELL                   WY           82435                                  SUPPLIERS OR VENDORS        12/6/2018                $5.45
MICHAEL PICKART      4410 BITTERSWEET LANE                                                    CEDARBURG                WI           53012                                  SUPPLIERS OR VENDORS        12/7/2018              $163.00
MICHAEL POE          126 N GRANT                                                              MOSCOW                   ID           83843                                  SUPPLIERS OR VENDORS        11/8/2018               $70.00
MICHAEL PORATH       17345 458TH AVE                                                          WATERTOWN                SD           57201                                  SUPPLIERS OR VENDORS       11/26/2018               $20.00
MICHAEL PRICE        763 2ND STREET SUITE 100                                                 ENCINITAS                CA           92024                                  SUPPLIERS OR VENDORS        11/1/2018            $6,286.30
MICHAEL PRICE        763 2ND STREET SUITE 100                                                 ENCINITAS                CA           92024                                  SUPPLIERS OR VENDORS        11/1/2018           $17,712.10
MICHAEL PRICE        763 2ND STREET SUITE 100                                                 ENCINITAS                CA           92024                                  SUPPLIERS OR VENDORS        12/1/2018            $6,286.30
MICHAEL PRICE        763 2ND STREET SUITE 100                                                 ENCINITAS                CA           92024                                  SUPPLIERS OR VENDORS        12/1/2018           $17,712.10
MICHAEL PURGETT      313 W HUNT ST                                                            GREENWOOD                WI           54437                                  SUPPLIERS OR VENDORS       11/26/2018               $42.24
MICHAEL RESCH        326 DILLON AVE.                                                          MANKATO                  MN           56100                                  SUPPLIERS OR VENDORS       11/28/2018               $30.00
MICHAEL ROBERTSON    2841 TIERRA DR #205                                                      LINCOLN                  NE           68516                                  SUPPLIERS OR VENDORS       11/26/2018               $21.94
MICHAEL ROGERS       1910 WEST PACKER AVENUE                                                  OSHKOSH                  WI           54901                                  SUPPLIERS OR VENDORS        12/7/2018               $10.00
MICHAEL SCHAFF       1506 COVINGTON DR.                                                       OSHKOSH                  WI           54904                                  SUPPLIERS OR VENDORS        12/7/2018               $16.00
                     N9642 LITTLE ELKHART LAKE
MICHAEL SCHMIDT      ROAD                                                                          ELKHART LAKE        WI           53020                                  SUPPLIERS OR VENDORS        11/8/2018               $49.00
MICHAEL SCHROEDER    5301 EMSTAN HILLS ROAD                                                        RACINE              WI           53406                                  SUPPLIERS OR VENDORS       11/28/2018               $65.00
MICHAEL SELNER       1077 HEIERDAHL                                                                ONEIDA              WI           54155                                  SUPPLIERS OR VENDORS        11/9/2018               $15.00
MICHAEL SHAW         401 E PRINCETON AVE                                                           SPOKANE             WA           99207                                  SUPPLIERS OR VENDORS       10/25/2018               $88.00
MICHAEL SMITH        56490 HWY 20                                                                  BELDEN              NE           68717                                  SUPPLIERS OR VENDORS       11/26/2018               $16.87
MICHAEL SMOKEVITCH   333 SOUTH THIRD STREET                                                        CRYSTAL FALLS       MI           49920                                  SUPPLIERS OR VENDORS       12/13/2018               $39.04
MICHAEL SNOOK        STORE 2-686                 SHOPKO EMPLOYEE        902 S LOCUST               GLENWOOD            IA           51534                                  SUPPLIERS OR VENDORS        11/9/2018              $425.20
MICHAEL SNOOK        STORE 2-686                 SHOPKO EMPLOYEE        902 S LOCUST               GLENWOOD            IA           51534                                  SUPPLIERS OR VENDORS        1/15/2019               $94.08
MICHAEL SULLIVAN     10274 HOLLYWOOD RD                                                            NEKOOSA             WI           54457                                  SUPPLIERS OR VENDORS       11/29/2018               $66.00
MICHAEL THEIS        615 GEINITZ AVE S                                                             LITCHFIELD          MN           55355                                  SUPPLIERS OR VENDORS       10/29/2018               $33.97
MICHAEL THOME        1941 GIL AVE                                                                  CHARLES CITY        IA           50616                                  SUPPLIERS OR VENDORS       10/29/2018                $8.00
MICHAEL THOME        1941 GIL AVE                                                                  CHARLES CITY        IA           50616                                  SUPPLIERS OR VENDORS        11/5/2018               $52.00
MICHAEL TOMKO        HOMETOWN RETAIL             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/19/2018              $456.48
MICHAEL TOMKO        HOMETOWN RETAIL             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/26/2018              $731.48
MICHAEL TOMKO        HOMETOWN RETAIL             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/2/2018              $377.20
MICHAEL TOMKO        HOMETOWN RETAIL             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/9/2018              $555.80
MICHAEL TOMKO        HOMETOWN RETAIL             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/16/2018              $418.33
MICHAEL TOMKO        HOMETOWN RETAIL             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/27/2018              $299.33
MICHAEL TOMKO        HOMETOWN RETAIL             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/30/2018              $278.63
MICHAEL TOMKO        HOMETOWN RETAIL             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/11/2018              $357.31
MICHAEL TOMKO        HOMETOWN RETAIL             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/14/2018              $433.85
MICHAEL TOMKO        HOMETOWN RETAIL             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/20/2018              $422.96
MICHAEL TOMKO        HOMETOWN RETAIL             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/29/2018              $351.99
MICHAEL TUREK        15030 GILES RD 308                                                            OMAHA               NE           68138                                  SUPPLIERS OR VENDORS       10/25/2018               $18.00
MICHAEL WAGNER       2964 WITZEL AVE                                                               OSHKOSH             WI           54904                                  SUPPLIERS OR VENDORS        12/7/2018               $25.00
MICHAEL WATSON       18583 393RD AVE.                                                              HITCHCOCK           SD           57348                                  SUPPLIERS OR VENDORS       12/20/2018               $45.00
MICHAEL WEGGEN       E17300 LUDINGTON DR                                                           FALL CREEK          WI           54742                                  SUPPLIERS OR VENDORS       10/29/2018                $9.92
MICHAEL WEGGEN       E17300 LUDINGTON DR                                                           FALL CREEK          WI           54742                                  SUPPLIERS OR VENDORS       10/29/2018               $56.08
MICHAEL WHITE        3430 HWY N                                                                    RHINELANDER         WI           54501                                  SUPPLIERS OR VENDORS       10/24/2018               $39.68
MICHAEL WHITE        3430 HWY N                                                                    RHINELANDER         WI           54501                                  SUPPLIERS OR VENDORS       11/29/2018                $9.92
MICHAEL YUHANN       308 JOSHUA CIRCLE                                                             SUN PRAIRIE         WI           53590                                  SUPPLIERS OR VENDORS        11/9/2018               $25.00
MICHAELA DRAHEIM     2833 LINDBERGH AVE                                                            STEVENS POINT       WI           54481                                  SUPPLIERS OR VENDORS       10/22/2018               $25.00
MICHAELA MEIDL       3135 EATON RD APT. 34                                                         GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS        12/7/2018                $4.00
MICHEAL LORY         6733 BELMAR AVENUE                                                            RACINE              WI           53402                                  SUPPLIERS OR VENDORS       11/12/2018                $2.20
MICHEAL PHARIS       PO BOX 4554                                                                   POCATELLO           ID           83205                                  SUPPLIERS OR VENDORS       11/12/2018                $9.02




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                                                                                                                                                                                Reasons for payment or    Dates of    Total Amount or
     Creditor Name               Address1                  Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value

MICHELE ANDRE          2929 BRISTOL MOUNTAIN TRAIL                                                     GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS       12/7/2018             $35.00
MICHELE BAGAN-GRAWEY   201557 DORIE LN                                                                 MOSINEE             WI           54455                                  SUPPLIERS OR VENDORS      10/24/2018             $89.99
MICHELE BAHNEMAN       812 KINNICKINNIC ST                                                             HUDSON              WI           54016                                  SUPPLIERS OR VENDORS      11/12/2018             $25.00
MICHELE DAVIS          2315 243RD ST.                                                                  VENTURA             IA           50482                                  SUPPLIERS OR VENDORS      10/22/2018              $7.40
MICHELE DORSHORST      630 MARKET AVE                                                                  PORT EDWARDS        WI           54469                                  SUPPLIERS OR VENDORS      12/14/2018             $36.00
                       PRIVATE BRAND & TREND
MICHELE GAGNON         DIVISION                      SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/27/2018           $2,523.61
                       PRIVATE BRAND & TREND
MICHELE GAGNON         DIVISION                      SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/30/2018            $274.95
                       PRIVATE BRAND & TREND
MICHELE GAGNON         DIVISION                      SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       1/15/2019            $397.22
MICHELE GANGESTAD      709 5TH ST N E                                                                  CLARION             IA           50525                                  SUPPLIERS OR VENDORS      10/18/2018             $40.00
MICHELE GODMERE        STORE 2-501                   SHOPKO EMPLOYEE        3705 MONROE ROAD           DE PERE             WI           54115-9999                             SUPPLIERS OR VENDORS       11/1/2018              $7.63
MICHELE MANNISTO       W1983 MAIN STREET                                                               SULLIVAN            WI           53178                                  SUPPLIERS OR VENDORS       12/3/2018             $63.00
MICHELE NELSON         4556 BONNIE AVE                                                                 MADISON             WI           53718                                  SUPPLIERS OR VENDORS       11/9/2018             $25.00
MICHEL'LAY LANE        1226 9TH ST                                                                     BELOIT              WI           53511                                  SUPPLIERS OR VENDORS       11/7/2018              $9.50
MICHELLE ADENSAM       220 WHITE SAND LANE                                                             RACINE              WI           53402                                  SUPPLIERS OR VENDORS      11/12/2018             $26.98
MICHELLE AHLES         1006 6TH ST SE                                                                  AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS      12/17/2018              $3.00
MICHELLE BECKER        W6520 BARKERS ROAD                                                              ELKHORN             WI           53121                                  SUPPLIERS OR VENDORS      12/17/2018             $25.00
MICHELLE BINGEN        6451 WILDLIFE DR                                                                ALLENTON            WI           53002                                  SUPPLIERS OR VENDORS      11/12/2018             $79.96
MICHELLE BROWN         403 GOLDEN LANE                                                                 MILTON              WI           53563                                  SUPPLIERS OR VENDORS       11/5/2018              $2.00
MICHELLE COOK          W5794 WILLARD                                                                   GREENWOOD           WI           54437                                  SUPPLIERS OR VENDORS      10/24/2018             $66.00
MICHELLE DISCH         W5886 DURST RD                                                                  NEW GLARUS          WI           53574                                  SUPPLIERS OR VENDORS       12/5/2018             $25.00
                                                                            800 S WASHINGTON
MICHELLE EYKAMP        STORE 2-746                   SHOPKO EMPLOYEE        AVENUE                     MADISON             SD           57042                                  SUPPLIERS OR VENDORS      11/15/2018            $158.05

MICHELLE HANSEN        CORPORATE COMMUNICATIONS      SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/25/2018             $164.26
MICHELLE HOVERSHOLM    7273 WEST FOLSOM ST                                                             EAUCLAIRE           WI           54703                                  SUPPLIERS OR VENDORS      11/29/2018             $119.98
MICHELLE HUNT          STORE 205                     SHOPKO EMPLOYEE        94 NORTH 400 EAST          DELTA               UT           84624                                  SUPPLIERS OR VENDORS      11/30/2018             $130.80
MICHELLE HUNT-MARSH    STORE 2-759                   SHOPKO EMPLOYEE        2105 LAZELLE STREET        STURGIS             SD           57785                                  SUPPLIERS OR VENDORS      12/13/2018              $28.89
MICHELLE HUNT-MARSH    STORE 2-759                   SHOPKO EMPLOYEE        2105 LAZELLE STREET        STURGIS             SD           57785                                  SUPPLIERS OR VENDORS      12/20/2018              $28.89
MICHELLE KLUENDER      STORE 664                     SHOPKO EMPLOYEE        511 10TH AVENUE N          HUMBOLDT            IA           50548                                  SUPPLIERS OR VENDORS      10/26/2018              $73.03
MICHELLE KURTZ         N10047 K1 RD                                                                    STEPHENSON          MI           49887                                  SUPPLIERS OR VENDORS      11/15/2018               $8.00
MICHELLE LABLANC       901 APHRODITE ROAD                                                              GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS      12/13/2018              $25.00
MICHELLE LINDSAY       110 HILLCREST DR                                                                ROCK CITY           IL           61070                                  SUPPLIERS OR VENDORS      10/25/2018               $5.00
MICHELLE MATTHEES      207 E 6TH ST                                                                    ZUMBROTA            MN           55992                                  SUPPLIERS OR VENDORS      11/29/2018             $126.46
MICHELLE MCELHANEY     STORE 717                     SHOPKO EMPLOYEE        PO BOX 188                 MINERVA             OH           44657                                  SUPPLIERS OR VENDORS      10/19/2018             $439.76
MICHELLE MCELHANEY     STORE 717                     SHOPKO EMPLOYEE        PO BOX 188                 MINERVA             OH           44657                                  SUPPLIERS OR VENDORS      10/26/2018             $156.39
MICHELLE MCELHANEY     STORE 717                     SHOPKO EMPLOYEE        PO BOX 188                 MINERVA             OH           44657                                  SUPPLIERS OR VENDORS       11/9/2018             $372.81
MICHELLE MORROW        314 ROSEWOOD AVE                                                                LAKE MILLS          WI           53551                                  SUPPLIERS OR VENDORS       11/7/2018              $25.00
MICHELLE OMMEN         507 S DOBSON                                                                    MITCHELL            SD           57301                                  SUPPLIERS OR VENDORS      11/29/2018              $44.80
MICHELLE PIEPER        STORE 4-608                   SHOPKO EMPLOYEE        1014 W RYAN STREET         BRILLION            WI           54110                                  SUPPLIERS OR VENDORS      12/22/2018              $41.42
MICHELLE PIEPER        STORE 4-608                   SHOPKO EMPLOYEE        1014 W RYAN STREET         BRILLION            WI           54110                                  SUPPLIERS OR VENDORS       1/10/2019             $182.20
MICHELLE R SCOTT       1026 8TH AVENUE NW                                                              GREAT FALLS         MT           59404                                  SUPPLIERS OR VENDORS      10/19/2018           $4,417.31
MICHELLE R SCOTT       1026 8TH AVENUE NW                                                              GREAT FALLS         MT           59404                                  SUPPLIERS OR VENDORS       11/2/2018           $6,285.06
MICHELLE R SCOTT       1026 8TH AVENUE NW                                                              GREAT FALLS         MT           59404                                  SUPPLIERS OR VENDORS      11/16/2018           $4,430.51
MICHELLE R SCOTT       1026 8TH AVENUE NW                                                              GREAT FALLS         MT           59404                                  SUPPLIERS OR VENDORS      11/30/2018           $4,972.01
MICHELLE R SCOTT       1026 8TH AVENUE NW                                                              GREAT FALLS         MT           59404                                  SUPPLIERS OR VENDORS      12/14/2018           $4,795.41
MICHELLE R SCOTT       1026 8TH AVENUE NW                                                              GREAT FALLS         MT           59404                                  SUPPLIERS OR VENDORS      12/29/2018           $3,701.86
MICHELLE R SCOTT       1026 8TH AVENUE NW                                                              GREAT FALLS         MT           59404                                  SUPPLIERS OR VENDORS       1/11/2019           $2,445.41
MICHELLE ROFSHUS       405 7TH ST NW                                                                   AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS      11/29/2018              $64.00
MICHELLE ROSSING       902 ELM ST                                                                      ARGYLE              WI           53504                                  SUPPLIERS OR VENDORS      12/13/2018              $25.00
MICHELLE V SMITH       STORE 4-134                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/1/2018             $520.00



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MICHELLE VAN VLECK       STORE 2-139            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/14/2018              $340.07
MICHELLE VAN VLECK       STORE 2-139            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/29/2018              $253.34
MICHELLE VAN VLECK       STORE 2-139            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS          1/5/2019              $103.80
MICHELLE VINE            2431 ROYAL BAY RIDGE                                                     NEW FRANKEN         WI           54229                                  SUPPLIERS OR VENDORS        11/14/2018               $25.00
MICHELLE VOSTERS         3730 E EDGEWOOD DR                                                       APPLETON            WI           54913                                  SUPPLIERS OR VENDORS        11/14/2018               $25.00
MICHIGAN COLLEGE OF
OPTOMETRY                PEN406                 1310 CRAMER CIRCLE                                BIG RAPIDS          MI           49307-0000                             SUPPLIERS OR VENDORS       10/26/2018            $1,000.00
MICHIGAN DEPARTMENT OF
ENVIRONMENTAL            QUALITY                CASHIERS OFFICE-NP1    PO BOX 30657               LANSING             MI           48909-8157                             SUPPLIERS OR VENDORS        11/9/2018              $142.16
MICHIGAN DEPARTMENT OF
ENVIRONMENTAL            QUALITY                CASHIERS OFFICE-NP1    PO BOX 30657               LANSING             MI           48909-8157                             SUPPLIERS OR VENDORS       11/12/2018              $142.16
MICHIGAN DEPARTMENT OF
NATURAL RESOURCES        1801 ATWATER STREET                                                      DETROIT             MI           48207                                  PAYMENT FOR SERVICES        10/3/2018            $4,828.13
MICHIGAN DEPARTMENT OF
NATURAL RESOURCES        1801 ATWATER STREET                                                      DETROIT             MI           48207                                  PAYMENT FOR SERVICES       10/11/2018            $3,223.21
MICHIGAN DEPARTMENT OF
NATURAL RESOURCES        1801 ATWATER STREET                                                      DETROIT             MI           48207                                  PAYMENT FOR SERVICES       10/18/2018            $2,177.53
MICHIGAN DEPARTMENT OF
NATURAL RESOURCES        1801 ATWATER STREET                                                      DETROIT             MI           48207                                  PAYMENT FOR SERVICES       10/25/2018            $1,786.31
MICHIGAN DEPARTMENT OF
NATURAL RESOURCES        1801 ATWATER STREET                                                      DETROIT             MI           48207                                  PAYMENT FOR SERVICES        11/1/2018            $1,564.70
MICHIGAN DEPARTMENT OF
NATURAL RESOURCES        1801 ATWATER STREET                                                      DETROIT             MI           48207                                  PAYMENT FOR SERVICES        11/8/2018              $672.15
MICHIGAN DEPARTMENT OF
NATURAL RESOURCES        1801 ATWATER STREET                                                      DETROIT             MI           48207                                  PAYMENT FOR SERVICES       11/15/2018              $801.56
MICHIGAN DEPARTMENT OF
NATURAL RESOURCES        1801 ATWATER STREET                                                      DETROIT             MI           48207                                  PAYMENT FOR SERVICES       11/23/2018            $5,977.98
MICHIGAN DEPARTMENT OF
NATURAL RESOURCES        1801 ATWATER STREET                                                      DETROIT             MI           48207                                  PAYMENT FOR SERVICES       11/29/2018            $1,960.97
MICHIGAN DEPARTMENT OF
NATURAL RESOURCES        1801 ATWATER STREET                                                      DETROIT             MI           48207                                  PAYMENT FOR SERVICES        12/6/2018              $444.32
MICHIGAN DEPARTMENT OF
NATURAL RESOURCES        1801 ATWATER STREET                                                      DETROIT             MI           48207                                  PAYMENT FOR SERVICES       12/13/2018              $172.32
MICHIGAN DEPARTMENT OF
NATURAL RESOURCES        1801 ATWATER STREET                                                      DETROIT             MI           48207                                  PAYMENT FOR SERVICES       12/20/2018              $198.21
MICHIGAN DEPARTMENT OF
NATURAL RESOURCES        1801 ATWATER STREET                                                      DETROIT             MI           48207                                  PAYMENT FOR SERVICES       12/27/2018              $220.16
MICHIGAN DEPARTMENT OF
NATURAL RESOURCES        1801 ATWATER STREET                                                      DETROIT             MI           48207                                  PAYMENT FOR SERVICES         1/3/2019              $287.18
MICHIGAN DEPARTMENT OF
NATURAL RESOURCES        1801 ATWATER STREET                                                      DETROIT             MI           48207                                  PAYMENT FOR SERVICES        1/10/2019              $147.19
MICHIGAN DEPARTMENT OF
TREASURY                 PO BOX 30427                                                             LANSING             MI           48909-7927                             SUPPLIERS OR VENDORS       10/19/2018              $155.05
MICHIGAN DEPARTMENT OF
TREASURY                 PO BOX 30427                                                             LANSING             MI           48909-7927                             SUPPLIERS OR VENDORS       10/19/2018              $344.01
MICHIGAN DEPARTMENT OF
TREASURY                 430 W ALLEGAN ST                                                         LANSING             MI           48922                                  SALES & USE TAX            10/22/2018           $40,465.09
MICHIGAN DEPARTMENT OF
TREASURY                 430 W ALLEGAN ST                                                         LANSING             MI           48909                                  SALES & USE TAX            10/22/2018           $61,303.48
MICHIGAN DEPARTMENT OF
TREASURY                 430 W ALLEGAN ST                                                         LANSING             MI           48922                                  SALES & USE TAX            10/22/2018          $102,233.26
MICHIGAN DEPARTMENT OF
TREASURY                 430 W ALLEGAN ST                                                         LANSING             MI           48922                                  SALES & USE TAX            10/22/2018          $159,794.91




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MICHIGAN DEPARTMENT OF
TREASURY                 PO BOX 30427                                                                LANSING             MI           48909-7927                             SUPPLIERS OR VENDORS      11/19/2018            $343.76
MICHIGAN DEPARTMENT OF
TREASURY                 PO BOX 30427                                                                LANSING             MI           48909-7927                             SUPPLIERS OR VENDORS      11/19/2018            $693.79
MICHIGAN DEPARTMENT OF
TREASURY                 430 W ALLEGAN ST                                                            LANSING             MI           48922                                  SALES/USE TAX             11/20/2018        $150,937.41
MICHIGAN DEPARTMENT OF
TREASURY                 430 W ALLEGAN ST                                                            LANSING             MI           48922                                  SALES/USE TAX             11/20/2018        $216,361.54
MICHIGAN DEPARTMENT OF
TREASURY                 PO BOX 30427                                                                LANSING             MI           48909-7927                             SUPPLIERS OR VENDORS      12/19/2018            $926.12
MICHIGAN DEPARTMENT OF
TREASURY                 PO BOX 30427                                                                LANSING             MI           48909-7927                             SUPPLIERS OR VENDORS      12/19/2018           $1,359.93
MICHIGAN DEPARTMENT OF
TREASURY                 430 W ALLEGAN ST                                                            LANSING             MI           48922                                  SALES & USE TAX           12/20/2018        $255,668.81
MICHIGAN DEPARTMENT OF
TREASURY                 430 W ALLEGAN ST                                                            LANSING             MI           48922                                  SALES & USE TAX           12/20/2018        $374,461.39
MICHIGAN LOTTERY         101 E. HILLSDALE STREET   PO BOX 30023                                      LANSING             MI           48909                                  PAYMENT FOR SERVICES       10/3/2018          $1,378.54
MICHIGAN LOTTERY         101 E. HILLSDALE STREET   PO BOX 30023                                      LANSING             MI           48909                                  PAYMENT FOR SERVICES      10/10/2018            $438.99
MICHIGAN LOTTERY         101 E. HILLSDALE STREET   PO BOX 30023                                      LANSING             MI           48909                                  PAYMENT FOR SERVICES      10/17/2018          $2,064.99
MICHIGAN LOTTERY         101 E. HILLSDALE STREET   PO BOX 30023                                      LANSING             MI           48909                                  PAYMENT FOR SERVICES      10/24/2018          $1,953.92
MICHIGAN LOTTERY         101 E. HILLSDALE STREET   PO BOX 30023                                      LANSING             MI           48909                                  PAYMENT FOR SERVICES      10/31/2018          $1,571.56
MICHIGAN LOTTERY         101 E. HILLSDALE STREET   PO BOX 30023                                      LANSING             MI           48909                                  PAYMENT FOR SERVICES       11/7/2018          $6,400.44
MICHIGAN LOTTERY         101 E. HILLSDALE STREET   PO BOX 30023                                      LANSING             MI           48909                                  PAYMENT FOR SERVICES      11/14/2018          $2,732.06
MICHIGAN LOTTERY         101 E. HILLSDALE STREET   PO BOX 30023                                      LANSING             MI           48909                                  PAYMENT FOR SERVICES      11/21/2018          $1,883.10
MICHIGAN LOTTERY         101 E. HILLSDALE STREET   PO BOX 30023                                      LANSING             MI           48909                                  PAYMENT FOR SERVICES       12/5/2018          $1,368.64
MICHIGAN LOTTERY         101 E. HILLSDALE STREET   PO BOX 30023                                      LANSING             MI           48909                                  PAYMENT FOR SERVICES      12/12/2018          $4,051.17
MICHIGAN LOTTERY         101 E. HILLSDALE STREET   PO BOX 30023                                      LANSING             MI           48909                                  PAYMENT FOR SERVICES      12/27/2018          $1,614.30
MICHIGAN LOTTERY         101 E. HILLSDALE STREET   PO BOX 30023                                      LANSING             MI           48909                                  PAYMENT FOR SERVICES        1/3/2019          $1,717.18
MICHIGAN LOTTERY         101 E. HILLSDALE STREET   PO BOX 30023                                      LANSING             MI           48909                                  PAYMENT FOR SERVICES        1/9/2019          $3,896.40
MICHL SCHMIDT            PHARMACY OPERATIONS       SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/9/2018            $724.51
MICHL SCHMIDT            PHARMACY OPERATIONS       SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/14/2018          $1,131.81
MICHL SCHMIDT            PHARMACY OPERATIONS       SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       1/15/2019            $567.91
MICROSOFT ONLINE
INCORPORATED             PO BOX 847543                                                               DALLAS              TX           75284-7543                             SUPPLIERS OR VENDORS       11/1/2018         $13,506.74
MICROSOFT ONLINE
INCORPORATED             PO BOX 847543                                                               DALLAS              TX           75284-7543                             SUPPLIERS OR VENDORS        1/4/2019         $20,841.65
MID CENTRAL ICE LLC      39072 COUNTY HWY 49                                                         PERHAM              MN           56573                                  SUPPLIERS OR VENDORS      10/18/2018             $38.00

MID WISCONSIN BEVERAGE
INCORPORATED           PO BOX 89                                                                     WAUSAU              WI           54402-0089                             SUPPLIERS OR VENDORS      10/18/2018           $8,258.20

MID WISCONSIN BEVERAGE
INCORPORATED           PO BOX 89                                                                     WAUSAU              WI           54402-0089                             SUPPLIERS OR VENDORS      10/25/2018           $5,554.20

MID WISCONSIN BEVERAGE
INCORPORATED           PO BOX 89                                                                     WAUSAU              WI           54402-0089                             SUPPLIERS OR VENDORS       11/1/2018           $4,650.97

MID WISCONSIN BEVERAGE
INCORPORATED           PO BOX 89                                                                     WAUSAU              WI           54402-0089                             SUPPLIERS OR VENDORS       11/8/2018         $12,159.00

MID WISCONSIN BEVERAGE
INCORPORATED           PO BOX 89                                                                     WAUSAU              WI           54402-0089                             SUPPLIERS OR VENDORS      11/15/2018           $6,810.45




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MID WISCONSIN BEVERAGE
INCORPORATED           PO BOX 89                                                                     WAUSAU              WI           54402-0089                             SUPPLIERS OR VENDORS      11/22/2018           $3,982.30

MID WISCONSIN BEVERAGE
INCORPORATED           PO BOX 89                                                                     WAUSAU              WI           54402-0089                             SUPPLIERS OR VENDORS      11/29/2018           $6,293.18

MID WISCONSIN BEVERAGE
INCORPORATED           PO BOX 89                                                                     WAUSAU              WI           54402-0089                             SUPPLIERS OR VENDORS      12/20/2018         $14,635.33

MID WISCONSIN BEVERAGE
INCORPORATED           PO BOX 89                                                                     WAUSAU              WI           54402-0089                             SUPPLIERS OR VENDORS      12/21/2018            $471.30

MID WISCONSIN BEVERAGE
INCORPORATED           PO BOX 89                                                                     WAUSAU              WI           54402-0089                             SUPPLIERS OR VENDORS      12/27/2018           $1,799.32

MIDLAND CONSUMER RADIO VICE PRESIDENT OF SALES     5900 PARRETTA DRIVE                               KANSAS CITY         MO           64120-0000                             SUPPLIERS OR VENDORS      10/18/2018           $1,121.92

MIDLAND CONSUMER RADIO VICE PRESIDENT OF SALES     5900 PARRETTA DRIVE                               KANSAS CITY         MO           64120-0000                             SUPPLIERS OR VENDORS      10/25/2018           $8,303.62

MIDLAND CONSUMER RADIO VICE PRESIDENT OF SALES     5900 PARRETTA DRIVE                               KANSAS CITY         MO           64120-0000                             SUPPLIERS OR VENDORS       11/1/2018           $1,269.52

MIDLAND CONSUMER RADIO VICE PRESIDENT OF SALES     5900 PARRETTA DRIVE                               KANSAS CITY         MO           64120-0000                             SUPPLIERS OR VENDORS       11/8/2018           $1,891.54

MIDLAND CONSUMER RADIO VICE PRESIDENT OF SALES     5900 PARRETTA DRIVE                               KANSAS CITY         MO           64120-0000                             SUPPLIERS OR VENDORS      11/15/2018           $2,486.90

MIDLAND CONSUMER RADIO VICE PRESIDENT OF SALES     5900 PARRETTA DRIVE                               KANSAS CITY         MO           64120-0000                             SUPPLIERS OR VENDORS      11/22/2018           $1,196.68

MIDLAND CONSUMER RADIO   VICE PRESIDENT OF SALES   5900 PARRETTA DRIVE                               KANSAS CITY         MO           64120-0000                             SUPPLIERS OR VENDORS      11/29/2018           $2,618.88
MIDWAY BEVERAGE INC      FINTECH                   SHOPKO STORES          PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/29/2018              $18.00
MIDWAY BEVERAGE INC      FINTECH                   SHOPKO STORES          PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/12/2018             $163.70
MIDWAY BEVERAGE INC      FINTECH                   SHOPKO STORES          PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/26/2018              $46.40
MIDWAY BEVERAGE INC      FINTECH                   SHOPKO STORES          PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/11/2018              $34.90
MIDWAY BEVERAGE INC      FINTECH                   SHOPKO STORES          PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/27/2018              $88.90
MIDWAY RENTALS
INCORPORATED             PO BOX 368                                                                  MARQUETTE           MI           49855-0368                             SUPPLIERS OR VENDORS      10/19/2018            $212.00
MIDWAY RENTALS
INCORPORATED             PO BOX 368                                                                  MARQUETTE           MI           49855-0368                             SUPPLIERS OR VENDORS      10/26/2018            $212.00
MIDWAY RENTALS
INCORPORATED             PO BOX 368                                                                  MARQUETTE           MI           49855-0368                             SUPPLIERS OR VENDORS      11/30/2018            $212.00
MIDWEST PAVEMENT
MARKINGS LLC             JAMES BURKEL              3142 ANSTON ROAD                                  GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS      10/18/2018           $3,629.30
MIDWEST PAVEMENT
MARKINGS LLC             JAMES BURKEL              3142 ANSTON ROAD                                  GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS      10/25/2018           $4,788.25
MIDWEST PAVEMENT
MARKINGS LLC             JAMES BURKEL              3142 ANSTON ROAD                                  GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS      10/26/2018               $1.00
MIDWEST PAVEMENT
MARKINGS LLC             JAMES BURKEL              3142 ANSTON ROAD                                  GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS       11/2/2018           $8,148.50
MIDWEST PAVEMENT
MARKINGS LLC             JAMES BURKEL              3142 ANSTON ROAD                                  GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS       11/9/2018           $6,449.63
MIDWEST PAVEMENT
MARKINGS LLC             JAMES BURKEL              3142 ANSTON ROAD                                  GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS      11/16/2018           $3,655.75
MIDWEST PAVEMENT
MARKINGS LLC             JAMES BURKEL              3142 ANSTON ROAD                                  GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS      11/30/2018         $14,819.79



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MIDWEST PAVEMENT
MARKINGS LLC             JAMES BURKEL                3142 ANSTON ROAD                                   GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS      12/19/2018         $16,551.26
MIDWEST PAVEMENT
MARKINGS LLC             JAMES BURKEL                3142 ANSTON ROAD                                   GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS      12/20/2018           $4,050.86
MIDWEST PAVEMENT
MARKINGS LLC             JAMES BURKEL                3142 ANSTON ROAD                                   GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS      12/21/2018           $1,279.50
MIDWEST PAVEMENT
MARKINGS LLC             JAMES BURKEL                3142 ANSTON ROAD                                   GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS      12/22/2018           $1,109.50
MIDWEST QUALITY GLOVES
INCORPO                  PO BOX 790051               0                                                  SAINT LOUIS         MO           63179-0051                             SUPPLIERS OR VENDORS      11/29/2018               $1.00
MIDWEST QUALITY GLOVES
INCORPORATED             PO BOX 790051                                                                  SAINT LOUIS         MO           63179-0051                             SUPPLIERS OR VENDORS      10/25/2018           $2,015.88
MIDWEST QUALITY GLOVES
INCORPORATED             PO BOX 790051                                                                  SAINT LOUIS         MO           63179-0051                             SUPPLIERS OR VENDORS      11/22/2018            $103.11
MIDWEST SPORTSWEAR       2415 Koyl Ave.                                                                 Saskatoon           SK           S7L 5X8    CANADA                      SUPPLIERS OR VENDORS      10/18/2018         $14,374.43
MIDWEST SPORTSWEAR       2415 Koyl Ave.                                                                 Saskatoon           SK           S7L 5X8    CANADA                      SUPPLIERS OR VENDORS      11/24/2018        $114,499.99

MIDWESTERN MECHANICAL
OF IOWA INC              DBA COPPER COTTAGE          3905 4TH AVENUE WEST                               SPENCER             IA           51301                                  SUPPLIERS OR VENDORS       12/3/2018             $240.75
MIKE FERGUSON            STORE DEVELOPMENT           SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS      10/25/2018             $390.44
MIKE FERGUSON            STORE DEVELOPMENT           SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       11/1/2018             $404.19
MIKE FERGUSON            STORE DEVELOPMENT           SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       11/8/2018             $474.72
MIKE FERGUSON            STORE DEVELOPMENT           SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS      11/22/2018             $645.39
MIKE FERGUSON            STORE DEVELOPMENT           SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       12/6/2018           $1,065.09
MIKE HALE                405 S PRESTON AVENUE                                                           REEDSBURG           WI           53959                                  SUPPLIERS OR VENDORS      11/15/2018             $126.60
MIKE HALE                405 S PRESTON AVENUE                                                           REEDSBURG           WI           53959                                  SUPPLIERS OR VENDORS      11/29/2018             $120.00
MIKE HEDMARK             467 OSTERBERG PARKWAY                                                          NIAGARA             WI           54151                                  SUPPLIERS OR VENDORS       11/1/2018              $48.80
MIKE KAMMES              W2164 STATELINE RD.                                                            JUDA                WI           53550                                  SUPPLIERS OR VENDORS      11/14/2018              $25.00
MIKE LARSON              2464 HAZEL WOOD LN                                                             GREEN BAY           WI           54304                                  SUPPLIERS OR VENDORS      10/29/2018              $25.00

MIKE LASH                STORE 651                   SHOPKO EMPLOYEE         2278 N COMFORT DRIVE       HART                MI           49420                                  SUPPLIERS OR VENDORS       11/1/2018            $116.31

MIKE LASH                STORE 651                   SHOPKO EMPLOYEE         2278 N COMFORT DRIVE       HART                MI           49420                                  SUPPLIERS OR VENDORS      11/15/2018            $552.57
MIKE MCDUFFEE            1206 MILTON STREET                                                             MISSOULA            MT           59802                                  SUPPLIERS OR VENDORS      10/22/2018             $13.44
MIKE MCDUFFEE            1206 MILTON STREET                                                             MISSOULA            MT           59802                                  SUPPLIERS OR VENDORS       12/3/2018             $52.48
MIKE MCDUFFEE            1206 MILTON STREET                                                             MISSOULA            MT           59802                                  SUPPLIERS OR VENDORS       12/3/2018             $53.76
MIKE NELSON              STORE 015                   SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS      12/20/2018            $100.26
MIKE S HARBICK           STORE 093                   SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/2/2018            $479.01
MIKE THEISEN             2418 SOUTH SERENITY DRIVE                                                      WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS      12/11/2018            $100.00
                                                                             1533 BURLINGTON
MIKE VAUGHNWILLIAMS      STORE 2-690                 SHOPKO EMPLOYEE         STREET                     HOLDREGE            NE           68949                                  SUPPLIERS OR VENDORS      12/20/2018            $145.31
MIKES POPCORN            1101 MIDWAY ROAD SUITE 1                                                       MENASHA             WI           54952                                  SUPPLIERS OR VENDORS      10/18/2018             $86.64
MIKES POPCORN            1101 MIDWAY ROAD SUITE 1                                                       MENASHA             WI           54952                                  SUPPLIERS OR VENDORS      11/15/2018            $126.48
MIKES POPCORN            1101 MIDWAY ROAD SUITE 1                                                       MENASHA             WI           54952                                  SUPPLIERS OR VENDORS      12/20/2018            $379.44
MILBANK AREA HOSPITAL
AVERA                    301 FLYNN DR                                                                   MILBANK             SD           57252                                  SUPPLIERS OR VENDORS      11/26/2018              $1.69
MILBERT FIX              810 7TH AVE. N E                                                               ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       12/7/2018             $48.64
MILDRED OPITZ            614 6TH AVE E                                                                  SISSETON            SD           57262                                  SUPPLIERS OR VENDORS      11/30/2018             $12.00
MILDRED OPITZ            614 6TH AVE E                                                                  SISSETON            SD           57262                                  SUPPLIERS OR VENDORS       12/7/2018             $48.00
MILDRED ZIMMERMAN        816 E. MAIN STREET                                                             WHITEWATER          WI           53190                                  SUPPLIERS OR VENDORS       12/5/2018             $25.00
MILE HIGH BEVERAGES      520 COBBAN STREET                                                              BUTTE               MT           59701                                  SUPPLIERS OR VENDORS      10/18/2018            $706.73
MILE HIGH BEVERAGES      520 COBBAN STREET                                                              BUTTE               MT           59701                                  SUPPLIERS OR VENDORS      11/15/2018            $557.82
MILE HIGH BEVERAGES      520 COBBAN STREET                                                              BUTTE               MT           59701                                  SUPPLIERS OR VENDORS      12/20/2018            $687.49
MILES BEVERAGE           PO BOX 186                                                                     AFTON               WY           83110-0186                             SUPPLIERS OR VENDORS      10/19/2018            $492.74



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MILES BEVERAGE          PO BOX 186                                                                     AFTON               WY           83110-0186                             SUPPLIERS OR VENDORS        10/26/2018              $733.99
MILES BEVERAGE          PO BOX 186                                                                     AFTON               WY           83110-0186                             SUPPLIERS OR VENDORS         11/2/2018              $677.75
MILES BEVERAGE          PO BOX 186                                                                     AFTON               WY           83110-0186                             SUPPLIERS OR VENDORS         11/9/2018              $434.58
MILES BEVERAGE          PO BOX 186                                                                     AFTON               WY           83110-0186                             SUPPLIERS OR VENDORS        11/16/2018              $807.76
MILES BEVERAGE          PO BOX 186                                                                     AFTON               WY           83110-0186                             SUPPLIERS OR VENDORS        11/23/2018              $443.79
MILES BEVERAGE          PO BOX 186                                                                     AFTON               WY           83110-0186                             SUPPLIERS OR VENDORS        11/30/2018              $882.73
MILES BEVERAGE          PO BOX 186                                                                     AFTON               WY           83110-0186                             SUPPLIERS OR VENDORS        12/20/2018            $1,572.60
MILES BEVERAGE          PO BOX 186                                                                     AFTON               WY           83110-0186                             SUPPLIERS OR VENDORS        12/27/2018              $604.08
MILFORD HERREID         115 REGENT PLACE                                                               NEENAH              WI           54956                                  SUPPLIERS OR VENDORS         12/7/2018               $11.04
MILL CREEK
ENTERTAINMENT           C/O COULEE BANK              742 GRAND AVENUE                                  ST PAUL             MN           55105-0000                             SUPPLIERS OR VENDORS       10/18/2018              $159.75
MILL CREEK
ENTERTAINMENT           C/O COULEE BANK              742 GRAND AVENUE                                  ST PAUL             MN           55105-0000                             SUPPLIERS OR VENDORS       10/25/2018              $174.75
MILL CREEK
ENTERTAINMENT           C/O COULEE BANK              742 GRAND AVENUE                                  ST PAUL             MN           55105-0000                             SUPPLIERS OR VENDORS        11/1/2018              $198.00
MILL CREEK
ENTERTAINMENT           C/O COULEE BANK              742 GRAND AVENUE                                  ST PAUL             MN           55105-0000                             SUPPLIERS OR VENDORS        11/8/2018              $226.25
MILL CREEK
ENTERTAINMENT           C/O COULEE BANK              742 GRAND AVENUE                                  ST PAUL             MN           55105-0000                             SUPPLIERS OR VENDORS       11/15/2018              $231.75
MILL CREEK
ENTERTAINMENT           C/O COULEE BANK              742 GRAND AVENUE                                  ST PAUL             MN           55105-0000                             SUPPLIERS OR VENDORS       11/22/2018              $161.50
MILL CREEK
ENTERTAINMENT           C/O COULEE BANK              742 GRAND AVENUE                                  ST PAUL             MN           55105-0000                             SUPPLIERS OR VENDORS       11/29/2018              $200.50
MILLARD COUNTY
TREASURER               SOUTH MAIN STREET                                                              FILLMORE            UT           84631                                  SUPPLIERS OR VENDORS       11/26/2018           $19,399.62
MILLIONS LAWN CARE      8005 EVANS STREET                                                              OMAHA               NE           68134                                  SUPPLIERS OR VENDORS       11/16/2018            $1,320.00
MILLWORK HOLDINGS       CIT GROUP COMMERCIAL
COMPANY INC             SERVICES INC                 PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       10/23/2018              $551.21
MILLWORK HOLDINGS       CIT GROUP COMMERCIAL
COMPANY INC             SERVICES INC                 PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS        11/2/2018              $344.60
MILLWORK HOLDINGS       CIT GROUP COMMERCIAL
COMPANY INC             SERVICES INC                 PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/23/2018              $636.96
MILTON FRIEMOTH         N5050 CURLY CREEK AVE                                                          NEILLSVILLE         WI           54456                                  SUPPLIERS OR VENDORS       10/22/2018               $25.43
MILTON HERRBOLDT        602 SOUTH ARNOLD AVE.                                                          HOSMER              SD           57448                                  SUPPLIERS OR VENDORS       11/15/2018               $12.16
MILTON HERRBOLDT        602 SOUTH ARNOLD AVE.                                                          HOSMER              SD           57448                                  SUPPLIERS OR VENDORS       11/29/2018               $48.64
MILWAUKEE JOURNAL
SENTINEL                PO BOX 742699                                                                  CINCINNATI          OH           45274-2699                             SUPPLIERS OR VENDORS       10/18/2018              $437.70
MINDY BUCHBERGER        404 SONNENTAG LANE                                                             MARATHON            WI           54448                                  SUPPLIERS OR VENDORS       12/13/2018               $25.00
                                                     4108 W SPRING CREEK
MINGTEL INC             VICE PRESIDENT OF SALES      PKWY SUITE E300                                   PLANO               TX           75024                                  SUPPLIERS OR VENDORS        11/8/2018          $140,480.54
                                                     4108 W SPRING CREEK
MINGTEL INC             VICE PRESIDENT OF SALES      PKWY SUITE E300                                   PLANO               TX           75024                                  SUPPLIERS OR VENDORS       11/16/2018           $94,676.41
                                                     4108 W SPRING CREEK
MINGTEL INC             VICE PRESIDENT OF SALES      PKWY SUITE E300                                   PLANO               TX           75024                                  SUPPLIERS OR VENDORS       11/29/2018              $975.00

MINNESOTA CHILD SUPPORT PO BOX 64306                                                                   ST PAUL             MN           55164                                  SUPPLIERS OR VENDORS       10/18/2018              $534.36

MINNESOTA DEPARTMENT
OF AGRICULTURE          DIVISION OF PLANT INDUSTRY   625 N ROBERT STREET                               ST. PAUL            MN           55155-2538                             SUPPLIERS OR VENDORS       11/28/2018           $10,350.00

MINNESOTA DEPARTMENT
OF REVENUE              600 NORTH ROBERT ST.                                                           ST. PAUL            MN           55146                                  SALES & USE TAX            10/16/2018               $35.00




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MINNESOTA DEPARTMENT
OF REVENUE                600 NORTH ROBERT ST.                                                      ST. PAUL            MN           55146                                  SALES & USE TAX           10/16/2018            $761.00

MINNESOTA DEPARTMENT
OF REVENUE                600 NORTH ROBERT ST.                                                      ST. PAUL            MN           55146                                  SALES & USE TAX           10/16/2018           $1,967.00

MINNESOTA DEPARTMENT
OF REVENUE                600 NORTH ROBERT ST.                                                      ST. PAUL            MN           55146                                  SALES & USE TAX           10/16/2018         $26,743.00

MINNESOTA DEPARTMENT
OF REVENUE                600 NORTH ROBERT ST.                                                      ST. PAUL            MN           55146                                  SALES & USE TAX           10/16/2018         $31,149.00

MINNESOTA DEPARTMENT
OF REVENUE                600 NORTH ROBERT ST.                                                      ST. PAUL            MN           55146                                  SALES & USE TAX           10/23/2018        $231,463.00

MINNESOTA DEPARTMENT
OF REVENUE                600 NORTH ROBERT ST.                                                      ST. PAUL            MN           55146                                  SALES & USE TAX           10/23/2018        $591,371.00

MINNESOTA DEPARTMENT
OF REVENUE                600 NORTH ROBERT ST.                                                      ST. PAUL            MN           55146                                  SALES & USE TAX           12/21/2018        $298,823.00

MINNESOTA DEPARTMENT
OF REVENUE                600 NORTH ROBERT ST.                                                      ST. PAUL            MN           55146                                  SALES & USE TAX           12/21/2018        $699,754.00
MINNESOTA ELEVATOR
INCORPORATED              PO BOX 0129                                                               ST CLAIR            MN           56080-0129                             SUPPLIERS OR VENDORS      10/25/2018            $201.72
MINNESOTA ELEVATOR
INCORPORATED              PO BOX 0129                                                               ST CLAIR            MN           56080-0129                             SUPPLIERS OR VENDORS      11/29/2018            $195.72
MINNIE JOINER             5032 24TH AVENUE                                                          KENOSHA             WI           53140                                  SUPPLIERS OR VENDORS      11/28/2018             $23.00
MIRACLE LAWN CARE
SERVICES                  SCOTT MEISENBACH        415 W 8TH STREET                                  WAYNE               NE           68787                                  SUPPLIERS OR VENDORS       11/1/2018            $160.00
MIRACLE LAWN CARE
SERVICES                  SCOTT MEISENBACH        415 W 8TH STREET                                  WAYNE               NE           68787                                  SUPPLIERS OR VENDORS      11/15/2018             $40.00
MIRANDA WILLIAMS          P.O. BOX 12                                                               CRAIGMONT           ID           83523                                  SUPPLIERS OR VENDORS       11/9/2018             $20.00
MIRIAM GATTUSO            N11097 MUD LAKE RD                                                        WAUSAUKEE           WI           54177                                  SUPPLIERS OR VENDORS      10/22/2018             $25.00
MISCISIN BROTHERS
INCORPORATED              3768 SOUTH HURON                                                          STANDISH            MI           48658                                  SUPPLIERS OR VENDORS      10/19/2018             $80.00
MISCISIN BROTHERS
INCORPORATED              3768 SOUTH HURON                                                          STANDISH            MI           48658                                  SUPPLIERS OR VENDORS      11/27/2018             $80.00
MISCISIN BROTHERS
INCORPORATED              3768 SOUTH HURON                                                          STANDISH            MI           48658                                  SUPPLIERS OR VENDORS      12/14/2018             $80.00
MISCISIN BROTHERS
INCORPORATED              3768 SOUTH HURON                                                          STANDISH            MI           48658                                  SUPPLIERS OR VENDORS      12/18/2018              $80.00
MISSION PHARMACAL         PO BOX 973017           PAM TO ORACLE                                     DALLAS              TX           75397-3017                             SUPPLIERS OR VENDORS       11/1/2018           $1,267.96
MISSION PHARMACAL         PO BOX 973017           PAM TO ORACLE                                     DALLAS              TX           75397-3017                             SUPPLIERS OR VENDORS       11/8/2018             $281.77
MISSION PHARMACAL         PO BOX 973017           PAM TO ORACLE                                     DALLAS              TX           75397-3017                             SUPPLIERS OR VENDORS      11/15/2018             $281.77
MISSION PHARMACAL         PO BOX 973017           PAM TO ORACLE                                     DALLAS              TX           75397-3017                             SUPPLIERS OR VENDORS      11/29/2018             $281.77
MISSOULA COUNTY
TREASURER                 200 W BROADWAY STREET                                                     MISSOULA            MT           59802-4216                             SUPPLIERS OR VENDORS      11/26/2018         $87,080.17

MISSOULA TEXTILE SERVICES 111 E SPRUCE                                                              MISSOULA            MT           59802                                  SUPPLIERS OR VENDORS      11/13/2018             $72.92

MISSOULA TEXTILE SERVICES 111 E SPRUCE                                                              MISSOULA            MT           59802                                  SUPPLIERS OR VENDORS      11/30/2018             $72.00




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                                                                                                                                                                      Reasons for payment or    Dates of    Total Amount or
      Creditor Name               Address1       Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
MISSOURI BOARD OF
PHARMACY                 PO BOX 625                                                          JEFFERSON CITY      MO           65102                                  SUPPLIERS OR VENDORS      12/18/2018             $50.00
MISSOURI DEPARTMENT OF
AGRICULTURE              PO BOX 630                                                          JEFFERSON CITY      MO           65102                                  SUPPLIERS OR VENDORS      12/14/2018             $30.00
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES       10/4/2018             $64.02
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES       10/4/2018             $87.86
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES       10/4/2018            $185.07
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES       10/4/2018            $364.03
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES       10/4/2018            $486.09
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES       10/4/2018            $863.37
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      10/11/2018             $11.22
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      10/11/2018             $28.98
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      10/11/2018             $89.73
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      10/11/2018            $141.14
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      10/11/2018            $231.79
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      10/11/2018            $420.74
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      10/11/2018            $763.66
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      10/18/2018             $24.30
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      10/18/2018             $46.75
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      10/18/2018             $88.80
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      10/18/2018            $141.15
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      10/18/2018            $197.22
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      10/18/2018            $735.76
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      10/18/2018           $1,111.67
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      10/25/2018             $15.89
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      10/25/2018             $75.71
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      10/25/2018            $261.73
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      10/25/2018            $392.61
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      10/25/2018            $577.63



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                                                                                                                                                                      Reasons for payment or    Dates of    Total Amount or
      Creditor Name               Address1       Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      10/25/2018            $830.13
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      10/25/2018           $2,089.12
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES       11/1/2018             $92.10
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES       11/1/2018            $273.00
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES       11/1/2018            $708.19
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES       11/1/2018            $836.32
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES       11/1/2018            $891.42
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES       11/1/2018           $2,531.34
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES       11/1/2018           $7,631.17
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES       11/8/2018             $47.67
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES       11/8/2018            $158.88
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES       11/8/2018            $409.84
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES       11/8/2018            $429.94
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES       11/8/2018            $916.18
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES       11/8/2018           $3,123.00
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES       11/8/2018           $7,862.43
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      11/15/2018            $535.70
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      11/15/2018           $1,841.83
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      11/15/2018           $2,868.62
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      11/15/2018           $4,652.78
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      11/15/2018           $5,392.19
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      11/15/2018         $15,490.14
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      11/15/2018         $30,475.35
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      11/23/2018            $213.56
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      11/23/2018            $265.43
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      11/23/2018            $562.67
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      11/23/2018            $859.50



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                                                                                                                                                                      Reasons for payment or    Dates of    Total Amount or
      Creditor Name               Address1       Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      11/23/2018           $1,426.57
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      11/23/2018           $3,247.82
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      11/29/2018               $3.27
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      11/29/2018             $38.80
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      11/29/2018             $67.30
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      11/29/2018            $133.66
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      11/29/2018            $136.02
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      11/29/2018            $412.78
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      12/10/2018               $6.54
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      12/10/2018               $9.35
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      12/10/2018             $35.51
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      12/10/2018             $41.13
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      12/10/2018             $58.42
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      12/10/2018             $80.39
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      12/10/2018            $121.50
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      12/13/2018               $6.54
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      12/13/2018             $17.76
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      12/13/2018             $26.65
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      12/13/2018             $88.83
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      12/13/2018             $94.41
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      12/13/2018            $444.11
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      12/20/2018             $11.22
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      12/20/2018             $30.85
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      12/20/2018             $33.65
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      12/20/2018             $53.28
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      12/20/2018            $130.90
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                  JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      12/20/2018            $465.15



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                                                                                                                                                                        Reasons for payment or    Dates of     Total Amount or
      Creditor Name               Address1         Address2                  Address3                 City              State       Zip              Country                   transfer          Payments            Value
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                    JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      12/27/2018              $21.03
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                    JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      12/27/2018              $28.04
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                    JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      12/27/2018              $51.41
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                    JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      12/27/2018              $64.48
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                    JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES      12/27/2018             $344.03
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                    JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES         1/3/2019             $26.17
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                    JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES         1/3/2019            $114.04
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                    JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES         1/3/2019            $440.37
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                    JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES         1/3/2019           $1,567.47
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                    JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES         1/3/2019           $5,483.16
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                    JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES       1/10/2019                $9.35
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                    JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES       1/10/2019              $17.76
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                    JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES       1/10/2019              $37.39
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                    JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES       1/10/2019              $41.61
MISSOURI DEPARTMENT OF
CONSERVATION             2901 W TRUMAN BLVD                                                    JEFFERSON CITY      MO           65102                                  PAYMENT FOR SERVICES       1/10/2019              $63.57
MISSOURI DEPARTMENT OF
REVENUE                  301 WEST HIGH STREET                                                  JEFFERSON CITY      MO           65101                                  SALES & USE TAX           10/15/2018          $14,050.50
MISSOURI DEPARTMENT OF
REVENUE                  301 WEST HIGH STREET                                                  JEFFERSON CITY      MO           65101                                  SALES & USE TAX           10/22/2018          $14,050.50
MISSOURI DEPARTMENT OF
REVENUE                  301 WEST HIGH STREET                                                  JEFFERSON CITY      MO           65101                                  SALES & USE TAX           10/29/2018          $14,050.50
MISSOURI DEPARTMENT OF
REVENUE                  301 WEST HIGH STREET                                                  JEFFERSON CITY      MO           65101                                  SALES & USE TAX            11/2/2018            $1,004.47
MISSOURI DEPARTMENT OF
REVENUE                  301 WEST HIGH STREET                                                  JEFFERSON CITY      MO           65101                                  SALES & USE TAX            11/2/2018            $1,891.93
MISSOURI DEPARTMENT OF
REVENUE                  301 WEST HIGH STREET                                                  JEFFERSON CITY      MO           65101                                  SALES & USE TAX            11/2/2018          $29,268.01
MISSOURI DEPARTMENT OF
REVENUE                  301 WEST HIGH STREET                                                  JEFFERSON CITY      MO           65101                                  SALES & USE TAX            12/5/2018                $0.50
MISSOURI DEPARTMENT OF
REVENUE                  301 WEST HIGH STREET                                                  JEFFERSON CITY      MO           65101                                  SALES & USE TAX            12/7/2018          $14,050.50
MISSOURI DEPARTMENT OF
REVENUE                  301 WEST HIGH STREET                                                  JEFFERSON CITY      MO           65101                                  SALES & USE TAX           12/14/2018          $14,050.50
MISSOURI DEPARTMENT OF
REVENUE                  301 WEST HIGH STREET                                                  JEFFERSON CITY      MO           65101                                  SALES & USE TAX           12/21/2018          $14,050.50
MISSOURI DEPARTMENT OF
REVENUE                  301 WEST HIGH STREET                                                  JEFFERSON CITY      MO           65101                                  SALES & USE TAX           12/24/2018            $4,210.03
MISSOURI DEPARTMENT OF
REVENUE                  301 WEST HIGH STREET                                                  JEFFERSON CITY      MO           65101                                  SALES & USE TAX           12/24/2018          $36,837.90



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                                                                                                                                                                                   Reasons for payment or    Dates of     Total Amount or
      Creditor Name              Address1                     Address2                  Address3                 City              State       Zip              Country                   transfer          Payments            Value
MISSOURI DEPARTMENT OF
REVENUE                301 WEST HIGH STREET                                                               JEFFERSON CITY      MO           65101                                  SALES & USE TAX           12/31/2018          $14,050.50
MISSOURI DEPARTMENT OF
REVENUE                301 WEST HIGH STREET                                                               JEFFERSON CITY      MO           65101                                  SALES & USE TAX              1/8/2019         $14,050.50
MISSOURI DEPARTMENT OF
REVENUE                301 WEST HIGH STREET                                                               JEFFERSON CITY      MO           65101                                  SALES & USE TAX            1/14/2019          $14,050.50
                                                        DIVISION OF
                         OFFICE OF MISSOURI STATE       UNCLAIMED PROP         301 WEST HIGH STREET
MISSOURI STATE TREASURER TREASURER                      SCOTT HARPER           ROOM 157                   JEFFERSON CITY      MO           65101                                  SUPPLIERS OR VENDORS      10/25/2018             $372.39
MISTI SCHROEDER          703 NORTH 5TH ST.              APT. 2                                            SAINT PETER         MN           56082                                  SUPPLIERS OR VENDORS       11/9/2018              $23.00
MISTINE MATTIE           392 CLAY ST                                                                      KIEL                WI           53402                                  SUPPLIERS OR VENDORS       11/8/2018              $11.02

MISTY COLE               STORE 553                      SHOPKO EMPLOYEE        1903 N BUCKEYE AVENUE ABILENE                  KS           67410-1505                             SUPPLIERS OR VENDORS       11/2/2018             $385.13
MISTY DODGE              5939 SCHUMANN CIR                                                           MADISON                  WI           53711                                  SUPPLIERS OR VENDORS      10/29/2018              $25.00
MISTY HAUER              415 LESLIE AVE                                                              HELENA                   MT           59601                                  SUPPLIERS OR VENDORS      11/26/2018              $35.00
MISTY PIERSON            15640 5TH LANE                                                              ATHENS                   WI           54411                                  SUPPLIERS OR VENDORS       11/9/2018              $23.00
MISTY SALZMAN            STORE 579                      SHOPKO EMPLOYEE        502 E 8TH AVENUE      YUMA                     CO           80759                                  SUPPLIERS OR VENDORS      10/19/2018             $274.68
MISTY SHROPSHIRE         STORE 2-791                    SHOPKO EMPLOYEE        616 E US HWY 9        FOREST CITY              IA           50436                                  SUPPLIERS OR VENDORS       12/6/2018              $32.70
MISTY SMITH              1003 13TH AVE NW                                                            ROCHESTER                MN           55901                                  SUPPLIERS OR VENDORS      11/29/2018               $3.00
MITCHEL PRICE            1209 TWIN ROCKS DR                                                          CENTRAL POINT            OR           97502                                  SUPPLIERS OR VENDORS      10/26/2018              $42.00
MITCHEL SCHULTZ          116 BOGERT STREET                                                           BEAVER BAY               WI           55601                                  SUPPLIERS OR VENDORS       12/5/2018              $55.87
MITCHELL GILE            1860 KIMBALL AVE                                                            NEKOOSA                  WI           54457                                  SUPPLIERS OR VENDORS      10/25/2018              $42.00
MITCHELL GOZA            STORE 2-090                    SHOPKO EMPLOYEE                              GREEN BAY                WI           54307-9060                             SUPPLIERS OR VENDORS       11/8/2018             $482.33
MITCHELL GOZA            STORE 2-090                    SHOPKO EMPLOYEE                              GREEN BAY                WI           54307-9060                             SUPPLIERS OR VENDORS      11/15/2018              $45.92
MITCHELL GOZA            STORE 2-090                    SHOPKO EMPLOYEE                              GREEN BAY                WI           54307-9060                             SUPPLIERS OR VENDORS      12/20/2018              $89.17
MITCHELL NEWVILLE        524 AGENCY RD                                                               MANKATO                  MN           56001                                  SUPPLIERS OR VENDORS       11/7/2018              $31.72
MITCHELL PUGH            STORE 696                      SHOPKO EMPLOYEE        505 W HOLME ST        NORTON                   KS           67654                                  SUPPLIERS OR VENDORS       11/2/2018             $258.33
MITSUKO GOLDEN           2171 21 1/8 STREET                                                          RICE LAKE                WI           54868                                  SUPPLIERS OR VENDORS      10/29/2018              $11.20
MITZI INTERNATIONAL
GENERATION SPORT         1 EAST 33RD STREET 3RD FLOOR                                                     NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS      10/18/2018          $20,025.00
MITZI INTERNATIONAL
GENERATION SPORT         1 EAST 33RD STREET 3RD FLOOR                                                     NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS      10/22/2018          $14,043.00
MITZI INTERNATIONAL
GENERATION SPORT         1 EAST 33RD STREET 3RD FLOOR                                                     NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS      10/29/2018          $17,406.30
MITZI INTERNATIONAL
GENERATION SPORT         1 EAST 33RD STREET 3RD FLOOR                                                     NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS      10/30/2018            $7,434.00
MITZI INTERNATIONAL
GENERATION SPORT         1 EAST 33RD STREET 3RD FLOOR                                                     NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS       11/1/2018          $39,874.05
MITZI INTERNATIONAL
GENERATION SPORT         1 EAST 33RD STREET 3RD FLOOR                                                     NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS       11/2/2018          $21,393.00
MITZI INTERNATIONAL
GENERATION SPORT         1 EAST 33RD STREET 3RD FLOOR                                                     NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS       11/7/2018          $17,888.51
MITZI INTERNATIONAL
GENERATION SPORT         1 EAST 33RD STREET 3RD FLOOR                                                     NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS       11/9/2018          $35,472.00
MITZI INTERNATIONAL
GENERATION SPORT         1 EAST 33RD STREET 3RD FLOOR                                                     NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS      11/22/2018          $17,334.31
MITZI INTERNATIONAL
GENERATION SPORT         1 EAST 33RD STREET 3RD FLOOR                                                     NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS      11/27/2018          $12,018.00
MITZI INTERNATIONAL
GENERATION SPORT         1 EAST 33RD STREET 3RD FLOOR                                                     NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS      11/30/2018          $25,627.00
MITZI INTERNATIONAL
GENERATION SPORT         1 EAST 33RD STREET 3RD FLOOR                                                     NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS       12/3/2018            $7,308.00
MITZI INTERNATIONAL
GENERATION SPORT         1 EAST 33RD STREET 3RD FLOOR                                                     NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS      12/11/2018            $1,237.16



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                                                                                                                                                                                Reasons for payment or    Dates of    Total Amount or
      Creditor Name                 Address1               Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value

MJ HOLDING COMPANY LLC 7001 South Harlem Avenue                                                        Bedford             IL           60638                                  SUPPLIERS OR VENDORS      10/18/2018         $43,797.63

MJ HOLDING COMPANY LLC 7001 South Harlem Avenue                                                        Bedford             IL           60638                                  SUPPLIERS OR VENDORS      10/25/2018         $46,805.20

MJ HOLDING COMPANY LLC 7001 South Harlem Avenue                                                        Bedford             IL           60638                                  SUPPLIERS OR VENDORS       11/1/2018         $49,156.27

MJ HOLDING COMPANY LLC 7001 South Harlem Avenue                                                        Bedford             IL           60638                                  SUPPLIERS OR VENDORS       11/8/2018         $47,703.17

MJ HOLDING COMPANY LLC 7001 South Harlem Avenue                                                        Bedford             IL           60638                                  SUPPLIERS OR VENDORS      11/15/2018         $38,751.75

MJ HOLDING COMPANY LLC 7001 South Harlem Avenue                                                        Bedford             IL           60638                                  SUPPLIERS OR VENDORS      11/27/2018         $49,024.28

MJ HOLDING COMPANY LLC 7001 South Harlem Avenue                                                        Bedford             IL           60638                                  SUPPLIERS OR VENDORS      11/29/2018         $45,492.54

MJ HOLDING COMPANY LLC    7001 South Harlem Avenue                                                     Bedford             IL           60638                                  SUPPLIERS OR VENDORS       12/6/2018         $67,048.08
MJC INTERNATIONAL GROUP
LLC                       25 PARK PLACE                                                                BRISBANE            CA           94005                                  SUPPLIERS OR VENDORS      10/19/2018           $1,309.82
MJC INTERNATIONAL GROUP
LLC                       25 PARK PLACE                                                                BRISBANE            CA           94005                                  SUPPLIERS OR VENDORS      10/26/2018           $1,840.80
MJC INTERNATIONAL GROUP
LLC                       25 PARK PLACE                                                                BRISBANE            CA           94005                                  SUPPLIERS OR VENDORS       11/2/2018           $1,465.00
MJC INTERNATIONAL GROUP
LLC                       25 PARK PLACE                                                                BRISBANE            CA           94005                                  SUPPLIERS OR VENDORS       11/9/2018            $747.68
MJC INTERNATIONAL GROUP
LLC                       25 PARK PLACE                                                                BRISBANE            CA           94005                                  SUPPLIERS OR VENDORS      11/16/2018             $60.20
MJC INTERNATIONAL GROUP
LLC                       25 PARK PLACE                                                                BRISBANE            CA           94005                                  SUPPLIERS OR VENDORS      11/30/2018           $2,033.40
MJM JEWELRY CORP DBA
BERRY JEWELRY CO          29 W 38TH STREET 16TH FLOOR                                                  NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      11/15/2018         $49,521.25
MLEKUSH
MOWING&PROPERTY
MAINTENANCE LLC           PO BOX 581                                                                   EAST HELENA         MT           59635                                  SUPPLIERS OR VENDORS       11/1/2018            $625.00
MLEKUSH
MOWING&PROPERTY
MAINTENANCE LLC           PO BOX 581                                                                   EAST HELENA         MT           59635                                  SUPPLIERS OR VENDORS      11/29/2018            $665.00
MN DEPT OF REVENUE        600 NORTH ROBERT ST.                                                         ST. PAUL            MN           55146                                  SALES/USE TAX             11/21/2018        $179,609.00
MN DEPT OF REVENUE        600 NORTH ROBERT ST.                                                         ST. PAUL            MN           55146                                  SALES/USE TAX             11/21/2018        $449,269.00
MO DEPT OF REVENUE        301 WEST HIGH STREET                                                         JEFFERSON CITY      MO           65101                                  SALES/USE TAX              11/7/2018         $14,050.50
MO DEPT OF REVENUE        301 WEST HIGH STREET                                                         JEFFERSON CITY      MO           65101                                  SALES/USE TAX             11/15/2018         $14,050.50
MO DEPT OF REVENUE        301 WEST HIGH STREET                                                         JEFFERSON CITY      MO           65101                                  SALES/USE TAX             11/23/2018          $1,105.37
MO DEPT OF REVENUE        301 WEST HIGH STREET                                                         JEFFERSON CITY      MO           65101                                  SALES/USE TAX             11/23/2018         $12,916.49
MO DEPT OF REVENUE        301 WEST HIGH STREET                                                         JEFFERSON CITY      MO           65101                                  SALES/USE TAX             11/23/2018         $14,050.50
MO DEPT OF REVENUE        301 WEST HIGH STREET                                                         JEFFERSON CITY      MO           65101                                  SALES/USE TAX             11/29/2018         $14,050.50
MOAB ICE                  2650 SO HWY 191                                                              MOAB                UT           84532                                  SUPPLIERS OR VENDORS      10/18/2018            $309.45
MOAB ICE                  2650 SO HWY 191                                                              MOAB                UT           84532                                  SUPPLIERS OR VENDORS      11/15/2018             $92.75
MOAU XIONG                65 DEANNA DR.                                                                EVANSVILLE          WI           53536                                  SUPPLIERS OR VENDORS      12/10/2018             $25.00
MOBILE MINI               PO BOX 650882                                                                DALLAS              TX           75265-0882                             SUPPLIERS OR VENDORS      10/18/2018            $231.70
MOBILE MINI               PO BOX 650882                                                                DALLAS              TX           75265-0882                             SUPPLIERS OR VENDORS      10/22/2018            $698.43
MOBILE MINI               PO BOX 650882                                                                DALLAS              TX           75265-0882                             SUPPLIERS OR VENDORS      10/25/2018            $246.17
MOBILE MINI               PO BOX 650882                                                                DALLAS              TX           75265-0882                             SUPPLIERS OR VENDORS      10/26/2018            $973.25
MOBILE MINI               PO BOX 650882                                                                DALLAS              TX           75265-0882                             SUPPLIERS OR VENDORS      10/29/2018            $204.10
MOBILE MINI               PO BOX 650882                                                                DALLAS              TX           75265-0882                             SUPPLIERS OR VENDORS      10/31/2018            $281.21
MOBILE MINI               PO BOX 650882                                                                DALLAS              TX           75265-0882                             SUPPLIERS OR VENDORS       11/1/2018            $214.55



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                                                                                                                                                                             Reasons for payment or    Dates of     Total Amount or
      Creditor Name                Address1            Address2                  Address3                   City            State       Zip              Country                    transfer          Payments            Value
MOBILE MINI              PO BOX 650882                                                             DALLAS              TX           75265-0882                             SUPPLIERS OR VENDORS         11/2/2018              $216.49
MOBILE MINI              PO BOX 650882                                                             DALLAS              TX           75265-0882                             SUPPLIERS OR VENDORS         11/5/2018              $799.86
MOBILE MINI              PO BOX 650882                                                             DALLAS              TX           75265-0882                             SUPPLIERS OR VENDORS         11/7/2018            $1,164.41
MOBILE MINI              PO BOX 650882                                                             DALLAS              TX           75265-0882                             SUPPLIERS OR VENDORS         11/8/2018              $235.39
MOBILE MINI              PO BOX 650882                                                             DALLAS              TX           75265-0882                             SUPPLIERS OR VENDORS         11/9/2018            $1,071.60
MOBILE MINI              PO BOX 650882                                                             DALLAS              TX           75265-0882                             SUPPLIERS OR VENDORS        11/12/2018            $1,262.91
MOBILE MINI              PO BOX 650882                                                             DALLAS              TX           75265-0882                             SUPPLIERS OR VENDORS        11/14/2018              $481.88
MOBILE MINI              PO BOX 650882                                                             DALLAS              TX           75265-0882                             SUPPLIERS OR VENDORS        11/15/2018              $231.70
MOBILE MINI              PO BOX 650882                                                             DALLAS              TX           75265-0882                             SUPPLIERS OR VENDORS        11/26/2018            $2,142.00
MOBILE MINI              PO BOX 650882                                                             DALLAS              TX           75265-0882                             SUPPLIERS OR VENDORS        11/28/2018              $281.21
MOBILE MINI              PO BOX 650882                                                             DALLAS              TX           75265-0882                             SUPPLIERS OR VENDORS        11/29/2018            $1,618.27
MOBILE MINI              PO BOX 650882                                                             DALLAS              TX           75265-0882                             SUPPLIERS OR VENDORS        11/30/2018            $1,757.78
MOBILE MINI              PO BOX 650882                                                             DALLAS              TX           75265-0882                             SUPPLIERS OR VENDORS         12/3/2018            $1,447.45
MOBILE MINI              PO BOX 650882                                                             DALLAS              TX           75265-0882                             SUPPLIERS OR VENDORS         12/5/2018            $1,097.47
MOBILE STOR
INCORPORATED             PO BOX 80601                                                              BILLINGS            MT           59108-0601                             SUPPLIERS OR VENDORS       10/26/2018              $192.90
MOBILE STOR
INCORPORATED             PO BOX 80601                                                              BILLINGS            MT           59108-0601                             SUPPLIERS OR VENDORS        11/9/2018              $387.50
MOBILE STOR
INCORPORATED             PO BOX 80601                                                              BILLINGS            MT           59108-0601                             SUPPLIERS OR VENDORS       11/30/2018              $199.33
MOBILE STOR
INCORPORATED             PO BOX 80601                                                              BILLINGS            MT           59108-0601                             SUPPLIERS OR VENDORS       12/18/2018              $375.00
MOBILE STOR
INCORPORATED             PO BOX 80601                                                              BILLINGS            MT           59108-0601                             SUPPLIERS OR VENDORS         1/5/2019              $580.40
MOBILE STORAGE RENTALS
INCORPORATED             2830 EGLIN STREET                                                         RAPID CITY          SD           57703                                  SUPPLIERS OR VENDORS       10/25/2018              $127.80
MOBILE STORAGE RENTALS
INCORPORATED             2830 EGLIN STREET                                                         RAPID CITY          SD           57703                                  SUPPLIERS OR VENDORS        11/1/2018              $255.60
MOBILE STORAGE RENTALS
INCORPORATED             2830 EGLIN STREET                                                         RAPID CITY          SD           57703                                  SUPPLIERS OR VENDORS       11/15/2018              $154.43
MOBILE STORAGE RENTALS
INCORPORATED             2830 EGLIN STREET                                                         RAPID CITY          SD           57703                                  SUPPLIERS OR VENDORS       11/29/2018              $127.80
MOBILE STORAGE RENTALS
INCORPORATED             2830 EGLIN STREET                                                         RAPID CITY          SD           57703                                  SUPPLIERS OR VENDORS       12/17/2018              $255.60
MOBILESSENTIALS LLC      3905 CIRCLE DRIVE                                                         HOLMEN              WI           54636                                  SUPPLIERS OR VENDORS       10/19/2018           $24,863.45
MOBILESSENTIALS LLC      3905 CIRCLE DRIVE                                                         HOLMEN              WI           54636                                  SUPPLIERS OR VENDORS       10/26/2018           $23,462.40
MOBILESSENTIALS LLC      3905 CIRCLE DRIVE                                                         HOLMEN              WI           54636                                  SUPPLIERS OR VENDORS        11/2/2018           $24,022.59
MOBILESSENTIALS LLC      3905 CIRCLE DRIVE                                                         HOLMEN              WI           54636                                  SUPPLIERS OR VENDORS        11/9/2018           $22,930.94
MOBILESSENTIALS LLC      3905 CIRCLE DRIVE                                                         HOLMEN              WI           54636                                  SUPPLIERS OR VENDORS       11/16/2018           $21,570.22
MOBILESSENTIALS LLC      3905 CIRCLE DRIVE                                                         HOLMEN              WI           54636                                  SUPPLIERS OR VENDORS       11/30/2018           $49,789.90
MOBRIDGE AREA CHAMBER
OF COMMERCE              212 MAIN STREET                                                           MOBRIDGE            SD           57601                                  SUPPLIERS OR VENDORS       10/18/2018              $260.00

MOBRIDGE GAS COMPANY     1421 WEST GRAND CROSSING                                                  MOBRIDGE            SD           57601                                  SUPPLIERS OR VENDORS       10/29/2018               $47.93

MOBRIDGE GAS COMPANY     1421 WEST GRAND CROSSING                                                  MOBRIDGE            SD           57601                                  SUPPLIERS OR VENDORS        11/1/2018            $1,475.77
MODERN MARKETING
CONCEPTS INC             8600 SOLUTION CENTER                                                      CHICAGO             IL           60677-8006                             SUPPLIERS OR VENDORS       10/18/2018              $325.00
MODERN MARKETING
CONCEPTS INC             8600 SOLUTION CENTER                                                      CHICAGO             IL           60677-8006                             SUPPLIERS OR VENDORS       10/25/2018              $223.50
MODERN MARKETING
CONCEPTS INC             8600 SOLUTION CENTER                                                      CHICAGO             IL           60677-8006                             SUPPLIERS OR VENDORS        11/1/2018               $99.10
MODERN MARKETING
CONCEPTS INC             8600 SOLUTION CENTER                                                      CHICAGO             IL           60677-8006                             SUPPLIERS OR VENDORS        11/8/2018              $123.00



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      Creditor Name                 Address1               Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
MODERN MARKETING
CONCEPTS INC            8600 SOLUTION CENTER                                                           CHICAGO             IL           60677-8006                             SUPPLIERS OR VENDORS      11/15/2018               $6.50
MODERN MARKETING
CONCEPTS INC            8600 SOLUTION CENTER                                                           CHICAGO             IL           60677-8006                             SUPPLIERS OR VENDORS      11/22/2018            $402.50
MODERN MARKETING
CONCEPTS INC            8600 SOLUTION CENTER                                                           CHICAGO             IL           60677-8006                             SUPPLIERS OR VENDORS      11/29/2018             $25.00
MODERN OPTICAL
INTERNATIONAL           585 CONGRESS CIRCLE NORTH   PO BOX 72360                                       ROSELLE             IL           60172-0360                             SUPPLIERS OR VENDORS      10/18/2018            $155.72
MODERN OPTICAL
INTERNATIONAL           585 CONGRESS CIRCLE NORTH   PO BOX 72360                                       ROSELLE             IL           60172-0360                             SUPPLIERS OR VENDORS      10/25/2018            $154.75
MODERN OPTICAL
INTERNATIONAL           585 CONGRESS CIRCLE NORTH   PO BOX 72360                                       ROSELLE             IL           60172-0360                             SUPPLIERS OR VENDORS       11/1/2018             $88.86
MODERN OPTICAL
INTERNATIONAL           585 CONGRESS CIRCLE NORTH   PO BOX 72360                                       ROSELLE             IL           60172-0360                             SUPPLIERS OR VENDORS       11/8/2018             $84.86
MODERN OPTICAL
INTERNATIONAL           585 CONGRESS CIRCLE NORTH   PO BOX 72360                                       ROSELLE             IL           60172-0360                             SUPPLIERS OR VENDORS      11/15/2018            $145.73
MODERN OPTICAL
INTERNATIONAL           585 CONGRESS CIRCLE NORTH   PO BOX 72360                                       ROSELLE             IL           60172-0360                             SUPPLIERS OR VENDORS      11/22/2018            $114.83
MODERN OPTICAL
INTERNATIONAL           585 CONGRESS CIRCLE NORTH   PO BOX 72360                                       ROSELLE             IL           60172-0360                             SUPPLIERS OR VENDORS      11/29/2018            $102.83
MODERN OPTICAL
INTERNATIONAL           585 CONGRESS CIRCLE NORTH   PO BOX 72360                                       ROSELLE             IL           60172-0360                             SUPPLIERS OR VENDORS      12/12/2018            $284.49
MODERN OPTICAL
INTERNATIONAL           585 CONGRESS CIRCLE NORTH   PO BOX 72360                                       ROSELLE             IL           60172-0360                             SUPPLIERS OR VENDORS      12/14/2018             $48.90
MODERN OPTICAL
INTERNATIONAL           585 CONGRESS CIRCLE NORTH   PO BOX 72360                                       ROSELLE             IL           60172-0360                             SUPPLIERS OR VENDORS      12/17/2018             $34.94
MODERN OPTICAL
INTERNATIONAL           585 CONGRESS CIRCLE NORTH   PO BOX 72360                                       ROSELLE             IL           60172-0360                             SUPPLIERS OR VENDORS      12/18/2018             $55.91
MODERN OPTICAL
INTERNATIONAL           585 CONGRESS CIRCLE NORTH   PO BOX 72360                                       ROSELLE             IL           60172-0360                             SUPPLIERS OR VENDORS      12/27/2018            $113.82
MODERNISTIC             PO BOX 1450                 NW 7602                                            MINNEAPOLIS         MN           55485-7602                             SUPPLIERS OR VENDORS      10/25/2018         $31,496.04
MODERNISTIC             PO BOX 1450                 NW 7602                                            MINNEAPOLIS         MN           55485-7602                             SUPPLIERS OR VENDORS       11/1/2018         $13,377.34
MODERNISTIC             PO BOX 1450                 NW 7602                                            MINNEAPOLIS         MN           55485-7602                             SUPPLIERS OR VENDORS       11/8/2018          $5,561.08
MODERNISTIC             PO BOX 1450                 NW 7602                                            MINNEAPOLIS         MN           55485-7602                             SUPPLIERS OR VENDORS      11/29/2018          $7,677.85

MODULA4 INCORPORATED    3RD FLOOR                   720 A STREET                                       SAN RAFAEL          CA           94901-3923                             SUPPLIERS OR VENDORS      11/16/2018           $1,632.81

MODULA4 INCORPORATED    0                           3RD FLOOR                                          SAN RAFAEL          CA           94901-3923                             SUPPLIERS OR VENDORS       12/6/2018               $1.00
MODULAR SPACE           12603 COLLECTIONS CENTER
CORPORATOIN             DRIVE                                                                          CHICAGO             IL           60693-0126                             SUPPLIERS OR VENDORS       11/2/2018            $212.00
MODULAR SPACE           12603 COLLECTIONS CENTER
CORPORATOIN             DRIVE                                                                          CHICAGO             IL           60693-0126                             SUPPLIERS OR VENDORS       12/7/2018             $212.00
MOHAWK FACTORING LLC    PO BOX 845059                                                                  LOS ANGELES         CA           90084-5059                             SUPPLIERS OR VENDORS      11/13/2018           $6,446.49
MOHAWK FACTORING LLC    PO BOX 845059                                                                  LOS ANGELES         CA           90084-5059                             SUPPLIERS OR VENDORS       12/4/2018           $3,917.23
MOHAWK RUG & TEXTILES
DIVISION                VICE PRESIDENT OF SALES     3090 SUGAR VALLEY                                  SUGAR VALLEY        GA           30746-5166                             SUPPLIERS OR VENDORS      10/19/2018        $171,436.29
MOHAWK RUG & TEXTILES
DIVISION                VICE PRESIDENT OF SALES     3090 SUGAR VALLEY                                  SUGAR VALLEY        GA           30746-5166                             SUPPLIERS OR VENDORS      10/26/2018        $150,173.22
MOHAWK RUG & TEXTILES
DIVISION                VICE PRESIDENT OF SALES     3090 SUGAR VALLEY                                  SUGAR VALLEY        GA           30746-5166                             SUPPLIERS OR VENDORS       11/2/2018        $295,900.70
MOHAWK RUG & TEXTILES
DIVISION                VICE PRESIDENT OF SALES     3090 SUGAR VALLEY                                  SUGAR VALLEY        GA           30746-5166                             SUPPLIERS OR VENDORS       11/9/2018        $278,589.09
MOHAWK RUG & TEXTILES
DIVISION                VICE PRESIDENT OF SALES     3090 SUGAR VALLEY                                  SUGAR VALLEY        GA           30746-5166                             SUPPLIERS OR VENDORS      11/16/2018        $315,194.39



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MOHAWK RUG & TEXTILES
DIVISION                 VICE PRESIDENT OF SALES   3090 SUGAR VALLEY                                 SUGAR VALLEY        GA           30746-5166                             SUPPLIERS OR VENDORS      11/30/2018        $354,616.16
MOLLEY RICHEY            STORE 2-704               SHOPKO EMPLOYEE        1300 STONE STREET          FALLS CITY          NE           68355                                  SUPPLIERS OR VENDORS       11/1/2018             $18.53
MOLLY JO PENA            1002 SOUTH DIVISION ST.                                                     WAUNAKEE            WI           53597                                  SUPPLIERS OR VENDORS      11/26/2018              $2.00
MONA MALONEY             955 23 1/2 ST                                                               CHETEK              WI           54728                                  SUPPLIERS OR VENDORS      11/30/2018             $10.00
MONDELEZ GLOBAL          PO BOX 92597                                                                CHICAGO             IL           60675                                  SUPPLIERS OR VENDORS      10/18/2018         $17,507.85
MONDELEZ GLOBAL          PO BOX 92597                                                                CHICAGO             IL           60675                                  SUPPLIERS OR VENDORS      10/19/2018        $112,687.72
MONDELEZ GLOBAL          PO BOX 92597                                                                CHICAGO             IL           60675                                  SUPPLIERS OR VENDORS      10/20/2018         $26,120.70
MONDELEZ GLOBAL          PO BOX 92597                                                                CHICAGO             IL           60675                                  SUPPLIERS OR VENDORS      10/23/2018         $23,200.56
MONDELEZ GLOBAL          PO BOX 92597                                                                CHICAGO             IL           60675                                  SUPPLIERS OR VENDORS      10/26/2018        $151,165.16
MONDELEZ GLOBAL          PO BOX 92597                                                                CHICAGO             IL           60675                                  SUPPLIERS OR VENDORS       11/2/2018         $32,025.58
MONDELEZ GLOBAL          PO BOX 92597                                                                CHICAGO             IL           60675                                  SUPPLIERS OR VENDORS       11/9/2018         $19,846.55
MONDELEZ GLOBAL          PO BOX 92597                                                                CHICAGO             IL           60675                                  SUPPLIERS OR VENDORS      11/16/2018        $136,683.83
MONDELEZ GLOBAL          PO BOX 92597                                                                CHICAGO             IL           60675                                  SUPPLIERS OR VENDORS      11/24/2018        $270,369.93
MONDELEZ GLOBAL          PO BOX 92597                                                                CHICAGO             IL           60675                                  SUPPLIERS OR VENDORS      11/30/2018        $109,731.79
MONDELEZ GLOBAL          PO BOX 92597                                                                CHICAGO             IL           60675                                  SUPPLIERS OR VENDORS      12/19/2018        $195,273.08
MONDELEZ GLOBAL          PO BOX 92597                                                                CHICAGO             IL           60675                                  SUPPLIERS OR VENDORS      12/22/2018        $148,128.20
                         150 MOUNT BETHEL ROAD
MONDOTTICA USA LLC       BLDG 2                                                                      WARREN              NJ           07059                                  SUPPLIERS OR VENDORS      12/20/2018         $35,915.46
MONICA FALK              STORE 608                 SHOPKO EMPLOYEE        1010 W RYAN STREET         BRILLION            WI           54110                                  SUPPLIERS OR VENDORS       11/1/2018             $35.97
MONICA KWASNIEWSKI       314 HERZOG DR                                                               WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS       11/1/2018             $11.04
MONICA KWASNIEWSKI       314 HERZOG DR                                                               WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS      11/16/2018             $44.16
MONICA LUCHT             1822 WISCONSIN ST                                                           RIVER FALLS         WI           54022                                  SUPPLIERS OR VENDORS       11/9/2018            $244.00
MONICA MARTIN            2348 LIBERTY AVE                                                            BELOIT              WI           53511                                  SUPPLIERS OR VENDORS      11/14/2018             $23.20
MONICA NADOLNY           2501 DUNWOODY DR                                                            MADISON             WI           53713                                  SUPPLIERS OR VENDORS      11/26/2018             $12.60
MONICA OGILVIE           STORE 2-091               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/20/2018             $40.22
MONICA REDHOUSE          251 W 1600 N APT A 104                                                      LOGAN               UT           84341                                  SUPPLIERS OR VENDORS      10/24/2018             $46.00
MONICA WILKINSON         PO BOX 83                                                                   OTOE                NE           68417                                  SUPPLIERS OR VENDORS       12/7/2018             $24.00
MONICA WIND              STORE 116                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/18/2018            $256.28

MONONA CITY TREASURER    5211 SCHLUTER ROAD                                                          MONONA              WI           53716-0000                             SUPPLIERS OR VENDORS       11/5/2018            $360.00

MONOPRICE INCORPORATED PO BOX 740417                                                                 LOS ANGELES         CA           90074-0417                             SUPPLIERS OR VENDORS      10/19/2018             $58.08

MONOPRICE INCORPORATED PO BOX 740417                                                                 LOS ANGELES         CA           90074-0417                             SUPPLIERS OR VENDORS      10/23/2018             $10.23

MONOPRICE INCORPORATED PO BOX 740417                                                                 LOS ANGELES         CA           90074-0417                             SUPPLIERS OR VENDORS      10/26/2018            $217.15

MONOPRICE INCORPORATED PO BOX 740417                                                                 LOS ANGELES         CA           90074-0417                             SUPPLIERS OR VENDORS      10/30/2018            $529.00

MONOPRICE INCORPORATED PO BOX 740417                                                                 LOS ANGELES         CA           90074-0417                             SUPPLIERS OR VENDORS       11/2/2018             $10.16

MONOPRICE INCORPORATED PO BOX 740417                                                                 LOS ANGELES         CA           90074-0417                             SUPPLIERS OR VENDORS      11/13/2018             $11.07

MONOPRICE INCORPORATED PO BOX 740417                                                                 LOS ANGELES         CA           90074-0417                             SUPPLIERS OR VENDORS      11/30/2018            $610.64

MONOPRICE INCORPORATED PO BOX 740417                                                                 LOS ANGELES         CA           90074-0417                             SUPPLIERS OR VENDORS       12/4/2018            $555.51

MONOPRICE INCORPORATED PO BOX 740417                                                                 LOS ANGELES         CA           90074-0417                             SUPPLIERS OR VENDORS       12/7/2018             $52.50

MONOPRICE INCORPORATED   PO BOX 740417                                                               LOS ANGELES         CA           90074-0417                             SUPPLIERS OR VENDORS      12/11/2018             $36.82
MONROE ACE HARDWARE      105 7 1/2 STREET                                                            MONROE              WI           53566-9188                             SUPPLIERS OR VENDORS       11/8/2018             $33.75
MONTANA DEPARTMENT OF    UNCLAIMED PROPERTY TAMMY 340 NORTH LAST
REVENUE                  PIPPIN                   CHANCE GULCH                                       HELENA              MT           59601                                  SUPPLIERS OR VENDORS      10/25/2018           $2,861.05



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                                                                                                                                                                                 Reasons for payment or    Dates of     Total Amount or
      Creditor Name                 Address1                Address2                  Address3                 City              State       Zip              Country                   transfer          Payments            Value
MONTANA FISH, WILDLIFE &
PARKS                      1420 EAST SIXTH AVENUE     PO BOX 200701                                     HELENA              MT           59620                                  PAYMENT FOR SERVICES       10/4/2018             $700.00
MONTANA FISH, WILDLIFE &
PARKS                      1420 EAST SIXTH AVENUE     PO BOX 200701                                     HELENA              MT           59620                                  PAYMENT FOR SERVICES      10/11/2018             $510.50
MONTANA FISH, WILDLIFE &
PARKS                      1420 EAST SIXTH AVENUE     PO BOX 200701                                     HELENA              MT           59620                                  PAYMENT FOR SERVICES      10/18/2018            $2,030.00
MONTANA FISH, WILDLIFE &
PARKS                      1420 EAST SIXTH AVENUE     PO BOX 200701                                     HELENA              MT           59620                                  PAYMENT FOR SERVICES      10/25/2018            $2,144.50
MONTANA FISH, WILDLIFE &
PARKS                      1420 EAST SIXTH AVENUE     PO BOX 200701                                     HELENA              MT           59620                                  PAYMENT FOR SERVICES       11/1/2018            $3,757.75
MONTANA FISH, WILDLIFE &
PARKS                      1420 EAST SIXTH AVENUE     PO BOX 200701                                     HELENA              MT           59620                                  PAYMENT FOR SERVICES       11/8/2018            $2,003.50
MONTANA FISH, WILDLIFE &
PARKS                      1420 EAST SIXTH AVENUE     PO BOX 200701                                     HELENA              MT           59620                                  PAYMENT FOR SERVICES      11/15/2018            $2,429.25
MONTANA FISH, WILDLIFE &
PARKS                      1420 EAST SIXTH AVENUE     PO BOX 200701                                     HELENA              MT           59620                                  PAYMENT FOR SERVICES      11/23/2018            $1,687.25
MONTANA FISH, WILDLIFE &
PARKS                      1420 EAST SIXTH AVENUE     PO BOX 200701                                     HELENA              MT           59620                                  PAYMENT FOR SERVICES      11/29/2018            $1,761.75
MONTANA FISH, WILDLIFE &
PARKS                      1420 EAST SIXTH AVENUE     PO BOX 200701                                     HELENA              MT           59620                                  PAYMENT FOR SERVICES       12/6/2018             $721.50
MONTANA FISH, WILDLIFE &
PARKS                      1420 EAST SIXTH AVENUE     PO BOX 200701                                     HELENA              MT           59620                                  PAYMENT FOR SERVICES      12/13/2018              $69.00
MONTANA FISH, WILDLIFE &
PARKS                      1420 EAST SIXTH AVENUE     PO BOX 200701                                     HELENA              MT           59620                                  PAYMENT FOR SERVICES      12/20/2018                $7.00
MONTANA FISH, WILDLIFE &
PARKS                      1420 EAST SIXTH AVENUE     PO BOX 200701                                     HELENA              MT           59620                                  PAYMENT FOR SERVICES      12/27/2018             $413.75
MONTANA FISH, WILDLIFE &
PARKS                      1420 EAST SIXTH AVENUE     PO BOX 200701                                     HELENA              MT           59620                                  PAYMENT FOR SERVICES         1/3/2019             $37.00
MONTANA FISH, WILDLIFE &
PARKS                      1420 EAST SIXTH AVENUE     PO BOX 200701                                     HELENA              MT           59620                                  PAYMENT FOR SERVICES       1/10/2019             $256.00
MONTE ROUGEMONT            BOX 71                                                                       ROSLYN              SD           57261                                  SUPPLIERS OR VENDORS      11/12/2018              $12.16
MONTE WELLS                514 10TH STREET                                                              CLARKSTON           WA           99403                                  SUPPLIERS OR VENDORS      12/10/2018             $150.00
                           400 CONTINENTAL BLVD STE
MOOSE TOYS LLC             6118 6TH FL                                                                  EL SEGUNDO          CA           90245                                  SUPPLIERS OR VENDORS      11/13/2018          $31,370.91
                           400 CONTINENTAL BLVD STE
MOOSE TOYS LLC             6118 6TH FL                                                                  EL SEGUNDO          CA           90245                                  SUPPLIERS OR VENDORS      11/27/2018            $8,080.24
MOOVIN MILK                VICE PRESIDENT OF SALES    PO BOX 944                                        LIBBY               MT           59923-9327                             SUPPLIERS OR VENDORS       11/8/2018               $55.64
MOOVIN MILK                VICE PRESIDENT OF SALES    PO BOX 944                                        LIBBY               MT           59923-9327                             SUPPLIERS OR VENDORS      11/15/2018              $131.04
MOOVIN MILK                VICE PRESIDENT OF SALES    PO BOX 944                                        LIBBY               MT           59923-9327                             SUPPLIERS OR VENDORS      11/29/2018              $132.75
MORELLIS DISTRIBUTING      PO BOX 1517                PAM TO ORACLE                                     MINOT               ND           58702-1517                             SUPPLIERS OR VENDORS      10/18/2018              $840.10
MORELLIS DISTRIBUTING      PO BOX 1517                PAM TO ORACLE                                     MINOT               ND           58702-1517                             SUPPLIERS OR VENDORS      11/15/2018              $311.20
MORELLIS DISTRIBUTING      PO BOX 1517                PAM TO ORACLE                                     MINOT               ND           58702-1517                             SUPPLIERS OR VENDORS      12/20/2018              $657.20
MORGAN BLOOM               STORE 2-753                SHOPKO EMPLOYEE        2701 HWY 18 WEST           HOT SPRINGS         SD           57747                                  SUPPLIERS OR VENDORS      11/15/2018               $32.19
MORGAN BLOOM               STORE 2-753                SHOPKO EMPLOYEE        2701 HWY 18 WEST           HOT SPRINGS         SD           57747                                  SUPPLIERS OR VENDORS      12/13/2018               $22.75
MORGAN COUNTY HEALTH
DEPARTMENT                 345 W STATE STREET                                                           JACKSONVILLE        IL           62650                                  SUPPLIERS OR VENDORS      12/14/2018             $125.00
MORGAN FLENORY             423 MEADOW WIND DR                                                           GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS      11/14/2018              $44.00
MORGAN JOHNSTON            STORE 2-661                SHOPKO EMPLOYEE        500 PLAZA DRIVE            WEST POINT          NE           68788                                  SUPPLIERS OR VENDORS      11/15/2018              $24.53
MORGAN LEWIS & BOCKIUS
LLP                        COUNSELORS AT LAW          PO BOX 8500 S-6050                                PHILADELPHIA        PA           19178-6050                             SUPPLIERS OR VENDORS       11/2/2018         $106,953.95
MORGAN LEWIS & BOCKIUS
LLP                        COUNSELORS AT LAW          PO BOX 8500 S-6050                                PHILADELPHIA        PA           19178-6050                             SUPPLIERS OR VENDORS      11/27/2018          $88,240.80
MORGAN MILLER              STORE 2-112                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/26/2018             $644.02
MORGAN MILLER              STORE 2-112                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/14/2018             $246.65



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MORGAN SANWICK           218 N MAIN ST                                                                  ORFORDVILLE         WI           53576                                  SUPPLIERS OR VENDORS         12/5/2018               $25.00
MORRELL HARRIS           1232 SPRINGSHIRE LN.                                                           MURRAY              UT           84123                                  SUPPLIERS OR VENDORS        10/25/2018               $42.00
MORRIS COOP ASSN         1000 ATLANTIC AVENUE                                                           MORRIS              MN           56267                                  SUPPLIERS OR VENDORS        11/29/2018              $100.00

MORRIS MEDIA OF MONROE 1065 4TH AVE WEST                                                                MONROE              WI           53566                                  SUPPLIERS OR VENDORS        11/1/2018              $124.52

MORRIS MEDIA OF MONROE 1065 4TH AVE WEST                                                                MONROE              WI           53566                                  SUPPLIERS OR VENDORS       12/17/2018               $66.00
                       1112 SOUTH COMMERCIAL
MORTON SAFETY LLC      STREET                                                                           NEENAH              WI           54956                                  SUPPLIERS OR VENDORS       12/17/2018              $464.90
                                                      444 WEST LAKE STREET
MORTON SALT COMPANY      VICE PRESIDENT OF SALES      STE 3000                                          CHICAGO             IL           60606-0000                             SUPPLIERS OR VENDORS       10/18/2018            $6,739.10
                                                      444 WEST LAKE STREET
MORTON SALT COMPANY      VICE PRESIDENT OF SALES      STE 3000                                          CHICAGO             IL           60606-0000                             SUPPLIERS OR VENDORS       10/25/2018            $9,851.94
                                                      444 WEST LAKE STREET
MORTON SALT COMPANY      VICE PRESIDENT OF SALES      STE 3000                                          CHICAGO             IL           60606-0000                             SUPPLIERS OR VENDORS        11/1/2018           $21,538.44
                                                      444 WEST LAKE STREET
MORTON SALT COMPANY      VICE PRESIDENT OF SALES      STE 3000                                          CHICAGO             IL           60606-0000                             SUPPLIERS OR VENDORS        11/8/2018           $10,684.80
                                                      444 WEST LAKE STREET
MORTON SALT COMPANY      VICE PRESIDENT OF SALES      STE 3000                                          CHICAGO             IL           60606-0000                             SUPPLIERS OR VENDORS       11/15/2018           $10,314.35
                                                      444 WEST LAKE STREET
MORTON SALT COMPANY      VICE PRESIDENT OF SALES      STE 3000                                          CHICAGO             IL           60606-0000                             SUPPLIERS OR VENDORS       11/22/2018           $67,020.03
                                                      444 WEST LAKE STREET
MORTON SALT COMPANY      VICE PRESIDENT OF SALES      STE 3000                                          CHICAGO             IL           60606-0000                             SUPPLIERS OR VENDORS       11/29/2018           $25,915.68

MOSS ROOFING &
INSULATION INCORPORATED 310 HIGHWAY 150 S             PAM TO ORACLE                                     WEST UNION          IA           52175                                  SUPPLIERS OR VENDORS       10/25/2018           $58,094.10

MOSS ROOFING &
INSULATION INCORPORATED 310 HIGHWAY 150 S             PAM TO ORACLE                                     WEST UNION          IA           52175                                  SUPPLIERS OR VENDORS       11/13/2018           $39,754.80

MOSS ROOFING &
INSULATION INCORPORATED 310 HIGHWAY 150 S             PAM TO ORACLE                                     WEST UNION          IA           52175                                  SUPPLIERS OR VENDORS       11/15/2018           $71,397.90

MOSS ROOFING &
INSULATION INCORPORATED 310 HIGHWAY 150 S             PAM TO ORACLE                                     WEST UNION          IA           52175                                  SUPPLIERS OR VENDORS       11/27/2018          $151,607.18

MOSS ROOFING &
INSULATION INCORPORATED 310 HIGHWAY 150 S             PAM TO ORACLE                                     WEST UNION          IA           52175                                  SUPPLIERS OR VENDORS       11/29/2018           $14,388.00

MOULTON BELLINGHAM PC PO BOX 2559                                                                       BILLINGS            MT           59103-2559                             SUPPLIERS OR VENDORS        11/1/2018            $1,504.00

MOULTON BELLINGHAM PC PO BOX 2559                                                                       BILLINGS            MT           59103-2559                             SUPPLIERS OR VENDORS       11/29/2018           $12,711.79

MOUNTAIN TOP LAWN CARE   1095 HOMERUN                                                                   CHUBBUCK            ID           83202                                  SUPPLIERS OR VENDORS        11/1/2018              $480.00
MOW JOES LAWN CARE       2711 S MEADOW LARK LN                                                          HOLMEN              WI           54636                                  SUPPLIERS OR VENDORS       10/19/2018              $422.00
MOXIE GROUP
INCORPORATED             8005 MAIN STREET STE 15                                                        DEXTER              MI           48130                                  SUPPLIERS OR VENDORS       11/16/2018           $84,000.00
MOXIE GROUP
INCORPORATED             8005 MAIN STREET STE 15                                                        DEXTER              MI           48130                                  SUPPLIERS OR VENDORS       12/14/2018           $84,000.00

MP FACTOR LLC            400 N MICHIGAN AVE STE 700                                                     CHICAGO             IL           60611                                  SUPPLIERS OR VENDORS       10/18/2018            $5,255.90

MP FACTOR LLC            400 N MICHIGAN AVE STE 700                                                     CHICAGO             IL           60611                                  SUPPLIERS OR VENDORS       11/15/2018            $4,050.00




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MP FACTOR LLC            400 N MICHIGAN AVE STE 700                                                     CHICAGO             IL           60611                                  SUPPLIERS OR VENDORS      11/29/2018           $6,300.00

MR BAR B Q INCORPORATED VICE PRESIDENT OF SALES       445 WINDING ROAD                                  BETHPAGE            NY           11804                                  SUPPLIERS OR VENDORS      10/25/2018         $15,870.50

MR BAR B Q INCORPORATED VICE PRESIDENT OF SALES       445 WINDING ROAD                                  BETHPAGE            NY           11804                                  SUPPLIERS OR VENDORS       11/1/2018           $5,354.50

MR BAR B Q INCORPORATED VICE PRESIDENT OF SALES       445 WINDING ROAD                                  BETHPAGE            NY           11804                                  SUPPLIERS OR VENDORS       11/8/2018           $4,238.50

MR BAR B Q INCORPORATED VICE PRESIDENT OF SALES       445 WINDING ROAD                                  BETHPAGE            NY           11804                                  SUPPLIERS OR VENDORS      11/29/2018         $16,210.50

MR DS LANDSCAPING        DENNIS KERCHNER              547 N ISLAND AVENUE                               FREEPORT            IL           61032                                  SUPPLIERS OR VENDORS       11/1/2018            $710.00
MR GOODCENTS SUBS &
PASTAS                   JBSR INCORPORATED            7510 GLYNOAKS DRIVE                               LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS      10/30/2018            $137.66
MR LANDSCAPE NURSERY &
GARDEN CENTER            RICK HADFIELD                113 ROCK BLUFF ROAD                               PLATTSMOUTH         NE           68048                                  SUPPLIERS OR VENDORS      10/25/2018            $300.00
MRG LIMITED              3003 N MERCER STREET                                                           NEW CASTLE          PA           16105-0000                             SUPPLIERS OR VENDORS       11/1/2018         $10,726.58
MRG LIMITED              3003 N MERCER STREET                                                           NEW CASTLE          PA           16105-0000                             SUPPLIERS OR VENDORS       12/1/2018         $10,726.58
MS BUBBLES               VICE PRESIDENT OF SALES      2731 S ALAMEDA                                    LOS ANGELES         CA           90058-1311                             SUPPLIERS OR VENDORS      10/19/2018         $75,848.73
MS BUBBLES               VICE PRESIDENT OF SALES      2731 S ALAMEDA                                    LOS ANGELES         CA           90058-1311                             SUPPLIERS OR VENDORS      10/25/2018         $12,160.00
MS BUBBLES               VICE PRESIDENT OF SALES      2731 S ALAMEDA                                    LOS ANGELES         CA           90058-1311                             SUPPLIERS OR VENDORS      11/23/2018         $46,080.60
MS BUBBLES               VICE PRESIDENT OF SALES      2731 S ALAMEDA                                    LOS ANGELES         CA           90058-1311                             SUPPLIERS OR VENDORS      11/29/2018          $4,752.00
MS BUBBLES               VICE PRESIDENT OF SALES      2731 S ALAMEDA                                    LOS ANGELES         CA           90058-1311                             SUPPLIERS OR VENDORS      11/30/2018            $236.80
                                                                                                                                                                                PURCHASE OF
MS BUBBLES INCORPORATED 2731 SOUTH ALAMEDA STREET                                                       LOS ANGELES         CA           90058                                  MERCHANDISE               10/19/2018        $144,289.50

MSRF INCORPORATED        VICE PRESIDENT OF SALES      3319 N ELSTON AVENUE                              CHICAGO             IL           60618                                  SUPPLIERS OR VENDORS      11/15/2018         $99,721.05
MT CARMEL PUBLIC
UTILITIES                PO BOX 220                   PAM TO ORACLE                                     MT CARMEL           IL           62863                                  SUPPLIERS OR VENDORS      11/26/2018           $1,500.00
MULTI GLORY USA                                       11345 FELLOW CREEK
CORPORATION              VICE PRESIDENT OF SALES      DR                                                PLYMOUTH            MI           48170-0000                             SUPPLIERS OR VENDORS      10/22/2018           $2,450.45
MULTI GLORY USA                                       11345 FELLOW CREEK
CORPORATION              VICE PRESIDENT OF SALES      DR                                                PLYMOUTH            MI           48170-0000                             SUPPLIERS OR VENDORS      10/23/2018         $10,177.72
MULTI GLORY USA                                       11345 FELLOW CREEK
CORPORATION              VICE PRESIDENT OF SALES      DR                                                PLYMOUTH            MI           48170-0000                             SUPPLIERS OR VENDORS      10/29/2018           $1,481.20
MULTI GLORY USA                                       11345 FELLOW CREEK
CORPORATION              VICE PRESIDENT OF SALES      DR                                                PLYMOUTH            MI           48170-0000                             SUPPLIERS OR VENDORS      10/30/2018            $471.28
MULTI GLORY USA                                       11345 FELLOW CREEK
CORPORATION              VICE PRESIDENT OF SALES      DR                                                PLYMOUTH            MI           48170-0000                             SUPPLIERS OR VENDORS       11/6/2018            $809.60
MULTI GLORY USA                                       11345 FELLOW CREEK
CORPORATION              VICE PRESIDENT OF SALES      DR                                                PLYMOUTH            MI           48170-0000                             SUPPLIERS OR VENDORS      11/13/2018            $985.96
MULTI GLORY USA                                       11345 FELLOW CREEK
CORPORATION              VICE PRESIDENT OF SALES      DR                                                PLYMOUTH            MI           48170-0000                             SUPPLIERS OR VENDORS      11/16/2018         $11,372.32
MULTI GLORY USA                                       11345 FELLOW CREEK
CORPORATION              VICE PRESIDENT OF SALES      DR                                                PLYMOUTH            MI           48170-0000                             SUPPLIERS OR VENDORS      11/22/2018         $17,109.16
MULTI GLORY USA                                       11345 FELLOW CREEK
CORPORATION              VICE PRESIDENT OF SALES      DR                                                PLYMOUTH            MI           48170-0000                             SUPPLIERS OR VENDORS      11/29/2018            $523.20
MULTI GLORY USA                                       11345 FELLOW CREEK
CORPORATION              VICE PRESIDENT OF SALES      DR                                                PLYMOUTH            MI           48170-0000                             SUPPLIERS OR VENDORS      11/30/2018           $2,647.56
MULTI GLORY USA                                       11345 FELLOW CREEK
CORPORATION              VICE PRESIDENT OF SALES      DR                                                PLYMOUTH            MI           48170-0000                             SUPPLIERS OR VENDORS       12/3/2018            $422.40
MULTIPET INTERNATIONAL   265 WEST COMMERCIAL
INC                      AVENUE                                                                         MOONACHIE           NJ           07074-0000                             SUPPLIERS OR VENDORS      10/18/2018           $2,549.62




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                                                                                                                                                                                Reasons for payment or    Dates of    Total Amount or
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MULTIPET INTERNATIONAL   265 WEST COMMERCIAL
INC                      AVENUE                                                                        MOONACHIE           NJ           07074-0000                             SUPPLIERS OR VENDORS      10/25/2018           $7,525.73
MULTIPET INTERNATIONAL   265 WEST COMMERCIAL
INC                      AVENUE                                                                        MOONACHIE           NJ           07074-0000                             SUPPLIERS OR VENDORS       11/1/2018           $3,782.39
MULTIPET INTERNATIONAL   265 WEST COMMERCIAL
INC                      AVENUE                                                                        MOONACHIE           NJ           07074-0000                             SUPPLIERS OR VENDORS       11/8/2018           $1,413.07
MULTIPET INTERNATIONAL   265 WEST COMMERCIAL
INC                      AVENUE                                                                        MOONACHIE           NJ           07074-0000                             SUPPLIERS OR VENDORS      11/15/2018           $1,537.24
MULTIPET INTERNATIONAL   265 WEST COMMERCIAL
INC                      AVENUE                                                                        MOONACHIE           NJ           07074-0000                             SUPPLIERS OR VENDORS      11/29/2018         $23,367.71
MUNCHKIN INC             VICE PRESIDENT OF SALES     7835 GLORIA AVENUE                                VAN NUYS            CA           91406-0000                             SUPPLIERS OR VENDORS      10/19/2018          $2,290.64
MUNCHKIN INC             VICE PRESIDENT OF SALES     7835 GLORIA AVENUE                                VAN NUYS            CA           91406-0000                             SUPPLIERS OR VENDORS      10/26/2018         $20,934.66
MUNCHKIN INC             VICE PRESIDENT OF SALES     7835 GLORIA AVENUE                                VAN NUYS            CA           91406-0000                             SUPPLIERS OR VENDORS       11/2/2018          $9,550.80
MUNCHKIN INC             VICE PRESIDENT OF SALES     7835 GLORIA AVENUE                                VAN NUYS            CA           91406-0000                             SUPPLIERS OR VENDORS       11/9/2018         $11,272.40
MUNCHKIN INC             VICE PRESIDENT OF SALES     7835 GLORIA AVENUE                                VAN NUYS            CA           91406-0000                             SUPPLIERS OR VENDORS      11/16/2018          $6,562.06
MUNCHKIN INC             VICE PRESIDENT OF SALES     7835 GLORIA AVENUE                                VAN NUYS            CA           91406-0000                             SUPPLIERS OR VENDORS      11/30/2018         $53,099.86
MUNRO BUILDERS SUPPLY
INCORPORATED             103 WEST MAIN               PO BOX 130                                        ROLLA               ND           58367                                  SUPPLIERS OR VENDORS      12/13/2018            $100.00
MURIEL GRAHAM            340 GRANT AVENUE                                                              CRYSTAL FALLS       MI           49920                                  SUPPLIERS OR VENDORS      11/26/2018             $39.04
MURPHY PAVEMENT
TECHNOLOGY
INCORPORATED             7649 S STATE STREET                                                           CHICAGO             IL           60619                                  SUPPLIERS OR VENDORS       11/9/2018           $4,480.00
MUST GARMENT             20TH FLOOR, KWONG SANG                                                                                                                                PURCHASE OF
CORPORATION              HONG CTR                    151-153 HOI BUN ROAD KWUN TONG                    KOWLOON                                       HONG KONG                 MERCHANDISE               11/27/2018         $89,042.10
MUST GARMENT             20TH FLOOR, KWONG SANG                                                                                                                                PURCHASE OF
CORPORATION              HONG CTR                    151-153 HOI BUN ROAD                              KOWLOON                                       HONG KONG                 MERCHANDISE               12/18/2018        $252,033.12
                         8 MEDICARE SUPPLEMENT       MUTUAL OF OMAHA
MUTAL OF OMAHA           CLAIMS DEPT                 PLAZA                                             OMAHA               NE           68175                                  SUPPLIERS OR VENDORS      12/10/2018             $54.75
MYKENZI MEIKE            STORE 2-669                 SHOPKO EMPLOYEE      PO BOX 271                   OELWEIN             IA           50662                                  SUPPLIERS OR VENDORS      11/15/2018             $27.80
MYRA KLUVER              23552 CTY RD 35                                                               RUSHMORE            MN           56168                                  SUPPLIERS OR VENDORS      12/13/2018             $66.30
MYRNA KOKALES            411 17TH AVE. N E                                                             ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       12/7/2018             $48.64
MYRNA STIEBER            3646 W STREET                                                                 LINCOLN             NE           68503                                  SUPPLIERS OR VENDORS      11/12/2018             $13.15
MYRNA STIEBER            3646 W STREET                                                                 LINCOLN             NE           68503                                  SUPPLIERS OR VENDORS      11/26/2018             $60.85
MYRON SCHOPP             215 11TH ST.                                                                  IPSWICH             SD           57451                                  SUPPLIERS OR VENDORS       12/7/2018             $48.64
MYRON SCHOPP             215 11TH ST.                                                                  IPSWICH             SD           57451                                  SUPPLIERS OR VENDORS      12/17/2018             $12.16
MYRON TUCKER             4019 KINZIE AVE                                                               RACINE              WI           53405                                  SUPPLIERS OR VENDORS      12/21/2018              $3.00
N I I NORTHERN
INTERNATIONAL INC        1 BURBIDGE STREET STE 101                                                     COQUITLAM           BC           V3K 7B2      CANADA                    SUPPLIERS OR VENDORS      11/15/2018         $16,459.28
N I I NORTHERN
INTERNATIONAL INC        1 BURBIDGE STREET STE 101                                                     COQUITLAM           BC           V3K 7B2      CANADA                    SUPPLIERS OR VENDORS      11/22/2018           $8,046.64
N I I NORTHERN
INTERNATIONAL INC        1 BURBIDGE STREET STE 101                                                     COQUITLAM           BC           V3K 7B2      CANADA                    SUPPLIERS OR VENDORS      11/29/2018           $3,049.81
                         J KIRSHENBAUM & H NODDLE
N&K INVESTMENT CO        PTR                         PO BOX 24169                                      OMAHA               NE           68124-0169                             SUPPLIERS OR VENDORS       11/1/2018         $11,675.12
                         J KIRSHENBAUM & H NODDLE
N&K INVESTMENT CO        PTR                         PO BOX 24169                                      OMAHA               NE           68124-0169                             SUPPLIERS OR VENDORS       11/9/2018               $1.00
                         J KIRSHENBAUM & H NODDLE
N&K INVESTMENT CO        PTR                         PO BOX 24169                                      OMAHA               NE           68124-0169                             SUPPLIERS OR VENDORS       12/1/2018         $11,675.12
NADIA DOMINGUEZ          706 S HIGH POINT RD # 328                                                     MADISON             WI           53719                                  SUPPLIERS OR VENDORS      11/26/2018             $25.00
NADJA SHERRY             6105 FRANKLEN ST                                                              OMAHA               NE           68104                                  SUPPLIERS OR VENDORS      12/13/2018              $2.00
NADJA SHERRY             6105 FRANKLEN ST                                                              OMAHA               NE           68104                                  SUPPLIERS OR VENDORS      12/13/2018              $2.00
NAHOMIE DORELUS          STORE 054                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/18/2018            $142.89
NAI XIONG                2012 S 22ST                                                                   SHEBOYGAN           WI           53081                                  SUPPLIERS OR VENDORS      11/28/2018             $23.00
NAKOMA PRODUCTS LLC      8407 SOUTH 77TH AVE                                                           BRIDGEVIEW          IL           60455                                  SUPPLIERS OR VENDORS      10/18/2018            $871.63



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                                                                                                                                                                                  Reasons for payment or    Dates of     Total Amount or
      Creditor Name             Address1                     Address2                 Address3                City               State       Zip              Country                    transfer          Payments            Value
NAKOMA PRODUCTS LLC    8407 SOUTH 77TH AVE                                                              BRIDGEVIEW          IL           60455                                  SUPPLIERS OR VENDORS         11/1/2018            $1,895.65
NAKOMA PRODUCTS LLC    8407 SOUTH 77TH AVE                                                              BRIDGEVIEW          IL           60455                                  SUPPLIERS OR VENDORS        11/22/2018            $1,372.75
NAMPA & MERIDIAN
IRRIGATION             DISTRICT                      1503 1ST STREET S                                  NAMPA               ID           83651                                  SUPPLIERS OR VENDORS       12/13/2018              $469.53
NANCE RAY              6160 OO.25 RD                                                                    GARDEN              MI           49835                                  SUPPLIERS OR VENDORS        12/7/2018              $238.00
NANCEE HOLLENBECK      W3306 ROSS RD                                                                    CAMBRIA             WI           53923                                  SUPPLIERS OR VENDORS       10/26/2018               $25.00
NANCY ANDERSON         2065 WINDSOR CT               APT 6                                              PLOVER              WI           54467                                  SUPPLIERS OR VENDORS       10/22/2018               $40.00
NANCY BROCKER          7131 HWY 67                                                                      KIEL                WI           53042                                  SUPPLIERS OR VENDORS       10/29/2018               $15.00
NANCY CONGER           3368 S LILY PAD LANE          138                                                APPLETON            WI           54915                                  SUPPLIERS OR VENDORS       10/26/2018              $112.71
NANCY CONNORS-GAUL     3038 FLORAL BOULEVARD         SHOPKO EMPLOYEE                                    BUTTE               MT           59701-0000                             SUPPLIERS OR VENDORS        12/6/2018            $3,303.74
NANCY CONRADT          W1693 ECHO VALLEY ROAD                                                           KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS       11/26/2018               $15.00
NANCY DEDECKER         N2918 JENNERJOHN CT                                                              HORTONVILLE         WI           54944                                  SUPPLIERS OR VENDORS       10/24/2018               $40.00
NANCY DEDECKER         N2918 JENNERJOHN CT                                                              HORTONVILLE         WI           54944                                  SUPPLIERS OR VENDORS       11/14/2018               $10.00
NANCY DEKOSTER         504 LEXINGTON                                                                    KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS       10/24/2018               $39.04
NANCY DIEDRICH         N 5093 W CTY A                                                                   PLYMOUTH            WI           53073                                  SUPPLIERS OR VENDORS       12/14/2018               $25.00
NANCY DOOLITTLE        1905 SHERIDAN                                                                    NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS       10/18/2018                $4.60
NANCY DOOLITTLE        1905 SHERIDAN                                                                    NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS       10/29/2018               $18.40
NANCY HANSEN           P O BOX 1941                                                                     LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS       10/19/2018               $51.20
NANCY HART             STORE 2-792                   SHOPKO EMPLOYEE         79 HOMETOWN DRIVE          TOMAHAWK            WI           54487                                  SUPPLIERS OR VENDORS        11/8/2018               $42.55
NANCY HECK             STORE 059                     SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/25/2018              $102.46
NANCY HECK             STORE 059                     SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/6/2018              $151.78
                       PRIVATE BRAND & TREND
NANCY HEREFORD         DIVISION                      SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/15/2018               $24.22
                       PRIVATE BRAND & TREND
NANCY HEREFORD         DIVISION                      SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/27/2018               $63.35
NANCY HETLAND OD       2848 DAILEY DRIVE                                                                MITCHELL            SD           57301                                  SUPPLIERS OR VENDORS       10/19/2018            $6,573.86
NANCY HETLAND OD       2848 DAILEY DRIVE                                                                MITCHELL            SD           57301                                  SUPPLIERS OR VENDORS        11/2/2018            $6,122.84
NANCY HETLAND OD       2848 DAILEY DRIVE                                                                MITCHELL            SD           57301                                  SUPPLIERS OR VENDORS       11/16/2018            $4,377.47
NANCY HETLAND OD       2848 DAILEY DRIVE                                                                MITCHELL            SD           57301                                  SUPPLIERS OR VENDORS       11/30/2018            $5,936.57
NANCY HETLAND OD       2848 DAILEY DRIVE                                                                MITCHELL            SD           57301                                  SUPPLIERS OR VENDORS       12/14/2018            $4,360.24
NANCY HETLAND OD       2848 DAILEY DRIVE                                                                MITCHELL            SD           57301                                  SUPPLIERS OR VENDORS       12/29/2018            $6,536.16
NANCY HETLAND OD       2848 DAILEY DRIVE                                                                MITCHELL            SD           57301                                  SUPPLIERS OR VENDORS        1/11/2019            $3,517.48
NANCY HILL             STORE 788                     SHOPKO EMPLOYEE         200 COMMERCE DRIVE         COLUMBUS            WI           53925                                  SUPPLIERS OR VENDORS       12/20/2018               $70.99
NANCY IMM              45420 COTTAGE ROW                                                                CHASSELL            MI           49916                                  SUPPLIERS OR VENDORS       10/29/2018                $9.61
NANCY J FLORES         STORE 694                     SHOPKO EMPLOYEE         PO BOX 720                 ALLIANCE            NE           69301-0720                             SUPPLIERS OR VENDORS       11/15/2018               $18.58

NANCY JACKSON          1321 N 23RD ST APT #B                                                            WISCONSIN RAPIDS    WI           54494                                  SUPPLIERS OR VENDORS       11/29/2018               $44.00
NANCY JANSSEN          STORE 2-748                   SHOPKO EMPLOYEE         1002 7TH STREET SE         PIPESTONE           MN           56164                                  SUPPLIERS OR VENDORS       10/18/2018              $258.88
NANCY JANSSEN          STORE 2-748                   SHOPKO EMPLOYEE         1002 7TH STREET SE         PIPESTONE           MN           56164                                  SUPPLIERS OR VENDORS       12/20/2018              $238.71
NANCY KAETTERHENRY     106A W 11TH ST                                                                   MARSHFIELD          WI           54449                                  SUPPLIERS OR VENDORS       11/14/2018               $20.00
NANCY KOPISCHKE        1950 SEWELL                                                                      LINCOLN             NE           68502                                  SUPPLIERS OR VENDORS        11/1/2018              $131.07
NANCY KUTSCHENREUTER   707 WEST STREET                                                                  BEAVER DAM          WI           53916                                  SUPPLIERS OR VENDORS       12/17/2018               $51.00

NANCY LANCOUR          1823 26TH ST N                                                                   WISCONSIN RAPIDS    WI           54494                                  SUPPLIERS OR VENDORS        12/7/2018               $50.00
NANCY LEIBEL           3308 S HARMONY DR                                                                SIOUX FALLS         SD           57110                                  SUPPLIERS OR VENDORS       11/26/2018              $103.99
NANCY LUTHARDT         201 NORMANDY PLACE                                                               KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS       12/19/2018               $32.00
NANCY MCCULLOUGH       13043 COUNTY ROAD 9                                                              EYOTA               MN           55934                                  SUPPLIERS OR VENDORS       12/18/2018              $855.96
NANCY MCGOVERN         7936 42 AVE                                                                      KENOSHA             WI           53142                                  SUPPLIERS OR VENDORS        12/5/2018               $25.00
                                                                                                        MILTON-
NANCY MEYERS           53785 W CROCKETT RD SPACE 4                                                      FREEWATER           OR           97862                                  SUPPLIERS OR VENDORS       11/28/2018               $13.60
                                                                                                        MILTON-
NANCY MEYERS           53785 W CROCKETT RD SPACE 4                                                      FREEWATER           OR           97862                                  SUPPLIERS OR VENDORS        12/7/2018               $54.40
NANCY MIKESELL         1105 MAIZE ROAD                                                                  COLBY               KS           67701                                  SUPPLIERS OR VENDORS        11/5/2018               $62.55
NANCY MILLER           1601 PLYMOUTH RD                                                                 MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS       10/24/2018               $48.00



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                                                                                                                                                                                Reasons for payment or    Dates of     Total Amount or
      Creditor Name                Address1               Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
NANCY MILLER            1601 PLYMOUTH RD                                                              MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS         11/1/2018               $12.00
NANCY MORRIS            614 NO 58TH AVE                                                               YAKIMA              WA           98908                                  SUPPLIERS OR VENDORS        11/12/2018                $5.00
NANCY NELSON            1015 CIRCLE DRIVE #105                                                        ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS        11/26/2018               $48.64
NANCY PELINI            STORE 2-523                SHOPKO EMPLOYEE         525 E HWY 20               VALENTINE           NE           69201-2115                             SUPPLIERS OR VENDORS         11/8/2018               $50.14
NANCY PELINI            STORE 2-523                SHOPKO EMPLOYEE         525 E HWY 20               VALENTINE           NE           69201-2115                             SUPPLIERS OR VENDORS        11/15/2018              $608.62
NANCY PELINI            STORE 2-523                SHOPKO EMPLOYEE         525 E HWY 20               VALENTINE           NE           69201-2115                             SUPPLIERS OR VENDORS        12/20/2018              $250.70
NANCY PLECHA            1126 16TH AVE                                                                 ARKDALE             WI           54613                                  SUPPLIERS OR VENDORS        11/28/2018               $23.76
NANCY STERR             266, LAWRENCE AVE                                                             N FOND DU LAC       WI           54937                                  SUPPLIERS OR VENDORS         11/2/2018               $25.00
NANCY THELEN            N1504 SUPER DRIVE                                                             CAMPBELLSPORT       WI           53010                                  SUPPLIERS OR VENDORS        10/18/2018               $25.00
NANCY WAISANEN          PO BOX 84                                                                     DOLLAR BAY          MI           49922                                  SUPPLIERS OR VENDORS         11/5/2018                $9.60
NANCY WAISANEN          PO BOX 84                                                                     DOLLAR BAY          MI           49922                                  SUPPLIERS OR VENDORS         11/5/2018               $38.40
NANCY WATTON            1117 THERBROOK ST                                                             CHIPPEWA FALLS      WI           54729                                  SUPPLIERS OR VENDORS         11/5/2018               $66.00
NANCY WURM              310 TYLER STREET                                                              BENNET              NE           68317                                  SUPPLIERS OR VENDORS        10/18/2018               $13.15
NANCY ZADRAZIL          1588 ORCHID LANE                                                              GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS         11/9/2018               $61.00
NANNETTE TITUS          4302 K RD                                                                     BARK RIVER          MI           49807                                  SUPPLIERS OR VENDORS         12/7/2018               $20.00
NAOMI BACKUS            1129 COLLEEN LANE                                                             DE PERE             WI           54115                                  SUPPLIERS OR VENDORS        10/18/2018                $3.27
NAOMI LUNDIN            STORE 2-740                SHOPKO EMPLOYEE         116 EAST STATE HWY 28      MORRIS              MN           56267                                  SUPPLIERS OR VENDORS         11/8/2018               $25.07
NAOMI LUNDIN            STORE 2-740                SHOPKO EMPLOYEE         116 EAST STATE HWY 28      MORRIS              MN           56267                                  SUPPLIERS OR VENDORS         12/6/2018               $18.09
NARD BURNS              512 DAM VIEW                                                                  BOX ELDER           SD           57719                                  SUPPLIERS OR VENDORS        12/10/2018               $25.00

NATALIE COOPER          343 EAST OLD SAY BROOK DRIVE                                                  BOISE               ID           83706                                  SUPPLIERS OR VENDORS       12/21/2018               $15.00
NATALIE GARCIA          7108 APPALOOSA DR                                                             SALT LAKE CITY      UT           84128                                  SUPPLIERS OR VENDORS       11/28/2018               $75.00
NATALIE GUST            6866 W. CREST ST                                                              SALT LAKE CITY      UT           84128                                  SUPPLIERS OR VENDORS        11/5/2018               $36.00
NATASHA TAYLOR          STORE 4-504                  SHOPKO EMPLOYEE       W3208 VAN ROY ROAD         APPLETON            WI           54915-4086                             SUPPLIERS OR VENDORS       10/25/2018               $40.33
NATE BLAZEJEWSKI        STORE SERVICES               SHOPKO EMPLOYEE                                  GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/8/2018              $460.22

NATE MALCOM             STORE OPERATIONS/ STORE 056 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/25/2018              $430.03

NATE MALCOM             STORE OPERATIONS/ STORE 056 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/1/2018              $298.16

NATE MALCOM             STORE OPERATIONS/ STORE 056 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/22/2018              $300.93

NATE MALCOM             STORE OPERATIONS/ STORE 056 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/29/2018              $194.72

NATE MALCOM             STORE OPERATIONS/ STORE 056 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/27/2018              $424.15

NATERRA INTERNATIONAL
INCORPORATED            1250 FREEPORT PARKWAY                                                         COPPELL             TX           75019                                  SUPPLIERS OR VENDORS        11/1/2018            $1,090.49

NATERRA INTERNATIONAL
INCORPORATED            1250 FREEPORT PARKWAY                                                         COPPELL             TX           75019                                  SUPPLIERS OR VENDORS       11/22/2018              $623.72
NATHAN BERG             1315 PROMENCE                                                                 JANESVILLE          WI           53548                                  SUPPLIERS OR VENDORS       10/19/2018               $27.75
NATHAN BERTUCCI         STORE 2-033                SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/22/2018              $170.97
NATHAN BERTUCCI         STORE 2-033                SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/20/2018               $90.47
NATHAN FUSON            1103 WASHINGTON AVE                                                           ESCANABA            MI           49829                                  SUPPLIERS OR VENDORS        12/7/2018               $11.00
NATHAN HAMMITT          STORE 791                  SHOPKO EMPLOYEE         616 E US HWY 9             FOREST CITY         IA           50436                                  SUPPLIERS OR VENDORS       10/18/2018              $230.51
NATHAN HAMMITT          STORE 791                  SHOPKO EMPLOYEE         616 E US HWY 9             FOREST CITY         IA           50436                                  SUPPLIERS OR VENDORS       10/25/2018              $230.14
NATHAN HAMMITT          STORE 791                  SHOPKO EMPLOYEE         616 E US HWY 9             FOREST CITY         IA           50436                                  SUPPLIERS OR VENDORS       11/15/2018              $279.24
NATHAN HAMMITT          STORE 791                  SHOPKO EMPLOYEE         616 E US HWY 9             FOREST CITY         IA           50436                                  SUPPLIERS OR VENDORS       11/22/2018               $73.03
NATHAN HAMMITT          STORE 791                  SHOPKO EMPLOYEE         616 E US HWY 9             FOREST CITY         IA           50436                                  SUPPLIERS OR VENDORS       12/13/2018              $290.98

NATHAN HIDDE            4508 N PROVIDENCE AVE APT 4                                                   APPLETON            WI           54913                                  SUPPLIERS OR VENDORS       10/22/2018               $34.00
NATHAN LENGUYEN         STORE 2-108                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/29/2018               $19.62
NATHAN MUNLEY           STORE 669                   SHOPKO EMPLOYEE        PO BOX 271                 OELWEIN             IA           50662                                  SUPPLIERS OR VENDORS        11/1/2018               $99.19



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                                                                                                                                                                               Reasons for payment or    Dates of     Total Amount or
      Creditor Name                Address1               Address2                 Address3                 City              State       Zip              Country                    transfer          Payments            Value
NATHAN WARDLE            4869 W. OKANOGAN LN                                                         SOUTH JORDAN        UT           84009                                  SUPPLIERS OR VENDORS         12/7/2018                $5.00
NATHANAEL RISTOW         13495 W FOUNTAIN DRIVE    #206                                              NEW BERLIN          WI           53151                                  SUPPLIERS OR VENDORS        10/26/2018               $20.80
NATHANAEL RISTOW         13495 W FOUNTAIN DRIVE    #206                                              NEW BERLIN          WI           53151                                  SUPPLIERS OR VENDORS        10/26/2018               $30.00
NATIONAL CAR RENTAL
INCORPORATED             PO BOX 402334                                                               ATLANTA             GA           30384                                  SUPPLIERS OR VENDORS       11/12/2018              $107.49
NATIONAL CAR RENTAL
INCORPORATED             PO BOX 402334                                                               ATLANTA             GA           30384                                  SUPPLIERS OR VENDORS       12/11/2018               $55.12
NATIONAL ELEVATOR
INSPECTION SERVICES      PO BOX 503067                                                               ST LOUIS            MO           63150-3067                             SUPPLIERS OR VENDORS        11/1/2018               $88.00
NATIONAL ELEVATOR
INSPECTION SERVICES      PO BOX 503067                                                               ST LOUIS            MO           63150-3067                             SUPPLIERS OR VENDORS       12/17/2018              $235.00
NATIONAL HEALTH
INFORMATION              NETWORK INCORPORATED      ACCOUNTS RECEIVABLE PO BOX 227216                 DALLAS              TX           75222-7216                             SUPPLIERS OR VENDORS        11/1/2018           $16,865.91
NATIONAL HEALTH
INFORMATION              NETWORK INCORPORATED      ACCOUNTS RECEIVABLE PO BOX 227216                 DALLAS              TX           75222-7216                             SUPPLIERS OR VENDORS       11/15/2018            $4,362.46
NATIONAL HEALTH
INFORMATION              NETWORK INCORPORATED      ACCOUNTS RECEIVABLE PO BOX 227216                 DALLAS              TX           75222-7216                             SUPPLIERS OR VENDORS         1/4/2019           $15,474.67
NATIONAL LAUNDRY
COMPANY                  700 CRESCENT CIRCLE                                                         GREAT FALLS         MT           59404-3210                             SUPPLIERS OR VENDORS       10/19/2018               $95.85
NATIONAL LAUNDRY
COMPANY                  700 CRESCENT CIRCLE                                                         GREAT FALLS         MT           59404-3210                             SUPPLIERS OR VENDORS       11/16/2018              $174.47

NATIONAL PRESTO
INDUSTRIES INCORPORATED VICE PRESIDENT OF SALES    3925 N HASTINGS WAY                               EAU CLAIR           WI           54703-3703                             SUPPLIERS OR VENDORS       10/25/2018            $3,812.97

NATIONAL PRESTO
INDUSTRIES INCORPORATED VICE PRESIDENT OF SALES    3925 N HASTINGS WAY                               EAU CLAIR           WI           54703-3703                             SUPPLIERS OR VENDORS        11/1/2018           $35,893.64

NATIONAL PRESTO
INDUSTRIES INCORPORATED VICE PRESIDENT OF SALES    3925 N HASTINGS WAY                               EAU CLAIR           WI           54703-3703                             SUPPLIERS OR VENDORS        11/8/2018            $2,942.40

NATIONAL PRESTO
INDUSTRIES INCORPORATED VICE PRESIDENT OF SALES    3925 N HASTINGS WAY                               EAU CLAIR           WI           54703-3703                             SUPPLIERS OR VENDORS       11/15/2018            $3,387.72

NATIONAL PRESTO
INDUSTRIES INCORPORATED VICE PRESIDENT OF SALES    3925 N HASTINGS WAY                               EAU CLAIR           WI           54703-3703                             SUPPLIERS OR VENDORS       11/22/2018          $103,877.27

NATIONAL RETAIL BRANDS   SHOPKO STORES             PO BOX 19060           DISC 01/03/07              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/19/2018           $19,542.80

NATIONAL RETAIL BRANDS   SHOPKO STORES             PO BOX 19060           DISC 01/03/07              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/26/2018            $8,669.25

NATIONAL RETAIL BRANDS   SHOPKO STORES             PO BOX 19060           DISC 01/03/07              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/2/2018            $8,100.60

NATIONAL RETAIL BRANDS   SHOPKO STORES             PO BOX 19060           DISC 01/03/07              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/9/2018           $83,072.55

NATIONAL RETAIL BRANDS   SHOPKO STORES             PO BOX 19060           DISC 01/03/07              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/16/2018           $76,922.30

NATIONAL RETAIL BRANDS   SHOPKO STORES             PO BOX 19060           DISC 01/03/07              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/30/2018           $20,593.05
NATIONAL RETAIL
PROPERTIES INC           450 S ORANGE AVENUE 900                                                     ORLANDO             FL           32801                                  SUPPLIERS OR VENDORS        11/1/2018          $217,088.59
NATIONAL RETAIL
PROPERTIES INC           450 S ORANGE AVENUE 900                                                     ORLANDO             FL           32801                                  SUPPLIERS OR VENDORS        12/4/2018          $217,088.59

NATIONAL TREE COMPANY    2 Commerce Drive                                                            Cranford            NJ           07016                                  SUPPLIERS OR VENDORS       10/18/2018              $509.85



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                                                                                                                                                                            Reasons for payment or    Dates of    Total Amount or
     Creditor Name                 Address1            Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value

NATIONAL TREE COMPANY    2 Commerce Drive                                                          Cranford            NJ           07016                                  SUPPLIERS OR VENDORS      10/25/2018           $1,494.77

NATIONAL TREE COMPANY    2 Commerce Drive                                                          Cranford            NJ           07016                                  SUPPLIERS OR VENDORS       11/1/2018           $1,617.60

NATIONAL TREE COMPANY    2 Commerce Drive                                                          Cranford            NJ           07016                                  SUPPLIERS OR VENDORS       11/8/2018            $897.81

NATIONAL TREE COMPANY    2 Commerce Drive                                                          Cranford            NJ           07016                                  SUPPLIERS OR VENDORS      11/15/2018           $3,695.41

NATIONAL TREE COMPANY    2 Commerce Drive                                                          Cranford            NJ           07016                                  SUPPLIERS OR VENDORS      11/22/2018           $2,059.61

NATIONAL TREE COMPANY    2 Commerce Drive                                                          Cranford            NJ           07016                                  SUPPLIERS OR VENDORS      11/29/2018          $4,540.72
NATROL LLC               21411 PRAIRIE STREET                                                      CHATSWORTH          CA           91311-0000                             SUPPLIERS OR VENDORS      10/18/2018          $6,285.43
NATROL LLC               21411 PRAIRIE STREET                                                      CHATSWORTH          CA           91311-0000                             SUPPLIERS OR VENDORS      11/15/2018         $10,313.61

NATURAL BEAUTY GROWERS 3891 SOLUTIONS CENTER                                                       CHICAGO             IL           60677-3008                             SUPPLIERS OR VENDORS      10/18/2018         $22,511.21

NATURAL BEAUTY GROWERS 3891 SOLUTIONS CENTER                                                       CHICAGO             IL           60677-3008                             SUPPLIERS OR VENDORS      10/23/2018        $131,956.31

NATURAL BEAUTY GROWERS 3891 SOLUTIONS CENTER                                                       CHICAGO             IL           60677-3008                             SUPPLIERS OR VENDORS      10/25/2018         $13,335.90

NATURAL BEAUTY GROWERS 3891 SOLUTIONS CENTER                                                       CHICAGO             IL           60677-3008                             SUPPLIERS OR VENDORS      10/30/2018        $118,470.23

NATURAL BEAUTY GROWERS 3891 SOLUTIONS CENTER                                                       CHICAGO             IL           60677-3008                             SUPPLIERS OR VENDORS       11/1/2018           $9,334.52

NATURAL BEAUTY GROWERS 3891 SOLUTIONS CENTER                                                       CHICAGO             IL           60677-3008                             SUPPLIERS OR VENDORS       11/6/2018        $175,325.89

NATURAL BEAUTY GROWERS 3891 SOLUTIONS CENTER                                                       CHICAGO             IL           60677-3008                             SUPPLIERS OR VENDORS       11/8/2018         $10,529.02

NATURAL BEAUTY GROWERS 3891 SOLUTIONS CENTER                                                       CHICAGO             IL           60677-3008                             SUPPLIERS OR VENDORS      11/13/2018         $80,018.03

NATURAL BEAUTY GROWERS 3891 SOLUTIONS CENTER                                                       CHICAGO             IL           60677-3008                             SUPPLIERS OR VENDORS      11/15/2018           $1,625.01

NATURAL BEAUTY GROWERS 3891 SOLUTIONS CENTER                                                       CHICAGO             IL           60677-3008                             SUPPLIERS OR VENDORS      11/27/2018            $165.64

NATURAL BEAUTY GROWERS 3891 SOLUTIONS CENTER                                                       CHICAGO             IL           60677-3008                             SUPPLIERS OR VENDORS      11/27/2018         $25,811.95

NATURAL BEAUTY GROWERS   3891 SOLUTIONS CENTER                                                     CHICAGO             IL           60677-3008                             SUPPLIERS OR VENDORS       12/4/2018          $3,052.46
NAVCHETAN BAL            STORE 4-033             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/22/2018             $61.04
NAVEX GLOBAL INC         PO BOX 60941                                                              CHARLOTTE           NC           28260-0941                             SUPPLIERS OR VENDORS      10/18/2018         $33,600.00
NCC AUTOMATED SYSTEMS
INC                      255 SCHOOLHOUSE ROAD                                                      SOUDERTON           PA           18964                                  SUPPLIERS OR VENDORS      12/14/2018            $210.62
NCSRCC HEALTH FUND       MELISSA REFUNDS         PO BOX 4002                                       EAU CLAIRE          WI           54702                                  SUPPLIERS OR VENDORS      11/12/2018            $139.98
NCSRCC HEALTH FUND       MELISSA REFUNDS         PO BOX 4002                                       EAU CLAIRE          WI           54702                                  SUPPLIERS OR VENDORS       12/4/2018            $174.57
ND DEPARTMENT FO TRUST                           UNCLAIMED PROPERTY
LANDS                    SUSAN DOLLINGER         DIVISION           1707 NORTH 9TH STREET BISMARK                      ND           58501                                  SUPPLIERS OR VENDORS      10/25/2018            $208.22
NE DEPT OF REVENUE       301 CENTENNIAL MALL S                                            LINCOLN                      NE           68508                                  SALES/USE TAX             11/20/2018             $33.40
NE DEPT OF REVENUE       301 CENTENNIAL MALL S                                            LINCOLN                      NE           68508                                  SALES/USE TAX             11/20/2018            $130.73
NE DEPT OF REVENUE       301 CENTENNIAL MALL S                                            LINCOLN                      NE           68508                                  SALES/USE TAX             11/20/2018          $2,992.17
NE DEPT OF REVENUE       301 CENTENNIAL MALL S                                            LINCOLN                      NE           68508                                  SALES/USE TAX             11/20/2018        $118,832.22
NE DEPT OF REVENUE       301 CENTENNIAL MALL S                                            LINCOLN                      NE           85038                                  SALES/USE TAX             11/20/2018        $408,762.00
NEAL MERSMANN            845 SOUTH 35TH STREET                                            LINCOLN                      NE           68510                                  SUPPLIERS OR VENDORS      10/18/2018             $60.85
NEAL MERSMANN            845 SOUTH 35TH STREET                                            LINCOLN                      NE           68510                                  SUPPLIERS OR VENDORS       11/1/2018             $13.15
NEAL WECKWERTH           175 NORTHWOOD DRIVE                                              COTTONWOOD                   MN           56229                                  SUPPLIERS OR VENDORS      12/19/2018             $34.07



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                                                                                                                                                                             Reasons for payment or    Dates of     Total Amount or
       Creditor Name              Address1             Address2                  Address3                   City            State       Zip              Country                    transfer          Payments            Value
NEB FURST LLC            100 CANYON CREEK                                                          IRVINE              CA           92603                                  SUPPLIERS OR VENDORS         11/1/2018           $50,791.13
NEB FURST LLC            100 CANYON CREEK                                                          IRVINE              CA           92603                                  SUPPLIERS OR VENDORS         12/4/2018           $50,791.13
NEBRASKA DEPARTMENT OF
REVENUE                  301 CENTENNIAL MALL S                                                     LINCOLN             NE           68508                                  SALES & USE TAX            10/22/2018            $4,540.08
NEBRASKA DEPARTMENT OF
REVENUE                  301 CENTENNIAL MALL S                                                     LINCOLN             NE           68508                                  SALES & USE TAX            10/23/2018               $35.75
NEBRASKA DEPARTMENT OF
REVENUE                  301 CENTENNIAL MALL S                                                     LINCOLN             NE           68508                                  SALES & USE TAX            10/23/2018               $82.48
NEBRASKA DEPARTMENT OF
REVENUE                  301 CENTENNIAL MALL S                                                     LINCOLN             NE           68508                                  SALES & USE TAX            10/23/2018          $157,233.32
NEBRASKA DEPARTMENT OF
REVENUE                  301 CENTENNIAL MALL S                                                     LINCOLN             NE           68508                                  SALES & USE TAX            10/23/2018          $519,487.86
NEBRASKA DEPARTMENT OF
REVENUE                  301 CENTENNIAL MALL S                                                     LINCOLN             NE           68508                                  SALES & USE TAX            12/20/2018               $75.80
NEBRASKA DEPARTMENT OF
REVENUE                  301 CENTENNIAL MALL S                                                     LINCOLN             NE           68508                                  SALES & USE TAX            12/20/2018              $276.33
NEBRASKA DEPARTMENT OF
REVENUE                  301 CENTENNIAL MALL S                                                     LINCOLN             NE           68508                                  SALES & USE TAX            12/20/2018            $4,862.50
NEBRASKA DEPARTMENT OF
REVENUE                  301 CENTENNIAL MALL S                                                     LINCOLN             NE           68508                                  SALES & USE TAX            12/20/2018          $196,607.49
NEBRASKA DEPARTMENT OF
REVENUE                  301 CENTENNIAL MALL S                                                     LINCOLN             NE           68508                                  SALES & USE TAX            12/20/2018          $623,344.14
NEBRASKA GAME & PARK     ATTN: PERMIT SECTION    PO BOX 30370                                      LINCOLN             NE           68503                                  SUPPLIERS OR VENDORS        11/5/2018            $1,035.00
NEBRASKA GAME & PARK     ATTN: PERMIT SECTION    PO BOX 30370                                      LINCOLN             NE           68503                                  SUPPLIERS OR VENDORS       12/10/2018            $2,984.00
NEBRASKA LOTTERY         137 NW 17TH STREET                                                        LINCOLN             NE           68528                                  PAYMENT FOR SERVICES        10/3/2018            $1,031.34
NEBRASKA LOTTERY         137 NW 17TH STREET                                                        LINCOLN             NE           68528                                  PAYMENT FOR SERVICES        10/3/2018            $1,194.75
NEBRASKA LOTTERY         137 NW 17TH STREET                                                        LINCOLN             NE           68528                                  PAYMENT FOR SERVICES       10/10/2018            $1,249.17
NEBRASKA LOTTERY         137 NW 17TH STREET                                                        LINCOLN             NE           68528                                  PAYMENT FOR SERVICES       10/10/2018            $1,803.04
NEBRASKA LOTTERY         137 NW 17TH STREET                                                        LINCOLN             NE           68528                                  PAYMENT FOR SERVICES       10/17/2018              $284.28
NEBRASKA LOTTERY         137 NW 17TH STREET                                                        LINCOLN             NE           68528                                  PAYMENT FOR SERVICES       10/17/2018            $1,849.94
NEBRASKA LOTTERY         137 NW 17TH STREET                                                        LINCOLN             NE           68528                                  PAYMENT FOR SERVICES       10/24/2018            $2,366.13
NEBRASKA LOTTERY         137 NW 17TH STREET                                                        LINCOLN             NE           68528                                  PAYMENT FOR SERVICES       10/24/2018            $2,889.43
NEBRASKA LOTTERY         137 NW 17TH STREET                                                        LINCOLN             NE           68528                                  PAYMENT FOR SERVICES       10/31/2018            $4,279.92
NEBRASKA LOTTERY         137 NW 17TH STREET                                                        LINCOLN             NE           68528                                  PAYMENT FOR SERVICES       10/31/2018            $4,707.43
NEBRASKA LOTTERY         137 NW 17TH STREET                                                        LINCOLN             NE           68528                                  PAYMENT FOR SERVICES        11/7/2018              $119.46
NEBRASKA LOTTERY         137 NW 17TH STREET                                                        LINCOLN             NE           68528                                  PAYMENT FOR SERVICES        11/7/2018              $771.57
NEBRASKA LOTTERY         137 NW 17TH STREET                                                        LINCOLN             NE           68528                                  PAYMENT FOR SERVICES       11/14/2018              $485.53
NEBRASKA LOTTERY         137 NW 17TH STREET                                                        LINCOLN             NE           68528                                  PAYMENT FOR SERVICES       11/21/2018              $112.43
NEBRASKA LOTTERY         137 NW 17TH STREET                                                        LINCOLN             NE           68528                                  PAYMENT FOR SERVICES       11/21/2018              $622.00
NEBRASKA LOTTERY         137 NW 17TH STREET                                                        LINCOLN             NE           68528                                  PAYMENT FOR SERVICES       11/28/2018            $1,342.79
NEBRASKA LOTTERY         137 NW 17TH STREET                                                        LINCOLN             NE           68528                                  PAYMENT FOR SERVICES        12/5/2018            $1,223.90
NEBRASKA LOTTERY         137 NW 17TH STREET                                                        LINCOLN             NE           68528                                  PAYMENT FOR SERVICES        12/5/2018            $1,325.28
NEBRASKA LOTTERY         137 NW 17TH STREET                                                        LINCOLN             NE           68528                                  PAYMENT FOR SERVICES       12/12/2018              $143.30
NEBRASKA LOTTERY         137 NW 17TH STREET                                                        LINCOLN             NE           68528                                  PAYMENT FOR SERVICES       12/12/2018            $1,400.91
NEBRASKA LOTTERY         137 NW 17TH STREET                                                        LINCOLN             NE           68528                                  PAYMENT FOR SERVICES       12/19/2018              $727.60
NEBRASKA LOTTERY         137 NW 17TH STREET                                                        LINCOLN             NE           68528                                  PAYMENT FOR SERVICES       12/26/2018            $1,265.52
NEBRASKA LOTTERY         137 NW 17TH STREET                                                        LINCOLN             NE           68528                                  PAYMENT FOR SERVICES       12/26/2018            $1,370.74
NEBRASKA LOTTERY         137 NW 17TH STREET                                                        LINCOLN             NE           68528                                  PAYMENT FOR SERVICES         1/2/2019              $357.18
NEBRASKA LOTTERY         137 NW 17TH STREET                                                        LINCOLN             NE           68528                                  PAYMENT FOR SERVICES         1/2/2019            $1,251.67
NEBRASKA LOTTERY         137 NW 17TH STREET                                                        LINCOLN             NE           68528                                  PAYMENT FOR SERVICES         1/9/2019              $381.19
NEBRASKA LOTTERY         137 NW 17TH STREET                                                        LINCOLN             NE           68528                                  PAYMENT FOR SERVICES         1/9/2019              $773.93
NEBRASKALAND                                     SHOPKO STORES
DISTRIBUTORS L L C       CASH ON DELIVERY        INCORPORATED           PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/19/2018              $261.60




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                                                                                                                                                                                Reasons for payment or    Dates of    Total Amount or
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NEBRASKALAND                                         SHOPKO STORES
DISTRIBUTORS L L C     CASH ON DELIVERY              INCORPORATED           PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/23/2018             $22.00
NEBRASKALAND                                         SHOPKO STORES
DISTRIBUTORS L L C     CASH ON DELIVERY              INCORPORATED           PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/26/2018            $157.90
NEBRASKALAND                                         SHOPKO STORES
DISTRIBUTORS L L C     CASH ON DELIVERY              INCORPORATED           PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/30/2018             $71.10
NEBRASKALAND                                         SHOPKO STORES
DISTRIBUTORS L L C     CASH ON DELIVERY              INCORPORATED           PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/2/2018            $401.10
NEBRASKALAND                                         SHOPKO STORES
DISTRIBUTORS L L C     CASH ON DELIVERY              INCORPORATED           PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/9/2018            $124.30
NEBRASKALAND                                         SHOPKO STORES
DISTRIBUTORS L L C     CASH ON DELIVERY              INCORPORATED           PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/16/2018            $526.50
NEBRASKALAND                                         SHOPKO STORES
DISTRIBUTORS L L C     CASH ON DELIVERY              INCORPORATED           PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/23/2018             $35.20
NEBRASKALAND                                         SHOPKO STORES
DISTRIBUTORS L L C     CASH ON DELIVERY              INCORPORATED           PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/27/2018             $38.00
NEBRASKALAND                                         SHOPKO STORES
DISTRIBUTORS L L C     CASH ON DELIVERY              INCORPORATED           PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/30/2018            $938.30
NEBRASKALAND                                         SHOPKO STORES
DISTRIBUTORS L L C     CASH ON DELIVERY              INCORPORATED           PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/11/2018            $101.40
NEBRASKALAND                                         SHOPKO STORES
DISTRIBUTORS L L C     CASH ON DELIVERY              INCORPORATED           PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/20/2018            $680.90
NEBRASKALAND                                         SHOPKO STORES
DISTRIBUTORS L L C     CASH ON DELIVERY              INCORPORATED           PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/27/2018            $440.40
                       4005 TOWNE LAKES CIRCLE APT
NECEDA SCHREITER       10105                                                                           GRAND CHUTE         WI           54913                                  SUPPLIERS OR VENDORS      12/21/2018             $25.00
NEENAH PAPER           PO BOX 404947                                                                   ATLANTA             GA           30384                                  SUPPLIERS OR VENDORS      10/19/2018             $73.90
NEENAH PAPER           PO BOX 404947                                                                   ATLANTA             GA           30384                                  SUPPLIERS OR VENDORS      10/23/2018            $551.18
NEENAH PAPER           PO BOX 404947                                                                   ATLANTA             GA           30384                                  SUPPLIERS OR VENDORS      10/26/2018            $555.21
NEENAH PAPER           PO BOX 404947                                                                   ATLANTA             GA           30384                                  SUPPLIERS OR VENDORS      10/30/2018            $199.29
NEENAH PAPER           PO BOX 404947                                                                   ATLANTA             GA           30384                                  SUPPLIERS OR VENDORS       11/9/2018            $812.29
NEENAH PAPER           PO BOX 404947                                                                   ATLANTA             GA           30384                                  SUPPLIERS OR VENDORS      11/23/2018            $987.75
NEENAH PAPER           PO BOX 404947                                                                   ATLANTA             GA           30384                                  SUPPLIERS OR VENDORS      11/30/2018            $436.96
NEHEMIAH
MANUFACTURING CO       PO BOX 933121                                                                   CLEVELAND           OH           44193                                  SUPPLIERS OR VENDORS      10/25/2018            $937.98
NEHEMIAH
MANUFACTURING CO       PO BOX 933121                                                                   CLEVELAND           OH           44193                                  SUPPLIERS OR VENDORS       11/8/2018             $39.00
NEIL KROGMAN           STORE 009                     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/15/2018             $54.50
NEIL NAKAMURA          2856 LEEANN DR                                                                  TWIN FALLS          ID           83301                                  SUPPLIERS OR VENDORS      12/10/2018             $25.00
NEIL OWENS             STORE 601                     SHOPKO EMPLOYEE        802 N MAIN STREET          KEWAUNEE            WI           54216-1046                             SUPPLIERS OR VENDORS      10/26/2018            $193.59
NEIL OWENS             STORE 601                     SHOPKO EMPLOYEE        802 N MAIN STREET          KEWAUNEE            WI           54216-1046                             SUPPLIERS OR VENDORS       11/2/2018            $129.06
NEIL OWENS             STORE 601                     SHOPKO EMPLOYEE        802 N MAIN STREET          KEWAUNEE            WI           54216-1046                             SUPPLIERS OR VENDORS       11/9/2018            $218.17
NEIL OWENS             STORE 601                     SHOPKO EMPLOYEE        802 N MAIN STREET          KEWAUNEE            WI           54216-1046                             SUPPLIERS OR VENDORS      11/30/2018             $64.53
NEIL SALAZAR           5928 N. REGAL                                                                   SPOKANE             WA           99208                                  SUPPLIERS OR VENDORS      10/26/2018             $25.00
NEILMED
PHARMACEUTICALS        601 AVIATION BLVD                                                               SANTA ROSA          CA           95403                                  SUPPLIERS OR VENDORS      10/18/2018           $2,420.20
NEILMED
PHARMACEUTICALS        601 AVIATION BLVD                                                               SANTA ROSA          CA           95403                                  SUPPLIERS OR VENDORS      10/25/2018           $2,097.46
NEILMED
PHARMACEUTICALS        601 AVIATION BLVD                                                               SANTA ROSA          CA           95403                                  SUPPLIERS OR VENDORS       11/1/2018           $4,649.90
NEILMED
PHARMACEUTICALS        601 AVIATION BLVD                                                               SANTA ROSA          CA           95403                                  SUPPLIERS OR VENDORS      11/13/2018           $1,420.54
NEILMED
PHARMACEUTICALS        601 AVIATION BLVD                                                               SANTA ROSA          CA           95403                                  SUPPLIERS OR VENDORS      11/27/2018           $5,560.13



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      Creditor Name               Address1                 Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
NEILMED
PHARMACEUTICALS         601 AVIATION BLVD                                                              SANTA ROSA          CA           95403                                  SUPPLIERS OR VENDORS      11/29/2018           $2,255.56
NEILMED
PHARMACEUTICALS         601 AVIATION BLVD                                                              SANTA ROSA          CA           95403                                  SUPPLIERS OR VENDORS       12/4/2018           $1,633.34
NEILMED
PHARMACEUTICALS         601 AVIATION BLVD                                                              SANTA ROSA          CA           95403                                  SUPPLIERS OR VENDORS       12/6/2018           $5,341.22
NELMAR SECURITY
PACKAGING SYSTEMS INC   3100 DES BATISSEURS STREET                                                     TERREBONNE          QC           J6Y 0A2      CANADA                    SUPPLIERS OR VENDORS      10/30/2018           $1,683.00
NELMAR SECURITY
PACKAGING SYSTEMS INC   3100 DES BATISSEURS STREET                                                     TERREBONNE          QC           J6Y 0A2      CANADA                    SUPPLIERS OR VENDORS      11/30/2018           $5,897.80
NEMONT BEVERAGE
CORPORATION             VICE PRESIDENT OF SALES      PO BOX 432                                        GLASCOW             MT           59230                                  SUPPLIERS OR VENDORS      10/22/2018            $191.38
NEMONT BEVERAGE
CORPORATION             VICE PRESIDENT OF SALES      PO BOX 432                                        GLASCOW             MT           59230                                  SUPPLIERS OR VENDORS      10/25/2018            $537.60
NEMONT BEVERAGE
CORPORATION             VICE PRESIDENT OF SALES      PO BOX 432                                        GLASCOW             MT           59230                                  SUPPLIERS OR VENDORS      10/26/2018            $111.45
NEMONT BEVERAGE
CORPORATION             VICE PRESIDENT OF SALES      PO BOX 432                                        GLASCOW             MT           59230                                  SUPPLIERS OR VENDORS      10/29/2018            $155.02
NEMONT BEVERAGE
CORPORATION             VICE PRESIDENT OF SALES      PO BOX 432                                        GLASCOW             MT           59230                                  SUPPLIERS OR VENDORS      10/31/2018            $459.76
NEMONT BEVERAGE
CORPORATION             VICE PRESIDENT OF SALES      PO BOX 432                                        GLASCOW             MT           59230                                  SUPPLIERS OR VENDORS       11/1/2018            $218.40
NEMONT BEVERAGE
CORPORATION             VICE PRESIDENT OF SALES      PO BOX 432                                        GLASCOW             MT           59230                                  SUPPLIERS OR VENDORS       11/5/2018            $814.88
NEMONT BEVERAGE
CORPORATION             VICE PRESIDENT OF SALES      PO BOX 432                                        GLASCOW             MT           59230                                  SUPPLIERS OR VENDORS       11/9/2018            $139.50
NEMONT BEVERAGE
CORPORATION             VICE PRESIDENT OF SALES      PO BOX 432                                        GLASCOW             MT           59230                                  SUPPLIERS OR VENDORS      11/12/2018            $232.62
NEMONT BEVERAGE
CORPORATION             VICE PRESIDENT OF SALES      PO BOX 432                                        GLASCOW             MT           59230                                  SUPPLIERS OR VENDORS      11/13/2018            $513.91
NEMONT BEVERAGE
CORPORATION             VICE PRESIDENT OF SALES      PO BOX 432                                        GLASCOW             MT           59230                                  SUPPLIERS OR VENDORS      11/15/2018            $346.73
NEMONT BEVERAGE
CORPORATION             VICE PRESIDENT OF SALES      PO BOX 432                                        GLASCOW             MT           59230                                  SUPPLIERS OR VENDORS      11/22/2018            $168.20
NEMONT BEVERAGE
CORPORATION             VICE PRESIDENT OF SALES      PO BOX 432                                        GLASCOW             MT           59230                                  SUPPLIERS OR VENDORS      11/23/2018            $797.30
NEMONT BEVERAGE
CORPORATION             VICE PRESIDENT OF SALES      PO BOX 432                                        GLASCOW             MT           59230                                  SUPPLIERS OR VENDORS      11/27/2018             $90.25
NEMONT BEVERAGE
CORPORATION             VICE PRESIDENT OF SALES      PO BOX 432                                        GLASCOW             MT           59230                                  SUPPLIERS OR VENDORS      11/29/2018            $334.50
NEMONT BEVERAGE
CORPORATION             VICE PRESIDENT OF SALES      PO BOX 432                                        GLASCOW             MT           59230                                  SUPPLIERS OR VENDORS       12/3/2018            $309.97
NEMONT BEVERAGE
CORPORATION             VICE PRESIDENT OF SALES      PO BOX 432                                        GLASCOW             MT           59230                                  SUPPLIERS OR VENDORS       12/5/2018            $398.53
NEMONT BEVERAGE
CORPORATION             VICE PRESIDENT OF SALES      PO BOX 432                                        GLASCOW             MT           59230                                  SUPPLIERS OR VENDORS      12/11/2018            $405.20
NEMONT BEVERAGE
CORPORATION             VICE PRESIDENT OF SALES      PO BOX 432                                        GLASCOW             MT           59230                                  SUPPLIERS OR VENDORS      12/14/2018            $174.50
NEMONT BEVERAGE
CORPORATION             VICE PRESIDENT OF SALES      PO BOX 432                                        GLASCOW             MT           59230                                  SUPPLIERS OR VENDORS      12/20/2018            $209.42
NEMONT BEVERAGE
CORPORATION             VICE PRESIDENT OF SALES      PO BOX 432                                        GLASCOW             MT           59230                                  SUPPLIERS OR VENDORS      12/27/2018             $88.80
                                                     478 WHEELERS FARMS
NEOPOST USA             ATTN COLLECTIONS DEPT        ROAD                                              MILFORD             CT           06461                                  SUPPLIERS OR VENDORS       11/2/2018            $189.23



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                                                                                                                                                                          Reasons for payment or    Dates of    Total Amount or
     Creditor Name            Address1               Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
                                               478 WHEELERS FARMS
NEOPOST USA          ATTN COLLECTIONS DEPT     ROAD                                              MILFORD             CT           06461                                  SUPPLIERS OR VENDORS       12/7/2018             $226.36
NEOPOST USA INC      DEPT 3689                 PO BOX 123689                                     DALLAS              TX           75312-3689                             SUPPLIERS OR VENDORS      10/18/2018              $82.21
NEOPOST USA INC      DEPT 3689                 PO BOX 123689                                     DALLAS              TX           75312-3689                             SUPPLIERS OR VENDORS      10/25/2018              $52.77
NEOPOST USA INC      DEPT 3689                 PO BOX 123689                                     DALLAS              TX           75312-3689                             SUPPLIERS OR VENDORS       11/1/2018           $5,357.10
NEOPOST USA INC      DEPT 3689                 PO BOX 123689                                     DALLAS              TX           75312-3689                             SUPPLIERS OR VENDORS       11/3/2018               $1.00
NEOPOST USA INC      DEPT 3689                 PO BOX 123689                                     DALLAS              TX           75312-3689                             SUPPLIERS OR VENDORS       11/9/2018              $26.45
NEOPOST USA INC      DEPT 3689                 PO BOX 123689                                     DALLAS              TX           75312-3689                             SUPPLIERS OR VENDORS      11/16/2018              $51.87
NEOPOST USA INC      DEPT 3689                 PO BOX 123689                                     DALLAS              TX           75312-3689                             SUPPLIERS OR VENDORS      11/30/2018              $83.58
NEOPOST USA INC      DEPT 3689                 PO BOX 123689                                     DALLAS              TX           75312-3689                             SUPPLIERS OR VENDORS       12/8/2018           $6,005.13
NEOPOST USA INC      DEPT 3689                 PO BOX 123689                                     DALLAS              TX           75312-3689                             SUPPLIERS OR VENDORS      12/15/2018              $26.92
NEOPOST USA INC      DEPT 3689                 PO BOX 123689                                     DALLAS              TX           75312-3689                             SUPPLIERS OR VENDORS      12/18/2018              $24.95
NEOPOST USA INC      DEPT 3689                 PO BOX 123689                                     DALLAS              TX           75312-3689                             SUPPLIERS OR VENDORS      12/21/2018              $26.45
NEOPOST USA INC      DEPT 3689                 PO BOX 123689                                     DALLAS              TX           75312-3689                             SUPPLIERS OR VENDORS      12/22/2018              $26.79
NEOPOST USA INC      DEPT 3689                 PO BOX 123689                                     DALLAS              TX           75312-3689                             SUPPLIERS OR VENDORS        1/5/2019           $5,446.38
NEOPOST USA INC      DEPT 3689                 PO BOX 123689                                     DALLAS              TX           75312-3689                             SUPPLIERS OR VENDORS        1/8/2019              $51.80
NEOPOST USA INC      DEPT 3689                 PO BOX 123689                                     DALLAS              TX           75312-3689                             SUPPLIERS OR VENDORS       1/10/2019             $296.77
NEREIDA APODACA      STORE 4-073               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/8/2018              $75.00
NES JEWELRY          10 WEST 33RD STREET 9TH
INCORPORATED         FLOOR                                                                       NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      10/18/2018           $4,637.98
NES JEWELRY          10 WEST 33RD STREET 9TH
INCORPORATED         FLOOR                                                                       NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      10/19/2018           $6,007.84
NES JEWELRY          10 WEST 33RD STREET 9TH
INCORPORATED         FLOOR                                                                       NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      10/22/2018           $3,917.90
NES JEWELRY          10 WEST 33RD STREET 9TH
INCORPORATED         FLOOR                                                                       NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      10/23/2018             $86.50
NES JEWELRY          10 WEST 33RD STREET 9TH
INCORPORATED         FLOOR                                                                       NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      10/24/2018            $753.65
NES JEWELRY          10 WEST 33RD STREET 9TH
INCORPORATED         FLOOR                                                                       NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      10/25/2018               $3.50
NES JEWELRY          10 WEST 33RD STREET 9TH
INCORPORATED         FLOOR                                                                       NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      10/26/2018         $13,746.05
NES JEWELRY          10 WEST 33RD STREET 9TH
INCORPORATED         FLOOR                                                                       NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      10/29/2018           $6,482.88
NES JEWELRY          10 WEST 33RD STREET 9TH
INCORPORATED         FLOOR                                                                       NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      10/31/2018            $149.28
NES JEWELRY          10 WEST 33RD STREET 9TH
INCORPORATED         FLOOR                                                                       NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS       11/2/2018            $116.67
NES JEWELRY          10 WEST 33RD STREET 9TH
INCORPORATED         FLOOR                                                                       NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS       11/5/2018         $22,548.81
NES JEWELRY          10 WEST 33RD STREET 9TH
INCORPORATED         FLOOR                                                                       NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      11/12/2018            $887.15
NES JEWELRY          10 WEST 33RD STREET 9TH
INCORPORATED         FLOOR                                                                       NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      11/15/2018           $5,702.96
NES JEWELRY          10 WEST 33RD STREET 9TH
INCORPORATED         FLOOR                                                                       NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      11/16/2018           $3,377.35
NES JEWELRY          10 WEST 33RD STREET 9TH
INCORPORATED         FLOOR                                                                       NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      11/22/2018         $55,343.76
NES JEWELRY          10 WEST 33RD STREET 9TH
INCORPORATED         FLOOR                                                                       NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      11/23/2018           $7,633.74
NES JEWELRY          10 WEST 33RD STREET 9TH
INCORPORATED         FLOOR                                                                       NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      11/26/2018           $8,729.76
NES JEWELRY          10 WEST 33RD STREET 9TH
INCORPORATED         FLOOR                                                                       NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      11/27/2018            $174.31



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                                                                                                                                                                          Reasons for payment or    Dates of    Total Amount or
      Creditor Name               Address1           Address2                  Address3                   City            State       Zip              Country                   transfer          Payments           Value
NES JEWELRY             10 WEST 33RD STREET 9TH
INCORPORATED            FLOOR                                                                    NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      11/28/2018           $3,879.05
NES JEWELRY             10 WEST 33RD STREET 9TH
INCORPORATED            FLOOR                                                                    NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      11/29/2018           $4,882.82
NES JEWELRY             10 WEST 33RD STREET 9TH
INCORPORATED            FLOOR                                                                    NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      11/30/2018            $163.48
NES JEWELRY             10 WEST 33RD STREET 9TH
INCORPORATED            FLOOR                                                                    NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS       12/3/2018         $34,808.70
NES JEWELRY             10 WEST 33RD STREET 9TH
INCORPORATED            FLOOR                                                                    NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      12/11/2018         $24,896.79

NESTLE USA INCORPORATED PO BOX 841933                                                            DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS      10/18/2018        $112,288.24

NESTLE USA INCORPORATED PO BOX 841933                                                            DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS      10/19/2018         $17,443.16

NESTLE USA INCORPORATED PO BOX 841933                                                            DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS      10/19/2018        $127,279.83

NESTLE USA INCORPORATED PO BOX 841933                                                            DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS      10/20/2018            $627.07

NESTLE USA INCORPORATED PO BOX 841933                                                            DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS      10/23/2018            $336.00

NESTLE USA INCORPORATED PO BOX 841933                                                            DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS      10/24/2018         $79,581.03

NESTLE USA INCORPORATED PO BOX 841933                                                            DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS      10/25/2018            $136.68

NESTLE USA INCORPORATED PO BOX 841933                                                            DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS      10/26/2018         $55,138.34

NESTLE USA INCORPORATED PO BOX 841933                                                            DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS      10/26/2018        $137,125.07

NESTLE USA INCORPORATED PO BOX 841933                                                            DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS      10/27/2018           $7,750.68

NESTLE USA INCORPORATED PO BOX 841933                                                            DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS      10/27/2018         $74,955.93

NESTLE USA INCORPORATED PO BOX 841933                                                            DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS      10/30/2018           $3,561.60

NESTLE USA INCORPORATED PO BOX 841933                                                            DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS      10/30/2018         $19,535.00

NESTLE USA INCORPORATED PO BOX 841933                                                            DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS      10/31/2018        $161,914.17

NESTLE USA INCORPORATED PO BOX 841933                                                            DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS      10/31/2018        $283,685.91

NESTLE USA INCORPORATED PO BOX 841933                                                            DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS       11/1/2018            $117.96

NESTLE USA INCORPORATED PO BOX 841933                                                            DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS       11/1/2018        $269,690.26

NESTLE USA INCORPORATED PO BOX 841933                                                            DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS       11/2/2018            $907.20

NESTLE USA INCORPORATED PO BOX 841933                                                            DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS       11/2/2018        $140,334.58

NESTLE USA INCORPORATED PO BOX 841933                                                            DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS       11/3/2018         $32,603.32

NESTLE USA INCORPORATED PO BOX 841933                                                            DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS       11/3/2018        $198,957.44

NESTLE USA INCORPORATED PO BOX 841933                                                            DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS       11/6/2018         $90,895.28



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                                                                                                                                                                                  Reasons for payment or    Dates of    Total Amount or
     Creditor Name                 Address1                  Address2                  Address3                   City            State       Zip              Country                   transfer          Payments           Value

NESTLE USA INCORPORATED PO BOX 841933                                                                    DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS       11/7/2018         $43,529.61

NESTLE USA INCORPORATED PO BOX 841933                                                                    DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS       11/8/2018        $308,509.49

NESTLE USA INCORPORATED PO BOX 841933                                                                    DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS       11/9/2018         $49,078.05

NESTLE USA INCORPORATED PO BOX 841933                                                                    DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS       11/9/2018        $111,167.45

NESTLE USA INCORPORATED PO BOX 841933                                                                    DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS      11/10/2018         $20,394.98

NESTLE USA INCORPORATED PO BOX 841933                                                                    DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS      11/10/2018         $57,686.72

NESTLE USA INCORPORATED PO BOX 841933                                                                    DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS      11/13/2018            $168.00

NESTLE USA INCORPORATED PO BOX 841933                                                                    DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS      11/13/2018         $58,639.61

NESTLE USA INCORPORATED PO BOX 841933                                                                    DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS      11/14/2018         $90,228.78

NESTLE USA INCORPORATED PO BOX 841933                                                                    DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS      11/15/2018         $95,259.64

NESTLE USA INCORPORATED PO BOX 841933                                                                    DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS      11/15/2018        $203,336.24

NESTLE USA INCORPORATED PO BOX 841933                                                                    DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS      11/16/2018         $43,529.61

NESTLE USA INCORPORATED PO BOX 841933                                                                    DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS      11/17/2018            $577.74

NESTLE USA INCORPORATED PO BOX 841933                                                                    DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS      11/17/2018         $44,160.48

NESTLE USA INCORPORATED PO BOX 841933                                                                    DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS      11/24/2018         $44,776.24

NESTLE USA INCORPORATED PO BOX 841933                                                                    DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS      11/24/2018        $255,890.75

NESTLE USA INCORPORATED PO BOX 841933                                                                    DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS      11/27/2018            $134.40

NESTLE USA INCORPORATED PO BOX 841933                                                                    DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS      11/27/2018         $77,848.94

NESTLE USA INCORPORATED PO BOX 841933                                                                    DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS      11/28/2018         $73,234.74

NESTLE USA INCORPORATED PO BOX 841933                                                                    DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS      11/29/2018         $16,584.54

NESTLE USA INCORPORATED PO BOX 841933                                                                    DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS      11/29/2018         $38,477.09

NESTLE USA INCORPORATED PO BOX 841933                                                                    DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS      11/30/2018         $77,791.18

NESTLE USA INCORPORATED PO BOX 841933                                                                    DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS       12/1/2018           $1,400.91

NESTLE USA INCORPORATED   PO BOX 841933                                                                  DALLAS              TX           75284-1933                             SUPPLIERS OR VENDORS       12/4/2018            $166.32
NETWORK HEALTH            RECOVERY SERVICES            1570 MIDWAY PLACE                                 MENASHA             WI           54952                                  SUPPLIERS OR VENDORS      12/14/2018             $74.10
NETWORK HEALTH            RECOVERY SERVICES            1570 MIDWAY PLACE                                 MENASHA             WI           54952                                  SUPPLIERS OR VENDORS      12/17/2018             $62.59
NEVADA DEPARTMENT OF
TAXATION                  PO BOX 7165                                                                    SAN FRANCISCO       CA           94120-7165                             SUPPLIERS OR VENDORS      10/18/2018            $578.92
                          1550 COLLEGE PARKWAY SUITE
NEVADA DEPT OF REVENUE    115                                                                            CARSON CITY         NV           89706                                  SALES & USE TAX            11/1/2018         $24,690.01



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                                                                                                                                                                               Reasons for payment or    Dates of     Total Amount or
     Creditor Name                 Address1               Address2                  Address3                 City              State       Zip              Country                   transfer          Payments            Value
                         1550 COLLEGE PARKWAY SUITE
NEVADA DEPT OF REVENUE   115                                                                          CARSON CITY         NV           89706                                  SALES & USE TAX            12/3/2018          $19,430.54
                         1550 COLLEGE PARKWAY SUITE
NEVADA DEPT OF REVENUE   115                                                                          CARSON CITY         NV           89706                                  SALES & USE TAX              1/2/2019         $25,268.54
NEW BALANCE ATHLETIC
SHOE INC                 PO BOX 31978                                                                 HARTFORD            CT           06150-1978                             SUPPLIERS OR VENDORS      10/18/2018         $158,905.69
NEW BALANCE ATHLETIC
SHOE INC                 PO BOX 31978                                                                 HARTFORD            CT           06150-1978                             SUPPLIERS OR VENDORS      10/23/2018         $281,971.13
NEW BALANCE ATHLETIC
SHOE INC                 PO BOX 31978                                                                 HARTFORD            CT           06150-1978                             SUPPLIERS OR VENDORS      10/25/2018          $18,066.15
NEW BALANCE ATHLETIC
SHOE INC                 PO BOX 31978                                                                 HARTFORD            CT           06150-1978                             SUPPLIERS OR VENDORS      10/30/2018          $56,823.74
NEW BALANCE ATHLETIC
SHOE INC                 PO BOX 31978                                                                 HARTFORD            CT           06150-1978                             SUPPLIERS OR VENDORS       11/1/2018          $10,655.52
NEW BALANCE ATHLETIC
SHOE INC                 PO BOX 31978                                                                 HARTFORD            CT           06150-1978                             SUPPLIERS OR VENDORS       11/6/2018          $15,132.00
NEW BALANCE ATHLETIC
SHOE INC                 PO BOX 31978                                                                 HARTFORD            CT           06150-1978                             SUPPLIERS OR VENDORS      11/13/2018            $4,622.25
NEW BALANCE ATHLETIC
SHOE INC                 PO BOX 31978                                                                 HARTFORD            CT           06150-1978                             SUPPLIERS OR VENDORS      11/15/2018          $50,312.00
NEW BALANCE ATHLETIC
SHOE INC                 PO BOX 31978                                                                 HARTFORD            CT           06150-1978                             SUPPLIERS OR VENDORS      11/27/2018          $28,029.01
NEW BALANCE ATHLETIC
SHOE INC                 PO BOX 31978                                                                 HARTFORD            CT           06150-1978                             SUPPLIERS OR VENDORS      11/29/2018          $39,430.86
NEW BALANCE ATHLETIC
SHOE INC                 PO BOX 31978                                                                 HARTFORD            CT           06150-1978                             SUPPLIERS OR VENDORS       12/4/2018          $77,774.40
NEW BALANCE ATHLETIC
SHOE INC                 PO BOX 31978                                                                 HARTFORD            CT           06150-1978                             SUPPLIERS OR VENDORS       12/6/2018          $60,866.64
NEW BALANCE ATHLETIC
SHOE INC                 PO BOX 31978                                                                 HARTFORD            CT           06150-1978                             SUPPLIERS OR VENDORS      12/13/2018          $25,813.40

NEW HAMPTON HARVESTER
HOLDINGS LLC          1515 W MAPLE AVENUE                                                             RED WING            MN           55066                                  SUPPLIERS OR VENDORS      11/10/2018          $12,736.80

NEW HAMPTON HARVESTER
HOLDINGS LLC          1515 W MAPLE AVENUE                                                             RED WING            MN           55066                                  SUPPLIERS OR VENDORS       12/8/2018          $12,736.80

NEW HAMPTON TRANSFER &
STORAGE INC            1970 NORTH LINN AVENUE                                                         NEW HAMPTON         IA           50659                                  SUPPLIERS OR VENDORS       11/8/2018             $150.00
NEW HORIZONS CHAMBER
OF COMMERCE            15 WEST MAIN STREET                                                            NEW HAMPTON         IA           50659                                  SUPPLIERS OR VENDORS      12/17/2018             $300.00

NEW MEXICO DEPARTMENT
OF REVENUE            1220 S ST FRANCIS DR                                                            SANTA FE            NM           87505                                  SALES & USE TAX           10/29/2018          $15,361.73

NEW MEXICO DEPARTMENT    NEW MEXICO DEPARTMENT OF
OF REVENUE               REVENUE                  1220 S ST FRANCIS DR                                SANTA FE            NM           87505                                  SALES & USE TAX           12/28/2018          $14,738.09
NEW MILANI GROUP INC     2111 EAST 49TH STREET                                                        LOS ANGELES         CA           90058                                  SUPPLIERS OR VENDORS      10/26/2018          $10,363.37
NEW MILANI GROUP INC     2111 EAST 49TH STREET                                                        LOS ANGELES         CA           90058                                  SUPPLIERS OR VENDORS       11/2/2018          $19,405.14
NEW MILANI GROUP INC     2111 EAST 49TH STREET                                                        LOS ANGELES         CA           90058                                  SUPPLIERS OR VENDORS       11/9/2018           $6,939.31
NEW MILANI GROUP INC     2111 EAST 49TH STREET                                                        LOS ANGELES         CA           90058                                  SUPPLIERS OR VENDORS      11/16/2018           $9,892.71
NEW MILANI GROUP INC     2111 EAST 49TH STREET                                                        LOS ANGELES         CA           90058                                  SUPPLIERS OR VENDORS      11/30/2018          $16,846.35
NEW RELIC INC            PO BOX 101812                                                                PASADENA            CA           91189-1812                             SUPPLIERS OR VENDORS      10/18/2018           $7,619.00




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                                                                                                                                                                                  Reasons for payment or    Dates of     Total Amount or
      Creditor Name                Address1                   Address2                 Address3                   City            State       Zip              Country                   transfer          Payments            Value
NEW VIEW GIFTS &                                       311 EAST BALTIMORE
ACCESSORIES              VICE PRESIDENT OF SALES       AVE 3RD FLOOR                                     MEDIA               PA           19063                                  SUPPLIERS OR VENDORS      10/18/2018         $120,301.20
NEW VIEW GIFTS &                                       311 EAST BALTIMORE
ACCESSORIES              VICE PRESIDENT OF SALES       AVE 3RD FLOOR                                     MEDIA               PA           19063                                  SUPPLIERS OR VENDORS      10/25/2018            $5,573.68
NEW VIEW GIFTS &                                       311 EAST BALTIMORE
ACCESSORIES              VICE PRESIDENT OF SALES       AVE 3RD FLOOR                                     MEDIA               PA           19063                                  SUPPLIERS OR VENDORS       11/1/2018          $37,065.00
NEW VIEW GIFTS &                                       311 EAST BALTIMORE
ACCESSORIES              VICE PRESIDENT OF SALES       AVE 3RD FLOOR                                     MEDIA               PA           19063                                  SUPPLIERS OR VENDORS       11/8/2018          $13,078.87
NEW VIEW GIFTS &                                       311 EAST BALTIMORE
ACCESSORIES              VICE PRESIDENT OF SALES       AVE 3RD FLOOR                                     MEDIA               PA           19063                                  SUPPLIERS OR VENDORS      11/15/2018          $48,358.77
NEW VIEW GIFTS &                                       311 EAST BALTIMORE
ACCESSORIES              VICE PRESIDENT OF SALES       AVE 3RD FLOOR                                     MEDIA               PA           19063                                  SUPPLIERS OR VENDORS      11/22/2018            $8,026.60
NEW VIEW GIFTS &                                       311 EAST BALTIMORE
ACCESSORIES              VICE PRESIDENT OF SALES       AVE 3RD FLOOR                                     MEDIA               PA           19063                                  SUPPLIERS OR VENDORS      11/29/2018          $38,882.00

NEWS GROUP ARLINGTON
DBA DIV OF TNG GP        CONV TO SBT ID 063 IN 2016                                                      FIFE                WA           98424-0000                             SUPPLIERS OR VENDORS      10/23/2018          $68,630.67

NEWS GROUP ARLINGTON
DBA DIV OF TNG GP        CONV TO SBT ID 063 IN 2016                                                      FIFE                WA           98424-0000                             SUPPLIERS OR VENDORS      10/30/2018          $65,281.69

NEWS GROUP ARLINGTON
DBA DIV OF TNG GP        CONV TO SBT ID 063 IN 2016                                                      FIFE                WA           98424-0000                             SUPPLIERS OR VENDORS       11/6/2018          $64,752.41

NEWS GROUP ARLINGTON
DBA DIV OF TNG GP        CONV TO SBT ID 063 IN 2016                                                      FIFE                WA           98424-0000                             SUPPLIERS OR VENDORS      11/13/2018          $69,513.27

NEWS GROUP ARLINGTON
DBA DIV OF TNG GP        CONV TO SBT ID 063 IN 2016                                                      FIFE                WA           98424-0000                             SUPPLIERS OR VENDORS      11/27/2018         $137,254.32

NEWS GROUP ARLINGTON
DBA DIV OF TNG GP        CONV TO SBT ID 063 IN 2016                                                      FIFE                WA           98424-0000                             SUPPLIERS OR VENDORS       12/4/2018          $69,006.59

NEWS GROUP ARLINGTON
DBA DIV OF TNG GP        CONV TO SBT ID 063 IN 2016                                                      FIFE                WA           98424-0000                             SUPPLIERS OR VENDORS         1/8/2019         $66,018.55

NEXT GENERATION
PROPERTIES OF NEBRASKA   1805 ZENITH DRIVE                                                               SIOUX CITY          IA           51103                                  SUPPLIERS OR VENDORS      11/10/2018            $6,142.58

NEXT GENERATION
PROPERTIES OF NEBRASKA   1805 ZENITH DRIVE                                                               SIOUX CITY          IA           51103                                  SUPPLIERS OR VENDORS       12/1/2018            $2,404.44

NEXT GENERATION
PROPERTIES OF NEBRASKA   1805 ZENITH DRIVE                                                               SIOUX CITY          IA           51103                                  SUPPLIERS OR VENDORS       12/8/2018            $6,142.58
NEZ PERCE COUNTY TAX
COLLECTOR                PO BOX 896                                                                      LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS      12/13/2018          $50,944.69
NFN TSERING              1222 ARTISON DRIVE                                                              MADISON             WI           53704                                  SUPPLIERS OR VENDORS       11/5/2018              $67.39

NGINX INC                795 FOLSOM STREET SUITE 600                                                     SAN FRANCISCO       CA           94107                                  SUPPLIERS OR VENDORS      11/15/2018            $4,877.63
NICHALAS LACHAPPELLE     911 N. 10TH STREET                                                              MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS       12/7/2018               $39.00
NICHOLAS COOPER          11778 N SIEDSCHLID RD                                                           ROCK CITY           IL           61070                                  SUPPLIERS OR VENDORS      11/28/2018               $42.04
NICHOLAS COOPER          418 CONVERSE ST                                                                 FORT ATKINSON       WI           53538                                  SUPPLIERS OR VENDORS       12/7/2018               $63.00
NICHOLAS ECKSTEIN        40439 OUTOR DR                                                                  SCIO                OR           97374                                  SUPPLIERS OR VENDORS       11/8/2018               $10.00
NICHOLAS HERRING         1105 W FULTON ST # 1                                                            EDGERTON            WI           53534                                  SUPPLIERS OR VENDORS      12/10/2018               $63.00



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                                                                                                                                                                                  Reasons for payment or    Dates of     Total Amount or
      Creditor Name                  Address1               Address2                  Address3                City               State       Zip              Country                    transfer          Payments            Value
NICHOLAS KRENZELOK        P.O. BOX 46                                                                   CADOTT              WI           54727                                  SUPPLIERS OR VENDORS        12/20/2018               $62.00
NICHOLAS LASSEK           17229 FRANKLIN DRIVE                                                          OMAHA               NE           68118                                  SUPPLIERS OR VENDORS        10/26/2018              $201.50
NICHOLAS MONTAGUE         2209 TELEMARK LANE NW                                                         ROCHESTER           MN           55901                                  SUPPLIERS OR VENDORS        12/18/2018                $3.00
NICHOLAS MONTAGUE         2209 TELEMARK LANE NW                                                         ROCHESTER           MN           55901                                  SUPPLIERS OR VENDORS        12/18/2018                $3.00

NICHOLAS MOORE            1342 OLD HIGHWAY 2 AND 41                                                     BARK RIVER          MI           49807                                  SUPPLIERS OR VENDORS       12/20/2018                $7.99
                                                                                                        EL DORADO
NICHOLAS RODENBERG        STORE 709                   SHOPKO EMPLOYEE        1307 S STATE HWY 32        SPRINGS             MO           64744                                  SUPPLIERS OR VENDORS        11/2/2018              $577.16
NICHOLAS SCHILLING        1880 EVA RAOD               APT #5                                            KRONENWETTER        WI           54455                                  SUPPLIERS OR VENDORS       10/26/2018               $25.00
NICHOLAS SHARROW          STORE 2-788                 SHOPKO EMPLOYEE        200 COMMERCE DRIVE         COLUMBUS            WI           53925                                  SUPPLIERS OR VENDORS       11/16/2018              $745.56
NICHOLAS TOMASHEK         STORE 2-004                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/1/2018               $74.12
NICHOLAS TOMASHEK         STORE 2-004                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/22/2018               $38.15
NICHOLAS TOMASHEK         STORE 2-004                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/13/2018               $32.70
NICHOLAS TOMASHEK         STORE 2-004                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/20/2018               $32.70
NICHOLAS WAGNER           3988 11TH ROAD                                                                BARK RIVER          MI           49807                                  SUPPLIERS OR VENDORS        11/9/2018               $23.00
NICHOLE CAMPBELL          923 N 4400 W                                                                  OGDEN               UT           84404                                  SUPPLIERS OR VENDORS        11/8/2018               $75.00
NICHOLE NOGALES           1145 W QUINN RD                                                               POCATELLO           ID           83202                                  SUPPLIERS OR VENDORS       12/21/2018               $23.00
NICK HERD                 908 24TH AVE SW                                                               GREAT FALLS         MT           59404                                  SUPPLIERS OR VENDORS        11/1/2018              $103.00
NICK VERBRUGGE            124 WEST 4TH ST                                                               KANAWHA             IA           50447                                  SUPPLIERS OR VENDORS       10/22/2018               $13.90
NICKI KRUSE               N599 COUNTRY BREEZE LN                                                        BLACK CREEK         WI           54106                                  SUPPLIERS OR VENDORS        11/8/2018               $30.00
NICKIE WARREN             624 TANEY ST                                                                  EUGENE              OR           97402                                  SUPPLIERS OR VENDORS       11/12/2018               $86.00
NICKLAUS LANDSCAPING
LAWN CARE INC             3428 COLLINS RD                                                               CHILTON             WI           53014                                  SUPPLIERS OR VENDORS        11/1/2018            $1,012.80
NICKOLAS WYNN             STORE 2-067                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/18/2018              $501.40
NICKOLAS WYNN             STORE 2-067                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/8/2018              $125.35
NICMEYER INVESTMENT LTD
PARTNERSHIP               2826 MARLEONE POINT                                                           SAINT JOHN          ND           58369                                  SUPPLIERS OR VENDORS        11/1/2018            $5,208.33
NICMEYER INVESTMENT LTD
PARTNERSHIP               2826 MARLEONE POINT                                                           SAINT JOHN          ND           58369                                  SUPPLIERS OR VENDORS        12/1/2018            $5,208.33
NICOLE BARTEN             APPAREL                     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/15/2018            $1,359.26
NICOLE BENNETT            STORE 689                   SHOPKO EMPLOYEE        201 N FILLMORE             MOUNT AYER          IA           50854                                  SUPPLIERS OR VENDORS       12/20/2018               $79.57
NICOLE CYRAN              STORE SERVICES/STORE 055    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/19/2018               $79.57
NICOLE CYRAN              STORE SERVICES/STORE 055    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/26/2018              $477.57
NICOLE FALKNER            3214 PENNWAY PARK                                                             DE PERE             WI           54115                                  SUPPLIERS OR VENDORS       10/25/2018               $16.63
NICOLE GOLDAPSKE          4683 CEDAR SAUK RD                                                            SAUKVILLE           WI           53080                                  SUPPLIERS OR VENDORS       11/26/2018              $247.94
NICOLE HERMANSEN          STORE 2-027                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/14/2018               $97.56
NICOLE HERMANSEN          STORE 2-027                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        1/15/2019               $17.40
NICOLE KELSEY             7598 FRANCIS LN                                                               LENA                WI           54139                                  SUPPLIERS OR VENDORS       10/19/2018               $10.00
NICOLE MITCHELL           STORE OPERATIONS            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/19/2018              $750.25
NICOLE MITCHELL           STORE OPERATIONS            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/26/2018              $974.37
NICOLE MITCHELL           STORE OPERATIONS            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/16/2018              $837.18
NICOLE MITCHELL           STORE OPERATIONS            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/30/2018              $309.78
NICOLE MITCHELL           STORE OPERATIONS            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/11/2018              $349.94
NICOLE MITCHELL           STORE OPERATIONS            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/14/2018              $242.87
NICOLE MITCHELL           STORE OPERATIONS            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/29/2018              $557.00
NICOLE MITCHELL           STORE OPERATIONS            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        1/15/2019              $423.89
NICOLE NELSON             STORE 2-755                 SHOPKO EMPLOYEE        1701 16TH STREET           WHEATLAND           WY           82201                                  SUPPLIERS OR VENDORS       12/14/2018               $78.26
NICOLE ROTHE              1404 GRANT ST                                                                 BELOIT              WI           53511                                  SUPPLIERS OR VENDORS        12/5/2018               $20.00
NICOLE SCHUSSLER          5948 TIMBER HAVEN DR                                                          LITTLE SUAMICO      WI           54141                                  SUPPLIERS OR VENDORS        11/6/2018               $44.00
NICOLE UTSCH              STORE 061                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/22/2018               $35.97
NICOLE WITTIG             1420 HOLLAND RD APT 2                                                         APPLETON            WI           54911                                  SUPPLIERS OR VENDORS       12/21/2018               $20.00
NICOLE WYSOCKI            827 NINA AVE                                                                  WAUSAU              WI           54403                                  SUPPLIERS OR VENDORS       10/22/2018               $62.00

NICOLE ZIMMERMAN          4855 SAINTS RD                                                                BLANCHARDVILLE      WI           53516                                  SUPPLIERS OR VENDORS       11/12/2018                $5.98



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                                                                                                                                                                                   Reasons for payment or    Dates of    Total Amount or
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NICOLET PROMOTIONS
INCORPORATED              NICOLET WELCOME SERVICES      PO BOX 1546                                       RHINELANDER         WI           54501                                  SUPPLIERS OR VENDORS      10/23/2018             $11.25
                                                                                                                                                                                  PURCHASE OF
NIKE USA, INC             1 BOWERMAN DRIVE                                                                BEAVERTON           OR           97005                                  MERCHANDISE               10/30/2018         $42,532.18
                                                                                                                                                                                  PURCHASE OF
NIKE USA, INC             1 BOWERMAN DRIVE                                                                BEAVERTON           OR           97005                                  MERCHANDISE                11/8/2018       $1,122,071.64
NIKITAS KALANTJAKOS       9018 TIMBERLINE DRIVE                                                           OMAHA               NE           68154                                  SUPPLIERS OR VENDORS      11/15/2018              $51.00
NILA ROBERTSON            905 2ND AVE NW                                                                  PLAINVIEW           MN           55964                                  SUPPLIERS OR VENDORS      12/11/2018             $231.52
NILE BUCH                 3900 PINE LAKE RD APT 315                                                       LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS      10/31/2018               $6.29
NINA KRAMER               8340 SANDLEWOOD DR                                                              LINCOLN             NE           68510                                  SUPPLIERS OR VENDORS      10/29/2018              $60.85
NINA PETERSON             508 S 400 E                                                                     SPRINGVILLE         UT           84663                                  SUPPLIERS OR VENDORS      11/29/2018              $43.00
                          2314 S VINEYARD AVENUE UNIT
NINGBO KONWIN             J                                                                               ONTARIO             CA           91761                                  SUPPLIERS OR VENDORS      10/25/2018        $141,509.20
                          2314 S VINEYARD AVENUE UNIT
NINGBO KONWIN             J                                                                               ONTARIO             CA           91761                                  SUPPLIERS OR VENDORS      10/30/2018               $1.00
                          2314 S VINEYARD AVENUE UNIT
NINGBO KONWIN             J                                                                               ONTARIO             CA           91761                                  SUPPLIERS OR VENDORS       11/8/2018        $130,581.94
                          2314 S VINEYARD AVENUE UNIT
NINGBO KONWIN             J                                                                               ONTARIO             CA           91761                                  SUPPLIERS OR VENDORS      11/30/2018            $515.18
NINTENDO OF AMERICA       PO BOX 2155                                                                     REDMOND             WA           98052                                  SUPPLIERS OR VENDORS      10/18/2018          $1,593.73
NINTENDO OF AMERICA       PO BOX 2155                                                                     REDMOND             WA           98052                                  SUPPLIERS OR VENDORS      10/23/2018         $19,716.69
NINTENDO OF AMERICA       PO BOX 2155                                                                     REDMOND             WA           98052                                  SUPPLIERS OR VENDORS      10/30/2018         $16,635.16
NINTENDO OF AMERICA       PO BOX 2155                                                                     REDMOND             WA           98052                                  SUPPLIERS OR VENDORS       11/1/2018          $4,239.98
NINTENDO OF AMERICA       PO BOX 2155                                                                     REDMOND             WA           98052                                  SUPPLIERS OR VENDORS       11/6/2018         $12,420.69
NINTENDO OF AMERICA       PO BOX 2155                                                                     REDMOND             WA           98052                                  SUPPLIERS OR VENDORS       11/8/2018          $5,689.19
NINTENDO OF AMERICA       PO BOX 2155                                                                     REDMOND             WA           98052                                  SUPPLIERS OR VENDORS      11/13/2018         $17,250.71
NINTENDO OF AMERICA       PO BOX 2155                                                                     REDMOND             WA           98052                                  SUPPLIERS OR VENDORS      11/15/2018          $1,561.90
NINTENDO OF AMERICA       PO BOX 2155                                                                     REDMOND             WA           98052                                  SUPPLIERS OR VENDORS      11/27/2018         $57,578.43
NINTENDO OF AMERICA       PO BOX 2155                                                                     REDMOND             WA           98052                                  SUPPLIERS OR VENDORS      11/29/2018          $2,755.55
NINTENDO OF AMERICA       PO BOX 2155                                                                     REDMOND             WA           98052                                  SUPPLIERS OR VENDORS       12/4/2018         $20,504.93
NINTENDO OF AMERICA       PO BOX 2155                                                                     REDMOND             WA           98052                                  SUPPLIERS OR VENDORS       12/6/2018          $1,594.82

NISSIN FOODS USA CO INC   PO BOX 512877                                                                   LOS ANGELES         CA           90051-0877                             SUPPLIERS OR VENDORS      10/19/2018           $3,272.54

NISSIN FOODS USA CO INC   PO BOX 512877                                                                   LOS ANGELES         CA           90051-0877                             SUPPLIERS OR VENDORS      10/23/2018           $6,107.91

NISSIN FOODS USA CO INC   PO BOX 512877                                                                   LOS ANGELES         CA           90051-0877                             SUPPLIERS OR VENDORS      10/26/2018           $1,521.71

NISSIN FOODS USA CO INC   PO BOX 512877                                                                   LOS ANGELES         CA           90051-0877                             SUPPLIERS OR VENDORS       11/2/2018           $5,569.51

NISSIN FOODS USA CO INC   PO BOX 512877                                                                   LOS ANGELES         CA           90051-0877                             SUPPLIERS OR VENDORS      11/30/2018           $6,948.72

NITE IZE INCORPORATED     VICE PRESIDENT OF SALES       5660 CENTRAL AVENUE                               BOULDER             CA           80301                                  SUPPLIERS OR VENDORS      10/25/2018         $10,501.30
NIZAN SANDERS             STORE 049                     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/6/2018            $235.65
                          HAMPSHIRE NET LEASE FUND
NLF SKHT HARDIN LLC       LLC                           83 SOUTH STREET                                   MORRISTOWN          NJ           07960                                  SUPPLIERS OR VENDORS      11/10/2018         $25,166.67
                          HAMPSHIRE NET LEASE FUND
NLF SKHT HARDIN LLC       LLC                           83 SOUTH STREET                                   MORRISTOWN          NJ           07960                                  SUPPLIERS OR VENDORS      12/11/2018         $25,166.67
NM DEPT OF REVENUE        1100 SOUTH ST. FRANCIS DR.                                                      SANTA FE            NM           87504                                  SALES/USE TAX             11/28/2018         $12,529.30

NO LAWN LEFT BEHIND LLC   12813 K DRIVE                                                                   PERRY               IA           50220                                  SUPPLIERS OR VENDORS       11/1/2018            $629.16

NO LAWN LEFT BEHIND LLC   12813 K DRIVE                                                                   PERRY               IA           50220                                  SUPPLIERS OR VENDORS       12/7/2018            $359.52
NOAHS LAWN CARE           5205 E 17TH ST                                                                  SIOUX FALLS         SD           57110                                  SUPPLIERS OR VENDORS      11/30/2018            $958.50



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NOLAN JOHNSON              420 CEDAR STREET UNIT 52                                                      BALDWIN             WI           54002                                  SUPPLIERS OR VENDORS        10/31/2018               $30.00
NOLAN MANCE                748 N MAYFOWER DR APT 7                                                       APPLETON            WI           54913                                  SUPPLIERS OR VENDORS        10/22/2018               $25.00
NOLAN OLSON                379 TAPITIO                                                                   IDAHO FALLS         ID           83401                                  SUPPLIERS OR VENDORS         12/7/2018               $36.13
NOLAN TAULE                15 NORTH KANSAS ST                                                            CONRAD              MT           59425                                  SUPPLIERS OR VENDORS        10/22/2018               $23.00

NONA KLIMKE                303 NORTH WESTMOUNT DRIVE                                                     SUN PRAIRIE         WI           53590                                  SUPPLIERS OR VENDORS       10/25/2018               $10.00
NORA CRAVEN                4407 HIGHLANDER ROAD                                                          RHINELANDER         WI           54501                                  SUPPLIERS OR VENDORS        11/5/2018               $25.00
NORA KLEPPS                W999 CTY Z                                                                    KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS       12/21/2018               $25.00
NORCO INCORPORATED         PO BOX 413124                                                                 SALT LAKE CITY      UT           84141-3124                             SUPPLIERS OR VENDORS       11/29/2018              $102.85
                           NORTHLAND ALUMINUM
NORDIC WARE                PRODUCTS                    BOX 1450 NW 8657                                  MINNEAPOLIS         MN           55485-8657                             SUPPLIERS OR VENDORS       10/18/2018            $5,422.98
                           NORTHLAND ALUMINUM
NORDIC WARE                PRODUCTS                    BOX 1450 NW 8657                                  MINNEAPOLIS         MN           55485-8657                             SUPPLIERS OR VENDORS        11/1/2018            $1,954.80
                           NORTHLAND ALUMINUM
NORDIC WARE                PRODUCTS                    BOX 1450 NW 8657                                  MINNEAPOLIS         MN           55485-8657                             SUPPLIERS OR VENDORS        11/8/2018              $833.40
                           NORTHLAND ALUMINUM
NORDIC WARE                PRODUCTS                    BOX 1450 NW 8657                                  MINNEAPOLIS         MN           55485-8657                             SUPPLIERS OR VENDORS       11/15/2018            $3,302.42
                           NORTHLAND ALUMINUM
NORDIC WARE                PRODUCTS                    BOX 1450 NW 8657                                  MINNEAPOLIS         MN           55485-8657                             SUPPLIERS OR VENDORS       11/29/2018            $3,775.44

NORFOLK REGIONAL CENTER MARGE HIPP                     PO BOX 1209                                       NORFOLK             NE           68702                                  SUPPLIERS OR VENDORS       12/11/2018               $65.00

NORITA SCHWARZENBART       3415 HILLTOP WAY #19                                                          GREEN BAY           WI           54301                                  SUPPLIERS OR VENDORS       10/22/2018               $25.00
NORMA CLARK                82991 430TH AVE                                                               LAKEFIELD           MN           56150                                  SUPPLIERS OR VENDORS        11/1/2018               $37.99
NORMA GATES                431 ASH ST                                                                    TRIMONT             MN           56176                                  SUPPLIERS OR VENDORS        11/5/2018              $125.00
NORMA LOOS                 930 RUTLAND DR                                                                LINCOLN             NE           68512                                  SUPPLIERS OR VENDORS       10/26/2018               $23.00
NORMA OBER                 POB 31                                                                        BLOOMFIELD          NE           68718                                  SUPPLIERS OR VENDORS       10/31/2018               $35.90
NORMAN BURESH              32936 JOCKO RD                                                                ARLEE               MT           59821                                  SUPPLIERS OR VENDORS       12/13/2018               $13.44
NORMAN GOERING             2800 WOODS BLV              APT 503                                           LINCOLN             NE           68502                                  SUPPLIERS OR VENDORS       11/15/2018               $16.00
NORMAN JACKMAN             STORE 2-065                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/1/2018               $13.08
NORMAN KRANZUSCH           2940 N MORRISON ST                                                            APPLETON            WI           54911                                  SUPPLIERS OR VENDORS       11/26/2018               $11.04
NORMAN RAAP                206 E FIELD AVE PO BOX 84                                                     ROSLYN              SD           57261                                  SUPPLIERS OR VENDORS       11/12/2018               $11.04

NORMAN WEIN                241 CRANBERRY RD                                                              WISCONSIN RAPIDS    WI           54494                                  SUPPLIERS OR VENDORS       11/26/2018               $33.74
NORMARK                    C/O RAPALA                  DEPT CH 17253                                     PALATINE            IL           60055-7253                             SUPPLIERS OR VENDORS       10/23/2018            $5,094.82
NORMARK                    C/O RAPALA                  DEPT CH 17253                                     PALATINE            IL           60055-7253                             SUPPLIERS OR VENDORS       10/30/2018            $3,306.15
NORMARK                    C/O RAPALA                  DEPT CH 17253                                     PALATINE            IL           60055-7253                             SUPPLIERS OR VENDORS        11/6/2018            $1,479.37
NORMARK                    C/O RAPALA                  DEPT CH 17253                                     PALATINE            IL           60055-7253                             SUPPLIERS OR VENDORS       11/13/2018            $3,749.72
NORMARK                    C/O RAPALA                  DEPT CH 17253                                     PALATINE            IL           60055-7253                             SUPPLIERS OR VENDORS       11/16/2018              $743.52
NORMARK                    C/O RAPALA                  DEPT CH 17253                                     PALATINE            IL           60055-7253                             SUPPLIERS OR VENDORS       11/23/2018            $4,036.04
NORMARK                    C/O RAPALA                  DEPT CH 17253                                     PALATINE            IL           60055-7253                             SUPPLIERS OR VENDORS       11/27/2018            $3,462.64
NORMARK                    C/O RAPALA                  DEPT CH 17253                                     PALATINE            IL           60055-7253                             SUPPLIERS OR VENDORS        12/4/2018            $4,378.11
NORTH CAROLINA DEPT OF
REVENUE                    501 N WILMINGTON ST                                                           RALEIGH             NC           27604                                  SALES & USE TAX            12/20/2018            $1,683.85
NORTH CAROLINA DEPT OF                                 UNCLAIMED PROPERTY
STATE TREASURER            ATTN BRENDA WILLIAMS        PROGRAM            3200 ATLANTIC AVENUE           RALEIGH             NC           27604                                  SUPPLIERS OR VENDORS       10/24/2018                $4.99
NORTH CENTRAL BUILDING
SUPPLY CO                  801 4TH STREET SE           PO BOX 357                                        HAMPTON             IA           50441                                  SUPPLIERS OR VENDORS        11/1/2018              $428.00
NORTH CENTRAL BUILDING
SUPPLY CO                  801 4TH STREET SE           PO BOX 357                                        HAMPTON             IA           50441                                  SUPPLIERS OR VENDORS       11/29/2018              $588.50
NORTH CENTRAL UTILITY OF
WISCONSIN LLC              PO BOX 8487                                                                   MADISON             WI           53708                                  SUPPLIERS OR VENDORS       10/25/2018              $263.76
NORTH CENTRAL UTILITY OF
WISCONSIN LLC              PO BOX 8487                                                                   MADISON             WI           53708                                  SUPPLIERS OR VENDORS       11/29/2018              $263.76



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                                                                                                                                                                                     Reasons for payment or    Dates of     Total Amount or
       Creditor Name                 Address1                   Address2                  Address3                   City            State       Zip              Country                   transfer          Payments            Value
NORTH CENTRAL UTILITY OF
WISCONSIN LLC              PO BOX 8487                                                                      MADISON             WI           53708                                  SUPPLIERS OR VENDORS         1/4/2019            $263.76
NORTH DAKOTA
DEPARTMENT OF                                            600 E BOULEVARD
AGRICULTURE                DEPARTMENT 602                AVENUE                                             BISMARCK            ND           58505-0020                             SUPPLIERS OR VENDORS      12/11/2018             $450.00
NORTH DAKOTA
DEPARTMENT OF                                            600 E BOULEVARD
AGRICULTURE                DEPARTMENT 602                AVENUE                                             BISMARCK            ND           58505-0020                             SUPPLIERS OR VENDORS      12/21/2018              $50.00
NORTH DAKOTA DEPT OF       1305 E WALNUT ST FOURTH
REVENUE                    FLOOR 0107                                                                       DES MOINES          IA           50319                                  SALES & USE TAX            11/1/2018         $209,761.85
NORTH DAKOTA DEPT OF       1305 E WALNUT ST FOURTH
REVENUE                    FLOOR 0107                                                                       DES MOINES          IA           50319                                  SALES & USE TAX            12/3/2018         $159,231.59
NORTH DAKOTA DEPT OF       1305 E WALNUT ST FOURTH
REVENUE                    FLOOR 0107                                                                       DES MOINES          IA           50319                                  SALES & USE TAX              1/2/2019        $202,613.29
NORTH DAKOTA GAME AND
FISH DEPARTMENT            100 N. BISMARCK EXPRESSWAY                                                       BISMARCK            ND           58501                                  PAYMENT FOR SERVICES      10/16/2018            $3,024.00
NORTH DAKOTA GAME AND
FISH DEPARTMENT            100 N. BISMARCK EXPRESSWAY                                                       BISMARCK            ND           58501                                  PAYMENT FOR SERVICES      11/16/2018            $5,499.00
NORTH DAKOTA GAME AND
FISH DEPARTMENT            100 N. BISMARCK EXPRESSWAY                                                       BISMARCK            ND           58501                                  PAYMENT FOR SERVICES      12/18/2018            $2,943.50
NORTH DAKOTA SECRETARY
OF STATE                   PO BOX 5513                                                                      BISMARCK            ND           58506-5513                             SUPPLIERS OR VENDORS      10/26/2018              $50.00
NORTH DAKOTA SECRETARY
OF STATE                   PO BOX 5513                                                                      BISMARCK            ND           58506-5513                             SUPPLIERS OR VENDORS      10/31/2018              $50.00
NORTH DAKOTA SECRETARY
OF STATE                   PO BOX 5513                                                                      BISMARCK            ND           58506-5513                             SUPPLIERS OR VENDORS      10/31/2018              $50.00
                           629 FIFTH AVENUE BLDG 3 STE
NORTH FORK SALES           302                                                                              PELHAM              NY           10803                                  SUPPLIERS OR VENDORS      11/22/2018          $15,794.12
                           629 FIFTH AVENUE BLDG 3 STE
NORTH FORK SALES           302                                                                              PELHAM              NY           10803                                  SUPPLIERS OR VENDORS      11/29/2018            $8,010.00
NORTH IOWA LAWNCARE        RYNE SUNDE                    415 S CLARK STREET                                 FOREST CITY         IA           50436                                  SUPPLIERS OR VENDORS       11/8/2018              $422.65
NORTH PLATTE POLICE
DEPARTMENT                 701 S JEFFERS STREET                                                             NORTH PLATTE        NE           69101                                  SUPPLIERS OR VENDORS      10/26/2018              $20.00

NORTH STATES INDUSTRIES                                  1507 92ND LANE NE
INCORPORATED               VICE PRESIDENT OF SALES       #210                                               BLAINE              MN           55449-4334                             SUPPLIERS OR VENDORS      10/18/2018            $5,869.55

NORTH STATES INDUSTRIES                                  1507 92ND LANE NE
INCORPORATED               VICE PRESIDENT OF SALES       #210                                               BLAINE              MN           55449-4334                             SUPPLIERS OR VENDORS      10/25/2018            $7,200.59

NORTH STATES INDUSTRIES                                  1507 92ND LANE NE
INCORPORATED               VICE PRESIDENT OF SALES       #210                                               BLAINE              MN           55449-4334                             SUPPLIERS OR VENDORS       11/1/2018            $2,503.53

NORTH STATES INDUSTRIES                                  1507 92ND LANE NE
INCORPORATED               VICE PRESIDENT OF SALES       #210                                               BLAINE              MN           55449-4334                             SUPPLIERS OR VENDORS       11/8/2018            $7,483.47

NORTH STATES INDUSTRIES                                  1507 92ND LANE NE
INCORPORATED               VICE PRESIDENT OF SALES       #210                                               BLAINE              MN           55449-4334                             SUPPLIERS OR VENDORS      11/15/2018            $2,260.45

NORTH STATES INDUSTRIES                                  1507 92ND LANE NE
INCORPORATED               VICE PRESIDENT OF SALES       #210                                               BLAINE              MN           55449-4334                             SUPPLIERS OR VENDORS      11/22/2018            $4,693.83

NORTH STATES INDUSTRIES                                  1507 92ND LANE NE
INCORPORATED               VICE PRESIDENT OF SALES       #210                                               BLAINE              MN           55449-4334                             SUPPLIERS OR VENDORS      11/29/2018            $8,679.57



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                                                                                                                                                                            Reasons for payment or    Dates of    Total Amount or
      Creditor Name                  Address1          Address2                  Address3                   City            State       Zip              Country                   transfer          Payments           Value
NORTHEAST COLORADO
HELATH DEPARTMENT         700 COLUMBINE STREET                                                     STERLING            CO           80751                                  SUPPLIERS OR VENDORS       12/7/2018            $353.00

NORTHEND EXCAVATING INC   851 BUMBLETOWN ROAD                                                      ALLOUEZ             MI           49805                                  SUPPLIERS OR VENDORS       11/1/2018            $340.00
NORTHERN BORDER
DISTRIBUTING              BOX 1161               PAM TO ORACLE                                     SCOBEY              MT           59263                                  SUPPLIERS OR VENDORS      10/18/2018            $316.80
NORTHERN BORDER
DISTRIBUTING              BOX 1161               PAM TO ORACLE                                     SCOBEY              MT           59263                                  SUPPLIERS OR VENDORS      10/25/2018            $342.04
NORTHERN BORDER
DISTRIBUTING              BOX 1161               PAM TO ORACLE                                     SCOBEY              MT           59263                                  SUPPLIERS OR VENDORS       11/1/2018            $382.80
NORTHERN BORDER
DISTRIBUTING              BOX 1161               PAM TO ORACLE                                     SCOBEY              MT           59263                                  SUPPLIERS OR VENDORS       11/8/2018            $431.86
NORTHERN BORDER
DISTRIBUTING              BOX 1161               PAM TO ORACLE                                     SCOBEY              MT           59263                                  SUPPLIERS OR VENDORS      11/15/2018            $287.82
NORTHERN BORDER
DISTRIBUTING              BOX 1161               PAM TO ORACLE                                     SCOBEY              MT           59263                                  SUPPLIERS OR VENDORS      11/22/2018            $295.35
NORTHERN BORDER
DISTRIBUTING              BOX 1161               PAM TO ORACLE                                     SCOBEY              MT           59263                                  SUPPLIERS OR VENDORS      11/29/2018            $396.00
NORTHERN BORDER
DISTRIBUTING              BOX 1161               PAM TO ORACLE                                     SCOBEY              MT           59263                                  SUPPLIERS OR VENDORS      12/20/2018            $987.42
NORTHLAND FISHING
TACKLE                    1001 NAYLOR DRIVE SE                                                     BEMIDJI             MN           56601                                  SUPPLIERS OR VENDORS      10/23/2018           $3,004.80
NORTHLAND FISHING
TACKLE                    1001 NAYLOR DRIVE SE                                                     BEMIDJI             MN           56601                                  SUPPLIERS OR VENDORS      10/30/2018           $1,274.28
NORTHLAND FISHING
TACKLE                    1001 NAYLOR DRIVE SE                                                     BEMIDJI             MN           56601                                  SUPPLIERS OR VENDORS       11/6/2018           $1,176.26
NORTHLAND FISHING
TACKLE                    1001 NAYLOR DRIVE SE                                                     BEMIDJI             MN           56601                                  SUPPLIERS OR VENDORS      11/13/2018           $2,579.22
NORTHLAND FISHING
TACKLE                    1001 NAYLOR DRIVE SE                                                     BEMIDJI             MN           56601                                  SUPPLIERS OR VENDORS      11/23/2018            $227.94
NORTHLAND FISHING
TACKLE                    1001 NAYLOR DRIVE SE                                                     BEMIDJI             MN           56601                                  SUPPLIERS OR VENDORS      11/27/2018           $1,987.92
NORTHLAND FISHING
TACKLE                    1001 NAYLOR DRIVE SE                                                     BEMIDJI             MN           56601                                  SUPPLIERS OR VENDORS      12/11/2018            $357.90
NORTHLAND MALL LLC        PO BOX 11562                                                             NEWARK              NJ           07101-4562                             SUPPLIERS OR VENDORS      10/22/2018         $13,406.60
NORTHLAND MALL LLC        PO BOX 11562                                                             NEWARK              NJ           07101-4562                             SUPPLIERS OR VENDORS       11/1/2018            $200.00
NORTHLAND MALL LLC        PO BOX 11562                                                             NEWARK              NJ           07101-4562                             SUPPLIERS OR VENDORS       12/3/2018            $200.00
NORTHWEST BENEFIT
NETWORK                   2323 EASTLAKE AVE E                                                      SEATTLE             WA           98102                                  SUPPLIERS OR VENDORS       11/6/2018            $162.97
NORTHWEST BENEFIT
NETWORK                   2323 EASTLAKE AVE E                                                      SEATTLE             WA           98102                                  SUPPLIERS OR VENDORS       11/6/2018            $458.66
NORTHWEST BENEFIT
NETWORK                   2323 EASTLAKE AVE E                                                      SEATTLE             WA           98102                                  SUPPLIERS OR VENDORS       11/7/2018             $33.00
NORTHWEST BENEFIT
NETWORK                   2323 EASTLAKE AVE E                                                      SEATTLE             WA           98102                                  SUPPLIERS OR VENDORS      12/11/2018             $29.99
                          CIT GROUP COMMERCIAL
NORTHWEST COMPANY         SERVICES INC           PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      10/20/2018         $20,045.48
                          VILLAGE NORTHWEST
NORTHWEST ENTERPRISES     UNLIMITED              200 N 18TH AVENUE                                 SHELDON             IA           51201                                  SUPPLIERS OR VENDORS       11/1/2018             $30.00
                          VILLAGE NORTHWEST
NORTHWEST ENTERPRISES     UNLIMITED              200 N 18TH AVENUE                                 SHELDON             IA           51201                                  SUPPLIERS OR VENDORS      12/17/2018             $90.00
NORTON AREA
DEVELOPMENT LLC           418 E HOLME STREET                                                       NORTON              KS           67654-0000                             SUPPLIERS OR VENDORS      11/10/2018         $12,512.50




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                                                                                                                                                                             Reasons for payment or    Dates of    Total Amount or
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NORTON AREA
DEVELOPMENT LLC       418 E HOLME STREET                                                            NORTON              KS           67654-0000                             SUPPLIERS OR VENDORS       12/8/2018         $12,512.50
NORTON COMMUNITY HIGH
SCHOOL                513 W WILBERFORCE                                                             NORTON              KS           67654                                  SUPPLIERS OR VENDORS      10/29/2018            $100.00
NORTON COUNTY
TREASURER             PO BOX 70                                                                     NORTON              KS           67654                                  SUPPLIERS OR VENDORS      12/13/2018         $13,601.72

NOTATIONS INCORPORATED 539 JACKSONVILLE ROAD      PAM TO ORACLE                                     WARMINSTER          PA           18974                                  SUPPLIERS OR VENDORS      10/20/2018         $47,373.85

NOTATIONS INCORPORATED 539 JACKSONVILLE ROAD      PAM TO ORACLE                                     WARMINSTER          PA           18974                                  SUPPLIERS OR VENDORS      10/24/2018         $43,947.00

NOTATIONS INCORPORATED 539 JACKSONVILLE ROAD      PAM TO ORACLE                                     WARMINSTER          PA           18974                                  SUPPLIERS OR VENDORS      10/26/2018         $75,987.00

NOTATIONS INCORPORATED 539 JACKSONVILLE ROAD      PAM TO ORACLE                                     WARMINSTER          PA           18974                                  SUPPLIERS OR VENDORS      10/31/2018           $2,803.50

NOTATIONS INCORPORATED 539 JACKSONVILLE ROAD      PAM TO ORACLE                                     WARMINSTER          PA           18974                                  SUPPLIERS OR VENDORS       11/1/2018           $2,406.00

NOTATIONS INCORPORATED 539 JACKSONVILLE ROAD      PAM TO ORACLE                                     WARMINSTER          PA           18974                                  SUPPLIERS OR VENDORS       11/3/2018           $3,906.00

NOTATIONS INCORPORATED 539 JACKSONVILLE ROAD      PAM TO ORACLE                                     WARMINSTER          PA           18974                                  SUPPLIERS OR VENDORS      11/13/2018           $5,451.02

NOTATIONS INCORPORATED 539 JACKSONVILLE ROAD      PAM TO ORACLE                                     WARMINSTER          PA           18974                                  SUPPLIERS OR VENDORS      11/24/2018        $258,592.22

NOTATIONS INCORPORATED 539 JACKSONVILLE ROAD      PAM TO ORACLE                                     WARMINSTER          PA           18974                                  SUPPLIERS OR VENDORS      11/29/2018        $189,843.00

NOTATIONS INCORPORATED 539 JACKSONVILLE ROAD      PAM TO ORACLE                                     WARMINSTER          PA           18974                                  SUPPLIERS OR VENDORS      12/19/2018            $810.71

NOTATIONS INCORPORATED 539 JACKSONVILLE ROAD      PAM TO ORACLE                                     WARMINSTER          PA           18974                                  SUPPLIERS OR VENDORS      12/21/2018            $198.00
                                                  1515 WEST MAPLE
NOTTINGHAM PARTNERS       JAMES R BINGHAM         AVENUE                                            RED WING            MN           55066-3022                             SUPPLIERS OR VENDORS       11/1/2018           $6,898.25
                                                  1515 WEST MAPLE
NOTTINGHAM PARTNERS       JAMES R BINGHAM         AVENUE                                            RED WING            MN           55066-3022                             SUPPLIERS OR VENDORS       12/1/2018           $6,898.25

NOURISON INDUSTRIES INC   NEWARK POST OFFICE      BOX 35651                                         NEWARK              NJ           07193-5651                             SUPPLIERS OR VENDORS      10/18/2018         $13,922.00

NOURISON INDUSTRIES INC   NEWARK POST OFFICE      BOX 35651                                         NEWARK              NJ           07193-5651                             SUPPLIERS OR VENDORS      10/25/2018           $7,704.00

NOURISON INDUSTRIES INC   NEWARK POST OFFICE      BOX 35651                                         NEWARK              NJ           07193-5651                             SUPPLIERS OR VENDORS       11/8/2018           $4,915.78

NOURISON INDUSTRIES INC   NEWARK POST OFFICE      BOX 35651                                         NEWARK              NJ           07193-5651                             SUPPLIERS OR VENDORS      11/15/2018           $2,608.08

NOURISON INDUSTRIES INC   NEWARK POST OFFICE      BOX 35651                                         NEWARK              NJ           07193-5651                             SUPPLIERS OR VENDORS      11/29/2018            $500.40
NOVARTIS CONSUMER
HEALTH INCORPORATED       3700 SOLUTIONS CENTER                                                     CHICAGO             IL           60677-3077                             SUPPLIERS OR VENDORS      10/19/2018         $25,161.33
NOVARTIS CONSUMER
HEALTH INCORPORATED       3700 SOLUTIONS CENTER                                                     CHICAGO             IL           60677-3077                             SUPPLIERS OR VENDORS      10/22/2018           $3,494.92
NOVARTIS CONSUMER
HEALTH INCORPORATED       3700 SOLUTIONS CENTER                                                     CHICAGO             IL           60677-3077                             SUPPLIERS OR VENDORS      10/26/2018         $15,039.79
NOVARTIS CONSUMER
HEALTH INCORPORATED       3700 SOLUTIONS CENTER                                                     CHICAGO             IL           60677-3077                             SUPPLIERS OR VENDORS       11/1/2018           $3,719.98
NOVARTIS CONSUMER
HEALTH INCORPORATED       3700 SOLUTIONS CENTER                                                     CHICAGO             IL           60677-3077                             SUPPLIERS OR VENDORS       11/7/2018         $29,924.78
NOVARTIS CONSUMER
HEALTH INCORPORATED       3700 SOLUTIONS CENTER                                                     CHICAGO             IL           60677-3077                             SUPPLIERS OR VENDORS       11/8/2018           $6,758.40



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NOVARTIS CONSUMER
HEALTH INCORPORATED      3700 SOLUTIONS CENTER                                                     CHICAGO             IL           60677-3077                             SUPPLIERS OR VENDORS       11/9/2018            $500.00
NOVARTIS CONSUMER
HEALTH INCORPORATED      3700 SOLUTIONS CENTER                                                     CHICAGO             IL           60677-3077                             SUPPLIERS OR VENDORS      11/14/2018         $16,590.68
NOVARTIS CONSUMER
HEALTH INCORPORATED      3700 SOLUTIONS CENTER                                                     CHICAGO             IL           60677-3077                             SUPPLIERS OR VENDORS      11/15/2018           $4,232.52
NOVARTIS CONSUMER
HEALTH INCORPORATED      3700 SOLUTIONS CENTER                                                     CHICAGO             IL           60677-3077                             SUPPLIERS OR VENDORS      11/16/2018         $38,145.75
NOVARTIS CONSUMER
HEALTH INCORPORATED      3700 SOLUTIONS CENTER                                                     CHICAGO             IL           60677-3077                             SUPPLIERS OR VENDORS      11/23/2018         $19,761.41
NOVARTIS CONSUMER
HEALTH INCORPORATED      3700 SOLUTIONS CENTER                                                     CHICAGO             IL           60677-3077                             SUPPLIERS OR VENDORS      11/26/2018         $10,313.33
NOVARTIS CONSUMER
HEALTH INCORPORATED      3700 SOLUTIONS CENTER                                                     CHICAGO             IL           60677-3077                             SUPPLIERS OR VENDORS      11/30/2018         $36,012.46
NSA MEDIA GROUP          3025 HIGHLAND PARKWAY
INCORPORATED             SUITE 700                                                                 DOWNERS GROVE IL                 60515                                  SUPPLIERS OR VENDORS       11/9/2018        $930,527.93
NSA MEDIA GROUP          3025 HIGHLAND PARKWAY
INCORPORATED             SUITE 700                                                                 DOWNERS GROVE IL                 60515                                  SUPPLIERS OR VENDORS      11/16/2018         $37,500.00
NSA MEDIA GROUP          3025 HIGHLAND PARKWAY
INCORPORATED             SUITE 700                                                                 DOWNERS GROVE IL                 60515                                  SUPPLIERS OR VENDORS      12/21/2018       $2,119,874.31
NSA MEDIA GROUP          3025 HIGHLAND PARKWAY
INCORPORATED             SUITE 700                                                                 DOWNERS GROVE IL                 60515                                  SUPPLIERS OR VENDORS       1/10/2019        $125,001.00
NTA ENTERPRISE
INCORPORATED             454 MORRISON DRIVE      PAM TO ORACLE                                     PITTSBURGH          PA           15216                                  SUPPLIERS OR VENDORS      10/20/2018           $1,776.89
NUK USA LLC              24857 NETWORK PLACE                                                       CHICAGO             IL           60673-1248                             SUPPLIERS OR VENDORS      10/19/2018           $1,339.11
NUK USA LLC              24857 NETWORK PLACE                                                       CHICAGO             IL           60673-1248                             SUPPLIERS OR VENDORS       11/2/2018           $2,384.31
NUK USA LLC              24857 NETWORK PLACE                                                       CHICAGO             IL           60673-1248                             SUPPLIERS OR VENDORS       11/9/2018           $2,502.85
NUK USA LLC              24857 NETWORK PLACE                                                       CHICAGO             IL           60673-1248                             SUPPLIERS OR VENDORS      11/30/2018           $4,585.94
NURTURE INC DBA HAPPY
FAMILY BRANDS            7749                    PO BOX 7247                                       PHILADELPHIA        PA           19170-7749                             SUPPLIERS OR VENDORS      10/25/2018           $2,531.57
NURTURE INC DBA HAPPY
FAMILY BRANDS            7749                    PO BOX 7247                                       PHILADELPHIA        PA           19170-7749                             SUPPLIERS OR VENDORS       11/1/2018         $14,985.16
NURTURE INC DBA HAPPY
FAMILY BRANDS            7749                    PO BOX 7247                                       PHILADELPHIA        PA           19170-7749                             SUPPLIERS OR VENDORS       11/8/2018           $1,837.85
NURTURE INC DBA HAPPY
FAMILY BRANDS            7749                    PO BOX 7247                                       PHILADELPHIA        PA           19170-7749                             SUPPLIERS OR VENDORS      11/15/2018         $22,598.70
NURTURE INC DBA HAPPY
FAMILY BRANDS            7749                    PO BOX 7247                                       PHILADELPHIA        PA           19170-7749                             SUPPLIERS OR VENDORS      11/22/2018           $3,671.16
NURTURE INC DBA HAPPY
FAMILY BRANDS            7749                    PO BOX 7247                                       PHILADELPHIA        PA           19170-7749                             SUPPLIERS OR VENDORS      11/29/2018           $6,357.36
NUTECH FIRE & SECURITY
INC                      NUTECH NATIONAL         PO BOX 31284                                      TAMPA               FL           33631-3284                             SUPPLIERS OR VENDORS      10/31/2018            $375.70
NUTECH FIRE & SECURITY
INC                      NUTECH NATIONAL         PO BOX 31284                                      TAMPA               FL           33631-3284                             SUPPLIERS OR VENDORS      11/16/2018            $529.10
NUTECH FIRE & SECURITY
INC                      NUTECH NATIONAL         PO BOX 31284                                      TAMPA               FL           33631-3284                             SUPPLIERS OR VENDORS      11/26/2018           $2,495.21
NUTECH FIRE & SECURITY
INC                      NUTECH NATIONAL         PO BOX 31284                                      TAMPA               FL           33631-3284                             SUPPLIERS OR VENDORS       12/7/2018            $868.40
NUTECH FIRE & SECURITY
INC                      NUTECH NATIONAL         PO BOX 31284                                      TAMPA               FL           33631-3284                             SUPPLIERS OR VENDORS      12/17/2018           $1,180.40
NUTECH FIRE & SECURITY
INC                      NUTECH NATIONAL         PO BOX 31284                                      TAMPA               FL           33631-3284                             SUPPLIERS OR VENDORS      12/20/2018             $153.40
NVE PHARMACEUTICALS      NVE INC                 15 WHITEHALL ROAD                                 ANDOVER             NJ           07821                                  SUPPLIERS OR VENDORS      10/18/2018           $2,724.72
NVE PHARMACEUTICALS      NVE INC                 15 WHITEHALL ROAD                                 ANDOVER             NJ           07821                                  SUPPLIERS OR VENDORS      10/25/2018             $722.40



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                                                                                                                                                                                   Reasons for payment or    Dates of     Total Amount or
      Creditor Name                 Address1                 Address2                  Address3               City                State       Zip              Country                    transfer          Payments            Value
NVE PHARMACEUTICALS       NVE INC                      15 WHITEHALL ROAD                                 ANDOVER             NJ           07821                                  SUPPLIERS OR VENDORS         11/1/2018            $1,312.32
NVE PHARMACEUTICALS       NVE INC                      15 WHITEHALL ROAD                                 ANDOVER             NJ           07821                                  SUPPLIERS OR VENDORS         11/8/2018            $4,279.31
NVE PHARMACEUTICALS       NVE INC                      15 WHITEHALL ROAD                                 ANDOVER             NJ           07821                                  SUPPLIERS OR VENDORS        11/15/2018            $1,844.16
NVE PHARMACEUTICALS       NVE INC                      15 WHITEHALL ROAD                                 ANDOVER             NJ           07821                                  SUPPLIERS OR VENDORS        11/22/2018            $2,488.32
NVE PHARMACEUTICALS       NVE INC                      15 WHITEHALL ROAD                                 ANDOVER             NJ           07821                                  SUPPLIERS OR VENDORS        11/29/2018               $79.20
NYLA SCOTT                PO BOX 5                                                                       CHAMBERS            NE           68725                                  SUPPLIERS OR VENDORS         11/5/2018               $53.54
NYLA SCOTT                PO BOX 5                                                                       CHAMBERS            NE           68725                                  SUPPLIERS OR VENDORS        11/13/2018               $13.38
                          SPECIALISTS DATA SOLUTIONS
O HSBC SDS INC C          INC                          SUITE 228              306 S WASHINGTON           ROYAL OAK           MI           48067                                  SUPPLIERS OR VENDORS       11/15/2018           $58,975.00
O MALLEY BEVERAGE                                      SHOPKO STORES
INCORPORATED              CASH ON DELIVERY             INCORPORATED           PAM TO ORACLE              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/18/2018              $165.65
O MALLEY BEVERAGE                                      SHOPKO STORES
INCORPORATED              CASH ON DELIVERY             INCORPORATED           PAM TO ORACLE              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/15/2018              $135.85
O MALLEY BEVERAGE                                      SHOPKO STORES
INCORPORATED              CASH ON DELIVERY             INCORPORATED           PAM TO ORACLE              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/29/2018              $118.30
OATH AMERICAS INC         PO BOX 89 4147                                                                 LOS ANGELES         CA           90189-4147                             SUPPLIERS OR VENDORS       11/29/2018              $176.56
OB INVESTORS LLC          2509 PIONEER ROAD                                                              EVANSTON            IL           60201-2203                             SUPPLIERS OR VENDORS        11/1/2018           $42,540.11
OB INVESTORS LLC          2509 PIONEER ROAD                                                              EVANSTON            IL           60201-2203                             SUPPLIERS OR VENDORS        12/1/2018           $42,540.11
OBERTO SNACKS INC         VICE PRESIDENT OF SALES      7060 OBERTO DRIVE                                 KENT                WA           98032                                  SUPPLIERS OR VENDORS       10/31/2018              $632.14
OBERTO SNACKS INC         VICE PRESIDENT OF SALES      7060 OBERTO DRIVE                                 KENT                WA           98032                                  SUPPLIERS OR VENDORS        11/5/2018            $2,619.12
OBERTO SNACKS INC         VICE PRESIDENT OF SALES      7060 OBERTO DRIVE                                 KENT                WA           98032                                  SUPPLIERS OR VENDORS       11/22/2018            $2,175.08
OCEAN NETWORK EXPRESS     8730 STONY POINT PARKWAY
PTE LTD                   SUITE 400                                                                      RICHMOND            VA           23235                                  SUPPLIERS OR VENDORS       10/18/2018            $3,300.00
OCEAN NETWORK EXPRESS     8730 STONY POINT PARKWAY
PTE LTD                   SUITE 400                                                                      RICHMOND            VA           23235                                  SUPPLIERS OR VENDORS       10/25/2018            $5,500.00
OCEAN NETWORK EXPRESS     8730 STONY POINT PARKWAY
PTE LTD                   SUITE 400                                                                      RICHMOND            VA           23235                                  SUPPLIERS OR VENDORS        11/1/2018           $17,490.00
OCEAN NETWORK EXPRESS     8730 STONY POINT PARKWAY
PTE LTD                   SUITE 400                                                                      RICHMOND            VA           23235                                  SUPPLIERS OR VENDORS       11/27/2018           $40,695.00
OCEAN NETWORK EXPRESS     8730 STONY POINT PARKWAY
PTE LTD                   SUITE 400                                                                      RICHMOND            VA           23235                                  SUPPLIERS OR VENDORS       11/29/2018            $2,500.00
OCEAN NETWORK EXPRESS     8730 STONY POINT PARKWAY
PTE LTD                   SUITE 400                                                                      RICHMOND            VA           23235                                  SUPPLIERS OR VENDORS       12/22/2018           $22,950.00
OCEAN NETWORK EXPRESS     8730 STONY POINT PARKWAY
PTE LTD                   SUITE 400                                                                      RICHMOND            VA           23235                                  SUPPLIERS OR VENDORS       12/28/2018           $14,571.00
OCONNOR BUSINESS & REAL
ESTATE INTEREST           PO BOX 139                                                                     GRAND ISLAND        NE           68802-0139                             SUPPLIERS OR VENDORS       11/10/2018           $65,388.78
OCONNOR BUSINESS & REAL
ESTATE INTEREST           PO BOX 139                                                                     GRAND ISLAND        NE           68802-0139                             SUPPLIERS OR VENDORS       12/12/2018           $65,388.78
OCTAVIO CASILLAS          708 WILMOR ST                                                                  RACINE              WI           53402                                  SUPPLIERS OR VENDORS       10/29/2018               $54.00
ODDJOBS                   SETH MICHAEL REED            4837 CO ROAD 10                                   MOSSE LAKE          MN           55767                                  SUPPLIERS OR VENDORS       11/15/2018              $150.00
ODIN BARSNESS             305 PENHURST WAY                                                               NEKOOSA             WI           54457                                  SUPPLIERS OR VENDORS       10/22/2018               $40.57
OFFICE DEPOT              ACCT # 80923801              PO BOX 88040                                      CHICAGO             IL           60680-1040                             SUPPLIERS OR VENDORS       10/18/2018               $25.35
OFFICE DEPOT              ACCT # 80923801              PO BOX 88040                                      CHICAGO             IL           60680-1040                             SUPPLIERS OR VENDORS       10/18/2018              $963.15
OFFICE DEPOT              ACCT # 80923801              PO BOX 88040                                      CHICAGO             IL           60680-1040                             SUPPLIERS OR VENDORS       10/25/2018              $366.93
OFFICE DEPOT              ACCT # 80923801              PO BOX 88040                                      CHICAGO             IL           60680-1040                             SUPPLIERS OR VENDORS        11/1/2018           $17,231.70
OFFICE DEPOT              ACCT # 80923801              PO BOX 88040                                      CHICAGO             IL           60680-1040                             SUPPLIERS OR VENDORS        11/8/2018           $21,840.00
OFFICE DEPOT              ACCT # 80923801              PO BOX 88040                                      CHICAGO             IL           60680-1040                             SUPPLIERS OR VENDORS        11/9/2018              $220.14
OFFICE DEPOT              ACCT # 80923801              PO BOX 88040                                      CHICAGO             IL           60680-1040                             SUPPLIERS OR VENDORS       11/15/2018              $234.91
OFFICE DEPOT              ACCT # 80923801              PO BOX 88040                                      CHICAGO             IL           60680-1040                             SUPPLIERS OR VENDORS       11/15/2018              $318.49
OFFICE DEPOT              ACCT # 80923801              PO BOX 88040                                      CHICAGO             IL           60680-1040                             SUPPLIERS OR VENDORS       11/15/2018           $21,840.00
OFFICE DEPOT              ACCT # 80923801              PO BOX 88040                                      CHICAGO             IL           60680-1040                             SUPPLIERS OR VENDORS       11/29/2018            $3,151.23
OFFICE DEPOT              ACCT # 80923801              PO BOX 88040                                      CHICAGO             IL           60680-1040                             SUPPLIERS OR VENDORS       12/17/2018           $29,471.97
OFFICE DEPOT              ACCT # 80923801              PO BOX 88040                                      CHICAGO             IL           60680-1040                             SUPPLIERS OR VENDORS       12/21/2018              $448.87



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                                                                                                                                                                              Reasons for payment or    Dates of    Total Amount or
       Creditor Name            Address1                 Address2                  Address3                   City            State       Zip              Country                   transfer          Payments           Value
OFFICE OF STATE TAX
COMMISSIONER           PO BOX 5623                                                                   BISMARCK            ND           58506-5623                             SUPPLIERS OR VENDORS      10/31/2018            $157.36
OFFICE OF STATE TAX
COMMISSIONER           PO BOX 5623                                                                   BISMARCK            ND           58506-5623                             SUPPLIERS OR VENDORS      11/27/2018            $212.53
OFFICE OF STATE TAX
COMMISSIONER           PO BOX 5623                                                                   BISMARCK            ND           58506-5623                             SUPPLIERS OR VENDORS      12/21/2018            $378.25
OFFICE SHOP
INCORPORATED           211 MINNESOTA AVENUE N                                                        AITKIN              MN           56431                                  SUPPLIERS OR VENDORS       11/8/2018            $119.58
                       BLUMENTHAL DISTRIBUTING     1901 S ARCHIBALD
OFFICE STAR PRODUCTS   INC                         AVENUE                                            ONTARIO             CA           91761-0000                             SUPPLIERS OR VENDORS      10/18/2018            $163.23
                       BLUMENTHAL DISTRIBUTING     1901 S ARCHIBALD
OFFICE STAR PRODUCTS   INC                         AVENUE                                            ONTARIO             CA           91761-0000                             SUPPLIERS OR VENDORS      10/25/2018            $191.28
                       BLUMENTHAL DISTRIBUTING     1901 S ARCHIBALD
OFFICE STAR PRODUCTS   INC                         AVENUE                                            ONTARIO             CA           91761-0000                             SUPPLIERS OR VENDORS       11/6/2018         $21,762.00
                       BLUMENTHAL DISTRIBUTING     1901 S ARCHIBALD
OFFICE STAR PRODUCTS   INC                         AVENUE                                            ONTARIO             CA           91761-0000                             SUPPLIERS OR VENDORS       11/8/2018            $231.13
                       BLUMENTHAL DISTRIBUTING     1901 S ARCHIBALD
OFFICE STAR PRODUCTS   INC                         AVENUE                                            ONTARIO             CA           91761-0000                             SUPPLIERS OR VENDORS      11/15/2018            $108.39
                       BLUMENTHAL DISTRIBUTING     1901 S ARCHIBALD
OFFICE STAR PRODUCTS   INC                         AVENUE                                            ONTARIO             CA           91761-0000                             SUPPLIERS OR VENDORS      11/29/2018             $28.69
                       COMMUNITY DEVELOPMENT       2549 WASHINGTON
OGDEN CITY CORP        DEPT                        BOULEVARD STE 240                                 OGDEN               UT           84401-0000                             SUPPLIERS OR VENDORS      10/22/2018            $150.00
                       COMMUNITY DEVELOPMENT       2549 WASHINGTON
OGDEN CITY CORP        DEPT                        BOULEVARD STE 240                                 OGDEN               UT           84401-0000                             SUPPLIERS OR VENDORS       12/7/2018            $741.00
                       ATTN: BUSINESS COMPLIANCE
OH DEPT OF TAXATION    DIVISION                    PO BOX 2678                                       COLUMBUS            OH           43216-2678                             SALES/USE TAX             11/15/2018           $3,526.00
                       ATTN: BUSINESS COMPLIANCE
OH DEPT OF TAXATION    DIVISION                    PO BOX 2678                                       COLUMBUS            OH           43216-2678                             SALES/USE TAX             11/27/2018               $2.91
                       ATTN: BUSINESS COMPLIANCE
OH DEPT OF TAXATION    DIVISION                    PO BOX 2678                                       COLUMBUS            OH           43216-2678                             SALES/USE TAX             11/27/2018             $24.75
                       ATTN: BUSINESS COMPLIANCE
OH DEPT OF TAXATION    DIVISION                    PO BOX 2678                                       COLUMBUS            OH           43216-2678                             SALES/USE TAX             11/27/2018           $1,366.18
                       ATTN: BUSINESS COMPLIANCE
OH DEPT OF TAXATION    DIVISION                    PO BOX 2678                                       COLUMBUS            OH           43216-2678                             SALES/USE TAX             11/27/2018         $27,846.09
OHIO DEPARTMENT OF
NATURAL RESOURCES      2045 MORSE ROAD                                                               COLUMBUS            OH           43229                                  PAYMENT FOR SERVICES       10/4/2018            $101.00
OHIO DEPARTMENT OF
NATURAL RESOURCES      2045 MORSE ROAD                                                               COLUMBUS            OH           43229                                  PAYMENT FOR SERVICES      10/11/2018             $84.00
OHIO DEPARTMENT OF
NATURAL RESOURCES      2045 MORSE ROAD                                                               COLUMBUS            OH           43229                                  PAYMENT FOR SERVICES      10/18/2018             $36.00
OHIO DEPARTMENT OF
NATURAL RESOURCES      2045 MORSE ROAD                                                               COLUMBUS            OH           43229                                  PAYMENT FOR SERVICES      10/25/2018            $111.00
OHIO DEPARTMENT OF
NATURAL RESOURCES      2045 MORSE ROAD                                                               COLUMBUS            OH           43229                                  PAYMENT FOR SERVICES       11/1/2018             $23.00
OHIO DEPARTMENT OF
NATURAL RESOURCES      2045 MORSE ROAD                                                               COLUMBUS            OH           43229                                  PAYMENT FOR SERVICES       11/8/2018               $6.00
OHIO DEPARTMENT OF
NATURAL RESOURCES      2045 MORSE ROAD                                                               COLUMBUS            OH           43229                                  PAYMENT FOR SERVICES      11/15/2018            $164.00
OHIO DEPARTMENT OF
NATURAL RESOURCES      2045 MORSE ROAD                                                               COLUMBUS            OH           43229                                  PAYMENT FOR SERVICES      11/23/2018            $145.00
OHIO DEPARTMENT OF
NATURAL RESOURCES      2045 MORSE ROAD                                                               COLUMBUS            OH           43229                                  PAYMENT FOR SERVICES      11/29/2018            $143.00
OHIO DEPARTMENT OF
NATURAL RESOURCES      2045 MORSE ROAD                                                               COLUMBUS            OH           43229                                  PAYMENT FOR SERVICES       12/6/2018             $75.00



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                                                                                                                                                                                  Reasons for payment or    Dates of    Total Amount or
      Creditor Name                  Address1                Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
OHIO DEPARTMENT OF
NATURAL RESOURCES          2045 MORSE ROAD                                                               COLUMBUS            OH           43229                                  PAYMENT FOR SERVICES      12/20/2018             $87.00
OHIO DEPARTMENT OF
NATURAL RESOURCES          2045 MORSE ROAD                                                               COLUMBUS            OH           43229                                  PAYMENT FOR SERVICES       1/10/2019             $11.00
OHIO DEPARTMENT OF         ATTN: BUSINESS COMPLIANCE
TAXATION                   DIVISION                    PO BOX 2678                                       COLUMBUS            OH           43216-2678                             SALES & USE TAX           10/25/2018            $214.10
OHIO DEPARTMENT OF         ATTN: BUSINESS COMPLIANCE
TAXATION                   DIVISION                    PO BOX 2678                                       COLUMBUS            OH           43216-2678                             SALES & USE TAX           10/25/2018           $1,234.12
OHIO DEPARTMENT OF         ATTN: BUSINESS COMPLIANCE
TAXATION                   DIVISION                    PO BOX 2678                                       COLUMBUS            OH           43216-2678                             SALES & USE TAX           10/25/2018         $25,917.69
OHIO DEPARTMENT OF         ATTN: BUSINESS COMPLIANCE
TAXATION                   DIVISION                    PO BOX 2678                                       COLUMBUS            OH           43216-2678                             SALES & USE TAX           12/27/2018               $9.70
OHIO DEPARTMENT OF         ATTN: BUSINESS COMPLIANCE
TAXATION                   DIVISION                    PO BOX 2678                                       COLUMBUS            OH           43216-2678                             SALES & USE TAX           12/27/2018             $38.81
OHIO DEPARTMENT OF         ATTN: BUSINESS COMPLIANCE
TAXATION                   DIVISION                    PO BOX 2678                                       COLUMBUS            OH           43216-2678                             SALES & USE TAX           12/27/2018           $4,090.42
OHIO DEPARTMENT OF         ATTN: BUSINESS COMPLIANCE
TAXATION                   DIVISION                    PO BOX 2678                                       COLUMBUS            OH           43216-2678                             SALES & USE TAX           12/27/2018         $45,901.38
                                                       PLANT PEST CONTROL
OHIO DEPT OF AGRICULTURE   DIVISION OF PLANT HEALTH    SECTION                8995 E MAIN STREET         REYNOLDSBURG        OH           43068-3399                             SUPPLIERS OR VENDORS      11/15/2018            $250.00
OHLSSON MANAGEMENT                                     172 N BROADWAY STE
LLC                        BRANDIS OHLSSON             200                                               MILWAUKEE           WI           53202                                  SUPPLIERS OR VENDORS      10/18/2018            $510.00
OHLSSON MANAGEMENT                                     172 N BROADWAY STE
LLC                        BRANDIS OHLSSON             200                                               MILWAUKEE           WI           53202                                  SUPPLIERS OR VENDORS      10/25/2018            $780.00
OHLSSON MANAGEMENT                                     172 N BROADWAY STE
LLC                        BRANDIS OHLSSON             200                                               MILWAUKEE           WI           53202                                  SUPPLIERS OR VENDORS      11/15/2018             $180.00
OK DISTRIBUTING CO INC     522 14TH AVENUE WEST        PO BOX 1252                                       WILLISTON           ND           58802-1252                             SUPPLIERS OR VENDORS      11/15/2018              $86.00
OK TAX COMMISSION          2501 NORTH LINCOLN BLVD                                                       OKLAHOMA CITY       OK           73194                                  SALES/USE TAX             11/23/2018               $7.90
OK TAX COMMISSION          2501 NORTH LINCOLN BLVD                                                       OKLAHOMA CITY       OK           73194                                  SALES/USE TAX             11/23/2018               $9.46
OK TAX COMMISSION          2501 NORTH LINCOLN BLVD                                                       OKLAHOMA CITY       OK           73194                                  SALES/USE TAX             11/23/2018           $7,315.40
OK TAX COMMISSION          2501 NORTH LINCOLN BLVD                                                       OKLAHOMA CITY       OK           73194                                  SALES/USE TAX             11/23/2018           $9,463.51

OKLAHOMA DEPARTMENT        CONSUMER PROTECTION
OF AGRICULTURE             SERVICES                    PO BOX 528804                                     OKLAHOMA CITY       OK           73152-8804                             SUPPLIERS OR VENDORS      12/17/2018             $35.00
OKLAHOMA TAX
COMMISSION                 2501 NORTH LINCOLN BLVD                                                       OKLAHOMA CITY       OK           73194                                  SALES & USE TAX           10/24/2018             $19.64
OKLAHOMA TAX
COMMISSION                 2501 NORTH LINCOLN BLVD                                                       OKLAHOMA CITY       OK           73194                                  SALES & USE TAX           10/24/2018            $101.40
OKLAHOMA TAX
COMMISSION                 2501 NORTH LINCOLN BLVD                                                       OKLAHOMA CITY       OK           73194                                  SALES & USE TAX           10/24/2018           $8,769.59
OKLAHOMA TAX
COMMISSION                 2501 NORTH LINCOLN BLVD                                                       OKLAHOMA CITY       OK           73194                                  SALES & USE TAX           10/24/2018         $10,082.27
OKLAHOMA TAX
COMMISSION                 2501 NORTH LINCOLN BLVD                                                       OKLAHOMA CITY       OK           73194                                  SALES & USE TAX           12/26/2018             $16.73
OKLAHOMA TAX
COMMISSION                 2501 NORTH LINCOLN BLVD                                                       OKLAHOMA CITY       OK           73194                                  SALES & USE TAX           12/26/2018             $40.70
OKLAHOMA TAX
COMMISSION                 2501 NORTH LINCOLN BLVD                                                       OKLAHOMA CITY       OK           73194                                  SALES & USE TAX           12/26/2018         $11,596.57
OKLAHOMA TAX
COMMISSION                 2501 NORTH LINCOLN BLVD                                                       OKLAHOMA CITY       OK           73194                                  SALES & USE TAX           12/26/2018         $15,137.01
OLAM                       ATTN EVE CASTO              PO BOX 841                                        BUENA VISTA         CO           81211                                  SUPPLIERS OR VENDORS      11/13/2018            $200.00
OLD DOMINION FREIGHT       14933 COLLECTION CENTER
LINE INC                   DRIVE                                                                         CHICAGO             IL           60693-4933                             SUPPLIERS OR VENDORS      11/29/2018           $1,642.29




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OLD DUTCH FOODS
INCORPORATED              VICE PRESDIENT OF SALES     2375 TERMINAL ROAD                                ST PAUL             MN           55113                                  SUPPLIERS OR VENDORS      10/18/2018           $5,314.13
OLD DUTCH FOODS
INCORPORATED              VICE PRESDIENT OF SALES     2375 TERMINAL ROAD                                ST PAUL             MN           55113                                  SUPPLIERS OR VENDORS      10/23/2018           $9,162.26
OLD DUTCH FOODS
INCORPORATED              VICE PRESDIENT OF SALES     2375 TERMINAL ROAD                                ST PAUL             MN           55113                                  SUPPLIERS OR VENDORS      10/25/2018             $35.00
OLD DUTCH FOODS
INCORPORATED              VICE PRESDIENT OF SALES     2375 TERMINAL ROAD                                ST PAUL             MN           55113                                  SUPPLIERS OR VENDORS      10/30/2018           $5,789.12
OLD DUTCH FOODS
INCORPORATED              VICE PRESDIENT OF SALES     2375 TERMINAL ROAD                                ST PAUL             MN           55113                                  SUPPLIERS OR VENDORS       11/1/2018           $1,785.00
OLD DUTCH FOODS
INCORPORATED              VICE PRESDIENT OF SALES     2375 TERMINAL ROAD                                ST PAUL             MN           55113                                  SUPPLIERS OR VENDORS       11/6/2018           $2,264.50
OLD DUTCH FOODS
INCORPORATED              VICE PRESDIENT OF SALES     2375 TERMINAL ROAD                                ST PAUL             MN           55113                                  SUPPLIERS OR VENDORS       11/8/2018           $3,624.99
OLD DUTCH FOODS
INCORPORATED              VICE PRESDIENT OF SALES     2375 TERMINAL ROAD                                ST PAUL             MN           55113                                  SUPPLIERS OR VENDORS      11/13/2018           $5,813.08
OLD DUTCH FOODS
INCORPORATED              VICE PRESDIENT OF SALES     2375 TERMINAL ROAD                                ST PAUL             MN           55113                                  SUPPLIERS OR VENDORS      11/27/2018         $12,138.52
OLD DUTCH FOODS
INCORPORATED              VICE PRESDIENT OF SALES     2375 TERMINAL ROAD                                ST PAUL             MN           55113                                  SUPPLIERS OR VENDORS      11/29/2018           $2,836.24
OLD DUTCH FOODS
INCORPORATED              VICE PRESDIENT OF SALES     2375 TERMINAL ROAD                                ST PAUL             MN           55113                                  SUPPLIERS OR VENDORS       12/4/2018           $3,617.30
OLD DUTCH FOODS
INCORPORATED              VICE PRESDIENT OF SALES     2375 TERMINAL ROAD                                ST PAUL             MN           55113                                  SUPPLIERS OR VENDORS       12/6/2018           $2,145.43
OLD DUTCH INTERNATIONAL                                                                                 HASBROUCK
LTD                       777 TERRACE AVE SUITE 509                                                     HEIGHTS             NJ           07604                                  SUPPLIERS OR VENDORS      10/18/2018             $58.83
OLD DUTCH INTERNATIONAL                                                                                 HASBROUCK
LTD                       777 TERRACE AVE SUITE 509                                                     HEIGHTS             NJ           07604                                  SUPPLIERS OR VENDORS      10/25/2018             $92.94
OLD DUTCH INTERNATIONAL                                                                                 HASBROUCK
LTD                       777 TERRACE AVE SUITE 509                                                     HEIGHTS             NJ           07604                                  SUPPLIERS OR VENDORS       11/1/2018             $92.95
OLD DUTCH INTERNATIONAL                                                                                 HASBROUCK
LTD                       777 TERRACE AVE SUITE 509                                                     HEIGHTS             NJ           07604                                  SUPPLIERS OR VENDORS       11/8/2018             $83.53
OLD DUTCH INTERNATIONAL                                                                                 HASBROUCK
LTD                       777 TERRACE AVE SUITE 509                                                     HEIGHTS             NJ           07604                                  SUPPLIERS OR VENDORS      11/15/2018            $247.05
OLD DUTCH INTERNATIONAL                                                                                 HASBROUCK
LTD                       777 TERRACE AVE SUITE 509                                                     HEIGHTS             NJ           07604                                  SUPPLIERS OR VENDORS      11/22/2018             $70.59
OLD TRAPPER SMOKED
PRODUCTS INC              PO BOX 730                                                                    FOREST GROVE        OR           97116                                  SUPPLIERS OR VENDORS      10/19/2018           $6,325.02
OLD TRAPPER SMOKED
PRODUCTS INC              PO BOX 730                                                                    FOREST GROVE        OR           97116                                  SUPPLIERS OR VENDORS      10/23/2018           $1,981.92
OLD TRAPPER SMOKED
PRODUCTS INC              PO BOX 730                                                                    FOREST GROVE        OR           97116                                  SUPPLIERS OR VENDORS      10/26/2018           $2,357.20
OLD TRAPPER SMOKED
PRODUCTS INC              PO BOX 730                                                                    FOREST GROVE        OR           97116                                  SUPPLIERS OR VENDORS      10/30/2018           $4,201.96
OLD TRAPPER SMOKED
PRODUCTS INC              PO BOX 730                                                                    FOREST GROVE        OR           97116                                  SUPPLIERS OR VENDORS       11/2/2018           $6,343.92
OLD TRAPPER SMOKED
PRODUCTS INC              PO BOX 730                                                                    FOREST GROVE        OR           97116                                  SUPPLIERS OR VENDORS       11/6/2018         $22,108.32
OLD TRAPPER SMOKED
PRODUCTS INC              PO BOX 730                                                                    FOREST GROVE        OR           97116                                  SUPPLIERS OR VENDORS       11/9/2018         $52,806.64
OLD TRAPPER SMOKED
PRODUCTS INC              PO BOX 730                                                                    FOREST GROVE        OR           97116                                  SUPPLIERS OR VENDORS      11/16/2018           $6,989.20
OLD TRAPPER SMOKED
PRODUCTS INC              PO BOX 730                                                                    FOREST GROVE        OR           97116                                  SUPPLIERS OR VENDORS      11/23/2018           $4,210.58



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                                                                                                                                                                                   Reasons for payment or    Dates of    Total Amount or
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OLD TRAPPER SMOKED
PRODUCTS INC               PO BOX 730                                                                     FOREST GROVE        OR           97116                                  SUPPLIERS OR VENDORS      11/27/2018           $1,437.00
OLD TRAPPER SMOKED
PRODUCTS INC               PO BOX 730                                                                     FOREST GROVE        OR           97116                                  SUPPLIERS OR VENDORS      11/30/2018          $6,456.80
OLDE THOMPSON              3250 CAMINO DEL SOL                                                            OXNARD              CA           93030-8998                             SUPPLIERS OR VENDORS      10/18/2018          $1,670.88
OLDE THOMPSON              3250 CAMINO DEL SOL                                                            OXNARD              CA           93030-8998                             SUPPLIERS OR VENDORS      10/25/2018          $7,235.77
OLDE THOMPSON              3250 CAMINO DEL SOL                                                            OXNARD              CA           93030-8998                             SUPPLIERS OR VENDORS       11/1/2018         $12,116.28
OLDE THOMPSON              3250 CAMINO DEL SOL                                                            OXNARD              CA           93030-8998                             SUPPLIERS OR VENDORS       11/8/2018         $34,862.26
OLDE THOMPSON              3250 CAMINO DEL SOL                                                            OXNARD              CA           93030-8998                             SUPPLIERS OR VENDORS      11/15/2018         $21,279.00
OLDE THOMPSON              3250 CAMINO DEL SOL                                                            OXNARD              CA           93030-8998                             SUPPLIERS OR VENDORS      11/22/2018         $11,824.54
OLDE THOMPSON              3250 CAMINO DEL SOL                                                            OXNARD              CA           93030-8998                             SUPPLIERS OR VENDORS      11/29/2018          $2,602.00
OLE & LENAS PIZZERIA       BALKEN ENTERPRISES           134 1ST AVENUE SW                                 ROTHSAY             MN           56579                                  SUPPLIERS OR VENDORS       11/1/2018            $443.75
OLE & LENAS PIZZERIA       BALKEN ENTERPRISES           134 1ST AVENUE SW                                 ROTHSAY             MN           56579                                  SUPPLIERS OR VENDORS      12/20/2018            $375.00
OLGA SARTORI               301 SUPERIOR AVENUE                                                            CRYSTAL FALLS       MI           49920                                  SUPPLIERS OR VENDORS      11/15/2018             $62.46
OLINGER FAMILY TRUST       THOMAS J OLINGER             1136 MERRITT LANE                                 EL CAJON            CA           92020                                  SUPPLIERS OR VENDORS       11/1/2018          $6,000.00
OLINGER FAMILY TRUST       THOMAS J OLINGER             1136 MERRITT LANE                                 EL CAJON            CA           92020                                  SUPPLIERS OR VENDORS       12/1/2018          $6,000.00
OLIVER PUTZ                19 2ND STREET                                                                  GAASTRA             MI           49927                                  SUPPLIERS OR VENDORS       11/5/2018            $117.72
OLIVER PUTZ                19 2ND STREET                                                                  GAASTRA             MI           49927                                  SUPPLIERS OR VENDORS      11/26/2018             $25.28
OLIVETTE DRAPER            106 GILMAN STREET                                                              VERONA              WI           53593                                  SUPPLIERS OR VENDORS      11/26/2018             $30.00
OLIVIA BAUM                123 N BEDFORD ST                                                               MADISON             WI           53703                                  SUPPLIERS OR VENDORS      10/26/2018             $45.98
OLIVIA CUMMINGS            2004 12TH AVE                                                                  MONROE              WI           53566                                  SUPPLIERS OR VENDORS      12/13/2018             $60.00
OLIVIA MILLER              CIT GROUP COMMERCIAL
INCORPORATED               SERVICES INC                 PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      10/26/2018         $19,168.14
OLIVIA VANGALDER           829 JANA LANE                                                                  MADISON             WI           53704                                  SUPPLIERS OR VENDORS      12/10/2018             $15.00

OLLY PUBLIC BENEFIT CORP   1169 GORGAS AVENUE SUITE A                                                     SAN FRANCISCO       CA           94129                                  SUPPLIERS OR VENDORS      10/18/2018         $11,927.68

OLLY PUBLIC BENEFIT CORP   1169 GORGAS AVENUE SUITE A                                                     SAN FRANCISCO       CA           94129                                  SUPPLIERS OR VENDORS      11/15/2018         $15,716.64
                                                        60 CUTTER MILL ROAD
OLP LINCOLN LLC            ONE LIBERTY PROPERTIES       SUITE 303                                         GREAT NECK          NY           11021                                  SUPPLIERS OR VENDORS      11/10/2018        $100,598.98
                                                        60 CUTTER MILL ROAD
OLP LINCOLN LLC            ONE LIBERTY PROPERTIES       SUITE 303                                         GREAT NECK          NY           11021                                  SUPPLIERS OR VENDORS       12/4/2018           $2,327.33
                                                        60 CUTTER MILL ROAD
OLP LINCOLN LLC            ONE LIBERTY PROPERTIES       SUITE 303                                         GREAT NECK          NY           11021                                  SUPPLIERS OR VENDORS      12/12/2018        $100,598.98
OLYMPIA INTERNATIONAL
INC                        19600 S VERMONT AVE                                                            TORRANCE            CA           90502                                  SUPPLIERS OR VENDORS      10/19/2018         $74,038.50
OLYMPIA INTERNATIONAL
INC                        19600 S VERMONT AVE                                                            TORRANCE            CA           90502                                  SUPPLIERS OR VENDORS      10/24/2018        $308,301.86
OLYMPIA INTERNATIONAL
INC                        19600 S VERMONT AVE                                                            TORRANCE            CA           90502                                  SUPPLIERS OR VENDORS      10/31/2018           $5,095.25
OLYMPIA INTERNATIONAL
INC                        19600 S VERMONT AVE                                                            TORRANCE            CA           90502                                  SUPPLIERS OR VENDORS       11/5/2018           $7,315.50
OLYMPIC MOUNTAIN
PRODUCTS                   8655 SOUTH 208TH STREET                                                        KENT                WA           98031                                  SUPPLIERS OR VENDORS      10/18/2018           $4,527.50
OLYMPIC MOUNTAIN
PRODUCTS                   8655 SOUTH 208TH STREET                                                        KENT                WA           98031                                  SUPPLIERS OR VENDORS      11/15/2018           $1,031.61

OLYMPUS FLAG & BANNER      9000 WEST HEATHER AVE                                                          MILWAUKEE           WI           53224-0000                             SUPPLIERS OR VENDORS      10/19/2018           $2,070.06

OLYMPUS FLAG & BANNER      9000 WEST HEATHER AVE                                                          MILWAUKEE           WI           53224-0000                             SUPPLIERS OR VENDORS      10/26/2018            $209.76

OLYMPUS FLAG & BANNER      9000 WEST HEATHER AVE                                                          MILWAUKEE           WI           53224-0000                             SUPPLIERS OR VENDORS       11/2/2018           $1,794.78

OLYMPUS FLAG & BANNER      9000 WEST HEATHER AVE                                                          MILWAUKEE           WI           53224-0000                             SUPPLIERS OR VENDORS       11/9/2018            $687.88



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OLYMPUS FLAG & BANNER   9000 WEST HEATHER AVE                                                       MILWAUKEE           WI           53224-0000                             SUPPLIERS OR VENDORS      11/16/2018             $813.22

OLYMPUS FLAG & BANNER   9000 WEST HEATHER AVE                                                       MILWAUKEE           WI           53224-0000                             SUPPLIERS OR VENDORS      11/30/2018            $2,424.60
OMAHA FIXTURE
INTERNATIONAL           PO BOX 30097                                                                OMAHA               NE           68127-0000                             SUPPLIERS OR VENDORS      10/18/2018             $112.00

OMAHA WORLD HERALD      SUITE 650                 1314 DOUGLAS STREET                               OMAHA               NE           68102-1811                             SUPPLIERS OR VENDORS         1/4/2019            $208.00
                                                  5522 SOUTH
ON THE MOVE LAWN CARE   SCOTT WYNALDA             CENTERLINE                                        NEWAYGO             MI           49337                                  SUPPLIERS OR VENDORS       11/1/2018             $180.00
                                                  5522 SOUTH
ON THE MOVE LAWN CARE   SCOTT WYNALDA             CENTERLINE                                        NEWAYGO             MI           49337                                  SUPPLIERS OR VENDORS      12/13/2018              $45.00
ONAWA PAM LIMITED       527 MARQUETTE AVE SUITE
PARTNERSHIP             1915                                                                        MINNEAPOLIS         MN           55402                                  SUPPLIERS OR VENDORS       11/1/2018          $14,356.67
ONAWA PAM LIMITED       527 MARQUETTE AVE SUITE
PARTNERSHIP             1915                                                                        MINNEAPOLIS         MN           55402                                  SUPPLIERS OR VENDORS       12/1/2018          $14,356.67
                                                  1412 BROADWAY 3RD
ONE STEP UP             VICE PRESIDENT OF SALES   FLOOR                                             NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      10/18/2018         $169,297.84
                                                  1412 BROADWAY 3RD
ONE STEP UP             VICE PRESIDENT OF SALES   FLOOR                                             NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      10/19/2018          $28,665.00
                                                  1412 BROADWAY 3RD
ONE STEP UP             VICE PRESIDENT OF SALES   FLOOR                                             NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      10/20/2018          $31,060.20
                                                  1412 BROADWAY 3RD
ONE STEP UP             VICE PRESIDENT OF SALES   FLOOR                                             NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      10/23/2018             $585.20
                                                  1412 BROADWAY 3RD
ONE STEP UP             VICE PRESIDENT OF SALES   FLOOR                                             NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      10/26/2018         $109,303.00
                                                  1412 BROADWAY 3RD
ONE STEP UP             VICE PRESIDENT OF SALES   FLOOR                                             NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      10/27/2018          $43,032.40
                                                  1412 BROADWAY 3RD
ONE STEP UP             VICE PRESIDENT OF SALES   FLOOR                                             NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      10/30/2018          $13,380.00
                                                  1412 BROADWAY 3RD
ONE STEP UP             VICE PRESIDENT OF SALES   FLOOR                                             NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS       11/1/2018             $826.50
                                                  1412 BROADWAY 3RD
ONE STEP UP             VICE PRESIDENT OF SALES   FLOOR                                             NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS       11/6/2018          $44,563.23
                                                  1412 BROADWAY 3RD
ONE STEP UP             VICE PRESIDENT OF SALES   FLOOR                                             NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS       11/6/2018         $238,443.30
                                                  1412 BROADWAY 3RD
ONE STEP UP             VICE PRESIDENT OF SALES   FLOOR                                             NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS       11/7/2018         $111,699.22
                                                  1412 BROADWAY 3RD
ONE STEP UP             VICE PRESIDENT OF SALES   FLOOR                                             NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS       11/8/2018          $88,669.50
                                                  1412 BROADWAY 3RD
ONE STEP UP             VICE PRESIDENT OF SALES   FLOOR                                             NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS       11/9/2018         $119,559.80
                                                  1412 BROADWAY 3RD
ONE STEP UP             VICE PRESIDENT OF SALES   FLOOR                                             NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      11/10/2018          $49,828.80
                                                  1412 BROADWAY 3RD
ONE STEP UP             VICE PRESIDENT OF SALES   FLOOR                                             NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      11/13/2018          $33,017.51
                                                  1412 BROADWAY 3RD
ONE STEP UP             VICE PRESIDENT OF SALES   FLOOR                                             NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      11/14/2018         $100,348.20
                                                  1412 BROADWAY 3RD
ONE STEP UP             VICE PRESIDENT OF SALES   FLOOR                                             NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      11/15/2018            $2,087.50
                                                  1412 BROADWAY 3RD
ONE STEP UP             VICE PRESIDENT OF SALES   FLOOR                                             NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      11/17/2018          $39,580.50
                                                  1412 BROADWAY 3RD
ONE STEP UP             VICE PRESIDENT OF SALES   FLOOR                                             NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      11/24/2018          $69,009.65



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                                                                                                                                                                                  Reasons for payment or    Dates of    Total Amount or
      Creditor Name                 Address1                  Address2                 Address3                 City              State       Zip              Country                   transfer          Payments           Value
                                                       1412 BROADWAY 3RD
ONE STEP UP               VICE PRESIDENT OF SALES      FLOOR                                             NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      11/27/2018         $35,656.80
                                                       1412 BROADWAY 3RD
ONE STEP UP               VICE PRESIDENT OF SALES      FLOOR                                             NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      11/28/2018           $4,444.80
                                                       1412 BROADWAY 3RD
ONE STEP UP               VICE PRESIDENT OF SALES      FLOOR                                             NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      11/29/2018           $2,088.00
                                                       1412 BROADWAY 3RD
ONE STEP UP               VICE PRESIDENT OF SALES      FLOOR                                             NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      11/30/2018         $21,372.60
                                                       1412 BROADWAY 3RD
ONE STEP UP               VICE PRESIDENT OF SALES      FLOOR                                             NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS       12/5/2018           $1,383.50
                                                       1412 BROADWAY 3RD
ONE STEP UP               VICE PRESIDENT OF SALES      FLOOR                                             NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS       12/6/2018            $108.00

ONEIDA NATION             ONEIDA COMPLIANCE DIVISION   PO BOX 365                                        ONEIDA              WI           54155-0365                             SUPPLIERS OR VENDORS      10/30/2018             $75.00
ONETOUCHPOINT CCI GREEN   ONETOUCHPOINT MIDWEST
BAY                       CORPORATION                  PO BOX 88561                                      MILWAUKEE           WI           53288-0561                             SUPPLIERS OR VENDORS      10/29/2018         $14,227.54
ONETOUCHPOINT CCI GREEN   ONETOUCHPOINT MIDWEST
BAY                       CORPORATION                  PO BOX 88561                                      MILWAUKEE           WI           53288-0561                             SUPPLIERS OR VENDORS      11/14/2018            $906.38
ONETOUCHPOINT CCI GREEN   ONETOUCHPOINT MIDWEST
BAY                       CORPORATION                  PO BOX 88561                                      MILWAUKEE           WI           53288-0561                             SUPPLIERS OR VENDORS      11/30/2018         $64,317.79
ONETOUCHPOINT MIDWEST
CORP                      1225 WALNUT RIDGE DRIVE                                                        HARTLAND            WI           53029                                  ADVERTISING POSTAGE       10/24/2018         $10,000.00
                                                                                                                                                                                 PURCHASE OF
ONNEN CO INC              2790 99TH STREET                                                               URBANDALE           IA           50324                                  MERCHANDISE                1/14/2019           $9,033.37
                                                                                                                                                                                 PURCHASE OF
ONNEN CO INC              2789 99TH STREET                                                               URBANDALE           IA           50323                                  MERCHANDISE                1/15/2019           $6,991.46
ONNEN COMPANY
INCORPORATED              PO BOX 3720                                                                    DES MOINES          IA           50322-0720                             SUPPLIERS OR VENDORS      10/23/2018             $34.75
ONNEN COMPANY
INCORPORATED              PO BOX 3720                                                                    DES MOINES          IA           50322-0720                             SUPPLIERS OR VENDORS      10/30/2018             $72.55
ONNEN COMPANY
INCORPORATED              PO BOX 3720                                                                    DES MOINES          IA           50322-0720                             SUPPLIERS OR VENDORS       11/6/2018            $186.29
ONNEN COMPANY
INCORPORATED              PO BOX 3720                                                                    DES MOINES          IA           50322-0720                             SUPPLIERS OR VENDORS      11/13/2018            $312.34
ONNEN COMPANY
INCORPORATED              PO BOX 3720                                                                    DES MOINES          IA           50322-0720                             SUPPLIERS OR VENDORS       12/4/2018            $653.40
ONNEN COMPANY
INCORPORATED              PO BOX 3720                                                                    DES MOINES          IA           50322-0720                             SUPPLIERS OR VENDORS       12/6/2018             $96.10
ONNEN COMPANY
INCORPORATED              PO BOX 3720                                                                    DES MOINES          IA           50322-0720                             SUPPLIERS OR VENDORS      12/18/2018            $325.71
ONNEN COMPANY
INCORPORATED              PO BOX 3720                                                                    DES MOINES          IA           50322-0720                             SUPPLIERS OR VENDORS       1/10/2019            $443.79
ONNEN COMPANY
INCORPORATED              PO BOX 3720                                                                    DES MOINES          IA           50322-0720                             SUPPLIERS OR VENDORS       1/12/2019           $3,188.33
ONNEN COMPANY
INCORPORATED              PO BOX 3720                                                                    DES MOINES          IA           50322-0720                             SUPPLIERS OR VENDORS       1/15/2019            $482.20
ON-SITE SERVICES LLC      PO BOX 190574                                                                  BOISE               ID           83719-0574                             SUPPLIERS OR VENDORS      10/19/2018            $202.55
ON-SITE SERVICES LLC      PO BOX 190574                                                                  BOISE               ID           83719-0574                             SUPPLIERS OR VENDORS       11/2/2018             $80.17
ONTEL PRODUCTS
CORPORATION               2 DANIEL ROAD EAST                                                             FAIRFIELD           NJ           07004                                  SUPPLIERS OR VENDORS      10/19/2018         $59,842.70
ONTEL PRODUCTS
CORPORATION               2 DANIEL ROAD EAST                                                             FAIRFIELD           NJ           07004                                  SUPPLIERS OR VENDORS       11/2/2018           $5,006.00
ONTEL PRODUCTS
CORPORATION               2 DANIEL ROAD EAST                                                             FAIRFIELD           NJ           07004                                  SUPPLIERS OR VENDORS       11/9/2018         $50,956.68



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ONTEL PRODUCTS
CORPORATION              2 DANIEL ROAD EAST                                                        FAIRFIELD           NJ           07004                                  SUPPLIERS OR VENDORS      11/16/2018         $73,940.00
ONTEL PRODUCTS
CORPORATION              2 DANIEL ROAD EAST                                                        FAIRFIELD           NJ           07004                                  SUPPLIERS OR VENDORS      11/30/2018        $141,097.20

OOCL USA INCORPORATED    SUITE 500               6111 N RIVER ROAD                                 ROSEMONT            IL           60018                                  SUPPLIERS OR VENDORS      10/19/2018         $31,966.00

OOCL USA INCORPORATED    SUITE 500               6111 N RIVER ROAD                                 ROSEMONT            IL           60018                                  SUPPLIERS OR VENDORS      10/25/2018         $12,860.00

OOCL USA INCORPORATED    SUITE 500               6111 N RIVER ROAD                                 ROSEMONT            IL           60018                                  SUPPLIERS OR VENDORS       11/9/2018         $11,006.00

OOCL USA INCORPORATED    SUITE 500               6111 N RIVER ROAD                                 ROSEMONT            IL           60018                                  SUPPLIERS OR VENDORS      11/15/2018           $7,040.00

OOCL USA INCORPORATED    SUITE 500               6111 N RIVER ROAD                                 ROSEMONT            IL           60018                                  SUPPLIERS OR VENDORS      11/24/2018         $16,460.00

OOCL USA INCORPORATED    SUITE 500               6111 N RIVER ROAD                                 ROSEMONT            IL           60018                                  SUPPLIERS OR VENDORS      11/29/2018         $10,660.00

OOCL USA INCORPORATED    SUITE 500               6111 N RIVER ROAD                                 ROSEMONT            IL           60018                                  SUPPLIERS OR VENDORS      12/22/2018           $8,740.00

OOCL USA INCORPORATED    SUITE 500               6111 N RIVER ROAD                                 ROSEMONT            IL           60018                                  SUPPLIERS OR VENDORS      12/28/2018         $20,274.00

OPTICOTE INCORPORATED    10455 SEYMOUR                                                             FRANKLIN PARK       IL           60131                                  SUPPLIERS OR VENDORS      11/15/2018            $733.15

OPTICOTE INCORPORATED    10455 SEYMOUR                                                             FRANKLIN PARK       IL           60131                                  SUPPLIERS OR VENDORS      12/12/2018           $1,017.30

OPTIFACTS INCORPORATED   PO BOX 815489                                                             DALLAS              TX           75381-5489                             SUPPLIERS OR VENDORS       11/1/2018           $1,494.84

OPTIFACTS INCORPORATED   PO BOX 815489                                                             DALLAS              TX           75381-5489                             SUPPLIERS OR VENDORS      11/29/2018           $1,494.84
OPTIMA ASSOCIATES
INCORPORATED             1580 MID VALLEY DRIVE                                                     DEPERE              WI           54115                                  SUPPLIERS OR VENDORS      10/19/2018           $7,200.00
OPTISOURCE
INTERNATIONAL
INCORPORATED             PO BOX 30538                                                              NEW YORK            NY           10087-0538                             SUPPLIERS OR VENDORS      11/29/2018             $66.89

OPUS MEDICATION SYSTEMS PO BOX 30203                                                               OMAHA               NE           68103-1303                             SUPPLIERS OR VENDORS      10/19/2018             $87.65

OPUS MEDICATION SYSTEMS PO BOX 30203                                                               OMAHA               NE           68103-1303                             SUPPLIERS OR VENDORS       11/6/2018            $300.00

OPUS MEDICATION SYSTEMS PO BOX 30203                                                               OMAHA               NE           68103-1303                             SUPPLIERS OR VENDORS       11/9/2018            $300.00

OPUS MEDICATION SYSTEMS PO BOX 30203                                                               OMAHA               NE           68103-1303                             SUPPLIERS OR VENDORS      11/27/2018            $300.00

ORACLE CREDIT            C/O WELLS FARGO BANK    CORPORATE TRUST      260 N CHARLES LINDBERG
CORPORATION              NORTHWEST NA            SERVICES LEASE GROUP DRIVE                  SALT LAKE CITY            UT           84116                                  SUPPLIERS OR VENDORS       11/6/2018        $377,888.80
ORBIT 1 LLC              1982 E YALE AVE                                                     SALT LAKE CITY            UT           84105                                  SUPPLIERS OR VENDORS       11/1/2018          $8,357.92
ORBIT 1 LLC              1982 E YALE AVE                                                     SALT LAKE CITY            UT           84105                                  SUPPLIERS OR VENDORS       11/1/2018         $21,957.34
ORBIT 1 LLC              1982 E YALE AVE                                                     SALT LAKE CITY            UT           84105                                  SUPPLIERS OR VENDORS       12/1/2018          $8,357.92
ORBIT 1 LLC              1982 E YALE AVE                                                     SALT LAKE CITY            UT           84105                                  SUPPLIERS OR VENDORS       12/1/2018         $21,957.34
                                                 40 BURTON HILLS BLVD
ORDERINSITE LLC          ATTN GEORGE LAZENBY     SUITE 100                                   NASHVILLE                 TN           37215                                  SUPPLIERS OR VENDORS      10/23/2018         $41,065.00
                                                 40 BURTON HILLS BLVD
ORDERINSITE LLC          ATTN GEORGE LAZENBY     SUITE 100                                   NASHVILLE                 TN           37215                                  SUPPLIERS OR VENDORS      11/27/2018         $40,425.00




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                                                                                                                                                                                Reasons for payment or    Dates of     Total Amount or
     Creditor Name                  Address1               Address2                  Address3                  City             State       Zip              Country                   transfer          Payments            Value

OREGON DEPARTMENT OF                                REVENUE SERVICES
CONSUMER & BUSINESS      SERVICES                   SECTION                 PO BOX 14610               SALEM               OR           97309-0445                             SUPPLIERS OR VENDORS         1/4/2019            $197.12
OREGON DEPARTMENT OF
REVENUE                  955 CENTER 4 ST NE                                                            SALEM               OR           97301                                  SUPPLIERS OR VENDORS      12/17/2018             $120.00
OREGON DEPARTMENT OF                                                   775 SUMMER STREET NE
STATE LANDS              CAROLYN HARRIS             UNCLAIMED PROPERTY STE 100                         SALEM               OR           97301                                  SUPPLIERS OR VENDORS      10/25/2018            $1,797.74

OREGON DEPT OF REVENUE 955 CENTER ST NE                                                                SALEM               OR           97301                                  SALES & USE TAX            11/1/2018             $218.29

OREGON SATE VOCATIONAL
REHABILITATION           PO BOX 14006                                                                  SALEM               OR           97309                                  SUPPLIERS OR VENDORS      10/23/2018             $623.95
ORGANIZE IT ALL
INCORPORATED             111 Central Avenue                                                            Teterboro           NJ           07608-1123                             SUPPLIERS OR VENDORS      10/18/2018              $87.38
ORGANIZE IT ALL
INCORPORATED             24 RIVER ROAD STE 201      0                                                  BOGOTA              NJ           07603-0000                             SUPPLIERS OR VENDORS      10/20/2018                $1.00
ORGANIZE IT ALL
INCORPORATED             111 Central Avenue                                                            Teterboro           NJ           07608-1123                             SUPPLIERS OR VENDORS      10/26/2018              $71.60
ORGANIZE IT ALL
INCORPORATED             111 Central Avenue                                                            Teterboro           NJ           07608-1123                             SUPPLIERS OR VENDORS       11/2/2018              $91.63
ORGANIZE IT ALL
INCORPORATED             111 Central Avenue                                                            Teterboro           NJ           07608-1123                             SUPPLIERS OR VENDORS       11/8/2018          $63,521.33
ORGANIZE IT ALL
INCORPORATED             111 Central Avenue                                                            Teterboro           NJ           07608-1123                             SUPPLIERS OR VENDORS       11/9/2018             $189.33
ORGANIZE IT ALL
INCORPORATED             111 Central Avenue                                                            Teterboro           NJ           07608-1123                             SUPPLIERS OR VENDORS      11/16/2018              $91.63
ORGANIZE IT ALL
INCORPORATED             111 Central Avenue                                                            Teterboro           NJ           07608-1123                             SUPPLIERS OR VENDORS      11/27/2018            $3,750.72
ORGANIZE IT ALL
INCORPORATED             111 Central Avenue                                                            Teterboro           NJ           07608-1123                             SUPPLIERS OR VENDORS      11/30/2018              $14.98
ORGANIZE IT ALL
INCORPORATED             111 Central Avenue                                                            Teterboro           NJ           07608-1123                             SUPPLIERS OR VENDORS      12/22/2018              $84.49
ORGANIZE IT ALL
INCORPORATED             111 Central Avenue                                                            Teterboro           NJ           07608-1123                             SUPPLIERS OR VENDORS      12/22/2018         $174,067.13
ORIGINAL GOURMET FOOD
COMPANY                  52 STILES ROAD SUITE 201   PAM TO ORACLE                                      SALEM               NH           03079                                  SUPPLIERS OR VENDORS      10/18/2018            $1,440.00
ORIGINAL GOURMET FOOD
COMPANY                  52 STILES ROAD SUITE 201   PAM TO ORACLE                                      SALEM               NH           03079                                  SUPPLIERS OR VENDORS       11/8/2018            $1,288.80
ORIGINAL GOURMET FOOD
COMPANY                  52 STILES ROAD SUITE 201   PAM TO ORACLE                                      SALEM               NH           03079                                  SUPPLIERS OR VENDORS      11/15/2018             $537.30
ORIGINAL GOURMET FOOD
COMPANY                  52 STILES ROAD SUITE 201   PAM TO ORACLE                                      SALEM               NH           03079                                  SUPPLIERS OR VENDORS      11/22/2018             $637.56
ORLY SHOE CORP           15 W 34TH STREET                                                              NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      11/15/2018          $54,436.66
ORVILLE KRAUSE           16073 SHAY LAKE RD                                                            TOWNSEND            WI           54175                                  SUPPLIERS OR VENDORS       12/7/2018              $45.00
OSKR INC                 14 BUELL STREET                                                               NORTH HAVEN         CT           06473                                  SUPPLIERS OR VENDORS      11/30/2018           $9,109.61
OSKR INC                 14 BUELL STREET                                                               NORTH HAVEN         CT           06473                                  SUPPLIERS OR VENDORS       12/4/2018           $3,145.75

OTIS ELEVATOR COMPANY    PO BOX 73579                                                                  CHICAGO             IL           60673                                  SUPPLIERS OR VENDORS       11/8/2018            $5,112.42

OTIS ELEVATOR COMPANY    PO BOX 73579                                                                  CHICAGO             IL           60673                                  SUPPLIERS OR VENDORS      11/15/2018            $2,118.90

OTIS ELEVATOR COMPANY    PO BOX 73579                                                                  CHICAGO             IL           60673                                  SUPPLIERS OR VENDORS      11/29/2018             $815.30

OTIS ELEVATOR COMPANY    PO BOX 73579                                                                  CHICAGO             IL           60673                                  SUPPLIERS OR VENDORS         1/4/2019           $5,773.29



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OTIS KINCAID            N2020 HWY H LOT 557                                                         LAKE GENEVA         WI           53147                                  SUPPLIERS OR VENDORS        10/24/2018               $54.49
OTTO MUELLER            E1856 CHURCH RD                                                             LUXEMBURG           WI           54217                                  SUPPLIERS OR VENDORS         12/5/2018               $62.10

OUR PETS COMPANY        1300 EAST STREET                                                            FAIRPORT HARBOR OH               44077-0000                             SUPPLIERS OR VENDORS       10/18/2018            $2,017.28

OUR PETS COMPANY        1300 EAST STREET                                                            FAIRPORT HARBOR OH               44077-0000                             SUPPLIERS OR VENDORS       10/25/2018            $3,675.28

OUR PETS COMPANY        1300 EAST STREET                                                            FAIRPORT HARBOR OH               44077-0000                             SUPPLIERS OR VENDORS        11/1/2018            $1,950.36

OUR PETS COMPANY        1300 EAST STREET                                                            FAIRPORT HARBOR OH               44077-0000                             SUPPLIERS OR VENDORS        11/8/2018            $1,583.09

OUR PETS COMPANY        1300 EAST STREET                                                            FAIRPORT HARBOR OH               44077-0000                             SUPPLIERS OR VENDORS       11/15/2018              $368.03

OUR PETS COMPANY        1300 EAST STREET                                                            FAIRPORT HARBOR OH               44077-0000                             SUPPLIERS OR VENDORS       11/22/2018            $1,756.71

OUR PETS COMPANY        1300 EAST STREET                                                            FAIRPORT HARBOR     OH           44077-0000                             SUPPLIERS OR VENDORS       11/29/2018            $3,824.36
OUT PETCARE LLC         PO BOX 971314                                                               DALLAS              TX           75397-1314                             SUPPLIERS OR VENDORS       10/18/2018            $2,242.68
OUT PETCARE LLC         PO BOX 971314                                                               DALLAS              TX           75397-1314                             SUPPLIERS OR VENDORS       10/25/2018            $9,233.54
OUT PETCARE LLC         PO BOX 971314                                                               DALLAS              TX           75397-1314                             SUPPLIERS OR VENDORS        11/1/2018            $1,151.63
OUT PETCARE LLC         PO BOX 971314                                                               DALLAS              TX           75397-1314                             SUPPLIERS OR VENDORS        11/8/2018            $1,778.72
OUT PETCARE LLC         PO BOX 971314                                                               DALLAS              TX           75397-1314                             SUPPLIERS OR VENDORS       11/22/2018            $3,881.68
OUT PETCARE LLC         PO BOX 971314                                                               DALLAS              TX           75397-1314                             SUPPLIERS OR VENDORS       11/29/2018            $3,321.88
OUTDOOR CAP COMPANY
INCORPORAT              VICE PRESIDENT OF SALES   1200 MELISSA DRIVE                                BENTONVILLE         AR           72712                                  SUPPLIERS OR VENDORS       11/29/2018           $16,973.69
OUTDOOR RECREATION
GROUP                   PO BOX 772962                                                               CHICAGO             IL           60677-0262                             SUPPLIERS OR VENDORS       10/18/2018            $2,814.05
OUTDOOR RECREATION
GROUP                   PO BOX 772962                                                               CHICAGO             IL           60677-0262                             SUPPLIERS OR VENDORS       10/25/2018            $2,613.32
OUTDOOR RECREATION
GROUP                   PO BOX 772962                                                               CHICAGO             IL           60677-0262                             SUPPLIERS OR VENDORS        11/1/2018            $1,700.94
OUTDOOR RECREATION
GROUP                   PO BOX 772962                                                               CHICAGO             IL           60677-0262                             SUPPLIERS OR VENDORS        11/8/2018            $1,543.48
OUTDOOR RECREATION
GROUP                   PO BOX 772962                                                               CHICAGO             IL           60677-0262                             SUPPLIERS OR VENDORS       11/15/2018            $1,404.10
OUTDOOR RECREATION
GROUP                   PO BOX 772962                                                               CHICAGO             IL           60677-0262                             SUPPLIERS OR VENDORS       11/22/2018            $2,016.84
OUTDOOR RECREATION
GROUP                   PO BOX 772962                                                               CHICAGO             IL           60677-0262                             SUPPLIERS OR VENDORS       11/29/2018            $1,239.84
OUTDOOR SERVICES
INCORPORATED            PO BOX 753                                                                  MASON CITY          IA           50402-0753                             SUPPLIERS OR VENDORS       10/18/2018              $354.17
OVERHEAD DOOR COMPANY
NORFOLK                 PO BOX 881                                                                  NORFOLK             NE           68702-0881                             SUPPLIERS OR VENDORS       11/29/2018               $55.25
OVERVIEW LLC            PO BOX 520                                                                  DODGE CITY          KS           67801                                  SUPPLIERS OR VENDORS        11/3/2018           $16,667.00
OVERVIEW LLC            PO BOX 520                                                                  DODGE CITY          KS           67801                                  SUPPLIERS OR VENDORS        12/5/2018           $16,667.00
OWEN NOVY               W4117 FAWN AVE                                                              MONTELLO            WI           53949                                  SUPPLIERS OR VENDORS       11/28/2018               $25.00
OWEN SCHMIT             1123 7TH ST.                                                                KIEL                WI           53042                                  SUPPLIERS OR VENDORS       10/31/2018               $30.00
OZARKS COCA COLA DR
PEPPER BOTTLING CO      PO BOX 11250              PAM TO ORACLE                                     SPRINGFIELD         MO           65808                                  SUPPLIERS OR VENDORS       10/19/2018              $306.61
OZARKS COCA COLA DR
PEPPER BOTTLING CO      PO BOX 11250              PAM TO ORACLE                                     SPRINGFIELD         MO           65808                                  SUPPLIERS OR VENDORS       10/23/2018              $418.77
OZARKS COCA COLA DR
PEPPER BOTTLING CO      PO BOX 11250              PAM TO ORACLE                                     SPRINGFIELD         MO           65808                                  SUPPLIERS OR VENDORS       10/26/2018              $220.44
OZARKS COCA COLA DR
PEPPER BOTTLING CO      PO BOX 11250              PAM TO ORACLE                                     SPRINGFIELD         MO           65808                                  SUPPLIERS OR VENDORS       10/30/2018              $250.07



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                                                                                                                                                                           Reasons for payment or    Dates of    Total Amount or
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OZARKS COCA COLA DR
PEPPER BOTTLING CO      PO BOX 11250            PAM TO ORACLE                                     SPRINGFIELD         MO           65808                                  SUPPLIERS OR VENDORS       11/2/2018            $221.91
OZARKS COCA COLA DR
PEPPER BOTTLING CO      PO BOX 11250            PAM TO ORACLE                                     SPRINGFIELD         MO           65808                                  SUPPLIERS OR VENDORS       11/6/2018            $172.85
OZARKS COCA COLA DR
PEPPER BOTTLING CO      PO BOX 11250            PAM TO ORACLE                                     SPRINGFIELD         MO           65808                                  SUPPLIERS OR VENDORS       11/9/2018            $141.50
OZARKS COCA COLA DR
PEPPER BOTTLING CO      PO BOX 11250            PAM TO ORACLE                                     SPRINGFIELD         MO           65808                                  SUPPLIERS OR VENDORS      11/13/2018            $230.64
OZARKS COCA COLA DR
PEPPER BOTTLING CO      PO BOX 11250            PAM TO ORACLE                                     SPRINGFIELD         MO           65808                                  SUPPLIERS OR VENDORS      11/16/2018            $193.00
OZARKS COCA COLA DR
PEPPER BOTTLING CO      PO BOX 11250            PAM TO ORACLE                                     SPRINGFIELD         MO           65808                                  SUPPLIERS OR VENDORS      11/23/2018            $328.37
OZARKS COCA COLA DR
PEPPER BOTTLING CO      PO BOX 11250            PAM TO ORACLE                                     SPRINGFIELD         MO           65808                                  SUPPLIERS OR VENDORS      11/27/2018            $122.10
OZARKS COCA COLA DR
PEPPER BOTTLING CO      PO BOX 11250            PAM TO ORACLE                                     SPRINGFIELD         MO           65808                                  SUPPLIERS OR VENDORS      11/30/2018            $133.84
OZARKS COCA COLA DR
PEPPER BOTTLING CO      PO BOX 11250            PAM TO ORACLE                                     SPRINGFIELD         MO           65808                                  SUPPLIERS OR VENDORS       12/4/2018            $149.76
OZARKS COCA COLA DR
PEPPER BOTTLING CO      PO BOX 11250            PAM TO ORACLE                                     SPRINGFIELD         MO           65808                                  SUPPLIERS OR VENDORS      12/11/2018            $167.43
OZARKS COCA COLA DR
PEPPER BOTTLING CO      PO BOX 11250            PAM TO ORACLE                                     SPRINGFIELD         MO           65808                                  SUPPLIERS OR VENDORS      12/19/2018            $647.56
OZARKS COCA COLA DR
PEPPER BOTTLING CO      PO BOX 11250            PAM TO ORACLE                                     SPRINGFIELD         MO           65808                                  SUPPLIERS OR VENDORS      12/20/2018            $221.66
OZARKS COCA COLA DR
PEPPER BOTTLING CO      PO BOX 11250            PAM TO ORACLE                                     SPRINGFIELD         MO           65808                                  SUPPLIERS OR VENDORS      12/21/2018            $625.92
P J INVESTMENTS
INCORPORATED            BMO PRIVATE BANK        C/O PJ INVESTMENTS     PO BOX 209                 WAUSAU              WI           54402-0000                             SUPPLIERS OR VENDORS       11/1/2018         $25,444.67
P J INVESTMENTS
INCORPORATED            BMO PRIVATE BANK        C/O PJ INVESTMENTS     PO BOX 209                 WAUSAU              WI           54402-0000                             SUPPLIERS OR VENDORS       12/1/2018         $25,444.67
                        ROSENTHAL & ROSENTHAL
P KAUFMANN HOME         INCORPORATED            PO BOX 88926                                      CHICAGO             IL           60695-1926                             SUPPLIERS OR VENDORS      10/19/2018           $6,654.37
                        ROSENTHAL & ROSENTHAL
P KAUFMANN HOME         INCORPORATED            PO BOX 88926                                      CHICAGO             IL           60695-1926                             SUPPLIERS OR VENDORS       11/7/2018            $240.34
                        ROSENTHAL & ROSENTHAL
P KAUFMANN HOME         INCORPORATED            PO BOX 88926                                      CHICAGO             IL           60695-1926                             SUPPLIERS OR VENDORS       11/8/2018             $26.00
                        ROSENTHAL & ROSENTHAL
P KAUFMANN HOME         INCORPORATED            PO BOX 88926                                      CHICAGO             IL           60695-1926                             SUPPLIERS OR VENDORS      11/12/2018           $3,091.25
                        ROSENTHAL & ROSENTHAL
P KAUFMANN HOME         INCORPORATED            PO BOX 88926                                      CHICAGO             IL           60695-1926                             SUPPLIERS OR VENDORS      11/13/2018           $3,882.40
                        ROSENTHAL & ROSENTHAL
P KAUFMANN HOME         INCORPORATED            PO BOX 88926                                      CHICAGO             IL           60695-1926                             SUPPLIERS OR VENDORS      11/14/2018           $3,205.05
                        ROSENTHAL & ROSENTHAL
P KAUFMANN HOME         INCORPORATED            PO BOX 88926                                      CHICAGO             IL           60695-1926                             SUPPLIERS OR VENDORS      11/15/2018             $29.00
                        ROSENTHAL & ROSENTHAL
P KAUFMANN HOME         INCORPORATED            PO BOX 88926                                      CHICAGO             IL           60695-1926                             SUPPLIERS OR VENDORS      11/16/2018         $10,376.10
                        ROSENTHAL & ROSENTHAL
P KAUFMANN HOME         INCORPORATED            PO BOX 88926                                      CHICAGO             IL           60695-1926                             SUPPLIERS OR VENDORS      11/22/2018           $8,940.96
                        ROSENTHAL & ROSENTHAL
P KAUFMANN HOME         INCORPORATED            PO BOX 88926                                      CHICAGO             IL           60695-1926                             SUPPLIERS OR VENDORS      11/23/2018             $34.50
                        ROSENTHAL & ROSENTHAL
P KAUFMANN HOME         INCORPORATED            PO BOX 88926                                      CHICAGO             IL           60695-1926                             SUPPLIERS OR VENDORS      11/26/2018           $3,144.70
                        ROSENTHAL & ROSENTHAL
P KAUFMANN HOME         INCORPORATED            PO BOX 88926                                      CHICAGO             IL           60695-1926                             SUPPLIERS OR VENDORS       12/3/2018             $29.00



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                        ROSENTHAL & ROSENTHAL
P KAUFMANN HOME         INCORPORATED                PO BOX 88926                                      CHICAGO             IL           60695-1926                             SUPPLIERS OR VENDORS       12/5/2018             $41.86
                        ROSENTHAL & ROSENTHAL
P KAUFMANN HOME         INCORPORATED                PO BOX 88926                                      CHICAGO             IL           60695-1926                             SUPPLIERS OR VENDORS      12/11/2018             $44.50
PA XIONG                1020 PLUMER ST                                                                WAUSAU              WI           54403                                  SUPPLIERS OR VENDORS      12/14/2018             $25.00
PAC VAC                 EUGENE D BROWN              PO BOX 3027                                       UNION GAP           WA           98903                                  SUPPLIERS OR VENDORS      10/31/2018             $97.29
PAC VAC                 EUGENE D BROWN              PO BOX 3027                                       UNION GAP           WA           98903                                  SUPPLIERS OR VENDORS      11/26/2018            $194.58
PAC VAC                 EUGENE D BROWN              PO BOX 3027                                       UNION GAP           WA           98903                                  SUPPLIERS OR VENDORS       12/3/2018             $97.29
PAC VAC                 EUGENE D BROWN              PO BOX 3027                                       UNION GAP           WA           98903                                  SUPPLIERS OR VENDORS       12/7/2018            $275.66
                        75 REMITTANCE DRIVE SUITE
PAC VAN INCORPORATED    3300                                                                          CHICAGO             IL           60675-3300                             SUPPLIERS OR VENDORS      10/18/2018            $116.60
                        75 REMITTANCE DRIVE SUITE
PAC VAN INCORPORATED    3300                                                                          CHICAGO             IL           60675-3300                             SUPPLIERS OR VENDORS       11/2/2018            $397.18
                        75 REMITTANCE DRIVE SUITE
PAC VAN INCORPORATED    3300                                                                          CHICAGO             IL           60675-3300                             SUPPLIERS OR VENDORS      11/12/2018            $116.60
                        75 REMITTANCE DRIVE SUITE
PAC VAN INCORPORATED    3300                                                                          CHICAGO             IL           60675-3300                             SUPPLIERS OR VENDORS       12/7/2018            $397.18
                        75 REMITTANCE DRIVE SUITE
PAC VAN INCORPORATED    3300                                                                          CHICAGO             IL           60675-3300                             SUPPLIERS OR VENDORS      12/13/2018            $116.60
                                                    75 REMITTANCE DRIVE
PAC VAN INCORPORATED    0                           SUITE 3300                                        CHICAGO             IL           60675-3300                             SUPPLIERS OR VENDORS      12/18/2018               $1.00
                                                    3582 TECHNOLOGY
PACE INTERNATIONAL      PACE ELECTRONICS INC        DRIVE NORTHWEST                                   ROCHESTER           MN           55901                                  SUPPLIERS OR VENDORS      10/19/2018            $492.63
                                                    3582 TECHNOLOGY
PACE INTERNATIONAL      PACE ELECTRONICS INC        DRIVE NORTHWEST                                   ROCHESTER           MN           55901                                  SUPPLIERS OR VENDORS       11/9/2018           $1,313.68
                                                    3582 TECHNOLOGY
PACE INTERNATIONAL      PACE ELECTRONICS INC        DRIVE NORTHWEST                                   ROCHESTER           MN           55901                                  SUPPLIERS OR VENDORS      11/16/2018           $1,149.47
                                                    3582 TECHNOLOGY
PACE INTERNATIONAL      PACE ELECTRONICS INC        DRIVE NORTHWEST                                   ROCHESTER           MN           55901                                  SUPPLIERS OR VENDORS      11/30/2018            $985.26
                                                    3582 TECHNOLOGY
PACE INTERNATIONAL      PACE ELECTRONICS INC        DRIVE NORTHWEST                                   ROCHESTER           MN           55901                                  SUPPLIERS OR VENDORS      12/18/2018            $164.21
                                                    3582 TECHNOLOGY
PACE INTERNATIONAL      PACE ELECTRONICS INC        DRIVE NORTHWEST                                   ROCHESTER           MN           55901                                  SUPPLIERS OR VENDORS        1/5/2019           $1,477.89
PACER SERVICE CENTER    PO BOX 71364                                                                  PHILADELPHIA        PA           19176-1364                             SUPPLIERS OR VENDORS       11/1/2018              $57.20
PACIFIC COAST FEATHER
COMPANY                 PO BOX 847119                                                                 LOS ANGELES         CA           90084-7119                             SUPPLIERS OR VENDORS      10/18/2018           $2,635.00
PACIFIC COAST FEATHER
COMPANY                 PO BOX 847119                                                                 LOS ANGELES         CA           90084-7119                             SUPPLIERS OR VENDORS      10/25/2018           $1,105.00
PACIFIC COAST FEATHER
COMPANY                 PO BOX 847119                                                                 LOS ANGELES         CA           90084-7119                             SUPPLIERS OR VENDORS       11/1/2018            $765.00
PACIFIC COAST FEATHER
COMPANY                 PO BOX 847119                                                                 LOS ANGELES         CA           90084-7119                             SUPPLIERS OR VENDORS       11/8/2018           $1,372.75
PACIFIC COAST FEATHER
COMPANY                 PO BOX 847119                                                                 LOS ANGELES         CA           90084-7119                             SUPPLIERS OR VENDORS      11/15/2018            $510.00
PACIFIC COAST FEATHER
COMPANY                 PO BOX 847119                                                                 LOS ANGELES         CA           90084-7119                             SUPPLIERS OR VENDORS      11/29/2018           $2,890.00
PACIFIC UNIVERSITY      COLLEGE OF OPTOMETRY        2043 COLLEGE WAY                                  FOREST GROVE        OR           97116                                  SUPPLIERS OR VENDORS      10/26/2018           $1,000.00
PACIFIC WORLD
CORPORATION             PO BOX 71362                                                                  CHICAGO             IL           60694-1362                             SUPPLIERS OR VENDORS      10/18/2018           $9,844.81
PACIFIC WORLD
CORPORATION             PO BOX 71362                                                                  CHICAGO             IL           60694-1362                             SUPPLIERS OR VENDORS      10/25/2018           $3,908.30
PACIFIC WORLD
CORPORATION             PO BOX 71362                                                                  CHICAGO             IL           60694-1362                             SUPPLIERS OR VENDORS       11/1/2018           $7,419.20




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                                                                                                          Case No. 19-80075 (TLS)
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                                                                                                                                                                                  Reasons for payment or    Dates of    Total Amount or
       Creditor Name              Address1                   Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
PACIFIC WORLD
CORPORATION             PO BOX 71362                                                                     CHICAGO             IL           60694-1362                             SUPPLIERS OR VENDORS       11/8/2018           $8,151.79
PACIFIC WORLD
CORPORATION             PO BOX 71362                                                                     CHICAGO             IL           60694-1362                             SUPPLIERS OR VENDORS      11/15/2018           $4,007.55
PACIFIC WORLD
CORPORATION             PO BOX 71362                                                                     CHICAGO             IL           60694-1362                             SUPPLIERS OR VENDORS      11/22/2018           $8,537.62
PACIFIC WORLD
CORPORATION             PO BOX 71362                                                                     CHICAGO             IL           60694-1362                             SUPPLIERS OR VENDORS      11/29/2018           $3,556.87

PACKIT LLC              2659 TOWNSGATE RD STE 119                                                        WESTLAKE VILLAGE CA              91361                                  SUPPLIERS OR VENDORS      10/19/2018            $294.46

PACKIT LLC              2659 TOWNSGATE RD STE 119                                                        WESTLAKE VILLAGE CA              91361                                  SUPPLIERS OR VENDORS      10/26/2018            $560.40

PACKIT LLC              2659 TOWNSGATE RD STE 119                                                        WESTLAKE VILLAGE CA              91361                                  SUPPLIERS OR VENDORS       11/2/2018           $2,206.80

PACKIT LLC              2659 TOWNSGATE RD STE 119                                                        WESTLAKE VILLAGE CA              91361                                  SUPPLIERS OR VENDORS       11/9/2018           $3,874.37

PACKIT LLC              2659 TOWNSGATE RD STE 119                                                        WESTLAKE VILLAGE CA              91361                                  SUPPLIERS OR VENDORS      11/16/2018           $1,359.60

PACKIT LLC              2659 TOWNSGATE RD STE 119                                                        WESTLAKE VILLAGE    CA           91361                                  SUPPLIERS OR VENDORS      11/30/2018           $7,823.71
PAGEL SERVICES LLC      11629 MAIN STREET                                                                STITZER             WI           53825                                  SUPPLIERS OR VENDORS      10/18/2018             $158.25
PAGEL SERVICES LLC      11629 MAIN STREET                                                                STITZER             WI           53825                                  SUPPLIERS OR VENDORS      12/17/2018              $52.75
PAIGE HORN              3223 N 56TH ST                                                                   OMAHA               NE           68104                                  SUPPLIERS OR VENDORS      11/26/2018              $43.00
PAIGE MADISON           PO BOX 414                                                                       ADRIAN              MN           56110                                  SUPPLIERS OR VENDORS       11/9/2018               $1.30

PAL INCORPORATED        309 W 43RD STREET SUITE 105                                                      SIOUX FALLS         SD           57105                                  SUPPLIERS OR VENDORS       11/1/2018         $20,309.86

PAL INCORPORATED        309 W 43RD STREET SUITE 105                                                      SIOUX FALLS         SD           57105                                  SUPPLIERS OR VENDORS       12/1/2018         $20,309.86

PAL INCORPORATED        309 W 43RD STREET SUITE 105                                                      SIOUX FALLS         SD           57105                                  SUPPLIERS OR VENDORS        1/5/2019         $20,309.86
PALCO INVESTMENTS LLC   4265 45 STREET S STE 200                                                         FARGO               ND           58104                                  SUPPLIERS OR VENDORS       11/1/2018         $31,510.40
PALCO INVESTMENTS LLC   4265 45 STREET S STE 200                                                         FARGO               ND           58104                                  SUPPLIERS OR VENDORS       12/1/2018         $31,510.40
                        PD2 A CALIFORNIA LIMITED      16400 PACIFIC COAST                                HUNTINGTON
PALM DESERT II          PARTNERSHIP                   HWY 207                                            BEACH               CA           92649                                  SUPPLIERS OR VENDORS      10/23/2018           $9,474.97
                        PD2 A CALIFORNIA LIMITED      16400 PACIFIC COAST                                HUNTINGTON
PALM DESERT II          PARTNERSHIP                   HWY 207                                            BEACH               CA           92649                                  SUPPLIERS OR VENDORS       11/8/2018           $4,606.75
                        PD2 A CALIFORNIA LIMITED      16400 PACIFIC COAST                                HUNTINGTON
PALM DESERT II          PARTNERSHIP                   HWY 207                                            BEACH               CA           92649                                  SUPPLIERS OR VENDORS      11/10/2018           $8,583.33
                        PD2 A CALIFORNIA LIMITED      16400 PACIFIC COAST                                HUNTINGTON
PALM DESERT II          PARTNERSHIP                   HWY 207                                            BEACH               CA           92649                                  SUPPLIERS OR VENDORS       12/4/2018            $678.64
                        PD2 A CALIFORNIA LIMITED      16400 PACIFIC COAST                                HUNTINGTON
PALM DESERT II          PARTNERSHIP                   HWY 207                                            BEACH               CA           92649                                  SUPPLIERS OR VENDORS       12/8/2018           $8,583.33
                                                                                                         NORTH KANSAS
PALMENTERE BROTHERS     PO BOX 12398                  PAM TO ORACLE                                      CITY                MO           64116                                  SUPPLIERS OR VENDORS      10/30/2018             $46.90
                                                                                                         NORTH KANSAS
PALMENTERE BROTHERS     PO BOX 12398                  PAM TO ORACLE                                      CITY                MO           64116                                  SUPPLIERS OR VENDORS      12/20/2018             $46.90
PAM HOLDINGS LLC        2439 KUSER ROAD                                                                  HAMILTON            NJ           08690                                  SUPPLIERS OR VENDORS      11/15/2018         $20,119.59
PAM HOLDINGS LLC        2439 KUSER ROAD                                                                  HAMILTON            NJ           08690                                  SUPPLIERS OR VENDORS      12/19/2018         $20,119.59
PAM LEICHTNAM           STORE 745                     SHOPKO EMPLOYEE         PO BOX 70                  WINNER              SD           57580                                  SUPPLIERS OR VENDORS      10/19/2018            $689.89
PAM LEICHTNAM           STORE 745                     SHOPKO EMPLOYEE         PO BOX 70                  WINNER              SD           57580                                  SUPPLIERS OR VENDORS      10/26/2018            $297.82
PAM LEICHTNAM           STORE 745                     SHOPKO EMPLOYEE         PO BOX 70                  WINNER              SD           57580                                  SUPPLIERS OR VENDORS       11/9/2018            $311.36
PAM LEICHTNAM           STORE 745                     SHOPKO EMPLOYEE         PO BOX 70                  WINNER              SD           57580                                  SUPPLIERS OR VENDORS      11/27/2018            $406.02
PAM PIERCE              STORE 2-667                   SHOPKO EMPLOYEE         1501 PARK STREET           SHELDON             IA           51201                                  SUPPLIERS OR VENDORS      11/15/2018             $73.58




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                                                                                                                                                                              Reasons for payment or    Dates of    Total Amount or
      Creditor Name              Address1                Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value

PAM SIEBERS            STORE 607                   SHOPKO EMPLOYEE        1010 SOUTH MAINLINE DR SEYMOUR                 WI           54165                                  SUPPLIERS OR VENDORS      10/18/2018            $470.28
PAM WEST               N1832 CNTY RD R                                                           LEBANON                 WI           53047                                  SUPPLIERS OR VENDORS      11/29/2018             $25.00
PAMELA AMICK           12675 FLETCHER AVE                                                        WAVERLY                 NE           68462                                  SUPPLIERS OR VENDORS      12/13/2018            $296.97
PAMELA BAKER           5504-64 ST                                                                KENOSHA                 WI           53142                                  SUPPLIERS OR VENDORS      10/24/2018            $120.00

PAMELA BOWEN           1338 TRACTOR LOOP                                                             EAST WENATCHEE      WA           98802                                  SUPPLIERS OR VENDORS      11/30/2018             $93.96
PAMELA FAGER           836 NEUFELD ST.                                                               GREEN BAY           WI           54304                                  SUPPLIERS OR VENDORS      11/16/2018             $25.00
PAMELA FENN            STORE 2-215                 SHOPKO EMPLOYEE        100 COUNTY ROAD B          SHAWANO             WI           54166-7072                             SUPPLIERS OR VENDORS       11/8/2018            $104.64
PAMELA GROGAN          STORE 2-104                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/1/2018             $36.52
PAMELA J VARGAS        STORE 547                   SHOPKO EMPLOYEE        PO BOX 929                 MOOSE LAKE          MN           55767                                  SUPPLIERS OR VENDORS       1/15/2019            $151.52
PAMELA KLEMMENSEN      1618 BALDWIN RD.                                                              JACKSONVILLE        IL           62650                                  SUPPLIERS OR VENDORS      11/26/2018             $25.00
PAMELA LOOCK           2011 29TH AVE SE                                                              AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS      10/29/2018             $15.30
PAMELA MOORE           STORE 2-750                 SHOPKO EMPLOYEE        PO BOX 308                 WINDOM              MN           56101                                  SUPPLIERS OR VENDORS       11/8/2018             $20.71
PAMELA SANFILIPPO      4627 LAKEVIEW CIR                                                             SLINGER             WI           53086                                  SUPPLIERS OR VENDORS      12/19/2018             $32.00
PAMELA SCHNITCKE       525 HILL ST                                                                   WALWORTH            WI           53184                                  SUPPLIERS OR VENDORS      12/19/2018             $30.23

PAMELA SCHUBERT        4720 BROOKSHIRE CT                                                            WISCONSIN RAPIDS    WI           54494                                  SUPPLIERS OR VENDORS      11/26/2018             $82.00
PAMELA SHAWLEY         1725 OSBORN DRIVE                                                             CLARKSTON           WA           99403                                  SUPPLIERS OR VENDORS       12/5/2018             $51.20
PAMELA WAHL            2298 OAK ROAD                                                                 HERTEL              WI           54845                                  SUPPLIERS OR VENDORS      12/18/2018             $32.99
PAMELA WOHLSEIN        PO BOX 27                                                                     KOOSKIA             ID           83539                                  SUPPLIERS OR VENDORS      11/26/2018             $12.80
PAMELA WOHLSEIN        PO BOX 27                                                                     KOOSKIA             ID           83539                                  SUPPLIERS OR VENDORS      11/29/2018             $51.20
                                                   COMMERCIAL MTG
                       WELLS FARGO WHOLESALE       SERVICING LN 19-
PAMIDA ONE LLC         LOCKBOX                     7000380                PO BOX 60253               CHARLOTTE           NC           28260-0253                             SUPPLIERS OR VENDORS       11/1/2018         $14,612.83
                                                   COMMERCIAL MTG
                       WELLS FARGO WHOLESALE       SERVICING LN 19-
PAMIDA ONE LLC         LOCKBOX                     7000380                PO BOX 60253               CHARLOTTE           NC           28260-0253                             SUPPLIERS OR VENDORS       12/3/2018         $14,612.83
                                                   COMM MORTGAGE
                       C/O WELLS FARGO WHOLESALE   SERVICING LN 19-
PAMIDA THREE LLC       LOCKBOX                     7000382                PO BOX 60253               CHARLOTTE           NC           28260-0253                             SUPPLIERS OR VENDORS       11/1/2018         $11,726.35
                                                   COMM MORTGAGE
                       C/O WELLS FARGO WHOLESALE   SERVICING LN 19-
PAMIDA THREE LLC       LOCKBOX                     7000382                PO BOX 60253               CHARLOTTE           NC           28260-0253                             SUPPLIERS OR VENDORS       11/1/2018         $13,500.00
                                                   COMM MORTGAGE
                       C/O WELLS FARGO WHOLESALE   SERVICING LN 19-
PAMIDA THREE LLC       LOCKBOX                     7000382                PO BOX 60253               CHARLOTTE           NC           28260-0253                             SUPPLIERS OR VENDORS       11/1/2018         $14,271.70
                                                   COMM MORTGAGE
                       C/O WELLS FARGO WHOLESALE   SERVICING LN 19-
PAMIDA THREE LLC       LOCKBOX                     7000382                PO BOX 60253               CHARLOTTE           NC           28260-0253                             SUPPLIERS OR VENDORS       12/3/2018         $11,726.35
                                                   COMM MORTGAGE
                       C/O WELLS FARGO WHOLESALE   SERVICING LN 19-
PAMIDA THREE LLC       LOCKBOX                     7000382                PO BOX 60253               CHARLOTTE           NC           28260-0253                             SUPPLIERS OR VENDORS       12/3/2018         $13,500.00
                                                   COMM MORTGAGE
                       C/O WELLS FARGO WHOLESALE   SERVICING LN 19-
PAMIDA THREE LLC       LOCKBOX                     7000382                PO BOX 60253               CHARLOTTE           NC           28260-0253                             SUPPLIERS OR VENDORS       12/3/2018         $14,271.70
                                                   COMM MORTGAGE
                       C/O WELLS FARGO WHOLESALE   SERVICING LN 19-
PAMIDA TWO LLC         LOCKBOX                     7000381                PO BOX 60253               CHARLOTTE           NC           28260-0253                             SUPPLIERS OR VENDORS       11/1/2018         $13,110.18
                                                   COMM MORTGAGE
                       C/O WELLS FARGO WHOLESALE   SERVICING LN 19-
PAMIDA TWO LLC         LOCKBOX                     7000381                PO BOX 60253               CHARLOTTE           NC           28260-0253                             SUPPLIERS OR VENDORS       12/3/2018         $13,110.18
                                                   444 EAST ST GERMAIN
PAN O GOLD BAKING CO   VICE PRESIDENT OF SALES     STREET                                            ST CLOUD            MN           56302                                  SUPPLIERS OR VENDORS      10/18/2018            $275.25



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      Creditor Name               Address1                   Address2                 Address3                   City            State       Zip              Country                   transfer          Payments            Value
                                                      444 EAST ST GERMAIN
PAN O GOLD BAKING CO    VICE PRESIDENT OF SALES       STREET                                            ST CLOUD            MN           56302                                  SUPPLIERS OR VENDORS      11/15/2018             $156.00
                                                      444 EAST ST GERMAIN
PAN O GOLD BAKING CO    VICE PRESIDENT OF SALES       STREET                                            ST CLOUD            MN           56302                                  SUPPLIERS OR VENDORS      12/20/2018             $142.50
                                                      444 EAST ST GERMAIN
PAN O GOLD BAKING CO    VICE PRESIDENT OF SALES       STREET                                            ST CLOUD            MN           56302                                  SUPPLIERS OR VENDORS      12/27/2018              $30.00
PANACEA PRODUCTS
CORPORATION             PO BOX 951556                                                                   CLEVELAND           OH           44193-0000                             SUPPLIERS OR VENDORS      10/18/2018          $11,041.91
PANACEA PRODUCTS
CORPORATION             PO BOX 951556                                                                   CLEVELAND           OH           44193-0000                             SUPPLIERS OR VENDORS      10/25/2018          $10,619.48
PANACEA PRODUCTS
CORPORATION             PO BOX 951556                                                                   CLEVELAND           OH           44193-0000                             SUPPLIERS OR VENDORS       11/1/2018            $9,595.84
PANACEA PRODUCTS
CORPORATION             PO BOX 951556                                                                   CLEVELAND           OH           44193-0000                             SUPPLIERS OR VENDORS       11/8/2018            $4,813.77
PANACEA PRODUCTS
CORPORATION             PO BOX 951556                                                                   CLEVELAND           OH           44193-0000                             SUPPLIERS OR VENDORS      11/15/2018          $16,933.78
PANACEA PRODUCTS
CORPORATION             PO BOX 951556                                                                   CLEVELAND           OH           44193-0000                             SUPPLIERS OR VENDORS      11/22/2018            $4,407.66
PANACEA PRODUCTS
CORPORATION             PO BOX 951556                                                                   CLEVELAND           OH           44193-0000                             SUPPLIERS OR VENDORS      11/29/2018            $8,883.60
PANACHE INTERNATIONAL
LLC                     23422 PERALTA DRIVE SUITE D                                                     LAGUNA HILLS        CA           92653                                  SUPPLIERS OR VENDORS      11/13/2018          $14,505.61
PANACHE INTERNATIONAL
LLC                     23422 PERALTA DRIVE SUITE D                                                     LAGUNA HILLS        CA           92653                                  SUPPLIERS OR VENDORS      11/16/2018          $74,263.07
PANGBURN GROUP
INCORPORATED            PO BOX 900                                                                      NEW ROADS           LA           70760-0900                             SUPPLIERS OR VENDORS         1/4/2019           $5,775.00
PANHANDLE HEALTH
DISTRICT                KOOTENAI COUNTY OFFICE        8500 N ATLAS ROAD                                 HAYDEN              ID           83835                                  SUPPLIERS OR VENDORS      10/18/2018             $125.00
PANHANDLE HEALTH
DISTRICT                BONNER COUNTY OFFICE          2101 W PINE STREET                                SANDPOINT           ID           83864                                  SUPPLIERS OR VENDORS      10/18/2018             $125.00
PANHANDLE HEALTH
DISTRICT                BONNER COUNTY OFFICE          2101 W PINE STREET                                SANDPOINT           ID           83864                                  SUPPLIERS OR VENDORS      10/18/2018             $125.00
PANTONE LLC             X-RITE INCORPORATED           PO BOX 74008781                                   CHICAGO             IL           60674-8781                             SUPPLIERS OR VENDORS      10/19/2018             $171.36
PANTONE LLC             X-RITE INCORPORATED           PO BOX 74008781                                   CHICAGO             IL           60674-8781                             SUPPLIERS OR VENDORS       11/9/2018             $135.60
PANTONE LLC             X-RITE INCORPORATED           PO BOX 74008781                                   CHICAGO             IL           60674-8781                             SUPPLIERS OR VENDORS      11/27/2018              $22.60
PANTONE LLC             X-RITE INCORPORATED           PO BOX 74008781                                   CHICAGO             IL           60674-8781                             SUPPLIERS OR VENDORS      11/30/2018             $113.00
PANTONE LLC             X-RITE INCORPORATED           PO BOX 74008781                                   CHICAGO             IL           60674-8781                             SUPPLIERS OR VENDORS      12/14/2018             $125.78
PAPER IMAGES
INCORPORATED            49 GARFIELD STREET            PAM TO ORACLE                                     HOLYOKE             MA           01040                                  SUPPLIERS OR VENDORS       11/1/2018            $9,721.17
PAPER IMAGES
INCORPORATED            49 GARFIELD STREET            PAM TO ORACLE                                     HOLYOKE             MA           01040                                  SUPPLIERS OR VENDORS      11/15/2018            $4,885.46
PAPER IMAGES
INCORPORATED            49 GARFIELD STREET            PAM TO ORACLE                                     HOLYOKE             MA           01040                                  SUPPLIERS OR VENDORS      11/22/2018          $10,731.78
PAPER MAGIC GROUP
INCORPORATED            PO BOX 8500 50440                                                               PHILADELPHIA        PA           19178                                  SUPPLIERS OR VENDORS       11/6/2018          $42,678.48
PARADIGM HEALTH &
WELLNESS INC            DEPT LA 24115                                                                   PASADENA            CA           91185-4115                             SUPPLIERS OR VENDORS      10/25/2018             $145.00
                        14850 QUORUM DRIVE SUITE
PARADIGM TAX GROUP      300                                                                             DALLAS              TX           75254                                  SUPPLIERS OR VENDORS      10/25/2018            $6,337.69
                        14850 QUORUM DRIVE SUITE
PARADIGM TAX GROUP      300                                                                             DALLAS              TX           75254                                  SUPPLIERS OR VENDORS      10/29/2018            $1,507.89
                        14850 QUORUM DRIVE SUITE
PARADIGM TAX GROUP      300                                                                             DALLAS              TX           75254                                  SUPPLIERS OR VENDORS      11/26/2018            $1,960.25




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      Creditor Name              Address1                    Address2                  Address3                   City            State       Zip              Country                   transfer          Payments           Value
                        14850 QUORUM DRIVE SUITE
PARADIGM TAX GROUP      300                                                                              DALLAS              TX           75254                                  SUPPLIERS OR VENDORS       12/5/2018           $5,067.77
PARAMOUNT RX                                        2054 KILDAIRE FARM
INCORPORATED            403                         ROAD                                                 CARY                NC           27518                                  SUPPLIERS OR VENDORS       11/1/2018         $43,036.10
PARAMOUNT RX                                        2054 KILDAIRE FARM
INCORPORATED            403                         ROAD                                                 CARY                NC           27518                                  SUPPLIERS OR VENDORS      11/29/2018         $48,062.40
PARAMOUNT RX
INCORPORATED            0                           403                                                  CARY                NC           27518                                  SUPPLIERS OR VENDORS       12/4/2018              $1.00
PARATA SYSTEMS LLC      PO BOX 638203                                                                    CINCINNATI          OH           45263-8203                             SUPPLIERS OR VENDORS      11/15/2018            $407.37
PARATA SYSTEMS LLC      PO BOX 638203                                                                    CINCINNATI          OH           45263-8203                             SUPPLIERS OR VENDORS      12/17/2018            $127.96
PARCEL DELIVERY QUICK   ED RASMUSSEN                BOX 2661                                             MISSOULA            MT           59806                                  SUPPLIERS OR VENDORS      10/19/2018            $813.75
PARCEL DELIVERY QUICK   ED RASMUSSEN                BOX 2661                                             MISSOULA            MT           59806                                  SUPPLIERS OR VENDORS       11/9/2018            $227.50
PARCEL DELIVERY QUICK   ED RASMUSSEN                BOX 2661                                             MISSOULA            MT           59806                                  SUPPLIERS OR VENDORS      12/18/2018            $262.50
PARFUMS DE COEUR
LIMITED                 CHURCH STREET STATION       PO BOX 6349                                          NEW YORK            NY           10249-6349                             SUPPLIERS OR VENDORS      10/18/2018           $7,649.77
PARFUMS DE COEUR
LIMITED                 CHURCH STREET STATION       PO BOX 6349                                          NEW YORK            NY           10249-6349                             SUPPLIERS OR VENDORS      10/23/2018        $136,653.30
PARFUMS DE COEUR
LIMITED                 CHURCH STREET STATION       PO BOX 6349                                          NEW YORK            NY           10249-6349                             SUPPLIERS OR VENDORS      10/25/2018         $28,579.27
PARFUMS DE COEUR
LIMITED                 CHURCH STREET STATION       PO BOX 6349                                          NEW YORK            NY           10249-6349                             SUPPLIERS OR VENDORS      10/30/2018         $13,067.66
PARFUMS DE COEUR
LIMITED                 CHURCH STREET STATION       PO BOX 6349                                          NEW YORK            NY           10249-6349                             SUPPLIERS OR VENDORS       11/1/2018           $4,506.61
PARFUMS DE COEUR
LIMITED                 CHURCH STREET STATION       PO BOX 6349                                          NEW YORK            NY           10249-6349                             SUPPLIERS OR VENDORS       11/6/2018         $10,766.02
PARFUMS DE COEUR
LIMITED                 CHURCH STREET STATION       PO BOX 6349                                          NEW YORK            NY           10249-6349                             SUPPLIERS OR VENDORS       11/8/2018           $2,825.81
PARFUMS DE COEUR
LIMITED                 CHURCH STREET STATION       PO BOX 6349                                          NEW YORK            NY           10249-6349                             SUPPLIERS OR VENDORS      11/13/2018           $9,396.94
PARFUMS DE COEUR
LIMITED                 CHURCH STREET STATION       PO BOX 6349                                          NEW YORK            NY           10249-6349                             SUPPLIERS OR VENDORS      11/15/2018           $1,779.24
PARFUMS DE COEUR
LIMITED                 CHURCH STREET STATION       PO BOX 6349                                          NEW YORK            NY           10249-6349                             SUPPLIERS OR VENDORS      11/27/2018         $46,059.46
PARFUMS DE COEUR
LIMITED                 CHURCH STREET STATION       PO BOX 6349                                          NEW YORK            NY           10249-6349                             SUPPLIERS OR VENDORS       12/4/2018         $11,389.80
PARFUMS DE COEUR
LIMITED                 CHURCH STREET STATION       PO BOX 6349                                          NEW YORK            NY           10249-6349                             SUPPLIERS OR VENDORS       12/6/2018          $6,868.87
PARIS PRESENTS          28270 NETWORK PLACE                                                              CHICAGO             IL           60673-1282                             SUPPLIERS OR VENDORS      10/18/2018          $6,990.53
PARIS PRESENTS          28270 NETWORK PLACE                                                              CHICAGO             IL           60673-1282                             SUPPLIERS OR VENDORS      10/25/2018         $11,226.89
PARIS PRESENTS          28270 NETWORK PLACE                                                              CHICAGO             IL           60673-1282                             SUPPLIERS OR VENDORS       11/1/2018          $7,895.80
PARIS PRESENTS          28270 NETWORK PLACE                                                              CHICAGO             IL           60673-1282                             SUPPLIERS OR VENDORS       11/8/2018          $4,836.61
PARIS PRESENTS          28270 NETWORK PLACE                                                              CHICAGO             IL           60673-1282                             SUPPLIERS OR VENDORS      11/15/2018         $11,306.92
PARIS PRESENTS          28270 NETWORK PLACE                                                              CHICAGO             IL           60673-1282                             SUPPLIERS OR VENDORS      11/22/2018          $4,422.66
PARIS PRESENTS          28270 NETWORK PLACE                                                              CHICAGO             IL           60673-1282                             SUPPLIERS OR VENDORS      11/29/2018         $47,611.49

PARK COUNTY TREASURER   1002 SHERIDAN AVENUE                                                             CODY                WY           82414                                  SUPPLIERS OR VENDORS       11/6/2018           $3,068.71

PARK COUNTY TREASURER   414 E CALLENDER                                                                  LIVINGSTON          MT           59047                                  SUPPLIERS OR VENDORS      11/26/2018         $18,465.63
PARKE COUNTY HEALTH
DEPARTMENT              116 W HIGH STREET ROOM 12                                                        ROCKVILLE           IN           47872                                  SUPPLIERS OR VENDORS      12/14/2018             $45.00

PARKE COUNTY TREASURER COURTHOUSE RM 107            116 W HIGH STREET                                    ROCKVILLE           IN           47872-0000                             SUPPLIERS OR VENDORS       11/6/2018           $8,160.71
PARKER ACKLAND         2521 WINDCHESTER SOUTH                                                            LINCOLN             NE           68512                                  SUPPLIERS OR VENDORS      10/26/2018              $20.00




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                                                                                                                                                                               Reasons for payment or    Dates of    Total Amount or
      Creditor Name                 Address1              Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value

PASCHALL TRUCK LINES INC   3443 HIGHWAY 641 SOUTH   PO BOX 1080                                       MURRAY              KY           42071-0018                             SUPPLIERS OR VENDORS      11/29/2018         $13,433.98

PASCHALL TRUCK LINES INC   3443 HIGHWAY 641 SOUTH   PO BOX 1080                                       MURRAY              KY           42071-0018                             SUPPLIERS OR VENDORS       12/7/2018         $47,390.27

PASCHALL TRUCK LINES INC   3443 HIGHWAY 641 SOUTH   PO BOX 1080                                       MURRAY              KY           42071-0018                             SUPPLIERS OR VENDORS      12/13/2018         $21,483.51

PASCHALL TRUCK LINES INC   3443 HIGHWAY 641 SOUTH   PO BOX 1080                                       MURRAY              KY           42071-0018                             SUPPLIERS OR VENDORS      12/14/2018           $4,823.34
                                                    3443 HIGHWAY 641
PASCHALL TRUCK LINES INC   0                        SOUTH                                             MURRAY              KY           42071-0018                             SUPPLIERS OR VENDORS      12/15/2018               $1.00

PASCHALL TRUCK LINES INC   3443 HIGHWAY 641 SOUTH   PO BOX 1080                                       MURRAY              KY           42071-0018                             SUPPLIERS OR VENDORS      12/17/2018         $13,699.27

PASCHALL TRUCK LINES INC   3443 HIGHWAY 641 SOUTH   PO BOX 1080                                       MURRAY              KY           42071-0018                             SUPPLIERS OR VENDORS      12/18/2018         $11,855.44

PASCHALL TRUCK LINES INC   3443 HIGHWAY 641 SOUTH   PO BOX 1080                                       MURRAY              KY           42071-0018                             SUPPLIERS OR VENDORS      12/21/2018             $75.00

PASCHALL TRUCK LINES INC   3443 HIGHWAY 641 SOUTH   PO BOX 1080                                       MURRAY              KY           42071-0018                             SUPPLIERS OR VENDORS        1/5/2019           $3,736.80
PAT ADAMSON                8279 SOTHERLAND ST                                                         LINCOLN             NE           68526                                  SUPPLIERS OR VENDORS       11/5/2018              $11.98
PAT BECKER                 1210 NORTH 8TH STREET                                                      MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS      11/26/2018              $62.52
                                                                           202 SUSAN LAWRENCE
PAT LANTERI                STORE 2-681              SHOPKO EMPLOYEE        DRIVE                      IDA GROVE           IA           51445                                  SUPPLIERS OR VENDORS       11/9/2018            $123.17
PAT WESTLUND               7629 GLYNOAKS                                                              LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS       11/1/2018             $11.97
PATRICE WALTER             1112 JONES STREET                                                          WATERTOWN           WI           53094                                  SUPPLIERS OR VENDORS      10/18/2018            $185.97
PATRICIA ANDERSEN          1016 W KILLARNEY ST                                                        SIOUX FALLS         SD           57108                                  SUPPLIERS OR VENDORS      11/29/2018             $48.00
PATRICIA ANDERSEN          1016 W KILLARNEY ST                                                        SIOUX FALLS         SD           57108                                  SUPPLIERS OR VENDORS      11/30/2018             $12.00
PATRICIA ARCAND            324 SE 12 TH ST                                                            COLLEGE PLACE       WA           99324                                  SUPPLIERS OR VENDORS      12/10/2018             $24.00
PATRICIA BAILEY            PO BOX 37                                                                  LANSING             MN           55950                                  SUPPLIERS OR VENDORS       12/3/2018            $114.22
PATRICIA BATES             2834 OLYMPIC COURT                                                         CLARKSTON           WA           99403                                  SUPPLIERS OR VENDORS      10/19/2018             $51.20
PATRICIA BRASS             819 MAIN STREET                                                            ROCKWELL            IA           50469                                  SUPPLIERS OR VENDORS      12/10/2018              $9.99
PATRICIA CARL              524N WEBER                                                                 STRATFORD           WI           54484                                  SUPPLIERS OR VENDORS      11/16/2018             $42.24
PATRICIA CIHAK             PO BOX 183                                                                 AVON                SD           57315                                  SUPPLIERS OR VENDORS       12/3/2018             $11.20
PATRICIA CIHAK             PO BOX 183                                                                 AVON                SD           57315                                  SUPPLIERS OR VENDORS       12/7/2018             $44.80
PATRICIA COOKE             2007 HUNTINGTON ST                                                         MARQUETTE           MI           49855                                  SUPPLIERS OR VENDORS      10/31/2018             $61.98
PATRICIA CUMBER            3400 JACKSON STREET                                                        OSHKOSH             WI           54901                                  SUPPLIERS OR VENDORS       12/7/2018             $45.00
PATRICIA DEWAARD           PO BOX 332                                                                 BRITT               IA           50423                                  SUPPLIERS OR VENDORS      12/10/2018             $12.00
PATRICIA DILLON            906 W 4300 S                                                               RIVERDALE           UT           84405                                  SUPPLIERS OR VENDORS      11/12/2018              $2.00
PATRICIA DILLON            906 W 4300 S                                                               RIVERDALE           UT           84405                                  SUPPLIERS OR VENDORS      11/12/2018             $52.00
PATRICIA DINGWELL          805 PORTER RIDGE RD                                                        LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS      12/13/2018             $36.14
PATRICIA DONOVAN           2427 REGINALD HILL                                                         DE PERE             WI           54115                                  SUPPLIERS OR VENDORS      12/17/2018             $25.00
PATRICIA FARMER            4620 SOUTH 85TH CIRCLE                                                     LINCOLN             NE           68526                                  SUPPLIERS OR VENDORS      11/15/2018             $13.15
PATRICIA FARMER            4620 SOUTH 85TH CIRCLE                                                     LINCOLN             NE           68526                                  SUPPLIERS OR VENDORS      11/29/2018             $60.85
PATRICIA FRANKFURTH        BOX 22                                                                     BOWDLE              SD           57428                                  SUPPLIERS OR VENDORS      10/24/2018             $48.64
PATRICIA FRANKFURTH        BOX 22                                                                     BOWDLE              SD           57428                                  SUPPLIERS OR VENDORS      10/29/2018             $12.16
PATRICIA FREDRICK          44 WA WA AVE                                                               RIPON               WI           54971                                  SUPPLIERS OR VENDORS      12/17/2018             $10.20
PATRICIA GUSTAFSON         401 HEMLOCK STREET                                                         KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS      12/13/2018             $62.46
PATRICIA HAAS              12956 IVY LANE                                                             SPRING GREEN        WI           53588                                  SUPPLIERS OR VENDORS      12/21/2018             $20.00
PATRICIA HANKE             3004 ROBIN LN                                                              WAUSAU              WI           54401                                  SUPPLIERS OR VENDORS      11/12/2018             $18.00
PATRICIA HELEIN            40 EAST WAUKAU AVENUE                                                      OSHKOSH             WI           54902                                  SUPPLIERS OR VENDORS       12/7/2018             $25.00
PATRICIA KAILHOFER         W1594 LAU RD                                                               KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS      11/14/2018             $19.81

PATRICIA KASTELIC-KLARICH 5739 LAKE SHORE DR                                                          MOHAWK              MI           49950                                  SUPPLIERS OR VENDORS      10/25/2018               $9.60

PATRICIA KASTELIC-KLARICH 5739 LAKE SHORE DR                                                          MOHAWK              MI           49950                                  SUPPLIERS OR VENDORS      10/25/2018             $22.00



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                                                                                                                                                                              Reasons for payment or    Dates of     Total Amount or
      Creditor Name              Address1                Address2                 Address3                 City              State       Zip              Country                    transfer          Payments            Value
PATRICIA KOEHLER      714 W NEBRASKA                                                                PIERCE              NE           68767                                  SUPPLIERS OR VENDORS        11/26/2018               $53.54
PATRICIA KOGEL        1420 WEST 23RD AVE                                                            MITCHELL            SD           57301                                  SUPPLIERS OR VENDORS        12/17/2018               $11.20
PATRICIA KONOPKA      19608 ALDRICH RD                                                              CHASSELL            MI           49916                                  SUPPLIERS OR VENDORS        11/26/2018               $18.67
PATRICIA KREIFELS     110 APPLE STREET                                                              BENNET              NE           68317                                  SUPPLIERS OR VENDORS        10/22/2018               $13.15
PATRICIA LANDEEN      401 E 8TH ST SUITE 214     #1282                                              SIOUX FALLS         SD           57103                                  SUPPLIERS OR VENDORS         11/1/2018               $12.00
                                                                         145 BROADWAY AVENUE
PATRICIA LEGUERI      STORE 561                  SHOPKO EMPLOYEE         N                   COKATO                     MN           55321                                  SUPPLIERS OR VENDORS       10/26/2018              $142.58
                                                                         145 BROADWAY AVENUE
PATRICIA LEGUERI      STORE 561                  SHOPKO EMPLOYEE         N                   COKATO                     MN           55321                                  SUPPLIERS OR VENDORS       11/27/2018               $71.29
PATRICIA LINDLEY      STORE 2-171                SHOPKO EMPLOYEE                             GREEN BAY                  WI           54307-9060                             SUPPLIERS OR VENDORS        11/1/2018               $46.87
PATRICIA LINDLEY      STORE 2-171                SHOPKO EMPLOYEE                             GREEN BAY                  WI           54307-9060                             SUPPLIERS OR VENDORS       11/15/2018               $87.20
PATRICIA LINDLEY      STORE 2-171                SHOPKO EMPLOYEE                             GREEN BAY                  WI           54307-9060                             SUPPLIERS OR VENDORS       11/22/2018               $43.60
                      PRIVATE BRAND & TREND
PATRICIA M JONES      DIVISION                   SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/25/2018              $258.23
                      PRIVATE BRAND & TREND
PATRICIA M JONES      DIVISION                   SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/8/2018              $610.64
                      PRIVATE BRAND & TREND
PATRICIA M JONES      DIVISION                   SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/15/2018               $17.80
PATRICIA M MITCHELL   BLACKTAIL PROPERTIES LLC   2785 FLYNN LANE                                    DILLON              MT           59725                                  SUPPLIERS OR VENDORS        11/1/2018            $1,916.67
PATRICIA M MITCHELL   BLACKTAIL PROPERTIES LLC   2785 FLYNN LANE                                    DILLON              MT           59725                                  SUPPLIERS OR VENDORS        12/3/2018            $1,916.67

PATRICIA MAHNKE       1603 2ND AVE                                                                  SOUTH SIOUX CITY    NE           68776                                  SUPPLIERS OR VENDORS       11/29/2018               $41.60
PATRICIA MARTINEZ     648 ORCHARD AVENUE                                                            OGDEN               UT           84404                                  SUPPLIERS OR VENDORS       12/20/2018                $5.60
PATRICIA MCLAUGHLIN   718 RASSBACH ST                                                               EAU CLAIRE          WI           54701                                  SUPPLIERS OR VENDORS       10/19/2018               $20.00
PATRICIA MOORE        2266 RIVER DIRVE                                                              NIAGARA             WI           54151                                  SUPPLIERS OR VENDORS       10/25/2018               $13.54
PATRICIA MOORE        2266 RIVER DIRVE                                                              NIAGARA             WI           54151                                  SUPPLIERS OR VENDORS       11/26/2018               $37.91
PATRICIA NICKELS      3114 WILDWOOD DRIVE                                                           MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS       11/26/2018               $11.04
PATRICIA NICKELS      3114 WILDWOOD DRIVE                                                           MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS       11/30/2018               $44.16

PATRICIA NOSSEM       STORE 574                  SHOPKO EMPLOYEE         2052 E COMMERCIAL AVE LOWELL                   IN           46356-2116                             SUPPLIERS OR VENDORS        11/2/2018               $24.31
PATRICIA OSTERLOO     PO BOX 331                                                               EMERY                    SD           57332                                  SUPPLIERS OR VENDORS        12/5/2018               $44.80
PATRICIA OSTRANDER    707 C ST.                                                                PALMYRA                  NE           68418                                  SUPPLIERS OR VENDORS       10/18/2018               $47.94
PATRICIA OSTRANDER    707 C ST.                                                                PALMYRA                  NE           68418                                  SUPPLIERS OR VENDORS        11/1/2018               $27.06
                      N169W19940 GEORGETOWN
PATRICIA PIIPPO       DR                         APT N                                              JACKSON             WI           53037                                  SUPPLIERS OR VENDORS       11/12/2018               $52.00
PATRICIA REAGAN       214 ADAMS ST                                                                  NEENAH              WI           54956                                  SUPPLIERS OR VENDORS       10/31/2018               $23.88
PATRICIA REZNICEK     509 FAIRGROUNDS RD                                                            MADISON             NE           68748                                  SUPPLIERS OR VENDORS       11/26/2018               $13.38
PATRICIA RICE         912 S PENN. ST                                                                ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS        12/7/2018               $48.64
PATRICIA RUDEBECK     3125 BREEZWOOD LN                                                             NEENAH              WI           54956                                  SUPPLIERS OR VENDORS       11/26/2018               $42.71
PATRICIA SCHILD       STORE 2-140                SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/18/2018               $52.43
PATRICIA SCHILD       STORE 2-140                SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/25/2018               $65.84
PATRICIA SCHILD       STORE 2-140                SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/8/2018               $38.70
PATRICIA SCHILD       STORE 2-140                SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/13/2018               $39.03
PATRICIA SCHILD       1268 NE 1500 STREET                                                           ROODHOUSE           IL           62802                                  SUPPLIERS OR VENDORS       12/13/2018               $72.95
PATRICIA SCHUSTER     1251 LILY RD                                                                  OCONOMOWOC          WI           53066                                  SUPPLIERS OR VENDORS        11/7/2018               $43.00
PATRICIA SHAW         M370 STATE HWY 97                                                             MARSHFIELD          WI           54449                                  SUPPLIERS OR VENDORS        11/1/2018               $10.00
PATRICIA SHOWELL      23245 W. 11500 S.                                                             STONE               ID           83252                                  SUPPLIERS OR VENDORS       12/20/2018               $16.00
PATRICIA SWANSON      3702 387TH AVE                                                                ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS        12/5/2018               $18.87
PATRICIA SWARTOUT     POB 1964                                                                      SPOKANE             WA           99210                                  SUPPLIERS OR VENDORS       11/29/2018               $54.40
PATRICIA TERMAAT      12000 PANAMA RD                                                               HICKMAN             NE           68372                                  SUPPLIERS OR VENDORS       10/22/2018               $11.98
PATRICIA TERMAAT      12000 PANAMA RD                                                               HICKMAN             NE           68372                                  SUPPLIERS OR VENDORS        11/5/2018               $47.94
PATRICIA THIEX        1663 LENWOOD AVE           APT 3                                              GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS       11/30/2018               $44.16

PATRICIA TRAAS        W1711 GARTON ROAD                                                             HOWARDS GROVE WI                 53083                                  SUPPLIERS OR VENDORS       12/21/2018                $4.00



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PATRICIA UHLMEYER      6540 HIGHWAY 6                                                                TAYLOR              MO           63471                                  SUPPLIERS OR VENDORS         12/7/2018              $372.05
PATRICIA WARD          2243 MADISON                                                                  BURLINGTON          IA           52601                                  SUPPLIERS OR VENDORS        12/20/2018               $42.00
PATRICIA WESOLOWSKI    443 JAWORSKI RD                                                               PULASKI             WI           54162                                  SUPPLIERS OR VENDORS        11/28/2018               $16.00
PATRICIA WINSOR        5914 MOSES ST                                                                 CHUBBUCK            ID           83202                                  SUPPLIERS OR VENDORS        11/12/2018               $45.00
PATRICIA WODELE        PO BOX 351                                                                    PEPIN               WI           54759                                  SUPPLIERS OR VENDORS         11/1/2018               $10.56
PATRICK BEAN           STORE 2-098                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         12/6/2018              $351.47
PATRICK CHITTIM        409 S. 93RD AVE                                                               YAKIMA              WA           98908                                  SUPPLIERS OR VENDORS         11/2/2018               $49.00
PATRICK CROWLEY        STORE 130                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS        10/25/2018               $18.95
PATRICK CROWLEY        STORE 130                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS         11/1/2018              $142.79
PATRICK FLAVIN         411 S. FOURTH STREET EAST                                                     FORT ATKINSON       WI           53538                                  SUPPLIERS OR VENDORS        11/26/2018               $50.00
PATRICK GOEDKEN        1401 S LOUISIANA AVE                                                          MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS         11/5/2018               $40.00
PATRICK H KOFMEHL      4421 N CENTER ROAD                                                            SPOKANE             WA           99212                                  SUPPLIERS OR VENDORS         11/1/2018           $27,140.25
PATRICK H KOFMEHL      4421 N CENTER ROAD                                                            SPOKANE             WA           99212                                  SUPPLIERS OR VENDORS         12/3/2018           $27,140.25
PATRICK KENNEDY        1022 N 2700 W                                                                 PROVO               UT           84601                                  SUPPLIERS OR VENDORS         11/2/2018               $16.00
PATRICK LANGIN         N1532 BRICKYARD RD                                                            VULCAN              MI           49892                                  SUPPLIERS OR VENDORS         11/1/2018                $9.76
PATRICK LANGIN         N1532 BRICKYARD RD                                                            VULCAN              MI           49892                                  SUPPLIERS OR VENDORS        11/26/2018               $39.04
PATRICK NOWAK          2839 S RIVER RD                                                               JANESVILLE          WI           53546                                  SUPPLIERS OR VENDORS         11/9/2018               $10.02
PATSY FISCHER          500 E SMITH ST                                                                IRON MOUNTAIN       MI           49801                                  SUPPLIERS OR VENDORS         12/3/2018               $10.54
PATSY WEBB             5015 EAST USTICK            #125 A                                            CALDWELL            ID           83607                                  SUPPLIERS OR VENDORS        11/26/2018               $38.20
PATTI CARLSON          W9435 PETERSON DR                                                             IRON MOUNTAIN       MI           49801                                  SUPPLIERS OR VENDORS         11/1/2018                $9.76
PATTI LEVINGS          3918 N 6TH STREET                                                             WAUSAU              WI           54401                                  SUPPLIERS OR VENDORS        12/20/2018               $28.00
PATTON GROUP LIMITED
PARTNERSHIP            350 BAY STREET STE 100      PMB 200                                           SAN FRANCISCO       CA           94133-1998                             SUPPLIERS OR VENDORS        11/3/2018           $24,166.67
PATTON GROUP LIMITED
PARTNERSHIP            350 BAY STREET STE 100      PMB 200                                           SAN FRANCISCO       CA           94133-1998                             SUPPLIERS OR VENDORS        12/5/2018           $24,166.67
PATTY ALEXANDER        PO BOX 1614                                                                   LOLO                MT           59847                                  SUPPLIERS OR VENDORS        12/3/2018               $53.76
PATTY EVANS            STORE 610                   SHOPKO EMPLOYEE        650 US 41 W                ISHPEMING           MI           49849-0000                             SUPPLIERS OR VENDORS       11/16/2018              $149.33
PATTY EVANS            STORE 610                   SHOPKO EMPLOYEE        650 US 41 W                ISHPEMING           MI           49849-0000                             SUPPLIERS OR VENDORS       12/11/2018               $73.78
PATTY JENSEN           STORE 068                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/8/2018              $352.07
PATTY RAMSEY           STORE 596                   SHOPKO EMPLOYEE        1208 N HIGHWAY 77          DELL RAPIDS         SD           57022-0000                             SUPPLIERS OR VENDORS       11/16/2018              $283.48
PATTY RAMSEY           STORE 596                   SHOPKO EMPLOYEE        1208 N HIGHWAY 77          DELL RAPIDS         SD           57022-0000                             SUPPLIERS OR VENDORS       12/14/2018              $223.41
PATTY RAMSEY           STORE 596                   SHOPKO EMPLOYEE        1208 N HIGHWAY 77          DELL RAPIDS         SD           57022-0000                             SUPPLIERS OR VENDORS       12/29/2018              $186.22
PATTY WEINRICH         BOX 356                                                                       CREIGHTON           NE           68729                                  SUPPLIERS OR VENDORS        11/5/2018               $13.38
PATTY WEINRICH         BOX 356                                                                       CREIGHTON           NE           68729                                  SUPPLIERS OR VENDORS        11/5/2018               $53.54
PAUL ARNOLD            247 BERKELEY ST                                                               NEENAH              WI           54956                                  SUPPLIERS OR VENDORS       11/26/2018               $22.50
PAUL BIDLE             410 SE HIGH ST                                                                PULLMAN             WA           99163                                  SUPPLIERS OR VENDORS       12/17/2018               $21.25
PAUL BREITENFELDT      902 11TH ST                                                                   MOSINEE             WI           54455                                  SUPPLIERS OR VENDORS       12/13/2018               $25.00
PAUL CLANCY            1111 S WEST AVE                                                               SIOUX FALLS         SD           57105                                  SUPPLIERS OR VENDORS        12/5/2018               $48.00
PAUL ENGEN             4734 N STARGAZE DR                                                            APPLETON            WI           54913                                  SUPPLIERS OR VENDORS       12/18/2018               $15.07
PAUL FRECHETTE         3222 SHAG BARK COURT                                                          JANESVILLE          WI           53545                                  SUPPLIERS OR VENDORS       11/26/2018               $25.00
PAUL FRITSCHE          1261 60TH ST                                                                  HUDSON              WI           54016                                  SUPPLIERS OR VENDORS        11/2/2018               $19.99
PAUL HALTER            3013 CLIFFSIDE DR                                                             LA CROSSE           WI           54601                                  SUPPLIERS OR VENDORS       11/26/2018               $25.00
PAUL HENNING           86758 380TH AVE.                                                              OKABENA             MN           56161                                  SUPPLIERS OR VENDORS       10/30/2018               $28.87
PAUL HICKEY            150 ELM AVE                                                                   SATELLITE BEACH     FL           32937                                  SUPPLIERS OR VENDORS        11/5/2018               $10.50
PAUL KIMBALL           1110 10 TH AVE                                                                HOUGHTON            MI           49931                                  SUPPLIERS OR VENDORS        12/7/2018               $41.67
PAUL MCCLINTOCK        STORE 106                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/1/2018              $415.76
PAUL MEINEN            733 W.CEDAR ST                                                                CHIPPEWA FALLS      WI           54729                                  SUPPLIERS OR VENDORS        11/9/2018               $45.00
PAUL PIECHOWSKI        1331 RAHR AVE                                                                 OSHKOSH             WI           54901                                  SUPPLIERS OR VENDORS        12/7/2018               $16.02
PAUL RICHMOND          65745 TWIN BRIDGES RD                                                         BEND                OR           97701                                  SUPPLIERS OR VENDORS        11/7/2018              $154.14
PAUL SENORASKE         R9990 HWY J                                                                   SCHOFIELD           WI           54476                                  SUPPLIERS OR VENDORS       11/30/2018               $14.97
PAUL SMITH             9512 SOUTH 175TH CIRCLE                                                       OMAHA               NE           68136                                  SUPPLIERS OR VENDORS       10/22/2018               $11.78
PAUL STOTZ             BOX 39                                                                        TOLSTOY             SD           57475                                  SUPPLIERS OR VENDORS       11/30/2018              $211.98
PAUL STROH             107 WEST THEODORE ST                                                          SELBY               SD           57472                                  SUPPLIERS OR VENDORS       11/26/2018               $12.16
PAUL TEN PAS           2903 SOUTH 8TH STREET                                                         SHEBOYGAN           WI           53081                                  SUPPLIERS OR VENDORS       11/29/2018               $23.06



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                                                                                                                                                                                Reasons for payment or    Dates of     Total Amount or
       Creditor Name                Address1              Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
PAUL TURPIN               4 OSAGE ST                                                                  FRANKLIN            IL           62638                                  SUPPLIERS OR VENDORS         11/2/2018               $46.40
PAUL VERONEN              STORE 733                 SHOPKO EMPLOYEE        PO BOX 198                 FERGUS FALLS        MN           56538                                  SUPPLIERS OR VENDORS         11/2/2018              $124.26
PAUL VERONEN              STORE 733                 SHOPKO EMPLOYEE        PO BOX 198                 FERGUS FALLS        MN           56538                                  SUPPLIERS OR VENDORS         1/15/2019               $33.72
PAUL VERSTEGEN            135 GRANITE HILL DR                                                         MARATHON            WI           54448                                  SUPPLIERS OR VENDORS         11/9/2018               $25.00
PAUL ZIEBERT              W2372 TIMBER RIDGE CRT.                                                     CAMPBELLSPORT       WI           53010                                  SUPPLIERS OR VENDORS        11/14/2018               $25.00
PAULA DUBOIS              4804 BELAIR DR SE                                                           OLYMPIA             WA           98503                                  SUPPLIERS OR VENDORS        12/13/2018              $150.00
PAULA LAFFRENZEN          1709 RUST RD                                                                WORTHINGTON         MN           56187                                  SUPPLIERS OR VENDORS         12/7/2018               $66.30
PAULA LOGUE               STORE 2-687               SHOPKO EMPLOYEE        202 SW KENT                GREENFIELD          IA           50849                                  SUPPLIERS OR VENDORS        12/20/2018              $855.71
PAULA LOGUE               STORE 2-687               SHOPKO EMPLOYEE        202 SW KENT                GREENFIELD          IA           50849                                  SUPPLIERS OR VENDORS        12/28/2018              $270.32
PAULA LOGUE               STORE 2-687               SHOPKO EMPLOYEE        202 SW KENT                GREENFIELD          IA           50849                                  SUPPLIERS OR VENDORS         1/10/2019              $317.80
PAULA PERKINS             2225 NORTH 12TH STREET    APARTMENT 710                                     QUINCY              IL           62305                                  SUPPLIERS OR VENDORS        10/19/2018               $15.00
PAULA SORENSEN            1605 SHERMAN AVE                                                            KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS        11/12/2018               $12.20
PAULA SORENSEN            1605 SHERMAN AVE                                                            KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS        11/26/2018               $39.04
PAULA WIEMER              PO BOX 313                                                                  OTIS ORCHARDS       WA           99027                                  SUPPLIERS OR VENDORS         11/5/2018               $24.15
PAULA WIEMER              PO BOX 313                                                                  OTIS ORCHARDS       WA           99027                                  SUPPLIERS OR VENDORS        11/26/2018               $12.40
PAULETTE HERR             3909 W 83RD ST                                                              SIOUX FALLS         SD           57108                                  SUPPLIERS OR VENDORS         12/7/2018               $48.00
PAULETTE HERR             3909 W 83RD ST                                                              SIOUX FALLS         SD           57108                                  SUPPLIERS OR VENDORS        12/20/2018               $12.00
PAULETTE STANISH          805 VERNON LANE                                                             BELVIDERE           IL           61008                                  SUPPLIERS OR VENDORS        11/26/2018               $57.60
PAULETTE ZIMMERMAN        831 SOUTH ROCK                                                              ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS        10/22/2018               $48.64
PAULETTE ZIMMERMAN        831 SOUTH ROCK                                                              ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS        10/25/2018               $12.16
PAULINE PAULSEN           1817 SHERIDAN ST                                                            OSHKOSH             WI           54901                                  SUPPLIERS OR VENDORS         11/5/2018               $44.16
PAULINE SALVESON          23 SHRINER RD.                                                              PARK CITY           MT           59063                                  SUPPLIERS OR VENDORS        12/13/2018               $54.00
PAULINE SMITH             2764 S. 33RD STREET                                                         LINCOLN             NE           68506                                  SUPPLIERS OR VENDORS        10/24/2018               $47.94
PAULINE TOMSICH           1221 ROSEBRIAR                                                              MISSOULA            MT           59804                                  SUPPLIERS OR VENDORS         12/7/2018               $53.76
PAULITA BALLI             9234 E GREEK RD LOT 22                                                      CLINTON             WI           53525                                  SUPPLIERS OR VENDORS        12/10/2018               $25.58
PAULSON HARDWARE
INCORPORATED              2248 S RIDGE ROAD                                                           GREEN BAY           WI           54304-4364                             SUPPLIERS OR VENDORS       10/19/2018                $2.41
PAULSON HARDWARE
INCORPORATED              2248 S RIDGE ROAD                                                           GREEN BAY           WI           54304-4364                             SUPPLIERS OR VENDORS       11/16/2018               $39.03
PAULSON HARDWARE
INCORPORATED              2248 S RIDGE ROAD                                                           GREEN BAY           WI           54304-4364                             SUPPLIERS OR VENDORS       11/27/2018              $170.85
PAWNEE COUNTY
TREASURER                 715 BROADWAY                                                                LARNED              KS           67550                                  SUPPLIERS OR VENDORS       12/13/2018           $32,048.26

PAYLESS SHOE SOURCE INC   3231 SE 6TH AVENUE                                                          TOPEKA              KS           66607                                                             11/23/2018          $513,729.07
PAYMENT RESOLUTION
SERVICES                  PO BOX 41500                                                                NASHVILLE           TN           37204-9715                             SUPPLIERS OR VENDORS       10/25/2018              $300.00
PAYMENT RESOLUTION
SERVICES                  PO BOX 41500                                                                NASHVILLE           TN           37204-9715                             SUPPLIERS OR VENDORS        11/6/2018              $234.00
PAYNE & DOLAN
INCORPORATED              PO BOX 781                                                                  WAUKESHA            WI           53187-0781                             SUPPLIERS OR VENDORS       12/14/2018          $521,820.70
PAYTON HANSON             22 E DAYTON STREET #406                                                     MADISON             WI           53703                                  SUPPLIERS OR VENDORS       11/26/2018                $8.34
PC CONNECTION SALES
CORPORATION               PO BOX 536472                                                               PITTSBURGH          PA           15253-5906                             SUPPLIERS OR VENDORS       12/14/2018            $1,543.00
PCA PRODUCTS
STEWARDSHIP INC           DEPT LA 24365                                                               PASADENA            CA           91185-4365                             SUPPLIERS OR VENDORS       10/26/2018               $13.02
PCA PRODUCTS
STEWARDSHIP INC           DEPT LA 24365                                                               PASADENA            CA           91185-4365                             SUPPLIERS OR VENDORS       11/27/2018               $10.23
PCA PRODUCTS
STEWARDSHIP INC           DEPT LA 24365                                                               PASADENA            CA           91185-4365                             SUPPLIERS OR VENDORS       12/21/2018                $0.93
PDX INCORPORATED          ACCOUNTS RECEIVABLE       PO BOX 227216                                     DALLAS              TX           75222-7216                             SUPPLIERS OR VENDORS       10/22/2018               $10.24
PDX INCORPORATED          ACCOUNTS RECEIVABLE       PO BOX 227216                                     DALLAS              TX           75222-7216                             SUPPLIERS OR VENDORS       10/31/2018          $128,909.01
PDX INCORPORATED          ACCOUNTS RECEIVABLE       PO BOX 227216                                     DALLAS              TX           75222-7216                             SUPPLIERS OR VENDORS       11/30/2018            $2,619.40
PDX INCORPORATED          ACCOUNTS RECEIVABLE       PO BOX 227216                                     DALLAS              TX           75222-7216                             SUPPLIERS OR VENDORS        12/3/2018          $134,156.00



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PDX INCORPORATED        ACCOUNTS RECEIVABLE      PO BOX 227216                                     DALLAS              TX           75222-7216                             SUPPLIERS OR VENDORS          1/4/2019          $130,420.28
PEAK SEASON
INCORPORATED            2800 CRESTWOOD BLVD                                                        IRONDALE            AL           35210                                  SUPPLIERS OR VENDORS       10/19/2018               $41.70
PEAK SEASON
INCORPORATED            2800 CRESTWOOD BLVD                                                        IRONDALE            AL           35210                                  SUPPLIERS OR VENDORS       10/26/2018               $27.80
PEAK SEASON
INCORPORATED            2800 CRESTWOOD BLVD                                                        IRONDALE            AL           35210                                  SUPPLIERS OR VENDORS       11/16/2018               $28.52
PEAK SEASON
INCORPORATED            2800 CRESTWOOD BLVD                                                        IRONDALE            AL           35210                                  SUPPLIERS OR VENDORS       11/30/2018               $19.30
                        CIT GROUP COMMERCIAL
PEGASUS HOME FASHIONS   SERVICES                 PO BOX 1036            PAM TO ORACLE              CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS        11/1/2018              $226.77
                        CIT GROUP COMMERCIAL
PEGASUS HOME FASHIONS   SERVICES                 PO BOX 1036            PAM TO ORACLE              CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS        11/2/2018              $135.00
                        CIT GROUP COMMERCIAL
PEGASUS HOME FASHIONS   SERVICES                 PO BOX 1036            PAM TO ORACLE              CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS        11/5/2018              $337.50
                        CIT GROUP COMMERCIAL
PEGASUS HOME FASHIONS   SERVICES                 PO BOX 1036            PAM TO ORACLE              CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS        11/8/2018            $8,064.18
                        CIT GROUP COMMERCIAL
PEGASUS HOME FASHIONS   SERVICES                 PO BOX 1036            PAM TO ORACLE              CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/26/2018            $1,687.50
                        CIT GROUP COMMERCIAL
PEGASUS HOME FASHIONS   SERVICES                 PO BOX 1036            PAM TO ORACLE              CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/30/2018              $540.00
                        CIT GROUP COMMERCIAL
PEGASUS HOME FASHIONS   SERVICES                 PO BOX 1036            PAM TO ORACLE              CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS        12/3/2018            $1,552.50
                        CIT GROUP COMMERCIAL
PEGASUS HOME FASHIONS   SERVICES                 PO BOX 1036            PAM TO ORACLE              CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS        12/5/2018            $1,129.98
PEGGY CONNORS           165 W. CHICAUGON LK RD                                                     IRON RIVER          MI           49935                                  SUPPLIERS OR VENDORS       10/22/2018               $39.04
PEGGY CONNORS           165 W. CHICAUGON LK RD                                                     IRON RIVER          MI           49935                                  SUPPLIERS OR VENDORS       10/24/2018                $9.76
PEGGY ELLER             249 LYNN ST                                                                ARENA               WI           53503                                  SUPPLIERS OR VENDORS        11/2/2018               $20.00
PEGGY HAMBURGUR         304 OAK DR.                                                                ROSENDALE           WI           54974                                  SUPPLIERS OR VENDORS       12/20/2018               $40.00
PEGGY HOOPS             901 N MAIN ST #4                                                           GROTON              SD           57445                                  SUPPLIERS OR VENDORS        11/5/2018               $38.68
PEGGY HOOPS             901 N MAIN ST #4                                                           GROTON              SD           57445                                  SUPPLIERS OR VENDORS       11/13/2018                $8.32
PEGGY KROENING          STORE 4-012              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/30/2018               $45.45
PEGGY MADSON            10633 HWY 151                                                              MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS       12/20/2018               $75.00
PEGGY WINCHESTER        900 CEDAR ST                                                               DE PERE             WI           54115                                  SUPPLIERS OR VENDORS       10/26/2018               $20.00
PEGGY ZIMICK            6503 WEST CASSIDY DR                                                       WAUSAU              WI           54401                                  SUPPLIERS OR VENDORS        12/7/2018              $129.98
PEHLER BROTHERS
INCORPORATED            700 S CLYDESDALE DRIVE   PO BOX 126             PAM TO ORACLE              ARCADIA             WI           54612                                  SUPPLIERS OR VENDORS       10/24/2018              $330.00
PEHLER BROTHERS
INCORPORATED            700 S CLYDESDALE DRIVE   PO BOX 126             PAM TO ORACLE              ARCADIA             WI           54612                                  SUPPLIERS OR VENDORS       11/14/2018               $24.00
PEHLER BROTHERS
INCORPORATED            700 S CLYDESDALE DRIVE   PO BOX 126             PAM TO ORACLE              ARCADIA             WI           54612                                  SUPPLIERS OR VENDORS       11/22/2018              $190.85
PEHLER BROTHERS
INCORPORATED            700 S CLYDESDALE DRIVE   PO BOX 126             PAM TO ORACLE              ARCADIA             WI           54612                                  SUPPLIERS OR VENDORS       11/28/2018              $112.25
PEHLER BROTHERS
INCORPORATED            700 S CLYDESDALE DRIVE   PO BOX 126             PAM TO ORACLE              ARCADIA             WI           54612                                  SUPPLIERS OR VENDORS        12/5/2018              $190.80
PEHLER BROTHERS
INCORPORATED            700 S CLYDESDALE DRIVE   PO BOX 126             PAM TO ORACLE              ARCADIA             WI           54612                                  SUPPLIERS OR VENDORS       12/14/2018               $62.30
PEHLER BROTHERS
INCORPORATED            700 S CLYDESDALE DRIVE   PO BOX 126             PAM TO ORACLE              ARCADIA             WI           54612                                  SUPPLIERS OR VENDORS       12/20/2018               $91.00
PELE BHEMBE             4039 SUNNYBROOK DR                                                         POCATELLO           ID           83202                                  SUPPLIERS OR VENDORS       10/26/2018              $143.00

PELSTAR DEVELOPMENT LLC 429 INDUSTRIAL LANE                                                        GRAND ISLAND        NE           68803                                  SUPPLIERS OR VENDORS        11/1/2018           $16,796.21

PELSTAR DEVELOPMENT LLC 429 INDUSTRIAL LANE                                                        GRAND ISLAND        NE           68803                                  SUPPLIERS OR VENDORS        12/1/2018           $16,796.21



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PEM AMERICA
INCORPORATED                230 FIFTH AVENUE STE 200                                                     NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      10/18/2018           $7,465.70
PEM AMERICA
INCORPORATED                230 FIFTH AVENUE STE 200                                                     NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      10/25/2018         $13,164.48
PEM AMERICA
INCORPORATED                230 FIFTH AVENUE STE 200                                                     NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS       11/1/2018         $38,330.17
PEM AMERICA
INCORPORATED                230 FIFTH AVENUE STE 200                                                     NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS       11/8/2018         $12,434.13
PEM AMERICA
INCORPORATED                230 FIFTH AVENUE STE 200                                                     NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      11/29/2018           $3,809.35
PEM AMERICA
INCORPORATED                230 FIFTH AVENUE STE 200                                                     NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      11/29/2018        $176,676.50
PENDL COMPANIES
INCORPORATED                SUITE 202                  18720 PLEASANT STREET                             BROOKFIELD          WI           53045                                  SUPPLIERS OR VENDORS      10/26/2018         $18,680.89
PENNY FOLLENSBEE            5346 GOLLA RD.                                                               STEVENS POINT       WI           54482                                  SUPPLIERS OR VENDORS      12/10/2018            $368.88
PENNY KREHOFF               11542 N MAPLE BEACH DR                                                       EDGERTON            WI           53534                                  SUPPLIERS OR VENDORS      11/16/2018             $27.90
PENNY MUCH                  W4352 COUNTY RD. V V                                                         BLACK CREEK         WI           54106                                  SUPPLIERS OR VENDORS       11/7/2018             $25.00
PENNY SMUIN                 STORE 088                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/18/2018             $64.53
PENNY SMUIN                 STORE 088                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/6/2018             $11.55
PENNY SMUIN                 STORE 088                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/13/2018             $11.55
PENSKE TRUCK LEASING
COMPANY LP                  PO BOX 802577                                                                CHICAGO             IL           60680-2577                             SUPPLIERS OR VENDORS      10/18/2018            $905.44
PENSKE TRUCK LEASING
COMPANY LP                  PO BOX 802577                                                                CHICAGO             IL           60680-2577                             SUPPLIERS OR VENDORS       11/1/2018            $733.33
PEPSI COLA                  SEE 9725806-012                                                              DALLAS              TX           75284-1918                             SUPPLIERS OR VENDORS      11/29/2018             $16.88
PEPSI COLA                  SEE 9725806-012                                                              DALLAS              TX           75284-1918                             SUPPLIERS OR VENDORS      12/17/2018             $16.88
PEPSI COLA BOTTLING         1900 WEST AVENUE S                                                           LA CROSSE           WI           54601                                  SUPPLIERS OR VENDORS      10/18/2018          $3,456.34
PEPSI COLA BOTTLING         1900 WEST AVENUE S                                                           LA CROSSE           WI           54601                                  SUPPLIERS OR VENDORS      10/23/2018          $9,727.11
PEPSI COLA BOTTLING         1900 WEST AVENUE S                                                           LA CROSSE           WI           54601                                  SUPPLIERS OR VENDORS      10/25/2018          $2,184.30
PEPSI COLA BOTTLING         1900 WEST AVENUE S                                                           LA CROSSE           WI           54601                                  SUPPLIERS OR VENDORS      10/30/2018          $4,934.16
PEPSI COLA BOTTLING         1900 WEST AVENUE S                                                           LA CROSSE           WI           54601                                  SUPPLIERS OR VENDORS       11/1/2018             $10.00
PEPSI COLA BOTTLING         1900 WEST AVENUE S                                                           LA CROSSE           WI           54601                                  SUPPLIERS OR VENDORS       11/1/2018         $12,823.04
PEPSI COLA BOTTLING         1900 WEST AVENUE S                                                           LA CROSSE           WI           54601                                  SUPPLIERS OR VENDORS       11/6/2018          $2,634.61
PEPSI COLA BOTTLING         1900 WEST AVENUE S                                                           LA CROSSE           WI           54601                                  SUPPLIERS OR VENDORS       11/8/2018         $14,698.94
PEPSI COLA BOTTLING         1900 WEST AVENUE S                                                           LA CROSSE           WI           54601                                  SUPPLIERS OR VENDORS      11/13/2018            $360.36
PEPSI COLA BOTTLING         1900 WEST AVENUE S                                                           LA CROSSE           WI           54601                                  SUPPLIERS OR VENDORS      11/15/2018         $10,523.48
PEPSI COLA BOTTLING         1900 WEST AVENUE S                                                           LA CROSSE           WI           54601                                  SUPPLIERS OR VENDORS      11/27/2018         $20,476.87
PEPSI COLA BOTTLING         1900 WEST AVENUE S                                                           LA CROSSE           WI           54601                                  SUPPLIERS OR VENDORS      11/29/2018         $13,375.53
PEPSI COLA BOTTLING         1900 WEST AVENUE S                                                           LA CROSSE           WI           54601                                  SUPPLIERS OR VENDORS       12/4/2018         $10,375.74
PEPSI COLA BOTTLING         1900 WEST AVENUE S                                                           LA CROSSE           WI           54601                                  SUPPLIERS OR VENDORS       12/6/2018         $11,767.84
PEPSI COLA BOTTLING         1900 WEST AVENUE S                                                           LA CROSSE           WI           54601                                  SUPPLIERS OR VENDORS      12/17/2018             $20.00
PEPSI COLA BOTTLING         1900 WEST AVENUE S                                                           LA CROSSE           WI           54601                                  SUPPLIERS OR VENDORS      12/20/2018         $27,139.43
PEPSI COLA BOTTLING         1900 WEST AVENUE S                                                           LA CROSSE           WI           54601                                  SUPPLIERS OR VENDORS      12/21/2018          $2,449.00
PEPSI COLA BOTTLING         1900 WEST AVENUE S                                                           LA CROSSE           WI           54601                                  SUPPLIERS OR VENDORS      12/28/2018         $15,063.83
PEPSI COLA BOTTLING         1900 WEST AVENUE S                                                           LA CROSSE           WI           54601                                  SUPPLIERS OR VENDORS        1/3/2019             $20.00
PEPSI COLA BOTTLING
BILLINGS                    MIKE D DIMICH SONS         SEE V# 9725525                                    BILLINGS            MT           59101                                  SUPPLIERS OR VENDORS      11/16/2018            $170.00
PEPSI COLA BOTTLING CO OF                              10537 HIGHWAY 52
DUBUQUE                     LIME ROCK SPRINGS          NORTH                                             DUBUQUE             IA           52001-8857                             SUPPLIERS OR VENDORS      10/18/2018           $2,190.74
PEPSI COLA BOTTLING CO OF                              10537 HIGHWAY 52
DUBUQUE                     LIME ROCK SPRINGS          NORTH                                             DUBUQUE             IA           52001-8857                             SUPPLIERS OR VENDORS      10/25/2018            $120.55
PEPSI COLA BOTTLING CO OF                              10537 HIGHWAY 52
DUBUQUE                     LIME ROCK SPRINGS          NORTH                                             DUBUQUE             IA           52001-8857                             SUPPLIERS OR VENDORS       11/1/2018           $1,436.84




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PEPSI COLA BOTTLING CO OF                            10537 HIGHWAY 52
DUBUQUE                     LIME ROCK SPRINGS        NORTH                                             DUBUQUE             IA           52001-8857                             SUPPLIERS OR VENDORS       11/8/2018           $8,982.44
PEPSI COLA BOTTLING CO OF                            10537 HIGHWAY 52
DUBUQUE                     LIME ROCK SPRINGS        NORTH                                             DUBUQUE             IA           52001-8857                             SUPPLIERS OR VENDORS      11/15/2018            $506.00
PEPSI COLA BOTTLING CO OF                            10537 HIGHWAY 52
DUBUQUE                     LIME ROCK SPRINGS        NORTH                                             DUBUQUE             IA           52001-8857                             SUPPLIERS OR VENDORS      11/22/2018           $2,323.97
PEPSI COLA BOTTLING CO OF                            10537 HIGHWAY 52
DUBUQUE                     LIME ROCK SPRINGS        NORTH                                             DUBUQUE             IA           52001-8857                             SUPPLIERS OR VENDORS      11/29/2018           $4,701.55
PEPSI COLA BOTTLING CO OF                            10537 HIGHWAY 52
DUBUQUE                     LIME ROCK SPRINGS        NORTH                                             DUBUQUE             IA           52001-8857                             SUPPLIERS OR VENDORS      12/19/2018           $2,591.90
PEPSI COLA BOTTLING CO OF                            10537 HIGHWAY 52
DUBUQUE                     LIME ROCK SPRINGS        NORTH                                             DUBUQUE             IA           52001-8857                             SUPPLIERS OR VENDORS      12/20/2018           $2,458.16
PEPSI COLA BOTTLING CO OF                            10537 HIGHWAY 52
DUBUQUE                     LIME ROCK SPRINGS        NORTH                                             DUBUQUE             IA           52001-8857                             SUPPLIERS OR VENDORS      12/21/2018           $2,009.56
PEPSI COLA BOTTLING CO OF                            10537 HIGHWAY 52
DUBUQUE                     LIME ROCK SPRINGS        NORTH                                             DUBUQUE             IA           52001-8857                             SUPPLIERS OR VENDORS      12/27/2018           $3,572.21
PEPSI COLA BOTTLING
COMPANY                     NORTHERN BOTTLING CO     PO BOX 639                                        MINOT               ND           58702-0639                             SUPPLIERS OR VENDORS      10/19/2018           $4,146.88
PEPSI COLA BOTTLING
COMPANY                     NORTHERN BOTTLING CO     PO BOX 639                                        MINOT               ND           58702-0639                             SUPPLIERS OR VENDORS      10/23/2018           $1,744.34
PEPSI COLA BOTTLING
COMPANY                     NORTHERN BOTTLING CO     PO BOX 639                                        MINOT               ND           58702-0639                             SUPPLIERS OR VENDORS      10/26/2018           $3,873.02
PEPSI COLA BOTTLING
COMPANY                     NORTHERN BOTTLING CO     PO BOX 639                                        MINOT               ND           58702-0639                             SUPPLIERS OR VENDORS      10/30/2018            $665.86
PEPSI COLA BOTTLING
COMPANY                     NORTHERN BOTTLING CO     PO BOX 639                                        MINOT               ND           58702-0639                             SUPPLIERS OR VENDORS       11/2/2018            $840.28
PEPSI COLA BOTTLING
COMPANY                     NORTHERN BOTTLING CO     PO BOX 639                                        MINOT               ND           58702-0639                             SUPPLIERS OR VENDORS       11/6/2018            $912.18
PEPSI COLA BOTTLING
COMPANY                     NORTHERN BOTTLING CO     PO BOX 639                                        MINOT               ND           58702-0639                             SUPPLIERS OR VENDORS       11/9/2018           $2,183.20
PEPSI COLA BOTTLING
COMPANY                     NORTHERN BOTTLING CO     PO BOX 639                                        MINOT               ND           58702-0639                             SUPPLIERS OR VENDORS      11/13/2018           $1,292.27
PEPSI COLA BOTTLING
COMPANY                     NORTHERN BOTTLING CO     PO BOX 639                                        MINOT               ND           58702-0639                             SUPPLIERS OR VENDORS      11/16/2018           $2,317.88
PEPSI COLA BOTTLING
COMPANY                     NORTHERN BOTTLING CO     PO BOX 639                                        MINOT               ND           58702-0639                             SUPPLIERS OR VENDORS      11/23/2018           $1,854.25
PEPSI COLA BOTTLING
COMPANY                     NORTHERN BOTTLING CO     PO BOX 639                                        MINOT               ND           58702-0639                             SUPPLIERS OR VENDORS      11/27/2018           $2,274.54
PEPSI COLA BOTTLING
COMPANY                     NORTHERN BOTTLING CO     PO BOX 639                                        MINOT               ND           58702-0639                             SUPPLIERS OR VENDORS      11/30/2018           $4,282.86
PEPSI COLA BOTTLING
COMPANY                     NORTHERN BOTTLING CO     PO BOX 639                                        MINOT               ND           58702-0639                             SUPPLIERS OR VENDORS       12/4/2018            $212.06
PEPSI COLA BOTTLING
COMPANY                     NORTHERN BOTTLING CO     PO BOX 639                                        MINOT               ND           58702-0639                             SUPPLIERS OR VENDORS      12/11/2018            $102.98
PEPSI COLA BOTTLING
COMPANY                     NORTHERN BOTTLING CO     PO BOX 639                                        MINOT               ND           58702-0639                             SUPPLIERS OR VENDORS      12/20/2018           $8,128.38
PEPSI COLA BOTTLING
COMPANY                     NORTHERN BOTTLING CO     PO BOX 639                                        MINOT               ND           58702-0639                             SUPPLIERS OR VENDORS      12/21/2018           $1,495.76
PEPSI COLA BOTTLING
COMPANY                     NORTHERN BOTTLING CO     PO BOX 639                                        MINOT               ND           58702-0639                             SUPPLIERS OR VENDORS      12/27/2018            $401.18
PEPSI COLA BOTTLING
HOUGHTON                    309 EAST SHARON AVENUE                                                     HOUGHTON            MI           49931                                  SUPPLIERS OR VENDORS      10/18/2018            $707.85
PEPSI COLA BOTTLING
HOUGHTON                    309 EAST SHARON AVENUE                                                     HOUGHTON            MI           49931                                  SUPPLIERS OR VENDORS      10/25/2018           $1,743.70



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                                                                                                                                                                           Reasons for payment or    Dates of    Total Amount or
       Creditor Name            Address1              Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
PEPSI COLA BOTTLING
HOUGHTON               309 EAST SHARON AVENUE                                                     HOUGHTON            MI           49931                                  SUPPLIERS OR VENDORS       11/1/2018            $385.40
PEPSI COLA BOTTLING
HOUGHTON               309 EAST SHARON AVENUE                                                     HOUGHTON            MI           49931                                  SUPPLIERS OR VENDORS       11/8/2018            $764.50
PEPSI COLA BOTTLING
HOUGHTON               309 EAST SHARON AVENUE                                                     HOUGHTON            MI           49931                                  SUPPLIERS OR VENDORS      11/15/2018            $536.87
PEPSI COLA BOTTLING
HOUGHTON               309 EAST SHARON AVENUE                                                     HOUGHTON            MI           49931                                  SUPPLIERS OR VENDORS      11/22/2018            $644.08
PEPSI COLA BOTTLING
HOUGHTON               309 EAST SHARON AVENUE                                                     HOUGHTON            MI           49931                                  SUPPLIERS OR VENDORS      11/29/2018            $777.50
PEPSI COLA BOTTLING
HOUGHTON               309 EAST SHARON AVENUE                                                     HOUGHTON            MI           49931                                  SUPPLIERS OR VENDORS      12/19/2018           $4,278.85
PEPSI COLA BOTTLING
HOUGHTON               309 EAST SHARON AVENUE                                                     HOUGHTON            MI           49931                                  SUPPLIERS OR VENDORS      12/21/2018            $767.56
PEPSI COLA BOTTLING
LINCOLN                ATTN ACCT REC LINCOLN    1901 WINDHOEK DRIVE                               LINCOLN             NE           68512-0000                             SUPPLIERS OR VENDORS      10/19/2018            $976.82
PEPSI COLA BOTTLING
LINCOLN                ATTN ACCT REC LINCOLN    1901 WINDHOEK DRIVE                               LINCOLN             NE           68512-0000                             SUPPLIERS OR VENDORS      10/19/2018           $1,206.97
PEPSI COLA BOTTLING
LINCOLN                ATTN ACCT REC LINCOLN    1901 WINDHOEK DRIVE                               LINCOLN             NE           68512-0000                             SUPPLIERS OR VENDORS      10/23/2018            $324.36
PEPSI COLA BOTTLING
LINCOLN                ATTN ACCT REC LINCOLN    1901 WINDHOEK DRIVE                               LINCOLN             NE           68512-0000                             SUPPLIERS OR VENDORS      10/23/2018            $429.84
PEPSI COLA BOTTLING
LINCOLN                ATTN ACCT REC LINCOLN    1901 WINDHOEK DRIVE                               LINCOLN             NE           68512-0000                             SUPPLIERS OR VENDORS      10/26/2018            $333.95
PEPSI COLA BOTTLING
LINCOLN                ATTN ACCT REC LINCOLN    1901 WINDHOEK DRIVE                               LINCOLN             NE           68512-0000                             SUPPLIERS OR VENDORS      10/26/2018           $1,696.70
PEPSI COLA BOTTLING
LINCOLN                ATTN ACCT REC LINCOLN    1901 WINDHOEK DRIVE                               LINCOLN             NE           68512-0000                             SUPPLIERS OR VENDORS       11/2/2018            $252.74
PEPSI COLA BOTTLING
LINCOLN                ATTN ACCT REC LINCOLN    1901 WINDHOEK DRIVE                               LINCOLN             NE           68512-0000                             SUPPLIERS OR VENDORS       11/2/2018            $348.70
PEPSI COLA BOTTLING
LINCOLN                ATTN ACCT REC LINCOLN    1901 WINDHOEK DRIVE                               LINCOLN             NE           68512-0000                             SUPPLIERS OR VENDORS       11/6/2018            $192.56
PEPSI COLA BOTTLING
LINCOLN                ATTN ACCT REC LINCOLN    1901 WINDHOEK DRIVE                               LINCOLN             NE           68512-0000                             SUPPLIERS OR VENDORS       11/6/2018            $644.56
PEPSI COLA BOTTLING
LINCOLN                ATTN ACCT REC LINCOLN    1901 WINDHOEK DRIVE                               LINCOLN             NE           68512-0000                             SUPPLIERS OR VENDORS       11/9/2018           $1,026.23
PEPSI COLA BOTTLING
LINCOLN                ATTN ACCT REC LINCOLN    1901 WINDHOEK DRIVE                               LINCOLN             NE           68512-0000                             SUPPLIERS OR VENDORS       11/9/2018           $1,855.62
PEPSI COLA BOTTLING
LINCOLN                ATTN ACCT REC LINCOLN    1901 WINDHOEK DRIVE                               LINCOLN             NE           68512-0000                             SUPPLIERS OR VENDORS      11/13/2018            $228.82
PEPSI COLA BOTTLING
LINCOLN                ATTN ACCT REC LINCOLN    1901 WINDHOEK DRIVE                               LINCOLN             NE           68512-0000                             SUPPLIERS OR VENDORS      11/13/2018            $403.17
PEPSI COLA BOTTLING
LINCOLN                ATTN ACCT REC LINCOLN    1901 WINDHOEK DRIVE                               LINCOLN             NE           68512-0000                             SUPPLIERS OR VENDORS      11/16/2018            $669.02
PEPSI COLA BOTTLING
LINCOLN                ATTN ACCT REC LINCOLN    1901 WINDHOEK DRIVE                               LINCOLN             NE           68512-0000                             SUPPLIERS OR VENDORS      11/16/2018            $777.84
PEPSI COLA BOTTLING
LINCOLN                ATTN ACCT REC LINCOLN    1901 WINDHOEK DRIVE                               LINCOLN             NE           68512-0000                             SUPPLIERS OR VENDORS      11/23/2018           $1,621.38
PEPSI COLA BOTTLING
LINCOLN                ATTN ACCT REC LINCOLN    1901 WINDHOEK DRIVE                               LINCOLN             NE           68512-0000                             SUPPLIERS OR VENDORS      11/23/2018           $2,869.90
PEPSI COLA BOTTLING
LINCOLN                ATTN ACCT REC LINCOLN    1901 WINDHOEK DRIVE                               LINCOLN             NE           68512-0000                             SUPPLIERS OR VENDORS      11/27/2018            $901.92
PEPSI COLA BOTTLING
LINCOLN                ATTN ACCT REC LINCOLN    1901 WINDHOEK DRIVE                               LINCOLN             NE           68512-0000                             SUPPLIERS OR VENDORS      11/30/2018            $739.22



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                                                                                                                                                                            Reasons for payment or    Dates of    Total Amount or
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PEPSI COLA BOTTLING
LINCOLN                  ATTN ACCT REC LINCOLN   1901 WINDHOEK DRIVE                               LINCOLN             NE           68512-0000                             SUPPLIERS OR VENDORS      11/30/2018            $773.57
PEPSI COLA BOTTLING
LINCOLN                  ATTN ACCT REC LINCOLN   1901 WINDHOEK DRIVE                               LINCOLN             NE           68512-0000                             SUPPLIERS OR VENDORS       12/4/2018            $254.56
PEPSI COLA BOTTLING
LINCOLN                  ATTN ACCT REC LINCOLN   1901 WINDHOEK DRIVE                               LINCOLN             NE           68512-0000                             SUPPLIERS OR VENDORS       12/4/2018           $1,196.54
PEPSI COLA BOTTLING
LINCOLN                  ATTN ACCT REC LINCOLN   1901 WINDHOEK DRIVE                               LINCOLN             NE           68512-0000                             SUPPLIERS OR VENDORS      12/19/2018           $4,379.88
PEPSI COLA BOTTLING
LINCOLN                  ATTN ACCT REC LINCOLN   1901 WINDHOEK DRIVE                               LINCOLN             NE           68512-0000                             SUPPLIERS OR VENDORS      12/19/2018           $6,331.76
PEPSI COLA BOTTLING
LINCOLN                  ATTN ACCT REC LINCOLN   1901 WINDHOEK DRIVE                               LINCOLN             NE           68512-0000                             SUPPLIERS OR VENDORS      12/20/2018           $1,636.82
PEPSI COLA BOTTLING
LINCOLN                  ATTN ACCT REC LINCOLN   1901 WINDHOEK DRIVE                               LINCOLN             NE           68512-0000                             SUPPLIERS OR VENDORS      12/21/2018            $569.34
PEPSI COLA BOTTLING
LINCOLN                  ATTN ACCT REC LINCOLN   1901 WINDHOEK DRIVE                               LINCOLN             NE           68512-0000                             SUPPLIERS OR VENDORS      12/27/2018            $262.72
PEPSI COLA BOTTLING
MADISON                  WP BEVERAGES LLC        PO BOX 7425                                       MADISON             WI           53707-7425                             SUPPLIERS OR VENDORS      10/18/2018           $7,353.67
PEPSI COLA BOTTLING
MADISON                  WP BEVERAGES LLC        PO BOX 7425                                       MADISON             WI           53707-7425                             SUPPLIERS OR VENDORS      10/25/2018             $41.16
PEPSI COLA BOTTLING
MADISON                  WP BEVERAGES LLC        PO BOX 7425                                       MADISON             WI           53707-7425                             SUPPLIERS OR VENDORS      10/25/2018         $31,281.24
PEPSI COLA BOTTLING
MADISON                  WP BEVERAGES LLC        PO BOX 7425                                       MADISON             WI           53707-7425                             SUPPLIERS OR VENDORS       11/1/2018           $4,958.19
PEPSI COLA BOTTLING
MADISON                  WP BEVERAGES LLC        PO BOX 7425                                       MADISON             WI           53707-7425                             SUPPLIERS OR VENDORS       11/8/2018             $84.41
PEPSI COLA BOTTLING
MADISON                  WP BEVERAGES LLC        PO BOX 7425                                       MADISON             WI           53707-7425                             SUPPLIERS OR VENDORS       11/8/2018           $5,054.57
PEPSI COLA BOTTLING
MADISON                  WP BEVERAGES LLC        PO BOX 7425                                       MADISON             WI           53707-7425                             SUPPLIERS OR VENDORS      11/15/2018           $9,160.91
PEPSI COLA BOTTLING
MADISON                  WP BEVERAGES LLC        PO BOX 7425                                       MADISON             WI           53707-7425                             SUPPLIERS OR VENDORS      11/22/2018         $22,324.46
PEPSI COLA BOTTLING
MADISON                  WP BEVERAGES LLC        PO BOX 7425                                       MADISON             WI           53707-7425                             SUPPLIERS OR VENDORS      11/29/2018         $18,224.83
PEPSI COLA BOTTLING
MADISON                  WP BEVERAGES LLC        PO BOX 7425                                       MADISON             WI           53707-7425                             SUPPLIERS OR VENDORS      12/17/2018             $27.44
PEPSI COLA BOTTLING
MADISON                  WP BEVERAGES LLC        PO BOX 7425                                       MADISON             WI           53707-7425                             SUPPLIERS OR VENDORS      12/19/2018         $47,089.68
PEPSI COLA BOTTLING
MADISON                  WP BEVERAGES LLC        PO BOX 7425                                       MADISON             WI           53707-7425                             SUPPLIERS OR VENDORS      12/20/2018           $1,942.94
PEPSI COLA BOTTLING
MADISON                  WP BEVERAGES LLC        PO BOX 7425                                       MADISON             WI           53707-7425                             SUPPLIERS OR VENDORS      12/21/2018           $3,749.75
PEPSI COLA BOTTLING
MADISON                  WP BEVERAGES LLC        PO BOX 7425                                       MADISON             WI           53707-7425                             SUPPLIERS OR VENDORS      12/27/2018           $9,794.83
PEPSI COLA BOTTLING NE
WISCONSIN                PO BOX 88301                                                              MILWAUKEE           WI           53288-0301                             SUPPLIERS OR VENDORS      10/18/2018           $8,223.68
PEPSI COLA BOTTLING NE
WISCONSIN                PO BOX 88301                                                              MILWAUKEE           WI           53288-0301                             SUPPLIERS OR VENDORS      10/25/2018         $28,894.83
PEPSI COLA BOTTLING NE
WISCONSIN                PO BOX 88301                                                              MILWAUKEE           WI           53288-0301                             SUPPLIERS OR VENDORS       11/1/2018         $15,924.53
PEPSI COLA BOTTLING NE
WISCONSIN                PO BOX 88301                                                              MILWAUKEE           WI           53288-0301                             SUPPLIERS OR VENDORS       11/8/2018           $4,286.56
PEPSI COLA BOTTLING NE
WISCONSIN                PO BOX 88301                                                              MILWAUKEE           WI           53288-0301                             SUPPLIERS OR VENDORS      11/15/2018           $3,400.74



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                                                                                                                                                                            Reasons for payment or    Dates of    Total Amount or
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PEPSI COLA BOTTLING NE
WISCONSIN                PO BOX 88301                                                              MILWAUKEE           WI           53288-0301                             SUPPLIERS OR VENDORS      11/22/2018         $18,569.91
PEPSI COLA BOTTLING NE
WISCONSIN                PO BOX 88301                                                              MILWAUKEE           WI           53288-0301                             SUPPLIERS OR VENDORS      11/29/2018           $8,916.08
PEPSI COLA BOTTLING NE
WISCONSIN                PO BOX 88301                                                              MILWAUKEE           WI           53288-0301                             SUPPLIERS OR VENDORS      12/19/2018         $42,659.56
PEPSI COLA BOTTLING NE
WISCONSIN                PO BOX 88301                                                              MILWAUKEE           WI           53288-0301                             SUPPLIERS OR VENDORS      12/20/2018           $2,819.96
PEPSI COLA BOTTLING NE
WISCONSIN                PO BOX 88301                                                              MILWAUKEE           WI           53288-0301                             SUPPLIERS OR VENDORS      12/21/2018           $2,342.80
PEPSI COLA BOTTLING NE
WISCONSIN                PO BOX 88301                                                              MILWAUKEE           WI           53288-0301                             SUPPLIERS OR VENDORS      12/27/2018           $1,357.33
PEPSI COLA BOTTLING
NORFOLK                  ATTN ACCTS RECEIVABLE   1106 ALASKA AVENUE                                NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS      10/18/2018            $425.23
PEPSI COLA BOTTLING
NORFOLK                  ATTN ACCTS RECEIVABLE   1106 ALASKA AVENUE                                NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS      10/25/2018             $41.99
PEPSI COLA BOTTLING
NORFOLK                  ATTN ACCTS RECEIVABLE   1106 ALASKA AVENUE                                NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS      10/25/2018           $5,689.60
PEPSI COLA BOTTLING
NORFOLK                  ATTN ACCTS RECEIVABLE   1106 ALASKA AVENUE                                NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS       11/1/2018            $800.32
PEPSI COLA BOTTLING
NORFOLK                  ATTN ACCTS RECEIVABLE   1106 ALASKA AVENUE                                NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS       11/1/2018           $6,546.96
PEPSI COLA BOTTLING
NORFOLK                  ATTN ACCTS RECEIVABLE   1106 ALASKA AVENUE                                NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS       11/8/2018            $435.21
PEPSI COLA BOTTLING
NORFOLK                  ATTN ACCTS RECEIVABLE   1106 ALASKA AVENUE                                NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS       11/8/2018            $598.23
PEPSI COLA BOTTLING
NORFOLK                  ATTN ACCTS RECEIVABLE   1106 ALASKA AVENUE                                NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS      11/15/2018            $243.01
PEPSI COLA BOTTLING
NORFOLK                  ATTN ACCTS RECEIVABLE   1106 ALASKA AVENUE                                NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS      11/15/2018            $631.99
PEPSI COLA BOTTLING
NORFOLK                  ATTN ACCTS RECEIVABLE   1106 ALASKA AVENUE                                NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS      11/22/2018            $558.22
PEPSI COLA BOTTLING
NORFOLK                  ATTN ACCTS RECEIVABLE   1106 ALASKA AVENUE                                NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS      11/22/2018           $5,512.60
PEPSI COLA BOTTLING
NORFOLK                  ATTN ACCTS RECEIVABLE   1106 ALASKA AVENUE                                NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS      11/29/2018            $564.06
PEPSI COLA BOTTLING
NORFOLK                  ATTN ACCTS RECEIVABLE   1106 ALASKA AVENUE                                NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS      11/29/2018           $5,649.76
PEPSI COLA BOTTLING
NORFOLK                  ATTN ACCTS RECEIVABLE   1106 ALASKA AVENUE                                NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS      12/19/2018           $1,947.61
PEPSI COLA BOTTLING
NORFOLK                  ATTN ACCTS RECEIVABLE   1106 ALASKA AVENUE                                NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS      12/19/2018         $16,758.92
PEPSI COLA BOTTLING
NORFOLK                  ATTN ACCTS RECEIVABLE   1106 ALASKA AVENUE                                NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS      12/20/2018            $283.80
PEPSI COLA BOTTLING
NORFOLK                  ATTN ACCTS RECEIVABLE   1106 ALASKA AVENUE                                NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS      12/21/2018            $300.62
PEPSI COLA BOTTLING
NORFOLK                  ATTN ACCTS RECEIVABLE   1106 ALASKA AVENUE                                NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS      12/27/2018            $135.60
PEPSI COLA BOTTLING
NORFOLK                  ATTN ACCTS RECEIVABLE   1106 ALASKA AVENUE                                NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS      12/27/2018            $789.02
PEPSI COLA BOTTLING OF
HASTINGS INC             PO BOX 328              PAM TO ORACLE                                     HASTINGS            NE           68901                                  SUPPLIERS OR VENDORS      10/23/2018            $106.71
PEPSI COLA BOTTLING OF
HASTINGS INC             PO BOX 328              PAM TO ORACLE                                     HASTINGS            NE           68901                                  SUPPLIERS OR VENDORS      10/30/2018           $1,110.76



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                                                                                                                                                                        Reasons for payment or    Dates of    Total Amount or
       Creditor Name              Address1         Address2                  Address3                  City             State       Zip              Country                   transfer          Payments           Value
PEPSI COLA BOTTLING OF
HASTINGS INC             PO BOX 328          PAM TO ORACLE                                     HASTINGS            NE           68901                                  SUPPLIERS OR VENDORS      11/13/2018            $670.71
PEPSI COLA BOTTLING OF
HASTINGS INC             PO BOX 328          PAM TO ORACLE                                     HASTINGS            NE           68901                                  SUPPLIERS OR VENDORS      11/23/2018            $480.09
PEPSI COLA BOTTLING OF
HASTINGS INC             PO BOX 328          PAM TO ORACLE                                     HASTINGS            NE           68901                                  SUPPLIERS OR VENDORS      11/27/2018            $528.89
PEPSI COLA BOTTLING OF
HASTINGS INC             PO BOX 328          PAM TO ORACLE                                     HASTINGS            NE           68901                                  SUPPLIERS OR VENDORS       12/4/2018            $382.96
PEPSI COLA BOTTLING OF
HASTINGS INC             PO BOX 328          PAM TO ORACLE                                     HASTINGS            NE           68901                                  SUPPLIERS OR VENDORS      12/11/2018            $343.53
PEPSI COLA BOTTLING OF
HASTINGS INC             PO BOX 328          PAM TO ORACLE                                     HASTINGS            NE           68901                                  SUPPLIERS OR VENDORS      12/19/2018             $52.98
PEPSI COLA BOTTLING OF
HASTINGS INC             PO BOX 328          PAM TO ORACLE                                     HASTINGS            NE           68901                                  SUPPLIERS OR VENDORS      12/27/2018           $1,194.30
PEPSI COLA BOTTLING
OGDEN                    LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/18/2018            $200.65
PEPSI COLA BOTTLING
OGDEN                    LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/18/2018            $413.12
PEPSI COLA BOTTLING
OGDEN                    LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/19/2018             $81.80
PEPSI COLA BOTTLING
OGDEN                    LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/19/2018            $120.58
PEPSI COLA BOTTLING
OGDEN                    LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/19/2018            $177.45
PEPSI COLA BOTTLING
OGDEN                    LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/19/2018            $804.86
PEPSI COLA BOTTLING
OGDEN                    LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/19/2018            $823.70
PEPSI COLA BOTTLING
OGDEN                    LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/19/2018           $1,024.55
PEPSI COLA BOTTLING
OGDEN                    LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/19/2018           $1,172.72
PEPSI COLA BOTTLING
OGDEN                    LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/19/2018           $1,404.55
PEPSI COLA BOTTLING
OGDEN                    LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/19/2018           $1,804.40
PEPSI COLA BOTTLING
OGDEN                    LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/19/2018           $2,205.00
PEPSI COLA BOTTLING
OGDEN                    LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/22/2018            $191.52
PEPSI COLA BOTTLING
OGDEN                    LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/22/2018            $238.59
PEPSI COLA BOTTLING
OGDEN                    LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/22/2018           $1,316.84
PEPSI COLA BOTTLING
OGDEN                    LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/23/2018               $4.74
PEPSI COLA BOTTLING
OGDEN                    LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/23/2018            $383.92
PEPSI COLA BOTTLING
OGDEN                    LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/23/2018            $477.36
PEPSI COLA BOTTLING
OGDEN                    LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/23/2018            $649.94
PEPSI COLA BOTTLING
OGDEN                    LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/23/2018           $1,094.60



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                                                                                                                                                                      Reasons for payment or    Dates of    Total Amount or
       Creditor Name            Address1         Address2                  Address3                  City             State       Zip              Country                   transfer          Payments           Value
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/23/2018           $1,270.06
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/23/2018           $1,481.54
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/23/2018           $1,482.23
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/23/2018           $6,678.36
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/25/2018            $384.97
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/25/2018           $1,121.54
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/26/2018            $223.89
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/26/2018            $251.81
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/26/2018            $412.72
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/26/2018            $486.45
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/26/2018            $762.65
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/26/2018            $782.92
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/26/2018            $789.92
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/26/2018            $816.00
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/26/2018           $1,085.53
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/26/2018           $1,154.41
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/26/2018           $1,516.33
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/26/2018           $1,910.57
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/29/2018            $356.86
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/29/2018            $563.97
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/29/2018            $968.52
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/30/2018             $72.23
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/30/2018            $148.67
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/30/2018            $276.47
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/30/2018            $370.46
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/30/2018            $452.10
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/30/2018            $579.03



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                                                                                                                                                                      Reasons for payment or    Dates of    Total Amount or
       Creditor Name            Address1         Address2                  Address3                  City             State       Zip              Country                   transfer          Payments           Value
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/30/2018            $862.47
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/30/2018            $877.78
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      10/30/2018           $1,531.60
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       11/1/2018             $38.50
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       11/1/2018            $542.78
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       11/1/2018           $1,252.14
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       11/2/2018             $75.96
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       11/2/2018            $179.06
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       11/2/2018            $182.40
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       11/2/2018            $302.48
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       11/2/2018            $452.81
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       11/2/2018            $507.53
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       11/2/2018            $594.84
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       11/2/2018            $690.86
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       11/2/2018           $1,080.59
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       11/2/2018           $1,088.42
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       11/2/2018           $2,178.69
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       11/2/2018           $3,202.77
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       11/5/2018            $363.52
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       11/5/2018            $442.08
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       11/6/2018            $188.19
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       11/6/2018            $255.09
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       11/6/2018            $255.27
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       11/6/2018            $339.75
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       11/6/2018            $402.72
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       11/6/2018           $1,380.96
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       11/6/2018           $1,506.42



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       Creditor Name            Address1         Address2                  Address3                  City             State       Zip              Country                   transfer          Payments           Value
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       11/6/2018           $1,697.85
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       11/6/2018           $3,224.03
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       11/6/2018           $3,658.70
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       11/8/2018            $224.39
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       11/8/2018            $859.84
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       11/9/2018             $99.96
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       11/9/2018            $107.55
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       11/9/2018            $116.46
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       11/9/2018            $124.80
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       11/9/2018            $178.61
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       11/9/2018            $195.58
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       11/9/2018            $225.58
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       11/9/2018            $245.66
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       11/9/2018            $730.46
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       11/9/2018            $741.32
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       11/9/2018           $1,017.95
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       11/9/2018           $1,671.33
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/12/2018            $153.92
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/12/2018            $481.01
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/13/2018               $8.64
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/13/2018            $153.13
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/13/2018            $215.68
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/13/2018            $309.07
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/13/2018            $441.50
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/13/2018            $558.04
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/13/2018            $610.81
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/13/2018           $1,128.64



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       Creditor Name            Address1         Address2                  Address3                  City             State       Zip              Country                   transfer          Payments           Value
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/13/2018           $1,421.94
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/15/2018            $112.30
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/15/2018            $750.28
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/16/2018             $49.61
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/16/2018            $128.11
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/16/2018            $181.72
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/16/2018            $264.26
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/16/2018            $305.87
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/16/2018            $319.46
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/16/2018            $583.89
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/16/2018            $758.56
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/16/2018            $964.13
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/22/2018            $472.41
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/22/2018            $917.75
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/22/2018           $1,119.98
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/23/2018            $384.92
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/23/2018            $396.27
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/23/2018            $406.06
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/23/2018            $742.03
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/23/2018            $867.19
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/23/2018            $916.66
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/23/2018           $1,486.32
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/23/2018           $1,488.84
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/23/2018           $1,619.10
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/23/2018           $2,852.72
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/23/2018           $3,142.06
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/23/2018           $3,672.04



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       Creditor Name            Address1         Address2                  Address3                  City             State       Zip              Country                   transfer          Payments           Value
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/26/2018            $266.39
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/26/2018           $1,585.71
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/27/2018             $92.28
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/27/2018            $329.01
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/27/2018            $583.70
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/27/2018            $597.30
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/27/2018            $839.74
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/27/2018            $850.59
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/27/2018            $978.35
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/27/2018           $1,568.97
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/28/2018            $385.62
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/29/2018            $409.29
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/29/2018            $763.15
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/30/2018            $222.38
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/30/2018            $444.71
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/30/2018            $669.45
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/30/2018            $776.07
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/30/2018           $1,354.49
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/30/2018           $1,727.51
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/30/2018           $2,054.38
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/30/2018           $2,322.62
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/30/2018           $3,246.24
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      11/30/2018           $6,217.92
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       12/3/2018            $782.55
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       12/3/2018           $1,160.86
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       12/4/2018             $66.66
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       12/4/2018            $945.65



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       Creditor Name            Address1         Address2                  Address3                  City             State       Zip              Country                   transfer          Payments           Value
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       12/4/2018           $1,070.92
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       12/4/2018           $1,631.11
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       12/4/2018           $1,950.85
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS       12/5/2018            $217.96
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      12/11/2018            $133.39
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      12/11/2018            $174.24
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      12/11/2018            $180.68
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      12/11/2018            $222.40
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      12/11/2018           $1,307.46
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      12/11/2018           $1,892.87
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      12/19/2018            $396.42
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      12/19/2018            $906.97
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      12/19/2018           $1,225.65
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      12/19/2018           $1,360.81
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      12/19/2018           $1,412.20
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      12/19/2018           $1,469.49
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      12/19/2018           $1,847.16
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      12/19/2018           $2,209.04
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      12/19/2018           $3,796.68
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      12/19/2018           $3,955.25
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      12/19/2018           $4,516.48
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      12/19/2018           $4,944.63
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      12/19/2018           $5,990.34
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      12/19/2018           $7,364.23
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      12/20/2018            $204.18
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      12/20/2018            $300.11
PEPSI COLA BOTTLING
OGDEN                  LARSEN BEVERAGE     PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      12/20/2018            $309.76



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       Creditor Name                  Address1         Address2                  Address3                  City             State       Zip              Country                   transfer          Payments           Value
PEPSI COLA BOTTLING
OGDEN                    LARSEN BEVERAGE         PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      12/20/2018            $388.24
PEPSI COLA BOTTLING
OGDEN                    LARSEN BEVERAGE         PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      12/20/2018            $413.68
PEPSI COLA BOTTLING
OGDEN                    LARSEN BEVERAGE         PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      12/20/2018            $587.95
PEPSI COLA BOTTLING
OGDEN                    LARSEN BEVERAGE         PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      12/20/2018           $1,197.50
PEPSI COLA BOTTLING
OGDEN                    LARSEN BEVERAGE         PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      12/20/2018           $1,225.74
PEPSI COLA BOTTLING
OGDEN                    LARSEN BEVERAGE         PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      12/20/2018           $2,380.21
PEPSI COLA BOTTLING
OGDEN                    LARSEN BEVERAGE         PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      12/21/2018            $136.10
PEPSI COLA BOTTLING
OGDEN                    LARSEN BEVERAGE         PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      12/21/2018            $139.59
PEPSI COLA BOTTLING
OGDEN                    LARSEN BEVERAGE         PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      12/21/2018            $321.32
PEPSI COLA BOTTLING
OGDEN                    LARSEN BEVERAGE         PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      12/21/2018            $453.28
PEPSI COLA BOTTLING
OGDEN                    LARSEN BEVERAGE         PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      12/21/2018            $622.32
PEPSI COLA BOTTLING
OGDEN                    LARSEN BEVERAGE         PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      12/21/2018            $885.70
PEPSI COLA BOTTLING
OGDEN                    LARSEN BEVERAGE         PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      12/21/2018            $887.76
PEPSI COLA BOTTLING
OGDEN                    LARSEN BEVERAGE         PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      12/21/2018           $1,012.44
PEPSI COLA BOTTLING
OGDEN                    LARSEN BEVERAGE         PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      12/27/2018            $542.16
PEPSI COLA BOTTLING
OGDEN                    LARSEN BEVERAGE         PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      12/27/2018            $636.40
PEPSI COLA BOTTLING
OGDEN                    LARSEN BEVERAGE         PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      12/27/2018            $706.91
PEPSI COLA BOTTLING
OGDEN                    LARSEN BEVERAGE         PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      12/27/2018            $800.04
PEPSI COLA BOTTLING
OGDEN                    LARSEN BEVERAGE         PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      12/27/2018            $977.71
PEPSI COLA BOTTLING
OGDEN                    LARSEN BEVERAGE         PO BOX 12130                                      OGDEN               UT           84412-2130                             SUPPLIERS OR VENDORS      12/27/2018           $1,032.18

PEPSI COLA BOTTLING PASCO NOEL CORP              PO BOX 2531                                       PASCO               WA           99302                                  SUPPLIERS OR VENDORS      10/18/2018            $806.39

PEPSI COLA BOTTLING PASCO NOEL CORP              PO BOX 2531                                       PASCO               WA           99302                                  SUPPLIERS OR VENDORS      10/25/2018           $2,407.62

PEPSI COLA BOTTLING PASCO NOEL CORP              PO BOX 2531                                       PASCO               WA           99302                                  SUPPLIERS OR VENDORS       11/1/2018            $389.76

PEPSI COLA BOTTLING PASCO NOEL CORP              PO BOX 2531                                       PASCO               WA           99302                                  SUPPLIERS OR VENDORS       11/8/2018            $765.04

PEPSI COLA BOTTLING PASCO NOEL CORP              PO BOX 2531                                       PASCO               WA           99302                                  SUPPLIERS OR VENDORS      11/15/2018            $622.24

PEPSI COLA BOTTLING PASCO NOEL CORP              PO BOX 2531                                       PASCO               WA           99302                                  SUPPLIERS OR VENDORS      11/22/2018            $329.60

PEPSI COLA BOTTLING PASCO NOEL CORP              PO BOX 2531                                       PASCO               WA           99302                                  SUPPLIERS OR VENDORS      11/29/2018            $671.40



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       Creditor Name                 Address1                Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
PEPSI COLA BOTTLING
PIPESTONE                  PO BOX 747                                                                    PIPESTONE           MN           56164-0747                             SUPPLIERS OR VENDORS      10/18/2018           $1,012.35
PEPSI COLA BOTTLING
PIPESTONE                  PO BOX 747                                                                    PIPESTONE           MN           56164-0747                             SUPPLIERS OR VENDORS      10/25/2018           $3,785.97
PEPSI COLA BOTTLING
PIPESTONE                  PO BOX 747                                                                    PIPESTONE           MN           56164-0747                             SUPPLIERS OR VENDORS       11/1/2018           $3,474.71
PEPSI COLA BOTTLING
PIPESTONE                  PO BOX 747                                                                    PIPESTONE           MN           56164-0747                             SUPPLIERS OR VENDORS       11/8/2018            $871.12
PEPSI COLA BOTTLING
PIPESTONE                  PO BOX 747                                                                    PIPESTONE           MN           56164-0747                             SUPPLIERS OR VENDORS      11/15/2018           $1,003.25
PEPSI COLA BOTTLING
PIPESTONE                  PO BOX 747                                                                    PIPESTONE           MN           56164-0747                             SUPPLIERS OR VENDORS      11/22/2018           $1,112.53
PEPSI COLA BOTTLING
PIPESTONE                  PO BOX 747                                                                    PIPESTONE           MN           56164-0747                             SUPPLIERS OR VENDORS      11/29/2018           $3,148.51
PEPSI COLA BOTTLING
PIPESTONE                  PO BOX 747                                                                    PIPESTONE           MN           56164-0747                             SUPPLIERS OR VENDORS      12/19/2018         $11,183.80
PEPSI COLA BOTTLING
PIPESTONE                  PO BOX 747                                                                    PIPESTONE           MN           56164-0747                             SUPPLIERS OR VENDORS      12/27/2018            $940.20

PEPSI COLA BOTTLING RENO   SHOPKO STORES               PO BOX 19060           DISC 03/29/10              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/18/2018             $31.06
PEPSI COLA BOTTLING
WALLA WALLA                1200 DALLES MILITARY ROAD                                                     WALLA WALLA         WA           99362                                  SUPPLIERS OR VENDORS      10/18/2018            $333.59
PEPSI COLA BOTTLING
WALLA WALLA                1200 DALLES MILITARY ROAD                                                     WALLA WALLA         WA           99362                                  SUPPLIERS OR VENDORS      10/25/2018           $2,108.46
PEPSI COLA BOTTLING
WALLA WALLA                1200 DALLES MILITARY ROAD                                                     WALLA WALLA         WA           99362                                  SUPPLIERS OR VENDORS       11/1/2018           $1,426.02
PEPSI COLA BOTTLING
WALLA WALLA                1200 DALLES MILITARY ROAD                                                     WALLA WALLA         WA           99362                                  SUPPLIERS OR VENDORS       11/8/2018           $2,833.91
PEPSI COLA BOTTLING
WALLA WALLA                1200 DALLES MILITARY ROAD                                                     WALLA WALLA         WA           99362                                  SUPPLIERS OR VENDORS      11/15/2018            $504.42
PEPSI COLA BOTTLING
WALLA WALLA                1200 DALLES MILITARY ROAD                                                     WALLA WALLA         WA           99362                                  SUPPLIERS OR VENDORS      11/22/2018           $1,526.24
PEPSI COLA BOTTLING
WALLA WALLA                1200 DALLES MILITARY ROAD                                                     WALLA WALLA         WA           99362                                  SUPPLIERS OR VENDORS      11/29/2018           $2,764.56
PEPSI COLA BOTTLING
YAKIMA                     THE NOEL CORPORATION        PO BOX 111                                        YAKIMA              WA           98907                                  SUPPLIERS OR VENDORS       11/8/2018           $6,357.16
PEPSI COLA BOTTLING
YAKIMA                     THE NOEL CORPORATION        PO BOX 111                                        YAKIMA              WA           98907                                  SUPPLIERS OR VENDORS      11/15/2018            $341.48
PEPSI COLA BOTTLING
YAKIMA                     THE NOEL CORPORATION        PO BOX 111                                        YAKIMA              WA           98907                                  SUPPLIERS OR VENDORS      11/22/2018           $9,130.48
PEPSI COLA BOTTLING
YAKIMA                     THE NOEL CORPORATION        PO BOX 111                                        YAKIMA              WA           98907                                  SUPPLIERS OR VENDORS      11/29/2018           $5,822.61
PEPSI COLA CHAMPAIGN                                   1306 WEST ANTHONY
URBANA                     VICE PRESIDENT OF SALES     DRIVE                                             CHAMPAIGN           IL           61821                                  SUPPLIERS OR VENDORS      10/22/2018           $1,841.90
PEPSI COLA CHAMPAIGN                                   1306 WEST ANTHONY
URBANA                     VICE PRESIDENT OF SALES     DRIVE                                             CHAMPAIGN           IL           61821                                  SUPPLIERS OR VENDORS      10/24/2018            $271.16
PEPSI COLA CHAMPAIGN                                   1306 WEST ANTHONY
URBANA                     VICE PRESIDENT OF SALES     DRIVE                                             CHAMPAIGN           IL           61821                                  SUPPLIERS OR VENDORS       11/2/2018            $162.92
PEPSI COLA CHAMPAIGN                                   1306 WEST ANTHONY
URBANA                     VICE PRESIDENT OF SALES     DRIVE                                             CHAMPAIGN           IL           61821                                  SUPPLIERS OR VENDORS      11/16/2018            $926.80
PEPSI COLA CHAMPAIGN                                   1306 WEST ANTHONY
URBANA                     VICE PRESIDENT OF SALES     DRIVE                                             CHAMPAIGN           IL           61821                                  SUPPLIERS OR VENDORS      11/23/2018           $2,670.00
PEPSI COLA CHAMPAIGN                                   1306 WEST ANTHONY
URBANA                     VICE PRESIDENT OF SALES     DRIVE                                             CHAMPAIGN           IL           61821                                  SUPPLIERS OR VENDORS      12/11/2018            $304.20



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PEPSI COLA GENERAL     1475 EAST WDFELD ROAD SUITE                                                                                                                              PURCHASE OF
BOTTLER                1300                                                                             SCHAUMBURG          IL           60173                                  MERCHANDISE                12/13/2018        $484,758.15
PEPSI COLA GENERAL
BOTTLERS INC           75 REMITTANCE DRIVE STE 1884                                                     CHICAGO             IL           60675-1884                             SUPPLIERS OR VENDORS       10/18/2018           $3,426.60
PEPSI COLA GENERAL
BOTTLERS INC           75 REMITTANCE DRIVE STE 1884                                                     CHICAGO             IL           60675-1884                             SUPPLIERS OR VENDORS       10/19/2018            $290.68
PEPSI COLA GENERAL
BOTTLERS INC           75 REMITTANCE DRIVE STE 1884                                                     CHICAGO             IL           60675-1884                             SUPPLIERS OR VENDORS       10/23/2018         $32,533.07
PEPSI COLA GENERAL
BOTTLERS INC           75 REMITTANCE DRIVE STE 1884                                                     CHICAGO             IL           60675-1884                             SUPPLIERS OR VENDORS       10/25/2018           $4,119.15
PEPSI COLA GENERAL
BOTTLERS INC           75 REMITTANCE DRIVE STE 1884                                                     CHICAGO             IL           60675-1884                             SUPPLIERS OR VENDORS       10/26/2018            $452.55
PEPSI COLA GENERAL
BOTTLERS INC           75 REMITTANCE DRIVE STE 1884                                                     CHICAGO             IL           60675-1884                             SUPPLIERS OR VENDORS       10/30/2018         $57,861.32
PEPSI COLA GENERAL
BOTTLERS INC           75 REMITTANCE DRIVE STE 1884                                                     CHICAGO             IL           60675-1884                             SUPPLIERS OR VENDORS        11/1/2018           $7,698.96
PEPSI COLA GENERAL
BOTTLERS INC           75 REMITTANCE DRIVE STE 1884                                                     CHICAGO             IL           60675-1884                             SUPPLIERS OR VENDORS        11/6/2018         $70,425.09
PEPSI COLA GENERAL
BOTTLERS INC           75 REMITTANCE DRIVE STE 1884                                                     CHICAGO             IL           60675-1884                             SUPPLIERS OR VENDORS        11/8/2018           $8,971.74
PEPSI COLA GENERAL
BOTTLERS INC           75 REMITTANCE DRIVE STE 1884                                                     CHICAGO             IL           60675-1884                             SUPPLIERS OR VENDORS       11/13/2018         $62,497.05
PEPSI COLA GENERAL
BOTTLERS INC           75 REMITTANCE DRIVE STE 1884                                                     CHICAGO             IL           60675-1884                             SUPPLIERS OR VENDORS       11/15/2018           $8,481.44
PEPSI COLA GENERAL
BOTTLERS INC           75 REMITTANCE DRIVE STE 1884                                                     CHICAGO             IL           60675-1884                             SUPPLIERS OR VENDORS       11/16/2018            $310.70
PEPSI COLA GENERAL
BOTTLERS INC           75 REMITTANCE DRIVE STE 1884                                                     CHICAGO             IL           60675-1884                             SUPPLIERS OR VENDORS       11/27/2018        $161,062.31
PEPSI COLA GENERAL
BOTTLERS INC           75 REMITTANCE DRIVE STE 1884                                                     CHICAGO             IL           60675-1884                             SUPPLIERS OR VENDORS       11/29/2018         $10,455.87
PEPSI COLA GENERAL
BOTTLERS INC           75 REMITTANCE DRIVE STE 1884                                                     CHICAGO             IL           60675-1884                             SUPPLIERS OR VENDORS       11/30/2018            $418.50
PEPSI COLA GENERAL
BOTTLERS INC           75 REMITTANCE DRIVE STE 1884                                                     CHICAGO             IL           60675-1884                             SUPPLIERS OR VENDORS        12/4/2018         $50,728.10
PEPSI COLA GENERAL
BOTTLERS INC           75 REMITTANCE DRIVE STE 1884                                                     CHICAGO             IL           60675-1884                             SUPPLIERS OR VENDORS        12/6/2018           $2,407.04
PEPSI COLA GENERAL
BOTTLERS INC           75 REMITTANCE DRIVE STE 1884                                                     CHICAGO             IL           60675-1884                             SUPPLIERS OR VENDORS       12/20/2018         $34,983.24
PEPSI COLA GENERAL
BOTTLERS INC           75 REMITTANCE DRIVE STE 1884                                                     CHICAGO             IL           60675-1884                             SUPPLIERS OR VENDORS       12/21/2018         $13,480.74
PEPSI COLA GENERAL
BOTTLERS INC           75 REMITTANCE DRIVE STE 1884                                                     CHICAGO             IL           60675-1884                             SUPPLIERS OR VENDORS       12/22/2018         $38,806.39
PEPSI COLA GENERAL
BOTTLERS INC           75 REMITTANCE DRIVE STE 1884                                                     CHICAGO             IL           60675-1884                             SUPPLIERS OR VENDORS       12/28/2018         $53,599.99
PEPSI COLA KEOKUK
BOTTLING COMPANY       MAIN STREET ROAD               PO BOX 45                                         KEOKUK              IA           52632                                  SUPPLIERS OR VENDORS       10/18/2018            $537.83
PEPSI COLA KEOKUK
BOTTLING COMPANY       MAIN STREET ROAD               PO BOX 45                                         KEOKUK              IA           52632                                  SUPPLIERS OR VENDORS       10/25/2018           $1,573.89
PEPSI COLA KEOKUK
BOTTLING COMPANY       MAIN STREET ROAD               PO BOX 45                                         KEOKUK              IA           52632                                  SUPPLIERS OR VENDORS        11/1/2018           $1,921.86
PEPSI COLA KEOKUK
BOTTLING COMPANY       MAIN STREET ROAD               PO BOX 45                                         KEOKUK              IA           52632                                  SUPPLIERS OR VENDORS        11/8/2018            $516.29
PEPSI COLA KEOKUK
BOTTLING COMPANY       MAIN STREET ROAD               PO BOX 45                                         KEOKUK              IA           52632                                  SUPPLIERS OR VENDORS       11/15/2018           $1,266.69



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                                                                                                                                                                           Reasons for payment or    Dates of     Total Amount or
       Creditor Name                 Address1         Address2                  Address3                 City              State       Zip              Country                   transfer          Payments            Value
PEPSI COLA KEOKUK
BOTTLING COMPANY           MAIN STREET ROAD     PO BOX 45                                         KEOKUK              IA           52632                                  SUPPLIERS OR VENDORS      11/22/2018             $821.51
PEPSI COLA KEOKUK
BOTTLING COMPANY           MAIN STREET ROAD     PO BOX 45                                         KEOKUK              IA           52632                                  SUPPLIERS OR VENDORS      11/29/2018            $1,750.24
PEPSI COLA KEOKUK
BOTTLING COMPANY           MAIN STREET ROAD     PO BOX 45                                         KEOKUK              IA           52632                                  SUPPLIERS OR VENDORS      12/19/2018            $9,080.67
PEPSI COLA KEOKUK
BOTTLING COMPANY           MAIN STREET ROAD     PO BOX 45                                         KEOKUK              IA           52632                                  SUPPLIERS OR VENDORS      12/27/2018             $440.71

PEPSI COLA OF MARYSVILLE
DBA MARKAN SALE            604 CENTER STREET    PO BOX 535             PAM TO ORACLE              MARYSVILLE          KS           66508                                  SUPPLIERS OR VENDORS      10/18/2018              $86.69

PEPSI COLA OF MARYSVILLE
DBA MARKAN SALE            604 CENTER STREET    PO BOX 535             PAM TO ORACLE              MARYSVILLE          KS           66508                                  SUPPLIERS OR VENDORS      10/25/2018             $119.71

PEPSI COLA OF MARYSVILLE
DBA MARKAN SALE            604 CENTER STREET    PO BOX 535             PAM TO ORACLE              MARYSVILLE          KS           66508                                  SUPPLIERS OR VENDORS       11/1/2018             $470.48

PEPSI COLA OF MARYSVILLE
DBA MARKAN SALE            604 CENTER STREET    PO BOX 535             PAM TO ORACLE              MARYSVILLE          KS           66508                                  SUPPLIERS OR VENDORS       11/8/2018             $167.04

PEPSI COLA OF MARYSVILLE
DBA MARKAN SALE            604 CENTER STREET    PO BOX 535             PAM TO ORACLE              MARYSVILLE          KS           66508                                  SUPPLIERS OR VENDORS      11/15/2018             $239.06

PEPSI COLA OF MARYSVILLE
DBA MARKAN SALE            604 CENTER STREET    PO BOX 535             PAM TO ORACLE              MARYSVILLE          KS           66508                                  SUPPLIERS OR VENDORS      11/22/2018             $254.14

PEPSI COLA OF MARYSVILLE
DBA MARKAN SALE            604 CENTER STREET    PO BOX 535             PAM TO ORACLE              MARYSVILLE          KS           66508                                  SUPPLIERS OR VENDORS      11/29/2018             $453.04

PEPSI COLA OF MARYSVILLE
DBA MARKAN SALE            604 CENTER STREET    PO BOX 535             PAM TO ORACLE              MARYSVILLE          KS           66508                                  SUPPLIERS OR VENDORS      12/19/2018             $875.00

PEPSI COLA OF MARYSVILLE
DBA MARKAN SALE            604 CENTER STREET    PO BOX 535             PAM TO ORACLE              MARYSVILLE          KS           66508                                  SUPPLIERS OR VENDORS      12/21/2018             $312.90
PEPSI COLA OF NEW
INCORPORATED               1163 WAUBE LANE                                                        GREEN BAY           WI           54304                                  SUPPLIERS OR VENDORS       11/1/2018              $42.20
PEPSI COLA OF NEW
INCORPORATED               1163 WAUBE LANE                                                        GREEN BAY           WI           54304                                  SUPPLIERS OR VENDORS         1/4/2019             $97.06

PEPSI COLA OF SIOUXLAND    ATTN AR              1901 WINDHOEK DRIVE                               LINCOLN             NE           68512                                  SUPPLIERS OR VENDORS      10/18/2018             $905.08

PEPSI COLA OF SIOUXLAND    ATTN AR              1901 WINDHOEK DRIVE                               LINCOLN             NE           68512                                  SUPPLIERS OR VENDORS      10/25/2018            $1,343.07

PEPSI COLA OF SIOUXLAND    ATTN AR              1901 WINDHOEK DRIVE                               LINCOLN             NE           68512                                  SUPPLIERS OR VENDORS       11/1/2018            $1,318.09

PEPSI COLA OF SIOUXLAND    ATTN AR              1901 WINDHOEK DRIVE                               LINCOLN             NE           68512                                  SUPPLIERS OR VENDORS       11/8/2018            $2,557.32

PEPSI COLA OF SIOUXLAND    ATTN AR              1901 WINDHOEK DRIVE                               LINCOLN             NE           68512                                  SUPPLIERS OR VENDORS      11/15/2018            $2,042.76

PEPSI COLA OF SIOUXLAND    ATTN AR              1901 WINDHOEK DRIVE                               LINCOLN             NE           68512                                  SUPPLIERS OR VENDORS      11/22/2018            $2,566.15

PEPSI COLA OF SIOUXLAND    ATTN AR              1901 WINDHOEK DRIVE                               LINCOLN             NE           68512                                  SUPPLIERS OR VENDORS      11/29/2018            $1,948.36




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                                                                                                                                                                            Reasons for payment or    Dates of    Total Amount or
      Creditor Name                   Address1         Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value

PEPSI COLA OF SIOUXLAND   ATTN AR                1901 WINDHOEK DRIVE                               LINCOLN             NE           68512                                  SUPPLIERS OR VENDORS      12/19/2018           $5,714.32

PEPSI COLA OF SIOUXLAND   ATTN AR                1901 WINDHOEK DRIVE                               LINCOLN             NE           68512                                  SUPPLIERS OR VENDORS      12/21/2018            $277.28

PEPSI COLA OF SIOUXLAND   ATTN AR                1901 WINDHOEK DRIVE                               LINCOLN             NE           68512                                  SUPPLIERS OR VENDORS      12/27/2018           $1,023.79
PEPSI MIDAMERICA          PO BOX 18241F                                                            ST LOUIS            MO           63150-0000                             SUPPLIERS OR VENDORS      10/25/2018             $517.75
PEPSI MIDAMERICA          PO BOX 18241F                                                            ST LOUIS            MO           63150-0000                             SUPPLIERS OR VENDORS      10/29/2018             $804.18
PEPSI MIDAMERICA          PO BOX 18241F                                                            ST LOUIS            MO           63150-0000                             SUPPLIERS OR VENDORS       11/9/2018             $362.77
PEPSI MIDAMERICA          PO BOX 18241F                                                            ST LOUIS            MO           63150-0000                             SUPPLIERS OR VENDORS      11/22/2018             $882.30
PEPSI MIDAMERICA          PO BOX 18241F                                                            ST LOUIS            MO           63150-0000                             SUPPLIERS OR VENDORS      11/26/2018             $380.85
PEPSI MIDAMERICA          PO BOX 18241F                                                            ST LOUIS            MO           63150-0000                             SUPPLIERS OR VENDORS      12/19/2018           $2,055.80
PER BRODIN                FINANCE                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/22/2018             $415.99
PER BRODIN                FINANCE                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/29/2018             $132.44
PER BRODIN                FINANCE                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/6/2018             $268.48
PERFECTA PRODUCTS                                131 W SOUTH RANGE
INCORPORATED              PO BOX 128             ROAD                   PAM TO ORACLE              NORTH LIMA          OH           44452                                  SUPPLIERS OR VENDORS      10/18/2018            $282.24
PERFECTA PRODUCTS                                131 W SOUTH RANGE
INCORPORATED              PO BOX 128             ROAD                   PAM TO ORACLE              NORTH LIMA          OH           44452                                  SUPPLIERS OR VENDORS      10/25/2018           $1,270.08
PERFECTA PRODUCTS                                131 W SOUTH RANGE
INCORPORATED              PO BOX 128             ROAD                   PAM TO ORACLE              NORTH LIMA          OH           44452                                  SUPPLIERS OR VENDORS       11/1/2018            $705.60
PERFECTA PRODUCTS                                131 W SOUTH RANGE
INCORPORATED              PO BOX 128             ROAD                   PAM TO ORACLE              NORTH LIMA          OH           44452                                  SUPPLIERS OR VENDORS       11/8/2018            $534.24
PERFECTA PRODUCTS                                131 W SOUTH RANGE
INCORPORATED              PO BOX 128             ROAD                   PAM TO ORACLE              NORTH LIMA          OH           44452                                  SUPPLIERS OR VENDORS      11/15/2018            $276.48
PERFECTA PRODUCTS                                131 W SOUTH RANGE
INCORPORATED              PO BOX 128             ROAD                   PAM TO ORACLE              NORTH LIMA          OH           44452                                  SUPPLIERS OR VENDORS      11/22/2018            $564.48
PERFETTI VAN MELLE USA
INCORPORATED              DEPT 2230                                                                CAROL STREAM        IL           60132-2230                             SUPPLIERS OR VENDORS      11/22/2018         $11,035.11

PERFORMANCE SYSTEMS LC 1701 WEST D STREET                                                          VINTON              IA           52349                                  SUPPLIERS OR VENDORS      11/10/2018           $4,166.67

PERFORMANCE SYSTEMS LC    1701 WEST D STREET                                                       VINTON              IA           52349                                  SUPPLIERS OR VENDORS       12/8/2018          $4,166.67
PERFORMANCE TEAM NW       PO BOX 515176                                                            LOS ANGELES         CA           90051-5176                             SUPPLIERS OR VENDORS      10/19/2018            $765.70
PERFORMANCE TEAM NW       PO BOX 515176                                                            LOS ANGELES         CA           90051-5176                             SUPPLIERS OR VENDORS      10/19/2018         $22,287.57
PERFORMANCE TEAM NW       PO BOX 515176                                                            LOS ANGELES         CA           90051-5176                             SUPPLIERS OR VENDORS      10/20/2018          $2,554.70
PERFORMANCE TEAM NW       PO BOX 515176                                                            LOS ANGELES         CA           90051-5176                             SUPPLIERS OR VENDORS      10/26/2018            $924.15
PERFORMANCE TEAM NW       PO BOX 515176                                                            LOS ANGELES         CA           90051-5176                             SUPPLIERS OR VENDORS      10/26/2018         $23,403.46
PERFORMANCE TEAM NW       PO BOX 515176                                                            LOS ANGELES         CA           90051-5176                             SUPPLIERS OR VENDORS      10/27/2018          $2,236.05
PERFORMANCE TEAM NW       PO BOX 515176                                                            LOS ANGELES         CA           90051-5176                             SUPPLIERS OR VENDORS      10/31/2018          $1,252.63
PERFORMANCE TEAM NW       PO BOX 515176                                                            LOS ANGELES         CA           90051-5176                             SUPPLIERS OR VENDORS       11/2/2018            $559.55
PERFORMANCE TEAM NW       PO BOX 515176                                                            LOS ANGELES         CA           90051-5176                             SUPPLIERS OR VENDORS       11/2/2018         $28,935.45
PERFORMANCE TEAM NW       PO BOX 515176                                                            LOS ANGELES         CA           90051-5176                             SUPPLIERS OR VENDORS       11/3/2018          $2,231.96
PERFORMANCE TEAM NW       PO BOX 515176                                                            LOS ANGELES         CA           90051-5176                             SUPPLIERS OR VENDORS       11/9/2018         $26,280.28
PERFORMANCE TEAM NW       PO BOX 515176                                                            LOS ANGELES         CA           90051-5176                             SUPPLIERS OR VENDORS      11/15/2018          $2,325.00
PERFORMANCE TEAM NW       PO BOX 515176                                                            LOS ANGELES         CA           90051-5176                             SUPPLIERS OR VENDORS      11/16/2018            $540.83
PERFORMANCE TEAM NW       PO BOX 515176                                                            LOS ANGELES         CA           90051-5176                             SUPPLIERS OR VENDORS      11/16/2018         $22,942.30
PERFORMANCE TEAM NW       PO BOX 515176                                                            LOS ANGELES         CA           90051-5176                             SUPPLIERS OR VENDORS      11/27/2018            $192.34
PERFORMANCE TEAM NW       PO BOX 515176                                                            LOS ANGELES         CA           90051-5176                             SUPPLIERS OR VENDORS      11/30/2018         $46,589.73
PERFORMANCE TEAM NW       PO BOX 515176                                                            LOS ANGELES         CA           90051-5176                             SUPPLIERS OR VENDORS       12/1/2018            $181.15
PERFORMANCE TEAM NW       PO BOX 515176                                                            LOS ANGELES         CA           90051-5176                             SUPPLIERS OR VENDORS       12/6/2018          $8,125.00
PERFORMANCE TEAM NW       PO BOX 515176                                                            LOS ANGELES         CA           90051-5176                             SUPPLIERS OR VENDORS       12/8/2018         $34,820.70
PERFORMANCE TEAM NW       PO BOX 515176                                                            LOS ANGELES         CA           90051-5176                             SUPPLIERS OR VENDORS      12/11/2018          $3,915.47
PERFORMANCE TEAM NW       PO BOX 515176                                                            LOS ANGELES         CA           90051-5176                             SUPPLIERS OR VENDORS      12/12/2018          $3,270.87



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       Creditor Name               Address1         Address2                  Address3                City               State       Zip              Country                    transfer          Payments            Value
PERFORMANCE TEAM NW      PO BOX 515176                                                          LOS ANGELES         CA           90051-5176                             SUPPLIERS OR VENDORS        12/14/2018            $2,057.24
PERFORMANCE TEAM NW      PO BOX 515176                                                          LOS ANGELES         CA           90051-5176                             SUPPLIERS OR VENDORS        12/19/2018            $6,382.62
PERFORMANCE TEAM NW      PO BOX 515176                                                          LOS ANGELES         CA           90051-5176                             SUPPLIERS OR VENDORS        12/19/2018           $13,001.57
PERFORMANCE TEAM NW      PO BOX 515176                                                          LOS ANGELES         CA           90051-5176                             SUPPLIERS OR VENDORS        12/21/2018            $2,503.52
PERFORMANCE TEAM NW      PO BOX 515176                                                          LOS ANGELES         CA           90051-5176                             SUPPLIERS OR VENDORS        12/22/2018              $137.73
PERFORMANCE TEAM NW      PO BOX 515176                                                          LOS ANGELES         CA           90051-5176                             SUPPLIERS OR VENDORS        12/22/2018           $10,260.86
PERFORMANCE TEAM NW      PO BOX 515176                                                          LOS ANGELES         CA           90051-5176                             SUPPLIERS OR VENDORS        12/28/2018            $3,486.00
PERFORMANCE TEAM NW      PO BOX 515176                                                          LOS ANGELES         CA           90051-5176                             SUPPLIERS OR VENDORS        12/28/2018            $9,954.42
PERFORMANCE TEAM NW      PO BOX 515176                                                          LOS ANGELES         CA           90051-5176                             SUPPLIERS OR VENDORS          1/5/2019           $20,353.68
PERFORMANCE TEAM NW      PO BOX 515176                                                          LOS ANGELES         CA           90051-5176                             SUPPLIERS OR VENDORS          1/8/2019           $17,980.91
PERFORMANCE TEAM NW      PO BOX 515176                                                          LOS ANGELES         CA           90051-5176                             SUPPLIERS OR VENDORS         1/12/2019              $132.45
PERFORMANCE TEAM NW      PO BOX 515176                                                          LOS ANGELES         CA           90051-5176                             SUPPLIERS OR VENDORS         1/12/2019            $4,986.48
PERFUME CENTER OF
AMERICA                  2020 OCEAN AVE                                                         RONKONKOMA          NY           11779                                  SUPPLIERS OR VENDORS       10/19/2018            $8,330.52
PERFUME CENTER OF
AMERICA                  2020 OCEAN AVE                                                         RONKONKOMA          NY           11779                                  SUPPLIERS OR VENDORS       10/23/2018            $7,626.74
PERFUME CENTER OF
AMERICA                  2020 OCEAN AVE                                                         RONKONKOMA          NY           11779                                  SUPPLIERS OR VENDORS       10/26/2018               $60.32
PERFUME CENTER OF
AMERICA                  2020 OCEAN AVE                                                         RONKONKOMA          NY           11779                                  SUPPLIERS OR VENDORS       11/16/2018            $1,909.75
PERFUME CENTER OF
AMERICA                  2020 OCEAN AVE                                                         RONKONKOMA          NY           11779                                  SUPPLIERS OR VENDORS       11/23/2018            $8,345.14
PERFUME CENTER OF
AMERICA                  2020 OCEAN AVE                                                         RONKONKOMA          NY           11779                                  SUPPLIERS OR VENDORS       11/27/2018            $1,061.16
PERIO INCORPORATED       DEPT 781721          PO BOX 78000                                      DETROIT             MI           48278-1721                             SUPPLIERS OR VENDORS       10/18/2018            $5,561.62
PERIO INCORPORATED       DEPT 781721          PO BOX 78000                                      DETROIT             MI           48278-1721                             SUPPLIERS OR VENDORS        11/1/2018            $4,230.86
PERIO INCORPORATED       DEPT 781721          PO BOX 78000                                      DETROIT             MI           48278-1721                             SUPPLIERS OR VENDORS       11/15/2018            $3,489.53
PERIO INCORPORATED       DEPT 781721          PO BOX 78000                                      DETROIT             MI           48278-1721                             SUPPLIERS OR VENDORS       11/29/2018            $2,777.27
PERKINS RESTAURANT AND
BAKERY                   600 9TH AVE SE                                                         WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS       11/26/2018              $778.42
PERKS PLAZA LLC          417 SHARP STREET     PO BOX 391                                        GLENWOOD            IA           51534                                  SUPPLIERS OR VENDORS        11/1/2018            $1,980.00
PERKS PLAZA LLC          417 SHARP STREET     PO BOX 391                                        GLENWOOD            IA           51534                                  SUPPLIERS OR VENDORS       11/15/2018            $5,416.67
PERKS PLAZA LLC          417 SHARP STREET     PO BOX 391                                        GLENWOOD            IA           51534                                  SUPPLIERS OR VENDORS        12/1/2018            $1,980.00
PERKS PLAZA LLC          417 SHARP STREET     PO BOX 391                                        GLENWOOD            IA           51534                                  SUPPLIERS OR VENDORS       12/19/2018            $5,416.67

PERRIGO                  I PERRIGO CO         22592 NETWORK PLACE                               CHICAGO             IL           60673-1225                             SUPPLIERS OR VENDORS       10/23/2018            $6,770.21

PERRIGO                  I PERRIGO CO         22592 NETWORK PLACE                               CHICAGO             IL           60673-1225                             SUPPLIERS OR VENDORS       10/26/2018           $47,723.76

PERRIGO                  I PERRIGO CO         22592 NETWORK PLACE                               CHICAGO             IL           60673-1225                             SUPPLIERS OR VENDORS       10/30/2018           $37,701.39

PERRIGO                  I PERRIGO CO         22592 NETWORK PLACE                               CHICAGO             IL           60673-1225                             SUPPLIERS OR VENDORS        11/2/2018           $23,919.36

PERRIGO                  I PERRIGO CO         22592 NETWORK PLACE                               CHICAGO             IL           60673-1225                             SUPPLIERS OR VENDORS        11/6/2018           $68,683.62

PERRIGO                  I PERRIGO CO         22592 NETWORK PLACE                               CHICAGO             IL           60673-1225                             SUPPLIERS OR VENDORS        11/9/2018           $25,400.70

PERRIGO                  I PERRIGO CO         22592 NETWORK PLACE                               CHICAGO             IL           60673-1225                             SUPPLIERS OR VENDORS       11/13/2018           $38,692.38

PERRIGO                  I PERRIGO CO         22592 NETWORK PLACE                               CHICAGO             IL           60673-1225                             SUPPLIERS OR VENDORS       11/16/2018           $19,951.38

PERRIGO                  I PERRIGO CO         22592 NETWORK PLACE                               CHICAGO             IL           60673-1225                             SUPPLIERS OR VENDORS       11/23/2018           $34,350.72

PERRIGO                  I PERRIGO CO         22592 NETWORK PLACE                               CHICAGO             IL           60673-1225                             SUPPLIERS OR VENDORS       11/27/2018           $27,818.16



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                                                                                                                                                                               Reasons for payment or    Dates of    Total Amount or
      Creditor Name                 Address1              Address2                  Address3                   City            State       Zip              Country                   transfer          Payments           Value

PERRIGO                   I PERRIGO CO              22592 NETWORK PLACE                               CHICAGO             IL           60673-1225                             SUPPLIERS OR VENDORS      11/30/2018         $70,408.26

PERRIGO                   I PERRIGO CO              22592 NETWORK PLACE                               CHICAGO             IL           60673-1225                             SUPPLIERS OR VENDORS       12/4/2018         $46,461.60
PERRY BERGE               1430 MITCHELL LINE ST                                                       NORA SPRINGS        IA           50458                                  SUPPLIERS OR VENDORS      11/26/2018             $82.00
PERRY FLOOK               PO BOX 1817                                                                 EAGLE               ID           83616                                  SUPPLIERS OR VENDORS      11/26/2018             $29.42
PERRY HAYES               4406 145TH STREET                                                           CHIPPEWA FALLS      WI           54729                                  SUPPLIERS OR VENDORS       11/5/2018             $42.24
PERRY SWALLOW             STORE 557                 SHOPKO EMPLOYEE        1174 N MAIN STREET         NEPHI               UT           84648-0000                             SUPPLIERS OR VENDORS      12/29/2018            $330.27

PET BRANDS PRODUCTS LLC 425 METRO PL N STE 690                                                        DUBLIN              OH           43017                                  SUPPLIERS OR VENDORS      10/18/2018           $1,358.13

PET BRANDS PRODUCTS LLC 425 METRO PL N STE 690                                                        DUBLIN              OH           43017                                  SUPPLIERS OR VENDORS      10/25/2018           $1,964.19

PET BRANDS PRODUCTS LLC 425 METRO PL N STE 690                                                        DUBLIN              OH           43017                                  SUPPLIERS OR VENDORS       11/1/2018            $831.13

PET BRANDS PRODUCTS LLC 425 METRO PL N STE 690                                                        DUBLIN              OH           43017                                  SUPPLIERS OR VENDORS       11/8/2018           $2,754.67

PET BRANDS PRODUCTS LLC 425 METRO PL N STE 690                                                        DUBLIN              OH           43017                                  SUPPLIERS OR VENDORS      11/15/2018           $1,626.59

PET BRANDS PRODUCTS LLC 425 METRO PL N STE 690                                                        DUBLIN              OH           43017                                  SUPPLIERS OR VENDORS      11/22/2018            $565.38

PET BRANDS PRODUCTS LLC   425 METRO PL N STE 690                                                      DUBLIN              OH           43017                                  SUPPLIERS OR VENDORS      11/29/2018            $660.63
PET GEAR DBA VERMONT
JUVENILE                  192 SHELDON AVENUE                                                          WEST RUTLAND        VT           05777-0000                             SUPPLIERS OR VENDORS      10/18/2018            $129.43
PET GEAR DBA VERMONT
JUVENILE                  192 SHELDON AVENUE                                                          WEST RUTLAND        VT           05777-0000                             SUPPLIERS OR VENDORS      11/15/2018            $228.49
PET IQ                    PO BOX 200158                                                               PITTSBURGH          PA           15251-0158                             SUPPLIERS OR VENDORS      10/25/2018          $2,593.25
PET IQ                    PO BOX 200158                                                               PITTSBURGH          PA           15251-0158                             SUPPLIERS OR VENDORS       11/1/2018          $2,768.90
PET IQ                    PO BOX 200158                                                               PITTSBURGH          PA           15251-0158                             SUPPLIERS OR VENDORS       11/8/2018          $3,805.83
PET IQ                    PO BOX 200158                                                               PITTSBURGH          PA           15251-0158                             SUPPLIERS OR VENDORS      11/15/2018          $2,370.79
PET IQ                    PO BOX 200158                                                               PITTSBURGH          PA           15251-0158                             SUPPLIERS OR VENDORS      11/22/2018          $3,123.11
PET IQ                    PO BOX 200158                                                               PITTSBURGH          PA           15251-0158                             SUPPLIERS OR VENDORS      11/29/2018          $2,211.75
PET QWERKS INC            9 STUDEBAKER DRIVE                                                          IRVINE              CA           92618                                  SUPPLIERS OR VENDORS      10/18/2018          $2,057.36
PET QWERKS INC            9 STUDEBAKER DRIVE                                                          IRVINE              CA           92618                                  SUPPLIERS OR VENDORS      11/15/2018          $6,941.50
PETER ALLEN               800 6TH AVE NW                                                              AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS      10/29/2018              $3.00
PETER BARWICK             1024 LONDON ST                                                              MENASHA             WI           54952                                  SUPPLIERS OR VENDORS       11/7/2018             $25.00
PETER BORNROPP            1000 COUNCIL WAY                                                            MISSOULA            MT           59808                                  SUPPLIERS OR VENDORS       11/5/2018              $8.00
PETER BURBACK             HARDLINES                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/2/2018            $531.04
PETER BURBACK             HARDLINES                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/8/2018            $248.52
PETER BURBACK             HARDLINES                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/13/2018            $483.64
PETER G VANDENHOUTEN      477 N NINTH STREET                                                          DEPERE              WI           54115                                  SUPPLIERS OR VENDORS      11/15/2018         $16,666.67
PETER G VANDENHOUTEN      477 N NINTH STREET                                                          DEPERE              WI           54115                                  SUPPLIERS OR VENDORS      12/19/2018         $16,666.67
PETER GALOWSKI            100 PRIMROSE LN                                                             GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS       11/5/2018             $62.52
PETER GALOWSKI            100 PRIMROSE LN                                                             GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS      11/28/2018             $13.48
PETER KEMPTHORNE          1817 WAUNONA WAY                                                            MADISON             WI           53713                                  SUPPLIERS OR VENDORS      10/22/2018              $5.95
PETER LABERGE             N3402 BAY DE NOC DRIVE                                                      MENOMINEE           MI           49858                                  SUPPLIERS OR VENDORS      10/25/2018             $42.00
PETER POPOVICH            STORE 4-119               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/18/2018             $66.49
PETER REIN                440 2ND AVE SE                                                              HARMONY             MN           55939                                  SUPPLIERS OR VENDORS      12/13/2018             $28.31
PETER REIN                440 2ND AVE SE                                                              HARMONY             MN           55939                                  SUPPLIERS OR VENDORS      12/13/2018             $44.11
PETER SCHLISE             1248 LONG TAIL BEACH RD                                                     SUAMICO             WI           54173                                  SUPPLIERS OR VENDORS      11/26/2018             $44.16
                          1704 MEADOWBROOK DRIVE
PETER ZLATOHLAVEK         APT 10                                                                      MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS      10/31/2018             $43.80
PETERLIN DISTRIBUTING                               SHOPKO STORES
COMPANY                   CASH ON DELIVERY          INCORPORATED           PAM TO ORACLE              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/25/2018             $88.20



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                                                                                                                                                                                   Reasons for payment or    Dates of    Total Amount or
       Creditor Name                Address1                  Address2                  Address3                  City             State       Zip              Country                   transfer          Payments           Value
PETERLIN DISTRIBUTING                                   SHOPKO STORES
COMPANY                   CASH ON DELIVERY              INCORPORATED           PAM TO ORACLE              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/8/2018             $50.29
PETERLIN DISTRIBUTING                                   SHOPKO STORES
COMPANY                   CASH ON DELIVERY              INCORPORATED           PAM TO ORACLE              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/15/2018            $147.90
PETERLIN DISTRIBUTING                                   SHOPKO STORES
COMPANY                   CASH ON DELIVERY              INCORPORATED           PAM TO ORACLE              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/20/2018            $372.50
PETERLIN DISTRIBUTING                                   SHOPKO STORES
COMPANY                   CASH ON DELIVERY              INCORPORATED           PAM TO ORACLE              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/27/2018             $49.30
PETERS LAWN SERVICE
INCORPORATED              PO BOX 4215                                                                     MANKATO             MN           56002-4215                             SUPPLIERS OR VENDORS       11/1/2018            $776.70
PETERS LAWN SERVICE
INCORPORATED              PO BOX 4215                                                                     MANKATO             MN           56002-4215                             SUPPLIERS OR VENDORS      11/15/2018            $285.87
PETES LAWN & GARDEN
SERVICE                   N1760 JANNETTE CIRCLE                                                           WAUTOMA             WI           54982                                  SUPPLIERS OR VENDORS       11/1/2018             $84.40
PETES LAWN & GARDEN
SERVICE                   N1760 JANNETTE CIRCLE                                                           WAUTOMA             WI           54982                                  SUPPLIERS OR VENDORS      12/17/2018             $211.00
PETFIVE BRANDS LLC        3966 PEMBROKE RD                                                                PEMBROKE PARK       FL           33021                                  SUPPLIERS OR VENDORS      10/31/2018           $3,015.96
PETROLEUM EQUIPMENT
SERVICE OF                WISCONSIN LLC                 PO BOX 8442                                       GREEN BAY           WI           54308-8442                             SUPPLIERS OR VENDORS      11/15/2018           $1,296.07
PETROLEUM STORAGE TANK
FUND                      PO BOX 83720                                                                    BOISE               ID           83720-0044                             SUPPLIERS OR VENDORS       12/7/2018             $50.00

PEZ CANDY INCORPORATED GENERAL POST OFFICE              PO BOX 30087                                      NEW YORK            NY           10087-0087                             SUPPLIERS OR VENDORS       11/1/2018         $29,451.12

PEZ CANDY INCORPORATED GENERAL POST OFFICE              PO BOX 30087                                      NEW YORK            NY           10087-0087                             SUPPLIERS OR VENDORS      11/22/2018            $141.12

PEZ CANDY INCORPORATED    GENERAL POST OFFICE           PO BOX 30087                                      NEW YORK            NY           10087-0087                             SUPPLIERS OR VENDORS      11/29/2018             $70.56
PG GOLF LLC               12505 REED ROAD STE 200                                                         SUGAR LAND          TX           77478                                  SUPPLIERS OR VENDORS      10/18/2018          $5,091.00
PG GOLF LLC               12505 REED ROAD STE 200                                                         SUGAR LAND          TX           77478                                  SUPPLIERS OR VENDORS      10/25/2018          $1,679.00
PG GOLF LLC               12505 REED ROAD STE 200                                                         SUGAR LAND          TX           77478                                  SUPPLIERS OR VENDORS       11/1/2018          $4,221.49
PG GOLF LLC               12505 REED ROAD STE 200                                                         SUGAR LAND          TX           77478                                  SUPPLIERS OR VENDORS       11/8/2018          $6,182.18
PG GOLF LLC               12505 REED ROAD STE 200                                                         SUGAR LAND          TX           77478                                  SUPPLIERS OR VENDORS      11/15/2018          $1,831.00
PG GOLF LLC               12505 REED ROAD STE 200                                                         SUGAR LAND          TX           77478                                  SUPPLIERS OR VENDORS      11/22/2018          $4,128.00
PG GOLF LLC               12505 REED ROAD STE 200                                                         SUGAR LAND          TX           77478                                  SUPPLIERS OR VENDORS      11/29/2018          $3,387.00
PH BEAUTY LABS            PO BOX 856920                                                                   MINNEAPOLIS         MN           55485-6920                             SUPPLIERS OR VENDORS      10/18/2018          $3,889.92
PH BEAUTY LABS            PO BOX 856920                                                                   MINNEAPOLIS         MN           55485-6920                             SUPPLIERS OR VENDORS      10/25/2018         $16,038.27
PH BEAUTY LABS            PO BOX 856920                                                                   MINNEAPOLIS         MN           55485-6920                             SUPPLIERS OR VENDORS       11/1/2018          $6,519.87
PH BEAUTY LABS            PO BOX 856920                                                                   MINNEAPOLIS         MN           55485-6920                             SUPPLIERS OR VENDORS       11/8/2018            $419.04
PH BEAUTY LABS            PO BOX 856920                                                                   MINNEAPOLIS         MN           55485-6920                             SUPPLIERS OR VENDORS      11/15/2018          $1,949.52
PH BEAUTY LABS            PO BOX 856920                                                                   MINNEAPOLIS         MN           55485-6920                             SUPPLIERS OR VENDORS      11/22/2018          $3,681.10
PH BEAUTY LABS            PO BOX 856920                                                                   MINNEAPOLIS         MN           55485-6920                             SUPPLIERS OR VENDORS      11/29/2018          $1,306.58
PHANTOM RESEARCH
LABORATORIES INC          PO BOX 600650                                                                   SAN DIEGO           CA           92160-0650                             SUPPLIERS OR VENDORS      10/25/2018            $299.00
PHARMACY VALUE ALLIANCE
LLC                       PO BOX 980640                                                                   PARK CITY           UT           84098                                  SUPPLIERS OR VENDORS       11/8/2018            $347.00

PHARMAVITE LLC            13699 COLLECTIONS CENTER DR                                                     CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      10/18/2018           $9,303.05

PHARMAVITE LLC            13699 COLLECTIONS CENTER DR                                                     CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      10/19/2018           $6,238.70

PHARMAVITE LLC            13699 COLLECTIONS CENTER DR                                                     CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      10/22/2018           $1,032.84

PHARMAVITE LLC            13699 COLLECTIONS CENTER DR                                                     CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      10/24/2018           $2,656.77




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                                                                                                                                                                                  Reasons for payment or    Dates of    Total Amount or
      Creditor Name                Address1                  Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value

PHARMAVITE LLC           13699 COLLECTIONS CENTER DR                                                     CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      10/25/2018            $516.42

PHARMAVITE LLC           13699 COLLECTIONS CENTER DR                                                     CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      10/26/2018         $22,988.52

PHARMAVITE LLC           13699 COLLECTIONS CENTER DR                                                     CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      10/29/2018         $27,244.10

PHARMAVITE LLC           13699 COLLECTIONS CENTER DR                                                     CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      10/31/2018            $406.98

PHARMAVITE LLC           13699 COLLECTIONS CENTER DR                                                     CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS       11/2/2018         $14,788.94

PHARMAVITE LLC           13699 COLLECTIONS CENTER DR                                                     CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS       11/5/2018         $16,227.53

PHARMAVITE LLC           13699 COLLECTIONS CENTER DR                                                     CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS       11/9/2018           $8,277.58

PHARMAVITE LLC           13699 COLLECTIONS CENTER DR                                                     CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      11/12/2018         $49,296.59

PHARMAVITE LLC           13699 COLLECTIONS CENTER DR                                                     CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      11/15/2018         $26,391.79

PHARMAVITE LLC           13699 COLLECTIONS CENTER DR                                                     CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      11/16/2018         $24,893.92

PHARMAVITE LLC           13699 COLLECTIONS CENTER DR                                                     CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      11/22/2018         $13,559.54

PHARMAVITE LLC           13699 COLLECTIONS CENTER DR                                                     CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      11/23/2018         $63,233.43

PHARMAVITE LLC           13699 COLLECTIONS CENTER DR                                                     CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      11/28/2018         $11,581.49

PHARMAVITE LLC           13699 COLLECTIONS CENTER DR                                                     CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      11/30/2018         $33,528.44

PHARMAVITE LLC           13699 COLLECTIONS CENTER DR                                                     CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS       12/3/2018            $911.08

PHARMAVITE LLC           13699 COLLECTIONS CENTER DR                                                     CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      12/13/2018            $496.83

PHARMAVITE LLC           13699 COLLECTIONS CENTER DR                                                     CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      12/18/2018         $79,493.33

PHARMAVITE LLC           13699 COLLECTIONS CENTER DR                                                     CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      12/20/2018         $19,102.85

PHARMAVITE LLC           13699 COLLECTIONS CENTER DR                                                     CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      12/21/2018         $16,451.92

PHARMAVITE LLC           13699 COLLECTIONS CENTER DR                                                     CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      12/27/2018           $8,255.52

PHARMSERV SOLUTIONS LLC 4225 FLEUR DRIVE STE 118                                                         DES MOINES          IA           50321                                  SUPPLIERS OR VENDORS      10/25/2018           $2,551.54
PHIL MILLER             2508 WAYNE ST                                                                    BELLEVUE            NE           68005                                  SUPPLIERS OR VENDORS      12/10/2018              $11.78
PHIL MILLER             2508 WAYNE ST                                                                    BELLEVUE            NE           68005                                  SUPPLIERS OR VENDORS      12/13/2018              $47.14

PHILIP BARTHOLOMEW       STORE 688                     SHOPKO EMPLOYEE        413 W HURON STREET         MISSOURI VALLEY     IA           51555                                  SUPPLIERS OR VENDORS      10/26/2018             $138.43
PHILIP WESTRICH          1032 PROSPECT STREET                                                            NIAGARA             WI           54151                                  SUPPLIERS OR VENDORS      11/30/2018               $9.76
PHILIPP AUGUSTINE        112 HURON AVE                                                                   OCONTO              WI           54153                                  SUPPLIERS OR VENDORS       11/7/2018              $25.00
PHILLIP BONDE            152 GEBHART AVE                                                                 KIEL                WI           53042                                  SUPPLIERS OR VENDORS      11/14/2018               $5.00
PHILLIP COLLALTI         616 ORDWAY                                                                      FREEPORT            IL           61032                                  SUPPLIERS OR VENDORS      10/31/2018               $2.00
PHILLIP PRUSAK           W3141 STATE RD 37                                                               EAU CLAIRE          WI           54701                                  SUPPLIERS OR VENDORS       11/1/2018              $42.12
PHILLIP SPRANGERS        1029 MELISSA ST.                                                                MENASHA             WI           54952                                  SUPPLIERS OR VENDORS      10/31/2018              $36.78
PHILLIP STETTINGER       1919 SOUTH 40TH SUITE 315                                                       LINCOLN             NE           68506                                  SUPPLIERS OR VENDORS       11/1/2018           $3,000.00
PHILLIP STETTINGER       1919 SOUTH 40TH SUITE 315                                                       LINCOLN             NE           68506                                  SUPPLIERS OR VENDORS       12/1/2018           $3,000.00



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PHILLIP WALL               583 E LAKE PARK PL                                                               LAKE MILLS          WI           53551                                  SUPPLIERS OR VENDORS        11/26/2018               $10.08
PHILLIP WALL               583 E LAKE PARK PL                                                               LAKE MILLS          WI           53551                                  SUPPLIERS OR VENDORS        11/26/2018               $40.32
PHILLIPS COUNTY
TREASURER                  PO BOX 372                                                                       PHILLIPSBURG        KS           67661                                  SUPPLIERS OR VENDORS        12/7/2018            $7,521.63
PHILLIPS PROPERTY
MAINTENANCE LLC            404 ALMEDA AVE                                                                   MINERVA             OH           44657                                  SUPPLIERS OR VENDORS       10/25/2018              $225.00
PHILLIPS VAN HEUSEN PVH
CORP                       PO BOX 643156                                                                    PITTSBURGH          PA           15264-3156                             SUPPLIERS OR VENDORS        11/5/2018           $50,915.33
PHILLIPSBURG CHAMBER OF
COMMERCE                   205 F STREET                                                                     PHILLIPSBURG        KS           67661                                  SUPPLIERS OR VENDORS       12/13/2018               $50.00

PHILLIPSBURG HIGH SCHOOL   410 S 7TH                                                                        PHILLPSBURG         KS           67661                                  SUPPLIERS OR VENDORS       11/14/2018               $60.00
PHOENIX LIMITED
PARTNERSHIP                PO BOX 5086                                                                      SHERIDAN            WY           82801                                  SUPPLIERS OR VENDORS       11/15/2018           $37,784.16
PHOENIX LIMITED
PARTNERSHIP                PO BOX 5086                                                                      SHERIDAN            WY           82801                                  SUPPLIERS OR VENDORS       12/17/2018           $39,583.21
PHOENIX PLAZA LLC          51 N EASTRIDGE DRIVE                                                             ST GEORGE           UT           84790                                  SUPPLIERS OR VENDORS       11/15/2018           $13,095.29
PHOENIX PLAZA LLC          51 N EASTRIDGE DRIVE                                                             ST GEORGE           UT           84790                                  SUPPLIERS OR VENDORS       12/19/2018           $13,095.29

PHOTO FILE INCORPORATED 333 North Bedford Rd.            Suite 130                                          Mount Kisco         NY           10549                                  SUPPLIERS OR VENDORS        11/8/2018            $2,842.17

PHOTO FILE INCORPORATED    333 North Bedford Rd.         Suite 130                                          Mount Kisco         NY           10549                                  SUPPLIERS OR VENDORS       11/15/2018           $30,876.00
PHYLLIS GOTHARD            3122 W. KUNKLE BLVD. #1                                                          FREEPORT            IL           61032                                  SUPPLIERS OR VENDORS       10/31/2018              $173.71
PHYLLIS PACKWOOD           12616 E. SKYVIEW AVENUE                                                          SPOKANE VALLEY      WA           99216                                  SUPPLIERS OR VENDORS       10/29/2018               $10.00
PHYLLIS SOUR               12009 STURGIS ROAD                                                               BLACK HAWK          SD           57718                                  SUPPLIERS OR VENDORS       12/10/2018                $8.32

PHYLLIS SPENCE             2100 EUCLID AVENUE, APT # 3                                                      LINCOLN             NE           68502                                  SUPPLIERS OR VENDORS        11/5/2018               $47.94

PHYLLIS SPENCE             2100 EUCLID AVENUE, APT # 3                                                      LINCOLN             NE           68502                                  SUPPLIERS OR VENDORS       11/12/2018               $11.98
PHYLLIS VALENTINE          PO BOX 291                    701 LODGE                                          EPWORTH             IA           52045                                  SUPPLIERS OR VENDORS       12/13/2018               $67.00
PHYSICIANS PLUS
INSURANCE CORP             ADJUSTMENT DEPT               PO BOX 2078                                        MADISON             WI           53701                                  SUPPLIERS OR VENDORS        11/7/2018               $19.85
PICK N SAVE                1505 MADISON AVENUE                                                              FORT ATKINSON       WI           53538                                  SUPPLIERS OR VENDORS        11/1/2018              $250.00
PICKRUHN & KILINSKI
ENTERPRISE                 514 COUNTY ROAD A                                                                MARATHON            WI           54448                                  SUPPLIERS OR VENDORS       11/15/2018           $21,887.75
PICKRUHN & KILINSKI
ENTERPRISE                 514 COUNTY ROAD A                                                                MARATHON            WI           54448                                  SUPPLIERS OR VENDORS       12/19/2018           $21,387.33
PICNIC TIME INC (C-HUB)    5131 MAUREEN LANE                                                                MOORPARK            CA           93021                                  SUPPLIERS OR VENDORS       10/18/2018               $29.50
PICNIC TIME INC (C-HUB)    5131 MAUREEN LANE                                                                MOORPARK            CA           93021                                  SUPPLIERS OR VENDORS        11/1/2018               $20.50
PICNIC TIME INC (C-HUB)    5131 MAUREEN LANE                                                                MOORPARK            CA           93021                                  SUPPLIERS OR VENDORS        11/8/2018               $62.00
PICNIC TIME INC (C-HUB)    5131 MAUREEN LANE                                                                MOORPARK            CA           93021                                  SUPPLIERS OR VENDORS       11/15/2018               $44.00
PICNIC TIME INC (C-HUB)    5131 MAUREEN LANE                                                                MOORPARK            CA           93021                                  SUPPLIERS OR VENDORS       11/22/2018               $24.50
PICNIC TIME INC (C-HUB)    5131 MAUREEN LANE                                                                MOORPARK            CA           93021                                  SUPPLIERS OR VENDORS       11/29/2018               $32.00

PIERCE BIOTECHNOLOGY INC   LEANNE CLAYTON                PO BOX 117                                         ROCKFORD            IL           61105                                  SUPPLIERS OR VENDORS        12/7/2018              $524.97
PIGGLY WIGGLY              80 PARK AVENUE                                                                   KIEL                WI           53042                                  SUPPLIERS OR VENDORS       12/21/2018              $330.57
PILOT CORPORATION OF
AMERICA                    DEPT 0271 PO BOX 120271                                                          DALLAS              TX           75312-0271                             SUPPLIERS OR VENDORS       10/18/2018           $12,451.18
PILOT CORPORATION OF
AMERICA                    DEPT 0271 PO BOX 120271                                                          DALLAS              TX           75312-0271                             SUPPLIERS OR VENDORS       10/25/2018            $6,821.31
PILOT CORPORATION OF
AMERICA                    DEPT 0271 PO BOX 120271                                                          DALLAS              TX           75312-0271                             SUPPLIERS OR VENDORS        11/1/2018            $6,555.39
PILOT CORPORATION OF
AMERICA                    DEPT 0271 PO BOX 120271                                                          DALLAS              TX           75312-0271                             SUPPLIERS OR VENDORS        11/8/2018           $10,335.61



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                                                                                                                                                                                 Reasons for payment or    Dates of    Total Amount or
       Creditor Name                 Address1               Address2                  Address3                   City            State       Zip              Country                   transfer          Payments           Value
PILOT CORPORATION OF
AMERICA                    DEPT 0271 PO BOX 120271                                                      DALLAS              TX           75312-0271                             SUPPLIERS OR VENDORS      11/15/2018           $8,023.18
PILOT CORPORATION OF
AMERICA                    DEPT 0271 PO BOX 120271                                                      DALLAS              TX           75312-0271                             SUPPLIERS OR VENDORS      11/22/2018           $2,891.59
PILOT CORPORATION OF
AMERICA                    DEPT 0271 PO BOX 120271                                                      DALLAS              TX           75312-0271                             SUPPLIERS OR VENDORS      11/29/2018           $2,713.87
PINE RIDGE MALL JC LLC     PO BOX 23                                                                    JEFFERSON CITY      MO           65109                                  SUPPLIERS OR VENDORS       11/1/2018             $281.74
PINE RIDGE MALL JC LLC     PO BOX 23                                                                    JEFFERSON CITY      MO           65109                                  SUPPLIERS OR VENDORS       12/1/2018             $281.74
PINE TREE COMMERCIAL
REALTY                     ROBIN PEORIA LLC           PO BOX 60470                                      CHARLOTTE           NC           28260-0253                             SUPPLIERS OR VENDORS       11/1/2018         $95,902.55
PINE TREE COMMERCIAL
REALTY                     ROBIN PEORIA LLC           PO BOX 60470                                      CHARLOTTE           NC           28260-0253                             SUPPLIERS OR VENDORS      11/27/2018         $73,047.15

PIONEER DISTRIBUTING INC PO BOX 118                                                                     GERING              NE           69341                                  SUPPLIERS OR VENDORS       11/1/2018            $392.75

PIONEER DISTRIBUTING INC PO BOX 118                                                                     GERING              NE           69341                                  SUPPLIERS OR VENDORS      11/15/2018            $292.90

PIONEER DISTRIBUTING INC   PO BOX 118                                                                   GERING              NE           69341                                  SUPPLIERS OR VENDORS      11/22/2018            $264.50
PIONEER IRRIGATION
DISTRICT                   P O BOX 426                                                                  CALDWELL            ID           83606                                  SUPPLIERS OR VENDORS      12/13/2018            $356.64
PIPCO COMPANIES LTD
INCORPORATED               1409 W ALTORFER DRIVE                                                        PEORIA              IL           61615                                  SUPPLIERS OR VENDORS      11/15/2018            $325.00
PIPCO COMPANIES LTD
INCORPORATED               1409 W ALTORFER DRIVE                                                        PEORIA              IL           61615                                  SUPPLIERS OR VENDORS      11/29/2018           $1,275.00
PIPESTONE BUILDING
MATERIALS INC              PO BOX 424                                                                   PIPESTONE           MN           56164                                  SUPPLIERS OR VENDORS      10/25/2018            $200.00
PIPESTONE BUILDING
MATERIALS INC              PO BOX 424                                                                   PIPESTONE           MN           56164                                  SUPPLIERS OR VENDORS       11/1/2018             $50.00
PIPESTONE BUILDING
MATERIALS INC              PO BOX 424                                                                   PIPESTONE           MN           56164                                  SUPPLIERS OR VENDORS      11/15/2018            $150.00
PIPESTONE BUILDING
MATERIALS INC              PO BOX 424                                                                   PIPESTONE           MN           56164                                  SUPPLIERS OR VENDORS      11/29/2018            $150.00
PIPESTONE BUILDING
MATERIALS INC              PO BOX 424                                                                   PIPESTONE           MN           56164                                  SUPPLIERS OR VENDORS      12/17/2018             $50.00
PIPESTONE PUBLISHING       PO BOX 277                                                                   PIPESTONE           MN           56164                                  SUPPLIERS OR VENDORS      10/24/2018             $14.50
PIPESTONE PUBLISHING       PO BOX 277                                                                   PIPESTONE           MN           56164                                  SUPPLIERS OR VENDORS      11/15/2018             $66.50
                                                      3900 VETERANS
PIPING ROCK HEALTH         RUDOLPH INVESTMENT GROUP   MEMORIAL HWY SUITE
PRODUCTS LLC               TRUST                      200                                               BOHEMIA             NY           11716                                  SUPPLIERS OR VENDORS      10/18/2018        $108,547.31
                                                      3900 VETERANS
PIPING ROCK HEALTH         RUDOLPH INVESTMENT GROUP   MEMORIAL HWY SUITE
PRODUCTS LLC               TRUST                      200                                               BOHEMIA             NY           11716                                  SUPPLIERS OR VENDORS      10/19/2018        $213,692.16
                                                      3900 VETERANS
PIPING ROCK HEALTH         RUDOLPH INVESTMENT GROUP   MEMORIAL HWY SUITE
PRODUCTS LLC               TRUST                      200                                               BOHEMIA             NY           11716                                  SUPPLIERS OR VENDORS      10/23/2018        $310,140.23
                                                      3900 VETERANS
PIPING ROCK HEALTH         RUDOLPH INVESTMENT GROUP   MEMORIAL HWY SUITE
PRODUCTS LLC               TRUST                      200                                               BOHEMIA             NY           11716                                  SUPPLIERS OR VENDORS      10/25/2018           $1,552.71
                                                      3900 VETERANS
PIPING ROCK HEALTH         RUDOLPH INVESTMENT GROUP   MEMORIAL HWY SUITE
PRODUCTS LLC               TRUST                      200                                               BOHEMIA             NY           11716                                  SUPPLIERS OR VENDORS      10/30/2018           $2,131.28
                                                      3900 VETERANS
PIPING ROCK HEALTH         RUDOLPH INVESTMENT GROUP   MEMORIAL HWY SUITE
PRODUCTS LLC               TRUST                      200                                               BOHEMIA             NY           11716                                  SUPPLIERS OR VENDORS       11/2/2018           $4,514.88



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                                                        3900 VETERANS
PIPING ROCK HEALTH          RUDOLPH INVESTMENT GROUP    MEMORIAL HWY SUITE
PRODUCTS LLC                TRUST                       200                                               BOHEMIA             NY           11716                                  SUPPLIERS OR VENDORS       11/8/2018         $11,898.93
                                                        3900 VETERANS
PIPING ROCK HEALTH          RUDOLPH INVESTMENT GROUP    MEMORIAL HWY SUITE
PRODUCTS LLC                TRUST                       200                                               BOHEMIA             NY           11716                                  SUPPLIERS OR VENDORS      11/13/2018            $545.56
                                                        3900 VETERANS
PIPING ROCK HEALTH          RUDOLPH INVESTMENT GROUP    MEMORIAL HWY SUITE
PRODUCTS LLC                TRUST                       200                                               BOHEMIA             NY           11716                                  SUPPLIERS OR VENDORS      11/15/2018           $3,114.93
                                                        3900 VETERANS
PIPING ROCK HEALTH          RUDOLPH INVESTMENT GROUP    MEMORIAL HWY SUITE
PRODUCTS LLC                TRUST                       200                                               BOHEMIA             NY           11716                                  SUPPLIERS OR VENDORS      11/16/2018           $4,849.42
                                                        3900 VETERANS
PIPING ROCK HEALTH          RUDOLPH INVESTMENT GROUP    MEMORIAL HWY SUITE
PRODUCTS LLC                TRUST                       200                                               BOHEMIA             NY           11716                                  SUPPLIERS OR VENDORS      11/22/2018           $2,588.41
                                                        3900 VETERANS
PIPING ROCK HEALTH          RUDOLPH INVESTMENT GROUP    MEMORIAL HWY SUITE
PRODUCTS LLC                TRUST                       200                                               BOHEMIA             NY           11716                                  SUPPLIERS OR VENDORS      11/23/2018           $7,681.84
                                                        3900 VETERANS
PIPING ROCK HEALTH          RUDOLPH INVESTMENT GROUP    MEMORIAL HWY SUITE
PRODUCTS LLC                TRUST                       200                                               BOHEMIA             NY           11716                                  SUPPLIERS OR VENDORS      11/29/2018           $5,184.67
                                                        3900 VETERANS
PIPING ROCK HEALTH          RUDOLPH INVESTMENT GROUP    MEMORIAL HWY SUITE
PRODUCTS LLC                TRUST                       200                                               BOHEMIA             NY           11716                                  SUPPLIERS OR VENDORS      11/30/2018           $9,017.86
PITNEY BOWES                PURCHASE POWER              PO BOX 371874                                     PITTSBURGH          PA           15250-7874                             SUPPLIERS OR VENDORS      11/12/2018             $568.20
PITNEY BOWES                PURCHASE POWER              PO BOX 371874                                     PITTSBURGH          PA           15250-7874                             SUPPLIERS OR VENDORS      12/13/2018             $541.98
PIZZA HUT                   506 SOUTH 25TH STREET                                                         NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS      12/18/2018             $165.00
PIZZA HUT                   HWY 136 EAST                                                                  MEMPHIS             MO           63555                                  SUPPLIERS OR VENDORS      12/20/2018             $100.00
PIZZA RANCH                 ATTN LORI ALLEN          102 S MAIN                                           CLARION             IA           50525                                  SUPPLIERS OR VENDORS      11/12/2018              $79.11
PIZZA RANCH                 ATTN LORI ALLEN          102 S MAIN                                           CLARION             IA           50525                                  SUPPLIERS OR VENDORS      11/12/2018              $79.11
PIZZA RANCH                 3010 S 84TH STREET                                                            OMAHA               NE           68124                                  SUPPLIERS OR VENDORS      12/19/2018             $200.00
PIZZA RANCH BILLINGS        2505 KING AVENUE WEST                                                         BILLINGS            MT           59102                                  SUPPLIERS OR VENDORS      11/16/2018             $389.97
PIZZA RANCH OF EAST SIOUX
FALLS                       PO BOX 409                                                                    BRANDON             SD           57005                                  SUPPLIERS OR VENDORS      10/25/2018            $223.92
PKY LAWN AND LANDSCAPE
INC                         2415 S 21ST STREET                                                            ESCANABA            MI           49829                                  SUPPLIERS OR VENDORS       11/1/2018            $240.00
PKY LAWN AND LANDSCAPE
INC                         2415 S 21ST STREET                                                            ESCANABA            MI           49829                                  SUPPLIERS OR VENDORS      11/29/2018            $120.00
                                                        609 2 CANTIAGUE ROCK
PL DEVELOPMENTS             ATTN ACCTS RECEIVABLE       ROAD                                              WESTBURY            NY           11590-0000                             SUPPLIERS OR VENDORS      10/25/2018           $4,081.69
                                                        609 2 CANTIAGUE ROCK
PL DEVELOPMENTS             ATTN ACCTS RECEIVABLE       ROAD                                              WESTBURY            NY           11590-0000                             SUPPLIERS OR VENDORS       11/1/2018           $2,989.15
                                                        609 2 CANTIAGUE ROCK
PL DEVELOPMENTS             ATTN ACCTS RECEIVABLE       ROAD                                              WESTBURY            NY           11590-0000                             SUPPLIERS OR VENDORS      11/15/2018           $2,376.93
                                                        609 2 CANTIAGUE ROCK
PL DEVELOPMENTS             ATTN ACCTS RECEIVABLE       ROAD                                              WESTBURY            NY           11590-0000                             SUPPLIERS OR VENDORS      11/29/2018             $253.02
PLADIS GLOBAL               10 BANK STREET SUITE 1011                                                     WHITE PLAINS        NY           10606                                  SUPPLIERS OR VENDORS      10/26/2018           $4,925.17
PLADIS GLOBAL               10 BANK STREET SUITE 1011                                                     WHITE PLAINS        NY           10606                                  SUPPLIERS OR VENDORS      11/23/2018           $4,675.78
PLADIS GLOBAL               10 BANK STREET SUITE 1011                                                     WHITE PLAINS        NY           10606                                  SUPPLIERS OR VENDORS      11/27/2018           $3,199.35
                            CIT GROUP COMMERCIAL
PLANAHEAD                   SERVICES INC                PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/7/2018           $5,866.50
PLANO MOLDING               431 E. South Street                                                           Plano               IL           60545                                  SUPPLIERS OR VENDORS      10/25/2018             $777.61
PLANO MOLDING               431 E. South Street                                                           Plano               IL           60545                                  SUPPLIERS OR VENDORS       11/1/2018           $1,090.90
PLANO MOLDING               431 E. South Street                                                           Plano               IL           60545                                  SUPPLIERS OR VENDORS       11/8/2018           $3,040.73



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PLANO MOLDING           431 E. South Street                                                           Plano                IL           60545                                 SUPPLIERS OR VENDORS        11/15/2018            $1,514.70
PLANO MOLDING           431 E. South Street                                                           Plano                IL           60545                                 SUPPLIERS OR VENDORS        11/22/2018            $3,445.70
PLANO MOLDING           431 E. South Street                                                           Plano                IL           60545                                 SUPPLIERS OR VENDORS        11/29/2018              $873.49
PLANO MOLDING           431 E. South Street                                                           Plano                IL           60545                                 SUPPLIERS OR VENDORS        11/29/2018            $2,992.26
                        DBA WILDGAME INNOVATIONS VICE PRESIDENT OF
PLANO MOLDING COMPANY LLC                        SALES                     601 FOUNTAIN PARKWAY GRAND PRARIE               TX           75050                                 SUPPLIERS OR VENDORS       10/18/2018           $11,345.96
                                                 202 SOUTH
PLANTATION PRODUCTS LLC VICE PRESIDENT OF SALES  WASHINGTON STREET                                    NORTON               MA           02766                                 SUPPLIERS OR VENDORS       10/18/2018            $1,204.68
                                                 202 SOUTH
PLANTATION PRODUCTS LLC VICE PRESIDENT OF SALES  WASHINGTON STREET                                    NORTON               MA           02766                                 SUPPLIERS OR VENDORS       10/25/2018              $561.12
                                                 202 SOUTH
PLANTATION PRODUCTS LLC VICE PRESIDENT OF SALES  WASHINGTON STREET                                    NORTON               MA           02766                                 SUPPLIERS OR VENDORS        11/1/2018              $329.68
                                                 202 SOUTH
PLANTATION PRODUCTS LLC VICE PRESIDENT OF SALES  WASHINGTON STREET                                    NORTON               MA           02766                                 SUPPLIERS OR VENDORS        11/8/2018              $137.45
                                                 202 SOUTH
PLANTATION PRODUCTS LLC VICE PRESIDENT OF SALES  WASHINGTON STREET                                    NORTON               MA           02766                                 SUPPLIERS OR VENDORS       11/15/2018              $114.32
                                                 202 SOUTH
PLANTATION PRODUCTS LLC VICE PRESIDENT OF SALES  WASHINGTON STREET                                    NORTON               MA           02766                                 SUPPLIERS OR VENDORS       11/22/2018               $71.24
                                                 202 SOUTH
PLANTATION PRODUCTS LLC VICE PRESIDENT OF SALES  WASHINGTON STREET                                    NORTON               MA           02766                                 SUPPLIERS OR VENDORS       11/29/2018               $27.20
PLASTIC DEVELOPMENT                                                                                                                                                           PURCHASE OF
GROUP                   24445 NORTHWESTERN HWY                                                        SOUTHFIELD           MI           48075                                 MERCHANDISE                10/26/2018          $198,711.00
PLASTIC DEVELOPMENT     24445 NORTHWESTERN HWY
GROUP LLC               STE 101                                                                       SOUTHFIELD           MI           48075                                 SUPPLIERS OR VENDORS       12/21/2018          $147,317.56
PLATTE COUNTY LEGACY
HOME                    100 19TH STREET                                                               WHEATLAND            WY           82201                                 SUPPLIERS OR VENDORS       10/24/2018               $64.27

PLATTE COUNTY TREASURER   806 9TH STREET                                                              WHEATLAND            WY           82201                                 SUPPLIERS OR VENDORS        11/6/2018            $8,569.67
PLATYPUSCO COM            2935 STOCKYARD RD L3                                                        MISSOULA             MT           59808                                 SUPPLIERS OR VENDORS       10/18/2018              $237.60
PLAYMONSTER LLC           1400 E INMAN PARKWAY                                                        BELOIT               WI           53511                                 SUPPLIERS OR VENDORS       10/18/2018            $8,729.46
PLAYMONSTER LLC           1400 E INMAN PARKWAY                                                        BELOIT               WI           53511                                 SUPPLIERS OR VENDORS       10/25/2018            $8,035.45
PLAYMONSTER LLC           1400 E INMAN PARKWAY                                                        BELOIT               WI           53511                                 SUPPLIERS OR VENDORS        11/1/2018            $2,098.68
PLAYMONSTER LLC           1400 E INMAN PARKWAY                                                        BELOIT               WI           53511                                 SUPPLIERS OR VENDORS       11/15/2018              $317.50
PLAYMONSTER LLC           1400 E INMAN PARKWAY                                                        BELOIT               WI           53511                                 SUPPLIERS OR VENDORS       11/22/2018            $6,306.00
PLAYMONSTER LLC           1400 E INMAN PARKWAY                                                        BELOIT               WI           53511                                 SUPPLIERS OR VENDORS       11/29/2018           $34,837.44
                          CIT GROUP COMMERCIAL
PLUGG LLC                 SERVICES INC              PO BOX 1036                                       CHARLOTTE            NC           28201-1036                            SUPPLIERS OR VENDORS       10/19/2018            $4,926.60
                          CIT GROUP COMMERCIAL
PLUGG LLC                 SERVICES INC              PO BOX 1036                                       CHARLOTTE            NC           28201-1036                            SUPPLIERS OR VENDORS       11/28/2018              $201.82
                          CIT GROUP COMMERCIAL
PLUGG LLC                 SERVICES INC              PO BOX 1036                                       CHARLOTTE            NC           28201-1036                            SUPPLIERS OR VENDORS        12/3/2018            $1,492.20
PLUMBING INNOVATIONS
INC                       PO BOX 338                                                                  WOLF POINT           MT           59201                                 SUPPLIERS OR VENDORS       11/15/2018              $250.00
PMI FOOD SERVICE          PO BOX 10567                                                                GREEN BAY            WI           54307-0567                            SUPPLIERS OR VENDORS       10/19/2018           $63,000.00
PMI FOOD SERVICE          PO BOX 10567                                                                GREEN BAY            WI           54307-0567                            SUPPLIERS OR VENDORS        11/2/2018            $2,465.00
POGYS CATERING            1230 AVON STREET                                                            LA CROSSE            WI           54603                                 SUPPLIERS OR VENDORS       12/13/2018              $483.06
                          MILKY WAY INTERNATIONAL
POLAR FOODS               TRADING CO                PO BOX 469                                        NORWALK              CA           90651-0469                            SUPPLIERS OR VENDORS       10/18/2018            $6,255.30
                          MILKY WAY INTERNATIONAL
POLAR FOODS               TRADING CO                PO BOX 469                                        NORWALK              CA           90651-0469                            SUPPLIERS OR VENDORS       10/25/2018            $5,613.11
                          MILKY WAY INTERNATIONAL
POLAR FOODS               TRADING CO                PO BOX 469                                        NORWALK              CA           90651-0469                            SUPPLIERS OR VENDORS        11/1/2018            $7,379.14
                          MILKY WAY INTERNATIONAL
POLAR FOODS               TRADING CO                PO BOX 469                                        NORWALK              CA           90651-0469                            SUPPLIERS OR VENDORS        11/8/2018            $2,234.64



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                          MILKY WAY INTERNATIONAL
POLAR FOODS               TRADING CO                  PO BOX 469                                         NORWALK             CA           90651-0469                             SUPPLIERS OR VENDORS      11/15/2018         $14,853.96
                          MILKY WAY INTERNATIONAL
POLAR FOODS               TRADING CO                  PO BOX 469                                         NORWALK             CA           90651-0469                             SUPPLIERS OR VENDORS      11/22/2018         $11,176.78
                          MILKY WAY INTERNATIONAL
POLAR FOODS               TRADING CO                  PO BOX 469                                         NORWALK             CA           90651-0469                             SUPPLIERS OR VENDORS      11/29/2018           $4,424.16
                          MILKY WAY INTERNATIONAL
POLAR FOODS               TRADING CO                  PO BOX 469                                         NORWALK             CA           90651-0469                             SUPPLIERS OR VENDORS      11/30/2018           $4,968.92
                          MILKY WAY INTERNATIONAL
POLAR FOODS               TRADING CO                  PO BOX 469                                         NORWALK             CA           90651-0469                             SUPPLIERS OR VENDORS       12/3/2018           $1,366.66
                          MILKY WAY INTERNATIONAL
POLAR FOODS               TRADING CO                  PO BOX 469                                         NORWALK             CA           90651-0469                             SUPPLIERS OR VENDORS       12/4/2018            $464.56
POLLY FELTON              839 E SOUTH ST                                                                 JEFFERSON           WI           53549                                  SUPPLIERS OR VENDORS      11/14/2018             $25.00
POLYGROUP TRADING                                                                                                                                                                PURCHASE OF
LIMITED                   UNIT 606, FAIRMONT HOUSE    8 COTTON TREE DRIVE                                PINGXIANG                                     HONG KONG                 MERCHANDISE               11/13/2018        $442,405.35
POMEROY COLLECTION
LIMITED                   4820 Blalock Road           Suite 101                                          Houston             TX           77041                                  SUPPLIERS OR VENDORS      10/18/2018            $963.00
POMEROY COLLECTION
LIMITED                   4820 Blalock Road           Suite 101                                          Houston             TX           77041                                  SUPPLIERS OR VENDORS      10/25/2018           $1,286.00
POMEROY COLLECTION
LIMITED                   4820 Blalock Road           Suite 101                                          Houston             TX           77041                                  SUPPLIERS OR VENDORS       11/1/2018           $1,508.78
POMEROY COLLECTION
LIMITED                   4820 Blalock Road           Suite 101                                          Houston             TX           77041                                  SUPPLIERS OR VENDORS       11/8/2018             $52.80
POMEROY COLLECTION
LIMITED                   4820 Blalock Road           Suite 101                                          Houston             TX           77041                                  SUPPLIERS OR VENDORS      11/15/2018           $1,893.00
POMEROY COLLECTION
LIMITED                   4820 Blalock Road           Suite 101                                          Houston             TX           77041                                  SUPPLIERS OR VENDORS      11/22/2018            $839.50
POMEROY COLLECTION
LIMITED                   4820 Blalock Road           Suite 101                                          Houston             TX           77041                                  SUPPLIERS OR VENDORS      11/29/2018           $4,980.50
                          875 PROSPECT STREET SUITE
PONTUS SK PORTFOLIO LLC   303                                                                            LA JOLLA            CA           92037                                  SUPPLIERS OR VENDORS       11/1/2018         $55,967.40
                          875 PROSPECT STREET SUITE
PONTUS SK PORTFOLIO LLC   303                                                                            LA JOLLA            CA           92037                                  SUPPLIERS OR VENDORS       12/4/2018         $55,967.40
POOF SLINKY
INCORPORATED              PO BOX 74008423                                                                CHICAGO             IL           60674-8423                             SUPPLIERS OR VENDORS      10/18/2018           $2,062.32
POOF SLINKY
INCORPORATED              PO BOX 74008423                                                                CHICAGO             IL           60674-8423                             SUPPLIERS OR VENDORS      10/25/2018           $3,551.56
POOF SLINKY
INCORPORATED              PO BOX 74008423                                                                CHICAGO             IL           60674-8423                             SUPPLIERS OR VENDORS       11/1/2018           $2,798.14
POOF SLINKY
INCORPORATED              PO BOX 74008423                                                                CHICAGO             IL           60674-8423                             SUPPLIERS OR VENDORS       11/8/2018            $830.34
POOF SLINKY
INCORPORATED              PO BOX 74008423                                                                CHICAGO             IL           60674-8423                             SUPPLIERS OR VENDORS      11/15/2018         $12,074.88
POOF SLINKY
INCORPORATED              PO BOX 74008423                                                                CHICAGO             IL           60674-8423                             SUPPLIERS OR VENDORS      11/22/2018           $1,601.56
POOF SLINKY
INCORPORATED              PO BOX 74008423                                                                CHICAGO             IL           60674-8423                             SUPPLIERS OR VENDORS      11/29/2018           $3,080.55

POPCHIPS INCORPORATED     ATTN ACCTS RECEIVABLE       5510 LINCOLN BLVD 425                              PLAYA VISTA         CA           90094                                  SUPPLIERS OR VENDORS      10/18/2018            $415.61

POPCHIPS INCORPORATED     ATTN ACCTS RECEIVABLE       5510 LINCOLN BLVD 425                              PLAYA VISTA         CA           90094                                  SUPPLIERS OR VENDORS      11/15/2018         $21,949.51
POPE COUNTY TRIBUNE       14 1ST AVENUE SE            PO BOX 157                                         GLENWOOD            MN           56334                                  SUPPLIERS OR VENDORS      10/23/2018            $329.00
POPE COUNTY TRIBUNE       14 1ST AVENUE SE            PO BOX 157                                         GLENWOOD            MN           56334                                  SUPPLIERS OR VENDORS      11/27/2018             $60.00




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                                                                                                                                                                               Reasons for payment or    Dates of    Total Amount or
      Creditor Name              Address1                 Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
POPE DISTRIBUTING
COMPANY                1600 W CHESTNUT                                                                ENID                OK           73703                                  SUPPLIERS OR VENDORS      12/20/2018            $140.60
POPSOCKETS LLC         3033 STERLING CIRCLE                                                           BOULDER             CO           80301                                  SUPPLIERS OR VENDORS      10/25/2018          $2,278.60
POPSOCKETS LLC         3033 STERLING CIRCLE                                                           BOULDER             CO           80301                                  SUPPLIERS OR VENDORS      10/30/2018         $13,680.00
POPSOCKETS LLC         3033 STERLING CIRCLE                                                           BOULDER             CO           80301                                  SUPPLIERS OR VENDORS       11/6/2018         $54,000.00
POPSOCKETS LLC         3033 STERLING CIRCLE                                                           BOULDER             CO           80301                                  SUPPLIERS OR VENDORS       12/4/2018        $136,278.80
                       DSJ ACQUISITION
PORT LOGISTICS GROUP   INCORPORATED                3711 142ND AVENUE EA                               SUMNER              WA           98390                                  SUPPLIERS OR VENDORS      10/19/2018        $103,430.00
                       DSJ ACQUISITION
PORT LOGISTICS GROUP   INCORPORATED                3711 142ND AVENUE EA                               SUMNER              WA           98390                                  SUPPLIERS OR VENDORS      10/26/2018        $113,316.92
                       DSJ ACQUISITION
PORT LOGISTICS GROUP   INCORPORATED                3711 142ND AVENUE EA                               SUMNER              WA           98390                                  SUPPLIERS OR VENDORS       11/2/2018           $3,680.12
                       DSJ ACQUISITION
PORT LOGISTICS GROUP   INCORPORATED                3711 142ND AVENUE EA                               SUMNER              WA           98390                                  SUPPLIERS OR VENDORS       11/2/2018        $165,592.88
                       DSJ ACQUISITION
PORT LOGISTICS GROUP   INCORPORATED                3711 142ND AVENUE EA                               SUMNER              WA           98390                                  SUPPLIERS OR VENDORS       11/9/2018         $88,345.35
                       DSJ ACQUISITION
PORT LOGISTICS GROUP   INCORPORATED                3711 142ND AVENUE EA                               SUMNER              WA           98390                                  SUPPLIERS OR VENDORS      11/16/2018           $9,415.82
                       DSJ ACQUISITION
PORT LOGISTICS GROUP   INCORPORATED                3711 142ND AVENUE EA                               SUMNER              WA           98390                                  SUPPLIERS OR VENDORS      11/30/2018            $467.46
                       DSJ ACQUISITION
PORT LOGISTICS GROUP   INCORPORATED                3711 142ND AVENUE EA                               SUMNER              WA           98390                                  SUPPLIERS OR VENDORS      11/30/2018        $123,757.52
                       DSJ ACQUISITION
PORT LOGISTICS GROUP   INCORPORATED                3711 142ND AVENUE EA                               SUMNER              WA           98390                                  SUPPLIERS OR VENDORS      12/12/2018           $4,715.51
                       DSJ ACQUISITION
PORT LOGISTICS GROUP   INCORPORATED                3711 142ND AVENUE EA                               SUMNER              WA           98390                                  SUPPLIERS OR VENDORS      12/13/2018           $2,304.53
                       DSJ ACQUISITION
PORT LOGISTICS GROUP   INCORPORATED                3711 142ND AVENUE EA                               SUMNER              WA           98390                                  SUPPLIERS OR VENDORS      12/20/2018           $8,773.51
PORT PUBLICATIONS                                                                                     PORT
INCORPORATED           PO BOX 249                                                                     WASHINGTON          WI           53074                                  SUPPLIERS OR VENDORS      10/18/2018            $420.18
PORT PUBLICATIONS                                                                                     PORT
INCORPORATED           PO BOX 249                                                                     WASHINGTON          WI           53074                                  SUPPLIERS OR VENDORS      11/15/2018            $348.66
POST CRESCENT          PO BOX 59                                                                      APPLETON            WI           54912-0059                             SUPPLIERS OR VENDORS       11/8/2018            $211.68
POWER DISTRIBUTING     185 INDUSTRIAL DRIVE        PAM TO ORACLE                                      ELMHURST            IL           60126                                  SUPPLIERS OR VENDORS      10/18/2018            $245.40
POWER DISTRIBUTING     185 INDUSTRIAL DRIVE        PAM TO ORACLE                                      ELMHURST            IL           60126                                  SUPPLIERS OR VENDORS      10/25/2018            $116.70
POWER DISTRIBUTING     185 INDUSTRIAL DRIVE        PAM TO ORACLE                                      ELMHURST            IL           60126                                  SUPPLIERS OR VENDORS       11/1/2018            $299.70
POWER DISTRIBUTING     185 INDUSTRIAL DRIVE        PAM TO ORACLE                                      ELMHURST            IL           60126                                  SUPPLIERS OR VENDORS       11/8/2018            $495.80
POWER DISTRIBUTING     185 INDUSTRIAL DRIVE        PAM TO ORACLE                                      ELMHURST            IL           60126                                  SUPPLIERS OR VENDORS      11/15/2018             $24.70
POWER DISTRIBUTING     185 INDUSTRIAL DRIVE        PAM TO ORACLE                                      ELMHURST            IL           60126                                  SUPPLIERS OR VENDORS      12/20/2018            $921.87
POWER DISTRIBUTING     185 INDUSTRIAL DRIVE        PAM TO ORACLE                                      ELMHURST            IL           60126                                  SUPPLIERS OR VENDORS      12/27/2018            $229.90
                       1 NORTH DEARBORN ST SUITE
POWER REVIEWS          800                                                                            CHICAGO             IL           60602                                  SUPPLIERS OR VENDORS       11/1/2018           $5,275.00
PPG YUMA LLC           SCOTT J PETERSON            1577 ZINC STREET                                   LOVELAND            CO           80537                                  SUPPLIERS OR VENDORS      11/10/2018           $3,333.33
PPG YUMA LLC           SCOTT J PETERSON            1577 ZINC STREET                                   LOVELAND            CO           80537                                  SUPPLIERS OR VENDORS       12/8/2018           $3,333.33
PRACTICAL SYSTEMS
INCORPORATED           DEPT AT 952647                                                                 ATLANTA             GA           31192-2647                             SUPPLIERS OR VENDORS      10/19/2018            $377.38
PRACTICAL SYSTEMS
INCORPORATED           DEPT AT 952647                                                                 ATLANTA             GA           31192-2647                             SUPPLIERS OR VENDORS      10/23/2018             $34.72
PRACTICAL SYSTEMS
INCORPORATED           DEPT AT 952647                                                                 ATLANTA             GA           31192-2647                             SUPPLIERS OR VENDORS      10/26/2018           $2,520.00
PRACTICAL SYSTEMS
INCORPORATED           DEPT AT 952647                                                                 ATLANTA             GA           31192-2647                             SUPPLIERS OR VENDORS      11/16/2018             $66.36
PRACTICAL SYSTEMS
INCORPORATED           0                           DEPT AT 952647                                     ATLANTA             GA           31192-2647                             SUPPLIERS OR VENDORS       12/5/2018               $1.00



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                                                                                                                                                                              Reasons for payment or    Dates of    Total Amount or
       Creditor Name                    Address1         Address2                  Address3                   City            State       Zip              Country                   transfer          Payments           Value
PRAIRIE COMMUNITY
SERVICE EASTWOOD            101 FIREWOOD DR                                                          REDWOOD FALLS       MN           56283                                  SUPPLIERS OR VENDORS      11/26/2018             $49.99

PRAIRIE PRIDE COOPERATIVE   1100 E MAIN                                                              MARSHALL            MN           56258                                  SUPPLIERS OR VENDORS      11/29/2018             $35.61
PRAXIE BUNCE                1135 MANSFIELD ST                                                        CHIPPEWA FALLS      WI           54729                                  SUPPLIERS OR VENDORS      10/24/2018             $42.24
PRAXIE BUNCE                1135 MANSFIELD ST                                                        CHIPPEWA FALLS      WI           54729                                  SUPPLIERS OR VENDORS      10/29/2018             $10.56
PRECILA MAGTANONG           1907-A WISCONSIN AVE                                                     NEW HOLSTEIN        WI           53061                                  SUPPLIERS OR VENDORS      11/12/2018             $46.98

PRECISION LANDSCAPE INC     PO BOX 84                                                                ELEROY              IL           61027                                  SUPPLIERS OR VENDORS       11/1/2018            $320.00

PRECISION LANDSCAPE INC     PO BOX 84                                                                ELEROY              IL           61027                                  SUPPLIERS OR VENDORS      12/17/2018            $160.00
PRECISION TOOL
TECHNOLOGIES INC            PO BOX 763                                                               BRAINERD            MN           56401                                  SUPPLIERS OR VENDORS      10/19/2018           $1,709.75
PRECISION TOOL
TECHNOLOGIES INC            PO BOX 763                                                               BRAINERD            MN           56401                                  SUPPLIERS OR VENDORS       11/2/2018            $596.25

PREMIER CARE INDUSTRIES
DBA PRECARE CORP            150 MARCUS BLVD                                                          HAUPPAGE            NY           11788-0000                             SUPPLIERS OR VENDORS      10/18/2018         $36,853.13

PREMIER CARE INDUSTRIES
DBA PRECARE CORP            150 MARCUS BLVD                                                          HAUPPAGE            NY           11788-0000                             SUPPLIERS OR VENDORS      10/25/2018           $9,229.64

PREMIER CARE INDUSTRIES
DBA PRECARE CORP            150 MARCUS BLVD                                                          HAUPPAGE            NY           11788-0000                             SUPPLIERS OR VENDORS       11/8/2018         $18,362.54

PREMIER CARE INDUSTRIES
DBA PRECARE CORP            150 MARCUS BLVD                                                          HAUPPAGE            NY           11788-0000                             SUPPLIERS OR VENDORS      11/29/2018         $28,441.00
PREMIER LANDSCAPE
SERVICES INCORPORATED       10014 E MONTGOMERY 9                                                     SPOKANE             WA           99206                                  SUPPLIERS OR VENDORS      10/18/2018            $535.67
PREMIER LANDSCAPE
SERVICES INCORPORATED       10014 E MONTGOMERY 9                                                     SPOKANE             WA           99206                                  SUPPLIERS OR VENDORS      10/25/2018            $141.42
PREMIER LANDSCAPE
SERVICES INCORPORATED       10014 E MONTGOMERY 9                                                     SPOKANE             WA           99206                                  SUPPLIERS OR VENDORS       11/1/2018            $783.28
PREMIER LANDSCAPE
SERVICES INCORPORATED       10014 E MONTGOMERY 9                                                     SPOKANE             WA           99206                                  SUPPLIERS OR VENDORS      11/15/2018            $108.79
PREMIER LANDSCAPE
SERVICES INCORPORATED       10014 E MONTGOMERY 9                                                     SPOKANE             WA           99206                                  SUPPLIERS OR VENDORS      11/29/2018            $391.64
PREMIER MIDWEST DBA
NEBRASKA DISTRIBUTIN        FINTECH                SHOPKO STORES          PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/2/2018            $536.27
PREMIER MIDWEST DBA
NEBRASKA DISTRIBUTIN        FINTECH                SHOPKO STORES          PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/9/2018            $282.89
PREMIER MIDWEST DBA
NEBRASKA DISTRIBUTIN        FINTECH                SHOPKO STORES          PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/16/2018            $523.26
PREMIER MIDWEST DBA
NEBRASKA DISTRIBUTIN        FINTECH                SHOPKO STORES          PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/23/2018            $495.79
PREMIER MIDWEST DBA
NEBRASKA DISTRIBUTIN        FINTECH                SHOPKO STORES          PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/30/2018            $167.10
PREMIER MIDWEST DBA
NEBRASKA DISTRIBUTIN        FINTECH                SHOPKO STORES          PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/11/2018            $198.75
PREMIER MIDWEST DBA
NEBRASKA DISTRIBUTIN        FINTECH                SHOPKO STORES          PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/20/2018            $675.48
PREMIER MIDWEST DBA
NEBRASKA DISTRIBUTIN        FINTECH                SHOPKO STORES          PO BOX 19060               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/27/2018            $272.15




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      Creditor Name                Address1                Address2                  Address3                 City              State       Zip              Country                   transfer          Payments            Value
PREMIUM ASSIGNMENT
CORP                     3522 THOMASVILLE RD, #400                                                     TALLAHASSEE         FL           32309                                  INSURANCE FINANCING       10/31/2018         $137,314.02
PREMIUM ASSIGNMENT
CORP                     3522 THOMASVILLE RD, #400                                                     TALLAHASSEE         FL           32309                                  INSURANCE FINANCING       11/30/2018         $137,314.02
PREMIUM ASSIGNMENT
CORP                     3522 THOMASVILLE RD, #400                                                     TALLAHASSEE         FL           32309                                  INSURANCE FINANCING       12/31/2018         $137,214.02
PREMIUM ASSIGNMENT
CORP                     3522 THOMASVILLE RD, #400                                                     TALLAHASSEE         FL           32309                                  INSURANCE FINANCING       12/31/2018         $137,314.02
PREMIUM WATERS
INCORPORATED             2125 BROADWAY STREET NE                                                       MINNEAPOLIS         MN           55413-1718                             SUPPLIERS OR VENDORS      10/18/2018          $12,591.84
PREMIUM WATERS
INCORPORATED             2125 BROADWAY STREET NE                                                       MINNEAPOLIS         MN           55413-1718                             SUPPLIERS OR VENDORS      10/25/2018          $27,817.72
PREMIUM WATERS
INCORPORATED             2125 BROADWAY STREET NE                                                       MINNEAPOLIS         MN           55413-1718                             SUPPLIERS OR VENDORS       11/1/2018            $6,974.83
PREMIUM WATERS
INCORPORATED             2125 BROADWAY STREET NE                                                       MINNEAPOLIS         MN           55413-1718                             SUPPLIERS OR VENDORS       11/8/2018          $51,898.32
PREMIUM WATERS
INCORPORATED             2125 BROADWAY STREET NE                                                       MINNEAPOLIS         MN           55413-1718                             SUPPLIERS OR VENDORS      11/15/2018          $55,371.96
PREMIUM WATERS
INCORPORATED             2125 BROADWAY STREET NE                                                       MINNEAPOLIS         MN           55413-1718                             SUPPLIERS OR VENDORS      11/22/2018          $24,022.14
PREMIUM WATERS
INCORPORATED             2125 BROADWAY STREET NE                                                       MINNEAPOLIS         MN           55413-1718                             SUPPLIERS OR VENDORS      11/29/2018          $97,126.68
PRERELEASE CENTER        1019 15TH ST N                                                                GREATFALLS          MT           59405                                  SUPPLIERS OR VENDORS      11/16/2018              $21.89
PRERELEASE CENTER        1019 15TH ST N                                                                GREAT FALLS         MT           59405                                  SUPPLIERS OR VENDORS      12/14/2018              $85.62
PRESLEY BIWER            314 E PUERNER ST                                                              JEFFERSON           WI           53549                                  SUPPLIERS OR VENDORS      10/30/2018             $231.97
                                                                                                                                                                               PURCHASE OF
PRESTIGE GLOBAL CO PTE   102 W 38TH STREET                                                             NEW YORK            NY           10018                                  MERCHANDISE               10/22/2018         $322,944.90
                                                                                                                                                                               PURCHASE OF
PRESTIGE GLOBAL CO PTE   102 W 38TH STREET                                                             NEW YORK            NY           10018                                  MERCHANDISE               10/29/2018         $194,435.53
                                                                                                                                                                               PURCHASE OF
PRESTIGE GLOBAL CO PTE   102 W 38TH STREET                                                             NEW YORK            NY           10018                                  MERCHANDISE                11/5/2018         $405,667.31
                                                                                                                                                                               PURCHASE OF
PRESTIGE GLOBAL CO PTE   102 W 38TH STREET                                                             NEW YORK            NY           10018                                  MERCHANDISE               11/13/2018         $464,751.18
                                                                                                                                                                               PURCHASE OF
PRESTIGE GLOBAL CO PTE   102 W 38TH STREET                                                             NEW YORK            NY           10018                                  MERCHANDISE               11/21/2018         $504,919.30
                                                                                                                                                                               PURCHASE OF
PRESTIGE GLOBAL CO PTE   102 W 38TH STREET                                                             NEW YORK            NY           10018                                  MERCHANDISE               11/26/2018         $265,704.56
                                                                                                                                                                               PURCHASE OF
PRESTIGE GLOBAL CO PTE   102 W 38TH STREET                                                             NEW YORK            NY           10018                                  MERCHANDISE                12/3/2018          $41,317.12
PRESTIGE GLOBAL CO PTE   102 W 38TH STREET                                                             NEW YORK            NY           10018                                                            12/10/2018         $176,939.22
PRESTIGE GLOBAL CO PTE   102 W 38TH STREET                                                             NEW YORK            NY           10018                                                            12/18/2018         $580,929.68
PRESTIGE GLOBAL CO PTE   102 W 38TH STREET                                                             NEW YORK            NY           10018                                                            12/26/2018         $229,359.20

PRESTO-X INCORPORATED    PO BOX 13848                                                                  READING             PA           19612                                  SUPPLIERS OR VENDORS       11/9/2018             $469.89
PRICEWATERHOUSECOOPER
S LLP                    PO BOX 75648                                                                  CHICAGO             IL           75647                                  AUDIT SERVICES               1/9/2019        $469,500.00
PRICEWATERHOUSECOOPER
S LLP                    PO BOX 75647                                                                  CHICAGO             IL           75647                                  AUDIT SERVICES             1/14/2019         $107,800.00
PRIDE TRANSPORT
INCORPORATED             NW 7939                     PO BOX 1450                                       MINNEAPOLIS         MN           55485-7939                             SUPPLIERS OR VENDORS      10/18/2018            $7,854.43
PRIDE TRANSPORT
INCORPORATED             NW 7939                     PO BOX 1450                                       MINNEAPOLIS         MN           55485-7939                             SUPPLIERS OR VENDORS      10/25/2018          $12,211.67
PRIDE TRANSPORT
INCORPORATED             NW 7939                     PO BOX 1450                                       MINNEAPOLIS         MN           55485-7939                             SUPPLIERS OR VENDORS       11/1/2018            $7,404.32



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PRIDE TRANSPORT
INCORPORATED              NW 7939                     PO BOX 1450                                       MINNEAPOLIS         MN           55485-7939                             SUPPLIERS OR VENDORS       11/8/2018          $11,476.44
PRIDE TRANSPORT
INCORPORATED              NW 7939                     PO BOX 1450                                       MINNEAPOLIS         MN           55485-7939                             SUPPLIERS OR VENDORS      11/15/2018          $10,359.99
PRIDE TRANSPORT
INCORPORATED              NW 7939                     PO BOX 1450                                       MINNEAPOLIS         MN           55485-7939                             SUPPLIERS OR VENDORS      11/29/2018          $21,059.58
PRIDE TRANSPORT
INCORPORATED              NW 7939                     PO BOX 1450                                       MINNEAPOLIS         MN           55485-7939                             SUPPLIERS OR VENDORS       12/7/2018          $10,304.27
PRIDE TRANSPORT
INCORPORATED              NW 7939                     PO BOX 1450                                       MINNEAPOLIS         MN           55485-7939                             SUPPLIERS OR VENDORS      12/10/2018            $5,775.81
PRIDE TRANSPORT
INCORPORATED              NW 7939                     PO BOX 1450                                       MINNEAPOLIS         MN           55485-7939                             SUPPLIERS OR VENDORS      12/13/2018            $1,647.14
PRIDE TRANSPORT
INCORPORATED              NW 7939                     PO BOX 1450                                       MINNEAPOLIS         MN           55485-7939                             SUPPLIERS OR VENDORS      12/17/2018            $1,425.62
PRIDE TRANSPORT
INCORPORATED              NW 7939                     PO BOX 1450                                       MINNEAPOLIS         MN           55485-7939                             SUPPLIERS OR VENDORS      12/19/2018          $13,276.80
PRIDE TRANSPORT
INCORPORATED              NW 7939                     PO BOX 1450                                       MINNEAPOLIS         MN           55485-7939                             SUPPLIERS OR VENDORS      12/27/2018            $7,629.84
PRIDE TRANSPORT
INCORPORATED              NW 7939                     PO BOX 1450                                       MINNEAPOLIS         MN           55485-7939                             SUPPLIERS OR VENDORS         1/3/2019           $5,042.43
PRIDE TRANSPORT
INCORPORATED              NW 7939                     PO BOX 1450                                       MINNEAPOLIS         MN           55485-7939                             SUPPLIERS OR VENDORS        1/4/2019           $3,388.27
PRIMARY ONE               66 31 OTTO ROAD                                                               GLENDALE            NY           11385                                  SUPPLIERS OR VENDORS      10/18/2018               $9.73
PRIMARY ONE               66 31 OTTO ROAD                                                               GLENDALE            NY           11385                                  SUPPLIERS OR VENDORS       11/1/2018              $23.95
PRIMARY ONE               66 31 OTTO ROAD                                                               GLENDALE            NY           11385                                  SUPPLIERS OR VENDORS       11/8/2018              $79.90
PRIMARY ONE               66 31 OTTO ROAD                                                               GLENDALE            NY           11385                                  SUPPLIERS OR VENDORS      11/15/2018              $22.17
PRIMARY ONE               66 31 OTTO ROAD                                                               GLENDALE            NY           11385                                  SUPPLIERS OR VENDORS      11/29/2018              $17.01
PRIME CLERK LLC           830 3RD AVE, STE 300                                                          NEW YORK            NY           10022                                  BANKRUPTCY SERVICES         1/8/2019          $40,000.00
PRIMITIVES BY KATHY INC   1817 WILLIAM PENN WAY                                                         LANCASTER           PA           17601                                  SUPPLIERS OR VENDORS      10/18/2018           $3,780.00
PRIMO INTERNATIONAL       7000 RUE HOCHELAGA                                                            MONTREAL            QC           H1N 1Y7      CANADA                    SUPPLIERS OR VENDORS      10/19/2018          $10,754.28
PRIMO INTERNATIONAL       7000 RUE HOCHELAGA                                                            MONTREAL            QC           H1N 1Y7      CANADA                    SUPPLIERS OR VENDORS       11/1/2018          $31,265.28
PRIMO INTERNATIONAL       7000 RUE HOCHELAGA                                                            MONTREAL            QC           H1N 1Y7      CANADA                    SUPPLIERS OR VENDORS      11/22/2018          $54,304.00
PRIMO INTERNATIONAL       7000 RUE HOCHELAGA                                                            MONTREAL            QC           H1N 1Y7      CANADA                    SUPPLIERS OR VENDORS        1/8/2019          $31,265.28
PRIMO WATER
CORPORATION               101 N CHERRY ST SUITE 501                                                     WINSTON SALEM       NC           27101                                  SUPPLIERS OR VENDORS      10/20/2018             $279.75
PRIMO WATER
CORPORATION               101 N CHERRY ST SUITE 501                                                     WINSTON SALEM       NC           27101                                  SUPPLIERS OR VENDORS      10/27/2018             $323.95
PRIMO WATER
CORPORATION               101 N CHERRY ST SUITE 501                                                     WINSTON SALEM       NC           27101                                  SUPPLIERS OR VENDORS       11/3/2018             $249.55
PRIMO WATER
CORPORATION               101 N CHERRY ST SUITE 501                                                     WINSTON SALEM       NC           27101                                  SUPPLIERS OR VENDORS      11/10/2018             $318.55
PRIMO WATER
CORPORATION               101 N CHERRY ST SUITE 501                                                     WINSTON SALEM       NC           27101                                  SUPPLIERS OR VENDORS      11/17/2018             $295.40
PRIMO WATER
CORPORATION               101 N CHERRY ST SUITE 501                                                     WINSTON SALEM       NC           27101                                  SUPPLIERS OR VENDORS      11/24/2018             $290.00
PRIMO WATER
CORPORATION               101 N CHERRY ST SUITE 501                                                     WINSTON SALEM       NC           27101                                  SUPPLIERS OR VENDORS       12/1/2018             $285.15
PRISCILLA GONZALEZ        STORE 2-092                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/25/2018              $67.58
PRISCILLA GONZALEZ        STORE 2-092                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/8/2018              $33.79
PRISCILLA GONZALEZ        STORE 2-092                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/29/2018             $135.16

PRISCILLA TUTTLE          160 EDGAR FROMBERG ROAD                                                       FROMBERG            MT           59029                                  SUPPLIERS OR VENDORS      11/14/2018              $35.00
PRO ELECTRIC
INCORPORATED              1616 MT EVANS DRIVE                                                           LEADVILLE           CO           80461                                  SUPPLIERS OR VENDORS       11/8/2018             $395.24



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                                                                                                                                                                                 Reasons for payment or    Dates of    Total Amount or
       Creditor Name                Address1                Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
PRO LAWNS & LANDSCAPING
LLC                       1001 E CORNING STREET                                                         RED OAK             IA           51566                                  SUPPLIERS OR VENDORS       11/9/2018             $96.30
PRO LAWNS & LANDSCAPING
LLC                       1001 E CORNING STREET                                                         RED OAK             IA           51566                                  SUPPLIERS OR VENDORS      12/14/2018             $64.20
PRO MAINTENANCE           ERNEST EDWARD ALBERS III    2800 E 14TH STREET                                SIOUX FALLS         SD           57103                                  SUPPLIERS OR VENDORS      11/26/2018            $363.00
PRO SHINE CLEAN           RICHARD PARKE               1330 LOVERS LEAP RD                               DILLON              MT           59725                                  SUPPLIERS OR VENDORS      11/15/2018            $624.00
PROCARE PHARMACY
BENEFIT MANAGER INC       1267 PROFESSIONAL PARKWAY                                                     GAINESVILLE         GA           30507                                  SUPPLIERS OR VENDORS       11/1/2018           $2,532.20
PROCARE PHARMACY
BENEFIT MANAGER INC       1267 PROFESSIONAL PARKWAY                                                     GAINESVILLE         GA           30507                                  SUPPLIERS OR VENDORS      11/29/2018           $2,557.40
PROCESS RETAIL GROUP
INCORPORATED              ACCENT DIVISION             PO BOX 599                                        KENOSHA             WI           53141-0599                             SUPPLIERS OR VENDORS      12/14/2018             $54.81
PROCTER & GAMBLE
DISTRIBUTING              PO BOX 73414                                                                  CHICAGO             IL           60673-7414                             SUPPLIERS OR VENDORS      10/19/2018       $1,461,561.83
PROCTER & GAMBLE
DISTRIBUTING              PO BOX 73414                                                                  CHICAGO             IL           60673-7414                             SUPPLIERS OR VENDORS      10/20/2018        $159,892.98
PROCTER & GAMBLE
DISTRIBUTING              PO BOX 73414                                                                  CHICAGO             IL           60673-7414                             SUPPLIERS OR VENDORS      10/25/2018         $29,038.83
PROCTER & GAMBLE
DISTRIBUTING              PO BOX 73414                                                                  CHICAGO             IL           60673-7414                             SUPPLIERS OR VENDORS      10/26/2018        $765,424.58
PROCTER & GAMBLE
DISTRIBUTING              PO BOX 73414                                                                  CHICAGO             IL           60673-7414                             SUPPLIERS OR VENDORS      10/27/2018        $139,269.23
PROCTER & GAMBLE
DISTRIBUTING              PO BOX 73414                                                                  CHICAGO             IL           60673-7414                             SUPPLIERS OR VENDORS       11/2/2018       $1,226,657.33
PROCTER & GAMBLE
DISTRIBUTING              PO BOX 73414                                                                  CHICAGO             IL           60673-7414                             SUPPLIERS OR VENDORS       11/3/2018         $59,708.00
PROCTER & GAMBLE
DISTRIBUTING              PO BOX 73414                                                                  CHICAGO             IL           60673-7414                             SUPPLIERS OR VENDORS       11/7/2018             $17.32
PROCTER & GAMBLE
DISTRIBUTING              PO BOX 73414                                                                  CHICAGO             IL           60673-7414                             SUPPLIERS OR VENDORS       11/9/2018       $1,205,154.40
PROCTER & GAMBLE
DISTRIBUTING              PO BOX 73414                                                                  CHICAGO             IL           60673-7414                             SUPPLIERS OR VENDORS      11/10/2018        $281,866.30
PROCTER & GAMBLE
DISTRIBUTING              PO BOX 73414                                                                  CHICAGO             IL           60673-7414                             SUPPLIERS OR VENDORS      11/13/2018         $29,048.65
PROCTER & GAMBLE
DISTRIBUTING              PO BOX 73414                                                                  CHICAGO             IL           60673-7414                             SUPPLIERS OR VENDORS      11/14/2018           $1,524.84
PROCTER & GAMBLE
DISTRIBUTING              PO BOX 73414                                                                  CHICAGO             IL           60673-7414                             SUPPLIERS OR VENDORS      11/16/2018       $1,133,149.99
PROCTER & GAMBLE
DISTRIBUTING              PO BOX 73414                                                                  CHICAGO             IL           60673-7414                             SUPPLIERS OR VENDORS      11/17/2018        $272,867.83
PROCTER & GAMBLE
DISTRIBUTING              PO BOX 73414                                                                  CHICAGO             IL           60673-7414                             SUPPLIERS OR VENDORS      11/24/2018       $1,004,228.68
PROCTER & GAMBLE
DISTRIBUTING              PO BOX 73414                                                                  CHICAGO             IL           60673-7414                             SUPPLIERS OR VENDORS      11/29/2018           $1,845.95
PROCTER & GAMBLE
DISTRIBUTING              PO BOX 73414                                                                  CHICAGO             IL           60673-7414                             SUPPLIERS OR VENDORS      11/30/2018       $1,016,558.71
PROFESSIONAL BUSINESS
SYSTEMS                   PO BOX 420                                                                    OMRO                WI           54963-0420                             SUPPLIERS OR VENDORS      10/25/2018           $1,603.60
PROFESSIONAL BUSINESS
SYSTEMS                   PO BOX 420                                                                    OMRO                WI           54963-0420                             SUPPLIERS OR VENDORS      11/29/2018           $1,266.00

PROFOOT INCORPORATED      74 20TH STREET                                                                BROOKLYN            NY           11232-1101                             SUPPLIERS OR VENDORS      10/18/2018           $2,228.76

PROFOOT INCORPORATED      74 20TH STREET                                                                BROOKLYN            NY           11232-1101                             SUPPLIERS OR VENDORS      10/23/2018           $2,429.15



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PROFOOT INCORPORATED   74 20TH STREET                                                                 BROOKLYN            NY           11232-1101                             SUPPLIERS OR VENDORS      10/25/2018           $2,182.07

PROFOOT INCORPORATED   74 20TH STREET                                                                 BROOKLYN            NY           11232-1101                             SUPPLIERS OR VENDORS      10/30/2018           $1,089.21

PROFOOT INCORPORATED   74 20TH STREET                                                                 BROOKLYN            NY           11232-1101                             SUPPLIERS OR VENDORS       11/1/2018            $669.14

PROFOOT INCORPORATED   74 20TH STREET                                                                 BROOKLYN            NY           11232-1101                             SUPPLIERS OR VENDORS       11/6/2018           $3,633.96

PROFOOT INCORPORATED   74 20TH STREET                                                                 BROOKLYN            NY           11232-1101                             SUPPLIERS OR VENDORS      11/13/2018           $3,800.03

PROFOOT INCORPORATED   74 20TH STREET                                                                 BROOKLYN            NY           11232-1101                             SUPPLIERS OR VENDORS      11/27/2018           $5,190.46

PROFOOT INCORPORATED   74 20TH STREET                                                                 BROOKLYN            NY           11232-1101                             SUPPLIERS OR VENDORS      11/29/2018           $4,145.76

PROFOOT INCORPORATED   74 20TH STREET                                                                 BROOKLYN            NY           11232-1101                             SUPPLIERS OR VENDORS       12/4/2018            $643.16

PROFOOT INCORPORATED   74 20TH STREET                                                                 BROOKLYN            NY           11232-1101                             SUPPLIERS OR VENDORS       12/6/2018          $1,285.25
PROFUSION COSMETICS    5491 SCHAEFER AVE                                                              CHINO               CA           91710                                  SUPPLIERS OR VENDORS      10/19/2018         $49,011.18
PROFUSION COSMETICS    5491 SCHAEFER AVE                                                              CHINO               CA           91710                                  SUPPLIERS OR VENDORS      10/26/2018         $14,450.40
PROFUSION COSMETICS    5491 SCHAEFER AVE                                                              CHINO               CA           91710                                  SUPPLIERS OR VENDORS      11/23/2018         $11,291.16
PROGRESSIVE
INTERNATIONAL          PO BOX 911615                                                                  DENVER              CO           80291-1615                             SUPPLIERS OR VENDORS      10/18/2018           $2,049.78
PROGRESSIVE
INTERNATIONAL          PO BOX 911615                                                                  DENVER              CO           80291-1615                             SUPPLIERS OR VENDORS      10/25/2018           $5,390.91
PROGRESSIVE
INTERNATIONAL          PO BOX 911615                                                                  DENVER              CO           80291-1615                             SUPPLIERS OR VENDORS       11/1/2018           $3,733.36
PROGRESSIVE
INTERNATIONAL          PO BOX 911615                                                                  DENVER              CO           80291-1615                             SUPPLIERS OR VENDORS       11/8/2018           $1,963.70
PROGRESSIVE
INTERNATIONAL          PO BOX 911615                                                                  DENVER              CO           80291-1615                             SUPPLIERS OR VENDORS      11/15/2018           $6,304.49
PROGRESSIVE
INTERNATIONAL          PO BOX 911615                                                                  DENVER              CO           80291-1615                             SUPPLIERS OR VENDORS      11/22/2018           $6,916.08
PROGRESSIVE
INTERNATIONAL          PO BOX 911615                                                                  DENVER              CO           80291-1615                             SUPPLIERS OR VENDORS      11/29/2018            $778.82
                       5000 CENTREGREEN WAY SUITE
PROMIKA LLC            100                                                                            CARY                NC           27513                                  SUPPLIERS OR VENDORS      10/18/2018         $13,367.05
                       5000 CENTREGREEN WAY SUITE
PROMIKA LLC            100                                                                            CARY                NC           27513                                  SUPPLIERS OR VENDORS      10/25/2018           $8,410.82
                       5000 CENTREGREEN WAY SUITE
PROMIKA LLC            100                                                                            CARY                NC           27513                                  SUPPLIERS OR VENDORS       11/1/2018         $11,302.03
                       5000 CENTREGREEN WAY SUITE
PROMIKA LLC            100                                                                            CARY                NC           27513                                  SUPPLIERS OR VENDORS       11/8/2018           $1,421.88
                       5000 CENTREGREEN WAY SUITE
PROMIKA LLC            100                                                                            CARY                NC           27513                                  SUPPLIERS OR VENDORS      11/15/2018           $8,110.91
                       5000 CENTREGREEN WAY SUITE
PROMIKA LLC            100                                                                            CARY                NC           27513                                  SUPPLIERS OR VENDORS      11/22/2018         $12,235.21
                       5000 CENTREGREEN WAY SUITE
PROMIKA LLC            100                                                                            CARY                NC           27513                                  SUPPLIERS OR VENDORS      11/29/2018           $4,231.91

PROMOUNTS SCADLOCK LLC CRESTMARK BANK               DRAWER 1369            PO BOX 5935                TROY                MI           48007-5935                             SUPPLIERS OR VENDORS       11/1/2018           $4,239.83

PROMOUNTS SCADLOCK LLC CRESTMARK BANK               DRAWER 1369            PO BOX 5935                TROY                MI           48007-5935                             SUPPLIERS OR VENDORS      11/15/2018         $16,180.38




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PROMOUNTS SCADLOCK LLC    CRESTMARK BANK                DRAWER 1369            PO BOX 5935                TROY                MI           48007-5935                             SUPPLIERS OR VENDORS      11/22/2018         $17,034.90
PROTECT PLUS INDUSTRIES
LLC                       BIN 436902                    PO BOX 1207                                       INDIANAPOLIS        IN           46206-1207                             SUPPLIERS OR VENDORS      10/26/2018            $142.72
PROTECT PLUS INDUSTRIES
LLC                       BIN 436902                    PO BOX 1207                                       INDIANAPOLIS        IN           46206-1207                             SUPPLIERS OR VENDORS      10/30/2018             $71.36
PROTECTION ONE ALARM
MONITORING INC            PO BOX 872987                                                                   KANSAS CITY         MO           64187-2987                             SUPPLIERS OR VENDORS       11/1/2018           $4,880.85
PROTECTION ONE ALARM
MONITORING INC            PO BOX 872987                                                                   KANSAS CITY         MO           64187-2987                             SUPPLIERS OR VENDORS       11/8/2018            $782.69
PROTECTION ONE ALARM
MONITORING INC            PO BOX 872987                                                                   KANSAS CITY         MO           64187-2987                             SUPPLIERS OR VENDORS      11/29/2018           $2,607.98

PROVIDER PAY              3949 SOUTH 700 EAST STE 320                                                     SALT LAKE CITY      UT           84107                                  SUPPLIERS OR VENDORS      10/19/2018        $415,290.95

PROVIDER PAY              3949 SOUTH 700 EAST STE 320                                                     SALT LAKE CITY      UT           84107                                  SUPPLIERS OR VENDORS       11/2/2018       $1,080,113.18

PROVIDER PAY              3949 SOUTH 700 EAST STE 320                                                     SALT LAKE CITY      UT           84107                                  SUPPLIERS OR VENDORS      11/16/2018        $589,734.12
PSAB ENTERPRISES                                        13040 W LIBSON ROAD
INCORPORATED              MAHLER ENTERPRISES            SUITE 900                                         BROOKFIELD          WI           53005                                  SUPPLIERS OR VENDORS      10/26/2018            $200.00
PSAB ENTERPRISES                                        13040 W LIBSON ROAD
INCORPORATED              MAHLER ENTERPRISES            SUITE 900                                         BROOKFIELD          WI           53005                                  SUPPLIERS OR VENDORS      11/13/2018               $1.00
PSAB ENTERPRISES                                        13040 W LIBSON ROAD
INCORPORATED              MAHLER ENTERPRISES            SUITE 900                                         BROOKFIELD          WI           53005                                  SUPPLIERS OR VENDORS      11/13/2018         $13,070.00
PSAB ENTERPRISES                                        13040 W LIBSON ROAD
INCORPORATED              MAHLER ENTERPRISES            SUITE 900                                         BROOKFIELD          WI           53005                                  SUPPLIERS OR VENDORS      11/27/2018          $2,987.50
PSI SYSTEMS INC           PO BOX 206144                                                                   DALLAS              TX           75320-6144                             SUPPLIERS OR VENDORS      10/19/2018         $30,000.00
PSI SYSTEMS INC           PO BOX 206144                                                                   DALLAS              TX           75320-6144                             SUPPLIERS OR VENDORS      10/23/2018         $45,104.85
PSI SYSTEMS INC           PO BOX 206144                                                                   DALLAS              TX           75320-6144                             SUPPLIERS OR VENDORS      10/30/2018         $30,000.00
PSI SYSTEMS INC           PO BOX 206144                                                                   DALLAS              TX           75320-6144                             SUPPLIERS OR VENDORS       11/2/2018         $15,000.00
PSI SYSTEMS INC           PO BOX 206144                                                                   DALLAS              TX           75320-6144                             SUPPLIERS OR VENDORS       11/6/2018         $25,000.00
PSI SYSTEMS INC           PO BOX 206144                                                                   DALLAS              TX           75320-6144                             SUPPLIERS OR VENDORS      11/13/2018         $30,000.00
PSI SYSTEMS INC           PO BOX 206144                                                                   DALLAS              TX           75320-6144                             SUPPLIERS OR VENDORS      11/30/2018         $50,000.00
PSI SYSTEMS INC           PO BOX 206144                                                                   DALLAS              TX           75320-6144                             SUPPLIERS OR VENDORS       12/5/2018              $1.00
PSI SYSTEMS INC           PO BOX 206144                                                                   DALLAS              TX           75320-6144                             SUPPLIERS OR VENDORS      12/10/2018        $192,250.00
PSI SYSTEMS INC           PO BOX 206144                                                                   DALLAS              TX           75320-6144                             SUPPLIERS OR VENDORS        1/4/2019        $500,000.00
PSI SYSTEMS INC           PO BOX 206144                                                                   DALLAS              TX           75320-6144                             SUPPLIERS OR VENDORS        1/5/2019         $50,000.00
                          IDAHO-NORTH CENTRAL
PUBLIC HEALTH             DISTRICT                      215 10TH STREET                                   LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS       11/8/2018            $125.00
                          IDAHO-NORTH CENTRAL
PUBLIC HEALTH             DISTRICT                      105 115TH STREET                                  OROFINO             ID           83544                                  SUPPLIERS OR VENDORS       11/8/2018            $125.00
                          UNIT 8, 2ND FLOOR TOWER 1                                                                                                                               PURCHASE OF
PULEO ASIA LTD            HARBOUR CTR                   1 HOK CHEUNG STREET                               HUNG HOM                                      HONG KONG                 MERCHANDISE                11/6/2018        $204,946.85
                          UNIT 8, 2ND FLOOR TOWER 1                                                                                                                               PURCHASE OF
PULEO ASIA LTD            HARBOUR CTR                   1 HOK CHEUNG STREET                               HUNG HOM                                      HONG KONG                 MERCHANDISE               11/14/2018        $174,446.61
                          UNIT 8, 2ND FLOOR TOWER 1                                                                                                                               PURCHASE OF
PULEO ASIA LTD            HARBOUR CTR                   1 HOK CHEUNG STREET                               HUNG HOM                                      HONG KONG                 MERCHANDISE               12/10/2018         $34,747.22
PUMA KIDS DIVISION OF     CIT GROUP COMMERCIAL
PARIGI GROUP LTD          SERVICES INC                  PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      10/19/2018           $6,046.22
PUMA KIDS DIVISION OF     CIT GROUP COMMERCIAL
PARIGI GROUP LTD          SERVICES INC                  PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      10/23/2018        $737,515.02
PUMA KIDS DIVISION OF     CIT GROUP COMMERCIAL
PARIGI GROUP LTD          SERVICES INC                  PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      10/24/2018           $4,620.80




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PUMA KIDS DIVISION OF       CIT GROUP COMMERCIAL
PARIGI GROUP LTD            SERVICES INC                   PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      11/14/2018        $182,617.42
PURE AIR FILTER SALES AND
SERVICE                     PO BOX 9519                                                                      GREENWOOD           MS           38935-9519                             SUPPLIERS OR VENDORS       11/1/2018         $15,172.63
PURE AIR FILTER SALES AND
SERVICE                     PO BOX 9519                                                                      GREENWOOD           MS           38935-9519                             SUPPLIERS OR VENDORS       11/9/2018           $4,618.36
PURE AIR FILTER SALES AND
SERVICE                     PO BOX 9519                                                                      GREENWOOD           MS           38935-9519                             SUPPLIERS OR VENDORS      11/16/2018            $679.63
PURE AIR FILTER SALES AND
SERVICE                     PO BOX 9519                                                                      GREENWOOD           MS           38935-9519                             SUPPLIERS OR VENDORS      11/30/2018            $128.25

PURE GLOBAL BRANDS          10670 N CENTRAL EXPR STE 470                                                     DALLAS              TX           75231                                  SUPPLIERS OR VENDORS      10/25/2018             $12.95

PURE GLOBAL BRANDS          10670 N CENTRAL EXPR STE 470                                                     DALLAS              TX           75231                                  SUPPLIERS OR VENDORS       11/1/2018             $12.95

PURE GLOBAL BRANDS          10670 N CENTRAL EXPR STE 470                                                     DALLAS              TX           75231                                  SUPPLIERS OR VENDORS      11/15/2018             $13.96

PURE GLOBAL BRANDS          10670 N CENTRAL EXPR STE 470                                                     DALLAS              TX           75231                                  SUPPLIERS OR VENDORS      11/22/2018             $60.90

PURE GLOBAL BRANDS          10670 N CENTRAL EXPR STE 470                                                     DALLAS              TX           75231                                  SUPPLIERS OR VENDORS      11/29/2018             $19.95

PURE WATER TECHNOLOGY                                      1168 ASHWAUBENON
OF NORTHERN                 WISCONSIN INCORPORATED         STREET                                            GREEN BAY           WI           54304                                  SUPPLIERS OR VENDORS      10/18/2018             $31.65

PURE WATER TECHNOLOGY                                      1168 ASHWAUBENON
OF NORTHERN                 WISCONSIN INCORPORATED         STREET                                            GREEN BAY           WI           54304                                  SUPPLIERS OR VENDORS      11/29/2018             $31.65

PURE WATER TECHNOLOGY                                      1168 ASHWAUBENON
OF NORTHERN                 WISCONSIN INCORPORATED         STREET                                            GREEN BAY           WI           54304                                  SUPPLIERS OR VENDORS        1/4/2019              $31.65
PW RENTALS LLC              ROLAND WHITNEY                 PO BOX 1724                                       KEARNEY             NE           68848-1724                             SUPPLIERS OR VENDORS      11/30/2018             $160.50
QDOBA                       CHELSEA THOMPSON               951 29TH STREET SE                                WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS       11/7/2018             $537.50
QFX INC                     2957 E 46TH ST                                                                   VERNON              CA           90058                                  SUPPLIERS OR VENDORS      11/30/2018          $40,156.80
QS LAWN & PEST LLC          1501 ADAMS ST                                                                    EMMETSBURG          IA           50536                                  SUPPLIERS OR VENDORS      10/18/2018             $171.20
QUAD GRAPHICS INC           N61W23044 HARRY S WAY                                                            SUSSEX              WI           53089                                  ADVERTISING SERVICES        1/4/2019       $1,139,711.27
QUAD GRAPHICS               AMERICAN EXPRESS / BIP SEE
INCORPORATED                9111934002                     PO BOX 842858                                     BOSTON              MA           02284-2858                             SUPPLIERS OR VENDORS      10/19/2018         $39,583.42
QUAD GRAPHICS               AMERICAN EXPRESS / BIP SEE
INCORPORATED                9111934002                     PO BOX 842858                                     BOSTON              MA           02284-2858                             SUPPLIERS OR VENDORS      10/23/2018        $283,394.24
QUAD GRAPHICS               AMERICAN EXPRESS / BIP SEE
INCORPORATED                9111934002                     PO BOX 842858                                     BOSTON              MA           02284-2858                             SUPPLIERS OR VENDORS      10/26/2018        $308,321.24
QUAD GRAPHICS               AMERICAN EXPRESS / BIP SEE
INCORPORATED                9111934002                     PO BOX 842858                                     BOSTON              MA           02284-2858                             SUPPLIERS OR VENDORS      10/30/2018        $173,226.90
QUAD GRAPHICS               AMERICAN EXPRESS / BIP SEE
INCORPORATED                9111934002                     PO BOX 842858                                     BOSTON              MA           02284-2858                             SUPPLIERS OR VENDORS       11/2/2018         $49,127.05
QUAD GRAPHICS               AMERICAN EXPRESS / BIP SEE
INCORPORATED                9111934002                     PO BOX 842858                                     BOSTON              MA           02284-2858                             SUPPLIERS OR VENDORS       11/6/2018        $178,557.75
QUAD GRAPHICS               AMERICAN EXPRESS / BIP SEE
INCORPORATED                9111934002                     PO BOX 842858                                     BOSTON              MA           02284-2858                             SUPPLIERS OR VENDORS       11/9/2018        $265,565.42
QUAD GRAPHICS               AMERICAN EXPRESS / BIP SEE
INCORPORATED                9111934002                     PO BOX 842858                                     BOSTON              MA           02284-2858                             SUPPLIERS OR VENDORS      11/13/2018        $320,332.93
QUAD GRAPHICS               AMERICAN EXPRESS / BIP SEE
INCORPORATED                9111934002                     PO BOX 842858                                     BOSTON              MA           02284-2858                             SUPPLIERS OR VENDORS      11/16/2018         $79,769.07
QUAD GRAPHICS               AMERICAN EXPRESS / BIP SEE
INCORPORATED                9111934002                     PO BOX 842858                                     BOSTON              MA           02284-2858                             SUPPLIERS OR VENDORS      11/27/2018        $794,205.89



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      Creditor Name                 Address1                  Address2                  Address3                 City              State       Zip              Country                   transfer          Payments            Value
QUAD GRAPHICS              AMERICAN EXPRESS / BIP SEE
INCORPORATED               9111934002                   PO BOX 842858                                     BOSTON              MA           02284-2858                             SUPPLIERS OR VENDORS       12/4/2018         $690,811.32
QUAD GRAPHICS              AMERICAN EXPRESS / BIP SEE
INCORPORATED               9111934002                   PO BOX 842858                                     BOSTON              MA           02284-2858                             SUPPLIERS OR VENDORS      12/14/2018         $794,564.48
QUAD GRAPHICS              AMERICAN EXPRESS / BIP SEE
INCORPORATED               9111934002                   PO BOX 842858                                     BOSTON              MA           02284-2858                             SUPPLIERS OR VENDORS       1/11/2019         $536,557.83
QUAKER FOODS &
BEVERAGES                  PO BOX 644943                                                                  PITTSBURGH          PA           15264-4926                             SUPPLIERS OR VENDORS      10/18/2018          $31,253.47
QUAKER FOODS &
BEVERAGES                  PO BOX 644943                                                                  PITTSBURGH          PA           15264-4926                             SUPPLIERS OR VENDORS      10/19/2018          $30,687.65
QUAKER FOODS &
BEVERAGES                  PO BOX 644943                                                                  PITTSBURGH          PA           15264-4926                             SUPPLIERS OR VENDORS       11/8/2018          $28,803.41
QUAKER FOODS &
BEVERAGES                  PO BOX 644943                                                                  PITTSBURGH          PA           15264-4926                             SUPPLIERS OR VENDORS       11/9/2018          $38,365.20
QUAKER FOODS &
BEVERAGES                  PO BOX 644943                                                                  PITTSBURGH          PA           15264-4926                             SUPPLIERS OR VENDORS      11/12/2018          $47,772.34
QUAKER FOODS &
BEVERAGES                  PO BOX 644943                                                                  PITTSBURGH          PA           15264-4926                             SUPPLIERS OR VENDORS      12/21/2018          $17,719.30
QUAKER FOODS &
BEVERAGES                  PO BOX 644943                                                                  PITTSBURGH          PA           15264-4926                             SUPPLIERS OR VENDORS      12/27/2018          $20,266.26

QUALITY CONSTRUCTION LLC   TIM HAGEDORN                 PO BOX 24                                         WEST POINT          NE           68788                                  SUPPLIERS OR VENDORS      11/26/2018          $38,440.00
QUALITY EQUIPMENT
INCORPORATED               SUITE 101                    1415 W WASHINGTON                                 MT PLEASANT         IA           52641                                  SUPPLIERS OR VENDORS      10/19/2018             $214.00
QUALITY EQUIPMENT
INCORPORATED               SUITE 101                    1415 W WASHINGTON                                 MT PLEASANT         IA           52641                                  SUPPLIERS OR VENDORS       11/9/2018             $214.00
QUALITY PRINTING INC       116 W MAIN STREET                                                              LUVERNE             MN           56156                                  SUPPLIERS OR VENDORS      11/28/2018               $2.67
QUALITY PROPANE OF
KELLOGG MN LLC             62988 161ST AVENUE                                                             KELLOGG             MN           55945                                  SUPPLIERS OR VENDORS       11/1/2018              $69.25
QUALITY PROPANE OF
KELLOGG MN LLC             62988 161ST AVENUE                                                             KELLOGG             MN           55945                                  SUPPLIERS OR VENDORS      11/15/2018              $23.09
QUALITY PROPANE OF
KELLOGG MN LLC             62988 161ST AVENUE                                                             KELLOGG             MN           55945                                  SUPPLIERS OR VENDORS         1/4/2019             $41.88
QUALITY RESOURCE GROUP
INCORPORATED               12795 16TH AVENUE N                                                            PLYMOUTH            MN           55441-4556                             SUPPLIERS OR VENDORS       11/6/2018              $87.34
QUENCH USA INC             PO BOX 781393                                                                  PHILADELPHIA        PA           19178-1393                             SUPPLIERS OR VENDORS      10/25/2018              $74.80
QUENCH USA INC             PO BOX 781393                                                                  PHILADELPHIA        PA           19178-1393                             SUPPLIERS OR VENDORS       11/8/2018             $224.91
QUENCH USA INC             PO BOX 781393                                                                  PHILADELPHIA        PA           19178-1393                             SUPPLIERS OR VENDORS      11/29/2018              $74.97

QUEST PRODUCTS INC         8201 104TH STREET STE 200                                                      PLEASANT PRAIRIE WI              53158-0000                             SUPPLIERS OR VENDORS      10/18/2018            $1,447.20

QUEST PRODUCTS INC         8201 104TH STREET STE 200                                                      PLEASANT PRAIRIE WI              53158-0000                             SUPPLIERS OR VENDORS      10/25/2018             $858.00

QUEST PRODUCTS INC         8201 104TH STREET STE 200                                                      PLEASANT PRAIRIE WI              53158-0000                             SUPPLIERS OR VENDORS       11/1/2018            $1,395.60

QUEST PRODUCTS INC         8201 104TH STREET STE 200                                                      PLEASANT PRAIRIE WI              53158-0000                             SUPPLIERS OR VENDORS       11/8/2018            $1,720.66

QUEST PRODUCTS INC         8201 104TH STREET STE 200                                                      PLEASANT PRAIRIE WI              53158-0000                             SUPPLIERS OR VENDORS      11/22/2018              $91.60

QUEST PRODUCTS INC         8201 104TH STREET STE 200                                                      PLEASANT PRAIRIE    WI           53158-0000                             SUPPLIERS OR VENDORS      11/29/2018             $606.00
QUICK SIGNS                525 S MILITARY                                                                 GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS       11/1/2018              $20.84
QUICK SIGNS                525 S MILITARY                                                                 GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS       11/8/2018              $20.84
QUICK SIGNS                525 S MILITARY                                                                 GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS      12/17/2018              $63.47
QUICKDRAW CAPITAL LLC      STEVEN W DORAN               PO BOX 45                                         MCFARLAND           WI           53558                                  SUPPLIERS OR VENDORS       11/1/2018          $58,460.16



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                                                                                                                                                                                   Reasons for payment or    Dates of     Total Amount or
       Creditor Name                  Address1                Address2                 Address3                City               State       Zip              Country                    transfer          Payments            Value
QUICKDRAW CAPITAL LLC        STEVEN W DORAN            PO BOX 45                                         MCFARLAND           WI           53558                                  SUPPLIERS OR VENDORS         12/4/2018           $58,460.16
QUINCY BIOSCIENCE MFG                                  726 HEARTLAND TRL STE
INC                          PREVAGEN INC              300                                               MADISON             WI           53717                                  SUPPLIERS OR VENDORS       10/18/2018            $3,150.88
QUINCY BIOSCIENCE MFG                                  726 HEARTLAND TRL STE
INC                          PREVAGEN INC              300                                               MADISON             WI           53717                                  SUPPLIERS OR VENDORS       10/25/2018            $4,892.16
QUINCY BIOSCIENCE MFG                                  726 HEARTLAND TRL STE
INC                          PREVAGEN INC              300                                               MADISON             WI           53717                                  SUPPLIERS OR VENDORS        11/1/2018            $6,797.28
QUINCY BIOSCIENCE MFG                                  726 HEARTLAND TRL STE
INC                          PREVAGEN INC              300                                               MADISON             WI           53717                                  SUPPLIERS OR VENDORS        11/8/2018           $18,112.63
QUINCY BIOSCIENCE MFG                                  726 HEARTLAND TRL STE
INC                          PREVAGEN INC              300                                               MADISON             WI           53717                                  SUPPLIERS OR VENDORS       11/15/2018            $2,022.72
QUINCY BIOSCIENCE MFG                                  726 HEARTLAND TRL STE
INC                          PREVAGEN INC              300                                               MADISON             WI           53717                                  SUPPLIERS OR VENDORS       11/22/2018            $3,407.44
QUINCY BIOSCIENCE MFG                                  726 HEARTLAND TRL STE
INC                          PREVAGEN INC              300                                               MADISON             WI           53717                                  SUPPLIERS OR VENDORS       11/29/2018            $5,574.24
QUINTEN KANN                 1704 BELAIR ROAD                                                            NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS       12/14/2018               $16.00
QUTEN RESEARCH INSTITUTE
LLC                          22 AUDREY PLACE                                                             FAIRFIELD           NJ           07004                                  SUPPLIERS OR VENDORS       10/25/2018            $1,229.92
QUTEN RESEARCH INSTITUTE
LLC                          22 AUDREY PLACE                                                             FAIRFIELD           NJ           07004                                  SUPPLIERS OR VENDORS        11/1/2018              $755.36
QUTEN RESEARCH INSTITUTE
LLC                          22 AUDREY PLACE                                                             FAIRFIELD           NJ           07004                                  SUPPLIERS OR VENDORS        11/8/2018              $489.06
QUTEN RESEARCH INSTITUTE
LLC                          22 AUDREY PLACE                                                             FAIRFIELD           NJ           07004                                  SUPPLIERS OR VENDORS       11/15/2018            $1,150.74
QUTEN RESEARCH INSTITUTE
LLC                          22 AUDREY PLACE                                                             FAIRFIELD           NJ           07004                                  SUPPLIERS OR VENDORS       11/22/2018              $662.28
R & D DISTRIBUTORS LLC       PO BOX 8187                                                                 KENTWOOD            MI           49518                                  SUPPLIERS OR VENDORS       10/18/2018              $726.00
R & D DISTRIBUTORS LLC       PO BOX 8187                                                                 KENTWOOD            MI           49518                                  SUPPLIERS OR VENDORS       11/15/2018           $10,789.35
R & D DISTRIBUTORS LLC       PO BOX 8187                                                                 KENTWOOD            MI           49518                                  SUPPLIERS OR VENDORS       11/22/2018           $13,338.00
R & R TRANSFER               RODNEY LOE                420 N 15TH AVENUE E                               ELY                 MN           55731                                  SUPPLIERS OR VENDORS       12/17/2018              $200.00
                             COORS DISTRIBUTING
R C DISTRIBUTING             COMPANY                   642 N WILLOW STREET                               NORTH PLATTE        NE           69101                                  SUPPLIERS OR VENDORS       10/18/2018               $46.90
                             COORS DISTRIBUTING
R C DISTRIBUTING             COMPANY                   642 N WILLOW STREET                               NORTH PLATTE        NE           69101                                  SUPPLIERS OR VENDORS       10/19/2018              $486.12
                             COORS DISTRIBUTING
R C DISTRIBUTING             COMPANY                   642 N WILLOW STREET                               NORTH PLATTE        NE           69101                                  SUPPLIERS OR VENDORS        11/2/2018              $100.16
                             COORS DISTRIBUTING
R C DISTRIBUTING             COMPANY                   642 N WILLOW STREET                               NORTH PLATTE        NE           69101                                  SUPPLIERS OR VENDORS       11/29/2018              $155.92
                             COORS DISTRIBUTING
R C DISTRIBUTING             COMPANY                   642 N WILLOW STREET                               NORTH PLATTE        NE           69101                                  SUPPLIERS OR VENDORS       12/14/2018              $305.32
                             COORS DISTRIBUTING
R C DISTRIBUTING             COMPANY                   642 N WILLOW STREET                               NORTH PLATTE        NE           69101                                  SUPPLIERS OR VENDORS       12/20/2018              $693.95
R L ALBERT & SON
INCORPORATED                 VICE PRESIDENT OF SALES   60 LONG RIDGE ROAD                                STAMFORD            CT           06902                                  SUPPLIERS OR VENDORS       10/25/2018            $9,353.69
R L ALBERT & SON
INCORPORATED                 VICE PRESIDENT OF SALES   60 LONG RIDGE ROAD                                STAMFORD            CT           06902                                  SUPPLIERS OR VENDORS        11/1/2018            $9,924.32
R LEWIS & R LEWIS BRILLION
INCORPORATED                 PO BOX 22190                                                                GREEN BAY           WI           54305                                  SUPPLIERS OR VENDORS        11/1/2018           $19,650.81
R LEWIS & R LEWIS BRILLION
INCORPORATED                 PO BOX 22190                                                                GREEN BAY           WI           54305                                  SUPPLIERS OR VENDORS        12/3/2018           $20,043.83
                                                                               679 S WASHINGTON
R LUKE LORIMER               STORE 526                 SHOPKO EMPLOYEE         STREET                    AFTON               WY           83110-6000                             SUPPLIERS OR VENDORS        11/8/2018              $398.78
                                                                               679 S WASHINGTON
R LUKE LORIMER               STORE 526                 SHOPKO EMPLOYEE         STREET                    AFTON               WY           83110-6000                             SUPPLIERS OR VENDORS       11/16/2018              $912.71



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                                                                                                                                                                              Reasons for payment or    Dates of    Total Amount or
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                                                                          679 S WASHINGTON
R LUKE LORIMER        STORE 526                    SHOPKO EMPLOYEE        STREET                     AFTON               WY           83110-6000                             SUPPLIERS OR VENDORS      11/30/2018            $610.40
                                                                          679 S WASHINGTON
R LUKE LORIMER        STORE 526                    SHOPKO EMPLOYEE        STREET                     AFTON               WY           83110-6000                             SUPPLIERS OR VENDORS       12/8/2018            $706.55
                                                                          679 S WASHINGTON
R LUKE LORIMER        STORE 526                    SHOPKO EMPLOYEE        STREET                     AFTON               WY           83110-6000                             SUPPLIERS OR VENDORS      12/20/2018            $968.84
R M PALMER COMPANY    PO BOX 13700                                                                   PHILADELPHIA        PA           19191-1174                             SUPPLIERS OR VENDORS      11/15/2018         $30,739.57
R M PALMER COMPANY    PO BOX 13700                                                                   PHILADELPHIA        PA           19191-1174                             SUPPLIERS OR VENDORS      11/22/2018         $47,134.46
R S HUGHES            16900 W VICTOR RD                                                              NEW BERLIN          WI           53151                                  SUPPLIERS OR VENDORS      11/29/2018            $409.56
R W ROGERS COMPANY
INCORPORATED          610 S KIRK ROAD                                                                ST CHARLES          IL           60174                                  SUPPLIERS OR VENDORS       11/1/2018            $142.56
R W ROGERS COMPANY
INCORPORATED          610 S KIRK ROAD                                                                ST CHARLES          IL           60174                                  SUPPLIERS OR VENDORS      12/17/2018             $88.22
RA BOGUE LIMITED
PARTNERSHIP           PO BOX 278                                                                     IDA GROVE           IA           51445                                  SUPPLIERS OR VENDORS       11/1/2018           $3,136.50
RA BOGUE LIMITED
PARTNERSHIP           PO BOX 278                                                                     IDA GROVE           IA           51445                                  SUPPLIERS OR VENDORS      11/10/2018               $1.00
RA BOGUE LIMITED
PARTNERSHIP           PO BOX 278                                                                     IDA GROVE           IA           51445                                  SUPPLIERS OR VENDORS       12/3/2018           $3,136.50
RACHAEL DEJARDIN      STORE 2-501                  SHOPKO EMPLOYEE        3705 MONROE ROAD           DEPERE              WI           54115                                  SUPPLIERS OR VENDORS       11/1/2018              $51.23
RACHAEL DEJARDIN      STORE 2-501                  SHOPKO EMPLOYEE        3705 MONROE ROAD           DEPERE              WI           54115                                  SUPPLIERS OR VENDORS      11/22/2018             $120.45
RACHAEL DEJARDIN      STORE 2-501                  SHOPKO EMPLOYEE        3705 MONROE ROAD           DEPERE              WI           54115                                  SUPPLIERS OR VENDORS      12/13/2018              $43.60
RACHEAL ROUTT         585 W 440 S                                                                    OREM                UT           84058                                  SUPPLIERS OR VENDORS       11/8/2018              $23.00
RACHEL BERG           STORE 2-759                  SHOPKO EMPLOYEE        2105 LAZELLE ST            STURGIS             SD           57785                                  SUPPLIERS OR VENDORS      12/13/2018              $28.89
RACHEL BERG           STORE 2-759                  SHOPKO EMPLOYEE        2105 LAZELLE ST            STURGIS             SD           57785                                  SUPPLIERS OR VENDORS      12/20/2018              $28.89
RACHEL CAMPBELL       APPAREL                      SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS      11/15/2018           $1,532.87
RACHEL CROWTHER       203 S 690 E                                                                    SANTAQUIN           UT           84655                                  SUPPLIERS OR VENDORS      10/31/2018              $26.00
RACHEL GJONNES        517 NORTH STEVENSON                                                            DEFOREST            WI           53532                                  SUPPLIERS OR VENDORS      11/26/2018               $2.00
RACHEL HALL           STORE 2-687                  SHOPKO EMPLOYEE        202 SW KENT                GREENFIELD          IA           50849                                  SUPPLIERS OR VENDORS       11/8/2018              $57.23
RACHEL HOEPER         133 N BLACK EAGLE DR                                                           MANKATO             MN           56001                                  SUPPLIERS OR VENDORS       11/1/2018              $58.55
RACHEL KELLOGG        8322 86TH ST. S E                                                              MONANGO             ND           58436                                  SUPPLIERS OR VENDORS      11/26/2018              $12.16
RACHEL KELLOGG        8322 86TH ST. S E                                                              MONANGO             ND           58436                                  SUPPLIERS OR VENDORS       12/7/2018              $48.64
RACHEL KIRCHMANN      59292 HILMAN RD                                                                GLENWOOD            IA           51534                                  SUPPLIERS OR VENDORS      10/25/2018             $249.98
                      1220 WEST CHASE AVENUE APT
RACHEL MALTZ          2G                                                                             CHICAGO             IL           60626                                  SUPPLIERS OR VENDORS      12/17/2018            $930.00
RACHEL ROBISON        1331 BENTON STREET                                                             LINCOLN             NE           68521                                  SUPPLIERS OR VENDORS       11/1/2018             $13.15
RACHEL SHORT          215 HUNTERS COURT                                                              EAGLE LAKE          MN           56024                                  SUPPLIERS OR VENDORS       11/5/2018             $66.28
RACHEL SHORT          215 HUNTERS COURT                                                              EAGLE LAKE          MN           56024                                  SUPPLIERS OR VENDORS       11/5/2018            $170.87
RACHEL TREVINO        767 SHENANDOAH DR SE                                                           SALEM               OR           97317                                  SUPPLIERS OR VENDORS      11/13/2018            $104.32
RACHEL VELDBOOM       550 CHERRY LANE                                                                ROBERTS             WI           54023                                  SUPPLIERS OR VENDORS      12/20/2018             $16.00
                                                                          1011 N WISCONSIN           PORT
RACHEL ZUCK           STORE 2-503                  SHOPKO EMPLOYEE        STREET                     WASHINGTON          WI           53074-0000                             SUPPLIERS OR VENDORS      10/18/2018             $23.98
                                                                          1011 N WISCONSIN           PORT
RACHEL ZUCK           STORE 2-503                  SHOPKO EMPLOYEE        STREET                     WASHINGTON          WI           53074-0000                             SUPPLIERS OR VENDORS       11/1/2018             $23.98
                                                                          1011 N WISCONSIN           PORT
RACHEL ZUCK           STORE 2-503                  SHOPKO EMPLOYEE        STREET                     WASHINGTON          WI           53074-0000                             SUPPLIERS OR VENDORS      11/15/2018             $23.98
                                                                          1011 N WISCONSIN           PORT
RACHEL ZUCK           STORE 2-503                  SHOPKO EMPLOYEE        STREET                     WASHINGTON          WI           53074-0000                             SUPPLIERS OR VENDORS       12/6/2018             $11.99
RACHELLE JOHNSON      1112 34TH ST SW                                                                WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS      11/29/2018             $75.00
RACQUEL WILLIAMS      1930 GARRET LANE                                                               LINCOLN             NE           68512                                  SUPPLIERS OR VENDORS       11/1/2018              $7.86
RADIAL                PO BOX 204113                                                                  DALLAS              TX           75320-4114                             SUPPLIERS OR VENDORS       11/2/2018         $35,972.58
RADIAL                PO BOX 204113                                                                  DALLAS              TX           75320-4114                             SUPPLIERS OR VENDORS      11/30/2018         $55,552.09
RAEANN SIGMUND        345 HUTH ST.                                                                   GREEN BAY           WI           54302                                  SUPPLIERS OR VENDORS       11/2/2018             $30.00




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                                                                                                                                                                                   Reasons for payment or    Dates of    Total Amount or
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                                                       LOCKBOX #530110
RAINBOW LIGHT                                          PHOENIX BUSINESS        1669 PHOENIX PARKWAY
NUTRITIONAL SYSTEMS       PNC BANK C/O WELLNEXT LLC    PARK                    STE 210              COLLEGE PARK              GA           30349                                  SUPPLIERS OR VENDORS      10/18/2018           $1,676.11
                                                       LOCKBOX #530110
RAINBOW LIGHT                                          PHOENIX BUSINESS        1669 PHOENIX PARKWAY
NUTRITIONAL SYSTEMS       PNC BANK C/O WELLNEXT LLC    PARK                    STE 210              COLLEGE PARK              GA           30349                                  SUPPLIERS OR VENDORS      11/15/2018           $1,924.83
RAINES ELECTRIC
INCORPORATED              111802 E PINE HOLLOW PR SE                                                      KENNEWICK           WA           99338-1251                             SUPPLIERS OR VENDORS      10/29/2018           $1,673.53

RALEIGHS ACE HARDWARE     2525 BRIDGE AVENUE                                                              ALBERT LEA          MN           56007                                  SUPPLIERS OR VENDORS      12/17/2018             $53.92
RALPH MONTAGUE            2141 5TH AVE                                                                    CLARKSTON           WA           99403                                  SUPPLIERS OR VENDORS       12/5/2018             $51.20
RAMON ROCHA - SR          922 E. MAIN STREET                                                              WHITEWATER          WI           53190                                  SUPPLIERS OR VENDORS      10/26/2018             $42.00
RAMONA GUTHMILLER         2222 3RD AVE SE APT 58                                                          ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS      10/25/2018             $27.36
RAMONA HELGESON           1101 E 7TH ST                APT 2-4                                            WEBSTER             SD           57274                                  SUPPLIERS OR VENDORS      11/29/2018             $44.16
RAMOS LANDSCAPING PLUS
LLC                       PO BOX 969                                                                      QUNICY              WA           98848                                  SUPPLIERS OR VENDORS       11/8/2018            $528.71
                          302 WEST SUPERIOR STREET
RAMSLAND & VIGEN INC      SUITE 600                                                                       DULUTH              MN           55802-5110                             SUPPLIERS OR VENDORS      10/29/2018           $4,119.43
RANDA ACCESSORIES         PO BOX 93474                                                                    CHICAGO             IL           60673-3474                             SUPPLIERS OR VENDORS      10/18/2018             $736.00
RANDA ACCESSORIES         PO BOX 93474                                                                    CHICAGO             IL           60673-3474                             SUPPLIERS OR VENDORS      10/25/2018             $370.50
RANDA ACCESSORIES         PO BOX 93474                                                                    CHICAGO             IL           60673-3474                             SUPPLIERS OR VENDORS       11/1/2018           $3,051.50
RANDA ACCESSORIES         PO BOX 93474                                                                    CHICAGO             IL           60673-3474                             SUPPLIERS OR VENDORS       11/8/2018             $778.97
RANDA ACCESSORIES         PO BOX 93474                                                                    CHICAGO             IL           60673-3474                             SUPPLIERS OR VENDORS      11/15/2018           $1,190.00
RANDA ACCESSORIES         PO BOX 93474                                                                    CHICAGO             IL           60673-3474                             SUPPLIERS OR VENDORS      11/29/2018           $3,468.50
RANDA CRAYTON             1303 S. HIGH AVE                                                                FREEPORT            IL           61032                                  SUPPLIERS OR VENDORS       12/7/2018              $20.00
RANDALL COMMUNITY
WATERS DEPARTMENT         445 MAIN STREET              PO BOX 37                                          LAKE ANDES          SD           57356                                  SUPPLIERS OR VENDORS      11/14/2018              $39.20
RANDALL HOLLMAN           104 PARKRIDGE DRIVE                                                             KALISPELL           MT           59901                                  SUPPLIERS OR VENDORS      10/19/2018           $2,610.06
RANDALL HOLLMAN           104 PARKRIDGE DRIVE                                                             KALISPELL           MT           59901                                  SUPPLIERS OR VENDORS       11/2/2018           $2,593.56
RANDALL HOLLMAN           104 PARKRIDGE DRIVE                                                             KALISPELL           MT           59901                                  SUPPLIERS OR VENDORS      11/16/2018           $3,008.56
RANDALL HOLLMAN           104 PARKRIDGE DRIVE                                                             KALISPELL           MT           59901                                  SUPPLIERS OR VENDORS      11/30/2018           $2,880.56
RANDALL HOLLMAN           104 PARKRIDGE DRIVE                                                             KALISPELL           MT           59901                                  SUPPLIERS OR VENDORS      12/14/2018           $2,902.56
RANDALL HOLLMAN           104 PARKRIDGE DRIVE                                                             KALISPELL           MT           59901                                  SUPPLIERS OR VENDORS      12/29/2018           $2,396.56
RANDALL HOLLMAN           104 PARKRIDGE DRIVE                                                             KALISPELL           MT           59901                                  SUPPLIERS OR VENDORS       1/11/2019           $3,125.06
RANDALL MARX              281 S FAIRFIELD AVE                                                             JUNEAU              WI           53039                                  SUPPLIERS OR VENDORS      10/25/2018               $9.76
RANDALL NEUENS            N4696 HAMPEL RD                                                                 BLACK CREEK         WI           54106                                  SUPPLIERS OR VENDORS       11/2/2018              $25.00
RANDALL PORTER            STORE 070                    SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/6/2018              $64.20
RANDALL SULLIVAN          132 S HARRISON                                                                  TOWNSEND            MT           59644                                  SUPPLIERS OR VENDORS      11/30/2018              $71.00
RANDY BANKEN              706 15TH ST                                                                     MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS      10/24/2018              $23.00
RANDY BAUER               900 NOVA DRIVE                                                                  EAU CLAIRE          WI           54703                                  SUPPLIERS OR VENDORS       11/8/2018             $138.16
RANDY HART                STORE 583                    SHOPKO EMPLOYEE         860 S MAIN STREET          BLANDING            UT           84511-3911                             SUPPLIERS OR VENDORS      10/19/2018             $548.65
RANDY HART                STORE 583                    SHOPKO EMPLOYEE         860 S MAIN STREET          BLANDING            UT           84511-3911                             SUPPLIERS OR VENDORS      12/14/2018             $124.39
RANDY HUMPHREY            119 N OHIO                                                                      MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS      11/12/2018              $13.44
RANDY JACOBS              1278 STROMBERG RD                                                               IRON RIVER          MI           49935                                  SUPPLIERS OR VENDORS       11/1/2018               $9.92
RANDY JUST                7084 475TH ST.                                                                  RUSH CITY           MN           55069                                  SUPPLIERS OR VENDORS      10/29/2018              $46.21
RANDY LORDS               3045 DEVONWOOD DR.                                                              AMMON               ID           83406                                  SUPPLIERS OR VENDORS      11/12/2018              $18.02
RANDY MARSHALL            3903 EMMA LANE                                                                  YAKIMA              WA           98903                                  SUPPLIERS OR VENDORS      11/26/2018              $65.00
RANDY ROSE                223 W. HAZEL                                                                    CALDWELL            ID           83605                                  SUPPLIERS OR VENDORS       12/3/2018              $40.00
RANDY RYAN TREE SERVICE
& LAWN CARE               ATTN RANDY RYAN              PO BOX 465                                         ANTHONY             KS           67003                                  SUPPLIERS OR VENDORS       11/2/2018            $100.00
RANDY SANDAHL             817 JOHNSON ST                                                                  BELOIT              WI           53511                                  SUPPLIERS OR VENDORS      11/14/2018             $20.00
RANDY SCHROEDER           685 PIONEER RD.                                                                 MOSINEE             WI           54455                                  SUPPLIERS OR VENDORS      11/26/2018             $45.00
                                                                               145 BROADWAY AVENUE
RANDY SCHURMANN           STORE 561                    SHOPKO EMPLOYEE         N                   COKATO                     MN           55321                                  SUPPLIERS OR VENDORS      10/25/2018             $71.94



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                                                                                                                                                                                 Reasons for payment or    Dates of    Total Amount or
     Creditor Name                    Address1              Address2                Address3           City                      State       Zip              Country                   transfer          Payments           Value
                                                                             145 BROADWAY AVENUE
RANDY SCHURMANN           STORE 561                   SHOPKO EMPLOYEE        N                   COKATO                     MN           55321                                  SUPPLIERS OR VENDORS      11/22/2018            $107.53
                                                                             145 BROADWAY AVENUE
RANDY SCHURMANN           STORE 561                   SHOPKO EMPLOYEE        N                   COKATO                     MN           55321                                  SUPPLIERS OR VENDORS      12/13/2018             $68.67
RANDY TRELKA              239 S. ELM ST.                                                         KIMBERLY                   WI           54136                                  SUPPLIERS OR VENDORS      10/26/2018             $25.00
RANDY TUNSTALL            1624 W EVERGREEN DR APT 5                                              APPLETON                   WI           54913                                  SUPPLIERS OR VENDORS      12/17/2018             $25.00
RANDY WITTE               STORE 078                   SHOPKO EMPLOYEE                            GREEN BAY                  WI           54307-9060                             SUPPLIERS OR VENDORS      10/26/2018            $423.73
RANDY WITTE               STORE 078                   SHOPKO EMPLOYEE                            GREEN BAY                  WI           54307-9060                             SUPPLIERS OR VENDORS       1/15/2019            $141.70
RANDYS FAMILY
RESTAURANT                1132 W MACARTHUR AVENUE                                                       EAU CLAIRE          WI           54701                                  SUPPLIERS OR VENDORS      11/13/2018            $302.63
                                                                             821 WEST CRAWFORD
RANEE BENNETT             STORE 693                   SHOPKO EMPLOYEE        STREET                     CLAY CENTER         KS           67432-2343                             SUPPLIERS OR VENDORS       11/9/2018             $96.56
RANESHA MATTHEWS          2412 FLORENCE BLVD                                                            OMAHA               NE           68111                                  SUPPLIERS OR VENDORS       11/5/2018              $2.00
RANESHA MATTHEWS          2412 FLORENCE BLVD                                                            OMAHA               NE           68111                                  SUPPLIERS OR VENDORS       11/5/2018              $2.00
RANIA SNIDER              STORE 676                   SHOPKO EMPLOYEE        1901 COURT AVENUE          CHARITON            IA           50049                                  SUPPLIERS OR VENDORS        1/5/2019             $77.39
RANS RANCH LLC            7225 JELLISON ROAD                                                            BILLINGS            MT           59101                                  SUPPLIERS OR VENDORS       11/9/2018            $535.00
RANS RANCH LLC            7225 JELLISON ROAD                                                            BILLINGS            MT           59101                                  SUPPLIERS OR VENDORS      12/18/2018            $150.00
RAPID RENTAL & SUPPLY
INCORPORATED              1887 E HWY 2                                                                  GRAND RAPIDS        MN           55744                                  SUPPLIERS OR VENDORS       11/1/2018            $158.93
RARITAN PHARMACEUTICALS
INC                       8 JOANNA COURT                                                                EAST BRUNSWICK      NJ           08816                                  SUPPLIERS OR VENDORS      10/18/2018            $621.52
RARITAN PHARMACEUTICALS
INC                       8 JOANNA COURT                                                                EAST BRUNSWICK      NJ           08816                                  SUPPLIERS OR VENDORS      10/25/2018           $3,535.24
RASHELLE REICHERTS        68351 270TH STREET                                                            ALDEN               MN           56009                                  SUPPLIERS OR VENDORS       11/9/2018               $3.00
RAVEN TREVINO             814 HAWTHORNE ST                                                              ALBERT LEA          MN           56007                                  SUPPLIERS OR VENDORS      10/26/2018              $16.00
RAY ANDREW                5310 WILD CHERRY LN                                                           MC FARLAND          WI           53558                                  SUPPLIERS OR VENDORS       11/2/2018              $20.00
RAY BOEHLJE               254 PARKRIDGE DR.                                                             MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS      12/10/2018              $12.00

RAY GILE                  1146 NATURE'S WAY                                                             WISCONSIN RAPIDS    WI           54494                                  SUPPLIERS OR VENDORS      11/14/2018             $50.00
RAY PETERSEN              INFORMATION SERVICES        SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/18/2018            $271.33
RAYFRED STERN             1600 GROVE AVE #1                                                             CRETE               NE           68333                                  SUPPLIERS OR VENDORS      10/18/2018              $7.86
RAYMOND BAER              2142 BLUEBILL ST.                                                             GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS      11/26/2018             $10.00
RAYMOND ENGELDINGER       N14985 BIRCH HILL ROAD                                                        AMBERG              WI           54102                                  SUPPLIERS OR VENDORS      10/25/2018              $9.76
RAYMOND HASSE             N3885 RIVERSIDE DRIVE                                                         PESHTIGO            WI           54157                                  SUPPLIERS OR VENDORS       11/7/2018             $25.00
RAYMOND PIIPARINEN        320 W. MILLER RD                                                              RIO                 WI           53960                                  SUPPLIERS OR VENDORS      10/29/2018             $30.00
RAYMOND PRIEBE            1558 141ST ST                                                                 SLAYTON             MN           56172                                  SUPPLIERS OR VENDORS      10/26/2018             $35.39
RAYMOND RATTY             5730 BAYSIDE CIRCLE                                                           LAONA               WI           54541                                  SUPPLIERS OR VENDORS      11/16/2018             $39.68
RAYMOND SCHNEIDER         35 HWY 4 SOUTH                                                                MELROSE             MN           56352                                  SUPPLIERS OR VENDORS      12/13/2018              $2.28
RAYMOND SIEBEN            6789 240TH AVE                                                                ROYALTON            MN           56373                                  SUPPLIERS OR VENDORS      12/13/2018             $30.00
RAYMOND WIELGUS           164 SUMMIT ST                                                                 PULASKI             WI           54162                                  SUPPLIERS OR VENDORS      12/20/2018            $121.00
RAYNE COMPANY
INCORPORATED              PO BOX 77                                                                     DODGE CITY          KS           67801                                  SUPPLIERS OR VENDORS       11/3/2018           $7,693.00
RAYNE COMPANY
INCORPORATED              PO BOX 77                                                                     DODGE CITY          KS           67801                                  SUPPLIERS OR VENDORS       12/5/2018           $7,693.00
RAYNOLD GENE KRAUSE       W6214 570TH AVE                                                               ELLSWORTH           WI           54011                                  SUPPLIERS OR VENDORS      12/19/2018              $28.47
RAZBABY INNOVATIVE BABY
PRODUCTS INC              6875 SW 81ST STREET                                                           MIAMI               FL           33143                                  SUPPLIERS OR VENDORS      10/18/2018            $185.97
RAZBABY INNOVATIVE BABY
PRODUCTS INC              6875 SW 81ST STREET                                                           MIAMI               FL           33143                                  SUPPLIERS OR VENDORS      10/25/2018            $161.46
RAZBABY INNOVATIVE BABY
PRODUCTS INC              6875 SW 81ST STREET                                                           MIAMI               FL           33143                                  SUPPLIERS OR VENDORS      11/29/2018            $144.86
RAZOR USA LLC             PO BOX 60698                                                                  LOS ANGELES         CA           90060-0698                             SUPPLIERS OR VENDORS      10/25/2018          $7,647.46
RAZOR USA LLC             PO BOX 60698                                                                  LOS ANGELES         CA           90060-0698                             SUPPLIERS OR VENDORS       11/1/2018         $35,277.86
RAZOR USA LLC             PO BOX 60698                                                                  LOS ANGELES         CA           90060-0698                             SUPPLIERS OR VENDORS       11/8/2018          $7,467.68



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      Creditor Name                  Address1                  Address2                  Address3                City               State       Zip              Country                    transfer          Payments            Value
RAZOR USA LLC              PO BOX 60698                                                                    LOS ANGELES         CA           90060-0698                             SUPPLIERS OR VENDORS        11/15/2018            $2,129.04
RAZOR USA LLC              PO BOX 60698                                                                    LOS ANGELES         CA           90060-0698                             SUPPLIERS OR VENDORS        11/22/2018            $3,118.94
RAZOR USA LLC              PO BOX 60698                                                                    LOS ANGELES         CA           90060-0698                             SUPPLIERS OR VENDORS        11/29/2018           $36,217.38

RCAA OWNER LLC             145 HUDSON STREET SUITE 5C                                                      NEW YORK            NY           10013                                  SUPPLIERS OR VENDORS        11/1/2018           $51,728.08

RCAA OWNER LLC             145 HUDSON STREET SUITE 5C                                                      NEW YORK            NY           10013                                  SUPPLIERS OR VENDORS        12/4/2018           $51,728.08
                           C/O MIDLAND MANAGEMENT
RCM WAUSAU LLC             LLC                           PO BOX 88144                                      MILWAUKEE           WI           53288-0144                             SUPPLIERS OR VENDORS        11/1/2018              $645.10
                           C/O MIDLAND MANAGEMENT
RCM WAUSAU LLC             LLC                           PO BOX 88144                                      MILWAUKEE           WI           53288-0144                             SUPPLIERS OR VENDORS       11/15/2018            $1,847.83
                           C/O MIDLAND MANAGEMENT
RCM WAUSAU LLC             LLC                           PO BOX 88144                                      MILWAUKEE           WI           53288-0144                             SUPPLIERS OR VENDORS        12/3/2018            $1,114.32
                           C/O MIDLAND MANAGEMENT
RCM WAUSAU LLC             LLC                           PO BOX 88144                                      MILWAUKEE           WI           53288-0144                             SUPPLIERS OR VENDORS       12/17/2018            $1,847.83
RDG GLOBAL LLC             530 SEVENTH AVE STE 302                                                         NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS       10/22/2018           $38,144.29
RDG GLOBAL LLC             530 SEVENTH AVE STE 302                                                         NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS        11/2/2018              $367.80

RE THINK IT INCORPORATED 6869 STAPOINT COURT STE 107                                                       WINTER PARK         FL           32792                                  SUPPLIERS OR VENDORS       10/26/2018              $658.40

RE THINK IT INCORPORATED 6869 STAPOINT COURT STE 107                                                       WINTER PARK         FL           32792                                  SUPPLIERS OR VENDORS        11/2/2018              $398.80

RE THINK IT INCORPORATED 6869 STAPOINT COURT STE 107                                                       WINTER PARK         FL           32792                                  SUPPLIERS OR VENDORS        11/9/2018               $31.34

RE THINK IT INCORPORATED 6869 STAPOINT COURT STE 107                                                       WINTER PARK         FL           32792                                  SUPPLIERS OR VENDORS       11/16/2018            $1,045.40

RE THINK IT INCORPORATED   6869 STAPOINT COURT STE 107                                                     WINTER PARK         FL           32792                                  SUPPLIERS OR VENDORS       11/30/2018              $337.40
REAGAN PAULSEN             3716 SO BUSMAN PLACE                                                            SALT LAKE CITY      UT           84128                                  SUPPLIERS OR VENDORS       12/21/2018               $10.02
REALTY INCOME
CORPORATION                11995 EL CAMINO REAL                                                            SAN DIEGO           CA           92130                                  SUPPLIERS OR VENDORS        11/1/2018            $7,750.00
REALTY INCOME
CORPORATION                11995 EL CAMINO REAL                                                            SAN DIEGO           CA           92130                                  SUPPLIERS OR VENDORS        11/1/2018           $26,041.67
REALTY INCOME
CORPORATION                11995 EL CAMINO REAL                                                            SAN DIEGO           CA           92130                                  SUPPLIERS OR VENDORS        12/1/2018            $7,750.00
REALTY INCOME
CORPORATION                11995 EL CAMINO REAL                                                            SAN DIEGO           CA           92130                                  SUPPLIERS OR VENDORS        12/1/2018           $26,041.67
REBECCA AVILA              1112 ERIE AVE                                                                   SHEBOYGAN           WI           53081                                  SUPPLIERS OR VENDORS       11/12/2018               $28.00
REBECCA BARNER             STORE 2-670                   SHOPKO EMPLOYEE        615 DEARBORN STREET        WAYNE               NE           68787                                  SUPPLIERS OR VENDORS        1/15/2019               $41.42
REBECCA BARZYDLO           1700 J STREET                 APT 510                                           LINCOLN             NE           68508                                  SUPPLIERS OR VENDORS       11/12/2018               $21.46
REBECCA BENSON             2730 SEWELL                                                                     LINCOLN             NE           68502                                  SUPPLIERS OR VENDORS        11/5/2018               $36.84
REBECCA BIRD               STORE 775                     SHOPKO EMPLOYEE        31071 US HIGHWAY 2         LIBBY               MT           59923                                  SUPPLIERS OR VENDORS        11/2/2018              $811.68
REBECCA BIRD               STORE 775                     SHOPKO EMPLOYEE        31071 US HIGHWAY 2         LIBBY               MT           59923                                  SUPPLIERS OR VENDORS        11/9/2018            $1,004.70
REBECCA BIRD               STORE 775                     SHOPKO EMPLOYEE        31071 US HIGHWAY 2         LIBBY               MT           59923                                  SUPPLIERS OR VENDORS       11/30/2018              $466.90
REBECCA BIRD               STORE 775                     SHOPKO EMPLOYEE        31071 US HIGHWAY 2         LIBBY               MT           59923                                  SUPPLIERS OR VENDORS       12/14/2018              $731.98
REBECCA BOUCHE             APPAREL                       SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/6/2018              $875.70
REBECCA BRENNY             3701 BRIAR CREST DR                                                             JANESVILLE          WI           53546                                  SUPPLIERS OR VENDORS        11/9/2018               $49.00
REBECCA CAREY              STORE 207                     SHOPKO EMPLOYEE        67 SELKIRK WAY             OLD TOWN            ID           83822                                  SUPPLIERS OR VENDORS       10/26/2018              $128.62
REBECCA CHERNEY            2212 2ND AVE WEST                                                               MONROE              WI           53566                                  SUPPLIERS OR VENDORS       11/26/2018               $10.00
REBECCA CLAUSEN            302 E 7TH ST.                                                                   ADRIAN              MN           56110                                  SUPPLIERS OR VENDORS       10/22/2018                $3.00
REBECCA FOWLER             STORE 037                     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/9/2018              $353.04
REBECCA FRENCH             1221 SOUTH 26TH                                                                 QUINCY              IL           62301                                  SUPPLIERS OR VENDORS       10/30/2018               $28.09
REBECCA FRYDA              422 NORTH PARK AVE                                                              FONDDULAC           WI           54935                                  SUPPLIERS OR VENDORS       11/13/2018               $37.99
REBECCA GILLIAND           STORE 038                     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/26/2018              $103.55
REBECCA HABLE              709 DORR AVE                                                                    RHINELANDER         WI           54501                                  SUPPLIERS OR VENDORS        11/5/2018               $10.00



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      Creditor Name                 Address1                 Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
REBECCA HAMM             116 WEALD BRIDGE RD                                                             COTTAGE GROVE       WI           53527                                  SUPPLIERS OR VENDORS        10/25/2018               $30.00
REBECCA HEATON           209 E GREEENWOOD STR                                                            JACKSONVILLE        IL           62650                                  SUPPLIERS OR VENDORS        12/18/2018               $25.00
REBECCA JANGULA          23704 E MAXWELL DRIVE                                                           LIBERTY LAKE        WA           99019-0000                             SUPPLIERS OR VENDORS        10/19/2018            $6,126.85
REBECCA JANGULA          23704 E MAXWELL DRIVE                                                           LIBERTY LAKE        WA           99019-0000                             SUPPLIERS OR VENDORS         11/2/2018            $5,146.70
REBECCA JANGULA          23704 E MAXWELL DRIVE                                                           LIBERTY LAKE        WA           99019-0000                             SUPPLIERS OR VENDORS        11/16/2018            $4,975.15
REBECCA JANGULA          23704 E MAXWELL DRIVE                                                           LIBERTY LAKE        WA           99019-0000                             SUPPLIERS OR VENDORS        11/30/2018            $4,939.29
REBECCA JANGULA          23704 E MAXWELL DRIVE                                                           LIBERTY LAKE        WA           99019-0000                             SUPPLIERS OR VENDORS        12/14/2018            $5,386.59
REBECCA JANGULA          23704 E MAXWELL DRIVE                                                           LIBERTY LAKE        WA           99019-0000                             SUPPLIERS OR VENDORS        12/29/2018            $5,952.82
REBECCA JANGULA          23704 E MAXWELL DRIVE                                                           LIBERTY LAKE        WA           99019-0000                             SUPPLIERS OR VENDORS         1/11/2019            $5,617.37
REBECCA JENSEN           923 NUNN AVE                                                                    RICE LAKE           WI           54868                                  SUPPLIERS OR VENDORS        11/26/2018               $30.00
REBECCA JOHNSON          219 GREENWOOD DR.                                                               ROTHSCHILD          WI           54474                                  SUPPLIERS OR VENDORS         11/1/2018               $25.00
REBECCA MEYER            STORE 609                     SHOPKO EMPLOYEE        1120 HIGHWAY 67            KIEL                WI           53042                                  SUPPLIERS OR VENDORS         11/9/2018               $42.51
REBECCA OWENS            STORE 613                     SHOPKO EMPLOYEE        946 E MAIN STREET          WINNECONNE          WI           54986                                  SUPPLIERS OR VENDORS        11/15/2018               $40.33
REBECCA PETERSEN         STORE 2-104                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/1/2018              $111.40
REBECCA PETERSEN         STORE 2-104                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/15/2018              $160.78
REBECCA PETERSEN         STORE 2-104                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         12/6/2018              $265.86
REBECCA PETERSEN         STORE 2-104                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/27/2018              $266.83
REBECCA PIERCE           1700 CAMEO DR                                                                   EUGENE              OR           97405                                  SUPPLIERS OR VENDORS         11/9/2018               $28.00
REBECCA PITT JACKSON     801 E BECKWITH AVENUE                                                           MISSOULA            MT           59801                                  SUPPLIERS OR VENDORS        10/19/2018            $5,906.17
REBECCA PITT JACKSON     801 E BECKWITH AVENUE                                                           MISSOULA            MT           59801                                  SUPPLIERS OR VENDORS         11/2/2018            $4,997.54
REBECCA PITT JACKSON     801 E BECKWITH AVENUE                                                           MISSOULA            MT           59801                                  SUPPLIERS OR VENDORS        11/16/2018            $5,513.09
REBECCA PITT JACKSON     801 E BECKWITH AVENUE                                                           MISSOULA            MT           59801                                  SUPPLIERS OR VENDORS        11/30/2018            $5,272.17
REBECCA PITT JACKSON     801 E BECKWITH AVENUE                                                           MISSOULA            MT           59801                                  SUPPLIERS OR VENDORS        12/14/2018            $5,545.34
REBECCA PITT JACKSON     801 E BECKWITH AVENUE                                                           MISSOULA            MT           59801                                  SUPPLIERS OR VENDORS        12/29/2018            $5,883.37
REBECCA PITT JACKSON     801 E BECKWITH AVENUE                                                           MISSOULA            MT           59801                                  SUPPLIERS OR VENDORS         1/11/2019            $2,876.72
REBECCA PLASKEY          N8343 MERIDIAN AVE                                                              LOYAL               WI           54446                                  SUPPLIERS OR VENDORS        10/31/2018              $102.00
REBECCA RUIZ             7317 31ST AVE                                                                   KENOSHA             WI           53142                                  SUPPLIERS OR VENDORS         11/2/2018               $32.00
REBECCA SALEK            2625 KNUELL STREET                                                              MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS        11/26/2018               $10.00
REBECCA SCHMIDT          STORE 4-014                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/20/2018               $39.13
REBECCA SUEHRING         3723 N WRIGHT RD                                                                JANESVILLE          WI           53546                                  SUPPLIERS OR VENDORS         11/2/2018               $62.00
REBECCA VOLBRIGHT        N 8361 BEACHVIEW DRIVE                                                          FOND DU LAC         WI           54937                                  SUPPLIERS OR VENDORS        11/26/2018               $20.00
REBECCA WEIS             SAME AS EMILY                                                                   MARSHFIELD          WI           54449                                  SUPPLIERS OR VENDORS         11/8/2018               $23.00
RECKITT BENCKISER
INCORPORATED             PO BOX 088159                                                                   CHICAGO             IL           60695-1159                             SUPPLIERS OR VENDORS       10/26/2018           $61,349.57
RECKITT BENCKISER
INCORPORATED             PO BOX 088159                                                                   CHICAGO             IL           60695-1159                             SUPPLIERS OR VENDORS       10/29/2018           $90,866.05
RECKITT BENCKISER
INCORPORATED             PO BOX 088159                                                                   CHICAGO             IL           60695-1159                             SUPPLIERS OR VENDORS       10/31/2018           $57,524.60
RECKITT BENCKISER
INCORPORATED             PO BOX 088159                                                                   CHICAGO             IL           60695-1159                             SUPPLIERS OR VENDORS        11/9/2018           $94,313.85
RECKITT BENCKISER
INCORPORATED             PO BOX 088159                                                                   CHICAGO             IL           60695-1159                             SUPPLIERS OR VENDORS       11/12/2018           $54,112.26
RECKITT BENCKISER
INCORPORATED             PO BOX 088159                                                                   CHICAGO             IL           60695-1159                             SUPPLIERS OR VENDORS       11/22/2018           $37,180.27
RECKITT BENCKISER
INCORPORATED             PO BOX 088159                                                                   CHICAGO             IL           60695-1159                             SUPPLIERS OR VENDORS       11/23/2018          $351,948.71

RECRUIT MILITARY LLC      422 WEST LOVELAND AVENUE                                                       LOVELAND            OH           45140                                  SUPPLIERS OR VENDORS        11/1/2018            $9,900.00
                          7500 COLLEGE BOULEVARD STE
RED BISHOP HEIGHTS JV LLC 750                                                                            OVERLAND PARK       KS           66210                                  SUPPLIERS OR VENDORS        11/1/2018           $38,076.90
                          7500 COLLEGE BOULEVARD STE
RED BISHOP HEIGHTS JV LLC 750                                                                            OVERLAND PARK       KS           66210                                  SUPPLIERS OR VENDORS        12/1/2018           $38,076.90
RED BULL DISTRIBUTION
COMPANY                   PO BOX 204750                                                                  DALLAS              TX           75320-4750                             SUPPLIERS OR VENDORS       10/18/2018            $2,601.57



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                                                                                                                                                                              Reasons for payment or    Dates of    Total Amount or
      Creditor Name                Address1              Address2                  Address3                   City            State       Zip              Country                   transfer          Payments           Value
RED BULL DISTRIBUTION
COMPANY                  PO BOX 204750                                                               DALLAS              TX           75320-4750                             SUPPLIERS OR VENDORS      10/25/2018           $2,078.06
RED BULL DISTRIBUTION
COMPANY                  PO BOX 204750                                                               DALLAS              TX           75320-4750                             SUPPLIERS OR VENDORS       11/1/2018           $3,665.54
RED BULL DISTRIBUTION
COMPANY                  PO BOX 204750                                                               DALLAS              TX           75320-4750                             SUPPLIERS OR VENDORS       11/8/2018            $576.23
RED BULL DISTRIBUTION
COMPANY                  PO BOX 204750                                                               DALLAS              TX           75320-4750                             SUPPLIERS OR VENDORS      11/15/2018            $550.89
RED BULL DISTRIBUTION
COMPANY                  PO BOX 204750                                                               DALLAS              TX           75320-4750                             SUPPLIERS OR VENDORS      11/22/2018           $1,968.11
RED BULL DISTRIBUTION
COMPANY                  PO BOX 204750                                                               DALLAS              TX           75320-4750                             SUPPLIERS OR VENDORS      11/29/2018           $1,717.30
RED BULL DISTRIBUTION
COMPANY                  PO BOX 204750                                                               DALLAS              TX           75320-4750                             SUPPLIERS OR VENDORS      12/20/2018           $3,897.22
RED BULL DISTRIBUTION
COMPANY                  PO BOX 204750                                                               DALLAS              TX           75320-4750                             SUPPLIERS OR VENDORS      12/21/2018            $221.97
RED BULL DISTRIBUTION
COMPANY                  PO BOX 204750                                                               DALLAS              TX           75320-4750                             SUPPLIERS OR VENDORS      12/27/2018           $1,811.98

RED WING LAWN CARE LLC   229 JUNIPER AVE                                                             RED WING            MN           55066                                  SUPPLIERS OR VENDORS       11/1/2018            $198.90

RED WING LAWN CARE LLC   229 JUNIPER AVE                                                             RED WING            MN           55066                                  SUPPLIERS OR VENDORS       11/9/2018            $132.60
REDBRICK HEALTH
CORPORATION              PO BOX 674808                                                               DETROIT             MI           48267-4808                             SUPPLIERS OR VENDORS      10/26/2018         $12,184.10
REDBRICK HEALTH
CORPORATION              PO BOX 674808                                                               DETROIT             MI           48267-4808                             SUPPLIERS OR VENDORS       11/9/2018           $5,992.15
REDBRICK HEALTH
CORPORATION              PO BOX 674808                                                               DETROIT             MI           48267-4808                             SUPPLIERS OR VENDORS      12/19/2018           $5,945.90

REDD ROOFING COMPANY
INCORPORATED             PO BOX 1304                                                                 OGDEN               UT           84402                                  SUPPLIERS OR VENDORS      11/27/2018         $27,506.00
REDDING DISTRIBUTING
COMPANY                  PO BOX 492515                                                               REDDING             CA           96049-2515                             SUPPLIERS OR VENDORS      10/18/2018            $180.40
REDDING DISTRIBUTING
COMPANY                  PO BOX 492515                                                               REDDING             CA           96049-2515                             SUPPLIERS OR VENDORS       11/1/2018            $337.70
REDDING DISTRIBUTING
COMPANY                  PO BOX 492515                                                               REDDING             CA           96049-2515                             SUPPLIERS OR VENDORS      11/15/2018            $147.48
REDDING DISTRIBUTING
COMPANY                  PO BOX 492515                                                               REDDING             CA           96049-2515                             SUPPLIERS OR VENDORS      11/29/2018            $193.40

REDDY ICE INCORPORATED   PO BOX 730505                                                               DALLAS              TX           75373-0505                             SUPPLIERS OR VENDORS      10/25/2018             $33.50

REDDY ICE INCORPORATED   PO BOX 730505                                                               DALLAS              TX           75373-0505                             SUPPLIERS OR VENDORS      11/22/2018            $366.60
REDEX INDUSTRIES
INCORPORAATED            VICE PRESIDENT OF SALES   1176 SALEM PARKWAY                                SALEM               OH           44460                                  SUPPLIERS OR VENDORS      10/18/2018            $424.43
REDEX INDUSTRIES
INCORPORAATED            VICE PRESIDENT OF SALES   1176 SALEM PARKWAY                                SALEM               OH           44460                                  SUPPLIERS OR VENDORS      10/25/2018            $396.19
REDEX INDUSTRIES
INCORPORAATED            VICE PRESIDENT OF SALES   1176 SALEM PARKWAY                                SALEM               OH           44460                                  SUPPLIERS OR VENDORS       11/1/2018            $433.36
REED FORSTER             910 NE 11TH ST                                                              MADISON             SD           57042                                  SUPPLIERS OR VENDORS      11/29/2018             $48.00
REEDSBURG AREA YOUTH
BASKETBALL               501 K STREET                                                                REEDSBURG           WI           53959                                  SUPPLIERS OR VENDORS      10/29/2018             $150.00
REESE PHARMACEUTICAL     10617 FRANK AVENUE                                                          CLEVELAND           OH           44106                                  SUPPLIERS OR VENDORS       11/8/2018           $1,215.62
REESE PHARMACEUTICAL     10617 FRANK AVENUE                                                          CLEVELAND           OH           44106                                  SUPPLIERS OR VENDORS      11/15/2018           $1,992.99



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REESE PHARMACEUTICAL   10617 FRANK AVENUE                                                  CLEVELAND           OH           44106                                  SUPPLIERS OR VENDORS        11/29/2018            $4,922.60
REFRESHMENT SERVICES
PEPSI                  3400 SOLAR AVENUE                                                   SPRINGFIELD         IL           62707-5713                             SUPPLIERS OR VENDORS       10/19/2018              $200.78
REFRESHMENT SERVICES
PEPSI                  3400 SOLAR AVENUE                                                   SPRINGFIELD         IL           62707-5713                             SUPPLIERS OR VENDORS       10/19/2018              $281.54
REFRESHMENT SERVICES
PEPSI                  3400 SOLAR AVENUE                                                   SPRINGFIELD         IL           62707-5713                             SUPPLIERS OR VENDORS       10/19/2018              $560.59
REFRESHMENT SERVICES
PEPSI                  3400 SOLAR AVENUE                                                   SPRINGFIELD         IL           62707-5713                             SUPPLIERS OR VENDORS       10/23/2018              $185.60
REFRESHMENT SERVICES
PEPSI                  3400 SOLAR AVENUE                                                   SPRINGFIELD         IL           62707-5713                             SUPPLIERS OR VENDORS       10/23/2018              $711.93
REFRESHMENT SERVICES
PEPSI                  3400 SOLAR AVENUE                                                   SPRINGFIELD         IL           62707-5713                             SUPPLIERS OR VENDORS       10/26/2018              $222.54
REFRESHMENT SERVICES
PEPSI                  3400 SOLAR AVENUE                                                   SPRINGFIELD         IL           62707-5713                             SUPPLIERS OR VENDORS       10/26/2018              $543.06
REFRESHMENT SERVICES
PEPSI                  3400 SOLAR AVENUE                                                   SPRINGFIELD         IL           62707-5713                             SUPPLIERS OR VENDORS       10/26/2018            $1,990.41
REFRESHMENT SERVICES
PEPSI                  3400 SOLAR AVENUE                                                   SPRINGFIELD         IL           62707-5713                             SUPPLIERS OR VENDORS       10/30/2018              $966.82
REFRESHMENT SERVICES
PEPSI                  3400 SOLAR AVENUE                                                   SPRINGFIELD         IL           62707-5713                             SUPPLIERS OR VENDORS        11/2/2018              $197.68
REFRESHMENT SERVICES
PEPSI                  3400 SOLAR AVENUE                                                   SPRINGFIELD         IL           62707-5713                             SUPPLIERS OR VENDORS        11/2/2018              $367.02
REFRESHMENT SERVICES
PEPSI                  3400 SOLAR AVENUE                                                   SPRINGFIELD         IL           62707-5713                             SUPPLIERS OR VENDORS        11/2/2018              $404.97
REFRESHMENT SERVICES
PEPSI                  3400 SOLAR AVENUE                                                   SPRINGFIELD         IL           62707-5713                             SUPPLIERS OR VENDORS        11/6/2018            $1,435.57
REFRESHMENT SERVICES
PEPSI                  3400 SOLAR AVENUE                                                   SPRINGFIELD         IL           62707-5713                             SUPPLIERS OR VENDORS        11/9/2018              $225.32
REFRESHMENT SERVICES
PEPSI                  3400 SOLAR AVENUE                                                   SPRINGFIELD         IL           62707-5713                             SUPPLIERS OR VENDORS        11/9/2018              $374.16
REFRESHMENT SERVICES
PEPSI                  3400 SOLAR AVENUE                                                   SPRINGFIELD         IL           62707-5713                             SUPPLIERS OR VENDORS        11/9/2018              $484.13
REFRESHMENT SERVICES
PEPSI                  3400 SOLAR AVENUE                                                   SPRINGFIELD         IL           62707-5713                             SUPPLIERS OR VENDORS       11/13/2018              $307.90
REFRESHMENT SERVICES
PEPSI                  3400 SOLAR AVENUE                                                   SPRINGFIELD         IL           62707-5713                             SUPPLIERS OR VENDORS       11/16/2018              $191.43
REFRESHMENT SERVICES
PEPSI                  3400 SOLAR AVENUE                                                   SPRINGFIELD         IL           62707-5713                             SUPPLIERS OR VENDORS       11/16/2018              $310.82
REFRESHMENT SERVICES
PEPSI                  3400 SOLAR AVENUE                                                   SPRINGFIELD         IL           62707-5713                             SUPPLIERS OR VENDORS       11/16/2018            $1,052.27
REFRESHMENT SERVICES
PEPSI                  3400 SOLAR AVENUE                                                   SPRINGFIELD         IL           62707-5713                             SUPPLIERS OR VENDORS       11/23/2018              $162.88
REFRESHMENT SERVICES
PEPSI                  3400 SOLAR AVENUE                                                   SPRINGFIELD         IL           62707-5713                             SUPPLIERS OR VENDORS       11/23/2018              $541.43
REFRESHMENT SERVICES
PEPSI                  3400 SOLAR AVENUE                                                   SPRINGFIELD         IL           62707-5713                             SUPPLIERS OR VENDORS       11/23/2018            $1,397.52
REFRESHMENT SERVICES
PEPSI                  3400 SOLAR AVENUE                                                   SPRINGFIELD         IL           62707-5713                             SUPPLIERS OR VENDORS       11/23/2018            $1,457.87
REFRESHMENT SERVICES
PEPSI                  3400 SOLAR AVENUE                                                   SPRINGFIELD         IL           62707-5713                             SUPPLIERS OR VENDORS       11/27/2018            $1,485.99
REFRESHMENT SERVICES
PEPSI                  3400 SOLAR AVENUE                                                   SPRINGFIELD         IL           62707-5713                             SUPPLIERS OR VENDORS       11/30/2018              $325.24




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REFRESHMENT SERVICES
PEPSI                       3400 SOLAR AVENUE                                                             SPRINGFIELD         IL           62707-5713                             SUPPLIERS OR VENDORS      11/30/2018            $642.68
REFRESHMENT SERVICES
PEPSI                       3400 SOLAR AVENUE                                                             SPRINGFIELD         IL           62707-5713                             SUPPLIERS OR VENDORS      11/30/2018           $1,080.85
REFRESHMENT SERVICES
PEPSI                       3400 SOLAR AVENUE                                                             SPRINGFIELD         IL           62707-5713                             SUPPLIERS OR VENDORS       12/4/2018            $749.29
REFRESHMENT SERVICES
PEPSI                       3400 SOLAR AVENUE                                                             SPRINGFIELD         IL           62707-5713                             SUPPLIERS OR VENDORS      12/11/2018            $354.98
REFRESHMENT SERVICES
PEPSI                       3400 SOLAR AVENUE                                                             SPRINGFIELD         IL           62707-5713                             SUPPLIERS OR VENDORS      12/11/2018            $364.22
REFRESHMENT SERVICES
PEPSI                       3400 SOLAR AVENUE                                                             SPRINGFIELD         IL           62707-5713                             SUPPLIERS OR VENDORS      12/11/2018            $394.64
REFRESHMENT SERVICES
PEPSI                       3400 SOLAR AVENUE                                                             SPRINGFIELD         IL           62707-5713                             SUPPLIERS OR VENDORS      12/19/2018            $664.34
REFRESHMENT SERVICES
PEPSI                       3400 SOLAR AVENUE                                                             SPRINGFIELD         IL           62707-5713                             SUPPLIERS OR VENDORS      12/19/2018           $1,311.32
REFRESHMENT SERVICES
PEPSI                       3400 SOLAR AVENUE                                                             SPRINGFIELD         IL           62707-5713                             SUPPLIERS OR VENDORS      12/19/2018           $1,538.79
REFRESHMENT SERVICES
PEPSI                       3400 SOLAR AVENUE                                                             SPRINGFIELD         IL           62707-5713                             SUPPLIERS OR VENDORS      12/20/2018           $1,169.98
REFRESHMENT SERVICES
PEPSI                       3400 SOLAR AVENUE                                                             SPRINGFIELD         IL           62707-5713                             SUPPLIERS OR VENDORS      12/27/2018            $750.12
REFRESHMENT SERVICES
PEPSI                       3400 SOLAR AVENUE                                                             SPRINGFIELD         IL           62707-5713                             SUPPLIERS OR VENDORS      12/27/2018           $1,308.40
REGENCY COMMERCIAL          REGENCY NORTHERN INDIANA    380 N CROSS POINTE
ASSOCIATES LLC              LLC                         BLVD                                              EVANSVILLE          IN           47715                                  SUPPLIERS OR VENDORS       11/1/2018         $10,783.13
REGENCY COMMERCIAL          REGENCY NORTHERN INDIANA    380 N CROSS POINTE
ASSOCIATES LLC              LLC                         BLVD                                              EVANSVILLE          IN           47715                                  SUPPLIERS OR VENDORS       12/1/2018         $10,783.13
REGGIE ROOT                 5625 ELK CIRCLE                                                               LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS      12/14/2018             $20.00
REGINA LAGER                3714 BARRETTS DRIVE                                                           BELLEVUE            NE           68147                                  SUPPLIERS OR VENDORS       11/5/2018              $2.00
REGINA LAGER                3714 BARRETTS DRIVE                                                           BELLEVUE            NE           68147                                  SUPPLIERS OR VENDORS      11/26/2018              $2.00
REGINA MARQUARDT            STORE 4-081                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       11/8/2018             $11.24
REGINALD KELLUM             201 N THOMPSON DR APT 8                                                       MADISON             WI           53714                                  SUPPLIERS OR VENDORS       12/7/2018             $63.00
REGION V - SENDS            2507 SCHNEIDER AVENUE                                                         AUBURN              NE           68305                                  SUPPLIERS OR VENDORS       11/8/2018             $25.00
REGION V - SENDS            2507 SCHNEIDER AVENUE                                                         AUBURN              NE           68305                                  SUPPLIERS OR VENDORS      12/17/2018             $25.00

REGISTRATION FEE TRUST      WI DEPT OF TRANSPORTATION   PO BOX 3279                                       MILWAUKEE           WI           53201-3279                             SUPPLIERS OR VENDORS       11/7/2018            $106.00

REGISTRATION FEE TRUST      WI DEPT OF TRANSPORTATION   PO BOX 3279                                       MILWAUKEE           WI           53201-3279                             SUPPLIERS OR VENDORS      11/26/2018              $2.00
REICHERT INCORPORATED       C/O WELLS FARGO BANK        PO BOX 789202                                     PHILADELPHIA        PA           19178-0000                             SUPPLIERS OR VENDORS       11/8/2018         $10,900.00
REICHERT INCORPORATED       C/O WELLS FARGO BANK        PO BOX 789202                                     PHILADELPHIA        PA           19178-0000                             SUPPLIERS OR VENDORS      11/29/2018         $25,709.72

REIN PHOTOGRAPHY LLC        BILL REIN                   600 STONE GATE DRIVE                              KIMBERLY            WI           54136                                  SUPPLIERS OR VENDORS       11/8/2018           $4,815.00

REIN PHOTOGRAPHY LLC        BILL REIN                   600 STONE GATE DRIVE                              KIMBERLY            WI           54136                                  SUPPLIERS OR VENDORS       12/4/2018               $1.00

REIN PHOTOGRAPHY LLC        BILL REIN                   600 STONE GATE DRIVE                              KIMBERLY            WI           54136                                  SUPPLIERS OR VENDORS      12/19/2018          $6,420.00
RELIABLE OF MILWAUKEE       PO BOX 563                                                                    MILWAUKEE           WI           53201                                  SUPPLIERS OR VENDORS      11/29/2018         $48,021.66
RELIABLE OF MILWAUKEE (C-
HUB)                        PO BOX 563                                                                    MILWAUKEE           WI           53201                                  SUPPLIERS OR VENDORS      10/18/2018            $329.00
RELIABLE OF MILWAUKEE (C-
HUB)                        PO BOX 563                                                                    MILWAUKEE           WI           53201                                  SUPPLIERS OR VENDORS      10/25/2018            $710.60
RELIABLE OF MILWAUKEE (C-
HUB)                        PO BOX 563                                                                    MILWAUKEE           WI           53201                                  SUPPLIERS OR VENDORS       11/1/2018             $65.25



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RELIABLE OF MILWAUKEE (C-
HUB)                        PO BOX 563                                                                  MILWAUKEE           WI           53201                                  SUPPLIERS OR VENDORS       11/8/2018            $282.50
RELIABLE OF MILWAUKEE (C-
HUB)                        PO BOX 563                                                                  MILWAUKEE           WI           53201                                  SUPPLIERS OR VENDORS      11/15/2018           $1,115.00
RELIABLE OF MILWAUKEE (C-
HUB)                        PO BOX 563                                                                  MILWAUKEE           WI           53201                                  SUPPLIERS OR VENDORS      11/22/2018           $1,050.75
RELIABLE OF MILWAUKEE (C-
HUB)                        PO BOX 563                                                                  MILWAUKEE           WI           53201                                  SUPPLIERS OR VENDORS      11/29/2018           $1,267.10
RELYANCE DELIVERY LLC       CHIP STEIN                4009 5TH AVENUE N                                 GREAT FALLS         MT           59401                                  SUPPLIERS OR VENDORS      10/19/2018             $180.00
RELYANCE DELIVERY LLC       CHIP STEIN                4009 5TH AVENUE N                                 GREAT FALLS         MT           59401                                  SUPPLIERS OR VENDORS        1/5/2019             $495.00
RENAE BRENNER               STORE 2-670               SHOPKO EMPLOYEE        615 DEARBORN STREET        WAYNE               NE           68787                                  SUPPLIERS OR VENDORS       1/15/2019               $4.32
RENAE HALL                  700 9TH AV SE                                                               AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS       11/9/2018               $1.20
RENAE HESTEKIN              STORE 024                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/20/2018              $10.90
RENAE RICHARDSON            90 S FISHER                                                                 BLACKFOOT           ID           83221                                  SUPPLIERS OR VENDORS       11/6/2018             $360.97
RENAISSANCE IMPORTS
INCORPORATED                3201 GRIBBLE ROAD STE D                                                     MATTHEWS            NC           28104-8118                             SUPPLIERS OR VENDORS       11/8/2018         $12,689.86
RENAISSANCE IMPORTS
INCORPORATED                3201 GRIBBLE ROAD STE D                                                     MATTHEWS            NC           28104-8118                             SUPPLIERS OR VENDORS      11/15/2018         $13,854.60
RENATE GARVIN               4709 TURNER AVE                                                             MADISON             WI           53716                                  SUPPLIERS OR VENDORS       11/9/2018            $293.96
RENEA RANGUETTE             4102 SANDHILL DR                                                            JANESVILLE          WI           53546                                  SUPPLIERS OR VENDORS      12/19/2018             $25.00
                                                                             1425 EDGINGTON
RENEE DOLASH                STORE 685                 SHOPKO EMPLOYEE        AVENUE                     ELDORA              IA           50627                                  SUPPLIERS OR VENDORS       11/2/2018            $192.78
RENEE GAPINSKI              9334 CREST VIEW DRIVE                                                       SAINT JOSEPTH       MN           56374                                  SUPPLIERS OR VENDORS      12/13/2018            $100.00
RENEE HEITMEYER             203 FAIRWAY CIRCLE                                                          GARNER              IA           50438                                  SUPPLIERS OR VENDORS      12/10/2018             $60.00
RENEE KASSMEIER             STORE 586                 SHOPKO EMPLOYEE        1401 STATE STREET          PHILLIPSBURG        KS           67661                                  SUPPLIERS OR VENDORS      10/26/2018            $137.34
RENEE KASSMEIER             STORE 586                 SHOPKO EMPLOYEE        1401 STATE STREET          PHILLIPSBURG        KS           67661                                  SUPPLIERS OR VENDORS      11/30/2018             $37.06
                                                                             1625 E BLASCHKO
RENEE MAIER                 STORE 630                 SHOPKO EMPLOYEE        AVENUE                     ARCADIA             WI           54612                                  SUPPLIERS OR VENDORS      12/13/2018             $86.66
RENEE SPILINEK              12614 SO. 218TH ST.                                                         GRETNA              NE           68028                                  SUPPLIERS OR VENDORS      11/29/2018             $23.00
RENEE SUWYN                 560 NEWPORT AVE.                                                            FOND DU LAC         WI           54935                                  SUPPLIERS OR VENDORS      11/26/2018             $91.91
                                                                                                        ARMSTRONG
RENETTE TOMASZEWSKI         381 US HWY 8                                                                CREEK               WI           54103                                  SUPPLIERS OR VENDORS       11/1/2018             $13.54
                                                                                                        ARMSTRONG
RENETTE TOMASZEWSKI         381 US HWY 8                                                                CREEK               WI           54103                                  SUPPLIERS OR VENDORS      11/15/2018             $62.46

RENEW LIFE FORMULAS INC PO BOX 206933                                                                   DALLAS              TX           75320-6933                             SUPPLIERS OR VENDORS      10/18/2018           $5,553.53

RENEW LIFE FORMULAS INC PO BOX 206933                                                                   DALLAS              TX           75320-6933                             SUPPLIERS OR VENDORS       11/9/2018           $4,919.68

RENEW LIFE FORMULAS INC PO BOX 206933                                                                   DALLAS              TX           75320-6933                             SUPPLIERS OR VENDORS      11/22/2018            $343.10

RENEW LIFE FORMULAS INC PO BOX 206933                                                                   DALLAS              TX           75320-6933                             SUPPLIERS OR VENDORS      11/29/2018           $1,648.80

RENFRO F L INCORPORATED PO BOX 932492                                                                   ATLANTA             GA           31193-2492                             SUPPLIERS OR VENDORS      10/18/2018         $18,710.36

RENFRO F L INCORPORATED PO BOX 932492                                                                   ATLANTA             GA           31193-2492                             SUPPLIERS OR VENDORS      10/25/2018         $18,209.56

RENFRO F L INCORPORATED PO BOX 932492                                                                   ATLANTA             GA           31193-2492                             SUPPLIERS OR VENDORS       11/1/2018         $17,356.21

RENFRO F L INCORPORATED PO BOX 932492                                                                   ATLANTA             GA           31193-2492                             SUPPLIERS OR VENDORS       11/8/2018         $10,405.49

RENFRO F L INCORPORATED PO BOX 932492                                                                   ATLANTA             GA           31193-2492                             SUPPLIERS OR VENDORS      11/15/2018           $9,675.95

RENFRO F L INCORPORATED PO BOX 932492                                                                   ATLANTA             GA           31193-2492                             SUPPLIERS OR VENDORS      11/22/2018         $21,707.78



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                                                                                                                                                                                      Reasons for payment or    Dates of    Total Amount or
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RENFRO F L INCORPORATED      PO BOX 932492                                                                   ATLANTA             GA           31193-2492                             SUPPLIERS OR VENDORS      11/29/2018         $11,351.84
RENNA VAN DEUSEN             918 GARFIELD                                                                    LINCOLN             NE           68502                                  SUPPLIERS OR VENDORS       11/1/2018              $7.99
RENPURE LLC                  VB BOX 128                    PO BOX 9202                                       MINNEAPOLIS         MN           55480-9202                             SUPPLIERS OR VENDORS      10/18/2018            $570.17
RENPURE LLC                  VB BOX 128                    PO BOX 9202                                       MINNEAPOLIS         MN           55480-9202                             SUPPLIERS OR VENDORS      10/25/2018          $2,244.13
RENPURE LLC                  VB BOX 128                    PO BOX 9202                                       MINNEAPOLIS         MN           55480-9202                             SUPPLIERS OR VENDORS       11/1/2018          $1,906.74
RENPURE LLC                  VB BOX 128                    PO BOX 9202                                       MINNEAPOLIS         MN           55480-9202                             SUPPLIERS OR VENDORS       11/8/2018            $976.53
RENPURE LLC                  VB BOX 128                    PO BOX 9202                                       MINNEAPOLIS         MN           55480-9202                             SUPPLIERS OR VENDORS      11/15/2018          $1,193.33
RENPURE LLC                  VB BOX 128                    PO BOX 9202                                       MINNEAPOLIS         MN           55480-9202                             SUPPLIERS OR VENDORS      11/22/2018            $637.42
RENPURE LLC                  VB BOX 128                    PO BOX 9202                                       MINNEAPOLIS         MN           55480-9202                             SUPPLIERS OR VENDORS      11/29/2018          $1,462.22
RESORTER WAUSHARA
ARGUS                        W7781 STATE RD 21 & 73                                                          WAUTOMA             WI           54982                                  SUPPLIERS OR VENDORS      10/24/2018             $850.00
RETAIL DATA LLC              PO BOX 791398                                                                   BALTIMORE           MD           21279                                  SUPPLIERS OR VENDORS       11/1/2018           $2,277.95

RETAIL ON 41ST STREET LLC    101 S REID STREET SUITE 209                                                     SIOUX FALLS         SD           57103                                  SUPPLIERS OR VENDORS       11/1/2018         $77,520.44

RETAIL ON 41ST STREET LLC    101 S REID STREET SUITE 209                                                     SIOUX FALLS         SD           57103                                  SUPPLIERS OR VENDORS       12/4/2018         $77,520.44
RETAIL SALES SOLUTIONS L L
C                            SHOPKO STORES                 PO BOX 19060           DISC 05/12/10              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/18/2018           $1,019.56
RETAIL SALES SOLUTIONS L L
C                            SHOPKO STORES                 PO BOX 19060           DISC 05/12/10              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/25/2018           $1,433.52
RETAIL SALES SOLUTIONS L L
C                            SHOPKO STORES                 PO BOX 19060           DISC 05/12/10              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/1/2018            $734.08
RETAIL SALES SOLUTIONS L L
C                            SHOPKO STORES                 PO BOX 19060           DISC 05/12/10              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/6/2018            $857.28
RETAIL SALES SOLUTIONS L L
C                            SHOPKO STORES                 PO BOX 19060           DISC 05/12/10              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/13/2018           $2,100.72
RETAIL SALES SOLUTIONS L L
C                            SHOPKO STORES                 PO BOX 19060           DISC 05/12/10              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/15/2018           $1,161.56
RETAIL SALES SOLUTIONS L L
C                            SHOPKO STORES                 PO BOX 19060           DISC 05/12/10              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/27/2018           $5,018.12
RETAIL SALES SOLUTIONS L L
C                            SHOPKO STORES                 PO BOX 19060           DISC 05/12/10              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/6/2018           $1,875.52

RETAIL TECH INCORPORATED 1501 PARK ROAD                                                                      CHANHASSEN          MN           55317                                  SUPPLIERS OR VENDORS       11/1/2018            $132.80

RETAIL TECH INCORPORATED 1501 PARK ROAD                                                                      CHANHASSEN          MN           55317                                  SUPPLIERS OR VENDORS      11/27/2018            $405.00
                         60 SOUTH MARKET STREET
RETAILNEXT INCORPORATED 10TH FLOOR                                                                           SAN JOSE            CA           95113                                  SUPPLIERS OR VENDORS      10/26/2018           $2,906.38
                         9100 WILSHIRE BLVD SUITE
RETREAT ON ROSLYN LLC    360E                                                                                BEVERLY HILLS       CA           90212                                  SUPPLIERS OR VENDORS       11/1/2018         $53,332.00
                         9100 WILSHIRE BLVD SUITE
RETREAT ON ROSLYN LLC    360E                                                                                BEVERLY HILLS       CA           90212                                  SUPPLIERS OR VENDORS       12/4/2018         $53,332.00
RETTA WELDY              509 N BURNS RD                                                                      SPOKANE             WA           99216                                  SUPPLIERS OR VENDORS      10/22/2018             $20.68

RETURN PATH INC              75 REMITTANCE DR DEPT 6168                                                      CHICAGO             IL           60675-6168                             SUPPLIERS OR VENDORS      10/25/2018         $16,000.00
                                                                                  1002 OLD MINNESOTA
REVA ENZ                     STORE 2-611                   SHOPKO EMPLOYEE        AVENUE                     ST PETER            MN           56082                                  SUPPLIERS OR VENDORS      10/25/2018            $172.50
                                                                                  1002 OLD MINNESOTA
REVA ENZ                     STORE 2-611                   SHOPKO EMPLOYEE        AVENUE                     ST PETER            MN           56082                                  SUPPLIERS OR VENDORS      11/15/2018            $172.50
                                                                                  1002 OLD MINNESOTA
REVA ENZ                     STORE 2-611                   SHOPKO EMPLOYEE        AVENUE                     ST PETER            MN           56082                                  SUPPLIERS OR VENDORS       12/6/2018            $178.25
REVISE CLOTHING              CIT GROUP COMMERCIAL
INCORPORATED                 SERVICES INC                  PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      10/19/2018        $127,271.18



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                                                                                                                                                                         Reasons for payment or    Dates of    Total Amount or
       Creditor Name              Address1          Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
REVISE CLOTHING        CIT GROUP COMMERCIAL
INCORPORATED           SERVICES INC           PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/1/2018             $90.00
REVISE CLOTHING        CIT GROUP COMMERCIAL
INCORPORATED           SERVICES INC           PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/2/2018           $7,064.00
REVISE CLOTHING        CIT GROUP COMMERCIAL
INCORPORATED           SERVICES INC           PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/8/2018           $9,225.30
REVISE CLOTHING        CIT GROUP COMMERCIAL
INCORPORATED           SERVICES INC           PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       12/5/2018         $46,815.42
REVLON INCORPORATED
ALMAY                  PO BOX 98231                                                             CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      10/18/2018           $1,283.04
REVLON INCORPORATED
ALMAY                  PO BOX 98231                                                             CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      10/18/2018           $6,405.59
REVLON INCORPORATED
ALMAY                  PO BOX 98231                                                             CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      10/23/2018         $18,092.95
REVLON INCORPORATED
ALMAY                  PO BOX 98231                                                             CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      10/25/2018           $1,967.33
REVLON INCORPORATED
ALMAY                  PO BOX 98231                                                             CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      10/25/2018         $22,466.29
REVLON INCORPORATED
ALMAY                  PO BOX 98231                                                             CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      10/30/2018           $9,995.76
REVLON INCORPORATED
ALMAY                  PO BOX 98231                                                             CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       11/1/2018           $1,710.72
REVLON INCORPORATED
ALMAY                  PO BOX 98231                                                             CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       11/1/2018           $4,067.07
REVLON INCORPORATED
ALMAY                  PO BOX 98231                                                             CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       11/6/2018           $5,011.29
REVLON INCORPORATED
ALMAY                  PO BOX 98231                                                             CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       11/8/2018         $22,643.21
REVLON INCORPORATED
ALMAY                  PO BOX 98231                                                             CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      11/13/2018         $30,987.29
REVLON INCORPORATED
ALMAY                  PO BOX 98231                                                             CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      11/15/2018            $401.00
REVLON INCORPORATED
ALMAY                  PO BOX 98231                                                             CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      11/22/2018           $1,111.97
REVLON INCORPORATED
ALMAY                  PO BOX 98231                                                             CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      11/27/2018         $74,611.04
REVLON INCORPORATED
ALMAY                  PO BOX 98231                                                             CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      11/29/2018           $9,246.92
REVLON INCORPORATED
ALMAY                  PO BOX 98231                                                             CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       12/4/2018         $14,311.39
REVLON INCORPORATED
ALMAY                  PO BOX 98231                                                             CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       12/6/2018         $16,414.22
REYANNA RICE           1802 SUNDOWNER                                                           VICTOR              MT           59875                                  SUPPLIERS OR VENDORS       12/7/2018             $53.76
REYANNA RICE           1802 SUNDOWNER                                                           VICTOR              MT           59875                                  SUPPLIERS OR VENDORS      12/20/2018             $31.32
REYNE PHILLIPS         W8406 CTY. B                                                             BROWNTOWN           WI           53522                                  SUPPLIERS OR VENDORS       12/7/2018             $25.00
REYNOLDS CONSUMER                             PO BOX 7247 LOCKBOX
PRODUCTS INC           PACTIV                 8054                                              PHILADELPHIA        PA           19170-8025                             SUPPLIERS OR VENDORS      10/23/2018         $26,426.82
REYNOLDS CONSUMER                             PO BOX 7247 LOCKBOX
PRODUCTS INC           PACTIV                 8054                                              PHILADELPHIA        PA           19170-8025                             SUPPLIERS OR VENDORS       11/1/2018         $77,220.13
REYNOLDS CONSUMER                             PO BOX 7247 LOCKBOX
PRODUCTS INC           PACTIV                 8054                                              PHILADELPHIA        PA           19170-8025                             SUPPLIERS OR VENDORS       11/6/2018         $32,443.35
REYNOLDS CONSUMER                             PO BOX 7247 LOCKBOX
PRODUCTS INC           PACTIV                 8054                                              PHILADELPHIA        PA           19170-8025                             SUPPLIERS OR VENDORS      11/15/2018         $37,895.92




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REYNOLDS CONSUMER                                         PO BOX 7247 LOCKBOX
PRODUCTS INC                PACTIV                        8054                                              PHILADELPHIA        PA           19170-8025                             SUPPLIERS OR VENDORS      11/29/2018         $35,442.85
REYNOLDS MANAGEMENT
GROUP INC                   PO BOX 1049                                                                     SIDNEY              MT           59270                                  SUPPLIERS OR VENDORS       11/1/2018            $355.14
REYNOLDS MANAGEMENT
GROUP INC                   PO BOX 1049                                                                     SIDNEY              MT           59270                                  SUPPLIERS OR VENDORS       12/1/2018            $355.14
RGIS HOLDINGS LLC           2000 E TAYLOR RD                                                                AUBORN HILLS        MI           48326                                  INVENTORY SERVICES        12/14/2018          $3,600.00
RGIS HOLDINGS LLC           2000 E TAYLOR RD                                                                AUBORN HILLS        MI           48326                                  INVENTORY SERVICES        12/27/2018          $1,250.00
RGIS HOLDINGS LLC           2000 E TAYLOR RD                                                                AUBORN HILLS        MI           48326                                  INVENTORY SERVICES          1/4/2019         $20,181.92
RGIS INVENTORY
SPECIALISTS                 PO BOX 77631                                                                    DETROIT             MI           48277                                  SUPPLIERS OR VENDORS      10/23/2018         $40,829.44
RGIS INVENTORY
SPECIALISTS                 PO BOX 77631                                                                    DETROIT             MI           48277                                  SUPPLIERS OR VENDORS      10/30/2018         $37,425.93
RGIS INVENTORY
SPECIALISTS                 PO BOX 77631                                                                    DETROIT             MI           48277                                  SUPPLIERS OR VENDORS       11/6/2018         $36,562.19
RGIS INVENTORY
SPECIALISTS                 PO BOX 77631                                                                    DETROIT             MI           48277                                  SUPPLIERS OR VENDORS      11/13/2018         $35,115.82
RGIS INVENTORY
SPECIALISTS                 PO BOX 77631                                                                    DETROIT             MI           48277                                  SUPPLIERS OR VENDORS      11/27/2018         $20,925.60
RGIS INVENTORY
SPECIALISTS                 PO BOX 77631                                                                    DETROIT             MI           48277                                  SUPPLIERS OR VENDORS       12/4/2018         $35,567.43
RGIS INVENTORY
SPECIALISTS                 PO BOX 77631                                                                    DETROIT             MI           48277                                  SUPPLIERS OR VENDORS      12/11/2018         $76,537.00
RHEA ESPINOZA               5531 SARAH JANE DR                                                              KEARNS              UT           84118                                  SUPPLIERS OR VENDORS       12/7/2018              $6.98
RHONA D'ANTUONO             3617 8TH AVE S                                                                  GREAT FALLS         MT           59405                                  SUPPLIERS OR VENDORS      12/13/2018            $169.96
RHONDA ELENBAAS             STORE 711                     SHOPKO EMPLOYEE        PO BOX 139B                MEMPHIS             MO           63555                                  SUPPLIERS OR VENDORS      10/26/2018             $32.70
RHONDA ELENBAAS             STORE 711                     SHOPKO EMPLOYEE        PO BOX 139B                MEMPHIS             MO           63555                                  SUPPLIERS OR VENDORS      11/16/2018             $32.70
RHONDA ELENBAAS             STORE 711                     SHOPKO EMPLOYEE        PO BOX 139B                MEMPHIS             MO           63555                                  SUPPLIERS OR VENDORS      12/14/2018             $27.50
RHONDA ELSTON               1125 REDDING AVE                                                                WINDOM              MN           56101                                  SUPPLIERS OR VENDORS      11/30/2018             $65.00
RHONDA GRIFFITH             6034 S12TH ST                                                                   SHEBOYGAN           WI           53081                                  SUPPLIERS OR VENDORS      10/31/2018             $65.98
RHONDA HAJEK                656 COUNTY RD 2400                                                              CRETE               NE           68333                                  SUPPLIERS OR VENDORS      11/12/2018             $43.00
RHONDA JAMES                2296 EASY STREET                                                                WENATCHEE           WA           98801                                  SUPPLIERS OR VENDORS       11/8/2018             $45.00
RHONDA LEWIS                N1970 ALPHORN                                                                   MONROE              WI           53566                                  SUPPLIERS OR VENDORS      10/29/2018             $12.80
RHONDA SCHEMM               165 COUNTRYSIDE DRIVE                                                           EVANSVILLE          WI           53536                                  SUPPLIERS OR VENDORS      11/26/2018             $20.00
RHONDA WEATHERBY            101 BRENTWOOD AVE                                                               HICKMAN             NE           68372                                  SUPPLIERS OR VENDORS      11/12/2018             $43.00
                                                                                 800 S WASHINGTON
RHONDA WINE                 STORE 2-746                   SHOPKO EMPLOYEE        AVENUE                     MADISON             SD           57042-0000                             SUPPLIERS OR VENDORS      12/13/2018             $58.86
RI DEPT OF REVENUE          1 CAPITAL HILL                                                                  PROVIDENCE          RI           29008                                  SALES/USE TAX             11/20/2018             $60.51
RI DEPT OF REVENUE          1 CAPITOL HILL                                                                  PROVIDENCE          RI           02908                                  SALES & USE TAX           12/19/2018            $119.58

RICARDO BEVERLY HILLS INC 6329 SOUTH 226TH ST STE 101                                                       KENT                WA           98032-1893                             SUPPLIERS OR VENDORS      10/25/2018         $39,996.00

RICARDO BEVERLY HILLS INC   6329 SOUTH 226TH ST STE 101                                                     KENT                WA           98032-1893                             SUPPLIERS OR VENDORS       11/8/2018            $904.00
RICARDO MACIAS
RODRIGUEZ                   1115 N SPRING                                                                   BEAVER DAM          WI           53916                                  SUPPLIERS OR VENDORS      11/29/2018             $40.00
RICE COUNTY TREASURER       PO BOX 59                                                                       LYONS               KS           67554                                  SUPPLIERS OR VENDORS      12/13/2018         $21,890.14
RICE HOLDINGS LLC           ATTN WILLIAM RICE             411 9TH AVE EAST                                  SISSETON            SD           57262                                  SUPPLIERS OR VENDORS       11/1/2018            $170.40
RICE JUICE COMPANY
INCORPORATED                873 EVERGREEN COURT                                                             KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS      10/18/2018           $1,489.99
RICE JUICE COMPANY
INCORPORATED                873 EVERGREEN COURT                                                             KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS      11/15/2018           $2,676.08
RICE JUICE COMPANY
INCORPORATED                873 EVERGREEN COURT                                                             KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS      12/20/2018           $1,611.96




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RICE JUICE COMPANY
INCORPORATED           873 EVERGREEN COURT                                                          KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS      12/21/2018            $134.18
RICE JUICE COMPANY
INCORPORATED           873 EVERGREEN COURT                                                          KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS      12/27/2018            $575.80
RICHARD ARMSTRONG      4255 PRAIRIE FOX DR                                                          JANESVILLE          WI           53546                                  SUPPLIERS OR VENDORS      11/12/2018            $114.16
RICHARD BAKKEN         356 NORTH SUNSET DRIVE                                                       MINA                SD           57451                                  SUPPLIERS OR VENDORS       12/7/2018             $48.64

RICHARD BENGERT        2642 BIRON DRIVE EAST                                                        WISCONSIN RAPIDS    WI           54494                                  SUPPLIERS OR VENDORS      10/29/2018             $10.56
RICHARD BLANKENSHIP    P. O. BOX 74                                                                 KENDRICK            ID           83537                                  SUPPLIERS OR VENDORS      10/25/2018             $51.20
RICHARD BROOKSHIER     1929 WELDON RD                                                               BILLINGS            MT           59101                                  SUPPLIERS OR VENDORS      11/29/2018             $45.00
RICHARD BRUYERE        2447 WOOD DRIVE                                                              BELOIT              WI           53511                                  SUPPLIERS OR VENDORS       11/2/2018             $32.00
RICHARD BUCKMASTER     934 BUKOLT AVE.                                                              STEVENS POINT       WI           54481                                  SUPPLIERS OR VENDORS      11/28/2018             $83.00
RICHARD BURHITE        5418 ORIOLE LN                                                               STEVENS POINT       WI           54481                                  SUPPLIERS OR VENDORS      12/20/2018            $123.00
RICHARD C KELLY        3620 ANTHONY WAY                                                             PASO ROBLES         CA           93446                                  SUPPLIERS OR VENDORS       11/1/2018         $25,066.66
RICHARD C KELLY        3620 ANTHONY WAY                                                             PASO ROBLES         CA           93446                                  SUPPLIERS OR VENDORS       12/1/2018         $25,066.66
RICHARD C KELLY        3620 ANTHONY WAY                                                             PASO ROBLES         CA           93446                                  SUPPLIERS OR VENDORS      12/11/2018         $29,200.00
RICHARD COYLE          2419 23RD ST.                                                                CLARKSTON           WA           99403                                  SUPPLIERS OR VENDORS      11/16/2018             $21.98
RICHARD CUMMINGS       422 N BOYD                                                                   LANARK              IL           61046                                  SUPPLIERS OR VENDORS      10/22/2018            $142.71
RICHARD CURLEE         2508 ANTLER DR                                                               JANESVILLE          WI           53548                                  SUPPLIERS OR VENDORS      12/21/2018             $30.00
RICHARD DAVEY          4858 LEATHER WAY                                                             BOISE               ID           83713                                  SUPPLIERS OR VENDORS      12/13/2018             $69.97
RICHARD DION           675 ROLLING OAKS DRIVE                                                       ONALASKA            WI           54650                                  SUPPLIERS OR VENDORS      11/26/2018             $16.00
RICHARD DORAN          6 N. ST. JOSEPH LN.                                                          FOND DU LAC         WI           54935                                  SUPPLIERS OR VENDORS      12/13/2018            $123.00
RICHARD EELLS          1831 W PEARL CITY RD                                                         FREEPORT            IL           61032                                  SUPPLIERS OR VENDORS      11/26/2018             $32.00
RICHARD ESSMANN        W5350 WILDLIFE LANE                                                          FOND DU LAC         WI           54937                                  SUPPLIERS OR VENDORS      10/25/2018             $72.00

RICHARD FREDRICK       3082 PINE LANE                                                               WISCONSIN RAPIDS    WI           54495                                  SUPPLIERS OR VENDORS      12/13/2018             $25.00
RICHARD HAUSER         151 MCBRIDE STREET                                                           WINONA              MN           55987                                  SUPPLIERS OR VENDORS      10/29/2018             $54.90
RICHARD HELM           824 SHAURETTE                                                                STEVENS POINT       WI           54481                                  SUPPLIERS OR VENDORS       11/2/2018             $25.00
RICHARD HENDERSON      714 ALMA AVE.                                                                IPSWICH             SD           57451                                  SUPPLIERS OR VENDORS      11/28/2018             $12.16
RICHARD HOEFLING       6315 EVERGLADR CT                                                            MC FARLAND          WI           53558                                  SUPPLIERS OR VENDORS      12/19/2018             $25.00
RICHARD HORTON         609 ORCHARD RIDGE RD                                                         DODGEVILLE          WI           53533                                  SUPPLIERS OR VENDORS      10/29/2018             $15.00
RICHARD KALANICK       PO BOX 297                SHOPKO EMPLOYEE                                    BIG SANDY           MT           59520                                  SUPPLIERS OR VENDORS       11/2/2018            $388.08

RICHARD KOSLOSKE       STORE 629                 SHOPKO EMPLOYEE         1500 E SHERIDAN STREET ELY                     MN           55731                                  SUPPLIERS OR VENDORS       11/1/2018             $133.47
RICHARD KRAFT          1210 CENTRAL AVE          P O BOX 82                                     NORTHWOOD               IA           50459                                  SUPPLIERS OR VENDORS       11/5/2018              $48.00
RICHARD KRAFT          1210 CENTRAL AVE          P O BOX 82                                     NORTHWOOD               IA           50459                                  SUPPLIERS OR VENDORS      11/12/2018              $12.00
RICHARD L MAU          3002 OKOBOJI BOULEVARD                                                   MILFORD                 IA           51351                                  SUPPLIERS OR VENDORS       11/1/2018           $3,136.50
RICHARD L MAU          3002 OKOBOJI BOULEVARD                                                   MILFORD                 IA           51351                                  SUPPLIERS OR VENDORS       12/1/2018           $3,136.50
RICHARD LEMONS         2644 SENECA CT                                                           GREEN BAY               WI           54313                                  SUPPLIERS OR VENDORS       11/9/2018               $1.00
RICHARD LINDNER        68 LINKS LANE             UNIT 6                                         WINONA                  MN           55987                                  SUPPLIERS OR VENDORS      10/29/2018              $30.91
RICHARD MELVIN         15390 260TH STREET                                                       EWING                   MO           63440                                  SUPPLIERS OR VENDORS      10/26/2018              $16.00
RICHARD MESTELLE       4974 SHEEDER ROAD                                                        EAU CLAIRE              WI           54701                                  SUPPLIERS OR VENDORS      11/26/2018              $10.00

RICHARD MOCK           327 MILLERSVILLE AVE                                                         HOWARDS GROVE       WI           53083                                  SUPPLIERS OR VENDORS      10/22/2018             $25.00
RICHARD MONICKE        PO BOX 146                                                                   TIGERTON            WI           54486                                  SUPPLIERS OR VENDORS      11/26/2018             $12.40
RICHARD NUOFFER        510 ROBERT ST                                                                FORT ATKINSON       WI           53538                                  SUPPLIERS OR VENDORS      11/12/2018             $43.00
RICHARD OIEN           738 E. BREITUNG AVENUE                                                       KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS      12/14/2018             $39.04
RICHARD PAALMAN        W6145 LONG COURT                                                             APPLETON            WI           54914                                  SUPPLIERS OR VENDORS      11/30/2018             $33.99

RICHARD PLAUTZ         STORE OPERATIONS/STORE 080 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS      10/19/2018            $169.95

RICHARD PLAUTZ         STORE OPERATIONS/STORE 080 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS      10/26/2018            $287.94

RICHARD PLAUTZ         STORE OPERATIONS/STORE 080 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       11/2/2018            $363.85



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                                                                                                                                                                              Reasons for payment or    Dates of    Total Amount or
     Creditor Name                Address1               Address2                  Address3                    City            State       Zip             Country                   transfer          Payments           Value

RICHARD PLAUTZ          STORE OPERATIONS/STORE 080 SHOPKO EMPLOYEE                                   GREEN BAY            WI           54307                                 SUPPLIERS OR VENDORS      12/29/2018            $172.18
RICHARD RUSCH           804 S, 7TH ST                                                                WATERTOWN            WI           53094                                 SUPPLIERS OR VENDORS      11/29/2018             $75.00
RICHARD SCHADEWALD      2720 DANBAR DR                                                               GREEN BAY            WI           54313                                 SUPPLIERS OR VENDORS       11/9/2018             $25.00
RICHARD SCHMIDT         1062 LIME KILN RD. APT. 12                                                   GREEN BAY            WI           54302                                 SUPPLIERS OR VENDORS      12/18/2018            $190.00
RICHARD SCHULTE         17071 355TH AVE.                                                             ORIENT               SD           57467                                 SUPPLIERS OR VENDORS       11/1/2018             $11.97
RICHARD SCHULTE         17071 355TH AVE.                                                             ORIENT               SD           57467                                 SUPPLIERS OR VENDORS       11/5/2018             $48.64
RICHARD SEIDL           W6854 WILLOW GLEN WAY                                                        APPLETON             WI           54915                                 SUPPLIERS OR VENDORS       11/1/2018             $10.00
RICHARD T HALL          STORE 2-127                SHOPKO EMPLOYEE                                   GREEN BAY            WI           54307                                 SUPPLIERS OR VENDORS      12/20/2018             $79.57
RICHARD VICK            12478 ILL RT 26 N                                                            ORANGEVILLE          IL           61060                                 SUPPLIERS OR VENDORS      11/26/2018             $25.00
RICHARD WALRATH         PO BOX 127                                                                   HANCOCK              MI           49930                                 SUPPLIERS OR VENDORS      12/10/2018              $9.60
RICHARD WALTMAN         PO BOX 145                                                                   LEOLA                SD           57456                                 SUPPLIERS OR VENDORS       12/7/2018             $48.64
RICHARDS HOMEWARES
INCORPORATED            PO BOX 83419                                                                 PORTLAND             OR           97283                                 SUPPLIERS OR VENDORS      10/18/2018            $545.99
RICHARDS HOMEWARES
INCORPORATED            PO BOX 83419                                                                 PORTLAND             OR           97283                                 SUPPLIERS OR VENDORS      10/25/2018            $602.58
RICHARDS HOMEWARES
INCORPORATED            PO BOX 83419                                                                 PORTLAND             OR           97283                                 SUPPLIERS OR VENDORS       11/1/2018           $1,055.16
RICHARDS HOMEWARES
INCORPORATED            PO BOX 83419                                                                 PORTLAND             OR           97283                                 SUPPLIERS OR VENDORS       11/8/2018            $321.23
RICHARDS HOMEWARES
INCORPORATED            PO BOX 83419                                                                 PORTLAND             OR           97283                                 SUPPLIERS OR VENDORS      11/15/2018            $922.92
RICHARDS HOMEWARES
INCORPORATED            PO BOX 83419                                                                 PORTLAND             OR           97283                                 SUPPLIERS OR VENDORS      11/22/2018           $1,289.16
RICHARDS HOMEWARES
INCORPORATED            PO BOX 83419                                                                 PORTLAND             OR           97283                                 SUPPLIERS OR VENDORS      11/29/2018             $966.00
RICHELLE ALDRICH        808 DANA LANE                                                                KELLER               TX           76248                                 SUPPLIERS OR VENDORS      10/30/2018           $2,000.00
RICHLAND COUNTY
TREASURER               201 WEST MAIN                                                                SIDNEY               MT           59270                                 SUPPLIERS OR VENDORS      11/26/2018         $12,249.41
RICHLAND WALKER         4305 MAIN ST                                                                 ROCA                 NE           68430                                 SUPPLIERS OR VENDORS      12/10/2018             $25.00
RICHMOND BECKARD        W2941 GREEN ISLE DRIVE                                                       FORTATKINSON         WI           53538                                 SUPPLIERS OR VENDORS      11/26/2018             $40.00
RICK CORCORAN           626 HAEBERLE AVE.                                                            NEW ULM              MN           56073                                 SUPPLIERS OR VENDORS       11/1/2018              $1.40
RICK CURTIS             STORE 016                 SHOPKO EMPLOYEE                                    GREEN BAY            WI           54307-9060                            SUPPLIERS OR VENDORS      11/16/2018            $116.63
RICK DOUGHERTY          13999 OLD HWY RD.                                                            DUBUQUE              IA           52200                                 SUPPLIERS OR VENDORS      12/19/2018            $204.00
RICK FOLKESTAD          22 SOUTH 9TH STREET                                                          OAKES                ND           58474                                 SUPPLIERS OR VENDORS      11/15/2018             $60.00
RICK LUNDEQUAM          STORE 132                 SHOPKO EMPLOYEE                                    GREEN BAY            WI           54307-9060                            SUPPLIERS OR VENDORS      12/27/2018             $53.74
RICK OSWALD             1210 S LAKE ST                                                               MANITOWOC            WI           54220                                 SUPPLIERS OR VENDORS      11/12/2018             $16.00
RICKY ASCHENBACH        2224 KOHLS CT                                                                SHEBOYGAN            WI           53083                                 SUPPLIERS OR VENDORS       12/5/2018             $25.00
RICKY CASEY             STORE OPERATIONS          SHOPKO EMPLOYEE                                    GREEN BAY            WI           54307-9060                            SUPPLIERS OR VENDORS      10/19/2018            $509.56
RICKY CASEY             STORE OPERATIONS          SHOPKO EMPLOYEE                                    GREEN BAY            WI           54307-9060                            SUPPLIERS OR VENDORS       11/9/2018            $570.34
RICKY CASEY             STORE OPERATIONS          SHOPKO EMPLOYEE                                    GREEN BAY            WI           54307-9060                            SUPPLIERS OR VENDORS      12/14/2018          $1,458.22
RICKY CASEY             STORE OPERATIONS          SHOPKO EMPLOYEE                                    GREEN BAY            WI           54307-9060                            SUPPLIERS OR VENDORS        1/5/2019            $515.82
RICO INDUSTRIES
INCORPORATED            VICE PRESIDENT OF SALES   7000 N AUSTIN                                      NILES                IL           60714                                 SUPPLIERS OR VENDORS      10/18/2018            $120.00
RICO INDUSTRIES
INCORPORATED            VICE PRESIDENT OF SALES   7000 N AUSTIN                                      NILES                IL           60714                                 SUPPLIERS OR VENDORS      10/25/2018             $25.50
RICO INDUSTRIES
INCORPORATED            VICE PRESIDENT OF SALES   7000 N AUSTIN                                      NILES                IL           60714                                 SUPPLIERS OR VENDORS       11/8/2018             $36.36
RICO INDUSTRIES
INCORPORATED            VICE PRESIDENT OF SALES   7000 N AUSTIN                                      NILES                IL           60714                                 SUPPLIERS OR VENDORS      11/22/2018             $25.50
RICO INDUSTRIES
INCORPORATED            VICE PRESIDENT OF SALES   7000 N AUSTIN                                      NILES                IL           60714                                 SUPPLIERS OR VENDORS      11/29/2018            $142.50

RICOLA USA INCORPORATED PO BOX 28643                                                                 NEW YORK             NY           10087-8643                            SUPPLIERS OR VENDORS      10/19/2018           $2,654.90



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RICOLA USA INCORPORATED PO BOX 28643                                                                     NEW YORK            NY           10087-8643                             SUPPLIERS OR VENDORS      10/26/2018           $4,566.42

RICOLA USA INCORPORATED PO BOX 28643                                                                     NEW YORK            NY           10087-8643                             SUPPLIERS OR VENDORS       11/2/2018           $8,474.84

RICOLA USA INCORPORATED PO BOX 28643                                                                     NEW YORK            NY           10087-8643                             SUPPLIERS OR VENDORS       11/9/2018           $5,132.18

RICOLA USA INCORPORATED PO BOX 28643                                                                     NEW YORK            NY           10087-8643                             SUPPLIERS OR VENDORS      11/30/2018         $10,725.81
RIDGE LP                223 E STRAWBERRY DRIVE                                                           MILL VALLEY         CA           94941                                  SUPPLIERS OR VENDORS       11/1/2018         $38,693.27
RIDGE LP                223 E STRAWBERRY DRIVE                                                           MILL VALLEY         CA           94941                                  SUPPLIERS OR VENDORS       12/1/2018         $32,480.67

RIDGE ROCK INCORPORATED 985 W 14600 S                                                                    BLUFFDALE           UT           84065                                  SUPPLIERS OR VENDORS      11/26/2018         $14,713.60
RILEY CHERNEY           2757 AMETHYST COURT                                                              GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS      12/14/2018             $34.00

RILEY HESS                 STORE 632                  SHOPKO EMPLOYEE         650 W BEAVERBROOK AVE SPOONER                  WI           54801                                  SUPPLIERS OR VENDORS       12/6/2018             $29.43
RILEY LANG                 STORE 2-670                SHOPKO EMPLOYEE         615 DEARBORN STREET   WAYNE                    NE           68787                                  SUPPLIERS OR VENDORS      11/15/2018             $12.21
RILEY LANG                 STORE 2-670                SHOPKO EMPLOYEE         615 DEARBORN STREET   WAYNE                    NE           68787                                  SUPPLIERS OR VENDORS      12/13/2018             $15.54

RING LLC                   ATTN ACCOUNTS RECEIVABLE   1523 26TH ST                                       SANTA MONICA        CA           90404                                  SUPPLIERS OR VENDORS       11/8/2018         $57,508.36

RING LLC                   ATTN ACCOUNTS RECEIVABLE   1523 26TH ST                                       SANTA MONICA        CA           90404                                  SUPPLIERS OR VENDORS      11/15/2018           $1,217.16
RIPLEY COUNTY TAX                                     RIPLEY COUNTY
COLLECTOR                  ATTN COLLECTORS OFFICE     COURTHOUSE                                         DONIPHAN            MO           63935                                  SUPPLIERS OR VENDORS      12/19/2018         $31,421.38

RITA CALATOLA-POFAHL       N57 W24695 NIGHTHAWK CT.                                                      SUSSEX              WI           53089                                  SUPPLIERS OR VENDORS      10/31/2018              $48.00
RITA CENCICH               2511 S. WILBUR                                                                SPOKANE             WA           99206                                  SUPPLIERS OR VENDORS      11/26/2018             $150.99
RITA FRETTE                STORE 2-059                SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/18/2018              $38.15
RITA FRETTE                STORE 2-059                SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/27/2018              $33.79
RITA GAMEZ                 9875 AMBER DR                                                                 MARSHFIELD          WI           54449                                  SUPPLIERS OR VENDORS       12/7/2018              $16.00
RITA STRANIK               2908 SOUTH 25TH STREET                                                        LINCOLN             NE           68502                                  SUPPLIERS OR VENDORS       11/5/2018              $43.00
RIVERS EDGE TREESTANDS     DEPT 10364                 PO BOX 87618                                       CHICAGO             IL           60680-0618                             SUPPLIERS OR VENDORS      10/19/2018           $4,753.98
RIVERS EDGE TREESTANDS     DEPT 10364                 PO BOX 87618                                       CHICAGO             IL           60680-0618                             SUPPLIERS OR VENDORS      10/26/2018           $6,565.02
RIVERSIDE MEDICAL CENTER
INCORPORATED               800 RIVERSIDE DRIVE                                                           WAUPACA             WI           54981                                  SUPPLIERS OR VENDORS       11/1/2018            $763.00
RIVERSIDE MEDICAL CENTER
INCORPORATED               800 RIVERSIDE DRIVE                                                           WAUPACA             WI           54981                                  SUPPLIERS OR VENDORS       12/3/2018            $763.00
RIVERVIEW COLONY           1145 DUGOUT RD                                                                CHESTER             MT           59522                                  SUPPLIERS OR VENDORS      11/15/2018             $29.07
RIVERVIEW COLONY           1145 DUGOUT RD                                                                CHESTER             MT           59522                                  SUPPLIERS OR VENDORS      11/26/2018             $29.07
RIVERVIEW COLONY           1145 DUGOUT RD                                                                CHESTER             MT           59522                                  SUPPLIERS OR VENDORS       12/7/2018             $29.07
RIZZA PANGILINAN           5310 MOSINEE LN                                                               MADISON             WI           53704                                  SUPPLIERS OR VENDORS      10/26/2018             $23.00
RMD MENASHA LLC            RONALD M DEWOSKIN          6220 NESBITT ROAD                                  MADISON             WI           53719                                  SUPPLIERS OR VENDORS       11/1/2018         $63,413.22
RMD MENASHA LLC            RONALD M DEWOSKIN          6220 NESBITT ROAD                                  MADISON             WI           53719                                  SUPPLIERS OR VENDORS       12/4/2018         $63,413.22
                                                      301 CONGRESS AVE
RNOT LLC INC               RETAIL ME NOT INC          SUITE 700                                          AUSTIN              TX           78701                                  SUPPLIERS OR VENDORS      10/18/2018         $17,761.98
                                                      301 CONGRESS AVE
RNOT LLC INC               RETAIL ME NOT INC          SUITE 700                                          AUSTIN              TX           78701                                  SUPPLIERS OR VENDORS      10/25/2018           $1,201.88
                                                      301 CONGRESS AVE
RNOT LLC INC               RETAIL ME NOT INC          SUITE 700                                          AUSTIN              TX           78701                                  SUPPLIERS OR VENDORS      11/15/2018         $13,250.29
                                                      301 CONGRESS AVE
RNOT LLC INC               RETAIL ME NOT INC          SUITE 700                                          AUSTIN              TX           78701                                  SUPPLIERS OR VENDORS      11/29/2018         $22,381.04
ROARING SPRING PAPER
PRODUCTS                   740 SPANG STREET           PO BOX 35                                          ROARING SPRING      PA           16673-1924                             SUPPLIERS OR VENDORS      11/22/2018             $55.74

ROB CURTIS LANDSCAPING     ROB CURTIS                 1401 SUNSET AVENUE                                 WINNER              SD           57580                                  SUPPLIERS OR VENDORS      10/18/2018            $425.32



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                                                                                                                                                                                   Reasons for payment or    Dates of    Total Amount or
      Creditor Name                 Address1                  Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
ROB CURTIS LANDSCAPING &
DESIGN                     1401 SUNSET DRIVE                                                              WINNER              SD           57580                                  SUPPLIERS OR VENDORS      10/18/2018           $1,083.93
ROB CURTIS LANDSCAPING &
DESIGN                     1401 SUNSET DRIVE                                                              WINNER              SD           57580                                  SUPPLIERS OR VENDORS      11/16/2018           $1,594.70
ROBERT ADAMS               107 SOUTH LIBERTY ST                                                           STACYVILLE          IA           50476                                  SUPPLIERS OR VENDORS      12/13/2018              $48.00
ROBERT AMIS                306 DEWEY AVE                                                                  WATERTOWN           WI           53094                                  SUPPLIERS OR VENDORS      12/13/2018              $25.00
ROBERT BARNES              318 15TH AVE                                                                   LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS      11/26/2018              $28.80
ROBERT BARNES              318 15TH AVE                                                                   LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS       12/5/2018              $51.20
ROBERT BENSON              2730 SEWELL ST                                                                 LINCOLN             NE           68502                                  SUPPLIERS OR VENDORS       11/5/2018              $47.94
ROBERT BLAUBACH            8799 NAUGART DR                                                                MERRILL             WI           54452                                  SUPPLIERS OR VENDORS       11/5/2018               $6.70
ROBERT BORCHARDT           5532N CTY RD G                                                                 WINTER              WI           54896                                  SUPPLIERS OR VENDORS       11/5/2018              $44.80
ROBERT BORCHARDT           5532N CTY RD G                                                                 WINTER              WI           54896                                  SUPPLIERS OR VENDORS      11/14/2018              $25.20
ROBERT BORGARDT            377 JAMES ROAD                                                                 PICKETT             WI           54964                                  SUPPLIERS OR VENDORS      10/26/2018              $25.00
ROBERT BORGETTI            STORE 641                    SHOPKO EMPLOYEE        110 WATTERS DRIVE          DWIGHT              IL           60420                                  SUPPLIERS OR VENDORS      10/19/2018             $308.79
ROBERT BORGETTI            STORE 641                    SHOPKO EMPLOYEE        110 WATTERS DRIVE          DWIGHT              IL           60420                                  SUPPLIERS OR VENDORS      10/26/2018             $145.45
ROBERT BOYCE               POBOX 225                                                                      HANCOCK             MI           49930                                  SUPPLIERS OR VENDORS      12/13/2018              $48.00
ROBERT BUENDORF            603 8TH ST SW                                                                  WELLS               MN           56097                                  SUPPLIERS OR VENDORS      11/12/2018              $99.00
                           ROBERT C MOORMAN             3505 GRANT WOOD
ROBERT C MOORMAN           REVOCABLE TRUST              FOREST LANE                                       CEDAR RAPIDS        IA           52403                                  SUPPLIERS OR VENDORS       11/1/2018           $6,803.32
                           ROBERT C MOORMAN             3505 GRANT WOOD
ROBERT C MOORMAN           REVOCABLE TRUST              FOREST LANE                                       CEDAR RAPIDS        IA           52403                                  SUPPLIERS OR VENDORS       12/1/2018           $6,803.32
ROBERT CARLSON             1007 MAIN AVE                                                                  LAKE NORDEN         SD           57248                                  SUPPLIERS OR VENDORS       12/7/2018              $44.16
ROBERT CARLSON             1007 MAIN AVE                                                                  LAKE NORDEN         SD           57248                                  SUPPLIERS OR VENDORS      12/17/2018              $11.04
ROBERT CARLTON             11049 LAKESHORE DRIVE                                                          EAGLE HARBOR        MI           49950                                  SUPPLIERS OR VENDORS      11/28/2018               $9.63
ROBERT CARPER JR           220 PLEASENT STREET          PO BOX 112                                        SCANDINAVIA         WI           54977                                  SUPPLIERS OR VENDORS      12/17/2018              $21.00
ROBERT CONN                2311 S RIVER ROCK DR                                                           PAPILLION           NE           68046                                  SUPPLIERS OR VENDORS       12/5/2018              $33.00
ROBERT CORNWELL            300 MINNESOTA AVE.                                                             MINNESOTALAKE       MN           56068                                  SUPPLIERS OR VENDORS      11/26/2018             $134.60
ROBERT COUCH               HOME                         SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/18/2018              $52.99
ROBERT DAVIS               1299 RT 73 N                                                                   PEARL CITY          IL           61062                                  SUPPLIERS OR VENDORS      12/13/2018              $25.00
ROBERT DAVIS               4227 SPRINGVIEW DR                                                             GRAND ISLAND        NE           68803                                  SUPPLIERS OR VENDORS      12/18/2018               $6.76
ROBERT DUBOIS              4804 BELAIR DRIVE SE                                                           OLYMPIA             WA           98503                                  SUPPLIERS OR VENDORS      12/13/2018             $150.00

ROBERT E. RYAN             2133 EAST COUNTY ROAD 3000                                                     DALLAS CITY         IL           62330                                  SUPPLIERS OR VENDORS      11/28/2018             $25.00
ROBERT EVANS               15 NEZ PERCE                                                                   CODY                WY           82414                                  SUPPLIERS OR VENDORS      11/28/2018             $32.00
ROBERT FAIR                5241 RIDGE OAK DR                                                              MADISON             WI           53704                                  SUPPLIERS OR VENDORS      12/13/2018             $25.00
ROBERT FARR                STORE 541                    SHOPKO EMPLOYEE        509 BLAIR STREET           DALHART             TX           79022-2557                             SUPPLIERS OR VENDORS      10/26/2018            $194.02
ROBERT FARR                STORE 541                    SHOPKO EMPLOYEE        509 BLAIR STREET           DALHART             TX           79022-2557                             SUPPLIERS OR VENDORS       1/15/2019            $171.13
ROBERT FICKEL JR           2713 JOANN AVE                                                                 BELLEVUE            NE           68123                                  SUPPLIERS OR VENDORS      11/12/2018             $25.00
ROBERT FOX                 3520-SHERIDAN RD                                                               KENOSHA             WI           53140                                  SUPPLIERS OR VENDORS      10/22/2018             $50.00
ROBERT GEIMAN              503 E POPLAR DRIVE                                                             CANTON              SD           57013                                  SUPPLIERS OR VENDORS       11/7/2018             $20.00
ROBERT HARRIS              623 WARNER AVE                                                                 LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS       11/5/2018             $51.20
ROBERT HILLHOUSE           1518 SO. BOLIVAR                                                               VERADALE            WA           99037                                  SUPPLIERS OR VENDORS      11/28/2018             $17.34
ROBERT HILLHOUSE           1518 SO. BOLIVAR                                                               VERADALE            WA           99037                                  SUPPLIERS OR VENDORS      11/29/2018             $92.32
                           PRIVATE BRAND & TREND
ROBERT HIXSON              DIVISION                     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/19/2018             $10.52
                           PRIVATE BRAND & TREND
ROBERT HIXSON              DIVISION                     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/11/2018             $90.41
                           PRIVATE BRAND & TREND
ROBERT HIXSON              DIVISION                     SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/14/2018             $31.64
ROBERT HOFFMAN             2210 OXFORD COURT #2                                                           PLOVER              WI           54467                                  SUPPLIERS OR VENDORS       12/7/2018             $45.00
ROBERT HUGHES              4212 SOUTH 21ST STREET                                                         OMAHA               NE           68107                                  SUPPLIERS OR VENDORS       11/1/2018             $11.78
ROBERT HUHN                8534 295TH AVE                                                                 NEW AUBURN          WI           54757                                  SUPPLIERS OR VENDORS      10/30/2018             $11.20
ROBERT JONES               3560 EAGLE AVE                                                                 HANLONTOWN          IA           50444                                  SUPPLIERS OR VENDORS       11/5/2018             $48.00
ROBERT JR CORDES           STORE 535                    SHOPKO EMPLOYEE        320 HIGHWAY 12 E           BOWMAN              ND           58623                                  SUPPLIERS OR VENDORS      12/11/2018            $315.00



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ROBERT JR CORDES            STORE 535                SHOPKO EMPLOYEE        320 HIGHWAY 12 E           BOWMAN              ND           58623                                  SUPPLIERS OR VENDORS        12/29/2018              $435.98
ROBERT JR CORDES            STORE 535                SHOPKO EMPLOYEE        320 HIGHWAY 12 E           BOWMAN              ND           58623                                  SUPPLIERS OR VENDORS         1/15/2019              $490.09
ROBERT KAUFMAN              W6351 LOOMIS RD                                                            PORTERFIELD         WI           54159                                  SUPPLIERS OR VENDORS         11/9/2018               $28.00
ROBERT KREHOFF              11542 N MAPLE BEACH DR                                                     EDGERTON            WI           53534                                  SUPPLIERS OR VENDORS        11/16/2018                $9.70
ROBERT LACINA               9365 84TH ST. S E                                                          FULLERTON           ND           58441                                  SUPPLIERS OR VENDORS         12/5/2018               $38.68
ROBERT LACINA               9365 84TH ST. S E                                                          FULLERTON           ND           58441                                  SUPPLIERS OR VENDORS        12/13/2018                $8.32
ROBERT LAMASNEY             8813 SCHEELE RD                                                            CROSS PLAINS        WI           53528                                  SUPPLIERS OR VENDORS        10/24/2018                $5.60
ROBERT LEVAN                282 W. 300 N.                                                              SMITHFIELD          UT           84335                                  SUPPLIERS OR VENDORS         12/7/2018               $23.99
ROBERT MARCUSSEN            2876 COUNTRY DR                                                            SUN PRAIRIE         WI           53590                                  SUPPLIERS OR VENDORS         11/5/2018                $5.00
ROBERT MC NICHOLS           8092 SCHROEDER RD                                                          OCONTO FALLS        WI           54154                                  SUPPLIERS OR VENDORS        11/26/2018               $34.00
ROBERT MCGRANE              7573 HWY X                                                                 THREE LAKES         WI           54562                                  SUPPLIERS OR VENDORS         12/7/2018               $41.66
ROBERT MERTA                N6864 CO RD O                                                              RIVER FALLS         WI           54022                                  SUPPLIERS OR VENDORS        10/22/2018               $25.00
ROBERT NEMECEK              2836 CAPRICORN DRIVE                                                       GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS         11/2/2018               $25.00
ROBERT NIELAND              P.O. BOX 169                                                               BLACK CREEK         WI           54106                                  SUPPLIERS OR VENDORS         12/7/2018               $23.99
ROBERT OGREN                PO BOX 142                                                                 EWEN                MI           49925                                  SUPPLIERS OR VENDORS        11/12/2018                $9.60
ROBERT OGREN                PO BOX 142                                                                 EWEN                MI           49925                                  SUPPLIERS OR VENDORS        11/29/2018               $38.40
ROBERT OLIN                 2201 190TH AVE                                                             LYND                MN           56157                                  SUPPLIERS OR VENDORS        10/29/2018               $32.30
ROBERT PETERSON             N1232 RAHBERGER RD                                                         MONROE              WI           53566                                  SUPPLIERS OR VENDORS        11/26/2018               $25.00
ROBERT PETERSON             137 N MANITOU DR.                                                          MANKATO             MN           56100                                  SUPPLIERS OR VENDORS        11/28/2018               $12.80
ROBERT PETERSON             137 N MANITOU DR.                                                          MANKATO             MN           56100                                  SUPPLIERS OR VENDORS        11/28/2018               $15.00
ROBERT PETERSON             2733 SUNSET DR.                                                            LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS         12/7/2018               $51.20
ROBERT PETSEL               5075 W ANITA ST                                                            APPLETON            WI           54913                                  SUPPLIERS OR VENDORS         12/5/2018               $25.00

ROBERT PFEIFER              1100 NORTH LAKE AVENUE   DOW RUMMEL VILLAGE                                SIOUX FALLS         SD           57104                                  SUPPLIERS OR VENDORS       10/25/2018               $18.87

ROBERT PFEIFER              1100 NORTH LAKE AVENUE   DOW RUMMEL VILLAGE                                SIOUX FALLS         SD           57104                                  SUPPLIERS OR VENDORS        11/8/2018                $4.13
ROBERT PRYTZ                2205 10TH ST                                                               CUMBERLAND          WI           54829                                  SUPPLIERS OR VENDORS       11/26/2018               $56.00
ROBERT PULJU                4511 CLEVELAND ST                                                          SIOUX CITY          IA           51108                                  SUPPLIERS OR VENDORS       11/12/2018               $13.00
                                                                            515 EAST OKLAHOMA
ROBERT RAMOS                STORE 536                SHOPKO EMPLOYEE        AVENUE                     ULYSSES             KS           67880                                  SUPPLIERS OR VENDORS       10/19/2018              $196.02
                                                                            515 EAST OKLAHOMA
ROBERT RAMOS                STORE 536                SHOPKO EMPLOYEE        AVENUE                     ULYSSES             KS           67880                                  SUPPLIERS OR VENDORS        11/2/2018              $179.01
                                                                            515 EAST OKLAHOMA
ROBERT RAMOS                STORE 536                SHOPKO EMPLOYEE        AVENUE                     ULYSSES             KS           67880                                  SUPPLIERS OR VENDORS       12/14/2018               $86.11
                                                                            515 EAST OKLAHOMA
ROBERT RAMOS                STORE 536                SHOPKO EMPLOYEE        AVENUE                     ULYSSES             KS           67880                                  SUPPLIERS OR VENDORS       12/20/2018               $86.11
ROBERT REED                 408 FIRST ST                                                               KEWAUNEE            WI           54216                                  SUPPLIERS OR VENDORS       11/26/2018               $21.62
ROBERT RICH                 N15561 SMILEY ROAD                                                         AMBERG              WI           54102                                  SUPPLIERS OR VENDORS       11/12/2018               $91.00
ROBERT RIEKER               118 TAHOE DR                                                               MISSOULA            MT           59803                                  SUPPLIERS OR VENDORS       11/26/2018               $53.76
ROBERT RIKKERS              104 CATALINA DRIVE                                                         MANKATO             MN           56001                                  SUPPLIERS OR VENDORS       11/29/2018               $15.00
ROBERT ROBOTKA              212 E BIRCH AVE                                                            BIRCHWOOD           WI           54817                                  SUPPLIERS OR VENDORS       10/22/2018               $70.00
ROBERT ROSE A DIVISION OF
K&M ASSOCIATES              PO BOX 934825                                                              ATLANTA             GA           31193-4825                             SUPPLIERS OR VENDORS       10/18/2018               $38.76
ROBERT ROSE A DIVISION OF
K&M ASSOCIATES              PO BOX 934825                                                              ATLANTA             GA           31193-4825                             SUPPLIERS OR VENDORS        11/8/2018            $6,690.23
ROBERT RUDMAN               1393 CHARDONNAY DRIVE                                                      RICHLAND            WA           99352                                  SUPPLIERS OR VENDORS       10/19/2018            $5,708.98
ROBERT RUDMAN               1393 CHARDONNAY DRIVE                                                      RICHLAND            WA           99352                                  SUPPLIERS OR VENDORS        11/2/2018            $6,282.20
ROBERT RUDMAN               1393 CHARDONNAY DRIVE                                                      RICHLAND            WA           99352                                  SUPPLIERS OR VENDORS       11/16/2018            $6,217.10
ROBERT RUDMAN               1393 CHARDONNAY DRIVE                                                      RICHLAND            WA           99352                                  SUPPLIERS OR VENDORS       11/30/2018            $5,777.19
ROBERT RUDMAN               1393 CHARDONNAY DRIVE                                                      RICHLAND            WA           99352                                  SUPPLIERS OR VENDORS       12/14/2018            $5,649.30
ROBERT RUDMAN               1393 CHARDONNAY DRIVE                                                      RICHLAND            WA           99352                                  SUPPLIERS OR VENDORS       12/29/2018            $7,554.83
ROBERT RUDMAN               1393 CHARDONNAY DRIVE                                                      RICHLAND            WA           99352                                  SUPPLIERS OR VENDORS        1/11/2019            $4,158.51
ROBERT SAALSAA              W8204 PUDDLE DOCK RD                                                       ARGYLE              WI           53504                                  SUPPLIERS OR VENDORS       10/29/2018               $30.00
ROBERT SALLOUM              STORE 055                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/1/2018              $236.47



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                                                                                                                                                                                 Reasons for payment or    Dates of     Total Amount or
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ROBERT SCOTT              8931 ROBIN ROAD                                                              MARSHFIELD          WI           54449                                  SUPPLIERS OR VENDORS        10/31/2018                $7.99
ROBERT SMITH              208 4TH ST SW                                                                ADAMS               MN           55909                                  SUPPLIERS OR VENDORS        11/14/2018              $125.00
ROBERT SNYDER             P.O. BOX 102                                                                 CREIGHTON           NE           68729                                  SUPPLIERS OR VENDORS        11/29/2018               $13.38
ROBERT SPEAKAR            1003 9TH ST NW                                                               MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS        10/22/2018               $13.76
ROBERT STRAY - JR         1433 JAMESWAY                                                                FORT ATKINSON       WI           53538                                  SUPPLIERS OR VENDORS        12/17/2018               $40.32

ROBERT SUMMERS            1820 CAL YOUNG ROAD APT 134                                                  EUGENE              OR           97401                                  SUPPLIERS OR VENDORS       10/18/2018                $5.61
ROBERT TANK               92 FOREST AVE               #205                                             FOND DU LAC         WI           54935                                  SUPPLIERS OR VENDORS       11/12/2018                $5.00
ROBERT TENCATE            5208 S BRIAR CIRCLE                                                          SIOUX FALLS         SD           57108                                  SUPPLIERS OR VENDORS        11/5/2018               $48.00
ROBERT THOMPSON           3614 OAK KNOLL DRIVE                                                         EAU CLAIRE          WI           54701                                  SUPPLIERS OR VENDORS       10/26/2018               $42.24
ROBERT THOMPSON           3614 OAK KNOLL DRIVE                                                         EAU CLAIRE          WI           54701                                  SUPPLIERS OR VENDORS        11/1/2018               $23.76
ROBERT TISLER             4310 SPRINGFIELD CT                                                          MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS        11/9/2018               $50.00
ROBERT TOMCZAK            4812-46TH AVE                                                                KENOSHA             WI           53142                                  SUPPLIERS OR VENDORS        11/7/2018               $16.00
ROBERT TRASKE             387 DORCHESTER LN.                                                           GRAYSLAKE           IL           60030                                  SUPPLIERS OR VENDORS       10/22/2018                $7.00
ROBERT ULLAND             23302 E DESMET COURT                                                         LIBERTY LAKE        WA           99019                                  SUPPLIERS OR VENDORS       10/19/2018            $5,310.30
ROBERT ULLAND             23302 E DESMET COURT                                                         LIBERTY LAKE        WA           99019                                  SUPPLIERS OR VENDORS        11/2/2018            $5,645.47
ROBERT ULLAND             23302 E DESMET COURT                                                         LIBERTY LAKE        WA           99019                                  SUPPLIERS OR VENDORS       11/16/2018            $3,765.18
ROBERT ULLAND             23302 E DESMET COURT                                                         LIBERTY LAKE        WA           99019                                  SUPPLIERS OR VENDORS       11/30/2018            $5,164.37
ROBERT ULLAND             23302 E DESMET COURT                                                         LIBERTY LAKE        WA           99019                                  SUPPLIERS OR VENDORS       12/14/2018            $2,253.71
ROBERT ULLAND             23302 E DESMET COURT                                                         LIBERTY LAKE        WA           99019                                  SUPPLIERS OR VENDORS       12/29/2018            $4,409.72
ROBERT ULLAND             23302 E DESMET COURT                                                         LIBERTY LAKE        WA           99019                                  SUPPLIERS OR VENDORS        1/11/2019            $3,848.74
ROBERT VANDERHEYDEN       2197 S SIMMONS RD                                                            STOCKTON            IL           61085                                  SUPPLIERS OR VENDORS       11/16/2018               $51.20
ROBERT WALDBILLIG         586 PEMENEE DRIVE                                                            NIAGARA             WI           54151                                  SUPPLIERS OR VENDORS       11/30/2018               $13.55
ROBERT WATSON             600 19TH ST. N.W.                                                            AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS        12/7/2018               $15.30
ROBERT WUBBEN             704 WILDERNESS CT                                                            NEENAH              WI           54956                                  SUPPLIERS OR VENDORS        11/1/2018               $25.00
ROBERTA JESKE             STORE 577                   SHOPKO EMPLOYEE       308 S 2ND STREET           CANADIAN            TX           79014-2506                             SUPPLIERS OR VENDORS        1/15/2019              $147.75
ROBERTA PETERSON          N4726 COUNTY ROAD 607                                                        IRON MOUNTAIN       MI           49801                                  SUPPLIERS OR VENDORS        11/5/2018               $39.04
ROBERTA PETERSON          N4726 COUNTY ROAD 607                                                        IRON MOUNTAIN       MI           49801                                  SUPPLIERS OR VENDORS       11/26/2018                $9.76
ROBERTO TORRES            238 N GARFIELD AVE                                                           WENATCHEE           WA           98801                                  SUPPLIERS OR VENDORS       10/22/2018               $26.08
ROBERTS COUNTY SHERIFFS
OFFICE                    11924 BIA HWY 700          PO BOX 937                                        SISSETON            SD           57262                                  SUPPLIERS OR VENDORS       11/29/2018               $50.00
ROBIN ASSOCIATES          ROBIN MANITOWOC LLC        6220 NESBITT ROAD A                               MADISON             WI           53719                                  SUPPLIERS OR VENDORS        11/1/2018           $62,357.44
ROBIN ASSOCIATES          ROBIN MANITOWOC LLC        6220 NESBITT ROAD A                               MADISON             WI           53719                                  SUPPLIERS OR VENDORS        12/4/2018           $62,357.44
ROBIN CHANEY              P.O BOX 1321                                                                 MARSHALL            MN           56258                                  SUPPLIERS OR VENDORS       10/29/2018               $32.30
ROBIN ELLSWORTH LLC       C/O MARION COYLE           1622 LINDALE LANE                                 GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS        11/1/2018           $16,416.33
ROBIN ELLSWORTH LLC       C/O MARION COYLE           1622 LINDALE LANE                                 GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS       11/14/2018                $1.00
ROBIN ELLSWORTH LLC       C/O MARION COYLE           1622 LINDALE LANE                                 GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS        12/1/2018           $16,416.33
ROBIN ERIEAU              2813 WOODVIEW RD                                                             OCONTO              WI           54153                                  SUPPLIERS OR VENDORS       10/26/2018               $39.98
ROBIN GAVRILOFF           STORE 016                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/2/2018              $181.42
                                                                            1950 W ROOSEVELT
ROBIN GOTTFRIED           STORE 2-766                SHOPKO EMPLOYEE        HIGHWAY                    SHELBY              MT           59474                                  SUPPLIERS OR VENDORS       10/25/2018               $53.20
                                                                            1950 W ROOSEVELT
ROBIN GOTTFRIED           STORE 2-766                SHOPKO EMPLOYEE        HIGHWAY                    SHELBY              MT           59474                                  SUPPLIERS OR VENDORS       11/15/2018               $70.86
                                                                            1950 W ROOSEVELT
ROBIN GOTTFRIED           STORE 2-766                SHOPKO EMPLOYEE        HIGHWAY                    SHELBY              MT           59474                                  SUPPLIERS OR VENDORS       12/13/2018               $67.20
                                                                            821 WEST CRAWFORD
ROBIN HARMON              STORE 693                  SHOPKO EMPLOYEE        STREET                     CLAY CENTER         KS           67432-2343                             SUPPLIERS OR VENDORS        11/2/2018              $363.35
ROBIN HILL                6095 PLESANT ST                                                              MANHATTAN           MT           59741                                  SUPPLIERS OR VENDORS       11/13/2018                $2.45
                                                                            145 BROADWAY AVENUE
ROBIN MENARD              STORE 2-561                SHOPKO EMPLOYEE        N                          COKATO              MN           55321-4422                             SUPPLIERS OR VENDORS       10/25/2018               $54.50
ROBIN ROBBINS             STORE 619                  SHOPKO EMPLOYEE        220 W LINCOLN STREET       ADAMS               WI           53910                                  SUPPLIERS OR VENDORS       10/18/2018              $182.49
ROBIN ROBBINS             STORE 619                  SHOPKO EMPLOYEE        220 W LINCOLN STREET       ADAMS               WI           53910                                  SUPPLIERS OR VENDORS        11/2/2018              $216.44
ROBIN ROBBINS             STORE 619                  SHOPKO EMPLOYEE        220 W LINCOLN STREET       ADAMS               WI           53910                                  SUPPLIERS OR VENDORS       11/16/2018              $463.57
ROBIN ROBBINS             STORE 619                  SHOPKO EMPLOYEE        220 W LINCOLN STREET       ADAMS               WI           53910                                  SUPPLIERS OR VENDORS       12/29/2018              $340.08



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                                                                                                                                                                                 Reasons for payment or    Dates of     Total Amount or
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ROBINSON HOME PRODUCTS
INCORPORATED           PO BOX 936657                                                                    ATLANTA             GA           31193-6657                             SUPPLIERS OR VENDORS      10/18/2018          $44,561.95

ROBINSON HOME PRODUCTS
INCORPORATED           PO BOX 936657                                                                    ATLANTA             GA           31193-6657                             SUPPLIERS OR VENDORS      11/15/2018          $73,196.72

ROBINSON WHOLESALE INC 130 ELIZABETH LANE                                                               GENOA CITY          WI           53128                                  SUPPLIERS OR VENDORS      10/23/2018            $4,001.00

ROBINSON WHOLESALE INC 130 ELIZABETH LANE                                                               GENOA CITY          WI           53128                                  SUPPLIERS OR VENDORS      10/26/2018            $1,197.11

ROBINSON WHOLESALE INC 130 ELIZABETH LANE                                                               GENOA CITY          WI           53128                                  SUPPLIERS OR VENDORS       11/2/2018              $90.44

ROBINSON WHOLESALE INC 130 ELIZABETH LANE                                                               GENOA CITY          WI           53128                                  SUPPLIERS OR VENDORS       11/6/2018            $3,969.94

ROBINSON WHOLESALE INC 130 ELIZABETH LANE                                                               GENOA CITY          WI           53128                                  SUPPLIERS OR VENDORS       11/9/2018            $2,629.45

ROBINSON WHOLESALE INC 130 ELIZABETH LANE                                                               GENOA CITY          WI           53128                                  SUPPLIERS OR VENDORS      11/13/2018            $1,049.61

ROBINSON WHOLESALE INC 130 ELIZABETH LANE                                                               GENOA CITY          WI           53128                                  SUPPLIERS OR VENDORS      11/16/2018             $912.91

ROBINSON WHOLESALE INC 130 ELIZABETH LANE                                                               GENOA CITY          WI           53128                                  SUPPLIERS OR VENDORS      11/23/2018            $3,566.02

ROBINSON WHOLESALE INC 130 ELIZABETH LANE                                                               GENOA CITY          WI           53128                                  SUPPLIERS OR VENDORS      11/30/2018            $3,522.35

ROBINSON WHOLESALE INC   130 ELIZABETH LANE                                                             GENOA CITY          WI           53128                                  SUPPLIERS OR VENDORS       12/4/2018            $1,012.79
ROCHELLE DUCIAUME        N1507 FAWN RIDGE DR                                                            GREENVILLE          WI           54942                                  SUPPLIERS OR VENDORS      10/19/2018               $32.00
ROCHESTER ARMORED CAR    PO BOX 8 DOWNTOWN
COMPANY                  STATION                                                                        OMAHA               NE           68101                                  SUPPLIERS OR VENDORS       11/2/2018                $1.00
ROCHESTER ARMORED CAR    PO BOX 8 DOWNTOWN
COMPANY INC              STATION                                                                        OMAHA               NE           68101                                  SUPPLIERS OR VENDORS       11/1/2018            $9,867.84
ROCHESTER ARMORED CAR    PO BOX 8 DOWNTOWN
COMPANY INC              STATION                                                                        OMAHA               NE           68101                                  SUPPLIERS OR VENDORS      11/30/2018          $11,149.44
ROCHESTER ARMORED CAR    PO BOX 8 DOWNTOWN
COMPANY INC              STATION                                                                        OMAHA               NE           68101                                  SUPPLIERS OR VENDORS         1/5/2019         $13,624.14
ROCHESTER FIRE
DEPARTMENT               ROOM 10 CITY HALL           201 4TH STREET SE                                  ROCHESTER           MN           55904-3726                             SUPPLIERS OR VENDORS      10/18/2018               $55.00
ROCK GARDEN              1951 BOND STREET                                                               GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS      11/26/2018            $3,956.26
ROCK HAND HARDWARE       2414 N MONTANA AVENUE                                                          HELENA              MT           59601                                  SUPPLIERS OR VENDORS      10/25/2018               $16.48

ROCK ROAD COMPANIES INC PO BOX 1818                                                                     JANESVILLE          WI           53547-1818                             SUPPLIERS OR VENDORS      12/11/2018         $285,009.47
ROCKET INDUSTRIAL
INCORPORATED            BIN 88651                                                                       MILWAUKEE           WI           53288-0651                             SUPPLIERS OR VENDORS      11/26/2018            $3,165.00
ROCKET INDUSTRIAL
INCORPORATED            BIN 88651                                                                       MILWAUKEE           WI           53288-0651                             SUPPLIERS OR VENDORS      12/13/2018             $192.45
                        1445 NORTH LOOP WEST SUITE
ROCKSTEP ALPINE LLC     625                                                                             HOUSTON             TX           77008                                  SUPPLIERS OR VENDORS       11/1/2018          $10,625.00
                        1445 NORTH LOOP WEST SUITE
ROCKSTEP ALPINE LLC     625                                                                             HOUSTON             TX           77008                                  SUPPLIERS OR VENDORS       12/1/2018          $10,625.00
ROCKY DOVER             239 23TH AVE                                                                    LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS      10/25/2018              $42.00
ROCKY PADILLA           505 7TH ST NE                                                                   AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS       11/7/2018               $3.00
ROCKY PADILLA           505 7TH ST NE                                                                   AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS       11/7/2018               $3.00
ROD EIKAMP              38506 128TH ST                                                                  ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS      11/28/2018             $136.80
ROD EIKAMP              38506 128TH ST                                                                  ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       12/3/2018              $12.16



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ROD EIKAMP               38506 128TH ST                                                               ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS         12/7/2018               $48.64
RODNEY BERNARD           1320 VILLAGE ROAD                                                            CLEAR LAKE          IA           50428                                  SUPPLIERS OR VENDORS        10/25/2018               $70.00

RODNEY HAHN              STORE 2-650               SHOPKO EMPLOYEE         56419 POKAGON STREET       DOWAGIAC            MI           49047                                  SUPPLIERS OR VENDORS       11/29/2018              $196.92
RODNEY JACOBS            4330 X                                                                       LINCOLN             NE           68503                                  SUPPLIERS OR VENDORS        11/5/2018               $60.85
RODNEY LIMERICK          1418 JONES STREET                                                            SIOUX CITY          IA           51105                                  SUPPLIERS OR VENDORS       11/15/2018                $3.25
RODNEY NEWMAN            604 S 36TH AVE                                                               WAUSAU              WI           54401                                  SUPPLIERS OR VENDORS        11/1/2018               $25.00
RODNEY WARTIG            PO BOX 710                                                                   WISNER              NE           68791                                  SUPPLIERS OR VENDORS        11/5/2018               $11.92
RODNEY WARTIG            PO BOX 710                                                                   WISNER              NE           68791                                  SUPPLIERS OR VENDORS       11/29/2018               $53.08
RODNEY WEINER            605 MISSISSIPPI           APT 8                                              LA CROSSE           WI           54601                                  SUPPLIERS OR VENDORS       11/26/2018               $25.00
ROE ENCHAYAN             5321 DANBURY RD                                                              LINCOLN             NE           68512                                  SUPPLIERS OR VENDORS        11/5/2018               $75.00
ROGER ADAMS              2400 SW SOUKUP DRIVE                                                         LINCOLN             NE           68522                                  SUPPLIERS OR VENDORS       12/17/2018               $25.00
ROGER ARNDT              5055 MARGARET DR                                                             AMHERST             WI           54406                                  SUPPLIERS OR VENDORS       10/22/2018               $72.97
ROGER BORGMAN            1205 ELDORADO RD                                                             NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS        11/1/2018               $13.55
ROGER BORGMAN            1205 ELDORADO RD                                                             NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS       11/29/2018               $60.45
ROGER BROCK              N3825 NELSON ROAD                                                            ELROY               WI           53929                                  SUPPLIERS OR VENDORS       12/21/2018                $9.98
ROGER CHAPMAN            W5504 LEGEST ROAD                                                            NIAGARA             WI           54151                                  SUPPLIERS OR VENDORS        11/5/2018               $39.04
ROGER CHAPMAN            W5504 LEGEST ROAD                                                            NIAGARA             WI           54151                                  SUPPLIERS OR VENDORS       11/29/2018               $21.96
ROGER COLLINS            2327 RESERVOIR ROAD                                                          CLARKSTON           WA           99403                                  SUPPLIERS OR VENDORS       12/17/2018              $150.00
ROGER CRANDALL           118 E PHILLIP AVE APT 3                                                      NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS       11/29/2018               $53.54
ROGER GRAMM              PO BOX 92                                                                    HOSMER              SD           57448                                  SUPPLIERS OR VENDORS        11/1/2018               $12.16
ROGER GRAMM              PO BOX 92                                                                    HOSMER              SD           57448                                  SUPPLIERS OR VENDORS        11/7/2018               $48.64
ROGER HANSON             601 VILLAGE DR APT 351                                                       MARSHALL            MN           56258                                  SUPPLIERS OR VENDORS       11/26/2018               $27.19
ROGER HEMANN             301 W COLLEGE                                                                STACYVILLE          IA           50476                                  SUPPLIERS OR VENDORS        11/9/2018               $40.00
ROGER HICKS              13283 EAST WINSLOW ROAD                                                      WARREN              IL           61087                                  SUPPLIERS OR VENDORS        11/2/2018               $20.80
ROGER LILJEROOS          2283 BEAUDOIN                                                                MARQUETTE           MI           49855                                  SUPPLIERS OR VENDORS       11/26/2018               $10.00
ROGER LOEWENBERG         10803 MOCKINGBIRD DR                                                         PEOSTA              IA           52068                                  SUPPLIERS OR VENDORS       11/26/2018               $10.00
ROGER LULAY              4784 BRADFORD LOOP                                                           SALEM               OR           97302                                  SUPPLIERS OR VENDORS        12/7/2018               $29.00
ROGER MOELLER            100 N NEEDLES                                                                BRANDON             SD           57005                                  SUPPLIERS OR VENDORS        12/7/2018               $48.00
ROGER MOELLER            100 N NEEDLES                                                                BRANDON             SD           57005                                  SUPPLIERS OR VENDORS       12/10/2018               $12.00
ROGER MYERS              710 TERRA WEST DRIVE                                                         FREEPORT            IL           61032                                  SUPPLIERS OR VENDORS       10/22/2018               $32.00
ROGER NELSON             602 W LAKE                                                                   WORTHINGTON         MN           56187                                  SUPPLIERS OR VENDORS       10/24/2018                $1.30
ROGER SCHUTT             565 W PARK ST.                                                               AMERICAN FALLS      ID           83211                                  SUPPLIERS OR VENDORS        11/7/2018               $50.00
ROGER SCHUTT             565 W PARK ST.                                                               AMERICAN FALLS      ID           83211                                  SUPPLIERS OR VENDORS        11/7/2018               $70.00
ROGER SIMON              807 PROSPECT AVE                                                             OSHKOSH             WI           54901                                  SUPPLIERS OR VENDORS       10/25/2018               $11.04
ROGER WALLACE            BOX 71                                                                       FAIRFIELD           MT           59436                                  SUPPLIERS OR VENDORS        11/2/2018               $28.98
ROGER WILSON             915 RONAN AVE TRAILER 2                                                      MISSOULA            MT           59801                                  SUPPLIERS OR VENDORS        11/2/2018               $75.00
                                                                                                      BLOOMING
ROGERS POWERS            14076 SE 89TH AV.                                                            PRAIRIE             MN           55917                                  SUPPLIERS OR VENDORS       12/10/2018              $125.00
ROI ENERGY INVESTMENTS
LLC                      PO BOX 394                                                                   FREMONT             WI           54940                                  SUPPLIERS OR VENDORS        11/1/2018           $12,059.08
ROI ENERGY INVESTMENTS
LLC                      PO BOX 394                                                                   FREMONT             WI           54940                                  SUPPLIERS OR VENDORS       12/17/2018            $5,741.55
ROLAND BOBO              605 W. C STREET                                                              IRON MOUNTAIN       MI           49801                                  SUPPLIERS OR VENDORS        12/3/2018               $62.46
ROLAND BOLINGER          7630 AYLESWORTH AVE                                                          LINCOLN             NE           68505                                  SUPPLIERS OR VENDORS       10/31/2018               $13.15
ROLAND STORLY            37926 135TH ST                                                               ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       11/29/2018               $38.68
ROLF C HAGEN
CORPORATION              305 Forbes Blvd.                                                             Mansfield           MA           02048                                  SUPPLIERS OR VENDORS       10/25/2018              $627.09
ROLF C HAGEN
CORPORATION              305 Forbes Blvd.                                                             Mansfield           MA           02048                                  SUPPLIERS OR VENDORS        11/8/2018              $934.07
ROLF C HAGEN
CORPORATION              305 Forbes Blvd.                                                             Mansfield           MA           02048                                  SUPPLIERS OR VENDORS       11/22/2018            $1,402.99
ROLF C HAGEN
CORPORATION              305 Forbes Blvd.                                                             Mansfield           MA           02048                                  SUPPLIERS OR VENDORS       11/29/2018              $519.43



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                                                                                                                                                                                   Reasons for payment or    Dates of     Total Amount or
      Creditor Name                 Address1                 Address2                  Address3                City               State       Zip              Country                    transfer          Payments            Value
ROLF RASMUSON             635 CENTER AVE                                                                 GARNER              IA           50438                                  SUPPLIERS OR VENDORS        10/31/2018               $2.19

ROLLAND MITTELSTADT SR.   403 HIGH ST                                                                    COLFAX              WI           54730                                  SUPPLIERS OR VENDORS       11/14/2018              $10.56
ROLLPLAY (HONG KONG) CO                                                                                                                                                          PURCHASE OF
LI                        42ND FLOOR LEE GARDEN ONE 33 HYSAN AVENUE                                      CAUSEWAY BAY                                  HONG KONG                 MERCHANDISE                10/29/2018         $152,806.50
ROLLPLAY (HONG KONG) CO                                                                                                                                                          PURCHASE OF
LI                        42ND FLOOR LEE GARDEN ONE 33 HYSAN AVENUE                                      CAUSEWAY BAY                                  HONG KONG                 MERCHANDISE                 11/5/2018          $66,646.80
ROLLPLAY (HONG KONG) CO                                                                                                                                                          PURCHASE OF
LI                        42ND FLOOR LEE GARDEN ONE 33 HYSAN AVENUE                                      CAUSEWAY BAY                                  HONG KONG                 MERCHANDISE                11/26/2018         $303,231.06
ROLLPLAY (HONG KONG) CO                                                                                                                                                          PURCHASE OF
LI                        42ND FLOOR LEE GARDEN ONE   33 HYSAN AVENUE                                    CAUSEWAY BAY                                  HONG KONG                 MERCHANDISE                 12/3/2018         $211,582.79
ROMA STEVENS              520 SOUTH COTNER                                                               LINCOLN             NE           68510                                  SUPPLIERS OR VENDORS       11/29/2018              $13.15
ROMAINE LARSGAARD         114 E BOURBON PLACE                                                            SIOUX FALLS         SD           57110                                  SUPPLIERS OR VENDORS       10/22/2018               $8.32
ROMAN COMPANY             PO BOX 18010 B              PAM TO ORACLE                                      ST LOUIS            MO           83160                                  SUPPLIERS OR VENDORS       10/19/2018           $2,906.85
ROMAN COMPANY             PO BOX 18010 B              PAM TO ORACLE                                      ST LOUIS            MO           83160                                  SUPPLIERS OR VENDORS       10/26/2018           $4,296.15
ROMAN COMPANY             PO BOX 18010 B              PAM TO ORACLE                                      ST LOUIS            MO           83160                                  SUPPLIERS OR VENDORS        11/2/2018           $4,653.50
ROMAN COMPANY             PO BOX 18010 B              PAM TO ORACLE                                      ST LOUIS            MO           83160                                  SUPPLIERS OR VENDORS        11/8/2018           $1,099.10
ROMAN COMPANY             PO BOX 18010 B              PAM TO ORACLE                                      ST LOUIS            MO           83160                                  SUPPLIERS OR VENDORS       11/16/2018          $13,751.66
ROMAN COMPANY             PO BOX 18010 B              PAM TO ORACLE                                      ST LOUIS            MO           83160                                  SUPPLIERS OR VENDORS       11/30/2018          $17,450.88
ROMAN COMPANY             PO BOX 18010 B              PAM TO ORACLE                                      ST LOUIS            MO           83160                                  SUPPLIERS OR VENDORS       11/30/2018          $27,924.62
RON HARTIG                168 TIMBERLINE DR                                                              PIERCE              ID           83546                                  SUPPLIERS OR VENDORS       11/16/2018              $51.20
RON KOST                  13675 387TH AVE.                                                               ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       10/22/2018              $48.64
RON KOST                  13675 387TH AVE.                                                               ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       11/14/2018              $12.16
RON MCCOLLUM              1404 LANDON AVE                                                                YAKIMA              WA           98902                                  SUPPLIERS OR VENDORS       11/26/2018               $5.00
RON NIEMANN               1586 1 1/2 2ND ST                                                              TURTLE LAKE         WI           54889                                  SUPPLIERS OR VENDORS       10/22/2018              $11.20
RON NIEMANN               1586 1 1/2 2ND ST                                                              TURTLE LAKE         WI           54889                                  SUPPLIERS OR VENDORS       11/16/2018              $44.80
RON PLOCK                 STORE 2-125                 SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         1/3/2019             $408.75
RON SAHLI                 13604 391ST AVE.                                                               ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       10/22/2018              $38.68
RON SAHLI                 13604 391ST AVE.                                                               ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       10/25/2018               $8.32
RON SCHLAUTMAN            3800 LOVELAND DRIVE                                                            LINCOLN             NE           68506                                  SUPPLIERS OR VENDORS       11/29/2018              $47.94

RON TLAMKA                STORE 774                   SHOPKO EMPLOYEE         100 WASHINGTON STREET LIVINGSTON               MT           59047                                  SUPPLIERS OR VENDORS        11/2/2018             $275.87
RONALD A EVANS            STORE 4-081                 SHOPKO EMPLOYEE                               GREEN BAY                WI           54307-9060                             SUPPLIERS OR VENDORS       11/22/2018             $125.00
RONALD ABRAHAM            300 PATRICIAN DR.                                                         BRANDON                  SD           57005                                  SUPPLIERS OR VENDORS       11/29/2018              $48.00
RONALD ABRAHAM            300 PATRICIAN DR.                                                         BRANDON                  SD           57005                                  SUPPLIERS OR VENDORS       11/30/2018              $12.00
RONALD DOAN               HARBOR HOUSE (TABITHA)      6100 S 34TH ST                                LINCOLN                  NE           68516                                  SUPPLIERS OR VENDORS       11/26/2018              $11.98
RONALD EICKERT            492 S GLENVIEW AVE                                                        BRILLION                 WI           54110                                  SUPPLIERS OR VENDORS       11/26/2018              $22.73
RONALD HANS               W8252 SUNSET COURT                                                        LAKE MILLS               WI           53551                                  SUPPLIERS OR VENDORS        11/5/2018              $25.00
RONALD HELMEID            950 SYCAMORE TREE DR                                                      FOND DU LAC              WI           54935                                  SUPPLIERS OR VENDORS       10/26/2018              $32.32
RONALD HILLS              N6001 24TH AVE                                                            WILD ROSE                WI           54984                                  SUPPLIERS OR VENDORS       10/26/2018              $22.74
RONALD HINES              24255 JASMINE LANE                                                        GLENWOOD                 IA           51534                                  SUPPLIERS OR VENDORS       11/29/2018              $58.80
RONALD HOBACK             1140 EAST 4TH STREET #103                                                 CRETE                    NE           68333                                  SUPPLIERS OR VENDORS       10/22/2018               $2.06
RONALD LEPPALA            W7798 KRUEGER LANE                                                        PEMBINE                  WI           54156                                  SUPPLIERS OR VENDORS       10/24/2018              $39.04
RONALD LOEHR              801 N 35TH ST APT #3                                                      COUNCIL BLUFFS           IA           51501                                  SUPPLIERS OR VENDORS       12/10/2018              $64.00
RONALD MARKWELL           241 W. MAC ARTHUR AVE                                                     EAU CLAIRE               WI           54701                                  SUPPLIERS OR VENDORS       11/12/2018              $52.80
RONALD MESSINGER          756 E 425 S                                                               LAYTON                   UT           84041                                  SUPPLIERS OR VENDORS       11/26/2018              $15.00
RONALD NORTH              435 S TOUCHET RD                                                          DAYTON                   WA           99328                                  SUPPLIERS OR VENDORS        11/9/2018              $54.40
RONALD OTA                MERCHANDISING               SHOPKO EMPLOYEE                               GREEN BAY                WI           54307-9060                             SUPPLIERS OR VENDORS       11/27/2018           $1,296.57
RONALD OTA                MERCHANDISING               SHOPKO EMPLOYEE                               GREEN BAY                WI           54307-9060                             SUPPLIERS OR VENDORS       12/14/2018           $1,238.50
RONALD PETERSEN           2217 SE MARSHALL                                                          ALBERT LEA               MN           56007                                  SUPPLIERS OR VENDORS       10/29/2018             $125.00
RONALD PFARR              AUSTIN MANOR                510 23RD AVE. NW                              AUSTIN                   MN           55912                                  SUPPLIERS OR VENDORS        11/7/2018               $3.00
RONALD REYNOLDS           721 CASWELL ST.                                                           FT. ATKINSON             WI           53538                                  SUPPLIERS OR VENDORS       11/26/2018              $39.58
RONALD REYNOLDS           721 CASWELL ST.                                                           FT. ATKINSON             WI           53538                                  SUPPLIERS OR VENDORS       12/13/2018               $3.42




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                                                                                                                                                                              Reasons for payment or    Dates of    Total Amount or
     Creditor Name                Address1               Address2                Address3                   City              State       Zip              Country                   transfer          Payments           Value
                                                                          202 SUSAN LAWRENCE
RONALD RIESSEN          STORE 2-681               SHOPKO EMPLOYEE         DRIVE                      IDA GROVE           IA           51445                                  SUPPLIERS OR VENDORS      10/18/2018            $275.40
                                                                          202 SUSAN LAWRENCE
RONALD RIESSEN          STORE 2-681               SHOPKO EMPLOYEE         DRIVE                      IDA GROVE           IA           51445                                  SUPPLIERS OR VENDORS      10/25/2018            $260.82
                                                                          202 SUSAN LAWRENCE
RONALD RIESSEN          STORE 2-681               SHOPKO EMPLOYEE         DRIVE                      IDA GROVE           IA           51445                                  SUPPLIERS OR VENDORS       11/1/2018            $243.00
                                                                          202 SUSAN LAWRENCE
RONALD RIESSEN          STORE 2-681               SHOPKO EMPLOYEE         DRIVE                      IDA GROVE           IA           51445                                  SUPPLIERS OR VENDORS       11/8/2018            $238.68
                                                                          202 SUSAN LAWRENCE
RONALD RIESSEN          STORE 2-681               SHOPKO EMPLOYEE         DRIVE                      IDA GROVE           IA           51445                                  SUPPLIERS OR VENDORS      11/15/2018            $253.80
                                                                          202 SUSAN LAWRENCE
RONALD RIESSEN          STORE 2-681               SHOPKO EMPLOYEE         DRIVE                      IDA GROVE           IA           51445                                  SUPPLIERS OR VENDORS      11/22/2018            $149.58
                                                                          202 SUSAN LAWRENCE
RONALD RIESSEN          STORE 2-681               SHOPKO EMPLOYEE         DRIVE                      IDA GROVE           IA           51445                                  SUPPLIERS OR VENDORS      11/29/2018            $140.94
                                                                          202 SUSAN LAWRENCE
RONALD RIESSEN          STORE 2-681               SHOPKO EMPLOYEE         DRIVE                      IDA GROVE           IA           51445                                  SUPPLIERS OR VENDORS       12/6/2018            $214.38
                                                                          202 SUSAN LAWRENCE
RONALD RIESSEN          STORE 2-681               SHOPKO EMPLOYEE         DRIVE                      IDA GROVE           IA           51445                                  SUPPLIERS OR VENDORS      12/13/2018            $308.88
                                                                          202 SUSAN LAWRENCE
RONALD RIESSEN          STORE 2-681               SHOPKO EMPLOYEE         DRIVE                      IDA GROVE           IA           51445                                  SUPPLIERS OR VENDORS      12/20/2018            $301.86
RONALD SCANLAN          36 NIKA CT                                                                   GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS       11/7/2018             $25.00
RONALD STEVENS          1215 BUENA VISTA DR                                                          SUN PRAIRIE         WI           53590                                  SUPPLIERS OR VENDORS      11/12/2018              $2.00
RONALD VALLE            1803 TRUAX BLVD           APT8                                               EAU CLAIRE          WI           54703                                  SUPPLIERS OR VENDORS      10/31/2018             $21.85
                        672 WEST CUMMINGS ROAD
RONALD WEATHERWAX       UNIT 5                                                                       WAUTOMA             WI           54982                                  SUPPLIERS OR VENDORS      10/26/2018             $46.00

RONALDO QUIROA SOLANO   2640 130TH ST NW LOT 43                                                      ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS      10/26/2018             $23.00
RONDA HERMANSON         7316 DOROTHY DR                                                              BLACK HAWK          SD           57718                                  SUPPLIERS OR VENDORS      10/19/2018             $39.00
RONDA NIEMAN            STORE 760                 SHOPKO EMPLOYEE         1105 BRIDGER DRIVE         GREEN RIVER         WY           82935                                  SUPPLIERS OR VENDORS      10/19/2018            $296.48
RONDA NIEMAN            STORE 760                 SHOPKO EMPLOYEE         1105 BRIDGER DRIVE         GREEN RIVER         WY           82935                                  SUPPLIERS OR VENDORS      10/26/2018            $909.06
RONDA NIEMAN            STORE 760                 SHOPKO EMPLOYEE         1105 BRIDGER DRIVE         GREEN RIVER         WY           82935                                  SUPPLIERS OR VENDORS       11/2/2018            $296.48
RONDA NIEMAN            STORE 760                 SHOPKO EMPLOYEE         1105 BRIDGER DRIVE         GREEN RIVER         WY           82935                                  SUPPLIERS OR VENDORS       11/9/2018            $370.60
RONDA NIEMAN            STORE 760                 SHOPKO EMPLOYEE         1105 BRIDGER DRIVE         GREEN RIVER         WY           82935                                  SUPPLIERS OR VENDORS      11/16/2018            $296.48
RONDA NIEMAN            STORE 760                 SHOPKO EMPLOYEE         1105 BRIDGER DRIVE         GREEN RIVER         WY           82935                                  SUPPLIERS OR VENDORS      11/27/2018            $296.48
RONDA NIEMAN            STORE 760                 SHOPKO EMPLOYEE         1105 BRIDGER DRIVE         GREEN RIVER         WY           82935                                  SUPPLIERS OR VENDORS      11/30/2018            $296.48
RONDA NIEMAN            STORE 760                 SHOPKO EMPLOYEE         1105 BRIDGER DRIVE         GREEN RIVER         WY           82935                                  SUPPLIERS OR VENDORS      12/11/2018            $222.36
RONDA NIEMAN            STORE 760                 SHOPKO EMPLOYEE         1105 BRIDGER DRIVE         GREEN RIVER         WY           82935                                  SUPPLIERS OR VENDORS      12/14/2018            $222.36
RONDA NIEMAN            STORE 760                 SHOPKO EMPLOYEE         1105 BRIDGER DRIVE         GREEN RIVER         WY           82935                                  SUPPLIERS OR VENDORS      12/20/2018            $448.21
RONDA NIEMAN            STORE 760                 SHOPKO EMPLOYEE         1105 BRIDGER DRIVE         GREEN RIVER         WY           82935                                  SUPPLIERS OR VENDORS       1/15/2019            $800.27
RONS LAWN MOWING        RONALD P HERMAN           1130 ELON DRIVE                                    WAUKON              IA           52172                                  SUPPLIERS OR VENDORS       11/2/2018            $492.20
RONS LAWN MOWING        RONALD P HERMAN           1130 ELON DRIVE                                    WAUKON              IA           52172                                  SUPPLIERS OR VENDORS       12/8/2018            $214.00
RONS SUPERMARKET
INCORPORATED            909 NORTH 6TH STREET      PO BOX 272                                         GREYBULL            WY           82426                                  SUPPLIERS OR VENDORS       11/1/2018         $15,500.00
RONS SUPERMARKET
INCORPORATED            909 NORTH 6TH STREET      PO BOX 272                                         GREYBULL            WY           82426                                  SUPPLIERS OR VENDORS       11/7/2018           $5,212.66
RONS SUPERMARKET
INCORPORATED            909 NORTH 6TH STREET       PO BOX 272                                        GREYBULL            WY           82426                                  SUPPLIERS OR VENDORS       12/1/2018         $15,500.00
ROOSEVELT COUNTY        400 2ND AVENUE SOUTH SUITE
TREASURER               118                                                                          WOLF POINT          MT           59201                                  SUPPLIERS OR VENDORS      11/26/2018           $5,603.06
ROSA ESPARZA            117 LILAC DRIVE                                                              MARSHALL            MN           56258                                  SUPPLIERS OR VENDORS      12/17/2018              $28.31
ROSA VALDEZ             3021 POPSIE DR                                                               BELVIDERE           IL           61008                                  SUPPLIERS OR VENDORS      10/31/2018              $76.00
ROSALEE SCHREINER       420 JACKSON AVE                                                              NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS       11/5/2018              $53.54
ROSALEE SCHREINER       420 JACKSON AVE                                                              NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS      11/26/2018              $13.38
ROSALIE FARLEY          STORE 2-646                SHOPKO EMPLOYEE        3825 S HURON ROAD          STANDISH            MI           48658                                  SUPPLIERS OR VENDORS      11/29/2018             $366.34



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                                                                                                                                                                               Reasons for payment or    Dates of     Total Amount or
      Creditor Name                Address1              Address2                  Address3                City               State       Zip              Country                    transfer          Payments            Value
ROSALIE GARLAND          522 WEST CLARK                                                              FREEPORT            IL           61032                                  SUPPLIERS OR VENDORS        10/25/2018               $32.00
ROSALIE POQUETTE         1622 W PACKARD ST                                                           APPLETON            WI           54914                                  SUPPLIERS OR VENDORS         11/9/2018               $25.00
ROSALIND SWANSON         2062 400 TH ST                                                              BUFFALO CENTER      IA           50424                                  SUPPLIERS OR VENDORS        10/22/2018               $13.90

ROSALINDA SCHUMACHER     321 9TH AVE NE #217                                                         ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       11/28/2018               $12.16

ROSALINDA SCHUMACHER     321 9TH AVE NE #217                                                         ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS        12/7/2018               $48.64
ROSALYN VOGLER           27104 CHURCH RD                                                             ASHLAND             NE           68003                                  SUPPLIERS OR VENDORS       10/18/2018               $60.85
ROSALYN VOGLER           27104 CHURCH RD                                                             ASHLAND             NE           68003                                  SUPPLIERS OR VENDORS       10/22/2018               $13.15
ROSANNA KYLE             8774 COUNTY RD N                                                            ARPIN               WI           54410                                  SUPPLIERS OR VENDORS       11/29/2018               $25.00
ROSE BOUSHELE            214 BACON AVE                                                               OSHKOSH             WI           54901                                  SUPPLIERS OR VENDORS       10/19/2018               $89.99
ROSE CHRISTIANSON        1255 YELLOWSTONE AVE                                                        BILLINGS            MT           59102                                  SUPPLIERS OR VENDORS        12/7/2018               $60.80
ROSE ECKMANN             1840 WISCONSIN SW                                                           HURON               SD           57350                                  SUPPLIERS OR VENDORS       11/26/2018               $20.00
ROSE FERRON              530 SPRINGDALE AVE                                                          SPRINGFIELD         OR           97477                                  SUPPLIERS OR VENDORS       11/14/2018               $10.00
ROSE FREUND              557 BALESHARE RD                                                            GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS        11/2/2018               $15.00
ROSE MARIE MURARO        3750D YUKON ROAD                                                            BROOKFIELD          WI           53045                                  SUPPLIERS OR VENDORS       10/31/2018                $9.76
ROSE NOLTE               STORE 748                 SHOPKO EMPLOYEE        1002 7TH STREET SE         PIPESTONE           MN           56164                                  SUPPLIERS OR VENDORS        11/1/2018               $26.16
ROSE PUBLICATIONS DBA
CLINTONVILLE             10 N MAIN STREET          PO BOX 30                                         CLINTONVILLE        WI           54929                                  SUPPLIERS OR VENDORS       10/18/2018               $85.40
ROSE PUBLICATIONS DBA
CLINTONVILLE             10 N MAIN STREET          PO BOX 30                                         CLINTONVILLE        WI           54929                                  SUPPLIERS OR VENDORS       11/15/2018              $106.40
ROSE PUBLICATIONS DBA
CLINTONVILLE             10 N MAIN STREET          PO BOX 30                                         CLINTONVILLE        WI           54929                                  SUPPLIERS OR VENDORS       12/20/2018               $67.20
ROSE SANDERSON           10031 ARCADIA PLAZA #9                                                      OMAHA               NE           68134                                  SUPPLIERS OR VENDORS       12/13/2018               $43.00
ROSE WOYACH              3128 N BALLARD RD APT 1                                                     APPLETON            WI           54911                                  SUPPLIERS OR VENDORS       10/18/2018               $10.00
ROSEANN DEMARSE          N1669 EAST MAIN STREET                                                      VULCAN              MI           49892                                  SUPPLIERS OR VENDORS       12/13/2018                $9.76
ROSELYN GRAYBEAL         325 27TH ST NW                                                              WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS       10/24/2018               $44.16
ROSELYN GRAYBEAL         325 27TH ST NW                                                              WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS        11/1/2018               $11.04
ROSEMARY BRAATZ          5121 HUMBOLDT RD.                                                           GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS        11/9/2018              $113.00
ROSEMARY MOHR            PO BOX 282                                                                  CHAMBERLAIN         SD           57325                                  SUPPLIERS OR VENDORS       10/19/2018              $143.00
ROSEMARY REEDY           219 PINE ST                                                                 WRIGHTSTOWN         WI           54180                                  SUPPLIERS OR VENDORS       10/22/2018               $25.00
ROSEMARY RONDEAU         420 FULTON STREET                                                           KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS       10/22/2018                $9.76
ROSEMARY RONDEAU         420 FULTON STREET                                                           KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS       10/24/2018               $39.04
ROSETTI HANDBAGS &       CIT GROUP COMMERCIAL
ACCESS LIMITED           SERVICES INC              PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       10/27/2018              $830.69
ROSETTI HANDBAGS &       CIT GROUP COMMERCIAL
ACCESS LIMITED           SERVICES INC              PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS        11/9/2018           $83,938.15
ROSETTI HANDBAGS &       CIT GROUP COMMERCIAL
ACCESS LIMITED           SERVICES INC              PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS        12/6/2018           $18,469.10

ROSIBEL MEJIA CALDERON   308 W 2ND ST                                                                ADRIAN              MN           56110                                  SUPPLIERS OR VENDORS        12/7/2018                $3.00
ROSILYN SHEARY           14351 CARLSON CT                                                            WAVERLY             NE           68462                                  SUPPLIERS OR VENDORS       10/22/2018               $74.00
ROSIO GARCIA             821 FREMONT ST                                                              BELVIDERE           IL           61008                                  SUPPLIERS OR VENDORS       11/26/2018               $18.02
ROSS GLOVE COMPANY       PO BOX 209                                                                  SHEBOYGAN           WI           53082-0209                             SUPPLIERS OR VENDORS       11/15/2018           $54,316.61
ROSS GLOVE COMPANY       PO BOX 209                                                                  SHEBOYGAN           WI           53082-0209                             SUPPLIERS OR VENDORS       11/29/2018           $19,229.28
ROSS LARSON              917 LORRAINE DR                                                             MADISON             WI           53705                                  SUPPLIERS OR VENDORS       11/26/2018               $88.00
ROWEN SWICK              1357 VERNON AVE                                                             BELOIT              WI           53511                                  SUPPLIERS OR VENDORS        11/9/2018              $121.00
ROWENA WIPF              17263 406TH AVE                                                             DOLAND              SD           57436                                  SUPPLIERS OR VENDORS       10/24/2018               $44.16
ROWENA WIPF              17263 406TH AVE                                                             DOLAND              SD           57436                                  SUPPLIERS OR VENDORS       10/31/2018               $11.04
ROXANE BROCK             1125 N MAIN #3B                                                             LAYTON              UT           84041                                  SUPPLIERS OR VENDORS        11/5/2018               $10.00
ROXANNE ADAMS            24484 750TH AVE                                                             ALBERT LEA          MN           56007                                  SUPPLIERS OR VENDORS       10/29/2018               $71.40
ROXANNE DAHLIN           600 LAKESHORE DRIVE                                                         LINCOLN             NE           68528                                  SUPPLIERS OR VENDORS        11/8/2018               $75.00
ROXANNE FINK             N10570 CENTER ROAD                                                          LOMIRA              WI           53048                                  SUPPLIERS OR VENDORS       10/18/2018               $25.00
ROXANNE JOHNSON          3135 NO 70TH #2                                                             LINCOLN             NE           68507                                  SUPPLIERS OR VENDORS       10/22/2018               $13.15



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ROXANNE JOHNSON          3135 NO 70TH #2                                                               LINCOLN             NE           68507                                  SUPPLIERS OR VENDORS         11/5/2018               $60.85
ROXANNE KIND             487 ROCKROSE DR                                                               FOND DU LAC         WI           54935                                  SUPPLIERS OR VENDORS         11/2/2018               $25.00
ROXANNE LAUFMANN         201 E. 9TH AVE                                                                MITCHELL            SD           57301                                  SUPPLIERS OR VENDORS        11/29/2018               $21.55
ROXANNE LAUFMANN         201 E. 9TH AVE                                                                MITCHELL            SD           57301                                  SUPPLIERS OR VENDORS        11/29/2018               $34.45
ROXANNE MICHIELS         4737 PINE GROVE ROAD                                                          DENMARK             WI           54208                                  SUPPLIERS OR VENDORS        10/26/2018               $25.00
ROXIE NOVAK              3146 TERM COURT                                                               GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS        10/22/2018               $25.00
ROXY KOEHN               STORE 501                   SHOPKO EMPLOYEE        3705 MONROE ROAD           DE PERE             WI           54115                                  SUPPLIERS OR VENDORS        11/22/2018               $11.99
ROY ANDERSON             P.O. BOX 10752                                                                YAKIMA              WA           98909                                  SUPPLIERS OR VENDORS        11/30/2018               $39.00
ROY BRUMMER              521 GOLDSMITH ST                                                              CHIPPEWA FALLS      WI           54729                                  SUPPLIERS OR VENDORS        10/18/2018               $46.00
ROY DAVID ANDERSON       STORE 073                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/9/2018               $82.06
ROY KRESSMAN             757 IMM STREET                                                                WAUSAU              WI           54401                                  SUPPLIERS OR VENDORS        12/20/2018               $23.00
ROYAL APPLIANCE
MANUFACTURING            VICE PRESIDENT OF SALES     7005 COCHRAN ROAD                                 CLEVELAND           OH           44139-4303                             SUPPLIERS OR VENDORS       10/23/2018           $51,262.14
ROYAL APPLIANCE
MANUFACTURING            VICE PRESIDENT OF SALES     7005 COCHRAN ROAD                                 CLEVELAND           OH           44139-4303                             SUPPLIERS OR VENDORS       10/25/2018           $12,691.83
ROYAL APPLIANCE
MANUFACTURING            VICE PRESIDENT OF SALES     7005 COCHRAN ROAD                                 CLEVELAND           OH           44139-4303                             SUPPLIERS OR VENDORS       10/30/2018           $13,403.55
ROYAL APPLIANCE
MANUFACTURING            VICE PRESIDENT OF SALES     7005 COCHRAN ROAD                                 CLEVELAND           OH           44139-4303                             SUPPLIERS OR VENDORS        11/6/2018           $40,157.04
ROYAL APPLIANCE
MANUFACTURING            VICE PRESIDENT OF SALES     7005 COCHRAN ROAD                                 CLEVELAND           OH           44139-4303                             SUPPLIERS OR VENDORS       11/13/2018           $11,710.59
ROYAL APPLIANCE
MANUFACTURING            VICE PRESIDENT OF SALES     7005 COCHRAN ROAD                                 CLEVELAND           OH           44139-4303                             SUPPLIERS OR VENDORS       11/15/2018          $100,932.06
ROYAL APPLIANCE
MANUFACTURING            VICE PRESIDENT OF SALES     7005 COCHRAN ROAD                                 CLEVELAND           OH           44139-4303                             SUPPLIERS OR VENDORS       11/27/2018          $243,320.03
ROYAL CROWN BOTTLING     PO BOX 2870                 PAM TO ORACLE                                     EVANSVILLE          IN           47728-0870                             SUPPLIERS OR VENDORS       10/22/2018              $228.56
ROYAL CROWN BOTTLING     PO BOX 2870                 PAM TO ORACLE                                     EVANSVILLE          IN           47728-0870                             SUPPLIERS OR VENDORS       11/22/2018               $98.04
ROYAL CROWN BOTTLING     PO BOX 2870                 PAM TO ORACLE                                     EVANSVILLE          IN           47728-0870                             SUPPLIERS OR VENDORS       11/27/2018                $7.12
ROYAL CROWN BOTTLING     PO BOX 2870                 PAM TO ORACLE                                     EVANSVILLE          IN           47728-0870                             SUPPLIERS OR VENDORS       12/20/2018              $484.18

ROYAL PET INCORPORATED   201 ARMOUR AVENUE STE 100                                                     SOUTH ST PAUL       MN           55075-0000                             SUPPLIERS OR VENDORS       10/18/2018            $7,727.41

ROYAL PET INCORPORATED   201 ARMOUR AVENUE STE 100                                                     SOUTH ST PAUL       MN           55075-0000                             SUPPLIERS OR VENDORS       10/25/2018           $10,065.81

ROYAL PET INCORPORATED   201 ARMOUR AVENUE STE 100                                                     SOUTH ST PAUL       MN           55075-0000                             SUPPLIERS OR VENDORS        11/1/2018           $16,148.54

ROYAL PET INCORPORATED   201 ARMOUR AVENUE STE 100                                                     SOUTH ST PAUL       MN           55075-0000                             SUPPLIERS OR VENDORS       11/15/2018            $5,976.96

ROYAL PET INCORPORATED   201 ARMOUR AVENUE STE 100                                                     SOUTH ST PAUL       MN           55075-0000                             SUPPLIERS OR VENDORS       11/22/2018            $7,840.22
ROYAL PUBLISHING
INCORPORATED             7620 N HARKER DRIVE                                                           PEORIA              IL           61615-1849                             SUPPLIERS OR VENDORS        11/9/2018               $55.00
ROYALE LINENS            CIT GROUP COMMERCIAL
INCORPORATED             SERVICES INC                PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       10/18/2018           $19,644.55
ROYALE LINENS            CIT GROUP COMMERCIAL
INCORPORATED             SERVICES INC                PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       10/19/2018           $25,861.38
ROYALE LINENS            CIT GROUP COMMERCIAL
INCORPORATED             SERVICES INC                PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       10/29/2018            $4,801.74
ROYALE LINENS            CIT GROUP COMMERCIAL
INCORPORATED             SERVICES INC                PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS        11/8/2018           $17,687.75
ROYALE LINENS            CIT GROUP COMMERCIAL
INCORPORATED             SERVICES INC                PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/15/2018            $4,302.00
ROYALE LINENS            CIT GROUP COMMERCIAL
INCORPORATED             SERVICES INC                PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/22/2018            $5,226.46




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ROYALE LINENS              CIT GROUP COMMERCIAL
INCORPORATED               SERVICES INC               PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       12/3/2018           $2,338.42
ROYDEN AUEN                711 SOUTH STREET                                                             PIERSON             IA           51048                                  SUPPLIERS OR VENDORS       12/7/2018              $30.00
ROYLENE HULET              1730 W. QUINN #405                                                           POCATELLO           ID           83202                                  SUPPLIERS OR VENDORS      11/13/2018              $25.00
ROZANNE MEHMEN             3646 RIVER RD                                                                OSAGE               IA           50461                                  SUPPLIERS OR VENDORS      11/26/2018              $27.00
ROZANNE MEHMEN             3646 RIVER RD                                                                OSAGE               IA           50461                                  SUPPLIERS OR VENDORS      11/26/2018              $48.00
RPH ON THE GO USA
INCORPORATED               DEPT CH 14430                                                                PALATINE            IL           60055-4430                             SUPPLIERS OR VENDORS      10/19/2018            $860.28
RPH ON THE GO USA
INCORPORATED               DEPT CH 14430                                                                PALATINE            IL           60055-4430                             SUPPLIERS OR VENDORS       11/3/2018           $1,236.46
RPH ON THE GO USA
INCORPORATED               DEPT CH 14430                                                                PALATINE            IL           60055-4430                             SUPPLIERS OR VENDORS       12/1/2018          $2,563.93
RR DONNELLEY               7810 SOLUTION CENTER                                                         CHICAGO             IL           60677-7008                             SUPPLIERS OR VENDORS      10/18/2018          $3,251.01
RR DONNELLEY               7810 SOLUTION CENTER                                                         CHICAGO             IL           60677-7008                             SUPPLIERS OR VENDORS      10/25/2018        $139,176.29
RR DONNELLEY               7810 SOLUTION CENTER                                                         CHICAGO             IL           60677-7008                             SUPPLIERS OR VENDORS       11/8/2018          $2,923.84
RR DONNELLEY               7810 SOLUTION CENTER                                                         CHICAGO             IL           60677-7008                             SUPPLIERS OR VENDORS      11/15/2018          $3,472.64
RR DONNELLEY               7810 SOLUTION CENTER                                                         CHICAGO             IL           60677-7008                             SUPPLIERS OR VENDORS      11/22/2018          $4,019.76
RR DONNELLEY               7810 SOLUTION CENTER                                                         CHICAGO             IL           60677-7008                             SUPPLIERS OR VENDORS      11/29/2018          $2,013.29
                                                                                                        RANCHO SANTA
RS LACEY PARTNERS LLC      30242 ESPERANZA                                                              MARGARITA           CA           92688                                  SUPPLIERS OR VENDORS       11/1/2018         $69,262.72
                                                                                                        RANCHO SANTA
RS LACEY PARTNERS LLC      30242 ESPERANZA                                                              MARGARITA           CA           92688                                  SUPPLIERS OR VENDORS       11/1/2018         $77,924.66
                                                                                                        RANCHO SANTA
RS LACEY PARTNERS LLC      30242 ESPERANZA                                                              MARGARITA           CA           92688                                  SUPPLIERS OR VENDORS       11/1/2018         $87,446.63
                                                                                                        RANCHO SANTA
RS LACEY PARTNERS LLC      30242 ESPERANZA                                                              MARGARITA           CA           92688                                  SUPPLIERS OR VENDORS       12/4/2018         $69,262.72
                                                                                                        RANCHO SANTA
RS LACEY PARTNERS LLC      30242 ESPERANZA                                                              MARGARITA           CA           92688                                  SUPPLIERS OR VENDORS       12/4/2018         $77,924.66
                                                                                                        RANCHO SANTA
RS LACEY PARTNERS LLC      30242 ESPERANZA                                                              MARGARITA           CA           92688                                  SUPPLIERS OR VENDORS       12/4/2018         $87,446.63
                                                                                                        RANCHO SANTA
RS LACEY PARTNERS LLC      30242 ESPERANZA                                                              MARGARITA           CA           92688                                  SUPPLIERS OR VENDORS      12/19/2018           $1,048.87

RTA PRODUCTS LLC (C-HUB)   2500 SW 32ND AVENUE                                                          PEMBROKE PARK       FL           33023                                  SUPPLIERS OR VENDORS      11/15/2018            $159.30
RUBEN CARDENAS             2809 MAPLE HILL DR                                                           WAUSAU              WI           54401                                  SUPPLIERS OR VENDORS      10/26/2018             $49.60
RUBY JENSEN                P O BOX 103                                                                  EDEN                SD           57232                                  SUPPLIERS OR VENDORS      10/24/2018             $12.16
RUBY JENSEN                P O BOX 103                                                                  EDEN                SD           57232                                  SUPPLIERS OR VENDORS      12/17/2018             $48.64
RUBY SIECH                 1252 PINECREST RD                                                            GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS      11/26/2018             $11.04
RUBY SIECH                 1252 PINECREST RD                                                            GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS      11/26/2018             $44.16
RUDER WARE LLSC            222 CHERRY STREET                                                            GREEN BAY           WI           54301                                  SUPPLIERS OR VENDORS       12/7/2018            $206.14
RUFUS WHEELER              2177 GARDEN GROVE LN                                                         GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS      12/20/2018             $25.00
                           2201 W PLANO PKWAY SUITE
RUG DOCTOR LLC (SBT)       100                                                                          PLANO               TX           75075                                  SUPPLIERS OR VENDORS      10/20/2018           $2,883.21
                           2201 W PLANO PKWAY SUITE
RUG DOCTOR LLC (SBT)       100                                                                          PLANO               TX           75075                                  SUPPLIERS OR VENDORS      10/27/2018           $3,140.58
                           2201 W PLANO PKWAY SUITE
RUG DOCTOR LLC (SBT)       100                                                                          PLANO               TX           75075                                  SUPPLIERS OR VENDORS       11/3/2018           $2,837.47
                           2201 W PLANO PKWAY SUITE
RUG DOCTOR LLC (SBT)       100                                                                          PLANO               TX           75075                                  SUPPLIERS OR VENDORS      11/10/2018           $3,451.08
                           2201 W PLANO PKWAY SUITE
RUG DOCTOR LLC (SBT)       100                                                                          PLANO               TX           75075                                  SUPPLIERS OR VENDORS      11/17/2018           $3,083.86
                           2201 W PLANO PKWAY SUITE
RUG DOCTOR LLC (SBT)       100                                                                          PLANO               TX           75075                                  SUPPLIERS OR VENDORS      11/24/2018           $4,121.88




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                          2201 W PLANO PKWAY SUITE
RUG DOCTOR LLC (SBT)      100                                                                          PLANO               TX           75075                                  SUPPLIERS OR VENDORS       12/1/2018           $4,188.77
RULON DOMAN               9271 BETTY DRIVE                                                             WEST JORDAN         UT           84088                                  SUPPLIERS OR VENDORS      11/26/2018              $20.00
RULON DOMAN               9271 BETTY DRIVE                                                             WEST JORDAN         UT           84088                                  SUPPLIERS OR VENDORS       12/7/2018              $23.00
RUNNING DOGS PROPERTIES
LLC                       PO BOX 5004                                                                  BUENA VISTA         CO           81211                                  SUPPLIERS OR VENDORS      11/10/2018           $9,541.67
RUNNING DOGS PROPERTIES
LLC                       PO BOX 5004                                                                  BUENA VISTA         CO           81211                                  SUPPLIERS OR VENDORS       12/8/2018           $9,541.67
RUNNINGS SUPPLY
INCORPORATED              901 NORTH HIGHWAY 59                                                         MARSHALL            MN           56258-2721                             SUPPLIERS OR VENDORS      10/26/2018             $16.53
RUSHMORE PHOTO & GIFTS
INCORPORATED              1221 OREGON STREET         PAM TO ORACLE                                     RAPID CITY          SD           57701                                  SUPPLIERS OR VENDORS      10/18/2018            $663.00
RUSHMORE PHOTO & GIFTS
INCORPORATED              1221 OREGON STREET         PAM TO ORACLE                                     RAPID CITY          SD           57701                                  SUPPLIERS OR VENDORS      10/25/2018            $343.50
RUSHMORE PHOTO & GIFTS
INCORPORATED              1221 OREGON STREET         PAM TO ORACLE                                     RAPID CITY          SD           57701                                  SUPPLIERS OR VENDORS       11/1/2018           $2,335.50
RUSHMORE PHOTO & GIFTS
INCORPORATED              1221 OREGON STREET         PAM TO ORACLE                                     RAPID CITY          SD           57701                                  SUPPLIERS OR VENDORS       11/8/2018            $104.50
RUSHMORE PHOTO & GIFTS
INCORPORATED              1221 OREGON STREET         PAM TO ORACLE                                     RAPID CITY          SD           57701                                  SUPPLIERS OR VENDORS      11/15/2018            $623.00
RUSHMORE PHOTO & GIFTS
INCORPORATED              1221 OREGON STREET         PAM TO ORACLE                                     RAPID CITY          SD           57701                                  SUPPLIERS OR VENDORS      11/22/2018             $13.00
RUSHMORE PHOTO & GIFTS
INCORPORATED              1221 OREGON STREET         PAM TO ORACLE                                     RAPID CITY          SD           57701                                  SUPPLIERS OR VENDORS      11/29/2018            $412.00
RUSHMORE PHOTO & GIFTS
INCORPORATED              1221 OREGON STREET         PAM TO ORACLE                                     RAPID CITY          SD           57701                                  SUPPLIERS OR VENDORS      12/20/2018           $3,643.00
RUSHMORE PHOTO & GIFTS
INCORPORATED              1221 OREGON STREET         PAM TO ORACLE                                     RAPID CITY          SD           57701                                  SUPPLIERS OR VENDORS      12/27/2018           $5,797.00
RUSS JANSSEN              42436 390TH AVENUE                                                           HERON LAKE          MN           56137                                  SUPPLIERS OR VENDORS        1/5/2019             $180.00
RUSS LIPETZKY             6502 GANON ST SE                                                             SALEM               OR           97301                                  SUPPLIERS OR VENDORS      10/25/2018              $42.00
RUSSELL BLANSETTE         111 15TH ST                                                                  FOND DU LAC         WI           54935                                  SUPPLIERS OR VENDORS      10/18/2018              $25.00
RUSSELL BLANSETTE         111 15TH ST                                                                  FOND DU LAC         WI           54935                                  SUPPLIERS OR VENDORS      10/18/2018              $25.00
RUSSELL DENNISON          2109 GLENVIEW LANE NE                                                        ROCHESTER           MN           55906                                  SUPPLIERS OR VENDORS       11/5/2018              $30.60
RUSSELL DIAL              P. O. BOX 1981                                                               CLARKSTON           WA           99403                                  SUPPLIERS OR VENDORS       12/7/2018              $23.00
RUSSELL G SALZER          1222 WASHINGTON AVE                                                          OSHKOSH             WI           54901                                  SUPPLIERS OR VENDORS      12/17/2018           $2,070.00
RUSSELL KEENER            3705 20TH STREET                                                             LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS      11/28/2018              $45.00
RUSSELL LITTLE            3054 MYRTLE STREET                                                           SIOUX CITY          IA           51103                                  SUPPLIERS OR VENDORS      11/26/2018              $22.48
RUSSELL MACKENZIE         24328 78TH STT                                                               SALEM               WI           53168                                  SUPPLIERS OR VENDORS      11/28/2018              $45.00
RUSSELL OSTERMANN         4655 HWY 47 N                                                                RHINELANDER         WI           54501                                  SUPPLIERS OR VENDORS       11/5/2018              $10.00
RUSSELL SLEEZER           1070 LYNX ROAD SW                                                            BURLINGTON          KS           66839                                  SUPPLIERS OR VENDORS      10/25/2018             $100.00
RUSSELL STEINHORST        FINANCE                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/26/2018             $267.68
RUSSELL STEINHORST        FINANCE                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/30/2018           $1,339.01
RUSSELL STEINHORST        FINANCE                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/8/2018             $412.52
RUSSELL STEINHORST        FINANCE                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/14/2018           $1,350.04

RUSSELL STERZINGER        2920 GENEVA COURT                                                            WISCONSIN RAPIDS WI              54494                                  SUPPLIERS OR VENDORS       11/5/2018             $20.00
RUSSELL STOVER CANDIES    4900 Oak Street                                                              Kansas City      MO              64112-2702                             SUPPLIERS OR VENDORS      11/30/2018        $350,586.22
RUSSELL VOSS              1270 MCKINLEY AVE                                                            LITTLE ROCK      IA              51243                                  SUPPLIERS OR VENDORS       12/7/2018              $7.08

RUST OLEUM CORPORATION PO BOX 931946                                                                   CLEVELAND           OH           44193-0000                             SUPPLIERS OR VENDORS      10/18/2018           $2,208.18

RUST OLEUM CORPORATION PO BOX 931946                                                                   CLEVELAND           OH           44193-0000                             SUPPLIERS OR VENDORS      10/25/2018           $6,854.90

RUST OLEUM CORPORATION PO BOX 931946                                                                   CLEVELAND           OH           44193-0000                             SUPPLIERS OR VENDORS       11/1/2018           $6,676.78



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RUST OLEUM CORPORATION PO BOX 931946                                                                    CLEVELAND           OH           44193-0000                             SUPPLIERS OR VENDORS       11/8/2018           $2,423.62

RUST OLEUM CORPORATION PO BOX 931946                                                                    CLEVELAND           OH           44193-0000                             SUPPLIERS OR VENDORS      11/15/2018           $5,588.76

RUST OLEUM CORPORATION PO BOX 931946                                                                    CLEVELAND           OH           44193-0000                             SUPPLIERS OR VENDORS      11/22/2018           $2,282.79

RUST OLEUM CORPORATION    PO BOX 931946                                                                 CLEVELAND           OH           44193-0000                             SUPPLIERS OR VENDORS      11/29/2018           $4,834.90
RUTH ANN GIFFORD          735 HALLSEY DRIVE                                                             BOX ELDER           SD           57719                                  SUPPLIERS OR VENDORS      11/26/2018              $13.60
RUTH ANN GIFFORD          735 HALLSEY DRIVE                                                             BOX ELDER           SD           57719                                  SUPPLIERS OR VENDORS      11/29/2018              $54.40
RUTH BAKER                16387 INDIAN CEMETERY RD.                                                     LANSE               MI           49946                                  SUPPLIERS OR VENDORS       11/1/2018              $48.19
RUTH BUEGE                332 CONCORD DRIVE                                                             OREGON              WI           53575                                  SUPPLIERS OR VENDORS       11/5/2018              $15.00
RUTH E NELSON REVOCABLE
TRUST                     SHARON SOLBERG TRUSTEE      PO BOX 455                                        RED OAK             IA           51566                                  SUPPLIERS OR VENDORS      11/15/2018           $2,500.00
RUTH E NELSON REVOCABLE
TRUST                     SHARON SOLBERG TRUSTEE      PO BOX 455                                        RED OAK             IA           51566                                  SUPPLIERS OR VENDORS      12/19/2018           $2,500.00
RUTH HALAMA               N40332 WITT HILL RD                                                           WHITEHALL           WI           54773                                  SUPPLIERS OR VENDORS      10/26/2018              $10.56
RUTH HENDRIX              4240 S. 32ND                                                                  LINCOLN             NE           68502                                  SUPPLIERS OR VENDORS      11/26/2018               $7.86
RUTH HENDRIX              4240 S. 32ND                                                                  LINCOLN             NE           68502                                  SUPPLIERS OR VENDORS      11/26/2018              $36.14
RUTH HENDRIX              4240 S. 32ND                                                                  LINCOLN             NE           68502                                  SUPPLIERS OR VENDORS      12/10/2018               $3.87
RUTH HENDRIX              4240 S. 32ND                                                                  LINCOLN             NE           68502                                  SUPPLIERS OR VENDORS      12/20/2018              $18.13
RUTH L MINZEL             STORE 2-761                 SHOPKO EMPLOYEE        205 BOYD AVENUE            NEWCASTLE           WY           82701                                  SUPPLIERS OR VENDORS      12/20/2018              $49.95
RUTH LOHOUNGUE            6311 LAKEVIEW BLVD          APT. 31                                           MIDDLETON           WI           53562                                  SUPPLIERS OR VENDORS       11/8/2018               $2.00
RUTH LORR- DOWNING        501 WEST BROADWAY                                                             VIROQUA             WI           54665                                  SUPPLIERS OR VENDORS       11/8/2018              $21.24
RUTH MIKKONEN             1313 3RD AVE SW                                                               ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       12/5/2018              $48.64
RUTH SKOGLUND             133013TH ST NE                                                                WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS       11/1/2018              $43.28
RUTH STARJNSKI            W5096 ELK ROAD                                                                MONTELLO            WI           53949                                  SUPPLIERS OR VENDORS      10/26/2018             $157.09
RUTH STARK                840 SWEET BRIAR DRIVE                                                         ELKHORN             WI           53121                                  SUPPLIERS OR VENDORS       11/2/2018              $28.00
RUTH THORSHEIM            810 5TH AVE                                                                   AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS      10/29/2018              $79.98
RUTH WEIGEL-STERR         3605 MILWAUKEE ST.                                                            MADISON             WI           53714                                  SUPPLIERS OR VENDORS      12/21/2018              $25.00
RX RELIEF INCORPORATED    PRIDESTAFF                  PO BOX 205287                                     DALLAS              TX           75320-5287                             SUPPLIERS OR VENDORS       11/1/2018             $890.07
RX RELIEF INCORPORATED    PRIDESTAFF                  PO BOX 205287                                     DALLAS              TX           75320-5287                             SUPPLIERS OR VENDORS      11/14/2018           $2,517.47
RX RELIEF INCORPORATED    PRIDESTAFF                  PO BOX 205287                                     DALLAS              TX           75320-5287                             SUPPLIERS OR VENDORS       12/7/2018           $1,542.46

RX SYSTEMS INCORPORATED 121 POINT WEST BOULEVARD                                                        ST CHARLES          MO           63301-4409                             SUPPLIERS OR VENDORS      10/18/2018            $296.00

RX SYSTEMS INCORPORATED 121 POINT WEST BOULEVARD                                                        ST CHARLES          MO           63301-4409                             SUPPLIERS OR VENDORS      10/29/2018            $256.25

RX SYSTEMS INCORPORATED 121 POINT WEST BOULEVARD                                                        ST CHARLES          MO           63301-4409                             SUPPLIERS OR VENDORS       11/1/2018            $136.00

RX SYSTEMS INCORPORATED 121 POINT WEST BOULEVARD                                                        ST CHARLES          MO           63301-4409                             SUPPLIERS OR VENDORS       11/7/2018            $330.00

RX SYSTEMS INCORPORATED 121 POINT WEST BOULEVARD                                                        ST CHARLES          MO           63301-4409                             SUPPLIERS OR VENDORS       11/8/2018            $605.34

RX SYSTEMS INCORPORATED 121 POINT WEST BOULEVARD                                                        ST CHARLES          MO           63301-4409                             SUPPLIERS OR VENDORS      11/26/2018            $923.50

RX SYSTEMS INCORPORATED 121 POINT WEST BOULEVARD                                                        ST CHARLES          MO           63301-4409                             SUPPLIERS OR VENDORS      11/29/2018            $670.00

RX SYSTEMS INCORPORATED   121 POINT WEST BOULEVARD                                                      ST CHARLES          MO           63301-4409                             SUPPLIERS OR VENDORS      12/21/2018            $387.08
RYAN CLAYTON              16558 WASHINGTON ST                                                           OMAHA               NE           68135                                  SUPPLIERS OR VENDORS      11/29/2018             $16.00
RYAN DEWALL               89300 380TH AVE                                                               HERON LAKE          MN           56137                                  SUPPLIERS OR VENDORS       12/7/2018             $66.30
RYAN FAWCETT              2539 LAKE HEIGHTS DR                                                          BILLINGS            MT           59105                                  SUPPLIERS OR VENDORS       11/2/2018             $25.00
RYAN FLEMING              13530 VALLEY STREET                                                           OMAHA               NE           68144                                  SUPPLIERS OR VENDORS       11/8/2018             $70.00
RYAN KEEN                 AUDIT SERVICES              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/19/2018             $57.77



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                                                                                                                                                                                 Reasons for payment or    Dates of     Total Amount or
      Creditor Name                   Address1             Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
RYAN KEEN                  AUDIT SERVICES            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/26/2018               $64.31
RYAN KEEN                  AUDIT SERVICES            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/2/2018               $50.00
RYAN KENNEDY               STORE #007                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/27/2018               $25.52
RYAN PECHACEK              1616 2 AVE SE                                                               AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS         11/5/2018               $22.00
RYAN PELZ                  5441 E CLAYSHIRE DR                                                         MILTON              WI           53563                                  SUPPLIERS OR VENDORS        11/26/2018               $30.00
RYAN RUPPERT               STORE 045                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/19/2018               $81.75
RYAN RUPPERT               STORE 045                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/2/2018              $190.83
RYAN RUPPERT               STORE 045                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/9/2018               $89.93
RYAN RUPPERT               STORE 045                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/16/2018               $37.94
RYAN RUPPERT               STORE 045                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/14/2018               $60.30
RYAN SNYDER                5141 GRASSRIDGE RD                                                          LINCOLN             NE           68512                                  SUPPLIERS OR VENDORS        11/29/2018               $25.00
RYAN SORGE                 709 A S26TH STREET                                                          MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS        12/20/2018               $16.00
                           2407 W ST. THOMAS MOORE
RYAN THIELMAN              WAY                                                                         SPOKANE             WA           99208                                  SUPPLIERS OR VENDORS       12/13/2018               $21.98
RYES LAWN SERVICE          BOX 110                                                                     LIBBY               MT           59923                                  SUPPLIERS OR VENDORS       11/29/2018              $120.00
RYLEE ABITZ                215038 SCOUT RD                                                             MOSINEE             WI           54455                                  SUPPLIERS OR VENDORS        11/9/2018                $4.99
RZ OUTDOORS                3871 OAK DRIVE                                                              MARTINEZ            GA           30907                                  SUPPLIERS OR VENDORS       10/23/2018          $167,577.90
S & S REPAIRS              STANLEY W SLEE            3328 163RD STREET                                 WEVER               IA           52658                                  SUPPLIERS OR VENDORS       10/18/2018              $287.30
S & S REPAIRS              STANLEY W SLEE            3328 163RD STREET                                 WEVER               IA           52658                                  SUPPLIERS OR VENDORS       10/25/2018              $364.23
S & S REPAIRS              STANLEY W SLEE            3328 163RD STREET                                 WEVER               IA           52658                                  SUPPLIERS OR VENDORS        11/8/2018              $143.65
S & S REPAIRS              STANLEY W SLEE            3328 163RD STREET                                 WEVER               IA           52658                                  SUPPLIERS OR VENDORS       12/17/2018              $103.72
S C JOHNSON & SON
INCORPORATED               CUST NO 786092            DRAWER NO 912                                     MILWAUKEE           WI           53278                                  SUPPLIERS OR VENDORS       10/19/2018           $76,015.42
S C JOHNSON & SON
INCORPORATED               CUST NO 786092            DRAWER NO 912                                     MILWAUKEE           WI           53278                                  SUPPLIERS OR VENDORS       10/20/2018           $10,910.19
S C JOHNSON & SON
INCORPORATED               CUST NO 786092            DRAWER NO 912                                     MILWAUKEE           WI           53278                                  SUPPLIERS OR VENDORS       10/23/2018           $43,205.14
S C JOHNSON & SON
INCORPORATED               CUST NO 786092            DRAWER NO 912                                     MILWAUKEE           WI           53278                                  SUPPLIERS OR VENDORS       10/27/2018           $98,700.21
S C JOHNSON & SON
INCORPORATED               CUST NO 786092            DRAWER NO 912                                     MILWAUKEE           WI           53278                                  SUPPLIERS OR VENDORS       10/31/2018           $88,408.63
S C JOHNSON & SON
INCORPORATED               CUST NO 786092            DRAWER NO 912                                     MILWAUKEE           WI           53278                                  SUPPLIERS OR VENDORS        11/3/2018            $9,346.61
S C JOHNSON & SON
INCORPORATED               CUST NO 786092            DRAWER NO 912                                     MILWAUKEE           WI           53278                                  SUPPLIERS OR VENDORS        11/7/2018          $105,747.42
S C JOHNSON & SON
INCORPORATED               CUST NO 786092            DRAWER NO 912                                     MILWAUKEE           WI           53278                                  SUPPLIERS OR VENDORS       11/10/2018           $33,172.03
S C JOHNSON & SON
INCORPORATED               CUST NO 786092            DRAWER NO 912                                     MILWAUKEE           WI           53278                                  SUPPLIERS OR VENDORS       11/24/2018           $74,234.26
S L DISTRIBUTION COMPANY
INC                        1250 York Street                                                            Hanover             PA           17331                                  SUPPLIERS OR VENDORS       10/25/2018            $1,092.31
S L DISTRIBUTION COMPANY
INC                        1250 York Street                                                            Hanover             PA           17331                                  SUPPLIERS OR VENDORS       10/30/2018              $157.50
S L DISTRIBUTION COMPANY
INC                        1250 York Street                                                            Hanover             PA           17331                                  SUPPLIERS OR VENDORS        11/2/2018              $807.84
S L DISTRIBUTION COMPANY
INC                        1250 York Street                                                            Hanover             PA           17331                                  SUPPLIERS OR VENDORS       11/12/2018            $1,273.39
S L DISTRIBUTION COMPANY
INC                        1250 York Street                                                            Hanover             PA           17331                                  SUPPLIERS OR VENDORS       11/22/2018            $3,853.99
S L DISTRIBUTION COMPANY
INC                        1250 York Street                                                            Hanover             PA           17331                                  SUPPLIERS OR VENDORS       11/23/2018            $1,286.01
S L DISTRIBUTION COMPANY
INC                        1250 York Street                                                            Hanover             PA           17331                                  SUPPLIERS OR VENDORS       11/29/2018              $529.72




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                                                                                                                                                                                Reasons for payment or    Dates of    Total Amount or
        Creditor Name                 Address1             Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
S L DISTRIBUTION COMPANY
INC                        1250 York Street                                                            Hanover             PA           17331                                  SUPPLIERS OR VENDORS      11/30/2018           $2,241.04
S L DISTRIBUTION COMPANY
INC                        1250 York Street                                                            Hanover             PA           17331                                  SUPPLIERS OR VENDORS       12/4/2018           $1,247.40
S L DISTRIBUTION COMPANY
INC                        1250 York Street                                                            Hanover             PA           17331                                  SUPPLIERS OR VENDORS      12/18/2018         $13,127.66
S L DISTRIBUTION COMPANY
INC                        1250 York Street                                                            Hanover             PA           17331                                  SUPPLIERS OR VENDORS      12/20/2018           $2,168.10

S LICHTENBERG & COMPANY
INCORPORATED            295 FIFTH AVE SUITE 918                                                        NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS      10/18/2018         $42,120.54

S LICHTENBERG & COMPANY
INCORPORATED            295 FIFTH AVE SUITE 918                                                        NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS      10/25/2018         $10,323.80

S LICHTENBERG & COMPANY
INCORPORATED            295 FIFTH AVE SUITE 918                                                        NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS       11/1/2018         $65,538.65

S LICHTENBERG & COMPANY
INCORPORATED            295 FIFTH AVE SUITE 918                                                        NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS       11/8/2018         $27,919.34

S LICHTENBERG & COMPANY
INCORPORATED            295 FIFTH AVE SUITE 918                                                        NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS      11/15/2018        $159,345.50

S LICHTENBERG & COMPANY
INCORPORATED            295 FIFTH AVE SUITE 918                                                        NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS      11/22/2018         $41,160.50

S LICHTENBERG & COMPANY
INCORPORATED            295 FIFTH AVE SUITE 918                                                        NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS      11/26/2018         $14,977.15

S LICHTENBERG & COMPANY
INCORPORATED            295 FIFTH AVE SUITE 918                                                        NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS      11/27/2018           $1,359.40

S LICHTENBERG & COMPANY
INCORPORATED            295 FIFTH AVE SUITE 918                                                        NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS      11/28/2018           $3,605.40

S LICHTENBERG & COMPANY
INCORPORATED            295 FIFTH AVE SUITE 918                                                        NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS      11/29/2018           $8,418.25

S LICHTENBERG & COMPANY
INCORPORATED            295 FIFTH AVE SUITE 918                                                        NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS      11/30/2018         $17,672.70

S LICHTENBERG & COMPANY
INCORPORATED               295 FIFTH AVE SUITE 918                                                     NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS       12/3/2018           $4,235.35
S4OPTIK LLC                PO BOX 842213                                                               BOSTON              MA           02284-2213                             SUPPLIERS OR VENDORS      10/19/2018             $285.00
S4OPTIK LLC                PO BOX 842213                                                               BOSTON              MA           02284-2213                             SUPPLIERS OR VENDORS      10/30/2018             $285.00
S4OPTIK LLC                PO BOX 842213                                                               BOSTON              MA           02284-2213                             SUPPLIERS OR VENDORS      11/13/2018             $285.00
S4OPTIK LLC                PO BOX 842213                                                               BOSTON              MA           02284-2213                             SUPPLIERS OR VENDORS      11/27/2018             $285.00
S4OPTIK LLC                PO BOX 842213                                                               BOSTON              MA           02284-2213                             SUPPLIERS OR VENDORS      11/30/2018             $570.00
S4OPTIK LLC                PO BOX 842213                                                               BOSTON              MA           02284-2213                             SUPPLIERS OR VENDORS      12/14/2018             $159.00
SABRINA COOPER             STORE 677                 SHOPKO EMPLOYEE        2220 HIGHWAY 175 W         ONAWA               IA           51040                                  SUPPLIERS OR VENDORS      10/18/2018              $16.35
SABRINA COOPER             STORE 677                 SHOPKO EMPLOYEE        2220 HIGHWAY 175 W         ONAWA               IA           51040                                  SUPPLIERS OR VENDORS      11/15/2018              $16.35
SABRINA HEINEMANN          STORE 596                 SHOPKO EMPLOYEE        1208 N HIGHWAY 77          DELL RAPIDS         SD           57022                                  SUPPLIERS OR VENDORS      11/29/2018              $32.70
SABRINA INFANTE            W6006 GRAYSTONE LN                                                          APPLETON            WI           54915                                  SUPPLIERS OR VENDORS       12/3/2018              $25.00



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                                                                                                                                                                                 Reasons for payment or    Dates of     Total Amount or
       Creditor Name                Address1               Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
SABRINA KELLER            444 VICTORY AVE S         APT 212                                            SARTELL             MN           56377                                  SUPPLIERS OR VENDORS        10/25/2018               $23.00
SABRINA MCELRATH          2217 AVENUE G                                                                FORT MADISON        IA           52627                                  SUPPLIERS OR VENDORS         11/5/2018               $62.40
SABRINA SNOW              612 6TH AVE NW                                                               PLAINVIEW           MN           55964                                  SUPPLIERS OR VENDORS        11/27/2018                $3.06
SABRINA SNOW              612 6TH AVE NW                                                               PLAINVIEW           MN           55964                                  SUPPLIERS OR VENDORS        11/27/2018                $3.06
SABRINA WINKLER           894 W SANDBOX ST                                                             KUNA                ID           83634                                  SUPPLIERS OR VENDORS        11/12/2018               $23.00
SABRYN DENOTTO            19 SMYTHE DR                                                                 WILLIAMS BAY        WI           53191                                  SUPPLIERS OR VENDORS         11/9/2018               $13.00
SADDLEMAN
MANUFACTURING
COMPANY                   VICE PRESIDENT OF SALES   80 W 900 S              PAM TO ORACLE              LOGAN               UT           84321-0000                             SUPPLIERS OR VENDORS       10/18/2018           $19,472.56
SADDLEMAN
MANUFACTURING
COMPANY                   VICE PRESIDENT OF SALES   80 W 900 S              PAM TO ORACLE              LOGAN               UT           84321-0000                             SUPPLIERS OR VENDORS       11/15/2018           $53,561.44
SADIE DUCKERT             6 N CHARTER ST.           APARTMENT 1                                        MADISON             WI           53715                                  SUPPLIERS OR VENDORS        11/2/2018               $63.00
SAFAVIEH INTERNATIONAL
LLC                       LOCK BOX 10000            PO BOX 70280                                       PHILADELPHIA        PA           19176-0280                             SUPPLIERS OR VENDORS       10/18/2018              $867.41
SAFAVIEH INTERNATIONAL
LLC                       LOCK BOX 10000            PO BOX 70280                                       PHILADELPHIA        PA           19176-0280                             SUPPLIERS OR VENDORS       10/25/2018              $611.04
SAFAVIEH INTERNATIONAL
LLC                       LOCK BOX 10000            PO BOX 70280                                       PHILADELPHIA        PA           19176-0280                             SUPPLIERS OR VENDORS        11/1/2018              $741.91
SAFAVIEH INTERNATIONAL
LLC                       LOCK BOX 10000            PO BOX 70280                                       PHILADELPHIA        PA           19176-0280                             SUPPLIERS OR VENDORS        11/8/2018            $1,494.78
SAFAVIEH INTERNATIONAL
LLC                       LOCK BOX 10000            PO BOX 70280                                       PHILADELPHIA        PA           19176-0280                             SUPPLIERS OR VENDORS       11/15/2018               $30.00
SAFAVIEH INTERNATIONAL
LLC                       LOCK BOX 10000            PO BOX 70280                                       PHILADELPHIA        PA           19176-0280                             SUPPLIERS OR VENDORS       11/22/2018              $350.23
SAFAVIEH INTERNATIONAL
LLC                       LOCK BOX 10000            PO BOX 70280                                       PHILADELPHIA        PA           19176-0280                             SUPPLIERS OR VENDORS       11/29/2018              $447.32
SAHARRA ZARINS            STORE 790                 SHOPKO EMPLOYEE         409 JUNCTION AVENUE        STANLEY             WI           54768                                  SUPPLIERS OR VENDORS        12/6/2018              $101.37
SAHARRA ZARINS            STORE 790                 SHOPKO EMPLOYEE         409 JUNCTION AVENUE        STANLEY             WI           54768                                  SUPPLIERS OR VENDORS       12/13/2018               $33.79
SAIA MOTOR FREIGHT LINE
INCORPORATED              PO BOX 730532                                                                DALLAS              TX           75373-0532                             SUPPLIERS OR VENDORS       10/25/2018              $393.48
SALESFORCE.COM
INCORPORATED              PO BOX 203141                                                                DALLAS              TX           75320-3141                             SUPPLIERS OR VENDORS       10/25/2018               $93.63
SALESONE LLC              16 FITCH STREET                                                              NORWALK             CT           06855                                  SUPPLIERS OR VENDORS       10/18/2018            $1,277.71
SALESONE LLC              16 FITCH STREET                                                              NORWALK             CT           06855                                  SUPPLIERS OR VENDORS       10/19/2018              $812.26
SALESONE LLC              16 FITCH STREET                                                              NORWALK             CT           06855                                  SUPPLIERS OR VENDORS       10/20/2018              $604.11
SALESONE LLC              16 FITCH STREET                                                              NORWALK             CT           06855                                  SUPPLIERS OR VENDORS       10/23/2018              $562.76
SALESONE LLC              16 FITCH STREET                                                              NORWALK             CT           06855                                  SUPPLIERS OR VENDORS       10/24/2018               $71.00
SALESONE LLC              16 FITCH STREET                                                              NORWALK             CT           06855                                  SUPPLIERS OR VENDORS       10/26/2018              $786.45
SALESONE LLC              16 FITCH STREET                                                              NORWALK             CT           06855                                  SUPPLIERS OR VENDORS       10/27/2018              $192.20
SALESONE LLC              16 FITCH STREET                                                              NORWALK             CT           06855                                  SUPPLIERS OR VENDORS       10/30/2018              $448.25
SALESONE LLC              16 FITCH STREET                                                              NORWALK             CT           06855                                  SUPPLIERS OR VENDORS       10/31/2018               $15.75
SALESONE LLC              16 FITCH STREET                                                              NORWALK             CT           06855                                  SUPPLIERS OR VENDORS        11/1/2018               $36.75
SALESONE LLC              16 FITCH STREET                                                              NORWALK             CT           06855                                  SUPPLIERS OR VENDORS        11/2/2018              $497.77
SALESONE LLC              16 FITCH STREET                                                              NORWALK             CT           06855                                  SUPPLIERS OR VENDORS        11/3/2018              $199.80
SALESONE LLC              16 FITCH STREET                                                              NORWALK             CT           06855                                  SUPPLIERS OR VENDORS        11/6/2018              $410.52
SALESONE LLC              16 FITCH STREET                                                              NORWALK             CT           06855                                  SUPPLIERS OR VENDORS       11/15/2018              $497.73
SALESONE LLC              16 FITCH STREET                                                              NORWALK             CT           06855                                  SUPPLIERS OR VENDORS       11/16/2018              $124.14
SALESONE LLC              16 FITCH STREET                                                              NORWALK             CT           06855                                  SUPPLIERS OR VENDORS       11/17/2018               $21.55
SALESONE LLC              16 FITCH STREET                                                              NORWALK             CT           06855                                  SUPPLIERS OR VENDORS       11/24/2018              $692.45
SALESONE LLC              16 FITCH STREET                                                              NORWALK             CT           06855                                  SUPPLIERS OR VENDORS       11/28/2018               $66.17
SALESONE LLC              16 FITCH STREET                                                              NORWALK             CT           06855                                  SUPPLIERS OR VENDORS       11/29/2018            $2,204.77
SALESONE LLC              16 FITCH STREET                                                              NORWALK             CT           06855                                  SUPPLIERS OR VENDORS       11/30/2018              $390.92
SALESONE LLC              16 FITCH STREET                                                              NORWALK             CT           06855                                  SUPPLIERS OR VENDORS        12/1/2018            $1,417.07



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                                                                                                     In re ShopKo Stores Operating Co., LLC
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                                                             SOFA Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                                                      Reasons for payment or    Dates of     Total Amount or
      Creditor Name                  Address1                   Address2                  Address3               City                State       Zip              Country                    transfer          Payments            Value
SALESONE LLC              16 FITCH STREET                                                                   NORWALK             CT           06855                                  SUPPLIERS OR VENDORS         12/4/2018               $8.00

SALINE COUNTY TREASURER   PO BOX 865                                                                        WILBER              NE           68465                                  SUPPLIERS OR VENDORS       10/23/2018           $1,212.18
SALLEE BREMER             51 LIME LAKE DR                                                                   AVOCA               MN           56114                                  SUPPLIERS OR VENDORS        12/7/2018              $15.30
SALLY ARTHUR              2150 LAURA ST. #7                                                                 SPRINGFIELD         OR           97477                                  SUPPLIERS OR VENDORS       12/20/2018              $23.39
SALLY BASINSKI            W2470 CEDAR DRIVE                                                                 SEYMOUR             WI           54165                                  SUPPLIERS OR VENDORS       10/24/2018              $25.00
SALLY BIDLAKE             1265 ELM STREET SPACE 20                                                          CLARKSTON           WA           99403                                  SUPPLIERS OR VENDORS       10/24/2018              $15.00
SALLY DOCTER              3926 SOUTH 79 TH                                                                  LINCOLN             NE           68506                                  SUPPLIERS OR VENDORS       12/17/2018              $36.14
SALLY HOPKINS             1230 S 21                     #2                                                  LINCOLN             NE           68502                                  SUPPLIERS OR VENDORS        11/1/2018               $2.00
SALLY HOPKINS             1230 S 21                     #2                                                  LINCOLN             NE           68502                                  SUPPLIERS OR VENDORS        11/9/2018               $2.00
SALLY KLOSS               8967 HWY 25                                                                       PIERZ               MN           56364                                  SUPPLIERS OR VENDORS       11/30/2018              $20.02
SALLY MEYER               11036 ENGLISH LAKE RD                                                             MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS       11/26/2018              $44.16
SALLY MORING              309 S FIRST ST                                                                    OREGON              IL           61061                                  SUPPLIERS OR VENDORS       11/28/2018             $139.69
SALLY STENCIL             4045 FASCINATION CT                                                               GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS        11/1/2018              $20.00

SALLY STUTZMAN            400 S LYLE AVE                                                                    EAST WENATCHEE      WA           98802                                  SUPPLIERS OR VENDORS       10/31/2018              $65.00
SALLY WAKNITZ             PO BOX 296                                                                        GENEVA              MN           56035                                  SUPPLIERS OR VENDORS        11/5/2018               $3.00
SALLY WALLER              315 WEST NORTH ST                                                                 DURAND              IL           61024                                  SUPPLIERS OR VENDORS       11/12/2018              $12.80
SALLYS                    133 NORTH CLARK STREET                                                            FOREST CITY         IA           50436                                  SUPPLIERS OR VENDORS       11/26/2018              $52.50
SALT LAKE COUNTY
TREASURER                 PO BOX 410418                                                                     SALT LAKE CITY      UT           84141-0418                             SUPPLIERS OR VENDORS       11/26/2018         $264,371.86
SALT LAKE COUNTY
TREASURER                 PO BOX 410418                                                                     SALT LAKE CITY      UT           84141-0418                             SUPPLIERS OR VENDORS       11/27/2018          $84,123.91

SALTY SWEET SNACKS        845 COUNTRY CLUB DR SUITE E                                                       LIBERTYVILLE        IL           60048                                  SUPPLIERS OR VENDORS        11/2/2018             $168.91

SALTY SWEET SNACKS        845 COUNTRY CLUB DR SUITE E                                                       LIBERTYVILLE        IL           60048                                  SUPPLIERS OR VENDORS       12/11/2018             $229.51
                          BENNETT CAREER SERVICES
SALUS UNIVERSITY          CENTER                        ATTN RYAN HOLLISTER      8360 OLD YORK RD           ELKINS PARK         PA           19027-1516                             SUPPLIERS OR VENDORS       10/26/2018           $1,000.00
SALVATORE MAGGIO          105 1ST STREET                                                                    WALNUT              IL           61376                                  SUPPLIERS OR VENDORS       11/26/2018               $3.00
SAMANTHA ACKERMAN         12146 PARKVIEW RD                                                                 LANCASTER           WI           53813                                  SUPPLIERS OR VENDORS       12/20/2018              $23.00
SAMANTHA BALCIAR          W8831 SAWYER AVE                                                                  MEDFORD             WI           54451                                  SUPPLIERS OR VENDORS       12/20/2018               $1.20
SAMANTHA CLEVEN           W 2944 TUBBS RD                                                                   SEYMOUR             WI           54165                                  SUPPLIERS OR VENDORS       10/22/2018              $60.88
SAMANTHA JACKA            2675 STILLWATER RD                                                                SAINT PAUL          MN           55119                                  SUPPLIERS OR VENDORS        11/7/2018               $3.00
SAMANTHA JORGENSON        6378 OVERLAND LN NW                                                               ROCHESTER           MN           55901                                  SUPPLIERS OR VENDORS       12/13/2018              $72.42
SAMANTHA KOCH             STORE 2-065                   SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/18/2018             $170.91
SAMANTHA KOCH             STORE 2-065                   SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/27/2018              $90.00
SAMANTHA LAMB             2720 MILL ST                                                                      SLAYTON             MN           56172                                  SUPPLIERS OR VENDORS       10/29/2018               $3.00
SAMANTHA LANZENDORS       1622 W DIVISION                                                                   GRAND ISLAND        NE           68801                                  SUPPLIERS OR VENDORS        12/3/2018              $20.00
SAMANTHA MARTIN           206 N AVENUE K                                                                    CLIFTON             TX           76634                                  SUPPLIERS OR VENDORS       12/27/2018             $252.40
SAMANTHA MCCLUNG          STORE 2-790                   SHOPKO EMPLOYEE          409 JUNCTION AVENUE        STANLEY             WI           54768                                  SUPPLIERS OR VENDORS       10/18/2018              $41.42
SAMANTHA MORIS            419 7TH ST                                                                        CLARKSTON           WA           99403                                  SUPPLIERS OR VENDORS       12/10/2018              $50.00
SAMANTHA ROBERTSON        6692 W BASSWOOD RD                                                                MC CONNELL          IL           61050                                  SUPPLIERS OR VENDORS       11/28/2018              $23.00
SAMANTHA SCHIAVO          3600 N MARCOS LN                                                                  APPLETON            WI           54911                                  SUPPLIERS OR VENDORS       12/19/2018              $10.00

SAMANTHA SEIDENSTICKER    1228 VAN BEURAN                                                                   MISSOULA            MT           59802                                  SUPPLIERS OR VENDORS        11/1/2018              $13.00

SAMANTHA SPANNBAUER       N6058 WILDWEST LANE                                                               FOND DU LAC         WI           54937                                  SUPPLIERS OR VENDORS       12/18/2018              $34.00
SAMANTHA STAVER           24001 540TH AVE                                                                   AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS       10/23/2018               $4.08
                                                        2025 NICOLLET AVENUE
SAMLARRY LLC              VALERIUS HOPFENSPIRGER        S SUITE 203                                         MINNEAPOLIS         MN           55404                                  SUPPLIERS OR VENDORS       11/10/2018           $8,333.33
                                                        2025 NICOLLET AVENUE
SAMLARRY LLC              VALERIUS HOPFENSPIRGER        S SUITE 203                                         MINNEAPOLIS         MN           55404                                  SUPPLIERS OR VENDORS        12/8/2018           $8,333.33




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                                                                                                                                                                                  Reasons for payment or    Dates of    Total Amount or
      Creditor Name                  Address1                Address2                  Address3                  City             State       Zip              Country                   transfer          Payments           Value

SAMSONITE CORPORATION     DEPT 738                     PAM TO ORACLE                                     DENVER              CO           80291-0738                             SUPPLIERS OR VENDORS      10/24/2018        $100,022.12

SAMSONITE CORPORATION     DEPT 738                     PAM TO ORACLE                                     DENVER              CO           80291-0738                             SUPPLIERS OR VENDORS       11/1/2018         $16,180.96

SAMSONITE CORPORATION     DEPT 738                     PAM TO ORACLE                                     DENVER              CO           80291-0738                             SUPPLIERS OR VENDORS      11/15/2018        $116,704.94

SAMSONITE CORPORATION     DEPT 738                     PAM TO ORACLE                                     DENVER              CO           80291-0738                             SUPPLIERS OR VENDORS      11/29/2018           $2,545.64
SAMUEL CRAIG              N2112 CTY HWY K                                                                GRANTON             WI           54436                                  SUPPLIERS OR VENDORS      12/20/2018              $23.00
SAMUEL KARL               1816 LINCOLN STREET                                                            TWO RIVERS          WI           54241                                  SUPPLIERS OR VENDORS      10/22/2018              $10.00
SAMUEL MCCANDLESS         505 N 4TH STREET                                                               PLATTSMOUTH         NE           68048                                  SUPPLIERS OR VENDORS      10/22/2018              $42.00
SAMUEL ULBRIGHT           805 WASHINGTON ST. APT. 1                                                      HELENA              MT           59601                                  SUPPLIERS OR VENDORS      12/13/2018              $20.00
SAMUEL WENDT              W8966 BLACK OTTER CT                                                           HORTONVILLE         WI           54944                                  SUPPLIERS OR VENDORS      10/22/2018              $24.00
SAMUEL WILTZIUS           STORE 2-010                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/19/2018             $100.28
SAMUEL WILTZIUS           STORE 2-010                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/26/2018             $100.28
SAMUEL WILTZIUS           STORE 2-010                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/9/2018             $200.56
SAMUEL WILTZIUS           STORE 2-010                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/27/2018             $200.56
SAMUEL WILTZIUS           STORE 2-010                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/11/2018             $200.56
SAMUEL WILTZIUS           STORE 2-010                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/20/2018             $200.56
SAMUEL WILTZIUS           STORE 2-010                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       1/15/2019             $401.12
SAN JUAN COUNTY
TREASURER                 117 S MAIN                  PO BOX 817                                         MONTICELLO          UT           84535-0817                             SUPPLIERS OR VENDORS      11/26/2018         $14,429.11
SANDE BURRIS              PO BOX 104                                                                     LARNED              KS           67550-0104                             SUPPLIERS OR VENDORS      11/15/2018            $400.00
SANDHILLS ICE             901 QUEEN STREET                                                               VALENTINE           NE           69201                                  SUPPLIERS OR VENDORS      11/22/2018            $165.00
SANDI BRANZ               7902 MARIETTA CRT NE                                                           LACEY               WA           98516                                  SUPPLIERS OR VENDORS      11/26/2018             $67.00
SANDIE SOHL               5443 ENTERPRISE DRIVE                                                          LINCOLN             NE           68521                                  SUPPLIERS OR VENDORS      12/17/2018             $62.55
                          105 NORTH VIRIGINIA AVENUE,
SANDLINE DISCOVERY LLC    SUITE 302                                                                      FALLS CHURCH        VA           22046                                  LEGAL SERVICES             1/15/2019         $27,350.90
SANDRA BARTA              4318 TEDS LANE                                                                 NEW FRANKIN         WI           54229                                  SUPPLIERS OR VENDORS      10/22/2018             $24.80
SANDRA BEASTER            W 606 COUNTY RD N                                                              NIAGARA             WI           54151                                  SUPPLIERS OR VENDORS      11/28/2018             $13.54
SANDRA BERNSTEIN          1216 SHADOW RIDGE WAY       APT 1                                              DE PERE             WI           54115                                  SUPPLIERS OR VENDORS       12/3/2018             $10.00
SANDRA BRUECHERT          2329 S 23RD ST                                                                 MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS      11/13/2018            $152.99
SANDRA BRUECHERT          2329 S 23RD STREET                                                             MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS      12/10/2018             $10.00
SANDRA BRUECHERT          2329 S 23RD STREET                                                             MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS      12/10/2018             $10.99
SANDRA COENEN             1665 BERNHEIM ST                                                               OSHKOSH             WI           54904                                  SUPPLIERS OR VENDORS      10/31/2018             $10.00
SANDRA DENNIS             157 NOREN ROAD                                                                 IRON RIVER          MI           49935                                  SUPPLIERS OR VENDORS      12/17/2018             $72.00
SANDRA DOBBERPUHL         13377 382ND AVE                                                                ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS      11/12/2018             $13.05

SANDRA E FLAMMINI OD PC 3195 CARPENTER HILLS LP SE                                                       LACEY               WA           98503                                  SUPPLIERS OR VENDORS      10/19/2018           $4,863.73

SANDRA E FLAMMINI OD PC 3195 CARPENTER HILLS LP SE                                                       LACEY               WA           98503                                  SUPPLIERS OR VENDORS       11/2/2018           $4,336.82

SANDRA E FLAMMINI OD PC 3195 CARPENTER HILLS LP SE                                                       LACEY               WA           98503                                  SUPPLIERS OR VENDORS      11/16/2018           $4,499.06

SANDRA E FLAMMINI OD PC 3195 CARPENTER HILLS LP SE                                                       LACEY               WA           98503                                  SUPPLIERS OR VENDORS      11/30/2018           $3,895.42

SANDRA E FLAMMINI OD PC 3195 CARPENTER HILLS LP SE                                                       LACEY               WA           98503                                  SUPPLIERS OR VENDORS      12/14/2018           $4,160.21

SANDRA E FLAMMINI OD PC 3195 CARPENTER HILLS LP SE                                                       LACEY               WA           98503                                  SUPPLIERS OR VENDORS      12/29/2018           $5,163.15

SANDRA E FLAMMINI OD PC   3195 CARPENTER HILLS LP SE                                                     LACEY               WA           98503                                  SUPPLIERS OR VENDORS       1/11/2019           $3,128.90
SANDRA FOLSKE             2280 PATRIOT LN UNIT C                                                         OSHKOSH             WI           54904                                  SUPPLIERS OR VENDORS       11/2/2018               $4.40
SANDRA FREEDLUND          523 E. MONTAGUE RD                                                             WINNEBAGO           IL           61088                                  SUPPLIERS OR VENDORS      10/31/2018              $12.80
SANDRA FREUND             1922 ROOSEVELT AVE                                                             NEW HOLSTEIN        WI           53061                                  SUPPLIERS OR VENDORS      10/22/2018              $25.00



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SANDRA GRUSSING      PO BOX 657                                                                   HECTOR              MN           55342                                  SUPPLIERS OR VENDORS        10/29/2018               $36.01
SANDRA HACKBARTH     OPTICAL LAB                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/29/2018               $49.31

SANDRA KOERNER       STORE 2-740                SHOPKO EMPLOYEE        116 E STATE HIGHWAY 28 MORRIS                  MN           56267                                  SUPPLIERS OR VENDORS        11/8/2018               $24.91

SANDRA KOERNER       STORE 2-740                SHOPKO EMPLOYEE        116 E STATE HIGHWAY 28 MORRIS                  MN           56267                                  SUPPLIERS OR VENDORS        12/6/2018               $21.25
SANDRA LAMBRECHT     10615 CTY RD 47                                                          GREY EAGLE              MN           56336                                  SUPPLIERS OR VENDORS       10/24/2018              $125.00
SANDRA LUNDE         1661 HARBOR RD             PO DRAWER #300                                OCONTO                  WI           54153                                  SUPPLIERS OR VENDORS       11/13/2018              $287.19
SANDRA MAIER         122 S. ROOSEVELT, LOT 55                                                 ABERDEEN                SD           57401                                  SUPPLIERS OR VENDORS       11/12/2018               $12.16
SANDRA MCQUISTON     5103 SHERMAN                                                             LINCOLN                 NE           68506                                  SUPPLIERS OR VENDORS        11/1/2018               $11.98
SANDRA MITCHELL      9495 APPLING DR                                                          BOISE                   ID           83704                                  SUPPLIERS OR VENDORS       11/26/2018               $72.96
SANDRA O'DELL        N8567 COUNTY RD C                                                        RANDOLPH                WI           53956                                  SUPPLIERS OR VENDORS       11/12/2018               $21.96
SANDRA OTTEN         910 RUBY PL                                                              SIOUX FALLS             SD           57106                                  SUPPLIERS OR VENDORS       11/15/2018               $10.00
SANDRA POHL          5124 W. PEARL CITY RD                                                    FREEPORT                IL           61032                                  SUPPLIERS OR VENDORS       10/31/2018               $42.40
SANDRA RECKNER       205 W LOUISA ST                                                          MARSHFIELD              WI           54479                                  SUPPLIERS OR VENDORS       10/23/2018               $25.00
SANDRA ROOVERS       2412 E PETER ST                                                          APPLETON                WI           54915                                  SUPPLIERS OR VENDORS       10/31/2018                $4.42
SANDRA RUFFIN        1505 NICHOLAS DRIVE                                                      EAU CLAIRE              WI           54703                                  SUPPLIERS OR VENDORS       10/29/2018               $20.00
SANDRA SPRAUER       3432 SILVER FALLS DR SE                                                  SILVERTON               OR           97381                                  SUPPLIERS OR VENDORS       12/20/2018               $45.00
SANDRA STEFKOVICH    2640 N COTNER BLVD                                                       LINCOLN                 NE           68507                                  SUPPLIERS OR VENDORS       11/12/2018               $75.00
SANDRA TRACY         409 W NATHAN ST                                                          LANCASTER               WI           53813                                  SUPPLIERS OR VENDORS       12/19/2018               $12.77
SANDRA WALL          583 E LAKE PARK PL                                                       LAKE MILLS              WI           53551                                  SUPPLIERS OR VENDORS       11/26/2018               $10.08
SANDRA WALL          583 E LAKE PARK PL                                                       LAKE MILLS              WI           53551                                  SUPPLIERS OR VENDORS       11/26/2018               $40.32
SANDRA WILLMS        E 13414 8TH AVE                                                          SPOKANE VALLEY          WA           99216                                  SUPPLIERS OR VENDORS        11/5/2018               $41.05
SANDRA ZIMMERMAN     326 W PINE ST              APT 206                                       LAKE MILLS              WI           53551                                  SUPPLIERS OR VENDORS       11/12/2018                $5.00
SANDY KIRPES         2147 11TH AVE                                                            CLARKSTON               WA           99403                                  SUPPLIERS OR VENDORS       11/28/2018               $20.00
SANDY MACPHEE        STORE 4-010                SHOPKO EMPLOYEE                               GREEN BAY               WI           54307-9060                             SUPPLIERS OR VENDORS        11/8/2018               $70.85
SANDY WYBORNY        2241 FALLS PARK DR.                                                      MASON CITY              IA           50401                                  SUPPLIERS OR VENDORS       11/26/2018               $60.00
                                                75 REMITTANCE DRIVE
SANFORD LP           NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS       10/18/2018                $6.74
                                                75 REMITTANCE DRIVE
SANFORD LP           NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS       10/18/2018            $1,826.67
                                                75 REMITTANCE DRIVE
SANFORD LP           NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS       10/19/2018              $109.60
                                                75 REMITTANCE DRIVE
SANFORD LP           NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS       10/19/2018            $1,954.58
                                                75 REMITTANCE DRIVE
SANFORD LP           NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS       10/19/2018           $23,361.84
                                                75 REMITTANCE DRIVE
SANFORD LP           NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS       10/20/2018               $91.45
                                                75 REMITTANCE DRIVE
SANFORD LP           NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS       10/20/2018            $7,995.38
                                                75 REMITTANCE DRIVE
SANFORD LP           NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS       10/24/2018           $11,416.18
                                                75 REMITTANCE DRIVE
SANFORD LP           NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS       10/26/2018              $132.29
                                                75 REMITTANCE DRIVE
SANFORD LP           NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS       10/26/2018            $8,518.09
                                                75 REMITTANCE DRIVE
SANFORD LP           NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS       10/26/2018           $13,144.32
                                                75 REMITTANCE DRIVE
SANFORD LP           NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS       10/26/2018           $18,064.48
                                                75 REMITTANCE DRIVE
SANFORD LP           NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS       10/27/2018            $2,959.15




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                                                75 REMITTANCE DRIVE
SANFORD LP           NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS      10/30/2018            $400.15
                                                75 REMITTANCE DRIVE
SANFORD LP           NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS      10/30/2018           $6,936.59
                                                75 REMITTANCE DRIVE
SANFORD LP           NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS      10/31/2018           $1,708.19
                                                75 REMITTANCE DRIVE
SANFORD LP           NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS       11/1/2018           $7,880.96
                                                75 REMITTANCE DRIVE
SANFORD LP           NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS       11/2/2018           $4,514.22
                                                75 REMITTANCE DRIVE
SANFORD LP           NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS       11/2/2018           $8,271.24
                                                75 REMITTANCE DRIVE
SANFORD LP           NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS       11/2/2018         $16,152.77
                                                75 REMITTANCE DRIVE
SANFORD LP           NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS       11/2/2018         $18,880.32
                                                75 REMITTANCE DRIVE
SANFORD LP           NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS       11/3/2018             $58.16
                                                75 REMITTANCE DRIVE
SANFORD LP           NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS       11/3/2018        $392,952.77
                                                75 REMITTANCE DRIVE
SANFORD LP           NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS       11/6/2018           $3,810.82
                                                75 REMITTANCE DRIVE
SANFORD LP           NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS       11/7/2018           $1,765.63
                                                75 REMITTANCE DRIVE
SANFORD LP           NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS       11/9/2018           $2,696.06
                                                75 REMITTANCE DRIVE
SANFORD LP           NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS       11/9/2018         $22,474.45
                                                75 REMITTANCE DRIVE
SANFORD LP           NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS       11/9/2018         $58,122.08
                                                75 REMITTANCE DRIVE
SANFORD LP           NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS       11/9/2018        $408,552.59
                                                75 REMITTANCE DRIVE
SANFORD LP           NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS      11/10/2018            $933.15
                                                75 REMITTANCE DRIVE
SANFORD LP           NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS      11/13/2018            $281.75
                                                75 REMITTANCE DRIVE
SANFORD LP           NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS      11/14/2018         $18,105.41
                                                75 REMITTANCE DRIVE
SANFORD LP           NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS      11/14/2018         $20,920.13
                                                75 REMITTANCE DRIVE
SANFORD LP           NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS      11/15/2018         $40,985.06
                                                75 REMITTANCE DRIVE
SANFORD LP           NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS      11/15/2018        $159,915.04
                                                75 REMITTANCE DRIVE
SANFORD LP           NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS      11/16/2018           $1,072.72
                                                75 REMITTANCE DRIVE
SANFORD LP           NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS      11/16/2018           $4,094.72
                                                75 REMITTANCE DRIVE
SANFORD LP           NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS      11/16/2018         $38,838.19
                                                75 REMITTANCE DRIVE
SANFORD LP           NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS      11/16/2018         $97,275.08
                                                75 REMITTANCE DRIVE
SANFORD LP           NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS      11/17/2018             $11.68



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                                                                                                                                                                                 Reasons for payment or    Dates of    Total Amount or
      Creditor Name                  Address1                Address2                 Address3                 City              State       Zip              Country                   transfer          Payments           Value
                                                      75 REMITTANCE DRIVE
SANFORD LP                 NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS      11/17/2018            $339.04
                                                      75 REMITTANCE DRIVE
SANFORD LP                 NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS      11/24/2018           $8,010.50
                                                      75 REMITTANCE DRIVE
SANFORD LP                 NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS      11/24/2018         $14,826.41
                                                      75 REMITTANCE DRIVE
SANFORD LP                 NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS      11/27/2018           $2,517.45
                                                      75 REMITTANCE DRIVE
SANFORD LP                 NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS      11/28/2018           $3,461.48
                                                      75 REMITTANCE DRIVE
SANFORD LP                 NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS      11/29/2018               $6.70
                                                      75 REMITTANCE DRIVE
SANFORD LP                 NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS      11/29/2018           $3,084.92
                                                      75 REMITTANCE DRIVE
SANFORD LP                 NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS      11/30/2018           $5,027.05
                                                      75 REMITTANCE DRIVE
SANFORD LP                 NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS      11/30/2018         $18,232.48
                                                      75 REMITTANCE DRIVE
SANFORD LP                 NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS      11/30/2018         $29,731.22
                                                      75 REMITTANCE DRIVE
SANFORD LP                 NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS      11/30/2018         $85,440.64
                                                      75 REMITTANCE DRIVE
SANFORD LP                 NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS       12/1/2018           $1,655.18
                                                      75 REMITTANCE DRIVE
SANFORD LP                 NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS       12/4/2018           $1,525.70
                                                      75 REMITTANCE DRIVE
SANFORD LP                 NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS       12/6/2018           $2,485.23
                                                      75 REMITTANCE DRIVE
SANFORD LP                 NEWELL OPERATING COMPANY   SUITE 1167                                        CHICAGO             IL           60675-1167                             SUPPLIERS OR VENDORS       12/6/2018           $5,408.32
SANTA MARIA VINEYARD &     GUINAN FAMILY WINERY &
WINERY                     VINEYARD                   PO BOX 1029                                       CARROLL             IA           51401                                  SUPPLIERS OR VENDORS       11/7/2018            $348.44
SANTA MARIA VINEYARD &     GUINAN FAMILY WINERY &
WINERY                     VINEYARD                   PO BOX 1029                                       CARROLL             IA           51401                                  SUPPLIERS OR VENDORS       11/8/2018            $119.48
SANTA MARIA VINEYARD &     GUINAN FAMILY WINERY &
WINERY                     VINEYARD                   PO BOX 1029                                       CARROLL             IA           51401                                  SUPPLIERS OR VENDORS       12/5/2018            $348.44
SANTA MARIA VINEYARD &     GUINAN FAMILY WINERY &
WINERY                     VINEYARD                   PO BOX 1029                                       CARROLL             IA           51401                                  SUPPLIERS OR VENDORS      12/11/2018            $233.96
SANTA MARIA VINEYARD &     GUINAN FAMILY WINERY &
WINERY                     VINEYARD                   PO BOX 1029                                       CARROLL             IA           51401                                  SUPPLIERS OR VENDORS      12/14/2018            $119.48
SANTA MARIA VINEYARD &     GUINAN FAMILY WINERY &
WINERY                     VINEYARD                   PO BOX 1029                                       CARROLL             IA           51401                                  SUPPLIERS OR VENDORS      12/20/2018            $233.96

SANTIAGO ALCALA-RAMIREZ 5614 HWY 11 LOT 13 WEST                                                         ELKHORN             WI           53121                                  SUPPLIERS OR VENDORS      10/31/2018             $30.00

SANTINELLI INTERNATIONAL   325 OSER AVENUE                                                              HAUPPAUGE           NY           11788-3607                             SUPPLIERS OR VENDORS       12/7/2018           $3,045.00
SAPPHIRE INVESTMENT
GROUP LLC                  9 MALKA WAY                                                                  LAKEWOOD            NJ           08701                                  LANDLORD RENT PAYMENT       1/9/2019         $68,858.94
SAPTASHATI BISWAS          3911 BALDWIN AVE, APT 84                                                     LINCOLN             NE           68504                                  SUPPLIERS OR VENDORS      12/10/2018             $16.00
SARA ANDERSON              120 1/2 N MAIN ST APT A                                                      ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS      10/24/2018              $2.00
                                                                             202 SUSAN LAWRENCE
SARA BECKER                STORE 2-681                SHOPKO EMPLOYEE        DRIVE                      IDA GROVE           IA           51445                                  SUPPLIERS OR VENDORS        1/3/2019            $153.70
SARA BLANSETTE             111 15TH ST                                                                  FOND DU LAC         WI           54935                                  SUPPLIERS OR VENDORS      10/18/2018             $25.00
SARA BUTTS                 STORE 2-753                SHOPKO EMPLOYEE        2701 HWY 18 WEST           HOT SPRINGS         SD           57747                                  SUPPLIERS OR VENDORS      12/22/2018            $250.40



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                                                                                                                                                                              Reasons for payment or    Dates of     Total Amount or
      Creditor Name                Address1             Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
SARA DICKRELL           626 WHEELER ST.                                                             MILLADORE           WI           54454                                  SUPPLIERS OR VENDORS         11/9/2018               $76.00
SARA ETTEN              STORE 008                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/29/2018              $183.57
SARA KEIL               1537 S 36TH STREET                                                          MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS        10/25/2018               $11.02
SARA MANSAVAGE          607 COVENTRY CIRCLE                                                         FORT ATKINSON       WI           53538                                  SUPPLIERS OR VENDORS        11/15/2018               $10.00
SARA PETERSON           540 MEADOW LANE                                                             COLUMBUS            WI           53925                                  SUPPLIERS OR VENDORS         12/5/2018               $15.00
SARA PRONCHINSKE        831 BARLAND AVE., #C1                                                       EAUCLAIRE           WI           54701                                  SUPPLIERS OR VENDORS         12/4/2018               $99.98
SARA SCHMITZ            1955 BECK LN N                                                              WEST BEND           WI           53090                                  SUPPLIERS OR VENDORS        11/16/2018              $290.92
SARA THOMAS             STORE 2-020               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/1/2018              $252.34
SARA THOMAS             STORE 2-020               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         12/6/2018              $335.18
SARA THOMAS             STORE 2-020               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/20/2018              $198.38
SARABETH MCGOWEN        16729 E. HWY 124                                                            WAITSBURG           WA           99361                                  SUPPLIERS OR VENDORS        10/25/2018               $23.00
SARAH ADAMS             106 VILLAGE VIEW CT                                                         OREGON              WI           53575                                  SUPPLIERS OR VENDORS         11/9/2018               $10.00
SARAH BARMAN            STORE 4-080               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/25/2018               $33.25
SARAH BARMAN            STORE 4-080               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/8/2018              $102.46
SARAH BARMAN            STORE 4-080               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/30/2018              $118.81
SARAH BARMAN            STORE 4-080               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/14/2018               $59.95
SARAH BARMAN            STORE 4-080               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/20/2018              $150.42
SARAH BARMAN            STORE 4-080               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/29/2018              $127.60
SARAH BARMAN            STORE 4-080               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS          1/5/2019              $120.45
SARAH BURDEN            455 E 2ND ST                                                                ORCHARD             NE           68764                                  SUPPLIERS OR VENDORS         12/7/2018               $30.00
SARAH CHARLES           3674 N. 2225 E.                                                             LAYTON              UT           84040                                  SUPPLIERS OR VENDORS         12/7/2018               $26.00
SARAH FARIS             418 JENNY ST                                                                CAMPBELLSPORT       WI           53010                                  SUPPLIERS OR VENDORS        12/14/2018               $24.00
SARAH FLINTROP          448 N TERRACE STREET                                                        DELAVAN             WI           53115                                  SUPPLIERS OR VENDORS        11/14/2018               $25.00
SARAH FOSCO             STORE 2-010               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/22/2018               $74.12
SARAH FOSCO             STORE 2-010               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         12/6/2018               $46.07
SARAH HAGGLUND          602 ADAMS STREET                                                            CRYSTAL FALLS       MI           49920                                  SUPPLIERS OR VENDORS         12/7/2018               $24.48
SARAH HANSEN            STORE 087                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/1/2018               $49.06
SARAH HANSEN            STORE 087                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/22/2018               $24.53
SARAH JACKAN            9675 166TH ST                                                               CHIPPEWA FALLS      WI           54729                                  SUPPLIERS OR VENDORS         11/9/2018               $23.00
SARAH KNAPP             N4648 COUNTY RD U                                                           PORTAGE             WI           53901                                  SUPPLIERS OR VENDORS        11/26/2018                $6.59
SARAH KREWAL            2327 GROVE AVENUE                                                           RACINE              WI           53405                                  SUPPLIERS OR VENDORS         12/7/2018               $65.98
SARAH MCCOMBER          STORE 2-091               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/20/2018               $18.15
SARAH MOORE             QUALITY ASSURANCE         SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         12/6/2018               $79.27
SARAH MYERS             11704 GALENA RD.                                                            LENA                IL           61048                                  SUPPLIERS OR VENDORS        10/24/2018               $51.20
SARAH MYERS             11704 GALENA RD.                                                            LENA                IL           61048                                  SUPPLIERS OR VENDORS        10/31/2018               $12.80
SARAH PELTIER           1669 430TH STREET                                                           COTTONWOOD          MN           56229                                  SUPPLIERS OR VENDORS         11/2/2018               $27.00

SARAH RADOMSKY          STORE 632                 SHOPKO EMPLOYEE        650 W BEAVERBROOK AVE SPOONER                  WI           54801                                  SUPPLIERS OR VENDORS        12/6/2018               $29.43
SARAH RIPP              1301 REED CT                                                           WAUNAKEE                 WI           53597                                  SUPPLIERS OR VENDORS       11/12/2018               $20.00

SARAH STEVENS           STORE 767                 SHOPKO EMPLOYEE        100 SOUTH 20TH STREET      WORLAND             WY           82401                                  SUPPLIERS OR VENDORS       12/22/2018              $261.63

SARAH STEVENS           STORE 767                 SHOPKO EMPLOYEE        100 SOUTH 20TH STREET      WORLAND             WY           82401                                  SUPPLIERS OR VENDORS        1/15/2019              $699.91
SARAH VAVRINA           10031 64TH ST S                                                             NEKOOSA             WI           54457                                  SUPPLIERS OR VENDORS       10/23/2018               $16.40
SARAH VETSCH            6733 N GAVIN LOOP                                                           COEUR D ALENE       ID           83815                                  SUPPLIERS OR VENDORS        11/2/2018               $36.00
SARAH WHITING           6842 ELLMAN LANE                                                            OCONTO              WI           54153                                  SUPPLIERS OR VENDORS        12/7/2018               $23.00
SARAH WOMACK            15672 490TH ST                                                              SCARVILLE           IA           50473                                  SUPPLIERS OR VENDORS       10/31/2018              $173.50
SARAMAX APPAREL GROUP                                                                                                                                                       PURCHASE OF
INC                     1372 BROADWAY 7TH FLOOR                                                     NEW YORK            NY           10018-6107                             MERCHANDISE                 11/2/2018           $54,841.05
SARAMAX APPAREL GROUP   CIT GROUP COMMERCIAL
INCORPORATED            SERVICES INC              PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       10/25/2018              $359.65
SARAMAX APPAREL GROUP   CIT GROUP COMMERCIAL
INCORPORATED            SERVICES INC              PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       10/31/2018            $1,623.60




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                                                                                                                                                                              Reasons for payment or    Dates of     Total Amount or
      Creditor Name                 Address1             Address2                  Address3                 City              State       Zip              Country                   transfer          Payments            Value
SARAMAX APPAREL GROUP    CIT GROUP COMMERCIAL
INCORPORATED             SERVICES INC              PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      11/15/2018            $3,184.35
SARAMAX APPAREL GROUP    CIT GROUP COMMERCIAL
INCORPORATED             SERVICES INC              PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      11/16/2018            $7,176.00

SARANAC GLOVE COMPANY
INCORPORATED             PO BOX 685041                                                               CHICAGO             IL           60695-5041                             SUPPLIERS OR VENDORS      11/15/2018          $22,350.08
SARATOGA LIQUOR          3215 JAMES DAY AVENUE     PAM TO ORACLE                                     SUPERIOR            WI           54880-5527                             SUPPLIERS OR VENDORS      10/19/2018           $3,077.64
SARATOGA LIQUOR          3215 JAMES DAY AVENUE     PAM TO ORACLE                                     SUPERIOR            WI           54880-5527                             SUPPLIERS OR VENDORS      10/22/2018              $24.60
SARATOGA LIQUOR          3215 JAMES DAY AVENUE     PAM TO ORACLE                                     SUPERIOR            WI           54880-5527                             SUPPLIERS OR VENDORS      10/26/2018           $1,770.60
SARATOGA LIQUOR          3215 JAMES DAY AVENUE     PAM TO ORACLE                                     SUPERIOR            WI           54880-5527                             SUPPLIERS OR VENDORS       11/2/2018           $4,455.06
SARATOGA LIQUOR          3215 JAMES DAY AVENUE     PAM TO ORACLE                                     SUPERIOR            WI           54880-5527                             SUPPLIERS OR VENDORS       11/5/2018             $662.70
SARATOGA LIQUOR          3215 JAMES DAY AVENUE     PAM TO ORACLE                                     SUPERIOR            WI           54880-5527                             SUPPLIERS OR VENDORS      11/12/2018           $3,226.50
SARATOGA LIQUOR          3215 JAMES DAY AVENUE     PAM TO ORACLE                                     SUPERIOR            WI           54880-5527                             SUPPLIERS OR VENDORS      11/16/2018           $2,225.70
SARATOGA LIQUOR          3215 JAMES DAY AVENUE     PAM TO ORACLE                                     SUPERIOR            WI           54880-5527                             SUPPLIERS OR VENDORS      11/22/2018             $192.00
SARATOGA LIQUOR          3215 JAMES DAY AVENUE     PAM TO ORACLE                                     SUPERIOR            WI           54880-5527                             SUPPLIERS OR VENDORS      11/23/2018           $3,485.40
SARATOGA LIQUOR          3215 JAMES DAY AVENUE     PAM TO ORACLE                                     SUPERIOR            WI           54880-5527                             SUPPLIERS OR VENDORS      11/30/2018          $20,531.18
SARATOGA LIQUOR          3215 JAMES DAY AVENUE     PAM TO ORACLE                                     SUPERIOR            WI           54880-5527                             SUPPLIERS OR VENDORS      12/20/2018           $6,200.30
SARATOGA LIQUOR          3215 JAMES DAY AVENUE     PAM TO ORACLE                                     SUPERIOR            WI           54880-5527                             SUPPLIERS OR VENDORS      12/21/2018           $1,487.70
SARGENTO FOODS
INCORPORATED             4532 PAYSPHERE CIRCLE                                                       CHICAGO             IL           60674-0000                             SUPPLIERS OR VENDORS      10/26/2018            $2,654.32
SARGENTO FOODS
INCORPORATED             4532 PAYSPHERE CIRCLE                                                       CHICAGO             IL           60674-0000                             SUPPLIERS OR VENDORS       11/9/2018            $3,931.20
SARGENTO FOODS
INCORPORATED             4532 PAYSPHERE CIRCLE                                                       CHICAGO             IL           60674-0000                             SUPPLIERS OR VENDORS      11/30/2018            $4,024.80
SAS SPRINKLER & LAWN
SERVICE                  SCOTT SANFORD             611 S 1ST AVENUET                                 LEWISTOWN           MT           59457                                  SUPPLIERS OR VENDORS       11/8/2018              $65.00
SATISLOH NORTH AMERICA   N106 W13131 BRADLEY WAY
INCORPORATED             SUITE 200                                                                   GERMANTOWN          WI           53022-0000                             SUPPLIERS OR VENDORS      11/29/2018            $3,198.80
SATISLOH NORTH AMERICA   N106 W13131 BRADLEY WAY
INCORPORATED             SUITE 200                                                                   GERMANTOWN          WI           53022-0000                             SUPPLIERS OR VENDORS      12/17/2018            $6,940.62
SATISLOH NORTH AMERICA   N106 W13131 BRADLEY WAY
INCORPORATED             SUITE 200                                                                   GERMANTOWN          WI           53022-0000                             SUPPLIERS OR VENDORS      12/19/2018            $1,800.00
SATISLOH NORTH AMERICA   N106 W13131 BRADLEY WAY
INCORPORATED             SUITE 200                                                                   GERMANTOWN          WI           53022-0000                             SUPPLIERS OR VENDORS         1/4/2019           $7,404.80

SATURDAY KNIGHT LIMITED PO BOX 645613                                                                CINCINNATI          OH           45264-5613                             SUPPLIERS OR VENDORS      10/22/2018            $1,090.15

SATURDAY KNIGHT LIMITED PO BOX 645613                                                                CINCINNATI          OH           45264-5613                             SUPPLIERS OR VENDORS      10/26/2018            $2,200.30

SATURDAY KNIGHT LIMITED PO BOX 645613                                                                CINCINNATI          OH           45264-5613                             SUPPLIERS OR VENDORS      10/29/2018            $1,623.35

SATURDAY KNIGHT LIMITED PO BOX 645613                                                                CINCINNATI          OH           45264-5613                             SUPPLIERS OR VENDORS      10/30/2018            $1,436.30

SATURDAY KNIGHT LIMITED PO BOX 645613                                                                CINCINNATI          OH           45264-5613                             SUPPLIERS OR VENDORS       11/5/2018            $2,563.85

SATURDAY KNIGHT LIMITED PO BOX 645613                                                                CINCINNATI          OH           45264-5613                             SUPPLIERS OR VENDORS       11/9/2018             $156.02

SATURDAY KNIGHT LIMITED PO BOX 645613                                                                CINCINNATI          OH           45264-5613                             SUPPLIERS OR VENDORS      11/13/2018            $5,313.85

SATURDAY KNIGHT LIMITED PO BOX 645613                                                                CINCINNATI          OH           45264-5613                             SUPPLIERS OR VENDORS      11/16/2018          $11,292.97

SATURDAY KNIGHT LIMITED PO BOX 645613                                                                CINCINNATI          OH           45264-5613                             SUPPLIERS OR VENDORS      11/22/2018          $23,171.56




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                                                                                                                                                                      Reasons for payment or    Dates of    Total Amount or
      Creditor Name                Address1      Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value

SATURDAY KNIGHT LIMITED PO BOX 645613                                                        CINCINNATI          OH           45264-5613                             SUPPLIERS OR VENDORS      11/27/2018             $32.02

SATURDAY KNIGHT LIMITED PO BOX 645613                                                        CINCINNATI          OH           45264-5613                             SUPPLIERS OR VENDORS      11/30/2018           $3,013.60

SATURDAY KNIGHT LIMITED PO BOX 645613                                                        CINCINNATI          OH           45264-5613                             SUPPLIERS OR VENDORS       12/3/2018           $3,433.56

SATURDAY KNIGHT LIMITED PO BOX 645613                                                        CINCINNATI          OH           45264-5613                             SUPPLIERS OR VENDORS       12/4/2018            $573.61

SATURDAY KNIGHT LIMITED   PO BOX 645613                                                      CINCINNATI          OH           45264-5613                             SUPPLIERS OR VENDORS       12/5/2018            $772.11
SAUDER WOODWORKING
COMPANY                   PO BOX 633834                                                      CINCINNATI          OH           45263-3834                             SUPPLIERS OR VENDORS      10/18/2018            $756.98
SAUDER WOODWORKING
COMPANY                   PO BOX 633834                                                      CINCINNATI          OH           45263-3834                             SUPPLIERS OR VENDORS      10/19/2018           $3,156.48
SAUDER WOODWORKING
COMPANY                   PO BOX 633834                                                      CINCINNATI          OH           45263-3834                             SUPPLIERS OR VENDORS      10/20/2018         $97,311.82
SAUDER WOODWORKING
COMPANY                   PO BOX 633834                                                      CINCINNATI          OH           45263-3834                             SUPPLIERS OR VENDORS      10/23/2018            $259.38
SAUDER WOODWORKING
COMPANY                   PO BOX 633834                                                      CINCINNATI          OH           45263-3834                             SUPPLIERS OR VENDORS      10/24/2018         $44,764.97
SAUDER WOODWORKING
COMPANY                   PO BOX 633834                                                      CINCINNATI          OH           45263-3834                             SUPPLIERS OR VENDORS      10/25/2018            $506.33
SAUDER WOODWORKING
COMPANY                   PO BOX 633834                                                      CINCINNATI          OH           45263-3834                             SUPPLIERS OR VENDORS      10/25/2018         $32,953.73
SAUDER WOODWORKING
COMPANY                   PO BOX 633834                                                      CINCINNATI          OH           45263-3834                             SUPPLIERS OR VENDORS      10/26/2018            $367.93
SAUDER WOODWORKING
COMPANY                   PO BOX 633834                                                      CINCINNATI          OH           45263-3834                             SUPPLIERS OR VENDORS      10/27/2018           $1,619.61
SAUDER WOODWORKING
COMPANY                   PO BOX 633834                                                      CINCINNATI          OH           45263-3834                             SUPPLIERS OR VENDORS      10/30/2018            $591.51
SAUDER WOODWORKING
COMPANY                   PO BOX 633834                                                      CINCINNATI          OH           45263-3834                             SUPPLIERS OR VENDORS      10/31/2018         $42,990.07
SAUDER WOODWORKING
COMPANY                   PO BOX 633834                                                      CINCINNATI          OH           45263-3834                             SUPPLIERS OR VENDORS       11/1/2018         $27,064.79
SAUDER WOODWORKING
COMPANY                   PO BOX 633834                                                      CINCINNATI          OH           45263-3834                             SUPPLIERS OR VENDORS       11/1/2018         $65,159.72
SAUDER WOODWORKING
COMPANY                   PO BOX 633834                                                      CINCINNATI          OH           45263-3834                             SUPPLIERS OR VENDORS       11/2/2018         $42,758.28
SAUDER WOODWORKING
COMPANY                   PO BOX 633834                                                      CINCINNATI          OH           45263-3834                             SUPPLIERS OR VENDORS       11/3/2018         $83,606.60
SAUDER WOODWORKING
COMPANY                   PO BOX 633834                                                      CINCINNATI          OH           45263-3834                             SUPPLIERS OR VENDORS       11/6/2018         $44,443.92
SAUDER WOODWORKING
COMPANY                   PO BOX 633834                                                      CINCINNATI          OH           45263-3834                             SUPPLIERS OR VENDORS      11/13/2018         $53,232.47
SAUDER WOODWORKING
COMPANY                   PO BOX 633834                                                      CINCINNATI          OH           45263-3834                             SUPPLIERS OR VENDORS      11/15/2018         $20,958.72
SAUDER WOODWORKING
COMPANY                   PO BOX 633834                                                      CINCINNATI          OH           45263-3834                             SUPPLIERS OR VENDORS      11/16/2018            $254.67
SAUDER WOODWORKING
COMPANY                   PO BOX 633834                                                      CINCINNATI          OH           45263-3834                             SUPPLIERS OR VENDORS      11/17/2018        $155,735.94
SAUDER WOODWORKING
COMPANY                   PO BOX 633834                                                      CINCINNATI          OH           45263-3834                             SUPPLIERS OR VENDORS      11/24/2018        $222,026.69
SAUDER WOODWORKING
COMPANY                   PO BOX 633834                                                      CINCINNATI          OH           45263-3834                             SUPPLIERS OR VENDORS      11/27/2018            $469.45



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SAUDER WOODWORKING
COMPANY                  PO BOX 633834                                                                   CINCINNATI          OH           45263-3834                             SUPPLIERS OR VENDORS      11/27/2018         $23,420.63
SAUDER WOODWORKING
COMPANY                  PO BOX 633834                                                                   CINCINNATI          OH           45263-3834                             SUPPLIERS OR VENDORS      11/28/2018            $119.12
SAUDER WOODWORKING
COMPANY                  PO BOX 633834                                                                   CINCINNATI          OH           45263-3834                             SUPPLIERS OR VENDORS      11/29/2018         $43,099.47
SAUDER WOODWORKING
COMPANY                  PO BOX 633834                                                                   CINCINNATI          OH           45263-3834                             SUPPLIERS OR VENDORS      11/30/2018            $637.87
SAUDER WOODWORKING
COMPANY                  PO BOX 633834                                                                   CINCINNATI          OH           45263-3834                             SUPPLIERS OR VENDORS       12/1/2018         $65,221.12
SAUDER WOODWORKING
COMPANY                  PO BOX 633834                                                                   CINCINNATI          OH           45263-3834                             SUPPLIERS OR VENDORS       12/4/2018         $22,654.97
SAUDER WOODWORKING
COMPANY                  PO BOX 633834                                                                   CINCINNATI          OH           45263-3834                             SUPPLIERS OR VENDORS       12/4/2018        $113,230.47
SAUDER WOODWORKING
COMPANY                  PO BOX 633834                                                                   CINCINNATI          OH           45263-3834                             SUPPLIERS OR VENDORS      12/19/2018        $241,202.92
SAUDER WOODWORKING
COMPANY                  PO BOX 633834                                                                   CINCINNATI          OH           45263-3834                             SUPPLIERS OR VENDORS      12/19/2018        $267,846.30
SAUDER WOODWORKING
COMPANY                  PO BOX 633834                                                                   CINCINNATI          OH           45263-3834                             SUPPLIERS OR VENDORS      12/20/2018            $565.11
SAUDER WOODWORKING
COMPANY                  PO BOX 633834                                                                   CINCINNATI          OH           45263-3834                             SUPPLIERS OR VENDORS      12/21/2018            $596.79
SAUDER WOODWORKING
COMPANY                  PO BOX 633834                                                                   CINCINNATI          OH           45263-3834                             SUPPLIERS OR VENDORS      12/22/2018         $44,371.10
SAUDER WOODWORKING
COMPANY                  PO BOX 633834                                                                   CINCINNATI          OH           45263-3834                             SUPPLIERS OR VENDORS      12/28/2018         $61,933.31

SAUK VALLEY NEWSPAPERS   PO BOX 498                                                                      STERLING            IL           61081                                  SUPPLIERS OR VENDORS      12/14/2018            $124.50
SAV RX ADVANTAGE
INCORPORATED             224 NORTH PARK AVENUE         PAM TO ORACLE                                     FREMONT             NE           68025                                  SUPPLIERS OR VENDORS       11/1/2018             $25.00
SAV RX ADVANTAGE
INCORPORATED             224 NORTH PARK AVENUE         PAM TO ORACLE                                     FREMONT             NE           68025                                  SUPPLIERS OR VENDORS      11/29/2018             $36.00
SAVANNAH BLUM            801 W 2ND AVE                                                                   BRODHEAD            WI           53520                                  SUPPLIERS OR VENDORS      10/29/2018             $25.00
                                                                              174 JAMES ROBERTSON
SAVANNAH DAVIES          STORE 653                    SHOPKO EMPLOYEE         DRIVE                      GLADWIN             MI           48624                                  SUPPLIERS OR VENDORS       11/2/2018            $186.58
SAVANNAH PETERSON        5712 MONONA DR. APT. 3                                                          MONONA              WI           53716                                  SUPPLIERS OR VENDORS      10/29/2018             $27.50
SAVET PHON               6040 PERROT PLACE                                                               MCFARLAND           WI           53558                                  SUPPLIERS OR VENDORS       11/8/2018             $25.00
SCENTSIBLE LLC DBA POO   4901 KELLER SPRINGS RD SUITE
POURRI                   106D                                                                            ADDISON             TX           75001                                  SUPPLIERS OR VENDORS       11/8/2018         $45,270.96
SCENTSIBLE LLC DBA POO   4901 KELLER SPRINGS RD SUITE
POURRI                   106D                                                                            ADDISON             TX           75001                                  SUPPLIERS OR VENDORS      11/22/2018           $1,092.96
SCHEELS PROFESSIONAL
LAWN CARE LLC            22514 40TH STREET                                                               FAIRBANK            IA           50629                                  SUPPLIERS OR VENDORS      10/23/2018             $90.95
SCHEELS PROFESSIONAL
LAWN CARE LLC            22514 40TH STREET                                                               FAIRBANK            IA           50629                                  SUPPLIERS OR VENDORS      10/30/2018             $90.95
SCHLEICH USA
INCORPORATED             10000 TWIN LAKES PKWY STE A                                                     CHARLOTTE           NC           28269                                  SUPPLIERS OR VENDORS      11/16/2018         $66,227.54
SCHNEIDER FAMILY LAWN
SERVICE                  ROBERT SCHNEIDER              32596 560TH AVENUE                                ALBERTA             MN           56207                                  SUPPLIERS OR VENDORS       11/6/2018            $507.66
SCHNEIDER FAMILY LAWN
SERVICE                  ROBERT SCHNEIDER              32596 560TH AVENUE                                ALBERTA             MN           56207                                  SUPPLIERS OR VENDORS      11/16/2018            $101.53
SCHNEIDER NATIONAL
INCORPORATED             2567 PAYSPHERE CIRCLE                                                           CHICAGO             IL           60674                                  SUPPLIERS OR VENDORS      10/18/2018         $30,069.32




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                                                                                                                                                                             Reasons for payment or    Dates of     Total Amount or
      Creditor Name               Address1              Address2                  Address3                   City            State       Zip              Country                   transfer          Payments            Value
SCHNEIDER NATIONAL
INCORPORATED            2567 PAYSPHERE CIRCLE                                                       CHICAGO             IL           60674                                  SUPPLIERS OR VENDORS      10/25/2018          $84,951.17
SCHNEIDER NATIONAL
INCORPORATED            2567 PAYSPHERE CIRCLE                                                       CHICAGO             IL           60674                                  SUPPLIERS OR VENDORS       11/1/2018            $3,335.68
SCHNEIDER NATIONAL
INCORPORATED            2567 PAYSPHERE CIRCLE                                                       CHICAGO             IL           60674                                  SUPPLIERS OR VENDORS       11/1/2018          $43,124.43
SCHNEIDER NATIONAL
INCORPORATED            2567 PAYSPHERE CIRCLE                                                       CHICAGO             IL           60674                                  SUPPLIERS OR VENDORS       11/8/2018          $39,112.12
SCHNEIDER NATIONAL
INCORPORATED            2567 PAYSPHERE CIRCLE                                                       CHICAGO             IL           60674                                  SUPPLIERS OR VENDORS       11/8/2018          $57,072.15
SCHNEIDER NATIONAL
INCORPORATED            2567 PAYSPHERE CIRCLE                                                       CHICAGO             IL           60674                                  SUPPLIERS OR VENDORS      11/15/2018          $52,631.45
SCHNEIDER NATIONAL
INCORPORATED            2567 PAYSPHERE CIRCLE                                                       CHICAGO             IL           60674                                  SUPPLIERS OR VENDORS      11/29/2018          $38,346.50
SCHNEIDER NATIONAL
INCORPORATED            2567 PAYSPHERE CIRCLE                                                       CHICAGO             IL           60674                                  SUPPLIERS OR VENDORS      11/29/2018         $155,842.54
SCHNEIDER NATIONAL
INCORPORATED            2567 PAYSPHERE CIRCLE                                                       CHICAGO             IL           60674                                  SUPPLIERS OR VENDORS       12/7/2018          $80,380.00
SCHNEIDER NATIONAL
INCORPORATED            2567 PAYSPHERE CIRCLE                                                       CHICAGO             IL           60674                                  SUPPLIERS OR VENDORS      12/10/2018          $15,370.54
SCHNEIDER NATIONAL
INCORPORATED            2567 PAYSPHERE CIRCLE                                                       CHICAGO             IL           60674                                  SUPPLIERS OR VENDORS      12/10/2018          $26,267.85
SCHNEIDER NATIONAL
INCORPORATED            2567 PAYSPHERE CIRCLE                                                       CHICAGO             IL           60674                                  SUPPLIERS OR VENDORS      12/11/2018            $4,100.21
SCHNEIDER NATIONAL
INCORPORATED            2567 PAYSPHERE CIRCLE                                                       CHICAGO             IL           60674                                  SUPPLIERS OR VENDORS      12/13/2018          $18,724.78
SCHNEIDER NATIONAL
INCORPORATED            2567 PAYSPHERE CIRCLE                                                       CHICAGO             IL           60674                                  SUPPLIERS OR VENDORS      12/14/2018          $12,960.28
SCHNEIDER NATIONAL
INCORPORATED            2567 PAYSPHERE CIRCLE                                                       CHICAGO             IL           60674                                  SUPPLIERS OR VENDORS      12/17/2018            $4,352.65
SCHNEIDER NATIONAL
INCORPORATED            2567 PAYSPHERE CIRCLE                                                       CHICAGO             IL           60674                                  SUPPLIERS OR VENDORS      12/17/2018            $4,817.14
SCHNEIDER NATIONAL
INCORPORATED            2567 PAYSPHERE CIRCLE                                                       CHICAGO             IL           60674                                  SUPPLIERS OR VENDORS      12/18/2018            $6,827.70
SCHNEIDER NATIONAL
INCORPORATED            2567 PAYSPHERE CIRCLE                                                       CHICAGO             IL           60674                                  SUPPLIERS OR VENDORS      12/19/2018          $12,944.35
SCHNEIDER NATIONAL
INCORPORATED            2567 PAYSPHERE CIRCLE                                                       CHICAGO             IL           60674                                  SUPPLIERS OR VENDORS      12/20/2018            $2,812.94
SCHNEIDER NATIONAL
INCORPORATED            2567 PAYSPHERE CIRCLE                                                       CHICAGO             IL           60674                                  SUPPLIERS OR VENDORS      12/20/2018            $5,140.62
SCHNEIDER NATIONAL
INCORPORATED            2567 PAYSPHERE CIRCLE                                                       CHICAGO             IL           60674                                  SUPPLIERS OR VENDORS      12/21/2018            $7,293.89
SCHNEIDER NATIONAL
INCORPORATED            2567 PAYSPHERE CIRCLE                                                       CHICAGO             IL           60674                                  SUPPLIERS OR VENDORS      12/27/2018          $19,368.44
SCHNEIDER NATIONAL
INCORPORATED            2567 PAYSPHERE CIRCLE                                                       CHICAGO             IL           60674                                  SUPPLIERS OR VENDORS         1/4/2019         $26,461.39
SCHNEIDER NATIONAL
INCORPORATED            2567 PAYSPHERE CIRCLE                                                       CHICAGO             IL           60674                                  SUPPLIERS OR VENDORS         1/7/2019           $4,010.27

SCHNEIDER OPTICAL
MACHINES INCORPORATED   6644 ALL STARS AVE STE 100                                                  FRISCO              TX           75033                                  SUPPLIERS OR VENDORS      10/18/2018              $80.12

SCHNEIDER OPTICAL
MACHINES INCORPORATED   6644 ALL STARS AVE STE 100                                                  FRISCO              TX           75033                                  SUPPLIERS OR VENDORS      10/24/2018            $4,585.71



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SCHNEIDER OPTICAL
MACHINES INCORPORATED   6644 ALL STARS AVE STE 100                                                     FRISCO              TX           75033                                  SUPPLIERS OR VENDORS       11/5/2018            $2,697.00

SCHNEIDER OPTICAL
MACHINES INCORPORATED   6644 ALL STARS AVE STE 100                                                     FRISCO              TX           75033                                  SUPPLIERS OR VENDORS       11/8/2018            $2,772.00

SCHNEIDER OPTICAL
MACHINES INCORPORATED   6644 ALL STARS AVE STE 100                                                     FRISCO              TX           75033                                  SUPPLIERS OR VENDORS      11/15/2018            $3,283.98

SCHNEIDER OPTICAL
MACHINES INCORPORATED   6644 ALL STARS AVE STE 100                                                     FRISCO              TX           75033                                  SUPPLIERS OR VENDORS      11/26/2018          $17,003.83

SCHNEIDER OPTICAL
MACHINES INCORPORATED   6644 ALL STARS AVE STE 100                                                     FRISCO              TX           75033                                  SUPPLIERS OR VENDORS      11/29/2018            $1,980.00

SCHNEIDER OPTICAL
MACHINES INCORPORATED   6644 ALL STARS AVE STE 100                                                     FRISCO              TX           75033                                  SUPPLIERS OR VENDORS       12/3/2018            $3,869.37

SCHNEIDER OPTICAL
MACHINES INCORPORATED   6644 ALL STARS AVE STE 100                                                     FRISCO              TX           75033                                  SUPPLIERS OR VENDORS       12/7/2018             $361.56

SCHNEIDER OPTICAL
MACHINES INCORPORATED   6644 ALL STARS AVE STE 100                                                     FRISCO              TX           75033                                  SUPPLIERS OR VENDORS      12/10/2018            $3,862.50

SCHNEIDER OPTICAL
MACHINES INCORPORATED   6644 ALL STARS AVE STE 100                                                     FRISCO              TX           75033                                  SUPPLIERS OR VENDORS      12/17/2018            $3,899.93

SCHNEIDER OPTICAL
MACHINES INCORPORATED   6644 ALL STARS AVE STE 100                                                     FRISCO              TX           75033                                  SUPPLIERS OR VENDORS         1/4/2019           $1,980.00
SCHOLL LAWN &
LANDSCAPING LLC         65111 710 ROAD                                                                 FALLS CITY          NE           68355                                  SUPPLIERS OR VENDORS      10/25/2018             $220.00
SCHOLL LAWN &
LANDSCAPING LLC         65111 710 ROAD                                                                 FALLS CITY          NE           68355                                  SUPPLIERS OR VENDORS       11/8/2018              $55.00
SCHROEDER & TREMAYNE
INCORPORATED            BIN 110200                   PO BOX 790051                                     ST LOUIS            MO           63179-0051                             SUPPLIERS OR VENDORS      10/18/2018            $2,257.68
SCHROEDER & TREMAYNE
INCORPORATED            BIN 110200                   PO BOX 790051                                     ST LOUIS            MO           63179-0051                             SUPPLIERS OR VENDORS      10/25/2018            $1,460.46
SCHROEDER & TREMAYNE
INCORPORATED            BIN 110200                   PO BOX 790051                                     ST LOUIS            MO           63179-0051                             SUPPLIERS OR VENDORS       11/1/2018            $1,242.72
SCHROEDER & TREMAYNE
INCORPORATED            BIN 110200                   PO BOX 790051                                     ST LOUIS            MO           63179-0051                             SUPPLIERS OR VENDORS       11/8/2018            $1,815.72
SCHROEDER & TREMAYNE
INCORPORATED            BIN 110200                   PO BOX 790051                                     ST LOUIS            MO           63179-0051                             SUPPLIERS OR VENDORS      11/15/2018            $3,342.24
SCHROEDER & TREMAYNE
INCORPORATED            BIN 110200                   PO BOX 790051                                     ST LOUIS            MO           63179-0051                             SUPPLIERS OR VENDORS      11/22/2018            $1,449.00
SCHROEDER & TREMAYNE
INCORPORATED            BIN 110200                   PO BOX 790051                                     ST LOUIS            MO           63179-0051                             SUPPLIERS OR VENDORS      11/29/2018            $1,548.30
SCHROEDERS FLOWERS
INCORPORATED            PO BOX 1642                                                                    GREEN BAY           WI           54305-1642                             SUPPLIERS OR VENDORS      10/18/2018             $133.88
SCHROEDERS FLOWERS
INCORPORATED            PO BOX 1642                                                                    GREEN BAY           WI           54305-1642                             SUPPLIERS OR VENDORS      11/15/2018              $99.70
SCHROEDERS FLOWERS
INCORPORATED            PO BOX 1642                                                                    GREEN BAY           WI           54305-1642                             SUPPLIERS OR VENDORS      11/29/2018              $61.14



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SCHROEDERS FLOWERS
INCORPORATED              PO BOX 1642                                                                 GREEN BAY           WI           54305-1642                             SUPPLIERS OR VENDORS         1/4/2019            $471.85
SCHULZE & BURCH BISCUIT   3759 COLLECTIONS CENTER
COMPANY                   DRIVE                                                                       CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      11/22/2018            $4,779.93
SCHULZE & BURCH BISCUIT   3759 COLLECTIONS CENTER
COMPANY                   DRIVE                                                                       CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      11/29/2018          $10,352.66
SCHUMACHER ELEVATOR
COMPANY INC               PO BOX 393                                                                  DENVER              IA           50622-0393                             SUPPLIERS OR VENDORS      11/15/2018             $348.52
SCHUMACHER ELEVATOR
COMPANY INC               PO BOX 393                                                                  DENVER              IA           50622-0393                             SUPPLIERS OR VENDORS      11/29/2018             $577.60
SCHUMACHER ELEVATOR
COMPANY INC               PO BOX 393                                                                  DENVER              IA           50622-0393                             SUPPLIERS OR VENDORS      12/17/2018             $229.08

SCHWAAB INCORPORATED      PO BOX 3128                                                                 MILWAUKEE           WI           53201-3128                             SUPPLIERS OR VENDORS      10/25/2018                $8.65

SCHWAAB INCORPORATED      PO BOX 3128                                                                 MILWAUKEE           WI           53201-3128                             SUPPLIERS OR VENDORS       11/1/2018              $18.17

SCHWABE NORTH AMERICA PO BOX 200286                                                                   DALLAS              TX           75320-0286                             SUPPLIERS OR VENDORS      10/18/2018            $3,410.18

SCHWABE NORTH AMERICA PO BOX 200286                                                                   DALLAS              TX           75320-0286                             SUPPLIERS OR VENDORS      10/25/2018            $4,995.30

SCHWABE NORTH AMERICA PO BOX 200286                                                                   DALLAS              TX           75320-0286                             SUPPLIERS OR VENDORS       11/8/2018            $4,368.68

SCHWABE NORTH AMERICA PO BOX 200286                                                                   DALLAS              TX           75320-0286                             SUPPLIERS OR VENDORS      11/15/2018            $3,797.30

SCHWABE NORTH AMERICA PO BOX 200286                                                                   DALLAS              TX           75320-0286                             SUPPLIERS OR VENDORS      11/22/2018            $2,817.70

SCHWABE NORTH AMERICA     PO BOX 200286                                                               DALLAS              TX           75320-0286                             SUPPLIERS OR VENDORS      11/29/2018            $4,168.57
SCHWAN WHOLESALE
COMPANY                   VICE PRESIDENT OF SALES   PO BOX 710                                        DEVILS LAKE         ND           58301                                  SUPPLIERS OR VENDORS      10/18/2018             $492.98
SCHWAN WHOLESALE
COMPANY                   VICE PRESIDENT OF SALES   PO BOX 710                                        DEVILS LAKE         ND           58301                                  SUPPLIERS OR VENDORS      10/25/2018             $408.08
SCHWAN WHOLESALE
COMPANY                   VICE PRESIDENT OF SALES   PO BOX 710                                        DEVILS LAKE         ND           58301                                  SUPPLIERS OR VENDORS       11/1/2018             $372.44
SCHWAN WHOLESALE
COMPANY                   VICE PRESIDENT OF SALES   PO BOX 710                                        DEVILS LAKE         ND           58301                                  SUPPLIERS OR VENDORS       11/8/2018              $64.00
SCHWAN WHOLESALE
COMPANY                   VICE PRESIDENT OF SALES   PO BOX 710                                        DEVILS LAKE         ND           58301                                  SUPPLIERS OR VENDORS      11/15/2018             $143.71
SCHWAN WHOLESALE
COMPANY                   VICE PRESIDENT OF SALES   PO BOX 710                                        DEVILS LAKE         ND           58301                                  SUPPLIERS OR VENDORS      11/22/2018             $129.30
SCHWAN WHOLESALE
COMPANY                   VICE PRESIDENT OF SALES   PO BOX 710                                        DEVILS LAKE         ND           58301                                  SUPPLIERS OR VENDORS      11/29/2018             $203.22
SCHWAN WHOLESALE
COMPANY                   VICE PRESIDENT OF SALES   PO BOX 710                                        DEVILS LAKE         ND           58301                                  SUPPLIERS OR VENDORS      12/20/2018             $499.07
SCHWAN WHOLESALE
COMPANY                   VICE PRESIDENT OF SALES   PO BOX 710                                        DEVILS LAKE         ND           58301                                  SUPPLIERS OR VENDORS      12/21/2018             $305.00
SCHWAN WHOLESALE
COMPANY                   VICE PRESIDENT OF SALES   PO BOX 710                                        DEVILS LAKE         ND           58301                                  SUPPLIERS OR VENDORS      12/27/2018             $205.82
SCI INTERNATIONAL         5902 ENTERPRISE COURT                                                       FREDERICK           MD           21703                                  SUPPLIERS OR VENDORS      10/18/2018             $219.09
SCI INTERNATIONAL         5902 ENTERPRISE COURT                                                       FREDERICK           MD           21703                                  SUPPLIERS OR VENDORS      10/25/2018             $788.98
SCI INTERNATIONAL         5902 ENTERPRISE COURT                                                       FREDERICK           MD           21703                                  SUPPLIERS OR VENDORS       11/1/2018             $754.99
SCI INTERNATIONAL         5902 ENTERPRISE COURT                                                       FREDERICK           MD           21703                                  SUPPLIERS OR VENDORS       11/8/2018             $380.20
SCI INTERNATIONAL         5902 ENTERPRISE COURT                                                       FREDERICK           MD           21703                                  SUPPLIERS OR VENDORS      11/15/2018             $245.29
SCI INTERNATIONAL         5902 ENTERPRISE COURT                                                       FREDERICK           MD           21703                                  SUPPLIERS OR VENDORS      11/29/2018             $366.79



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                                                                                                                                                                                  Reasons for payment or    Dates of    Total Amount or
      Creditor Name                   Address1               Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value

SCIENTIFIC INDUSTRIES INC   80 ORVILLE DRIVE STE 102                                                     BOHEMIA             NY           17116                                  SUPPLIERS OR VENDORS      10/25/2018             $359.90
SCOSCHE INDUSTRIES INC      PO BOX 2901                                                                  OXNARD              CA           93034                                  SUPPLIERS OR VENDORS      10/25/2018           $1,408.40
SCOSCHE INDUSTRIES INC      PO BOX 2901                                                                  OXNARD              CA           93034                                  SUPPLIERS OR VENDORS       11/1/2018             $431.52
SCOSCHE INDUSTRIES INC      PO BOX 2901                                                                  OXNARD              CA           93034                                  SUPPLIERS OR VENDORS      11/22/2018           $3,735.72
SCOTLAND COUNTY
COLLECTOR                   117 S MARKET STREET 103                                                      MEMPHIS             MO           63555                                  SUPPLIERS OR VENDORS      12/19/2018             $25.00
SCOTLAND COUNTY
COLLECTOR                   117 S MARKET STREET 103                                                      MEMPHIS             MO           63555                                  SUPPLIERS OR VENDORS      12/19/2018         $17,320.55
SCOTT A MILLER              STORE 701                  SHOPKO EMPLOYEE        1212 W MAIN STREET         LYONS               KS           67554                                  SUPPLIERS OR VENDORS       11/9/2018             $74.54
SCOTT A MILLER              STORE 701                  SHOPKO EMPLOYEE        1212 W MAIN STREET         LYONS               KS           67554                                  SUPPLIERS OR VENDORS      11/30/2018            $221.04
SCOTT A MILLER              STORE 701                  SHOPKO EMPLOYEE        1212 W MAIN STREET         LYONS               KS           67554                                  SUPPLIERS OR VENDORS      12/22/2018            $244.38

SCOTT BARTLETT              STORE 708                  SHOPKO EMPLOYEE        812 HARVEST HILLS DRIVE CARROLLTON             MO           64633                                  SUPPLIERS OR VENDORS      10/25/2018            $221.27
SCOTT BEYER                 1720 BISCAYNE DR.                                                         LITTLE CHUTE           WI           54140                                  SUPPLIERS OR VENDORS      11/26/2018             $25.00
SCOTT BONESS                P.O. BOX 638                                                              WAUTOMA                WI           54982                                  SUPPLIERS OR VENDORS      12/20/2018              $2.53
SCOTT BRUNEAU               STORE 4-012                SHOPKO EMPLOYEE                                GREEN BAY              WI           54307-9060                             SUPPLIERS OR VENDORS      12/20/2018            $247.50
SCOTT CAMP                  P.O. BOX 2774                                                             KINGSFORD              MI           49802                                  SUPPLIERS OR VENDORS      11/29/2018             $73.60
SCOTT CHAPMAN               24561 QUINLAN AVE NORTH                                                   SCANDIA                MN           55073                                  SUPPLIERS OR VENDORS      10/18/2018             $32.64
SCOTT CHAPMAN               24561 QUINLAN AVE NORTH                                                   SCANDIA                MN           55073                                  SUPPLIERS OR VENDORS       11/8/2018            $349.99

SCOTT COUNTY TREASURER      303 COURT STREET                                                             SCOTT CITY          KS           67871                                  SUPPLIERS OR VENDORS      12/13/2018         $35,535.95
SCOTT DOMAGALA              PO BOX 14                                                                    FREDERIC            WI           54837                                  SUPPLIERS OR VENDORS       12/4/2018              $2.00
SCOTT DOMAGALA              PO BOX 14                                                                    FREDERIC            WI           54837                                  SUPPLIERS OR VENDORS       12/4/2018              $2.00
SCOTT FIELDING              W7142 BONNIE DRIVE                                                           SHIOCTON            WI           54170                                  SUPPLIERS OR VENDORS      10/29/2018            $166.96
SCOTT GYMER                 STORE 687                  SHOPKO EMPLOYEE        202 SW KENT                GREENFIELD          IA           50849                                  SUPPLIERS OR VENDORS      10/25/2018             $57.77
SCOTT GYMER                 STORE 687                  SHOPKO EMPLOYEE        202 SW KENT                GREENFIELD          IA           50849                                  SUPPLIERS OR VENDORS       12/6/2018             $80.66
SCOTT HEITING               N1365 OUTAGAMIE RD.                                                          KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS       11/9/2018             $25.00
SCOTT HENDRICKSON           E7793 320TH AVE                                                              ELK MOUND           WI           54739                                  SUPPLIERS OR VENDORS       12/7/2018            $104.00
SCOTT HINTZ                 2517 SHANNON CT                                                              HUDSON              WI           54016                                  SUPPLIERS OR VENDORS      12/13/2018             $24.00
SCOTT JENSEN                14 WHITEFISH CT                                                              MADISON             WI           53718                                  SUPPLIERS OR VENDORS      11/26/2018             $36.00
SCOTT LAWS                  STORE 2-799                SHOPKO EMPLOYEE        440 W MAIN STREET          TREMENTON           UT           84337                                  SUPPLIERS OR VENDORS      12/14/2018            $197.52
SCOTT LAWS                  STORE 2-799                SHOPKO EMPLOYEE        440 W MAIN STREET          TREMENTON           UT           84337                                  SUPPLIERS OR VENDORS      12/20/2018            $121.60
SCOTT LIEN                  615 N MAIN ST                                                                IOLA                WI           54945                                  SUPPLIERS OR VENDORS       12/5/2018             $23.98
SCOTT MCCABE                2731 S 41ST ST                                                               OMAHA               NE           68105                                  SUPPLIERS OR VENDORS      11/26/2018             $64.96

SCOTT NICHOLS               5096 KIOWA WAY                                                               WEST VALLEY CITY UT              84120                                  SUPPLIERS OR VENDORS      10/31/2018             $30.98
SCOTT OTTLEY                1137 W. 29TH AVE.                                                            KENNEWICK        WA              99336                                  SUPPLIERS OR VENDORS      12/13/2018            $140.70
SCOTT PET PRODUCTS
INCORPORATED                PO BOX 168                                                                   ROCKVILLE           IN           47872                                  SUPPLIERS OR VENDORS      10/18/2018           $2,558.21
SCOTT PET PRODUCTS
INCORPORATED                PO BOX 168                                                                   ROCKVILLE           IN           47872                                  SUPPLIERS OR VENDORS      10/25/2018           $1,324.04
SCOTT PET PRODUCTS
INCORPORATED                PO BOX 168                                                                   ROCKVILLE           IN           47872                                  SUPPLIERS OR VENDORS       11/8/2018           $4,622.28
SCOTT PET PRODUCTS
INCORPORATED                PO BOX 168                                                                   ROCKVILLE           IN           47872                                  SUPPLIERS OR VENDORS      11/15/2018            $901.10
SCOTT PET PRODUCTS
INCORPORATED                PO BOX 168                                                                   ROCKVILLE           IN           47872                                  SUPPLIERS OR VENDORS      11/22/2018           $2,896.66
SCOTT PET PRODUCTS
INCORPORATED                PO BOX 168                                                                   ROCKVILLE           IN           47872                                  SUPPLIERS OR VENDORS      11/29/2018           $4,094.30
SCOTT RAPLINGER             INFORMATION SERVICES       SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS      10/25/2018             $334.62
SCOTT RAPLINGER             1444 SOUTH VAN BUREN ST                                                      GREEN BAY           WI           54301                                  SUPPLIERS OR VENDORS      11/26/2018              $10.00
SCOTT RIDDERBUSCH           6342 WHIPPOORWILL LANE                                                       RHINELANDER         WI           54501                                  SUPPLIERS OR VENDORS       11/5/2018              $10.00
SCOTT ROGERS                400 BARRIE ST                                                                FORT ATKINSON       WI           53538                                  SUPPLIERS OR VENDORS      11/26/2018               $5.00



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                                                                                                                                                                                Reasons for payment or    Dates of     Total Amount or
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SCOTT RUNYAN           14079 MONROE CR                                                                OMAHA               NE           68137                                  SUPPLIERS OR VENDORS        10/22/2018               $42.00
SCOTT SCHIMMEL         33 W. 13TH ST                                                                  FOND DU LAC         WI           54935                                  SUPPLIERS OR VENDORS        11/29/2018              $123.00
SCOTT SCHWARTZ         603 SCHWARTZ RD                                                                PULASKI             WI           54162                                  SUPPLIERS OR VENDORS        12/20/2018               $45.00

SCOTT SEIDLER          910 KRONENWETTER DR APT 10                                                     MOSINEE             WI           54455                                  SUPPLIERS OR VENDORS       11/26/2018               $16.00

SCOTT SEIDLER          910 KRONENWETTER DR APT 10                                                     MOSINEE             WI           54455                                  SUPPLIERS OR VENDORS        12/7/2018                $5.00
SCOTT SELL             2656 HUMBOLDT RD.                                                              GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS       12/10/2018               $15.01
SCOTT SHETTEL          STORE 733                  SHOPKO EMPLOYEE          226 E LINCOLN              FERGUS FALLS        MN           56537                                  SUPPLIERS OR VENDORS       10/18/2018                $5.40
SCOTT SHETTEL          STORE 733                  SHOPKO EMPLOYEE          226 E LINCOLN              FERGUS FALLS        MN           56537                                  SUPPLIERS OR VENDORS       11/15/2018                $8.07
SCOTT SOMMERS          1519 N BAY HIGHLANDS DR                                                        GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS       12/17/2018               $76.00
SCOTT STANGEL          108 JERSEY LA. APT. "B"                                                        ELK                 WI           54739                                  SUPPLIERS OR VENDORS       11/28/2018               $89.99
SCOTT TOMASHEK         1208 MEADOW VIEW LN                                                            DE PERE             WI           54115                                  SUPPLIERS OR VENDORS        11/9/2018                $3.27
SCOTT W HOMER OD P A   4443 E 375 N                                                                   RIGBY               ID           83442                                  SUPPLIERS OR VENDORS       10/19/2018            $7,134.43
SCOTT W HOMER OD P A   4443 E 375 N                                                                   RIGBY               ID           83442                                  SUPPLIERS OR VENDORS        11/2/2018            $3,737.05
SCOTT W HOMER OD P A   4443 E 375 N                                                                   RIGBY               ID           83442                                  SUPPLIERS OR VENDORS       11/16/2018            $5,988.31
SCOTT W HOMER OD P A   4443 E 375 N                                                                   RIGBY               ID           83442                                  SUPPLIERS OR VENDORS       11/30/2018            $5,845.12
SCOTT W HOMER OD P A   4443 E 375 N                                                                   RIGBY               ID           83442                                  SUPPLIERS OR VENDORS       12/14/2018            $7,734.95
SCOTT W HOMER OD P A   4443 E 375 N                                                                   RIGBY               ID           83442                                  SUPPLIERS OR VENDORS       12/29/2018            $6,878.28
SCOTT W HOMER OD P A   4443 E 375 N                                                                   RIGBY               ID           83442                                  SUPPLIERS OR VENDORS        1/11/2019            $6,256.19
SCOTT WALTERS          104 E DALE ST                                                                  BROWNTOWN           WI           53522                                  SUPPLIERS OR VENDORS       11/12/2018               $23.00
SCOTT WOOD             905 LICHTE DR.                                                                 MAZOMANIE           WI           53560                                  SUPPLIERS OR VENDORS       11/28/2018               $12.60
SCOTT ZAK              123 PRIMROSE LANE                                                              GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS        11/9/2018               $25.00
SCOTTS LAWN CARE &
BOBCAT SERVICE         SCOTT CALANDER               PO BOX 473             PAM TO ORACLE              MORA                MN           55051                                  SUPPLIERS OR VENDORS        11/1/2018              $347.34
SCOTTS LIQUID GOLD     VICE PRESIDENT OF SALES      4880 HAVANA STREET                                DENVER              CO           80239-0019                             SUPPLIERS OR VENDORS       10/18/2018            $1,486.02
SCOTTS LIQUID GOLD     VICE PRESIDENT OF SALES      4880 HAVANA STREET                                DENVER              CO           80239-0019                             SUPPLIERS OR VENDORS       11/15/2018            $1,449.06
SCRIPTPRO USA
INCORPORATED           PO BOX 809004                                                                  KANSAS CITY         MO           64180-9004                             SUPPLIERS OR VENDORS        11/1/2018            $3,635.95
SCRIPTPRO USA
INCORPORATED           PO BOX 809004                                                                  KANSAS CITY         MO           64180-9004                             SUPPLIERS OR VENDORS        11/8/2018              $945.14
SCRIPTPRO USA
INCORPORATED           PO BOX 809004                                                                  KANSAS CITY         MO           64180-9004                             SUPPLIERS OR VENDORS       12/17/2018            $3,710.65
SD DEPT OF REVENUE     445 E CAPITOL AVE                                                              PIERRE              SD           57501                                  SALES/USE TAX              11/26/2018              $398.85
SD DEPT OF REVENUE     445 E CAPITOL AVE                                                              PIERRE              SD           57501                                  SALES/USE TAX              11/26/2018          $410,150.14
SEAN ASHLEY            STORE 092                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/22/2018              $324.37
SEAN BAUMBACH          6964 COUNTRY LANE                                                              MADISON             WI           53719                                  SUPPLIERS OR VENDORS        11/5/2018               $25.00
SEAN GETMAN            STORE 114                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/2/2018              $158.05
SEAN GROHALL           172 ELLIS STREET                                                               FOND DU LAC         WI           54935                                  SUPPLIERS OR VENDORS       12/14/2018              $150.00
SEAN GROHALL           172 ELLIS STREET                                                               FOND DU LAC         WI           54935                                  SUPPLIERS OR VENDORS       12/17/2018               $25.00
SEAN LYMAN             STORE 2-104                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/8/2018              $109.00
SEAN LYMAN             STORE 2-104                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/6/2018               $76.30
SEAN MOSER             1905 E. VIOLA                                                                  YAKIMA              WA           98901                                  SUPPLIERS OR VENDORS        11/5/2018               $10.00
SEAN NIGHTSER          320 PARKWOOD DRIVE                                                             COUNCIL BLUFFS      IA           51503                                  SUPPLIERS OR VENDORS       11/14/2018               $23.63
SEAN RUPPERT           616 GREENBRIAR AVE                                                             STEVENS POINT       WI           54481                                  SUPPLIERS OR VENDORS       11/14/2018               $25.00
SEAN RUPPERT           616 GREENBRIAR AVE                                                             STEVENS POINT       WI           54481                                  SUPPLIERS OR VENDORS       11/14/2018               $25.00
SEAN SHONERD           STORE 567                    SHOPKO EMPLOYEE        810 DIEKMANN DRIVE         PAYNESVILLE         MN           56362-4657                             SUPPLIERS OR VENDORS       10/19/2018              $100.28
SEAN SHONERD           STORE 567                    SHOPKO EMPLOYEE        810 DIEKMANN DRIVE         PAYNESVILLE         MN           56362-4657                             SUPPLIERS OR VENDORS        11/2/2018              $124.26
SEAN SLOAN             2708 HILLWOOD CT                                                               APPLETON            WI           54911                                  SUPPLIERS OR VENDORS       10/22/2018               $25.00

SEAN UNDERWOOD         STORE 2-549                  SHOPKO EMPLOYEE        1001 N CENTER AVENUE       HARDIN              MT           59034-1101                             SUPPLIERS OR VENDORS       10/26/2018               $60.00
SEANG L FOO            PHARMACY OPERATIONS          SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/19/2018            $1,246.83
SEANG L FOO            PHARMACY OPERATIONS          SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/2/2018            $1,372.73
SEANG L FOO            PHARMACY OPERATIONS          SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/27/2018            $1,334.22



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      Creditor Name              Address1                 Address2                   Address3                City               State       Zip              Country                    transfer          Payments            Value
SEANG L FOO              PHARMACY OPERATIONS        SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/30/2018              $942.36
SEANG L FOO              PHARMACY OPERATIONS        SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/11/2018              $354.95
SEANG L FOO              PHARMACY OPERATIONS        SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/14/2018              $805.65
SEANG L FOO              PHARMACY OPERATIONS        SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/20/2018            $1,127.44
SEANG L FOO              PHARMACY OPERATIONS        SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         1/15/2019              $835.50
SEASONAL CELEBRATIONS
LLC                      VICE PRESIDENT OF SALES    400 HOWELL STREET                                  BRISTOL             PA           19007                                  SUPPLIERS OR VENDORS        11/8/2018           $49,235.57
SEASONAL CELEBRATIONS
LLC                      VICE PRESIDENT OF SALES    400 HOWELL STREET                                  BRISTOL             PA           19007                                  SUPPLIERS OR VENDORS        12/5/2018           $47,475.96
SEASONS USA INC          3963 ONEIDA STREET                                                            NEW HARTFORD        NY           13413                                  SUPPLIERS OR VENDORS       10/25/2018          $252,999.56

SEATTLE PACIFIC
INCORPORATED UNION BAY 1633 Westlake Avenue North   Suite 300                                          Seattle             WA           98109-6227                             SUPPLIERS OR VENDORS       11/26/2018           $14,511.25

SEAWAY PRINTING
COMPANY INCORPORATED     PO BOX 10413                                                                  GREEN BAY           WI           54307-0413                             SUPPLIERS OR VENDORS       10/19/2018           $19,765.43

SEAWAY PRINTING
COMPANY INCORPORATED     PO BOX 10413                                                                  GREEN BAY           WI           54307-0413                             SUPPLIERS OR VENDORS       10/26/2018           $48,382.48

SEAWAY PRINTING
COMPANY INCORPORATED     PO BOX 10413                                                                  GREEN BAY           WI           54307-0413                             SUPPLIERS OR VENDORS        11/2/2018           $17,635.38

SEAWAY PRINTING
COMPANY INCORPORATED     PO BOX 10413                                                                  GREEN BAY           WI           54307-0413                             SUPPLIERS OR VENDORS        11/9/2018            $3,608.10

SEAWAY PRINTING
COMPANY INCORPORATED     PO BOX 10413                                                                  GREEN BAY           WI           54307-0413                             SUPPLIERS OR VENDORS       11/30/2018           $18,896.91

SEAWAY PRINTING
COMPANY INCORPORATED     PO BOX 10413                                                                  GREEN BAY           WI           54307-0413                             SUPPLIERS OR VENDORS       12/19/2018           $43,470.12

SEAWAY PRINTING
COMPANY INCORPORATED     PO BOX 10413                                                                  GREEN BAY           WI           54307-0413                             SUPPLIERS OR VENDORS       12/21/2018            $3,105.50

SEAWAY PRINTING
COMPANY INCORPORATED     PO BOX 10413                                                                  GREEN BAY           WI           54307-0413                             SUPPLIERS OR VENDORS       12/22/2018           $24,041.34
SEIKO OPTICAL PRODUCTS
OF AMERICA               PO BOX 8500 1816                                                              PHILADELPHIA        PA           19178-1816                             SUPPLIERS OR VENDORS       10/18/2018              $155.90
SEIKO OPTICAL PRODUCTS
OF AMERICA               PO BOX 8500 1816                                                              PHILADELPHIA        PA           19178-1816                             SUPPLIERS OR VENDORS        11/8/2018              $240.20
SEIKO OPTICAL PRODUCTS
OF AMERICA               PO BOX 8500 1816                                                              PHILADELPHIA        PA           19178-1816                             SUPPLIERS OR VENDORS       11/22/2018               $31.90
SEIKO OPTICAL PRODUCTS
OF AMERICA               PO BOX 8500 1816                                                              PHILADELPHIA        PA           19178-1816                             SUPPLIERS OR VENDORS       11/29/2018              $121.40
                                                    6242 UNIVERSITY
SELECT ENTERPRISES       IDS UNLIMITED INCORPORATED AVENUE                                             MIDDLETON           WI           53562                                  SUPPLIERS OR VENDORS        11/1/2018            $1,633.00
                                                    6242 UNIVERSITY
SELECT ENTERPRISES       IDS UNLIMITED INCORPORATED AVENUE                                             MIDDLETON           WI           53562                                  SUPPLIERS OR VENDORS       11/29/2018              $851.00
SELENA ELLIOTT           14915 E. 23RD                                                                 VERADALE            WA           99037                                  SUPPLIERS OR VENDORS       12/14/2018               $24.40
SENECA WHOLESALE
COMPANY INC              36 SOUTH 8TH STREET                                                           SENECA              KS           66538-1998                             SUPPLIERS OR VENDORS       10/18/2018              $424.06
SENECA WHOLESALE
COMPANY INC              36 SOUTH 8TH STREET                                                           SENECA              KS           66538-1998                             SUPPLIERS OR VENDORS       11/15/2018              $618.74



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SENECA WHOLESALE
COMPANY INC               36 SOUTH 8TH STREET                                                            SENECA              KS           66538-1998                             SUPPLIERS OR VENDORS      12/20/2018            $321.06
SENECA WHOLESALE
COMPANY INC               36 SOUTH 8TH STREET                                                            SENECA              KS           66538-1998                             SUPPLIERS OR VENDORS      12/21/2018            $173.24
SENSIO INCORPORATED       1175 PLACE DU FRERE ANDRE                                                      MONTREAL            QC           H3B 3X9      CANADA                    SUPPLIERS OR VENDORS      10/18/2018         $39,801.20
SENSIO INCORPORATED       1175 PLACE DU FRERE ANDRE                                                      MONTREAL            QC           H3B 3X9      CANADA                    SUPPLIERS OR VENDORS      10/25/2018          $6,360.98
SENSIO INCORPORATED       1175 PLACE DU FRERE ANDRE                                                      MONTREAL            QC           H3B 3X9      CANADA                    SUPPLIERS OR VENDORS       11/6/2018          $1,747.32
SENSIO INCORPORATED       1175 PLACE DU FRERE ANDRE                                                      MONTREAL            QC           H3B 3X9      CANADA                    SUPPLIERS OR VENDORS       11/8/2018          $1,466.36
SENSIO INCORPORATED       1175 PLACE DU FRERE ANDRE                                                      MONTREAL            QC           H3B 3X9      CANADA                    SUPPLIERS OR VENDORS       12/6/2018          $3,219.41
SENTINEL                  PO BOX 681                                                                     FAIRMONT            MN           56031                                  SUPPLIERS OR VENDORS      11/14/2018            $244.60
SENTRY INSURANCE          PO BOX 8045                                                                    STEVENS POINT       WI           54481-8045                             SUPPLIERS OR VENDORS      11/16/2018          $1,324.09
SENTRY INSURANCE          PO BOX 8045                                                                    STEVENS POINT       WI           54481-8045                             SUPPLIERS OR VENDORS      12/22/2018          $4,038.26
SENTRY PROPERTIES         5 EAST LONG STREET 1200                                                        COLUMBUS            OH           43215                                  SUPPLIERS OR VENDORS       11/1/2018         $13,500.00
SENTRY PROPERTIES         5 EAST LONG STREET 1200                                                        COLUMBUS            OH           43215                                  SUPPLIERS OR VENDORS       12/3/2018         $13,500.00
SERENA BREINING           6302 EAST GATE RD #3                                                           MONONA              WI           53716                                  SUPPLIERS OR VENDORS      11/30/2018             $24.00
SERENA MEYER              313 MILWAUKEE AVE WEST                                                         FORT ATKINSON       WI           53538                                  SUPPLIERS OR VENDORS       12/7/2018              $7.00
SERENA ROEN               W115 STATE STREET                                                              SPRING VALLEY       WI           54767                                  SUPPLIERS OR VENDORS      11/28/2018             $33.15
SERI TALAMANTES           STORE 060                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/29/2018             $22.89
SERI TALAMANTES           STORE 060                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/6/2018             $22.35
SERI TALAMANTES           STORE 060                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/13/2018             $22.35
SERIN HOMSI               STORE 2-057                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/6/2018            $196.20
SERVICE CHANNEL
INCORPORATED              9 ALBERTSON AVENUE SUITE 1                                                     ALBERTSON           NY           11507                                  SUPPLIERS OR VENDORS      10/18/2018         $89,947.10
SERVICE CHANNEL
INCORPORATED              9 ALBERTSON AVENUE SUITE 1                                                     ALBERTSON           NY           11507                                  SUPPLIERS OR VENDORS      10/25/2018         $61,748.30
SERVICE CHANNEL
INCORPORATED              9 ALBERTSON AVENUE SUITE 1                                                     ALBERTSON           NY           11507                                  SUPPLIERS OR VENDORS       11/1/2018        $101,088.46
SERVICE CHANNEL
INCORPORATED              9 ALBERTSON AVENUE SUITE 1                                                     ALBERTSON           NY           11507                                  SUPPLIERS OR VENDORS       11/8/2018        $144,690.89
SERVICE CHANNEL
INCORPORATED              9 ALBERTSON AVENUE SUITE 1                                                     ALBERTSON           NY           11507                                  SUPPLIERS OR VENDORS      11/15/2018         $63,005.34
SERVICE CHANNEL
INCORPORATED              9 ALBERTSON AVENUE SUITE 1                                                     ALBERTSON           NY           11507                                  SUPPLIERS OR VENDORS      11/27/2018         $66,964.22
SERVICE CHANNEL
INCORPORATED              9 ALBERTSON AVENUE SUITE 1                                                     ALBERTSON           NY           11507                                  SUPPLIERS OR VENDORS       12/4/2018        $122,058.70
SERVICE CHANNEL
INCORPORATED              9 ALBERTSON AVENUE SUITE 1                                                     ALBERTSON           NY           11507                                  SUPPLIERS OR VENDORS      12/14/2018        $139,992.84
SERVICE CHANNEL
INCORPORATED              9 ALBERTSON AVENUE SUITE 1                                                     ALBERTSON           NY           11507                                  SUPPLIERS OR VENDORS      12/19/2018         $91,510.33
SERVICE EXPRESS INC       3854 BROADMOOR AVE SE                                                          GRAND RAPIDS        MI           49512                                  SUPPLIERS OR VENDORS       11/1/2018          $5,588.33
SERVICE EXPRESS INC       3854 BROADMOOR AVE SE                                                          GRAND RAPIDS        MI           49512                                  SUPPLIERS OR VENDORS        1/4/2019         $11,413.85
SERVICE MASTER RECOVERY   20806 SOCKEYE PLACE SUITE
SPECIALISTS               210                                                                            BEND                OR           97701                                  SUPPLIERS OR VENDORS      10/25/2018            $674.05

SESSIONM INCORPORATED     2 SEAPORT LANE 11TH FLOOR                                                      BOSTON              MA           02210                                  SUPPLIERS OR VENDORS      11/14/2018           $3,123.21

SESSIONM INCORPORATED     2 SEAPORT LANE 11TH FLOOR                                                      BOSTON              MA           02210                                  SUPPLIERS OR VENDORS      11/16/2018         $79,125.00
SETH COOPER               1270 CLAY HOLLOW, RD                                                           WINCHESTER          IL           62694                                  SUPPLIERS OR VENDORS      10/31/2018             $50.00
SETH GREGORY              1155 DOUBLE EAGLE CIRCLE                                                       PRESTON             ID           83263                                  SUPPLIERS OR VENDORS      10/25/2018             $22.10
SEVEN UP BOTTLING
COMPANY                   PO BOX 742472                                                                  LOS ANGELES         CA           90074-2472                             SUPPLIERS OR VENDORS      10/25/2018            $117.92
SEVEN UP BOTTLING
COMPANY                   PO BOX 742472                                                                  LOS ANGELES         CA           90074-2472                             SUPPLIERS OR VENDORS      11/15/2018            $833.78




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                                                                                                                                                                        Reasons for payment or    Dates of     Total Amount or
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SEVEN UP BOTTLING
COMPANY                PO BOX 742472                                                           LOS ANGELES         CA           90074-2472                             SUPPLIERS OR VENDORS      12/19/2018            $1,184.72

SEVEN UP BOTTLING
COMPANY INCORPORATED   PO BOX 10536                                                            GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS      10/19/2018          $19,949.80

SEVEN UP BOTTLING
COMPANY INCORPORATED   PO BOX 10536                                                            GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS      10/26/2018            $8,242.30

SEVEN UP BOTTLING
COMPANY INCORPORATED   PO BOX 10536                                                            GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       11/1/2018              $94.95

SEVEN UP BOTTLING
COMPANY INCORPORATED   PO BOX 10536                                                            GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       11/2/2018            $3,374.20

SEVEN UP BOTTLING
COMPANY INCORPORATED   PO BOX 10536                                                            GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS      11/16/2018             $659.20

SEVEN UP BOTTLING
COMPANY INCORPORATED   PO BOX 10536                                                            GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS      11/30/2018            $6,011.95

SEVEN UP BOTTLING
COMPANY INCORPORATED   PO BOX 10536                                                            GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS      12/20/2018            $5,104.60

SEVEN UP BOTTLING
COMPANY INCORPORATED   PO BOX 10536                                                            GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS      12/22/2018            $1,667.20

SEVEN UP BOTTLING
COMPANY INCORPORATED   PO BOX 10536                                                            GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS      12/28/2018             $249.00

SEVEN UP BOTTLING
COMPANY INCORPORATED   PO BOX 10536                                                            GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS         1/8/2019            $304.15
SEVEN UP BOTTLING
COMPANY OF SPOKANE     23214 NETWORK PLACE                                                     CHICAGO             IL           60673-1232                             SUPPLIERS OR VENDORS      10/18/2018            $6,706.62
SEVEN UP BOTTLING
COMPANY OF SPOKANE     23214 NETWORK PLACE                                                     CHICAGO             IL           60673-1232                             SUPPLIERS OR VENDORS      10/25/2018            $1,830.91
SEVEN UP BOTTLING
COMPANY OF SPOKANE     23214 NETWORK PLACE                                                     CHICAGO             IL           60673-1232                             SUPPLIERS OR VENDORS       11/1/2018            $1,772.72
SEVEN UP BOTTLING
COMPANY OF SPOKANE     23214 NETWORK PLACE                                                     CHICAGO             IL           60673-1232                             SUPPLIERS OR VENDORS       11/8/2018             $139.04
SEVEN UP BOTTLING
COMPANY OF SPOKANE     23214 NETWORK PLACE                                                     CHICAGO             IL           60673-1232                             SUPPLIERS OR VENDORS      12/20/2018             $627.08
SEVEN UP BOTTLING
COMPANY OF SPOKANE     23214 NETWORK PLACE                                                     CHICAGO             IL           60673-1232                             SUPPLIERS OR VENDORS      12/27/2018             $595.14
SEVEN UP BOTTLING
WATERTOWN              410 SOUTH FIRST STREET                                                  WATERTOWN           WI           53094                                  SUPPLIERS OR VENDORS      10/25/2018             $402.32
SEVEN UP BOTTLING
WATERTOWN              410 SOUTH FIRST STREET                                                  WATERTOWN           WI           53094                                  SUPPLIERS OR VENDORS       11/8/2018             $873.72
SEVEN UP BOTTLING
WATERTOWN              410 SOUTH FIRST STREET                                                  WATERTOWN           WI           53094                                  SUPPLIERS OR VENDORS      11/15/2018             $291.62
SEVEN UP BOTTLING
WATERTOWN              410 SOUTH FIRST STREET                                                  WATERTOWN           WI           53094                                  SUPPLIERS OR VENDORS      11/22/2018             $132.00
SEVEN UP BOTTLING
WATERTOWN              410 SOUTH FIRST STREET                                                  WATERTOWN           WI           53094                                  SUPPLIERS OR VENDORS      12/19/2018            $2,152.42



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SEVEN UP BOTTLING
WATERTOWN                 410 SOUTH FIRST STREET                                                        WATERTOWN           WI           53094                                  SUPPLIERS OR VENDORS      12/27/2018            $651.60
SEVEN UP BOTTLING WEST
BEND                      413 KILBOURN STREET                                                           WEST BEND           WI           53095                                  SUPPLIERS OR VENDORS      10/18/2018             $60.80
SEVEN UP BOTTLING WEST
BEND                      413 KILBOURN STREET                                                           WEST BEND           WI           53095                                  SUPPLIERS OR VENDORS      10/25/2018             $39.20
SEVEN UP BOTTLING WEST
BEND                      413 KILBOURN STREET                                                           WEST BEND           WI           53095                                  SUPPLIERS OR VENDORS       11/8/2018            $335.70
SEVEN UP BOTTLING WEST
BEND                      413 KILBOURN STREET                                                           WEST BEND           WI           53095                                  SUPPLIERS OR VENDORS      11/15/2018             $60.80
SEVEN UP BOTTLING WEST
BEND                      413 KILBOURN STREET                                                           WEST BEND           WI           53095                                  SUPPLIERS OR VENDORS      11/22/2018            $194.50
SEVEN UP BOTTLING WEST
BEND                      413 KILBOURN STREET                                                           WEST BEND           WI           53095                                  SUPPLIERS OR VENDORS      11/29/2018             $26.40
SEVEN UP BOTTLING WEST
BEND                      413 KILBOURN STREET                                                           WEST BEND           WI           53095                                  SUPPLIERS OR VENDORS      12/19/2018            $596.80
SEVEN UP BOTTLING WEST
BEND                      413 KILBOURN STREET                                                           WEST BEND           WI           53095                                  SUPPLIERS OR VENDORS      12/27/2018            $128.90
SEVEN UP RC TEXAS
PANHANDLE                 8110 N FRANKFORD FM 2528                                                      LUBBOCK             TX           79415                                  SUPPLIERS OR VENDORS       11/1/2018            $110.38
SEVEN UP RC TEXAS
PANHANDLE                 8110 N FRANKFORD FM 2528                                                      LUBBOCK             TX           79415                                  SUPPLIERS OR VENDORS      11/15/2018             $98.16
SEVEN UP RC TEXAS
PANHANDLE                 8110 N FRANKFORD FM 2528                                                      LUBBOCK             TX           79415                                  SUPPLIERS OR VENDORS      11/29/2018               $1.54
SEVEN UP RC TEXAS
PANHANDLE                 8110 N FRANKFORD FM 2528                                                      LUBBOCK             TX           79415                                  SUPPLIERS OR VENDORS      12/19/2018            $516.62
SEYMOUR BEVERAGES         429 LINCOLN STREET                                                            SEYMOUR             WI           54165                                  SUPPLIERS OR VENDORS      12/20/2018             $72.50
SEYMOUR MACHINE INC       W2677 E STATE HIGHWAY 54                                                      SEYMOUR             WI           54165                                  SUPPLIERS OR VENDORS      11/30/2018             $26.25
SEYMOUR MACHINE INC       W2677 E STATE HIGHWAY 54                                                      SEYMOUR             WI           54165                                  SUPPLIERS OR VENDORS      12/18/2018             $26.25
SEYMOUR MACHINE INC       W2677 E STATE HIGHWAY 54                                                      SEYMOUR             WI           54165                                  SUPPLIERS OR VENDORS      12/21/2018             $26.25
SFI LIMITED PARTNERSHIP                              10040 REGENCY CIRCLE
100                       SLOSBURG COMPANY           SUITE 200                                          OMAHA               NE           68114                                  SUPPLIERS OR VENDORS       11/1/2018         $75,600.00
SFI LIMITED PARTNERSHIP                              10040 REGENCY CIRCLE
100                       SLOSBURG COMPANY           SUITE 200                                          OMAHA               NE           68114                                  SUPPLIERS OR VENDORS       12/3/2018         $75,600.00
                                                     3 UNIVERSITY PLAZA STE
SG FOOTWEAR               S GOLDBERG & CO            400                                                HACKENSACK          NJ           07601-0000                             SUPPLIERS OR VENDORS      10/18/2018            $122.37
                                                     3 UNIVERSITY PLAZA STE
SG FOOTWEAR               S GOLDBERG & CO            400                                                HACKENSACK          NJ           07601-0000                             SUPPLIERS OR VENDORS      10/25/2018            $891.00
                                                     3 UNIVERSITY PLAZA STE
SG FOOTWEAR               S GOLDBERG & CO            400                                                HACKENSACK          NJ           07601-0000                             SUPPLIERS OR VENDORS       11/8/2018            $493.77
                                                     3 UNIVERSITY PLAZA STE
SG FOOTWEAR               S GOLDBERG & CO            400                                                HACKENSACK          NJ           07601-0000                             SUPPLIERS OR VENDORS      11/15/2018           $2,747.79
                          7TH FLOOR SHENGGAO                                                                                                                                    PURCHASE OF
SH NEX-T INT'L CO LTD     INTERNATIONAL MANSION                                                         SHANGHAI                         200051       CHINA                     MERCHANDISE               10/18/2018        $115,408.92
                          7TH FLOOR SHENGGAO                                                                                                                                    PURCHASE OF
SH NEX-T INT'L CO LTD     INTERNATIONAL MANSION                                                         SHANGHAI                         200051       CHINA                     MERCHANDISE               11/26/2018         $52,332.42
                          7TH FLOOR SHENGGAO                                                                                                                                    PURCHASE OF
SH NEX-T INT'L CO LTD     INTERNATIONAL MANSION                                                         SHANGHAI                         200051       CHINA                     MERCHANDISE               11/29/2018           $2,894.88
                          7TH FLOOR SHENGGAO                                                                                                                                    PURCHASE OF
SH NEX-T INT'L CO LTD     INTERNATIONAL MANSION                                                         SHANGHAI                         200051       CHINA                     MERCHANDISE               12/26/2018        $374,783.64

SH WINNER HOLDINGS LLC    2439 KUSER ROAD                                                               HAMILTON            NJ           08690                                  SUPPLIERS OR VENDORS      11/15/2018         $18,827.90

SH WINNER HOLDINGS LLC    2439 KUSER ROAD                                                               HAMILTON            NJ           08690                                  SUPPLIERS OR VENDORS      12/19/2018         $18,827.90



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                                                                                                                                                                                   Reasons for payment or    Dates of     Total Amount or
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SHAILESH JHA            1863 BLACKFOOT AVE                                                               GRAFTON             WI           53024                                  SUPPLIERS OR VENDORS        12/13/2018               $10.00
SHAIN DAMMON            424 STEWART AVENUE                                                               LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS        12/20/2018               $23.00
SHALOM INTERNATIONAL
CORPORATION             SHOPKO STORES                 PO BOX 19060                                       GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/18/2018              $621.50
SHALOM INTERNATIONAL
CORPORATION             SHOPKO STORES                 PO BOX 19060                                       GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/19/2018            $3,306.00
SHALOM INTERNATIONAL
CORPORATION             VICE PRESIDENT OF SALES       8 NICHOLAS COURT B                                 PERTH AMBOY         NJ           08810                                  SUPPLIERS OR VENDORS       10/19/2018            $3,338.64
SHALOM INTERNATIONAL
CORPORATION             SHOPKO STORES                 PO BOX 19060                                       GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/22/2018              $379.50
SHALOM INTERNATIONAL
CORPORATION             SHOPKO STORES                 PO BOX 19060                                       GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/23/2018              $543.00
SHALOM INTERNATIONAL
CORPORATION             SHOPKO STORES                 PO BOX 19060                                       GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/25/2018            $6,019.50
SHALOM INTERNATIONAL
CORPORATION             SHOPKO STORES                 PO BOX 19060                                       GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/2/2018            $3,754.50
SHALOM INTERNATIONAL
CORPORATION             SHOPKO STORES                 PO BOX 19060                                       GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/5/2018           $14,451.00
SHALOM INTERNATIONAL
CORPORATION             SHOPKO STORES                 PO BOX 19060                                       GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/6/2018              $567.00
SHALOM INTERNATIONAL
CORPORATION             SHOPKO STORES                 PO BOX 19060                                       GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/7/2018            $5,073.00
SHALOM INTERNATIONAL
CORPORATION             SHOPKO STORES                 PO BOX 19060                                       GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/8/2018            $7,968.00
SHALOM INTERNATIONAL
CORPORATION             VICE PRESIDENT OF SALES       8 NICHOLAS COURT B                                 PERTH AMBOY         NJ           08810                                  SUPPLIERS OR VENDORS        11/8/2018            $8,076.00
SHALOM INTERNATIONAL
CORPORATION             SHOPKO STORES                 PO BOX 19060                                       GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/9/2018           $17,550.00
SHALOM INTERNATIONAL
CORPORATION             SHOPKO STORES                 PO BOX 19060                                       GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/16/2018            $3,132.50
SHALOM INTERNATIONAL
CORPORATION             SHOPKO STORES                 PO BOX 19060                                       GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/22/2018            $6,065.40
SHANAE CUMMINGS         STORE 776                     SHOPKO EMPLOYEE         925 N 6TH STREET           GREYBULL            WY           82426                                  SUPPLIERS OR VENDORS       11/27/2018               $41.42
SHANE HAINES            138 SUNRISE CT                                                                   OCONTO FALLS        WI           54154                                  SUPPLIERS OR VENDORS       11/28/2018               $14.01
SHANE LAUDAL            19352 52ND AVE                                                                   CHIPPEWA FALLS      WI           54729                                  SUPPLIERS OR VENDORS       11/29/2018               $23.00
SHANETTE BONNER         STORE 201                     SHOPKO EMPLOYEE         3402 MAIN STREET           EMMETSBURG          IA           50536                                  SUPPLIERS OR VENDORS        11/9/2018              $156.96
SHANGHAI SMART DIRECT   2107 GREENBRIAR DRIVE SUITE
LLC                     A                                                                                SOUTHLAKE           TX           76092                                  SUPPLIERS OR VENDORS       11/27/2018              $639.62
SHANGHAI SMART DIRECT   2107 GREENBRIAR DRIVE SUITE
LLC                     A                                                                                SOUTHLAKE           TX           76092                                  SUPPLIERS OR VENDORS       11/30/2018               $57.40
SHANGHAI SMART DIRECT   2107 GREENBRIAR DRIVE SUITE
LLC                     A                             0                                                  SOUTHLAKE           TX           76092                                  SUPPLIERS OR VENDORS       12/18/2018                $1.00
                        17 LANE 688 HENGNAN ROAD
SHANGHAI SUNWIN         PUJIANG TOWN MINHANG                                                                                                                                     PURCHASE OF
INDUSTRY                DISTRICT                                                                         SHANGHAI                         200122       CHINA                     MERCHANDISE                10/22/2018          $169,328.00
                        17 LANE 688 HENGNAN ROAD
SHANGHAI SUNWIN         PUJIANG TOWN MINHANG                                                                                                                                     PURCHASE OF
INDUSTRY                DISTRICT                                                                         SHANGHAI                         200122       CHINA                     MERCHANDISE                 11/5/2018          $218,372.20
                        17 LANE 688 HENGNAN ROAD
SHANGHAI SUNWIN         PUJIANG TOWN MINHANG                                                                                                                                     PURCHASE OF
INDUSTRY                DISTRICT                                                                         SHANGHAI                         200122       CHINA                     MERCHANDISE                11/13/2018          $134,570.08
SHANNA BARLOW           363 E FACTORY ST                                                                 GARLAND             UT           84312                                  SUPPLIERS OR VENDORS       11/26/2018               $36.00
SHANNON BOHME           27385 RUSLYNN DRIVE                                                              WINONA              MN           55987                                  SUPPLIERS OR VENDORS       11/28/2018               $23.00
SHANNON CLAY            7906 N FAWVER RD                                                                 DAKOTA              IL           61018                                  SUPPLIERS OR VENDORS       10/19/2018               $14.40



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                                                                                                   EL DORADO
SHANNON FLESHER         STORE 709                SHOPKO EMPLOYEE        1307 S STATE HWY 32        SPRINGS             MO           64744                                  SUPPLIERS OR VENDORS      10/19/2018            $150.66
                                                                                                   EL DORADO
SHANNON FLESHER         STORE 709                SHOPKO EMPLOYEE        1307 S STATE HWY 32        SPRINGS             MO           64744                                  SUPPLIERS OR VENDORS       11/2/2018             $46.85
                                                                                                   EL DORADO
SHANNON FLESHER         STORE 709                SHOPKO EMPLOYEE        1307 S STATE HWY 32        SPRINGS             MO           64744                                  SUPPLIERS OR VENDORS       11/9/2018            $103.79
SHANNON GRAUPMAN        39169 EVERETT AVE                                                          NORTH BRANCH        MN           55056                                  SUPPLIERS OR VENDORS      10/18/2018             $25.50
SHANNON KELLY-HASKELL   4435 RIDGWOOD WAY                                                          BILLINGS            MT           59106                                  SUPPLIERS OR VENDORS      10/25/2018             $98.00
SHANNON KELLY-HASKELL   4435 RIDGWOOD WAY                                                          BILLINGS            MT           59106                                  SUPPLIERS OR VENDORS      11/29/2018             $90.00
SHANNON KRUEGER         7833 N EAGLE RD                                                            JANESVILLE          WI           53548                                  SUPPLIERS OR VENDORS      12/13/2018              $5.00
SHANNON MACNAB          STORE 4-116              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/25/2018             $74.25
                        404 WEST WASHINGTON
SHANNON MAY             STREET                                                                     VALDERS             WI           54245                                  SUPPLIERS OR VENDORS      12/20/2018             $23.00
                                                                        1135 MT RUSHMORE
SHANNON MCNEILL         STORE 763                SHOPKO EMPLOYEE        ROAD                       CUSTER              SD           57730                                  SUPPLIERS OR VENDORS      10/25/2018            $446.16
                                                                        1135 MT RUSHMORE
SHANNON MCNEILL         STORE 763                SHOPKO EMPLOYEE        ROAD                       CUSTER              SD           57730                                  SUPPLIERS OR VENDORS      12/13/2018            $147.15

SHANNON STICE           2441 1ST ST S                                                              WISCONSINRAPIDS     WI           54494                                  SUPPLIERS OR VENDORS      11/26/2018             $217.60
SHANNON WATERWORTH      W2221 DOLYSTOWN RD                                                         FALL RIVER          WI           53932                                  SUPPLIERS OR VENDORS       12/3/2018              $10.95
SHANTE TRAVIS           STORE 018                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/2/2018             $116.63
SHANTI STEINAUER        STORE 566                SHOPKO EMPLOYEE        216 MAIN AVENUE NE         WARROAD             MN           56763-2344                             SUPPLIERS OR VENDORS      10/26/2018             $252.88
SHAPCO PRINTING INC     SDS 12-2900              PO BOX 86                                         MINNEAPOLIS         MN           55486                                  SUPPLIERS OR VENDORS      11/15/2018           $9,891.70
SHAPCO PRINTING INC     SDS 12-2900              PO BOX 86                                         MINNEAPOLIS         MN           55486                                  SUPPLIERS OR VENDORS      12/17/2018           $4,431.00
                                                                        660 WEST MILWAUKEE
SHARALEE KURTENBACH     STORE 668                SHOPKO EMPLOYEE        STREET                     NEW HAMPTON         IA           50659                                  SUPPLIERS OR VENDORS      10/25/2018             $21.75
                                                                        660 WEST MILWAUKEE
SHARALEE KURTENBACH     STORE 668                SHOPKO EMPLOYEE        STREET                     NEW HAMPTON         IA           50659                                  SUPPLIERS OR VENDORS      11/22/2018             $21.75
SHARI EDER              948 E CLINTON                                                              FREEPORT            IL           61032                                  SUPPLIERS OR VENDORS      10/25/2018             $42.00
SHARI SOLMA             2839 MAPLE RD                                                              SLAYTON             MN           56172                                  SUPPLIERS OR VENDORS      11/26/2018              $3.00
SHARI WOJCIEHOWSKI      725 WILSON ST                                                              LITTLE CHUTE        WI           54140                                  SUPPLIERS OR VENDORS      12/17/2018             $22.50
SHARLA GRIESS           6419 BALLARD AVENUE                                                        LINCOLN             NE           68507                                  SUPPLIERS OR VENDORS      10/18/2018             $13.15
SHARNELL GROGAN         2665 W 4900 S                                                              ROY                 UT           84067                                  SUPPLIERS OR VENDORS      12/19/2018             $26.00
SHAROL BERREMAN         1716 RIPON AVE                                                             LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS       12/5/2018             $51.20
SHARON BIERMAN          400 E HERMAN                                                               BATTLECREEK         NE           68715                                  SUPPLIERS OR VENDORS      10/31/2018             $13.38
SHARON BIERMAN          400 E HERMAN                                                               BATTLECREEK         NE           68715                                  SUPPLIERS OR VENDORS       11/5/2018             $53.54
SHARON CLARK            12566 POPLAR GROVE RD                                                      POPLAR GROVE        IL           61065                                  SUPPLIERS OR VENDORS      11/26/2018             $12.44
SHARON CLARK            25588 SNAKE RIVER ROAD                                                     ASOTIN              WA           99402                                  SUPPLIERS OR VENDORS      11/28/2018             $83.00
SHARON CLARK            1153 S. PADDOCK RD.                                                        BELOIT              WI           53511                                  SUPPLIERS OR VENDORS      12/20/2018              $8.15
SHARON DAHN             203 1ST ST.              PO BOX 132                                        FERTILE             IA           50434                                  SUPPLIERS OR VENDORS       11/5/2018             $36.76
SHARON DAHN             203 1ST ST.              PO BOX 132                                        FERTILE             IA           50434                                  SUPPLIERS OR VENDORS      11/26/2018             $23.24
SHARON DOBRATZ          N2793 WILLING RAOD                                                         JEFFERSON           WI           53549                                  SUPPLIERS OR VENDORS      10/22/2018             $50.00
SHARON FARRAR           203 SIMONSEN STREET                                                        CAMBRIDGE           WI           53523                                  SUPPLIERS OR VENDORS      11/26/2018             $25.00
SHARON FELDKAMP         4220 HILLCREST DR.                                                         ONEIDA              WI           54155                                  SUPPLIERS OR VENDORS      12/21/2018             $25.00
SHARON GARDNER          2101 N KIMBALL APT. 5                                                      MITCHELL            SD           57301                                  SUPPLIERS OR VENDORS       12/7/2018             $44.80
SHARON GARDNER          2101 N KIMBALL APT. 5                                                      MITCHELL            SD           57301                                  SUPPLIERS OR VENDORS      12/10/2018             $11.20
SHARON GRABARCZYK       527 HWY 141                                                                CRYSTAL FALLS       MI           49920                                  SUPPLIERS OR VENDORS      11/26/2018              $9.76
SHARON HENNINGFELD      208 S DAVIDSON                                                             SIOUX CITY          IA           51103                                  SUPPLIERS OR VENDORS      10/19/2018             $12.05
SHARON HEUER            N 4350 COUNTY RD E                                                         KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS       11/9/2018              $2.73
SHARON HIEB             331 W FRANKLIN AVE                                                         SALEM               SD           57058                                  SUPPLIERS OR VENDORS      11/29/2018              $8.32
SHARON HIEB             331 W FRANKLIN AVE                                                         SALEM               SD           57058                                  SUPPLIERS OR VENDORS      11/29/2018             $38.68
SHARON JESSE            N6714 FORESTER RD                                                          DURAND              WI           54736                                  SUPPLIERS OR VENDORS      11/29/2018             $42.24
SHARON KIRTON           1644 WOODLAND AVE                                                          EAU CLAIRE          WI           54701                                  SUPPLIERS OR VENDORS      11/28/2018             $13.60
SHARON KNUTSON          1008 S CLEVELAND AVE                                                       SIOUX FALLS         SD           57103                                  SUPPLIERS OR VENDORS      10/25/2018             $12.00



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                                                                                                                                                                                 Reasons for payment or    Dates of     Total Amount or
     Creditor Name                 Address1              Address2                  Address3                   City              State       Zip              Country                    transfer          Payments            Value
SHARON KRUSE            STORE 2-701                SHOPKO EMPLOYEE          1212 W MAIN STREET         LYONS               KS           67554                                  SUPPLIERS OR VENDORS         11/8/2018               $53.41
SHARON KRUSE            STORE 2-701                SHOPKO EMPLOYEE          1212 W MAIN STREET         LYONS               KS           67554                                  SUPPLIERS OR VENDORS         12/6/2018               $65.40
SHARON KRUSE            STORE 2-701                SHOPKO EMPLOYEE          1212 W MAIN STREET         LYONS               KS           67554                                  SUPPLIERS OR VENDORS        12/20/2018               $39.79
SHARON LYONS            N15003 LEE LANE                                                                AMBERG              WI           54102                                  SUPPLIERS OR VENDORS         11/5/2018               $39.04
SHARON NEAL             1320 N KLINE                                                                   ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS        11/26/2018               $48.64
SHARON NORTON           2140 135RH ST SW                                                               ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS         11/1/2018               $12.15

SHARON PANGBURN         5131 KELLNER ROAD                                                              WISCONSIN RAPIDS    WI           54494                                  SUPPLIERS OR VENDORS       11/29/2018               $10.56
SHARON RADUE            2068 SHAMROCK LANE                                                             GREEN BAY           WI           54304                                  SUPPLIERS OR VENDORS        12/3/2018               $25.00
SHARON RAU              1008 N 4TH ST                                                                  ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       12/17/2018               $48.64
SHARON ROZUMALSKI       2512 SUGAR JAR LN                                                              STEVENS POINT       WI           54481                                  SUPPLIERS OR VENDORS       11/12/2018               $79.98
SHARON SAUER            679 BRIANNA DR             UNIT 3                                              SARTELL             MN           56377                                  SUPPLIERS OR VENDORS        11/5/2018               $15.30
SHARON SCHUG            S6674 SCHUH RD                                                                 EAU CLAIRE          WI           54701                                  SUPPLIERS OR VENDORS       12/18/2018               $13.31
SHARON STRONG           1203 ISABELLE CIRCLE # 8                                                       NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS       11/26/2018                $8.10
SHARON STRONG           1203 ISABELLE CIRCLE # 8                                                       NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS       12/13/2018               $53.54
SHARON VORPAHL          STORE 019                  SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/20/2018               $37.06
SHARON WILKINSON        412 KEUNE ST.                                                                  SEYMOUR             WI           54165                                  SUPPLIERS OR VENDORS       11/12/2018               $71.99
SHARON WILSON           531 MCKINLEY                                                                   OMRO                WI           54963                                  SUPPLIERS OR VENDORS       11/26/2018               $56.00
SHARONNA HOUCHIN        580 S 470 E                #4                                                  SPRINGVILLE         UT           84663                                  SUPPLIERS OR VENDORS       11/28/2018               $10.00
SHARYN BERG             EAST 8910 110TH AVE                                                            MONDOVI             WI           54755                                  SUPPLIERS OR VENDORS       10/25/2018               $10.56
SHARYN BERG             EAST 8910 110TH AVE                                                            MONDOVI             WI           54755                                  SUPPLIERS OR VENDORS       11/26/2018               $42.24
SHASTA COUNTY DEPT OF   ENVIRONMENTAL HEALTH       1855 PLACER STREET
RESOURCE MGMT           DIVISION                   SUITE 201                                           REDDING             CA           96001                                  SUPPLIERS OR VENDORS       10/26/2018              $136.11
SHASTA COUNTY TAX
COLLECTOR               1450 COURT ST #227                                                             REDDING             CA           96001                                  SALES & USE TAX             12/5/2018           $79,252.34
SHAUN PETITJEAN         1256 CROWN COURT                                                               DE PERE             WI           54115                                  SUPPLIERS OR VENDORS       11/28/2018               $22.40
SHAUN WARDELL           5722 TECUMSEH AVE                                                              MONONA              WI           53716                                  SUPPLIERS OR VENDORS       12/10/2018               $20.00
SHAUNA LOGHRY           3900 W 2ND APT 1                                                               NORTH PLATTE        NE           69101                                  SUPPLIERS OR VENDORS       10/26/2018                $2.00
SHAUNA LOGHRY           3900 W 2ND APT 1                                                               NORTH PLATTE        NE           69101                                  SUPPLIERS OR VENDORS       10/26/2018                $2.00
SHAWN BEAMAN            15850 AHTANUM RD.                                                              YAKIMA              WA           98903                                  SUPPLIERS OR VENDORS        12/7/2018                $3.00
SHAWN BROWN             2379 JORDAN MEADOWS LN                                                         WEST JORDAN         UT           84084                                  SUPPLIERS OR VENDORS        11/5/2018               $36.00
SHAWN CARPENTER         3217 BEOLIT NEWARK RD                                                          BELOIT              WI           53511                                  SUPPLIERS OR VENDORS       11/26/2018               $10.25
SHAWN FISCHER           618 LEE AVE                                                                    BRILLION            WI           54110                                  SUPPLIERS OR VENDORS       10/31/2018               $10.00
SHAWN MCVEY             404 SOUTH MAIN                                                                 AVON                IL           61415                                  SUPPLIERS OR VENDORS        12/7/2018               $23.00
SHAWN WARD              6758 CO. RD. A                                                                 AMHERST             WI           54406                                  SUPPLIERS OR VENDORS       12/20/2018               $45.00
SHAWN WILLBORN          1014 7TH AVE                                                                   MONROE              WI           53566                                  SUPPLIERS OR VENDORS       11/30/2018               $35.00
SHAWNA ROHAN            130 MAIZE ST, APT. 3                                                           CLINTONVILLE        WI           54929                                  SUPPLIERS OR VENDORS        11/1/2018               $25.00
SHAWNA SMITH            2537 MAPLE GROVE DR.                                                           NEENAH              WI           54956                                  SUPPLIERS OR VENDORS       11/28/2018               $40.00
SHAY SCRIBNER           3910 MULLAN RD APT 202                                                         MISSOULA            MT           59808                                  SUPPLIERS OR VENDORS       12/20/2018               $18.00
SHAYLA JARVIS           1208 KERN AVE                                                                  RICE LAKE           WI           54868                                  SUPPLIERS OR VENDORS        11/7/2018               $25.00
SHAYNA FOX              STORE 039                  SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/15/2018               $49.60
SHEARY PUMPHREY         STORE 586                  SHOPKO EMPLOYEE          1401 STATE STREET          PHILLIPSBURG        KS           67661                                  SUPPLIERS OR VENDORS        11/9/2018              $461.99
SHEENA BURKUM           W811 OAK RD                                                                    ABBOTSFORD          WI           54405                                  SUPPLIERS OR VENDORS       11/26/2018               $26.00
SHEILA GRAFF            601 EAST MAIN                                                                  HOSMER              SD           57448                                  SUPPLIERS OR VENDORS       11/12/2018               $55.98
SHEILA GRAFF            601 EAST MAIN                                                                  HOSMER              SD           57448                                  SUPPLIERS OR VENDORS       11/16/2018               $14.00
SHEILA HAMILTON         STORE 704                  SHOPKO EMPLOYEE          1300 STONE STREET          FALLS CITY          NE           68355                                  SUPPLIERS OR VENDORS       10/19/2018              $381.09
SHEILA JORGENSON        STORE 2-528                SHOPKO EMPLOYEE          148 MAIN STREET            ROUNDUP             MT           59072                                  SUPPLIERS OR VENDORS        11/8/2018              $333.54
SHEILA JORGENSON        STORE 2-528                SHOPKO EMPLOYEE          148 MAIN STREET            ROUNDUP             MT           59072                                  SUPPLIERS OR VENDORS       11/15/2018              $111.18
SHEILA MOORE            966 200TH ST                                                                   TRIMONT             MN           56176                                  SUPPLIERS OR VENDORS       10/26/2018               $23.00
SHEILA O'CONNOR         826 N 16THS ST                                                                 BILLINGS            MT           59101                                  SUPPLIERS OR VENDORS       11/12/2018               $45.00
SHEILA SCHLEEPER        STORE 2-142                SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/15/2018               $73.03
SHEILA SPRAGUE          925 W. 5TH ST.                                                                 REDFIELD            SD           57469                                  SUPPLIERS OR VENDORS       10/19/2018               $12.16
SHEILA SPRAGUE          925 W. 5TH ST.                                                                 REDFIELD            SD           57469                                  SUPPLIERS OR VENDORS       10/22/2018               $48.64
SHEILA STAHL            83456 HWY 121                                                                  BATTLECREEK         NE           68715                                  SUPPLIERS OR VENDORS       11/28/2018               $23.73



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                                                                                                                                                                                 Reasons for payment or    Dates of     Total Amount or
       Creditor Name              Address1                 Address2                  Address3                  City             State       Zip              Country                    transfer          Payments            Value
SHEILA STAHL            83456 HWY 121                                                                  BATTLECREEK         NE           68715                                  SUPPLIERS OR VENDORS         12/5/2018              $109.47
SHEILA STALBOERGER      6603 M RD                                                                      ESCANABA            MI           49829                                  SUPPLIERS OR VENDORS         11/9/2018               $42.00
SHELBA RHODE            N7445 LOOP LAKE RD                                                             CRIVITZ             WI           54114                                  SUPPLIERS OR VENDORS        11/14/2018              $269.98
SHELBY COUNTY
CONVERSATION BOARD      516 MAPLE RD                                                                   HARLAN              IA           51537                                  SUPPLIERS OR VENDORS       11/26/2018                $5.26
SHELBY PAM LIMITED      527 MARQUETTE AVE SUITE
PARTNERSHIP             1915                                                                           MINNEAPOLIS         MN           55402-0000                             SUPPLIERS OR VENDORS        11/1/2018           $16,334.00
SHELBY PAM LIMITED      527 MARQUETTE AVE SUITE
PARTNERSHIP             1915                                                                           MINNEAPOLIS         MN           55402-0000                             SUPPLIERS OR VENDORS        12/1/2018           $16,334.00
SHELBY TAPIA            818 4TH STREET W.                                                              WABASHA             MN           55981                                  SUPPLIERS OR VENDORS       11/28/2018               $23.00
SHELBY TAPIA            818 4TH STREET W.                                                              WABASHA             MN           55981                                  SUPPLIERS OR VENDORS       11/28/2018               $23.00
SHELDON VIELIE          STORE 2-027                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/26/2018              $164.59
SHELDON VIELIE          STORE 2-027                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/9/2018              $404.39
SHELDON VIELIE          STORE 2-027                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/16/2018              $329.57
SHELDON VIELIE          STORE 2-027                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/30/2018              $310.66
SHELDON VIELIE          STORE 2-027                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/14/2018              $713.41
SHELDON VIELIE          STORE 2-027                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/15/2018               $88.84
SHELDON VIELIE          STORE 2-027                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        1/15/2019            $1,013.71
SHELLY BISHOP           2308 OAKWOOD AVE                                                               GREEN BAY           WI           54301                                  SUPPLIERS OR VENDORS       10/22/2018               $59.00
SHELLY MARIK            STORE 041                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/22/2018               $29.99
SHELLY MARIK            STORE 041                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/29/2018              $104.81
SHELLY TURNER           STORE 2-215                  SHOPKO EMPLOYEE        100 COUNTY ROAD B          SHAWANO             WI           54166-7072                             SUPPLIERS OR VENDORS        11/8/2018              $111.28
SHELLY TURNER           STORE 2-215                  SHOPKO EMPLOYEE        100 COUNTY ROAD B          SHAWANO             WI           54166-7072                             SUPPLIERS OR VENDORS        12/6/2018              $146.59
SHELTERLOGIC CORP       PO BOX 844304                                                                  BOSTON              MA           02284-4304                             SUPPLIERS OR VENDORS        11/2/2018            $6,776.50
SHELTERLOGIC CORP       PO BOX 844304                                                                  BOSTON              MA           02284-4304                             SUPPLIERS OR VENDORS        11/6/2018            $6,309.00
SHELTERLOGIC CORP       PO BOX 844304                                                                  BOSTON              MA           02284-4304                             SUPPLIERS OR VENDORS        11/9/2018            $1,944.00
SHELTERLOGIC CORP       PO BOX 844304                                                                  BOSTON              MA           02284-4304                             SUPPLIERS OR VENDORS       11/13/2018           $55,182.75
SHELTERLOGIC CORP       PO BOX 844304                                                                  BOSTON              MA           02284-4304                             SUPPLIERS OR VENDORS       11/16/2018            $5,426.50
SHELTERLOGIC CORP       PO BOX 844304                                                                  BOSTON              MA           02284-4304                             SUPPLIERS OR VENDORS       11/23/2018            $1,888.50
SHELTERLOGIC CORP       PO BOX 844304                                                                  BOSTON              MA           02284-4304                             SUPPLIERS OR VENDORS       11/30/2018            $1,030.50
SHELTERLOGIC CORP       PO BOX 844304                                                                  BOSTON              MA           02284-4304                             SUPPLIERS OR VENDORS        12/4/2018            $6,323.70
                                                     1121 NORTH FIFTH
SHEPHERDS LANDSCAPING   CHARLIE SHEPHERD             STREET                                            SAVANNA             IL           61074                                  SUPPLIERS OR VENDORS        11/9/2018              $400.00
SHERAJUM MONIRA         1632 NE VALLEY RD APT Q11                                                      PULLMAN             WA           99163                                  SUPPLIERS OR VENDORS       11/26/2018                $7.01
SHERI LOUGHNEY          6 WHITETAIL DRIVE                                                              ROBERTS             MT           59070                                  SUPPLIERS OR VENDORS       12/13/2018               $35.00
SHERI PAULOS            STORE 2-108                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/1/2018               $30.52
SHERI PAULOS            STORE 2-108                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/8/2018               $15.26
SHERI PAULOS            STORE 2-108                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/15/2018               $15.26
SHERI PAULOS            STORE 2-108                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/22/2018               $15.26
SHERI PAULOS            STORE 2-108                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/20/2018               $45.78
SHERI PAULOS            STORE 2-108                  SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/27/2018               $15.26
SHERI SCHNEIDER         849 STONY BROOK LN                                                             GREEN BAY           WI           54304                                  SUPPLIERS OR VENDORS        12/3/2018               $10.00
                        2404 EAST HAMILTON AVE APT
SHERI THOMPSON          2                                                                              EAU CLAIRE          WI           54701                                  SUPPLIERS OR VENDORS       10/23/2018              $199.97

SHERI WANHALA-PAULSEN   345 MADELINE LN                                                                LITTLE SUAMICO      WI           54141                                  SUPPLIERS OR VENDORS       12/14/2018               $34.00
SHERIANNE PAGE          213 S VICTORY ST.                                                              FALL CREEK          WI           54742                                  SUPPLIERS OR VENDORS       12/14/2018               $10.56
SHERIDAN COUNTY
TREASURER               100 W LAUREL AVENUE                                                            PLENTYWOOD          MT           54254-1699                             SUPPLIERS OR VENDORS       11/26/2018            $4,048.79
SHERLYN RODRIGUEZ       652 S. CENTER                                                                  BEAVER DAM          WI           53916                                  SUPPLIERS OR VENDORS        11/5/2018               $30.00
SHERRI DAY              APPAREL                      SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/18/2018            $1,734.64
SHERRI DAY              APPAREL                      SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/22/2018            $1,536.34
SHERRI DAY              APPAREL                      SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/6/2018            $1,061.15
SHERRI DESSELL          3272 LIBBY LANE                                                                GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS       10/31/2018               $59.00



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      Creditor Name                Address1                  Address2                Address3                 City              State       Zip              Country                    transfer          Payments            Value
SHERRI SEITZ            205 S SUMMIT ST                                                                ALBANY              WI           53502                                  SUPPLIERS OR VENDORS        11/26/2018               $30.00
SHERRI SIMS             4216 N. 25TH ST                                                                MILWAUKEE           WI           53209                                  SUPPLIERS OR VENDORS        10/24/2018               $30.00
SHERRIE HAGENOW         6448 ASPEN DR                                                                  SOBIESKI            WI           54171                                  SUPPLIERS OR VENDORS        11/30/2018               $25.00
SHERRIE SCHULTZ         2823 39TH STREET                                                               TWO RIVERS          WI           54241                                  SUPPLIERS OR VENDORS        11/16/2018               $42.00
SHERRILLE HARI          PO BOX 12243                                                                   SALEM               OR           97309                                  SUPPLIERS OR VENDORS        11/16/2018               $29.00
SHERRY CHRIST           609 RANKS ST                                                                   IRON MOUNTAIN       MI           49802                                  SUPPLIERS OR VENDORS         11/5/2018                $9.76
SHERRY FOLKERTS         PO BOX 58                                                                      STANTON             IA           51573                                  SUPPLIERS OR VENDORS         12/3/2018               $60.00
SHERRY GRACYALNY        13808 W STATE HWY 81                                                           BRODHEAD            WI           53520                                  SUPPLIERS OR VENDORS        11/14/2018               $25.00
SHERRY HICKS            910 MAPLE ST                                                                   BELVIDERE           IL           61008                                  SUPPLIERS OR VENDORS        11/16/2018               $46.08
SHERRY HONE             STORE 088                   SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/13/2018               $23.11
SHERRY IRVING           106 STARRY AVENUE                                                              MONONA              WI           53716                                  SUPPLIERS OR VENDORS        12/21/2018               $63.00
SHERRY JONES            POB 6767                                                                       BEND                OR           97708                                  SUPPLIERS OR VENDORS        11/16/2018               $40.00
SHERRY KURTZ            909 DECLARKE ST                                                                BEAVER DAM          WI           53916                                  SUPPLIERS OR VENDORS        11/26/2018               $30.00
SHERRY SMITH            21 HILL BROTHERS RD                                                            CLANCY              MT           59634                                  SUPPLIERS OR VENDORS        11/16/2018               $88.00
SHERRY WINCHESTER       1689 W MAIN CIRCLE UNIT 4                                                      DEPERE              WI           54115                                  SUPPLIERS OR VENDORS        10/29/2018               $25.00
SHI VANG                1505 E COOLAGE AVE                                                             APPLETON            WI           54915                                  SUPPLIERS OR VENDORS        10/26/2018               $44.98

SHIMANO AMERICAN CORP   PO BOX 513830                                                                  LOS ANGELES         CA           90051-3830                             SUPPLIERS OR VENDORS       10/26/2018            $4,626.72

SHIMANO AMERICAN CORP   PO BOX 513830                                                                  LOS ANGELES         CA           90051-3830                             SUPPLIERS OR VENDORS       11/16/2018              $871.92
                                                                                                                                                                               PURCHASE OF
SHIN CREST PTE          NO 33, CHENG KONG STREET    MING-HSIUNG              IND ZONE                  CHIA-YI                                       TAIWAN                    MERCHANDISE                10/30/2018           $55,867.81
                                                                                                                                                                               PURCHASE OF
SHIN CREST PTE          NO 33, CHENG KONG STREET    MING-HSIUNG              IND ZONE                  CHIA-YI                                       TAIWAN                    MERCHANDISE                11/26/2018           $37,245.21
SHIRLEE FLOOD           3407 SOUTH BEDFORD                                                             SIOUX FALLS         SD           57103                                  SUPPLIERS OR VENDORS       11/26/2018               $48.00
SHIRLEY BLOCK           505 MAPLE AVE.                                                                 OAKES               ND           58474                                  SUPPLIERS OR VENDORS       11/26/2018               $60.80
SHIRLEY BOWMAN          40792 247TH ST                                                                 MITCHELL            SD           57301                                  SUPPLIERS OR VENDORS        12/7/2018               $44.80
SHIRLEY BUCKLAND        2385 17TH ST.                                                                  CLARKSTON           WA           99403                                  SUPPLIERS OR VENDORS        11/1/2018               $12.80
SHIRLEY BUTTERS         533 BEN NICHOLS ROAD                                                           FENCE               WI           54120                                  SUPPLIERS OR VENDORS        11/1/2018                $9.76
SHIRLEY BUTTERS         533 BEN NICHOLS ROAD                                                           FENCE               WI           54120                                  SUPPLIERS OR VENDORS       11/26/2018               $39.04
SHIRLEY DOAN            HARBOR HOUSE (TABITHA)      6100 S 34TH                                        LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS       11/26/2018               $11.98
SHIRLEY GEE             134 WEST 50 SOUTH                                                              RUPERT              ID           83350                                  SUPPLIERS OR VENDORS        11/2/2018               $10.00
SHIRLEY GOSSMANN        2019 20TH AVE NW                                                               ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       10/24/2018               $38.68
SHIRLEY GOSSMANN        2019 20TH AVE NW                                                               ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       11/15/2018                $8.32
SHIRLEY GREEN           2436 LAUREL AVE                                                                OMAHA               NE           68111                                  SUPPLIERS OR VENDORS       10/22/2018               $42.00
SHIRLEY HAHN            19360 52ND AVE.                                                                CHIPPEWA FALLS      WI           54729                                  SUPPLIERS OR VENDORS       10/24/2018               $42.24
SHIRLEY HAHN            19360 52ND AVE.                                                                CHIPPEWA FALLS      WI           54729                                  SUPPLIERS OR VENDORS        11/7/2018               $23.76
SHIRLEY KOCH            5205 HOEFT AVE.                                                                ABBOTSFORD          WI           54405                                  SUPPLIERS OR VENDORS        11/2/2018               $32.00
SHIRLEY KUCHTA          56291 871ST RD                                                                 RANDOLPH            NE           68771                                  SUPPLIERS OR VENDORS       11/29/2018               $53.54
SHIRLEY LANGHORST       412 S. 3RD ST.                                                                 HOWELLS             NE           68641                                  SUPPLIERS OR VENDORS       11/26/2018               $53.08
SHIRLEY MCLEOD          1513 SUNSET DR.                                                                WALLA WALLA         WA           99362                                  SUPPLIERS OR VENDORS       10/24/2018               $54.40
SHIRLEY MCSILVERS       3289 16TH ST                                                                   SPRINGFIELD         OR           97477                                  SUPPLIERS OR VENDORS       11/28/2018               $55.00
SHIRLEY PINGOLT         939 8TH AVE                                                                    GRAFTON             WI           53024                                  SUPPLIERS OR VENDORS        11/1/2018               $10.44
SHIRLEY PRESNELL        PO BOX 555                                                                     CRAIGMONT           ID           83523                                  SUPPLIERS OR VENDORS       10/19/2018               $26.40
SHIRLEY PRESNELL        PO BOX 555                                                                     CRAIGMONT           ID           83523                                  SUPPLIERS OR VENDORS        12/3/2018               $28.60
SHIRLEY ROTH            116 SUNSET DRIVE                                                               THOMPSON            IA           50478                                  SUPPLIERS OR VENDORS        12/3/2018               $12.00
SHIRLEY SCHAAF          521 25TH STREET                                                                CHETEK              WI           54728                                  SUPPLIERS OR VENDORS       11/29/2018               $44.80
SHIRLEY SCHOLZ          1720 TIMOTHY CIRCLE                                                            CRETE               NE           68333                                  SUPPLIERS OR VENDORS       11/28/2018                $3.87
SHIRLEY TEPOEL          41763 261 AVE                                                                  HUMPHREY            NE           68642                                  SUPPLIERS OR VENDORS       11/29/2018               $67.76
SHIRLEY THOMASON        18710 MARKET ST.            BOX 21                                             SPRAGUE             NE           68438                                  SUPPLIERS OR VENDORS       10/24/2018               $11.98
SHIRLEY VELMER          14173 WADAGA RD                                                                BARAGA              MI           49908                                  SUPPLIERS OR VENDORS       10/26/2018                $6.50
SHIRLEY WULFF           2176 1ST DRIVE                                                                 WESTFIELD           WI           53964                                  SUPPLIERS OR VENDORS       11/26/2018               $42.24
SHIRLEY WULFF           2176 1ST DRIVE                                                                 WESTFIELD           WI           53964                                  SUPPLIERS OR VENDORS       11/28/2018               $10.56
SHOCK DOCTOR            EB147                       PO BOX 1691                                        MINNEAPOLIS         MN           55480-1691                             SUPPLIERS OR VENDORS       10/18/2018              $505.00



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                                                                                                                                                                          Reasons for payment or      Dates of     Total Amount or
      Creditor Name             Address1            Address2                  Address3                City               State       Zip              Country                    transfer            Payments            Value
SHOCK DOCTOR          EB147                   PO BOX 1691                                       MINNEAPOLIS         MN           55480-1691                             SUPPLIERS OR VENDORS          10/25/2018            $3,459.00
SHOCK DOCTOR          EB147                   PO BOX 1691                                       MINNEAPOLIS         MN           55480-1691                             SUPPLIERS OR VENDORS           11/1/2018           $17,860.60
SHOCK DOCTOR          EB147                   PO BOX 1691                                       MINNEAPOLIS         MN           55480-1691                             SUPPLIERS OR VENDORS           11/8/2018            $4,760.18
                      PAYLESS SHOESOURCE
SHOE SOURCING INC     INCORPORATED            PO BOX 535523                                     ATLANTA             GA           30353-5523                             SUPPLIERS OR VENDORS         10/18/2018          $557,774.65
                      PAYLESS SHOESOURCE
SHOE SOURCING INC     INCORPORATED            PO BOX 535523                                     ATLANTA             GA           30353-5523                             SUPPLIERS OR VENDORS         10/25/2018          $525,619.18
                      PAYLESS SHOESOURCE
SHOE SOURCING INC     INCORPORATED            PO BOX 535523                                     ATLANTA             GA           30353-5523                             SUPPLIERS OR VENDORS         10/26/2018           $63,156.39
                      PAYLESS SHOESOURCE
SHOE SOURCING INC     INCORPORATED            PO BOX 535523                                     ATLANTA             GA           30353-5523                             SUPPLIERS OR VENDORS          11/1/2018          $511,760.69
                      PAYLESS SHOESOURCE
SHOE SOURCING INC     INCORPORATED            PO BOX 535523                                     ATLANTA             GA           30353-5523                             SUPPLIERS OR VENDORS          11/8/2018          $438,963.14
                      PAYLESS SHOESOURCE
SHOE SOURCING INC     INCORPORATED            PO BOX 535523                                     ATLANTA             GA           30353-5523                             SUPPLIERS OR VENDORS         11/15/2018          $543,555.32
                      PAYLESS SHOESOURCE
SHOE SOURCING INC     INCORPORATED            PO BOX 535523                                     ATLANTA             GA           30353-5523                             SUPPLIERS OR VENDORS         11/27/2018          $109,986.71
                      PAYLESS SHOESOURCE
SHOE SOURCING INC     INCORPORATED            PO BOX 535523                                     ATLANTA             GA           30353-5523                             SUPPLIERS OR VENDORS         11/29/2018        $1,003,900.76
                      PAYLESS SHOESOURCE
SHOE SOURCING INC     INCORPORATED            PO BOX 535523                                     ATLANTA             GA           30353-5523                             SUPPLIERS OR VENDORS         11/30/2018           $30,653.69
                      PAYLESS SHOESOURCE
SHOE SOURCING INC     INCORPORATED            PO BOX 535523                                     ATLANTA             GA           30353-5523                             SUPPLIERS OR VENDORS          12/6/2018          $478,947.71
                      PAYLESS SHOESOURCE
SHOE SOURCING INC     INCORPORATED            PO BOX 535523                                     ATLANTA             GA           30353-5523                             SUPPLIERS OR VENDORS         12/14/2018          $709,406.90
                      PAYLESS SHOESOURCE
SHOE SOURCING INC     INCORPORATED            PO BOX 535523                                     ATLANTA             GA           30353-5523                             SUPPLIERS OR VENDORS         12/20/2018          $701,427.78
SHONA STROHMAYER      258 EAST 4TH ST.                                                          WINONA              MN           55987                                  SUPPLIERS OR VENDORS         11/12/2018               $23.00
SHOPKO 112            3101 MONTANA AVE                                                          HELENA              MT           59601                                  SUPPLIERS OR VENDORS         10/23/2018               $51.93

                                                                                                                                                                        SKO 3rd Party collection
SHOPKO EYECARE 4002   301 BAYPARK SQUARE                                                        GREEN BAY           WI           54304                                  refunded to Optical Center   11/28/2018               $46.60

                                                                                                                                                                        SKO 3rd Party collection
SHOPKO EYECARE 4003   3415 CALUMET AVENUE                                                       MANITOWOC           WI           54220                                  refunded to Optical Center    11/6/2018                $5.70

                                                                                                                                                                        SKO 3rd Party collection
SHOPKO EYECARE 4007   4344 MORMON COULEE RD                                                     LA CROSSE           WI           54601                                  refunded to Optical Center    11/6/2018              $134.05

                                                                                                                                                                        SKO 3rd Party collection
SHOPKO EYECARE 4008   1105 E GRAND AVE                                                          ROTHSCHILD          WI           54474                                  refunded to Optical Center   11/28/2018              $489.53

                                                                                                                                                                        SKO 3rd Party collection
SHOPKO EYECARE 4011   500 S CARPENTER AVE                                                       KINGSFORD           MI           49802                                  refunded to Optical Center   10/30/2018               $41.00

                                                                                                                                                                        SKO 3rd Party collection
SHOPKO EYECARE 4011   500 S CARPENTER AVE                                                       KINGSFORD           MI           49802                                  refunded to Optical Center   11/13/2018               $96.94

                                                                                                                                                                        SKO 3rd Party collection
SHOPKO EYECARE 4025   120 SUSAN DR                                                              MARSHALL            MN           56258                                  refunded to Optical Center   11/30/2018               $29.34

                                                                                                                                                                        SKO 3rd Party collection
SHOPKO EYECARE 4030   2500 E US HWY 14                                                          JANESVILLE          WI           53545                                  refunded to Optical Center   11/13/2018               $25.00




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                                                                                                                                                                      Reasons for payment or      Dates of    Total Amount or
     Creditor Name              Address1        Address2                  Address3                 City              State       Zip              Country                    transfer            Payments           Value

                                                                                                                                                                    SKO 3rd Party collection
SHOPKO EYECARE 4030   2500 E US HWY 14                                                      JANESVILLE          WI           53545                                  refunded to Optical Center   12/11/2018             $25.00

                                                                                                                                                                    SKO 3rd Party collection
SHOPKO EYECARE 4035   2820 HIGHWAY 63 S                                                     ROCHESTER           MN           55904                                  refunded to Optical Center    11/6/2018             $65.18

                                                                                                                                                                    SKO 3rd Party collection
SHOPKO EYECARE 4049   500 N HWY 281                                                         ABERDEEN            SD           57401                                  refunded to Optical Center   10/23/2018             $76.00

                                                                                                                                                                    SKO 3rd Party collection
SHOPKO EYECARE 4049   500 N HWY 281                                                         ABERDEEN            SD           57401                                  refunded to Optical Center   11/13/2018             $69.98

                                                                                                                                                                    SKO 3rd Party collection
SHOPKO EYECARE 4051   1425 JANESVILLE AVE                                                   FT ATKINSON         WI           53538                                  refunded to Optical Center   12/11/2018             $25.00

                                                                                                                                                                    SKO 3rd Party collection
SHOPKO EYECARE 4052   615 S MONROE AVE                                                      MASON CITY          IA           50401                                  refunded to Optical Center   10/30/2018            $718.00

                                                                                                                                                                    SKO 3rd Party collection
SHOPKO EYECARE 4072   2120 THAIN GRADE                                                      LEWISTON            ID           83501                                  refunded to Optical Center    12/7/2018            $160.00

                                                                                                                                                                    SKO 3rd Party collection
SHOPKO EYECARE 4078   1845 HAINES AVE                                                       RAPID CITY          SD           57701                                  refunded to Optical Center    12/7/2018            $499.97

                                                                                                                                                                    SKO 3rd Party collection
SHOPKO EYECARE 4079   200 S 18TH AVE                                                        WAUSAU              WI           54401                                  refunded to Optical Center   10/30/2018            $399.94

                                                                                                                                                                    SKO 3rd Party collection
SHOPKO EYECARE 4079   200 S 18TH AVE                                                        WAUSAU              WI           54401                                  refunded to Optical Center   11/13/2018            $681.87

                                                                                                                                                                    SKO 3rd Party collection
SHOPKO EYECARE 4079   200 S 18TH AVE                                                        WAUSAU              WI           54401                                  refunded to Optical Center   11/26/2018            $257.52

                                                                                                                                                                    SKO 3rd Party collection
SHOPKO EYECARE 4079   200 S 18TH AVE                                                        WAUSAU              WI           54401                                  refunded to Optical Center    12/4/2018            $125.98

                                                                                                                                                                    SKO 3rd Party collection
SHOPKO EYECARE 4081   5801 SUMMIT VIEW AVE                                                  YAKIMA              WA           98908                                  refunded to Optical Center   11/28/2018            $114.96

                                                                                                                                                                    SKO 3rd Party collection
SHOPKO EYECARE 4089   1651 W ROSE ST                                                        WALLA WALLA         WA           99362                                  refunded to Optical Center   10/23/2018            $626.02

                                                                                                                                                                    SKO 3rd Party collection
SHOPKO EYECARE 4089   1651 W ROSE ST                                                        WALLA WALLA         WA           99362                                  refunded to Optical Center    11/6/2018            $273.98

                                                                                                                                                                    SKO 3rd Party collection
SHOPKO EYECARE 4089   1651 W ROSE ST                                                        WALLA WALLA         WA           99362                                  refunded to Optical Center   11/13/2018            $563.98

                                                                                                                                                                    SKO 3rd Party collection
SHOPKO EYECARE 4089   1651 W ROSE ST                                                        WALLA WALLA         WA           99362                                  refunded to Optical Center   11/26/2018            $109.98

                                                                                                                                                                    SKO 3rd Party collection
SHOPKO EYECARE 4089   1651 W ROSE ST                                                        WALLA WALLA         WA           99362                                  refunded to Optical Center   11/26/2018            $109.98



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                                                                                                                                                                                  Reasons for payment or      Dates of    Total Amount or
      Creditor Name                Address1                 Address2                  Address3                 City              State       Zip              Country                    transfer            Payments           Value

                                                                                                                                                                                SKO 3rd Party collection
SHOPKO EYECARE 4089      1651 W ROSE ST                                                                 WALLA WALLA         WA           99362                                  refunded to Optical Center   11/28/2018            $269.96

                                                                                                                                                                                SKO 3rd Party collection
SHOPKO EYECARE 4092      867 N COLUMBIA CENTER BLVD                                                     KENNEWICK           WA           99336                                  refunded to Optical Center   11/28/2018            $322.35

                                                                                                                                                                                SKO 3rd Party collection
SHOPKO EYECARE 4105      125 S STATE ST                                                                 OREM                UT           84058                                  refunded to Optical Center   12/18/2018             $63.00

                                                                                                                                                                                SKO 3rd Party collection
SHOPKO EYECARE 4108      955 N MAIN ST                                                                  SPANISH FORK        UT           84660                                  refunded to Optical Center   10/23/2018            $189.00

                                                                                                                                                                                SKO 3rd Party collection
SHOPKO EYECARE 4108      955 N MAIN ST                                                                  SPANISH FORK        UT           84660                                  refunded to Optical Center   12/18/2018             $88.00

                                                                                                                                                                                SKO 3rd Party collection
SHOPKO EYECARE 4120      405 W 8TH ST                                                                   MONROE              WI           53566                                  refunded to Optical Center   11/28/2018             $75.00

                                                                                                                                                                                SKO 3rd Party collection
SHOPKO EYECARE 4122      1340 N WENATCHEE AVE                                                           WENATCHEE           WA           98801                                  refunded to Optical Center   10/23/2018            $200.00

                                                                                                                                                                                SKO 3rd Party collection
SHOPKO EYECARE 4122      1340 N WENATCHEE AVE                                                           WENATCHEE           WA           98801                                  refunded to Optical Center   11/13/2018            $176.29

                                                                                                                                                                                SKO 3rd Party collection
SHOPKO EYECARE 4129      4515 S REGAL ST                                                                SPOKANE             WA           99223                                  refunded to Optical Center   12/13/2018             $77.35

                                                                                                                                                                                SKO 3rd Party collection
SHOPKO EYECARE 4130      1777 PAULSON RD                                                                RIVER FALLS         WI           54022                                  refunded to Optical Center   10/23/2018             $50.00

                                                                                                                                                                                SKO 3rd Party collection
SHOPKO EYECARE 4132      320 S ACCESS RD                                                                RICE LAKE           WI           54868                                  refunded to Optical Center   10/30/2018             $95.00

                                                                                                                                                                                SKO 3rd Party collection
SHOPKO EYECARE 4132      320 S ACCESS RD                                                                RICE LAKE           WI           54868                                  refunded to Optical Center    11/6/2018             $70.00

                                                                                                                                                                                SKO 3rd Party collection
SHOPKO EYECARE 4134      1450 S GRAND AVE                                                               PULLMAN             WA           99163                                  refunded to Optical Center   11/26/2018            $450.00

                                                                                                                                                                                SKO 3rd Party collection
SHOPKO EYECARE 4134      1450 S GRAND AVE                                                               PULLMAN             WA           99163                                  refunded to Optical Center    12/7/2018             $91.98

                                                                                                                                                                                SKO 3rd Party collection
SHOPKO EYECARE 4140      1964 WEST MORTON AVE                                                           JACKSONVILLE        IL           62650                                  refunded to Optical Center   10/23/2018            $336.00
SHOPKO FOUNDATION        KAYSHA LUKAS                 700 PILGRIM WAY                                   GREEN BAY           WI           54304                                  SUPPLIERS OR VENDORS         12/21/2018         $57,627.92
SHOPKO OPTICAL 4-069     217 W IRONWOOD DRIVE                                                           COEUR D ALENE       ID           83814-2651                             SUPPLIERS OR VENDORS         10/24/2018            $200.00
SHOPKO OPTICAL 4-069     217 W IRONWOOD DRIVE                                                           COEUR D ALENE       ID           83814-2651                             SUPPLIERS OR VENDORS         11/14/2018            $484.45
SHOPKO OPTICAL 4-078     1845 HAINES AVENUE                                                             RAPID CITY          SD           57701                                  SUPPLIERS OR VENDORS          12/7/2018            $174.97
SHOPKO OPTICAL 4089      1651 W ROSE ST                                                                 WALLA WALLA         WA           99362                                  SUPPLIERS OR VENDORS         10/22/2018             $58.13
SHOPKO OPTICAL 4-607     1010 SOUTH MAINLINE DR                                                         SEYMOUR             WI           54165                                  SUPPLIERS OR VENDORS          12/7/2018             $95.98
                         C/O MANAGEMENT               2221 S WEBSTER AVE
SHOPKO WEST ASSOCIATES   ENTERPRISES                  STE 111                                           GREEN BAY           WI           54301                                  SUPPLIERS OR VENDORS          11/1/2018         $18,600.00




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      Creditor Name                Address1                    Address2                Address3                 City              State       Zip              Country                   transfer          Payments            Value
                         C/O MANAGEMENT                2221 S WEBSTER AVE
SHOPKO WEST ASSOCIATES   ENTERPRISES                   STE 111                                           GREEN BAY           WI           54301                                  SUPPLIERS OR VENDORS       12/1/2018          $18,600.00
SHOPS AT FOX RUN LLC     1204 14TH STREET SW                                                             SIDNEY              MT           59270-5410                             SUPPLIERS OR VENDORS       11/1/2018           $2,706.50
SHOPS AT FOX RUN LLC     1204 14TH STREET SW                                                             SIDNEY              MT           59270-5410                             SUPPLIERS OR VENDORS       12/1/2018           $2,706.50
SHRED IT USA             28883 NETWORK PLACE                                                             CHICAGO             IL           60673-1288                             SUPPLIERS OR VENDORS      11/15/2018          $27,154.96
SHRINE CIRCUS            1015 MEMORIAL WAY                                                               FORT WAYNE          IN           46805                                  SUPPLIERS OR VENDORS      11/27/2018             $100.00

SHS BUILDING             5141 NORTH 40TH ST                                                              PHOENIX             AZ           85018                                  LANDLORD RENT PAYMENT        1/4/2019         $66,601.28
                                                       5141 NORTH 40TH
SHS BUILDING LLC         SAMUEL FAMILY HOLDING LLC     STREET SUITE 500                                  PHOENIX             AZ           85018                                  SUPPLIERS OR VENDORS       11/1/2018          $58,243.65
                                                       5141 NORTH 40TH
SHS BUILDING LLC         SAMUEL FAMILY HOLDING LLC     STREET SUITE 500                                  PHOENIX             AZ           85018                                  SUPPLIERS OR VENDORS       11/1/2018          $66,601.28
                                                       5141 NORTH 40TH
SHS BUILDING LLC         SAMUEL FAMILY HOLDING LLC     STREET SUITE 500                                  PHOENIX             AZ           85018                                  SUPPLIERS OR VENDORS       12/4/2018          $58,243.65
                                                       5141 NORTH 40TH
SHS BUILDING LLC         SAMUEL FAMILY HOLDING LLC     STREET SUITE 500                                  PHOENIX             AZ           85018                                  SUPPLIERS OR VENDORS       12/4/2018          $66,601.28
SIDNEY CHAMBER OF
COMMERCE                 909 S CENTRAL AVE                                                               SIDNEY              MT           59270                                  SUPPLIERS OR VENDORS      12/14/2018            $1,000.00
SIDNEY JAIL              300 12TH AVE NW                                                                 SIDNEY              MT           59270                                  SUPPLIERS OR VENDORS      12/10/2018               $74.70
SIDNEY PITT              1650 YOUNG ST.                                                                  NAUVOO              IL           62354                                  SUPPLIERS OR VENDORS      12/11/2018               $12.00
SIDNEY WILLIAMS          STORE 751                     SHOPKO EMPLOYEE        1712 SD HWY 10             SISSETON            SD           57262                                  SUPPLIERS OR VENDORS      10/19/2018              $218.41
SIDNEY WILLIAMS          STORE 751                     SHOPKO EMPLOYEE        1712 SD HWY 10             SISSETON            SD           57262                                  SUPPLIERS OR VENDORS      10/26/2018              $250.91
SIDNEY WILLIAMS          STORE 751                     SHOPKO EMPLOYEE        1712 SD HWY 10             SISSETON            SD           57262                                  SUPPLIERS OR VENDORS       11/2/2018              $204.03
SIDNEY WILLIAMS          STORE 751                     SHOPKO EMPLOYEE        1712 SD HWY 10             SISSETON            SD           57262                                  SUPPLIERS OR VENDORS       11/9/2018              $301.49
SIDNEY WINKELBAUER       1409 MONTANA AVE                                                                GLADSTONE           MI           49837                                  SUPPLIERS OR VENDORS       12/7/2018               $74.96
SIENNA INTERNATIONAL     UNIT 306, 3RD FLOOAR, TOWER                                                                                                                             PURCHASE OF
(H.K.)                   2                             HARBOUR CENTRE          8 HOK CHEUNG STREET       HUNG HOM            KOWLOON                   HONG KONG                 MERCHANDISE               12/26/2018          $29,545.87
SIGIFREDO RODRIGUEZ      652 S CENTER ST                                                                 BEAVER DAM          WI      53916                                       SUPPLIERS OR VENDORS       11/5/2018              $30.00
                         SHOPKO STORES
SIGMA PHARMACEUTICALS    INCORPORATED                  PO BOX 19060                                      GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/18/2018              $24.07
SIGN LANGUAGE GROUP
INCORPORATED             1478 KENWOOD DRIVE                                                              MENASHA             WI           54952                                  SUPPLIERS OR VENDORS      11/15/2018             $167.60
SIGNATURE BRANDS LLC     PO BOX 198391                                                                   ATLANTA             GA           30384-8391                             SUPPLIERS OR VENDORS      10/30/2018           $3,352.92
SIGNATURE BRANDS LLC     PO BOX 198391                                                                   ATLANTA             GA           30384-8391                             SUPPLIERS OR VENDORS       11/2/2018          $32,526.87
SIGNATURE BRANDS LLC     PO BOX 198391                                                                   ATLANTA             GA           30384-8391                             SUPPLIERS OR VENDORS      11/16/2018          $15,640.80
SIGNATURE LAWN CARE      JON M COUGHLIN                N3830 RIVER ROAD                                  COLUMBUS            WI           53925                                  SUPPLIERS OR VENDORS       11/1/2018             $283.75
SIGNATURE LAWN CARE      JON M COUGHLIN                N3830 RIVER ROAD                                  COLUMBUS            WI           53925                                  SUPPLIERS OR VENDORS      12/17/2018             $283.75
SIGNET ARMORLITE
INCORPORATED             PO BOX 3309                                                                     CAROL STREAM        IL           60132-3309                             SUPPLIERS OR VENDORS      10/18/2018              $14.94
SIGNET ARMORLITE
INCORPORATED             PO BOX 3309                                                                     CAROL STREAM        IL           60132-3309                             SUPPLIERS OR VENDORS      10/25/2018              $20.43
SIGNET ARMORLITE
INCORPORATED             PO BOX 3309                                                                     CAROL STREAM        IL           60132-3309                             SUPPLIERS OR VENDORS       11/1/2018              $27.90
SIGNET ARMORLITE
INCORPORATED             PO BOX 3309                                                                     CAROL STREAM        IL           60132-3309                             SUPPLIERS OR VENDORS       11/8/2018              $22.41
SIGNET ARMORLITE
INCORPORATED             PO BOX 3309                                                                     CAROL STREAM        IL           60132-3309                             SUPPLIERS OR VENDORS      11/15/2018              $56.54
SIGNET ARMORLITE
INCORPORATED             PO BOX 3309                                                                     CAROL STREAM        IL           60132-3309                             SUPPLIERS OR VENDORS      11/22/2018              $29.88
SIGNET ARMORLITE
INCORPORATED             PO BOX 3309                                                                     CAROL STREAM        IL           60132-3309                             SUPPLIERS OR VENDORS      11/29/2018              $14.94
SIGNET ARMORLITE
INCORPORATED             PO BOX 3309                                                                     CAROL STREAM        IL           60132-3309                             SUPPLIERS OR VENDORS      12/13/2018              $14.94




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                                                                                                                                                                          Reasons for payment or    Dates of    Total Amount or
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SIGNET ARMORLITE
INCORPORATED             PO BOX 3309                                                             CAROL STREAM         IL           60132-3309                            SUPPLIERS OR VENDORS      12/14/2018             $27.14
SIGNET ARMORLITE
INCORPORATED             PO BOX 3309                                                             CAROL STREAM         IL           60132-3309                            SUPPLIERS OR VENDORS      12/20/2018               $7.47
SIGNET ARMORLITE
INCORPORATED             PO BOX 3309                                                             CAROL STREAM         IL           60132-3309                            SUPPLIERS OR VENDORS      12/21/2018             $14.94
SIGNET ARMORLITE
INCORPORATED             PO BOX 3309                                                             CAROL STREAM         IL           60132-3309                            SUPPLIERS OR VENDORS      12/27/2018               $7.47
SILVER D RENTALS         PAUL ROSALES          508 S ELM                                         ULYSSES              KS           67880                                 SUPPLIERS OR VENDORS      10/18/2018              $34.00
SILVER LEAD COMPANY      1115 CENTER STREET                                                      LANSING              MI           48906                                 SUPPLIERS OR VENDORS      10/19/2018           $1,699.50
SILVER LEAD COMPANY      1115 CENTER STREET                                                      LANSING              MI           48906                                 SUPPLIERS OR VENDORS      10/26/2018             $439.87
SILVER LEAD COMPANY      1115 CENTER STREET                                                      LANSING              MI           48906                                 SUPPLIERS OR VENDORS       11/2/2018              $59.28
SILVER LEAD COMPANY      1115 CENTER STREET                                                      LANSING              MI           48906                                 SUPPLIERS OR VENDORS       11/9/2018           $3,166.66
SILVER LEAD COMPANY      1115 CENTER STREET                                                      LANSING              MI           48906                                 SUPPLIERS OR VENDORS      11/16/2018             $771.55
SILVER LEAD COMPANY      1115 CENTER STREET                                                      LANSING              MI           48906                                 SUPPLIERS OR VENDORS      11/30/2018           $1,329.89
SIMON RASHO              STORE 2-047           SHOPKO EMPLOYEE                                   GREEN BAY            WI           54307-9060                            SUPPLIERS OR VENDORS      10/19/2018             $247.03
SIMON RASHO              STORE 2-047           SHOPKO EMPLOYEE                                   GREEN BAY            WI           54307-9060                            SUPPLIERS OR VENDORS      10/26/2018             $373.13
SIMON RASHO              STORE 2-047           SHOPKO EMPLOYEE                                   GREEN BAY            WI           54307-9060                            SUPPLIERS OR VENDORS       11/2/2018             $371.60
SIMON RASHO              STORE 2-047           SHOPKO EMPLOYEE                                   GREEN BAY            WI           54307-9060                            SUPPLIERS OR VENDORS       11/9/2018             $247.03
SIMON RASHO              STORE 2-047           SHOPKO EMPLOYEE                                   GREEN BAY            WI           54307-9060                            SUPPLIERS OR VENDORS      11/16/2018             $349.13
SIMON RASHO              STORE 2-047           SHOPKO EMPLOYEE                                   GREEN BAY            WI           54307-9060                            SUPPLIERS OR VENDORS      11/27/2018             $385.06
SIMON RASHO              STORE 2-047           SHOPKO EMPLOYEE                                   GREEN BAY            WI           54307-9060                            SUPPLIERS OR VENDORS      12/11/2018             $138.03
SIMON RASHO              STORE 2-047           SHOPKO EMPLOYEE                                   GREEN BAY            WI           54307-9060                            SUPPLIERS OR VENDORS      12/14/2018             $138.03
SIMON RASHO              STORE 2-047           SHOPKO EMPLOYEE                                   GREEN BAY            WI           54307-9060                            SUPPLIERS OR VENDORS      12/29/2018             $138.03
SIMON TREJO              325 JOHNSON ST                                                          AMERICAN FALLS       ID           83211                                 SUPPLIERS OR VENDORS       12/7/2018              $34.60
SIMPLOT                  DIANA STACY           PO BOX 27                                         BOISE                ID           83702                                 SUPPLIERS OR VENDORS       11/8/2018             $223.86

SINGER SEWING COMPANY    DEPT AT 952745                                                          ATLANTA              GA           31192-2745                            SUPPLIERS OR VENDORS      10/18/2018           $2,907.69

SINGER SEWING COMPANY    DEPT AT 952745                                                          ATLANTA              GA           31192-2745                            SUPPLIERS OR VENDORS      10/25/2018            $303.00

SINGER SEWING COMPANY    DEPT AT 952745                                                          ATLANTA              GA           31192-2745                            SUPPLIERS OR VENDORS       11/8/2018            $707.00

SINGER SEWING COMPANY    DEPT AT 952745                                                          ATLANTA              GA           31192-2745                            SUPPLIERS OR VENDORS      11/15/2018           $4,471.12

SINGER SEWING COMPANY    DEPT AT 952745                                                          ATLANTA              GA           31192-2745                            SUPPLIERS OR VENDORS      11/22/2018           $5,135.00

SINGER SEWING COMPANY    DEPT AT 952745                                                          ATLANTA              GA           31192-2745                            SUPPLIERS OR VENDORS      11/29/2018           $2,726.00
SINGSONG INTERNATIONAL   67 YEOUINARU-RO                                                                                                                                 PURCHASE OF
TRADE                    YEONGDEUNGPO-GU                                                         SEOUL                             150-923      SOUTH KOREA              MERCHANDISE               12/18/2018        $130,656.68
SINGSONG INTERNATIONAL                                                                                                                                                   PURCHASE OF
TRADE                    67 YEOUINARU-RO       YEONGDEUNG-PO GU                                  Seoul                                          South Korea              MERCHANDISE               12/26/2018         $16,790.72
SIOUXLAND FORKLIFT
LIMITED                  1110 N CLIFF AVENUE                                                     SIOUX FALLS          SD           57103                                 SUPPLIERS OR VENDORS       11/1/2018            $127.90
SIRIUS COMPUTER
SOLUTIONS                PO BOX 202289                                                           DALLAS               TX           75320-2289                            SUPPLIERS OR VENDORS       11/1/2018         $13,836.35
SIRIUS COMPUTER
SOLUTIONS                PO BOX 202289                                                           DALLAS               TX           75320-2289                            SUPPLIERS OR VENDORS       11/8/2018           $5,443.81
SIRIUS COMPUTER
SOLUTIONS                PO BOX 202289                                                           DALLAS               TX           75320-2289                            SUPPLIERS OR VENDORS      11/15/2018            $453.65
SIRIUS COMPUTER
SOLUTIONS                PO BOX 202289                                                           DALLAS               TX           75320-2289                            SUPPLIERS OR VENDORS      11/29/2018           $9,526.67
SISCO BENEFITS BERNER
FOODS                    RECOVERY REFUND       800 MAIN ST            PO BOX 389                 DUBUQUE              IA           52403                                 SUPPLIERS OR VENDORS      10/19/2018            $183.97



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SISLERS DAIRY PRODUCTS
COMPANY INC                102 S GROVE                BOX 128                PAM TO ORACLE              OHIO                IL           61349                                  SUPPLIERS OR VENDORS      12/20/2018             $62.65
SITE BOX STORAGE           PO BOX 733895                                                                DALLAS              TX           75391-3895                             SUPPLIERS OR VENDORS       11/2/2018            $135.63
SITE BOX STORAGE           PO BOX 733895                                                                DALLAS              TX           75391-3895                             SUPPLIERS OR VENDORS      12/18/2018            $135.63
SITE BOX STORAGE           PO BOX 733895                                                                DALLAS              TX           75391-3895                             SUPPLIERS OR VENDORS        1/5/2019            $135.63
SIXTEENTH STREET
DEVELOPMENT                1705 STARDANCE CIRCLE                                                        LONGMONT            CO           80504                                  SUPPLIERS OR VENDORS      11/15/2018         $15,921.00
SIXTEENTH STREET
DEVELOPMENT                1705 STARDANCE CIRCLE                                                        LONGMONT            CO           80504                                  SUPPLIERS OR VENDORS      12/19/2018         $15,921.00
SKECHERS USA                                          225 SEPULVEDA                                     MANHATTAN
INCORPORATED               VICE PRESIDENT OF SALES    BOULEVARD                                         BEACH               CA           90266                                  SUPPLIERS OR VENDORS      10/19/2018           $5,328.48
SKECHERS USA                                          225 SEPULVEDA                                     MANHATTAN
INCORPORATED               VICE PRESIDENT OF SALES    BOULEVARD                                         BEACH               CA           90266                                  SUPPLIERS OR VENDORS      10/25/2018        $133,226.90
SKECHERS USA                                          225 SEPULVEDA                                     MANHATTAN
INCORPORATED               VICE PRESIDENT OF SALES    BOULEVARD                                         BEACH               CA           90266                                  SUPPLIERS OR VENDORS      10/27/2018        $125,318.28
SKECHERS USA                                          225 SEPULVEDA                                     MANHATTAN
INCORPORATED               VICE PRESIDENT OF SALES    BOULEVARD                                         BEACH               CA           90266                                  SUPPLIERS OR VENDORS      10/31/2018         $15,054.62
SKECHERS USA                                          225 SEPULVEDA                                     MANHATTAN
INCORPORATED               VICE PRESIDENT OF SALES    BOULEVARD                                         BEACH               CA           90266                                  SUPPLIERS OR VENDORS       11/2/2018           $9,096.92
SKECHERS USA                                          225 SEPULVEDA                                     MANHATTAN
INCORPORATED               VICE PRESIDENT OF SALES    BOULEVARD                                         BEACH               CA           90266                                  SUPPLIERS OR VENDORS       11/3/2018         $20,349.00
SKECHERS USA                                          225 SEPULVEDA                                     MANHATTAN
INCORPORATED               VICE PRESIDENT OF SALES    BOULEVARD                                         BEACH               CA           90266                                  SUPPLIERS OR VENDORS       11/7/2018         $73,087.20
SKECHERS USA                                          225 SEPULVEDA                                     MANHATTAN
INCORPORATED               VICE PRESIDENT OF SALES    BOULEVARD                                         BEACH               CA           90266                                  SUPPLIERS OR VENDORS       11/8/2018        $190,188.00
SKECHERS USA                                          225 SEPULVEDA                                     MANHATTAN
INCORPORATED               VICE PRESIDENT OF SALES    BOULEVARD                                         BEACH               CA           90266                                  SUPPLIERS OR VENDORS      11/10/2018        $121,378.12
SKECHERS USA                                          225 SEPULVEDA                                     MANHATTAN
INCORPORATED               VICE PRESIDENT OF SALES    BOULEVARD                                         BEACH               CA           90266                                  SUPPLIERS OR VENDORS      11/17/2018         $18,018.76
SKECHERS USA                                          225 SEPULVEDA                                     MANHATTAN
INCORPORATED               VICE PRESIDENT OF SALES    BOULEVARD                                         BEACH               CA           90266                                  SUPPLIERS OR VENDORS      11/24/2018         $89,947.36
SKECHERS USA                                          225 SEPULVEDA                                     MANHATTAN
INCORPORATED               VICE PRESIDENT OF SALES    BOULEVARD                                         BEACH               CA           90266                                  SUPPLIERS OR VENDORS      11/28/2018           $6,029.16
SKECHERS USA                                          225 SEPULVEDA                                     MANHATTAN
INCORPORATED               VICE PRESIDENT OF SALES    BOULEVARD                                         BEACH               CA           90266                                  SUPPLIERS OR VENDORS      11/29/2018         $11,801.76
SKECHERS USA                                          225 SEPULVEDA                                     MANHATTAN
INCORPORATED               VICE PRESIDENT OF SALES    BOULEVARD                                         BEACH               CA           90266                                  SUPPLIERS OR VENDORS       12/1/2018        $135,967.74
SKECHERS USA                                          225 SEPULVEDA                                     MANHATTAN
INCORPORATED               VICE PRESIDENT OF SALES    BOULEVARD                                         BEACH               CA           90266                                  SUPPLIERS OR VENDORS       12/5/2018         $79,293.70
SKECHERS USA                                          225 SEPULVEDA                                     MANHATTAN
INCORPORATED               VICE PRESIDENT OF SALES    BOULEVARD                                         BEACH               CA           90266                                  SUPPLIERS OR VENDORS      12/19/2018         $58,860.12
SKECHERS USA                                          225 SEPULVEDA                                     MANHATTAN
INCORPORATED               VICE PRESIDENT OF SALES    BOULEVARD                                         BEACH               CA           90266                                  SUPPLIERS OR VENDORS      12/21/2018           $8,070.32
SKECHERS USA                                          225 SEPULVEDA                                     MANHATTAN
INCORPORATED               VICE PRESIDENT OF SALES    BOULEVARD                                         BEACH               CA           90266                                  SUPPLIERS OR VENDORS      12/22/2018         $21,948.72
SKECHERS USA                                          225 SEPULVEDA                                     MANHATTAN
INCORPORATED               VICE PRESIDENT OF SALES    BOULEVARD                                         BEACH               CA           90266                                  SUPPLIERS OR VENDORS      12/28/2018         $24,479.28
SKHT TOMAHAWK LLC          HDP WHITEHALL LLC          83 SOUTH STREET                                   MORRISTOWN          NJ           07960                                  SUPPLIERS OR VENDORS      11/10/2018         $25,932.56
SKHT TOMAHAWK LLC          HDP WHITEHALL LLC          83 SOUTH STREET                                   MORRISTOWN          NJ           07960                                  SUPPLIERS OR VENDORS      12/12/2018         $25,932.56
SKINKIS LAWN & LANDSCAPE
LLC                        DAVID SKINKIS              W2359 STATE HWY 156                               PULASKI             WI           54162                                  SUPPLIERS OR VENDORS       11/1/2018            $315.00
SKULLCANDY
INCORPORATED               ATTN ACCOUNTS RECEIVABLE   PO BOX 677974                                     DALLAS              TX           75267-7974                             SUPPLIERS OR VENDORS      10/18/2018            $209.44




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SKULLCANDY
INCORPORATED             ATTN ACCOUNTS RECEIVABLE    PO BOX 677974                                      DALLAS              TX           75267-7974                             SUPPLIERS OR VENDORS      10/25/2018            $210.33
SKULLCANDY
INCORPORATED             ATTN ACCOUNTS RECEIVABLE    PO BOX 677974                                      DALLAS              TX           75267-7974                             SUPPLIERS OR VENDORS      11/22/2018         $36,687.65
SKULLCANDY
INCORPORATED             ATTN ACCOUNTS RECEIVABLE    PO BOX 677974                                      DALLAS              TX           75267-7974                             SUPPLIERS OR VENDORS      11/29/2018         $45,523.98
SKYE GOODE               W7266 POERTNER RD                                                              NEILLSVILLE         WI           54456                                  SUPPLIERS OR VENDORS       11/8/2018             $50.00
SKYLAR PECK              401 DELANEY DR.                                                                JACKSONVILLE        IL           62650                                  SUPPLIERS OR VENDORS      11/16/2018             $29.00
SKYLAR THIRY             N11175 CTY RD 577                                                              DAGGETT             MI           49821                                  SUPPLIERS OR VENDORS      10/22/2018             $20.00
SKYLAR ULM               1153 BOUGHTON ST 23B                                                           WATERTOWN           WI           53094                                  SUPPLIERS OR VENDORS      11/12/2018             $50.00
                         77 NORTH CENTRE AVE SUITE
SKYLINE PRODUCTS INC     305                                                                            ROCKVILLE CENTRE NY              11570-0000                             SUPPLIERS OR VENDORS      10/18/2018           $1,123.28
                         77 NORTH CENTRE AVE SUITE
SKYLINE PRODUCTS INC     305                                                                            ROCKVILLE CENTRE NY              11570-0000                             SUPPLIERS OR VENDORS      11/22/2018            $300.82
                         77 NORTH CENTRE AVE SUITE
SKYLINE PRODUCTS INC     305                                                                            ROCKVILLE CENTRE NY              11570-0000                             SUPPLIERS OR VENDORS      11/29/2018          $1,342.08
SLALOM LLC               DBA SLALOM CONSULTING       PO BOX 101416                                      PASADENA         CA              91189-1416                             SUPPLIERS OR VENDORS      11/29/2018        $238,174.76
SLALOM LLC               DBA SLALOM CONSULTING       PO BOX 101416                                      PASADENA         CA              91189-1416                             SUPPLIERS OR VENDORS      12/17/2018         $97,691.29
SLEEP INNOVATIONS
LIMITED                  200 Schulz Dr.              2nd Floor                                          Red Bank            NJ           07701                                  SUPPLIERS OR VENDORS      10/19/2018           $2,165.50
SLEEP INNOVATIONS
LIMITED                  200 Schulz Dr.              2nd Floor                                          Red Bank            NJ           07701                                  SUPPLIERS OR VENDORS      10/26/2018           $2,734.58
SLEEP INNOVATIONS
LIMITED                  200 Schulz Dr.              2nd Floor                                          Red Bank            NJ           07701                                  SUPPLIERS OR VENDORS       11/2/2018           $1,693.62
SLEEP INNOVATIONS
LIMITED                  200 Schulz Dr.              2nd Floor                                          Red Bank            NJ           07701                                  SUPPLIERS OR VENDORS       11/9/2018            $889.46
SLEEP INNOVATIONS
LIMITED                  200 Schulz Dr.              2nd Floor                                          Red Bank            NJ           07701                                  SUPPLIERS OR VENDORS      11/16/2018           $3,852.34
SLEEP INNOVATIONS
LIMITED                  200 Schulz Dr.              2nd Floor                                          Red Bank            NJ           07701                                  SUPPLIERS OR VENDORS      11/30/2018           $4,132.42
SLIM CHICKENS            ATTN TIFFANY WELDON         4101 CARNEGIE PLACE                                SIOUX FALLS         SD           57106                                  SUPPLIERS OR VENDORS      11/13/2018             $412.71
SMALL WORLD TRADING CO
INC                      90 WINDWARD WAY                                                                SAN RAPHAEL         CA           94901                                  SUPPLIERS OR VENDORS      10/18/2018           $1,524.26
SMALL WORLD TRADING CO
INC                      90 WINDWARD WAY                                                                SAN RAPHAEL         CA           94901                                  SUPPLIERS OR VENDORS      10/25/2018           $3,216.04
SMALL WORLD TRADING CO
INC                      90 WINDWARD WAY                                                                SAN RAPHAEL         CA           94901                                  SUPPLIERS OR VENDORS       11/1/2018           $1,579.56
SMALL WORLD TRADING CO
INC                      90 WINDWARD WAY                                                                SAN RAPHAEL         CA           94901                                  SUPPLIERS OR VENDORS      11/15/2018           $1,349.31
SMART LAWNS
LANDSCAPING & HAULING
INC                      803 S PERRY STREET                                                             ATTICA              IN           47918                                  SUPPLIERS OR VENDORS      10/18/2018            $120.00
SMART LAWNS
LANDSCAPING & HAULING
INC                      803 S PERRY STREET                                                             ATTICA              IN           47918                                  SUPPLIERS OR VENDORS       11/9/2018            $120.00

SMART PLANET             9035 INDEPENDENCE AVENUE                                                       CANOGA PARK         CA           91304-0000                             SUPPLIERS OR VENDORS      10/18/2018             $80.80

SMART PLANET             9035 INDEPENDENCE AVENUE                                                       CANOGA PARK         CA           91304-0000                             SUPPLIERS OR VENDORS      10/25/2018            $100.00

SMART PLANET             9035 INDEPENDENCE AVENUE                                                       CANOGA PARK         CA           91304-0000                             SUPPLIERS OR VENDORS       11/1/2018            $440.00

SMART PLANET             9035 INDEPENDENCE AVENUE                                                       CANOGA PARK         CA           91304-0000                             SUPPLIERS OR VENDORS       11/8/2018             $80.00




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SMART PLANET               9035 INDEPENDENCE AVENUE                                                        CANOGA PARK         CA           91304-0000                             SUPPLIERS OR VENDORS      11/22/2018            $900.00
SMISKEY LAWN CARE LLC      19174 65TH AVENUE                                                               CHIPPEWA FALLS      WI           54729                                  SUPPLIERS OR VENDORS      10/19/2018            $126.60
SMISKEY LAWN CARE LLC      19174 65TH AVENUE                                                               CHIPPEWA FALLS      WI           54729                                  SUPPLIERS OR VENDORS      11/30/2018             $63.30

SMITH BROTHERS LEASING     2151 CASS ROAD                                                                  TRAVERSE CITY       MI           49684                                  SUPPLIERS OR VENDORS      12/17/2018            $280.00
SMITHFIELD FOODS LLC       2616 COLLECTION CTR DR                                                          CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      11/22/2018         $31,407.53
SMITHFIELD FOODS LLC       2616 COLLECTION CTR DR                                                          CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      11/23/2018          $8,833.43
SMITHFIELD FOODS LLC       2616 COLLECTION CTR DR                                                          CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      11/26/2018          $2,016.35
SMITHFIELD FOODS LLC       2616 COLLECTION CTR DR                                                          CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      11/27/2018          $3,053.22
SMITHFIELD FOODS LLC       2616 COLLECTION CTR DR                                                          CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       12/4/2018          $2,147.56
SMITHFIELD FOODS LLC       2616 COLLECTION CTR DR                                                          CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      12/20/2018         $21,928.75
SMITHFIELD FOODS LLC       2616 COLLECTION CTR DR                                                          CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      12/21/2018          $1,082.38
SMITHFIELD FOODS LLC       2616 COLLECTION CTR DR                                                          CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      12/27/2018          $1,075.14
SMITHLIN MCINTIRE &        C/O BLACK REALTY
YOUNG                      MANAGEMENT INC               SUITE 600               107 S HOWARD               SPOKANE             WA           99201                                  SUPPLIERS OR VENDORS       11/1/2018         $70,572.25
SMITHLIN MCINTIRE &        C/O BLACK REALTY
YOUNG                      MANAGEMENT INC               SUITE 600               107 S HOWARD               SPOKANE             WA           99201                                  SUPPLIERS OR VENDORS       12/4/2018         $70,572.25
SMT LITTLEFIELD PARTNERS
LTD                        8235 DOUGLAS AVE SUITE 815                                                      DALLAS              TX           75225                                  SUPPLIERS OR VENDORS      11/10/2018           $5,172.94
SMT LITTLEFIELD PARTNERS
LTD                        8235 DOUGLAS AVE SUITE 815                                                      DALLAS              TX           75225                                  SUPPLIERS OR VENDORS       12/8/2018           $5,172.94
SMTA SHOPKO PORTFOLIO I    2727 N HARWOOD STREET
LLC                        SUITE 300                                                                       DALLAS              TX           75201                                  LANDLORD RENT PAYMENT     12/17/2018       $3,486,686.42
SNACK IT FORWARD LLC       FSW FUNDING                  PO BOX 467                                         DES MOINES          IA           50302-0000                             SUPPLIERS OR VENDORS      10/18/2018           $1,780.04
                           32978 COLLECTIONS CENTER
SNAGAJOB.COM INC           DRIVE                                                                           CHICAGO             IL           60693-0329                             SUPPLIERS OR VENDORS      11/15/2018           $6,750.00
                           32978 COLLECTIONS CENTER
SNAGAJOB.COM INC           DRIVE                                                                           CHICAGO             IL           60693-0329                             SUPPLIERS OR VENDORS      11/29/2018           $6,750.00
SNOW JOE LLC               WELLS FARGO NA               PO BOX 842665                                      BOSTON              MA           02284-2665                             SUPPLIERS OR VENDORS      10/18/2018               $6.54
SNOWY MOUNTAIN ICE         208 9TH AVENUE NORTH         PAM TO ORACLE                                      LEWISTOWN           MT           59457                                  SUPPLIERS OR VENDORS      10/18/2018              $89.70
SOBEL WESTEX DBA BALTIC
LINEN                      2670 W WESTERN AVE                                                              LAS VEGAS           NV           89109                                  SUPPLIERS OR VENDORS       11/1/2018         $58,915.87
SOBEL WESTEX DBA BALTIC
LINEN                      2670 W WESTERN AVE                                                              LAS VEGAS           NV           89109                                  SUPPLIERS OR VENDORS       11/8/2018        $163,656.16
SOBEL WESTEX DBA BALTIC
LINEN                      2670 W WESTERN AVE                                                              LAS VEGAS           NV           89109                                  SUPPLIERS OR VENDORS      11/15/2018        $105,340.72
SOBEL WESTEX DBA BALTIC
LINEN                      2670 W WESTERN AVE                                                              LAS VEGAS           NV           89109                                  SUPPLIERS OR VENDORS      11/22/2018         $20,693.96
SOBEL WESTEX DBA BALTIC
LINEN                      2670 W WESTERN AVE                                                              LAS VEGAS           NV           89109                                  SUPPLIERS OR VENDORS      11/29/2018        $141,217.95
SOBEL WESTEX DBA BALTIC
LINEN                      2670 W WESTERN AVE                                                              LAS VEGAS           NV           89109                                  SUPPLIERS OR VENDORS      11/29/2018        $145,375.82
SOFIA BUSCH                STORE 2-706                  SHOPKO EMPLOYEE         115 LEROUX DRIVE           DONIPHAN            MO           63935                                  SUPPLIERS OR VENDORS      11/22/2018             $28.89
SOFT AIR USA INC           DEPT 41647                   PO BOX 650823                                      DALLAS              TX           75265-0000                             SUPPLIERS OR VENDORS      10/18/2018          $4,014.95
SOFT AIR USA INC           DEPT 41647                   PO BOX 650823                                      DALLAS              TX           75265-0000                             SUPPLIERS OR VENDORS      10/25/2018          $2,715.29
SOFT AIR USA INC           DEPT 41647                   PO BOX 650823                                      DALLAS              TX           75265-0000                             SUPPLIERS OR VENDORS       11/1/2018         $25,941.99
SOFT AIR USA INC           DEPT 41647                   PO BOX 650823                                      DALLAS              TX           75265-0000                             SUPPLIERS OR VENDORS       11/8/2018         $13,036.12
SOFT AIR USA INC           DEPT 41647                   PO BOX 650823                                      DALLAS              TX           75265-0000                             SUPPLIERS OR VENDORS      11/15/2018          $3,339.16
SOFT AIR USA INC           DEPT 41647                   PO BOX 650823                                      DALLAS              TX           75265-0000                             SUPPLIERS OR VENDORS      11/22/2018          $1,344.64
SOFTBALL INC EASTON        32835 COLLECTION CENTER
BASEBALL                   DRIVE                                                                           CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      10/18/2018           $1,540.72
SOFTBALL INC EASTON        32835 COLLECTION CENTER
BASEBALL                   DRIVE                                                                           CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      10/18/2018           $4,112.37



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                                                                                                                                                                               Reasons for payment or    Dates of    Total Amount or
      Creditor Name               Address1                Address2                  Address3                   City            State       Zip              Country                   transfer          Payments           Value
SOFTBALL INC EASTON     32835 COLLECTION CENTER
BASEBALL                DRIVE                                                                         CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      10/25/2018           $4,722.90
SOFTBALL INC EASTON     32835 COLLECTION CENTER
BASEBALL                DRIVE                                                                         CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS       11/1/2018           $3,991.95
SOFTBALL INC EASTON     32835 COLLECTION CENTER
BASEBALL                DRIVE                                                                         CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS       11/8/2018           $2,888.88
SOFTBALL INC EASTON     32835 COLLECTION CENTER
BASEBALL                DRIVE                                                                         CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      11/15/2018           $3,199.16
SOFTBALL INC EASTON     32835 COLLECTION CENTER
BASEBALL                DRIVE                                                                         CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      11/22/2018           $3,000.55
SOFTBALL INC EASTON     32835 COLLECTION CENTER
BASEBALL                DRIVE                                                                         CHICAGO             IL           60693-0000                             SUPPLIERS OR VENDORS      11/29/2018           $3,221.34
SOHO CORPORATION        3120 W LAKE AVENUE                                                            GLENVIEW            IL           60025-1294                             SUPPLIERS OR VENDORS      10/26/2018             $266.32
SOHO CORPORATION        3120 W LAKE AVENUE                                                            GLENVIEW            IL           60025-1294                             SUPPLIERS OR VENDORS       11/2/2018              $63.00
SOHO CORPORATION        3120 W LAKE AVENUE                                                            GLENVIEW            IL           60025-1294                             SUPPLIERS OR VENDORS      11/30/2018             $719.78
SOL HETTINGER           2632 W. BROAD                                                                 SPOKANE             WA           99205                                  SUPPLIERS OR VENDORS      10/25/2018              $42.00
SOLO HORTON BRUSHES
INCORPORATED            PO BOX 478                                                                    WINSTED             CT           06098                                  SUPPLIERS OR VENDORS      11/15/2018            $178.60
SONDRA REIGLE           602 E 3RD                                                                     MADISON             NE           68748                                  SUPPLIERS OR VENDORS      10/24/2018             $53.54
SONDRA REIGLE           602 E 3RD                                                                     MADISON             NE           68748                                  SUPPLIERS OR VENDORS      10/31/2018             $13.38
SONIA BROWN             518 S 16TH ST                                                                 COEUR D ALENE       ID           83814                                  SUPPLIERS OR VENDORS      11/29/2018             $11.00
SONIA BROWN             518 S 16TH ST                                                                 COEUR D ALENE       ID           83814                                  SUPPLIERS OR VENDORS       12/3/2018            $129.96
SONJA MUSCARI           20902 92ND STREET EAST                                                        BONNEYLAKE          WA           98391                                  SUPPLIERS OR VENDORS      11/26/2018             $19.98
SONYA CZLAPINSKI        501 CASE AVE                                                                  JUNCTION CITY       WI           54443                                  SUPPLIERS OR VENDORS      12/20/2018             $40.00
                        4344 SOUTH SUNNY RIVER
SOPHIA HANDY            ROAD #935                                                                     SALT LAKE CITY      UT           84123                                  SUPPLIERS OR VENDORS      10/24/2018               $5.00
                        4344 SOUTH SUNNY RIVER
SOPHIA HANDY            ROAD #935                                                                     SALT LAKE CITY      UT           84123                                  SUPPLIERS OR VENDORS      10/24/2018             $20.00
SOPHIE DITTRICH         380 YOSEMITE RD                                                               OCONOMOWOC          WI           53066                                  SUPPLIERS OR VENDORS      11/26/2018             $30.00

SOPHIE NOWAK-MEUS       W8490 LUNDGREN LAKE ROAD                                                      PEMBINE             WI           54156                                  SUPPLIERS OR VENDORS       11/7/2018             $40.39
SOUA LEE                1505 GUNS RD                                                                  GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS      11/12/2018             $15.00
SOUTH CENTRAL PUBLIC                               1020 WASHINGTON
HEALTH DISTRICT         TWIN FALLS OFFICE          STREET NORTH                                       TWIN FALLS          ID           83301                                  SUPPLIERS OR VENDORS      10/31/2018            $125.00
SOUTH DAKOTA
DEPARTMENT OF           PLANT INDUSTRY FOSS        523 EAST CAPITAL
AGRICULTURE             BUILDING                   AVENUE                                             PIERRE              SD           57501                                  SUPPLIERS OR VENDORS       11/7/2018           $3,440.00

SOUTH DAKOTA
DEPARTMENT OF REVENUE   445 E CAPITOL AVE                                                             PIERRE              SD           57501                                  SALES & USE TAX           10/25/2018            $213.68

SOUTH DAKOTA
DEPARTMENT OF REVENUE   445 E CAPITOL AVE                                                             PIERRE              SD           57501                                  SALES & USE TAX           10/25/2018        $548,153.99

SOUTH DAKOTA
DEPARTMENT OF REVENUE   445 E CAPITOL AVE                                                             PIERRE              SD           57501                                  SALES & USE TAX           12/26/2018            $753.74

SOUTH DAKOTA
DEPARTMENT OF REVENUE 445 E CAPITOL AVE                                                               PIERRE              SD           57501                                  SALES & USE TAX           12/26/2018        $588,682.92
SOUTH DAKOTA GAME FISH
& PARKS                20641 SD HIGHWAY 1806                                                          FT PIERRE           SD           57532                                  SUPPLIERS OR VENDORS      10/24/2018            $121.00
SOUTH DAKOTA GAME FISH
& PARKS                20641 SD HIGHWAY 1806                                                          FT PIERRE           SD           57532                                  SUPPLIERS OR VENDORS       11/2/2018             $64.00




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                                                                                                                                                                               Reasons for payment or    Dates of    Total Amount or
        Creditor Name                Address1             Address2                  Address3                  City             State       Zip              Country                   transfer          Payments           Value
SOUTH DAKOTA GAME FISH
& PARKS                   20641 SD HIGHWAY 1806                                                       FT PIERRE           SD           57532                                  SUPPLIERS OR VENDORS       11/6/2018             $32.00
SOUTH DAKOTA GAME FISH
& PARKS                   20641 SD HIGHWAY 1806                                                       FT PIERRE           SD           57532                                  SUPPLIERS OR VENDORS      11/29/2018           $1,402.00
SOUTH DAKOTA GAME FISH
& PARKS                   20641 SD HIGHWAY 1806                                                       FT PIERRE           SD           57532                                  SUPPLIERS OR VENDORS      11/30/2018            $645.00
SOUTH DAKOTA GAME FISH
& PARKS                   20641 SD HIGHWAY 1806                                                       FT PIERRE           SD           57532                                  SUPPLIERS OR VENDORS      12/10/2018           $2,107.00
SOUTH DAKOTA GAME FISH
& PARKS                   20641 SD HIGHWAY 1806                                                       FT PIERRE           SD           57532                                  SUPPLIERS OR VENDORS      12/20/2018            $121.00
SOUTH DAKOTA GAME FISH
& PARKS                   20641 SD HIGHWAY 1806                                                       FT PIERRE           SD           57532                                  SUPPLIERS OR VENDORS      12/21/2018            $159.00
SOUTH DAKOTA STATE                                  UNCLAIMED PROPERTY 500 E CAPITAL AVE SUITE
TREASURERS OFFICE         LEE DEJABET               DIVISION           212                     PIERRE                     SD           57501                                  SUPPLIERS OR VENDORS      10/25/2018           $2,224.15
SOUTH DAKOTA STATE
UNIVERSITY                SCHOOL OF PHARMACY        BOX 2202C                                         BROOKINGS           SD           57007-0197                             SUPPLIERS OR VENDORS      10/26/2018           $1,000.00
SOUTH RANGE BOTTLING
WORKS                     PO BOX 9                                                                    SOUTH RANGE         MI           49963                                  SUPPLIERS OR VENDORS      10/18/2018             $99.00
SOUTH RANGE BOTTLING
WORKS                     PO BOX 9                                                                    SOUTH RANGE         MI           49963                                  SUPPLIERS OR VENDORS      10/25/2018            $507.00
SOUTH RANGE BOTTLING
WORKS                     PO BOX 9                                                                    SOUTH RANGE         MI           49963                                  SUPPLIERS OR VENDORS       11/1/2018            $645.20
SOUTH RANGE BOTTLING
WORKS                     PO BOX 9                                                                    SOUTH RANGE         MI           49963                                  SUPPLIERS OR VENDORS       11/8/2018            $734.40
SOUTH RANGE BOTTLING
WORKS                     PO BOX 9                                                                    SOUTH RANGE         MI           49963                                  SUPPLIERS OR VENDORS      11/15/2018            $366.40
SOUTH RANGE BOTTLING
WORKS                     PO BOX 9                                                                    SOUTH RANGE         MI           49963                                  SUPPLIERS OR VENDORS      11/22/2018            $255.60
SOUTH RANGE BOTTLING
WORKS                     PO BOX 9                                                                    SOUTH RANGE         MI           49963                                  SUPPLIERS OR VENDORS      11/29/2018            $111.04
SOUTH RANGE BOTTLING
WORKS                     PO BOX 9                                                                    SOUTH RANGE         MI           49963                                  SUPPLIERS OR VENDORS      12/20/2018            $380.24
SOUTH RANGE BOTTLING
WORKS                     PO BOX 9                                                                    SOUTH RANGE         MI           49963                                  SUPPLIERS OR VENDORS      12/21/2018             $99.00
SOUTH RANGE BOTTLING
WORKS                     PO BOX 9                                                                    SOUTH RANGE         MI           49963                                  SUPPLIERS OR VENDORS      12/27/2018             $95.20
SOUTH SHORE INDUSTRIES                                                                                HALLANDALE
LTD                       C/O DESJARDINS BANK NA    PO BOX 897                                        BEACH               FL           33008                                  SUPPLIERS OR VENDORS       11/8/2018            $399.50
SOUTH SHORE INDUSTRIES                                                                                HALLANDALE
LTD                       C/O DESJARDINS BANK NA    PO BOX 897                                        BEACH               FL           33008                                  SUPPLIERS OR VENDORS      11/15/2018           $1,011.25
SOUTHEASTERN IDAHO
PUBLIC HEALTH             1901 ALVIN RICKEN DRIVE                                                     POCATELLO           ID           83201                                  SUPPLIERS OR VENDORS       11/8/2018            $125.00
SOUTHERN COLLEGE OF       ATTN SCHOLARSHIP
OPTOMETRY MEMPHIS         COMMITTEE                 1245 MADISON AVENUE                               MEMPHIS             TN           38104                                  SUPPLIERS OR VENDORS      10/26/2018           $1,000.00
SOUTHERN GLAZERS WINE &
SPIRITS                   ONE GLAZERS WAY                                                             ST CHARLES          MO           63301-0000                             SUPPLIERS OR VENDORS       11/8/2018             $46.90
SOUTHERN GLAZERS WINE &
SPIRITS                   ONE GLAZERS WAY                                                             ST CHARLES          MO           63301-0000                             SUPPLIERS OR VENDORS      12/20/2018            $208.40
SOUTHERN GLAZERS WINE &
SPIRITS                   ONE GLAZERS WAY                                                             ST CHARLES          MO           63301-0000                             SUPPLIERS OR VENDORS      12/21/2018            $136.00
SOUTHERN IMPERIAL
INCORPORATED              23584 NETWORK PLACE                                                         CHICAGO             IL           60673-1235                             SUPPLIERS OR VENDORS      11/13/2018             $37.20

SPANGLER CANDY COMPANY 400 NORTH PORTLAND STREET    PO BOX 71                                         BRYAN               OH           43506                                  SUPPLIERS OR VENDORS      10/18/2018           $2,479.68



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                                                                                                                                                                                 Reasons for payment or    Dates of     Total Amount or
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SPANGLER CANDY COMPANY 400 NORTH PORTLAND STREET      PO BOX 71                                         BRYAN               OH           43506                                  SUPPLIERS OR VENDORS      10/25/2018            $2,003.29

SPANGLER CANDY COMPANY 400 NORTH PORTLAND STREET      PO BOX 71                                         BRYAN               OH           43506                                  SUPPLIERS OR VENDORS       11/1/2018          $16,955.22

SPANGLER CANDY COMPANY 400 NORTH PORTLAND STREET PO BOX 71                                              BRYAN               OH           43506                                  SUPPLIERS OR VENDORS       11/8/2018            $2,148.52
SPECIAL INTEREST GROUP
FOR IIAS STANDARD      111 DEERWOOD ROAD STE 200                                                        SAN RAMON           CA           94583                                  SUPPLIERS OR VENDORS      12/17/2018             $100.00
SPECIAL RESTAURANT     303 FORT CROOK ROAD N                                                            BELLEVUE            NE           68005                                  SUPPLIERS OR VENDORS      11/15/2018             $437.27

SPECIALTY STORE SERVICES   454 JARVIS STREET                                                            DES PLAINES         IL           60018                                  SUPPLIERS OR VENDORS      11/27/2018          $32,440.27

SPECIALTY STORE SERVICES   454 JARVIS STREET                                                            DES PLAINES         IL           60018                                  SUPPLIERS OR VENDORS      11/30/2018              $76.50

SPECIALTY STORE SERVICES   454 JARVIS STREET                                                            DES PLAINES         IL           60018                                  SUPPLIERS OR VENDORS      11/30/2018          $89,096.53

SPECIALTY STORE SERVICES   454 JARVIS STREET                                                            DES PLAINES         IL           60018                                  SUPPLIERS OR VENDORS      12/14/2018             $429.10
SPECS FOUR US
INCORPORATED               14585 E PARK STREET        PO BOX 465                                        BURTON              OH           44021                                  SUPPLIERS OR VENDORS      10/18/2018             $300.00
SPECS FOUR US
INCORPORATED               14585 E PARK STREET        PO BOX 465                                        BURTON              OH           44021                                  SUPPLIERS OR VENDORS      11/15/2018             $350.00
                           CHAIN SOLUTIONS            1002 SHERBROOKE
SPECTRUM AMERICA SUPPLY    INCORPORATED               QUEST STE 2000                                    MONTREAL            QC           H3A 3L6      CANADA                    SUPPLIERS OR VENDORS      10/23/2018         $849,918.71
                           CHAIN SOLUTIONS            1002 SHERBROOKE
SPECTRUM AMERICA SUPPLY    INCORPORATED               QUEST STE 2000                                    MONTREAL            QC           H3A 3L6      CANADA                    SUPPLIERS OR VENDORS      10/25/2018          $52,083.33
                           CHAIN SOLUTIONS            1002 SHERBROOKE
SPECTRUM AMERICA SUPPLY    INCORPORATED               QUEST STE 2000                                    MONTREAL            QC           H3A 3L6      CANADA                    SUPPLIERS OR VENDORS      10/27/2018         $587,078.44
                           CHAIN SOLUTIONS            1002 SHERBROOKE
SPECTRUM AMERICA SUPPLY    INCORPORATED               QUEST STE 2000                                    MONTREAL            QC           H3A 3L6      CANADA                    SUPPLIERS OR VENDORS      11/14/2018         $415,223.34
                           CHAIN SOLUTIONS            1002 SHERBROOKE
SPECTRUM AMERICA SUPPLY    INCORPORATED               QUEST STE 2000                                    MONTREAL            QC           H3A 3L6      CANADA                    SUPPLIERS OR VENDORS      11/16/2018         $403,095.38
                           CHAIN SOLUTIONS            1002 SHERBROOKE
SPECTRUM AMERICA SUPPLY    INCORPORATED               QUEST STE 2000                                    MONTREAL            QC           H3A 3L6      CANADA                    SUPPLIERS OR VENDORS      11/27/2018         $447,449.11
                           CHAIN SOLUTIONS            1002 SHERBROOKE
SPECTRUM AMERICA SUPPLY    INCORPORATED               QUEST STE 2000                                    MONTREAL            QC           H3A 3L6      CANADA                    SUPPLIERS OR VENDORS      11/30/2018          $62,041.16
                           CHAIN SOLUTIONS            1002 SHERBROOKE
SPECTRUM AMERICA SUPPLY    INCORPORATED               QUEST STE 2000                                    MONTREAL            QC           H3A 3L6      CANADA                    SUPPLIERS OR VENDORS      12/19/2018         $688,717.47
                           CHAIN SOLUTIONS            1002 SHERBROOKE
SPECTRUM AMERICA SUPPLY    INCORPORATED               QUEST STE 2000                                    MONTREAL            QC           H3A 3L6      CANADA                    SUPPLIERS OR VENDORS      12/22/2018         $782,320.66
                           CHAIN SOLUTIONS            1002 SHERBROOKE
SPECTRUM AMERICA SUPPLY    INCORPORATED               QUEST STE 2000                                    MONTREAL            QC           H3A 3L6      CANADA                    SUPPLIERS OR VENDORS      12/28/2018          $95,779.69
                           CHAIN SOLUTIONS            1002 SHERBROOKE
SPECTRUM AMERICA SUPPLY    INCORPORATED               QUEST STE 2000                                    MONTREAL            QC           H3A 3L6      CANADA                    SUPPLIERS OR VENDORS         1/8/2019         $45,526.84

SPECTRUM AMERICA SUPPLY 1002 SHERBROOKE WEST, SUITE
CHAIN SOLUTIONS         2000                                                                            MONTREAL            QC           H3A 3L6      CANADA                    SUPPLY CHAIN EXPENSES     11/20/2018        $1,014,167.16

SPECTRUM AMERICA SUPPLY 1002 SHERBROOKE WEST, SUITE
CHAIN SOLUTIONS         2000                                                                            MONTREAL            QC           H3A 3L6      CANADA                    SUPPLY CHAIN EXPENSES     12/31/2018         $704,953.08

SPECTRUM AMERICA SUPPLY 1002 SHERBROOKE WEST, SUITE
CHAIN SOLUTIONS         2000                                                                            MONTREAL            QC           H3A 3L6      CANADA                    SUPPLY CHAIN EXPENSES     12/31/2018         $704,953.08




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                                                                                                                                                                              Reasons for payment or    Dates of    Total Amount or
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SPECTRUM AMERICA SUPPLY 1002 SHERBROOKE WEST, SUITE
CHAIN SOLUTIONS         2000                                                                         MONTREAL            QC           H3A 3L6      CANADA                    SUPPLY CHAIN EXPENSES      1/15/2019        $612,367.14
                        7040 COLLECTION CENTER
SPECTRUM BRANDS         DRIVE                                                                        CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      10/18/2018         $94,249.59
                        7040 COLLECTION CENTER
SPECTRUM BRANDS         DRIVE                                                                        CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      10/25/2018         $62,776.10
                        7040 COLLECTION CENTER
SPECTRUM BRANDS         DRIVE                                                                        CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       11/1/2018        $236,320.45
                        7040 COLLECTION CENTER
SPECTRUM BRANDS         DRIVE                                                                        CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       11/8/2018         $17,779.13
                        7040 COLLECTION CENTER
SPECTRUM BRANDS         DRIVE                                                                        CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      11/15/2018           $2,224.48
                        7040 COLLECTION CENTER
SPECTRUM BRANDS         DRIVE                                                                        CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      11/15/2018         $88,557.16
                        7040 COLLECTION CENTER
SPECTRUM BRANDS         DRIVE                                                                        CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      11/22/2018         $37,254.63
                        7040 COLLECTION CENTER
SPECTRUM BRANDS         DRIVE                                                                        CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      11/29/2018         $37,986.93
SPECTRUM DIVERSIFIED
DESIGNS LLC             DEPT LA 24702                                                                PASADENA            CA           91185-4702                             SUPPLIERS OR VENDORS      10/18/2018           $5,046.82
SPECTRUM DIVERSIFIED
DESIGNS LLC             DEPT LA 24702                                                                PASADENA            CA           91185-4702                             SUPPLIERS OR VENDORS      10/25/2018           $2,784.52
SPECTRUM DIVERSIFIED
DESIGNS LLC             DEPT LA 24702                                                                PASADENA            CA           91185-4702                             SUPPLIERS OR VENDORS       11/1/2018         $29,812.88
SPECTRUM DIVERSIFIED
DESIGNS LLC             DEPT LA 24702                                                                PASADENA            CA           91185-4702                             SUPPLIERS OR VENDORS       11/8/2018         $23,787.93
SPECTRUM DIVERSIFIED
DESIGNS LLC             DEPT LA 24702                                                                PASADENA            CA           91185-4702                             SUPPLIERS OR VENDORS      11/15/2018         $11,810.82
SPECTRUM DIVERSIFIED
DESIGNS LLC             DEPT LA 24702                                                                PASADENA            CA           91185-4702                             SUPPLIERS OR VENDORS      11/22/2018           $4,315.82
SPECTRUM DIVERSIFIED
DESIGNS LLC             DEPT LA 24702                                                                PASADENA            CA           91185-4702                             SUPPLIERS OR VENDORS      11/29/2018           $2,682.20

SPENCER N ENTERPRISES INC PO BOX 7 4008933                                                           CHICAGO             IL           60674-8933                             SUPPLIERS OR VENDORS      10/18/2018         $38,192.07

SPENCER N ENTERPRISES INC PO BOX 7 4008933                                                           CHICAGO             IL           60674-8933                             SUPPLIERS OR VENDORS      10/25/2018         $80,446.30

SPENCER N ENTERPRISES INC PO BOX 7 4008933                                                           CHICAGO             IL           60674-8933                             SUPPLIERS OR VENDORS       11/1/2018           $5,765.40

SPENCER N ENTERPRISES INC PO BOX 7 4008933                                                           CHICAGO             IL           60674-8933                             SUPPLIERS OR VENDORS      11/15/2018         $10,137.71

SPENCER N ENTERPRISES INC PO BOX 7 4008933                                                           CHICAGO             IL           60674-8933                             SUPPLIERS OR VENDORS      11/22/2018         $22,592.89

SPENCER N ENTERPRISES INC   PO BOX 7 4008933                                                         CHICAGO             IL           60674-8933                             SUPPLIERS OR VENDORS      11/29/2018         $37,374.82
SPERIAN PROTECTION
OPTICAL INC                 PO BOX 3916                                                              BOSTON              MA           02241-3916                             SUPPLIERS OR VENDORS      10/18/2018            $153.12
SPERIAN PROTECTION
OPTICAL INC                 PO BOX 3916                                                              BOSTON              MA           02241-3916                             SUPPLIERS OR VENDORS      10/25/2018            $238.14
SPERIAN PROTECTION
OPTICAL INC                 PO BOX 3916                                                              BOSTON              MA           02241-3916                             SUPPLIERS OR VENDORS       11/1/2018               $1.74
SPERIAN PROTECTION
OPTICAL INC                 PO BOX 3916                                                              BOSTON              MA           02241-3916                             SUPPLIERS OR VENDORS       11/8/2018            $550.85




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                                                                                                                                                                                Reasons for payment or    Dates of    Total Amount or
       Creditor Name                  Address1                Address2               Address3                   City            State       Zip              Country                   transfer          Payments           Value
SPERIAN PROTECTION
OPTICAL INC               PO BOX 3916                                                                  BOSTON              MA           02241-3916                             SUPPLIERS OR VENDORS      11/22/2018            $760.79
SPERIAN PROTECTION
OPTICAL INC               PO BOX 3916                                                                  BOSTON              MA           02241-3916                             SUPPLIERS OR VENDORS      11/29/2018             $26.62
SPERIAN PROTECTION
OPTICAL INC               PO BOX 3916                                                                  BOSTON              MA           02241-3916                             SUPPLIERS OR VENDORS      12/12/2018            $247.25
SPERIAN PROTECTION
OPTICAL INC               PO BOX 3916                                                                  BOSTON              MA           02241-3916                             SUPPLIERS OR VENDORS      12/17/2018             $38.96
SPERIAN PROTECTION
OPTICAL INC               PO BOX 3916                                                                  BOSTON              MA           02241-3916                             SUPPLIERS OR VENDORS      12/21/2018            $913.15
SPERIAN PROTECTION
OPTICAL INC               PO BOX 3916                                                                  BOSTON              MA           02241-3916                             SUPPLIERS OR VENDORS      12/27/2018             $10.66
SPICY DBA TAKEOUT
SWEATERS                  850 Paterson Plank Rd                                                        Secaucus            NJ           07094                                  SUPPLIERS OR VENDORS       11/8/2018         $78,662.16
                                                     300 INTERNATIONAL
SPIN MASTER TOYS          PMB 10053                  DRIVE SUITE 100                                   WILLIAMSVILLE       NY           14221                                  SUPPLIERS OR VENDORS      10/22/2018         $77,011.07
                                                     300 INTERNATIONAL
SPIN MASTER TOYS          PMB 10053                  DRIVE SUITE 100                                   WILLIAMSVILLE       NY           14221                                  SUPPLIERS OR VENDORS      10/23/2018         $38,046.99
                                                     300 INTERNATIONAL
SPIN MASTER TOYS          PMB 10053                  DRIVE SUITE 100                                   WILLIAMSVILLE       NY           14221                                  SUPPLIERS OR VENDORS      10/24/2018           $9,156.49
                                                     300 INTERNATIONAL
SPIN MASTER TOYS          PMB 10053                  DRIVE SUITE 100                                   WILLIAMSVILLE       NY           14221                                  SUPPLIERS OR VENDORS      10/26/2018         $10,183.74
                                                     300 INTERNATIONAL
SPIN MASTER TOYS          PMB 10053                  DRIVE SUITE 100                                   WILLIAMSVILLE       NY           14221                                  SUPPLIERS OR VENDORS      10/30/2018           $1,214.00
                                                     300 INTERNATIONAL
SPIN MASTER TOYS          PMB 10053                  DRIVE SUITE 100                                   WILLIAMSVILLE       NY           14221                                  SUPPLIERS OR VENDORS       11/5/2018         $54,626.37
                                                     300 INTERNATIONAL
SPIN MASTER TOYS          PMB 10053                  DRIVE SUITE 100                                   WILLIAMSVILLE       NY           14221                                  SUPPLIERS OR VENDORS      11/12/2018         $49,747.15
                                                     300 INTERNATIONAL
SPIN MASTER TOYS          PMB 10053                  DRIVE SUITE 100                                   WILLIAMSVILLE       NY           14221                                  SUPPLIERS OR VENDORS      11/14/2018         $13,946.55
                                                     300 INTERNATIONAL
SPIN MASTER TOYS          PMB 10053                  DRIVE SUITE 100                                   WILLIAMSVILLE       NY           14221                                  SUPPLIERS OR VENDORS      11/15/2018            $921.49
                                                     300 INTERNATIONAL
SPIN MASTER TOYS          PMB 10053                  DRIVE SUITE 100                                   WILLIAMSVILLE       NY           14221                                  SUPPLIERS OR VENDORS      11/16/2018         $64,119.76
                                                     300 INTERNATIONAL
SPIN MASTER TOYS          PMB 10053                  DRIVE SUITE 100                                   WILLIAMSVILLE       NY           14221                                  SUPPLIERS OR VENDORS      12/11/2018         $26,864.84
SPINRITE LIMITED
PARTNERSHIP               VICE PRESIDENT OF SALES    BOX 40                                            LISTOWEL            ON           N4W 3H3      CANADA                    SUPPLIERS OR VENDORS      11/16/2018         $14,904.35
SPINRITE LIMITED
PARTNERSHIP                VICE PRESIDENT OF SALES   BOX 40                                            LISTOWEL            ON           N4W 3H3      CANADA                    SUPPLIERS OR VENDORS      11/30/2018         $31,144.32
                           2727 N HARWOOD STREET
SPIRIT REALTY LP FINANCING SUITE 300                                                                   DALLAS              TX           75201                                  LANDLORD RENT PAYMENT     11/15/2018       $3,534,912.02
                           2727 N HARWOOD STREET
SPIRIT REALTY LP FINANCING SUITE 300                                                                   DALLAS              TX           75201                                  LANDLORD RENT PAYMENT     12/17/2018         $48,225.60
SPIRIT REALTY MASTER       2727 N HARWOOD STREET
TRUST                      SUITE 300                                                                   DALLAS              TX           75201                                  LANDLORD RENT PAYMENT      11/1/2018         $73,189.69
SPIRIT REALTY MASTER       2727 N HARWOOD STREET
TRUST                      SUITE 300                                                                   DALLAS              TX           75201                                  LANDLORD RENT PAYMENT      12/3/2018         $73,189.69
SPODECK                    PO BOX 166                                                                  SKANDIA             MI           49885                                  SUPPLIERS OR VENDORS      10/18/2018          $1,178.50
SPODECK                    PO BOX 166                                                                  SKANDIA             MI           49885                                  SUPPLIERS OR VENDORS      11/29/2018          $1,044.00
SPOKANE VALLEY POLICE
DEPARTMENT                 12710 E SPRAGUE                                                             SPOKANE VALLEY      WA           99216                                  SUPPLIERS OR VENDORS       12/7/2018             $65.00
SPORT DIMENSION
INCORPORATED               966 SANDHILL AVENUE                                                         CARSON              CA           90746                                  SUPPLIERS OR VENDORS       11/9/2018         $50,721.97



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      Creditor Name                 Address1              Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
SPORTS LICENSING
SOLUTIONS                 PO BOX 745175                                                               ATLANTA             GA           30374                                  SUPPLIERS OR VENDORS       11/1/2018            $208.38
SPORTS LICENSING
SOLUTIONS                 PO BOX 745175                                                               ATLANTA             GA           30374                                  SUPPLIERS OR VENDORS       11/8/2018           $1,976.66
SPORTS LICENSING
SOLUTIONS                 PO BOX 745175                                                               ATLANTA             GA           30374                                  SUPPLIERS OR VENDORS      11/15/2018            $171.43
SPORTS LICENSING
SOLUTIONS                 PO BOX 745175                                                               ATLANTA             GA           30374                                  SUPPLIERS OR VENDORS      11/22/2018            $151.94
SPORTS LICENSING
SOLUTIONS                 PO BOX 745175                                                               ATLANTA             GA           30374                                  SUPPLIERS OR VENDORS      11/29/2018            $161.70
SPORTS PRODUCTS OF                                  463 SEVENTH AVENUE
AMERICA LLC               VICE PRESIDENT OF SALES   4TH FLOOR                                         NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      10/19/2018         $61,449.82
SPORTS PRODUCTS OF                                  463 SEVENTH AVENUE
AMERICA LLC               VICE PRESIDENT OF SALES   4TH FLOOR                                         NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS       11/8/2018         $19,899.09
SPORTS PRODUCTS OF                                  463 SEVENTH AVENUE
AMERICA LLC               VICE PRESIDENT OF SALES   4TH FLOOR                                         NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      11/26/2018         $37,850.45
SPORTS PRODUCTS OF                                  463 SEVENTH AVENUE
AMERICA LLC               VICE PRESIDENT OF SALES   4TH FLOOR                                         NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS       12/3/2018         $34,748.50
SPORTS VAULT
CORPORATION (C-HUB)       315 PACIFIC AVE                                                             WINNIPEG            MB           R3A 0MS      CANADA                    SUPPLIERS OR VENDORS      10/25/2018             $78.00
SPORTS VAULT
CORPORATION (C-HUB)       315 PACIFIC AVE                                                             WINNIPEG            MB           R3A 0MS      CANADA                    SUPPLIERS OR VENDORS       11/1/2018             $71.50
SPORTS VAULT
CORPORATION (C-HUB)       315 PACIFIC AVE                                                             WINNIPEG            MB           R3A 0MS      CANADA                    SUPPLIERS OR VENDORS      11/29/2018             $83.00
SPRING GREEN LAWN CARE
INCORPORATED              PO BOX 232                                                                  DYERSVILLE          IA           52040-0232                             SUPPLIERS OR VENDORS      11/15/2018            $395.85
SPRING VALLEY DAIRY INC   PO BOX 20970                                                                KEIZER              OR           97307                                  SUPPLIERS OR VENDORS      10/18/2018              $3.30
SPRING VALLEY DAIRY INC   PO BOX 20970                                                                KEIZER              OR           97307                                  SUPPLIERS OR VENDORS       11/8/2018             $62.88
SPRING VALLEY DAIRY INC   PO BOX 20970                                                                KEIZER              OR           97307                                  SUPPLIERS OR VENDORS      11/15/2018            $144.50
SPRING VALLEY DAIRY INC   PO BOX 20970                                                                KEIZER              OR           97307                                  SUPPLIERS OR VENDORS      11/22/2018              $2.10
SPRING VALLEY DAIRY INC   PO BOX 20970                                                                KEIZER              OR           97307                                  SUPPLIERS OR VENDORS      12/20/2018             $91.80
SPRINGFIELD PEPSI COLA
BOTTLING CO               1937 EAST COOK STREET     PO BOX 4146                                       SPRINGFIELD         IL           62708                                  SUPPLIERS OR VENDORS      10/18/2018            $342.99
SPRINGFIELD PEPSI COLA
BOTTLING CO               1937 EAST COOK STREET     PO BOX 4146                                       SPRINGFIELD         IL           62708                                  SUPPLIERS OR VENDORS      10/25/2018            $206.06
SPRINGFIELD PEPSI COLA
BOTTLING CO               1937 EAST COOK STREET     PO BOX 4146                                       SPRINGFIELD         IL           62708                                  SUPPLIERS OR VENDORS       11/1/2018            $227.40
SPRINGFIELD PEPSI COLA
BOTTLING CO               1937 EAST COOK STREET     PO BOX 4146                                       SPRINGFIELD         IL           62708                                  SUPPLIERS OR VENDORS       11/8/2018           $1,635.40
SPRINGFIELD PEPSI COLA
BOTTLING CO               1937 EAST COOK STREET     PO BOX 4146                                       SPRINGFIELD         IL           62708                                  SUPPLIERS OR VENDORS      11/15/2018            $894.55
SPRINGFIELD PEPSI COLA
BOTTLING CO               1937 EAST COOK STREET     PO BOX 4146                                       SPRINGFIELD         IL           62708                                  SUPPLIERS OR VENDORS      11/22/2018            $882.53
SPRINGFIELD PEPSI COLA
BOTTLING CO               1937 EAST COOK STREET     PO BOX 4146                                       SPRINGFIELD         IL           62708                                  SUPPLIERS OR VENDORS      11/29/2018           $1,675.24
SPRINGS INDUSTRIES
INCORPORATED              PO BOX 12063                                                                NEWARK              NJ           07101                                  SUPPLIERS OR VENDORS      10/19/2018         $15,162.95
SPRINGS INDUSTRIES
INCORPORATED              PO BOX 12063                                                                NEWARK              NJ           07101                                  SUPPLIERS OR VENDORS      10/26/2018         $18,077.46
SPRINGS INDUSTRIES
INCORPORATED              PO BOX 12063                                                                NEWARK              NJ           07101                                  SUPPLIERS OR VENDORS       11/2/2018         $19,748.69
SPRINGS INDUSTRIES
INCORPORATED              PO BOX 12063                                                                NEWARK              NJ           07101                                  SUPPLIERS OR VENDORS       11/6/2018         $29,561.34




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                                                                                                                                                                               Reasons for payment or    Dates of    Total Amount or
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SPRINGS INDUSTRIES
INCORPORATED          PO BOX 12063                                                                    NEWARK              NJ           07101                                  SUPPLIERS OR VENDORS       11/9/2018           $4,088.20
SPRINGS INDUSTRIES
INCORPORATED          PO BOX 12063                                                                    NEWARK              NJ           07101                                  SUPPLIERS OR VENDORS       11/9/2018           $9,253.67
SPRINGS INDUSTRIES
INCORPORATED          PO BOX 12063                                                                    NEWARK              NJ           07101                                  SUPPLIERS OR VENDORS      11/13/2018           $3,811.20
SPRINGS INDUSTRIES
INCORPORATED          PO BOX 12063                                                                    NEWARK              NJ           07101                                  SUPPLIERS OR VENDORS      11/16/2018           $3,861.42
SPRINGS INDUSTRIES
INCORPORATED          PO BOX 12063                                                                    NEWARK              NJ           07101                                  SUPPLIERS OR VENDORS      11/16/2018         $30,656.17
SPRINGS INDUSTRIES
INCORPORATED          PO BOX 12063                                                                    NEWARK              NJ           07101                                  SUPPLIERS OR VENDORS      11/23/2018           $3,512.40
SPRINGS INDUSTRIES
INCORPORATED          PO BOX 12063                                                                    NEWARK              NJ           07101                                  SUPPLIERS OR VENDORS      11/30/2018         $42,110.44
SQUEEZE AMICA MARAN                                1411 BROADWAY ROOM
APPAREL CORPORATION   VICE PRESIDENT OF SALES      501                                                NEW YORK            NY           10018-3460                             SUPPLIERS OR VENDORS      11/12/2018         $16,452.09
SQUEEZE AMICA MARAN                                1411 BROADWAY ROOM
APPAREL CORPORATION   VICE PRESIDENT OF SALES      501                                                NEW YORK            NY           10018-3460                             SUPPLIERS OR VENDORS      11/15/2018         $16,290.00
SQUEEZE AMICA MARAN                                1411 BROADWAY ROOM
APPAREL CORPORATION   VICE PRESIDENT OF SALES      501                                                NEW YORK            NY           10018-3460                             SUPPLIERS OR VENDORS      11/22/2018         $18,378.36
SQUEEZE AMICA MARAN                                1411 BROADWAY ROOM
APPAREL CORPORATION   VICE PRESIDENT OF SALES      501                                                NEW YORK            NY           10018-3460                             SUPPLIERS OR VENDORS      11/23/2018         $17,280.00
SQUEEZE AMICA MARAN                                1411 BROADWAY ROOM
APPAREL CORPORATION   VICE PRESIDENT OF SALES      501                                                NEW YORK            NY           10018-3460                             SUPPLIERS OR VENDORS      11/29/2018         $22,590.00
                      300 SPECTRUM CENTER DRIVE
ST CROIX TRAIL LLC    SUITE 300                                                                       IRVINE              CA           92618                                  SUPPLIERS OR VENDORS      11/10/2018         $71,990.42
ST NORBERT COLLEGE    BUSINESS OFFICE              100 GRANT STREET                                   DE PERE             WI           54115-2099                             SUPPLIERS OR VENDORS      10/26/2018          $1,000.00
STACEY ASMUS          1654 140TH AVE                                                                  OGILVIE             MN           56358                                  SUPPLIERS OR VENDORS      11/26/2018              $3.00

STACEY JOLIN          BUZZARD ROCK MARINA          SHOPKO EMPLOYEE         985 BUZZARD ROCK ROAD KUTTAWA                  KY           42055                                  SUPPLIERS OR VENDORS      12/11/2018              $65.76
STACEY KUEHN          N5402 COUNTY RD M                                                          JUNEAU                   WI           53039                                  SUPPLIERS OR VENDORS       11/9/2018              $20.00
STACEY MCBRIDE        2817 S. MAIN                                                               BURLINGTON               IA           52601                                  SUPPLIERS OR VENDORS      12/17/2018             $143.00
STACEY OLSON          1104 BLACK OAK TRL                                                         DEERFIELD                WI           53531                                  SUPPLIERS OR VENDORS      10/19/2018              $24.00
STACEY PHILLIPS       W8406 CTY. B                                                               BROWNTOWN                WI           53522                                  SUPPLIERS OR VENDORS       12/7/2018              $25.00
STACEY RUSSELL        STORE 203                    SHOPKO EMPLOYEE         124 LUMAR DRIVE       JACKSBORO                TX           76458                                  SUPPLIERS OR VENDORS      10/26/2018             $313.86
STACI BEAT            500 HALL RD APT 13                                                         YAKIMA                   WA           98908                                  SUPPLIERS OR VENDORS      10/25/2018              $42.00
STACI GUDMUNDSON      183 SUNSET AVENUE NW         APT F3                                        COKATO                   MN           55321                                  SUPPLIERS OR VENDORS       12/3/2018               $3.00
STACIE NELSON         2300 SCHULTZ STREET APT 19                                                 PORTAGE                  WI           53901                                  SUPPLIERS OR VENDORS      11/29/2018              $36.00
STACY ALLAIRE         STORE 542                    SHOPKO EMPLOYEE         1301 S MAIN STREET    PERRYTON                 TX           79070-4709                             SUPPLIERS OR VENDORS       1/15/2019              $50.14
STACY BRAGG           7009 SOUTH 176 AVENUE                                                      OMAHA                    NE           68136                                  SUPPLIERS OR VENDORS       12/7/2018              $30.00
STACY EINCK-PAUL      STORE 2-058                  SHOPKO EMPLOYEE                               GREEN BAY                WI           54307-9060                             SUPPLIERS OR VENDORS      11/22/2018              $67.04
STACY GLATT           1103 E. CLEVELAND BAY LN                                                   SPOKANE                  WA           99208                                  SUPPLIERS OR VENDORS      11/16/2018              $40.97
STACY MYERS           N8846 CTY RD VV                                                            BERLIN                   WI           54923                                  SUPPLIERS OR VENDORS       12/5/2018               $9.00
STAMPS.COM            1990 E. GRAND AVE                                                          EL SEGUNDO               CA           90245                                  PAYMENT FOR SERVICES       10/3/2018           $2,000.00
STAMPS.COM            1990 E. GRAND AVE                                                          EL SEGUNDO               CA           90245                                  PAYMENT FOR SERVICES       10/9/2018           $2,500.00
STAMPS.COM            1990 E. GRAND AVE                                                          EL SEGUNDO               CA           90245                                  PAYMENT FOR SERVICES      10/15/2018           $4,000.00
STAMPS.COM            1990 E. GRAND AVE                                                          EL SEGUNDO               CA           90245                                  PAYMENT FOR SERVICES      10/23/2018           $2,500.00
STAMPS.COM            1990 E. GRAND AVE                                                          EL SEGUNDO               CA           90245                                  PAYMENT FOR SERVICES      10/30/2018           $1,500.00
STAMPS.COM            1990 E. GRAND AVE                                                          EL SEGUNDO               CA           90245                                  PAYMENT FOR SERVICES       11/2/2018           $2,500.00
STAMPS.COM            1990 E. GRAND AVE                                                          EL SEGUNDO               CA           90245                                  PAYMENT FOR SERVICES       11/7/2018           $4,000.00
STAMPS.COM            1990 E. GRAND AVE                                                          EL SEGUNDO               CA           90245                                  PAYMENT FOR SERVICES      11/15/2018           $2,500.00
STAMPS.COM            1990 E. GRAND AVE                                                          EL SEGUNDO               CA           90245                                  PAYMENT FOR SERVICES      11/27/2018           $3,500.00
STAMPS.COM            1990 E. GRAND AVE                                                          EL SEGUNDO               CA           90245                                  PAYMENT FOR SERVICES      11/30/2018           $2,500.00
STAMPS.COM            1990 E. GRAND AVE                                                          EL SEGUNDO               CA           90245                                  PAYMENT FOR SERVICES       12/4/2018           $4,000.00



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STAMPS.COM                 1990 E. GRAND AVE                                                          EL SEGUNDO          CA           90245                                  PAYMENT FOR SERVICES         12/7/2018            $3,500.00
STAMPS.COM                 1990 E. GRAND AVE                                                          EL SEGUNDO          CA           90245                                  PAYMENT FOR SERVICES        12/14/2018            $1,500.00
STAMPS.COM                 1990 E. GRAND AVE                                                          EL SEGUNDO          CA           90245                                  PAYMENT FOR SERVICES        12/14/2018            $4,000.00
STAMPS.COM                 1990 E. GRAND AVE                                                          EL SEGUNDO          CA           90245                                  PAYMENT FOR SERVICES        12/17/2018            $1,500.00
STAMPS.COM                 1990 E. GRAND AVE                                                          EL SEGUNDO          CA           90245                                  PAYMENT FOR SERVICES        12/18/2018            $3,500.00
STAMPS.COM                 1990 E. GRAND AVE                                                          EL SEGUNDO          CA           90245                                  PAYMENT FOR SERVICES        12/19/2018            $4,000.00
STAMPS.COM                 1990 E. GRAND AVE                                                          EL SEGUNDO          CA           90245                                  PAYMENT FOR SERVICES        12/20/2018            $3,500.00
STAMPS.COM                 1990 E. GRAND AVE                                                          EL SEGUNDO          CA           90245                                  PAYMENT FOR SERVICES        12/27/2018            $3,500.00
STAMPS.COM                 1990 E. GRAND AVE                                                          EL SEGUNDO          CA           90245                                  PAYMENT FOR SERVICES        12/31/2018            $5,000.00
STAMPS.COM                 1990 E. GRAND AVE                                                          EL SEGUNDO          CA           90245                                  PAYMENT FOR SERVICES          1/4/2019            $4,000.00
STAMPS.COM                 1990 E. GRAND AVE                                                          EL SEGUNDO          CA           90245                                  PAYMENT FOR SERVICES         1/11/2019            $2,200.00
STAN HOEFT                 6844N UNCLE TOM'S RD                                                       LORETTA             WI           54896                                  SUPPLIERS OR VENDORS         11/5/2018               $54.00
STANFIELDS (C-HUB)         PO BOX 190               1 LOGAN STREET                                    TRURO               NS           B2N 5C2      CANADA                    SUPPLIERS OR VENDORS        10/18/2018               $60.00
STANFIELDS (C-HUB)         PO BOX 190               1 LOGAN STREET                                    TRURO               NS           B2N 5C2      CANADA                    SUPPLIERS OR VENDORS        10/25/2018               $48.00
STANFIELDS (C-HUB)         PO BOX 190               1 LOGAN STREET                                    TRURO               NS           B2N 5C2      CANADA                    SUPPLIERS OR VENDORS         11/1/2018                $1.60
STANFIELDS (C-HUB)         PO BOX 190               1 LOGAN STREET                                    TRURO               NS           B2N 5C2      CANADA                    SUPPLIERS OR VENDORS         11/8/2018                $8.40

STANLEY BLACK AND DECKER DEPT CH 14231                                                                PALATINE            IL           60055-4231                             SUPPLIERS OR VENDORS       10/25/2018           $85,523.89

STANLEY BLACK AND DECKER   DEPT CH 14231                                                              PALATINE            IL           60055-4231                             SUPPLIERS OR VENDORS        11/1/2018           $12,594.09
STANLEY CARLSON            821 FORD ST                                                                IRON MOUNTAIN       MI           49802                                  SUPPLIERS OR VENDORS       10/24/2018               $99.68
STANLEY CONVERGENT
SECURITY                   SOLUTIONS INCORPORATED   DEPARTMENT CH 10651                               PALATINE            IL           60055-0651                             SUPPLIERS OR VENDORS       10/19/2018            $2,027.20
STANLEY CONVERGENT
SECURITY                   SOLUTIONS INCORPORATED   DEPARTMENT CH 10651                               PALATINE            IL           60055-0651                             SUPPLIERS OR VENDORS       10/26/2018              $274.84
STANLEY CONVERGENT
SECURITY                   SOLUTIONS INCORPORATED   DEPARTMENT CH 10651                               PALATINE            IL           60055-0651                             SUPPLIERS OR VENDORS        11/2/2018              $486.66
STANLEY CONVERGENT
SECURITY                   SOLUTIONS INCORPORATED   DEPARTMENT CH 10651                               PALATINE            IL           60055-0651                             SUPPLIERS OR VENDORS        11/9/2018              $428.74
STANLEY CONVERGENT
SECURITY                   SOLUTIONS INCORPORATED   DEPARTMENT CH 10651                               PALATINE            IL           60055-0651                             SUPPLIERS OR VENDORS       11/16/2018            $1,319.08
STANLEY CONVERGENT
SECURITY                   SOLUTIONS INCORPORATED   DEPARTMENT CH 10651                               PALATINE            IL           60055-0651                             SUPPLIERS OR VENDORS       11/30/2018            $2,450.66
STANLEY CONVERGENT
SECURITY                   SOLUTIONS INCORPORATED   DEPARTMENT CH 10651                               PALATINE            IL           60055-0651                             SUPPLIERS OR VENDORS       12/19/2018            $1,887.25
STANLEY CREATIONS
INCORPORATED               1414 WILLOW AVENUE                                                         MELROSE PARK        PA           19027-3197                             SUPPLIERS OR VENDORS       11/15/2018            $2,582.63
STANLEY CREATIONS
INCORPORATED               1414 WILLOW AVENUE                                                         MELROSE PARK        PA           19027-3197                             SUPPLIERS OR VENDORS       11/22/2018            $5,209.42
STANLEY CREATIONS
INCORPORATED               1414 WILLOW AVENUE                                                         MELROSE PARK        PA           19027-3197                             SUPPLIERS OR VENDORS       11/29/2018           $16,205.85
STANLEY DIEKEN             5613 BUNKER HILL RD.                                                       GERMAN VALLEY       IL           61039                                  SUPPLIERS OR VENDORS       11/12/2018              $138.53
STANLEY MOLTHEN            526 W FACTORY ST                                                           SEYMOUR             WI           54165                                  SUPPLIERS OR VENDORS       12/17/2018               $25.00
STANLEY NEWTON             STORE 2-733              SHOPKO EMPLOYEE        226 E LINCOLN AVENUE       FERGUS FALLS        MN           56537                                  SUPPLIERS OR VENDORS        11/1/2018              $439.27
STANLEY NEWTON             STORE 2-733              SHOPKO EMPLOYEE        226 E LINCOLN AVENUE       FERGUS FALLS        MN           56537                                  SUPPLIERS OR VENDORS        12/6/2018              $247.43
STAPLES ADVANTAGE          PO BOX 660409                                                              DALLAS              TX           75266-0409                             SUPPLIERS OR VENDORS        11/1/2018               $12.50
STAPLES ADVANTAGE          PO BOX 660409                                                              DALLAS              TX           75266-0409                             SUPPLIERS OR VENDORS       12/17/2018               $21.16
STAR PLASTICS INC          1930 DREW ROAD UNIT 1                                                      MISSISSAUGA         ON           L5S 1J6      CANADA                    SUPPLIERS OR VENDORS       10/18/2018           $37,026.09
STAR PLASTICS INC          1930 DREW ROAD UNIT 1                                                      MISSISSAUGA         ON           L5S 1J6      CANADA                    SUPPLIERS OR VENDORS       10/25/2018          $108,558.00
STAR PLASTICS INC          1930 DREW ROAD UNIT 1                                                      MISSISSAUGA         ON           L5S 1J6      CANADA                    SUPPLIERS OR VENDORS        11/1/2018           $86,736.00
STAR PLASTICS INC          1930 DREW ROAD UNIT 1                                                      MISSISSAUGA         ON           L5S 1J6      CANADA                    SUPPLIERS OR VENDORS        11/8/2018           $18,204.18
STAR PLASTICS INC          1930 DREW ROAD UNIT 1                                                      MISSISSAUGA         ON           L5S 1J6      CANADA                    SUPPLIERS OR VENDORS       11/15/2018          $136,718.40
STAR PLASTICS INC          1930 DREW ROAD UNIT 1                                                      MISSISSAUGA         ON           L5S 1J6      CANADA                    SUPPLIERS OR VENDORS       11/22/2018          $117,187.20
STAR PLASTICS INC          1930 DREW ROAD UNIT 1                                                      MISSISSAUGA         ON           L5S 1J6      CANADA                    SUPPLIERS OR VENDORS       11/29/2018          $148,962.37



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                                                                                                                                                                                    Reasons for payment or    Dates of    Total Amount or
      Creditor Name                 Address1                   Address2                  Address3                  City             State       Zip              Country                   transfer          Payments           Value
STAR VALLEY CHAMBER OF
COMMERCE                  150 S WASHINGTON STREET                                                          AFTON               WY           83110                                  SUPPLIERS OR VENDORS      10/18/2018            $150.00
STARBUCKS COFFEE
COMPANY                   PO BOX 74008016                                                                  CHICAGO             IL           60674-8016                             SUPPLIERS OR VENDORS      10/30/2018         $30,501.01
STARBUCKS COFFEE
COMPANY                   PO BOX 74008016                                                                  CHICAGO             IL           60674-8016                             SUPPLIERS OR VENDORS      11/13/2018         $28,406.32
STARBUCKS COFFEE
COMPANY                   PO BOX 74008016                                                                  CHICAGO             IL           60674-8016                             SUPPLIERS OR VENDORS      11/27/2018         $46,949.28
STARBUCKS COFFEE
COMPANY                   PO BOX 74008016                                                                  CHICAGO             IL           60674-8016                             SUPPLIERS OR VENDORS       12/4/2018            $393.65
STARGATE APPAREL
INCORPORATED              231 W 39TH STREET SUITE 500                                                      NEW YORK            NY           10018-0000                             SUPPLIERS OR VENDORS      10/29/2018         $55,370.11
STARKOVICH DISTRIBUTING
COMPANY                   PO BOX 1307                    PAM TO ORACLE                                     VIRGINIA            MN           55792-1307                             SUPPLIERS OR VENDORS      10/24/2018            $139.00
STARKOVICH DISTRIBUTING
COMPANY                   PO BOX 1307                    PAM TO ORACLE                                     VIRGINIA            MN           55792-1307                             SUPPLIERS OR VENDORS       11/7/2018            $187.50
STARKOVICH DISTRIBUTING
COMPANY                   PO BOX 1307                    PAM TO ORACLE                                     VIRGINIA            MN           55792-1307                             SUPPLIERS OR VENDORS      11/22/2018            $114.00
STARKOVICH DISTRIBUTING
COMPANY                   PO BOX 1307                    PAM TO ORACLE                                     VIRGINIA            MN           55792-1307                             SUPPLIERS OR VENDORS       12/5/2018            $117.90
STARKOVICH DISTRIBUTING
COMPANY                   PO BOX 1307                    PAM TO ORACLE                                     VIRGINIA            MN           55792-1307                             SUPPLIERS OR VENDORS      12/20/2018            $167.84
STARLENE CLIG             2768 WEST JAYTON DRIVE                                                           MERIDIAN            ID           83642                                  SUPPLIERS OR VENDORS       11/9/2018             $23.00
STARLENE CLIG             2768 WEST JAYTON DRIVE                                                           MERIDIAN            ID           83642                                  SUPPLIERS OR VENDORS       11/9/2018             $23.00
                          DEPARTMENT OF CONSUMER
STATE OF CALIFORNIA       AFFAIRS                        PO BOX 942533                                     SACRAMENTO          CA           94258-0533                             SUPPLIERS OR VENDORS       12/7/2018            $671.00

STATE OF DELEWARE         820 N FRENCH ST                                                                  WILMINGTON          DE           19801                                  SETTLEMENT AGREEMENT       11/9/2018         $25,000.00

STATE OF DELEWARE         820 N FRENCH ST                                                                  WILMINGTON          DE           19801                                  SETTLEMENT AGREEMENT      12/10/2018         $25,000.00

STATE OF DELEWARE         820 N FRENCH ST                                                                  WILMINGTON          DE           19801                                  SETTLEMENT AGREEMENT       1/10/2019         $25,000.00
STATE OF IDAHO            304 N 8TH STREET - SUITE 208                                                     BOISE               ID           83702-5834                             SUPPLIERS OR VENDORS      10/24/2018          $2,780.38
                          ALCOHOL BEVERAGE CONTROL       700 S STRATFORD DRIVE
STATE OF IDAHO            BUREAU                         SUITE 115                                         MERIDIAN            ID           83642                                  SUPPLIERS OR VENDORS      12/13/2018            $300.00
STATE OF INDIANA          35 SOUTH PARK BLVD                                                               GREENWOOD           IN           46143                                  SUPPLIERS OR VENDORS      10/24/2018             $81.08
STATE OF MI DEPT OF
HEALTH AND                HUMAN SERVICES                 701 S ELMWOOD STE 19                              TRAVERSE CITY       MI           49684                                  SUPPLIERS OR VENDORS      11/26/2018             $23.99

STATE OF MINNESOTA        85 7TH PLACE EAST, SUITE 500                                                     ST PAUL             MN           55101-2198                             SUPPLIERS OR VENDORS      10/23/2018           $5,281.79
                                                         UNCLAIMED PROPERTY
STATE OF NEBRASKA         MEAGHAN AGUIRRE                DIVISION           809 P STREET                   LINCOLN             NE           68508                                  SUPPLIERS OR VENDORS      10/25/2018           $3,457.53
                          555 E WASHINGTON AVE, STE
STATE OF NEVADA           4200                                                                             LAS VEGAS           NV           89101-1070                             SUPPLIERS OR VENDORS      10/23/2018              $5.00
STATE OF NEW JERSEY       PO BOX 214                                                                       TRENTON             NJ           08625-0214                             SUPPLIERS OR VENDORS      10/23/2018            $127.99
                          77TH SOUTH HIGH STREET,
STATE OF OHIO             20TH FLOOR                                                                       COLUMBUS            OH           43215-6108                             SUPPLIERS OR VENDORS      10/24/2018            $233.12
                          350 NORTH STATE STREET, STE
STATE OF UTAH             180                                                                              SALT LAKE CITY      UT           84114                                  SUPPLIERS OR VENDORS      10/24/2018          $3,430.16
STATE OF WASHINGTON       PO BOX 34053                                                                     SEATTLE             WA           98124-1053                             SUPPLIERS OR VENDORS      10/24/2018          $4,681.76
STATE OF WISCONSIN        2135 RIMROCK RD                                                                  MADISON             WI           53708                                  SUPPLIERS OR VENDORS      10/23/2018         $19,467.09
                          DSPS INDUSTRY SERVICES
STATE OF WISCONSIN        INVOICING                      PO BOX 93086                                      MILWAUKEE           WI           53293-3086                             SUPPLIERS OR VENDORS      10/26/2018             $50.00




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                                                                                                                                                                                Reasons for payment or    Dates of    Total Amount or
      Creditor Name                  Address1              Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
                           DSPS INDUSTRY SERVICES
STATE OF WISCONSIN         INVOICING                 PO BOX 93086                                      MILWAUKEE           WI           53293-3086                             SUPPLIERS OR VENDORS      12/10/2018            $150.00
STEARNS SOUND & SECURITY
LTD                        PO BOX 483                                                                  WAUPACA             WI           54981                                  SUPPLIERS OR VENDORS       11/1/2018              $71.21
STEARRINE OVEN             4224 FLORENCE BLVD                                                          OMAHA               NE           68110                                  SUPPLIERS OR VENDORS       11/9/2018               $2.00
STEARRINE OVEN             4224 FLORENCE BLVD                                                          OMAHA               NE           68110                                  SUPPLIERS OR VENDORS       11/9/2018               $2.00
STEELSTONE GROUP           3611 14TH AVE SUITE 540                                                     BROOKLYN            NY           11218                                  SUPPLIERS OR VENDORS      11/27/2018             $475.97
STEELSTONE GROUP           3611 14TH AVE SUITE 540                                                     BROOKLYN            NY           11218                                  SUPPLIERS OR VENDORS      11/30/2018           $4,799.20
STEELSTONE GROUP           3611 14TH AVE SUITE 540                                                     BROOKLYN            NY           11218                                  SUPPLIERS OR VENDORS      12/11/2018             $187.85
STEFANI GARCIA             5402 S. 42 ST. CT.                                                          LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS       11/1/2018               $2.00
STEFFANIE DREW             1957 JEAN ST                                                                POCATELLO           ID           83201                                  SUPPLIERS OR VENDORS      11/28/2018              $23.00
STEINER PLUMBING &
ELECTRIC INCORPORATED      N8230 945TH STREET                                                          RIVER FALLS         WI           54022                                  SUPPLIERS OR VENDORS      11/29/2018           $1,820.00
STENERSON BROTHERS
LUMBER COMPANY             324 E WASHINGTON AVENUE                                                     FERGUS FALLS        MN           56537                                  SUPPLIERS OR VENDORS      11/29/2018             $40.00
STEP TWO COMPANY           THE STEP2 COMPANY LLC     PO BOX 603049                                     CHARLOTTE           NC           28260-3049                             SUPPLIERS OR VENDORS      10/18/2018          $6,614.11
STEP TWO COMPANY           THE STEP2 COMPANY LLC     PO BOX 603049                                     CHARLOTTE           NC           28260-3049                             SUPPLIERS OR VENDORS      10/25/2018         $12,182.34
STEP TWO COMPANY           THE STEP2 COMPANY LLC     PO BOX 603049                                     CHARLOTTE           NC           28260-3049                             SUPPLIERS OR VENDORS       11/1/2018         $11,691.19
STEP TWO COMPANY           THE STEP2 COMPANY LLC     PO BOX 603049                                     CHARLOTTE           NC           28260-3049                             SUPPLIERS OR VENDORS       11/8/2018          $9,701.21
STEP TWO COMPANY           THE STEP2 COMPANY LLC     PO BOX 603049                                     CHARLOTTE           NC           28260-3049                             SUPPLIERS OR VENDORS      11/15/2018         $41,066.94
STEP TWO COMPANY           THE STEP2 COMPANY LLC     PO BOX 603049                                     CHARLOTTE           NC           28260-3049                             SUPPLIERS OR VENDORS      11/22/2018          $3,903.35
STEP TWO COMPANY           THE STEP2 COMPANY LLC     PO BOX 603049                                     CHARLOTTE           NC           28260-3049                             SUPPLIERS OR VENDORS      11/29/2018          $8,224.13
STEPHANIE ALVORD           STORE 073                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/20/2018            $495.39
STEPHANIE BAIRD            STORE 2-008               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/8/2018            $150.42
STEPHANIE BARRETT          PAYROLL                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/26/2018             $35.97
STEPHANIE BARRETT          PAYROLL                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/2/2018             $35.97
STEPHANIE BARRETT          PAYROLL                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/9/2018             $35.97
STEPHANIE BARRETT          PAYROLL                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/16/2018             $75.21
STEPHANIE CONNELLY         STORE 568                 SHOPKO EMPLOYEE        200 10TH AVE SE            NEW PRAGUE          MN           56071-1975                             SUPPLIERS OR VENDORS      11/29/2018            $232.18
STEPHANIE DE DECKER        PHARMACY OPERATIONS       SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/25/2018            $164.83
STEPHANIE FAY              309 N EMERALD DR                                                            WAUSAU              WI           54401                                  SUPPLIERS OR VENDORS      11/14/2018             $45.45
STEPHANIE FAY              309 N EMERALD DR.                                                           WAUSAU              WI           54401                                  SUPPLIERS OR VENDORS      12/13/2018            $257.52
STEPHANIE HENNESSY         953 NE BELROY ST                                                            COLLEGE PLACE       WA           99324                                  SUPPLIERS OR VENDORS       12/7/2018            $123.00
STEPHANIE HOPKINS          17805 452ND AVE                                                             HAYTI               SD           57241                                  SUPPLIERS OR VENDORS      11/26/2018             $20.00
STEPHANIE KLEIN            6214 CANYON PKWY                                                            MCFARLAND           WI           53558                                  SUPPLIERS OR VENDORS       11/8/2018             $20.00
STEPHANIE MAHONEY          STORE 2-687               SHOPKO EMPLOYEE        202 SW KENT                GREENFIELD          IA           50849                                  SUPPLIERS OR VENDORS       11/1/2018            $246.89
STEPHANIE MORRISON         6211 374TH ST.                                                              NORTH BRANCH        MN           55056                                  SUPPLIERS OR VENDORS      12/20/2018             $12.00
STEPHANIE MULROY           N756 SHAKY LAKE RD                                                          FREMONT             WI           54940                                  SUPPLIERS OR VENDORS       12/7/2018             $57.98

STEPHANIE NOVAK            3711 CLIFF ST                                                               WISCONSIN RAPIDS    WI           54494                                  SUPPLIERS OR VENDORS      12/10/2018             $24.00
STEPHANIE OMORROW          606 MONROE ST                                                               FORT ATKINSON       WI           53538                                  SUPPLIERS OR VENDORS      12/17/2018             $25.00
STEPHANIE PEREZ            5905 FAY BLVD                                                               OMAHA               NE           68117                                  SUPPLIERS OR VENDORS      11/30/2018             $10.00
STEPHANIE PEREZ            5905 FAY BLVD                                                               OMAHA               NE           68117                                  SUPPLIERS OR VENDORS      11/30/2018             $10.00
STEPHANIE PEREZ            5905 FAY BLVD                                                               OMAHA               NE           68117                                  SUPPLIERS OR VENDORS      11/30/2018             $14.45
STEPHANIE PEREZ            5905 FAY BLVD                                                               OMAHA               NE           68117                                  SUPPLIERS OR VENDORS      11/30/2018             $52.45
STEPHANIE ROEHRIG          1648 SOUTH NICOLET RD                                                       APPLETON            WI           54914                                  SUPPLIERS OR VENDORS      10/25/2018             $25.00
STEPHANIE SANDHURST        2023 SPRUCE AVE                                                             WORTHINGTON         MN           56187                                  SUPPLIERS OR VENDORS       12/5/2018             $15.00
STEPHANIE SCHEEL           1680 WISCONSIN SW                                                           HURON               SD           57350                                  SUPPLIERS OR VENDORS      10/25/2018             $56.00
STEPHANIE SCHWARTZ         STORE 758                 SHOPKO EMPLOYEE        1950 E RICHARDS            DOUGLAS             WY           82633                                  SUPPLIERS OR VENDORS      11/29/2018            $106.82
STEPHANIE SMITH            15771 RIVERFIELD CT                                                         COLD SPRING         MN           56320                                  SUPPLIERS OR VENDORS      12/19/2018             $14.59
STEPHANIE TJADEN           STORE 2-052               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS      11/29/2018            $122.08
STEPHANIE TJADEN           STORE 2-052               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS      12/20/2018            $406.47
STEPHANIE WALRATH          2525 MAPLE ST                                                               OMAHA               NE           68111                                  SUPPLIERS OR VENDORS       11/5/2018             $74.00
STEPHANIE WEEKS            STORE 576                 SHOPKO EMPLOYEE        2500 E HIGHWAY 90          ALPINE              TX           79830-4107                             SUPPLIERS OR VENDORS      12/14/2018            $170.79



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      Creditor Name                 Address1           Address2                 Address3                  City              State       Zip              Country                    transfer          Payments            Value
STEPHANIE WEEKS           STORE 576              SHOPKO EMPLOYEE        2500 E HIGHWAY 90          ALPINE              TX           79830-4107                             SUPPLIERS OR VENDORS        12/20/2018              $186.09
STEPHANIE WEEKS           STORE 576              SHOPKO EMPLOYEE        2500 E HIGHWAY 90          ALPINE              TX           79830-4107                             SUPPLIERS OR VENDORS         1/15/2019              $282.76
STEPHANIE WITBERLER       1826 COUNTY RD S                                                         EDGAR               WI           54426                                  SUPPLIERS OR VENDORS         11/1/2018               $25.00
STEPHANIE ZYCHOWSKI       3649 COPPER OAK CIR                                                      GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS         12/7/2018               $25.00
STEPHEN ASHER             1308 WARM SPRINGS                                                        BOISE               ID           83712                                  SUPPLIERS OR VENDORS        10/31/2018               $56.00
STEPHEN CARPENTER         809 43RD ST N                                                            GREAT FALLS         MT           59405                                  SUPPLIERS OR VENDORS         11/9/2018                $7.02
STEPHEN HACKEN            514 RONALD AVE                                                           WINONA              MN           55987                                  SUPPLIERS OR VENDORS        12/20/2018               $45.00
STEPHEN HARDMAN           246 E 130 N                                                              OREM                UT           84057                                  SUPPLIERS OR VENDORS        11/12/2018               $14.78
STEPHEN KLEIN             51718 MAPLE STREET                                                       HUBBELL             MI           49934                                  SUPPLIERS OR VENDORS        10/25/2018               $25.00
STEPHEN MILLER            312 GARFIELD STREET                                                      KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS        12/10/2018                $9.76
STEPHEN MORGAN            STORE 119              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/14/2018              $199.47
STEPHEN MORRIS            PO BOX 1008                                                              DAWSON              MN           56232                                  SUPPLIERS OR VENDORS         12/7/2018               $44.16
STEPHEN NILES             1019 CANTERBURY LANE                                                     WAUKESHA            WI           53188                                  SUPPLIERS OR VENDORS        11/14/2018              $476.95
STEPHEN PFEIFFER          815 PENROSE AVE.                                                         WALLA WALLA         WA           99362                                  SUPPLIERS OR VENDORS        10/29/2018               $54.40
STEPHEN PFEIFFER          815 PENROSE AVE.                                                         WALLA WALLA         WA           99362                                  SUPPLIERS OR VENDORS        11/12/2018               $13.60
STEPHEN S LEUNG           526 28TH AVENUE                                                          SAN FRANCISCO       CA           94121                                  SUPPLIERS OR VENDORS        11/15/2018           $11,758.34
STEPHEN S LEUNG           526 28TH AVENUE                                                          SAN FRANCISCO       CA           94121                                  SUPPLIERS OR VENDORS        12/19/2018           $11,758.34
STEPHEN UTHKE             2211 CTY RD 107 NE                                                       EYOTA               MN           55934                                  SUPPLIERS OR VENDORS         12/3/2018              $153.13
STEPHEN WALKOWSKI         647-WOOD RD                                                              KENOSHA             WI           53144                                  SUPPLIERS OR VENDORS        11/28/2018               $83.00
STEPHEN WILEN             314 SCHOOL AVE.                                                          WALLA WALLA         WA           99362                                  SUPPLIERS OR VENDORS         11/9/2018               $54.40
STEPHENSON COUNTY         ENVIRONMENTAL HEALTH
HEALTH DEPARTMENT         OFFICE                 295 W LAMM ROAD                                   FREEPORT            IL           61032                                  SUPPLIERS OR VENDORS       11/14/2018               $75.00

STERICYCLE INCORPORATED PO BOX 6575                                                                CAROL STREAM        IL           60197-6575                             SUPPLIERS OR VENDORS        11/2/2018              $203.44

STERICYCLE INCORPORATED   PO BOX 6575                                                              CAROL STREAM        IL           60197-6575                             SUPPLIERS OR VENDORS        12/4/2018              $203.44
STEVE BIEL                BOX 247                                                                  JAVA                SD           57452                                  SUPPLIERS OR VENDORS        12/7/2018               $48.64
STEVE BIEL                BOX 247                                                                  JAVA                SD           57452                                  SUPPLIERS OR VENDORS       12/17/2018               $12.16
STEVE BLUSKE              STORE 099              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       10/19/2018              $336.81
STEVE BLUSKE              STORE 099              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       10/26/2018              $156.96
STEVE BLUSKE              STORE 099              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS        11/2/2018               $95.92
STEVE BLUSKE              STORE 099              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS        11/9/2018               $95.92
STEVE BLUSKE              STORE 099              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       11/16/2018               $80.66
STEVE BLUSKE              STORE 099              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       11/27/2018               $95.92
STEVE BLUSKE              STORE 099              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       11/30/2018              $176.58
STEVE BLUSKE              STORE 099              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       12/11/2018              $237.62
STEVE BLUSKE              STORE 099              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       12/14/2018              $226.20
STEVE BLUSKE              STORE 099              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       12/20/2018              $176.58
STEVE BLUSKE              STORE 099              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       12/29/2018               $95.92
STEVE BLUSKE              STORE 099              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS        1/15/2019              $182.74
STEVE C SONSTENG          250 NE RIVERSIDE PL                                                      BELFAIR             WA           98528                                  SUPPLIERS OR VENDORS        11/1/2018           $16,814.26
STEVE C SONSTENG          250 NE RIVERSIDE PL                                                      BELFAIR             WA           98528                                  SUPPLIERS OR VENDORS        12/1/2018           $16,814.26

STEVE C SONSTENG          250 NE RIVERSIDE PL                                                      BELFAIR, WA                      98528                                  LANDLORD RENT PAYMENT        1/9/2019           $16,814.26
STEVE DILL                STORE 127              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/11/2018              $105.39
STEVE FLINTROP            448 N TERRACE STREET                                                     DELAVAN             WI           53115                                  SUPPLIERS OR VENDORS       11/14/2018               $25.00
STEVE GUSTAFSON           STORE SERVICES         SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       11/15/2018            $1,335.84
STEVE GUSTAFSON           STORE SERVICES         SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       12/13/2018              $137.34
STEVE GUSTAFSON           STORE SERVICES         SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       12/20/2018              $130.80
STEVE GUSTAFSON           STORE SERVICES         SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       12/27/2018              $394.49
STEVE GUSTAFSON           STORE SERVICES         SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS         1/3/2019               $81.75
STEVE HEIMANN             STORE 661              SHOPKO EMPLOYEE        500 PLAZA DRIVE            WEST POINT          NE           68788                                  SUPPLIERS OR VENDORS        11/9/2018               $74.12
STEVE HEIMANN             STORE 661              SHOPKO EMPLOYEE        500 PLAZA DRIVE            WEST POINT          NE           68788                                  SUPPLIERS OR VENDORS       11/30/2018              $280.23
STEVE HEIMANN             STORE 661              SHOPKO EMPLOYEE        500 PLAZA DRIVE            WEST POINT          NE           68788                                  SUPPLIERS OR VENDORS       12/11/2018              $213.01



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                                                                                                                                                                            Reasons for payment or    Dates of     Total Amount or
       Creditor Name             Address1             Address2                 Address3                 City               State       Zip              Country                    transfer          Payments            Value
STEVE HEIMANN          STORE 661                SHOPKO EMPLOYEE        500 PLAZA DRIVE            WEST POINT          NE           68788                                  SUPPLIERS OR VENDORS        12/29/2018              $142.06
STEVE KING             3775 S. CENTENNIAL WAY                                                     BOISE               ID           83706                                  SUPPLIERS OR VENDORS        11/16/2018               $91.50
STEVE OLSON            P.O. BOX 402                                                               STEPHENSON          MI           49887                                  SUPPLIERS OR VENDORS        10/25/2018               $42.00
STEVE PLAUTZ           1149 ST HWY 78                                                             MOUNT HOREB         WI           53572                                  SUPPLIERS OR VENDORS         12/7/2018               $63.00
                       SYSTEM MAINTENANCE/STORE
STEVE RAINERI          107                      SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/9/2018                $5.65
STEVE SCHNEIDER        349 SPRING LANE                                                            DELAVAN             WI           53115                                  SUPPLIERS OR VENDORS       12/17/2018               $25.00
STEVE THIRY            225 3RD ST                                                                 KIEL                WI           53042                                  SUPPLIERS OR VENDORS       10/18/2018               $69.00
STEVE WADE             STORE 140                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/26/2018               $35.97
STEVE WADE             STORE 140                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/22/2018              $106.82
                                                                       1166 W SUNSET DRIVE
STEVE WHITTOW          STORE 4-217              SHOPKO EMPLOYEE        SUITE F-100                WAUKESHA            WI           53189                                  SUPPLIERS OR VENDORS       11/22/2018              $149.33
STEVE YOUNG            STORE 2-095              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/20/2018              $585.96
STEVEN ARTS            2512 HONEY CLOVER CT                                                       GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS       10/24/2018               $23.00
STEVEN BIESTERVELD     STORE 021                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS        11/9/2018               $59.95
STEVEN BROWN           8250 SPRATLING DR.                                                         WEST JORDAN         UT           84088                                  SUPPLIERS OR VENDORS       10/24/2018                $5.00
STEVEN CHRISTENSEN     27804 452 AVE                                                              PARKER              SD           57053                                  SUPPLIERS OR VENDORS       11/29/2018               $48.00
STEVEN D CLEMENTS      4089 PATTON STREET                                                         BOISE               ID           83704                                  SUPPLIERS OR VENDORS       10/19/2018            $4,783.08
STEVEN D CLEMENTS      4089 PATTON STREET                                                         BOISE               ID           83704                                  SUPPLIERS OR VENDORS        11/2/2018            $5,145.02
STEVEN D CLEMENTS      4089 PATTON STREET                                                         BOISE               ID           83704                                  SUPPLIERS OR VENDORS       11/16/2018            $5,561.40
STEVEN D CLEMENTS      4089 PATTON STREET                                                         BOISE               ID           83704                                  SUPPLIERS OR VENDORS       11/30/2018            $5,296.88
STEVEN D CLEMENTS      4089 PATTON STREET                                                         BOISE               ID           83704                                  SUPPLIERS OR VENDORS       12/14/2018            $6,448.52
STEVEN D CLEMENTS      4089 PATTON STREET                                                         BOISE               ID           83704                                  SUPPLIERS OR VENDORS       12/29/2018            $6,607.50
STEVEN D CLEMENTS      4089 PATTON STREET                                                         BOISE               ID           83704                                  SUPPLIERS OR VENDORS        1/11/2019            $4,766.03
STEVEN DELAIR          3412 WOODS AVE                                                             LINCOLN             NE           68510                                  SUPPLIERS OR VENDORS       11/15/2018               $36.14
STEVEN DELAIR          3412 WOODS AVE                                                             LINCOLN             NE           68510                                  SUPPLIERS OR VENDORS       12/17/2018               $13.15
STEVEN DOSTAL          1883 ROAD 16                                                               HOWELLS             NE           68641                                  SUPPLIERS OR VENDORS       11/29/2018               $44.00
STEVEN E SORENSON      STORE 669                SHOPKO EMPLOYEE        PO BOX 271                 OELWEIN             IA           50662                                  SUPPLIERS OR VENDORS       10/18/2018               $28.78
STEVEN E SORENSON      STORE 669                SHOPKO EMPLOYEE        PO BOX 271                 OELWEIN             IA           50662                                  SUPPLIERS OR VENDORS       11/15/2018              $130.80
STEVEN E SORENSON      STORE 669                SHOPKO EMPLOYEE        PO BOX 271                 OELWEIN             IA           50662                                  SUPPLIERS OR VENDORS       11/29/2018               $37.77
STEVEN E SORENSON      STORE 669                SHOPKO EMPLOYEE        PO BOX 271                 OELWEIN             IA           50662                                  SUPPLIERS OR VENDORS       12/20/2018               $25.18
STEVEN F KONECKE       STORE 116                SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS        11/9/2018               $73.03
STEVEN HECKMAN         3910 N 58 STREET                                                           LINCOLN             NE           68507                                  SUPPLIERS OR VENDORS       12/10/2018               $13.15
STEVEN HECKMAN         3910 N 58 STREET                                                           LINCOLN             NE           68507                                  SUPPLIERS OR VENDORS       12/13/2018               $60.85
STEVEN HOLSTON         334 JACKSON STREET                                                         FORT ATKINSON       WI           53538                                  SUPPLIERS OR VENDORS       12/17/2018               $63.00
STEVEN INGRAHAM        N1891 SCHOENBORN RD                                                        CHILTON             WI           53014                                  SUPPLIERS OR VENDORS       11/27/2018               $84.98
STEVEN JEPSEN          1120 SEMORE AVE                                                            GARNER              IA           50438                                  SUPPLIERS OR VENDORS       12/13/2018               $23.00
STEVEN JOHNSON         1614 HILLSDALE RD                                                          EAU CLAIRE          WI           54703                                  SUPPLIERS OR VENDORS       11/26/2018               $42.24
STEVEN JOHNSON         831 RIVER STREET                                                           TAYLORS FALLS       MN           55084                                  SUPPLIERS OR VENDORS       11/29/2018                $3.00
STEVEN MILENTZ         208 DOTY STREET                                                            FREMONT             WI           54940                                  SUPPLIERS OR VENDORS       12/13/2018              $120.00
STEVEN NELSON          P O BOX 183                                                                ROUND LAKE          MN           56167                                  SUPPLIERS OR VENDORS       10/29/2018               $26.30
STEVEN SCHMIDT         6025 N ASSEMBLY                                                            SPOKANE             WA           99205                                  SUPPLIERS OR VENDORS       10/22/2018               $45.31
STEVEN SHERMAN         1253 VISTA AVE.                                                            SUNNYSIDE           WA           98944                                  SUPPLIERS OR VENDORS       11/28/2018               $23.00
STEVEN SONDELSKI       15301 CTY RD S                                                             ATHENS              WI           54411                                  SUPPLIERS OR VENDORS       11/30/2018                $6.20
STEVEN SPENCER         1704 11TH AVE NE                                                           ROCHESTER           MN           55906                                  SUPPLIERS OR VENDORS        11/2/2018               $15.00
STEVEN SR. BUTTREY     604 WEST. FREMONT AVE.                                                     SELAH               WA           98942                                  SUPPLIERS OR VENDORS        11/9/2018               $45.03
STEVEN STEMPA          1415 SUBURBAN DR.                                                          DE PERE             WI           54115                                  SUPPLIERS OR VENDORS        12/7/2018               $37.40
STEVEN WEBB            20621 BRANDT CT                                                            BEND                OR           97701                                  SUPPLIERS OR VENDORS        11/1/2018                $5.00
STEVEN WIGHAM          1818 2ND ST NE                                                             AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS        11/5/2018                $3.00
STEVEN WILLIAMS        2910 THOMAS AVE, #A                                                        RICE LAKE           WI           54868                                  SUPPLIERS OR VENDORS        12/7/2018               $25.00
STEVEN WINOGRAD        907 5TH AVENUE APT 11B                                                     NEW YORK            NY           10021                                  SUPPLIERS OR VENDORS       12/22/2018            $9,062.50

STEVEN WINOGRAD        907 5TH AVE, APT 11B                                                       NEW YORK            NY           10021                                  BOARD MEMBER PER DIEM       1/15/2019            $4,687.50
STEVEN WIRKUTY         9613 JEAN DRIVE                                                            HEBRON              IL           60034                                  SUPPLIERS OR VENDORS       12/10/2018               $10.00



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STEVENS POINT
TRANSPORTATION
DEPARTMENT               300 BLISS AVENUE              PO BOX 243                                        STEVENS POINT       WI           54481-0243                             SUPPLIERS OR VENDORS       11/1/2018             $914.20
STEVENS POINT
TRANSPORTATION
DEPARTMENT                300 BLISS AVENUE           PO BOX 243                                          STEVENS POINT       WI           54481-0243                             SUPPLIERS OR VENDORS      12/17/2018            $1,063.80
                          STEVENS SKIN CARE PRODUCTS
STEVENS SKIN SOFTENER INC INC                        PO BOX 1122                                         DRAPER              UT           84020-1122                             SUPPLIERS OR VENDORS      10/18/2018             $155.00
STEWART HAKENEWERTH       2500 S. 58TH ST.                                                               LINCOLN             NE           68506                                  SUPPLIERS OR VENDORS       12/7/2018              $23.00
STEWART HORN              2217 PAULINE DRIVE                                                             MISSOULA            MT           59804                                  SUPPLIERS OR VENDORS      11/26/2018              $14.52
STEWART HORN              2217 PAULINE DRIVE                                                             MISSOULA            MT           59804                                  SUPPLIERS OR VENDORS       12/5/2018              $53.76
                                                     44315 BONDI RIDGE
STEWART LAWN CARE LLC     DANNY L STEWART JR         ROAD                                                WOODSFIELD          OH           43793                                  SUPPLIERS OR VENDORS      12/14/2018            $1,297.73
STEWART TALENT                                       400 N MICHIGAN AVE
MANAGEMENT CORP           0                          STE 700                                             CHICAGO             IL           60611                                  SUPPLIERS OR VENDORS      11/27/2018                $1.00
STIEGLER COMPANY
INCORPORTED               1265 RUSSET COURT                                                              GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS      10/18/2018             $716.25
STIEGLER COMPANY
INCORPORTED               1265 RUSSET COURT                                                              GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS      10/25/2018            $1,567.00
STIEGLER COMPANY
INCORPORTED               1265 RUSSET COURT                                                              GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS       11/1/2018            $2,152.51
STIEGLER COMPANY
INCORPORTED               1265 RUSSET COURT                                                              GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS       11/8/2018             $184.63
STIEGLER COMPANY
INCORPORTED               1265 RUSSET COURT                                                              GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS      11/15/2018             $693.88
STIEGLER COMPANY
INCORPORTED               1265 RUSSET COURT                                                              GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS      11/29/2018            $2,225.75
STIEGLER COMPANY
INCORPORTED               1265 RUSSET COURT                                                              GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS      12/17/2018          $18,365.01
STIEGLER COMPANY
INCORPORTED               1265 RUSSET COURT                                                              GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS      12/20/2018             $237.38
STIEGLER COMPANY
INCORPORTED               1265 RUSSET COURT                                                              GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS         1/4/2019           $1,159.32
STIFTER MOWING
LANDSCAPE & SNOW
PLOWING                   LEON STIFTER               36350 317TH LANE                                    AITKIN              MN           56431                                  SUPPLIERS OR VENDORS      11/15/2018              $48.00

STOCOR PORTABLE STORAGE 6640 HWY 13 S                                                                    WISCONSIN RAPIDS WI              54494                                  SUPPLIERS OR VENDORS      10/25/2018             $674.45

STOCOR PORTABLE STORAGE 6640 HWY 13 S                                                                    WISCONSIN RAPIDS WI              54494                                  SUPPLIERS OR VENDORS       11/1/2018             $140.00

STOCOR PORTABLE STORAGE 6640 HWY 13 S                                                                    WISCONSIN RAPIDS WI              54494                                  SUPPLIERS OR VENDORS      11/29/2018             $140.00

STONE MOUNTAIN USA LLC   10 WEST 33RD STREET STE 728                                                     NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      10/22/2018          $38,663.74

STONE MOUNTAIN USA LLC   10 WEST 33RD STREET STE 728                                                     NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      10/30/2018          $23,196.00

STONE MOUNTAIN USA LLC   10 WEST 33RD STREET STE 728                                                     NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      10/31/2018          $22,170.00

STONE MOUNTAIN USA LLC   10 WEST 33RD STREET STE 728                                                     NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS       11/7/2018          $49,110.96

STONE MOUNTAIN USA LLC   10 WEST 33RD STREET STE 728                                                     NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      11/14/2018            $8,925.00

STONE MOUNTAIN USA LLC   10 WEST 33RD STREET STE 728                                                     NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      11/15/2018            $8,160.00



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STONE MOUNTAIN USA LLC    10 WEST 33RD STREET STE 728                                                     NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      11/22/2018            $8,664.15

STONE MOUNTAIN USA LLC    10 WEST 33RD STREET STE 728                                                     NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      11/23/2018            $1,224.00

STONE MOUNTAIN USA LLC    10 WEST 33RD STREET STE 728                                                     NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      11/27/2018             $918.00

STONE MOUNTAIN USA LLC    10 WEST 33RD STREET STE 728                                                     NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS       12/3/2018          $58,917.00
                          C/O WATSON CENTERS            4725 EXCELSIOR BLVD
STONE RIDGE PARTNERS      INCORPORATED                  SUITE 402                                         ST LOUIS PARK       MN           55416                                  SUPPLIERS OR VENDORS       11/1/2018          $15,486.00
                          C/O WATSON CENTERS            4725 EXCELSIOR BLVD
STONE RIDGE PARTNERS      INCORPORATED                  SUITE 402                                         ST LOUIS PARK       MN           55416                                  SUPPLIERS OR VENDORS       12/3/2018          $15,486.00
STONERIDGE PIGGLY                                       2465 LINEVILLE ROAD
WIGGLY                    OLSENS PIGGLY WIGGLY          SUITE 1                                           GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS         1/4/2019            $611.66
STOR MOR MOBILE STORAGE
INCORPORATED              PO BOX 613                                                                      MOOSE LAKE          MN           55767                                  SUPPLIERS OR VENDORS      10/18/2018             $356.00
STOR MOR MOBILE STORAGE
INCORPORATED              PO BOX 613                                                                      MOOSE LAKE          MN           55767                                  SUPPLIERS OR VENDORS      11/15/2018             $221.15
STOR MOR MOBILE STORAGE
INCORPORATED              PO BOX 613                                                                      MOOSE LAKE          MN           55767                                  SUPPLIERS OR VENDORS      11/26/2018             $134.85
                                                        3845 E SAWTOOTH
STORAGE PROS              MICHAEL E DESAUTEL            DRIVE                                             CHANDLER            AZ           85249                                  SUPPLIERS OR VENDORS       11/9/2018             $342.64
                                                        3845 E SAWTOOTH
STORAGE PROS              MICHAEL E DESAUTEL            DRIVE                                             CHANDLER            AZ           85249                                  SUPPLIERS OR VENDORS      12/18/2018             $342.64

STORAGE SOLUTION          MARK MEYER                    1903 NEMAHA AVENUE                                FALLS CITY          NE           68355                                  SUPPLIERS OR VENDORS       11/9/2018             $225.00

STORAGE SOLUTION          MARK MEYER                    1903 NEMAHA AVENUE                                FALLS CITY          NE           68355                                  SUPPLIERS OR VENDORS      12/18/2018             $225.00
STORAGE SYSTEMS           13991 CR 47                                                                     BURLINGTON          CO           80807                                  SUPPLIERS OR VENDORS      11/30/2018             $360.00
STORAGE SYSTEMS           13991 CR 47                                                                     BURLINGTON          CO           80807                                  SUPPLIERS OR VENDORS        1/5/2019             $120.00
STORCK USA L P            PO BOX 677430                                                                   DALLAS              TX           75267-7430                             SUPPLIERS OR VENDORS      10/19/2018           $1,059.05
STORCK USA L P            PO BOX 677430                                                                   DALLAS              TX           75267-7430                             SUPPLIERS OR VENDORS      10/26/2018          $14,647.18
STORCK USA L P            PO BOX 677430                                                                   DALLAS              TX           75267-7430                             SUPPLIERS OR VENDORS       11/9/2018           $9,318.12
STORCK USA L P            PO BOX 677430                                                                   DALLAS              TX           75267-7430                             SUPPLIERS OR VENDORS      11/30/2018           $1,204.00
STORCK USA L P            PO BOX 677430                                                                   DALLAS              TX           75267-7430                             SUPPLIERS OR VENDORS      12/13/2018          $26,571.15
STORCK USA L P            PO BOX 677430                                                                   DALLAS              TX           75267-7430                             SUPPLIERS OR VENDORS      12/19/2018           $4,136.31
STORCK USA L P            PO BOX 677430                                                                   DALLAS              TX           75267-7430                             SUPPLIERS OR VENDORS      12/20/2018           $6,998.12
STORCK USA L P            PO BOX 677430                                                                   DALLAS              TX           75267-7430                             SUPPLIERS OR VENDORS        1/8/2019           $8,533.15
STORED VALUE SOLUTIONS
INC                       0                             LOCKBOX 3802                                      CHICAGO             IL           60686-0038                             SUPPLIERS OR VENDORS      10/26/2018               $1.00
STORED VALUE SYSTEMS                                                                                                          KY           40222                                  SUPPLIERS OR VENDORS      10/18/2018           $9,883.28
STORED VALUE SYSTEMS                                                                                                          KY           40222                                  SUPPLIERS OR VENDORS      11/16/2018          $44,820.00
STORED VALUE SYSTEMS                                                                                                          KY           40222                                  SUPPLIERS OR VENDORS      11/30/2018          $11,034.38
STORED VALUE SYSTEMS                                                                                                          KY           40222                                  SUPPLIERS OR VENDORS        1/5/2019          $21,391.94
STRAIGHT EDGE
MAINTENANCE LLC           PO BOX 8464                                                                     BEND                OR           97708                                  SUPPLIERS OR VENDORS      12/19/2018            $1,500.00
STRATEGIC PARTNERS
INCORPORATED              6001 SOLUTIONS CENTER                                                           CHICAGO             IL           60677-6000                             SUPPLIERS OR VENDORS      11/22/2018             $173.00
STRATEGIC PARTNERS
INCORPORATED              6001 SOLUTIONS CENTER                                                           CHICAGO             IL           60677-6000                             SUPPLIERS OR VENDORS      11/29/2018             $202.50
STRATTON PICTURES &
MIRRORS DIV JEM ART       SHOPKO STORES                 PO BOX 19060           DISC 10/22/08              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/18/2018             $212.00
STRATTON PICTURES &
MIRRORS DIV JEM ART       SHOPKO STORES                 PO BOX 19060           DISC 10/22/08              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/1/2018             $207.50



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                                                        SOFA Part 2, Question 3 - Payments or transfers made to creditors within 90 days preceding commencement of this case




                                                                                                                                                                                Reasons for payment or    Dates of    Total Amount or
      Creditor Name               Address1                 Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
STRATTON PICTURES &
MIRRORS DIV JEM ART     SHOPKO STORES              PO BOX 19060             DISC 10/22/08              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/8/2018            $156.25
STRATTON PICTURES &
MIRRORS DIV JEM ART     SHOPKO STORES              PO BOX 19060             DISC 10/22/08              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/15/2018            $309.00
STRATTON PICTURES &
MIRRORS DIV JEM ART     SHOPKO STORES              PO BOX 19060             DISC 10/22/08              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/29/2018            $220.00
STUART ANDERSON         600 10TH S.                                                                    NORTHWOOD           IA           50459                                  SUPPLIERS OR VENDORS      12/21/2018            $122.00
STUDIO FORTY FOUR LLC
INCORPOR                211 N BROADWAY SUITE 218                                                       GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS      11/27/2018               $1.00
STUDIO FORTY FOUR LLC
INCORPORATED            211 N BROADWAY SUITE 218                                                       GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS       11/1/2018         $33,825.94
                        CIT GROUP COMMERCIAL
STUDIO RAY LLC          SERVICES INC               PO BOX 1036                                         CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      10/23/2018           $2,965.15
                        CIT GROUP COMMERCIAL
STUDIO RAY LLC          SERVICES INC               PO BOX 1036                                         CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      10/26/2018           $1,000.00
                        CIT GROUP COMMERCIAL
STUDIO RAY LLC          SERVICES INC               PO BOX 1036                                         CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      10/31/2018           $3,977.81
                                                   316 CENTRAL AVENUE
SUBWAY                  ATTN SHANNON FLEENER       W                                                   CLARION             IA           50525                                  SUPPLIERS OR VENDORS      11/27/2018             $26.75
                                                   316 CENTRAL AVENUE
SUBWAY                  ATTN SHANNON FLEENER       W                                                   CLARION             IA           50525                                  SUPPLIERS OR VENDORS      11/27/2018             $26.75
SUBWAY HUTCHINSON       204 HIGHWAY 7 W                                                                HUTCHINSON          MN           55350                                  SUPPLIERS OR VENDORS      10/26/2018             $55.95
SUBWAY HUTCHINSON       204 HIGHWAY 7 W                                                                HUTCHINSON          MN           55350                                  SUPPLIERS OR VENDORS       12/3/2018            $579.82
SUE ALLEN               4070 CTY J                                                                     ABRAMS              WI           54101                                  SUPPLIERS OR VENDORS      11/12/2018             $69.00

SUE ATWOOD              5911 HWY 73 SOUTH                                                              WISCONSIN RAPIDS WI              54494                                  SUPPLIERS OR VENDORS      11/28/2018             $12.23

SUE ATWOOD              5911 HWY 73 SOUTH                                                              WISCONSIN RAPIDS    WI           54494                                  SUPPLIERS OR VENDORS      11/29/2018             $42.24
SUE HARCEY              1367 9TH AVE SE                                                                ROCHESTER           MN           55904                                  SUPPLIERS OR VENDORS      11/26/2018            $254.98
SUE MEADE               13863 WILD ROSE LANE                                                           DUBUQUE             IA           52002                                  SUPPLIERS OR VENDORS      12/13/2018             $67.00
SUE MOREHEAD            410 EAST ST                                                                    SPENCER             SD           57374                                  SUPPLIERS OR VENDORS       11/9/2018             $40.34
SUE RECHTZIGEL          1919 BROOKSIDE DR                                                              ALBERT LEA          MN           56007                                  SUPPLIERS OR VENDORS       12/3/2018             $42.30
SUE THAYSE              EMPLOYEE RELATIONS         SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/9/2018             $21.71
SUE THAYSE              EMPLOYEE RELATIONS         SHOPKO EMPLOYEE                                     GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/27/2018             $24.00
SUE TROSKA              611 GILES PLACE                                                                ALBERT LEA          MN           56007                                  SUPPLIERS OR VENDORS      12/10/2018             $35.39
SUE ZIEBELL             3633 N 6TH ST              #9                                                  WAUSAU              WI           54403                                  SUPPLIERS OR VENDORS      11/26/2018              $2.00
SUE ZIEBELL             3633 N 6TH ST              #9                                                  WAUSAU              WI           54403                                  SUPPLIERS OR VENDORS      11/26/2018              $2.00
SULAYMA GALVAN          620 WEST FIR # 104                                                             SHELLEY             ID           83274                                  SUPPLIERS OR VENDORS      11/12/2018             $12.00
SUMMER INFANT
INCORPORATED            SII ACQUISITION INC        1275 PARK EAST DRIVE                                WOONSOCKET          RI           02895-0000                             SUPPLIERS OR VENDORS      10/18/2018           $7,975.27
SUMMER INFANT
INCORPORATED            SII ACQUISITION INC        1275 PARK EAST DRIVE                                WOONSOCKET          RI           02895-0000                             SUPPLIERS OR VENDORS      10/25/2018         $17,829.00
SUMMER INFANT
INCORPORATED            SII ACQUISITION INC        1275 PARK EAST DRIVE                                WOONSOCKET          RI           02895-0000                             SUPPLIERS OR VENDORS       11/1/2018           $9,880.79
SUMMER INFANT
INCORPORATED            SII ACQUISITION INC        1275 PARK EAST DRIVE                                WOONSOCKET          RI           02895-0000                             SUPPLIERS OR VENDORS       11/8/2018         $44,591.17
SUMMER INFANT
INCORPORATED            SII ACQUISITION INC        1275 PARK EAST DRIVE                                WOONSOCKET          RI           02895-0000                             SUPPLIERS OR VENDORS      11/15/2018         $30,470.39
SUMMER INFANT
INCORPORATED            SII ACQUISITION INC        1275 PARK EAST DRIVE                                WOONSOCKET          RI           02895-0000                             SUPPLIERS OR VENDORS      11/22/2018            $783.45
SUMMER INFANT
INCORPORATED            SII ACQUISITION INC        1275 PARK EAST DRIVE                                WOONSOCKET          RI           02895-0000                             SUPPLIERS OR VENDORS      11/29/2018         $14,839.93
SUMMIT BEVERAGE         3305 GREAT NORTHERN WAY                                                        MISSOULA            MT           59808-0000                             SUPPLIERS OR VENDORS       11/9/2018            $160.10
SUMMIT BEVERAGE         3305 GREAT NORTHERN WAY                                                        MISSOULA            MT           59808-0000                             SUPPLIERS OR VENDORS      11/26/2018            $187.60



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SUMMIT BEVERAGE          3305 GREAT NORTHERN WAY                                                      MISSOULA            MT           59808-0000                             SUPPLIERS OR VENDORS        12/11/2018               $93.80
SUMMIT BEVERAGE          3305 GREAT NORTHERN WAY                                                      MISSOULA            MT           59808-0000                             SUPPLIERS OR VENDORS        12/14/2018               $93.80
SUMMIT FIRE PROTECTION
COMPANY                  1965 MOMENTUM PLACE       PAM TO ORACLE                                      CHICAGO             IL           60689-5319                             SUPPLIERS OR VENDORS       10/23/2018              $155.00
SUMMIT FIRE PROTECTION
COMPANY                  1965 MOMENTUM PLACE       PAM TO ORACLE                                      CHICAGO             IL           60689-5319                             SUPPLIERS OR VENDORS       10/30/2018            $1,525.00
SUMMIT FIRE PROTECTION
COMPANY                  1965 MOMENTUM PLACE       PAM TO ORACLE                                      CHICAGO             IL           60689-5319                             SUPPLIERS OR VENDORS        11/2/2018              $293.00
SUMMIT NORTHWEST LLC     PO BOX 18194                                                                 SEATTLE             WA           98118-0194                             SUPPLIERS OR VENDORS        11/1/2018           $62,946.28
SUMMIT NORTHWEST LLC     PO BOX 18194                                                                 SEATTLE             WA           98118-0194                             SUPPLIERS OR VENDORS        12/4/2018           $62,946.28
SUN HO AHN               STORE 2-615               SHOPKO EMPLOYEE         291 S MAIN STREET          CLINTONVILLE        WI           54929                                  SUPPLIERS OR VENDORS       11/22/2018               $47.96
SUN HO AHN               STORE 2-615               SHOPKO EMPLOYEE         291 S MAIN STREET          CLINTONVILLE        WI           54929                                  SUPPLIERS OR VENDORS       12/20/2018               $98.00

SUN YIN USA              280 MACHLIN COURT                                                            CITY OF INDUSTRY CA              91789                                  SUPPLIERS OR VENDORS       10/18/2018              $581.77

SUN YIN USA              280 MACHLIN COURT                                                            CITY OF INDUSTRY CA              91789                                  SUPPLIERS OR VENDORS        11/1/2018            $1,821.60

SUN YIN USA              280 MACHLIN COURT                                                            CITY OF INDUSTRY CA              91789                                  SUPPLIERS OR VENDORS       11/15/2018            $1,572.61

SUN YIN USA              280 MACHLIN COURT                                                            CITY OF INDUSTRY CA              91789                                  SUPPLIERS OR VENDORS       11/22/2018            $1,621.20
SUNBEAM PRODUCTS INC                               SHOPKO STORES PO BOX    DISC NO BUSINESS IN 2
DBA                      JARDEN CONSUMER SOLUTIONS 19060                   YRS 11/15/10               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/18/2018            $2,098.50
SUNBEAM PRODUCTS INC                               SHOPKO STORES PO BOX    DISC NO BUSINESS IN 2
DBA                      JARDEN CONSUMER SOLUTIONS 19060                   YRS 11/15/10               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/18/2018            $4,408.95
SUNBEAM PRODUCTS INC                               SHOPKO STORES PO BOX    DISC NO BUSINESS IN 2
DBA                      JARDEN CONSUMER SOLUTIONS 19060                   YRS 11/15/10               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/18/2018            $8,652.76
SUNBEAM PRODUCTS INC                               SHOPKO STORES PO BOX    DISC NO BUSINESS IN 2
DBA                      JARDEN CONSUMER SOLUTIONS 19060                   YRS 11/15/10               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/19/2018            $3,271.78
SUNBEAM PRODUCTS INC                               SHOPKO STORES PO BOX    DISC NO BUSINESS IN 2
DBA                      JARDEN CONSUMER SOLUTIONS 19060                   YRS 11/15/10               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/19/2018           $10,749.51
SUNBEAM PRODUCTS INC                               SHOPKO STORES PO BOX    DISC NO BUSINESS IN 2
DBA                      JARDEN CONSUMER SOLUTIONS 19060                   YRS 11/15/10               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/19/2018          $189,074.32
SUNBEAM PRODUCTS INC                               SHOPKO STORES PO BOX    DISC NO BUSINESS IN 2
DBA                      JARDEN CONSUMER SOLUTIONS 19060                   YRS 11/15/10               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/25/2018            $1,247.74
SUNBEAM PRODUCTS INC                               SHOPKO STORES PO BOX    DISC NO BUSINESS IN 2
DBA                      JARDEN CONSUMER SOLUTIONS 19060                   YRS 11/15/10               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/25/2018            $4,468.71
SUNBEAM PRODUCTS INC                               SHOPKO STORES PO BOX    DISC NO BUSINESS IN 2
DBA                      JARDEN CONSUMER SOLUTIONS 19060                   YRS 11/15/10               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/25/2018            $7,481.96
SUNBEAM PRODUCTS INC                               SHOPKO STORES PO BOX    DISC NO BUSINESS IN 2
DBA                      JARDEN CONSUMER SOLUTIONS 19060                   YRS 11/15/10               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/26/2018           $30,824.94
SUNBEAM PRODUCTS INC                               SHOPKO STORES PO BOX    DISC NO BUSINESS IN 2
DBA                      JARDEN CONSUMER SOLUTIONS 19060                   YRS 11/15/10               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/26/2018          $121,997.67
SUNBEAM PRODUCTS INC                               SHOPKO STORES PO BOX    DISC NO BUSINESS IN 2
DBA                      JARDEN CONSUMER SOLUTIONS 19060                   YRS 11/15/10               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/1/2018            $1,885.85
SUNBEAM PRODUCTS INC                               SHOPKO STORES PO BOX    DISC NO BUSINESS IN 2
DBA                      JARDEN CONSUMER SOLUTIONS 19060                   YRS 11/15/10               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/1/2018            $2,434.78
SUNBEAM PRODUCTS INC                               SHOPKO STORES PO BOX    DISC NO BUSINESS IN 2
DBA                      JARDEN CONSUMER SOLUTIONS 19060                   YRS 11/15/10               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/1/2018            $3,881.39
SUNBEAM PRODUCTS INC                               SHOPKO STORES PO BOX    DISC NO BUSINESS IN 2
DBA                      JARDEN CONSUMER SOLUTIONS 19060                   YRS 11/15/10               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/1/2018           $53,473.45
SUNBEAM PRODUCTS INC                               SHOPKO STORES PO BOX    DISC NO BUSINESS IN 2
DBA                      JARDEN CONSUMER SOLUTIONS 19060                   YRS 11/15/10               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/2/2018           $45,907.00
SUNBEAM PRODUCTS INC                               SHOPKO STORES PO BOX    DISC NO BUSINESS IN 2
DBA                      JARDEN CONSUMER SOLUTIONS 19060                   YRS 11/15/10               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/2/2018          $239,552.26



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                                                                                                                                                                              Reasons for payment or    Dates of    Total Amount or
       Creditor Name            Address1                 Address2                 Address3                  City              State       Zip              Country                   transfer          Payments           Value
SUNBEAM PRODUCTS INC                               SHOPKO STORES PO BOX   DISC NO BUSINESS IN 2
DBA                    JARDEN CONSUMER SOLUTIONS   19060                  YRS 11/15/10               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/8/2018         $16,669.98
SUNBEAM PRODUCTS INC                               SHOPKO STORES PO BOX   DISC NO BUSINESS IN 2
DBA                    JARDEN CONSUMER SOLUTIONS   19060                  YRS 11/15/10               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/8/2018         $89,663.41
SUNBEAM PRODUCTS INC                               SHOPKO STORES PO BOX   DISC NO BUSINESS IN 2
DBA                    JARDEN CONSUMER SOLUTIONS   19060                  YRS 11/15/10               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/9/2018         $26,226.02
SUNBEAM PRODUCTS INC                               SHOPKO STORES PO BOX   DISC NO BUSINESS IN 2
DBA                    JARDEN CONSUMER SOLUTIONS   19060                  YRS 11/15/10               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/9/2018        $254,476.68
SUNBEAM PRODUCTS INC                               SHOPKO STORES PO BOX   DISC NO BUSINESS IN 2
DBA                    JARDEN CONSUMER SOLUTIONS   19060                  YRS 11/15/10               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/15/2018           $2,144.52
SUNBEAM PRODUCTS INC                               SHOPKO STORES PO BOX   DISC NO BUSINESS IN 2
DBA                    JARDEN CONSUMER SOLUTIONS   19060                  YRS 11/15/10               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/15/2018           $2,359.86
SUNBEAM PRODUCTS INC                               SHOPKO STORES PO BOX   DISC NO BUSINESS IN 2
DBA                    JARDEN CONSUMER SOLUTIONS   19060                  YRS 11/15/10               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/15/2018           $5,282.33
SUNBEAM PRODUCTS INC                               SHOPKO STORES PO BOX   DISC NO BUSINESS IN 2
DBA                    JARDEN CONSUMER SOLUTIONS   19060                  YRS 11/15/10               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/15/2018        $125,955.19
SUNBEAM PRODUCTS INC                               SHOPKO STORES PO BOX   DISC NO BUSINESS IN 2
DBA                    JARDEN CONSUMER SOLUTIONS   19060                  YRS 11/15/10               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/16/2018            $533.52
SUNBEAM PRODUCTS INC                               SHOPKO STORES PO BOX   DISC NO BUSINESS IN 2
DBA                    JARDEN CONSUMER SOLUTIONS   19060                  YRS 11/15/10               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/16/2018         $26,415.79
SUNBEAM PRODUCTS INC                               SHOPKO STORES PO BOX   DISC NO BUSINESS IN 2
DBA                    JARDEN CONSUMER SOLUTIONS   19060                  YRS 11/15/10               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/16/2018        $405,981.20
SUNBEAM PRODUCTS INC                               SHOPKO STORES PO BOX   DISC NO BUSINESS IN 2
DBA                    JARDEN CONSUMER SOLUTIONS   19060                  YRS 11/15/10               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/22/2018             $22.56
SUNBEAM PRODUCTS INC                               SHOPKO STORES PO BOX   DISC NO BUSINESS IN 2
DBA                    JARDEN CONSUMER SOLUTIONS   19060                  YRS 11/15/10               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/22/2018           $5,474.58
SUNBEAM PRODUCTS INC                               SHOPKO STORES PO BOX   DISC NO BUSINESS IN 2
DBA                    JARDEN CONSUMER SOLUTIONS   19060                  YRS 11/15/10               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/22/2018           $8,942.02
SUNBEAM PRODUCTS INC                               SHOPKO STORES PO BOX   DISC NO BUSINESS IN 2
DBA                    JARDEN CONSUMER SOLUTIONS   19060                  YRS 11/15/10               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/22/2018         $25,740.38
SUNBEAM PRODUCTS INC                               SHOPKO STORES PO BOX   DISC NO BUSINESS IN 2
DBA                    JARDEN CONSUMER SOLUTIONS   19060                  YRS 11/15/10               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/29/2018            $608.42
SUNBEAM PRODUCTS INC                               SHOPKO STORES PO BOX   DISC NO BUSINESS IN 2
DBA                    JARDEN CONSUMER SOLUTIONS   19060                  YRS 11/15/10               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/29/2018           $1,526.95
SUNBEAM PRODUCTS INC                               SHOPKO STORES PO BOX   DISC NO BUSINESS IN 2
DBA                    JARDEN CONSUMER SOLUTIONS   19060                  YRS 11/15/10               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/29/2018           $3,934.24
SUNBEAM PRODUCTS INC                               SHOPKO STORES PO BOX   DISC NO BUSINESS IN 2
DBA                    JARDEN CONSUMER SOLUTIONS   19060                  YRS 11/15/10               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/29/2018         $23,132.46
SUNBEAM PRODUCTS INC                               SHOPKO STORES PO BOX   DISC NO BUSINESS IN 2
DBA                    JARDEN CONSUMER SOLUTIONS   19060                  YRS 11/15/10               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/30/2018           $4,575.68
SUNBEAM PRODUCTS INC                               SHOPKO STORES PO BOX   DISC NO BUSINESS IN 2
DBA                    JARDEN CONSUMER SOLUTIONS   19060                  YRS 11/15/10               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/30/2018         $34,243.95
SUNBEAM PRODUCTS INC                               SHOPKO STORES PO BOX   DISC NO BUSINESS IN 2
DBA                    JARDEN CONSUMER SOLUTIONS   19060                  YRS 11/15/10               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/30/2018        $420,955.10
SUNBEAM PRODUCTS INC                               SHOPKO STORES PO BOX   DISC NO BUSINESS IN 2
DBA                    JARDEN CONSUMER SOLUTIONS   19060                  YRS 11/15/10               GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/13/2018        $404,422.42
SUNCAST CORPORATION    4297 PAYSPHERE CIRCLE                                                         CHICAGO             IL           60674-0000                             SUPPLIERS OR VENDORS      11/22/2018         $17,545.41
SUNCAST CORPORATION    4297 PAYSPHERE CIRCLE                                                         CHICAGO             IL           60674-0000                             SUPPLIERS OR VENDORS      11/29/2018         $46,437.96
SUNDERMAN SEPTIC
SERVICE                ERIC SUNDERMAN              5653 W CR 1200 N                                  KINGMAN             IN           47952                                  SUPPLIERS OR VENDORS       11/2/2018            $450.00
SUNDERMAN SEPTIC
SERVICE                ERIC SUNDERMAN              5653 W CR 1200 N                                  KINGMAN             IN           47952                                  SUPPLIERS OR VENDORS      11/30/2018            $750.00
SUNNY ISLAND
DISTRIBUTION           1569 BARCLAY BLVD                                                             BUFFALO GROVE       IL           60089                                  SUPPLIERS OR VENDORS      10/18/2018         $13,643.92



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SUNNY ISLAND
DISTRIBUTION                1569 BARCLAY BLVD                                                             BUFFALO GROVE       IL           60089                                  SUPPLIERS OR VENDORS      10/25/2018         $27,001.99
SUNNY ISLAND
DISTRIBUTION                1569 BARCLAY BLVD                                                             BUFFALO GROVE       IL           60089                                  SUPPLIERS OR VENDORS       11/8/2018         $27,168.24
SUNNY ISLAND
DISTRIBUTION                1569 BARCLAY BLVD                                                             BUFFALO GROVE       IL           60089                                  SUPPLIERS OR VENDORS      11/22/2018         $66,033.41
SUNNY ISLAND
DISTRIBUTION                1569 BARCLAY BLVD                                                             BUFFALO GROVE       IL           60089                                  SUPPLIERS OR VENDORS      11/29/2018         $20,477.84
SUNRISE EXPRESS
INCORPORATED                PO BOX D                                                                      TWIN FALLS          ID           83303-0019                             SUPPLIERS OR VENDORS      10/18/2018         $68,941.21
SUNRISE EXPRESS
INCORPORATED                PO BOX D                                                                      TWIN FALLS          ID           83303-0019                             SUPPLIERS OR VENDORS      10/25/2018         $99,643.78
SUNRISE EXPRESS
INCORPORATED                PO BOX D                                                                      TWIN FALLS          ID           83303-0019                             SUPPLIERS OR VENDORS       11/1/2018         $62,076.71
SUNRISE EXPRESS
INCORPORATED                PO BOX D                                                                      TWIN FALLS          ID           83303-0019                             SUPPLIERS OR VENDORS       11/8/2018        $106,763.01
SUNRISE EXPRESS
INCORPORATED                PO BOX D                                                                      TWIN FALLS          ID           83303-0019                             SUPPLIERS OR VENDORS      11/15/2018         $88,280.27
SUNRISE EXPRESS
INCORPORATED                PO BOX D                                                                      TWIN FALLS          ID           83303-0019                             SUPPLIERS OR VENDORS      11/29/2018        $171,027.49
SUNRISE EXPRESS
INCORPORATED                PO BOX D                                                                      TWIN FALLS          ID           83303-0019                             SUPPLIERS OR VENDORS       12/7/2018        $116,609.26
SUNRISE EXPRESS
INCORPORATED                PO BOX D                                                                      TWIN FALLS          ID           83303-0019                             SUPPLIERS OR VENDORS      12/10/2018         $25,416.67
SUNRISE EXPRESS
INCORPORATED                PO BOX D                                                                      TWIN FALLS          ID           83303-0019                             SUPPLIERS OR VENDORS      12/11/2018           $5,175.00
SUNRISE EXPRESS
INCORPORATED                PO BOX D                                                                      TWIN FALLS          ID           83303-0019                             SUPPLIERS OR VENDORS      12/13/2018         $34,900.31
SUNRISE EXPRESS
INCORPORATED                PO BOX D                                                                      TWIN FALLS          ID           83303-0019                             SUPPLIERS OR VENDORS      12/14/2018           $9,204.25
SUNRISE EXPRESS
INCORPORATED                PO BOX D                                                                      TWIN FALLS          ID           83303-0019                             SUPPLIERS OR VENDORS      12/17/2018         $19,822.09
SUNRISE EXPRESS
INCORPORATED                PO BOX D                                                                      TWIN FALLS          ID           83303-0019                             SUPPLIERS OR VENDORS      12/19/2018         $32,629.99
SUNRISE EXPRESS
INCORPORATED                PO BOX D                                                                      TWIN FALLS          ID           83303-0019                             SUPPLIERS OR VENDORS      12/20/2018         $12,009.28
SUNRISE EXPRESS
INCORPORATED                PO BOX D                                                                      TWIN FALLS          ID           83303-0019                             SUPPLIERS OR VENDORS      12/21/2018           $3,237.78
SUNRISE EXPRESS
INCORPORATED                PO BOX D                                                                      TWIN FALLS          ID           83303-0019                             SUPPLIERS OR VENDORS      12/27/2018         $35,113.07
SUNRISE EXPRESS
INCORPORATED                PO BOX D                                                                      TWIN FALLS          ID           83303-0019                             SUPPLIERS OR VENDORS        1/4/2019        $102,506.77
SUOMI RESTAURANT            54 HURON STREET                                                               HOUGHTON            MI           49931                                  SUPPLIERS OR VENDORS      11/14/2018            $238.50
SUPER STORES SERVICE        PO BOX 627                                                                    BEAVERTON           OR           97075                                  SUPPLIERS OR VENDORS       11/9/2018            $175.15
SUPER STORES SERVICE        PO BOX 627                                                                    BEAVERTON           OR           97075                                  SUPPLIERS OR VENDORS      11/16/2018             $62.65
SUPER STORES SERVICE        PO BOX 627                                                                    BEAVERTON           OR           97075                                  SUPPLIERS OR VENDORS      11/30/2018             $70.09
SUPER STORES SERVICE        PO BOX 627                                                                    BEAVERTON           OR           97075                                  SUPPLIERS OR VENDORS      12/18/2018             $68.54
SUPER STORES SERVICE        PO BOX 627                                                                    BEAVERTON           OR           97075                                  SUPPLIERS OR VENDORS      12/19/2018             $36.62
SUPERIOR FLOOR & POWER
SWEEP INC                   4676 COMMERCIAL STREET SE   PMB 166                                           SALEM               OR           97302                                  SUPPLIERS OR VENDORS      10/25/2018            $130.00
SUPERIOR FLOOR & POWER
SWEEP INC                   4676 COMMERCIAL STREET SE   PMB 166                                           SALEM               OR           97302                                  SUPPLIERS OR VENDORS      11/29/2018            $130.00
SUPERIOR ICE DISTRIBUTING
INC                         PO BOX 309                                                                    WELLS               MI           49894                                  SUPPLIERS OR VENDORS      10/18/2018            $254.32



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                                                                                                                                                                                     Reasons for payment or    Dates of    Total Amount or
      Creditor Name                   Address1                  Address2                  Address3                  City             State       Zip              Country                   transfer          Payments           Value
SUPERIOR ICE DISTRIBUTING
INC                         PO BOX 309                                                                      WELLS               MI           49894                                  SUPPLIERS OR VENDORS      11/15/2018            $105.60
SUPERIOR SOFT WATER
INCORPORATED                3521 S 1950 W                                                                   WEST VALLEY CITY UT              84119                                  SUPPLIERS OR VENDORS       11/9/2018             $79.90
SUPERIOR SOFT WATER
INCORPORATED                3521 S 1950 W                                                                   WEST VALLEY CITY UT              84119                                  SUPPLIERS OR VENDORS      11/16/2018             $39.95
SUPERIOR SOFT WATER
INCORPORATED                3521 S 1950 W                                                                   WEST VALLEY CITY UT              84119                                  SUPPLIERS OR VENDORS      12/18/2018             $79.90
                            CIT GROUP COMMERCIAL
SUPREME INTERNATIONAL       SERVICES INC                  PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/8/2018         $31,293.75
                            CIT GROUP COMMERCIAL
SUPREME INTERNATIONAL       SERVICES INC                  PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS      11/29/2018           $2,542.50
                            CIT GROUP COMMERCIAL
SUPREME INTERNATIONAL       SERVICES INC                  PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       12/3/2018           $1,060.00
SUPREME LAWN &
LANDSCAPING                 PO BOX 7271                                                                     ST CLOUD            MN           56302-7271                             SUPPLIERS OR VENDORS      11/15/2018             $91.27
SURAYA WEIGEL-STERR         3605 MILWAUKEE ST.                                                              MADISON             WI           53714                                  SUPPLIERS OR VENDORS      12/21/2018             $25.00

SURF NINE LLC (CHUB)        ROSENTHAL & ROSENTHAL INC     PO BOX 88926                                      CHICAGO             IL           60695                                  SUPPLIERS OR VENDORS       11/2/2018             $75.00
SURGICAL APPLIANCE
INDUSTRIES                  VICE PRESIDENT OF SALES       3960 ROSSLYN DRIVE                                CINCINNATI          OH           45209                                  SUPPLIERS OR VENDORS      10/18/2018           $7,295.07
SURGICAL APPLIANCE
INDUSTRIES                  VICE PRESIDENT OF SALES       3960 ROSSLYN DRIVE                                CINCINNATI          OH           45209                                  SUPPLIERS OR VENDORS      10/25/2018           $3,123.54
SURGICAL APPLIANCE
INDUSTRIES                  VICE PRESIDENT OF SALES       3960 ROSSLYN DRIVE                                CINCINNATI          OH           45209                                  SUPPLIERS OR VENDORS       11/1/2018           $4,741.82
SURGICAL APPLIANCE
INDUSTRIES                  VICE PRESIDENT OF SALES       3960 ROSSLYN DRIVE                                CINCINNATI          OH           45209                                  SUPPLIERS OR VENDORS       11/8/2018           $4,442.52
SURGICAL APPLIANCE
INDUSTRIES                  VICE PRESIDENT OF SALES       3960 ROSSLYN DRIVE                                CINCINNATI          OH           45209                                  SUPPLIERS OR VENDORS      11/15/2018           $3,771.06
SURGICAL APPLIANCE
INDUSTRIES                  VICE PRESIDENT OF SALES       3960 ROSSLYN DRIVE                                CINCINNATI          OH           45209                                  SUPPLIERS OR VENDORS      11/22/2018           $4,957.32
SURGICAL APPLIANCE
INDUSTRIES                  VICE PRESIDENT OF SALES       3960 ROSSLYN DRIVE                                CINCINNATI          OH           45209                                  SUPPLIERS OR VENDORS      11/29/2018           $4,655.18
SURGICAL APPLIANCE
INDUSTRIES                  VICE PRESIDENT OF SALES       3960 ROSSLYN DRIVE                                CINCINNATI          OH           45209                                  SUPPLIERS OR VENDORS      12/12/2018           $8,140.08
SURGICAL APPLIANCE
INDUSTRIES                  VICE PRESIDENT OF SALES       3960 ROSSLYN DRIVE                                CINCINNATI          OH           45209                                  SUPPLIERS OR VENDORS      12/13/2018           $2,354.16
SURGICAL APPLIANCE
INDUSTRIES                  VICE PRESIDENT OF SALES       3960 ROSSLYN DRIVE                                CINCINNATI          OH           45209                                  SUPPLIERS OR VENDORS      12/18/2018           $4,492.98
SURGICAL APPLIANCE
INDUSTRIES                  VICE PRESIDENT OF SALES       3960 ROSSLYN DRIVE                                CINCINNATI          OH           45209                                  SUPPLIERS OR VENDORS      12/19/2018               $5.43
SURGICAL APPLIANCE
INDUSTRIES                  VICE PRESIDENT OF SALES       3960 ROSSLYN DRIVE                                CINCINNATI          OH           45209                                  SUPPLIERS OR VENDORS      12/20/2018           $2,180.76
SURGICAL APPLIANCE
INDUSTRIES                  VICE PRESIDENT OF SALES       3960 ROSSLYN DRIVE                                CINCINNATI          OH           45209                                  SUPPLIERS OR VENDORS      12/21/2018           $1,301.34
SURGICAL APPLIANCE
INDUSTRIES                  VICE PRESIDENT OF SALES       3960 ROSSLYN DRIVE                                CINCINNATI          OH           45209                                  SUPPLIERS OR VENDORS      12/27/2018           $3,615.28
SURPLUS GIANT
INCORPORATED                900 E ATLANTIC AVE SUITE 12                                                     DELRAY BEACH        FL           33483-0000                             SUPPLIERS OR VENDORS      10/18/2018        $142,537.32
SURPLUS GIANT
INCORPORATED                900 E ATLANTIC AVE SUITE 12                                                     DELRAY BEACH        FL           33483-0000                             SUPPLIERS OR VENDORS      11/15/2018           $4,032.00
SUSAN A STICH               STORE 2-704                   SHOPKO EMPLOYEE        1300 STONE STREET          FALLS CITY          NE           68355                                  SUPPLIERS OR VENDORS      10/18/2018             $109.00
SUSAN A STICH               STORE 2-704                   SHOPKO EMPLOYEE        1300 STONE STREET          FALLS CITY          NE           68355                                  SUPPLIERS OR VENDORS      10/25/2018              $43.60
SUSAN A STICH               STORE 2-704                   SHOPKO EMPLOYEE        1300 STONE STREET          FALLS CITY          NE           68355                                  SUPPLIERS OR VENDORS       11/1/2018              $98.10



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                                                                                                                                                                                 Reasons for payment or    Dates of     Total Amount or
      Creditor Name               Address1                 Address2                 Address3                   City             State       Zip              Country                    transfer          Payments            Value
SUSAN A STICH          STORE 2-704                   SHOPKO EMPLOYEE        1300 STONE STREET          FALLS CITY          NE           68355                                  SUPPLIERS OR VENDORS        11/15/2018              $141.70
SUSAN A STICH          STORE 2-704                   SHOPKO EMPLOYEE        1300 STONE STREET          FALLS CITY          NE           68355                                  SUPPLIERS OR VENDORS        12/13/2018              $228.90
SUSAN BENEDETT         18309 WHITETAIL LANE                                                            ALTURA              MN           55910                                  SUPPLIERS OR VENDORS        10/29/2018               $34.30
SUSAN BOLT             P.O. BOX 1716                                                                   MEDICAL LAKE        WA           99022                                  SUPPLIERS OR VENDORS        11/16/2018               $24.76
SUSAN BOLT             P.O. BOX 1716                                                                   MEDICAL LAKE        WA           99022                                  SUPPLIERS OR VENDORS        11/29/2018              $107.24
SUSAN BORCHARDT        5532 N CTY RD G                                                                 WINTER              WI           54896                                  SUPPLIERS OR VENDORS         11/5/2018               $44.80
SUSAN BORCHARDT        5532 N CTY RD G                                                                 WINTER              WI           54896                                  SUPPLIERS OR VENDORS        11/14/2018               $25.20
SUSAN CLAUSEN          W6293 WEBERS POINT RD                                                           SHAWANO             WI           54166                                  SUPPLIERS OR VENDORS        10/19/2018               $69.00
SUSAN COWDEN           5707 ST PAUL AVE                                                                LINCOLN             NE           68507                                  SUPPLIERS OR VENDORS        11/29/2018               $60.85

SUSAN CRAWFORD         7000 BEAVER HOLLOW CIRCLE                                                       LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS       11/15/2018               $11.98

SUSAN CRAWFORD         7000 BEAVER HOLLOW CIRCLE                                                       LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS       11/28/2018               $47.94
SUSAN DAMROW           236 STH OTIS ST                                                                 GLENBEULAH          WI           53023                                  SUPPLIERS OR VENDORS        12/3/2018               $51.49
SUSAN DENDINGER        1300 CROWN RD                                                                   NORFOLK             NE           68701                                  SUPPLIERS OR VENDORS       10/22/2018                $8.10
SUSAN DOORES           P.O. BOX 777                                                                    FRENCHTOWN          MT           59834                                  SUPPLIERS OR VENDORS       11/26/2018               $53.76
SUSAN DRESEL           STORE 547                     SHOPKO EMPLOYEE        PO BOX 929                 MOOSE LAKE          MN           55767                                  SUPPLIERS OR VENDORS       12/27/2018              $101.38
SUSAN FABEL            1608 GRAND AVE                                                                  SCHOFIELD           WI           54476                                  SUPPLIERS OR VENDORS       11/26/2018               $14.97
SUSAN FANSLER          622 W LINCOLN                                                                   WHITE HALL          IL           62092                                  SUPPLIERS OR VENDORS       11/26/2018               $42.00
SUSAN FISHER           902 W KEMP                                                                      WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS       11/16/2018               $44.16
SUSAN FOY              5124 N AUTUMN LANE                                                              MC FARLAND          WI           53558                                  SUPPLIERS OR VENDORS        11/2/2018               $15.00
SUSAN GERMAN           4938 SELL STREET                                                                HARTFORD            WI           53027                                  SUPPLIERS OR VENDORS       12/17/2018               $90.00
SUSAN GREER            6229 CEDAR HILL RD                                                              WEST JORDAN         UT           84081                                  SUPPLIERS OR VENDORS        12/7/2018               $10.00
SUSAN GREER            6229 CEDAR HILL RD                                                              WEST JORDAN         UT           84081                                  SUPPLIERS OR VENDORS        12/7/2018               $18.00
SUSAN HAEN             930 CHERRY HILL DR                                                              CLEVELAND           WI           53015                                  SUPPLIERS OR VENDORS       11/12/2018               $15.02
SUSAN HEAVEY           1721 13TH AVE NE                                                                WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS       10/22/2018               $12.79
SUSAN HOEFENER         322 W WILLOW                                                                    PIERCE              NE           68767                                  SUPPLIERS OR VENDORS       11/14/2018               $53.54
SUSAN HOGEN            1708 N JEFFERSON                                                                NEW ULM             MN           56073                                  SUPPLIERS OR VENDORS       12/13/2018               $96.90
SUSAN HOLL             736 SILVERCREEK DRIVE                                                           ONEIDA              WI           54155                                  SUPPLIERS OR VENDORS        11/8/2018               $24.84
SUSAN LEE              2101 N EUGENE ST                                                                APPLETON            WI           54914                                  SUPPLIERS OR VENDORS       10/26/2018              $172.71
SUSAN LOPICCOLO        6028 DEERFIELD RD                                                               RACINE              WI           53406                                  SUPPLIERS OR VENDORS        11/2/2018               $22.50
SUSAN MCCOY            STORE 2-753                   SHOPKO EMPLOYEE        2701 HIGHWAY 18 W          HOT SPRINGS         SD           57747                                  SUPPLIERS OR VENDORS       10/18/2018              $141.70
SUSAN MCCOY            STORE 2-753                   SHOPKO EMPLOYEE        2701 HIGHWAY 18 W          HOT SPRINGS         SD           57747                                  SUPPLIERS OR VENDORS       10/25/2018              $144.48
SUSAN MEYER            604 SOTH 27TH STREET                                                            SHEBOYGAN           WI           53081                                  SUPPLIERS OR VENDORS       11/26/2018               $32.00
SUSAN MILLER           STORE 571                     SHOPKO EMPLOYEE        620 E HIGHWAY 12           WEBSTER             SD           57274-1135                             SUPPLIERS OR VENDORS       11/15/2018               $54.50
SUSAN MYERS            3614 E. 34TH                                                                    SPOKANE             WA           99223                                  SUPPLIERS OR VENDORS       10/22/2018               $69.00
SUSAN NILSEN           STORE 2-054                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/15/2018              $268.80
SUSAN NILSEN           STORE 2-054                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/6/2018              $896.15
SUSAN NILSEN           STORE 2-054                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/27/2018              $327.00

SUSAN PHILLIPS         3400 YORKSHIRE LANE APT 312                                                     MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS       10/22/2018               $25.00
SUSAN RICHARDS         1531 BROADWATER CIRCLE                                                          HELENA              MT           59601                                  SUPPLIERS OR VENDORS       10/26/2018               $84.50
SUSAN SALO             154 RESORT DR                                                                   CRYSTAL FALLS       MI           49920                                  SUPPLIERS OR VENDORS       11/29/2018               $38.74
SUSAN SALO             154 RESORT DR                                                                   CRYSTAL FALLS       MI           49920                                  SUPPLIERS OR VENDORS        12/3/2018                $8.09
SUSAN SAVAGE           3116 SO 8950 W                                                                  MAGNA               UT           84044                                  SUPPLIERS OR VENDORS       11/29/2018               $27.18
SUSAN STENSRUD         3303 HAVEN COURT SE                                                             ROCHESTER           MN           55904                                  SUPPLIERS OR VENDORS        12/3/2018               $15.00
SUSAN STROM MILBRATH   648 E. RACINE STREET                                                            JEFFERSON           WI           53549                                  SUPPLIERS OR VENDORS        12/5/2018               $63.00
SUSAN VAN DUSEN        418 6TH STREET                                                                  IRON MOUNTAIN       MI           49801                                  SUPPLIERS OR VENDORS       10/22/2018               $39.04

SUSAN VIS              STORE 2-747                   SHOPKO EMPLOYEE        405 W INTERSTATE DRIVE LUVERNE                 MN           56156                                  SUPPLIERS OR VENDORS        11/8/2018              $171.68
SUSAN WAGENBACH        1029 LINDEN AVE                                                             RICE LAKE               WI           54868                                  SUPPLIERS OR VENDORS       11/26/2018               $56.00
SUSAN WILLIAMSON       7601 W. WASHINGTON AVE                                                      YAKIMA                  WA           98903                                  SUPPLIERS OR VENDORS       11/12/2018              $140.00
SUSAN WOLLOCK          921 OLD WAUSAU ROAD                                                         STEVENS POINT           WI           54481                                  SUPPLIERS OR VENDORS       10/19/2018               $97.13
SUSAN ZASTROW          1522 GROSS AVE                                                              GREEN BAY               WI           54304                                  SUPPLIERS OR VENDORS       10/24/2018               $22.50



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      Creditor Name                   Address1               Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
SUSAN ZASTROW               1522 GROSS AVE                                                               GREEN BAY           WI           54304                                  SUPPLIERS OR VENDORS        10/24/2018               $48.60
SUSANNA LAFOUNTAIN          4617 SIMPSON ST.                                                             BILLINGS            MT           59101                                  SUPPLIERS OR VENDORS        12/17/2018              $144.00
SUSANNA LAFOUNTAIN          4617 SIMPSON ST.                                                             BILLINGS            MT           59101                                  SUPPLIERS OR VENDORS        12/17/2018              $144.00
SUZAN MORSCHHAUSER          335 NORTH PERRY PKWY                                                         OREGON              WI           53575                                  SUPPLIERS OR VENDORS        11/26/2018               $25.00
SUZANA HAINES               138 SUNRISE CT                                                               OCONTO FALLS        WI           54154                                  SUPPLIERS OR VENDORS         11/9/2018               $59.01
SUZANNE ANTONISSEN          TRAINING                  SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         12/6/2018               $39.57
SUZANNE BOGART              1475 NAVIGATOR WAY #67                                                       DE PERE             WI           54115                                  SUPPLIERS OR VENDORS        11/26/2018               $25.00
SUZANNE BYLER               STORE 2-175               SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/27/2018            $1,105.66
SUZANNE BYLER               STORE 2-175               SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/22/2018            $2,553.39
SUZANNE BYLER               STORE 2-175               SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         1/10/2019              $513.36
SUZANNE HANNULA             53469 HWY M 203                                                              HANCOCK             MI           49930                                  SUPPLIERS OR VENDORS         11/1/2018              $149.98
SUZANNE KAMPA
WACKWITZ                    S 8181 CAROL LANE                                                            EAU CLAIRE          WI           54701                                  SUPPLIERS OR VENDORS       11/26/2018               $42.24
SUZANNE KAMPA
WACKWITZ                    S 8181 CAROL LANE                                                            EAU CLAIRE          WI           54701                                  SUPPLIERS OR VENDORS        12/3/2018               $23.76
SUZANNE LACROSSE            1161 NW PROMONTORY DR                                                        BEND                OR           97701                                  SUPPLIERS OR VENDORS       12/19/2018                $1.82
                            PRIVATE BRAND & TREND
SUZANNE PALMORE             DIVISION                  SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/9/2018            $3,500.00
                            PRIVATE BRAND & TREND
SUZANNE PALMORE             DIVISION                  SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/14/2018            $1,000.00
                            PRIVATE BRAND & TREND
SUZANNE PALMORE             DIVISION                  SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/20/2018                $4.52
SUZANNE TILIDETZKE          2117 SUTTON DR                                                               RACINE              WI           53406                                  SUPPLIERS OR VENDORS        11/2/2018               $50.00
SUZANNE TILLEMAN            665 HASTINGS                                                                 MISSOULA            MT           59801                                  SUPPLIERS OR VENDORS       12/13/2018               $13.00
SUZETTE ADAMS               STORE 2-643               SHOPKO EMPLOYEE         91 W PINE LAKE DRIVE       NEWAYGO             MI           49337                                  SUPPLIERS OR VENDORS       10/19/2018              $316.86
SUZETTE ADAMS               STORE 2-643               SHOPKO EMPLOYEE         91 W PINE LAKE DRIVE       NEWAYGO             MI           49337                                  SUPPLIERS OR VENDORS       10/26/2018              $118.30
SUZETTE ADAMS               STORE 2-643               SHOPKO EMPLOYEE         91 W PINE LAKE DRIVE       NEWAYGO             MI           49337                                  SUPPLIERS OR VENDORS        11/2/2018              $579.77
SUZETTE ADAMS               STORE 2-643               SHOPKO EMPLOYEE         91 W PINE LAKE DRIVE       NEWAYGO             MI           49337                                  SUPPLIERS OR VENDORS       11/16/2018              $134.14
SUZETTE ADAMS               STORE 2-643               SHOPKO EMPLOYEE         91 W PINE LAKE DRIVE       NEWAYGO             MI           49337                                  SUPPLIERS OR VENDORS       11/27/2018              $253.83
SUZETTE ADAMS               STORE 2-643               SHOPKO EMPLOYEE         91 W PINE LAKE DRIVE       NEWAYGO             MI           49337                                  SUPPLIERS OR VENDORS       11/30/2018              $148.54
SUZETTE ADAMS               STORE 2-643               SHOPKO EMPLOYEE         91 W PINE LAKE DRIVE       NEWAYGO             MI           49337                                  SUPPLIERS OR VENDORS       12/11/2018              $104.64
SUZETTE ADAMS               STORE 2-643               SHOPKO EMPLOYEE         91 W PINE LAKE DRIVE       NEWAYGO             MI           49337                                  SUPPLIERS OR VENDORS       12/20/2018              $130.61

SVEN SWANSON                STORE 2-740               SHOPKO EMPLOYEE         116 E STATE HIGHWAY 28 MORRIS                  MN           56267                                  SUPPLIERS OR VENDORS       11/22/2018              $140.61
SVK CAPITAL LLC             513 MONUMENT COURT                                                       FREMONT                 CA           94539                                  SUPPLIERS OR VENDORS        11/1/2018           $19,408.86
SVK CAPITAL LLC             513 MONUMENT COURT                                                       FREMONT                 CA           94539                                  SUPPLIERS OR VENDORS        12/1/2018           $19,408.86
SWEEP OPTICAL LAUREL HILL
CENTER                      2145 CENTENNIAL PLAZA                                                        EUGENE              OR           97401                                  SUPPLIERS OR VENDORS       12/17/2018               $56.28

SWEET CANDY COMPANY         PO BOX 22450              ATTN ACCTS RECEIVABLE                              SALT LAKE CITY      UT           84122-0450                             SUPPLIERS OR VENDORS       10/18/2018            $4,757.72

SWEET CANDY COMPANY         PO BOX 22450              ATTN ACCTS RECEIVABLE                              SALT LAKE CITY      UT           84122-0450                             SUPPLIERS OR VENDORS        11/1/2018           $80,581.40

SWEET CANDY COMPANY         PO BOX 22450              ATTN ACCTS RECEIVABLE                              SALT LAKE CITY      UT           84122-0450                             SUPPLIERS OR VENDORS       11/15/2018            $3,848.65

SWEET CANDY COMPANY         PO BOX 22450              ATTN ACCTS RECEIVABLE                              SALT LAKE CITY      UT           84122-0450                             SUPPLIERS OR VENDORS       11/29/2018            $9,616.86
SWEETWATER COUNTY
TREASURER                   80 WEST FLAMING GORGE WAY                                                    GREEN RIVER         WY           82935-4212                             SUPPLIERS OR VENDORS        11/6/2018            $7,047.19
SWIFT CREEK ICE             VICE PRESIDENT OF SALES   1105 ALLRED ROAD                                   AFTON               WY           83110                                  SUPPLIERS OR VENDORS       11/15/2018              $162.00
SWIFT RESPONSE LLC          2690 WESTON ROAD STE 200                                                     WESTON              FL           33331                                  SUPPLIERS OR VENDORS       10/18/2018            $1,076.40
SWIFT RESPONSE LLC          2690 WESTON ROAD STE 200                                                     WESTON              FL           33331                                  SUPPLIERS OR VENDORS       10/25/2018            $1,544.40
SWIFT RESPONSE LLC          2690 WESTON ROAD STE 200                                                     WESTON              FL           33331                                  SUPPLIERS OR VENDORS        11/1/2018            $3,556.80
SWIFT RESPONSE LLC          2690 WESTON ROAD STE 200                                                     WESTON              FL           33331                                  SUPPLIERS OR VENDORS        11/8/2018            $1,207.44
SWIFT RESPONSE LLC          2690 WESTON ROAD STE 200                                                     WESTON              FL           33331                                  SUPPLIERS OR VENDORS       11/15/2018            $1,400.80



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SWIFT RESPONSE LLC       2690 WESTON ROAD STE 200                                                     WESTON              FL           33331                                  SUPPLIERS OR VENDORS        11/22/2018            $1,684.80
SWIFT RESPONSE LLC       2690 WESTON ROAD STE 200                                                     WESTON              FL           33331                                  SUPPLIERS OR VENDORS        11/29/2018            $1,684.80
SWIFT TRANSPORTATION
COMPANY INC              PO BOX 643985                                                                PITTSBURGH          PA           15264-3985                             SUPPLIERS OR VENDORS       10/18/2018           $34,809.12
SWIFT TRANSPORTATION
COMPANY INC              PO BOX 643985                                                                PITTSBURGH          PA           15264-3985                             SUPPLIERS OR VENDORS       10/25/2018           $22,490.63
SWIFT TRANSPORTATION
COMPANY INC              PO BOX 643985                                                                PITTSBURGH          PA           15264-3985                             SUPPLIERS OR VENDORS        11/1/2018           $59,310.48
SWIFT TRANSPORTATION
COMPANY INC              PO BOX 643985                                                                PITTSBURGH          PA           15264-3985                             SUPPLIERS OR VENDORS        11/8/2018           $56,867.74
SWIFT TRANSPORTATION
COMPANY INC              PO BOX 643985                                                                PITTSBURGH          PA           15264-3985                             SUPPLIERS OR VENDORS       11/15/2018           $92,760.44
SWIFT TRANSPORTATION
COMPANY INC              PO BOX 643985                                                                PITTSBURGH          PA           15264-3985                             SUPPLIERS OR VENDORS       11/29/2018          $266,727.32
SWIFT TRANSPORTATION
COMPANY INC              PO BOX 643985                                                                PITTSBURGH          PA           15264-3985                             SUPPLIERS OR VENDORS        12/7/2018          $210,468.87
SWIFT TRANSPORTATION
COMPANY INC              PO BOX 643985                                                                PITTSBURGH          PA           15264-3985                             SUPPLIERS OR VENDORS       12/10/2018           $44,152.11
SWIFT TRANSPORTATION
COMPANY INC              PO BOX 643985                                                                PITTSBURGH          PA           15264-3985                             SUPPLIERS OR VENDORS       12/11/2018           $32,453.44
SWIFT TRANSPORTATION
COMPANY INC              PO BOX 643985                                                                PITTSBURGH          PA           15264-3985                             SUPPLIERS OR VENDORS       12/13/2018           $10,553.96
SWIFT TRANSPORTATION
COMPANY INC              PO BOX 643985                                                                PITTSBURGH          PA           15264-3985                             SUPPLIERS OR VENDORS       12/14/2018              $940.41
SWIFT TRANSPORTATION
COMPANY INC              PO BOX 643985                                                                PITTSBURGH          PA           15264-3985                             SUPPLIERS OR VENDORS       12/17/2018           $92,583.34
SWIFT TRANSPORTATION
COMPANY INC              PO BOX 643985                                                                PITTSBURGH          PA           15264-3985                             SUPPLIERS OR VENDORS       12/18/2018              $600.00
SWIFT TRANSPORTATION
COMPANY INC              PO BOX 643985                                                                PITTSBURGH          PA           15264-3985                             SUPPLIERS OR VENDORS       12/19/2018            $2,815.78
SWIFT TRANSPORTATION
COMPANY INC              PO BOX 643985                                                                PITTSBURGH          PA           15264-3985                             SUPPLIERS OR VENDORS       12/20/2018           $15,110.60
SWIFT TRANSPORTATION
COMPANY INC              PO BOX 643985                                                                PITTSBURGH          PA           15264-3985                             SUPPLIERS OR VENDORS       12/21/2018            $2,605.03
SWIFT TRANSPORTATION
COMPANY INC              PO BOX 643985                                                                PITTSBURGH          PA           15264-3985                             SUPPLIERS OR VENDORS       12/27/2018           $46,885.51
SWIFT TRANSPORTATION
COMPANY INC              PO BOX 643985                                                                PITTSBURGH          PA           15264-3985                             SUPPLIERS OR VENDORS         1/4/2019           $18,640.32

SWIRE COCA COLA UNITED
STATES OF AMERICA        SWIRE PACIFIC HOLDINGS     PO BOX 413121                                     SALT LAKE CITY      UT           84141-3121                             SUPPLIERS OR VENDORS       10/18/2018               $81.25

SWIRE COCA COLA UNITED
STATES OF AMERICA        SWIRE PACIFIC HOLDINGS     PO BOX 413121                                     SALT LAKE CITY      UT           84141-3121                             SUPPLIERS OR VENDORS       10/18/2018            $6,610.47

SWIRE COCA COLA UNITED
STATES OF AMERICA        SWIRE PACIFIC HOLDINGS     PO BOX 413121                                     SALT LAKE CITY      UT           84141-3121                             SUPPLIERS OR VENDORS       10/18/2018           $20,437.34

SWIRE COCA COLA UNITED
STATES OF AMERICA        SWIRE PACIFIC HOLDINGS     PO BOX 413121                                     SALT LAKE CITY      UT           84141-3121                             SUPPLIERS OR VENDORS       10/25/2018           $31,785.14

SWIRE COCA COLA UNITED
STATES OF AMERICA        SWIRE PACIFIC HOLDINGS     PO BOX 413121                                     SALT LAKE CITY      UT           84141-3121                             SUPPLIERS OR VENDORS       10/25/2018          $107,227.82




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SWIRE COCA COLA UNITED
STATES OF AMERICA        SWIRE PACIFIC HOLDINGS   PO BOX 413121                                     SALT LAKE CITY      UT           84141-3121                             SUPPLIERS OR VENDORS       11/1/2018         $15,664.43

SWIRE COCA COLA UNITED
STATES OF AMERICA        SWIRE PACIFIC HOLDINGS   PO BOX 413121                                     SALT LAKE CITY      UT           84141-3121                             SUPPLIERS OR VENDORS       11/1/2018         $28,426.27

SWIRE COCA COLA UNITED
STATES OF AMERICA        SWIRE PACIFIC HOLDINGS   PO BOX 413121                                     SALT LAKE CITY      UT           84141-3121                             SUPPLIERS OR VENDORS       11/8/2018           $5,853.57

SWIRE COCA COLA UNITED
STATES OF AMERICA        SWIRE PACIFIC HOLDINGS   PO BOX 413121                                     SALT LAKE CITY      UT           84141-3121                             SUPPLIERS OR VENDORS       11/8/2018         $15,372.65

SWIRE COCA COLA UNITED
STATES OF AMERICA        SWIRE PACIFIC HOLDINGS   PO BOX 413121                                     SALT LAKE CITY      UT           84141-3121                             SUPPLIERS OR VENDORS      11/15/2018           $4,591.28

SWIRE COCA COLA UNITED
STATES OF AMERICA        SWIRE PACIFIC HOLDINGS   PO BOX 413121                                     SALT LAKE CITY      UT           84141-3121                             SUPPLIERS OR VENDORS      11/15/2018           $8,255.19

SWIRE COCA COLA UNITED
STATES OF AMERICA        SWIRE PACIFIC HOLDINGS   PO BOX 413121                                     SALT LAKE CITY      UT           84141-3121                             SUPPLIERS OR VENDORS      11/22/2018           $2,581.81

SWIRE COCA COLA UNITED
STATES OF AMERICA        SWIRE PACIFIC HOLDINGS   PO BOX 413121                                     SALT LAKE CITY      UT           84141-3121                             SUPPLIERS OR VENDORS      11/22/2018         $17,697.01

SWIRE COCA COLA UNITED
STATES OF AMERICA        SWIRE PACIFIC HOLDINGS   PO BOX 413121                                     SALT LAKE CITY      UT           84141-3121                             SUPPLIERS OR VENDORS      11/29/2018           $4,657.38

SWIRE COCA COLA UNITED
STATES OF AMERICA        SWIRE PACIFIC HOLDINGS   PO BOX 413121                                     SALT LAKE CITY      UT           84141-3121                             SUPPLIERS OR VENDORS      11/29/2018         $12,724.65

SWIRE COCA COLA UNITED
STATES OF AMERICA        SWIRE PACIFIC HOLDINGS   PO BOX 413121                                     SALT LAKE CITY      UT           84141-3121                             SUPPLIERS OR VENDORS      12/19/2018         $11,971.47

SWIRE COCA COLA UNITED
STATES OF AMERICA        SWIRE PACIFIC HOLDINGS   PO BOX 413121                                     SALT LAKE CITY      UT           84141-3121                             SUPPLIERS OR VENDORS      12/19/2018         $20,122.77

SWIRE COCA COLA UNITED
STATES OF AMERICA        SWIRE PACIFIC HOLDINGS   PO BOX 413121                                     SALT LAKE CITY      UT           84141-3121                             SUPPLIERS OR VENDORS      12/20/2018           $1,348.74

SWIRE COCA COLA UNITED
STATES OF AMERICA        SWIRE PACIFIC HOLDINGS   PO BOX 413121                                     SALT LAKE CITY      UT           84141-3121                             SUPPLIERS OR VENDORS      12/27/2018         $23,304.38

SWIRE COCA COLA UNITED
STATES OF AMERICA        SWIRE PACIFIC HOLDINGS   PO BOX 413121                                     SALT LAKE CITY      UT           84141-3121                             SUPPLIERS OR VENDORS      12/27/2018         $95,150.91
SWISHER COUNTY
APPRAISAL DISTRICT       PO BOX 8                                                                   TULIA               TX           79088                                  SUPPLIERS OR VENDORS      10/24/2018         $37,128.74
SWJ SMJ SCJ JEANSWEAR                                                                                                   NC           28201-1036                             SUPPLIERS OR VENDORS      10/18/2018         $18,368.69
SWJ SMJ SCJ JEANSWEAR                                                                                                   NC           28201-1036                             SUPPLIERS OR VENDORS      10/19/2018          $1,300.00
SWJ SMJ SCJ JEANSWEAR                                                                                                   NC           28201-1036                             SUPPLIERS OR VENDORS      10/22/2018         $63,839.73
SWJ SMJ SCJ JEANSWEAR                                                                                                   NC           28201-1036                             SUPPLIERS OR VENDORS      10/25/2018          $1,344.00
SWJ SMJ SCJ JEANSWEAR                                                                                                   NC           28201-1036                             SUPPLIERS OR VENDORS       11/1/2018         $28,028.04
SWJ SMJ SCJ JEANSWEAR                                                                                                   NC           28201-1036                             SUPPLIERS OR VENDORS       11/2/2018        $105,525.53
SWJ SMJ SCJ JEANSWEAR                                                                                                   NC           28201-1036                             SUPPLIERS OR VENDORS       11/5/2018        $114,309.57



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SWJ SMJ SCJ JEANSWEAR                                                                                                          NC           28201-1036                             SUPPLIERS OR VENDORS         11/8/2018           $73,805.45
SWJ SMJ SCJ JEANSWEAR                                                                                                          NC           28201-1036                             SUPPLIERS OR VENDORS        11/23/2018           $64,423.49
SWJ SMJ SCJ JEANSWEAR                                                                                                          NC           28201-1036                             SUPPLIERS OR VENDORS        11/27/2018              $907.00
SWJ SMJ SCJ JEANSWEAR                                                                                                          NC           28201-1036                             SUPPLIERS OR VENDORS        11/28/2018           $17,193.60
SWJ SMJ SCJ JEANSWEAR                                                                                                          NC           28201-1036                             SUPPLIERS OR VENDORS        11/30/2018           $42,890.47
SWJ SMJ SCJ JEANSWEAR                                                                                                          NC           28201-1036                             SUPPLIERS OR VENDORS         12/5/2018          $215,142.41
SXWELL USA LLC            DEPT CH 10974                                                                    PALATINE            IL           60055-0974                             SUPPLIERS OR VENDORS        10/25/2018            $1,298.21
SXWELL USA LLC            DEPT CH 10974                                                                    PALATINE            IL           60055-0974                             SUPPLIERS OR VENDORS         11/8/2018            $1,729.26
SXWELL USA LLC            DEPT CH 10974                                                                    PALATINE            IL           60055-0974                             SUPPLIERS OR VENDORS        11/22/2018            $5,135.31
SYDNEY FOX                1090 WILSON                                                                      DUBUQUE             IA           52001                                  SUPPLIERS OR VENDORS        11/26/2018               $30.00

SYDNEY SIIRILA            155 SOUTH 29TH STREET LOT 81                                                     GLADSTONE           MI           49837                                  SUPPLIERS OR VENDORS        12/7/2018               $23.00
SYDNEY WALKER             2051 RUSH COURT                                                                  DE PERE             WI           54115                                  SUPPLIERS OR VENDORS       11/29/2018               $69.00
SYDNIE GARDNER            STORE 2-129                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/25/2018               $72.36
SYDNIE GARDNER            STORE 2-129                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/22/2018               $26.16
SYDNIE GARDNER            STORE 2-129                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/6/2018               $14.71
SYLVESTER ARCARO          PHARMACY OPERATIONS            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/27/2018            $4,719.50
SYLVESTER ARCARO          PHARMACY OPERATIONS            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/14/2018            $1,669.33
SYLVESTER ARCARO          PHARMACY OPERATIONS            SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        1/15/2019            $2,531.78
SYLVIA SWALE              1805 S SHORE DR.                                                                 CLEAR LAKE          IA           50428                                  SUPPLIERS OR VENDORS       10/24/2018               $48.00
SYLVIA SWALE              1805 S SHORE DR.                                                                 CLEAR LAKE          IA           50428                                  SUPPLIERS OR VENDORS       10/29/2018               $12.00
SYNERCOMM                 3265 GATEWAY ROAD SUITE
INCORPORATED              650                                                                              BROOKFIELD          WI           53045                                  SUPPLIERS OR VENDORS       10/25/2018            $1,837.81
SYNERCOMM                 3265 GATEWAY ROAD SUITE
INCORPORATED              650                                                                              BROOKFIELD          WI           53045                                  SUPPLIERS OR VENDORS       11/15/2018              $918.91
SYNERCOMM                 3265 GATEWAY ROAD SUITE
INCORPORATED              650                                                                              BROOKFIELD          WI           53045                                  SUPPLIERS OR VENDORS       12/17/2018            $6,843.79
SYNERCOMM                 3265 GATEWAY ROAD SUITE
INCORPORATED              650                                                                              BROOKFIELD          WI           53045                                  SUPPLIERS OR VENDORS         1/4/2019           $47,043.35

SYNTHESIS HOME TEXTILES
PRIVATE LIMITED           1201 ORANGE ST SUITE 600                                                         WILMINGTON          DE           19801                                  SUPPLIERS OR VENDORS        11/6/2018           $13,940.43

SYNTHESIS HOME TEXTILES
PRIVATE LIMITED           1201 ORANGE ST SUITE 600                                                         WILMINGTON          DE           19801                                  SUPPLIERS OR VENDORS        11/8/2018              $558.90

SYNTHESIS HOME TEXTILES
PRIVATE LIMITED           1201 ORANGE ST SUITE 600                                                         WILMINGTON          DE           19801                                  SUPPLIERS OR VENDORS       11/27/2018            $8,852.93

SYNTHESIS HOME TEXTILES
PRIVATE LIMITED           1201 ORANGE ST SUITE 600                                                         WILMINGTON          DE           19801                                  SUPPLIERS OR VENDORS        12/4/2018            $4,566.46

SYNTHESIS HOME TEXTILES
PRIVATE LIMITED           1201 ORANGE ST SUITE 600                                                         WILMINGTON          DE           19801                                  SUPPLIERS OR VENDORS        12/6/2018            $2,230.20
                                                         245 NORTH 23RD
T & J ENTERPRISES         THOMAS T NAASZ                 STREET                                            HOT SPRINGS         SD           57747                                  SUPPLIERS OR VENDORS        11/9/2018              $174.02
                                                         245 NORTH 23RD
T & J ENTERPRISES         THOMAS T NAASZ                 STREET                                            HOT SPRINGS         SD           57747                                  SUPPLIERS OR VENDORS       12/18/2018              $231.11
T & T LAWN CARE LLC       BRIAN TOMCHAK                  2698 E 14TH N                                     AMMON               ID           83406                                  SUPPLIERS OR VENDORS       11/15/2018              $187.50
T F H PUBLICATIONS
NYLABONE PRODUCTS         NYLABONE PRODUCTS              BANK OF AMERICA        PO BOX 847828              DALLAS              TX           75284-7828                             SUPPLIERS OR VENDORS       10/19/2018            $4,653.60
T F H PUBLICATIONS
NYLABONE PRODUCTS         NYLABONE PRODUCTS              BANK OF AMERICA        PO BOX 847828              DALLAS              TX           75284-7828                             SUPPLIERS OR VENDORS       10/26/2018            $5,081.60




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T F H PUBLICATIONS
NYLABONE PRODUCTS           NYLABONE PRODUCTS            BANK OF AMERICA        PO BOX 847828              DALLAS              TX           75284-7828                             SUPPLIERS OR VENDORS       11/2/2018           $3,955.29
T F H PUBLICATIONS
NYLABONE PRODUCTS           NYLABONE PRODUCTS            BANK OF AMERICA        PO BOX 847828              DALLAS              TX           75284-7828                             SUPPLIERS OR VENDORS       11/9/2018           $3,025.50
T F H PUBLICATIONS
NYLABONE PRODUCTS           NYLABONE PRODUCTS            BANK OF AMERICA        PO BOX 847828              DALLAS              TX           75284-7828                             SUPPLIERS OR VENDORS      11/16/2018           $5,564.44
T F H PUBLICATIONS
NYLABONE PRODUCTS           NYLABONE PRODUCTS            BANK OF AMERICA      PO BOX 847828                DALLAS              TX           75284-7828                             SUPPLIERS OR VENDORS      11/30/2018           $7,234.39
                                                         1560 E MORELAND BLVD
T SHIRT INTERNATIONAL INC T-SHIRT INTERNATIONAL          STE C 1                                           WAUKESHA            WI           53186-0000                             SUPPLIERS OR VENDORS      10/18/2018           $2,764.80
                                                         1560 E MORELAND BLVD
T SHIRT INTERNATIONAL INC T-SHIRT INTERNATIONAL          STE C 1                                           WAUKESHA            WI           53186-0000                             SUPPLIERS OR VENDORS      10/25/2018         $51,955.40
                                                         1560 E MORELAND BLVD
T SHIRT INTERNATIONAL INC T-SHIRT INTERNATIONAL          STE C 1                                           WAUKESHA            WI           53186-0000                             SUPPLIERS OR VENDORS       11/1/2018         $45,484.32
                                                         1560 E MORELAND BLVD
T SHIRT INTERNATIONAL INC T-SHIRT INTERNATIONAL          STE C 1                                           WAUKESHA            WI           53186-0000                             SUPPLIERS OR VENDORS      11/15/2018         $13,192.66
                                                         1560 E MORELAND BLVD
T SHIRT INTERNATIONAL INC T-SHIRT INTERNATIONAL          STE C 1                                           WAUKESHA            WI           53186-0000                             SUPPLIERS OR VENDORS      11/22/2018         $13,708.80
                                                         1560 E MORELAND BLVD
T SHIRT INTERNATIONAL INC   T-SHIRT INTERNATIONAL        STE C 1                                           WAUKESHA            WI           53186-0000                             SUPPLIERS OR VENDORS      11/29/2018         $53,145.84
TABATHA BALLENTINE          23347 WACHTER ST.                                                              TREMPEALEAU         WI           54661                                  SUPPLIERS OR VENDORS      12/20/2018             $29.75
TABITHA JOHNS               STORE 070                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/27/2018            $169.16
TABITHA MILLER              N9577 TOWN LINE ROAD                                                           VAN DYNE            WI           54979                                  SUPPLIERS OR VENDORS       12/7/2018              $4.00
TABITHA MILLER              N9577 TOWN LINE ROAD                                                           VAN DYNE            WI           54979                                  SUPPLIERS OR VENDORS       12/7/2018             $15.00
TABLE ROCK MOBILE HOME
ESTATES INC                 26 VIA CORSICA                                                                 MONARCH BEACH CA                 92629                                  SUPPLIERS OR VENDORS       11/1/2018         $41,142.14
TABLE ROCK MOBILE HOME
ESTATES INC                 26 VIA CORSICA                                                                 MONARCH BEACH CA                 92629                                  SUPPLIERS OR VENDORS       12/1/2018         $41,142.14
                                                         23000 S AVALON
TABLETOPS UNLIMITED         VICE PRESIDENT OF SALES      BOULEVARD                                         CARSON              CA           90745                                  SUPPLIERS OR VENDORS       11/8/2018         $35,579.66
                                                         23000 S AVALON
TABLETOPS UNLIMITED         VICE PRESIDENT OF SALES      BOULEVARD                                         CARSON              CA           90745                                  SUPPLIERS OR VENDORS      11/30/2018         $10,924.00
TACTICAL CRUSADER           13950 RADIUM ST NW SUITE
COMPANY                     100                                                                            RAMSEY              MN           55303                                  SUPPLIERS OR VENDORS      10/18/2018           $1,375.95
TACTICAL CRUSADER           13950 RADIUM ST NW SUITE
COMPANY                     100                                                                            RAMSEY              MN           55303                                  SUPPLIERS OR VENDORS      10/25/2018           $1,954.35
TACTICAL CRUSADER           13950 RADIUM ST NW SUITE
COMPANY                     100                                                                            RAMSEY              MN           55303                                  SUPPLIERS OR VENDORS       11/1/2018           $1,510.50
TACTICAL CRUSADER           13950 RADIUM ST NW SUITE
COMPANY                     100                                                                            RAMSEY              MN           55303                                  SUPPLIERS OR VENDORS       11/8/2018            $323.97
TACTICAL CRUSADER           13950 RADIUM ST NW SUITE
COMPANY                     100                                                                            RAMSEY              MN           55303                                  SUPPLIERS OR VENDORS      11/15/2018           $1,120.05
TACTICAL CRUSADER           13950 RADIUM ST NW SUITE
COMPANY                     100                                                                            RAMSEY              MN           55303                                  SUPPLIERS OR VENDORS      11/22/2018           $1,339.45
TACTICAL CRUSADER           13950 RADIUM ST NW SUITE
COMPANY                     100                                                                            RAMSEY              MN           55303                                  SUPPLIERS OR VENDORS      11/29/2018           $1,767.55

TAD JEFFCOAT                1210 MCKENNA BLVD APT. 305                                                     MADISON             WI           53719                                  SUPPLIERS OR VENDORS      10/22/2018             $30.00
TAD TURBAK                  PO BOX 162                                                                     KRANZBURG           SD           57245                                  SUPPLIERS OR VENDORS      10/31/2018             $10.00
TAILOR MADE PRODUCTS
INCORPORATED                PO BOX 465                                                                     MILWAUKEE           WI           53259-0465                             SUPPLIERS OR VENDORS      10/18/2018           $2,924.04
TAILOR MADE PRODUCTS
INCORPORATED                PO BOX 465                                                                     MILWAUKEE           WI           53259-0465                             SUPPLIERS OR VENDORS      10/25/2018           $4,795.58




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TAILOR MADE PRODUCTS
INCORPORATED               PO BOX 465                                                                   MILWAUKEE           WI           53259-0465                             SUPPLIERS OR VENDORS       11/1/2018         $11,546.16
TAILOR MADE PRODUCTS
INCORPORATED               PO BOX 465                                                                   MILWAUKEE           WI           53259-0465                             SUPPLIERS OR VENDORS       11/8/2018           $7,816.49
TAILOR MADE PRODUCTS
INCORPORATED               PO BOX 465                                                                   MILWAUKEE           WI           53259-0465                             SUPPLIERS OR VENDORS      11/15/2018           $7,168.96
TAILOR MADE PRODUCTS
INCORPORATED               PO BOX 465                                                                   MILWAUKEE           WI           53259-0465                             SUPPLIERS OR VENDORS      11/22/2018           $7,057.06
TAILOR MADE PRODUCTS
INCORPORATED               PO BOX 465                                                                   MILWAUKEE           WI           53259-0465                             SUPPLIERS OR VENDORS      11/29/2018           $7,131.06

TALKING RAIN BEVERAGE CO PO BOX #74251                                                                  CLEVELAND           OH           44194-4251                             SUPPLIERS OR VENDORS      10/22/2018         $11,000.00

TALKING RAIN BEVERAGE CO PO BOX #74251                                                                  CLEVELAND           OH           44194-4251                             SUPPLIERS OR VENDORS      10/29/2018         $23,000.00

TALKING RAIN BEVERAGE CO PO BOX #74251                                                                  CLEVELAND           OH           44194-4251                             SUPPLIERS OR VENDORS       11/5/2018         $12,500.00

TALKING RAIN BEVERAGE CO PO BOX #74251                                                                  CLEVELAND           OH           44194-4251                             SUPPLIERS OR VENDORS      11/12/2018         $13,500.00

TALKING RAIN BEVERAGE CO PO BOX #74251                                                                  CLEVELAND           OH           44194-4251                             SUPPLIERS OR VENDORS      11/22/2018           $7,415.20

TALKING RAIN BEVERAGE CO PO BOX #74251                                                                  CLEVELAND           OH           44194-4251                             SUPPLIERS OR VENDORS      11/26/2018         $12,000.00

TALKING RAIN BEVERAGE CO PO BOX #74251                                                                  CLEVELAND           OH           44194-4251                             SUPPLIERS OR VENDORS      11/28/2018         $46,000.00

TALKING RAIN BEVERAGE CO   PO BOX #74251                                                                CLEVELAND           OH           44194-4251                             SUPPLIERS OR VENDORS       12/3/2018         $10,000.00
TALX CORPORATION           4076 PAYSPHERE CIRCLE                                                        CHICAGO             IL           60674                                  SUPPLIERS OR VENDORS       11/1/2018          $5,953.50
TALX CORPORATION           4076 PAYSPHERE CIRCLE                                                        CHICAGO             IL           60674                                  SUPPLIERS OR VENDORS      11/13/2018         $17,171.22
TALX CORPORATION           4076 PAYSPHERE CIRCLE                                                        CHICAGO             IL           60674                                  SUPPLIERS OR VENDORS       12/4/2018          $6,251.18
TAMARA JOHNSON             STORE 568                 SHOPKO EMPLOYEE         200 10TH AVE SE            NEW PRAGUE          MN           56071-1975                             SUPPLIERS OR VENDORS      10/26/2018            $337.90
TAMARA MAST                103 7TH AVE SW                                                               EPWORTH             IA           52045                                  SUPPLIERS OR VENDORS      11/26/2018             $66.98
TAMARA STERWALD            3924 SENECA LANE                                                             MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS      12/17/2018             $25.00
TAMARA ULRICH              STORE 2-670               SHOPKO EMPLOYEE         615 DEARBORN STREET        WAYNE               NE           68787                                  SUPPLIERS OR VENDORS      12/13/2018             $65.34
TAMI OLSON                 900 OAKRIDGE DRIVE                                                           KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS      12/17/2018             $46.00
TAMI REUTER                57731 192ND STREET                                                           MANKATO             MN           56001                                  SUPPLIERS OR VENDORS       11/9/2018             $73.45
TAMMIE POE                 126 N GRANT ST                                                               MOSCOW              ID           83843                                  SUPPLIERS OR VENDORS       11/8/2018             $25.70
TAMMY ALLEN                7101 GREGORY PLACE                                                           YAKIMA              WA           98908                                  SUPPLIERS OR VENDORS      11/30/2018             $10.00
TAMMY ARNTSON              895 HEMLOCK DRIVE                                                            VERONA              WI           53593                                  SUPPLIERS OR VENDORS      11/26/2018              $1.00
TAMMY BESTUL               STORE 2-733               SHOPKO EMPLOYEE         226 E LINCOLN              FERGUS FALLS        MN           56537                                  SUPPLIERS OR VENDORS       11/1/2018             $92.65
TAMMY BESTUL               STORE 2-733               SHOPKO EMPLOYEE         226 E LINCOLN              FERGUS FALLS        MN           56537                                  SUPPLIERS OR VENDORS       12/6/2018             $70.85
TAMMY COLLINS              R.R 2 BOX 193                                                                BEARDSTOWN          IL           62618                                  SUPPLIERS OR VENDORS      12/20/2018             $23.00
TAMMY DELCORE              N 6839 LOWELL RD                                                             LUXEMBURG           WI           54217                                  SUPPLIERS OR VENDORS      12/20/2018             $23.00
TAMMY FROMME               4 WESTVIEW DR                                                                FRANKLIN            IL           62638                                  SUPPLIERS OR VENDORS      11/15/2018             $30.00
TAMMY HOVE                 1542 CENTENNIAL RD                                                           OSSIAN              IA           52161                                  SUPPLIERS OR VENDORS      12/13/2018             $50.00
TAMMY JOHNSON              16672 BAYS ROAD                                                              RUDOLPH             OH           43462                                  SUPPLIERS OR VENDORS      12/10/2018             $39.50

TAMMY LOPPNOW              2035 SWAN POINTE TERRANCE                                                    DE PERE             WI           54115                                  SUPPLIERS OR VENDORS      12/14/2018             $24.00
TAMMY LOWMAN               702 HOUSE ST                                                                 AVOCA               NE           68307                                  SUPPLIERS OR VENDORS      10/22/2018             $26.55
TAMMY MAYE                 N5934-45 CIRCLE DRIVE                                                        POUND               WI           54161                                  SUPPLIERS OR VENDORS      11/26/2018             $25.00
TAMMY ROLE                 3619 S. COUNTY RD D                                                          JANESVILLE          WI           53548                                  SUPPLIERS OR VENDORS       11/9/2018             $39.00
TAMMY ROMME                3200 WHITE TAIL LN        UNIT E                                             OSHKOSH             WI           54904                                  SUPPLIERS OR VENDORS      11/26/2018             $23.01
TAMMY SCHNEIDER            2500 S GLADYS AVE                                                            APPLETON            WI           54915                                  SUPPLIERS OR VENDORS       11/2/2018             $25.00
TAMMY STEERS               PO BOX 326                                                                   BROWNSVILLE         WI           53006                                  SUPPLIERS OR VENDORS      11/26/2018             $95.00
TAMMY VAN HORSEN           629 MAINE AVE                                                                ADRIAN              MN           56110                                  SUPPLIERS OR VENDORS      10/18/2018            $128.49



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                                                                                                                                                                                   Reasons for payment or    Dates of     Total Amount or
    Creditor Name                 Address1                   Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
TAMMY WESTPHALEN       103 E BIRCH STREET                                                                SAINT NAZIANZ       WI           54232                                  SUPPLIERS OR VENDORS        10/31/2018               $40.00

TANA DECKERT           1725 COLUMBIA FALLS STAGE                                                         COLUMBIA FALLS      MT           59912                                  SUPPLIERS OR VENDORS       11/16/2018               $30.00
TANA MCKENZIE          3897 PIONEER DR                                                                   IDAHO FALLS         ID           83402                                  SUPPLIERS OR VENDORS       11/12/2018               $17.00
TANESHA NEWMAN         2199 W 470 S                                                                      PROVO               UT           84601                                  SUPPLIERS OR VENDORS       11/26/2018               $20.00
TANISHA LESANDRINI     521 BLAINE STREET                                                                 IRON MOUNTAIN       MI           49801                                  SUPPLIERS OR VENDORS       10/25/2018               $15.02
TANYA DUNSWORTH        STORE 4-070                    SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/1/2018              $235.00
TANYA FRENCH           STORE 737                      SHOPKO EMPLOYEE         932 W 12TH STREET          GRAFTON             ND           58237                                  SUPPLIERS OR VENDORS       10/18/2018               $65.88
TANYA MARTIN           4465 CORVINA ST                                                                   RICHLAND            WA           99352                                  SUPPLIERS OR VENDORS       10/29/2018               $25.00
TANYA MCRAE            4135 S CONKLIN                                                                    GREENACRES          WA           99016                                  SUPPLIERS OR VENDORS       10/22/2018               $24.40
TANYA PINGEL           W2175 DEBRA COURT                                                                 CHILTON             WI           53014                                  SUPPLIERS OR VENDORS       12/14/2018               $25.00

TANYA REID             C/O SHOPKO OPTICAL 4-134       1450 S GRAND AVENUE                                PULLMAN             WA           99163                                  SUPPLIERS OR VENDORS       10/19/2018            $1,372.35

TANYA REID             C/O SHOPKO OPTICAL 4-134       1450 S GRAND AVENUE                                PULLMAN             WA           99163                                  SUPPLIERS OR VENDORS        11/2/2018            $1,468.05

TANYA REID             C/O SHOPKO OPTICAL 4-134       1450 S GRAND AVENUE                                PULLMAN             WA           99163                                  SUPPLIERS OR VENDORS       11/16/2018            $1,842.14

TANYA REID             C/O SHOPKO OPTICAL 4-134       1450 S GRAND AVENUE                                PULLMAN             WA           99163                                  SUPPLIERS OR VENDORS       11/30/2018            $1,081.35

TANYA REID             C/O SHOPKO OPTICAL 4-134       1450 S GRAND AVENUE                                PULLMAN             WA           99163                                  SUPPLIERS OR VENDORS       12/14/2018            $1,296.35

TANYA REID             C/O SHOPKO OPTICAL 4-134       1450 S GRAND AVENUE                                PULLMAN             WA           99163                                  SUPPLIERS OR VENDORS       12/29/2018            $1,853.35

TANYA REID             C/O SHOPKO OPTICAL 4-134       1450 S GRAND AVENUE                                PULLMAN             WA           99163                                  SUPPLIERS OR VENDORS        1/11/2019            $1,087.35
TARA BENNETT           STORE 4-104                    SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/18/2018               $66.49
TARA BENNETT           STORE 4-104                    SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/13/2018               $66.49
TARA HANSON            20620 COLT LANE                                                                   BEND                OR           97701                                  SUPPLIERS OR VENDORS        12/4/2018              $540.75
TARA LARSON            STORE 744                      SHOPKO EMPLOYEE         PO BOX 340                 ROSEAU              MN           56751                                  SUPPLIERS OR VENDORS       10/19/2018              $536.83
TARA LARSON            STORE 744                      SHOPKO EMPLOYEE         PO BOX 340                 ROSEAU              MN           56751                                  SUPPLIERS OR VENDORS       11/27/2018              $116.63
TARA LARSON            STORE 744                      SHOPKO EMPLOYEE         PO BOX 340                 ROSEAU              MN           56751                                  SUPPLIERS OR VENDORS       12/22/2018              $164.05
TARA MINER             STORE 2-670                    SHOPKO EMPLOYEE         615 DEARBORN STREET        WAYNE               NE           68787                                  SUPPLIERS OR VENDORS       11/16/2018              $155.96
TARA MINER             STORE 2-670                    SHOPKO EMPLOYEE         615 DEARBORN STREET        WAYNE               NE           68787                                  SUPPLIERS OR VENDORS       12/14/2018              $129.32
TARA MINER             STORE 2-670                    SHOPKO EMPLOYEE         615 DEARBORN STREET        WAYNE               NE           68787                                  SUPPLIERS OR VENDORS        1/15/2019               $98.79
TARA MODER             STORE 2-615                    SHOPKO EMPLOYEE         291 S MAIN STREET          CLINTONVILLE        WI           54929                                  SUPPLIERS OR VENDORS        11/8/2018               $23.44
TARA MODER             STORE 2-615                    SHOPKO EMPLOYEE         291 S MAIN STREET          CLINTONVILLE        WI           54929                                  SUPPLIERS OR VENDORS       11/15/2018               $15.26
TARA MODER             STORE 2-615                    SHOPKO EMPLOYEE         291 S MAIN STREET          CLINTONVILLE        WI           54929                                  SUPPLIERS OR VENDORS        12/6/2018               $15.26
TARA NADGWICK          STORE 733                      SHOPKO EMPLOYEE         226 E LINCOLN              FERGUS FALLS        MN           56537                                  SUPPLIERS OR VENDORS       12/22/2018                $0.60
TARA RITCHIE           3108 S HIGH POINT RD                                                              MADISON             WI           53719                                  SUPPLIERS OR VENDORS        12/3/2018               $40.00
TARA TOY CORPORATION   40 ADAMS AVENUE                                                                   HAUPPAUGE           NY           11788-0000                             SUPPLIERS OR VENDORS       10/18/2018            $1,533.40
TARA TOY CORPORATION   40 ADAMS AVENUE                                                                   HAUPPAUGE           NY           11788-0000                             SUPPLIERS OR VENDORS       10/25/2018           $11,607.60
TARA TOY CORPORATION   40 ADAMS AVENUE                                                                   HAUPPAUGE           NY           11788-0000                             SUPPLIERS OR VENDORS        11/1/2018           $15,437.80
TARA TOY CORPORATION   40 ADAMS AVENUE                                                                   HAUPPAUGE           NY           11788-0000                             SUPPLIERS OR VENDORS       11/15/2018            $1,044.33
TARA TOY CORPORATION   40 ADAMS AVENUE                                                                   HAUPPAUGE           NY           11788-0000                             SUPPLIERS OR VENDORS       11/22/2018            $1,201.90
TARA TOY CORPORATION   40 ADAMS AVENUE                                                                   HAUPPAUGE           NY           11788-0000                             SUPPLIERS OR VENDORS       11/29/2018            $1,057.22
TARGETBASE             C/O MARC GROUP                 7850 N BELTLINE RD                                 IRVING              TX           75063                                  SUPPLIERS OR VENDORS       10/25/2018           $87,500.00
TARGETBASE             C/O MARC GROUP                 7850 N BELTLINE RD                                 IRVING              TX           75063                                  SUPPLIERS OR VENDORS        11/8/2018           $87,500.00
TARO PHARMACEUTICALS
USA INCORPORATED       75 REMITTANCE DRIVE STE 2503                                                      CHICAGO             IL           60675-0000                             SUPPLIERS OR VENDORS       10/23/2018            $2,074.06
TARO PHARMACEUTICALS
USA INCORPORATED       75 REMITTANCE DRIVE STE 2503                                                      CHICAGO             IL           60675-0000                             SUPPLIERS OR VENDORS       10/25/2018            $3,754.66
TARO PHARMACEUTICALS
USA INCORPORATED       75 REMITTANCE DRIVE STE 2503                                                      CHICAGO             IL           60675-0000                             SUPPLIERS OR VENDORS       10/30/2018              $504.75




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TARO PHARMACEUTICALS
USA INCORPORATED        75 REMITTANCE DRIVE STE 2503                                                  CHICAGO             IL           60675-0000                             SUPPLIERS OR VENDORS       11/6/2018         $10,049.88
TARO PHARMACEUTICALS
USA INCORPORATED        75 REMITTANCE DRIVE STE 2503                                                  CHICAGO             IL           60675-0000                             SUPPLIERS OR VENDORS      11/13/2018            $953.32
TARO PHARMACEUTICALS
USA INCORPORATED        75 REMITTANCE DRIVE STE 2503                                                  CHICAGO             IL           60675-0000                             SUPPLIERS OR VENDORS      11/15/2018           $2,137.58
TARO PHARMACEUTICALS
USA INCORPORATED        75 REMITTANCE DRIVE STE 2503                                                  CHICAGO             IL           60675-0000                             SUPPLIERS OR VENDORS      11/27/2018           $5,544.55
TARO PHARMACEUTICALS
USA INCORPORATED        75 REMITTANCE DRIVE STE 2503                                                  CHICAGO             IL           60675-0000                             SUPPLIERS OR VENDORS      11/29/2018            $905.93
TARO PHARMACEUTICALS
USA INCORPORATED        75 REMITTANCE DRIVE STE 2503                                                  CHICAGO             IL           60675-0000                             SUPPLIERS OR VENDORS       12/6/2018           $2,575.22

TARTAN SUPPLY COMPANY
INCORPORATED            3250 N 126TH STREET                                                           BROOKFIELD          WI           53005                                  SUPPLIERS OR VENDORS      10/18/2018           $9,778.64

TARTAN SUPPLY COMPANY
INCORPORATED            3250 N 126TH STREET                                                           BROOKFIELD          WI           53005                                  SUPPLIERS OR VENDORS      10/25/2018         $23,563.97

TARTAN SUPPLY COMPANY
INCORPORATED            3250 N 126TH STREET                                                           BROOKFIELD          WI           53005                                  SUPPLIERS OR VENDORS       11/8/2018           $9,281.31

TARTAN SUPPLY COMPANY
INCORPORATED            3250 N 126TH STREET                                                           BROOKFIELD          WI           53005                                  SUPPLIERS OR VENDORS      11/15/2018            $640.27

TARTAN SUPPLY COMPANY
INCORPORATED            3250 N 126TH STREET                                                           BROOKFIELD          WI           53005                                  SUPPLIERS OR VENDORS      11/29/2018         $11,507.93
TASHA HAAG              STORE 667                   SHOPKO EMPLOYEE        1501 PARK STREET           SHELDON             IA           51201                                  SUPPLIERS OR VENDORS      10/26/2018            $312.70
TASSEL RIDGE WINERY     1681 220TH STREET                                                             LEIGHTON            IA           50143-9060                             SUPPLIERS OR VENDORS      10/18/2018            $378.32
TASSEL RIDGE WINERY     1681 220TH STREET                                                             LEIGHTON            IA           50143-9060                             SUPPLIERS OR VENDORS      10/25/2018            $173.91
TASSEL RIDGE WINERY     1681 220TH STREET                                                             LEIGHTON            IA           50143-9060                             SUPPLIERS OR VENDORS       11/8/2018            $432.84
TASSEL RIDGE WINERY     1681 220TH STREET                                                             LEIGHTON            IA           50143-9060                             SUPPLIERS OR VENDORS      11/22/2018            $155.82
TASSEL RIDGE WINERY     1681 220TH STREET                                                             LEIGHTON            IA           50143-9060                             SUPPLIERS OR VENDORS      11/29/2018             $89.04
TASSEL RIDGE WINERY     1681 220TH STREET                                                             LEIGHTON            IA           50143-9060                             SUPPLIERS OR VENDORS      12/20/2018          $1,888.74
TASSEL RIDGE WINERY     1681 220TH STREET                                                             LEIGHTON            IA           50143-9060                             SUPPLIERS OR VENDORS      12/27/2018             $81.62
TATIANA BAKKEN          127 WEST DIVISION AVE                                                         BARRON              WI           54812                                  SUPPLIERS OR VENDORS      11/26/2018             $21.85
                        2014 SOUTH 12TH STREET WEST
TAYLER GRESS            APT C                                                                         MISSOULA            MT           59801                                  SUPPLIERS OR VENDORS       11/9/2018             $59.00
TAYLOR BECKER           STORE 2-748                 SHOPKO EMPLOYEE        1002 7TH STREET SE         PIPESTONE           MN           56164-0000                             SUPPLIERS OR VENDORS      11/15/2018            $128.62
TAYLOR HAINES           N26068 HAINES LANE                                                            ARCADIA             WI           54612                                  SUPPLIERS OR VENDORS       12/7/2018             $34.03
TAYLOR PETERSON         205 W CAMPUS DRIVE                                                            WAUSAU              WI           54401                                  SUPPLIERS OR VENDORS       11/1/2018             $25.00
TAYLOR PRECISION                                                                                      COMMERCE
PRODUCTS                PO BOX 1415                                                                   TOWNSHIP            MI           48390-0000                             SUPPLIERS OR VENDORS      10/18/2018           $8,449.04
TAYLOR PRECISION                                                                                      COMMERCE
PRODUCTS                PO BOX 1415                                                                   TOWNSHIP            MI           48390-0000                             SUPPLIERS OR VENDORS      10/25/2018           $4,558.54
TAYLOR PRECISION                                                                                      COMMERCE
PRODUCTS                PO BOX 1415                                                                   TOWNSHIP            MI           48390-0000                             SUPPLIERS OR VENDORS       11/1/2018           $8,656.65
TAYLOR PRECISION                                                                                      COMMERCE
PRODUCTS                PO BOX 1415                                                                   TOWNSHIP            MI           48390-0000                             SUPPLIERS OR VENDORS       11/8/2018           $6,328.64
TAYLOR PRECISION                                                                                      COMMERCE
PRODUCTS                PO BOX 1415                                                                   TOWNSHIP            MI           48390-0000                             SUPPLIERS OR VENDORS      11/15/2018         $19,431.31
TAYLOR PRECISION                                                                                      COMMERCE
PRODUCTS                PO BOX 1415                                                                   TOWNSHIP            MI           48390-0000                             SUPPLIERS OR VENDORS      11/22/2018         $14,114.39




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TAYLOR PRECISION                                                                                         COMMERCE
PRODUCTS                PO BOX 1415                                                                      TOWNSHIP            MI           48390-0000                             SUPPLIERS OR VENDORS      11/29/2018           $3,882.68
TAYLOR SANDERS          12396 TELEGRAPH RD.                                                              PECATONICA          IL           61063                                  SUPPLIERS OR VENDORS      11/28/2018              $50.00
TAYLOR TAMBORNINO       STORE 2-740                   SHOPKO EMPLOYEE         116 EAST STATE HWY 28      MORRIS              MN           56267                                  SUPPLIERS OR VENDORS       11/8/2018              $57.99
TAYLOR TAMBORNINO       STORE 2-740                   SHOPKO EMPLOYEE         116 EAST STATE HWY 28      MORRIS              MN           56267                                  SUPPLIERS OR VENDORS      11/15/2018             $118.38
TAYLOR TAMBORNINO       STORE 2-740                   SHOPKO EMPLOYEE         116 EAST STATE HWY 28      MORRIS              MN           56267                                  SUPPLIERS OR VENDORS       12/6/2018              $51.50
TAYLOR WESTERBERG       STORE 017                     SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/26/2018             $246.34
TAYLOR WESTERBERG       STORE 017                     SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/2/2018             $494.36
TEAM BEANS LLC          2301 COTTONTAIL LANE                                                             SOMERSET            NJ           08873-0000                             SUPPLIERS OR VENDORS      10/25/2018          $10,567.18
TEAM BEANS LLC          2301 COTTONTAIL LANE                                                             SOMERSET            NJ           08873-0000                             SUPPLIERS OR VENDORS      11/29/2018           $8,723.90
TEANNE COPENHAVER       4210 ORLEANS AVE.                                                                SIOUX CITY          IA           51106                                  SUPPLIERS OR VENDORS      12/20/2018              $44.00
TEC LABS INC            7100 TEC LABS WAY SW                                                             ALBANY              OR           97321                                  SUPPLIERS OR VENDORS      10/23/2018           $1,393.53
TEC LABS INC            7100 TEC LABS WAY SW                                                             ALBANY              OR           97321                                  SUPPLIERS OR VENDORS      10/30/2018           $1,144.04
TEC LABS INC            7100 TEC LABS WAY SW                                                             ALBANY              OR           97321                                  SUPPLIERS OR VENDORS       11/2/2018             $149.69
TEC LABS INC            7100 TEC LABS WAY SW                                                             ALBANY              OR           97321                                  SUPPLIERS OR VENDORS       11/6/2018             $845.85
TEC LABS INC            7100 TEC LABS WAY SW                                                             ALBANY              OR           97321                                  SUPPLIERS OR VENDORS       11/9/2018             $148.50
TEC LABS INC            7100 TEC LABS WAY SW                                                             ALBANY              OR           97321                                  SUPPLIERS OR VENDORS      11/13/2018           $1,193.94
TEC LABS INC            7100 TEC LABS WAY SW                                                             ALBANY              OR           97321                                  SUPPLIERS OR VENDORS      11/16/2018             $298.19
TEC LABS INC            7100 TEC LABS WAY SW                                                             ALBANY              OR           97321                                  SUPPLIERS OR VENDORS      11/23/2018             $447.88
TEC LABS INC            7100 TEC LABS WAY SW                                                             ALBANY              OR           97321                                  SUPPLIERS OR VENDORS      11/27/2018             $944.46
TEC LABS INC            7100 TEC LABS WAY SW                                                             ALBANY              OR           97321                                  SUPPLIERS OR VENDORS      11/30/2018             $148.50
TEC LABS INC            7100 TEC LABS WAY SW                                                             ALBANY              OR           97321                                  SUPPLIERS OR VENDORS       12/4/2018             $995.54

TECH DATA CORPORATION   25121 NETWORK PLACE                                                              CHICAGO             IL           60673-1251                             SUPPLIERS OR VENDORS      10/22/2018          $39,523.93

TECH DATA CORPORATION   25121 NETWORK PLACE                                                              CHICAGO             IL           60673-1251                             SUPPLIERS OR VENDORS      11/22/2018          $55,835.79
TECHLIGHT PHOTO         GARY VAN STRATEN              2091 MYSTIC HILLS                                  GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS      10/18/2018           $6,930.00
TECHLIGHT PHOTO         GARY VAN STRATEN              2091 MYSTIC HILLS                                  GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS       11/1/2018               $1.00
TECHLIGHT PHOTO         GARY VAN STRATEN              2091 MYSTIC HILLS                                  GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS       11/8/2018             $577.50

TECHNOTRANS AMERICA INC PO BOX 5815                                                                      CAROL STREAM        IL           60197-5815                             SUPPLIERS OR VENDORS         1/5/2019           $1,554.03

TED BRINK               STORE OPERATIONS/STORE 046 SHOPKO EMPLOYEE                                       GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/19/2018             $260.77

TED BRINK               STORE OPERATIONS/STORE 046 SHOPKO EMPLOYEE                                       GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/26/2018             $193.33

TED BRINK               STORE OPERATIONS/STORE 046 SHOPKO EMPLOYEE                                       GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/2/2018             $380.65

TED BRINK               STORE OPERATIONS/STORE 046 SHOPKO EMPLOYEE                                       GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/9/2018             $309.49

TED BRINK               STORE OPERATIONS/STORE 046 SHOPKO EMPLOYEE                                       GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/16/2018             $300.74

TED BRINK               STORE OPERATIONS/STORE 046 SHOPKO EMPLOYEE                                       GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/27/2018             $148.32

TED BRINK               STORE OPERATIONS/STORE 046 SHOPKO EMPLOYEE                                       GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/30/2018             $393.59

TED BRINK               STORE OPERATIONS/STORE 046 SHOPKO EMPLOYEE                                       GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/11/2018             $211.84

TED BRINK               STORE OPERATIONS/STORE 046 SHOPKO EMPLOYEE                                       GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/20/2018             $216.32

TED BRINK               STORE OPERATIONS/STORE 046 SHOPKO EMPLOYEE                                       GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/29/2018             $193.57

TED ERHART              2200 GREAT NORTHERN APT J11                                                      MISSOULA            MT           59808                                  SUPPLIERS OR VENDORS       12/7/2018              $53.76
TEENA CARPENTER         406 BETZER RD APT 7                                                              DELAVAN             WI           53115                                  SUPPLIERS OR VENDORS      11/26/2018              $10.00



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                                                                                                                                                                                 Reasons for payment or    Dates of     Total Amount or
       Creditor Name              Address1                 Address2                  Address3               City                State       Zip              Country                    transfer          Payments            Value
TEENA LUTZ              1009 FEILDCREST DR                                                             MENASHA             WI           54952                                  SUPPLIERS OR VENDORS        12/14/2018               $10.00
TEIGS LAWN CARE &
LANDSCAPING LLC         606 NORTH HIGH STREET                                                          MARSHALL            MN           56258                                  SUPPLIERS OR VENDORS        11/1/2018            $1,229.78

TEKNO PRODUCTS INC      REPUBLIC BUSINESS CREDIT LLC PO BOX 203152                                     DALLAS              TX           75320-3152                             SUPPLIERS OR VENDORS       10/18/2018            $1,265.33

TEKNO PRODUCTS INC      REPUBLIC BUSINESS CREDIT LLC PO BOX 203152                                     DALLAS              TX           75320-3152                             SUPPLIERS OR VENDORS       10/25/2018            $1,200.00

TEKNO PRODUCTS INC      REPUBLIC BUSINESS CREDIT LLC PO BOX 203152                                     DALLAS              TX           75320-3152                             SUPPLIERS OR VENDORS        11/1/2018            $1,452.00

TEKNO PRODUCTS INC      REPUBLIC BUSINESS CREDIT LLC PO BOX 203152                                     DALLAS              TX           75320-3152                             SUPPLIERS OR VENDORS        11/8/2018           $12,690.86

TEKNO PRODUCTS INC      REPUBLIC BUSINESS CREDIT LLC PO BOX 203152                                     DALLAS              TX           75320-3152                             SUPPLIERS OR VENDORS       11/15/2018           $49,882.50

TEKNO PRODUCTS INC      REPUBLIC BUSINESS CREDIT LLC PO BOX 203152                                     DALLAS              TX           75320-3152                             SUPPLIERS OR VENDORS       11/29/2018              $406.32

TEKSYSTEMS INCORPORATED PO BOX 198568                                                                  ATLANTA             GA           30384-8568                             SUPPLIERS OR VENDORS       10/22/2018            $2,800.00

TEKSYSTEMS INCORPORATED PO BOX 198568                                                                  ATLANTA             GA           30384-8568                             SUPPLIERS OR VENDORS       10/30/2018            $7,695.00
                        ROSENTHAL & ROSENTHAL
TELEBRANDS CORPORATION INCORPORATED                 PO BOX 88926                                       CHICAGO             IL           60695-1926                             SUPPLIERS OR VENDORS       10/18/2018           $36,514.88
                        ROSENTHAL & ROSENTHAL
TELEBRANDS CORPORATION INCORPORATED                 PO BOX 88926                                       CHICAGO             IL           60695-1926                             SUPPLIERS OR VENDORS       10/20/2018           $36,720.00
                        ROSENTHAL & ROSENTHAL
TELEBRANDS CORPORATION INCORPORATED                 PO BOX 88926                                       CHICAGO             IL           60695-1926                             SUPPLIERS OR VENDORS       10/23/2018           $40,836.00
                        ROSENTHAL & ROSENTHAL
TELEBRANDS CORPORATION INCORPORATED                 PO BOX 88926                                       CHICAGO             IL           60695-1926                             SUPPLIERS OR VENDORS       10/25/2018           $17,202.00
                        ROSENTHAL & ROSENTHAL
TELEBRANDS CORPORATION INCORPORATED                 PO BOX 88926                                       CHICAGO             IL           60695-1926                             SUPPLIERS OR VENDORS       10/27/2018           $19,866.00
                        ROSENTHAL & ROSENTHAL
TELEBRANDS CORPORATION INCORPORATED                 PO BOX 88926                                       CHICAGO             IL           60695-1926                             SUPPLIERS OR VENDORS        11/6/2018           $61,524.00
                        ROSENTHAL & ROSENTHAL
TELEBRANDS CORPORATION INCORPORATED                 PO BOX 88926                                       CHICAGO             IL           60695-1926                             SUPPLIERS OR VENDORS        11/7/2018            $1,563.24
                        ROSENTHAL & ROSENTHAL
TELEBRANDS CORPORATION INCORPORATED                 PO BOX 88926                                       CHICAGO             IL           60695-1926                             SUPPLIERS OR VENDORS       11/10/2018          $108,204.00
                        ROSENTHAL & ROSENTHAL
TELEBRANDS CORPORATION INCORPORATED                 PO BOX 88926                                       CHICAGO             IL           60695-1926                             SUPPLIERS OR VENDORS       11/15/2018           $67,626.00
                        ROSENTHAL & ROSENTHAL
TELEBRANDS CORPORATION INCORPORATED                 PO BOX 88926                                       CHICAGO             IL           60695-1926                             SUPPLIERS OR VENDORS       11/16/2018           $15,960.00
                        ROSENTHAL & ROSENTHAL
TELEBRANDS CORPORATION INCORPORATED                 PO BOX 88926                                       CHICAGO             IL           60695-1926                             SUPPLIERS OR VENDORS       11/24/2018           $29,669.60
                        ROSENTHAL & ROSENTHAL
TELEBRANDS CORPORATION INCORPORATED                 PO BOX 88926                                       CHICAGO             IL           60695-1926                             SUPPLIERS OR VENDORS       11/29/2018           $12,989.65
TELISSA CANDELARIA      8049 S MAIN ST                                                                 MIDVALE             UT           84047                                  SUPPLIERS OR VENDORS       11/26/2018               $40.00
TEMPERATURE SYSTEMS
INCORPORATED            PO BOX 8030                                                                    MADISON             WI           53708-8030                             SUPPLIERS OR VENDORS        11/9/2018              $164.99
TEMPERATURE SYSTEMS
INCORPORATED            PO BOX 8030                                                                    MADISON             WI           53708-8030                             SUPPLIERS OR VENDORS       11/27/2018                $6.69
TEMPERATURE SYSTEMS
INCORPORATED            PO BOX 8030                                                                    MADISON             WI           53708-8030                             SUPPLIERS OR VENDORS       11/30/2018              $558.10
                        10 WEST 33RD STREET ROOM
TEN WEST APPAREL INC    216                                                                            NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS        11/6/2018            $1,899.00
                        10 WEST 33RD STREET ROOM
TEN WEST APPAREL INC    216                                                                            NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS        11/7/2018          $291,359.50



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                                                                                                                                                                                  Reasons for payment or    Dates of    Total Amount or
      Creditor Name                   Address1               Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
                           10 WEST 33RD STREET ROOM
TEN WEST APPAREL INC       216                                                                           NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS       11/8/2018            $432.00
TENDER CORPORATION         106 BURNDY ROAD                                                               LITTLETON           NH           03561-3957                             SUPPLIERS OR VENDORS      10/18/2018          $1,351.80
TENDER CORPORATION         106 BURNDY ROAD                                                               LITTLETON           NH           03561-3957                             SUPPLIERS OR VENDORS      10/25/2018            $647.10
TENDER CORPORATION         106 BURNDY ROAD                                                               LITTLETON           NH           03561-3957                             SUPPLIERS OR VENDORS       11/1/2018            $826.50
TENDER CORPORATION         106 BURNDY ROAD                                                               LITTLETON           NH           03561-3957                             SUPPLIERS OR VENDORS       11/8/2018          $1,676.74
TENDER CORPORATION         106 BURNDY ROAD                                                               LITTLETON           NH           03561-3957                             SUPPLIERS OR VENDORS      11/15/2018            $913.08
TENDER CORPORATION         106 BURNDY ROAD                                                               LITTLETON           NH           03561-3957                             SUPPLIERS OR VENDORS      11/29/2018          $1,107.60
TENDER LAWN CARE           501 MILL STREET                                                               GRUNDY CENTER       IA           50638                                  SUPPLIERS OR VENDORS       11/5/2018            $240.75
TENEO STRATEGY LLC         281 PARK AVE, 4TH FL                                                          NEW YORK            NY           10017                                  CONSULTING                11/30/2018        $124,666.67
TENEO STRATEGY LLC         280 PARK AVE, 4TH FL                                                          NEW YORK            NY           10017                                  CONSULTING                  1/2/2019        $110,000.00

TENNESEE DEPT OF REVENUE 500 DEADERICK STREET                                                            NASHVILLE           TN           37242                                  SALES & USE TAX           10/23/2018            $916.00

TENNESEE DEPT OF REVENUE   500 DEADERICK STREET                                                          NASHVILLE           TN           37242                                  SALES & USE TAX           12/21/2018           $1,839.00
TERENCE JAHN               2144 JONATHAN LANE                                                            DUBUQUE             IA           52001                                  SUPPLIERS OR VENDORS      12/20/2018              $23.00
TERENCE JENSEN             STORE 768                   SHOPKO EMPLOYEE        804 W HIGHWAY 2            GLASGOW             MT           59230-0000                             SUPPLIERS OR VENDORS       11/2/2018             $565.23
TERENCE JENSEN             STORE 768                   SHOPKO EMPLOYEE        804 W HIGHWAY 2            GLASGOW             MT           59230-0000                             SUPPLIERS OR VENDORS       11/9/2018             $151.51
TERENCE JENSEN             STORE 768                   SHOPKO EMPLOYEE        804 W HIGHWAY 2            GLASGOW             MT           59230-0000                             SUPPLIERS OR VENDORS       12/8/2018             $556.48
TERENCE SPRAGUE            54391 HWY 32                                                                  MADISON             NE           68748                                  SUPPLIERS OR VENDORS       11/5/2018              $60.45
TERENCE SPRAGUE            54391 HWY 32                                                                  MADISON             NE           68748                                  SUPPLIERS OR VENDORS      11/26/2018              $13.55
TERESA ADWELL              STORE 639                   SHOPKO EMPLOYEE        PO BOX 20                  ROCKVILLE           IN           47872                                  SUPPLIERS OR VENDORS       11/1/2018              $74.76
TERESA BARBER              252 E. CHERRY ST                                                              WINCHESTER          IL           62694                                  SUPPLIERS OR VENDORS      10/18/2018              $45.00
TERESA BARTHOLOMEW         802 NORTHLAND AVE                                                             LYLE                MN           55953                                  SUPPLIERS OR VENDORS       11/1/2018              $78.54
TERESA BEEHLER             1587 S 2050 E                                                                 SPANISH FORK        UT           84660                                  SUPPLIERS OR VENDORS      11/26/2018              $16.00
TERESA CUSICK              1908 E 37TH AVE                                                               SPOKANE             WA           99203                                  SUPPLIERS OR VENDORS      10/26/2018              $81.00
TERESA HOOK                3363 MEADOW LANE                                                              RHINELANDER         WI           54501                                  SUPPLIERS OR VENDORS       11/5/2018              $10.00
TERESA HOWARD              STORE 140                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/18/2018             $817.14
TERESA HOWARD              STORE 140                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/2/2018             $450.39
TERESA KELLER              914 OAK ST                                                                    BLOOMER             WI           54724                                  SUPPLIERS OR VENDORS      10/24/2018              $42.24
TERESA KELLER              914 OAK ST                                                                    BLOOMER             WI           54724                                  SUPPLIERS OR VENDORS       11/7/2018              $23.76
TERESA KIEWIET             1809 MARIE LANE                                                               MANKATO             MN           56003                                  SUPPLIERS OR VENDORS       11/1/2018              $25.50
TERESA KINSINGER           STORE 747                   SHOPKO EMPLOYEE        PO BOX 958                 LUVERNE             MN           56156                                  SUPPLIERS OR VENDORS       11/2/2018              $85.37
TERESA KINSINGER           STORE 747                   SHOPKO EMPLOYEE        PO BOX 958                 LUVERNE             MN           56156                                  SUPPLIERS OR VENDORS      11/16/2018             $103.55
TERESA KINSINGER           STORE 747                   SHOPKO EMPLOYEE        PO BOX 958                 LUVERNE             MN           56156                                  SUPPLIERS OR VENDORS        1/5/2019              $97.68
TERESA KLEIN               205 N 10TH ST                                                                 CLEAR LAKE          IA           50428                                  SUPPLIERS OR VENDORS      10/29/2018              $25.00
TERESA KUEHL               STORE 624                   SHOPKO EMPLOYEE        PO BOX 308                 LANSE               MI           49946                                  SUPPLIERS OR VENDORS       11/8/2018             $228.26
TERESA LONG                601 THOMPSON RD                                                               COWICHE             WA           98923                                  SUPPLIERS OR VENDORS      12/14/2018             $114.96
TERESA MANTHEI             522 S HOWARD STREET                                                           PRINCETON           WI           54968                                  SUPPLIERS OR VENDORS      12/17/2018              $25.00
TERESA MCCLURE             113 JOSHUA COURT                                                              CALDWELL            ID           83605                                  SUPPLIERS OR VENDORS       11/9/2018              $21.01
TERESA MOHR                PO BOX 163                                                                    ARLINGTON           SD           57212                                  SUPPLIERS OR VENDORS      12/21/2018              $20.00
TERESA SMITH               1840 FLETCHER AVE APT 128                                                     LINCOLN             NE           68521                                  SUPPLIERS OR VENDORS      11/26/2018              $24.98
TERESA SMITH               14223 E. TRENT AVE.                                                           SPOKANE             WA           99216                                  SUPPLIERS OR VENDORS       12/5/2018             $107.24
TERESA URBAN               204 W 15TH ST                                                                 NEILLSVILLE         WI           54456                                  SUPPLIERS OR VENDORS       11/8/2018              $25.00
TERESA WATTERS             N3666 ELM RD                                                                  PULASKI             WI           54162                                  SUPPLIERS OR VENDORS      11/29/2018              $34.00
TERESA WEEKES              STORE 4-095                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/8/2018             $147.15
TERI BAK                   1921 HILLSVIEW DR                                                             RAPID CITY          SD           57702                                  SUPPLIERS OR VENDORS      10/24/2018             $110.00

TERI HETZE                 1240 11TH STREET SOUTH                                                        WISCONSINRAPIDS     WI           54494                                  SUPPLIERS OR VENDORS      11/28/2018             $40.00
TERI LORAAS                BOX 284                                                                       HOT SPRINGS         MT           59845                                  SUPPLIERS OR VENDORS      10/24/2018             $53.76
TERI WELLENS               E423 CTY RD KB                                                                DENMARK             WI           54208                                  SUPPLIERS OR VENDORS      11/26/2018             $26.73
TERILENE MAUGHAN           524 N 40 W                                                                    LINDON              UT           84042                                  SUPPLIERS OR VENDORS       11/5/2018              $8.98
TERMINAL COURT LLC         MAROS LLC                   5521 DELTA RIVER DR                               LANSING             MI           48906                                  SUPPLIERS OR VENDORS       11/1/2018         $12,122.39
TERMINAL COURT LLC         MAROS LLC                   5521 DELTA RIVER DR                               LANSING             MI           48906                                  SUPPLIERS OR VENDORS       12/1/2018         $12,122.39



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                                                                                                                                                                                   Reasons for payment or    Dates of     Total Amount or
       Creditor Name                 Address1               Address2                   Address3                 City              State       Zip              Country                    transfer          Payments            Value
TERRA WIDMAN            STORE 2-069                   SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/29/2018              $488.12
TERRANCE PLOOF          156 CARLSEND RD                                                                  SKANDIA             MI           49885                                  SUPPLIERS OR VENDORS        11/26/2018               $64.00
TERRANCE ZDZIEBLOWSKI   741 RAMBLE LANE                                                                  PLOVER              WI           54467                                  SUPPLIERS OR VENDORS        10/31/2018               $50.00
TERRASCAPES LLC         410 14TH ST SW                PO BOX 2810                                        GREAT FALLS         MT           59403                                  SUPPLIERS OR VENDORS        10/18/2018              $145.00
TERRASCAPES LLC         410 14TH ST SW                PO BOX 2810                                        GREAT FALLS         MT           59403                                  SUPPLIERS OR VENDORS        11/29/2018              $230.00
TERRENCE BELL           4800 48TH STREET NE                                                              ROCHESTER           MN           55906                                  SUPPLIERS OR VENDORS        11/26/2018                $3.00
TERRENCE BELL           4800 48TH STREET NE                                                              ROCHESTER           MN           55906                                  SUPPLIERS OR VENDORS        11/26/2018                $3.00
TERRI COUNCIL           STORE 2-759                   SHOPKO EMPLOYEE         2105 LAZELLE STREET        STURGIS             SD           57785                                  SUPPLIERS OR VENDORS        10/18/2018               $10.90
TERRI COUNCIL           STORE 2-759                   SHOPKO EMPLOYEE         2105 LAZELLE STREET        STURGIS             SD           57785                                  SUPPLIERS OR VENDORS        10/25/2018                $7.09
TERRI COUNCIL           STORE 2-759                   SHOPKO EMPLOYEE         2105 LAZELLE STREET        STURGIS             SD           57785                                  SUPPLIERS OR VENDORS        11/15/2018               $38.15
TERRI COUNCIL           STORE 2-759                   SHOPKO EMPLOYEE         2105 LAZELLE STREET        STURGIS             SD           57785                                  SUPPLIERS OR VENDORS        11/29/2018               $25.07
TERRI COUNCIL           STORE 2-759                   SHOPKO EMPLOYEE         2105 LAZELLE STREET        STURGIS             SD           57785                                  SUPPLIERS OR VENDORS         12/6/2018                $9.81
TERRI COUNCIL           STORE 2-759                   SHOPKO EMPLOYEE         2105 LAZELLE STREET        STURGIS             SD           57785                                  SUPPLIERS OR VENDORS        12/13/2018               $95.38
TERRI COUNCIL           STORE 2-759                   SHOPKO EMPLOYEE         2105 LAZELLE STREET        STURGIS             SD           57785                                  SUPPLIERS OR VENDORS        12/20/2018               $41.43
TERRI HALEY             2023 E AVON CIRCLE                                                               HAYDEN              ID           83835                                  SUPPLIERS OR VENDORS        10/19/2018            $7,607.08
TERRI HALEY             2023 E AVON CIRCLE                                                               HAYDEN              ID           83835                                  SUPPLIERS OR VENDORS         11/2/2018            $7,983.22
TERRI HALEY             2023 E AVON CIRCLE                                                               HAYDEN              ID           83835                                  SUPPLIERS OR VENDORS        11/16/2018            $4,405.00
TERRI HALEY             2023 E AVON CIRCLE                                                               HAYDEN              ID           83835                                  SUPPLIERS OR VENDORS        11/30/2018            $7,907.42
TERRI HALEY             2023 E AVON CIRCLE                                                               HAYDEN              ID           83835                                  SUPPLIERS OR VENDORS        12/14/2018            $5,294.29
TERRI HALEY             2023 E AVON CIRCLE                                                               HAYDEN              ID           83835                                  SUPPLIERS OR VENDORS        12/29/2018            $6,053.87
TERRI HALEY             2023 E AVON CIRCLE                                                               HAYDEN              ID           83835                                  SUPPLIERS OR VENDORS         1/11/2019            $6,168.21
TERRI MCCRAVY           1102 SOUTH CEDER AVE                                                             MARSHFIELD          WI           54449                                  SUPPLIERS OR VENDORS        11/29/2018               $10.00
TERRI WILLIAMS          W3179 CENTER VALLEY RD                                                           SEYMOUR             WI           54165                                  SUPPLIERS OR VENDORS        11/12/2018               $24.94
TERRY CHITTENDEN        1220 E HAVENS LOT 216                                                            MITCHELL            SD           57301                                  SUPPLIERS OR VENDORS        11/28/2018               $11.20
TERRY CHITTENDEN        1220 E HAVENS LOT 216                                                            MITCHELL            SD           57301                                  SUPPLIERS OR VENDORS         12/5/2018               $44.80
TERRY CYR               2218 WYLIE AVE                                                                   MISSOULA            MT           59802                                  SUPPLIERS OR VENDORS        11/26/2018               $35.00
TERRY DAVID             3201 NORTH MAPLE ST                                                              AINSWORTH           NE           69210                                  SUPPLIERS OR VENDORS        11/29/2018               $45.00
TERRY DONOVAN           710 7TH AVE SE                                                                   AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS        11/29/2018               $15.00
TERRY KASTEN            1103 MAIN AVE                                                                    LAKE NORDEN         SD           57248                                  SUPPLIERS OR VENDORS        11/29/2018               $44.16
TERRY KLETZIEN          855 MATHESON ST                                                                  JANESVILLE          WI           53545                                  SUPPLIERS OR VENDORS        12/20/2018               $45.00
TERRY NATHE             6714 242ND ST                                                                    ST. CLOUD           MN           56301                                  SUPPLIERS OR VENDORS        10/26/2018               $28.00
TERRY RANK              1401 N 21ST STREET                                                               MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS         11/5/2018               $44.16
TERRY RANK              1401 N 21ST STREET                                                               MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS        11/26/2018               $11.04
TERRY SCHAUB            211 MAPLE STREET                                                                 HOUSTON             MN           55943                                  SUPPLIERS OR VENDORS        12/17/2018               $25.00
TERRY THOMPSON          1047 RICHARDSON AVE                                                              LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS        11/15/2018               $51.20
TERRY ULRICH            STORE 054                     SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/11/2018              $111.18
TERRY WALKER            PO BOX 165                                                                       BENTON CITY         WA           99320                                  SUPPLIERS OR VENDORS        11/29/2018               $19.00
TERRY WARNKE            BOX 341                                                                          STANTON             NE           68779                                  SUPPLIERS OR VENDORS        11/13/2018               $66.92
TERRY WOLF              8151 CTY RD Y                                                                    MARSHFIELD          WI           54449                                  SUPPLIERS OR VENDORS        10/22/2018               $66.00
TERRY ZUBIRAN           2655 S. ISIS CIR                                                                 MAGNA               UT           84044                                  SUPPLIERS OR VENDORS         11/5/2018                $4.36

TERVIS TUMBLER COMPANY PO BOX 530018                                                                     ATLANTA             GA           30353-0018                             SUPPLIERS OR VENDORS       11/22/2018              $654.08

TERVIS TUMBLER COMPANY PO BOX 530018                                                                     ATLANTA             GA           30353-0018                             SUPPLIERS OR VENDORS       11/29/2018            $4,057.50
TESSI SIMS             22045 GAP RD                                                                      HARRISBURG          OR           97446                                  SUPPLIERS OR VENDORS       10/23/2018                $5.00

TEST IO INC             691 S MILPITAS BLVD SUITE 212                                                    MILPITAS            CA           95035                                  SUPPLIERS OR VENDORS        11/1/2018            $9,000.00
TEXAS COMPTROLLER OF    LYNDON B. JOHNSON STATE
PUBLIC ACCOUNTS         OFFICE BUILDING               111 EAST 17TH ST.                                  AUSTIN              TX           78774                                  SALES & USE TAX            10/22/2018              $197.72
TEXAS COMPTROLLER OF    LYNDON B. JOHNSON STATE
PUBLIC ACCOUNTS         OFFICE BUILDING               111 EAST 17TH ST.                                  AUSTIN              TX           78774                                  SALES & USE TAX            10/22/2018          $220,389.87
TEXAS COMPTROLLER OF    LYNDON B. JOHNSON STATE
PUBLIC ACCOUNTS         OFFICE BUILDING               111 EAST 17TH ST.                                  AUSTIN              TX           78774                                  SALES/USE TAX              11/20/2018          $193,034.66




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                                                                                                                                                                                    Reasons for payment or    Dates of    Total Amount or
       Creditor Name                  Address1                 Address2                  Address3                   City            State       Zip              Country                   transfer          Payments           Value
TEXAS COMPTROLLER OF       LYNDON B. JOHNSON STATE
PUBLIC ACCOUNTS            OFFICE BUILDING              111 EAST 17TH ST.                                  AUSTIN              TX           78774                                  SALES & USE TAX           12/20/2018        $246,416.72
TEXAS LOTTERY              611 E 6TH STREET                                                                AUSTIN              TX           78701                                  PAYMENT FOR SERVICES      10/11/2018            $480.25
TEXAS LOTTERY              611 E 6TH STREET                                                                AUSTIN              TX           78701                                  PAYMENT FOR SERVICES      10/17/2018          $3,519.40
TEXAS LOTTERY              611 E 6TH STREET                                                                AUSTIN              TX           78701                                  PAYMENT FOR SERVICES      10/24/2018          $4,398.20
TEXAS LOTTERY              611 E 6TH STREET                                                                AUSTIN              TX           78701                                  PAYMENT FOR SERVICES      10/31/2018          $5,235.00
TEXAS LOTTERY              611 E 6TH STREET                                                                AUSTIN              TX           78701                                  PAYMENT FOR SERVICES      11/15/2018          $3,815.00
TEXAS LOTTERY              611 E 6TH STREET                                                                AUSTIN              TX           78701                                  PAYMENT FOR SERVICES      11/21/2018          $5,182.30
TEXAS LOTTERY              611 E 6TH STREET                                                                AUSTIN              TX           78701                                  PAYMENT FOR SERVICES      11/28/2018          $4,323.24
TEXAS LOTTERY              611 E 6TH STREET                                                                AUSTIN              TX           78701                                  PAYMENT FOR SERVICES       12/5/2018            $882.01
TEXAS LOTTERY              611 E 6TH STREET                                                                AUSTIN              TX           78701                                  PAYMENT FOR SERVICES      12/12/2018          $3,825.40
TEXAS LOTTERY              611 E 6TH STREET                                                                AUSTIN              TX           78701                                  PAYMENT FOR SERVICES      12/27/2018          $2,207.15
TEXAS LOTTERY              611 E 6TH STREET                                                                AUSTIN              TX           78701                                  PAYMENT FOR SERVICES        1/3/2019            $310.44
TEXAS LOTTERY              611 E 6TH STREET                                                                AUSTIN              TX           78701                                  PAYMENT FOR SERVICES        1/9/2019            $274.73

TEXTILES FROM EUROPE DBA VICTORIA CLASSICS              PO BOX 347123                                      PITTSBURGH          PA           15251-7123                             SUPPLIERS OR VENDORS      10/29/2018            $980.21

TEXTILES FROM EUROPE DBA VICTORIA CLASSICS              PO BOX 347123                                      PITTSBURGH          PA           15251-7123                             SUPPLIERS OR VENDORS      10/31/2018         $28,887.65

TEXTILES FROM EUROPE DBA VICTORIA CLASSICS              PO BOX 347123                                      PITTSBURGH          PA           15251-7123                             SUPPLIERS OR VENDORS       11/5/2018            $309.70

TEXTILES FROM EUROPE DBA VICTORIA CLASSICS              PO BOX 347123                                      PITTSBURGH          PA           15251-7123                             SUPPLIERS OR VENDORS      11/12/2018           $2,893.33

TEXTILES FROM EUROPE DBA VICTORIA CLASSICS              PO BOX 347123                                      PITTSBURGH          PA           15251-7123                             SUPPLIERS OR VENDORS      11/26/2018         $12,413.25

TEXTILES FROM EUROPE DBA VICTORIA CLASSICS              PO BOX 347123                                      PITTSBURGH          PA           15251-7123                             SUPPLIERS OR VENDORS       12/3/2018         $15,942.69

TEXTILES FROM EUROPE DBA   VICTORIA CLASSICS            PO BOX 347123                                      PITTSBURGH          PA           15251-7123                             SUPPLIERS OR VENDORS      12/11/2018          $9,964.07
THBH SL LLC                SHLOMOH ROSENBAUM            2 MALKA WAY                                        LAKEWOOD            NJ           08701                                  SUPPLIERS OR VENDORS       11/1/2018         $68,858.94
THBH SL LLC                SHLOMOH ROSENBAUM            2 MALKA WAY                                        LAKEWOOD            NJ           08701                                  SUPPLIERS OR VENDORS       12/4/2018         $68,858.94
THEDA CARE                 ATTN JESSICA HELMER          PO BOX 8025                                        APPLETON            WI           54912-8025                             SUPPLIERS OR VENDORS       11/1/2018          $3,600.00
THEDA CARE                 ATTN JESSICA HELMER          PO BOX 8025                                        APPLETON            WI           54912-8025                             SUPPLIERS OR VENDORS       12/3/2018          $3,600.00
THEODORE A LALIOTIS        61 DOUD DRIVE                                                                   LOS ALTOS           CA           94022                                  SUPPLIERS OR VENDORS      11/15/2018         $20,994.42
THEODORE A LALIOTIS        61 DOUD DRIVE                                                                   LOS ALTOS           CA           94022                                  SUPPLIERS OR VENDORS      12/19/2018         $20,994.42

THEODORE MATTSON           507 NORTH RIVERHILLS ROAD                                                       KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS      10/25/2018               $9.76

THEODORE MATTSON           507 NORTH RIVERHILLS ROAD                                                       KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS      11/26/2018             $39.14
                           9100 SOUTH CLINTONS CORNER
THEODORE NIEHAUS           RD                                                                              CLINTON             WI           53525                                  SUPPLIERS OR VENDORS      11/26/2018              $4.00
THERESA BOEHM              431 UNION STREET                                                                GREEN LAKE          WI           54941                                  SUPPLIERS OR VENDORS      12/20/2018             $10.00
                           955 WASHINGTON STREET UNIT
THERESA DELLAERT OD PLLC   219                                                                             DUBUQUE             IA           52001                                  SUPPLIERS OR VENDORS      10/26/2018           $4,250.06
                           955 WASHINGTON STREET UNIT
THERESA DELLAERT OD PLLC   219                                                                             DUBUQUE             IA           52001                                  SUPPLIERS OR VENDORS       11/9/2018           $4,250.06
                           955 WASHINGTON STREET UNIT
THERESA DELLAERT OD PLLC   219                                                                             DUBUQUE             IA           52001                                  SUPPLIERS OR VENDORS      11/27/2018           $4,250.06
                           955 WASHINGTON STREET UNIT
THERESA DELLAERT OD PLLC   219                                                                             DUBUQUE             IA           52001                                  SUPPLIERS OR VENDORS      11/30/2018         $15,004.02
                           955 WASHINGTON STREET UNIT
THERESA DELLAERT OD PLLC   219                                                                             DUBUQUE             IA           52001                                  SUPPLIERS OR VENDORS       12/4/2018            $685.11
                           955 WASHINGTON STREET UNIT
THERESA DELLAERT OD PLLC   219                                                                             DUBUQUE             IA           52001                                  SUPPLIERS OR VENDORS       12/8/2018           $4,250.06




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                                                                                                                                                                                    Reasons for payment or    Dates of    Total Amount or
      Creditor Name                   Address1                 Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
                           955 WASHINGTON STREET UNIT
THERESA DELLAERT OD PLLC   219                                                                             DUBUQUE             IA           52001                                  SUPPLIERS OR VENDORS      12/19/2018            $572.25
                           955 WASHINGTON STREET UNIT
THERESA DELLAERT OD PLLC   219                                                                             DUBUQUE             IA           52001                                  SUPPLIERS OR VENDORS      12/21/2018           $4,250.06
                           955 WASHINGTON STREET UNIT
THERESA DELLAERT OD PLLC   219                                                                             DUBUQUE             IA           52001                                  SUPPLIERS OR VENDORS      12/28/2018           $1,273.76
                           955 WASHINGTON STREET UNIT
THERESA DELLAERT OD PLLC   219                                                                             DUBUQUE             IA           52001                                  SUPPLIERS OR VENDORS        1/5/2019           $4,250.06
THERESA FRAZIER            64 PERIMETER DRIVE                                                              SARTELL             MN           56377                                  SUPPLIERS OR VENDORS       11/1/2018              $25.00
THERESA GREENE             201 VIKING LANE                                                                 NORWAY              MI           49870                                  SUPPLIERS OR VENDORS      11/26/2018              $10.99

THERESA GROVOGEL           1030 WEST ELM DRIVE APT A2                                                      LITTLE CHUTE        WI           54140                                  SUPPLIERS OR VENDORS      10/26/2018            $250.00
THERESA HIGGINS            860 TEXAS AVE NW                                                                HUTCHINSON          MN           55350                                  SUPPLIERS OR VENDORS       12/5/2018              $3.06
THERESA HOLLADAY           1618 JASBERG ST                                                                 HANCOCK             MI           49930                                  SUPPLIERS OR VENDORS      12/13/2018             $40.00
                           EMPLOYEE RELATIONS/STORE
THERESA LANGABEER          046                          SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/26/2018            $369.20
                           EMPLOYEE RELATIONS/STORE
THERESA LANGABEER          046                          SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/2/2018            $302.48
                           EMPLOYEE RELATIONS/STORE
THERESA LANGABEER          046                          SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/9/2018            $287.51
                           EMPLOYEE RELATIONS/STORE
THERESA LANGABEER          046                          SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/16/2018            $294.81
                           EMPLOYEE RELATIONS/STORE
THERESA LANGABEER          046                          SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/27/2018            $129.97
                           EMPLOYEE RELATIONS/STORE
THERESA LANGABEER          046                          SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/11/2018            $142.86
                           EMPLOYEE RELATIONS/STORE
THERESA LANGABEER          046                          SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/20/2018            $114.15
                           EMPLOYEE RELATIONS/STORE
THERESA LANGABEER          046                          SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/29/2018            $193.05
THERESA LINDEMER           40113 1/2 ST                                                                    DALLAS              WI           54733                                  SUPPLIERS OR VENDORS      10/25/2018             $16.00
THERESA MARCOE             W6350 KINKER RD                                                                 FOND DU LAC         WI           54937                                  SUPPLIERS OR VENDORS      11/26/2018             $28.98
THERESA MOE                2424 LUCERNE DR                                                                 JANESVILLE          WI           53545                                  SUPPLIERS OR VENDORS      12/10/2018             $10.00
THERESA PEKOL              N3223 FAIRGROUND AVE                                                            NEILLSVILLE         WI           54456                                  SUPPLIERS OR VENDORS      10/22/2018             $25.00
THERESA ROBERTS            306 NORTH DELAWARE           P.O. BOX 354                                       FULDA               MN           56131                                  SUPPLIERS OR VENDORS       12/7/2018             $54.50
THERESA SCHURING           P O BOX 52                                                                      ANDOVER             SD           57422                                  SUPPLIERS OR VENDORS      11/13/2018             $12.16
THERESA TUCCI              3919 CARL STREET                                                                WAUSAU              WI           54403                                  SUPPLIERS OR VENDORS      11/26/2018             $62.00
THERESE MICALE             STORE 051                    SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/13/2018             $41.42
THERESE QUICK              1417 PIEDMONT ROAD                                                              EAU CLAIRE          WI           54703                                  SUPPLIERS OR VENDORS      10/25/2018             $23.00
THERIA ROCKEMANN           6100 VINE STREET             APT Z 203                                          LINCOLN             NE           68505                                  SUPPLIERS OR VENDORS      11/12/2018             $13.15
THERIA ROCKEMANN           6100 VINE STREET             APT Z 203                                          LINCOLN             NE           68505                                  SUPPLIERS OR VENDORS      12/17/2018             $60.85
THERMACELL REPELLENTS      VICE PRESIDENT OF SALES      26 CROSBY DRIVE                                    BEDFORD             MA           07130                                  SUPPLIERS OR VENDORS      10/18/2018         $10,710.16
THERMACELL REPELLENTS      VICE PRESIDENT OF SALES      26 CROSBY DRIVE                                    BEDFORD             MA           07130                                  SUPPLIERS OR VENDORS      11/15/2018          $3,171.64
THERMACELL REPELLENTS      VICE PRESIDENT OF SALES      26 CROSBY DRIVE                                    BEDFORD             MA           07130                                  SUPPLIERS OR VENDORS       12/5/2018          $4,465.80
THERMOS LLC                37220 EAGLE WAY                                                                 CHICAGO             IL           60678-1372                             SUPPLIERS OR VENDORS      10/25/2018         $12,808.34
THERMOS LLC                37220 EAGLE WAY                                                                 CHICAGO             IL           60678-1372                             SUPPLIERS OR VENDORS       11/8/2018         $35,815.69
THERMOS LLC                37220 EAGLE WAY                                                                 CHICAGO             IL           60678-1372                             SUPPLIERS OR VENDORS      11/15/2018          $9,758.89
THERMOS LLC                37220 EAGLE WAY                                                                 CHICAGO             IL           60678-1372                             SUPPLIERS OR VENDORS      11/22/2018         $10,165.73
THERMOS LLC                37220 EAGLE WAY                                                                 CHICAGO             IL           60678-1372                             SUPPLIERS OR VENDORS      11/29/2018          $4,587.90
THERON BENNETT             511 E DAYTON AVE                                                                DAYTON              WA           99328                                  SUPPLIERS OR VENDORS      11/12/2018             $50.00

THINOPTICS INCORPORATED 117 BERNAL ROAD 70-607                                                             SAN JOSE            CA           95119                                  SUPPLIERS OR VENDORS      11/29/2018              $65.94
THOMAS A MAYBERRY       MAYBERRY PROPERTIES             119 SOUTH 17 STREET                                SAINT JAMES         MN           56081                                  SUPPLIERS OR VENDORS      11/15/2018           $7,046.25
THOMAS A MAYBERRY       MAYBERRY PROPERTIES             119 SOUTH 17 STREET                                SAINT JAMES         MN           56081                                  SUPPLIERS OR VENDORS      12/19/2018           $7,046.25



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                                                                                                                                                                                Reasons for payment or    Dates of     Total Amount or
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THOMAS BAUTCH           E20345 GREENS LANDING RD                                                      AUGUSTA             WI           54722                                  SUPPLIERS OR VENDORS        10/29/2018              $135.79
THOMAS BECHEN SR.       2331 GRAHAM CIRCLE                                                            DUBUQUE             IA           52002                                  SUPPLIERS OR VENDORS        11/26/2018               $10.00
THOMAS BERNARD          1225 CARDINAL CREST DRIVE                                                     SUN PRAIRIE         WI           53590                                  SUPPLIERS OR VENDORS        12/20/2018               $25.00
THOMAS BOBKA            HEALTH SERVICES             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/25/2018              $108.75
THOMAS BOBKA            HEALTH SERVICES             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/29/2018              $746.83
THOMAS BONOFIGLIO       2403-26TH AVENUE                                                              KENOSHA             WI           53140                                  SUPPLIERS OR VENDORS         11/2/2018               $15.00
THOMAS BOYDSTON         454 ADDISON SQUARE                                                            KALISPELL           MT           59901                                  SUPPLIERS OR VENDORS        10/18/2018               $42.00
THOMAS BRANDRIET        321 13TH ST NE # B203                                                         WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS        11/16/2018               $44.16

THOMAS C MITCHELL       T C MITCHELL LLC            1500 OLD STAGE ROAD                               DILLON              MT           59725                                  SUPPLIERS OR VENDORS        11/1/2018            $1,916.67

THOMAS C MITCHELL       T C MITCHELL LLC            1500 OLD STAGE ROAD                               DILLON              MT           59725                                  SUPPLIERS OR VENDORS        12/3/2018            $1,916.67
THOMAS CAMARDA          4808 25 AVE                                                                   KENOSHA             WI           53140                                  SUPPLIERS OR VENDORS       10/25/2018               $11.47
THOMAS CAMARDA          4808 25 AVE                                                                   KENOSHA             WI           53140                                  SUPPLIERS OR VENDORS       10/25/2018               $40.54
THOMAS CROWTHER         203 S 690 E                                                                   SANTAQUIN           UT           84655                                  SUPPLIERS OR VENDORS       11/29/2018               $26.00
THOMAS CURTIS           3649 N. TRINITY RD.                                                           NORTH PLATTE        NE           69101                                  SUPPLIERS OR VENDORS        12/3/2018               $49.44
THOMAS DAHLBY           STORE 4-057                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS        11/8/2018              $206.25
THOMAS DANIELS          2374 250TH STR                                                                ARCO                MN           56113                                  SUPPLIERS OR VENDORS        11/5/2018               $28.31
THOMAS DANIELS          2374 250TH STR                                                                ARCO                MN           56113                                  SUPPLIERS OR VENDORS       11/26/2018                $7.08
THOMAS DRACKLEY         305 FLEETWOOD DR                                                              OMAHA               NE           68133                                  SUPPLIERS OR VENDORS       10/24/2018               $47.04
THOMAS DRACKLEY         305 FLEETWOOD DR                                                              OMAHA               NE           68133                                  SUPPLIERS OR VENDORS        11/1/2018               $26.96
THOMAS GAYAN            244 ROSELAND STREET                                                           KINGSFORD           MI           49802                                  SUPPLIERS OR VENDORS       10/24/2018               $39.04
THOMAS GROSLAND         1700 ATWOOD RD                                                                NORTHWOOD           IA           50459                                  SUPPLIERS OR VENDORS       10/24/2018               $48.00
THOMAS GROSLAND         1700 ATWOOD RD                                                                NORTHWOOD           IA           50459                                  SUPPLIERS OR VENDORS       11/13/2018               $12.00
THOMAS HENDERSON        STORE 024                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS        11/1/2018               $88.84
THOMAS HENDERSON        STORE 024                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS        12/6/2018               $57.11
THOMAS HENDERSON        STORE 024                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307                                  SUPPLIERS OR VENDORS       12/20/2018              $425.01
THOMAS JOHNSON          13732 FOREST HILL DR                                                          NEKOOSA             WI           54457                                  SUPPLIERS OR VENDORS       10/26/2018               $30.00
THOMAS JOHNSON          205 EAST LAKE ST                                                              VENTURA             IA           50482                                  SUPPLIERS OR VENDORS       10/29/2018               $12.00
THOMAS JONES            414 LONGVIEW AVE                                                              GREEN BAY           WI           54301                                  SUPPLIERS OR VENDORS       12/17/2018               $37.48
THOMAS LAPLACA          207 N 2ND                                                                     ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       12/13/2018               $45.00
THOMAS LENERTZ          3167 200TH ST                                                                 TRACY               MN           56175                                  SUPPLIERS OR VENDORS       12/18/2018               $70.00
THOMAS LIPPERT          10217 E HWY 14                                                                AVALON              WI           53505                                  SUPPLIERS OR VENDORS       10/18/2018               $22.98
THOMAS LOTTER           6487 COUNTY I               SHOPKO EMPLOYEE                                   LENA                WI           54139-0000                             SUPPLIERS OR VENDORS       10/18/2018              $249.80
THOMAS LOTTER           6487 COUNTY I               SHOPKO EMPLOYEE                                   LENA                WI           54139-0000                             SUPPLIERS OR VENDORS        11/1/2018              $415.93
THOMAS LOTTER           6487 COUNTY I               SHOPKO EMPLOYEE                                   LENA                WI           54139-0000                             SUPPLIERS OR VENDORS       11/22/2018              $970.78
THOMAS LOTTER           6487 COUNTY I               SHOPKO EMPLOYEE                                   LENA                WI           54139-0000                             SUPPLIERS OR VENDORS        12/6/2018              $463.04
THOMAS LOTTER           6487 COUNTY I               SHOPKO EMPLOYEE                                   LENA                WI           54139-0000                             SUPPLIERS OR VENDORS       12/27/2018              $909.14
THOMAS LOZANO           1500 DEAN AVE                                                                 GRANGER             WA           98932                                  SUPPLIERS OR VENDORS       11/26/2018               $10.99
THOMAS MATZKE           615 NORTH BROADWAY                                                            DE PERE             WI           54115                                  SUPPLIERS OR VENDORS       11/26/2018               $24.00
THOMAS MICHAEL          1224 SCENIC DR.                                                               CONDON              MT           59826                                  SUPPLIERS OR VENDORS        12/3/2018               $11.62
THOMAS MICHAEL          1224 SCENIC DR.                                                               CONDON              MT           59826                                  SUPPLIERS OR VENDORS       12/19/2018               $53.76
THOMAS MITCHELL         3030 W 4TH AVE              APT E201                                          KENNEWICK           WA           99336                                  SUPPLIERS OR VENDORS        12/7/2018               $12.00
THOMAS MOSER SR         1822 BIRCH ST.                                                                YAKIMA              WA           98901                                  SUPPLIERS OR VENDORS       11/26/2018               $24.00
THOMAS MURASKI          3087 OREGON ST                                                                OSHKOSH             WI           54902                                  SUPPLIERS OR VENDORS       10/25/2018               $61.78
THOMAS NEPERMAN         307 S ASH ST                                                                  LAMBERTON           MN           56152                                  SUPPLIERS OR VENDORS        11/9/2018               $25.00
THOMAS OLSON            STORE 206                   SHOPKO EMPLOYEE        701 GREAT BASIN BLVD       ELY                 NV           89301                                  SUPPLIERS OR VENDORS       11/16/2018               $36.13
THOMAS OLSON            W2282 17TH COURT                                                              DALTON              WI           53926                                  SUPPLIERS OR VENDORS       11/26/2018               $25.00
THOMAS PFAFF            758 CORSAIR DR                                                                INDEPENDENCE        OR           97351                                  SUPPLIERS OR VENDORS        12/3/2018               $39.45
THOMAS PICKETT          280 1ST ST                  APT 11                                            IDAHO FALLS         ID           83401                                  SUPPLIERS OR VENDORS       11/12/2018               $15.00
THOMAS QUEOFF           2830 CAPRICORN DRIVE                                                          GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS       10/22/2018               $25.00

THOMAS R FERGUSON OD PC PO BOX 2837                                                                   MISSOULA            MT           59806                                  SUPPLIERS OR VENDORS       10/19/2018            $4,241.60




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     Creditor Name                  Address1                  Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value

THOMAS R FERGUSON OD PC PO BOX 2837                                                                       MISSOULA            MT           59806                                  SUPPLIERS OR VENDORS       11/2/2018           $3,765.97

THOMAS R FERGUSON OD PC PO BOX 2837                                                                       MISSOULA            MT           59806                                  SUPPLIERS OR VENDORS      11/16/2018           $4,194.47

THOMAS R FERGUSON OD PC PO BOX 2837                                                                       MISSOULA            MT           59806                                  SUPPLIERS OR VENDORS      11/30/2018           $4,551.36

THOMAS R FERGUSON OD PC PO BOX 2837                                                                       MISSOULA            MT           59806                                  SUPPLIERS OR VENDORS      12/14/2018           $4,086.50

THOMAS R FERGUSON OD PC PO BOX 2837                                                                       MISSOULA            MT           59806                                  SUPPLIERS OR VENDORS      12/29/2018           $3,576.67

THOMAS R FERGUSON OD PC   PO BOX 2837                                                                     MISSOULA            MT           59806                                  SUPPLIERS OR VENDORS       1/11/2019           $2,988.98
THOMAS RAAP               900 E. 14TH ST                                                                  SIOUX FALLS         SD           57104                                  SUPPLIERS OR VENDORS      10/29/2018              $48.00
THOMAS RAAP               900 E. 14TH ST                                                                  SIOUX FALLS         SD           57104                                  SUPPLIERS OR VENDORS      11/26/2018              $12.00
THOMAS RENNECKE           131 N MARS ST                 PO BOX 113                                        COSMOS              MN           56228                                  SUPPLIERS OR VENDORS      11/12/2018              $41.84
THOMAS RIEGER             RIEGER OPTOMETRY              3709 W 77TH STREET                                SIOUX FALLS         SD           57108                                  SUPPLIERS OR VENDORS      10/19/2018           $6,355.09
THOMAS RIEGER             RIEGER OPTOMETRY              3709 W 77TH STREET                                SIOUX FALLS         SD           57108                                  SUPPLIERS OR VENDORS       11/2/2018           $6,091.70
THOMAS RIEGER             RIEGER OPTOMETRY              3709 W 77TH STREET                                SIOUX FALLS         SD           57108                                  SUPPLIERS OR VENDORS      11/16/2018           $4,167.51
THOMAS RIEGER             RIEGER OPTOMETRY              3709 W 77TH STREET                                SIOUX FALLS         SD           57108                                  SUPPLIERS OR VENDORS      11/30/2018           $6,512.63
THOMAS RIEGER             RIEGER OPTOMETRY              3709 W 77TH STREET                                SIOUX FALLS         SD           57108                                  SUPPLIERS OR VENDORS      12/14/2018           $6,588.13
THOMAS RIEGER             RIEGER OPTOMETRY              3709 W 77TH STREET                                SIOUX FALLS         SD           57108                                  SUPPLIERS OR VENDORS      12/29/2018           $5,727.94
THOMAS RIEGER             RIEGER OPTOMETRY              3709 W 77TH STREET                                SIOUX FALLS         SD           57108                                  SUPPLIERS OR VENDORS       1/11/2019           $4,013.17
THOMAS ROGERS JR          3548 WINDWARD LN                                                                APPLETON            WI           54911                                  SUPPLIERS OR VENDORS      10/24/2018              $25.00
THOMAS SCHEMM             3527 HILLSBOROUGH DR                                                            APPLETON            WI           54911                                  SUPPLIERS OR VENDORS      12/17/2018              $20.00
THOMAS SCHEUERS           N5359 SEE VUE DR                                                                FOND DU LAC         WI           54935                                  SUPPLIERS OR VENDORS      11/12/2018               $5.00
THOMAS SCHMITT            18257 NORTH ROAD                                                                LAKEWOOD            WI           54138                                  SUPPLIERS OR VENDORS       11/9/2018              $40.00
THOMAS SCHROEDER          1538 VERNON AVE                                                                 BELOIT              WI           53511                                  SUPPLIERS OR VENDORS      10/26/2018               $5.02
THOMAS SCOTT              PO BOX 5                                                                        CHAMBERS            NE           68725                                  SUPPLIERS OR VENDORS       11/5/2018              $53.54
                          5710 SOUTH HAILEE LANE, APT
THOMAS SODERQUIST         144                                                                             SPOKANE             WA           99223                                  SUPPLIERS OR VENDORS      11/28/2018               $3.00
THOMAS THOMPSON           N3341 CTY RD. C                                                                 FREEDOM             WI           54913                                  SUPPLIERS OR VENDORS      10/26/2018               $2.06
                          W8719 TWIN FALLS ACCESS
THOMAS TURNER             ROAD                                                                            IRON MOUNTAIN       MI           49801                                  SUPPLIERS OR VENDORS       11/5/2018             $62.46
                          W8719 TWIN FALLS ACCESS
THOMAS TURNER             ROAD                                                                            IRON MOUNTAIN       MI           49801                                  SUPPLIERS OR VENDORS      11/26/2018             $13.54
THOMAS VAN AMBER          3190 LIBERTY BELL ROAD                                                          GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS      11/26/2018             $69.00
THOMAS WATSON             2037 TAYLOR ST                                                                  MADISON             WI           53713                                  SUPPLIERS OR VENDORS      11/28/2018             $30.00
THOMAS WELLE              11400 42ND ST                                                                   CLEAR LAKE          MN           55319                                  SUPPLIERS OR VENDORS      12/13/2018             $23.00
THOMPSON LANDSCAPE        PO BOX 11562                                                                    EUGENE              OR           97440                                  SUPPLIERS OR VENDORS      10/18/2018            $250.25
THOMPSON LANDSCAPE        PO BOX 11562                                                                    EUGENE              OR           97440                                  SUPPLIERS OR VENDORS      11/29/2018            $806.50
THOMPSON LANDSCAPE        PO BOX 11562                                                                    EUGENE              OR           97440                                  SUPPLIERS OR VENDORS        1/4/2019            $288.25
THOMPSON SERVICES
INCORPORATED              LEE THOMPSON                  603 2ND STREET NE                                 GLENWOOD            MN           56334                                  SUPPLIERS OR VENDORS       11/9/2018            $320.63
THOMPSON SERVICES
INCORPORATED              LEE THOMPSON                  603 2ND STREET NE                                 GLENWOOD            MN           56334                                  SUPPLIERS OR VENDORS      12/18/2018            $240.47
THOMSON REUTERS (TAX &
ACCOUNTING) INC           PO BOX 6016                                                                     CAROL STREAM        IL           60197-6016                             SUPPLIERS OR VENDORS       11/2/2018         $30,265.53
THREAD COLLECTIVE INC     LOCKBOX 1642                  PO BOX 8500 1642                                  PHILADELPHIA        PA           19178-1642                             SUPPLIERS OR VENDORS      10/18/2018         $35,489.70
THREAD COLLECTIVE INC     LOCKBOX 1642                  PO BOX 8500 1642                                  PHILADELPHIA        PA           19178-1642                             SUPPLIERS OR VENDORS      10/19/2018         $86,031.55
THREAD COLLECTIVE INC     LOCKBOX 1642                  PO BOX 8500 1642                                  PHILADELPHIA        PA           19178-1642                             SUPPLIERS OR VENDORS      10/23/2018          $1,061.50
THREAD COLLECTIVE INC     LOCKBOX 1642                  PO BOX 8500 1642                                  PHILADELPHIA        PA           19178-1642                             SUPPLIERS OR VENDORS      10/24/2018            $900.00
THREAD COLLECTIVE INC     LOCKBOX 1642                  PO BOX 8500 1642                                  PHILADELPHIA        PA           19178-1642                             SUPPLIERS OR VENDORS       11/1/2018            $292.20
THREAD COLLECTIVE INC     LOCKBOX 1642                  PO BOX 8500 1642                                  PHILADELPHIA        PA           19178-1642                             SUPPLIERS OR VENDORS       11/2/2018            $667.95
THREAD COLLECTIVE INC     LOCKBOX 1642                  PO BOX 8500 1642                                  PHILADELPHIA        PA           19178-1642                             SUPPLIERS OR VENDORS      11/16/2018          $6,205.73



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                                                                                                                                                                                Reasons for payment or    Dates of     Total Amount or
     Creditor Name                   Address1             Address2                  Address3                City               State       Zip              Country                    transfer          Payments            Value
THREAD COLLECTIVE INC       LOCKBOX 1642            PO BOX 8500 1642                                  PHILADELPHIA        PA           19178-1642                             SUPPLIERS OR VENDORS        11/26/2018           $21,867.00
THREAD COLLECTIVE INC       LOCKBOX 1642            PO BOX 8500 1642                                  PHILADELPHIA        PA           19178-1642                             SUPPLIERS OR VENDORS        11/28/2018           $26,730.00
THREAD COLLECTIVE INC       LOCKBOX 1642            PO BOX 8500 1642                                  PHILADELPHIA        PA           19178-1642                             SUPPLIERS OR VENDORS        11/29/2018            $1,573.20

THREE B INTERNATIONAL LLC 100 BOMONT PLACE                                                            TOTOWA              NJ           07512                                  SUPPLIERS OR VENDORS       10/18/2018           $11,086.08

THREE B INTERNATIONAL LLC 100 BOMONT PLACE                                                            TOTOWA              NJ           07512                                  SUPPLIERS OR VENDORS       10/25/2018              $466.42

THREE B INTERNATIONAL LLC 100 BOMONT PLACE                                                            TOTOWA              NJ           07512                                  SUPPLIERS OR VENDORS        11/8/2018           $12,661.67

THREE B INTERNATIONAL LLC 100 BOMONT PLACE                                                            TOTOWA              NJ           07512                                  SUPPLIERS OR VENDORS       11/15/2018           $10,364.56

THREE B INTERNATIONAL LLC 100 BOMONT PLACE                                                            TOTOWA              NJ           07512                                  SUPPLIERS OR VENDORS       11/22/2018            $1,465.56

THREE B INTERNATIONAL LLC   100 BOMONT PLACE                                                          TOTOWA              NJ           07512                                  SUPPLIERS OR VENDORS       11/29/2018            $2,476.03
THREE M COMPANY             NW 9045                 PO BOX 1450                                       MINNEAPOLIS         MN           55485-9045                             SUPPLIERS OR VENDORS       10/18/2018           $10,714.39
THREE M COMPANY             NW 9045                 PO BOX 1450                                       MINNEAPOLIS         MN           55485-9045                             SUPPLIERS OR VENDORS       10/23/2018           $27,012.30
THREE M COMPANY             NW 9045                 PO BOX 1450                                       MINNEAPOLIS         MN           55485-9045                             SUPPLIERS OR VENDORS       10/25/2018           $42,334.68
THREE M COMPANY             NW 9045                 PO BOX 1450                                       MINNEAPOLIS         MN           55485-9045                             SUPPLIERS OR VENDORS       10/30/2018           $23,514.05
THREE M COMPANY             NW 9045                 PO BOX 1450                                       MINNEAPOLIS         MN           55485-9045                             SUPPLIERS OR VENDORS        11/1/2018           $13,702.23
THREE M COMPANY             NW 9045                 PO BOX 1450                                       MINNEAPOLIS         MN           55485-9045                             SUPPLIERS OR VENDORS        11/6/2018           $42,935.39
THREE M COMPANY             NW 9045                 PO BOX 1450                                       MINNEAPOLIS         MN           55485-9045                             SUPPLIERS OR VENDORS        11/8/2018           $53,498.88
THREE M COMPANY             NW 9045                 PO BOX 1450                                       MINNEAPOLIS         MN           55485-9045                             SUPPLIERS OR VENDORS       11/13/2018           $83,516.27
THREE M COMPANY             NW 9045                 PO BOX 1450                                       MINNEAPOLIS         MN           55485-9045                             SUPPLIERS OR VENDORS       11/27/2018          $549,502.45
THREE M COMPANY             NW 9045                 PO BOX 1450                                       MINNEAPOLIS         MN           55485-9045                             SUPPLIERS OR VENDORS       11/29/2018           $15,850.98
THREE M COMPANY             NW 9045                 PO BOX 1450                                       MINNEAPOLIS         MN           55485-9045                             SUPPLIERS OR VENDORS        12/4/2018           $27,991.20

THRIFTY WHITE PHARMACY      PO BOX 41910                                                              PLYMOUTH            MN           55441-0910                             SUPPLIERS OR VENDORS       12/14/2018              $134.00
THYSSENKRUPP ELEVATOR
CORPORATION                 PO BOX 933004                                                             ATLANTA             GA           31193-3004                             SUPPLIERS OR VENDORS       10/25/2018              $968.31
TI LOGISTICS                9 S HACKENSACK AVENUE                                                     KEARNY              NJ           07032                                  SUPPLIERS OR VENDORS       10/18/2018              $972.96
TI LOGISTICS                9 S HACKENSACK AVENUE                                                     KEARNY              NJ           07032                                  SUPPLIERS OR VENDORS       10/23/2018            $3,674.31
TI LOGISTICS                9 S HACKENSACK AVENUE                                                     KEARNY              NJ           07032                                  SUPPLIERS OR VENDORS       10/26/2018            $2,005.91
TI LOGISTICS                9 S HACKENSACK AVENUE                                                     KEARNY              NJ           07032                                  SUPPLIERS OR VENDORS       10/30/2018            $2,387.36
TI LOGISTICS                9 S HACKENSACK AVENUE                                                     KEARNY              NJ           07032                                  SUPPLIERS OR VENDORS        11/1/2018            $1,488.14
TI LOGISTICS                9 S HACKENSACK AVENUE                                                     KEARNY              NJ           07032                                  SUPPLIERS OR VENDORS        11/6/2018            $2,251.04
TI LOGISTICS                9 S HACKENSACK AVENUE                                                     KEARNY              NJ           07032                                  SUPPLIERS OR VENDORS        11/8/2018            $1,035.73
TI LOGISTICS                9 S HACKENSACK AVENUE                                                     KEARNY              NJ           07032                                  SUPPLIERS OR VENDORS       11/13/2018            $4,129.68
TI LOGISTICS                9 S HACKENSACK AVENUE                                                     KEARNY              NJ           07032                                  SUPPLIERS OR VENDORS       11/15/2018              $766.64
TI LOGISTICS                9 S HACKENSACK AVENUE                                                     KEARNY              NJ           07032                                  SUPPLIERS OR VENDORS       11/27/2018            $5,165.88
TI LOGISTICS                9 S HACKENSACK AVENUE                                                     KEARNY              NJ           07032                                  SUPPLIERS OR VENDORS       11/29/2018            $2,601.81
TI LOGISTICS                9 S HACKENSACK AVENUE                                                     KEARNY              NJ           07032                                  SUPPLIERS OR VENDORS        12/4/2018            $2,404.29
TI LOGISTICS                9 S HACKENSACK AVENUE                                                     KEARNY              NJ           07032                                  SUPPLIERS OR VENDORS        12/6/2018            $3,188.69
TI LOGISTICS                9 S HACKENSACK AVENUE                                                     KEARNY              NJ           07032                                  SUPPLIERS OR VENDORS       12/10/2018            $2,198.08
TI LOGISTICS                9 S HACKENSACK AVENUE                                                     KEARNY              NJ           07032                                  SUPPLIERS OR VENDORS         1/5/2019           $14,225.32
TIA FOLKENS                 4109 W MESA PASS                                                          SIOUX FALLS         SD           57106                                  SUPPLIERS OR VENDORS       11/26/2018               $30.00
TIA RUSTICI                 536 W BLACKROCK DR                                                        MERIDIAN            ID           83646                                  SUPPLIERS OR VENDORS       10/25/2018               $10.00
TIEONI RILEY                2418 FROSTY PINE CT.                                                      STEVENS POINT       WI           54481                                  SUPPLIERS OR VENDORS        12/7/2018               $15.99

TIFFANY HERMANSEN           N8606 HAYHOLLOW RD                                                        BLANCHARDVILLE      WI           53516                                  SUPPLIERS OR VENDORS       11/28/2018               $23.00
TIFFANY KESLER              49725 160TH AVE                                                           SCARVILLE           IA           50473                                  SUPPLIERS OR VENDORS       11/29/2018               $10.00
TIFFANY RUSCH               1101 N PEMBER RD                                                          JANESVILLE          WI           53546                                  SUPPLIERS OR VENDORS        11/9/2018               $23.00
TIFFANY STEPHENS            2960 W 1300 N                                                             CLEARFIELD          UT           84015                                  SUPPLIERS OR VENDORS       11/30/2018               $26.00
TIFFANY STEWART             307 WISCONSIN AVE.                                                        GEDDES              SD           57342                                  SUPPLIERS OR VENDORS       10/19/2018               $32.00



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                                                                                                                                                                              Reasons for payment or    Dates of     Total Amount or
      Creditor Name              Address1               Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
TIFFANY ZAJAC         907 N. 4TH ST.                                                                WATERTOWN           WI           53098                                  SUPPLIERS OR VENDORS        11/26/2018               $24.00
TIM ANDERSON          STORE 171                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/25/2018               $17.44
TIM BURESH            8614 HARNEY STREET                                                            OMAHA               NE           68114                                  SUPPLIERS OR VENDORS        11/26/2018               $20.00
TIM CONDON            STORE 2-008                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/1/2018              $140.70
TIM JOHNSON           988 N RIDGEVIEW CT                                                            SOBIESKI            WI           54171                                  SUPPLIERS OR VENDORS        11/14/2018               $25.00
TIM SOMMERS           800 AUBIN ST                                                                  PESHTIGO            WI           54157                                  SUPPLIERS OR VENDORS        12/10/2018                $2.34
TIM SOMMERS           800 AUBIN ST                                                                  PESHTIGO            WI           54157                                  SUPPLIERS OR VENDORS        12/10/2018                $3.34
TIMES PLAIN DEALER    VICE PRESIDENT OF SALES     214 N ELM STREET                                  CRESCO              IA           52136-1522                             SUPPLIERS OR VENDORS         11/8/2018              $400.00

TIMOTHY BAKRI         W 6646 EAST LONE ELM ROAD                                                     VAN DYNE            WI           54979                                  SUPPLIERS OR VENDORS       11/26/2018               $25.00
TIMOTHY BINK          603 A FREMONT ST                                                              KIEL                WI           53042                                  SUPPLIERS OR VENDORS        11/2/2018               $79.99
TIMOTHY BLUM          22340 BLUEBIRD AVE                                                            WESTFIELD           IA           51062                                  SUPPLIERS OR VENDORS       10/19/2018               $12.05
TIMOTHY BRENNY        11005 RONNEBY RD NE                                                           FOLEY               MN           56329                                  SUPPLIERS OR VENDORS       12/17/2018                $4.59
                                                                         1400 MORNINGSIDE
TIMOTHY BROWN         STORE 569                   SHOPKO EMPLOYEE        DRIVE                      MILBANK             SD           57252-1532                             SUPPLIERS OR VENDORS        11/2/2018              $141.70
                                                                         1400 MORNINGSIDE
TIMOTHY BROWN         STORE 569                   SHOPKO EMPLOYEE        DRIVE                      MILBANK             SD           57252-1532                             SUPPLIERS OR VENDORS       11/30/2018               $23.98
TIMOTHY BUTTERFIELD   1504 DANAWOOD                                                                 WENATCHEE           WA           98801                                  SUPPLIERS OR VENDORS       11/30/2018               $42.00
TIMOTHY COLLENTINE    3005 W PARKRIDGE AVE                                                          APPLETON            WI           54914                                  SUPPLIERS OR VENDORS       10/22/2018               $25.00
TIMOTHY DEHN          1215 29TH AVE N                                                               SAINT CLOUD         MN           56303                                  SUPPLIERS OR VENDORS       11/28/2018               $23.00
TIMOTHY FRITZ         2049 GLACIER CIRCLE                                                           CROSS PLAINS        WI           53528                                  SUPPLIERS OR VENDORS        11/8/2018               $30.00
TIMOTHY GARCIA        STORE 520                   SHOPKO EMPLOYEE        2585 STATE HWY 14          ALBION              NE           68620-2820                             SUPPLIERS OR VENDORS        11/1/2018               $42.76
TIMOTHY GARCIA        STORE 520                   SHOPKO EMPLOYEE        2585 STATE HWY 14          ALBION              NE           68620-2820                             SUPPLIERS OR VENDORS        11/8/2018               $49.05
TIMOTHY GARCIA        STORE 520                   SHOPKO EMPLOYEE        2585 STATE HWY 14          ALBION              NE           68620-2820                             SUPPLIERS OR VENDORS       11/15/2018              $139.52
TIMOTHY GARCIA        STORE 520                   SHOPKO EMPLOYEE        2585 STATE HWY 14          ALBION              NE           68620-2820                             SUPPLIERS OR VENDORS       11/29/2018              $118.96
TIMOTHY GARCIA        STORE 520                   SHOPKO EMPLOYEE        2585 STATE HWY 14          ALBION              NE           68620-2820                             SUPPLIERS OR VENDORS       12/27/2018              $101.37
TIMOTHY GROBECK       1024 3RC AVE.                                                                 PLATTSMOUTH         NE           68048                                  SUPPLIERS OR VENDORS        12/7/2018               $29.98
TIMOTHY GUNDERSON     230 MAHONEY RD                                                                YAKIMA              WA           98908                                  SUPPLIERS OR VENDORS        11/9/2018               $23.00
TIMOTHY HIXON         901 29TH AVE NE                                                               ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS        12/7/2018               $82.00
TIMOTHY JAHNKE        2152 SCHOOL RD                                                                GREENLEAF           WI           54126                                  SUPPLIERS OR VENDORS       10/31/2018               $65.00
TIMOTHY KESSLER       550 CAMERON ST.                                                               EAU CLAIRE          WI           54703                                  SUPPLIERS OR VENDORS       11/29/2018               $20.00
TIMOTHY LENT          19 11TH ST NW #3                                                              ROCHESTER           MN           55901                                  SUPPLIERS OR VENDORS       10/18/2018                $3.00
TIMOTHY LENT          19 11TH ST NW #3                                                              ROCHESTER           MN           55901                                  SUPPLIERS OR VENDORS       10/18/2018                $3.00
TIMOTHY LUTGEN        STORE 2-079                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/19/2018              $137.97
TIMOTHY MCFARLAND     16310 BRAMBLE LANE                                                            LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS       11/15/2018               $23.00
TIMOTHY MILLER        404 SOUTHING GRANGE                                                           COTTAGE GROVE       WI           53527                                  SUPPLIERS OR VENDORS       10/19/2018               $29.40
TIMOTHY MILLIREN      229 S MASON ST                                                                APPLETON            WI           54914                                  SUPPLIERS OR VENDORS        12/3/2018               $44.00
TIMOTHY PATE          P O BOX 55                                                                    MANLY               IA           50456                                  SUPPLIERS OR VENDORS        11/2/2018               $67.00
TIMOTHY PENA          2407 N 19TH ST                                                                BOISE               ID           83702                                  SUPPLIERS OR VENDORS       10/30/2018               $79.96
TIMOTHY ROSS          13005 260TH AVE                                                               NEWRICHLAND         MN           56072                                  SUPPLIERS OR VENDORS        12/7/2018              $125.00
TIMOTHY SHIVLEY       408 BROOK ST                                                                  BEAVER DAM          WI           53916                                  SUPPLIERS OR VENDORS       10/22/2018               $30.00
TIMOTHY SMALLDRIDGE   411 N ALMON #605                                                              MOSCOW              ID           83843                                  SUPPLIERS OR VENDORS       10/26/2018               $30.00
                      SYSTEM MAINTENANCE/
TIMOTHY THOMPSON      LEBANON DC                  SHOPKO EMPLOYEE        185 N MOUNT ZION ROAD      LEBANON             IN           46052-8329                             SUPPLIERS OR VENDORS       10/19/2018              $148.60
TIMOTHY UTSCH         STORE 732                   SHOPKO EMPLOYEE        3225 10TH STREET E         GLENCOE             MN           55336                                  SUPPLIERS OR VENDORS        11/2/2018              $578.79
TIMOTHY UTSCH         STORE 732                   SHOPKO EMPLOYEE        3225 10TH STREET E         GLENCOE             MN           55336                                  SUPPLIERS OR VENDORS       11/16/2018              $137.35
TIMOTHY UTSCH         STORE 732                   SHOPKO EMPLOYEE        3225 10TH STREET E         GLENCOE             MN           55336                                  SUPPLIERS OR VENDORS       12/14/2018              $206.56
TIMOTHY UTSCH         STORE 732                   SHOPKO EMPLOYEE        3225 10TH STREET E         GLENCOE             MN           55336                                  SUPPLIERS OR VENDORS       12/20/2018               $63.22
TIMOTHY VANDESAND     215 N. MC KENDRIE AVE                                                         MOUNT MORRIS        IL           61054                                  SUPPLIERS OR VENDORS       10/26/2018               $23.00
TIMOTHY VANDESAND     215 N. MC KENDRIE AVE                                                         MOUNT MORRIS        IL           61054                                  SUPPLIERS OR VENDORS       10/26/2018               $23.00
TIMOTHY VANDESAND     215 N. MC KENDRIE AVE                                                         MOUNT MORRIS        IL           61054                                  SUPPLIERS OR VENDORS       10/26/2018               $23.00
TIMOTHY ZETTLER       3368 BOYCE DR                                                                 RHINELANDER         WI           54501                                  SUPPLIERS OR VENDORS       10/22/2018               $62.00
TIMOTHY ZUELSDORF     424 IRVING CT.                                                                HORICON             WI           53032                                  SUPPLIERS OR VENDORS       12/19/2018               $12.50
TINA BOGACZ           2215 S 19TH ST                                                                OMAHA               NE           68108                                  SUPPLIERS OR VENDORS        11/9/2018                $2.00



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                                                                                                                                                                                  Reasons for payment or    Dates of     Total Amount or
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TINA ERICSON           2059 ELVIRA WAY                                                                  GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS        11/28/2018               $28.90
TINA HEIZMAN           1245 TOWER HILL PASS                                                             WHITEWATER          WI           53190                                  SUPPLIERS OR VENDORS         11/2/2018               $63.00
TINA KELLER            N 394 WUNDROW COURT                                                              APPLETON            WI           54915                                  SUPPLIERS OR VENDORS         12/3/2018               $25.00
TINA KNIPFER           317 SPRINGVIEW DR                                                                MARSHALL            WI           53559                                  SUPPLIERS OR VENDORS         11/5/2018               $50.00
TINA M JIMENEZ         958 S 36TH STREET                                                                MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS         11/1/2018               $52.50
TINA MCELROY           STORE 773                      SHOPKO EMPLOYEE         825 NE MAIN               LEWISTOWN           MT           59457                                  SUPPLIERS OR VENDORS        11/30/2018              $342.08
TINA RUDNITZKI         W7473 ISLAND RD                                                                  DELAVAN             WI           53115                                  SUPPLIERS OR VENDORS        11/14/2018               $18.00
TINA SITKO             3409 HWY 153                                                                     MOSINEE             WI           54455                                  SUPPLIERS OR VENDORS         11/2/2018               $20.00
TINA SMALL             STORE 4-032                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/20/2018              $109.25
TINA SMALL             STORE 4-032                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/27/2018              $100.28
TINA SPRANGERS         STORE 2-504                    SHOPKO EMPLOYEE         W3208 VAN ROY ROAD        APPLETON            WI           54915                                  SUPPLIERS OR VENDORS        12/13/2018            $1,204.84
TINA SPRANGERS         STORE 2-504                    SHOPKO EMPLOYEE         W3208 VAN ROY ROAD        APPLETON            WI           54915                                  SUPPLIERS OR VENDORS        12/20/2018            $1,245.08
TINA SPRANGERS         STORE 2-504                    SHOPKO EMPLOYEE         W3208 VAN ROY ROAD        APPLETON            WI           54915                                  SUPPLIERS OR VENDORS          1/3/2019              $170.59
TINA VANCE             STORE 4-122                    SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/13/2018              $115.00
TIPHANI SMITH          STORE 565                      SHOPKO EMPLOYEE         1610 N 2ND STREET         CHEROKEE            IA           51012                                  SUPPLIERS OR VENDORS         11/2/2018            $1,104.74
TISHA DEWEY            STORE 692                      SHOPKO EMPLOYEE         PO BOX 6                  SUPERIOR            NE           68978-0006                             SUPPLIERS OR VENDORS        10/19/2018              $250.70
TISHA DEWEY            STORE 692                      SHOPKO EMPLOYEE         PO BOX 6                  SUPERIOR            NE           68978-0006                             SUPPLIERS OR VENDORS        10/26/2018              $341.17
TISHA DEWEY            STORE 692                      SHOPKO EMPLOYEE         PO BOX 6                  SUPERIOR            NE           68978-0006                             SUPPLIERS OR VENDORS          1/5/2019              $107.91
                       1565 NORTH EAST 1050
TISHA HAMILTON         AVENUE                                                                           ROODHOUSE           IL           62082                                  SUPPLIERS OR VENDORS       12/17/2018               $33.00
TITLETOWN EXPRESS
INCORPORATED           PO BOX 10507                                                                     GREEN BAY           WI           54307-0507                             SUPPLIERS OR VENDORS       10/18/2018            $3,176.40
TITLETOWN EXPRESS
INCORPORATED           PO BOX 10507                                                                     GREEN BAY           WI           54307-0507                             SUPPLIERS OR VENDORS       10/25/2018            $4,272.43
TITLETOWN EXPRESS
INCORPORATED           PO BOX 10507                                                                     GREEN BAY           WI           54307-0507                             SUPPLIERS OR VENDORS        11/1/2018            $3,677.74
TITLETOWN EXPRESS
INCORPORATED           PO BOX 10507                                                                     GREEN BAY           WI           54307-0507                             SUPPLIERS OR VENDORS        11/8/2018            $3,723.60
TITLETOWN EXPRESS
INCORPORATED           PO BOX 10507                                                                     GREEN BAY           WI           54307-0507                             SUPPLIERS OR VENDORS       11/15/2018            $4,510.00
TITLETOWN EXPRESS
INCORPORATED           PO BOX 10507                                                                     GREEN BAY           WI           54307-0507                             SUPPLIERS OR VENDORS       11/29/2018            $7,624.11
TITLETOWN EXPRESS
INCORPORATED           PO BOX 10507                                                                     GREEN BAY           WI           54307-0507                             SUPPLIERS OR VENDORS         1/4/2019           $15,453.82
TMI L L C              5350 Campbells Run Road                                                          Pittsburg           PA           15205                                  SUPPLIERS OR VENDORS        11/1/2018           $37,132.01
TMI L L C              5350 Campbells Run Road                                                          Pittsburg           PA           15205                                  SUPPLIERS OR VENDORS       11/27/2018          $111,893.75
TMI L L C              5350 Campbells Run Road                                                          Pittsburg           PA           15205                                  SUPPLIERS OR VENDORS       12/22/2018           $34,040.26
                       212 OLD GRANDE BLVD SUITE C-
TMM INVESTMENTS LTD    100                                                                              TYLER               TX           75703-4266                             SUPPLIERS OR VENDORS        11/1/2018           $13,016.00
                       212 OLD GRANDE BLVD SUITE C-
TMM INVESTMENTS LTD    100                                                                              TYLER               TX           75703-4266                             SUPPLIERS OR VENDORS        12/1/2018           $13,016.00
TN DEPT OF REVENUE     500 DEADERICK STREET                                                             NASHVILLE           TN           37242                                  SALES/USE TAX              11/21/2018              $716.00
                                                                                                                                                                                PURCHASE OF
TNG GP                 250 - 4011 VIKING WAY                                                            RICHMOND            BC           V6V 2K9      CANADA                    MERCHANDISE                12/28/2018          $369,287.93
                                                                                                                                                                                PURCHASE OF
TNG GP                 250 - 4011 VIKING WAY                                                            RICHMOND            BC           V6V 2K9      CANADA                    MERCHANDISE                12/28/2018          $369,287.93
                                                      29683 WILLIAM K SMITH
TNG WORLDWIDE INC      VICE PRESIDENT OF SALES        DRIVE                                             NEW HUDSON          MI           48105                                  SUPPLIERS OR VENDORS       10/18/2018           $14,930.39
                                                      29683 WILLIAM K SMITH
TNG WORLDWIDE INC      VICE PRESIDENT OF SALES        DRIVE                                             NEW HUDSON          MI           48105                                  SUPPLIERS OR VENDORS       11/15/2018           $14,040.73

TODD CHRISTOPHERSON    5986 OLD MILLER TRUNK HWY                                                        DULUTH              MN           55811                                  SUPPLIERS OR VENDORS       11/29/2018               $62.00
TODD KASTENSON         3446 108TH ST                                                                    FRANKSVILLE         WI           53126                                  SUPPLIERS OR VENDORS        12/3/2018               $20.00
TODD LYONS             N15003 LEE LANE                                                                  AMBERG              WI           54102                                  SUPPLIERS OR VENDORS        11/5/2018               $39.04



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                                                                                                                                                                             Reasons for payment or    Dates of     Total Amount or
      Creditor Name                 Address1           Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
TODD MASSOGLIA           5506 28TH ST                                                              KENOSHA             WI           53144                                  SUPPLIERS OR VENDORS         11/2/2018               $21.98
TODD NELSON              STORE 093               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/16/2018              $328.73
TODD NELSON              STORE 093               SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/29/2018              $346.46
TODD OLMSTEAD            185 ANDREA COURT                                                          DARIEN              WI           53115                                  SUPPLIERS OR VENDORS        10/24/2018               $94.00
TODD PALLEN              325 LOUIE'S LANE                                                          STEVENS POINT       WI           54481                                  SUPPLIERS OR VENDORS         12/7/2018               $39.00
TODD RECHTZIGEL          48 PLESENT VEIW RD                                                        SLAYTON             MN           56172                                  SUPPLIERS OR VENDORS        10/29/2018                $3.00
TODD SCHULTZ             4577 ELMWOOD ROAD                                                         HUBERTUS            WI           53033                                  SUPPLIERS OR VENDORS        11/30/2018               $30.00
TODD SEIBERLICH          606 FEMRITE DR.                                                           MONONA              WI           53716                                  SUPPLIERS OR VENDORS        11/26/2018               $30.00
TODD SMITH               1611 MYRTLE ST                                                            SIOUX CITY          IA           51103                                  SUPPLIERS OR VENDORS        11/12/2018                $5.50
TODD STIMPSON            NEW STORE SUPPORT       SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         11/2/2018            $1,386.93
TODD STIMPSON            NEW STORE SUPPORT       SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/27/2018            $1,254.30
TODD STIMPSON            NEW STORE SUPPORT       SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/30/2018              $711.37
TODD STIMPSON            NEW STORE SUPPORT       SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         12/8/2018            $1,564.35
TODD STIMPSON            NEW STORE SUPPORT       SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/14/2018              $997.89
TODD STIMPSON            NEW STORE SUPPORT       SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/29/2018              $766.88
TODD STIMPSON            NEW STORE SUPPORT       SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS          1/5/2019              $460.25
TODD WEAVER              285 W 9TH                                                                 GARNER              IA           50438                                  SUPPLIERS OR VENDORS        12/17/2018              $150.00
TODDS LAWN CARE          3106 SO 6TH STREET                                                        LINCOLN             NE           68502                                  SUPPLIERS OR VENDORS        11/29/2018            $1,271.75
TODDS LAWN CARE          3106 SO 6TH STREET                                                        LINCOLN             NE           68502                                  SUPPLIERS OR VENDORS        12/17/2018            $1,333.00

TOLLEFSON LAWN SERVICE   TERRY TOLLEFSON         701 9TH STREET SW                                 PIPESTONE           MN           56164                                  SUPPLIERS OR VENDORS        11/8/2018              $340.00

TOLLEFSON LAWN SERVICE   TERRY TOLLEFSON         701 9TH STREET SW                                 PIPESTONE           MN           56164                                  SUPPLIERS OR VENDORS       12/17/2018              $415.31
TOM AITKEN               702 MAYFAIR CT                                                            LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS       12/13/2018                $8.00
TOM GALLUP               721 E 3RD ST                                                              REDFIELD            SD           57469                                  SUPPLIERS OR VENDORS        12/7/2018               $48.64
TOM HANSON               111 2ND ST SW                                                             DODGE CENTER        MN           55927                                  SUPPLIERS OR VENDORS       11/29/2018                $3.00
TOM HENKELMAN            H13951 COUNTY LINE RD                                                     MERRILL             WI           54452                                  SUPPLIERS OR VENDORS        11/8/2018               $62.00

TOM HOFFMAN TRUCKING     TOM HOFFMAN             622 FAIRVIEW AVENUE                               DE PERE             WI           54115                                  SUPPLIERS OR VENDORS       10/18/2018            $4,997.25

TOM HOFFMAN TRUCKING     TOM HOFFMAN             622 FAIRVIEW AVENUE                               DE PERE             WI           54115                                  SUPPLIERS OR VENDORS       10/25/2018           $10,901.82

TOM HOFFMAN TRUCKING     TOM HOFFMAN             622 FAIRVIEW AVENUE                               DE PERE             WI           54115                                  SUPPLIERS OR VENDORS        11/1/2018           $12,915.03

TOM HOFFMAN TRUCKING     TOM HOFFMAN             622 FAIRVIEW AVENUE                               DE PERE             WI           54115                                  SUPPLIERS OR VENDORS        11/8/2018            $8,156.07

TOM HOFFMAN TRUCKING     TOM HOFFMAN             622 FAIRVIEW AVENUE                               DE PERE             WI           54115                                  SUPPLIERS OR VENDORS       11/15/2018           $17,819.40

TOM HOFFMAN TRUCKING     TOM HOFFMAN             622 FAIRVIEW AVENUE                               DE PERE             WI           54115                                  SUPPLIERS OR VENDORS       11/28/2018                $1.00

TOM HOFFMAN TRUCKING     TOM HOFFMAN             622 FAIRVIEW AVENUE                               DE PERE             WI           54115                                  SUPPLIERS OR VENDORS       11/29/2018           $23,061.07

TOM HOFFMAN TRUCKING     TOM HOFFMAN             622 FAIRVIEW AVENUE                               DE PERE             WI           54115                                  SUPPLIERS OR VENDORS        12/8/2018           $23,904.87

TOM HOFFMAN TRUCKING     TOM HOFFMAN             622 FAIRVIEW AVENUE                               DE PERE             WI           54115                                  SUPPLIERS OR VENDORS       12/11/2018              $661.44

TOM HOFFMAN TRUCKING     TOM HOFFMAN             622 FAIRVIEW AVENUE                               DE PERE             WI           54115                                  SUPPLIERS OR VENDORS       12/19/2018            $2,953.64

TOM HOFFMAN TRUCKING     TOM HOFFMAN             622 FAIRVIEW AVENUE                               DE PERE             WI           54115                                  SUPPLIERS OR VENDORS       12/21/2018              $814.79

TOM HOFFMAN TRUCKING     TOM HOFFMAN             622 FAIRVIEW AVENUE                               DE PERE             WI           54115                                  SUPPLIERS OR VENDORS       12/22/2018            $3,430.13

TOM HOFFMAN TRUCKING     TOM HOFFMAN             622 FAIRVIEW AVENUE                               DE PERE             WI           54115                                  SUPPLIERS OR VENDORS       12/28/2018            $2,239.76




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                                                                                                                                                                               Reasons for payment or    Dates of     Total Amount or
      Creditor Name                 Address1              Address2                  Address3                   City            State       Zip              Country                   transfer          Payments            Value

TOM HOFFMAN TRUCKING      TOM HOFFMAN              622 FAIRVIEW AVENUE                                DE PERE             WI           54115                                  SUPPLIERS OR VENDORS         1/5/2019           $6,539.67

TOM HOFFMAN TRUCKING      TOM HOFFMAN              622 FAIRVIEW AVENUE                                DE PERE             WI           54115                                  SUPPLIERS OR VENDORS         1/8/2019            $831.09

TOM HOFFMAN TRUCKING      TOM HOFFMAN              622 FAIRVIEW AVENUE                                DE PERE             WI           54115                                  SUPPLIERS OR VENDORS       1/10/2019             $771.20
TOM JR. WATSON            223 NORTH ARCH                                                              ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       12/7/2018              $48.64
TOM KRAEMER INC           PO BOX 443                                                                  COLD SPRING         MN           56320                                  SUPPLIERS OR VENDORS      10/19/2018              $85.50
TOM KRAEMER INC           PO BOX 443                                                                  COLD SPRING         MN           56320                                  SUPPLIERS OR VENDORS      11/29/2018              $85.50
TOM MITCHELL              STORE 063                SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/1/2018             $109.00
TOM PADILLA               2777 PARK STREET SE                                                         ROCHESTER           MN           55904                                  SUPPLIERS OR VENDORS      10/26/2018              $24.00
TOM POSPYHALLA            2128 MEADOW BROOK WAY                                                       WAUSAU              WI           54403                                  SUPPLIERS OR VENDORS       12/7/2018              $25.00
TOM SCHMIDT               INFORMATION SERVICES     SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/22/2018             $240.80
TOM SCHRANK               401 EAST FRONT STREET                                                       WITTENBERG          WI           54499                                  SUPPLIERS OR VENDORS      12/20/2018             $121.00
TOMBARI GRANT
PARTNERSHIP               TOMBARI-GRANT            SUITE 202               4102 S REGAL               SPOKANE             WA           99223-0000                             SUPPLIERS OR VENDORS       11/1/2018          $16,000.00
TOMBARI GRANT
PARTNERSHIP               TOMBARI-GRANT            SUITE 202               4102 S REGAL               SPOKANE             WA           99223-0000                             SUPPLIERS OR VENDORS       11/7/2018          $11,384.73
TOMBARI GRANT
PARTNERSHIP               TOMBARI-GRANT            SUITE 202               4102 S REGAL               SPOKANE             WA           99223-0000                             SUPPLIERS OR VENDORS       12/3/2018          $16,000.00
TOMBARI GRANT
PARTNERSHIP               TOMBARI-GRANT            SUITE 202               4102 S REGAL               SPOKANE             WA           99223-0000                             SUPPLIERS OR VENDORS       12/5/2018          $10,354.16
TOMMY RICE                24492 280TH ST                                                              HINTON              IA           51024                                  SUPPLIERS OR VENDORS      11/26/2018              $35.21
TOMS OF MAINE INC         PO BOX 417416                                                               BOSTON              MA           02241-7416                             SUPPLIERS OR VENDORS      10/25/2018           $8,834.06
TOMS OF MAINE INC         PO BOX 417416                                                               BOSTON              MA           02241-7416                             SUPPLIERS OR VENDORS       11/8/2018           $2,280.47
TOMS OF MAINE INC         PO BOX 417416                                                               BOSTON              MA           02241-7416                             SUPPLIERS OR VENDORS      11/22/2018           $1,242.80
TOMS OF MAINE INC         PO BOX 417416                                                               BOSTON              MA           02241-7416                             SUPPLIERS OR VENDORS      11/29/2018           $2,861.12
TONI FLICKINGER           W4782 POTTER ROAD                                                           ELKHORN             WI           53121                                  SUPPLIERS OR VENDORS       11/2/2018              $91.00
TONI GREENE               1314 N. FRONT                                                               MARQUETTE           MI           49855                                  SUPPLIERS OR VENDORS      10/25/2018              $42.00
TONI LECY                 216 RAINBOW DRIVE                                                           MARSHALL            MN           56258                                  SUPPLIERS OR VENDORS      11/26/2018              $25.50
TONI MORSE                1801 MORNINGSIDE AVE                                                        DULUTH              MN           55803                                  SUPPLIERS OR VENDORS      10/24/2018             $303.95
TONJA GRINDLE             8428 GRINDLE RD                                                             VERONA              WI           53593                                  SUPPLIERS OR VENDORS      11/26/2018               $1.00
TONJA GRINDLE             8428 GRINDLE RD                                                             VERONA              WI           53593                                  SUPPLIERS OR VENDORS      11/26/2018               $2.00
TONY BRIDGEMAN            STORE 2-788              SHOPKO EMPLOYEE         200 COMMERCE DRIVE         COLUMBUS            WI           53925-0000                             SUPPLIERS OR VENDORS      10/26/2018           $1,032.44
TONY BRIDGEMAN            STORE 2-788              SHOPKO EMPLOYEE         200 COMMERCE DRIVE         COLUMBUS            WI           53925-0000                             SUPPLIERS OR VENDORS       11/2/2018             $538.90
TONY BRIDGEMAN            STORE 2-788              SHOPKO EMPLOYEE         200 COMMERCE DRIVE         COLUMBUS            WI           53925-0000                             SUPPLIERS OR VENDORS       11/9/2018             $542.70
TONY BRIDGEMAN            STORE 2-788              SHOPKO EMPLOYEE         200 COMMERCE DRIVE         COLUMBUS            WI           53925-0000                             SUPPLIERS OR VENDORS      11/16/2018             $643.32
TONY BRIDGEMAN            STORE 2-788              SHOPKO EMPLOYEE         200 COMMERCE DRIVE         COLUMBUS            WI           53925-0000                             SUPPLIERS OR VENDORS      11/27/2018             $725.22
TONY BRIDGEMAN            STORE 2-788              SHOPKO EMPLOYEE         200 COMMERCE DRIVE         COLUMBUS            WI           53925-0000                             SUPPLIERS OR VENDORS      12/11/2018             $347.37
TONY BRIDGEMAN            STORE 2-788              SHOPKO EMPLOYEE         200 COMMERCE DRIVE         COLUMBUS            WI           53925-0000                             SUPPLIERS OR VENDORS      12/19/2018             $574.85
TONY BRIDGEMAN            STORE 2-788              SHOPKO EMPLOYEE         200 COMMERCE DRIVE         COLUMBUS            WI           53925-0000                             SUPPLIERS OR VENDORS      12/20/2018             $740.13
TONY BRIDGEMAN            STORE 2-788              SHOPKO EMPLOYEE         200 COMMERCE DRIVE         COLUMBUS            WI           53925-0000                             SUPPLIERS OR VENDORS       1/15/2019             $338.12
TONY GARCIA               STORE 635                SHOPKO EMPLOYEE         251 S 4TH STREET           SAVANNA             IL           61074                                  SUPPLIERS OR VENDORS        1/5/2019           $1,619.78
TONY L JONES              904 2ND STREET                                                              WEBSTER CITY        IA           50595                                  SUPPLIERS OR VENDORS       11/1/2018             $375.00
TONY LIU                  7525 TREE LANE APT 222                                                      MADISON             WI           53717                                  SUPPLIERS OR VENDORS      11/12/2018              $25.00
TONY ROMENS               1520 JAMESWAY                                                               FORT ATKINSON       WI           53538                                  SUPPLIERS OR VENDORS       11/1/2018              $10.00
TONY VANG                 1768 BOLAND RD                                                              GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS      10/18/2018              $44.00
TONYA LLOYD               2908 HIDDEN LAKE LN                                                         GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS       12/3/2018              $21.25

TOOLE COUNTY TREASURER 226 1ST STREET SOUTH                                                           SHELBY              MT           59474                                  SUPPLIERS OR VENDORS      11/26/2018          $15,678.05

TOOTSIE ROLL INDUSTRIES
INCORPORATED              TRI SALES FINANCE LLC    PO BOX 99435 FILE 9                                CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      10/18/2018            $1,778.82




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TOOTSIE ROLL INDUSTRIES
INCORPORATED              TRI SALES FINANCE LLC    PO BOX 99435 FILE 9                                CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      10/18/2018        $189,136.62

TOOTSIE ROLL INDUSTRIES
INCORPORATED              TRI SALES FINANCE LLC    PO BOX 99435 FILE 9                                CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      10/25/2018         $17,702.50

TOOTSIE ROLL INDUSTRIES
INCORPORATED              TRI SALES FINANCE LLC    PO BOX 99435 FILE 9                                CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      11/22/2018            $113.31

TOOTSIE ROLL INDUSTRIES
INCORPORATED              TRI SALES FINANCE LLC    PO BOX 99435 FILE 9                                CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      11/22/2018           $9,000.69

TOOTSIE ROLL INDUSTRIES
INCORPORATED              TRI SALES FINANCE LLC    PO BOX 99435 FILE 9                                CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      11/29/2018         $14,104.81

TOOTSIE ROLL INDUSTRIES
INCORPORATED              TRI SALES FINANCE LLC    PO BOX 99435 FILE 9                                CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      11/29/2018         $34,633.21
TOP OF THE WORLD          PO BOX 721210            PAM TO ORACLE                                      NORMAN              OK           73070-0000                             SUPPLIERS OR VENDORS       11/8/2018          $9,501.35
TOP PROMOTIONS DBA TOP
APPAREL GROUP             8831 S GREENVIEW DRIVE                                                      MIDDLETON           WI           53562                                  SUPPLIERS OR VENDORS       11/1/2018         $14,066.40
TOPCON MEDICAL SYSTEMS
INCORPORATED              111 BAUER DRIVE                                                             OAKLAND             NJ           07436                                  SUPPLIERS OR VENDORS      10/18/2018            $971.31
TOPCON MEDICAL SYSTEMS
INCORPORATED              111 BAUER DRIVE                                                             OAKLAND             NJ           07436                                  SUPPLIERS OR VENDORS      10/25/2018         $11,230.00
TOPCON MEDICAL SYSTEMS
INCORPORATED              111 BAUER DRIVE                                                             OAKLAND             NJ           07436                                  SUPPLIERS OR VENDORS       11/8/2018           $2,677.12
TOPCON MEDICAL SYSTEMS
INCORPORATED              111 BAUER DRIVE                                                             OAKLAND             NJ           07436                                  SUPPLIERS OR VENDORS      11/15/2018         $15,219.45
TOPCON MEDICAL SYSTEMS
INCORPORATED              111 BAUER DRIVE                                                             OAKLAND             NJ           07436                                  SUPPLIERS OR VENDORS      11/29/2018         $29,065.55
TORI GREGORY              11516 E. 24TH AVE                                                           SPOKANE             WA           99206                                  SUPPLIERS OR VENDORS       12/7/2018             $66.87
TORI GREGORY              11516 E. 24TH AVE                                                           SPOKANE             WA           99206                                  SUPPLIERS OR VENDORS       12/7/2018             $98.11
TORREY TOLTON             24777 S. 1660 W.                                                            SYRACUSE            UT           84075                                  SUPPLIERS OR VENDORS      11/30/2018             $26.00
TORRINGTON BEVERAGE
INCORPORATED              4394 MCKENNA ROAD                                                           TORRINGTON          WY           82242                                  SUPPLIERS OR VENDORS      10/19/2018            $593.12
TORRINGTON BEVERAGE
INCORPORATED              4394 MCKENNA ROAD                                                           TORRINGTON          WY           82242                                  SUPPLIERS OR VENDORS      10/23/2018            $315.96
TORRINGTON BEVERAGE
INCORPORATED              4394 MCKENNA ROAD                                                           TORRINGTON          WY           82242                                  SUPPLIERS OR VENDORS      10/26/2018            $831.08
TORRINGTON BEVERAGE
INCORPORATED              4394 MCKENNA ROAD                                                           TORRINGTON          WY           82242                                  SUPPLIERS OR VENDORS      10/30/2018            $512.00
TORRINGTON BEVERAGE
INCORPORATED              4394 MCKENNA ROAD                                                           TORRINGTON          WY           82242                                  SUPPLIERS OR VENDORS       11/2/2018            $538.12
TORRINGTON BEVERAGE
INCORPORATED              4394 MCKENNA ROAD                                                           TORRINGTON          WY           82242                                  SUPPLIERS OR VENDORS       11/9/2018            $621.06
TORRINGTON BEVERAGE
INCORPORATED              4394 MCKENNA ROAD                                                           TORRINGTON          WY           82242                                  SUPPLIERS OR VENDORS      11/16/2018            $543.22
TORRINGTON BEVERAGE
INCORPORATED              4394 MCKENNA ROAD                                                           TORRINGTON          WY           82242                                  SUPPLIERS OR VENDORS      11/23/2018            $459.94
TORRINGTON BEVERAGE
INCORPORATED              4394 MCKENNA ROAD                                                           TORRINGTON          WY           82242                                  SUPPLIERS OR VENDORS      11/30/2018           $1,161.48
TORRINGTON BEVERAGE
INCORPORATED              4394 MCKENNA ROAD                                                           TORRINGTON          WY           82242                                  SUPPLIERS OR VENDORS       12/4/2018            $244.90



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                                                                                                                                                                                  Reasons for payment or    Dates of    Total Amount or
       Creditor Name                 Address1                Address2                  Address3                  City             State       Zip              Country                   transfer          Payments           Value
TORRINGTON BEVERAGE
INCORPORATED                4394 MCKENNA ROAD                                                            TORRINGTON          WY           82242                                  SUPPLIERS OR VENDORS      12/20/2018           $2,767.82
TORRINGTON BEVERAGE
INCORPORATED                4394 MCKENNA ROAD                                                            TORRINGTON          WY           82242                                  SUPPLIERS OR VENDORS      12/27/2018           $1,129.74
TORY LEE                    2157 ORANGE CT                                                               MOSINEE             WI           54455                                  SUPPLIERS OR VENDORS      12/17/2018              $29.48
TOTAL FILTRATION SERVICES   13002 COLLECTIONS CENTER
INCORPORATED                DRIVE                                                                        CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       11/8/2018            $436.00
TOTAL PROPERTY CARE LLC
INC                         PO BOX 234                                                                   SYRACUSE            IN           46567                                  SUPPLIERS OR VENDORS       11/1/2018            $280.00
TOTAL PROPERTY CARE LLC
INC                         PO BOX 234                                                                   SYRACUSE            IN           46567                                  SUPPLIERS OR VENDORS      11/26/2018            $280.00
TOTES ISOTONER
CORPORATION                 PO BOX 633381                                                                CINCINNATI          OH           45263-3381                             SUPPLIERS OR VENDORS      10/18/2018         $37,344.66
TOTES ISOTONER
CORPORATION                 PO BOX 633381                                                                CINCINNATI          OH           45263-3381                             SUPPLIERS OR VENDORS      10/25/2018            $690.08
TOTES ISOTONER
CORPORATION                 PO BOX 633381                                                                CINCINNATI          OH           45263-3381                             SUPPLIERS OR VENDORS       11/1/2018         $54,009.06
TOTES ISOTONER
CORPORATION                 PO BOX 633381                                                                CINCINNATI          OH           45263-3381                             SUPPLIERS OR VENDORS       11/8/2018           $7,925.21
TOTES ISOTONER
CORPORATION                 PO BOX 633381                                                                CINCINNATI          OH           45263-3381                             SUPPLIERS OR VENDORS      11/15/2018           $5,202.77
TOTES ISOTONER
CORPORATION                 PO BOX 633381                                                                CINCINNATI          OH           45263-3381                             SUPPLIERS OR VENDORS      11/22/2018         $14,481.54
TOTES ISOTONER
CORPORATION                 PO BOX 633381                                                                CINCINNATI          OH           45263-3381                             SUPPLIERS OR VENDORS      11/29/2018           $8,068.24
TOWN & COUNTRY LAWN &
LANDSCAPE                   PO BOX 106                                                                   UNITY               WI           54488                                  SUPPLIERS OR VENDORS      11/13/2018            $210.00
TOWN & COUNTRY LAWN &
LANDSCAPE                   PO BOX 106                                                                   UNITY               WI           54488                                  SUPPLIERS OR VENDORS      11/27/2018             $280.00
TOWN OF BUENA VISTA         PO BOX 2002                                                                  BUENA VISTA         CO           81211                                  SUPPLIERS OR VENDORS       11/8/2018              $30.00
TOWN OF CARROLLTON          206 W WASHINGTON                                                             CARROLLTON          MO           64633                                  SUPPLIERS OR VENDORS      12/19/2018           $3,176.18

TOWN OF MOUNTAIN VIEW PO BOX 249                       405 HIGHWAY 414                                   MOUNTAIN VIEW       WY           82939                                  SUPPLIERS OR VENDORS      12/18/2018             $35.00
                         MERCHANT FINANCIAL
TOWNLEY INCORPORATED CORPORATION                       PO BOX 716             MIDTOWN STATION            NEW YORK            NY           10018-0000                             SUPPLIERS OR VENDORS      11/15/2018          $7,257.88
TOYS R US DELAWARE INC   ONE GEOFFREY WAY                                                                WAYNE               NJ           07470                                  SUPPLIERS OR VENDORS      11/23/2018        $134,358.00
TOYS R US DELAWARE INC   ONE GEOFFREY WAY                                                                WAYNE               NJ           07470                                  SUPPLIERS OR VENDORS      11/27/2018        $150,548.24
TPP 217 TAYLORSVILLE LLC PO BOX 205418                                                                   DALLAS              TX           75320-5418                             SUPPLIERS OR VENDORS       11/1/2018         $29,597.40
TPP 217 TAYLORSVILLE LLC PO BOX 205418                                                                   DALLAS              TX           75320-5418                             SUPPLIERS OR VENDORS      11/24/2018              $1.00
TPP 217 TAYLORSVILLE LLC PO BOX 205418                                                                   DALLAS              TX           75320-5418                             SUPPLIERS OR VENDORS      11/26/2018        $101,009.13
TPP 217 TAYLORSVILLE LLC PO BOX 205418                                                                   DALLAS              TX           75320-5418                             SUPPLIERS OR VENDORS       12/1/2018         $29,597.40
TR JEWELRY CONCEPTS (C-
HUB)                     RIDDLES GROUP                 2707 MT RUSHMORE RD                               RAPID CITY          SD           57701                                  SUPPLIERS OR VENDORS      10/18/2018            $108.00
TR JEWELRY CONCEPTS (C-
HUB)                     RIDDLES GROUP                 2707 MT RUSHMORE RD                               RAPID CITY          SD           57701                                  SUPPLIERS OR VENDORS      10/25/2018             $92.00
TR JEWELRY CONCEPTS (C-
HUB)                     RIDDLES GROUP                 2707 MT RUSHMORE RD                               RAPID CITY          SD           57701                                  SUPPLIERS OR VENDORS       11/1/2018             $28.00
TR JEWELRY CONCEPTS (C-
HUB)                     RIDDLES GROUP                 2707 MT RUSHMORE RD                               RAPID CITY          SD           57701                                  SUPPLIERS OR VENDORS       11/8/2018             $77.00
TR JEWELRY CONCEPTS (C-
HUB)                     RIDDLES GROUP                 2707 MT RUSHMORE RD                               RAPID CITY          SD           57701                                  SUPPLIERS OR VENDORS      11/15/2018            $168.00
TR JEWELRY CONCEPTS (C-
HUB)                     RIDDLES GROUP                 2707 MT RUSHMORE RD                               RAPID CITY          SD           57701                                  SUPPLIERS OR VENDORS      11/22/2018            $272.00
TRACEY HANSEN            N1716 RIGGERT ROAD                                                              FORT ATKINSON       WI           53538                                  SUPPLIERS OR VENDORS       11/8/2018             $55.00



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                                                                                                                                                                                Reasons for payment or    Dates of     Total Amount or
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TRACEY RILEY            52 WHITETAIL LN                                                               CLANCY              MT           59634                                  SUPPLIERS OR VENDORS        10/22/2018               $70.00
TRACFONE WIRELESS
INCORPORATED            PO BOX 3103                                                                   CAROL STREAM        IL           60132-3103                             SUPPLIERS OR VENDORS       10/19/2018          $266,852.05
TRACFONE WIRELESS
INCORPORATED            PO BOX 3103                                                                   CAROL STREAM        IL           60132-3103                             SUPPLIERS OR VENDORS        11/2/2018          $194,737.94
TRACFONE WIRELESS
INCORPORATED            PO BOX 3103                                                                   CAROL STREAM        IL           60132-3103                             SUPPLIERS OR VENDORS        11/9/2018          $115,004.86
TRACFONE WIRELESS
INCORPORATED            PO BOX 3103                                                                   CAROL STREAM        IL           60132-3103                             SUPPLIERS OR VENDORS       11/16/2018          $294,077.95
TRACFONE WIRELESS
INCORPORATED            PO BOX 3103                                                                   CAROL STREAM        IL           60132-3103                             SUPPLIERS OR VENDORS       11/30/2018           $16,760.59
TRACFONE WIRELESS
INCORPORATED            PO BOX 3103                                                                   CAROL STREAM        IL           60132-3103                             SUPPLIERS OR VENDORS       12/13/2018          $216,581.17
TRACI BREIPOHL          708 PEBBLE BEACH ROAD                                                         BILLINGS            MT           59105                                  SUPPLIERS OR VENDORS       11/14/2018               $30.00
TRACI EVELAND           P O BOX 656                                                                   SPRING GREEN        WI           53588                                  SUPPLIERS OR VENDORS       11/12/2018                $3.15
TRACIE FEGLEY           STORE 2-732                 SHOPKO EMPLOYEE        3225 10TH STREET EAST      GLENCOE             MN           55336                                  SUPPLIERS OR VENDORS        11/8/2018               $61.86
TRACIE FEGLEY           STORE 2-732                 SHOPKO EMPLOYEE        3225 10TH STREET EAST      GLENCOE             MN           55336                                  SUPPLIERS OR VENDORS        12/6/2018               $32.20
TRACIE FUSS             STORE 2-760                 SHOPKO EMPLOYEE        1105 BRIDGER DRIVE         GREEN RIVER         WY           82935                                  SUPPLIERS OR VENDORS       12/27/2018               $38.70
TRACY DELOZIER          14414 MCAULEY RD                                                              YAKIMA              WA           98908                                  SUPPLIERS OR VENDORS        11/5/2018                $7.60
                        1270 WHITTMAN PARK LN APT
TRACY GROESCHEL         7                                                                             MENASHA             WI           54952                                  SUPPLIERS OR VENDORS       10/18/2018                $7.18
TRACY HOOD              215 BEAUPRE ST                                                                GREEN BAY           WI           54301                                  SUPPLIERS OR VENDORS       11/14/2018               $69.00
TRACY MORGAN            1120 CARDINAL LN                                                              GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS       12/17/2018               $25.00
TRACY NICKEL            STORE 4-019                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/2/2018               $42.51
TRACY NICKEL            STORE 4-019                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/22/2018               $37.06
TRACY SHIFLETT          STORE 2-070                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/16/2018              $228.26
TRACY SHRECKENGOST      PO BOX 6                                                                      SHEFFEILD           IA           50475                                  SUPPLIERS OR VENDORS       10/24/2018              $229.01
TRACY STINE             STORE 2-640                 SHOPKO EMPLOYEE        700 PROGRESS BLVD          TUSCOLA             IL           61953                                  SUPPLIERS OR VENDORS        11/8/2018               $45.78
TRACY STINE             STORE 2-640                 SHOPKO EMPLOYEE        700 PROGRESS BLVD          TUSCOLA             IL           61953                                  SUPPLIERS OR VENDORS       12/13/2018               $40.88
TRACY VICK              1106 ARNOLD STREET                                                            ROTHSCHILD          WI           54474                                  SUPPLIERS OR VENDORS        12/7/2018              $443.92
TRADEBE TREATMENT AND
RECYCLING LLC           PO BOX 674238                                                                 DALLAS              TX           75267-4238                             SUPPLIERS OR VENDORS       11/29/2018              $688.11
TRAILHEAD BEVERAGE      PO BOX 849                  PAM TO ORACLE                                     WORLAND             WY           82401                                  SUPPLIERS OR VENDORS       11/12/2018              $121.50
TRAILHEAD BEVERAGE      PO BOX 849                  PAM TO ORACLE                                     WORLAND             WY           82401                                  SUPPLIERS OR VENDORS       11/16/2018              $121.00
TRAILHEAD BEVERAGE      PO BOX 849                  PAM TO ORACLE                                     WORLAND             WY           82401                                  SUPPLIERS OR VENDORS       12/20/2018               $48.48
TRAMONTINA USA                                      12955 W AIRPORT
INCORPORATED            VICE PRESIDENT OF SALES     BOULEVARD              PAM TO ORACLE              SUGAR LAND          TX           77478-2550                             SUPPLIERS OR VENDORS       10/19/2018            $4,994.90
TRAMONTINA USA                                      12955 W AIRPORT
INCORPORATED            VICE PRESIDENT OF SALES     BOULEVARD              PAM TO ORACLE              SUGAR LAND          TX           77478-2550                             SUPPLIERS OR VENDORS       10/26/2018            $4,941.90
TRAMONTINA USA                                      12955 W AIRPORT
INCORPORATED            VICE PRESIDENT OF SALES     BOULEVARD              PAM TO ORACLE              SUGAR LAND          TX           77478-2550                             SUPPLIERS OR VENDORS        11/2/2018            $6,099.80
TRAMONTINA USA                                      12955 W AIRPORT
INCORPORATED            VICE PRESIDENT OF SALES     BOULEVARD              PAM TO ORACLE              SUGAR LAND          TX           77478-2550                             SUPPLIERS OR VENDORS        11/9/2018              $493.01
TRAMONTINA USA                                      12955 W AIRPORT
INCORPORATED            VICE PRESIDENT OF SALES     BOULEVARD              PAM TO ORACLE              SUGAR LAND          TX           77478-2550                             SUPPLIERS OR VENDORS       11/16/2018            $9,383.20
TRAMONTINA USA                                      12955 W AIRPORT
INCORPORATED            VICE PRESIDENT OF SALES     BOULEVARD              PAM TO ORACLE              SUGAR LAND          TX           77478-2550                             SUPPLIERS OR VENDORS       11/30/2018           $14,148.00
TRANSAM TRUCKING
INCORPORATED            PO BOX 871190                                                                 KANSAS CITY         MO           64187-1190                             SUPPLIERS OR VENDORS       10/20/2018           $21,455.57
TRANSAM TRUCKING
INCORPORATED            PO BOX 871190                                                                 KANSAS CITY         MO           64187-1190                             SUPPLIERS OR VENDORS       10/24/2018            $1,985.53
TRANSAM TRUCKING
INCORPORATED            PO BOX 871190                                                                 KANSAS CITY         MO           64187-1190                             SUPPLIERS OR VENDORS       10/26/2018           $11,001.74




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      Creditor Name              Address1         Address2                  Address3                 City              State       Zip              Country                   transfer          Payments            Value
TRANSAM TRUCKING
INCORPORATED            PO BOX 871190                                                         KANSAS CITY         MO           64187-1190                             SUPPLIERS OR VENDORS      10/30/2018          $14,417.51
TRANSAM TRUCKING
INCORPORATED            PO BOX 871190                                                         KANSAS CITY         MO           64187-1190                             SUPPLIERS OR VENDORS      10/31/2018            $6,466.02
TRANSAM TRUCKING
INCORPORATED            PO BOX 871190                                                         KANSAS CITY         MO           64187-1190                             SUPPLIERS OR VENDORS       11/1/2018            $2,271.27
TRANSAM TRUCKING
INCORPORATED            PO BOX 871190                                                         KANSAS CITY         MO           64187-1190                             SUPPLIERS OR VENDORS       11/3/2018          $11,810.19
TRANSAM TRUCKING
INCORPORATED            PO BOX 871190                                                         KANSAS CITY         MO           64187-1190                             SUPPLIERS OR VENDORS      11/10/2018          $19,211.31
TRANSAM TRUCKING
INCORPORATED            PO BOX 871190                                                         KANSAS CITY         MO           64187-1190                             SUPPLIERS OR VENDORS      11/16/2018          $17,582.77
TRANSAM TRUCKING
INCORPORATED            PO BOX 871190                                                         KANSAS CITY         MO           64187-1190                             SUPPLIERS OR VENDORS      11/27/2018          $17,434.36
TRANSAM TRUCKING
INCORPORATED            PO BOX 871190                                                         KANSAS CITY         MO           64187-1190                             SUPPLIERS OR VENDORS      11/29/2018          $11,606.38
TRANSAM TRUCKING
INCORPORATED            PO BOX 871190                                                         KANSAS CITY         MO           64187-1190                             SUPPLIERS OR VENDORS      11/30/2018            $2,304.58
TRANSAM TRUCKING
INCORPORATED            PO BOX 871190                                                         KANSAS CITY         MO           64187-1190                             SUPPLIERS OR VENDORS       12/4/2018            $4,200.55
TRANSAM TRUCKING
INCORPORATED            PO BOX 871190                                                         KANSAS CITY         MO           64187-1190                             SUPPLIERS OR VENDORS       12/8/2018            $6,306.59
TRANSAM TRUCKING
INCORPORATED            PO BOX 871190                                                         KANSAS CITY         MO           64187-1190                             SUPPLIERS OR VENDORS      12/11/2018            $2,121.25
TRANSAM TRUCKING
INCORPORATED            PO BOX 871190                                                         KANSAS CITY         MO           64187-1190                             SUPPLIERS OR VENDORS      12/12/2018          $13,208.03
TRANSAM TRUCKING
INCORPORATED            PO BOX 871190                                                         KANSAS CITY         MO           64187-1190                             SUPPLIERS OR VENDORS      12/14/2018            $1,261.75
TRANSAM TRUCKING
INCORPORATED            PO BOX 871190                                                         KANSAS CITY         MO           64187-1190                             SUPPLIERS OR VENDORS      12/19/2018            $5,173.71
TRANSAM TRUCKING
INCORPORATED            PO BOX 871190                                                         KANSAS CITY         MO           64187-1190                             SUPPLIERS OR VENDORS      12/22/2018            $1,411.74
TRANSAM TRUCKING
INCORPORATED            PO BOX 871190                                                         KANSAS CITY         MO           64187-1190                             SUPPLIERS OR VENDORS         1/5/2019         $20,418.77
TRANSAM TRUCKING
INCORPORATED            PO BOX 871190                                                         KANSAS CITY         MO           64187-1190                             SUPPLIERS OR VENDORS       1/12/2019            $4,228.05
TRANSOURCE              HARLAND CLARKE      PO BOX 931898                                     ATLANTA             GA           31193                                  SUPPLIERS OR VENDORS       11/1/2018              $772.56
TRANSOURCE              HARLAND CLARKE      PO BOX 931898                                     ATLANTA             GA           31193                                  SUPPLIERS OR VENDORS      11/29/2018            $1,541.26
TRANSPERFECT            INTERNATIONAL
TRANSLATIONS            INCORPORATED        39TH FLOOR             3 PARK AVENUE              NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS       11/1/2018              $98.01
TRANSPERFECT            INTERNATIONAL
TRANSLATIONS            INCORPORATED        39TH FLOOR             3 PARK AVENUE              NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS      12/17/2018              $55.44
TRANSPERFECT            INTERNATIONAL
TRANSLATIONS            INCORPORATED        39TH FLOOR             3 PARK AVENUE              NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS      12/21/2018              $35.54

TRANSPORT SOLUTIONS LLC PO BOX 12517                                                          OMAHA               NE           68112-0517                             SUPPLIERS OR VENDORS      10/18/2018          $25,617.36

TRANSPORT SOLUTIONS LLC PO BOX 12517                                                          OMAHA               NE           68112-0517                             SUPPLIERS OR VENDORS      10/24/2018                $1.00

TRANSPORT SOLUTIONS LLC PO BOX 12517                                                          OMAHA               NE           68112-0517                             SUPPLIERS OR VENDORS      10/26/2018          $52,701.14

TRANSPORT SOLUTIONS LLC PO BOX 12517                                                          OMAHA               NE           68112-0517                             SUPPLIERS OR VENDORS       11/2/2018          $25,075.26

TRANSPORT SOLUTIONS LLC PO BOX 12517                                                          OMAHA               NE           68112-0517                             SUPPLIERS OR VENDORS       11/9/2018          $37,747.15



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                                                                                                                                                                               Reasons for payment or    Dates of     Total Amount or
      Creditor Name                 Address1              Address2                  Address3                 City              State       Zip              Country                   transfer          Payments            Value

TRANSPORT SOLUTIONS LLC PO BOX 12517                                                                  OMAHA               NE           68112-0517                             SUPPLIERS OR VENDORS      11/16/2018          $32,132.27

TRANSPORT SOLUTIONS LLC PO BOX 12517                                                                  OMAHA               NE           68112-0517                             SUPPLIERS OR VENDORS      11/30/2018          $51,927.97

TRANSPORT SOLUTIONS LLC PO BOX 12517                                                                  OMAHA               NE           68112-0517                             SUPPLIERS OR VENDORS       12/8/2018          $66,034.24

TRANSPORT SOLUTIONS LLC PO BOX 12517                                                                  OMAHA               NE           68112-0517                             SUPPLIERS OR VENDORS      12/11/2018            $5,708.47

TRANSPORT SOLUTIONS LLC PO BOX 12517                                                                  OMAHA               NE           68112-0517                             SUPPLIERS OR VENDORS      12/12/2018            $7,051.04

TRANSPORT SOLUTIONS LLC PO BOX 12517                                                                  OMAHA               NE           68112-0517                             SUPPLIERS OR VENDORS      12/14/2018            $6,127.30

TRANSPORT SOLUTIONS LLC PO BOX 12517                                                                  OMAHA               NE           68112-0517                             SUPPLIERS OR VENDORS      12/19/2018          $39,899.14

TRANSPORT SOLUTIONS LLC PO BOX 12517                                                                  OMAHA               NE           68112-0517                             SUPPLIERS OR VENDORS      12/20/2018            $8,143.20

TRANSPORT SOLUTIONS LLC PO BOX 12517                                                                  OMAHA               NE           68112-0517                             SUPPLIERS OR VENDORS      12/21/2018            $6,673.26

TRANSPORT SOLUTIONS LLC PO BOX 12517                                                                  OMAHA               NE           68112-0517                             SUPPLIERS OR VENDORS      12/22/2018          $10,209.35

TRANSPORT SOLUTIONS LLC PO BOX 12517                                                                  OMAHA               NE           68112-0517                             SUPPLIERS OR VENDORS      12/28/2018          $10,218.53

TRANSPORT SOLUTIONS LLC PO BOX 12517                                                                  OMAHA               NE           68112-0517                             SUPPLIERS OR VENDORS         1/5/2019         $34,420.17

TRANSPORT SOLUTIONS LLC PO BOX 12517                                                                  OMAHA               NE           68112-0517                             SUPPLIERS OR VENDORS         1/8/2019           $3,688.23

TRANSPORT SOLUTIONS LLC   PO BOX 12517                                                                OMAHA               NE           68112-0517                             SUPPLIERS OR VENDORS       1/12/2019          $16,255.01
TRAU & LOEVNER
INCORPORATED              VICE PRESIDENT OF SALES   5817 CENTRE AVENUE                                PITTSBURGH          PA           15206-3760                             SUPPLIERS OR VENDORS       11/8/2018            $2,307.13
TRAU & LOEVNER
INCORPORATED              VICE PRESIDENT OF SALES   5817 CENTRE AVENUE                                PITTSBURGH          PA           15206-3760                             SUPPLIERS OR VENDORS      11/15/2018          $18,053.70
TRAU & LOEVNER
INCORPORATED              VICE PRESIDENT OF SALES   5817 CENTRE AVENUE                                PITTSBURGH          PA           15206-3760                             SUPPLIERS OR VENDORS      11/29/2018          $26,973.00
TRAVELERS CHOICE
TRAVELWARE                2805 S RESERVOIR STREET                                                     POMONA              CA           91766-0000                             SUPPLIERS OR VENDORS      10/18/2018             $499.00
TRAVELERS CHOICE
TRAVELWARE                2805 S RESERVOIR STREET                                                     POMONA              CA           91766-0000                             SUPPLIERS OR VENDORS      10/25/2018              $20.00
TRAVELERS CHOICE
TRAVELWARE                2805 S RESERVOIR STREET                                                     POMONA              CA           91766-0000                             SUPPLIERS OR VENDORS       11/1/2018              $77.50
TRAVELERS CHOICE
TRAVELWARE                2805 S RESERVOIR STREET                                                     POMONA              CA           91766-0000                             SUPPLIERS OR VENDORS       11/8/2018             $130.12
TRAVELERS CHOICE
TRAVELWARE                2805 S RESERVOIR STREET                                                     POMONA              CA           91766-0000                             SUPPLIERS OR VENDORS      11/15/2018             $215.00
TRAVELERS CHOICE
TRAVELWARE                2805 S RESERVOIR STREET                                                     POMONA              CA           91766-0000                             SUPPLIERS OR VENDORS      11/22/2018              $50.00
TRAVELERS CHOICE
TRAVELWARE                2805 S RESERVOIR STREET                                                     POMONA              CA           91766-0000                             SUPPLIERS OR VENDORS      11/29/2018              $60.00

TRAVELON                  LOCKBOX 774407            4407 SOLUTION CENTER                              CHICAGO             IL           60677-4004                             SUPPLIERS OR VENDORS      10/30/2018          $28,209.50

TRAVELON                  LOCKBOX 774407            4407 SOLUTION CENTER                              CHICAGO             IL           60677-4004                             SUPPLIERS OR VENDORS       11/2/2018          $18,125.95

TRAVELON                  LOCKBOX 774407            4407 SOLUTION CENTER                              CHICAGO             IL           60677-4004                             SUPPLIERS OR VENDORS       11/6/2018          $12,335.33



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                                                                                                                                                                               Reasons for payment or    Dates of    Total Amount or
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TRAVELON                   LOCKBOX 774407          4407 SOLUTION CENTER                               CHICAGO             IL           60677-4004                             SUPPLIERS OR VENDORS       11/9/2018           $2,063.60
TRAVERSE CITY AREA
CHAMBER OF COMMERCE        202 E GRANDVIEW PKWY                                                       TRAVERSE CITY       MI           49684                                  SUPPLIERS OR VENDORS       12/3/2018            $375.00
TRAVIS ANDERSON            N2532 GOOSE POND ROAD                                                      POYNETTE            WI           53955                                  SUPPLIERS OR VENDORS      11/12/2018             $25.00
TRAVIS HAINES              9806 BITTNER RD                                                            YAKIMA              WA           98901                                  SUPPLIERS OR VENDORS      11/15/2018             $19.00
TRAVIS HARDRATH            B4169 HWY 13                                                               SPENCER             WI           54479                                  SUPPLIERS OR VENDORS      10/22/2018             $25.00
TRAVIS PRIES               1004 4TH STREET NW                                                         BYRON               MN           55920                                  SUPPLIERS OR VENDORS       11/1/2018             $15.30
TRAVIS QUINN               STORE 007               SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/19/2018            $182.58
TRAVIS QUINN               STORE 007               SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/16/2018            $293.34
TRAVIS QUINN               STORE 007               SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/27/2018            $242.73
TRAVIS ROOS                727 OTTER CREEK TRAIL                                                      ALTOONA             WI           54720                                  SUPPLIERS OR VENDORS      11/29/2018             $23.00
TRAVIS SCHAEFER            307 DEPOT ST                                                               KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS      10/25/2018              $2.90
TRAVIS SCHUMACHER          413 7TH AVE SE                                                             ROCHESTER           MN           55904                                  SUPPLIERS OR VENDORS      11/28/2018             $99.47
TRAVIS WHITE               4211 BRUCE AVE                                                             BILLINGS            MT           59101                                  SUPPLIERS OR VENDORS      10/26/2018            $137.00
TRC GLOBAL MOBILITY
INCORPORATED               PO BOX 1650                                                                MILWAUKEE           WI           53201-1650                             SUPPLIERS OR VENDORS      10/23/2018        $108,696.68
TRC GLOBAL MOBILITY
INCORPORATED               PO BOX 1650                                                                MILWAUKEE           WI           53201-1650                             SUPPLIERS OR VENDORS       11/6/2018         $96,768.85
TRC GLOBAL MOBILITY
INCORPORATED               PO BOX 1650                                                                MILWAUKEE           WI           53201-1650                             SUPPLIERS OR VENDORS      11/27/2018        $135,249.37
TREASURER OF FOUNTAIN
COUNTY                  301 FOURTH STREET                                                             COVINGTON           IN           47932                                  SUPPLIERS OR VENDORS       11/6/2018         $15,354.51
                        UNCLAIMED PROP DIVISION-
TREASURER STATE OF IOWA KATHRYN FEHRING            MAC N8200-071           800 WALNUT STREET          DES MOINES          IA           50309                                  SUPPLIERS OR VENDORS      10/25/2018           $2,788.76
                                                   OFFICE OF THE STATE
TREASURER STATE OF MAINE   UNCLAIMED PROPERTY      TREASURER               39 STATE HOUSE STATION AUGUSTA                 ME           04333-0039                             SUPPLIERS OR VENDORS      10/25/2018            $325.39
TREBBIANNO LLC             19 WEST 34TH STREET                                                    NEW YORK                NY           10001-0000                             SUPPLIERS OR VENDORS      10/22/2018          $1,950.00
TREBBIANNO LLC             19 WEST 34TH STREET                                                    NEW YORK                NY           10001-0000                             SUPPLIERS OR VENDORS       11/2/2018          $5,496.00
TREBBIANNO LLC             19 WEST 34TH STREET                                                    NEW YORK                NY           10001-0000                             SUPPLIERS OR VENDORS      11/22/2018         $39,157.55
TREBBIANNO LLC             19 WEST 34TH STREET                                                    NEW YORK                NY           10001-0000                             SUPPLIERS OR VENDORS      11/29/2018            $472.50
TRENARY HOME BAKERY        PO BOX 300                                                             TRENARY                 MI           49891                                  SUPPLIERS OR VENDORS      10/18/2018            $597.50
TRENARY HOME BAKERY        PO BOX 300                                                             TRENARY                 MI           49891                                  SUPPLIERS OR VENDORS      10/25/2018            $558.20
TRENARY HOME BAKERY        PO BOX 300                                                             TRENARY                 MI           49891                                  SUPPLIERS OR VENDORS       11/1/2018          $1,083.70
TRENARY HOME BAKERY        PO BOX 300                                                             TRENARY                 MI           49891                                  SUPPLIERS OR VENDORS       11/8/2018            $372.25
TRENARY HOME BAKERY        PO BOX 300                                                             TRENARY                 MI           49891                                  SUPPLIERS OR VENDORS      11/15/2018            $399.70
TRENARY HOME BAKERY        PO BOX 300                                                             TRENARY                 MI           49891                                  SUPPLIERS OR VENDORS      11/22/2018            $505.25
TRENARY HOME BAKERY        PO BOX 300                                                             TRENARY                 MI           49891                                  SUPPLIERS OR VENDORS      11/29/2018            $733.35
TRENARY HOME BAKERY        PO BOX 300                                                             TRENARY                 MI           49891                                  SUPPLIERS OR VENDORS      12/20/2018          $1,377.55
TRENARY HOME BAKERY        PO BOX 300                                                             TRENARY                 MI           49891                                  SUPPLIERS OR VENDORS      12/21/2018            $210.00
TRENARY HOME BAKERY        PO BOX 300                                                             TRENARY                 MI           49891                                  SUPPLIERS OR VENDORS      12/27/2018            $105.00
TREND LAB LLC              FASHION ENTERPRISES     8925 HIGHWAY 101 W                             SAVAGE                  MN           55378                                  SUPPLIERS OR VENDORS      10/18/2018            $381.99
TREND LAB LLC              FASHION ENTERPRISES     8925 HIGHWAY 101 W                             SAVAGE                  MN           55378                                  SUPPLIERS OR VENDORS      10/25/2018            $472.50
TREND LAB LLC              FASHION ENTERPRISES     8925 HIGHWAY 101 W                             SAVAGE                  MN           55378                                  SUPPLIERS OR VENDORS       11/1/2018             $92.00
TREND LAB LLC              FASHION ENTERPRISES     8925 HIGHWAY 101 W                             SAVAGE                  MN           55378                                  SUPPLIERS OR VENDORS      11/15/2018          $4,924.64
TREND LAB LLC              FASHION ENTERPRISES     8925 HIGHWAY 101 W                             SAVAGE                  MN           55378                                  SUPPLIERS OR VENDORS      11/22/2018          $1,589.00
TREND LAB LLC              FASHION ENTERPRISES     8925 HIGHWAY 101 W                             SAVAGE                  MN           55378                                  SUPPLIERS OR VENDORS      11/29/2018         $19,628.90
TRENT ANDERSON             S 3023 HOWARD STREET                                                   SPOKANE                 WA           99203                                  SUPPLIERS OR VENDORS      10/19/2018          $2,958.32
TRENT ANDERSON             S 3023 HOWARD STREET                                                   SPOKANE                 WA           99203                                  SUPPLIERS OR VENDORS       11/2/2018          $2,465.50
TRENT ANDERSON             S 3023 HOWARD STREET                                                   SPOKANE                 WA           99203                                  SUPPLIERS OR VENDORS      11/16/2018          $2,548.00
TRENT ANDERSON             S 3023 HOWARD STREET                                                   SPOKANE                 WA           99203                                  SUPPLIERS OR VENDORS      11/30/2018          $2,666.82
TRENT ANDERSON             S 3023 HOWARD STREET                                                   SPOKANE                 WA           99203                                  SUPPLIERS OR VENDORS      12/14/2018          $2,476.69
TRENT ANDERSON             S 3023 HOWARD STREET                                                   SPOKANE                 WA           99203                                  SUPPLIERS OR VENDORS      12/29/2018          $3,466.00
TRENT ANDERSON             S 3023 HOWARD STREET                                                   SPOKANE                 WA           99203                                  SUPPLIERS OR VENDORS       1/11/2019            $690.00



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TRENTEN DISCH              W5886 DURST RD                                                               NEW GLARUS          WI           53574                                  SUPPLIERS OR VENDORS         12/5/2018               $25.00
TRENTON COCA COLA
BOTTLING COMPANY           VICE PRESIDENT OF SALES    821 INDUSTRIAL DRIVE                              TRENTON             MO           64683                                  SUPPLIERS OR VENDORS       10/18/2018              $243.28
TRENTON COCA COLA
BOTTLING COMPANY           VICE PRESIDENT OF SALES    821 INDUSTRIAL DRIVE                              TRENTON             MO           64683                                  SUPPLIERS OR VENDORS       10/22/2018              $616.60
TRENTON COCA COLA
BOTTLING COMPANY           VICE PRESIDENT OF SALES    821 INDUSTRIAL DRIVE                              TRENTON             MO           64683                                  SUPPLIERS OR VENDORS       10/23/2018                $1.92
TRENTON COCA COLA
BOTTLING COMPANY           VICE PRESIDENT OF SALES    821 INDUSTRIAL DRIVE                              TRENTON             MO           64683                                  SUPPLIERS OR VENDORS       10/25/2018              $172.73
TRENTON COCA COLA
BOTTLING COMPANY           VICE PRESIDENT OF SALES    821 INDUSTRIAL DRIVE                              TRENTON             MO           64683                                  SUPPLIERS OR VENDORS       10/29/2018               $82.92
TRENTON COCA COLA
BOTTLING COMPANY           VICE PRESIDENT OF SALES    821 INDUSTRIAL DRIVE                              TRENTON             MO           64683                                  SUPPLIERS OR VENDORS        11/1/2018                $1.60
TRENTON COCA COLA
BOTTLING COMPANY           VICE PRESIDENT OF SALES    821 INDUSTRIAL DRIVE                              TRENTON             MO           64683                                  SUPPLIERS OR VENDORS        11/5/2018              $319.44
TRENTON COCA COLA
BOTTLING COMPANY           VICE PRESIDENT OF SALES    821 INDUSTRIAL DRIVE                              TRENTON             MO           64683                                  SUPPLIERS OR VENDORS        11/9/2018                $2.56
TRENTON COCA COLA
BOTTLING COMPANY           VICE PRESIDENT OF SALES    821 INDUSTRIAL DRIVE                              TRENTON             MO           64683                                  SUPPLIERS OR VENDORS       11/12/2018              $314.49
TRENTON COCA COLA
BOTTLING COMPANY           VICE PRESIDENT OF SALES    821 INDUSTRIAL DRIVE                              TRENTON             MO           64683                                  SUPPLIERS OR VENDORS       11/22/2018              $424.22
TRENTON COCA COLA
BOTTLING COMPANY           VICE PRESIDENT OF SALES    821 INDUSTRIAL DRIVE                              TRENTON             MO           64683                                  SUPPLIERS OR VENDORS       11/26/2018              $308.28
TRENTON COCA COLA
BOTTLING COMPANY           VICE PRESIDENT OF SALES    821 INDUSTRIAL DRIVE                              TRENTON             MO           64683                                  SUPPLIERS OR VENDORS       11/27/2018                $3.89
TRENTON COCA COLA
BOTTLING COMPANY           VICE PRESIDENT OF SALES    821 INDUSTRIAL DRIVE                              TRENTON             MO           64683                                  SUPPLIERS OR VENDORS        12/3/2018              $374.66
TRENTON COCA COLA
BOTTLING COMPANY           VICE PRESIDENT OF SALES    821 INDUSTRIAL DRIVE                              TRENTON             MO           64683                                  SUPPLIERS OR VENDORS       12/11/2018              $227.58
TRENTON COCA COLA
BOTTLING COMPANY           VICE PRESIDENT OF SALES    821 INDUSTRIAL DRIVE                              TRENTON             MO           64683                                  SUPPLIERS OR VENDORS       12/14/2018               $87.65
TRENTON COCA COLA
BOTTLING COMPANY           VICE PRESIDENT OF SALES    821 INDUSTRIAL DRIVE                              TRENTON             MO           64683                                  SUPPLIERS OR VENDORS       12/19/2018              $359.35
TRENTON COCA COLA
BOTTLING COMPANY           VICE PRESIDENT OF SALES    821 INDUSTRIAL DRIVE                              TRENTON             MO           64683                                  SUPPLIERS OR VENDORS       12/27/2018              $505.89

TREVOR DIXON               N6915 KIME BACKLUND ROAD                                                     HARDWOOD            MI           49807                                  SUPPLIERS OR VENDORS       11/12/2018               $16.00
TREVOR GAULE               108 WALNUT CR                                                                COLD SPRING         MN           56320                                  SUPPLIERS OR VENDORS        12/7/2018               $21.38
TRI COASTAL DESIGN GROUP                                                                                GRAND CENTRAL
INC                        PO BOX 2348                                                                  STATION             NY           10164-0442                             SUPPLIERS OR VENDORS       10/25/2018            $4,037.96
TRI COASTAL DESIGN GROUP                                                                                GRAND CENTRAL
INC                        PO BOX 2348                                                                  STATION             NY           10164-0442                             SUPPLIERS OR VENDORS       10/30/2018            $4,918.20
TRI COASTAL DESIGN GROUP                                                                                GRAND CENTRAL
INC                        PO BOX 2348                                                                  STATION             NY           10164-0442                             SUPPLIERS OR VENDORS        11/1/2018            $3,090.00
TRI COASTAL DESIGN GROUP                                                                                GRAND CENTRAL
INC                        PO BOX 2348                                                                  STATION             NY           10164-0442                             SUPPLIERS OR VENDORS        11/6/2018           $12,580.70
TRI COASTAL DESIGN GROUP                                                                                GRAND CENTRAL
INC                        PO BOX 2348                                                                  STATION             NY           10164-0442                             SUPPLIERS OR VENDORS        11/8/2018          $105,844.10
TRI COASTAL DESIGN GROUP                                                                                GRAND CENTRAL
INC                        PO BOX 2348                                                                  STATION             NY           10164-0442                             SUPPLIERS OR VENDORS       11/27/2018               $45.59
TRI COASTAL DESIGN GROUP                                                                                GRAND CENTRAL
INC                        PO BOX 2348                                                                  STATION             NY           10164-0442                             SUPPLIERS OR VENDORS       11/29/2018              $612.00
TRI COASTAL DESIGN GROUP                                                                                GRAND CENTRAL
INC                        PO BOX 2348                                                                  STATION             NY           10164-0442                             SUPPLIERS OR VENDORS        12/4/2018           $21,243.05



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TRI COASTAL DESIGN GROUP                                                                                   GRAND CENTRAL
INC                        PO BOX 2348                                                                     STATION             NY           10164-0442                             SUPPLIERS OR VENDORS       12/6/2018            $356.95
TRI HA                     7214 S 81ST ST                                                                  LA VISTA            NE           68128                                  SUPPLIERS OR VENDORS      12/14/2018             $45.00
TRIANGLE DISTRIBUTING
COMPANY INC                PO BOX 28375                                                                    GREEN BAY           WI           54324                                  SUPPLIERS OR VENDORS      10/23/2018               $4.42
TRIANGLE DISTRIBUTING
COMPANY INC                PO BOX 28375                                                                    GREEN BAY           WI           54324                                  SUPPLIERS OR VENDORS      10/26/2018            $925.65
TRIANGLE DISTRIBUTING
COMPANY INC                PO BOX 28375                                                                    GREEN BAY           WI           54324                                  SUPPLIERS OR VENDORS       11/2/2018           $1,406.55
TRIANGLE DISTRIBUTING
COMPANY INC                PO BOX 28375                                                                    GREEN BAY           WI           54324                                  SUPPLIERS OR VENDORS      11/16/2018            $110.40
TRIANGLE DISTRIBUTING
COMPANY INC                PO BOX 28375                                                                    GREEN BAY           WI           54324                                  SUPPLIERS OR VENDORS      11/23/2018            $569.70
TRIANGLE DISTRIBUTING
COMPANY INC                PO BOX 28375                                                                    GREEN BAY           WI           54324                                  SUPPLIERS OR VENDORS      11/27/2018            $568.80
TRIANGLE DISTRIBUTING
COMPANY INC                PO BOX 28375                                                                    GREEN BAY           WI           54324                                  SUPPLIERS OR VENDORS      11/30/2018           $1,007.41
TRIANGLE DISTRIBUTING
COMPANY INC                PO BOX 28375                                                                    GREEN BAY           WI           54324                                  SUPPLIERS OR VENDORS       12/4/2018             $99.75
TRIANGLE DISTRIBUTING
COMPANY INC                PO BOX 28375                                                                    GREEN BAY           WI           54324                                  SUPPLIERS OR VENDORS      12/20/2018           $4,240.05
TRIANGLE DISTRIBUTING
COMPANY INC                PO BOX 28375                                                                    GREEN BAY           WI           54324                                  SUPPLIERS OR VENDORS      12/27/2018           $1,150.05
TRICIA WAVRA               1261 SEILER LANE                                                                LACROSSE            WI           54601                                  SUPPLIERS OR VENDORS      11/12/2018              $20.25
                                                                                                                                                                                   PURCHASE OF
TRIDENT LIMITED            E-212, KITCHLU NAGAR                                                            LUDHIANA                         141001       INDIA                     MERCHANDISE               11/26/2018         $43,866.78
TRIGG LABORATORIES INC     4220 WEST WINDMILL LANE STE
DBA WET INTL               140                                                                             LAS VEGAS           NV           89139                                  SUPPLIERS OR VENDORS      11/22/2018             $95.32
TRIGS GROCERY              6205 BUS HWY 51 SOUTH                                                           WESTON              WI           54476                                  SUPPLIERS OR VENDORS      11/26/2018            $226.55
TRIGS GROCERY              6205 BUS HWY 51 SOUTH                                                           WESTON              WI           54476                                  SUPPLIERS OR VENDORS      12/17/2018             $61.03
TRILLIANT FOOD &
NUTRITION                  1101 MOASIS DRIVE             PO BOX 307                                        LITTLE CHUTE        WI           54140-0307                             SUPPLIERS OR VENDORS      10/18/2018         $17,026.53
TRILLIANT FOOD &
NUTRITION                  1101 MOASIS DRIVE             PO BOX 307                                        LITTLE CHUTE        WI           54140-0307                             SUPPLIERS OR VENDORS      10/25/2018         $25,619.34
TRILLIANT FOOD &
NUTRITION                  1101 MOASIS DRIVE             PO BOX 307                                        LITTLE CHUTE        WI           54140-0307                             SUPPLIERS OR VENDORS       11/1/2018         $21,096.67
TRILLIANT FOOD &
NUTRITION                  1101 MOASIS DRIVE             PO BOX 307                                        LITTLE CHUTE        WI           54140-0307                             SUPPLIERS OR VENDORS       11/8/2018         $74,008.76
TRILLIANT FOOD &
NUTRITION                  1101 MOASIS DRIVE             PO BOX 307                                        LITTLE CHUTE        WI           54140-0307                             SUPPLIERS OR VENDORS      11/15/2018        $387,655.62
TRILLIANT FOOD &
NUTRITION                  1101 MOASIS DRIVE             PO BOX 307                                        LITTLE CHUTE        WI           54140-0307                             SUPPLIERS OR VENDORS      11/22/2018        $187,581.74
TRILLIANT FOOD &
NUTRITION                  1101 MOASIS DRIVE             PO BOX 307                                        LITTLE CHUTE        WI           54140-0307                             SUPPLIERS OR VENDORS      11/29/2018        $121,363.71
TRINA KING                 251 45TH AVE                                                                    SALEM               OR           97301                                  SUPPLIERS OR VENDORS      10/25/2018             $42.00
TRINITY PACKAGING
CORPORATION                84 BUSINESS PARK DRIVE                                                          ARMONK              NY           10504                                  SUPPLIERS OR VENDORS      10/25/2018         $57,429.29
TRINITY PACKAGING
CORPORATION                84 BUSINESS PARK DRIVE                                                          ARMONK              NY           10504                                  SUPPLIERS OR VENDORS       11/8/2018         $99,796.69
TRINITY PACKAGING
CORPORATION                84 BUSINESS PARK DRIVE                                                          ARMONK              NY           10504                                  SUPPLIERS OR VENDORS      11/22/2018        $105,050.94

TRIPLE FIVE                555 CHABANEL WEST SUITE 805                                                     MONTREAL            QC           H2N 2H8      CANADA                    SUPPLIERS OR VENDORS       11/7/2018         $14,382.61




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TRIPLE FIVE                555 CHABANEL WEST SUITE 805                                                      MONTREAL            QC           H2N 2H8      CANADA                    SUPPLIERS OR VENDORS       11/9/2018           $5,626.50

TRIPLE FIVE                555 CHABANEL WEST SUITE 805                                                      MONTREAL            QC           H2N 2H8      CANADA                    SUPPLIERS OR VENDORS      11/12/2018           $3,949.12

TRIPLE FIVE                555 CHABANEL WEST SUITE 805                                                      MONTREAL            QC           H2N 2H8      CANADA                    SUPPLIERS OR VENDORS      11/14/2018           $9,439.50

TRIPLE FIVE                555 CHABANEL WEST SUITE 805                                                      MONTREAL            QC           H2N 2H8      CANADA                    SUPPLIERS OR VENDORS      11/16/2018           $3,270.60

TRIPPEL SEASONS COMPLETE   EXTERIOR MAINTENANCE          3845 MT HWY 40                                     COLUMBIA FALLS      MT           59912                                  SUPPLIERS OR VENDORS      10/19/2018             $75.00
TRISHA BARRY               308 ROBERT ST                                                                    FORT ATKINSON       WI           53538                                  SUPPLIERS OR VENDORS      10/24/2018              $5.00
TRISHA MESSERSCHMIDT       HOME                          SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/25/2018            $678.89
TRISHA WOLFF               1840 WINDING TRAIL ROAD                                                          NEW RICHMOND        WI           54017                                  SUPPLIERS OR VENDORS      10/29/2018             $18.75
TRISTAN SABIN              STORE 2-027                   SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/29/2018            $227.54
TRISTAN SABIN              STORE 2-027                   SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/13/2018            $330.48
TRISTAR PRODUCTS
INCORPORATED               2620 WESTVIEW DRIVE                                                              WYOMISSING          PA           19610                                  SUPPLIERS OR VENDORS      10/18/2018           $6,048.00
TRISTAR PRODUCTS
INCORPORATED               2620 WESTVIEW DRIVE                                                              WYOMISSING          PA           19610                                  SUPPLIERS OR VENDORS      10/25/2018           $6,504.00
TRISTAR PRODUCTS
INCORPORATED               2620 WESTVIEW DRIVE                                                              WYOMISSING          PA           19610                                  SUPPLIERS OR VENDORS       11/1/2018           $5,184.00
TRISTAR PRODUCTS
INCORPORATED               2620 WESTVIEW DRIVE                                                              WYOMISSING          PA           19610                                  SUPPLIERS OR VENDORS       11/8/2018           $2,882.88
TRISTAR PRODUCTS
INCORPORATED               2620 WESTVIEW DRIVE                                                              WYOMISSING          PA           19610                                  SUPPLIERS OR VENDORS      11/15/2018           $4,256.00
TRISTAR PRODUCTS
INCORPORATED               2620 WESTVIEW DRIVE                                                              WYOMISSING          PA           19610                                  SUPPLIERS OR VENDORS      11/22/2018           $2,268.00
TRISTAR PRODUCTS
INCORPORATED               2620 WESTVIEW DRIVE                                                              WYOMISSING          PA           19610                                  SUPPLIERS OR VENDORS      11/29/2018           $3,624.00
TRISTAR PRODUCTS
INCORPORATED               2620 WESTVIEW DRIVE                                                              WYOMISSING          PA           19610                                  SUPPLIERS OR VENDORS       12/5/2018           $8,281.36
TRISTEN BARRY              1019 SW HOLLY LN.                                                                CULVER              OR           97734                                  SUPPLIERS OR VENDORS       11/5/2018              $31.40
TRISTEN BARRY              1019 SW HOLLY LN.                                                                CULVER              OR           97734                                  SUPPLIERS OR VENDORS       11/5/2018             $106.76
TRITON HODKIEWICZ          5138 MACHICKANEE LANE                                                            LENA                WI           54139                                  SUPPLIERS OR VENDORS       12/7/2018              $34.00
                                                         6125 SILVER CREEK
TRIUMPH GEAR SYSTEMS INC   ACCOUNTS PAYABLE              DRIVE                                              PARK CITY           UT           84098                                  SUPPLIERS OR VENDORS       11/2/2018              $71.97
TRIVIDIA HEALTH            PO BOX 934188                                                                    ATLANTA             GA           31193-4188                             SUPPLIERS OR VENDORS       11/1/2018           $1,438.82
TRIVIDIA HEALTH            PO BOX 934188                                                                    ATLANTA             GA           31193-4188                             SUPPLIERS OR VENDORS       11/8/2018             $499.44
TRIVIDIA HEALTH            PO BOX 934188                                                                    ATLANTA             GA           31193-4188                             SUPPLIERS OR VENDORS      11/22/2018             $901.44
TRIVIDIA HEALTH            PO BOX 934188                                                                    ATLANTA             GA           31193-4188                             SUPPLIERS OR VENDORS      12/12/2018             $626.08
TRIVIDIA HEALTH            PO BOX 934188                                                                    ATLANTA             GA           31193-4188                             SUPPLIERS OR VENDORS      12/18/2018             $846.84
TROY BRUGGER               PO BOX 193                                                                       LEWISTON            MN           55952                                  SUPPLIERS OR VENDORS      10/29/2018              $29.12
TROY BRUGGER               PO BOX 193                                                                       LEWISTON            MN           55952                                  SUPPLIERS OR VENDORS      12/17/2018              $10.20
TROY DAHLEEN               P.O. BOX 33                                                                      NEW AUBURN          WI           54757                                  SUPPLIERS OR VENDORS      10/19/2018              $25.00
                                                                                                            MILTON-
TROY HAHN                  121 S. RUSSEL                                                                    FREEWATER           OR           97862                                  SUPPLIERS OR VENDORS      12/20/2018              $40.00
TROY HANSEN                1600 JAMESWAY                                                                    FT ATKINSON         WI           53538                                  SUPPLIERS OR VENDORS      11/26/2018              $58.00
TROY PILIVI                STORE 104                     SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/25/2018              $71.83
TROY PILIVI                STORE 104                     SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/15/2018              $71.83
TROY STERR                 3605 MILWAUKEE ST                                                                MADISON             WI           53714                                  SUPPLIERS OR VENDORS      12/21/2018              $30.00
TROY WALZ                  507 N 2ND AVE                                                                    WOONSOCKET          SD           57385                                  SUPPLIERS OR VENDORS       12/7/2018              $16.00
TRUCO ENTERPRISES INC      2225 S 400 W                                                                     SALT LAKE CITY      UT           84115                                  SUPPLIERS OR VENDORS      10/19/2018             $130.26
TRUCO ENTERPRISES INC      2225 S 400 W                                                                     SALT LAKE CITY      UT           84115                                  SUPPLIERS OR VENDORS      10/29/2018             $159.65
TRUCO ENTERPRISES INC      2225 S 400 W                                                                     SALT LAKE CITY      UT           84115                                  SUPPLIERS OR VENDORS      10/31/2018           $7,942.92



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TRUCO ENTERPRISES INC    2225 S 400 W                                                                   SALT LAKE CITY      UT           84115                                  SUPPLIERS OR VENDORS         11/5/2018              $524.12
TRUCO ENTERPRISES INC    2225 S 400 W                                                                   SALT LAKE CITY      UT           84115                                  SUPPLIERS OR VENDORS        11/13/2018            $1,051.47
TRUCO ENTERPRISES INC    2225 S 400 W                                                                   SALT LAKE CITY      UT           84115                                  SUPPLIERS OR VENDORS        11/14/2018              $104.70
TRUDELL TRAILERS OF
GREEN BAY INC            BOX 88899                                                                      MILWAUKEE           WI           53288-0899                             SUPPLIERS OR VENDORS        11/8/2018              $142.43
TRUDELL TRAILERS OF
GREEN BAY INC            BOX 88899                                                                      MILWAUKEE           WI           53288-0899                             SUPPLIERS OR VENDORS       12/17/2018              $142.43
TRUDY AVERETT            8519 N 48TH CIR                                                                OMAHA               NE           68152                                  SUPPLIERS OR VENDORS        11/8/2018               $16.00
TRUDY NEWCOMER           5450 LINDEN ST                                                                 LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS       10/26/2018                $7.86
TRUE MANUFACTURING CO
INC                      DEPARTMENT 547214            PO BOX 790100                                     ST LOUIS            MO           63179-0100                             SUPPLIERS OR VENDORS       11/13/2018                $1.00
TRUELLA STONE            3908 E. 26TH                                                                   SPOKANE             WA           99223                                  SUPPLIERS OR VENDORS       11/29/2018               $54.40
TRUGRAPHX LLC            565 WINDSOR DR                                                                 SECAUCUS            NJ           07094-2716                             SUPPLIERS OR VENDORS       10/25/2018            $8,489.80
TRUSTEDSITE LLC          16 MAIDEN LANE 4TH FLOOR                                                       SAN FRANCISCO       CA           94108                                  SUPPLIERS OR VENDORS        11/2/2018           $20,000.00

TRYSTEN BURT-BLACKETER   1735 SW PANORMA DR                                                             PULLMAN             WA           99163                                  SUPPLIERS OR VENDORS       11/26/2018               $23.00

T'S STORAGE CONTAINERS
INCORPORATED             PO BOX 3781                                                                    OMAHA               NE           68103                                  SUPPLIERS OR VENDORS        11/1/2018              $465.45

T'S STORAGE CONTAINERS
INCORPORATED             PO BOX 3781                                                                    OMAHA               NE           68103                                  SUPPLIERS OR VENDORS        11/8/2018              $288.90
                         Free Zone(Sharjah Airport                                                                                                                              PURCHASE OF
TSS MIDDLE EAST FZC      Int.Free Zone)-SAIF                                                            Sharjah                                       United Arab Emirates      MERCHANDISE                 11/7/2018           $39,468.24
                         Free Zone(Sharjah Airport                                                                                                                              PURCHASE OF
TSS MIDDLE EAST FZC      Int.Free Zone)-SAIF                                                            Sharjah                                       United Arab Emirates      MERCHANDISE                11/27/2018            $8,678.88
TST IMPRESO
INCORPORATED             PO BOX 202777                                                                  DALLAS              TX           75320-2777                             SUPPLIERS OR VENDORS       10/24/2018              $710.32
TST IMPRESO
INCORPORATED             PO BOX 202777                                                                  DALLAS              TX           75320-2777                             SUPPLIERS OR VENDORS        11/5/2018            $1,433.64
TST IMPRESO
INCORPORATED             PO BOX 202777                                                                  DALLAS              TX           75320-2777                             SUPPLIERS OR VENDORS       11/29/2018              $645.09
TST IMPRESO
INCORPORATED             PO BOX 202777                                                                  DALLAS              TX           75320-2777                             SUPPLIERS OR VENDORS        12/5/2018            $1,472.03

TULLY ERWIN              STORE 633                    SHOPKO EMPLOYEE        1333 4TH AVENUE SOUTH PARK FALLS               WI           54552                                  SUPPLIERS OR VENDORS        11/2/2018              $265.04
TWENTIETH CENTURY FOX    TWENTIETH CENTURY FOX FILM
HOME ENTERTAINMENT       CORPORATION                  BANK OF AMERICA        PO BOX 402665              ATLANTA             GA           30384-2665                             SUPPLIERS OR VENDORS       10/19/2018          $370,512.91
TWENTIETH CENTURY FOX    TWENTIETH CENTURY FOX FILM
HOME ENTERTAINMENT       CORPORATION                  BANK OF AMERICA        PO BOX 402665              ATLANTA             GA           30384-2665                             SUPPLIERS OR VENDORS       10/26/2018          $100,827.23
TWENTIETH CENTURY FOX    TWENTIETH CENTURY FOX FILM
HOME ENTERTAINMENT       CORPORATION                  BANK OF AMERICA        PO BOX 402665              ATLANTA             GA           30384-2665                             SUPPLIERS OR VENDORS        11/2/2018           $36,082.60
TWENTIETH CENTURY FOX    TWENTIETH CENTURY FOX FILM
HOME ENTERTAINMENT       CORPORATION                  BANK OF AMERICA        PO BOX 402665              ATLANTA             GA           30384-2665                             SUPPLIERS OR VENDORS        11/9/2018           $21,996.68
TWENTIETH CENTURY FOX    TWENTIETH CENTURY FOX FILM
HOME ENTERTAINMENT       CORPORATION                  BANK OF AMERICA        PO BOX 402665              ATLANTA             GA           30384-2665                             SUPPLIERS OR VENDORS       11/16/2018           $23,956.50
TWENTIETH CENTURY FOX    TWENTIETH CENTURY FOX FILM
HOME ENTERTAINMENT       CORPORATION                  BANK OF AMERICA        PO BOX 402665              ATLANTA             GA           30384-2665                             SUPPLIERS OR VENDORS       11/30/2018           $28,182.84
TWIN FALLS COUNTY
TREASURER                BOX 88                                                                         TWIN FALLS          ID           83303                                  SUPPLIERS OR VENDORS       12/13/2018           $61,382.82

TWININGS NORTH AMERICA PO BOX 414599                                                                    BOSTON              MA           02241-4599                             SUPPLIERS OR VENDORS       10/18/2018            $3,414.19

TWININGS NORTH AMERICA PO BOX 414599                                                                    BOSTON              MA           02241-4599                             SUPPLIERS OR VENDORS       10/25/2018              $562.02



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                                                                                                                                                                                     Reasons for payment or    Dates of    Total Amount or
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TWININGS NORTH AMERICA PO BOX 414599                                                                        BOSTON              MA           02241-4599                             SUPPLIERS OR VENDORS       11/1/2018           $1,725.37

TWININGS NORTH AMERICA PO BOX 414599                                                                        BOSTON              MA           02241-4599                             SUPPLIERS OR VENDORS       11/8/2018         $30,937.49
TWINS ENTERPRISES
INCORPORATED            PO BOX 419648                                                                       BOSTON              MA           02241-0000                             SUPPLIERS OR VENDORS      10/18/2018         $41,447.57
TWINS ENTERPRISES
INCORPORATED            PO BOX 419648                                                                       BOSTON              MA           02241-0000                             SUPPLIERS OR VENDORS      11/29/2018           $2,319.36
                        3292 THOMPSON BRIDGE ROAD
TWO CROW OF BIG SKY LLC SUITE 316                                                                           GAINESVILLE         GA           30506                                  SUPPLIERS OR VENDORS      11/10/2018         $12,825.31
                        3292 THOMPSON BRIDGE ROAD
TWO CROW OF BIG SKY LLC SUITE 316                                                                           GAINESVILLE         GA           30506                                  SUPPLIERS OR VENDORS       12/8/2018         $12,825.31

TWO HARBORS FIRST LLC      GUY LAVERLY                   48554 VISTA PALOMINO                               LA QUINTA           CA           92553                                  SUPPLIERS OR VENDORS       11/1/2018         $15,937.50

TWO HARBORS FIRST LLC      GUY LAVERLY                   48554 VISTA PALOMINO                               LA QUINTA           CA           92553                                  SUPPLIERS OR VENDORS       12/1/2018         $15,937.50

TWO POINT CONVERSIONS
INCORPORATED               2211 N ELSTON AVE SUITE 400                                                      CHICAGO             IL           60614                                  SUPPLIERS OR VENDORS       11/1/2018           $2,163.00

TWO POINT CONVERSIONS
INCORPORATED               2211 N ELSTON AVE SUITE 400                                                      CHICAGO             IL           60614                                  SUPPLIERS OR VENDORS      11/29/2018         $17,815.00

TWO POINT CONVERSIONS
INCORPORATED               2211 N ELSTON AVE SUITE 400                                                      CHICAGO             IL           60614                                  SUPPLIERS OR VENDORS      12/17/2018           $4,950.00

TWO RIVERS COFFEE LLC      PO BOX 527                                                                       SOUTH PLAINFIELD NJ              07080                                  SUPPLIERS OR VENDORS      10/18/2018           $1,572.48

TWO RIVERS COFFEE LLC      PO BOX 527                                                                       SOUTH PLAINFIELD NJ              07080                                  SUPPLIERS OR VENDORS      10/25/2018            $483.84

TWO RIVERS COFFEE LLC      PO BOX 527                                                                       SOUTH PLAINFIELD NJ              07080                                  SUPPLIERS OR VENDORS       11/1/2018           $1,226.88

TWO RIVERS COFFEE LLC      PO BOX 527                                                                       SOUTH PLAINFIELD NJ              07080                                  SUPPLIERS OR VENDORS      11/29/2018             $91.14
TYCO                       GREG WINKER                   1 STANTON ST                                       MARINETTE        WI              54143                                  SUPPLIERS OR VENDORS      10/25/2018             $30.88
TYCO INTEGRATED SECURITY
LLC                        KEYSTONE MANAGEMENT           LOCKBOX 223670                                     PITTSBURGH          PA           15251-2670                             SUPPLIERS OR VENDORS      10/19/2018           $2,186.91
TYCO INTEGRATED SECURITY
LLC                        KEYSTONE MANAGEMENT           LOCKBOX 223670                                     PITTSBURGH          PA           15251-2670                             SUPPLIERS OR VENDORS      10/26/2018           $3,395.41
TYCO INTEGRATED SECURITY
LLC                        KEYSTONE MANAGEMENT           LOCKBOX 223670                                     PITTSBURGH          PA           15251-2670                             SUPPLIERS OR VENDORS       11/2/2018            $630.70
TYCO INTEGRATED SECURITY
LLC                        KEYSTONE MANAGEMENT           LOCKBOX 223670                                     PITTSBURGH          PA           15251-2670                             SUPPLIERS OR VENDORS       11/9/2018           $2,396.93
TYCO INTEGRATED SECURITY
LLC                        KEYSTONE MANAGEMENT           LOCKBOX 223670                                     PITTSBURGH          PA           15251-2670                             SUPPLIERS OR VENDORS      11/16/2018         $16,115.43

TYCO INTEGRATED SECURITY   KEYSTONE(US) MANAGEMENT
LLC                        INCORPORATED                  LOCKBOX 371994                                     PITTSBURGH          PA           15250-9756                             SUPPLIERS OR VENDORS      11/29/2018            $806.44
TYCO INTEGRATED SECURITY
LLC                        KEYSTONE MANAGEMENT           LOCKBOX 223670                                     PITTSBURGH          PA           15251-2670                             SUPPLIERS OR VENDORS      11/30/2018           $7,806.00
TYE BRAKKE                 2926 VERMILLION DRIVE                                                            BILLINGS            MT           59102                                  SUPPLIERS OR VENDORS      11/14/2018              $35.00
TYLER BLOTTER              1116 ORTMAN RD                                                                   MARQUETTE           MI           49855                                  SUPPLIERS OR VENDORS      11/26/2018              $39.00
TYLER BORCHARDT            335 EVERGREEN CT              APT 3                                              STODDARD            WI           54658                                  SUPPLIERS OR VENDORS      11/29/2018              $25.00
TYLER BORCHARDT            335 EVERGREEN CT              APT 3                                              STODDARD            WI           54658                                  SUPPLIERS OR VENDORS      11/29/2018              $29.98
TYLER CLARK                10522 24TH AVE                                                                   EAU CLAIRE          WI           54703                                  SUPPLIERS OR VENDORS       11/1/2018               $3.99



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TYLER HAMSEN              N8431 CTY H                                                                   WHITEWATER          WI           53190                                  SUPPLIERS OR VENDORS         11/1/2018               $30.00
                          EMPLOYEE RELATIONS/ STORE
TYLER LINGENHAG           004                         SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/22/2018              $128.68
TYLER PAMPRIN             N6639 S CRYSTAL LAKE RD.                                                      BEAVER DAM          WI           53916                                  SUPPLIERS OR VENDORS       12/13/2018               $25.00
TYLER WOHLK               118 PINE ST                                                                   CHETEK              WI           54728                                  SUPPLIERS OR VENDORS       11/29/2018               $25.00
TYSON BLACKBURN           4846 FREEDOM AVE                                                              CHUBBUCK            ID           83202                                  SUPPLIERS OR VENDORS       11/12/2018               $19.95
U S BANK                  CM 9690                     PO BOX 70870                                      ST PAUL             MN           55170-9690                             SUPPLIERS OR VENDORS       10/23/2018            $3,025.00

U S COTTON INCORPORATED U S COTTON LLC                PO BOX 638447                                     CINCINNATI          OH           45263-8447                             SUPPLIERS OR VENDORS       10/23/2018            $1,739.16

U S COTTON INCORPORATED U S COTTON LLC                PO BOX 638447                                     CINCINNATI          OH           45263-8447                             SUPPLIERS OR VENDORS       10/30/2018            $4,099.07

U S COTTON INCORPORATED U S COTTON LLC                PO BOX 638447                                     CINCINNATI          OH           45263-8447                             SUPPLIERS OR VENDORS        11/1/2018            $4,186.88

U S COTTON INCORPORATED U S COTTON LLC                PO BOX 638447                                     CINCINNATI          OH           45263-8447                             SUPPLIERS OR VENDORS        11/6/2018            $3,426.24

U S COTTON INCORPORATED U S COTTON LLC                PO BOX 638447                                     CINCINNATI          OH           45263-8447                             SUPPLIERS OR VENDORS        11/8/2018            $1,684.65

U S COTTON INCORPORATED U S COTTON LLC                PO BOX 638447                                     CINCINNATI          OH           45263-8447                             SUPPLIERS OR VENDORS       11/15/2018              $470.90

U S COTTON INCORPORATED U S COTTON LLC                PO BOX 638447                                     CINCINNATI          OH           45263-8447                             SUPPLIERS OR VENDORS       11/27/2018              $696.11

U S COTTON INCORPORATED U S COTTON LLC                PO BOX 638447                                     CINCINNATI          OH           45263-8447                             SUPPLIERS OR VENDORS       11/29/2018            $6,295.60

U S COTTON INCORPORATED U S COTTON LLC                PO BOX 638447                                     CINCINNATI          OH           45263-8447                             SUPPLIERS OR VENDORS        12/4/2018            $7,031.88

U S COTTON INCORPORATED   U S COTTON LLC              PO BOX 638447                                     CINCINNATI          OH           45263-8447                             SUPPLIERS OR VENDORS        12/6/2018              $794.05
U S LAMP INCORPORATED     SUITE 1                     3600 VELP AVENUE                                  GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS       10/26/2018               $84.22
U S LAMP INCORPORATED     SUITE 1                     3600 VELP AVENUE                                  GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS       11/13/2018            $2,893.06
U S LAMP INCORPORATED     SUITE 1                     3600 VELP AVENUE                                  GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS        12/4/2018              $186.67
U S NUTRITION             PO BOX 9010                                                                   RONKONKOMA          NY           11779-9010                             SUPPLIERS OR VENDORS       10/18/2018           $39,423.31
U S NUTRITION             PO BOX 9010                                                                   RONKONKOMA          NY           11779-9010                             SUPPLIERS OR VENDORS       10/22/2018           $17,864.97
U S NUTRITION             PO BOX 9010                                                                   RONKONKOMA          NY           11779-9010                             SUPPLIERS OR VENDORS       10/31/2018            $8,675.80
U S NUTRITION             PO BOX 9010                                                                   RONKONKOMA          NY           11779-9010                             SUPPLIERS OR VENDORS        11/2/2018           $64,318.32
U S NUTRITION             PO BOX 9010                                                                   RONKONKOMA          NY           11779-9010                             SUPPLIERS OR VENDORS        11/5/2018          $155,733.60
U S NUTRITION             PO BOX 9010                                                                   RONKONKOMA          NY           11779-9010                             SUPPLIERS OR VENDORS        11/7/2018           $63,787.65
U S NUTRITION             PO BOX 9010                                                                   RONKONKOMA          NY           11779-9010                             SUPPLIERS OR VENDORS        11/8/2018           $15,684.54
U S NUTRITION             PO BOX 9010                                                                   RONKONKOMA          NY           11779-9010                             SUPPLIERS OR VENDORS        11/9/2018           $93,700.59
U S NUTRITION             PO BOX 9010                                                                   RONKONKOMA          NY           11779-9010                             SUPPLIERS OR VENDORS       11/12/2018           $25,529.22
U S OIL COMPANY           SHOPKO STORES
INCORPORATED              INCORPORATED                PO BOX 19060                                      GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/27/2018           $34,045.83
U S OIL COMPANY           SHOPKO STORES
INCORPORATED              INCORPORATED                PO BOX 19060                                      GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/13/2018           $33,145.74
U S OIL COMPANY           SHOPKO STORES
INCORPORATED              INCORPORATED                PO BOX 19060                                      GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/28/2018           $30,237.01
U S OIL COMPANY           SHOPKO STORES
INCORPORATED              INCORPORATED                PO BOX 19060                                      GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/20/2018           $24,754.27

U S PETROLEUM EQUIPMENT U S VENTURE INCORPORATED      558 CARTER COURT                                  KIMBERLY            WI           54136                                  SUPPLIERS OR VENDORS       11/23/2018              $222.37
U S POSTMASTER ALBERT
LEA                     141 S NEWTON AVENUE                                                             ALBERT LEA          MN           56007                                  SUPPLIERS OR VENDORS       11/13/2018              $550.00

U S POSTMASTER ALLEGAN    300 TROWBRIDGE                                                                ALLEGAN             MI           49010-9998                             SUPPLIERS OR VENDORS       10/23/2018              $100.00
U S POSTMASTER ATTICA     107 E MAIN STREET                                                             ATTICA              IN           47918                                  SUPPLIERS OR VENDORS        11/7/2018              $100.00



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U S POSTMASTER AUBURN      1320 COURTHOUSE AVENUE                                                  AUBURN              NE           68305-9998                             SUPPLIERS OR VENDORS      10/31/2018             $238.00

U S POSTMASTER AUBURN      1320 COURTHOUSE AVENUE                                                  AUBURN              NE           68305-9998                             SUPPLIERS OR VENDORS      12/14/2018              $50.00
U S POSTMASTER
BLOOMFIELD                 202 W JEFFERSON STREET                                                  BLOOMFIELD          IA           52537                                  SUPPLIERS OR VENDORS       11/5/2018              $70.00
U S POSTMASTER BROKEN
BOW                        741 SOUTH D                                                             BROKEN BOW          NE           68822                                  SUPPLIERS OR VENDORS       11/2/2018              $90.00
U S POSTMASTER
CARROLLTON                 101 N FOLGER STREET                                                     CARROLLTON          MO           64633                                  SUPPLIERS OR VENDORS       12/7/2018              $50.00

U S POSTMASTER CAVALIER    200 DIVISION AVENUE S                                                   CAVALIER            ND           58220                                  SUPPLIERS OR VENDORS      10/19/2018              $72.00

U S POSTMASTER CHARITON GRAND & LINDEN STREET                                                      CHARITON            IA           50049                                  SUPPLIERS OR VENDORS       11/6/2018              $98.00

U S POSTMASTER CLARION     115 1ST ST NE STE 1                                                     CLARION             IA           50525                                  SUPPLIERS OR VENDORS      11/12/2018             $100.00

U S POSTMASTER GALLATIN 111 S MAIN STREET                                                          GALLATIN            MO           64640-9998                             SUPPLIERS OR VENDORS      10/26/2018              $70.00

U S POSTMASTER GALLATIN 111 S MAIN STREET                                                          GALLATIN            MO           64640-9998                             SUPPLIERS OR VENDORS      12/13/2018              $70.00
U S POSTMASTER
GLENWOOD                590 FRANKLIN ST N                                                          GLENWOOD            MN           56334                                  SUPPLIERS OR VENDORS       12/7/2018             $144.00
U S POSTMASTER
GOTHENBURG              1021 LAKE AVENUE                                                           GOTHENBURG          NE           69138                                  SUPPLIERS OR VENDORS       11/8/2018             $250.00

U S POSTMASTER GREEN BAY 300 PACKERLAND DRIVE                                                      GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS      10/24/2018             $500.00

U S POSTMASTER GREEN BAY 300 PACKERLAND DRIVE                                                      GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS      10/30/2018          $20,000.00

U S POSTMASTER GREEN BAY 300 PACKERLAND DRIVE                                                      GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS      12/20/2018          $20,000.00

U S POSTMASTER GREEN BAY 300 PACKERLAND DRIVE                                                      GREEN BAY           WI           54303                                  SUPPLIERS OR VENDORS         1/3/2019           $1,320.00
U S POSTMASTER
GREENFIELD               110 SE JACKSON STREET                                                     GREENFIELD          IA           50849                                  SUPPLIERS OR VENDORS      11/26/2018             $240.00

U S POSTMASTER HAMPTON 22 FEDERAL SOUTH                                                            HAMPTON             IA           50441-9998                             SUPPLIERS OR VENDORS      10/24/2018             $116.00

U S POSTMASTER HOLDREGE 420 EAST AVENUE                                                            HOLDREGE            NE           68949                                  SUPPLIERS OR VENDORS      11/12/2018             $127.00

U S POSTMASTER HOLDREGE 420 EAST AVENUE                                                            HOLDREGE            NE           68949                                  SUPPLIERS OR VENDORS      12/17/2018             $129.00
U S POSTMASTER L ANSE   120 N MAIN STREET                                                          L ANSE              MI           49946                                  SUPPLIERS OR VENDORS      12/11/2018             $200.00

U S POSTMASTER LA CROSSE   425 STATE                                                               LA CROSSE           WI           54601                                  SUPPLIERS OR VENDORS      11/26/2018             $400.00
U S POSTMASTER
LEWISTOWN                  204 3RD AVENUE NORTH                                                    LEWISTOWN           MT           59457                                  SUPPLIERS OR VENDORS      10/23/2018             $245.50
U S POSTMASTER
LEWISTOWN                  204 3RD AVENUE NORTH                                                    LEWISTOWN           MT           59457                                  SUPPLIERS OR VENDORS       12/7/2018              $50.00
U S POSTMASTER
LEWISTOWN                  204 3RD AVENUE NORTH                                                    LEWISTOWN           MT           59457                                  SUPPLIERS OR VENDORS      12/11/2018             $246.50
U S POSTMASTER
LEWISTOWN                  204 3RD AVENUE NORTH                                                    LEWISTOWN           MT           59457                                  SUPPLIERS OR VENDORS      12/21/2018             $250.00
U S POSTMASTER
LIVINGSTON                 105 N 2ND STREET                                                        LIVINGSTON          MT           59047                                  SUPPLIERS OR VENDORS      10/30/2018             $100.00




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                                                                                                                                                                              Reasons for payment or    Dates of    Total Amount or
       Creditor Name                 Address1            Address2                  Address3                   City            State       Zip              Country                   transfer          Payments           Value
U S POSTMASTER
LIVINGSTON                 105 N 2ND STREET                                                          LIVINGSTON          MT           59047                                  SUPPLIERS OR VENDORS      12/14/2018            $350.00

U S POSTMASTER MADISON 119 E CENTER STREET                                                           MADISON             SD           57042-9998                             SUPPLIERS OR VENDORS      12/21/2018            $120.00

U S POSTMASTER MARCOLA STAMPS BY MAIL              PO BOX 9998                                       MARCOLA             OR           97454-0000                             SUPPLIERS OR VENDORS      10/23/2018            $400.00

U S POSTMASTER MEMPHIS     128 N MARKET STREET                                                       MEMPHIS             MO           63555                                  SUPPLIERS OR VENDORS      12/13/2018             $50.00
U S POSTMASTER MORRIS      105 E 6TH STREET                                                          MORRIS              MN           56267                                  SUPPLIERS OR VENDORS      10/19/2018            $100.00
U S POSTMASTER MORRIS      105 E 6TH STREET                                                          MORRIS              MN           56267                                  SUPPLIERS OR VENDORS      12/10/2018            $250.00
U S POSTMASTER MOUNT
CARMEL                     503 MARKET STREET                                                         MOUNT CARMEL        IL           62863-9998                             SUPPLIERS OR VENDORS      11/26/2018             $50.00
U S POSTMASTER NEW
HAMPTON                    108 N CHESTNUT AVENUE                                                     NEW HAMPTON         IA           50659                                  SUPPLIERS OR VENDORS      11/26/2018             $91.00

U S POSTMASTER NORTON      306 E WASHINGTON                                                          NORTON              KS           67654                                  SUPPLIERS OR VENDORS      11/28/2018            $200.00

U S POSTMASTER NORTON      306 E WASHINGTON                                                          NORTON              KS           67654                                  SUPPLIERS OR VENDORS       12/4/2018            $200.00

U S POSTMASTER OELWEIN     30 1ST AVENUE NE                                                          OELWEIN             IA           50662-9998                             SUPPLIERS OR VENDORS      10/23/2018            $199.00

U S POSTMASTER ONALASKA 304 11TH AVENUE N                                                            ONALASKA            WI           54650                                  SUPPLIERS OR VENDORS      11/16/2018            $500.00
U S POSTMASTER PERRY    1420 2ND STREET                                                              PERRY               IA           50220-9998                             SUPPLIERS OR VENDORS       11/5/2018            $208.00

U S POSTMASTER PIPESTONE 202 S HIAWATHA AVE                                                          PIPESTONE           MN           56164                                  SUPPLIERS OR VENDORS      10/18/2018            $100.00

U S POSTMASTER PIPESTONE 202 S HIAWATHA AVE                                                          PIPESTONE           MN           56164                                  SUPPLIERS OR VENDORS      11/13/2018            $200.00

U S POSTMASTER PIPESTONE 202 S HIAWATHA AVE                                                          PIPESTONE           MN           56164                                  SUPPLIERS OR VENDORS      12/18/2018            $100.00
U S POSTMASTER POWELL    270 N BENT STREET                                                           POWELL              WY           82435-0945                             SUPPLIERS OR VENDORS      10/24/2018            $150.00

U S POSTMASTER ROCKVILLE   102 N MARKET STREET                                                       ROCKVILLE           IN           47872                                  SUPPLIERS OR VENDORS      10/25/2018             $54.00
U S POSTMASTER ROLLA       119 1ST AVENUE SE                                                         ROLLA               ND           58367                                  SUPPLIERS OR VENDORS       11/9/2018            $116.00
U S POSTMASTER SENECA      607 MAIN STREET                                                           SENECA              KS           66538                                  SUPPLIERS OR VENDORS      10/29/2018             $40.00
U S POSTMASTER SENECA      607 MAIN STREET                                                           SENECA              KS           66538                                  SUPPLIERS OR VENDORS      11/13/2018             $40.00
U S POSTMASTER SENECA      607 MAIN STREET                                                           SENECA              KS           66538                                  SUPPLIERS OR VENDORS      12/10/2018            $144.00
U S POSTMASTER SHELBY      145 1ST AVENUE SE                                                         SHELBY              MT           59474                                  SUPPLIERS OR VENDORS      10/18/2018            $400.00

U S POSTMASTER SIDNEY MT 101 W HOLLY ST                                                              SIDNEY              MT           59270                                  SUPPLIERS OR VENDORS      10/24/2018            $400.00

U S POSTMASTER STANDISH 120 SOUTH GROVE STREET                                                       STANDISH            MI           48658                                  SUPPLIERS OR VENDORS      11/26/2018             $50.00

U S POSTMASTER SUPERIOR 214 E 4TH STREET                                                             SUPERIOR            NE           68978-0000                             SUPPLIERS OR VENDORS      10/22/2018            $249.00

U S POSTMASTER SYRACUSE 1101 N INDIANA AVE                                                           SYRACUSE            IN           46567                                  SUPPLIERS OR VENDORS       12/4/2018             $50.00

U S POSTMASTER TECUMSEH 320 E CHICAGO BLVD                                                           TECUMSEH            MI           49286                                  SUPPLIERS OR VENDORS      10/30/2018             $50.00

U S POSTMASTER WAUKON      113 W MAIN STREET                                                         WAUKON              IA           52172                                  SUPPLIERS OR VENDORS      12/17/2018            $116.00
U S POSTMASTER WEST
BURLINGTON                 201 BROADWAY                                                              WEST BURLINGTON IA               52655                                  SUPPLIERS OR VENDORS      12/10/2018            $500.00
U S POSTMASTER
WHEATLAND                  852 WALNUT ST                                                             WHEATLAND           WY           82201                                  SUPPLIERS OR VENDORS      12/19/2018            $100.00




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                                                                                                                                                                               Reasons for payment or    Dates of    Total Amount or
      Creditor Name                 Address1              Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value

UIDC ALTARE CORPORATION 411 5TH AVENUE SUITE 803                                                      NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS      11/22/2018         $11,213.30

UIDC ALTARE CORPORATION 411 5TH AVENUE SUITE 803                                                      NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS      11/29/2018           $6,721.40

UINTAH COUNTY TREASURER   147 EAST MAIN                                                               VERNAL              UT           84078                                  SUPPLIERS OR VENDORS      11/26/2018         $33,715.68
ULINE                     ULINE SHIPPING SUPPLIES   PO BOX 88741                                      CHICAGO             IL           60680-1741                             SUPPLIERS OR VENDORS      10/19/2018            $384.70
ULINE                     ULINE SHIPPING SUPPLIES   PO BOX 88741                                      CHICAGO             IL           60680-1741                             SUPPLIERS OR VENDORS      10/23/2018            $320.44
ULINE                     ULINE SHIPPING SUPPLIES   PO BOX 88741                                      CHICAGO             IL           60680-1741                             SUPPLIERS OR VENDORS      10/30/2018            $361.22
ULINE                     ULINE SHIPPING SUPPLIES   PO BOX 88741                                      CHICAGO             IL           60680-1741                             SUPPLIERS OR VENDORS       11/2/2018            $307.63
ULINE                     ULINE SHIPPING SUPPLIES   PO BOX 88741                                      CHICAGO             IL           60680-1741                             SUPPLIERS OR VENDORS       11/9/2018          $1,187.77
ULINE                     ULINE SHIPPING SUPPLIES   PO BOX 88741                                      CHICAGO             IL           60680-1741                             SUPPLIERS OR VENDORS      11/27/2018            $614.89
ULINE                     ULINE SHIPPING SUPPLIES   PO BOX 88741                                      CHICAGO             IL           60680-1741                             SUPPLIERS OR VENDORS      11/30/2018            $495.96
ULINE                     ULINE SHIPPING SUPPLIES   PO BOX 88741                                      CHICAGO             IL           60680-1741                             SUPPLIERS OR VENDORS       12/7/2018            $100.81
ULTRA STANDARD
DISTRIBUTING              OLLA BEAUTY SUPPLY INC    PO BOX 416250                                     BOSTON              MA           02241-6250                             SUPPLIERS OR VENDORS      11/15/2018          $5,643.86
UNIEK INCORPORATED        ACCOUNTS RECEIVABLE       805 UNIEK DRIVE                                   WAUNAKEE            WI           53597-0000                             SUPPLIERS OR VENDORS      10/18/2018          $5,750.92
UNIEK INCORPORATED        ACCOUNTS RECEIVABLE       805 UNIEK DRIVE                                   WAUNAKEE            WI           53597-0000                             SUPPLIERS OR VENDORS      10/25/2018         $10,389.98
UNIEK INCORPORATED        ACCOUNTS RECEIVABLE       805 UNIEK DRIVE                                   WAUNAKEE            WI           53597-0000                             SUPPLIERS OR VENDORS       11/1/2018         $27,880.18
UNIEK INCORPORATED        ACCOUNTS RECEIVABLE       805 UNIEK DRIVE                                   WAUNAKEE            WI           53597-0000                             SUPPLIERS OR VENDORS       11/8/2018         $28,828.18
UNIEK INCORPORATED        ACCOUNTS RECEIVABLE       805 UNIEK DRIVE                                   WAUNAKEE            WI           53597-0000                             SUPPLIERS OR VENDORS      11/15/2018          $4,716.17
UNIEK INCORPORATED        ACCOUNTS RECEIVABLE       805 UNIEK DRIVE                                   WAUNAKEE            WI           53597-0000                             SUPPLIERS OR VENDORS      11/22/2018          $2,601.90
UNIEK INCORPORATED        ACCOUNTS RECEIVABLE       805 UNIEK DRIVE                                   WAUNAKEE            WI           53597-0000                             SUPPLIERS OR VENDORS      11/29/2018          $5,870.06
UNIFIED FIRE AUTHORITY    3380 S 900 W                                                                SALT LAKE CITY      UT           84119                                  SUPPLIERS OR VENDORS      12/17/2018            $195.00
UNIFIED INCORPORATED      225 DUPONT STREET                                                           PLAINVIEW           NY           11803                                  SUPPLIERS OR VENDORS      10/19/2018          $6,835.18
UNIFIED INCORPORATED      225 DUPONT STREET                                                           PLAINVIEW           NY           11803                                  SUPPLIERS OR VENDORS       11/2/2018         $44,108.50
UNIFIED INCORPORATED      225 DUPONT STREET                                                           PLAINVIEW           NY           11803                                  SUPPLIERS OR VENDORS      11/16/2018         $12,199.99
UNIFIED INCORPORATED      225 DUPONT STREET                                                           PLAINVIEW           NY           11803                                  SUPPLIERS OR VENDORS      11/30/2018         $12,623.75
UNILEVER H P C USA        CONOPCO INC               PO BOX 951136                                     DALLAS              TX           75201-1136                             SUPPLIERS OR VENDORS      10/23/2018         $59,859.88
UNILEVER H P C USA        CONOPCO INC               PO BOX 951136                                     DALLAS              TX           75201-1136                             SUPPLIERS OR VENDORS      10/26/2018          $1,101.84
UNILEVER H P C USA        CONOPCO INC               PO BOX 951136                                     DALLAS              TX           75201-1136                             SUPPLIERS OR VENDORS      10/27/2018        $227,441.97
UNILEVER H P C USA        CONOPCO INC               PO BOX 951136                                     DALLAS              TX           75201-1136                             SUPPLIERS OR VENDORS      10/30/2018          $7,979.67
UNILEVER H P C USA        CONOPCO INC               PO BOX 951136                                     DALLAS              TX           75201-1136                             SUPPLIERS OR VENDORS       11/7/2018        $254,261.52
UNILEVER H P C USA        CONOPCO INC               PO BOX 951136                                     DALLAS              TX           75201-1136                             SUPPLIERS OR VENDORS       11/8/2018         $63,597.80
UNILEVER H P C USA        CONOPCO INC               PO BOX 951136                                     DALLAS              TX           75201-1136                             SUPPLIERS OR VENDORS      11/24/2018        $196,941.95
UNILEVER H P C USA        CONOPCO INC               PO BOX 951136                                     DALLAS              TX           75201-1136                             SUPPLIERS OR VENDORS      11/29/2018          $3,562.58
UNILEVER H P C USA        CONOPCO INC               PO BOX 951136                                     DALLAS              TX           75201-1136                             SUPPLIERS OR VENDORS      11/30/2018          $1,735.10
UNILEVER H P C USA        CONOPCO INC               PO BOX 951136                                     DALLAS              TX           75201-1136                             SUPPLIERS OR VENDORS       12/5/2018        $155,490.09
UNION UNDERWEAR DBA
FRUIT OF THE LOOM         PO BOX 538351                                                               ATLANTA             GA           30353-8351                             SUPPLIERS OR VENDORS      10/22/2018           $2,554.40
UNION UNDERWEAR DBA
FRUIT OF THE LOOM         PO BOX 538351                                                               ATLANTA             GA           30353-8351                             SUPPLIERS OR VENDORS      10/29/2018           $4,004.70
UNION UNDERWEAR DBA
FRUIT OF THE LOOM         PO BOX 538351                                                               ATLANTA             GA           30353-8351                             SUPPLIERS OR VENDORS      10/31/2018         $18,865.60
UNION UNDERWEAR DBA
FRUIT OF THE LOOM         PO BOX 538351                                                               ATLANTA             GA           30353-8351                             SUPPLIERS OR VENDORS       11/2/2018         $61,700.30
UNION UNDERWEAR DBA
FRUIT OF THE LOOM         PO BOX 538351                                                               ATLANTA             GA           30353-8351                             SUPPLIERS OR VENDORS      11/12/2018         $25,568.70
UNION UNDERWEAR DBA
FRUIT OF THE LOOM         PO BOX 538351                                                               ATLANTA             GA           30353-8351                             SUPPLIERS OR VENDORS      11/13/2018         $18,475.25
UNION UNDERWEAR DBA
FRUIT OF THE LOOM         PO BOX 538351                                                               ATLANTA             GA           30353-8351                             SUPPLIERS OR VENDORS      11/13/2018        $302,754.82
UNION UNDERWEAR DBA
FRUIT OF THE LOOM         PO BOX 538351                                                               ATLANTA             GA           30353-8351                             SUPPLIERS OR VENDORS      11/17/2018           $2,541.12



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UNION UNDERWEAR DBA
FRUIT OF THE LOOM        PO BOX 538351                                                                ATLANTA             GA           30353-8351                             SUPPLIERS OR VENDORS      11/24/2018             $66.97
UNION UNDERWEAR DBA
FRUIT OF THE LOOM        PO BOX 538351                                                                ATLANTA             GA           30353-8351                             SUPPLIERS OR VENDORS      11/24/2018           $4,253.30
UNION UNDERWEAR DBA
FRUIT OF THE LOOM        PO BOX 538351                                                                ATLANTA             GA           30353-8351                             SUPPLIERS OR VENDORS      11/28/2018           $5,604.27
UNION UNDERWEAR DBA
FRUIT OF THE LOOM        PO BOX 538351                                                                ATLANTA             GA           30353-8351                             SUPPLIERS OR VENDORS       12/1/2018           $3,565.20
UNION UNDERWEAR DBA
FRUIT OF THE LOOM        PO BOX 538351                                                                ATLANTA             GA           30353-8351                             SUPPLIERS OR VENDORS       12/6/2018         $22,022.52
                         ROOM 1, FLOOR 5, NO 37,
UNIQUE CREATION INC      CHONG DE 11TH ROAD        BEI-TUN DISTRICT                                   TAICHUNG CITY       TAICHUNG 406              Taiwan                                              10/29/2018        $349,955.51
                         ROOM 1, FLOOR 5, NO 37,                                                                                                                              PURCHASE OF
UNIQUE CREATION INC      CHONG DE 11TH ROAD        BEI-TUN DISTRICT                                   TAICHUNG CITY       TAICHUNG 406              Taiwan                    MERCHANDISE                11/7/2018        $235,878.99

UNITA COUNTY TREASURER   PO BOX 1530                                                                  EVANSTON            WY           82931                                  SUPPLIERS OR VENDORS       11/6/2018           $5,480.41

UNITED FARMERS
MERCANTILE COOPERATIVE   203 W OAK STREET                                                             RED OAK             IA           51566                                  SUPPLIERS OR VENDORS      12/14/2018             $67.23
UNITED FURNITURE
INDUSTRIES               BB&T COMMERCIAL FINANCE   PO BOX 890011           PAM TO ORACLE              CHARLOTTE           NC           28289                                  SUPPLIERS OR VENDORS      10/18/2018            $419.62
UNITED FURNITURE
INDUSTRIES               BB&T COMMERCIAL FINANCE   PO BOX 890011           PAM TO ORACLE              CHARLOTTE           NC           28289                                  SUPPLIERS OR VENDORS      10/19/2018        $408,001.44
UNITED FURNITURE
INDUSTRIES               BB&T COMMERCIAL FINANCE   PO BOX 890011           PAM TO ORACLE              CHARLOTTE           NC           28289                                  SUPPLIERS OR VENDORS      10/26/2018           $6,270.00
UNITED FURNITURE
INDUSTRIES               BB&T COMMERCIAL FINANCE   PO BOX 890011           PAM TO ORACLE              CHARLOTTE           NC           28289                                  SUPPLIERS OR VENDORS      11/14/2018         $20,270.32
UNITED FURNITURE
INDUSTRIES               BB&T COMMERCIAL FINANCE   PO BOX 890011           PAM TO ORACLE              CHARLOTTE           NC           28289                                  SUPPLIERS OR VENDORS      11/15/2018         $77,908.75
UNITED FURNITURE
INDUSTRIES               BB&T COMMERCIAL FINANCE   PO BOX 890011           PAM TO ORACLE              CHARLOTTE           NC           28289                                  SUPPLIERS OR VENDORS      11/16/2018         $42,045.01
UNITED FURNITURE
INDUSTRIES               BB&T COMMERCIAL FINANCE   PO BOX 890011           PAM TO ORACLE              CHARLOTTE           NC           28289                                  SUPPLIERS OR VENDORS      11/22/2018         $92,417.57
UNITED FURNITURE                                                                                                                                                              PURCHASE OF
INDUSTRIES               5380 HIGHWAY 145 SOUTH                                                       TUPELO              MS           38801                                  MERCHANDISE               11/26/2018        $474,320.16
UNITED HEALTHCARE        PO BOX 30555                                                                 SALT LAKE CITY      UT           84130                                  SUPPLIERS OR VENDORS      10/22/2018             $36.00
UNITED HEALTHCARE        RECOVERY DEPARTMENT       PO BOX 31362                                       SALT LAKE CITY      UT           84131                                  SUPPLIERS OR VENDORS      10/30/2018             $59.80
UNITED HEALTHCARE        RECOVERY DEPARTMENT       PO BOX 31362                                       SALT LAKE CITY      UT           84131                                  SUPPLIERS OR VENDORS      10/31/2018             $59.80
UNITED HEALTHCARE        PO BOX 30555                                                                 SALT LAKE CITY      UT           84130                                  SUPPLIERS OR VENDORS      11/14/2018             $18.00
UNITED HEALTHCARE        PO BOX 101760                                                                ATLANTA             GA           30392                                  SUPPLIERS OR VENDORS      12/11/2018             $20.00
UNITED HEALTHCARE
SERVICES INC             3100 AMS BLVD                                                                GREEN BAY           WI           54313                                  INSURANCE SERVICES        10/16/2018         $46,521.51
UNITED HEALTHCARE
SERVICES INC             3100 AMS BLVD                                                                GREEN BAY           WI           54313                                  INSURANCE SERVICES        10/17/2018         $29,647.09
UNITED HEALTHCARE
SERVICES INC             3100 AMS BLVD                                                                GREEN BAY           WI           54313                                  INSURANCE SERVICES        10/18/2018         $23,501.66
UNITED HEALTHCARE
SERVICES INC             3100 AMS BLVD                                                                GREEN BAY           WI           54313                                  INSURANCE SERVICES        10/19/2018         $47,600.54
UNITED HEALTHCARE
SERVICES INC             3100 AMS BLVD                                                                GREEN BAY           WI           54313                                  INSURANCE SERVICES        10/22/2018         $15,720.73
UNITED HEALTHCARE
SERVICES INC             3100 AMS BLVD                                                                GREEN BAY           WI           54313                                  INSURANCE SERVICES        10/23/2018         $58,021.67
UNITED HEALTHCARE
SERVICES INC             3100 AMS BLVD                                                                GREEN BAY           WI           54313                                  INSURANCE SERVICES        10/24/2018        $113,583.68



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UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES        10/25/2018         $26,334.60
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES        10/26/2018         $59,165.51
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES        10/29/2018         $33,981.65
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES        10/30/2018        $161,046.28
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES        10/31/2018         $75,784.65
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES         11/1/2018         $18,644.65
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES         11/2/2018         $20,031.65
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES         11/5/2018         $29,699.68
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES         11/6/2018         $98,694.99
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES         11/7/2018        $129,419.87
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES         11/8/2018         $25,203.74
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES         11/9/2018         $47,306.15
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES        11/13/2018         $42,931.73
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES        11/14/2018        $118,615.14
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES        11/15/2018         $31,877.57
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES        11/16/2018         $57,776.34
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES        11/19/2018         $89,112.65
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES        11/20/2018        $156,557.50
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES        11/21/2018        $172,964.20
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES        11/23/2018         $15,297.69
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES        11/26/2018         $97,018.85
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES        11/27/2018         $86,164.21
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES        11/28/2018         $78,357.05
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES        11/29/2018         $22,653.41
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES        11/30/2018         $35,275.73
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES         12/3/2018         $37,445.95
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES         12/4/2018         $50,262.84



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                                                                                                                                                                  Reasons for payment or    Dates of     Total Amount or
      Creditor Name            Address1      Address2                  Address3                 City              State       Zip              Country                   transfer          Payments            Value
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES         12/5/2018         $139,232.47
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES         12/6/2018          $28,808.05
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES         12/7/2018          $58,884.64
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES        12/10/2018          $30,352.93
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES        12/11/2018         $139,285.08
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES        12/12/2018         $106,183.90
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES        12/13/2018          $37,739.04
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES        12/14/2018          $49,203.04
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES        12/17/2018          $65,727.10
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES        12/18/2018          $69,075.17
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES        12/19/2018          $68,238.48
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES        12/20/2018          $17,247.63
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES        12/21/2018          $63,668.09
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES        12/24/2018          $38,437.30
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES        12/26/2018          $71,980.14
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES        12/28/2018         $144,754.39
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES        12/28/2018         $144,754.39
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES        12/31/2018          $44,218.11
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES        12/31/2018          $44,218.11
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES           1/2/2019         $45,137.91
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES           1/3/2019        $116,508.95
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES           1/4/2019           $9,479.33
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES           1/7/2019         $25,290.17
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES           1/8/2019        $150,877.44
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES           1/9/2019        $151,501.05
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES         1/10/2019          $29,723.80
UNITED HEALTHCARE
SERVICES INC          3100 AMS BLVD                                                      GREEN BAY           WI           54313                                  INSURANCE SERVICES         1/11/2019          $82,569.03



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      Creditor Name                  Address1               Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
UNITED HEALTHCARE
SERVICES INC              3100 AMS BLVD                                                                 GREEN BAY           WI           54313                                  INSURANCE SERVICES         1/14/2019         $30,902.46
UNITED HEALTHCARE
SERVICES INC              3100 AMS BLVD                                                                 GREEN BAY           WI           54313                                  INSURANCE SERVICES         1/15/2019        $143,312.02
UNITED MAILING SERVICES
INCORPORATED              3625 N 126 STREET                                                             BROOKFIELD          WI           53005-0000                             SUPPLIERS OR VENDORS      11/15/2018           $1,125.23
UNITED MAILING SERVICES
INCORPORATED              3625 N 126 STREET                                                             BROOKFIELD          WI           53005-0000                             SUPPLIERS OR VENDORS      11/29/2018           $1,246.89
UNITED NATIONAL
CLOSEOUT STORE            C/O LSQ FUNDING GROUP LC    PO BOX 404322                                     ATLANTA             GA           30384-4322                             SUPPLIERS OR VENDORS      10/19/2018         $25,401.60
UNITED NATIONAL
CLOSEOUT STORE            C/O LSQ FUNDING GROUP LC    PO BOX 404322                                     ATLANTA             GA           30384-4322                             SUPPLIERS OR VENDORS      10/23/2018           $8,748.00
UNITED NATIONAL
CLOSEOUT STORE            C/O LSQ FUNDING GROUP LC    PO BOX 404322                                     ATLANTA             GA           30384-4322                             SUPPLIERS OR VENDORS      10/26/2018           $5,390.00
UNITED NATIONAL
CLOSEOUT STORE            C/O LSQ FUNDING GROUP LC    PO BOX 404322                                     ATLANTA             GA           30384-4322                             SUPPLIERS OR VENDORS       11/2/2018         $10,701.67
UNITED NATIONAL
CLOSEOUT STORE            C/O LSQ FUNDING GROUP LC    PO BOX 404322                                     ATLANTA             GA           30384-4322                             SUPPLIERS OR VENDORS       11/9/2018         $43,622.12
UNITED PARCEL SERVICE     LOCKBOX 577                                                                   CAROL STREAM        IL           60132-0577                             SUPPLIERS OR VENDORS      10/19/2018        $118,729.20
UNITED PARCEL SERVICE     LOCKBOX 577                                                                   CAROL STREAM        IL           60132-0577                             SUPPLIERS OR VENDORS      10/26/2018        $129,689.61
UNITED PARCEL SERVICE     LOCKBOX 577                                                                   CAROL STREAM        IL           60132-0577                             SUPPLIERS OR VENDORS       11/2/2018        $113,223.16
UNITED PARCEL SERVICE     LOCKBOX 577                                                                   CAROL STREAM        IL           60132-0577                             SUPPLIERS OR VENDORS       11/9/2018        $122,991.87
UNITED PARCEL SERVICE     LOCKBOX 577                                                                   CAROL STREAM        IL           60132-0577                             SUPPLIERS OR VENDORS      11/16/2018        $228,780.33
UNITED PARCEL SERVICE     LOCKBOX 577                                                                   CAROL STREAM        IL           60132-0577                             SUPPLIERS OR VENDORS      11/27/2018        $129,092.34
UNITED PARCEL SERVICE     LOCKBOX 577                                                                   CAROL STREAM        IL           60132-0577                             SUPPLIERS OR VENDORS      11/30/2018        $135,341.72
UNITED PARCEL SERVICE     LOCKBOX 577                                                                   CAROL STREAM        IL           60132-0577                             SUPPLIERS OR VENDORS       12/7/2018        $126,303.17
UNITED PARCEL SERVICE     LOCKBOX 577                                                                   CAROL STREAM        IL           60132-0577                             SUPPLIERS OR VENDORS      12/14/2018        $184,036.26
UNITED STATES PLAYING     THE UNITED STATES PLAYING
CARD COM                  CARD COMPANY                PO BOX 774626                                     CHICAGO             IL           60677-4006                             SUPPLIERS OR VENDORS      10/25/2018               $1.00
UNITED STATES POSTAL
SERVICE                   CMRS POC                    PO BOX 0575                                       CAROL STREAM        IL           60132-0575                             SUPPLIERS OR VENDORS       11/6/2018         $70,000.00
UNITED STATES POSTAL
SERVICE                   CMRS POC                    PO BOX 0575                                       CAROL STREAM        IL           60132-0575                             SUPPLIERS OR VENDORS      12/11/2018         $70,000.00
UNITED STATES TREASURY    INTERNAL REVENUE SERVICE    STOP 5500              PO BOX 9941                OGDEN               UT           84409                                  SUPPLIERS OR VENDORS      10/18/2018            $750.00
UNITED STATES TREASURY    INTERNAL REVENUE SERVICE    STOP 5500              PO BOX 9941                OGDEN               UT           84409                                  SUPPLIERS OR VENDORS       11/1/2018            $750.00
UNITED STATES TREASURY    INTERNAL REVENUE SERVICE    STOP 5500              PO BOX 9941                OGDEN               UT           84409                                  SUPPLIERS OR VENDORS      11/15/2018            $750.00
UNITED STATES TREASURY    INTERNAL REVENUE SERVICE    STOP 5500              PO BOX 9941                OGDEN               UT           84409                                  SUPPLIERS OR VENDORS      11/29/2018            $750.00
UNITED STATES TREASURY    INTERNAL REVENUE SERVICE    STOP 5500              PO BOX 9941                OGDEN               UT           84409                                  SUPPLIERS OR VENDORS      12/13/2018            $750.00
UNITED STATES TREASURY    INTERNAL REVENUE SERVICE    STOP 5500              PO BOX 9941                OGDEN               UT           84409                                  SUPPLIERS OR VENDORS      12/28/2018            $750.00
UNITED WAY OF BROWN
COUNTY INC                PO BOX 1593                                                                   GREEN BAY           WI           54305-1593                             SUPPLIERS OR VENDORS      10/23/2018               $1.00
UNITED WAY OF BROWN
COUNTY INCORPORATED       PO BOX 1593                                                                   GREEN BAY           WI           54305-1593                             SUPPLIERS OR VENDORS      11/27/2018         $14,079.67
UNITED WAY OF BROWN
COUNTY INCORPORATED       PO BOX 1593                                                                   GREEN BAY           WI           54305-1593                             SUPPLIERS OR VENDORS       1/10/2019           $2,850.75
UNITEDHEALTHCARE          RECOVERY SERVICES           PO BOX 101760                                     ATLANTA             GA           30392                                  SUPPLIERS OR VENDORS      12/18/2018              $87.00
UNIVERSAL RX LLC          JAN SESSOR                  710 3RD STREET                                    ROANOKE             VA           24016                                  SUPPLIERS OR VENDORS       11/2/2018             $125.40
UNIVERSAL RX LLC          JAN SESSOR                  710 3RD STREET                                    ROANOKE             VA           24016                                  SUPPLIERS OR VENDORS      12/14/2018             $151.80
UNIVERSITY GAMES CORP     2030 HARRISON STREET                                                          SAN FRANCISCO       CA           94110-0000                             SUPPLIERS OR VENDORS      10/18/2018              $38.64
UNIVERSITY GAMES CORP     2030 HARRISON STREET                                                          SAN FRANCISCO       CA           94110-0000                             SUPPLIERS OR VENDORS      10/18/2018             $459.36
UNIVERSITY GAMES CORP     2030 HARRISON STREET                                                          SAN FRANCISCO       CA           94110-0000                             SUPPLIERS OR VENDORS      10/25/2018             $187.40
UNIVERSITY GAMES CORP     2030 HARRISON STREET                                                          SAN FRANCISCO       CA           94110-0000                             SUPPLIERS OR VENDORS      10/25/2018           $1,032.57
UNIVERSITY GAMES CORP     2030 HARRISON STREET                                                          SAN FRANCISCO       CA           94110-0000                             SUPPLIERS OR VENDORS       11/1/2018             $457.12
UNIVERSITY GAMES CORP     2030 HARRISON STREET                                                          SAN FRANCISCO       CA           94110-0000                             SUPPLIERS OR VENDORS       11/1/2018           $3,706.56



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      Creditor Name                  Address1              Address2                  Address3                 City              State       Zip              Country                    transfer          Payments            Value
UNIVERSITY GAMES CORP     2030 HARRISON STREET                                                         SAN FRANCISCO       CA           94110-0000                             SUPPLIERS OR VENDORS         11/8/2018              $632.73
UNIVERSITY GAMES CORP     2030 HARRISON STREET                                                         SAN FRANCISCO       CA           94110-0000                             SUPPLIERS OR VENDORS        11/15/2018              $501.01
UNIVERSITY GAMES CORP     2030 HARRISON STREET                                                         SAN FRANCISCO       CA           94110-0000                             SUPPLIERS OR VENDORS        11/22/2018              $484.42
UNIVERSITY GAMES CORP     2030 HARRISON STREET                                                         SAN FRANCISCO       CA           94110-0000                             SUPPLIERS OR VENDORS        11/22/2018              $608.96
UNIVERSITY GAMES CORP     2030 HARRISON STREET                                                         SAN FRANCISCO       CA           94110-0000                             SUPPLIERS OR VENDORS        11/29/2018              $871.05
UNIVERSITY OF KANSAS      SCHOOL OF PHARMACY        2056 MALOTT HALL                                   LAWRENCE            KS           66045                                  SUPPLIERS OR VENDORS        10/26/2018            $1,000.00
                          OFFICE OF STATE
UNIVERSITY OF KENTUCKY    ENTOMOLOGIST              S225 AG SCI CENTER N                               LEXINGTON           KY           40546-0091                             SUPPLIERS OR VENDORS       11/29/2018               $25.00

UNIVERSITY OF MONTANA     SCHOOL OF PHARMACY        340 SKAGGS BUILDING                                MISSOULA            MT           59812-1512                             SUPPLIERS OR VENDORS       10/26/2018            $1,000.00
UNIVERSITY OF WISCONSIN
MADISON                   PHARMACY STUDENT SENATE   777 HIGHLAND AVENUE                                MADISON             WI           53705                                  SUPPLIERS OR VENDORS       10/26/2018            $1,000.00
UNIVERSITY OF WISCONSIN                             103 ADMINISTRATION
STOUT                     CAREER SERVICES           BUILDING                                           MENOMONEE           WI           54751                                  SUPPLIERS OR VENDORS       10/26/2018            $1,000.00
                                                    1000 E UNIVERSITY
UNIVERSITY OF WYOMING     COLLEGE OF PHARMACY       AVENUE                                             LARAMIE             WY           82071                                  SUPPLIERS OR VENDORS       10/26/2018            $1,000.00
UP RITE DISTRIBUTING      1740 INDUSTRIAL PARKWAY                                                      MARINETTE           WI           54143                                  SUPPLIERS OR VENDORS       10/25/2018            $1,813.20
UP RITE DISTRIBUTING      1740 INDUSTRIAL PARKWAY                                                      MARINETTE           WI           54143                                  SUPPLIERS OR VENDORS       11/15/2018              $230.60
UP RITE DISTRIBUTING      1740 INDUSTRIAL PARKWAY                                                      MARINETTE           WI           54143                                  SUPPLIERS OR VENDORS       12/21/2018              $372.90
UPPER CANADA SOAP         2299 KENMORE AVE                                                             BUFFALO             NY           14207                                  SUPPLIERS OR VENDORS       10/19/2018            $1,387.50
UPPER CANADA SOAP         2299 KENMORE AVE                                                             BUFFALO             NY           14207                                  SUPPLIERS OR VENDORS       10/23/2018              $153.00
UPPER CANADA SOAP         2299 KENMORE AVE                                                             BUFFALO             NY           14207                                  SUPPLIERS OR VENDORS       10/26/2018               $88.50
UPPER CANADA SOAP         2299 KENMORE AVE                                                             BUFFALO             NY           14207                                  SUPPLIERS OR VENDORS       10/30/2018            $7,281.00
UPPER CANADA SOAP         2299 KENMORE AVE                                                             BUFFALO             NY           14207                                  SUPPLIERS OR VENDORS        11/2/2018           $20,737.50
UPPER CANADA SOAP         2299 KENMORE AVE                                                             BUFFALO             NY           14207                                  SUPPLIERS OR VENDORS        11/6/2018            $2,933.04
UPPER CANADA SOAP         2299 KENMORE AVE                                                             BUFFALO             NY           14207                                  SUPPLIERS OR VENDORS       11/13/2018              $885.00
UPPER CANADA SOAP         2299 KENMORE AVE                                                             BUFFALO             NY           14207                                  SUPPLIERS OR VENDORS       11/16/2018            $1,492.20
UPPER CANADA SOAP         2299 KENMORE AVE                                                             BUFFALO             NY           14207                                  SUPPLIERS OR VENDORS       11/23/2018            $2,336.70
UPPER CANADA SOAP         2299 KENMORE AVE                                                             BUFFALO             NY           14207                                  SUPPLIERS OR VENDORS       11/27/2018            $2,277.00
UPPER CANADA SOAP         2299 KENMORE AVE                                                             BUFFALO             NY           14207                                  SUPPLIERS OR VENDORS       11/30/2018              $618.00
UPPER CANADA SOAP         2299 KENMORE AVE                                                             BUFFALO             NY           14207                                  SUPPLIERS OR VENDORS        12/4/2018              $392.77
UPS FREIGHT
INCORPORATED              28013 NETWORK PLACE                                                          CHICAGO             IL           60673-1280                             SUPPLIERS OR VENDORS       10/19/2018           $72,914.60
UPS FREIGHT
INCORPORATED              28013 NETWORK PLACE                                                          CHICAGO             IL           60673-1280                             SUPPLIERS OR VENDORS       10/26/2018           $75,307.24
UPS FREIGHT
INCORPORATED              28013 NETWORK PLACE                                                          CHICAGO             IL           60673-1280                             SUPPLIERS OR VENDORS        11/2/2018           $50,063.10
UPS FREIGHT
INCORPORATED              28013 NETWORK PLACE                                                          CHICAGO             IL           60673-1280                             SUPPLIERS OR VENDORS        11/9/2018           $33,398.95
UPS FREIGHT
INCORPORATED              28013 NETWORK PLACE                                                          CHICAGO             IL           60673-1280                             SUPPLIERS OR VENDORS       11/16/2018           $70,410.93
UPS FREIGHT
INCORPORATED              28013 NETWORK PLACE                                                          CHICAGO             IL           60673-1280                             SUPPLIERS OR VENDORS       11/30/2018          $118,433.94
UPS FREIGHT
INCORPORATED              28013 NETWORK PLACE                                                          CHICAGO             IL           60673-1280                             SUPPLIERS OR VENDORS        12/8/2018          $107,710.05
UPS FREIGHT
INCORPORATED              28013 NETWORK PLACE                                                          CHICAGO             IL           60673-1280                             SUPPLIERS OR VENDORS       12/11/2018           $15,427.48
UPS FREIGHT
INCORPORATED              28013 NETWORK PLACE                                                          CHICAGO             IL           60673-1280                             SUPPLIERS OR VENDORS       12/12/2018           $10,070.74
UPS FREIGHT
INCORPORATED              28013 NETWORK PLACE                                                          CHICAGO             IL           60673-1280                             SUPPLIERS OR VENDORS       12/14/2018            $8,562.24
UPS FREIGHT
INCORPORATED              28013 NETWORK PLACE                                                          CHICAGO             IL           60673-1280                             SUPPLIERS OR VENDORS       12/19/2018           $38,682.56




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UPS FREIGHT
INCORPORATED           28013 NETWORK PLACE                                                           CHICAGO             IL           60673-1280                             SUPPLIERS OR VENDORS      12/20/2018            $5,645.88
UPS FREIGHT
INCORPORATED           28013 NETWORK PLACE                                                           CHICAGO             IL           60673-1280                             SUPPLIERS OR VENDORS      12/21/2018            $7,485.55
UPS FREIGHT
INCORPORATED           28013 NETWORK PLACE                                                           CHICAGO             IL           60673-1280                             SUPPLIERS OR VENDORS      12/22/2018            $3,175.76
UPS FREIGHT
INCORPORATED           28013 NETWORK PLACE                                                           CHICAGO             IL           60673-1280                             SUPPLIERS OR VENDORS         1/5/2019         $25,138.14
UPS FREIGHT
INCORPORATED           28013 NETWORK PLACE                                                           CHICAGO             IL           60673-1280                             SUPPLIERS OR VENDORS         1/8/2019         $13,652.80
UPS FREIGHT
INCORPORATED           28013 NETWORK PLACE                                                           CHICAGO             IL           60673-1280                             SUPPLIERS OR VENDORS       1/10/2019          $13,904.14

UPS SUPPLY CHAIN
SOLUTIONS INCORPORATED 28013 NETWORK PLACE                                                           CHICAGO             IL           60673-1280                             SUPPLIERS OR VENDORS      10/29/2018              $87.09

UPS SUPPLY CHAIN
SOLUTIONS INCORPORATED 28013 NETWORK PLACE                                                           CHICAGO             IL           60673-1280                             SUPPLIERS OR VENDORS       11/7/2018             $709.37

UPS SUPPLY CHAIN
SOLUTIONS INCORPORATED 28013 NETWORK PLACE                                                           CHICAGO             IL           60673-1280                             SUPPLIERS OR VENDORS      11/26/2018             $167.10

US BANK AND TRUST      180 5TH STREET E STE 200                                                      SAINT PAUL          MN           55101                                  BOND INTEREST PAYMENT     12/17/2018         $263,578.75
US BANK EQUIPMENT
FINANCE                PO BOX 790448                                                                 ST LOUIS            MO           63179-0448                             SUPPLIERS OR VENDORS      10/30/2018             $190.55
US BANK EQUIPMENT
FINANCE                PO BOX 790448                                                                 ST LOUIS            MO           63179-0448                             SUPPLIERS OR VENDORS      11/14/2018             $208.88
US BANK EQUIPMENT
FINANCE                PO BOX 790448                                                                 ST LOUIS            MO           63179-0448                             SUPPLIERS OR VENDORS      11/29/2018              $74.26
US BANK EQUIPMENT
FINANCE                PO BOX 790448                                                                 ST LOUIS            MO           63179-0448                             SUPPLIERS OR VENDORS      12/11/2018              $74.26
US BANK EQUIPMENT
FINANCE                PO BOX 790448                                                                 ST LOUIS            MO           63179-0448                             SUPPLIERS OR VENDORS      12/19/2018              $79.73
US MERCHANTS           8737 WILSHIRE BLVD                                                            BEVERLY HILLS       CA           90211                                  SUPPLIERS OR VENDORS       11/2/2018              $75.00
US POSTAL SERVICE      CAPS SERVICE CENTER         2700 CAMPUS DRIVE                                 SAN MATEO           CA           94497-9473                             SUPPLIERS OR VENDORS      10/24/2018         $547,111.90
US POSTAL SERVICE      CAPS SERVICE CENTER         2700 CAMPUS DRIVE                                 SAN MATEO           CA           94497-9473                             SUPPLIERS OR VENDORS      10/25/2018           $6,882.88
US POSTAL SERVICE      PO BOX 2348                                                                   CAROL STREAM        IL           60132-2348                             SUPPLIERS OR VENDORS      10/30/2018          $19,100.00
US POSTAL SERVICE      PO BOX 2348                                                                   CAROL STREAM        IL           60132-2348                             SUPPLIERS OR VENDORS       11/2/2018          $15,000.00
US POSTAL SERVICE      PO BOX 2348                                                                   CAROL STREAM        IL           60132-2348                             SUPPLIERS OR VENDORS       11/3/2018           $2,000.00
US POSTAL SERVICE      CAPS SERVICE CENTER         2700 CAMPUS DRIVE                                 SAN MATEO           CA           94497-9473                             SUPPLIERS OR VENDORS       11/9/2018         $624,229.29
US POSTAL SERVICE      PO BOX 2348                                                                   CAROL STREAM        IL           60132-2348                             SUPPLIERS OR VENDORS      11/16/2018          $10,300.00
US POSTAL SERVICE      CAPS SERVICE CENTER         2700 CAMPUS DRIVE                                 SAN MATEO           CA           94497-9473                             SUPPLIERS OR VENDORS      11/17/2018         $963,462.50
US POSTAL SERVICE      PO BOX 2348                                                                   CAROL STREAM        IL           60132-2348                             SUPPLIERS OR VENDORS      11/27/2018           $9,000.00
US POSTAL SERVICE      CAPS SERVICE CENTER         2700 CAMPUS DRIVE                                 SAN MATEO           CA           94497-9473                             SUPPLIERS OR VENDORS      11/27/2018         $841,881.76
US POSTAL SERVICE      CAPS SERVICE CENTER         2700 CAMPUS DRIVE                                 SAN MATEO           CA           94497-9473                             SUPPLIERS OR VENDORS      11/28/2018          $13,296.98
US POSTAL SERVICE      PO BOX 2348                                                                   CAROL STREAM        IL           60132-2348                             SUPPLIERS OR VENDORS       12/4/2018          $17,000.00
                       ENTERPRISE PAYMENT SYSTEM
US POSTAL SERVICE      (EPS)                       2700 CAMPUS DRIVE                                 SAN MATEO           CA           94497-9473                             SUPPLIERS OR VENDORS      12/13/2018               $1.00
US POSTAL SERVICE      PO BOX 2348                                                                   CAROL STREAM        IL           60132-2348                             SUPPLIERS OR VENDORS      12/14/2018          $28,480.00
US POSTAL SERVICE      PO BOX 2348                                                                   CAROL STREAM        IL           60132-2348                             SUPPLIERS OR VENDORS      12/19/2018           $4,000.00
                       ENTERPRISE PAYMENT SYSTEM
US POSTAL SERVICE      (EPS)                       2700 CAMPUS DRIVE                                 SAN MATEO           CA           94497-9473                             SUPPLIERS OR VENDORS      12/20/2018                $1.00
US POSTAL SERVICE      CAPS SERVICE CENTER         2700 CAMPUS DRIVE                                 SAN MATEO           CA           94497-9473                             SUPPLIERS OR VENDORS      12/22/2018            $4,906.05
US POSTAL SERVICE      PO BOX 2348                                                                   CAROL STREAM        IL           60132-2348                             SUPPLIERS OR VENDORS       1/10/2019            $7,500.00



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                                                                                                                                                                        Reasons for payment or    Dates of     Total Amount or
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US POSTAL SERVICE     PO BOX 2348                                                             CAROL STREAM        IL           60132-2348                             SUPPLIERS OR VENDORS         1/10/2019           $14,000.00
USF HOLLAND
INCORPORATED          27052 NETWORK PLACE                                                     CHICAGO             IL           60673-1270                             SUPPLIERS OR VENDORS       10/18/2018              $952.82
USF HOLLAND
INCORPORATED          27052 NETWORK PLACE                                                     CHICAGO             IL           60673-1270                             SUPPLIERS OR VENDORS       10/25/2018              $780.83
USF HOLLAND
INCORPORATED          27052 NETWORK PLACE                                                     CHICAGO             IL           60673-1270                             SUPPLIERS OR VENDORS        11/1/2018                $1.00
USF HOLLAND
INCORPORATED          27052 NETWORK PLACE                                                     CHICAGO             IL           60673-1270                             SUPPLIERS OR VENDORS        11/1/2018            $2,056.51
USF HOLLAND
INCORPORATED          27052 NETWORK PLACE                                                     CHICAGO             IL           60673-1270                             SUPPLIERS OR VENDORS        11/9/2018              $830.59
USF HOLLAND
INCORPORATED          27052 NETWORK PLACE                                                     CHICAGO             IL           60673-1270                             SUPPLIERS OR VENDORS       11/16/2018            $1,673.14
USF HOLLAND
INCORPORATED          27052 NETWORK PLACE                                                     CHICAGO             IL           60673-1270                             SUPPLIERS OR VENDORS       11/30/2018            $1,674.86
USF HOLLAND
INCORPORATED          27052 NETWORK PLACE                                                     CHICAGO             IL           60673-1270                             SUPPLIERS OR VENDORS       12/19/2018            $7,329.89
USF HOLLAND
INCORPORATED          27052 NETWORK PLACE                                                     CHICAGO             IL           60673-1270                             SUPPLIERS OR VENDORS       12/20/2018              $517.93
USF HOLLAND
INCORPORATED          27052 NETWORK PLACE                                                     CHICAGO             IL           60673-1270                             SUPPLIERS OR VENDORS       12/21/2018              $323.32
USF HOLLAND
INCORPORATED          27052 NETWORK PLACE                                                     CHICAGO             IL           60673-1270                             SUPPLIERS OR VENDORS       12/22/2018              $109.68
USF HOLLAND
INCORPORATED          27052 NETWORK PLACE                                                     CHICAGO             IL           60673-1270                             SUPPLIERS OR VENDORS         1/5/2019            $1,211.38
USF HOLLAND
INCORPORATED          27052 NETWORK PLACE                                                     CHICAGO             IL           60673-1270                             SUPPLIERS OR VENDORS         1/8/2019              $326.20
USF HOLLAND
INCORPORATED          27052 NETWORK PLACE                                                     CHICAGO             IL           60673-1270                             SUPPLIERS OR VENDORS        1/10/2019              $184.40
USF REDDAWAY
INCORPORATED          26401 NETWORK PLACE                                                     CHICAGO             IL           60673-1264                             SUPPLIERS OR VENDORS       10/18/2018            $1,337.18
USF REDDAWAY
INCORPORATED          26401 NETWORK PLACE                                                     CHICAGO             IL           60673-1264                             SUPPLIERS OR VENDORS       10/25/2018            $1,985.98
USF REDDAWAY
INCORPORATED          26401 NETWORK PLACE                                                     CHICAGO             IL           60673-1264                             SUPPLIERS OR VENDORS        11/1/2018            $2,735.80
USF REDDAWAY
INCORPORATED          0                     26401 NETWORK PLACE                               CHICAGO             IL           60673-1264                             SUPPLIERS OR VENDORS        11/2/2018                $1.00
USF REDDAWAY
INCORPORATED          26401 NETWORK PLACE                                                     CHICAGO             IL           60673-1264                             SUPPLIERS OR VENDORS        11/9/2018            $1,416.43
USF REDDAWAY
INCORPORATED          26401 NETWORK PLACE                                                     CHICAGO             IL           60673-1264                             SUPPLIERS OR VENDORS       11/16/2018            $1,880.77
USF REDDAWAY
INCORPORATED          26401 NETWORK PLACE                                                     CHICAGO             IL           60673-1264                             SUPPLIERS OR VENDORS       11/30/2018              $674.20
USF REDDAWAY
INCORPORATED          26401 NETWORK PLACE                                                     CHICAGO             IL           60673-1264                             SUPPLIERS OR VENDORS       12/19/2018            $2,878.73
USF REDDAWAY
INCORPORATED          26401 NETWORK PLACE                                                     CHICAGO             IL           60673-1264                             SUPPLIERS OR VENDORS       12/20/2018              $153.57
USF REDDAWAY
INCORPORATED          26401 NETWORK PLACE                                                     CHICAGO             IL           60673-1264                             SUPPLIERS OR VENDORS       12/21/2018              $305.77
USF REDDAWAY
INCORPORATED          26401 NETWORK PLACE                                                     CHICAGO             IL           60673-1264                             SUPPLIERS OR VENDORS         1/5/2019            $4,368.12
USF REDDAWAY
INCORPORATED          26401 NETWORK PLACE                                                     CHICAGO             IL           60673-1264                             SUPPLIERS OR VENDORS         1/8/2019              $598.26




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USF REDDAWAY
INCORPORATED             26401 NETWORK PLACE                                                          CHICAGO             IL           60673-1264                             SUPPLIERS OR VENDORS       1/10/2019             $220.83

UTAH COUNTY TREASURER    PO BOX 410483                                                                SALT LAKE CITY      UT           84141-0483                             SUPPLIERS OR VENDORS      11/26/2018         $158,252.67
UTAH DIV OF CHILD &
FAMILY SERVICE OGDEN     950 E 25TH STREEET STE C                                                     OGDEN               UT           84401                                  SUPPLIERS OR VENDORS      11/26/2018             $159.57
UTAH STATE OFFICE OF
REHABILITATION           180 NORTH 100 WEST                                                           LOGAN               UT           84321                                  SUPPLIERS OR VENDORS       11/8/2018              $19.80
UTAH STATE TAX
COMMISSION               210 N 1950 W                                                                 SALT LAKE CITY      UT           84134                                  SALES & USE TAX            11/1/2018             $149.46
UTAH STATE TAX
COMMISSION               210 N 1950 W                                                                 SALT LAKE CITY      UT           84134                                  SALES & USE TAX            11/1/2018         $491,693.50
UTAH STATE TAX
COMMISSION               210 N 1950 W                                                                 SALT LAKE CITY      UT           84134                                  SALES & USE TAX            12/3/2018             $227.05
UTAH STATE TAX
COMMISSION               210 N 1950 W                                                                 SALT LAKE CITY      UT           84134                                  SALES & USE TAX            12/3/2018         $394,303.67
UTAH STATE TAX
COMMISSION               210 N 1950 W                                                                 SALT LAKE CITY      UT           84134                                  SALES & USE TAX              1/2/2019            $409.99
UTAH STATE TAX
COMMISSION               210 N 1950 W                                                                 SALT LAKE CITY      UT           84134                                  SALES & USE TAX              1/2/2019        $649,377.05
UTOPIA THE AGENCY
INCORPORATED             12TH FLOOR SUITE 1223      601 W 26TH STREET                                 NEW YORK            NY           10001                                  SUPPLIERS OR VENDORS      11/15/2018            $5,580.00
V & S MIDWEST CARRIERS
CORP                     PO BOX 107                                                                   KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS      10/19/2018          $11,830.00
V & S MIDWEST CARRIERS
CORP                     PO BOX 107                                                                   KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS      10/26/2018          $22,179.80
V & S MIDWEST CARRIERS
CORP                     PO BOX 107                                                                   KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS       11/2/2018          $22,687.12
V & S MIDWEST CARRIERS
CORP                     PO BOX 107                                                                   KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS       11/9/2018          $20,925.56
V & S MIDWEST CARRIERS
CORP                     PO BOX 107                                                                   KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS      11/16/2018          $22,072.10
V & S MIDWEST CARRIERS
CORP                     PO BOX 107                                                                   KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS      11/30/2018          $51,413.12
V & S MIDWEST CARRIERS
CORP                     PO BOX 107                                                                   KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS       12/8/2018          $29,535.20
V & S MIDWEST CARRIERS
CORP                     PO BOX 107                                                                   KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS      12/14/2018            $1,713.98
V & S MIDWEST CARRIERS
CORP                     PO BOX 107                                                                   KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS      12/19/2018          $27,202.83
V & S MIDWEST CARRIERS
CORP                     PO BOX 107                                                                   KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS      12/20/2018            $2,595.68
V & S MIDWEST CARRIERS
CORP                     PO BOX 107                                                                   KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS      12/21/2018            $1,624.77
V & S MIDWEST CARRIERS
CORP                     PO BOX 107                                                                   KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS      12/22/2018          $10,756.77
V & S MIDWEST CARRIERS
CORP                     PO BOX 107                                                                   KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS      12/28/2018            $7,712.61
V & S MIDWEST CARRIERS
CORP                     PO BOX 107                                                                   KAUKAUNA            WI           54130                                  SUPPLIERS OR VENDORS         1/5/2019         $25,482.72
V F JEANSWEAR
INCORPORATED             PO BOX 840482                                                                DALLAS              TX           75284                                  SUPPLIERS OR VENDORS      10/19/2018          $19,470.57
V F JEANSWEAR
INCORPORATED             PO BOX 840482                                                                DALLAS              TX           75284                                  SUPPLIERS OR VENDORS      10/19/2018          $71,401.69



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V F JEANSWEAR
INCORPORATED           PO BOX 840482                                                      DALLAS              TX           75284                                  SUPPLIERS OR VENDORS      10/23/2018        $352,539.00
V F JEANSWEAR
INCORPORATED           PO BOX 840482                                                      DALLAS              TX           75284                                  SUPPLIERS OR VENDORS      10/24/2018        $271,225.11
V F JEANSWEAR
INCORPORATED           PO BOX 840482                                                      DALLAS              TX           75284                                  SUPPLIERS OR VENDORS      10/26/2018            $838.50
V F JEANSWEAR
INCORPORATED           PO BOX 840482                                                      DALLAS              TX           75284                                  SUPPLIERS OR VENDORS      10/30/2018           $1,071.00
V F JEANSWEAR
INCORPORATED           PO BOX 840482                                                      DALLAS              TX           75284                                  SUPPLIERS OR VENDORS       11/1/2018         $71,074.00
V F JEANSWEAR
INCORPORATED           PO BOX 840482                                                      DALLAS              TX           75284                                  SUPPLIERS OR VENDORS       11/2/2018        $322,072.70
V F JEANSWEAR
INCORPORATED           PO BOX 840482                                                      DALLAS              TX           75284                                  SUPPLIERS OR VENDORS       11/5/2018        $185,636.50
V F JEANSWEAR
INCORPORATED           PO BOX 840482                                                      DALLAS              TX           75284                                  SUPPLIERS OR VENDORS       11/6/2018           $3,112.19
V F JEANSWEAR
INCORPORATED           PO BOX 840482                                                      DALLAS              TX           75284                                  SUPPLIERS OR VENDORS       11/7/2018         $12,470.38
V F JEANSWEAR
INCORPORATED           PO BOX 840482                                                      DALLAS              TX           75284                                  SUPPLIERS OR VENDORS       11/7/2018         $47,434.04
V F JEANSWEAR
INCORPORATED           PO BOX 840482                                                      DALLAS              TX           75284                                  SUPPLIERS OR VENDORS       11/8/2018            $114.00
V F JEANSWEAR
INCORPORATED           PO BOX 840482                                                      DALLAS              TX           75284                                  SUPPLIERS OR VENDORS       11/8/2018         $99,929.26
V F JEANSWEAR
INCORPORATED           PO BOX 840482                                                      DALLAS              TX           75284                                  SUPPLIERS OR VENDORS       11/9/2018         $10,959.00
V F JEANSWEAR
INCORPORATED           PO BOX 840482                                                      DALLAS              TX           75284                                  SUPPLIERS OR VENDORS      11/10/2018         $21,971.10
V F JEANSWEAR
INCORPORATED           PO BOX 840482                                                      DALLAS              TX           75284                                  SUPPLIERS OR VENDORS      11/12/2018            $114.00
V F JEANSWEAR
INCORPORATED           PO BOX 840482                                                      DALLAS              TX           75284                                  SUPPLIERS OR VENDORS      11/14/2018           $1,512.00
V F JEANSWEAR
INCORPORATED           PO BOX 840482                                                      DALLAS              TX           75284                                  SUPPLIERS OR VENDORS      11/14/2018         $18,769.51
V F JEANSWEAR
INCORPORATED           PO BOX 840482                                                      DALLAS              TX           75284                                  SUPPLIERS OR VENDORS      11/15/2018         $52,668.00
V F JEANSWEAR
INCORPORATED           PO BOX 840482                                                      DALLAS              TX           75284                                  SUPPLIERS OR VENDORS      11/16/2018           $1,652.00
V F JEANSWEAR
INCORPORATED           PO BOX 840482                                                      DALLAS              TX           75284                                  SUPPLIERS OR VENDORS      11/16/2018         $21,529.90
V F JEANSWEAR
INCORPORATED           PO BOX 840482                                                      DALLAS              TX           75284                                  SUPPLIERS OR VENDORS      11/17/2018         $53,873.56
V F JEANSWEAR
INCORPORATED           PO BOX 840482                                                      DALLAS              TX           75284                                  SUPPLIERS OR VENDORS      11/22/2018            $561.00
V F JEANSWEAR
INCORPORATED           PO BOX 840482                                                      DALLAS              TX           75284                                  SUPPLIERS OR VENDORS      11/24/2018         $78,895.63
V F JEANSWEAR
INCORPORATED           PO BOX 840482                                                      DALLAS              TX           75284                                  SUPPLIERS OR VENDORS      11/27/2018         $32,853.29
V F JEANSWEAR
INCORPORATED           PO BOX 840482                                                      DALLAS              TX           75284                                  SUPPLIERS OR VENDORS      11/28/2018             $84.00
V F JEANSWEAR
INCORPORATED           PO BOX 840482                                                      DALLAS              TX           75284                                  SUPPLIERS OR VENDORS      11/29/2018            $294.00
V F JEANSWEAR
INCORPORATED           PO BOX 840482                                                      DALLAS              TX           75284                                  SUPPLIERS OR VENDORS      11/30/2018           $9,424.00



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V F JEANSWEAR
INCORPORATED             PO BOX 840482                                                                    DALLAS              TX           75284                                  SUPPLIERS OR VENDORS       12/1/2018         $52,288.68
V F JEANSWEAR
INCORPORATED             PO BOX 840482                                                                    DALLAS              TX           75284                                  SUPPLIERS OR VENDORS       12/4/2018           $9,969.35
V F JEANSWEAR
INCORPORATED             PO BOX 840482                                                                    DALLAS              TX           75284                                  SUPPLIERS OR VENDORS       12/4/2018         $12,483.32
V F JEANSWEAR
INCORPORATED             PO BOX 840482                                                                    DALLAS              TX           75284                                  SUPPLIERS OR VENDORS       12/5/2018        $114,876.22
V G SUPPLY COMPANY
INCORPORATED             1400 RENAISSANCE DR STE 309                                                      PARK RIDGE          IL           60068-0000                             SUPPLIERS OR VENDORS      10/18/2018         $10,163.06
V G SUPPLY COMPANY
INCORPORATED             1400 RENAISSANCE DR STE 309                                                      PARK RIDGE          IL           60068-0000                             SUPPLIERS OR VENDORS      10/25/2018         $82,011.60
V G SUPPLY COMPANY
INCORPORATED             1400 RENAISSANCE DR STE 309                                                      PARK RIDGE          IL           60068-0000                             SUPPLIERS OR VENDORS      10/26/2018         $10,730.40
V G SUPPLY COMPANY
INCORPORATED             1400 RENAISSANCE DR STE 309                                                      PARK RIDGE          IL           60068-0000                             SUPPLIERS OR VENDORS       11/2/2018        $107,980.32
V G SUPPLY COMPANY
INCORPORATED             1400 RENAISSANCE DR STE 309                                                      PARK RIDGE          IL           60068-0000                             SUPPLIERS OR VENDORS      11/29/2018           $6,612.08
VALENTINE WALTER         3129 STAGECOACH AVE                                                              GREATFALLS          MT           59404                                  SUPPLIERS OR VENDORS      11/28/2018              $23.00
VALERIE BATEMAN          STORE 4-608                   SHOPKO EMPLOYEE         1010 W RYAN STREET         BRILLION            WI           54110                                  SUPPLIERS OR VENDORS      10/25/2018              $14.17
VALERIE BATEMAN          STORE 4-608                   SHOPKO EMPLOYEE         1010 W RYAN STREET         BRILLION            WI           54110                                  SUPPLIERS OR VENDORS       11/1/2018              $14.17
VALERIE BATEMAN          STORE 4-608                   SHOPKO EMPLOYEE         1010 W RYAN STREET         BRILLION            WI           54110                                  SUPPLIERS OR VENDORS      12/27/2018              $70.85
VALERIE BITTNER          1310 NICKLAUS DR                                                                 ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       12/5/2018              $38.68
VALERIE CHEYNE           1900 N. MEYERS RD                                                                POSTFALLS           ID           83854                                  SUPPLIERS OR VENDORS      11/29/2018             $182.98
VALERIE COMSTOCK         3440 COURT ST                                                                    SIOUX CITY          IA           51104                                  SUPPLIERS OR VENDORS      11/14/2018             $416.00
VALERIE HRABAK           STORE 2-041                   SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/18/2018               $3.82
VALERIE HRABAK           STORE 2-041                   SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/25/2018              $11.72
VALERIE HRABAK           STORE 2-041                   SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/1/2018               $6.21
VALERIE HRABAK           STORE 2-041                   SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/29/2018              $13.79
VALERIE KLEINOW          STORE 671                     SHOPKO EMPLOYEE         PO BOX 469                 WAUKON              IA           52172                                  SUPPLIERS OR VENDORS       11/1/2018              $62.13
VALERIE KLEINOW          STORE 671                     SHOPKO EMPLOYEE         PO BOX 469                 WAUKON              IA           52172                                  SUPPLIERS OR VENDORS       12/6/2018             $203.39
VALERIE KLEINOW          STORE 671                     SHOPKO EMPLOYEE         PO BOX 469                 WAUKON              IA           52172                                  SUPPLIERS OR VENDORS      12/20/2018             $103.88
VALERIE LUNSFORD         STORE 095                     SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/2/2018             $366.57
VALERIE OLSEN            3305 GOLDEN AVE                                                                  POCATELLO           ID           83204                                  SUPPLIERS OR VENDORS      10/22/2018              $21.94
VALERIE PETR             6911 NORTHVIEW ST                                                                BOISE               ID           83704                                  SUPPLIERS OR VENDORS       11/5/2018              $73.82
                                                                               679 S WASHINGTON
VALERIE RICHARDS         STORE 526                     SHOPKO EMPLOYEE         STREET                     AFTON               WY           83110-6000                             SUPPLIERS OR VENDORS      10/26/2018            $554.18
                                                                               679 S WASHINGTON
VALERIE RICHARDS         STORE 526                     SHOPKO EMPLOYEE         STREET                     AFTON               WY           83110-6000                             SUPPLIERS OR VENDORS      11/30/2018            $455.91
                                                                               679 S WASHINGTON
VALERIE RICHARDS         STORE 526                     SHOPKO EMPLOYEE         STREET                     AFTON               WY           83110-6000                             SUPPLIERS OR VENDORS      12/22/2018            $469.90
                                                                               679 S WASHINGTON
VALERIE RICHARDS         STORE 526                     SHOPKO EMPLOYEE         STREET                     AFTON               WY           83110-6000                             SUPPLIERS OR VENDORS        1/5/2019            $709.06
VALERIE RINEHART         306 ELM ST                                                                       CLARKSTON           WA           99403                                  SUPPLIERS OR VENDORS      12/20/2018              $8.00
VALERIE RIVERA           7 CHINOOK LANE                                                                   OROFINO             ID           83544                                  SUPPLIERS OR VENDORS       11/9/2018             $10.02
VALGENE DOBSON           829 S PINE ST.                                                                   ISHPEMING           MI           49849                                  SUPPLIERS OR VENDORS      11/26/2018             $33.00
VALLEY AMBULANCE &
RESCUE SERVICE           1317 GRIGGS AVE                                                                  GRAFTON             ND           58238                                  SUPPLIERS OR VENDORS      11/26/2018             $13.58
VALLEY CO. TREASURER     501 COURT SQUARE 3                                                               GLASGOW             MT           59230                                  SUPPLIERS OR VENDORS      11/26/2018         $22,390.85
VALLEY DEVELOPMENT
GROUP                    VCBCDC                        250 WEST MAIN STREET                               VALLEY CITY         ND           58072                                  SUPPLIERS OR VENDORS      11/14/2018            $160.00
VALLEY LUMBER & SUPPLY
COMPANY                  290 N 2ND STREET              &                                                  LANDER              WY           82520                                  SUPPLIERS OR VENDORS      10/18/2018             $78.75




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                                                                                                                                                                                   Reasons for payment or    Dates of    Total Amount or
       Creditor Name                 Address1                 Address2                  Address3                   City            State       Zip              Country                   transfer          Payments           Value
VALLEY LUMBER & SUPPLY
COMPANY                    290 N 2ND STREET            &                                                  LANDER              WY           82520                                  SUPPLIERS OR VENDORS      10/25/2018            $157.50
VALLEY LUMBER & SUPPLY
COMPANY                    290 N 2ND STREET            &                                                  LANDER              WY           82520                                  SUPPLIERS OR VENDORS       11/8/2018             $78.75
VALLEY LUMBER & SUPPLY
COMPANY                    290 N 2ND STREET            &                                                  LANDER              WY           82520                                  SUPPLIERS OR VENDORS      11/15/2018             $78.75
VALLEY LUMBER & SUPPLY
COMPANY                    290 N 2ND STREET            &                                                  LANDER              WY           82520                                  SUPPLIERS OR VENDORS      11/29/2018            $207.83
VALLEY LUMBER & SUPPLY
COMPANY                    290 N 2ND STREET            &                                                  LANDER              WY           82520                                  SUPPLIERS OR VENDORS        1/4/2019            $236.25
VALLEY VIEW NRC            2313 15TH AVE                                                                  ELDORA              IA           50627                                  SUPPLIERS OR VENDORS      11/26/2018            $178.84
VALLIE STONE               2316 170TH ST                                                                  NEW HAMPTON         IA           50659                                  SUPPLIERS OR VENDORS      10/24/2018              $7.73
VALLIE STONE               2316 170TH ST                                                                  NEW HAMPTON         IA           50659                                  SUPPLIERS OR VENDORS       11/1/2018              $1.93

VALLY MOUA                 101 KENWOOD STREET NO 110                                                      WALLA WALLA         WA           99362                                  SUPPLIERS OR VENDORS      10/19/2018           $5,550.28

VALLY MOUA                 101 KENWOOD STREET NO 110                                                      WALLA WALLA         WA           99362                                  SUPPLIERS OR VENDORS       11/2/2018           $4,652.30

VALLY MOUA                 101 KENWOOD STREET NO 110                                                      WALLA WALLA         WA           99362                                  SUPPLIERS OR VENDORS      11/16/2018           $3,952.58

VALLY MOUA                 101 KENWOOD STREET NO 110                                                      WALLA WALLA         WA           99362                                  SUPPLIERS OR VENDORS      11/30/2018           $4,258.35

VALLY MOUA                 101 KENWOOD STREET NO 110                                                      WALLA WALLA         WA           99362                                  SUPPLIERS OR VENDORS      12/14/2018           $6,722.35

VALLY MOUA                 101 KENWOOD STREET NO 110                                                      WALLA WALLA         WA           99362                                  SUPPLIERS OR VENDORS      12/29/2018           $8,923.87

VALLY MOUA                 101 KENWOOD STREET NO 110                                                      WALLA WALLA         WA           99362                                  SUPPLIERS OR VENDORS       1/11/2019           $3,997.50

VALMONT INDUSTRIES INC     ACCOUNTS PAYABLE            PO BOX 358                                         VALLEY              NE           68064-0358                             SUPPLIERS OR VENDORS      11/15/2018            $123.97
                           3655 PLYMOUTH BOULEVARD
VALUATION GROUP INC        SUITE 105                                                                      PLYMOUTH            MN           55446                                  SUPPLIERS OR VENDORS      10/23/2018           $8,400.00
VAN HOLTENS                703 WEST MADISON STREET     PO BOX 66               PAM TO ORACLE              WATERLOO            WI           53594                                  SUPPLIERS OR VENDORS       11/1/2018             $457.09
VAN HOLTENS                703 WEST MADISON STREET     PO BOX 66               PAM TO ORACLE              WATERLOO            WI           53594                                  SUPPLIERS OR VENDORS      11/15/2018           $1,077.21
VAN HOLTENS                703 WEST MADISON STREET     PO BOX 66               PAM TO ORACLE              WATERLOO            WI           53594                                  SUPPLIERS OR VENDORS      11/22/2018             $506.38
VAN HOLTENS                703 WEST MADISON STREET     PO BOX 66               PAM TO ORACLE              WATERLOO            WI           53594                                  SUPPLIERS OR VENDORS      11/29/2018           $1,427.09
VAN NESS PLASTIC MOLDING
COMPANY                    VICE PRESIDENT OF SALES     400 BRIGHTON ROAD                                  CLIFTON             NJ           07017-1013                             SUPPLIERS OR VENDORS      10/18/2018           $8,843.56
VAN NESS PLASTIC MOLDING
COMPANY                    VICE PRESIDENT OF SALES     400 BRIGHTON ROAD                                  CLIFTON             NJ           07017-1013                             SUPPLIERS OR VENDORS      10/25/2018           $1,203.78
VAN NESS PLASTIC MOLDING
COMPANY                    VICE PRESIDENT OF SALES     400 BRIGHTON ROAD                                  CLIFTON             NJ           07017-1013                             SUPPLIERS OR VENDORS       11/1/2018           $2,236.62
VAN NESS PLASTIC MOLDING
COMPANY                    VICE PRESIDENT OF SALES     400 BRIGHTON ROAD                                  CLIFTON             NJ           07017-1013                             SUPPLIERS OR VENDORS       11/8/2018           $4,470.06
VAN NESS PLASTIC MOLDING
COMPANY                    VICE PRESIDENT OF SALES     400 BRIGHTON ROAD                                  CLIFTON             NJ           07017-1013                             SUPPLIERS OR VENDORS      11/15/2018           $2,079.42
VAN NESS PLASTIC MOLDING
COMPANY                    VICE PRESIDENT OF SALES     400 BRIGHTON ROAD                                  CLIFTON             NJ           07017-1013                             SUPPLIERS OR VENDORS      11/22/2018           $3,966.48
VAN NESS PLASTIC MOLDING
COMPANY                    VICE PRESIDENT OF SALES     400 BRIGHTON ROAD                                  CLIFTON             NJ           07017-1013                             SUPPLIERS OR VENDORS      11/29/2018           $3,600.84
VANDALE INDUSTRIES                                     16 EAST 34TH STREET
INCORPORATED               VICE PRESIDENT OF SALES     8TH FLOOR                                          NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS      11/16/2018           $1,344.79
VANDALE INDUSTRIES                                     16 EAST 34TH STREET
INCORPORATED               VICE PRESIDENT OF SALES     8TH FLOOR                                          NEW YORK            NY           10016                                  SUPPLIERS OR VENDORS      11/30/2018         $70,806.23
VANDER KARLSON             2534 COUNTRY SIDE DR                                                           DELAVAN             WI           53115                                  SUPPLIERS OR VENDORS      10/31/2018             $24.00



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                                                                                                                                                                                 Reasons for payment or    Dates of    Total Amount or
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VANESSA GARCIA-PRECIADO 2920 - 4TH AVE.                                                                 STEVENS POINT       WI           54481                                  SUPPLIERS OR VENDORS       11/8/2018             $23.00
VANESSA HAGGERTY        4308 MAHER AVE                                                                  MADISON             WI           53716                                  SUPPLIERS OR VENDORS       11/2/2018             $25.00

VANESSA RUPPERT         3300 HUNTINGTON AVE APT 8                                                       LINCOLN             NE           68504                                  SUPPLIERS OR VENDORS      12/21/2018             $64.98
VANGUARD GROUP
INCORPORATED            PO BOX 780216                                                                   PHILADELPHIA        PA           19178-0216                             SUPPLIERS OR VENDORS      11/27/2018            $200.00
VANGUARD GROUP
INCORPORATED            PO BOX 780216                                                                   PHILADELPHIA        PA           19178-0216                             SUPPLIERS OR VENDORS      12/14/2018         $20,000.00
VAREX IMAGING           ACCOUNTS PAYABLE              1678 S PIONEER RD                                 SALT LAKE CITY      UT           84104                                  SUPPLIERS OR VENDORS      11/26/2018            $163.48
VARRELMAN MOWING        DARREL E VARRELMAN            168 3RD STREET         BOX 333                    CHAPIN              IA           50427                                  SUPPLIERS OR VENDORS      10/18/2018             $60.00
VARRELMAN MOWING        DARREL E VARRELMAN            168 3RD STREET         BOX 333                    CHAPIN              IA           50427                                  SUPPLIERS OR VENDORS       11/1/2018             $60.00
VATER LOR               1534 NICHOLAS DRIVE                                                             EAU CLAIRE          WI           54703                                  SUPPLIERS OR VENDORS      12/21/2018             $16.00
VAUGHN ALFREY           3625 18TH STREET C                                                              LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS      11/12/2018             $51.20
VAUGHN VOGEL            422 SATUS ST                                                                    RICHLAND            WA           99352                                  SUPPLIERS OR VENDORS      12/19/2018             $10.47
                        12566 COLLECTIONS CENTER
VAXSERVE INC            DRIVE                                                                           CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS       11/7/2018           $6,766.73
                        12566 COLLECTIONS CENTER
VAXSERVE INC            DRIVE                                                                           CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      11/12/2018           $1,163.61
                        12566 COLLECTIONS CENTER
VAXSERVE INC            DRIVE                                                                           CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      11/13/2018            $387.87
                        12566 COLLECTIONS CENTER
VAXSERVE INC            DRIVE                                                                           CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      11/14/2018        $183,881.15
                        12566 COLLECTIONS CENTER
VAXSERVE INC            DRIVE                                                                           CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      11/22/2018         $40,725.87
                        12566 COLLECTIONS CENTER
VAXSERVE INC            DRIVE                                                                           CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      11/27/2018           $1,761.07
                        12566 COLLECTIONS CENTER
VAXSERVE INC            DRIVE                                                                           CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      12/18/2018        $352,191.13
                        12566 COLLECTIONS CENTER
VAXSERVE INC            DRIVE                                                                           CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      12/19/2018           $3,102.94
                        12566 COLLECTIONS CENTER
VAXSERVE INC            DRIVE                                                                           CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      12/20/2018         $42,293.78
                        12566 COLLECTIONS CENTER
VAXSERVE INC            DRIVE                                                                           CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      12/27/2018        $481,585.28
VEGA US LLC             101 3001 WAYBURNE DRIVE                                                         BURNABY             BC           V5G 4W3      CANADA                    SUPPLIERS OR VENDORS      10/19/2018          $1,367.64
VEGA US LLC             101 3001 WAYBURNE DRIVE                                                         BURNABY             BC           V5G 4W3      CANADA                    SUPPLIERS OR VENDORS      10/23/2018            $755.76
VEGA US LLC             101 3001 WAYBURNE DRIVE                                                         BURNABY             BC           V5G 4W3      CANADA                    SUPPLIERS OR VENDORS      10/26/2018            $234.00
VEGA US LLC             101 3001 WAYBURNE DRIVE                                                         BURNABY             BC           V5G 4W3      CANADA                    SUPPLIERS OR VENDORS       11/2/2018            $845.88
VEGA US LLC             101 3001 WAYBURNE DRIVE                                                         BURNABY             BC           V5G 4W3      CANADA                    SUPPLIERS OR VENDORS       11/9/2018            $903.40
VEGA US LLC             101 3001 WAYBURNE DRIVE                                                         BURNABY             BC           V5G 4W3      CANADA                    SUPPLIERS OR VENDORS      11/16/2018            $755.76
VEGA US LLC             101 3001 WAYBURNE DRIVE                                                         BURNABY             BC           V5G 4W3      CANADA                    SUPPLIERS OR VENDORS      11/27/2018            $287.76
VEGA US LLC             101 3001 WAYBURNE DRIVE                                                         BURNABY             BC           V5G 4W3      CANADA                    SUPPLIERS OR VENDORS      11/30/2018          $1,511.52
VEGA US LLC             101 3001 WAYBURNE DRIVE                                                         BURNABY             BC           V5G 4W3      CANADA                    SUPPLIERS OR VENDORS       12/4/2018            $377.88
VERA HORN               82534 HWY 45                                                                    NEWMAN GROVE        NE           68758                                  SUPPLIERS OR VENDORS      10/24/2018             $53.54
VERA HORN               82534 HWY 45                                                                    NEWMAN GROVE        NE           68758                                  SUPPLIERS OR VENDORS      10/30/2018             $13.38

VERA SCHUMACHER         2870 JUNIPER DRIVE APT. 135                                                     LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS      10/24/2018             $51.20

VERA SCHUMACHER         2870 JUNIPER DRIVE APT. 135                                                     LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS      11/12/2018             $12.80
                        8210 UNIVERSITY EXECUTIVE
VERBATIM AMERICAS LLC   PARK STE 300                                                                    CHARLOTTE           NC           28262-0000                             SUPPLIERS OR VENDORS      10/19/2018         $18,270.17
                        8210 UNIVERSITY EXECUTIVE
VERBATIM AMERICAS LLC   PARK STE 300                                                                    CHARLOTTE           NC           28262-0000                             SUPPLIERS OR VENDORS      10/26/2018         $30,885.00



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                          8210 UNIVERSITY EXECUTIVE
VERBATIM AMERICAS LLC     PARK STE 300                                                                  CHARLOTTE           NC           28262-0000                             SUPPLIERS OR VENDORS       11/2/2018         $26,555.88
                          8210 UNIVERSITY EXECUTIVE
VERBATIM AMERICAS LLC     PARK STE 300                                                                  CHARLOTTE           NC           28262-0000                             SUPPLIERS OR VENDORS       11/9/2018         $17,772.67
                          8210 UNIVERSITY EXECUTIVE
VERBATIM AMERICAS LLC     PARK STE 300                                                                  CHARLOTTE           NC           28262-0000                             SUPPLIERS OR VENDORS      11/16/2018         $22,447.29
                          8210 UNIVERSITY EXECUTIVE
VERBATIM AMERICAS LLC     PARK STE 300                                                                  CHARLOTTE           NC           28262-0000                             SUPPLIERS OR VENDORS      11/23/2018         $31,469.37
                          8210 UNIVERSITY EXECUTIVE
VERBATIM AMERICAS LLC     PARK STE 300                                                                  CHARLOTTE           NC           28262-0000                             SUPPLIERS OR VENDORS      11/30/2018         $22,102.95

VERIDIAN HEALTHCARE LLC   1175 LAKESIDE DRIVE                                                           GURNEE              IL           60031-2489                             SUPPLIERS OR VENDORS      10/18/2018         $15,808.80

VERIDIAN HEALTHCARE LLC   1175 LAKESIDE DRIVE                                                           GURNEE              IL           60031-2489                             SUPPLIERS OR VENDORS      10/25/2018         $13,432.50

VERIDIAN HEALTHCARE LLC   1175 LAKESIDE DRIVE                                                           GURNEE              IL           60031-2489                             SUPPLIERS OR VENDORS       11/1/2018         $14,326.50

VERIDIAN HEALTHCARE LLC   1175 LAKESIDE DRIVE                                                           GURNEE              IL           60031-2489                             SUPPLIERS OR VENDORS       11/8/2018         $14,178.53

VERIDIAN HEALTHCARE LLC   1175 LAKESIDE DRIVE                                                           GURNEE              IL           60031-2489                             SUPPLIERS OR VENDORS      11/15/2018         $27,476.05

VERIDIAN HEALTHCARE LLC   1175 LAKESIDE DRIVE                                                           GURNEE              IL           60031-2489                             SUPPLIERS OR VENDORS      11/22/2018         $15,781.00

VERIDIAN HEALTHCARE LLC   1175 LAKESIDE DRIVE                                                           GURNEE              IL           60031-2489                             SUPPLIERS OR VENDORS      11/29/2018         $24,476.10
                                                      4060 SOLUTIONS
VERIFONE INCORPORATED     LOCKBOX 774060              CENTER                                            CHICAGO             IL           60677                                  SUPPLIERS OR VENDORS       11/2/2018            $187.26
                                                      4060 SOLUTIONS
VERIFONE INCORPORATED     LOCKBOX 774060              CENTER                                            CHICAGO             IL           60677                                  SUPPLIERS OR VENDORS      11/16/2018            $561.78
                                                      4060 SOLUTIONS
VERIFONE INCORPORATED     LOCKBOX 774060              CENTER                                            CHICAGO             IL           60677                                  SUPPLIERS OR VENDORS      11/30/2018            $374.52
VERITIV OPERATING                                     7472 COLLECTION
COMPANY                   VERITIV - APPLETON          CENTER DRIVE                                      CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      12/17/2018            $116.26
VERITIV OPERATING                                     7472 COLLECTION
COMPANY                   VERITIV - APPLETON          CENTER DRIVE                                      CHICAGO             IL           60693                                  SUPPLIERS OR VENDORS      12/21/2018          $5,617.44
VERLYN TIMMER             10256 330TH ST                                                                ELLSWORTH           MN           56129                                  SUPPLIERS OR VENDORS      10/30/2018              $3.00
VERN BOHLANDER            1101 E 9TH ST #2                                                              SIOUX FALLS         SD           57103                                  SUPPLIERS OR VENDORS      10/24/2018             $48.00
VERN BOHLANDER            1101 E 9TH ST #2                                                              SIOUX FALLS         SD           57103                                  SUPPLIERS OR VENDORS      11/13/2018             $12.00
VERN CASTER               814 STRAIT AVE                                                                WORTHINGTON         MN           56187                                  SUPPLIERS OR VENDORS      10/30/2018             $28.87
VERN RYDBERG              43159 137TH ST                                                                WEBSTER             SD           57274                                  SUPPLIERS OR VENDORS      11/30/2018            $105.39
VERNA ANDERSON            1013 HURSP AVE                                                                MITCHELL            SD           57301                                  SUPPLIERS OR VENDORS      11/28/2018             $11.20
VERNA ANDERSON            1013 HURSP AVE                                                                MITCHELL            SD           57301                                  SUPPLIERS OR VENDORS       12/7/2018             $44.80
VERNA LUTZ                PO BOX 17975                                                                  MISSOULA            MT           59808                                  SUPPLIERS OR VENDORS      11/26/2018             $53.76
VERNAL ANDERSEN           1016 W KILLARNEY ST                                                           SIOUX FALLS         SD           57108                                  SUPPLIERS OR VENDORS      11/29/2018             $48.00
VERNAL ANDERSEN           1016 W KILLARNEY ST                                                           SIOUX FALLS         SD           57108                                  SUPPLIERS OR VENDORS      11/30/2018             $12.00
VERNELLE FERGUSON         13132 PLEASANT VALLEY RD                                                      STURGIS             SD           57785                                  SUPPLIERS OR VENDORS       12/7/2018             $38.68
VERNON HANSVICK           STORE 2-023                 SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/15/2018            $144.59
VERNON WARNER             2932 W 2100 N                                                                 CLEARFIELD          UT           84015                                  SUPPLIERS OR VENDORS      10/26/2018             $42.00
VERONICA SANTONI          STORE 048                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/19/2018             $73.62
VERONIQUE LUNDULA         2206 S JEFFERSON                                                              MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS       11/5/2018             $17.86
VERSA PET INC             322 HORNER AVE                                                                TORONTO             ON           M8W 1Z3      CANADA                    SUPPLIERS OR VENDORS      10/18/2018         $10,199.30
VERSA PET INC             322 HORNER AVE                                                                TORONTO             ON           M8W 1Z3      CANADA                    SUPPLIERS OR VENDORS      10/23/2018         $10,633.74
VERSA PET INC             322 HORNER AVE                                                                TORONTO             ON           M8W 1Z3      CANADA                    SUPPLIERS OR VENDORS      11/29/2018        $147,423.00
VERSA PET INC             322 HORNER AVE                                                                TORONTO             ON           M8W 1Z3      CANADA                    SUPPLIERS OR VENDORS       12/4/2018         $49,520.72
VERSI CONYERS             3407 LAFAYETTE AVE                                                            OMAHA               NE           68131                                  SUPPLIERS OR VENDORS      12/19/2018              $2.00



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VERSI CONYERS            3407 LAFAYETTE AVE                                                          OMAHA               NE           68131                                  SUPPLIERS OR VENDORS        12/19/2018               $2.00
VERTICAL
COMMUNICATIONS
INCORPORATED             PO BOX 654184                                                               DALLAS              TX           75265-4184                             SUPPLIERS OR VENDORS       10/19/2018           $3,185.48
VERTICAL
COMMUNICATIONS
INCORPORATED             PO BOX 654184                                                               DALLAS              TX           75265-4184                             SUPPLIERS OR VENDORS       10/30/2018             $530.00
VERTIV SERVICES INC      BOX 70474                                                                   CHICAGO             IL           60673-0001                             SUPPLIERS OR VENDORS        11/9/2018          $92,085.68
VESTURE GROUP            CIT GROUP COMMERCIAL
INCORPORATED             SERVICES INC              PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       10/19/2018          $29,686.90
VESTURE GROUP            CIT GROUP COMMERCIAL
INCORPORATED             SERVICES INC              PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS        11/8/2018          $38,890.93
VG ENTERPRISES DBA
ALDRICHS                 PO BOX 985                                                                  POWELL              WY           82435                                  SUPPLIERS OR VENDORS       10/25/2018             $262.50
VG ENTERPRISES DBA
ALDRICHS                 PO BOX 985                                                                  POWELL              WY           82435                                  SUPPLIERS OR VENDORS       11/29/2018              $23.64
VIANNA STIBAL            425 WINFIELD LANE                                                           COLUMBIA FALLS      MT           59912                                  SUPPLIERS OR VENDORS        11/7/2018             $150.00
VICKEE VANETTA           STORE 637                 SHOPKO EMPLOYEE        1215 E MAIN STREET         ATTICA              IN           47918                                  SUPPLIERS OR VENDORS       11/15/2018              $47.09
VICKI BESSETTE           613 N TONKA ST                                                              APPLETON            WI           54911                                  SUPPLIERS OR VENDORS        11/8/2018             $162.00
VICKI DECKER             718 PARK AVENUE                                                             DELAVAN             WI           53115                                  SUPPLIERS OR VENDORS        12/4/2018             $393.57
VICKI FLYNN              803 ESTES DR                                                                DEPERE              WI           54115                                  SUPPLIERS OR VENDORS       10/29/2018               $9.04
VICKI JOHNSON            112 S. BRIDGEMAN STREET                                                     NORTHROP            MN           56031                                  SUPPLIERS OR VENDORS       12/20/2018              $45.00
VICKI PFLASTERER         4227 WEST CAPITAL AVE.                                                      GRAND ISLAND        NE           68803                                  SUPPLIERS OR VENDORS        12/7/2018              $23.99
VICKI RUSSELL            525 E. 1ST ST. N                                                            TRUMAN              MN           56088                                  SUPPLIERS OR VENDORS       10/22/2018               $3.00
VICKI RUSSELL            525 E. 1ST ST. N                                                            TRUMAN              MN           56088                                  SUPPLIERS OR VENDORS        11/5/2018               $3.00
VICKI SCHAAF             STORE 2-695               SHOPKO EMPLOYEE        PO BOX 383                 BROKEN BOW          NE           68822                                  SUPPLIERS OR VENDORS       12/27/2018             $141.05
VICKI UNDERHILL          726 BROWN STREET                                                            NORWAY              MI           49870                                  SUPPLIERS OR VENDORS       11/26/2018              $36.00
                         5844 SO TREASURE FARM
VICKIE ESPARZA           CIRCLE                                                                      SALT LAKE CITY      UT           84123                                  SUPPLIERS OR VENDORS       11/15/2018              $26.00
VICKIE HUNT              2301 WILLONA DR                                                             EUGENE              OR           97408                                  SUPPLIERS OR VENDORS        11/6/2018               $3.97
VICKIE SIGMUND           924 WEST 15TH AVE                                                           MITCHELL            SD           57301                                  SUPPLIERS OR VENDORS        11/1/2018              $10.00
VICKIE SIGMUND           924 WEST 15TH AVE                                                           MITCHELL            SD           57301                                  SUPPLIERS OR VENDORS       12/10/2018              $10.00
VICKIE SMITH             52991 295TH ST                                                              AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS        11/8/2018              $15.00
                         1814 NORTH WISCONSIN
VICKY LOKEN              STREET                                                                      RACINE              WI           53402                                  SUPPLIERS OR VENDORS       12/19/2018              $10.00
VICKY NAGEL              STORE 2-671               SHOPKO EMPLOYEE        PO BOX 469                 WAUKON              IA           52172                                  SUPPLIERS OR VENDORS       10/18/2018             $141.70
VICKY NAGEL              STORE 2-671               SHOPKO EMPLOYEE        PO BOX 469                 WAUKON              IA           52172                                  SUPPLIERS OR VENDORS       10/25/2018             $146.06
VICKY NAGEL              STORE 2-671               SHOPKO EMPLOYEE        PO BOX 469                 WAUKON              IA           52172                                  SUPPLIERS OR VENDORS        11/1/2018             $141.70
VICKY NAGEL              STORE 2-671               SHOPKO EMPLOYEE        PO BOX 469                 WAUKON              IA           52172                                  SUPPLIERS OR VENDORS        11/8/2018             $146.06
VICKY NAGEL              STORE 2-671               SHOPKO EMPLOYEE        PO BOX 469                 WAUKON              IA           52172                                  SUPPLIERS OR VENDORS       11/15/2018             $141.70
VICKY NAGEL              STORE 2-671               SHOPKO EMPLOYEE        PO BOX 469                 WAUKON              IA           52172                                  SUPPLIERS OR VENDORS       11/22/2018             $146.06
VICKY NAGEL              STORE 2-671               SHOPKO EMPLOYEE        PO BOX 469                 WAUKON              IA           52172                                  SUPPLIERS OR VENDORS       11/29/2018             $141.70
VICKY NAGEL              STORE 2-671               SHOPKO EMPLOYEE        PO BOX 469                 WAUKON              IA           52172                                  SUPPLIERS OR VENDORS        12/6/2018             $147.15
VICKY NAGEL              STORE 2-671               SHOPKO EMPLOYEE        PO BOX 469                 WAUKON              IA           52172                                  SUPPLIERS OR VENDORS       12/13/2018             $141.70
VICTOR BELLRICHARD       825 W. WALWORTH AVENUE                                                      WHITEWATER          WI           53190                                  SUPPLIERS OR VENDORS       11/30/2018              $22.50
VICTOR DAHLMAN           3726 S 47TH ST                                                              LINCOLN             NE           68506                                  SUPPLIERS OR VENDORS       12/10/2018              $11.98
VICTOR DAHLMAN           3726 S 47TH ST                                                              LINCOLN             NE           68506                                  SUPPLIERS OR VENDORS       12/13/2018              $47.94
VICTOR WOLTEMATH         62044 720 RD                                                                ELK CREEK           NE           68348                                  SUPPLIERS OR VENDORS       10/18/2018              $60.85
VICTOR WOLTEMATH         62044 720 RD                                                                ELK CREEK           NE           68348                                  SUPPLIERS OR VENDORS       10/19/2018              $13.15
VICTORIA ABBEY           P O BOX 513                                                                 NEENAH              WI           54956                                  SUPPLIERS OR VENDORS       11/12/2018              $80.00

VICTORIA EBBEN SVITAVSKY 546 W FRANKLIN ST                                                           WAUPUN              WI           53963                                  SUPPLIERS OR VENDORS        11/9/2018              $47.83
VICTORIA ERDMAN          STORE 739                 SHOPKO EMPLOYEE        710 COUNTY ROAD 21 S       GLENWOOD            MN           56334                                  SUPPLIERS OR VENDORS        11/8/2018              $83.39
VICTORIA ERDMAN          STORE 739                 SHOPKO EMPLOYEE        710 COUNTY ROAD 21 S       GLENWOOD            MN           56334                                  SUPPLIERS OR VENDORS        12/6/2018              $29.43



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                                                                                                                                                                              Reasons for payment or    Dates of     Total Amount or
      Creditor Name               Address1              Address2                  Address3                City               State       Zip              Country                    transfer          Payments            Value
VICTORIA FAGAN          W4765 CLIFF VIEW DR                                                         SHERWOOD            WI           54169                                  SUPPLIERS OR VENDORS        10/25/2018                $5.00
VICTORIA KOIVISTO       311 NORTH HWY 141                                                           CRYSTAL FALLS       MI           49920                                  SUPPLIERS OR VENDORS         11/5/2018               $39.04
VICTORIA KONICEK        STORE 4-019              SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        10/26/2018               $43.60
VICTORIA KONICEK        STORE 4-019              SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         1/15/2019               $35.97
VICTORIA LAIB           3345 LINDSAY AVENUE                                                         BOISE               ID           83705                                  SUPPLIERS OR VENDORS         11/9/2018               $13.98
VICTORIA NOLTE          220 N MADISON ST APT C                                                      EVANSVILLE          WI           53536                                  SUPPLIERS OR VENDORS        12/18/2018               $25.00
VICTORIA THOMAS         244 E RIDGE RD                                                              OREM                UT           84057                                  SUPPLIERS OR VENDORS        11/30/2018                $5.00
                                                                         800 S WASHINGTON
VIJAYA GADDIPATI        STORE 2-746              SHOPKO EMPLOYEE         AVENUE                     MADISON             SD           57042                                  SUPPLIERS OR VENDORS       10/25/2018               $65.40
VIKING COCA COLA
BOTTLING                PO BOX 806                                                                  ST CLOUD            MN           56302                                  SUPPLIERS OR VENDORS       10/18/2018           $18,323.20
VIKING COCA COLA
BOTTLING                PO BOX 806                                                                  ST CLOUD            MN           56302                                  SUPPLIERS OR VENDORS       10/25/2018           $83,659.96
VIKING COCA COLA
BOTTLING                PO BOX 806                                                                  ST CLOUD            MN           56302                                  SUPPLIERS OR VENDORS        11/1/2018           $15,183.11
VIKING COCA COLA
BOTTLING                PO BOX 806                                                                  ST CLOUD            MN           56302                                  SUPPLIERS OR VENDORS        11/8/2018           $11,159.33
VIKING COCA COLA
BOTTLING                PO BOX 806                                                                  ST CLOUD            MN           56302                                  SUPPLIERS OR VENDORS       11/15/2018           $11,543.96
VIKING COCA COLA
BOTTLING                PO BOX 806                                                                  ST CLOUD            MN           56302                                  SUPPLIERS OR VENDORS       11/22/2018            $6,329.50
VIKING COCA COLA
BOTTLING                PO BOX 806                                                                  ST CLOUD            MN           56302                                  SUPPLIERS OR VENDORS       11/29/2018           $10,565.32
VIKING COCA COLA
BOTTLING                PO BOX 806               0                                                  ST CLOUD            MN           56302                                  SUPPLIERS OR VENDORS        12/5/2018                $1.00
VIKING COCA COLA
BOTTLING                PO BOX 806                                                                  ST CLOUD            MN           56302                                  SUPPLIERS OR VENDORS       12/20/2018           $31,556.77
VIKING COCA COLA
BOTTLING                PO BOX 806                                                                  ST CLOUD            MN           56302                                  SUPPLIERS OR VENDORS       12/21/2018              $656.65
VIKING COCA COLA
BOTTLING                PO BOX 806                                                                  ST CLOUD            MN           56302                                  SUPPLIERS OR VENDORS       12/28/2018           $50,899.09
VIKKI VAN EGEREN        3266 WINDLAND DR                                                            GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS        11/9/2018               $24.00
VILLA LIGHTING SUPPLY
INCORPORATED            2929 CHOUTEAU AVENUE                                                        ST LOUIS            MO           63103-2903                             SUPPLIERS OR VENDORS        11/2/2018           $12,927.66
VILLA LIGHTING SUPPLY
INCORPORATED            2929 CHOUTEAU AVENUE                                                        ST LOUIS            MO           63103-2903                             SUPPLIERS OR VENDORS        11/9/2018            $9,896.31
VILLA LIGHTING SUPPLY
INCORPORATED            2929 CHOUTEAU AVENUE                                                        ST LOUIS            MO           63103-2903                             SUPPLIERS OR VENDORS        12/7/2018           $10,360.11
VILLAGE COMPANY         10000 VALLEY VIEW ROAD                                                      EDEN PRAIRIE        MN           55344-0000                             SUPPLIERS OR VENDORS        11/1/2018            $6,340.86
VILLAGE COMPANY         10000 VALLEY VIEW ROAD                                                      EDEN PRAIRIE        MN           55344-0000                             SUPPLIERS OR VENDORS        11/8/2018            $1,722.05
VILLAGE COMPANY         10000 VALLEY VIEW ROAD                                                      EDEN PRAIRIE        MN           55344-0000                             SUPPLIERS OR VENDORS       11/29/2018            $4,260.44

VILLAGE OF ASHWAUBENON 2155 HOLMGREN WAY                                                            GREEN BAY           WI           54304-4605                             SUPPLIERS OR VENDORS       11/26/2018              $578.50

VILLAGE OF ASHWAUBENON 2155 HOLMGREN WAY                                                            GREEN BAY           WI           54304-4605                             SUPPLIERS OR VENDORS       12/17/2018               $25.00

VILLAGE OF ASHWAUBENON 2155 HOLMGREN WAY                                                            GREEN BAY           WI           54304-4605                             SUPPLIERS OR VENDORS       12/17/2018               $50.00
VINCE HAIZEL           1317 N 10TH AVE                                                              WEST BEND           WI           53090                                  SUPPLIERS OR VENDORS       11/29/2018               $41.60
VINCE HASELEU          1118 LISBON ST.                                                              WATERTOWN           WI           53098                                  SUPPLIERS OR VENDORS        12/7/2018               $25.00
                                                                         6475 US HIGHWAY 93
VINCENT CALLES          STORE 797                SHOPKO EMPLOYEE         SOUTH #15                  WHITEFISH           MT           59937                                  SUPPLIERS OR VENDORS       12/29/2018              $101.37
VINCENT KRAUSE          1239 HILLERBRAND DRIVE                                                      JEFFERSON           WI           53549                                  SUPPLIERS OR VENDORS       11/14/2018               $63.00
VINCENT SEIKER          5824 S 45TH STREET                                                          LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS       10/29/2018               $47.94
VINCENT SEIKER          5824 S 45TH STREET                                                          LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS        11/1/2018               $11.98



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                                                                                                                                                                                Reasons for payment or    Dates of     Total Amount or
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VINTAGE ITALIA LLC         513 MAIN STREET                                                            WINDERMERE          FL           34786                                  SUPPLIERS OR VENDORS        11/22/2018           $15,301.44
VINTAGE ITALIA LLC         513 MAIN STREET                                                            WINDERMERE          FL           34786                                  SUPPLIERS OR VENDORS        11/29/2018            $2,993.76
VINTON UNLIMITED           310 A AVENUE                                                               VINTON              IA           52349                                  SUPPLIERS OR VENDORS         11/2/2018              $500.00
VINTON-SHELLSBURG HIGH
SCHOOL                     210 WEST 21ST STREET                                                       VINTON              IA           52349                                  SUPPLIERS OR VENDORS       10/29/2018               $50.00
VIOLA CHAO                 4116 RICHLIE ST                                                            MISSOULA            MT           59808                                  SUPPLIERS OR VENDORS       11/26/2018               $24.43
VIOLA CHAO                 4116 RICHLIE ST                                                            MISSOULA            MT           59808                                  SUPPLIERS OR VENDORS       11/26/2018               $29.33
VIOLA HARDIE               PO BOX 150                                                                 REDFIELD            SD           57469                                  SUPPLIERS OR VENDORS       10/25/2018               $62.04
VIOLET BECHEL              124 HIDDEN VALLEY                                                          MINNESOTA CITY      MN           55959                                  SUPPLIERS OR VENDORS       12/13/2018               $37.99
VIOLET MAIER               BOX 23                                                                     FORBES              ND           58439                                  SUPPLIERS OR VENDORS        11/1/2018               $48.64
VIR JEAN ADAMS             328 E 7TH                                                                  AINSWORTH           NE           69210                                  SUPPLIERS OR VENDORS       10/18/2018               $53.54
VIR JEAN ADAMS             328 E 7TH                                                                  AINSWORTH           NE           69210                                  SUPPLIERS OR VENDORS        11/1/2018               $13.38
VIRGINIA FALCK             1813 PARTRDIGE ST                                                          DE PERE             WI           54115                                  SUPPLIERS OR VENDORS       10/26/2018              $172.71
VIRGINIA GIFT BRANDS
SMITH MT                   PO BOX 934101                                                              ATLANTA             GA           31193-4101                             SUPPLIERS OR VENDORS       10/18/2018            $1,004.54
VIRGINIA GIFT BRANDS
SMITH MT                   PO BOX 934101                                                              ATLANTA             GA           31193-4101                             SUPPLIERS OR VENDORS       10/25/2018            $1,236.60
VIRGINIA GIFT BRANDS
SMITH MT                   PO BOX 934101                                                              ATLANTA             GA           31193-4101                             SUPPLIERS OR VENDORS        11/1/2018              $795.40
VIRGINIA GIFT BRANDS
SMITH MT                   PO BOX 934101                                                              ATLANTA             GA           31193-4101                             SUPPLIERS OR VENDORS        11/8/2018              $668.10
VIRGINIA GIFT BRANDS
SMITH MT                   PO BOX 934101                                                              ATLANTA             GA           31193-4101                             SUPPLIERS OR VENDORS       11/15/2018            $2,032.40
VIRGINIA GIFT BRANDS
SMITH MT                   PO BOX 934101                                                              ATLANTA             GA           31193-4101                             SUPPLIERS OR VENDORS       11/22/2018            $1,823.20
VIRGINIA GIFT BRANDS
SMITH MT                   PO BOX 934101                                                              ATLANTA             GA           31193-4101                             SUPPLIERS OR VENDORS       11/29/2018            $3,684.20
VIRGINIA HUGHES            4212 SOUTH 21ST STREET                                                     OMAHA               NE           68107                                  SUPPLIERS OR VENDORS        11/1/2018               $11.78
VIRGINIA KILE              2902 TEXAS FERRY RD                                                        ROSALIA             WA           99170                                  SUPPLIERS OR VENDORS       11/30/2018               $31.83
VIRGINIA KILE              2902 TEXAS FERRY RD                                                        ROSALIA             WA           99170                                  SUPPLIERS OR VENDORS        12/7/2018              $150.17
VIRGINIA LASZ              20802 E. OLD TRUAX RD.                                                     FAIRFIELD           WA           99012                                  SUPPLIERS OR VENDORS       10/24/2018               $54.40
VIRGINIA LASZ              20802 E. OLD TRUAX RD.                                                     FAIRFIELD           WA           99012                                  SUPPLIERS OR VENDORS       10/31/2018               $13.60
VIRGINIA LIEN              333 GALENA                                                                 WORTHINGTON         MN           56187                                  SUPPLIERS OR VENDORS        12/7/2018               $15.30
VIRGINIA NELSON            123 NELSON RD                                                              CRYSTAL FALLS       MI           49920                                  SUPPLIERS OR VENDORS         1/7/2019                $9.76
VIRGINIA NELSON            123 NELSON RD                                                              CRYSTAL FALLS       MI           49920                                  SUPPLIERS OR VENDORS         1/7/2019               $39.04
VIRGINIA RIEBEL            4040 N 38TH ST                                                             LINCOLN             NE           68504                                  SUPPLIERS OR VENDORS       10/26/2018               $13.15
VIRGINIA RIEBEL            4040 N 38TH ST                                                             LINCOLN             NE           68504                                  SUPPLIERS OR VENDORS       12/17/2018               $60.85
VIRGINIA SCHWARZ           2417 VICTORIA DRIVE                                                        MANITOWOC           WI           54220                                  SUPPLIERS OR VENDORS        11/1/2018               $50.00
VIRGINIA STROM             2792 KEYSTONE ST                                                           MORA                MN           55051                                  SUPPLIERS OR VENDORS       11/12/2018               $76.00
VIRIDIAM LLC               3030 LOWELL DRIVE                                                          GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS        11/9/2018              $327.21
VIRIDIAM LLC               3030 LOWELL DRIVE                                                          GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS       11/30/2018              $490.81
VIRIDIAM LLC               3030 LOWELL DRIVE                                                          GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS         1/5/2019            $1,619.22
VIRMAX LLC                 10923-25 MCCORMICK RD                                                      HUNT VALLEY         MD           21031                                  SUPPLIERS OR VENDORS       10/18/2018              $648.00
VIRMAX LLC                 10923-25 MCCORMICK RD                                                      HUNT VALLEY         MD           21031                                  SUPPLIERS OR VENDORS       10/25/2018              $360.00
VIRMAX LLC                 10923-25 MCCORMICK RD                                                      HUNT VALLEY         MD           21031                                  SUPPLIERS OR VENDORS        11/1/2018              $360.00
VIRMAX LLC                 10923-25 MCCORMICK RD                                                      HUNT VALLEY         MD           21031                                  SUPPLIERS OR VENDORS       11/15/2018              $334.80
VIRMAX LLC                 10923-25 MCCORMICK RD                                                      HUNT VALLEY         MD           21031                                  SUPPLIERS OR VENDORS       11/22/2018              $720.00
VIRMAX LLC                 10923-25 MCCORMICK RD                                                      HUNT VALLEY         MD           21031                                  SUPPLIERS OR VENDORS       11/29/2018            $1,080.00
VISION CONCEPTS            1740 COLLEGE WAY                                                           FERGUS FALLS        MN           56537                                  SUPPLIERS OR VENDORS        11/8/2018              $518.63
VISION CONCEPTS            1740 COLLEGE WAY                                                           FERGUS FALLS        MN           56537                                  SUPPLIERS OR VENDORS       11/29/2018               $74.09
VISION EASE LENS INSIGHT
EQUITY                     NW 6083                  PO BOX 1450                                       MINNEAPOLIS         MN           55485-6083                             SUPPLIERS OR VENDORS       11/15/2018            $3,608.88
VISION EASE LENS INSIGHT
EQUITY                     NW 6083                  PO BOX 1450                                       MINNEAPOLIS         MN           55485-6083                             SUPPLIERS OR VENDORS       12/18/2018            $5,108.92



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VITABATH INC            333 RIMROCK ROAD                                                                TORONTO             ON           M3J 3J9    CANADA                      SUPPLIERS OR VENDORS        12/11/2018              $335.84
VIVA DISTRIBUTING LLC   PO BOX 679173                                                                   DALLAS              TX           75267-9173                             SUPPLIERS OR VENDORS        10/25/2018              $707.81
VIVA DISTRIBUTING LLC   PO BOX 679173                                                                   DALLAS              TX           75267-9173                             SUPPLIERS OR VENDORS         11/1/2018              $288.80
VIVA DISTRIBUTING LLC   PO BOX 679173                                                                   DALLAS              TX           75267-9173                             SUPPLIERS OR VENDORS         11/8/2018              $303.11
VIVA DISTRIBUTING LLC   PO BOX 679173                                                                   DALLAS              TX           75267-9173                             SUPPLIERS OR VENDORS        11/22/2018              $373.30
VIVA DISTRIBUTING LLC   PO BOX 679173                                                                   DALLAS              TX           75267-9173                             SUPPLIERS OR VENDORS        11/29/2018              $550.60
VIVA DISTRIBUTING LLC   PO BOX 679173                                                                   DALLAS              TX           75267-9173                             SUPPLIERS OR VENDORS        12/20/2018            $1,395.44

VIVIAN LUTZ             1410 TWO MILE AVE             APT 315                                           WISCONSIN RAPIDS WI              54494                                  SUPPLIERS OR VENDORS       11/14/2018                $4.01
VIVIAN MILLER           3212 N. AMMON RD.                                                               IDAHO FALLS      ID              83401                                  SUPPLIERS OR VENDORS        11/1/2018                $9.70
VIVIAN MILLER           3212 N. AMMON RD.                                                               IDAHO FALLS      ID              83401                                  SUPPLIERS OR VENDORS        11/1/2018               $12.04

VIZMA VUKSON            421 MADISON ST                                                                  WISCONSIN RAPIDS WI              54494                                  SUPPLIERS OR VENDORS        11/5/2018               $42.24
VLC DISTRIBUTION        CIT GROUP COMMERCIAL
COMPANY                 SERVICES INC                  PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       10/19/2018            $2,710.55
VLC DISTRIBUTION        CIT GROUP COMMERCIAL
COMPANY                 SERVICES INC                  PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS        11/8/2018            $1,752.52
VLC DISTRIBUTION        CIT GROUP COMMERCIAL
COMPANY                 SERVICES INC                  PO BOX 1036                                       CHARLOTTE      NC                28201-1036                             SUPPLIERS OR VENDORS        12/5/2018           $11,876.72
VON JONES JR            PO BOX 1321                                                                     MARSHALL       MN                56258                                  SUPPLIERS OR VENDORS       10/29/2018               $32.30
VONETTA WOLLEAT         4507 W 5TH AVE                                                                  KENNEWICK      WA                99336                                  SUPPLIERS OR VENDORS       12/10/2018                $1.45
                                                                                                        BURLINGTON L7R
VOORTMAN COOKIES        VICE PRESIDENT OF SALES       4475 N SERVICE ROAD    PO BOX 5206                4L4            ON                00000-0000                             SUPPLIERS OR VENDORS       10/25/2018           $28,607.04
                        1710 E GUTHRIE AVENUE SUITE
VOSS DISTRIBUTING LLC   E                             PAM TO ORACLE                                     DES MOINES          IA           50316-2155                             SUPPLIERS OR VENDORS       10/19/2018              $296.48
                        1710 E GUTHRIE AVENUE SUITE
VOSS DISTRIBUTING LLC   E                             PAM TO ORACLE                                     DES MOINES          IA           50316-2155                             SUPPLIERS OR VENDORS       10/26/2018              $644.58
                        1710 E GUTHRIE AVENUE SUITE
VOSS DISTRIBUTING LLC   E                             PAM TO ORACLE                                     DES MOINES          IA           50316-2155                             SUPPLIERS OR VENDORS        11/2/2018              $474.38
                        1710 E GUTHRIE AVENUE SUITE
VOSS DISTRIBUTING LLC   E                             PAM TO ORACLE                                     DES MOINES          IA           50316-2155                             SUPPLIERS OR VENDORS        11/9/2018              $192.50
                        1710 E GUTHRIE AVENUE SUITE
VOSS DISTRIBUTING LLC   E                             PAM TO ORACLE                                     DES MOINES          IA           50316-2155                             SUPPLIERS OR VENDORS       11/16/2018              $216.50
                        1710 E GUTHRIE AVENUE SUITE
VOSS DISTRIBUTING LLC   E                             PAM TO ORACLE                                     DES MOINES          IA           50316-2155                             SUPPLIERS OR VENDORS       11/23/2018              $680.39
                        1710 E GUTHRIE AVENUE SUITE
VOSS DISTRIBUTING LLC   E                             PAM TO ORACLE                                     DES MOINES          IA           50316-2155                             SUPPLIERS OR VENDORS       11/30/2018              $116.10
                        1710 E GUTHRIE AVENUE SUITE
VOSS DISTRIBUTING LLC   E                             PAM TO ORACLE                                     DES MOINES          IA           50316-2155                             SUPPLIERS OR VENDORS        12/4/2018              $258.32
                        1710 E GUTHRIE AVENUE SUITE
VOSS DISTRIBUTING LLC   E                             PAM TO ORACLE                                     DES MOINES          IA           50316-2155                             SUPPLIERS OR VENDORS       12/20/2018            $1,110.13
                        1710 E GUTHRIE AVENUE SUITE
VOSS DISTRIBUTING LLC   E                             PAM TO ORACLE                                     DES MOINES          IA           50316-2155                             SUPPLIERS OR VENDORS       12/21/2018              $176.29
                        1710 E GUTHRIE AVENUE SUITE
VOSS DISTRIBUTING LLC   E                             PAM TO ORACLE                                     DES MOINES          IA           50316-2155                             SUPPLIERS OR VENDORS       12/27/2018              $334.78
VPO SERVICES LLC        28697 PIENZA COURT                                                              BONITA SPRINGS      FL           34135                                  SUPPLIERS OR VENDORS       11/16/2018            $4,635.00
                                                      3333 QUALITY DRIVE
VSP                     ATTN JULIE WISWELL,FINANCE    M/S 228                                           RANCHO CORDOVA CA                95670                                  SUPPLIERS OR VENDORS        12/7/2018              $125.98
VTECH COMMUNICATIONS
INC                     DEPT 5401 5402 5403 5405                                                        BEAVERTON           OR           97008                                  SUPPLIERS OR VENDORS       10/19/2018            $5,124.36
VTECH COMMUNICATIONS
INC                     DEPT 5401 5402 5403 5405                                                        BEAVERTON           OR           97008                                  SUPPLIERS OR VENDORS       10/20/2018           $38,973.96
VTECH COMMUNICATIONS
INC                     DEPT 5401 5402 5403 5405                                                        BEAVERTON           OR           97008                                  SUPPLIERS OR VENDORS        11/8/2018              $219.10



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      Creditor Name                Address1                Address2                  Address3                     City          State       Zip              Country                   transfer          Payments           Value
VTECH COMMUNICATIONS
INC                      DEPT 5401 5402 5403 5405                                                      BEAVERTON           OR           97008                                  SUPPLIERS OR VENDORS      11/15/2018        $203,145.50
WA ENTERPRISES LLC       17419 RIVIERA DRIVE                                                           OMAHA               NE           68136                                  SUPPLIERS OR VENDORS      11/15/2018         $11,733.33
WA ENTERPRISES LLC       17419 RIVIERA DRIVE                                                           OMAHA               NE           68136                                  SUPPLIERS OR VENDORS      12/19/2018         $11,733.33
                         TAXPAYER ACCOUNT
WA STATE DEPT OF REVENUE ADMINISTRATION             P.O. BOX                                           OLYMPIA             WA           47476                                  SALES/USE TAX             11/28/2018        $485,178.33
WABASH COUNTY HEALTH
DEPARTMENT               130 WEST 7TH STREET                                                           MT CARMEL           IL           62863                                  SUPPLIERS OR VENDORS       12/7/2018             $75.00
WABASH COUNTY
TREASURER                PO BOX 428                                                                    MOUNT CARMEL        IL           62863-0428                             SUPPLIERS OR VENDORS       11/6/2018         $26,426.11
WADE HAUGE               3074 OAK STREET                                                               COTTAGE GROVE       WI           53527                                  SUPPLIERS OR VENDORS       11/9/2018              $7.85
WADE MYRICK              STORE 772                  SHOPKO EMPLOYEE         PO BOX 945                 POWELL              WY           82435                                  SUPPLIERS OR VENDORS      10/26/2018            $497.61
WADE MYRICK              STORE 772                  SHOPKO EMPLOYEE         PO BOX 945                 POWELL              WY           82435                                  SUPPLIERS OR VENDORS       11/9/2018            $206.45
WADE MYRICK              STORE 772                  SHOPKO EMPLOYEE         PO BOX 945                 POWELL              WY           82435                                  SUPPLIERS OR VENDORS      11/16/2018             $19.08
WADE MYRICK              STORE 772                  SHOPKO EMPLOYEE         PO BOX 945                 POWELL              WY           82435                                  SUPPLIERS OR VENDORS      12/11/2018             $32.70
WADE MYRICK              STORE 772                  SHOPKO EMPLOYEE         PO BOX 945                 POWELL              WY           82435                                  SUPPLIERS OR VENDORS      12/14/2018             $98.10
WADE MYRICK              STORE 772                  SHOPKO EMPLOYEE         PO BOX 945                 POWELL              WY           82435                                  SUPPLIERS OR VENDORS      12/20/2018             $98.10
WADE MYRICK              STORE 772                  SHOPKO EMPLOYEE         PO BOX 945                 POWELL              WY           82435                                  SUPPLIERS OR VENDORS        1/5/2019             $99.19
WADE MYRICK              STORE 772                  SHOPKO EMPLOYEE         PO BOX 945                 POWELL              WY           82435                                  SUPPLIERS OR VENDORS       1/10/2019             $31.90
WADE PLESSNER            906 TEE OFF TRAIL                                                             DELL RAPIDS         SD           57022                                  SUPPLIERS OR VENDORS      11/26/2018              $3.00
WAHL CLIPPER
CORPORATION              3001 North Locust Street                                                      Sterling            IL           61081                                  SUPPLIERS OR VENDORS      10/18/2018           $2,407.14
WAHL CLIPPER
CORPORATION              3001 North Locust Street                                                      Sterling            IL           61081                                  SUPPLIERS OR VENDORS      10/25/2018           $3,462.06
WAHL CLIPPER
CORPORATION              3001 North Locust Street                                                      Sterling            IL           61081                                  SUPPLIERS OR VENDORS       11/1/2018           $9,553.94
WAHL CLIPPER
CORPORATION              3001 North Locust Street                                                      Sterling            IL           61081                                  SUPPLIERS OR VENDORS       11/8/2018           $2,030.79
WAHL CLIPPER
CORPORATION              3001 North Locust Street                                                      Sterling            IL           61081                                  SUPPLIERS OR VENDORS      11/15/2018         $10,710.34
WAHL CLIPPER
CORPORATION              3001 North Locust Street                                                      Sterling            IL           61081                                  SUPPLIERS OR VENDORS      11/22/2018           $7,969.29
WAHL CLIPPER
CORPORATION              3001 North Locust Street                                                      Sterling            IL           61081                                  SUPPLIERS OR VENDORS      11/29/2018           $1,816.34

WALDNERS LAWN SERVICE    712 NORTH 9TH STREET                                                          CHEROKEE            IA           51012                                  SUPPLIERS OR VENDORS       11/1/2018            $278.20

WALDNERS LAWN SERVICE    712 NORTH 9TH STREET                                                          CHEROKEE            IA           51012                                  SUPPLIERS OR VENDORS      12/17/2018            $476.15
WALKERS LAWN CARE        JEFFREY WALKER          RT 1 BOX 1982                                         DONIPHAN            MO           63935                                  SUPPLIERS OR VENDORS      11/15/2018            $575.00
WALLA WALLA CITY OF      15 N 3RD AVENUE                                                               WALLA WALLA         WA           99362                                  SUPPLIERS OR VENDORS      11/12/2018            $573.49
WALLA WALLA CITY OF      15 N 3RD AVENUE                                                               WALLA WALLA         WA           99362                                  SUPPLIERS OR VENDORS      11/29/2018            $242.46
                         DEPARTMENT OF COMMUNITY
WALLA WALLA COUNTY       HEALTH                  314 WEST MAIN STREET                                  WALLA WALLA         WA           99362                                  SUPPLIERS OR VENDORS      10/18/2018            $295.00
WALLA WALLA COUNTY
TREASURER                PO BOX 777                                                                    WALLA WALLA         WA           99362                                  SUPPLIERS OR VENDORS      12/13/2018             $34.20
WALLA WALLA ELECTRIC
INCORPORATED             1225 W POPLAR                                                                 WALLA WALLA         WA           99362-2780                             SUPPLIERS OR VENDORS      10/18/2018             $25.97
WALLA WALLA ELECTRIC
INCORPORATED             1225 W POPLAR                                                                 WALLA WALLA         WA           99362-2780                             SUPPLIERS OR VENDORS      11/15/2018             $25.97
WALLA WALLA ELECTRIC
INCORPORATED             1225 W POPLAR                                                                 WALLA WALLA         WA           99362-2780                             SUPPLIERS OR VENDORS        1/4/2019              $25.97
WALLACE BRUNS            1104 KNOLLWOOD TRAIL                                                          ALTOONA             WI           54720                                  SUPPLIERS OR VENDORS      11/12/2018              $10.56
WALLACE CHRISTENSEN      7227 E HIGHWAY 36                                                             PRESTON             ID           83263                                  SUPPLIERS OR VENDORS      10/19/2018           $4,431.57
WALLACE CHRISTENSEN      7227 E HIGHWAY 36                                                             PRESTON             ID           83263                                  SUPPLIERS OR VENDORS       11/2/2018           $4,334.28



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                                                                                                                                                                                Reasons for payment or    Dates of     Total Amount or
      Creditor Name                Address1                 Address2                Address3                City               State       Zip              Country                    transfer          Payments            Value
WALLACE CHRISTENSEN     7227 E HIGHWAY 36                                                             PRESTON             ID           83263                                  SUPPLIERS OR VENDORS        11/16/2018            $3,089.53
WALLACE CHRISTENSEN     7227 E HIGHWAY 36                                                             PRESTON             ID           83263                                  SUPPLIERS OR VENDORS        11/30/2018            $5,049.52
WALLACE CHRISTENSEN     7227 E HIGHWAY 36                                                             PRESTON             ID           83263                                  SUPPLIERS OR VENDORS        12/14/2018            $4,077.32
WALLACE CHRISTENSEN     7227 E HIGHWAY 36                                                             PRESTON             ID           83263                                  SUPPLIERS OR VENDORS        12/29/2018            $4,527.57
WALLACE CHRISTENSEN     7227 E HIGHWAY 36                                                             PRESTON             ID           83263                                  SUPPLIERS OR VENDORS         1/11/2019            $2,676.97
WALLACE KILKER          508 S. ASH AVE             APT. 3                                             FORRESTON           IL           61030                                  SUPPLIERS OR VENDORS        11/28/2018               $12.80
WALLACE KILKER          508 S. ASH AVE             APT. 3                                             FORRESTON           IL           61030                                  SUPPLIERS OR VENDORS        11/29/2018               $51.20
WALLACE SALING          226 W GARDEN PARK                                                             OREM                UT           84057                                  SUPPLIERS OR VENDORS        10/23/2018                $3.42
WALLY WALDRON           STORE 625                  SHOPKO EMPLOYEE         1201 12TH AVENUE SE        DYERSVILLE          IA           52040                                  SUPPLIERS OR VENDORS        10/26/2018              $271.41
WALMAN OPTICAL
COMPANY                 801 TWELFTH AVENUE NORTH                                                      MINNEAPOLIS         MN           55411                                  SUPPLIERS OR VENDORS       10/18/2018            $4,655.02
WALMAN OPTICAL
COMPANY                 801 TWELFTH AVENUE NORTH                                                      MINNEAPOLIS         MN           55411                                  SUPPLIERS OR VENDORS       10/25/2018           $40,461.70
WALMAN OPTICAL
COMPANY                 801 TWELFTH AVENUE NORTH                                                      MINNEAPOLIS         MN           55411                                  SUPPLIERS OR VENDORS        11/1/2018            $5,452.23
WALMAN OPTICAL
COMPANY                 801 TWELFTH AVENUE NORTH                                                      MINNEAPOLIS         MN           55411                                  SUPPLIERS OR VENDORS       11/15/2018          $142,287.85
WALMAN OPTICAL
COMPANY                 801 TWELFTH AVENUE NORTH                                                      MINNEAPOLIS         MN           55411                                  SUPPLIERS OR VENDORS       11/22/2018           $28,782.04
WALMAN OPTICAL
COMPANY                 801 TWELFTH AVENUE NORTH                                                      MINNEAPOLIS         MN           55411                                  SUPPLIERS OR VENDORS       12/21/2018            $1,353.40
WALMAN OPTICAL
COMPANY                 801 TWELFTH AVENUE NORTH                                                      MINNEAPOLIS         MN           55411                                  SUPPLIERS OR VENDORS       12/27/2018            $2,093.76
WALTCO INCORPORATED     PO BOX 12147                                                                  GREEN BAY           WI           54307-2147                             SUPPLIERS OR VENDORS       10/18/2018            $3,696.55
WALTCO INCORPORATED     PO BOX 12147                                                                  GREEN BAY           WI           54307-2147                             SUPPLIERS OR VENDORS       10/23/2018                $1.00
WALTCO INCORPORATED     PO BOX 12147                                                                  GREEN BAY           WI           54307-2147                             SUPPLIERS OR VENDORS       11/30/2018            $3,633.69
WALTCO INCORPORATED     PO BOX 12147                                                                  GREEN BAY           WI           54307-2147                             SUPPLIERS OR VENDORS         1/5/2019            $3,633.69
WALTER KRUEGER          1262 ECHO LANE                                                                GREEN BAY           WI           54304                                  SUPPLIERS OR VENDORS       11/26/2018               $44.16
WALTER SPILMAN          1848 COUNTY RD E                                                              HAMMOND             WI           54015                                  SUPPLIERS OR VENDORS        11/2/2018               $79.99
                                                                           202 SUSAN LAWRENCE
WALTER TSCHOPP          STORE 2-681                SHOPKO EMPLOYEE         DRIVE                      IDA GROVE           IA           51445                                  SUPPLIERS OR VENDORS       11/16/2018               $73.58
WANDA BOYLE             595 POWELL                                                                    WAITSBURG           WA           99361                                  SUPPLIERS OR VENDORS       11/29/2018               $54.40
WANDA L HATFIELD        STORE 4-179                SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/18/2018                $6.82
WANDA L HATFIELD        STORE 4-179                SHOPKO EMPLOYEE                                    GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/25/2018               $50.55
WANDA STROUF            430 JORGENSEN ST                                                              DENMARK             WI           54208                                  SUPPLIERS OR VENDORS        11/7/2018               $25.00
WANDAH NIELSEN          412 FIRST AVE SE                                                              HAYFIELD            MN           55940                                  SUPPLIERS OR VENDORS        12/7/2018                $8.16
WANITA DAY              1414 13TH AVE.                                                                MONROE              WI           53566                                  SUPPLIERS OR VENDORS       12/10/2018               $25.00
WARD GILCHRIST          1881 EISENHOWER CR                                                            ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       11/12/2018               $12.16
WARD GILCHRIST          1881 EISENHOWER CR                                                            ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       12/17/2018               $48.64
WARREN DISTRIBUTION     VICE PRESIDENT OF SALES    727 S 13TH STREET                                  OMAHA               NE           68102                                  SUPPLIERS OR VENDORS       10/19/2018           $28,015.77
WARREN DISTRIBUTION     VICE PRESIDENT OF SALES    727 S 13TH STREET                                  OMAHA               NE           68102                                  SUPPLIERS OR VENDORS       10/26/2018           $25,288.41
WARREN DISTRIBUTION     VICE PRESIDENT OF SALES    727 S 13TH STREET                                  OMAHA               NE           68102                                  SUPPLIERS OR VENDORS        11/2/2018           $27,076.32
WARREN DISTRIBUTION     VICE PRESIDENT OF SALES    727 S 13TH STREET                                  OMAHA               NE           68102                                  SUPPLIERS OR VENDORS        11/9/2018           $15,901.27
WARREN DISTRIBUTION     VICE PRESIDENT OF SALES    727 S 13TH STREET                                  OMAHA               NE           68102                                  SUPPLIERS OR VENDORS       11/16/2018           $19,439.99
WARREN DISTRIBUTION     VICE PRESIDENT OF SALES    727 S 13TH STREET                                  OMAHA               NE           68102                                  SUPPLIERS OR VENDORS       11/30/2018           $28,404.49
WARREN PETERSON         4282 PITTCO RD                                                                GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS       10/30/2018              $900.00
WARREN SIMON            3659 E. 129 N.                                                                IDAHO FALLS         ID           83401                                  SUPPLIERS OR VENDORS       11/29/2018               $62.50
WASHAKIE COUNTY         1001 BIG HORN AVENUE STE
TREASURER               104                                                                           WORLAND             WY           82401                                  SUPPLIERS OR VENDORS        11/6/2018            $4,090.51
WASHINGTON DEPARTMENT
OF LABOR                & INDUSTRIES               PO BOX 34022                                       SEATTLE             WA           98124-1022                             SUPPLIERS OR VENDORS       10/31/2018           $79,618.26
WASHINGTON DEPT OF      TAXPAYER ACCOUNT
REVENUE                 ADMINISTRATION             P.O. BOX                                           OLYMPIA             WA           47476                                  SALES & USE TAX            10/29/2018          $656,749.82




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                                                                                                                                                                        Reasons for payment or    Dates of     Total Amount or
      Creditor Name              Address1          Address2                  Address3                 City              State       Zip              Country                   transfer          Payments            Value
WASHINGTON DEPT OF     TAXPAYER ACCOUNT
REVENUE                ADMINISTRATION        P.O. BOX                                          OLYMPIA             WA           47476                                  SALES & USE TAX           12/27/2018         $745,377.75
WASHINGTON STATE                             PHARMACY STUDENT
UNIVERSITY             COLLEGE OF PHARMACY   SERVICES               PO BOX 646510              PULLMAN             WA           99164-6510                             SUPPLIERS OR VENDORS      10/26/2018           $1,000.00
WASHINGTON'S LOTTERY   PO BOX 43000                                                            OLYMPIA             WA           98504                                  PAYMENT FOR SERVICES       10/2/2018           $7,826.75
WASHINGTON'S LOTTERY   PO BOX 43000                                                            OLYMPIA             WA           98504                                  PAYMENT FOR SERVICES      10/10/2018          $11,273.50
WASHINGTON'S LOTTERY   PO BOX 43000                                                            OLYMPIA             WA           98504                                  PAYMENT FOR SERVICES      10/16/2018          $11,081.20
WASHINGTON'S LOTTERY   PO BOX 43000                                                            OLYMPIA             WA           98504                                  PAYMENT FOR SERVICES      10/23/2018          $18,373.35
WASHINGTON'S LOTTERY   PO BOX 43000                                                            OLYMPIA             WA           98504                                  PAYMENT FOR SERVICES      10/30/2018          $20,299.97
WASHINGTON'S LOTTERY   PO BOX 43000                                                            OLYMPIA             WA           98504                                  PAYMENT FOR SERVICES       11/6/2018           $8,614.12
WASHINGTON'S LOTTERY   PO BOX 43000                                                            OLYMPIA             WA           98504                                  PAYMENT FOR SERVICES      11/14/2018           $9,442.95
WASHINGTON'S LOTTERY   PO BOX 43000                                                            OLYMPIA             WA           98504                                  PAYMENT FOR SERVICES      11/20/2018          $11,347.10
WASHINGTON'S LOTTERY   PO BOX 43000                                                            OLYMPIA             WA           98504                                  PAYMENT FOR SERVICES      11/27/2018           $7,108.17
WASHINGTON'S LOTTERY   PO BOX 43000                                                            OLYMPIA             WA           98504                                  PAYMENT FOR SERVICES       12/4/2018           $6,644.35
WASHINGTON'S LOTTERY   PO BOX 43000                                                            OLYMPIA             WA           98504                                  PAYMENT FOR SERVICES      12/11/2018          $10,222.35
WASHINGTON'S LOTTERY   PO BOX 43000                                                            OLYMPIA             WA           98504                                  PAYMENT FOR SERVICES      12/18/2018           $6,339.55
WASHINGTON'S LOTTERY   PO BOX 43000                                                            OLYMPIA             WA           98504                                  PAYMENT FOR SERVICES      12/26/2018           $9,139.80
WASHINGTON'S LOTTERY   PO BOX 43000                                                            OLYMPIA             WA           98504                                  PAYMENT FOR SERVICES        1/2/2019           $9,681.35
WASHINGTON'S LOTTERY   PO BOX 43000                                                            OLYMPIA             WA           98504                                  PAYMENT FOR SERVICES        1/8/2019           $8,634.40
WASTE MANAGEMENT OF    WASTE MANAGEMENT
WI-MN                  INCORPORATED          PO BOX 4648                                       CAROL STREAM        IL           60197-4648                             SUPPLIERS OR VENDORS      10/26/2018            $1,055.65
WASTE MANAGEMENT OF    WASTE MANAGEMENT
WI-MN                  INCORPORATED          PO BOX 4648                                       CAROL STREAM        IL           60197-4648                             SUPPLIERS OR VENDORS       11/9/2018            $2,382.34
WASTE MANAGEMENT OF    WASTE MANAGEMENT
WI-MN                  INCORPORATED          PO BOX 4648                                       CAROL STREAM        IL           60197-4648                             SUPPLIERS OR VENDORS      11/30/2018            $1,200.00
WATERTOWN PUBLIC
OPINION                PO BOX 10                                                               WATERTOWN           SD           57201-0010                             SUPPLIERS OR VENDORS      11/15/2018              $55.35
WATSON LABORATORIES
INCORPORATED           SHOPKO STORES         PO BOX 19060           DISC 05/07/09              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/19/2018         $118,172.54
WATSON LABORATORIES
INCORPORATED           SHOPKO STORES         PO BOX 19060           DISC 05/07/09              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/26/2018         $122,960.40
WATSON LABORATORIES
INCORPORATED           SHOPKO STORES         PO BOX 19060           DISC 05/07/09              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/2/2018         $144,286.46
WATSON LABORATORIES
INCORPORATED           SHOPKO STORES         PO BOX 19060           DISC 05/07/09              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/9/2018          $98,182.92
WATSON LABORATORIES
INCORPORATED           SHOPKO STORES         PO BOX 19060           DISC 05/07/09              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/16/2018         $145,701.90
WATSON LABORATORIES
INCORPORATED           SHOPKO STORES         PO BOX 19060           DISC 05/07/09              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/30/2018         $266,430.07
WATSON LABORATORIES
INCORPORATED           SHOPKO STORES         PO BOX 19060           DISC 05/07/09              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/13/2018         $259,068.15
WATSON LABORATORIES
INCORPORATED           SHOPKO STORES         PO BOX 19060           DISC 05/07/09              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/19/2018         $116,775.02
WATSON LABORATORIES
INCORPORATED           SHOPKO STORES         PO BOX 19060           DISC 05/07/09              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/20/2018            $4,649.27
WATSON LABORATORIES
INCORPORATED           SHOPKO STORES         PO BOX 19060           DISC 05/07/09              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/21/2018          $29,088.41
WATSON LABORATORIES
INCORPORATED           SHOPKO STORES         PO BOX 19060           DISC 05/07/09              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/22/2018         $113,502.92
WATSON LABORATORIES
INCORPORATED           SHOPKO STORES         PO BOX 19060           DISC 05/07/09              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/28/2018          $34,869.35
WATSON LABORATORIES
INCORPORATED           SHOPKO STORES         PO BOX 19060           DISC 05/07/09              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS         1/9/2019        $305,064.69




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                                                                                                                                                                            Reasons for payment or    Dates of    Total Amount or
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WATSON LABORATORIES
INCORPORATED           SHOPKO STORES             PO BOX 19060           DISC 05/07/09              GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       1/10/2019       $1,777,830.02
WAUKON CHAMBER OF
COMMERCE               101 W MAIN STREET                                                           WAUKON              IA           52172                                  SUPPLIERS OR VENDORS      12/21/2018            $395.00
WAUPACA AREA CHAMBER
OF COMMERCE            221 S MAIN STREET                                                           WAUPACA             WI           54981                                  SUPPLIERS OR VENDORS      11/29/2018            $139.85
WAUPACA AREA CHAMBER
OF COMMERCE            221 S MAIN STREET                                                           WAUPACA             WI           54981                                  SUPPLIERS OR VENDORS       12/3/2018            $452.75
WAUSHARA COUNTY
TREASURER              PO BOX 489                                                                  WAUTOMA             WI           54982                                  SUPPLIERS OR VENDORS      10/18/2018            $225.00
WAUSHARA COUNTY
TREASURER              PO BOX 489                                                                  WAUTOMA             WI           54982                                  SUPPLIERS OR VENDORS       11/1/2018             $75.00
WAUSHARA COUNTY
TREASURER              PO BOX 489                                                                  WAUTOMA             WI           54982                                  SUPPLIERS OR VENDORS      11/14/2018             $75.00
WAVE INC DBA MORRIS
HOUSE CILA             1420 W 3RD STREET         PO BOX 487                                        MT CARMEL           IL           62863                                  SUPPLIERS OR VENDORS      11/26/2018              $8.78
WAYNE BACHMAN          P O BOX 475                                                                 CRAIGMONT           ID           83523                                  SUPPLIERS OR VENDORS      10/25/2018             $51.20
WAYNE BACHMAN          P O BOX 475                                                                 CRAIGMONT           ID           83523                                  SUPPLIERS OR VENDORS      11/26/2018             $12.80
WAYNE BUTTERS          553 BEN NICHOLS ROAD                                                        FENCE               WI           54120                                  SUPPLIERS OR VENDORS       11/1/2018              $9.76
WAYNE BUTTERS          553 BEN NICHOLS ROAD                                                        FENCE               WI           54120                                  SUPPLIERS OR VENDORS      11/26/2018             $39.04
WAYNE ENRIGHT          101 12TH ST NE                                                              AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS      10/29/2018            $125.00
WAYNE FRIER            310 ROSEMARY CT                                                             JEFFERSON           WI           53549                                  SUPPLIERS OR VENDORS      11/26/2018             $63.00
WAYNE GREGG            N937 LANDING LANE                                                           VULCAN              MI           49872                                  SUPPLIERS OR VENDORS      10/29/2018             $13.54
WAYNE GREGG            N937 LANDING LANE                                                           VULCAN              MI           49872                                  SUPPLIERS OR VENDORS      10/29/2018             $62.46
                                                                                                   ARMSTRONG
WAYNE KADUBEK          7573 SOUTH TOWER ROAD                                                       CREEK               WI           54103                                  SUPPLIERS OR VENDORS      12/13/2018             $91.09
WAYNE KEACH            312 S DEPOT ST                                                              FOX LAKE            WI           53933                                  SUPPLIERS OR VENDORS      10/25/2018              $8.26
WAYNE LANIER           1848 MICHAEL                                                                IDAHO FALLS         ID           83402                                  SUPPLIERS OR VENDORS      10/29/2018             $47.78
WAYNE LANIER           1848 MICHAEL                                                                IDAHO FALLS         ID           83402                                  SUPPLIERS OR VENDORS      10/29/2018             $60.82
WAYNE LANIER           1848 MICHAEL                                                                IDAHO FALLS         ID           83402                                  SUPPLIERS OR VENDORS       11/7/2018             $10.22
WAYNE LANIER           1848 MICHAEL                                                                IDAHO FALLS         ID           83402                                  SUPPLIERS OR VENDORS       11/7/2018             $13.18
WAYNE OLDENBURG        W 15112 RIVER DR                                                            GLEASON             WI           54425                                  SUPPLIERS OR VENDORS       11/1/2018             $22.32
WAYNE PHILLIPS         816 W. HUGHITT STREET                                                       IRON MOUNTAIN       MI           49801                                  SUPPLIERS OR VENDORS      12/13/2018            $117.72
WAYNE PHILLIPS         816 W. HUGHITT STREET                                                       IRON MOUNTAIN       MI           49801                                  SUPPLIERS OR VENDORS      12/17/2018             $25.28
WAYNE SCHULTZ          3611 S INFIELD AVE                                                          SIOUX FALLS         SD           57110                                  SUPPLIERS OR VENDORS      10/22/2018             $20.00

WAYNE TRACY            4457 MENOMONIE STREET                                                       WISCONSIN RAPIDS WI              54495                                  SUPPLIERS OR VENDORS       11/5/2018             $42.24

WAYNE TRACY            4457 MENOMONIE STREET                                                       WISCONSIN RAPIDS WI              54495                                  SUPPLIERS OR VENDORS       11/8/2018             $23.76

WD 40 COMPANY          VICE PRESIDENT OF SALES   4785 MANOR DRIVE                                  STONE MOUNTAIN GA                30087-4124                             SUPPLIERS OR VENDORS      10/19/2018            $246.67

WD 40 COMPANY          VICE PRESIDENT OF SALES   4785 MANOR DRIVE                                  STONE MOUNTAIN GA                30087-4124                             SUPPLIERS OR VENDORS      10/25/2018           $1,357.46

WD 40 COMPANY          VICE PRESIDENT OF SALES   4785 MANOR DRIVE                                  STONE MOUNTAIN GA                30087-4124                             SUPPLIERS OR VENDORS      10/26/2018            $914.21

WD 40 COMPANY          VICE PRESIDENT OF SALES   4785 MANOR DRIVE                                  STONE MOUNTAIN GA                30087-4124                             SUPPLIERS OR VENDORS       11/1/2018           $3,823.04

WD 40 COMPANY          VICE PRESIDENT OF SALES   4785 MANOR DRIVE                                  STONE MOUNTAIN GA                30087-4124                             SUPPLIERS OR VENDORS       11/2/2018           $1,800.71

WD 40 COMPANY          VICE PRESIDENT OF SALES   4785 MANOR DRIVE                                  STONE MOUNTAIN GA                30087-4124                             SUPPLIERS OR VENDORS      11/15/2018           $1,775.03

WD 40 COMPANY          VICE PRESIDENT OF SALES   4785 MANOR DRIVE                                  STONE MOUNTAIN GA                30087-4124                             SUPPLIERS OR VENDORS      11/16/2018           $1,052.72




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                                                                                                                                                                               Reasons for payment or    Dates of    Total Amount or
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WD 40 COMPANY           VICE PRESIDENT OF SALES     4785 MANOR DRIVE                                  STONE MOUNTAIN GA                30087-4124                             SUPPLIERS OR VENDORS      11/22/2018           $2,145.62

WD 40 COMPANY           VICE PRESIDENT OF SALES     4785 MANOR DRIVE                                  STONE MOUNTAIN GA                30087-4124                             SUPPLIERS OR VENDORS      11/23/2018           $1,089.67

WD 40 COMPANY           VICE PRESIDENT OF SALES     4785 MANOR DRIVE                                  STONE MOUNTAIN GA                30087-4124                             SUPPLIERS OR VENDORS      11/29/2018            $516.92
WEA INSURANCE           45 NOB HILL ROAD                                                              MADISON        WI                53713                                  SUPPLIERS OR VENDORS       11/8/2018             $26.20
WEAREVER OPERATING
COMPANY                 SEE 9254344-011                                                               BOSTON              MA           02241-5051                             SUPPLIERS OR VENDORS      10/18/2018         $38,927.53
WEAREVER OPERATING
COMPANY                 SEE 9254344-011                                                               BOSTON              MA           02241-5051                             SUPPLIERS OR VENDORS      10/25/2018         $19,525.56
WEAREVER OPERATING
COMPANY                 SEE 9254344-011                                                               BOSTON              MA           02241-5051                             SUPPLIERS OR VENDORS       11/1/2018         $63,199.07
WEAREVER OPERATING
COMPANY                 SEE 9254344-011                                                               BOSTON              MA           02241-5051                             SUPPLIERS OR VENDORS      11/15/2018         $31,690.97
WEAREVER OPERATING
COMPANY                 SEE 9254344-011                                                               BOSTON              MA           02241-5051                             SUPPLIERS OR VENDORS      11/22/2018         $49,407.32
WEAREVER OPERATING
COMPANY                 SEE 9254344-011                                                               BOSTON              MA           02241-5051                             SUPPLIERS OR VENDORS      11/29/2018        $165,324.58
WEBB & GERRITSEN
INCORPORATED            16705 W LINCOLN AVE                                                           NEW BERLIN          WI           53188                                  SUPPLIERS OR VENDORS      10/25/2018             $54.90
WEBB & GERRITSEN
INCORPORATED            16705 W LINCOLN AVE                                                           NEW BERLIN          WI           53188                                  SUPPLIERS OR VENDORS       11/1/2018             $36.80
WEBB & GERRITSEN
INCORPORATED            16705 W LINCOLN AVE                                                           NEW BERLIN          WI           53188                                  SUPPLIERS OR VENDORS      11/15/2018             $46.40
WEBB & GERRITSEN
INCORPORATED            16705 W LINCOLN AVE                                                           NEW BERLIN          WI           53188                                  SUPPLIERS OR VENDORS      11/29/2018             $73.40
WEBB & GERRITSEN
INCORPORATED            16705 W LINCOLN AVE                                                           NEW BERLIN          WI           53188                                  SUPPLIERS OR VENDORS      12/11/2018             $12.40
WEBB & GERRITSEN
INCORPORATED            16705 W LINCOLN AVE                                                           NEW BERLIN          WI           53188                                  SUPPLIERS OR VENDORS      12/20/2018             $53.30
                                                    2380 WASHINGTON
WEBER COUNTY TREASURER SUITE 380                    BOULEVARD                                         OGDEN               UT           84401-0000                             SUPPLIERS OR VENDORS      11/26/2018        $147,293.67

WEBER STEPHEN PRODUCTS VICE PRESIDENT OF SALES      200 EAST DANIELS ROAD                             PALATINE            IL           60067-6266                             SUPPLIERS OR VENDORS      10/19/2018            $732.58

WEBER STEPHEN PRODUCTS VICE PRESIDENT OF SALES      200 EAST DANIELS ROAD                             PALATINE            IL           60067-6266                             SUPPLIERS OR VENDORS      10/26/2018           $5,878.60

WEBER STEPHEN PRODUCTS VICE PRESIDENT OF SALES      200 EAST DANIELS ROAD                             PALATINE            IL           60067-6266                             SUPPLIERS OR VENDORS       11/9/2018           $4,356.72

WEBER STEPHEN PRODUCTS VICE PRESIDENT OF SALES      200 EAST DANIELS ROAD                             PALATINE            IL           60067-6266                             SUPPLIERS OR VENDORS      11/16/2018           $1,154.68

WEBER STEPHEN PRODUCTS VICE PRESIDENT OF SALES      200 EAST DANIELS ROAD                             PALATINE            IL           60067-6266                             SUPPLIERS OR VENDORS      11/30/2018           $3,822.68
WEBSTER MUNICIPAL
LIQUOR STORE           100 EAST HIGHWAY 12                                                            WEBSTER             SD           57274                                  SUPPLIERS OR VENDORS      11/12/2018           $1,247.32
WEBSTER MUNICIPAL
LIQUOR STORE           100 EAST HIGHWAY 12                                                            WEBSTER             SD           57274                                  SUPPLIERS OR VENDORS      12/11/2018            $226.93

WEE PLAY KIDS L L C     ROSENTHAL & ROSENTHAL INC   PO BOX 88926                                      CHICAGO             IL           60695-1926                             SUPPLIERS OR VENDORS      10/26/2018           $1,343.31

WEE PLAY KIDS L L C     ROSENTHAL & ROSENTHAL INC   PO BOX 88926                                      CHICAGO             IL           60695-1926                             SUPPLIERS OR VENDORS      10/31/2018           $9,683.40

WEE PLAY KIDS L L C     ROSENTHAL & ROSENTHAL INC   PO BOX 88926                                      CHICAGO             IL           60695-1926                             SUPPLIERS OR VENDORS       11/1/2018         $59,130.30




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WEE PLAY KIDS L L C        ROSENTHAL & ROSENTHAL INC      PO BOX 88926                                      CHICAGO             IL           60695-1926                             SUPPLIERS OR VENDORS       11/6/2018           $3,578.00

WEE PLAY KIDS L L C        ROSENTHAL & ROSENTHAL INC      PO BOX 88926                                      CHICAGO             IL           60695-1926                             SUPPLIERS OR VENDORS       11/9/2018           $2,118.50
WEIGHTS & MEASURES
BUREAU                     2230 S ANKENY BOULEVARD                                                          ANKENY              IA           50023-9093                             SUPPLIERS OR VENDORS      11/13/2018             $45.00
WEIMAN PRODUCTS LLC        38617 EAGLE WAY                                                                  CHICAGO             IL           60678-1386                             SUPPLIERS OR VENDORS      10/25/2018          $2,697.04
WEIMAN PRODUCTS LLC        38617 EAGLE WAY                                                                  CHICAGO             IL           60678-1386                             SUPPLIERS OR VENDORS       11/1/2018          $7,610.88
WEIMAN PRODUCTS LLC        38617 EAGLE WAY                                                                  CHICAGO             IL           60678-1386                             SUPPLIERS OR VENDORS       11/8/2018          $7,959.78
WEIMAN PRODUCTS LLC        38617 EAGLE WAY                                                                  CHICAGO             IL           60678-1386                             SUPPLIERS OR VENDORS      11/15/2018          $8,227.44
WEIMAN PRODUCTS LLC        38617 EAGLE WAY                                                                  CHICAGO             IL           60678-1386                             SUPPLIERS OR VENDORS      11/29/2018         $19,496.93
WEINSTEIN BEVERAGE
COMPANY                    410 PETERS STREET E                                                              WENATCHEE           WA           98801                                  SUPPLIERS OR VENDORS      10/18/2018            $781.44
WEINSTEIN BEVERAGE
COMPANY                    410 PETERS STREET E                                                              WENATCHEE           WA           98801                                  SUPPLIERS OR VENDORS      10/25/2018           $1,796.02
WEINSTEIN BEVERAGE
COMPANY                    410 PETERS STREET E                                                              WENATCHEE           WA           98801                                  SUPPLIERS OR VENDORS       11/1/2018            $934.74
WEINSTEIN BEVERAGE
COMPANY                    410 PETERS STREET E                                                              WENATCHEE           WA           98801                                  SUPPLIERS OR VENDORS       11/8/2018           $1,180.62
WEINSTEIN BEVERAGE
COMPANY                    410 PETERS STREET E                                                              WENATCHEE           WA           98801                                  SUPPLIERS OR VENDORS      11/15/2018           $1,264.77
WEINSTEIN BEVERAGE
COMPANY                    410 PETERS STREET E                                                              WENATCHEE           WA           98801                                  SUPPLIERS OR VENDORS      11/22/2018           $2,238.75
WEINSTEIN BEVERAGE
COMPANY                    410 PETERS STREET E                                                              WENATCHEE           WA           98801                                  SUPPLIERS OR VENDORS      11/29/2018            $744.34
WEINSTEIN BEVERAGE
COMPANY                    410 PETERS STREET E                                                              WENATCHEE           WA           98801                                  SUPPLIERS OR VENDORS      12/20/2018           $2,627.17
WEINSTEIN BEVERAGE
COMPANY                    410 PETERS STREET E                                                              WENATCHEE           WA           98801                                  SUPPLIERS OR VENDORS      12/21/2018            $256.72
WEINSTEIN BEVERAGE
COMPANY                    410 PETERS STREET E                                                              WENATCHEE           WA           98801                                  SUPPLIERS OR VENDORS      12/27/2018            $956.93
WELL NAMPA LLC             227 E 56TH STREET SUITE 401                                                      NEW YORK            NY           10022                                  SUPPLIERS OR VENDORS       11/1/2018         $40,474.20
WELL NAMPA LLC             227 E 56TH STREET SUITE 401                                                      NEW YORK            NY           10022                                  SUPPLIERS OR VENDORS       12/1/2018         $40,474.20
WELLCARE HEALTH PLANS
INCORPORATED               RECOVERY DEPARTMENT            PO BOX 31584                                      TAMPA               FL           33631                                  SUPPLIERS OR VENDORS      11/28/2018         $61,117.99

WELLEMENTS LLC             6263 N SCOTTSDALE RD STE 125                                                     SCOTTSDALE          AZ           85250                                  SUPPLIERS OR VENDORS       11/1/2018            $683.05

WELLEMENTS LLC             6263 N SCOTTSDALE RD STE 125                                                     SCOTTSDALE          AZ           85250                                  SUPPLIERS OR VENDORS      11/15/2018            $232.19
                           PLATINUM US DISTRIBUTION
WELLNX LIFE SCIENCES USA   INC                            6335 EDWARDS BLVD                                 MISSISSAUGA         ON           L5T2W7       CANADA                    SUPPLIERS OR VENDORS      10/18/2018           $1,499.40
                           PLATINUM US DISTRIBUTION
WELLNX LIFE SCIENCES USA   INC                            6335 EDWARDS BLVD                                 MISSISSAUGA         ON           L5T2W7       CANADA                    SUPPLIERS OR VENDORS      10/25/2018           $2,897.36
                           PLATINUM US DISTRIBUTION
WELLNX LIFE SCIENCES USA   INC                            6335 EDWARDS BLVD                                 MISSISSAUGA         ON           L5T2W7       CANADA                    SUPPLIERS OR VENDORS       11/1/2018           $1,781.64
                           PLATINUM US DISTRIBUTION
WELLNX LIFE SCIENCES USA   INC                            6335 EDWARDS BLVD                                 MISSISSAUGA         ON           L5T2W7       CANADA                    SUPPLIERS OR VENDORS       11/8/2018            $752.22
                           PLATINUM US DISTRIBUTION
WELLNX LIFE SCIENCES USA   INC                            6335 EDWARDS BLVD                                 MISSISSAUGA         ON           L5T2W7       CANADA                    SUPPLIERS OR VENDORS      11/15/2018           $1,347.92
                           PLATINUM US DISTRIBUTION
WELLNX LIFE SCIENCES USA   INC                            6335 EDWARDS BLVD                                 MISSISSAUGA         ON           L5T2W7       CANADA                    SUPPLIERS OR VENDORS      11/22/2018           $1,860.96
                           PLATINUM US DISTRIBUTION
WELLNX LIFE SCIENCES USA   INC                            6335 EDWARDS BLVD                                 MISSISSAUGA         ON           L5T2W7     CANADA                      SUPPLIERS OR VENDORS      11/29/2018           $1,181.88
WELLPET LLC                PO BOX 822878                                                                    PHILADELPHIA        PA           19182-2878                             SUPPLIERS OR VENDORS       11/1/2018           $3,090.18



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                                                                                                                                                                                Reasons for payment or    Dates of     Total Amount or
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WELLPET LLC           PO BOX 822878                                                                   PHILADELPHIA        PA           19182-2878                             SUPPLIERS OR VENDORS         11/8/2018            $4,325.65
WELLPET LLC           PO BOX 822878                                                                   PHILADELPHIA        PA           19182-2878                             SUPPLIERS OR VENDORS        11/15/2018            $1,319.67
WELLS FARGO BANK      420 MONTGOMERY STREET                                                           SAN FRANCISCO       CA           94104                                  REVOLVER PAYMENTS           10/16/2018          $819,000.00
WELLS FARGO BANK      420 MONTGOMERY STREET                                                           SAN FRANCISCO       CA           94104                                  REVOLVER PAYMENTS           10/29/2018       $2,484,000.00
WELLS FARGO BANK      420 MONTGOMERY STREET                                                           SAN FRANCISCO       CA           94104                                  REVOLVER PAYMENTS           10/30/2018       $3,021,000.00
WELLS FARGO BANK      420 MONTGOMERY STREET                                                           SAN FRANCISCO       CA           94104                                  REVOLVER PAYMENTS            11/5/2018       $6,141,000.00
WELLS FARGO BANK      420 MONTGOMERY STREET                                                           SAN FRANCISCO       CA           94104                                  REVOLVER PAYMENTS           11/13/2018      $11,657,000.00
WELLS FARGO BANK      420 MONTGOMERY STREET                                                           SAN FRANCISCO       CA           94104                                  REVOLVER PAYMENTS           11/15/2018       $7,189,660.91
WELLS FARGO BANK      420 MONTGOMERY STREET                                                           SAN FRANCISCO       CA           94104                                  REVOLVER PAYMENTS           11/19/2018       $1,105,000.00
WELLS FARGO BANK      420 MONTGOMERY STREET                                                           SAN FRANCISCO       CA           94104                                  REVOLVER PAYMENTS           12/17/2018          $830,000.00
WELLS FARGO BANK      420 MONTGOMERY STREET                                                           SAN FRANCISCO       CA           94104                                  REVOLVER PAYMENTS           12/27/2018       $2,960,000.00
WELLS FARGO BANK      420 MONTGOMERY STREET                                                           SAN FRANCISCO       CA           94104                                  REVOLVER PAYMENTS           12/28/2018       $3,610,000.00
WELLS FARGO BANK      420 MONTGOMERY STREET                                                           SAN FRANCISCO       CA           94104                                  REVOLVER PAYMENTS           12/28/2018       $3,610,000.00
WELLS FARGO BANK      420 MONTGOMERY STREET                                                           SAN FRANCISCO       CA           94104                                  REVOLVER PAYMENTS           12/28/2018       $5,489,993.07
WELLS FARGO BANK      420 MONTGOMERY STREET                                                           SAN FRANCISCO       CA           94104                                  REVOLVER PAYMENTS           12/31/2018      $17,453,396.21
WELLS FARGO BANK      420 MONTGOMERY STREET                                                           SAN FRANCISCO       CA           94104                                  REVOLVER PAYMENTS             1/2/2019      $10,055,403.40
WELLS FARGO BANK      420 MONTGOMERY STREET                                                           SAN FRANCISCO       CA           94104                                  REVOLVER PAYMENTS             1/3/2019       $6,736,816.43
WELLS FARGO BANK      420 MONTGOMERY STREET                                                           SAN FRANCISCO       CA           94104                                  REVOLVER PAYMENTS             1/4/2019           $20,000.00
WELLS FARGO BANK      420 MONTGOMERY STREET                                                           SAN FRANCISCO       CA           94104                                  REVOLVER PAYMENTS             1/4/2019       $7,407,161.39
WELLS FARGO BANK      420 MONTGOMERY STREET                                                           SAN FRANCISCO       CA           94104                                  REVOLVER PAYMENTS             1/7/2019      $20,508,650.20
WELLS FARGO BANK      420 MONTGOMERY STREET                                                           SAN FRANCISCO       CA           94104                                  REVOLVER PAYMENTS             1/8/2019      $34,651,854.96
WELLS FARGO BANK      420 MONTGOMERY STREET                                                           SAN FRANCISCO       CA           94104                                  REVOLVER PAYMENTS             1/9/2019      $24,135,606.38
WELLS FARGO BANK      420 MONTGOMERY STREET                                                           SAN FRANCISCO       CA           94104                                  REVOLVER PAYMENTS            1/10/2019      $21,661,675.04
WELLS FARGO BANK      420 MONTGOMERY STREET                                                           SAN FRANCISCO       CA           94104                                  REVOLVER PAYMENTS            1/11/2019      $18,057,572.22
WELLS FARGO BANK      420 MONTGOMERY STREET                                                           SAN FRANCISCO       CA           94104                                  REVOLVER PAYMENTS            1/14/2019      $15,506,122.29
WELLS FARGO BANK      420 MONTGOMERY STREET                                                           SAN FRANCISCO       CA           94104                                  REVOLVER PAYMENTS            1/15/2019      $10,069,711.91
                      CIT GROUP COMMERCIAL
WELSPUN USA           SERVICES INC                  PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       10/23/2018            $1,497.12

                      5TH AVENUE 295 TEXTILE                                                                                                                                  PURCHASE OF
WELSPUN USA INC       BUILDING SUITE NO 1118-1120                                                     NEW YORK            NY           10016                                  MERCHANDISE                 11/2/2018          $142,726.15
WENDELL LAUBER        4400 S 80TH                   APT 303                                           LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS        11/5/2018               $60.85
WENDELL LAUBER        4400 S 80TH                   APT 303                                           LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS       11/26/2018               $13.15
WENDI WEBERPAL        11713 CTY M E                                                                   AVALON              WI           53505                                  SUPPLIERS OR VENDORS       10/18/2018               $34.19
WENDY ANDREW          5310 WILD CHERRY LN                                                             MCFARLAND           WI           53558                                  SUPPLIERS OR VENDORS       11/26/2018               $40.00
WENDY ANIBAS          520 S RIVERSIDE DR                                                              CORNELL             WI           54732                                  SUPPLIERS OR VENDORS       10/26/2018               $20.00
WENDY BECKLER         16771 RAILROAD LANE                                                             ASHTON              SD           57424                                  SUPPLIERS OR VENDORS        12/7/2018               $48.64
WENDY DEWEY           395 W CENTER ST                                                                 MIDVALE             UT           84047                                  SUPPLIERS OR VENDORS        12/3/2018               $10.00
WENDY GRAHAM          5313 ONYX BLVD                                                                  BILLINGS            MT           59106                                  SUPPLIERS OR VENDORS       11/29/2018               $40.00
WENDY JACOBS          N 9558 CNTY RD G G                                                              ST CLOUD            WI           53079                                  SUPPLIERS OR VENDORS       11/26/2018               $50.02
WENDY KANE            31972 CHAMBERS GROVE RD                                                         LANARK              IL           61046                                  SUPPLIERS OR VENDORS       11/26/2018               $51.20
WENDY LEVERTON        3642 W. LILLY CREEK RD                                                          FREEPORT            IL           61032                                  SUPPLIERS OR VENDORS       12/10/2018               $21.98
WENDY RUPPELT         2508 STATE STREET                                                               EAU CLAIRE          WI           54701                                  SUPPLIERS OR VENDORS        11/5/2018               $42.24
WENDY SHELSON         STORE 2-646                   SHOPKO EMPLOYEE        3285 S HURON ROAD          STANDISH            MI           48658                                  SUPPLIERS OR VENDORS       11/22/2018               $13.08
WENZELS FARM LLC      500 EAST 29TH STREET          PO BOX 357                                        MARSHFIELD          WI           54449                                  SUPPLIERS OR VENDORS        11/9/2018           $15,569.46
WERNER ENTERPRISES                                  39357 TREASURY
INCORPORATE           DEDICATED                     CENTER                                            CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS       12/18/2018                $1.00
WERNER ENTERPRISES                                  39357 TREASURY
INCORPORATED          DEDICATED                     CENTER                                            CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS       10/18/2018            $2,418.14
WERNER ENTERPRISES
INCORPORATED          39357 TREASURY CENTER                                                           CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS       10/19/2018           $24,254.05
WERNER ENTERPRISES
INCORPORATED          39357 TREASURY CENTER                                                           CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS       10/22/2018            $7,918.07




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WERNER ENTERPRISES
INCORPORATED          39357 TREASURY CENTER                                                     CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS      10/23/2018            $150.00
WERNER ENTERPRISES                            39357 TREASURY
INCORPORATED          DEDICATED               CENTER                                            CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS      10/23/2018        $126,683.72
WERNER ENTERPRISES                            39357 TREASURY
INCORPORATED          DEDICATED               CENTER                                            CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS      10/24/2018           $2,658.73
WERNER ENTERPRISES
INCORPORATED          39357 TREASURY CENTER                                                     CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS      10/25/2018         $54,528.63
WERNER ENTERPRISES
INCORPORATED          39357 TREASURY CENTER                                                     CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS      10/26/2018           $7,964.41
WERNER ENTERPRISES
INCORPORATED          39357 TREASURY CENTER                                                     CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS      10/29/2018         $10,376.13
WERNER ENTERPRISES                            39357 TREASURY
INCORPORATED          DEDICATED               CENTER                                            CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS      10/29/2018         $68,641.67
WERNER ENTERPRISES
INCORPORATED          39357 TREASURY CENTER                                                     CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS      10/30/2018         $12,885.08
WERNER ENTERPRISES                            39357 TREASURY
INCORPORATED          DEDICATED               CENTER                                            CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS      10/30/2018        $121,382.64
WERNER ENTERPRISES
INCORPORATED          39357 TREASURY CENTER                                                     CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS      10/31/2018           $7,788.80
WERNER ENTERPRISES
INCORPORATED          39357 TREASURY CENTER                                                     CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS       11/1/2018           $2,649.97
WERNER ENTERPRISES                            39357 TREASURY
INCORPORATED          DEDICATED               CENTER                                            CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS       11/1/2018           $3,079.12
WERNER ENTERPRISES
INCORPORATED          39357 TREASURY CENTER                                                     CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS       11/2/2018         $36,175.92
WERNER ENTERPRISES                            39357 TREASURY
INCORPORATED          DEDICATED               CENTER                                            CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS       11/2/2018         $92,561.40
WERNER ENTERPRISES
INCORPORATED          39357 TREASURY CENTER                                                     CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS       11/5/2018         $15,798.79
WERNER ENTERPRISES
INCORPORATED          39357 TREASURY CENTER                                                     CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS       11/8/2018         $15,971.50
WERNER ENTERPRISES
INCORPORATED          39357 TREASURY CENTER                                                     CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS       11/9/2018         $22,668.52
WERNER ENTERPRISES                            39357 TREASURY
INCORPORATED          DEDICATED               CENTER                                            CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS       11/9/2018        $146,269.17
WERNER ENTERPRISES
INCORPORATED          39357 TREASURY CENTER                                                     CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS      11/12/2018           $2,660.50
WERNER ENTERPRISES                            39357 TREASURY
INCORPORATED          DEDICATED               CENTER                                            CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS      11/13/2018           $1,995.99
WERNER ENTERPRISES
INCORPORATED          39357 TREASURY CENTER                                                     CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS      11/13/2018         $10,665.93
WERNER ENTERPRISES
INCORPORATED          39357 TREASURY CENTER                                                     CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS      11/14/2018         $10,646.47
WERNER ENTERPRISES                            39357 TREASURY
INCORPORATED          DEDICATED               CENTER                                            CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS      11/14/2018         $90,403.70
WERNER ENTERPRISES                            39357 TREASURY
INCORPORATED          DEDICATED               CENTER                                            CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS      11/15/2018           $1,779.53
WERNER ENTERPRISES
INCORPORATED          39357 TREASURY CENTER                                                     CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS      11/15/2018           $7,971.73
WERNER ENTERPRISES
INCORPORATED          39357 TREASURY CENTER                                                     CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS      11/16/2018           $7,962.12
WERNER ENTERPRISES
INCORPORATED          39357 TREASURY CENTER                                                     CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS      11/26/2018         $31,899.06



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                                                                                                                                                                         Reasons for payment or    Dates of     Total Amount or
      Creditor Name               Address1           Address2                 Address3                 City              State       Zip              Country                   transfer          Payments            Value
WERNER ENTERPRISES                            39357 TREASURY
INCORPORATED          DEDICATED               CENTER                                            CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS      11/26/2018         $166,595.02
WERNER ENTERPRISES
INCORPORATED          39357 TREASURY CENTER                                                     CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS      11/28/2018          $25,008.44
WERNER ENTERPRISES                            39357 TREASURY
INCORPORATED          DEDICATED               CENTER                                            CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS      11/28/2018         $169,635.41
WERNER ENTERPRISES                            39357 TREASURY
INCORPORATED          DEDICATED               CENTER                                            CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS      11/30/2018            $7,214.00
WERNER ENTERPRISES
INCORPORATED          39357 TREASURY CENTER                                                     CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS       12/3/2018              $50.00
WERNER ENTERPRISES                            39357 TREASURY
INCORPORATED          DEDICATED               CENTER                                            CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS       12/3/2018            $3,397.21
WERNER ENTERPRISES                            39357 TREASURY
INCORPORATED          DEDICATED               CENTER                                            CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS       12/5/2018            $2,517.63
WERNER ENTERPRISES
INCORPORATED          39357 TREASURY CENTER                                                     CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS       12/5/2018            $2,619.14
WERNER ENTERPRISES
INCORPORATED          39357 TREASURY CENTER                                                     CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS       12/7/2018            $7,928.99
WERNER ENTERPRISES                            39357 TREASURY
INCORPORATED          DEDICATED               CENTER                                            CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS       12/7/2018         $236,160.81
WERNER ENTERPRISES                            39357 TREASURY
INCORPORATED          DEDICATED               CENTER                                            CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS      12/10/2018          $39,481.37
WERNER ENTERPRISES
INCORPORATED          39357 TREASURY CENTER                                                     CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS      12/13/2018            $3,016.02
WERNER ENTERPRISES                            39357 TREASURY
INCORPORATED          DEDICATED               CENTER                                            CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS      12/13/2018          $16,829.30
WERNER ENTERPRISES                            39357 TREASURY
INCORPORATED          DEDICATED               CENTER                                            CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS      12/14/2018            $5,814.13
WERNER ENTERPRISES
INCORPORATED          39357 TREASURY CENTER                                                     CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS      12/14/2018            $7,870.02
WERNER ENTERPRISES
INCORPORATED          39357 TREASURY CENTER                                                     CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS      12/17/2018            $5,172.92
WERNER ENTERPRISES                            39357 TREASURY
INCORPORATED          DEDICATED               CENTER                                            CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS      12/17/2018          $83,230.88
WERNER ENTERPRISES
INCORPORATED          39357 TREASURY CENTER                                                     CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS      12/18/2018            $5,120.01
WERNER ENTERPRISES                            39357 TREASURY
INCORPORATED          DEDICATED               CENTER                                            CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS      12/18/2018          $29,980.36
WERNER ENTERPRISES
INCORPORATED          39357 TREASURY CENTER                                                     CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS      12/21/2018            $7,843.75
WERNER ENTERPRISES                            39357 TREASURY
INCORPORATED          DEDICATED               CENTER                                            CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS      12/21/2018          $70,313.07
WERNER ENTERPRISES
INCORPORATED          39357 TREASURY CENTER                                                     CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS      12/22/2018            $2,571.10
WERNER ENTERPRISES                            39357 TREASURY
INCORPORATED          DEDICATED               CENTER                                            CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS      12/22/2018          $29,193.43
WERNER ENTERPRISES
INCORPORATED          39357 TREASURY CENTER                                                     CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS         1/5/2019         $42,103.38
WERNER ENTERPRISES                            39357 TREASURY
INCORPORATED          DEDICATED               CENTER                                            CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS         1/5/2019        $305,340.16
WERNER ENTERPRISES
INCORPORATED          39357 TREASURY CENTER                                                     CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS         1/8/2019           $5,089.40
WERNER ENTERPRISES                            39357 TREASURY
INCORPORATED          DEDICATED               CENTER                                            CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS         1/9/2019         $77,130.34



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                                                                                                                                                                            Reasons for payment or    Dates of    Total Amount or
      Creditor Name                  Address1           Address2                 Address3                 City              State       Zip              Country                   transfer          Payments           Value
WERNER ENTERPRISES                               39357 TREASURY
INCORPORATED             DEDICATED               CENTER                                            CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS       1/10/2019         $15,762.83
WERNER ENTERPRISES
INCORPORATED             39357 TREASURY CENTER                                                     CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS       1/12/2019           $2,558.35
WERNER ENTERPRISES                               39357 TREASURY
INCORPORATED             DEDICATED               CENTER                                            CHICAGO             IL           60694-9300                             SUPPLIERS OR VENDORS       1/12/2019        $219,842.61
WERNER VALUE ADDED
SERVICES                 PO BOX 30172            PAM TO ORACLE                                     OMAHA               NE           60103-1272                             SUPPLIERS OR VENDORS      10/23/2018         $13,984.77
WERNER VALUE ADDED
SERVICES                 PO BOX 30172            PAM TO ORACLE                                     OMAHA               NE           60103-1272                             SUPPLIERS OR VENDORS      10/30/2018           $4,664.89
WERNER VALUE ADDED
SERVICES                 PO BOX 30172            PAM TO ORACLE                                     OMAHA               NE           60103-1272                             SUPPLIERS OR VENDORS       11/1/2018           $3,450.53
WERNER VALUE ADDED
SERVICES                 PO BOX 30172            PAM TO ORACLE                                     OMAHA               NE           60103-1272                             SUPPLIERS OR VENDORS       11/9/2018           $8,114.05
WES PITZER               216 N. PRAIRE ST                                                          CHIPPEWAFALLS       WI           54729                                  SUPPLIERS OR VENDORS      11/12/2018             $135.98
WESLEY JENSEN            923 NUNN AVE                                                              RICE LAKE           WI           54868                                  SUPPLIERS OR VENDORS      11/26/2018              $30.00
WESLEY KIRKPATRICK       820 JOSEPHINE ST                                                          CHAMBERLAIN         SD           57325                                  SUPPLIERS OR VENDORS      11/15/2018              $20.00
WESLEY LASH              41 E. 4TH ST                                                              LOWELL              OR           97452                                  SUPPLIERS OR VENDORS       11/2/2018              $29.98
WESLEY MOODY             919 BELVIEW                                                               BELOIT              WI           53511                                  SUPPLIERS OR VENDORS      11/28/2018              $16.85
WESLEY PALMER            48176 855 RD                                                              CHAMBERS            NE           68725                                  SUPPLIERS OR VENDORS       12/3/2018              $13.38
WESLEY POTRATZ           510 EAST SCOTT STREET                                                     OMRO                WI           54963                                  SUPPLIERS OR VENDORS      12/14/2018              $34.00
WESLEY VERMIES           STORE 2-133             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/19/2018             $249.08
WESLEY VERMIES           STORE 2-133             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/26/2018             $303.02
WESLEY VERMIES           STORE 2-133             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/2/2018              $75.76
WESLEY VERMIES           STORE 2-133             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/9/2018              $75.76
WESLEY VERMIES           STORE 2-133             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/16/2018              $75.76
WESLEY VERMIES           STORE 2-133             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/27/2018              $75.76
WESLEY VERMIES           STORE 2-133             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/30/2018              $75.76
WESLEY VERMIES           STORE 2-133             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/11/2018             $302.48
WESLEY VERMIES           STORE 2-133             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/14/2018             $249.07
WESLEY VERMIES           STORE 2-133             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/20/2018             $581.94
WESLEY VERMIES           STORE 2-133             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      12/29/2018             $445.67
WESLEY VERMIES           STORE 2-133             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        1/5/2019             $435.91
WESLEY VERMIES           STORE 2-133             SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       1/15/2019             $633.87
WESLEY YOKI , JR         740 WISCONSIN AVENUE                                                      CRYSTAL FALLS       MI           49920                                  SUPPLIERS OR VENDORS      12/17/2018               $6.47
WEST JORDAN POLICE                               8040 SOUTH REDWOOD
DEPARTMENT               ATTN ALARM UNIT         RD                                                WEST JORDAN         UT           84088                                  SUPPLIERS OR VENDORS      12/14/2018            $200.00

WEST POINT HOME CENTER   300 BUTTERFIELD ROAD                                                      WEST POINT          NE           68788                                  SUPPLIERS OR VENDORS      11/14/2018             $80.25
WEST SIDE BAKERY         1422 INDIANA AVENUE                                                       SHEBOYGAN           WI           53081                                  SUPPLIERS OR VENDORS      10/18/2018            $334.40
WEST SIDE BAKERY         1422 INDIANA AVENUE                                                       SHEBOYGAN           WI           53081                                  SUPPLIERS OR VENDORS      11/15/2018            $167.20
WEST SIDE BAKERY         1422 INDIANA AVENUE                                                       SHEBOYGAN           WI           53081                                  SUPPLIERS OR VENDORS      12/20/2018            $209.00
WEST SIDE BAKERY         1422 INDIANA AVENUE                                                       SHEBOYGAN           WI           53081                                  SUPPLIERS OR VENDORS      12/27/2018             $41.80
WESTCO RENTAL LLC        PO BOX 66                                                                 DALHART             TX           79022                                  SUPPLIERS OR VENDORS      10/19/2018             $54.13
WESTERN DIGITAL          28806 NETWORK PLACE                                                       CHICAGO             IL           60673-1288                             SUPPLIERS OR VENDORS      10/19/2018         $12,005.25
WESTERN DIGITAL          28806 NETWORK PLACE                                                       CHICAGO             IL           60673-1288                             SUPPLIERS OR VENDORS      10/23/2018         $20,252.00
WESTERN DIGITAL          28806 NETWORK PLACE                                                       CHICAGO             IL           60673-1288                             SUPPLIERS OR VENDORS      10/30/2018         $20,920.95
WESTERN DIGITAL          28806 NETWORK PLACE                                                       CHICAGO             IL           60673-1288                             SUPPLIERS OR VENDORS       11/6/2018         $16,400.75
WESTERN DIGITAL          28806 NETWORK PLACE                                                       CHICAGO             IL           60673-1288                             SUPPLIERS OR VENDORS       11/9/2018          $9,683.75
WESTERN DIGITAL          28806 NETWORK PLACE                                                       CHICAGO             IL           60673-1288                             SUPPLIERS OR VENDORS      11/16/2018          $1,616.99
WESTERN DIGITAL          28806 NETWORK PLACE                                                       CHICAGO             IL           60673-1288                             SUPPLIERS OR VENDORS      11/23/2018         $10,980.25
WESTERN DIGITAL          28806 NETWORK PLACE                                                       CHICAGO             IL           60673-1288                             SUPPLIERS OR VENDORS      11/27/2018         $18,027.00
WESTERN DIGITAL          28806 NETWORK PLACE                                                       CHICAGO             IL           60673-1288                             SUPPLIERS OR VENDORS      11/30/2018         $29,481.25
WESTERN DIGITAL          28806 NETWORK PLACE                                                       CHICAGO             IL           60673-1288                             SUPPLIERS OR VENDORS       12/4/2018          $6,379.00



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      Creditor Name                   Address1            Address2                  Address3                   City            State       Zip              Country                   transfer          Payments           Value
WESTERN IOWA REGIONAL
INSPECTIONS              1411 INDUSTRIAL PARKWAY                                                      HARLAN              IA           51537                                  SUPPLIERS OR VENDORS      10/22/2018            $101.25
WESTERN STATES FIRE
PROTECTION COMPANY       PO BOX 908                                                                   MISSOULA            MT           59806                                  SUPPLIERS OR VENDORS      10/25/2018            $389.00
WESTMAN CHAMPLIN &
KOEHLER                  SUITE 1400                 900 2ND AVENUE S                                  MINNEAPOLIS         MN           55402                                  SUPPLIERS OR VENDORS       11/9/2018           $4,526.50
WESTMAN CHAMPLIN &
KOEHLER                  SUITE 1400                 900 2ND AVENUE S                                  MINNEAPOLIS         MN           55402                                  SUPPLIERS OR VENDORS      11/16/2018           $1,723.00
WESTON COUNTY
TREASURER                1 WEST MAIN                                                                  NEWCASTLE           WY           82701                                  SUPPLIERS OR VENDORS       11/6/2018           $5,207.38
WESTON PORTER            2546 W 6000 S                                                                ROY                 UT           84067                                  SUPPLIERS OR VENDORS      12/20/2018              $53.00
WESTON STERNECKER        E8221 CTY C                                                                  ELK MOUND           WI           54739                                  SUPPLIERS OR VENDORS      11/16/2018              $14.60

WESTPORT CORPORATION     331 CHANGEBRIDGE ROAD      PO BOX 2002                                       PINE BROOK          NJ           07058                                  SUPPLIERS OR VENDORS      10/18/2018         $11,392.00

WESTPORT CORPORATION     331 CHANGEBRIDGE ROAD      PO BOX 2002                                       PINE BROOK          NJ           07058                                  SUPPLIERS OR VENDORS      10/22/2018         $50,211.00

WESTPORT CORPORATION     331 CHANGEBRIDGE ROAD      PO BOX 2002                                       PINE BROOK          NJ           07058                                  SUPPLIERS OR VENDORS      10/24/2018         $18,622.00

WESTPORT CORPORATION     331 CHANGEBRIDGE ROAD      PO BOX 2002                                       PINE BROOK          NJ           07058                                  SUPPLIERS OR VENDORS       11/6/2018         $32,673.27

WESTPORT CORPORATION     331 CHANGEBRIDGE ROAD      PO BOX 2002                                       PINE BROOK          NJ           07058                                  SUPPLIERS OR VENDORS       11/7/2018           $2,391.00

WESTPORT CORPORATION     331 CHANGEBRIDGE ROAD      PO BOX 2002                                       PINE BROOK          NJ           07058                                  SUPPLIERS OR VENDORS      11/22/2018         $44,904.62

WESTPORT CORPORATION     331 CHANGEBRIDGE ROAD      PO BOX 2002                                       PINE BROOK          NJ           07058                                  SUPPLIERS OR VENDORS      11/26/2018         $26,856.00

WESTPORT CORPORATION     331 CHANGEBRIDGE ROAD      PO BOX 2002                                       PINE BROOK          NJ           07058                                  SUPPLIERS OR VENDORS      11/27/2018         $15,258.00

WESTPORT CORPORATION     331 CHANGEBRIDGE ROAD      PO BOX 2002                                       PINE BROOK          NJ           07058                                  SUPPLIERS OR VENDORS      11/29/2018           $1,369.00

WESTPORT CORPORATION     331 CHANGEBRIDGE ROAD      PO BOX 2002                                       PINE BROOK          NJ           07058                                  SUPPLIERS OR VENDORS      11/30/2018         $28,016.05

WESTPORT CORPORATION     331 CHANGEBRIDGE ROAD      PO BOX 2002                                       PINE BROOK          NJ           07058                                  SUPPLIERS OR VENDORS       12/3/2018           $4,308.00
WESTWIND PLAZA
INCORPORATED             PO BOX 504                                                                   BELOIT              KS           67420                                  SUPPLIERS OR VENDORS       11/1/2018           $8,343.75
WESTWIND PLAZA
INCORPORATED             PO BOX 504                                                                   BELOIT              KS           67420                                  SUPPLIERS OR VENDORS       12/1/2018          $8,343.75
WEVEEL LLC               20 N PENNSYLVANIA AVE                                                        MORRISVILLE         PA           19067                                  SUPPLIERS OR VENDORS      10/26/2018         $10,288.10
WEVEEL LLC               20 N PENNSYLVANIA AVE                                                        MORRISVILLE         PA           19067                                  SUPPLIERS OR VENDORS      12/11/2018            $440.00
WEX BANK                 PO BOX 6293                                                                  CAROL STREAM        IL           60197-6293                             SUPPLIERS OR VENDORS      11/26/2018         $17,029.17
WEX BANK                 PO BOX 6293                                                                  CAROL STREAM        IL           60197-6293                             SUPPLIERS OR VENDORS      12/14/2018         $18,878.57
WG REG CLIFTON LLC       6712 COLUMBINE WAY                                                           PLANO               TX           75093                                  SUPPLIERS OR VENDORS       11/3/2018         $20,764.28
WG REG CLIFTON LLC       6712 COLUMBINE WAY                                                           PLANO               TX           75093                                  SUPPLIERS OR VENDORS       12/5/2018         $20,764.28
WHAT KIDS WANT           19428 LONDELIUS STREET                                                       NORTHRIDGE          CA           91324-0000                             SUPPLIERS OR VENDORS      10/18/2018          $4,603.93
WHEELERS RESTAURANT      4314 DEEP RIVER ROAD                                                         STANDISH            MI           48658                                  SUPPLIERS OR VENDORS      12/19/2018            $104.00

WHISPERING PINES
LANDSCAPE & LAWN CARE    RYAN LOHRENTZ              321 HIGH STREET                                   CLINTONVILLE        WI           54929                                  SUPPLIERS OR VENDORS      10/18/2018             $94.95

WHISPERING PINES
LANDSCAPE & LAWN CARE RYAN LOHRENTZ                 321 HIGH STREET                                   CLINTONVILLE        WI           54929                                  SUPPLIERS OR VENDORS      11/15/2018            $226.83
WHITE MARK UNIVERSAL (C-
HUB)                     1220 S MAPLE AVE STE 911                                                     LOS ANGELES         CA           90015                                  SUPPLIERS OR VENDORS      10/18/2018            $506.50



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                                                                                                                                                                                  Reasons for payment or    Dates of    Total Amount or
      Creditor Name                    Address1              Address2                  Address3                  City             State       Zip              Country                   transfer          Payments           Value
WHITE MARK UNIVERSAL (C-
HUB)                       1220 S MAPLE AVE STE 911                                                      LOS ANGELES         CA           90015                                  SUPPLIERS OR VENDORS      10/25/2018            $306.00
WHITE MARK UNIVERSAL (C-
HUB)                       1220 S MAPLE AVE STE 911                                                      LOS ANGELES         CA           90015                                  SUPPLIERS OR VENDORS       11/1/2018           $1,413.00
WHITE MARK UNIVERSAL (C-
HUB)                       1220 S MAPLE AVE STE 911                                                      LOS ANGELES         CA           90015                                  SUPPLIERS OR VENDORS       11/8/2018            $948.50
WHITE MARK UNIVERSAL (C-
HUB)                       1220 S MAPLE AVE STE 911                                                      LOS ANGELES         CA           90015                                  SUPPLIERS OR VENDORS      11/15/2018           $1,563.00
WHITE MARK UNIVERSAL (C-
HUB)                       1220 S MAPLE AVE STE 911                                                      LOS ANGELES         CA           90015                                  SUPPLIERS OR VENDORS      11/22/2018           $1,519.00
WHITE MARK UNIVERSAL (C-
HUB)                       1220 S MAPLE AVE STE 911                                                      LOS ANGELES         CA           90015                                  SUPPLIERS OR VENDORS      11/29/2018            $956.50
WHITE PINE COUNTY
TREASURER                  801 CLARK STREET STE 2                                                        ELY                 NV           89301                                  SUPPLIERS OR VENDORS       12/4/2018           $6,272.27
WHITEFISH CHAMBER OF
COMMERCE                   PO BOX 1120                                                                   WHITEFISH           MT           59937                                  SUPPLIERS OR VENDORS      12/19/2018            $355.00
                           8680 SWINNEA ROAD BLDG D
WHITMOR INCORPORATED       STE 103                                                                       SOUTHAVEN           MS           38671-0000                             SUPPLIERS OR VENDORS      10/18/2018         $49,168.20
                           8680 SWINNEA ROAD BLDG D
WHITMOR INCORPORATED       STE 103                                                                       SOUTHAVEN           MS           38671-0000                             SUPPLIERS OR VENDORS      10/25/2018         $26,655.82
                           8680 SWINNEA ROAD BLDG D
WHITMOR INCORPORATED       STE 103                                                                       SOUTHAVEN           MS           38671-0000                             SUPPLIERS OR VENDORS       11/1/2018         $70,579.32
                           8680 SWINNEA ROAD BLDG D
WHITMOR INCORPORATED       STE 103                                                                       SOUTHAVEN           MS           38671-0000                             SUPPLIERS OR VENDORS       11/8/2018         $24,582.10
                           8680 SWINNEA ROAD BLDG D
WHITMOR INCORPORATED       STE 103                                                                       SOUTHAVEN           MS           38671-0000                             SUPPLIERS OR VENDORS      11/15/2018         $11,712.36
                           8680 SWINNEA ROAD BLDG D
WHITMOR INCORPORATED       STE 103                                                                       SOUTHAVEN           MS           38671-0000                             SUPPLIERS OR VENDORS      11/22/2018         $32,975.82
                           8680 SWINNEA ROAD BLDG D
WHITMOR INCORPORATED       STE 103                                                                       SOUTHAVEN           MS           38671-0000                             SUPPLIERS OR VENDORS      11/29/2018         $21,918.88
WHITNEY EFFINGER           STORE 2-698                SHOPKO EMPLOYEE         718 4TH STREET             GOTHENBURG          NE           69138                                  SUPPLIERS OR VENDORS      11/15/2018             $49.60
WHITNEY GERBER             4127 S. CTY RD T                                                              BRODHEAD            WI           53520                                  SUPPLIERS OR VENDORS      10/26/2018            $108.00
WHITNEY ROSKOS             STORE 790                  SHOPKO EMPLOYEE         409 JUNCTION AVENUE        STANLEY             WI           54768-0000                             SUPPLIERS OR VENDORS      10/26/2018            $578.14
WHITNEY ROSKOS             STORE 790                  SHOPKO EMPLOYEE         409 JUNCTION AVENUE        STANLEY             WI           54768-0000                             SUPPLIERS OR VENDORS       11/9/2018            $459.86
WHITNEY TREU               1100 S 50 TH AVE           APT 98                                             WAUSAU              WI           54401                                  SUPPLIERS OR VENDORS      10/22/2018             $30.00

WHITNEY WHITESELL          STORE 574                  SHOPKO EMPLOYEE         2052 E COMMERCIAL AVE LOWELL                   IN           46356-2116                             SUPPLIERS OR VENDORS      10/19/2018            $217.06

WHITNEY WHITESELL          STORE 574                  SHOPKO EMPLOYEE         2052 E COMMERCIAL AVE LOWELL                   IN           46356-2116                             SUPPLIERS OR VENDORS      10/26/2018            $130.93

WHITNEY WHITESELL        STORE 574                     SHOPKO EMPLOYEE        2052 E COMMERCIAL AVE LOWELL                   IN           46356-2116                             SUPPLIERS OR VENDORS      11/16/2018             $226.14
WI CAL MAR               100 CANYON CREEK                                                           IRVINE                   CA           92603                                  SUPPLIERS OR VENDORS       11/1/2018          $76,839.53
WI CAL MAR               100 CANYON CREEK                                                           IRVINE                   CA           92603                                  SUPPLIERS OR VENDORS       12/4/2018          $76,839.53
WI DEPT OF REVENUE       PO BOX 8906                                                                MADISON                  WI           53708                                  SALES/USE TAX             11/21/2018           $1,053.74
WI DEPT OF REVENUE       PO BOX 8906                                                                MADISON                  WI           53708                                  SALES/USE TAX             11/21/2018           $6,389.05
WI DEPT OF REVENUE       PO BOX 8906                                                                MADISON                  WI           53708                                  SALES/USE TAX             11/21/2018       $1,597,572.51
                         FLAT B-D, 17TH FLOOR, E-TRADE                                                                                                                           PURCHASE OF
WICKED COOL (HK) LIMITED PLAZA                         24 LEE CHUNG STREET                               CHAI WAN                                      HONG KONG                 MERCHANDISE               11/14/2018         $41,573.36
                         FLAT B-D, 17TH FLOOR, E-TRADE                                                                                                                           PURCHASE OF
WICKED COOL (HK) LIMITED PLAZA                         24 LEE CHUNG STREET                               CHAI WAN                                      HONG KONG                 MERCHANDISE               11/26/2018         $68,932.86
                                                       10 CANAL STREET STE
WICKED COOL TOYS         WICKEDCOOL LLC                327                                               BRISTOL             PA           19007                                  SUPPLIERS OR VENDORS       11/1/2018           $1,358.45
                                                       10 CANAL STREET STE
WICKED COOL TOYS         WICKEDCOOL LLC                327                                               BRISTOL             PA           19007                                  SUPPLIERS OR VENDORS       11/8/2018            $777.48



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                                                     10 CANAL STREET STE
WICKED COOL TOYS           WICKEDCOOL LLC            327                                                BRISTOL             PA           19007                                  SUPPLIERS OR VENDORS      11/22/2018           $1,568.40
WIGWAM MILLS
INCORPORATED               PO BOX 818                                                                   SHEBOYGAN           WI           53082-0818                             SUPPLIERS OR VENDORS      10/18/2018           $2,717.88
WIGWAM MILLS
INCORPORATED               PO BOX 818                                                                   SHEBOYGAN           WI           53082-0818                             SUPPLIERS OR VENDORS      10/25/2018           $1,514.52
WIGWAM MILLS
INCORPORATED               PO BOX 818                                                                   SHEBOYGAN           WI           53082-0818                             SUPPLIERS OR VENDORS       11/1/2018           $6,087.84
WIGWAM MILLS
INCORPORATED               PO BOX 818                                                                   SHEBOYGAN           WI           53082-0818                             SUPPLIERS OR VENDORS       11/8/2018           $9,231.21
WIGWAM MILLS
INCORPORATED               PO BOX 818                                                                   SHEBOYGAN           WI           53082-0818                             SUPPLIERS OR VENDORS      11/15/2018           $3,901.08
WIGWAM MILLS
INCORPORATED               PO BOX 818                                                                   SHEBOYGAN           WI           53082-0818                             SUPPLIERS OR VENDORS      11/22/2018            $474.24
WIGWAM MILLS
INCORPORATED               PO BOX 818                                                                   SHEBOYGAN           WI           53082-0818                             SUPPLIERS OR VENDORS      11/29/2018           $3,493.20
                                                     115 N 36TH STREET
WILD THINGS SNACK INC      VICE PRESIDENT OF SALES   UNIT B                                             SEATTLE             WA           98103                                  SUPPLIERS OR VENDORS      10/25/2018            $940.00
WILDLIFE RESEARCH CENTER
INC                        14485 AZURITE STREET NW                                                      RAMSEY              MN           55303-4859                             SUPPLIERS OR VENDORS      10/19/2018           $7,392.00
WILDLIFE RESEARCH CENTER
INC                        14485 AZURITE STREET NW                                                      RAMSEY              MN           55303-4859                             SUPPLIERS OR VENDORS      10/23/2018            $640.60
WILDLIFE RESEARCH CENTER
INC                        14485 AZURITE STREET NW                                                      RAMSEY              MN           55303-4859                             SUPPLIERS OR VENDORS      10/26/2018           $1,305.90
WILDLIFE RESEARCH CENTER
INC                        14485 AZURITE STREET NW                                                      RAMSEY              MN           55303-4859                             SUPPLIERS OR VENDORS      10/30/2018            $297.00
WILDLIFE RESEARCH CENTER
INC                        14485 AZURITE STREET NW                                                      RAMSEY              MN           55303-4859                             SUPPLIERS OR VENDORS       11/6/2018            $964.44
WILDLIFE RESEARCH CENTER
INC                        14485 AZURITE STREET NW                                                      RAMSEY              MN           55303-4859                             SUPPLIERS OR VENDORS       11/9/2018           $2,112.70
WILDLIFE RESEARCH CENTER
INC                        14485 AZURITE STREET NW                                                      RAMSEY              MN           55303-4859                             SUPPLIERS OR VENDORS      11/13/2018           $1,295.90
WILDLIFE RESEARCH CENTER
INC                        14485 AZURITE STREET NW                                                      RAMSEY              MN           55303-4859                             SUPPLIERS OR VENDORS      11/16/2018            $468.50
WILDLIFE RESEARCH CENTER
INC                        14485 AZURITE STREET NW                                                      RAMSEY              MN           55303-4859                             SUPPLIERS OR VENDORS      11/23/2018           $1,599.70
WILDLIFE RESEARCH CENTER
INC                        14485 AZURITE STREET NW                                                      RAMSEY              MN           55303-4859                             SUPPLIERS OR VENDORS      11/27/2018           $1,343.20
WILDLIFE RESEARCH CENTER
INC                        14485 AZURITE STREET NW                                                      RAMSEY              MN           55303-4859                             SUPPLIERS OR VENDORS      11/30/2018           $2,413.90
WILEY X EYEWEAR DIV OF
PROTECT                    DEPT 34574                PO BOX 39000                                       SAN FRANCISCO       CA           94139                                  SUPPLIERS OR VENDORS       11/8/2018             $97.50
WILEY X EYEWEAR DIV OF
PROTECT                    DEPT 34574                PO BOX 39000                                       SAN FRANCISCO       CA           94139                                  SUPPLIERS OR VENDORS      12/12/2018            $376.00
WILHELMINA
INTERNATIONAL
INCORPORATED               DEPT 8107                 PO BOX 650002                                      DALLAS              TX           75265-8107                             SUPPLIERS OR VENDORS       11/1/2018           $3,150.00
WILKEE FARR GALLAGHER
LLP                        787 SEVENTH AVE                                                              NEW YORK            NY           10019                                  LEGAL SERVICES              1/9/2019        $243,759.67
WILL ANDERSON              130 SUNNEY MEAD           APT 1                                              MADISON             WI           53713                                  SUPPLIERS OR VENDORS      11/26/2018             $30.00
WILLAMETTE VALLEY
SEALCOATING                PO BOX 4155                                                                  SALEM               OR           97302                                  SUPPLIERS OR VENDORS      12/17/2018         $26,975.00
WILLARD HIEB               331 W FRANKLIN AVE                                                           SALEM               SD           57058                                  SUPPLIERS OR VENDORS      11/29/2018             $11.20
WILLARD HIEB               331 W FRANKLIN AVE                                                           SALEM               SD           57058                                  SUPPLIERS OR VENDORS      11/29/2018             $44.80



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WILLARD MAGLE            1417 NAVARINO ST                                                             ALGOMA              WI           54201                                  SUPPLIERS OR VENDORS        11/26/2018               $11.04
WILLARD MAGLE            1417 NAVARINO ST                                                             ALGOMA              WI           54201                                  SUPPLIERS OR VENDORS        11/26/2018               $44.16
WILLARD TROMETER         3809 OSAGE TERRACE                                                           SIOUX CITY          IA           51104                                  SUPPLIERS OR VENDORS        10/22/2018                $3.25

WILLIAM ATWOOD           5911 HWY 73 SOUTH                                                            WISCONSIN RAPIDS WI              54494                                  SUPPLIERS OR VENDORS       11/28/2018               $12.23

WILLIAM ATWOOD           5911 HWY 73 SOUTH                                                            WISCONSIN RAPIDS WI              54494                                  SUPPLIERS OR VENDORS       11/29/2018               $42.24
WILLIAM BAASCH           1 SONJA DRIVE                                                                DONIPHAN         NE              68832                                  SUPPLIERS OR VENDORS       11/15/2018              $163.00

WILLIAM BABIASH          STORE OPERATIONS/ STORE 079 SHOPKO EMPLOYEE                                  GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/2/2018              $212.89

WILLIAM BABIASH          STORE OPERATIONS/ STORE 079 SHOPKO EMPLOYEE                                  GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/9/2018              $176.61

WILLIAM BABIASH          STORE OPERATIONS/ STORE 079 SHOPKO EMPLOYEE                                  GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/16/2018              $138.04

WILLIAM BABIASH          STORE OPERATIONS/ STORE 079 SHOPKO EMPLOYEE                                  GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/30/2018              $280.50

WILLIAM BABIASH          STORE OPERATIONS/ STORE 079 SHOPKO EMPLOYEE                                  GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/14/2018              $181.06

WILLIAM BABIASH          STORE OPERATIONS/ STORE 079 SHOPKO EMPLOYEE                                  GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/29/2018              $508.65
WILLIAM BERGNER          W486 CTY E                                                                   GREEN VALLEY        WI           54127                                  SUPPLIERS OR VENDORS       10/22/2018               $25.00
WILLIAM BRANDT           N8334 CTY RD M                                                               SHIOCTON            WI           54170                                  SUPPLIERS OR VENDORS       12/18/2018                $3.60

WILLIAM CARTER COMPANY PO BOX 10534                                                                   PALATINE            IL           60055-0534                             SUPPLIERS OR VENDORS       10/23/2018           $32,930.22

WILLIAM CARTER COMPANY PO BOX 10534                                                                   PALATINE            IL           60055-0534                             SUPPLIERS OR VENDORS        11/8/2018              $390.35

WILLIAM CARTER COMPANY PO BOX 10534                                                                   PALATINE            IL           60055-0534                             SUPPLIERS OR VENDORS        11/9/2018               $89.00

WILLIAM CARTER COMPANY PO BOX 10534                                                                   PALATINE            IL           60055-0534                             SUPPLIERS OR VENDORS       11/10/2018            $2,394.75

WILLIAM CARTER COMPANY PO BOX 10534                                                                   PALATINE            IL           60055-0534                             SUPPLIERS OR VENDORS       11/13/2018           $12,262.55

WILLIAM CARTER COMPANY PO BOX 10534                                                                   PALATINE            IL           60055-0534                             SUPPLIERS OR VENDORS       11/14/2018              $875.00

WILLIAM CARTER COMPANY PO BOX 10534                                                                   PALATINE            IL           60055-0534                             SUPPLIERS OR VENDORS       11/15/2018            $2,359.60

WILLIAM CARTER COMPANY PO BOX 10534                                                                   PALATINE            IL           60055-0534                             SUPPLIERS OR VENDORS       11/16/2018            $3,743.30

WILLIAM CARTER COMPANY   PO BOX 10534                                                                 PALATINE            IL           60055-0534                             SUPPLIERS OR VENDORS       11/17/2018            $3,249.90
WILLIAM CRANE            63217 BOYD ACRES RD                                                          BEND                OR           97701                                  SUPPLIERS OR VENDORS       10/31/2018               $25.00
WILLIAM DOMINE           3094 ST HWY 68                                                               GHENT               MN           56239                                  SUPPLIERS OR VENDORS       11/29/2018               $28.31
WILLIAM E WINSCOT        STORE 753                  SHOPKO EMPLOYEE        2701 HIGHWAY 18 W          HOT SPRINGS         SD           57747                                  SUPPLIERS OR VENDORS        11/2/2018              $487.62
                                                                           1011 N WISCONSIN           PORT
WILLIAM ELLIOTT          STORE 2-503                SHOPKO EMPLOYEE        STREET                     WASHINGTON          WI           53074-0000                             SUPPLIERS OR VENDORS       10/25/2018               $29.43
WILLIAM FORST            2804 HELSINKI RD.                                                            GREEN BAY           WI           54311                                  SUPPLIERS OR VENDORS        12/7/2018               $20.00
WILLIAM GARIEPY          E 527 EMPIRE                                                                 SPOKANE             WA           99207                                  SUPPLIERS OR VENDORS       10/31/2018               $20.85
WILLIAM HAYWOOD          BOX 208                                                                      BRITTON             SD           57430                                  SUPPLIERS OR VENDORS       11/14/2018               $12.16
WILLIAM HEBBE            811 CLOVER COURT                                                             JEFFERSON           WI           53549                                  SUPPLIERS OR VENDORS       10/29/2018               $11.99
WILLIAM KALE             1801 3RD AVE SE APT. 7                                                       ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       11/26/2018               $12.16
WILLIAM KALE             1801 3RD AVE SE APT. 7                                                       ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS        12/7/2018               $48.64
                                                                           301 SOUTH MANTORVILLE
WILLIAM KASE             STORE 796                  SHOPKO EMPLOYEE        AVENUE                KASSON                   MN           55944                                  SUPPLIERS OR VENDORS       11/22/2018              $165.68
WILLIAM KENT             1913 BLACKBRIDGE RD                                                     JANESVILLE               WI           53545                                  SUPPLIERS OR VENDORS       10/18/2018               $49.60



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WILLIAM KUHN          1018 BLUEBIRD ST                                                             DE PERE             WI           54115                                  SUPPLIERS OR VENDORS        10/25/2018               $23.00
WILLIAM LANDER        STORE 776                 SHOPKO EMPLOYEE         513 GREYBULL AVENUE        GREYBULL            WY           82426                                  SUPPLIERS OR VENDORS        10/26/2018              $128.18
WILLIAM LANDER        STORE 776                 SHOPKO EMPLOYEE         513 GREYBULL AVENUE        GREYBULL            WY           82426                                  SUPPLIERS OR VENDORS        11/27/2018               $82.84
WILLIAM LANDER        STORE 776                 SHOPKO EMPLOYEE         513 GREYBULL AVENUE        GREYBULL            WY           82426                                  SUPPLIERS OR VENDORS        11/30/2018               $41.42
WILLIAM LOMBARD       BOX 178                                                                      INWOOD              IA           51240                                  SUPPLIERS OR VENDORS        11/26/2018               $12.00
WILLIAM LOMBARD       BOX 178                                                                      INWOOD              IA           51240                                  SUPPLIERS OR VENDORS        11/26/2018               $48.00
WILLIAM LUCKE         210 RED WOOD LANE                                                            LINCOLN             NE           68510                                  SUPPLIERS OR VENDORS        10/24/2018               $89.74
WILLIAM LUCKE         210 RED WOOD LANE                                                            LINCOLN             NE           68510                                  SUPPLIERS OR VENDORS        11/12/2018               $13.15
WILLIAM MANNING       545 CLARK ST.                                                                SOUTH BELOIT        IL           61080                                  SUPPLIERS OR VENDORS        11/29/2018               $30.00
WILLIAM MANNING       545 CLARK ST.                                                                SOUTH BELOIT        IL           61080                                  SUPPLIERS OR VENDORS        11/29/2018              $125.00
WILLIAM MCHEREY       115 PEARL STREET                                                             SHARON              WI           53585                                  SUPPLIERS OR VENDORS        10/24/2018               $56.00
WILLIAM MILLER        7943 29TH AVE                                                                KENOSHA             WI           53143                                  SUPPLIERS OR VENDORS         11/2/2018               $10.00
WILLIAM MILLER        1341 MADRAS ST SE                                                            SALEM               OR           97306                                  SUPPLIERS OR VENDORS         11/8/2018                $3.00
WILLIAM MITCHELL      128 E MARION ST                                                              PORTAGE             WI           53901                                  SUPPLIERS OR VENDORS        10/22/2018               $22.50
WILLIAM NOLAND        82993 EGGELSON LN                                                            ENTERPRISE          OR           97828                                  SUPPLIERS OR VENDORS        10/25/2018               $13.60
WILLIAM REINERT       502 E. QUINCY ST.                                                            NEW LONDON          WI           54961                                  SUPPLIERS OR VENDORS        11/12/2018               $55.98
WILLIAM REINTS        41963 125TH ST                                                               LANGFORD            SD           57454                                  SUPPLIERS OR VENDORS         12/7/2018               $48.64
WILLIAM RICKARD       20015 JAMES ST.                                                              HOUGHTON            MI           49930                                  SUPPLIERS OR VENDORS        10/22/2018                $1.38
WILLIAM RICKARD       20015 JAMES ST.                                                              HOUGHTON            MI           49930                                  SUPPLIERS OR VENDORS        10/24/2018                $5.52
WILLIAM SAPP          212 KINGS WAY                                                                WAUNAKEE            WI           53597                                  SUPPLIERS OR VENDORS        12/21/2018               $25.00
WILLIAM SCHICKEL      1443 E STATE ST                                                              MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS        12/13/2018               $48.00
WILLIAM SCHIEFER      PO BOX 505                                                                   CUSTER              SD           57730                                  SUPPLIERS OR VENDORS        11/26/2018               $13.60
WILLIAM SHEEDY        3601 WESTPOINT RD                                                            GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS        12/20/2018              $153.01

WILLIAM SMITH         401 COTTAGE GROVE RD APT 2                                                   MADISON             WI           53716                                  SUPPLIERS OR VENDORS       11/12/2018                $2.00
WILLIAM STALLMAN      29237 STATE HWY 7                                                            BEARDSLEY           MN           56211                                  SUPPLIERS OR VENDORS       12/13/2018               $38.68
WILLIAM STINNETT      ISD/STORE 080              SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       12/20/2018              $221.57
WILLIAM TADISCH       2732 OLD SETTLERS RD                                                         KEWAUNEE            WI           54216                                  SUPPLIERS OR VENDORS       11/13/2018              $961.20
WILLIAM TEMPLETON     4133 VEITH AVE                                                               MADISON             WI           53704                                  SUPPLIERS OR VENDORS       10/29/2018               $10.30
WILLIAM THOMPSON      P.O BOX 94                                                                   RAPID CITY          SD           57709                                  SUPPLIERS OR VENDORS       11/29/2018               $10.00
WILLIAM WANHALA       15075 KUIVANEN                                                               PELKIE              MI           49958                                  SUPPLIERS OR VENDORS       12/10/2018              $144.97
WILLIAM WENDT         514 S. PRINCE STREET                                                         WHITEWATER          WI           53190                                  SUPPLIERS OR VENDORS       10/22/2018               $10.00
WILLIAM WESTLUND      8600 AUGUSTA DR                                                              LINCOLN             NE           68526                                  SUPPLIERS OR VENDORS       10/29/2018               $47.94
WILLIAM WESTLUND      8600 AUGUSTA DR                                                              LINCOLN             NE           68526                                  SUPPLIERS OR VENDORS        11/1/2018               $11.98
WILLIAM WHITE         2812 LAREDO DR.                                                              LINCOLN             NE           68516                                  SUPPLIERS OR VENDORS       12/17/2018               $11.98
WILLIAM ZANON         N2163 LAHAIE DRIVE                                                           VULCAN              MI           49892                                  SUPPLIERS OR VENDORS        11/7/2018               $11.61
WILLIAM ZIMMERMAN     9 ST. CHARLES PL                                                             LITTLE CHUTE        WI           54140                                  SUPPLIERS OR VENDORS       10/26/2018              $136.34
WILLIAMS INLAND
DISTRIBUTING          1505 N BRADLEY            PAM TO ORACLE                                      SPOKANE VALLEY      WA           99212                                  SUPPLIERS OR VENDORS       10/18/2018            $1,592.16
WILLIAMS INLAND
DISTRIBUTING          1505 N BRADLEY            PAM TO ORACLE                                      SPOKANE VALLEY      WA           99212                                  SUPPLIERS OR VENDORS       10/25/2018            $3,002.04
WILLIAMS INLAND
DISTRIBUTING          1505 N BRADLEY            PAM TO ORACLE                                      SPOKANE VALLEY      WA           99212                                  SUPPLIERS OR VENDORS        11/1/2018              $787.59
WILLIAMS INLAND
DISTRIBUTING          1505 N BRADLEY            PAM TO ORACLE                                      SPOKANE VALLEY      WA           99212                                  SUPPLIERS OR VENDORS        11/8/2018              $180.00
WILLIAMS INLAND
DISTRIBUTING          1505 N BRADLEY            PAM TO ORACLE                                      SPOKANE VALLEY      WA           99212                                  SUPPLIERS OR VENDORS       11/15/2018            $1,051.32
WILLIAMS INLAND
DISTRIBUTING          1505 N BRADLEY            PAM TO ORACLE                                      SPOKANE VALLEY      WA           99212                                  SUPPLIERS OR VENDORS       11/22/2018              $926.82
WILLIAMS INLAND
DISTRIBUTING          1505 N BRADLEY            PAM TO ORACLE                                      SPOKANE VALLEY      WA           99212                                  SUPPLIERS OR VENDORS       11/29/2018              $400.20
WILLIAMS INLAND
DISTRIBUTING          1505 N BRADLEY            PAM TO ORACLE                                      SPOKANE VALLEY      WA           99212                                  SUPPLIERS OR VENDORS       12/20/2018            $3,231.24




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WILLIAMS INLAND
DISTRIBUTING            1505 N BRADLEY         PAM TO ORACLE                                       SPOKANE VALLEY      WA           99212                                  SUPPLIERS OR VENDORS      12/27/2018           $1,397.88
WILLIAMSON DICKIE
MANUFACTURING CO        PO BOX 915156                                                              DALLAS              TX           75391-5156                             SUPPLIERS OR VENDORS      10/18/2018            $794.09
WILLIAMSON DICKIE
MANUFACTURING CO        PO BOX 915156                                                              DALLAS              TX           75391-5156                             SUPPLIERS OR VENDORS      10/25/2018         $19,094.00
WILLIAMSON DICKIE
MANUFACTURING CO        PO BOX 915156                                                              DALLAS              TX           75391-5156                             SUPPLIERS OR VENDORS       11/1/2018         $14,104.72
WILLIAMSON DICKIE
MANUFACTURING CO        PO BOX 915156                                                              DALLAS              TX           75391-5156                             SUPPLIERS OR VENDORS       11/8/2018         $18,195.19
WILLIAMSON DICKIE
MANUFACTURING CO        PO BOX 915156                                                              DALLAS              TX           75391-5156                             SUPPLIERS OR VENDORS      11/15/2018           $1,103.30
WILLIAMSON DICKIE
MANUFACTURING CO        PO BOX 915156                                                              DALLAS              TX           75391-5156                             SUPPLIERS OR VENDORS      11/22/2018         $55,921.35
WILLIS SMITH            STORE 795              SHOPKO EMPLOYEE          1026 S CHALLIS STREET      SALMON              ID           83467                                  SUPPLIERS OR VENDORS       11/2/2018            $194.12
WILLOWBROOK COMPANY
LLC                     PO BOX 890654                                                              CHARLOTTE           NC           28289-0654                             SUPPLIERS OR VENDORS      10/18/2018             $84.71
WILLOWBROOK COMPANY
LLC                     PO BOX 890654                                                              CHARLOTTE           NC           28289-0654                             SUPPLIERS OR VENDORS      10/25/2018            $902.40
WILLOWBROOK COMPANY
LLC                     PO BOX 890654                                                              CHARLOTTE           NC           28289-0654                             SUPPLIERS OR VENDORS       11/1/2018           $2,398.56
WILLOWBROOK COMPANY
LLC                     PO BOX 890654                                                              CHARLOTTE           NC           28289-0654                             SUPPLIERS OR VENDORS       11/8/2018           $3,494.48
WILLOWBROOK COMPANY
LLC                     PO BOX 890654                                                              CHARLOTTE           NC           28289-0654                             SUPPLIERS OR VENDORS      11/15/2018           $1,779.36
WILLOWBROOK COMPANY
LLC                     PO BOX 890654                                                              CHARLOTTE           NC           28289-0654                             SUPPLIERS OR VENDORS      11/22/2018         $36,786.24
WILLOWBROOK COMPANY
LLC                     PO BOX 890654                                                              CHARLOTTE           NC           28289-0654                             SUPPLIERS OR VENDORS      11/29/2018          $3,559.68
WILMER GREEN            380 S YORKTOWN PIKE    #7                                                  MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS      11/29/2018             $12.00
WILMER GREEN            380 S YORKTOWN PIKE    #7                                                  MASON CITY          IA           50401                                  SUPPLIERS OR VENDORS      11/29/2018             $48.00
WILMER WIEDERRICH       524 NORTH DAKOTA ST.                                                       ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS      10/29/2018             $12.16
WILMER WIEDERRICH       524 NORTH DAKOTA ST.                                                       ABERDEEN            SD           57401                                  SUPPLIERS OR VENDORS       11/5/2018             $48.64
WILPORT LLC             105 FRONT ST                                                               BEAUFORT            NC           28516                                  SUPPLIERS OR VENDORS       11/1/2018         $14,009.41
WILPORT LLC             105 FRONT ST                                                               BEAUFORT            NC           28516                                  SUPPLIERS OR VENDORS       12/1/2018         $14,009.41
WILS BODY SHOP INC      6807 HWY 32                                                                LISBON              ND           58054                                  SUPPLIERS OR VENDORS      11/15/2018            $275.00
WILSON SPORTING GOODS
COMPANY                 PO BOX 3135                                                                CAROL STREAM        IL           60132-3135                             SUPPLIERS OR VENDORS      10/18/2018           $3,625.54
WILSON SPORTING GOODS
COMPANY                 PO BOX 3135                                                                CAROL STREAM        IL           60132-3135                             SUPPLIERS OR VENDORS      10/25/2018           $4,708.34
WILSON SPORTING GOODS
COMPANY                 PO BOX 3135                                                                CAROL STREAM        IL           60132-3135                             SUPPLIERS OR VENDORS       11/1/2018           $6,867.55
WILSON SPORTING GOODS
COMPANY                 PO BOX 3135                                                                CAROL STREAM        IL           60132-3135                             SUPPLIERS OR VENDORS       11/8/2018           $1,706.44
WILSON SPORTING GOODS
COMPANY                 PO BOX 3135                                                                CAROL STREAM        IL           60132-3135                             SUPPLIERS OR VENDORS      11/15/2018           $5,756.97
WILSON SPORTING GOODS
COMPANY                 PO BOX 3135                                                                CAROL STREAM        IL           60132-3135                             SUPPLIERS OR VENDORS      11/22/2018           $4,247.10
WILSON SPORTING GOODS
COMPANY                 PO BOX 3135                                                                CAROL STREAM        IL           60132-3135                             SUPPLIERS OR VENDORS      11/29/2018           $3,278.70
WILTON INDUSTRIES
INCORPORATED            24485 NETWORK PLACE                                                        CHICAGO             IL           60673-0000                             SUPPLIERS OR VENDORS      10/18/2018           $3,614.85
WILTON INDUSTRIES
INCORPORATED            24485 NETWORK PLACE                                                        CHICAGO             IL           60673-0000                             SUPPLIERS OR VENDORS      10/23/2018           $3,699.45



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WILTON INDUSTRIES
INCORPORATED             24485 NETWORK PLACE                                                            CHICAGO             IL           60673-0000                             SUPPLIERS OR VENDORS      10/25/2018            $885.00
WILTON INDUSTRIES
INCORPORATED             24485 NETWORK PLACE                                                            CHICAGO             IL           60673-0000                             SUPPLIERS OR VENDORS      10/30/2018            $484.75
WILTON INDUSTRIES
INCORPORATED             24485 NETWORK PLACE                                                            CHICAGO             IL           60673-0000                             SUPPLIERS OR VENDORS       11/1/2018            $603.95
WILTON INDUSTRIES
INCORPORATED             24485 NETWORK PLACE                                                            CHICAGO             IL           60673-0000                             SUPPLIERS OR VENDORS       11/6/2018            $414.55
WILTON INDUSTRIES
INCORPORATED             24485 NETWORK PLACE                                                            CHICAGO             IL           60673-0000                             SUPPLIERS OR VENDORS       12/4/2018           $2,003.02
WINDOM STATE THEATER     926 4TH AVE                                                                    WINDOM              MN           56101                                  SUPPLIERS OR VENDORS      10/26/2018              $50.00
WINKEL DISTRIBUTING      2200 SOUTH RED HILLS DRIVE                                                     RICHFIELD           UT           84701                                  SUPPLIERS OR VENDORS      11/15/2018             $805.97
                                                                                                                                                                                WINNECONNE NOTE
WINN SHOP V LLC                                                                                                                                                                 PAYMENT                   11/13/2018         $10,138.20
WINNIFRED KRUEGER        2779 E SHORE LANE                                                              CRANDON             WI           54520                                  SUPPLIERS OR VENDORS      11/26/2018            $149.97
WINNING STREAK SPORTS
LLC                      9821 WIDMER                                                                    LENEXA              KS           66215                                  SUPPLIERS OR VENDORS      11/23/2018         $38,275.09
WINSOME TRADING          16111 WOODINVILLE
INCORPORATED             REDMOND ROAD                                                                   WOODINVILLE         WA           98072-0000                             SUPPLIERS OR VENDORS      10/18/2018           $2,091.50
WINSOME TRADING          16111 WOODINVILLE
INCORPORATED             REDMOND ROAD                                                                   WOODINVILLE         WA           98072-0000                             SUPPLIERS OR VENDORS      10/25/2018           $1,488.00
WINSOME TRADING          16111 WOODINVILLE
INCORPORATED             REDMOND ROAD                                                                   WOODINVILLE         WA           98072-0000                             SUPPLIERS OR VENDORS       11/1/2018           $1,105.00
WINSOME TRADING          16111 WOODINVILLE
INCORPORATED             REDMOND ROAD                                                                   WOODINVILLE         WA           98072-0000                             SUPPLIERS OR VENDORS       11/8/2018           $1,460.50
WINSOME TRADING          16111 WOODINVILLE
INCORPORATED             REDMOND ROAD                                                                   WOODINVILLE         WA           98072-0000                             SUPPLIERS OR VENDORS      11/15/2018           $2,438.50
WINSOME TRADING          16111 WOODINVILLE
INCORPORATED             REDMOND ROAD                                                                   WOODINVILLE         WA           98072-0000                             SUPPLIERS OR VENDORS      11/22/2018           $1,335.50
WINSOME TRADING          16111 WOODINVILLE
INCORPORATED             REDMOND ROAD                                                                   WOODINVILLE         WA           98072-0000                             SUPPLIERS OR VENDORS      11/29/2018           $1,807.50
WINSTON PRODUCTS LLC     PO BOX 72192                                                                   CLEVELAND           OH           44192-0002                             SUPPLIERS OR VENDORS      10/19/2018           $3,135.69
WINSTON PRODUCTS LLC     PO BOX 72192                                                                   CLEVELAND           OH           44192-0002                             SUPPLIERS OR VENDORS      10/30/2018           $2,791.84
WINSTON PRODUCTS LLC     PO BOX 72192                                                                   CLEVELAND           OH           44192-0002                             SUPPLIERS OR VENDORS       11/6/2018              $62.89
WINSTON PRODUCTS LLC     PO BOX 72192                                                                   CLEVELAND           OH           44192-0002                             SUPPLIERS OR VENDORS      11/13/2018           $3,869.86
WINSTON WELLS            1059 W. COLLEGE AVE.                                                           JACKSONVILLE        IL           62650                                  SUPPLIERS OR VENDORS      10/26/2018              $37.00

WINTERSET WINDFALL LLC   1515 WEST MAPLE AVENUE                                                         RED WING            MN           55066                                  SUPPLIERS OR VENDORS      11/10/2018         $17,120.00

WINTERSET WINDFALL LLC   1515 WEST MAPLE AVENUE                                                         RED WING            MN           55066                                  SUPPLIERS OR VENDORS       12/8/2018         $17,120.00
WIPFLI LLP               PO BOX 3160                                                                    MILWAUKEE           WI           53201-3160                             SUPPLIERS OR VENDORS      10/25/2018         $11,800.00
                         WASHINGTON INVENTORY
WIS INTERNATIONAL        SERVICE                      PO BOX 200081                                     DALLAS              TX           75320-0081                             SUPPLIERS OR VENDORS      10/30/2018         $13,379.93

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES     101 S WEBSTER STREET         PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES       10/5/2018             $66.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES     101 S WEBSTER STREET         PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES       10/5/2018             $68.20

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES     101 S WEBSTER STREET         PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES       10/5/2018             $75.85




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WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES       10/5/2018             $84.50

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES       10/5/2018            $148.10

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES       10/5/2018            $159.75

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES       10/5/2018            $299.70

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES       10/5/2018            $324.20

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES       10/5/2018            $464.70

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES       10/5/2018           $1,186.05

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      10/12/2018             $21.25

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      10/12/2018             $25.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      10/12/2018             $39.50

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      10/12/2018             $85.75

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      10/12/2018            $317.40

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      10/12/2018            $334.50

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      10/12/2018            $386.50

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      10/12/2018            $406.50

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      10/12/2018            $505.50

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      10/12/2018            $505.70

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      10/12/2018            $720.30



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WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      10/19/2018             $34.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      10/19/2018             $45.50

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      10/19/2018             $63.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      10/19/2018             $64.50

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      10/19/2018             $67.50

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      10/19/2018            $158.35

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      10/19/2018            $175.85

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      10/19/2018            $191.70

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      10/19/2018            $244.50

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      10/19/2018            $386.55

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      10/26/2018             $23.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      10/26/2018             $33.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      10/26/2018             $41.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      10/26/2018             $96.70

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      10/26/2018            $130.35

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      10/26/2018            $198.70

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      10/26/2018            $642.40

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES       11/2/2018             $11.00



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WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES       11/2/2018             $46.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES       11/2/2018             $46.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES       11/2/2018             $49.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES       11/2/2018             $68.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES       11/2/2018            $456.50

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES       11/2/2018            $743.60

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES       11/9/2018               $1.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES       11/9/2018             $21.50

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES       11/9/2018             $22.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES       11/9/2018             $43.50

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES       11/9/2018             $46.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES       11/9/2018             $57.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES       11/9/2018             $74.50

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES       11/9/2018            $112.50

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES       11/9/2018            $149.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES       11/9/2018            $247.95

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES       11/9/2018            $669.50

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES       11/9/2018            $794.80



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                                                                                                                                                                         Reasons for payment or    Dates of    Total Amount or
     Creditor Name              Address1            Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      11/16/2018             $21.50

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      11/16/2018             $22.50

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      11/16/2018             $23.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      11/16/2018             $23.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      11/16/2018             $44.50

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      11/16/2018             $46.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      11/16/2018             $83.50

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      11/16/2018            $105.50

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      11/16/2018            $156.50

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      11/16/2018            $268.35

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      11/16/2018            $379.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      11/16/2018            $445.50

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      11/16/2018            $988.45

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      11/16/2018           $1,491.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      11/23/2018             $22.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      11/23/2018             $91.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      11/23/2018            $118.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      11/23/2018            $252.00



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                                                                                                                                                                         Reasons for payment or    Dates of    Total Amount or
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WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      11/23/2018            $264.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      11/23/2018            $465.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      11/23/2018            $507.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      11/23/2018            $511.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      11/23/2018           $1,175.45

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      11/23/2018           $1,688.50

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      11/23/2018           $2,011.85

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      11/23/2018           $2,387.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      11/23/2018           $5,645.25

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      11/23/2018           $6,066.35

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      11/30/2018             $13.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      11/30/2018             $15.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      11/30/2018             $19.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      11/30/2018             $23.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      11/30/2018             $23.50

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      11/30/2018             $45.50

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      11/30/2018             $48.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      11/30/2018            $146.50



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                                                                                                                                                                         Reasons for payment or    Dates of    Total Amount or
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WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      11/30/2018            $179.50

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES       12/7/2018             $13.50

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES       12/7/2018             $19.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES       12/7/2018             $19.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES       12/7/2018             $23.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES       12/7/2018             $51.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      12/14/2018               $8.50

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      12/14/2018             $40.50

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      12/14/2018             $55.50

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      12/14/2018             $58.25

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      12/14/2018             $80.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      12/21/2018               $1.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      12/21/2018             $19.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      12/21/2018             $19.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      12/21/2018             $44.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      12/21/2018             $47.50

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      12/21/2018             $76.50

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      12/28/2018               $4.00



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                                                                                                                                                                         Reasons for payment or    Dates of     Total Amount or
     Creditor Name              Address1            Address2                  Address3                 City              State       Zip              Country                   transfer          Payments            Value

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      12/28/2018              $23.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      12/28/2018              $46.50

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      12/28/2018              $54.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES      12/28/2018              $63.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES         1/4/2019             $19.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES         1/4/2019             $19.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES         1/4/2019             $21.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES         1/4/2019             $28.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES         1/4/2019             $29.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES         1/4/2019            $102.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES         1/4/2019            $140.70

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES         1/4/2019            $785.50

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES       1/11/2019                $6.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES       1/11/2019              $19.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES       1/11/2019              $35.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES       1/11/2019              $58.50

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES       1/11/2019              $65.00

WISCONSIN DEPARTMENT
OF NATURAL RESOURCES   101 S WEBSTER STREET   PO BOX 7921                                       MADISON             WI           53707                                  PAYMENT FOR SERVICES       1/11/2019              $76.00



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                                                                                                                                                                         Reasons for payment or    Dates of    Total Amount or
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WISCONSIN DEPARTMENT
OF REVENUE               2135 RIMROCK ROAD                                                      MADISON             WI           53713                                  SALES & USE TAX           10/22/2018            $443.08

WISCONSIN DEPARTMENT
OF REVENUE               2135 RIMROCK ROAD                                                      MADISON             WI           53713                                  SALES & USE TAX           10/22/2018         $20,348.85

WISCONSIN DEPARTMENT
OF REVENUE               2135 RIMROCK ROAD                                                      MADISON             WI           53713                                  SALES & USE TAX           10/22/2018       $2,141,428.28

WISCONSIN DEPARTMENT
OF REVENUE               2135 RIMROCK ROAD                                                      MADISON             WI           53713                                  SALES & USE TAX           12/21/2018           $2,976.16

WISCONSIN DEPARTMENT
OF REVENUE               2135 RIMROCK ROAD                                                      MADISON             WI           53713                                  SALES & USE TAX           12/21/2018       $2,450,202.71

WISCONSIN DISTRIBUTORS   900 PROGRESS WAY                                                       SUN PRAIRIE         WI           53590                                  SUPPLIERS OR VENDORS      10/19/2018             $32.85
WISCONSIN LIFT TRUCK
CORPORATION              2588 SOLUTIONS CENTER                                                  CHICAGO             IL           60677-2005                             SUPPLIERS OR VENDORS      10/18/2018            $516.96
WISCONSIN LIFT TRUCK
CORPORATION              2588 SOLUTIONS CENTER                                                  CHICAGO             IL           60677-2005                             SUPPLIERS OR VENDORS      10/18/2018            $561.98
WISCONSIN LIFT TRUCK
CORPORATION              2588 SOLUTIONS CENTER                                                  CHICAGO             IL           60677-2005                             SUPPLIERS OR VENDORS       11/1/2018            $727.52
WISCONSIN LIFT TRUCK
CORPORATION              2588 SOLUTIONS CENTER                                                  CHICAGO             IL           60677-2005                             SUPPLIERS OR VENDORS       11/8/2018            $129.54
WISCONSIN LIFT TRUCK
CORPORATION              2588 SOLUTIONS CENTER                                                  CHICAGO             IL           60677-2005                             SUPPLIERS OR VENDORS      11/15/2018           $1,614.16
WISCONSIN LIFT TRUCK
CORPORATION              2588 SOLUTIONS CENTER                                                  CHICAGO             IL           60677-2005                             SUPPLIERS OR VENDORS      11/29/2018            $361.48
WISCONSIN LIFT TRUCK
CORPORATION              2588 SOLUTIONS CENTER                                                  CHICAGO             IL           60677-2005                             SUPPLIERS OR VENDORS      12/17/2018            $429.12
WISCONSIN LIFT TRUCK
CORPORATION              2588 SOLUTIONS CENTER                                                  CHICAGO             IL           60677-2005                             SUPPLIERS OR VENDORS      12/17/2018            $516.96
WISCONSIN LIFT TRUCK
CORPORATION              2588 SOLUTIONS CENTER                                                  CHICAGO             IL           60677-2005                             SUPPLIERS OR VENDORS      12/18/2018            $129.54
WISCONSIN LOTTERY        PO BOX 8941                                                            MADISON             WI           53708                                  PAYMENT FOR SERVICES       10/5/2018          $1,026.39
WISCONSIN LOTTERY        PO BOX 8941                                                            MADISON             WI           53708                                  PAYMENT FOR SERVICES      10/12/2018          $3,788.53
WISCONSIN LOTTERY        PO BOX 8941                                                            MADISON             WI           53708                                  PAYMENT FOR SERVICES      10/19/2018         $17,329.64
WISCONSIN LOTTERY        PO BOX 8941                                                            MADISON             WI           53708                                  PAYMENT FOR SERVICES      10/26/2018         $24,377.51
WISCONSIN LOTTERY        PO BOX 8941                                                            MADISON             WI           53708                                  PAYMENT FOR SERVICES       11/2/2018         $23,915.22
WISCONSIN LOTTERY        PO BOX 8941                                                            MADISON             WI           53708                                  PAYMENT FOR SERVICES       11/9/2018          $7,857.60
WISCONSIN LOTTERY        PO BOX 8941                                                            MADISON             WI           53708                                  PAYMENT FOR SERVICES      11/16/2018         $23,387.82
WISCONSIN LOTTERY        PO BOX 8941                                                            MADISON             WI           53708                                  PAYMENT FOR SERVICES      11/23/2018          $4,712.19
WISCONSIN LOTTERY        PO BOX 8941                                                            MADISON             WI           53708                                  PAYMENT FOR SERVICES      11/30/2018          $2,888.68
WISCONSIN LOTTERY        PO BOX 8941                                                            MADISON             WI           53708                                  PAYMENT FOR SERVICES       12/7/2018         $20,503.15
WISCONSIN LOTTERY        PO BOX 8941                                                            MADISON             WI           53708                                  PAYMENT FOR SERVICES      12/14/2018          $4,126.51
WISCONSIN LOTTERY        PO BOX 8941                                                            MADISON             WI           53708                                  PAYMENT FOR SERVICES      12/21/2018          $5,449.46
WISCONSIN LOTTERY        PO BOX 8941                                                            MADISON             WI           53708                                  PAYMENT FOR SERVICES      12/28/2018         $15,499.97
WISCONSIN LOTTERY        PO BOX 8941                                                            MADISON             WI           53708                                  PAYMENT FOR SERVICES        1/4/2019          $7,644.66
WISCONSIN LOTTERY        PO BOX 8941                                                            MADISON             WI           53708                                  PAYMENT FOR SERVICES       1/11/2019          $6,574.79
WISCONSIN PHARMACAL CO
LTD                      PO BOX 510                                                             JACKSON             WI           53037                                  SUPPLIERS OR VENDORS      10/19/2018           $1,040.36
WISCONSIN PHARMACAL CO
LTD                      PO BOX 510                                                             JACKSON             WI           53037                                  SUPPLIERS OR VENDORS      10/26/2018           $2,730.42



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WISCONSIN PHARMACAL CO
LTD                      PO BOX 510                                                           JACKSON             WI           53037                                  SUPPLIERS OR VENDORS       11/2/2018           $4,206.24
WISCONSIN PHARMACAL CO
LTD                      PO BOX 510                                                           JACKSON             WI           53037                                  SUPPLIERS OR VENDORS       11/9/2018            $832.46
WISCONSIN PHARMACAL CO
LTD                      PO BOX 510                                                           JACKSON             WI           53037                                  SUPPLIERS OR VENDORS      11/16/2018           $2,719.72
WISCONSIN PHARMACAL CO
LTD                      PO BOX 510                                                           JACKSON             WI           53037                                  SUPPLIERS OR VENDORS      11/30/2018           $8,904.52
WISCONSIN PHARMACAL CO
LTD                      PO BOX 510                                                           JACKSON             WI           53037                                  SUPPLIERS OR VENDORS      12/13/2018           $5,475.39
WISCONSIN PHARMACAL CO
LTD                      PO BOX 510                                                           JACKSON             WI           53037                                  SUPPLIERS OR VENDORS      12/19/2018            $562.68
WISCONSIN PHARMACAL CO
LTD                      PO BOX 510                                                           JACKSON             WI           53037                                  SUPPLIERS OR VENDORS      12/20/2018            $500.10
WISCONSIN PHARMACAL CO
LTD                      PO BOX 510                                                           JACKSON             WI           53037                                  SUPPLIERS OR VENDORS      12/21/2018            $293.76
WISCONSIN PHARMACAL CO
LTD                      PO BOX 510                                                           JACKSON             WI           53037                                  SUPPLIERS OR VENDORS      12/22/2018            $326.88
WISCONSIN VISION
ASSOCIATES               PO BOX 900                                                           BURLINGTON          WI           53105                                  SUPPLIERS OR VENDORS      10/18/2018        $303,357.10
WISCONSIN VISION
ASSOCIATES               PO BOX 900                                                           BURLINGTON          WI           53105                                  SUPPLIERS OR VENDORS      10/25/2018        $283,811.07
WISCONSIN VISION
ASSOCIATES               PO BOX 900                                                           BURLINGTON          WI           53105                                  SUPPLIERS OR VENDORS       11/1/2018        $286,403.73
WISCONSIN VISION
ASSOCIATES               PO BOX 900                                                           BURLINGTON          WI           53105                                  SUPPLIERS OR VENDORS       11/8/2018        $225,171.89
WISCONSIN VISION
ASSOCIATES               PO BOX 900                                                           BURLINGTON          WI           53105                                  SUPPLIERS OR VENDORS      11/15/2018        $261,807.94
WISCONSIN VISION
ASSOCIATES               PO BOX 900                                                           BURLINGTON          WI           53105                                  SUPPLIERS OR VENDORS      11/22/2018        $228,485.95
WISCONSIN VISION
ASSOCIATES               PO BOX 900                                                           BURLINGTON          WI           53105                                  SUPPLIERS OR VENDORS      11/29/2018        $257,434.64
WISCONSIN VISION
ASSOCIATES               PO BOX 900                                                           BURLINGTON          WI           53105                                  SUPPLIERS OR VENDORS      12/12/2018        $491,427.24
WISCONSIN VISION
ASSOCIATES               PO BOX 900                                                           BURLINGTON          WI           53105                                  SUPPLIERS OR VENDORS      12/18/2018        $208,227.09
WISCONSIN VISION
ASSOCIATES               PO BOX 900                                                           BURLINGTON          WI           53105                                  SUPPLIERS OR VENDORS      12/19/2018         $35,219.90
WISCONSIN VISION
ASSOCIATES               PO BOX 900                                                           BURLINGTON          WI           53105                                  SUPPLIERS OR VENDORS      12/21/2018         $57,987.82
WISCONSIN VISION
ASSOCIATES               PO BOX 900                                                           BURLINGTON          WI           53105                                  SUPPLIERS OR VENDORS      12/27/2018        $188,894.43
WIT GROUP                PO BOX 430                                                           ROSEVILLE           CA           95678-0430                             SUPPLIERS OR VENDORS      10/18/2018          $1,624.55
WIT GROUP                PO BOX 430                                                           ROSEVILLE           CA           95678-0430                             SUPPLIERS OR VENDORS      11/15/2018         $11,239.77
WIWIEN MEYERS            80 E WAUKAU AVE                                                      OSHKOSH             WI           54902                                  SUPPLIERS OR VENDORS      10/26/2018             $12.00
WOLVERINE WORLDWIDE
(KEDS)                   25759 NETWORK PLACE                                                  CHICAGO             IL           60673-1257                             SUPPLIERS OR VENDORS      10/23/2018        $131,954.74
WOLVERINE WORLDWIDE
(KEDS)                   25759 NETWORK PLACE                                                  CHICAGO             IL           60673-1257                             SUPPLIERS OR VENDORS      10/26/2018         $57,227.01
WOLVERINE WORLDWIDE
(KEDS)                   25759 NETWORK PLACE                                                  CHICAGO             IL           60673-1257                             SUPPLIERS OR VENDORS       11/6/2018        $106,192.06
WOLVERINE WORLDWIDE
(KEDS)                   25759 NETWORK PLACE                                                  CHICAGO             IL           60673-1257                             SUPPLIERS OR VENDORS       11/9/2018         $62,111.34




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                                                                                                                                                                               Reasons for payment or    Dates of    Total Amount or
      Creditor Name                  Address1             Address2                  Address3                   City            State       Zip              Country                   transfer          Payments           Value

WOMACKS PRINTING PLACE 126 N MONTANA STREET                                                           DILLON              MT           59725                                  SUPPLIERS OR VENDORS      11/15/2018             $90.00

WOMACKS PRINTING PLACE     126 N MONTANA STREET                                                       DILLON              MT           59725                                  SUPPLIERS OR VENDORS      12/17/2018             $50.00
WONDERFUL PISTACHIOS &
ALMONDS                    PO BOX 200937                                                              DALLAS              TX           75320                                  SUPPLIERS OR VENDORS      10/18/2018         $24,947.09
WONDERFUL PISTACHIOS &
ALMONDS                    PO BOX 200937                                                              DALLAS              TX           75320                                  SUPPLIERS OR VENDORS      10/25/2018         $17,367.70
WONDERFUL PISTACHIOS &
ALMONDS                    PO BOX 200937                                                              DALLAS              TX           75320                                  SUPPLIERS OR VENDORS       11/1/2018         $18,920.93
WONDERFUL PISTACHIOS &
ALMONDS                    PO BOX 200937                                                              DALLAS              TX           75320                                  SUPPLIERS OR VENDORS      11/22/2018         $18,909.67
WONDERFUL PISTACHIOS &
ALMONDS                    PO BOX 200937                                                              DALLAS              TX           75320                                  SUPPLIERS OR VENDORS      11/29/2018         $92,465.61
WOODBOLT DIST DBA
NUTRABOLT                  PO BOX 844180                                                              DALLAS              TX           75284-4180                             SUPPLIERS OR VENDORS       11/9/2018           $5,069.28
WOODBOLT DIST DBA
NUTRABOLT                  PO BOX 844180                                                              DALLAS              TX           75284-4180                             SUPPLIERS OR VENDORS      11/16/2018           $2,549.28
WOODBOLT DIST DBA
NUTRABOLT                  PO BOX 844180                                                              DALLAS              TX           75284-4180                             SUPPLIERS OR VENDORS      11/27/2018           $2,549.28

WOODBURY COUNTY                                     822 DOUGLAS STREET
JUVENILE DETENTION CENTE   CENTER                   SUITE 401                                         SIOUX CITY          IA           51101                                  SUPPLIERS OR VENDORS      11/26/2018            $109.85
WOODS SUPER MARKETS
INCORPORATED               PO BOX 880                                                                 BOLIVAR             MO           65613-0880                             SUPPLIERS OR VENDORS       11/1/2018           $6,166.67
WOODS SUPER MARKETS
INCORPORATED               PO BOX 880                                                                 BOLIVAR             MO           65613-0880                             SUPPLIERS OR VENDORS       12/3/2018           $6,166.67
WOODSIDE INDUSTRIES
INCORPORATED               606 DIVISION AVE SOUTH                                                     CAVALIER            ND           58220                                  SUPPLIERS OR VENDORS      10/19/2018             $80.00
WOODSIDE INDUSTRIES
INCORPORATED               606 DIVISION AVE SOUTH                                                     CAVALIER            ND           58220                                  SUPPLIERS OR VENDORS      10/26/2018             $80.00
WOODSIDE INDUSTRIES
INCORPORATED               606 DIVISION AVE SOUTH                                                     CAVALIER            ND           58220                                  SUPPLIERS OR VENDORS       11/2/2018             $80.00
WOODSIDE INDUSTRIES
INCORPORATED               606 DIVISION AVE SOUTH                                                     CAVALIER            ND           58220                                  SUPPLIERS OR VENDORS      11/16/2018             $80.00
WOODSIDE INDUSTRIES
INCORPORATED               606 DIVISION AVE SOUTH                                                     CAVALIER            ND           58220                                  SUPPLIERS OR VENDORS      11/30/2018            $160.00
WOODSIDE INDUSTRIES
INCORPORATED               606 DIVISION AVE SOUTH                                                     CAVALIER            ND           58220                                  SUPPLIERS OR VENDORS      12/18/2018            $160.00
WORKFORCE INSIGHT LLC      1401 17TH ST STE 850                                                       DENVER              CO           80202                                  SUPPLIERS OR VENDORS       11/1/2018          $2,291.25
WORKFORCE INSIGHT LLC      1401 17TH ST STE 850                                                       DENVER              CO           80202                                  SUPPLIERS OR VENDORS      11/27/2018              $1.00
WORKFORCE INSIGHT LLC      1401 17TH ST STE 850                                                       DENVER              CO           80202                                  SUPPLIERS OR VENDORS      11/30/2018         $53,427.84
WORKFORCE SAFETY &
INSURANCE                  EMPLOYER SERVICES        PO BOX 5585                                       BISMARCK            ND           58506-5585                             SUPPLIERS OR VENDORS      11/15/2018            $292.31
WORLD KITCHEN L L C        PO BOX 675030                                                              DALLAS              TX           75267-5030                             SUPPLIERS OR VENDORS      10/18/2018         $37,391.02
WORLD KITCHEN L L C        PO BOX 675030                                                              DALLAS              TX           75267-5030                             SUPPLIERS OR VENDORS      10/19/2018            $840.68
WORLD KITCHEN L L C        PO BOX 675030                                                              DALLAS              TX           75267-5030                             SUPPLIERS OR VENDORS      10/20/2018         $56,347.62
WORLD KITCHEN L L C        PO BOX 675030                                                              DALLAS              TX           75267-5030                             SUPPLIERS OR VENDORS      10/23/2018         $11,072.33
WORLD KITCHEN L L C        PO BOX 675030                                                              DALLAS              TX           75267-5030                             SUPPLIERS OR VENDORS      10/24/2018         $13,910.22
WORLD KITCHEN L L C        PO BOX 675030                                                              DALLAS              TX           75267-5030                             SUPPLIERS OR VENDORS      10/25/2018         $24,643.68
WORLD KITCHEN L L C        PO BOX 675030                                                              DALLAS              TX           75267-5030                             SUPPLIERS OR VENDORS      10/27/2018            $765.93
WORLD KITCHEN L L C        PO BOX 675030                                                              DALLAS              TX           75267-5030                             SUPPLIERS OR VENDORS      10/30/2018            $638.25
WORLD KITCHEN L L C        PO BOX 675030                                                              DALLAS              TX           75267-5030                             SUPPLIERS OR VENDORS       11/1/2018         $36,419.64
WORLD KITCHEN L L C        PO BOX 675030                                                              DALLAS              TX           75267-5030                             SUPPLIERS OR VENDORS       11/3/2018         $11,134.14



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                                                                                                                                                                               Reasons for payment or    Dates of     Total Amount or
       Creditor Name               Address1              Address2                  Address3                   City            State       Zip              Country                    transfer          Payments            Value
WORLD KITCHEN L L C      PO BOX 675030                                                               DALLAS              TX           75267-5030                             SUPPLIERS OR VENDORS         11/6/2018           $19,357.39
WORLD KITCHEN L L C      PO BOX 675030                                                               DALLAS              TX           75267-5030                             SUPPLIERS OR VENDORS         11/7/2018           $19,391.38
WORLD KITCHEN L L C      PO BOX 675030                                                               DALLAS              TX           75267-5030                             SUPPLIERS OR VENDORS         11/8/2018           $16,735.97
WORLD KITCHEN L L C      PO BOX 675030                                                               DALLAS              TX           75267-5030                             SUPPLIERS OR VENDORS        11/14/2018           $13,741.79
WORLD KITCHEN L L C      PO BOX 675030                                                               DALLAS              TX           75267-5030                             SUPPLIERS OR VENDORS        11/17/2018          $156,422.60
WORLD KITCHEN L L C      PO BOX 675030                                                               DALLAS              TX           75267-5030                             SUPPLIERS OR VENDORS        11/24/2018          $148,692.29
WORLD KITCHEN L L C      PO BOX 675030                                                               DALLAS              TX           75267-5030                             SUPPLIERS OR VENDORS        11/27/2018           $32,061.93
WORLD KITCHEN L L C      PO BOX 675030                                                               DALLAS              TX           75267-5030                             SUPPLIERS OR VENDORS        11/28/2018           $60,575.19
WORLD KITCHEN L L C      PO BOX 675030                                                               DALLAS              TX           75267-5030                             SUPPLIERS OR VENDORS         12/1/2018           $34,463.02
WORLD KITCHEN L L C      PO BOX 675030                                                               DALLAS              TX           75267-5030                             SUPPLIERS OR VENDORS         12/4/2018           $85,531.58
WORLD KITCHEN L L C      PO BOX 675030                                                               DALLAS              TX           75267-5030                             SUPPLIERS OR VENDORS         12/6/2018           $91,045.05
WORLD RUG GALLERY DIV
IKBAL INC                7 REUTEN DRIVE                                                              CLOSTER             NJ           07624                                  SUPPLIERS OR VENDORS       10/18/2018              $300.53
WORLD RUG GALLERY DIV
IKBAL INC                7 REUTEN DRIVE                                                              CLOSTER             NJ           07624                                  SUPPLIERS OR VENDORS       10/25/2018               $48.39
WORLD RUG GALLERY DIV
IKBAL INC                7 REUTEN DRIVE                                                              CLOSTER             NJ           07624                                  SUPPLIERS OR VENDORS        11/1/2018               $63.44
WORLD RUG GALLERY DIV
IKBAL INC                7 REUTEN DRIVE                                                              CLOSTER             NJ           07624                                  SUPPLIERS OR VENDORS        11/8/2018              $143.55
WORLD RUG GALLERY DIV
IKBAL INC                7 REUTEN DRIVE                                                              CLOSTER             NJ           07624                                  SUPPLIERS OR VENDORS       11/15/2018              $327.77
WORLD RUG GALLERY DIV
IKBAL INC                7 REUTEN DRIVE                                                              CLOSTER             NJ           07624                                  SUPPLIERS OR VENDORS       11/29/2018              $217.74

WORLDWISE INCORPORATED PO BOX 3360                                                                   SAN RAFAEL          CA           94912-3360                             SUPPLIERS OR VENDORS       10/18/2018            $1,489.54

WORLDWISE INCORPORATED PO BOX 3360                                                                   SAN RAFAEL          CA           94912-3360                             SUPPLIERS OR VENDORS        11/1/2018            $8,214.81

WORLDWISE INCORPORATED PO BOX 3360                                                                   SAN RAFAEL          CA           94912-3360                             SUPPLIERS OR VENDORS        11/8/2018            $6,377.68

WORLDWISE INCORPORATED PO BOX 3360                                                                   SAN RAFAEL          CA           94912-3360                             SUPPLIERS OR VENDORS       11/15/2018            $3,526.52

WORLDWISE INCORPORATED PO BOX 3360                                                                   SAN RAFAEL          CA           94912-3360                             SUPPLIERS OR VENDORS       11/22/2018            $2,937.26

WORLDWISE INCORPORATED   PO BOX 3360                                                                 SAN RAFAEL          CA           94912-3360                             SUPPLIERS OR VENDORS       11/29/2018            $8,052.10
WORTHINGTON CYLINDER
CORPORATION              27406 NETWORK PLACE                                                         CHICAGO             IL           60673-1274                             SUPPLIERS OR VENDORS       10/18/2018           $14,712.55
WORTHINGTON CYLINDER
CORPORATION              27406 NETWORK PLACE                                                         CHICAGO             IL           60673-1274                             SUPPLIERS OR VENDORS       10/25/2018            $6,710.40
WORTHINGTON CYLINDER
CORPORATION              27406 NETWORK PLACE                                                         CHICAGO             IL           60673-1274                             SUPPLIERS OR VENDORS        11/1/2018           $10,065.60
WORTHINGTON CYLINDER
CORPORATION              27406 NETWORK PLACE                                                         CHICAGO             IL           60673-1274                             SUPPLIERS OR VENDORS        11/8/2018           $10,920.25
WORTHINGTON CYLINDER
CORPORATION              27406 NETWORK PLACE                                                         CHICAGO             IL           60673-1274                             SUPPLIERS OR VENDORS       11/15/2018            $6,710.40
WORTHINGTON CYLINDER
CORPORATION              27406 NETWORK PLACE                                                         CHICAGO             IL           60673-1274                             SUPPLIERS OR VENDORS       11/22/2018            $3,355.20
WORTHINGTON CYLINDER
CORPORATION              27406 NETWORK PLACE                                                         CHICAGO             IL           60673-1274                             SUPPLIERS OR VENDORS       11/29/2018           $13,085.28
                         WPS ACCOUNTING
WPS HEALTH INSURANCE     COLLECTIONS               PO BOX 8190                                       MADISON             WI           53708                                  SUPPLIERS OR VENDORS       10/22/2018                $6.41
WRAYS INCORPORATED       5605 SUMMITVIEW                                                             YAKIMA              WA           98908                                  SUPPLIERS OR VENDORS       10/25/2018               $17.97
                                                                                                                                                                             PURCHASE OF
WVA                      35264 WEST STATE STREET                                                     BURLINGTON          WI           53106                                  MERCHANDISE                 1/10/2019        $2,159,736.64



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                                                                                                                                                                              Reasons for payment or    Dates of    Total Amount or
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                                                                                                                                                                            PURCHASE OF
WVA                     35263 WEST STATE STREET                                                     BURLINGTON          WI           53105                                  MERCHANDISE                 1/15/2019        $534,518.17
WY DEPT OF REVENUE      122 W 25TH ST                                                               CHEYENNE            WY           82001                                  SALES & USE TAX             11/1/2018        $181,055.28
WY DEPT OF REVENUE      122 WEST 25TH ST.         3RD FLOOR EAST                                    CHEYENNE            WY           82002-0110                             SALES/USE TAX              11/16/2018        $139,792.19
WY DEPT OF REVENUE      122 W 25TH ST                                                               CHEYENNE            WY           82001                                  SALES & USE TAX            12/18/2018        $177,542.39
WY1 LLC                 PO BOX 682710                                                               PARK CITY           UT           84068-2710                             SUPPLIERS OR VENDORS        11/1/2018         $14,600.00
WY1 LLC                 PO BOX 682710                                                               PARK CITY           UT           84068-2710                             SUPPLIERS OR VENDORS        12/1/2018         $14,600.00
WYATT WESTERFIELD-LEE   374 W IDA ST                                                                STAYTON             OR           97383                                  SUPPLIERS OR VENDORS       10/25/2018             $30.00
                                                                         DISC NO ACTIVITY 2 YRS
WYETH PHARMACEUTICALS   SHOPKO STORES             PO BOX 19060           11/16/10                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/23/2018         $19,611.24
                                                                         DISC NO ACTIVITY 2 YRS
WYETH PHARMACEUTICALS   SHOPKO STORES             PO BOX 19060           11/16/10                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/24/2018         $40,570.44
                                                                         DISC NO ACTIVITY 2 YRS
WYETH PHARMACEUTICALS   SHOPKO STORES             PO BOX 19060           11/16/10                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/30/2018         $41,809.70
                                                                         DISC NO ACTIVITY 2 YRS
WYETH PHARMACEUTICALS   SHOPKO STORES             PO BOX 19060           11/16/10                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/31/2018         $39,018.20
                                                                         DISC NO ACTIVITY 2 YRS
WYETH PHARMACEUTICALS   SHOPKO STORES             PO BOX 19060           11/16/10                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/2/2018         $13,929.24
                                                                         DISC NO ACTIVITY 2 YRS
WYETH PHARMACEUTICALS   SHOPKO STORES             PO BOX 19060           11/16/10                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/6/2018         $62,694.32
                                                                         DISC NO ACTIVITY 2 YRS
WYETH PHARMACEUTICALS   SHOPKO STORES             PO BOX 19060           11/16/10                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        11/7/2018         $30,952.07
                                                                         DISC NO ACTIVITY 2 YRS
WYETH PHARMACEUTICALS   SHOPKO STORES             PO BOX 19060           11/16/10                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/13/2018         $27,153.88
                                                                         DISC NO ACTIVITY 2 YRS
WYETH PHARMACEUTICALS   SHOPKO STORES             PO BOX 19060           11/16/10                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/14/2018         $31,644.58
                                                                         DISC NO ACTIVITY 2 YRS
WYETH PHARMACEUTICALS   SHOPKO STORES             PO BOX 19060           11/16/10                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/24/2018         $51,460.95
                                                                         DISC NO ACTIVITY 2 YRS
WYETH PHARMACEUTICALS   SHOPKO STORES             PO BOX 19060           11/16/10                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/28/2018         $63,009.15
                                                                         DISC NO ACTIVITY 2 YRS
WYETH PHARMACEUTICALS   SHOPKO STORES             PO BOX 19060           11/16/10                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/30/2018           $8,403.08
                                                                         DISC NO ACTIVITY 2 YRS
WYETH PHARMACEUTICALS   SHOPKO STORES             PO BOX 19060           11/16/10                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS        12/4/2018         $40,521.94
WYOMING DEPARTMENT OF
REVENUE                 122 W 25TH STREET 2W                                                        CHEYENNE            WY           82002-0110                             SUPPLIERS OR VENDORS       10/31/2018             $80.88
WYOMING DEPARTMENT OF
REVENUE                 122 W 25TH STREET 2W                                                        CHEYENNE            WY           82002-0110                             SUPPLIERS OR VENDORS       11/15/2018            $134.62
WYOMING DEPARTMENT OF
REVENUE                 122 W 25TH STREET 2W                                                        CHEYENNE            WY           82002-0110                             SUPPLIERS OR VENDORS       12/17/2018            $280.23
WYOMING GAME & FISH
DEPARTMENT              5400 BISHOP BOULEVARD                                                       CHEYENNE            WY           82006                                  SUPPLIERS OR VENDORS        11/6/2018           $7,365.50
WYOMING GAME & FISH
DEPARTMENT              5400 BISHOP BOULEVARD                                                       CHEYENNE            WY           82006                                  SUPPLIERS OR VENDORS        11/6/2018           $8,812.00
WYOMING GAME & FISH
DEPARTMENT              5400 BISHOP BOULEVARD                                                       CHEYENNE            WY           82006                                  SUPPLIERS OR VENDORS        11/7/2018             $50.00
WYOMING GAME & FISH
DEPARTMENT              5400 BISHOP BOULEVARD                                                       CHEYENNE            WY           82006                                  SUPPLIERS OR VENDORS       11/14/2018           $4,783.00
WYOMING GAME & FISH
DEPARTMENT              5400 BISHOP BOULEVARD                                                       CHEYENNE            WY           82006                                  SUPPLIERS OR VENDORS        12/4/2018           $5,239.00
WYOMING GAME & FISH
DEPARTMENT              5400 BISHOP BOULEVARD                                                       CHEYENNE            WY           82006                                  SUPPLIERS OR VENDORS        12/7/2018           $1,141.00
WYOMING GAME & FISH
DEPARTMENT              5400 BISHOP BOULEVARD                                                       CHEYENNE            WY           82006                                  SUPPLIERS OR VENDORS       12/10/2018           $4,197.00



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WYOMING LINCOLN COUNTY
TREASURER                925 SAGE SUITE 102                                                            KEMMERER            WY           38101                                  SUPPLIERS OR VENDORS       11/6/2018           $9,063.85
WYOMING STATE                                       UNCLAIMED PROPERTY
TREASURER                ATTN NANCY RUSSELL         DIVISION           2020 CAREY AVENUE               CHEYENNE            WY           82001                                  SUPPLIERS OR VENDORS      10/24/2018            $585.45
XAY YANG                 12903 LILLIAN ST                                                              OMAHA               NE           68130                                  SUPPLIERS OR VENDORS      11/12/2018             $79.98
XEROX CORPORATION        PO BOX 802555                                                                 CHICAGO             IL           60680-2555                             SUPPLIERS OR VENDORS      10/29/2018        $111,586.87
XEROX CORPORATION        PO BOX 802555                                                                 CHICAGO             IL           60680-2555                             SUPPLIERS OR VENDORS      11/15/2018            $259.19
XEROX CORPORATION        PO BOX 802555                                                                 CHICAGO             IL           60680-2555                             SUPPLIERS OR VENDORS      11/29/2018        $109,396.52
XEROX CORPORATION        PO BOX 802555                                                                 CHICAGO             IL           60680-2555                             SUPPLIERS OR VENDORS      11/30/2018            $598.19
XEROX CORPORATION        PO BOX 802555                                                                 CHICAGO             IL           60680-2555                             SUPPLIERS OR VENDORS      12/13/2018            $144.73
XEROX CORPORATION        PO BOX 802555                                                                 CHICAGO             IL           60680-2555                             SUPPLIERS OR VENDORS      12/14/2018            $756.17
XEROX CORPORATION        PO BOX 802555                                                                 CHICAGO             IL           60680-2555                             SUPPLIERS OR VENDORS      12/21/2018            $309.43
                                                    34 N LAST CHANCE
XEROX STATE HEALTHCARE   ACCOUNTS RECEIVABLE        GULCH SUITE 200                                    HELENA              MT           59601                                  SUPPLIERS OR VENDORS       11/2/2018             $24.74
                                                    34 N LAST CHANCE
XEROX STATE HEALTHCARE   ACCOUNTS RECEIVABLE        GULCH SUITE 200                                    HELENA              MT           59601                                  SUPPLIERS OR VENDORS       11/8/2018             $21.00
                                                    34 N LAST CHANCE
XEROX STATE HEALTHCARE   ACCOUNTS RECEIVABLE        GULCH SUITE 200                                    HELENA              MT           59601                                  SUPPLIERS OR VENDORS      11/16/2018             $13.74
                                                    34 N LAST CHANCE
XEROX STATE HEALTHCARE   ACCOUNTS RECEIVABLE        GULCH SUITE 200                                    HELENA              MT           59601                                  SUPPLIERS OR VENDORS      11/30/2018             $41.22
                                                    34 N LAST CHANCE
XEROX STATE HEALTHCARE   ACCOUNTS RECEIVABLE        GULCH SUITE 200                                    HELENA              MT           59601                                  SUPPLIERS OR VENDORS      12/13/2018             $28.24
YAKIMA THEATRES INC      PO BOX 50                                                                     YAKIMA              WA           98907                                  SUPPLIERS OR VENDORS       11/1/2018         $23,396.88
YAKIMA THEATRES INC      PO BOX 50                                                                     YAKIMA              WA           98907                                  SUPPLIERS OR VENDORS       12/3/2018         $23,396.88
YANG MING AMERICA                                                           77 SUGAR CREEK CENTER
CORPORATION              AGENT FOR YANG MING LINE   SUITE 450               BOULEVARD                  SUGAR LAND          TX           77478                                  SUPPLIERS OR VENDORS      10/25/2018         $17,531.00
YANG MING AMERICA                                                           77 SUGAR CREEK CENTER
CORPORATION              AGENT FOR YANG MING LINE   SUITE 450               BOULEVARD                  SUGAR LAND          TX           77478                                  SUPPLIERS OR VENDORS      11/13/2018         $30,890.00
YANG MING AMERICA                                                           77 SUGAR CREEK CENTER
CORPORATION              AGENT FOR YANG MING LINE   SUITE 450               BOULEVARD                  SUGAR LAND          TX           77478                                  SUPPLIERS OR VENDORS      11/27/2018         $11,342.00
YANG MING AMERICA                                                           77 SUGAR CREEK CENTER
CORPORATION              AGENT FOR YANG MING LINE   SUITE 450               BOULEVARD                  SUGAR LAND          TX           77478                                  SUPPLIERS OR VENDORS      11/29/2018           $6,015.00
YANG MING AMERICA                                                           77 SUGAR CREEK CENTER
CORPORATION              AGENT FOR YANG MING LINE   SUITE 450               BOULEVARD                  SUGAR LAND          TX           77478                                  SUPPLIERS OR VENDORS      12/28/2018           $9,358.00
YANG MING AMERICA                                                           77 SUGAR CREEK CENTER
CORPORATION              AGENT FOR YANG MING LINE   SUITE 450               BOULEVARD                  SUGAR LAND          TX           77478                                  SUPPLIERS OR VENDORS       1/11/2019         $18,605.00

YANKEE CANDLE COMPANY
INCORPORATED             PO BOX 416442                                                                 BOSTON              MA           02241-6442                             SUPPLIERS OR VENDORS      10/18/2018        $255,181.52

YANKEE CANDLE COMPANY
INCORPORATED             PO BOX 416442                                                                 BOSTON              MA           02241-6442                             SUPPLIERS OR VENDORS      10/25/2018           $9,597.61

YANKEE CANDLE COMPANY
INCORPORATED             PO BOX 416442                                                                 BOSTON              MA           02241-6442                             SUPPLIERS OR VENDORS       11/1/2018         $29,298.69

YANKEE CANDLE COMPANY
INCORPORATED             PO BOX 416442                                                                 BOSTON              MA           02241-6442                             SUPPLIERS OR VENDORS       11/8/2018        $162,189.35

YANKEE CANDLE COMPANY
INCORPORATED             PO BOX 416442                                                                 BOSTON              MA           02241-6442                             SUPPLIERS OR VENDORS      11/15/2018         $42,928.28

YANKEE CANDLE COMPANY
INCORPORATED             PO BOX 416442                                                                 BOSTON              MA           02241-6442                             SUPPLIERS OR VENDORS      11/22/2018         $23,828.00



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                                                                                                                                                                                    Reasons for payment or    Dates of     Total Amount or
      Creditor Name                  Address1                 Address2                  Address3                City               State       Zip              Country                    transfer          Payments            Value
YARD SERVICES INC          PO BOX 48                                                                      ALMONT              MI           48003                                  SUPPLIERS OR VENDORS         11/1/2018              $490.00
YASMIN LOPEZ               308 WEST AVE                                                                   BEAVER DAM          WI           53916                                  SUPPLIERS OR VENDORS        12/14/2018               $65.00
YAVAPAI COUNTY
TREASURER                  1015 FAIR STREET                                                               PRESCOTT            AZ           86305-1807                             SUPPLIERS OR VENDORS        11/6/2018            $1,315.78
YAYSAVE LLC DBA
TERRAVATE BEAUTY           PO BOX 847189                                                                  LOS ANGELES         CA           90084-7189                             SUPPLIERS OR VENDORS       10/25/2018              $182.00
YAYSAVE LLC DBA
TERRAVATE BEAUTY           PO BOX 847189                                                                  LOS ANGELES         CA           90084-7189                             SUPPLIERS OR VENDORS        11/8/2018              $742.50
YAYSAVE LLC DBA
TERRAVATE BEAUTY           PO BOX 847189                                                                  LOS ANGELES         CA           90084-7189                             SUPPLIERS OR VENDORS       11/22/2018              $445.50

YAZMIN MARIN               6098 W BRUD DR                                                                 WEST VALLEY CITY UT              84128                                  SUPPLIERS OR VENDORS       10/18/2018               $23.94

YEELENG KHANG              1820 7TH ST S                                                                  WISCONSIN RAPIDS WI              54494                                  SUPPLIERS OR VENDORS       11/29/2018                $1.00

YEELENG KHANG              1820 7TH ST S                                                                  WISCONSIN RAPIDS WI              54494                                  SUPPLIERS OR VENDORS       11/29/2018                $2.00
YELL STEEL ENTERPRISE CO
INC                        1231 E DYER ROAD STE 290                                                       SANTA ANA           CA           92705                                  SUPPLIERS OR VENDORS       10/26/2018           $52,779.67
YELL STEEL ENTERPRISE CO
INC                        1231 E DYER ROAD STE 290                                                       SANTA ANA           CA           92705                                  SUPPLIERS OR VENDORS       11/16/2018          $149,072.91
YELLOWSTONE COUNTY
TREASURER                  PO BOX 35010                                                                   BILLINGS            MT           59107                                  SUPPLIERS OR VENDORS       11/26/2018           $57,433.38

YELLOWSTONE ELECTRIC INC   921 ROAD 8                                                                     POWELL              WY           82435                                  SUPPLIERS OR VENDORS       10/18/2018              $200.69
YER LEE                    W10065 CEDER ROAD                                                              FREMONT             WI           54940                                  SUPPLIERS OR VENDORS       10/31/2018               $10.00
YES TO INCORPORATED        PO BOX 845810                                                                  LOS ANGELES         CA           90084-5810                             SUPPLIERS OR VENDORS       10/25/2018              $364.88
YES TO INCORPORATED        PO BOX 845810                                                                  LOS ANGELES         CA           90084-5810                             SUPPLIERS OR VENDORS        11/8/2018            $2,747.37
YES TO INCORPORATED        PO BOX 845810                                                                  LOS ANGELES         CA           90084-5810                             SUPPLIERS OR VENDORS       11/22/2018            $1,107.20

YJ USA                     ATTN ACCOUNTS RECEIVABLE     3970 LINDBERG DRIVE                               ADDISON             TX           75001                                  SUPPLIERS OR VENDORS       11/15/2018           $14,177.34

YJ USA                     ATTN ACCOUNTS RECEIVABLE     3970 LINDBERG DRIVE                               ADDISON             TX           75001                                  SUPPLIERS OR VENDORS       11/22/2018           $17,381.46
                                                                                                          MONROE
YMF CARPET INC             201B MIDDLESEX CENTER BLVD                                                     TOWNSHIP            NJ           08831                                  SUPPLIERS OR VENDORS       10/23/2018              $471.00
                                                                                                          MONROE
YMF CARPET INC             201B MIDDLESEX CENTER BLVD                                                     TOWNSHIP            NJ           08831                                  SUPPLIERS OR VENDORS       10/30/2018              $563.80
                                                                                                          MONROE
YMF CARPET INC             201B MIDDLESEX CENTER BLVD                                                     TOWNSHIP            NJ           08831                                  SUPPLIERS OR VENDORS       11/30/2018          $140,494.62
                                                                                                          MONROE
YMF CARPET INC             201B MIDDLESEX CENTER BLVD                                                     TOWNSHIP            NJ           08831                                  SUPPLIERS OR VENDORS        12/4/2018              $164.11
YMI JEANSWEAR              CIT GROUP COMMERCIAL
INCORPORATED               SERVICES INC                 PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       10/19/2018           $89,247.11
YMI JEANSWEAR              CIT GROUP COMMERCIAL
INCORPORATED               SERVICES INC                 PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS        11/8/2018          $169,541.24
YMI JEANSWEAR              CIT GROUP COMMERCIAL
INCORPORATED               SERVICES INC                 PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/30/2018           $23,909.40
YMI JEANSWEAR              CIT GROUP COMMERCIAL
INCORPORATED               SERVICES INC                 PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS        12/3/2018            $7,573.20
YMI JEANSWEAR              CIT GROUP COMMERCIAL
INCORPORATED               SERVICES INC                 PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS        12/4/2018           $10,566.31
YOGENDRA PANT              7410 N 145 AVE                                                                 BENNINGTON          NE           68007                                  SUPPLIERS OR VENDORS       11/29/2018               $45.00
YOUNGER OPTICS             2925 CALIFORNIA STREET                                                         TORRANCE            CA           90503-3914                             SUPPLIERS OR VENDORS       10/18/2018            $7,589.62
YOUNGER OPTICS             2925 CALIFORNIA STREET                                                         TORRANCE            CA           90503-3914                             SUPPLIERS OR VENDORS       10/25/2018           $10,089.74
YOUNGER OPTICS             2925 CALIFORNIA STREET                                                         TORRANCE            CA           90503-3914                             SUPPLIERS OR VENDORS        11/1/2018            $7,938.57



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                                                                                                                                                                                    Reasons for payment or    Dates of     Total Amount or
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YOUNGER OPTICS               2925 CALIFORNIA STREET                                                       TORRANCE            CA           90503-3914                             SUPPLIERS OR VENDORS         11/8/2018            $8,601.17
YOUNGER OPTICS               2925 CALIFORNIA STREET                                                       TORRANCE            CA           90503-3914                             SUPPLIERS OR VENDORS        11/15/2018            $5,718.87
YOUNGER OPTICS               2925 CALIFORNIA STREET                                                       TORRANCE            CA           90503-3914                             SUPPLIERS OR VENDORS        11/22/2018            $6,767.81
YOUNGER OPTICS               2925 CALIFORNIA STREET                                                       TORRANCE            CA           90503-3914                             SUPPLIERS OR VENDORS        11/29/2018            $9,834.38
YOUNGER OPTICS               2925 CALIFORNIA STREET                                                       TORRANCE            CA           90503-3914                             SUPPLIERS OR VENDORS        12/18/2018           $26,527.82
YOUNGER OPTICS               2925 CALIFORNIA STREET                                                       TORRANCE            CA           90503-3914                             SUPPLIERS OR VENDORS        12/21/2018            $3,572.35
YOUNGER OPTICS               2925 CALIFORNIA STREET                                                       TORRANCE            CA           90503-3914                             SUPPLIERS OR VENDORS        12/27/2018            $4,342.16
YOUNIQUE CLOTHING     TURN   CIT GROUP COMMERCIAL
ON PRODUCTS                  SERVICES INC               PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       10/18/2018           $34,174.00
YOUNIQUE CLOTHING     TURN   CIT GROUP COMMERCIAL
ON PRODUCTS                  SERVICES INC               PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       10/19/2018          $150,972.10
YOUNIQUE CLOTHING     TURN   CIT GROUP COMMERCIAL
ON PRODUCTS                  SERVICES INC               PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS        11/5/2018           $52,370.50
YOUNIQUE CLOTHING     TURN   CIT GROUP COMMERCIAL
ON PRODUCTS                  SERVICES INC               PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS        11/6/2018           $84,591.73
YOUNIQUE CLOTHING     TURN   CIT GROUP COMMERCIAL
ON PRODUCTS                  SERVICES INC               PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS        11/8/2018          $365,308.50
YOUNIQUE CLOTHING     TURN   CIT GROUP COMMERCIAL
ON PRODUCTS                  SERVICES INC               PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/22/2018            $2,746.00
YOUNIQUE CLOTHING     TURN   CIT GROUP COMMERCIAL
ON PRODUCTS                  SERVICES INC               PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/27/2018          $102,643.50
YOUNIQUE CLOTHING     TURN   CIT GROUP COMMERCIAL
ON PRODUCTS                  SERVICES INC               PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS       11/28/2018           $64,501.50
YOUNIQUE CLOTHING     TURN   CIT GROUP COMMERCIAL
ON PRODUCTS                  SERVICES INC               PO BOX 1036                                       CHARLOTTE           NC           28201-1036                             SUPPLIERS OR VENDORS        12/3/2018           $21,016.50
YRC                          10990 ROE AVENUE                                                             OVERLAND PARK       KS           66211-0000                             SUPPLIERS OR VENDORS       10/19/2018            $4,110.92
YRC                          10990 ROE AVENUE                                                             OVERLAND PARK       KS           66211-0000                             SUPPLIERS OR VENDORS       10/23/2018            $8,111.05
YRC                          10990 ROE AVENUE                                                             OVERLAND PARK       KS           66211-0000                             SUPPLIERS OR VENDORS       10/26/2018            $5,242.94
YRC                          10990 ROE AVENUE                                                             OVERLAND PARK       KS           66211-0000                             SUPPLIERS OR VENDORS       10/30/2018            $5,971.81
YRC                          10990 ROE AVENUE                                                             OVERLAND PARK       KS           66211-0000                             SUPPLIERS OR VENDORS        11/2/2018            $4,585.08
YRC                          0                          10990 ROE AVENUE                                  OVERLAND PARK       KS           66211-0000                             SUPPLIERS OR VENDORS        11/3/2018                $1.00
YRC                          10990 ROE AVENUE                                                             OVERLAND PARK       KS           66211-0000                             SUPPLIERS OR VENDORS        11/6/2018            $5,994.03
YRC                          10990 ROE AVENUE                                                             OVERLAND PARK       KS           66211-0000                             SUPPLIERS OR VENDORS        11/9/2018            $5,070.75
YRC                          10990 ROE AVENUE                                                             OVERLAND PARK       KS           66211-0000                             SUPPLIERS OR VENDORS       11/13/2018            $6,626.21
YRC                          10990 ROE AVENUE                                                             OVERLAND PARK       KS           66211-0000                             SUPPLIERS OR VENDORS       11/15/2018            $1,130.16
YRC                          10990 ROE AVENUE                                                             OVERLAND PARK       KS           66211-0000                             SUPPLIERS OR VENDORS       11/27/2018           $12,098.70
YRC                          10990 ROE AVENUE                                                             OVERLAND PARK       KS           66211-0000                             SUPPLIERS OR VENDORS       11/29/2018            $2,619.56
YRC                          10990 ROE AVENUE                                                             OVERLAND PARK       KS           66211-0000                             SUPPLIERS OR VENDORS        12/4/2018            $2,772.03
YRC                          10990 ROE AVENUE                                                             OVERLAND PARK       KS           66211-0000                             SUPPLIERS OR VENDORS        12/6/2018            $6,278.73
YRC                          10990 ROE AVENUE                                                             OVERLAND PARK       KS           66211-0000                             SUPPLIERS OR VENDORS       12/10/2018            $4,580.96
YRC                          10990 ROE AVENUE                                                             OVERLAND PARK       KS           66211-0000                             SUPPLIERS OR VENDORS       12/28/2018           $68,343.90
                             1630 NE VALLY ROAD APT #
YUFENG CAO                   J202                                                                         PULLMAN             WA           99163                                  SUPPLIERS OR VENDORS       12/14/2018               $30.97
YULIANA ORTIZ                802 6TH AVE SE                                                               AUSTIN              MN           55912                                  SUPPLIERS OR VENDORS        12/4/2018               $71.19
YULONDA RANDALL              P O BOX 171                                                                  DOUGLAS             NE           68344                                  SUPPLIERS OR VENDORS       12/14/2018               $75.00
YUSEN LOGISTICS
(AMERICAS) INC               19001 HARBORGATE WAY                                                         TORRANCE            CA           90501                                  SUPPLIERS OR VENDORS       10/26/2018            $4,761.84
YUSEN LOGISTICS
(AMERICAS) INC               19001 HARBORGATE WAY                                                         TORRANCE            CA           90501                                  SUPPLIERS OR VENDORS        11/8/2018            $2,157.01
YUSEN LOGISTICS
(AMERICAS) INC               PO BOX 3480                                                                  CORDOVA             TN           38088                                  SUPPLIERS OR VENDORS       11/14/2018           $23,122.30
YUSEN LOGISTICS
(AMERICAS) INC               PO BOX 3480                                                                  CORDOVA             TN           38088                                  SUPPLIERS OR VENDORS       11/26/2018              $925.00




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YUSEN LOGISTICS
(AMERICAS) INC            PO BOX 3480                                                                  CORDOVA             TN           38088                                  SUPPLIERS OR VENDORS      12/13/2018           $7,858.23
YUSEN LOGISTICS
(AMERICAS) INC            PO BOX 3480                                                                  CORDOVA             TN           38088                                  SUPPLIERS OR VENDORS      12/14/2018            $200.00
YVETTE SMITH              N214 HARTMAN RD                                                              BRODHEAD            WI           53520                                  SUPPLIERS OR VENDORS      11/28/2018             $23.00
YVETTE SMITH              N214 HARTMAN RD                                                              BRODHEAD            WI           53520                                  SUPPLIERS OR VENDORS      11/28/2018             $23.00
YVONNE PECORA             2870 JUNIPER DRIVE #201                                                      LEWISTON            ID           83501                                  SUPPLIERS OR VENDORS       11/5/2018             $51.20
Z CO JEANS BRAND                                     1385 BROADWAY SUITE
RESOURCE                  DIV OF ALPHA GARMENT INC   400                                               NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS       11/1/2018         $96,483.00
Z CO JEANS BRAND                                     1385 BROADWAY SUITE
RESOURCE                  DIV OF ALPHA GARMENT INC   400                                               NEW YORK            NY           10018                                  SUPPLIERS OR VENDORS      11/10/2018               $1.00

ZABEST COMMERCIAL                                                                                                                                                              OPTICAL 217
GROUP INC                 W332 S5375 HOOD PARKWAY                                                      NORTH PRAIRIE       WI           53153                                  CONSTRUCTION PAYMENT       1/15/2019         $73,917.00
ZABEST COMMERCIAL
GROUP INCORPORATED        W332 S5375 HOOD PARKWAY                                                      NORTH PRAIRIE       WI           53153                                  SUPPLIERS OR VENDORS       11/8/2018         $66,490.00
ZACH AASHEIM              204 N CHERRY AVE                                                             MARSHFIELD          WI           54449                                  SUPPLIERS OR VENDORS      11/29/2018            $119.95
ZACH BRIST                15 SOUTH BROADWAY          APT B                                             WATERTOWN           SD           57201                                  SUPPLIERS OR VENDORS       12/4/2018             $15.96
ZACHARY BIEBERT           4171 ST FRANCIS PARK DR                                                      GREEN BAY           WI           54313                                  SUPPLIERS OR VENDORS       11/9/2018             $23.00
ZACHARY DEFORGE           PO BOX 162                                                                   ATLANTIC MINE       MI           49905                                  SUPPLIERS OR VENDORS      11/14/2018             $40.00
ZACHARY HAUSBECK          117 COACH HOUSE DR                                                           MADISON             WI           53714                                  SUPPLIERS OR VENDORS       11/5/2018             $25.00
ZACHARY PETERSON          1918 FAIRMOUNT ST                                                            WAUSAU              WI           54403                                  SUPPLIERS OR VENDORS      10/22/2018             $25.00
ZACHARY QUIGLEY           1010 E. POPLAR ST #4                                                         POCATELLO           ID           83201                                  SUPPLIERS OR VENDORS      10/26/2018             $62.00
ZACHARY REYES             1094 WEST 1520 NORTH                                                         OGDEN               UT           84404                                  SUPPLIERS OR VENDORS       12/7/2018             $26.00
ZACHARY SCHROER           2808 7TH ST                                                                  EAUCLAIRE           WI           54701                                  SUPPLIERS OR VENDORS      11/26/2018             $67.48
ZACHARY THOMAS            1411 CAYUSE CREEK DR                                                         KIMBERLY            ID           83341                                  SUPPLIERS OR VENDORS      12/10/2018             $10.00
ZACHARY WATSON            PO BOX 188                                                                   ENDICOTT            WA           99125                                  SUPPLIERS OR VENDORS       11/2/2018             $30.00
ZAK DESIGNS
INCORPORATED              PO BOX 19188                                                                 SPOKANE             WA           99219-9188                             SUPPLIERS OR VENDORS      10/18/2018           $5,437.71
ZAK DESIGNS
INCORPORATED              PO BOX 19188                                                                 SPOKANE             WA           99219-9188                             SUPPLIERS OR VENDORS      10/25/2018           $2,948.29
ZAK DESIGNS
INCORPORATED              PO BOX 19188                                                                 SPOKANE             WA           99219-9188                             SUPPLIERS OR VENDORS       11/1/2018           $2,125.61
ZAK DESIGNS
INCORPORATED              PO BOX 19188                                                                 SPOKANE             WA           99219-9188                             SUPPLIERS OR VENDORS       11/8/2018           $1,728.49
ZAK DESIGNS
INCORPORATED              PO BOX 19188                                                                 SPOKANE             WA           99219-9188                             SUPPLIERS OR VENDORS      11/15/2018           $1,421.85
ZAK DESIGNS
INCORPORATED              PO BOX 19188                                                                 SPOKANE             WA           99219-9188                             SUPPLIERS OR VENDORS      11/22/2018           $1,523.11
ZAK DESIGNS
INCORPORATED              PO BOX 19188                                                                 SPOKANE             WA           99219-9188                             SUPPLIERS OR VENDORS      11/29/2018           $2,784.17
ZANE SAMPSON              417 ROLLINS                                                                  MISSOULA            MT           59801                                  SUPPLIERS OR VENDORS      11/26/2018              $31.00
ZARBEES INC DBA ZARBEES
NATURALS                  PO BOX 310682                                                                DES MOINES          IA           50331-0682                             SUPPLIERS OR VENDORS      10/18/2018           $1,854.20
ZARBEES INC DBA ZARBEES
NATURALS                  PO BOX 310682                                                                DES MOINES          IA           50331-0682                             SUPPLIERS OR VENDORS      10/25/2018           $1,491.06
ZARBEES INC DBA ZARBEES
NATURALS                  PO BOX 310682                                                                DES MOINES          IA           50331-0682                             SUPPLIERS OR VENDORS       11/1/2018           $1,993.80
ZARBEES INC DBA ZARBEES
NATURALS                  PO BOX 310682                                                                DES MOINES          IA           50331-0682                             SUPPLIERS OR VENDORS       11/8/2018           $2,503.45
ZARBEES INC DBA ZARBEES
NATURALS                  PO BOX 310682                                                                DES MOINES          IA           50331-0682                             SUPPLIERS OR VENDORS      11/22/2018           $4,122.94
ZAREK SCHULTZ             110 SUNSHINE CIRCLE        APT 17                                            CHIPPEWA FALLS      WI           54729                                  SUPPLIERS OR VENDORS      11/14/2018              $24.00




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      Creditor Name            Address1             Address2                  Address3                 City              State       Zip              Country                   transfer          Payments           Value
ZASTROW BEER MAN
INCORPORATED          3300 THIELMAN STREET                                                      MERRILL             WI           54452                                  SUPPLIERS OR VENDORS      10/19/2018            $128.20
ZASTROW BEER MAN
INCORPORATED          3300 THIELMAN STREET                                                      MERRILL             WI           54452                                  SUPPLIERS OR VENDORS      10/22/2018           $1,232.00
ZASTROW BEER MAN
INCORPORATED          3300 THIELMAN STREET                                                      MERRILL             WI           54452                                  SUPPLIERS OR VENDORS      10/26/2018            $394.49
ZASTROW BEER MAN
INCORPORATED          3300 THIELMAN STREET                                                      MERRILL             WI           54452                                  SUPPLIERS OR VENDORS      10/30/2018           $1,182.46
ZASTROW BEER MAN
INCORPORATED          3300 THIELMAN STREET                                                      MERRILL             WI           54452                                  SUPPLIERS OR VENDORS      10/31/2018             $98.68
ZASTROW BEER MAN
INCORPORATED          3300 THIELMAN STREET                                                      MERRILL             WI           54452                                  SUPPLIERS OR VENDORS       11/2/2018            $220.68
ZASTROW BEER MAN
INCORPORATED          3300 THIELMAN STREET                                                      MERRILL             WI           54452                                  SUPPLIERS OR VENDORS       11/9/2018            $276.90
ZASTROW BEER MAN
INCORPORATED          3300 THIELMAN STREET                                                      MERRILL             WI           54452                                  SUPPLIERS OR VENDORS      11/12/2018            $179.15
ZASTROW BEER MAN
INCORPORATED          3300 THIELMAN STREET                                                      MERRILL             WI           54452                                  SUPPLIERS OR VENDORS      11/16/2018             $47.40
ZASTROW BEER MAN
INCORPORATED          3300 THIELMAN STREET                                                      MERRILL             WI           54452                                  SUPPLIERS OR VENDORS      11/27/2018             $87.61
ZASTROW BEER MAN
INCORPORATED          3300 THIELMAN STREET                                                      MERRILL             WI           54452                                  SUPPLIERS OR VENDORS      11/28/2018            $585.05
ZASTROW BEER MAN
INCORPORATED          3300 THIELMAN STREET                                                      MERRILL             WI           54452                                  SUPPLIERS OR VENDORS      11/30/2018            $435.45
ZASTROW BEER MAN
INCORPORATED          3300 THIELMAN STREET                                                      MERRILL             WI           54452                                  SUPPLIERS OR VENDORS       12/3/2018            $287.88
ZASTROW BEER MAN
INCORPORATED          3300 THIELMAN STREET                                                      MERRILL             WI           54452                                  SUPPLIERS OR VENDORS       12/4/2018            $179.16
ZASTROW BEER MAN
INCORPORATED          3300 THIELMAN STREET                                                      MERRILL             WI           54452                                  SUPPLIERS OR VENDORS      12/14/2018            $450.86
ZASTROW BEER MAN
INCORPORATED          3300 THIELMAN STREET                                                      MERRILL             WI           54452                                  SUPPLIERS OR VENDORS      12/20/2018             $74.76
ZASTROW BEER MAN
INCORPORATED          3300 THIELMAN STREET                                                      MERRILL             WI           54452                                  SUPPLIERS OR VENDORS      12/27/2018              $24.36
ZEBCO                 SHOPKO STORES           PO BOX 19060           DISC A/O 1/7/00            GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/18/2018           $4,601.63
ZEBCO                 SHOPKO STORES           PO BOX 19060           DISC A/O 1/7/00            GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      10/25/2018           $9,407.54
ZEBCO                 SHOPKO STORES           PO BOX 19060           DISC A/O 1/7/00            GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/1/2018           $7,633.18
ZEBCO                 SHOPKO STORES           PO BOX 19060           DISC A/O 1/7/00            GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       11/8/2018           $5,991.91
ZEBCO                 SHOPKO STORES           PO BOX 19060           DISC A/O 1/7/00            GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/15/2018           $4,042.32
ZEBCO                 SHOPKO STORES           PO BOX 19060           DISC A/O 1/7/00            GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/22/2018           $5,992.96
ZEBCO                 SHOPKO STORES           PO BOX 19060           DISC A/O 1/7/00            GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS      11/29/2018           $2,303.01
ZEBRA PEN COMPANY     105 NORTHFIELD AVENUE                                                     EDISON              NJ           08837                                  SUPPLIERS OR VENDORS      10/18/2018           $1,985.99
ZEBRA PEN COMPANY     105 NORTHFIELD AVENUE                                                     EDISON              NJ           08837                                  SUPPLIERS OR VENDORS      10/25/2018             $814.97
ZEBRA PEN COMPANY     105 NORTHFIELD AVENUE                                                     EDISON              NJ           08837                                  SUPPLIERS OR VENDORS      11/15/2018             $439.10
ZEBRA PEN COMPANY     105 NORTHFIELD AVENUE                                                     EDISON              NJ           08837                                  SUPPLIERS OR VENDORS       12/6/2018             $482.13
ZELDA BOOGMAN         STORE 2-773             SHOPKO EMPLOYEE        825 NE MAIN                LEWISTOWN           MT           59457                                  SUPPLIERS OR VENDORS      10/19/2018             $185.30
ZELDA BOOGMAN         STORE 2-773             SHOPKO EMPLOYEE        825 NE MAIN                LEWISTOWN           MT           59457                                  SUPPLIERS OR VENDORS       11/2/2018             $463.25
ZELDA BOOGMAN         STORE 2-773             SHOPKO EMPLOYEE        825 NE MAIN                LEWISTOWN           MT           59457                                  SUPPLIERS OR VENDORS      11/16/2018             $277.95
ZELDA BOOGMAN         STORE 2-773             SHOPKO EMPLOYEE        825 NE MAIN                LEWISTOWN           MT           59457                                  SUPPLIERS OR VENDORS      11/27/2018             $185.30
ZELDA BOOGMAN         STORE 2-773             SHOPKO EMPLOYEE        825 NE MAIN                LEWISTOWN           MT           59457                                  SUPPLIERS OR VENDORS      11/30/2018             $185.30
ZELDA BOOGMAN         STORE 2-773             SHOPKO EMPLOYEE        825 NE MAIN                LEWISTOWN           MT           59457                                  SUPPLIERS OR VENDORS      12/14/2018             $926.50
ZELDA BOOGMAN         STORE 2-773             SHOPKO EMPLOYEE        825 NE MAIN                LEWISTOWN           MT           59457                                  SUPPLIERS OR VENDORS      12/20/2018             $277.95
ZELDA BOOGMAN         STORE 2-773             SHOPKO EMPLOYEE        825 NE MAIN                LEWISTOWN           MT           59457                                  SUPPLIERS OR VENDORS      12/29/2018             $185.30
ZELDA BOOGMAN         STORE 2-773             SHOPKO EMPLOYEE        825 NE MAIN                LEWISTOWN           MT           59457                                  SUPPLIERS OR VENDORS       1/15/2019             $463.25



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                                                                                                                                                                                   Reasons for payment or    Dates of     Total Amount or
      Creditor Name                  Address1                Address2                  Address3                City               State       Zip              Country                    transfer          Payments            Value
ZENITH PRODUCTS            PO BOX 12468                                                                  NEWARK              NJ           07101-3568                             SUPPLIERS OR VENDORS        10/18/2018              $931.50
ZENITH PRODUCTS            PO BOX 12468                                                                  NEWARK              NJ           07101-3568                             SUPPLIERS OR VENDORS        10/25/2018              $344.25
ZENITH PRODUCTS            PO BOX 12468                                                                  NEWARK              NJ           07101-3568                             SUPPLIERS OR VENDORS         11/1/2018              $359.00
ZENITH PRODUCTS            PO BOX 12468                                                                  NEWARK              NJ           07101-3568                             SUPPLIERS OR VENDORS         11/8/2018              $321.97
ZENITH PRODUCTS            PO BOX 12468                                                                  NEWARK              NJ           07101-3568                             SUPPLIERS OR VENDORS        11/15/2018              $323.50
ZENITH PRODUCTS            PO BOX 12468                                                                  NEWARK              NJ           07101-3568                             SUPPLIERS OR VENDORS        11/22/2018              $294.75
ZENITH PRODUCTS            PO BOX 12468                                                                  NEWARK              NJ           07101-3568                             SUPPLIERS OR VENDORS        11/23/2018              $261.00
ZENITH PRODUCTS            PO BOX 12468                                                                  NEWARK              NJ           07101-3568                             SUPPLIERS OR VENDORS        11/26/2018              $510.75
ZERO TECHNOLOGIES LLC      4510 ADAMS CIRCLE SUITE G                                                     BENSALEM            PA           19020                                  SUPPLIERS OR VENDORS        10/25/2018            $2,035.00
ZERO TECHNOLOGIES LLC      4510 ADAMS CIRCLE SUITE G                                                     BENSALEM            PA           19020                                  SUPPLIERS OR VENDORS         11/8/2018            $1,870.13
ZERO TECHNOLOGIES LLC      4510 ADAMS CIRCLE SUITE G                                                     BENSALEM            PA           19020                                  SUPPLIERS OR VENDORS        11/15/2018            $1,081.80
ZERO TECHNOLOGIES LLC      4510 ADAMS CIRCLE SUITE G                                                     BENSALEM            PA           19020                                  SUPPLIERS OR VENDORS        11/22/2018            $1,647.60
ZERO TECHNOLOGIES LLC      4510 ADAMS CIRCLE SUITE G                                                     BENSALEM            PA           19020                                  SUPPLIERS OR VENDORS        11/29/2018            $2,547.60
ZHANGUSA INVESTMENTS
LLC                        DBA ZIMART KERMIT LLC       PO BOX 23642                                      WACO                TX           76702-3642                             SUPPLIERS OR VENDORS        11/1/2018           $10,000.00
ZHANGUSA INVESTMENTS
LLC                        DBA ZIMART KERMIT LLC       PO BOX 23642                                      WACO                TX           76702-3642                             SUPPLIERS OR VENDORS        11/3/2018           $10,000.00
ZHANGUSA INVESTMENTS
LLC                        DBA ZIMART KERMIT LLC       PO BOX 23642                                      WACO                TX           76702-3642                             SUPPLIERS OR VENDORS        12/1/2018           $10,000.00

ZHANNA YESMUKHANOVA        STORE 123                   SHOPKO EMPLOYEE                                   GREEN BAY           WI           54307-9060                             SUPPLIERS OR VENDORS       10/25/2018              $426.97
ZHEJIANG KATA              6TH FLOOR BUILDING 3 NO                                                       BINJIANG,                                                               PURCHASE OF
TECHNOLOGY                 2630, NANHUAN ROAD                                                            TEHANGZHOU                       3100         China                     MERCHANDISE                 11/5/2018          $227,988.24
ZHEJIANG MULTI GLORY       1-1 WEST SIDE NEW BRIDGE                                                                                                                              PURCHASE OF
HOME                       LINPU TOWN                  XIAOSHAN DISTRICT                                 HANGZHOU                         311251       CHINA                     MERCHANDISE                10/29/2018          $112,038.68
ZHEJIANG MULTI GLORY       1-1 WEST SIDE NEW BRIDGE                                                                                                                              PURCHASE OF
HOME                       LINPU TOWN                  XIAOSHAN DISTRICT                                 HANGZHOU                         311251       CHINA                     MERCHANDISE                11/13/2018          $255,772.32
ZHEJIANG MULTI GLORY       1-1 WEST SIDE NEW BRIDGE                                                                                                                              PURCHASE OF
HOME                       LINPU TOWN                  XIAOSHAN DISTRICT                                 HANGZHOU                         311251       CHINA                     MERCHANDISE                11/26/2018           $13,778.50
ZHEJIANG MULTI GLORY       1-1 WEST SIDE NEW BRIDGE                                                                                                                              PURCHASE OF
HOME                       LINPU TOWN                  XIAOSHAN DISTRICT                                 HANGZHOU                         311251     CHINA                       MERCHANDISE                12/26/2018          $64,767.50
ZIMCO OPTICS INC           3060 AVENUE U                                                                 BROOKLYN            NY           11229                                  SUPPLIERS OR VENDORS        11/1/2018               $2.95
ZOEY KNEBEL                3413 MIRROR LANE                                                              BELLEVUE            NE           68123                                  SUPPLIERS OR VENDORS       11/12/2018              $21.94
ZURU LLC                   45853 Nw Sell Road                                                            Banks               OR           97106                                  SUPPLIERS OR VENDORS        11/3/2018         $107,499.63
ZWILLING J A HENKELS LLC   270 MARBLE AVENUE                                                             PLEASANTVILLE       NY           10570-0000                             SUPPLIERS OR VENDORS       10/25/2018           $3,588.73
ZWILLING J A HENKELS LLC   270 MARBLE AVENUE                                                             PLEASANTVILLE       NY           10570-0000                             SUPPLIERS OR VENDORS        11/8/2018          $70,644.00
ZWILLING J A HENKELS LLC   270 MARBLE AVENUE                                                             PLEASANTVILLE       NY           10570-0000                             SUPPLIERS OR VENDORS       11/15/2018          $82,626.50
ZYGMUND JEDLECKI           7317 SOUTH 33RD ST                                                            OMAHA               NE           68147                                  SUPPLIERS OR VENDORS       11/26/2018              $11.78
ZYGMUND JEDLECKI           7317 SOUTH 33RD ST                                                            OMAHA               NE           68147                                  SUPPLIERS OR VENDORS       11/26/2018              $47.14
ZYRAFETE ADEMI             12829 CHANDLER ST                                                             OMAHA               NE           68138                                  SUPPLIERS OR VENDORS       10/26/2018              $85.00
                                                                                                                                                                                                                TOTAL:     $890,451,014.45




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                                                                                                                                       Reasons for payment or
      Insider Name                Address                   City        State         Zip             Relationship to Debtor                  transfer                Dates of Payments      Amount Paid

Bresnehan, Scott     700 Pilgrim Way                    Green Bay WI             54307-9060 Vice President, GMM Apparel             Expense Reimbursement                        6/14/2018         $82.84

Brodin, John P       700 Pilgrim Way                    Green Bay WI             54307        EVP Chief Financial Officer           Regular Pay                                03/24/2018        $8,653.85

Brodin, John P       700 Pilgrim Way                    Green Bay WI             54307        EVP Chief Financial Officer           Regular Pay                                04/07/2018      $17,307.70

Brodin, John P       700 Pilgrim Way                    Green Bay WI             54307        EVP Chief Financial Officer           Regular Pay                                04/21/2018      $17,307.70

Brodin, John P       700 Pilgrim Way                    Green Bay WI             54307        EVP Chief Financial Officer           Regular Pay                                05/05/2018      $17,307.70

Brodin, John P       700 Pilgrim Way                    Green Bay WI             54307        EVP Chief Financial Officer           Regular Pay                                05/19/2018      $17,307.70

Brodin, John P       700 Pilgrim Way                    Green Bay WI             54307        EVP Chief Financial Officer           Regular Pay                                06/02/2018      $17,307.70

Brodin, John P       700 Pilgrim Way                    Green Bay WI             54307        EVP Chief Financial Officer           Regular Pay                                06/16/2018      $17,307.70

Brodin, John P       700 Pilgrim Way                    Green Bay WI             54307        EVP Chief Financial Officer           Signing Bonus                              06/30/2018      $50,000.00

Brodin, John P       700 Pilgrim Way                    Green Bay WI             54307        EVP Chief Financial Officer           Regular Pay                                06/30/2018      $17,307.70

Brodin, John P       700 Pilgrim Way                    Green Bay WI             54307        EVP Chief Financial Officer           Regular Pay                                07/14/2018      $17,307.70

Brodin, John P       700 Pilgrim Way                    Green Bay WI             54307        EVP Chief Financial Officer           Regular Pay                                07/28/2018      $17,307.70

Brodin, John P       700 Pilgrim Way                    Green Bay WI             54307        EVP Chief Financial Officer           Regular Pay                                08/11/2018      $17,307.70

Brodin, John P       700 Pilgrim Way                    Green Bay WI             54307        EVP Chief Financial Officer           Regular Pay                                08/25/2018      $17,307.70

Brodin, John P       700 Pilgrim Way                    Green Bay WI             54307        EVP Chief Financial Officer           Regular Pay                                09/08/2018      $17,307.70

Brodin, John P       700 Pilgrim Way                    Green Bay WI             54307        EVP Chief Financial Officer           Regular Pay                                09/22/2018      $17,307.70

Brodin, John P       700 Pilgrim Way                    Green Bay WI             54307        EVP Chief Financial Officer           Regular Pay                                10/06/2018      $17,307.70

Brodin, John P       700 Pilgrim Way                    Green Bay WI             54307        EVP Chief Financial Officer           Regular Pay                                10/20/2018      $17,307.70

Brodin, John P       700 Pilgrim Way                    Green Bay WI             54307        EVP Chief Financial Officer           Regular Pay / Retention                    11/03/2018     $152,307.70

Brodin, John P       700 Pilgrim Way                    Green Bay WI             54307        EVP Chief Financial Officer           Regular Pay                                11/17/2018      $17,307.70

Brodin, John P       700 Pilgrim Way                    Green Bay WI             54307        EVP Chief Financial Officer           Regular Pay                                12/01/2018      $17,307.70

Brodin, John P       700 Pilgrim Way                    Green Bay WI             54307        EVP Chief Financial Officer           Regular Pay                                12/15/2018      $17,307.70

Brodin, John P       700 Pilgrim Way                    Green Bay WI             54307        EVP Chief Financial Officer           Retention                                  12/15/2018     $450,000.00



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                                                                                                                                       Reasons for payment or
      Insider Name                Address                   City        State         Zip             Relationship to Debtor                  transfer                Dates of Payments      Amount Paid

Brodin, John P       700 Pilgrim Way                    Green Bay WI             54307        EVP Chief Financial Officer           Moving                                     12/15/2018      $35,600.59

Brodin, John P       700 Pilgrim Way                    Green Bay WI             54307        EVP Chief Financial Officer           Regular Pay                                12/29/2018      $17,307.70

Brodin, John P       700 Pilgrim Way                    Green Bay WI             54307        EVP Chief Financial Officer           Regular Pay                                01/05/2019      $17,307.70
                                                                                              Executive Vice President, Chief
Brodin, Per          700 Pilgrim Way                    Green Bay WI             54307-9060   Financial Officer                     Expense Reimbursement                         5/3/2018         $30.00
                                                                                              Executive Vice President, Chief
Brodin, Per          700 Pilgrim Way                    Green Bay WI             54307-9060   Financial Officer                     Expense Reimbursement                        5/24/2018        $129.96
                                                                                              Executive Vice President, Chief
Brodin, Per          700 Pilgrim Way                    Green Bay WI             54307-9060   Financial Officer                     Expense Reimbursement                      11/22/2018         $415.99
                                                                                              Executive Vice President, Chief
Brodin, Per          700 Pilgrim Way                    Green Bay WI             54307-9060   Financial Officer                     Expense Reimbursement                      11/29/2018         $132.44
                                                                                              Executive Vice President, Chief
Brodin, Per          700 Pilgrim Way                    Green Bay WI             54307-9060   Financial Officer                     Expense Reimbursement                        12/6/2018        $268.48

Depaul, James        700 Pilgrim Way                    Green Bay WI             54307        Chief Operations Officer              Regular Pay                                01/13/2018      $14,423.08

Depaul, James        700 Pilgrim Way                    Green Bay WI             54307        Chief Operations Officer              Regular Pay                                01/27/2018      $14,423.08

Depaul, James        700 Pilgrim Way                    Green Bay WI             54307-9060 Chief Operations Officer                Expense Reimbursement                         2/9/2018        $307.22

Depaul, James        700 Pilgrim Way                    Green Bay WI             54307        Chief Operations Officer              Regular Pay                                02/10/2018      $14,423.08

Depaul, James        700 Pilgrim Way                    Green Bay WI             54307        Chief Operations Officer              Regular Pay                                02/24/2018      $14,423.08

Depaul, James        700 Pilgrim Way                    Green Bay WI             54307-9060 Chief Operations Officer                Expense Reimbursement                         3/2/2018        $236.08

Depaul, James        700 Pilgrim Way                    Green Bay WI             54307        Chief Operations Officer              Regular Pay                                03/10/2018      $14,423.08

Depaul, James        700 Pilgrim Way                    Green Bay WI             54307        Chief Operations Officer              Regular Pay                                03/24/2018      $14,423.08

Depaul, James        700 Pilgrim Way                    Green Bay WI             54307        Chief Operations Officer              Regular Pay / EIP                          04/07/2018     $209,723.08

Depaul, James        700 Pilgrim Way                    Green Bay WI             54307        Chief Operations Officer              Regular Pay                                04/21/2018      $14,423.08

Depaul, James        700 Pilgrim Way                    Green Bay WI             54307        Chief Operations Officer              Regular Pay                                05/05/2018      $14,423.08

Depaul, James        700 Pilgrim Way                    Green Bay WI             54307        Chief Operations Officer              Regular Pay                                05/19/2018      $14,423.08

Depaul, James        700 Pilgrim Way                    Green Bay WI             54307-9060 Chief Operations Officer                Expense Reimbursement                        5/25/2018       $1,086.42

Depaul, James        700 Pilgrim Way                    Green Bay WI             54307        Chief Operations Officer              Regular Pay                                06/02/2018      $14,423.08

Depaul, James        700 Pilgrim Way                    Green Bay WI             54307        Chief Operations Officer              Regular Pay                                06/16/2018      $14,423.08



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                                                                                                                                       Reasons for payment or
      Insider Name                Address                   City        State         Zip             Relationship to Debtor                  transfer                Dates of Payments      Amount Paid

Depaul, James        700 Pilgrim Way                    Green Bay WI             54307        Chief Operations Officer              Regular Pay / Gift Card                    06/30/2018      $14,598.08

Depaul, James        700 Pilgrim Way                    Green Bay WI             54307        Chief Operations Officer              Regular Pay                                07/14/2018      $14,423.08

Depaul, James        700 Pilgrim Way                    Green Bay WI             54307        Chief Operations Officer              Regular Pay                                07/28/2018      $14,423.08

Depaul, James        700 Pilgrim Way                    Green Bay WI             54307-9060 Chief Operations Officer                Expense Reimbursement                        8/10/2018        $567.89

Depaul, James        700 Pilgrim Way                    Green Bay WI             54307        Chief Operations Officer              Regular Pay                                08/11/2018      $14,423.08

Depaul, James        700 Pilgrim Way                    Green Bay WI             54307        Chief Operations Officer              Regular Pay                                08/25/2018      $14,423.08

Depaul, James        700 Pilgrim Way                    Green Bay WI             54307        Chief Operations Officer              Regular Pay                                09/08/2018      $14,423.08

Depaul, James        700 Pilgrim Way                    Green Bay WI             54307        Chief Operations Officer              Regular Pay                                09/22/2018      $14,423.08

Depaul, James        700 Pilgrim Way                    Green Bay WI             54307-9060 Chief Operations Officer                Expense Reimbursement                        9/28/2018        $239.77

Depaul, James        700 Pilgrim Way                    Green Bay WI             54307        Chief Operations Officer              Regular Pay                                10/06/2018      $14,423.08

Depaul, James        700 Pilgrim Way                    Green Bay WI             54307-9060 Chief Operations Officer                Expense Reimbursement                      10/12/2018         $586.72

Depaul, James        700 Pilgrim Way                    Green Bay WI             54307-9060 Chief Operations Officer                Expense Reimbursement                      10/19/2018        $1,753.59

Depaul, James        700 Pilgrim Way                    Green Bay WI             54307        Chief Operations Officer              Regular Pay                                10/20/2018      $14,423.08

Depaul, James        700 Pilgrim Way                    Green Bay WI             54307        Chief Operations Officer              Regular Pay / Retention                    11/03/2018     $114,423.08

Depaul, James        700 Pilgrim Way                    Green Bay WI             54307        Chief Operations Officer              Regular Pay / Retro                        11/17/2018      $16,346.16

Depaul, James        700 Pilgrim Way                    Green Bay WI             54307-9060 Chief Operations Officer                Expense Reimbursement                      11/27/2018         $771.04

Depaul, James        700 Pilgrim Way                    Green Bay WI             54307        Chief Operations Officer              Regular Pay                                12/01/2018      $15,384.62

Depaul, James        700 Pilgrim Way                    Green Bay WI             54307        Chief Operations Officer              Regular Pay                                12/15/2018      $15,384.62

Depaul, James        700 Pilgrim Way                    Green Bay WI             54307        Chief Operations Officer              Retention                                  12/15/2018     $400,000.00

Depaul, James        700 Pilgrim Way                    Green Bay WI             54307        Chief Operations Officer              Regular Pay                                12/29/2018      $15,384.62

Depaul, James        700 Pilgrim Way                    Green Bay WI             54307        Chief Operations Officer              Regular Pay                                01/05/2019      $15,384.62

Domian, Denise       700 Pilgrim Way                    Green Bay WI             54307-9060 Chief Human Resources Officer           Expense Reimbursement                        6/29/2018        $190.24

Domian, Denise       700 Pilgrim Way                    Green Bay WI             54307-9060 Chief Human Resources Officer           Expense Reimbursement                        10/5/2018        $469.74



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                                                                                                                                       Reasons for payment or
      Insider Name                Address                   City        State         Zip             Relationship to Debtor                  transfer                Dates of Payments      Amount Paid

Domian, Denise       700 Pilgrim Way                    Green Bay WI             54307-9060 Chief Human Resources Officer           Expense Reimbursement                      10/12/2018         $630.80

Domian, Denise M     700 Pilgrim Way                    Green Bay WI             54307        Chief Human Resources Officer         Regular Pay                                05/19/2018        $6,730.77

Domian, Denise M     700 Pilgrim Way                    Green Bay WI             54307        Chief Human Resources Officer         Regular Pay                                06/02/2018      $13,461.54

Domian, Denise M     700 Pilgrim Way                    Green Bay WI             54307        Chief Human Resources Officer         Regular Pay                                06/16/2018      $13,461.54

Domian, Denise M     700 Pilgrim Way                    Green Bay WI             54307        Chief Human Resources Officer         Regular Pay                                06/30/2018      $13,461.54

Domian, Denise M     700 Pilgrim Way                    Green Bay WI             54307        Chief Human Resources Officer         Regular Pay                                07/14/2018      $13,461.54

Domian, Denise M     700 Pilgrim Way                    Green Bay WI             54307        Chief Human Resources Officer         Regular Pay                                07/28/2018      $13,461.54

Domian, Denise M     700 Pilgrim Way                    Green Bay WI             54307        Chief Human Resources Officer         Regular Pay                                08/11/2018      $13,461.54

Domian, Denise M     700 Pilgrim Way                    Green Bay WI             54307        Chief Human Resources Officer         Regular Pay                                08/25/2018      $13,461.54

Domian, Denise M     700 Pilgrim Way                    Green Bay WI             54307        Chief Human Resources Officer         Regular Pay                                09/08/2018      $13,461.54

Domian, Denise M     700 Pilgrim Way                    Green Bay WI             54307        Chief Human Resources Officer         Regular Pay                                09/22/2018      $13,461.54

Domian, Denise M     700 Pilgrim Way                    Green Bay WI             54307        Chief Human Resources Officer         Regular Pay                                10/06/2018      $13,461.54

Domian, Denise M     700 Pilgrim Way                    Green Bay WI             54307        Chief Human Resources Officer         Regular Pay                                10/20/2018      $13,461.54

Domian, Denise M     700 Pilgrim Way                    Green Bay WI             54307        Chief Human Resources Officer         Regular Pay / Retention                    11/03/2018     $100,961.54

Domian, Denise M     700 Pilgrim Way                    Green Bay WI             54307        Chief Human Resources Officer         Regular Pay                                11/17/2018      $13,461.54

Domian, Denise M     700 Pilgrim Way                    Green Bay WI             54307        Chief Human Resources Officer         Regular Pay                                12/01/2018      $13,461.54

Domian, Denise M     700 Pilgrim Way                    Green Bay WI             54307        Chief Human Resources Officer         Regular Pay                                12/15/2018      $13,461.54

Domian, Denise M     700 Pilgrim Way                    Green Bay WI             54307        Chief Human Resources Officer         Retention                                  12/15/2018     $250,000.00

Domian, Denise M     700 Pilgrim Way                    Green Bay WI             54307        Chief Human Resources Officer         Moving                                     12/15/2018      $22,187.91

Domian, Denise M     700 Pilgrim Way                    Green Bay WI             54307        Chief Human Resources Officer         Regular Pay                                12/29/2018      $13,461.54

Domian, Denise M     700 Pilgrim Way                    Green Bay WI             54307      Chief Human Resources Officer         Regular Pay                                  01/05/2019      $13,461.54
                                                                                            Senior Vice President, Chief Customer
Lee, Martin          700 Pilgrim Way                    Green Bay WI             54307-9060 Officer                               Expense Reimbursement                          2/15/2018        $924.04
                                                                                            Senior Vice President, Chief Customer
Lee, Martin          700 Pilgrim Way                    Green Bay WI             54307-9060 Officer                               Expense Reimbursement                          5/31/2018        $974.47



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                                                                                                                                       Reasons for payment or
      Insider Name                Address                   City        State         Zip             Relationship to Debtor                  transfer                Dates of Payments     Amount Paid

Lee, Martin S        700 Pilgrim Way                    Green Bay WI             54307        Chief Customer Officer                Regular Pay                                01/13/2018     $15,961.54

Lee, Martin S        700 Pilgrim Way                    Green Bay WI             54307        Chief Customer Officer                Regular Pay                                01/27/2018     $15,961.54

Lee, Martin S        700 Pilgrim Way                    Green Bay WI             54307        Chief Customer Officer                Regular Pay                                02/10/2018     $15,961.54

Lee, Martin S        700 Pilgrim Way                    Green Bay WI             54307        Chief Customer Officer                Regular Pay                                02/24/2018     $15,961.54

Lee, Martin S        700 Pilgrim Way                    Green Bay WI             54307        Chief Customer Officer                Regular Pay                                03/10/2018     $15,961.54

Lee, Martin S        700 Pilgrim Way                    Green Bay WI             54307        Chief Customer Officer                Regular Pay                                03/24/2018     $15,961.54

Lee, Martin S        700 Pilgrim Way                    Green Bay WI             54307        Chief Customer Officer                Regular Pay / EIP                          04/07/2018    $224,712.94

Lee, Martin S        700 Pilgrim Way                    Green Bay WI             54307        Chief Customer Officer                Regular Pay                                04/21/2018     $15,961.54

Lee, Martin S        700 Pilgrim Way                    Green Bay WI             54307        Chief Customer Officer                Regular Pay                                05/05/2018     $15,961.54

Lee, Martin S        700 Pilgrim Way                    Green Bay WI             54307        Chief Customer Officer                Regular Pay                                05/19/2018     $15,961.54

Lee, Martin S        700 Pilgrim Way                    Green Bay WI             54307        Chief Customer Officer                Regular Pay                                06/02/2018     $15,961.54

Lee, Martin S        700 Pilgrim Way                    Green Bay WI             54307        Chief Customer Officer                Regular Pay                                06/16/2018     $15,961.54

Lee, Martin S        700 Pilgrim Way                    Green Bay WI             54307        Chief Customer Officer                Regular Pay                                06/30/2018     $15,961.54

Lee, Martin S        700 Pilgrim Way                    Green Bay WI             54307        Chief Customer Officer                Regular Pay                                07/14/2018     $15,961.54
                                                                                                                                    Regular Pay / Retention /
Lee, Martin S        700 Pilgrim Way                    Green Bay WI             54307        Chief Customer Officer                Vacation Pay                               07/28/2018     $23,162.21

Lee, Martin S        700 Pilgrim Way                    Green Bay WI             54307        Chief Customer Officer                Severance                                  08/11/2018     $15,961.54

Lee, Martin S        700 Pilgrim Way                    Green Bay WI             54307        Chief Customer Officer                Severance                                  08/25/2018     $15,961.54

Lee, Martin S        700 Pilgrim Way                    Green Bay WI             54307        Chief Customer Officer                Severance                                  09/08/2018     $15,961.54

Lee, Martin S        700 Pilgrim Way                    Green Bay WI             54307        Chief Customer Officer                Severance                                  09/22/2018     $15,961.54

Lee, Martin S        700 Pilgrim Way                    Green Bay WI             54307        Chief Customer Officer                Severance                                  10/06/2018     $15,961.54

Lee, Martin S        700 Pilgrim Way                    Green Bay WI             54307        Chief Customer Officer                Severance                                  10/20/2018     $15,961.54

Lee, Martin S        700 Pilgrim Way                    Green Bay WI             54307        Chief Customer Officer                Severance                                  11/03/2018     $15,961.54

Lee, Martin S        700 Pilgrim Way                    Green Bay WI             54307        Chief Customer Officer                Severance                                  11/17/2018     $15,961.54



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                                                                                                                                       Reasons for payment or
      Insider Name                Address                   City        State         Zip             Relationship to Debtor                  transfer                Dates of Payments      Amount Paid

Lee, Martin S        700 Pilgrim Way                    Green Bay WI             54307        Chief Customer Officer                Moving                                     12/01/2018      $19,702.28

Lee, Martin S        700 Pilgrim Way                    Green Bay WI             54307        Chief Customer Officer                Severance                                  12/01/2018      $15,961.54

Lee, Martin S        700 Pilgrim Way                    Green Bay WI             54307        Chief Customer Officer                Severance                                  12/15/2018      $15,961.54

Lee, Martin S        700 Pilgrim Way                    Green Bay WI             54307        Chief Customer Officer                Severance                                  12/29/2018      $15,961.54
                                                                                              Executive Vice President,
Ota, Ronald          700 Pilgrim Way                    Green Bay WI             54307-9060   Merchandising and Marketing           Expense Reimbursement                         2/9/2018        $732.52
                                                                                              Executive Vice President,
Ota, Ronald          700 Pilgrim Way                    Green Bay WI             54307-9060   Merchandising and Marketing           Expense Reimbursement                        3/30/2018        $337.35
                                                                                              Executive Vice President,
Ota, Ronald          700 Pilgrim Way                    Green Bay WI             54307-9060   Merchandising and Marketing           Expense Reimbursement                        5/25/2018        $741.76
                                                                                              Executive Vice President,
Ota, Ronald          700 Pilgrim Way                    Green Bay WI             54307-9060   Merchandising and Marketing           Expense Reimbursement                        9/28/2018        $217.05
                                                                                              Executive Vice President,
Ota, Ronald          700 Pilgrim Way                    Green Bay WI             54307-9060   Merchandising and Marketing           Expense Reimbursement                      11/27/2018        $1,296.57
                                                                                              Executive Vice President,
Ota, Ronald          700 Pilgrim Way                    Green Bay WI             54307-9060   Merchandising and Marketing           Expense Reimbursement                      12/14/2018        $1,238.50

Ota, Ronald L        700 Pilgrim Way                    Green Bay WI             54307        EVP Merchandising & Marketing         Regular Pay                                01/13/2018      $16,538.47

Ota, Ronald L        700 Pilgrim Way                    Green Bay WI             54307        EVP Merchandising & Marketing         Regular Pay                                01/27/2018      $16,538.47

Ota, Ronald L        700 Pilgrim Way                    Green Bay WI             54307        EVP Merchandising & Marketing         Regular Pay                                02/10/2018      $16,538.47

Ota, Ronald L        700 Pilgrim Way                    Green Bay WI             54307        EVP Merchandising & Marketing         Regular Pay                                02/24/2018      $16,538.47

Ota, Ronald L        700 Pilgrim Way                    Green Bay WI             54307        EVP Merchandising & Marketing         Regular Pay                                03/10/2018      $16,538.47

Ota, Ronald L        700 Pilgrim Way                    Green Bay WI             54307        EVP Merchandising & Marketing         Regular Pay                                03/24/2018      $17,307.70

Ota, Ronald L        700 Pilgrim Way                    Green Bay WI             54307        EVP Merchandising & Marketing         Regular Pay / EIP                          04/07/2018     $236,243.14

Ota, Ronald L        700 Pilgrim Way                    Green Bay WI             54307        EVP Merchandising & Marketing         Regular Pay                                04/21/2018      $17,307.70

Ota, Ronald L        700 Pilgrim Way                    Green Bay WI             54307        EVP Merchandising & Marketing         Regular Pay                                05/05/2018      $17,307.70

Ota, Ronald L        700 Pilgrim Way                    Green Bay WI             54307        EVP Merchandising & Marketing         Regular Pay                                05/19/2018      $17,307.70

Ota, Ronald L        700 Pilgrim Way                    Green Bay WI             54307        EVP Merchandising & Marketing         Regular Pay                                06/02/2018      $17,307.70

Ota, Ronald L        700 Pilgrim Way                    Green Bay WI             54307        EVP Merchandising & Marketing         Regular Pay                                06/16/2018      $19,230.78

Ota, Ronald L        700 Pilgrim Way                    Green Bay WI             54307        EVP Merchandising & Marketing         Regular Pay                                06/30/2018      $19,230.78



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                                                                                                                                       Reasons for payment or
      Insider Name                Address                   City        State         Zip             Relationship to Debtor                  transfer                Dates of Payments      Amount Paid

Ota, Ronald L        700 Pilgrim Way                    Green Bay WI             54307        EVP Merchandising & Marketing         Regular Pay                                07/14/2018      $19,230.78

Ota, Ronald L        700 Pilgrim Way                    Green Bay WI             54307        EVP Merchandising & Marketing         Regular Pay                                07/28/2018      $19,230.78

Ota, Ronald L        700 Pilgrim Way                    Green Bay WI             54307        EVP Merchandising & Marketing         Regular Pay                                08/11/2018      $19,230.78

Ota, Ronald L        700 Pilgrim Way                    Green Bay WI             54307        EVP Merchandising & Marketing         Regular Pay                                08/25/2018      $19,230.78

Ota, Ronald L        700 Pilgrim Way                    Green Bay WI             54307        EVP Merchandising & Marketing         Regular Pay                                09/08/2018      $19,230.78

Ota, Ronald L        700 Pilgrim Way                    Green Bay WI             54307        EVP Merchandising & Marketing         Regular Pay                                09/22/2018      $19,230.78

Ota, Ronald L        700 Pilgrim Way                    Green Bay WI             54307        EVP Merchandising & Marketing         Regular Pay                                10/06/2018      $19,230.78

Ota, Ronald L        700 Pilgrim Way                    Green Bay WI             54307        EVP Merchandising & Marketing         Regular Pay                                10/20/2018      $19,230.78

Ota, Ronald L        700 Pilgrim Way                    Green Bay WI             54307        EVP Merchandising & Marketing         Regular Pay / Retention                    11/03/2018     $169,230.78

Ota, Ronald L        700 Pilgrim Way                    Green Bay WI             54307        EVP Merchandising & Marketing         Regular Pay                                11/17/2018      $19,230.78

Ota, Ronald L        700 Pilgrim Way                    Green Bay WI             54307        EVP Merchandising & Marketing         Moving                                     12/01/2018      $58,443.12

Ota, Ronald L        700 Pilgrim Way                    Green Bay WI             54307        EVP Merchandising & Marketing         Regular Pay                                12/01/2018      $19,230.78

Ota, Ronald L        700 Pilgrim Way                    Green Bay WI             54307        EVP Merchandising & Marketing         Regular Pay                                12/15/2018      $19,230.78

Ota, Ronald L        700 Pilgrim Way                    Green Bay WI             54307        EVP Merchandising & Marketing         Retention                                  12/15/2018     $500,000.00
Ota, Ronald L        700 Pilgrim Way                    Green Bay WI             54307        EVP Merchandising & Marketing         Regular Pay                                12/29/2018      $19,230.78

Ota, Ronald L        700 Pilgrim Way                    Green Bay WI             54307        EVP Merchandising & Marketing         Regular Pay                                01/05/2019      $19,230.78

Petersen, Ray        700 Pilgrim Way                    Green Bay WI             54307        Chief Information Officer             Regular Pay                                01/13/2018      $12,611.78

Petersen, Ray        700 Pilgrim Way                    Green Bay WI             54307        Chief Information Officer             Regular Pay                                01/27/2018      $12,611.78

Petersen, Ray        700 Pilgrim Way                    Green Bay WI             54307-9060 Chief Information Officer               Expense Reimbursement                         2/8/2018        $870.35

Petersen, Ray        700 Pilgrim Way                    Green Bay WI             54307        Chief Information Officer             Regular Pay                                02/10/2018      $12,611.78

Petersen, Ray        700 Pilgrim Way                    Green Bay WI             54307        Chief Information Officer             Regular Pay                                02/24/2018      $12,611.78

Petersen, Ray        700 Pilgrim Way                    Green Bay WI             54307        Chief Information Officer             Regular Pay                                03/10/2018      $12,611.78

Petersen, Ray        700 Pilgrim Way                    Green Bay WI             54307        Chief Information Officer             Regular Pay                                03/24/2018      $12,611.78




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                                                                                                                                       Reasons for payment or
      Insider Name                Address                   City        State         Zip             Relationship to Debtor                  transfer                Dates of Payments      Amount Paid

Petersen, Ray        700 Pilgrim Way                    Green Bay WI             54307        Chief Information Officer             Regular Pay / EIP                          04/07/2018     $153,218.00

Petersen, Ray        700 Pilgrim Way                    Green Bay WI             54307-9060 Chief Information Officer               Expense Reimbursement                        4/12/2018        $379.71

Petersen, Ray        700 Pilgrim Way                    Green Bay WI             54307        Chief Information Officer             Regular Pay                                04/21/2018      $12,611.78

Petersen, Ray        700 Pilgrim Way                    Green Bay WI             54307        Chief Information Officer             Regular Pay                                05/05/2018      $12,611.78

Petersen, Ray        700 Pilgrim Way                    Green Bay WI             54307        Chief Information Officer             Regular Pay                                05/19/2018      $12,611.78

Petersen, Ray        700 Pilgrim Way                    Green Bay WI             54307        Chief Information Officer             Regular Pay                                06/02/2018      $12,611.78

Petersen, Ray        700 Pilgrim Way                    Green Bay WI             54307        Chief Information Officer             Regular Pay                                06/16/2018      $12,611.78

Petersen, Ray        700 Pilgrim Way                    Green Bay WI             54307        Chief Information Officer             Regular Pay                                06/30/2018      $12,611.78

Petersen, Ray        700 Pilgrim Way                    Green Bay WI             54307        Chief Information Officer             Regular Pay                                07/14/2018      $12,611.78

Petersen, Ray        700 Pilgrim Way                    Green Bay WI             54307        Chief Information Officer             Regular Pay                                07/28/2018      $12,611.78

Petersen, Ray        700 Pilgrim Way                    Green Bay WI             54307        Chief Information Officer             Regular Pay                                08/11/2018      $12,611.78

Petersen, Ray        700 Pilgrim Way                    Green Bay WI             54307        Chief Information Officer             Regular Pay                                08/25/2018      $12,611.78

Petersen, Ray        700 Pilgrim Way                    Green Bay WI             54307        Chief Information Officer             Regular Pay                                09/08/2018      $12,611.78

Petersen, Ray        700 Pilgrim Way                    Green Bay WI             54307        Chief Information Officer             Regular Pay                                09/22/2018      $12,611.78

Petersen, Ray        700 Pilgrim Way                    Green Bay WI             54307-9060 Chief Information Officer               Expense Reimbursement                        10/4/2018        $663.60

Petersen, Ray        700 Pilgrim Way                    Green Bay WI             54307        Chief Information Officer             Regular Pay                                10/06/2018      $12,611.78

Petersen, Ray        700 Pilgrim Way                    Green Bay WI             54307-9060 Chief Information Officer               Expense Reimbursement                      10/18/2018         $271.33

Petersen, Ray        700 Pilgrim Way                    Green Bay WI             54307        Chief Information Officer             Regular Pay                                10/20/2018      $12,611.78

Petersen, Ray        700 Pilgrim Way                    Green Bay WI             54307        Chief Information Officer             Regular Pay / Retention                    11/03/2018     $100,111.78
                                                                                                                                    Regular Pay/ Retro / Vacation
Petersen, Ray        700 Pilgrim Way                    Green Bay WI             54307        Chief Information Officer             Pay                                        11/17/2018      $14,311.30

Petersen, Ray        700 Pilgrim Way                    Green Bay WI             54307        Chief Information Officer             Regular Pay                                12/01/2018      $13,461.54

Petersen, Ray        700 Pilgrim Way                    Green Bay WI             54307        Chief Information Officer             Regular Pay                                12/15/2018      $13,461.54

Petersen, Ray        700 Pilgrim Way                    Green Bay WI             54307        Chief Information Officer             Retention                                  12/15/2018     $250,000.00



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                                                                                                                                        Reasons for payment or
       Insider Name                Address                   City        State         Zip             Relationship to Debtor                  transfer                Dates of Payments      Amount Paid

Petersen, Ray         700 Pilgrim Way                    Green Bay WI             54307        Chief Information Officer             Regular Pay                                12/29/2018      $13,461.54

Petersen, Ray         700 Pilgrim Way                    Green Bay WI             54307        Chief Information Officer             Regular Pay                                01/05/2019      $13,461.54

Singla, Terry         700 Pilgrim Way                    Green Bay WI             54307        SVP Strategic Analysis                Regular Pay                                01/13/2018      $13,461.54

Singla, Terry         700 Pilgrim Way                    Green Bay WI             54307        SVP Strategic Analysis                Regular Pay                                01/27/2018      $13,461.54

Singla, Terry         700 Pilgrim Way                    Green Bay WI             54307        SVP Strategic Analysis                Regular Pay                                02/10/2018      $13,461.54

Singla, Terry         700 Pilgrim Way                    Green Bay WI             54307        SVP Strategic Analysis                Regular Pay                                02/24/2018      $13,461.54

Singla, Terry         700 Pilgrim Way                    Green Bay WI             54307        SVP Strategic Analysis                Regular Pay                                03/10/2018      $13,461.54

Singla, Terry         700 Pilgrim Way                    Green Bay WI             54307        SVP Strategic Analysis                Regular Pay                                03/24/2018      $13,461.54

Singla, Terry         700 Pilgrim Way                    Green Bay WI             54307        SVP Strategic Analysis                Regular Pay / EIP                          04/07/2018     $164,950.87

Singla, Terry         700 Pilgrim Way                    Green Bay WI             54307        SVP Strategic Analysis                Regular Pay                                04/21/2018      $13,461.54

Singla, Terry         700 Pilgrim Way                    Green Bay WI             54307        SVP Strategic Analysis                Regular Pay                                05/05/2018      $13,461.54

Singla, Terry         700 Pilgrim Way                    Green Bay WI             54307      SVP Strategic Analysis                  Regular Pay                                05/19/2018      $13,461.54
                                                                                             Senior Vice President, Strategic
Singla, Terry         700 Pilgrim Way                    Green Bay WI             54307-9060 Analysis                                Expense Reimbursement                        5/24/2018        $123.36

Singla, Terry         700 Pilgrim Way                    Green Bay WI             54307        SVP Strategic Analysis                Regular Pay                                06/02/2018      $13,461.54

Singla, Terry         700 Pilgrim Way                    Green Bay WI             54307        SVP Strategic Analysis                Regular Pay                                06/16/2018      $13,461.54

Singla, Terry         700 Pilgrim Way                    Green Bay WI             54307        SVP Strategic Analysis                Regular Pay                                06/30/2018      $13,461.54

Singla, Terry         700 Pilgrim Way                    Green Bay WI             54307        SVP Strategic Analysis                Regular Pay                                07/14/2018      $13,461.54

Singla, Terry         700 Pilgrim Way                    Green Bay WI             54307        SVP Strategic Analysis                Regular Pay                                07/28/2018      $13,461.54

Singla, Terry         700 Pilgrim Way                    Green Bay WI             54307        SVP Strategic Analysis                Regular Pay / Vacation Pay                 08/11/2018      $14,875.00

Singla, Terry         700 Pilgrim Way                    Green Bay WI             54307        SVP Strategic Analysis                Moving                                     12/01/2018      $18,471.07

Steinhorst, Russell   700 Pilgrim Way                    Green Bay WI             54307        Chief Executive Officer               Regular Pay                                01/13/2018      $24,423.08

Steinhorst, Russell   700 Pilgrim Way                    Green Bay WI             54307        Chief Executive Officer               Regular Pay                                01/27/2018      $24,423.08

Steinhorst, Russell   700 Pilgrim Way                    Green Bay WI             54307-9060 Chief Executive Officer                 Expense Reimbursement                         2/9/2018        $808.65



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                                                                                                                                        Reasons for payment or
       Insider Name                Address                   City        State         Zip             Relationship to Debtor                  transfer                Dates of Payments      Amount Paid

Steinhorst, Russell   700 Pilgrim Way                    Green Bay WI             54307        Chief Executive Officer               Regular Pay                                02/10/2018      $24,423.08

Steinhorst, Russell   700 Pilgrim Way                    Green Bay WI             54307        Chief Executive Officer               Regular Pay                                02/24/2018      $24,423.08

Steinhorst, Russell   700 Pilgrim Way                    Green Bay WI             54307-9060 Chief Executive Officer                 Expense Reimbursement                         3/2/2018         $97.56

Steinhorst, Russell   700 Pilgrim Way                    Green Bay WI             54307        Chief Executive Officer               Regular Pay                                03/10/2018      $24,423.08

Steinhorst, Russell   700 Pilgrim Way                    Green Bay WI             54307-9060 Chief Executive Officer                 Expense Reimbursement                        3/16/2018        $109.55

Steinhorst, Russell   700 Pilgrim Way                    Green Bay WI             54307        Chief Executive Officer               Regular Pay                                03/24/2018      $24,423.08

Steinhorst, Russell   700 Pilgrim Way                    Green Bay WI             54307-9060 Chief Executive Officer                 Expense Reimbursement                        3/30/2018        $224.95

Steinhorst, Russell   700 Pilgrim Way                    Green Bay WI             54307        Chief Executive Officer               Regular Pay / EIP                          04/07/2018     $405,910.82

Steinhorst, Russell   700 Pilgrim Way                    Green Bay WI             54307        Chief Executive Officer               Regular Pay                                04/21/2018      $24,423.08

Steinhorst, Russell   700 Pilgrim Way                    Green Bay WI             54307        Chief Executive Officer               Regular Pay                                05/05/2018      $24,423.08

Steinhorst, Russell   700 Pilgrim Way                    Green Bay WI             54307-9060 Chief Executive Officer                 Expense Reimbursement                        5/11/2018        $581.54

Steinhorst, Russell   700 Pilgrim Way                    Green Bay WI             54307        Chief Executive Officer               Regular Pay                                05/19/2018      $24,423.08

Steinhorst, Russell   700 Pilgrim Way                    Green Bay WI             54307-9060 Chief Executive Officer                 Expense Reimbursement                        5/25/2018       $1,630.87

Steinhorst, Russell   700 Pilgrim Way                    Green Bay WI             54307        Chief Executive Officer               Regular Pay                                06/02/2018      $24,423.08

Steinhorst, Russell   700 Pilgrim Way                    Green Bay WI             54307        Chief Executive Officer               Regular Pay                                06/16/2018      $24,423.08

Steinhorst, Russell   700 Pilgrim Way                    Green Bay WI             54307        Chief Executive Officer               Regular Pay                                06/30/2018      $24,423.08

Steinhorst, Russell   700 Pilgrim Way                    Green Bay WI             54307-9060 Chief Executive Officer                 Expense Reimbursement                         7/6/2018        $197.84

Steinhorst, Russell   700 Pilgrim Way                    Green Bay WI             54307        Chief Executive Officer               Regular Pay                                07/14/2018      $24,423.08

Steinhorst, Russell   700 Pilgrim Way                    Green Bay WI             54307-9060 Chief Executive Officer                 Expense Reimbursement                        7/20/2018         $97.15

Steinhorst, Russell   700 Pilgrim Way                    Green Bay WI             54307        Chief Executive Officer               Regular Pay                                07/28/2018      $24,423.08

Steinhorst, Russell   700 Pilgrim Way                    Green Bay WI             54307        Chief Executive Officer               Regular Pay                                08/11/2018      $24,423.08

Steinhorst, Russell   700 Pilgrim Way                    Green Bay WI             54307        Chief Executive Officer               Regular Pay                                08/25/2018      $24,423.08

Steinhorst, Russell   700 Pilgrim Way                    Green Bay WI             54307        Chief Executive Officer               Regular Pay                                09/08/2018      $24,423.08



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                                                                                                                                          Reasons for payment or
       Insider Name                  Address                   City        State         Zip             Relationship to Debtor                  transfer                Dates of Payments      Amount Paid

Steinhorst, Russell     700 Pilgrim Way                    Green Bay WI             54307        Chief Executive Officer               Regular Pay                                09/22/2018      $24,423.08

Steinhorst, Russell     700 Pilgrim Way                    Green Bay WI             54307-9060 Chief Executive Officer                 Expense Reimbursement                        10/5/2018        $661.28

Steinhorst, Russell     700 Pilgrim Way                    Green Bay WI             54307        Chief Executive Officer               Regular Pay                                10/06/2018      $24,423.08

Steinhorst, Russell     700 Pilgrim Way                    Green Bay WI             54307        Chief Executive Officer               Regular Pay                                10/20/2018      $24,423.08

Steinhorst, Russell     700 Pilgrim Way                    Green Bay WI             54307-9060 Chief Executive Officer                 Expense Reimbursement                      10/26/2018         $267.68

Steinhorst, Russell     700 Pilgrim Way                    Green Bay WI             54307        Chief Executive Officer               Regular Pay / Retention                    11/03/2018     $305,673.08

Steinhorst, Russell     700 Pilgrim Way                    Green Bay WI             54307        Chief Executive Officer               Regular Pay                                11/17/2018      $28,846.16

Steinhorst, Russell     700 Pilgrim Way                    Green Bay WI             54307-9060 Chief Executive Officer                 Expense Reimbursement                      11/30/2018        $1,339.01

Steinhorst, Russell     700 Pilgrim Way                    Green Bay WI             54307        Chief Executive Officer               Regular Pay                                12/01/2018      $28,846.16

Steinhorst, Russell     700 Pilgrim Way                    Green Bay WI             54307-9060 Chief Executive Officer                 Expense Reimbursement                        12/8/2018        $412.52

Steinhorst, Russell     700 Pilgrim Way                    Green Bay WI             54307-9060 Chief Executive Officer                 Expense Reimbursement                      12/14/2018        $1,350.04

Steinhorst, Russell     700 Pilgrim Way                    Green Bay WI             54307        Chief Executive Officer               Regular Pay                                12/15/2018      $28,846.16

Steinhorst, Russell     700 Pilgrim Way                    Green Bay WI             54307        Chief Executive Officer               Retention                                  12/15/2018     $750,000.00

Steinhorst, Russell     700 Pilgrim Way                    Green Bay WI             54307        Chief Executive Officer               Regular Pay                                12/29/2018      $28,846.16

Steinhorst, Russell     700 Pilgrim Way                    Green Bay WI             54307        Chief Executive Officer               Regular Pay                                01/05/2019      $28,846.16

Vandenhouten, Peter     700 Pilgrim Way                    Green Bay WI             54307        SVP HR/General Counsel                Regular Pay                                01/19/2018      $16,346.16

Vandenhouten, Peter     700 Pilgrim Way                    Green Bay WI             54307        SVP HR/General Counsel                Regular Pay                                02/02/2018      $16,346.16

Vandenhouten, Peter     700 Pilgrim Way                    Green Bay WI             54307        SVP HR/General Counsel                Regular Pay / Vacation Pay                 02/16/2018      $21,250.01

                                                                                               Senior Vice President, HR/General
Vandenhouten, Peter G   700 Pilgrim Way                    Green Bay WI             54307-9060 Counsel and Corporate Secretary         Consulting Service                           2/15/2018     $16,666.63

                                                                                               Senior Vice President, HR/General
Vandenhouten, Peter G   700 Pilgrim Way                    Green Bay WI             54307-9060 Counsel and Corporate Secretary         Consulting Service                           3/15/2018     $16,666.67

                                                                                               Senior Vice President, HR/General
Vandenhouten, Peter G   700 Pilgrim Way                    Green Bay WI             54307-9060 Counsel and Corporate Secretary         Consulting Service                           4/14/2018     $16,666.67




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                                SOFA Part 2, Question 4 - Payments or transfers made within 1 year preceding commencement of this case to creditors who are or were insiders



                                                                                                                                          Reasons for payment or
      Insider Name                   Address                   City        State         Zip             Relationship to Debtor                  transfer                Dates of Payments      Amount Paid

                                                                                               Senior Vice President, HR/General
Vandenhouten, Peter G   700 Pilgrim Way                    Green Bay WI             54307-9060 Counsel and Corporate Secretary         Consulting Service                           5/15/2018     $16,666.67

                                                                                               Senior Vice President, HR/General
Vandenhouten, Peter G   700 Pilgrim Way                    Green Bay WI             54307-9060 Counsel and Corporate Secretary         Consulting Service                           6/15/2018     $16,666.67

                                                                                               Senior Vice President, HR/General
Vandenhouten, Peter G   700 Pilgrim Way                    Green Bay WI             54307-9060 Counsel and Corporate Secretary         Consulting Service                           7/14/2018     $16,666.67

                                                                                               Senior Vice President, HR/General
Vandenhouten, Peter G   700 Pilgrim Way                    Green Bay WI             54307-9060 Counsel and Corporate Secretary         Consulting Service                           8/15/2018     $16,666.67

                                                                                               Senior Vice President, HR/General
Vandenhouten, Peter G   700 Pilgrim Way                    Green Bay WI             54307-9060 Counsel and Corporate Secretary         Consulting Service                           9/15/2018     $16,666.67

                                                                                               Senior Vice President, HR/General
Vandenhouten, Peter G   700 Pilgrim Way                    Green Bay WI             54307-9060 Counsel and Corporate Secretary         Consulting Service                         10/13/2018      $16,666.67

                                                                                               Senior Vice President, HR/General
Vandenhouten, Peter G   700 Pilgrim Way                    Green Bay WI             54307-9060 Counsel and Corporate Secretary         Consulting Service                         11/15/2018      $16,666.67

                                                                                               Senior Vice President, HR/General
Vandenhouten, Peter G   700 Pilgrim Way                    Green Bay WI             54307-9060 Counsel and Corporate Secretary         Consulting Service                         12/19/2018       $16,666.67
                                                                                                                                                                                      TOTAL:    $8,367,394.15




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              Case Title and Case Number                              Nature of Case                         Court or Agency and Location                             Status of Case
8226360                                                  Tax Audit                             Minnesota Department of Revenue                               Concluded
25002596                                                 Tax Audit                             Wyoming Department of Revenue                                 Pending
12036061096                                              Tax Audit                             Texas Comptroller of Public Accounts                          Concluded
602 547 632                                              Tax Audit                             Washington Department of Revenue                              On Appeal
90-006-203606109 E ST 001                                Tax Audit                             South Dakota Department of Revenue                            Concluded
All Phase Electric, LLC v. Del Co Energy Solutions of
Wisconsin, Inc.; Spirit Management Company II, Spirit
SPE Portfolio 2006-1, LLC, Shopko Stores Operating Co,                                         Montana First Judicial District Court, Lewis & Clark County -
LLC, and Doe Entities 1-5                                Litigation (unjust enrichment)        Helena, MT                                                    Concluded

Ashlie N. Chrowl, et al. / 17CV48536                     Professional Liability / Pharmacy     Circuit Court of Oregon, County of Multnomah                  Settled - $350,000.00
Betty Lou Ashley - 2018-CV-000024                        Health Services/GL                    District Court of Pawnee County Kansas - Larned, KS           Pending

                                                         Professional Liability / Pharmacy - Twenty-Fourth Judicial District Court, Pawnee County,           Pending - Summons/Complaint
Betty Lou Ashley / 2018-CV-000024                        Medication Error                    Kansas                                                          prayer +$75,000
Betty Willenbrang - ERD: CR201800520; EEOC:                                                  Department for Workforce Development, Equal Rights
26G201800575C                                            EEOC Claims/Admin./Demands          Division - Milwaukee, WI                                        Pending
Blanca Barrientos / CI 16-12410                          General Liability                   County Court of Lancaster County, Nebraska                      Settled - $2,750.00

Brenda Bronson - 2:18-cv-00123-CW                        Litigation                            US District Court for the District of Utah - Salt Lake City, UT Pending
                                                                                               U.S. District Court; For the District of Montana, Great Falls
Danny Carr; CV-17-100-GF-BMM-JTJ                         Employment litigation                 Division                                                        Concluded
                                                                                                                                                               Settled $12,500 - Release in hand -
Donald Leon Swanson / 188596                             General Liability                     Superior Court, Shasta County, California                       NOT PAID
                                                                                               District Court, Second Judicial District, Nez Perce County, Settled $5,000 - NOT PAID - CASE
Donna Collins / CV-2017-796                              General Liability                     Idaho                                                           DISMISSED 4/5/2018
Donna R. Nelson (Estate of) / CI 15 - 37                 General Liability                     County Court of Custer County, Nebraska                         Settled - $9,000.00
Ely Property, LLC v. City of Ely and Shopko Stores                                             State of Minnesota District Court, Sixth Judicial District,
Operating Co., LLC; Court File No. 69VI-CV-17-387        Property damage litigation/GL         County of St. Louis - Duluth, MN                                Concluded
Erika A. Flores, et al. / 17 CV 244                      General Liability                     State of Wisconsin, Circuit Court, Brown County                 Settled - $70,000.00
                                                                                               U.S. Equal Employment Opportunity Commission - Atlanta,
Foluke Opeifa; 563-2018-01914                            EEOC                                  GA                                                              Concluded
Gary Klahn; NEB 1-17/18-8-48889-RS; EEOC No: 32E-
2017-00775
                                                         EEOC                                  Nebraska Equal Opportunity Commission - Lincoln, NE           Concluded
                                                                                               Department for Workforce Development, Equal Rights
Henry Marquardt; ERD Case No: CR201801155                EEOC                                  Division - Madison, WI                                        Concluded
                                                                                               Department for Workforce Development, Equal Rights
Jacquelyn Meyer - ERD: CR201802195                       EEOC Claims/Admin./Demands            Division - Madison, WI                                        Pending


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                Case Title and Case Number                        Nature of Case                           Court or Agency and Location                                Status of Case
James Ruehl - ERD: CR201600418; EEOC:                                                       Department for Workforce Development, Equal Rights
26G201600480C                                           EEOC Claims/Admin./Demands          Division - Madison, WI                                           Pending
Jason Spatz; 18-01107                                   EEOC                                State of Utah, Labor Commission - Salt Lake City, UT             Concluded
Jean Albert / SCSC007229                                General Liability                   Iowa District Court for Chickasaw County                         Settled - $3,085.00
Jennifer Crowe; 7-3620-17-060                           EEOC                                U.S. Department of Labor - OSHA - Kansas City, MO                Concluded
Jessica Vertz; ERD Case No. CR201701107; EEOC No:
26G201701056C                                                                               Department for Workforce Development, Equal Rights
                                                        EEOC                                Division - Madison, WI                                           Concluded

                                                                                                                                                             Pending - MSJ successful /
                                                                                                                                                             Plaintiff appealed - defense taken
Jill Matthews / LACV020044                              General Liability                   Iowa District Court, Shelby County                               up by Ferrandino's subcontractor
                                                                                                                                                             Settled - $30,000.00 Shopko $14k,
Jill Ward, et al. / 17 CV 335                           General Liability                   State of Wisconsin, Circuit Court, Brown County                  Farmers $14k, KBS $2k
Judy Fintz, et al. / 18 CV 71                           General Liability                   State of Wisconsin, Circuit Court, LaCrosse County               Settled - $20,000.00
Kassandra Soward - ERD: CR201801996; EEOC:                                                  Department for Workforce Development, Equal Rights
26G201801100C                                           EEOC Claims/Admin./Demands          Division - Milwaukee, WI                                         Pending
Lauri L. Palet, et al. / 17 CV 1414                     General Liability                   State of Wisconsin, Circuit Court, Brown County                  Pending

Marisa Kaldenberg, Donald Kaldenberg / 17 CV 540        General Liability                   State of Wisconsin, Circuit Court, Kenosha County                Settled - $32,500.00
Mark Gallegos; FEPA No: AD-0717-008; EEOC No: 38C-
2017-000483                                                                                 Idaho Human Rights Commission - Idaho Department of
                                                        EEOC                                Labor - Boise, ID                                                Concluded

                                                                                                                                                             Pending - Summons/Complaint
                                                                                                                                                             prayer <=$75,000 ($20,000
Marnie Rae Harris / LACV034868                          General Liability                   Iowa District Court for Madison County                           demand pre-litigation)
                                                                                                                                                             Pending - $5,000 Offer of
                                                                                            Thirteenth Judicial District Court, Yellowstone County,          Judgment filed 12/6/18 - no
Mary A. Connors / DV 12-1544                            General Liability                   Montana                                                          response

                                                                                            District Court of the First Judicial District, State of Idaho,   Successful Motion for Summary
Mary Petty / CV-17-2660                                 General Liability                   County of Kootenai                                               Judgment - No Appeal
McKesson Corporation - 19 CV 33                         Litigation (Reclamation)            Brown County Courthouse - Green Bay, WI                          Pending
Nicholas Sukow, et al. / 18 CV 000003                   General Liability                   State of Wisconsin, Circuit Court, Lincoln County                Settled - $26,000.00

                                                                                                                                                             Settled - $35,000.00 Shopko
Patricia Anderson / 18CV04589                           General Liability                   Circuit Court of Oregon, Deschutes County                        $0.00 Country Companies $35k



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              Case Title and Case Number                                Nature of Case                        Court or Agency and Location                             Status of Case

Patti Ruiz; EEOC charge #32D-2018-00314 ; #0180314         EEOC                                Montana Human Rights Bureau - Basin, MT                       Concluded

                                                                                               District Court, 109th Judicial District, Andrews County,      Successful Motion for Summary
Paula Reisinger / 20,573                                   General Liability                   Texas                                                         Judgment - No Appeal

                                                                                               Circuit Court of the 17th Judicial District, Boone County,    Pending - Summons/Complaint
Peggy Kramer / 2018-L-000046                               General Liability                   Illinois                                                      prayer $50,000
                                                                                               US District Court for the Eastern District of Wisconsin -
Randall Check - 17-CV-1755                                 Litigation                          Green Bay, WI                                                 Pending

Randy Hansen; SC 18-3                                      Litigation (pharmacy)               Phelps County District Court, Small Claims - Holdrege, NE     Concluded
                                                                                               Montana Thirteenth Judicial District Court, Yellowstone
Robert Wing / DV-17-1222                                   General Liability                   County                                                        Settled - $15,000.00

Shawtavia Bryant; 67422 MDHR                               EEOC                                Minnesota Department of Human Rights - Saint Paul, MN         Concluded
Susan Belden; EEOC No: 32F-2018-00003; FEPA No:
NDE1803055                                                                                     North Dakota Dept. of Labor and Human Rights - Bismarck,
                                                           EEOC                                ND                                                       Concluded
Susan E. Imbach / 16 CV 817                                General Liability                   State of Wisconsin, Circuit Court, Marathon County       Settled - $50,000.00
                                                                                               US Equal Employment Opportunity Commission - Seattle,
Tabitha Hurford - EEOC: 32D-2018-00099                     EEOC Claims/Admin./Demands          WA                                                       Pending
Tamela L. Gabrielson, and Mark C. Leise, as Co-Personal
Representatives of the Estate of Carol R. Leise / CI 17-   Professional Liability / Pharmacy -                                                               Pending - Questionable liability -
4309                                                       Wrongful Death                      District Court of Douglas County, Nebraska                    was preparing to file a MSJ
Tanya Munkel, Matthew Munkel / LACV017210                  Employee Liability                  Iowa District Court for Howard County                         Pending
                                                                                               US District Court, Southern District of New York - New
The Fashion Exchange, LLC - 1:14-cv-01254-SHS              Trademark/Patent Litigation         York, NY                                                      Pending
Tim Ingram; UALD No: B7-0608; EEOC No. 35C-2017-
00608                                                                                          State of Utah Anti-Discrimination and Labor Division - Salt
                                                           EEOC                                Lake City, UT                                                 Concluded
Tim McGregor - DV-14-161                                   Litigation                          Montana Seventh Judicial Court - Sidney, MT                   Concluded
Timothy Harmon / 17 CV 398                                 General Liability                   State of Wisconsin, Circuit Court, Brown County               Settled - $53,500.00
                                                                                               District Court-Western District of Kentucky, Bowling Green    Settled - Shopko$240,000.00
Wanda Day / 1:16-CV-00050-GNS                              General Liability                   Division                                                      Aramark $15,000.00

                                                                                                                                                             Pending - MSJ successful - Plaintiff
Wanda Warden / 18-968-NO                                   General Liability                   Circuit Court for Jackson County, Michigan                    counsel filed recent Appeal
William French - N13C06289FSS                              Litigation                          New Castle County Superior Court - Wilmington, DE             Concluded


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             Case Title and Case Number                          Nature of Case                           Court or Agency and Location                           Status of Case
                                                                                           Department for Workforce Development, Equal Rights
William Tadisch - ERD: CR201800407                     EEOC Claims/Admin./Demands          Division - Madison, WI                                      Concluded




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            SOFA Part 5, Question 10 - Losses from fire, theft or other casualty within 1 year preceding the commencement of this case

                                                                       Amount of payments
    Description of the property and Circumstatnces of the Loss         received for the loss          Date of Loss     Value of Property Lost
Snowplow Co. hit water spikgot causing damage                                        $1,184.00               1/14/2018              $1,184.00
Snowplow Co hit building causing damage                                              $3,207.60               1/16/2018              $3,207.60
Snowplow Co hit cart corral and sprinkler wheel                                      $1,869.08               1/15/2018              $1,869.08

Transport Solutions hit ramp ladder backing causing damage                           $1,026.50               1/18/2018                    $1,026.50
Snowplow vendor hit and knocked over stop sign                                           $0.00                2/4/2018                        $0.00
Werner driver hit building causing gas line leaks                                    $5,413.29                2/8/2018                    $5,413.29
Snowplow company hit cart corral causing damage. They want to
repair themselves                                                                        $0.00                2/9/2018                        $0.00
Transport Solutions struck building causing damage                                   $3,352.72               2/13/2018                    $3,352.72
Werner driver hit receiving doors causing damage                                      $213.00                2/25/2018                     $213.00
Pavement damage removing vehicle                                                         $0.00               2/15/2018                        $0.00
Fed Ex driver hit stop sign causing damage                                           $1,075.00               2/20/2018                    $1,075.00
Truck hit cart corral causing damage                                                     $0.00               2/22/2018                        $0.00
Werner damaged rec. door frame and bumper                                             $259.33                 3/1/2018                     $259.33
Werner damaged railing and concrete step                                             $1,543.49               3/21/2018                    $1,543.49
Natural Beauty hired driver damaged receiving door                                   $6,846.06               3/22/2018                    $6,846.06
Customer drove through side of building                                             $23,134.08               3/26/2018                   $23,134.08
Werner damaged receiving door                                                        $8,419.28               3/29/2018                    $8,419.28
Snowplow driver causht pallet of pots causing damage                                 $1,522.29               4/15/2018                    $1,522.29
Snowplow company struck glass pane with snow sweeper causing
damage                                                                               $1,189.40               4/16/2018                    $1,189.40
Little Debbie driver struck doors                                                    $1,667.74               4/18/2018                    $1,667.74
Ferrindino sub damaged lawn and retaining wall                                           $0.00               4/19/2018                        $0.00
Handi cap post and sign damaged                                                       $192.00                4/20/2018                     $192.00
Customer drove through L&G drove over hose and ripped out
piping                                                                                   $0.00                5/3/2018                        $0.00
Vehicle struck light pole                                                           $11,904.09               4/25/2018                   $11,904.09
Vehicle struck concrete bollard by receeiving                                        $2,874.45                5/4/2018                    $2,874.45
JB Hunt truck struck bollard, building and door hinge                                 $500.00                 Unknown                      $500.00
Customer drove over stop sign causing damage                                         $2,488.00                6/5/2018                    $2,488.00


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            SOFA Part 5, Question 10 - Losses from fire, theft or other casualty within 1 year preceding the commencement of this case

                                                                         Amount of payments
    Description of the property and Circumstatnces of the Loss           received for the loss        Date of Loss        Value of Property Lost

Tractor/trailer hit and knocked over a light pole in the parking lot                   $5,104.41             6/18/2018                    $5,104.41

Customer hit hanicap sign post and knocked to a 90 degree angle                        $2,326.67             6/27/2018                    $2,326.67
Transport Solutions driver hit dock plate which caused the dock
door lock to buckle up                                                                   $492.20              7/2/2018                     $492.20

Teammate hit gas instead of brake and ran vehicle into building                       $3,254.34               7/9/2018                    $3,254.34
DC trailer accident                                                                       $0.00               7/9/2018                        $0.00
Handi cap post and sign damaged                                                           $0.00              7/16/2018                        $0.00
UPS driver hit bollard backing into dock                                              $1,998.50              6/29/2018                    $1,998.50
Grandma left 13 yr. old drive and she ran into building                              $28,883.98              7/24/2018                   $28,889.72
Bus hit light pole causing damage                                                     $7,143.00              7/24/2018                    $7,143.00

Broken down tractor/trailer sunk in blacktop making large holes                            $0.00             8/15/2018                     $500.00
Werner struck down spout and plant rack                                                 $771.90              8/21/2018                     $771.90
Werner backed into man door by receiving causing damage.                               $5,841.78             8/23/2018                    $5,841.78
Cursomer stepped on gas instead of brake. Jumped curb and ran
into store.                                                                            $8,375.05             10/5/2018                    $8,375.05
Lady ran into building then drove away. Police were called and
went to the home.                                                                          $0.00             10/9/2018                        $0.00

NUTS truck driver hit and knocked over light pole in our parking lot.                  $5,470.00            10/10/2018                    $5,470.00
Bus hit light pole in lot causing damage                                                $813.00             10/15/2018                     $813.00
Customer struck light pole causing damage                                              $2,621.30            10/20/2018                    $2,621.30
Customer struck stop sign. Left and returned with different vehicle
and then told us about it                                                                  $0.00             11/3/2018                     $956.56
Coke driver struck dock plate damaged lock                                              $209.75             11/16/2018                     $209.75
Werner hit dock lift railing causing damage                                            $1,661.00            11/26/2018                    $1,661.00
Werner hit dock lift railing causing damage                                            $1,759.00             12/3/2018                    $1,759.00



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            SOFA Part 5, Question 10 - Losses from fire, theft or other casualty within 1 year preceding the commencement of this case

                                                                       Amount of payments
     Description of the property and Circumstatnces of the Loss        received for the loss          Date of Loss        Value of Property Lost
Litght pole was knocked over. We believe it was from the
snowplow driver                                                                          $0.00              11/26/2018                     $0.00
Customer drove into handicap sign. Would not provide insurance
information                                                                           $309.25              12/14/2018                    $309.25
Customer hit hanicap sign post and knocked it loose                                   $250.00              12/12/2018                    $250.00
Unrecovered merchandise reported on theft cases                                         $0.00     1/16/2018-1/15/2019                $168,332.77
Total merchandise reported on theft cases                                         $281,286.50     1/16/2018-1/15/2019                $366,528.06
                                                            TOTAL:                $438,453.03                 TOTAL:                 $693,489.65




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                                  SOFA Part 6, Question 11 - Payments or transfers related to debtor counseling or bankruptcy made within 1 year preceding commencement of this case

                                                                                                                                                                                Date of Payment     Total amount or
                  Name of Payee                          Address1            Address2         Address3                City    State        Zip       Email or Website Address     or Transfer             value
Alix Partners LLC                               909 Third Avenue                                                  New York     NY           10022   www.alixpartners.com               1/26/2018             $9,001.92
Alix Partners LLC                               909 Third Avenue                                                  New York     NY           10022   www.alixpartners.com               3/20/2018        $1,210,212.48
Alix Partners LLC                               909 Third Avenue                                                  New York     NY           10022   www.alixpartners.com               4/17/2018          $421,176.00
Alix Partners LLC                               909 Third Avenue                                                  New York     NY           10022   www.alixpartners.com               5/29/2018          $731,344.00
Alix Partners LLC                               909 Third Avenue                                                  New York     NY           10022   www.alixpartners.com               6/20/2018          $641,792.00
Alix Partners LLC                               909 Third Avenue                                                  New York     NY           10022   www.alixpartners.com               6/21/2018          $641,612.00
Alix Partners LLC                               909 Third Avenue                                                  New York     NY           10022   www.alixpartners.com                 7/2/2018         $641,792.00
Alix Partners LLC                               909 Third Avenue                                                  New York     NY           10022   www.alixpartners.com               7/17/2018          $630,717.00
Alix Partners LLC                               909 Third Avenue                                                  New York     NY           10022   www.alixpartners.com               7/25/2018          $641,792.00
Alix Partners LLC                               909 Third Avenue                                                  New York     NY           10022   www.alixpartners.com                 8/7/2018         $425,556.00
Alix Partners LLC                               909 Third Avenue                                                  New York     NY           10022   www.alixpartners.com               10/8/2018          $300,000.00
Alix Partners LLP                               909 Third Avenue                                                  New York     NY           10022   www.alixpartners.com               5/14/2018        $1,100,000.00
Berkeley Research Group LLC                     75 State St               18th Floor                              Boston       MA           02109   www.thinkbrg.com                     5/3/2018          $50,000.00
Berkeley Research Group LLC                     75 State St               18th Floor                              Boston       MA           02109   www.thinkbrg.com                   5/17/2018          $100,955.05
Berkeley Research Group LLC                     75 State St               18th Floor                              Boston       MA           02109   www.thinkbrg.com                   7/23/2018          $238,718.23
Berkeley Research Group LLC                     75 State St               18th Floor                              Boston       MA           02109   www.thinkbrg.com                     8/9/2018         $125,483.72
Berkeley Research Group LLC                     75 State St               18th Floor                              Boston       MA           02109   www.thinkbrg.com                   8/16/2018           $50,000.00
Berkeley Research Group LLC                     75 State St               18th Floor                              Boston       MA           02109   www.thinkbrg.com                   8/30/2018          $370,202.64
Berkeley Research Group LLC                     75 State St               18th Floor                              Boston       MA           02109   www.thinkbrg.com                   9/13/2018           $63,600.00
Berkeley Research Group LLC                     75 State St               18th Floor                              Boston       MA           02109   www.thinkbrg.com                   10/4/2018          $591,241.38
Berkeley Research Group LLC                     75 State St               18th Floor                              Boston       MA           02109   www.thinkbrg.com                   11/8/2018          $231,060.92
Berkeley Research Group LLP                     75 State St               18th Floor                              Boston       MA           02109   www.thinkbrg.com                  12/17/2018          $500,000.00
Berkeley Research Group LLP                     75 State St               18th Floor                              Boston       MA           02109   www.thinkbrg.com                  12/20/2018          $500,000.00
Berkeley Research Group LLC                     75 State St               18th Floor                              Boston       MA           02109   www.thinkbrg.com                     1/4/2019         $205,831.95
Berkeley Research Group LLP                     75 State St               18th Floor                              Boston       MA           02109   www.thinkbrg.com                     1/8/2019         $500,000.00
Berkeley Research Group LLP                     75 State St               18th Floor                              Boston       MA           02109   www.thinkbrg.com                     1/9/2019         $218,331.95
Berkeley Research Group LLP                     75 State St               18th Floor                              Boston       MA           02109   www.thinkbrg.com                   1/11/2019          $500,000.00
Houlihan Lokey Capital Inc                      111 South Wacker Dr                                               Chicago       IL          60606   www.hl.com                           1/8/2019         $345,033.92
Houlihan Lokey Capital Inc                      111 South Wacker Dr                                               Chicago       IL          60606   www.hl.com                         1/14/2019        $1,426,182.95
Houlihan Lokey Capital Incorporated             111 South Wacker Dr                                               Chicago       IL          60606   www.hl.com                         3/30/2018          $705,599.75
Houlihan Lokey Capital Incorporated             111 South Wacker Dr                                               Chicago       IL          60606   www.hl.com                         9/29/2018          $104,616.43
Houlihan Lokey Capital Incorporated             111 South Wacker Dr                                               Chicago       IL          60606   www.hl.com                        10/17/2018           $53,842.20
Houlihan Lokey Capital Incorporated             111 South Wacker Dr                                               Chicago       IL          60606   www.hl.com                        11/17/2018           $53,016.90
Houlihan Lokey Capital Incorporated             111 South Wacker Dr                                               Chicago       IL          60606   www.hl.com                        12/19/2018          $111,263.21
Kirkland & Ellis LLP                            300 North LaSalle                                                 Chicago       IL          60654   www.kirkland.com                   3/15/2018             $2,852.03
Kirkland & Ellis LLP                            300 North LaSalle                                                 Chicago       IL          60654   www.kirkland.com                   8/23/2018             $9,645.53
Kirkland & Ellis LLP                            300 North LaSalle                                                 Chicago       IL          60654   www.kirkland.com                   9/13/2018             $5,473.48
Kirkland & Ellis LLP                            300 North LaSalle                                                 Chicago       IL          60654   www.kirkland.com                  10/25/2018           $46,113.04
Kirkland & Ellis LLP                            300 North LaSalle                                                 Chicago       IL          60654   www.kirkland.com                  11/13/2018          $500,000.00
Kirkland & Ellis LLP                            300 North LaSalle                                                 Chicago       IL          60654   www.kirkland.com                  11/28/2018          $350,000.00
Kirkland & Ellis LLP                            300 North LaSalle                                                 Chicago       IL          60654   www.kirkland.com                  12/18/2018          $500,000.00
Kirkland & Ellis LLP                            300 North LaSalle                                                 Chicago       IL          60654   www.kirkland.com                  12/21/2018          $400,000.00
Kirkland & Ellis LLP                            300 North LaSalle                                                 Chicago       IL          60654   www.kirkland.com                     1/3/2019         $600,000.00
Kirkland & Ellis LLP                            300 North LaSalle                                                 Chicago       IL          60654   www.kirkland.com                     1/4/2019          $49,043.45
Kirkland & Ellis LLP                            300 North LaSalle                                                 Chicago       IL          60654   www.kirkland.com                     1/8/2019         $900,000.00
Kirkland & Ellis LLP                            300 North LaSalle                                                 Chicago       IL          60654   www.kirkland.com                   1/11/2019          $500,000.00
Kirkland & Ellis LLP                            300 North LaSalle                                                 Chicago       IL          60654   www.kirkland.com                   1/14/2019          $500,000.00
Law Firm of Conway, Olejniczak & Jerry S.C.     231 South Adams Street    PO Box 23200                            Green Bay    WI           54301   www.lcojlaw.com                      1/8/2019            $5,000.00
Mcgrath North Mullin Kratz                      First National Tower      Suite 3700   1601 Dodge Street          Omaha        NE           68102   www.mcgrathnorth.com               1/14/2019           $25,000.00



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                                                                                                                        LLC
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                                SOFA Part 6, Question 11 - Payments or transfers related to debtor counseling or bankruptcy made within 1 year preceding commencement of this case

                                                                                                                                                                              Date of Payment     Total amount or
                Name of Payee                         Address1             Address2         Address3               City    State         Zip       Email or Website Address     or Transfer             value
Prime Clerk LLC                               830 Third Avenue          9th Floor                               New York    NY            10022   www.primeclerk.com                   1/8/2019          $40,000.00
Willke Farr & Gallagher LLP                   787 Seventh Avenue                                                New York    NY            10019   www.willkie.com                    12/7/2018          $100,000.00
Willke Farr & Gallagher LLP                   787 Seventh Avenue                                                New York    NY            10019   www.willkie.com                   12/13/2018           $31,039.58
Willke Farr & Gallagher LLP                   787 Seventh Avenue                                                New York    NY            10019   www.willkie.com                      1/9/2019         $243,759.67
                                                                                                                                                                                         TOTAL:     $19,247,903.38




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     SOFA Part 7, Question 14 - Previous locations of debtor, all premises occupied and vacated within 3 years preceding commencement of this case


      Description of Location                  Address1                       City         State        Zip       Date Opened          Date Closed
Store #44 Omaha                   3020 South 84th Steet              Omaha              NE           68124          7/1/1984           1/31/2018
Store #46 Omaha Northwest         5646 N 90th Street                 Omaha              NE           68134         10/1/1984            2/4/2017
Store #110 Sugarhouse             2290 South 1300 East               Sugarhouse         UT           84106         10/1/1991            2/4/2017
Store #169 Meridian               3499 E Fairview Ave                Meridian           ID           83642         10/1/1999            2/4/2017
Store #180 Council Bluffs         3271 Marketplace Dr.               Council Bluffs     IA           51501          2/1/2009            2/4/2017
Store #200 Chino Valley           1950 Highway 89                    Chino Valley       AZ           86323          6/1/2016           6/30/2018
Store #202 Clifton                927 N Avenue G                     Clifton            TX           76634         10/1/2016           12/22/2018
Store #208 Seymour                711 S Main St.                     Seymour            TX           76380         10/1/2016           6/30/2018
Store #209 Tulia                  908 NW 6th St.                     Tulia              TX           79088         10/1/2016           6/30/2018
Store #212 Gordon                 301 Hwy 20                         Gordon             NE           69343         10/1/2016           12/22/2018
Store #213 Littlefield            705 W. Marshall Howard Blvd.       Littlefield        TX           79339          8/1/2016           12/22/2018
Store #214 Wautoma Rx             N2934 Highway 22                   Wautoma            WI           54982          5/1/2017           12/13/2018
Store #509 Marinette Rx           2820 Roosevelt Road                Marinette          WI           54143         11/1/2016           12/13/2018
Store #533 Tioga                  6527 Hwy 40                        Tioga              ND           58852          3/1/2015           6/30/2018
Store #577 Canadian               308 S 2nd Street                   Canadian           TX           79014         10/1/2015           12/22/2018
Store #592 Comanche               1300 E. Central Ave                Comanche           TX           76442          3/1/2016           12/22/2018
Store #593 Cotulla                1064 N. Main St                    Cotulla            TX           78014          3/1/2016           6/30/2018
Store #598 Springerville          207 South Moutain Ave              Springerville      AZ           85938          3/1/2016           12/22/2018
Store #603 Princeton              705 Northland Dr.                  Princeton          MN           55371          5/1/2011           6/30/2018
Store #612 Lake Mills Rx          203 N Main St.                     Lake Mills         WI           53551          2/1/2012            7/5/2017
Store #634 Hoopeston              Junction 1&9 PO Box 386            Hoopeston          IL           60942          8/1/2012            2/4/2017
Store #645 Whitehall              3165 Holton-Whitehall Rd #429      Whitehall          MI           49461          9/1/2012           1/13/2018
Store #660 Crete                  930 Main St.                       Crete              NE           68333          8/1/2012           6/30/2018
Store #678 Jefferson              403 W Head St.                     Jefferson          IA           50129         12/1/2012           6/30/2018
Store #691 Ogallala               100 Texas Trail Drive              Ogallala           NE           69153         12/1/2012           12/22/2018
Store #712 Palmyra                502 E. Ross St.                    Palmyra            MO           63461          7/1/2012           2/10/2018
Store #724 Marion                 314 Sturgis Rd.                    Marion             KY           42064         12/1/2012            2/4/2017
Store #754 Rawlins                2100 E Cedar St.                   Rawlins            WY           82301         11/1/2012            2/4/2017
Store #780 Bottineau              1103 E. 11Th St.                   Bottineau          ND           58318         10/1/2012            2/4/2017




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                                                                                                                     Co., LLC
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                                 SOFA Part 10, Question 18 - Financial accounts and instruments closed, sold or otherwise transferred within 1 year preceding commencement of this case



                                                                                                                  Last 4 Digits of                                   Date Account was Closed,     Last Balance Before
     Name of Institution              Address1         Address2             City               State     Zip      Account Number          Type of Account            Sold, Moved or Transferred   Closing or Transfer
Bank of Tioga              7 North Main Street                              Tioga              ND        58852                     1020   Demand Deposit Bank Acct                      6/30/2018                   $0.00
City Bank & Trust Co.      PO Box 288                                       Crete              NE        68333                     3173   Demand Deposit Bank Acct                      6/30/2018                   $0.00
Exchange Bank of NE MO     PO Box 258                                       Kahoka             MO        63445                     9173   Demand Deposit Bank Acct                      2/10/2018                   $0.00
Shelby State Bank          PO Box 205                                       Whitehall          MI        49461                     5747   Demand Deposit Bank Acct                      1/15/2018                   $0.00
US Bank                    US Bank Cash Vault                               Phoenix            AZ                                  8995   Demand Deposit Bank Acct                      6/30/2018                   $0.00
US Bank                    US Bank Cash Vault                               Dallas             TX                                  0400   Demand Deposit Bank Acct                      6/30/2018                   $0.00
US Bank                    US Bank Cash Vault          Location Unknown                                                            0103   Demand Deposit Bank Acct                      6/30/2018                   $0.00
US Bank                    428 Riverside Ave                                Spokane            WA        99201                     8124   Demand Deposit Bank Acct                      11/5/2018                   $0.00
US Bank                    111 Central Ave N                                New Prague         MN        56071                     9578   Demand Deposit Bank Acct                      11/5/2018                   $0.00
US Bank                    501 W Lincoln Ave                                Fergus Falls       MN        56537                     2721   Demand Deposit Bank Acct                      11/5/2018                   $0.00
US Bank                    220 4th St NE                                    Valley City        ND        58072                     9643   Demand Deposit Bank Acct                      11/5/2018                   $0.00
US Bank                    1038 Hill Ave                                    Grafton            ND        58237                     9619   Demand Deposit Bank Acct                      11/5/2018                   $0.00
US Bank                    314 14th St NE                                   East Grand Forks   MN        56721                     2713   Demand Deposit Bank Acct                      11/5/2018                   $0.00
US Bank                    285 Uinta Dr                                     Green River        WY        82935                     1060   Demand Deposit Bank Acct                      11/5/2018                   $0.00
US Bank                    301 Main St                                      Shelby             MT        59474                     2705   Demand Deposit Bank Acct                      11/5/2018                   $0.00
US Bank                    US Bank Cash Vault          Location Unknown                                                            4397   Demand Deposit Bank Acct                      11/5/2018                   $0.00
US Bank                    1015 W Saint Germain St                          St Cloud           MN        56301                     2527   Demand Deposit Bank Acct                       8/2/2018                   $0.00
US Bank                    103 N Park St                                    Fairmont           MN        56031                     2303   Demand Deposit Bank Acct                       8/2/2018                   $0.00
US Bank                    331 S. Broadway Ave                              Albert Lea         MN        56007                     2311   Demand Deposit Bank Acct                       8/2/2018                   $0.00
US Bank                    138 N Main St                                    Rice Lake          WI        54868                     2378   Demand Deposit Bank Acct                       8/2/2018                   $0.00
US Bank                    US Bank Cash Vault          Location Unknown                                                            0111   Demand Deposit Bank Acct                       8/2/2018                   $0.00
Wells Fargo Bank           101 N Maxweel Avenue                             Tulia              TX        79088                     5587   Demand Deposit Bank Acct                      6/30/2018                   $0.00
Wells Fargo Bank           200 W. State St                                  Jefferson          IA        50129                     2170   Demand Deposit Bank Acct                      6/30/2018                   $0.00
                                                                                                                                                                                           TOTAL:                   $0.00




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             Name of Owner                   Address1                          City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                                N/A - Inventory Value is not
AIR FILTERS NOW              9800 I 65 SERVICE ROAD NORTH           CREOLA                    AL           36525         498 - ECOM-DROP SHIP        AIR FILTERS                kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
ALGOMA NET COMPANY           1525 MUELLER STREET                    ALGOMA                    WI           54201         113 - LACEY                 SWINGS AND BENCHES         kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
ALGOMA NET COMPANY           1525 MUELLER STREET                    ALGOMA                    WI           54201         170 - RHINELANDER           SWINGS AND BENCHES         kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
ALGOMA NET COMPANY           1525 MUELLER STREET                    ALGOMA                    WI           54201         498 - ECOM-DROP SHIP        SWINGS AND BENCHES         kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
ALL THE RAGES INCORPORATED   355 EISENHOWER PARKWAY STE 101         LIVINGSTON                NJ           07039         2 - ASHWAUBENON             FLOOR LAMPS                kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
ALL THE RAGES INCORPORATED   355 EISENHOWER PARKWAY STE 101         LIVINGSTON                NJ           07039         96 - REDDING                FLOOR LAMPS                kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
ALL THE RAGES INCORPORATED   355 EISENHOWER PARKWAY STE 101         LIVINGSTON                NJ           07039         498 - ECOM-DROP SHIP        FLOOR LAMPS                kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
ALL THE RAGES INCORPORATED   355 EISENHOWER PARKWAY STE 101         LIVINGSTON                NJ           07039         602 - OCONTO                FLOOR LAMPS                kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
ALL THE RAGES INCORPORATED   355 EISENHOWER PARKWAY STE 101         LIVINGSTON                NJ           07039         793 - MAYVILLE              FLOOR LAMPS                kept on the books
                                                                                                                                                     CARDS, WRAPPING,           N/A - Inventory Value is not
AMERICAN GREETINGS           ONE AMERICAN ROAD                      CLEVELAND                 OH           44144-2398 1 - GREEN BAY WEST             STATIONARY                 kept on the books
                                                                                                                                                     CARDS, WRAPPING,           N/A - Inventory Value is not
AMERICAN GREETINGS           ONE AMERICAN ROAD                      CLEVELAND                 OH           44144-2398 2 - ASHWAUBENON                STATIONARY                 kept on the books
                                                                                                                                                     CARDS, WRAPPING,           N/A - Inventory Value is not
AMERICAN GREETINGS           ONE AMERICAN ROAD                      CLEVELAND                 OH           44144-2398 3 - MANITOWOC                  STATIONARY                 kept on the books
                                                                                                                                                     CARDS, WRAPPING,           N/A - Inventory Value is not
AMERICAN GREETINGS           ONE AMERICAN ROAD                      CLEVELAND                 OH           44144-2398 4 - GREEN BAY EAST             STATIONARY                 kept on the books
                                                                                                                                                     CARDS, WRAPPING,           N/A - Inventory Value is not
AMERICAN GREETINGS           ONE AMERICAN ROAD                      CLEVELAND                 OH           44144-2398 5 - DE PERE                    STATIONARY                 kept on the books
                                                                                                                                                     CARDS, WRAPPING,           N/A - Inventory Value is not
AMERICAN GREETINGS           ONE AMERICAN ROAD                      CLEVELAND                 OH           44144-2398 7 - LA CROSSE SOUTH            STATIONARY                 kept on the books
                                                                                                                                                     CARDS, WRAPPING,           N/A - Inventory Value is not
AMERICAN GREETINGS           ONE AMERICAN ROAD                      CLEVELAND                 OH           44144-2398 8 - ROTHSCHILD                 STATIONARY                 kept on the books
                                                                                                                                                     CARDS, WRAPPING,           N/A - Inventory Value is not
AMERICAN GREETINGS           ONE AMERICAN ROAD                      CLEVELAND                 OH           44144-2398 9 - MARSHFIELD                 STATIONARY                 kept on the books
                                                                                                                                                     CARDS, WRAPPING,           N/A - Inventory Value is not
AMERICAN GREETINGS           ONE AMERICAN ROAD                      CLEVELAND                 OH           44144-2398 12 - WISCONSIN RAPIDS          STATIONARY                 kept on the books
                                                                                                                                                     CARDS, WRAPPING,           N/A - Inventory Value is not
AMERICAN GREETINGS           ONE AMERICAN ROAD                      CLEVELAND                 OH           44144-2398 14 - BEAVER DAM                STATIONARY                 kept on the books
                                                                                                                                                     CARDS, WRAPPING,           N/A - Inventory Value is not
AMERICAN GREETINGS           ONE AMERICAN ROAD                      CLEVELAND                 OH           44144-2398 15 - APPLETON                  STATIONARY                 kept on the books
                                                                                                                                                     CARDS, WRAPPING,           N/A - Inventory Value is not
AMERICAN GREETINGS           ONE AMERICAN ROAD                      CLEVELAND                 OH           44144-2398 17 - ST CLOUD WEST             STATIONARY                 kept on the books
                                                                                                                                                     CARDS, WRAPPING,           N/A - Inventory Value is not
AMERICAN GREETINGS           ONE AMERICAN ROAD                      CLEVELAND                 OH           44144-2398 18 - WEST BEND                 STATIONARY                 kept on the books
                                                                                                                                                     CARDS, WRAPPING,           N/A - Inventory Value is not
AMERICAN GREETINGS           ONE AMERICAN ROAD                      CLEVELAND                 OH           44144-2398 19 - WATERTOWN WI              STATIONARY                 kept on the books
                                                                                                                                                     CARDS, WRAPPING,           N/A - Inventory Value is not
AMERICAN GREETINGS           ONE AMERICAN ROAD                      CLEVELAND                 OH           44144-2398 20 - LA CROSSE NORTH           STATIONARY                 kept on the books
                                                                                                                                                     CARDS, WRAPPING,           N/A - Inventory Value is not
AMERICAN GREETINGS           ONE AMERICAN ROAD                      CLEVELAND                 OH           44144-2398 22 - MITCHELL                  STATIONARY                 kept on the books
                                                                                                                                                     CARDS, WRAPPING,           N/A - Inventory Value is not
AMERICAN GREETINGS           ONE AMERICAN ROAD                      CLEVELAND                 OH           44144-2398 23 - HUTCHINSON                STATIONARY                 kept on the books




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            Name of Owner                 Address1                          City                State       Zip         Location of Property     Description of Property               Value
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 24 - EAU CLAIRE             STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 25 - MARSHALL               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 26 - BELOIT                 STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 27 - RACINE                 STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 28 - KIMBERLY               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 29 - MADISON WEST           STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 30 - JANESVILLE             STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 31 - KENOSHA                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 32 - MONONA                 STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 33 - MENASHA                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 37 - CHIPPEWA FALLS         STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 40 - SIOUX CITY             STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 42 - OSHKOSH                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 48 - NORFOLK                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 50 - FOND DU LAC            STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 51 - FORT ATKINSON          STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 52 - MASON CITY             STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 53 - NORTH PLATTE           STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 54 - WATERTOWN SD           STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 55 - STEVENS POINT NORTH    STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 56 - OMAHA WEST             STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 59 - FAIRMONT               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 60 - ALBERT LEA             STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 63 - POCATELLO              STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 76 - SIOUX FALLS SOUTH      STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 78 - RAPID CITY             STATIONARY                  kept on the books




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            Name of Owner                 Address1                          City                State       Zip         Location of Property     Description of Property               Value
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 79 - WAUSAU                 STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 80 - MADISON NORTHEAST      STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 82 - MURRAY                 STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 83 - SANDY CITY             STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 84 - WEST JORDAN            STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 85 - TAYLORSVILLE           STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 87 - OGDEN                  STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 88 - LAYTON                 STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 90 - GRAFTON                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 91 - LOGAN                  STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 92 - KENNEWICK              STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 93 - BEND                   STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 96 - REDDING                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 97 - WEST VALLEY CITY       STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 98 - EUGENE NORTH           STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 99 - ONALASKA               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 100 - NEENAH                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 101 - SIOUX FALLS EAST      STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 102 - MARINETTE             STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 104 - BRIGHAM CITY          STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 105 - OREM                  STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 106 - BILLINGS              STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 108 - SPANISH FORK          STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 109 - RIVERDALE             STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 111 - SALEM                 STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 112 - HELENA                STATIONARY                  kept on the books




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            Name of Owner                 Address1                          City                State       Zip         Location of Property     Description of Property               Value
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 113 - LACEY                 STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 114 - DULUTH                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 116 - SHEBOYGAN             STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 119 - DIXON                 STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 120 - MONROE                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 122 - WENATCHEE             STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 125 - FREEPORT              STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 127 - DELAVAN               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 128 - KALISPELL             STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 129 - SPOKANE SOUTH         STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 130 - RIVER FALLS           STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 132 - RICE LAKE             STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 133 - BELVIDERE             STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 134 - PULLMAN               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 164 - DUBUQUE               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 170 - RHINELANDER           STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 171 - PLOVER                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 172 - LINCOLN NORTHWEST     STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 175 - LINCOLN SOUTHEAST     STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 177 - SUAMICO               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 178 - SUSSEX                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 179 - NORTH BRANCH          STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 200 - CHINO VALLEY          STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 201 - EMMETSBURG            STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 202 - CLIFTON               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 203 - JACKSBORO             STATIONARY                  kept on the books




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            Name of Owner                 Address1                          City                State       Zip         Location of Property     Description of Property               Value
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 205 - DELTA                 STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 206 - ELY                   STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 207 - OLDTOWN               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 208 - SEYMOUR               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 209 - TULIA                 STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 211 - ESTHERVILLE           STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 212 - GORDON                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 213 - LITTLEFIELD           STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 501 - LEDGEVIEW             STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 502 - HOWARD                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 503 - PORT WASHINGTON       STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 504 - APPLETON EAST         STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 505 - APPLETON NORTH        STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 512 - ELLSWORTH             STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 520 - ALBION                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 523 - VALENTINE             STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 526 - AFTON                 STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 528 - ROUNDUP RX            STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 529 - DILLON RX             STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 532 - NEW TOWN              STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 533 - TIOGA                 STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 534 - ROLLA                 STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 535 - BOWMAN                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 536 - ULYSSES               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 537 - BELOIT                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 538 - ANTHONY               STATIONARY                  kept on the books




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            Name of Owner                 Address1                          City                State       Zip         Location of Property     Description of Property               Value
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 539 - MONAHANS              STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 540 - KERMIT                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 541 - DALHART               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 542 - PERRYTON              STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 543 - WOLF POINT            STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 544 - SIDNEY #2             STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 545 - MOBRIDGE              STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 546 - BURLINGTON            STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 547 - MOOSE LAKE            STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 548 - MAHNOMEN              STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 549 - HARDIN #2             STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 550 - DILLON #2             STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 551 - DEMOTTE               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 552 - OAKES                 STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 553 - ABILENE               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 554 - ANDREWS               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 555 - MOAB                  STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 556 - PROSSER               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 557 - NEPHI                 STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 558 - REDFIELD              STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 559 - OROFINO               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 560 - FAIRVIEW              STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 561 - COKATO                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 562 - STANLEY ND            STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 563 - MAUSTON               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 564 - WEBSTER CITY          STATIONARY                  kept on the books




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            Name of Owner                 Address1                          City                State       Zip         Location of Property     Description of Property               Value
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 565 - CHEROKEE              STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 566 - WARROAD               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 567 - PAYNESVILLE           STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 568 - NEW PRAGUE            STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 569 - MILBANK               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 570 - WAGNER                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 571 - WEBSTER               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 572 - LEADVILLE             STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 573 - RUSSELL               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 574 - LOWELL                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 575 - LOVINGTON             STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 576 - ALPINE                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 577 - CANADIAN              STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 578 - BUENA VISTA           STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 579 - YUMA                  STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 580 - CARRINGTON            STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 581 - LISBON                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 582 - PRESIDIO              STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 583 - BLANDING              STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 584 - BONNERS FERRY         STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 585 - MAYVILLE              STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 586 - PHILLIPSBURG          STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 587 - CLARINDA              STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 588 - BEAVER                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 589 - CRESCO                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 592 - COMANCHE              STATIONARY                  kept on the books




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            Name of Owner                 Address1                          City                State       Zip         Location of Property     Description of Property               Value
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 593 - COTULLA               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 594 - CHAMBERLAIN           STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 596 - DELL RAPIDS           STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 597 - ORD                   STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 598 - SPRINGERVILLE         STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 600 - VINTON                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 601 - KEWAUNEE              STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 602 - OCONTO                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 603 - PRINCETON             STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 604 - ABBOTSFORD            STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 605 - MORA                  STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 606 - CALUMET               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 607 - SEYMOUR               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 608 - BRILLION              STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 609 - KIEL                  STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 610 - ISHPEMING             STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 611 - SAINT PETER           STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 613 - WINNECONNE            STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 615 - CLINTONVILLE          STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 616 - SISTER BAY            STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 617 - WAUTOMA               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 618 - REEDSBURG             STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 619 - ADAMS                 STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 620 - EAGLE RIVER           STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 621 - MANISTIQUE            STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 622 - WETMORE               STATIONARY                  kept on the books




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                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 623 - IRON RIVER            STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 624 - L'ANSE                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 625 - DYERSVILLE            STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 626 - LANCASTER             STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 627 - NEILLSVILLE           STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 628 - TWO HARBORS           STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 629 - ELY                   STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 630 - ARCADIA               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 632 - SPOONER               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 633 - PARK FALLS            STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 635 - SAVANNA               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 637 - ATTICA                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 638 - MONTICELLO            STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 639 - ROCKVILLE             STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 640 - TUSCOLA               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 641 - DWIGHT                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 642 - ALLEGAN               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 643 - NEWAYGO               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 644 - CLARE                 STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 646 - STANDISH              STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 647 - SYRACUSE              STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 648 - TECUMSEH              STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 649 - IMLAY CITY            STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 650 - DOWAGIAC              STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 651 - HART                  STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 652 - BROOKLYN              STATIONARY                  kept on the books




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            Name of Owner                 Address1                          City                State       Zip         Location of Property     Description of Property               Value
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 653 - GLADWIN               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 656 - KALKASKA              STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 658 - BEATRICE              STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 659 - AUBURN                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 660 - CRETE                 STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 661 - WEST POINT            STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 662 - PLATTSMOUTH           STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 664 - HUMBOLDT              STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 665 - HAMPTON               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 667 - SHELDON               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 668 - NEW HAMPTON           STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 669 - OELWEIN               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 670 - WAYNE                 STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 671 - WAUKON                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 672 - ONEILL                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 673 - AINSWORTH             STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 674 - CLARION               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 675 - WINTERSET             STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 676 - CHARITON              STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 677 - ONAWA                 STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 678 - JEFFERSON             STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 679 - TOLEDO                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 680 - PERRY                 STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 681 - IDA GROVE             STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 682 - HARLAN                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 683 - AUDUBON               STATIONARY                  kept on the books




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            Name of Owner                 Address1                          City                State       Zip         Location of Property     Description of Property               Value
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 684 - BLOOMFIELD            STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 685 - ELDORA                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 686 - GLENWOOD              STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 687 - GREENFIELD (IA)       STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 688 - MISSOURI VALLEY       STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 689 - MOUNT AYR             STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 690 - HOLDREGE              STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 691 - OGALLALA              STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 692 - SUPERIOR              STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 693 - CLAY CENTER           STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 694 - ALLIANCE              STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 695 - BROKEN BOW            STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 696 - NORTON                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 697 - SENECA                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 698 - GOTHENBURG            STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 699 - SCOTT CITY            STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 700 - KIMBALL               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 701 - LYONS                 STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 702 - LARNED                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 703 - BURLINGTON            STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 704 - FALLS CITY            STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 705 - TRENTON               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 706 - DONIPHAN              STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 707 - ALBANY                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 708 - CARROLLTON            STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 709 - EL DORADO SPRINGS     STATIONARY                  kept on the books




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            Name of Owner                 Address1                          City                State       Zip         Location of Property     Description of Property               Value
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 710 - GALLATIN              STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 711 - MEMPHIS               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 712 - PALMYRA               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 716 - MT. CARMEL            STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 717 - MINERVA               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 719 - WOODSFIELD            STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 720 - BATESVILLE            STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 729 - BRANDENBURG           STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 732 - GLENCOE               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 733 - FERGUS FALLS          STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 734 - CAVALIER              STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 735 - AITKIN                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 736 - VALLEY CITY           STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 737 - GRAFTON               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 738 - PERHAM                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 739 - GLENWOOD              STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 740 - MORRIS                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 741 - RUGBY                 STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 742 - EAST GRAND FORKS      STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 743 - BEULAH                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 744 - ROSEAU                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 745 - WINNER                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 746 - MADISON SD            STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 747 - LUVERNE               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 748 - PIPESTONE             STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 749 - SAINT JAMES           STATIONARY                  kept on the books




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            Name of Owner                 Address1                          City                State       Zip         Location of Property     Description of Property               Value
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 750 - WINDOM                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 751 - SISSETON              STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 752 - TORRINGTON            STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 753 - HOT SPRINGS           STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 755 - WHEATLAND             STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 756 - LANDER                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 757 - BELLE FOURCHE         STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 758 - DOUGLAS               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 759 - STURGIS               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 760 - GREEN RIVER           STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 761 - NEWCASTLE             STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 762 - THERMOPOLIS           STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 763 - CUSTER                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 764 - BUFFALO               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 765 - MOUNTAIN VIEW         STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 766 - SHELBY                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 767 - WORLAND               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 768 - GLASGOW               STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 769 - SIDNEY                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 771 - PLENTYWOOD            STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 772 - POWELL                STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 773 - LEWISTOWN             STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 774 - LIVINGSTON            STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 775 - LIBBY                 STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 776 - GREYBULL              STATIONARY                  kept on the books
                                                                                                                                               CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS          ONE AMERICAN ROAD                    CLEVELAND                 OH           44144-2398 786 - RED OAK               STATIONARY                  kept on the books




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            Name of Owner                         Address1                          City                State       Zip           Location of Property     Description of Property               Value
                                                                                                                                                         CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS           ONE AMERICAN ROAD                           CLEVELAND                 OH           44144-2398 788 - COLUMBUS                STATIONARY                  kept on the books
                                                                                                                                                         CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS           ONE AMERICAN ROAD                           CLEVELAND                 OH           44144-2398 789 - WAUPACA                 STATIONARY                  kept on the books
                                                                                                                                                         CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS           ONE AMERICAN ROAD                           CLEVELAND                 OH           44144-2398 790 - STANLEY                 STATIONARY                  kept on the books
                                                                                                                                                         CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS           ONE AMERICAN ROAD                           CLEVELAND                 OH           44144-2398 791 - FOREST CITY             STATIONARY                  kept on the books
                                                                                                                                                         CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS           ONE AMERICAN ROAD                           CLEVELAND                 OH           44144-2398 792 - TOMAHAWK                STATIONARY                  kept on the books
                                                                                                                                                         CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS           ONE AMERICAN ROAD                           CLEVELAND                 OH           44144-2398 793 - MAYVILLE                STATIONARY                  kept on the books
                                                                                                                                                         CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS           ONE AMERICAN ROAD                           CLEVELAND                 OH           44144-2398 794 - QUINCY                  STATIONARY                  kept on the books
                                                                                                                                                         CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS           ONE AMERICAN ROAD                           CLEVELAND                 OH           44144-2398 795 - SALMON                  STATIONARY                  kept on the books
                                                                                                                                                         CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS           ONE AMERICAN ROAD                           CLEVELAND                 OH           44144-2398 796 - KASSON                  STATIONARY                  kept on the books
                                                                                                                                                         CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS           ONE AMERICAN ROAD                           CLEVELAND                 OH           44144-2398 797 - WHITEFISH               STATIONARY                  kept on the books
                                                                                                                                                         CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS           ONE AMERICAN ROAD                           CLEVELAND                 OH           44144-2398 798 - BALLARD                 STATIONARY                  kept on the books
                                                                                                                                                         CARDS, WRAPPING,            N/A - Inventory Value is not
AMERICAN GREETINGS           ONE AMERICAN ROAD                           CLEVELAND                 OH           44144-2398 799 - TREMONTON               STATIONARY                  kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
AMERICAN HERITAGE TEXTILES   1315 CEDAR GROVE RD                         SHEPHERDSVILLE            KY           40165         3 - MANITOWOC              QUILTS                      kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
AMERICAN HERITAGE TEXTILES   1315 CEDAR GROVE RD                         SHEPHERDSVILLE            KY           40165         498 - ECOM-DROP SHIP       QUILTS                      kept on the books
                                                                                                                                                         PILLOWS, PADS &             N/A - Inventory Value is not
AMERICAN TEXTILE COMPANY     10 N LINDEN STREET                          DUQUESNE                  PA           15110         498 - ECOM-DROP SHIP       PROTECTORS                  kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
AMERICAN TRAVELER INC        9509 FERON BLVD                             RANCHO CUCAMONGA          CA           91730         114 - DULUTH               LUGGAGE, BACKPACKS          kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
AMERICAN TRAVELER INC        9509 FERON BLVD                             RANCHO CUCAMONGA          CA           91730         498 - ECOM-DROP SHIP       LUGGAGE, BACKPACKS          kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
AMERIWOOD INDUSTRIES         410 E 1ST STREET S                          WRIGHT CITY               MO           633909998 15 - APPLETON                  FURNITURE                   kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
AMERIWOOD INDUSTRIES         410 E 1ST STREET S                          WRIGHT CITY               MO           633909998 28 - KIMBERLY                  FURNITURE                   kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
AMERIWOOD INDUSTRIES         410 E 1ST STREET S                          WRIGHT CITY               MO           633909998 30 - JANESVILLE                FURNITURE                   kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
AMERIWOOD INDUSTRIES         410 E 1ST STREET S                          WRIGHT CITY               MO           633909998 114 - DULUTH                   FURNITURE                   kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
AMERIWOOD INDUSTRIES         410 E 1ST STREET S                          WRIGHT CITY               MO           633909998 134 - PULLMAN                  FURNITURE                   kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
AMERIWOOD INDUSTRIES         410 E 1ST STREET S                          WRIGHT CITY               MO           633909998 498 - ECOM-DROP SHIP           FURNITURE                   kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
AMERIWOOD INDUSTRIES         410 E 1ST STREET S                          WRIGHT CITY               MO           633909998 526 - AFTON                    FURNITURE                   kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
AMERIWOOD INDUSTRIES         410 E 1ST STREET S                          WRIGHT CITY               MO           633909998 567 - PAYNESVILLE              FURNITURE                   kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
AMERIWOOD INDUSTRIES         410 E 1ST STREET S                          WRIGHT CITY               MO           633909998 593 - COTULLA                  FURNITURE                   kept on the books




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                                                                                                                                                                                     N/A - Inventory Value is not
AMRAPUR OVERSEAS DBA COLONIAL HO   12621 WESTERN AVENUE                   GARDEN GROVE              CA           92841         2 - ASHWAUBENON            BEDDING                    kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
AMRAPUR OVERSEAS DBA COLONIAL HO   12621 WESTERN AVENUE                   GARDEN GROVE              CA           92841         15 - APPLETON              BEDDING                    kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
AMRAPUR OVERSEAS DBA COLONIAL HO   12621 WESTERN AVENUE                   GARDEN GROVE              CA           92841         50 - FOND DU LAC           BEDDING                    kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
AMRAPUR OVERSEAS DBA COLONIAL HO   12621 WESTERN AVENUE                   GARDEN GROVE              CA           92841         98 - EUGENE NORTH          BEDDING                    kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
AMRAPUR OVERSEAS DBA COLONIAL HO   12621 WESTERN AVENUE                   GARDEN GROVE              CA           92841         111 - SALEM                BEDDING                    kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
AMRAPUR OVERSEAS DBA COLONIAL HO   12621 WESTERN AVENUE                   GARDEN GROVE              CA           92841         498 - ECOM-DROP SHIP       BEDDING                    kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
AMRAPUR OVERSEAS DBA COLONIAL HO   12621 WESTERN AVENUE                   GARDEN GROVE              CA           92841         685 - ELDORA               BEDDING                    kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
AREYOUGAME COM                     2030 HARRISON STREET                   SAN FRANCISCO             CA           94110-1310 2 - ASHWAUBENON               GAMES, CRAFTS              kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
AREYOUGAME COM                     2030 HARRISON STREET                   SAN FRANCISCO             CA           94110-1310 15 - APPLETON                 GAMES, CRAFTS              kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
AREYOUGAME COM                     2030 HARRISON STREET                   SAN FRANCISCO             CA           94110-1310 18 - WEST BEND                GAMES, CRAFTS              kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
AREYOUGAME COM                     2030 HARRISON STREET                   SAN FRANCISCO             CA           94110-1310 27 - RACINE                   GAMES, CRAFTS              kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
AREYOUGAME COM                     2030 HARRISON STREET                   SAN FRANCISCO             CA           94110-1310 29 - MADISON WEST             GAMES, CRAFTS              kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
AREYOUGAME COM                     2030 HARRISON STREET                   SAN FRANCISCO             CA           94110-1310 33 - MENASHA                  GAMES, CRAFTS              kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
AREYOUGAME COM                     2030 HARRISON STREET                   SAN FRANCISCO             CA           94110-1310 42 - OSHKOSH                  GAMES, CRAFTS              kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
AREYOUGAME COM                     2030 HARRISON STREET                   SAN FRANCISCO             CA           94110-1310 50 - FOND DU LAC              GAMES, CRAFTS              kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
AREYOUGAME COM                     2030 HARRISON STREET                   SAN FRANCISCO             CA           94110-1310 56 - OMAHA WEST               GAMES, CRAFTS              kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
AREYOUGAME COM                     2030 HARRISON STREET                   SAN FRANCISCO             CA           94110-1310 76 - SIOUX FALLS SOUTH        GAMES, CRAFTS              kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
AREYOUGAME COM                     2030 HARRISON STREET                   SAN FRANCISCO             CA           94110-1310 90 - GRAFTON                  GAMES, CRAFTS              kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
AREYOUGAME COM                     2030 HARRISON STREET                   SAN FRANCISCO             CA           94110-1310 91 - LOGAN                    GAMES, CRAFTS              kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
AREYOUGAME COM                     2030 HARRISON STREET                   SAN FRANCISCO             CA           94110-1310 96 - REDDING                  GAMES, CRAFTS              kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
AREYOUGAME COM                     2030 HARRISON STREET                   SAN FRANCISCO             CA           94110-1310 100 - NEENAH                  GAMES, CRAFTS              kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
AREYOUGAME COM                     2030 HARRISON STREET                   SAN FRANCISCO             CA           94110-1310 114 - DULUTH                  GAMES, CRAFTS              kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
AREYOUGAME COM                     2030 HARRISON STREET                   SAN FRANCISCO             CA           94110-1310 130 - RIVER FALLS             GAMES, CRAFTS              kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
AREYOUGAME COM                     2030 HARRISON STREET                   SAN FRANCISCO             CA           94110-1310 164 - DUBUQUE                 GAMES, CRAFTS              kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
AREYOUGAME COM                     2030 HARRISON STREET                   SAN FRANCISCO             CA           94110-1310 170 - RHINELANDER             GAMES, CRAFTS              kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
AREYOUGAME COM                     2030 HARRISON STREET                   SAN FRANCISCO             CA           94110-1310 177 - SUAMICO                 GAMES, CRAFTS              kept on the books




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             Name of Owner                             Address1                          City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                                          N/A - Inventory Value is not
AREYOUGAME COM                     2030 HARRISON STREET                       SAN FRANCISCO             CA           94110-1310 179 - NORTH BRANCH             GAMES, CRAFTS              kept on the books
                                                                                                                                                                                          N/A - Inventory Value is not
AREYOUGAME COM                     2030 HARRISON STREET                       SAN FRANCISCO             CA           94110-1310 498 - ECOM-DROP SHIP           GAMES, CRAFTS              kept on the books
                                                                                                                                                                                          N/A - Inventory Value is not
AREYOUGAME COM                     2030 HARRISON STREET                       SAN FRANCISCO             CA           94110-1310 596 - DELL RAPIDS              GAMES, CRAFTS              kept on the books
                                                                                                                                                                                          N/A - Inventory Value is not
AREYOUGAME COM                     2030 HARRISON STREET                       SAN FRANCISCO             CA           94110-1310 609 - KIEL                     GAMES, CRAFTS              kept on the books
                                                                                                                                                                                          N/A - Inventory Value is not
AREYOUGAME COM                     2030 HARRISON STREET                       SAN FRANCISCO             CA           94110-1310 675 - WINTERSET                GAMES, CRAFTS              kept on the books
                                                                                                                                                                                          N/A - Inventory Value is not
AREYOUGAME COM                     2030 HARRISON STREET                       SAN FRANCISCO             CA           94110-1310 765 - MOUNTAIN VIEW            GAMES, CRAFTS              kept on the books
                                                                                                                                                                                          N/A - Inventory Value is not
AUTHENTIC SPORTS GEAR LLC (CHUB)   5000 BIRCH ST 365                          NEWPORT BEACH             CA           92625         50 - FOND DU LAC            ACTIVE SHOES               kept on the books
                                                                                                                                                                                          N/A - Inventory Value is not
AUTHENTIC SPORTS GEAR LLC (CHUB)   5000 BIRCH ST 365                          NEWPORT BEACH             CA           92625         498 - ECOM-DROP SHIP        ACTIVE SHOES               kept on the books
                                                                                                                                                                                          N/A - Inventory Value is not
BABY NEWS INCORPORATED             6909 LAS POSITAS ROAD A                    LIVERMORE                 CA           94550         15 - APPLETON               BABY HYGIENE & FEEDING     kept on the books
                                                                                                                                                                                          N/A - Inventory Value is not
BABYTIME INTERNATIONAL INC (C-HU   2247 EAST 66TH STREET                      BROOKLYN                  NY           11234         83 - SANDY CITY             BABY GEAR & FURNITURE      kept on the books
                                                                                                                                                                                          N/A - Inventory Value is not
BABYTIME INTERNATIONAL INC (C-HU   2247 EAST 66TH STREET                      BROOKLYN                  NY           11234         91 - LOGAN                  BABY GEAR & FURNITURE      kept on the books
                                                                                                                                                                                          N/A - Inventory Value is not
BABYTIME INTERNATIONAL INC (C-HU   2247 EAST 66TH STREET                      BROOKLYN                  NY           11234         498 - ECOM-DROP SHIP        BABY GEAR & FURNITURE      kept on the books
                                                                                                                                                                                          N/A - Inventory Value is not
BACOVA GUILD LIMITED               PO BOX 116941                              ATLANTA                   GA           30368-6941 78 - RAPID CITY                BATH ACCESSORIES           kept on the books
                                                                                                                                                                                          N/A - Inventory Value is not
BACOVA GUILD LIMITED               PO BOX 116941                              ATLANTA                   GA           30368-6941 498 - ECOM-DROP SHIP           BATH ACCESSORIES           kept on the books
                                                                                                                                                                                          N/A - Inventory Value is not
BACOVA GUILD LIMITED               PO BOX 116941                              ATLANTA                   GA           30368-6941 604 - ABBOTSFORD               BATH ACCESSORIES           kept on the books
                                                                                                                                                                                          N/A - Inventory Value is not
BAUM BROTHERS IMPORTS INC          350 5TH AVENUE STE 501                     NEW YORK                  NY           10118         498 - ECOM-DROP SHIP        DINNERWARE SETS            kept on the books
                                                                                                                                                                                          N/A - Inventory Value is not
BBLUV GROUP COM                    2820 DUCHENSE SAINT LAURENT                SAINT LAURENT             QC           H4R 1JR       50 - FOND DU LAC            BABY HYGIENE & FEEDING     kept on the books
                                                                                                                                                                                          N/A - Inventory Value is not
BBLUV GROUP COM                    2820 DUCHENSE SAINT LAURENT                SAINT LAURENT             QC           H4R 1JR       56 - OMAHA WEST             BABY HYGIENE & FEEDING     kept on the books
                                                                                                                                                                                          N/A - Inventory Value is not
BBLUV GROUP COM                    2820 DUCHENSE SAINT LAURENT                SAINT LAURENT             QC           H4R 1JR       498 - ECOM-DROP SHIP        BABY HYGIENE & FEEDING     kept on the books
                                                                                                                                                                                          N/A - Inventory Value is not
BBLUV GROUP COM                    2820 DUCHENSE SAINT LAURENT                SAINT LAURENT             QC           H4R 1JR       607 - SEYMOUR               BABY HYGIENE & FEEDING     kept on the books
                                                                                                                                                                                          N/A - Inventory Value is not
BIG JEWELRY COMPANY LLC            115 W 30TH STREET #802                     NEW YORK                  NY           10001         5 - DE PERE                 JEWELRY                    kept on the books
                                                                                                                                                                                          N/A - Inventory Value is not
BIG JEWELRY COMPANY LLC            115 W 30TH STREET #802                     NEW YORK                  NY           10001         50 - FOND DU LAC            JEWELRY                    kept on the books
                                                                                                                                                                                          N/A - Inventory Value is not
BIG JEWELRY COMPANY LLC            115 W 30TH STREET #802                     NEW YORK                  NY           10001         99 - ONALASKA               JEWELRY                    kept on the books
                                                                                                                                                                                          N/A - Inventory Value is not
BIG JEWELRY COMPANY LLC            115 W 30TH STREET #802                     NEW YORK                  NY           10001         178 - SUSSEX                JEWELRY                    kept on the books
                                                                                                                                                                                          N/A - Inventory Value is not
BIG JEWELRY COMPANY LLC            115 W 30TH STREET #802                     NEW YORK                  NY           10001         498 - ECOM-DROP SHIP        JEWELRY                    kept on the books
                                                                                                                                                                                          N/A - Inventory Value is not
BIG JEWELRY COMPANY LLC            115 W 30TH STREET #802                     NEW YORK                  NY           10001         753 - HOT SPRINGS           JEWELRY                    kept on the books




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                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 1 - GREEN BAY WEST          GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 2 - ASHWAUBENON             GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 3 - MANITOWOC               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 4 - GREEN BAY EAST          GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 5 - DE PERE                 GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 7 - LA CROSSE SOUTH         GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 8 - ROTHSCHILD              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 9 - MARSHFIELD              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 12 - WISCONSIN RAPIDS       GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 14 - BEAVER DAM             GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 15 - APPLETON               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 17 - ST CLOUD WEST          GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 18 - WEST BEND              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 19 - WATERTOWN WI           GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 20 - LA CROSSE NORTH        GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 22 - MITCHELL               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 23 - HUTCHINSON             GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 24 - EAU CLAIRE             GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 25 - MARSHALL               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 26 - BELOIT                 GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 27 - RACINE                 GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 28 - KIMBERLY               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 29 - MADISON WEST           GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 30 - JANESVILLE             GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 31 - KENOSHA                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 32 - MONONA                 GIFT CARDS                 kept on the books




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                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 33 - MENASHA                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 37 - CHIPPEWA FALLS         GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 40 - SIOUX CITY             GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 42 - OSHKOSH                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 48 - NORFOLK                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 50 - FOND DU LAC            GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 51 - FORT ATKINSON          GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 52 - MASON CITY             GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 53 - NORTH PLATTE           GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 54 - WATERTOWN SD           GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 55 - STEVENS POINT NORTH    GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 56 - OMAHA WEST             GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 59 - FAIRMONT               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 60 - ALBERT LEA             GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 63 - POCATELLO              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 76 - SIOUX FALLS SOUTH      GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 78 - RAPID CITY             GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 79 - WAUSAU                 GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 80 - MADISON NORTHEAST      GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 82 - MURRAY                 GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 83 - SANDY CITY             GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 84 - WEST JORDAN            GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 85 - TAYLORSVILLE           GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 87 - OGDEN                  GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 88 - LAYTON                 GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 90 - GRAFTON                GIFT CARDS                 kept on the books




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                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 91 - LOGAN                  GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 92 - KENNEWICK              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 93 - BEND                   GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 96 - REDDING                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 97 - WEST VALLEY CITY       GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 98 - EUGENE NORTH           GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 99 - ONALASKA               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 100 - NEENAH                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 101 - SIOUX FALLS EAST      GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 102 - MARINETTE             GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 104 - BRIGHAM CITY          GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 105 - OREM                  GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 106 - BILLINGS              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 108 - SPANISH FORK          GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 109 - RIVERDALE             GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 111 - SALEM                 GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 112 - HELENA                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 113 - LACEY                 GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 114 - DULUTH                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 116 - SHEBOYGAN             GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 119 - DIXON                 GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 120 - MONROE                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 122 - WENATCHEE             GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 125 - FREEPORT              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 127 - DELAVAN               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 128 - KALISPELL             GIFT CARDS                 kept on the books




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                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 129 - SPOKANE SOUTH         GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 130 - RIVER FALLS           GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 132 - RICE LAKE             GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 133 - BELVIDERE             GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 134 - PULLMAN               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 164 - DUBUQUE               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 170 - RHINELANDER           GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 171 - PLOVER                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 172 - LINCOLN NORTHWEST     GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 175 - LINCOLN SOUTHEAST     GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 177 - SUAMICO               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 178 - SUSSEX                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 179 - NORTH BRANCH          GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 200 - CHINO VALLEY          GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 201 - EMMETSBURG            GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 202 - CLIFTON               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 203 - JACKSBORO             GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 205 - DELTA                 GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 206 - ELY                   GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 207 - OLDTOWN               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 208 - SEYMOUR               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 209 - TULIA                 GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 211 - ESTHERVILLE           GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 212 - GORDON                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 213 - LITTLEFIELD           GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 501 - LEDGEVIEW             GIFT CARDS                 kept on the books




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                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 502 - HOWARD                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 503 - PORT WASHINGTON       GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 504 - APPLETON EAST         GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 505 - APPLETON NORTH        GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 512 - ELLSWORTH             GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 520 - ALBION                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 523 - VALENTINE             GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 526 - AFTON                 GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 528 - ROUNDUP RX            GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 529 - DILLON RX             GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 532 - NEW TOWN              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 533 - TIOGA                 GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 534 - ROLLA                 GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 535 - BOWMAN                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 536 - ULYSSES               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 537 - BELOIT                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 538 - ANTHONY               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 539 - MONAHANS              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 540 - KERMIT                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 541 - DALHART               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 542 - PERRYTON              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 543 - WOLF POINT            GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 544 - SIDNEY #2             GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 545 - MOBRIDGE              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 546 - BURLINGTON            GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 547 - MOOSE LAKE            GIFT CARDS                 kept on the books




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                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 548 - MAHNOMEN              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 549 - HARDIN #2             GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 550 - DILLON #2             GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 551 - DEMOTTE               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 552 - OAKES                 GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 553 - ABILENE               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 554 - ANDREWS               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 555 - MOAB                  GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 556 - PROSSER               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 557 - NEPHI                 GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 558 - REDFIELD              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 559 - OROFINO               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 560 - FAIRVIEW              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 561 - COKATO                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 562 - STANLEY ND            GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 563 - MAUSTON               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 564 - WEBSTER CITY          GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 565 - CHEROKEE              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 566 - WARROAD               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 567 - PAYNESVILLE           GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 568 - NEW PRAGUE            GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 569 - MILBANK               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 570 - WAGNER                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 571 - WEBSTER               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 572 - LEADVILLE             GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 573 - RUSSELL               GIFT CARDS                 kept on the books




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                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 574 - LOWELL                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 575 - LOVINGTON             GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 576 - ALPINE                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 577 - CANADIAN              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 578 - BUENA VISTA           GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 579 - YUMA                  GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 580 - CARRINGTON            GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 581 - LISBON                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 582 - PRESIDIO              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 583 - BLANDING              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 584 - BONNERS FERRY         GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 585 - MAYVILLE              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 586 - PHILLIPSBURG          GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 587 - CLARINDA              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 588 - BEAVER                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 589 - CRESCO                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 592 - COMANCHE              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 593 - COTULLA               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 594 - CHAMBERLAIN           GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 596 - DELL RAPIDS           GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 597 - ORD                   GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 598 - SPRINGERVILLE         GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 600 - VINTON                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 601 - KEWAUNEE              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 602 - OCONTO                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 603 - PRINCETON             GIFT CARDS                 kept on the books




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                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 604 - ABBOTSFORD            GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 605 - MORA                  GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 606 - CALUMET               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 607 - SEYMOUR               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 608 - BRILLION              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 609 - KIEL                  GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 610 - ISHPEMING             GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 611 - SAINT PETER           GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 613 - WINNECONNE            GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 615 - CLINTONVILLE          GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 616 - SISTER BAY            GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 617 - WAUTOMA               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 618 - REEDSBURG             GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 619 - ADAMS                 GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 620 - EAGLE RIVER           GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 621 - MANISTIQUE            GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 622 - WETMORE               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 623 - IRON RIVER            GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 624 - L'ANSE                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 625 - DYERSVILLE            GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 626 - LANCASTER             GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 627 - NEILLSVILLE           GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 628 - TWO HARBORS           GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 629 - ELY                   GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 630 - ARCADIA               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 632 - SPOONER               GIFT CARDS                 kept on the books




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                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 633 - PARK FALLS            GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 635 - SAVANNA               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 637 - ATTICA                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 638 - MONTICELLO            GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 639 - ROCKVILLE             GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 640 - TUSCOLA               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 641 - DWIGHT                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 642 - ALLEGAN               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 643 - NEWAYGO               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 644 - CLARE                 GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 646 - STANDISH              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 647 - SYRACUSE              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 648 - TECUMSEH              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 649 - IMLAY CITY            GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 650 - DOWAGIAC              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 651 - HART                  GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 652 - BROOKLYN              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 653 - GLADWIN               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 656 - KALKASKA              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 658 - BEATRICE              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 659 - AUBURN                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 660 - CRETE                 GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 661 - WEST POINT            GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 662 - PLATTSMOUTH           GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 664 - HUMBOLDT              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 665 - HAMPTON               GIFT CARDS                 kept on the books




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                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 667 - SHELDON               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 668 - NEW HAMPTON           GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 669 - OELWEIN               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 670 - WAYNE                 GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 671 - WAUKON                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 672 - ONEILL                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 673 - AINSWORTH             GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 674 - CLARION               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 675 - WINTERSET             GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 676 - CHARITON              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 677 - ONAWA                 GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 678 - JEFFERSON             GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 679 - TOLEDO                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 680 - PERRY                 GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 681 - IDA GROVE             GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 682 - HARLAN                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 683 - AUDUBON               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 684 - BLOOMFIELD            GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 685 - ELDORA                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 686 - GLENWOOD              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 687 - GREENFIELD (IA)       GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 688 - MISSOURI VALLEY       GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 689 - MOUNT AYR             GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 690 - HOLDREGE              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 691 - OGALLALA              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 692 - SUPERIOR              GIFT CARDS                 kept on the books




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                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 693 - CLAY CENTER           GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 694 - ALLIANCE              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 695 - BROKEN BOW            GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 696 - NORTON                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 697 - SENECA                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 698 - GOTHENBURG            GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 699 - SCOTT CITY            GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 700 - KIMBALL               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 701 - LYONS                 GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 702 - LARNED                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 703 - BURLINGTON            GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 704 - FALLS CITY            GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 705 - TRENTON               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 706 - DONIPHAN              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 707 - ALBANY                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 708 - CARROLLTON            GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 709 - EL DORADO SPRINGS     GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 710 - GALLATIN              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 711 - MEMPHIS               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 716 - MT. CARMEL            GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 717 - MINERVA               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 719 - WOODSFIELD            GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 720 - BATESVILLE            GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 729 - BRANDENBURG           GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 732 - GLENCOE               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 733 - FERGUS FALLS          GIFT CARDS                 kept on the books




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                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 734 - CAVALIER              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 735 - AITKIN                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 736 - VALLEY CITY           GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 737 - GRAFTON               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 738 - PERHAM                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 739 - GLENWOOD              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 740 - MORRIS                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 741 - RUGBY                 GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 742 - EAST GRAND FORKS      GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 743 - BEULAH                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 744 - ROSEAU                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 745 - WINNER                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 746 - MADISON SD            GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 747 - LUVERNE               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 748 - PIPESTONE             GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 749 - SAINT JAMES           GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 750 - WINDOM                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 751 - SISSETON              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 752 - TORRINGTON            GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 753 - HOT SPRINGS           GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 755 - WHEATLAND             GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 756 - LANDER                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 757 - BELLE FOURCHE         GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 758 - DOUGLAS               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 759 - STURGIS               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 760 - GREEN RIVER           GIFT CARDS                 kept on the books




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                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 761 - NEWCASTLE             GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 762 - THERMOPOLIS           GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 763 - CUSTER                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 764 - BUFFALO               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 765 - MOUNTAIN VIEW         GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 766 - SHELBY                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 767 - WORLAND               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 768 - GLASGOW               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 769 - SIDNEY                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 771 - PLENTYWOOD            GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 772 - POWELL                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 773 - LEWISTOWN             GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 774 - LIVINGSTON            GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 775 - LIBBY                 GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 776 - GREYBULL              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 786 - RED OAK               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 788 - COLUMBUS              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 789 - WAUPACA               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 790 - STANLEY               GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 791 - FOREST CITY           GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 792 - TOMAHAWK              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 793 - MAYVILLE              GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 794 - QUINCY                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 795 - SALMON                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 796 - KASSON                GIFT CARDS                 kept on the books
                                                                                                                                                                          N/A - Inventory Value is not
BLACKHAWK NETWORK          2027 N 27TH AVENUE                    PHOENIX                   AZ           85027-0000 797 - WHITEFISH             GIFT CARDS                 kept on the books




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                                                                                                                                                                                  N/A - Inventory Value is not
BLACKHAWK NETWORK            2027 N 27TH AVENUE                       PHOENIX                   AZ           85027-0000 798 - BALLARD                  GIFT CARDS                 kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
BLACKHAWK NETWORK            2027 N 27TH AVENUE                       PHOENIX                   AZ           85027-0000 799 - TREMONTON                GIFT CARDS                 kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
BOELTER COMPANIES            N22 W23685 RIDGEVIEW PARKWAY W           WAUKESHA                  WI           53188         498 - ECOM-DROP SHIP        TEAM COLLECTIBLES          kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
BOELTER COMPANIES            N22 W23685 RIDGEVIEW PARKWAY W           WAUKESHA                  WI           53188         603 - PRINCETON             TEAM COLLECTIBLES          kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
BOTANICAL INTERESTS INC      660 COMPTON STREET UNIT A                BROOMFIELD                CO           80020         24 - EAU CLAIRE             GARDEN SEEDS               kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
BOTANICAL INTERESTS INC      660 COMPTON STREET UNIT A                BROOMFIELD                CO           80020         51 - FORT ATKINSON          GARDEN SEEDS               kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
BOTANICAL INTERESTS INC      660 COMPTON STREET UNIT A                BROOMFIELD                CO           80020         85 - TAYLORSVILLE           GARDEN SEEDS               kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
BOTANICAL INTERESTS INC      660 COMPTON STREET UNIT A                BROOMFIELD                CO           80020         96 - REDDING                GARDEN SEEDS               kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
BOTANICAL INTERESTS INC      660 COMPTON STREET UNIT A                BROOMFIELD                CO           80020         108 - SPANISH FORK          GARDEN SEEDS               kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
BRUMLOW MILLS INCORPORATED   PO BOX 1779                              CALHOUN                   GA           30703         56 - OMAHA WEST             RUGS                       kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
BURPEE GARDEN PRODUCTS       300 PARK AVENUE                          WARMINSTER                PA           18974         670 - WAYNE                 GARDEN SEEDS               kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
BURPEE GARDEN PRODUCTS       300 PARK AVENUE                          WARMINSTER                PA           18974         738 - PERHAM                GARDEN SEEDS               kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
BUXTON COMPANY               245 CADWELL DRIVE                        CHICOPEE                  MA           01104-0000 50 - FOND DU LAC               WALLETS                    kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
BUXTON COMPANY               245 CADWELL DRIVE                        CHICOPEE                  MA           01104-0000 178 - SUSSEX                   WALLETS                    kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
BUXTON COMPANY               245 CADWELL DRIVE                        CHICOPEE                  MA           01104-0000 498 - ECOM-DROP SHIP           WALLETS                    kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
BUYSEASONS ENTERPRISES LLC   5915 S MOORLAND ROAD                     NEW BERLIN                WI           53151         3 - MANITOWOC               INTERIOR DECOR             kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
BUYSEASONS ENTERPRISES LLC   5915 S MOORLAND ROAD                     NEW BERLIN                WI           53151         18 - WEST BEND              INTERIOR DECOR             kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
BUYSEASONS ENTERPRISES LLC   5915 S MOORLAND ROAD                     NEW BERLIN                WI           53151         29 - MADISON WEST           INTERIOR DECOR             kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
BUYSEASONS ENTERPRISES LLC   5915 S MOORLAND ROAD                     NEW BERLIN                WI           53151         50 - FOND DU LAC            INTERIOR DECOR             kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
BUYSEASONS ENTERPRISES LLC   5915 S MOORLAND ROAD                     NEW BERLIN                WI           53151         51 - FORT ATKINSON          INTERIOR DECOR             kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
BUYSEASONS ENTERPRISES LLC   5915 S MOORLAND ROAD                     NEW BERLIN                WI           53151         83 - SANDY CITY             INTERIOR DECOR             kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
BUYSEASONS ENTERPRISES LLC   5915 S MOORLAND ROAD                     NEW BERLIN                WI           53151         84 - WEST JORDAN            INTERIOR DECOR             kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
BUYSEASONS ENTERPRISES LLC   5915 S MOORLAND ROAD                     NEW BERLIN                WI           53151         87 - OGDEN                  INTERIOR DECOR             kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
BUYSEASONS ENTERPRISES LLC   5915 S MOORLAND ROAD                     NEW BERLIN                WI           53151         93 - BEND                   INTERIOR DECOR             kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
BUYSEASONS ENTERPRISES LLC   5915 S MOORLAND ROAD                     NEW BERLIN                WI           53151         108 - SPANISH FORK          INTERIOR DECOR             kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
BUYSEASONS ENTERPRISES LLC   5915 S MOORLAND ROAD                     NEW BERLIN                WI           53151         109 - RIVERDALE             INTERIOR DECOR             kept on the books




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                                                                                                                                                                                      N/A - Inventory Value is not
BUYSEASONS ENTERPRISES LLC         5915 S MOORLAND ROAD                   NEW BERLIN                WI           53151         122 - WENATCHEE             INTERIOR DECOR             kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
BUYSEASONS ENTERPRISES LLC         5915 S MOORLAND ROAD                   NEW BERLIN                WI           53151         130 - RIVER FALLS           INTERIOR DECOR             kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
BUYSEASONS ENTERPRISES LLC         5915 S MOORLAND ROAD                   NEW BERLIN                WI           53151         132 - RICE LAKE             INTERIOR DECOR             kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
BUYSEASONS ENTERPRISES LLC         5915 S MOORLAND ROAD                   NEW BERLIN                WI           53151         164 - DUBUQUE               INTERIOR DECOR             kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
BUYSEASONS ENTERPRISES LLC         5915 S MOORLAND ROAD                   NEW BERLIN                WI           53151         178 - SUSSEX                INTERIOR DECOR             kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
BUYSEASONS ENTERPRISES LLC         5915 S MOORLAND ROAD                   NEW BERLIN                WI           53151         201 - EMMETSBURG            INTERIOR DECOR             kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
BUYSEASONS ENTERPRISES LLC         5915 S MOORLAND ROAD                   NEW BERLIN                WI           53151         203 - JACKSBORO             INTERIOR DECOR             kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
BUYSEASONS ENTERPRISES LLC         5915 S MOORLAND ROAD                   NEW BERLIN                WI           53151         498 - ECOM-DROP SHIP        INTERIOR DECOR             kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
BUYSEASONS ENTERPRISES LLC         5915 S MOORLAND ROAD                   NEW BERLIN                WI           53151         563 - MAUSTON               INTERIOR DECOR             kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
BUYSEASONS ENTERPRISES LLC         5915 S MOORLAND ROAD                   NEW BERLIN                WI           53151         602 - OCONTO                INTERIOR DECOR             kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
BUYSEASONS ENTERPRISES LLC         5915 S MOORLAND ROAD                   NEW BERLIN                WI           53151         611 - SAINT PETER           INTERIOR DECOR             kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
BUYSEASONS ENTERPRISES LLC         5915 S MOORLAND ROAD                   NEW BERLIN                WI           53151         665 - HAMPTON               INTERIOR DECOR             kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
CAMBRIDGE SILVERSMITHS LIMITED     PO BOX 625                             PINEBROOK                 NJ           07058-0000 30 - JANESVILLE                FLATWARE                   kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
CAMBRIDGE SILVERSMITHS LIMITED     PO BOX 625                             PINEBROOK                 NJ           07058-0000 42 - OSHKOSH                   FLATWARE                   kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
CAMBRIDGE SILVERSMITHS LIMITED     PO BOX 625                             PINEBROOK                 NJ           07058-0000 498 - ECOM-DROP SHIP           FLATWARE                   kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
CAROLINA PET COMPANY LLC (C-HUB)   90 OLD SCHOOL RD                       PROSPERITY                SC           29127         50 - FOND DU LAC            PET ACCESSORIES            kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
CAROLINA PET COMPANY LLC (C-HUB)   90 OLD SCHOOL RD                       PROSPERITY                SC           29127         85 - TAYLORSVILLE           PET ACCESSORIES            kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
CAROLINA PET COMPANY LLC (C-HUB)   90 OLD SCHOOL RD                       PROSPERITY                SC           29127         498 - ECOM-DROP SHIP        PET ACCESSORIES            kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
CHAPAL ZENRAY INCORPORATED         4435 SPRING VALLEY ROAD                DALLAS                    TX           75244-3704 498 - ECOM-DROP SHIP           JEWELRY                    kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
CHAR BROIL                         1017 FRONT AVENUE                      COLUMBUS                  GA           31902-0000 498 - ECOM-DROP SHIP           GAS GRILLS                 kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
CHAR BROIL                         1017 FRONT AVENUE                      COLUMBUS                  GA           31902-0000 563 - MAUSTON                  GAS GRILLS                 kept on the books
                                                                                                                                                           OUTDOOR CUSHIONS &         N/A - Inventory Value is not
CLASSIC ACCESSORIES INCORPORATED   PO BOX 772959                          CHICAGO                   IL           60677-0259 498 - ECOM-DROP SHIP           UMBRELLAS                  kept on the books
                                                                                                                                                           OUTDOOR CUSHIONS &         N/A - Inventory Value is not
CLASSIC ACCESSORIES INCORPORATED   PO BOX 772959                          CHICAGO                   IL           60677-0259 620 - EAGLE RIVER              UMBRELLAS                  kept on the books
                                                                                                                                                           OUTDOOR CUSHIONS &         N/A - Inventory Value is not
CLASSIC ACCESSORIES INCORPORATED   PO BOX 772959                          CHICAGO                   IL           60677-0259 680 - PERRY                    UMBRELLAS                  kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
COLEMAN COMPANY INCORPORATED       5558 RELIABLE PARKWAY                  CHICAGO                   IL           60686-0055 22 - MITCHELL                  CAMPING EQUIPMENT          kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
COLEMAN COMPANY INCORPORATED       5558 RELIABLE PARKWAY                  CHICAGO                   IL           60686-0055 30 - JANESVILLE                CAMPING EQUIPMENT          kept on the books




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                                                                                                                                                                                       N/A - Inventory Value is not
COLEMAN COMPANY INCORPORATED      5558 RELIABLE PARKWAY                    CHICAGO                   IL           60686-0055 42 - OSHKOSH                   CAMPING EQUIPMENT          kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
COLEMAN COMPANY INCORPORATED      5558 RELIABLE PARKWAY                    CHICAGO                   IL           60686-0055 78 - RAPID CITY                CAMPING EQUIPMENT          kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
COLEMAN COMPANY INCORPORATED      5558 RELIABLE PARKWAY                    CHICAGO                   IL           60686-0055 96 - REDDING                   CAMPING EQUIPMENT          kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
COLEMAN COMPANY INCORPORATED      5558 RELIABLE PARKWAY                    CHICAGO                   IL           60686-0055 104 - BRIGHAM CITY             CAMPING EQUIPMENT          kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
COLEMAN COMPANY INCORPORATED      5558 RELIABLE PARKWAY                    CHICAGO                   IL           60686-0055 498 - ECOM-DROP SHIP           CAMPING EQUIPMENT          kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
COLEMAN COMPANY INCORPORATED      5558 RELIABLE PARKWAY                    CHICAGO                   IL           60686-0055 547 - MOOSE LAKE               CAMPING EQUIPMENT          kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
COLEMAN COMPANY INCORPORATED      5558 RELIABLE PARKWAY                    CHICAGO                   IL           60686-0055 774 - LIVINGSTON               CAMPING EQUIPMENT          kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
COMFORT RESEARCH                  1719 ELIZABETH AVENUE NW                 GRAND RAPIDS              MI           49504         99 - ONALASKA               LIVING ROOM FURNITURE      kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
COMFORT RESEARCH                  1719 ELIZABETH AVENUE NW                 GRAND RAPIDS              MI           49504         179 - NORTH BRANCH          LIVING ROOM FURNITURE      kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
COMFORT RESEARCH                  1719 ELIZABETH AVENUE NW                 GRAND RAPIDS              MI           49504         498 - ECOM-DROP SHIP        LIVING ROOM FURNITURE      kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
COMFORT RESEARCH                  1719 ELIZABETH AVENUE NW                 GRAND RAPIDS              MI           49504         701 - LYONS                 LIVING ROOM FURNITURE      kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
CONCEPT ONE ACESSORIES DBA USPA   362 FIFTH AVENUE STE 903                 NEW YORK                  NY           10001         50 - FOND DU LAC            LUGGAGE                    kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
CONCEPT ONE ACESSORIES DBA USPA   362 FIFTH AVENUE STE 903                 NEW YORK                  NY           10001         498 - ECOM-DROP SHIP        LUGGAGE                    kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
COOPERS DIY LLC                   3366 N DODGE BOULEVARD                   TUCSON                    AZ           85716         498 - ECOM-DROP SHIP        GLASSWARE/BARWARE          kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
CORNER II LIMITED                 3665A ROUTE 112                          CORAM                     NY           11727         498 - ECOM-DROP SHIP        FURNITURE                  kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
CORNER II LIMITED                 3665A ROUTE 112                          CORAM                     NY           11727         789 - WAUPACA               FURNITURE                  kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
COURISTAN INCORPORATED            TWO EXECUTIVE DRIVE                      FORT LEE                  NJ           07024         498 - ECOM-DROP SHIP        RUGS                       kept on the books
                                                                                                                                                            HEATERS/HUMIDIFIERS/FA     N/A - Inventory Value is not
CRANE USA INC                     1015 HAWTHORN DRIVE                      ITASCA                    IL           60143         498 - ECOM-DROP SHIP        NS                         kept on the books
                                                                                                                                                            BABY BASICS &              N/A - Inventory Value is not
CROWN CRAFTS INCORPORATED         711 WALNUT STREET                        COMPTON                   CA           90220         15 - APPLETON               ACCESSORIES                kept on the books
                                                                                                                                                            BABY BASICS &              N/A - Inventory Value is not
CROWN CRAFTS INCORPORATED         711 WALNUT STREET                        COMPTON                   CA           90220         498 - ECOM-DROP SHIP        ACCESSORIES                kept on the books
                                                                                                                                                            PLANTERS/GRILLS/SWIM       N/A - Inventory Value is not
D & H DISTRIBUTING                2525 N 7TH STREET                        HARRISBURG                PA           17110         40 - SIOUX CITY             TOYS                       kept on the books
                                                                                                                                                            PLANTERS/GRILLS/SWIM       N/A - Inventory Value is not
D & H DISTRIBUTING                2525 N 7TH STREET                        HARRISBURG                PA           17110         178 - SUSSEX                TOYS                       kept on the books
                                                                                                                                                            PLANTERS/GRILLS/SWIM       N/A - Inventory Value is not
D & H DISTRIBUTING                2525 N 7TH STREET                        HARRISBURG                PA           17110         535 - BOWMAN                TOYS                       kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
DALE TIFFANY INCORPORATED         14765 FIRESTONE BOULEVARD                LA MIRADA                 CA           90638         498 - ECOM-DROP SHIP        FLOOR LAMPS                kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
DELTA ENTERPRISE CORPORATION      114 WEST 26TH STREET                     NEW YORK                  NY           10001         87 - OGDEN                  BABY GEAR & FURNITURE      kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
DELTA ENTERPRISE CORPORATION      114 WEST 26TH STREET                     NEW YORK                  NY           10001         114 - DULUTH                BABY GEAR & FURNITURE      kept on the books




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                                                                                                                                                                                           N/A - Inventory Value is not
DELTA ENTERPRISE CORPORATION       114 WEST 26TH STREET                        NEW YORK                  NY           10001         498 - ECOM-DROP SHIP        BABY GEAR & FURNITURE      kept on the books
                                                                                                                                                                                           N/A - Inventory Value is not
DOREL JUVENILE GROUP INCORPORATE   410 E 1ST STREET S                          WRIGHT CITY               MO           63390-9998 4 - GREEN BAY EAST             BABY GEAR & FURNITURE      kept on the books
                                                                                                                                                                                           N/A - Inventory Value is not
DOREL JUVENILE GROUP INCORPORATE   410 E 1ST STREET S                          WRIGHT CITY               MO           63390-9998 129 - SPOKANE SOUTH            BABY GEAR & FURNITURE      kept on the books
                                                                                                                                                                                           N/A - Inventory Value is not
DOREL JUVENILE GROUP INCORPORATE   410 E 1ST STREET S                          WRIGHT CITY               MO           63390-9998 498 - ECOM-DROP SHIP           BABY GEAR & FURNITURE      kept on the books
                                                                                                                                                                                           N/A - Inventory Value is not
DRIVE MEDICAL DESIGN & MANUFACTU   99 SEAVIEW BOULEVARD                        PORT WASHINGTON           NY           11050         15 - APPLETON               HOME HEALTH CARE           kept on the books
                                                                                                                                                                                           N/A - Inventory Value is not
DRIVE MEDICAL DESIGN & MANUFACTU   99 SEAVIEW BOULEVARD                        PORT WASHINGTON           NY           11050         17 - ST CLOUD WEST          HOME HEALTH CARE           kept on the books
                                                                                                                                                                                           N/A - Inventory Value is not
DRIVE MEDICAL DESIGN & MANUFACTU   99 SEAVIEW BOULEVARD                        PORT WASHINGTON           NY           11050         88 - LAYTON                 HOME HEALTH CARE           kept on the books
                                                                                                                                                                                           N/A - Inventory Value is not
DRIVE MEDICAL DESIGN & MANUFACTU   99 SEAVIEW BOULEVARD                        PORT WASHINGTON           NY           11050         90 - GRAFTON                HOME HEALTH CARE           kept on the books
                                                                                                                                                                                           N/A - Inventory Value is not
DRIVE MEDICAL DESIGN & MANUFACTU   99 SEAVIEW BOULEVARD                        PORT WASHINGTON           NY           11050         105 - OREM                  HOME HEALTH CARE           kept on the books
                                                                                                                                                                                           N/A - Inventory Value is not
DRIVE MEDICAL DESIGN & MANUFACTU   99 SEAVIEW BOULEVARD                        PORT WASHINGTON           NY           11050         498 - ECOM-DROP SHIP        HOME HEALTH CARE           kept on the books
                                                                                                                                                                                           N/A - Inventory Value is not
DRIVE MEDICAL DESIGN & MANUFACTU   99 SEAVIEW BOULEVARD                        PORT WASHINGTON           NY           11050         670 - WAYNE                 HOME HEALTH CARE           kept on the books
                                                                                                                                                                BEDDING, BATH              N/A - Inventory Value is not
E & E CO LTD DBA JLA               45875 NORTHPORT LOOP EAST                   FREMONT                   CA           94538         4 - GREEN BAY EAST          ACCESSORIES                kept on the books
                                                                                                                                                                BEDDING, BATH              N/A - Inventory Value is not
E & E CO LTD DBA JLA               45875 NORTHPORT LOOP EAST                   FREMONT                   CA           94538         18 - WEST BEND              ACCESSORIES                kept on the books
                                                                                                                                                                BEDDING, BATH              N/A - Inventory Value is not
E & E CO LTD DBA JLA               45875 NORTHPORT LOOP EAST                   FREMONT                   CA           94538         24 - EAU CLAIRE             ACCESSORIES                kept on the books
                                                                                                                                                                BEDDING, BATH              N/A - Inventory Value is not
E & E CO LTD DBA JLA               45875 NORTHPORT LOOP EAST                   FREMONT                   CA           94538         27 - RACINE                 ACCESSORIES                kept on the books
                                                                                                                                                                BEDDING, BATH              N/A - Inventory Value is not
E & E CO LTD DBA JLA               45875 NORTHPORT LOOP EAST                   FREMONT                   CA           94538         30 - JANESVILLE             ACCESSORIES                kept on the books
                                                                                                                                                                BEDDING, BATH              N/A - Inventory Value is not
E & E CO LTD DBA JLA               45875 NORTHPORT LOOP EAST                   FREMONT                   CA           94538         50 - FOND DU LAC            ACCESSORIES                kept on the books
                                                                                                                                                                BEDDING, BATH              N/A - Inventory Value is not
E & E CO LTD DBA JLA               45875 NORTHPORT LOOP EAST                   FREMONT                   CA           94538         76 - SIOUX FALLS SOUTH      ACCESSORIES                kept on the books
                                                                                                                                                                BEDDING, BATH              N/A - Inventory Value is not
E & E CO LTD DBA JLA               45875 NORTHPORT LOOP EAST                   FREMONT                   CA           94538         84 - WEST JORDAN            ACCESSORIES                kept on the books
                                                                                                                                                                BEDDING, BATH              N/A - Inventory Value is not
E & E CO LTD DBA JLA               45875 NORTHPORT LOOP EAST                   FREMONT                   CA           94538         98 - EUGENE NORTH           ACCESSORIES                kept on the books
                                                                                                                                                                BEDDING, BATH              N/A - Inventory Value is not
E & E CO LTD DBA JLA               45875 NORTHPORT LOOP EAST                   FREMONT                   CA           94538         99 - ONALASKA               ACCESSORIES                kept on the books
                                                                                                                                                                BEDDING, BATH              N/A - Inventory Value is not
E & E CO LTD DBA JLA               45875 NORTHPORT LOOP EAST                   FREMONT                   CA           94538         100 - NEENAH                ACCESSORIES                kept on the books
                                                                                                                                                                BEDDING, BATH              N/A - Inventory Value is not
E & E CO LTD DBA JLA               45875 NORTHPORT LOOP EAST                   FREMONT                   CA           94538         120 - MONROE                ACCESSORIES                kept on the books
                                                                                                                                                                BEDDING, BATH              N/A - Inventory Value is not
E & E CO LTD DBA JLA               45875 NORTHPORT LOOP EAST                   FREMONT                   CA           94538         130 - RIVER FALLS           ACCESSORIES                kept on the books
                                                                                                                                                                BEDDING, BATH              N/A - Inventory Value is not
E & E CO LTD DBA JLA               45875 NORTHPORT LOOP EAST                   FREMONT                   CA           94538         164 - DUBUQUE               ACCESSORIES                kept on the books
                                                                                                                                                                BEDDING, BATH              N/A - Inventory Value is not
E & E CO LTD DBA JLA               45875 NORTHPORT LOOP EAST                   FREMONT                   CA           94538         178 - SUSSEX                ACCESSORIES                kept on the books




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                                                                                                                                                        BEDDING, BATH               N/A - Inventory Value is not
E & E CO LTD DBA JLA             45875 NORTHPORT LOOP EAST             FREMONT                   CA           94538         498 - ECOM-DROP SHIP        ACCESSORIES                 kept on the books
                                                                                                                                                        BEDDING, BATH               N/A - Inventory Value is not
E & E CO LTD DBA JLA             45875 NORTHPORT LOOP EAST             FREMONT                   CA           94538         604 - ABBOTSFORD            ACCESSORIES                 kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
EASTSTAR SOLUTIONS LTD           11801 W FAIRVIEW AVENUE               MILWAUKEE                 WI           53226         498 - ECOM-DROP SHIP        ACTIVE SHOES                kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         1 - GREEN BAY WEST          MOVIES                      kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         2 - ASHWAUBENON             MOVIES                      kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         3 - MANITOWOC               MOVIES                      kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         4 - GREEN BAY EAST          MOVIES                      kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         5 - DE PERE                 MOVIES                      kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         7 - LA CROSSE SOUTH         MOVIES                      kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         8 - ROTHSCHILD              MOVIES                      kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         9 - MARSHFIELD              MOVIES                      kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         12 - WISCONSIN RAPIDS       MOVIES                      kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         14 - BEAVER DAM             MOVIES                      kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         15 - APPLETON               MOVIES                      kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         17 - ST CLOUD WEST          MOVIES                      kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         18 - WEST BEND              MOVIES                      kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         19 - WATERTOWN WI           MOVIES                      kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         20 - LA CROSSE NORTH        MOVIES                      kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         22 - MITCHELL               MOVIES                      kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         23 - HUTCHINSON             MOVIES                      kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         24 - EAU CLAIRE             MOVIES                      kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         25 - MARSHALL               MOVIES                      kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         26 - BELOIT                 MOVIES                      kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         27 - RACINE                 MOVIES                      kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         28 - KIMBERLY               MOVIES                      kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         29 - MADISON WEST           MOVIES                      kept on the books




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                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         30 - JANESVILLE             MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         31 - KENOSHA                MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         32 - MONONA                 MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         33 - MENASHA                MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         37 - CHIPPEWA FALLS         MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         40 - SIOUX CITY             MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         42 - OSHKOSH                MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         48 - NORFOLK                MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         50 - FOND DU LAC            MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         51 - FORT ATKINSON          MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         52 - MASON CITY             MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         53 - NORTH PLATTE           MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         54 - WATERTOWN SD           MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         55 - STEVENS POINT NORTH    MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         56 - OMAHA WEST             MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         59 - FAIRMONT               MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         60 - ALBERT LEA             MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         63 - POCATELLO              MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         76 - SIOUX FALLS SOUTH      MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         78 - RAPID CITY             MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         79 - WAUSAU                 MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         80 - MADISON NORTHEAST      MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         82 - MURRAY                 MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         83 - SANDY CITY             MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         84 - WEST JORDAN            MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         85 - TAYLORSVILLE           MOVIES                     kept on the books




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                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         87 - OGDEN                  MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         88 - LAYTON                 MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         90 - GRAFTON                MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         91 - LOGAN                  MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         92 - KENNEWICK              MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         93 - BEND                   MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         96 - REDDING                MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         97 - WEST VALLEY CITY       MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         98 - EUGENE NORTH           MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         99 - ONALASKA               MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         100 - NEENAH                MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         101 - SIOUX FALLS EAST      MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         102 - MARINETTE             MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         104 - BRIGHAM CITY          MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         105 - OREM                  MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         106 - BILLINGS              MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         108 - SPANISH FORK          MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         109 - RIVERDALE             MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         111 - SALEM                 MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         112 - HELENA                MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         113 - LACEY                 MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         114 - DULUTH                MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         116 - SHEBOYGAN             MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         119 - DIXON                 MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         120 - MONROE                MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         122 - WENATCHEE             MOVIES                     kept on the books




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                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         125 - FREEPORT              MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         127 - DELAVAN               MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         128 - KALISPELL             MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         129 - SPOKANE SOUTH         MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         130 - RIVER FALLS           MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         132 - RICE LAKE             MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         133 - BELVIDERE             MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         134 - PULLMAN               MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         164 - DUBUQUE               MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         170 - RHINELANDER           MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         171 - PLOVER                MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         172 - LINCOLN NORTHWEST     MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         175 - LINCOLN SOUTHEAST     MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         177 - SUAMICO               MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         178 - SUSSEX                MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         179 - NORTH BRANCH          MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         200 - CHINO VALLEY          MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         201 - EMMETSBURG            MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         202 - CLIFTON               MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         203 - JACKSBORO             MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         205 - DELTA                 MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         206 - ELY                   MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         207 - OLDTOWN               MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         208 - SEYMOUR               MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         209 - TULIA                 MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         211 - ESTHERVILLE           MOVIES                     kept on the books




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                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         212 - GORDON                MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         213 - LITTLEFIELD           MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         512 - ELLSWORTH             MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         520 - ALBION                MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         523 - VALENTINE             MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         526 - AFTON                 MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         532 - NEW TOWN              MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         533 - TIOGA                 MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         534 - ROLLA                 MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         535 - BOWMAN                MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         536 - ULYSSES               MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         537 - BELOIT                MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         538 - ANTHONY               MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         539 - MONAHANS              MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         540 - KERMIT                MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         541 - DALHART               MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         542 - PERRYTON              MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         543 - WOLF POINT            MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         544 - SIDNEY #2             MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         545 - MOBRIDGE              MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         546 - BURLINGTON            MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         547 - MOOSE LAKE            MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         548 - MAHNOMEN              MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         549 - HARDIN #2             MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         550 - DILLON #2             MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         551 - DEMOTTE               MOVIES                     kept on the books




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                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         552 - OAKES                 MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         553 - ABILENE               MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         554 - ANDREWS               MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         555 - MOAB                  MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         556 - PROSSER               MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         557 - NEPHI                 MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         558 - REDFIELD              MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         559 - OROFINO               MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         560 - FAIRVIEW              MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         561 - COKATO                MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         562 - STANLEY ND            MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         563 - MAUSTON               MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         564 - WEBSTER CITY          MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         565 - CHEROKEE              MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         566 - WARROAD               MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         567 - PAYNESVILLE           MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         568 - NEW PRAGUE            MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         569 - MILBANK               MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         570 - WAGNER                MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         571 - WEBSTER               MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         572 - LEADVILLE             MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         573 - RUSSELL               MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         574 - LOWELL                MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         575 - LOVINGTON             MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         576 - ALPINE                MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         577 - CANADIAN              MOVIES                     kept on the books




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                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         578 - BUENA VISTA           MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         579 - YUMA                  MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         580 - CARRINGTON            MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         581 - LISBON                MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         582 - PRESIDIO              MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         583 - BLANDING              MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         584 - BONNERS FERRY         MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         585 - MAYVILLE              MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         586 - PHILLIPSBURG          MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         587 - CLARINDA              MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         588 - BEAVER                MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         589 - CRESCO                MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         592 - COMANCHE              MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         593 - COTULLA               MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         594 - CHAMBERLAIN           MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         596 - DELL RAPIDS           MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         597 - ORD                   MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         598 - SPRINGERVILLE         MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         600 - VINTON                MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         601 - KEWAUNEE              MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         602 - OCONTO                MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         603 - PRINCETON             MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         604 - ABBOTSFORD            MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         605 - MORA                  MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         606 - CALUMET               MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         607 - SEYMOUR               MOVIES                     kept on the books




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                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         608 - BRILLION              MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         609 - KIEL                  MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         610 - ISHPEMING             MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         611 - SAINT PETER           MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         613 - WINNECONNE            MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         615 - CLINTONVILLE          MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         616 - SISTER BAY            MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         617 - WAUTOMA               MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         618 - REEDSBURG             MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         619 - ADAMS                 MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         620 - EAGLE RIVER           MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         621 - MANISTIQUE            MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         622 - WETMORE               MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         623 - IRON RIVER            MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         624 - L'ANSE                MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         625 - DYERSVILLE            MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         626 - LANCASTER             MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         627 - NEILLSVILLE           MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         628 - TWO HARBORS           MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         629 - ELY                   MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         630 - ARCADIA               MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         632 - SPOONER               MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         633 - PARK FALLS            MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         635 - SAVANNA               MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         637 - ATTICA                MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         638 - MONTICELLO            MOVIES                     kept on the books




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                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         639 - ROCKVILLE             MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         640 - TUSCOLA               MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         641 - DWIGHT                MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         642 - ALLEGAN               MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         643 - NEWAYGO               MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         644 - CLARE                 MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         646 - STANDISH              MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         647 - SYRACUSE              MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         648 - TECUMSEH              MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         649 - IMLAY CITY            MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         650 - DOWAGIAC              MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         651 - HART                  MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         652 - BROOKLYN              MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         653 - GLADWIN               MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         656 - KALKASKA              MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         658 - BEATRICE              MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         659 - AUBURN                MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         660 - CRETE                 MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         661 - WEST POINT            MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         662 - PLATTSMOUTH           MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         664 - HUMBOLDT              MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         665 - HAMPTON               MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         667 - SHELDON               MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         668 - NEW HAMPTON           MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         669 - OELWEIN               MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         670 - WAYNE                 MOVIES                     kept on the books




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                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         671 - WAUKON                MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         672 - ONEILL                MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         673 - AINSWORTH             MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         674 - CLARION               MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         675 - WINTERSET             MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         676 - CHARITON              MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         677 - ONAWA                 MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         678 - JEFFERSON             MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         679 - TOLEDO                MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         680 - PERRY                 MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         681 - IDA GROVE             MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         682 - HARLAN                MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         683 - AUDUBON               MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         684 - BLOOMFIELD            MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         685 - ELDORA                MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         686 - GLENWOOD              MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         687 - GREENFIELD (IA)       MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         689 - MOUNT AYR             MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         690 - HOLDREGE              MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         691 - OGALLALA              MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         692 - SUPERIOR              MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         693 - CLAY CENTER           MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         694 - ALLIANCE              MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         695 - BROKEN BOW            MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         696 - NORTON                MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         697 - SENECA                MOVIES                     kept on the books




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                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         698 - GOTHENBURG            MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         699 - SCOTT CITY            MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         700 - KIMBALL               MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         701 - LYONS                 MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         702 - LARNED                MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         703 - BURLINGTON            MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         704 - FALLS CITY            MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         705 - TRENTON               MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         706 - DONIPHAN              MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         707 - ALBANY                MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         708 - CARROLLTON            MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         709 - EL DORADO SPRINGS     MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         710 - GALLATIN              MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         711 - MEMPHIS               MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         716 - MT. CARMEL            MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         717 - MINERVA               MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         719 - WOODSFIELD            MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         720 - BATESVILLE            MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         729 - BRANDENBURG           MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         732 - GLENCOE               MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         733 - FERGUS FALLS          MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         734 - CAVALIER              MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         735 - AITKIN                MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         736 - VALLEY CITY           MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         737 - GRAFTON               MOVIES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         738 - PERHAM                MOVIES                     kept on the books




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                                                                                                                                                                                  N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         739 - GLENWOOD             MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         740 - MORRIS               MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         741 - RUGBY                MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         742 - EAST GRAND FORKS     MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         743 - BEULAH               MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         744 - ROSEAU               MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         745 - WINNER               MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         746 - MADISON SD           MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         747 - LUVERNE              MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         748 - PIPESTONE            MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         749 - SAINT JAMES          MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         750 - WINDOM               MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         751 - SISSETON             MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         752 - TORRINGTON           MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         753 - HOT SPRINGS          MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         755 - WHEATLAND            MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         756 - LANDER               MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         757 - BELLE FOURCHE        MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         758 - DOUGLAS              MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         759 - STURGIS              MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         760 - GREEN RIVER          MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         761 - NEWCASTLE            MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         762 - THERMOPOLIS          MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         763 - CUSTER               MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         764 - BUFFALO              MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT   3089 AIRPORT ROAD                     LACROSSE                  WI           54603         765 - MOUNTAIN VIEW        MOVIES                     kept on the books




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                                                                                                                                                                                     N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT    3089 AIRPORT ROAD                      LACROSSE                  WI           54603         766 - SHELBY                MOVIES                     kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT    3089 AIRPORT ROAD                      LACROSSE                  WI           54603         767 - WORLAND               MOVIES                     kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT    3089 AIRPORT ROAD                      LACROSSE                  WI           54603         768 - GLASGOW               MOVIES                     kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT    3089 AIRPORT ROAD                      LACROSSE                  WI           54603         769 - SIDNEY                MOVIES                     kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT    3089 AIRPORT ROAD                      LACROSSE                  WI           54603         771 - PLENTYWOOD            MOVIES                     kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT    3089 AIRPORT ROAD                      LACROSSE                  WI           54603         772 - POWELL                MOVIES                     kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT    3089 AIRPORT ROAD                      LACROSSE                  WI           54603         773 - LEWISTOWN             MOVIES                     kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT    3089 AIRPORT ROAD                      LACROSSE                  WI           54603         774 - LIVINGSTON            MOVIES                     kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT    3089 AIRPORT ROAD                      LACROSSE                  WI           54603         775 - LIBBY                 MOVIES                     kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT    3089 AIRPORT ROAD                      LACROSSE                  WI           54603         776 - GREYBULL              MOVIES                     kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT    3089 AIRPORT ROAD                      LACROSSE                  WI           54603         786 - RED OAK               MOVIES                     kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT    3089 AIRPORT ROAD                      LACROSSE                  WI           54603         788 - COLUMBUS              MOVIES                     kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT    3089 AIRPORT ROAD                      LACROSSE                  WI           54603         789 - WAUPACA               MOVIES                     kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT    3089 AIRPORT ROAD                      LACROSSE                  WI           54603         790 - STANLEY               MOVIES                     kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT    3089 AIRPORT ROAD                      LACROSSE                  WI           54603         791 - FOREST CITY           MOVIES                     kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT    3089 AIRPORT ROAD                      LACROSSE                  WI           54603         792 - TOMAHAWK              MOVIES                     kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT    3089 AIRPORT ROAD                      LACROSSE                  WI           54603         793 - MAYVILLE              MOVIES                     kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT    3089 AIRPORT ROAD                      LACROSSE                  WI           54603         794 - QUINCY                MOVIES                     kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT    3089 AIRPORT ROAD                      LACROSSE                  WI           54603         795 - SALMON                MOVIES                     kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT    3089 AIRPORT ROAD                      LACROSSE                  WI           54603         796 - KASSON                MOVIES                     kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT    3089 AIRPORT ROAD                      LACROSSE                  WI           54603         797 - WHITEFISH             MOVIES                     kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT    3089 AIRPORT ROAD                      LACROSSE                  WI           54603         798 - BALLARD               MOVIES                     kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
ECHO BRIDGE HOME ENTERTAINMENT    3089 AIRPORT ROAD                      LACROSSE                  WI           54603         799 - TREMONTON             MOVIES                     kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
EDGECRAFT CORPORATION             825 SOUTHWOOD ROAD                     AVONDALE                  PA           19311-9765 498 - ECOM-DROP SHIP           KITCHEN ELECTRICS          kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
EL TORO CARMESI LLC DBA FIT 4 U   1410 BROADWAY STE 2901                 NEW YORK                  NY           10018         498 - ECOM-DROP SHIP        SWIMWEAR                   kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
ELLERY HOLDINGS LLC               295 FIFTH AVENUE SUITE 1212            NEW YORK                  NY           10016         26 - BELOIT                 WINDOW ACCESSORIES         kept on the books




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                                                                                                                                                                                      N/A - Inventory Value is not
ELLERY HOLDINGS LLC                295 FIFTH AVENUE SUITE 1212            NEW YORK                  NY           10016         79 - WAUSAU                 WINDOW ACCESSORIES         kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
ELLERY HOLDINGS LLC                295 FIFTH AVENUE SUITE 1212            NEW YORK                  NY           10016         498 - ECOM-DROP SHIP        WINDOW ACCESSORIES         kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
ENGLEWOOD APPLIANCE COMPANY INCO   1471 PARTNERSHIP DRIVE                 GREEN BAY                 WI           54304         2 - ASHWAUBENON             KITCHEN ELECTRICS          kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
ENGLEWOOD APPLIANCE COMPANY INCO   1471 PARTNERSHIP DRIVE                 GREEN BAY                 WI           54304         14 - BEAVER DAM             KITCHEN ELECTRICS          kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
ENGLEWOOD APPLIANCE COMPANY INCO   1471 PARTNERSHIP DRIVE                 GREEN BAY                 WI           54304         26 - BELOIT                 KITCHEN ELECTRICS          kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
ENGLEWOOD APPLIANCE COMPANY INCO   1471 PARTNERSHIP DRIVE                 GREEN BAY                 WI           54304         29 - MADISON WEST           KITCHEN ELECTRICS          kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
ENGLEWOOD APPLIANCE COMPANY INCO   1471 PARTNERSHIP DRIVE                 GREEN BAY                 WI           54304         33 - MENASHA                KITCHEN ELECTRICS          kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
ENGLEWOOD APPLIANCE COMPANY INCO   1471 PARTNERSHIP DRIVE                 GREEN BAY                 WI           54304         40 - SIOUX CITY             KITCHEN ELECTRICS          kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
ENGLEWOOD APPLIANCE COMPANY INCO   1471 PARTNERSHIP DRIVE                 GREEN BAY                 WI           54304         42 - OSHKOSH                KITCHEN ELECTRICS          kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
ENGLEWOOD APPLIANCE COMPANY INCO   1471 PARTNERSHIP DRIVE                 GREEN BAY                 WI           54304         50 - FOND DU LAC            KITCHEN ELECTRICS          kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
ENGLEWOOD APPLIANCE COMPANY INCO   1471 PARTNERSHIP DRIVE                 GREEN BAY                 WI           54304         51 - FORT ATKINSON          KITCHEN ELECTRICS          kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
ENGLEWOOD APPLIANCE COMPANY INCO   1471 PARTNERSHIP DRIVE                 GREEN BAY                 WI           54304         52 - MASON CITY             KITCHEN ELECTRICS          kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
ENGLEWOOD APPLIANCE COMPANY INCO   1471 PARTNERSHIP DRIVE                 GREEN BAY                 WI           54304         56 - OMAHA WEST             KITCHEN ELECTRICS          kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
ENGLEWOOD APPLIANCE COMPANY INCO   1471 PARTNERSHIP DRIVE                 GREEN BAY                 WI           54304         60 - ALBERT LEA             KITCHEN ELECTRICS          kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
ENGLEWOOD APPLIANCE COMPANY INCO   1471 PARTNERSHIP DRIVE                 GREEN BAY                 WI           54304         76 - SIOUX FALLS SOUTH      KITCHEN ELECTRICS          kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
ENGLEWOOD APPLIANCE COMPANY INCO   1471 PARTNERSHIP DRIVE                 GREEN BAY                 WI           54304         84 - WEST JORDAN            KITCHEN ELECTRICS          kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
ENGLEWOOD APPLIANCE COMPANY INCO   1471 PARTNERSHIP DRIVE                 GREEN BAY                 WI           54304         99 - ONALASKA               KITCHEN ELECTRICS          kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
ENGLEWOOD APPLIANCE COMPANY INCO   1471 PARTNERSHIP DRIVE                 GREEN BAY                 WI           54304         100 - NEENAH                KITCHEN ELECTRICS          kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
ENGLEWOOD APPLIANCE COMPANY INCO   1471 PARTNERSHIP DRIVE                 GREEN BAY                 WI           54304         106 - BILLINGS              KITCHEN ELECTRICS          kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
ENGLEWOOD APPLIANCE COMPANY INCO   1471 PARTNERSHIP DRIVE                 GREEN BAY                 WI           54304         112 - HELENA                KITCHEN ELECTRICS          kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
ENGLEWOOD APPLIANCE COMPANY INCO   1471 PARTNERSHIP DRIVE                 GREEN BAY                 WI           54304         122 - WENATCHEE             KITCHEN ELECTRICS          kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
ENGLEWOOD APPLIANCE COMPANY INCO   1471 PARTNERSHIP DRIVE                 GREEN BAY                 WI           54304         129 - SPOKANE SOUTH         KITCHEN ELECTRICS          kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
ENGLEWOOD APPLIANCE COMPANY INCO   1471 PARTNERSHIP DRIVE                 GREEN BAY                 WI           54304         213 - LITTLEFIELD           KITCHEN ELECTRICS          kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
ENGLEWOOD APPLIANCE COMPANY INCO   1471 PARTNERSHIP DRIVE                 GREEN BAY                 WI           54304         498 - ECOM-DROP SHIP        KITCHEN ELECTRICS          kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
ENGLEWOOD APPLIANCE COMPANY INCO   1471 PARTNERSHIP DRIVE                 GREEN BAY                 WI           54304         547 - MOOSE LAKE            KITCHEN ELECTRICS          kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
ENGLEWOOD APPLIANCE COMPANY INCO   1471 PARTNERSHIP DRIVE                 GREEN BAY                 WI           54304         566 - WARROAD               KITCHEN ELECTRICS          kept on the books




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               Name of Owner                       Address1                          City                State       Zip           Location of Property    Description of Property               Value
                                                                                                                                                                                     N/A - Inventory Value is not
ENGLEWOOD APPLIANCE COMPANY INCO   1471 PARTNERSHIP DRIVE                 GREEN BAY                 WI           54304         605 - MORA                 KITCHEN ELECTRICS          kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
ENGLEWOOD APPLIANCE COMPANY INCO   1471 PARTNERSHIP DRIVE                 GREEN BAY                 WI           54304         628 - TWO HARBORS          KITCHEN ELECTRICS          kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
ENGLEWOOD APPLIANCE COMPANY INCO   1471 PARTNERSHIP DRIVE                 GREEN BAY                 WI           54304         643 - NEWAYGO              KITCHEN ELECTRICS          kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
ENGLEWOOD APPLIANCE COMPANY INCO   1471 PARTNERSHIP DRIVE                 GREEN BAY                 WI           54304         656 - KALKASKA             KITCHEN ELECTRICS          kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
ENGLEWOOD APPLIANCE COMPANY INCO   1471 PARTNERSHIP DRIVE                 GREEN BAY                 WI           54304         771 - PLENTYWOOD           KITCHEN ELECTRICS          kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
ESSENDANT CO                       1708 SOLUTIONS CENTER                  CHICAGO                   IL           60677-1007 29 - MADISON WEST             COMPUTER EQUIP/ACCES       kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
ESSENDANT CO                       1708 SOLUTIONS CENTER                  CHICAGO                   IL           60677-1007 498 - ECOM-DROP SHIP          COMPUTER EQUIP/ACCES       kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
EURO CUISINE INC                   6320 CLARA STREET                      BELL GARDENS              CA           90201         498 - ECOM-DROP SHIP       KITCHEN ELECTRICS          kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
EVENFLO JUVENILE FURNITURE COMPA   7411 SOLUTION CENTER                   CHICAGO                   IL           60677         4 - GREEN BAY EAST         BABY GEAR & FURNITURE      kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
EVENFLO JUVENILE FURNITURE COMPA   7411 SOLUTION CENTER                   CHICAGO                   IL           60677         175 - LINCOLN SOUTHEAST    BABY GEAR & FURNITURE      kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
EVENFLO JUVENILE FURNITURE COMPA   7411 SOLUTION CENTER                   CHICAGO                   IL           60677         498 - ECOM-DROP SHIP       BABY GEAR & FURNITURE      kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
EVOLUTION LIGHTING LLC             880 SW 145TH AVE SUITE 100             PEMBROKE PINES            FL           33027         2 - ASHWAUBENON            FLOOR LAMPS                kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
EVOLUTION LIGHTING LLC             880 SW 145TH AVE SUITE 100             PEMBROKE PINES            FL           33027         28 - KIMBERLY              FLOOR LAMPS                kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
EVOLUTION LIGHTING LLC             880 SW 145TH AVE SUITE 100             PEMBROKE PINES            FL           33027         129 - SPOKANE SOUTH        FLOOR LAMPS                kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
EVOLUTION LIGHTING LLC             880 SW 145TH AVE SUITE 100             PEMBROKE PINES            FL           33027         498 - ECOM-DROP SHIP       FLOOR LAMPS                kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
FASHION ACCESSORY BAZAAR STARPOI   15 WEST 34TH STREET 2ND FLOOR          NEW YORK                  NY           10001         102 - MARINETTE            BACKPACKS                  kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
FILA USA INCORPORATED              930 RIDGEBROOK ROAD STE 200            SPARKS                    MD           21152         31 - KENOSHA               ACTIVE SHOES               kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
FILA USA INCORPORATED              930 RIDGEBROOK ROAD STE 200            SPARKS                    MD           21152         50 - FOND DU LAC           ACTIVE SHOES               kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
FILA USA INCORPORATED              930 RIDGEBROOK ROAD STE 200            SPARKS                    MD           21152         498 - ECOM-DROP SHIP       ACTIVE SHOES               kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
FLASH FURNITURE DBA BELNICK        4350 BALL GROUND HIGHWAY               CANTON                    GA           30114         1 - GREEN BAY WEST         FURNITURE                  kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
FLASH FURNITURE DBA BELNICK        4350 BALL GROUND HIGHWAY               CANTON                    GA           30114         4 - GREEN BAY EAST         FURNITURE                  kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
FLASH FURNITURE DBA BELNICK        4350 BALL GROUND HIGHWAY               CANTON                    GA           30114         8 - ROTHSCHILD             FURNITURE                  kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
FLASH FURNITURE DBA BELNICK        4350 BALL GROUND HIGHWAY               CANTON                    GA           30114         15 - APPLETON              FURNITURE                  kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
FLASH FURNITURE DBA BELNICK        4350 BALL GROUND HIGHWAY               CANTON                    GA           30114         17 - ST CLOUD WEST         FURNITURE                  kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
FLASH FURNITURE DBA BELNICK        4350 BALL GROUND HIGHWAY               CANTON                    GA           30114         23 - HUTCHINSON            FURNITURE                  kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
FLASH FURNITURE DBA BELNICK        4350 BALL GROUND HIGHWAY               CANTON                    GA           30114         50 - FOND DU LAC           FURNITURE                  kept on the books




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             Name of Owner                    Address1                           City               State       Zip            Location of Property    Description of Property          Value
                                                                                                                                                                            N/A - Inventory Value is not
FLASH FURNITURE DBA BELNICK   4350 BALL GROUND HIGHWAY               CANTON                    GA           30114         56 - OMAHA WEST             FURNITURE             kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
FLASH FURNITURE DBA BELNICK   4350 BALL GROUND HIGHWAY               CANTON                    GA           30114         111 - SALEM                 FURNITURE             kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
FLASH FURNITURE DBA BELNICK   4350 BALL GROUND HIGHWAY               CANTON                    GA           30114         114 - DULUTH                FURNITURE             kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
FLASH FURNITURE DBA BELNICK   4350 BALL GROUND HIGHWAY               CANTON                    GA           30114         119 - DIXON                 FURNITURE             kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
FLASH FURNITURE DBA BELNICK   4350 BALL GROUND HIGHWAY               CANTON                    GA           30114         130 - RIVER FALLS           FURNITURE             kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
FLASH FURNITURE DBA BELNICK   4350 BALL GROUND HIGHWAY               CANTON                    GA           30114         178 - SUSSEX                FURNITURE             kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
FLASH FURNITURE DBA BELNICK   4350 BALL GROUND HIGHWAY               CANTON                    GA           30114         498 - ECOM-DROP SHIP        FURNITURE             kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
FLASH FURNITURE DBA BELNICK   4350 BALL GROUND HIGHWAY               CANTON                    GA           30114         574 - LOWELL                FURNITURE             kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
FLASH FURNITURE DBA BELNICK   4350 BALL GROUND HIGHWAY               CANTON                    GA           30114         603 - PRINCETON             FURNITURE             kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
FLASH FURNITURE DBA BELNICK   4350 BALL GROUND HIGHWAY               CANTON                    GA           30114         618 - REEDSBURG             FURNITURE             kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
FLASH FURNITURE DBA BELNICK   4350 BALL GROUND HIGHWAY               CANTON                    GA           30114         656 - KALKASKA              FURNITURE             kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
FLASH FURNITURE DBA BELNICK   4350 BALL GROUND HIGHWAY               CANTON                    GA           30114         681 - IDA GROVE             FURNITURE             kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
FOUNDATIONS WORLDWIDE INC     305 LAKE ROAD                          MEDINA                    OH           44256         48 - NORFOLK                BABY GEAR & FURNITURE kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
FOUNDATIONS WORLDWIDE INC     305 LAKE ROAD                          MEDINA                    OH           44256         80 - MADISON NORTHEAST      BABY GEAR & FURNITURE kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
FOUNDATIONS WORLDWIDE INC     305 LAKE ROAD                          MEDINA                    OH           44256         498 - ECOM-DROP SHIP        BABY GEAR & FURNITURE kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
FRAGRANCENET COM              900 GRAND BOULEVARD                    DEER PARK                 NY           11729         7 - LA CROSSE SOUTH         HAIR CARE, FRAGRANCES kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
FRAGRANCENET COM              900 GRAND BOULEVARD                    DEER PARK                 NY           11729         17 - ST CLOUD WEST          HAIR CARE, FRAGRANCES kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
FRAGRANCENET COM              900 GRAND BOULEVARD                    DEER PARK                 NY           11729         22 - MITCHELL               HAIR CARE, FRAGRANCES kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
FRAGRANCENET COM              900 GRAND BOULEVARD                    DEER PARK                 NY           11729         87 - OGDEN                  HAIR CARE, FRAGRANCES kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
FRAGRANCENET COM              900 GRAND BOULEVARD                    DEER PARK                 NY           11729         105 - OREM                  HAIR CARE, FRAGRANCES kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
FRAGRANCENET COM              900 GRAND BOULEVARD                    DEER PARK                 NY           11729         125 - FREEPORT              HAIR CARE, FRAGRANCES kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
FRAGRANCENET COM              900 GRAND BOULEVARD                    DEER PARK                 NY           11729         127 - DELAVAN               HAIR CARE, FRAGRANCES kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
FRAGRANCENET COM              900 GRAND BOULEVARD                    DEER PARK                 NY           11729         170 - RHINELANDER           HAIR CARE, FRAGRANCES kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
FRAGRANCENET COM              900 GRAND BOULEVARD                    DEER PARK                 NY           11729         498 - ECOM-DROP SHIP        HAIR CARE, FRAGRANCES kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
FRAGRANCENET COM              900 GRAND BOULEVARD                    DEER PARK                 NY           11729         544 - SIDNEY #2             HAIR CARE, FRAGRANCES kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
FRAGRANCENET COM              900 GRAND BOULEVARD                    DEER PARK                 NY           11729         676 - CHARITON              HAIR CARE, FRAGRANCES kept on the books




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            Name of Owner                        Address1                          City               State       Zip            Location of Property    Description of Property          Value
                                                                                                                                                                              N/A - Inventory Value is not
FRAGRANCENET COM               900 GRAND BOULEVARD                     DEER PARK                 NY           11729         709 - EL DORADO SPRINGS     HAIR CARE, FRAGRANCES kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
FRAGRANCENET COM               900 GRAND BOULEVARD                     DEER PARK                 NY           11729         729 - BRANDENBURG           HAIR CARE, FRAGRANCES kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
FRAGRANCENET COM               900 GRAND BOULEVARD                     DEER PARK                 NY           11729         759 - STURGIS               HAIR CARE, FRAGRANCES kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
FRAGRANCENET COM               900 GRAND BOULEVARD                     DEER PARK                 NY           11729         796 - KASSON                HAIR CARE, FRAGRANCES kept on the books
                                                                                                                                                        SPORT GAMES, TEAM     N/A - Inventory Value is not
FRANKLIN SPORTS INCORPORATED   17 CAMPANELLI PARKWAY                   STOUGHTON                 MA           02072-0508 29 - MADISON WEST              COLLECTIBLES          kept on the books
                                                                                                                                                        SPORT GAMES, TEAM     N/A - Inventory Value is not
FRANKLIN SPORTS INCORPORATED   17 CAMPANELLI PARKWAY                   STOUGHTON                 MA           02072-0508 50 - FOND DU LAC               COLLECTIBLES          kept on the books
                                                                                                                                                        SPORT GAMES, TEAM     N/A - Inventory Value is not
FRANKLIN SPORTS INCORPORATED   17 CAMPANELLI PARKWAY                   STOUGHTON                 MA           02072-0508 130 - RIVER FALLS              COLLECTIBLES          kept on the books
                                                                                                                                                        SPORT GAMES, TEAM     N/A - Inventory Value is not
FRANKLIN SPORTS INCORPORATED   17 CAMPANELLI PARKWAY                   STOUGHTON                 MA           02072-0508 178 - SUSSEX                   COLLECTIBLES          kept on the books
                                                                                                                                                        SPORT GAMES, TEAM     N/A - Inventory Value is not
FRANKLIN SPORTS INCORPORATED   17 CAMPANELLI PARKWAY                   STOUGHTON                 MA           02072-0508 498 - ECOM-DROP SHIP           COLLECTIBLES          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
FREE COUNTRY LIMITED           1071 AVENUE OF THE AMERICAS 9TH FL      NEW YORK                  NY           10018         498 - ECOM-DROP SHIP        SWIMWEAR, OUTERWEAR kept on the books
                                                                                                                                                        PILLOWS, PADS &       N/A - Inventory Value is not
FUTURE FOAM INC                1610 AVENUE N                           COUNCIL BLUFFS            IA           51501         498 - ECOM-DROP SHIP        PROTECTORS            kept on the books
                                                                                                                                                        OUTDOOR PLANTS,       N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC     230 MARY AVENUE                         GREENDALE                 IN           47025         1 - GREEN BAY WEST          FLOWERS               kept on the books
                                                                                                                                                        OUTDOOR PLANTS,       N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC     230 MARY AVENUE                         GREENDALE                 IN           47025         2 - ASHWAUBENON             FLOWERS               kept on the books
                                                                                                                                                        OUTDOOR PLANTS,       N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC     230 MARY AVENUE                         GREENDALE                 IN           47025         3 - MANITOWOC               FLOWERS               kept on the books
                                                                                                                                                        OUTDOOR PLANTS,       N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC     230 MARY AVENUE                         GREENDALE                 IN           47025         4 - GREEN BAY EAST          FLOWERS               kept on the books
                                                                                                                                                        OUTDOOR PLANTS,       N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC     230 MARY AVENUE                         GREENDALE                 IN           47025         5 - DE PERE                 FLOWERS               kept on the books
                                                                                                                                                        OUTDOOR PLANTS,       N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC     230 MARY AVENUE                         GREENDALE                 IN           47025         7 - LA CROSSE SOUTH         FLOWERS               kept on the books
                                                                                                                                                        OUTDOOR PLANTS,       N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC     230 MARY AVENUE                         GREENDALE                 IN           47025         8 - ROTHSCHILD              FLOWERS               kept on the books
                                                                                                                                                        OUTDOOR PLANTS,       N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC     230 MARY AVENUE                         GREENDALE                 IN           47025         9 - MARSHFIELD              FLOWERS               kept on the books
                                                                                                                                                        OUTDOOR PLANTS,       N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC     230 MARY AVENUE                         GREENDALE                 IN           47025         12 - WISCONSIN RAPIDS       FLOWERS               kept on the books
                                                                                                                                                        OUTDOOR PLANTS,       N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC     230 MARY AVENUE                         GREENDALE                 IN           47025         14 - BEAVER DAM             FLOWERS               kept on the books
                                                                                                                                                        OUTDOOR PLANTS,       N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC     230 MARY AVENUE                         GREENDALE                 IN           47025         15 - APPLETON               FLOWERS               kept on the books
                                                                                                                                                        OUTDOOR PLANTS,       N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC     230 MARY AVENUE                         GREENDALE                 IN           47025         17 - ST CLOUD WEST          FLOWERS               kept on the books
                                                                                                                                                        OUTDOOR PLANTS,       N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC     230 MARY AVENUE                         GREENDALE                 IN           47025         18 - WEST BEND              FLOWERS               kept on the books
                                                                                                                                                        OUTDOOR PLANTS,       N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC     230 MARY AVENUE                         GREENDALE                 IN           47025         19 - WATERTOWN WI           FLOWERS               kept on the books
                                                                                                                                                        OUTDOOR PLANTS,       N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC     230 MARY AVENUE                         GREENDALE                 IN           47025         20 - LA CROSSE NORTH        FLOWERS               kept on the books




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            Name of Owner                      Address1                      City                State       Zip            Location of Property     Description of Property               Value
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         22 - MITCHELL               FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         23 - HUTCHINSON             FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         24 - EAU CLAIRE             FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         25 - MARSHALL               FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         26 - BELOIT                 FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         27 - RACINE                 FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         28 - KIMBERLY               FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         29 - MADISON WEST           FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         30 - JANESVILLE             FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         31 - KENOSHA                FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         32 - MONONA                 FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         33 - MENASHA                FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         37 - CHIPPEWA FALLS         FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         40 - SIOUX CITY             FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         42 - OSHKOSH                FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         48 - NORFOLK                FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         50 - FOND DU LAC            FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         51 - FORT ATKINSON          FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         52 - MASON CITY             FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         53 - NORTH PLATTE           FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         54 - WATERTOWN SD           FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         55 - STEVENS POINT NORTH    FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         56 - OMAHA WEST             FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         59 - FAIRMONT               FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         60 - ALBERT LEA             FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         63 - POCATELLO              FLOWERS                     kept on the books




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                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         76 - SIOUX FALLS SOUTH      FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         78 - RAPID CITY             FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         79 - WAUSAU                 FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         80 - MADISON NORTHEAST      FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         82 - MURRAY                 FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         83 - SANDY CITY             FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         87 - OGDEN                  FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         90 - GRAFTON                FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         91 - LOGAN                  FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         92 - KENNEWICK              FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         93 - BEND                   FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         96 - REDDING                FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         97 - WEST VALLEY CITY       FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         98 - EUGENE NORTH           FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         99 - ONALASKA               FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         100 - NEENAH                FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         101 - SIOUX FALLS EAST      FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         102 - MARINETTE             FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         104 - BRIGHAM CITY          FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         105 - OREM                  FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         106 - BILLINGS              FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         108 - SPANISH FORK          FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         109 - RIVERDALE             FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         112 - HELENA                FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         114 - DULUTH                FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         116 - SHEBOYGAN             FLOWERS                     kept on the books




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                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         119 - DIXON                 FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         120 - MONROE                FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         122 - WENATCHEE             FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         125 - FREEPORT              FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         127 - DELAVAN               FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         128 - KALISPELL             FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         129 - SPOKANE SOUTH         FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         130 - RIVER FALLS           FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         132 - RICE LAKE             FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         133 - BELVIDERE             FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         134 - PULLMAN               FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         164 - DUBUQUE               FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         170 - RHINELANDER           FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         171 - PLOVER                FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         172 - LINCOLN NORTHWEST     FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         175 - LINCOLN SOUTHEAST     FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         177 - SUAMICO               FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         179 - NORTH BRANCH          FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         201 - EMMETSBURG            FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         207 - OLDTOWN               FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         211 - ESTHERVILLE           FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         212 - GORDON                FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         512 - ELLSWORTH             FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         520 - ALBION                FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         523 - VALENTINE             FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         526 - AFTON                 FLOWERS                     kept on the books




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                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         534 - ROLLA                 FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         535 - BOWMAN                FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         536 - ULYSSES               FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         537 - BELOIT                FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         538 - ANTHONY               FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         540 - KERMIT                FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         541 - DALHART               FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         542 - PERRYTON              FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         543 - WOLF POINT            FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         545 - MOBRIDGE              FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         546 - BURLINGTON            FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         547 - MOOSE LAKE            FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         548 - MAHNOMEN              FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         549 - HARDIN #2             FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         550 - DILLON #2             FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         551 - DEMOTTE               FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         552 - OAKES                 FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         554 - ANDREWS               FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         555 - MOAB                  FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         557 - NEPHI                 FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         558 - REDFIELD              FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         559 - OROFINO               FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         560 - FAIRVIEW              FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         561 - COKATO                FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         562 - STANLEY ND            FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         563 - MAUSTON               FLOWERS                     kept on the books




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                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         564 - WEBSTER CITY          FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         565 - CHEROKEE              FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         566 - WARROAD               FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         567 - PAYNESVILLE           FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         568 - NEW PRAGUE            FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         569 - MILBANK               FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         571 - WEBSTER               FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         573 - RUSSELL               FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         574 - LOWELL                FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         576 - ALPINE                FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         577 - CANADIAN              FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         578 - BUENA VISTA           FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         579 - YUMA                  FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         580 - CARRINGTON            FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         581 - LISBON                FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         583 - BLANDING              FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         584 - BONNERS FERRY         FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         585 - MAYVILLE              FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         586 - PHILLIPSBURG          FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         587 - CLARINDA              FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         588 - BEAVER                FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         589 - CRESCO                FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         592 - COMANCHE              FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         594 - CHAMBERLAIN           FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         596 - DELL RAPIDS           FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         597 - ORD                   FLOWERS                     kept on the books




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                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         600 - VINTON                FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         601 - KEWAUNEE              FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         602 - OCONTO                FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         604 - ABBOTSFORD            FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         605 - MORA                  FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         606 - CALUMET               FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         607 - SEYMOUR               FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         608 - BRILLION              FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         609 - KIEL                  FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         611 - SAINT PETER           FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         613 - WINNECONNE            FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         615 - CLINTONVILLE          FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         616 - SISTER BAY            FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         617 - WAUTOMA               FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         618 - REEDSBURG             FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         619 - ADAMS                 FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         620 - EAGLE RIVER           FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         621 - MANISTIQUE            FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         624 - L'ANSE                FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         625 - DYERSVILLE            FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         626 - LANCASTER             FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         627 - NEILLSVILLE           FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         628 - TWO HARBORS           FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         629 - ELY                   FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         630 - ARCADIA               FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         632 - SPOONER               FLOWERS                     kept on the books




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                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         633 - PARK FALLS            FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         635 - SAVANNA               FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         637 - ATTICA                FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         639 - ROCKVILLE             FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         640 - TUSCOLA               FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         641 - DWIGHT                FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         642 - ALLEGAN               FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         643 - NEWAYGO               FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         644 - CLARE                 FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         646 - STANDISH              FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         647 - SYRACUSE              FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         648 - TECUMSEH              FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         649 - IMLAY CITY            FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         650 - DOWAGIAC              FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         651 - HART                  FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         652 - BROOKLYN              FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         653 - GLADWIN               FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         656 - KALKASKA              FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         658 - BEATRICE              FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         659 - AUBURN                FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         660 - CRETE                 FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         661 - WEST POINT            FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         662 - PLATTSMOUTH           FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         664 - HUMBOLDT              FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         665 - HAMPTON               FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         667 - SHELDON               FLOWERS                     kept on the books




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                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         668 - NEW HAMPTON           FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         669 - OELWEIN               FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         670 - WAYNE                 FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         671 - WAUKON                FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         672 - ONEILL                FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         673 - AINSWORTH             FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         674 - CLARION               FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         675 - WINTERSET             FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         676 - CHARITON              FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         677 - ONAWA                 FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         678 - JEFFERSON             FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         679 - TOLEDO                FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         680 - PERRY                 FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         681 - IDA GROVE             FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         682 - HARLAN                FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         683 - AUDUBON               FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         684 - BLOOMFIELD            FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         685 - ELDORA                FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         686 - GLENWOOD              FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         687 - GREENFIELD (IA)       FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         688 - MISSOURI VALLEY       FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         689 - MOUNT AYR             FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         690 - HOLDREGE              FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         691 - OGALLALA              FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         692 - SUPERIOR              FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         694 - ALLIANCE              FLOWERS                     kept on the books




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                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         695 - BROKEN BOW            FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         696 - NORTON                FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         697 - SENECA                FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         698 - GOTHENBURG            FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         700 - KIMBALL               FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         702 - LARNED                FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         703 - BURLINGTON            FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         704 - FALLS CITY            FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         705 - TRENTON               FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         706 - DONIPHAN              FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         708 - CARROLLTON            FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         709 - EL DORADO SPRINGS     FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         710 - GALLATIN              FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         711 - MEMPHIS               FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         716 - MT. CARMEL            FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         717 - MINERVA               FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         719 - WOODSFIELD            FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         720 - BATESVILLE            FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         732 - GLENCOE               FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         734 - CAVALIER              FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         735 - AITKIN                FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         736 - VALLEY CITY           FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         737 - GRAFTON               FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         738 - PERHAM                FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         739 - GLENWOOD              FLOWERS                     kept on the books
                                                                                                                                                   OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         740 - MORRIS                FLOWERS                     kept on the books




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                                                                                                                                                  OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         741 - RUGBY                FLOWERS                     kept on the books
                                                                                                                                                  OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         742 - EAST GRAND FORKS     FLOWERS                     kept on the books
                                                                                                                                                  OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         743 - BEULAH               FLOWERS                     kept on the books
                                                                                                                                                  OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         744 - ROSEAU               FLOWERS                     kept on the books
                                                                                                                                                  OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         745 - WINNER               FLOWERS                     kept on the books
                                                                                                                                                  OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         746 - MADISON SD           FLOWERS                     kept on the books
                                                                                                                                                  OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         747 - LUVERNE              FLOWERS                     kept on the books
                                                                                                                                                  OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         748 - PIPESTONE            FLOWERS                     kept on the books
                                                                                                                                                  OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         749 - SAINT JAMES          FLOWERS                     kept on the books
                                                                                                                                                  OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         750 - WINDOM               FLOWERS                     kept on the books
                                                                                                                                                  OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         751 - SISSETON             FLOWERS                     kept on the books
                                                                                                                                                  OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         752 - TORRINGTON           FLOWERS                     kept on the books
                                                                                                                                                  OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         753 - HOT SPRINGS          FLOWERS                     kept on the books
                                                                                                                                                  OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         755 - WHEATLAND            FLOWERS                     kept on the books
                                                                                                                                                  OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         756 - LANDER               FLOWERS                     kept on the books
                                                                                                                                                  OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         757 - BELLE FOURCHE        FLOWERS                     kept on the books
                                                                                                                                                  OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         758 - DOUGLAS              FLOWERS                     kept on the books
                                                                                                                                                  OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         759 - STURGIS              FLOWERS                     kept on the books
                                                                                                                                                  OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         760 - GREEN RIVER          FLOWERS                     kept on the books
                                                                                                                                                  OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         761 - NEWCASTLE            FLOWERS                     kept on the books
                                                                                                                                                  OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         762 - THERMOPOLIS          FLOWERS                     kept on the books
                                                                                                                                                  OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         763 - CUSTER               FLOWERS                     kept on the books
                                                                                                                                                  OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         764 - BUFFALO              FLOWERS                     kept on the books
                                                                                                                                                  OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         765 - MOUNTAIN VIEW        FLOWERS                     kept on the books
                                                                                                                                                  OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         766 - SHELBY               FLOWERS                     kept on the books
                                                                                                                                                  OUTDOOR PLANTS,             N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC   230 MARY AVENUE                      GREENDALE                 IN           47025         767 - WORLAND              FLOWERS                     kept on the books




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                                                                                                                                                         OUTDOOR PLANTS,       N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC       230 MARY AVENUE                        GREENDALE                 IN           47025         768 - GLASGOW               FLOWERS               kept on the books
                                                                                                                                                         OUTDOOR PLANTS,       N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC       230 MARY AVENUE                        GREENDALE                 IN           47025         769 - SIDNEY                FLOWERS               kept on the books
                                                                                                                                                         OUTDOOR PLANTS,       N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC       230 MARY AVENUE                        GREENDALE                 IN           47025         771 - PLENTYWOOD            FLOWERS               kept on the books
                                                                                                                                                         OUTDOOR PLANTS,       N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC       230 MARY AVENUE                        GREENDALE                 IN           47025         772 - POWELL                FLOWERS               kept on the books
                                                                                                                                                         OUTDOOR PLANTS,       N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC       230 MARY AVENUE                        GREENDALE                 IN           47025         773 - LEWISTOWN             FLOWERS               kept on the books
                                                                                                                                                         OUTDOOR PLANTS,       N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC       230 MARY AVENUE                        GREENDALE                 IN           47025         774 - LIVINGSTON            FLOWERS               kept on the books
                                                                                                                                                         OUTDOOR PLANTS,       N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC       230 MARY AVENUE                        GREENDALE                 IN           47025         775 - LIBBY                 FLOWERS               kept on the books
                                                                                                                                                         OUTDOOR PLANTS,       N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC       230 MARY AVENUE                        GREENDALE                 IN           47025         776 - GREYBULL              FLOWERS               kept on the books
                                                                                                                                                         OUTDOOR PLANTS,       N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC       230 MARY AVENUE                        GREENDALE                 IN           47025         786 - RED OAK               FLOWERS               kept on the books
                                                                                                                                                         OUTDOOR PLANTS,       N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC       230 MARY AVENUE                        GREENDALE                 IN           47025         788 - COLUMBUS              FLOWERS               kept on the books
                                                                                                                                                         OUTDOOR PLANTS,       N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC       230 MARY AVENUE                        GREENDALE                 IN           47025         789 - WAUPACA               FLOWERS               kept on the books
                                                                                                                                                         OUTDOOR PLANTS,       N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC       230 MARY AVENUE                        GREENDALE                 IN           47025         790 - STANLEY               FLOWERS               kept on the books
                                                                                                                                                         OUTDOOR PLANTS,       N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC       230 MARY AVENUE                        GREENDALE                 IN           47025         791 - FOREST CITY           FLOWERS               kept on the books
                                                                                                                                                         OUTDOOR PLANTS,       N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC       230 MARY AVENUE                        GREENDALE                 IN           47025         792 - TOMAHAWK              FLOWERS               kept on the books
                                                                                                                                                         OUTDOOR PLANTS,       N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC       230 MARY AVENUE                        GREENDALE                 IN           47025         793 - MAYVILLE              FLOWERS               kept on the books
                                                                                                                                                         OUTDOOR PLANTS,       N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC       230 MARY AVENUE                        GREENDALE                 IN           47025         795 - SALMON                FLOWERS               kept on the books
                                                                                                                                                         OUTDOOR PLANTS,       N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC       230 MARY AVENUE                        GREENDALE                 IN           47025         796 - KASSON                FLOWERS               kept on the books
                                                                                                                                                         OUTDOOR PLANTS,       N/A - Inventory Value is not
GARDENS ALIVE LM FARMS LLC       230 MARY AVENUE                        GREENDALE                 IN           47025         799 - TREMONTON             FLOWERS               kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
GENEVA WATCH GROUP               PO BOX 73343                           CLEVELAND                 OH           44193         498 - ECOM-DROP SHIP        TEAM WATCHES          kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
GRACO CHILDRENS PRODUCTS         29 EAST STEPHENSON STREET              FREEPORT                  IL           61032         27 - RACINE                 BABY GEAR & FURNITURE kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
GRACO CHILDRENS PRODUCTS         29 EAST STEPHENSON STREET              FREEPORT                  IL           61032         52 - MASON CITY             BABY GEAR & FURNITURE kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
GRACO CHILDRENS PRODUCTS         29 EAST STEPHENSON STREET              FREEPORT                  IL           61032         498 - ECOM-DROP SHIP        BABY GEAR & FURNITURE kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
GREAT AMERICAN PRODUCTS INCORP   1661 S SEGUIN AVENUE FM 725            NEW BRAUNFELS             TX           78130         498 - ECOM-DROP SHIP        GLASSWARE/BARWARE     kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
GREAT BAY HOME (C HUB)           44 INDUSTRIAL PARK DRIVE               DOVER                     NH           03820         37 - CHIPPEWA FALLS         BEDDING               kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
GREAT BAY HOME (C HUB)           44 INDUSTRIAL PARK DRIVE               DOVER                     NH           03820         76 - SIOUX FALLS SOUTH      BEDDING               kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
GREAT BAY HOME (C HUB)           44 INDUSTRIAL PARK DRIVE               DOVER                     NH           03820         83 - SANDY CITY             BEDDING               kept on the books




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                                                                                                                                                                                    N/A - Inventory Value is not
GREAT BAY HOME (C HUB)           44 INDUSTRIAL PARK DRIVE               DOVER                     NH           03820         99 - ONALASKA               BEDDING                    kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
GREAT BAY HOME (C HUB)           44 INDUSTRIAL PARK DRIVE               DOVER                     NH           03820         178 - SUSSEX                BEDDING                    kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
GREAT BAY HOME (C HUB)           44 INDUSTRIAL PARK DRIVE               DOVER                     NH           03820         498 - ECOM-DROP SHIP        BEDDING                    kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
GREAT BAY HOME (C HUB)           44 INDUSTRIAL PARK DRIVE               DOVER                     NH           03820         520 - ALBION                BEDDING                    kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
GREAT BAY HOME (C HUB)           44 INDUSTRIAL PARK DRIVE               DOVER                     NH           03820         561 - COKATO                BEDDING                    kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
GREAT BAY HOME (C HUB)           44 INDUSTRIAL PARK DRIVE               DOVER                     NH           03820         611 - SAINT PETER           BEDDING                    kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
GREEN MOUNTAIN COFFEE ROASTERS   15622 COLLECTION CENTER DRIVE          CHICAGO                   IL           60693         17 - ST CLOUD WEST          SINGLE SERVE BREWERS       kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
GREEN MOUNTAIN COFFEE ROASTERS   15622 COLLECTION CENTER DRIVE          CHICAGO                   IL           60693         498 - ECOM-DROP SHIP        SINGLE SERVE BREWERS       kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
GREEN MOUNTAIN COFFEE ROASTERS   15622 COLLECTION CENTER DRIVE          CHICAGO                   IL           60693         737 - GRAFTON               SINGLE SERVE BREWERS       kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
GRENDENE USA INC                 2481 PRINCIPAL ROW STE 300             ORLANDA                   FL           32837         28 - KIMBERLY               ACTIVE SHOES               kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
GRENDENE USA INC                 2481 PRINCIPAL ROW STE 300             ORLANDA                   FL           32837         29 - MADISON WEST           ACTIVE SHOES               kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
GRENDENE USA INC                 2481 PRINCIPAL ROW STE 300             ORLANDA                   FL           32837         50 - FOND DU LAC            ACTIVE SHOES               kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
GRENDENE USA INC                 2481 PRINCIPAL ROW STE 300             ORLANDA                   FL           32837         498 - ECOM-DROP SHIP        ACTIVE SHOES               kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
GROUP III INTERNATIONAL LTD      2981 W MCNAB ROAD SUITE 1              POMPANO BEACH             FL           33069         498 - ECOM-DROP SHIP        LUGGAGE                    kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
GUIDECRAFT INCORPORATED          55508 HIGHWAY 19                       WINTHROP                  MN           55396         498 - ECOM-DROP SHIP        BABY/TODDLER TOYS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
HAMILTON BEACH PROCTOR SILEX     4421 WATERFRONT DRIVE                  GLEN ALLEN                VA           23060         56 - OMAHA WEST             KITCHEN ELECTRICS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
HAMILTON BEACH PROCTOR SILEX     4421 WATERFRONT DRIVE                  GLEN ALLEN                VA           23060         175 - LINCOLN SOUTHEAST     KITCHEN ELECTRICS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
HEALTHSMART INTERNATIONAL        1931 NORMAN DRIVE                      WAUKEGAN                  IL           60085         9 - MARSHFIELD              HEALTH AIDS                kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
HEALTHSMART INTERNATIONAL        1931 NORMAN DRIVE                      WAUKEGAN                  IL           60085         15 - APPLETON               HEALTH AIDS                kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
HEALTHSMART INTERNATIONAL        1931 NORMAN DRIVE                      WAUKEGAN                  IL           60085         50 - FOND DU LAC            HEALTH AIDS                kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
HEALTHSMART INTERNATIONAL        1931 NORMAN DRIVE                      WAUKEGAN                  IL           60085         90 - GRAFTON                HEALTH AIDS                kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
HEALTHSMART INTERNATIONAL        1931 NORMAN DRIVE                      WAUKEGAN                  IL           60085         209 - TULIA                 HEALTH AIDS                kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
HEALTHSMART INTERNATIONAL        1931 NORMAN DRIVE                      WAUKEGAN                  IL           60085         498 - ECOM-DROP SHIP        HEALTH AIDS                kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
HICKORY BRANDS INC (CHUB)        PO BOX 429                             HICKORY                   NC           286030429 498 - ECOM-DROP SHIP            FOOTCARE                   kept on the books
                                                                                                                                                         STORAGE &                  N/A - Inventory Value is not
HONEY CAN DO                     5300 ST CHARLES ROAD                   BERKELEY                  IL           60163-1344 2 - ASHWAUBENON                ORGANIZATION               kept on the books
                                                                                                                                                         STORAGE &                  N/A - Inventory Value is not
HONEY CAN DO                     5300 ST CHARLES ROAD                   BERKELEY                  IL           60163-1344 3 - MANITOWOC                  ORGANIZATION               kept on the books




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                                                                                                                                                           STORAGE &                   N/A - Inventory Value is not
HONEY CAN DO                       5300 ST CHARLES ROAD                   BERKELEY                  IL           60163-1344 4 - GREEN BAY EAST             ORGANIZATION                kept on the books
                                                                                                                                                           STORAGE &                   N/A - Inventory Value is not
HONEY CAN DO                       5300 ST CHARLES ROAD                   BERKELEY                  IL           60163-1344 17 - ST CLOUD WEST             ORGANIZATION                kept on the books
                                                                                                                                                           STORAGE &                   N/A - Inventory Value is not
HONEY CAN DO                       5300 ST CHARLES ROAD                   BERKELEY                  IL           60163-1344 18 - WEST BEND                 ORGANIZATION                kept on the books
                                                                                                                                                           STORAGE &                   N/A - Inventory Value is not
HONEY CAN DO                       5300 ST CHARLES ROAD                   BERKELEY                  IL           60163-1344 29 - MADISON WEST              ORGANIZATION                kept on the books
                                                                                                                                                           STORAGE &                   N/A - Inventory Value is not
HONEY CAN DO                       5300 ST CHARLES ROAD                   BERKELEY                  IL           60163-1344 50 - FOND DU LAC               ORGANIZATION                kept on the books
                                                                                                                                                           STORAGE &                   N/A - Inventory Value is not
HONEY CAN DO                       5300 ST CHARLES ROAD                   BERKELEY                  IL           60163-1344 56 - OMAHA WEST                ORGANIZATION                kept on the books
                                                                                                                                                           STORAGE &                   N/A - Inventory Value is not
HONEY CAN DO                       5300 ST CHARLES ROAD                   BERKELEY                  IL           60163-1344 80 - MADISON NORTHEAST         ORGANIZATION                kept on the books
                                                                                                                                                           STORAGE &                   N/A - Inventory Value is not
HONEY CAN DO                       5300 ST CHARLES ROAD                   BERKELEY                  IL           60163-1344 113 - LACEY                    ORGANIZATION                kept on the books
                                                                                                                                                           STORAGE &                   N/A - Inventory Value is not
HONEY CAN DO                       5300 ST CHARLES ROAD                   BERKELEY                  IL           60163-1344 498 - ECOM-DROP SHIP           ORGANIZATION                kept on the books
                                                                                                                                                           STORAGE &                   N/A - Inventory Value is not
HONEY CAN DO                       5300 ST CHARLES ROAD                   BERKELEY                  IL           60163-1344 620 - EAGLE RIVER              ORGANIZATION                kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
HUFFY BICYCLES                     PO BOX 500517                          ST LOUIS                  MO           63150         498 - ECOM-DROP SHIP        BIKES & ACCESSORIES         kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
IENJOY HOME                        2021 SUNNYDALE BLVD SUITE 130          CLEARWATER                FL           33765         50 - FOND DU LAC            BEDDING                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
IENJOY HOME                        2021 SUNNYDALE BLVD SUITE 130          CLEARWATER                FL           33765         56 - OMAHA WEST             BEDDING                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
IENJOY HOME                        2021 SUNNYDALE BLVD SUITE 130          CLEARWATER                FL           33765         83 - SANDY CITY             BEDDING                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
IENJOY HOME                        2021 SUNNYDALE BLVD SUITE 130          CLEARWATER                FL           33765         98 - EUGENE NORTH           BEDDING                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
IENJOY HOME                        2021 SUNNYDALE BLVD SUITE 130          CLEARWATER                FL           33765         116 - SHEBOYGAN             BEDDING                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
IENJOY HOME                        2021 SUNNYDALE BLVD SUITE 130          CLEARWATER                FL           33765         132 - RICE LAKE             BEDDING                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
IENJOY HOME                        2021 SUNNYDALE BLVD SUITE 130          CLEARWATER                FL           33765         175 - LINCOLN SOUTHEAST     BEDDING                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
IENJOY HOME                        2021 SUNNYDALE BLVD SUITE 130          CLEARWATER                FL           33765         498 - ECOM-DROP SHIP        BEDDING                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
IENJOY HOME                        2021 SUNNYDALE BLVD SUITE 130          CLEARWATER                FL           33765         604 - ABBOTSFORD            BEDDING                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
IMPEX INCORPORATED                 2801 S TOWN AVENUE                     POMONA                    CA           91766-0000 60 - ALBERT LEA                EXERCISE EQUIPMENT          kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
IMPEX INCORPORATED                 2801 S TOWN AVENUE                     POMONA                    CA           91766-0000 498 - ECOM-DROP SHIP           EXERCISE EQUIPMENT          kept on the books
                                                                                                                                                           TV, TABLETS, HOME           N/A - Inventory Value is not
INGRAM MICRO                       1759 WEHRLE DRIVE                      WILLIAMSVILLE             NY           14221-7887 543 - WOLF POINT               THEATER                     kept on the books
                                                                                                                                                           PILLOWS, PADS &             N/A - Inventory Value is not
INNOCOR INC                        75 REMITTANCE DRIVE STE 3034           CHICAGO                   IL           60675-3034 177 - SUAMICO                  PROTECTORS                  kept on the books
                                                                                                                                                           PILLOWS, PADS &             N/A - Inventory Value is not
INNOCOR INC                        75 REMITTANCE DRIVE STE 3034           CHICAGO                   IL           60675-3034 498 - ECOM-DROP SHIP           PROTECTORS                  kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
INTERNATIONAL BULLION & METAL BR   14051 NW 14TH STREET STE 3             SUNRISE                   FL           33323         498 - ECOM-DROP SHIP        JEWELRY                     kept on the books




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                                                                                                                                                                                   N/A - Inventory Value is not
JAYDEN STAR LLC               385 FIFTH AVENUE STE 507                 NEW YORK                  NY           10016         498 - ECOM-DROP SHIP        JEWELRY                    kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
JEM ART INC (C-HUB)           2575 SOUTH PARK ROAD                     PEMBROKE PARK             FL           33009         3 - MANITOWOC               WALL ART                   kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
JEM ART INC (C-HUB)           2575 SOUTH PARK ROAD                     PEMBROKE PARK             FL           33009         8 - ROTHSCHILD              WALL ART                   kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
JEM ART INC (C-HUB)           2575 SOUTH PARK ROAD                     PEMBROKE PARK             FL           33009         31 - KENOSHA                WALL ART                   kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
JEM ART INC (C-HUB)           2575 SOUTH PARK ROAD                     PEMBROKE PARK             FL           33009         50 - FOND DU LAC            WALL ART                   kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
JEM ART INC (C-HUB)           2575 SOUTH PARK ROAD                     PEMBROKE PARK             FL           33009         78 - RAPID CITY             WALL ART                   kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
JEM ART INC (C-HUB)           2575 SOUTH PARK ROAD                     PEMBROKE PARK             FL           33009         79 - WAUSAU                 WALL ART                   kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
JEM ART INC (C-HUB)           2575 SOUTH PARK ROAD                     PEMBROKE PARK             FL           33009         83 - SANDY CITY             WALL ART                   kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
JEM ART INC (C-HUB)           2575 SOUTH PARK ROAD                     PEMBROKE PARK             FL           33009         92 - KENNEWICK              WALL ART                   kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
JEM ART INC (C-HUB)           2575 SOUTH PARK ROAD                     PEMBROKE PARK             FL           33009         164 - DUBUQUE               WALL ART                   kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
JEM ART INC (C-HUB)           2575 SOUTH PARK ROAD                     PEMBROKE PARK             FL           33009         171 - PLOVER                WALL ART                   kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
JEM ART INC (C-HUB)           2575 SOUTH PARK ROAD                     PEMBROKE PARK             FL           33009         498 - ECOM-DROP SHIP        WALL ART                   kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
JEM ART INC (C-HUB)           2575 SOUTH PARK ROAD                     PEMBROKE PARK             FL           33009         733 - FERGUS FALLS          WALL ART                   kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
JEWETT CAMERON COMPANY        PO BOX 1010                              NORTH PLAINS              OR           97133         498 - ECOM-DROP SHIP        PET ACCESSORIES            kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
JEWETT CAMERON COMPANY        PO BOX 1010                              NORTH PLAINS              OR           97133         593 - COTULLA               PET ACCESSORIES            kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
JEWETT CAMERON COMPANY        PO BOX 1010                              NORTH PLAINS              OR           97133         705 - TRENTON               PET ACCESSORIES            kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
JOSMO SHOES                   601 59TH STREET                          WEST NEW YORK             NJ           07093         28 - KIMBERLY               ACTIVE SHOES               kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
JOSMO SHOES                   601 59TH STREET                          WEST NEW YORK             NJ           07093         498 - ECOM-DROP SHIP        ACTIVE SHOES               kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
KETTLER INTERNATIONAL INC     1355 LONDON BRIDGE ROAD                  VIRGINIA BEACH            VA           23453         50 - FOND DU LAC            BABY/TODDLER TOYS          kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
KETTLER INTERNATIONAL INC     1355 LONDON BRIDGE ROAD                  VIRGINIA BEACH            VA           23453         498 - ECOM-DROP SHIP        BABY/TODDLER TOYS          kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
KIDKRAFT LP                   4630 OLIN ROAD                           DALLAS                    TX           75244         15 - APPLETON               EDUCATIONAL TOYS           kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
KIDKRAFT LP                   4630 OLIN ROAD                           DALLAS                    TX           75244         26 - BELOIT                 EDUCATIONAL TOYS           kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
KIDKRAFT LP                   4630 OLIN ROAD                           DALLAS                    TX           75244         50 - FOND DU LAC            EDUCATIONAL TOYS           kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
KIDKRAFT LP                   4630 OLIN ROAD                           DALLAS                    TX           75244         60 - ALBERT LEA             EDUCATIONAL TOYS           kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
KIDKRAFT LP                   4630 OLIN ROAD                           DALLAS                    TX           75244         111 - SALEM                 EDUCATIONAL TOYS           kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
KIDKRAFT LP                   4630 OLIN ROAD                           DALLAS                    TX           75244         498 - ECOM-DROP SHIP        EDUCATIONAL TOYS           kept on the books




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                                                                                                                                                                                       N/A - Inventory Value is not
KIDKRAFT LP                        4630 OLIN ROAD                           DALLAS                    TX           75244         540 - KERMIT               EDUCATIONAL TOYS           kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
KIDKRAFT LP                        4630 OLIN ROAD                           DALLAS                    TX           75244         605 - MORA                 EDUCATIONAL TOYS           kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
KIDKRAFT LP                        4630 OLIN ROAD                           DALLAS                    TX           75244         690 - HOLDREGE             EDUCATIONAL TOYS           kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
KIDKRAFT LP                        4630 OLIN ROAD                           DALLAS                    TX           75244         697 - SENECA               EDUCATIONAL TOYS           kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
KIDKRAFT LP                        4630 OLIN ROAD                           DALLAS                    TX           75244         793 - MAYVILLE             EDUCATIONAL TOYS           kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
KIDS II INCORPORATED               555 NORTH POINT CENTER EAST STE 600      ALPHARETTA                GA           30022-8234 15 - APPLETON                 BABY GEAR & FURNITURE      kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
KIDS II INCORPORATED               555 NORTH POINT CENTER EAST STE 600      ALPHARETTA                GA           30022-8234 42 - OSHKOSH                  BABY GEAR & FURNITURE      kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
KIDS II INCORPORATED               555 NORTH POINT CENTER EAST STE 600      ALPHARETTA                GA           30022-8234 102 - MARINETTE               BABY GEAR & FURNITURE      kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
KIDS II INCORPORATED               555 NORTH POINT CENTER EAST STE 600      ALPHARETTA                GA           30022-8234 134 - PULLMAN                 BABY GEAR & FURNITURE      kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
KIDS II INCORPORATED               555 NORTH POINT CENTER EAST STE 600      ALPHARETTA                GA           30022-8234 498 - ECOM-DROP SHIP          BABY GEAR & FURNITURE      kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
KOLCRAFT ENTERPRISE INCORPORATED   1100 WEST MONROE STREET                  CHICAGO                   IL           60607         498 - ECOM-DROP SHIP       BABY GEAR & FURNITURE      kept on the books
                                                                                                                                                            OUTDOOR
                                                                                                                                                            GAMES/TOYS/ACCESSORIE      N/A - Inventory Value is not
KSH BRANDS LLC (C-HUB)             2 MILL STREET                            CORNWALL                  NY           12518         99 - ONALASKA              S                          kept on the books
                                                                                                                                                            OUTDOOR
                                                                                                                                                            GAMES/TOYS/ACCESSORIE      N/A - Inventory Value is not
KSH BRANDS LLC (C-HUB)             2 MILL STREET                            CORNWALL                  NY           12518         100 - NEENAH               S                          kept on the books
                                                                                                                                                            OUTDOOR
                                                                                                                                                            GAMES/TOYS/ACCESSORIE N/A - Inventory Value is not
KSH BRANDS LLC (C-HUB)             2 MILL STREET                            CORNWALL                  NY           12518         498 - ECOM-DROP SHIP       S                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
L POWELL ACQUISITION CORP          22 JERICHO TURNPIKE # 200                MINEOLA                   NY           11501-0000 90 - GRAFTON                  FURNITURE             kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
L POWELL ACQUISITION CORP          22 JERICHO TURNPIKE # 200                MINEOLA                   NY           11501-0000 113 - LACEY                   FURNITURE             kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
L POWELL ACQUISITION CORP          22 JERICHO TURNPIKE # 200                MINEOLA                   NY           11501-0000 498 - ECOM-DROP SHIP          FURNITURE             kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
LAMO SHEEPSKIN INC                 4238 GREEN RIVER RD                      CORONA                    CA           92880         80 - MADISON NORTHEAST     SLIPPERS              kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
LAMO SHEEPSKIN INC                 4238 GREEN RIVER RD                      CORONA                    CA           92880         116 - SHEBOYGAN            SLIPPERS              kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
LAMO SHEEPSKIN INC                 4238 GREEN RIVER RD                      CORONA                    CA           92880         498 - ECOM-DROP SHIP       SLIPPERS              kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
LAMO SHEEPSKIN INC                 4238 GREEN RIVER RD                      CORONA                    CA           92880         653 - GLADWIN              SLIPPERS              kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
LAMO SHEEPSKIN INC                 4238 GREEN RIVER RD                      CORONA                    CA           92880         679 - TOLEDO               SLIPPERS              kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
LEARNING RESOURCES                 380 N FAIRWAY DRIVE                      VERNON HILLS              IL           60061         498 - ECOM-DROP SHIP       GAMES, CRAFTS         kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
LIFESTYLE SOLUTIONS                6955 MOWRY AVENUE                        NEWARK                    CA           94560         23 - HUTCHINSON            LIVING ROOM FURNITURE kept on the books




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                                                                                                                                                                                   N/A - Inventory Value is not
LIFESTYLE SOLUTIONS                6955 MOWRY AVENUE                        NEWARK                    CA           94560         498 - ECOM-DROP SHIP        LIVING ROOM FURNITURE kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
LINON HOME DECOR PRODUCTS INCORP   PO BOX 1408                              CULVER CITY               CA           90232-1408 18 - WEST BEND                 FURNITURE             kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
LINON HOME DECOR PRODUCTS INCORP   PO BOX 1408                              CULVER CITY               CA           90232-1408 24 - EAU CLAIRE                FURNITURE             kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
LINON HOME DECOR PRODUCTS INCORP   PO BOX 1408                              CULVER CITY               CA           90232-1408 25 - MARSHALL                  FURNITURE             kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
LINON HOME DECOR PRODUCTS INCORP   PO BOX 1408                              CULVER CITY               CA           90232-1408 50 - FOND DU LAC               FURNITURE             kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
LINON HOME DECOR PRODUCTS INCORP   PO BOX 1408                              CULVER CITY               CA           90232-1408 78 - RAPID CITY                FURNITURE             kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
LINON HOME DECOR PRODUCTS INCORP   PO BOX 1408                              CULVER CITY               CA           90232-1408 87 - OGDEN                     FURNITURE             kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
LINON HOME DECOR PRODUCTS INCORP   PO BOX 1408                              CULVER CITY               CA           90232-1408 91 - LOGAN                     FURNITURE             kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
LINON HOME DECOR PRODUCTS INCORP   PO BOX 1408                              CULVER CITY               CA           90232-1408 100 - NEENAH                   FURNITURE             kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
LINON HOME DECOR PRODUCTS INCORP   PO BOX 1408                              CULVER CITY               CA           90232-1408 101 - SIOUX FALLS EAST         FURNITURE             kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
LINON HOME DECOR PRODUCTS INCORP   PO BOX 1408                              CULVER CITY               CA           90232-1408 106 - BILLINGS                 FURNITURE             kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
LINON HOME DECOR PRODUCTS INCORP   PO BOX 1408                              CULVER CITY               CA           90232-1408 108 - SPANISH FORK             FURNITURE             kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
LINON HOME DECOR PRODUCTS INCORP   PO BOX 1408                              CULVER CITY               CA           90232-1408 498 - ECOM-DROP SHIP           FURNITURE             kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
LINON HOME DECOR PRODUCTS INCORP   PO BOX 1408                              CULVER CITY               CA           90232-1408 646 - STANDISH                 FURNITURE             kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
LIPPER INTERNATIONAL INCORPORATE   PO BOX 5017                              WALLINGFORD               NJ           06492         498 - ECOM-DROP SHIP        FURNITURE             kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
LOLLY TOGS FRENCH TOAST            100 W 33RD STREET SUITE 1012             NEW YORK                  NY           10001         29 - MADISON WEST           CHILDREN'S CLOTHING   kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
LOLLY TOGS FRENCH TOAST            100 W 33RD STREET SUITE 1012             NEW YORK                  NY           10001         50 - FOND DU LAC            CHILDREN'S CLOTHING   kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
LOLLY TOGS FRENCH TOAST            100 W 33RD STREET SUITE 1012             NEW YORK                  NY           10001         130 - RIVER FALLS           CHILDREN'S CLOTHING   kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
LOLLY TOGS FRENCH TOAST            100 W 33RD STREET SUITE 1012             NEW YORK                  NY           10001         498 - ECOM-DROP SHIP        CHILDREN'S CLOTHING   kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
LOLLY TOGS FRENCH TOAST            100 W 33RD STREET SUITE 1012             NEW YORK                  NY           10001         675 - WINTERSET             CHILDREN'S CLOTHING   kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
LOLLY TOGS FRENCH TOAST            100 W 33RD STREET SUITE 1012             NEW YORK                  NY           10001         708 - CARROLLTON            CHILDREN'S CLOTHING   kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
LONGLAT INC                        23 CAROL STREET                          CLIFTON                   NJ           07014         498 - ECOM-DROP SHIP        LUGGAGE               kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
LOS ANGELES GEM & JEWELRY          659 S BROADWAY 7TH FLOOR                 LOS ANGELES               CA           90014         498 - ECOM-DROP SHIP        JEWELRY               kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
LUMISOURCE LLC                     2950 OLD HIGGINS ROAD                    ELK GROVE VILLAGE         IL           60007         498 - ECOM-DROP SHIP        FURNITURE             kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
LUXCOM INC (CHUB)                  1212 6TH AVE SUITE 2304                  NEW YORK                  NY           10036         498 - ECOM-DROP SHIP        JEWELRY               kept on the books
                                                                                                                                                             STORAGE &             N/A - Inventory Value is not
LYNK INCORPORATED                  8241 MELROSE DRIVE                       SHAWNEE MISSION           KS           66214         498 - ECOM-DROP SHIP        ORGANIZATION          kept on the books




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                                                                                                                                                                                    N/A - Inventory Value is not
MAGFORMERS LLC                 44125 FORD ROAD                          CANTON                    MI           48187         498 - ECOM-DROP SHIP        BABY/TODDLER TOYS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MELE JEWEL BOX                 2007 BEECHGROVE PLACE                    UTICA                     NY           135011703 498 - ECOM-DROP SHIP            JEWELRY                    kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MELISSA & DOUG LLC             PO BOX 590                               WESTPORT                  CT           06881         17 - ST CLOUD WEST          TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MELISSA & DOUG LLC             PO BOX 590                               WESTPORT                  CT           06881         22 - MITCHELL               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MELISSA & DOUG LLC             PO BOX 590                               WESTPORT                  CT           06881         23 - HUTCHINSON             TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MELISSA & DOUG LLC             PO BOX 590                               WESTPORT                  CT           06881         27 - RACINE                 TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MELISSA & DOUG LLC             PO BOX 590                               WESTPORT                  CT           06881         48 - NORFOLK                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MELISSA & DOUG LLC             PO BOX 590                               WESTPORT                  CT           06881         50 - FOND DU LAC            TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MELISSA & DOUG LLC             PO BOX 590                               WESTPORT                  CT           06881         56 - OMAHA WEST             TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MELISSA & DOUG LLC             PO BOX 590                               WESTPORT                  CT           06881         76 - SIOUX FALLS SOUTH      TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MELISSA & DOUG LLC             PO BOX 590                               WESTPORT                  CT           06881         80 - MADISON NORTHEAST      TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MELISSA & DOUG LLC             PO BOX 590                               WESTPORT                  CT           06881         83 - SANDY CITY             TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MELISSA & DOUG LLC             PO BOX 590                               WESTPORT                  CT           06881         85 - TAYLORSVILLE           TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MELISSA & DOUG LLC             PO BOX 590                               WESTPORT                  CT           06881         101 - SIOUX FALLS EAST      TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MELISSA & DOUG LLC             PO BOX 590                               WESTPORT                  CT           06881         164 - DUBUQUE               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MELISSA & DOUG LLC             PO BOX 590                               WESTPORT                  CT           06881         498 - ECOM-DROP SHIP        TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MELISSA & DOUG LLC             PO BOX 590                               WESTPORT                  CT           06881         556 - PROSSER               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MELISSA & DOUG LLC             PO BOX 590                               WESTPORT                  CT           06881         574 - LOWELL                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MELISSA & DOUG LLC             PO BOX 590                               WESTPORT                  CT           06881         750 - WINDOM                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MERRY PRODUCTS CORP (CHUB)     120 WEST BEAVER CREEK                    RICHMOND HILL             ON           L4B 1L2       498 - ECOM-DROP SHIP        PET ACCESSORIES            kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
METAL FUSION INC               712 ST GEORGE STREET                     JEFFERSON                 LA           70121         498 - ECOM-DROP SHIP        GAS GRILLS                 kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MEYER CORPORATION FARBERWARE   1 MEYER PLAZA                            VALLEJO                   CA           94590         28 - KIMBERLY               COOKWARE/BAKEWARE          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MEYER CORPORATION FARBERWARE   1 MEYER PLAZA                            VALLEJO                   CA           94590         50 - FOND DU LAC            COOKWARE/BAKEWARE          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MEYER CORPORATION FARBERWARE   1 MEYER PLAZA                            VALLEJO                   CA           94590         55 - STEVENS POINT NORTH    COOKWARE/BAKEWARE          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MEYER CORPORATION FARBERWARE   1 MEYER PLAZA                            VALLEJO                   CA           94590         60 - ALBERT LEA             COOKWARE/BAKEWARE          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MEYER CORPORATION FARBERWARE   1 MEYER PLAZA                            VALLEJO                   CA           94590         83 - SANDY CITY             COOKWARE/BAKEWARE          kept on the books




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                                                                                                                                                                                        N/A - Inventory Value is not
MEYER CORPORATION FARBERWARE       1 MEYER PLAZA                            VALLEJO                   CA           94590         92 - KENNEWICK              COOKWARE/BAKEWARE          kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
MEYER CORPORATION FARBERWARE       1 MEYER PLAZA                            VALLEJO                   CA           94590         111 - SALEM                 COOKWARE/BAKEWARE          kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
MEYER CORPORATION FARBERWARE       1 MEYER PLAZA                            VALLEJO                   CA           94590         133 - BELVIDERE             COOKWARE/BAKEWARE          kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
MEYER CORPORATION FARBERWARE       1 MEYER PLAZA                            VALLEJO                   CA           94590         171 - PLOVER                COOKWARE/BAKEWARE          kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
MEYER CORPORATION FARBERWARE       1 MEYER PLAZA                            VALLEJO                   CA           94590         498 - ECOM-DROP SHIP        COOKWARE/BAKEWARE          kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
MEYER CORPORATION FARBERWARE       1 MEYER PLAZA                            VALLEJO                   CA           94590         615 - CLINTONVILLE          COOKWARE/BAKEWARE          kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
MGA ENTERTAINMENT                  2180 BARLOW ROAD                         HUDSON                    OH           44236         29 - MADISON WEST           BABY/TODDLER TOYS          kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
MGA ENTERTAINMENT                  2180 BARLOW ROAD                         HUDSON                    OH           44236         80 - MADISON NORTHEAST      BABY/TODDLER TOYS          kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
MGA ENTERTAINMENT                  2180 BARLOW ROAD                         HUDSON                    OH           44236         102 - MARINETTE             BABY/TODDLER TOYS          kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
MGA ENTERTAINMENT                  2180 BARLOW ROAD                         HUDSON                    OH           44236         498 - ECOM-DROP SHIP        BABY/TODDLER TOYS          kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
MILESTONE CLOTHING RESOURCES LLC   17905 SKY PARK CIRCLE BLDG 25 STE G      IRVINE                    CA           92614-0000 498 - ECOM-DROP SHIP           HUNTING APPAREL            kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT           2445 NEVADA AVENUE NORTH                 MINNEAPOLIS               MN           55427         1 - GREEN BAY WEST          MOVIES                     kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT           2445 NEVADA AVENUE NORTH                 MINNEAPOLIS               MN           55427         2 - ASHWAUBENON             MOVIES                     kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT           2445 NEVADA AVENUE NORTH                 MINNEAPOLIS               MN           55427         3 - MANITOWOC               MOVIES                     kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT           2445 NEVADA AVENUE NORTH                 MINNEAPOLIS               MN           55427         4 - GREEN BAY EAST          MOVIES                     kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT           2445 NEVADA AVENUE NORTH                 MINNEAPOLIS               MN           55427         5 - DE PERE                 MOVIES                     kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT           2445 NEVADA AVENUE NORTH                 MINNEAPOLIS               MN           55427         7 - LA CROSSE SOUTH         MOVIES                     kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT           2445 NEVADA AVENUE NORTH                 MINNEAPOLIS               MN           55427         8 - ROTHSCHILD              MOVIES                     kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT           2445 NEVADA AVENUE NORTH                 MINNEAPOLIS               MN           55427         9 - MARSHFIELD              MOVIES                     kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT           2445 NEVADA AVENUE NORTH                 MINNEAPOLIS               MN           55427         12 - WISCONSIN RAPIDS       MOVIES                     kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT           2445 NEVADA AVENUE NORTH                 MINNEAPOLIS               MN           55427         14 - BEAVER DAM             MOVIES                     kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT           2445 NEVADA AVENUE NORTH                 MINNEAPOLIS               MN           55427         15 - APPLETON               MOVIES                     kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT           2445 NEVADA AVENUE NORTH                 MINNEAPOLIS               MN           55427         17 - ST CLOUD WEST          MOVIES                     kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT           2445 NEVADA AVENUE NORTH                 MINNEAPOLIS               MN           55427         18 - WEST BEND              MOVIES                     kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT           2445 NEVADA AVENUE NORTH                 MINNEAPOLIS               MN           55427         19 - WATERTOWN WI           MOVIES                     kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT           2445 NEVADA AVENUE NORTH                 MINNEAPOLIS               MN           55427         20 - LA CROSSE NORTH        MOVIES                     kept on the books




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                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         22 - MITCHELL               MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         23 - HUTCHINSON             MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         24 - EAU CLAIRE             MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         25 - MARSHALL               MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         26 - BELOIT                 MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         27 - RACINE                 MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         28 - KIMBERLY               MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         29 - MADISON WEST           MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         30 - JANESVILLE             MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         31 - KENOSHA                MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         32 - MONONA                 MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         33 - MENASHA                MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         37 - CHIPPEWA FALLS         MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         40 - SIOUX CITY             MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         48 - NORFOLK                MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         50 - FOND DU LAC            MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         51 - FORT ATKINSON          MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         52 - MASON CITY             MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         53 - NORTH PLATTE           MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         54 - WATERTOWN SD           MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         55 - STEVENS POINT NORTH    MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         56 - OMAHA WEST             MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         59 - FAIRMONT               MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         60 - ALBERT LEA             MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         63 - POCATELLO              MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         76 - SIOUX FALLS SOUTH      MOVIES                     kept on the books




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                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         78 - RAPID CITY             MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         79 - WAUSAU                 MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         80 - MADISON NORTHEAST      MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         82 - MURRAY                 MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         83 - SANDY CITY             MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         84 - WEST JORDAN            MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         85 - TAYLORSVILLE           MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         87 - OGDEN                  MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         88 - LAYTON                 MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         90 - GRAFTON                MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         91 - LOGAN                  MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         92 - KENNEWICK              MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         93 - BEND                   MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         96 - REDDING                MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         97 - WEST VALLEY CITY       MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         98 - EUGENE NORTH           MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         99 - ONALASKA               MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         100 - NEENAH                MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         101 - SIOUX FALLS EAST      MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         102 - MARINETTE             MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         104 - BRIGHAM CITY          MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         105 - OREM                  MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         106 - BILLINGS              MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         108 - SPANISH FORK          MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         109 - RIVERDALE             MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         111 - SALEM                 MOVIES                     kept on the books




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                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         112 - HELENA                MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         113 - LACEY                 MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         114 - DULUTH                MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         116 - SHEBOYGAN             MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         119 - DIXON                 MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         120 - MONROE                MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         122 - WENATCHEE             MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         125 - FREEPORT              MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         127 - DELAVAN               MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         128 - KALISPELL             MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         129 - SPOKANE SOUTH         MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         130 - RIVER FALLS           MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         132 - RICE LAKE             MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         133 - BELVIDERE             MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         134 - PULLMAN               MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         164 - DUBUQUE               MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         170 - RHINELANDER           MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         171 - PLOVER                MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         172 - LINCOLN NORTHWEST     MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         175 - LINCOLN SOUTHEAST     MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         177 - SUAMICO               MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         178 - SUSSEX                MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         179 - NORTH BRANCH          MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         501 - LEDGEVIEW             MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         502 - HOWARD                MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         503 - PORT WASHINGTON       MOVIES                     kept on the books




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                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         504 - APPLETON EAST         MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         505 - APPLETON NORTH        MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         523 - VALENTINE             MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         526 - AFTON                 MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         528 - ROUNDUP RX            MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         532 - NEW TOWN              MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         534 - ROLLA                 MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         535 - BOWMAN                MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         536 - ULYSSES               MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         538 - ANTHONY               MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         539 - MONAHANS              MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         540 - KERMIT                MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         541 - DALHART               MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         542 - PERRYTON              MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         543 - WOLF POINT            MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         544 - SIDNEY #2             MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         545 - MOBRIDGE              MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         546 - BURLINGTON            MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         547 - MOOSE LAKE            MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         548 - MAHNOMEN              MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         549 - HARDIN #2             MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         550 - DILLON #2             MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         551 - DEMOTTE               MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         553 - ABILENE               MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         554 - ANDREWS               MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         557 - NEPHI                 MOVIES                     kept on the books




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                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         558 - REDFIELD              MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         560 - FAIRVIEW              MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         561 - COKATO                MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         562 - STANLEY ND            MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         563 - MAUSTON               MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         564 - WEBSTER CITY          MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         565 - CHEROKEE              MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         566 - WARROAD               MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         568 - NEW PRAGUE            MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         569 - MILBANK               MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         570 - WAGNER                MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         571 - WEBSTER               MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         572 - LEADVILLE             MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         573 - RUSSELL               MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         574 - LOWELL                MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         575 - LOVINGTON             MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         576 - ALPINE                MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         577 - CANADIAN              MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         578 - BUENA VISTA           MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         579 - YUMA                  MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         580 - CARRINGTON            MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         581 - LISBON                MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         582 - PRESIDIO              MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         583 - BLANDING              MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         601 - KEWAUNEE              MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         602 - OCONTO                MOVIES                     kept on the books




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                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         603 - PRINCETON             MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         604 - ABBOTSFORD            MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         605 - MORA                  MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         606 - CALUMET               MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         607 - SEYMOUR               MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         608 - BRILLION              MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         609 - KIEL                  MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         610 - ISHPEMING             MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         611 - SAINT PETER           MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         613 - WINNECONNE            MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         615 - CLINTONVILLE          MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         616 - SISTER BAY            MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         617 - WAUTOMA               MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         618 - REEDSBURG             MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         619 - ADAMS                 MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         620 - EAGLE RIVER           MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         621 - MANISTIQUE            MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         622 - WETMORE               MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         623 - IRON RIVER            MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         624 - L'ANSE                MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         625 - DYERSVILLE            MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         626 - LANCASTER             MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         627 - NEILLSVILLE           MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         628 - TWO HARBORS           MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         629 - ELY                   MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         630 - ARCADIA               MOVIES                     kept on the books




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                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         632 - SPOONER               MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         633 - PARK FALLS            MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         635 - SAVANNA               MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         637 - ATTICA                MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         638 - MONTICELLO            MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         639 - ROCKVILLE             MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         640 - TUSCOLA               MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         641 - DWIGHT                MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         642 - ALLEGAN               MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         643 - NEWAYGO               MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         644 - CLARE                 MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         646 - STANDISH              MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         647 - SYRACUSE              MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         648 - TECUMSEH              MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         649 - IMLAY CITY            MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         650 - DOWAGIAC              MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         651 - HART                  MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         652 - BROOKLYN              MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         653 - GLADWIN               MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         656 - KALKASKA              MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         658 - BEATRICE              MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         659 - AUBURN                MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         660 - CRETE                 MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         661 - WEST POINT            MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         662 - PLATTSMOUTH           MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         664 - HUMBOLDT              MOVIES                     kept on the books




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                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         665 - HAMPTON               MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         667 - SHELDON               MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         668 - NEW HAMPTON           MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         669 - OELWEIN               MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         670 - WAYNE                 MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         671 - WAUKON                MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         672 - ONEILL                MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         673 - AINSWORTH             MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         674 - CLARION               MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         675 - WINTERSET             MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         676 - CHARITON              MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         677 - ONAWA                 MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         679 - TOLEDO                MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         680 - PERRY                 MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         681 - IDA GROVE             MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         682 - HARLAN                MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         683 - AUDUBON               MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         685 - ELDORA                MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         686 - GLENWOOD              MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         687 - GREENFIELD (IA)       MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         689 - MOUNT AYR             MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         690 - HOLDREGE              MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         691 - OGALLALA              MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         692 - SUPERIOR              MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         694 - ALLIANCE              MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         695 - BROKEN BOW            MOVIES                     kept on the books




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                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         696 - NORTON                MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         697 - SENECA                MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         698 - GOTHENBURG            MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         700 - KIMBALL               MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         701 - LYONS                 MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         702 - LARNED                MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         703 - BURLINGTON            MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         704 - FALLS CITY            MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         705 - TRENTON               MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         706 - DONIPHAN              MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         707 - ALBANY                MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         708 - CARROLLTON            MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         709 - EL DORADO SPRINGS     MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         710 - GALLATIN              MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         711 - MEMPHIS               MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         716 - MT. CARMEL            MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         717 - MINERVA               MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         719 - WOODSFIELD            MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         720 - BATESVILLE            MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         729 - BRANDENBURG           MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         732 - GLENCOE               MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         733 - FERGUS FALLS          MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         734 - CAVALIER              MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         735 - AITKIN                MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         736 - VALLEY CITY           MOVIES                     kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         737 - GRAFTON               MOVIES                     kept on the books




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                                                                                                                                                                            N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         738 - PERHAM               MOVIES                     kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         739 - GLENWOOD             MOVIES                     kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         740 - MORRIS               MOVIES                     kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         741 - RUGBY                MOVIES                     kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         742 - EAST GRAND FORKS     MOVIES                     kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         743 - BEULAH               MOVIES                     kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         744 - ROSEAU               MOVIES                     kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         745 - WINNER               MOVIES                     kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         746 - MADISON SD           MOVIES                     kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         747 - LUVERNE              MOVIES                     kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         748 - PIPESTONE            MOVIES                     kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         749 - SAINT JAMES          MOVIES                     kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         750 - WINDOM               MOVIES                     kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         751 - SISSETON             MOVIES                     kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         752 - TORRINGTON           MOVIES                     kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         753 - HOT SPRINGS          MOVIES                     kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         755 - WHEATLAND            MOVIES                     kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         756 - LANDER               MOVIES                     kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         757 - BELLE FOURCHE        MOVIES                     kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         758 - DOUGLAS              MOVIES                     kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         759 - STURGIS              MOVIES                     kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         760 - GREEN RIVER          MOVIES                     kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         761 - NEWCASTLE            MOVIES                     kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         762 - THERMOPOLIS          MOVIES                     kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         763 - CUSTER               MOVIES                     kept on the books
                                                                                                                                                                            N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT    2445 NEVADA AVENUE NORTH             MINNEAPOLIS               MN           55427         764 - BUFFALO              MOVIES                     kept on the books




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                                                                                                                                                                                  N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT        2445 NEVADA AVENUE NORTH              MINNEAPOLIS               MN           55427         765 - MOUNTAIN VIEW         MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT        2445 NEVADA AVENUE NORTH              MINNEAPOLIS               MN           55427         766 - SHELBY                MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT        2445 NEVADA AVENUE NORTH              MINNEAPOLIS               MN           55427         767 - WORLAND               MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT        2445 NEVADA AVENUE NORTH              MINNEAPOLIS               MN           55427         768 - GLASGOW               MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT        2445 NEVADA AVENUE NORTH              MINNEAPOLIS               MN           55427         769 - SIDNEY                MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT        2445 NEVADA AVENUE NORTH              MINNEAPOLIS               MN           55427         771 - PLENTYWOOD            MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT        2445 NEVADA AVENUE NORTH              MINNEAPOLIS               MN           55427         772 - POWELL                MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT        2445 NEVADA AVENUE NORTH              MINNEAPOLIS               MN           55427         773 - LEWISTOWN             MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT        2445 NEVADA AVENUE NORTH              MINNEAPOLIS               MN           55427         774 - LIVINGSTON            MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT        2445 NEVADA AVENUE NORTH              MINNEAPOLIS               MN           55427         775 - LIBBY                 MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT        2445 NEVADA AVENUE NORTH              MINNEAPOLIS               MN           55427         776 - GREYBULL              MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT        2445 NEVADA AVENUE NORTH              MINNEAPOLIS               MN           55427         786 - RED OAK               MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT        2445 NEVADA AVENUE NORTH              MINNEAPOLIS               MN           55427         788 - COLUMBUS              MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT        2445 NEVADA AVENUE NORTH              MINNEAPOLIS               MN           55427         789 - WAUPACA               MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT        2445 NEVADA AVENUE NORTH              MINNEAPOLIS               MN           55427         790 - STANLEY               MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT        2445 NEVADA AVENUE NORTH              MINNEAPOLIS               MN           55427         791 - FOREST CITY           MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT        2445 NEVADA AVENUE NORTH              MINNEAPOLIS               MN           55427         792 - TOMAHAWK              MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT        2445 NEVADA AVENUE NORTH              MINNEAPOLIS               MN           55427         793 - MAYVILLE              MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT        2445 NEVADA AVENUE NORTH              MINNEAPOLIS               MN           55427         794 - QUINCY                MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT        2445 NEVADA AVENUE NORTH              MINNEAPOLIS               MN           55427         795 - SALMON                MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT        2445 NEVADA AVENUE NORTH              MINNEAPOLIS               MN           55427         796 - KASSON                MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT        2445 NEVADA AVENUE NORTH              MINNEAPOLIS               MN           55427         797 - WHITEFISH             MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT        2445 NEVADA AVENUE NORTH              MINNEAPOLIS               MN           55427         798 - BALLARD               MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
MILL CREEK ENTERTAINMENT        2445 NEVADA AVENUE NORTH              MINNEAPOLIS               MN           55427         799 - TREMONTON             MOVIES                     kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
MILLWORK HOLDINGS COMPANY INC   1115 HARBOR LANE N                    PLYMOUTH                  MN           55447         78 - RAPID CITY             FURNITURE                  kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
MILLWORK HOLDINGS COMPANY INC   1115 HARBOR LANE N                    PLYMOUTH                  MN           55447         498 - ECOM-DROP SHIP        FURNITURE                  kept on the books




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                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         1 - GREEN BAY WEST          TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         2 - ASHWAUBENON             TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         3 - MANITOWOC               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         4 - GREEN BAY EAST          TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         5 - DE PERE                 TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         7 - LA CROSSE SOUTH         TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         8 - ROTHSCHILD              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         9 - MARSHFIELD              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         12 - WISCONSIN RAPIDS       TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         14 - BEAVER DAM             TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         15 - APPLETON               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         17 - ST CLOUD WEST          TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         18 - WEST BEND              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         19 - WATERTOWN WI           TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         20 - LA CROSSE NORTH        TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         22 - MITCHELL               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         23 - HUTCHINSON             TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         24 - EAU CLAIRE             TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         25 - MARSHALL               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         26 - BELOIT                 TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         27 - RACINE                 TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         28 - KIMBERLY               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         29 - MADISON WEST           TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         30 - JANESVILLE             TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         31 - KENOSHA                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         32 - MONONA                 TOYS/GAMES/CRAFTS          kept on the books




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                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         33 - MENASHA                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         37 - CHIPPEWA FALLS         TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         40 - SIOUX CITY             TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         42 - OSHKOSH                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         48 - NORFOLK                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         50 - FOND DU LAC            TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         51 - FORT ATKINSON          TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         52 - MASON CITY             TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         53 - NORTH PLATTE           TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         54 - WATERTOWN SD           TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         55 - STEVENS POINT NORTH    TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         56 - OMAHA WEST             TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         59 - FAIRMONT               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         60 - ALBERT LEA             TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         63 - POCATELLO              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         76 - SIOUX FALLS SOUTH      TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         78 - RAPID CITY             TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         79 - WAUSAU                 TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         80 - MADISON NORTHEAST      TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         82 - MURRAY                 TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         83 - SANDY CITY             TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         84 - WEST JORDAN            TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         85 - TAYLORSVILLE           TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         87 - OGDEN                  TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         88 - LAYTON                 TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         90 - GRAFTON                TOYS/GAMES/CRAFTS          kept on the books




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            Name of Owner                  Address1                          City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         91 - LOGAN                  TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         92 - KENNEWICK              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         93 - BEND                   TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         96 - REDDING                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         97 - WEST VALLEY CITY       TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         98 - EUGENE NORTH           TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         99 - ONALASKA               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         100 - NEENAH                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         101 - SIOUX FALLS EAST      TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         102 - MARINETTE             TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         104 - BRIGHAM CITY          TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         105 - OREM                  TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         106 - BILLINGS              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         108 - SPANISH FORK          TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         109 - RIVERDALE             TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         111 - SALEM                 TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         112 - HELENA                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         113 - LACEY                 TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         114 - DULUTH                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         116 - SHEBOYGAN             TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         119 - DIXON                 TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         120 - MONROE                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         122 - WENATCHEE             TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         125 - FREEPORT              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         127 - DELAVAN               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         128 - KALISPELL             TOYS/GAMES/CRAFTS          kept on the books




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            Name of Owner                  Address1                          City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         129 - SPOKANE SOUTH         TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         130 - RIVER FALLS           TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         132 - RICE LAKE             TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         133 - BELVIDERE             TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         134 - PULLMAN               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         164 - DUBUQUE               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         170 - RHINELANDER           TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         171 - PLOVER                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         172 - LINCOLN NORTHWEST     TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         175 - LINCOLN SOUTHEAST     TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         177 - SUAMICO               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         178 - SUSSEX                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         179 - NORTH BRANCH          TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         200 - CHINO VALLEY          TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         201 - EMMETSBURG            TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         202 - CLIFTON               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         203 - JACKSBORO             TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         205 - DELTA                 TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         206 - ELY                   TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         207 - OLDTOWN               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         208 - SEYMOUR               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         209 - TULIA                 TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         211 - ESTHERVILLE           TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         212 - GORDON                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         213 - LITTLEFIELD           TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         501 - LEDGEVIEW             TOYS/GAMES/CRAFTS          kept on the books




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            Name of Owner                  Address1                          City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         502 - HOWARD                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         503 - PORT WASHINGTON       TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         504 - APPLETON EAST         TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         505 - APPLETON NORTH        TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         512 - ELLSWORTH             TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         520 - ALBION                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         523 - VALENTINE             TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         526 - AFTON                 TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         532 - NEW TOWN              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         533 - TIOGA                 TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         534 - ROLLA                 TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         535 - BOWMAN                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         536 - ULYSSES               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         537 - BELOIT                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         538 - ANTHONY               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         539 - MONAHANS              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         540 - KERMIT                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         541 - DALHART               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         542 - PERRYTON              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         543 - WOLF POINT            TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         544 - SIDNEY #2             TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         545 - MOBRIDGE              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         546 - BURLINGTON            TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         547 - MOOSE LAKE            TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         548 - MAHNOMEN              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         549 - HARDIN #2             TOYS/GAMES/CRAFTS          kept on the books




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            Name of Owner                  Address1                          City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         550 - DILLON #2             TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         551 - DEMOTTE               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         552 - OAKES                 TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         553 - ABILENE               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         554 - ANDREWS               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         555 - MOAB                  TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         556 - PROSSER               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         557 - NEPHI                 TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         558 - REDFIELD              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         559 - OROFINO               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         560 - FAIRVIEW              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         561 - COKATO                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         562 - STANLEY ND            TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         563 - MAUSTON               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         564 - WEBSTER CITY          TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         565 - CHEROKEE              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         566 - WARROAD               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         567 - PAYNESVILLE           TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         568 - NEW PRAGUE            TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         569 - MILBANK               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         570 - WAGNER                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         571 - WEBSTER               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         572 - LEADVILLE             TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         573 - RUSSELL               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         574 - LOWELL                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         575 - LOVINGTON             TOYS/GAMES/CRAFTS          kept on the books




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            Name of Owner                  Address1                          City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         577 - CANADIAN              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         578 - BUENA VISTA           TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         579 - YUMA                  TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         580 - CARRINGTON            TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         581 - LISBON                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         582 - PRESIDIO              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         583 - BLANDING              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         584 - BONNERS FERRY         TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         585 - MAYVILLE              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         586 - PHILLIPSBURG          TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         587 - CLARINDA              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         588 - BEAVER                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         589 - CRESCO                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         592 - COMANCHE              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         593 - COTULLA               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         594 - CHAMBERLAIN           TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         596 - DELL RAPIDS           TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         597 - ORD                   TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         600 - VINTON                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         601 - KEWAUNEE              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         602 - OCONTO                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         603 - PRINCETON             TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         604 - ABBOTSFORD            TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         605 - MORA                  TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         606 - CALUMET               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         607 - SEYMOUR               TOYS/GAMES/CRAFTS          kept on the books




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            Name of Owner                  Address1                          City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         608 - BRILLION              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         609 - KIEL                  TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         610 - ISHPEMING             TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         611 - SAINT PETER           TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         613 - WINNECONNE            TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         615 - CLINTONVILLE          TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         616 - SISTER BAY            TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         617 - WAUTOMA               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         618 - REEDSBURG             TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         619 - ADAMS                 TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         620 - EAGLE RIVER           TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         621 - MANISTIQUE            TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         622 - WETMORE               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         623 - IRON RIVER            TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         624 - L'ANSE                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         625 - DYERSVILLE            TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         626 - LANCASTER             TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         627 - NEILLSVILLE           TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         628 - TWO HARBORS           TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         629 - ELY                   TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         630 - ARCADIA               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         632 - SPOONER               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         633 - PARK FALLS            TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         635 - SAVANNA               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         637 - ATTICA                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         638 - MONTICELLO            TOYS/GAMES/CRAFTS          kept on the books




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            Name of Owner                  Address1                          City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         639 - ROCKVILLE             TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         640 - TUSCOLA               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         641 - DWIGHT                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         642 - ALLEGAN               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         643 - NEWAYGO               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         644 - CLARE                 TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         646 - STANDISH              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         647 - SYRACUSE              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         648 - TECUMSEH              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         649 - IMLAY CITY            TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         650 - DOWAGIAC              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         651 - HART                  TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         652 - BROOKLYN              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         653 - GLADWIN               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         656 - KALKASKA              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         658 - BEATRICE              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         659 - AUBURN                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         660 - CRETE                 TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         661 - WEST POINT            TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         662 - PLATTSMOUTH           TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         664 - HUMBOLDT              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         665 - HAMPTON               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         667 - SHELDON               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         668 - NEW HAMPTON           TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         669 - OELWEIN               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         670 - WAYNE                 TOYS/GAMES/CRAFTS          kept on the books




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            Name of Owner                  Address1                          City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         671 - WAUKON                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         672 - ONEILL                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         673 - AINSWORTH             TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         674 - CLARION               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         675 - WINTERSET             TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         676 - CHARITON              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         677 - ONAWA                 TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         678 - JEFFERSON             TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         679 - TOLEDO                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         680 - PERRY                 TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         681 - IDA GROVE             TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         682 - HARLAN                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         683 - AUDUBON               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         684 - BLOOMFIELD            TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         685 - ELDORA                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         686 - GLENWOOD              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         687 - GREENFIELD (IA)       TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         688 - MISSOURI VALLEY       TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         689 - MOUNT AYR             TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         690 - HOLDREGE              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         691 - OGALLALA              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         692 - SUPERIOR              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         693 - CLAY CENTER           TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         694 - ALLIANCE              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         695 - BROKEN BOW            TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         696 - NORTON                TOYS/GAMES/CRAFTS          kept on the books




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            Name of Owner                  Address1                          City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         697 - SENECA                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         698 - GOTHENBURG            TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         699 - SCOTT CITY            TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         700 - KIMBALL               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         701 - LYONS                 TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         702 - LARNED                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         703 - BURLINGTON            TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         704 - FALLS CITY            TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         705 - TRENTON               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         706 - DONIPHAN              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         707 - ALBANY                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         708 - CARROLLTON            TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         709 - EL DORADO SPRINGS     TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         710 - GALLATIN              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         711 - MEMPHIS               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         716 - MT. CARMEL            TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         717 - MINERVA               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         719 - WOODSFIELD            TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         720 - BATESVILLE            TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         729 - BRANDENBURG           TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         732 - GLENCOE               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         733 - FERGUS FALLS          TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         734 - CAVALIER              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         735 - AITKIN                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         736 - VALLEY CITY           TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         737 - GRAFTON               TOYS/GAMES/CRAFTS          kept on the books




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            Name of Owner                  Address1                          City                State       Zip           Location of Property    Description of Property               Value
                                                                                                                                                                             N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         738 - PERHAM               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         739 - GLENWOOD             TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         740 - MORRIS               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         741 - RUGBY                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         742 - EAST GRAND FORKS     TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         743 - BEULAH               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         744 - ROSEAU               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         745 - WINNER               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         746 - MADISON SD           TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         747 - LUVERNE              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         748 - PIPESTONE            TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         749 - SAINT JAMES          TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         750 - WINDOM               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         751 - SISSETON             TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         752 - TORRINGTON           TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         753 - HOT SPRINGS          TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         755 - WHEATLAND            TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         756 - LANDER               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         757 - BELLE FOURCHE        TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         758 - DOUGLAS              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         759 - STURGIS              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         760 - GREEN RIVER          TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         761 - NEWCASTLE            TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         762 - THERMOPOLIS          TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         763 - CUSTER               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                             N/A - Inventory Value is not
MJ HOLDING COMPANY LLC      7001 S HARLEM AVENUE                  BEDFORD PARK              IL           60638         764 - BUFFALO              TOYS/GAMES/CRAFTS          kept on the books




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             Name of Owner                       Address1                          City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                                    N/A - Inventory Value is not
MJ HOLDING COMPANY LLC       7001 S HARLEM AVENUE                       BEDFORD PARK              IL           60638         765 - MOUNTAIN VIEW         TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MJ HOLDING COMPANY LLC       7001 S HARLEM AVENUE                       BEDFORD PARK              IL           60638         766 - SHELBY                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MJ HOLDING COMPANY LLC       7001 S HARLEM AVENUE                       BEDFORD PARK              IL           60638         767 - WORLAND               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MJ HOLDING COMPANY LLC       7001 S HARLEM AVENUE                       BEDFORD PARK              IL           60638         768 - GLASGOW               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MJ HOLDING COMPANY LLC       7001 S HARLEM AVENUE                       BEDFORD PARK              IL           60638         769 - SIDNEY                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MJ HOLDING COMPANY LLC       7001 S HARLEM AVENUE                       BEDFORD PARK              IL           60638         771 - PLENTYWOOD            TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MJ HOLDING COMPANY LLC       7001 S HARLEM AVENUE                       BEDFORD PARK              IL           60638         772 - POWELL                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MJ HOLDING COMPANY LLC       7001 S HARLEM AVENUE                       BEDFORD PARK              IL           60638         773 - LEWISTOWN             TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MJ HOLDING COMPANY LLC       7001 S HARLEM AVENUE                       BEDFORD PARK              IL           60638         774 - LIVINGSTON            TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MJ HOLDING COMPANY LLC       7001 S HARLEM AVENUE                       BEDFORD PARK              IL           60638         775 - LIBBY                 TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MJ HOLDING COMPANY LLC       7001 S HARLEM AVENUE                       BEDFORD PARK              IL           60638         776 - GREYBULL              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MJ HOLDING COMPANY LLC       7001 S HARLEM AVENUE                       BEDFORD PARK              IL           60638         786 - RED OAK               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MJ HOLDING COMPANY LLC       7001 S HARLEM AVENUE                       BEDFORD PARK              IL           60638         788 - COLUMBUS              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MJ HOLDING COMPANY LLC       7001 S HARLEM AVENUE                       BEDFORD PARK              IL           60638         789 - WAUPACA               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MJ HOLDING COMPANY LLC       7001 S HARLEM AVENUE                       BEDFORD PARK              IL           60638         790 - STANLEY               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MJ HOLDING COMPANY LLC       7001 S HARLEM AVENUE                       BEDFORD PARK              IL           60638         791 - FOREST CITY           TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MJ HOLDING COMPANY LLC       7001 S HARLEM AVENUE                       BEDFORD PARK              IL           60638         792 - TOMAHAWK              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MJ HOLDING COMPANY LLC       7001 S HARLEM AVENUE                       BEDFORD PARK              IL           60638         793 - MAYVILLE              TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MJ HOLDING COMPANY LLC       7001 S HARLEM AVENUE                       BEDFORD PARK              IL           60638         794 - QUINCY                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MJ HOLDING COMPANY LLC       7001 S HARLEM AVENUE                       BEDFORD PARK              IL           60638         795 - SALMON                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MJ HOLDING COMPANY LLC       7001 S HARLEM AVENUE                       BEDFORD PARK              IL           60638         796 - KASSON                TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MJ HOLDING COMPANY LLC       7001 S HARLEM AVENUE                       BEDFORD PARK              IL           60638         797 - WHITEFISH             TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MJ HOLDING COMPANY LLC       7001 S HARLEM AVENUE                       BEDFORD PARK              IL           60638         798 - BALLARD               TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MJ HOLDING COMPANY LLC       7001 S HARLEM AVENUE                       BEDFORD PARK              IL           60638         799 - TREMONTON             TOYS/GAMES/CRAFTS          kept on the books
                                                                                                                                                         CELL                       N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         1 - GREEN BAY WEST          PHONES/ACCESSORIES         kept on the books
                                                                                                                                                         CELL                       N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         2 - ASHWAUBENON             PHONES/ACCESSORIES         kept on the books




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             Name of Owner                       Address1                          City                State       Zip            Location of Property     Description of Property               Value
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         3 - MANITOWOC               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         4 - GREEN BAY EAST          PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         5 - DE PERE                 PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         7 - LA CROSSE SOUTH         PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         8 - ROTHSCHILD              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         9 - MARSHFIELD              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         12 - WISCONSIN RAPIDS       PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         14 - BEAVER DAM             PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         15 - APPLETON               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         17 - ST CLOUD WEST          PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         18 - WEST BEND              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         19 - WATERTOWN WI           PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         20 - LA CROSSE NORTH        PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         22 - MITCHELL               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         23 - HUTCHINSON             PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         24 - EAU CLAIRE             PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         25 - MARSHALL               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         26 - BELOIT                 PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         27 - RACINE                 PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         28 - KIMBERLY               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         29 - MADISON WEST           PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         30 - JANESVILLE             PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         31 - KENOSHA                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         32 - MONONA                 PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         33 - MENASHA                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         37 - CHIPPEWA FALLS         PHONES/ACCESSORIES          kept on the books




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                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         40 - SIOUX CITY             PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         42 - OSHKOSH                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         48 - NORFOLK                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         50 - FOND DU LAC            PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         51 - FORT ATKINSON          PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         52 - MASON CITY             PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         53 - NORTH PLATTE           PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         54 - WATERTOWN SD           PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         55 - STEVENS POINT NORTH    PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         56 - OMAHA WEST             PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         59 - FAIRMONT               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         60 - ALBERT LEA             PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         63 - POCATELLO              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         76 - SIOUX FALLS SOUTH      PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         78 - RAPID CITY             PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         79 - WAUSAU                 PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         80 - MADISON NORTHEAST      PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         82 - MURRAY                 PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         83 - SANDY CITY             PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         84 - WEST JORDAN            PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         85 - TAYLORSVILLE           PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         87 - OGDEN                  PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         88 - LAYTON                 PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         90 - GRAFTON                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         91 - LOGAN                  PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         92 - KENNEWICK              PHONES/ACCESSORIES          kept on the books




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                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         93 - BEND                   PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         96 - REDDING                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         97 - WEST VALLEY CITY       PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         98 - EUGENE NORTH           PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         99 - ONALASKA               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         100 - NEENAH                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         101 - SIOUX FALLS EAST      PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         102 - MARINETTE             PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         104 - BRIGHAM CITY          PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         105 - OREM                  PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         106 - BILLINGS              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         108 - SPANISH FORK          PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         109 - RIVERDALE             PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         111 - SALEM                 PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         112 - HELENA                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         113 - LACEY                 PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         114 - DULUTH                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         116 - SHEBOYGAN             PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         119 - DIXON                 PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         120 - MONROE                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         122 - WENATCHEE             PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         125 - FREEPORT              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         127 - DELAVAN               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         128 - KALISPELL             PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         129 - SPOKANE SOUTH         PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         130 - RIVER FALLS           PHONES/ACCESSORIES          kept on the books




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             Name of Owner                       Address1                          City                State       Zip            Location of Property     Description of Property               Value
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         132 - RICE LAKE             PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         133 - BELVIDERE             PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         134 - PULLMAN               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         164 - DUBUQUE               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         170 - RHINELANDER           PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         171 - PLOVER                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         172 - LINCOLN NORTHWEST     PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         175 - LINCOLN SOUTHEAST     PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         177 - SUAMICO               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         178 - SUSSEX                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         179 - NORTH BRANCH          PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         200 - CHINO VALLEY          PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         201 - EMMETSBURG            PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         202 - CLIFTON               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         203 - JACKSBORO             PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         205 - DELTA                 PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         206 - ELY                   PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         207 - OLDTOWN               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         208 - SEYMOUR               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         209 - TULIA                 PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         211 - ESTHERVILLE           PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         212 - GORDON                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         213 - LITTLEFIELD           PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         501 - LEDGEVIEW             PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         502 - HOWARD                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         503 - PORT WASHINGTON       PHONES/ACCESSORIES          kept on the books




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             Name of Owner                       Address1                          City                State       Zip            Location of Property     Description of Property               Value
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         504 - APPLETON EAST         PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         505 - APPLETON NORTH        PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         512 - ELLSWORTH             PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         520 - ALBION                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         523 - VALENTINE             PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         526 - AFTON                 PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         532 - NEW TOWN              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         533 - TIOGA                 PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         534 - ROLLA                 PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         535 - BOWMAN                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         536 - ULYSSES               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         537 - BELOIT                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         538 - ANTHONY               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         539 - MONAHANS              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         540 - KERMIT                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         541 - DALHART               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         542 - PERRYTON              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         543 - WOLF POINT            PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         544 - SIDNEY #2             PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         545 - MOBRIDGE              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         546 - BURLINGTON            PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         547 - MOOSE LAKE            PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         548 - MAHNOMEN              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         549 - HARDIN #2             PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         550 - DILLON #2             PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         551 - DEMOTTE               PHONES/ACCESSORIES          kept on the books




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                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         552 - OAKES                 PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         553 - ABILENE               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         554 - ANDREWS               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         555 - MOAB                  PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         556 - PROSSER               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         557 - NEPHI                 PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         558 - REDFIELD              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         559 - OROFINO               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         560 - FAIRVIEW              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         561 - COKATO                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         562 - STANLEY ND            PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         563 - MAUSTON               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         564 - WEBSTER CITY          PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         565 - CHEROKEE              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         566 - WARROAD               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         567 - PAYNESVILLE           PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         568 - NEW PRAGUE            PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         569 - MILBANK               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         570 - WAGNER                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         571 - WEBSTER               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         572 - LEADVILLE             PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         573 - RUSSELL               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         574 - LOWELL                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         575 - LOVINGTON             PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         576 - ALPINE                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         578 - BUENA VISTA           PHONES/ACCESSORIES          kept on the books




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                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         579 - YUMA                  PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         580 - CARRINGTON            PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         581 - LISBON                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         582 - PRESIDIO              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         583 - BLANDING              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         584 - BONNERS FERRY         PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         585 - MAYVILLE              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         586 - PHILLIPSBURG          PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         587 - CLARINDA              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         588 - BEAVER                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         589 - CRESCO                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         592 - COMANCHE              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         593 - COTULLA               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         594 - CHAMBERLAIN           PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         596 - DELL RAPIDS           PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         597 - ORD                   PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         598 - SPRINGERVILLE         PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         600 - VINTON                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         601 - KEWAUNEE              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         602 - OCONTO                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         603 - PRINCETON             PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         604 - ABBOTSFORD            PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         605 - MORA                  PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         606 - CALUMET               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         607 - SEYMOUR               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         608 - BRILLION              PHONES/ACCESSORIES          kept on the books




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                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         609 - KIEL                  PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         610 - ISHPEMING             PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         611 - SAINT PETER           PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         613 - WINNECONNE            PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         615 - CLINTONVILLE          PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         616 - SISTER BAY            PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         617 - WAUTOMA               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         618 - REEDSBURG             PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         619 - ADAMS                 PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         620 - EAGLE RIVER           PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         621 - MANISTIQUE            PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         622 - WETMORE               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         623 - IRON RIVER            PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         624 - L'ANSE                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         625 - DYERSVILLE            PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         626 - LANCASTER             PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         627 - NEILLSVILLE           PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         628 - TWO HARBORS           PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         629 - ELY                   PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         630 - ARCADIA               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         632 - SPOONER               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         633 - PARK FALLS            PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         635 - SAVANNA               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         637 - ATTICA                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         638 - MONTICELLO            PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         639 - ROCKVILLE             PHONES/ACCESSORIES          kept on the books




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             Name of Owner                       Address1                          City                State       Zip            Location of Property     Description of Property               Value
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         640 - TUSCOLA               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         641 - DWIGHT                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         642 - ALLEGAN               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         643 - NEWAYGO               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         644 - CLARE                 PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         646 - STANDISH              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         647 - SYRACUSE              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         648 - TECUMSEH              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         649 - IMLAY CITY            PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         650 - DOWAGIAC              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         651 - HART                  PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         652 - BROOKLYN              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         653 - GLADWIN               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         656 - KALKASKA              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         658 - BEATRICE              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         659 - AUBURN                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         660 - CRETE                 PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         661 - WEST POINT            PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         662 - PLATTSMOUTH           PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         664 - HUMBOLDT              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         665 - HAMPTON               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         667 - SHELDON               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         668 - NEW HAMPTON           PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         669 - OELWEIN               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         670 - WAYNE                 PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         671 - WAUKON                PHONES/ACCESSORIES          kept on the books




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             Name of Owner                       Address1                          City                State       Zip            Location of Property     Description of Property               Value
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         672 - ONEILL                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         673 - AINSWORTH             PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         674 - CLARION               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         675 - WINTERSET             PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         676 - CHARITON              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         677 - ONAWA                 PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         678 - JEFFERSON             PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         679 - TOLEDO                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         680 - PERRY                 PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         681 - IDA GROVE             PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         682 - HARLAN                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         683 - AUDUBON               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         684 - BLOOMFIELD            PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         685 - ELDORA                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         686 - GLENWOOD              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         687 - GREENFIELD (IA)       PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         688 - MISSOURI VALLEY       PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         689 - MOUNT AYR             PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         690 - HOLDREGE              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         691 - OGALLALA              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         692 - SUPERIOR              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         693 - CLAY CENTER           PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         694 - ALLIANCE              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         695 - BROKEN BOW            PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         696 - NORTON                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         697 - SENECA                PHONES/ACCESSORIES          kept on the books




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             Name of Owner                       Address1                          City                State       Zip            Location of Property     Description of Property               Value
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         698 - GOTHENBURG            PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         699 - SCOTT CITY            PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         700 - KIMBALL               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         701 - LYONS                 PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         702 - LARNED                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         703 - BURLINGTON            PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         704 - FALLS CITY            PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         705 - TRENTON               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         706 - DONIPHAN              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         707 - ALBANY                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         708 - CARROLLTON            PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         709 - EL DORADO SPRINGS     PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         710 - GALLATIN              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         711 - MEMPHIS               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         712 - PALMYRA               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         716 - MT. CARMEL            PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         717 - MINERVA               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         719 - WOODSFIELD            PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         720 - BATESVILLE            PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         729 - BRANDENBURG           PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         732 - GLENCOE               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         733 - FERGUS FALLS          PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         734 - CAVALIER              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         735 - AITKIN                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         736 - VALLEY CITY           PHONES/ACCESSORIES          kept on the books
                                                                                                                                                         CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         737 - GRAFTON               PHONES/ACCESSORIES          kept on the books




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                                                                                                                                                        CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         738 - PERHAM               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                        CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         739 - GLENWOOD             PHONES/ACCESSORIES          kept on the books
                                                                                                                                                        CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         740 - MORRIS               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                        CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         741 - RUGBY                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                        CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         742 - EAST GRAND FORKS     PHONES/ACCESSORIES          kept on the books
                                                                                                                                                        CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         743 - BEULAH               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                        CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         744 - ROSEAU               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                        CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         745 - WINNER               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                        CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         746 - MADISON SD           PHONES/ACCESSORIES          kept on the books
                                                                                                                                                        CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         747 - LUVERNE              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                        CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         748 - PIPESTONE            PHONES/ACCESSORIES          kept on the books
                                                                                                                                                        CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         749 - SAINT JAMES          PHONES/ACCESSORIES          kept on the books
                                                                                                                                                        CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         750 - WINDOM               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                        CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         751 - SISSETON             PHONES/ACCESSORIES          kept on the books
                                                                                                                                                        CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         752 - TORRINGTON           PHONES/ACCESSORIES          kept on the books
                                                                                                                                                        CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         753 - HOT SPRINGS          PHONES/ACCESSORIES          kept on the books
                                                                                                                                                        CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         755 - WHEATLAND            PHONES/ACCESSORIES          kept on the books
                                                                                                                                                        CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         756 - LANDER               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                        CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         757 - BELLE FOURCHE        PHONES/ACCESSORIES          kept on the books
                                                                                                                                                        CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         758 - DOUGLAS              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                        CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         759 - STURGIS              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                        CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         760 - GREEN RIVER          PHONES/ACCESSORIES          kept on the books
                                                                                                                                                        CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         761 - NEWCASTLE            PHONES/ACCESSORIES          kept on the books
                                                                                                                                                        CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         762 - THERMOPOLIS          PHONES/ACCESSORIES          kept on the books
                                                                                                                                                        CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         763 - CUSTER               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                        CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC          3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         764 - BUFFALO              PHONES/ACCESSORIES          kept on the books




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                                                                                                                                                            CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC             3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         765 - MOUNTAIN VIEW         PHONES/ACCESSORIES          kept on the books
                                                                                                                                                            CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC             3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         766 - SHELBY                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                            CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC             3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         767 - WORLAND               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                            CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC             3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         768 - GLASGOW               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                            CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC             3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         769 - SIDNEY                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                            CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC             3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         771 - PLENTYWOOD            PHONES/ACCESSORIES          kept on the books
                                                                                                                                                            CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC             3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         772 - POWELL                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                            CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC             3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         773 - LEWISTOWN             PHONES/ACCESSORIES          kept on the books
                                                                                                                                                            CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC             3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         774 - LIVINGSTON            PHONES/ACCESSORIES          kept on the books
                                                                                                                                                            CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC             3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         775 - LIBBY                 PHONES/ACCESSORIES          kept on the books
                                                                                                                                                            CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC             3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         776 - GREYBULL              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                            CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC             3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         786 - RED OAK               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                            CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC             3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         788 - COLUMBUS              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                            CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC             3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         789 - WAUPACA               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                            CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC             3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         790 - STANLEY               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                            CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC             3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         791 - FOREST CITY           PHONES/ACCESSORIES          kept on the books
                                                                                                                                                            CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC             3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         792 - TOMAHAWK              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                            CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC             3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         793 - MAYVILLE              PHONES/ACCESSORIES          kept on the books
                                                                                                                                                            CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC             3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         794 - QUINCY                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                            CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC             3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         795 - SALMON                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                            CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC             3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         796 - KASSON                PHONES/ACCESSORIES          kept on the books
                                                                                                                                                            CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC             3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         797 - WHITEFISH             PHONES/ACCESSORIES          kept on the books
                                                                                                                                                            CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC             3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         798 - BALLARD               PHONES/ACCESSORIES          kept on the books
                                                                                                                                                            CELL                        N/A - Inventory Value is not
MOBILESSENTIALS LLC             3905 CIRCLE DRIVE                          HOLMEN                    WI           54636         799 - TREMONTON             PHONES/ACCESSORIES          kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
MODERN MARKETING CONCEPTS INC   1220 EAST OAK STREET                       LOUISVILLE                KY           40204         122 - WENATCHEE             FURNITURE                   kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
MODERN MARKETING CONCEPTS INC   1220 EAST OAK STREET                       LOUISVILLE                KY           40204         498 - ECOM-DROP SHIP        FURNITURE                   kept on the books




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            Name of Owner                        Address1                          City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                                    N/A - Inventory Value is not
MOHAWK RUG & TEXTILES DIVISION   3090 SUGAR VALLEY                      SUGAR VALLEY              GA           307465166 1 - GREEN BAY WEST              RUGS                       kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MOHAWK RUG & TEXTILES DIVISION   3090 SUGAR VALLEY                      SUGAR VALLEY              GA           307465166 14 - BEAVER DAM                 RUGS                       kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MOHAWK RUG & TEXTILES DIVISION   3090 SUGAR VALLEY                      SUGAR VALLEY              GA           307465166 28 - KIMBERLY                   RUGS                       kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MOHAWK RUG & TEXTILES DIVISION   3090 SUGAR VALLEY                      SUGAR VALLEY              GA           307465166 29 - MADISON WEST               RUGS                       kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MOHAWK RUG & TEXTILES DIVISION   3090 SUGAR VALLEY                      SUGAR VALLEY              GA           307465166 42 - OSHKOSH                    RUGS                       kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MOHAWK RUG & TEXTILES DIVISION   3090 SUGAR VALLEY                      SUGAR VALLEY              GA           307465166 50 - FOND DU LAC                RUGS                       kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MOHAWK RUG & TEXTILES DIVISION   3090 SUGAR VALLEY                      SUGAR VALLEY              GA           307465166 53 - NORTH PLATTE               RUGS                       kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MOHAWK RUG & TEXTILES DIVISION   3090 SUGAR VALLEY                      SUGAR VALLEY              GA           307465166 54 - WATERTOWN SD               RUGS                       kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MOHAWK RUG & TEXTILES DIVISION   3090 SUGAR VALLEY                      SUGAR VALLEY              GA           307465166 56 - OMAHA WEST                 RUGS                       kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MOHAWK RUG & TEXTILES DIVISION   3090 SUGAR VALLEY                      SUGAR VALLEY              GA           307465166 76 - SIOUX FALLS SOUTH          RUGS                       kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MOHAWK RUG & TEXTILES DIVISION   3090 SUGAR VALLEY                      SUGAR VALLEY              GA           307465166 80 - MADISON NORTHEAST          RUGS                       kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MOHAWK RUG & TEXTILES DIVISION   3090 SUGAR VALLEY                      SUGAR VALLEY              GA           307465166 96 - REDDING                    RUGS                       kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MOHAWK RUG & TEXTILES DIVISION   3090 SUGAR VALLEY                      SUGAR VALLEY              GA           307465166 114 - DULUTH                    RUGS                       kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MOHAWK RUG & TEXTILES DIVISION   3090 SUGAR VALLEY                      SUGAR VALLEY              GA           307465166 116 - SHEBOYGAN                 RUGS                       kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MOHAWK RUG & TEXTILES DIVISION   3090 SUGAR VALLEY                      SUGAR VALLEY              GA           307465166 177 - SUAMICO                   RUGS                       kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MOHAWK RUG & TEXTILES DIVISION   3090 SUGAR VALLEY                      SUGAR VALLEY              GA           307465166 179 - NORTH BRANCH              RUGS                       kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MOHAWK RUG & TEXTILES DIVISION   3090 SUGAR VALLEY                      SUGAR VALLEY              GA           307465166 498 - ECOM-DROP SHIP            RUGS                       kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
MOHAWK RUG & TEXTILES DIVISION   3090 SUGAR VALLEY                      SUGAR VALLEY              GA           307465166 687 - GREENFIELD (IA)           RUGS                       kept on the books
                                                                                                                                                         CHRISTMAS                  N/A - Inventory Value is not
NATIONAL TREE COMPANY            2 COMMERCE DRIVE                       CRANFORD                  NJ           07016         2 - ASHWAUBENON             TREES/ACCESSORIES          kept on the books
                                                                                                                                                         CHRISTMAS                  N/A - Inventory Value is not
NATIONAL TREE COMPANY            2 COMMERCE DRIVE                       CRANFORD                  NJ           07016         3 - MANITOWOC               TREES/ACCESSORIES          kept on the books
                                                                                                                                                         CHRISTMAS                  N/A - Inventory Value is not
NATIONAL TREE COMPANY            2 COMMERCE DRIVE                       CRANFORD                  NJ           07016         4 - GREEN BAY EAST          TREES/ACCESSORIES          kept on the books
                                                                                                                                                         CHRISTMAS                  N/A - Inventory Value is not
NATIONAL TREE COMPANY            2 COMMERCE DRIVE                       CRANFORD                  NJ           07016         5 - DE PERE                 TREES/ACCESSORIES          kept on the books
                                                                                                                                                         CHRISTMAS                  N/A - Inventory Value is not
NATIONAL TREE COMPANY            2 COMMERCE DRIVE                       CRANFORD                  NJ           07016         8 - ROTHSCHILD              TREES/ACCESSORIES          kept on the books
                                                                                                                                                         CHRISTMAS                  N/A - Inventory Value is not
NATIONAL TREE COMPANY            2 COMMERCE DRIVE                       CRANFORD                  NJ           07016         14 - BEAVER DAM             TREES/ACCESSORIES          kept on the books
                                                                                                                                                         CHRISTMAS                  N/A - Inventory Value is not
NATIONAL TREE COMPANY            2 COMMERCE DRIVE                       CRANFORD                  NJ           07016         19 - WATERTOWN WI           TREES/ACCESSORIES          kept on the books
                                                                                                                                                         CHRISTMAS                  N/A - Inventory Value is not
NATIONAL TREE COMPANY            2 COMMERCE DRIVE                       CRANFORD                  NJ           07016         26 - BELOIT                 TREES/ACCESSORIES          kept on the books




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                                                                                                                                                  CHRISTMAS                   N/A - Inventory Value is not
NATIONAL TREE COMPANY       2 COMMERCE DRIVE                     CRANFORD                  NJ           07016         28 - KIMBERLY               TREES/ACCESSORIES           kept on the books
                                                                                                                                                  CHRISTMAS                   N/A - Inventory Value is not
NATIONAL TREE COMPANY       2 COMMERCE DRIVE                     CRANFORD                  NJ           07016         29 - MADISON WEST           TREES/ACCESSORIES           kept on the books
                                                                                                                                                  CHRISTMAS                   N/A - Inventory Value is not
NATIONAL TREE COMPANY       2 COMMERCE DRIVE                     CRANFORD                  NJ           07016         30 - JANESVILLE             TREES/ACCESSORIES           kept on the books
                                                                                                                                                  CHRISTMAS                   N/A - Inventory Value is not
NATIONAL TREE COMPANY       2 COMMERCE DRIVE                     CRANFORD                  NJ           07016         32 - MONONA                 TREES/ACCESSORIES           kept on the books
                                                                                                                                                  CHRISTMAS                   N/A - Inventory Value is not
NATIONAL TREE COMPANY       2 COMMERCE DRIVE                     CRANFORD                  NJ           07016         33 - MENASHA                TREES/ACCESSORIES           kept on the books
                                                                                                                                                  CHRISTMAS                   N/A - Inventory Value is not
NATIONAL TREE COMPANY       2 COMMERCE DRIVE                     CRANFORD                  NJ           07016         37 - CHIPPEWA FALLS         TREES/ACCESSORIES           kept on the books
                                                                                                                                                  CHRISTMAS                   N/A - Inventory Value is not
NATIONAL TREE COMPANY       2 COMMERCE DRIVE                     CRANFORD                  NJ           07016         40 - SIOUX CITY             TREES/ACCESSORIES           kept on the books
                                                                                                                                                  CHRISTMAS                   N/A - Inventory Value is not
NATIONAL TREE COMPANY       2 COMMERCE DRIVE                     CRANFORD                  NJ           07016         42 - OSHKOSH                TREES/ACCESSORIES           kept on the books
                                                                                                                                                  CHRISTMAS                   N/A - Inventory Value is not
NATIONAL TREE COMPANY       2 COMMERCE DRIVE                     CRANFORD                  NJ           07016         50 - FOND DU LAC            TREES/ACCESSORIES           kept on the books
                                                                                                                                                  CHRISTMAS                   N/A - Inventory Value is not
NATIONAL TREE COMPANY       2 COMMERCE DRIVE                     CRANFORD                  NJ           07016         53 - NORTH PLATTE           TREES/ACCESSORIES           kept on the books
                                                                                                                                                  CHRISTMAS                   N/A - Inventory Value is not
NATIONAL TREE COMPANY       2 COMMERCE DRIVE                     CRANFORD                  NJ           07016         54 - WATERTOWN SD           TREES/ACCESSORIES           kept on the books
                                                                                                                                                  CHRISTMAS                   N/A - Inventory Value is not
NATIONAL TREE COMPANY       2 COMMERCE DRIVE                     CRANFORD                  NJ           07016         56 - OMAHA WEST             TREES/ACCESSORIES           kept on the books
                                                                                                                                                  CHRISTMAS                   N/A - Inventory Value is not
NATIONAL TREE COMPANY       2 COMMERCE DRIVE                     CRANFORD                  NJ           07016         79 - WAUSAU                 TREES/ACCESSORIES           kept on the books
                                                                                                                                                  CHRISTMAS                   N/A - Inventory Value is not
NATIONAL TREE COMPANY       2 COMMERCE DRIVE                     CRANFORD                  NJ           07016         80 - MADISON NORTHEAST      TREES/ACCESSORIES           kept on the books
                                                                                                                                                  CHRISTMAS                   N/A - Inventory Value is not
NATIONAL TREE COMPANY       2 COMMERCE DRIVE                     CRANFORD                  NJ           07016         83 - SANDY CITY             TREES/ACCESSORIES           kept on the books
                                                                                                                                                  CHRISTMAS                   N/A - Inventory Value is not
NATIONAL TREE COMPANY       2 COMMERCE DRIVE                     CRANFORD                  NJ           07016         84 - WEST JORDAN            TREES/ACCESSORIES           kept on the books
                                                                                                                                                  CHRISTMAS                   N/A - Inventory Value is not
NATIONAL TREE COMPANY       2 COMMERCE DRIVE                     CRANFORD                  NJ           07016         87 - OGDEN                  TREES/ACCESSORIES           kept on the books
                                                                                                                                                  CHRISTMAS                   N/A - Inventory Value is not
NATIONAL TREE COMPANY       2 COMMERCE DRIVE                     CRANFORD                  NJ           07016         91 - LOGAN                  TREES/ACCESSORIES           kept on the books
                                                                                                                                                  CHRISTMAS                   N/A - Inventory Value is not
NATIONAL TREE COMPANY       2 COMMERCE DRIVE                     CRANFORD                  NJ           07016         96 - REDDING                TREES/ACCESSORIES           kept on the books
                                                                                                                                                  CHRISTMAS                   N/A - Inventory Value is not
NATIONAL TREE COMPANY       2 COMMERCE DRIVE                     CRANFORD                  NJ           07016         97 - WEST VALLEY CITY       TREES/ACCESSORIES           kept on the books
                                                                                                                                                  CHRISTMAS                   N/A - Inventory Value is not
NATIONAL TREE COMPANY       2 COMMERCE DRIVE                     CRANFORD                  NJ           07016         100 - NEENAH                TREES/ACCESSORIES           kept on the books
                                                                                                                                                  CHRISTMAS                   N/A - Inventory Value is not
NATIONAL TREE COMPANY       2 COMMERCE DRIVE                     CRANFORD                  NJ           07016         105 - OREM                  TREES/ACCESSORIES           kept on the books
                                                                                                                                                  CHRISTMAS                   N/A - Inventory Value is not
NATIONAL TREE COMPANY       2 COMMERCE DRIVE                     CRANFORD                  NJ           07016         127 - DELAVAN               TREES/ACCESSORIES           kept on the books
                                                                                                                                                  CHRISTMAS                   N/A - Inventory Value is not
NATIONAL TREE COMPANY       2 COMMERCE DRIVE                     CRANFORD                  NJ           07016         132 - RICE LAKE             TREES/ACCESSORIES           kept on the books
                                                                                                                                                  CHRISTMAS                   N/A - Inventory Value is not
NATIONAL TREE COMPANY       2 COMMERCE DRIVE                     CRANFORD                  NJ           07016         133 - BELVIDERE             TREES/ACCESSORIES           kept on the books
                                                                                                                                                  CHRISTMAS                   N/A - Inventory Value is not
NATIONAL TREE COMPANY       2 COMMERCE DRIVE                     CRANFORD                  NJ           07016         170 - RHINELANDER           TREES/ACCESSORIES           kept on the books




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                                                                                                                                                     CHRISTMAS                   N/A - Inventory Value is not
NATIONAL TREE COMPANY       2 COMMERCE DRIVE                        CRANFORD                  NJ           07016         172 - LINCOLN NORTHWEST     TREES/ACCESSORIES           kept on the books
                                                                                                                                                     CHRISTMAS                   N/A - Inventory Value is not
NATIONAL TREE COMPANY       2 COMMERCE DRIVE                        CRANFORD                  NJ           07016         177 - SUAMICO               TREES/ACCESSORIES           kept on the books
                                                                                                                                                     CHRISTMAS                   N/A - Inventory Value is not
NATIONAL TREE COMPANY       2 COMMERCE DRIVE                        CRANFORD                  NJ           07016         178 - SUSSEX                TREES/ACCESSORIES           kept on the books
                                                                                                                                                     CHRISTMAS                   N/A - Inventory Value is not
NATIONAL TREE COMPANY       2 COMMERCE DRIVE                        CRANFORD                  NJ           07016         498 - ECOM-DROP SHIP        TREES/ACCESSORIES           kept on the books
                                                                                                                                                     CHRISTMAS                   N/A - Inventory Value is not
NATIONAL TREE COMPANY       2 COMMERCE DRIVE                        CRANFORD                  NJ           07016         534 - ROLLA                 TREES/ACCESSORIES           kept on the books
                                                                                                                                                     CHRISTMAS                   N/A - Inventory Value is not
NATIONAL TREE COMPANY       2 COMMERCE DRIVE                        CRANFORD                  NJ           07016         549 - HARDIN #2             TREES/ACCESSORIES           kept on the books
                                                                                                                                                     CHRISTMAS                   N/A - Inventory Value is not
NATIONAL TREE COMPANY       2 COMMERCE DRIVE                        CRANFORD                  NJ           07016         615 - CLINTONVILLE          TREES/ACCESSORIES           kept on the books
                                                                                                                                                     CHRISTMAS                   N/A - Inventory Value is not
NATIONAL TREE COMPANY       2 COMMERCE DRIVE                        CRANFORD                  NJ           07016         646 - STANDISH              TREES/ACCESSORIES           kept on the books
                                                                                                                                                     CHRISTMAS                   N/A - Inventory Value is not
NATIONAL TREE COMPANY       2 COMMERCE DRIVE                        CRANFORD                  NJ           07016         648 - TECUMSEH              TREES/ACCESSORIES           kept on the books
                                                                                                                                                     CHRISTMAS                   N/A - Inventory Value is not
NATIONAL TREE COMPANY       2 COMMERCE DRIVE                        CRANFORD                  NJ           07016         716 - MT. CARMEL            TREES/ACCESSORIES           kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
NES JEWELRY INCORPORATED    10 WEST 33RD STREET 9TH FLOOR           NEW YORK                  NY           10001         29 - MADISON WEST           JEWELRY                     kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
NES JEWELRY INCORPORATED    10 WEST 33RD STREET 9TH FLOOR           NEW YORK                  NY           10001         113 - LACEY                 JEWELRY                     kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
NES JEWELRY INCORPORATED    10 WEST 33RD STREET 9TH FLOOR           NEW YORK                  NY           10001         116 - SHEBOYGAN             JEWELRY                     kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
NES JEWELRY INCORPORATED    10 WEST 33RD STREET 9TH FLOOR           NEW YORK                  NY           10001         498 - ECOM-DROP SHIP        JEWELRY                     kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         1 - GREEN BAY WEST          BOOKS/MAGAZINES             kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         2 - ASHWAUBENON             BOOKS/MAGAZINES             kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         3 - MANITOWOC               BOOKS/MAGAZINES             kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         4 - GREEN BAY EAST          BOOKS/MAGAZINES             kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         5 - DE PERE                 BOOKS/MAGAZINES             kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         7 - LA CROSSE SOUTH         BOOKS/MAGAZINES             kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         8 - ROTHSCHILD              BOOKS/MAGAZINES             kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         9 - MARSHFIELD              BOOKS/MAGAZINES             kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         12 - WISCONSIN RAPIDS       BOOKS/MAGAZINES             kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         14 - BEAVER DAM             BOOKS/MAGAZINES             kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         15 - APPLETON               BOOKS/MAGAZINES             kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         17 - ST CLOUD WEST          BOOKS/MAGAZINES             kept on the books




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            Name of Owner                    Address1                          City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         18 - WEST BEND              BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         19 - WATERTOWN WI           BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         20 - LA CROSSE NORTH        BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         22 - MITCHELL               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         23 - HUTCHINSON             BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         24 - EAU CLAIRE             BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         25 - MARSHALL               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         26 - BELOIT                 BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         27 - RACINE                 BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         28 - KIMBERLY               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         29 - MADISON WEST           BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         30 - JANESVILLE             BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         31 - KENOSHA                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         32 - MONONA                 BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         33 - MENASHA                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         37 - CHIPPEWA FALLS         BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         40 - SIOUX CITY             BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         42 - OSHKOSH                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         48 - NORFOLK                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         50 - FOND DU LAC            BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         51 - FORT ATKINSON          BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         52 - MASON CITY             BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         53 - NORTH PLATTE           BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         54 - WATERTOWN SD           BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         55 - STEVENS POINT NORTH    BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         56 - OMAHA WEST             BOOKS/MAGAZINES            kept on the books




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            Name of Owner                    Address1                          City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         59 - FAIRMONT               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         60 - ALBERT LEA             BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         63 - POCATELLO              BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         76 - SIOUX FALLS SOUTH      BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         78 - RAPID CITY             BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         79 - WAUSAU                 BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         80 - MADISON NORTHEAST      BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         82 - MURRAY                 BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         83 - SANDY CITY             BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         84 - WEST JORDAN            BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         85 - TAYLORSVILLE           BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         87 - OGDEN                  BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         88 - LAYTON                 BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         90 - GRAFTON                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         91 - LOGAN                  BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         92 - KENNEWICK              BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         93 - BEND                   BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         96 - REDDING                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         97 - WEST VALLEY CITY       BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         98 - EUGENE NORTH           BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         99 - ONALASKA               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         100 - NEENAH                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         101 - SIOUX FALLS EAST      BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         102 - MARINETTE             BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         104 - BRIGHAM CITY          BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         105 - OREM                  BOOKS/MAGAZINES            kept on the books




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NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         106 - BILLINGS              BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         108 - SPANISH FORK          BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         109 - RIVERDALE             BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         111 - SALEM                 BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         112 - HELENA                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         113 - LACEY                 BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         114 - DULUTH                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         116 - SHEBOYGAN             BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         119 - DIXON                 BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         120 - MONROE                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         122 - WENATCHEE             BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         125 - FREEPORT              BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         127 - DELAVAN               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         128 - KALISPELL             BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         129 - SPOKANE SOUTH         BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         130 - RIVER FALLS           BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         132 - RICE LAKE             BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         133 - BELVIDERE             BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         134 - PULLMAN               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         164 - DUBUQUE               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         170 - RHINELANDER           BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         171 - PLOVER                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         172 - LINCOLN NORTHWEST     BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         175 - LINCOLN SOUTHEAST     BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         177 - SUAMICO               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         178 - SUSSEX                BOOKS/MAGAZINES            kept on the books




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NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         179 - NORTH BRANCH          BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         200 - CHINO VALLEY          BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         201 - EMMETSBURG            BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         202 - CLIFTON               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         203 - JACKSBORO             BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         205 - DELTA                 BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         206 - ELY                   BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         207 - OLDTOWN               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         208 - SEYMOUR               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         209 - TULIA                 BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         211 - ESTHERVILLE           BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         212 - GORDON                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         213 - LITTLEFIELD           BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         501 - LEDGEVIEW             BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         502 - HOWARD                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         503 - PORT WASHINGTON       BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         504 - APPLETON EAST         BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         505 - APPLETON NORTH        BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         512 - ELLSWORTH             BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         520 - ALBION                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         523 - VALENTINE             BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         526 - AFTON                 BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         532 - NEW TOWN              BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         533 - TIOGA                 BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         534 - ROLLA                 BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         535 - BOWMAN                BOOKS/MAGAZINES            kept on the books




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NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         536 - ULYSSES               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         537 - BELOIT                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         538 - ANTHONY               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         539 - MONAHANS              BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         540 - KERMIT                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         541 - DALHART               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         542 - PERRYTON              BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         543 - WOLF POINT            BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         544 - SIDNEY #2             BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         545 - MOBRIDGE              BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         546 - BURLINGTON            BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         547 - MOOSE LAKE            BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         548 - MAHNOMEN              BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         549 - HARDIN #2             BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         550 - DILLON #2             BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         551 - DEMOTTE               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         552 - OAKES                 BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         553 - ABILENE               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         554 - ANDREWS               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         555 - MOAB                  BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         556 - PROSSER               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         557 - NEPHI                 BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         558 - REDFIELD              BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         559 - OROFINO               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         560 - FAIRVIEW              BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         561 - COKATO                BOOKS/MAGAZINES            kept on the books




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NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         562 - STANLEY ND            BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         563 - MAUSTON               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         564 - WEBSTER CITY          BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         565 - CHEROKEE              BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         566 - WARROAD               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         567 - PAYNESVILLE           BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         568 - NEW PRAGUE            BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         569 - MILBANK               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         570 - WAGNER                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         571 - WEBSTER               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         572 - LEADVILLE             BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         573 - RUSSELL               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         574 - LOWELL                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         575 - LOVINGTON             BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         576 - ALPINE                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         577 - CANADIAN              BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         578 - BUENA VISTA           BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         579 - YUMA                  BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         580 - CARRINGTON            BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         581 - LISBON                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         583 - BLANDING              BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         584 - BONNERS FERRY         BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         585 - MAYVILLE              BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         586 - PHILLIPSBURG          BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         587 - CLARINDA              BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         588 - BEAVER                BOOKS/MAGAZINES            kept on the books




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                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         589 - CRESCO                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         592 - COMANCHE              BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         593 - COTULLA               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         594 - CHAMBERLAIN           BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         596 - DELL RAPIDS           BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         597 - ORD                   BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         598 - SPRINGERVILLE         BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         600 - VINTON                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         601 - KEWAUNEE              BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         602 - OCONTO                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         603 - PRINCETON             BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         604 - ABBOTSFORD            BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         605 - MORA                  BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         606 - CALUMET               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         607 - SEYMOUR               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         608 - BRILLION              BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         609 - KIEL                  BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         610 - ISHPEMING             BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         611 - SAINT PETER           BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         613 - WINNECONNE            BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         615 - CLINTONVILLE          BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         616 - SISTER BAY            BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         617 - WAUTOMA               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         618 - REEDSBURG             BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         619 - ADAMS                 BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         620 - EAGLE RIVER           BOOKS/MAGAZINES            kept on the books




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                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         621 - MANISTIQUE            BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         622 - WETMORE               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         623 - IRON RIVER            BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         624 - L'ANSE                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         625 - DYERSVILLE            BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         626 - LANCASTER             BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         627 - NEILLSVILLE           BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         628 - TWO HARBORS           BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         629 - ELY                   BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         630 - ARCADIA               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         632 - SPOONER               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         633 - PARK FALLS            BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         635 - SAVANNA               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         637 - ATTICA                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         638 - MONTICELLO            BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         639 - ROCKVILLE             BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         640 - TUSCOLA               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         641 - DWIGHT                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         642 - ALLEGAN               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         643 - NEWAYGO               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         644 - CLARE                 BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         646 - STANDISH              BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         647 - SYRACUSE              BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         648 - TECUMSEH              BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         649 - IMLAY CITY            BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         650 - DOWAGIAC              BOOKS/MAGAZINES            kept on the books




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                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         651 - HART                  BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         652 - BROOKLYN              BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         653 - GLADWIN               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         656 - KALKASKA              BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         658 - BEATRICE              BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         659 - AUBURN                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         660 - CRETE                 BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         661 - WEST POINT            BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         662 - PLATTSMOUTH           BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         664 - HUMBOLDT              BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         665 - HAMPTON               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         667 - SHELDON               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         668 - NEW HAMPTON           BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         669 - OELWEIN               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         670 - WAYNE                 BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         671 - WAUKON                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         672 - ONEILL                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         673 - AINSWORTH             BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         674 - CLARION               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         675 - WINTERSET             BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         676 - CHARITON              BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         677 - ONAWA                 BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         678 - JEFFERSON             BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         679 - TOLEDO                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         680 - PERRY                 BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         682 - HARLAN                BOOKS/MAGAZINES            kept on the books




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                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         683 - AUDUBON               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         684 - BLOOMFIELD            BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         685 - ELDORA                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         686 - GLENWOOD              BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         687 - GREENFIELD (IA)       BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         688 - MISSOURI VALLEY       BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         689 - MOUNT AYR             BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         690 - HOLDREGE              BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         691 - OGALLALA              BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         692 - SUPERIOR              BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         693 - CLAY CENTER           BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         694 - ALLIANCE              BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         695 - BROKEN BOW            BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         696 - NORTON                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         697 - SENECA                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         698 - GOTHENBURG            BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         699 - SCOTT CITY            BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         700 - KIMBALL               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         701 - LYONS                 BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         702 - LARNED                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         703 - BURLINGTON            BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         704 - FALLS CITY            BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         705 - TRENTON               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         706 - DONIPHAN              BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         707 - ALBANY                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         708 - CARROLLTON            BOOKS/MAGAZINES            kept on the books




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            Name of Owner                    Address1                          City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         709 - EL DORADO SPRINGS     BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         710 - GALLATIN              BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         711 - MEMPHIS               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         716 - MT. CARMEL            BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         717 - MINERVA               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         719 - WOODSFIELD            BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         720 - BATESVILLE            BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         729 - BRANDENBURG           BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         732 - GLENCOE               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         733 - FERGUS FALLS          BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         734 - CAVALIER              BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         735 - AITKIN                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         736 - VALLEY CITY           BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         737 - GRAFTON               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         738 - PERHAM                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         739 - GLENWOOD              BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         740 - MORRIS                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         741 - RUGBY                 BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         742 - EAST GRAND FORKS      BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         743 - BEULAH                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         744 - ROSEAU                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         745 - WINNER                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         746 - MADISON SD            BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         747 - LUVERNE               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         748 - PIPESTONE             BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         749 - SAINT JAMES           BOOKS/MAGAZINES            kept on the books




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                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         750 - WINDOM                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         751 - SISSETON              BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         752 - TORRINGTON            BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         753 - HOT SPRINGS           BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         755 - WHEATLAND             BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         756 - LANDER                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         757 - BELLE FOURCHE         BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         758 - DOUGLAS               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         759 - STURGIS               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         760 - GREEN RIVER           BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         761 - NEWCASTLE             BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         762 - THERMOPOLIS           BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         763 - CUSTER                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         764 - BUFFALO               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         765 - MOUNTAIN VIEW         BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         766 - SHELBY                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         767 - WORLAND               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         768 - GLASGOW               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         769 - SIDNEY                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         771 - PLENTYWOOD            BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         772 - POWELL                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         773 - LEWISTOWN             BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         774 - LIVINGSTON            BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         775 - LIBBY                 BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         776 - GREYBULL              BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                N/A - Inventory Value is not
NEWS GROUP LP (SBT)         1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         786 - RED OAK               BOOKS/MAGAZINES            kept on the books




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                                                                                                                                                                                   N/A - Inventory Value is not
NEWS GROUP LP (SBT)            1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         788 - COLUMBUS              BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
NEWS GROUP LP (SBT)            1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         789 - WAUPACA               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
NEWS GROUP LP (SBT)            1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         790 - STANLEY               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
NEWS GROUP LP (SBT)            1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         791 - FOREST CITY           BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
NEWS GROUP LP (SBT)            1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         792 - TOMAHAWK              BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
NEWS GROUP LP (SBT)            1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         793 - MAYVILLE              BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
NEWS GROUP LP (SBT)            1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         794 - QUINCY                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
NEWS GROUP LP (SBT)            1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         795 - SALMON                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
NEWS GROUP LP (SBT)            1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         796 - KASSON                BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
NEWS GROUP LP (SBT)            1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         797 - WHITEFISH             BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
NEWS GROUP LP (SBT)            1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         798 - BALLARD               BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
NEWS GROUP LP (SBT)            1955 LAKE PARK DRIVE STE 400            SMYRNA                    GA           30080         799 - TREMONTON             BOOKS/MAGAZINES            kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
NOTIONS MARKETING              1500 BUCHANAN AVENUE SW                 GRAND RAPIDS              MI           49507-1613 3 - MANITOWOC                  CRAFTS                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
NOTIONS MARKETING              1500 BUCHANAN AVENUE SW                 GRAND RAPIDS              MI           49507-1613 15 - APPLETON                  CRAFTS                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
NOTIONS MARKETING              1500 BUCHANAN AVENUE SW                 GRAND RAPIDS              MI           49507-1613 114 - DULUTH                   CRAFTS                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
NOTIONS MARKETING              1500 BUCHANAN AVENUE SW                 GRAND RAPIDS              MI           49507-1613 498 - ECOM-DROP SHIP           CRAFTS                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
NOTIONS MARKETING              1500 BUCHANAN AVENUE SW                 GRAND RAPIDS              MI           49507-1613 603 - PRINCETON                CRAFTS                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
OFFICE STAR PRODUCTS           PO BOX 3520                             ONTARIO                   CA           91761         37 - CHIPPEWA FALLS         FURNITURE                  kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
OFFICE STAR PRODUCTS           PO BOX 3520                             ONTARIO                   CA           91761         498 - ECOM-DROP SHIP        FURNITURE                  kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
OLD DOMINION FOOTWEAR          156 OLD DOMINION DRIVE                  MADISON HEIGHTS           VA           24572         498 - ECOM-DROP SHIP        ACTIVE SHOES               kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
OLD DUTCH INTERNATIONAL LTD    777 TERRACE AVE SUITE 509               HASBROUCK HEIGHTS         NJ           07604         498 - ECOM-DROP SHIP        GLASSWARE/BARWARE          kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
OLYMPIA INTERNATIONAL INC      19600 S VERMONT AVENUE                  TORRANCE                  CA           90502         76 - SIOUX FALLS SOUTH      LUGGAGE                    kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
OLYMPIA INTERNATIONAL INC      19600 S VERMONT AVENUE                  TORRANCE                  CA           90502         113 - LACEY                 LUGGAGE                    kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
OLYMPIA INTERNATIONAL INC      19600 S VERMONT AVENUE                  TORRANCE                  CA           90502         498 - ECOM-DROP SHIP        LUGGAGE                    kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
ORGANIZE IT ALL INCORPORATED   24 RIVER ROAD STE 201                   BOGOTA                    NJ           07603         498 - ECOM-DROP SHIP        DECORATIVE STORAGE         kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
P KAUFMANN HOME                3 PARK AVENUE 35TH FLOOR                NEW YORK                  NY           10016         29 - MADISON WEST           FURNITURE ACCESSORIES      kept on the books




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                                                                                                                                                                                   N/A - Inventory Value is not
P KAUFMANN HOME                  3 PARK AVENUE 35TH FLOOR              NEW YORK                  NY           10016         50 - FOND DU LAC            FURNITURE ACCESSORIES      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
P KAUFMANN HOME                  3 PARK AVENUE 35TH FLOOR              NEW YORK                  NY           10016         56 - OMAHA WEST             FURNITURE ACCESSORIES      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
P KAUFMANN HOME                  3 PARK AVENUE 35TH FLOOR              NEW YORK                  NY           10016         79 - WAUSAU                 FURNITURE ACCESSORIES      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
P KAUFMANN HOME                  3 PARK AVENUE 35TH FLOOR              NEW YORK                  NY           10016         82 - MURRAY                 FURNITURE ACCESSORIES      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
P KAUFMANN HOME                  3 PARK AVENUE 35TH FLOOR              NEW YORK                  NY           10016         92 - KENNEWICK              FURNITURE ACCESSORIES      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
P KAUFMANN HOME                  3 PARK AVENUE 35TH FLOOR              NEW YORK                  NY           10016         114 - DULUTH                FURNITURE ACCESSORIES      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
P KAUFMANN HOME                  3 PARK AVENUE 35TH FLOOR              NEW YORK                  NY           10016         498 - ECOM-DROP SHIP        FURNITURE ACCESSORIES      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
P KAUFMANN HOME                  3 PARK AVENUE 35TH FLOOR              NEW YORK                  NY           10016         697 - SENECA                FURNITURE ACCESSORIES      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
P KAUFMANN HOME                  3 PARK AVENUE 35TH FLOOR              NEW YORK                  NY           10016         742 - EAST GRAND FORKS      FURNITURE ACCESSORIES      kept on the books
                                                                                                                                                        CARDS, WRAPPING,           N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                     CLEVELAND                 OH           44144         1 - GREEN BAY WEST          STATIONARY                 kept on the books
                                                                                                                                                        CARDS, WRAPPING,           N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                     CLEVELAND                 OH           44144         2 - ASHWAUBENON             STATIONARY                 kept on the books
                                                                                                                                                        CARDS, WRAPPING,           N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                     CLEVELAND                 OH           44144         3 - MANITOWOC               STATIONARY                 kept on the books
                                                                                                                                                        CARDS, WRAPPING,           N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                     CLEVELAND                 OH           44144         4 - GREEN BAY EAST          STATIONARY                 kept on the books
                                                                                                                                                        CARDS, WRAPPING,           N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                     CLEVELAND                 OH           44144         5 - DE PERE                 STATIONARY                 kept on the books
                                                                                                                                                        CARDS, WRAPPING,           N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                     CLEVELAND                 OH           44144         7 - LA CROSSE SOUTH         STATIONARY                 kept on the books
                                                                                                                                                        CARDS, WRAPPING,           N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                     CLEVELAND                 OH           44144         8 - ROTHSCHILD              STATIONARY                 kept on the books
                                                                                                                                                        CARDS, WRAPPING,           N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                     CLEVELAND                 OH           44144         9 - MARSHFIELD              STATIONARY                 kept on the books
                                                                                                                                                        CARDS, WRAPPING,           N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                     CLEVELAND                 OH           44144         12 - WISCONSIN RAPIDS       STATIONARY                 kept on the books
                                                                                                                                                        CARDS, WRAPPING,           N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                     CLEVELAND                 OH           44144         14 - BEAVER DAM             STATIONARY                 kept on the books
                                                                                                                                                        CARDS, WRAPPING,           N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                     CLEVELAND                 OH           44144         15 - APPLETON               STATIONARY                 kept on the books
                                                                                                                                                        CARDS, WRAPPING,           N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                     CLEVELAND                 OH           44144         17 - ST CLOUD WEST          STATIONARY                 kept on the books
                                                                                                                                                        CARDS, WRAPPING,           N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                     CLEVELAND                 OH           44144         18 - WEST BEND              STATIONARY                 kept on the books
                                                                                                                                                        CARDS, WRAPPING,           N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                     CLEVELAND                 OH           44144         19 - WATERTOWN WI           STATIONARY                 kept on the books
                                                                                                                                                        CARDS, WRAPPING,           N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                     CLEVELAND                 OH           44144         20 - LA CROSSE NORTH        STATIONARY                 kept on the books
                                                                                                                                                        CARDS, WRAPPING,           N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                     CLEVELAND                 OH           44144         22 - MITCHELL               STATIONARY                 kept on the books
                                                                                                                                                        CARDS, WRAPPING,           N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                     CLEVELAND                 OH           44144         23 - HUTCHINSON             STATIONARY                 kept on the books




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            Name of Owner                      Address1                          City                State       Zip            Location of Property     Description of Property               Value
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         24 - EAU CLAIRE             STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         25 - MARSHALL               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         26 - BELOIT                 STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         27 - RACINE                 STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         28 - KIMBERLY               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         29 - MADISON WEST           STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         30 - JANESVILLE             STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         31 - KENOSHA                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         32 - MONONA                 STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         33 - MENASHA                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         37 - CHIPPEWA FALLS         STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         40 - SIOUX CITY             STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         42 - OSHKOSH                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         48 - NORFOLK                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         50 - FOND DU LAC            STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         51 - FORT ATKINSON          STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         52 - MASON CITY             STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         53 - NORTH PLATTE           STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         54 - WATERTOWN SD           STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         55 - STEVENS POINT NORTH    STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         56 - OMAHA WEST             STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         59 - FAIRMONT               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         60 - ALBERT LEA             STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         63 - POCATELLO              STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         76 - SIOUX FALLS SOUTH      STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         78 - RAPID CITY             STATIONARY                  kept on the books




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            Name of Owner                      Address1                          City                State       Zip            Location of Property     Description of Property               Value
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         79 - WAUSAU                 STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         80 - MADISON NORTHEAST      STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         82 - MURRAY                 STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         83 - SANDY CITY             STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         84 - WEST JORDAN            STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         85 - TAYLORSVILLE           STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         87 - OGDEN                  STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         88 - LAYTON                 STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         90 - GRAFTON                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         91 - LOGAN                  STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         92 - KENNEWICK              STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         93 - BEND                   STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         96 - REDDING                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         97 - WEST VALLEY CITY       STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         98 - EUGENE NORTH           STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         99 - ONALASKA               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         100 - NEENAH                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         101 - SIOUX FALLS EAST      STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         102 - MARINETTE             STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         104 - BRIGHAM CITY          STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         105 - OREM                  STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         106 - BILLINGS              STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         108 - SPANISH FORK          STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         109 - RIVERDALE             STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         111 - SALEM                 STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         112 - HELENA                STATIONARY                  kept on the books




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                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         113 - LACEY                 STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         114 - DULUTH                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         116 - SHEBOYGAN             STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         119 - DIXON                 STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         120 - MONROE                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         122 - WENATCHEE             STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         125 - FREEPORT              STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         127 - DELAVAN               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         128 - KALISPELL             STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         129 - SPOKANE SOUTH         STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         130 - RIVER FALLS           STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         132 - RICE LAKE             STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         133 - BELVIDERE             STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         134 - PULLMAN               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         164 - DUBUQUE               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         170 - RHINELANDER           STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         171 - PLOVER                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         172 - LINCOLN NORTHWEST     STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         175 - LINCOLN SOUTHEAST     STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         177 - SUAMICO               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         178 - SUSSEX                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         179 - NORTH BRANCH          STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         200 - CHINO VALLEY          STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         201 - EMMETSBURG            STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         202 - CLIFTON               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         203 - JACKSBORO             STATIONARY                  kept on the books




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                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         205 - DELTA                 STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         206 - ELY                   STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         207 - OLDTOWN               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         208 - SEYMOUR               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         209 - TULIA                 STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         211 - ESTHERVILLE           STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         212 - GORDON                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         213 - LITTLEFIELD           STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         501 - LEDGEVIEW             STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         502 - HOWARD                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         503 - PORT WASHINGTON       STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         504 - APPLETON EAST         STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         505 - APPLETON NORTH        STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         512 - ELLSWORTH             STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         520 - ALBION                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         523 - VALENTINE             STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         526 - AFTON                 STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         532 - NEW TOWN              STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         533 - TIOGA                 STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         534 - ROLLA                 STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         535 - BOWMAN                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         536 - ULYSSES               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         537 - BELOIT                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         538 - ANTHONY               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         539 - MONAHANS              STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         540 - KERMIT                STATIONARY                  kept on the books




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            Name of Owner                      Address1                          City                State       Zip            Location of Property     Description of Property               Value
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         541 - DALHART               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         542 - PERRYTON              STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         543 - WOLF POINT            STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         544 - SIDNEY #2             STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         545 - MOBRIDGE              STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         546 - BURLINGTON            STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         547 - MOOSE LAKE            STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         548 - MAHNOMEN              STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         549 - HARDIN #2             STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         550 - DILLON #2             STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         551 - DEMOTTE               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         552 - OAKES                 STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         553 - ABILENE               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         554 - ANDREWS               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         555 - MOAB                  STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         556 - PROSSER               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         557 - NEPHI                 STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         558 - REDFIELD              STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         559 - OROFINO               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         560 - FAIRVIEW              STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         561 - COKATO                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         562 - STANLEY ND            STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         563 - MAUSTON               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         564 - WEBSTER CITY          STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         565 - CHEROKEE              STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         566 - WARROAD               STATIONARY                  kept on the books




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                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         567 - PAYNESVILLE           STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         568 - NEW PRAGUE            STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         569 - MILBANK               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         570 - WAGNER                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         571 - WEBSTER               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         572 - LEADVILLE             STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         573 - RUSSELL               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         574 - LOWELL                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         575 - LOVINGTON             STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         576 - ALPINE                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         577 - CANADIAN              STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         578 - BUENA VISTA           STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         579 - YUMA                  STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         580 - CARRINGTON            STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         581 - LISBON                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         582 - PRESIDIO              STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         583 - BLANDING              STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         584 - BONNERS FERRY         STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         585 - MAYVILLE              STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         586 - PHILLIPSBURG          STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         587 - CLARINDA              STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         588 - BEAVER                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         589 - CRESCO                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         592 - COMANCHE              STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         593 - COTULLA               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         594 - CHAMBERLAIN           STATIONARY                  kept on the books




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                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         596 - DELL RAPIDS           STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         597 - ORD                   STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         598 - SPRINGERVILLE         STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         600 - VINTON                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         601 - KEWAUNEE              STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         602 - OCONTO                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         603 - PRINCETON             STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         604 - ABBOTSFORD            STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         605 - MORA                  STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         606 - CALUMET               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         607 - SEYMOUR               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         608 - BRILLION              STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         609 - KIEL                  STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         610 - ISHPEMING             STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         611 - SAINT PETER           STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         613 - WINNECONNE            STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         615 - CLINTONVILLE          STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         616 - SISTER BAY            STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         617 - WAUTOMA               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         618 - REEDSBURG             STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         619 - ADAMS                 STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         620 - EAGLE RIVER           STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         621 - MANISTIQUE            STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         622 - WETMORE               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         623 - IRON RIVER            STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         624 - L'ANSE                STATIONARY                  kept on the books




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                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         625 - DYERSVILLE            STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         626 - LANCASTER             STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         627 - NEILLSVILLE           STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         628 - TWO HARBORS           STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         629 - ELY                   STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         630 - ARCADIA               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         632 - SPOONER               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         633 - PARK FALLS            STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         635 - SAVANNA               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         637 - ATTICA                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         638 - MONTICELLO            STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         639 - ROCKVILLE             STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         640 - TUSCOLA               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         641 - DWIGHT                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         642 - ALLEGAN               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         643 - NEWAYGO               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         644 - CLARE                 STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         646 - STANDISH              STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         647 - SYRACUSE              STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         648 - TECUMSEH              STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         649 - IMLAY CITY            STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         650 - DOWAGIAC              STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         651 - HART                  STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         652 - BROOKLYN              STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         653 - GLADWIN               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         656 - KALKASKA              STATIONARY                  kept on the books




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                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         658 - BEATRICE              STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         659 - AUBURN                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         660 - CRETE                 STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         661 - WEST POINT            STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         662 - PLATTSMOUTH           STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         664 - HUMBOLDT              STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         665 - HAMPTON               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         667 - SHELDON               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         668 - NEW HAMPTON           STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         669 - OELWEIN               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         670 - WAYNE                 STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         671 - WAUKON                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         672 - ONEILL                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         673 - AINSWORTH             STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         674 - CLARION               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         675 - WINTERSET             STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         676 - CHARITON              STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         677 - ONAWA                 STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         678 - JEFFERSON             STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         679 - TOLEDO                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         680 - PERRY                 STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         681 - IDA GROVE             STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         682 - HARLAN                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         683 - AUDUBON               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         684 - BLOOMFIELD            STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         685 - ELDORA                STATIONARY                  kept on the books




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                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         686 - GLENWOOD              STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         687 - GREENFIELD (IA)       STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         688 - MISSOURI VALLEY       STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         689 - MOUNT AYR             STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         690 - HOLDREGE              STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         691 - OGALLALA              STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         692 - SUPERIOR              STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         693 - CLAY CENTER           STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         694 - ALLIANCE              STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         695 - BROKEN BOW            STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         696 - NORTON                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         697 - SENECA                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         698 - GOTHENBURG            STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         699 - SCOTT CITY            STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         700 - KIMBALL               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         701 - LYONS                 STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         702 - LARNED                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         703 - BURLINGTON            STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         704 - FALLS CITY            STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         705 - TRENTON               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         706 - DONIPHAN              STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         707 - ALBANY                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         708 - CARROLLTON            STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         709 - EL DORADO SPRINGS     STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         710 - GALLATIN              STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         711 - MEMPHIS               STATIONARY                  kept on the books




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                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         716 - MT. CARMEL            STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         717 - MINERVA               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         719 - WOODSFIELD            STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         720 - BATESVILLE            STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         729 - BRANDENBURG           STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         732 - GLENCOE               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         733 - FERGUS FALLS          STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         734 - CAVALIER              STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         735 - AITKIN                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         736 - VALLEY CITY           STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         737 - GRAFTON               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         738 - PERHAM                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         739 - GLENWOOD              STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         740 - MORRIS                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         741 - RUGBY                 STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         742 - EAST GRAND FORKS      STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         743 - BEULAH                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         744 - ROSEAU                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         745 - WINNER                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         746 - MADISON SD            STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         747 - LUVERNE               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         748 - PIPESTONE             STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         749 - SAINT JAMES           STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         750 - WINDOM                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         751 - SISSETON              STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         752 - TORRINGTON            STATIONARY                  kept on the books




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                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         753 - HOT SPRINGS           STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         755 - WHEATLAND             STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         756 - LANDER                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         757 - BELLE FOURCHE         STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         758 - DOUGLAS               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         759 - STURGIS               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         760 - GREEN RIVER           STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         761 - NEWCASTLE             STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         762 - THERMOPOLIS           STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         763 - CUSTER                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         764 - BUFFALO               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         765 - MOUNTAIN VIEW         STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         766 - SHELBY                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         767 - WORLAND               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         768 - GLASGOW               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         769 - SIDNEY                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         771 - PLENTYWOOD            STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         772 - POWELL                STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         773 - LEWISTOWN             STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         774 - LIVINGSTON            STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         775 - LIBBY                 STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         776 - GREYBULL              STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         786 - RED OAK               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         788 - COLUMBUS              STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         789 - WAUPACA               STATIONARY                  kept on the books
                                                                                                                                                       CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                    CLEVELAND                 OH           44144         790 - STANLEY               STATIONARY                  kept on the books




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                                                                                                                                                            CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                         CLEVELAND                 OH           44144         791 - FOREST CITY           STATIONARY                  kept on the books
                                                                                                                                                            CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                         CLEVELAND                 OH           44144         792 - TOMAHAWK              STATIONARY                  kept on the books
                                                                                                                                                            CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                         CLEVELAND                 OH           44144         793 - MAYVILLE              STATIONARY                  kept on the books
                                                                                                                                                            CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                         CLEVELAND                 OH           44144         794 - QUINCY                STATIONARY                  kept on the books
                                                                                                                                                            CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                         CLEVELAND                 OH           44144         795 - SALMON                STATIONARY                  kept on the books
                                                                                                                                                            CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                         CLEVELAND                 OH           44144         796 - KASSON                STATIONARY                  kept on the books
                                                                                                                                                            CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                         CLEVELAND                 OH           44144         797 - WHITEFISH             STATIONARY                  kept on the books
                                                                                                                                                            CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                         CLEVELAND                 OH           44144         798 - BALLARD               STATIONARY                  kept on the books
                                                                                                                                                            CARDS, WRAPPING,            N/A - Inventory Value is not
PAPYRUS RECYCLED GREETINGS INC   ONE AMERICAN ROAD                         CLEVELAND                 OH           44144         799 - TREMONTON             STATIONARY                  kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
PARADIGM HEALTH & WELLNESS INC   1189 JELLICK AVE                          CITY OF INDUSTRY          CA                   91748 99 - ONALASKA               EXERCISE EQUIPMENT          kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
PARADIGM HEALTH & WELLNESS INC   1189 JELLICK AVE                          CITY OF INDUSTRY          CA                   91748 498 - ECOM-DROP SHIP        EXERCISE EQUIPMENT          kept on the books
                                                                                                                                                            OUTDOOR CUSHIONS &          N/A - Inventory Value is not
PEAK SEASON INCORPORATED         2800 CRESTWOOD BLVD                       IRONDALE                  AL           35210         99 - ONALASKA               UMBRELLAS                   kept on the books
                                                                                                                                                            OUTDOOR CUSHIONS &          N/A - Inventory Value is not
PEAK SEASON INCORPORATED         2800 CRESTWOOD BLVD                       IRONDALE                  AL           35210         498 - ECOM-DROP SHIP        UMBRELLAS                   kept on the books
                                                                                                                                                            OUTDOOR CUSHIONS &          N/A - Inventory Value is not
PEAK SEASON INCORPORATED         2800 CRESTWOOD BLVD                       IRONDALE                  AL           35210         694 - ALLIANCE              UMBRELLAS                   kept on the books
                                                                                                                                                            BEDDING, BATH               N/A - Inventory Value is not
PEM AMERICA INCORPORATED         230 FIFTH AVENUE STE 200                  NEW YORK                  NY           10001         2 - ASHWAUBENON             ACCESSORIES                 kept on the books
                                                                                                                                                            BEDDING, BATH               N/A - Inventory Value is not
PEM AMERICA INCORPORATED         230 FIFTH AVENUE STE 200                  NEW YORK                  NY           10001         25 - MARSHALL               ACCESSORIES                 kept on the books
                                                                                                                                                            BEDDING, BATH               N/A - Inventory Value is not
PEM AMERICA INCORPORATED         230 FIFTH AVENUE STE 200                  NEW YORK                  NY           10001         32 - MONONA                 ACCESSORIES                 kept on the books
                                                                                                                                                            BEDDING, BATH               N/A - Inventory Value is not
PEM AMERICA INCORPORATED         230 FIFTH AVENUE STE 200                  NEW YORK                  NY           10001         40 - SIOUX CITY             ACCESSORIES                 kept on the books
                                                                                                                                                            BEDDING, BATH               N/A - Inventory Value is not
PEM AMERICA INCORPORATED         230 FIFTH AVENUE STE 200                  NEW YORK                  NY           10001         48 - NORFOLK                ACCESSORIES                 kept on the books
                                                                                                                                                            BEDDING, BATH               N/A - Inventory Value is not
PEM AMERICA INCORPORATED         230 FIFTH AVENUE STE 200                  NEW YORK                  NY           10001         50 - FOND DU LAC            ACCESSORIES                 kept on the books
                                                                                                                                                            BEDDING, BATH               N/A - Inventory Value is not
PEM AMERICA INCORPORATED         230 FIFTH AVENUE STE 200                  NEW YORK                  NY           10001         82 - MURRAY                 ACCESSORIES                 kept on the books
                                                                                                                                                            BEDDING, BATH               N/A - Inventory Value is not
PEM AMERICA INCORPORATED         230 FIFTH AVENUE STE 200                  NEW YORK                  NY           10001         90 - GRAFTON                ACCESSORIES                 kept on the books
                                                                                                                                                            BEDDING, BATH               N/A - Inventory Value is not
PEM AMERICA INCORPORATED         230 FIFTH AVENUE STE 200                  NEW YORK                  NY           10001         98 - EUGENE NORTH           ACCESSORIES                 kept on the books
                                                                                                                                                            BEDDING, BATH               N/A - Inventory Value is not
PEM AMERICA INCORPORATED         230 FIFTH AVENUE STE 200                  NEW YORK                  NY           10001         101 - SIOUX FALLS EAST      ACCESSORIES                 kept on the books
                                                                                                                                                            BEDDING, BATH               N/A - Inventory Value is not
PEM AMERICA INCORPORATED         230 FIFTH AVENUE STE 200                  NEW YORK                  NY           10001         120 - MONROE                ACCESSORIES                 kept on the books
                                                                                                                                                            BEDDING, BATH               N/A - Inventory Value is not
PEM AMERICA INCORPORATED         230 FIFTH AVENUE STE 200                  NEW YORK                  NY           10001         170 - RHINELANDER           ACCESSORIES                 kept on the books




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                                                                                                                                                      BEDDING, BATH               N/A - Inventory Value is not
PEM AMERICA INCORPORATED      230 FIFTH AVENUE STE 200               NEW YORK                  NY           10001         498 - ECOM-DROP SHIP        ACCESSORIES                 kept on the books
                                                                                                                                                      BEDDING, BATH               N/A - Inventory Value is not
PEM AMERICA INCORPORATED      230 FIFTH AVENUE STE 200               NEW YORK                  NY           10001         685 - ELDORA                ACCESSORIES                 kept on the books
                                                                                                                                                      BEDDING, BATH               N/A - Inventory Value is not
PEM AMERICA INCORPORATED      230 FIFTH AVENUE STE 200               NEW YORK                  NY           10001         698 - GOTHENBURG            ACCESSORIES                 kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
PERFUME WORLDWIDE             100 COMMERCIAL STREET                  PLAINVIEW                 NY           11803         48 - NORFOLK                HAIR CARE, FRAGRANCES       kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
PERFUME WORLDWIDE             100 COMMERCIAL STREET                  PLAINVIEW                 NY           11803         125 - FREEPORT              HAIR CARE, FRAGRANCES       kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
PERFUME WORLDWIDE             100 COMMERCIAL STREET                  PLAINVIEW                 NY           11803         498 - ECOM-DROP SHIP        HAIR CARE, FRAGRANCES       kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
PICNIC TIME INC (C-HUB)       5131 MAUREEN LANE                      MOORPARK                  CA           93021         87 - OGDEN                  TEAM COLLECTIBLES           kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
PICNIC TIME INC (C-HUB)       5131 MAUREEN LANE                      MOORPARK                  CA           93021         116 - SHEBOYGAN             TEAM COLLECTIBLES           kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
PICNIC TIME INC (C-HUB)       5131 MAUREEN LANE                      MOORPARK                  CA           93021         164 - DUBUQUE               TEAM COLLECTIBLES           kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
PICNIC TIME INC (C-HUB)       5131 MAUREEN LANE                      MOORPARK                  CA           93021         498 - ECOM-DROP SHIP        TEAM COLLECTIBLES           kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
PLANTATION PRODUCTS LLC       202 SOUTH WASHINGTON STREET            NORTON                    MA           02766         1 - GREEN BAY WEST          GARDEN SEEDS                kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
PLANTATION PRODUCTS LLC       202 SOUTH WASHINGTON STREET            NORTON                    MA           02766         2 - ASHWAUBENON             GARDEN SEEDS                kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
PLANTATION PRODUCTS LLC       202 SOUTH WASHINGTON STREET            NORTON                    MA           02766         3 - MANITOWOC               GARDEN SEEDS                kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
PLANTATION PRODUCTS LLC       202 SOUTH WASHINGTON STREET            NORTON                    MA           02766         4 - GREEN BAY EAST          GARDEN SEEDS                kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
PLANTATION PRODUCTS LLC       202 SOUTH WASHINGTON STREET            NORTON                    MA           02766         5 - DE PERE                 GARDEN SEEDS                kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
PLANTATION PRODUCTS LLC       202 SOUTH WASHINGTON STREET            NORTON                    MA           02766         7 - LA CROSSE SOUTH         GARDEN SEEDS                kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
PLANTATION PRODUCTS LLC       202 SOUTH WASHINGTON STREET            NORTON                    MA           02766         8 - ROTHSCHILD              GARDEN SEEDS                kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
PLANTATION PRODUCTS LLC       202 SOUTH WASHINGTON STREET            NORTON                    MA           02766         9 - MARSHFIELD              GARDEN SEEDS                kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
PLANTATION PRODUCTS LLC       202 SOUTH WASHINGTON STREET            NORTON                    MA           02766         12 - WISCONSIN RAPIDS       GARDEN SEEDS                kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
PLANTATION PRODUCTS LLC       202 SOUTH WASHINGTON STREET            NORTON                    MA           02766         14 - BEAVER DAM             GARDEN SEEDS                kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
PLANTATION PRODUCTS LLC       202 SOUTH WASHINGTON STREET            NORTON                    MA           02766         15 - APPLETON               GARDEN SEEDS                kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
PLANTATION PRODUCTS LLC       202 SOUTH WASHINGTON STREET            NORTON                    MA           02766         17 - ST CLOUD WEST          GARDEN SEEDS                kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
PLANTATION PRODUCTS LLC       202 SOUTH WASHINGTON STREET            NORTON                    MA           02766         18 - WEST BEND              GARDEN SEEDS                kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
PLANTATION PRODUCTS LLC       202 SOUTH WASHINGTON STREET            NORTON                    MA           02766         19 - WATERTOWN WI           GARDEN SEEDS                kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
PLANTATION PRODUCTS LLC       202 SOUTH WASHINGTON STREET            NORTON                    MA           02766         20 - LA CROSSE NORTH        GARDEN SEEDS                kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
PLANTATION PRODUCTS LLC       202 SOUTH WASHINGTON STREET            NORTON                    MA           02766         22 - MITCHELL               GARDEN SEEDS                kept on the books




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                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         23 - HUTCHINSON             GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         24 - EAU CLAIRE             GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         25 - MARSHALL               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         26 - BELOIT                 GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         27 - RACINE                 GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         28 - KIMBERLY               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         29 - MADISON WEST           GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         30 - JANESVILLE             GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         31 - KENOSHA                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         32 - MONONA                 GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         33 - MENASHA                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         37 - CHIPPEWA FALLS         GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         40 - SIOUX CITY             GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         42 - OSHKOSH                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         48 - NORFOLK                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         50 - FOND DU LAC            GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         51 - FORT ATKINSON          GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         52 - MASON CITY             GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         53 - NORTH PLATTE           GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         54 - WATERTOWN SD           GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         55 - STEVENS POINT NORTH    GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         56 - OMAHA WEST             GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         59 - FAIRMONT               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         60 - ALBERT LEA             GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         63 - POCATELLO              GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         76 - SIOUX FALLS SOUTH      GARDEN SEEDS               kept on the books




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            Name of Owner                  Address1                          City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         78 - RAPID CITY             GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         79 - WAUSAU                 GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         80 - MADISON NORTHEAST      GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         82 - MURRAY                 GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         83 - SANDY CITY             GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         84 - WEST JORDAN            GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         85 - TAYLORSVILLE           GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         87 - OGDEN                  GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         88 - LAYTON                 GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         90 - GRAFTON                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         91 - LOGAN                  GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         92 - KENNEWICK              GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         93 - BEND                   GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         96 - REDDING                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         97 - WEST VALLEY CITY       GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         98 - EUGENE NORTH           GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         99 - ONALASKA               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         100 - NEENAH                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         101 - SIOUX FALLS EAST      GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         102 - MARINETTE             GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         104 - BRIGHAM CITY          GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         105 - OREM                  GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         106 - BILLINGS              GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         108 - SPANISH FORK          GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         109 - RIVERDALE             GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         111 - SALEM                 GARDEN SEEDS               kept on the books




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            Name of Owner                  Address1                          City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         112 - HELENA                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         113 - LACEY                 GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         114 - DULUTH                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         116 - SHEBOYGAN             GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         119 - DIXON                 GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         120 - MONROE                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         122 - WENATCHEE             GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         125 - FREEPORT              GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         127 - DELAVAN               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         128 - KALISPELL             GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         129 - SPOKANE SOUTH         GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         130 - RIVER FALLS           GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         132 - RICE LAKE             GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         133 - BELVIDERE             GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         134 - PULLMAN               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         164 - DUBUQUE               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         170 - RHINELANDER           GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         171 - PLOVER                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         172 - LINCOLN NORTHWEST     GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         175 - LINCOLN SOUTHEAST     GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         177 - SUAMICO               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         178 - SUSSEX                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         179 - NORTH BRANCH          GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         200 - CHINO VALLEY          GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         201 - EMMETSBURG            GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         202 - CLIFTON               GARDEN SEEDS               kept on the books




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            Name of Owner                  Address1                          City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         203 - JACKSBORO             GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         205 - DELTA                 GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         206 - ELY                   GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         207 - OLDTOWN               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         208 - SEYMOUR               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         209 - TULIA                 GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         211 - ESTHERVILLE           GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         212 - GORDON                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         213 - LITTLEFIELD           GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         501 - LEDGEVIEW             GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         502 - HOWARD                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         503 - PORT WASHINGTON       GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         504 - APPLETON EAST         GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         505 - APPLETON NORTH        GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         512 - ELLSWORTH             GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         520 - ALBION                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         523 - VALENTINE             GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         526 - AFTON                 GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         532 - NEW TOWN              GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         533 - TIOGA                 GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         534 - ROLLA                 GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         535 - BOWMAN                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         536 - ULYSSES               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         537 - BELOIT                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         538 - ANTHONY               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         539 - MONAHANS              GARDEN SEEDS               kept on the books




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                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         540 - KERMIT                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         541 - DALHART               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         542 - PERRYTON              GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         543 - WOLF POINT            GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         544 - SIDNEY #2             GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         545 - MOBRIDGE              GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         546 - BURLINGTON            GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         547 - MOOSE LAKE            GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         548 - MAHNOMEN              GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         549 - HARDIN #2             GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         550 - DILLON #2             GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         551 - DEMOTTE               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         552 - OAKES                 GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         553 - ABILENE               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         554 - ANDREWS               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         555 - MOAB                  GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         556 - PROSSER               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         557 - NEPHI                 GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         558 - REDFIELD              GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         559 - OROFINO               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         560 - FAIRVIEW              GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         561 - COKATO                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         562 - STANLEY ND            GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         563 - MAUSTON               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         564 - WEBSTER CITY          GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         565 - CHEROKEE              GARDEN SEEDS               kept on the books




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                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         566 - WARROAD               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         567 - PAYNESVILLE           GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         568 - NEW PRAGUE            GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         569 - MILBANK               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         570 - WAGNER                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         571 - WEBSTER               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         572 - LEADVILLE             GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         573 - RUSSELL               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         574 - LOWELL                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         575 - LOVINGTON             GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         576 - ALPINE                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         577 - CANADIAN              GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         578 - BUENA VISTA           GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         579 - YUMA                  GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         580 - CARRINGTON            GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         581 - LISBON                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         582 - PRESIDIO              GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         583 - BLANDING              GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         584 - BONNERS FERRY         GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         585 - MAYVILLE              GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         586 - PHILLIPSBURG          GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         587 - CLARINDA              GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         588 - BEAVER                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         589 - CRESCO                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         592 - COMANCHE              GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         593 - COTULLA               GARDEN SEEDS               kept on the books




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                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         594 - CHAMBERLAIN           GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         596 - DELL RAPIDS           GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         597 - ORD                   GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         598 - SPRINGERVILLE         GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         600 - VINTON                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         601 - KEWAUNEE              GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         602 - OCONTO                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         603 - PRINCETON             GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         604 - ABBOTSFORD            GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         605 - MORA                  GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         606 - CALUMET               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         607 - SEYMOUR               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         608 - BRILLION              GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         609 - KIEL                  GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         610 - ISHPEMING             GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         611 - SAINT PETER           GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         613 - WINNECONNE            GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         615 - CLINTONVILLE          GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         616 - SISTER BAY            GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         617 - WAUTOMA               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         618 - REEDSBURG             GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         619 - ADAMS                 GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         620 - EAGLE RIVER           GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         621 - MANISTIQUE            GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         622 - WETMORE               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         623 - IRON RIVER            GARDEN SEEDS               kept on the books




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                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         624 - L'ANSE                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         625 - DYERSVILLE            GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         626 - LANCASTER             GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         627 - NEILLSVILLE           GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         628 - TWO HARBORS           GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         629 - ELY                   GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         630 - ARCADIA               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         632 - SPOONER               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         633 - PARK FALLS            GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         635 - SAVANNA               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         637 - ATTICA                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         638 - MONTICELLO            GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         639 - ROCKVILLE             GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         640 - TUSCOLA               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         641 - DWIGHT                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         642 - ALLEGAN               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         643 - NEWAYGO               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         644 - CLARE                 GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         646 - STANDISH              GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         647 - SYRACUSE              GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         648 - TECUMSEH              GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         649 - IMLAY CITY            GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         650 - DOWAGIAC              GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         651 - HART                  GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         652 - BROOKLYN              GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         653 - GLADWIN               GARDEN SEEDS               kept on the books




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            Name of Owner                  Address1                          City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         656 - KALKASKA              GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         658 - BEATRICE              GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         659 - AUBURN                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         660 - CRETE                 GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         661 - WEST POINT            GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         662 - PLATTSMOUTH           GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         664 - HUMBOLDT              GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         665 - HAMPTON               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         667 - SHELDON               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         668 - NEW HAMPTON           GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         669 - OELWEIN               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         670 - WAYNE                 GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         671 - WAUKON                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         672 - ONEILL                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         673 - AINSWORTH             GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         674 - CLARION               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         675 - WINTERSET             GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         676 - CHARITON              GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         677 - ONAWA                 GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         678 - JEFFERSON             GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         679 - TOLEDO                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         680 - PERRY                 GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         681 - IDA GROVE             GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         682 - HARLAN                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         683 - AUDUBON               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         684 - BLOOMFIELD            GARDEN SEEDS               kept on the books




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                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         685 - ELDORA                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         686 - GLENWOOD              GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         687 - GREENFIELD (IA)       GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         688 - MISSOURI VALLEY       GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         689 - MOUNT AYR             GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         690 - HOLDREGE              GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         691 - OGALLALA              GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         692 - SUPERIOR              GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         693 - CLAY CENTER           GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         694 - ALLIANCE              GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         695 - BROKEN BOW            GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         696 - NORTON                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         697 - SENECA                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         698 - GOTHENBURG            GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         699 - SCOTT CITY            GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         700 - KIMBALL               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         701 - LYONS                 GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         702 - LARNED                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         703 - BURLINGTON            GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         704 - FALLS CITY            GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         705 - TRENTON               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         706 - DONIPHAN              GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         707 - ALBANY                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         708 - CARROLLTON            GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         709 - EL DORADO SPRINGS     GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         710 - GALLATIN              GARDEN SEEDS               kept on the books




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            Name of Owner                  Address1                          City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         711 - MEMPHIS               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         716 - MT. CARMEL            GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         717 - MINERVA               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         719 - WOODSFIELD            GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         720 - BATESVILLE            GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         729 - BRANDENBURG           GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         732 - GLENCOE               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         733 - FERGUS FALLS          GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         734 - CAVALIER              GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         735 - AITKIN                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         736 - VALLEY CITY           GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         737 - GRAFTON               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         738 - PERHAM                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         739 - GLENWOOD              GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         740 - MORRIS                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         741 - RUGBY                 GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         742 - EAST GRAND FORKS      GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         743 - BEULAH                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         744 - ROSEAU                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         745 - WINNER                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         746 - MADISON SD            GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         747 - LUVERNE               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         748 - PIPESTONE             GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         749 - SAINT JAMES           GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         750 - WINDOM                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         751 - SISSETON              GARDEN SEEDS               kept on the books




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            Name of Owner                  Address1                          City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         752 - TORRINGTON            GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         753 - HOT SPRINGS           GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         755 - WHEATLAND             GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         756 - LANDER                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         757 - BELLE FOURCHE         GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         758 - DOUGLAS               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         759 - STURGIS               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         760 - GREEN RIVER           GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         761 - NEWCASTLE             GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         762 - THERMOPOLIS           GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         763 - CUSTER                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         764 - BUFFALO               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         765 - MOUNTAIN VIEW         GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         766 - SHELBY                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         767 - WORLAND               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         768 - GLASGOW               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         769 - SIDNEY                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         771 - PLENTYWOOD            GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         772 - POWELL                GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         773 - LEWISTOWN             GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         774 - LIVINGSTON            GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         775 - LIBBY                 GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         776 - GREYBULL              GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         786 - RED OAK               GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         788 - COLUMBUS              GARDEN SEEDS               kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PLANTATION PRODUCTS LLC     202 SOUTH WASHINGTON STREET           NORTON                    MA           02766         789 - WAUPACA               GARDEN SEEDS               kept on the books




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                                                                                                                                                                                    N/A - Inventory Value is not
PLANTATION PRODUCTS LLC        202 SOUTH WASHINGTON STREET              NORTON                    MA           02766         790 - STANLEY               GARDEN SEEDS               kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
PLANTATION PRODUCTS LLC        202 SOUTH WASHINGTON STREET              NORTON                    MA           02766         791 - FOREST CITY           GARDEN SEEDS               kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
PLANTATION PRODUCTS LLC        202 SOUTH WASHINGTON STREET              NORTON                    MA           02766         792 - TOMAHAWK              GARDEN SEEDS               kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
PLANTATION PRODUCTS LLC        202 SOUTH WASHINGTON STREET              NORTON                    MA           02766         793 - MAYVILLE              GARDEN SEEDS               kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
PLANTATION PRODUCTS LLC        202 SOUTH WASHINGTON STREET              NORTON                    MA           02766         794 - QUINCY                GARDEN SEEDS               kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
PLANTATION PRODUCTS LLC        202 SOUTH WASHINGTON STREET              NORTON                    MA           02766         795 - SALMON                GARDEN SEEDS               kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
PLANTATION PRODUCTS LLC        202 SOUTH WASHINGTON STREET              NORTON                    MA           02766         796 - KASSON                GARDEN SEEDS               kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
PLANTATION PRODUCTS LLC        202 SOUTH WASHINGTON STREET              NORTON                    MA           02766         797 - WHITEFISH             GARDEN SEEDS               kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
PLANTATION PRODUCTS LLC        202 SOUTH WASHINGTON STREET              NORTON                    MA           02766         798 - BALLARD               GARDEN SEEDS               kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
PLANTATION PRODUCTS LLC        202 SOUTH WASHINGTON STREET              NORTON                    MA           02766         799 - TREMONTON             GARDEN SEEDS               kept on the books
                                                                                                                                                         PATIO FURNITURE,           N/A - Inventory Value is not
PMC ALMO DISTRIBUTING PA INC   2709 COMMERCE WAY                        PHILADELPHIA              PA           19154         498 - ECOM-DROP SHIP        KITCHEN ELECTRICS          kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
PRIMARY ONE                    66 31 OTTO ROAD                          GLENDALE                  NY           11385         498 - ECOM-DROP SHIP        HAIR CARE, COSMETICS       kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
PRIMO WATER CORPORATION        101 N CHERRY STREET STE 501              WINSTON SALEM             NC           27101         1 - GREEN BAY WEST          WATER                      kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
PRIMO WATER CORPORATION        101 N CHERRY STREET STE 501              WINSTON SALEM             NC           27101         2 - ASHWAUBENON             WATER                      kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
PRIMO WATER CORPORATION        101 N CHERRY STREET STE 501              WINSTON SALEM             NC           27101         3 - MANITOWOC               WATER                      kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
PRIMO WATER CORPORATION        101 N CHERRY STREET STE 501              WINSTON SALEM             NC           27101         4 - GREEN BAY EAST          WATER                      kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
PRIMO WATER CORPORATION        101 N CHERRY STREET STE 501              WINSTON SALEM             NC           27101         7 - LA CROSSE SOUTH         WATER                      kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
PRIMO WATER CORPORATION        101 N CHERRY STREET STE 501              WINSTON SALEM             NC           27101         12 - WISCONSIN RAPIDS       WATER                      kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
PRIMO WATER CORPORATION        101 N CHERRY STREET STE 501              WINSTON SALEM             NC           27101         15 - APPLETON               WATER                      kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
PRIMO WATER CORPORATION        101 N CHERRY STREET STE 501              WINSTON SALEM             NC           27101         18 - WEST BEND              WATER                      kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
PRIMO WATER CORPORATION        101 N CHERRY STREET STE 501              WINSTON SALEM             NC           27101         19 - WATERTOWN WI           WATER                      kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
PRIMO WATER CORPORATION        101 N CHERRY STREET STE 501              WINSTON SALEM             NC           27101         20 - LA CROSSE NORTH        WATER                      kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
PRIMO WATER CORPORATION        101 N CHERRY STREET STE 501              WINSTON SALEM             NC           27101         26 - BELOIT                 WATER                      kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
PRIMO WATER CORPORATION        101 N CHERRY STREET STE 501              WINSTON SALEM             NC           27101         27 - RACINE                 WATER                      kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
PRIMO WATER CORPORATION        101 N CHERRY STREET STE 501              WINSTON SALEM             NC           27101         28 - KIMBERLY               WATER                      kept on the books
                                                                                                                                                                                    N/A - Inventory Value is not
PRIMO WATER CORPORATION        101 N CHERRY STREET STE 501              WINSTON SALEM             NC           27101         29 - MADISON WEST           WATER                      kept on the books




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                                                                                                                                                                              N/A - Inventory Value is not
PRIMO WATER CORPORATION    101 N CHERRY STREET STE 501            WINSTON SALEM             NC           27101         30 - JANESVILLE             WATER                      kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PRIMO WATER CORPORATION    101 N CHERRY STREET STE 501            WINSTON SALEM             NC           27101         31 - KENOSHA                WATER                      kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PRIMO WATER CORPORATION    101 N CHERRY STREET STE 501            WINSTON SALEM             NC           27101         32 - MONONA                 WATER                      kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PRIMO WATER CORPORATION    101 N CHERRY STREET STE 501            WINSTON SALEM             NC           27101         33 - MENASHA                WATER                      kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PRIMO WATER CORPORATION    101 N CHERRY STREET STE 501            WINSTON SALEM             NC           27101         42 - OSHKOSH                WATER                      kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PRIMO WATER CORPORATION    101 N CHERRY STREET STE 501            WINSTON SALEM             NC           27101         50 - FOND DU LAC            WATER                      kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PRIMO WATER CORPORATION    101 N CHERRY STREET STE 501            WINSTON SALEM             NC           27101         54 - WATERTOWN SD           WATER                      kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PRIMO WATER CORPORATION    101 N CHERRY STREET STE 501            WINSTON SALEM             NC           27101         55 - STEVENS POINT NORTH    WATER                      kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PRIMO WATER CORPORATION    101 N CHERRY STREET STE 501            WINSTON SALEM             NC           27101         76 - SIOUX FALLS SOUTH      WATER                      kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PRIMO WATER CORPORATION    101 N CHERRY STREET STE 501            WINSTON SALEM             NC           27101         78 - RAPID CITY             WATER                      kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PRIMO WATER CORPORATION    101 N CHERRY STREET STE 501            WINSTON SALEM             NC           27101         79 - WAUSAU                 WATER                      kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PRIMO WATER CORPORATION    101 N CHERRY STREET STE 501            WINSTON SALEM             NC           27101         80 - MADISON NORTHEAST      WATER                      kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PRIMO WATER CORPORATION    101 N CHERRY STREET STE 501            WINSTON SALEM             NC           27101         90 - GRAFTON                WATER                      kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PRIMO WATER CORPORATION    101 N CHERRY STREET STE 501            WINSTON SALEM             NC           27101         99 - ONALASKA               WATER                      kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PRIMO WATER CORPORATION    101 N CHERRY STREET STE 501            WINSTON SALEM             NC           27101         100 - NEENAH                WATER                      kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PRIMO WATER CORPORATION    101 N CHERRY STREET STE 501            WINSTON SALEM             NC           27101         101 - SIOUX FALLS EAST      WATER                      kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PRIMO WATER CORPORATION    101 N CHERRY STREET STE 501            WINSTON SALEM             NC           27101         116 - SHEBOYGAN             WATER                      kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PRIMO WATER CORPORATION    101 N CHERRY STREET STE 501            WINSTON SALEM             NC           27101         120 - MONROE                WATER                      kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PRIMO WATER CORPORATION    101 N CHERRY STREET STE 501            WINSTON SALEM             NC           27101         127 - DELAVAN               WATER                      kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PRIMO WATER CORPORATION    101 N CHERRY STREET STE 501            WINSTON SALEM             NC           27101         130 - RIVER FALLS           WATER                      kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PRIMO WATER CORPORATION    101 N CHERRY STREET STE 501            WINSTON SALEM             NC           27101         170 - RHINELANDER           WATER                      kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PRIMO WATER CORPORATION    101 N CHERRY STREET STE 501            WINSTON SALEM             NC           27101         171 - PLOVER                WATER                      kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PRIMO WATER CORPORATION    101 N CHERRY STREET STE 501            WINSTON SALEM             NC           27101         177 - SUAMICO               WATER                      kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PRIMO WATER CORPORATION    101 N CHERRY STREET STE 501            WINSTON SALEM             NC           27101         512 - ELLSWORTH             WATER                      kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PRIMO WATER CORPORATION    101 N CHERRY STREET STE 501            WINSTON SALEM             NC           27101         563 - MAUSTON               WATER                      kept on the books
                                                                                                                                                                              N/A - Inventory Value is not
PRIMO WATER CORPORATION    101 N CHERRY STREET STE 501            WINSTON SALEM             NC           27101         592 - COMANCHE              WATER                      kept on the books




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                                                                                                                                                                                  N/A - Inventory Value is not
PRIMO WATER CORPORATION            101 N CHERRY STREET STE 501            WINSTON SALEM             NC            27101         593 - COTULLA               WATER                 kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
PRIMO WATER CORPORATION            101 N CHERRY STREET STE 501            WINSTON SALEM             NC            27101         596 - DELL RAPIDS           WATER                 kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
PRIMO WATER CORPORATION            101 N CHERRY STREET STE 501            WINSTON SALEM             NC            27101         613 - WINNECONNE            WATER                 kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
PRIMO WATER CORPORATION            101 N CHERRY STREET STE 501            WINSTON SALEM             NC            27101         618 - REEDSBURG             WATER                 kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
PRIMO WATER CORPORATION            101 N CHERRY STREET STE 501            WINSTON SALEM             NC            27101         746 - MADISON SD            WATER                 kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
PRIMO WATER CORPORATION            101 N CHERRY STREET STE 501            WINSTON SALEM             NC            27101         757 - BELLE FOURCHE         WATER                 kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
PRIMO WATER CORPORATION            101 N CHERRY STREET STE 501            WINSTON SALEM             NC            27101         789 - WAUPACA               WATER                 kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
PROS CHOICE BEAUTY CARE INCORPOR   35 SAWGRASS DRIVE STE 1                BELLPORT                  NY            11713         108 - SPANISH FORK          HAIR CARE, COSMETICS  kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
PURE GLOBAL BRANDS                 10670 N CENTRAL EXPR STE 470           DALLAS                    TX            75231         84 - WEST JORDAN            CAMPING, OUTDOOR TOYS kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
PURE GLOBAL BRANDS                 10670 N CENTRAL EXPR STE 470           DALLAS                    TX            75231         498 - ECOM-DROP SHIP        CAMPING, OUTDOOR TOYS kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                     HILLSIDE                   IL                   60162 1 - GREEN BAY WEST          BOOKS                 kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                     HILLSIDE                   IL                   60162 2 - ASHWAUBENON             BOOKS                 kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                     HILLSIDE                   IL                   60162 3 - MANITOWOC               BOOKS                 kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                     HILLSIDE                   IL                   60162 4 - GREEN BAY EAST          BOOKS                 kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                     HILLSIDE                   IL                   60162 5 - DE PERE                 BOOKS                 kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                     HILLSIDE                   IL                   60162 7 - LA CROSSE SOUTH         BOOKS                 kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                     HILLSIDE                   IL                   60162 8 - ROTHSCHILD              BOOKS                 kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                     HILLSIDE                   IL                   60162 9 - MARSHFIELD              BOOKS                 kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                     HILLSIDE                   IL                   60162 12 - WISCONSIN RAPIDS       BOOKS                 kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                     HILLSIDE                   IL                   60162 14 - BEAVER DAM             BOOKS                 kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                     HILLSIDE                   IL                   60162 15 - APPLETON               BOOKS                 kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                     HILLSIDE                   IL                   60162 17 - ST CLOUD WEST          BOOKS                 kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                     HILLSIDE                   IL                   60162 18 - WEST BEND              BOOKS                 kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                     HILLSIDE                   IL                   60162 19 - WATERTOWN WI           BOOKS                 kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                     HILLSIDE                   IL                   60162 20 - LA CROSSE NORTH        BOOKS                 kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                     HILLSIDE                   IL                   60162 22 - MITCHELL               BOOKS                 kept on the books




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                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 23 - HUTCHINSON             BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 24 - EAU CLAIRE             BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 25 - MARSHALL               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 26 - BELOIT                 BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 27 - RACINE                 BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 28 - KIMBERLY               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 29 - MADISON WEST           BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 30 - JANESVILLE             BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 31 - KENOSHA                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 32 - MONONA                 BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 33 - MENASHA                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 37 - CHIPPEWA FALLS         BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 40 - SIOUX CITY             BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 42 - OSHKOSH                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 48 - NORFOLK                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 50 - FOND DU LAC            BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 51 - FORT ATKINSON          BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 52 - MASON CITY             BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 53 - NORTH PLATTE           BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 54 - WATERTOWN SD           BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 55 - STEVENS POINT NORTH    BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 56 - OMAHA WEST             BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 59 - FAIRMONT               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 60 - ALBERT LEA             BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 63 - POCATELLO              BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 76 - SIOUX FALLS SOUTH      BOOKS                      kept on the books




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                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 78 - RAPID CITY             BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 79 - WAUSAU                 BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 80 - MADISON NORTHEAST      BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 82 - MURRAY                 BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 83 - SANDY CITY             BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 84 - WEST JORDAN            BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 85 - TAYLORSVILLE           BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 87 - OGDEN                  BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 88 - LAYTON                 BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 90 - GRAFTON                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 91 - LOGAN                  BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 92 - KENNEWICK              BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 93 - BEND                   BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 96 - REDDING                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 97 - WEST VALLEY CITY       BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 98 - EUGENE NORTH           BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 99 - ONALASKA               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 100 - NEENAH                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 101 - SIOUX FALLS EAST      BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 102 - MARINETTE             BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 104 - BRIGHAM CITY          BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 105 - OREM                  BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 106 - BILLINGS              BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 108 - SPANISH FORK          BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 109 - RIVERDALE             BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 111 - SALEM                 BOOKS                      kept on the books




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                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 112 - HELENA                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 113 - LACEY                 BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 114 - DULUTH                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 116 - SHEBOYGAN             BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 119 - DIXON                 BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 120 - MONROE                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 122 - WENATCHEE             BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 125 - FREEPORT              BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 127 - DELAVAN               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 128 - KALISPELL             BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 129 - SPOKANE SOUTH         BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 130 - RIVER FALLS           BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 132 - RICE LAKE             BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 133 - BELVIDERE             BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 134 - PULLMAN               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 164 - DUBUQUE               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 170 - RHINELANDER           BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 171 - PLOVER                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 172 - LINCOLN NORTHWEST     BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 175 - LINCOLN SOUTHEAST     BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 177 - SUAMICO               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 178 - SUSSEX                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 179 - NORTH BRANCH          BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 200 - CHINO VALLEY          BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 201 - EMMETSBURG            BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 202 - CLIFTON               BOOKS                      kept on the books




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                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 203 - JACKSBORO             BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 205 - DELTA                 BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 206 - ELY                   BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 207 - OLDTOWN               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 208 - SEYMOUR               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 209 - TULIA                 BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 211 - ESTHERVILLE           BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 212 - GORDON                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 498 - ECOM-DROP SHIP        BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 501 - LEDGEVIEW             BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 502 - HOWARD                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 503 - PORT WASHINGTON       BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 504 - APPLETON EAST         BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 505 - APPLETON NORTH        BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 512 - ELLSWORTH             BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 520 - ALBION                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 523 - VALENTINE             BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 526 - AFTON                 BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 532 - NEW TOWN              BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 533 - TIOGA                 BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 534 - ROLLA                 BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 535 - BOWMAN                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 536 - ULYSSES               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 537 - BELOIT                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 538 - ANTHONY               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 539 - MONAHANS              BOOKS                      kept on the books




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                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 540 - KERMIT                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 541 - DALHART               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 542 - PERRYTON              BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 543 - WOLF POINT            BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 544 - SIDNEY #2             BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 545 - MOBRIDGE              BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 546 - BURLINGTON            BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 547 - MOOSE LAKE            BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 548 - MAHNOMEN              BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 549 - HARDIN #2             BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 550 - DILLON #2             BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 551 - DEMOTTE               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 552 - OAKES                 BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 553 - ABILENE               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 554 - ANDREWS               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 555 - MOAB                  BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 556 - PROSSER               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 557 - NEPHI                 BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 558 - REDFIELD              BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 559 - OROFINO               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 560 - FAIRVIEW              BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 561 - COKATO                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 562 - STANLEY ND            BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 563 - MAUSTON               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 564 - WEBSTER CITY          BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 565 - CHEROKEE              BOOKS                      kept on the books




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                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 566 - WARROAD               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 567 - PAYNESVILLE           BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 568 - NEW PRAGUE            BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 569 - MILBANK               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 570 - WAGNER                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 571 - WEBSTER               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 572 - LEADVILLE             BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 573 - RUSSELL               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 574 - LOWELL                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 575 - LOVINGTON             BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 576 - ALPINE                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 577 - CANADIAN              BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 578 - BUENA VISTA           BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 579 - YUMA                  BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 580 - CARRINGTON            BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 581 - LISBON                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 582 - PRESIDIO              BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 583 - BLANDING              BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 584 - BONNERS FERRY         BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 585 - MAYVILLE              BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 586 - PHILLIPSBURG          BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 587 - CLARINDA              BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 588 - BEAVER                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 589 - CRESCO                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 592 - COMANCHE              BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 593 - COTULLA               BOOKS                      kept on the books




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                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 594 - CHAMBERLAIN           BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 596 - DELL RAPIDS           BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 597 - ORD                   BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 598 - SPRINGERVILLE         BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 600 - VINTON                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 601 - KEWAUNEE              BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 602 - OCONTO                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 603 - PRINCETON             BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 604 - ABBOTSFORD            BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 605 - MORA                  BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 606 - CALUMET               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 607 - SEYMOUR               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 608 - BRILLION              BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 609 - KIEL                  BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 610 - ISHPEMING             BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 611 - SAINT PETER           BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 613 - WINNECONNE            BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 615 - CLINTONVILLE          BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 616 - SISTER BAY            BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 617 - WAUTOMA               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 618 - REEDSBURG             BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 619 - ADAMS                 BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 620 - EAGLE RIVER           BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 621 - MANISTIQUE            BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 622 - WETMORE               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 623 - IRON RIVER            BOOKS                      kept on the books




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                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 624 - L'ANSE                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 625 - DYERSVILLE            BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 626 - LANCASTER             BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 627 - NEILLSVILLE           BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 628 - TWO HARBORS           BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 629 - ELY                   BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 630 - ARCADIA               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 632 - SPOONER               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 633 - PARK FALLS            BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 635 - SAVANNA               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 637 - ATTICA                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 638 - MONTICELLO            BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 639 - ROCKVILLE             BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 640 - TUSCOLA               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 641 - DWIGHT                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 642 - ALLEGAN               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 643 - NEWAYGO               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 644 - CLARE                 BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 646 - STANDISH              BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 647 - SYRACUSE              BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 648 - TECUMSEH              BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 649 - IMLAY CITY            BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 650 - DOWAGIAC              BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 651 - HART                  BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 652 - BROOKLYN              BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 653 - GLADWIN               BOOKS                      kept on the books




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                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 656 - KALKASKA              BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 658 - BEATRICE              BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 659 - AUBURN                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 660 - CRETE                 BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 661 - WEST POINT            BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 662 - PLATTSMOUTH           BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 664 - HUMBOLDT              BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 665 - HAMPTON               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 667 - SHELDON               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 668 - NEW HAMPTON           BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 669 - OELWEIN               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 670 - WAYNE                 BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 671 - WAUKON                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 672 - ONEILL                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 673 - AINSWORTH             BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 674 - CLARION               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 675 - WINTERSET             BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 676 - CHARITON              BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 677 - ONAWA                 BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 679 - TOLEDO                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 680 - PERRY                 BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 681 - IDA GROVE             BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 682 - HARLAN                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 683 - AUDUBON               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 684 - BLOOMFIELD            BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 685 - ELDORA                BOOKS                      kept on the books




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                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 686 - GLENWOOD              BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 687 - GREENFIELD (IA)       BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 688 - MISSOURI VALLEY       BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 689 - MOUNT AYR             BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 690 - HOLDREGE              BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 691 - OGALLALA              BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 692 - SUPERIOR              BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 693 - CLAY CENTER           BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 694 - ALLIANCE              BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 695 - BROKEN BOW            BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 696 - NORTON                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 697 - SENECA                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 698 - GOTHENBURG            BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 699 - SCOTT CITY            BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 700 - KIMBALL               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 701 - LYONS                 BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 702 - LARNED                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 703 - BURLINGTON            BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 704 - FALLS CITY            BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 705 - TRENTON               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 706 - DONIPHAN              BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 707 - ALBANY                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 708 - CARROLLTON            BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 709 - EL DORADO SPRINGS     BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 710 - GALLATIN              BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 711 - MEMPHIS               BOOKS                      kept on the books




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             Name of Owner                        Address1                          City                 State      Zip          Location of Property    Description of Property               Value
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 716 - MT. CARMEL            BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 717 - MINERVA               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 719 - WOODSFIELD            BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 720 - BATESVILLE            BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 729 - BRANDENBURG           BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 732 - GLENCOE               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 733 - FERGUS FALLS          BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 734 - CAVALIER              BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 735 - AITKIN                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 736 - VALLEY CITY           BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 737 - GRAFTON               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 738 - PERHAM                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 739 - GLENWOOD              BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 740 - MORRIS                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 741 - RUGBY                 BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 742 - EAST GRAND FORKS      BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 743 - BEULAH                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 744 - ROSEAU                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 745 - WINNER                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 746 - MADISON SD            BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 747 - LUVERNE               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 748 - PIPESTONE             BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 749 - SAINT JAMES           BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 750 - WINDOM                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 751 - SISSETON              BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 752 - TORRINGTON            BOOKS                      kept on the books




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                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 753 - HOT SPRINGS           BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 755 - WHEATLAND             BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 756 - LANDER                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 757 - BELLE FOURCHE         BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 758 - DOUGLAS               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 759 - STURGIS               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 760 - GREEN RIVER           BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 761 - NEWCASTLE             BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 762 - THERMOPOLIS           BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 763 - CUSTER                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 764 - BUFFALO               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 765 - MOUNTAIN VIEW         BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 766 - SHELBY                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 767 - WORLAND               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 768 - GLASGOW               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 769 - SIDNEY                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 771 - PLENTYWOOD            BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 772 - POWELL                BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 773 - LEWISTOWN             BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 774 - LIVINGSTON            BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 775 - LIBBY                 BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 776 - GREYBULL              BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 786 - RED OAK               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 788 - COLUMBUS              BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 789 - WAUPACA               BOOKS                      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                60162 790 - STANLEY               BOOKS                      kept on the books




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                                                                                                                                                                                      N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                   60162 791 - FOREST CITY           BOOKS                      kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                   60162 792 - TOMAHAWK              BOOKS                      kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                   60162 793 - MAYVILLE              BOOKS                      kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                   60162 794 - QUINCY                BOOKS                      kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                   60162 795 - SALMON                BOOKS                      kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                   60162 796 - KASSON                BOOKS                      kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                   60162 797 - WHITEFISH             BOOKS                      kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                   60162 798 - BALLARD               BOOKS                      kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
READERLINK DISTRIBUTION SERVICES   4201 RAYMOND DRIVE                    HILLSIDE                   IL                   60162 799 - TREMONTON             BOOKS                      kept on the books
                                                                                                                                                           SHOES, HOSIERY, COLD       N/A - Inventory Value is not
RELIABLE OF MILWAUKEE              PO BOX 563                            MILWAUKEE                 WI            53201         3 - MANITOWOC               WEATHER ACCES              kept on the books
                                                                                                                                                           SHOES, HOSIERY, COLD       N/A - Inventory Value is not
RELIABLE OF MILWAUKEE              PO BOX 563                            MILWAUKEE                 WI            53201         8 - ROTHSCHILD              WEATHER ACCES              kept on the books
                                                                                                                                                           SHOES, HOSIERY, COLD       N/A - Inventory Value is not
RELIABLE OF MILWAUKEE              PO BOX 563                            MILWAUKEE                 WI            53201         15 - APPLETON               WEATHER ACCES              kept on the books
                                                                                                                                                           SHOES, HOSIERY, COLD       N/A - Inventory Value is not
RELIABLE OF MILWAUKEE              PO BOX 563                            MILWAUKEE                 WI            53201         24 - EAU CLAIRE             WEATHER ACCES              kept on the books
                                                                                                                                                           SHOES, HOSIERY, COLD       N/A - Inventory Value is not
RELIABLE OF MILWAUKEE              PO BOX 563                            MILWAUKEE                 WI            53201         28 - KIMBERLY               WEATHER ACCES              kept on the books
                                                                                                                                                           SHOES, HOSIERY, COLD       N/A - Inventory Value is not
RELIABLE OF MILWAUKEE              PO BOX 563                            MILWAUKEE                 WI            53201         29 - MADISON WEST           WEATHER ACCES              kept on the books
                                                                                                                                                           SHOES, HOSIERY, COLD       N/A - Inventory Value is not
RELIABLE OF MILWAUKEE              PO BOX 563                            MILWAUKEE                 WI            53201         31 - KENOSHA                WEATHER ACCES              kept on the books
                                                                                                                                                           SHOES, HOSIERY, COLD       N/A - Inventory Value is not
RELIABLE OF MILWAUKEE              PO BOX 563                            MILWAUKEE                 WI            53201         50 - FOND DU LAC            WEATHER ACCES              kept on the books
                                                                                                                                                           SHOES, HOSIERY, COLD       N/A - Inventory Value is not
RELIABLE OF MILWAUKEE              PO BOX 563                            MILWAUKEE                 WI            53201         55 - STEVENS POINT NORTH    WEATHER ACCES              kept on the books
                                                                                                                                                           SHOES, HOSIERY, COLD       N/A - Inventory Value is not
RELIABLE OF MILWAUKEE              PO BOX 563                            MILWAUKEE                 WI            53201         56 - OMAHA WEST             WEATHER ACCES              kept on the books
                                                                                                                                                           SHOES, HOSIERY, COLD       N/A - Inventory Value is not
RELIABLE OF MILWAUKEE              PO BOX 563                            MILWAUKEE                 WI            53201         84 - WEST JORDAN            WEATHER ACCES              kept on the books
                                                                                                                                                           SHOES, HOSIERY, COLD       N/A - Inventory Value is not
RELIABLE OF MILWAUKEE              PO BOX 563                            MILWAUKEE                 WI            53201         90 - GRAFTON                WEATHER ACCES              kept on the books
                                                                                                                                                           SHOES, HOSIERY, COLD       N/A - Inventory Value is not
RELIABLE OF MILWAUKEE              PO BOX 563                            MILWAUKEE                 WI            53201         96 - REDDING                WEATHER ACCES              kept on the books
                                                                                                                                                           SHOES, HOSIERY, COLD       N/A - Inventory Value is not
RELIABLE OF MILWAUKEE              PO BOX 563                            MILWAUKEE                 WI            53201         99 - ONALASKA               WEATHER ACCES              kept on the books
                                                                                                                                                           SHOES, HOSIERY, COLD       N/A - Inventory Value is not
RELIABLE OF MILWAUKEE              PO BOX 563                            MILWAUKEE                 WI            53201         104 - BRIGHAM CITY          WEATHER ACCES              kept on the books
                                                                                                                                                           SHOES, HOSIERY, COLD       N/A - Inventory Value is not
RELIABLE OF MILWAUKEE              PO BOX 563                            MILWAUKEE                 WI            53201         109 - RIVERDALE             WEATHER ACCES              kept on the books
                                                                                                                                                           SHOES, HOSIERY, COLD       N/A - Inventory Value is not
RELIABLE OF MILWAUKEE              PO BOX 563                            MILWAUKEE                 WI            53201         114 - DULUTH                WEATHER ACCES              kept on the books




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                                                                                                                                                       SHOES, HOSIERY, COLD        N/A - Inventory Value is not
RELIABLE OF MILWAUKEE          PO BOX 563                             MILWAUKEE                 WI           53201         133 - BELVIDERE             WEATHER ACCES               kept on the books
                                                                                                                                                       SHOES, HOSIERY, COLD        N/A - Inventory Value is not
RELIABLE OF MILWAUKEE          PO BOX 563                             MILWAUKEE                 WI           53201         134 - PULLMAN               WEATHER ACCES               kept on the books
                                                                                                                                                       SHOES, HOSIERY, COLD        N/A - Inventory Value is not
RELIABLE OF MILWAUKEE          PO BOX 563                             MILWAUKEE                 WI           53201         170 - RHINELANDER           WEATHER ACCES               kept on the books
                                                                                                                                                       SHOES, HOSIERY, COLD        N/A - Inventory Value is not
RELIABLE OF MILWAUKEE          PO BOX 563                             MILWAUKEE                 WI           53201         175 - LINCOLN SOUTHEAST     WEATHER ACCES               kept on the books
                                                                                                                                                       SHOES, HOSIERY, COLD        N/A - Inventory Value is not
RELIABLE OF MILWAUKEE          PO BOX 563                             MILWAUKEE                 WI           53201         178 - SUSSEX                WEATHER ACCES               kept on the books
                                                                                                                                                       SHOES, HOSIERY, COLD        N/A - Inventory Value is not
RELIABLE OF MILWAUKEE          PO BOX 563                             MILWAUKEE                 WI           53201         179 - NORTH BRANCH          WEATHER ACCES               kept on the books
                                                                                                                                                       SHOES, HOSIERY, COLD        N/A - Inventory Value is not
RELIABLE OF MILWAUKEE          PO BOX 563                             MILWAUKEE                 WI           53201         498 - ECOM-DROP SHIP        WEATHER ACCES               kept on the books
                                                                                                                                                       SHOES, HOSIERY, COLD        N/A - Inventory Value is not
RELIABLE OF MILWAUKEE          PO BOX 563                             MILWAUKEE                 WI           53201         604 - ABBOTSFORD            WEATHER ACCES               kept on the books
                                                                                                                                                       SHOES, HOSIERY, COLD        N/A - Inventory Value is not
RELIABLE OF MILWAUKEE          PO BOX 563                             MILWAUKEE                 WI           53201         617 - WAUTOMA               WEATHER ACCES               kept on the books
                                                                                                                                                       SHOES, HOSIERY, COLD        N/A - Inventory Value is not
RELIABLE OF MILWAUKEE          PO BOX 563                             MILWAUKEE                 WI           53201         618 - REEDSBURG             WEATHER ACCES               kept on the books
                                                                                                                                                       SHOES, HOSIERY, COLD        N/A - Inventory Value is not
RELIABLE OF MILWAUKEE          PO BOX 563                             MILWAUKEE                 WI           53201         681 - IDA GROVE             WEATHER ACCES               kept on the books
                                                                                                                                                       SHOES, HOSIERY, COLD        N/A - Inventory Value is not
RELIABLE OF MILWAUKEE          PO BOX 563                             MILWAUKEE                 WI           53201         775 - LIBBY                 WEATHER ACCES               kept on the books
                                                                                                                                                       SHOES, HOSIERY, COLD        N/A - Inventory Value is not
RELIABLE OF MILWAUKEE          PO BOX 563                             MILWAUKEE                 WI           53201         798 - BALLARD               WEATHER ACCES               kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
RESULTCO CO DBA JEFFERY INC    3160 HAGGERTY ROAD STE K               WEST BLOOMFIELD           MI           48323-2002 498 - ECOM-DROP SHIP           WATCHES                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
RICARDO BEVERLY HILLS INC      6329 SOUTH 226TH ST STE 101            KENT                      WA           98032-1893 498 - ECOM-DROP SHIP           LUGGAGE                     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
RICO INDUSTRIES INCORPORATED   7000 N AUSTIN AVENUE                   NILES                     IL           60714         498 - ECOM-DROP SHIP        TEAM COLLECTIBLES           kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
RTA PRODUCTS LLC (C-HUB)       2500 SW 32ND AVENUE                    PEMBROKE PARK             FL           33023         178 - SUSSEX                FURNITURE, LUGGAGE          kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
RTA PRODUCTS LLC (C-HUB)       2500 SW 32ND AVENUE                    PEMBROKE PARK             FL           33023         498 - ECOM-DROP SHIP        FURNITURE, LUGGAGE          kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)           2201 W PLANO PKWAY SUITE 100           PLANO                     TX           75075         1 - GREEN BAY WEST          CARPET CLEANING             kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)           2201 W PLANO PKWAY SUITE 100           PLANO                     TX           75075         2 - ASHWAUBENON             CARPET CLEANING             kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)           2201 W PLANO PKWAY SUITE 100           PLANO                     TX           75075         3 - MANITOWOC               CARPET CLEANING             kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)           2201 W PLANO PKWAY SUITE 100           PLANO                     TX           75075         4 - GREEN BAY EAST          CARPET CLEANING             kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)           2201 W PLANO PKWAY SUITE 100           PLANO                     TX           75075         5 - DE PERE                 CARPET CLEANING             kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)           2201 W PLANO PKWAY SUITE 100           PLANO                     TX           75075         7 - LA CROSSE SOUTH         CARPET CLEANING             kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)           2201 W PLANO PKWAY SUITE 100           PLANO                     TX           75075         8 - ROTHSCHILD              CARPET CLEANING             kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)           2201 W PLANO PKWAY SUITE 100           PLANO                     TX           75075         9 - MARSHFIELD              CARPET CLEANING             kept on the books




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                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         12 - WISCONSIN RAPIDS       CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         14 - BEAVER DAM             CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         15 - APPLETON               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         17 - ST CLOUD WEST          CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         19 - WATERTOWN WI           CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         20 - LA CROSSE NORTH        CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         22 - MITCHELL               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         23 - HUTCHINSON             CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         24 - EAU CLAIRE             CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         25 - MARSHALL               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         26 - BELOIT                 CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         27 - RACINE                 CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         28 - KIMBERLY               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         29 - MADISON WEST           CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         30 - JANESVILLE             CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         31 - KENOSHA                CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         32 - MONONA                 CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         33 - MENASHA                CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         37 - CHIPPEWA FALLS         CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         40 - SIOUX CITY             CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         42 - OSHKOSH                CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         48 - NORFOLK                CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         50 - FOND DU LAC            CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         51 - FORT ATKINSON          CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         52 - MASON CITY             CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         53 - NORTH PLATTE           CARPET CLEANING            kept on the books




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             Name of Owner                   Address1                         City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         54 - WATERTOWN SD           CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         55 - STEVENS POINT NORTH    CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         56 - OMAHA WEST             CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         59 - FAIRMONT               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         60 - ALBERT LEA             CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         63 - POCATELLO              CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         76 - SIOUX FALLS SOUTH      CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         78 - RAPID CITY             CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         79 - WAUSAU                 CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         82 - MURRAY                 CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         83 - SANDY CITY             CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         84 - WEST JORDAN            CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         85 - TAYLORSVILLE           CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         87 - OGDEN                  CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         88 - LAYTON                 CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         90 - GRAFTON                CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         91 - LOGAN                  CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         92 - KENNEWICK              CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         93 - BEND                   CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         96 - REDDING                CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         97 - WEST VALLEY CITY       CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         98 - EUGENE NORTH           CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         99 - ONALASKA               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         100 - NEENAH                CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         101 - SIOUX FALLS EAST      CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         102 - MARINETTE             CARPET CLEANING            kept on the books




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                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         104 - BRIGHAM CITY          CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         105 - OREM                  CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         106 - BILLINGS              CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         108 - SPANISH FORK          CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         109 - RIVERDALE             CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         111 - SALEM                 CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         112 - HELENA                CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         113 - LACEY                 CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         114 - DULUTH                CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         116 - SHEBOYGAN             CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         119 - DIXON                 CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         120 - MONROE                CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         122 - WENATCHEE             CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         125 - FREEPORT              CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         128 - KALISPELL             CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         129 - SPOKANE SOUTH         CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         130 - RIVER FALLS           CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         132 - RICE LAKE             CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         133 - BELVIDERE             CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         134 - PULLMAN               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         164 - DUBUQUE               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         170 - RHINELANDER           CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         171 - PLOVER                CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         175 - LINCOLN SOUTHEAST     CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         177 - SUAMICO               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         178 - SUSSEX                CARPET CLEANING            kept on the books




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                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         179 - NORTH BRANCH          CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         201 - EMMETSBURG            CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         202 - CLIFTON               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         205 - DELTA                 CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         206 - ELY                   CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         207 - OLDTOWN               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         211 - ESTHERVILLE           CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         213 - LITTLEFIELD           CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         501 - LEDGEVIEW             CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         502 - HOWARD                CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         503 - PORT WASHINGTON       CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         504 - APPLETON EAST         CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         505 - APPLETON NORTH        CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         512 - ELLSWORTH             CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         520 - ALBION                CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         523 - VALENTINE             CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         526 - AFTON                 CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         532 - NEW TOWN              CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         534 - ROLLA                 CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         535 - BOWMAN                CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         536 - ULYSSES               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         537 - BELOIT                CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         538 - ANTHONY               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         539 - MONAHANS              CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         540 - KERMIT                CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         541 - DALHART               CARPET CLEANING            kept on the books




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                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         542 - PERRYTON              CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         543 - WOLF POINT            CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         544 - SIDNEY #2             CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         545 - MOBRIDGE              CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         546 - BURLINGTON            CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         547 - MOOSE LAKE            CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         548 - MAHNOMEN              CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         549 - HARDIN #2             CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         550 - DILLON #2             CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         551 - DEMOTTE               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         552 - OAKES                 CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         553 - ABILENE               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         554 - ANDREWS               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         555 - MOAB                  CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         556 - PROSSER               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         557 - NEPHI                 CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         558 - REDFIELD              CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         559 - OROFINO               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         560 - FAIRVIEW              CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         561 - COKATO                CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         562 - STANLEY ND            CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         563 - MAUSTON               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         564 - WEBSTER CITY          CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         565 - CHEROKEE              CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         566 - WARROAD               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         567 - PAYNESVILLE           CARPET CLEANING            kept on the books




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             Name of Owner                   Address1                         City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         568 - NEW PRAGUE            CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         569 - MILBANK               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         570 - WAGNER                CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         571 - WEBSTER               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         572 - LEADVILLE             CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         573 - RUSSELL               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         574 - LOWELL                CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         575 - LOVINGTON             CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         576 - ALPINE                CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         578 - BUENA VISTA           CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         579 - YUMA                  CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         580 - CARRINGTON            CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         581 - LISBON                CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         582 - PRESIDIO              CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         583 - BLANDING              CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         584 - BONNERS FERRY         CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         585 - MAYVILLE              CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         586 - PHILLIPSBURG          CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         587 - CLARINDA              CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         588 - BEAVER                CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         589 - CRESCO                CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         594 - CHAMBERLAIN           CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         596 - DELL RAPIDS           CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         597 - ORD                   CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         598 - SPRINGERVILLE         CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         600 - VINTON                CARPET CLEANING            kept on the books




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                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         601 - KEWAUNEE              CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         602 - OCONTO                CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         604 - ABBOTSFORD            CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         605 - MORA                  CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         606 - CALUMET               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         607 - SEYMOUR               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         608 - BRILLION              CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         609 - KIEL                  CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         610 - ISHPEMING             CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         611 - SAINT PETER           CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         613 - WINNECONNE            CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         615 - CLINTONVILLE          CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         616 - SISTER BAY            CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         617 - WAUTOMA               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         618 - REEDSBURG             CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         619 - ADAMS                 CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         620 - EAGLE RIVER           CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         621 - MANISTIQUE            CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         622 - WETMORE               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         623 - IRON RIVER            CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         624 - L'ANSE                CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         625 - DYERSVILLE            CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         626 - LANCASTER             CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         627 - NEILLSVILLE           CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         628 - TWO HARBORS           CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         629 - ELY                   CARPET CLEANING            kept on the books




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                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         630 - ARCADIA               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         632 - SPOONER               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         633 - PARK FALLS            CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         635 - SAVANNA               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         637 - ATTICA                CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         638 - MONTICELLO            CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         639 - ROCKVILLE             CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         640 - TUSCOLA               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         642 - ALLEGAN               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         643 - NEWAYGO               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         644 - CLARE                 CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         646 - STANDISH              CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         647 - SYRACUSE              CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         648 - TECUMSEH              CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         649 - IMLAY CITY            CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         650 - DOWAGIAC              CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         651 - HART                  CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         652 - BROOKLYN              CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         653 - GLADWIN               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         656 - KALKASKA              CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         658 - BEATRICE              CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         659 - AUBURN                CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         661 - WEST POINT            CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         662 - PLATTSMOUTH           CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         664 - HUMBOLDT              CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         665 - HAMPTON               CARPET CLEANING            kept on the books




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             Name of Owner                   Address1                         City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         667 - SHELDON               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         668 - NEW HAMPTON           CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         669 - OELWEIN               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         670 - WAYNE                 CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         671 - WAUKON                CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         672 - ONEILL                CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         673 - AINSWORTH             CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         674 - CLARION               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         675 - WINTERSET             CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         676 - CHARITON              CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         677 - ONAWA                 CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         679 - TOLEDO                CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         680 - PERRY                 CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         681 - IDA GROVE             CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         682 - HARLAN                CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         683 - AUDUBON               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         684 - BLOOMFIELD            CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         685 - ELDORA                CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         686 - GLENWOOD              CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         687 - GREENFIELD (IA)       CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         688 - MISSOURI VALLEY       CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         689 - MOUNT AYR             CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         690 - HOLDREGE              CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         692 - SUPERIOR              CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         693 - CLAY CENTER           CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         694 - ALLIANCE              CARPET CLEANING            kept on the books




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             Name of Owner                   Address1                         City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         695 - BROKEN BOW            CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         696 - NORTON                CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         697 - SENECA                CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         698 - GOTHENBURG            CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         699 - SCOTT CITY            CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         700 - KIMBALL               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         701 - LYONS                 CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         702 - LARNED                CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         703 - BURLINGTON            CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         704 - FALLS CITY            CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         705 - TRENTON               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         706 - DONIPHAN              CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         707 - ALBANY                CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         708 - CARROLLTON            CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         709 - EL DORADO SPRINGS     CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         710 - GALLATIN              CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         711 - MEMPHIS               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         716 - MT. CARMEL            CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         717 - MINERVA               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         719 - WOODSFIELD            CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         720 - BATESVILLE            CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         729 - BRANDENBURG           CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         732 - GLENCOE               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         733 - FERGUS FALLS          CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         734 - CAVALIER              CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         735 - AITKIN                CARPET CLEANING            kept on the books




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             Name of Owner                   Address1                         City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         736 - VALLEY CITY           CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         737 - GRAFTON               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         738 - PERHAM                CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         739 - GLENWOOD              CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         740 - MORRIS                CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         741 - RUGBY                 CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         742 - EAST GRAND FORKS      CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         743 - BEULAH                CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         744 - ROSEAU                CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         745 - WINNER                CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         746 - MADISON SD            CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         747 - LUVERNE               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         748 - PIPESTONE             CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         749 - SAINT JAMES           CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         751 - SISSETON              CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         752 - TORRINGTON            CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         753 - HOT SPRINGS           CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         755 - WHEATLAND             CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         756 - LANDER                CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         757 - BELLE FOURCHE         CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         758 - DOUGLAS               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         759 - STURGIS               CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         760 - GREEN RIVER           CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         761 - NEWCASTLE             CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         762 - THERMOPOLIS           CARPET CLEANING            kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)         2201 W PLANO PKWAY SUITE 100          PLANO                     TX           75075         763 - CUSTER                CARPET CLEANING            kept on the books




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             Name of Owner                          Address1                          City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                                       N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)               2201 W PLANO PKWAY SUITE 100            PLANO                     TX           75075         764 - BUFFALO               CARPET CLEANING            kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)               2201 W PLANO PKWAY SUITE 100            PLANO                     TX           75075         765 - MOUNTAIN VIEW         CARPET CLEANING            kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)               2201 W PLANO PKWAY SUITE 100            PLANO                     TX           75075         766 - SHELBY                CARPET CLEANING            kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)               2201 W PLANO PKWAY SUITE 100            PLANO                     TX           75075         767 - WORLAND               CARPET CLEANING            kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)               2201 W PLANO PKWAY SUITE 100            PLANO                     TX           75075         768 - GLASGOW               CARPET CLEANING            kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)               2201 W PLANO PKWAY SUITE 100            PLANO                     TX           75075         769 - SIDNEY                CARPET CLEANING            kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)               2201 W PLANO PKWAY SUITE 100            PLANO                     TX           75075         771 - PLENTYWOOD            CARPET CLEANING            kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)               2201 W PLANO PKWAY SUITE 100            PLANO                     TX           75075         772 - POWELL                CARPET CLEANING            kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)               2201 W PLANO PKWAY SUITE 100            PLANO                     TX           75075         773 - LEWISTOWN             CARPET CLEANING            kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)               2201 W PLANO PKWAY SUITE 100            PLANO                     TX           75075         774 - LIVINGSTON            CARPET CLEANING            kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)               2201 W PLANO PKWAY SUITE 100            PLANO                     TX           75075         775 - LIBBY                 CARPET CLEANING            kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)               2201 W PLANO PKWAY SUITE 100            PLANO                     TX           75075         776 - GREYBULL              CARPET CLEANING            kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)               2201 W PLANO PKWAY SUITE 100            PLANO                     TX           75075         786 - RED OAK               CARPET CLEANING            kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)               2201 W PLANO PKWAY SUITE 100            PLANO                     TX           75075         788 - COLUMBUS              CARPET CLEANING            kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)               2201 W PLANO PKWAY SUITE 100            PLANO                     TX           75075         789 - WAUPACA               CARPET CLEANING            kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)               2201 W PLANO PKWAY SUITE 100            PLANO                     TX           75075         790 - STANLEY               CARPET CLEANING            kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)               2201 W PLANO PKWAY SUITE 100            PLANO                     TX           75075         791 - FOREST CITY           CARPET CLEANING            kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)               2201 W PLANO PKWAY SUITE 100            PLANO                     TX           75075         792 - TOMAHAWK              CARPET CLEANING            kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)               2201 W PLANO PKWAY SUITE 100            PLANO                     TX           75075         793 - MAYVILLE              CARPET CLEANING            kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)               2201 W PLANO PKWAY SUITE 100            PLANO                     TX           75075         794 - QUINCY                CARPET CLEANING            kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)               2201 W PLANO PKWAY SUITE 100            PLANO                     TX           75075         795 - SALMON                CARPET CLEANING            kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)               2201 W PLANO PKWAY SUITE 100            PLANO                     TX           75075         796 - KASSON                CARPET CLEANING            kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)               2201 W PLANO PKWAY SUITE 100            PLANO                     TX           75075         797 - WHITEFISH             CARPET CLEANING            kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)               2201 W PLANO PKWAY SUITE 100            PLANO                     TX           75075         798 - BALLARD               CARPET CLEANING            kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
RUG DOCTOR LLC (SBT)               2201 W PLANO PKWAY SUITE 100            PLANO                     TX           75075         799 - TREMONTON             CARPET CLEANING            kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
S LICHTENBERG & COMPANY INCORPOR   295 FIFTH AVE SUITE 918                 NEW YORK                  NY           10016         3 - MANITOWOC               WINDOW ACCESSORIES         kept on the books




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             Name of Owner                          Address1                          City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                                       N/A - Inventory Value is not
S LICHTENBERG & COMPANY INCORPOR   295 FIFTH AVE SUITE 918                 NEW YORK                  NY           10016         4 - GREEN BAY EAST          WINDOW ACCESSORIES         kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
S LICHTENBERG & COMPANY INCORPOR   295 FIFTH AVE SUITE 918                 NEW YORK                  NY           10016         9 - MARSHFIELD              WINDOW ACCESSORIES         kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
S LICHTENBERG & COMPANY INCORPOR   295 FIFTH AVE SUITE 918                 NEW YORK                  NY           10016         17 - ST CLOUD WEST          WINDOW ACCESSORIES         kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
S LICHTENBERG & COMPANY INCORPOR   295 FIFTH AVE SUITE 918                 NEW YORK                  NY           10016         18 - WEST BEND              WINDOW ACCESSORIES         kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
S LICHTENBERG & COMPANY INCORPOR   295 FIFTH AVE SUITE 918                 NEW YORK                  NY           10016         22 - MITCHELL               WINDOW ACCESSORIES         kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
S LICHTENBERG & COMPANY INCORPOR   295 FIFTH AVE SUITE 918                 NEW YORK                  NY           10016         50 - FOND DU LAC            WINDOW ACCESSORIES         kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
S LICHTENBERG & COMPANY INCORPOR   295 FIFTH AVE SUITE 918                 NEW YORK                  NY           10016         56 - OMAHA WEST             WINDOW ACCESSORIES         kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
S LICHTENBERG & COMPANY INCORPOR   295 FIFTH AVE SUITE 918                 NEW YORK                  NY           10016         60 - ALBERT LEA             WINDOW ACCESSORIES         kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
S LICHTENBERG & COMPANY INCORPOR   295 FIFTH AVE SUITE 918                 NEW YORK                  NY           10016         78 - RAPID CITY             WINDOW ACCESSORIES         kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
S LICHTENBERG & COMPANY INCORPOR   295 FIFTH AVE SUITE 918                 NEW YORK                  NY           10016         80 - MADISON NORTHEAST      WINDOW ACCESSORIES         kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
S LICHTENBERG & COMPANY INCORPOR   295 FIFTH AVE SUITE 918                 NEW YORK                  NY           10016         97 - WEST VALLEY CITY       WINDOW ACCESSORIES         kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
S LICHTENBERG & COMPANY INCORPOR   295 FIFTH AVE SUITE 918                 NEW YORK                  NY           10016         129 - SPOKANE SOUTH         WINDOW ACCESSORIES         kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
S LICHTENBERG & COMPANY INCORPOR   295 FIFTH AVE SUITE 918                 NEW YORK                  NY           10016         132 - RICE LAKE             WINDOW ACCESSORIES         kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
S LICHTENBERG & COMPANY INCORPOR   295 FIFTH AVE SUITE 918                 NEW YORK                  NY           10016         164 - DUBUQUE               WINDOW ACCESSORIES         kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
S LICHTENBERG & COMPANY INCORPOR   295 FIFTH AVE SUITE 918                 NEW YORK                  NY           10016         178 - SUSSEX                WINDOW ACCESSORIES         kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
S LICHTENBERG & COMPANY INCORPOR   295 FIFTH AVE SUITE 918                 NEW YORK                  NY           10016         498 - ECOM-DROP SHIP        WINDOW ACCESSORIES         kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
S LICHTENBERG & COMPANY INCORPOR   295 FIFTH AVE SUITE 918                 NEW YORK                  NY           10016         619 - ADAMS                 WINDOW ACCESSORIES         kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
S LICHTENBERG & COMPANY INCORPOR   295 FIFTH AVE SUITE 918                 NEW YORK                  NY           10016         632 - SPOONER               WINDOW ACCESSORIES         kept on the books
                                                                                                                                                            FURNITURE, HOME            N/A - Inventory Value is not
SAFAVIEH INTERNATIONAL LLC         PO BOX 70280                            PHILADELPHIA              PA           19176-0280 17 - ST CLOUD WEST             ACCESSORIES                kept on the books
                                                                                                                                                            FURNITURE, HOME            N/A - Inventory Value is not
SAFAVIEH INTERNATIONAL LLC         PO BOX 70280                            PHILADELPHIA              PA           19176-0280 28 - KIMBERLY                  ACCESSORIES                kept on the books
                                                                                                                                                            FURNITURE, HOME            N/A - Inventory Value is not
SAFAVIEH INTERNATIONAL LLC         PO BOX 70280                            PHILADELPHIA              PA           19176-0280 50 - FOND DU LAC               ACCESSORIES                kept on the books
                                                                                                                                                            FURNITURE, HOME            N/A - Inventory Value is not
SAFAVIEH INTERNATIONAL LLC         PO BOX 70280                            PHILADELPHIA              PA           19176-0280 79 - WAUSAU                    ACCESSORIES                kept on the books
                                                                                                                                                            FURNITURE, HOME            N/A - Inventory Value is not
SAFAVIEH INTERNATIONAL LLC         PO BOX 70280                            PHILADELPHIA              PA           19176-0280 82 - MURRAY                    ACCESSORIES                kept on the books
                                                                                                                                                            FURNITURE, HOME            N/A - Inventory Value is not
SAFAVIEH INTERNATIONAL LLC         PO BOX 70280                            PHILADELPHIA              PA           19176-0280 84 - WEST JORDAN               ACCESSORIES                kept on the books
                                                                                                                                                            FURNITURE, HOME            N/A - Inventory Value is not
SAFAVIEH INTERNATIONAL LLC         PO BOX 70280                            PHILADELPHIA              PA           19176-0280 92 - KENNEWICK                 ACCESSORIES                kept on the books
                                                                                                                                                            FURNITURE, HOME            N/A - Inventory Value is not
SAFAVIEH INTERNATIONAL LLC         PO BOX 70280                            PHILADELPHIA              PA           19176-0280 93 - BEND                      ACCESSORIES                kept on the books




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             Name of Owner                       Address1                          City                State       Zip            Location of Property     Description of Property               Value
                                                                                                                                                         FURNITURE, HOME             N/A - Inventory Value is not
SAFAVIEH INTERNATIONAL LLC     PO BOX 70280                             PHILADELPHIA              PA           19176-0280 96 - REDDING                   ACCESSORIES                 kept on the books
                                                                                                                                                         FURNITURE, HOME             N/A - Inventory Value is not
SAFAVIEH INTERNATIONAL LLC     PO BOX 70280                             PHILADELPHIA              PA           19176-0280 100 - NEENAH                   ACCESSORIES                 kept on the books
                                                                                                                                                         FURNITURE, HOME             N/A - Inventory Value is not
SAFAVIEH INTERNATIONAL LLC     PO BOX 70280                             PHILADELPHIA              PA           19176-0280 101 - SIOUX FALLS EAST         ACCESSORIES                 kept on the books
                                                                                                                                                         FURNITURE, HOME             N/A - Inventory Value is not
SAFAVIEH INTERNATIONAL LLC     PO BOX 70280                             PHILADELPHIA              PA           19176-0280 120 - MONROE                   ACCESSORIES                 kept on the books
                                                                                                                                                         FURNITURE, HOME             N/A - Inventory Value is not
SAFAVIEH INTERNATIONAL LLC     PO BOX 70280                             PHILADELPHIA              PA           19176-0280 498 - ECOM-DROP SHIP           ACCESSORIES                 kept on the books
                                                                                                                                                         FURNITURE, HOME             N/A - Inventory Value is not
SAFAVIEH INTERNATIONAL LLC     PO BOX 70280                             PHILADELPHIA              PA           19176-0280 700 - KIMBALL                  ACCESSORIES                 kept on the books
                                                                                                                                                         FURNITURE, HOME             N/A - Inventory Value is not
SAFAVIEH INTERNATIONAL LLC     PO BOX 70280                             PHILADELPHIA              PA           19176-0280 792 - TOMAHAWK                 ACCESSORIES                 kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
SAUDER WOODWORKING COMPANY     2555 PENNY ROAD                          CLAREMONT                 NC           28610         27 - RACINE                 FURNITURE                   kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
SAUDER WOODWORKING COMPANY     2555 PENNY ROAD                          CLAREMONT                 NC           28610         50 - FOND DU LAC            FURNITURE                   kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
SAUDER WOODWORKING COMPANY     2555 PENNY ROAD                          CLAREMONT                 NC           28610         84 - WEST JORDAN            FURNITURE                   kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
SAUDER WOODWORKING COMPANY     2555 PENNY ROAD                          CLAREMONT                 NC           28610         104 - BRIGHAM CITY          FURNITURE                   kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
SAUDER WOODWORKING COMPANY     2555 PENNY ROAD                          CLAREMONT                 NC           28610         108 - SPANISH FORK          FURNITURE                   kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
SAUDER WOODWORKING COMPANY     2555 PENNY ROAD                          CLAREMONT                 NC           28610         114 - DULUTH                FURNITURE                   kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
SAUDER WOODWORKING COMPANY     2555 PENNY ROAD                          CLAREMONT                 NC           28610         213 - LITTLEFIELD           FURNITURE                   kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
SAUDER WOODWORKING COMPANY     2555 PENNY ROAD                          CLAREMONT                 NC           28610         498 - ECOM-DROP SHIP        FURNITURE                   kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
SAUDER WOODWORKING COMPANY     2555 PENNY ROAD                          CLAREMONT                 NC           28610         566 - WARROAD               FURNITURE                   kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
SAUDER WOODWORKING COMPANY     2555 PENNY ROAD                          CLAREMONT                 NC           28610         603 - PRINCETON             FURNITURE                   kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
SAUDER WOODWORKING COMPANY     2555 PENNY ROAD                          CLAREMONT                 NC           28610         738 - PERHAM                FURNITURE                   kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD               FRANKLIN                  TN           37067         1 - GREEN BAY WEST          GARDEN SEEDS                kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD               FRANKLIN                  TN           37067         2 - ASHWAUBENON             GARDEN SEEDS                kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD               FRANKLIN                  TN           37067         3 - MANITOWOC               GARDEN SEEDS                kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD               FRANKLIN                  TN           37067         4 - GREEN BAY EAST          GARDEN SEEDS                kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD               FRANKLIN                  TN           37067         5 - DE PERE                 GARDEN SEEDS                kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD               FRANKLIN                  TN           37067         7 - LA CROSSE SOUTH         GARDEN SEEDS                kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD               FRANKLIN                  TN           37067         8 - ROTHSCHILD              GARDEN SEEDS                kept on the books
                                                                                                                                                                                     N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD               FRANKLIN                  TN           37067         9 - MARSHFIELD              GARDEN SEEDS                kept on the books




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            Name of Owner                     Address1                          City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         12 - WISCONSIN RAPIDS       GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         14 - BEAVER DAM             GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         15 - APPLETON               GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         17 - ST CLOUD WEST          GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         19 - WATERTOWN WI           GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         20 - LA CROSSE NORTH        GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         22 - MITCHELL               GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         23 - HUTCHINSON             GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         24 - EAU CLAIRE             GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         25 - MARSHALL               GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         26 - BELOIT                 GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         27 - RACINE                 GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         28 - KIMBERLY               GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         29 - MADISON WEST           GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         30 - JANESVILLE             GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         31 - KENOSHA                GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         32 - MONONA                 GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         33 - MENASHA                GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         37 - CHIPPEWA FALLS         GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         40 - SIOUX CITY             GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         42 - OSHKOSH                GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         48 - NORFOLK                GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         50 - FOND DU LAC            GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         51 - FORT ATKINSON          GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         52 - MASON CITY             GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         53 - NORTH PLATTE           GARDEN SEEDS               kept on the books




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            Name of Owner                     Address1                          City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         54 - WATERTOWN SD           GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         55 - STEVENS POINT NORTH    GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         56 - OMAHA WEST             GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         59 - FAIRMONT               GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         60 - ALBERT LEA             GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         63 - POCATELLO              GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         76 - SIOUX FALLS SOUTH      GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         78 - RAPID CITY             GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         79 - WAUSAU                 GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         80 - MADISON NORTHEAST      GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         82 - MURRAY                 GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         83 - SANDY CITY             GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         84 - WEST JORDAN            GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         85 - TAYLORSVILLE           GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         87 - OGDEN                  GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         88 - LAYTON                 GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         90 - GRAFTON                GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         91 - LOGAN                  GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         92 - KENNEWICK              GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         93 - BEND                   GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         96 - REDDING                GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         97 - WEST VALLEY CITY       GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         98 - EUGENE NORTH           GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         99 - ONALASKA               GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         100 - NEENAH                GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         101 - SIOUX FALLS EAST      GARDEN SEEDS               kept on the books




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            Name of Owner                     Address1                          City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         104 - BRIGHAM CITY          GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         105 - OREM                  GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         106 - BILLINGS              GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         108 - SPANISH FORK          GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         109 - RIVERDALE             GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         111 - SALEM                 GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         112 - HELENA                GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         113 - LACEY                 GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         114 - DULUTH                GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         116 - SHEBOYGAN             GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         119 - DIXON                 GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         120 - MONROE                GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         122 - WENATCHEE             GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         125 - FREEPORT              GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         127 - DELAVAN               GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         128 - KALISPELL             GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         129 - SPOKANE SOUTH         GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         130 - RIVER FALLS           GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         133 - BELVIDERE             GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         134 - PULLMAN               GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         164 - DUBUQUE               GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         170 - RHINELANDER           GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         171 - PLOVER                GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         172 - LINCOLN NORTHWEST     GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         175 - LINCOLN SOUTHEAST     GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         177 - SUAMICO               GARDEN SEEDS               kept on the books




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            Name of Owner                     Address1                          City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         178 - SUSSEX                GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         179 - NORTH BRANCH          GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         526 - AFTON                 GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         541 - DALHART               GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         547 - MOOSE LAKE            GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         549 - HARDIN #2             GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         550 - DILLON #2             GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         552 - OAKES                 GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         555 - MOAB                  GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         557 - NEPHI                 GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         564 - WEBSTER CITY          GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         565 - CHEROKEE              GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         570 - WAGNER                GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         574 - LOWELL                GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         575 - LOVINGTON             GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         576 - ALPINE                GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         601 - KEWAUNEE              GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         603 - PRINCETON             GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         606 - CALUMET               GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         608 - BRILLION              GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         611 - SAINT PETER           GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         616 - SISTER BAY            GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         621 - MANISTIQUE            GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         622 - WETMORE               GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         623 - IRON RIVER            GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         624 - L'ANSE                GARDEN SEEDS               kept on the books




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                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         626 - LANCASTER             GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         628 - TWO HARBORS           GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         629 - ELY                   GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         632 - SPOONER               GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         641 - DWIGHT                GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         649 - IMLAY CITY            GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         656 - KALKASKA              GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         664 - HUMBOLDT              GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         665 - HAMPTON               GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         667 - SHELDON               GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         669 - OELWEIN               GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         678 - JEFFERSON             GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         685 - ELDORA                GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         688 - MISSOURI VALLEY       GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         691 - OGALLALA              GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         693 - CLAY CENTER           GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         694 - ALLIANCE              GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         699 - SCOTT CITY            GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         710 - GALLATIN              GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         712 - PALMYRA               GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         720 - BATESVILLE            GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         734 - CAVALIER              GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         735 - AITKIN                GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         736 - VALLEY CITY           GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         738 - PERHAM                GARDEN SEEDS               kept on the books
                                                                                                                                                                                 N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED   315 COOL SPRINGS BOULEVARD            FRANKLIN                  TN           37067         740 - MORRIS                GARDEN SEEDS               kept on the books




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                                                                                                                                                                                       N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED      315 COOL SPRINGS BOULEVARD               FRANKLIN                  TN           37067         741 - RUGBY                 GARDEN SEEDS               kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED      315 COOL SPRINGS BOULEVARD               FRANKLIN                  TN           37067         747 - LUVERNE               GARDEN SEEDS               kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED      315 COOL SPRINGS BOULEVARD               FRANKLIN                  TN           37067         753 - HOT SPRINGS           GARDEN SEEDS               kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED      315 COOL SPRINGS BOULEVARD               FRANKLIN                  TN           37067         755 - WHEATLAND             GARDEN SEEDS               kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED      315 COOL SPRINGS BOULEVARD               FRANKLIN                  TN           37067         757 - BELLE FOURCHE         GARDEN SEEDS               kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED      315 COOL SPRINGS BOULEVARD               FRANKLIN                  TN           37067         760 - GREEN RIVER           GARDEN SEEDS               kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED      315 COOL SPRINGS BOULEVARD               FRANKLIN                  TN           37067         761 - NEWCASTLE             GARDEN SEEDS               kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED      315 COOL SPRINGS BOULEVARD               FRANKLIN                  TN           37067         763 - CUSTER                GARDEN SEEDS               kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED      315 COOL SPRINGS BOULEVARD               FRANKLIN                  TN           37067         764 - BUFFALO               GARDEN SEEDS               kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED      315 COOL SPRINGS BOULEVARD               FRANKLIN                  TN           37067         765 - MOUNTAIN VIEW         GARDEN SEEDS               kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED      315 COOL SPRINGS BOULEVARD               FRANKLIN                  TN           37067         768 - GLASGOW               GARDEN SEEDS               kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED      315 COOL SPRINGS BOULEVARD               FRANKLIN                  TN           37067         773 - LEWISTOWN             GARDEN SEEDS               kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED      315 COOL SPRINGS BOULEVARD               FRANKLIN                  TN           37067         774 - LIVINGSTON            GARDEN SEEDS               kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED      315 COOL SPRINGS BOULEVARD               FRANKLIN                  TN           37067         775 - LIBBY                 GARDEN SEEDS               kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED      315 COOL SPRINGS BOULEVARD               FRANKLIN                  TN           37067         776 - GREYBULL              GARDEN SEEDS               kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED      315 COOL SPRINGS BOULEVARD               FRANKLIN                  TN           37067         789 - WAUPACA               GARDEN SEEDS               kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED      315 COOL SPRINGS BOULEVARD               FRANKLIN                  TN           37067         790 - STANLEY               GARDEN SEEDS               kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED      315 COOL SPRINGS BOULEVARD               FRANKLIN                  TN           37067         791 - FOREST CITY           GARDEN SEEDS               kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED      315 COOL SPRINGS BOULEVARD               FRANKLIN                  TN           37067         793 - MAYVILLE              GARDEN SEEDS               kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED      315 COOL SPRINGS BOULEVARD               FRANKLIN                  TN           37067         796 - KASSON                GARDEN SEEDS               kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SEEDS OF CHANGE INCORPORATED      315 COOL SPRINGS BOULEVARD               FRANKLIN                  TN           37067         799 - TREMONTON             GARDEN SEEDS               kept on the books
                                                                                                                                                            SEASONAL HOME              N/A - Inventory Value is not
SNOW JOE LLC                      86 EXECUTIVE AVENUE                      EDISON                    NJ           08817         100 - NEENAH                IMPROVEMENT                kept on the books
                                                                                                                                                            SEASONAL HOME              N/A - Inventory Value is not
SNOW JOE LLC                      86 EXECUTIVE AVENUE                      EDISON                    NJ           08817         498 - ECOM-DROP SHIP        IMPROVEMENT                kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         1 - GREEN BAY WEST          MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         2 - ASHWAUBENON             MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         3 - MANITOWOC               MOVIES                     kept on the books




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SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         4 - GREEN BAY EAST          MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         5 - DE PERE                 MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         7 - LA CROSSE SOUTH         MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         8 - ROTHSCHILD              MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         9 - MARSHFIELD              MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         12 - WISCONSIN RAPIDS       MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         14 - BEAVER DAM             MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         15 - APPLETON               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         17 - ST CLOUD WEST          MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         18 - WEST BEND              MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         19 - WATERTOWN WI           MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         20 - LA CROSSE NORTH        MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         22 - MITCHELL               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         23 - HUTCHINSON             MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         24 - EAU CLAIRE             MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         25 - MARSHALL               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         26 - BELOIT                 MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         27 - RACINE                 MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         28 - KIMBERLY               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         29 - MADISON WEST           MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         30 - JANESVILLE             MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         31 - KENOSHA                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         32 - MONONA                 MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         33 - MENASHA                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         37 - CHIPPEWA FALLS         MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         40 - SIOUX CITY             MOVIES                     kept on the books




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                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         42 - OSHKOSH                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         48 - NORFOLK                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         50 - FOND DU LAC            MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         51 - FORT ATKINSON          MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         52 - MASON CITY             MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         53 - NORTH PLATTE           MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         54 - WATERTOWN SD           MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         55 - STEVENS POINT NORTH    MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         56 - OMAHA WEST             MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         59 - FAIRMONT               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         60 - ALBERT LEA             MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         63 - POCATELLO              MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         76 - SIOUX FALLS SOUTH      MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         78 - RAPID CITY             MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         79 - WAUSAU                 MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         80 - MADISON NORTHEAST      MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         82 - MURRAY                 MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         83 - SANDY CITY             MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         84 - WEST JORDAN            MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         85 - TAYLORSVILLE           MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         87 - OGDEN                  MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         88 - LAYTON                 MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         90 - GRAFTON                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         91 - LOGAN                  MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         92 - KENNEWICK              MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         93 - BEND                   MOVIES                     kept on the books




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            Name of Owner                         Address1                            City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         96 - REDDING                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         97 - WEST VALLEY CITY       MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         98 - EUGENE NORTH           MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         99 - ONALASKA               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         100 - NEENAH                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         101 - SIOUX FALLS EAST      MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         102 - MARINETTE             MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         104 - BRIGHAM CITY          MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         105 - OREM                  MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         106 - BILLINGS              MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         108 - SPANISH FORK          MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         109 - RIVERDALE             MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         111 - SALEM                 MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         112 - HELENA                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         113 - LACEY                 MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         114 - DULUTH                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         116 - SHEBOYGAN             MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         119 - DIXON                 MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         120 - MONROE                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         122 - WENATCHEE             MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         125 - FREEPORT              MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         127 - DELAVAN               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         128 - KALISPELL             MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         129 - SPOKANE SOUTH         MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         130 - RIVER FALLS           MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         132 - RICE LAKE             MOVIES                     kept on the books




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            Name of Owner                         Address1                            City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         133 - BELVIDERE             MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         134 - PULLMAN               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         164 - DUBUQUE               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         170 - RHINELANDER           MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         171 - PLOVER                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         172 - LINCOLN NORTHWEST     MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         175 - LINCOLN SOUTHEAST     MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         177 - SUAMICO               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         178 - SUSSEX                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         179 - NORTH BRANCH          MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         200 - CHINO VALLEY          MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         201 - EMMETSBURG            MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         202 - CLIFTON               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         203 - JACKSBORO             MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         205 - DELTA                 MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         206 - ELY                   MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         207 - OLDTOWN               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         208 - SEYMOUR               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         209 - TULIA                 MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         211 - ESTHERVILLE           MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         212 - GORDON                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         213 - LITTLEFIELD           MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         501 - LEDGEVIEW             MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         502 - HOWARD                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         503 - PORT WASHINGTON       MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         504 - APPLETON EAST         MOVIES                     kept on the books




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            Name of Owner                         Address1                            City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         505 - APPLETON NORTH        MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         512 - ELLSWORTH             MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         520 - ALBION                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         523 - VALENTINE             MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         526 - AFTON                 MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         532 - NEW TOWN              MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         533 - TIOGA                 MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         534 - ROLLA                 MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         535 - BOWMAN                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         536 - ULYSSES               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         537 - BELOIT                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         538 - ANTHONY               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         539 - MONAHANS              MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         540 - KERMIT                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         541 - DALHART               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         542 - PERRYTON              MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         543 - WOLF POINT            MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         544 - SIDNEY #2             MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         545 - MOBRIDGE              MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         546 - BURLINGTON            MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         547 - MOOSE LAKE            MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         548 - MAHNOMEN              MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         549 - HARDIN #2             MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         550 - DILLON #2             MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         551 - DEMOTTE               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         552 - OAKES                 MOVIES                     kept on the books




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            Name of Owner                         Address1                            City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         553 - ABILENE               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         554 - ANDREWS               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         555 - MOAB                  MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         556 - PROSSER               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         557 - NEPHI                 MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         558 - REDFIELD              MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         559 - OROFINO               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         560 - FAIRVIEW              MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         561 - COKATO                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         562 - STANLEY ND            MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         563 - MAUSTON               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         564 - WEBSTER CITY          MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         565 - CHEROKEE              MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         566 - WARROAD               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         567 - PAYNESVILLE           MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         568 - NEW PRAGUE            MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         569 - MILBANK               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         570 - WAGNER                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         571 - WEBSTER               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         572 - LEADVILLE             MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         573 - RUSSELL               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         574 - LOWELL                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         575 - LOVINGTON             MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         576 - ALPINE                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         577 - CANADIAN              MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         578 - BUENA VISTA           MOVIES                     kept on the books




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            Name of Owner                         Address1                            City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         579 - YUMA                  MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         580 - CARRINGTON            MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         581 - LISBON                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         582 - PRESIDIO              MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         583 - BLANDING              MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         584 - BONNERS FERRY         MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         585 - MAYVILLE              MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         586 - PHILLIPSBURG          MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         587 - CLARINDA              MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         588 - BEAVER                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         589 - CRESCO                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         592 - COMANCHE              MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         593 - COTULLA               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         594 - CHAMBERLAIN           MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         596 - DELL RAPIDS           MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         597 - ORD                   MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         598 - SPRINGERVILLE         MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         600 - VINTON                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         601 - KEWAUNEE              MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         602 - OCONTO                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         603 - PRINCETON             MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         604 - ABBOTSFORD            MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         605 - MORA                  MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         606 - CALUMET               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         607 - SEYMOUR               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         608 - BRILLION              MOVIES                     kept on the books




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            Name of Owner                         Address1                            City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         609 - KIEL                  MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         610 - ISHPEMING             MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         611 - SAINT PETER           MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         613 - WINNECONNE            MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         615 - CLINTONVILLE          MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         616 - SISTER BAY            MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         617 - WAUTOMA               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         618 - REEDSBURG             MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         619 - ADAMS                 MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         620 - EAGLE RIVER           MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         621 - MANISTIQUE            MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         622 - WETMORE               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         623 - IRON RIVER            MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         624 - L'ANSE                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         625 - DYERSVILLE            MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         626 - LANCASTER             MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         627 - NEILLSVILLE           MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         628 - TWO HARBORS           MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         629 - ELY                   MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         630 - ARCADIA               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         632 - SPOONER               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         633 - PARK FALLS            MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         635 - SAVANNA               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         637 - ATTICA                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         638 - MONTICELLO            MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         639 - ROCKVILLE             MOVIES                     kept on the books




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            Name of Owner                         Address1                            City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         640 - TUSCOLA               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         641 - DWIGHT                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         642 - ALLEGAN               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         643 - NEWAYGO               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         644 - CLARE                 MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         646 - STANDISH              MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         647 - SYRACUSE              MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         648 - TECUMSEH              MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         649 - IMLAY CITY            MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         650 - DOWAGIAC              MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         651 - HART                  MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         652 - BROOKLYN              MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         653 - GLADWIN               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         656 - KALKASKA              MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         658 - BEATRICE              MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         659 - AUBURN                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         660 - CRETE                 MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         661 - WEST POINT            MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         662 - PLATTSMOUTH           MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         664 - HUMBOLDT              MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         665 - HAMPTON               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         667 - SHELDON               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         668 - NEW HAMPTON           MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         669 - OELWEIN               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         670 - WAYNE                 MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         671 - WAUKON                MOVIES                     kept on the books




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            Name of Owner                         Address1                            City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         672 - ONEILL                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         673 - AINSWORTH             MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         674 - CLARION               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         675 - WINTERSET             MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         676 - CHARITON              MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         677 - ONAWA                 MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         678 - JEFFERSON             MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         679 - TOLEDO                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         680 - PERRY                 MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         681 - IDA GROVE             MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         682 - HARLAN                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         683 - AUDUBON               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         684 - BLOOMFIELD            MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         685 - ELDORA                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         686 - GLENWOOD              MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         687 - GREENFIELD (IA)       MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         688 - MISSOURI VALLEY       MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         689 - MOUNT AYR             MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         690 - HOLDREGE              MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         691 - OGALLALA              MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         692 - SUPERIOR              MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         693 - CLAY CENTER           MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         694 - ALLIANCE              MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         695 - BROKEN BOW            MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         696 - NORTON                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         697 - SENECA                MOVIES                     kept on the books




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            Name of Owner                         Address1                            City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         698 - GOTHENBURG            MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         699 - SCOTT CITY            MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         700 - KIMBALL               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         701 - LYONS                 MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         702 - LARNED                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         703 - BURLINGTON            MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         704 - FALLS CITY            MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         705 - TRENTON               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         706 - DONIPHAN              MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         707 - ALBANY                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         708 - CARROLLTON            MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         709 - EL DORADO SPRINGS     MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         710 - GALLATIN              MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         711 - MEMPHIS               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         712 - PALMYRA               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         716 - MT. CARMEL            MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         717 - MINERVA               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         719 - WOODSFIELD            MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         720 - BATESVILLE            MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         729 - BRANDENBURG           MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         732 - GLENCOE               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         733 - FERGUS FALLS          MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         734 - CAVALIER              MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         735 - AITKIN                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         736 - VALLEY CITY           MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         737 - GRAFTON               MOVIES                     kept on the books




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            Name of Owner                         Address1                            City                State       Zip           Location of Property    Description of Property               Value
                                                                                                                                                                                      N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         738 - PERHAM               MOVIES                     kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         739 - GLENWOOD             MOVIES                     kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         740 - MORRIS               MOVIES                     kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         741 - RUGBY                MOVIES                     kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         742 - EAST GRAND FORKS     MOVIES                     kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         743 - BEULAH               MOVIES                     kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         744 - ROSEAU               MOVIES                     kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         745 - WINNER               MOVIES                     kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         746 - MADISON SD           MOVIES                     kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         747 - LUVERNE              MOVIES                     kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         748 - PIPESTONE            MOVIES                     kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         749 - SAINT JAMES          MOVIES                     kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         750 - WINDOM               MOVIES                     kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         751 - SISSETON             MOVIES                     kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         752 - TORRINGTON           MOVIES                     kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         753 - HOT SPRINGS          MOVIES                     kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         755 - WHEATLAND            MOVIES                     kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         756 - LANDER               MOVIES                     kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         757 - BELLE FOURCHE        MOVIES                     kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         758 - DOUGLAS              MOVIES                     kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         759 - STURGIS              MOVIES                     kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         760 - GREEN RIVER          MOVIES                     kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         761 - NEWCASTLE            MOVIES                     kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         762 - THERMOPOLIS          MOVIES                     kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         763 - CUSTER               MOVIES                     kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         764 - BUFFALO              MOVIES                     kept on the books




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                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         765 - MOUNTAIN VIEW         MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         766 - SHELBY                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         767 - WORLAND               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         768 - GLASGOW               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         769 - SIDNEY                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         771 - PLENTYWOOD            MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         772 - POWELL                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         773 - LEWISTOWN             MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         774 - LIVINGSTON            MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         775 - LIBBY                 MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         776 - GREYBULL              MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         786 - RED OAK               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         788 - COLUMBUS              MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         789 - WAUPACA               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         790 - STANLEY               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         791 - FOREST CITY           MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         792 - TOMAHAWK              MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         793 - MAYVILLE              MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         794 - QUINCY                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         795 - SALMON                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         796 - KASSON                MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         797 - WHITEFISH             MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         798 - BALLARD               MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SONY PICTURES HOME ENTERTAINEMT   919 E HILLSDALE BOULEVARD SUITE 340      FOSTER CITY               CA           94404         799 - TREMONTON             MOVIES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SOUTH SHORE INDUSTRIES LTD        6168 PRINCIPALE                          SAINTE CROIX              QC           G0S 2H0       50 - FOND DU LAC            FURNITURE                  kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
SOUTH SHORE INDUSTRIES LTD        6168 PRINCIPALE                          SAINTE CROIX              QC           G0S 2H0       498 - ECOM-DROP SHIP        FURNITURE                  kept on the books




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             Name of Owner                          Address1                           City                State       Zip            Location of Property    Description of Property          Value
                                                                                                                                                                                   N/A - Inventory Value is not
SOUTHERN ENTERPRISES LLC           600 FREEPORT PARKWAY #200                COPPELL                   TX           75019         498 - ECOM-DROP SHIP        LIVING ROOM FURNITURE kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
SPARROWHAWK INTERNATIONAL          20058 VENTURA BOULEVARD 224              WOODLAND HILLS            CA           91364         498 - ECOM-DROP SHIP        BATH ACCESSORIES      kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
SPORTS LICENSING SOLUTIONS         3200 SHAWNEE INDUSTRIAL WAY STE 200      SUWANEE                   GA           30024         18 - WEST BEND              TEAM COLLECTIBLES     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
SPORTS LICENSING SOLUTIONS         3200 SHAWNEE INDUSTRIAL WAY STE 200      SUWANEE                   GA           30024         40 - SIOUX CITY             TEAM COLLECTIBLES     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
SPORTS LICENSING SOLUTIONS         3200 SHAWNEE INDUSTRIAL WAY STE 200      SUWANEE                   GA           30024         56 - OMAHA WEST             TEAM COLLECTIBLES     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
SPORTS LICENSING SOLUTIONS         3200 SHAWNEE INDUSTRIAL WAY STE 200      SUWANEE                   GA           30024         101 - SIOUX FALLS EAST      TEAM COLLECTIBLES     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
SPORTS LICENSING SOLUTIONS         3200 SHAWNEE INDUSTRIAL WAY STE 200      SUWANEE                   GA           30024         133 - BELVIDERE             TEAM COLLECTIBLES     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
SPORTS LICENSING SOLUTIONS         3200 SHAWNEE INDUSTRIAL WAY STE 200      SUWANEE                   GA           30024         213 - LITTLEFIELD           TEAM COLLECTIBLES     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
SPORTS LICENSING SOLUTIONS         3200 SHAWNEE INDUSTRIAL WAY STE 200      SUWANEE                   GA           30024         498 - ECOM-DROP SHIP        TEAM COLLECTIBLES     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
SPORTS LICENSING SOLUTIONS         3200 SHAWNEE INDUSTRIAL WAY STE 200      SUWANEE                   GA           30024         688 - MISSOURI VALLEY       TEAM COLLECTIBLES     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
SPORTS VAULT CORPORATION (C-HUB)   315 PACIFIC AVENUE                       WINNEPEG                  MB           R3A 0M2       1 - GREEN BAY WEST          TEAM COLLECTIBLES     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
SPORTS VAULT CORPORATION (C-HUB)   315 PACIFIC AVENUE                       WINNEPEG                  MB           R3A 0M2       106 - BILLINGS              TEAM COLLECTIBLES     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
SPORTS VAULT CORPORATION (C-HUB)   315 PACIFIC AVENUE                       WINNEPEG                  MB           R3A 0M2       498 - ECOM-DROP SHIP        TEAM COLLECTIBLES     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
SPORTSMANS SUPPLY                  2802 STANLEY STREET                      STEVENS POINT             WI           54481         686 - GLENWOOD              FISHING ACCESSORIES   kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
STANFIELDS (C-HUB)                 1 LOGAN STREET                           TRURO                     NS           B2N 5C2       498 - ECOM-DROP SHIP        BRAS, PANTIES         kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
STRATEGIC PARTNERS INCORPORATED    6001 SOLUTIONS CENTER                    CHICAGO                   IL           60677-6000 96 - REDDING                   CHILDREN'S CLOTHING   kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
STRATEGIC PARTNERS INCORPORATED    6001 SOLUTIONS CENTER                    CHICAGO                   IL           60677-6000 125 - FREEPORT                 CHILDREN'S CLOTHING   kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
STRATEGIC PARTNERS INCORPORATED    6001 SOLUTIONS CENTER                    CHICAGO                   IL           60677-6000 177 - SUAMICO                  CHILDREN'S CLOTHING   kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
STRATEGIC PARTNERS INCORPORATED    6001 SOLUTIONS CENTER                    CHICAGO                   IL           60677-6000 498 - ECOM-DROP SHIP           CHILDREN'S CLOTHING   kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
SUMMER INFANT INCORPORATED         1275 PARK EAST DRIVE                     WOONSOCKET                RI           02895         84 - WEST JORDAN            BABY GEAR, BASICS     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
SUMMER INFANT INCORPORATED         1275 PARK EAST DRIVE                     WOONSOCKET                RI           02895         99 - ONALASKA               BABY GEAR, BASICS     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
SUMMER INFANT INCORPORATED         1275 PARK EAST DRIVE                     WOONSOCKET                RI           02895         114 - DULUTH                BABY GEAR, BASICS     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
SUMMER INFANT INCORPORATED         1275 PARK EAST DRIVE                     WOONSOCKET                RI           02895         116 - SHEBOYGAN             BABY GEAR, BASICS     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
SUMMER INFANT INCORPORATED         1275 PARK EAST DRIVE                     WOONSOCKET                RI           02895         498 - ECOM-DROP SHIP        BABY GEAR, BASICS     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
SUMMER INFANT INCORPORATED         1275 PARK EAST DRIVE                     WOONSOCKET                RI           02895         580 - CARRINGTON            BABY GEAR, BASICS     kept on the books
                                                                                                                                                                                   N/A - Inventory Value is not
SURF NINE LLC (CHUB)               24850 OLD 41 ROAD 10                     BONITA SPRINGS            FL           34135         50 - FOND DU LAC            ACTIVE SHOES          kept on the books




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              Name of Owner                        Address1                              City                State       Zip          Location of Property    Description of Property               Value
                                                                                                                                                                                        N/A - Inventory Value is not
SURF NINE LLC (CHUB)               24850 OLD 41 ROAD 10                     BONITA SPRINGS              FL           34135       96 - REDDING                ACTIVE SHOES               kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
SURF NINE LLC (CHUB)               24850 OLD 41 ROAD 10                     BONITA SPRINGS              FL           34135       498 - ECOM-DROP SHIP        ACTIVE SHOES               kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
SURF NINE LLC (CHUB)               24850 OLD 41 ROAD 10                     BONITA SPRINGS              FL           34135       625 - DYERSVILLE            ACTIVE SHOES               kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
SURGICAL APPLIANCE INDUSTRIES      3960 ROSSLYN DRIVE                       CINCINNATI                  OH           45209-1110 25 - MARSHALL                DIABETIC SUPPORT HOSE      kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
SURGICAL APPLIANCE INDUSTRIES      3960 ROSSLYN DRIVE                       CINCINNATI                  OH           45209-1110 55 - STEVENS POINT NORTH     DIABETIC SUPPORT HOSE      kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
SURGICAL APPLIANCE INDUSTRIES      3960 ROSSLYN DRIVE                       CINCINNATI                  OH           45209-1110 97 - WEST VALLEY CITY        DIABETIC SUPPORT HOSE      kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
SURGICAL APPLIANCE INDUSTRIES      3960 ROSSLYN DRIVE                       CINCINNATI                  OH           45209-1110 120 - MONROE                 DIABETIC SUPPORT HOSE      kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
SURGICAL APPLIANCE INDUSTRIES      3960 ROSSLYN DRIVE                       CINCINNATI                  OH           45209-1110 767 - WORLAND                DIABETIC SUPPORT HOSE      kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
TABLETOPS UNLIMITED                23000 AVALON BOULEVARD                   CARSON                      CA           90745-5017 164 - DUBUQUE                DINNERWARE SETS            kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
TOPLINE FURNITURE WAREHOUSE CO     1455 W THORNDALE AVE                     ITASCA                      IL           60143       104 - BRIGHAM CITY          FURNITURE                  kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
TOPLINE FURNITURE WAREHOUSE CO     1455 W THORNDALE AVE                     ITASCA                      IL           60143       498 - ECOM-DROP SHIP        FURNITURE                  kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
TR JEWELRY CONCEPTS (C-HUB)        2707 MT RUSHMORE RD                      RAPID CITY                  SD           57701       498 - ECOM-DROP SHIP        JEWELRY                    kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
TRAVELERS CHOICE TRAVELWARE        13280 TEMPLE AVENUE                      CITY OF INDUSTRY            CA           91746-0000 1 - GREEN BAY WEST           LUGGAGE                    kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
TRAVELERS CHOICE TRAVELWARE        13280 TEMPLE AVENUE                      CITY OF INDUSTRY            CA           91746-0000 101 - SIOUX FALLS EAST       LUGGAGE                    kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
TRAVELERS CHOICE TRAVELWARE        13280 TEMPLE AVENUE                      CITY OF INDUSTRY            CA           91746-0000 498 - ECOM-DROP SHIP         LUGGAGE                    kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
TRAVELERS CHOICE TRAVELWARE        13280 TEMPLE AVENUE                      CITY OF INDUSTRY            CA           91746-0000 618 - REEDSBURG              LUGGAGE                    kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
TRAVELERS CHOICE TRAVELWARE        13280 TEMPLE AVENUE                      CITY OF INDUSTRY            CA           91746-0000 692 - SUPERIOR               LUGGAGE                    kept on the books
                                                                                                                                                                                        N/A - Inventory Value is not
TRAVELERS CLUB LUGGAGE INCORPORA   5911 FRESCA DRIVE                        LA PALMA                    CA           90623-0000 498 - ECOM-DROP SHIP         LUGGAGE                    kept on the books
                                                                                                                                                             BABY BASICS &              N/A - Inventory Value is not
TREND LAB L L C                    8925 WEST HIGHWAY 101 FRONTAGE ROAD      SAVAGE                      MN           55378       4 - GREEN BAY EAST          ACCESSORIES                kept on the books
                                                                                                                                                             BABY BASICS &              N/A - Inventory Value is not
TREND LAB L L C                    8925 WEST HIGHWAY 101 FRONTAGE ROAD      SAVAGE                      MN           55378       15 - APPLETON               ACCESSORIES                kept on the books
                                                                                                                                                             BABY BASICS &              N/A - Inventory Value is not
TREND LAB L L C                    8925 WEST HIGHWAY 101 FRONTAGE ROAD      SAVAGE                      MN           55378       28 - KIMBERLY               ACCESSORIES                kept on the books
                                                                                                                                                             BABY BASICS &              N/A - Inventory Value is not
TREND LAB L L C                    8925 WEST HIGHWAY 101 FRONTAGE ROAD      SAVAGE                      MN           55378       78 - RAPID CITY             ACCESSORIES                kept on the books
                                                                                                                                                             BABY BASICS &              N/A - Inventory Value is not
TREND LAB L L C                    8925 WEST HIGHWAY 101 FRONTAGE ROAD      SAVAGE                      MN           55378       79 - WAUSAU                 ACCESSORIES                kept on the books
                                                                                                                                                             BABY BASICS &              N/A - Inventory Value is not
TREND LAB L L C                    8925 WEST HIGHWAY 101 FRONTAGE ROAD      SAVAGE                      MN           55378       102 - MARINETTE             ACCESSORIES                kept on the books
                                                                                                                                                             BABY BASICS &              N/A - Inventory Value is not
TREND LAB L L C                    8925 WEST HIGHWAY 101 FRONTAGE ROAD      SAVAGE                      MN           55378       172 - LINCOLN NORTHWEST     ACCESSORIES                kept on the books
                                                                                                                                                             BABY BASICS &              N/A - Inventory Value is not
TREND LAB L L C                    8925 WEST HIGHWAY 101 FRONTAGE ROAD      SAVAGE                      MN           55378       498 - ECOM-DROP SHIP        ACCESSORIES                kept on the books




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            Name of Owner                       Address1                             City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                                      N/A - Inventory Value is not
TWENTY FOUR SEVEN COMFORT INC   711 WEST WOODBURY RD UNIT H               ALTADENA                  CA           91001         18 - WEST BEND              WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
TWENTY FOUR SEVEN COMFORT INC   711 WEST WOODBURY RD UNIT H               ALTADENA                  CA           91001         116 - SHEBOYGAN             WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
TWENTY FOUR SEVEN COMFORT INC   711 WEST WOODBURY RD UNIT H               ALTADENA                  CA           91001         177 - SUAMICO               WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
TWENTY FOUR SEVEN COMFORT INC   711 WEST WOODBURY RD UNIT H               ALTADENA                  CA           91001         498 - ECOM-DROP SHIP        WOMEN'S APPAREL            kept on the books
                                                                                                                                                           HOME IMPROVEMENT,          N/A - Inventory Value is not
V G SUPPLY COMPANY              1400 RENAISSANCE DRIVE #309               PARK RIDGE                IL           60068         5 - DE PERE                 LAWN CARE                  kept on the books
                                                                                                                                                           HOME IMPROVEMENT,          N/A - Inventory Value is not
V G SUPPLY COMPANY              1400 RENAISSANCE DRIVE #309               PARK RIDGE                IL           60068         53 - NORTH PLATTE           LAWN CARE                  kept on the books
                                                                                                                                                           HOME IMPROVEMENT,          N/A - Inventory Value is not
V G SUPPLY COMPANY              1400 RENAISSANCE DRIVE #309               PARK RIDGE                IL           60068         100 - NEENAH                LAWN CARE                  kept on the books
                                                                                                                                                           HOME IMPROVEMENT,          N/A - Inventory Value is not
V G SUPPLY COMPANY              1400 RENAISSANCE DRIVE #309               PARK RIDGE                IL           60068         111 - SALEM                 LAWN CARE                  kept on the books
                                                                                                                                                           HOME IMPROVEMENT,          N/A - Inventory Value is not
V G SUPPLY COMPANY              1400 RENAISSANCE DRIVE #309               PARK RIDGE                IL           60068         498 - ECOM-DROP SHIP        LAWN CARE                  kept on the books
                                                                                                                                                           HOME IMPROVEMENT,          N/A - Inventory Value is not
V G SUPPLY COMPANY              1400 RENAISSANCE DRIVE #309               PARK RIDGE                IL           60068         556 - PROSSER               LAWN CARE                  kept on the books
                                                                                                                                                           COMPUTER                   N/A - Inventory Value is not
VERBATIM AMERICAS LLC           8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         1 - GREEN BAY WEST          EQUIP/ACCESSORIES          kept on the books
                                                                                                                                                           COMPUTER                   N/A - Inventory Value is not
VERBATIM AMERICAS LLC           8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         2 - ASHWAUBENON             EQUIP/ACCESSORIES          kept on the books
                                                                                                                                                           COMPUTER                   N/A - Inventory Value is not
VERBATIM AMERICAS LLC           8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         3 - MANITOWOC               EQUIP/ACCESSORIES          kept on the books
                                                                                                                                                           COMPUTER                   N/A - Inventory Value is not
VERBATIM AMERICAS LLC           8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         4 - GREEN BAY EAST          EQUIP/ACCESSORIES          kept on the books
                                                                                                                                                           COMPUTER                   N/A - Inventory Value is not
VERBATIM AMERICAS LLC           8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         5 - DE PERE                 EQUIP/ACCESSORIES          kept on the books
                                                                                                                                                           COMPUTER                   N/A - Inventory Value is not
VERBATIM AMERICAS LLC           8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         7 - LA CROSSE SOUTH         EQUIP/ACCESSORIES          kept on the books
                                                                                                                                                           COMPUTER                   N/A - Inventory Value is not
VERBATIM AMERICAS LLC           8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         8 - ROTHSCHILD              EQUIP/ACCESSORIES          kept on the books
                                                                                                                                                           COMPUTER                   N/A - Inventory Value is not
VERBATIM AMERICAS LLC           8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         9 - MARSHFIELD              EQUIP/ACCESSORIES          kept on the books
                                                                                                                                                           COMPUTER                   N/A - Inventory Value is not
VERBATIM AMERICAS LLC           8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         12 - WISCONSIN RAPIDS       EQUIP/ACCESSORIES          kept on the books
                                                                                                                                                           COMPUTER                   N/A - Inventory Value is not
VERBATIM AMERICAS LLC           8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         14 - BEAVER DAM             EQUIP/ACCESSORIES          kept on the books
                                                                                                                                                           COMPUTER                   N/A - Inventory Value is not
VERBATIM AMERICAS LLC           8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         15 - APPLETON               EQUIP/ACCESSORIES          kept on the books
                                                                                                                                                           COMPUTER                   N/A - Inventory Value is not
VERBATIM AMERICAS LLC           8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         17 - ST CLOUD WEST          EQUIP/ACCESSORIES          kept on the books
                                                                                                                                                           COMPUTER                   N/A - Inventory Value is not
VERBATIM AMERICAS LLC           8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         18 - WEST BEND              EQUIP/ACCESSORIES          kept on the books
                                                                                                                                                           COMPUTER                   N/A - Inventory Value is not
VERBATIM AMERICAS LLC           8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         19 - WATERTOWN WI           EQUIP/ACCESSORIES          kept on the books
                                                                                                                                                           COMPUTER                   N/A - Inventory Value is not
VERBATIM AMERICAS LLC           8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         20 - LA CROSSE NORTH        EQUIP/ACCESSORIES          kept on the books
                                                                                                                                                           COMPUTER                   N/A - Inventory Value is not
VERBATIM AMERICAS LLC           8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         22 - MITCHELL               EQUIP/ACCESSORIES          kept on the books




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            Name of Owner                   Address1                             City                State       Zip            Location of Property     Description of Property               Value
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         23 - HUTCHINSON             EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         24 - EAU CLAIRE             EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         25 - MARSHALL               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         26 - BELOIT                 EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         27 - RACINE                 EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         28 - KIMBERLY               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         29 - MADISON WEST           EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         30 - JANESVILLE             EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         31 - KENOSHA                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         32 - MONONA                 EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         33 - MENASHA                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         37 - CHIPPEWA FALLS         EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         40 - SIOUX CITY             EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         42 - OSHKOSH                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         48 - NORFOLK                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         50 - FOND DU LAC            EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         51 - FORT ATKINSON          EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         52 - MASON CITY             EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         53 - NORTH PLATTE           EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         54 - WATERTOWN SD           EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         55 - STEVENS POINT NORTH    EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         56 - OMAHA WEST             EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         59 - FAIRMONT               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         60 - ALBERT LEA             EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         63 - POCATELLO              EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         76 - SIOUX FALLS SOUTH      EQUIP/ACCESSORIES           kept on the books




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            Name of Owner                   Address1                             City                State       Zip            Location of Property     Description of Property               Value
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         78 - RAPID CITY             EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         79 - WAUSAU                 EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         80 - MADISON NORTHEAST      EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         82 - MURRAY                 EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         83 - SANDY CITY             EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         84 - WEST JORDAN            EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         85 - TAYLORSVILLE           EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         87 - OGDEN                  EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         88 - LAYTON                 EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         90 - GRAFTON                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         91 - LOGAN                  EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         92 - KENNEWICK              EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         93 - BEND                   EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         96 - REDDING                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         97 - WEST VALLEY CITY       EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         98 - EUGENE NORTH           EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         99 - ONALASKA               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         100 - NEENAH                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         101 - SIOUX FALLS EAST      EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         102 - MARINETTE             EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         104 - BRIGHAM CITY          EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         105 - OREM                  EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         106 - BILLINGS              EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         108 - SPANISH FORK          EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         109 - RIVERDALE             EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         111 - SALEM                 EQUIP/ACCESSORIES           kept on the books




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            Name of Owner                   Address1                             City                State       Zip            Location of Property     Description of Property               Value
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         112 - HELENA                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         113 - LACEY                 EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         114 - DULUTH                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         116 - SHEBOYGAN             EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         119 - DIXON                 EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         120 - MONROE                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         122 - WENATCHEE             EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         125 - FREEPORT              EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         127 - DELAVAN               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         128 - KALISPELL             EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         129 - SPOKANE SOUTH         EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         130 - RIVER FALLS           EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         132 - RICE LAKE             EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         133 - BELVIDERE             EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         134 - PULLMAN               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         164 - DUBUQUE               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         170 - RHINELANDER           EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         171 - PLOVER                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         172 - LINCOLN NORTHWEST     EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         175 - LINCOLN SOUTHEAST     EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         177 - SUAMICO               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         178 - SUSSEX                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         179 - NORTH BRANCH          EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         201 - EMMETSBURG            EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         202 - CLIFTON               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         203 - JACKSBORO             EQUIP/ACCESSORIES           kept on the books




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            Name of Owner                   Address1                             City                State       Zip            Location of Property     Description of Property               Value
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         205 - DELTA                 EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         206 - ELY                   EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         207 - OLDTOWN               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         211 - ESTHERVILLE           EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         212 - GORDON                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         213 - LITTLEFIELD           EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         487 - 487 ECOM DED PICK     EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         501 - LEDGEVIEW             EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         502 - HOWARD                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         503 - PORT WASHINGTON       EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         504 - APPLETON EAST         EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         505 - APPLETON NORTH        EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         512 - ELLSWORTH             EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         520 - ALBION                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         523 - VALENTINE             EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         526 - AFTON                 EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         532 - NEW TOWN              EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         534 - ROLLA                 EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         535 - BOWMAN                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         536 - ULYSSES               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         537 - BELOIT                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         538 - ANTHONY               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         539 - MONAHANS              EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         540 - KERMIT                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         541 - DALHART               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         542 - PERRYTON              EQUIP/ACCESSORIES           kept on the books




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            Name of Owner                   Address1                             City                State       Zip            Location of Property     Description of Property               Value
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         543 - WOLF POINT            EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         544 - SIDNEY #2             EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         545 - MOBRIDGE              EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         546 - BURLINGTON            EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         547 - MOOSE LAKE            EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         548 - MAHNOMEN              EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         549 - HARDIN #2             EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         550 - DILLON #2             EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         551 - DEMOTTE               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         552 - OAKES                 EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         553 - ABILENE               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         554 - ANDREWS               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         555 - MOAB                  EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         556 - PROSSER               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         557 - NEPHI                 EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         558 - REDFIELD              EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         559 - OROFINO               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         560 - FAIRVIEW              EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         561 - COKATO                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         562 - STANLEY ND            EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         563 - MAUSTON               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         564 - WEBSTER CITY          EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         565 - CHEROKEE              EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         566 - WARROAD               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         567 - PAYNESVILLE           EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         568 - NEW PRAGUE            EQUIP/ACCESSORIES           kept on the books




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            Name of Owner                   Address1                             City                State       Zip            Location of Property     Description of Property               Value
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         569 - MILBANK               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         570 - WAGNER                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         571 - WEBSTER               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         572 - LEADVILLE             EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         573 - RUSSELL               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         574 - LOWELL                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         575 - LOVINGTON             EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         576 - ALPINE                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         577 - CANADIAN              EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         578 - BUENA VISTA           EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         579 - YUMA                  EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         580 - CARRINGTON            EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         581 - LISBON                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         582 - PRESIDIO              EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         583 - BLANDING              EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         584 - BONNERS FERRY         EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         585 - MAYVILLE              EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         586 - PHILLIPSBURG          EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         587 - CLARINDA              EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         588 - BEAVER                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         589 - CRESCO                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         592 - COMANCHE              EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         594 - CHAMBERLAIN           EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         596 - DELL RAPIDS           EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         597 - ORD                   EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         598 - SPRINGERVILLE         EQUIP/ACCESSORIES           kept on the books




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            Name of Owner                   Address1                             City                State       Zip            Location of Property     Description of Property               Value
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         600 - VINTON                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         601 - KEWAUNEE              EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         602 - OCONTO                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         604 - ABBOTSFORD            EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         605 - MORA                  EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         606 - CALUMET               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         607 - SEYMOUR               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         608 - BRILLION              EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         609 - KIEL                  EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         610 - ISHPEMING             EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         611 - SAINT PETER           EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         613 - WINNECONNE            EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         615 - CLINTONVILLE          EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         616 - SISTER BAY            EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         617 - WAUTOMA               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         618 - REEDSBURG             EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         619 - ADAMS                 EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         620 - EAGLE RIVER           EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         621 - MANISTIQUE            EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         622 - WETMORE               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         623 - IRON RIVER            EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         624 - L'ANSE                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         625 - DYERSVILLE            EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         626 - LANCASTER             EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         627 - NEILLSVILLE           EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         628 - TWO HARBORS           EQUIP/ACCESSORIES           kept on the books




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            Name of Owner                   Address1                             City                State       Zip            Location of Property     Description of Property               Value
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         629 - ELY                   EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         630 - ARCADIA               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         632 - SPOONER               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         633 - PARK FALLS            EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         635 - SAVANNA               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         637 - ATTICA                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         638 - MONTICELLO            EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         639 - ROCKVILLE             EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         640 - TUSCOLA               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         641 - DWIGHT                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         642 - ALLEGAN               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         643 - NEWAYGO               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         644 - CLARE                 EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         646 - STANDISH              EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         647 - SYRACUSE              EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         648 - TECUMSEH              EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         649 - IMLAY CITY            EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         650 - DOWAGIAC              EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         651 - HART                  EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         652 - BROOKLYN              EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         653 - GLADWIN               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         656 - KALKASKA              EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         658 - BEATRICE              EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         659 - AUBURN                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         661 - WEST POINT            EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         662 - PLATTSMOUTH           EQUIP/ACCESSORIES           kept on the books




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            Name of Owner                   Address1                             City                State       Zip            Location of Property     Description of Property               Value
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         664 - HUMBOLDT              EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         665 - HAMPTON               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         667 - SHELDON               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         668 - NEW HAMPTON           EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         669 - OELWEIN               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         670 - WAYNE                 EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         671 - WAUKON                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         672 - ONEILL                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         673 - AINSWORTH             EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         674 - CLARION               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         675 - WINTERSET             EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         676 - CHARITON              EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         677 - ONAWA                 EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         679 - TOLEDO                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         680 - PERRY                 EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         681 - IDA GROVE             EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         682 - HARLAN                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         683 - AUDUBON               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         684 - BLOOMFIELD            EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         685 - ELDORA                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         686 - GLENWOOD              EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         687 - GREENFIELD (IA)       EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         688 - MISSOURI VALLEY       EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         689 - MOUNT AYR             EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         690 - HOLDREGE              EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         691 - OGALLALA              EQUIP/ACCESSORIES           kept on the books




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            Name of Owner                   Address1                             City                State       Zip            Location of Property     Description of Property               Value
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         692 - SUPERIOR              EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         693 - CLAY CENTER           EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         694 - ALLIANCE              EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         695 - BROKEN BOW            EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         696 - NORTON                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         697 - SENECA                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         698 - GOTHENBURG            EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         699 - SCOTT CITY            EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         700 - KIMBALL               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         701 - LYONS                 EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         702 - LARNED                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         703 - BURLINGTON            EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         704 - FALLS CITY            EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         705 - TRENTON               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         706 - DONIPHAN              EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         707 - ALBANY                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         708 - CARROLLTON            EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         709 - EL DORADO SPRINGS     EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         710 - GALLATIN              EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         711 - MEMPHIS               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         716 - MT. CARMEL            EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         717 - MINERVA               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         719 - WOODSFIELD            EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         720 - BATESVILLE            EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         729 - BRANDENBURG           EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         732 - GLENCOE               EQUIP/ACCESSORIES           kept on the books




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            Name of Owner                   Address1                             City                State       Zip            Location of Property     Description of Property               Value
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         733 - FERGUS FALLS          EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         734 - CAVALIER              EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         735 - AITKIN                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         736 - VALLEY CITY           EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         737 - GRAFTON               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         738 - PERHAM                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         739 - GLENWOOD              EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         740 - MORRIS                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         741 - RUGBY                 EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         742 - EAST GRAND FORKS      EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         743 - BEULAH                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         744 - ROSEAU                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         745 - WINNER                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         746 - MADISON SD            EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         747 - LUVERNE               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         748 - PIPESTONE             EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         749 - SAINT JAMES           EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         750 - WINDOM                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         751 - SISSETON              EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         752 - TORRINGTON            EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         753 - HOT SPRINGS           EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         755 - WHEATLAND             EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         756 - LANDER                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         757 - BELLE FOURCHE         EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         758 - DOUGLAS               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         759 - STURGIS               EQUIP/ACCESSORIES           kept on the books




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            Name of Owner                   Address1                             City                State       Zip            Location of Property     Description of Property               Value
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         760 - GREEN RIVER           EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         761 - NEWCASTLE             EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         762 - THERMOPOLIS           EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         763 - CUSTER                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         764 - BUFFALO               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         765 - MOUNTAIN VIEW         EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         766 - SHELBY                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         767 - WORLAND               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         768 - GLASGOW               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         769 - SIDNEY                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         771 - PLENTYWOOD            EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         772 - POWELL                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         773 - LEWISTOWN             EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         774 - LIVINGSTON            EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         775 - LIBBY                 EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         776 - GREYBULL              EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         786 - RED OAK               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         788 - COLUMBUS              EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         789 - WAUPACA               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         790 - STANLEY               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         791 - FOREST CITY           EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         792 - TOMAHAWK              EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         793 - MAYVILLE              EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         794 - QUINCY                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         795 - SALMON                EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                       COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC       8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         796 - KASSON                EQUIP/ACCESSORIES           kept on the books




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            Name of Owner                        Address1                            City                State       Zip            Location of Property     Description of Property               Value
                                                                                                                                                           COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC           8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         797 - WHITEFISH             EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                           COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC           8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         798 - BALLARD               EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                           COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC           8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         799 - TREMONTON             EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                           COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC           8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         989 - REVERSE LOGISTICS     EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                           COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC           8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         998 - DISTRIBUTION CENTER   EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                           COMPUTER                    N/A - Inventory Value is not
VERBATIM AMERICAS LLC           8210 UNIVERSITY EXECUTIVE PARK DRIVE      CHARLOTTE                 NC           28262         999 - DISTRIBUTION CENTER   EQUIP/ACCESSORIES           kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
VERMONT JUVENILE DBA PET GEAR   192 SHELDON AVENUE                        WEST RUTLAND              VT           05777-0000 498 - ECOM-DROP SHIP           PET ACCESSORIES             kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
VLC DISTRIBUTION COMPANY        16255 PORT NW #150E                       HOUSTON                   TX           77041         116 - SHEBOYGAN             WATCHES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
VLC DISTRIBUTION COMPANY        16255 PORT NW #150E                       HOUSTON                   TX           77041         498 - ECOM-DROP SHIP        WATCHES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
VLC DISTRIBUTION COMPANY        16255 PORT NW #150E                       HOUSTON                   TX           77041         662 - PLATTSMOUTH           WATCHES                     kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)    1220 S MAPLE AVE STE 911                  LOS ANGELES               CA           90015         2 - ASHWAUBENON             WOMEN'S APPAREL             kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)    1220 S MAPLE AVE STE 911                  LOS ANGELES               CA           90015         3 - MANITOWOC               WOMEN'S APPAREL             kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)    1220 S MAPLE AVE STE 911                  LOS ANGELES               CA           90015         4 - GREEN BAY EAST          WOMEN'S APPAREL             kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)    1220 S MAPLE AVE STE 911                  LOS ANGELES               CA           90015         5 - DE PERE                 WOMEN'S APPAREL             kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)    1220 S MAPLE AVE STE 911                  LOS ANGELES               CA           90015         7 - LA CROSSE SOUTH         WOMEN'S APPAREL             kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)    1220 S MAPLE AVE STE 911                  LOS ANGELES               CA           90015         12 - WISCONSIN RAPIDS       WOMEN'S APPAREL             kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)    1220 S MAPLE AVE STE 911                  LOS ANGELES               CA           90015         18 - WEST BEND              WOMEN'S APPAREL             kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)    1220 S MAPLE AVE STE 911                  LOS ANGELES               CA           90015         19 - WATERTOWN WI           WOMEN'S APPAREL             kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)    1220 S MAPLE AVE STE 911                  LOS ANGELES               CA           90015         20 - LA CROSSE NORTH        WOMEN'S APPAREL             kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)    1220 S MAPLE AVE STE 911                  LOS ANGELES               CA           90015         23 - HUTCHINSON             WOMEN'S APPAREL             kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)    1220 S MAPLE AVE STE 911                  LOS ANGELES               CA           90015         24 - EAU CLAIRE             WOMEN'S APPAREL             kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)    1220 S MAPLE AVE STE 911                  LOS ANGELES               CA           90015         27 - RACINE                 WOMEN'S APPAREL             kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)    1220 S MAPLE AVE STE 911                  LOS ANGELES               CA           90015         28 - KIMBERLY               WOMEN'S APPAREL             kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)    1220 S MAPLE AVE STE 911                  LOS ANGELES               CA           90015         29 - MADISON WEST           WOMEN'S APPAREL             kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)    1220 S MAPLE AVE STE 911                  LOS ANGELES               CA           90015         31 - KENOSHA                WOMEN'S APPAREL             kept on the books
                                                                                                                                                                                       N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)    1220 S MAPLE AVE STE 911                  LOS ANGELES               CA           90015         42 - OSHKOSH                WOMEN'S APPAREL             kept on the books




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            Name of Owner                       Address1                         City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         48 - NORFOLK                WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         50 - FOND DU LAC            WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         52 - MASON CITY             WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         53 - NORTH PLATTE           WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         54 - WATERTOWN SD           WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         56 - OMAHA WEST             WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         76 - SIOUX FALLS SOUTH      WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         78 - RAPID CITY             WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         79 - WAUSAU                 WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         80 - MADISON NORTHEAST      WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         88 - LAYTON                 WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         91 - LOGAN                  WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         92 - KENNEWICK              WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         98 - EUGENE NORTH           WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         99 - ONALASKA               WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         100 - NEENAH                WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         104 - BRIGHAM CITY          WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         105 - OREM                  WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         106 - BILLINGS              WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         108 - SPANISH FORK          WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         114 - DULUTH                WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         116 - SHEBOYGAN             WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         119 - DIXON                 WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         120 - MONROE                WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         128 - KALISPELL             WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         130 - RIVER FALLS           WOMEN'S APPAREL            kept on the books




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            Name of Owner                       Address1                         City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         164 - DUBUQUE               WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         178 - SUSSEX                WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         179 - NORTH BRANCH          WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         498 - ECOM-DROP SHIP        WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         512 - ELLSWORTH             WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         553 - ABILENE               WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         561 - COKATO                WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         563 - MAUSTON               WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         573 - RUSSELL               WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         618 - REEDSBURG             WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         628 - TWO HARBORS           WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         670 - WAYNE                 WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         671 - WAUKON                WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         676 - CHARITON              WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         682 - HARLAN                WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         688 - MISSOURI VALLEY       WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         710 - GALLATIN              WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         733 - FERGUS FALLS          WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         739 - GLENWOOD              WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         746 - MADISON SD            WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         750 - WINDOM                WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         773 - LEWISTOWN             WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         788 - COLUMBUS              WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WHITE MARK UNIVERSAL (C-HUB)   1220 S MAPLE AVE STE 911               LOS ANGELES               CA           90015         789 - WAUPACA               WOMEN'S APPAREL            kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WILLIAMSON DICKIE MFG CORP     509 W VICKERY BOULEVARD                FORT WORTH                TX           76104         2 - ASHWAUBENON             APPAREL                    kept on the books
                                                                                                                                                                                  N/A - Inventory Value is not
WILLIAMSON DICKIE MFG CORP     509 W VICKERY BOULEVARD                FORT WORTH                TX           76104         7 - LA CROSSE SOUTH         APPAREL                    kept on the books




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            Name of Owner                   Address1                          City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                               N/A - Inventory Value is not
WILLIAMSON DICKIE MFG CORP   509 W VICKERY BOULEVARD               FORT WORTH                TX           76104         9 - MARSHFIELD              APPAREL                    kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
WILLIAMSON DICKIE MFG CORP   509 W VICKERY BOULEVARD               FORT WORTH                TX           76104         17 - ST CLOUD WEST          APPAREL                    kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
WILLIAMSON DICKIE MFG CORP   509 W VICKERY BOULEVARD               FORT WORTH                TX           76104         18 - WEST BEND              APPAREL                    kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
WILLIAMSON DICKIE MFG CORP   509 W VICKERY BOULEVARD               FORT WORTH                TX           76104         23 - HUTCHINSON             APPAREL                    kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
WILLIAMSON DICKIE MFG CORP   509 W VICKERY BOULEVARD               FORT WORTH                TX           76104         29 - MADISON WEST           APPAREL                    kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
WILLIAMSON DICKIE MFG CORP   509 W VICKERY BOULEVARD               FORT WORTH                TX           76104         33 - MENASHA                APPAREL                    kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
WILLIAMSON DICKIE MFG CORP   509 W VICKERY BOULEVARD               FORT WORTH                TX           76104         40 - SIOUX CITY             APPAREL                    kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
WILLIAMSON DICKIE MFG CORP   509 W VICKERY BOULEVARD               FORT WORTH                TX           76104         50 - FOND DU LAC            APPAREL                    kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
WILLIAMSON DICKIE MFG CORP   509 W VICKERY BOULEVARD               FORT WORTH                TX           76104         84 - WEST JORDAN            APPAREL                    kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
WILLIAMSON DICKIE MFG CORP   509 W VICKERY BOULEVARD               FORT WORTH                TX           76104         93 - BEND                   APPAREL                    kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
WILLIAMSON DICKIE MFG CORP   509 W VICKERY BOULEVARD               FORT WORTH                TX           76104         99 - ONALASKA               APPAREL                    kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
WILLIAMSON DICKIE MFG CORP   509 W VICKERY BOULEVARD               FORT WORTH                TX           76104         104 - BRIGHAM CITY          APPAREL                    kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
WILLIAMSON DICKIE MFG CORP   509 W VICKERY BOULEVARD               FORT WORTH                TX           76104         116 - SHEBOYGAN             APPAREL                    kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
WILLIAMSON DICKIE MFG CORP   509 W VICKERY BOULEVARD               FORT WORTH                TX           76104         129 - SPOKANE SOUTH         APPAREL                    kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
WILLIAMSON DICKIE MFG CORP   509 W VICKERY BOULEVARD               FORT WORTH                TX           76104         133 - BELVIDERE             APPAREL                    kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
WILLIAMSON DICKIE MFG CORP   509 W VICKERY BOULEVARD               FORT WORTH                TX           76104         175 - LINCOLN SOUTHEAST     APPAREL                    kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
WILLIAMSON DICKIE MFG CORP   509 W VICKERY BOULEVARD               FORT WORTH                TX           76104         498 - ECOM-DROP SHIP        APPAREL                    kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
WILLIAMSON DICKIE MFG CORP   509 W VICKERY BOULEVARD               FORT WORTH                TX           76104         572 - LEADVILLE             APPAREL                    kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
WILLIAMSON DICKIE MFG CORP   509 W VICKERY BOULEVARD               FORT WORTH                TX           76104         594 - CHAMBERLAIN           APPAREL                    kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
WILLIAMSON DICKIE MFG CORP   509 W VICKERY BOULEVARD               FORT WORTH                TX           76104         602 - OCONTO                APPAREL                    kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
WILLIAMSON DICKIE MFG CORP   509 W VICKERY BOULEVARD               FORT WORTH                TX           76104         603 - PRINCETON             APPAREL                    kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
WILLIAMSON DICKIE MFG CORP   509 W VICKERY BOULEVARD               FORT WORTH                TX           76104         605 - MORA                  APPAREL                    kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
WILLIAMSON DICKIE MFG CORP   509 W VICKERY BOULEVARD               FORT WORTH                TX           76104         615 - CLINTONVILLE          APPAREL                    kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
WILLIAMSON DICKIE MFG CORP   509 W VICKERY BOULEVARD               FORT WORTH                TX           76104         628 - TWO HARBORS           APPAREL                    kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
WILLIAMSON DICKIE MFG CORP   509 W VICKERY BOULEVARD               FORT WORTH                TX           76104         652 - BROOKLYN              APPAREL                    kept on the books
                                                                                                                                                                               N/A - Inventory Value is not
WILLIAMSON DICKIE MFG CORP   509 W VICKERY BOULEVARD               FORT WORTH                TX           76104         675 - WINTERSET             APPAREL                    kept on the books




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             Name of Owner                         Address1                          City                State       Zip            Location of Property    Description of Property               Value
                                                                                                                                                                                      N/A - Inventory Value is not
WILLIAMSON DICKIE MFG CORP        509 W VICKERY BOULEVARD                 FORT WORTH                TX           76104         695 - BROKEN BOW            APPAREL                    kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
WILLIAMSON DICKIE MFG CORP        509 W VICKERY BOULEVARD                 FORT WORTH                TX           76104         796 - KASSON                APPAREL                    kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
WINSOME TRADING INCORPORATED      16111 WOODINVILLE REDMOND ROAD NE       WOODINVILLE               WA           98072         1 - GREEN BAY WEST          FURNITURE                  kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
WINSOME TRADING INCORPORATED      16111 WOODINVILLE REDMOND ROAD NE       WOODINVILLE               WA           98072         2 - ASHWAUBENON             FURNITURE                  kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
WINSOME TRADING INCORPORATED      16111 WOODINVILLE REDMOND ROAD NE       WOODINVILLE               WA           98072         12 - WISCONSIN RAPIDS       FURNITURE                  kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
WINSOME TRADING INCORPORATED      16111 WOODINVILLE REDMOND ROAD NE       WOODINVILLE               WA           98072         15 - APPLETON               FURNITURE                  kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
WINSOME TRADING INCORPORATED      16111 WOODINVILLE REDMOND ROAD NE       WOODINVILLE               WA           98072         28 - KIMBERLY               FURNITURE                  kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
WINSOME TRADING INCORPORATED      16111 WOODINVILLE REDMOND ROAD NE       WOODINVILLE               WA           98072         33 - MENASHA                FURNITURE                  kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
WINSOME TRADING INCORPORATED      16111 WOODINVILLE REDMOND ROAD NE       WOODINVILLE               WA           98072         50 - FOND DU LAC            FURNITURE                  kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
WINSOME TRADING INCORPORATED      16111 WOODINVILLE REDMOND ROAD NE       WOODINVILLE               WA           98072         54 - WATERTOWN SD           FURNITURE                  kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
WINSOME TRADING INCORPORATED      16111 WOODINVILLE REDMOND ROAD NE       WOODINVILLE               WA           98072         56 - OMAHA WEST             FURNITURE                  kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
WINSOME TRADING INCORPORATED      16111 WOODINVILLE REDMOND ROAD NE       WOODINVILLE               WA           98072         79 - WAUSAU                 FURNITURE                  kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
WINSOME TRADING INCORPORATED      16111 WOODINVILLE REDMOND ROAD NE       WOODINVILLE               WA           98072         84 - WEST JORDAN            FURNITURE                  kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
WINSOME TRADING INCORPORATED      16111 WOODINVILLE REDMOND ROAD NE       WOODINVILLE               WA           98072         100 - NEENAH                FURNITURE                  kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
WINSOME TRADING INCORPORATED      16111 WOODINVILLE REDMOND ROAD NE       WOODINVILLE               WA           98072         106 - BILLINGS              FURNITURE                  kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
WINSOME TRADING INCORPORATED      16111 WOODINVILLE REDMOND ROAD NE       WOODINVILLE               WA           98072         116 - SHEBOYGAN             FURNITURE                  kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
WINSOME TRADING INCORPORATED      16111 WOODINVILLE REDMOND ROAD NE       WOODINVILLE               WA           98072         170 - RHINELANDER           FURNITURE                  kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
WINSOME TRADING INCORPORATED      16111 WOODINVILLE REDMOND ROAD NE       WOODINVILLE               WA           98072         498 - ECOM-DROP SHIP        FURNITURE                  kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
WINSOME TRADING INCORPORATED      16111 WOODINVILLE REDMOND ROAD NE       WOODINVILLE               WA           98072         534 - ROLLA                 FURNITURE                  kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
WINSOME TRADING INCORPORATED      16111 WOODINVILLE REDMOND ROAD NE       WOODINVILLE               WA           98072         700 - KIMBALL               FURNITURE                  kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
WORLD RUG GALLERY DIV IKBAL INC   7 REUTEN DRIVE                          CLOSTER                   NJ           07624         29 - MADISON WEST           RUGS                       kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
WORLD RUG GALLERY DIV IKBAL INC   7 REUTEN DRIVE                          CLOSTER                   NJ           07624         83 - SANDY CITY             RUGS                       kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
WORLD RUG GALLERY DIV IKBAL INC   7 REUTEN DRIVE                          CLOSTER                   NJ           07624         498 - ECOM-DROP SHIP        RUGS                       kept on the books
                                                                                                                                                                                      N/A - Inventory Value is not
WORLD RUG GALLERY DIV IKBAL INC   7 REUTEN DRIVE                          CLOSTER                   NJ           07624         671 - WAUKON                RUGS                       kept on the books




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                                              SOFA Part 13, Question 25 - Other businesses in which the Debtor has or has had an interest

                                                                                                                  Taxpayer ID                                       Beginning and
                  Name of Owner                               Address1               City        State    Zip      No. (EIN)                Nature of Business      Ending Dates
Pamida Stores Operating co., LLC                    8800 F Street                Omaha           NE      68127   XX-XXXXXXX     Store Operations                       10/11/2005
Pamida Transportation, LLC                          8800 F Street                Omaha           NE      68127   XX-XXXXXXX     General Freight Trucking               12/23/2005
Penn-Daniels, LLC                                   700 Pilgrim Way              Green Bay       WI      54304   XX-XXXXXXX     Store Operations                       12/23/2005
Place's Associates Expansion, LLC                   8800 F Street                Omaha           NE      68127   XX-XXXXXXX     Department Stores                       9/11/1998
Retained R/E SPE, LLC                               700 Pilgrim Way              Green Bay       WI      54304   XX-XXXXXXX     Activities Related to Real Estate       5/16/2006
Shopko Finance, LLC                                 700 Pilgrim Way              Green Bay       WI      54304   XX-XXXXXXX     Other Investment Pools and Funds         2/2/2012
Shopko Gift Card Co., LLC                           4161 Second Street South     St Cloud        MN      56301   XX-XXXXXXX     Gift Card Program                      12/23/2005
Shopko Holding Company, LLC                         700 Pilgrim Way              Green Bay       WI      54304   XX-XXXXXXX     Department Stores                       12/9/2005
Shopko Institutional Care Services Co., LLC         700 Pilgrim Way              Green Bay       WI      54304   XX-XXXXXXX     RXCare                                  1/14/2010
Shopko Optical Manufacturing, LLC                   700 Pilgrim Way              Green Bay       WI      54304   XX-XXXXXXX     Optical Business                       10/12/2005
Shopko Properties, LLC                              700 Pilgrim Way              Green Bay       WI      54304   XX-XXXXXXX     Department Stores                      12/23/2005
Specialty Retail Shops Holding Corp.                700 Pilgrim Way              Green Bay       WI      54304   XX-XXXXXXX     Department Stores                      10/12/2005
SVS Trucking, LLC                                   700 Pilgrim Way              Green Bay       WI      54304   XX-XXXXXXX     Trucking Company                       12/23/2005




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   SOFA Part 13, Question 26d - Creditors and other parties to whom a financial statement was issued within 2 years preceding commencement of this case


                      Name                                       Address1                           Address2                      City      State    Zip
1011 North Wisconsin Street Owner LLC             1065 2nd Ave #14C                                                      New York           NY      10022
Atlas/RTG PM                                      c/o RTG Property Management          808 SW Alder Street, Suite 200    Portland           OR      97205
Bobo Manitowoc, LLC                               6220 Nesbitt Road                    Suite A                           Madison            WI      53719
Bridgeport Retail - Utah LLC                      PO Box 428                                                             Lake Oswego        UT      97034
Capital Growth Buchalter, Inc                     361 Summit Blvd                                                        Birmingham         AL      35243
Capview Partners LLC                              5910 N. Central Expressway           Suite 1625                        Dallas             TX      75206
CHL Neenah LLC                                    PO Box 745                           11182 West M-115                  Mesick             MI      49668
CHL Winona LLC                                    PO Box 745                           11182 West M-115                  Mesick             MI      49668
Cocca Development Ltd                             100 Debartolo Place                  Suite 400                         Boardman           OH      44512
Corvalis WA, LLC                                  245 Almendra Ave                                                       Los Gatos          CA      95030
CRG Boise LLC & The Ridge LP                      c/o Mark Cunningham                  223 E. Strawberry Dr              Mill Valley        CA      94941
Elizabeth Trainor LLC                             SW Burlingame Place                                                    Portland           OR      97239
Encinal Shopko Redding LLC                        6 Venado Drive                                                         Tiburon            CA      94920
Flintlock Capital                                 PO Box 45                                                              McFarland          WI      53558
Jeanine Landsinger                                285 Moncada Way                                                        San Fancisco       CA      94127
LaCrosse Shopko Properties, LLC                   9100 Wilshire Blvd                   Suite 360E                        Beverly Hills      CA      90212
LCN SKO Omaha (Multi) LLC                         888 Seventh Avenue                   4th Floor                         New York           NY      10019
Lund 144 Center, LLC and Overland Wolf Building
Partnership                                       450 Regency Parkway                  Suite 200                         Omaha              NE      68114
Medici Rossmore LLC                               645 Cole Ranch Road                                                    Encinitas          CA      92024
National Retail Properties                        450 S. Orange Ave                    Suite 900                         Orlando            FL      32801
OLP Lincoln LLC                                   60 Cutter Mill Road                  Suite 303                         Great Neck         NY      11021
Pamida Five, LLC                                  c/o Phoenix Investors                401 E. Kilbourn Ave, Suite 201    Milwaukee          WI      53202
Pamida Four, LLC                                  c/o Phoenix Investors                401 E. Kilbourn Ave, Suite 201    Milwaukee          WI      53202
Pamida One, LLC                                   c/o Phoenix Investors                401 E. Kilbourn Ave, Suite 201    Milwaukee          WI      53202
Pamida Three, LLC                                 c/o Phoenix Investors                401 E. Kilbourn Ave, Suite 201    Milwaukee          WI      53202
Pamida Two, LLC                                   c/o Phoenix Investors                401 E. Kilbourn Ave, Suite 201    Milwaukee          WI      53202
Pontus SK Portfolio LLC                           c/o Pontus Net Lease Advisors, LLC   875 Prospect Street, Suite 303    La Jolla           CA      92037
PriceWaterhouse Coopers, LLC                      One North Wacker                                                       Chicago            IL      60606
RCAA Owner LLC                                    501 East 74th Street                 Suite 18A                         New York           NY      10021
                                                                                                                         Rancho Santa
Redwood-Kairos Real Estate Partners               30242 Esperanza                                                        Margarita          CA      92688


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   SOFA Part 13, Question 26d - Creditors and other parties to whom a financial statement was issued within 2 years preceding commencement of this case


                      Name                                      Address1                            Address2                     City       State    Zip
Retreat on Roslyn LLC                           9100 Wilshire Blvd                     Suite 360E                        Beverly Hills      CA      90212
Richard Kelly                                   625 Brownsboro Meridian Road                                             Eagle Point        OR      97524
RMD & E&A Menasha                               6220 Nesbitt Road                      Suite A                           Madison            WI      53719
RMD Menash                                      6220 Nesbitt Road                      Suite A                           Madison            WI      53719
Robin Ellsworth LLC                             6220 Nesbitt Road                      Suite A                           Madison            WI      53719
Robin Manitowoc, LLC                            6220 Nesbitt Road                      Suite A                           Madison            WI      53719
Robin Peoria, LLC                               PO Box 60470                                                             Charlotte          NC      28260
Samuel & Co                                     5141 North 40th Street                 #500                              Phoenix            AZ      85018
Spirit Realty Capital                           2727 North Harwood Street              Suite 300                         Dallas             TX      75201
Summit Northwest, LLC                           PO Box 18194                                                             Seattle            WA      98118
Wells Fargo Bank, National Association          Attn: Portfolio Manager - Shopko       One Boston Place                  Boston             MA      02108




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                                Name of Person in Possession of                                                                                                      Date of      Dollar Amount of Inventory and
    Inventory Supervisor                Inventory Records                  Address1                City             State    Zip                 Location           Inventory     Basis (Cost, market or other basis)
                             Spectrum America Supply Chain
Mike VanWolvelaere           Solutions, Inc                       1717 Lawrence Dr            DePere          WI             54115 998 - DC Omaha, NE                 6/15/2018 $18,024,255.90 - Average Cost
                             Spectrum America Supply Chain
Mike VanWolvelaere           Solutions, Inc                       1717 Lawrence Dr            DePere          WI             54115 999 - DC DePere, WI                6/15/2018 $14,015,570.74 - Average Cost
                             Spectrum America Supply Chain
Mike VanWolvelaere           Solutions, Inc                       1717 Lawrence Dr            DePere          WI             54115 998 - DC Omaha, NE                 1/20/2018 $16,481,854.00 - Average Cost
                             Spectrum America Supply Chain
Mike VanWolvelaere           Solutions, Inc                       1717 Lawrence Dr            DePere          WI             54115   999 - DC DePere, WI              1/20/2018   $14,276,530.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills    MI             48326   1 - Green Bay West, WI           6/28/2018   $1,879,833.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills    MI             48326   2 - Ashwaubenon, WI              4/18/2018   $2,888,739.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills    MI             48326   3 - Manitowoc, WI                6/25/2018   $2,077,465.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills    MI             48326   4 - Green Bay East, WI           5/22/2018   $2,423,999.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills    MI             48326   5 - De Pere, WI                   3/7/2018   $2,038,346.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills    MI             48326   7 - La Crosse South, WI          6/25/2018   $1,936,157.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills    MI             48326   8 - Rothschild, WI               4/24/2018   $2,392,861.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills    MI             48326   9 - Marshfield, WI               2/27/2018   $2,474,001.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills    MI             48326   12 - Wisconsin Rapids, WI        1/16/2018   $2,476,516.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills    MI             48326   14 - Beaver Dam, WI              1/22/2018   $2,116,834.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills    MI             48326   15 - Appleton, WI                8/16/2018   $2,486,116.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills    MI             48326   17 - St. Cloud West, MN          7/31/2018   $2,159,595.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills    MI             48326   18 - West Bend, WI               6/25/2018   $2,119,550.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills    MI             48326   19 - Watertown, WI               2/20/2018   $1,937,182.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills    MI             48326   20 - La Crosse North, WI         4/26/2018   $1,873,209.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills    MI             48326   22 - Mitchell, SD                1/10/2018   $2,260,546.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills    MI             48326   23 - Hutchinson, MN              5/31/2018   $1,763,028.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills    MI             48326   24 - Eau Claire, WI              1/18/2018   $2,943,402.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills    MI             48326   25 - Marshall, MN                1/15/2018   $2,175,875.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills    MI             48326   26 - Beloit, WI                  1/16/2018   $2,272,351.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills    MI             48326   27 - Racine, WI                  1/18/2018   $2,179,818.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills    MI             48326   28 - Kimberly, WI                 3/5/2018   $2,172,324.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills    MI             48326   29 - Madison West, WI            4/11/2018   $2,267,074.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills    MI             48326   30 - Janesville, WI              3/13/2018   $2,115,060.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills    MI             48326   31 - Kenosha, WI                 1/16/2018   $1,930,043.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills    MI             48326   32 - Monona, WI                   4/4/2018   $1,867,755.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills    MI             48326   33 - Menasha, WI                 2/28/2018   $2,038,477.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills    MI             48326   37 - Chippewa Falls, WI          7/30/2018   $2,169,120.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills    MI             48326   40 - Sioux City, IA              4/11/2018   $2,182,602.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills    MI             48326   42 - Oshkosh, WI                 4/23/2018   $2,299,649.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills    MI             48326   44 - Omaha Southwest, NE         12/6/2018   $62,862.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills    MI             48326   48 - Norfolk, NE                 5/14/2018   $2,066,672.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills    MI             48326   50 - Fond du Lac, WI             1/15/2018   $2,674,602.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills    MI             48326   51 - Fort Atkinson, WI           7/30/2018   $1,642,384.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills    MI             48326   52 - Mason City, IA              8/22/2018   $2,387,099.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills    MI             48326   53 - North Platte, NE            7/30/2018   $1,592,798.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills    MI             48326   54 - Watertown, SD               6/18/2018   $1,883,729.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills    MI             48326   55 - Stevens Point North, WI     3/13/2018   $1,790,779.00 - Average Cost



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                                Name of Person in Possession of                                                                                                    Date of       Dollar Amount of Inventory and
    Inventory Supervisor               Inventory Records                   Address1               City             State     Zip                   Location       Inventory      Basis (Cost, market or other basis)
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   56 - Omaha West, NE             7/23/2018   $2,046,676.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   59 - Fairmont, MN               5/14/2018   $1,776,680.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   60 - Albert Lea, MN             8/27/2018   $1,579,780.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   63 - Pocatello, ID              4/23/2018   $2,085,703.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   76 - Sioux Falls South, SD       5/2/2018   $2,312,010.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   78 - Rapid City, SD              4/3/2018   $2,070,542.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   79 - Wausau, WI                 8/27/2018   $2,173,211.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   80 - Madison Northeast, WI       4/9/2018   $1,918,712.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   82 - Murray, UT                 1/16/2018   $1,603,101.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   83 - Sandy City, UT              4/3/2018   $1,796,579.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   84 - West Jordan, UT            1/18/2018   $2,082,798.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   85 - Taylorsville, UT           2/26/2018   $1,754,412.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   87 - Ogden, UT                   3/7/2018   $1,988,483.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   88 - Layton, UT                 5/14/2018   $1,833,658.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   90 - Grafton, WI                1/23/2018   $1,996,469.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   91 - Logan, UT                  2/28/2018   $2,128,916.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   92 - Kennewick, WA              7/11/2018   $2,054,806.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   93 - Bend, OR                   4/10/2018   $2,067,348.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   96 - Redding, CA                2/27/2018   $2,118,405.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   97 - West Valley City, UT       4/11/2018   $1,867,899.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   98 - Eugene North, OR            5/2/2018   $1,982,314.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   99 - Onalaska, WI               5/21/2018   $2,307,866.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   100 - Neenah, WI                4/25/2018   $1,960,744.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   102 - Marinette, WI             1/17/2018   $1,955,057.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   104 - Brigham City, UT          4/30/2018   $1,890,360.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   105 - Orem, UT                  5/16/2018   $1,918,752.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   106 - Billings, MT              4/17/2018   $2,250,602.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   108 - Spanish Fork, UT          1/11/2018   $1,884,325.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   109 - Riverdale, UT             3/15/2018   $2,089,293.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   111 - Salem, OR                  7/9/2018   $2,051,502.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   112 - Helena, MT                 5/2/2018   $2,203,459.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   113 - Lacey, WA                  4/3/2018   $1,917,935.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   114 - Duluth, MN                4/11/2018   $2,096,331.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   116 - Sheboygan, WI              5/2/2018   $1,964,609.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   119 - Dixon, IL                 5/10/2018   $1,932,315.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   120 - Monroe, WI                4/16/2018   $2,041,415.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   122 - Wenatchee, WA             5/22/2018   $1,851,003.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   125 - Freeport, IL              4/30/2018   $2,166,255.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   127 - Delavan, WI               6/25/2018   $1,671,521.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   128 - Kalispell, MT             1/17/2018   $2,180,641.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   129 - Spokane South, WA         1/23/2018   $1,912,845.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   130 - River Falls, WI           4/30/2018   $2,265,108.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   132 - Rice Lake, WI             5/14/2018   $2,114,643.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   133 - Belvidere, IL             7/19/2018   $1,819,087.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   134 - Pullman, WA               1/18/2018   $1,636,088.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   164 - Dubuque, IA                7/9/2018   $1,632,756.00 - Average Cost



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                                Name of Person in Possession of                                                                                                        Date of       Dollar Amount of Inventory and
    Inventory Supervisor               Inventory Records                   Address1               City             State     Zip                   Location           Inventory      Basis (Cost, market or other basis)
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   170 - Rhinelander, WI               1/23/2018   $2,009,270.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   171 - Plover, WI                    6/19/2018   $1,718,540.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   172 - Lincoln Northwest, NE         2/28/2018   $1,847,587.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   175 - Lincoln Southeast, NE         1/15/2018   $2,144,413.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   177 - Suamico, WI                    9/5/2018   $1,981,859.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   178 - Sussex, WI                    8/28/2018   $1,791,354.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   179 - North Branch, MN              6/13/2018   $1,801,451.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   201 - Emmetsburg, IA                7/16/2018   $965,957.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   203 - Jacksboro, Tx                 8/28/2018   $601,076.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   205 - Delta, UT                    10/16/2018   $849,898.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   206 - Ely, NV                      10/10/2018   $750,304.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   207 - Oldtown, ID                  10/11/2018   $649,203.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   211 - Estherville, IA               9/26/2018   $651,396.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   212 - Gordon, NE                   10/16/2017   $770,111.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   213 - Littlefield, TX               9/11/2017   $789,112.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   214 - Wautoma, WI RX               10/22/2018   $293,569.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   215 - Shawano, WI RX               10/10/2018   $126,190.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   485 - Store 1 SFS Pick Center       6/28/2018   $25,594.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   486 - Store 32 SFS Pick Center       4/4/2018   $42,976.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   487 - Store 70 SFS Pick Center      1/11/2018   $75,984.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   501 - Ledgeview, WI                10/29/2018   $740,139.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   502 - Howard, WI                   10/25/2018   $725,512.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   503 - Port Washington, WI          10/25/2018   $608,392.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   504 - Appleton East, WI            10/31/2018   $906,438.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   505 - Appleton North, WI           10/23/2018   $833,640.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   509 - Marinette RX                 10/10/2018   $174,449.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   510 - Waupaca RX                   10/31/2018   $98,157.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   512 - Ellsworth, WI                 7/30/2018   $1,009,219.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   520 - Albion, NE                   10/25/2018   $733,223.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   523 - Valentine, NE                 9/25/2018   $1,067,884.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   526 - Afton, WY                     7/31/2018   $1,187,125.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   528 - Roundup, MT                  10/29/2018   $275,516.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   529 - Dillon, MT                   10/25/2018   $351,637.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   532 - New Town, ND                  5/15/2018   $739,313.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   533 - Tioga, ND                      3/8/2018   $823,846.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   534 - Rolla, ND                    10/15/2018   $739,768.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   535 - Bowman, ND                    9/10/2018   $680,281.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   536 - Ulysses, KS                    9/6/2018   $655,305.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   537 - Beloit, KS                    9/18/2018   $653,231.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   538 - Anthony, KS                    4/3/2018   $732,374.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   539 - Monahans, TX                  1/11/2018   $789,124.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   540 - Kermit, TX                     1/9/2018   $726,034.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   541 - Dalhart, TX                   1/18/2018   $791,924.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   542 - Perryton, TX                  1/16/2018   $681,845.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   543 - Wolf Point, MT                9/20/2018   $732,390.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   544 - Sidney, MT #2                 7/19/2018   $670,446.00 - Average Cost



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                                Name of Person in Possession of                                                                                                   Date of       Dollar Amount of Inventory and
    Inventory Supervisor               Inventory Records                   Address1               City             State     Zip                   Location      Inventory      Basis (Cost, market or other basis)
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   545 - Mobridge, SD            10/22/2018   $934,312.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   546 - Burlington, CO           1/23/2018   $696,365.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   547 - Moose Lake, MN           9/17/2018   $686,468.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   548 - Mahnomen, MN             1/11/2018   $688,152.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   549 - Hardin, MT               7/12/2018   $913,906.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   550 - Dillon, MT #2            5/30/2018   $707,552.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   551 - Demotte, IN             10/22/2018   $745,539.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   552 - Oakes, ND                7/12/2018   $679,720.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   553 - Abilene, KS              8/16/2018   $678,573.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   554 - Andrews, TX              1/22/2018   $876,269.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   555 - Moab, UT                 1/23/2018   $725,598.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   556 - Prosser, WA              7/18/2018   $880,097.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   557 - Nephi, UT                9/11/2018   $754,444.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   558 - Redfield, SD             6/26/2018   $640,914.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   559 - Orofino, ID             10/25/2018   $1,239,360.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   560 - Fairview, OK            10/15/2018   $798,533.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   561 - Cokato, MN              10/23/2018   $1,041,855.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   562 - Stanley, ND               7/9/2018   $627,811.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   563 - Mauston, WI             10/17/2018   $719,524.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   564 - Webster City, IA         7/30/2018   $692,960.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   565 - Cherokee, IA             9/20/2018   $683,188.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   566 - Warroad, MN              5/21/2018   $707,730.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   567 - Paynesville, MN          6/25/2018   $648,756.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   568 - New Prague, MN            5/7/2018   $776,819.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   569 - Milbank, SD               4/5/2018   $658,336.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   570 - Wagner, SD               4/19/2018   $713,185.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   571 - Webster, SD              4/30/2018   $676,293.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   572 - Leadville, CO            8/15/2018   $600,206.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   573 - Russell, KS             10/15/2018   $608,759.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   574 - Lowell, IN                5/8/2018   $713,081.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   575 - Lovington, NM           10/25/2018   $728,915.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   576 - Alpine, TX               7/26/2018   $668,149.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   577 - Canadian, TX             8/21/2018   $463,601.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   578 - Buena Vista, CO          4/17/2018   $738,913.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   579 - Yuma, CO                 7/18/2018   $601,510.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   580 - Carrington, ND           8/22/2018   $612,751.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   581 - Lisbon, ND               9/17/2018   $628,314.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   582 - Presidio, TX             8/15/2018   $701,955.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   583 - Blanding, UT             9/20/2018   $698,309.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   584 - Bonners Ferry, ID       10/16/2018   $662,063.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   585 - Mayville, ND             9/26/2018   $669,446.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   586 - Phillipsburg, KS        10/23/2018   $653,901.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   587 - Clarinda, IA              9/6/2018   $614,805.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   588 - Beaver, UT               1/15/2018   $726,754.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   589 - Cresco, IA               8/20/2018   $630,166.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   594 - Chamberlain, SD          5/31/2018   $645,578.00 - Average Cost



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                                Name of Person in Possession of                                                                                                   Date of       Dollar Amount of Inventory and
    Inventory Supervisor               Inventory Records                   Address1               City             State     Zip                   Location      Inventory      Basis (Cost, market or other basis)
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   596 - Dell Rapids, SD          7/10/2018   $619,471.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   597 - Ord, NE                  6/21/2018   $649,327.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   598 - Springerville, AZ         9/5/2018   $710,337.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   600 - Vinton, IA                9/5/2018   $647,417.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   601 - Kewaunee, WI             7/26/2018   $1,094,462.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   602 - Oconto, WI               5/30/2018   $1,096,997.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   604 - Abbotsford, WI            4/3/2018   $1,146,243.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   605 - Mora, MN                 4/23/2018   $1,025,112.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   606 - Calumet, MI               3/6/2018   $1,112,040.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   607 - Seymour, WI              3/12/2018   $1,193,237.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   608 - Brillion, WI             4/11/2018   $952,546.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   609 - Kiel, WI                 5/17/2018   $1,056,885.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   610 - Ishpeming, MI            1/10/2018   $931,281.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   611 - Saint Peter,MN           7/31/2018   $933,591.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   613 - Winneconne, WI            8/2/2018   $777,435.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   615 - Clintonville, WI          4/9/2018   $1,157,408.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   616 - Sister Bay, WI           2/26/2018   $1,132,215.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   617 - Wautoma, WI             10/22/2018   $1,274,736.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   618 - Reedsburg, WI            8/16/2018   $740,350.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   619 - Adams, WI                1/22/2018   $1,382,142.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   620 - Eagle River, WI           3/8/2018   $930,710.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   621 - Manistique, MI           1/11/2018   $1,188,859.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   622 - Wetmore, MI               3/1/2018   $701,601.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   623 - Iron River, MI           4/26/2018   $737,606.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   624 - L'Anse, MI               1/15/2018   $908,433.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   625 - Dyersville, IA           3/14/2018   $828,388.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   626 - Lancaster, WI            6/19/2018   $950,813.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   627 - Neillsville, WI          4/16/2018   $1,038,395.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   628 - Two Harbors, MN          4/18/2018   $866,860.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   629 - Ely, MN                  3/12/2018   $1,014,890.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   630 - Arcadia, WI              4/30/2018   $1,184,490.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   632 - Spooner, WI               4/9/2018   $930,606.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   633 - Park Falls, WI           1/16/2018   $1,057,182.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   635 - Savanna, IL              1/11/2018   $1,033,438.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   637 - Attica, IN               4/30/2018   $774,462.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   638 - Monticello, IL           4/17/2018   $795,801.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   639 - Rockville, IN            2/28/2018   $657,924.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   640 - Tuscola, IL              1/23/2018   $876,766.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   641 - Dwight, IL               1/18/2018   $644,235.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   642 - Allegan, MI              8/15/2018   $734,755.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   643 - Newaygo, MI              7/10/2018   $788,946.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   644 - Clare, MI                 4/4/2018   $756,438.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   646 - Standish, MI             3/13/2018   $986,043.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   647 - Syracuse, IN              9/5/2018   $676,319.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   648 - Tecumseh, MI             4/25/2018   $829,485.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   649 - Imlay City, MI           7/25/2018   $675,947.00 - Average Cost



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                                Name of Person in Possession of                                                                                                    Date of       Dollar Amount of Inventory and
    Inventory Supervisor               Inventory Records                   Address1               City             State     Zip                  Location        Inventory      Basis (Cost, market or other basis)
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   650 - Dowagiac, MI              6/19/2018   $818,749.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   651 - Hart, MI                 10/24/2018   $1,156,945.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   652 - Brooklyn, MI             10/23/2018   $751,582.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   653 - Gladwin, MI               1/16/2018   $950,074.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   656 - Kalkaska, MI              5/30/2018   $888,265.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   658 - Beatrice, NE              3/15/2018   $840,854.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   659 - Auburn, NE                 1/9/2018   $800,815.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   661 - West Point, NE            5/15/2018   $894,252.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   662 - Plattsmouth, NE           1/11/2018   $1,147,239.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   664 - Humboldt, IA              9/11/2018   $624,117.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   665 - Hampton, IA                9/6/2018   $608,052.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   667 - Sheldon, IA               7/23/2018   $826,737.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   668 - New Hampton, IA           9/13/2018   $1,111,855.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   669 - Oelwein, IA               7/23/2018   $968,027.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   670 - Wayne, NE                 9/19/2018   $901,806.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   671 - Waukon, IA                 4/3/2018   $981,194.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   672 - O'Neill, NE               9/26/2018   $852,058.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   673 - Ainsworth, NE             9/24/2018   $958,625.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   674 - Clarion, IA              10/24/2018   $682,074.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   675 - Winterset, IA             8/28/2018   $846,557.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   676 - Chariton, IA               7/9/2018   $718,303.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   677 - Onawa, IA                 4/12/2018   $975,889.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   679 - Toledo, IA                6/20/2018   $806,598.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   680 - Perry, IA                 8/21/2018   $834,562.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   681 - Ida Grove, IA             6/18/2018   $839,224.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   682 - Harlan, IA                5/30/2018   $829,177.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   683 - Audubon, IA               6/27/2018   $724,221.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   684 - Bloomfield, IA            5/10/2018   $834,831.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   685 - Eldora, IA               10/10/2018   $626,672.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   686 - Glenwood, IA              4/10/2018   $895,319.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   687 - Greenfield, IA            9/20/2018   $749,828.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   688 - Missouri Valley, IA       7/12/2018   $601,075.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   689 - Mount Ayr, IA             9/12/2018   $779,940.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   690 - Holdrege, NE              7/19/2018   $830,801.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   691 - Ogallala, NE              9/11/2017   $866,018.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   692 - Superior, NE               7/9/2018   $988,454.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   693 - Clay Center, KS           7/31/2018   $697,638.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   694 - Alliance, NE              7/24/2018   $610,009.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   695 - Broken Bow, NE           10/22/2018   $1,051,744.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   696 - Norton, KS               10/25/2018   $1,000,686.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   697 - Seneca, KS                8/22/2018   $768,028.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   698 - Gothenburg, NE           10/15/2018   $880,418.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   699 - Scott City, KS            8/20/2018   $635,641.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   700 - Kimball, NE               9/12/2018   $622,636.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   701 - Lyons, KS                 6/19/2018   $780,072.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   702 - Larned, KS                1/10/2018   $738,685.00 - Average Cost



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                                                                  SOFA Part 13, Question 27 - Inventories - supervisor and dates of last two inventories




                                Name of Person in Possession of                                                                                                     Date of       Dollar Amount of Inventory and
    Inventory Supervisor               Inventory Records                   Address1               City             State     Zip                   Location        Inventory      Basis (Cost, market or other basis)
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   703 - Burlington, KS             8/27/2018   $594,730.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   704 - Falls City, NE            10/17/2018   $895,232.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   705 - Trenton, MO                 4/3/2018   $981,973.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   706 - Doniphan, MO                1/8/2018   $740,730.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   707 - Albany, MO                 7/25/2018   $498,506.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   708 - Carrollton, MO             4/19/2018   $594,262.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   709 - El Dorado Springs, MO      1/23/2018   $615,050.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   710 - Gallatin, MO              10/23/2018   $589,585.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   711 - Memphis, MO                4/26/2018   $634,968.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   712 - Palmyra, MO                7/27/2017   $776,263.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   716 - Mt. Carmel, IL             7/16/2018   $683,962.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   717 - Minerva, OH                9/26/2018   $725,164.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   719 - Woodsfield, OH             7/23/2018   $691,604.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   720 - Batesville, IN            10/18/2017   $847,325.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   729 - Brandenburg, KY            9/20/2018   $718,408.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   732 - Glencoe, MN                1/23/2018   $1,004,742.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   733 - Fergus Falls, MN           5/31/2018   $866,302.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   734 - Cavalier, ND                8/2/2018   $633,186.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   735 - Aitkin, MN                 4/16/2018   $1,028,868.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   736 - Valley City, ND            6/21/2018   $839,786.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   737 - Grafton, ND                4/30/2018   $762,552.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   738 - Perham, MN                 3/15/2018   $1,016,170.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   739 - Glenwood, MN               2/28/2018   $954,159.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   740 - Morris, MN                 4/26/2018   $987,707.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   741 - Rugby, ND                  6/27/2018   $677,026.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   742 - East Grand Forks, MN       4/11/2018   $893,483.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   743 - Beulah, ND                10/11/2018   $883,167.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   744 - Roseau, MN                 4/17/2018   $1,007,973.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   745 - Winner, SD                 3/13/2018   $1,147,365.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   746 - Madison, SD                2/28/2018   $875,466.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   747 - Luverne, MN                2/19/2018   $908,644.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   748 - Pipestone, MN              2/27/2018   $987,048.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   749 - Saint James, MN            3/12/2018   $790,672.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   750 - Windom, MN                  3/8/2018   $884,115.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   751 - Sisseton, SD               1/18/2018   $969,973.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   752 - Torrington, WY             8/22/2018   $845,356.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   753 - Hot Springs, SD             3/5/2018   $1,059,521.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   755 - Wheatland, WY              6/27/2018   $911,329.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   756 - Lander, WY                 9/13/2018   $438,662.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   757 - Belle Fourche, SD           5/3/2018   $1,085,867.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   758 - Douglas, WY                6/25/2018   $852,899.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   759 - Sturgis, SD                 4/4/2018   $991,449.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   760 - Green River, WY            8/27/2018   $801,331.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   761 - Newcastle, WY              6/13/2018   $920,868.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   762 - Thermopolis, WY            9/27/2018   $782,134.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   763 - Custer, SD                 9/10/2018   $577,407.00 - Average Cost



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                                Name of Person in Possession of                                                                                                   Date of       Dollar Amount of Inventory and
    Inventory Supervisor               Inventory Records                   Address1               City             State     Zip                  Location       Inventory      Basis (Cost, market or other basis)
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   764 - Buffalo, WY               9/5/2018   $684,696.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   765 - Mountain View, WY        8/20/2018   $881,719.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   766 - Shelby, MT              10/23/2018   $1,184,805.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   767 - Worland, WY             10/15/2018   $892,505.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   768 - Glasgow, MT               4/5/2018   $1,101,979.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   769 - Sidney, MT               3/13/2018   $1,043,312.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   771 - Plentywood, MT            3/1/2018   $441,759.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   772 - Powell, WY               7/16/2018   $936,628.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   773 - Lewistown, MT            7/31/2018   $1,003,222.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   774 - Livingston, MT           5/10/2018   $1,270,483.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   775 - Libby, MT                5/31/2018   $963,440.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   776 - Greybull, WY             9/17/2018   $592,973.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   786 - Red Oak, IA              8/16/2018   $664,686.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   788 - Columbus, WI              9/5/2018   $880,765.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   789 - Waupaca, WI              9/25/2018   $1,139,025.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   790 - Stanley, WI               9/6/2018   $1,121,110.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   791 - Forest City, IA         10/22/2018   $984,549.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   792 - Tomahawk, WI             9/10/2018   $1,111,110.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   793 - Mayville, WI             5/31/2018   $1,005,214.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   794 - Quincy, WA                9/5/2018   $938,909.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   795 - Salmon, ID               1/23/2018   $1,043,159.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   796 - Kasson, MN                8/1/2018   $741,102.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   797 - Whitefish, MT           10/11/2018   $813,170.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   798 - Ballard, UT             10/23/2018   $887,440.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   799 - Tremonton, UT            9/13/2018   $865,597.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   1 - Green Bay West, WI         6/29/2017   $2,051,772.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   2 - Ashwaubenon, WI            2/28/2017   $3,141,365.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   3 - Manitowoc, WI               5/1/2017   $2,269,826.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   4 - Green Bay East, WI         6/21/2017   $2,455,986.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   5 - De Pere, WI                3/29/2017   $2,044,918.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   7 - La Crosse South, WI        5/31/2017   $2,062,542.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   8 - Rothschild, WI             3/15/2017   $2,435,626.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   9 - Marshfield, WI             2/13/2017   $2,702,925.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   12 - Wisconsin Rapids, WI      1/17/2017   $2,599,153.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   14 - Beaver Dam, WI            1/12/2017   $2,146,528.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   15 - Appleton, WI              7/12/2017   $2,830,206.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   17 - St. Cloud West, MN        7/17/2017   $2,342,513.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   18 - West Bend, WI             6/26/2017   $2,217,903.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   19 - Watertown, WI             2/13/2017   $2,071,200.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   20 - La Crosse North, WI       4/12/2017   $1,818,982.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   22 - Mitchell, SD              1/18/2017   $2,359,328.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   23 - Hutchinson, MN             5/8/2017   $2,009,225.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   24 - Eau Claire, WI            1/19/2017   $2,952,293.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   25 - Marshall, MN              1/11/2017   $2,365,514.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   26 - Beloit, WI                1/11/2017   $2,085,373.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   27 - Racine, WI                1/18/2017   $2,320,691.00 - Average Cost



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                                Name of Person in Possession of                                                                                                      Date of       Dollar Amount of Inventory and
    Inventory Supervisor               Inventory Records                   Address1               City             State     Zip                   Location         Inventory      Basis (Cost, market or other basis)
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   28 - Kimberly, WI                 3/14/2017   $2,381,881.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   29 - Madison West, WI              3/2/2017   $2,367,040.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   30 - Janesville, WI               2/27/2017   $2,214,178.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   31 - Kenosha, WI                  1/11/2017   $2,021,097.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   32 - Monona, WI                    5/1/2017   $1,959,911.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   33 - Menasha, WI                  2/21/2017   $2,191,635.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   37 - Chippewa Falls, WI            6/5/2017   $2,345,347.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   40 - Sioux City, IA               4/27/2017   $2,363,054.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   42 - Oshkosh, WI                  4/26/2017   $2,368,715.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   44 - Omaha Southwest, NE          1/25/2018   $7.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   48 - Norfolk, NE                   5/3/2017   $2,063,722.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   50 - Fond du Lac, WI              1/16/2017   $2,669,112.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   51 - Fort Atkinson, WI            7/12/2017   $1,714,023.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   52 - Mason City, IA               8/22/2017   $2,360,459.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   53 - North Platte, NE             7/18/2017   $1,944,712.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   54 - Watertown, SD                 6/1/2017   $2,069,893.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   55 - Stevens Point North, WI      2/27/2017   $1,921,603.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   56 - Omaha West, NE               7/26/2017   $2,177,205.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   59 - Fairmont, MN                 2/20/2017   $1,918,346.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   60 - Albert Lea, MN               8/29/2017   $1,643,199.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   63 - Pocatello, ID                 5/1/2017   $2,012,782.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   76 - Sioux Falls South, SD        3/20/2017   $2,309,399.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   78 - Rapid City, SD               5/15/2017   $2,181,653.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   79 - Wausau, WI                   8/23/2017   $2,256,351.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   80 - Madison Northeast, WI        4/12/2017   $1,931,569.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   82 - Murray, UT                   1/11/2017   $1,755,882.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   83 - Sandy City, UT               3/16/2017   $1,914,520.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   84 - West Jordan, UT              1/12/2017   $2,029,722.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   85 - Taylorsville, UT             2/21/2017   $1,861,929.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   87 - Ogden, UT                    2/28/2017   $2,007,601.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   88 - Layton, UT                   5/11/2017   $1,866,590.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   90 - Grafton, WI                  1/16/2017   $2,102,143.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   91 - Logan, UT                    2/13/2017   $2,153,484.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   92 - Kennewick, WA                7/17/2017   $2,018,932.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   93 - Bend, OR                     4/20/2017   $2,276,011.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   96 - Redding, CA                  2/23/2017   $2,264,652.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   97 - West Valley City, UT         4/20/2017   $1,942,673.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   98 - Eugene North, OR              5/1/2017   $2,131,361.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   99 - Onalaska, WI                 4/24/2017   $2,355,725.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   100 - Neenah, WI                  4/19/2017   $2,033,284.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   101 - Sioux Falls East, SD         4/9/2018   $1,963,644.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   102 - Marinette, WI               1/18/2017   $2,245,023.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   104 - Brigham City, UT            4/18/2017   $1,862,846.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   105 - Orem, UT                     5/3/2017   $1,916,554.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   106 - Billings, MT                 5/2/2017   $6,434,623.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   108 - Spanish Fork, UT            1/19/2017   $2,060,082.00 - Average Cost



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                                Name of Person in Possession of                                                                                                        Date of       Dollar Amount of Inventory and
    Inventory Supervisor               Inventory Records                   Address1               City            State      Zip                   Location           Inventory      Basis (Cost, market or other basis)
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   109 - Riverdale, UT                 3/13/2017   $2,142,619.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   111 - Salem, OR                     5/31/2017   $2,161,345.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   112 - Helena, MT                    3/23/2017   $2,184,190.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   113 - Lacey, WA                     4/12/2017   $1,954,478.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   114 - Duluth, MN                    1/11/2017   $2,169,324.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   116 - Sheboygan, WI                 6/14/2017   $1,917,563.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   119 - Dixon, IL                     5/31/2017   $1,994,409.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   120 - Monroe, WI                    4/24/2017   $2,100,971.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   122 - Wenatchee, WA                 5/10/2017   $2,004,628.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   125 - Freeport, IL                  3/29/2017   $2,342,807.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   127 - Delavan, WI                   6/28/2017   $1,728,565.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   128 - Kalispell, MT                 1/19/2017   $2,278,573.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   129 - Spokane South, WA             1/17/2017   $2,029,902.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   130 - River Falls, WI               2/16/2017   $2,357,476.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   132 - Rice Lake, WI                 5/15/2017   $2,014,924.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   133 - Belvidere, IL                 7/10/2017   $1,941,603.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   134 - Pullman, WA                   1/19/2017   $1,691,601.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   164 - Dubuque, IA                   7/11/2017   $1,762,179.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   170 - Rhinelander, WI                1/5/2017   $1,954,346.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   171 - Plover, WI                    6/28/2017   $1,787,395.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   172 - Lincoln Northwest, NE         2/20/2017   $1,878,199.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   175 - Lincoln Southeast, NE         1/18/2017   $2,279,457.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   177 - Suamico, WI                   8/28/2017   $2,082,838.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   178 - Sussex, WI                    9/12/2017   $1,899,721.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   179 - North Branch, MN              6/21/2017   $1,915,970.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   201 - Emmetsburg, IA                8/17/2017   $953,923.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   203 - Jacksboro, Tx                 8/28/2017   $651,629.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   205 - Delta, UT                    10/18/2017   $876,944.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   206 - Ely, NV                      10/11/2017   $699,431.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   207 - Oldtown, ID                  10/12/2017   $763,291.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   211 - Estherville, IA               8/21/2017   $653,524.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   212 - Gordon, NE                    11/4/2016   $0.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   213 - Littlefield, TX               9/30/2016   $0.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   214 - Wautoma, WI RX               10/16/2017   $258,109.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   215 - Shawano, WI RX               10/17/2017   $188,614.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   485 - Store 1 SFS Pick Center       6/29/2017   $201,826.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   486 - Store 32 SFS Pick Center       5/1/2017   $154,552.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   487 - Store 70 SFS Pick Center       1/9/2017   $99,335.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   501 - Ledgeview, WI                10/26/2017   $752,287.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   502 - Howard, WI                   10/11/2017   $764,954.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   503 - Port Washington, WI          10/11/2017   $630,546.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   504 - Appleton East, WI            10/18/2017   $831,368.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   505 - Appleton North, WI           10/24/2017   $765,934.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   509 - Marinette RX                 10/23/2017   $126,525.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   510 - Waupaca RX                   10/12/2017   $108,877.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   512 - Ellsworth, WI                 7/17/2017   $991,497.00 - Average Cost



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                                Name of Person in Possession of                                                                                                   Date of       Dollar Amount of Inventory and
    Inventory Supervisor               Inventory Records                   Address1               City            State      Zip                  Location       Inventory      Basis (Cost, market or other basis)
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   520 - Albion, NE              10/24/2017   $722,718.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   523 - Valentine, NE            9/27/2017   $1,174,110.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   526 - Afton, WY                7/10/2017   $1,037,809.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   528 - Roundup, MT             10/12/2017   $311,279.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   529 - Dillon, MT              10/19/2017   $372,659.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   532 - New Town, ND             2/16/2017   $769,665.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   533 - Tioga, ND                2/15/2017   $833,382.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   534 - Rolla, ND               10/17/2017   $810,513.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   535 - Bowman, ND                9/7/2017   $753,234.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   536 - Ulysses, KS              9/11/2017   $681,883.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   537 - Beloit, KS               9/18/2017   $701,886.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   538 - Anthony, KS              5/22/2017   $746,815.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   539 - Monahans, TX             1/11/2017   $815,190.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   540 - Kermit, TX               1/12/2017   $772,244.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   541 - Dalhart, TX               1/5/2017   $802,427.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   542 - Perryton, TX              1/4/2017   $720,192.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   543 - Wolf Point, MT           9/14/2017   $770,171.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   544 - Sidney, MT #2            7/13/2017   $785,959.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   545 - Mobridge, SD            10/23/2017   $1,004,022.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   546 - Burlington, CO           1/19/2017   $770,207.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   547 - Moose Lake, MN           8/29/2017   $702,802.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   548 - Mahnomen, MN             1/19/2017   $686,925.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   549 - Hardin, MT               7/24/2017   $1,011,910.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   550 - Dillon, MT #2            5/15/2017   $750,765.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   551 - Demotte, IN             10/11/2017   $716,596.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   552 - Oakes, ND                 8/1/2017   $724,002.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   553 - Abilene, KS              8/28/2017   $754,874.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   554 - Andrews, TX              1/10/2017   $963,258.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   555 - Moab, UT                 1/19/2017   $736,927.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   556 - Prosser, WA              7/18/2017   $851,448.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   557 - Nephi, UT                 9/7/2017   $792,802.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   558 - Redfield, SD             5/23/2017   $739,941.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   559 - Orofino, ID             10/26/2017   $1,054,688.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   560 - Fairview, OK            10/16/2017   $795,478.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   561 - Cokato, MN                9/6/2017   $1,034,426.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   562 - Stanley, ND              7/13/2017   $670,600.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   563 - Mauston, WI               9/6/2017   $762,110.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   564 - Webster City, IA         7/31/2017   $709,485.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   565 - Cherokee, IA             8/23/2017   $681,104.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   566 - Warroad, MN              5/11/2017   $716,385.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   567 - Paynesville, MN          5/31/2017   $721,743.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   568 - New Prague, MN            5/4/2017   $777,998.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   569 - Milbank, SD              4/26/2017   $708,781.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   570 - Wagner, SD                5/4/2017   $686,806.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   571 - Webster, SD              4/24/2017   $688,457.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   572 - Leadville, CO             8/2/2017   $677,061.00 - Average Cost



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                                Name of Person in Possession of                                                                                                   Date of       Dollar Amount of Inventory and
    Inventory Supervisor               Inventory Records                   Address1               City            State      Zip                   Location      Inventory      Basis (Cost, market or other basis)
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   573 - Russell, KS             10/16/2017   $653,530.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   574 - Lowell, IN               5/10/2017   $705,683.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   575 - Lovington, NM           10/18/2017   $754,278.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   576 - Alpine, TX               8/17/2017   $706,193.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   577 - Canadian, TX             8/22/2017   $501,322.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   578 - Buena Vista, CO           5/1/2017   $745,010.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   579 - Yuma, CO                 7/13/2017   $652,588.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   580 - Carrington, ND           8/21/2017   $628,611.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   581 - Lisbon, ND               8/16/2017   $626,606.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   582 - Presidio, TX             8/21/2017   $754,241.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   583 - Blanding, UT             8/29/2017   $751,029.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   584 - Bonners Ferry, ID       10/19/2017   $878,761.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   585 - Mayville, ND             9/12/2017   $744,564.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   586 - Phillipsburg, KS         9/25/2017   $719,741.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   587 - Clarinda, IA             9/28/2017   $710,547.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   588 - Beaver, UT                1/9/2017   $730,438.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   589 - Cresco, IA               9/12/2017   $686,984.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   594 - Chamberlain, SD          6/27/2017   $661,493.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   596 - Dell Rapids, SD          6/26/2017   $788,275.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   597 - Ord, NE                  6/28/2017   $676,400.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   598 - Springerville, AZ        9/27/2017   $799,550.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   600 - Vinton, IA              10/24/2017   $836,195.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   601 - Kewaunee, WI             7/26/2017   $1,010,004.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   602 - Oconto, WI               5/11/2017   $1,163,269.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   604 - Abbotsford, WI           4/24/2017   $1,029,765.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   605 - Mora, MN                 3/20/2017   $999,491.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   606 - Calumet, MI              2/27/2017   $1,091,442.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   607 - Seymour, WI              3/16/2017   $1,274,508.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   608 - Brillion, WI             4/25/2017   $988,664.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   609 - Kiel, WI                 5/23/2017   $1,087,972.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   610 - Ishpeming, MI            1/11/2017   $948,111.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   611 - Saint Peter,MN           7/24/2017   $1,056,275.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   613 - Winneconne, WI           7/17/2017   $787,978.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   615 - Clintonville, WI         3/22/2017   $1,185,249.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   616 - Sister Bay, WI           3/20/2017   $1,132,308.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   617 - Wautoma, WI              9/11/2017   $1,227,794.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   618 - Reedsburg, WI             8/1/2017   $829,801.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   619 - Adams, WI                1/18/2017   $1,188,732.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   620 - Eagle River, WI          3/21/2017   $937,679.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   621 - Manistique, MI           1/12/2017   $1,101,395.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   622 - Wetmore, MI              2/14/2017   $726,490.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   623 - Iron River, MI           4/20/2017   $729,591.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   624 - L'Anse, MI               1/16/2017   $971,768.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   625 - Dyersville, IA            3/2/2017   $818,492.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   626 - Lancaster, WI            6/26/2017   $1,011,125.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   627 - Neillsville, WI          3/16/2017   $1,005,534.00 - Average Cost



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                                Name of Person in Possession of                                                                                                   Date of       Dollar Amount of Inventory and
    Inventory Supervisor               Inventory Records                   Address1               City            State      Zip                  Location       Inventory      Basis (Cost, market or other basis)
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   628 - Two Harbors, MN          2/20/2017   $846,606.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   629 - Ely, MN                  2/27/2017   $1,000,911.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   630 - Arcadia, WI               5/1/2017   $1,100,889.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   632 - Spooner, WI              4/12/2017   $942,211.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   633 - Park Falls, WI           1/17/2017   $1,007,975.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   635 - Savanna, IL              1/12/2017   $887,158.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   637 - Attica, IN               4/20/2017   $778,604.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   638 - Monticello, IL           4/18/2017   $776,217.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   639 - Rockville, IN            3/20/2017   $706,411.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   640 - Tuscola, IL               1/5/2017   $833,951.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   641 - Dwight, IL               1/12/2017   $637,087.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   642 - Allegan, MI              8/29/2017   $774,820.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   643 - Newaygo, MI              8/16/2017   $831,664.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   644 - Clare, MI                3/21/2017   $768,881.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   646 - Standish, MI              3/2/2017   $1,048,155.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   647 - Syracuse, IN             7/31/2017   $879,753.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   648 - Tecumseh, MI             3/23/2017   $927,357.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   649 - Imlay City, MI           6/22/2017   $762,139.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   650 - Dowagiac, MI             5/31/2017   $824,809.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   651 - Hart, MI                10/11/2017   $1,049,074.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   652 - Brooklyn, MI             9/13/2017   $678,649.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   653 - Gladwin, MI              1/19/2017   $978,217.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   656 - Kalkaska, MI              5/2/2017   $935,817.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   658 - Beatrice, NE             2/21/2017   $813,447.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   659 - Auburn, NE                1/5/2017   $796,220.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   661 - West Point, NE           4/20/2017   $943,338.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   662 - Plattsmouth, NE          1/19/2017   $1,048,493.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   664 - Humboldt, IA             9/12/2017   $631,870.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   665 - Hampton, IA              9/18/2017   $652,892.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   667 - Sheldon, IA              7/12/2017   $885,090.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   668 - New Hampton, IA           8/1/2017   $1,091,543.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   669 - Oelwein, IA              6/19/2017   $1,033,944.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   670 - Wayne, NE                9/13/2017   $977,094.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   671 - Waukon, IA               4/18/2017   $971,500.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   672 - O'Neill, NE              9/28/2017   $1,208,356.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   673 - Ainsworth, NE            9/26/2017   $1,068,088.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   674 - Clarion, IA             10/12/2017   $687,081.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   675 - Winterset, IA            7/26/2017   $839,440.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   676 - Chariton, IA             7/17/2017   $850,587.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   677 - Onawa, IA                 5/3/2017   $985,950.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   679 - Toledo, IA                6/1/2017   $889,938.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   680 - Perry, IA               10/23/2017   $943,843.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   681 - Ida Grove, IA            5/31/2017   $775,645.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   682 - Harlan, IA               5/22/2017   $932,906.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   683 - Audubon, IA              6/28/2017   $737,159.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   684 - Bloomfield, IA            6/1/2017   $756,317.00 - Average Cost



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                                Name of Person in Possession of                                                                                                     Date of       Dollar Amount of Inventory and
    Inventory Supervisor               Inventory Records                   Address1               City            State      Zip                   Location        Inventory      Basis (Cost, market or other basis)
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   685 - Eldora, IA                10/26/2017   $685,848.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   686 - Glenwood, IA                6/1/2017   $893,046.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   687 - Greenfield, IA             9/27/2017   $769,773.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   688 - Missouri Valley, IA        6/20/2017   $637,292.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   689 - Mount Ayr, IA              8/28/2017   $744,716.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   690 - Holdrege, NE               7/27/2017   $878,015.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   691 - Ogallala, NE                9/7/2016   $802,107.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   692 - Superior, NE               7/17/2017   $1,094,539.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   693 - Clay Center, KS            7/10/2017   $746,166.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   694 - Alliance, NE               7/13/2017   $857,097.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   695 - Broken Bow, NE             9/21/2017   $962,398.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   696 - Norton, KS                10/23/2017   $979,027.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   697 - Seneca, KS                  8/3/2017   $752,658.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   698 - Gothenburg, NE            10/26/2017   $824,595.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   699 - Scott City, KS             7/31/2017   $675,534.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   700 - Kimball, NE                9/19/2017   $642,030.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   701 - Lyons, KS                  6/26/2017   $1,283,909.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   702 - Larned, KS                 1/11/2017   $1,003,390.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   703 - Burlington, KS             8/23/2017   $616,560.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   704 - Falls City, NE             9/18/2017   $915,079.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   705 - Trenton, MO                 5/9/2017   $971,788.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   706 - Doniphan, MO                1/5/2017   $839,292.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   707 - Albany, MO                 7/12/2017   $682,178.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   708 - Carrollton, MO              5/3/2017   $616,499.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   709 - El Dorado Springs, MO      1/19/2017   $645,210.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   710 - Gallatin, MO              10/23/2017   $563,827.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   711 - Memphis, MO                5/22/2017   $640,286.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   712 - Palmyra, MO                7/12/2016   $690,928.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   716 - Mt. Carmel, IL             8/23/2017   $974,845.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   717 - Minerva, OH                 9/6/2017   $702,098.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   719 - Woodsfield, OH             8/23/2017   $729,814.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   720 - Batesville, IN            10/27/2016   $863,520.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   729 - Brandenburg, KY            9/25/2017   $764,620.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   732 - Glencoe, MN                1/16/2017   $979,864.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   733 - Fergus Falls, MN           5/10/2017   $962,003.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   734 - Cavalier, ND               7/26/2017   $648,498.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   735 - Aitkin, MN                 4/20/2017   $1,064,372.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   736 - Valley City, ND            6/21/2017   $815,135.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   737 - Grafton, ND                4/25/2017   $750,618.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   738 - Perham, MN                 2/28/2017   $981,162.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   739 - Glenwood, MN               2/20/2017   $975,144.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   740 - Morris, MN                 3/27/2017   $991,709.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   741 - Rugby, ND                  6/27/2017   $687,412.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   742 - East Grand Forks, MN        5/4/2017   $914,742.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   743 - Beulah, ND                 8/17/2017   $792,331.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   744 - Roseau, MN                 3/29/2017   $990,427.00 - Average Cost



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                                Name of Person in Possession of                                                                                                    Date of       Dollar Amount of Inventory and
    Inventory Supervisor               Inventory Records                   Address1                City           State      Zip                  Location        Inventory      Basis (Cost, market or other basis)
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   745 - Winner, SD                 3/2/2017   $1,177,545.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   746 - Madison, SD               2/16/2017   $904,785.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   747 - Luverne, MN               2/22/2017   $924,361.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   748 - Pipestone, MN             2/14/2017   $998,890.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   749 - Saint James, MN           3/20/2017   $849,186.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   750 - Windom, MN                3/28/2017   $973,727.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   751 - Sisseton, SD              1/19/2017   $1,073,130.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   752 - Torrington, WY            7/26/2017   $891,014.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   753 - Hot Springs, SD           3/29/2017   $1,174,175.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   755 - Wheatland, WY             6/28/2017   $978,778.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   756 - Lander, WY                9/11/2017   $835,904.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   757 - Belle Fourche, SD         5/16/2017   $1,052,875.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   758 - Douglas, WY               6/21/2017   $886,990.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   759 - Sturgis, SD               5/11/2017   $1,063,102.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   760 - Green River, WY           7/25/2017   $883,692.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   761 - Newcastle, WY             7/18/2017   $1,004,729.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   762 - Thermopolis, WY           9/28/2017   $789,972.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   763 - Custer, SD                9/21/2017   $648,139.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   764 - Buffalo, WY                9/6/2017   $708,063.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   765 - Mountain View, WY         7/31/2017   $900,069.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   766 - Shelby, MT                9/18/2017   $1,159,104.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   767 - Worland, WY              10/17/2017   $912,454.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   768 - Glasgow, MT               4/27/2017   $1,161,757.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   769 - Sidney, MT                3/14/2017   $1,099,417.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   771 - Plentywood, MT             3/2/2017   $472,016.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   772 - Powell, WY                7/19/2017   $988,038.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   773 - Lewistown, MT             7/26/2017   $998,636.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   774 - Livingston, MT             6/1/2017   $1,164,799.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   775 - Libby, MT                  5/3/2017   $1,002,959.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   776 - Greybull, WY              9/19/2017   $586,921.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   786 - Red Oak, IA               8/24/2017   $754,946.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   788 - Columbus, WI              8/28/2017   $927,445.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   789 - Waupaca, WI                9/6/2017   $1,185,615.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   790 - Stanley, WI               9/18/2017   $1,144,105.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   791 - Forest City, IA          10/11/2017   $949,784.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   792 - Tomahawk, WI               9/7/2017   $1,289,297.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   793 - Mayville, WI               5/9/2017   $1,056,874.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   794 - Quincy, WA                 9/6/2017   $1,005,711.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   795 - Salmon, ID                1/12/2017   $1,000,157.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   796 - Kasson, MN                6/21/2017   $855,129.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   797 - Whitefish, MT              9/7/2017   $763,073.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   798 - Ballard, UT              10/23/2017   $847,688.00 - Average Cost
RGIS Inventory Specialists   RGIS Inventory Specialists           2000 E. Taylor Road         Auburn Hills   MI              48326   799 - Tremonton, UT             8/28/2017   $860,043.00 - Average Cost
WIS International            WIS International                    9265 Sky Park Court         San Diego      CA              92123   101 - Sioux Falls East, SD      9/20/2018   $1,872,002.00 - Average Cost




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                                                                 Case No. 19-80075 (TLS)
                        SOFA Part 13, Question 28 - Current Officers, Directors, Managing Members, Controlling Shareholders, etc.


             Name                             Address                      City          State       Zip        Position and nature of any interest
Debbie Bentlage                 700 Pilgrim Way                        Green Bay    WI                54304 Vice President, GMM Apparel
Denise Domian                   700 Pilgrim Way                        Green Bay    WI                54304 Chief Human Resources Officer
Dilip Sedani                    700 Pilgrim Way                        Green Bay    WI                54304 Senior Vice President, Retail Health
Donna Capichano Simmons         700 Pilgrim Way                        Green Bay    WI                54304 Vice President, Store Development
Gary Gibson                     700 Pilgrim Way                        Green Bay    WI                54304 Vice President, Treasurer
                                                                                                            Executive Vice President, Chief Financial
J. Per Brodin                   700 Pilgrim Way                        Green Bay    WI                54304 Officer
Jannie Paschal                  700 Pilgrim Way                        Green Bay    WI                54304 Vice President, Managed Care

Jeff Druley                     700 Pilgrim Way                        Green Bay    WI                54304   Vice President, Inventory Management
Jennifer S. McGinnity           700 Pilgrim Way                        Green Bay    WI                54304   Assistant Secretary
Jim DePaul                      700 Pilgrim Way                        Green Bay    WI                54304   Chief Operations Officer
Jimmy Mansker                   700 Pilgrim Way                        Green Bay    WI                54304   Vice President, Shopko.com
Jon Instefjord                  700 Pilgrim Way                        Green Bay    WI                54304   Vice President, Merchandise Support
Kelly Weerts                    700 Pilgrim Way                        Green Bay    WI                54304   Vice President, Controller
Matt Schultz                    700 Pilgrim Way                        Green Bay    WI                54304   Vice President, GMM Home
Ray Petersen                    700 Pilgrim Way                        Green Bay    WI                54304   Chief Information Officer
Ronald Milligan                 700 Pilgrim Way                        Green Bay    WI                54304   Vice President, GMM Consumables
                                                                                                              Executive Vice President, Merchandising
Ronald Ota                      700 Pilgrim Way                        Green Bay    WI                54304   and Marketing
Russell Steinhorst              700 Pilgrim Way                        Green Bay    WI                54304   Chief Executive Officer
                                                                                                              Vice President, Associate General
Susan A. Buckna                 700 Pilgrim Way                        Green Bay    WI                54304   Counsel, Corporate Secretary
William Todd Armstrong          700 Pilgrim Way                        Green Bay    WI                54304   Senior Vice President, Finance




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                                                                         Case No. 19-80075 (TLS)
  SOFA Part 13, Question 29 - Former Officers, Directors, Managing Members, Controlling Shareholders, etc. who withdrew within 1 year preceding commencement of the case



            Name              Address1         City      State         Zip          Position and nature of any interest          Period during which position was held
Charles Liu               700 Pilgrim Way   Green Bay WI            54304     Vice President, Supply Chain                              1/13/2016 - 2/14/2018
Kathy Friedland-Howard    700 Pilgrim Way   Green Bay WI            54304     Vice President, Creative                                  10/21/2003 - 1/3/2019

Martin Lee                700 Pilgrim Way   Green Bay WI            54304     Senior Vice President, Chief Customer Officer               3/27/2017 - 7/27/2018
                                                                              Senior Vice President, HR/General Counsel
Peter G. Vandenhouten     700 Pilgrim Way   Green Bay WI            54304     and Corporate Secretary                                      7/1/2000 - 2/2/2018
Terry Singla              700 Pilgrim Way   Green Bay WI            54304     Senior Vice President, Strategic Analysis                    8/28/2017 - 8/9/2017
William Bresnehan         700 Pilgrim Way   Green Bay WI            54304     Vice President, GMM Apparel                                 5/26/2004 - 8/31/2018




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